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                              Exhibit A
                                Plan
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §        Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §        Case No. 20-33948 (MI)
                                                     §
                 Debtors.1                           §        (Jointly Administered)
                                                     §


                   FOURTH AMENDED JOINT CHAPTER 11 PLAN OF
               FIELDWOOD ENERGY LLC AND ITS AFFILIATED DEBTORS



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Attorneys for Debtors
and Debtors in Possession

Dated: April 9, 2021
       Houston, Texas




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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               Each of Fieldwood Energy LLC; Fieldwood Energy Inc.; Dynamic Offshore
Resources NS, LLC; Fieldwood Energy Offshore LLC; Fieldwood Onshore LLC; Fieldwood SD
Offshore LLC; Fieldwood Offshore LLC; FW GOM Pipeline, Inc.; GOM Shelf LLC; Bandon
Oil and Gas GP, LLC; Bandon Oil and Gas, LP; Fieldwood Energy SP LLC; Galveston Bay
Pipeline LLC; and Galveston Bay Processing LLC (each, a “Debtor” and collectively,
the “Debtors”) proposes the following joint chapter 11 plan of reorganization pursuant to section
1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Section 1.1 below.



ARTICLE I.            DEFINITIONS AND INTERPRETATION.

              1.1     Definitions.

              The following terms shall have the respective meanings specified below:

              363 Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to
the Credit Bid Purchaser pursuant to section 363 of the Bankruptcy Code on substantially the
same terms as provided in the Credit Bid Purchase Agreement in accordance with Section 5.2(c)
of this Plan.

               Abandoned Properties means the Debtors’ rights to and interests in executory
contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements listed on
the Schedule of Abandoned Properties (as amended, supplemented, or otherwise modified from
time to time).

              Accepting Class means a class of Claims or Interests that votes to accept this Plan
in accordance with section 1126 of the Bankruptcy Code.

              Ad Hoc Group of Secured Lenders means the ad hoc group of holders of
Prepetition FLTL Loans and Prepetition SLTL Loans that is represented by the Ad Hoc Group of
Secured Lenders Advisors.

               Ad Hoc Group of Secured Lenders Advisors means Davis Polk & Wardwell
LLP, Haynes and Boone LLP, Gordon, Arata, Montgomery, Barnett, McCollam, Duplantis &
Eagan, LLC, Rothschild & Co US Inc. and Intrepid Financial Partners, LLC and any local or
foreign advisors.

               Ad Hoc Group of Prepetition SLTL Lenders means that certain ad hoc group of
holders of Prepetition SLTL Loans that is represented by the Ad Hoc Group of Prepetition SLTL
Advisors.

              Ad Hoc Group of Prepetition SLTL Lenders Advisors means only Kasowitz
Benson Torres LLP.
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                Additional Predecessor Agreement means any consensual agreement that the
Debtors may enter into prior to the Confirmation Date with any entity or entities in the chain of
title, co-working interest owner(s), or other related party for any of the Abandoned Properties.

             Additional Predecessor Agreement Documents means any agreements or
documents contemplated by and necessary to the consummation of an Additional Predecessor
Agreement.

               Administrative Expense Claim means any Claim constituting a cost or expense of
administration incurred during the Chapter 11 Cases of a kind specified under section 503(b) of
the Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of
the Bankruptcy Code (other than DIP Claims and Postpetition Hedge Claims), including (a) the
actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors (such as
wages, salaries, or commissions for services and payments for goods and other services and
leased premises), and (b) Fee Claims.

                Allowed means, with respect to any Claim against or Interest in a Debtor, (a)
(i) that is timely filed by the bar dates established in the Chapter 11 Cases, or (ii) as to which
there exists no requirement for the holder of a Claim to file such Claim under the Plan, the
Bankruptcy Code, the Bankruptcy Rules or a Final Order, (b) (i) that is listed in the Schedules as
not contingent, not unliquidated, and not disputed, and (ii) for which no contrary proof of claim
has been timely filed, or (c) allowed under the Plan or by a Final Order (including the DIP
Order). With respect to any Claim described in clause (a) above, such Claim will be considered
allowed only if, and to the extent that, (A) no objection to the allowance of such Claim has been
asserted, or may be asserted, on or before the time period set forth in the Plan, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or
otherwise, has been interposed and not withdrawn within the applicable period fixed by the Plan
or applicable law, (B) an objection to such Claim is asserted and such Claim is subsequently
allowed pursuant to a Final Order, (C) such Claim is settled pursuant to an order of the
Bankruptcy Court, or (D) such Claim is allowed pursuant to the Plan or any agreements related
thereto and such allowance is approved and authorized by the Bankruptcy Court; provided,
however, that notwithstanding the foregoing, the Post-Effective Date Debtors shall retain all
claims and defenses with respect to Allowed Claims that are reinstated or otherwise unimpaired
pursuant to the Plan. If a Claim is Allowed only in part, any provisions hereunder with respect to
Allowed Claims are applicable solely to the Allowed portion of such Claim. Notwithstanding
the foregoing, unless expressly waived herein, the Allowed amount of Claims or Interests shall
be subject to and shall not exceed the limitations or maximum amounts permitted by the
Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent
applicable.

                 Amended Organizational Documents means the certificates of incorporation,
certificates of formation, bylaws, limited liability company agreements, stockholders agreement,
and the operating agreements or other similar organizational or formation documents, as
applicable, of the Post-Effective Date Debtors.

               Apache means Apache Corporation.


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             Apache Definitive Documents has the meaning set forth in the Apache
Implementation Agreement.

             Apache Fees and Expenses has the meaning set forth in the Apache
Implementation Agreement.

              Apache Implementation Agreement means that certain Implementation
Agreement, dated January 1, 2021, by and among Debtor Fieldwood Energy LLC and Debtor
GOM Shelf LLC, on the one hand, and the Apache PSA Parties on the other hand, as may be
amended, restated, or otherwise modified pursuant to the terms thereof; provided that such
amendment, restatement, or other modification is reasonably acceptable to the Debtors, the
Apache PSA Parties, the Required DIP Lenders and Requisite FLTL Lenders.

               Apache Implementation Costs has the meaning ascribed to “Implementation
Costs” in the Apache Implementation Agreement.

            Apache PSA Parties means, collectively, Apache, Apache Shelf, Inc., Apache
Deepwater LLC, and Apache Shelf Exploration LLC.

               Apache Term Sheet has the meaning set forth in the Restructuring Support
Agreement.

              Asset means all of the rights, title, and interests of a Debtor in and to property of
whatever type or nature (including real, personal, mixed, intellectual, tangible, and intangible
property).

             Assumption Dispute means an unresolved objection regarding assumption or
assumption and assignment of an executory contract or unexpired lease pursuant to section 365
of the Bankruptcy Code, including objections based on the appropriate Cure Amount or
“adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code).

               Avoidance Actions means all claims and causes of action that may be commenced
by or on behalf of the Debtors pursuant to sections 544, 545, 547, 548, 549, 550 and 551 of the
Bankruptcy Code or similar nonbankruptcy law, including similar or related state or federal
statute and common law.

             Backstop Commitment Premium Equity Interests means the Second Lien
Backstop Commitment Premium Equity Interests, the FLTL ERO Backstop Commitment
Premium Equity Interests, and the SLTL ERO Backstop Commitment Premium Equity Interests.

              Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended from time to time, as applicable to these Chapter 11 Cases.

              Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of Texas having jurisdiction over the Chapter 11 Cases and, to the extent of any
reference made under section 157 of title 28 of the United States Code or the Bankruptcy Court



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is determined not to have authority to enter a Final Order on an issue, the District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

                 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the
United States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any
local rules of the Bankruptcy Court.

              Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are authorized or required by law or
executive order to close.

               Cash means legal tender of the United States of America.

                Cause of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account,
defense, remedy, offset, power, privilege, proceeding, license, and franchise of any kind or
character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively
(including any alter ego theories), whether arising before, on, or after the Petition Date, in
contract or in tort, in law or in equity or pursuant to any other theory of law (including under any
state or federal securities laws). For the avoidance of doubt, Cause of Action also includes
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity, (b) the right to object to Claims or Interests, (c) any
claim pursuant to section 362 or chapter 5 of the Bankruptcy Code (including claims and causes
of action arising under section 544, 545, 547, 548, 549, 550, and 551 of the Bankruptcy Code),
(d) any claim or defense, including fraud, mistake, duress, and usury and any other defenses set
forth in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer or
preferential transfer claim.

               Chapter 11 Case(s) means, with respect to a Debtor, such Debtor’s case under
chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court,
jointly administered with all other Debtors’ cases under chapter 11 of the Bankruptcy Code.

              Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code,
against any Debtor.

                Claims Reserve means one or more segregated accounts not subject to the Liens
of the Prepetition Agents or DIP Agent, which shall be established on or immediately before the
Effective Date and funded on the Effective Date with Cash to pay (or reserve for payment of)
any (i) Allowed Administrative Expense Claims, (ii) Allowed Priority Tax Claims, (iii) Allowed
Priority Non-Tax Claims, (iv) Allowed Other Secured Claims, (v) Allowed Unsecured Trade
Claims, and (vi) Cure Amounts; provided, however, that all Cash remaining in the Claims
Reserve after payment of all relevant Allowed Claims and Cure Amounts in accordance with the
terms of this Plan shall constitute Residual Distributable Value; provided further that the funding


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of the Claims Reserve shall be consistent with the terms of the Second Lien Backstop
Commitment Letter.

                Claims Reserve Amount means the aggregate amount of Cash, as determined by
the Debtors with (i) the consent of the Required DIP Lenders and Requisite FLTL Lenders and
(ii) the reasonable consent of the Creditors’ Committee solely with respect to the amount of the
Claims Reserve on account of Allowed Unsecured Trade Claims, necessary to satisfy all (a)
Allowed Administrative Expense Claims, (b) Allowed Priority Tax Claims, (c) Allowed Priority
Non-Tax Claims, (d) Allowed Other Secured Claims, (e) Allowed Unsecured Trade Claims, and
(f) Cure Amounts, which aggregate amount shall be funded into the Claims Reserve on the
Effective Date.

              Class means any group of Claims or Interests classified under the Plan pursuant to
section 1122 and 1123(a)(1) of the Bankruptcy Code.

              Collateral means any Asset of an Estate that is subject to a Lien securing the
payment or performance of a Claim, which Lien is not invalid, is properly perfected as of the
Petition Date, and is not subject to avoidance under the Bankruptcy Code or applicable
nonbankruptcy law.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

              Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

               Confirmation Order means the order of the Bankruptcy Court, in form and
substance acceptable to the Debtors, the Required DIP Lenders, the Requisite FLTL Lenders, the
Prepetition FLFO Administrative Agent, and the Creditors’ Committee, confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

              Confirmation Outside Date means June 16, 2021 or such later date as may be
mutually agreed between the Debtors, the Required DIP Lenders, and the Requisite FLTL
Lenders.

                Consenting Creditors means the Prepetition FLTL Lenders, together with their
respective successors and permitted assigns, and the Prepetition SLTL Lenders, together with
their respective successors and permitted assigns, that are party to, or have executed a joinder to,
the Restructuring Support Agreement.

                 Credit Bid Acquired Interests has the meaning ascribed to “Acquired Interests”
set forth in the Credit Bid Purchase Agreement.

                 Credit Bid Assumed Liabilities has the meaning ascribed to “Assumed
Liabilities” set forth in the Credit Bid Purchase Agreement.




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                 Credit Bid Consent Rights means any right of consent, notice, and other similar
rights, if any, that are applicable to the sale of the Credit Bid Acquired Interests in connection
with the Credit Bid Purchase Agreement.

            Credit Bid Permitted Encumbrances has the meaning ascribed to “Permitted
Encumbrances” set forth in the Credit Bid Purchase Agreement.

                Credit Bid Purchase Agreement means that certain Purchase and Sale
Agreement, by and between Fieldwood Energy LLC, the other seller parties, and the Credit Bid
Purchaser and NewCo, together with any and all related agreements, annexes, exhibits and
schedules in connection therewith, as amended, supplemented or otherwise modified from time
to time, which shall be in form and substance acceptable to the Debtors, the Requisite FLTL
Lenders, and the Required DIP Lenders; provided that any modifications to the Credit Bid
Purchase Agreement from the version attached to the draft of the Disclosure Statement at
Docket No. 1022 shall require the consent of the Prepetition FLFO Administrative Agent (not to
be unreasonably withheld with respect to the following clauses (b) and (e)) to the extent that such
modification (a) individually or in the aggregate, results in a reduction of 10% or more of the
total PV-10 of total 2P reserves comprising the assets acquired by the Credit Bid Purchaser
(which shall be calculated by reference to the FWE YE2020 Internal Reserve Report (as of
5.1.21)), (b) results in any contract rights constituting material assets not being acquired by the
Credit Bid Purchaser, (c) individually or in the aggregate, results in an increase by $40.0 million
or more (which, for the avoidance of doubt, in the case of plugging and abandonment liabilities,
shall be calculated on a present value basis) in liabilities assumed by the Credit Bid Purchaser,
(d) relates to any change in treatment of the Prepetition FLFO Credit Agreement or First Lien
Exit Facility, or (e) provide for any differences from the draft of the Disclosure Statement at
Docket No. 1022 that are materially adverse to the interests of the First Lien Exit Facility Agent
and the First Lien Exit Facility Lenders.

               Credit Bid Purchaser means [●], a newly formed special purpose bidding entity,
as purchaser of certain of the Debtors’ assets pursuant to and in accordance with the Credit Bid
Purchase Agreement.

               Credit Bid Preferential Purchase Rights has the meaning ascribed to
“Preferential Right” set forth in the Credit Bid Purchase Agreement.

              Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to the
Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.

             Credit Bid Transaction Closing means “Closing” as defined in the Credit Bid
Purchase Agreement.

             Creditors’ Committee means the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee in these Chapter 11 Cases pursuant to section 1102 of the
Bankruptcy Code as it may be reconstituted from time to time.

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease

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and (b) permit the Debtors to assume such executory contract or unexpired lease under section
365(a) of the Bankruptcy Code.

               Cure Notice means the notice of proposed Cure Amount to be paid in connection
with an executory contract or unexpired lease of the Debtors that may be assumed or assumed
and assigned under the Plan pursuant to section 365 of the Bankruptcy Code, which shall include
(a) procedures for objecting to proposed assumptions or assumptions and assignments of
executory contracts and unexpired leases, (b) any Cure Amount to be paid in connection
therewith, and (c) procedures for resolution by the Bankruptcy Court of any related disputes.

               D&O Policy means any insurance policy, including tail insurance policies, for
directors’, members’, trustees’, and officers’ liability providing coverage to the Debtors and in
effect or purchased as of the Petition Date.

               Debtor(s) has the meaning set forth in the introductory paragraph of the Plan.

                Debtor in Possession means, with respect to a Debtor, that Debtor in its capacity
as a debtor in possession pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

                Decommissioning Agreement means that Decommissioning Agreement, dated as
of September 30, 2013, by and among the Apache PSA Parties, Fieldwood Energy LLC, and the
other parties thereto.

             Decommissioning Security has the meaning set forth in the Apache
Implementation Agreement.

               Definitive Documents has the meaning set forth in the Restructuring Support
Agreement.

               DIP Agent means Cantor Fitzgerald Securities, solely in its capacity as
administrative agent and collateral agent under the DIP Facility Credit Agreement, its successors,
assigns, or any replacement agent appointed pursuant to the terms of the DIP Facility Credit
Agreement.

                DIP Claim means any Claim held by the DIP Lenders or the DIP Agent arising
under or relating to the DIP Facility Credit Agreement or the DIP Order, including any and all
fees, interests, and accrued but unpaid interest and fees arising under the DIP Facility Credit
Agreement.

               DIP Documents has the meaning set forth in the DIP Order.

                 DIP Facility means the postpetition senior secured debtor-in-possession term loan
credit facility approved by the DIP Order.

             DIP Facility Credit Agreement means the credit agreement governing the terms
of the DIP Facility, dated as of August 24, 2020, by and among Fieldwood Energy LLC, as
borrower, FWE Parent, as holdings, the DIP Agent, and the DIP Lenders, with any amendments,



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restatements, amendments and restatements, modifications or supplements thereto as permitted
by the DIP Order.

               DIP Lenders means the lenders from time to time party to the DIP Facility Credit
Agreement.

               DIP Order means the Final Order (I) Authorizing Debtors (A) to Obtain
Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2),
364(c)(3), 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363
and (II) Granting Adequate Protection to Prepetition Secured Parties Pursuant to 11 U.S.C.
§§ 361, 362, 363, 364 and 507(b) [Docket No. 346], authorizing the Debtors to enter into the
DIP Facility Credit Agreement and access the DIP Facility, as may be amended, supplemented or
modified from time to time.

                Disclosure Statement means the disclosure statement in support of the Plan, in
form and substance (i) acceptable to the Debtors, the Required DIP Lenders, the Requisite FLTL
Lenders, (ii) reasonably acceptable to the Creditors’ Committee solely for matters relating to the
treatment of holders of General Unsecured Claims or Unsecured Trade Claims, and
(iii) reasonably acceptable to the Prepetition FLFO Administrative Agent, which is prepared and
distributed in accordance with sections 1125, 1126(b), or 1145 of the Bankruptcy Code,
Bankruptcy Rules 3016 and 3018, or other applicable law, and all exhibits, schedules,
supplements, modifications, amendments, annexes, and attachments to such disclosure statement.

                Disputed means, with respect to a Claim, (a) any Claim, which Claim is disputed
under this Plan (including pursuant to section 7.1 of this Plan) or otherwise or as to which the
Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable, have
interposed and not withdrawn an objection or request for estimation that has not been determined
by a Final Order; (b) any Claim, proof of which was required to be filed by order of the
Bankruptcy Court but as to which a proof of claim was not timely or properly filed; (c) any
Claim that is listed in the Schedules, if any are filed, as unliquidated, contingent, disputed or
undetermined, and as to which no request for payment or proof of claim has been filed; or (d)
any Claim that is otherwise disputed by any of the Debtors or the Post-Effective Date Debtors in
accordance with applicable law or contract, which dispute has not been withdrawn, resolved or
overruled by a Final Order. To the extent the Debtors dispute only the amount of a Claim, such
Claim shall be deemed Allowed in the amount the Debtors do not dispute, if any, and Disputed
as to the balance of such Claim.

              Distribution Date means the date or dates, including the Initial Distribution Date,
as determined by the Plan Administrator in accordance with the terms of this Plan, on which the
Plan Administrator makes a Distribution to holders of Allowed Claims.

                Distribution Record Date means, except as otherwise provided in the Plan, the
date that is two business days before the Effective Date or such other date as is designated by the
Debtors with the consent of the Requisite FLTL Lenders and the Required DIP Lenders.

              Divisive Merger means a divisive merger pursuant to Sections 10.001, 10.002,
10.008 and 10.302 of the Texas Business Organizations Code.


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               Effective Date means the date which is the first Business Day on which (a) all
conditions to the effectiveness of the Plan set forth in Section 9.1 of the Plan have been satisfied
or waived in accordance with the terms of the Plan, and (b) no stay of the Confirmation Order is
in effect.

               Entity means an “entity,” as defined in section 101(15) of the Bankruptcy Code.

             Equity Rights Offerings means, collectively, the FLTL Equity Rights Offering
and the SLTL Equity Rights Offering.

             ERO Backstop Agreements means, collectively, the FLTL ERO Backstop
Agreement and the SLTL ERO Backstop Agreement.

            ERO Backstop Parties means, collectively, the FLTL ERO Backstop Parties and
the SLTL ERO Backstop Parties.

               Estate(s) means individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

                Exculpated Parties means collectively, and in each case in their capacities as
such during the Chapter 11 Cases (a) the Debtors, (b) the Post-Effective Date Debtors,
(c) FWE I, (d) the DIP Agent and DIP Lenders under the DIP Facility, (e) the Prepetition FLFO
Secured Parties, (f) the Consenting Creditors, (g) the Prepetition FLFO Collateral Agent, (h) the
Prepetition FLTL Agents, (i) the Prepetition SLTL Agent, (j) the Creditors’ Committee and the
current and former members of the Creditors’ Committee (solely in their capacities as such), (k)
NewCo and all of its subsidiaries (including the Credit Bid Purchaser), (l) the Exit Facility
Agents, (m) the Exit Facility Lenders, (n) the Second Lien Backstop Parties, (o) the ERO
Backstop Parties, (p) the Apache PSA Parties, and (q) with respect to each of the foregoing
Persons in clauses (a) through (p) each of their current and former affiliates, and each such
Entity’s and its current and former affiliates’ current and former directors, managers, officers,
equity holders (regardless of whether such interests are held directly or indirectly), predecessors,
successors, and assigns, subsidiaries, and each of their current and former officers, members,
managers, directors, equity holders (regardless of whether such interests are held directly or
indirectly), principals, members, employees, agents, managed accounts or funds, management
companies, fund advisors, investment advisors, advisory board members, financial advisors,
partners (including both general and limited partners), attorneys, accountants, investment
bankers, consultants, representatives and other professionals, such Persons’ respective heirs,
executors, estates, and nominees, in each case in their capacity as such, and any and all other
persons or entities that may purport to assert any cause of action derivatively, by or through the
foregoing entities.

             Existing Equity Interests means shares of common stock of FWE Parent that
existed immediately before the Effective Date.

               Exit Facilities means the First Lien Exit Facility and the Second Lien Exit
Facility.




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               Exit Facility Agents means the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent.

             Exit Facility Documents means the First Lien Exit Facility Documents and the
Second Lien Exit Facility Documents.

               Exit Facility Lenders means the First Lien Exit Facility Lenders and the Second
Lien Exit Facility Lenders.

                Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Petition Date through the Effective Date by Professional Persons retained by an order
of the Bankruptcy Court pursuant to sections 327, 328, 329, 330, 331, 503(b), or 1103 of the
Bankruptcy Code in the Chapter 11 Cases.

             Fieldwood U.A. Interests has the meaning ascribed to such term in the Credit Bid
Purchase Agreement.

               Final Order means an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter which has: (a) not been
reversed, stayed, modified or amended, as to which the time to appeal, petition for certiorari or
move for reargument, reconsideration or rehearing has expired and no appeal, petition for
certiorari or motion for reargument, reconsideration or rehearing has been timely filed; or (b) as
to which any appeal, petition for certiorari or motion for reargument, reconsideration or
rehearing that has been or may be filed has been resolved by the highest court to which the order
or judgment was appealed or from which certiorari, reargument, reconsideration or rehearing was
sought; provided, however, that the possibility that a motion under Rules 59 or 60 of the Federal
Rules of Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable
in such other court of competent jurisdiction) may be filed relating to such order or judgment
shall not cause such order or judgment not to be a Final Order.

             First Lien Exit Facility means the facility under the First Lien Exit Facility
Credit Agreement.

               First Lien Exit Facility Agent means the administrative agent under the First
Lien Exit Facility Credit Agreement.

                First Lien Exit Facility Commitment Letter means that certain commitment
letter, in form and substance acceptable to the Required DIP Lenders, the Requisite FLTL
Lenders, the Debtors, the Prepetition FLFO Administrative Agent, and the First Lien Exit
Facility Agent, to be entered into by and among Fieldwood Energy LLC and the First Lien Exit
Facility Agent, as may be amended, supplemented, or modified from time to time, pursuant and
subject to the terms thereof, pursuant to which, among other things, GS Bank (as defined therein)
agreed to act as the sole arranger, administrative agent and collateral agent in connection with the
First Lien Exit Facility and to commit to provide First Lien Exit Facility in accordance with the
terms and conditions set forth therein.




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               First Lien Exit Facility Credit Agreement means that certain credit agreement to
be entered by the Credit Bid Purchaser, the First Lien Exit Facility Agent and the First Lien Exit
Facility Lenders on the Effective Date that shall govern the First Lien Exit Facility which shall
reflect and contain terms, conditions, representations, warranties, and covenants consistent with
the First Lien Exit Facility Term Sheet and otherwise be in form and substance acceptable to the
Prepetition FLFO Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the
Required DIP Lenders, and Requisite FLTL Lenders.

               First Lien Exit Facility Documents means, collectively, the First Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be in form and substance acceptable to the Prepetition FLFO
Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the Required DIP Lenders,
and Requisite FLTL Lenders.

                First Lien Exit Facility Lenders means the lenders party to the First Lien Exit
Facility Credit Agreement.

               First Lien Exit Facility Term Sheet means a term sheet attached to the First Lien
Exit Facility Commitment Letter and to be attached to the Disclosure Statement, as may be
amended, supplemented or modified from time to time with the consent of the Prepetition FLFO
Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the Required DIP Lenders,
and Requisite FLTL Lenders.

             FLFO Claims means all Claims arising from or based upon the Prepetition FLFO
Credit Agreement.

               FLFO Claims Allowed Amount means the aggregate principal amount of
$138,599,082.31 plus any accrued and unpaid interest (accruing at the default rate to the extent
provided under the Prepetition FLFO Credit Agreement), fees, costs, and other expenses arising
under, and payable pursuant to, the Prepetition FLFO Credit Agreement on or before the
Effective Date, which shall not be subject to any avoidance, reduction, setoff, offset,
recharacterization, subordination, counterclaims, cross claims, defenses, disallowance,
impairments, or any other challenges under applicable law or regulation by any Entity.
Notwithstanding the foregoing, on the Effective Date any amount accrued pursuant to Section
2.08(b) of the Prepetition FLFO Credit Agreement and any amounts accrued in respect of Yield
Maintenance Premium or any Prepayment Fee (each as defined in the Prepetition FLFO Credit
Agreement), if any, shall be deemed discharged, released, and waived by all holders of Allowed
FLFO Claims and the FLFO Claims Allowed Amount shall not be increased on account of such
amounts as a result of such discharge, release, and waiver.

                FLFO Distribution Amount means Cash in the amount of the FLFO Claims
Allowed Amount less the initial aggregate principal amount of the First Lien Exit Facility, as set
forth in the First Lien Exit Facility Commitment Letter.




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              FLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition FLTL Credit Agreement.

               FLTL Claims Allowed Amount means $1,142,688,815.28 in principal plus any
accrued but unpaid interest or fees due under the Prepetition FLTL Credit Agreement as of the
Petition Date.

               FLTL Deficiency Claim means any FLTL Claim or portion thereof that is not
Secured, if any.

                FLTL Equity Rights Offering means that certain rights offering pursuant to
which each holder of Allowed FLTL Claims is entitled to receive FLTL Subscription Rights to
acquire New Equity Interests in the aggregate amount of the FLTL Equity Rights Offering
Amount in accordance with the FLTL Equity Rights Offering Procedures, the terms and
conditions of which shall be (i) acceptable to the Debtors, Required DIP Lenders, and Requisite
FLTL Lenders, (ii) reasonably acceptable to the Prepetition FLFO Administrative Agent and the
First Lien Exit Facility Agent, and (iii) reasonably acceptable to the Requisite SLTL Lenders
solely to the extent that it directly and adversely impacts the holders of Allowed SLTL Claims.

              FLTL Equity Rights Offering Amount means $20,000,000.

             FLTL Equity Rights Offering Procedures means the procedures for the
implementation of the FLTL Equity Rights Offering to be approved by the Bankruptcy Court.

                FLTL ERO Backstop Agreement means that certain [Equity Backstop
Commitment Agreement], in form and substance (i) acceptable to the Debtors, the Required DIP
Lenders, and Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO
Administrative Agent and the First Lien Exit Facility Agent, to be entered into by and among
Fieldwood Energy LLC, NewCo, and the FLTL ERO Backstop Parties, as may be amended,
supplemented, or modified from time to time, pursuant to which the FLTL ERO Backstop Parties
agreed to, among other things, backstop the FLTL Equity Rights Offering with the terms and
conditions set forth therein.

           [FLTL ERO Backstop Commitment Percentage has the meaning set forth in the
FLTL ERO Backstop Agreement.]

               [FLTL ERO Backstop Commitment Premium means a premium equal to 8% of
the FLTL Equity Rights Offering Amount payable to the FLTL ERO Backstop Parties with the
FLTL ERO Backstop Commitment Premium Equity Interests in accordance with the terms set
forth in the FLTL ERO Backstop Agreement.]

                [FLTL ERO Backstop Commitment Premium Equity Interests means an
amount of New Equity Interests equal to the value of the FLTL ERO Backstop Commitment
Premium as further set forth in the FLTL ERO Backstop Agreement; provided that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.



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               FLTL ERO Backstop Parties means those parties that agree to backstop the
FLTL Equity Rights Offering pursuant to the FLTL ERO Backstop Agreement, each in its
respective capacity as such.

               FLTL Subscription Rights means the subscription right to acquire New Equity
Interests with an aggregate value equal to the FLTL Rights Offering Amount offered in
accordance with the FLTL Equity Rights Offering Procedures; provided, however, that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

             [FLTL Unsubscribed Shares has the meaning set forth in the FLTL ERO
Backstop Agreement].

              FWE I means an entity formed on the Effective Date by a Divisive Merger under
the name Fieldwood Energy I LLC pursuant to the Initial Plan of Merger.

            FWE I LLC Agreement means the limited liability company agreement of
FWE I, which shall be in substantially the form attached to the Apache Implementation
Agreement.

              FWE I Assets has the meaning set forth in the Initial Plan of Merger.

              FWE I Obligations has the meaning set forth in the Initial Plan of Merger.

               FWE I Sole Manager has the meaning ascribed to the term “Sole Manager” in
the FWE I LLC Agreement, and shall include the sole manager appointed to FWE I upon the
Effective Date and any successor thereto.

              FWE III means the surviving entity under the name Fieldwood Energy III LLC
following a Divisive Merger pursuant to the Initial Plan of Merger.

              FWE III LLC Agreement means the limited liability company agreement of
FWE III, a form of which shall be included in the Plan Supplement.

             FWE III Assets has the meaning set forth in the Initial Plan of Merger, as such
meaning may be modified by any Plan of Merger, other than the Initial Plan of Merger.

             FWE III Obligations has the meaning set forth in the Initial Plan of Merger, as
such meaning may be modified by any Plan of Merger, other than the Initial Plan of Merger.

               FWE Additional Entity means any entity, other than FWE I and FWE III, formed
on the Effective Date by a Divisive Merger involving FWE III (but not FWE I) pursuant to a
Plan of Merger.

                FWE Assets means, collectively, the FWE I Assets, FWE III Assets, and any
assets allocated to an FWE Additional Entity from FWE III.

              FWE Parent means Debtor Fieldwood Energy Inc.


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                General Unsecured Claim means any Claim against a Debtor, other than a DIP
Claim, Postpetition Hedge Claim, Administrative Expense Claim (including a Fee Claim), FLFO
Claim, FLTL Claim, SLTL Claim, Other Secured Claim, Priority Tax Claim, Priority Non-Tax
Claim, Unsecured Trade Claim, Subordinated Securities Claim, or Intercompany Claim that is
not entitled to priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court.
For the avoidance of doubt, General Unsecured Claims shall not include FLTL Deficiency
Claims or SLTL Deficiency Claims.

               GUC Warrant Agreement means a warrant agreement to be entered into by and
among NewCo and the warrant agent named therein that shall govern the terms of the GUC
Warrants, the form of which shall be acceptable to the Debtors, Required DIP Lenders, Requisite
FLTL Lenders, the Requisite SLTL Lenders and the Creditors’ Committee and which shall
contain provisions as favorable as the provisions in the SLTL Tranche 1 Warrant Agreement or
SLTL Tranche 2 Warrant Agreement.

                GUC Warrants means 8-year warrants for 3.5% of the New Equity Interests
(calculated on a fully diluted basis giving effect to the New Equity Interests to be issued pursuant
to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of the
Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New Equity
Interests issuable upon the exercise of the New Money Warrants and SLTL Tranche 1 Warrants,
but excluding the effect of any New Equity Interests issuable in connection with the
Management Incentive Plan), with a strike price set at an equity value equal to $1,321,000,000,
the terms of which shall be set forth in the GUC Warrant Agreement; provided, that if the SLTL
Tranche 2 Warrants are exercised, the GUC Warrants shall be subject to adjustment or true-up as
necessary to retain such percentage after giving effect to the exercise of the SLTL Tranche 2
Warrants.

             Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

               Impaired means, with respect to a Claim, Interest, or a Class of Claims or
Interests, “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

                Indemnification Obligation means any existing or future obligation of any
Debtor to indemnify current and former directors, officers, members, managers, agents or
employees of any of the Debtors who served in such capacity, with respect to or based upon such
service or any act or omission taken or not taken in any of such capacities, or for or on behalf of
any Debtor, whether pursuant to agreement, the Debtors’ respective memoranda, articles or
certificates of incorporation, corporate charters, bylaws, operating agreements, limited liability
company agreements, or similar corporate or organizational documents or other applicable
contract or law in effect as of the Effective Date.

               Initial Distribution means the first Distribution that the Plan Administrator makes
to holders of Allowed Claims.




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               Initial Distribution Date means the date on which the Plan Administrator shall
make the Initial Distribution, which shall not be less than five Business Days after the Effective
Date.

                Initial Plan of Merger means any Divisive Merger(s) to be effectuated pursuant
to that certain Agreement and Plan of Merger, which shall be in substantially the form attached
to the Apache Implementation Agreement.

                Intercompany Claim means any Claim against a Debtor held by another Debtor.

               Intercompany Interest means an Interest in a Debtor other than any Existing
Equity Interest.

                 Interest means any common stock, limited liability company interest, equity
security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
interests, unit, or share in any Debtor (including all options, warrants, rights, or other securities
or agreements to obtain such an interest or share in such Debtor), whether or not arising under or
in connection with any employment agreement and whether or not certificated, transferable,
preferred, common, voting, or denominated “stock” or a similar security.

                Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

                Management Incentive Plan means the post-Effective Date management
incentive plan of NewCo which shall provide for [up to] 10% of New Equity Interests on a fully
diluted basis or other equity or similar interests in NewCo to be reserved for directors, managers,
officers, and employees of NewCo or a subsidiary of NewCo (including the Credit Bid
Purchaser) to be distributed on terms to be determined by the board of directors of NewCo.

               New Equity Interests means the equity interests of NewCo to be issued (i) on the
Effective Date (including the Backstop Commitment Premium Equity Interests and upon the
exercise of the Subscription Rights), (ii) upon exercise of the New Money Warrants, the SLTL
Warrants, or the GUC Warrants, (iii) under the Management Incentive Plan, or (iv) on or after
the Effective Date as otherwise permitted pursuant to the NewCo Organizational Documents.

               New Intercreditor Agreement means that certain Intercreditor Agreement, to be
dated as of the Effective Date, by and among the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent and the Credit Bid Purchaser, the form of which shall be contained in
the Plan Supplement, acceptable to the Prepetition FLFO Administrative Agent, the First Lien
Exit Facility Agent, the Requisite FLFO Lenders, the Debtors, the Required DIP Lenders, and
the Requisite FLTL Lenders.

                NewCo means [], which is the direct or indirect owner of 100% of the equity
interests of the Credit Bid Purchaser.

                NewCo Entities means, collectively, NewCo and each of its direct and indirect
subsidiaries.




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                NewCo Organizational Documents means the form of certificate of formation,
limited liability company agreement, agreement of limited partnership, articles of incorporation,
bylaws, trust agreements, or such other applicable formation documents of the NewCo and any
of its subsidiaries, including any shareholders’ or stockholders’ agreement, which shall be (i)
acceptable to the Debtors, the Requisite FLTL Lenders, and the Required DIP Lenders and (ii)
(a) if NewCo or any of its subsidiaries are to be formed in a jurisdiction outside of the United
States, reasonably acceptable to the Prepetition FLFO Administrative Agent or (b) if NewCo or
any of its subsidiaries are to be formed in a jurisdiction within the United States, reasonably
acceptable to the Prepetition FLFO Administrative Agent solely to the extent that it directly and
adversely impacts the holders of Allowed FLFO Claims or First Lien Exit Facility Lenders.

               New Money Consideration means, in the aggregate, the amount of Cash provided
to the Debtors by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.

              New Money Investment means the investment of up to $85 million in Cash into
Credit Bid Purchaser by the New Money Second Lien Exit Facility Lenders in connection with,
and upon consummation of, the Second Lien Exit Facility, subject to the terms of the Second
Lien Backstop Commitment Letter.

             New Money Second Lien Exit Facility Lenders means the lenders party to the
Second Lien Exit Facility Credit Agreement participating in the New Money Investment.

             New Money Warrant Agreement means a warrant agreement to be entered into
by and among NewCo and the warrant agent named therein that shall govern the terms of the
New Money Warrants, the form of which shall be acceptable to the Debtors, Required DIP
Lenders and Requisite FLTL Lenders.

                New Money Warrants means 7-year warrants for up to 24% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the Backstop Commitment Premium Equity Interests,
and the New Equity Interests issuable upon the exercise of the Subscription Rights, but
excluding the effect of any New Equity Interests issuable upon exercise of the SLTL Warrants
and GUC Warrants and any New Equity Interest issuable pursuant to the Management Incentive
Plan), with a strike price of $0.01, the terms of which shall be set forth in the New Money
Warrant Agreement and which shall be issued and allocated in a manner consistent with the
Second Lien Backstop Commitment Letter.

               Other Secured Claim means any Secured Claim against a Debtor other than a
Priority Tax Claim, FLFO Claim, FLTL Claim, and SLTL Claim.

               Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy
Code), or other Entity.

             Petition Date means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.


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                Plan means this joint chapter 11 plan, including all appendices, exhibits,
schedules, and supplements hereto (including any appendices, schedules, and supplements to the
Plan contained in the Plan Supplement), as may be amended, supplemented or modified from
time to time in accordance with the Bankruptcy Code and the terms hereof.

               Plan Administrator means a person or entity selected by the Creditors’
Committee, subject to the consent of the Debtors, Required DIP Lenders, and Requisite FLTL
Lenders, with such consent not to be unreasonably withheld, that is charged with overseeing the
tasks outlined in Section 5.9 of this Plan, or any successor thereto. The identity of the Plan
Administrator shall be disclosed to the Bankruptcy Court before the Confirmation Hearing.

             Plan Administrator Agreement means an agreement setting forth the economic
arrangement and terms pursuant to which the Plan Administrator will perform its duties under
this Plan.

              Plan Administrator Expense Reserve means a segregated account not subject to
the Liens of the Prepetition Agents or DIP Agent established by the Plan Administrator in
accordance with Section 5.15 of this Plan.

              Plan Administrator Expense Reserve Amount means Cash in an amount equal to
$8,000,000 to be funded into the Plan Administrator Expense Reserve on the Effective Date.

               Plan Distribution means any initial or periodic payment or transfer of
consideration to holders of Allowed Claims made under the Plan.

                Plan of Merger means, collectively, (a) the Initial Plan of Merger and (b) any
Divisive Merger(s) involving any Debtor or any successor to any Debtor (including FWE III but
excluding FWE I) to be effectuated on the Effective Date subsequent to the effective time of the
Initial Plan of Merger.

                Plan of Merger Consent Rights means any right of consent, notice, and other
similar rights, if any, that are applicable to the vesting of assets in connection with the Plan of
Merger.

                Plan of Merger Preferential Purchase Rights means any preferential right to
purchase, right of first refusal, right of first offer, drag-along rights, tag-along rights, and similar
right the operation of which is triggered by the vesting of the FWE Assets in connection with the
Plan of Merger.

               Plan Settlement means the settlement of certain Claims and controversies
pursuant to Section 5.1 of the Plan.

               Plan Supplement means a supplement or supplements to the Plan containing
certain documents and forms of documents, schedules, and exhibits relevant to the
implementation of the Plan, which shall include: (a) the Amended Organizational Documents (if
any), (b) information regarding the sole manager and independent director to be appointed at
FWE I to the extent known and determined and other information required to be disclosed in
accordance with section 1129(a)(5) of the Bankruptcy Code, (c) a schedule of retained Causes of


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Action, (d) the Schedule of Assumed Contracts, (e) the Plan Administrator Agreement; (f) the
Credit Bid Purchase Agreement; (g) the NewCo Organizational Documents; (h) the Apache
Definitive Documents; (i) the First Lien Exit Facility Agreement; (j) the Second Lien Exit
Facility Agreement; (k) the New Intercreditor Agreement; (l) the New Money Warrant
Agreements; (m) the GUC Warrant Agreement; and (n) any Additional Predecessor Agreement;
provided, however, that the Debtors shall have the right to amend documents contained in, and
exhibits thereto, the Plan Supplement in accordance with the terms of this Plan and the
Restructuring Support Agreement (including the consent rights set forth therein).

              Postpetition Hedging Agreements has the meaning set forth in that certain
Emergency Order (I) Authorizing Debtors to (A) Enter Into and Perform Under New
Postpetition Hedging Agreements and (B) Grant Related Liens and Superiority Claims, (II)
Modifying Automatic Stay, and (III) Granting Related Relief entered on August 24, 2020 (ECF
No. 242).

             Postpetition Hedge Claim means a Claim arising pursuant to any Postpetition
Hedging Agreement.

               Post-Effective Date Debtors means the Debtors, as reorganized as of the Effective
Date in accordance with this Plan, including FWE III and any FWE Additional Entities solely to
the extent consistent with the applicable Additional Predecessor Agreement Document. For the
avoidance of doubt, the Post-Effective Date Debtors does not include NewCo or its subsidiaries
(including the Credit Bid Purchaser), or FWE I.

               Post-Effective Date FWE Parent means FWE Parent, as reorganized on the
Effective Date in accordance with this Plan.

              Prepetition Agents means, collectively, the Prepetition FLFO Administrative
Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL Administrative Agent,
Prepetition FLTL Subagent, and the Prepetition SLTL Agent.

                 Prepetition FLFO Administrative Agent means Goldman Sachs Bank USA,
solely in its capacity as administrative agent under the Prepetition FLFO Credit Agreement.

                Prepetition FLFO Advisors means Vinson & Elkins, LLP, Shipman & Goodwin
LLP (in its capacity as counsel to the Prepetition FLFO Collateral Agent), Opportune LLP, and
any local or foreign advisors.

                Prepetition FLFO Collateral Agent means Cantor Fitzgerald Securities, solely in
its capacity as collateral agent under the Prepetition FLFO Credit Agreement.

               Prepetition FLFO Credit Agreement means that certain Second Amended and
Restated Credit Agreement- First Out, dated as of June 28, 2019, by and among Fieldwood
Energy LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Collateral Agent, and the Prepetition FLFO
Lenders, and the other parties thereto, as in effect immediately before the Effective Date.




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            Prepetition FLFO Lenders means the Lenders (as defined in the Prepetition
FLFO Credit Agreement) holding Prepetition FLFO Loans immediately before the Effective
Date.

              Prepetition FLFO Loans means the Loans (under and as defined in the
Prepetition FLFO Credit Agreement) outstanding immediately before the Effective Date.

                Prepetition FLFO Secured Parties means, collectively, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Lenders, and the other Secured Parties (as defined
in the Prepetition FLFO Credit Agreement) under the Prepetition FLFO Credit Agreement.

                Prepetition FLTL Administrative Agent means Cantor Fitzgerald Securities,
solely in its capacity as administrative agent and collateral agent under the Prepetition FLTL
Credit Agreement.

                Prepetition FLTL Agents means the Prepetition FLTL Administrative Agent and
the Prepetition FLTL Subagent.

                Prepetition FLTL Agents Advisors means Shipman & Goodwin LLP (in its
capacity as counsel to the Prepetition FLTL Administrative Agent) and Seward & Kissel LLP (in
its capacity as counsel to the Prepetition Subagent).

               Prepetition FLTL Subagent means Drivetrain Agency Services, LLC, solely in
its capacity as a subagent to the Prepetition FLTL Administrative Agent under the Prepetition
FLTL Credit Agreement and the Loan Documents (as such term is defined in the Prepetition
FLTL Credit Agreement).

               Prepetition FLTL Credit Agreement means that certain Amended and Restated
First Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLTL Administrative
Agent, and the Prepetition FLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.

            Prepetition FLTL Lenders means the Lenders (as defined in the Prepetition
FLTL Credit Agreement) holding Prepetition FLTL Loans immediately before the Effective
Date.

              Prepetition FLTL Loans means the Loans (under and as defined in the
Prepetition FLTL Credit Agreement) outstanding immediately before the Effective Date.

              Prepetition SLTL Administrative Agent means Cortland Capital Market Services
LLC, solely in its capacity as administrative agent and collateral agent under the Prepetition
SLTL Credit Agreement.

              Prepetition SLTL Credit Agreement means that certain Amended and Restated
Second Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition SLTL Administrative



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Agent, and the Prepetition SLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.

             Prepetition SLTL Lenders means the Lenders (as defined in the Prepetition SLTL
Credit Agreement) holding Prepetition SLTL Loans immediately before the Effective Date.

             Prepetition SLTL Loans means the Loans (under and as defined in the Prepetition
SLTL Credit Agreement) outstanding immediately before the Effective Date.

               Principal FLFO Amount has the meaning set forth in Section 4.3.

               Priority Non-Tax Claim means any Claim other than an Administrative Expense
Claim, or a Priority Tax Claim that is entitled to priority of payment as specified in section
507(a) of the Bankruptcy Code.

               Priority Tax Claim means any Secured Claim or unsecured Claim of a
Governmental Unit of the kind entitled to priority of payment as specified in sections 502(i) and
507(a)(8) of the Bankruptcy Code.

               Pro Rata Share means the proportion that an Allowed Claim or Interest in a
particular Class bears to the aggregate amount of all Allowed Claims or Interests in that Class.

                Professional Person(s) means any Person retained by order of the Bankruptcy
Court in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b),
or 1103 of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to
an order of the Bankruptcy Court.

               Professional Fee Escrow means an escrow account established and funded
pursuant to section 2.2 of the Plan.

               Professional Fee Escrow Amount means the aggregate unpaid Fee Claims
through the Effective Date as estimated in accordance with section 2.2 of the Plan.

                Released Parties means, collectively, (a) the Debtors, (b) the Post-Effective Date
Debtors, (c) the DIP Agent and DIP Lenders under the DIP Facility, (d) the Prepetition FLFO
Secured Parties, (e) the Consenting Creditors, (f) the Prepetition FLFO Collateral Agent, (g) the
Prepetition FLTL Agents, (h) the Prepetition SLTL Agent, (i) the Creditors’ Committee and the
current and former members of the Creditors’ Committee (solely in their capacities as such), (j)
NewCo and all of its subsidiaries (including the Credit Bid Purchaser), (k) the Exit Facility
Agents, (l) the Exit Facility Lenders, (m) the Second Lien Backstop Parties, (n) the ERO
Backstop Parties, (o) the Apache PSA Parties, and (p) with respect to each of the foregoing
Persons in clauses (a) through (o), each of their current and former affiliates, and each such
Entity’s and its current and former affiliates’ current and former directors, managers, officers,
equity holders (regardless of whether such interests are held directly or indirectly), predecessors,
successors, and assigns, subsidiaries, and each of their current and former officers, members,
managers, directors, equity holders (regardless of whether such interests are held directly or
indirectly), principals, members, employees, agents, managed accounts or funds, management
companies, fund advisors, investment advisors, advisory board members, financial advisors,


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partners (including both general and limited partners), attorneys, accountants, investment
bankers, consultants, representatives and other professionals, such Persons’ respective heirs,
executors, estates, and nominees, in each case in their capacity as such, and any and all other
persons or entities that may purport to assert any cause of action derivatively, by or through the
foregoing entities.

                Releasing Parties means collectively, (a) the holders of all Claims or Interests
that vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or
reject the Plan is solicited but that do not vote either to accept or to reject the Plan, (c) the
holders of all Claims or Interests that vote, or are deemed, to reject the Plan but do not opt out of
granting the releases set forth herein, (d) the holders of all Claims and Interests that were given
notice of the opportunity to opt out of granting the releases set forth herein but did not opt out,
and (e) the Released Parties (even if such Released Party purports to opt out of the releases set
forth herein).

               Required DIP Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite FLFO Lenders means, as of the date of determination, Prepetition
FLFO Lenders holding at least a majority of the outstanding Prepetition FLFO Loans (inclusive
of validly executed but unsettled trades) held by the Prepetition FLFO Lenders as of such date.

               Requisite FLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite SLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Residual Distributable Value means any distributable value of the Single Share
of Post-Effective Date FWE Parent held by the Plan Administrator (a) after satisfaction of
Allowed Administrative Expense Claims, Allowed Other Secured Claims, Allowed Priority Tax
Claims, Allowed Priority Non-Tax Claims, all Cure Amounts and (b) after satisfaction of all
fees, expenses, costs and other amounts pursuant to the Plan and incurred by the Post-Effective
Date Debtors in connection with post-Effective Date operations and wind-down.

               Restructuring means the restructuring of the Debtors, the principal terms of
which are set forth in this Plan and the Plan Supplement.

                Restructuring Expenses means the reasonable and documented fees and expenses
incurred by (i) the Ad Hoc Group of Secured Lenders, (ii) the Prepetition FLFO Secured Parties,
(iii) the Prepetition FLTL Agents, and (iv) the Ad Hoc Group of Prepetition SLTL Lenders in
connection with the Chapter 11 Cases, including the fees and expenses of the Ad Hoc Group of
Secured Lenders Advisors, the Prepetition FLTL Agents Advisors, the Prepetition FLFO
Advisors, and Ad Hoc Group of Prepetition SLTL Lenders Advisors, in each case payable in
accordance with the terms of any applicable agreements, engagement letters or fee letters
executed with such parties or pursuant to the terms of the DIP Order and without the requirement
for the filing of retention applications, fee applications, or any other application in the Chapter
11 Cases, which shall not be subject to any offset, defense, counterclaim, reduction, or creditor

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credit and, to the extent incurred prior to the Effective Date, shall be Allowed as Administrative
Expense Claims upon incurrence; provided, however, Restructuring Expenses of the Ad Hoc
Group of Prepetition SLTL Lenders shall be limited to and consist solely of the reasonable fees
and expenses incurred by the Ad Hoc Group of Prepetition SLTL Lenders Advisors in their
capacity as counsel to the Ad Hoc Group of Prepetition SLTL Lenders, and solely to the extent
such fees and expenses have been incurred in support of the Restructuring Transactions and so
long as the Ad Hoc Group of Prepetition SLTL Lenders are parties to the Restructuring Support
Agreement.

                Restructuring Support Agreement means that certain Restructuring Support
Agreement, dated as of August 4, 2020, by and among Debtor Fieldwood Energy LLC, certain of
its affiliates specified therein, the Consenting Creditors, and Apache, as the same may be
amended, restated, or otherwise modified in accordance with its terms.

                Restructuring Transactions means one or more transactions pursuant to
section 1123(a)(5) of the Bankruptcy Code to occur on the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan and the Credit
Bid Transaction, including (a) the consummation of the transactions provided for under or
contemplated by the Plan and any mergers, divisive mergers, amalgamations, consolidations,
arrangements, continuances, transfers, conversions, sales, dispositions, or other corporate
transactions necessary or appropriate to implement the Plan, (b) the execution and delivery of
appropriate agreements or other documents containing terms that are consistent with or
reasonably necessary to implement the terms of the Plan or the Credit Bid Transaction and that
satisfy the requirements of applicable law, (c) the Equity Rights Offerings, (d) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any
property, right, liability, duty, or obligation on terms consistent with the terms of the Plan, and
(d) all other actions that the Debtors, the Post-Effective Date Debtors or NewCo (or any of its
subsidiaries, including the Credit Bid Purchaser), as applicable, determine are necessary or
appropriate and consistent with the Plan or the Credit Bid Transaction. For the avoidance of
doubt, Restructuring Transactions includes the Credit Bid Transaction and the Divisive
Merger(s) effectuated pursuant to the Plan of Merger.

               Schedule of Abandoned Properties means a schedule (as may be amended,
modified, or supplemented from time to time) of the Debtors’ rights to and interests in executory
contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements to be
abandoned pursuant to Section 5.14 of this Plan, a copy of which shall be filed with the
Disclosure Statement and included in the Plan Supplement.

              Schedule of Assumed Contracts means the schedule of executory contracts and
unexpired leases to be assumed by the Debtors pursuant to this Plan, if any, as the same may be
amended, modified, or supplemented from time to time.

                Schedule of FWE I Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE I Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.


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                Schedule of FWE III Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE III Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

                Schedule of FWE IV Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute assets of the FWE Additional Entity to be formed under the name
Fieldwood Energy IV LLC, a copy of which shall be filed with the Disclosure Statement and
included in the Plan Supplement.

               Schedule of FWE Additional Entity Oil & Gas Lease Interests means a schedule
(as may be amended, modified, or supplemented from time to time) of the Debtors’ interests in
the oil and gas leases that shall constitute assets of any FWE Additional Entity, a copy of which
shall be included in the Plan Supplement.

                Schedule of Purchased Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that will be acquired by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement, a copy of which shall be filed with the Disclosure Statement and included in the Plan
Supplement.

               Schedules means any schedules of assets and liabilities, schedules of executory
contracts and unexpired leases, and statements of financial affairs filed by the Debtors pursuant
to section 521 of the Bankruptcy Code.

                Second Lien Backstop Commitment Letter means that certain backstop
commitment letter, in form and substance (i) acceptable to the Debtors, the Required DIP
Lenders, and Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO
Administrative Agent and the First Lien Exit Facility Agent, to be entered into by and among
Fieldwood Energy LLC, the Credit Bid Purchaser and the Backstop Parties, as may be amended,
supplemented, or modified from time to time, pursuant to the terms thereof and consistent with
the Restructuring Support Agreement, pursuant to which the Backstop Parties agreed to, among
other things, backstop the Second Lien Exit Facility in accordance with the terms and conditions
set forth therein.

              Second Lien Backstop Commitment Premium means a premium equal to 8% of
the maximum principal amount of the Second Lien Exit Facility (i.e. $185,000,000) payable to
the Backstop Parties with the Second Lien Backstop Commitment Premium Equity Interests in
accordance with the terms set forth in the Second Lien Backstop Commitment Letter.

                Second Lien Backstop Commitment Premium Equity Interests means an amount
of New Equity Interests equal to the value of the Second Lien Backstop Commitment Premium
as further set forth in the Second Lien Backstop Commitment Letter; provided that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.



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            Second Lien Backstop Party has the meaning set forth in the Second Lien
Backstop Commitment Letter.

             Second Lien Exit Facility means the facility under the Second Lien Exit Facility
Credit Agreement.

             Second Lien Exit Facility Agent means the administrative agent under the
Second Lien Exit Facility Credit Agreement.

                Second Lien Exit Facility Credit Agreement means that certain credit agreement
to be entered by the Credit Bid Purchaser, the Second Lien Exit Facility Agent and the Second
Lien Exit Facility Lenders on the Effective Date that shall govern the Second Lien Exit Facility,
which shall reflect and contain terms, conditions, representations, warranties, and covenants
consistent with the Second Lien Exit Facility Term Sheet and otherwise be in form and substance
(i) acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders and (ii)
reasonably acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit
Facility Agent.

               Second Lien Exit Facility Documents means, collectively, the Second Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be (i) acceptable to the Debtors, the Required DIP Lenders, and
Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO Administrative
Agent and the First Lien Exit Facility Agent.

               Second Lien Exit Facility Lenders means the lenders party to the Second Lien
Exit Facility Credit Agreement.

               Second Lien Exit Facility Term Sheet means the term sheet filed with the
Disclosure Statement, as may be amended from time to time with (i) the consent of the Required
DIP Lenders and Requisite FLTL Lenders and (ii) the reasonable consent of the Prepetition
FLFO Administrative Agent and First Lien Exit Facility Agent.

                Secured means, when referring to a Claim: (a) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property as (i) set
forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors, or (iii) determined
by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (b) secured by the
amount of any right of setoff of the holder thereof in accordance with section 553 of the
Bankruptcy Code.

             Security means any “security” as such term is defined in section 101(49) of the
Bankruptcy Code.

              SLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition SLTL Credit Agreement.


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               SLTL Claims Allowed Amount means $517,500,000.00 in principal, plus any
accrued but unpaid interest or fees due under the Prepetition SLTL Credit Agreement as of the
Petition Date.

               SLTL Deficiency Claim means any SLTL Claim or portion thereof that is not
Secured, if any.

                SLTL Equity Rights Offering means that certain rights offering pursuant to
which each holder of Allowed SLTL Claims is entitled to receive SLTL Subscription Rights to
acquire New Equity Interests in the aggregate amount of the SLTL Equity Rights Offering
Amount in accordance with the SLTL Equity Rights Offering Procedures, the terms and
conditions of which shall be reasonably acceptable to the Debtors, Required DIP Lenders,
Requisite FLTL Lenders, Requisite SLTL Lenders, the Prepetition FLFO Administrative Agent,
and the First Lien Exit Facility Agent.

              SLTL Equity Rights Offering Amount means $20,000,000.

             SLTL Equity Rights Offering Procedures means the procedures for the
implementation of the SLTL Equity Rights Offering to be approved by the Bankruptcy Court.

               SLTL ERO Backstop Agreement means that certain [Equity Backstop
Commitment Agreement], in form and substance reasonably acceptable to the Debtors, the
Required DIP Lenders, the Requisite FLTL Lenders, the Requisite SLTL Lenders, the
Prepetition FLFO Administrative Agent, and the First Lien Exit Facility Agent, to be entered into
by and among Fieldwood Energy LLC, NewCo, and the SLTL ERO Backstop Parties, as may be
amended, supplemented, or modified from time to time, pursuant to which the SLTL ERO
Backstop Parties agreed to, among other things, backstop the SLTL Equity Rights Offering with
the terms and conditions set forth therein[; provided that, the form of the [Equity Backstop
Commitment Agreement] attached hereto as Exhibit [] shall be deemed acceptable to the
Debtors, the Required DIP Lenders, Requisite FLTL Lenders and Requisite SLTL Lenders [and
reasonably acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit
Facility Agent].]

           [SLTL ERO Backstop Commitment Percentage has the meaning set forth in the
SLTL ERO Backstop Agreement.]

               [SLTL ERO Backstop Commitment Premium means a premium equal to 8% of
the SLTL Equity Rights Offering Amount payable to the SLTL ERO Backstop Parties with the
SLTL ERO Backstop Commitment Premium Equity Interests in accordance with the terms set
forth in the SLTL ERO Backstop Agreement.]

                 [SLTL ERO Backstop Commitment Premium Equity Interests means an amount
of New Equity Interests equal to the value of the SLTL ERO Backstop Commitment Premium as
further set forth in the SLTL ERO Backstop Agreement; provided that such New Equity Interests
shall be issued at a 30% discount to the equity value of NewCo on the Effective Date.




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               SLTL ERO Backstop Parties means those parties that agree to backstop the
SLTL Equity Rights Offering pursuant to the SLTL ERO Backstop Agreement, each in its
respective capacity as such.

               SLTL Subscription Rights means the subscription right to acquire New Equity
Interests with an aggregate value equal to the SLTL Rights Offering Amount offered in
accordance with the SLTL Equity Rights Offering Procedures; provided, however, that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

              SLTL Tranche 1 Warrant Agreement means a warrant agreement to be entered
into by and among NewCo and the warrant agent named therein that shall govern the terms of
the SLTL Tranche 1 Warrants, the form of which shall be acceptable to the Debtors, Required
DIP Lenders, Requisite FLTL Lenders, the Creditors’ Committee, and the Requisite SLTL
Lenders.

                 SLTL Tranche 1 Warrants means 8-year warrants for 25% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of
the Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New
Equity Interests issuable upon the exercise of the New Money Warrants and GUC Warrants, but
excluding the effect of any New Equity Interests issuable upon exercise of the SLTL Tranche 2
Warrants and any New Equity Interests issuable in connection with the Management Incentive
Plan), with a strike price set at an equity value equal to $1,321,000,000, the terms of which shall
be set forth in the SLTL Tranche 1 Warrant Agreement.

              SLTL Tranche 2 Warrant Agreement means a warrant agreement to be entered
into by and among NewCo and the warrant agent named therein that shall govern the terms of
the SLTL Tranche 2 Warrants, the form of which shall be acceptable to the Debtors, Required
DIP Lenders, Requisite FLTL Lenders, the Creditors’ Committee, and the Requisite SLTL
Lenders.

                SLTL Tranche 2 Warrants means 8-year warrants for 32.50% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of
the Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New
Equity Interests issuable upon the exercise of the New Money Warrants, the SLTL Tranche 1
Warrants, and the GUC Warrants (excluding any adjustment or true-up of the GUC Warrants as
described in the definition thereof), but excluding the effect of any New Equity Interests issuable
in connection with the Management Incentive Plan), with a strike price set at an equity value
equal to $1,585,200,000, the terms of which shall be set forth in the SLTL Tranche 2 Warrant
Agreement.

             [SLTL Unsubscribed Shares has the meaning set forth in the SLTL ERO
Backstop Agreement].




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             SLTL Warrants means, collectively, the SLTL Tranche 1 Warrants and the SLTL
Tranche 2 Warrants.

               Specified Administrative Expense Claims means Administrative Expense Claims
other than (a) Administrative Expense Claims that are to be assumed by the Credit Bid Purchaser
pursuant to the Credit Bid Purchase Agreement; (b) Cure Amounts; and (c) Fee Claims,
Restructuring Expenses, any fees and expenses payable pursuant to sections 2.3 and 2.4 of this
Plan, any fees and expenses payable or reimbursable by the Debtors or Post-Effective Date
Debtors pursuant to the Second Lien Backstop Commitment Letter, Credit Bid Purchase
Agreement, or First Lien Exit Facility Commitment Letter (including termination fees, if any),
Apache Fees and Expenses and Apache Implementation Costs, and Statutory Fees.

             Standby Loan Agreement has the meaning set forth in the Apache
Implementation Agreement.

             Standby Credit Facility Documents has the meaning set forth in the Apache
Implementation Agreement.

               Statutory Fees means all fees and charges assessed against the Estates pursuant to
sections 1911 through 1930 of chapter 123 of title 28 of the United States Code.

              Subordinated Securities Claim means a Claim that is subject to subordination in
accordance with sections 510(b) of the Bankruptcy Code or otherwise.

              Subscription Rights means, collectively, the FLTL Subscription Rights and SLTL
Subscription Rights.

               Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

              Toggle Amount means $35,000,000 or such higher amount as may be mutually
agreed between the Debtors, the Required DIP Lenders, and the Requisite FLTL Lenders.

               Toggle Date has the meaning set forth in Section 5.2(c).

               Toggle Motion has the meaning set forth in Section 5.2(c)(i).

                Trade Agreement means a trade agreement entered into or to be entered into
between the Debtors, [a NewCo Entity], and a Trade Creditor that will be provided by the
Debtors to each Trade Creditor and that provides for, among other things, waiver of any and all
liens against the Debtors, their assets and any co-owned assets, or any other affiliated person or
entity (including any co-working interest owner of the Debtors), or any such person’s or entity’s
respective assets or property (real or personal), regardless of the statute or other legal authority
upon which the lien is asserted, held or asserted by the Trade Creditor relating to the Unsecured
Trade Claim, and an agreement by such Trade Creditor to continue to provide post-Effective
Date trade terms that are no less favorable than the terms provided to the Debtors prior to the
Petition Date



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              Trade Creditor means a third-party provider of goods or services to the Debtors
that holds an Unsecured Trade Claim against the Debtors arising from the provision of such
goods and services.

               Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of sections 1123(a)(4) and 1124(2) of the
Bankruptcy Code.

               Unsecured Trade Claim means any unsecured claim (or secured claim that
becomes unsecured by agreement, settlement, or order of the Bankruptcy Court) of a Trade
Creditor that is held by a Trade Creditor that has elected such claim to be treated as an
Unsecured Trade Claim under this Plan and enters into or agrees to enter into a Trade
Agreement; provided, however, that in no event shall any claim against the Debtors that arises in
connection with a joint interest billing arrangement constitute an Unsecured Trade Claim.

               U.S. Trustee means the United States Trustee for Region 7.

               Voting Deadline means June 2, 2021 at 4:00 p.m. (Prevailing Central Time), or
such date and time as may set by the Bankruptcy Court.

               1.2     Interpretation; Application of Definitions; Rules of Construction.

                Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in or exhibit to the Plan, as the same may be amended, waived, or modified
from time to time in accordance with the terms hereof. The words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the Plan as a whole and not to any
particular section, subsection, or clause contained therein and have the same meaning as “in the
Plan,” “of the Plan,” “to the Plan,” and “under the Plan,” respectively. The words “includes” and
“including” are not limiting. The headings in the Plan are for convenience of reference only and
shall not limit or otherwise affect the provisions hereof. For purposes herein: (a) in the
appropriate context, each term, whether stated in the singular or plural, shall include both the
singular and plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract,
lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially
in that form or substantially on those terms and conditions; (c) the rules of construction set forth
in section 102 of the Bankruptcy Code shall apply; and (d) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
Rules, as the case may be.

               1.3     Reference to Monetary Figures.

               All references in the Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.




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               1.4     Controlling Document.

                In the event of an inconsistency between the Plan and the Plan Supplement, the
terms of the relevant document in the Plan Supplement shall control unless otherwise specified in
such Plan Supplement document. In the event of an inconsistency between the Plan and the First
Lien Exit Facility Commitment Letter, the First Lien Exit Facility Commitment Letter shall
control. In the event of an inconsistency between the Plan and the Second Lien Backstop
Commitment Letter, the Second Lien Backstop Commitment Letter shall control. The provisions
of the Plan, the First Lien Exit Facility Commitment Letter, the Second Lien Backstop
Commitment Letter, and of the Confirmation Order shall be construed in a manner consistent
with each other so as to effectuate the purposes of each; provided, that if there is determined to
be any inconsistency between (a) any provision of the Plan, the First Lien Exit Facility
Commitment Letter, and any provision of the Confirmation Order that cannot be so reconciled,
or (b) any provision of the Plan, the Second Lien Backstop Commitment Letter, and any
provision of the Confirmation Order that cannot be so reconciled, then, solely to the extent of
such inconsistency, the provisions of the Confirmation Order shall govern.

               1.5     Certain Consent Rights

               Notwithstanding anything herein to the contrary, and without limiting the
Debtors’ fiduciary duties, any and all consent rights of any party set forth in the Restructuring
Support Agreement with respect to the form and substance of this Plan, the Plan Supplement,
any supplement to the Disclosure Statement, any other Definitive Documents and any
agreements or documents referenced in this Plan or the Plan Supplement, including any
amendments, restatements, supplements, or other modifications to such documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated
herein by this reference and fully enforceable as if stated in full herein until such time as the
Restructuring Support Agreement is terminated in accordance with its terms.



ARTICLE II.            ADMINISTRATIVE EXPENSE CLAIMS, FEE CLAIMS, DIP
                       CLAIMS, AND PRIORITY TAX CLAIMS.

               2.1     Treatment of Administrative Expense Claims.

               On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
each Administrative Expense Claim becomes an Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim (other than a Fee Claim) shall receive in
full and final satisfaction of such Claim, either (x) Cash in an amount equal to the Allowed
amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (y) such other treatment as to which the Debtors, the Post-
Effective Date Debtors, or NewCo and its subsidiaries (including the Credit Bid Purchaser), as
applicable, and the holder of such Allowed Administrative Expense Claim will have agreed upon
in writing; provided, that Allowed Administrative Expense Claims representing liabilities
incurred in the ordinary course of business by the Debtors, as Debtors in Possession, shall be
paid by the Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of

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business, consistent with past practice and in accordance with the terms and subject to the
conditions of any orders or agreements governing, instruments evidencing, or other documents
establishing, such liabilities; provided, further, that any Allowed Administrative Expense Claim
assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be
solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall have
no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets and
properties.

               2.2    Treatment of Fee Claims.

              (a)     Final Fee Applications. All final requests for the allowance and payment
of Fee Claims shall be filed no later than 45 days after the Effective Date unless such date is
extended by order of the Bankruptcy Court.

               (b)     Professional Fee Escrow Amount. All Professional Persons shall estimate
in good faith their unpaid Fee Claims before and as of the Effective Date and shall deliver such
estimate to the Debtors at least three (3) calendar days before the Effective Date; provided,
however, that such estimate shall not limit or be deemed to limit the amount of the fees and
expenses that are the subject of the Professional Person’s final request for payment of Fee
Claims. If a Professional Person does not provide such estimate, the Debtors and Post-Effective
Date Debtors may estimate the unbilled fees and expenses of such Professional Person; provided,
however, that such estimate shall not be considered an admission or limitation with respect to the
fees and expenses incurred by, or payable to, such Professional Person. The total amount so
estimated as of the Effective Date shall comprise the Professional Fee Escrow Amount.

               (c)     Professional Fee Escrow. If the Professional Fee Escrow Amount is
greater than zero, then as soon as reasonably practicable after the Confirmation Date and no later
than the Effective Date, the Debtors will establish and fund the Professional Fee Escrow with
cash equal to the Professional Fee Escrow Amount and no Liens, Claims, or interests will
encumber the Professional Fee Escrow in any way. The Professional Fee Escrow (including
funds held in the Professional Fee Escrow) will (i) not be and will not be deemed to be property
of the Debtors or the Post-Effective Date Debtors and (ii) will be held in trust for the
Professional Persons; provided, however, that funds remaining in the Professional Fee Escrow
after all Allowed Fee Claims have been irrevocably paid in full will revert to the Post-Effective
Date Debtors. Allowed Fee Claims will be paid in cash to such Professional Persons from funds
held in the Professional Fee Escrow as soon as reasonably practicable after such Claims are
Allowed by an order of the Bankruptcy Court; provided, however, that the Debtors’ obligations
with respect to Fee Claims will not be limited nor deemed to be limited in any way to the balance
of funds held in the Professional Fee Escrow.

               If the amount of funds in the Professional Fee Escrow is insufficient to fund
payment in full of all Allowed Fee Claims and any other Allowed amounts owed to Professional
Persons, the deficiency will be promptly funded to the Professional Fee Escrow from the
Debtors’ estates and/or by Post-Effective Date Debtors without any further action or order of the
Bankruptcy Court.




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                (d)    Post-Effective Date Fees and Expenses. On and after the Effective Date,
the Debtors and the Post-Effective Date Debtors, as applicable, will pay in cash in the ordinary
course of business and without any further action or order of the Bankruptcy Court, the
reasonable legal, professional, or other fees and expenses that are (i) related to implementation of
the Plan and (ii) incurred by the Debtors or Post-Effective Date Debtors, as applicable, on and
after the Effective Date.

               On the Effective Date, any requirement that Professional Persons comply with
sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation
for services provided after such date shall terminate, and the Debtors or Post-Effective Date
Debtors may employ and pay any post-Effective Date fees and expenses of any Professional
Person without any further notice to or action, order, or approval of the Bankruptcy Court.

               2.3     Treatment of DIP Claims.

              As of the Effective Date, the DIP Claims shall be Allowed in the full amount
outstanding under the DIP Credit Agreement, including principal, interest, fees, costs, other
charges, and expenses provided for thereunder. In full and final satisfaction, settlement, release,
and discharge of each Allowed DIP Claim, on the Effective Date, each holder of such Allowed
DIP Claim shall receive either (a) payment in full in Cash or (b) such other treatment as to which
the Debtors or the Post-Effective Date Debtors, as applicable, and the holder of such Allowed
DIP Claims will have agreed upon in writing. On the Effective Date, all Liens granted to secure
the Allowed DIP Claims shall be terminated and of no further force and effect.

               2.4     Payment of Fees and Expenses Under DIP Order.

               On the later of (a) the Effective Date and (b) the date on which such fees,
expenses, or disbursements would be required to be paid under the terms of the DIP Order, the
Debtors or the Post-Effective Date Debtors (as applicable) shall pay all fees, expenses, and
disbursements of the DIP Agent, DIP Lenders, and Prepetition FLTL Agents, in each case that
have accrued and are unpaid as of the Effective Date and are required to be paid under or
pursuant to the DIP Order. After the Effective Date, the Post-Effective Date Debtors shall
continue to reimburse the DIP Agent and the DIP Lenders for the reasonable fees and expenses
(including reasonable and documented legal fees and expenses) incurred by the DIP Agent and
the DIP Lenders after the Effective Date in accordance with the terms of the DIP Documents.
The Post-Effective Date Debtors shall pay all of the amounts that may become payable to the
DIP Agent or any of the DIP Lenders in accordance with the terms of the DIP Documents and
the DIP Order.

               2.5     Treatment of Priority Tax Claims.

                On the Effective Date or as soon thereafter as is reasonably practicable (but in no
event later than 30 days after the Effective Date), each holder of an Allowed Priority Tax Claim
shall receive in full and final satisfaction of such Claim, either (a) Cash in an amount equal to the
Allowed amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (b) or such other treatment as to which the Debtors, the
Post-Effective Date Debtors or NewCo and its subsidiaries (including the Credit Bid Purchaser)


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as applicable, and the holder of such Allowed Priority Tax Claim will have agreed upon in
writing; provided, that Allowed Priority Tax Claims representing liabilities incurred in the
ordinary course of business by the Debtors, as Debtors in Possession, shall be paid by the
Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of
any orders or agreements governing, instruments evidencing, or other documents establishing,
such liabilities; provided, further, that any Allowed Priority Tax Claim assumed by the Credit
Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties.

               2.6     Restructuring Expenses.

               On the Effective Date, or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, as applicable, shall pay in full in Cash (to the extent not
previously paid during the course of the Chapter 11 Cases) all outstanding Restructuring
Expenses billed through the Effective Date, in accordance with the terms of the applicable
orders, engagement letters, or other applicable contractual arrangements. All parties entitled to
payment pursuant to this Section 2.6 shall estimate their accrued Restructuring Expenses before
and as of the Effective Date and shall deliver such estimates to the Debtors at least three
Business Days before the Effective Date; provided, that such estimate shall not be considered an
admission or limitation with respect to the fees and expenses of such parties. On the Effective
Date, final invoices for all Restructuring Expenses incurred before and as of the Effective Date
shall be submitted to the Debtors. In addition, the Debtors and the Post-Effective Date Debtors
(as applicable) shall continue to pay post-Effective Date, when due and payable in the ordinary
course, Restructuring Expenses related to implementation, consummation and defense of the
Plan.

               2.7     Postpetition Hedge Claims.

                On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day on which the Allowed Postpetition Hedge Claim becomes
due and owing in accordance with the terms of and subject to the conditions of any orders or
agreements governing, instruments evidencing, or other documents establishing, such liabilities,
each holder of an Allowed Postpetition Hedge Claim shall receive in full and final satisfaction of
such Claim, either (x) Cash in an amount equal to the Allowed amount of such Claim or such
other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code or
(y) such other treatment as to which the Debtors, the Post-Effective Date Debtors, or NewCo and
its subsidiaries (including the Credit Bid Purchaser), as applicable, and the holder of such
Allowed Postpetition Hedge Claim will have agreed upon in writing; provided, that any Allowed
Postpetition Hedge Claim assumed by the Credit Bid Purchaser in accordance with the foregoing
clause (y) pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties. Nothing herein
shall modify any of the contractual rights under a Postpetition Hedging Agreement of a holder of
an Allowed Postpetition Hedge Claim in their capacity as a holder of an Allowed Postpetition
Hedge Claim.


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ARTICLE III.           CLASSIFICATION OF CLAIMS AND INTERESTS.

               3.1     Classification in General.

                A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class
for the purpose of receiving distributions pursuant to the Plan only to the extent that such Claim
or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or Interest has
not been satisfied, released, or otherwise settled before the Effective Date.

               3.2     Formation of Debtor Groups for Convenience Only.

                The Plan groups the Debtors together solely for the purpose of describing
treatment under the Plan, confirmation of the Plan, and making Plan Distributions in respect of
Claims against and Interests in the Debtors under the Plan. Such groupings shall not affect any
Debtor’s status as a separate legal entity, change the organizational structure of the Debtors’
business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
of consolidation of any legal entities, or cause the transfer of any Assets; and, except as
otherwise provided by or permitted under the Plan, all Debtors shall continue to exist as separate
legal entities.

               3.3     Summary of Classification of Claims and Interests.

                 The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are: (a) Impaired and Unimpaired under the Plan;
(b) entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code; and (c) presumed to accept or deemed to reject the Plan. In accordance with section
1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
have not been classified. The classification of Claims and Interests set forth herein shall apply
separately to each Debtor.

   Class             Type of Claim or Interest          Impairment           Entitled to Vote
Class 1      Other Secured Claims                     Impaired          Yes
Class 2      Priority Non-Tax Claims                  Unimpaired        No (Presumed to accept)
Class 3      FLFO Claims                              Impaired          Yes
Class 4      FLTL Claims                              Impaired          Yes
Class 5      SLTL Claims                              Impaired          Yes
Class 6A     Unsecured Trade Claims                   Impaired          Yes
Class 6B     General Unsecured Claims                 Impaired          Yes
Class 7      Intercompany Claims                      Unimpaired        No (Presumed to accept)
Class 8      Subordinated Securities Claims           Impaired          No (Deemed to reject)
Class 9      Intercompany Interests                   Unimpaired        No (Presumed to accept)
Class 10     Existing Equity Interests                Impaired          No (Deemed to reject)




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               3.4     Special Provision Governing Unimpaired Claims.

              Except as otherwise provided in this Plan, nothing under this Plan shall affect the
rights of the Debtors or the Post-Effective Date Debtors, as applicable, in respect of any
Unimpaired Claims, including all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

               3.5     Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature within the Plan, each Other Secured Claim, to the extent secured by a Lien on
Collateral different from the Collateral securing a different Other Secured Claim, shall be treated
as being in a separate sub-Class for the purposes of voting to accept or reject the Plan and
receiving Plan Distributions.

               3.6     Elimination of Vacant Classes.

               Any Class that, as of the commencement of the Confirmation Hearing, does not
have at least one holder of a Claim or Interest that is Allowed in an amount greater than zero for
voting purposes that votes on the Plan shall be considered vacant, deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
such Class.

               3.7     Voting Classes; Presumed Acceptance by Non-Voting Classes.

               With respect to each Debtor, if a Class contained Claims eligible to vote and no
holder of Claims eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be
presumed accepted by the holders of such Claims in such Class.

               3.8     Voting; Presumptions; Solicitation.

                (a)    Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 1, 3, 4, 5, 6A, and 6B are entitled to vote to accept or reject the Plan. An
Impaired Class of Claims shall have accepted the Plan if (i) the holders of at least two-thirds
(2/3) in amount of the Allowed Claims actually voting in such Class have voted to accept the
Plan and (ii) the holders of more than one-half (1/2) in number of the Allowed Claims actually
voting in such Class have voted to accept the Plan.

                (b)     Presumed Acceptance by Unimpaired Classes. Holders of Claims and
Interests in Classes 2, 7 and 9 are conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to
accept or reject the Plan.

             (c)     Deemed Rejection by Certain Impaired Classes. Holders of Claims in
Class 8 and Class 10 are deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or reject the Plan.



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               3.9     Cramdown.

               If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does
not vote to accept the Plan, the Debtors may (a) seek confirmation of the Plan under section
1129(b) of the Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms
hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims or Interests,
or any class of Claims or Interests, are impaired, the Bankruptcy Court shall, after notice and a
hearing, determine such controversy on or before the Confirmation Date.

               3.10    No Waiver.

                Nothing contained in the Plan shall be construed to waive a Debtor’s or other
Person’s right to object on any basis to any Disputed Claim.



ARTICLE IV.            TREATMENT OF CLAIMS AND INTERESTS.

               4.1     Class 1: Other Secured Claims.

                 (a)    Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Other Secured Claim, at the option of the Debtors or the Post-Effective Date Debtors, such
holder shall receive either (i) payment in full in Cash, payable on the later of the Effective Date
and the date that is ten (10) Business Days after the date on which such Other Secured Claim
becomes an Allowed Other Secured Claim, in each case, or as soon as reasonably practicable
thereafter, (ii) such other treatment so as to render such holder’s Allowed Other Secured Claim
Unimpaired, or (iii) any other treatment consistent with the provisions of section 1129 of the
Bankruptcy Code, including by providing such holder with the “indubitable equivalent” of their
Allowed Other Secured Claim (which, for the avoidance of doubt, may be in the form of a multi-
year promissory note or other financial instrument); provided, that any Allowed Other Secured
Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall
be solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall
have no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets
and properties.

              (b)   Impairment and Voting: Allowed Other Secured Claims are Impaired.
Holders of Allowed Other Secured Claims are entitled to vote on the Plan.

               4.2     Class 2: Priority Non-Tax Claims.

               (a)    Treatment: Except to the extent that a holder of an Allowed Priority
Non-Tax Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Priority Non-Tax Claim, each holder of an Allowed Priority Non-Tax Claim shall, at the option
of the Debtors or the Post-Effective Date Debtors (i) be paid in full in Cash or (ii) otherwise
receive treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code,
payable on the later of the Effective Date and the date that is ten (10) Business Days after the
date on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, in


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each case, or as soon as reasonably practicable thereafter; provided, that any Allowed Priority
Non-Tax Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement shall be solely an obligation of the Credit Bid Purchaser and the holder of such
assumed Claim shall have no recourse to or Claim against the Debtors or Post-Effective Date
Debtors or their assets and properties.

               (b)     Impairment and Voting: Allowed Priority Non-Tax Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Priority Non-Tax Claims are conclusively presumed to accept the Plan and are not entitled to
vote to accept or reject the Plan, and the votes of such holders shall not be solicited with respect
to such Allowed Priority Non-Tax Claims.

               4.3      Class 3: FLFO Claims.

                (a)     Treatment: Except to the extent that a holder of an Allowed FLFO Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of such
Allowed FLFO Claim, (a) each holder of an Allowed FLFO Claim shall receive its Pro Rata
Share of the FLFO Distribution Amount and (b) all remaining Allowed FLFO Claims shall be
assumed by the NewCo Entities as modified to the extent set forth in the First Lien Exit Facility
Documents. The Liens securing the FLFO Claims that attach to the Credit Bid Acquired
Interests shall be retained and deemed assigned to the First Lien Exit Facility Agent upon the
Effective Date to secure the obligations under the First Lien Exit Facility.

            (b)   Impairment and Voting: FLFO Claims are Impaired.                      Holders of
Allowed FLFO Claims are entitled to vote on the Plan.

              (c)    Allowance: The FLFO Claims shall be deemed Allowed on the Effective
Date in the FLFO Claims Allowed Amount.

               4.4      Class 4: FLTL Claims.

                (a)   Treatment: Except to the extent that a holder of an Allowed FLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed FLTL Claim and in consideration for the Credit Bid Transaction,
each holder of an Allowed FLTL Claim shall receive its Pro Rata Share of:

                     (i)      100% of the New Equity Interests, subject to dilution by (w) the
                              Backstop Commitment Equity Premium Interests, (x) the New
                              Equity Interests issued upon exercise of the Subscription Rights,
                              (y) any New Equity Interests issued upon the exercise of the New
                              Money Warrants, SLTL Warrants, or the GUC Warrants, and (z)
                              any New Equity Interests issued pursuant to the Management
                              Incentive Plan; and

                     (ii)     the FLTL Subscription Rights.

            (b)    Impairment and Voting: FLTL Claims are Impaired.                     Holders of
Allowed FLTL Claims are entitled to vote on the Plan.


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               (c)     Allowance: The FLTL Claims shall be deemed Allowed on the Effective
Date in the aggregate amount of the FLTL Claims Allowed Amount.

               4.5       Class 5: SLTL Claims.

                (d)    Treatment: Except to the extent that a holder of an Allowed SLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed SLTL Claim, each holder of an Allowed SLTL Claim shall receive
its Pro Rata Share of:

                     (iii)     the SLTL Warrants; and

                     (iv)      the SLTL Subscription Rights.

            (e)    Impairment and Voting: SLTL Claims are Impaired.                    Holders of
Allowed SLTL Claims are entitled to vote on the Plan.

               (f)     Allowance: The SLTL Claims shall be deemed Allowed on the Effective
Date in the aggregate amount of the SLTL Claims Allowed Amount.

               4.6       Class 6A: Unsecured Trade Claims.

               (a)    Treatment: Except to the extent that a holder of an Allowed Unsecured
 Trade Claim agrees to less favorable treatment, on the Effective Date, in full and final
 satisfaction of and in exchange for such Allowed Unsecured Trade Claim, each holder of an
 Allowed Unsecured Trade Claim that has executed a Trade Agreement shall receive:

                      (i)      if 14% of the aggregate amount of all Allowed Unsecured Trade
                               Claims is less than or equal to $8,000,000, Cash in an amount
                               equal to 14% of the Allowed amount of such holder’s Allowed
                               Unsecured Trade Claim; or

                     (ii)      if 14% of the aggregate amount of Allowed Unsecured Trade
                               Claims is greater than $8,000,000, its Pro Rata share of
                               $8,000,000.

             (b)    Impairment and Voting: Unsecured Trade Claims are Impaired. Holders
 of Unsecured Trade Claims are entitled to vote on the Plan.

               4.7       Class 6B: General Unsecured Claims.

               (c)     Treatment: Except to the extent that a holder of an Allowed General
 Unsecured Claim agrees to less favorable treatment, on or after the Effective Date, in full and
 final satisfaction of and in exchange for such Allowed General Unsecured Claim, each holder
 of an Allowed General Unsecured Claim shall receive, up to the full amount of such holder’s
 Allowed General Unsecured Claim, its Pro Rata Share of:

                      (i)      the GUC Warrants; and


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                      (ii)      any Residual Distributable Value.

              (b) Impairment and Voting: General Unsecured Claims are Impaired.
Holders of General Unsecured Claims are entitled to vote on the Plan.

               4.8       Class 7: Intercompany Claims.

                (a)    Treatment: On or after the Effective Date, all Intercompany Claims shall
be adjusted, reinstated, or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

               (b)      Impairment and Voting: All Allowed Intercompany Claims are deemed
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Intercompany Claims are conclusively presumed to accept the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to such
Allowed Intercompany Claims.

               4.9       Class 8: Subordinated Securities Claims.

               (a)      Treatment: All Subordinated Securities Claims, if any, shall be
discharged, cancelled, released, and extinguished as of the Effective Date, and will be of no
further force or effect, and holders of Allowed Subordinated Securities Claims will not receive
any distribution on account of such Allowed Subordinated Securities Claims.

               (b)    Impairment and Voting: Allowed Subordinated Securities Claims are
Impaired. In accordance with section 1126(g) of the Bankruptcy Code, holders of Subordinated
Securities Claims are conclusively presumed to reject the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to
Subordinated Securities Claims.

               4.10      Class 9: Intercompany Interests.

               (a)    Treatment: On the Effective Date, all Intercompany Interests, in the
Debtors’ or the Post-Effective Date Debtors’ discretion, shall be adjusted, reinstated, cancelled,
or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

                (b)    Impairment and Voting: Intercompany Interests are Unimpaired. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed Intercompany
Interests are conclusively presumed to accept the Plan and are not entitled to vote to accept or
reject the Plan, and the votes of such holders shall not be solicited with respect to such Allowed
Intercompany Interests.

               4.11      Class 10: Existing Equity Interests.

               (a)     Treatment: On the Effective Date, all Existing Equity Interests shall be
canceled, released, and extinguished, and will be of no further force or effect.

             (b)     Impairment and Voting:            Allowed Existing Equity Interests are
Impaired. Holders of Existing Equity Interests are not entitled to vote on the Plan.


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                 4.12   Treatment of Vacant Classes.

                Any Claim or Interest in a Class that is considered vacant under Section 3.6 of the
Plan shall receive no Plan Distribution.



ARTICLE V.              MEANS FOR IMPLEMENTATION.

                 5.1    Plan Settlement; Compromise and Settlement of Claims, Interests, and
Controversies.

                Subject to approval by the Bankruptcy Court in connection with confirmation of
the Plan, the provisions of the Plan and other documents entered into in connection with the Plan
constitute a good faith compromise and settlement among the Debtors, the Consenting Creditors
and the Creditors’ Committee of claims, Causes of Action and controversies among such parties,
including all potential claims, Causes of Action and controversies related to the Challenge Period
(as defined in the DIP Order) and any Challenge under the DIP Order, and are in consideration of
the value provided to the Estates by the Consenting Creditors, including the value being provided
to holders of Unsecured Trade Claims and General Unsecured Claims pursuant to Sections 4.6
and 4.7 hereof. The Plan shall be deemed a motion to approve the Plan Settlement and the good
faith compromise and settlement of all of the claims, Causes of Action and controversies
described in the foregoing sentence pursuant to sections 363 and 1123(b)(3) of the Bankruptcy
Code and Bankruptcy Rule 9019. Entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the Plan Settlement, as well as a finding by the Bankruptcy
Court that the Plan Settlement is fair, equitable, reasonable, and in the best interests of the
Debtors and their Estates. For the avoidance of doubt, nothing in this Plan or the Disclosure
Statement shall require the Creditors’ Committee to take or refrain from taking any action that it
determines in good faith would be inconsistent with its fiduciary duties under applicable law.
Notwithstanding the foregoing, the Creditors’ Committee acknowledges that its entry into the
Plan Settlement and its support for this Plan is consistent with its fiduciary duties.

                Further, pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and
Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided
pursuant to the Plan, the provisions of the Plan shall constitute a good faith compromise of
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights
that a creditor or an Interest holder may have with respect to any Allowed Claim or Allowed
Interest or any distribution to be made on account of such Allowed Claim or Allowed Interest.
Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
compromise or settlement of all such Allowed Claims, Allowed Interests, and controversies, as
well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
interests of the Debtors, their Estates, and holders of such Allowed Claims and Allowed
Interests, and is fair, equitable, and reasonable.

                 5.2    Credit Bid Transaction; Confirmation Outside Date.

              (a)     If the Confirmation Date occurs on or before the Confirmation Outside
Date or the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders do not otherwise

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elect to pursue a 363 Credit Bid Transaction pursuant to Section 5.2(c) of the Plan, then, on the
Effective Date, pursuant to sections 363, 1123, 1141(b) and 1141(c) of the Bankruptcy Code, in
accordance with the Credit Bid Purchase Agreement, subject to the satisfaction or waiver of all
applicable closing conditions under the Credit Bid Purchase Agreement, (i) all Credit Bid
Acquired Interests shall be transferred to, and the Credit Bid Acquired Interests owned by the
Debtors shall vest free and clear of all Liens2 (other than (i) any and all Liens securing the FLFO
Claim or the obligations under the First Lien Exit Facility or (ii) Credit Bid Permitted
Encumbrances except in the case of Fieldwood U.A. Interests, which shall vest free and clear of
all Liens other than Liens described in clause (i) above to the extent contemplated by the First
Lien Exit Facility Documents), Claims, charges, Interests, or other encumbrances, including the
Credit Bid Consent Rights and the Credit Bid Preferential Purchase Rights, and (ii) all Credit Bid
Assumed Liabilities shall be assumed by the Credit Bid Purchaser.

                 (b)    In the event that the transaction pursuant to Section 5.2(a) of the Plan is
consummated and in the event of any conflict whatsoever between the terms of the Plan and the
Credit Bid Purchase Agreement with respect to the Credit Bid Transaction, the terms of the
Credit Bid Purchase Agreement shall control, and the Plan shall be deemed to incorporate in
their entirety the terms, provisions, and conditions of the Credit Bid Purchase Agreement.

              (c)      (x) If the Confirmation Date does not occur before the Confirmation
Outside Date or (y) if the estimated amount of Allowed Specified Administrative Expense
Claims to be satisfied under the Plan on or after the Effective Date is projected at any time prior
to the Confirmation Date to exceed the Toggle Amount (the next Business Day after the
occurrence of (x) or (y), the (“Toggle Date”), then, with the consent of the Required DIP
Lenders and Requisite FLTL Lenders, the Debtors shall:

                       (i)         within 7 days of the Toggle Date, file a motion (the “Toggle
                                   Motion”), in form and substance acceptable to the Debtors, the
                                   Required DIP Lenders and Requisite FLTL Lenders, seeking entry
                                   of an order of the Bankruptcy Court approving a credit bid sale
                                   transaction to the Credit Bid Purchaser (or another special purpose
                                   bidding entity formed by or at the direction of the Prepetition
                                   FLTL Lenders) pursuant to section 363 of the Bankruptcy Code on
                                   substantially the same terms as provided in the Credit Bid Purchase
                                   Agreement (which terms shall be acceptable to the Debtors, the
                                   Requisite FLTL Lenders, and Required DIP Lenders), free and
                                   clear of all Liens (other than (i) any and all Liens securing the
                                   FLFO Claim or the First Lien Exit Facility or (ii) Credit Bid
                                   Permitted Encumbrances except in the case of Fieldwood U.A.
                                   Interests, which shall vest free and clear of all Liens other than
                                   Liens described in clause (i) above to the extent contemplated by
                                   the First Lien Exit Facility Documents), Claims, charges, Interests,
                                   or other encumbrances, the Credit Bid Consent Rights and the


2
 Provided that the Retained Properties (as defined in the Apache Implementation Agreement) shall be transferred in
accordance with the Decommissioning Agreement.


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                               Credit Bid Preferential Purchase Rights that are applicable to the
                               Credit Bid Acquired Interests;

                    (ii)       within 15 days of the Toggle Date and subject to the reasonable
                               consent of Apache, the Requisite FLTL Lenders, the Required DIP
                               Lenders and the Debtors, amend the Apache Definitive Documents
                               as reasonably required to effectuate the 363 Credit Bid Transaction
                               to the Credit Bid Purchaser (or another special purpose bidding
                               entity formed by or at the direction of the Prepetition FLTL
                               Lenders); provided that no such actions shall require the Apache
                               PSA Parties to alter the economics of the Apache Definitive
                               Documents without the Apache PSA Parties’ express written
                               consent; and

                   (iii)       within 35 days of the Toggle Date, obtain entry of an order of the
                               Bankruptcy Court approving the 363 Credit Bid Transaction to the
                               Credit Bid Purchaser (or another special purpose bidding entity
                               formed by or at the direction of the Prepetition FLTL Lenders).

                (d)      Notwithstanding anything herein to the contrary, upon the occurrence of
the Toggle Date, if the transactions under the Toggle Motion (i) (a) individually or in the
aggregate, results in a reduction of 10% or more of the total PV-10 of total 2P reserves
comprising the assets acquired by the Credit Bid Purchaser (which shall be calculated by
reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)), (b) results in any contract
rights constituting material assets not being acquired by the Credit Bid Purchaser, (c)
individually or in the aggregate, results in an increase by $40.0 million or more (which, for the
avoidance of doubt, in the case of plugging and abandonment liabilities, shall be calculated on a
present value basis) in liabilities assumed by the Credit Bid Purchaser, (d) relates to any change
in treatment or recovery of the Prepetition FLFO Credit Agreement or First Lien Exit Facility, or
(e) provide for any differences from the transaction under this Plan that are materially adverse to
the interests of the First Lien Exit Facility Agent and the First Lien Exit Facility Lenders, and (ii)
are not (a) reasonably acceptable to the Prepetition FLFO Agent with respect to the foregoing
clause (i)(b) or (e), or (ii) acceptable to the Prepetition FLFO Agent with respect to the foregoing
clause (i)(a),(c), or (d), then all rights of the Prepetition FLFO Secured Parties set forth in the
Prepetition FLFO Credit Agreement and related documents to object to the Toggle Motion on
any grounds are expressly preserved, and all of the Prepetition FLFO Secured Parties’ claims,
rights, and remedies are reserved for all purposes, including the right to obtain treatment and
transaction structure different than as set forth in the Toggle Motion.

              (e)     Notwithstanding anything in the Credit Bid Purchase Agreement or any
agreement entered into pursuant to Section 5.2(c) of the Plan to the contrary, the Credit Bid
Purchaser shall not be liable for any liability or obligation on account of any Claim or Interest
that is compromised, settled, released or discharged pursuant to this Plan.




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               5.3    Equity Rights Offerings.

               (a)    On the Effective Date, the Debtors shall consummate the Equity Rights
Offerings.

                (b)    [FLTL Equity Rights Offering. The FLTL Equity Rights Offering shall be
fully backstopped by the FLTL ERO Backstop Parties in accordance with and subject to the
terms and conditions of the FLTL ERO Backstop Agreement. The right to participate in the
FLTL Equity Rights Offering may not be sold, transferred, or assigned, except in the
circumstances described in the FLTL ERO Backstop Agreement. In accordance with the FLTL
ERO Backstop Agreement and subject to the terms and conditions thereof, each of the FLTL
ERO Backstop Parties, among other things, has agreed, severally but not jointly, to purchase, on
or prior to the Effective Date, its respective [FLTL ERO Backstop Commitment Percentage] of
the [FLTL Unsubscribed Shares]. In exchange for providing the backstop commitment for the
Equity Rights Offering, the FLTL ERO Backstop Parties shall receive, among other things, the
FLTL ERO Backstop Commitment Premium Equity Interests payable in accordance with the
terms of the FLTL ERO Backstop Agreement.]

                (c)    [SLTL Equity Rights Offering. The SLTL Equity Rights Offering shall be
fully backstopped by the SLTL ERO Backstop Parties in accordance with and subject to the
terms and conditions of the SLTL ERO Backstop Agreement. The right to participate in the
SLTL Equity Rights Offering may not be sold, transferred, or assigned, except in the
circumstances described in the SLTL ERO Backstop Agreement. In accordance with the SLTL
ERO Backstop Agreement and subject to the terms and conditions thereof, each of the SLTL
ERO Backstop Parties, among other things, has agreed, severally but not jointly, to purchase, on
or prior to the Effective Date, its respective [SLTL ERO Backstop Commitment Percentage] of
the [SLTL Unsubscribed Shares]. In exchange for providing the backstop commitment for the
SLTL Equity Rights Offering, the SLTL ERO Backstop Parties shall receive, among other
things, the SLTL ERO Backstop Commitment Premium Equity Interests payable in accordance
with the terms of the SLTL ERO Backstop Agreement.]

               5.4    New Equity Interests.

                (a)    On the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, issue the New Equity Interests for eventual distribution in accordance with the terms of
this Plan without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule, or the vote, consent, authorization, or approval of any
Person. The New Equity Interests shall be issued and distributed free and clear of all Liens,
Claims, and other Interests. All of the New Equity Interests issued pursuant to the Plan shall be
duly authorized and validly issued.

                (b)     On the Effective Date, NewCo and all holders of the New Equity Interests
then outstanding shall be deemed to be parties to the NewCo Organizational Documents, where
applicable, substantially in the form, or consistent with the term sheets, contained in the Plan
Supplement, without the need for execution by any such holder. The NewCo Organizational
Documents shall be binding on NewCo and its subsidiaries (including the Credit Bid Purchaser)
and all parties receiving, and all holders of, New Equity Interests.


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               5.5     NewCo Organizational Documents

              The NewCo Organizational Documents will be in form and substance acceptable
to the Debtors, Requisite FLTL Lenders, and the Required DIP Lenders. After the Effective
Date, the NewCo Organizational Documents may be amended or restated as permitted by such
documents and the laws of their respective states, provinces, or countries of incorporation or
organization.

               5.6     New Money Warrants, SLTL Warrants and GUC Warrants

                On or after the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, as provided for in this Plan, issue (i) the New Money Warrants for distribution to the
New Money Second Lien Exit Facility Lenders, the SLTL Warrants to the holders of Allowed
SLTL Claims, and the GUC Warrants to the holders of Allowed General Unsecured Claims, in
each case in accordance with the terms of the Plan and Confirmation Order without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule, or the vote, consent, authorization, or approval of any Person and (ii) upon exercise of
the New Money Warrants, New Equity Interests issuable upon exercise of the New Money
Warrants. The New Money Warrants, the SLTL Warrants, and GUC Warrants shall be issued
and distributed free and clear of all Liens, Claims, and other Interests. All of the New Money
Warrants, the SLTL Warrants, and GUC Warrants issued pursuant to the Plan, including as
contemplated by the Credit Bid Transaction and the Second Lien Exit Facility Term Sheet, and
all New Equity Interests issued upon exercise of the New Money Warrants, the SLTL Warrants,
and the GUC Warrants shall be duly authorized and validly issued.

               5.7     Plan of Merger

                (a)     On the Effective Date, but after the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement, Fieldwood Energy LLC shall adopt the
Plan of Merger and, in accordance with the terms thereof and solely to the extent therein, upon
the effective time of the Divisional Merger as provided for in the Plan of Merger, the (i) FWE
Assets will be allocated to and vest in FWE I, FWE III, and any FWE Additional Entity pursuant
to the terms of the applicable Plan of Merger, in each case, free and clear of all Plan of Merger
Consent Rights and Plan of Merger Preferential Purchase Rights; and (ii) (x) the FWE I
Obligations shall be allocated to and shall vest in, and shall constitute liabilities and obligations
of, FWE I, (y) the FWE III Obligations shall be allocated to and shall vest in, and shall constitute
liabilities and obligations of, FWE III (except as provided in any Plan of Merger other than the
Initial Plan of Merger), and (z) any obligations allocated to an FWE Additional Entity pursuant
to the Plan of Merger shall be allocated to and shall vest in, and shall constitute liabilities and
obligations of, such applicable FWE Additional Entity. Immediately after the effective time of
the Divisive Merger as provided in the Initial Plan of Merger, the only assets, properties and
rights of, and the only liabilities and obligations of, (i) FWE I will be the FWE I Assets and FWE
I Obligations, and (ii) FWE III will be the FWE III Assets and FWE III Obligations, and (iii) any
FWE Additional Entity will be those assets and obligations allocated to such entity pursuant to
the Plan of Merger. Immediately after the effective time of any Divisive Merger as provided in a
Plan of Merger other than the Initial Plan of Merger, the only assets, properties and rights of, and
the only liabilities and obligations of, FWE III (if a party to such Plan of Merger) and any FWE


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Additional Entity will be those assets and obligations allocated to such entity pursuant to such
Plan of Merger.

            (b)     All of the membership interests (or other equity interests, as applicable) of
FWE I, FWE III, and any FWE Additional Entity shall be owned by Post-Effective Date FWE
Parent.

                (c)     Notwithstanding anything to the contrary in the Plan of Merger, any claim
or interest that is satisfied, compromised, settled, released or discharged pursuant to the Plan
shall not constitute an FWE I Obligation, FWE III Obligation, or an obligation of any FWE
Additional Entity, as applicable.

               5.8      Single Share

               (a)    On the Effective Date, one share of Post-Effective Date FWE Parent
common stock (the “Single Share”) shall be issued to the Plan Administrator to hold in trust as
custodian for the benefit of the holders of Allowed General Unsecured Claims and the Single
Share shall be recorded on the books and records maintained by the Plan Administrator.

               (b)     On the date that FWE Parent’s Chapter 11 Case is closed in accordance
with Section 5.25 of this Plan, the Single Share issued on the Effective Date pursuant to the Plan
shall be deemed cancelled and of no further force and effect, provided that such cancellation
does not adversely impact the Debtors’ Estates.

               5.9      Plan Administrator

              (a)     Appointment. The Plan Administrator’s retention shall commence on the
Effective Date and shall continue until: (i) the Bankruptcy Court has entered an order or orders
closing each of the Chapter 11 Cases; (ii) the Bankruptcy Court enters an order removing the
Plan Administrator for cause; or (iii) the Plan Administrator voluntarily resigns, upon notice filed
with the Bankruptcy Court, and a successor Plan Administrator is appointed in accordance with
this Plan.

                (b)     Authority. Subject to Section 5.9(c) of this Plan, the Plan Administrator
shall have all the rights, powers, authority, and duties on behalf of each of the Debtors and Post-
Effective Date Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to carry out and implement all provisions of the Plan, including, without limitation,
to:

                     (i)      subject to Section 7 of the Plan, except to the extent Claims have
                              been previously Allowed, control and effectuate the Claims
                              reconciliation process in accordance with the terms of this Plan,
                              including to object to, seek to subordinate, compromise or settle
                              any and all Claims against the Debtors;

                     (ii)     make Distributions to holders of Allowed Claims and Interests in
                              accordance with this Plan, including distributions from the Claims



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                    Reserve, Professional Fee Escrow and Plan Administrator Expense
                    Reserve;

           (iii)    exercise its reasonable business judgment to direct and control the
                    Debtors or Post-Effective Date Debtors under this Plan and in
                    accordance with applicable law as necessary to maximize
                    Distributions to holders of Allowed Claims;

           (iv)     prepare, file, and prosecute any necessary filings or pleadings with
                    the Bankruptcy Court to carry out the duties of the Plan
                    Administrator as described herein;

            (v)     engage in the ownership, operation, plugging and abandonment,
                    and decommissioning of the (y) FWE III Assets, including the
                    FWE III Oil & Gas Lease Interests and (z) except as otherwise
                    agreed pursuant to an Additional Predecessor Agreement, any
                    assets of any FWE Additional Entity, including the FWE IV Oil &
                    Gas Lease Interests and any FWE Additional Entity Oil & Gas
                    Lease Interests;

           (vi)     abandon any property determined by the Plan Administrator to be
                    of de minimis value or burdensome to the Estates;

           (vii)    other than any Causes of Action released by the Debtors pursuant
                    to this Plan or otherwise, prosecute all Causes of Action on behalf
                    of the Debtors, elect not to pursue any Causes of Action, and
                    determine whether and when to compromise, settle, abandon,
                    dismiss, or otherwise dispose of any such Causes of Action, as the
                    Plan Administrator may determine is in the best interests of the
                    Debtors and their Estates;

          (viii)    retain, employ, terminate, or replace professionals to assist or
                    represent it in performing its duties under this Plan;

           (ix)     pay all fees, expenses, debts, charges, and liabilities of the Post-
                    Effective Date Debtors, including any Restructuring Expenses,
                    from the Plan Administrator Expense Reserve or otherwise;

            (x)     comply with, and cause the Debtors and Post-Effective Date
                    Debtors to comply with, the Debtors’ or Post-Effective Date
                    Debtors’ continuing obligations under the Credit Bid Purchase
                    Agreement;

           (xi)     maintain the books and records and accounts of the Debtors and
                    Post-Effective Date Debtors;

           (xii)    establish and maintain bank accounts in the name of the Post-
                    Effective Date Debtors;


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                (xiii)         incur and pay reasonable and necessary expenses in connection
                               with the performance of duties under this Plan, including the
                               reasonable fees and expenses of professionals retained by the Plan
                               Administrator;

                 (xiv)         following the Effective Date, pay any fees and expenses in Cash in
                               accordance with Section 2.4 of this Plan;

                    (xv)       administer each Debtor’s and Post-Effective Date Debtors’ tax
                               obligations, including (i) filing tax returns and paying tax
                               obligations and (ii) representing the interest and account of each
                               Debtor, each Debtor’s estate, or each Post-Effective Date Debtor
                               before any taxing authority in all matters including, without
                               limitation, any action, suit, proceeding or audit;

                 (xvi)         prepare and file any and all informational returns, reports,
                               statements, returns or disclosures relating to the Debtors or Post-
                               Effective Date Debtor that are required hereunder, by any
                               Governmental Unit or applicable law;

                (xvii)         pay statutory fees in accordance with Section 12.1 of this Plan;

               (xviii)         perform other duties and functions that are consistent with the
                               implementation of the Plan or as the Plan Administrator reasonably
                               deems to be necessary and proper to carry out the provisions of this
                               Plan; and

                 (xix)         close the Chapter 11 Cases pursuant to Section 5.25 of this Plan.

              (c)       Board of Directors and Officers.

                     (i)       The officers and directors of the Debtors existing before the
                               Effective Date shall be relieved of any and all duties with the
                               respect to the Debtors as of the Effective Date.

                     (ii)      Upon the Effective Date, the Plan Administrator shall serve as the
                               sole officer, director, or manager of each Post-Effective Date
                               Debtor. The Plan Administrator may also elect such additional
                               managers(s) and officer(s) of each Post-Effective Date Debtor as
                               the Plan Administrator deems necessary to implement this Plan
                               and the actions contemplated herein. The Plan Administrator shall
                               also have the power to act by written consent to remove any officer
                               or manager of any Post-Effective Date Debtor at any time with or
                               without cause.

               (d)  Post-Effective Date Operations. After the Effective Date, pursuant to this
Plan, the Plan Administrator shall operate the Post-Effective Date Debtors without any further



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approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

                (e)   Post-Effective Date Expenses. On and after the Effective Date, all costs,
expenses and obligations incurred by the Plan Administrator in administering this Plan, the Post-
Effective Date Debtors, or in any manner connected, incidental, or related thereto, in effecting
distributions from the Post-Effective Date Debtors thereunder (including the reimbursement of
reasonable expenses) shall be incurred and paid from the Plan Administrator Expense Reserve.

               (f)    Indemnification. Each of the Estates and the Post-Effective Date Debtors
shall indemnify and hold harmless the Plan Administrator solely in its capacity as such for any
losses incurred in such capacity, except to the extent such losses were the result of the Plan
Administrator’s gross negligence or willful misconduct.

                 (g)     Cooperation. The Debtors, the Post-Effective Date Debtors, the Plan
Administrator, the FWE I Sole Manager, and NewCo and its subsidiaries (including the Credit
Bid Purchaser) and their respective professionals, as appropriate, shall cooperate with each other
in relation to their respective activities and obligations in respect of this Plan, including objecting
to, settling or otherwise reconciling claims as provided herein, and by providing reasonable,
good-faith access to personnel, systems, and books and records and their respective personnel
and consulting with each other to avoid duplication of effort; provided, however, that the
Debtors, the Post-Effective Date Debtors, the Plan Administrator, the FWE I Sole Manager, and
NewCo and its subsidiaries (including the Credit Bid Purchaser) and including its advisors, if
any) shall enter into a confidentiality agreement before sharing of any such documents and/or
information to the extent deemed reasonably necessary by the Post-Effective Date Debtors, the
Credit Bid Purchaser, or Plan Administrator, as applicable.

               5.10    Plan Funding.

               Plan Distributions of Cash shall be funded from, among other things, the Debtors’
Cash on hand (including the proceeds of the DIP Facility), the New Money Consideration, and
the proceeds of the Equity Rights Offerings.

               5.11    The Exit Facilities

                (a)    On the Effective Date, the Credit Bid Purchaser shall execute and deliver
the Exit Facility Documents and such documents shall become effective in accordance with their
terms. On and after the Effective Date, the Exit Facility Documents shall constitute legal, valid,
and binding obligations of the Credit Bid Purchaser and be enforceable in accordance with their
respective terms and such obligations shall not be enjoined or subject to discharge, impairment,
release, avoidance, recharacterization, or subordination under applicable law, the Plan or the
Confirmation Order, and the Credit Bid Purchaser shall be authorized to incur the loans under the
Exit Facilities and use the proceeds of such loans, in each case, in accordance with the terms of
this Plan and the Exit Facility Documents without further notice to or order of the Bankruptcy
Court, act or action under applicable law, regulation, order, or rule, or the vote, consent,
authorization, or approval of any Person. The terms and conditions of the Exit Facility



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Documents shall bind the Credit Bid Purchaser and each other Entity that enters into the Exit
Facility Documents.

                (b)    Confirmation shall be deemed approval of the Exit Facility Documents
(including the transactions and related agreements contemplated thereby, and all actions to be
taken, undertakings to be made, and obligations to be incurred and fees and expenses to be paid
by the Debtors or Post-Effective Date Debtors, as applicable, in connection therewith), the First
Lien Exit Facility Commitment Letter (including the transactions contemplated thereby, and all
actions to be taken, undertakings to be made, and obligations and guarantees to be incurred and
fees paid in connection therewith (including any payments under the First Lien Exit Facility
Commitment Letter)), and the Second Lien Backstop Commitment Letter (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations and guarantees to be incurred and fees paid in connection therewith (including the
Second Lien Backstop Commitment Premium and any other payments under the Backstop
Agreement)), and, to the extent not approved by the Bankruptcy Court previously, the Credit Bid
Purchaser will be authorized to, without further notice to the Bankruptcy Court, (i) execute and
deliver those documents necessary or appropriate to obtain the Exit Facilities, including the Exit
Facility Documents, each as applicable, and incur and pay any fees and expenses in connection
therewith, and (ii) make any act or take any action under applicable law, regulation, order or rule
or vote, consent, authorization, or approval of any Person, subject to such modifications as the
Credit Bid Purchaser may deem to be necessary to enter into the Exit Facility Documents.

               (c)     On the Effective Date, all of the claims, liens, and security interests to be
granted in accordance with the terms of the Exit Facility Documents (i) shall be legal, binding,
and enforceable liens on, and security interests in, the collateral granted thereunder in accordance
with the terms of the Exit Facility Documents, (ii) shall be deemed automatically attached and
perfected on the Effective Date, subject only to such liens and security interests as may be
permitted under the Exit Facility Documents with the priorities established in respect thereof
under applicable non-bankruptcy law and the New Intercreditor Agreement, and (iii) shall not be
subject to avoidance, recharacterization, or subordination (including equitable subordination) for
any purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances,
or other voidable transfers under the Bankruptcy Code, this Plan, the Confirmation Order or
applicable non-bankruptcy law. To the extent provided in the Exit Facility Documents, the Exit
Facility Agents are authorized, but not required, to file with the appropriate authorities
mortgages, financing statements and other documents, and to take any other action in order to
evidence, validate, and perfect such liens or security interests.

              (d)    On the Effective Date, the Credit Bid Purchaser, the First Lien Exit
Facility Agent and the Second Lien Exit Facility Agent shall enter into the New Intercreditor
Agreement substantially in the form contained in the Plan Supplement.

               5.12    Apache Definitive Documents.

               (a)     On the Effective Date following the consummation of the Plan of Merger
and the Effective Time (as defined in the Initial Plan of Merger), FWE I shall be authorized to
execute, deliver, and enter into the Apache Definitive Documents, including the Standby Credit
Facility Documents, without further (i) notice to or order or other approval of the Bankruptcy


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Court, (ii) act or omission under applicable law, regulation, order, or rule, (iii) vote, consent,
authorization, or approval of any Person, or (iv) action by the holders of Claims or Interests. The
Standby Loan Agreement shall constitute a legal, valid, binding and authorized obligation of
FWE I, enforceable in accordance with its terms and such obligations shall not be enjoined or
subject to discharge, impairment, release, avoidance, recharacterization, or subordination under
applicable law, the Plan or the Confirmation Order. The financial accommodations to be
extended pursuant to the Standby Loan Agreement (and other definitive documentation related
thereto) are reasonable and are being extended, and shall be deemed to have been extended, in
good faith and for legitimate business purposes.

               (b)       FWE I Sole Manager

                      (i)      Upon the Effective Date, the FWE I Sole Manager shall be
                               appointed. Upon the Effective Date, the new governance structure
                               of FWE I will be set forth in the FWE I LLC Agreement.

                      (ii)     On and after the Effective Date, the FWE I Sole Manager and Plan
                               Administrator shall mutually cooperate to establish any procedures
                               and protocols as they deem necessary to carry out their respective
                               duties; provided, however, that any such procedures and protocols
                               shall be consistent with the terms of this Plan and the Sole
                               Manager Agreement (as defined in the Apache Implementation
                               Agreement).

                     (iii)     FWE I shall indemnify and hold harmless the FWE I Sole Manager
                               solely in its capacity as such for any losses incurred in such
                               capacity, except to the extent such losses were the result of the
                               FWE I Sole Manager’s gross negligence or willful misconduct.

               5.13      Abandonment of Certain Properties

                Immediately upon the occurrence of the Effective Date, the Debtors’ rights to and
interests in executory contracts and unexpired federal leases, rights-of-way, and right-of-use-and-
easements listed on the Schedule of Abandoned Properties are abandoned pursuant to the Plan
without further notice to or order of the Bankruptcy Court pursuant to Sections 105(a) and 554(a)
of the Bankruptcy Code and/or deemed rejected pursuant to Section 365 of the Bankruptcy Code,
as applicable. The Abandoned Properties shall not be allocated to nor vest in the Post-Effective
Date Debtors or NewCo and its subsidiaries, including the Credit Bid Purchaser. Except as
otherwise provided in this Plan or the Confirmation Order, the Debtors, their Estates, and the
Post-Effective Date Debtors shall not be liable for any obligations whatsoever arising from or
relating to the post-Effective Date period with regards to the Abandoned Properties. Nothing in
this Plan or the Confirmation Order shall be construed as barring, waiving, or limiting the United
States’ rights to assert a claim against the Debtors, the Post-Effective Date Debtors or any co-
lessees or predecessors in interest with respect to the Abandoned Properties for any
decommissioning obligations for the Abandoned Properties.




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                5.14   Establishment of Claims Reserve.

               On the Effective Date, the Debtors shall, with the consent of the Requisite FLTL
Lenders and the DIP Lenders, establish and fund the Claims Reserve by depositing Cash, in the
amount of the Claims Reserve Amount into the Claims Reserve. The Claims Reserve shall be
used to pay Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed
Priority Non-Tax Claims, Allowed Other Secured Claims (to the extent such Claims do not
receive other treatment), Allowed Unsecured Trade Claims, and Cure Amounts in accordance
with the terms of this Plan. Any amounts remaining in the Claims Reserve after satisfaction of
all Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Priority
Non-Tax Claims, Allowed Other Secured Claims, Allowed Unsecured Trade Claims, and Cure
Amounts shall constitute Residual Distributable Value.

                5.15   Plan Administrator Expense Reserve.

                On or before the Effective Date, the Plan Administrator shall establish the Plan
Administrator Expense Reserve. On the Effective Date, the Plan Administrator shall deposit
Cash in the Plan Administrator Expense Reserve Amount into the Plan Administrator Expense
Reserve. The Plan Administrator Expense Reserve shall be used by the Plan Administrator
solely to satisfy the expenses of the Plan Administrator and the Post-Effective Date Debtors as
set forth in this Plan. Any amount remaining in the Plan Administrator Expense Reserve after
the dissolution of all the Post-Effective Date Debtors shall constitute Residual Distributable
Value. In no event shall the Plan Administrator be required or permitted to use its personal funds
or assets for the purposes of carrying out its duties under this Plan.

                5.16   Continued Corporate Existence; Effectuating Documents; Further
Transactions.

                (a)     Except as otherwise provided in the Plan, the Debtors shall continue to
exist after the Effective Date as Post-Effective Date Debtors in accordance with the applicable
laws of the respective jurisdictions in which they are incorporated or organized and pursuant to
the Amended Organizational Documents.

                 (b)    On or after the Effective Date (in any case, following the consummation
of the Credit Bid Transaction), but subsequent to the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement if the Credit Bid Transaction occurs,
without prejudice to the rights of any party to a contract or other agreement with any Post-
Effective Date Debtor, each Post-Effective Date Debtor may, in the sole discretion of the Plan
Administrator, take such action as permitted by applicable law, the applicable Amended
Organizational Documents or other applicable corporate governance documents, the Apache
Definitive Documents, any Additional Predecessor Agreement Documents, as such Post-
Effective Date Debtor may determine is reasonable and appropriate, including, causing: (i) the
consummation of a Divisional Merger(s) as contemplated by the Plan of Merger, (ii) the taking
of any action contemplated by any Additional Predecessor Agreement Documents and the
consummation thereof (including the formation of a new entity or consummation of a divisional
merger), (iii) a Post-Effective Date Debtor to be merged into another Post-Effective Date Debtor
or an affiliate of a Post-Effective Date Debtor; (iv) a Post-Effective Date Debtor to be dissolved;


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(v) the legal name of a Post-Effective Date Debtor to be changed; (vi) a Post-Effective Date
Debtor to convert its form of entity; or (vii) the closure of a Post-Effective Date Debtor’s
Chapter 11 Case on the Effective Date or any time thereafter, and such action and documents are
deemed to require no further action or approval (other than any requisite filings required under
the applicable state, provincial and federal or foreign law).

                (c)    On the Effective Date or as soon thereafter as is reasonably practicable (in
any case, following the consummation of the Credit Bid Transaction), but subsequent to the
consummation of the transactions contemplated by the Credit Bid Purchase Agreement if the
Credit Bid Transaction occurs, the Post-Effective Date Debtors, acting through the Plan
Administrator, may take all actions as may be necessary or appropriate to effect any transaction
described in, approved by, or necessary or appropriate to effectuate the Plan, including, (i) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
restructuring, conversion, disposition, transfer, dissolution, or liquidation containing terms that
are consistent with the terms of the Plan and the Plan Supplement and that satisfy the
requirements of applicable law and any other terms to which the applicable entities may agree;
(ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any Asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan and having other terms to which the applicable parties agree; (iii) the filing of
appropriate organizational documents governing the Post-Effective Date Debtors, including the
Post-Effective Date Debtors’ respective Amended Organizational Documents, and any
amendments or restatements thereto, or any documents governing any Post-Effective Date
Debtor’s reincorporation, merger, consolidation, conversion, or dissolution pursuant to
applicable law and, as necessary, other constituent documents, including, without limitation, the
organizational documents governing non-Debtor subsidiaries, as permitted by the laws of their
respective states of incorporation; (iv) the Restructuring Transactions; and (v) all other actions
that the applicable entities determine to be necessary or appropriate, including, making filings or
recordings that may be required by applicable law.

               5.17    Corporate Action.

                (a)     Upon the Effective Date, all actions contemplated by this Plan shall be
deemed authorized and approved in all respects, including (i) entry into or execution of the
Credit Bid Purchase Agreement and consummation of the transactions contemplated therein,
(ii) the assumption or assumption and assignment of executory contracts and unexpired leases as
provided herein, (iii) the appointment of the Plan Administrator and the FWE I Sole Manager,
(iv) the entry into or execution of the Apache Definitive Documents and all documentation
relating thereto, including the Initial Plan of Merger and Standby Credit Facility Documents, (v)
the entry into or execution of any Additional Predecessor Agreement Documents and all
documentation relating thereto, including any plan of merger, divisional merger, or the creation
of a new entity, (vi) entry into or execution of the Exit Facility Documents (and any other
documentation related thereto, including the New Intercreditor Agreement), (vii) any other
Restructuring Transaction, and (viii) all other actions contemplated by the Plan (whether to occur
before, on, or after the Effective Date), in each case in accordance with and subject to the terms
hereof. All matters provided for in this Plan involving the corporate or limited liability company
structure of the Debtors or the Post-Effective Date Debtors, and any corporate or limited liability
company action required by the Debtors or the Post-Effective Date Debtors in connection with


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this Plan shall be deemed to have occurred and shall be in effect, without any requirement of
further action by the security holders, directors, managers, or officers of the Debtors or the Post-
Effective Date Debtors.

               (b)    On or before (as applicable) the Effective Date, the appropriate directors,
officers, and managers of the Debtors, the Plan Administrator, or the FWE I Sole Manager, as
applicable, shall be authorized and directed to issue, execute, and deliver the agreements,
documents, securities, and instruments contemplated by this Plan (or necessary or desirable to
effect the transactions contemplated by this Plan). The authorizations and approvals
contemplated by this Section 5.17 shall be effective notwithstanding any requirements under
nonbankruptcy law.

               5.18    Cancellation of Existing Securities and Agreements.

                Except for the purpose of evidencing a right to and allowing holders of Claims to
receive a distribution under this Plan, and except as otherwise set forth in the Plan, or in the Plan
Supplement or any related agreement, instrument, or document, on the Effective Date, all
agreements, instruments, notes, certificates, indentures, mortgages, security documents,
reimbursement obligations, and other instruments or documents evidencing or creating any
prepetition Claim or Interest (collectively, the “Cancelled Agreements”) (except that the
following shall not be Cancelled Agreements: (i) the agreements, instruments, notes, certificates,
indentures, mortgages, security documents, and other instruments or documents governing,
relating to and/or evidencing certain Intercompany Interests not modified by the Plan and any
rights of any holder in respect thereof and (ii) the Decommissioning Agreement, and any and all
bonds and letters of credit constituting Decommissioning Security) shall be deemed cancelled
and of no force or effect and the Debtors shall not have any continuing obligations thereunder;
provided, however, that each of the Cancelled Agreements shall continue in effect solely for the
purposes of, (x) allowing holders of Claims or Interests to receive distributions under the Plan on
account of such Claims or Interests and (y) allowing and preserving the rights of the Prepetition
FLFO Administrative Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL
Agents, the Prepetition SLTL Administrative Agent, and the DIP Agent, as applicable, to
(1) make distributions on account of such Claims or Interests; (2) maintain, enforce, and exercise
their respective liens, including any charging liens, as applicable, under the terms of the
applicable agreements, or any related or ancillary document, instrument, agreement, or principle
of law, against any money or property distributed or allocable on account of such Claims, as
applicable; (3) seek compensation and reimbursement for any reasonable and documented fees
and expenses incurred in connection with the implementation of the Plan required to be paid
pursuant to the applicable agreement; (4) maintain, enforce, and exercise any right or obligation
to compensation, indemnification, expense reimbursement, or contribution, or any other claim or
entitlement that the Prepetition FLFO Administrative Agent, the Prepetition FLFO Collateral
Agent, the Prepetition FLTL Agents, the Prepetition SLTL Administrative Agent, and the DIP
Agent may have under this Plan, the applicable credit agreements, collateral agreements, pledge
agreements, direction letters or other related documents; and (5) appear and raise issues in these
Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any other court after the
Effective Date on matters relating to this Plan or the applicable credit agreements; provided,
further, that the Prepetition FLFO Administrative Agent, the Prepetition FLFO Collateral Agent,
the Prepetition FLTL Agents, the Prepetition SLTL Administrative Agent, and the DIP Agent


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may take such further action to implement the terms of the Plan, including the Restructuring
Transactions, as agreed to with the Debtors or the Post-Effective Date Debtors, as applicable to
the extent not inconsistent with the Confirmation Order or this Plan.

               5.19    Cancellation of Certain Existing Security Interests.

                Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the
Debtors or the Post-Effective Date Debtors, as applicable, any Collateral or other property of a
Debtor held by such holder, together with any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Other Secured Claim
that may be reasonably required to terminate any related financing statements, mortgages,
mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

                Except, for the avoidance of doubt, with respect to any mortgages, deeds of trust,
Liens, pledges, and any other security interests of the Prepetition FLFO Administrative Agent or
the Exit Facility Agents, after the Effective Date and in accordance with the terms of the
Confirmation Order, the Debtors or the Post-Effective Date Debtors, at their expense, may, in
their sole discretion, take any action necessary to terminate, cancel, extinguish, and/or evidence
the release of any and all mortgages, deeds of trust, Liens, pledges, and other security interests
with respect to any Claim or Interest, including, without limitation, the preparation and filing of
any and all documents necessary to terminate, satisfy, or release any mortgages, deeds of trust,
Liens, pledges, and other security interests held by the Prepetition Agents, including, without
limitation, UCC-3 termination statements and mortgage release documentation.

               5.20    Intercompany Interests; Corporate Reorganization.

                To the extent reinstated under the Plan, on the Effective Date, the Intercompany
Interests (a) shall be reinstated for the ultimate benefit of the holders of Claims and Interests as
set forth in the Plan (b) without the need for any further corporate action or approval of any
board of directors, board of managers, managers, management, or stockholders of any Debtor or
Post-Effective Date Debtor, as applicable, the certificates and all other documents representing
the Intercompany Interests shall be deemed to be in full force and effect.

               5.21    Restructuring Transactions.

               On the Effective Date or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, acting through the Plan Administrator, or the FWE I Sole
Manager, as applicable, may take all actions consistent with the Plan and the Confirmation
Order, as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by, or necessary to effectuate the Restructuring Transactions under and in
connection with the Plan.

               5.22    Liquidating Trust.

                In the event the Plan Administrator determines, in its discretion, that to carry out
and implement the provisions of this Plan certain assets should be transferred to a liquidating
trust for the benefit of one or more classes of Claims, (1) the terms of the liquidating trust shall

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be set forth in a liquidating trust agreement, (2) the liquidating trust shall be structured to qualify
as a “liquidating trust” within the meaning of Treasury Regulations section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust”
within the meaning of sections 671 through 679 of the Tax Code of which the holders of Claims
who become the liquidating trust beneficiaries (as determined for U.S. federal income tax
purposes) are the owners and grantors, consistent with the terms of the Plan, (3) the sole purpose
of the liquidating trust shall be the liquidation and distribution of the assets transferred to the
liquidating trust in accordance with Treasury Regulations section 301.7701-4(d), including the
resolution of Claims, with no objective to continue or engage in the conduct of a trade or
business, (4) all parties (including the Debtors, holders of Claims, and the trustee of the
liquidating trust) shall report consistently with such treatment (including the deemed receipt of
the underlying assets, subject to applicable liabilities and obligations, by the holders of Allowed
Claims, as applicable, followed by the deemed transfer of such assets to the liquidating trust), (5)
all parties shall report consistently with the valuation of the assets transferred to the liquidating
trust as determined by the trustee of the liquidating trust (or its designee), (6) the trustee of the
liquidating trust shall be responsible for filing returns for the trust as a grantor trust pursuant to
Treasury Regulations section 1.671-4(a), and (7) the trustee of the liquidating trust shall annually
send to each holder of an interest in the liquidating trust a separate statement regarding the
receipts and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject
to definitive guidance from the Internal Revenue Service or a court of competent jurisdiction to
the contrary (including the receipt by the trustee of the liquidating trust of a private letter ruling
if the trustee so requests one, or the receipt of an adverse determination by the Internal Revenue
Service upon audit if not contested by the trustee), the trustee of the liquidating trust may timely
elect to (y) treat any portion of the liquidating trust allocable to Disputed Claims as a “disputed
ownership fund” governed by Treasury Regulations section 1.468B-9 (and make any appropriate
elections) and (z) to the extent permitted by applicable law, report consistently with the
foregoing for state and local income tax purposes. If a “disputed ownership fund” election is
made, (i) all parties (including the Debtors, holders of Claims, and the trustee of the liquidating
trust) shall report for U.S. federal, state, and local income tax purposes consistently with the
foregoing, and (ii) any tax imposed on the liquidating trust with respect to assets allocable to
Disputed Claims (including any earnings thereon and any gain recognized upon the actual or
deemed disposition of such assets) will be payable out of such assets and, in the event of
insufficient Cash to pay any such taxes, the trustee of the liquidating trust may sell all or part of
such assets to pay the taxes. The trustee of the liquidating trust may request an expedited
determination of taxes of the liquidating trust, including any reserve for Disputed Claims, under
section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the liquidating
trust for all taxable periods through the dissolution of the liquidating trust.

               5.23    Securities Exemptions.

               (a)    The offer, issuance, and distribution of the New Equity Interests (other
than the Backstop Commitment Premium Equity Interests, the New Money Warrants, or any
New Equity Interests issued upon exercise of the New Money Warrants or under the
Management Incentive Plan), the Subscription Rights, the SLTL Warrants, and the GUC
Warrants to holders of Allowed FLTL Claims, Allowed SLTL Claims, and General Unsecured
Claims, as applicable, under Article IV of this Plan, and the New Equity Interests issued upon
exercise of the Subscription Rights, the SLTL Warrants, or the GUC Warrants, shall be exempt,


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pursuant to section 1145 of the Bankruptcy Code, without further act or actions by any Person,
from registration under the Securities Act, and all rules and regulations promulgated thereunder,
and any other applicable securities laws, to the fullest extent permitted by section 1145 of the
Bankruptcy Code. The New Equity Interests, the Subscription Rights, the SLTL Warrants, and
GUC Warrants issued pursuant to section 1145(a) of the Bankruptcy Code may be resold without
registration under the Securities Act or other federal securities laws pursuant to the exemption
provided by section 4(a)(1) of the Securities Act, unless the holder is an “underwriter” with
respect to such Securities, as that term is defined in section 1145(b) of the Bankruptcy Code. In
addition, such section 1145 exempt Securities generally may be resold without registration under
state securities laws pursuant to various exemptions provided by the respective laws of the
several states.

               (b)    The issuance and sale of the Backstop Commitment Premium Equity
Interests, and the New Money Warrants (including any New Equity Interests issued upon
exercise of the New Money Warrants) under this Plan shall be exempt from registration under
the Securities Act or any other applicable securities laws to the fullest extent permitted by
section 4(a)(2) of the Securities Act and/or Regulation D thereunder. The Backstop
Commitment Premium Equity Interests, and the New Money Warrants (including any New
Equity Interests issued upon exercise of the New Money Warrants) issued in reliance on the
exemption from registration set forth in section 4(a)(2) of the Securities Act and/or Regulation D
thereunder, will be considered “restricted securities” and may not be transferred except pursuant
to an effective registration statement or under an available exemption from the registration
requirements of the Securities Act, such as, under certain conditions, the resale provisions of
Rule 144 of the Securities Act.

                (c)     None of the Debtors, NewCo and its subsidiaries (including the Credit Bid
Purchaser), or any other Person shall be required to provide any further evidence other than the
Plan or the Confirmation Order with respect to the treatment of the New Equity Interests
(including any New Equity Interests issued upon exercise of the Subscription Rights, the New
Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights, the New
Money Warrants, the SLTL Warrants, or the GUC Warrants, under applicable securities laws.
DTC and any transfer agent (as applicable) shall be required to accept and conclusively rely
upon the Plan or Confirmation Order in lieu of a legal opinion regarding whether the New Equity
Interests (including any New Equity Interests issued upon exercise of the Subscription Rights,
the New Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights,
the New Money Warrants, the SLTL Warrants, or the GUC Warrants are exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services (to
the extent applicable).

                (d)    Notwithstanding anything to the contrary in this Plan, no Person
(including DTC and any transfer agent) shall be entitled to require a legal opinion regarding the
validity of any transaction contemplated by the Plan, including whether the New Equity Interests
(including any New Equity Interests issued upon exercise of the Subscription Rights, the New
Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights, the New
Money Warrants, the SLTL Warrants, or the GUC Warrants are exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services.



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               5.24    Closing of Chapter 11 Cases.

               After the Effective Date, the Plan Administrator shall be authorized, but not
directed, to submit an order to Bankruptcy Court under certification of counsel that is in form
and substance acceptable to the U.S. Trustee that closes and issues a final decree for each of the
Chapter 11 Cases.



ARTICLE VI.            DISTRIBUTIONS.

               6.1     Distributions Generally.

             The Plan Administrator shall make all Distributions to the appropriate holders of
Allowed Claims in accordance with the terms of this Plan.

               6.2     No Postpetition Interest on Claims.

               Except with respect to the FLFO Claims of the Prepetition FLFO Secured Parties
or as otherwise specifically provided for in the Plan, the Confirmation Order, or another order of
the Bankruptcy Court, postpetition interest shall not accrue or be paid on any Claims, and no
holder of a Claim shall be entitled to interest accruing on such Claim on or after the Petition
Date.

               6.3     Date of Distributions.

                Except as otherwise provided in this Plan, the Plan Administrator shall make Plan
Distributions to holders of Allowed Claims after (a) funding of the Professional Fee Escrow and
(b) satisfaction in full or establishment of reserves sufficient to pay claims in the Claims Reserve,
as soon as reasonably practicable after the Effective Date and thereafter, the Plan Administrator
shall from time to time determine the subsequent Distribution Dates.

               6.4     Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various lists of
holders of Claims in each Class as maintained by the Debtors or their agents, shall be deemed
closed, and there shall be no further changes in the record holders of any Claims after the
Distribution Record Date. Neither the Debtors nor the Plan Administrator shall have any
obligation to recognize any transfer of a Claim occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or disputes
over any Cure Amounts, neither the Debtors nor the Plan Administrator shall have any obligation
to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.




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               6.5     Distributions after Effective Date

             Distributions made after the Effective Date to holders of Disputed Claims that are
not Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

               6.6     Delivery of Distributions.

               Subject to Bankruptcy Rule 9010, the Plan Administrator shall make all
Distributions to any holder of an Allowed Claim as and when required by this Plan at (a) the
address of such holder on the books and records of the Debtors or their agents or (b) at the
address in any written notice of address change delivered to the Debtors or the Plan
Administrator, including any addresses included on any transfers of Claim filed pursuant to
Bankruptcy Rule 3001. In the event that any Distribution to any holder is returned as
undeliverable, no Distribution or payment to such holder shall be made unless and until the Plan
Administrator has been notified of the then-current address of such holder, at which time or as
soon thereafter as reasonably practicable such Distribution shall be made to such holder without
interest.

               6.7     Unclaimed Property.

                One year from the later of: (a) the Effective Date and (b) the date that is ten (10)
Business Days after the date a Claim is first Allowed, all distributions that remain payable on
account of such Claim shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and shall revert to the Post-Effective Date Debtors or their successors or
assigns, and all claims of any other Person (including the holder of a Claim in the same Class) to
such distribution shall be discharged and forever barred. The Post-Effective Date Debtors and
the Plan Administrator shall have no obligation to attempt to locate any holder of an Allowed
Claim other than by reviewing the Debtors’ books and records and the Bankruptcy Court’s
filings.

        For the avoidance of doubt, a distribution shall be deemed unclaimed if a holder has not:
(a) accepted a particular distribution or, in the case of distributions made by check, negotiated
such check; (b) given notice to the Post-Effective Date Debtors or the Plan Administrator of an
intent to accept a particular distribution; (c) responded to the Debtors’, the Post-Effective Date
Debtors’, or the Plan Administrator’s requests for information necessary to facilitate a particular
distribution; or (d) taken any other action necessary to facilitate such distribution.

               6.8     Satisfaction of Claims.

              Unless otherwise provided herein, any distributions and deliveries to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

               6.9     Manner of Payment under Plan.

              Except as specifically provided herein, at the option of the Debtors, the Post-
Effective Date Debtors, or the Plan Administrator, as applicable, any Cash payment to be made


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under the Plan may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

               6.10   De Minimis Cash Distributions.

               The Plan Administrator shall not be required to make any payment to any holder
of an Allowed Claim on any Distribution Date of Cash in an amount less than one-hundred
dollars ($100); provided, however, that if any Plan Distribution is not made pursuant to this
Section 6.10, such Distribution shall be added to any subsequent Plan Distribution to be made on
behalf of the holder’s Allowed Claim. The Plan Administrator shall not be required to make any
final Plan Distributions of Cash in an amount less than fifty dollars ($50) to any holder of an
Allowed Claim. If the amount of any final Plan Distributions to holders of Allowed Claims
would be fifty dollars ($50) or less, then no further Plan Distribution shall be made by the Plan
Administrator and any surplus Cash shall be donated and distributed to a Tax Code § 501(c)(3)
tax-exempt organization selected by the Plan Administrator.

               6.11   No Distribution in Excess of Amount of Allowed Claim.

              Notwithstanding anything to the contrary in this Plan, no holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Plan Distributions in excess of the
Allowed amount of such Claim.

               6.12   Allocation of Distributions Between Principal and Interest.

                Except with respect to the FLFO Claims of the Prepetition FLFO Secured Parties
or as otherwise required by law, consideration received in respect of an Allowed Claim is
allocable first to the principal amount of the Claim (as determined for U.S. federal income tax
purposes) and then, to the extent of any excess, to the remainder of the Claim, including any
Claim for accrued but unpaid interest.

               6.13   Setoffs and Recoupments.

                Each Post-Effective Date Debtor, or such entity’s designee as instructed by such
Post-Effective Date Debtor or the Plan Administrator, may, pursuant to section 553 of the
Bankruptcy Code or applicable nonbankruptcy law, offset or recoup against any Allowed Claim,
and the distributions to be made pursuant to the Plan on account of such Allowed Claim any and
all claims, rights, and Causes of Action that a Post-Effective Date Debtor or its successors may
hold against the holder of such Allowed Claim after the Effective Date to the extent such setoff
or recoupment is either (a) agreed in amount among the relevant Post-Effective Date Debtor(s),
and holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided, that neither the failure to effect a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Post-Effective Date Debtor or its successor of any claims, rights, or Causes of Action that a Post-
Effective Date Debtor or its successor or assign may possess against such holder.




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               6.14    Withholding and Reporting Requirements.

                (a)     Withholding Rights. In connection with this Plan, any party issuing any
instrument or making any Plan Distribution described in this Plan shall comply with all
applicable tax withholding and reporting requirements imposed by any Governmental Unit, and
all Plan Distributions pursuant to this Plan and all related agreements shall be subject to any such
withholding or reporting requirements. Notwithstanding the foregoing, each holder of an
Allowed Claim or any other Person that receives a Plan Distribution pursuant to this Plan shall
have responsibility for any taxes imposed by any Governmental Unit, including, income,
withholding, and other taxes, on account of such Plan Distribution. Any party issuing any
instrument or making any Plan Distribution pursuant to this Plan has the right, but not the
obligation, to not make a Plan Distribution until such holder has made arrangements satisfactory
to such issuing or disbursing party for payment of any such tax obligations. Notwithstanding any
provision in the Plan to the contrary, any party issuing any instrument or making any Plan
Distribution pursuant to this Plan shall be authorized to take all actions necessary or appropriate
to comply with such withholding and reporting requirements, including liquidating a portion of
the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to
facilitate such distributions or establishing any other mechanisms they believe are reasonable and
appropriate.

               (b)     Forms. Any party entitled to receive any property as an issuance or Plan
Distribution under this Plan shall, upon reasonable request, deliver to the Plan Administrator or
such other Person designated by the Plan Administrator (which entity shall subsequently deliver
to the Plan Administrator or such other Person any applicable IRS Form W-8 or Form W-9
received) an appropriate Form W-9 or (if the payee is a non-U.S. Person) Form W-8, unless such
Person is exempt under the Tax Code and so notifies the Plan Administrator or such other
Person. If such request is made by the Plan Administrator or such other Person designated by the
Plan Administrator and the holder fails to comply before the date that is 210 days after the
request is made, the amount of such Plan Distribution shall irrevocably revert to the Debtors and
any Claim in respect of such Plan Distribution shall be discharged and forever barred from
assertion against any Debtor and its respective property.

               6.15    Claims Paid by Third Parties.

                The Plan Administrator shall reduce in full a Claim, and such Claim shall be
Disallowed without a Claims objection having to be filed and without any further notice to or
action, order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim
receives payment in full on account of such Claim from a party that is not the Debtors or the
Post-Effective Date Debtors. If a holder of a Claim receives a Distribution from the Debtors or
the Post-Effective Date Debtors on account of such Claim and also receives payment from a
third party on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the Plan Distribution to the Debtors or the Post-Effective Date Debtors,
to the extent the holder’s total recovery on account of such Claim from the third party and under
this Plan exceeds the total Allowed amount of such Claim as of the date of any such Plan
Distribution under this Plan. The failure of such holder to timely repay or return such
Distribution shall result in the holder owing the Post-Effective Date Debtors interest on such


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amount owed for each Business Day after the 14-day grace period specified above until the
amount is repaid.

               6.16   Claims Payable by Third Parties.

                No Distributions shall be made on account of an Allowed Claim that is payable
pursuant to one of the insurance policies to which the Debtors’ are a beneficiary until the holder
of such Allowed Claim has exhausted all remedies with respect to such insurance policy;
provided, however, that this Section 6.16 shall not restrict Plan Distributions on an Allowed
Claim that is Allowed in an amount that does not exceed an applicable self-insured retention or
deductible amount under one or more such insurance policies. To the extent that one or more of
the insurers agrees to satisfy a Claim in whole or in part, then immediately upon such insurers’
satisfaction, such Claim may be expunged to the extent of any agreed upon satisfaction on the
Claims register by the Plan Administrator without a Claims objection having to be filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.



ARTICLE VII.          PROCEDURES FOR DISPUTED CLAIMS.

               7.1    Allowance of Claims.

               Except as expressly provided in the Plan or in any order entered in the Chapter 11
Cases before the Effective Date (including the Confirmation Order), no Claim shall become an
Allowed Claim unless and until such Claim is deemed Allowed pursuant to the Plan or a Final
Order, including the Confirmation Order (when it becomes a Final Order), Allowing such Claim.
On and after the Effective Date, each of the Debtors or the Post-Effective Date Debtors shall
have and retain any and all rights and defenses such Debtor had with respect to any Claim
immediately before the Effective Date.

               7.2    Claims Objections.

               Except insofar as a Claim is Allowed under the Plan, the Debtors or the Post-
Effective Date Debtors (acting through the Plan Administrator), as applicable, shall be entitled to
object to Claims. Except as otherwise expressly provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date,
the Post-Effective Date Debtors and the Plan Administrator shall have the authority (a) to file,
withdraw, or litigate to judgment objections to Claims; (b) to settle or compromise any Disputed
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and
(c) to administer and adjust the Debtors’ claims register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court.

               7.3    Estimation of Claims.

              Before or after the Effective Date, the Debtors, the Post-Effective Date Debtors,
and the Plan Administrator may at any time request that the Bankruptcy Court estimate any
Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether any party previously has objected to such Claim or


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whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
any Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
estimates any Disputed, contingent, or unliquidated Claim, that estimated amount shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim for all
purposes under the Plan (including for purposes of distributions), as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation of the amount of
such Claim, the Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as
applicable, may elect to pursue any supplemental proceedings to object to any ultimate
distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event
shall any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy
Code or otherwise be entitled to seek reconsideration of such estimation unless such holder has
filed a motion requesting the right to seek such reconsideration on or before 21 days after the
date on which such Claim is estimated.

               7.4    Adjustment to Claims Register Without Objection.

                Any duplicate Claim or Interest or any Claim or Interest that has been paid or
satisfied, or any Claim that has been amended or superseded, may be adjusted or expunged on
the claims register by the Debtors or the Post-Effective Date Debtors (at the direction of the Plan
Administrator) upon stipulation between the parties in interest without a Claims objection having
to be filed and without any further notice or action, order, or approval of the Bankruptcy Court.

               7.5    Time to File Objections to Claims.

               Any objections to a Claim shall be filed on or before the date that is the later of
(a) 180 days after the Effective Date and (b) such later date as may be fixed by the Bankruptcy
Court, after notice and a hearing, upon a motion by the Post-Effective Date Debtors, as such
deadline may be extended from time to time.

               7.6    Disallowance of Claims.

                Any Claims held by Entities from which property is recoverable under sections
542, 543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under
sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be
deemed Disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such
Claims may not receive any distributions on account of such Claims until such time as such
Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect
thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned
over or paid to the Debtors or the Post-Effective Date Debtors.

               7.7    Amendments to Claims.

               On or after the Effective Date, except as provided in the Plan or the Confirmation
Order, a Claim may not be filed or amended without the prior authorization of the Bankruptcy
Court, and the Post-Effective Date Debtors.




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               7.8    No Distributions Pending Allowance.

               If an objection, motion to estimate, or other challenge to a Claim is filed, no
payment or distribution provided under the Plan shall be made on account of such Claim unless
and until (and only to the extent that) such Claim becomes an Allowed Claim.

               7.9    Distributions After Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan. As soon as practicable after the date on which the order or judgment of
the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Plan
Administrator shall provide to the holder of such Allowed Claim the distribution (if any) to
which such holder is entitled under the Plan as of the Effective Date, without any interest to be
paid on account of such Claim unless required by the Bankruptcy Code.

               7.10   Claims Resolution Procedures Cumulative.

              All of the Claims and objection, estimation, and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved in accordance with the Plan or any mechanism
approved by the Bankruptcy Court.



ARTICLE VIII.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

               8.1    General Treatment.

                (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected,
unless such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to
an order of the Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms
or by agreement of the parties thereto; (iii) is the subject of a motion to assume filed by the
Debtors on or before the Confirmation Date; (iv) is identified in Sections 8.4 or 8.5 of the Plan;
or (v) is identified for assumption on the Schedule of Assumed Contracts included in the Plan
Supplement, which Schedule of Assumed Contracts will identify executory contracts or
unexpired leases for assumption and assignment to the Credit Bid Purchaser in accordance with
the Credit Bid Purchase Agreement. To the extent the Decommissioning Agreement is an
executory contract, it will be assumed and become the obligation of FWE I under the Initial Plan
of Merger.

              (b)      Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
assignments, or rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and a determination by the Bankruptcy Court that the Credit Bid Purchaser or
Post-Effective Date Debtors, as applicable, have provided adequate assurance of future
performance under such assumed executory contracts and unexpired leases. Each executory


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contract and unexpired lease assumed or assumed and assigned pursuant to the Plan shall vest in
and be fully enforceable by the Credit Bid Purchaser or Post-Effective Date Debtors, as
applicable, in accordance with its terms, except as modified by the provisions of the Plan, any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable law.

                (c)    To the maximum extent permitted by law, to the extent any provision in
any executory contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or
purports to restrict or prevent, or is breached or deemed breached by, the assumption of such
executory contract or unexpired lease (including any “change of control” provision), then such
provision shall be deemed modified such that the transactions contemplated by the Plan shall not
entitle the non-Debtor party thereto to terminate such executory contract or unexpired lease or to
exercise any other default-related rights with respect thereto.

               (d)     Subject to the terms of the Credit Bid Purchase Agreement, the Debtors
reserve the right, on or before 5:00 p.m. (prevailing Central Time) on the date that is seven (7)
days before the Confirmation Hearing, or such other time as may be agreed in writing between
the Debtors and the applicable counterparty, to amend the Schedule of Assumed Contracts to add
or remove any executory contract or unexpired lease; provided that if the Confirmation Hearing
is adjourned or continued, such amendment right shall be extended to 5:00 p.m. (prevailing
Central Time) on the date that is seven (7) days before the rescheduled or continued
Confirmation Hearing, and this provision shall apply in the case of any and all subsequent
adjournments and continuances of the Confirmation Hearing; provided, further that, subject to
the terms of the Credit Bid Purchase Agreement, the Debtors may amend the Schedule of
Assumed Contracts to add or delete any executory contracts or unexpired leases after such date
to the extent agreed with the relevant counterparties and entry of an order of the Bankruptcy
Court.

               8.2    Determination of Cure Amounts and Deemed Consent.

              (a)     Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in
Cash on the Effective Date in accordance with the terms of the Credit Bid Purchase Agreement
or on such other terms as the parties to such executory contracts or unexpired leases and the
Debtors may otherwise agree.

                (b)     The Debtors shall file, as part of the Plan Supplement, the Schedule of
Assumed Contracts. At least ten (10) days before the Confirmation Hearing, the Debtors shall
serve a notice on parties to executory contracts or unexpired leases to be assumed or assumed
and assigned reflecting the Debtors’ intention to potentially assume or assume and assign to the
Credit Bid Purchaser in accordance with the terms of the Credit Bid Purchase Agreement the
contract or lease in connection with this Plan or the Credit Bid Purchase Agreement and, where
applicable, setting forth the proposed Cure Amount (if any). Any objection by a counterparty
to an executory contract or unexpired lease to the proposed assumption, assumption and
assignment, or related Cure Amount must be filed, served, and actually received by the
Debtors within ten (10) days of the service of the assumption notice, or such shorter period
as agreed to by the parties or authorized by the Bankruptcy Court. Any counterparty to an
executory contract or unexpired lease that does not timely object to the notice of the proposed


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assumption of such executory contract or unexpired lease shall be deemed to have assented to
assumption of the applicable executory contract or unexpired lease notwithstanding any
provision thereof that purports to (i) prohibit, restrict, or condition the transfer or assignment of
such contract or lease; (ii) terminate or modify, or permit the termination or modification of, a
contract or lease as a result of any direct or indirect transfer or assignment of the rights of any
Debtor under such contract or lease or a change, if any, in the ownership or control to the extent
contemplated by the Plan; (iii) increase, accelerate, or otherwise alter any obligations or
liabilities of any Debtor, or any Post-Effective Date Debtor, under such executory contract or
unexpired lease; or (iv) create or impose a Lien upon any property or Asset of any Debtor, or
Post-Effective Date Debtor, as applicable. Each such provision shall be deemed to not apply to
the assumption of such executory contract or unexpired lease pursuant to the Plan and
counterparties to assumed executory contracts or unexpired leases that fail to object to the
proposed assumption in accordance with the terms set forth in this Section 8.2(b), shall forever
be barred and enjoined from objecting to the proposed assumption or to the validity of such
assumption (including with respect to any Cure Amounts or the provision of adequate assurance
of future performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on
account of transactions contemplated by the Plan.

               (c)     If there is an Assumption Dispute pertaining to assumption of an
executory contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such
dispute shall be heard by the Bankruptcy Court before such assumption being effective;
provided, that, subject to the terms of the Credit Bid Purchase Agreement, the Debtors or Post-
Effective Date Debtors, as applicable, may settle any Assumption Dispute without any further
notice to any party or any action, order, or approval of the Bankruptcy Court.

                (d)    To the extent an Assumption Dispute relates solely to the Cure Amount,
subject to the terms of the Credit Bid Purchase Agreement, the Debtors may assume and/or
assume and assign the applicable executory contract or unexpired lease before the resolution of
the Assumption Dispute; provided, that the Post-Effective Date Debtors or Credit Bid Purchaser,
as applicable shall be responsible to pay the determined amount to be Allowed by the
Bankruptcy Court or otherwise agreed to by such non-Debtor party. The Debtors or Post-
Effective Date Debtors, as applicable, subject to the terms of the Credit Bid Purchase
Agreement, may settle any dispute regarding the Cure Amount or the nature thereof without any
further notice to any party or any action, order, or approval of the Bankruptcy Court.

               (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction
of any Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract
or unexpired lease at any time before the date that the Debtors assume or assume and assign such
executory contract or unexpired lease. Any proofs of Claim filed with respect to an executory
contract or unexpired lease that has been assumed or assumed and assigned shall be deemed
Disallowed and expunged, without further notice to or action, order, or approval of the
Bankruptcy Court or any other Person, upon the assumption of such executory contract or
unexpired leases.



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               8.3    Rejection Damages Claims.

              In the event that the rejection of an executory contract or unexpired lease
hereunder results in damages to the other party or parties to such contract or lease, any
Claim for such damages shall be classified and treated in Class 6B (General Unsecured
Claims). A proof of such Claim must be filed with the Bankruptcy Court and served upon
counsel for the Debtors, Post-Effective Date Debtor, or the Plan Administrator, as
applicable, by the later of (i) thirty (30) days after the filing and service of the notice of the
occurrence of the Effective Date; and (ii) thirty (30) days after entry of an Order rejecting
such contract or lease if such contract or lease is the subject of a pending Assumption
Dispute.

               8.4    Survival of the Debtors’ Indemnification Obligations.

                Notwithstanding anything in the Plan (including Section 10.3 of the Plan), any
Indemnification Obligation to indemnify current and former officers, directors, members,
managers, agents, or employees with respect to all present and future actions, suits, and
proceedings against the Debtors or such officers, directors, members, managers, agents, or
employees based upon any act or omission for or on behalf of the Debtors shall (a) remain in full
force and effect, (b) not be discharged, impaired, or otherwise affected in any way, including by
the Plan, the Plan Supplement, or the Confirmation Order, (c) not be limited, reduced or
terminated after the Effective Date, and (d) survive unimpaired and unaffected irrespective of
whether such Indemnification Obligation is owed for an act or event occurring before, on or after
the Petition Date, provided, that the Post-Effective Date Debtors shall not indemnify officers,
directors, members, or managers, as applicable, of the Debtors for any claims or Causes of
Action that are not indemnified by such Indemnification Obligation. All such obligations shall
be deemed and treated as executory contracts to be assumed by the Debtors under the Plan and
shall continue as obligations of the Post-Effective Date Debtors. Any claim based on the
Debtors’ obligations under the Plan shall not be a Disputed Claim or subject to any objection, in
either case, by reason of section 502(e)(1)(B) of the Bankruptcy Code.

               8.5    Insurance Policies.

               (a)     All insurance policies to which any Debtor is a party as of the Effective
Date, including any D&O Policy, shall be deemed to be and treated as executory contracts and
shall be assumed by and vest in the applicable Debtors or the Post-Effective Date Debtors and
shall continue in full force and effect thereafter in accordance with their respective terms.
Coverage for defense and indemnity under the D&O Policy shall remain available to all
individuals within the definition of “Insured” in any D&O Policy.

                (b)    In addition, after the Effective Date, the Post-Effective Date Debtors or
Plan Administrator shall not terminate or otherwise reduce the coverage under any D&O Policy
(including any “tail policy”) in effect as of the Petition Date, and any current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity at any time before the Effective Date shall be entitled to the full benefits of any
such D&O Policy for the full term of such policy regardless of whether such members,



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managers, directors, and/or officers remain in such positions after the Effective Date to the extent
set forth in such policies.

               8.6     Modifications, Amendments, Supplements, Restatements, or Other
Agreements.

               Unless otherwise provided herein or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all
modifications, amendments, supplements, restatements, or other agreements made directly or
indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instruments, or
other document is listed in any notices of assumed contracts.

               8.7     Reservation of Rights.

               (a)     Neither the exclusion nor the inclusion by the Debtors of any contract or
lease on any exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything
contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease
is or is not an executory contract or unexpired lease or that the Debtors or the Post-Effective
Date Debtors or their respective affiliates has any liability thereunder.

                (b)    Except as explicitly provided in the Plan, nothing in the Plan shall waive,
excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other
rights of the Debtors or the Post-Effective Date Debtors under any executory or non-executory
contract or unexpired or expired lease.

               (c)    Nothing in the Plan shall increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Debtors or the Post-Effective Date Debtors, as
applicable, under any executory or non-executory contract or unexpired or expired lease.

               (a)    If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under the Plan, the Debtors or the Post-
Effective Date Debtors, as applicable, shall have thirty (30) days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.



ARTICLE IX.            CONDITIONS PRECEDENT TO OCCURRENCE OF EFFECTIVE
                       DATE.

               9.1     Conditions Precedent to Effective Date.

               The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied or waived in accordance with the Plan:

               (a)     the Plan Supplement has been filed;




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                (b)    the Bankruptcy Court shall have entered the Confirmation Order, which
order shall be a Final Order;

                 (c)   the Definitive Documents shall be (i) consistent with the Restructuring
Support Agreement and otherwise acceptable to the parties thereto consistent with their
respective consent and approval rights as set forth in the Restructuring Support Agreement [and
(ii) acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit Facility
Agent solely to the extent provided and consistent with their consent and approval rights as set
forth in this Plan;

               (d)      the Restructuring Support Agreement shall not have been terminated and
shall remain in full force and effect;

             (e)     all conditions precedent to the effectiveness of the Apache Definitive
Documents shall have been satisfied or waived by the party having the right to waive the same;

               (f)    the Debtors shall have implemented the Restructuring Transactions and all
other transactions contemplated by the Plan and the Restructuring Support Agreement in a
manner consistent in all respects with the Plan and Restructuring Support Agreement;

               (g)      the Amended Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

               (h)      the NewCo Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

            (i)     the conditions precedent to the effectiveness of the First Lien Exit Facility
Commitment Letter shall have been satisfied or duly waived in writing;

            (j)     the conditions precedent to the effectiveness of the Second Lien Backstop
Commitment Letter shall have been satisfied or duly waived in writing;

             (k)     the conditions precedent to the effectiveness of the FLTL ERO Backstop
Agreement shall have been satisfied or duly waived in writing;

             (l)     the conditions precedent to the effectiveness of the SLTL ERO Backstop
Agreement shall have been satisfied or duly waived in writing

                (m)    the conditions precedent to the effectiveness of the First Lien Exit Facility
(as determined in the First Lien Exit Facility Documents and the First Lien Exit Facility
Commitment Letter) shall have been satisfied or duly waived in writing and the First Lien Exit
Facility Lenders and the First Lien Exit Facility shall have closed substantially simultaneously
with the effectiveness of the Plan;

               (n)   the conditions precedent to the effectiveness of the Second Lien Exit
Facility (as determined in the Second Lien Exit Facility Documents and the Second Lien
Backstop Commitment Letter) shall have been satisfied or duly waived in writing and the Second



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Lien Exit Facility Lenders and the Second Lien Exit Facility shall have closed substantially
simultaneously with the effectiveness of the Plan;

               (o)      the New Intercreditor Agreement shall have been executed and delivered
by each of the parties thereto;

               (p)     the Equity Rights Offerings shall have been consummated;

               (q)    the conditions precedent to the effectiveness of the Credit Bid Purchase
Agreement shall have been satisfied or duly waived in writing in accordance with the terms of
the Credit Bid Purchase Agreement and the Credit Bid Transaction Closing shall have occurred
or will occur simultaneously with the effectiveness of the Plan, including, without limitation,
payment of the New Money Consideration by Buyers to Sellers at Closing pursuant to the terms
thereof;

               (r)     the Debtors shall have obtained all authorizations, consents, regulatory
approvals, rulings, or documents (other than any such authorization, consent, regulatory
approval, ruling, or document that is customarily obtained or completed after assignment,
conveyance or vesting of an applicable Asset) that, after giving effect to the entry of the
Confirmation Order, are necessary to implement and effectuate the Plan, including Bankruptcy
Court approval, and each of the other transactions contemplated by the Restructuring, and such
authorizations, consents, regulatory approvals, rulings, or documents shall not be subject to
unfulfilled conditions and shall be in full force and effect, and all applicable regulatory waiting
periods shall have expired;

             (s)    no event of default under the DIP Documents shall have occurred or be
continuing and an acceleration of the obligations or termination of the DIP Lenders’
commitments under the DIP Documents shall not have occurred; and

              (t)    all Restructuring Expenses shall have been indefeasibly paid in full in
accordance with Section 2.6.

               9.2     Waiver of Conditions Precedent.

                (a)     With the prior written consent of the Required DIP Lenders, the Requisite
FLTL Lenders, the conditions precedent to the occurrence of the Effective Date set forth in
Section 9.1 of the Plan may be waived, in whole or in part, by the Debtors, without leave of or
order of the Bankruptcy Court; provided that, a waiver of the conditions precedent to the
occurrence of the Effective Date set forth in Sections 9.1(c), (d), (e), and (f) of the Plan shall also
require the prior written consent of the Apache PSA Parties; provided, further, that a waiver of
any of the conditions precedent to the occurrence of the Effective Date in Section 9.1 above shall
also require the prior written (i) consent of the Prepetition FLFO Administrative Agent and the
Exit First Lien Agent for all conditions precedent other than Section 9.1(d),(r), and (s) and (ii)
reasonable consent for the conditions precedent in Section 9.1(r) and (s); provided, further, that a
waiver of the conditions precedent to the occurrence of the Effective Date set forth in Sections
9.1(l), (p) and (t) shall also require the prior written consent of the Requisite SLTL Lenders. If
any such condition precedent is waived pursuant to this section and the Effective Date occurs,
each party agreeing to waive such condition precedent shall be estopped from withdrawing such

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waiver after the Effective Date or otherwise challenging the occurrence of the Effective Date on
the basis that such condition was not satisfied, the waiver of such condition precedent shall
benefit from the “equitable mootness” doctrine, and the occurrence of the Effective Date shall
foreclose any ability to challenge the Plan in any court. If the Plan is confirmed for fewer than
all of the Debtors, only the conditions applicable to the Debtor or Debtors for which the Plan is
confirmed must be satisfied or waived for the Effective Date to occur.

               (b)     Except as otherwise provided herein, all actions required to be taken on
the Effective Date shall take place and shall be deemed to have occurred simultaneously and no
such action shall be deemed to have occurred before the taking of any other such action.

               (c)     The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e)
shall be deemed waived by and upon the entry of the Confirmation Order, and the Confirmation
Order shall take effect immediately upon its entry.

               9.3    Effect of Failure of a Condition.

                If the conditions listed in Section 9.1 of the Plan are not satisfied or waived in
accordance with Section 9.2 of the Plan on or before the Effective Date, the Plan shall be null
and void in all respects and nothing contained in the Plan or the Disclosure Statement shall
(a) constitute a waiver or release of any Claims by or against or any Interests in the Debtors,
(b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any Consenting Creditors, or any other
Person.



ARTICLE X.            EFFECT OF CONFIRMATION.

               10.1   Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order,
the provisions of the Plan shall bind every holder of a Claim against or Interest in any Debtor and
inure to the benefit of and be binding on such holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such holder is Impaired under the Plan and
whether such holder has accepted the Plan.

               10.2   Vesting of Assets.

                Except as otherwise provided in the Plan, the Confirmation Order, or any Plan
Supplement, on and after the Effective Date, pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, all Assets of the Estates, including all claims, rights, and Causes of Action and
any property acquired by the Debtors or the Post-Effective Date Debtors during the Chapter 11
Cases or under or in connection with the Plan shall vest in each respective Post-Effective Date
Debtor free and clear of all Claims, Liens, charges, other encumbrances, and interests (other than
any and all Liens securing the FLFO Claims or the obligations under the First Lien Exit Facility).
Subject to the terms of the Plan, on and after the Effective Date, the Post-Effective Date Debtors


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and Plan Administrator may operate their businesses and may use, acquire, and dispose of
property and prosecute, compromise, or settle any Claims (including any Administrative
Expense Claims) and Causes of Action without notice to, supervision of or approval by the
Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules other than restrictions expressly imposed by the Plan or the Confirmation
Order. Without limiting the foregoing, the Post-Effective Date Debtors may pay the charges that
they incur on or after the Confirmation Date for Professional Persons’ fees, disbursements,
expenses, or related support services without application to the Bankruptcy Court.

               10.3    Discharge of Claims Against and Interests in Debtors.

                 Upon the Effective Date, except as otherwise expressly provided in the Plan or in
the Confirmation Order, the distributions, rights and treatment to be made under the Plan, shall
be in complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims,
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on
Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their
Assets or properties, regardless of whether any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose before the Effective Date, any liability (including withdrawal
liability) to the extent such Claims or Interests relate to services performed by employees of the
Debtors before the Effective Date and that arise from a termination of employment, any
contingent or non-contingent liability on account of representations or warranties issued on or
before the Effective Date, any obligations incurred in connection with or related to bonds and
letters of credit (and any related agreements) issued before the Petition Date on behalf of the
Debtors, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (a) a proof of claim based upon such debt or right
is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest
based upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy
Code; or (c) the holder of such a Claim or Interest has accepted the Plan. Any default or “event
of default” by the Debtors or affiliates with respect to any Claim or Interest that existed
immediately before or on account of the filing of the Chapter 11 Cases shall be deemed cured
(and no longer continuing) as of the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims and Interests subject to the Effective Date occurring.

                Each holder (as well as any trustee or agent on behalf of such holder) of a Claim
or Interest, and any affiliate of such holder, shall be deemed to have forever waived, released,
and discharged the Debtors, to the fullest extent permitted by section 1141 of the Bankruptcy
Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
Effective Date. Except as otherwise provided in the Plan, upon the Effective Date, all such
holders of Claims and Interests and their affiliates shall be forever precluded and enjoined,
pursuant to sections 105, 524, and 1141 of the Bankruptcy Code, from prosecuting or asserting
any such discharged Claim against or terminated Interest in any Debtor or any Post-Effective
Date Debtor




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               10.4    Pre-Confirmation Injunctions and Stays.

               Unless otherwise provided in the Plan or a Final Order of the Bankruptcy Court,
all injunctions and stays arising under or entered during the Chapter 11 Cases, whether under
sections 105 or 362 of the Bankruptcy Code or otherwise, and in existence on the date of entry of
the Confirmation Order, shall remain in full force and effect until the later of the Effective Date
and the date indicated in the order providing for such injunction or stay.

               10.5    Injunction Against Interference With Plan.

               Except as otherwise provided in the Plan or in the Confirmation Order, upon the
entry of the Confirmation Order, all holders of Claims and Interests and all other parties in
interest, along with their respective present and former affiliates, employees, agents, officers,
directors, and principals, shall be enjoined from taking any action to interfere with the
implementation or the occurrence of the Effective Date.

               10.6    Plan Injunction.

                (a)      Except as otherwise provided in the Plan or in the Confirmation Order,
from and after the Effective Date, all Persons who have held, hold, or may hold Claims or
Interests, and other parties in interest, along with their respective present or former employees,
agents, officers, directors, principals, and affiliates, are, with respect to any such Claim or
Interest, permanently enjoined after the entry of the Confirmation Order from: (i) commencing,
conducting, or continuing in any manner, directly or indirectly, any suit, action, or other
proceeding of any kind (including any proceeding in a judicial, arbitral, administrative, or other
forum) against or affecting, directly or indirectly, a Debtor, a Post-Effective Date Debtor, or an
Estate or the property of any of the foregoing, or any direct or indirect transferee of any property
of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned in this
subsection (i) or any property of any such transferee or successor; (ii) enforcing, levying,
attaching (including any prejudgment attachment), collecting, or otherwise recovering in any
manner or by any means, whether directly or indirectly, any judgment, award, decree, or order
against a Debtor, a Post-Effective Date Debtor, or an Estate or its property, or any direct or
indirect transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this subsection (ii) or any property of any such transferee or
successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly,
any encumbrance of any kind against a Debtor, a Post-Effective Date Debtor, or an Estate or any
of its property, or any direct or indirect transferee of any property of, or successor in interest to,
any of the foregoing Persons mentioned in this subsection (iii) or any property of any such
transferee or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that
does not conform to or comply with the provisions of the Plan to the full extent permitted by
applicable law; and (v) commencing or continuing, in any manner or in any place, any action that
does not comply with or is inconsistent with the provisions of the Plan; provided, that nothing
contained in the Plan shall preclude such Persons who have held, hold, or may hold Claims
against, or Interests in, a Debtor, a Post-Effective Date Debtor, or an Estate from exercising their
rights and remedies, or obtaining benefits, pursuant to and consistent with the terms of the Plan.




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                (b)    By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest shall be deemed to have affirmatively and specifically consented to be bound
by the Plan, including the injunctions set forth in Section 10.6 of the Plan.

              10.7    Releases.

          (a)  RELEASES BY THE DEBTORS. AS OF THE EFFECTIVE DATE,
EXCEPT FOR THE RIGHTS AND REMEDIES THAT REMAIN IN EFFECT FROM
AND AFTER THE EFFECTIVE DATE TO ENFORCE THE PLAN, THE
CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE CREDIT BID PURCHASE AGREEMENT, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING
TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE RELEASED
PARTIES    WILL     BE    DEEMED    CONCLUSIVELY,     ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, AND
THE ESTATES, IN EACH CASE ON BEHALF OF THEMSELVES AND THEIR
RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES AND ANY AND
ALL OTHER PERSONS THAT MAY PURPORT TO ASSERT ANY CAUSE OF
ACTION DERIVATIVELY, BY OR THROUGH THE FOREGOING PERSONS, FROM
ANY AND ALL CLAIMS, INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, DEMANDS, DEBTS, RIGHTS, AND CAUSES OF ACTION, LOSSES,
REMEDIES, OR LIABILITIES WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THE ESTATES), WHETHER LIQUIDATED
OR UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, ACCRUED OR
UNACCRUED, EXISTING OR HEREINAFTER ARISING, WHETHER IN LAW OR
EQUITY, WHETHER SOUNDING IN TORT OR CONTRACT, WHETHER ARISING
UNDER FEDERAL OR STATE STATUTORY OR COMMON LAW, OR ANY OTHER
APPLICABLE INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE,
STATUTE, REGULATION, TREATY, RIGHT, DUTY, REQUIREMENTS OR
OTHERWISE THAT THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, THE
ESTATES, OR THEIR AFFILIATES WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM OR
INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE, SALE, OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS
OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL


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ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING OF CLAIMS AND INTERESTS BEFORE OR DURING THE
CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION, PREPARATION, OR
CONSUMMATION OF THE PLAN, THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE CREDIT BID PURCHASE AGREEMENT, THE EXIT FACILITY
DOCUMENTS, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE DECOMMISSIONING AGREEMENT, OR RELATED
AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS RELATING THERETO,
OR THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN ALL
CASES BASED UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.

            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(a)
OF THE PLAN (the “DEBTOR RELEASES”), WHICH INCLUDES BY REFERENCE
EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN,
AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING
THAT THE DEBTOR RELEASES ARE: (I) IN EXCHANGE FOR THE GOOD,
VALUABLE AND ADEQUATE CONSIDERATION PROVIDED BY THE RELEASED
PARTIES, (II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) A GOOD
FAITH SETTLEMENT AND COMPROMISE OF THE RELEASED CLAIMS
RELEASED BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS AND THE
ESTATES, (IV) IN THE BEST INTERESTS OF THE DEBTORS, THE ESTATES AND
ALL HOLDERS OF CLAIMS AND INTERESTS, (IV) FAIR, EQUITABLE AND
REASONABLE, (V) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
FOR HEARING, AND (VII) A BAR TO ANY OF THE DEBTORS, THE POST-
EFFECTIVE DATE DEBTORS, OR THE ESTATES ASSERTING ANY CLAIM OR
CAUSE OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

           (b)  RELEASES BY HOLDERS OF CLAIMS AND INTERESTS. AS OF
THE EFFECTIVE DATE, EXCEPT FOR THE RIGHTS AND REMEDIES THAT
REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO ENFORCE
THE PLAN, THE CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED
BY THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE CREDIT BID
PURCHASE AGREEMENT, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING
TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE RELEASED
PARTIES     WILL   BE     DEEMED    CONCLUSIVELY,     ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND


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DISCHARGED BY THE RELEASING PARTIES, TO THE MAXIMUM EXTENT
PERMITTED BY LAW, AS SUCH LAW MAY BE EXTENDED SUBSEQUENT TO THE
EFFECTIVE DATE BY THE RELEASING PARTIES, FROM ANY AND ALL CLAIMS
AND CAUSES OF ACTION WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THEIR ESTATES, INCLUDING ANY
CAUSES OF ACTION ARISING UNDER CHAPTER 5 OF THE BANKRUPTCY
CODE), WHETHER LIQUIDATED OR UNLIQUIDATED, FIXED OR CONTINGENT,
MATURED OR UNMATURED, KNOWN OR UNKNOWN, FORESEEN OR
UNFORESEEN, ASSERTED OR UNASSERTED, ACCRUED OR UNACRUED,
EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY, CONTRACT, TORT,
OR OTHERWISE BY STATUTE, WHETHER ARISING UNDER FEDERAL OR
STATE, STATUTORY OR COMMON LAW, VIOLATIONS OF FEDERAL OR STATE
SECURITIES LAWS, OR ANY OTHER APPLICABLE INTERNATIONAL, FOREIGN,
OR DOMESTIC LAW, RULE STATUTE, REGULATION, TREATY, RIGHT, DUTY,
REQUIREMENT OR OTHERWISE, THAT THE RELEASING PARTIES OR THEIR
ESTATES, AFFILIATES, HEIRS, EXECUTORS, ADMINISTRATORS, SUCCESSORS,
ASSIGNS, MANAGERS, ACCOUNTANTS, ATTORNEYS, REPRESENTATIVES,
CONSULTANTS, AGENTS, AND ANY OTHER PERSONS CLAIMING UNDER OR
THROUGH THEM WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN
THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST OR OTHER PERSON,
BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART, THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THEIR
ESTATES, THE CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE,
SALE, OR RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE
DEBTORS OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER
OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS OR INTERACTIONS BETWEEN ANY DEBTOR AND ANY
RELEASED PARTY, THE RESTRUCTURING, THE RESTRUCTURING OF ANY
CLAIMS OR INTERESTS BEFORE OR DURING THE CHAPTER 11 CASES, THE
NEGOTIATION, FORMULATION, PREPARATION, OR CONSUMMATION OF THE
PLAN, THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE CREDIT BID
PURCHASE AGREEMENT, THE EXIT FACILITY DOCUMENTS, THE APACHE
DEFINITIVE DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT
DOCUMENTS, THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EQUITY RIGHTS
OFFERINGS, THE ERO BACKSTOP AGREEMENTS, THE DECOMMISSIONING
AGREEMENT OR RELATED AGREEMENTS, INSTRUMENTS, OR OTHER
DOCUMENTS, RELATING THERETO, OR THE SOLICITATION OF VOTES WITH
RESPECT TO THE PLAN, IN ALL CASES BASED UPON ANY ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCES TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE.

        ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,

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PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(B)
OF THE PLAN (THE “THIRD-PARTY RELEASE”), WHICH INCLUDES, BY
REFERENCE, EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER
THE PLAN, AND, FURTHERMORE, SHALL CONSTITUTE THE BANKRUPTCY
COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS (I) CONSENSUAL,
(II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) GIVEN IN
EXCHANGE FOR THE GOOD, VALUABLE AND ADEQUATE CONSIDERATION
PROVIDED BY THE RELEASED PARTIES, (IV) A GOOD FAITH SETTLEMENT
AND COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-PARTY
RELEASE, (V) IN THE BEST INTERESTS OF THE DEBTORS AND THEIR ESTATES,
(VI) FAIR, EQUITABLE AND REASONABLE, (VII) GIVEN AND MADE AFTER DUE
NOTICE AND OPPORTUNITY FOR HEARING, AND (VIII) A BAR TO ANY OF THE
RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION
RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.

          NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS
SECTION 10.7(B) OF THE PLAN, NO PARTY SHALL BE RELEASED TO THE
EXTENT SUCH RELEASE WOULD IMPAIR THE DECOMMISSIONING SECURITY
OR THE APACHE PSA PARTIES’ ABILITY TO DRAW ON THE
DECOMMISSIONING SECURITY, IN ANY RESPECT. FOR THE AVOIDANCE OF
DOUBT, ANY AND ALL CLAIMS THE APACHE PSA PARTIES MAY HAVE
AGAINST FWE I RELATED TO THE DECOMMISSIONING AGREEMENT ARISING
POST-EFFECTIVE DATE AND ANY SECURITY OBTAINED, PROVIDED, OR
PLEDGED IN CONNECTION WITH THE DECOMMISSIONING AGREEMENT WILL
BE PRESERVED AND ANY AND ALL CLAIMS FWE I MAY HAVE AGAINST THE
APACHE PSA PARTIES RELATED TO THE DECOMMISSIONING AGREEMENT
ARISING POST-EFFECTIVE DATE AND THE DECOMMISSIONING SECURITY
WILL BE PRESERVED.

                (c)     Release of Liens. Except as otherwise specifically provided in the Plan
(including all Liens securing the FLFO Claims or the First Lien Exit Facility) or in any
contract, instrument, release, or other agreement or document contemplated under or
executed in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is secured and Allowed as of the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the estates shall be fully released and discharged, and all of the
right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Post-Effective Date Debtors and their successors
and assigns, in each case, without any further approval or order of the Bankruptcy Court
and without any action or filing being required to be made by the Debtors. For the
avoidance of doubt, all liens and encumbrances on, interests in, and claims against the
Legacy Apache Properties (as defined in the Apache Term Sheet) and the other FWE I
Assets (as defined in Part A of Schedule I of the Initial Plan of Merger) held by the
Prepetition FLFO Secured Parties, Prepetition FLTL Lenders, and Prepetition SLTL
Lenders shall be released, discharged, and of no further force or effect as of the Effective
Date.


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          10.8   Exculpation.

          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EXCEPT FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE
EFFECTIVE DATE TO ENFORCE THE PLAN, THE CONFIRMATION ORDER AND
THE OBLIGATIONS CONTEMPLATED BY THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE CREDIT BID PURCHASE AGREEMENT, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EXIT FACILITY
DOCUMENTS, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, AND THE RESTRUCTURING TRANSACTIONS, NO EXCULPATED
PARTY WILL HAVE OR INCUR, AND EACH EXCULPATED PARTY WILL BE
RELEASED AND EXCULPATED FROM, ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, DEMAND, DEBT, RIGHT, REMEDY LOSS, LIABILITY AND
CAUSE OF ACTION IN CONNECTION WITH OR ARISING OUT OF THE
ADMINISTRATION OF THE CHAPTER 11 CASES; THE NEGOTIATION AND
PURSUIT OF THE DIP FACILITY, THE CREDIT BID PURCHASE AGREEMENT,
THE NEW MONEY INVESTMENT, THE EXIT FACILITY DOCUMENTS, THE FIRST
LIEN EXIT FACILITY COMMITMENT LETTER, THE SECOND LIEN BACKSTOP
COMMITMENT LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO
BACKSTOP AGREEMENTS, THE APACHE DEFINITIVE DOCUMENTS, ANY
ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS, THE DISCLOSURE
STATEMENT, THE RESTRUCTURING, THE PLAN (INCLUDING THE PLAN
SUPPLEMENT), AND ALL DOCUMENTS RELATING TO THE FOREGOING, OR
THE SOLICITATION OF VOTES FOR, OR CONFIRMATION OF, THE PLAN; THE
FUNDING OF THE PLAN; THE OCCURRENCE OF THE EFFECTIVE DATE; THE
ADMINISTRATION OF THE PLAN OR THE PROPERTY TO BE DISTRIBUTED
UNDER THE PLAN; THE ISSUANCE OF SECURITIES UNDER OR IN CONNECTION
WITH THE PLAN; THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE
OR SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE
DEBTORS; OR THE TRANSACTIONS IN FURTHERANCE OF ANY OF THE
FOREGOING; OTHER THAN CLAIMS OR CAUSES OF ACTION ARISING OUT OF
OR RELATED TO ANY ACT OR OMISSION OF AN EXCULPATED PARTY THAT
CONSTITUTES INTENTIONAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
NEGLIGENCE AS DETERMINED BY A FINAL ORDER, BUT IN ALL RESPECTS
SUCH PERSONS WILL BE ENTITLED TO REASONABLY RELY UPON THE
ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO THE PLAN. THE EXCULPATED PARTIES
HAVE ACTED IN COMPLIANCE WITH THE APPLICABLE PROVISIONS OF THE
BANKRUPTCY CODE WITH REGARD TO THE SOLICITATION OF THE PLAN
AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS
WILL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY
APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE SOLICITATION
OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS
MADE PURSUANT TO THE PLAN. THE EXCULPATION WILL BE IN ADDITION
TO, AND NOT IN LIMITATION OF, ALL OTHER RELEASES, INDEMNITIES,

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EXCULPATIONS, AND ANY OTHER APPLICABLE LAW OR RULES PROTECTING
SUCH EXCULPATED PARTIES FROM LIABILITY.

               10.9    Injunction Related to Releases and Exculpation.

                 The Confirmation Order shall permanently enjoin the commencement or
prosecution by any Person or entity, whether directly, derivatively, or otherwise, of any Claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses, or
liabilities released pursuant to the Plan, including the claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, and liabilities released or exculpated in the
Plan or the Confirmation Order.

               10.10 Subordinated Securities Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments thereof under the Plan take into account and
conform to the relative priority and rights of the Claims and Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, sections 510(a), 510(b), or 510(c) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
reserve the right to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

               10.11 Retention of Causes of Action and Reservation of Rights.

                (a)     Except as otherwise provided in the DIP Order or Plan, including Sections
10.5, 10.6, 10.7, 10.8 and 10.9, nothing contained in the Plan or the Confirmation Order shall be
deemed to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff
or recoupment, or other legal or equitable defenses that the Debtors had immediately before the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law. The Post-Effective Date Debtors shall
have, retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff
or recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not
been commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired
Claim may be asserted after the Confirmation Date and Effective Date to the same extent as if
the Chapter 11 Cases had not been commenced.

               (b)    Notwithstanding Section 10.11(a), on the Effective Date, the Post-
Effective Date Debtors shall be deemed to have released all preference actions pursuant to
section 547 of the Bankruptcy Code against the holders of Unsecured Trade Claims and General
Unsecured Claims (in each case, solely in their capacity as holders of Unsecured Trade Claims
and General Unsecured Claims, as applicable).

               10.12 Ipso Facto and Similar Provisions Ineffective.

               Any term of any prepetition policy, prepetition contract, or other prepetition
obligation applicable to a Debtor shall be void and of no further force or effect with respect to
any Debtor to the extent that such policy, contract, or other obligation is conditioned on, creates

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an obligation of the Debtor as a result of, or gives rise to a right of any entity based on any of the
following: (a) the insolvency or financial condition of a Debtor; (b) the commencement of the
Chapter 11 Cases; (c) the confirmation or consummation of the Plan, including any change of
control that shall occur as a result of such consummation; or (d) the Restructuring.

               10.13 Indemnification and Reimbursement Obligations.

                For purposes of the Plan, (a) Indemnification Obligations to current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity before, on or subsequent to the Petition Date shall be assumed by the Post-
Effective Date Debtors and (b) Indemnification Obligations of the Debtors arising from services
as current and former directors, officers, members, managers, agents or employees of any of the
Debtors who served in such capacity during the period from and after the Petition Date shall be
Administrative Expense Claims. In addition, after the Effective Date, the Post-Effective Date
Debtors shall not terminate or otherwise reduce the coverage under any current and former
directors’, officers’, members’, managers’, agents’ or employees’ insurance policies (including
any “tail policy”) in effect as of the Petition Date, and all current and former directors, officers,
members, managers, agents or employees of any of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of any such policy for the
full term of such policy regardless of whether such members, managers, directors, and/or officers
remain in such positions after the Effective Date to the extent set forth in such policies.



ARTICLE XI.            RETENTION OF JURISDICTION.

               11.1    Retention of Jurisdiction.

               Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11 Cases for,
among other things, the following purposes:

                (a)  to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and any disputes over Cure Amounts
resulting therefrom;

               (b)     to determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the entry of the Confirmation
Order;

               (c)   to hear and resolve any disputes arising from or related to (i) any orders of
the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or (ii) any protective orders
entered by the Bankruptcy Court in connection with the foregoing;




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               (d)      to ensure that distributions to holders of Allowed Claims are accomplished
as provided in the Plan and the Confirmation Order and to adjudicate any and all disputes arising
from or relating to distributions under the Plan;

               (e)   to consider Claims or the allowance, classification, priority, compromise,
estimation, or payment of any Claim, including any Administrative Expense Claim;

              (f)    to enter, implement, or enforce such orders as may be appropriate in the
event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

               (g)    to issue and enforce injunctions, enter and implement other orders, and
take such other actions as may be necessary or appropriate to restrain interference by any Person
or other Entity with the consummation, implementation, or enforcement of the Plan, the
Confirmation Order, or any other order of the Bankruptcy Court;

              (h)      to hear and determine any application to modify the Plan in accordance
with section 1127 of the Bankruptcy Code to remedy any defect or omission or reconcile any
inconsistency in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

               (i)    to hear and determine all Fee Claims;

               (j)    to resolve disputes concerning any reserves with respect to Disputed
Claims or the administration thereof;

                (k)   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Confirmation Order, any
transactions or payments in furtherance of either, or any agreement, instrument, or other
document governing or related to any of the foregoing;

               (l)    to take any action and issue such orders, including any such action or
orders as may be necessary after entry of the Confirmation Order or the occurrence of the
Effective Date, as may be necessary to construe, enforce, implement, execute, and consummate
the Plan, including any release, exculpation, or injunction provisions set forth in the Plan,
following the occurrence of the Effective Date;

               (m)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (n)    to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

               (o)    to hear and determine any other matters related to the Chapter 11 Cases
and not inconsistent with the Bankruptcy Code or title 28 of the United States Code;



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                (p)     to resolve any disputes concerning whether a Person or entity had
sufficient notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in
connection with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any
deadline for responding or objecting to a Cure Amount, in each case, for the purpose for
determining whether a Claim or Interest is discharged hereunder or for any other purpose;

               (q)   to hear and determine any rights, Claims, or Causes of Action held by or
accruing to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or
legal theory;

               (r)    to recover all Assets of the Debtors and property of the Estates, wherever
located;

               (s)    to hear and determine matters related to the DIP Facility and the DIP
Order; and

               (t)    to enter a final decree closing each of the Chapter 11 Cases.

Notwithstanding anything in this Article XI to the contrary, as of the Effective Date, the Exit
Facility Documents and any other documents related thereto, including the New Intercreditor
Agreement, shall be governed by the jurisdictional provisions therein and the Bankruptcy Court
shall not retain jurisdiction with respect thereto.



ARTICLE XII.          MISCELLANEOUS PROVISIONS.

               12.1   Payment of Statutory Fees

                On the Effective Date and thereafter as may be required, the Debtors or the Post-
Effective Date Debtors, as applicable, shall pay all Statutory Fees that are due and payable,
together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for each
Debtor’s case. The obligations under this Section 12.1 shall remain for each Debtor until such
time as a final decree is entered closing the Chapter 11 Case for such Debtor, a Final Order
converting such Debtor’s Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code is
entered, or a Final Order dismissing such Debtor’s Chapter 11 Case is entered.

               12.2   Exemption from Certain Transfer Taxes.

               Pursuant to and to the fullest extent permitted by section 1146 of the Bankruptcy
Code, (a) the issuance, transfer or exchange of any securities, instruments or documents, (b) the
creation of any Lien, mortgage, deed of trust or other security interest, (c) all sale transactions
consummated by the Debtors and approved by the Bankruptcy Court on and after the
Confirmation Date through and including the Effective Date, including any transfers effectuated
under the Plan, (d) any assumption, assignment, or sale by the Debtors of their interests in
unexpired leases of nonresidential real property or executory contracts pursuant to section 365(a)
of the Bankruptcy Code, (e) the grant of collateral under the Standby Loan Agreement and (f) the
issuance, renewal, modification or securing of indebtedness by such means, and the making,


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delivery or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, sales tax, use tax or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, parish, city or Governmental Unit in which any instrument hereunder is to be recorded
shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp
tax, transfer tax, intangible tax or similar tax.

               12.3    Request for Expedited Determination of Taxes.

                The Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and
all taxable periods ending after the Petition Date through the Effective Date.

               12.4    Dates of Actions to Implement Plan.

              In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

               12.5    Amendments.

              (a)      Plan Modifications. Subject to (i) the consent rights set forth in the
Restructuring Support Agreement, (ii) the reasonable consent of the Creditors’ Committee solely
to the extent that it adversely impacts the holders of General Unsecured Claims or Unsecured
Trade Claims and (iii) the reasonable consent of the Prepetition FLFO Administrative Agent, the
Plan may be amended, modified, or supplemented by the Debtors in the manner provided for by
section 1127 of the Bankruptcy Code or as otherwise permitted by law, without additional
disclosure pursuant to section 1125 of the Bankruptcy Code, except as otherwise ordered by the
Bankruptcy Court. In addition, after the Confirmation Date, so long as such action does not
materially and adversely affect the treatment of holders of Allowed Claims pursuant to the Plan,
the Debtors, with (i) the consent of the Required DIP Lenders, and the Requisite FLTL Lenders,
(ii) the reasonable consent of the Creditors’ Committee solely to the extent that it adversely
impacts the holders of General Unsecured Claims or Unsecured Trade Claims, and (iii) the
reasonable consent of the Prepetition FLFO Administrative Agent, may remedy any defect or
omission or reconcile any inconsistencies in the Plan or the Confirmation Order with respect to
such matters as may be necessary to carry out the purposes of effects of the Plan, and any holder
of a Claim or Interest that has accepted the Plan shall be deemed to have accepted the Plan as
amended, modified, or supplemented. The Debtors, subject to (i) the consent of the Required
DIP Lenders and the Requisite FLTL Lenders and (ii) the applicable consent rights of the
Prepetition FLFO Administrative Agent, shall have the right to amend the documents contained
in, and exhibits to, the Plan Supplement in accordance with the terms of the Plan and the



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Restructuring Support Agreement or the First Lien Exit Facility Commitment Letter, as
applicable, through the Effective Date.

              (b)      Certain Technical Amendments. Before the Effective Date, the Debtors,
subject to the consent rights set forth in the Restructuring Support Agreement, may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court.

               12.6    Revocation or Withdrawal of Plan.

                The Debtors reserve the right to revoke or withdraw the Plan before the Effective
Date as to any or all of the Debtors. If, with respect to a Debtor, the Plan has been revoked or
withdrawn before the Effective Date, or if confirmation or the occurrence of the Effective Date
as to such Debtor does not occur on the Effective Date, then, with respect to such Debtor: (a) the
Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the
Plan (including the fixing or limiting to an amount any Claim or Interest or Class of Claims or
Interests), assumption or rejection of executory contracts or unexpired leases affected by the
Plan, and any document or agreement executed pursuant to the Plan shall be deemed null and
void; and (c) nothing contained in the Plan shall (i) constitute a waiver or release of any Claim
by or against, or any Interest in, such Debtor or any other Person; (ii) prejudice in any manner
the rights of such Debtor or any other Person; or (iii) constitute an admission of any sort by any
Debtor or any other Person.

               12.7    Severability.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is
held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation by the Bankruptcy Court, the remainder of the terms and provisions of the Plan
shall remain in full force and effect and shall in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with this section, is (a) valid and enforceable pursuant to its
terms, (b) integral to the Plan and may not be deleted or modified without the consent of the
Debtors or the Post-Effective Date Debtors (as the case may be) and (c) nonseverable and
mutually dependent.

               12.8    Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable or
to the extent that a Plan Supplement document provides otherwise, the rights, duties, and
obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of Texas, without giving effect to the principles of
conflicts of laws thereof.


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               12.9    Immediate Binding Effect.

               Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of the Debtors, the Post-Effective
Date Debtors, the holders of Claims and Interests, the Released Parties, and each of their
respective successors and assigns.

               12.10 Successors and Assigns.

               The rights, benefits, and obligations of any Person named or referred to in the
Plan shall be binding on and shall inure to the benefit of any heir, executor, administrator,
successor, or permitted assign, if any, of each such Person.

               12.11 Entire Agreement.

              On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order
shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

               12.12 Computing Time.

              In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth in the Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

               12.13 Exhibits to Plan.

                All exhibits, schedules, supplements, and appendices to the Plan (including any
other documents to be executed, delivered, assumed, or performed in connection with the
occurrence of the Effective Date) are incorporated into and are a part of the Plan as if set forth in
full in the Plan.

               12.14 Notices.

               All notices, requests, and demands hereunder shall be in writing (including by
facsimile or email transmission) and, unless otherwise provided herein, shall be deemed to have
been duly given or made only when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

              (a)      If to the Debtors:

               Fieldwood Energy LLC
               2000 W. Sam Houston Parkway, S. Suite 1200
               Houston, Texas 77042
               Attention: Michael Dane and Thomas R. Lamme



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               – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, New York 10153
               Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for the Debtors

              (b)     If to the DIP Lenders or FLTL Lenders:

               DAVIS POLK & WARDWELL LLP
               450 Lexington Avenue
               New York, NY 10017
               Attn: Damian Schaible, Esq. and Natasha Tsiouris, Esq.
               Telephone: (212) 450-4000
               Facsimile: (212) 701-5800

              (c)     If to the Post-Effective Date Debtors:

               [Plan Administrator]
               [Plan Administrator Address]

               – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, New York 10153
               Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for Post-Effective Date Debtors

               A notice is deemed to be given and received (a) if sent by first-class mail,
personal delivery, or courier, on the date of delivery if it is a Business Day and the delivery was
made before 4:00 p.m. (local time in place of receipt) and otherwise on the next Business Day, or
(b) if sent by electronic mail, when the sender receives an email from the recipient
acknowledging receipt; provided that an automatic “read receipt” does not constitute
acknowledgment of an email for purposes of this Section. Any party may change its address for
service from time to time by providing a notice in accordance with the foregoing. Any element
of a party’s address that is not specifically changed in a notice will be assumed not to be
changed.

             After the occurrence of the Effective Date, the Post-Effective Date Debtors and
Plan Administrator have authority to send a notice to entities that to continue to receive

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documents pursuant to Bankruptcy Rule 2002, such entities must file a renewed request to
receive documents pursuant to Bankruptcy Rule 2002; provided, that the U.S. Trustee need not
file such a renewed request and shall continue to receive documents without any further action
being necessary. After the occurrence of the Effective Date, the Post-Effective Date Debtors are
authorized to limit the list of entities receiving documents pursuant to Bankruptcy Rule 2002 to
the U.S. Trustee and those entities that have filed such renewed requests.

               12.15 Reservation of Rights.

                Except as otherwise provided herein, the Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of the Plan, any
statement or provision of the Plan, or the taking of any action by the Debtors with respect to the
Plan shall be or shall be deemed to be an admission or waiver of any rights of (a) the Debtors
with respect to any Claims or Interests before the Effective Date or (b) any holder of a Claim or
Interest or other entity before the Effective Date.

               12.16 Dissolution of Creditors’ Committee.

                On the Effective Date, the Creditors’ Committee shall dissolve, and the members
thereof shall be released and discharged from all rights and duties arising from, or related to, the
Chapter 11 Cases, provided that following the Effective Date, the Creditors’ Committee shall
continue in existence and have standing and a right to be heard for the following limited
purposes: (a) Claims and/or applications, and any relief related thereto, for compensation by
Professional Persons retained in the Chapter 11 Cases pursuant to sections 327, 328, 329, 330,
331, 503(b), or 1103 of the Bankruptcy Code and requests for allowance of Administrative
Expense Claims for substantial contribution pursuant to section 503(b)(3)(D) of the Bankruptcy
Code; and (b) any appeals of the Confirmation Order or other appeals to which the Creditors’
Committee is a party.




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       Dated: April 9, 2021
             Houston, Texas
                                         Respectfully submitted,


                                         FIELDWOOD ENERGY LLC

                                         By: Fieldwood Energy Inc., its managing member


                                         By: -�tV)
                                         Name: Thomas R. Lamme
                                                              1?, �
                                         Title: Senior Vice President and General Counsel

                                         FIELDWOOD ENERGY INC.


                                         By: �� � · �..Arv�Q
                                         Name: Thomas R. Lamme
                                         Title: Senior Vice President and General Counsel

                                         FIELDWOOD ENERGY OFFSHORE LLC


                                         By:��\?.
                                         Name: Thomas R. Lamme
                                                                       f>�
                                         Title: Vice President

                                         FIELDWOOD ONSHORE LLC


                                         By:  ;J;Ro� � • �
                                         Name: Thomas R. Lamme
                                         Title: Vice President

                                         FIELDWOOD SD OFFSHORE LLC


                                         By:
                                         Name: Thomas R. Lamme
                                         Title: Vice President




[Signature Page to Fourth Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors]
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                                         FIELDWOOD OFFSHORE LLC

                                         By:Fieldwood Energy LLC, its managing member

                                         By:Fieldwood Energy Inc., its managing member


                                         By:���-��
                                         Name: Thomas R. Lamme
                                         Title: Senior Vice President and General Counsel

                                         DYNAMIC OFFSHORE RESOURCES NS, LLC


                                         By:�R-f�
                                         Name: Thomas R. Lamme
                                         Title: Vice President

                                         FW GOM PIPELINE, INC.


                                         By:  Po�\<-.�
                                         Name: Thomas R. Lamme
                                         Title: Vice President

                                         GOM SHELF LLC

                                         By: Fieldwood Energy LLC, its managing member

                                         By: Fieldwood Energy Inc., it managing member



                                         Name: Thomas R. Lamme
                                         Title: Senior Vice President and General Counsel

                                         BANDON OIL AND GAS GP, LLC


                                         By:   e=-lv\Jv--evb Q_ . �
                                         Name: Thomas R. Lamme
                                         Title: Vice President




[Signature Page to Fourth Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors]
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                                         BANDON OIL AND GAS, LP

                                         By: Bandon Oil and Gas, LLC, its general partner

                                         By: ��
                                         Name: Thomas R. Lamme
                                                                     R. ef?�
                                         Title: Vice President

                                         FIELDWOOD ENERGY SP LLC


                                         By: � � .                      l:c>�-""""'--e'....
                                         Name: Thomas R. Lamme
                                         Title: Vice President

                                         GALVESTON BAY PIPELINE LLC

                                         By: Fieldwood Onshore LLC, its managing member


                                         By:�R-�
                                         Name: Thomas R. Lamme
                                         Title: Vice President

                                         GALVESTON BAY PROCESSING LLC

                                         By: Fieldwood Onshore LLC, its managing member


                                         By:J-�\<-�
                                         Name: Thomas R. Lamme
                                         Title: Vice President




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                                  Exhibit B
       Leases, Rights of Way and Rights of Use and Easement Related to
                      Purchased Oil & Gas Lease Interests
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                                                Purchased Oil & Gas Lease Interests*
                                                                                   Le Cur Acres                                        Lease
      Block        Lease          Type          Rights          Date Le Eff                            Operator            WI                        Note†
                                                                                       (Ac)                                            Status
                                                                                                      Murphy E&P
    AT 023       G35015          Federal          RT             8/1/2013              5,760              USA                 8%      PRIMARY
    BS 25        G31442          Federal          RT             2/1/2008              2,079           Tana Exp              25%        UNIT
    BS 25        SL19718          SL-LA           WI             7/9/2008               154            Tana Exp              25%       Active
                                                                                                      Southern Oil
      BS 45      SL15683          SL-LA          WI A           4/14/1997                –            of Louisiana           38%        UNIT          [2]
                                                                                                      Southern Oil
      BS 52      SL17675          SL-LA          WI A          12/16/2002                –            of Louisiana           38%        UNIT          [3]
                                                                                                      Southern Oil
      BS 52      SL17860          SL-LA           WI            8/18/2003                –            of Louisiana           15%        UNIT
                                                                                                                                        PROD
    EC 345        G15156         Federal         ORRI            8/1/1995              2,500           Talos ERT                1%   (production



*
       The Debtors and the Consenting FLTL Lenders reserve the right to amend, modify, or supplement this schedule subject to any consent rights
       under the Restructuring Support Agreement.
[1]    Represents leases in which the Credit Bid Purchaser is to acquire all of the Debtors' right, title and interest in such lease (less and except the
       right, title and interest acquired by FWE from Apache and/or held by GOM Shelf); as to all remaining leases on this schedule (except those
       referenced in footnotes [5]-[7] below), the Credit Bid Purchaser is to obtain all of the Debtors' right, title and interest in such leases.
[2]    This lease has different ownership in 4 different portions, and a Seller (Fieldwood Offshore) has a working interest (37.5%) in only one of these
       4 portions.
[3]    This lease has different ownership in 3 different portions, and a Seller (Fieldwood Offshore) has a working interest (37.5%) in only one of these
       3 portions.
[4]    Fieldwood Energy Offshore has two ORRIs: a 1.225% ORRI from assignment filed with BOEM 2/09/2015 and another 3.43% (or 49% of 7%)
       ORRI that is granted each year. However, as to the SS 005 ST01 well, its combined ORRI is only 3.92% until 5.8 million barrels of oil equivalent
       from this well.
[5]    The Credit Bid Purchaser to acquire record title solely as to the W/2 and SE/4 of the block. The record title and the Debtors' operating rights
       solely as to the NE/4 of the block are to be abandoned.
[6]    FWE I is to acquire solely the operating rights as to the NE/4 of this block; the Credit Bid Purchaser is to obtain the Debtors' overriding royalty
       interest in this lease; and the Debtors' remaining interests in this lease are to be abandoned.
[7]    Represents leases where the Credit Bid Purchaser is to acquire solely the Debtors' overriding royalty interests; the Debtors' remaining interests
       in these leases are to be abandoned.

Legend: OP 1- Operating Rights 1; OP 2 - Operating Rights 2; OP 3 - Operating Rights 3; OP 4 - Operating Rights 4; OP 5 - Operating Rights 5; OP 6 - Operating
Rights 6; ORRI - Overriding Royalty Interest; RT A - Record Title A; RT B - Record Title B; WI - Working Interest; WI A - Working Interest A
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                                                             Le Cur Acres                             Lease
 Block     Lease     Type      Rights      Date Le Eff                        Operator     WI                  Note†
                                                                 (Ac)                                Status
                                                                                                     ceased
                                                                                                    4/28/20)
EW 1009    G34878   Federal     RT          8/1/2013            5,760       Fieldwood En      50%     UNIT
EW 1010    G34879   Federal     RT          8/1/2013            5,760       Fieldwood En      50%     UNIT
EW 1011    G34880   Federal     RT          8/1/2013            1,500       Fieldwood En      50%     UNIT
 EW 789    G35805   Federal    ORRI         7/1/2016            5,760        Walter O&G        1%     UNIT
 EW 790    G33140   Federal    OP 1         7/1/2009            5,753       Fieldwood En     100%     UNIT
 EW 790    G33140   Federal    OP 2         7/1/2009            5,753       Fieldwood En     100%     UNIT
 EW 790    G33140   Federal    ORRI         7/1/2009            5,753        Walter O&G        1%     UNIT
 EW 790    G33140   Federal    ORRI         7/1/2009            5,753        Walter O&G        1%     UNIT
                                                                            Fieldwood En
 EW 828    G35806   Federal     RT         6/1/2016             3,731            Off         100%   PRIMARY
 EW 834    G27982   Federal    ORRI         7/1/2006            5,760        Walter O&G        1%     UNIT
 EW 835    G33707   Federal    ORRI         5/1/2010             364         Walter O&G        1%     UNIT
GC 039 B   G36476   Federal     RT         9/1/2013              450        Fieldwood En      50%   PRIMARY
 GC 040    G34536   Federal     RT         11/1/2012            5,760       Fieldwood En      50%     UNIT
 GC 041    G34537   Federal     RT         10/1/2012            1,783       Fieldwood En      50%     UNIT
                                                                            Fieldwood En
GC 064     G34539   Federal     RT          8/1/2012            5,760            Off         49%     PROD
                                                                            Fieldwood En
GC 065     G05889   Federal     OP          7/1/1983            5,760            Off         49%     UNIT
                                                                            Fieldwood En
GC 108     G14668   Federal     OP          7/1/1994            5,760            Off         49%     UNIT
                                                                            Fieldwood En
GC 109     G05900   Federal     OP          7/1/1983            5,760            Off          49%     UNIT
GC 153     G36814   Federal     RT         11/1/2019            5,760       Fieldwood En     100%   PRIMARY
                                                                            Fieldwood En
GC 198     G36021   Federal     RT          6/1/2017            5,760            Off         100%   PRIMARY
                                                                            Fieldwood En
GC 200     G12209   Federal     OP          5/1/1990            5,760            Off         53%     UNIT
                                                                            Fieldwood En
GC 200     G12209   Federal     RT          5/1/1990            5,760            Off         100%    UNIT
GC 201     G12210   Federal    ORRI         5/1/1990            5,760       LLOG Exp Off       5%    UNIT
                                                                            Fieldwood En
GC 201     G12210   Federal     RT          5/1/1990            5,760            Off         100%    UNIT       [5]


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                                                              Le Cur Acres                             Lease
  Block     Lease     Type      Rights      Date Le Eff                        Operator      WI                 Note†
                                                                  (Ac)                                 Status
 GC 238     G26302   Federal    ORRI         7/1/2004            5,760         Talos ERT          3%   PROD
                                                                              BHP Billiton
 GC 238     G26302   Federal     OP          7/1/2004            5,760         Pet GOM        40%      PROD
 GC 243     G20051   Federal    ORRI         7/1/1998            5,760        Walter O&G       5%      PROD      [4]
                                                                             Fieldwood En
 GC 244     G11043   Federal     RT          5/1/1989            5,760          Offshore      100%     UNIT
                                                                              BHP Billiton
 GC 282     G16727   Federal     OP          9/1/1996            5,760         Pet GOM         25%     PROD
 GC 282     G16727   Federal    ORRI         9/1/1996            5,760         Talos ERT        2%     PROD
 GC 39 A    G34966   Federal     RT          9/1/2013             540        Fieldwood En      50%     UNIT
 GC 39 A    G34966   Federal     OP          9/1/2013             540        Fieldwood En      50%     UNIT
 GC 679     G21811   Federal    OP 2         7/1/2000            5,760       Fieldwood En      43%     PROD
 GC 679     G21811   Federal     RT          7/1/2000            5,760       Fieldwood En      38%     PROD
 GC 768     G21817   Federal    OP 1         6/1/2000            5,760       Anadarko Pet      50%     PROD
 GC 768     G21817   Federal    OP 2         6/1/2000            5,760       Fieldwood En      43%     PROD
 GC 768     G21817   Federal     RT          6/1/2000            5,760       Fieldwood En     100%     PROD
 GI 110     G13943   Federal     RT          8/1/1993            5,000       Fieldwood En      50%     UNIT      [1]
 GI 116     G13944   Federal     RT          7/1/1993            5,000       Fieldwood En      50%     UNIT      [1]
 GI 116     G13944   Federal     OP          7/1/1993            5,000       Fieldwood En      50%     UNIT      [1]
S/2 GI 32    00174   Federal     RT         7/17/1948            2,500        GOM Shelf        25%     UNIT      [1]
S/2 GI 32    00174   Federal    OP 1        7/17/1948            2,500          BP E&P         25%     UNIT      [1]
S/2 GI 32    00174   Federal    OP 2        7/17/1948            2,500        GOM Shelf        25%     UNIT      [1]
E/2 GI 39    00126   Federal     RT         4/21/1947            2,500        GOM Shelf        25%     UNIT      [1]
E/2 GI 39    00126   Federal    OP 1        4/21/1947            2,500          BP E&P         25%     UNIT      [1]
E/2 GI 39    00126   Federal    OP 2        4/21/1947            2,500        GOM Shelf        25%     UNIT      [1]
 W/2 GI
   39       00127    Federal     RT         4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
 W/2 GI
   39       00127    Federal    OP 1        4/21/1947            2,500         BP E&P         25%      UNIT      [1]
 W/2 GI
   39       00127    Federal    OP 2        4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
E/2 GI 40   00128    Federal     RT         4/21/1947            5,000        GOM Shelf       25%      UNIT      [1]
  GI 40     00128    Federal    OP 1        4/21/1947            5,000         BP E&P         25%      UNIT      [1]
  GI 40     00128    Federal    OP 2        4/21/1947            5,000        GOM Shelf       25%      UNIT      [1]



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                                                              Le Cur Acres                           Lease
  Block     Lease     Type      Rights      Date Le Eff                       Operator     WI                 Note†
                                                                  (Ac)                               Status
E/2 GI 41   00129    Federal     RT         4/21/1947            2,500        GOM Shelf       25%     UNIT     [1]
E/2 GI 41   00129    Federal    OP 1        4/21/1947            2,500         BP E&P         25%     UNIT     [1]
E/2 GI 41   00129    Federal    OP 2        4/21/1947            2,500        GOM Shelf       25%     UNIT     [1]
 W/2 GI
   41       00130    Federal    OP 1        4/21/1947            2,500         BP E&P         25%    UNIT      [1]
 W/2 GI
   41       00130    Federal    OP 2        4/21/1947            2,500        GOM Shelf       25%    UNIT      [1]
 W/2 GI
   41        00130   Federal     RT         4/21/1947            2,500        GOM Shelf       25%     UNIT     [1]
  GI 42      00131   Federal     RT         4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 42      00131   Federal    OP 1        4/21/1947            5,000         BP E&P         25%     UNIT     [1]
  GI 42      00131   Federal    OP 2        4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 43      00175   Federal     RT         7/17/1948            5,000        GOM Shelf       25%     UNIT     [1]
  GI 43      00175   Federal    OP 1        7/17/1948            5,000         BP E&P         25%     UNIT     [1]
  GI 43      00175   Federal    OP 2        7/17/1948            5,000        GOM Shelf       25%     UNIT     [1]
N/2 GI 44    00176   Federal     RT         7/17/1948            2,500        GOM Shelf       25%     UNIT     [1]
N/2 GI 44    00176   Federal    OP 1        7/17/1948            2,500         BP E&P         25%     UNIT     [1]
N/2 GI 44    00176   Federal    OP 2        7/17/1948            2,500        GOM Shelf       25%     UNIT     [1]
  GI 46      00132   Federal     RT         4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 46      00132   Federal    OP 1        4/21/1947            5,000         BP E&P         25%     UNIT     [1]
  GI 46      00132   Federal    OP 2        4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 47      00133   Federal     RT         4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 47      00133   Federal    OP 1        4/21/1947            5,000         BP E&P         25%     UNIT     [1]
  GI 47      00133   Federal    OP 2        4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 48      00134   Federal     RT         4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
  GI 48      00134   Federal    OP 1        4/21/1947            5,000         BP E&P         25%     UNIT     [1]
  GI 48      00134   Federal    OP 2        4/21/1947            5,000        GOM Shelf       25%     UNIT     [1]
N/2 GI 52    00177   Federal     RT         7/17/1948            2,500        GOM Shelf       25%     UNIT     [1]
N/2 GI 52    00177   Federal    OP 2        7/17/1948            2,500         BP E&P         25%     UNIT     [1]
 HI 176     G27509   Federal    ORRI         1/1/2006            5,760        Castex Off       3%    PROD
 MC 110     G18192   Federal     RT          8/1/1997            5,760          Talos          8%    PROD      [1]
 MC 110     G18192   Federal     OP          8/1/1997            5,760          Talos          8%    PROD      [1]
 MC 118     G35963   Federal     RT          8/1/2017            5,760       Chevron USA       5%   PRIMARY
 MC 119     G36537   Federal     RT          7/1/2019            5,760       Chevron USA       5%   PRIMARY



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                                                            Le Cur Acres                          Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI               Note†
                                                                (Ac)                              Status
MC 162   G36880   Federal      RT          8/1/2020            5,760       Chevron USA      5%   PRIMARY
MC 163   G36538   Federal      RT          7/1/2019            5,760       Chevron USA      5%   PRIMARY
MC 171   G34428   Federal      RT         12/1/2012            5,760       Fieldwood En   100%   PRIMARY
MC 172   G34429   Federal      RT         12/1/2012            5,760       Fieldwood En   100%   PRIMARY
MC 206   G36540   Federal      RT          7/1/2019            5,760       Chevron USA      5%   PRIMARY
MC 297   G34434   Federal      RT         11/1/2012            5,760       Fieldwood En    70%   PRIMARY
MC 380   G36544   Federal      RT          7/1/2019            5,760       Fieldwood En   100%   PRIMARY
MC 424   G36545   Federal      RT          7/1/2019            5,760       Fieldwood En   100%   PRIMARY
MC 435   G36772   Federal      RT         11/1/2019            5,760       Fieldwood En   100%   PRIMARY
MC 436   G36773   Federal      RT         11/1/2019            5,760       Fieldwood En   100%   PRIMARY
MC 474   G35825   Federal      RT          7/1/2016            5,760          BP E&P       24%   PRIMARY
MC 474   G35825   Federal      OP          7/1/2016            5,760          BP E&P       13%   PRIMARY
MC 518   G35828   Federal      RT          7/1/2016            5,760          BP E&P       24%   PRIMARY
MC 518   G35828   Federal      OP          7/1/2016            5,760          BP E&P       13%   PRIMARY
MC 519   G27278   Federal      RT          7/1/2005            5,760          BP E&P       65%    PROD
MC 519   G27278   Federal     OP 2         7/1/2005            5,760       Fieldwood En    49%    PROD
MC 519   G27278   Federal     OP 3         7/1/2005            5,760       Fieldwood En    49%    PROD
MC 519   G27278   Federal     OP 4         7/1/2005            5,760          BP E&P       26%    PROD
MC 519   G27278   Federal     OP 5         7/1/2005            5,760          BP E&P       26%    PROD
MC 519   G27278   Federal     OP 6         7/1/2005            5,760          BP E&P       26%    PROD
MC 562   G19966   Federal      RT         7/1/1998             5,760          BP E&P       13%    PROD
MC 562   G19966   Federal     OP 2         7/1/1998            5,760          BP E&P       13%    PROD
MC 562   G19966   Federal     OP 3         7/1/1998            5,760          BP E&P       13%    PROD
MC 563   G21176   Federal     OP 2         7/1/1999            5,760       Fieldwood En    23%    PROD
                                                                            Kosmos En
MC 563   G21176   Federal     ORRI        3/17/1999            5,760          GOM Op        0%    PROD
MC 691   G36400   Federal      RT         12/1/2018            5,760       Fieldwood En    50%   PRIMARY
MC 697   G28021   Federal      RT         4/1/2006              540        Fieldwood En    54%     UNIT
MC 698   G28022   Federal      RT         7/1/2006             5,760       Fieldwood En    54%     UNIT
MC 742   G32343   Federal     RT B         9/1/2008            1,440       Fieldwood En    54%     UNIT
MC 742   G32343   Federal     RT A         9/1/2008            4,320       Fieldwood En   100%     UNIT
MC 743   G36401   Federal      RT         11/1/2018            5,760       Chevron USA     25%   PRIMARY
MC 782   G33757   Federal      RT         7/1/2010             5,760       Fieldwood En    45%    PROD
MC 789   G36557   Federal      RT         7/1/2019             5,760       Fieldwood En   100%   PRIMARY



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                                                            Le Cur Acres                            Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI                    Note†
                                                                (Ac)                                Status
MC 793   G33177   Federal     ORRI         7/1/2009            5,760        Walter O&G       1%      UNIT
MC 904   G36566   Federal      RT         7/1/2019             5,760       Fieldwood En     59%    PRIMARY
MC 905   G36405   Federal      RT         11/1/2018            5,760       Fieldwood En     59%    PRIMARY
MC 948   G28030   Federal      RT         7/1/2006             5,760       Fieldwood En     59%      UNIT
MC 949   G32363   Federal      RT         7/1/2008             5,760       Fieldwood En     59%      UNIT
MC 992   G24133   Federal     RT A         7/1/2002            5,760       Fieldwood En     53%      UNIT
MC 992   G24133   Federal     RT B         7/1/2002            5,760       Fieldwood En     59%      UNIT
MC 993   G24134   Federal     RT A         7/1/2002            5,760       Fieldwood En     45%      UNIT
MC 993   G24134   Federal     RT B         7/1/2002            5,760       Fieldwood En     59%      UNIT
SM 149   G02592   Federal      RT         5/1/1974             2,500       Fieldwood En     50%     PROD         [1]
SM 149   G02592   Federal      OP          5/1/1974            2,500       Fieldwood En     50%     PROD         [1]
SM 149   G02592   Federal     ORRI         5/1/1974            2,500       Fieldwood En      4%     PROD         [1]
                                                                           Fieldwood En
SM 40    G13607   Federal      RT         8/1/1992             5,000            Off       100%     TERMIN
                                                                           Fieldwood En
SM 41    G01192   Federal     OP 1        6/1/1962             5,000            Off       100%       PROD        [1]
                                                                                                     PROD
                                                                                                  (production
                                                                                                    ceased
SM 48     00786   Federal     ORRI        2/24/1960            5,000       Fieldwood En      3%    8/16/20)      [1]
SP 61    G01609   Federal     ORRI         7/1/1967            5,000       Fieldwood En     19%      UNIT        [6]
                                                                                                      SOP
                                                                                                   extension
                                                                           Fieldwood En             request
SS 301   G10794   Federal      RT         5/1/1989             5,000            Off         65%     pending      [1]
                                                                                                      SOP
                                                                                                   extension
                                                                           Fieldwood En             request
SS 301   G10794   Federal     OP 1        5/1/1989             5,000            Off       100%      pending      [1]
                                                                           Fieldwood En
SS 79    G15277   Federal      RT         8/1/1995             5,000            Off         33%     PROD
                                                                           Fieldwood En
SS 79    G15277   Federal     OP 1        8/1/1995             5,000            Off        51%      PROD
ST 287   G24987   Federal      RT         5/1/2003             5,000       Fieldwood En   100%      PROD
ST 287   G24987   Federal     OP 1        5/1/2003             5,000       Fieldwood En   100%      PROD


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                                                            Le Cur Acres                            Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI                    Note†
                                                                (Ac)                                Status
ST 287   G24987   Federal    OP 2          5/1/2003            5,000       Fieldwood En    50%      PROD
ST 308   G21685   Federal     RT           6/1/2000            5,000       Fieldwood En   100%      PROD
ST 308   G21685   Federal    OP 1          6/1/2000            5,000       Fieldwood En   100%      PROD
ST 308   G21685   Federal    OP 2          6/1/2000            5,000       Fieldwood En    50%      PROD
ST 53    G04000   Federal     RT          3/1/1979             5,000       Fieldwood En    50%      PROD         [1]
ST 53    G04000   Federal    OP 1          3/1/1979            5,000       Fieldwood En    50%      PROD         [1]
ST 53    G04000   Federal    OP 2          3/1/1979            5,000       Fieldwood En    50%      PROD         [1]
ST 67     00020   Federal    CONT         4/25/1947            5,000       Fieldwood En    20%       UNIT        [1]
                                                                           Fieldwood En
VR 229   G27070   Federal     RT A        5/1/2005             1,250            Off         50%     PROD
                                                                           Fieldwood En
VR 229   G27070   Federal     RT B        5/1/2005             3,750            Off         50%      PROD
                                                                                                     UNIT
                                                                                                  (production
                                                                           Fieldwood En             ceased
VR 362   G10687   Federal      RT         6/1/1989             5,000            Off       100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                           Fieldwood En             ceased
VR 362   G10687   Federal      OP         6/1/1989             5,000            Off         83%    8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                                                    ceased
VR 363   G09522   Federal      RT         5/1/1988             5,000       Fieldwood En   100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                           Fieldwood En             ceased
VR 363   G09522   Federal     OP 1        5/1/1988             5,000            Off       100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                                                    ceased
VR 363   G09522   Federal     OP 2        5/1/1988             5,000       Fieldwood En   100%     8/22/20)
                                                                                                     UNIT
VR 363   G09522   Federal     OP 3        5/1/1988             5,000       Fieldwood En     50%   (production




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                                                            Le Cur Acres                              Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI                   Note†
                                                                (Ac)                                 Status
                                                                                                     ceased
                                                                                                    8/22/20)
                                                                           Fieldwood En
VR 371   G09524   Federal      RT         7/1/1988             5,000            Off       100%       PROD
                                                                           Fieldwood En
VR 371   G09524   Federal      OP          7/1/1988            5,000            Off        83%       PROD
 VR 78   G04421   Federal      RT         11/1/1980            5,000       Fieldwood En   100%       PROD
 VR 78   G04421   Federal      OP         11/1/1980            5,000       Fieldwood En    81%       PROD
WD 57,
WD 79,                                                                     Fieldwood En
WD 80    G01449   Federal     ORRI        5/1/1966             3,125            Off            3%    UNIT       [7]
S/2 WD
  67     00179    Federal      RT         7/17/1948            2,500        GOM Shelf       25%      UNIT       [1]
S/2 WD
  67     00179    Federal     OP 1        7/17/1948            2,500         BP E&P         25%      UNIT       [1]
S/2 WD
  67     00179    Federal     OP 2        7/17/1948            2,500        GOM Shelf       25%      UNIT       [1]
S/2 WD
  68     00180    Federal      RT         7/17/1948            1,833        GOM Shelf       25%      UNIT       [1]
S/2 WD
  68     00180    Federal     OP 1        7/17/1948            1,833         BP E&P         25%      UNIT       [1]
S/2 WD
  68     00180    Federal     OP 2        7/17/1948            1,833        GOM Shelf       25%      UNIT       [1]
WD 69    00181    Federal      RT         7/17/1948            3,665        GOM Shelf       25%      UNIT       [1]
WD 69    00181    Federal     OP 1        7/17/1948            3,665          BP E&P        25%      UNIT       [1]
WD 69    00181    Federal     OP 2        7/17/1948            3,665        GOM Shelf       25%      UNIT       [1]
WD 70    00182    Federal      RT         7/17/1948            5,000        GOM Shelf       25%      UNIT       [1]
WD 70    00182    Federal     OP 1        7/17/1948            5,000          BP E&P        25%      UNIT       [1]
WD 70    00182    Federal     OP 2        7/17/1948            5,000        GOM Shelf       25%      UNIT       [1]
WD 71    00838    Federal      RT         4/1/1960             5,000        GOM Shelf       25%      UNIT       [1]
WD 71    00838    Federal     OP 1         4/1/1960            5,000          BP E&P        25%      UNIT       [1]
WD 71    00838    Federal     OP 2         4/1/1960            5,000        GOM Shelf       25%      UNIT       [1]
WD 79,                                                                     Fieldwood En
WD 80    G01874   Federal     ORRI        12/1/1968            3,438            Off            3%    UNIT       [7]




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                                                           Le Cur Acres                                 Lease
Block   Lease     Type      Rights       Date Le Eff                        Operator        WI                    Note†
                                                               (Ac)                                     Status
                                                                          Fieldwood En
WD 80   G01989   Federal     ORRI        8/1/1970             1,875             Off              3%     UNIT       [7]
                                                                          Fieldwood En
WD 80   G02136   Federal     ORRI         1/1/1972             938              Off           3%        UNIT       [7]
WD 94    00839   Federal      RT         5/1/1960             5,000         GOM Shelf        25%        PROD       [1]
WD 94    00839   Federal     OP 1         5/1/1960            5,000         GOM Shelf        25%        PROD       [1]
WD 95   G01497   Federal      RT         12/1/1966            5,000         GOM Shelf        25%        PROD       [1]
WD 95   G01497   Federal     OP 1        12/1/1966            5,000         GOM Shelf        25%        PROD       [1]
WD 95   G01497   Federal     OP 2        12/1/1966            5,000         GOM Shelf        25%        PROD       [1]
WD 96   G01498   Federal      RT         12/1/1966            3,665         GOM Shelf        25%        PROD       [1]
WD 96   G01498   Federal     OP 1        12/1/1966            3,665           BP E&P         25%        PROD       [1]
WD 96   G01498   Federal     OP 2        12/1/1966            3,665         GOM Shelf        25%        PROD       [1]
                                                                          Fieldwood SD
  -      5749    SL-TX        WI              -                 -            Offshore       100%        UNIT
                                                                          Fieldwood SD
  -      5797    SL-TX        WI              -                 -            Offshore       100%       TERMIN
                                                                              Tellus
                                                                            Operating
  -     23017    SL-MS       ORRI                                           Group LLC            1%      UNIT
                                                                            Fieldwood                 TERMINATE
  -     24318    SL-TX        WI              -                 -            Onshore        100%          D
                                                                            Fieldwood
                                                                          Energy Offshore
  -     106158   SL-TX        WI              -                 -               LLC         100%       TERMIN
                                                                            Fieldwood
                                                                          Energy Offshore
  -     106159   SL-TX        WI              -                 -               LLC         100%       TERMIN
                                                                            Fieldwood
                                                                          Energy Offshore
  -     114921   SL-TX        WI              -                 -               LLC         100%       TERMIN
                                                                          Whiting Oil &
  -     170650   SL-MS       ORRI                                              Gas               1%     UNIT
                                                                          Fieldwood SD
  -     172915   SL-TX        WI              -                 -            Offshore       100%       ACTIVE



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                                                            Le Cur Acres                                Lease
Block   Lease    Type       Rights       Date Le Eff                         Operator       WI                    Note†
                                                                (Ac)                                    Status
                                                                           Fieldwood SD
  -     172916   SL-TX        WI              -                  -            Offshore      100%        ACTIVE
                                                                                                      TERMINATE
  -     178537   SL-TX        WI              -                  -           Fieldwood      100%          D
                                                                                                      TERMINATE
  -     183756   SL-TX        WI              -                  -           Fieldwood      100%          D
                                                                             Fieldwood                TERMINATE
  -     185633   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood
  -     186891   SL-TX        WI              -                  -            Onshore       100%       ACTIVE
                                                                           Fieldwood SD
  -     191681   SL-TX        WI              -                  -            Offshore      100%       ACTIVE
  -     207398   SL-TX        WI              -                  -           Fieldwood       90%       ACTIVE
                                                                             Fieldwood
  -     227360   SL-TX        WI              -                  -            Onshore        74%       ACTIVE
                                                                           Black Jack Oil
  -     230140   SL-MS       ORRI                                              Co Inc            1%     UNIT
                                                                           Wilcox Energy
  -     230150   SL-MS       ORRI                                                Co              1%     UNIT
                                                                           Wilcox Energy
  -     231240   SL-MS       ORRI                                                Co              1%      UNIT
                                                                             Fieldwood                TERMINATE
  -     234082   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     255675   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     5752     SL-TX        WI              -                  -            Onshore       100%          D
                                                                           Fieldwood SD               TERMINATE
  -     140960   SL-TX        WI              -                  -            Offshore      100%          D
                                                                             Fieldwood                TERMINATE
  -     165888   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     186892   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     176012   SL-TX        WI              -                  -            Onshore       100%          D



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                                                            Le Cur Acres                        Lease
Block   Lease    Type       Rights       Date Le Eff                       Operator    WI                 Note†
                                                                (Ac)                            Status
                                                                           Fieldwood          TERMINATE
  -     179673   SL-TX        WI              -                  -          Onshore    100%       D
                                                                           Fieldwood          TERMINATE
  -     188919   SL-TX        WI              -                  -          Onshore    100%       D
                                                                           Fieldwood          TERMINATE
  -     188921   SL-TX        WI              -                  -          Onshore    100%       D
                                                                           Fieldwood          TERMINATE
  -     269151   SL-TX        WI              -                  -          Onshore    100%       D




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                                                                                             Credit Bid Purchaser ROW
      SEGMENT                                                     ORG                                                                                                                             ROW
                        COMPANY NAME             ORG AREA                    ORG NAME        REC AREA     REC BLOCK        REC NAME           SIZE          PRODUCT             STATUS                          FW LEASE         NOTE3
      NUMBER                                                     BLOCK                                                                                                                           NUMBER
       20200         Fieldwood Energy, LLC           GC            39         K2 SUTA           GC             40          K1 SUTA              5             UBEH               Active          G29427          G34966
       20202         Fieldwood Energy, LLC           GC            40          K1 PLET          ST            308               A               8              BLKO            Proposed          G29427          G34966
                                                                                                                            Start Up
       20203         Fieldwood Energy, LLC           GC            40          K1 PLET          ST            308                              12             CSNG             Proposed          G29427          G34966
                                                                                                                             Flange
                   Fieldwood Energy Offshore
       8255                                          GC            65             A             GC             19              A               12               OIL          Out of Service      G09349          G05889
                              LLC
                   Fieldwood Energy Offshore
       11260                                         GC            65             A             GC             19              A               16               OIL          Out of Service      G17685          G05889
                              LLC
                   Fieldwood Energy Offshore
       20195                                         GC            65             A             GC            200            SUTA               3              UMB             Proposed          G29424          G12209
                              LLC
                   Fieldwood Energy Offshore                                  Mid-Line                                   Md-Line PLET
       20221                                         GC           156                           GC            156                               8              BLKO            Proposed          G29417          G12209
                              LLC                                             PLET A-1                                       A-2
                   Fieldwood Energy Offshore
       20197                                         GC           156          PLET 2           GC            156          A-2 PLET             8              BLKO          Out of Service      G28820          G12209
                              LLC
                   Fieldwood Energy Offshore                                Mid-Lne PLET
       20155                                         GC           156                           GC             65              A                8              BLKO          Out of Service      G29417          G12209
                              LLC                                                A-2
                   Fieldwood Energy Offshore
       20183                                         GC           200           SUTA            GC            244        TROIKA SUTA            5              UMB             Proposed          G29420          G11043
                              LLC
       11393         Fieldwood Energy, LLC           GC           200        SS Manifold        GC             65              A               10              BLKO          Out of Service      G17737          G12210
       11394         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A               24             CSNG           Out of Service      G17737          G12210
       11395         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A                5              UMB           Out of Service      G17737          G12210
       11396         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A               10              BLKG          Out of Service      G17738          G12210
       11397         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A               24             CSNG           Out of Service      G17738          G12210
       11410         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A                5              UMB           Out of Service      G17738          G12210
                   Fieldwood Energy Offshore
       11959                                         GC           200        SSMANIFO           GC             65              A                2              UMB           Out of Service      G17737          G12210
                              LLC
                   Fieldwood Energy Offshore
       12141                                         GC           200        SSMANIFO           GC             65              A                5              UMB           Out of Service      G17738          G12210
                              LLC
                   Fieldwood Energy Offshore
       20196                                         GC           200          PLET-1           GC            156           PLET-2              8              BLKO            Proposed          G29425          G12210
                              LLC
                   Fieldwood Energy Offshore                                                                             Mid-Line PLET
       20222                                         GC           244          PLEM A           GC            156                               8              BLKO            Proposed          G28809          G11043
                              LLC                                                                                             A-1
       9084              GOM Shelf, LLC              GI            43            AS             GI             19             F/S              10               OIL              Active          G12304           00175            [1]
                                                                                                                               A
       19097         Fieldwood Energy, LLC           MC           698        RGL PLET 1         MC            736                               8              BLKO          Out of Service      G29295          G28022
                                                                                                                         Thunderhawk



[1]     FWE I is to obtain 75% of the Debtors' interests in Segment 9084, 50% of the Debtors' interest in Segments 4647 and 5890 and 79.666% of the Debtors' interest in Segment 17265, and the Credit Bid Purchaser is to obtain the
        Debtors' remaining interests in those four pipeline segments.



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SEGMENT                                           ORG                                                                                              ROW
              COMPANY NAME            ORG AREA            ORG NAME      REC AREA   REC BLOCK      REC NAME      SIZE   PRODUCT      STATUS                 FW LEASE   NOTE3
NUMBER                                           BLOCK                                                                                            NUMBER
                                                                                                      A
 19149     Fieldwood Energy, LLC        MC        698    RGL PLET 1       MC          736                        8      BLKO     Out of Service   G29295   G28022
                                                                                                 Thunderhawk
                                                                                                      A
 19296     Fieldwood Energy, LLC        MC        698    RGL PLET 1       MC          736                       12      CSNG     Out of Service   G29294   G28022
                                                                                                 Thunderhawk
 19364     Fieldwood Energy, LLC        MC        698     RGL PLET 1      MC          736             A         12      CSNG     Out of Service   G29295   G28022
                                                           Gulfstar 1
 19362     Fieldwood Energy, LLC        MC        724                     MC          948           UTA1         8      UMB      Out of Service   G29287   G28030
                                                             Spar
                                                               A
 19334     Fieldwood Energy, LLC        MC        736                     MC          692           SUTA         5      UMBH     Out of Service   G29299   G28022
                                                         Thunderhawk
                                                               A
 19283     Fieldwood Energy, LLC        MC        736                     MC          698         BBD SUTA       6      UMB      Out of Service   G29295   G28022
                                                         Thunderhawk
                                                               A
 19297     Fieldwood Energy, LLC        MC        736                     MC          692         North Plet     1      LIFT     Out of Service   G29299   G28022
                                                         Thunderhawk
                                                               A
 19282     Fieldwood Energy, LLC        MC        736                     MC          782        Dan 1 STUA 1    6      UBEH     Out of Service   G29294   G33757
                                                         Thunderhawk
                                                          PLET NPL3                               Gulfstar 1
 19154     Fieldwood Energy, LLC        MC        948                     MC          724                        8      BLKO     Out of Service   G28736   G28030
                                                             HUB                                    SPAR
                                                          PLET SPL2                               Gulfstar 1
 19155     Fieldwood Energy, LLC        MC        948                     MC          724                        8      BLKO     Out of Service   G29287   G28030
                                                             HUB                                    SPAR
                                                          PLET NPL3
 19365     Fieldwood Energy, LLC        MC        948                     MC          767          ILS NPL1     12      CSNG     Out of Service   G28736   G28030
                                                             HUB
                                                          PLET NPL3                               PLET SPL2
 19374     Fieldwood Energy, LLC        MC        948                     MC          948                        8      BLKO     Out of Service   G28736   G28030
                                                             HUB                                     HUB
 19432     Fieldwood Energy, LLC        MC        948     PLET SPL2       MC          768          ILS SPL1     12      CSNG     Out of Service   G29287   G28030
 14292     Fieldwood Energy, LLC        SM        40          JA          SM          40           10"SSTI       6       OIL     Out of Service   G28816   G13607
 14293     Fieldwood Energy, LLC        SM        40          B           SM          40              JA         6      BLKO     Out of Service   G28817   G13607
 14294     Fieldwood Energy, LLC        SM        40          B           SM          40              JA         6      BLKO     Out of Service   G28818   G13607
 14295     Fieldwood Energy, LLC        SM        40          JA          SM          40              B          2      LIFT     Out of Service   G28819   G13607
 4647      Fieldwood Energy, LLC        SM        149      6"SSTI         SM          132             B          6      BLKO     Out of Service   G03432   G02592      [1]
 13736     Fieldwood Energy, LLC        SS        79         #2           SS          80              A          4      BLKO     Out of Service   G23712   G15277
 13737      Fieldwood Energy, LLC       SS        79         #2           SS          80              A          4      BLKO     Out of Service   G23713   G15277
          Fieldwood Energy Offshore
 8204                                   SS        80          A            EI         125          30 SSTI       6       G/C     Out of Service   G09330   G15277
                     LLC
          Fieldwood Energy Offshore
 11050                                  SS        301         A           SS          300             B          8      BLKO     Out of Service   G16055   G10794
                     LLC
 5890       Fieldwood Energy, LLC        ST       53          A           ST          52              A          6       OIL     Out of Service   G09319   G04000      [1]
                                                         Caisson No.
 17265     Fieldwood Energy, LLC         ST       68                      ST          53              A          6      BLKO     Out of Service   G28385   G04000      [1]
                                                              1
 20278     Fieldwood Energy, LLC         ST       308         A           GC          39           K2 SUTA       5      UBEH       Proposed       G29427   G34966
 10675     Bandon Oil and Gas, LP       VR        371         A           VR          350          08 SSTI       6       OIL     Out of Service   G15047   G09524




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                                                  Credit Bid Purchaser RUE

                                  Complex ID                                                   Approval     Associated
Area   Block No.   Structure                   Authority No.   FW Lease        Operator                                    Note
                                     No.                                                         Date          Assets
                                                                                                          MC 698 001, MC
                                                                                                            734 SS002,
                   A (Thunder                                               Fieldwood Energy
MC       736                        2045         G30354        G28022                          07/03/18   SS004, SS005,
                     Hawk)                                                         LLC
                                                                                                          SS006, MC 782
                                                                                                             001 & 002
                                                                                                           SM 41 B2, B3,
                                                                            Fieldwood Energy
SM        40           B            1266         G30342        G13607                          06/21/18   B4, B6 & SM 40
                                                                               Offshore LLC
                                                                                                                 B5
                                                                            Fieldwood Energy              SM 41 B PF and
SM        40          JA            27017        G30352        G13607
                                                                                 Offshore                       wells
                                                                            Fieldwood Energy
SS        80           A            23548        G30201        G15277                          02/07/13     SS 79 A002
                                                                               Offshore LLC
                                                                            Fieldwood Energy
ST        68       CAISS. #1        24108        G30267         00020                          03/09/18      ST 67 #6      [1]
                                                                                   LLC




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                                  Exhibit C
       Leases, Rights of Way and Rights of Use and Easement Related to
                       FWE I Oil & Gas Lease Interests
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                                      Leases Related to FWE I Oil & Gas Lease Interests*
                                                                 Date Le          Le Cur                                                  Lease
     Block        Lease            Type           Rights            Eff           Acres               Operator               WI          Status           Notes†
     BA 491       G06069          Federal           RT          10/1/1983          5,760            Fieldwood En           100.0%        TERMIN
    BA A105       G01757          Federal           RT           7/1/1968          5,760            Fieldwood En            12.5%         PROD              [6]
    BA A-105      G01757          Federal          RT A          7/1/1968          5,760            Fieldwood En            12.5%         PROD              [6]
    BA A-105      G01757          Federal          OP 1          7/1/1968          5,760            Fieldwood En             6.3%         PROD              [6]
    BA A133       G02665          Federal           OP          7/1/1974           5,760              GOM Shelf             12.5%         PROD            [1], [6]
    BA A-133      G02665          Federal           RT          7/1/1974           5,760             GOM Shelf              25.0%         PROD            [1], [6]
     BA A19       G33399          Federal           RT          1/1/2010           5,760          Apache Shelf Exp         100.0%         EXPIR
     BA A47       G03940          Federal           RT          3/1/1979           5,760            Fieldwood En            33.3%        TERMIN
     BA A47       G03940          Federal           OP           3/1/1979          5,760            Fieldwood En           100.0%        TERMIN
     BA A69       G32733          Federal           RT          11/1/2008          5,760          Apache Shelf Exp         100.0%         EXPIR
     BS 39        G33683          Federal           RT          7/1/2010           1,237              Petsec En             18.8%        RELINQ
     BS 41        G21142          Federal          OP 2          5/1/1999          4,995          Fieldwood En Off          13.1%        TERMIN             [3]
     BS 41        G21142          Federal       Contractual     5/1/1999           4,995          Fieldwood En Off            TBD        TERMIN             [3]


*
      The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the Plan and subject to any consent
      rights under the Restructuring Support Agreement.
[1] Represents leases owned by GOM Shelf LLC.
[2] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache; the Credit Bid Purchaser will
    acquire the Debtors' remaining right, title and interest in such leases. As to all remaining leases on this schedule (except the leases referenced in
    footnotes [3]-[7] below), FWE I is to obtain all of FWE's right, title and interest in such leases.
[3] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache. FWE III will acquire the Debtors'
    remaining right, title and interest in such leases.
[4] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache. The Debtors' remaining right, title
    and interest in such leases are to be abandoned.
[5] FWE I is to acquire solely the operating rights as to the NE/4 of this block; the Credit Bid Purchaser is to obtain the Debtors' overriding royalty
    interest in this lease; and the Debtors' remaining interests in the lease are to be abandoned.
[6] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache. The Debtors' remaining right, title
    and interest in such leases are to be acquired by Chevron.
[7] Represents leases in which (i) FWE I is to acquire solely the right, title and interest acquired by FWE from Apache and (ii) FWE IV is to acquire
    solely the right, title and interest acquired by FWE from Chevron. The Debtors' remaining right, title and interest in such leases are to be abandoned.

Legend: CONT - Contractual; OP - Operating Rights; OP 1- Operating Rights 1; OP 2 - Operating Rights 2; OP 3 - Operating Rights 3; OP 4 - Operating Rights 4;
OP 5 - Operating Rights 5; OP 6 - Operating Rights 6; OP 7 - Operating Rights 7; OP 10 - Operating Rights 10; OP 11 - Operating Rights 11; OP 12 - Operating Rights
12; OPRTS - Operating Rights; OPRTS Cont - Operating Rights / Contractual; ORRI - Overriding Royalty Interest; RT - Record Title; RT A - Record Title A; RT B - Record
Title B; WI - Working Interest
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                                         Date Le      Le Cur                                   Lease
Block     Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
 BS 42   G33684    Federal      RT       7/1/2010      4,552      Apache Shelf Exp    37.5%   RELINQ
 CA 42   G32267    Federal     OP 1      7/1/2008      5,000        Fieldwood En      50.0%   RELINQ
 CA 43   G32268    Federal     OP 1      7/1/2008      5,000        Fieldwood En      50.0%    PROD
 CS 71   SL06618    SL-LA      ORRI          -           -                 -           5.2%      -
 CS 71   SL12503    SL-LA      ORRI          -           -                 -           0.6%   TERMIN
DD 253   G10426    Federal      RT       6/1/1990      5,760      Apache Shelf Exp   100.0%    EXPIR
DD 297   G10427    Federal      RT       6/1/1990      5,760      Apache Shelf Exp   100.0%    EXPIR
EB 128   G34034    Federal      RT       4/1/2012       165       Apache Shelf Exp   100.0%   RELINQ
EB 172   G34035    Federal      RT       4/1/2012      5,760      Apache Shelf Exp   100.0%   RELINQ
 EC 12   G34220    Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 EC 14   G13572    Federal      RT       7/1/1992      2,544        Fieldwood En     100.0%   TERMIN
EC 171   G34228    Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 172   G17858    Federal      RT       7/1/1997      5,000        Fieldwood En     100.0%   TERMIN
EC 178   G34229    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 179   G34230    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 185   G34796    Federal      RT       6/1/2013      5,000        Fieldwood En     100.0%   RELINQ
  EC 2   SL16473    SL-LA       WI      7/13/1999       148            Apache         89.1%   RELINQ
  EC 2   SL16475    SL-LA       WI      7/19/1999       135            Apache         89.1%   ACTIVE
  EC 2   SL18121    SL-LA       WI      5/12/2004       220           Fieldwood       50.0%   ACTIVE
EC 222   G02037    Federal     OP 1      2/1/1971      5,000             Talos        17.9%   TERMIN
EC 222   G02037    Federal     OP 2      2/1/1971      5,000             Talos        17.9%   TERMIN
EC 229   G34232    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 230   G34233    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 EC 24   G04098    Federal      RT      10/1/1979      5,000          Apex O&G        18.0%   TERMIN
 EC 24   G04098    Federal     OP 2     10/1/1979      5,000          Apex O&G        31.3%   TERMIN
 EC 24   G04098    Federal     OP 3     10/1/1979      5,000          Apex O&G        30.3%   TERMIN
EC 242   G34234    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 243   G34235    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 261   G00971    Federal      RT       6/1/1962      5,000        Fieldwood En     100.0%   TERMIN
EC 263   G33072    Federal      RT       6/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
EC 264   G01880    Federal      RT       3/1/1969      5,000        Fieldwood En     100.0%   TERMIN
EC 265   G00972    Federal      RT       6/1/1962      5,000        Fieldwood En      50.0%   RELINQ
EC 270   G02045    Federal      RT       1/1/1971      2,500           Apache         70.0%   TERMIN
EC 278   G00974    Federal      RT       6/1/1962      5,000        Fieldwood En      50.0%   TERMIN



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                                         Date Le      Le Cur                                     Lease
 Block    Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
EC 292    G34237   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 293    G34238   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 294    G34239   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 310    G34240   Federal      RT      11/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 328    G10638   Federal      RT      5/1/1989       5,000          Arena Off        100.0%    PROD
 EC 33    G01972   Federal      OP       9/1/1970      1,250           Merit En         15.6%   TERMIN
EC 335    G02439   Federal      OP       8/1/1973      5,000      Energy XXI GOM        14.0%   TERMIN
EC 338    G02063   Federal      RT      2/1/1971       5,000      Anadarko US Off       15.7%    PROD
 EC 37    G25933   Federal      RT       5/1/2004      2,608        Probe Res US       100.0%   TERMIN
EC 370    G33073   Federal      RT       6/1/2009      5,000      Apache Shelf Exp     100.0%    EXPIR
 EC 71    G13576   Federal      RT      9/1/1992       5,000         EC Off Prop       100.0%     SOP
EC 9/14   G01440   Federal      RT       4/1/1966      3,152        Fieldwood En       100.0%    PROD
EC 9/14   G01440   Federal     OP 1      4/1/1966      3,152        Fieldwood En       100.0%    PROD
  EI 10   G23851   Federal      RT       7/1/2002      2,303        Contango Op         50.0%    PROD
  EI 10   G23851   Federal     OP 2      7/1/2002      2,303        Contango Op         50.0%    PROD
 EI 105    00797   Federal      RT      5/1/1960       5,000        Fieldwood En       100.0%   TERMIN
 EI 106   G17966   Federal     RT A      7/1/1997      5,000           Apache           50.0%   TERMIN
 EI 106   G17966   Federal     RT B      7/1/1997      5,000           Apache          100.0%   TERMIN
 EI 107   G15241   Federal      RT       9/1/1995      5,000           Apache           75.0%   TERMIN
 EI 108   G03811   Federal     OP 1      6/1/1978      5,000        Fieldwood En        60.0%   TERMIN
 EI 108   G03811   Federal     RT A      6/1/1978      5,000        Fieldwood En        60.0%   TERMIN
 EI 108   G03811   Federal     RT B      6/1/1978      5,000        Fieldwood En        71.3%   TERMIN
 EI 116   G34292   Federal      RT      9/1/2012       5,000      Apache Shelf Exp     100.0%    EXPIR
 EI 117   G34293   Federal      RT      10/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
 EI 118   G15242   Federal     RT A      7/1/1995      5,000     Black Elk En Off Op    25.0%   TERMIN
 EI 118   G15242   Federal     RT B      7/1/1995      5,000        Fieldwood En        75.0%   TERMIN
 EI 119    00049   Federal     RT A     8/28/1945      5,000        Fieldwood En        50.0%    PROD
 EI 119    00049   Federal     RT B     8/28/1945      5,000        Fieldwood En       100.0%    PROD
 EI 120    00050   Federal      RT      8/28/1945      5,000        Fieldwood En       100.0%    PROD
 EI 125    00051   Federal      RT      8/28/1945      5,000        Fieldwood En       100.0%   OPERNS
 EI 126    00052   Federal      RT      8/28/1945      5,000        Fieldwood En       100.0%    PROD
 EI 126    00052   Federal      OP      8/28/1945      5,000        Fieldwood En        75.0%    PROD
 EI 128   G34294   Federal      RT      10/1/2012      3,427      Apache Shelf Exp     100.0%   RELINQ
 EI 131   G33625   Federal      RT      6/1/2010       5,000      Apache Shelf Exp     100.0%   RELINQ



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                                        Date Le      Le Cur                                     Lease
Block    Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
EI 132   G33626   Federal      RT      6/1/2010       5,000      Apache Shelf Exp     100.0%   RELINQ
EI 135   G34296   Federal      RT      10/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EI 136   G03152   Federal      RT      7/1/1975       5,000        Fieldwood En       100.0%    PROD
EI 156   G16353   Federal      OP      6/1/1996       5,000     Black Elk En Off Op    50.0%   TERMIN
EI 158   G01220   Federal      RT       6/1/1962      5,000        Fieldwood En       100.0%    PROD
EI 173   G13622   Federal      RT      7/1/1992       5,000        Fieldwood En       100.0%    PROD
EI 174   G03782   Federal      RT      6/1/1978       5,000          Arena Off        100.0%    PROD
EI 174   G03782   Federal      OP      6/1/1978       5,000          Arena Off         30.0%    PROD
EI 175    00438   Federal     OP 1     12/1/1954      5,000        Fieldwood En        75.0%    PROD     [4]
EI 187   G10736   Federal      RT      7/1/1989       5,000        Fieldwood En       100.0%    PROD
EI 188    00443   Federal      RT      1/1/1955       5,000           Apache          100.0%   TERMIN
EI 189    00423   Federal      RT      12/1/1954      3,750        Fieldwood En       100.0%    PROD
EI 196    00802   Federal      RT      5/1/1960       3,516        Fieldwood En        50.0%   RELINQ
EI 196    00802   Federal      OP       5/1/1960      3,516        Fieldwood En       100.0%   RELINQ
EI 196   G13821   Federal     OP 2     5/1/1960       1,484          Arena Off        100.0%   RELINQ
EI 196   G13821   Federal     OP 4     5/1/1960       1,484          Arena Off        100.0%   RELINQ
 EI 20   G34286   Federal      RT      10/1/2012      3,582         Castex Off         50.0%   RELINQ
EI 207   G34301   Federal      RT       8/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EI 208    00577   Federal      OP      9/1/1955       2,500         ANKOR En          100.0%    PROD
EI 211   G05502   Federal     RT B      7/1/1983      5,000        Fieldwood En        66.7%     UNIT
EI 211   G05502   Federal      OP       7/1/1983      5,000        Chevron USA         66.7%     UNIT
EI 212   G05503   Federal     RT B      7/1/1983      5,000        Fieldwood En        66.7%     UNIT
EI 212   G05503   Federal      OP       7/1/1983      5,000        Chevron USA         66.7%     UNIT
EI 216   G34303   Federal      RT      8/1/2012       5,000      Apache Shelf Exp     100.0%   RELINQ
EI 217   G00978   Federal      RT      5/1/1962       5,000          Arena Off         25.0%   RELINQ
EI 224   G05504   Federal     ORRI      7/1/1983      5,000         Castex Off        10.0%     PROD
EI 224   G05504   Federal      RT      7/1/1983       5,000         Castex Off        100.0%    PROD
EI 227    00809   Federal      RT      5/1/1960       5,000          Arena Off         50.0%   RELINQ
EI 227   G36745   Federal     ORRI     11/1/2019      5,000          Arena Off         6.25%   PRIMRY
EI 227   G36745   Federal     ORRI     11/1/2019      5,000          Arena Off         4.17%   PRIMRY
EI 246    00810   Federal     OP 1      5/1/1960      5,000        Fieldwood En        25.0%     UNIT
EI 246    00810   Federal     OP 2      5/1/1960      5,000        Fieldwood En        75.0%     UNIT
EI 246    00810   Federal      RT      5/1/1960       5,000        Fieldwood En        75.0%     UNIT
EI 246    00810   Federal     ORRI      5/1/1960      5,000       Sanare En Part        6.3%     UNIT



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                                           Date Le    Le Cur                                  Lease
Block    Lease     Type       Rights          Eff     Acres          Operator         WI     Status   Notes†
EI 255   G01958   Federal       RT        1/1/1970     2,500          Cox Op          2.0%    PROD
EI 255   G01958   Federal      OP 3        1/1/1970    2,500          Cox Op         77.2%    PROD
EI 255   G01958   Federal      OP 4        1/1/1970    2,500          Cox Op         38.6%    PROD
EI 266    00811   Federal      OP 1       5/1/1960     5,000       Fieldwood En      25.0%     UNIT
EI 266    00811   Federal      OP 2        5/1/1960    5,000       Fieldwood En      75.0%     UNIT
EI 266    00811   Federal       RT        5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 267    00812   Federal       OP         5/1/1960    5,000       Fieldwood En      25.0%     UNIT
EI 267    00812   Federal      OP 2        5/1/1960    5,000       Fieldwood En      75.0%     UNIT
EI 267    00812   Federal       RT        5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 269    00813   Federal      OP 1        5/1/1960    5,000       Fieldwood En      25.0%     UNIT
EI 269    00813   Federal      OP 2        5/1/1960    5,000       Fieldwood En      75.0%     UNIT
EI 269    00813   Federal       RT        5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 280   G23876   Federal       RT        5/1/2002     5,000     Energy XXI GOM      18.8%   TERMIN
EI 281   G09591   Federal       RT         5/1/1988    5,000        Bennu O&G        90.5%   TERMIN
EI 281   G09591   Federal      OP 1        5/1/1988    5,000        Bennu O&G        45.3%   TERMIN
EI 281   G09591   Federal      OP 2        5/1/1988    5,000        Bennu O&G        45.3%   TERMIN
EI 281   G09591   Federal      OP 3        5/1/1988    5,000        Bennu O&G        45.3%   TERMIN
EI 282   G09592   Federal       RT         6/1/1988    5,000          Apache         75.0%   TERMIN
EI 282   G09592   Federal      OP 1        6/1/1988    5,000          Apache         75.0%   TERMIN
EI 282   G09592   Federal      OP 2        6/1/1988    5,000          Apache         75.0%   TERMIN
 EI 29   G34287   Federal       RT        12/1/2012    5,000     Apache Shelf Exp    50.0%   RELINQ
EI 307   G02110   Federal       OP         2/1/1971    2,500     Fieldwood En Off    25.0%   TERMIN    [4]
EI 312   G22679   Federal       RT        6/1/2001     5,000       Fieldwood En     100.0%   TERMIN    [4]
EI 312   G22679   Federal      ORRI        6/1/2001    5,000       Fieldwood En       8.3%   TERMIN    [4]
EI 313   G02608   Federal       RT        5/1/1974     5,000         Arena Off       50.0%   TERMIN
EI 313   G02608   Federal      OP 1       5/1/1974     5,000         Arena Off       50.0%   TERMIN
EI 313   G02608   Federal      OP 2       5/1/1974     5,000         Arena Off       50.0%   TERMIN
EI 315   G02112   Federal       RT        8/1/1974     2,500       Fieldwood En      50.0%   TERMIN
EI 315   G02112   Federal       OP         8/1/1974    2,500       Fieldwood En      50.0%   TERMIN
EI 315   G24912   Federal       RT        5/1/2003     2,500       Fieldwood En     100.0%    PROD
EI 316   G05040   Federal       RT        4/1/1982     5,000       Fieldwood En     100.0%    PROD
EI 329   G02912   Federal       RT        12/1/1974    5,000       Fieldwood En     100.0%   TERMIN
EI 330   G02115   Federal   Contractual   1/1/1971     5,000       Fieldwood En      63.0%     UNIT    [4]
EI 330   G02115   Federal      OP 7        1/1/1971    5,000       Fieldwood En      47.0%     UNIT    [4]



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                                        Date Le      Le Cur                                  Lease
Block    Lease     Type      Rights        Eff       Acres           Operator        WI     Status   Notes†
EI 330   G02115   Federal     OP 6      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 5      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 4      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 3      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 2      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal      RT       1/1/1971      5,000        Fieldwood En     42.0%     UNIT     [4]
EI 330   G02115   Federal      RT       1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 7      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 6      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 5      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 4      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 3      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 2      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 333   G02317   Federal      RT       2/1/1973      5,000        Fieldwood En    100.0%   TERMIN
EI 334   G15263   Federal      RT       7/1/1995      5,000        Fieldwood En    100.0%   TERMIN
EI 337   G03332   Federal      RT       3/1/1976      5,000        Fieldwood En    100.0%     UNIT
EI 337   G03332   Federal     OP 4      3/1/1976      5,000        Fieldwood En     98.0%     UNIT
EI 337   G03332   Federal     OP 1      3/1/1976      5,000        Fieldwood En    100.0%     UNIT
EI 337   G03332   Federal     OP 3      3/1/1976      5,000        Fieldwood En    100.0%     UNIT
EI 337   G03332   Federal     ORRI      3/1/1976                   Fieldwood En      0.1%     UNIT
EI 342   G02319   Federal     RT A      2/1/1973     5,000         Fieldwood En     50.0%   TERMIN     [6]
EI 342   G02319   Federal     RT B      2/1/1973     5,000         Fieldwood En     75.0%   TERMIN     [6]
EI 342   G02319   Federal     OP 1      2/1/1973     5,000         Fieldwood En     75.0%   TERMIN     [6]
EI 342   G02319   Federal     OP 2      2/1/1973     5,000         Fieldwood En     61.8%   TERMIN     [6]
EI 345   G21647   Federal      RT       7/1/2000     5,000         Fieldwood En     50.0%   TERMIN
EI 346   G14482   Federal      RT       6/1/1994     5,000           Arena Off     100.0%    PROD
EI 353   G03783   Federal      OP       6/1/1978     5,000         Fieldwood En    100.0%   TERMIN
EI 354   G10752   Federal      RT       5/1/1989     5,000         Fieldwood En    100.0%    PROD
EI 354   G10752   Federal      OP       5/1/1989     5,000         Fieldwood En     67.0%    PROD
EI 361   G02324   Federal      RT       2/1/1973     5,000            Cox Op        12.4%    PROD
 EI 53    00479   Federal     OP 1     12/1/1954     5,000        EnVen En Vent     66.7%    PROD      [4]
 EI 53    00479   Federal      OP      12/1/1954     5,000        EnVen En Vent    100.0%    PROD      [4]
 EI 57   G02601   Federal     OP 2      5/1/1974     5,000             Talos        31.7%   TERMIN
 EI 57   G02601   Federal     OP 4      5/1/1974     5,000          ANKOR En        15.8%   TERMIN



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                                         Date Le     Le Cur                                     Lease
 Block   Lease     Type      Rights         Eff      Acres           Operator           WI     Status   Notes†
 EI 88   G10721   Federal      OP       7/1/1989      5,000        Fieldwood En        75.0%   TERMIN
 EI 89    00044   Federal      OP      8/28/1945      5,000        Fieldwood En        75.0%   TERMIN
 EI 89    00044   Federal     OP 2      8/28/1945     5,000        Fieldwood En        75.0%   TERMIN
 EI 90    00229   Federal      OP      11/19/1948     1,250        Fieldwood En        75.0%   TERMIN
 EI 93    00228   Federal      OP      11/19/1948     2,500        Fieldwood En        75.0%   TERMIN
 EI 94   G05488   Federal      OP       7/1/1983      5,000        Fieldwood En        75.0%   TERMIN
 EI 95    00046   Federal      OP      8/28/1945      5,000        Fieldwood En        75.0%   TERMIN
EW 525   G33704   Federal      RT       7/1/2010      2,420      Apache Shelf Exp      46.9%   RELINQ
EW 526   G33134   Federal      RT       6/1/2009      3,517      Apache Shelf Exp     100.0%    EXPIR
EW 781   G33137   Federal      RT       6/1/2009       309       Apache Shelf Exp     100.0%    EXPIR
EW 782   G31470   Federal      RT       12/1/2007     1,093        Fieldwood En       100.0%    PROD     [4]
EW 789   G33139   Federal      RT       7/1/2009      5,760      Apache Shelf Exp     100.0%   RELINQ
EW 826   G05800   Federal      RT        7/1/1983     5,760           BP E&P          100.0%    PROD
EW 905   G34415   Federal      RT       8/1/2012      1,007      Apache Shelf Exp     100.0%   RELINQ
EW 906   G33708   Federal      RT       6/1/2010      1,084      Apache Shelf Exp     100.0%   RELINQ
EW 949   G34877   Federal      RT       8/1/2013      5,760      Apache Shelf Exp     100.0%   RELINQ
EW 950   G33709   Federal      RT       6/1/2010      5,760      Apache Shelf Exp     100.0%   RELINQ
FM 411   G08361   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 412   G08362   Federal      RT        8/1/1986     5,760        Chevron USA         16.0%    EXPIR
FM 455   G08363   Federal      RT        8/1/1986     5,760        Chevron USA         24.2%    EXPIR
FM 456   G08364   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 499   G08365   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 500   G08366   Federal      RT        8/1/1986     5,760        Chevron USA         16.0%    EXPIR
FM 543   G08367   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 587   G08368   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
GA 151   G15740   Federal      RT       11/1/1995     4,804        Fieldwood En        33.3%   TERMIN    [4]
GA 180   G03228   Federal      RT        9/1/1975     5,760        Fieldwood En       100.0%     UNIT
GA 192   G03229   Federal    CONT       9/1/1975      5,760          Arena Off         90.0%     UNIT
GA 210   G25524   Federal     OP 1      12/1/2003     5,760        Fieldwood En        83.3%    PROD     [4]
GA 210   G25524   Federal     OP 3      12/1/2003     5,760        Fieldwood En        66.7%    PROD     [4]
GA 210   G25524   Federal      RT       12/1/2003     5,760        Fieldwood En        66.7%    PROD     [4]
GA 210   G25524   Federal      OP       12/1/2003     5,760        Fieldwood En        83.3%    PROD     [4]
GA 343   G06105   Federal      RT      10/1/1983      5,760     Black Elk En Off Op    12.5%   TERMIN
GA 343   G06105   Federal      OP      10/1/1983      5,760     Black Elk En Off Op    37.5%   TERMIN



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
GB 85    G34515   Federal      RT       8/1/2012      4,450      Apache Shelf Exp   100.0%   RELINQ
GI 104   G33671   Federal      RT       7/1/2010      5,000      Apache Shelf Exp    46.9%   RELINQ
GI 110   G13943   Federal      RT       8/1/1993      5,000        Fieldwood En      50.0%     UNIT     [2]
GI 116   G13944   Federal      RT       7/1/1993      5,000        Fieldwood En      50.0%     UNIT     [2]
GI 116   G13944   Federal      OP       7/1/1993      5,000        Fieldwood En      25.0%     UNIT     [2]
GI 117   G32232   Federal      RT       8/1/2008      4,540           Apache        100.0%    EXPIR
GI 32     00174   Federal      RT      7/17/1948      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 32     00174   Federal     OP 1     7/17/1948      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 32     00174   Federal     OP 2     7/17/1948      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 32    G01580   Federal      RT       7/1/1967      2,500         BP Am Prod       75.0%   TERMIN     [1]
GI 32    G01580   Federal      OP       7/1/1967      2,500         BP Am Prod       37.5%   TERMIN     [1]
GI 33    G04002   Federal      RT       3/1/1979      5,000        Fieldwood En     100.0%   RELINQ
GI 39     00126   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 39     00126   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 39     00126   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 39     00127   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 39     00127   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 39     00127   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 40     00128   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 40     00128   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 40     00128   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 41     00129   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 41     00129   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 41     00129   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 41     00130   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 41     00130   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 41     00130   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 42     00131   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 42     00131   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 42     00131   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 43     00175   Federal      RT      7/17/1948      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 43     00175   Federal     OP 1     7/17/1948      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 43     00175   Federal     OP 2     7/17/1948      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 44     00176   Federal      RT      7/17/1948      2,500         GOM Shelf        75.0%     UNIT   [1], [2]



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
GI 44     00176   Federal     OP 1     7/17/1948      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 44     00176   Federal     OP 2     7/17/1948      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 46     00132   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 46     00132   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 46     00132   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 47     00133   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 47     00133   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 47     00133   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 48     00134   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 48     00134   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 48     00134   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 52     00177   Federal      RT      7/17/1948      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 52     00177   Federal     OP 1     7/17/1948      2,500         GOM Shelf       100.0%     UNIT   [1], [2]
GI 52     00177   Federal     OP 2     7/17/1948      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 54    G27173   Federal      RT       7/1/2005      5,000        Fieldwood En      50.0%   TERMIN
GI 76    G02161   Federal      RT      10/1/1972      5,000        Fieldwood En      95.8%   RELINQ
GI 90    G04003   Federal      RT       3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 90    G04003   Federal     OP 1      3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 90    G04003   Federal     OP 2      3/1/1979      5,000        Fieldwood En      50.0%   TERMIN
GI 90    G04003   Federal     OP 4      3/1/1979      5,000        Fieldwood En      50.0%   TERMIN
GI 90    G04003   Federal     OP 5      3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 90    G04003   Federal     OP 6      3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 93    G02628   Federal      RT       5/1/1974      5,000           BP E&P        100.0%   TERMIN
GI 93    G02628   Federal      OP       5/1/1974      5,000           BP E&P        100.0%   TERMIN
GI 94    G02163   Federal      RT      11/1/1972      4,540        Fieldwood En     100.0%   RELINQ
GI 94    G02163   Federal      OP      11/1/1972      4,540        Fieldwood En     100.0%   RELINQ
GI 98    G34354   Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
HI 110   G02353   Federal      RT      8/1/1973       5,760          W & T Off       20.0%   TERMIN     [1]
HI 111   G02354   Federal      RT      8/1/1973       5,760          W & T Off       20.0%   TERMIN     [1]
HI 114   G32747   Federal      RT      12/1/2008      5,760      Apache Shelf Exp   100.0%    EXPIR
HI 116   G06156   Federal      RT      10/1/1983      5,760        Fieldwood En     100.0%   TERMIN
HI 129   G01848   Federal      RT       6/1/1968      5,760        Fieldwood En      90.0%    PROD
HI 129   G01848   Federal     ORRI      6/1/1968                   Fieldwood En      10.4%    PROD
HI 132   G32748   Federal      RT      12/1/2008     5,760       Apache Shelf Exp   100.0%    EXPIR



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                                          Date Le      Le Cur                                     Lease
Block      Lease     Type      Rights       Eff        Acres           Operator          WI      Status   Notes†
HI 140      00518   Federal      OP      1/1/1955       5,760     Black Elk En Off Op   50.0%    TERMIN
HI 163     G22236   Federal      RT      12/1/2000      5,760        Fieldwood En       70.0%    TERMIN
                               OPRTS
 HI 176    G06164   Federal     Cont     10/1/1983     5,760            Apache           49.5%   TERMIN
 HI 179    G03236   Federal      RT       9/1/1975     5,760            Cox Op          100.0%    UNIT
 HI 193    G03237   Federal    CONT       9/1/1975     5,760           Arena Off         90.0%    UNIT
 HI 194    G06166   Federal      RT      10/1/1983     5,760            Apache          100.0%   TERMIN
 HI 194    G06166   Federal      OP      10/1/1983     5,760            Apache           45.0%   TERMIN
 HI 201    G23199   Federal      OP      12/1/2001     5,760         Apache Shelf        37.6%   TERMIN
 HI 206    G20660   Federal      RT       1/1/1999     5,760         Fieldwood En       100.0%    PROD
 HI 45     G12564   Federal      RT      10/1/1990     4,367         Fieldwood En        16.7%   TERMIN
 HI 45     G12564   Federal     OP 1     10/1/1990     4,367         Fieldwood En        15.0%   TERMIN
 HI 45     G12564   Federal     OP 2     10/1/1990     4,367         Fieldwood En        33.3%   TERMIN
 HI 52      00508   Federal      RT       1/1/1955     1,440       SandRidge En Off      75.0%   TERMIN
 HI 52      00509   Federal      RT       1/1/1955     1,440            Apache           75.0%   TERMIN
 HI 52      00511   Federal      RT       1/1/1955     1,440            Apache           75.0%   TERMIN
 HI 53      00513   Federal      RT       1/1/1955      180          Phoenix Exp         75.0%   TERMIN
 HI 53      00740   Federal      RT       4/1/1960     1,440            Apache           75.0%   TERMIN
HI A-133   G32760   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-145   G32761   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-146   G32762   Federal      RT      11/1/2008     5,760       Apache Shelf Exp     100.0%    EXPIR
HI A-148   G32763   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-160   G32764   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-171   G30679   Federal      RT      12/1/2006     5,760          Walter O&G         33.3%   TERMIN
HI A-326   G32777   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-334   G02423   Federal      RT       8/1/1973     5,760         Fieldwood En        38.9%   TERMIN
HI A-341   G25605   Federal      RT      12/1/2003     5,760         Fieldwood En        60.0%    PROD     [4]
HI A-350   G02428   Federal      RT       8/1/1973     4,345            Apache          100.0%   RELINQ
HI A360    G34677   Federal      RT       3/1/2013     5,760       Apache Shelf Exp     100.0%   RELINQ
HI A361    G34678   Federal      RT       3/1/2013     5,760         Fieldwood En       100.0%   RELINQ
HI A363    G33413   Federal      RT      10/1/2009     5,760       Apache Shelf Exp     100.0%    EXPIR
HI A-365   G02750   Federal      RT       7/1/1974     5,760         Fieldwood En        53.1%    PROD     [4]
HI A-376   G02754   Federal     OP 1      7/1/1974     5,760         Fieldwood En       100.0%    PROD     [4]
HI A-376   G02754   Federal      RT       7/1/1974     5,760         Fieldwood En        44.4%    PROD     [4]



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                                            Date Le      Le Cur                                    Lease
 Block      Lease      Type      Rights        Eff       Acres           Operator          WI      Status   Notes†
HI A-376    G02754    Federal     ORRI      7/1/1974                   Fieldwood En        1.2%     PROD     [4]
HI A-376    G02754    Federal     ORRI      7/1/1974                   Fieldwood En        6.0%     PROD     [4]
HI A-382    G02757    Federal      RT       7/1/1974     5,760         Fieldwood En       72.4%     PROD     [4]
HI A406     G32767    Federal      RT      11/1/2008     5,760            Apache         100.0%    EXPIR
HI A430     G33412    Federal      RT      10/1/2009     5,760       Apache Shelf Exp    100.0%    EXPIR
HI A442     G11383    Federal      OP      11/1/1989     5,760       Northstar Off Grp    22.7%   TERMIN
HI A454     G32769    Federal      RT      11/1/2008     5,760            Apache         100.0%    EXPIR
HI A457     G32770    Federal      RT      11/1/2008     5,760            Apache         100.0%    EXPIR
HI A-474    G02366    Federal      RT       8/1/1973     5,760        McMoRan O&G         10.0%   TERMIN     [4]
HI A-475    G02367    Federal    CONT       8/1/1973     5,760        McMoRan O&G         10.0%   TERMIN     [4]
HI A-489    G02372    Federal      RT       8/1/1973     5,760        McMoRan O&G          8.5%   TERMIN     [4]
HI A537     G02698    Federal    CONT      5/29/1974                  McMoRan O&G                 TERMIN
HI A545     G17199    Federal      OP       1/1/1997     5,760         Fieldwood En       60.0%   TERMIN
HI A-572    G02392    Federal      RT       8/1/1973     5,760            Apache          72.4%   TERMIN     [4]
HI A-573    G02393    Federal      RT       8/1/1973     5,760         Fieldwood En       72.4%     PROD     [4]
HI A-581    G18959    Federal    CONT      8/27/1997                      Cox Op          24.7%   TERMIN     [4]
HI A582     G02719    Federal      RT       7/1/1974     5,760            Cox Op          24.7%     PROD     [4]
HI A-582    G02719    Federal     OP 1      7/1/1974     5,760            Cox Op          15.5%     PROD     [4]
HI A-595    G02721    Federal      RT       7/1/1974     5,760         Fieldwood En       72.4%     PROD     [4]
HI A-596    G02722    Federal      RT       7/1/1974     5,760         Fieldwood En       72.4%     PROD     [4]
 MC 108     G09777    Federal      RT       7/1/1988     5,760            BP E&P          75.2%     PROD
 MC 108     G09777    Federal      OP       7/1/1988     5,760            BP E&P          75.2%     PROD
 MC 110     G18192    Federal      RT       8/1/1997     5,760         Fieldwood En       50.0%     PROD     [2]
 MC 110     G18192    Federal      OP       8/1/1997     5,760         Fieldwood En       25.0%     PROD     [2]
 MC 110     G18192    Federal     ORRI      8/1/1997                   Fieldwood En        3.9%     PROD     [2]
 MC 21      G28351    Federal     ORRI      7/1/1995     4,445          ANKOR En           3.0%     PROD
 MC 311     G02968    Federal      RT      12/1/1974     5,760         Fieldwood En      100.0%     PROD
 MC 65      G21742    Federal      RT       6/1/2000     5,760          ANKOR En         100.0%     PROD
 MC 65      G21742    Federal     ORRI      6/1/2000                    ANKOR En          13.0%     PROD
 MI 486    MF88560    SL - TX      WI      10/5/1982     1,440           Fieldwood       100.0%   EXPIRED
 MI 487    MF-88562   SL - TX      WI      10/5/1982     1,305           Fieldwood       100.0%      SI
 MI 518     G05169    Federal      RT       1/1/1983     5,675         Fieldwood En      100.0%   TERMIN
 MI 518    MF80522    SL - TX      WI      10/2/1979      85             Fieldwood       100.0%   EXPIRED
 MI 519    MF-79413   SL - TX      WI       2/6/1979      739            Fieldwood       100.0%      SI



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                                          Date Le      Le Cur                                     Lease
Block     Lease      Type      Rights        Eff       Acres           Operator         WI       Status     Notes†
MI 622    G05000    Federal      RT       4/1/1982      5,760        Fieldwood En      81.0%     TERMIN
MI 622    G05000    Federal      OP      4/1/1982       5,760            BP E&P        37.5%     TERMIN
MI 623    G03088    Federal      RT       4/1/1975      5,760        Fieldwood En      81.0%     TERMIN
MI 623    G03088    Federal      OP      4/1/1975       5,760            BP E&P        37.5%     TERMIN
MI 635    G06043    Federal      RT      10/1/1983      5,760        Fieldwood En      81.0%     TERMIN
MI 635    G06043    Federal      OP      10/1/1983      5,760            BP E&P        37.5%     TERMIN
MI 636    G34670    Federal      RT       4/1/2013      5,760      Apache Shelf Exp   100.0%     RELINQ
MI 652    G34022    Federal      RT       2/1/2012      5,760      Apache Shelf Exp   100.0%      EXPIR
MI 681    G04703    Federal      RT       9/1/1981      5,760        Fieldwood En     100.0%     TERMIN
MI 685    G04548    Federal      RT      1/1/1981       5,760           EOG Res        50.0%     TERMIN
MI 685    G04548    Federal      OP      1/1/1981       5,760           EOG Res         2.5%     TERMIN
MI 703    G03733    Federal      RT       6/1/1978      5,760        Fieldwood En     100.0%     TERMIN
MI 703    G03733    Federal     OP 1      6/1/1978      5,760        Fieldwood En     100.0%     TERMIN
MI 703    G03733    Federal     OP 2      6/1/1978      5,760        Fieldwood En     100.0%     TERMIN
MI 772   MF93351    SL - TX      WI      2/7/1989        704           Fieldwood      100.0%   TERMINATED
MO 820    G34403    Federal      RT       8/1/2012      3,347      Apache Shelf Exp   100.0%     RELINQ
MO 821    G05058    Federal      RT       4/1/1982      4,028        Fieldwood En     100.0%     TERMIN
         STATE OF
         ALABAMA
MO 821     627      SL - AL      WI      8/14/1984     2,511           Fieldwood      100.0%   TERMINATED
MO 826    G26176    Federal      RT       7/1/2004     1,430         Fieldwood En      75.0%      PROD
MO 871    G32272    Federal      RT       8/1/2008     5,760            Apache        100.0%      EXPIR
MO 913    G33131    Federal      RT       6/1/2009     5,760       Apache Shelf Exp    75.0%      EXPIR
MO 914    G33132    Federal      RT       6/1/2009     5,760       Apache Shelf Exp    75.0%      EXPIR
MP 120    G03197    Federal     ORRI     5/28/1975                     Arena Off        2.0%      PROD
MP 120    G03197    Federal     ORRI     7/1/1975                      Arena Off        2.0%      PROD
MP 134    G34375    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 135    G34376    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 136    G34377    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 137    G34378    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 140    G02193    Federal      RT      10/1/1972     4,995         Fieldwood En      65.0%      PROD
MP 143    G34380    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 146    G34860    Federal      RT      7/1/2013      4,561       Apache Shelf Exp    75.0%     RELINQ
MP 147    G34861    Federal      RT      7/1/2013      4,561       Apache Shelf Exp    75.0%     RELINQ



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
MP 148   G34381   Federal      RT      11/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
MP 149   G34382   Federal      RT      11/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
MP 150   G34862   Federal      RT      7/1/2013       5,000      Apache Shelf Exp    75.0%   RELINQ
MP 152   G01966   Federal      RT      1/1/1970       4,978        Fieldwood En      50.0%     UNIT
MP 152   G01966   Federal      OP       1/1/1970      4,978        Fieldwood En      75.0%     UNIT
MP 153   G01967   Federal      RT      1/1/1970       5,000        Fieldwood En      50.0%     UNIT
MP 153   G01967   Federal      OP       1/1/1970      5,000        Fieldwood En      75.0%     UNIT
MP 166   G26152   Federal      RT      7/1/2004       4,995        Fieldwood En     100.0%   TERMIN
MP 175   G08753   Federal      OP      8/1/1987       4,995          Tana Exp        21.2%   TERMIN
MP 255   G07825   Federal      RT      8/1/1985       4,995        Fieldwood En      52.4%   TERMIN
MP 259   G07827   Federal      RT      9/1/1985       4,995        Fieldwood En      56.9%   TERMIN
MP 260   G07828   Federal      RT      9/1/1985       4,995        Fieldwood En      56.9%   TERMIN
MP 270   G22812   Federal     ORRI      7/1/2001      4,995         Castex Off        1.0%     UNIT
MP 271   G34388   Federal      RT      10/1/2012      4,995      Apache Shelf Exp   100.0%    EXPIR
MP 272   G34865   Federal      RT      7/1/2013       4,995      Apache Shelf Exp    75.0%   RELINQ
MP 273   G33690   Federal      RT      7/1/2010       4,995         Castex Off       37.5%     UNIT
MP 274   G33691   Federal      RT      7/1/2010       4,995         Castex Off       37.5%    EXPIR
MP 275   G15395   Federal      RT      9/1/1995       4,995        Fieldwood En     100.0%    PROD
MP 275   G15395   Federal     ORRI      9/1/1995                   Fieldwood En       8.3%    PROD
MP 281   G10910   Federal      RT      7/1/1989      4,995        EnVen En Vent      50.0%    PROD
MP 281   G10910   Federal      OP       7/1/1989     4,995        EnVen En Vent      30.0%    PROD
MP 281   G10910   Federal     ORRI      7/1/1989                  EnVen En Vent       3.1%    PROD
MP 289   G01666   Federal      RT      7/1/1967      4,561         Fieldwood En     100.0%    PROD
MP 290   G01667   Federal      RT      7/1/1967      4,561            Apache        100.0%   TERMIN
MP 290   G34866   Federal      RT      7/1/2013      4,561       Apache Shelf Exp    75.0%   RELINQ
MP 291   G34391   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%    EXPIR
MP 292   G34392   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%   RELINQ
MP 293   G34393   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%    EXPIR
MP 294   G34394   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%   RELINQ
MP 295   G32263   Federal    CONT       8/1/2008     4,561         Fieldwood En      37.5%   TERMIN
MP 296   G01673   Federal      RT      6/1/1967      4,561          GOM Shelf        50.0%     UNIT    [1]
MP 296   G01673   Federal      OP      6/1/1967      4,561          GOM Shelf        25.0%     UNIT
MP 297   G34395   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%   RELINQ
MP 300   G01317   Federal      OP      6/1/1962      4,561            Cantium        10.4%     UNIT



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                                           Date Le      Le Cur                                   Lease
 Block      Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
 MP 301    G04486    Federal     OP 1     11/1/1980      5,000         Walter O&G       10.4%   TERMIN
 MP 301    G04486    Federal     OP 2     11/1/1980      5,000         Walter O&G        6.3%   TERMIN
 MP 301    G04486    Federal     OP 3     11/1/1980      5,000         Walter O&G       10.4%   TERMIN
 MP 301    G04486    Federal      RT      11/1/1980      5,000         Walter O&G       10.4%   TERMIN
 MP 302    G32264    Federal      RT       7/1/2008      5,000          GOM Shelf      100.0%    PROD
 MP 303    G04253    Federal     OP 1     12/1/1979      5,000        Fieldwood En      25.0%     UNIT
 MP 303    G04253    Federal      RT      12/1/1979      5,000        Fieldwood En     100.0%     UNIT
 MP 304    G03339    Federal      OP       4/1/1976      5,000       ConocoPhillips    100.0%     UNIT
 MP 305    G34396    Federal      RT      12/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 MP 308    G32265    Federal      RT       8/1/2008      5,000        Fieldwood En     100.0%    PROD
 MP 309    G08760    Federal      RT       6/1/1987      5,000        Fieldwood En     100.0%    PROD
 MP 310    G04126    Federal      RT      10/1/1979      5,000        Fieldwood En     100.0%     UNIT
 MP 311    G02213    Federal      RT      11/1/1972      5,000         GOM Shelf        50.0%    PROD     [1]
 MP 311    G02213    Federal      OP      11/1/1972      5,000          GOM Shelf       25.0%    PROD
 MP 312    G16520    Federal      RT       7/1/1996      5,000        Fieldwood En     100.0%    PROD
 MP 314    G33693    Federal      OP       7/1/2010      5,000      Apache Shelf Exp    80.0%    EXPIR
 MP 315    G08467    Federal      RT       7/1/1986      5,000        Fieldwood En     100.0%    PROD
 MP 315    G08467    Federal     OP 3      7/1/1986      5,000        Fieldwood En     100.0%    PROD
 MP 315    G08467    Federal     OP 1      7/1/1986      5,000        Fieldwood En      80.0%    PROD
  MP 5     SL13890    SL-LA       WI                       26            Apache         50.0%   TERMIN
 MP 59     G03194    Federal      OP       7/1/1975      1,406           Cantium        37.5%     UNIT
 MP 59     G08461    Federal      OP       7/1/1986      2,340           Cantium        37.5%     UNIT
  MP 6     SL03771    SL-LA       WI      4/26/1961      1,067           Apache         50.0%   TERMIN
  MP 6     SL13580    SL-LA       WI                      287            Apache         50.0%   TERMIN
  MP 6     SL13891    SL-LA       WI                      270            Apache         50.0%   TERMIN
 MP 64     G04909    Federal     ORRI     12/1/1981      4,988       Sanare En Part      4.2%     UNIT
  MP 7     SL03773    SL-LA       WI      4/26/1961        –             Apache         50.0%   TERMIN
  MP 7     SL13892    SL-LA       WI                       44            Apache         50.0%   TERMIN
 MP 74     G34857    Federal      RT      8/1/2013       1,733      Apache Shelf Exp    75.0%   RELINQ
 MP 77     G04481    Federal      RT      11/1/1980      4,655      Fieldwood En Off    26.2%   RELINQ    [7]
MP 77/78   G04481    Federal      OP      11/1/1980      4,655      Fieldwood En Off    23.5%   RELINQ    [7]
 MP 91     G14576    Federal      RT      5/1/1994       1,017           Apache        100.0%   TERMIN
 MU 883    MF98761   SL - TX      WI                                     Apache        100.0%   TERMIN
MU A-111   G03068    Federal      RT       4/1/1975     5,760            Apache        100.0%   TERMIN



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                                           Date Le      Le Cur                                   Lease
 Block     Lease      Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
MU A133    G33392    Federal      RT      10/1/2009      5,760      Apache Shelf Exp   100.0%    EXPIR
MU A134    G32724    Federal      RT      11/1/2008      5,760           Apache        100.0%    EXPIR
MU A85     G03061    Federal      RT       4/1/1975      5,760       EnVen En Vent      53.3%    PROD
 PE 881    G06390    Federal      OP       2/1/1984      5,760        ConocoPhillips    18.8%   TERMIN
   PL 1    G04234    Federal      RT       1/1/1980      1,568        Fieldwood En     100.0%   TERMIN
  PL 10    G02925    Federal      RT      12/1/1974      5,000        Fieldwood En     100.0%   TERMIN
  PL 11     00071    Federal      RT      9/12/1946      5,000        Fieldwood En     100.0%   RELINQ
  PL 13    G03171    Federal      RT       7/1/1975      5,000          ANKOR En        12.5%   TERMIN
  PL 13    G03171    Federal     OP 1      7/1/1975       391           ANKOR En        12.5%   TERMIN
  PL 13    G03171    Federal     OP 2      7/1/1975      3,906          ANKOR En        12.5%   TERMIN
  PL 13    G03171    Federal     OP 3      7/1/1975       703           ANKOR En         4.4%   TERMIN
  PL 13    G03171    Federal     OP 5      7/1/1975       391           ANKOR En        12.5%   TERMIN
  PL 25    G14535    Federal      RT       7/1/1994      5,000        Fieldwood En     100.0%   TERMIN
   PL 5    G12027    Federal      RT       6/1/1990      5,000         Talos En Off    100.0%   RELINQ
   PL 6    G09651    Federal      RT       5/1/1988      5,000         Walter O&G      100.0%   RELINQ
   PL 6    G09651    Federal     OP 1      5/1/1988      5,000         Walter O&G       35.0%   RELINQ
   PL 6    G09651    Federal     OP 2      5/1/1988      5,000         Walter O&G       65.0%   RELINQ
   PL 8    G03587    Federal      RT       8/1/1977      5,000          ANKOR En        12.5%   TERMIN
   PL 9    G02924    Federal      RT      12/1/1974      5,000        Fieldwood En     100.0%   TERMIN
   PL 9    G02924    Federal      OP      12/1/1974      5,000        Fieldwood En      50.0%   TERMIN
 PN 883   MF100410   SL - TX      WI      10/6/1998       720           Fieldwood       35.0%   ACTIVE
 PN 883   MF100411   SL - TX      WI      10/6/1998       720           Fieldwood       35.0%   ACTIVE
 PN 883   MF100412   SL - TX      WI      10/6/1998       720           Fieldwood       35.0%   ACTIVE
 PN 883   MF101898   SL - TX      WI      10/6/1998                      Apache         35.0%   TERMIN
 PN 883   MF96146    SL - TX      WI      10/4/1994      720            Fieldwood       35.0%   ACTIVE
 PN 883   MF96147    SL - TX      WI      10/4/1994      720            Fieldwood       35.0%   ACTIVE
 PN 883   SL96146    SL - TX      WI      10/4/1994      720            Fieldwood       35.0%   ACTIVE
PN 899L   MF100413   SL - TX      WI      10/6/1998      375            Fieldwood       35.0%   ACTIVE
PN 899L   MF100414   SL - TX      WI      10/6/1998      360            Fieldwood       35.0%   ACTIVE
 PN 969    G05953    Federal      RT      10/1/1983     5,760       Peregrine O&G II     8.3%   TERMIN
 PN 976    G05954    Federal      RT      10/1/1983     5,760       Peregrine O&G II     8.3%   TERMIN
  SA 10    G03958    Federal      RT       3/1/1979     3,144         Fieldwood En      92.3%   TERMIN
  SA 10    G03958    Federal      OP       3/1/1979     3,144         Fieldwood En      20.0%   TERMIN
  SA 13    G03959    Federal      OP       3/1/1979     5,000        Renaissance Off    50.0%   TERMIN



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                                        Date Le      Le Cur                                   Lease
 Block   Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
SM 10    G01181   Federal      RT      4/1/1962       5,000        Fieldwood En     100.0%   TERMIN
SM 105   G17938   Federal      RT      8/1/1997       5,000        Fieldwood En     100.0%    PROD
SM 106   G02279   Federal      RT      2/1/1973       2,500        Fieldwood En     100.0%   TERMIN
SM 106   G03776   Federal      RT      6/1/1978       2,500        Fieldwood En     100.0%    PROD
SM 108    00792   Federal      RT      5/1/1960       5,000        Talos En Off      25.0%    PROD     [1]
SM 108    00792   Federal      OP      5/1/1960       5,000        Talos En Off      12.5%    PROD
SM 11    G01182   Federal      RT      3/1/1962       5,000        Fieldwood En     100.0%   TERMIN
SM 127   G02883   Federal      RT      12/1/1974      2,784        Fieldwood En      66.7%    PROD
SM 127   G02883   Federal     OP 2     12/1/1974      2,784        Fieldwood En      33.3%    PROD
SM 127   G02883   Federal      RT      12/1/1974      2,784        Fieldwood En      17.3%    PROD     [1]
SM 127   G02883   Federal     OP 2     12/1/1974      2,784        Fieldwood En       8.7%    PROD     [1]
SM 128   G02587   Federal      RT      5/1/1974       5,000        Fieldwood En      66.7%    PROD
SM 128   G02587   Federal      RT      5/1/1974       5,000        Fieldwood En      17.3%    PROD     [1]
SM 132   G02282   Federal      RT      2/1/1973       5,000        Fieldwood En      50.0%   TERMIN    [6]
SM 135   G19776   Federal      RT      5/1/1998       3,293        Fieldwood En      50.0%   TERMIN    [4]
SM 136   G02588   Federal      RT      5/1/1974       2,500        Fieldwood En      50.0%   TERMIN    [6]
SM 137   G02589   Federal      RT      5/1/1974       5,000        Fieldwood En      50.0%   TERMIN    [6]
SM 141   G02885   Federal     OP 2     12/1/1974      5,000        Fieldwood En      66.7%   TERMIN
SM 141   G02885   Federal      RT      12/1/1974      5,000        Fieldwood En      77.6%   TERMIN
SM 141   G02885   Federal     OP 2     12/1/1974      5,000        Fieldwood En      17.3%   TERMIN    [1]
SM 149   G02592   Federal      RT      5/1/1974       2,500        Fieldwood En      50.0%    PROD     [2]
SM 149   G02592   Federal      OP       5/1/1974      2,500        Fieldwood En      25.0%    PROD     [2]
SM 150   G16325   Federal      RT      6/1/1996       3,329        Fieldwood En      50.0%   RELINQ    [6]
SM 161   G04809   Federal      RT      9/1/1981       5,000        Fieldwood En     100.0%    PROD
SM 171   G34273   Federal      RT      9/1/2012       5,000      Apache Shelf Exp   100.0%    EXPIR
SM 172   G34274   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 177   G34275   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 178   G34276   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%    EXPIR
SM 18    G08680   Federal      RT      6/1/1987       5,000        Fieldwood En      50.0%   TERMIN
SM 18    G08680   Federal      OP       6/1/1987      5,000        Fieldwood En     100.0%   TERMIN
SM 188   G34277   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 189   G34278   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 193   G34279   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 195   G21108   Federal     ORRI      6/1/1999                   Tarpon O&D         4.0%   TERMIN



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                                        Date Le      Le Cur                                     Lease
 Block   Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
SM 236   G4437    Federal     ORRI     11/1/1980                      Cox Op            4.4%     UNIT
SM 241    00310   Federal      RT       2/7/1936    114,601           Cox Op           60.0%     UNIT
SM 241    00310   Federal      OP       2/7/1936    114,601           Cox Op           60.0%     UNIT
SM 241    00310   Federal     Unit      2/7/1936    114,601           Cox Op           16.0%     UNIT
SM 268   G02310   Federal    CONT      12/19/1972                     Apache           69.9%   TERMIN    [4]
SM 268   G34284   Federal      RT       8/1/2012     3,237       Apache Shelf Exp     100.0%    EXPIR    [4]
SM 269   G02311   Federal      RT       1/1/1973     5,000         Fieldwood En        72.8%    PROD     [4]
SM 280   G14456   Federal     OP 1      6/1/1994     5,000         Fieldwood En        50.0%    PROD     [4]
SM 280   G14456   Federal     OP 3      6/1/1994     5,000         Fieldwood En        50.0%    PROD     [4]
SM 280   G14456   Federal      RT       6/1/1994     5,000         Fieldwood En        50.0%    PROD     [4]
SM 281   G02600   Federal      RT       4/1/1974     3,214         Fieldwood En        68.1%    PROD     [4]
SM 34    G13897   Federal      OP       5/1/1993     5,000      Black Elk En Off Op    50.0%   TERMIN
SM 41    G01192   Federal     OP 2      6/1/1962     5,000        Sanare En Part       25.0%    PROD     [2]
                                                                Sanare; Fieldwd En
SM 41    G01192   Federal     OP 3      6/1/1962     5,000              Off            50.0%    PROD     [2]
SM 44    G23840   Federal      RT       5/1/2002     5,000       SandRidge En Off     100.0%   TERMIN
SM 48     00786   Federal      RT       5/1/1960     5,000         Fieldwood En       100.0%    PROD     [2]
SM 48     00786   Federal      OP       5/1/1960     5,000         Fieldwood En        50.0%    PROD     [2]
SM 58    G01194   Federal      RT       5/1/1962     5,000          ANKOR En          100.0%    PROD
SM 66    G01198   Federal      RT       6/1/1962     5,000         Fieldwood En        50.0%   TERMIN    [6]
SM 7     G33610   Federal      RT       7/1/2010     5,000       Apache Shelf Exp     100.0%   RELINQ
SM 76    G01208   Federal      RT       6/1/1962     5,000         Fieldwood En        50.0%   TERMIN
SM 93    G21618   Federal      RT       5/1/2000     5,000           Talos ERT         12.5%    PROD
SM 97    G32159   Federal      RT       8/1/2008     5,000            Apache          100.0%    EXPIR
SP 61    G01609   Federal      OP       7/1/1967     5,000         Fieldwood En       100.0%    UNIT     [5]
SP 62    G01294   Federal      RT       6/1/1962     5,000         Fieldwood En       100.0%    PROD
SP 63    G34365   Federal      RT       8/1/2012     5,000       Apache Shelf Exp     100.0%    EXPIR
SP 64    G01901   Federal      RT       1/1/1969     5,000         Fieldwood En        50.0%    UNIT
SP 64    G01901   Federal      OP       1/1/1969     5,000         Fieldwood En        75.0%    UNIT
SP 65    G01610   Federal      RT       7/1/1967     5,000         Fieldwood En        50.0%    UNIT
SP 65    G01610   Federal      OP       7/1/1967     5,000         Fieldwood En        75.0%    UNIT
SP 66    G1611    Federal     ORRI      6/1/1967                   Fieldwood En         8.3%    UNIT     [4]
SP 68    G34366   Federal      RT       8/1/2012     5,000       Apache Shelf Exp     100.0%   RELINQ
SP 69    G34367   Federal      RT       8/1/2012     5,000       Apache Shelf Exp     100.0%   RELINQ



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                                        Date Le      Le Cur                                  Lease
Block    Lease     Type      Rights        Eff       Acres           Operator        WI     Status   Notes†
 SP 70   G01614   Federal      RT      6/1/1967       5,000        Fieldwood En    100.0%    PROD
 SP 75   G05051   Federal     OP 2      4/1/1982      5,000         GOM Shelf       28.8%   TERMIN
 SP 75   G05051   Federal      RT      4/1/1982       5,000         GOM Shelf       71.2%   TERMIN    [1]
 SP 75   G05051   Federal     OP 2      4/1/1982      5,000         GOM Shelf       71.2%   TERMIN    [1]
 SP 83   G05052   Federal     ORRI     4/1/1982       5,000          Arena Off       0.7%   RELINQ
 SP 87   G07799   Federal      RT      9/1/1985       3,540        Fieldwood En     33.3%   TERMIN
 SP 87   G07799   Federal      RT      9/1/1985       3,540        Fieldwood En     33.3%   TERMIN    [1]
 SP 88   G10894   Federal      RT      6/1/1989       3,540           Apache       100.0%   RELINQ
 SP 89   G01618   Federal      RT       7/1/1967      5,000        Fieldwood En     50.0%    PROD
 SP 96   G31431   Federal      RT      3/1/2008       5,000          Stone En       50.0%   RELINQ
SS 105   G09614   Federal      RT      8/1/1988       5,000         Bennu O&G      100.0%    PROD
SS 105   G09614   Federal     OP 2      8/1/1988      5,000         Bennu O&G      100.0%    PROD
SS 105   G09614   Federal     OP 3      8/1/1988      5,000         Bennu O&G      100.0%    PROD
SS 126   G12940   Federal      RT      5/1/1991       5,000        Fieldwood En    100.0%   TERMIN
SS 126   G12940   Federal      OP       5/1/1991      5,000        Fieldwood En    100.0%   TERMIN
SS 129   G12941   Federal      RT      5/1/1991       5,000        Fieldwood En    100.0%    PROD
SS 129   G12941   Federal     ORRI      5/1/1991                   Fieldwood En      3.3%    PROD
SS 130    00453   Federal     ORRI     1/1/1955      5,000            W&T Off        3.0%   TERMIN
SS 145   G34831   Federal    CONT       9/1/2013     5,000         Hoactzin Part    25.0%   TERMIN
SS 150    00419   Federal     ORRI     11/1/1954     5,000         Ridgelake En      5.0%    PROD
SS 151   G15282   Federal      RT      7/1/1995      5,000        EnVen En Vent    100.0%    PROD
SS 153   G18011   Federal      RT      7/1/1997      5,000         Fieldwood En     33.3%   TERMIN
SS 154    00420   Federal     ORRI     11/1/1954                   Ridgelake En      8.0%    PROD
SS 159   G11984   Federal      OP       7/1/1990     5,000         Hoactzin Part    15.5%   TERMIN
SS 169    00820   Federal      RT      4/1/1960      5,000         Fieldwood En     66.7%    PROD     [6]
SS 175   G05550   Federal      RT      7/1/1983      5,000         Chevron USA      66.7%     UNIT
SS 176   G33646   Federal      RT      7/1/2010      5,000         Fieldwood En     40.0%    PROD
SS 178   G05551   Federal      RT      7/1/1983      5,000         Fieldwood En    100.0%    PROD
SS 182   G03998   Federal      RT      3/1/1979      2,500         Fieldwood En    100.0%    PROD
SS 188   G05203   Federal    CONT       1/1/1983     5,027         Fieldwood En    100.0%   TERMIN
SS 189   G04232   Federal     OP 5     12/1/1979     5,000         Fieldwood En     99.0%    PROD     [4]
SS 189   G04232   Federal      RT      12/1/1979     5,000         Fieldwood En     99.0%    PROD     [4]
SS 189   G4232    Federal     ORRI     12/1/1979                   Fieldwood En      8.0%    PROD     [4]
SS 190   G10775   Federal      RT      4/1/1989      5,000         Fieldwood En     60.0%   TERMIN



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
SS 190   G10775   Federal      OP       4/1/1989      5,000        Fieldwood En     100.0%   TERMIN
SS 193   G13917   Federal      RT       5/1/1993      5,000        Fieldwood En     100.0%    PROD
SS 194   G15288   Federal      RT       7/1/1995      5,000        Fieldwood En     100.0%    PROD
SS 198    00593   Federal      RT       9/1/1955      2,969      Renaissance Off     50.0%    PROD     [1]
SS 198   G12355   Federal      OP       9/1/1955      2,031      Renaissance Off     25.0%    PROD
SS 199    00594   Federal      RT       9/1/1955      3,516         Talos En Off     50.0%    PROD
SS 199   G12358   Federal      OP       9/1/1955      1,484      Renaissance Off     50.0%    PROD
SS 204   G01520   Federal      RT       7/1/1967      5,000        Fieldwood En      55.2%    PROD     [4]
SS 206   G01522   Federal      RT       7/1/1967      5,000        Fieldwood En      60.0%     UNIT    [6]
SS 207   G01523   Federal      RT       7/1/1967      5,000        Fieldwood En      72.2%     UNIT    [7]
SS 207   G01523   Federal      OP       7/1/1967      5,000        Fieldwood En      47.6%     UNIT    [7]
SS 210   G05204   Federal    CONT       1/1/1983      5,000        Fieldwood En     100.0%   RELINQ
SS 216   G01524   Federal      RT       7/1/1967      5,000        Fieldwood En      80.0%    PROD     [4]
SS 243   G10780   Federal      RT       7/1/1989      5,000        Fieldwood En      50.0%    PROD
SS 243   G10780   Federal     ORRI      7/1/1989                   Fieldwood En       4.2%    PROD
SS 249   G01030   Federal     OP 1      6/1/1962     5,000       Fieldwood En Off     5.3%     UNIT    [4]
SS 249   G1030    Federal     ORRI      6/1/1962                 Fieldwood En Off     0.2%     UNIT    [4]
SS 258   G05560   Federal      RT       7/1/1983     5,000           Castex Off     100.0%   TERMIN
SS 258   G05560   Federal      OP       7/1/1983     5,000           Castex Off       7.4%   TERMIN
SS 259   G05044   Federal      RT       4/1/1982     5,141         Fieldwood En     100.0%   TERMIN
SS 259   G05044   Federal      OP       4/1/1982     5,141         Fieldwood En       7.4%   TERMIN
SS 271   G01038   Federal      RT       6/1/1962     5,000       Fieldwood En Off    20.0%     UNIT    [4]
SS 274   G01039   Federal      RT       6/1/1962     5,000         Fieldwood En     100.0%    PROD
SS 276   G10785   Federal      RT       5/1/1989     5,000            Monforte       66.7%   TERMIN
SS 277   G09627   Federal      RT       5/1/1988     5,000         Fieldwood En       1.0%     SOP
SS 277   G09627   Federal      OP       5/1/1988     5,000         Fieldwood En     100.0%     SOP
SS 278   G32206   Federal      RT       8/1/2008     5,000            Apache        100.0%    EXPIR
SS 291   G02923   Federal      OP      12/1/1974     3,750         Fieldwood En      67.9%   OPERNS    [4]
SS 30     00333   Federal      RT      9/12/1946     5,000           W & T Off       37.5%     UNIT
SS 301   G10794   Federal     ORRI      5/1/1989                   Fieldwood En       1.5%     SOP     [2]
SS 31     00334   Federal      RT      9/12/1946     5,000           W & T Off       37.5%     UNIT
SS 314   G26074   Federal     OP 4      5/1/2004     5,000         Fieldwood En      37.5%    PROD
SS 314   G26074   Federal      RT       5/1/2004     5,000         Fieldwood En      75.0%    PROD
SS 314   G26074   Federal     ORRI      5/1/2004                   Fieldwood En       4.5%    PROD



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                                        Date Le      Le Cur                                     Lease
Block    Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
SS 32     00335   Federal      RT      9/12/1946      5,000          W & T Off         37.5%     UNIT
SS 33     00336   Federal    CONT      9/12/1946      5,000           W&T Off          28.9%     UNIT
SS 33     00336   Federal     ORRI     9/12/1946      5,000           W&T Off           0.8%     UNIT
SS 354   G15312   Federal      RT       7/1/1995      5,000        Fieldwood En       100.0%    PROD
SS 355   G33650   Federal      RT       6/1/2010      5,323      Apache Shelf Exp     100.0%   RELINQ
SS 58    G07746   Federal     ORRI      7/1/1985      5,000       Talos Third Cst      10.5%    PROD
SS 68    G02917   Federal      RT      12/1/1974      5,000        Fieldwood En       100.0%   RELINQ
SS 87    G12349   Federal     ORRI     9/12/1946      1,953       Sanare En Part        1.0%     UNIT
SS 91    G02919   Federal      RT      12/1/1974      5,000        Fieldwood En        87.5%    PROD
SS 91    G02919   Federal     OP 2     12/1/1974      5,000        Fieldwood En        87.5%    PROD
SS 91    G02919   Federal     OP 2     12/1/1974      5,000        Fieldwood En        12.5%    PROD     [1]
SS 91    G02919   Federal      RT      12/1/1974      5,000        Fieldwood En        12.5%    PROD     [1]
ST 146   G33110   Federal      RT       7/1/2009      3,772      Apache Shelf Exp     100.0%    EXPIR
ST 148   G01960   Federal      RT       2/1/1970      2,500          Arena Off         15.6%    PROD
ST 148   G01960   Federal      OP       2/1/1970      2,500          Arena Off         15.6%    PROD
ST 161   G01248   Federal      OP       6/1/1962      5,000          Arena Off         25.0%    PROD
ST 166   G01252   Federal      OP       6/1/1962      5,000           Apache          100.0%   TERMIN
ST 173   G04001   Federal      RT       3/1/1979      5,000           Apache          100.0%   TERMIN
ST 179   G12020   Federal      RT       6/1/1990      5,000      Fieldwood En Off      50.0%   TERMIN
ST 179   G12020   Federal      OP       6/1/1990      5,000      Fieldwood En Off      68.8%   TERMIN
ST 190   G01261   Federal      RT       6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 190   G01261   Federal      OP       6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 194   G05610   Federal      RT       7/1/1983      5,000        Fieldwood En       100.0%   TERMIN
ST 203   G01269   Federal     OP 1      6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 203   G01269   Federal     OP 2      6/1/1962      5,000     Black Elk En Off Op    20.0%   TERMIN
ST 203   G01269   Federal      RT       6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 205   G05612   Federal      RT       7/1/1983      5,000        Fieldwood En        50.0%    PROD
ST 205   G05612   Federal     OP 3      7/1/1983      5,000        Fieldwood En        75.0%    PROD
ST 205   G05612   Federal     OP 4      7/1/1983      5,000        Fieldwood En       100.0%    PROD
ST 205   G05612   Federal     OP 7      7/1/1983      5,000        Fieldwood En        50.0%    PROD
ST 205   G05612   Federal     OP 6      7/1/1983      5,000        Fieldwood En        75.0%    PROD
ST 205   G05612   Federal     OP 5      7/1/1983      5,000        Fieldwood En        50.0%    PROD
ST 205   G05612   Federal     ORRI      7/1/1983      5,000        Fieldwood En         2.0%    PROD
ST 206   G05613   Federal      RT       7/1/1983      5,000        Fieldwood En        50.0%   TERMIN



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
ST 228   G32217   Federal      RT       8/1/2008      5,000          Eni US Op       40.0%    EXPIR
ST 229   G13938   Federal      OP      7/1/1993       2,148          W & T Off       33.3%    PROD
ST 244   G34341   Federal      RT      10/1/2012      4,572      Apache Shelf Exp   100.0%   RELINQ
 ST 26   G01361   Federal      RT       5/1/1964       625            Cox Op         50.0%     UNIT
 ST 26   G01870   Federal      RT      11/1/1968      1,875           Cox Op         50.0%     UNIT
 ST 26   G02620   Federal      RT       5/1/1974      2,500           Cox Op         50.0%     UNIT
ST 276   G07780   Federal      RT       8/1/1985      5,000          Eni US Op      100.0%     UNIT
ST 276   G07780   Federal      OP       8/1/1985      5,000          Eni US Op      100.0%     UNIT
ST 290   G16454   Federal      RT      4/24/1996      5,000           Apache        100.0%   TERMIN
ST 291   G16455   Federal      RT       9/1/1996      5,000        Fieldwood En     100.0%    PROD
ST 291   G16455   Federal      OP       9/1/1996      5,000        Fieldwood En     100.0%    PROD
ST 295   G05646   Federal      RT       7/1/1983      5,000        Fieldwood En     100.0%     UNIT
ST 296   G12981   Federal      RT       5/1/1991      5,000        Fieldwood En     100.0%     UNIT
ST 296   G12981   Federal      OP       5/1/1991      5,000        Fieldwood En     100.0%     UNIT
ST 311   G31418   Federal      RT       3/1/2008      5,000         Walter O&G       45.0%    PROD
ST 316   G22762   Federal      RT      6/1/2001       4,435          W & T Off       20.0%    PROD     [4]
ST 320   G24990   Federal      RT      5/1/2003       5,000          W & T Off       11.3%    PROD
 ST 47   G33652   Federal      RT       7/1/2010      5,000      Apache Shelf Exp   100.0%   RELINQ
 ST 49   G24956   Federal      RT       6/1/2003      5,000        Fieldwood En     100.0%    PROD
 ST 49   G24956   Federal      OP       6/1/2003      5,000        Fieldwood En     100.0%    PROD
 ST 50   G34331   Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 ST 53   G04000   Federal      RT       3/1/1979      5,000        Fieldwood En      50.0%    PROD     [2]
 ST 53   G04000   Federal     OP 1      3/1/1979      5,000        Fieldwood En      50.0%    PROD     [2]
 ST 53   G04000   Federal     OP 2      3/1/1979      5,000        Fieldwood En      25.0%    PROD     [2]
 ST 59   G31404   Federal      RT       2/1/2008      5,000        LLOG Exp Off      25.0%   RELINQ
 ST 64   G33106   Federal      RT       7/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
 ST 67    00020   Federal    CONT      4/25/1947                   Fieldwood En      79.7%     UNIT    [2]
SX 17    G04143   Federal      RT      10/1/1979     2,042            Apache         92.3%   RELINQ
SX 17    G04143   Federal      OP      10/1/1979     2,042            Apache         20.0%   RELINQ
VK 118   G33697   Federal      RT       5/1/2010     5,760       Apache Shelf Exp    75.0%    EXPIR
VK 203   G07890   Federal      RT       7/1/1985     5,760           Talos ERT       33.3%   TERMIN
VK 203   G07890   Federal      OP      7/1/1985      5,760           Talos ERT       33.3%   TERMIN
VK 204   G04921   Federal      RT      12/1/1981     5,760           Talos ERT       33.3%   TERMIN
VK 204   G04921   Federal      OP      12/1/1981     5,760           Talos ERT       33.3%   TERMIN



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                                         Date Le      Le Cur                                   Lease
 Block    Lease     Type      Rights        Eff       Acres           Operator        WI      Status   Notes†
VK 251    G10930   Federal      OP       7/1/1989      5,760      Fieldwood En Off    7.5%      UNIT    [3]
VK 340    G10933   Federal      OP       7/1/1989      5,760      Fieldwood En Off    7.5%      UNIT    [3]
VK 384    G16541   Federal      OP       6/1/1996      5,760        Chevron USA      20.0%    TERMIN
  VK
692/693   G07898   Federal      RT       9/1/1985     4,773         Fieldwood En      56.9%   TERMIN
VK 694    G13055   Federal      RT       7/1/1991     3,214         Fieldwood En      53.1%   TERMIN
VK 694    G13055   Federal      OP       7/1/1991     3,214         Fieldwood En      92.1%   TERMIN
VK 698    G07901   Federal      RT       8/1/1985     4,996         Fieldwood En      52.4%   TERMIN
VK 736    G13987   Federal      RT       7/1/1993     4,742         Fieldwood En     100.0%   TERMIN
VK 780    G06884   Federal      RT       6/1/1984     5,760         Fieldwood En     100.0%   TERMIN
VK 824    G15436   Federal      RT        9/1/1995    5,760            Apache        100.0%   RELINQ
VK 856    G34872   Federal      RT        7/1/2013     877        Apache Shelf Exp    75.0%   RELINQ
VK 899    G34408   Federal      RT        8/1/2012    1,553       Apache Shelf Exp   100.0%    EXPIR
VR 115    G33593   Federal      RT        6/1/2010    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 128    G33594   Federal      RT        6/1/2010    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 131     00775   Federal      OP       5/1/1960     4,923         Talos En Off      72.5%   TERMIN
VR 146    G33084   Federal      RT        7/1/2009    5,000       Apache Shelf Exp   100.0%    EXPIR
VR 156    G34251   Federal      RT       10/1/2012    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 160    G34252   Federal      RT       10/1/2012    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 161    G34253   Federal      RT       10/1/2012    4,868       Apache Shelf Exp   100.0%   RELINQ
VR 252    G05431   Federal     ORRI      7/1/1983     4,454          Castex Off        2.0%    PROD
VR 253    G17912   Federal     ORRI      7/1/1997     5,000          Castex Off        0.6%    PROD
 VR 26     00297   Federal     OP 1     11/26/1946    4,646         Apache Shelf     100.0%   TERMIN
 VR 26     00297   Federal     OP 2     11/26/1946    4,646         Apache Shelf      25.0%   TERMIN
 VR 26     00297   Federal      RT      11/26/1946    4,646         Apache Shelf      50.0%   TERMIN
VR 261    G03328   Federal      RT        4/1/1976    5,429         Fieldwood En      75.0%   TERMIN    [6]
VR 261    G03328   Federal     OP 2       4/1/1976    5,429         Fieldwood En      37.5%   TERMIN    [6]
VR 261    G03328   Federal     ORRI       4/1/1976                  Fieldwood En       6.3%   TERMIN    [6]
VR 262    G34257   Federal      RT       10/1/2012    5,485         Fieldwood En      75.0%   RELINQ    [4]
VR 265    G01955   Federal      RT       1/1/1970     5,000         Fieldwood En     100.0%     SOP
 VR 27    G01329   Federal     OP 2      12/1/1962    1,902         Apache Shelf     100.0%   TERMIN
 VR 27    G01329   Federal     OP 1      12/1/1962    1,902         Apache Shelf      25.0%   TERMIN
 VR 27    G01329   Federal      RT       12/1/1962    1,902         Apache Shelf      50.0%   TERMIN
VR 271    G04800   Federal      OP       9/1/1981     4,418          Castex Off       12.5%    PROD



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                                        Date Le      Le Cur                                  Lease
Block    Lease     Type      Rights        Eff       Acres          Operator         WI     Status   Notes†
VR 326   G21096   Federal      RT       6/1/1999      5,000       Fieldwood En      70.3%   TERMIN
VR 332   G09514   Federal    CONT      3/30/1988                  Fieldwood En      50.0%    PROD     [3]
VR 34    G01356   Federal     OP 1      6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 34    G01356   Federal     OP 2      6/1/1964      625         Apache Shelf      75.0%   TERMIN
VR 34    G01356   Federal      RT       6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 35     00548   Federal     OP 1      9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 35     00548   Federal     OP 2      9/1/1955     2,500        Apache Shelf      75.0%   TERMIN
VR 35     00548   Federal      RT       9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 35     00549   Federal     OP 1      9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 35     00549   Federal     OP 2      9/1/1955     2,500        Apache Shelf      75.0%   TERMIN
VR 35     00549   Federal      RT       9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 356   G17921   Federal     ORRI      8/1/1997     4,093       EnVen En Vent       2.6%    PROD
VR 36    G01357   Federal     OP 2      6/1/1964      625         Apache Shelf      75.0%   TERMIN
VR 36    G01357   Federal     OP 1      6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 36    G01357   Federal      RT       6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 369   G02274   Federal     OP 4      2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 369   G02274   Federal     OP 3      2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 369   G02274   Federal      RT       2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 369   G02274   Federal     Unit      2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 374   G32153   Federal      RT       8/1/2008     5,000           Apache        100.0%    EXPIR
VR 380   G02580   Federal      RT       5/1/1974     5,000        Fieldwood En     100.0%    PROD
VR 381   G16314   Federal      RT       9/1/1996     5,000        Apache Shelf     100.0%   TERMIN
VR 381   G16314   Federal      OP       9/1/1996     5,000        Apache Shelf      80.0%   TERMIN
VR 386   G02278   Federal     RT A      2/1/1973     5,000        Marathon Oil      30.2%     UNIT
VR 386   G02278   Federal     RT B      2/1/1973     5,000        Marathon Oil      29.0%     UNIT
VR 408   G15212   Federal      RT       7/1/1995     5,000        Fieldwood En      12.5%    PROD
VR 408   G15212   Federal      OP       7/1/1995     5,000        Fieldwood En     100.0%    PROD
WC 102    00247   Federal      RT       9/9/1946     5,000        Fieldwood En     100.0%   TERMIN
WC 110    00081   Federal      RT      6/10/1947     5,000           BP E&P        100.0%    PROD
WC 110    00081   Federal      OP      6/10/1947     5,000           BP E&P         37.5%    PROD
WC 111    00082   Federal      RT      6/10/1947     1,250           BP E&P        100.0%    PROD
WC 111    00082   Federal      OP      6/10/1947     1,250           BP E&P         37.5%    PROD
WC 111   G33046   Federal      RT       8/1/2009     3,750          Eni US Op       25.0%    EXPIR
WC 130   G12761   Federal      RT       5/1/1991     5,000          Eni US Op       25.0%   TERMIN



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                                          Date Le      Le Cur                                   Lease
 Block     Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
 WC 144    G01953   Federal      RT       2/1/1970      5,000        Fieldwood En      62.5%   TERMIN
 WC 155    G32114   Federal      RT       8/1/2008      5,000           Apache        100.0%    EXPIR
 WC 163    G05299   Federal     RT A      7/1/1983      5,000        Fieldwood En      61.0%   TERMIN
 WC 163    G05299   Federal     RT B      7/1/1983      5,000        Fieldwood En      56.2%   TERMIN
 WC 165     00758   Federal      RT       4/1/1960      5,000        Fieldwood En     100.0%   TERMIN
 WC 172    G01998   Federal     OP 1      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal     OP 2      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal     OP 3      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal     OP 4      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal    OP 10      2/1/1971      5,000        Apache Shelf      25.0%   TERMIN
 WC 172    G01998   Federal    OP 11      2/1/1971      5,000        Apache Shelf      25.0%   TERMIN
 WC 172    G01998   Federal    OP 12      2/1/1971      5,000        Apache Shelf      25.0%   TERMIN
 WC 181    G33558   Federal      RT       6/1/2010      2,500      Apache Shelf Exp   100.0%   RELINQ
 WC 196    G05292   Federal      RT      7/1/1983       5,000        Union Oil CA       8.3%   TERMIN
 WC 20      00680   Federal      OP      8/1/1959       1,873       Sanare En Part     50.0%    PROD
 WC 210    G34216   Federal      RT      10/1/2012      5,000           Apache        100.0%   RELINQ
 WC 225    G00900   Federal     OP 1      4/1/1962      5,000         Tarpon O&D       26.7%   TERMIN
 WC 269    G13563   Federal      OP       8/1/1992      5,000       Sanare En Part     33.8%   TERMIN
 WC 290    G04818   Federal     OP 1      9/1/1981      5,000      Fieldwood En Off    10.4%   TERMIN    [3]
 WC 290    G04818   Federal      RT       9/1/1981      5,000      Fieldwood En Off    16.7%   TERMIN    [3]
 WC 291    G04397   Federal      RT      11/1/1980      5,000           Apache        100.0%   TERMIN
 WC 291    G04397   Federal      OP      11/1/1980      5,000           Apache         60.0%   TERMIN
 WC 295    G24730   Federal     OP 1      5/1/2003      5,000        Fieldwood En      20.6%    PROD     [4]
 WC 300    G15078   Federal      RT       7/1/1995      5,000      SandRidge En Off    14.0%   TERMIN
 WC 300    G15078   Federal      OP       7/1/1995      5,000      SandRidge En Off    24.4%   TERMIN
 WC 310    G17789   Federal      RT       8/1/1997      5,000        Fieldwood En     100.0%   TERMIN
 WC 310    G17789   Federal      OP       8/1/1997      5,000        Fieldwood En      73.7%   TERMIN
 WC 33     G15050   Federal      RT       7/1/1995      2,891        Fieldwood En     100.0%    PROD
 WC 34     G03251   Federal      RT      9/1/1975       4,506           Apache        100.0%   TERMIN
 WC 35     G02819   Federal      RT      12/1/1974      4,688           Apache        100.0%   TERMIN
 WC 35     G02819   Federal      OP      12/1/1974      4,688           Apache        100.0%   TERMIN
 WC 35,
 WC 66     G01860   Federal     OP 2      1/1/1969     1,563           BP E&P         100.0%   PROD
WC 35/66   G01860   Federal      RT       1/1/1969     1,563           BP E&P         100.0%   PROD



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
WC 401   G07619   Federal      RT       7/1/1985      5,000       ConocoPhillips     33.3%   TERMIN
WC 576   G33061   Federal      RT       6/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
WC 624   G33064   Federal      RT       6/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
WC 65    G02825   Federal     OP 4     12/1/1974      5,000           BP E&P         81.3%    PROD     [4]
WC 65    G02825   Federal      RT      12/1/1974      5,000           BP E&P        100.0%    PROD     [4]
WC 65    G02825   Federal      OP      12/1/1974      5,000           BP E&P        100.0%    PROD     [4]
WC 650   G34217   Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WC 656   G34218   Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WC 657   G34219   Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WC 66    G02826   Federal     OP 2     12/1/1974      3,750        Fieldwood En      75.0%    PROD     [4]
WC 66    G02826   Federal      OP      12/1/1974      3,750        Fieldwood En     100.0%    PROD     [4]
WC 67    G03256   Federal     OP 1      9/1/1975      5,000           Apache        100.0%   TERMIN    [4]
WC 67    G03256   Federal     OP 2      9/1/1975      5,000           Apache         66.6%   TERMIN    [4]
WC 68     00526   Federal      RT       9/1/1955      2,500         BP Am Prod      100.0%   TERMIN
WC 71     00244   Federal      RT       9/9/1946      5,000        Fieldwood En     100.0%   TERMIN
WC 72    G23735   Federal      RT       7/1/2002      5,000      Fieldwood En Off    25.0%    PROD
WC 73    G23736   Federal      OP       7/1/2002      5,000          Castex Off      25.0%    PROD
WC 99    G34213   Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WD 103    00840   Federal      RT       5/1/1960      3,984        Fieldwood En     100.0%    PROD
WD 103   G12360   Federal     OP 1      5/1/1960      1,016        Fieldwood En      81.3%    PROD     [4]
WD 104    00841   Federal      RT       5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 1      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 2      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 3      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 5      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal      RT       5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 3      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 4      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 5      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 6      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 121   G19843   Federal     OP 1      8/1/1998      5,000        Fieldwood En      84.0%    PROD     [4]
WD 122   G13645   Federal     OP 1      8/1/1992      5,000        Fieldwood En      84.0%    PROD     [4]
WD 122   G13645   Federal     OP 2      8/1/1992      5,000        Fieldwood En      84.0%    PROD     [4]
WD 122   G13645   Federal      RT       8/1/1992      5,000        Fieldwood En     100.0%    PROD     [4]



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                                         Date Le     Le Cur                                  Lease
Block    Lease     Type      Rights         Eff      Acres          Operator         WI     Status   Notes†
WD 128   G10883   Federal      RT        6/1/1989     5,000       Fieldwood En     100.0%   TERMIN
WD 133   G01106   Federal      RT       5/1/1962      5,000         Arena Off      100.0%    PROD
WD 133   G01106   Federal     ORRI      5/1/1962                    Arena Off        1.0%    PROD
WD 133   G01106   Federal     ORRI      5/1/1962                    Arena Off        7.2%    PROD
WD 34    G03414   Federal      RT        1/1/1977    2,500        Fieldwood En      76.7%   TERMIN
WD 34    G03414   Federal      OP        1/1/1977    2,500        Fieldwood En      46.7%   TERMIN
WD 38    G22772   Federal      RT        5/1/2001    1,796           Apache         87.5%   TERMIN
WD 38    G22772   Federal      OP        5/1/2001    1,796           Apache         43.8%   TERMIN
WD 41    G01073   Federal      RT        3/1/1962    5,000           Apache        100.0%   TERMIN
WD 41    G01073   Federal      OP        3/1/1962    5,000           Apache         50.0%   TERMIN
WD 42    G16470   Federal      RT        9/1/1996    5,000        Fieldwood En     100.0%   TERMIN
WD 42    G16470   Federal      OP        9/1/1996    5,000        Fieldwood En      50.0%   TERMIN
WD 53     17935    SL-LA       WI      10/13/2003      –           Whitney Oil      33.3%   TERMIN
WD 67     00179   Federal      RT       7/17/1948    2,500         GOM Shelf        75.0%     UNIT   [1], [2]
WD 67     00179   Federal     OP 1      7/17/1948    2,500           BP E&P         18.8%     UNIT   [1], [2]
WD 67     00179   Federal     OP 2      7/17/1948    2,500         GOM Shelf        37.5%     UNIT   [1], [2]
WD 68     00180   Federal      RT       7/17/1948    1,833         GOM Shelf        75.0%     UNIT   [1], [2]
WD 68     00180   Federal     OP 1      7/17/1948    1,833           BP E&P         18.8%     UNIT   [1], [2]
WD 68     00180   Federal     OP 2      7/17/1948    1,833         GOM Shelf        37.5%     UNIT   [1], [2]
WD 69     00181   Federal      RT       7/17/1948    3,665         GOM Shelf        75.0%     UNIT   [1], [2]
WD 69     00181   Federal     OP 1      7/17/1948    3,665           BP E&P         18.8%     UNIT   [1], [2]
WD 69     00181   Federal     OP 2      7/17/1948    3,665         GOM Shelf        37.5%     UNIT   [1], [2]
WD 70     00182   Federal      RT       7/17/1948    5,000         GOM Shelf        75.0%     UNIT   [1], [2]
WD 70     00182   Federal     OP 1      7/17/1948    5,000           BP E&P         18.8%     UNIT   [1], [2]
WD 70     00182   Federal     OP 2      7/17/1948    5,000         GOM Shelf        37.5%     UNIT   [1], [2]
WD 71     00838   Federal      RT       4/1/1960     5,000           BP E&P         75.0%     UNIT   [1], [2]
WD 71     00838   Federal     OP 1      4/1/1960     5,000           BP E&P         18.8%     UNIT   [1], [2]
WD 71     00838   Federal     OP 2       4/1/1960    5,000         GOM Shelf        37.5%     UNIT   [1], [2]
WD 75    G01085   Federal      RT        6/1/1962    5,000        Fieldwood En     100.0%    PROD
WD 90    G01089   Federal     OP 3       6/1/1962    5,000        Fieldwood En      81.3%    PROD      [4]
WD 90    G01089   Federal      RT        6/1/1962    5,000        Fieldwood En     100.0%    PROD      [4]
WD 94     00839   Federal      RT       5/1/1960     5,000         GOM Shelf        75.0%    PROD    [1], [2]
WD 94     00839   Federal     OP 1       5/1/1960    5,000         GOM Shelf        37.5%    PROD    [1], [2]
WD 94     00839   Federal     OP 2       5/1/1960    5,000         GOM Shelf        75.0%    PROD    [1], [2]



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                                       Date Le      Le Cur                                 Lease
Block   Lease     Type      Rights       Eff        Acres         Operator          WI     Status   Notes†
WD 95   G01497   Federal      RT      12/1/1966      5,000        GOM Shelf        75.0%    PROD    [1], [2]
WD 95   G01497   Federal     OP 1     12/1/1966      5,000        GOM Shelf        37.5%    PROD    [1], [2]
WD 95   G01497   Federal     OP 2     12/1/1966      5,000        GOM Shelf        75.0%    PROD    [1], [2]
WD 96   G01498   Federal      RT      12/1/1966      3,665        GOM Shelf        75.0%    PROD    [1], [2]
WD 96   G01498   Federal     OP 2     12/1/1966      3,665        GOM Shelf        37.5%    PROD    [1], [2]




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                                                                                                              FWE I ROW

  SEGMENT                                  ORG          ORG
                   COMPANY NAME                                    ORG NAME       REC AREA      REC BLOCK      REC NAME         SIZE        PRODUCT              STATUS              ROW NUMBER               FW LEASE               NOTE3
  NUMBER                                   AREA        BLOCK
                  Fieldwood Energy,
      15213                                 BS           41             B             BS            42          24" SSTI         10            G/C           Partial Abandon            G25383                 G21142
                         LLC
                  Fieldwood Energy,
      17938                                 CA           43             A             VK            247         24"SSTI           6            GAS                Active                G29431                 G32268
                         LLC
                  Fieldwood Energy,
      3519                                  EC           14             CF            EC             9            F/S             4           COND            Out of Service            G13721                 G01440
                         LLC
                  Fieldwood Energy,                                                                                                                           Permitted for
      13104                                 EC            2            F/S            EC             2          6" SSTI           4            GAS                                      G22383
                         LLC                                                                                                                                  Abandonment                                      G15050
                  Fieldwood Energy,                                                                                                                           Permitted for
      17801                                 EC           14             CF            WC            69          30 SSTI          12            GAS                                      G28556                 G01440
                         LLC                                                                                                                                  Abandonment
                  Fieldwood Energy,
       44                                   EI          175             C             EI            176         12" SSTI          8            OIL            Out of Service            G13445                  00438                  [3]
                         LLC
                  Fieldwood Energy,                                                                             14-inch
      1128                                  EI          330        flanged end        EI            306                          14            OIL                Active               G02139A                 G02115                  [3]
                         LLC                                                                                     SSTI
                  Fieldwood Energy,
      6818                                  EI          337             A             EI            330             B             6            GAS            Out of Service            G05932                 G03332
                         LLC
                  Fieldwood Energy,
      6819                                  EI          337             A             EI            330         14 SSTI           6            OIL            Out of Service            G05931                 G03332
                         LLC
                  Fieldwood Energy,
      6852                                  EI          315             A             EI            330         14 SSTI           6            OIL            Out of Service            G13447                 G02112
                         LLC
                  Fieldwood Energy,
      7290                                  EI          316             A             EI            330         14 SSTI           8            OIL                Active                G07537                 G05040
                         LLC
                  Fieldwood Energy,
      7347                                  EI          316             A             EI            330         8" SSTI           6            GAS                Active                G07555                 G05040
                         LLC
                  Fieldwood Energy,
      7914                                  EI          212             A             SS            152         24 SSTI           6            GAS            Out of Service            G08530                 G05503
                         LLC
                  Fieldwood Energy,
      7915                                  EI          212             A             EI            213         12 SSTI           6            OIL            Out of Service            G08531                 G05503
                         LLC
                  Fieldwood Energy,
      7943                                  EI          342             C             EI            327         08 SSTI           4            OIL            Out of Service            G08541                 G02319                  [4]
                         LLC


[1]    Lease carries $0 liability.
[2]    FWE I is to obtain 75% of the Debtors' interests in Segment 9084, 50% of the Debtors' interest in Segments 4647 and 5890 and 79.666% of the Debtors' interest in Segment 17265, and the Credit Bid Purchaser is to obtain the Debtors'
       remaining interests in those four pipeline segments.
[3]    Represents each ROW in which FWE I is to acquire solely as to the same 8/8ths undivided interest that FWE I is to acquire in the related lease referenced above for such ROW; the Debtors' remaining interests in such ROW are to be
       abandoned.
[4]    Represents each ROW in which (i) FWE I is to acquire solely as to the same 8/8ths undivided interest that FWE I is to acquire in the related lease referenced above for such ROW; and (ii) FWE IV is to acquire solely as to the same 8/8ths
       undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The Debtors' remaining interests in such ROW are to be abandoned.




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME     REC AREA   REC BLOCK   REC NAME       SIZE   PRODUCT      STATUS         ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
           Fieldwood Energy,
 9211                             EI     53         B           EI         64       22 SSTI         6       G/C     Partial Abandon     G12373      00479      [3]
                  LLC
           Fieldwood Energy,
 9376                             EI     142        A           EI         141      10 SSTI         4       OIL     Out of Service      G12734
                  LLC                                                                                                                               00052
           Fieldwood Energy,
 11923                            EI     53         C           EI         64       22 SSTI        10       G/C     Out of Service      G20539      00479
                  LLC
           Fieldwood Energy,
 14073                            EI     188       JE           EI         188      06 SSTI         4      BLKG     Out of Service      G29056      00443
                  LLC
           Fieldwood Energy,
 14479                            EI     158        C           EI         176      12"SSTI         6       OIL     Out of Service      G13702     G01220
                  LLC
           Fieldwood Energy,
 15906                            EI     173        G           EI         175         C            4      BLKO     Out of Service      G28239     G13622
                  LLC
           Fieldwood Energy,
 16225                            EI     354        D           EI         337         A            4       OIL     Out of Service      G28598     G10752
                  LLC
           Fieldwood Energy,
 16226                            EI     354        D           EI         337         A            4      GAS      Out of Service      G28599     G10752
                  LLC
           Fieldwood Energy,
 16243                            EI     189        B           EI         188         A            4      GAS      Out of Service      G29057      00423
                  LLC
           Fieldwood Energy,
 18493                            EI     342        C           EI         343        SSTI          6      GAS      Out of Service      G29108     G02319      [4]
                  LLC
                                                                                      Blind
 19960    Fieldwood Energy LLC    EI     342        C           EI         342                      6       OIL     Out of Service                 G02319      [4]
                                                                                     Flange                                             G29471
           Fieldwood Energy,
   -                              EI     187        2           EI         187         2                                Active          G30283     G10736
                  LLC
           Fieldwood Energy,
 8487                            EW      826        A          ST          300      12 SSTI        12       OIL     Out of Service      G10110     G05800
                  LLC
           Fieldwood Energy,
 15298                           GA      210        B          GA          239      12 SSTI         8       G/C         Active          G26931     G25524      [3]
                  LLC
                                                                                                                    Permitted for
           Fieldwood Energy,
 7866                             GI     33         A           GI         22          L            8      GAS      Abandonment         G08514     G04002
                  LLC
                                                                                                                      Approved
 9084       GOM Shelf, LLC        GI     43        AS           GI         19         F/S          10       OIL        Active           G12304      00175      [2]
                                                                                                                    Permitted for
           Fieldwood Energy,
 17673                            GI     54        #2           GI         47          L            4      BLKO     Abandonment         G28528     G27173
                  LLC
                                                                                                                      Approved
           Fieldwood Energy,
 5470                             HI    A356      Valve         HI        A343        HIOS         12      GAS      Out of Service      G04050     G02754
                  LLC
           Fieldwood Energy,
 6504                             HI    A595        D           HI         573         B            8       OIL     Out of Service      G28525     G02721
                  LLC
           Fieldwood Energy,
 6669                             HI    A 376       A           HI        A 356     12 SSTI        10       GAS     Out of Service      G05238     G02754      [3]
                  LLC
                                                                                    12 SSTI
 6669     Fieldwood Energy LLC    HI    A 376   Platform A      HI        A 356     W/PSN          10      GAS      Out of Service      G05238     G02754      [3]
                                                                                     10882




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME     REC AREA   REC BLOCK   REC NAME       SIZE   PRODUCT      STATUS         ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
           Fieldwood Energy,
 10882                            HI    A356     10SST          HI        A356        12SSTI       12       GAS     Out of Service      G04051     G02754      [3]
                  LLC
           Fieldwood Energy,                                                                                        Permitted for
 11841                            HI    A 545      JA           HI        A 547         B           6      BLKG                         G20510     G17199
                  LLC                                                                                               Abandonment
           Fieldwood Energy,
 14650                            HI     201       #1           HI         199          A           6      BLKG     Partial Abandon     G25397     G23199
                  LLC
           Fieldwood Energy,
 15401                            HI    A 341       B           HI        A 340      30" SSTI      812      G/C         Active          G26938     G25605      [3]
                  LLC
           Fieldwood Energy,
 15581                            HI     120        A           HI         128         SSTI         6       G/C     Out of Service      G26968     G24730
                  LLC
           Fieldwood Energy,
 16077                            HI     130       #2           HI         165      8-inch SSTI     8      BLGH     Partial Abandon     G28284     G25579      [1]
                  LLC
                                                                                     16-inch
 18789    Fieldwood Energy LLC    HI     116    Platform A      HI         71                      16       G/C         PABN            G28649     G06156
                                                                                      SSTI
           Fieldwood Energy,
 9032                            MC      311        A          MC          312        8 SSTI        8       OIL         Active          G11747     G02968
                  LLC
           Fieldwood Energy,
 3472                            MP      140        B          MP          56          F/S         18      BLKG     Out of Service      G13511     G02193
                  LLC
 5917       GOM Shelf, LLC       MP      311        A          MP          313       12 SSTI        8       OIL     Out of Service      G13466     G02213
           Fieldwood Energy,
 7143                            MP      310        A          MP          297       12 SSTI        6       OIL     Out of Service      G07100     G04126
                  LLC
           Fieldwood Energy,
 13100                           MP      259        A          VK          739         #01          5      UMB      Out of Service      G22377     G07827
                  LLC
           Fieldwood Energy
 15818                           MP      77         A          MP          151       18"SSTI        8      GAS      Out of Service      G28221     G04481      [4]
              Offshore LLC
           Fieldwood Energy,
 5408                             PL     10         B           PL         13        20 SSTI        8       OIL     Out of Service      G09317     G02925
                  LLC
           Fieldwood Energy,
 16044                            PL      9       #10           PL         10           B           6      BLKG     Out of Service      G28276     G02924
                  LLC
           Fieldwood Energy,
 4008                            SM      268        A          SS          28           A          12       OIL     Out of Service      G02816     G34284
                  LLC
           Fieldwood Energy,
 4647                            SM      149     6"SSTI        SM          132          B           6      BLKO     Out of Service      G03432     G02592      [2]
                  LLC
           Fieldwood Energy,
 5427                            SM      281        E          SM          268          A          12      SPLY     Out of Service      G02817     G02600
                  LLC
           Fieldwood Energy,
 5429                            SM      281        C          SM          281       12 SSTI       10      SPLY     Out of Service      G02817     G02600
                  LLC
           Fieldwood Energy,
 6512                            SM      281        C          SM          268          D          10      BLKO     Out of Service      G29131     G02600
                  LLC
           Fieldwood Energy,
 6513                            SM      268        D          SM          268          A          10      BLKO     Out of Service      G29132     G02310
                  LLC
           Fieldwood Energy,
 10977                           SM      268        A          SM          280         #03          3      BLKG         Active          G28756     G14456
                  LLC




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SEGMENT                       ORG     ORG
          COMPANY NAME                       ORG NAME     REC AREA   REC BLOCK   REC NAME      SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                        AREA   BLOCK
          Fieldwood Energy,
 11046                        SM      11     Well No.34     SM          10          A           6      BLKG     Out of Service     G28813     G01182
                 LLC
          Fieldwood Energy,
 11047                        SM      10         A          SM          11          34          3      LIFT     Out of Service     G28812     G01181
                 LLC
          Fieldwood Energy,
 11986                        SM      39         A          SM          33       30 SSTI        8      GAS      Out of Service     G20565     G16320
                 LLC
          Fieldwood Energy,
 11987                        SM      39         A          SM          40       10 SSTI        6       OIL     Out of Service     G20566     G16320
                 LLC
          Fieldwood Energy,                                                                                     Permitted for
 13642                        SM      280        H          SM          268         A          10      BLKG                        G28758     G14456      [3]
                 LLC                                                                                            Abandonment
          Fieldwood Energy,
 17499                        SM      269        B          SM          268         A          10      GAS          Active         G28484     G02311
                 LLC
          Fieldwood Energy,                    No.58
 18057                        SM      11                    SM          10          A           4      BLKG     Out of Service     G28815     G01182
                 LLC                          Caisson
          Fieldwood Energy,
 18510                        SM      10         A          SM          287        SSTI         6      GAS      Out of Service     G29113     G01181
                 LLC
          Fieldwood Energy,
 18563                        SM      48         E          SM          39          A           6       G/C     Out of Service     G29128      00786
                 LLC
          Fieldwood Energy,
 18583                        SM      10         A          SM          11         SSTI         4       OIL     Out of Service     G28814     G01181
                 LLC
          Fieldwood Energy,
 18802                        SM      39         A          SM          48          E           3      LIFT     Out of Service     G29182     G16320
                 LLC
          Fieldwood Energy,
 4716                          SP     70         C          SP          60          B           8      GAS          Active         G03436     G01614
                 LLC
          FW GOM Pipeline,                                                         F/S
 15064                         SP     49         A          SP          27                     10       G/O         Active         G07561     G05051
                 Inc.                                                            Boundary
          Fieldwood Energy,
 15598                         SP     70         C          SP          60          E           6       OIL     Out of Service     G26860     G01614
                 LLC
          Fieldwood Energy,
 15626                         SP     65         A          SP          62       18 SSTI        8       OIL     Out of Service    G01686A     G01610
                 LLC
          Fieldwood Energy,
 1137                         SS      207    A Platform     SS          204         A           4      GAS      Out of Service     G13489     G01523      [3]
                 LLC
          Fieldwood Energy,
 1138                         SS      204        A          SS          207         A           6       G/O     Out of Service     G13491     G01520      [3]
                 LLC
          Fieldwood Energy,
 1147                         SS      207        A          SS          208       F-Pump       12       OIL     Out of Service     G13492     G01523      [3]
                 LLC
          Fieldwood Energy,
 6432                         SS      182        A          SS          169      18 SSTI        6       OIL         Active         G09321     G03998
                 LLC
          Fieldwood Energy,
 6538                         SS      91         A           PL         11       08 SSTI        6       OIL     Out of Service     G05146     G02919
                 LLC
          Fieldwood Energy,                                                       18-inch
 6748                         SS      169    C Platform     SS          169                     6       OIL     Out of Service     G09322      00820      [4]
                 LLC                                                               SSTI
          Fieldwood Energy,
 7650                         SS      178        A          SS          169      18 SSTI        6       OIL     Out of Service     G08054     G05551
                 LLC




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME      REC AREA   REC BLOCK   REC NAME        SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
            Fieldwood Energy,
 10406                           SS      274        A            EI         259          A            8       OIL         Active         G14731     G01039
                   LLC
            Fieldwood Energy,
 10780                           SS      193        A           SS          183       18 SSTI         6       OIL         Active         G15683     G13917
                   LLC
            Fieldwood Energy,
 10781                           SS      193        A           SS          183       10 SSTI         6      GAS          Active         G15684     G13917
                   LLC
            Fieldwood Energy,
 11137                           SS      129        A           SS          122       18 SSTI         6       OIL     Out of Service     G16084     G12941
                   LLC
            Fieldwood Energy,
 11145                           SS      129        A           SS          149        6 SSTI         6       G/C     Out of Service     G16087     G12941
                   LLC
            Fieldwood Energy,
 11480                           SS      105        A            EI         165       30 SSTI        10      GAS      Out of Service     G18801     G09614
                   LLC
            Fieldwood Energy,
 11544                           SS      126        B           SS          105          A            6      BLKG     Out of Service     G18820     G12940
                   LLC
            Fieldwood Energy,
 12778                           SS      189        A           SS          185       26"SSTI         8       G/C     Out of Service     G22139     G04232      [3]
                   LLC
            Fieldwood Energy,
 15530                           SS      183      Flange        SS          169        Flange        10      GAS      Out of Service     G01460     G13917
                   LLC
            Fieldwood Energy,                                                                                         Permitted for
 16036                           SS      190    Capped End      SS          207          A            4      BLKO                        G14734     G10775
                   LLC                                                                                                Abandonment
            Fieldwood Energy,
 18837                           SS      176        C            EI         212          A            6      BLKG     Out of Service     G29190     G33646
                   LLC
            Fieldwood Energy,
 20050                           SS      168       SSTI         SS          168         SSTI          6                 Proposed         G28788
                   LLC                                                                                                                               00820      [4]
            Fieldwood Energy,
 5890                             ST     53         A           ST          52           A            6       OIL     Out of Service     G09319     G04000      [2]
                   LLC
            Fieldwood Energy,
 7802                             ST     295        A           ST          296       SS 8487         8       OIL         Active         G08385     G05646
                   LLC
            Fieldwood Energy,
 8676                             ST     206        A           ST          175         T-22         16       G/C     Out of Service     G11146     G05613
                   LLC
            Fieldwood Energy,
 9313                             ST     295        A           ST          295       24 SSTI         8      GAS          Active         G12709     G05646
                   LLC
            Fieldwood Energy,
 13462                            ST     205        G           ST          206          A            8      BLKG     Out of Service    G028821     G05612
                   LLC
 13462    Fieldwood Energy LLC    ST     205         G          ST          206          A            8      BLKG     Out of Service     G29451     G05612
            Fieldwood Energy,                   Caisson No.
 17265                            ST     68                     ST          53           A            6      BLKO     Out of Service     G28385     G04000      [2]
                   LLC                               1
            Fieldwood Energy,
 17898                            ST     49     Platfrom A      ST          35       6-inch SSTI      4       OIL     Out of Service     G28577     G24956
                   LLC
            Fieldwood Energy,
 19776                            ST     295     24" SSTI       ST          292          A           24      GAS          Active         G29376     G05646
                   LLC
            Fieldwood Energy,
 13098                           VK      694       #04          MP          259          A            4      BLKG     Out of Service     G22376     G13055
                   LLC




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME      REC AREA   REC BLOCK   REC NAME      SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
           Fieldwood Energy,
 13099                           VK      739      SS #3         MP          259          A          4      BLKG     Out of Service     G22377     G07827
                  LLC
           Fieldwood Energy
 13720                           VK      340    8-inch SSTI     VK          251      Platform A     8      BLGH         Active         G28703     G10933      [4]
              Offshore LLC
           Fieldwood Energy,
 13721                           VK      251        A           VK          340          A          3       AIR         Active         G28704     G10930
                  LLC
           Fieldwood Energy,
 14876                           VK      251        A           MP          154          A          4      H2O          Active         G22465     G10930
                  LLC
           Fieldwood Energy,
 6113                            VR      380        A           VR          397       24 SSTI      12      GAS      Out of Service     G04645     G02580
                  LLC
           Fieldwood Energy,                                                          22-inch
 12502                           VR      326    A Platform      VR          321                     6       G/C     Out of Service     G21523     G21096
                  LLC                                                                  SSTI
           Fieldwood Energy,
 17090                           VR      261        A           VR          265          A          8      BLKO     Out of Service     G28347     G03328      [4]
                  LLC
           Fieldwood Energy,
 18502                           VR      380        A           VR          398       16" SSTI      6       OIL     Out of Service     G02919     G02580
                  LLC
                                                                                      16-inch
 18502    Fieldwood Energy LLC   VR      380    Platform A      VR          398                     6       OIL     Out of Service     G29109     G02580
                                                                                       SSTI
            Fieldwood Energy,
 2698                            WC      102      flange        WC          102          G          8      GAS      Out of Service    G02124D      00247
                   LLC
            Fieldwood Energy,
 3763                            WC      102       #02          WC          102       08 SSTI       8      GAS      Out of Service    G02124D      00247
                   LLC
            Fieldwood Energy,
 3986                            WC      66         A           WC          31          F/S        10       G/O         Active         G03345     G01860
                   LLC
            Fieldwood Energy,
 5343                            WC      34         D           WC          35        10 SSTI       8       G/O     Out of Service     G28659     G01860
                   LLC
           Bandon Oil and Gas,
 8621                            WC      290        A           WC          289          A          6      BLKG     Out of Service     G10532     G04818
                    LP
            Fieldwood Energy,
 9504                            WC      71      12 SSTI        WC          71        12 SSTI      12      GAS      Out of Service     G04346      00244
                   LLC
            Fieldwood Energy
 14251                           WC      72         #1          WC          65          JA          4      BLKG     Out of Service     G25275     G23735      [3]
               Offshore LLC
            Fieldwood Energy,
 15210                           WC      295        2            HI         120      A-PROCESS      6      BLKG     Out of Service     G26886     G24730
                   LLC
            Fieldwood Energy,
 15952                           WC      33         O           WC          34           D          4       G/O     Out of Service     G28657     G15050
                   LLC
            Fieldwood Energy                                                           16-inch
 20483                           WC      295    Flanged End     WC          293                    12       G/C         PABN           G10085     G01848
               Offshore LLC                                                             SSTI
 23036    Fieldwood Energy LLC   WC      289    A-PROCESS       WC          289      A-PROCESS                         Expired         G14262     G04818
            Fieldwood Energy,
 7919                            WD      105        E           WD          104          D          6      GAS      Out of Service     G08533      00842
                   LLC
            Fieldwood Energy,
 15960                           WD      90         A           WD          73         SSTI         4       OIL     Out of Service     G28260     G01089      [3]
                   LLC




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SEGMENT                       ORG     ORG
          COMPANY NAME                       ORG NAME   REC AREA   REC BLOCK   REC NAME    SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                        AREA   BLOCK
          Fieldwood Energy,
 16088                        WD      122       A         WD          105         E         6      GAS      Out of Service     G28289     G13645      [3]
                 LLC
          Fieldwood Energy,
 16089                        WD      122       A         WD          105         E         3       OIL     Out of Service     G28290     G13645      [3]
                 LLC




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                                                                  FWE I RUE

           Block                 Complex      Authority                                   Approval
 Area               Structure                               FW Lease          Operator                        Associated Assets           Note4
            No.                   ID No.        No.                                         Date
                                                                            Fieldwood                   EI 187 JC001, JD001, JD002,
  EI       188         JE         26052       G30268         G10736                       04/18/14
                                                                           Energy LLC                           002 & JE002
                       A-                                                   Fieldwood
  HI       120                    10450       G30270         G01848                       08/06/14          WC 295 A001 & A002
                    PROCESS                                                Energy LLC
                                                                            Fieldwood                   SM 136 C007, SM 149 C001,
 SM        132          B         21982       G30329         G02588                       05/06/19                                         [1]
                                                                           Energy LLC                         C002 & C004
                                                                            Fieldwood
 SM         10          A         20706       G30365         G01181
                                                                           Energy LLC
                                                                                                         SM 257 001, SM 269 B017,
                                                                                                         B019, F001, SM 280 G001,
                                                                                                        G002, H001, B, F, SM 280 G,
                                                                            Fieldwood
 SM        268          A         21739       G30282         G14456                       06/15/18        H, I, SM 281 C010, C014,         [2]
                                                                           Energy LLC
                                                                                                          C015, C020, C023, C024,
                                                                                                          C025, C026, C028, E005,
                                                                                                           E011, I001, I003, C & E
                                                                            Fieldwood
 SM        268       A-PRD        21739       G30282         G14456                       06/15/18     Production from SM 268 A RUE        [2]
                                                                           Energy LLC
                                                                            Fieldwood
  ST       206          A         23851       G30291         G05612                       12/11/15          ST 205 G001 & G003
                                                                           Energy LLC




[1]    RUE services a lease to be co-owned by FWE I and the Credit Bid Purchaser (for SM 149) plus a lease going just to FWE I. RUE only assignable
       to one entity and are assigned to entity with operatorship. Expenditures will be shared based on serviced lease ownership.
[2]    RUE services leases included on both FWE I and Abandoned Properties schedules. RUE only assignable to one entity and are assigned to entity
       with operatorship. Expenditures will be shared based on serviced lease ownership.




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                                  Exhibit D
       Leases, Rights of Way and Rights of Use and Easement Related to
                      FWE III Oil & Gas Lease Interests
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                                    Leases Related to FWE III Oil & Gas Lease Interests*
                                                                           Le Cur Acres
      Block       Lease        Type         Rights        Date Le Eff                                Operator          WI       Lease Status        Note†
                                                                               (Ac)
     BS 41       G21142       Federal       OP 2           5/1/1999           4,995           Fieldwood En Off          10%       TERMIN             [1]
     BS 41       G21142       Federal    Contractual       5/1/1999           4,995           Fieldwood En Off          25%       TERMIN             [1]
     EC 257      G21580       Federal       OP 1           7/1/2000           5,000           Fieldwood En Off         100%       TERMIN
     GA 241      G01772       Federal       OP 1           7/1/1968           1,440           Fieldwood En Off         100%       TERMIN
     GA 241      G01773       Federal        RT            7/1/1968           1,440           Fieldwood En Off         100%       TERMIN
     GA 255      G01777       Federal        RT            7/1/1968           5,760           Fieldwood En Off         100%       TERMIN
      GI 83      G03793       Federal        RT            6/1/1978           5,000           Fieldwood En Off         100%       TERMIN
    HI A-446     G02359       Federal        RT            8/1/1973           5,760             Bandon O&G             100%       TERMIN
    HI A-447     G02360       Federal        RT            8/1/1973           5,760             Bandon O&G             100%       TERMIN
     MP 154      G10902       Federal        RT            7/1/1989           4,995           Fieldwood En Off         100%       TERMIN
     MP 112      G09707       Federal        RT            6/1/1988           4,995           Fieldwood En Off         100%       RELINQ
     SM 39       G16320       Federal        RT            7/1/1996           5,000           Fieldwood En Off          50%        PROD
     ST 242      G23933       Federal        RT            6/1/2002           5,000           Fieldwood En Off          60%       TERMIN
     VR 314      G05438       Federal       OP 2           7/1/1983           5,000           Fieldwood En Off          50%        PROD
     VR 315      G04215       Federal       OP 1           1/1/1980           5,000           Dynamic Off Res           50%       TERMIN
     VR 332      G09514       Federal       OP 1           7/1/1988           5,000             Fieldwood En            67%        PROD              [1]
     VR 332      G09514       Federal        RT            7/1/1988           5,000             Fieldwood En           100%        PROD              [1]
     VR 333      G14417       Federal        RT            7/1/1994           4,201           Fieldwood En Off          67%       TERMIN
     VK 113      G16535       Federal        RT            6/1/1996           5,760           Fieldwood En Off         100%       TERMIN
     VK 251      G10930       Federal       OP 1           7/1/1989           5,760           Fieldwood En Off         100%        UNIT              [1]
     VK 340      G10933       Federal       OP 1           7/1/1989           5,760           Fieldwood En Off         100%        UNIT              [1]
    WC 100       G22510       Federal        RT            7/1/2001           5,000           Fieldwood En Off         100%       RELINQ
    WC 290       G04818       Federal       OP 1           9/1/1981           5,000           Fieldwood En Off          50%       TERMIN             [1]




*
       The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the Plan and subject to any
       consent rights under the Restructuring Support Agreement.
[1]    Represents leases in which Fieldwood III is to acquire all of the Debtors' right, title and interest in such lease (less and except the right, title and
       interest acquired by FWE from Apache); as to all remaining leases on this schedule, FWE III is to obtain all of the Debtors' right, title and interest
       in such leases.


Legend: CONT – Contractual; OP 1- Operating Rights 1; OP 2 - Operating Rights 2; RT - Record Title
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                                                                       FWE III ROW
SEGMENT                      ORG                                                                                                          ROW
          COMPANY NAME              ORG BLOCK    ORG NAME   REC AREA   REC BLOCK    REC NAME      SIZE      PRODUCT       STATUS                  FW LEASE
NUMBER                       AREA                                                                                                        NUMBER
            Fieldwood
 15213                       BS        41            B         BS          42       24" SSTI       10         G/C      Partial Abandon   G25383   G21142
           Energy, LLC
          Bandon Oil and                                                                                               Permitted for
 5911                         GI       83            A          GI         82        16 SSTI       6          GAS                        G04355   G03793
             Gas, LP                                                                                                   Abandonment
                                                                                                                       Permitted for
             Fieldwood
 9006                        MP        112          #02        MP         117        08 SSTI       6         BLKG      Abandonment       G11738   G09707
            Energy, LLC
                                                                                                                         Approved
             Fieldwood
                                                                                                                       Permitted for
 15220    Energy Offshore     ST       242           A         SS         283        24 SSTI       8          G/C                        G26891   G23933
                                                                                                                       Abandonment
                 LLC
             Fieldwood
 19427                       VK        113           A         CA          43           A          4         BLKG      Out of Service    G29321   G16535
            Energy, LLC
             Fieldwood
 13721                       VK        251           A         VK         340           A          3          AIR          Active        G28704   G10930
            Energy, LLC
             Fieldwood
 14876                       VK        251           A         MP         154           A          4          H2O          Active        G22465   G10930
            Energy, LLC
             Fieldwood
                                                   8-inch
 13720    Energy Offshore    VK        340                     VK         251       Platform A     8         BLGH          Active        G28703   G10933
                                                    SSTI
                 LLC
              Dynamic
 7298                        VR        315           A         VR         331        06 SSTI       6          OIL      Out of Service    G07545   G04215
           Industries, Inc
              Dynamic
 10736                       VR        332           A         VR         315           A          8         BLKG      Out of Service    G15672   G09514
           Industries, Inc
              Dynamic
 10737                       VR        332           A         VR         315           A          6          LIFT     Out of Service    G15673   G09514
           Industries, Inc
             Fieldwood                                                                                                 Permitted for
 14210    Energy Offshore    WC        100           A         WC         102       30" SSTI       8          G/C      Abandonment       G24699   G22510
                 LLC                                                                                                     Approved
                                                                                                                       Permitted for
             Fieldwood
 13864                       WC        100           A         WC         102        30 SSTI       8          G/C      Abandonment       G24253   G22510
            Energy, LLC
                                                                                                                         Approved
          Bandon Oil and
 8621                        WC        290           A         WC         289           A          6         BLKG      Out of Service    G10532   G04818
             Gas, LP



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                                                                FWE III RUE

                                 Complex      Authority                                            Approval
Area   Block No.    Structure                               FW Lease            Operator                           Associated Assets        Note3
                                  ID No.        No.                                                  Date
                                                                             Fieldwood Energy
 GA       255           A         10050        G30195       G01777                                 06/12/13       GA 241 A005 & B004
                                                                                Offshore LLC
                                                                             Fieldwood Energy
 MP       154           A         24171        G30337       G10902                                 02/03/17       MP 154 A001 & A002
                                                                                Offshore LLC
                                                                             Fieldwood Energy                  VR 332 A001, A002, A005
 VR       315           A         22981        G30213       G04215                                 11/26/13
                                                                                Offshore LLC                            & A006
                                                                             Fieldwood Energy                  Production from VR 315 A
 VR       315         A-AUX       22981        G30213       G04215                                 11/26/13
                                                                                Offshore LLC                              RUE
                                                                                                                 ROW accessory PF WC
 WC       289      A-PROCESS      23036        G14262       G04818       Fieldwood Energy LLC      12/03/93                                   [1]
                                                                                                                         289 A




[1] RUE services lease included on both FWE I and FWE III schedules. RUE only assignable to one entity and are assigned to entity with operatorship.
    Expenditures will be shared based on serviced lease ownership.


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                                  Exhibit E
       Leases, Rights of Way and Rights of Use and Easement Related to
                      FWE IV Oil & Gas Lease Interests
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                                    Leases Related to FWE IV Oil & Gas Lease Interests *

                                                                                   Le Cur Acres
      Block             Lease      Type          Rights          Date Le Eff                       Operator     WI          Lease Status          Note 2
                                                                                       (Ac)
                                                                                                  Fieldwood
    BA A-105          G01757      Federal         RT A            7/1/1968            5,760           En       56.3%           PROD              [3], [4]
                                                                                                  Fieldwood
    BA A-105          G01757      Federal         RT B            7/1/1968            5,760           En       100%            PROD                 [1]
                                                                                                  Fieldwood
    BA A-105          G01757      Federal         OP 1            7/1/1968            5,760           En         88%           PROD                 [1]
                                                                                                     GOM
    BA A-133          G02665      Federal          RT             7/1/1974            5,760          Shelf       25%           PROD                 [1]
                                                                                                  Fieldwood
     EB 158           G02645      Federal          RT             7/1/1974            5,760         SD Off       66%           PROD
                                                                                                  Fieldwood
     EB 159           G02646      Federal          RT             7/1/1974            5,760         SD Off       66%           PROD
                                                                                                  Fieldwood
     EB 160           G02647      Federal          RT             7/1/1974            5,760         SD Off       33%           PROD                 [2]
                                                                                                  Fieldwood
     EB 161           G02648      Federal          RT             7/1/1974            5,760         SD Off       33%           PROD                 [2]
                                                                                                  Fieldwood
     EC 331           G08658      Federal         OP 1            8/1/1987            5,000         En Off       53%          TERMIN                [2]
                                                                                                  Fieldwood
     EC 331           G08658      Federal         OP 2            8/1/1987            5,000         En Off       53%          TERMIN                [2]
                                                                                                  Fieldwood
     EC 332           G09478      Federal          RT             5/1/1988            5,000         En Off       88%          TERMIN


*
    The Debtors and CUSA reserve the right to amend, modify, or supplement this schedule.

[1]    Represents leases in which FWE IV is to acquire all of the Debtors' right, title and interest in such leases (less and except the right, title and
       interest acquired by FWE from Apache); as to all remaining leases on this schedule (other than those leases referenced in footnotes [2]-[3]
       below), all of the Debtors' right, title and interest in such leases are to be acquired by FWE IV.
[2]    Represents leases in which FWE IV is to acquire solely the right, title and interest acquired by FWE from Chevron. The Debtors' remaining right,
       title and interest in such leases are to be abandoned.
[3]    Represents leases in which (i) FWE IV is to acquire solely the right, title and interest acquired by FWE from Chevron; and (ii) FWE I is to acquire
       solely the right, title and interest acquired by FWE from Apache. The Debtors' remaining right, title and interest in such leases are to be abandoned.
[4]    All of the rights of Chevron are reserved with respect to this interest pending further diligence.

Legend: OP 1- Operating Rights 1; OP 2 - Operating Rights 2; RT A - Record Title A; RT B - Record Title B

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                                                                         Le Cur Acres
    Block               Lease    Type       Rights     Date Le Eff                      Operator    WI     Lease Status   Note 2
                                                                             (Ac)
                                                                                        Fieldwood
   EC 332             G09478    Federal     OP 1        5/1/1988            5,000         En Off    88%      TERMIN
                                                                                        Fieldwood
    EI 342            G02319    Federal     RT A        2/1/1973            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
  HI A-550            G04081    Federal      RT        10/1/1979            5,760         En Off    100%      PROD
                                                                                        Fieldwood
  HI A-550            G04081    Federal     OP 1       10/1/1979            5,760         En Off    100%      PROD
                                                                                        Fieldwood
  HI A-550            G04081    Federal     OP 2       10/1/1979            5,760         En Off    100%      PROD
                                                                                        Fieldwood
    MP 77             G04481    Federal      RT        11/1/1980            4,655         En Off    56%      RELINQ        [3]
                                                                                        Fieldwood
   SM 132             G02282    Federal      RT         2/1/1973            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SM 136             G02588    Federal      RT         5/1/1974            2,500           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SM 137             G02589    Federal      RT         5/1/1974            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SM 150             G16325    Federal      RT         6/1/1996            3,329           En      50%      RELINQ        [1]
                                                                                        Fieldwood
    SM 66             G01198    Federal      RT         6/1/1962            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SS 169              00820    Federal      RT         4/1/1960            5,000           En      33%       PROD         [1]
                                                                                        Fieldwood
   SS 206             G01522    Federal      RT         7/1/1967            5,000           En      40%       UNIT         [1]
                                                                                        Fieldwood
   SS 207             G01523    Federal      RT         7/1/1967            5,000           En      26%       UNIT         [3]
                                                                                           Beryl
   ST 169             G01253    Federal      RT         6/1/1962            4,708          O&G      100%     TERMIN
                                                                                        Fieldwood
   ST 195             G03593    Federal      RT         8/1/1977            5,000         En Off    100%     TERMIN
                                                                                        Fieldwood
   VR 196             G19760    Federal     OP 1        8/1/1998            5,000         En Off    25%      TERMIN        [2]
                                                                                        Fieldwood
   VR 207             G19761    Federal     OP 1        8/1/1998            5,000         En Off    46%      RELINQ


                                                                     2

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                                                                         Le Cur Acres
    Block               Lease    Type       Rights     Date Le Eff                      Operator    WI    Lease Status   Note 2
                                                                             (Ac)
                                                                                        Fieldwood
   VR 261             G03328    Federal      RT         4/1/1976            5,429           En      25%     TERMIN        [1]
                                                                                        Fieldwood
   VR 261             G03328    Federal     OP 1        4/1/1976            5,429           En      25%     TERMIN        [1]




                                                                     3

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                                                                                                             FWE IV ROW

   SEGMENT                           ORG         ORG                                                                                                                                          ROW
                  COMPANY NAME                                ORG NAME         REC AREA         REC BLOCK          REC NAME           SIZE          PRODUCT              STATUS                                     FW LEASE              NOTE 3
   NUMBER                            AREA       BLOCK                                                                                                                                        NUMBER
                     Fieldwood
      7912                             EB         160             A                HI              A582              SSTI              12              GAS            Out of Service          G08528                 G02647                [1]
                    Energy, LLC
                  Bandon Oil and
      10301                            EC         332             A                EC               330             08 SSTI             6              OIL            Out of Service          G14699                 G09478                [1]
                       Gas, LP
                     Fieldwood
      7943                             EI         342             C                EI               327             08 SSTI             4              OIL            Out of Service          G08541                 G02319                [2]
                    Energy, LLC
                     Fieldwood
      18493                            EI         342             C                EI               343              SSTI               6              GAS            Out of Service          G29108                 G02319                [2]
                    Energy, LLC
                 Fieldwood Energy
      19960                            EI         342             C                EI               342           Blind Flange          6              OIL            Out of Service                                 G02319                [2]
                         LLC                                                                                                                                                                  G29471
                     Fieldwood
      7684                             HI        A 550            A                HI              A 568            20 SSTI            10              GAS            Out of Service          G08276                 G04081                [1]
                    Energy, LLC
                     Fieldwood
      6340                             HI        A 568      Subsea Valve           HI              A 539            20 SSTI            20              G/C            Out of Service          G04974                 G04081                [1]
                    Energy, LLC
                 Fieldwood Energy
      15818                            MP          77             A                MP               151             18"SSTI             8              GAS            Out of Service          G28221                 G04481                [2]
                    Offshore LLC
                     Fieldwood
      20050                            SS         168            SSTI              SS               168              SSTI               6                                Proposed             G28788                                       [2]
                    Energy, LLC                                                                                                                                                                                       00820
                     Fieldwood
      6748                             SS         169         C Platform           SS               169          18-inch SSTI           6              OIL            Out of Service          G09322                  00820                [2]
                    Energy, LLC
                                                                                                                                                                      Permitted for
                  Bandon Oil and
      18094                            ST         195             B                ST               196              SSTI               6              G/C            Abandonment             G29005                 G03593                [1]
                     Gas, LP
                                                                                                                                                                        Approved
                                                                                                                                                                      Permitted for
                  Bandon Oil and
      11107                            ST         196       06-inch SSTI           SS               208                F                6              OIL            Abandonment             G05120                 G03593                [1]
                     Gas, LP
                                                                                                                                                                        Approved
                    Fieldwood
      13720                            VK         340           8"SSTI             VK               251                A                8             BLGH                Active              G28221                 G04481                [2]
                   Energy, LLC
                  Bandon Oil and
      13193                            VR         196             A                VR               206             12 SSTI             8              G/C            Out of Service          G22418                 G19760                [1]
                     Gas, LP
                    Fieldwood
      18591                            VR         196             A                VR               215                A                4             BLKO            Out of Service          G29137                 G19760                [1]
                   Energy, LLC
                    Fieldwood
      18588                            VR         215             A                VR               196                A                4              GAS                Active              G29136                 G19760                [1]
                   Energy, LLC
                    Fieldwood
      17090                            VR         261             A                VR               265                A                8             BLKO            Out of Service          G28347                 G03328                [2]
                   Energy, LLC




[1]    Represents each ROW in which (i) FWE IV is to acquire solely as to the same 8/8ths undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The Debtors' remaining interests in such ROW are to
       be abandoned.
[2]    Represents each ROW in which (i) FWE I is to acquire solely as to the same 8/8ths undivided interest that FWE I is to acquire in the related lease referenced above for such ROW; and (ii) FWE IV is to acquire solely as to the same 8/8ths
       undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The Debtors' remaining interests in such ROW are to be abandoned.

                                                                                                                        4

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                                                                      FWE IV RUE

                                            Complex    Authority
 Area      Block No.          Structure                            FW Lease       Operator   Approval Date          Associated Assets
                                             ID No.      No.
 None




                                                                              5
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                                  Exhibit F
       Leases, Rights of Way and Rights of Use and Easement Related to
                            Abandoned Properties
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                                             Leases Related to Abandoned Properties*


                                                                                  Le Cur
      Block         Lease            Type            Rights       Date Le Eff     Acres          Operator            WI      Lease Status          Note†
                                                                                   (Ac)
    BA A-102       G01754          Federal             RT           6/1/1968      5,760        Fieldwood En         100%        TERMIN
    BA A-105       G01757          Federal            RT A          7/1/1968      5,760        Fieldwood En       31.25%         PROD             [6] [7]
     EB 160        G02647          Federal             RT          7/1/1974       5,760      Fieldwood SD Off        67%         PROD               [5]
     EB 161        G02648          Federal             RT          7/1/1974       5,760      Fieldwood SD Off        67%         PROD               [5]
     EB 165        G06280          Federal             RT          10/1/1983      5,760      Fieldwood SD Off       100%         UNIT
     EB 209        G07397          Federal             RT          9/1/1984       5,760      Fieldwood SD Off       100%         UNIT
     EC 330        G03540          Federal            OP 1          8/1/1977      5,000      Fieldwood En Off        50%        TERMIN
     EC 331        G08658          Federal            OP 1          8/1/1987      5,000      Fieldwood En Off        40%        TERMIN              [5]
     EC 331        G08658          Federal            OP 2          8/1/1987      5,000      Fieldwood En Off        40%        TERMIN              [5]


*
      The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the Plan and subject to any consent
      rights under the Restructuring Support Agreement.

[1]   Represents leases in which all of the Debtors' right, title and interest in such leases are to be abandoned (less and except the right, title and
      interest acquired by FWE from Apache); as to all remaining leases on this schedule (other than those leases referenced in footnotes [2]-[6]
      below), all of the Debtors' right, title and interest in such leases are to be abandoned. For each lease on this schedule, see the BOEM's Serial
      Register Page to identify the Debtors' interests; this schedule identifies each separate interest of the Debtors that carries any assets or liabilities,
      but does not necessarily identify each separate interest of the Debtors in each such lease.
[2]   Fieldwood Energy Offshore's record title solely as to the NE/4 of the block and its interest in the operating rights are to be abandoned; its
      remaining record title and its overriding royalty interests are to be acquired by the Credit Bid Purchaser.
[3]   FWE I is to acquire solely the operating rights as to the NE/4 of this block; the Credit Bid Purchaser is to obtain the Debtors' overriding royalty
      interest in this lease; and the Debtors' remaining interests in the lease are to be abandoned.
[4]   Represents leases where the Credit Bid Purchaser is to acquire solely the Debtors' overriding royalty interests; the Debtors' remaining interests
      in these leases are to be abandoned.
[5]   Represents leases in which all of the Debtors' right, title and interest in such leases are to be abandoned (less and except the right, title and
      interest acquired by FWE from Chevron).
[6]   Represents leases in which all of the Debtors' right, title and interest in such leases are to be abandoned (less and except the right, title and
      interests acquired by FWE from both Apache and Chevron).
[7]   All of the rights of Chevron are reserved with respect to this interest pending further diligence.

Legend: CONT - Contractual; OP 1- Operating Rights 1; OP 2 - Operating Rights 2; OP 3 - Operating Rights 3; OP 4 - Operating Rights 4; OP 5 - Operating Rights 5;
OP 11 - Operating Rights 11; OP 13 - Operating Rights 13; ORRI - Overriding Royalty Interest; RT - Record Title; RT A - Record Title A; RT B - Record Title B;
RT C - Record Title C; WI - Working Interest
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                                                                Le Cur
 Block     Lease      Type        Rights      Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                                 (Ac)
 EC 349    G14385    Federal       OP 1        5/1/1994         5,000        W & T Off       25%      PROD
 EC 350    G15157    Federal       OP 1        9/1/1995         5,000        W & T Off       25%     TERMIN
 EC 356    G13592    Federal        RT         9/1/1992         5,000        W & T Off       25%     RELINQ
 EC 371    G02267    Federal      CONT         2/1/1973         5,000        Talos ERT       25%     TERMIN
 EI 100     796      Federal    Contractual    5/1/1960         5,000      Fieldwood En     100%      PROD
 EI 175     438      Federal       OP 1       12/1/1954         5,000      Fieldwood En      25%      PROD         [1]
 EI 307    G02110    Federal        RT         2/1/1971         2,500    Fieldwood En Off    25%     TERMIN        [1]
 EI 311    G27918    Federal        RT         7/1/2006         5,000    Dynamic Off Res     60%     TERMIN
 EI 312    G22679    Federal       OP 1        6/1/2001         5,000      Fieldwood En      60%     TERMIN        [1]
  EI 32    00196     Federal       OP 1       11/26/1946        5,000         Cox Op         24%      PROD
 EI 330    G02115    Federal    Contractual    1/1/1971         5,000      Fieldwood En      17%      UNIT         [1]
  EI 53    00479     Federal       OP 1       12/1/1954         5,000      Fieldwood En      11%      PROD         [1]
  EI 63    00425     Federal        RT        12/1/1954         5,000    Fieldwood En Off   100%     TERMIN
 EW 782    G05793    Federal      CONT         7/1/1983         1,093      Fieldwood En     100%     TERMIN        [1]
 GA 151    G15740    Federal        RT         11/1/1995        4,804      Fieldwood En      33%     TERMIN        [1]
 GA 210    G25524    Federal       OP 1        12/1/2003        5,760      Fieldwood En      17%      PROD         [1]
 GA 210    G25524    Federal       OP 3        12/1/2003        5,760      Fieldwood En      33%      PROD         [1]
GA A-155   G30654    Federal        RT        10/1/2006         5,760     Peregrine O&G      11%     TERMIN
 GC 157    G24154    Federal        RT         6/1/2002         5,760      LLOG Exp Off      15%     TERMIN
 GC 201    G12210    Federal        OP         5/1/1990         5,760      LLOG Exp Off      15%      UNIT
                                                                           Fieldwood En
                                                                          Off; LLOG Exp
 GC 201    G12210    Federal      RT NE4       5/1/1990         5,760           Off         100%      UNIT         [2]
 GC 245    G05916    Federal       CONT        7/1/1983         5,760    Fieldwood En Off   100%     TERMIN
 GC 64     G07005    Federal       CONT        6/1/1984         5,760    Fieldwood En Off    49%     RELINQ
HI A-341   G25605    Federal        RT        12/1/2003         5,760      Fieldwood En      40%      PROD         [1]
HI A-365   G02750    Federal        RT        7/1/1974          5,760      Fieldwood En      50%      PROD         [1]
HI A-376   G02754    Federal        RT        7/1/1974          5,760      Fieldwood En      55%      PROD         [1]
HI A-382   G02757    Federal        RT        7/1/1974          5,760      Fieldwood En      28%      PROD         [1]
HI A-474   G02366    Federal        RT        8/1/1973          5,760     McMoRan O&G        12%     TERMIN        [1]
HI A-475   G02367    Federal       CONT        8/1/1973         5,760     McMoRan O&G        12%     TERMIN        [1]
HI A-489   G02372    Federal        RT        8/1/1973          5,760     McMoRan O&G        12%     TERMIN        [1]
HI A-531   G02696    Federal       OP 1        7/1/1974         5,760    Fieldwood En Off    75%     TERMIN



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                                                               Le Cur
 Block     Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status    Note†
                                                                (Ac)
HI A-563   G02388    Federal       OP 1       8/1/1973         5,760         Cox Op         2%       PROD
HI A-564   G02389    Federal       OP 1       8/1/1973         5,760         Cox Op         2%      TERMIN
HI A-572   G02392    Federal        RT        8/1/1973         5,760      Fieldwood En     24%      TERMIN         [1]
HI A-573   G02393    Federal        RT        8/1/1973         5,760      Fieldwood En     28%       PROD          [1]
HI A-581   G18959    Federal        RT       12/1/1997         5,760         Cox Op         2%      TERMIN         [1]
HI A-582   G02719    Federal       OP 1       7/1/1974         5,760         Cox Op         2%       PROD          [1]
HI A-595   G02721    Federal        RT        7/1/1974         5,760      Fieldwood En     28%       PROD          [1]
HI A-596   G02722    Federal        RT        7/1/1974         5,760      Fieldwood En     28%       PROD          [1]
                                                                         Providence Res
MO 861     G05062    Federal        RT       4/1/1982          5,198          GOM 2        100%     TERMIN
                                                                         Providence Res
MO 861     G05062    Federal      OP 1        4/1/1982         5,198          GOM 2         50%     TERMIN
MP 101     G22792    Federal       RT        7/1/2001          4,995    Fieldwood En Off    78%     TERMIN
MP 109     G22794    Federal      OP 1        5/1/2001         4,995        W & T Off       33%     TERMIN
MP 109     G22794    Federal      OP 2        5/1/2001         4,995        W & T Off       33%     TERMIN
 MP 77     G04481    Federal       RT        11/1/1980         4,655    Fieldwood En Off    18%     RELINQ       [1], [6]
 PL 13     G03171    Federal      OP 3        7/1/1975         5,000        ANKOR En         2%     TERMIN
SM 102     G24872    Federal       RT        5/1/2003          3,113    Fieldwood En Off   100%      PROD
SM 135     G19776    Federal       RT         5/1/1998         3,293      Fieldwood En      50%     TERMIN         [1]
SM 139     G21106    Federal      OP 1        7/1/1999         5,000    Fieldwood En Off   100%     TERMIN
SM 142     G01216    Federal       RT         6/1/1962         2,761    Fieldwood En Off    86%     TERMIN
SM 142     G01216    Federal      OP 1        6/1/1962         2,761    Fieldwood En Off    86%     TERMIN
SM 143     G01217    Federal      CONT        5/1/1962         2,738    Fieldwood En Off    16%     TERMIN
SM 146     G09546    Federal       RT         7/1/1988         5,000    Dynamic Off Res    100%     TERMIN
SM 147     G06693    Federal       RT         7/1/1984         5,000    Fieldwood En Off   100%     TERMIN
SM 268     G02310    Federal       RT         1/1/1973         3,237      Fieldwood En      30%     TERMIN         [1]
SM 269     G02311    Federal       RT         1/1/1973         5,000      Fieldwood En      18%      PROD          [1]
SM 269     G02311    Federal       RT         1/1/1973         5,000      Fieldwood En       9%      PROD          [1]
SM 269     G02311    Federal       RT         1/1/1973         5,000      Fieldwood En       0%      PROD          [1]
SM 280     G14456    Federal      OP 1        6/1/1994         5,000      Fieldwood En      50%      PROD          [1]
SM 280     G14456    Federal      OP 3        6/1/1994         5,000      Fieldwood En      50%      PROD          [1]
SM 281     G02600    Federal       RT         4/1/1974         3,214      Fieldwood En      32%      PROD          [1]
SM 87      G24870    Federal       RT        5/1/2003          3,077        Castex Off     100%      PROD



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                                                                Le Cur
  Block     Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status    Note†
                                                                 (Ac)
  SP 17     G02938    Federal        RT       11/1/1974          962     Fieldwood En Off   100%      UNIT
  SP 37     00697     Federal       OP 1      10/1/1959         2,500      Whitney O&G       44%      PROD
  SP 59     G02942    Federal        RT       11/1/1974         1,657    Fieldwood En Off   100%      UNIT
  SP 59     G02943    Federal        RT       11/1/1974          907     Fieldwood En Off   100%      UNIT
SP 59, SP
   60       G01608    Federal       RT         7/1/1967         3,510    Fieldwood En Off   100%      UNIT
  SP 6      G03337    Federal       RT        4/1/1976           318     Fieldwood En Off   100%      UNIT
  SP 6      G03337    Federal       OP         4/1/1976          318     Fieldwood En Off   100%      UNIT
  SP 60     G02137    Federal       RT        11/1/1971         1,762    Fieldwood En Off   100%      UNIT
  SP 61     G01609    Federal       RT        7/1/1967          5,000      Fieldwood En     100%      UNIT          [3]
  SP 61     G01609    Federal      OP 1        7/1/1967         5,000      Fieldwood En     100%      UNIT          [3]
  SP 66     G01611    Federal       RT        6/1/1967          4,310    Fieldwood En Off   100%      UNIT          [1]
  SP 67     G01612    Federal       RT        7/1/1967          5,000    Fieldwood En Off   100%      UNIT
 SS 149     00434     Federal      OP 1       1/1/1955          5,000        W & T Off        3%     TERMIN
 SS 149     00434     Federal      OP 2       1/1/1955          5,000        W & T Off        3%     TERMIN
 SS 149     00434     Federal      OP 1        1/1/1955         5,000         W&T Off         3%     TERMIN
 SS 149     00434     Federal      OP 2        1/1/1955         5,000         W&T Off         3%     TERMIN
 SS 177     00590     Federal       RT        9/1/1955          5,000        W & T Off       25%      PROD
 SS 189     G04232    Federal      OP 5       12/1/1979         5,000      Fieldwood En       1%      PROD          [1]
 SS 204     G01520    Federal       RT        7/1/1967          5,000      Fieldwood En      21%      PROD          [1]
 SS 204     G01520    Federal       RT        7/1/1967          5,000      Fieldwood En       0%      PROD          [1]
 SS 207     G01523    Federal       RT         7/1/1967         5,000      Fieldwood En       0%      UNIT        [1], [6]
 SS 214     00828     Federal       RT        5/1/1960          5,000        W & T Off       35%      PROD
 SS 214     00828     Federal      OP 1       5/1/1960          5,000        W & T Off       14%      PROD
 SS 216     G01524    Federal       RT        7/1/1967          5,000      Fieldwood En      20%      PROD          [1]
 SS 216     G01524    Federal       RT        7/1/1967          5,000      Fieldwood En       0%      PROD          [1]
 SS 232     G15293    Federal       RT        9/1/1995          5,000        W & T Off       34%     TERMIN
 SS 233     G01528    Federal       RT        7/1/1967          5,000        W & T Off       34%      PROD
 SS 238     G03169    Federal       RT        7/1/1975          5,000        W & T Off       35%      PROD
 SS 238     G03169    Federal      OP 2       7/1/1975          5,000    Peregrine O&G II    35%      PROD
 SS 246     G01027    Federal      OP 11       6/1/1962         5,000    Fieldwood En Off    81%     TERMIN
 SS 246     G01027    Federal      OP 13       6/1/1962         5,000    Fieldwood En Off    77%     TERMIN
 SS 247     G01028    Federal      RT B        6/1/1962         5,000    Fieldwood En Off    89%      UNIT



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                                                             Le Cur
Block    Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                              (Ac)
SS 247   G01028    Federal      RT C        6/1/1962         5,000    Fieldwood En Off    77%      UNIT
SS 248   G01029    Federal      RT B        6/1/1962         5,000    Fieldwood En Off    77%      UNIT
SS 249   G01030    Federal      OP 1        6/1/1962         5,000    Fieldwood En Off    80%      UNIT         [1]
SS 249   G01030    Federal      OP 2        6/1/1962         5,000    Fieldwood En Off    69%      UNIT         [1]
SS 252   G01529    Federal       RT         7/1/1967         5,000    Fieldwood En Off   100%      PROD
SS 252   G01529    Federal      OP 1        7/1/1967         5,000    Fieldwood En Off   100%      PROD
SS 252   G01529    Federal      OP 2        7/1/1967         5,000    Fieldwood En Off    32%      PROD
SS 253   G01031    Federal       RT         6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 1        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 2        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 4        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 5        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 270   G01037    Federal       RT        3/13/1962         5,000    Fieldwood En Off    89%      UNIT
SS 271   G01038    Federal       RT        3/13/1962         5,000    Fieldwood En Off    72%      UNIT         [1]
SS 271   G01038    Federal       OP        3/13/1962         5,000    Fieldwood En Off    72%      UNIT         [1]
SS 291   G02923    Federal      RT B       12/1/1974         3,750      Fieldwood En      15%     OPERNS        [1]
SS 300   G07760    Federal       RT        8/1/1985          5,000        W & T Off       24%      PROD
SS 315   G09631    Federal       RT        6/1/1988          5,000        W & T Off       25%      PROD
ST 315   G23946    Federal       RT        7/1/2002          4,458        W & T Off       50%      PROD
ST 316   G22762    Federal       RT        6/1/2001          4,435        W & T Off       40%      PROD         [1]
VK 824   G15436    Federal      CONT        9/1/1995         5,760      Fieldwood En       6%     RELINQ
VK 826   G06888    Federal       RT         6/1/1984          5760      Fieldwood En     100%     TERMIN
VK 917   G15441    Federal       OP         7/1/1995          5760      Fieldwood En      85%      PROD
VK 962   G15445    Federal      OP 1        7/1/1995          5760      Fieldwood En      85%     TERMIN
VR 196   G19760    Federal      OP 1        8/1/1998         5,000    Fieldwood En Off    38%     TERMIN        [5]
VR 262   G34257    Federal       RT        10/1/2012         5,485      Fieldwood En      25%     RELINQ        [1]
VR 272   G23829    Federal       RT         6/1/2002         4,381    Fieldwood En Off   100%      PROD
VR 273   G14412    Federal      OP 3        5/1/1994         5,000    Fieldwood En Off   100%     TERMIN
VR 279   G11881    Federal      OP 1        5/1/1990         5,000       Talos En Off     50%     TERMIN
VR 313   G01172    Federal      OP 1        6/1/1962         5,000    Fieldwood En Off   100%     TERMIN
VR 313   G01172    Federal      OP 2        6/1/1962         5,000    Fieldwood En Off   100%     TERMIN
VR 408   G15212    Federal      CONT        7/1/1995         5,000      Fieldwood En      33%      PROD
WC 171   G01997    Federal       RT         1/1/1971         5,000           XTO          34%     TERMIN



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                                                                Le Cur
  Block     Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                                 (Ac)
 WC 295     G24730    Federal      OP 1        5/1/2003         5,000      Fieldwood En      14%      PROD         [1]
 WC 485     G02220    Federal       RT        2/1/1973          5,000    Fieldwood En Off   100%      UNIT
 WC 498     G03520    Federal       RT        8/1/1977          5,000         Cox Op          4%      PROD
 WC 507     G02549    Federal       RT        4/1/1974          2,500    Fieldwood En Off   100%      UNIT
 WC 507     G02549    Federal      OP 1        4/1/1974         2,500    Fieldwood En Off    50%      UNIT
 WC 507     G10594    Federal       RT        6/1/1989          2,500    Fieldwood En Off   100%      UNIT
  WC 65     G02825    Federal      OP 4       12/1/1974         5,000      Fieldwood En      19%      PROD         [1]
  WC 66     G02826    Federal      OP 2       12/1/1974         3,750      Fieldwood En      25%      PROD         [1]
  WC 67     G03256    Federal      CONT       9/1/1975          5,000      Fieldwood En      17%     TERMIN        [1]
  WC 72     G23735    Federal       RT        7/1/2002          5,000    Fieldwood En Off    75%      PROD
  WC 96     G23740    Federal      OP 1       5/1/2002          5,000          Talos         25%      UNIT
 WD 103     G12360    Federal      OP 1        5/1/1960         1,016      Fieldwood En      19%      PROD         [1]
 WD 121     G19843    Federal      OP 1        8/1/1998         5,000      Fieldwood En      16%      PROD         [1]
 WD 122     G13645    Federal      OP 1        8/1/1992         5,000      Fieldwood En      16%      PROD         [1]
 WD 122     G13645    Federal      OP 2        8/1/1992         5,000      Fieldwood En      16%      PROD         [1]
  WD 27     G04473    Federal      RT B       11/1/1980         5,000         Cox Op         14%      PROD
WD 57, WD
79, WD 80   G01449    Federal        RT       5/1/1966          3,125    Fieldwood En Off   100%      UNIT         [4]
  WD 63     G19839    Federal       OP 1      6/1/1998          5,000     Peregrine O&G      13%     RELINQ
  WD 64     G25008    Federal        RT       5/1/2003          5,000     Peregrine O&G       6%     TERMIN
  WD 73     G01083    Federal       OP 2      6/1/1962          5,000         Cox Op          6%      UNIT
  WD 74     G01084    Federal       OP 1      6/1/1962          5,000         Cox Op          6%      UNIT
WD 79, WD
    80      G01874    Federal        RT       12/1/1968         3,438    Fieldwood En Off   100%      UNIT         [4]
  WD 80     G01989    Federal        RT        8/1/1970         1,875    Fieldwood En Off   100%      UNIT         [4]
  WD 80     G02136    Federal        RT        1/1/1972          938     Fieldwood En Off   100%      UNIT         [4]
  WD 85     G04895    Federal        RT       12/1/1981         2,630    Fieldwood En Off   100%     TERMIN
  WD 85     G04895    Federal       OP 1      12/1/1981         2,630    Fieldwood En Off   100%     TERMIN
  WD 86     G02934    Federal        RT       12/1/1974         2,500         SPN Res       100%     TERMIN
  WD 86     G04243    Federal        RT        1/1/1980         2,500    Fieldwood En Off   100%     TERMIN
  WD 86     G04243    Federal       OP 1       1/1/1980         2,500    Fieldwood En Off   100%     TERMIN
  WD 86     G04243    Federal       OP 2       1/1/1980         2,500    Fieldwood En Off   100%     TERMIN
  WD 86     G04243    Federal       OP 3       1/1/1980         2,500    Fieldwood En Off   100%     TERMIN



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                                                                   Le Cur
Block      Lease          Type        Rights     Date Le Eff       Acres        Operator         WI     Lease Status   Note†
                                                                    (Ac)
WD 90     G01089         Federal       OP 3      6/1/1962          5,000      Fieldwood En        19%      PROD         [1]
SP 42     SL03011        SL- LA         WI           -                -             -            100%       SOP
  -        14519         SL - TX        WI           -                -             -             50%      UNIT
  -        14520         SL - TX        WI           -                -             -             50%      UNIT
  -        14914         SL - TX        WI           -                -             -             66%      UNIT
SP 42     SL16869        SL- LA         WI           -                -             -            100%      PROD
                                                                             Southern Oil of
BS 45     SL19051        SL- LA        ORRI      8/9/2006                       Louisiana         0%       UNIT
BS 53     SL3770         SL- LA         WI                                                       50%     RELEASED
  -       SL17072        SL- LA         WI            -              -              -            38%      ACTIVE
  -       SL18287        SL- LA         WI            -              -              -            44%         -
  -       SL19266        SL- LA         WI            -              -              -            17%      ACTIVE
                                                                               Fieldwood
  -        42450         SL- LA         WI            -              -          Onshore          63%    TERMINATED
                                                                               SandRidge
                                                                              Exploration &
  -        490100        SL- LA         WI            -              -         Production        100%    SCOPING
             JMB
  -      Partnership    Onshore                  2/6/2019                                        100%        -
             JMB
  -      Partnership    Onshore                  2/25/2018                                       100%        -
        Richardson A
  -     Caffery et al   Onshore                  2/1/2016                                        100%        -
           Caroline
         Baker Trust
  -         No 1        Onshore                  1/22/2016                                       100%       -
  -        111650       SL - TX         WI                                  TR Offshore, LLC       7%     ACTIVE
  -        115727       SL - TX         WI                                  TR Offshore, LLC       7%     ACTIVE
  -        114988       SL - TX         WI                                  TR Offshore, LLC       7%     ACTIVE
                                                                             Elliott Oil & Gas
  -       19334          SL - TX       WI             -              -           Operating       75%    INJECTION
  -       136449         SL - TX       WI             -              -      TR Offshore, LLC      7%      ACTIVE
  -       09061          SL - TX       WI             -              -      Landon Browning      33%      TERMIN




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                                                            Le Cur
Block   Lease      Type        Rights     Date Le Eff       Acres    Operator    WI     Lease Status   Note†
                                                             (Ac)
                                                                     Fieldwood
  -     168986    SL - TX        WI            -              -       Onshore    100%      TERMIN
                                                                     Fieldwood
  -     189098    SL - TX        WI            -              -       Onshore    100%      TERMIN
                                                                     Fieldwood
  -     206882    SL - TX        WI            -              -       Onshore    100%      TERMIN




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                                                                               Abandoned Properties ROW

      SEGMENT                          ORG                              REC
                  COMPANY NAME                ORG BLOCK    ORG NAME              REC BLOCK     REC NAME      SIZE      PRODUCT       STATUS        ROW NUMBER     FW LEASE         NOTE3
      NUMBER                           AREA                             AREA
                  Fieldwood Energy,
       7912                             EB       160           A         HI        A582          SSTI        12          GAS      Out of Service     G08528        G02647            [2]
                         LLC
                  Fieldwood Energy,
       7923                             EB       165           A         HI        A 582        30 SSTI      12          GAS          Active         G08536       G06280
                         LLC
                 Bandon Oil and Gas,
       10301                            EC       332           A         EC         330         08 SSTI       6          OIL      Out of Service     G14699        G09478           [2]
                          LP
                  Fieldwood Energy,
        44                              EI       175           C         EI         176        12" SSTI       8          OIL      Out of Service     G13445        00438
                         LLC
                  Fieldwood Energy,                         flanged
       1128                             EI       330                     EI         306       14-inch SSTI   14          OIL      Out of Service    G02139A       G02115
                         LLC                                  end
                  Fieldwood Energy,
       7943                             EI       342           C         EI         327         08 SSTI       4           OIL     Out of Service     G08541        G02319           [2]
                         LLC
                  Fieldwood Energy,
       18493                            EI       342           C         EI         343          SSTI         6          GAS      Out of Service     G29108        G02319            [2]
                         LLC
                  Fieldwood Energy
       19960                            EI       342           C         EI         342       Blind Flange    6          OIL      Out of Service                  G02319            [2]
                         LLC                                                                                                                         G29471
                  Fieldwood Energy,
       11923                            EI       53            C         EI         64          22 SSTI      10          G/C      Out of Service     G20539        00479
                         LLC
                  Fieldwood Energy,                                                                                                  Partial
       9211                             EI       53            B         EI         64          22 SSTI       6          G/C                         G12373        00479
                         LLC                                                                                                        Abandon
                  Fieldwood Energy,
       15298                           GA        210           B        GA          239         12 SSTI       8          G/C          Active         G26931       G25524
                         LLC
                  Fieldwood Energy,                                                                                                  Partial
       16077                            HI       130          #2         HI         165       8-inch SSTI     8          BLGH                        G28284       G25579            [1]
                         LLC                                                                                                        Abandon
                  Fieldwood Energy,
       15401                            HI      A 341          B         HI        A 340       30" SSTI      812         G/C          Active         G26938       G25605
                         LLC
                  Fieldwood Energy,
       6669                             HI      A 376          A         HI        A 356        12 SSTI      10          GAS      Out of Service     G05238        G02754
                         LLC
                  Fieldwood Energy                                                           12 SSTI W/PSN
       6669                             HI      A 376      Platform A    HI        A 356                     10          GAS      Out of Service     G05238       G02754
                         LLC                                                                     10882
                  Fieldwood Energy,
       7684                             HI      A 550          A         HI        A 568        20 SSTI      10          GAS      Out of Service     G08276        G04081           [2]
                         LLC
                  Fieldwood Energy,                         Subsea
       6340                             HI      A 568                    HI        A 539        20 SSTI      20          G/C      Out of Service     G04974        G04081           [2]
                         LLC                                 Valve
                  Fieldwood Energy,
       5470                             HI      A356         Valve       HI        A343          HIOS        12          GAS      Out of Service     G04050       G02754
                         LLC


[1]    Lease carries $0 liability
[2]    Represents each ROW in which (i) FWE IV is to acquire solely as to the same 8/8ths undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The
       Debtors' remaining interests in such ROW are to be abandoned.


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SEGMENT                         ORG                             REC
            COMPANY NAME               ORG BLOCK   ORG NAME            REC BLOCK    REC NAME      SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                          AREA                            AREA
           Fieldwood Energy,
 10882                           HI      A356        10SST       HI      A356        12SSTI       12      GAS      Out of Service     G04051     G02754
                   LLC
           Fieldwood Energy,
 6504                            HI      A595          D         HI       573           B          8       OIL     Out of Service     G28525     G02721
                   LLC
           Fieldwood Energy,                         SSTI                                                             Partial
 14304                          MP        101                   MP        102         Plat A       8      BLKG                        G24687     G22792
                   LLC                              Manifold                                                         Abandon
            Fieldwood Energy
 15810                          MP        29       Well No. 1   MP        118       Platform A     6      BLKG     Out of Service     G28216     G27196      [1]
               Offshore LLC
            Fieldwood Energy
 15818                          MP        77           A        MP        151        18"SSTI       8      GAS      Out of Service     G28221     G04481      [2]
               Offshore LLC
            Fieldwood Energy
 4733                           SM        142          A        SM        127        24 SSTI      10       G/C     Out of Service     G03441     G01216
               Offshore LLC
            Fieldwood Energy
 15106                          SM        146          B        SM        147           A          6      BLKG     Out of Service     G26837     G09546
               Offshore LLC
           Fieldwood Energy,
 15107                          SM        146          B        SM        147           A          4      BLKG     Out of Service     G26838     G09546
                   LLC
           Fieldwood Energy,
 15108                          SM        147          A        SM        146           B          2      LIFT     Out of Service     G26839     G09546
                   LLC
            Fieldwood Energy
 19363                          SM        147          A        SM        130        12 SSTI       6      BLKO     Out of Service     G14093     G06693
               Offshore LLC
            Fieldwood Energy
 19363                          SM        147          A        SM        130        12 SSTI       6      BLKO     Out of Service     G29316     G06693
               Offshore LLC
           Fieldwood Energy,
 10977                          SM        268          A        SM        280          #03         3      BLKG     Out of Service     G28756     G14456
                   LLC
           Fieldwood Energy,
 17499                          SM        269          B        SM        268           A         10      GAS      Out of Service     G28484     G02311
                   LLC
           Fieldwood Energy,                                                                                       Permitted for
 13642                          SM        280          H        SM        268           A         10      BLKG                        G28758     G14456
                   LLC                                                                                             Abandonment
           Fieldwood Energy,
 5427                           SM        281          E        SM        268           A         12      SPLY     Out of Service     G02817     G02600
                   LLC
           Fieldwood Energy,
 5429                           SM        281          C        SM        281        12 SSTI      10      SPLY     Out of Service     G02817     G02600
                   LLC
           Fieldwood Energy,
 6512                           SM        281          C        SM        268           D         10      BLKO     Out of Service     G29131     G02600
                   LLC
          Fieldwood Energy SP
 10268                           SP       60           A         SP        6           F/S        10       OIL     Out of Service     G14679     G02137
                   LLC
           Fieldwood Energy,
 20050                          SS        168        SSTI       SS        168         SSTI         6                 Proposed         G28788                 [2]
                   LLC                                                                                                                            00820
           Fieldwood Energy,
 6748                           SS        169      C Platform    SS       169      18-inch SSTI    6       OIL     Out of Service     G09322      00820      [2]
                   LLC
           Fieldwood Energy,
 12778                          SS        189          A         SS       185        26"SSTI       8       G/C     Out of Service     G22139     G04232
                   LLC
           Fieldwood Energy,
 1138                           SS        204          A        SS        207           A          6       G/O     Out of Service     G13491     G01520
                   LLC




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SEGMENT                         ORG                             REC
           COMPANY NAME                ORG BLOCK   ORG NAME            REC BLOCK   REC NAME   SIZE     PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                          AREA                            AREA
          Fieldwood Energy,
 1137                           SS        207      A Platform    SS       204         A        4         GAS     Out of Service     G13489     G01523
                 LLC
          Fieldwood Energy,
 1147                           SS        207          A         SS       208       F-Pump     12        OIL     Out of Service     G13492     G01523
                 LLC
          Fieldwood Energy,
 17775                          SS        253          C        SS        208       F-Pump     4         OIL     Out of Service    G01691C     G01031
                 LLC
                                                                                                                 Permitted for
          Bandon Oil and Gas,
 18094                           ST       195          B         ST       196        SSTI      6         G/C     Abandonment        G29005     G03593      [2]
                  LP
                                                                                                                   Approved
                                                                                                                 Permitted for
          Bandon Oil and Gas,                       06-inch
 11107                           ST       196                   SS        208         F        6         OIL     Abandonment        G05120     G03593      [2]
                  LP                                 SSTI
                                                                                                                   Approved
           Fieldwood Energy,
 13720                          VK        340       8"SSTI      VK        251         A        8        BLGH         Active         G28221     G04481      [2]
                  LLC
          Bandon Oil and Gas,
 13193                          VR        196          A        VR        206      12 SSTI     8         G/C     Out of Service     G22418     G19760      [2]
                   LP
           Fieldwood Energy,
 18591                          VR        196          A        VR        215         A        4        BLKO     Out of Service     G29137     G19760      [2]
                  LLC
           Fieldwood Energy,
 18588                          VR        215          A        VR        196         A        4         GAS         Active         G29136     G19760      [2]
                  LLC
           Fieldwood Energy,
 17090                          VR        261          A        VR        265         A        8        BLKO     Out of Service     G28347     G03328      [2]
                  LLC
           Fieldwood Energy,
 14609                          VR        272         "A"       VR        250       8" SSTI    4         OIL     Out of Service     G25384     G23829
                  LLC
           Fieldwood Energy,
 14277                          VR        272          A        SM        116      20" SSTI    10        G/C     Out of Service     G25288     G23829
                  LLC
           Fieldwood Energy
 5440                           VR        313          B        VR        313      20 SSTI     10        GAS     Out of Service     G04044     G01172
              Offshore LLC
           Fieldwood Energy,
 15136                          VR        313          B        VR        313       6" SSTI    6         OIL     Out of Service     G03879     G01172
                  LLC
           Fieldwood Energy
 4289                           WC        485          A        WC        509         GP       12        GAS     Out of Service    G02122E     G02220
              Offshore LLC
           Fieldwood Energy
 14251                          WC        72          #1        WC        65          JA       4        BLKG     Out of Service     G25275     G23735
              Offshore LLC
           Fieldwood Energy,
 16088                          WD        122          A        WD        105         E        6         GAS     Out of Service     G28289     G13645
                  LLC
           Fieldwood Energy,
 16089                          WD        122          A        WD        105         E        3         OIL     Out of Service     G28290     G13645
                  LLC
           Fieldwood Energy,
 15960                          WD        90           A        WD        73         SSTI      4         OIL     Out of Service     G28260     G01089
                  LLC
           Fieldwood Energy,
 18649                          VK        826          A        VK        962        UTA       4        UBEH     Out of Service     G29151     G15441
                  LLC
           Fieldwood Energy,
 18904                          VK        826          A        VK        917        SUTA      1         UMB     Out of Service     G29151     G15441
                  LLC




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SEGMENT                       ORG                           REC
          COMPANY NAME               ORG BLOCK   ORG NAME          REC BLOCK   REC NAME     SIZE     PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                        AREA                          AREA
          Fieldwood Energy,
 18648                        VK        962        PLET     VK        826      A-Nep Spar    6        SERV         Active         G29151     G15441
                 LLC
          Fieldwood Energy,
 14906                        VK        962       SSW #1    VK        826      A Nep Spar    6        BLKO     Out of Service     G25481     G15441
                 LLC
          Fieldwood Energy,
 14907                        VK        962       SSW#1     VK        826          A         10       CSNG     Out of Service     G25481     G15441
                 LLC




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                                                 Abandoned Properties RUE

                                Complex ID   Authority                                          Approval
Area   Block No.   Structure                             FW Lease             Operator                           Associated Assets
                                   No.         No.                                                Date
                                                                          Fieldwood Energy                 EI 63 002,003, EI 62 and 005,
 EI       63          A           21515       G30244      00425                                 12/02/13
                                                                             Offshore LLC                   006, 008, 009, 010 and 011
                                                                          Fieldwood Energy
 EI       63          B           21515       G30244      00425                                 12/02/13      Production from EI 63 A
                                                                             Offshore LLC
                                                                          Fieldwood Energy
 EI       63        C-QTR         21515       G30244      00425                                 12/02/13      Production from EI 63 A
                                                                             Offshore LLC
                                                                          Fieldwood Energy
SM       146          B            1663       G30248     G09546                                 08/21/13       SM 139 B001 & B002
                                                                             Offshore LLC
                                                                          Fieldwood Energy
SM       147          A           23389       G30200     G06693                                 09/12/13   SM 139 B001, B002 & B002D
                                                                             Offshore LLC
                                                                          Fieldwood Energy
WD        86          A           22593       G30173     G04243                                 06/20/13    WD 86 B001, B002 & B005
                                                                             Offshore LLC
                   A-Neptune                                                                                 VK 917 SS001 & VK 962
VK       826                      24235       G30353     G15441          Fieldwood Energy LLC   07/03/18
                     Spar                                                                                            SS001




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                                            Exhibit G
                                      Plan Release Provisions

Definitions:

                 Exculpated Parties means collectively, and in each case in their capacities as such
during the Chapter 11 Cases (a) the Debtors, (b) the Post-Effective Date Debtors, (c) FWE I, (d)
the DIP Agent and DIP Lenders under the DIP Facility, (e) the Prepetition FLFO Secured Parties,
(f) the Consenting Creditors, (g) the Prepetition FLFO Collateral Agent, (h) the Prepetition FLTL
Administrative Agent, (i) the Prepetition SLTL Agent, (j) the Creditors’ Committee and the current
and former members of the Creditors’ Committee (solely in their capacities as such), (k) NewCo
and all of its subsidiaries (including the Credit Bid Purchaser), (l) the Exit Facility Agents, (m) the
Exit Facility Lenders, (n) the Second Lien Backstop Parties, (o) the ERO Backstop Parties, (p)
the Apache PSA Parties, and (q) with respect to each of the foregoing Persons in clauses
(a) through (p) each of their current and former affiliates, and each such Entity’s and its current
and former affiliates’ current and former directors, managers, officers, equity holders (regardless
of whether such interests are held directly or indirectly), predecessors, successors, and assigns,
subsidiaries, and each of their current and former officers, members, managers, directors, equity
holders (regardless of whether such interests are held directly or indirectly), principals, members,
employees, agents, managed accounts or funds, management companies, fund advisors,
investment advisors, advisory board members, financial advisors, partners (including both general
and limited partners), attorneys, accountants, investment bankers, consultants, representatives and
other professionals, such Persons’ respective heirs, executors, estates, and nominees, in each case
in their capacity as such, and any and all other persons or entities that may purport to assert any
cause of action derivatively, by or through the foregoing entities.

                Released Parties means, collectively, (a) the Debtors, (b) the Post-Effective Date
Debtors, (c) the DIP Agent and DIP Lenders under the DIP Facility, (d) the Prepetition FLFO
Secured Parties, (e) the Consenting Creditors, (f) the Prepetition FLFO Collateral Agent, (g) the
Prepetition FLTL Administrative Agent, (h) the Prepetition SLTL Agent, (i) the Creditors’
Committee and the current and former members of the Creditors’ Committee (solely in their
capacities as such), (j) NewCo and all of its subsidiaries (including the Credit Bid Purchaser),
(k) the Exit Facility Agents, (l) the Exit Facility Lenders, (m) the Second Lien Backstop Parties,
(n) the ERO Backstop Parties, (o) the Apache PSA Parties, and (p) with respect to each of the
foregoing Persons in clauses (a) through (o), each of their current and former affiliates, and each
such Entity’s and its current and former affiliates’ current and former directors, managers, officers,
equity holders (regardless of whether such interests are held directly or indirectly), predecessors,
successors, and assigns, subsidiaries, and each of their current and former officers, members,
managers, directors, equity holders (regardless of whether such interests are held directly or
indirectly), principals, members, employees, agents, managed accounts or funds, management
companies, fund advisors, investment advisors, advisory board members, financial advisors,
partners (including both general and limited partners), attorneys, accountants, investment bankers,
consultants, representatives and other professionals, such Persons’ respective heirs, executors,
estates, and nominees, in each case in their capacity as such, and any and all other persons or
entities that may purport to assert any cause of action derivatively, by or through the foregoing
entities.
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                Releasing Parties means collectively, (a) the holders of all Claims or Interests that
vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or reject the
Plan is solicited but that do not vote either to accept or to reject the Plan, (c) the holders of all
Claims or Interests that vote, or are deemed, to reject the Plan but do not opt out of granting the
releases set forth herein, (d) the holders of all Claims and Interests that were given notice of the
opportunity to opt out of granting the releases set forth herein but did not opt out, and (e) the
Released Parties (even if such Released Party purports to opt out of the releases set forth herein).

Provisions:

               10.6    Plan Injunction.

                (a)       Except as otherwise provided in the Plan or in the Confirmation Order, from
and after the Effective Date, all Persons who have held, hold, or may hold Claims or Interests, and
other parties in interest, along with their respective present or former employees, agents, officers,
directors, principals, and affiliates, are, with respect to any such Claim or Interest, permanently
enjoined after the entry of the Confirmation Order from: (i) commencing, conducting, or
continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
(including any proceeding in a judicial, arbitral, administrative, or other forum) against or affecting,
directly or indirectly, a Debtor, a Post-Effective Date Debtor, or an Estate or the property of any
of the foregoing, or any direct or indirect transferee of any property of, or direct or indirect
successor in interest to, any of the foregoing Persons mentioned in this subsection (i) or any
property of any such transferee or successor; (ii) enforcing, levying, attaching (including any
prejudgment attachment), collecting, or otherwise recovering in any manner or by any means,
whether directly or indirectly, any judgment, award, decree, or order against a Debtor, a Post-
Effective Date Debtor, or an Estate or its property, or any direct or indirect transferee of any
property of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned
in this subsection (ii) or any property of any such transferee or successor; (iii) creating, perfecting,
or otherwise enforcing in any manner, directly or indirectly, any encumbrance of any kind against
a Debtor, a Post-Effective Date Debtor, or an Estate or any of its property, or any direct or indirect
transferee of any property of, or successor in interest to, any of the foregoing Persons mentioned
in this subsection (iii) or any property of any such transferee or successor; (iv) acting or proceeding
in any manner, in any place whatsoever, that does not conform to or comply with the provisions
of the Plan to the full extent permitted by applicable law; and (v) commencing or continuing, in
any manner or in any place, any action that does not comply with or is inconsistent with the
provisions of the Plan; provided, that nothing contained in the Plan shall preclude such Persons
who have held, hold, or may hold Claims against, or Interests in, a Debtor, a Post-Effective Date
Debtor, or an Estate from exercising their rights and remedies, or obtaining benefits, pursuant to
and consistent with the terms of the Plan.

               (b)     By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest shall be deemed to have affirmatively and specifically consented to be bound by
the Plan, including the injunctions set forth in Section 10.6 of the Plan.
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           10.7   Releases.

           (a)  RELEASES BY THE DEBTORS. AS OF THE EFFECTIVE DATE,
EXCEPT FOR THE RIGHTS AND REMEDIES THAT REMAIN IN EFFECT FROM
AND AFTER THE EFFECTIVE DATE TO ENFORCE THE PLAN, THE
CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
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THE CREDIT BID PURCHASE AGREEMENT, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP AGREEMENTS,
THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING TRANSACTIONS,
ON AND AFTER THE EFFECTIVE DATE, THE RELEASED PARTIES WILL BE
DEEMED CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY, IRREVOCABLY,
AND FOREVER RELEASED AND DISCHARGED, BY THE DEBTORS, THE POST-
EFFECTIVE DATE DEBTORS, AND THE ESTATES, IN EACH CASE ON BEHALF OF
THEMSELVES AND THEIR RESPECTIVE SUCCESSORS, ASSIGNS, AND
REPRESENTATIVES AND ANY AND ALL OTHER PERSONS THAT MAY PURPORT
TO ASSERT ANY CAUSE OF ACTION DERIVATIVELY, BY OR THROUGH THE
FOREGOING PERSONS, FROM ANY AND ALL CLAIMS, INTERESTS,
OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, DEMANDS, DEBTS, RIGHTS, AND
CAUSES OF ACTION, LOSSES, REMEDIES, OR LIABILITIES WHATSOEVER
(INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED OR ASSERTABLE ON
BEHALF OF THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THE
ESTATES), WHETHER LIQUIDATED OR UNLIQUIDATED, FIXED OR
CONTINGENT, MATURED OR UNMATURED, KNOWN OR UNKNOWN, FORESEEN
OR UNFORESEEN, ACCRUED OR UNACCRUED, EXISTING OR HEREINAFTER
ARISING, WHETHER IN LAW OR EQUITY, WHETHER SOUNDING IN TORT OR
CONTRACT, WHETHER ARISING UNDER FEDERAL OR STATE STATUTORY OR
COMMON LAW, OR ANY OTHER APPLICABLE INTERNATIONAL, FOREIGN, OR
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REQUIREMENTS OR OTHERWISE THAT THE DEBTORS, THE POST-EFFECTIVE
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LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
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DEFINITIVE DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT
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SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EQUITY RIGHTS
OFFERINGS, THE ERO BACKSTOP AGREEMENTS, THE DECOMMISSIONING
AGREEMENT, OR RELATED AGREEMENTS, INSTRUMENTS, OR OTHER
DOCUMENTS RELATING THERETO, OR THE SOLICITATION OF VOTES WITH
RESPECT TO THE PLAN, IN ALL CASES BASED UPON ANY ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE.

       ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY COURT
SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL, PURSUANT TO
BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(a) OF THE PLAN
(the “DEBTOR RELEASES”), WHICH INCLUDES BY REFERENCE EACH OF THE
RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN, AND FURTHER,
SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR
RELEASES ARE: (I) IN EXCHANGE FOR THE GOOD, VALUABLE AND ADEQUATE
CONSIDERATION PROVIDED BY THE RELEASED PARTIES, (II) ESSENTIAL TO
THE CONFIRMATION OF THE PLAN, (III) A GOOD FAITH SETTLEMENT AND
COMPROMISE OF THE RELEASED CLAIMS RELEASED BY THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS AND THE ESTATES, (IV) IN THE BEST
INTERESTS OF THE DEBTORS, THE ESTATES AND ALL HOLDERS OF CLAIMS
AND INTERESTS, (IV) FAIR, EQUITABLE AND REASONABLE, (V) GIVEN AND
MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING, AND (VII) A BAR
TO ANY OF THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THE
ESTATES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT
TO THE DEBTOR RELEASE.

           (b)  RELEASES BY HOLDERS OF CLAIMS AND INTERESTS. AS OF
THE EFFECTIVE DATE, EXCEPT FOR THE RIGHTS AND REMEDIES THAT
REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO ENFORCE THE
PLAN, THE CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY
THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE CREDIT BID
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LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP AGREEMENT,
THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING TRANSACTIONS,
ON AND AFTER THE EFFECTIVE DATE, THE RELEASED PARTIES WILL BE
DEEMED CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY, IRREVOCABLY,
AND FOREVER RELEASED AND DISCHARGED BY THE RELEASING PARTIES, TO
THE MAXIMUM EXTENT PERMITTED BY LAW, AS SUCH LAW MAY BE
EXTENDED SUBSEQUENT TO THE EFFECTIVE DATE BY THE RELEASING
PARTIES, FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION WHATSOEVER
(INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED OR ASSERTABLE ON
BEHALF OF THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THEIR
ESTATES, INCLUDING ANY CAUSES OF ACTION ARISING UNDER CHAPTER 5 OF
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THE BANKRUPTCY CODE), WHETHER LIQUIDATED OR UNLIQUIDATED, FIXED
OR CONTINGENT, MATURED OR UNMATURED, KNOWN OR UNKNOWN,
FORESEEN OR UNFORESEEN, ASSERTED OR UNASSERTED, ACCRUED OR
UNACRUED, EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY,
CONTRACT, TORT, OR OTHERWISE BY STATUTE, WHETHER ARISING UNDER
FEDERAL OR STATE, STATUTORY OR COMMON LAW, VIOLATIONS OF
FEDERAL OR STATE SECURITIES LAWS, OR ANY OTHER APPLICABLE
INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE STATUTE,
REGULATION, TREATY, RIGHT, DUTY, REQUIREMENT OR OTHERWISE, THAT
THE RELEASING PARTIES OR THEIR ESTATES, AFFILIATES, HEIRS,
EXECUTORS, ADMINISTRATORS, SUCCESSORS, ASSIGNS, MANAGERS,
ACCOUNTANTS, ATTORNEYS, REPRESENTATIVES, CONSULTANTS, AGENTS,
AND ANY OTHER PERSONS CLAIMING UNDER OR THROUGH THEM WOULD
HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY
CLAIM OR INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN
ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THEIR ESTATES, THE CHAPTER 11
CASES, THE RESTRUCTURING, THE PURCHASE, SALE, OR RESCISSION OF THE
PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-
EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
OR INTERACTIONS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING, THE RESTRUCTURING OF ANY CLAIMS OR INTERESTS
BEFORE OR DURING THE CHAPTER 11 CASES, THE NEGOTIATION,
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DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE SECOND LIEN
BACKSTOP COMMITMENT LETTER, THE EQUITY RIGHTS OFFERINGS, THE
ERO BACKSTOP AGREEMENT, THE DECOMMISSIONING AGREEMENTS OR
RELATED AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS, RELATING
THERETO, OR THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN
ALL CASES BASED UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCES TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.

      ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY COURT
SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL, PURSUANT TO
BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(B) OF THE PLAN
(THE “THIRD-PARTY RELEASE”), WHICH INCLUDES, BY REFERENCE, EACH OF
THE RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN, AND,
FURTHERMORE, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING
THAT THE THIRD-PARTY RELEASE IS (I) CONSENSUAL, (II) ESSENTIAL TO THE
CONFIRMATION OF THE PLAN, (III) GIVEN IN EXCHANGE FOR THE GOOD,
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VALUABLE AND ADEQUATE CONSIDERATION PROVIDED BY THE RELEASED
PARTIES, (IV) A GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS
RELEASED BY THE THIRD-PARTY RELEASE, (V) IN THE BEST INTERESTS OF
THE DEBTORS AND THEIR ESTATES, (VI) FAIR, EQUITABLE AND REASONABLE,
(VII) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING,
AND (VIII) A BAR TO ANY OF THE RELEASING PARTIES ASSERTING ANY CLAIM
OR CAUSE OF ACTION RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.

       NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS SECTION
10.7(B) OF THE PLAN, NO PARTY SHALL BE RELEASED TO THE EXTENT SUCH
RELEASE WOULD IMPAIR THE DECOMMISSIONING SECURITY OR THE
APACHE PSA PARTIES’ ABILITY TO DRAW ON THE DECOMMISSIONING
SECURITY, IN ANY RESPECT. FOR THE AVOIDANCE OF DOUBT, ANY AND ALL
CLAIMS THE APACHE PSA PARTIES MAY HAVE AGAINST FWE I RELATED TO
THE DECOMMISSIONING AGREEMENT ARISING POST-EFFECTIVE DATE AND
ANY SECURITY OBTAINED, PROVIDED, OR PLEDGED IN CONNECTION WITH
THE DECOMMISSIONING AGREEMENT WILL BE PRESERVED AND ANY AND
ALL CLAIMS FWE I MAY HAVE AGAINST THE APACHE PSA PARTIES RELATED
TO THE DECOMMISSIONING AGREEMENT ARISING POST-EFFECTIVE DATE
AND THE DECOMMISSIONING SECURITY WILL BE PRESERVED.

               (c)      Release of Liens. Except as otherwise specifically provided in the Plan
(including all Liens securing the FLFO Claims or the First Lien Exit Facility) or in any
contract, instrument, release, or other agreement or document contemplated under or
executed in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is secured and Allowed as of the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the estates shall be fully released and discharged, and all of the right,
title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests shall revert to the Post-Effective Date Debtors and their successors and
assigns, in each case, without any further approval or order of the Bankruptcy Court and
without any action or filing being required to be made by the Debtors. For the avoidance of
doubt, all liens and encumbrances on, interests in, and claims against the Legacy Apache
Properties (as defined in the Apache Term Sheet) and the other FWE I Assets (as defined in
Part A of Schedule I of the Initial Plan of Merger) held by the Prepetition FLFO Secured
Parties, Prepetition FLTL Lenders, and Prepetition SLTL Lenders shall be released,
discharged, and of no further force or effect as of the Effective Date.

              10.8    Exculpation.

     TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, EXCEPT
FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE
DATE TO ENFORCE THE PLAN, THE CONFIRMATION ORDER AND THE
OBLIGATIONS CONTEMPLATED BY THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
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COMMITMENT LETTER, THE CREDIT BID PURCHASE AGREEMENT, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EXIT FACILITY
DOCUMENTS, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENT, AND THE RESTRUCTURING TRANSACTIONS, NO EXCULPATED
PARTY WILL HAVE OR INCUR, AND EACH EXCULPATED PARTY WILL BE
RELEASED AND EXCULPATED FROM, ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, DEMAND, DEBT, RIGHT, REMEDY LOSS, LIABILITY AND
CAUSE OF ACTION IN CONNECTION WITH OR ARISING OUT OF THE
ADMINISTRATION OF THE CHAPTER 11 CASES; THE NEGOTIATION AND
PURSUIT OF THE DIP FACILITY, THE CREDIT BID PURCHASE AGREEMENT, THE
NEW MONEY INVESTMENT, THE EXIT FACILITY DOCUMENTS, THE FIRST LIEN
EXIT FACILITY COMMITMENT LETTER, THE SECOND LIEN BACKSTOP
COMMITMENT LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO
BACKSTOP AGREEMENT, THE APACHE DEFINITIVE DOCUMENTS, ANY
ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS, THE DISCLOSURE
STATEMENT, THE RESTRUCTURING, THE PLAN (INCLUDING THE PLAN
SUPPLEMENT), AND ALL DOCUMENTS RELATING TO THE FOREGOING, OR THE
SOLICITATION OF VOTES FOR, OR CONFIRMATION OF, THE PLAN; THE
FUNDING OF THE PLAN; THE OCCURRENCE OF THE EFFECTIVE DATE; THE
ADMINISTRATION OF THE PLAN OR THE PROPERTY TO BE DISTRIBUTED
UNDER THE PLAN; THE ISSUANCE OF SECURITIES UNDER OR IN CONNECTION
WITH THE PLAN; THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE OR
SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE
DEBTORS; OR THE TRANSACTIONS IN FURTHERANCE OF ANY OF THE
FOREGOING; OTHER THAN CLAIMS OR CAUSES OF ACTION ARISING OUT OF
OR RELATED TO ANY ACT OR OMISSION OF AN EXCULPATED PARTY THAT
CONSTITUTES INTENTIONAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
NEGLIGENCE AS DETERMINED BY A FINAL ORDER, BUT IN ALL RESPECTS
SUCH PERSONS WILL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE
OF COUNSEL WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES
PURSUANT TO THE PLAN. THE EXCULPATED PARTIES HAVE ACTED IN
COMPLIANCE WITH THE APPLICABLE PROVISIONS OF THE BANKRUPTCY
CODE WITH REGARD TO THE SOLICITATION OF THE PLAN AND, THEREFORE,
ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS WILL NOT BE, LIABLE
AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR
REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR
REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE
PLAN. THE EXCULPATION WILL BE IN ADDITION TO, AND NOT IN LIMITATION
OF, ALL OTHER RELEASES, INDEMNITIES, EXCULPATIONS, AND ANY OTHER
APPLICABLE LAW OR RULES PROTECTING SUCH EXCULPATED PARTIES FROM
LIABILITY.

       10.9    INJUNCTION RELATED TO RELEASES AND EXCULPATION.

The Confirmation Order shall permanently enjoin the commencement or prosecution by any
Person or entity, whether directly, derivatively, or otherwise, of any Claims, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, losses, or liabilities released
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pursuant to the Plan, including the claims, obligations, suits, judgments, damages, demands, debts,
rights, Causes of Action, and liabilities released or exculpated in the Plan or the Confirmation
Order.
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                                 Exhibit H
                      Credit Bid Purchase Agreement
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                        PURCHASE AND SALE AGREEMENT

                                        AMONG

                              FIELDWOOD ENERGY LLC

                                          AND

                       ITS AFFILIATES SIGNATORY HERETO

                                      AS SELLERS

                                          AND

                        [___________________________________]

                                       AS BUYER

                                         DATED

                              [______________] [___], 2021

[DISCLAIMER: This is a proposed form purchase agreement only, and not an offer that
can be accepted. Until the authorized representatives of the Sellers and Buyer agree to and
execute a definitive agreement, neither the Sellers nor Buyer has any obligation (legal or
otherwise) to conclude a transaction. Unless included in a definitive agreement,
communications (written or oral) shall not create any obligations whatsoever on the Sellers
or Buyer and no person, including any recipient of this proposed form, may rely on them as
the basis for taking or foregoing any action or opportunity or for incurring any costs.
Further, this proposed form purchase agreement may be amended and/or modified in its
entirety to provide for the 363 Credit Bid Transaction in the circumstances contemplated
by, and subject to any consents required by, Section 5.2(c) of the Plan.]
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                                                  EXHIBIT LIST1

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    EXHIBIT W                          Form of Funding Agreement
    EXHIBIT X                          Working Capital
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    EXHIBIT Y                          Specified Oil and Gas Interests

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    Note to Draft: Exhibits are subject to ongoing review and comment by Buyer and are subject to change in all respects.




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Exhibit               Title
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                                 PURCHASE AND SALE AGREEMENT2

         This Purchase and Sale Agreement (this “Agreement”) is made as of [___________] [___],
2021 (the “Execution Date”) by and among (a) Fieldwood Energy LLC, a Delaware limited
liability company (“Fieldwood”), Fieldwood Energy Inc., a Delaware corporation, Dynamic
Offshore Resources NS, LLC, a Texas limited liability company, Fieldwood Energy Offshore
LLC, a Delaware limited liability company, Fieldwood Onshore LLC, a Delaware limited liability
company, Fieldwood SD Offshore LLC, a Delaware limited liability company, Fieldwood
Offshore LLC, a Delaware limited liability company, Bandon Oil and Gas GP, LLC, a Delaware
limited liability company, Bandon Oil and Gas, LP, a Delaware limited partnership, Fieldwood
Energy SP LLC, a Louisiana limited liability company, Galveston Bay Pipeline LLC, a Delaware
limited liability company, and Galveston Bay Processing LLC, a Delaware limited liability
company, (b) subject to Section 1.5, FW GOM Pipeline, Inc., a Delaware corporation (“FW GOM
Pipeline”), and GOM Shelf LLC, a Delaware limited liability company (“GOM Shelf” and each
of the other entities specified in clauses (a) and (b), a “Seller” and collectively the “Sellers”), and
(c) [_________________], a [Delaware limited liability company] (“Buyer”), and
[_________________], [a Delaware limited liability company and a wholly-owned subsidiary of
Buyer] (“Buyer 2”). The Sellers, Buyer and Buyer 2 may be referred to individually as a “Party”
or collectively as the “Parties.” Capitalized terms used in this Agreement have the meanings
referenced in Annex I to this Agreement.

                                                    RECITALS

        A.      The Sellers desire to sell, and Buyer desires to purchase, all of the Acquired
Interests on the terms and subject to the conditions set forth below.

        B.     On August 3, 2020 and August 4, 2020, the Sellers (collectively, the “Debtors”)
filed voluntary petitions (the “Bankruptcy Cases”) under Chapter 11 of Title 11 of the United
States Code, 11 U.S.C. §§ 101, et seq. (as amended from time to time, the “Bankruptcy Code”) in
the United States Bankruptcy Court for the Southern District of Texas, Houston Division (the
“Bankruptcy Court”).

       C.      [Buyer has provided to the Sellers at or prior to the execution of this Agreement a
copy of a fully executed and effective direction letter (the “Direction Letter”) causing to be
delivered at Closing such portion of the [Obligations] (as defined in the Credit Agreement) as is
necessary to allow for payment of the Credit Bid and Release.]3

        D.      Pursuant to the Plan, and as consideration for the transactions contemplated by the
Direction Letter, each holder of Allowed FLTL Secured Claims (as defined in the Plan) will
receive its pro rata portion (as determined pursuant to the Plan and the Confirmation Order) of (a)
on the Effective Date, the Credit Bid and Release New Equity Interests and (b) if and when issuable



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    Note to Draft: Subject to review by Administrative Agent.
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    Note to Draft: Subject to review by Administrative Agent.




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pursuant to the Plan, Confirmation Order, or any other order entered by the Bankruptcy Court, the
FLTL Subscription Rights.

         E.     Pursuant to the Plan, each holder of Allowed SLTL Claims (as defined in the Plan)
will receive its pro rata portion (as determined pursuant to the Plan and the Confirmation Order)
of, if and when issuable pursuant to the Plan, Confirmation Order, or any other order entered by
the Bankruptcy Court, the SLTL Subscription Rights.

        F.       Upon the terms and subject to the conditions set forth herein, the Parties intend to
effectuate the transactions contemplated by this Agreement through a sale of the Acquired Interests
pursuant to Sections 105, 363, 365, 1123(a)(5)(D), 1129, 1141 and 1146 of the Bankruptcy Code,
and Rules 4001, 6004, 6006 and 3020 of the Federal Rules of Bankruptcy Procedure of the
Bankruptcy Code (as amended from time to time, the “Bankruptcy Rules”).

       G.     The execution and delivery of this Agreement and the Sellers’ ability to
consummate the transactions contemplated by this Agreement are subject to, among other things,
the Bankruptcy Court’s entry of the Confirmation Order.

                                         AGREEMENT

       In consideration of the recitals above, the provisions below and other good and valuable
cause and consideration, the receipt and sufficiency of which are hereby acknowledged, Buyer,
Buyer 2 and the Sellers agree as follows:

                                        ARTICLE I
                                    PURCHASE AND SALE

         1.1    Purchase and Sale. Subject to the provisions hereof and the entry of the
Confirmation Order, Buyer agrees to purchase and accept from the Sellers and the Sellers agree to
sell, assign, convey, transfer and deliver, or cause to be sold, assigned conveyed, transferred and
delivered to Buyer at the Closing, the Acquired Interests free and clear of any and all
Encumbrances (other than Permitted Encumbrances (except that the Fieldwood U.A. Interests and
the JV Interests shall not be subject to any Permitted Encumbrances)); provided that Buyer and
Buyer 2 may determine in their sole discretion that certain Fieldwood U.A. Interests and certain
JV Interests may be acquired by Buyer 2 instead of by Buyer, in which case all references hereto
to Buyer with respect to such Fieldwood U.A. Interests or JV Interests shall be understood to be
to Buyer 2 instead of Buyer.

         1.2     Acquired Interests; Assets. As used herein, the term “Acquired Interests” refers to
(x) all of each Seller’s right, title and interest in, to, under or derived from the Co-Owned Assets
excluding the FWE I Assets and the GOM Shelf Oil and Gas Properties other than the Applicable
Shared Asset Interests (which Applicable Shared Asset Interests shall be “Co-Owned Assets”) and
(y) all of each Seller’s right, title and interest in, to, under or derived from the Other Assets. As
used herein, the term “Assets” means the Co-Owned Assets and Other Assets, wherever located,
real, personal or mixed, tangible or intangible, known or unknown, as the same shall exist as of
the Closing. As used herein, the term “Co-Owned Assets” means the following (provided, that
(subject to the following provisos) Buyer may, from time to time prior to the Designation Deadline,
subject to obtaining the Sellers’ prior written consent (in the Sellers’ sole discretion (it being


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understood that Buyer shall not add to or remove from the “Co-Owned Assets” any FWE I Asset
or GOM Shelf Oil and Gas Properties provided that the foregoing shall not prevent the addition or
removal of Applicable Shared Asset Interests as appropriate (which may be added or removed with
the Sellers’ prior written consent))), add any assets to or remove any assets from the “Co-Owned
Assets” (and, in the event an asset is added or removed, to the extent applicable, add, modify or
remove any related Liabilities to or from the “Assumed Liabilities”) and any affected Exhibit or
Schedule (including Schedule 1.3(d)) will be updated accordingly, and if Buyer removes any asset
from the “Co-Owned Assets” Buyer shall indemnify the Sellers with respect to any Liability
incurred by the Sellers as a result of the removal by Buyer of any Co-Owned Asset and the
retention by the Sellers of such “Co-Owned Asset”; provided, further, that (notwithstanding
anything to the contrary in this Section 1.2), Buyer may not remove any assets from the “Co-
Owned Assets” after the Designation Deadline):

                (a)     the oil and gas leases (and other agreements) described in Part 1 of Exhibit
A, but excluding the FWE I Assets and the GOM Shelf Oil and Gas Properties (collectively, the
“Co-Owned Leases”), including all Working Interests, Net Revenue Interests, royalty interests,
overriding royalty interests, production payments, net profits interests, carried interests,
reversionary interests (including rights under non-consent provisions), possibilities of reverter,
conversion rights and options, fee mineral interests and other interests of every kind and character
in, to, under or derived from any Co-Owned Lease or any land subject to, covered by or included
within any Co-Owned Lease (except that, solely as to each of lease OCS-00786 covering South
Marsh Island 48 and lease OCS-G 1609 covering South Pass 61, the interests in such lease to be
conveyed hereunder are solely the overriding royalty interests held by the Sellers in such lease);

               (b)     (i) each Unit that includes any of the lands covered by or subject to any Co-
Owned Lease (each, a “Co-Owned Subject Unit”), (ii) each pooling, unitization or
communitization declaration, designation, agreement or order creating or modifying any Co-
Owned Subject Unit (each, a “Co-Owned Subject Unit Agreement”) and (iii) the oil and gas leases
and lands subject to, covered by or included within each Co-Owned Subject Unit;

              (c)     all servitudes, rights of way, easements, surface leases, subsurface
agreements and similar rights and agreements related to or held for use in connection with (in each
case, whether or not located on) any land subject to or covered by any Co-Owned Lease or Co-
Owned Subject Unit (collectively, the “Co-Owned Easements”), including those described in
Part 1 of Exhibit B;

               (d)    all wells (whether producing, not producing, shut-in, temporarily
abandoned, injection, disposal or otherwise) owned or operated in connection with any of the Co-
Owned Leases or Co-Owned Subject Units, whether or not such well is located on any land subject
to or covered by any Co-Owned Lease or Co-Owned Subject Unit (collectively, the “Co-Owned
Wells”), including those described in Part 1 of Exhibit C (such wells, the “Co-Owned Scheduled
Wells”);

               (e)    all equipment, machinery, structures, fixtures, inventory, vehicles, rolling
stock, improvements and other movable property related to, used or held for use in connection
with or held as inventory in connection with (in each case, whether or not located on) any Co-
Owned Lease, Co-Owned Subject Unit, Co-Owned Easement, lands covered by or subject to any



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Co-Owned Lease, Co-Owned Subject Unit or Co-Owned Easement or Co-Owned Well (including
well equipment; casing; rods; tanks and tank batteries; boilers; tubing; pumps; pumping units and
engines; Christmas trees; production facilities; dehydration units and facilities; heater-treaters;
compressors; testing and sampling equipment; sulfur recovery units and facilities; valves; gauges;
supervisory control and data acquisition (SCADA) systems, equipment and related software;
meters and other measurement equipment; flow lines; pipelines; gathering systems; processing
systems or facilities; umbilicals; caissons; water systems (whether for source water, treatment,
disposal, injection or otherwise); the platforms and facilities listed in Part 1 of Exhibit D; and all
additions and accessions to, substitutions for and replacements of any of the foregoing, together
with all attachments, components, parts, equipment, supplies, pipes, tools, casing, tubing, tubulars,
fittings and accessories in connection with any of the foregoing), including the foregoing listed in
Part 1 of Exhibit D-1 (collectively, the “Co-Owned Inventory”);

                (f)     (i) all oil, gas, minerals, condensate, distillate, natural gasoline, natural gas
liquids, plant products and other liquid or gaseous hydrocarbons and all other substances produced
with any of the foregoing hydrocarbons (collectively, “Hydrocarbons”) (A) that are produced on,
or the right to explore for which, or an interest in which, is granted pursuant to, any Co-Owned
Lease, Co-Owned Subject Unit or Co-Owned Subject Unit Agreement or (B) that are located in
any Co-Owned Inventory; and (ii) all proceeds from the sale of any such Hydrocarbons;

                (g)    all Permits (and pending applications therefor) that pertain or relate in any
way to any of the Co-Owned Field Assets, including the Permits listed in Part 1 of Exhibit E, to
the extent assignable by the Sellers to Buyer or Buyer 2, and subject to Section 6.7, all Co-Owned
Assigned Contracts;

                (h)    all rights (including intangible and inchoate rights), Claims, rights of set-
off, rights under warranties and indemnities made by prior owners, manufacturers, vendors and
Third Persons or accruing under applicable statutes of limitation or prescription, insofar only as
the foregoing relate or are attributable to any of the other Co-Owned Assets or to any Assumed
Liabilities, including any and all Claims of any Seller against other Persons pertaining to
Imbalances attributable to the Co-Owned Assets;

                 (i)    to the extent transferable by the Sellers to Buyer at Closing without payment
of a fee or other penalty to any Third Party pursuant to any Contract (unless Buyer has, prior to
the Closing, separately agreed in writing to pay such fee or penalty), all seismic data (conventional,
three dimensional or otherwise; whether owned or licensed; and including original field tapes)
(including all such data relating to those licenses and agreements listed in Part 1 of Exhibit F),
log cores, geological, reserve engineering and other scientific and technical information, samples,
tests, reports, maps and data that relate to any of the Co-Owned Field Assets or any land on which
any Co-Owned Field Asset is located (collectively, the “Co-Owned Field Data”);

                (j)     all files, records (including reservoir, production, operation, contract, land
and title records; drawings, maps, plats and surveys; abstracts of title, title insurance policies, title
opinions and title curative; lease, prospect, contract, division order, marketing, correspondence,
operations, environmental, production, processing, accounting, Property-Related Tax, Production
Tax, Transfer Tax, regulatory compliance, facility and well records and files; supplier lists and
files; customer lists and files; and reports to any Governmental Authority), databases, data and



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other information (in each case, whether in written or electronic format) that relate to any of the
other Co-Owned Assets (collectively, the “Co-Owned Records”);

               (k)     [reserved];

                (l)     all raw materials, work-in-process, finished goods, supplies and other
inventories related to, used or held for use in connection with (in each case, whether or not located
on) any Co-Owned Lease, Co-Owned Subject Unit, Co-Owned Easement or Co-Owned Well;

               (m)     all goodwill associated with any Co-Owned Asset; and

               (n)   all credits or other rights to prepaid expenses, deposits, advances,
prepayments, excess or unearned premiums, costs, and other refunds attributable to any Co-Owned
Assets (excluding Excluded Prepaid JOA Funds).

As used herein, the term “Other Assets” means the assets described in clauses (o) through (qq)
below; provided, that, from time to time prior to the Designation Deadline, Buyer may, in its sole
discretion (subject to the following provisos), (x) add any assets to the “Other Assets” or (y)
remove any Other Assets from the “Other Assets” (other than (1) to add any Co-Owned Assets to,
or to remove any Co-Owned Assets from, the Other Assets or (2) the assets or items set forth in
clauses (z), (dd), (ff), (hh), (nn) or (oo) of this Section 1.2), and, in the event an asset is added or
removed, to the extent applicable, add, modify or remove any related Liabilities to or from the
“Assumed Liabilities” (and any affected Exhibit or Schedule (including Schedule 1.3(d)) will be
updated accordingly); provided, however, that Buyer may not add or remove any FWE I Asset or
GOM Shelf Oil and Gas Property; provided, further, that (notwithstanding anything to the contrary
in this Section 1.2), Buyer may not remove any assets from the “Other Assets” after the
Designation Deadline; and, provided, further, that Buyer may not (i) remove any assets from the
“Other Assets” unless Buyer has agreed in writing to indemnify Sellers with respect to any
Liability incurred by any Seller as a result of the retention by Sellers of such “Other Asset” or
(ii) add any assets to the Other Assets if such addition would require a Governmental Approval
(except for those which are obtained post Closing) that would reasonably be expected to materially
delay the Closing); provided, further that Buyer may remove any such asset if Buyer increases the
Cash Portion to include the amount of such Liability:

                (o)     the oil and gas leases (and other agreements) described in Part 2 of
Exhibit A (collectively, the “Other Leases”), including all Working Interests, Net Revenue
Interests, royalty interests, overriding royalty interests, production payments, net profits interests,
carried interests, reversionary interests (including rights under non-consent provisions),
possibilities of reverter, conversion rights and options, fee mineral interests and other interests of
every kind and character in, to, under or derived from any Other Lease or any land subject to,
covered by or included within any Other Lease (except that, (x) solely as to lease OCS-G 12210
covering Green Canyon 201, the interests in such lease to be conveyed hereunder exclude any
record title or operating rights in the NE1/4 of Block 201, Green Canyon, (y) solely as to lease
OCS-G 10794 covering Ship Shoal 301, Fieldwood's overriding royalty interest in such lease is
not to be conveyed hereunder; and (z) solely as to each of OCS-G 1449 covering portions of West
Delta 57, 79 and 80, OCS-G 1874 covering portions of West Delta 79 and 80 and OCS-G 1989




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and OCS-G 2136 covering portions of West Delta 80, the interests in such lease to be conveyed
hereunder are solely the overriding royalty interests held by the Sellers in such lease);

               (p)    (i) each Unit that includes any land covered by or subject to any Other Lease
(each, a “Other Subject Unit”), (ii) each pooling, unitization or communitization declaration,
designation, agreement or order creating or modifying any Other Subject Unit (each, a “Other
Subject Unit Agreement”) and (iii) the oil and gas leases and lands subject to, covered by or
included within each Other Subject Unit;

               (q)    all servitudes, rights of way, easements, surface leases, subsurface
agreements and similar rights and agreements located on (or related to or held for use in connection
with (in each case, whether or not located on)) any land subject to or covered by any Other Lease
or Other Subject Unit (collectively, the “Other Easements”), including those described in Part 2
of Exhibit B;

               (r)     all wells (whether producing, not producing, shut-in, temporarily
abandoned, injection, disposal or otherwise) owned or operated in connection with any Other
Lease or Other Subject Unit, whether or not such well is located on any land subject to or covered
by any Other Lease or Other Subject Unit (collectively, the “Other Wells”), including those
described in Part 2 of Exhibit C (such wells, the “Other Scheduled Wells”);

                (s)     all equipment, machinery, structures, fixtures, inventory, vehicles, rolling
stock, improvements and other movable property related to, used or held for use in connection
with or held as inventory in connection with (in each case, whether or not located on) any Other
Lease, Other Subject Unit, Other Easement, lands covered by or subject to any Other Lease, Other
Subject Unit or Other Easement or Other Well (including well equipment; casing; rods; tanks and
tank batteries; boilers; tubing; pumps; pumping units and engines; Christmas trees; production
facilities; dehydration units and facilities; heater-treaters; compressors; testing and sampling
equipment; sulfur recovery units and facilities; valves; gauges; supervisory control and data
acquisition (SCADA) systems, equipment and related software; meters and other measurement
equipment; flow lines; pipelines; gathering systems; processing systems or facilities; umbilicals;
caissons; water systems (whether for source water, treatment, disposal, injection or otherwise); the
platforms and facilities listed in Part 2 of Exhibit D; and all additions and accessions to,
substitutions for and replacements of any of the foregoing, together with all attachments,
components, parts, equipment, supplies, pipes, tools, casing, tubing, tubulars, fittings and
accessories in connection with any of the foregoing), including the foregoing listed in Part 2 of
Exhibit D-1 (collectively, the “Other Inventory”);

                (t)     (i) all Hydrocarbons (A) that are produced on, or the right to explore for
which, or an interest in which, is granted pursuant to, any Other Lease, Other Subject Unit or Other
Subject Unit Agreement or (B) that are located in any Other Inventory; and (ii) all proceeds from
the sale of any such Hydrocarbons;

               (u)     all Permits (and pending applications therefor) that pertain or relate in any
way to any of the Other Field Assets, including the Permits listed in Part 2 of Exhibit E, to the
extent assignable by the Sellers to Buyer or Buyer 2;




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               (v)     all rights (including intangible and inchoate rights), Claims, rights of set-
off, rights under warranties and indemnities made by prior owners, manufacturers, vendors and
Third Persons or accruing under applicable statutes of limitation or prescription, insofar only as
the foregoing relate or are attributable to any of the Other Assets, including any and all Claims of
any Seller against other Persons pertaining to Imbalances attributable to the Other Assets;

                (w)     to the extent transferable by the Sellers to Buyer at Closing without payment
of a fee or other penalty to any Third Party pursuant to any Contract (unless Buyer has, prior to
the Closing, separately agreed in writing to pay such fee or penalty), (i) all seismic data
(conventional, three dimensional or otherwise; whether owned or licensed; and including original
field tapes) (including all such data relating to those licenses and agreements listed in Part 2 of
Exhibit F), log cores, geological, reserve engineering and other scientific and technical
information, samples, tests, reports, maps and data that relate to any of the Other Field Assets or
any land on which any Other Field Asset is located and (ii) copies of all proprietary seismic data
(conventional, three dimensional or otherwise), log cores, geological, reserve engineering and
other scientific and technical information, samples, tests, reports, maps and data that relate to any
of the FWE I Oil and Gas Properties or any land on which any FWE I Oil and Gas Property is
located (collectively, the “Other Field Data”);

                (x)     all files, records (including reservoir, production, operation, contract, land
and title records; drawings, maps, plats and surveys; abstracts of title, title insurance policies, title
opinions and title curative; lease, prospect, contract, division order, marketing, correspondence,
operations, environmental, production, processing, accounting, Property-Related Tax, Production
Tax, Transfer Tax, regulatory compliance, facility and well records and files; supplier lists and
files; customer lists and files; and reports to any Governmental Authority), databases, data and
other information (in each case, whether in written or electronic format) that relate to any of the
Other Assets (collectively, the “Other Records”);

                (y)     subject to Section 6.7, all of the Other Assigned Contracts;

                (z)     all Working Capital Assets;

               (aa) all of the Sellers’ rights, title and interest as borrowers under the Prepetition
FLFO Credit Agreement (as defined in the Plan) as modified to the extent set forth in the First
Lien Exit Facility Documents (as defined in the Plan);

               (bb) all raw materials, work-in-process, finished goods, supplies and other
inventories located on (or related to, used or held for use in connection with (in each case, whether
or not located on)) any Other Lease, Other Subject Unit, Other Easement or Other Well;

                (cc)    all goodwill associated with the Other Assets;

                (dd) the Office Sublease, the Lafayette Lease Agreement, the Warehouse Lease
and the Lubrizol Sublease and, in each case, the premises demised thereunder, all fixtures and
appurtenances thereto, and all furniture and other personal (movable) property located therein
(collectively, the “Office Assets”);




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              (ee) all credits or other rights to prepaid expenses, deposits, advances,
prepayments, excess or unearned premiums, costs, and other refunds attributable to the Other
Assets;

                (ff)    all (i) Suspense Funds and Undisbursed Revenue related to the Acquired
Interests and (ii) Prepaid JOA Funds;

               (gg) all futures, options, swaps and other derivatives with respect to the sale of
Hydrocarbons described in clauses (f) or (t) of this Section 1.2 and novated to Buyer pursuant to
Section 6.15 (the “Hedges”);

               (hh)    all assets relating to the Assumed Employee Plans (to the extent funded);

               (ii)    all of the Sellers’ economic analyses and pricing forecasts relating to any of
the Assets;

               (jj)    all Transferred Intellectual Property;

               (kk)    all Seller IT Assets;

               (ll)    all Tax refunds other than those described in Section 1.3(f);

               (mm) all collateral securing any bond provided for any of the Assets;

                 (nn) all memberships (lidmaatschap), including all membership rights
(lidmaatschapsrechten) of Fieldwood U.A. held by any Seller (the “Fieldwood U.A. Interests”)
and all shares in the capital of Fieldwood Mexico and any of its Subsidiaries (Fieldwood Mexico
and its Subsidiaries, collectively, the “Mexico JV”) held by any Seller (the “JV Interests”), and
all rights, interests and title in and to such Seller’s equity ownership of, and all present and future
rights of such Seller as an equity holder of, Fieldwood U.A. or the Mexico JV, as applicable, both
actual and contingent, including all distributions of profits, dividends, distribution of reserves,
repayments of capital, liquidation or dissolution proceeds and all other distributions, payments and
repayments in respect of such equity ownership and any right to receive the same, and all other
rights in respect of such equity ownership under or pursuant to the organizational documents of
and any equity holders’ agreement in respect of Fieldwood U.A. or the Mexico JV, as applicable;

               (oo)    the Specified P&A Equipment;

             (pp) all proceeds recovered under the Tail Policy, but only with respect to
reimbursement of D&O Indemnified Liabilities actually paid by Buyer pursuant to Section 10.12;
and

                (qq) all rights, claims, demands and causes of action of the Sellers relating to the
Acquired Interests or the Assumed Liabilities; provided that this clause (qq) shall not apply with
respect to or in connection with Taxes or Tax refunds.

       1.3    Excluded Assets. The Assets and Acquired Interests do not include, and there is
hereby expressly excepted and excluded therefrom and reserved to the Sellers, all assets and



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properties of each Seller and its Affiliates that are not described or otherwise identified as Acquired
Interests in Section 1.2, including the following assets and properties (the “Excluded Assets”):

                (a)    all corporate, financial, legal (other than title opinions) and tax records of
the Sellers, but excluding Records;

                (b)     other than (i) the Fieldwood U.A. Interests and the shares of capital stock
or equity interests of any Person held, directly or indirectly, by Fieldwood U.A. and (ii) the JV
Interests and the shares of capital stock or equity interests of any Person held, directly or indirectly,
by Fieldwood Mexico and its Subsidiaries, any shares of capital stock or other equity interest held
by the Sellers in any other Person;

                (c)     all BOEM operator numbers;

               (d)    all of the Sellers’ right, title and interest in and to those interests, rights,
properties and assets more particularly described on Schedule 1.3(d) as such Schedule may be
amended in accordance with Section 2.6;

                (e)   all of the Sellers’ right, title and interest in, to and under any of the FWE I
Assets, other than any Applicable Shared Asset Interests added to the Co-Owned Assets or Other
Assets by Buyer pursuant to the terms of Section 1.2;

                (f)     all Tax refunds attributable to the Retained Liabilities;

                (g)     all Excluded Contracts;

                (h)     all assets of any Employee Plan that are not Assumed Employee Plans;

               (i)    all Intellectual Property owned or purported to be owned by any Seller
(other than Transferred Intellectual Property);

                (j)     all insurance policies held by the Sellers;

                (k)     all rights, claims, demands and causes of action of the Sellers under this
Agreement;

             (l)    all cash held in accounts of the Sellers, other than (i) Suspense Funds, (ii)
Undisbursed Revenue and (iii) Prepaid JOA Funds;

               (m)    any and all Claims of any Seller against other Persons pertaining to
Imbalances attributable to the FWE I Assets;

                (n)     the Specified Excluded Receivables;

                (o)     all Avoidance Actions;

               (p)    as to each of lease OCS-G 1449 covering portions of West Delta 57, 79 and
80, OCS-G 1874 covering portions of West Delta 79 and 80, OCS-G 1989 and OCS-G 2136
covering portions of West Delta 80, OCS-00786 covering South Marsh Island 48 and lease OCS-


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G 1609 covering South Pass 61, any interest other than any overriding royalty interests held by the
Sellers in such lease;

               (q)     solely as to lease OCS-G 12210 covering Green Canyon 201 any record title
or operating rights (for the avoidance of doubt, not including any overriding royalty interests) in
the NE1/4 of Block 201, Green Canyon; and

               (r)     solely as to lease OCS-G 10794 covering Ship Shoal 301, Fieldwood's
overriding royalty interest in such lease.

        1.4    Effective Time. The purchase and sale of the Acquired Interests shall be effective
as of 7:00 am (Central Prevailing Time) on the Closing Date (the “Effective Time”).

        1.5     Certain Sellers. The Parties agree that each of FW GOM Pipeline and GOM Shelf
have executed this Agreement as Sellers solely for the purpose of selling, assigning, conveying,
transferring and delivering to Buyer any Acquired Interests held by such entities as of the Closing
pursuant to this Article I and the applicable Transfer Documents, and without limiting the
applicability of covenants and representations to the closing conditions set forth in Article VII
neither FW GOM Pipeline nor GOM Shelf makes, or shall have any obligation or liability with
respect to, any other covenant or representation of the Sellers made under this Agreement or any
certificate delivered pursuant hereto. For the avoidance of doubt, neither FW GOM Pipeline or
GOM Shelf shall be required or obligated to sell, assign, convey, transfer or deliver to Buyer or
Buyer 2 any of the GOM Shelf Oil and Gas Properties. Notwithstanding anything to the contrary,
Fieldwood Energy I, GOM Shelf, and their Subsidiaries shall have no liability under this
Agreement or any Ancillary Document (including, without limitation, for breach,
misrepresentation, fraud, breach of warranty, or otherwise) or relating to the sale or purchase of
the Acquired Interests, the operation or business of the Acquired Interests, or any other transactions
contemplated by this Agreement or any Ancillary Document, except for any breach (i) by
Fieldwood Energy I of its obligations pursuant to Section 3(b)(i) of the Plan of Merger (as
contemplated by Section 10.12(e)) or (ii) by FW GOM Pipeline or GOM Shelf of its obligations
pursuant to Sections 9.2, 10.2, 10.3, 10.4, 10.5, 10.6, 10.7, 10.9 and, in respect of its interest in an
asset which is also in part a Co-Owned Asset, 10.11.

                                                ARTICLE II
                                              CONSIDERATION

         2.1      Consideration.

                (a)     The aggregate consideration to be paid by Buyer and Buyer 2 to the Sellers
with respect to the sale to Buyer and Buyer 2 of the Acquired Interests shall consist of the following
(collectively, the “Consideration”): (1) a credit bid and equivalent release of the Sellers and any
guarantors (and their respective successors and assigns) from a portion of the Claims arising under
the Credit Agreement, in an aggregate amount up to the FLTL Claims Allowed Amount (as defined
in the Plan) (the “Credit Bid and Release”) 4, (2) the Cash Portion, (3) the GUC Warrants, (4) the


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 Note to Draft: Credit Bid and Release to be equal to at least $1.03 billion, less (i) the Cash Portion, (ii) the GUC
Warrants, (iii) the SLTL Warrants, and (iv) the amount of the First Lien Exit Facility on the Closing Date, subject to



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SLTL Warrants and (5) Buyer’s assumption of the Assumed Liabilities (including, for the
avoidance of doubt, the Liabilities set forth in Section 11.1(o))5.

               (b)    Prior to the Closing, the Sellers and Buyer shall in good faith endeavor to
agree upon the Closing Cash Amount, the Effective Date Cash Obligations and the Effective Date
Cash Obligations Amount in accordance with the definitions thereof.

                  (c)     The Parties hereby agree that, for U.S. federal income tax purposes, the
assumption by Buyer of the remaining Allowed FLFO Claims (as such term is defined in the Plan)
pursuant to Section 11.1(o) hereof shall be treated as if: (i) Buyer issues a debt instrument to the
Sellers (“Buyer Obligation”) with terms that are identical (with the exception of the obligor) to
the terms of the Buyer Parent Debt (defined below) as additional consideration for the Acquired
Interests, (ii) the Sellers deliver the Buyer Obligation to holders of Allowed FLFO Claims (as such
term is defined in the Plan) (together with the FLFO Distribution Amount (as such term is defined
in the Plan)) in satisfaction of their Allowed FLFO Claims (as such term is defined in the Plan), in
a transaction that constitutes a “significant modification” within the meaning of Treasury
Regulations Section 1.1001-3, and (iii) Buyer Parent issues the First Lien Exit Facility (as such
term is defined in the Plan) (the “Buyer Parent Debt”) to holders of Allowed FLFO Claims (as
such term is defined in the Plan) in substitution of the Buyer Obligation, thereby assuming Buyer’s
obligation with respect to the Buyer Obligation. The parties further agree that (i) the issue price,
within the meaning of Section 1273 of the Code, of the Buyer Obligation is equal to the issue price
of the Buyer Parent Debt and (ii) the Sellers shall take into account for U.S. federal income tax
purposes any cancellation of debt consequences under the Code, resulting from or in connection
with (including as a result of the application of Treasury Regulations Section 1.1274-5, if
applicable) or arising from the transactions described in this paragraph.

        2.2     Allocation of Adjusted Consideration. The Parties acknowledge and agree that the
Credit Bid and Release and the Cash Portion (and the Assumed Liabilities, taking into account
Section 2.1(c), and other relevant items, to the extent properly taken into account under the federal
income Tax principles as consideration for the Acquired Interests) shall be allocated among the
Acquired Interests in accordance with Section 1060 of the Code and the Treasury Regulations
thereunder (and any similar provision of state, local or non-U.S. Law, as appropriate). Buyer shall,
as promptly as practicable after the Closing Date, but in no case later than one hundred twenty
(120) days following the Closing Date, prepare and deliver to the Sellers a proposed allocation as
described in the preceding sentence (the “Initial Allocation”). The Parties, for a period of no more
than ninety (90) days, shall cooperate in good faith to resolve any disagreements the Sellers may
have with the Initial Allocation and agree on a final allocation (the “Final Allocation”). The
Parties agree to file all Tax Returns (including the filing of IRS Form 8594 with their U.S. federal
income Tax Return for the taxable year that includes the date of the Closing) consistent with the
Final Allocation unless otherwise required by applicable Law.


such other adjustments as agreed with consent of the Debtors, the Required DIP Lenders and the Requisite FLTL
Lenders (each as defined in the Plan).
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 Note to Draft: Sellers to be third party beneficiaries of the Direction Letter, with the right to specifically enforce the
Credit Bid and Release.




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       2.3     Consents to Assign.

                (a)    The Sellers shall, within five (5) Business Days after the Execution Date (to
the extent not sent prior to the Execution Date), send to the holder of each Applicable Consent
with respect to each Lease and any Assigned Contract that is not a 365 Contract (for which notices
regarding 365 Contracts are addressed in Section 6.7) a notice seeking such holder’s consent to
the transactions contemplated hereby or as otherwise sufficient to permit the assignment of such
Lease or Assigned Contract to Buyer or Buyer 2, as applicable, pursuant to this Agreement upon
entry of the Confirmation Order. Upon request of Buyer, the Sellers shall promptly provide a
reasonable update to Buyer regarding the status of requests for consents made pursuant to this
Section 2.3(a).

                (b)    If the Sellers fail to obtain an Applicable Consent prior to Closing and (i)
with respect to any Lease or Assigned Contract that is not a 365 Contract, (A) the failure to obtain
such Applicable Consent would under the express terms thereof cause the assignment of the
Acquired Interest affected thereby to Buyer or Buyer 2, as applicable, to be void or voidable, (B)
the failure to obtain such Applicable Consent would under the express terms thereof permit the
termination of such Lease or Assigned Contract under the express terms thereof upon the purported
assignment of such Lease or Assigned Contract to Buyer or Buyer 2, as applicable, pursuant to
this Agreement, or (C) the failure to obtain such Applicable Consent would under the express
terms thereof permit a party to such Lease or Assigned Contract to impose a financial or other
penalty on any Seller, Buyer or Buyer 2 or (ii) with respect to any Lease or Assigned Contract, a
party holding such Applicable Consent right has objected to the assignment of the affected
Acquired Interest in accordance with the terms of the relevant Applicable Consent right (each
Consent as to which clause (i) or (ii) is applicable, a “Required Consent”), then, unless the
Bankruptcy Court has entered an order approving (or in the case of clause (ii), such objection is
resolved to permit) the sale and assignment of the affected Acquired Interest to Buyer or Buyer 2,
as applicable, pursuant to this Agreement without obtaining such Required Consent (and without
Buyer or Buyer 2 being subject to the consequences set forth in clauses (i)(A) through (i)(C) of
the definition of Required Consent as a result of not obtaining such Required Consent), the
Acquired Interests (or portions thereof) affected by such un-obtained Required Consent shall be
excluded from the Acquired Interests to be assigned to Buyer or Buyer 2 at Closing (and shall be
considered Excluded Assets hereunder) (a “Delayed Asset”). In the event that any such Required
Consent with respect to any such Delayed Asset (or portion thereof) is obtained during the Post-
Closing Consent Period (or if during the Post-Closing Consent Period the Bankruptcy Court enters
an order providing that (x) such Required Consent is not required to consummate the sale and
assignment of the Delayed Asset to Buyer or Buyer 2, as applicable, pursuant to this Agreement
or (y) the Delayed Asset may be sold and assigned to Buyer or Buyer 2, as applicable, pursuant to
this Agreement free and clear (as applicable to the sale and assignment of the Delayed Asset to
Buyer or Buyer 2, as applicable, pursuant to this Agreement) of such Required Consent) (in each
case of clauses (x) and (y) without Buyer or Buyer 2 being subject to the consequences set forth
in clauses (i)(A) through (i)(C) of the definition of Required Consent as a result of not obtaining
such Required Consent) then, (1) the Sellers shall so notify Buyer, and (2) on or prior to the tenth
(10th) Business Day after the date such Required Consent is obtained or such order referred to
above is entered, the Sellers shall assign such Delayed Asset (or portions thereof) that were so
excluded as a result of such previously un-obtained Required Consent to Buyer or Buyer 2, as
applicable, pursuant to an instrument in substantially the same form as the Assignment, Bill of


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Sale and Conveyance, or the JV Assignment Agreement (in the case where the Delayed Asset is a
Fieldwood U.A. Interest or a JV Interest) (and such Delayed Asset (or portions thereof) shall no
longer be considered Excluded Assets hereunder) and Buyer shall assume all Assumed Liabilities
with respect thereto. Notwithstanding anything to the contrary in this Agreement, without limiting
any of the rights of Buyer hereunder, including those set forth in Section 7.3, (A) Buyer in its sole
discretion may elect for the Sellers not to sell, transfer, convey, assign or deliver such Delayed
Assets that is an Other Asset to Buyer, and (B) from and after the Closing, Buyer and the Sellers
shall reasonably cooperate in a reasonable arrangement to provide Buyer or Buyer 2, as applicable,
with all of the benefits of, or under, each such Delayed Asset, including enforcement (at Buyer’s
cost) for the benefit of Buyer or Buyer 2, if applicable, of any and all rights of the Sellers against
any party with respect to such Delayed Asset arising out of the breach or cancellation with respect
to such Delayed Asset by such party; provided, further, that (i) to the extent that any such
arrangement has been made to provide Buyer or Buyer 2, as applicable, with the benefits of, under
or with respect to, a Delayed Asset, from and after the Closing, Buyer shall be responsible for, and
shall promptly pay and perform all payment and other obligations under such Delayed Asset for
the period during which Buyer or Buyer 2, as applicable, is receiving the benefits under the
applicable Delayed Asset to the same extent as if such Delayed Asset had been assigned or
transferred at the Closing, and (ii) the Sellers shall (or, as to any Delayed Asset that is an Other
Asset, at Buyer’s request the Sellers shall) sell, transfer, convey, assign and deliver such Delayed
Asset to Buyer or Buyer 2, as applicable, promptly after receipt of such Required Consent or the
entry of such order referred to above with respect to such Delayed Asset; provided that Buyer shall
so request such sale, transfer, conveyance, assignment and deliverance promptly after such receipt,
unless (1) the retention of such Delayed Asset by the applicable Seller would not result in such
Seller retaining an incremental Liability as compared to if such Seller had transferred such Delayed
Asset to Buyer (unless Buyer provides an amount in cash to the Sellers equal to the amount of such
Liabilities and/or indemnification to the Sellers for any such Liabilities) or (2) the Sellers and
Buyer mutually agree not to make such sale, transfer, conveyance, assignment and deliverance of
such Delayed Asset; provided further that from and after the date that is six (6) months after the
Closing, Buyer shall have no obligation to make any such request and may elect for the Sellers to
retain such Delayed Asset, in which case such Delayed Asset shall be an Excluded Asset for all
purposes under this Agreement and the arrangements described in clause (B)(i) shall terminate.

                 (c)    If the Sellers fail to obtain a Consent prior to Closing and such Consent (i)
is not a Required Consent or (ii) is a Required Consent and prior to Closing the Bankruptcy Court
enters an order providing that the affected Acquired Interests may be sold and assigned to Buyer
or Buyer 2, as applicable, pursuant to this Agreement free and clear (as applicable to the sale and
assignment of the affected Acquired Interests to Buyer pursuant to this Agreement) of such
Required Consent (without Buyer or Buyer 2, as applicable, being subject to the consequences set
forth in clauses (i)(A) through (i)(C) of the definition of Required Consent as a result of not
obtaining such Required Consent), then, in the case of each of clauses (i) and (ii), the Acquired
Interests (or portions thereof) subject to such un-obtained Consent shall nevertheless be assigned
by the Sellers to Buyer at Closing as part of the Acquired Interests and Buyer shall be deemed to
have assumed any and all Liabilities for the failure to obtain any such Consent as part of the
Assumed Liabilities hereunder and Buyer shall have no claim against the Sellers from any Liability
for the failure to obtain such Consent.




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                 (d)     Prior to Closing and until the 365th day after Closing (the “Post-Closing
Consent Period”), with respect to any un-obtained Required Consents with respect to which the
Bankruptcy Court shall not have entered an order providing that the affected Acquired Interests
may be sold and assigned to Buyer or Buyer 2, as applicable, pursuant to this Agreement free and
clear (as applicable to the sale and assignment of the affected Acquired Interests to Buyer or Buyer
2, as applicable, pursuant to this Agreement) of such Required Consent (without Buyer or Buyer
2, as applicable, being subject to the consequences set forth in clauses (i)(A) through (i)(C) of the
definition of Required Consent as a result of not obtaining such Required Consent), the Sellers
shall use their commercially reasonable efforts to obtain such Required Consents, except that such
obligation of the Sellers to use their commercially reasonable efforts to obtain Required Consents
shall not apply in respect of any Delayed Asset with respect to which Buyer has made the election
in accordance with the final sentence of Section 2.3(b). If Buyer so requests, the Sellers shall be
required to make any payments or provide other consideration in order to obtain any such Required
Consent (provided that Buyer shall reimburse Sellers for any such payment made after the
Closing); provided, however, that without the consent of Buyer, the Sellers shall not be required
to incur any Liability, pay any money or provide any other consideration in order to obtain any
such Consent (other than any Liability or obligation to pay money or provide consideration that
has been expressly assumed by Buyer). Buyer shall use its commercially reasonable efforts
(without any obligation to incur any Liability, pay money or provide any other consideration) to
assist and cooperate with the Sellers in furtherance of the Sellers’ efforts pursuant to this Section
2.3(d).

                (e)    The Sellers shall be deemed to have obtained all Consents required in
respect of the assumption and/or assignment of any Lease or Assigned Contract if (i) the Sellers
have properly served under the Bankruptcy Code notice of assumption and/or assignment on the
counterparty to such Lease or Assigned Contract, (ii) any objections to assumption and/or
assignment of such Lease or Assigned Contracts filed by such counterparty have been withdrawn
or overruled (including pursuant to the Confirmation Order or other order of the Bankruptcy
Court), and (iii) pursuant to the Confirmation Order or other order of the Bankruptcy Court, the
Sellers are authorized to assume and/or assign such Lease or Assigned Contract to Buyer free and
clear of such Consents, in each case without Buyer or Buyer 2, as applicable, being subject to the
consequences forth in clauses (i)(A) through (i)(C) of the definition of Required Consent as a result
of not obtaining such Required Consent.

        2.4     Governmental Approvals. The Sellers and Buyer shall use commercially
reasonable efforts to obtain the approval of, or waiver from, each Governmental Authority
required, after giving effect to the entry of the Confirmation Order, to permit the assignment of the
Acquired Interests to Buyer or Buyer 2, as applicable, pursuant to this Agreement, in accordance
with Sections 6.5(b) and (c). If Buyer so requests, the Sellers shall be required to make any
payments or provide any other consideration in order to obtain any Governmental Approval
(provided that Buyer shall reimburse Sellers for any such payment made after the Closing);
provided, however, that without the consent of Buyer, the Sellers shall not be required to incur any
Liability, pay any money or provide any other consideration in order to obtain any such
Governmental Approval (other than any Liability or obligation to pay money or provide
consideration that has been expressly assumed by Buyer). If, as of the Closing, any Governmental
Approval, other than any Governmental Approval that is required or permitted to be made or
obtained after the Closing (and, if permitted, customarily made or obtained after the Closing)


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(each, an “Applicable Governmental Approval”), has not been obtained and, notwithstanding the
entry of the Confirmation Order, the failure to have obtained such Applicable Governmental
Approval restricts the Sellers’ ability to transfer any Acquired Interest to Buyer or Buyer 2, as
applicable, at Closing, then, notwithstanding anything to the contrary herein, (x) (A) without
limiting any of the rights of Buyer hereunder, including those set forth in Section 7.3, Buyer in its
sole discretion may elect for the Sellers not to sell, transfer, convey, assign or deliver such
Acquired Interests (which shall be treated as Delayed Assets, mutatis mutandis) and (B) from and
after the Closing, (i) the Sellers and Buyer shall reasonably cooperate in a reasonable arrangement
(to the extent legally permissible) to provide Buyer or Buyer 2, as applicable, with all of the
benefits of, or under, such Delayed Asset, including (at Buyer’s cost) enforcement for the benefit
of Buyer or Buyer 2, as applicable, of any and all rights of the Sellers against any party with respect
to such Delayed Asset arising out of the breach or cancellation with respect to such Delayed Asset
by such party; provided, that to the extent that any such arrangement has been made to provide
Buyer or Buyer 2, as applicable, with the benefits of, under or with respect to, a Delayed Asset,
from and after the Closing, Buyer shall be responsible for, and shall promptly pay and perform all
payment and other obligations under such Delayed Asset for the period during which Buyer or
Buyer 2, as applicable, is receiving the benefits under the applicable Delayed Asset to the same
extent as if such Delayed Asset had been assigned or transferred at the Closing, (ii) the Sellers and
Buyer shall reasonably cooperate with Buyer to obtain such Applicable Governmental Approval,
and (iii) subject to the immediately following proviso, the Sellers shall promptly after receipt of
the Applicable Governmental Approval with respect to such Delayed Asset, sell, transfer, convey,
assign and deliver such Delayed Asset to Buyer or Buyer 2, as applicable, and Buyer or Buyer 2,
as applicable, shall accept such conveyance; provided that, with respect to any such Delayed Asset
that is an Other Asset, Buyer in its sole discretion (subject to the immediately following proviso)
may elect for the Sellers not to sell, transfer, convey, assign or deliver such Delayed Asset to Buyer
after receipt of the Applicable Governmental Approval; provided however that Buyer shall so
request such sale, transfer, conveyance, assignment and deliverance promptly after receipt of the
Applicable Governmental Approval, unless (1) the retention of such Delayed Asset by the
applicable Seller would not result in such Seller retaining any incremental Liabilities as compared
to if such Seller had transferred such Delayed Asset to Buyer (unless Buyer provides an amount
in cash to the Sellers equal to the amount of such Liabilities and/or indemnification to the Sellers
for any such Liabilities) or (2) the Sellers and Buyer mutually agree not to make such sale, transfer,
conveyance, assignment and deliverance of such Delayed Asset; provided further that from and
after the date that is six (6) months after the Closing, Buyer shall have no obligation to make any
such request and may elect for the Sellers to retain such Delayed Asset, in which case such Delayed
Asset shall be an Excluded Asset for all purposes under this Agreement and the arrangements
described under clause (B)(i) shall terminate.

       2.5     Preferential Rights.

                (a)     The Sellers shall, within five (5) Business Days after the Execution Date (to
the extent not sent prior to the Execution Date), send to the holder of each Preferential Right with
respect to any Acquired Interest a notice setting forth the information required to satisfy such
notice provision for such Preferential Right and requesting a waiver thereof or as otherwise
sufficient to permit the assignment of such Acquired Interest to Buyer or Buyer 2, as applicable,
pursuant to this Agreement upon entry of the Confirmation Order free and clear of such
Preferential Right if such Preferential Right is not validly waived or exercised prior to Closing.


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The Sellers and Buyer shall agree in good faith on the holders to whom the notices in the preceding
sentence shall be sent. Upon request of Buyer, the Sellers shall promptly provide a reasonable
update to Buyer regarding requests for waivers of Preferential Rights made pursuant to this Section
2.5(a).

               (b)     If a bona fide Preferential Right with respect to any Acquired Interest is
validly exercised prior to the Closing, such Acquired Interest and the related Contracts (solely to
the extent related to such Acquired Interest) shall be excluded from the Acquired Interests
conveyed to Buyer or Buyer 2, as applicable, at the Closing, the affected Acquired Interest will be
deemed to be an Excluded Asset, and the Sellers shall pay over to Buyer all proceeds received for
the affected Acquired Interest and related Contracts (or portion thereof) from the Person exercising
such Preferential Right.

                (c)    If prior to Closing (i) any Acquired Interest is burdened by a Preferential
Right that has not been validly exercised or waived as of the Closing, regardless of whether the
time period for the exercise of such right has expired or (ii) any Person asserts that it is the
beneficiary of a Preferential Right with respect to any Acquired Interest and objects to the sale of
such Acquired Interest to Buyer pursuant to this Agreement and such objection is not resolved so
as to permit the sale and assignment of such Acquired Interest free and clear of such Preferential
Right (as applicable to the sale and assignment to Buyer or Buyer 2, as applicable, pursuant to this
Agreement) to Buyer or Buyer 2, as applicable (by Final Order of the Bankruptcy Court or
otherwise to Buyer’s reasonable satisfaction), then, without limiting any of the rights of Buyer
hereunder, including those set forth in Section 7.3, (A) at Buyer’s option, such Acquired Interest
shall be excluded from the Acquired Interests and treated as a Delayed Asset (mutatis mutandis),
and (B) from and after the Closing, if Buyer so elects, (i) the Sellers and Buyer shall reasonably
cooperate to provide a reasonable arrangement (to the extent legally permissible) to provide Buyer
or Buyer 2, as applicable, with all of the benefits of, or under, such Delayed Asset, including (at
Buyer’s cost) enforcement for the benefit of Buyer or Buyer 2, as applicable, of any and all rights
of the Sellers against any party with respect to such Delayed Asset arising out of the breach or
cancellation with respect to such Delayed Asset by such party; provided, that to the extent that any
such arrangement has been made to provide Buyer or Buyer 2, as applicable, with the benefits of,
under or with respect to, a Delayed Asset, from and after the Closing, Buyer shall be responsible
for, and shall promptly pay and perform all payment and other obligations under such Delayed
Asset for the period during which Buyer or Buyer 2, as applicable, is receiving the benefits under
the applicable Delayed Asset to the same extent as if such Delayed Asset had been assigned or
transferred at the Closing, (ii) the Sellers and Buyer shall reasonably cooperate with Buyer to
obtain the waiver of the Preferential Right with respect to such Delayed Asset, and (iii) if such
asserted Preferential Right is not validly exercised prior to its expiration or waiver, or if the dispute
regarding the Preferential Right affecting such Delayed Asset is resolved by Final Order of the
Bankruptcy Court or otherwise to Buyer’s reasonable satisfaction, such Delayed Asset, subject to
the immediately following proviso, shall be promptly conveyed to Buyer or Buyer 2, as applicable;
provided that, with respect to any such Delayed Asset that is an Other Asset, Buyer in its sole
discretion (subject to the immediately following proviso) may elect for the Sellers not to sell,
transfer, convey, assign or deliver such Delayed Asset to Buyer after the occurrence of the events
in the preceding clause (iii); provided that Buyer shall so elect, unless (x) the retention of such
Delayed Asset by the applicable Seller would not result in such Seller retaining any incremental
Liability as compared to if such Seller had transferred such Delayed Asset to Buyer (unless Buyer


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provides an amount in cash to the Sellers equal to the amount of such Liabilities and/or
indemnification to the Sellers for any such Liabilities) or (y) the Sellers and Buyer mutually agree
for Buyer not to so elect; provided further that from and after the date that is six (6) months after
the Closing, Buyer shall have no obligation to make any such election and may elect for the Sellers
to retain such Delayed Asset, in which case such Delayed Asset shall be an Excluded Asset for all
purposes under this Agreement and the arrangements described in clause (B)(i) shall terminate. If,
for any reason, such Preferential Right is validly exercised by the holder thereof after the Closing
and prior to an election by Buyer for the Sellers to retain such Delayed Asset pursuant to the second
proviso in the preceding sentence, the Sellers shall pay over to Buyer all proceeds paid for the
affected Acquired Interest by the holder of the relevant Preferential Right.

       2.6     [Reserved.]

        2.7     Withholding. Buyer and its Affiliates shall be entitled to deduct and withhold, from
any amounts payable under this Agreement, amounts required to be deducted and withheld under
the Code or any other applicable Law. To the extent any amount is so withheld and paid to the
appropriate Governmental Authority pursuant to applicable Law, such withheld amounts shall be
treated for all purposes of the Agreement as having been paid to the Person in respect of which
such deduction or withholding was made.

       2.8     Assets Sold “As Is, Where Is”.

          (a)   BUYER ACKNOWLEDGES AND AGREES THAT THE ACQUIRED
INTERESTS SOLD PURSUANT TO THIS AGREEMENT ARE SOLD, CONVEYED,
TRANSFERRED AND ASSIGNED ON AN “AS IS, WHERE IS” BASIS “WITH ALL
FAULTS” AND THAT, EXCEPT AS SET FORTH IN ARTICLE IV OF THIS AGREEMENT
AND THE CERTIFICATES DELIVERED BY THE SELLERS AT CLOSING (BUT SUBJECT
TO THE TERMINATION OF REPRESENTATIONS AND WARRANTIES AT CLOSING
PURSUANT TO SECTION 13.1), THE SELLERS MAKE NO REPRESENTATIONS OR
WARRANTIES, TERMS, CONDITIONS, UNDERSTANDINGS OR COLLATERAL
AGREEMENTS OF ANY NATURE OR KIND, EXPRESS OR IMPLIED, BY STATUTE OR
OTHERWISE, CONCERNING THE ACQUIRED INTERESTS OR THE CONDITION,
DESCRIPTION, QUALITY, USEFULNESS, QUANTITY OR ANY OTHER THING
AFFECTING OR RELATING TO THE ACQUIRED INTERESTS, INCLUDING WITHOUT
LIMITATION ANY IMPLIED WARRANTY OF MERCHANTABILITY OR FITNESS FOR A
PARTICULAR PURPOSE, WHICH WARRANTIES ARE ALSO HEREBY EXPRESSLY
DISCLAIMED. BUYER FURTHER ACKNOWLEDGES THAT THE SELLERS HAVE MADE
NO AGREEMENT OR PROMISE TO REPAIR OR IMPROVE ANY OF THE ACQUIRED
INTERESTS BEING SOLD TO BUYER, AND THAT BUYER TAKES ALL SUCH
ACQUIRED INTERESTS IN THE CONDITION EXISTING ON THE CLOSING DATE
(SUBJECT TO SATISFACTION OR WAIVER OF THE CONDITIONS SET FORTH IN
ARTICLE VII) “AS IS, WHERE IS” AND “WITH ALL FAULTS” AND WITHOUT
WARRANTY OF TITLE. NOTHING HEREIN SHALL LIMIT BUYER’S REMEDIES IN THE
EVENT OF FRAUD (AS DEFINED IN ANNEX I), EXCEPT THAT BUYER SHALL HAVE
NO REMEDY IN THE EVENT OF FRAUD WITH RESPECT TO FIELDWOOD ENERGY I,
FW GOM PIPELINE, GOM SHELF OR ANY OF THEIR RESPECTIVE SUBSIDIARIES.




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            (b) EXCEPT AS AND TO THE EXTENT EXPRESSLY SET FORTH IN
ARTICLE IV OF THIS AGREEMENT OR THE CERTIFICATES DELIVERED BY THE
SELLERS AT CLOSING (BUT SUBJECT TO THE TERMINATION OF REPRESENTATIONS
AND WARRANTIES AT CLOSING PURSUANT TO SECTION 13.1), AND WITHOUT
LIMITING THE GENERALITY OF SECTION 2.8(a), THE SELLERS EXPRESSLY
DISCLAIM ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED, AS TO (i) TITLE TO ANY OF THE ACQUIRED INTERESTS, (ii) THE
CONTENTS, CHARACTER OR NATURE OF ANY REPORT OF ANY PETROLEUM
ENGINEERING CONSULTANT, OR ANY ENGINEERING, GEOLOGICAL OR SEISMIC
DATA OR INTERPRETATION, RELATING TO THE ACQUIRED INTERESTS, (iii) THE
QUANTITY, QUALITY OR RECOVERABILITY OF HYDROCARBONS IN OR FROM THE
ACQUIRED INTERESTS, (iv) ANY ESTIMATES OF THE VALUE OF THE ACQUIRED
INTERESTS OR FUTURE REVENUES GENERATED BY THE ACQUIRED INTERESTS, (v)
THE PRODUCTION OF HYDROCARBONS FROM THE ACQUIRED INTERESTS, (vi) THE
CONDITION, QUALITY, SUITABILITY OR MARKETABILITY OF THE ACQUIRED
INTERESTS, INCLUDING THE MARKETABILITY OF ANY HYDROCARBONS, (vii) THE
AVAILABILITY OF GATHERING OR TRANSPORTATION FOR HYDROCARBONS FROM
THE ACQUIRED INTERESTS, (viii) THE CONTENT, CHARACTER OR NATURE OF ANY
INFORMATION MEMORANDUM, REPORTS, BROCHURES, CHARTS OR STATEMENTS
PREPARED BY OR ON BEHALF OF THE SELLERS OR THIRD PARTIES WITH RESPECT
TO THE ACQUIRED INTERESTS, AND (ix) ANY OTHER MATERIALS OR
INFORMATION THAT MAY HAVE BEEN MADE AVAILABLE TO BUYER OR ANY
AFFILIATE OF BUYER, OR ITS OR THEIR EMPLOYEES, AGENTS, CONSULTANTS,
REPRESENTATIVES OR ADVISORS IN CONNECTION WITH THE TRANSACTIONS
CONTEMPLATED BY THIS AGREEMENT OR ANY DISCUSSION OR PRESENTATION
RELATING THERETO. ANY AND ALL SUCH DATA, INFORMATION AND OTHER
MATERIALS FURNISHED BY OR ON BEHALF OF THE SELLERS IS PROVIDED TO
BUYER AS A CONVENIENCE, AND ANY RELIANCE ON OR USE OF THE SAME SHALL
BE AT BUYER’S SOLE RISK.

      2.9  Presence of Wastes, NORM, Hazardous Substances and Asbestos. BUYER
ACKNOWLEDGES THAT THE ACQUIRED INTERESTS HAVE BEEN USED TO EXPLORE
FOR, DEVELOP AND PRODUCE HYDROCARBONS, AND THAT SPILLS OF WASTES,
CRUDE OIL, PRODUCED WATER, HAZARDOUS SUBSTANCES AND OTHER
MATERIALS MAY HAVE OCCURRED THEREON OR THEREFROM. ADDITIONALLY,
THE ACQUIRED INTERESTS, INCLUDING PRODUCTION EQUIPMENT, MAY CONTAIN
ASBESTOS, HAZARDOUS SUBSTANCES OR NORM. NORM MAY AFFIX OR ATTACH
ITSELF TO THE INSIDE OF WELLS, MATERIALS AND EQUIPMENT AS SCALE OR IN
OTHER FORMS, AND NORM-CONTAINING MATERIAL MAY HAVE BEEN BURIED OR
OTHERWISE DISPOSED OF ON THE ACQUIRED INTERESTS. SPECIAL PROCEDURES
MAY BE REQUIRED FOR REMEDIATION, REMOVING, TRANSPORTING AND
DISPOSING OF ASBESTOS, NORM, HAZARDOUS SUBSTANCES AND OTHER
MATERIALS FROM THE ACQUIRED INTERESTS.




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                                            ARTICLE III
                                           DUE DILIGENCE

        3.1     Due Diligence.

                 (a)     From and after the date hereof until the Closing Date, the Sellers shall
(i) afford to Buyer and its Representatives (at Buyer’s cost) during normal business hours (A) upon
the reasonable request of Buyer, reasonable access to and entry upon any specified Field Asset
(subject to (1) execution of the Sellers’ customary boarding agreement, (2) the terms, conditions
and restrictions of agreements that are related to access to such Field Assets and to which any
Seller is a party and (3) the consent of any third party operator, as applicable), including execution
of agreements required by any third party with respect to access to such Field Assets for the
purposes of performing onsite tests, inspections, examinations, investigations, studies and
assessments of the Field Assets (including non-invasive environmental assessments of the Field
Assets and, subject to the consent of the Sellers (such consent not to be unreasonably withheld,
conditioned or delayed) invasive environmental assessments of the Field Assets; provided, that
prior to conducting any invasive environmental assessments, Buyer and Sellers will cooperate in
good faith to enter into a written agreement with respect to the parameters and scope of, allocation
of liability with respect to, and rights to information (including samples) arising from, such
assessments); and (B) at the offices of each of the Sellers, (1) reasonable access to the Sellers’ title
records, Leases, Easements, Contracts, environmental and legal materials, books, records,
statements and operating data, information relating to the Field Assets (including all land and title
records, surveys, abstracts of title, title insurance policies, title opinions, title curative and all lease,
contract, division order, marketing, acquisition, correspondence, operations, environmental,
insurance, production, accounting, regulatory, Property-Related Tax, Production Tax, Transfer
Tax and well records and files) and any other information or documents that are in the possession
or control of the Sellers and relate in any way to any Acquired Interests and (2) to the extent
permitted in accordance with applicable licensing agreements, the opportunity to review the Field
Data, and (ii) instruct the Sellers’ representatives to reasonably cooperate with Buyer and its
Representatives in their investigation of the Acquired Interests. Notwithstanding anything in this
Section 3.1(a) to the contrary, (x) all such information shall be held in confidence by Buyer in
accordance with the terms of Section 10.5, and (y) in no event shall the Sellers be obligated to
provide (A) access or information in violation of applicable Law, (B) any information the
disclosure of which would cause the loss of any legal privilege available to any Seller relating to
such information or would cause any Seller to breach a confidentiality obligation to which it is
bound; provided that the applicable Seller shall use commercially reasonable efforts to provide
such information and documents in a manner that does not violate such Law or result in such loss
of privilege or breach of obligation, or (C) copies of bids, letters of intent, expressions of interest
or other proposals received from other Persons in connection with the transactions contemplated
by this Agreement or information and analyses relating to such communications. For the
avoidance of doubt, Buyer and its Representatives shall not be permitted to conduct any invasive
environmental investigations without the Sellers’ express written consent, which may be withheld
by the Sellers in their sole discretion.

               (b)    No investigation by Buyer or other information received by Buyer shall
operate as a waiver or otherwise affect any representation, warranty or agreement given or made
by any Seller hereunder.


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                                      ARTICLE IV
                               SELLERS’ REPRESENTATIONS

      Each Seller represents and warrants to Buyer and Buyer 2, subject to the Disclosure
Schedules (subject to Section 12.15), as follows:

        4.1     Organization/Qualification. Each Seller is an entity duly formed, validly existing
and in good standing under the Laws of the jurisdiction of its organization. Each Seller is qualified
to do business and is in good standing under the Laws of each jurisdiction where such qualification
is necessary, except for those jurisdictions where failure to be so qualified would not, individually
or in the aggregate, prevent, materially delay or materially impede the performance by such Seller
of its obligations under this Agreement or its consummation of the transactions contemplated by
this Agreement. Each Seller has all requisite power and authority required to own and operate its
properties (including the Acquired Interests) and to carry on its business as now conducted.

        4.2    Power and Authority. Subject to entry of the Confirmation Order and such other
authorization as may be required by the Bankruptcy Court, each Seller has the requisite power and
authority to execute and deliver this Agreement and the other Ancillary Documents to which it is
(or, upon its execution and delivery, will be) a party and perform its obligations under this
Agreement and such other Ancillary Documents.

         4.3    Non-Contravention. Each Seller’s execution, delivery and performance of this
Agreement and each Ancillary Document to which such Seller is (or, upon its execution and
delivery, will be) a party and each Seller’s performance of the transactions contemplated herein
and therein will not (a) conflict with or result in a breach of any provisions of the organizational
documents of such Seller, Fieldwood U.A. or, to the Sellers’ Knowledge, the Mexico JV or
(b) subject to (w) the entry of the Disclosure Statement Order and the Confirmation Order,
(x) obtaining or making the Applicable Consents set forth on Schedule 4.8(b) in accordance with
Section 2.3, (y) obtaining or making the Governmental Approvals set forth on Schedule 4.7 and
(z) obtaining waivers for the Preferential Rights set forth on Schedule 4.8(a) (in the case of each
of the preceding clauses (x) and (z), after giving effect to the Confirmation Order), result in (i) a
breach of or default under, or give rise to any right of termination, revocation, cancellation or
acceleration under, any Permit, Lease, Subject Unit Agreement, Easement, Assigned Contract,
credit agreement (excluding the Credit Agreement), note, bond, mortgage, indenture, license or
other agreement, document or instrument to which any Seller is a party or by which any Seller or
any of the Acquired Interests may be bound, or otherwise result in a loss of any benefit relating to
the Acquired Interests, (ii) the creation or imposition of any Encumbrance upon any Acquired
Interest other than Permitted Encumbrances (except that the Fieldwood U.A. Interests and the JV
Interests shall not be subject to any Permitted Encumbrances), or (iii) violate any applicable Law,
except, in the case of the preceding clauses (i) and (ii), as would not reasonably be expected to
result, individually or in the aggregate, in a Material Adverse Effect.

       4.4    Authorization and Enforceability. Subject to entry of the Disclosure Statement
Order and the Confirmation Order, each Seller has full capacity, power and authority to enter into
and perform this Agreement, each Ancillary Document to which such Seller is (or, upon its
execution and delivery, will be) a party and the transactions contemplated herein and therein. The
execution, delivery and performance by each Seller of this Agreement and each Ancillary



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Document to which such Seller is (or, upon its execution and delivery, will be) a party have been
duly and validly authorized and approved by all necessary company action on the part of such
Seller. Subject to entry of the Disclosure Statement Order and the Confirmation Order, this
Agreement and each Ancillary Document to which each Seller is (or, upon its execution and
delivery, will be) a party are, or upon their execution and delivery will be, the valid and binding
obligations of such Seller and enforceable against such Seller in accordance with their respective
terms, subject to the effects of bankruptcy, insolvency, reorganization, moratorium and similar
Laws as well as to principles of equity (regardless of whether such enforceability is considered in
a proceeding in equity or at law).

       4.5    Liability for Brokers’ Fees. Other than Houlihan Lokey Capital, Inc., there is no
investment banker, broker, finder or other intermediary which has been retained by or is authorized
to act on behalf of any Seller who might be entitled to any fee, commission or expenses in
connection with the transactions contemplated by this Agreement or any of the Ancillary
Documents.

        4.6    Litigation. Other than the Bankruptcy Cases or as specified on Schedule 4.6, no
Claim (or any basis thereof) by any Governmental Authority or other Person (including
expropriation or forfeiture proceedings) nor any legal, administrative or arbitration proceeding (or
any basis thereof) is pending or, to the Sellers’ Knowledge, threatened against any Acquired
Interest or against any Seller relating to any Acquired Interest which, individually or in the
aggregate, if determined or resolved adversely in accordance with the plaintiff’s demands, (x) to
the extent the representation is to the existence of any basis of any Claim or any legal,
administrative or arbitration proceeding, would reasonably be expected to result, individually or
in the aggregate, in a Material Adverse Effect and (y) otherwise, would reasonably be expected to
be material to the Acquired Interests, individually or taken as a whole, or which in any manner
challenges or seeks to prevent, enjoin, alter or materially delay the transactions contemplated by
this Agreement.

        4.7      Governmental Approvals. Except as set forth on Schedule 4.7, no Governmental
Approval (other than the Disclosure Statement Order and the Confirmation Order) is required to
authorize, or is otherwise required in connection with, (a) any Seller’s valid execution and delivery
by such Seller of this Agreement or any Ancillary Document to which such Seller is (or, upon its
execution and delivery, will be) a party, (b) any Seller’s performance of its obligations hereunder
or thereunder or (c) the consummation of the transactions contemplated by this Agreement or any
of the Ancillary Documents.

       4.8     Preferential Rights; Applicable Consents.

                (a)     Except as set forth on Schedule 4.8(a), none of the Acquired Interests is
subject to a Preferential Right.

               (b)    Except as set forth on Schedule 4.8(b), none of the Acquired Interests is
subject to an Applicable Consent.

The inclusion of any Acquired Interest on Schedule 4.8 shall not be construed as an admission by
Buyer or Sellers that any preferential purchase right or similar right or Consent in any agreement



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relating to such Acquired Interest (or any express exception thereto contained in such agreement)
is (or is not) applicable to the transactions contemplated hereby.

         4.9     Taxes. Except as would not result, individually or in the aggregate, in a Material
Adverse Effect and except as otherwise set forth on Schedule 4.9, (a) all Tax Returns required to
be filed with respect to the Acquired Interests or any Hydrocarbon production therefrom (including
Property-Related Taxes and Production Taxes) or by Fieldwood U.A. have been timely filed, and
all such Tax Returns are true, complete and correct; (b) the Sellers have adequately accrued in
accordance with GAAP, established adequate reserves for the payment of, and will timely pay, all
Taxes which arise from or with respect to the Acquired Interests or any Hydrocarbon production
therefrom or allocable thereto incurred in or attributable to all Pre-Closing Tax Periods (other than
Taxes described in the preceding clause (a)); (c) all Taxes due and owing by the Sellers with
respect to the Acquired Interests or any Hydrocarbon production therefrom (including with respect
to Property-Related Taxes and Production Taxes) or by Fieldwood U.A. (whether or not shown on
any Tax Return) have been paid, and no extension of time within which to file any such Tax Return
is in effect; (d) there are no Encumbrances on any Acquired Interest; (e) no audits, investigations,
examinations, audits, litigation, Claims or other proceedings are pending, or to the Sellers’
Knowledge threatened in writing, against any Seller relating to the payment of Taxes (including
Property-Related Taxes and Production Taxes) with respect to any Acquired Interests or with
respect to Taxes for which Fieldwood U.A. may be liable; (f) there are no currently proposed or
pending adjustments by any Governmental Authority in connection with any Tax Returns of any
Seller pertaining to the Acquired Interests or of Fieldwood U.A.; (g) no waiver or extension of any
statute of limitations has been granted or requested as to any Tax matter relating to any Acquired
Interests or with respect to any Taxes for which Fieldwood U.A. may be liable, in each case, that
is still in effect; (h) Fieldwood U.A. will not be required to include any item of income in, or
exclude any item of deduction from, taxable income in any taxable period (or portion thereof) after
Closing, as a result of any change in method of accounting, closing agreement, installment sale or
receipt of any prepaid amount outside of the ordinary course of business, in each case, made or
entered into prior to Closing; (i) no Governmental Authority responsible for the administration or
imposition of Taxes in any jurisdiction in which a Seller or any of its Affiliates (in respect of the
Acquired Interests) or Fieldwood U.A. has not filed a Tax Return has asserted in writing that such
Seller, any of its Affiliates, or Fieldwood U.A., as the case may be, is subject to Tax or required to
file a Tax Return in that jurisdiction; (j) Fieldwood U.A. has withheld and paid all Taxes required
to have been withheld and paid in connection with amounts paid or owing to any employee,
independent contractor, creditor, customer, shareholder or other third party; (k) Fieldwood U.A.
has not been a member of any Company Group; (l) none of the Sellers or Fieldwood U.A. has
engaged in a “listed transaction” within the meaning of Treasury Regulations Section 1.6011-
4(b); (m) the Acquired Interests are not subject to, for federal income tax purposes, a partnership
between any Seller and any other Person for which a partnership income tax return is required to
be filed under Subchapter K of Chapter 1 of Subtitle A of the Code (other than a partnership for
which an election to be excluded from such provisions is in effect pursuant to the provisions of
Section 761 of the Code and the regulations thereunder); (n) Fieldwood U.A. is not, and does not
own (directly or indirectly) stock or a warrant in, a corporation that is (or was at any time during
the course of such ownership) a passive foreign investment company, as defined in Section 1297
of the Code; (o) Fieldwood U.A. is not a party to or bound by any Tax Sharing Agreement; and
(p) Schedule 4.9(p) lists (A) the entity classification of Fieldwood U.A., Fieldwood Mexico and
any Subsidiary thereof for U.S. federal income Tax purposes, as of the date hereof and as of the


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Closing Date, and (B) each entity classification election and change in entity classification that has
been made under Treasury Regulations Section 301.7701-3 with respect to Fieldwood U.A.,
Fieldwood Mexico and any Subsidiary thereof for U.S. federal income Tax purposes.

         4.10 Well Status. Except as set forth on Exhibit C, (a) the Sellers are the operators of
that portion of the Lease(s) covering all Scheduled Wells; (b) all Wells that are not currently
producing Hydrocarbons in paying quantities have been plugged, abandoned and decommissioned,
and all related salvage, site clearance and surface restoration and decommissioning operations have
been completed, in accordance with all applicable Laws in all material respects; (c) no Scheduled
Well has been permanently, or is currently temporarily, plugged and abandoned; and (d) there is
no Well in respect of which any Seller or any of its Affiliates has received an order from any
Governmental Authority requiring that such Well be plugged and abandoned (or re-plugged), other
than a Well for which such plugging and abandonment (or re-plugging) requirements have been
completely satisfied. All Wells that have not been plugged, abandoned and decommissioned are
listed on Exhibit C.

         4.11 Compliance with Laws; Permits. Except as would not reasonably be expected to
result, individually or in the aggregate, in a Material Adverse Effect, (a) each Seller, and to the
Sellers’ Knowledge each Third Person operator of any Lease (or portion thereof), Subject Unit or
Easement, is in compliance, and since January 1, 2018 has at all times complied, with all applicable
Laws and all Permits necessary or required in each case in connection with the ownership and,
with respect to each Acquired Interest operated by a Seller, operation of the Acquired Interests,
including the Leases, Subject Units, Easements and Wells and the production, marketing and
disposition of Hydrocarbons therefrom; and (b) with respect to each Acquired Interest, the Sellers
and, to the Sellers’ Knowledge, each Third Person operator of such Acquired Interest, if applicable,
has all Permits necessary or required in connection with the ownership and operation of such
Acquired Interest, and all such Permits are in full force and effect. Since January 1, 2018, no Seller
has received written notice from any Governmental Authority that any applicable Law or Permit
has been violated or not complied with by any Seller. With respect to Suspense Funds, each Seller
is in compliance with applicable Laws in all material respects. Except as would not reasonably be
expected to result, individually or in the aggregate, in a Material Adverse Effect, Fieldwood U.A.
and the Mexico JV are in compliance with applicable Laws. Other than the Bankruptcy Cases,
there is no judgment, decree, injunction, rule or order of any arbitrator or Governmental Authority
outstanding against any Seller, Fieldwood U.A. or the Mexico JV that has had or would reasonably
be expected to have, individually or in the aggregate, a Material Adverse Effect. All Permits held
by the Sellers that relate to the Assets are valid and in full force and effect and no Seller is in
default under or in violation of any such Permit, except as would not reasonably be expected to
result, individually or in the aggregate, in a Material Adverse Effect.

        4.12 Environmental Matters. Except as could not reasonably be expected to result,
individually or in the aggregate, in a Material Adverse Effect or as set forth on Schedule 4.12, (a)
each Seller, and to the Sellers’ Knowledge each Third Person operator of any Acquired Interest, if
applicable, has all Permits required under Environmental Laws in connection with the ownership
and operation of the Acquired Interests, including the Field Assets, the production, marketing and
disposition of Hydrocarbons therefrom and the ownership and use of the Office Assets and all such
Permits are in full force and effect; (b) no Seller has received, and to the Sellers’ Knowledge no
Third Person operator has received, any written notice of violation, assessment or incident of non-


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compliance or other communication that alleges any actual or potential non-compliance with or
Liability under any Environmental Law or Permit required under Environmental Laws in
connection with ownership or operations of the Acquired Interests, including the Field Assets and
Office Assets; (c) no investigation, proceedings or other Claims resulting from any Environmental
Law or Permit required under Environmental Laws is pending, or to the Sellers’ Knowledge
threatened in writing, against any Asset, (d) the Assets are in compliance in all respects with all
applicable Environmental Laws, and (e) there has been no Release under or from any Asset or, to
the Sellers’ Knowledge, at any asset or property formerly owned, leased or operated by, or
otherwise arising from the operations of any Seller or any of its Affiliates or predecessors, in
violation of, or in a manner reasonably expected to give rise to Liability under, Environmental
Laws or any Permit required under Environmental Laws. The Sellers have made available to
Buyer, in written or electronic format, all environmental site assessments, studies and analyses in
the possession or control of any Seller addressing potentially material Losses, Claims or
obligations pertaining to Environmental Contaminants or Environmental Law in relation to the
Acquired Interests.

         4.13 Payments. Except (x) as set forth on Schedule 4.13 and (y) for the Suspense Funds
listed on Schedule 4.20, each Seller has timely (a) paid all Lease Burdens due in respect of
Hydrocarbons produced from or allocable to any Acquired Interests payable by the Sellers, (b)
reported to applicable Governmental Authorities, to the extent required by applicable Law,
Hydrocarbons produced from or allocable to any Lease, Subject Unit or Well required to be
reported by the Sellers, and (c) paid all amounts owing by such Seller under any Easement or with
respect to any Office Asset, except, in the case of this clause (c), as would not be reasonably
expected to result, individually or in the aggregate, in a Material Adverse Effect. No Seller has
received written notice of any Claim that has not been resolved claiming that such Seller’s
disbursement of Lease Burdens or reporting of Hydrocarbon production with respect to the
Acquired Interests is inaccurate, other than Claims relating to disbursements or reporting that are
not, in the aggregate, material to the Acquired Interests taken as a whole.

       4.14    Material Contracts.

               (a)     Prior to the Execution Date, the Sellers made available to Buyer accurate
and complete copies of all Material Contracts. Except as set forth on Schedule 4.14, no Seller has
delegated or otherwise transferred to any third party any of its material rights or obligations with
respect to any Assigned Contract. Except as set forth on Schedule 4.14, no Seller is a party to or
bound by any of the following Contracts (other than any Contract that is an Excluded Asset or
Retained Liability) (each, a “Material Contract”):

                       (i)    any Contract (excluding any purchase orders entered into in the
       ordinary course of business) relating to or used in connection with any Acquired Interest
       that could reasonably be expected to provide for either (A) annual payments by, or revenues
       to, the Sellers of $5,000,000 or more or (B) aggregate payments by, or revenues to, the
       Sellers of $10,000,000 or more;

                       (ii)   any Subject Unit Agreement;




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                   (iii) any Hydrocarbon purchase and sale, exchange, marketing,
   compression, fractionation, drilling, completion, gathering, transportation, processing,
   production handling, refining, treatment, storage, handling, chemicals, construction or
   similar Contract, in each case, that is not terminable by the Sellers without penalty on thirty
   (30) days’ or less notice;

                 (iv)    any Contract to acquire, sell, lease, develop or otherwise dispose of
   or encumber any interest in any of the Acquired Interests after the Closing Date (other than
   sales of Hydrocarbons in the ordinary course of business);

                  (v)    any Contract with any individual person acting as an independent
   contractor or consultant which includes payment for services to such person in excess of
   $500,000 annually;

                    (vi)    any Contract relating to or used in connection with any Acquired
   Interests that limits the freedom of any Seller to engage in any line of business or in any
   area or to compete with any Person or which would so limit the freedom of Buyer or any
   of its Affiliates after the Closing Date, including any noncompetition agreement, area of
   mutual interest or other agreement;

                   (vii) any Contract providing for any call upon, option to purchase, or
   similar rights with respect to the Acquired Interests or to the production therefrom or the
   processing thereof, or that is a dedication of production;

                   (viii) any Contract relating to or used in connection with any Acquired
   Interest that constitutes an operating agreement, exploration agreement, joint development
   agreement, farmin agreement, plugging and abandonment agreement, balancing
   agreement, platform use agreement, farmout agreement, partnership agreement,
   participation agreement, joint venture agreement, or similar Contract;

                   (ix)   any Contract relating to or used in connection with any Acquired
   Interest involving any resolution or settlement or any actual or threatened Claim which
   imposes material continuing obligations on any Seller will not have been fully performed
   prior to the Closing Date;

                    (x)     any Contract relating to or used in connection with any Acquired
   Interest that requires the posting of a security deposit, letter of credit, performance bond or
   surety;

                  (xi)   any Contract relating to or used in connection with any Acquired
   Interest that is a seismic, engineering, geological or other geophysical acquisition
   agreement or license;

                   (xii) any Contract pursuant to which a Seller (A) grants to a third party
   any license, right to use or covenant not to sue under any Owned Intellectual Property or
   (B) is granted by a third party any license, right to use or covenant not to sue under any
   Intellectual Property (excluding from clause (B), (x) licenses for commercial off-the-shelf
   software that are generally available on non-discriminatory pricing terms which have an


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       aggregate annual cost of $50,000 or less and (y) the licenses and agreements listed on
       Exhibit F);

                     (xiii) any lease or sublease for any personal property included in the
       Acquired Interests providing for annual rentals of $250,000 or more;

                       (xiv)   any lease or sublease of real property; and

                       (xv) any Contract by which any Seller is obligated by virtue of a take or
       pay payment, advance payment, production payment or other similar payment or
       commitment, to deliver Hydrocarbons, or proceeds from the sale thereof, attributable to the
       Sellers’ aggregate interest in the Assets at some future time without receiving payment
       therefor at or after the time of delivery.

                (b)    Each Material Contract is in full force and effect and a valid and binding
obligation of the Seller(s) party thereto and, to the Sellers’ Knowledge, the other parties thereto,
in accordance with its terms and conditions, except as such validity and enforceability may be
limited by (i) bankruptcy, insolvency, or other similar Laws affecting the enforcement of creditors’
rights generally, (ii) equitable principles of general applicability (whether considered in a
proceeding at law or in equity), and (iii) the obligation to pay Cure Costs. No event has occurred
which, with the passage of time or the giving of notice, or both, would constitute a default under
or a violation of any Material Contract or would cause the acceleration of any right or obligation
of any Seller or, to the Sellers’ Knowledge, any other party thereto or the creation of an
Encumbrance upon any Acquired Interest, except for such events that would not reasonably be
expected to have, individually or in the aggregate, a Material Adverse Effect. No Seller nor, to
the Sellers’ Knowledge, any other party to any Material Contract has given written notice of any
action to terminate, cancel, rescind, repudiate or procure a judicial reformation of any such
Material Contract or any provision thereof.

                (c)      Prior to the Execution Date, the Sellers made available to Buyer accurate
and complete copies of all Leases and Easements. Except as set forth on Schedule 4.14(c), no
Seller is a party to or bound by any Lease or Easement (other than any Lease or Easement that is
an Excluded Asset or Retained Liability).

        4.15 Imbalances; Prepayments. Except as set forth on Schedule 4.15, as of the
Execution Date, (x) no Seller has a Claim constituting an Acquired Interest and (y) no Seller is
subject to any Liability constituting an Assumed Liability, with respect to any Imbalance.

       4.16 AFEs; Cash Calls. Except as set forth on Schedule 4.16(a), no authorities for
expenditure or other commitments to make capital expenditures relating to any Acquired Interest
for which the Sellers’ liability is in excess of $200,000 is outstanding. Except as set forth on
Schedule 4.16(b), no cash calls or payments due from any Seller under the terms of the Assigned
Contracts or otherwise relating to the Acquired Interests are past due by more than thirty (30) days
(excluding amounts being disputed in good faith).




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       4.17    Labor and Employment Matters.

               (a)      The Sellers have provided Buyer’s legal and financial advisors, on a
confidential basis and for professional eyes only, with a true and complete list of the following
information for all employees of the Sellers and of each of their Affiliates (such employees from
time to time, and whether or not listed, the “Seller Employees”), including name, title, hire date,
location, whether full- or part-time, whether active or on leave (and, if on leave, the nature of the
leave and the expected return date), whether exempt from the Fair Labor Standards Act of 1938,
annual salary or wage rate, most recent annual bonus received, and current annual bonus
opportunity (such list, the “Employee List”), which list may not be shared with any debt or equity
holders of Buyer. In addition, the Sellers have provided Buyer with the Employee List, but
excluding each Seller Employee’s name and title, which can be shared with Buyer’s debt and
equity holders, the DIP Lenders (as such term is defined in the Plan) and the FLTL Lenders (as
such term is defined in the Plan).

               (b)    The Sellers and each of their Affiliates are, and for the last three (3) years,
have been, in compliance in all material respects with applicable Laws relating to labor and
employment, including those relating to worker classification, labor management relations, wages
and hours (including classification of independent contractors and exempt and non-exempt
employees), overtime, collective bargaining, unemployment, workers’ compensation, equal
employment opportunity, discrimination, civil rights, affirmative action, work authorization,
immigration, safety and health, continuation coverage under group health plans, information
privacy and security and payment of withholding of taxes and social security.

                (c)    For the last three (3) years, (i), no allegations of sexual harassment or other
sexual misconduct have been made against any current or former employee or independent
contractor of the Sellers or any of their Affiliates who has three or more direct reports, (ii) there
are and have been no actions pending or, to the Sellers’ Knowledge, threatened in writing related
to any allegations of sexual harassment or other sexual misconduct by any current or former
employee or independent contractor of the Sellers or any of their Affiliates who has three or more
direct reports, and (iii) neither the Sellers nor any of their Affiliates have entered into any
settlement agreements related to allegations of sexual harassment or other sexual misconduct by
any current or former employee or independent contractor of the Sellers or any of their Affiliates.

                (d)     There are no collective bargaining agreements to which any Seller or any
Affiliate of any Seller is a party relating to any Seller Employee and, to the Sellers’ Knowledge,
threatened. No application for certification of a collective bargaining agent involving any Seller
and any Seller Employee is pending. With respect to the Seller Employees, there are no (i) strikes,
slowdowns, picketing or work stoppage by any Seller Employee pending or, to the Sellers’
Knowledge, threatened or (ii) except as would not reasonably be expected to result in a material
Liability, unfair labor practice charges or other employment or labor complaints pending or, to the
Sellers’ Knowledge, threatened in writing against any Seller or any of their Affiliates before the
National Labor Relations Board or any other Governmental Authority or any current union
representation questions involving any current or former employees or independent contractors of
any Seller or any of their Affiliates.




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       4.18    Employee Benefits.

                (a)     Schedule 4.18 sets forth a true and complete list of each material (i)
deferred compensation plan, (ii) incentive compensation plan, (iii) equity compensation plan, (iv)
“welfare” plan, fund or program (within the meaning of Section 3(1) of ERISA), (v) “pension”
plan, fund or program (within the meaning of Section 3(2) of ERISA), (vi) “employee benefit
plan” (within the meaning of Section 3(3) of ERISA), (vii) employment (other than offer letters
entered into in the ordinary course of business that do not provide for severance, transaction or
retention bonuses or any guaranteed payments), termination, severance or “change in control”
agreement and (viii) other employee benefit plan, fund, program, agreement or arrangement, in
each case, that is sponsored, maintained or contributed to or required to be contributed to by any
Seller or by any trade or business, whether or not incorporated, that together with any Seller would
be deemed a “single employer” within the meaning of Section 4001(b) of ERISA (an “ERISA
Affiliate”), or to which any Seller or any ERISA Affiliate is party, for the benefit of any Seller
Employee (each an “Employee Plan”). Each Employee Plan that Buyer or one of its Affiliates
shall assume as of the Closing will be so noted on Schedule 4.18 (each an “Assumed Employee
Plan”).

                (b)    None of the Sellers nor any of their Affiliates or ERISA Affiliates (nor any
predecessor of any such entity) sponsors, maintains, administers or contributes to (or has any
obligation to contribute to), or has in the past six (6) years sponsored, maintained, administered or
contributed to (or had any obligation to contribute to), or has or is reasonably expected to have any
direct or indirect Liability with respect to, any plan subject to Title IV of ERISA, including any
“multiemployer plan” (as defined in Section 3(37) of ERISA or any plan described in Section 413
of the Code). No Assumed Employee Plan is a multiple employer welfare arrangement (within
the meaning of Section 3(40) of ERISA).

               (c)    Each Assumed Employee Plan that is intended to be qualified under
Section 401(a) of the Code has received a favorable determination letter or opinion, is entitled to
rely on an opinion letter from the IRS or has applied to the IRS for such a letter within the
applicable remedial amendment period or such period has not expired and, to the Sellers’
Knowledge, no circumstances exist that would reasonably be expected to result in the loss of such
qualification.

                (d)    No Assumed Employee Plan provides for any post-employment or post-
retirement medical, dental, disability, hospitalization, life or similar benefits (whether insured or
self-insured) to any current or former employee of the Sellers (other than coverage mandated by
applicable Law, including COBRA).

                (e)     Each Employee Plan has been maintained, funded and administered in
compliance with its terms and all applicable Law, including ERISA and the Code, except where
the failure to be so operated would not reasonably be expected to result in a material Liability.
There is no action, suit, investigation, audit, proceeding or claim (other than routine claims for
benefits) pending against or, to the Sellers’ Knowledge, threatened against or involving any
Employee Plan before any court or arbitrator or any Governmental Authority, including the IRS,
the Department of Labor or the Pension Benefit Guaranty Corporation, that would reasonably be
expected to result in a material Liability.



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               (f)     Neither the execution of this Agreement nor the consummation of the
transactions contemplated hereby (either alone or together with any other event) will (i) entitle any
current or former employee or independent contractor to any material payment or benefit,
including any bonus, retention, severance, retirement or job security payment or benefit, (ii)
accelerate the time of payment or vesting or trigger any payment or funding (through a grantor
trust or otherwise) of compensation or benefits under, or increase the amount payable or trigger
any other obligation under, any Employee Plan with respect to any current or former employee or
independent contractor or (iii) result in the payment of any amount that would subject any current
or former employee or independent contractor to excise taxes under Section 4999 of the Code.

        4.19 Non-Consent Operations. Except as set forth on Schedule 4.19, no operations are
being conducted or have been conducted on any Field Assets with respect to which any Seller has
elected, or been deemed, to be a non-consenting party under the applicable operating agreement
and with respect to which all of such Seller’s rights have not yet reverted to it.

        4.20 Suspense Funds. Schedule 4.20 sets forth the amount of all Suspense Funds as of
the date set forth therein.

        4.21 Payout Balances. To the Sellers’ Knowledge, Schedule 4.21 contains a list of the
estimated status of any “payout” balance (on a gross Working Interest basis for all Working
Interest owners affected thereby), as of the date set forth on such Schedule, for each Well, Lease
or Subject Unit that is subject to a reversion or other adjustment at some level of cost recovery or
payout.

       4.22    Title to Acquired Interests.

                (a)     The Sellers: (i) with respect to each Lease listed on Exhibit A, hold
pursuant to such Lease a valid interest in all or a portion of the oil and gas interests leased pursuant
to such Lease, (ii) with respect to each Easement listed on Exhibit B, have a valid easement or
other limited property interest in such Easement and (iii) with respect to each Well listed on
Exhibit C, hold pursuant to one or more of the Leases a valid interest in all or a portion of the oil
and gas produced from such Well, in each case, free and clear of any Encumbrances (other than
(x) Permitted Encumbrances and (y) as would not be material to such Acquired Interest). For the
avoidance of doubt, the Sellers do not make any representations or warranties pursuant to the
preceding sentence with respect to holding any specific net revenue interest or working interest in
any of the Wells or Leases. Except for the Encumbrances described on Schedule 4.22, the Sellers
have good and valid title to all Acquired Interests other than the Wells, Leases, Easements and
Subject Units, and are the record and beneficial owners of the Fieldwood U.A. Interests and the
JV Interests, in each case free and clear of any Encumbrances and any other limitation or restriction
(including any restriction on the right to vote, sell or otherwise dispose of the Fieldwood U.A.
Interests or the JV Interests), other than Permitted Encumbrances (except that the Fieldwood U.A.
Interests and the JV Interests shall not be subject to any Permitted Encumbrances), in each case
except as would not be material to such Acquired Interest.

                (b)    No Affiliate of Fieldwood that is not a Seller owns any asset, property or
right that is an Acquired Interest or would have been an Acquired Interest if such Affiliate had
been a Seller hereunder.



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                (c)    The Acquired Interests constitute all of the property and assets used or held
for use in the business of the Sellers as it relates to the ownership and operation of the Leases and
are adequate to conduct the business of the Sellers as it relates to the ownership and operation of
the Leases as currently conducted.

              (d)     Except as set forth on Schedule 4.22(d), no Seller or any of its Affiliates
owns any real property.

        4.23 Insurance. Schedule 4.23 sets forth a true and complete list of all policies of
insurance held by or maintained by the Sellers or any of their Affiliates related to any Acquired
Interests or the Seller Employees, including the type of policy, the limits of the coverage and any
deductible or self-retention limit with respect thereto. Such policies of insurance are in full force
and effect. Except as set forth on Schedule 4.23, no Seller has received, since January 1, 2020,
any written notice from any insurer under any insurance policy applicable to the Acquired Interests
or the Seller Employees disclaiming or limiting coverage with respect to any particular material
claim or such policy in general or canceling or amending any such policy. All premiums payable
under all such insurance policies have been timely paid and each Seller has otherwise complied in
all material respects with the terms and conditions of all such insurance policies. To the
Knowledge of the Sellers, no termination of, material non-ordinary course premium increase with
respect to, or material alteration of coverage under, any of such policies or bonds has been
threatened.

        4.24 Related Party Transactions. Except as set forth on Schedule 4.24, (a) there are no
Assigned Contracts by and between any Seller and (i) any Affiliates of, or holder of five percent
(5%) or more of the equity of, any Seller, (ii) any director or officer of any Seller or of any Person
referenced in clause (i), or (iii) any “associate” or “immediate family” member (as such terms are
respectively defined in Rule 12b-2 and Rule 16a-1 of the Securities Exchange Act of 1934) of any
Person referenced in clause (i) or (ii) (the Persons referenced in clauses (i), (ii) and (iii)
collectively, the “Seller Related Parties”) and (b) no Seller has otherwise entered into any
transactions or other arrangements with any Seller Related Parties that will be binding on Buyer
or the Acquired Interests after the Closing Date.

       4.25    Intellectual Property.

                (a)    Schedule 4.25(a) contains a true and complete list of each of the issuances,
registrations and applications for issuance or registration included in the Owned Intellectual
Property, specifying as to each such item, as applicable, (i) the owner of such item, (ii) each
jurisdiction in which such item is issued or registered or in which any application for issuance or
registration has been filed, (iii) the respective issuance, registration and/or application number of
such item and (iv) the date of application and issuance or registration of such item.

                 (b)    The Sellers are the sole and exclusive owners of all Owned Intellectual
Property, in each case free and clear of any Encumbrance (except Permitted Encumbrances). The
Sellers own or have a valid and enforceable license or other right to use all Transferred Intellectual
Property, and the Transferred Intellectual Property is all of the Intellectual Property (except
Trademarks) necessary for the conduct of, or used or held for use in, the business of the Sellers as
it relates to the Acquired Interests as currently conducted.



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                (c)    There exist no restrictions on the Sellers’ disclosure, use, license or transfer
of the Owned Intellectual Property, and the consummation of the transactions contemplated by
this Agreement will not alter, encumber, impair or extinguish any Owned Intellectual Property or
the Sellers’ rights under any material Licensed Intellectual Property or impair the right of the
Sellers to develop, use, sell, license or otherwise dispose of, or to bring any action for the
infringement, misappropriation or other violation of, any Owned Intellectual Property.

                (d)    The Sellers have not infringed, misappropriated or otherwise violated any
Intellectual Property of any Person. There is no Claim pending or threatened in writing, in each
case, against any Seller (i) challenging or seeking to deny or restrict, the rights of any Seller in any
of the Transferred Intellectual Property, (ii) alleging that any Transferred Intellectual Property is
invalid or unenforceable, (iii) alleging that the use of any of the Transferred Intellectual Property
or any services provided, processes used or products manufactured, used, imported or sold by any
Seller, misappropriate, infringe or otherwise violate any Intellectual Property of any Person or (iv)
otherwise alleging that any Seller has infringed, misappropriated or otherwise violated any
Intellectual Property of any Person.

                 (e)     The Sellers have taken commercially reasonable steps to maintain, enforce
and protect the Owned Intellectual Property. None of the issuances or registrations included in the
Owned Intellectual Property has been adjudged invalid or unenforceable in whole or part, all
issuances and registrations included in the Owned Intellectual Property are valid, enforceable, in
full force and effect and subsisting, and all registration, maintenance and renewal fees applicable
to such issuances and registrations that are currently due have been paid and all documents and
certificates related to such items and required to be filed with the relevant Governmental Authority
for the purposes of maintaining such items have been filed with the relevant Governmental
Authority.

               (f)     To the Sellers’ Knowledge, no Person has infringed, misappropriated or
otherwise violated any material Owned Intellectual Property. The Sellers have taken commercially
reasonable steps in accordance with normal industry practice to maintain the confidentiality of all
material Owned Intellectual Property the value of which to any of the Sellers is contingent upon
maintaining the confidentiality thereof and no such material Owned Intellectual Property has been
disclosed other than to employees, representatives, agents or partners of the Sellers or any other
Persons, in each case, who are bound by written and enforceable confidentiality agreements.

                (g)     The Sellers have appropriate procedures in place designed to provide that
all material Intellectual Property conceived or developed by employees performing their duties for
any Seller, and by Third Persons performing research and development for any Seller, have been
assigned to such Seller, as applicable. To the extent that any material Owned Intellectual Property
has been developed or created by any Third Persons (including any current or former employee)
for any Seller, such Seller has a written agreement with such Third Persons with respect thereto,
which provides that such Seller either (i) has obtained ownership of and is the sole and exclusive
owner of or (ii) has obtained a valid right to exploit, sufficient for the conduct of its business as it
relates to the Acquired Interests, as currently conducted, such material Owned Intellectual
Property.




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                (h)     The Seller IT Assets operate and perform in a manner that permits each
Seller to conduct its business as it relates to the Acquired Interests as currently conducted, and the
Sellers have taken commercially reasonable actions, consistent with current industry standards, to
protect the integrity and security of the Seller IT Assets (and the confidentiality and security of all
information and transactions stored or contained therein or transmitted thereby) against
unauthorized use, access, interruption, modification or corruption, including the implementation
of commercially reasonable (i) data backup, (ii) disaster avoidance and recovery procedures, (iii)
business continuity procedures and (iv) encryption and other security protocol technology. There
has been no unauthorized use, access, interruption, modification or corruption of any Seller IT
Assets that had a material adverse impact on the Sellers.

                (i)    The Sellers have at all times materially complied with all applicable Laws,
policies, procedures and contractual and all other obligations governing the collection, use,
storage, processing, disclosure, protection, or security of Personal Information collected, used,
stored, transferred or processed by or on behalf of any Seller (collectively, the “Data
Obligations”). There has been no material loss, theft, security breach or unauthorized or unlawful
disclosure or acquisition of any such Personal Information. No Claim has been asserted or, to the
Sellers’ Knowledge, threatened in writing, in each case, against any Seller alleging a violation of
any Data Obligation. For purposes of this Section 4.25(b), “Personal Information” means, in
addition to any definition for any similar term (e.g., “personal data” or “personally identifiable
information”) provided by applicable Law, all information that identifies or can reasonably be used
to identify an individual person.

         4.26 Undue Influence. In the past five (5) years, in connection with the ownership or
operation of the business of the Sellers as it relates to the Acquired Interests, neither any Seller
nor, to the Sellers’ Knowledge, any director, officer, agent, employee or Affiliate, in each case, of
any Seller, has taken any action, directly or indirectly, with respect to the business of the Sellers
as it relates to the Acquired Interests that would result in a material violation of the Foreign Corrupt
Practices Act of 1977 and the rules and regulations thereunder (the “FCPA”) or any anti-corruption
or anti-bribery laws, export control laws or sanctions issued or promulgated by any Governmental
Authority. In the past five (5) years, each Seller, and, to the Sellers’ Knowledge, their respective
Affiliates, have conducted the business of the Sellers as it relates to the Acquired Interests in
compliance with the FCPA and all anti-corruption and anti-bribery laws, export control laws and
sanctions issued or promulgated by any Governmental Authority in all material respects.

        4.27 No Undisclosed Material Liabilities. Except as set forth on Schedule 4.27, there
are no Liabilities of or relating to the business of the Sellers as it relates to the ownership or
operation of the Acquired Interests that would constitute Assumed Liabilities (without taking into
account any modifications requested by Sellers to the Co-Owned Assets, Other Assets or Assumed
Liabilities after the Execution Date) that would be required by GAAP to be disclosed on financial
statements of the Sellers as of the Execution Date, other than Liabilities (a) reflected or disclosed
in the consolidated balance sheet of the Sellers for the fiscal quarter ended September 30, 2020
(“Balance Sheet Date”), (b) incurred in the ordinary course of business since the Balance Sheet
Date (excluding any breaches of Law or any Lease, Easement or Contract), (c) disclosed in any
materials filed with the Bankruptcy Court prior to the Execution Date in connection with the
Bankruptcy Cases, (d) set forth on the Disclosure Schedules or (e) that are not material,
individually or in the aggregate, to the Acquired Interests.


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       4.28    Absence of Certain Changes.

                (a)     Since the Balance Sheet date through the Execution Date, (i) except as
authorized by the Bankruptcy Court prior to the date hereof, including as expressly contemplated
by any orders entered in the Bankruptcy Cases from and after the Petition Date through the date
hereof, the Acquired Interests have been owned and operated in the ordinary course of business in
all material respects and (ii) except as disclosed on the Financial Statements, there has not been a
Material Adverse Effect.

               (b)     From January 1, 2020 through the Execution Date, except as set forth on
Schedule 4.28(b), or as expressly contemplated by any orders entered in the Bankruptcy Cases
from and after the Petition Date, the Sellers have not: (A) purchased or otherwise acquired any
material properties or assets (tangible or intangible) that constitute Acquired Interests or sold,
leased, licensed, transferred, abandoned or otherwise disposed of any material assets that would
otherwise have constituted Acquired Interests, except for (x) purchases of materials, and sales of
Hydrocarbons and surplus inventory, in each case, in the ordinary course of business and (y)
purchases or sales not contemplated by the preceding clause (x) that involved consideration of less
than $5,000,000 individually, and $10,000,000 in the aggregate, (B) removed any material
Inventory or other Acquired Interests from any of the properties or facilities that will transfer to
Buyer as a result of the transactions contemplated hereby, other than in the ordinary course of
business or (C) suffered any damage or destruction to or loss of any Acquired Interest whether or
not covered by insurance where the value of such damage, destruction or loss (measured by cost
to the Sellers of repairing or replacing the applicable Acquired Interest) was greater than
$1,000,000.

        4.29 Equipment and Fixed Assets. Except as would not reasonably be expected to result,
individually or in the aggregate, in a Material Adverse Effect, all Inventory is in good operating
condition and state of repair for the purposes for which they are used by the Sellers in the operation
of its business, normal wear and tear excepted.

        4.30 Operatorship. The Sellers have not received written notice of any vote to have the
Sellers removed as the named operator of any of the Field Assets for which any Seller is currently
designated as the operator and for which such vote is pending as of the Execution Date. From
September 30, 2013 through the Execution Date, no Seller has been removed as the named operator
of any material Field Asset.

       4.31    Joint Venture.

                (a)     Fieldwood U.A. is an entity duly formed and validly existing under the
Laws of the Netherlands. To the Sellers’ Knowledge, (i) Fieldwood Mexico is an entity duly
formed and validly existing under the Laws of the Netherlands and (ii) each of the Subsidiaries of
Fieldwood Mexico is an entity duly formed and validly existing under the Laws of its jurisdiction
of incorporation. Fieldwood U.A. is, and, to the Sellers’ Knowledge, the Mexico JV is qualified
to do business and is in good standing under the Laws of each jurisdiction where such qualification
is necessary, except for those jurisdictions where failure to be so qualified would not, individually
or in the aggregate, reasonably be expected to result in a Material Adverse Effect. Fieldwood U.A.




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has, and, to the Sellers’ Knowledge, the Mexico JV has all requisite power and authority required
to own and operate their properties and to carry on their business as now conducted.

                (b)     Prior to the date hereof, the Sellers have made available to Buyer all
organizational documents and equity holder, stockholder, operating, membership, voting and other
similar agreements of or relating to Fieldwood U.A. and, to the Sellers’ Knowledge, the Mexico
JV (the “Organizational Documents”). None of any Seller or, to the Sellers’ Knowledge, any
other Person, is in material breach of any Organizational Document. Other than the Organizational
Documents, there are no agreements to which any Seller is a party with respect to the voting of
any JV Interests or Fieldwood U.A. Interests or which restrict the transfer of any JV Interests or
Fieldwood U.A. Interests.

                (c)      To the Sellers’ Knowledge, Fieldwood Mexico has the following
Subsidiaries, each of which are incorporated in Mexico: (1) Fieldwood Energy de Mexico, S. de
R.L. de C.V.; (2) Fieldwood Energy E&P Mexico, S. de R.L. de C.V.; and (3) Fieldwood Energy
Services de Mexico, S. de R.L. de C.V. To the Sellers’ Knowledge, as of the Execution Date, the
equity interests of: (i) Fieldwood Mexico consists of (A) class A shares, (B) class B shares and (C)
class D shares, (ii) Fieldwood Energy de Mexico, S. de R.L. de C.V. consists of two (2) equity
interests (partes sociales), (iii) Fieldwood Energy E&P Mexico, S. de R.L. de C.V. consists of two
(2) equity interests (partes sociales) and (iv) Fieldwood Energy Services de Mexico, S. de R.L. de
C.V. consists of two (2) equity interests (partes sociales) (the equity interests of the Mexico JV
collectively, the “JV Shares”). The equity interests of Fieldwood Mexico and each of its
Subsidiaries that are held by the Sellers are listed on Schedule 4.31(c). To the Sellers’ Knowledge,
(x) the equity interests of Fieldwood Mexico, and (y) the issued and outstanding JV Shares are
held of record by the Persons listed on Schedule 4.31(c).

               (d)    The outstanding equity interests of Fieldwood U.A., as of the Execution
Date, consist of the Fieldwood U.A. Interests, and are held of record by the Persons listed on
Schedule 4.31(d).

                 (e)    All of the issued and outstanding Fieldwood U.A. Interests and, to the
Sellers’ Knowledge, JV Interests have been duly authorized and validly issued, and are fully paid
and nonassessable and were not issued in violation of any rights of first refusal, preemptive rights
or similar rights. Except as set forth on Schedule 4.31(c) and Schedule 4.31(d), (i) all of the
outstanding securities or other similar ownership interests of any class or type of or in Fieldwood
U.A. are held by Fieldwood Offshore LLC and Fieldwood, (ii) there are no outstanding securities
or other similar ownership interests of any class or type of or in Fieldwood U.A. or, to the Sellers’
Knowledge, the Mexico J.V. and (iii) there are no outstanding options, warrants, calls, purchase
rights, subscription rights, exchange rights or other rights, convertible exercisable or exchangeable
securities, “phantom” equity rights, stock appreciation rights, equity-based performance units, or
similar agreements, commitments or undertakings of any kind pursuant to which Fieldwood U.A.
or, to the Sellers’ Knowledge, the Mexico JV is or may become obligated to (i) issue, deliver,
transfer, sell or otherwise dispose of, or pay an amount relating to, any securities or other similar
ownership interests of the Mexico JV or Fieldwood U.A., or any securities convertible into or
exercisable or exchangeable for any securities or other ownership interests of the Mexico JV or
Fieldwood U.A., or (ii) redeem, purchase or otherwise acquire any outstanding securities of the
Mexico JV or Fieldwood U.A.



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               (f)     Fieldwood U.A. has no employees. Fieldwood U.A. has (i) no assets other
than the JV Interests held by Fieldwood U.A. and (ii) except as set forth on Schedule 4.31(f), no
non de minimis Liabilities other than those Liabilities incident to the ownership of the JV Interests
held by Fieldwood U.A. (but not any Liabilities with respect to any breach of Law or Contract
with respect to the ownership of such JV Interests).

        4.32 Plan of Merger. The FWE I Oil and Gas Properties (excluding the assets listed on
Exhibit I-K of the Plan of Merger) include solely “Legacy Apache Properties” (as such term is
defined in the Apache Term Sheet (as such term is defined in the Restructuring Support
Agreement)) and no other asset. As of the Execution Date, there is no asset listed on Exhibit I-K
of the Plan of Merger that is related to, used or held for use in connection with or held as inventory
in connection with, any Lease, Easement or Well listed on Exhibit A, Exhibit B or Exhibit C.

        4.33 Exhibit X-1. Exhibit X-1 sets forth an estimate of estimated Working Capital
Assets (excluding clause (b) of the definition thereof) and Working Capital Liabilities (excluding
clause (b) of the definition thereof) assuming an Effective Time occurring on June 30, 2021, which
was prepared at the direction of the Sellers. To the Sellers’ Knowledge, when prepared in February
2021, the information in Exhibit X-1 reflected a reasonable estimate of Working Capital Assets
(excluding clause (b) of the definition thereof) and Working Capital Liabilities (excluding clause
(b) of the definition thereof) assuming an Effective Time occurring on June 30, 2021, subject to
(a) the assumptions described therein and (b) omission of liabilities for accrued payroll. To the
Sellers’ Knowledge, (x) the Fieldwood Energy I Closing Accounts Receivable do not include or
exclude assets that would have resulted in a material deviation of the net amount of the Working
Capital Assets described in Exhibit X-1 if such assets had been estimated and reflected in
Exhibit X-1 when prepared and (y) the Fieldwood Energy I Closing Accounts Payable do not
include or exclude liabilities that would have resulted in a material deviation of the net amount of
the Working Capital Liabilities described in Exhibit X-1 if such liabilities had been estimated and
reflected in Exhibit X-1 when prepared (assuming that all, or substantially all, pre-petition
payables are excluded from the calculation of Fieldwood Energy I Closing Accounts Payable as
obligations satisfied, compromised (to the extent compromised), settled, released or discharged
pursuant to the Plan and Confirmation Order, including by being paid as Cure Costs), in the case
of each of clause (x) and clause (y), after taking into account duplication between the accounts
described in Exhibit X-1 and in the definitions of Working Capital Assets and Working Capital
Liabilities, on the one hand, and Fieldwood Energy I Closing Accounts Receivable and Fieldwood
Energy I Closing Accounts Payable, on the other hand.

                                       ARTICLE V
                                BUYERS’ REPRESENTATIONS

      Each of Buyer and Buyer 2 represents and warrants to the Sellers, subject to the Disclosure
Schedules (subject to Section 12.15), as follows:

       5.1     Organization; Standing; Capitalization.

                (a)    Each of Buyer and Buyer 2 is a limited liability company duly organized,
validly existing and in good standing under the laws of the State of Delaware. Each of Buyer and




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Buyer 2 has all requisite power and authority and all governmental licenses, authorizations,
permits, consents and approvals required to carry on its business as now conducted.

               (b)    At the Closing, (i) all of the issued and outstanding [membership interests]
of Buyer are held by [___________], a [___________] (“Buyer Intermediate”), (ii) all of the
issued and outstanding [membership interests] of Buyer 2 are held by Buyer, (iii) all of the issued
and outstanding [membership interests] of Buyer Intermediate are held by [___________], a
[___________] (“Buyer Parent”) and (iv) all of the issued and outstanding [membership interests]
of Buyer Parent are held by [___________], a [___________] (“Buyer Grandparent”).6

                 (c)     At the Closing, except as set forth on Schedule 5.1(c), the authorized and
issued equity interests of Buyer Grandparent (the “Buyer Grandparent Equity Interests”) shall
consist solely of (i) the New Equity Interests to be issued pursuant to Section 4.4(a)(i) of the Plan,
(ii) the Subscription Rights (including any New Equity Interests issued in connection with the
exercise thereof), (iii) Backstop Commitment Premium Equity Interests (as defined in the Plan),
(iv) the GUC Warrants, (v) the SLTL Warrants and (vi) the New Money Warrants, in each case,
issued pursuant to, and in accordance with, the Plan. At the Closing, all of the issued and
outstanding Buyer Grandparent Equity Interests, and all of the membership interests of Buyer
Parent, Buyer, Buyer 2 and Buyer Intermediate, will have been duly authorized and validly issued,
and will be fully paid and nonassessable and not issued in violation of any rights of first refusal,
preemptive rights or similar rights. As of the Closing Date, except as set forth in Section 5.1(b)
and the first sentence of this Section 5.1(c), there are no issued and outstanding (i) securities or
other similar ownership interests of any class or type of or in Buyer, Buyer 2, Buyer Intermediate,
Buyer Parent or Buyer Grandparent or (ii) options, warrants, calls, purchase rights, subscription
rights, exchange rights or other rights, convertible exercisable or exchangeable securities,
“phantom” equity rights, stock appreciation rights, equity-based performance units, or similar
agreements, commitments or undertakings of any kind pursuant to which Buyer, Buyer 2, Buyer
Intermediate, Buyer Parent or Buyer Grandparent is or may become obligated to (A) issue, deliver,
transfer, sell or otherwise dispose of, or pay an amount relating to, any securities or other similar
ownership interests of Buyer, Buyer 2, Buyer Intermediate, Buyer Parent or Buyer Grandparent or
any securities convertible into or exercisable or exchangeable for any securities or other ownership
interests of Buyer, Buyer 2, Buyer Intermediate, Buyer Parent or Buyer Grandparent, or (B)
redeem, purchase or otherwise acquire any outstanding securities of Buyer, Buyer 2, Buyer
Intermediate, Buyer Parent or Buyer Grandparent.7

                (d)     As of immediately following the Closing, the only Liabilities of Buyer,
Buyer 2, Buyer Intermediate and Buyer Parent will be: (x) liabilities under the Exit Facilities (as
defined in the Plan), (y) in the case of Buyer and Buyer 2, the Assumed Liabilities and (z)
Liabilities incurred in connection with this Agreement or any of the Ancillary Documents or any
of the transactions contemplated hereunder or thereunder (including with respect to any surety
bonds).



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    Note to Draft: To be confirmed prior to signing.
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    Note to Draft: To be confirmed prior to signing.




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        5.2    Power. Each of Buyer and Buyer 2 has the requisite power and authority to execute
and deliver this Agreement and the Ancillary Documents to which it is a party and perform its
obligations under this Agreement and such Ancillary Documents.

        5.3     Non-Contravention. Buyer’s execution, delivery and performance of this
Agreement and each Ancillary Document to which Buyer is (or, upon its execution and delivery,
will be) a party and the performance of the transactions contemplated herein and therein will not
(a) conflict with or result in a breach of any provisions of the organizational documents of Buyer
or (b) assuming compliance with matters referred to in Section 5.7, violate any material Law
applicable to Buyer. Buyer 2’s execution, delivery and performance of this Agreement and each
Ancillary Document to which Buyer 2 is (or, upon its execution and delivery, will be) a party and
the performance of the transactions contemplated herein and therein will not (x) conflict with or
result in a breach of any provisions of the organizational documents of Buyer 2 or (y) assuming
compliance with matters referred to in Section 5.7, violate any material Law applicable to Buyer
2.

        5.4     Authorization and Enforceability. Each of Buyer and Buyer 2 has full capacity,
power and authority to enter into and perform this Agreement, each Ancillary Document to which
Buyer and Buyer 2, as applicable, is (or, upon its execution and delivery, will be) a party and the
transactions contemplated herein and therein. The execution, delivery and performance by each
of Buyer and Buyer 2 of this Agreement and each Ancillary Document to which Buyer and Buyer
2, as applicable, is (or, upon its execution and delivery, will be) a party have been duly and validly
authorized and approved by all necessary organizational action of Buyer and Buyer 2, as
applicable. This Agreement and each Ancillary Document to which Buyer and Buyer 2 is (or,
upon its execution and delivery will be) a party are, or upon their execution and delivery will be,
the valid and binding obligations of Buyer and Buyer 2, as applicable, and enforceable against
Buyer and Buyer 2, as applicable, in accordance with their respective terms, subject to the effects
of bankruptcy, insolvency, reorganization, moratorium and similar Laws as well as to principles
of equity (regardless of whether such enforceability is considered in a proceeding in equity or at
law).

        5.5     Liability for Brokers’ Fees. Other than Rothschild & Co. US Inc. and Intrepid
Partners, LLC, there is no investment banker, broker, finder or other intermediary which has been
retained by or is authorized to act on behalf of Buyer or Buyer 2 who might be entitled to any fee,
commission or expenses in connection with the transactions contemplated by this Agreement or
any of the Ancillary Documents.

       5.6     Litigation. Neither any Claim by any Governmental Authority or other Person nor
any legal, administrative or arbitration proceeding is pending or, to Buyer’s Knowledge, threatened
against Buyer or Buyer 2 which in any manner challenges or seeks to prevent, enjoin, alter or
materially delay the transactions contemplated by this Agreement.

       5.7    Governmental and Third Person Consents. Except as set forth on Schedule 5.7 no
Governmental Approval is required to authorize, or is otherwise required in connection with, (a)
Buyer’s or Buyer 2’s valid execution and delivery of this Agreement or any Ancillary Document
to which Buyer or Buyer 2 is (or, upon its execution and delivery, will be) a party, (b) Buyer’s or




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Buyer 2’s performance of their respective obligations hereunder or thereunder or (c) the
consummation of the transactions contemplated by this Agreement and the Ancillary Documents.

        5.8   Financial Capability. At or prior to the Closing, Buyer has provided to the Sellers
a true and complete copy of the [Direction Letter.]8

           5.9       Qualification. At the Closing, Buyer will have met the BOEM Qualifications.

       5.10 Bankruptcy. There are no bankruptcy, reorganization, receivership or arrangement
proceedings pending against or to Buyer’s Knowledge, threatened against Buyer or Buyer 2.

           5.11      Investor Status; Investigation.

                (a)     To the extent any Acquired Interests constitute securities, the Acquired
Interests are being acquired by Buyer and Buyer 2 for investment purposes only, for Buyer’s and
Buyer 2’s own account and not with a view to, or for resale in connection with, any distribution
thereof in violation of the 1933 Act.

                (b)     Each of Buyer and Buyer 2 acknowledges that, to the extent any Acquired
Interests constitute securities, the sale of the Acquired Interests has not been registered under the
1933 Act or any state or foreign securities laws and that the Acquired Interests, to the extent
constituting securities, may not be sold, transferred, offered for sale, pledged, hypothecated or
otherwise disposed of unless such transfer, sale, assignment, pledge, hypothecation or other
disposition is pursuant to the terms of an effective registration statement under the 1933 Act and
registered under any applicable state or foreign securities laws or pursuant to an exemption from
registration under the 1933 Act and any applicable state or foreign securities laws.

                (c)    Each of Buyer and Buyer 2 has such expertise, knowledge and
sophistication in financial and business matters generally that it is capable of evaluating, and has
evaluated, the merits and economic risks of its investment in the Acquired Interests. Each of Buyer
and Buyer 2 is knowledgeable of the oil and gas business and of the usual and customary practices
of oil and gas producers, including those in the areas where the Acquired Interests are located.
Further, each of Buyer and Buyer 2 is capable of making such investigation, inspection, review
and evaluation of the Acquired Interests as a prudent purchaser would deem appropriate under the
circumstances including with respect to all matters relating to the Acquired Interests, their value,
operation and suitability.

                (d)    Each of Buyer and Buyer 2 has had the opportunity to examine all aspects
of the Acquired Interests that Buyer and Buyer 2 have deemed relevant and has had access to all
information requested by Buyer or Buyer 2 with respect to the Acquired Interests in order to enter
into this Agreement. In connection with the transactions contemplated hereby, each of Buyer and
Buyer 2 has had the opportunity to ask such questions of, and has received sufficient answers from,
the representatives of the Sellers and obtain such additional information about the Acquired
Interests as each of Buyer and Buyer 2 deems necessary to enter into this Agreement.


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    Note to Draft: Subject to Agent feedback (i.e., whether 1 letter or 2 letters).




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                 (e)    Each of Buyer and Buyer 2 confirms, acknowledges and agrees that Buyer
and Buyer 2, as applicable, is relying entirely upon the representations and warranties of the Sellers
in this Agreement, any certificates delivered hereunder and any Ancillary Document, as well as
Buyer’s and Buyer 2’s own investigations and inspections of the books, records and assets of the
Sellers, including the Acquired Interests, prior to the execution of this Agreement in entering into
this Agreement and proceeding with the transactions on the terms as set forth herein. Each of
Buyer and Buyer 2 acknowledges and agrees that, other than the express representations and
warranties of the Sellers set forth in Article IV, in the certificates delivered by the Sellers at
Closing, or any Ancillary Document, any description of the Sellers, their businesses, operations
and assets (including the Acquired Interests) in this Agreement, the Disclosure Schedules or any
Ancillary Document is for the sole purpose of identification only and no representation, warranty
or condition is or will be given by the Sellers in respect of the accuracy of any description. In
deciding to enter into this Agreement, and to consummate the transactions contemplated hereby,
other than the express representations and warranties of the Sellers set forth in Article IV, any
certificates delivered hereunder and any Ancillary Document, each of Buyer and Buyer 2 has relied
solely upon its own knowledge, investigation, judgment and analysis and not on any other
disclosure or representation made by the Sellers or the Sellers’ representatives. Nothing herein
shall limit Buyer’s or Buyer 2’s remedies in the event of Fraud, except that Buyer and Buyer 2
shall have no remedy in the event of Fraud with respect to Fieldwood Energy I, FW GOM Pipeline,
GOM Shelf or any of their respective Subsidiaries.

        5.12 No Other Representations. No Seller nor any other Person (on behalf of any Seller
or otherwise) has made or is making any representation or warranty whatsoever, express or
implied, at law or in equity, with respect to the Sellers, the Acquired Interests, this Agreement or
the transactions contemplated by this Agreement other than the representations and warranties
expressly set forth in Article IV (as modified by the Disclosure Schedules), the certificates
delivered hereunder or any Ancillary Document, and neither Buyer nor Buyer 2 is relying on and
has not relied on any representation or warranty other than those representations or warranties set
forth in Article IV (as modified by the Disclosure Schedules), the certificates delivered hereunder
or any Ancillary Document and any reliance by Buyer or Buyer 2 on any representation or warranty
other than those representations and warranties set forth in Article IV (as modified by the
Disclosure Schedules), the certificates delivered hereunder or any Ancillary Document is hereby
expressly disclaimed. Nothing herein shall limit Buyer’s or Buyer 2’s remedies in the event of
Fraud, except that Buyer and Buyer 2 shall have no remedy in the event of Fraud with respect to
Fieldwood Energy I, FW GOM Pipeline, GOM Shelf or any of their respective Subsidiaries.

                                    ARTICLE VI
                             COVENANTS AND AGREEMENTS

       6.1     Covenants and Agreements of the Sellers. The Sellers covenant and agree that,
during the Interim Period (or, if earlier, until termination of this Agreement), except (u) as
otherwise expressly required under this Agreement or any Ancillary Document, (v) as required by
any applicable Law or Governmental Authority (including the Bankruptcy Code, the Bankruptcy
Court and any actions required to be taken (or not taken) by the Sellers in order to comply with
any orders of the Bankruptcy Court), (w) to the extent related solely to Excluded Assets and/or
Retained Liabilities, (x) for renewal of insurance coverage in the ordinary course of business, (y)
for emergency operations to address any emergency that threatens human life, safety or the


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environment; provided that the Sellers will provide notice to Buyer of any such emergency
operation prior to taking such action if practicable and, otherwise, as soon as reasonably practicable
thereafter or (z) otherwise with Buyer’s prior written consent (not to be unreasonably withheld,
conditioned or delayed):

                 (a)   except as set forth on Schedule 6.1(a), each Seller shall and shall cause its
Affiliates to:

                       (i)     carry on the business of the Sellers as it relates to the Acquired
        Interests in the ordinary course of business consistent with past practice and use
        commercially reasonable efforts to maintain, preserve and protect the Acquired Interests
        in the condition in which they exist on the Execution Date, except for ordinary wear and
        tear and except for replacements, modifications or maintenance in the ordinary course of
        business consistent with past practice;

                      (ii)    maintain and operate as a reasonably prudent operator in the
        ordinary course of business the Field Assets operated by the Sellers as of the Execution
        Date and maintain the Office Assets as a reasonably prudent lessee and owner;

                        (iii) use commercially reasonable efforts to maintain their relationships
        with, and preserve for the business of the Sellers as it relates to the Acquired Interests, and
        preserve the goodwill of, their key suppliers and customers; provided, however, that (x)
        this clause (iii) will not restrict the Sellers from taking any action deemed necessary,
        prudent or advisable in the business judgment of the Sellers in connection with the
        Bankruptcy Cases, including with respect to any claim of any suppliers or customers of the
        Sellers that is subject to the Bankruptcy Cases, and (y) prior to taking any action (other
        than such action required by the Plan or an order of the Bankruptcy Court) outside the
        ordinary course of business that the Sellers reasonably believe will adversely affect their
        relationships with their key suppliers and customers, the Sellers will consult with Buyer
        prior to taking any such action;

                       (iv)    pay or cause to be paid, when due, all Taxes, Lease Burdens and
        development and operating expenses and other payments, in each case consistent with past
        practice, except (A) royalties held in suspense in good faith and (B) expenses or royalties
        being contested in good faith;

                       (v)     maintain its books, accounts and records consistent with past
        practice;

                         (vi)   pay all post-petition trade payables and use commercially
        reasonable efforts to collect accounts receivable, as they related to the Acquired Interests
        after the Petition Date, in each case in the ordinary course of business consistent with past
        practice but, in the case of post-petition trade payables, in no event later than the due date
        thereof, unless being disputed in good faith (but, for the avoidance of doubt, subject to
        applicable orders of the Bankruptcy Court);

                      (vii) provide Buyer (promptly but in no event later than three (3)
        Business Days after the Sellers’ receipt thereof) with copies of any written notice received


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        from any Third Person with respect to (A) any proposed operations on any Field Asset or
        (B) any Claim relating to any Acquired Interests (in the case of each of clauses (A) and
        (B), where the Sellers’ Liability (or potential Liability) is in excess of $1,000,000);

                        (viii) provide Buyer with copies of any material correspondence received
        from any Governmental Authority with respect to any Acquired Interests as soon as
        reasonably practicable, but in no event later than two (2) Business Days after the Sellers’
        receipt thereof; and

                       (ix)    within ten (10) Business Days following the execution of this
        Agreement, deliver to Buyer a true and complete list of the names, titles, hire date, location,
        whether full- or part-time, whether active or on leave (and, if on leave, the nature of the
        leave and the expected return date), whether exempt from the Fair Labor Standards Act of
        1938, annual salary or wage rate, most recent annual bonus received, current annual bonus
        opportunity for all Seller Employees, which list shall be updated not less than ten (10)
        Business Days prior to the Closing to reflect the hiring, resignation or termination of any
        Seller Employee; and

                 (b)     except as set forth on Schedule 6.1(b), each Seller shall not and shall cause
its Affiliates not to:

                       (i)     modify in any material respect its now existing credit, collection or
        payment policies, procedures or practices as they relate to the Acquired Interests, including
        accelerating collections of receivables or failing to pay or delaying payment of payables in
        a manner inconsistent with its now existing practices;

                        (ii)    remove any Acquired Interest from any real property or other
        location of the Sellers’ business such that such Acquired Interest is no longer located within
        any property of the Sellers’ business that is an Acquired Interest, except for sales of
        inventory in the ordinary course of business;

                        (iii) subject to, and without limiting, the Sellers’ rights pursuant to
        Section 6.4, transfer, convey, sell, abandon or otherwise dispose of any material Acquired
        Interests (other than sales of Hydrocarbons in the ordinary course of business consistent
        with past practice) or any interest in any of the Leases;

                        (iv)     create any Encumbrance on any Acquired Interests other than
        Permitted Encumbrances (except that the Fieldwood U.A. Interests and the JV Interests
        shall not be subject to any Permitted Encumbrances) or Encumbrances that will be released
        prior to Closing (including if released pursuant to the Confirmation Order);

                       (v)     commence, propose, commit or agree to participate in any single
        operation with respect to any Field Asset with an anticipated cost in excess of $1,000,000;

                       (vi)    amend, modify, renew or terminate any Material Contract or enter
        into any Contract that would be an Material Contract if it existed on the date hereof if such
        Material Contract would be an Assigned Contract;



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                  (vii) (A) hire any officers or other senior executive employees or
   terminate any such officer or employee (other than for “cause”); or (B) except in the
   ordinary course of business consistent with past practice, hire any other employees or
   terminate any such other employee (other than for “cause”);

                    (viii) (A) increase the annual rate of base salary or any target bonus
   opportunity of any Seller Employee, except in the ordinary course of business consistent
   with past practice and not in excess of 3% for any Seller Employee; (B) pay any bonus,
   benefit, or other direct or indirect incentive compensation (other than any such payments
   authorized pursuant to any first or second day orders in the Bankruptcy Cases); (C) award
   any equity or equity-based compensation awards (whether phantom or equity) with respect
   to the equity of any Seller or any of its Affiliates; (D) modify, amend or terminate any
   Employee Plan; (E) enter into or modify any employment, compensation, severance, non-
   competition, or similar Contract (or amend any such Contract) to which any Seller or any
   of its Affiliates is a party; or (F) adopt any new severance pay, termination pay, deferred
   compensation, bonus, or other employee benefit plan, agreement, program, practice,
   arrangement or policy with respect to Seller Employees that would be an Employee Plan
   if it existed on the date hereof (including any employment agreement, severance
   agreement, change in control agreement, or transaction or retention bonus agreements),
   except, in the case of each of clauses (A) through (F), (1) to the extent set forth in any order
   of the Bankruptcy Court or as required by applicable Law; or (2) to the extent required
   pursuant to the terms of any Employee Plan, as in effect on the date hereof;

                 (ix)    relinquish its position as operator to any Person other than Buyer or
   Buyer 2 with respect to any Acquired Interest operated by the Sellers;

                  (x)     waive, release, settle or compromise any material Claim or
   proceeding relating to any Acquired Interest;

                  (xi)     subject to, and without limiting, the Sellers’ rights pursuant to
   Section 6.4, enter into any merger or divisive merger, or liquidate or dissolve;

                  (xii) sell, lease, license (except for non-exclusive licenses granted in the
   ordinary course of business) or otherwise transfer or dispose of, abandon or permit to lapse,
   fail to take any action necessary to maintain, enforce or protect, or create or incur any
   Encumbrance (other than Permitted Encumbrances) on, any material Owned Intellectual
   Property;

                   (xiii) cause or allow any of its current directors and officers liability,
   property or casualty insurance policies that apply to any of the Acquired Interests or that
   apply to the business of the Sellers as it relates to the Acquired Interests to be canceled or
   terminated or any of the coverage thereunder to lapse unless, simultaneously with such
   termination, cancellation or lapse, replacement policies providing coverage equal to or
   greater than the coverage under the canceled, terminated or lapsed policies are in full force
   and effect;




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                      (xiv) make, change or revoke any material Tax election in respect of the
       Acquired Interests, settle or otherwise compromise any claim relating to Taxes of
       Fieldwood U.A. or with respect to the Acquired Interests, enter into any closing agreement
       or similar agreement relating to Taxes of Fieldwood U.A. or the Acquired Interests,
       surrender any right to claim a Tax refund, offset or other reduction in Tax Liability of
       Fieldwood U.A. or with respect to the Acquired Interests, or request any ruling or similar
       guidance with respect to Taxes of Fieldwood U.A. or with respect to the Acquired Interests;
       or

                       (xv) enter into any Contract or other commitment to take, or authorize
       the taking of or resolve to take, any actions prohibited by this Section 6.1(b).

       6.2      Casualty Event. The Sellers shall give Buyer prompt written notice of any Casualty
Event that occurs with respect to any Acquired Interest during the Interim Period, together with a
description of the applicable insurance coverage and an estimate of the Sellers’ exposure with
respect to such Casualty Event. If the damaged or taken Acquired Interest is not repaired or
replaced on or before the Closing Date, the Sellers shall provide to Buyer an assignment of all of
the Sellers’ right, title and interest in and to all insurance proceeds and recoveries from Third
Persons payable, in each case with respect to the Acquired Interest damaged or taken as the result
of such Casualty Event.

         6.3    Press Releases. Except as required in the Bankruptcy Cases or by applicable Law
(a) each Party shall consult with the other before issuing any press release or otherwise making
any public statement with respect to the transactions contemplated by this Agreement and (b) no
Party shall issue any press release or make any such public statement before obtaining the other
Party’s prior written approval, which shall not be unreasonably withheld, conditioned or delayed.
To the extent such release or public statement is required by Law, the Party intending to make such
release or public statement (i) shall give the other Party the opportunity (within reasonable time
before any applicable deadline) to review and comment upon such release or public statement and
(ii) shall consider in good faith all reasonable comments thereto received sufficiently in advance
of any applicable deadline.

       6.4     Solicitation; Other Offers.

                (a)     Each of Buyer and Buyer 2 acknowledges and agrees that from and after the
Execution Date through entry of the Confirmation Order, the Sellers may take any action
(including entering into any agreement or letter-of-intent with respect thereto) to cause, promote,
assist with or enter into an Alternative Transaction.

                (b)    Without limiting the foregoing, the Sellers may, directly or indirectly
through its Representatives, (i) engage in discussions and negotiations regarding an Alternative
Transaction with any one or more Third Persons as potential bidders (each, an “Alternative
Bidder”) in connection with the solicitation of one or more proposals relating to an Alternative
Transaction and (ii) furnish to any Alternative Bidder who has signed a confidentiality agreement
and has made a request therefor any public or non-public information relating to the Sellers and
afford to any such Alternative Bidder access to any properties, Acquired Interests, books or records
of the Sellers or the business of the Sellers; provided that the Sellers shall not actively solicit



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proposals relating to an Alternative Transaction unless the failure to do so would be contrary to or
inconsistent with applicable fiduciary duties.

       6.5     Regulatory Matters; Cooperation.

                 (a)     The Sellers, on one hand, and Buyer, on the other hand, shall cooperate, and
reasonably determine upon the advice of counsel within fifteen (15) Business Days of the
Execution Date, other than the notifications required to be filed under the HSR Act, any
notifications, filings, consents, clearances, waivers, waiting periods and approvals, if any, required
under any applicable Antitrust Law in connection with the transactions contemplated by this
Agreement (including by any persons that will hold, directly or indirectly, any equity interest in
Buyer as of or immediately after the Closing) (the “Foreign Antitrust Approvals”). Subject to
Section 6.5(c), as soon as reasonably practicable (and, in any event, within ten (10) Business Days,
or a later date as agreed by the Parties) after the Execution Date, the Sellers, on the one hand, and
Buyer, on the other hand, shall each prepare and file, or cause to be prepared and filed, any
notifications required to be filed under the HSR Act with the United States Federal Trade
Commission, the Antitrust Division of the United States Department of Justice and any Foreign
Antitrust Approvals, and request early termination of the waiting periods applicable to such
notifications. Subject to Section 6.5(c), Buyer, on the one hand, and the Sellers, on the other hand,
shall promptly respond to any requests for additional information or documentary materials in
connection with such filings and shall take all commercially reasonable actions necessary to cause
the waiting periods applicable to such notifications to terminate or expire at the earliest practicable
date after the date of filing. The Sellers shall be responsible for payment of the applicable filing
fee under the HSR Act or Foreign Antitrust Approvals, and each Party shall be responsible for any
other payment of its own respective costs and expenses incurred by such Party (including
attorneys’ fees and other legal fees and expenses) associated with the preparation of its portion of
any antitrust filings.

                (b)     Subject to the provisions of Section 6.5(c) and Section 6.7, including the
limitations set forth therein, the Sellers, on the one hand, and Buyer, on the other hand, shall use
reasonable best efforts to obtain, at the earliest practicable date, all necessary Governmental
Approvals and all necessary registrations, declarations and filings (including registrations,
declarations and filings with Governmental Authorities and any change in control requirements
relating to any consent decrees, decisions, judgments, settlements, consent orders, stipulations,
decrees or similar orders relating to the Acquired Interests, if any), in each case for the
consummation of the transactions contemplated by this Agreement and the Ancillary Documents,
and use its reasonable best efforts to avoid any Claim by any Governmental Authority relating to
the transactions contemplated by this Agreement and the Ancillary Documents. Subject to the
provisions of Section 6.5(c) and Section 6.7, including the limitations set forth therein, in addition
to such actions, the Sellers, on the one hand, and Buyer, on the other hand, shall use reasonable
best efforts to (i) take all acts necessary in connection with meeting with any Governmental
Authority regarding the transferring of the Permits included in the Acquired Interests and (ii)
execute and deliver any additional instruments reasonably necessary to consummate the
transactions contemplated hereby and to fully carry out the purposes of this Agreement.

              (c)    The Sellers, on the one hand, and Buyer, on the other hand, (i) to the extent
permissible, shall promptly inform each other of any material communication from any



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Governmental Authority concerning this Agreement, the transactions contemplated hereby, and
any filing, notification or request for approval by any Governmental Authority and (ii) to the
extent permissible, shall permit the other to review in advance any proposed written or material
oral communication or information submitted to any such Governmental Authority in response
thereto. In addition, none of the Parties shall agree to participate in any meeting with any
Governmental Authority in respect of any filings, investigation or other inquiry with respect to this
Agreement or the transactions contemplated hereby, unless, to the extent permissible, such Party
consults with the other Parties in advance and, to the extent permitted by any such Governmental
Authority, gives the other Party the opportunity to attend and participate thereat, in each case to
the maximum extent reasonably practicable. Subject to restrictions under any Law, each of Buyer,
on the one hand, and the Sellers, on the other hand, shall furnish the other with copies of all
correspondence, filings and communications (and memoranda setting forth the substance thereof)
between it and its Affiliates and their respective Representatives on the one hand, and the
Governmental Authority or members of its staff on the other hand, with respect to this Agreement,
the transactions contemplated hereby (excluding documents and communications which are
subject to preexisting confidentiality agreements or to the attorney-client privilege or work product
doctrine or which refer to valuation of the Acquired Interests) or any such filing, notification or
request for approval. Each Party shall also furnish the other Party with such necessary information
and assistance as such other Party and its Affiliates may reasonably request in connection with
their preparation of necessary filings, registration or submissions of information to the
Governmental Authority in connection with this Agreement, the transactions contemplated hereby
and any such filing, notification or request for approval. Notwithstanding anything to the contrary
in this Agreement, nothing in this Agreement shall require Buyer or the Sellers, or any of their
respective Affiliates to (and none of any Seller or any of its Affiliates shall, without the prior
written consent of Buyer), in performing their respective obligations under this Section 6.5, (i)
enter into any settlement, undertaking, consent decree, stipulation or agreement with any
Governmental Authority in connection with the transactions contemplated hereby, (ii) divest or
otherwise hold separate (including by establishing a trust or otherwise), or take any other action
(or otherwise agree to do any of the foregoing) with respect to the Acquired Interests or any assets
or business of Buyer or any of its Affiliates or (iii) defend any Claim relating to the transactions
contemplated by this Agreement or any Ancillary Document, except, in the case of each of clauses
(i) through (iii), actions expressly contemplated to be taken by the Sellers in accordance with the
Plan.

               (d)     Notwithstanding anything to the contrary contained in this Agreement,
Buyer shall, on behalf of the Parties, control and lead all communications and strategy relating to
the Antitrust Laws (provided that the Sellers are not constrained from complying with applicable
Law), provided, further, that the Parties shall consult and cooperate with one another, and consider
in good faith the views of one another, regarding the form and content of any analyses,
appearances, presentations, memoranda, briefs, arguments, opinions and proposals made or
submitted by or on behalf of either Party in connection with proceedings under or relating to any
Antitrust Law prior to their submission.

       6.6     Bankruptcy Court Matters.

             (a)    Qualified Bids. Subject to the terms of the Disclosure Statement Order, if
one or more Qualified Bid(s) (as such term is defined in the Disclosure Statement Order) is


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received by the Sellers on or before the Bid Deadline (as such term is defined in the Disclosure
Statement Order), no later than three (3) Business Days after the Bid Deadline (as such term is
defined in the Disclosure Statement Order), the Sellers shall file with the Bankruptcy Court a notice
of receipt of such Qualified Bid(s) (as such term is defined in the Disclosure Statement Order) and
the Sellers’ proposed procedures for selecting the highest or otherwise best bid, including, but not
limited to, any procedures for submitting revised bids and/or holding an auction to the extent the
Sellers determine holding an auction will maximize value to the Sellers’ estate.

                (b)    Confirmation Order. The Sellers and Buyer shall use commercially
reasonable efforts to obtain entry by the Bankruptcy Court of a Confirmation Order by no later
than the Confirmation Outside Date. The Confirmation Order shall be in form and substance
acceptable to the Sellers and Buyer. The Sellers acknowledge and agree, and the Confirmation
Order shall provide that, on the Closing Date and concurrently with the Closing, all then existing
or thereafter arising Liabilities and Encumbrances of, against or created by the Sellers or their
bankruptcy estates, shall be fully released from and with respect to the Acquired Interests, which
shall be transferred to Buyer free and clear of all Encumbrances (other than Permitted
Encumbrances (except for the Fieldwood U.A. Interests and the JV Interests, which shall not have
any Permitted Encumbrances)) and Retained Liabilities and Buyer shall at Closing be required to
assume the Assumed Liabilities as set forth hereunder. The Sellers and Buyer covenant and agree
that if the Confirmation Order is entered, they will pursue the transactions contemplated by the
Confirmation Order and in this Agreement. The Sellers shall use commercially reasonable efforts
to cause the Confirmation Order to provide either that (a) the Sellers have complied with the
requirements of any applicable Law relating to bulk sales and transfer or (b) compliance with
applicable Law relating to bulk sales and transfers is not necessary or appropriate under the
circumstances. Buyer agrees that it will take commercially reasonable efforts to take such actions
as are reasonably requested by the Sellers to assist in obtaining entry of the Confirmation Order.

                (c)     Reasonable Efforts. The Sellers shall use commercially reasonable efforts
to (i) obtain entry of the Disclosure Statement Order, (ii) promptly commence solicitation on the
Plan upon entry of the Disclosure Statement Order, and (iii) (A) facilitate the solicitation,
confirmation and consummation of the Plan and the transactions contemplated hereby, (B) obtain
entry of the Confirmation Order and (C) consummate the Plan.

               (d)     Bankruptcy Filings.

                       (i)     During the Interim Period, the Sellers shall deliver to Buyer copies
       of all pleadings, motions, notices, statements, schedules, applications, reports and other
       papers that relate, in whole or in part, to this Agreement and the transactions contemplated
       hereby at least two (2) Business Days prior to the date when the Sellers intend to file any
       such pleading or other document (provided, that if delivery of such motions, orders or
       materials (other than the Plan, the disclosure statement, a disclosure statement order, the
       Confirmation Order or adequate protection order) at least two (2) Business Days in advance
       is not reasonably practicable, such motion, order or material shall be delivered as soon as
       reasonably practicable prior to filing) for Buyer’s prior review and comment, and the
       Sellers shall consult in good faith with Buyer regarding the form and substance of such
       filings to the extent they are related to the Acquired Interests, any Assumed Liabilities or
       the transactions contemplated hereby, including any of Buyer’s rights or obligations



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       hereunder. The Parties shall use commercially reasonable efforts to consult and cooperate
       regarding (i) any such pleadings, motions, notices, statements, schedules, applications,
       reports or other papers, (ii) any discovery taken in connection with seeking entry of the
       Confirmation Order (including any depositions) and (iii) any hearings relating to the
       Confirmation Order, including the submission of any evidence, including witness
       testimony, in connection with such hearing. The Sellers agree to diligently prosecute the
       entry of the Confirmation Order as provided herein. During the Interim Period (subject to
       Section 6.4), the Sellers shall not take any action that is intended to (or is reasonably likely
       to), or fail to take any action the intent (or reasonably likely result) of which failure to act
       is to, result in the reversal, voiding, modification or staying of the Confirmation Order, or
       this Agreement.

                     (ii)  In the event the entry of the Disclosure Statement Order, the
       Confirmation Order, or any other order reasonably necessary in connection with the
       transactions contemplated by this Agreement is appealed, the Sellers shall use
       commercially reasonable efforts to defend such appeal.

                (e)     Cooperation with Plan Administrator. In accordance with the terms of the
Plan, the Parties agree that they shall use commercially reasonable efforts to cooperate with the
Plan Administrator (as defined in the Plan) and each other, in relation to the Parties’ respective
activities and obligations under the Plan, including by providing reasonable, good-faith access to
personnel, systems, and books and records and their respective personnel and consulting with each
other to avoid duplication of effort.

       6.7     Assumption and Assignment of Contracts.

                (a)    No later than twenty eight (28) days prior to the Designation Deadline, the
Sellers shall provide to Buyer a list of all 365 Contracts and the Sellers’ good faith estimate of
Cure Costs associated with each such 365 Contract (the “365 Schedule”). The Sellers may amend
or supplement the 365 Schedule from time to time to add or remove any 365 Contract inadvertently
included or excluded from such 365 Schedule or to amend, based on the Sellers’ good faith
calculation of the Cure Costs, any proposed Cure Costs set forth in such 365 Schedule and shall
provide Buyer written notice thereof. No later than fourteen (14) days prior to the Designation
Deadline, Buyer shall designate in writing which 365 Contracts from the 365 Schedule Buyer
desires to be assumed by the Sellers and assigned to Buyer (collectively, and as further modified
by Buyer pursuant to the provisions of this Section 6.7, the “Assigned 365 Contracts” and Buyer’s
designated list of Assigned 365 Contracts, the “Assigned 365 Contracts List”).

                (b)    Promptly following the receipt of Buyer’s initial designation of the
Assigned 365 Contracts pursuant to Section 6.7(a) (to the extent not previously filed) and by no
later than the Designation Deadline, the Sellers shall file the Assigned 365 Contracts List with the
Bankruptcy Court and deliver a written notice of the proposed assignments of the Assigned 365
Contracts and the proposed Cure Costs for each Assigned 365 Contract (consistent with the
Sellers’ good faith estimates set forth on the 365 Schedule) to all non-debtor parties of the
Assigned 365 Contracts, which notice shall notify each non-debtor party to such Assigned 365
Contract of (i) the proposed Cure Cost for such Assigned 365 Contract and (ii) an objection




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deadline for such non-debtor party to object to the proposed assumption and assignment and
proposed Cure Cost.

                 (c)    Notwithstanding anything herein to the contrary, Buyer may, from time to
time, in its sole discretion revise the Assigned 365 Contracts List at any time prior to 5:00 p.m.
(prevailing Central Time) on the date that is seven (7) days before the Confirmation Hearing (or
such other time as agreed in writing between the Sellers and the applicable counterparty to a 365
Contract) (the “Designation Deadline”) by (x) subtracting therefrom any Assigned 365 Contract,
and any 365 Contract so removed shall no longer be considered Assigned 365 Contracts for
purposes of this Agreement or (y) adding thereto any 365 Contract, and any 365 Contract so added
will be an Assigned 365 Contract for the purposes of this Agreement; provided that if the
Confirmation Hearing is adjourned or continued, such amendment right shall be extended to 5:00
p.m. (prevailing Central Time) on the date that is seven (7) days before the rescheduled or
continued Confirmation Hearing, and this provision shall apply in the case of any and all
subsequent adjournments and continuances of the Confirmation Hearing. The Sellers shall
promptly file on the docket in the Bankruptcy Cases and serve on the affected non-Debtor
counterparty(ies) a notice of any actions taken by Buyer pursuant to the preceding sentence
pursuant to and in accordance with the Disclosure Statement Order. Subject to the preceding
sentences, all 365 Contracts of the Sellers that are listed on the 365 Schedule and which Buyer
does not designate in writing for assumption and assignment shall not be considered Assigned 365
Contracts or Acquired Interests and shall automatically be deemed “Excluded Contracts;”
provided, however, that Buyer may not exclude from the Assigned 365 Contracts any 365 Contract
that is set forth on Schedule 6.7(g).

                (d)      Each of each Seller and Buyer, as applicable, shall use commercially
reasonable efforts to assign or cause to be assigned, the Assigned 365 Contracts to Buyer,
including, if necessary, taking all actions required by the Bankruptcy Court to obtain a Final Order
containing a finding that the proposed assumption and assignment of the Assigned 365 Contract
to Buyer satisfies all applicable requirements of Section 365 of the Bankruptcy Code. If the Sellers
are successful in effecting such assumption as of or before the Closing, such Lease, Easement or
Contract shall become an Assigned 365 Contract and transferred and conveyed to Buyer.

                (e)     On the Closing Date, immediately following payment by Buyer of the Cash
Portion, the Sellers shall pay all undisputed Cure Costs with respect to the Assigned 365 Contracts.

               (f)      Buyer shall provide adequate assurance of future performance of all of the
Assigned 365 Contracts so that all Assigned 365 Contracts can be assumed by the Sellers and
assigned to Buyer at the Closing in accordance with the provisions of Section 365 of the
Bankruptcy Code and this Agreement, and Buyer acknowledges that such cooperation may require
Buyer to provide reasonably necessary information regarding Buyer and its Subsidiaries, as well
as a commitment of performance by Buyer and/or its Subsidiaries with respect to the Assigned
365 Contracts from and after the Closing to demonstrate adequate assurance of the performance
of the Assigned 365 Contracts, and the Sellers’ obligation to assume and assign such Assigned 365
Contracts is subject to Buyer providing such adequate assurance of future performance.




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              (g)    Notwithstanding anything in this Agreement to the contrary, including
Section 6.7(c) above, the Contracts set forth on Schedule 6.7(g) shall at all times constitute
Assigned 365 Contracts and shall be assigned to Buyer at the Closing.9

                 (h)      Notwithstanding anything to the contrary in this Agreement, no Seller (i)
shall agree to, settle or compromise any dispute with respect to, the amount of Cure Costs in respect
of any Assigned 365 Contract without the prior written approval of Buyer in its sole discretion or
(ii) shall, without the prior written consent of Buyer in its sole discretion, reject or move to reject
(A) any 365 Contracts prior to the Designation Deadline or (B) any Assigned 365 Contract
(whether before or after the Designation Deadline).

                (i)     Notwithstanding anything in this Section 6.7 to the contrary, Buyer may
not, except with the prior written consent of the Sellers, designate any 365 Contract as an Assigned
365 Contract to the extent that such 365 Contract is identified on Exhibit I-F of the Plan of Merger
(except to the extent constituting Applicable Shared Asset Interests).

        6.8      Employee Matters.

                 (a)     Offers and Terms of Employment. All Seller Employees (including those
on leave of absence or disability) identified by the Sellers on the updated list provided pursuant to
Section 6.1(a)(vii) shall be offered employment by Buyer or its Affiliate no later than five (5) days
prior to the Closing Date, in each case, such employment to be effective as of the Closing Date;
provided, however, that neither Buyer nor any of its Affiliates shall be required to make an offer
of employment to any Section 6.8 Employee unless Buyer and Seller mutually agree that Buyer
shall offer employment to such Section 6.8 Employee. Each offer of employment made by Buyer
or its Affiliates to a Seller Employee, as applicable, shall be effective as of the Closing Date and
shall contain terms and conditions of employment substantially comparable in the aggregate to the
terms and conditions of employment provided by the Sellers immediately prior to the Closing Date
with respect to such Seller Employee, provided each such offer shall include (i) at least the same
level of base salary or wage rate (based on pre-COVID-19 salary or wage rate without regard to
any reduction), (ii) for substantially all such Seller Employees, at least the same annual cash
incentive compensation opportunity and (iii) substantially similar employee benefits. For purposes
of this Agreement, any individual who becomes employed by Buyer in accordance with this
Section 6.8 is referred to as a “Transferred Employee.”

                (b)      Liabilities. Effective as of the Closing, (i) Buyer shall, or shall cause an
Affiliate of Buyer to, assume or retain, as the case may be, any and all Liabilities (contingent or
otherwise) relating to, arising out of, or resulting from the employment or services, or termination
of employment services, of any Transferred Employee, accrued and unpaid bonuses, accrued and
unused vacation, sick days and paid time off and any workers’ compensation claims against any
Seller or its Affiliates, irrespective of when such claims are made (and Buyer shall or shall cause
an Affiliate of Buyer to pay the applicable Transferred Employees the unpaid portion of any
Transferred Employee’s accrued annual bonus for the calendar year in which the Closing occurs

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  Note to Draft: Schedule 6.7(g) to include the McCarroll agreements and, subject to Buyer’s review of Schedule
6.7(g), any agreements related to the Co-Owned Assets that are required to be conveyed in connection with the
assignment of the Co-Owned Assets.




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at the time such bonuses are paid to such Transferred Employees in the ordinary course consistent
with past practice) and (ii) the Sellers shall, or shall cause their Affiliates to assign to Buyer, and
Buyer shall, or shall cause an Affiliate of Buyer, to assume, (A) sponsorship of the Fieldwood
Energy Health & Welfare Benefit Plan, including any and all Liabilities (contingent or otherwise)
relating to, arising out of, or resulting from the operation of the Fieldwood Energy Health &
Welfare Benefit Plan, and Buyer shall be, or shall cause an Affiliate to be, responsible for all claims
whenever incurred under the Fieldwood Energy Health & Welfare Benefit Plan, including any
claims incurred prior to the Closing but not yet reported and any claims reported prior to Closing
but which have not yet been processed, (B) sponsorship of the Fieldwood Energy LLC 401(k)
Plan, including any and all Liabilities (contingent or otherwise) relating to, arising out of, or
resulting from the operation of the Fieldwood Energy LLC 401(k) Plan, and (C) each other
Assumed Employee Plan, including any and all Liabilities (contingent or otherwise) relating to,
arising out of, or resulting from the operation of each Assumed Employee Plan; provided that
except as otherwise set forth in Section 6.8(c), in no event shall Buyer or any of its Affiliates
assume any Liabilities relating to bonuses, severance or workers’ compensation claims for any
current or former employee of any Seller or any of its Affiliates other than a Transferred Employee
and all such Liabilities shall be Retained Liabilities.

                (c)     Severance. With respect to any Seller Employee who Sellers and Buyer
mutually agree shall not be offered employment by Buyer and who shall not become a Transferred
Employee, Sellers shall provide severance payments (subject to executing a general employment
release in favor of Sellers and Buyer) in such amount as mutually determined by Sellers and Buyer,
which amount shall in no event exceed two (2) months of base salary (“Employee Severance”).
Employee Severance shall be paid by Sellers to each such Seller Employee in the ordinary course
through the Closing. Buyer shall, and shall cause its Affiliates to, be liable for and provide to each
such Seller Employee any portion of the unpaid Employee Severance that otherwise becomes due
and payable following the Closing.

                (d)     Credit for Service. Buyer shall, and shall cause its Affiliates to, credit
Transferred Employees for service earned on and prior to the Closing Date with the Sellers and
their Affiliates or predecessors to the extent that such service would be credited pursuant to the
applicable Employee Plan, in addition to service earned with Buyer and its Affiliates on or after
the Closing Date to the extent that service is relevant for purposes of eligibility, vesting, paid-leave
entitlement or the calculation of benefits under any employee benefit plan, program or arrangement
of Buyer or any of its Affiliates for the benefit of the Transferred Employees on or after the Closing
Date, but not for the purposes of benefit accrual under any defined benefit pension plan; provided,
however, that nothing herein shall result in a duplication of benefits with respect to the Transferred
Employees.

                 (e)   Pre-existing Conditions; Coordination. Buyer shall, and shall cause its
Affiliates to, waive any pre-existing condition or actively at work limitations, evidence of
insurability and waiting periods for the Transferred Employees and their eligible spouses and
dependents under any employee benefit plan, program or arrangement of Buyer or any of its
Affiliates for the benefit of the Transferred Employees on or after the Closing Date. Buyer shall,
and shall cause its Affiliates to credit for purposes of determining and satisfying annual
deductibles, co-insurance, co-pays, out-of-pocket limits and other applicable limits under the
comparable health plans and arrangements offered to Transferred Employees, deductibles, co-


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insurance, co-pays and out-of-pocket expenses paid by Transferred Employees and their respective
spouses and dependents under the Sellers or any of their respective Affiliates’ health plans in the
calendar year in which the Closing Date occurs.

                 (f)     Accrued Vacation. Buyer or its Affiliates shall provide each Transferred
Employee with credit for the same number of vacation, sick days and personal days such
Transferred Employee has accrued but not used in the calendar year in which the Closing Date
occurs; provided, that to the extent required by applicable Law, such amount shall be paid by Buyer
or its Affiliates to the applicable Transferred Employee in cash. In the event that a Transferred
Employee is unable to use such carried over vacation and sick days within the calendar year in
which the Closing Date occurs, Buyer or its Affiliates shall allow such Transferred Employee to
carry over such vacation and sick days to be used in the subsequent calendar year solely to the
extent that such Transferred Employee would have had the same right to carry over such vacation
and sick days pursuant to the policies of the Seller or its Subsidiaries as of the date hereof.

                (g)     COBRA. On the Closing Date, the Sellers and their Affiliates shall cease
to provide health and welfare coverage to each Seller Employee and his or her covered dependents
and beneficiaries, and Buyer or its Affiliate shall commence providing such coverage to
Transferred Employees and his or her covered dependents and beneficiaries. Buyer and its “buying
group” (as defined in Treasury Regulation Section 54.4980B-9, Q&A-2(c)) shall be solely
responsible for providing continuation coverage under COBRA to those individuals who are or
become M&A qualified beneficiaries (as defined in Treasury Regulation Section 54.490B-9,
Q&A-4(a)) with respect to the transactions contemplated by this Agreement. Buyer and its
Affiliates shall provide coverage required by COBRA to Transferred Employees and their eligible
dependents or beneficiaries under group health plans maintained by Buyer or an Affiliate of Buyer
with respect to qualifying events occurring on and after the Closing Date.

               (h)    Tax Reporting. Buyer shall adopt the “alternate procedure” for preparing
and filing IRS Forms W-2 (Wage and Tax Statements), as described in Revenue Procedure 2004-
53. Under this procedure, Buyer as the successor employer shall provide Forms W-2 to
Transferred Employees reflecting all wages paid and Taxes withheld with respect to such
Transferred Employees for the calendar year in which the Closing Date occurs. The Sellers as the
predecessor employer shall have no employment tax reporting responsibilities for the Transferred
Employees following the Closing Date. Buyer shall also adopt the “alternate procedure” of
Revenue Procedure 2004-53 for purposes of IRS Forms W-4 (Employee’s Withholding Allowance
Certificate) and W-5 (Earned Income Credit Advance Payment Certificate).

                (i)    No Third Party Beneficiaries. Without limiting the generality of
Section 12.5, no provision of this Section 6.8 shall (i) be treated as an amendment of, or
undertaking to amend, any benefit plan, (ii) obligate Buyer or the Sellers to retain the employment
of any particular employee or (iii) confer any rights or benefits on any Third Person beneficiary or
create any Third Person beneficiary or other rights in any current or former employee, independent
contractor or other service provider (including any beneficiary or dependent thereof) of any Seller
in respect of continued employment (or resumed employment) with either Buyer or any of, its
Affiliates and no provision of this Section 6.8 shall create any rights in any such Persons in respect
of any benefits that may be provided, directly or indirectly, under any Employee Plan or any plan
or arrangement that may be established by Buyer or any of its Affiliates, including as to the level



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or duration of compensation or benefits. No provision of this Agreement shall constitute a
limitation on rights to amend, modify or terminate after the Closing Date any such plans or
arrangements of the Sellers, Buyer or any of their respective Affiliates.

       6.9     [Reserved].

        6.10 Certain Agreements. The Sellers will obtain assignment of, or replacement
agreements with respect to, the Specified Section 6.10 Contract(s) prior to or at the Closing (with
any replacement agreement being on substantially the same terms as the Specified Section 6.10
Contract(s) being replaced); provided that Buyer understands and agrees that this Section 6.10 will
not require Sellers to enter into any settlement, undertaking or agreement, undertake any
obligation, or pay any consideration, in each case, with or to any third party, other than, to the
extent required to be paid prior to the Closing, if so requested by Buyer, Sellers paying in cash any
such consideration requested by such third party.

        6.11 Transfer Orders; Letters in Lieu. Prior to the Closing, the Sellers shall deliver to
Buyer completed transfer orders or letters in lieu thereof, directing all purchasers of production to
make payment to Buyer of proceeds attributable to Hydrocarbons constituting Acquired Interests
effective as of the Closing.

       6.12    Taxes.

               (a)     To the extent not exempt under the Confirmation Order or Section 1146 of
the Bankruptcy Code, Buyer shall assume responsibility for, and shall bear and pay, all Transfer
Taxes (if any) incurred or imposed with respect to the conveyance of the Acquired Interests to
Buyer; provided that if any such Transfer Taxes are due prior to the Closing the Sellers shall
assume responsibility for, and shall bear and pay such Transfer Taxes. The Party required by
applicable Law to file Tax Returns with respect to Transfer Taxes shall prepare and file such Tax
Returns or other documents and the non-preparing Party shall cooperate therewith.

                (b)     The Sellers shall timely file or cause to be timely filed when due all Tax
Returns that are required to be filed by or with respect to Fieldwood U.A. on or prior to the Closing
Date and all Tax Returns that are required to be filed by the Sellers under applicable Law with
respect to the Acquired Interests (including any Tax Returns reporting any Property-Related Taxes
and Production Taxes) and, in each case, all such Tax Returns shall be prepared and filed in a
manner consistent with past practice. In each case, the Sellers shall remit or cause to be remitted
any Taxes shown as due on such Tax Returns. Buyer shall timely file or cause to be timely filed
when due (taking into account all extensions properly obtained) all other Tax Returns that are
required to be filed by or with respect to Fieldwood U.A. and the Acquired Interests after the
Closing Date and shall pay any Taxes shown as due on such Tax Returns. The Sellers shall
reimburse Buyer for (A) Retained Taxes which are remitted in respect of any Tax Return to be
filed by Buyer pursuant to this Section 6.12 or (B) Retained Taxes in respect of any Tax Return to
be filed by the Sellers under this Section 6.12(b) which have not been paid by the Sellers and for
which a taxing authority seeks payment from Buyer, in each case, up to the amount reserved for
such Retained Taxes in determining the Effective Date Cash Obligations Amount, no later than
ten (10) days after Buyer’s written request therefor.




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                (c)     For purposes of this Agreement, in the case of a Straddle Period, (x) all
Property-Related Taxes and any exemptions, allowances and deductions with respect to such
Taxes shall be allocated between the Pre-Closing Tax Period and the Post-Closing Tax Period
based on the number of days of such Straddle Period included in the Pre-Closing Tax Period and
the number of days of such Straddle Period included in the Post-Closing Tax Period, (y) all
Production Taxes shall be allocated between the Pre-Closing Tax Period and the Post-Closing Tax
Period based upon the period during which the applicable production occurred, and (z) all other
Taxes shall be allocated between the Pre-Closing Tax Period and the Post-Closing Tax Period as
if such taxable period ended as of the end of the day on the final day of the Pre-Closing Tax Period.

                (d)     Property-Related Taxes and Production Taxes shall be timely paid, and all
applicable filings, reports and returns shall be filed as provided by applicable Law.

                (e)     All Tax Sharing Agreements between the Sellers and any Affiliates of the
Sellers, on the one hand, and Fieldwood U.A., Fieldwood Mexico or any Subsidiary thereof, on
the other hand, will terminate as to Fieldwood U.A., Fieldwood Mexico and any Subsidiary thereof
prior to the Closing Date and Fieldwood U.A., Fieldwood Mexico and such Subsidiary will not
have any liability thereunder on or after the Closing Date.

                 (f)    Each Seller, on the one hand, and Buyer, on the other hand, will provide
each other with such cooperation and information as either of them reasonably may request of the
other in filing any Tax Return, claiming any refund of Taxes, determining a Liability for Taxes or
a right to a refund of Taxes, or conducting any audit or other proceeding in respect of Taxes. Such
cooperation and information shall include providing copies of relevant Tax Returns or portions
thereof, together with accompanying schedules, related work papers and documents relating to
rulings and other determinations by Governmental Authorities. Any information obtained under
this Section 6.12 shall be kept confidential except as may be otherwise necessary in connection
with the filing of Tax Returns or claims for refund or in conducting any audit or other proceeding.

        6.13 Commercially Reasonable Efforts. Subject to the terms and conditions of this
Agreement, and subject to the Bankruptcy Code and any orders of the Bankruptcy Court, and
without limiting any other provision of this Agreement (including Section 6.5(c)), Buyer and the
Sellers each agree to use commercially reasonable efforts to take, or cause to be taken, all actions
and to do, or cause to be done, all things necessary or desirable to cause the conditions precedent
to Closing set forth in Article VII to be satisfied and to consummate the transactions; provided that
the Parties understand and agree that the commercially reasonable efforts of any Party shall not be
deemed to include, except as expressly set forth in this Agreement, entering into any settlement,
undertaking, consent decree, stipulation or agreement with any Governmental Authority in
connection with the transactions contemplated hereby; provided, further that this Section 6.13 shall
not (a) limit or affect the obligation of any Party to perform any of its other obligations and
covenants expressly set forth in this Agreement or (b) require any Party to incur any obligations
or pay any fees or amounts to third parties not otherwise required under this Agreement or the
Plan.

       6.14 Insurance Policies. Effective at or prior to Closing, the Sellers shall cause Buyer
to be named as an ‘additional insured’ with respect to each insurance policy held by the Sellers
which provides coverage with respect to any of the Acquired Interests (excluding, for the



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avoidance of doubt, any director and officer insurance policies). The Sellers shall maintain such
insurance policies in full force and effect until the expiration of their terms, and shall cooperate in
good faith with Buyer in connection with any claim made by Buyer under any such policy. The
Sellers shall not have any obligation to renew any such insurance policies following the expiration
of their terms, and from and after such expiration, Buyer will be solely responsible for maintaining
such insurance as Buyer deems reasonable with respect to the Acquired Interests.

         6.15 Novation of Hedges. Buyer shall use commercially reasonable efforts to cause the
Hedges to be novated to Buyer at Closing, and the Sellers shall reasonably cooperate with Buyer
in connection with such novation; provided that (a) to the extent that the total volume of production
hedged as of the Closing with respect to the Hedges exceeds 45,000 Boepd, Buyer may elect to
(but is not required pursuant to this Section 6.15 to) use commercially reasonable efforts to novate
such excess (or any portion thereof) to Buyer at Closing; (b) Buyer shall be solely responsible for
any credit support or other requirements in connection with such novation; and (c) the Sellers shall
not be required to pay any consideration or undertake any obligation in connection with such
novation.

       6.16 Qualification. Prior to the Closing, Sellers (and their respective officers and
employees) will provide commercially reasonable assistance to Buyer with respect to Buyer
obtaining such qualifications as are necessary to own and, where applicable, to assume
operatorship of, the Acquired Interests in all jurisdictions where the Acquired Interests are located.

       6.17 Settlements with Governmental Authorities. From the date hereof until the
Closing, none of any Seller nor any of its Affiliates shall make or enter into any material non-
ordinary course stipulation, settlement or other agreement with any Governmental Authority (each,
a “Governmental Settlement Agreement”) that is not in form and substance acceptable to Buyer.
The Sellers shall pay all amounts due and payable under any Governmental Settlement Agreement
executed by any Seller or any of its Affiliates prior to the Closing.

        6.18 Operator Forms. By no later than ten (10) days after the Execution Date, the Sellers
shall have sent all applicable Third Persons all designation of operator forms (Form BOEM –
1123) designating Buyer as operator (along with all corresponding OSFR forms) with respect to
each Lease or portion thereof as to which any Seller is the designated operator as of the date hereof,
and Sellers shall use reasonable best efforts to obtain such executed forms from such Third Persons
prior to the Closing.

       6.19    [Reserved].

        6.20 Bonds and Insurance. To the extent required by applicable state and federal
Governmental Authorities (and subject to compliance by the Sellers with their respective
covenants under this Agreement) in connection with the transactions contemplated by this
Agreement, as of the Closing or promptly thereafter (and in any case within ten (10) Business Days
of the Closing) Buyer and/or Buyer 2, as applicable, will have the lease bonds, area-wide bonds
and surety bonds or insurance policies set forth on Schedule 6.20, in each case to the extent
required by and in accordance with the requirements of such Governmental Authorities.




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       6.21 [New Equity Interests. Buyer shall cause (a) the Credit Bid and Release New
Equity Interests to be received by the Persons entitled to receipt of such interests pursuant to the
Plan on the Effective Date in accordance with the Plan, and (b) the Equity Rights Offering New
Equity Interests (if and when authorized pursuant to an order of the Bankruptcy Court) to be
received on the Effective Date by the Persons entitled to receipt of such interests in accordance
with the Plan, the Subscription Rights, the FLTL ERO Backstop Agreement and the SLTL ERO
Backstop Agreement.]10

        6.22 Employment Agreements. Buyer shall, in good faith, negotiate the terms of an
employment agreement (each, an “Employment Agreement”) with each of the Seller Employees
identified on Schedule 6.22 from and after the date hereof. If terms of an Employment Agreement
are mutually agreed between Buyer and a Seller Employee prior to Closing, then at (or immediately
following) the Closing Buyer shall enter into an Employment Agreement with each such Seller
Employee.

                                     ARTICLE VII
                           CONDITIONS PRECEDENT TO CLOSING

        7.1      Conditions Precedent of the Parties. The obligations of the Sellers, Buyer and
Buyer 2 to consummate the transactions contemplated by this Agreement are subject to the
fulfillment, at or before the Closing, of each of the following conditions:

               (a)    no applicable Law shall prohibit the transactions contemplated hereby or
the consummation of the Closing and no suit, action or proceeding shall be pending or threatened
before any court or arbitration tribunal seeking to enjoin, restrain, prohibit or declare illegal the
transactions contemplated by this Agreement;

               (b)    no injunction, order, decree or judgment that restrains, enjoins or prohibits
the transactions contemplated in this Agreement shall be in effect;

              (c)    any applicable waiting period under the HSR Act relating to the transactions
contemplated hereby shall have expired or been terminated;

              (d)    the Bankruptcy Court shall have entered the Disclosure Statement Order
and the Confirmation Order and each such order shall be a Final Order;

                (e)    each of the conditions precedent to the Effective Date shall have been
satisfied (or shall become effective concurrent with the Closing Date hereunder) or waived in
accordance therewith; and

               (f)    (i) the Credit Bid and Release New Equity Interests shall have been, or will
be on the Effective Date, received by the holders of Allowed FLTL Secured Claims (as defined in
the Plan) in accordance with the Plan and (ii) the Equity Rights Offering New Equity Interests (if
and when authorized pursuant to an order of the Bankruptcy Court) shall have been, or will be on

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  Note to Draft: Subject to review of Equity Rights Offerings procedures/ERO Backstop Agreements/obligations of
Buyer to issue equity upon exercise of Subscription Rights.




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the Effective Date, received by the Persons entitled to receipt of such interests in accordance with
the Plan, the Subscription Rights, the FLTL ERO Backstop Agreement and the SLTL ERO
Backstop Agreement.

        7.2     Sellers’ Conditions Precedent. The obligation of the Sellers to consummate the
transactions contemplated by this Agreement are subject to the fulfillment, at or before the Closing,
of each of the following conditions:

                (a)    the representations and warranties of Buyer and Buyer 2 set forth in this
Agreement shall be true and correct, as of the date hereof and as of the Closing Date, as if made at
and as of such date (other than any representation and warranty expressly made as of a specific
earlier date, which shall have been true and correct as of such earlier date), except for those failures
to be true and correct that, individually or in the aggregate, would not adversely affect in any
material respect the ability of Buyer and Buyer 2 to consummate the transactions contemplated by
this Agreement;

               (b)     Each of Buyer and Buyer 2 shall have performed and fulfilled in all material
respects each covenant, agreement and condition required by this Agreement to be performed or
fulfilled by Buyer or Buyer 2, as applicable, at or before the Closing;

             (c)     the Effective Date Cash Obligations Amount shall have been agreed in
amounts acceptable to Sellers acting in good faith; and

               (d)    Each of Buyer and Buyer 2 shall have executed and delivered all documents
required to be executed and delivered by Buyer or Buyer 2, as applicable, as set forth in Section
9.2.

        The foregoing conditions of this Section 7.2 are for the sole benefit of the Sellers and may
be waived by the Sellers, in whole or in part, at any time and from time to time in the sole discretion
of the Sellers. The failure by the Sellers at any time to exercise any of their rights hereunder shall
not be deemed a waiver of any such right and each such right shall be deemed an ongoing right
which may be asserted at any time and from time to time.

        7.3    Buyers’ Conditions Precedent. The obligation of Buyer and Buyer 2 to
consummate the transactions contemplated by this Agreement are subject to the fulfillment, at or
before the Closing, of each of the following conditions:

                 (a)      (i) each of the Fundamental Representations of each Seller shall be true and
correct in all respects, except for de minimis inaccuracies, as of the date hereof and as of the
Closing Date, as if made at and as of such date (other than any representation and warranty
expressly made as of a specific earlier date, which shall have been true and correct as of such
earlier date), (ii) the representations and warranties of each Seller set forth in each of Section
4.22(a), Section 4.32 and Section 4.33 shall (disregarding any qualifications or exceptions set forth
therein relating to Material Adverse Effect or “materiality” or any similar qualification or standard)
be true and correct in all material respects, as of the date hereof and as of the Closing Date, as if
made at and as of such date (other than any representation and warranty expressly made as of a
specific earlier date, which shall have been true and correct in all material respects as of such
earlier date), and (iii) all other representations and warranties of each Seller set forth in Article IV


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of this Agreement shall (disregarding any qualifications or exceptions set forth therein relating to
Material Adverse Effect or “materiality” or any similar qualification or standard) be true and
correct, as of the date hereof and as of the Closing Date, as if made at and as of such date (other
than any representation and warranty expressly made as of a specific earlier date, which shall have
been true and correct as of such earlier date) except in the case of this clause (iii), for those failures
to be true and correct that would not, individually or in the aggregate, reasonably be expected to
have a Material Adverse Effect;

                (b)    each Seller shall have performed and fulfilled in all material respects each
covenant, agreement and condition required by this Agreement to be performed or fulfilled by
such Seller at or before the Closing;

              (c)     each Seller shall have executed and delivered all documents required to be
executed and delivered by such Seller as set forth in Section 9.2;

             (d)     no Default or Event of Default (each as defined in the DIP Credit
Agreement) under the DIP Credit Agreement shall have occurred and be continuing;

               (e)     the Restructuring Support Agreement shall not have been terminated with
respect to any party thereto;

               (f)     the conditions precedent under each of the Backstop Commitment Letters
shall have been satisfied or waived;

               (g)    the Plan confirmed by the Confirmation Order shall be in substantially the
same form and substance as the plan filed by the Debtors on [•], at Docket No. [•] in the Bankruptcy
Court, as may be amended, modified or supplemented from time to time in accordance with the
Restructuring Support Agreement or as otherwise consented to by or on behalf of Buyer;

                (h)   at least five (5) Business Days prior to the Closing Date, the Bankruptcy
Court shall have approved and authorized the assumption and assignment of each material
Assigned 365 Contract pursuant to Section 365 of the Bankruptcy Code through entry of an order
that shall have become a Final Order and all such material Assigned 365 Contracts shall have been
duly assigned to Buyer at or prior to the Closing;

              (i)     all Assigned 365 Contracts that require novation and are set forth on
Schedule 7.3(i) will have been novated to Buyer;

               (j)     the estimated amount of Allowed Specified Administrative Expense Claims
at any time are projected by the Sellers not to exceed the Toggle Amount (as defined in the Plan),
or, upon the occurrence of the Toggle Date, such other amount as determined by the Majority
Backstop Parties (as defined in the Second Lien Backstop Commitment Letter) in their sole and
absolute discretion;

               (k)     the aggregate Allocated Values of all Acquired Interests treated as Delayed
Assets pursuant to Section 2.3(b), Section 2.4 and Section 2.5, together with the aggregate
Allocated Values of all Acquired Interests with respect to which a bona fide Preferential Right is
validly exercised prior to the Closing, shall not be greater than $100,000,000;


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              (l)     all Governmental Approvals set forth on Schedule 7.3(l) shall have been
obtained and delivered to Buyer and such Governmental Approvals shall be in full force and effect;

              (m)    since the Execution Date, no Material Adverse Effect (or any result, event,
occurrence, change, circumstance, consequence or development that, individually or in the
aggregate, would reasonably be expected to result in a Material Adverse Effect) shall have
occurred;

              (n)     any agreements between Buyer and the Plan Administrator shall be
reasonably acceptable to Buyer;

               (o)    Buyer shall have obtained all qualifications required to assume operatorship
of the Leases operated by a Seller as of immediately prior to the Closing in all jurisdictions where
such Leases are located, all of which qualifications shall be in full force and effect;

            (p)     the Sellers shall have delivered to Buyer a fully executed copy of the Fourth
Amendment to Office Sublease;

             (q)     the Effective Date Cash Obligations Amount shall have been agreed in
amounts acceptable to Buyer acting in good faith; and

               (r)     the Sellers shall have delivered to Buyer a duly executed letter agreement,
or the Bankruptcy Court shall have entered an order which shall have become a Final Order, in
each case in a form reasonably acceptable to Buyer, providing that Buyer is not a “successor” or
“assign” of Sellers under the NPA.

        The foregoing conditions of this Section 7.3 are for the sole benefit of Buyer and Buyer 2
and may be waived by Buyer or Buyer 2, as applicable, in whole or in part, at any time and from
time to time in the sole discretion of Buyer and Buyer 2. The failure by Buyer or Buyer 2 at any
time to exercise any of its rights hereunder shall not be deemed a waiver of any such right and
each such right shall be deemed an ongoing right which may be asserted at any time and from time
to time.

                                  ARTICLE VIII
                     RIGHT OF TERMINATION AND ABANDONMENT

        8.1    Termination. This Agreement may be terminated by written notice at any time
before the Closing:

               (a)     by mutual written consent of the Sellers and Buyer;

               (b)     by the Sellers, on one hand, or by Buyer, on the other hand:

                        (i)    if the Closing shall not have been consummated on or before July
       31, 2021 (as such date may be extended by mutual written agreement of the Parties, the
       “End Date”); provided that the right to terminate this Agreement pursuant to this Section
       8.1(b)(i) shall not be available to any Party (A) who is then in material breach of any of its
       material agreements, covenants, representations or warranties contained herein or (B)



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   whose breach of any provision of this Agreement is the proximate cause of the failure of
   the Closing to be consummated before the End Date;

                 (ii)   if there shall be any applicable Law that makes consummation of the
   transactions contemplated by this Agreement illegal or otherwise prohibited or if
   consummation of such transactions would violate any Final Order of any Governmental
   Authority having competent jurisdiction;

                  (iii) for any reason, Buyer is unable, pursuant to Section 363(k) or
   Section 1123(a) of the Bankruptcy Code, to credit bid in payment of all or any portion of
   the Consideration as set forth in Section 2.1 (other than the Assumed Liabilities);

                 (iv)   the Bankruptcy Court shall have entered an order dismissing, or
   converting into cases under Chapter 7 of the Bankruptcy Code, any of the cases
   commenced by the Sellers under Chapter 11 of the Bankruptcy Code and comprising part
   of the Bankruptcy Cases; or

                  (v)    any of the Sellers shall have entered into any agreement with respect
   to any Alternative Transaction (consistent with the fiduciary duties of the officers and
   directors of the Sellers) or if the Bankruptcy Court shall have approved any such
   Alternative Transaction;

          (c)     by Buyer if:

                   (i)     the Sellers shall have breached any of their representations and
   warranties, or shall have failed to perform or comply with any of their covenants and
   agreements contained in this Agreement and such breach or failure to perform or comply
   (A) would result in the Sellers being unable to satisfy a condition set forth in Section 7.3
   and (B) is not cured within ten (10) Business Days after Buyer notifies the Sellers of such
   breach or failure to perform or comply in writing; provided, that Buyer shall not have a
   right of termination pursuant to this Section 8.1(c)(i) if Buyer is then in material breach of
   any of its material agreements, covenants, representations or warranties contained herein;

                  (ii)   any of the Sellers, without the prior consent of Buyer, enter into a
   definitive agreement with respect to the sale of any material Acquired Interests (excluding
   sales of Hydrocarbons in the ordinary course of business) or any interest in any of the
   Leases;

                 (iii) the Confirmation Order shall not have been entered by the
   Confirmation Outside Date;

                  (iv)   the Restructuring Support Agreement shall have been terminated
   with respect to any party thereto; provided, that the right to terminate this Agreement
   pursuant to this Section 8.1(c)(iv) shall not be available to Buyer if any Consenting
   Creditor’s breach of any provision of the Restructuring Support Agreement is the
   proximate cause of the termination of the Restructuring Support Agreement;




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                   (v)    any Event of Default (as defined in the DIP Facility Credit
       Agreement) under the DIP Facility Credit Agreement shall have occurred and be
       continuing;

                       (vi)    the Equity Rights Offerings are not consummated;

                     (vii) the Disclosure Statement Order or the Confirmation Order shall
       have been stayed, vacated, reversed or materially modified or amended by the Bankruptcy
       Court or another court of competent jurisdiction at any time without the prior written
       consent of Buyer; or

                      (viii) any Seller seeks to have the Bankruptcy Court enter an order
       dismissing, or converting into cases under Chapter 7 of the Bankruptcy Code, any of the
       cases commenced by the Sellers under Chapter 11 of the Bankruptcy Code and comprising
       part of the Bankruptcy Cases, or if a trustee in the Bankruptcy Cases or a responsible officer
       or an examiner with enlarged powers is appointed (other than a fee examiner) relating to
       the operation of the Sellers’ businesses pursuant to Section 1104 of the Bankruptcy Code,
       or such an order of dismissal, conversion or appointment is entered; and

               (d)     by the Sellers if:

                       (i)     Buyer or Buyer 2 shall have breached any of its representations and
       warranties, or shall have failed to perform or comply with any of its covenants and
       agreements contained in this Agreement and such breach or failure to perform or comply
       (A) would result in Buyer or Buyer 2, as applicable, being unable to satisfy a condition set
       forth in Section 7.2 and (B) is not be cured within ten (10) Business Days after the Sellers
       notify Buyer of such breach or failure to perform or comply in writing; provided, that the
       Sellers shall not have a right of termination pursuant to this Section 8.1(d)(i) if any Seller
       is then in material breach of any of its material agreements, covenants, representations or
       warranties contained herein;

                       (ii)    Any of the Backstop Commitment Letters is terminated and Buyer
       has not, within thirty (30) days following the termination of such Backstop Commitment
       Letter, entered into a definitive written agreement with respect to committed financing or
       other arrangement in an amount at least equal to that provided by such Backstop
       Commitment Letter (as of the date hereof) and otherwise in form and substance reasonably
       acceptable to Sellers; or

                      (iii) the Equity Rights Offerings are not consummated and Buyer has
       not, within thirty (30) days following the failure of the Equity Rights Offerings to be
       consummated, entered into a definitive written agreement with respect to committed
       financing or other arrangement in an amount at least equal to the amount that would have
       been provided by the Equity Rights Offerings and otherwise in form and substance
       reasonably acceptable to Sellers.

Each termination trigger set forth in this Section 8.1, pursuant to which this Agreement may be
terminated shall be considered separate and distinct from each other such termination trigger. If
more than one of the termination triggers set forth in this Section 8.1 are applicable, the applicable


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Party shall have the right to choose the termination trigger pursuant to which this Agreement is to
be terminated. Any Party desiring to terminate this Agreement pursuant to this Section 8.1 shall
give written notice of such termination to the other Party.

        8.2     Remedies. In the event of termination of this Agreement by Buyer or the Sellers
pursuant to this Article VIII, this Agreement shall become null and void and have no effect and all
rights and obligations of the Parties under this Agreement shall terminate without any Liability of
any Party to any other Party except the provisions of this Section 8.2, Section 12.1, Section 12.8
and Annex I (and, to the extent applicable to the interpretation or enforcement of such provisions,
Article XII) shall expressly survive the termination of this Agreement.

        8.3     Specific Performance. The Parties agree that irreparable damage for which
monetary damages, even if available, would not be an adequate remedy would occur in the event
any provisions of this Agreement were not performed in accordance with the terms hereof
(including failing to take such actions as are required hereunder in order to consummate the
transactions contemplated hereby) or were otherwise breached and that the Parties shall be entitled
to injunctive relief, specific performance and other equitable relief to prevent breaches (or
threatened breaches) of this Agreement and to enforce specifically the performance of the
provisions hereof. Any Party seeking an injunction to prevent breaches of this Agreement and to
enforce specifically the provisions of this Agreement shall not be required to provide any bond or
other security in connection with any such order or injunction. The rights set forth in this Section
8.3 shall, subject to Section 8.2, be in addition to any other rights which a Party may have at law
or in equity pursuant to this Agreement.

                                           ARTICLE IX
                                            CLOSING

        9.1    Date of Closing. Subject to satisfaction (or waiver by the required Party) of the
conditions to Closing set forth in Article VII (other than those conditions that by their nature cannot
be satisfied until the time of Closing, but subject to the satisfaction (or waiver by the requisite
Party) of those conditions), the Closing shall occur on the Effective Date (the “Closing Date”).
Notwithstanding the foregoing, the parties hereto may agree in writing to such other date or time
for Closing to take place and such other date or time shall be the “Closing Date” as such term is
defined herein. The Closing shall take place through electronic means of communication on the
Closing Date.

       9.2     Closing Obligations. At Closing, the Parties (as applicable) shall take, or cause to
be taken, the following actions, each being a condition precedent to the others and each being
deemed to have occurred simultaneously with the others:

                 (a)     The Sellers and Buyer shall deliver to one another duly executed counterpart
signature pages to each Transfer Document to which they are a party, in sufficient numbers of duly
executed and acknowledged original counterparts to facilitate, to the extent appropriate, recording
in all relevant jurisdictions;

              (b)     The Sellers shall deliver to Buyer the JV Assignment Agreements duly
executed by the applicable Sellers;



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               (c)     Buyer and Buyer 2 shall deliver a duly executed counterpart to the Release
Document;

               (d)    The Sellers shall deliver to Buyer a certificate, dated and effective as of the
Closing Date, executed by an authorized officer of each Seller, certifying to Buyer that, on the
Closing Date, the conditions set forth in Section 7.3(a) and Section 7.3(b) have been satisfied;

                (e)     Buyer shall deliver to the Sellers a certificate, dated and effective as of the
Closing Date, executed by an authorized officer of each of Buyer and Buyer 2, certifying to the
Sellers that, on the Closing Date, the conditions set forth in Section 7.2(a) and Section 7.2(b) have
been satisfied;

              (f)    Each Seller shall deliver to Buyer a statement that satisfies the requirements
of Treas. Reg. §1.1445-2(b)(2), certifying that such Seller is not a foreign person within the
meaning of Section 1445(f)(3) or Section 1446(f)(2) of the Code;

               (g)    Fieldwood and Buyer shall deliver to one another duly executed signature
pages to the Funding Agreement;

               (h)     Buyer shall deliver by wire transfer of immediately available funds an
amount in cash equal to the Cash Portion, to one or more accounts designated by the Sellers (which
shall be designated by the Sellers at least two (2) days prior to Closing);

               (i)    Sellers shall pay the Cure Costs out of the Closing Cash Amount and/or the
Cash Portion in accordance with an order of the Bankruptcy Court; and

                (j)     Buyer shall deliver to Fieldwood the GUC Warrants and the SLTL Warrants
for distribution by Fieldwood pursuant to the Plan.

                                    ARTICLE X
                     POST-CLOSING OBLIGATIONS AND COVENANTS

        10.1 Field Data and Records. Within ten (10) Business Days after the Closing, pursuant
to Buyer’s reasonable instructions, the Sellers shall deliver to Buyer any Field Data or Records
that are not maintained in the Office Assets. Buyer shall be entitled to all original Field Data and
Records. Within ten (10) Business Days after the Closing, the Sellers may make and retain, at the
Sellers’ expense, copies of any Field Data and Records (except to the extent prohibited by Contract
where Buyer obtains the originals thereof).

       10.2    Suspense Funds; Prepaid JOA Funds.

               (a)     To the extent that as of Closing, any Seller holds Suspense Funds or
Undisbursed Revenue relating to the Acquired Interests (excluding Prepaid JOA Funds) the Sellers
shall deliver to Buyer at Closing such Suspense Funds and Undisbursed Revenue and an
accounting of such Suspense Funds and Undisbursed Revenue and Buyer shall from and after such
time be responsible for the application of such Suspense Funds and Undisbursed Revenue under
the applicable operating or other agreement governing the application of such Suspense Funds and
Undisbursed Revenue. The Sellers shall remain liable, and shall be solely responsible, for (i) the


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disbursement of all funds owed to Persons (including any Suspense Funds) that are not paid or
disbursed to Buyer at Closing and (ii) all Liabilities with respect to any misapplication of any
Suspense Funds (or any escheat or other Laws related thereto) as to any period of time at or before
the Closing Date; such Liabilities and responsibilities shall be considered Retained Liabilities.

                (b)     To the extent that as of Closing, any Seller holds funds received by the
Sellers (in their capacity as operator of any Acquired Interests) on account of working interest
owners in the Acquired Interests as prepayments for items under operating or other agreements
(“Prepaid JOA Funds”), the Sellers shall deliver to Buyer at Closing such Prepaid JOA Funds
and an accounting of each of such prepayments and Buyer shall from and after Closing be
responsible for the application of such Prepaid JOA Funds under the applicable operating or other
agreement pursuant to which such Prepaid JOA Funds were collected. The Sellers shall remain
liable, and shall be solely responsible, for (i) the disbursement of all funds owed to Persons
(including any Prepaid JOA Funds) that are not paid or disbursed to Buyer at Closing and (ii) all
Liabilities with respect to any misapplication of Prepaid JOA Funds (or any escheat or other Laws
related thereto) as to any period of time at or before the Closing Date; such Liabilities and
responsibilities shall be considered Retained Liabilities.

       10.3    Post-Closing Asset Reconciliation.

                (a)    After the Closing Date, Buyer and the Sellers shall execute and deliver, or
shall cause to be executed and delivered, from time to time such further instruments of conveyance
and transfer, and shall take such other actions as Buyer or the Sellers may reasonably request, to
convey and deliver the Acquired Interests to Buyer, to perfect Buyer’s title thereto and to
accomplish the orderly transfer of the Acquired Interests to Buyer.

                (b)     In the event that at any time, or from time to time following the Closing
Date, any (i) Acquired Interest is found to have been retained by the Sellers or any of their
Affiliates (each a “Non-Transferred Asset”), then the Sellers shall transfer, or shall cause such
Affiliate to transfer, with any necessary prior consent from any Third Person or Governmental
Authority, such Non-Transferred Asset to Buyer as soon as practicable, or an Affiliate thereof as
designated by Buyer, and to forward or remit to Buyer, or an Affiliate thereof as designated by
Buyer, any payments actually received by the Sellers on account of any such Non-Transferred
Asset from the Closing until the time such Non-Transferred Asset is transferred to Buyer;
provided, that Buyer shall pay to the Sellers the amount of any expenses or payables actually paid
by the Sellers on account of any such Non-Transferred Asset from the Closing until the time such
Non-Transferred Asset is transferred to Buyer (which may be netted by the Sellers against amounts
received on account of such Non-Transferred Asset). Prior to any such transfer, the Sellers shall
hold such Non-Transferred Asset in trust for Buyer.

                (c)     In the event of a transfer pursuant to clause (b) of this Section 10.3, Buyer
or an Affiliate thereof and the Sellers or an Affiliate thereof shall execute and deliver, or cause to
be executed and delivered, to the other Party as soon as practicable any conveyances, notices,
assumptions, releases and acquittances and such other instruments, and shall take such further
actions, as may be necessary or appropriate to fully and effectively transfer, assign and convey
unto Buyer or an Affiliate thereof, all of the properties, rights, titles, interests, estates, remedies,
powers and privileges intended to be conveyed to Buyer or an Affiliate thereof, and to otherwise



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make effective the transactions contemplated hereby, and to confirm Buyer’s (or its Affiliate’s)
title to or interest in and to such Non-Transferred Asset, and to put Buyer or its Affiliate in actual
possession and operating control thereof.

               (d)    For the avoidance of doubt, this Section 10.3 does not apply to any Delayed
Assets retained by a Seller at the Closing.

       10.4    Assignments; Operatorship.

               (a)     Other than with respect to Governmental Approvals (which are addressed
by Section 2.4), the Sellers will prepare and execute, and Buyer will execute, at or before the
Closing, all documentation necessary to convey to Buyer the Acquired Interests granted by a
Governmental Authority (except any such documentation that is customarily completed
post-Closing) in the form as prescribed by the applicable Governmental Authority and otherwise
reasonably acceptable to Buyer and the Sellers.

                (b)     At the Closing, each Seller shall, as applicable, deliver to Buyer a
resignation as operator of (and, as applicable, designated applicant under OSFR for) all Field
Assets as to which such Seller served as operator (or, as applicable, designated applicant under
OSFR) immediately before the Closing Date. With respect to those Field Assets as to which a
Seller controls the selection of the successor operator (or, as applicable, the designated applicant
under OSFR), such Seller shall at the Closing deliver to Buyer (and any pertinent Third Person) a
written notification designating Buyer as the successor operator of (or, as applicable, the successor
designated applicable under OSFR for) such Field Assets effective as of the Closing Date. With
respect to any Field Assets as to which the Sellers do not control the selection of the successor
operator (or, as applicable, the designated applicant under OSFR), the Sellers will cast their votes
at or before Closing, and will use commercially reasonable efforts to obtain before, or promptly
following, Closing the votes of the other owners of Working Interests in such Field Assets, in each
case in favor of the designation of Buyer as successor operator of (and, as applicable, the
designated applicant under OSFR for) such Field Assets effective as of the Closing Date. Within
five (5) days after the later of the Closing Date or the date on which Buyer is named successor
operator under the terms of the applicable Contract, the Sellers and Buyer shall make all necessary
filings, including any BOEM designation of operator forms and designated applicant OSFR form
designations, and take all other actions necessary to cause the resignation of the applicable Sellers
as operator of (and, as applicable, the designated applicant under OSFR for), and the designation
of Buyer as the successor operator of (and, as applicable, the designated applicant under OSFR
for), such Field Assets to be recognized and, if required, approved by all relevant Governmental
Authorities. In each case, the Sellers shall use commercially reasonable efforts to assist Buyer in
assuming the timely operation and management of the Field Assets. Each of the Sellers’ covenants
in this Section 10.4(b) is subject to the accuracy at Closing of Buyer’s representations in
Section 5.9. Each of Buyer’s covenants in this Section 10.4(b) is subject to Buyer’s receipt from
the Sellers and Third Persons of all such required designations and forms. For the avoidance of
doubt, “Field Assets” does not include any Lease, Subject Unit, Easement or Well with respect to
which no right, title or interest is included in the Acquired Interests.

                (c)    With respect to each Field Asset operated by the Sellers as of the Closing,
the Sellers, with the continued assistance of Buyer, shall use commercially reasonable efforts to



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cause each joint owner, record title interest owner and applicable operating rights interest owner
in such Field Asset to execute and deliver such instruments, forms and filings (including any
BOEM designation of operator forms and designated applicant OSFR form designations and any
instruments, forms and filings required by BSEE) that are necessary to designate and appoint under
all applicable Laws, Leases, Easements and Contracts, Buyer as operator of (and, as applicable,
the designated applicant under OSFR for) such Field Asset as promptly as practicable following
the Closing.

                (d)    Each Party agrees that the execution and delivery of the instruments, forms
and filings (including any BOEM designation of operator forms and OSFR form designation and
any instruments, forms and filings required by BSEE) that are necessary to designate and appoint
under all applicable Law, Leases, Easements and Contracts Buyer as operator (and, as applicable,
the designated applicant under OSFR for) of the Field Assets will be made prior to the execution
and delivery of the instruments, forms and filings (including any BOEM designation of operator
forms and designated applicant OSFR form designations and any instruments, forms and filings
required by BSEE) that may be required in connection with the implementation of the Divisive
Merger.

         10.5 Confidentiality. Following the Closing, the Sellers agree not to, and to cause their
respective Affiliates and Representatives not to, use or disclose any confidential or non-public
information concerning the Acquired Interests or the business affairs of Buyer and its Affiliates,
including as it relates to the Acquired Interests, or the Assumed Liabilities (“Confidential
Information”) except disclosure of Confidential Information that (a) is lawfully obtained after
Closing from a source that, to the Knowledge of the Sellers, was not under an obligation of
confidentiality to Buyer with respect to such information, (b) is disclosed or becomes available to
the public without any breach by the Sellers of the terms of this Section 10.5, (c) is or may be
necessary to wind down any of the Sellers’ bankruptcy estates, or in connection with the
enforcement of the rights of, or the defense of any Claim against or involving, any Seller provided
that, in each case, the Confidential Information is afforded confidential treatment, (d) to the extent
it relates to any Excluded Assets or (e) is or may be necessary in connection with the Bankruptcy
Cases provided that the Confidential Information is afforded confidential treatment.
Notwithstanding the foregoing, a Seller may disclose Confidential Information if such Seller
believes (after consultation with counsel) it is legally required to make such disclosure in order to
comply with Laws or legal, judicial or administrative process (including in connection with the
Bankruptcy Cases). If a Seller or any of its Representatives becomes required (including by
deposition, interrogatory, request for documents, subpoena, civil investigative demand or similar
process) or it becomes necessary in connection with the Bankruptcy Cases to disclose any of the
Confidential Information, such Seller or Representative shall use reasonable efforts to provide
Buyer with prompt notice, to the extent allowed by Law, of such requirement, and, to the extent
reasonably practicable, cooperate with Buyer to obtain a protective order or similar remedy to
cause such information not to be disclosed, including interposing all available objections thereto,
such as objections based on settlement privilege; provided, that, in the event that such protective
order or other similar remedy is not obtained, such Seller shall, or shall cause such Representative
to, furnish only that portion of such information that has been legally compelled, and shall, or shall
cause its Representative (as applicable) to, exercise its commercially reasonable efforts, at Buyer’s
expense, to obtain assurance that confidential treatment will be accorded such disclosed
information.


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        10.6 Seller Marks License. Each Seller hereby grants to Buyer and its Affiliates a
limited, non-exclusive, royalty-free, worldwide license, effective as of the Closing Date and
terminating one (1) year thereafter, to use the Seller Marks solely (a) in connection with the
Acquired Interests in the same manner, and with the same standards of quality, as used by the
Sellers immediately prior to Closing or (b) as necessary to wind down the use of, and transition
away from the use of, the Seller Marks. Buyer and its Affiliates shall use their respective
commercially reasonable efforts to wind down the use of, and transition away from the use of, the
Seller Marks reasonably promptly after the Closing Date.

        10.7 Power of Attorney. Each Seller hereby constitutes and appoints, effective as of the
Closing Date, Buyer and its successors and assigns as the true and lawful attorney of such Seller
with full power of substitution in the name of Buyer, or in the name of such Seller but for the
benefit of Buyer, (a) to collect for the account of Buyer any items of Acquired Interests and (b) to
institute and prosecute all proceedings which Buyer may in its sole discretion deem proper in order
to assert or enforce any right, title or interest in, to or under the Acquired Interests, and to defend
or compromise any and all actions, suits or proceedings in respect of the Acquired Interests. Buyer
shall be entitled to retain for its own account any amounts collected pursuant to the foregoing
powers, including any amounts payable as interest in respect thereof.

        10.8 No Successor Liability. The Parties intend that, upon the Closing, Buyer shall not
be deemed to: (a) be the successor of, or related person, successor in interest or successor employer
(as described under any applicable Law) to, any Seller or any of its Affiliates, predecessors,
successors or assigns, including, with respect to any Employee Plans, other than the Assumed
Employee Plans to the extent set forth in Section 6.8; (b) have, de facto or otherwise merged into
any Seller or any of its Affiliates, predecessors, successors or assigns; (c) be a mere continuation
or substantial continuation of any Seller or any of its Affiliates, predecessors, successors or assigns
or the enterprise(s) of any Seller or any of its Affiliates, predecessors, successors or assigns; or (d)
other than as expressly set forth in this Agreement, be liable for any acts or omissions of any Seller
or any of its Affiliates, predecessors, successors or assigns in the current or former conduct of the
business of the Sellers relating to the Acquired Interests or arising under or related to the Acquired
Interests. Without limiting the generality of the foregoing, and except as otherwise expressly
provided in this Agreement, the Parties intend that Buyer shall not be liable for any Encumbrances
(except Permitted Encumbrances (except for the Fieldwood U.A. Interests and the JV Interests,
which shall not have any Permitted Encumbrances)) against any Seller or any of its Affiliates,
predecessors, successors or assigns, and Buyer shall have no successor or vicarious liability of any
kind or character whether known or unknown as of the Closing Date, or whether fixed or
contingent, whether now existing or hereafter arising, with respect to the Acquired Interests or any
Liabilities of the Sellers arising prior to or after the Closing Date other than the Assumed Liabilities
and Permitted Encumbrances (except for the Fieldwood U.A. interests and the JV Interests, which
shall not have any Permitted Encumbrances). The Parties agree that the provisions substantially
in the form of this Section 10.8 shall be reflected in the Confirmation Order.

       10.9    Access to Records.

                (a)    On and after the Closing Date, each Seller will, and will cause its Affiliates,
successors and assigns and Representatives to, afford promptly to Buyer and its agents reasonable
access to its books of account, financial and other records (including accountant’s work papers),



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information, employees and auditors to the extent necessary or useful for Buyer in connection with
any audit, investigation, dispute or litigation or any other reasonable business purpose relating to
the Acquired Interests or the Assumed Liabilities; provided that any such access by Buyer shall
not unreasonably interfere with the conduct of the business of such Seller.

               (b)      Buyer agrees that, following the Closing, and subject to applicable Law and
any confidentiality restrictions to third parties, and except as may be necessary to protect any
applicable legal privilege, it shall (and shall cause its Subsidiaries to) give to the Sellers and their
Representatives reasonable access during normal business hours to the Records pertaining to any
and all periods prior to and including the Closing Date, to the extent useful or necessary for the
Sellers in connection with any audit, investigation, dispute or litigation relating to the Seller’s prior
ownership of the Acquired Interests or the Assumed Liabilities, as the Sellers and their
Representatives may reasonably request; provided that any such access by the Sellers shall not
unreasonably interfere with the conduct of business of Buyer.

        10.10 Payment of Assumed Liabilities. If, from and after the Closing Date, any Seller or
their respective Affiliates receives an invoice from a third party for payment of amounts that
constitute Assumed Liabilities, such Seller may deliver such invoice to Buyer for payment and
Buyer shall pay such invoice promptly and in any event within thirty (30) days of Buyer’s receipt
of such invoice from such Seller; provided, that for the avoidance of doubt, that if any such invoice
covers amounts that are not Assumed Liabilities, as well as amounts that are Assumed Liabilities,
Buyer shall only be required by this Section 10.10 to pay that portion of the amounts invoiced that
constitute Assumed Liabilities.

        10.11 Payment of Retained Liabilities. If, from and after the Closing Date, Buyer or its
Affiliates receives an invoice from a third party for payment of amounts that constitute Retained
Liabilities, Buyer may deliver such invoice to the Sellers for payment and the Sellers shall pay
such invoice promptly and in any event within thirty (30) days of the Sellers’ receipt of such
invoice from Buyer; provided, that (a) for the avoidance of doubt, that if any such invoice covers
amounts that are not Retained Liabilities, as well as amounts that are Retained Liabilities, the
Sellers shall only be required by this Section 10.11 to pay that portion of the amounts invoiced that
constitute Retained Liabilities, (b) Sellers will not be required to pay any such Retained Liability
to the extent such Retained Liability has been satisfied, compromised, settled, released or
discharged pursuant to the Plan and the Confirmation Order or is otherwise subject to a different
specified treatment pursuant to the Plan and (c) this Section 10.11 will not limit Sellers’ right to
exercise or pursue any counterclaim, right to setoff or other defense of Sellers with respect to such
Retained Liability.

        10.12 Accounts Receivables.

               (a)    On the Closing Date, Fieldwood shall deliver to Buyer a statement setting
forth the names of the obligor and the amount of each Closing Accounts Receivable (or amounts
as known as of the Closing) (as such statement may be modified or supplemented from time to
time within ninety (90) days after the Closing Date by written notice of Fieldwood to Buyer, the
“Closing Accounts Receivables Statement”).




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                 (b)    From and after the Closing until the date that is 365 days following the
Closing (the “AR Collections Period”), if Buyer so requests, Fieldwood shall collect the Closing
Accounts Receivable for the benefit of Buyer and Fieldwood shall use the same level of efforts in
the collection of the Closing Accounts Receivable that Fieldwood uses in the collection of its own
accounts receivables; provided that (i) Fieldwood may settle any Closing Accounts Receivable by
setoff (each such setoff, an “Accounts Receivable Setoff”) of any amounts owed by the obligor
thereunder against any amount that Fieldwood or any of its Subsidiaries owes to such obligor, to
the extent (A) such Accounts Receivable Setoff is permitted under applicable Law and (B)
Fieldwood delivers to Buyer (as set forth in Section 10.12(c)) an amount in cash equal to the
amount of such Closing Accounts Receivable actually collected by such Accounts Receivable
Setoff, (ii) Fieldwood must obtain the prior written consent of Buyer to settle (whether in cash or
by way of an Accounts Receivable Setoff) any Closing Accounts Receivable for an amount less
than the applicable amount set forth on the Closing Accounts Receivables Statement, (iii) without
limiting Fieldwood’s other obligations in this Agreement neither Fieldwood nor any of its
Subsidiaries shall be required to incur any out-of-pocket expenses or admit or consent to any
liability or obligation in connection with the collection of any Closing Accounts Receivable and
(iv) Fieldwood shall not have any obligation to commence any litigation or other legal proceeding
in connection with the collection of any Closing Accounts Receivable. Each Party acknowledges
that Fieldwood is making efforts to collect the Closing Accounts Receivable hereunder solely
pursuant to a contractual relationship on an arm’s length basis and that the Parties do not intend
that Fieldwood act or be responsible as a fiduciary to Buyer, any holders of Claims or any other
Person, and expressly disclaim any such fiduciary relationship, whether between or among Buyer,
on the one hand, and Fieldwood or any Seller, on the other hand. Buyer acknowledges that
Fieldwood’s obligations pursuant to this Section 10.12 (including Fieldwood Energy I’s
obligations under Section 10.12(e)) will be undertaken by Buyer pursuant to and in accordance
with the TSA. Fieldwood shall be liable to Buyer (as set forth in Section 10.12(c)) for any Closing
Accounts Receivable actually collected by Fieldwood (including as set off by Accounts Receivable
Setoff) pursuant to this Section 10.12, and shall indemnify Buyer on a dollar-for-dollar basis for
any Closing Accounts Receivable that are actually collected by Fieldwood (including as set off by
Accounts Receivable Setoff) but not paid to Buyer pursuant to Section 10.12(c). In the case of an
Accounts Receivable Setoff, the date of such Accounts Receivable Setoff shall be the earlier of (i)
the date notice of such Accounts Receivable Setoff is delivered to Buyer pursuant to this
Section 10.12(b) and (ii) the date such Accounts Receivable Setoff is reflected on the books of
Fieldwood or any of its Subsidiaries.

               (c)      Prior to the tenth (10th) calendar day following the end of each calendar
month occurring after the Closing Date and through the month in which the end of the AR
Collections Period occurs, Fieldwood shall promptly deliver the amount of any and all cash
collected in respect of Closing Accounts Receivables and the amount of any and all Accounts
Receivable Setoffs (collectively, the “Accounts Receivable Collections”) to Buyer, together with
a statement setting forth the aggregate amount of all the Accounts Receivable Collections.

               (d)    On the date that is fifteen (15) calendar days after the end of the month in
which the AR Collections Period ends, Fieldwood shall (i) deliver to Buyer a statement setting
forth (A) the names of the obligor and amount of each Closing Accounts Receivable that remains
uncollected, whether by cash or setoff (collectively, the “Remaining Accounts”); and (B) the
aggregate amount of all of the Remaining Accounts receivables; and (ii) from and after the AR


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Collections Period, Fieldwood shall have no further obligation under this Section 10.12 to make
efforts to collect the Remaining Accounts; provided, however, for the avoidance of doubt, if Buyer
so requests, Fieldwood or its Subsidiaries may elect to collect any of the Remaining Accounts after
the expiration of the AR Collections Period, and if Fieldwood so elects, Fieldwood shall pay such
amounts over to Buyer, and Fieldwood shall be liable to Buyer for, and shall indemnify Buyer on
a dollar-for-dollar basis for, any Remaining Accounts actually collected by Fieldwood pursuant to
this Section 10.12.

                 (e)    Each of the Sellers and Buyer acknowledges and agrees that in connection
with, and from and after, the consummation of the Divisive Merger, Fieldwood’s obligations and
liabilities (including indemnification obligations) under this Section 10.12 will vest in and be
allocated to Fieldwood Energy I (in the case of Closing Accounts Receivable attributable to the
FWE I Assets) or Fieldwood Energy III (in the case of Closing Accounts Receivable other than
those attributable to the FWE I Assets).

       10.13 Directors’ and Officers’ Indemnification.

                (a)      Buyer shall indemnify, defend and hold harmless (i) each individual Person
who is, as of the Closing Date, a director, officer or manager of any Seller, and (ii) Matt McCarroll
with respect to his service, prior to the Closing Date, as a director, officer or manager (as
applicable) of the Sellers (the “D&O Indemnified Parties”), against any and all Losses (including,
for the avoidance of doubt, reasonable attorneys’ fees, costs and other out-of-pocket expenses)
arising out of or relating to any threatened or actual Claim based in whole or in part on, or arising
out of or relating in whole or in part to, the fact that such individual Person is or was a director,
officer or manager of one or more of the Sellers whether based upon, arising out of or relating to
any act or omission actually or allegedly committed or attempted at or prior to the Closing Date
and whether asserted or claimed prior to, or at or after, the Closing Date, including all Claims
based in whole or in part on, or arising in whole or in part out of, or relating to this Agreement or
the transactions contemplated hereby, in each case to the full extent a Seller would be permitted
under applicable Law to indemnify its own directors, officers or managers (including payment of
expenses in advance of the final disposition of any such action or proceeding to each D&O
Indemnified Party), but only to the extent that such Losses would be indemnifiable by the Sellers
pursuant to the terms of (x) the organizational documents of the Sellers or (y) any indemnification
agreement between one or more Sellers, on the one hand, and the D&O Indemnified Party(ies)
seeking indemnification from Buyer pursuant to this Section 10.13(a), on the other hand, set forth
on Schedule 10.13(a), in each case, as such organizational documents or agreements existed on
the Petition Date (the “Existing D&O Indemnification Terms”); provided, however, that Buyer’s
obligation to indemnify and hold harmless the D&O Indemnified Parties pursuant to this Section
10.13(a) with respect to Losses associated with any Claim shall be reduced by the amount of any
recovery actually received by the applicable D&O Indemnified Party(ies) under the Tail Policy
with respect to such Claim (the “D&O Indemnified Liabilities”). A D&O Indemnified Party shall
not be entitled to make a claim against Buyer for indemnification pursuant to this Section 10.13(a)
with respect to an underlying Claim unless and until such D&O Indemnified Party has made a
claim against the Tail Policy with respect to such Claim and received a determination of coverage
available under the Tail Policy with respect thereto.




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                 (b)     Buyer acknowledges that certain D&O Indemnified Parties may have rights
to indemnification, advancement of expenses and/or insurance provided by the Sellers, but
excluding, for purposes of the definition of “Indemnitors”, the Tail Policy and the insurance
providers with respect thereto (collectively, the “Indemnitors”). Buyer hereby agrees that as
between Buyer and Sellers (i) the Tail Policy and the insurance providers with respect thereto are
the indemnitors of first resort with respect to indemnity obligations to the D&O Indemnified
Parties, (ii) Buyer’s indemnity obligations to the D&O Indemnified Parties apply only once
coverage under the Tail Policy has been exhausted upon either payment of the Tail Policy’s limits
of liability or a determination by the insurance providers thereof that coverage is unavailable with
respect to a particular Loss, (iii) the Indemnitors’ indemnity obligations to the D&O Indemnified
Parties are secondary to Buyer’s indemnity obligations to the D&O Indemnified Parties, (iv) Buyer
shall be required to advance the full amount of expenses incurred by any D&O Indemnified Party
and shall be liable for the full amount of all expenses, judgments, penalties, fines and amounts paid
in settlement to the extent legally permitted and as required by the terms of this Agreement, without
regard to any rights the D&O Indemnified Party may have against the Indemnitors, but only to the
extent that such expenses would be advanced, and such expenses, judgments, penalties, fines and
amounts paid in settlement would be payable, in each case pursuant to the Existing D&O
Indemnification Terms and (v) Buyer irrevocably waives, relinquishes and releases the
Indemnitors from any and all claims against the Indemnitors for contribution, subrogation or any
other recovery of any kind in respect thereof in respect of the matters set forth in this Section
10.13(b). Buyer further agrees that no advancement or payment by an Indemnitor on behalf of a
D&O Indemnified Party with respect to any claim for which a D&O Indemnified Party has sought
indemnification from Buyer shall affect the foregoing and the applicable Indemnitor shall have a
right of contribution and/or be subrogated to the extent of such advancement or payment to all of
the rights of recovery of the D&O Indemnified Party against Buyer. Buyer and the D&O
Indemnified Parties agree that the Indemnitors are express third party beneficiaries of the terms of
this Section 10.13.

                (c)    Without limiting Section 10.13(a), in the event a Claim is brought against
any D&O Indemnified Party (whether arising before or after the Closing Date), nothing in this
Section 10.13 shall limit the D&O Indemnified Party’s(ies’) right, to the extent provided pursuant
to the Existing D&O Indemnification Terms, to retain counsel satisfactory to him or her (and Buyer
shall (to the extent such coverage would be available pursuant to the Existing D&O
Indemnification Terms) pay the fees and expenses of such counsel (to the extent such fees and
expenses constitute D&O Indemnified Liabilities) for the D&O Indemnified Party promptly as
statements therefor are received), provided that, to the extent the D&O Indemnified Party(ies)
would retain control of any such defense pursuant to the Existing D&O Indemnification Terms,
the D&O Indemnified Party(ies) shall retain control of any such defense.

                (d)     In the event that Buyer or any of its successors or assigns (i) consolidates
with or merges into any other Person and is not the continuing or surviving corporation or entity
of such consolidation or merger; or (ii) sells, transfers or conveys to any Person or Persons acting
in concert all or substantially all of its properties and assets, or ownership of a majority of equity
representing the right to control the management of Buyer, then, and in each such case, Buyer shall
cause proper provision to be made so that the successors and assigns of Buyer shall assume all of
the obligations of Buyer set forth in this Section 10.13.



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             (e)      Each manager that is included in the D&O Indemnified Parties is identified
on Schedule 10.13(e).

        10.14 Rights of Use. The Parties recognize that, under current BSEE policy, BSEE will
recognize only a single entity as the holder of a right of use and easement (each, a “RUE”). The
Parties agree that RUE No. OCS-G 30329 covering the South Marsh Island 132 Platform B
(Complex ID 21982) shall be held by Fieldwood Energy I (upon completion of the anticipated
Divisive Merger) on behalf of both itself and Buyer; the Parties agree that, as a contractual matter
between themselves, Fieldwood Energy I and Buyer shall each own a one-half interest in such
platform and shall each be responsible for one half of the costs and obligations (for operating,
decommissioning and otherwise) relating to such platform. The Sellers and Buyer will use
commercially reasonable efforts to obtain, to the extent required by BSEE, replacement Right of
Use Agreements with respect to each Right of Use Agreement listed on Schedule 10.14 at, or as
promptly as practicable following, the Closing. The rights of the Sellers and Buyer to use, and the
obligations with respect to, any RUE listed in Part 1 of Schedule 10.14 shall be governed by the
terms of the joint operation agreements from the Lease(s) associated with such RUE.

       10.15 Post-Closing Agreements. On the date of the consummation of the transactions
contemplated by the Divisive Merger, each Seller shall, and shall cause its applicable Affiliates to,
and Buyer shall, deliver counterparts to the TSA, the SEMS Bridging Agreement, the ST 308
Performance Bond, the Farmout Agreement, and each of the Joint Operating Agreement
Amendments.

       10.16 Effective Date Payments. On the Effective Date, the Sellers will pay, or cause to
be paid, each of the Effective Date Cash Obligations that is to be paid on the Effective Date
pursuant to the Plan to the applicable payees thereof.

                                  ARTICLE XI
                    ASSUMPTION AND RETENTION OF LIABILITIES

        11.1 Buyer’s Assumption of Liabilities. Subject to the terms of this Agreement, if the
Closing occurs, Buyer shall be deemed to have assumed (and shall pay, perform and discharge)
the following Liabilities of the Sellers, as of the Closing (collectively, the “Assumed Liabilities”):

               (a)    all Liabilities to the extent arising out of the Leases and the Assigned
Contracts that are Acquired Interests, but, as to such Leases and such Assigned Contracts that
constitute Other Assets, only to the extent that such Liabilities arise after the Closing;

                (b)    all Liabilities to the extent arising out of the ownership, operation, use or
environmental condition of the Acquired Interests (other than the Leases and Assigned Contracts),
but, as to the Other Assets that are Acquired Interests, only to the extent that the acts, omissions,
events or conditions giving rise thereto first arise, occur or come into existence after the Closing;

              (c)   all Liabilities to assess, remediate, remove, transport or dispose as required
under Environmental Law any Environmental Contaminants present as of the Closing at the
Acquired Interests;




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                (d)    all Liabilities (whether arising before, at or after the Closing) to the extent
arising out of the plugging, abandonment and decommissioning of, and all related salvage, site
clearance and surface restoration activities for, any Field Assets that are Acquired Interests to the
extent required under applicable Law or the terms of the applicable Leases, but, as to such Field
Assets that constitute Other Assets, excluding any monetary fines and penalties to the extent that
such monetary fines and penalties arise from or relate to facts or conditions existing or occurring
at or before the Closing;

              (e)      all Liabilities to the extent arising out of any Imbalances attributable to the
Acquired Interests;

              (f)     all Liabilities to the extent arising out of any Suspense Funds delivered to
Buyer at the Closing but excluding Liabilities with respect to misapplication of any Suspense
Funds (or any escheat or other Laws related thereto) before the Closing;

                (g)    all Liabilities to the extent arising out of any Prepaid JOA Funds or
Undisbursed Revenue, in each case, that is delivered to Buyer at the Closing but excluding
Liabilities with respect to misapplication of Prepaid JOA Funds or Undisbursed Revenue (or any
escheat or other Laws related thereto) before the Closing;

               (h)     all Liabilities assumed by Buyer pursuant to Section 6.8;

              (i)      all Liabilities for Taxes attributable to the Acquired Interests other than the
Retained Taxes;

              (j)     all Liabilities relating to (i) any Seller Employee who becomes a
Transferred Employee, that arise at, before or after the Closing, in each case unless such claim is
(A) discharged under the Plan or (B) covered by insurance and (ii) any Employee Severance that
becomes due and payable following the Closing;

               (k)     all indemnities of Buyer under Section 1.2, Section 2.3, Section 2.4 and
Section 2.5;

               (l)     all Working Capital Liabilities;

               (m)     the D&O Indemnified Liabilities;

                (n)     all Liabilities arising out of or relating to any affirmative defenses of third
parties with respect to any Claim or cause of action assigned to Buyer pursuant to Section 1.2(h),
Section 1.2(v) and Section 1.2(qq) to the extent that if treated as Retained Liabilities such defenses
would not constitute general unsecured claims of the Sellers; and

                (o)    the Allowed FLFO Claims (as defined in the Plan) remaining following
distribution of the FLFO Distribution Amount (as defined in the Plan) pursuant to the Plan (as
modified to the extent set forth in the First Lien Exit Facility Documents (as defined in the Plan)).




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               Notwithstanding anything to the contrary herein, Assumed Liabilities shall not
include any surety bond premiums, indemnity obligations or other obligations on account of surety
bonds that were obtained by the Sellers.

        11.2 Sellers’ Retention of Liabilities. Notwithstanding anything to the contrary set forth
in this Agreement or in any other document or instrument entered into in connection with this
Agreement, the Parties expressly acknowledge and agree that Buyer is assuming only the Assumed
Liabilities and is not assuming any other Liability of any Seller. All other Liabilities of each Seller
or any of its Affiliates (or any predecessor of any Seller or any of its Affiliates or any prior owner
of all or part of their businesses and assets) shall be retained by and remain Liabilities of such
Seller and its Affiliates (all such Liabilities not being assumed being herein referred to as the
“Retained Liabilities”) including the following:

                (a)     all Liabilities arising out of the Leases and the Assigned Contracts except
those Liabilities set forth in Section 11.1(a);

               (b)     all Liabilities arising out of the plugging, abandonment and
decommissioning of, and all related salvage, site clearance and surface restoration activities for,
any assets, properties or leases, except those Liabilities set forth in Section 11.1(d);

               (c)     all Liabilities relating to the presence of Environmental Contaminants,
except those Liabilities set forth in Section 11.1(c);

               (d)     [reserved];

              (e)    all current liabilities of the Sellers and their Subsidiaries, including all
expenses and accounts, notes and other payables (other than the Working Capital Liabilities);

               (f)     all Liabilities arising out of the ownership, operation, use or environmental
condition of the Acquired Interests (other than Leases and Assigned Contracts) prior to or as of
the Closing, except those liabilities set forth in Section 11.1(b);

              (g)      all indebtedness, whether or not encumbering all or any portion of the
Acquired Interests (other than the Working Capital Liabilities);

             (h)     all Liabilities arising out of any Suspense Funds, Undisbursed Revenue and
Prepaid JOA Funds (except for those Liabilities described in Sections 11.1(f) and Section 11.1(g));

               (i)     [reserved];

             (j)       all Liabilities arising out of or relating to the Decommissioning Agreement
and Apache PSA;

              (k)    all Liabilities related to, resulting from or otherwise arising out of or relating
to any Excluded Assets (other than the Working Capital Liabilities);

               (l)     all Liabilities arising out of or relating to any Seller’s breach of this
Agreement;



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                (m)     all Liabilities for (a) Taxes of the Sellers or Taxes relating to the Acquired
Interests (other than Fieldwood U.A. Interests) or the Assumed Liabilities with respect to any Pre-
Closing Tax Period (including Property-Related Taxes and Production Taxes that are allocated to
the Pre-Closing Tax Period pursuant to Section 6.12), (b) Taxes imposed on Fieldwood U.A. or
Fieldwood Mexico or any Subsidiary thereof, or for which Fieldwood U.A. or Fieldwood Mexico
or any Subsidiary thereof may otherwise be liable, with respect to any Pre-Closing Tax Period; (c)
Taxes imposed on Fieldwood U.A. or Fieldwood Mexico or any Subsidiary thereof, or for which
Fieldwood U.A. or Fieldwood Mexico or any Subsidiary thereof may otherwise be liable, as a
result of having been a member of any Company Group; and (d) Transfer Taxes solely to the extent
such Transfer Taxes are the responsibility of the Sellers pursuant to Section 6.12 (the “Retained
Taxes”);

               (n)     all Liabilities for non-compliance by the Sellers or Buyer (or any of their
respective Affiliates) with any bulk sales, bulk transfer or similar Law;

               (o)     all Liabilities relating to any current or former independent contractor of
any Seller or any of its Affiliates or any Seller Employee or other current or former employee of
any Seller or any of its Affiliates who does not become a Transferred Employee, that arise at,
before or after the Closing (except for those Liabilities assumed by Buyer pursuant to Section
6.8(c));

                (p)    all Liabilities arising out of or relating to any Claim with respect to facts
and circumstances existing prior to the Closing, including Liabilities for any fines or penalties
relating thereto, except (i) as provided in Section 11.1(b) through Section 11.1(h) and (ii) any
affirmative defenses of third parties with respect to any Claim or cause of action assigned to Buyer
pursuant to Section 1.2(h), Section 1.2(v) and Section 1.2(qq) except to the extent that if treated
as Retained Liabilities such defenses would constitute general unsecured claims of the Sellers;

             (q)       all Liabilities relating to an Employee Plan that is not an Assumed
Employee Plan;

               (r)    Liabilities satisfied, compromised, settled, released or discharged pursuant
to the Plan and the Confirmation Order; and

               (s)     all Effective Date Cash Obligations.

Notwithstanding anything contained in this Section 11.2 or elsewhere in this Agreement or any
Ancillary Document, Assumed Liabilities shall include all Fieldwood Energy I Closing Accounts
Payable.

       11.3 Reservation as to Third Persons. Nothing herein is intended to limit or otherwise
waive any recourse Buyer or the Sellers may have against any Third Person for any Liabilities that
may be incurred with respect to the Acquired Interests.




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                                         ARTICLE XII
                                       MISCELLANEOUS

        12.1 Expenses. Except as otherwise specifically provided herein or in any order of the
Bankruptcy Court, all fees, costs and expenses (including engineering, land, title, legal,
accounting, consulting and other professional fees, costs and expenses) incurred by Buyer, Buyer
2 or the Sellers in negotiating this Agreement, the Ancillary Documents or in consummating the
transactions contemplated herein or therein shall be paid by the Party incurring the same whether
or not the Closing shall have occurred. Buyer shall be solely responsible and pay for all recording
fees related to the transfer of the Acquired Interests; provided that if any such recording fees are
required to be paid prior to the Closing the Sellers shall pay such recording fees when due.

        12.2 Notices. All notices and communications required or permitted to be given
hereunder (each, a “Notice”) shall be in writing and shall be delivered personally, or sent by
certified U.S. mail, postage prepaid with return receipt requested, bonded overnight courier, by
facsimile or email transmission (provided any such facsimile or email transmission is confirmed
either orally or by written confirmation), addressed to the appropriate Party at the address for such
Party shown below:

 If to Buyer or Buyer 2:                           If to the Sellers:

 [__]                                              c/o Fieldwood Energy LLC
                                                   2000 W. Sam Houston Pkwy. S., Suite 1200
                                                   Houston, Texas 77042
                                                   Attention: Mike Dane
                                                              Thomas R. Lamme
                                                              Jon Graham
                                                   Email:     MDane@fwellc.com
                                                              TLamme@fwellc.com
                                                   JGraham@fwellc.com


 with a copy (which will not constitute notice)    with a copy (which will not constitute notice)
 to:                                               to:

 Davis Polk & Wardwell LLP                         Weil, Gotshal & Manges LLP
 450 Lexington Avenue                              200 Crescent Court, Suite 300
 New York, New York 10017                          Dallas, Texas 75201
 Attention: Damian Schaible                        Attention: Rodney L. Moore
            Natasha Tsiouris                                  Samuel C. Peca
            Cheryl Chan                                       Matt Barr
 Email:     damian.schaible@davispolk.com                     Alfredo R. Perez
            natasha.tsiouris@davispolk.com                    Jessica Liou
            cheryl.chan@davispolk.com              Email:     rodney.moore@weil.com
                                                              samuel.peca@weil.com
                                                              matt.barr@weil.com
                                                              alfredo.perez@weil.com



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 If to Buyer or Buyer 2:                           If to the Sellers:

                                                               jessica.liou@weil.com

Any Notice given in accordance herewith shall be deemed to have been given and received upon:
(a) if by personal delivery, then upon receipt (except, if a Notice is received at or after 5:00 p.m.
Central Time or on a day that is not a Business Day, it shall be deemed received on the next
Business Day), (b) if sent by U.S. certified mail, postage prepaid, return receipt requested, then
the date shown as received on the return notice, (c) if sent by facsimile or email transmission, the
date such facsimile or email transmission is confirmed either orally or by written confirmation, or
(d) if by bonded overnight courier, the date shown on the notice of delivery. Any Party may change
the address, facsimile number or email address to which Notices are to be addressed by giving
written notice to the other Party in the manner provided in this Section 12.2.

        12.3 Amendments. Except as set forth in Section 1.2, Section 2.1, Section 2.3(b),
Section 2.4, Section 2.6 and Section 6.7, this Agreement, including all Exhibits and Schedules
hereto, may be amended or modified only by an agreement in writing executed by all of the Parties.

        12.4 Waiver. No Party shall be deemed to have waived or discharged any claim arising
out of this Agreement, or any power, right, privilege, remedy or condition under this Agreement,
unless the waiver or discharge of such claim, power, right, privilege, remedy or condition is
expressly set forth in a written instrument duly executed and delivered by the Party against whom
the waiver or discharge is sought to be enforced. A waiver or discharge made on one occasion or
a partial waiver or discharge of any power, right, privilege, remedy or condition shall not preclude
any other or further exercise or enforcement of such power, right, privilege or remedy or
requirement to satisfy such condition. Except as expressly provided otherwise in this Agreement,
the rights of each Party under this Agreement shall be cumulative, and the exercise or partial
exercise of any such right shall not preclude the exercise of any other right.

        12.5 No Third-Party Beneficiaries. Nothing in this Agreement entitles any Person other
than Buyer, Buyer 2 and the Sellers, including Fieldwood Energy I and GOM Shelf and their
Subsidiaries, to any claims, remedy or right of any kind; provided, however, (a) the D&O
Indemnified Parties are intended to be, and shall be, third party beneficiaries of Section 10.12, (b)
the Non-Recourse Parties are intended to be, and shall be, third party beneficiaries of Section 12.14
and (c) the Seller Indemnified Parties are intended to be, and shall be, third party beneficiaries of
the rights of Seller Indemnified Parties specified in Article XIII. From and after the establishment
of the Liquidating Trust, the Liquidating Trustee shall be a third party beneficiary of the Sellers’
rights under this Agreement.

       12.6    Assignment.

               (a)     Subject to Section 12.6(b), neither this Agreement nor any rights, interests
or obligations hereunder shall be assigned by any Party by operation of Law or otherwise without
the other Party’s express written consent (which may be granted or withheld in the sole discretion
of such other Party); provided, however, that Buyer and Buyer 2 shall be permitted, upon notice to
the Sellers, to assign all or part of its respective rights or obligations hereunder (including
obligations related to the Assumed Liabilities) to any wholly-owned Subsidiary of NewCo (as



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defined in the Plan) and the Sellers may assign their respective rights and obligations under this
Agreement to any liquidating trust or other similar representative of the Sellers created or
appointed pursuant to a Bankruptcy Court order. Notwithstanding the foregoing, no assignment
of any rights hereunder shall relieve the assigning Party of any obligations or responsibilities
hereunder.

               (b)      If a Liquidating Trust is established, from and after the formation of the
Liquidating Trust, subject to the terms of the Confirmation Order, all rights and obligations of the
Sellers under this Agreement shall accrue to and be for the benefit of and shall be exercisable by
the Liquidating Trust, as provided by any order of the Bankruptcy Court and the Liquidating
Trustee shall be entitled to exercise all of the rights of the Sellers under this Agreement.

        12.7 Counterparts. This Agreement and any amendment hereto may be executed by
Buyer, Buyer 2 and the Sellers in any number of counterparts, each of which shall be deemed an
original instrument, but all of which together shall constitute but one and the same agreement.
Notwithstanding anything to the contrary in Section 12.2, delivery of an executed counterpart of a
signature page to this Agreement or any amendment hereto by telecopier, facsimile or email
attachment that contains a portable document format (.pdf) file of an executed signature shall be
effective as delivery of a manually executed counterpart of this Agreement or such amendment, as
applicable.

       12.8    Governing Law; Jurisdiction; Venue; Jury Trial.

               (a)    Except to the extent the mandatory provisions of the Bankruptcy Code
apply, this Agreement and all claims or causes of action (whether in contract or tort) that may be
based upon, arise out of or relate to this Agreement or the negotiation, execution, termination,
performance or non-performance of this Agreement, or any Ancillary Document (unless such
Ancillary Document provides for the application of the laws of another jurisdiction) shall be
governed by, and construed in accordance with, the laws of the State of New York applicable to
contracts made and to be performed entirely in such state without regard to principles of conflicts
or choice of laws or any other law that would make the laws of any other jurisdiction other than
the State of New York applicable hereto.

               (b)      Without limitation of any Party’s right to appeal any order of the
Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the terms
of this Agreement and to decide any claims or disputes which may arise or result from, or be
connected with, this Agreement, any breach or default hereunder, or the transactions contemplated
hereby and (ii) any and all claims relating to the foregoing shall be filed and maintained only in
the Bankruptcy Court, and the Parties hereby consent and submit to the exclusive jurisdiction and
venue of the Bankruptcy Court and irrevocably waive the defense of an inconvenient forum to the
maintenance of any such Claim; provided, however, that, if the Bankruptcy Cases have been closed
pursuant to Section 350(a) of the Bankruptcy Code (or in the event that the Bankruptcy Court
determines that it does not have jurisdiction), all Claims arising out of or relating to this Agreement
shall be heard and determined in a New York state court or a federal court sitting in the Borough
of Manhattan, New York, New York, and the Parties hereby irrevocably submit to the exclusive
jurisdiction and venue of such courts in any such Claim and irrevocably waive the defense of an




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inconvenient forum to the maintenance of any such Claim. The Parties consent to service of
process by mail (in accordance with Section 12.2) or any other manner permitted by Law.

           (c) THE PARTIES HEREBY IRREVOCABLY WAIVE ALL RIGHT TO
TRIAL BY JURY IN ANY CLAIM OR COUNTERCLAIM (WHETHER BASED IN
CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR THE NEGOTIATION, EXECUTION, TERMINATION, PERFORMANCE
OR NON-PERFORMANCE OF THIS AGREEMENT, OR ANY ANCILLARY DOCUMENT
(UNLESS SUCH ANCILLARY DOCUMENT PROVIDES OTHERWISE).

       12.9 Entire Agreement. This Agreement (including the Exhibits, Schedules and
Disclosure Schedules), the Ancillary Documents and the Plan constitute the entire agreement
between the Parties with respect to the subject matter hereof and supersede all negotiations, prior
discussions and prior agreements and understandings relating to such subject matter. In the event
of any conflict between this Agreement, any Ancillary Document and the Plan, this Agreement
will control.

         12.10 Binding Effect. This Agreement shall be binding in all respects against (a) the
Sellers and all of their successors and permitted assigns (including, for the avoidance of doubt, any
trustee, examiner or other fiduciary appointed in the Bankruptcy Case) and (b) Buyer, Buyer 2 and
all of their respective successors and permitted assigns.

       12.11 Time of the Essence. Time is of the essence for this Agreement.

       12.12 No Partnership; No Fiduciary Duty. This Agreement shall not create and it is not
the purpose or intention of the Parties to create any partnership, mining partnership, joint venture,
general partnership or other partnership relationship and none shall be inferred. Nothing in this
Agreement shall be construed to establish a fiduciary relationship between the Parties for any
purpose.

        12.13 Obligations of the Sellers. The Liabilities, obligations, representations, warranties
and covenants of the Sellers in this Agreement and in the Ancillary Documents are solidary (as
that term is used under Louisiana law) and joint and solidary (as that phrase is used under Texas
law). Fieldwood shall cause each other Seller to comply with such Seller’s obligations under this
Agreement, including with respect to the transfer and assignment of the Acquired Interests and
Assumed Liabilities and the obligations in Section 6.1.

         12.14 No Recourse. Notwithstanding anything that may be expressed or implied in this
Agreement or any Ancillary Document, each Party, on behalf of itself and its Affiliates and their
respective representatives, covenants, agrees and acknowledges that no Person other than the
Parties (and their respective successors or assignees, as applicable) has any obligation hereunder
and that, neither any Party, their respective Affiliates or their respective representatives, shall have
any right of recovery under this Agreement or any Ancillary Document against, and no personal
liability under this Agreement or any Ancillary Document shall attach to, any Party’s former,
current or future debt or equity financing sources, equity holders, controlling Persons, directors,
officers, employees, general or limited partners, members, managers, Affiliates or agents, or any
former, current or future equity holder, controlling Person, director, officer, employee, general or



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limited partner, member, manager, Affiliate or agent of any of the foregoing (collectively, each of
the foregoing but not including the Parties, a “Non-Recourse Party”), whether by or through
attempted piercing of the corporate, limited partnership or limited liability company veil, by or
through a claim by or on behalf of any Party against any Non-Recourse Party, by the enforcement
of any assessment or by any legal or equitable proceeding, by virtue of any applicable Law,
whether in contract, tort or otherwise. Without limiting the foregoing, no past, present or future
director, officer, employee, incorporator, member, partner, stockholder, Affiliate, agent, attorney
or representative of the Sellers or any of their Affiliates shall have any liability for any obligations
or liabilities of the Sellers under this Agreement of or for any Claim based on, in respect of, or by
reason of, the transactions contemplated hereby.

         12.15 Disclosure Schedules. All references to Schedules in Article IV and Article V of
this Agreement are referred to in this Section 12.15 as “Disclosure Schedules”. The information
in the Disclosure Schedules constitutes exceptions, qualifications and/or supplements to particular
representations or warranties of the Sellers, Buyer and Buyer 2 as set forth in this Agreement. The
Disclosure Schedules shall not be construed as indicating that any disclosed information is required
to be disclosed, and no disclosure shall be construed as an admission that such information is
material to, outside the ordinary course of business of, or required to be disclosed by, the Sellers,
Buyer or Buyer 2 or constitutes, individually or in the aggregate, a Material Adverse Effect.
Capitalized terms used in the Schedules that are not defined therein and are defined in this
Agreement shall have the meanings given to them in this Agreement. The captions contained in
the Schedules are for the convenience of reference only, and shall not be deemed to modify or
influence the interpretation of the information contained in the Disclosure Schedules or this
Agreement. The statements in each Schedule of the Disclosure Schedules qualify and relate to the
corresponding provisions in the Sections of this Agreement to which they expressly refer and to
each other Section in Article IV or Article V of this Agreement to which the applicability of a
statement or disclosure in a particular Schedule of the Disclosure Schedules is readily apparent on
its face.

       12.16 Other Contract Interpretation.

               (a)     Headings. The headings of the Exhibits, Schedules, Articles, Sections, and
subsections of this Agreement are for guidance and convenience of reference only and shall not
limit or otherwise affect any provision of this Agreement. All references in this Agreement to any
“Section,” “Article,” “Annex,” “Exhibit,” or “Schedule” are to the corresponding Section, Article,
Annex, Exhibit or Schedule of this Agreement unless otherwise specified (subject to
Section 12.15).

               (b)     Severability. If any provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of Law or public policy, it shall not affect the validity or
enforceability of the other provisions here and all other provisions of this Agreement shall
nevertheless remain in full force and effect. Upon such determination that any provision is invalid,
illegal or incapable of being enforced, the Parties shall negotiate in good faith to modify this
Agreement so as to effect the original intent of the Parties as closely as possible in an acceptable
manner to the end that the transactions contemplated hereby fulfilled to the greatest extent possible.




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                (c)     Agreement Not to Be Construed Against Drafter. The Parties have
participated jointly in negotiating and drafting this Agreement. In the event that an ambiguity or
a question of intent or interpretation arises, both this Agreement and the Ancillary Documents will
be construed as if drafted jointly by the Parties. No presumption or burden of proof will arise
favoring or disfavoring any Party by virtue of the authorship of any provision of this Agreement
or any Ancillary Document.

                (d)     Miscellaneous Interpretation. When calculating the period of time before
which, within which or following which any act is to be done or step taken pursuant to this
Agreement, the date that is the reference date in calculating such period shall be excluded. If the
last day of such period is a day other than a Business Day, the period in question shall end on the
next succeeding Business Day. Whenever the words “include,” “includes” or “including” are used
in this Agreement, they will be deemed to be followed by the words “without limitation” and shall
not be construed to limit any general statement that it follows to the specific or similar items or
matters immediately following. Unless the context otherwise requires, (1) “or” is disjunctive but
not exclusive, (2) words in the singular include the plural and vice versa, (3) the words “herein,”
“hereof,” “hereby,” “hereunder” and words of similar nature refer to this Agreement as a whole
and not to any particular subdivision unless expressly so limited, (4) the use in this Agreement of
a pronoun in reference to a Party or Person includes the masculine, feminine or neuter, as the
context may require, (5) reference to any Person includes the successors and permitted assigns of
that Person, (6) any reference in this Agreement to “$” means United States dollars, (7) and
reference in this Agreement to “days” (but not “Business Days”) means to calendar days, (8)
reference to any law in this Agreement means such law as amended, modified, codified, reenacted,
supplemented or superseded in whole or in part, and in effect from time to time together with any
rules or regulations promulgated thereunder, (9) any reference in this Agreement to “related to”,
“relating to” or a similar phrase, in each case, in respect of the business of the Sellers, the Acquired
Interests, or any other matter means, unless the context otherwise requires, “related in whole or
in part to”, “relating in whole or in part to” or a similar construction in the case of a similar
phrase, as applicable, and (10) any reference in this Agreement to “transactions contemplated by
this Agreement” or words of similar import includes the transactions contemplated by the other
Ancillary Documents except as the context may otherwise require. The Annex, Schedules and
Exhibits attached to this Agreement are deemed to be part of this Agreement and included in any
reference to this Agreement. If the deadline for performance falls on a day that is not a Business
Day, then the actual deadline for performance will be the next succeeding day that is a Business
Day.

                                     ARTICLE XIII
                            SURVIVAL AND INDEMNIFICATION

       13.1    Survival; Limited Recourse Against Sellers.

                (a)     The representations and warranties of the Sellers, Buyer and Buyer 2
contained herein and in any certificate or other writing delivered by the Sellers pursuant hereto,
including any representation or warranty that may be deemed to be made pursuant to Section 1.1
with respect to the Acquired Interests being acquired by Buyer or Buyer 2 free and clear of any
and all Encumbrances (other than Permitted Encumbrances (except that the Fieldwood U.A.
Interests and the JV Interests shall not be subject to any Permitted Encumbrances)), shall terminate



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upon and not survive the Closing and there shall be no liability (whether arising in contract, tort
or otherwise, or whether at law or in equity, and regardless of the legal theory under which any
entitlement, remedy or recourse may be sought or imposed (including all rights afforded by any
statute which limits the effects of a release with respect to unknown claims)) thereafter in respect
thereof. Nothing herein shall limit Buyer’s or Buyer 2’s remedies in the event of Fraud, except
that Buyer and Buyer 2 shall have no remedy in the event of Fraud with respect to Fieldwood
Energy I, FW GOM Pipeline, GOM Shelf or any of their respective Subsidiaries. Each of the
covenants of the Sellers, Buyer and Buyer 2 contained in this Agreement shall terminate upon the
Closing except to the extent that performance under such covenant is to take place after Closing,
in which case such covenant shall survive the Closing until the earlier of (i) performance of such
covenant in accordance with this Agreement or (ii) the expiration of applicable statute of
limitations with respect to any claim for any failure to perform such covenant (for clarity, any
covenant that may be deemed to be made pursuant to Section 1.1 with respect to the Acquired
Interests being acquired by Buyer or Buyer 2 free and clear of any and all Encumbrances (other
than Permitted Encumbrances (except that the Fieldwood U.A. Interests and the JV Interests shall
not be subject to any Permitted Encumbrances) shall terminate upon Closing)). The intended effect
of termination of representations, warranties, covenants and agreements is to bar, from and after
the date of termination, any claim or cause of action based on (x) the alleged inaccuracy of such
representation or breach of such warranty or (y) an alleged breach or failure to fulfill such covenant
or agreement; provided that if a written notice of any claim with respect to any covenant to be
performed after Closing is given prior to the expiration of such covenant then such covenant shall
survive until, but only for purposes of, the resolution of such claim by final, non-appealable
judgment or settlement.

                (b)     Neither Buyer nor Buyer 2 shall have any recourse against any Person who
is not a party to this Agreement (excluding any successor or assign of any Seller), including any
Affiliate of any Seller or any lender or creditor of any Seller from and after Closing for any Losses
relating to the Acquired Interests or this Agreement (including with respect to title and
environmental matters) or the Sellers’ breach of any representations and warranties, covenants or
other provision of this Agreement. In addition, each of Buyer and Buyer 2 agree to the terms,
conditions and limitations set forth in Section 1.5.

               (c)    No Seller shall have any recourse against any Person who is not a party to
this Agreement (excluding any successor or assign of Buyer or Buyer 2), including any Affiliate
of Buyer or Buyer 2 or any lender or creditor of Buyer or Buyer 2 from and after Closing for any
Losses relating to the Acquired Interests or this Agreement (including with respect to title and
environmental matters) or Buyer or Buyer 2’s breach of any representations and warranties,
covenants or other provision of this Agreement.

               (d)    For the avoidance of doubt, nothing in this Agreement shall prohibit the
Sellers from ceasing operations or winding up their respective affairs following the Closing.

        13.2 Indemnification by Buyer. From and after Closing, Buyer hereby agrees to
indemnify and hold each Seller, Fieldwood Energy I, GOM Shelf, and each of their successors,
their Affiliates and all of their respective officers, managers, directors, employees, equity owners
and agents (collectively, the “Seller Indemnified Parties”) harmless from and against any and all




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Liabilities (including reasonable attorneys’ fees and costs incurred in connection therewith) based
upon, attributable to or resulting from:

               (a)     the Fieldwood Energy I Closing Accounts Payable; and

               (b)     all Assumed Liabilities to the extent associated with the Co-Owned Assets
that are Acquired Interests.

       13.3    Indemnification Procedures.

                (a)     In the event that any proceedings shall be instituted or that any claim or
demand shall be asserted by any Indemnified Party in respect of which indemnity may be sought
under this Agreement (an “Indemnification Claim”), the Indemnified Party shall reasonably and
promptly cause written notice of the assertion of any Indemnification Claim of which it has
knowledge which is covered by such indemnity to be provided to the Indemnifying Party. Such
notice shall set forth in reasonable detail such Indemnification Claim and the basis for
indemnification. The failure to so notify the Indemnifying Party shall not relieve the Indemnifying
Party of its obligation hereunder, except to the extent such failure shall have actually prejudiced
the Indemnifying Party. The Indemnifying Party shall have the right, at its sole option and
expense, to be represented by counsel of its choice, and to appoint lead counsel for and control,
defend against, negotiate, settle or otherwise deal with any Indemnification Claim which relates to
any Losses indemnified against hereunder. If the Indemnifying Party elects to appoint lead counsel
for and control, defend against, negotiate, settle or otherwise deal with any Indemnification Claim
which relates to any Losses indemnified against hereunder, it shall within thirty (30) days of receipt
of the Indemnification Claim notify the Indemnified Party of its intent to do so. If the Indemnifying
Party elects not to appoint lead counsel for and control, defend against, negotiate, settle or
otherwise deal with any Indemnification Claim which relates to any Losses indemnified against
hereunder, the Indemnified Party may control, defend against, negotiate, settle or otherwise deal
with such Indemnification Claim. If the Indemnifying Party shall assume the control of the defense
of any Indemnification Claim, the Indemnified Party may participate, at his or its own expense, in
the defense of such Indemnification Claim; provided, however, that such Indemnified Party shall
be entitled to participate in any such defense with separate counsel at the expense of the
Indemnifying Party if (i) so requested by the Indemnifying Party to participate or (ii) in the
reasonable opinion of counsel to the Indemnified Party a conflict or potential conflict exists
between the Indemnified Party and the Indemnifying Party that would make such separate
representation advisable; and provided, further, that the Indemnifying Party shall not be required
to pay for more than one (1) such counsel for all Indemnified Parties in connection with any
Indemnification Claim. The Parties agree to cooperate fully with each other in connection with
the defense, negotiation or settlement of any such Indemnification Claim. Notwithstanding
anything in this Section 13.3 to the contrary, if the Indemnifying Party shall assume the control of
the defense of any Indemnification Claim, the Indemnifying Party shall not, without the written
consent of the Indemnified Party (which shall not be unreasonably withheld, conditioned or
delayed), settle or compromise any Indemnification Claim or consent to entry of any judgment
unless the claimant provides to the Indemnified Party an unqualified release from all liability in
respect of the Indemnification Claim. If the Indemnifying Party makes any payment on any
Indemnification Claim, the Indemnifying Party shall be subrogated, to the extent of such payment,




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to all rights and remedies of the Indemnified Party to any insurance benefits or other claims of the
Indemnified Party with respect to such Indemnification Claim.

                (b)     After any final decision, judgment or award shall have been rendered by a
Governmental Authority of competent jurisdiction and the expiration of the time in which to appeal
therefrom, or a settlement shall have been consummated, or the Indemnified Party and the
Indemnifying Party shall have arrived at a mutually binding agreement with respect to an
Indemnification Claim hereunder, the Indemnified Party shall forward to the Indemnifying Party
notice of any sums due and owing by the Indemnifying Party pursuant to this Agreement with
respect to such matter. In the case of an Indemnification Claim that does not involve a third-party
claim, if the Indemnifying Party does not notify the Indemnified Party within thirty (30) days
following the receipt of a notice with respect to any such claim that the Indemnifying Party disputes
its indemnity obligation to the Indemnified Party for any Losses with respect to such claim, such
Losses shall be conclusively deemed a liability of the Indemnifying Party and the Indemnifying
Party shall promptly pay to the Indemnified Party any and all Losses arising out of such claim. If
the Indemnifying Party has timely disputed its indemnity obligation for any Losses with respect to
such claim, the parties shall proceed in good faith to negotiate a resolution of such dispute and, if
not resolved through negotiations, such dispute shall be resolved by litigation in an appropriate
court of jurisdiction determined pursuant to Section 12.8.

                (c)   The amount of any Losses payable by the Indemnifying Party shall be net
of any (i) amounts recovered or recoverable by the Indemnified Party under applicable insurance
policies or from any other Person alleged to be responsible therefor, and (ii) Tax benefit actually
realized by the Indemnified Party arising from the incurrence or payment of any such Losses in
the taxable year such Loss was incurred. If the Indemnified Party receives any amounts under
applicable insurance policies, or from any other Person alleged to be responsible for any Losses,
subsequent to an indemnification payment by the Indemnifying Party, then such Indemnified Party
shall promptly reimburse the Indemnifying Party for any payment made or expense incurred by
such Indemnifying Party in connection with providing such indemnification payment up to the
amount received by the Indemnified Party, net of any expenses incurred by such Indemnified Party
in collecting such amount.

              (d)     The Indemnifying Party shall not be liable for any (i) consequential
damages (but, for the avoidance of doubt, without limiting liability for direct damages), (ii)
punitive damages or (iii) Losses for lost profits.

                (e)     Each Indemnified Party must mitigate in accordance with applicable Law
any loss for which such Indemnified Party seeks indemnification under this Agreement. If such
Indemnified Party mitigates its loss after the Indemnifying Party has paid the Indemnified Party
under any indemnification provision of this Agreement in respect of that loss, the Indemnified
Party must notify the Indemnifying Party and pay to the Indemnifying Party the extent of the value
of the benefit to the Indemnified Party of that mitigation (less the Indemnified Party’s reasonable
costs of mitigation) within two (2) Business Days after the benefit is received.

              (f)     Each Indemnified Party shall use reasonable efforts to collect any amounts
available under insurance coverage, or from any other Person alleged to be responsible, for any
Losses payable under an indemnity in this Agreement.



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            (g)  Express Negligence. THE INDEMNIFICATION, RELEASE, ASSUMED
LIABILITIES, RETAINED LIABILITIES, WAIVER AND LIMITATION OF LIABILITY
PROVISIONS PROVIDED FOR IN THIS AGREEMENT SHALL BE APPLICABLE
WHETHER OR NOT THE LIABILITIES, LOSSES, COSTS, EXPENSES AND DAMAGES IN
QUESTION AROSE OR RESULTED SOLELY OR IN PART FROM THE SOLE, ACTIVE,
PASSIVE, CONCURRENT OR COMPARATIVE NEGLIGENCE, STRICT LIABILITY OR
OTHER FAULT OR VIOLATION OF LAW OF OR BY ANY INDEMNIFIED PARTY.

                (h)    Tax Treatment of Indemnity Payments. The Sellers, Buyer and Buyer 2
agree to treat any indemnity payment made pursuant to this Agreement as an adjustment to the
Consideration for federal, state, local and foreign income tax purposes. Any indemnity payment
under this Agreement shall be treated as an adjustment to the value of the asset upon which the
underlying Indemnification Claim was based, unless a final determination (within the meaning of
Section 1313 of the Code) with respect to the Indemnified Party or any of its Affiliates causes any
such payment not to be treated as an adjustment to the value of the asset for United States federal
income tax purposes.

                (i)     Sole and Exclusive Remedy. Except for any post-Closing payment
expressly contemplated by this Agreement or any claim for a breach of a Party’s covenants
hereunder (to the extent not limited by Section 13.1(a)) or for Fraud (but not Fraud with respect to
Fieldwood Energy I, FW GOM Pipeline, GOM Shelf or any of their respective Subsidiaries), the
remedies provided in this Article XIII and in Section 8.3 shall be the sole and exclusive legal and
equitable remedies of the Parties, from and after the Closing, with respect to this Agreement and
the transactions contemplated hereby, and no Person will have any other entitlement, remedy or
recourse, whether in contract, tort or otherwise, or whether at law or in equity, and regardless of
the legal theory under which such entitlement, remedy or recourse may be sought or imposed
(including all rights afforded by any statute which limits the effects of a release with respect to
unknown claims), it being agreed that all of such other remedies, entitlements and recourse are
expressly waived and released by the Parties to the fullest extent permitted by law.

                                    [Signature page follows.]




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        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Execution
Date.

                                         SELLERS:

                                         Fieldwood Energy Inc.

                                         By:
                                         Name:
                                         Title:

                                         Fieldwood Energy LLC

                                         By:
                                         Name:
                                         Title:

                                         Dynamic Offshore Resources NS, LLC

                                         By:
                                         Name:
                                         Title:

                                         Fieldwood Energy Offshore LLC

                                         By:
                                         Name:
                                         Title:

                                         Fieldwood Onshore LLC

                                         By:
                                         Name:
                                         Title:

                                         Fieldwood SD Offshore LLC

                                         By:
                                         Name:
                                         Title:




SIGNATURE PAGE TO
PURCHASE AND SALE AGREEMENT
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                                   Fieldwood Offshore LLC

                                   By:
                                   Name:
                                   Title:

                                   FW GOM Pipeline, Inc.

                                   By:
                                   Name:
                                   Title:

                                   GOM Shelf LLC

                                   By:
                                   Name:
                                   Title:

                                   Bandon Oil and Gas GP, LLC

                                   By:
                                   Name:
                                   Title:

                                   Bandon Oil and Gas, LP

                                   By:
                                   Name:
                                   Title:

                                   Fieldwood Energy SP LLC

                                   By:
                                   Name:
                                   Title:

                                   Galveston Bay Pipeline LLC

                                   By:
                                   Name:
                                   Title:




SIGNATURE PAGE TO
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                                   Galveston Bay Processing LLC

                                   By:
                                   Name:
                                   Title:

                                   BUYER:

                                   [___________]

                                   By:
                                   Name:
                                   Title:

                                   BUYER 2:

                                   [___________]

                                   By:
                                   Name:
                                   Title:




SIGNATURE PAGE TO
PURCHASE AND SALE AGREEMENT
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                                              Annex I

                                             Definitions

The following terms and expressions shall have the following meanings:

      “1933 Act” means the Securities Act of 1933, as amended, and the rules and regulations as
promulgated thereunder.

       “365 Contracts” means all Applicable Contracts and other executory contracts and
unexpired leases to which a Seller is a party that relate to the Acquired Interests, in each case that
may be assumed by one or more Sellers pursuant to Section 365 of the Bankruptcy Code.

        “365 Schedule” is defined in Section 6.7(a).

       “Accounts Receivable Collections” is defined in Section 10.12(c).

       “Accounts Receivable Setoff” is defined in Section 10.12(b).

       “Acquired Interests” is defined in Section 1.2.

        “Affiliate” means, with respect to a Person, any other Person that, as of the relevant time
for which the determination of affiliation is made, directly or indirectly controls, is controlled by,
or is under common control with, such Person. For purposes of this definition, the term “control”
means the possession, directly or indirectly, of the power to direct or cause the direction of the
management and policies of a Person, whether through ownership of voting securities, contract,
voting trust, membership in management or in the group appointing or electing management or
otherwise through formal or informal arrangements or business relationships.

       “Agent” is defined in the recitals.

        “Agreement” is defined in the preamble and includes all annexes, schedules and exhibits
hereto, as well as all supplements, amendments and restatements hereof.

       “Allocated Value” means the value allocated to the applicable Acquired Interest, if any, as
agreed in good faith by Buyer and the Sellers.

       “Allowed Priority Tax Claim” has the meaning set forth in the Plan.

       “Allowed Specified Administrative Expense Claims” has the meaning set forth in the Plan.

       “Alternative Bidder” is defined in Section 6.4(b).

         “Alternative Transaction” means (a) any sale, transfer or other disposition of all or a
material portion of the Acquired Interests or (b) any series of sales, transfers or other dispositions
of any portion of the Acquired Interests that, when taken collectively, constitutes a disposition of
all or a material portion of the Acquired Interests, in each case, to any Person or Persons other than
Buyer.
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       “Ancillary Documents” means each Assignment, Bill of Sale and Conveyance, the
Assignment and Assumption Agreement, the Office Assets Conveyance, the TSA, the Farmout
Agreement, the ST 308 Performance Bond, the SEMS Bridging Agreement, the Assignment of
Leases and Subleases, the Joint Operating Agreement Amendments, the JV Assignment
Agreement, the Funding Agreement, the Release Document and any other agreement, document,
instrument or certificate entered into or delivered pursuant to this Agreement.

        “Antitrust Law” means, collectively, the HSR Act, Title 15 of the United States Code
§§ 1 7 (the Sherman Act), Title 15 of the United States Code §§ 12-27 and Title 29 of the United
States Code §§ 52-53, (the Clayton Act), the Federal Trade Commission Act (15 U.S.C. §§ 41, et
seq.) and the rules and regulations promulgated thereunder and any other Laws that are designed
or intended to prohibit, restrict or regulate actions having the purpose or effect of monopolization
or restraint of trade or lessening of competition through merger or acquisition.

       “Apache PSA” means that certain Purchase and Sale Agreement, dated as of July 18, 2013,
by and among Apache Corporation, Apache Deepwater LLC, Apache Shelf, Inc., Apache Shelf
Exploration LLC, GOM Shelf and Fieldwood, as amended from time to time, and the transaction
documents executed in connection therewith.

        “Applicable Consent” means any consent, waiver or approval that is required to be
obtained from, or any notice that is required to be given to, any Third Person as a result of the
assignment of the Acquired Interests by the Sellers to Buyer as contemplated by this Agreement
(each, a “Consent”) that (a) relates to an Assigned Contract, which consent, waiver or approval
would be required for such Assigned Contract to be assumed and assigned to Buyer, after giving
effect to Sections 365(c)(1) and 365(f)(1) of the Bankruptcy Code or (b) that relates to any
Acquired Interest other than an Assigned Contract, other than, in each case, (i) for Preferential
Rights and (ii) any Governmental Approvals.

        “Applicable Contracts” means (a) all Contracts (provided that, for clarity, any “Operating
Agreement” or “Joint Operating Agreement” identified on the 365 Schedule shall be deemed a
Contract for purposes of this definition) to which a Seller is a party or is bound to the extent
covering, attributable to or relating to any of the Acquired Interests or to which any of the Acquired
Interests is subject or bound, including, without limitation, operating agreements, crude oil,
condensate and natural gas purchase and sale agreements, gathering agreements, transportation
agreements, marketing, disposal or injection agreements, farmout and farmin agreements,
unitization, pooling and communitization agreements, exploration agreements, development
agreements, area of mutual interest agreements, exchange and processing contracts and
agreements, partnership and joint venture agreements, confidentiality agreements and any other
similar contracts, agreements and instruments, and all amendments thereto, and (b) all Easements.

       “Applicable Governmental Approval” is defined in Section 2.4.

       “Applicable Shared Asset Interests” means, with respect to each asset described on
Schedule 1.2, the portion of the Sellers’ right, title, and interest in each such asset that corresponds
to the portion of the Sellers’ right, title and interest in the Co-Owned Leases, the Co-Owned
Subject Units and the Co-Owned Wells (collectively, the “Co-Owned Oil and Gas Properties”), as
applicable, conveyed to Buyer under this Agreement.
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       “AR Collections Period” is defined in Section 10.12(b).

       “Assets” is defined in Section 1.2.

       “Assigned 365 Contracts” is defined in Section 6.7(a).

       “Assigned 365 Contracts List” is defined in Section 6.7(a).

         “Assigned Contracts” means (a) the Assigned 365 Contracts and (b) all Applicable
Contracts that are not 365 Contracts (other than Excluded Assets), and any and all amendments,
ratifications or extensions of the foregoing.

        “Assignment and Assumption Agreement” means that Assignment and Assumption
Agreement to be entered into at Closing by the parties thereto, in the form attached as Exhibit I
hereto.

       “Assignment, Bill of Sale and Conveyance” means that Bill of Sale, Assignment and
Assumption Agreement to be entered into at Closing by the parties thereto in the form attached as
Exhibit G hereto for the Co-Owned Assets and in the form attached as Exhibit H hereto for the
Other Assets.

       “Assignment of Leases and Subleases” means each Assignment and Assumption of
Leases and Subleases to be entered into at Closing by the parties thereto for the Office Sublease,
the Lafayette Lease Agreement, the Warehouse Lease and the Lubrizol Sublease, in the form
attached as Exhibit J hereto.

       “Assumed Employee Plan” is defined in Section 4.18(a).

       “Assumed Liabilities” is defined in Section 11.1.

        “Avoidance Action” means any avoidance, preference, recovery, claim, right or cause of
action of any Seller arising under Chapter 5 of the Bankruptcy Code or under any analogous state
or federal bankruptcy or non-bankruptcy laws.

       “Backstop Commitment Letters” means the Second Lien Backstop Commitment Letter,
the FLTL ERO Backstop Agreement and the SLTL ERO Backstop Agreement.

       “Backstop Commitment Premium Equity Interests” has the meaning set forth in the Plan.

       “Balance Sheet Date” is defined in Section 4.27.

       “Bankruptcy Cases” is defined in the recitals.

       “Bankruptcy Code” is defined in the recitals.

       “Bankruptcy Court” is defined in the recitals.

       “Bankruptcy Rules” is defined in the recitals.
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        “BOEM” means the Bureau of Ocean Energy Management or any successor agency
thereto.

        “BOEM Qualifications” means the Person has received a GOM qualification number from
BOEM, and is able to bid on, own and hold a lease on the Outer Continental Shelf, Gulf of Mexico
region.

       “BSEE” means the Bureau of Safety and Environmental Enforcement or any successor
agency thereto.

       “Business Day” means any day other than a Saturday, a Sunday or any other day on which
banking institutions in, New York, New York or Houston, Texas, are required or authorized by
Law or executive order to be closed.

       “Buyer” is defined in the preamble.

       “Buyer 2” is defined in the preamble.

       “Buyer Grandparent” is defined in Section 5.11(b).

       “Buyer Grandparent Equity Interests” is defined in Section 5.1(c).

       “Buyer Intermediate” is defined in Section 5.1(b).

       “Buyer Obligation” is defined in Section 2.1(c).

       “Buyer Parent” is defined in Section 5.1(b).

       “Buyer Parent Debt” is defined in Section 2.1(c).

        “Cash Portion” means an amount in cash (which amount shall not exceed the proceeds of
(x) the Second Lien Exit Facility (as defined in the Plan) plus (y) the proceeds of the Equity Rights
Offerings (as defined in the Plan), less (z) $120,000,000; provided, that the amount in (z) may be
reduced to an amount not less than $100,000,000 in the sole and absolute discretion of the Buyer),
equal to (a) the Effective Date Cash Obligations Amount, less (b) the Closing Cash Amount.

       “Casualty Event” means (a) any fire, explosion, accident, earthquake, act of the public
enemy, act of God or other similar event or occurrence that results in damage to or the destruction
of any Acquired Interest and (b) any taking, or threatened taking, of any Acquired Interest by
condemnation or under the right of eminent domain.

       “CERCLA” is defined in the definition of Environmental Contaminants.

        “Claims” means any and all claims, demands, Encumbrances, notices of non-compliance
or violation, notices of Liability or potential Liability, investigations, incidents of non-compliance
(INCs), actions (whether judicial, administrative or arbitrational), causes of action, suits,
proceedings and controversies.

       “Closing” means the consummation of the transactions contemplated in this Agreement.
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        “Closing Accounts Receivable” means all current assets of the Sellers as of the Effective
Time that are included in the Working Capital Assets, other than such current assets attributable
to the Acquired Interests.

       “Closing Accounts Receivables Statement” is defined in Section 10.12(a).

       “Closing Cash Amount” means the amount of cash in accounts of the Sellers as of
immediately prior to the Effective Time, excluding all restricted cash (restricted cash includes, for
the avoidance of doubt, all Suspense Funds, Excluded Suspense Funds, Prepaid JOA Funds,
Excluded Prepaid JOA Funds, Undisbursed Revenue and Excluded Undisbursed Revenue), as
determined in good faith by the Sellers and Buyer in accordance with GAAP.

       “Closing Date” is defined in Section 9.1.

       “COBRA” means Section 4980B of the Code and Sections 601 through 608 of ERISA.

       “Code” means the Internal Revenue Code of 1986, as amended.

        “Company Group” means any group of entities filing Tax Returns on an affiliated,
combined, consolidated, unitary or similar basis for Tax purposes that, at any time on or before
the Closing Date, includes or has included Fieldwood U.A. or Fieldwood Mexico or any of their
respective Subsidiaries.

       “Confidential Information” is defined in Section 10.5.

       “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court regarding
confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

        “Confirmation Order” means an order of the Bankruptcy Court in form and substance,
including with respect to (i) all findings of fact and conclusions of law and (ii) the matters
described in Section 2.3 through Section 2.5, acceptable to Fieldwood and the Buyer, confirming
the Plan and, without limitation to the generality of the foregoing, such Confirmation Order shall
provide that the transfer of the Acquired Interests to Buyer shall be, pursuant to, inter alia, Sections
105, 363, 365, 1123(a)(5)(b), 1129, 1141 and 1146 of the Bankruptcy Code, free and clear of any
and all Encumbrances (other than Permitted Encumbrances (except for the Fieldwood U.A.
Interests and the JV Interests, which shall not have any Permitted Encumbrances)) and Retained
Liabilities, which Confirmation Order shall be subject to the consent rights set forth in the
Restructuring Support Agreement.

       “Confirmation Outside Date” has the meaning set forth in the Plan.

       “Consent” is defined in the definition of Applicable Consent.

       “Consenting Creditors” has the meaning set forth in the Plan.

       “Consideration” is defined in Section 2.1(a).
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         “Contracts” means any agreement, license, lease, sublease, sublicense, contract, promise,
obligation, sale or purchase order, service order, indenture, note, bond, loan, mortgage, deed of
trust, instrument, commitment or undertaking, including any exhibits, annexes, appendices or
attachments thereto, and any amendments, modifications, supplements, extension or renewals
thereto, but excluding, however (a) any Lease, easement (including the Easements), right-of-way
or other instrument, in each case, creating any oil and gas mineral interest or other real property
interests and (b) any Permit.

         “Conveyed” means conveyed, assigned, or sold pursuant to the Apache PSA, regardless
of whether such conveyance, assignment, or bill of sale was recorded in the appropriate records
of, or approved or recognized by, any applicable Governmental Authority.

       “Co-Owned Assets” is defined in Section 1.2.

       “Co-Owned Assigned Contracts” means the Assigned Contracts relating to any Co-Owned
Lease, Co-Owned Subject Unit, Co-Owned Easement or Co-Owned Inventory.

       “Co-Owned Easements” is defined in Section 1.2(c).

     “Co-Owned Field Assets” means the Co-Owned Leases, Co-Owned Subject Units, Co-
Owned Easements, Co-Owned Wells and Co-Owned Inventory.

       “Co-Owned Field Data” is defined in Section 1.2(i).

       “Co-Owned Inventory” is defined in Section 1.2(e).

       “Co-Owned Leases” is defined in Section 1.2(a).

       “Co-Owned Records” is defined in Section 1.2(j).

       “Co-Owned Scheduled Wells” is defined in Section 1.2(d).

       “Co-Owned Subject Unit” is defined in Section 1.2(b).

       “Co-Owned Subject Unit Agreement” is defined in Section 1.2(b).

       “Co-Owned Wells” is defined in Section 1.2(d).

         “Credit Agreement” means that certain Amended and Restated First Lien Credit
Agreement, dated as of April 11, 2018, by and among Fieldwood, as borrower, Fieldwood Energy
Inc., as holdings, Cantor Fitzgerald Securities, as the administrative agent and collateral agent, the
lenders party thereto, and the other parties thereto, as amended, restated, amended and restated,
supplemented, or otherwise modified.

       “Credit Bid and Release” is defined in Section 2.1(a)(1).

        “Credit Bid and Release New Equity Interests” means the New Equity Interests being
distributed to the holders of Allowed FLTL Secured Claims (as defined in the Plan) pursuant to
the Plan.
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        “Cure Costs” means, with respect to any given 365 Contract, all monetary liabilities,
including pre-petition monetary liabilities, of the Sellers that must be paid or otherwise satisfied
to cure all of the Sellers’ monetary defaults under such 365 Contract pursuant to Section 365 of
the Bankruptcy Code in order for such 365 Contract to be assumed and assigned to Buyer (if
applicable) as provided hereunder, as such amounts are determined by the Bankruptcy Court or
approved pursuant to the assignment and assumption procedures provided for in the Plan,
Confirmation Order, or herein.

       “D&O Indemnified Liabilities” is defined in Section 10.13(a).

       “D&O Indemnified Parties” is defined in Section 10.13(a).

       “Data Obligations” is defined in Section 4.25(i).

       “Debtors” is defined in the recitals.

      “Decommissioning” has the meaning ascribed to such term in the Decommissioning
Agreement.

      “Decommissioning Agreement” means that Decommissioning Agreement, dated as of
September 30, 2013, by and among Apache Corporation, Apache Shelf, Inc., Apache Deepwater
LLC, Apache Shelf Exploration LLC, Fieldwood and GOM Shelf, as amended.

       “Delayed Asset” is defined in Section 2.3(b).

       “Designation Deadline” is defined in Section 6.7(c).

        “DIP Facility Credit Agreement” means that certain Senior Secured Debtor-in-Possession
Term Loan Credit Agreement, dated as of August 24, 2020, by and among Fieldwood, as borrower,
Fieldwood Energy Inc., as holdings, Cantor Fitzgerald Securities, as the administrative agent and
collateral agent, the lenders party thereto, and the other parties thereto, as amended, restated,
amended and restated, supplemented, or otherwise modified from time to time.

       “Direction Letter” is defined in the recitals.

       “Disclosure Schedules” is defined in Section 12.15.

      “Disclosure Statement” means the Disclosure Statement For Joint Chapter 11 Plan Of
Fieldwood Energy LLC And Its Affiliated Debtors, as may be amended, modified, or
supplemented from time to time in form and substance acceptable to the Debtors, the Required
DIP Lenders, and the Requisite FLTL Lenders.

       “Disclosure Statement Order” means an order of the Bankruptcy Court approving the
Disclosure Statement.

       “Divisive Merger” has the meaning set forth in the Plan.

       “Divisive Merger Effective Time” means the effective time of the Divisive Merger.
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       “Easements” means the Co-Owned Easements and Other Easements.

       “Effective Date” means the “Effective Date” of the Plan.

         “Effective Date Cash Obligations” means the Sellers’ obligations under the Confirmation
Order, the Plan, the Plan of Merger and the transactions contemplated thereby and this Agreement,
including, without limitation, collectively: (i) the DIP Claims (as defined in the Plan) and related
fees and expenses as provided in Section 2.4 of the Plan, (ii) the FLFO Distribution Amount (as
defined in the Plan), (iii) the Professional Fee Escrow Amount (as defined in the Plan), (iv) the
Restructuring Expenses (as defined in the Plan), (v) any Allowed Postpetition Hedge Claims, (vi)
any Cure Amounts (as defined in the Plan), (vii) any Allowed Administrative Expense Claims (as
defined in the Plan) not otherwise included in the other subsections of this definition, (viii) any
Allowed Priority Tax Claims (as defined in the Plan), (ix) any Allowed Priority Non-Tax Claims
(as defined in the Plan), (x) any Allowed Other Secured Claims (as defined in the Plan), (xi) the
Plan Administrator Expense Reserve Amount (as defined in the Plan), (xii) the FWE I Cash
Amount (as defined in the Plan of Merger), (xiii) an amount for the initial capitalization of
Fieldwood Energy III as determined by the Sellers and the Majority Backstop Parties (as defined
in the Second Lien Backstop Commitment Letter), (xiv) any cash distributions to holders of
Allowed Unsecured Trade Claims (as defined in the Plan), (xv) any other amounts as agreed
between the Sellers and the Required DIP Lenders (as defined in the Plan) and the Requisite FLTL
Lenders (as defined in the Plan), (xvi) amounts due or to become due after the Closing pursuant to
any Governmental Settlement Agreement and (xvii) the amounts of any Claims asserted prior to
the Closing with respect to facts and circumstances existing prior to the Closing (except to the
extent such amounts constitute general unsecured claims of the Sellers), including, but not limited
to, (1) Claims for personal injury or damage to third party property (but with respect to such Claims
that are covered by insurance policies, including for the avoidance of doubt, such Claims for
personal injury or damage to third party property only to the extent of the applicable deductible or
retention amount under the applicable insurance policies covering such Claims) and (2) fines and
penalties related to such Claims, including Claims described in the preceding clause (1) (except to
the extent such Claims or related Liabilities (x) constitute Assumed Liabilities or (y) are satisfied,
compromised (to the extent compromised), settled, released or discharged pursuant to the Plan and
Confirmation Order), in each case of clauses (i) through (xvii) solely to the extent not paid by the
Sellers prior to Closing.

        “Effective Date Cash Obligations Amount” means the amount of cash necessary to satisfy
the Effective Date Cash Obligations, as determined in good faith by the Sellers and Buyer.

       “Effective Time” is defined in Section 1.4.

       “Employee List” is defined in Section 4.17(a).

       “Employee Plan” is defined in Section 4.18(a).

       “Employee Severance” is defined in Section 6.8(c).

       “Employment Agreements” is defined in Section 6.22.
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         “Encumbrance” means any encumbrance, license, right of first refusal, mortgage, deed of
trust, pledge, security interest, lien, privilege, charge of any kind (including any agreement to grant
any of the foregoing), adverse claim of any kind, capital lease, conditional sale or title retention
agreement, lease or sublease in the nature thereof or the filing of or agreement to give any financing
statement under the Uniform Commercial Code of any jurisdiction.

       “End Date” is defined in Section 8.1(b)(i).

        “Environmental Contaminants” means “hazardous substances” and “pollutants or
contaminants” as those terms are defined in Section 101 of the Comprehensive Environmental
Response, Compensation and Liability Act (“CERCLA”), petroleum, including any fraction
thereof, any “natural gas, natural liquids, liquefied natural gas, or synthetic gas usable for fuel” as
those terms are used in Section 101 of CERCLA, any “solid or hazardous waste” as those terms
are defined or used in the Resource Conservation and Recovery Act and any industrial or oil and
gas wastes regulated by applicable rules of any relevant Governmental Authority. The term also
includes NORM concentrated, disposed of, released from or present on any Field Assets or
resulting from or in association with Hydrocarbon activities on any Field Assets.

        “Environmental Law” means all applicable Laws (including the CERCLA, the Resource
Conservation and Recovery Act, the Oil Pollution Act of 1990 and such other applicable Laws
relating to the Release, management or disposal of Environmental Contaminants including oilfield
waste, in each case as amended from time to time) relating to the protection of the environment or
protection of human health (to the extent relating to exposure to Environmental Contaminants).

       “Equity Rights Offerings” has the meaning set forth in the Plan.

       “Equity Rights Offering New Equity Interests” means the New Equity Interests issuable
upon exercise of the FLTL Subscription Rights and SLTL Subscription Rights in accordance with
the Plan.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

       “ERISA Affiliate” is defined in Section 4.18(a).

       “Excluded Assets” is defined in Section 1.3.

       “Excluded Contracts” is defined in Section 6.7(c).

       “Excluded Prepaid JOA Funds” means any funds received by the Sellers (in their capacity
as operator of any Excluded Assets) on account of working interest owners in Excluded Assets as
prepayments for items under operating or other agreements.

        “Excluded Suspense Funds” means those proceeds of production and associated penalties
and interest in respect of any Excluded Assets or any Hydrocarbons produced from or attributable
to any Excluded Assets that belong to one or more Third Persons and are being held in suspense
by any Seller or any Affiliate thereof.
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        “Excluded Undisbursed Revenue” means those proceeds of production and associated
penalties and interest in respect of any Excluded Assets or any Hydrocarbons produced from or
attributable to any Excluded Assets that belong to one or more Third Persons and have been
received by, and at the Closing are being held by, the Sellers on account of such Third Persons for
disbursement to such Third Persons after the Closing.

       “Execution Date” is defined in the preamble.

       “Existing D&O Indemnification Terms” is defined in Section 10.13(a).

      “Farmout Agreement” means that Farmout Agreement by and among Fieldwood Energy
I, GOM Shelf and Buyer, in the form attached hereto as Exhibit T.

       “FCPA” is defined in Section 4.26.

       “Field Assets” means the Leases, Subject Units, Easements, Wells and Inventory.

       “Field Data” means the Co-Owned Field Data and Other Field Data.

       “Fieldwood” is defined in the preamble.

        “Fieldwood Energy I” means a Texas limited liability company to be formed pursuant to
the Plan of Merger under the name Fieldwood Energy I LLC (or such other name as may be
substituted therefor in the final, as filed version of the Plan of Merger).

        “Fieldwood Energy I Closing Accounts Payable” means, whether classified on the books
and records of the Sellers as an account payable or otherwise, expenses of the Sellers incurred by
any Seller as of the Effective Time but not yet paid as of the Effective Time and attributable to the
FWE I Oil and Gas Properties and the GOM Shelf Oil and Gas Properties, including, without
limitation:

              (a)   payables arising from the exploration of and production and sale of oil and
gas from the FWE I Oil and Gas Properties and the GOM Shelf Oil and Gas Properties;

                (b)      payables to third parties on account of third party working interest owners
to the extent that there is a corresponding joint interest billing receivable included in the Fieldwood
Energy I Closing Accounts Receivable;

                (c)    obligations for Royalties in respect of the FWE I Oil and Gas Properties or
the GOM Shelf Oil and Gas Properties payable on account of Hydrocarbons produced from the
FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties and sold prior to and
unpaid as of the Effective Time (provided that if a Royalty reporting, miscalculation, or
underpayment claim is asserted after the Effective Time with respect to any Royalty paid prior to
the Effective Time such claim or obligation shall not be deemed a Fieldwood Energy I Closing
Accounts Payable except to the extent any such reporting, miscalculation, or underpayment claim
(i) totals more than $1,000,000, (ii) arises out of the willful misconduct of the person or persons
performing such reporting, calculations, or payments as determined by a final, non-appealable
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judgment of a court or other tribunal having jurisdiction) and (iii) is asserted within three (3) years
of the Closing Date;

               (d)     the GOM Shelf and FW GOM Pipeline Payables;

       provided, that, Fieldwood Energy I Closing Accounts Payable shall exclude:

                     (i)    obligations for FWE I Suspense Funds, Excluded Suspense Funds
       and Excluded Prepaid JOA Funds;

                       (ii)    Interim Unpaid P&A Expenses;

                      (iii) obligations to pay Royalties on Hydrocarbons produced from FWE
       I Oil and Gas Properties or GOM Shelf Oil and Gas Properties and sold from and after the
       Effective Date;

                      (iv)   payables to third parties on account of third party working interest
       owners other than those described in clause (b) above;

                      (v)   any Royalty reporting, miscalculation, or underpayment claim in
       respect of the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties
       payable on account of Hydrocarbons produced from the FWE I Oil and Gas Properties or
       the GOM Shelf Oil and Gas Properties except as described in clause (c) above;

                       (vi)    any fines or penalties levied or imposed by governmental authorities
       prior to the Effective Time with respect to the FWE I Oil and Gas Properties or the GOM
       Shelf Oil and Gas Properties;

                       (vii)   P&A Obligations and Decommissioning expenses; and

                       (viii) obligations satisfied, compromised (to the extent compromised),
       settled, released or discharged pursuant to the Plan and Confirmation Order.

        “Fieldwood Energy I Closing Accounts Receivable” means all accounts, notes and other
receivables of the Sellers attributable to the FWE I Oil and Gas Properties or the GOM Shelf Oil
and Gas Properties as of the Effective Time, including all accounts, notes and other receivables
attributable to the sale of oil or gas produced and sold from the FWE I Oil and Gas Properties or
the GOM Shelf Oil and Gas Properties prior to or as of the Effective Time and joint interest billing
receivables for expenses paid by the Sellers as of the Effective Time or for which a payable is
included in the Fieldwood Energy I Closing Accounts Payable; provided “Fieldwood Energy I
Closing Accounts Receivable” shall exclude the Specified Excluded Receivables.

      “Fieldwood Energy III” means Fieldwood Energy III LLC, a Texas limited liability
company.

       “Fieldwood Mexico” means Fieldwood Mexico B.V., a Dutch private company.

       “Fieldwood U.A.” means Fieldwood Coöperatief U.A.
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        “Fieldwood U.A. Interests” is defined in Section 1.2(nn).

        “Final Allocation” is defined in Section 2.2.

        “Final Order” means an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter which has: (a) not been reversed,
stayed, modified or amended, as to which the time to appeal, petition for certiorari or move for
reargument, reconsideration or rehearing has expired and no appeal, petition for certiorari or
motion for reargument, reconsideration or rehearing has been timely filed; or (b) as to which any
appeal, petition for certiorari or motion for reargument, reconsideration or rehearing that has been
or may be filed has been resolved by the highest court to which the order or judgment was appealed
or from which certiorari, reargument, reconsideration or rehearing was sought; provided, however,
that the possibility that a motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or
any analogous Bankruptcy Rule (or any analogous rules applicable in such other court of
competent jurisdiction) may be filed relating to such order or judgment shall not cause such order
or judgment not to be a Final Order.

        “Financial Statements” means (a) the consolidated quarterly financial statements
(unaudited) of Sellers for the fiscal quarter ended September 30, 2020 and the elapsed portion of
the fiscal year then ended and (b) the consolidated annual financial statements of Sellers for the
year ended December 31, 2019.

        “FLTL ERO Backstop Agreement” has the meaning set forth in the Plan.

        “FLTL Subscription Rights” means the “FLTL Subscription Rights” as defined in the
Plan.

        “Foreign Antitrust Approvals” is defined in Section 6.5(a).

        “Fourth Amendment to Office Sublease” is defined in the definition of Office Sublease.

        “Fraud” means common law fraud and requires (a) a false representation with respect to a
representation or warranty made by Sellers in Article IV or any certificate delivered by Sellers
hereunder, (b) knowledge or belief that the representation was false when made, (c) with intent to
induce, and (d) justifiable reliance upon the representation (it being acknowledged that each of
Buyer and Buyer 2 has relied on each of the representations in Article IV and the certificates
delivered hereunder).

         “Fundamental Representations” means the representations and warranties set forth in
Section 4.1, Section 4.2, Section 4.3(a), Section 4.4, Section 4.5, Section 4.31(a) and Section
4.31(f).

      “Funding Agreement” means a Funding Agreement by and between Buyer and
Fieldwood, in the form attached hereto as Exhibit W.

        “FW GOM Pipeline” is defined in the preamble.
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        “FWE I Assets” has the meaning set forth in Part A of Schedule I to the Plan of Merger as
of the date hereof as reflected in the Plan of Merger as it exists on the date hereof but excluding
the Specified Oil and Gas Interests and the Specified P&A Equipment.

      “FWE I Obligations” has the meaning set forth in Part B of Schedule I to the Plan of
Merger.

        “FWE I Oil and Gas Properties” has the meaning set forth in Part A of Schedule I to the
Plan of Merger as of the date hereof as reflected in the Plan of Merger as it exists on the date hereof
but excluding the Specified Oil and Gas Interests.

        “FWE I Suspense Funds” means all funds held in suspense (i) by Fieldwood to the extent
attributable to any of the FWE I Assets and (ii) by GOM Shelf, and any interest accrued in escrow
accounts for such suspended funds.

       “GAAP” means generally accepted accounting principles in the United States of America,
consistently applied.

       “GOM Shelf” is defined in the preamble.

      “GOM Shelf and FW GOM Pipeline Payables” means the payables of GOM Shelf and
FW GOM Pipeline as of the Effective Time (as determined consistent with the definition of
Fieldwood Energy I Closing Accounts Payable).

        “GOM Shelf Oil and Gas Properties” has the meaning set forth in the Plan of Merger as
of the date hereof as reflected in the Plan of Merger as it exists on the date hereof but excluding
the Specified Oil and Gas Interests.

       “Governmental Approval” means any authorization, consent, approval, exemption,
franchise, permit or license of, or filing with, or notice or any other action by, any relevant
Governmental Authority.

        “Governmental Authority” means any transnational, domestic or foreign governmental or
quasi-governmental federal, state, provincial, county, city, regulatory or administrative authority
or other political subdivision or any officer, department, bureau, agency, commission, court or
other statutory or regulatory body or instrumentality thereof.

       “Governmental Settlement Agreement” is defined in Section 6.17.

       “GUC Warrants” has the meaning set forth in the Plan.

       “Hedges” is defined in Section 1.2(gg).

       “HSR Act” means the Hart-Scot-Rodino Antitrust Improvements Act of 1976, and the rules
and regulations promulgated thereunder.

       “Hydrocarbons” is defined in Section 1.2(f).
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        “Imbalance” means (a) any imbalance between (i) the quantity of Hydrocarbons produced
from any well and allocated to a Person from time to time and (ii) the share of such production to
which such Person is actually entitled by virtue of its ownership interest in such well or in the lease
or unit under which such well is produced and (b) any imbalance between (i) the quantity of
Hydrocarbons produced from any oil and gas asset and actually delivered from a Third Person
pipeline and allocated to a Person from time to time and (ii) the share of such Hydrocarbons to
which such Person is actually entitled to receive from such Third Person pipeline.

      “Implementation Agreement” means that certain Apache Term Sheet Implementation
Agreement dated January 1, 2021, by and between Fieldwood, GOM Shelf, Apache Corporation,
Apache Shelf, Inc., Apache Deepwater LLC, and Apache Shelf Exploration LLC.

       “Indemnification Claim” is defined in Section 13.3(a).

      “Indemnified Party” means a Party entitled to indemnification under this Agreement,
whether on behalf of itself or, with respect to the Sellers, any of the Seller Indemnified Parties.

      “Indemnifying Party” means a Party from whom indemnification is sought under this
Agreement by an Indemnified Party.

       “Indemnitors” is defined in Section 10.13(b).

       “Initial Allocation” is defined in Section 2.2.

        “Intellectual Property” means any and all intellectual property rights or industrial property
rights throughout the world, including all (a) national and multinational statutory invention
registrations, patents and patent applications of any type issued or applied for in any jurisdiction,
including all provisionals, divisions, continuations, continuations-in-part, reissues, extensions, re-
examinations and the equivalents of any of the foregoing in any jurisdiction, and all inventions
disclosed in each such registration, patent or patent application, (b) trademarks, service marks,
trade dress, logos, brand names, certification marks, domain names, trade names, corporate names
and other indications of origin, whether or not registered, in any jurisdiction, and all registrations
and applications for registration of the foregoing in any jurisdiction, and all goodwill associated
with the foregoing (collectively, “Trademarks”), (c) copyrights (whether or not registered) and
registrations and applications for registration thereof in any jurisdiction, including all derivative
works, moral rights, renewals, extensions, reversions or restorations associated with such
copyrights, regardless of the medium of fixation or means of expression, (d) trade secrets,
information, data, specifications, processes, methods, know-how, formulae, techniques,
schematics, drawings, blueprints, utility models, designs, technology, software, inventions,
discoveries, ideas and improvements, including manufacturing information and processes,
engineering and other manuals and drawings, standard operating procedures, flow diagrams,
technical information, research records and similar data and information, (e) database rights,
industrial designs and industrial property rights and (f) the right to assert, claim or sue and collect
damages for the past, present or future infringement, misappropriation or other violation of any of
the foregoing.

       “Interim Period” means the period from the Execution Date through and including the
Closing Date.
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        “Interim Unpaid P&A Expenses” means all incurred but unpaid expenses incurred by
Fieldwood for Plugging and Abandonment costs and expenses on the FWE I Oil and Gas
Properties between the filing on August 3, 2020, of the Bankruptcy Cases and the Divisive Merger
Effective Time to the extent not paid as of the Divisive Merger Effective Time.

       “Inventory” means the Co-Owned Inventory and Other Inventory.

       “IRS” means the Internal Revenue Service of the United States.

       “Joint Operating Agreement Amendment” means the amendments to jointly owned
properties operating agreements with respect to those Co-Owned Leases (or portion thereof) that
are not subject to any Assigned Contract that is a joint operating agreement or unit operating
agreement with one or more Third Persons, in each case that is in form and substance acceptable
to Buyer.

         “JV Assignment Agreement” means the Assignment Agreements (or equivalent) and
related instruments to be entered into at Closing by the parties thereto with respect to the transfer
of the Fieldwood U.A. Interests and the JV Interests pursuant to this Agreement, in each case that
is in form and substance acceptable to Buyer.

       “JV Interests” is defined in Section 1.2(nn).

       “JV Shares” is defined in Section 4.31(c).

       “Knowledge” means (a) with respect to Buyer and Buyer 2, the actual knowledge of any
executive officer of Buyer or Buyer 2, as applicable, and (b) with respect to the Sellers, the actual
knowledge of Thomas Lamme, Mike Dane, William Swingle, Patrick Eiland and John Seeger.

       “Lafayette Lease Agreement” means that certain Lease Agreement dated as of April 5,
2017, between Fieldwood and Ronnie White Custom Homes, L.L.C.

       “Law” means all laws, constitutions, treaties, statutes, ordinances, rules, regulations, codes,
orders, judgments, decrees, orders, writs, injunctions and decisions of any Governmental
Authority, or having the effect of law in any applicable jurisdiction, including all principles of
common law.

        “Lease Burdens” means all royalties, overriding royalties, production payments, carried
interests, net profits interests, reversionary interests and similar contractual burdens upon, payable
out of or measured by Hydrocarbons produced from or allocated to a Lease; and all rentals, shut-
in royalties, minimum royalties and bonus payments under a Lease.

       “Leases” means the Co-Owned Leases and Other Leases.

        “Liability” means any debt, Loss, obligation, duty, commitment, demand, responsibility,
suit, judgment, undertaking, royalty, deficiency or obligation (including those arising out of any
action, such as any settlement or compromise thereof or judgment or award therein), Claim or
Encumbrance of any kind or nature whatsoever whether known or unknown, disclosed or
undisclosed, expressed or implied, primary or secondary, direct or indirect, matured or unmatured,
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determined or indeterminable, disputed or undisputed, secured or unsecured, joint or several,
asserted or unasserted, fixed, absolute or contingent, accrued or unaccrued, liquidated or
unliquidated, whether due or to become due, whether in contract, tort or otherwise, and whether
or not required to be accrued on the financial statements of any entity or individual, including those
arising under any Law, or imposed by any Governmental Authority or arbitrator of any kind.

       “Licensed Intellectual Property” means any and all Intellectual Property (a) owned by a
Third Person and licensed or sublicensed to a Seller or for which a Seller has obtained a covenant
not to be sued, in each case, under an Assigned Contract and (b) related to the ownership or
operation of the Acquired Interests.

        “Liquidating Trust” means a liquidating or similar trust as may be established with respect
to Sellers’ estates in conjunction with the Bankruptcy Cases.

       “Liquidating Trustee” means the trustees or other representative of the Liquidating Trust.

         “Losses” and “Loss” means any and all losses, judgments, damages, liabilities, injuries,
costs, interest, taxes, settlements, penalties and fines or expenses (including any incidental, indirect
or consequential damages, losses, liabilities or expenses, and any lost profits or diminution in
value). As used herein, the term “Losses” includes reasonable attorneys’ fees and other costs and
expenses of any Party entitled to defense or indemnity hereunder incident to (a) the investigation
and defense of any Claim that results in litigation or the settlement of any Claim or (b) the
enforcement of such defense or indemnity rights under this Agreement.

       “Lubrizol Sublease” means that certain Sublease, dated December 22, 2018, by and
between The Lubrizol Corporation, as sublandlord, and Fieldwood Energy LLC, as subtenant, for
Suite 320 in the building known as One Briarlake Plaza and located at 2000 W. Sam Houston
Parkway South, Houston, Texas, and that certain Consent to Sublease, effective as of January 29,
2019.

        “Material Adverse Effect” means a result, event, occurrence, change, circumstance,
development or consequence that, individually or in the aggregate, would reasonably be expected
to (a) materially and adversely affect the value, condition (financial or otherwise) or results of
operations of the Acquired Interests taken as a whole or (b) materially and adversely affect the
ability of the Sellers to perform their obligations under this Agreement or the documents executed
in connection herewith or consummate the transactions contemplated herein and therein; provided,
that, with respect to clause (a) only, any result, event, occurrence, change, circumstance,
development or consequence to the extent resulting from any of the following matters shall not be
taken into account in determining whether a Material Adverse Effect has occurred: (i) changes in
financial or securities markets generally; (ii) changes in general economic or political conditions
in the United States or worldwide; (iii) changes in conditions or developments generally applicable
to the oil and gas industry in the area where the Acquired Interests are located, including, but not
limited to, changes in the market price of oil and natural gas; (iv) actions taken after the date of
this Agreement as required by this Agreement or with the written consent of Buyer; (v) the
commencement or pendency of the Bankruptcy Cases and any adverse effects resulting therefrom,
(vi) entering into this Agreement or the announcement of the transactions contemplated hereby
(provided, that this clause (vi) shall not be excluded with respect to the representations and
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warranties and related conditions contained in this Agreement that address the consequences of
the execution, announcement or performance of this Agreement or the consummation of the
transactions contemplated hereby); (vii) acts of God, including hurricanes, storms or other
naturally occurring events; (viii) acts or failures to act of Governmental Authorities, except as a
result of any action or inaction by or on behalf of the Sellers; [(ix) matters expressly disclosed
on any Exhibit or Annex to this Agreement or in the Disclosure Schedules]; (x) any epidemic,
pandemic or disease outbreak (including the COVID-19 virus) or hostilities, terrorist activities or
war or any similar disorder and, in each case, governmental actions related thereto; (xi) matters
that are cured or no longer exist by the earlier of Closing and the termination of this Agreement;
(xii) any change in laws or in GAAP and any interpretations thereof from and after the Execution
Date; (xiii) any reclassification or recalculation of reserves in the ordinary course of business; (xiv)
natural declines in well performance; (xv) the departure of officers or directors of the Sellers after
the Execution Date; (xvi) any objections in the Bankruptcy Court to (A) this Agreement and the
other Ancillary Documents and the transactions contemplated hereby and thereby, (B) the
reorganization of any Seller and any related plan of reorganization or disclosure statement or (C)
the Plan of Merger or transactions contemplated thereby; and (xvii) any order of the Bankruptcy
Court (except any such order that would preclude or prohibit the Sellers from consummating the
transactions contemplated by this Agreement) or any actions or omissions of the Sellers in
compliance therewith; provided, that, with respect to clauses (i) through (iii), (vii), (viii), (x) and
(xii) any such result, event, occurrence, change, circumstance, development or consequence shall
not be disregarded to the extent that it has had a disproportionate effect on the Acquired Interests
relative to similar oil and gas assets in the Gulf of Mexico held by other participants in the
industries in which the Acquired Interests are operated.

        “Material Contract” is defined in Section 4.14(a).

       “Mexico JV” is defined in Section 1.2(nn).

        “Net Revenue Interest” means, with respect to each Lease and Scheduled Well, the interest
in and to all Hydrocarbons produced and saved from or attributable to such Lease or Scheduled
Well, after giving effect to all valid Lease Burdens, carried interests, reversionary interests and
other similar interests constituting burdens upon, measured by or payable out of Hydrocarbons
produced and saved from or attributable to such Lease or Scheduled Well.

       “New Equity Interests” has the meaning set forth in the Plan.

       “New Money Warrants” has the meaning set forth in the Plan.

       “Non-Recourse Party” is defined in Section 12.14.

       “Non-Transferred Asset” is defined in Section 10.3(b).

       “NORM” means naturally occurring radioactive material.

       “Notice” is defined in Section 12.2.
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       “NPA” means that certain Non-Prosecution Agreement dated as of February 9, 2021,
entered into between Fieldwood and the United States Attorney’s Office for the Eastern District
of Louisiana.

       “Office Assets” is defined in Section 1.2(dd).

      “Office Assets Conveyance” means that Bill of Sale, Assignment and Assumption
Agreement to be entered into at the Closing by the parties thereto, in the form attached as
Exhibit K hereto.

        “Office Sublease” means that certain Sublease Agreement, dated as of September 30, 2013,
between Apache Corporation, as sublessor, and Fieldwood, as sublessee, for space in the building
known as One BriarLake Plaza located at 2000 West Sam Houston Parkway South, Houston,
Texas, as amended by (i) First Amendment to Sublease Agreement, dated as of January 2, 2014,
(ii) Second Amendment to Sublease Agreement, dated as of September 7, 2017, (iii) Third
Amendment to Sublease Agreement, dated as of May 28, 2018, and (iv) Fourth Amendment to
Sublease, dated as of _________ ___, 2020 (the “Fourth Amendment to Office Sublease”).

       “Organizational Documents” is defined in Section 4.31(b).

       “OSFR” means Oil Spill Financial Responsibility.

       “Other Assets” is defined in Section 1.2(n).

      “Other Assigned Contracts” means all Assigned Contracts other than the Co-Owned
Assigned Contracts.

       “Other Easements” is defined in Section 1.2(q).

       “Other Field Assets” means the Other Leases, Other Subject Units, Other Easements,
Other Wells and Other Inventory.

       “Other Field Data” is defined in Section 1.2(w).

       “Other Inventory” is defined in Section 1.2(s).

       “Other Leases” is defined in Section 1.2(o).

       “Other Records” is defined in Section 1.2(x).

       “Other Scheduled Wells” is defined in Section 1.2(r).

       “Other Subject Unit” is defined in Section 1.2(p).

       “Other Subject Unit Agreement” is defined in Section 1.2(p).

       “Other Wells” is defined in Section 1.2(r).
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       “Owned Intellectual Property” means any and all Intellectual Property (except for
Trademarks) (a) owned or purported to be owned by any Seller and (b) related to the ownership or
operation of the Acquired Interests.

        “P&A Obligations” means any and all obligations, liabilities, damages, losses, and claims
arising out of or attributable to the payment or performance of all Plugging and Abandonment.

       “Parties” and “Party” are defined in the preamble.

      “Permit” means any permit, license, authorization, certificate, registration, franchise,
exemptions, waiver, consent, approval or other similar rights or privileges granted by any
Governmental Authority.

       “Permitted Encumbrances” means:

               (a)     easements, restrictive covenants, servitudes, permits, surface leases and
other rights with respect to surface operations, and rights-of-way on, over or in respect of any of
the Acquired Interests that, singularly or in the aggregate, do not prevent or materially interfere
with the ownership, value or operation of the affected Acquired Interests and which are of a nature
that would be reasonably acceptable to a prudent owner or operator of oil and gas properties;

                 (b)    all applicable Laws and all rights reserved to or vested in any Governmental
Authority: (1) to control or regulate the Assets in any manner, (2) by the terms of any right, power,
franchise, grant, license or Permit issued by any Governmental Authority, or by any provision of
applicable Law, to terminate such right, power, franchise, grant, license or permit or to purchase,
condemn, expropriate or recapture or to designate a purchaser of any Asset; (3) to use such Asset
in a manner which does not materially impair the use of such property for the purposes for which
it is currently owned and operated; or (4) to enforce any obligations or duties affecting the Assets
to any Governmental Authority with respect to any franchise, grant, license or permit, excluding
in each case of clauses (1) through (4) any such rights or Laws resulting from any breach, default,
violation or non-compliance with any Law or Permit;

               (c)     the terms, conditions, restrictions, exceptions, reservations, limitations and
other matters (including dedications thereof) contained in (1) the Leases, (2) the Assigned
Contracts, (3) the Preferential Rights disclosed on Schedule 4.8(a), and (4) the Easements, but
excluding in each case of clauses (1) through (4) any such terms, conditions, restrictions,
reservations, exceptions, limitations or other matters resulting from any breach, violation, default
or non-compliance;

                (d)   Encumbrances for Taxes or assessments not yet due and payable or, if due
and payable, those Taxes or assessments that are being contested in good faith by proceedings
diligently conducted in the normal course of business and for which adequate reserves have been
established in accordance with applicable accounting principles;

               (e)      mechanic’s, materialmen’s, carrier’s, supplier’s, vendor’s, repairer’s or
other similar statutory Encumbrances arising in the ordinary course of business securing
obligations that are (i) not yet delinquent or (ii) satisfied, settled, released or discharged pursuant
to the Plan and Confirmation Order;
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                (f)    utility easements, restrictive covenants, zoning, entitlement, building,
subdivision and other similar restrictions that, singularly or in the aggregate, do not prevent or
materially interfere with the ownership, value or operation of the affected Acquired Interests and
which are of a nature that would be reasonably acceptable to a prudent owner or operator of
offshore oil and gas properties;

               (g)     Encumbrances created by Buyer, Buyer 2 or any of their respective
successors or assigns;

              (h)      any lessor’s, operator’s, working interest owner’s or other inchoate or
undetermined Encumbrance or charge (whether statutory or contractual) constituting or securing
the payment of Lease Burdens or of expenses which were or will be incurred in the ordinary course
of business and incidental to the maintenance, development, production or operation of any
Acquired Interest, to the extent the same are satisfied, settled, released or discharged pursuant to
the Plan and Confirmation Order;

                 (i)     Lease Burdens, division orders, carried interests, rights to recoupment,
unitization, pooling, proration and spacing designations, orders and agreements, reversionary
interests, rights to take in kind, and any other similar Encumbrance;

                (j)    any charge, equitable interest, privilege, lien, mortgage, deed of trust,
production payment, option, pledge, collateral assignment, security interest, right of first refusal,
restriction, encroachment, defect, or other arrangement substantially equivalent thereto, or other
defect or irregularity of any kind, in each case, that will be permanently and fully extinguished
with respect to the Acquired Interests pursuant to the Confirmation Order;

              (k)      all Governmental Approvals in connection with the conveyance of the
Acquired Interests, if the same are permitted to be received after Closing and are customarily
sought and received after Closing;

             (l)     such other defects or irregularities of title or encumbrances as Buyer or
Buyer 2 may expressly waive in writing;

              (m)    any maintenance of uniform interest provision in a joint or unit operating
agreement if waived by the party or parties having the right to enforce such provision;

               (n)    any Encumbrance affecting the Assets that is permanently and fully
discharged by the Sellers at or prior to the Closing;

               (o)     non-exclusive licenses of, to or under any Intellectual Property granted in
the ordinary course of business;

                (p)    rights of a common owner of any interest in rights-of-way, Permits or
easements (including Easements) held by the Sellers and such common owner as tenants in
common or through common ownership that, singularly or in the aggregate, do not prevent or
materially interfere with the ownership, value or operation of the affected Acquired Interests;
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               (q)    any matters set forth on Exhibit A or Exhibit C, all litigation and claims
set forth on Schedule 4.6, and all Imbalances set forth on Schedule 4.15; and

                (r)     all depth restrictions or limitations applicable to any Acquired Interests to
the extent set forth on Exhibit A or Exhibit C.

        “Person” means any individual, corporation, limited liability company, partnership, trust,
joint stock company, joint venture, association, unincorporated organization, Governmental
Authority or any other form of entity.

       “Personal Information” is defined in Section 4.25(i).

       “Petition Date” means August 3, 2020.

       “Plan” means the joint plan filed by the Debtors under chapter 11 of the Bankruptcy Code
implementing the restructuring transactions, including the transaction contemplated in this
Agreement, which plan shall be in substantially the same form and substance as the plan filed by
the Debtors on January 1, 2021, at Docket No. 722 in the Bankruptcy Court, as may be amended,
modified or supplemented by the Plan Supplement or otherwise from time to time in accordance
with the Restructuring Support Agreement.

      “Plan of Merger” means the form of Agreement and Plan of Merger of Fieldwood into
Fieldwood Energy I and Fieldwood Energy III which is attached as Exhibit 5 to the Implementation
Agreement.

       “Plan Supplement” has the meaning set forth in the Plan.

        “Plugging and Abandonment” and its derivatives mean all plugging, replugging,
abandonment, re-plugging and re-abandonment, equipment removal, disposal, or restoration
associated with the properties and assets included in or burdened by the FWE I Assets, including
all plugging and abandonment, removal, dismantling, decommissioning, surface and subsurface
restoration, site clearance, and disposal of the FWE I Oil and Gas Properties, well cellars, fixtures,
platforms, caissons, flowlines, pipelines, structures, and personal property of whatever kind
located on or under, related to, or associated with operations and activities conducted by whomever
with respect to each of the FWE I Oil and Gas Properties, the flushing, pickling, burial, removal,
and capping of all associated flowlines, field transmission and gathering lines, pit closures, the
restoration of the surface, site clearance, any disposal of related waste materials and Environmental
Contaminants and obligations to obtain plugging exceptions for any of the FWE I Oil and Gas
Properties, with a current plugging exception, all in accordance with all applicable Laws, the terms
and conditions of each of the FWE I Oil and Gas Properties, or similar leasehold interests,
beneficial interests, easements and the FWE I Oil and Gas Properties.

       “Post-Closing Consent Period” is defined in Section 2.3(d).

       “Post-Closing Tax Period” means any taxable period beginning after the Closing Date and,
with respect to a Straddle Period, the portion of such Straddle Period beginning after the Closing
Date.
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       “Pre-Closing Tax Period” means any taxable period ending on or before the Closing Date
and, with respect to a Straddle Period, the portion of such Straddle Period ending on and including
the Closing Date.

         “Preferential Right” means any preferential right to purchase, right of first refusal, right
of first offer or similar right that is applicable to the Acquired Interests or the Assigned Contracts
and the operation of which is triggered by the transactions contemplated in this Agreement.

       “Prepaid JOA Funds” is defined in Section 10.2(b).

        “Production Taxes” means any and all severance, production, gathering, Btu or gas,
transportation, gross receipts, utility, excise and other similar taxes (other than Property-Related
Taxes, Transfer Taxes and taxes based on or measured by income or gross or net worth) relating
to the production, gathering or transportation of Hydrocarbons, or increases therein, and any
interest or penalties thereon.

         “Property-Related Taxes” means any and all ad valorem, property, generation, conversion,
privilege, consumption, lease, transaction and other taxes, franchise fees, governmental charges or
fees, licenses, fees, permits and assessments, or increases therein, and any interest or penalties
thereon.

       “Records” means the Co-Owned Records and Other Records.

       “Release” means any release, disposal, spilling, leaking, pouring, emission, emptying,
discharge, injection, escape, transmission, leaching or dumping, or any threatened release, of any
Environmental Contaminants from, or related in any way to the use, ownership or operation of,
the Acquired Interests.

        “Release Document” means a Credit Bid and Release Agreement in the form attached
hereto as Exhibit S.

       “Remaining Accounts” is defined in Section 10.12(d).

        “Representatives” means, with respect to a Person, the directors, managers, shareholders,
members, partners, officers, employees, consultants, advisors, agents or other representatives,
including legal counsel, accountants, investment bankers and financial advisors of (i) such Person,
(ii) such Person’s Affiliates, (iii) the successors and assigns of such Person and (iv) the successors
and assigns of such Person’s Affiliates.

       “Required Consent” is defined in Section 2.3(b).

       “Restructuring Support Agreement” means that certain Restructuring Support Agreement,
dated as of August 4, 2020, by and among Fieldwood, certain of its affiliates specified therein, the
Consenting Creditors, and Apache Corporation, as the same may be amended, restated, or
otherwise modified in accordance with its terms.

       “Retained Liabilities” is defined in Section 11.2.
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        “Royalties” means all minimum royalties, shut-in payments, royalties, overriding royalties,
reversionary interests, net profits interests, production payments, carried interests, non-
participating royalty interests, reversionary interests, and other royalty burdens and other interests
payable out of production of Hydrocarbons from or allocated to the FWE I Oil and Gas Properties,
the GOM Shelf Oil and Gas Properties, or the proceeds thereof to third parties.

       “RUE” is defined in Section 10.14.

       “Section 6.8 Employee” means each of those employees of Sellers specified on [insert
reference to email of counsel].

       “Scheduled Wells” means the Co-Owned Scheduled Wells and Other Scheduled Wells.

       “Second Lien Backstop Commitment Letter” has the meaning set forth in the Plan.

       “Seller” and “Sellers” is defined in the preamble.

       “Seller Employees” is defined in Section 4.17(a).

       “Seller Indemnified Parties” is defined in Section 13.2.

       “Seller IT Assets” means any and all computers, networks, systems, printers, software,
firmware, middleware, servers, workstations, routers, hubs, switches, data communications lines,
and all other information technology equipment, and all associated documentation, owned or
purported to be owned by any Seller.

        “Seller Marks” mean Trademarks owned by any Seller, including “Fieldwood,” and any
variations thereof.

       “Seller Related Parties” is defined in Section 4.24.

      “SEMS Bridging Agreement” means that Bridging Agreement by and among Buyer,
Fieldwood Energy I and GOM Shelf, in the form attached hereto as Exhibit Q.

       “SLTL ERO Backstop Agreement” has the meaning set forth in the Plan.

       “SLTL Subscription Rights” has the meaning set forth in the Plan.

       “SLTL Warrants” has the meaning set forth in the Plan.

       “Specified Excluded Receivables” means each of the following:

                (a)     all deposits with third parties, escrow accounts, guarantees, letters of credit,
treasury securities and insurance policies, in each case to the extent relating to the FWE I Assets
and surety bonds, all OSFR coverage (whether consisting of one or more insurance policies) and
other forms of credit assurances or credit support provided by a third party for the benefit of the
Sellers, in each case to the extent for financial assurance for the obligations and liabilities arising
out of or related to the FWE I Assets, the GOM Shelf Oil and Gas Properties or GOM Shelf,
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including the P&A Obligations arising out of or related to the FWE I Assets or the GOM Shelf Oil
and Gas Properties, including those items listed on Exhibit U;

                (b)    instruments and general intangibles (as such terms are defined in the
Uniform Commercial Code of the applicable jurisdictions in which the FWE I Oil and Gas
Properties or the GOM Shelf Oil and Gas Properties to which such assets relate are located) and
other economic benefits in each case attributable to the FWE I Oil and Gas Properties or the GOM
Shelf Oil and Gas Properties (excluding any accounts, notes or other receivables attributable to the
FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties or of GOM Shelf);
provided, that nothing in this clause (b) shall be interpreted to limit the scope of Fieldwood Energy
I Closing Accounts Receivable;

             (c)     claims of indemnity, contribution, or reimbursement of the Sellers or of
GOM Shelf, in each case, relating to the FWE I Obligations or obligations of GOM Shelf;

               (d)    receivables of the Sellers for imbalances attributable to the FWE I Oil and
Gas Properties or the GOM Shelf Oil and Gas Properties;

               (e)    rights to insurance proceeds or other claims of recovery, indemnity,
contribution, or reimbursement of the Sellers attributable to the FWE I Assets or the GOM Shelf
Oil and Gas Properties due to casualty or other damage or destruction of or to the FWE I Oil and
Gas Properties or the GOM Shelf Oil and Gas Properties;

               (f)     cash in the amount of advance payments on account of third party working
interest owners in the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties, to
the extent such cash amounts are associated with FWE I Obligations; and

               (g)      rights to receive and collect cash and advance payments, in each case
pursuant to cash calls associated with the FWE I Oil and Gas Properties or the GOM Shelf Oil and
Gas Properties to the extent such cash and advance payments are associated with FWE I
Obligations.

       “Specified Oil and Gas Interests” means the assets listed on Exhibit Y.

       “Specified P&A Equipment” means the equipment listed on Exhibit Z.

        “Specified Section 6.10 Contract(s)” means those certain contracts and/or agreements
specified on [insert reference to email of counsel].

       “ST 308 Performance Bond” means that ST 308 Performance Bond to be entered into by
and among Buyer, Apache Corporation and the surety named therein, a form of which is attached
as Exhibit R hereto.

       “Straddle Period” means any taxable period beginning on or prior to the Closing Date and
ending after the Closing Date.

       “Subject Unit Agreement” means the Co-Owned Subject Unit Agreements and Other
Subject Unit Agreements.
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       “Subject Units” means the Co-Owned Subject Units and Other Subject Units.

       “Subscription Rights” has the meaning set forth in the Plan.

        “Subsidiary” means, with respect to any Person, any entity of which such first Person
(either alone or through or together with any other Person pursuant to any contract) (a) owns,
directly or indirectly, securities or other ownership interests having ordinary voting power to elect
a majority of the board of directors or other governing body of such corporation, partnership,
limited liability company, joint venture or other entity or other persons performing similar
functions or (b) acts as the managing member or general partner of such other Person that is a
partnership, limited liability company, joint venture or other entity.

        “Suspense Funds” means those proceeds of production and associated penalties and
interest in respect of any Field Assets or any Hydrocarbons produced from or attributable to any
Field Assets that belong to one or more Third Persons and are being held in suspense by any Seller
or any Affiliate thereof.

        “Tail Policy” means the directors and officers insurance policies of the Sellers, including
that certain policy issued by Sompo International (Endurance American Insurance Company),
Policy Number BLP300011112000, and each additional layer of directors and officers insurance
held by the Sellers.

         “Tax” means (i) all U.S. federal, state, local or non-U.S. taxes, including all income, gross
receipts, license, payroll, employment, excise, severance, stamp, occupation, premium,
environmental, customs duties, capital stock, ad valorem, value added, inventory, franchise,
profits, withholding, windfall profit, social security, surcharge, impost, unemployment, disability,
health, real property, personal property, mortgage, production, sales, use, occupancy, transfer,
registration, alternative or add-on minimum, estimated or other similar tax of any kind whatsoever
or any assessment, duty, levy, fee or charge of any kind in the nature of (or similar to) taxes
imposed by any Governmental Authority, and including any interest, penalty, or addition thereto,
(ii) any liability for the payment of any amounts of the type described in clause (i) as a result of
any obligation to indemnify or otherwise assume or succeed to the liability of any other person,
including as a transferee or successor, whether imposed by Law or Contract and (iii) in the case of
Fieldwood U.A. and Fieldwood Mexico or any of their respective Subsidiaries, any liability for
the payment of amounts determined by reference to amounts described in clauses (i) and (ii) as a
result of being or having been a member of any Company Group (including, in each case, for any
Tax purposes or by operation of Law), as a result of any obligation under any agreement or
arrangement (including any Tax Sharing Agreement), as a result of being a transferee or successor,
or by Contract.

        “Tax Return” means any return, claim for refund, declaration, disclosure, election, report,
statement, information return or other similar document (including any related or supporting
information, amendments, schedule or supplements of any of the foregoing) filed or required to be
filed with any Governmental Authority with respect to Taxes.

       “Tax Sharing Agreement” means any agreement or arrangement, including any Tax
sharing, allocation, indemnification, reimbursement, receivables or similar agreement entered into
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prior to the Closing binding Fieldwood U.A. or Fieldwood Mexico or any of their respective
Subsidiaries that provides for the allocation, apportionment, sharing or assignment of any Tax
liability or Tax benefit, or the transfer or assignment of income, revenues, receipts, or gains for the
purpose of determining any Person’s Tax liability (other than any customary commercial contract
entered into in the ordinary course of business the principal subject matter of which is not Taxes).

       “Third Person” means any Person other than the Sellers, Buyer or Buyer 2.

       “Toggle Date” has the meaning set forth in the Plan.

       “Trademarks” is defined in the definition of Intellectual Property.

      “Transfer Documents” means each Assignment, Bill of Sale and Conveyance, the
Assignment and Assumption Agreement, the Office Assets Conveyance, the Assignment of Leases
and Subleases and each JV Assignment Agreement.

        “Transfer Taxes” means any sales, use, goods and services, value added, stock, stamp,
document, filing, recording, registration and similar tax or charge (including any interest or
penalties thereon and the cost of preparing any Tax Returns with respect thereto).

       “Transferred Employee” is defined in Section 6.8(a).

        “Transferred Intellectual Property” means the Owned Intellectual Property and Licensed
Intellectual Property.

      “Trust Agreement” means that certain Trust Agreement dated September 30, 2013 by and
among Fieldwood and GOM Shelf, as Settlors and Primary Beneficiaries, and Apache
Corporation, Apache Shelf, Inc., Apache Deep Water LLC and Apache Shelf Exploration LLC, as
Secondary Beneficiaries, as amended.

      “TSA” means that Transition Services Agreement to be entered into by Buyer, Fieldwood
Energy I and GOM Shelf in the form attached as Exhibit P hereto.

        “Undisbursed Revenue” means those proceeds of production and associated penalties and
interest in respect of any Field Assets or any Hydrocarbons produced from or attributable to any
Field Assets that belong to one or more Third Persons and have been received by, and at the
Closing are being held by, the Sellers on account of such Third Persons for disbursement to such
Third Persons after the Closing.

       “Unit” means a unit for the production and operation of a Hydrocarbon well created by the
pooling, unitization or communitization, whether voluntary or governmental, of any or all portions
of any Leases and the lands covered thereby with other oil and gas leases or lands.

       “Warehouse Lease” means that certain Lease dated as of November 15, 2019, by and
between Cheyenne Services, LLC, as lessor, and Fieldwood Energy LLC, as lessee, for leased
premises located at 108 Galbert Rd., Lafayette, LA, as amended by (i) First Amendment to Lease,
executed April 26, 2020 and (ii) Second Amendment to Lease, executed November 10, 2020.
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       “Wells” means the Co-Owned Wells and Other Wells.

        “Working Capital Assets” means, without duplication, (a) the current assets of the Sellers
as of immediately prior to the Effective Time; provided that this clause (a) shall include only the
types of current assets set forth as line items under the header “Current Assets” on Exhibit X,
excluding the Specified Excluded Receivables, and (b) the Fieldwood Energy I Closing Accounts
Receivable. For the avoidance of doubt, Working Capital Assets shall not include any cash,
including Suspense Funds, Undisbursed Revenue and Prepaid JOA Funds.

        “Working Capital Liabilities” means, without duplication, (a) the current liabilities of the
Sellers as of immediately prior to the Effective Time; provided that this clause (a) shall include
only the types of current liabilities set forth as line items under the header “Current Liabilities” on
Exhibit X, excluding any prepetition accounts, Interim Unpaid P&A Expenses, obligations for
FWE I Suspense Funds, Excluded Suspense Funds or Excluded Prepaid JOA Funds, P&A
Obligations and Decommissioning expenses or any obligations satisfied, compromised (to the
extent compromised), settled, released or discharged pursuant to the Plan and Confirmation Order,
and (b) the Fieldwood Energy I Closing Accounts Payable; provided, further, that in no event shall
Working Capital Liabilities include Effective Date Cash Obligations.

        “Working Interest” means, with respect to each Lease and Scheduled Well, the interest
that represents the ownership of the oil and gas leasehold estate created by such Lease or Scheduled
Well and that is burdened with the obligation to bear and pay costs of operations on or in respect
of such Lease or Scheduled Well.

                                          [End of Annex I]
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                                                                       Draft 3/15/2021




                                   EXHIBITS AND SCHEDULES

                                               to the

                               PURCHASE AND SALE AGREEMENT

                                             AMONG

                                    FIELDWOOD ENERGY LLC

                                               AND

                               ITS AFFILIATES SIGNATORY HERETO

                                           AS SELLERS

                                               AND

                               [___________________________________]

                                            AS BUYER

                                               AND

                               [___________________________________]

                                           AS BUYER 2

                                              DATED

                                    [______________] [___], 2021




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                                              EXHIBIT LIST
Exhibit                        Title
EXHIBIT A                      Leases
EXHIBIT B                      Easements
EXHIBIT C                      Scheduled Wells
EXHIBIT D                      Platforms and Facilities
EXHIBIT D-1                    Inventory
EXHIBIT E                      Permits
EXHIBIT F                      Seismic Data
EXHIBIT G                      Form of Assignment, Bill of Sale and Conveyance for Co-Owned
                               Assets
EXHIBIT H                      Form of Assignment, Bill of Sale and Conveyance for Other Assets
EXHIBIT I                      Form of Assignment and Assumption Agreement
EXHIBIT J                      Form of Assignment of Leases and Subleases
EXHIBIT K                      Form of Office Assets Conveyance
EXHIBIT L                      [Reserved]
EXHIBIT M                      [Reserved]
EXHIBIT N                      [Reserved]
EXHIBIT O                      [Reserved]
EXHIBIT P                      Form of Transition Services Agreement
EXHIBIT Q                      Form of SEMS Bridging Agreement
EXHIBIT R                      Form of ST 308 Performance Bond
EXHIBIT S                      Form of Release Document
EXHIBIT T                      Form of Farmout Agreement
EXHIBIT U                      [Reserved]
EXHIBIT V                      [Reserved]
EXHIBIT W                      Form of Funding Agreement
EXHIBIT X                      Working Capital
EXHIBIT X-1                    Working Capital Estimate
EXHIBIT Y                      Specified Oil and Gas Interests




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EXHIBIT Z                      Specified P&A Equipment


                                               SCHEDULE LIST

Schedule                       Title
Schedule 1.2                   Applicable Shared Asset Interests
Schedule 1.3(d)                Scheduled Exclusions
Schedule 4.6                   Litigation
Schedule 4.7                   Governmental Approvals
Schedule 4.8(a)                Preferential Rights
Schedule 4.8(b)                Applicable Consents
Schedule 4.9                   Taxes
Schedule 4.9(p)                Entity Classifications
Schedule 4.12                  Environmental Matters
Schedule 4.13                  Payments
Schedule 4.14                  Material Contracts
Schedule 4.14(c)               Leases and Easements
Schedule 4.15                  Imbalances
Schedule 4.16(a)               AFEs
Schedule 4.16(b)               Cash Calls
Schedule 4.18                  Employee Benefits
Schedule 4.19                  Non-Consent Operations
Schedule 4.20                  Suspense Funds
Schedule 4.21                  Payout Balances
Schedule 4.22                  Title Matters
Schedule 4.22(d)               Owned Real Property
Schedule 4.23                  Insurance
Schedule 4.24                  Related Party Transactions
Schedule 4.25(a)               Owned Intellectual Property
Schedule 4.27                  Material Liabilities
Schedule 4.28(b)               Absence of Certain Changes



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Schedule                       Title
Schedule 4.31(c)               Equity Interests of Fieldwood Mexico and Subsidiaries
Schedule 4.31(d)               Fieldwood U.A. Interests
Schedule 4.31(f)               Fieldwood U.A. Liabilities
Schedule 5.1(c)                Buyer Grandparent Equity Interests
Schedule 5.7                   Buyer Governmental and Third Person Consents
Schedule 5.9                   Lease Bonds, Area-Wide Bonds, Surety Bonds and Insurance Policies
Schedule 6.1(a)                Sellers’ Required Operations
Schedule 6.1(b)                Sellers’ Disallowed Operations
Schedule 6.7(g)                Required Assigned 365 Contracts
Schedule 6.22                  Seller Employees
Schedule 7.3(i)                Required Novations
Schedule 7.3(l)                Required Governmental Approvals
Schedule 10.13(a)              Existing D&O Indemnification Terms
Schedule 10.13(e)              D&O Indemnified Parties
Schedule 10.14                 Right of Use Easements (RUEs)
                                  [End of List of Exhibits and Schedules]




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                                                                                   Exhibit A
                                                                                    Leases1

      Part 1. Co-Owned Leases

       Field              Block          Lease           Type          Seller            Operator                              Interest in Lease2                        Lease Status
                                                                                         GOM Shelf                              25% record title
                                                                                                           25% operating rights in S/2 of Block 32, Grand Isle Area,
Grand Isle 43 (GI32-                                                                     GOM Shelf
                          GI 32                                         FEO                                     from 12,756' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00174        Federal                                                                                                              UNIT
                          (S/2)                                                                            25% operating rights in S/2 of Block 32, Grand Isle Area,
        96)
                                                                                          BP E&P           as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                              feet subsea (TVDS)
                                                                                         GOM Shelf                              25% record title
Grand Isle 43 (GI32-                                                                                         25% operating rights in W/2 of Block 39, Grand Isle
                          GI 39                                         FEO              GOM Shelf
 52/ WD67-71, 94-                      OCS-00126        Federal                                                  Area, from 12,256' TVDSS to 18,000' TVDSS                   UNIT
                          (E/2)
        96)                                                                                                  25% operating rights in W/2 of Block 39, Grand Isle
                                                                                          BP E&P
                                                                                                                Area, from 18,000' feet TVDS to 99,999' TVDS
                                                                                         GOM Shelf                              25% record title
                                                                                                             25% operating rights in W/2 of Block 39, Grand Isle
Grand Isle 43 (GI32-                                                                     GOM Shelf
                          GI 39                                         FEO                                 Area, from 12,256' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00127        Federal                                                                                                              UNIT
                          (W/2)                                                                              25% operating rights in W/2 of Block 39, Grand Isle
        96)
                                                                                          BP E&P            Area, as to depths below 18,000 feet subsea (TVDS) to
                                                                                                                          99,999 feet subsea (TVDS)
                                                                                         GOM Shelf                              25% record title
                                                                                                           25% operating rights in all of Block 40, Grand Isle Area,
Grand Isle 43 (GI32-                                                                     GOM Shelf
                                                                        FEO                                     from 12,469' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-         GI 40        OCS-00128        Federal                                                                                                              UNIT
                                                                                                           25% operating rights in all of Block 40, Grand Isle Area,
        96)
                                                                                          BP E&P           as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                              feet subsea (TVDS)



      1
        The references in this Exhibit A to Field, Seller, Operator, Interest in Lease and Lease Status are not intended to limit in any way the scope of any Assigned
      Interests or who is a Seller with respect to any Lease.
      2
        Unless otherwise indicated on this exhibit, no operating rights for any OCS lease that is listed in either table of this exhibit as to which a Seller is listed as
      having a record title interest have been severed from the record title for such lease.



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       Field              Block          Lease      Type      Seller            Operator                         Interest in Lease2                     Lease Status
                                                                                GOM Shelf                         25% record title
                                                                                            25% operating rights in E/2 of Block 41, Grand Isle Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                          GI 41                               FEO                                 from 14,123' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00129   Federal                                                                                                 UNIT
                          (E/2)                                                             25% operating rights in E/2 of Block 41, Grand Isle Area,
        96)
                                                                                 BP E&P      as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                               25% operating rights in W/2 of Block 41, Grand Isle
Grand Isle 43 (GI32-                                                            GOM Shelf
                          GI 41                               FEO                             Area, from 14,123' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00130   Federal                                                                                                 UNIT
                          (W/2)                                                                25% operating rights in W/2 of Block 41, Grand Isle
        96)
                                                                                 BP E&P       Area, as to depths below 18,000 feet subsea (TVDS) to
                                                                                                            99,999 feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                            25% operating rights in all of Block 42, Grand Isle Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                 from 12,504' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-         GI 42        OCS-00131   Federal                                                                                                 UNIT
                                                                                            25% operating rights in all of Block 42, Grand Isle Area,
        96)
                                                                                 BP E&P      as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                            25% operating rights in all of Block 43, Grand Isle Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                 from 12,830' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-         GI 43        OCS-00175   Federal                                                                                                 UNIT
                                                                                            25% operating rights in all of Block 43, Grand Isle Area,
        96)
                                                                                 BP E&P      as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                               25% operating rights in N/2 of Block 44, Grand Isle
Grand Isle 43 (GI32-                                                            GOM Shelf
                          GI 44                               FEO                             Area, from 13,102' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00176   Federal                                                                                                 UNIT
                          (N/2)                                                                25% operating rights in N/2 of Block 44, Grand Isle
        96)
                                                                                 BP E&P       Area, as to depths below 18,000 feet subsea (TVDS) to
                                                                                                            99,999 feet subsea (TVDS)




                                                                       Exhibit A – Page 2
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       Field              Block          Lease      Type      Seller            Operator                         Interest in Lease2                     Lease Status
                                                                                GOM Shelf                         25% record title
                                                                                            25% operating rights in all of Block 46, Grand Isle Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                from 12,792' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-         GI 46        OCS-00132   Federal                                                                                                 UNIT
                                                                                            25% operating rights in all of Block 46, Grand Isle Area,
        96)
                                                                                 BP E&P     as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                            25% operating rights in all of Block 47, Grand Isle Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                from 15,742' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-         GI 47        OCS-00133   Federal                                                                                                 UNIT
                                                                                            25% operating rights in all of Block 47, Grand Isle Area,
        96)
                                                                                 BP E&P     as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                            25% operating rights in all of Block 48, Grand Isle Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                from 16,812' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-         GI 48        OCS-00134   Federal                                                                                                 UNIT
                                                                                            25% operating rights in all of Block 48, Grand Isle Area,
        96)
                                                                                 BP E&P     as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                                feet subsea (TVDS)
                                                                                GOM Shelf                         25% record title
Grand Isle 43 (GI32-
                          GI 52                               FEO                             25% operating rights in N/2 of Block 52, Grand Isle
 52/ WD67-71, 94-                      OCS-00177   Federal                                                                                                 UNIT
                          (N/2)                                                  BP E&P     Area, as to all depths below 17,651 feet TVDSS down to
        96)
                                                                                                                99,999 feet TVDSS
                                                                                GOM Shelf                         25% record title
                                                                                              25% operating rights in S/2 of Block 67, West Delta
Grand Isle 43 (GI32-                                                            GOM Shelf
                         WD 67                                FEO                            Area, from 11,650' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00179   Federal                                                                                                 UNIT
                         (S/2)                                                                25% operating rights in S/2 of Block 67, West Delta
        96)
                                                                                 BP E&P        Area, as to depths below 18,000' subsea (TVDS) to
                                                                                                              99,999' subsea (TVDS)
                                                                                GOM Shelf                         25% record title
                                                                                              25% operating rights in S/2 of Block 68, West Delta
Grand Isle 43 (GI32-                                                            GOM Shelf
                         WD 68                                FEO                            Area, from 13,225' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-                      OCS-00180   Federal                                                                                                 UNIT
                         (S/2)                                                                25% operating rights in S/2 of Block 68, West Delta
        96)
                                                                                 BP E&P        Area, as to depths below 18,000' subsea (TVDS) to
                                                                                                              99,999' subsea (TVDS)




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       Field              Block          Lease      Type      Seller            Operator                        Interest in Lease2                      Lease Status
                                                                                GOM Shelf                        25% record title
                                                                                            25% operating rights in all of Block 69, West Delta Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                from 13,102' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-        WD 69         OCS-00181    Federal                                                                                                UNIT
                                                                                            25% operating rights in all of Block 69, West Delta Area,
        96)
                                                                                 BP E&P     as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                               feet subsea (TVDS)
                                                                                GOM Shelf                        25% record title
                                                                                            25% operating rights in all of Block 70, West Delta Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                from 13,182' TVDSS to 18,000' subsea (TVDS)
 52/ WD67-71, 94-        WD 70         OCS-00182    Federal                                                                                                UNIT
                                                                                            25% operating rights in all of Block 70, West Delta Area,
        96)
                                                                                 BP E&P     as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                               feet subsea (TVDS)
                                                                                GOM Shelf                        25% record title
                                                                                            25% operating rights in all of Block 71, West Delta Area,
Grand Isle 43 (GI32-                                                            GOM Shelf
                                                              FEO                                    from 13,357' TVDSS to 18,000' SSTVD
 52/ WD67-71, 94-        WD 71         OCS-00838    Federal                                                                                                UNIT
                                                                                            25% operating rights in all of Block 71, West Delta Area,
        96)
                                                                                 BP E&P     as to depths below 18,000 feet subsea (TVDS) to 99,999
                                                                                                               feet subsea (TVDS)
Grand Isle 43 (GI32-                                                                                             25% record title
 52/ WD67-71, 94-        WD 94         OCS-00839    Federal   FEO               GOM Shelf   25% operating rights in all of Block 94, West Delta Area,      PROD
        96)                                                                                          from 13,159' SSTVD to 99,999' SSTVD
                                                                                                                 25% record title
                                                                                             25% operating rights in the S1/2SE1/4; S1/2N1/2SE1/4;
                                                                                            SE1/4SW1/4; S1/2SW1/4SW1/4 of Block 95, West Delta
Grand Isle 43 (GI32-
                                                              FEO                           Area, from the surface of the earth down to and including
 52/ WD67-71, 94-        WD 95        OCS-G 01497   Federal                     GOM Shelf                                                                  PROD
                                                                                                                 7,369 feet subsea
        96)
                                                                                                 25% operating rights in N1/2; N1/2N1/2SE1/4;
                                                                                            N1/2SW1/4; N1/2SW1/4SW1/4 of Block 95, West Delta
                                                                                                  Area, from 13,601' SSTVD to 99,999' SSTVD
                                                                                GOM Shelf                        25% record title
Grand Isle 43 (GI32-                                                                        25% operating rights in all of Block 96, West Delta Area,
                                                              FEO               GOM Shelf
 52/ WD67-71, 94-        WD 96        OCS-G 01498   Federal                                          from 13,399' TVDSS to 18,000' SSTVD                   PROD
        96)                                                                                 25% operating rights in all of Block 96, West Delta Area,
                                                                                 BP E&P
                                                                                                     from 18,000' TVDSS to 99,999' TVDSS
Grand Isle 110/116       GI 110       OCS-G 13943   Federal   FEO               Fieldwood                        50% record title                          UNIT



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      Field                Block          Lease            Type           Seller            Operator                            Interest in Lease2                       Lease Status
                                                                                                                                 50% record title
Grand Isle 110/116        GI 116      OCS-G 13944         Federal         FEO               Fieldwood        50% operating rights as to depths from 19,402' SSTVD to        UNIT
                                                                                                                                 99,999' SSTVD
                                                                                                                              8.33334% record title
Mississippi Canyon                                                                                                8.33334% operating rights in all of Block 110,
                         MC 110       OCS-G 18192         Federal         FEO               Fieldwood                                                                       PROD
        109                                                                                                     Mississippi Canyon, from 6,688' TVDSS to 99,999'
                                                                                                                                      TVDSS
                                                                                                               3.0% ORRI as to production from the OCS 786 E002
                                                                                                              ST1 well (API No. 17-707-20028-01), OCS 786 E003
South Marsh Is. 39        SM 48        OCS-00786          Federal      Fieldwood            Fieldwood          ST1 BP1 well (API No. 17-707-20033-02), OCS 786              PROD
                                                                                                             E004 ST1 well (API No. 17-707-20040-01) and OCS 786
                                                                                                                     E007 well (API No. 17-707-40923-00)3
                                                                                         FEO (in part) and
                                                                                                               100.0% operating rights in E1/2 of Block 41, South
 South Marsh Is.                                                                          Sanare Energy
                          SM 41       OCS-G 01192         Federal         FEO                                 Marsh Island Area, from the surface of the earth down to      PROD
    40/41/44                                                                             Partners, LLC (in
                                                                                                                                   11,500' TVD
                                                                                               part)
                                                                                                                                  50% record title
                                                                                                             4.2% ORRI as to production from the South Marsh Island
 South Marsh Is.                                                                                                       149 #D001 well (API 177084094401)
                          SM 149      OCS-G 02592         Federal         FEO               Fieldwood                                                                       PROD
 136/137/149/150                                                                                               50% operating rights in all of Block 149, South Marsh
                                                                                                                Island Area, South Addition, from 7,386' SSTVD to
                                                                                                                                  99,999' SSTVD
  South Pass 60            SP 61      OCS-G 01609         Federal         FEO               Fieldwood                              18.8% ORRI4                              UNIT
                                                                                                                                  50% record title
                                                                                                              50% operating rights in all of Block 53, South Timbalier
 South Timbalier
                           ST 53      OCS-G 04000         Federal         FEO               Fieldwood                 Area, from the surface to 6,782' SSTVD                PROD
    53/67/68
                                                                                                              50% operating rights in all of Block 53, South Timbalier
                                                                                                                    Area, from 6,782' SSTVD to 99,999' SSTVD.
                                                                        Dynamic
 South Timbalier                                                        Offshore                              20.334% contractual working interest in all of Block 67,
                           ST 67       OCS-00020          Federal                           Fieldwood                                                                       UNIT
    53/67/68                                                            Resources                                            South Timbalier Area
                                                                           NS

      3
          No interest—other than Sellers’ interests in all overriding royalty interests—are being conveyed hereunder in this lease.
      4
          No interest—other than Sellers’ interests in all overriding royalty interests—are being conveyed hereunder in this lease.



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      Part 2. Other Leases

      Field              Block           Lease       Type        Seller          Operator                             Interest in Lease                             Lease Status
                         BS 25                      SL- LA       FEO                 --                             25% working interest
 Breton Sound 25                         19718                                                                                                                         Active
                        (portion)                         recorded in Plaquemines Parish, Louisiana at COB 1190, Page 672, File No. 2008-00005015
                         BS 25
 Breton Sound 25                      OCS-G 31442   Federal       FEO           Tana Exploration                           25% record title                            UNIT
                        (portion)
                                                                                                     37.5% working interest in that portion of the lease within
                                                                                                         the boundary of the UV B RA VUA from the depths
Breton Sound 52/53       BS 45                      SL- LA         FEO                  –
                                         15683                                                        between 10,596' MD and 10,822’ MD in the electric log            Active
    Fed / SL La         (portion)
                                                                                                                  for the Century – SL 17675 #1 well
                                                                 recorded in Plaquemines Parish, Louisiana at COB 908, Page 425, Entry No. 80
                                                                                                       37.5% working interest insofar and only insofar as said
                                                                                                      lease covers depths between 10,596' measured depth and
Breton Sound 52/53       BS 52                      SL- LA        FEO                   –
                                         17675                                                             10,822' measured depth in the electric log for the          Active
    Fed / SL La         (portion)
                                                                                                              Century-UV B RA VUA; SL 17675 #1 well
                                                              recorded in Plaquemines Parish, Louisiana at COB 1038, Page 318, File No. 03000546
                                                                                                      15% working interest from the base of the UV3 B1 Sand
Breton Sound 52/53       BS 52                      SL- LA        FEO                   –
                                         17860                                                         and below within the confines of the VUC 387.59 acres           Active
    Fed / SL La         (portion)
                                                              recorded in Plaquemines Parish, Louisiana at COB 1055, Page 632, File No. 03007020
East Cameron 345         EC 345       OCS-G 15156   Federal        FEO          Talos ERT LLC                                 0.8% ORRI                                PROD
                                                                                                            4.655% ORRI insofar as the lease covers (i) the
                                                                                                       NW1/4SW/4 and S/2S/2 of Block 243, Green Canyon,
                                                                                                     from the surface to a total vertical depth of 20,500' subsea
                                                                                                      and (ii) the N1/2, NE1/4SW1/4 and N1/2SE1/4 of Block
                                                                                                       243, Green Canyon, from the surface to a total vertical
  Green Canyon                                                                 Hess (in part) and
                        GC 243        OCS-G 20051   Federal        FEO                                depth of 24,000' subsea (other than for the well specified       PROD
64/65/108/109/243                                                               Walter (in part)
                                                                                                                                below)
                                                                                                        3.92% ORRI in the Green Canyon 243 SS 005 ST01
                                                                                                      BP00 (API #608114045701), increasing to 4.655% upon
                                                                                                        the production of 5.8 million barrels of oil equivalent
                                                                                                                             from this well
 High Island 176         HI 176       OCS-G 27509   Federal        FEO          Castex Offshore                               2.5% ORRI                                PROD
 Onshore/ State             -           23017       SL-MS        FW SD          Tellus Operating                              0.5% ORRI


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     Field               Block          Lease          Type          Seller            Operator                                 Interest in Lease                        Lease Status
     Lease                                                                            Group LLC
                                                                                          recorded in Wayne County, Mississippi
 Onshore/ State                                       SL-MS         FW SD         Whiting Oil & Gas                                0.7% ORRI
                            -           170650
    Lease                                                                                 recorded in Jasper County, Mississippi
 Onshore/ State                                       SL-MS         FW SD          Black Jack Oil Co                               0.5% ORRI
                            -           230140
    Lease                                                                                recorded in Franklin County, Mississippi
 Onshore/ State                                       SL-MS         FW SD         Wilcox Energy Co                                 0.5% ORRI
                            -           230150
    Lease                                                                                recorded in Franklin County, Mississippi
 Onshore/ State                                       SL-MS         FW SD         Wilcox Energy Co                                 0.5% ORRI
                            -           231240
    Lease                                                                                recorded in Franklin County, Mississippi
                                                                                                                                 33% record title
                                                                                                          51% operating rights in all of Block 79, Ship Shoal Area,
                                                                                  ANKOR Energy (in
                                                                                                                from the surface to one hundred feet below the
Ship Shoal 79/80         SS 79       OCS-G 15277      Federal         FEO          part) and FEO (in                                                                        PROD
                                                                                                           stratigraphic equivalent of 11,318' true vertical depth as
                                                                                           part)
                                                                                                          seen in the electric log for the electric log dated March 7,
                                                                                                                    2001 for the OCS-G 15277 Well No. 2
                                                                                                                                 65% record title
                                                                                                            100% operating rights in all of Block 301, Ship Shoal         SOP thru
 Ship Shoal 3015         SS 301      OCS-G 10794      Federal         FEO                  FEO
                                                                                                           Area, from the surface down to and including a depth of        1/31/2021
                                                                                                                          13,000' total vertical depth
                                                                   Fieldwood                                                   37.5% record title
                                                                      FEO                                                      62.5% record title
                                                                                                            18.75% operating rights in all of Block 78, Vermilion
  Vermilion 78           VR 78       OCS-G 04421      Federal      Fieldwood          Fieldwood                                                                             PROD
                                                                                                                Area, from 11,953' TVDSS to 99,999' TVDSS
                                                                                                             62.5% operating rights in all of Block 78, Vermilion
                                                                      FEO
                                                                                                                Area, from 11,953' TVDSS to 99,999' TVDSS
                                                                                                            50.0% record title as to E1/2; E1/2W1/2 of Block 229,
                                                                                           FEO
                                                                                                                                 Vermilion Area
 Vermilion 229          VR 229       OCS-G 27070      Federal         FEO                                                                                                   PROD
                                                                                                               50.0% record title as to W1/2W1/2 of Block 229,
                                                                                   Tana Exploration
                                                                                                                                 Vermilion Area
                                                                   Fieldwood                                                33.33333% record title
Vermilion 362/371       VR 362       OCS-G 10687      Federal                              FEO                                                                              UNIT
                                                                    Bandon                                                  66.66667% record title


     5
         Fieldwood’s overriding royalty interest in this lease is not being conveyed hereunder.



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      Field             Block           Lease        Type          Seller            Operator                             Interest in Lease                     Lease Status
                                                                                                            16.66667% operating rights in all of Block 362,
                                                                Fieldwood                              Vermilion Area, South Addition, from 11,535' TVDSS to
                                                                                                                           99,999' TVDSS
                                                                                                            66.66667% operating rights in all of Block 362,
                                                                  Bandon                               Vermilion Area, South Addition, from 11,535' TVDSS to
                                                                                                                           99,999' TVDSS
                                                                Fieldwood           (see below)                           100% record title
                                                                                                         33.33333% operating rights in the SE/4 of Block 363,
                                                                Fieldwood
                                                                                                                   Vermilion Area, South Addition
                                                                                       FEO
                                                                                                         66.66667% operating rights in the SE/4 of Block 363,
                                                                  Bandon
                                                                                                                   Vermilion Area, South Addition
Vermilion 362/371      VR 363        OCS-G 09522    Federal                                            100% operating rights in the N1/2; SW1/4 of Block 363,      UNIT
                                                                Fieldwood           Fieldwood             Vermilion Area, South Addition, from the surface to
                                                                                                                           10,180' SSTVD
                                                                                                        50% operating rights in the N1/2; SW1/4 of Block 363,
                                                                Fieldwood           Fieldwood          Vermilion Area, South Addition, from 10,180' SSTVD to
                                                                                                                           99,999' SSTVD
                                                                Fieldwood                                              33.33333% record title
                                                                 Bandon                                                66.66667% record title
                                                                                                            16.66667% operating rights in all of Block 371,
                                                                Fieldwood                              Vermilion Area, South Addition, from 11,820' SSTVS to
Vermilion 362/371      VR 371        OCS-G 09524    Federal                            FEO                                                                         UNIT
                                                                                                                           99,999' SSTVD
                                                                                                            66.66667% operating rights in all of Block 371,
                                                                  Bandon                               Vermilion Area, South Addition, from 11,820' SSTVS to
                                                                                                                           99,999' SSTVD
West Delta 79/80       WD 57,        OCS-G 01449    Federal                            FEO                                                                         UNIT
                       WD 79,                                   Fieldwood                                                     2.5% ORRI6
                       WD 80
West Delta 79/80       WD 79,        OCS-G 01874    Federal     Fieldwood              FEO                                                                         UNIT
                                                                                                                              2.5% ORRI7
                       WD 80
West Delta 79/80       WD 80         OCS-G 01989    Federal     Fieldwood              FEO                                    2.5% ORRI8                           UNIT

     6
       No interest—other than Sellers’ interests in all overriding royalty interests—are being conveyed hereunder in this lease.
     7
       No interest—other than Sellers’ interests in all overriding royalty interests—are being conveyed hereunder in this lease.
     8
       No interest—other than Sellers’ interests in all overriding royalty interests—are being conveyed hereunder in this lease.



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      Field               Block         Lease           Type          Seller            Operator                            Interest in Lease                     Lease Status
 West Delta 79/80         WD 80       OCS-G 02136      Federal      Fieldwood              FEO                                 2.5% ORRI9                            UNIT
        -                   -            5749          SL- TX       Fieldwood         Fieldwood SD          100.0% working interest (lease recorded in Chambers      UNIT
                                                                   SD Offshore           Offshore                            County, Texas)
           -                                                        Fieldwood         Fieldwood SD          100.0% working interest (lease recorded in Chambers
                                          5797          SL-TX                                                                                                      TERMIN
                                                                   SD Offshore           Offshore                            County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         24318          SL-TX                      Fieldwood Onshore                                                               TERMIN
                                                                     Onshore                                                 County, Texas)
High Island 30/31 L          -                                                                               100% working interest (lease recorded in Jefferson
                                         106158         SL-TX          FEO                 FEO                                                                     TERMIN
     (SL TX)                                                                                                                 County, Texas)
High Island 30/31 L          -                                                                               100% working interest (lease recorded in Jefferson
                                         106159         SL-TX          FEO                 FEO                                                                     TERMIN
     (SL TX)                                                                                                                 County, Texas)
High Island 30/31 L          -                                                                               100% working interest (lease recorded in Jefferson
                                         114921         SL-TX          FEO                 FEO                                                                     TERMIN
     (SL TX)                                                                                                                 County, Texas)
         -                                                          Fieldwood         Fieldwood SD          100.0% working interest (lease recorded in Chambers
                                         172915         SL-TX                                                                                                      ACTIVE
                                                                   SD Offshore           Offshore                            County, Texas)
           -                                                        Fieldwood         Fieldwood SD          100.0% working interest (lease recorded in Chambers
                                         172916         SL-TX                                                                                                      ACTIVE
                                                                   SD Offshore           Offshore                            County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         178537         SL-TX                      Fieldwood Onshore                                                               TERMIN
                                                                     Onshore                                                 County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         183756         SL-TX                      Fieldwood Onshore                                                               TERMIN
                                                                     Onshore                                                 County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         185633         SL-TX                      Fieldwood Onshore                                                               TERMIN
                                                                     Onshore                                                 County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         186891         SL-TX                      Fieldwood Onshore                                                               ACTIVE
                                                                     Onshore                                                 County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         191681         SL-TX                      Fieldwood Onshore                                                               ACTIVE
                                                                     Onshore                                                 County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         207398         SL-TX                      Fieldwood Onshore                                                               ACTIVE
                                                                     Onshore                                                 County, Texas)
           -                                                        Fieldwood                                100% working interest (lease recorded in Galveston
                                         227360         SL-TX                      Fieldwood Onshore                                                               ACTIVE
                                                                     Onshore                                                 County, Texas)
           -                             234082         SL-TX       Fieldwood      Fieldwood Onshore         100% working interest (lease recorded in Galveston    TERMIN


      9
          No interest—other than Sellers’ interests in all overriding royalty interests—are being conveyed hereunder in this lease.



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     Field              Block           Lease      Type        Seller           Operator                             Interest in Lease                      Lease Status
                                                              Onshore                                                  County, Texas)
       -                                                     Fieldwood                              100% working interest (lease recorded in Galveston
                                       255675      SL-TX                    Fieldwood Onshore                                                                TERMIN
                                                              Onshore                                                  County, Texas)
Annapolis Valley       MC 380        OCS-G 36544   Federal   Fieldwood          Fieldwood                             100% record title                     PRIMARY
Annapolis Valley       MC 424        OCS-G 36545   Federal   Fieldwood          Fieldwood                             100% record title                     PRIMARY
                                                                                                 23.25% operating rights in all of Block 563, Mississippi
                                                             Fieldwood          Fieldwood       Canyon, as to depths from below 19,000' down to 99,999'
                                                                                                                           TVDSS
   Bartolome           MC 563        OCS-G 21176   Federal                                                                                                     PROD
                                                                                                   0.465% ORRI insofar as the lease covers all of Block
                                                                             Kosmos Energy
                                                               FEO                                  563, Mississippi Canyon, limited to depths from the
                                                                             GOM Operations
                                                                                                                 surface to 19,000' TVDSS
                                                                              BHP Billiton       25% operating rights in all of Block 282, Green Canyon,
                                                             Fieldwood
                                                                            Petroleum (GOM)                 from 16,700’ TVD to 99,999' TVD
     Boris             GC 282        OCS-G 16727   Federal                                                                                                     PROD
                                                                            Energy Resource     1.75% ORRI insofar as the lease pertains to depths from 0
                                                               FEO
                                                                            Technology GOM                             to 16,999' TVD
                                                                                                                     37.5% record title
                                                                                                0% operating rights in E1/2 of Block 679, Green Canyon
                                                                                Anadarko
                                                                                                    Area, limited in depth from the surface down to the
                                                                                Petroleum
                                                                                                 stratigraphic equivalent of 16,048' TVD (17,315' MD) as
                                                                               Corporation
                                                                                                seen in the Kerr-McGee OCS-G 21811 No. 1 (ST#1) well
   Deep Blue           GC 679        OCS-G 21811   Federal   Fieldwood                                                                                         PROD
                                                                                                0% operating rights in W1/2 of Block 679, Green Canyon
                                                                            Eni US Operating
                                                                                                  Area, limited in depth from the surface down to 16,048'
                                                                                Co. Inc.
                                                                                                                            TVD
                                                                                                    43.125% operating rights in all of Block 679, Green
                                                                                Fieldwood
                                                                                                        Canyon, below 16,048' TVD to 99,999' TVD
  Emory Peak           MC 743        OCS-G 36401   Federal   Fieldwood        Chevron USA                             25% record title                      PRIMARY




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    Field              Block           Lease      Type        Seller            Operator                            Interest in Lease                     Lease Status
Ewing Bank 834                                                                                   1.3% ORRI insofar as the lease cover the SE/4 of Block
                      EW 789        OCS-G 35805   Federal    Fieldwood         Walter O&G                                                                    UNIT
 (Coelacanth)                                                                                     789, Ewing Bank, from the surface to 26,000' SSTVD
                                                                                                        100.0% operating rights in SW1/4SW1/4;
                                                                                                         S1/2SE1/4SW1/4; S1/2SW1/4SE1/4 and
                                                                                                 NW1/4SE1/4SW1/4 of Block 790, Ewing Bank, limited
                                                                                                to depths from below 26,000' TVDSS to 99,999' TVDSS
                                                                                               100.0% operating rights in N1/2; N1/2S1/2; SE1/4SE1/4;
Ewing Bank 834
                      EW 790        OCS-G 33140   Federal    Fieldwood          Fieldwood        N1/2SW1/4SE1/4 and N1/4SE1/5SW1/4 of Block 790,             UNIT
 (Coelacanth)
                                                                                                    Ewing Bank, from the surface to 99,999' TVDSS
                                                                                                  1.3% ORRI insofar as the lease covers SW1/4SW1/4;
                                                                                               S1/2SE1/4SW1/4; S1/2SW1/4SE1/4; NW1/4SE1/4SW1/4
                                                                                                  of Block 790, Ewing Bank, from surface down to and
                                                                                                               including 26,000' TVDSS
                                                                                                      1.3% ORRI insofar as the lease covers NE1/4,
Ewing Bank 834                                                                                 NW1/4NW1/4, N/2SE1/4NE1/4 and NE/4NE/4 of Block
                      EW 834        OCS-G 27982   Federal   Fieldwood          Walter O&G                                                                    UNIT
 (Coelacanth)                                                                                      834, Ewing Bank, from the surface down to 26,000'
                                                                                                                         TVDSS
                                                                                               1.3% ORRI insofar as the lease covers the North 7800' of
Ewing Bank 834
                      EW 835        OCS-G 33707   Federal   Fieldwood          Walter O&G      Block 835, Ewing Bank, from the surface down to 26,000'       UNIT
 (Coelacanth)
                                                                                                                         TVDSS
                                                                                                        1.3% ORRI insofar as the lease covers the
Ewing Bank 834
                      MC 793        OCS-G 33177   Federal   Fieldwood          Walter O&G         W1/2W1/2NW1/4 of Block 793, Mississippi Canyon,            UNIT
 (Coelacanth)
                                                                                                        from the surface down to 26,000' TVDSS
  Fandango            MC 297        OCS-G 34434   Federal    Fieldwood          Fieldwood                            70% record title                     PRIMARY




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      Field              Block           Lease      Type       Seller            Operator                           Interest in Lease                      Lease Status
                                                                                                                    65.0% record title
                                                                                                 49% operating rights in SW1/4 of Block 519, Mississippi
                                                                                                 Canyon, from the surface down to and including 99,999'
                                                                                                                         TVDSS
                                                                                                    49% operating rights in S1/2NW1/4 of Block 519,
                                                                                                    Mississippi Canyon, from the surface down to and
                                                                                                                    including 14,000'
                                                                             BP E&P (in part)      25.75% operating rights in S1/2; S1/2SE1/4NE1/4 of
    Galapagos           MC 519        OCS-G 27278   Federal   Fieldwood      and Fieldwood (in      Block 519, Mississippi Canyon, from depths below          PROD
                                                                                   part)          19,300' TVDSS down to and including 99,999' TVDSS
                                                                                                   25.75% operating rights in S1/2NW1/4 of Block 519,
                                                                                                 Mississippi Canyon, from depths below 14,000' TVDSS
                                                                                                          down to and including 99,999' TVDSS
                                                                                                   25.75% operating rights in N1/2NW1/4; N1/2NE1/4;
                                                                                                    SW1/4NE1/4 and N1/2SE1/4NE1/4 of Block 519,
                                                                                                    Mississippi Canyon, from the surface down to and
                                                                                                                including 99,999' TVDSS
Green Canyon 39/40
                        EW 1009       OCS-G 34878   Federal   Fieldwood          Fieldwood                          50% record title                          UNIT
     (Katmai)
Green Canyon 39/40
                        EW 1010       OCS-G 34879   Federal   Fieldwood          Fieldwood                          50% record title                          UNIT
     (Katmai)
Green Canyon 39/40
                        EW 1011       OCS-G 34880   Federal   Fieldwood          Fieldwood                          50% record title                          UNIT
     (Katmai)
Green Canyon 39/40
                        GC 39 A       OCS-G 34966   Federal   Fieldwood          Fieldwood                          50% record title                          UNIT
     (Katmai)
Green Canyon 39/40
                        GC 39 B       OCS-G 36476   Federal   Fieldwood          Fieldwood                          50% record title                       PRIMARY
     (Katmai)
Green Canyon 39/40
                        GC 040        OCS-G 34536   Federal   Fieldwood          Fieldwood                          50% record title                          UNIT
     (Katmai)
Green Canyon 39/40
                        GC 041        OCS-G 34537   Federal   Fieldwood          Fieldwood                          50% record title                          UNIT
     (Katmai)
  Green Canyon
64/65/108/109/243       GC 064        OCS-G 34539   Federal     FEO                 FEO                             49% record title                         PROD

  Green Canyon                                                                                   49% operating rights in all of Block 65, Green Canyon,
64/65/108/109/243       GC 065        OCS-G 05889   Federal     FEO                 FEO          from the surface of the earth down to and including the      UNIT
                                                                                                                  depth of 99,999 feet




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      Field               Block          Lease           Type         Seller            Operator                              Interest in Lease                       Lease Status
                                                                                                           49% operating rights in all of Block 108, Green Canyon,
  Green Canyon
                         GC 108       OCS-G 14668       Federal        FEO                FEO               from the surface of the earth down to and including the      UNIT
64/65/108/109/243
                                                                                                                             depth of 99,999 feet

                                                                                                           49% operating rights in all of Block 109, Green Canyon,
  Green Canyon
                         GC 109       OCS-G 05900       Federal        FEO                FEO               from the surface of the earth down to and including the      UNIT
64/65/108/109/243
                                                                                                                             depth of 99,999 feet

                                                                                                                              100% record title
                                                                                                                53.33333% operating rights in NW1/4SE1/4;
Green Canyon 200                                                                                             SE1/4NE1/4; E1/2SE1/4NW1/4; S1/3NE1/4NW1/4;
                         GC 200       OCS-G 12209       Federal        FEO                FEO                                                                            UNIT
(Troika & Orlov)                                                                                          W1.2E1/2SE1/4; NE1/4SW1/SE1/4; SW1/4NW1/4NE1/4
                                                                                                          of Block 200, Green Canyon, as to all depths from surface
                                                                                                                             to 17,518' TVDSS

                                                                                                            100% record title as to the W/2 and SE/4 of Block 201,
                                                                                          FOE
                                                                                                                                 Green Canyon
Green Canyon 200
                         GC 201       OCS-G 12210       Federal        FEO                                                                                               UNIT
    (Troika)10
                                                                                                           4.87999% ORRI insofar as the lease covers the NE1/4 of
                                                                                   LLOG Exploration         Block 157, Green Canyon, from the surface to 17,000'
                                                                                                                               subsea TVD
                                                                                    FOE (in part) and                        100% record title
                                                                                       Deepwater
Green Canyon 200                                                                                          0% operating rights as to all of Block 244, Green Canyon,
                         GC 244       OCS-G 11043       Federal        FEO           Abandonment                                                                         UNIT
    (Troika)                                                                                               as to those depths from 16,000 feet true vertical depth
                                                                                    Alternatives, Inc.
                                                                                                            subsea down to 24,000 feet true vertical depth subsea
                                                                                        (in part)
     Gunflint            MC 904       OCS-G 36566       Federal     Fieldwood          Fieldwood                            58.9363% record title                     PRIMARY
     Gunflint            MC 905       OCS-G 36405       Federal     Fieldwood          Fieldwood                            58.9363% record title                     PRIMARY
    Hagerman             MC 789       OCS-G 36557       Federal     Fieldwood          Fieldwood                              100% record title                       PRIMARY
                                                                                                                           24.33333% record title
                                                                                                            12.5% operating rights in all of Block 474, Mississippi
Isabela N (Miocene)      MC 474       OCS-G 35825       Federal     Fieldwood            BP E&P                                                                       PRIMARY
                                                                                                           Canyon, from depths below 20,000' TVDSS down to and
                                                                                                                         including 99,9999' TVDSS




      10
           As to this Other Lease, no interest in the operating rights or record title as to the NE1/4 of Block 201, Green Canyon, is being conveyed hereunder.



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      Field              Block           Lease      Type       Seller            Operator                          Interest in Lease                       Lease Status
                                                                                                                 24.33333% record title
                                                                                                 12.5% operating rights in all of Block 518, Mississippi
Isabela N (Miocene)     MC 518        OCS-G 35828   Federal   Fieldwood           BP E&P                                                                   PRIMARY
                                                                                                Canyon, from depths below 19,500' TVDSS down to and
                                                                                                              including 99,9999' TVDSS
    King Cake            AT 023       OCS-G 35015   Federal   Fieldwood      Murphy E&P USA                        7.75% record title                      PRIMARY
                                                                               BHP Billiton     40% operating rights in all of Block 238, Green Canyon,
                                                              Fieldwood
                                                                             Petroleum (GOM)              from 16,700' TVD to 99,999' TVD
    Little Burn         GC 238        OCS-G 26302   Federal                                                                                                   PROD
                                                                                                 2.8% ORRI insofar as the lease pertains to depths from
                                                                FEO           Talos ERT LLC
                                                                                                                   0 to 16,999' TVD
                                                                                                                   12.5% record title
                                                                                                  0% operating rights in N/2 of Block 562, Mississippi
                                                                                                     Canyon, from the surface to 19,500' TVDSS
                                                                                                12.5% operating rights in N/2 of Block 562, Mississippi
Mississippi Canyon
                        MC 562        OCS-G 19966   Federal   Fieldwood           BP E&P        Canyon, from depths below 19,500' TVDSS down to and           PROD
  562 (Isabela)
                                                                                                               including 99,999' TVDSS
                                                                                                12.5% operating rights in S/2 of Block 562, Mississippi
                                                                                                Canyon, from depths below 20,000' TVDSS down to and
                                                                                                               including 99,999' TVDSS
Mississippi Canyon      MC 697
                                      OCS-G 28021   Federal   Fieldwood          Fieldwood                          54% record title                          UNIT
 698 (Big Bend)           A
Mississippi Canyon
                        MC 698        OCS-G 28022   Federal   Fieldwood          Fieldwood                          54% record title                          UNIT
 698 (Big Bend)
                                                                                                    100% record title in NE1/4; S1/2 of Block 742,
Mississippi Canyon                                                                                                 Mississippi Canyon
                        MC 742        OCS-G 32343   Federal   Fieldwood          Fieldwood                                                                    UNIT
 698 (Big Bend)                                                                                   54% record title in NW1/4 of Block 742, Mississippi
                                                                                                                        Canyon
Mississippi Canyon
                        MC 782        OCS-G 33757   Federal   Fieldwood          Fieldwood                          45% record title                          PROD
  782 (Dantzler)
Mississippi Canyon
 948/949/992/993        MC 948        OCS-G 28030   Federal   Fieldwood          Fieldwood                       58.9363% record title                        UNIT
    (Gunflint)
Mississippi Canyon
 948/949/992/993        MC 949        OCS-G 32363   Federal   Fieldwood          Fieldwood                       58.9363% record title                        UNIT
    (Gunflint)
                                                                                                58.9363% record title in N1/2 of Block 992, Mississippi
Mississippi Canyon
                                                                                                                        Canyon
 948/949/992/993        MC 992        OCS-G 24133   Federal   Fieldwood          Fieldwood                                                                    UNIT
                                                                                                 52.94% record title in S1/2 of Block 992, Mississippi
    (Gunflint)
                                                                                                                        Canyon


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       Field             Block           Lease      Type       Seller            Operator                          Interest in Lease                        Lease Status
                                                                                                58.9363% record title in N1/2 of Block 993, Mississippi
Mississippi Canyon
                                                                                                                        Canyon
 948/949/992/993        MC 993        OCS-G 24134   Federal   Fieldwood          Fieldwood                                                                     UNIT
                                                                                                   45% record title in S1/2 of Block 993, Mississippi
    (Gunflint)
                                                                                                                        Canyon
    Mt. Driskill        MC 691        OCS-G 36400   Federal   Fieldwood         Fieldwood                           50% record title                        PRIMARY
   Murrayfield          MC 118        OCS-G 35963   Federal   Fieldwood        Chevron USA                         5.45% record title                       PRIMARY
   Murrayfield          MC 119        OCS-G 36537   Federal   Fieldwood        Chevron USA                         5.45% record title                       PRIMARY
   Murrayfield          MC 162        OCS-G 36880   Federal   Fieldwood        Chevron USA                         5.45% record title                       PRIMARY
   Murrayfield          MC 163        OCS-G 36538   Federal   Fieldwood        Chevron USA                         5.45% record title                       PRIMARY
   Murrayfield          MC 206        OCS-G 36540   Federal   Fieldwood        Chevron USA                         5.45% record title                       PRIMARY
   Scaramanga           MC 171        OCS-G 34428   Federal   Fieldwood         Fieldwood                          100% record title                        PRIMARY
   Scaramanga           MC 172        OCS-G 34429   Federal   Fieldwood         Fieldwood                          100% record title                        PRIMARY
     Schooner           MC 435        OCS-G 36772   Federal   Fieldwood         Fieldwood                           100% record title                       PRIMARY
     Schooner           MC 436        OCS-G 36773   Federal   Fieldwood         Fieldwood                           100% record title                       PRIMARY
  South Marsh Is.
                         SM 40        OCS-G 13607   Federal     FEO                 FEO                            100% record title                         TERMIN
     40/41/44
                                                                                                                   100% record title
                                                                                                   100% operating rights in all of Block 287, South
                                                                                                  Timbalier Area, South Addition, from the surface to
South Timbalier 308
                         ST 287       OCS-G 24987   Federal   Fieldwood          Fieldwood                          13,852' SSTVD                              PROD
 / Ewing Bank 873
                                                                                                50% operating rights in all of Block 287, South Timbalier
                                                                                                 Area, South Addition, from 13,852' SSTVD to 99,999'
                                                                                                                         SSTVD
                                                                                                                   100% record title
                                                                                                   100% operating rights in all of Block 308, South
                                                                                                  Timbalier Area, South Addition, from the surface to
South Timbalier 308
                         ST 308       OCS-G 21685   Federal   Fieldwood          Fieldwood                          18,571' SSTVD                              PROD
 / Ewing Bank 873
                                                                                                50% operating rights in all of Block 308, South Timbalier
                                                                                                 Area, South Addition, from 18,571' SSTVD to 99,999'
                                                                                                                         SSTVD
    Steamboat           GC 153        OCS-G 36814   Federal   Fieldwood          Fieldwood                         100% record title                        PRIMARY
      Talon             GC 198        OCS-G 36021   Federal      FEO                FEO                            100% record title                        PRIMARY
    Tarantula           EW 828        OCS-G 35806   Federal      FEO                FEO                            100% record title                        PRIMARY




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    Field              Block           Lease       Type       Seller             Operator                            Interest in Lease                         Lease Status
                                                                                (see below)                           100% record title
                                                                                                 50% operating rights in all of Block 768, Green Canyon,
                                                                                 Anadarko        from the surface to the stratigraphic equivalent of 13,370'
                                                                                                         subsea TVD in the OCS-G 21817 #1 Well
 Ticonderoga          GC 768        OCS-G 21817   Federal   Fieldwood                                                                                             PROD
                                                                                                    43.125% operating rights in all of Block 768, Green
                                                                                                   Canyon, below the stratigraphic equivalent of 13,370'
                                                                                 Fieldwood
                                                                                                    subsea TVD in the OCS-G 21817 #1 Well down to a
                                                                                                               depth of 40,000' subsea TVD
                                                             Fieldwood
Umbrella Point            -            5752       SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                              Onshore
                                                             Fieldwood         Fieldwood SD
Umbrella Point            -           140960      SL - TX                                                            100% record title                          TERMIN
                                                            SD Offshore           Offshore
 WILDCAT -
                                                            Fieldwood
 ACOM O.H.                -           165888      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore
  ESTATE
                                                            Fieldwood
EAGLE BAY                 -           186892      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore
                                                            Fieldwood
EAGLE BAY                 -           176012      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore
                                                            Fieldwood
EAGLE BAY                 -           179673      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore
                                                            Fieldwood
EAGLE BAY                 -           188919      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore
                                                            Fieldwood
EAGLE BAY                 -           188921      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore
                                                            Fieldwood
EAGLE BAY                 -           269151      SL - TX                    Fieldwood Onshore                       100% record title                          TERMIN
                                                             Onshore

                                                                       [End of Exhibit A]




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                                                                                          Exhibit B
                                                                                          Easements

         Part 1. Co-Owned Easements
 ROW                     Segment   Originating    Originating   Originating   Receiving   Receiving   Receiving    Size                              Associated    Undivided interest to be
              Seller                                                                                                       Product        Status
Number                   Number       Area          Block         Name          Area       Block       Name       (inch)                               Lease         assigned to Buyer
G03432   Fieldwood        4647          SM           149         6"SSTI           SM        132          B          6      BLKO       Active          G02592                50%
G09319   Fieldwood        5890          ST            53            A             ST         52          A          6       OIL       Active          G04000                50%
           GOM
G12304                    9084          GI            43           AS             GI         19         F/S        10       OIL       Active           00175                25%
            Shelf
                                                                 Caisson
G28385   Fieldwood       17265          ST            68                          ST         53          A          6      BLKO       Active          G04000             20.334%
                                                                  No. 1



         RUEs related to Co-Owned Leases
                                                                                                                                                   Party to hold        Undivided
                                                                                                                                                   RUE on behalf       interest for
    RUE                    Block                      Complex                                                 Approval        Associated
                  Area                  Structure                       FW Lease           Operator                                                 of Buyer and      which Buyer is
   Number                   No.                        ID No.                                                   Date            Assets
                                                                                                                                                     Fieldwood            to be
                                                                                                                                                      Energy I         responsible
                                         CAISS.
   G30267          ST        68                         24108             00020            Fieldwood          03/09/18         ST 67 #6               Buyer               20.334%
                                           #1
                                                                                                                            SM 136 C 007,
                                                                         G02592                                                                      Fieldwood
   [G30329         SM       132              B          21982                              Fieldwood          5/06/19       SM 149 C001,                                   50%]11
                                                                         G02588                                                                       Energy I
                                                                                                                            C002 & C004




         11
              Treatment of RUE G30329 and associated platform (SOUTH MARSH ISLAND 132 P/F B) is under discussion between the Parties.



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         Part 2. Other Easements

 ROW                      Segment        Originating   Originating   Originating     Receiving   Receiving     Receiving      Size                         Associated
              Seller                        Area         Block                         Area       Block
                                                                                                                                      Product    Status
Number                    Number                                       Name                                      Name        (inch)                          Lease
G09330        FEO           8204            SS             80            A              EI         125          30 SSTI         6      G/C       Active     G15277
G15047       Bandon         10675           VR            371            A             VR          350          08 SSTI        6       OIL       Active     G09524
G16055        FEO           11050           SS            301            A              SS         300             B           8      BLKO       Active     G10794
G23712     Fieldwood        13736           SS             79            #2             SS          80             A           4      BLKO       Active     G15277
G23713     Fieldwood        13737           SS             79            #2             SS          80             A           4      BLKO       Active     G15277
G28816     Fieldwood        14292           SM             40            JA            SM           40         10"SSTI         6       OIL       Active     G13607
G28817     Fieldwood        14293           SM             40            B             SM           40            JA           6      BLKO       Active     G13607
G28818     Fieldwood        14294           SM             40            B             SM           40            JA           6      BLKO       Active     G13607
G28819     Fieldwood        14295           SM             40            JA            SM           40             B           2       LIFT      Active     G13607
G09349        FEO            8255           GC             65            A             GC           19             A          12       OIL       Active     G05889
                            11393           GC            200        SS Manifold       GC           65             A          10      BLKO       Active     G12210
                            11394           GC            200        SSMANIFO          GC           65             A          24      CSNG       Active     G12210
G17737        FEO
                            11395           GC            200        SSMANIFO          GC           65             A           5       UMB       Active     G12210
                            11959           GC            200        SSMANIFO          GC           65             A           2       UMB       Active     G12210
                            11396           GC            200        SSMANIFO          GC           65             A          10      BLKG       Active     G12210
                            11397           GC            200        SSMANIFO          GC           65             A          24      CSNG       Active     G12210
G17738        FEO
                            11410           GC            200        SSMANIFO          GC           65             A           5       UMB       Active     G12210
                            12141           GC            200        SSMANIFO          GC           65             A           5       UMB      Proposed    G12210
G17685        FEO           11260           GC             65            A             GC           19            A           16       OIL       Active     G05889
                                                                     PLET NPL3                                 Gulfstar 1
                            19154           MC            948                          MC          724                         8      BLKO       Active     G28030
                                                                       HUB                                      SPAR
                                                                     PLET NPL3
G28736     Fieldwood        19365           MC            948                          MC          767         ILS NPL1       12      CSNG       Active     G28030
                                                                       HUB
                                                                     PLET NPL3                                PLET SPL2
                            19374           MC            948                          MC          948                         8      BLKO       Active     G28030
                                                                       HUB                                       HUB
                                                                                                             Mid-Line PLET
G28809        FEO           20222           GC            244         PLEM A           GC          156                         8      BLKO      Proposed    G11043
                                                                                                                  A-1
G28820        FEO           20197           GC            156          PLET 2          GC          156         A-2 PLET        8      BLKO       Active     G12209


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 ROW                      Segment        Originating   Originating    Originating        Receiving   Receiving     Receiving        Size                         Associated
              Seller                        Area         Block                             Area       Block
                                                                                                                                            Product    Status
Number                    Number                                         Name                                       Name           (inch)                          Lease
                                                                      PLET SPL2                                    Gulfstar 1
                            19155           MC            948                              MC          724                           8      BLKO       Active     G28030
                                                                         HUB                                        SPAR
G29287        FEO           19362           MC            724        Gulfstar 1 Spar       MC          948          UTA1             8       UMB       Active     G28030
                            19432           MC            948         PLET SPL2            MC          768         ILS SPL1         12      CSNG       Active     G28030
                            19282           MC            736        A Thunderhawk         MC          782       Dan 1 STUA 1        6      UBEH       Active     G33757
G29294     Fieldwood
                            19296           MC            698         RGl PLET 1           MC          736       A Thunderhawk      12      CSNG       Active     G28022
                            19097           MC            698         RGL PLET 1           MC          736       A Thunderhawk       8      BLKO       Active     G28022
                            19149           MC            698         RGL PLET 1           MC          736       A Thunderhawk       8      BLKO       Active     G28022
G29295     Fieldwood
                            19283           MC            736        A Thunderhawk         MC          698        BBD SUTA           6       UMB       Active     G28022
                            19364           MC            698         RGL PLET 1           MC          736             A            12      CSNG       Active     G28022
                            19297           MC            736        A Thunderhawk         MC          692         North Plet        1       LIFT      Active     G28022
G29299     Fieldwood
                            19334           MC            736        A Thunderhawk         MC          692          SUTA             5      UMBH       Active     G28022
                                                                     Mid-Line PLET                               Md-Line PLET
                            20221           GC            156                              GC          156                           8      BLKO       Active     G12209
                                                                          A-1                                        A-2
G29417        FEO
                                                                     Mid-Line PLET
                            20155           GC            156                              GC           65             A             8      BLKO      Proposed    G12209
                                                                          A-2
                                                                                                                    TROIKA
G29420        FEO           20183           GC            200            SUTA              GC          244                           5       UMB      Proposed    G11043
                                                                                                                     SUTA
G29424        FEO           20195           GC             65              A               GC          200           SUTA            3       UMB      Proposed    G12209
G29425        FEO           20196           GC            200           PLET-1             GC          156          PLET-2           8      BLKO      Proposed    G12210
                            20202           GC             40          K1 PLET              ST         308             A             8      BLKO      Proposed    G34966
G29427        FEO           20203           GC             40          K1 PLET              ST         308       Start Up Flange    12      CSNG      Proposed    G34966
                            20278           ST            308              A               GC           39         K2 SUTA           5      UBEH      Proposed    G34966
G29427     Fieldwood        20200           GC             39          K2 SUTA             GC           40         K1 SUTA           5      UBEH       Active     G34966




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RUEs related to Other Leases

   RUE                         Block               Complex                                      Approval
                 Area                  Structure             FW Lease               Operator                  Associated Assets
  Number                        No.                 ID No.                                        Date
  G30201          SS            80        A         23548     G15277                  FEO       02/07/13          SS 79 A002
                                                                                                            SM 41 B2, B3, B4, B6 &
   G30342         SM            40        B         1266      G13607                  FEO       06/21/18
                                                                                                                   SM 40 B5
   G30352         SM            40        JA        27017     G13607                  FEO                    SM 41 B PF and wells
                                          A                                                                  MC 698 001, MC 734
   G30354         MC            736    (Thunder     2045      G28022                Fieldwood   07/03/18     SS002, SS004, SS005,
                                        Hawk)                                                              SS006, MC 782 001 & 002

                                                              [End of Exhibit B]




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                                       Exhibit C
                                    Scheduled Wells

Part 1. Co-Owned Wells

                    Asset Name         FWE Acct. Code    Lease Number       API
         GRAND ISLE 032 #U012 ST1        GI032U1201         00174       177192014502
         GRAND ISLE 039 #P002 ST2        GI039P0202         00127       177174097802
           GRAND ISLE 040 #E007D         GI040E07D0         00128       177170077500
            GRAND ISLE 040 #E009         GI040E0900         00128       177170078700
            GRAND ISLE 040 #G001         GI040G0100         00128       177170070400
            GRAND ISLE 040 #G002         GI040G0200         00128       177170076200
            GRAND ISLE 040 #G006         GI040G0600         00133       177174012600
            GRAND ISLE 040 #G010         GI040G1000         00128       177174037200
            GRAND ISLE 040 #G011         GI040G1100         00128       177174037300
            GRAND ISLE 040 #M001         GI040M0100         00128       177174037000
           GRAND ISLE 040 #M002D         GI040M02D0         00128       177174038600
            GRAND ISLE 040 #M003         GI040M0300         00128       177174043600
            GRAND ISLE 040 #O005         GI040O0500         00128       177174097100
            GRAND ISLE 041 #D002         GI041D0200         00129       177170075300
            GRAND ISLE 041 #D003         GI041D0300         00129       177170076700
            GRAND ISLE 041 #D004         GI041D0400         00130       177170080500
            GRAND ISLE 041 #D007         GI041D0700         00129       177172000000
          GRAND ISLE 041 #D008 ST        GI041D0801         00130       177172000801
            GRAND ISLE 041 #D009         GI041D0900         00129       177172001500
          GRAND ISLE 041 #D010ST         GI041D1000         00129       177174017801
           GRAND ISLE 041 #D011E         GI041D1100         00129       177174018400
         GRAND ISLE 041 #E001 ST1        GI041E0101         00130       177170069401
         GRAND ISLE 041 #E002 ST1        GI041E0201         00130       177170074701
           GRAND ISLE 041 #E003D         GI041E03D0         00130       177170075000
         GRAND ISLE 041 #E004 ST1        GI041E0401         00130       177170075201
            GRAND ISLE 041 #E005         GI041E0500         00129       177170075400
           GRAND ISLE 041 #E006D         GI041E06D0         00130       177170077300
            GRAND ISLE 041 #E008         GI041E0800         00130       177170079800
            GRAND ISLE 041 #E010         GI041E1001         00130       177172000301
           GRAND ISLE 041 #E012D         GI041E12D0         00130       177174011500
            GRAND ISLE 041 #E013         GI041E1300         00130       177174012900
         GRAND ISLE 041 #F003 ST1        GI041F0301         00129       177174006401
         GRAND ISLE 041 #F005 ST2        GI041F0502         00129       177174017302
            GRAND ISLE 041 #G007         GI041G0700         00130       177174022400
            GRAND ISLE 041 #G008         GI041G0800         00130       177174026400



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                    Asset Name          FWE Acct. Code    Lease Number       API
            GRAND ISLE 041 #H001          GI041H0100         00130       177174020300
            GRAND ISLE 041 #H002          GI041H0200         00129       177174028100
          GRAND ISLE 041 #H003 ST         GI041H0301         00130       177174028601
            GRAND ISLE 041 #H004          GI041H0400         00130       177174038000
            GRAND ISLE 041 #H005          GI041H0500         00129       177174038100
         GRAND ISLE 041 #H006 ST1         GI041H0601         00129       177174098301
            GRAND ISLE 041 #H007          GI041H0700         00130       177174098400
            GRAND ISLE 042 #C001          GI042C0100         00131       177170067000
            GRAND ISLE 042 #C002          GI042C0200         00131       177170072100
            GRAND ISLE 042 #F001          GI042F0100         00131       177174005100
            GRAND ISLE 042 #F002          GI042F0200         00131       177174006000
            GRAND ISLE 042 #F004          GI042F0400         00131       177174007100
          GRAND ISLE 046 #001 ST1         GI04600101         00132       177174042801
         GRAND ISLE 046 #G009 ST1         GI046G0901         00132       177174026101
            GRAND ISLE 047 #E006          GI047E0600         00133       177170078100
            GRAND ISLE 047 #E008          GI047E0800         00133       177170079500
            GRAND ISLE 047 #E017          GI047E1700         00133       177174039900
          GRAND ISLE 047 #G004 ST         GI047G0401         00133       177170079601
          GRAND ISLE 047 #G005 ST         GI047G0501         00133       177170080301
            GRAND ISLE 047 #G012          GI047G1200         00133       177174037500
            GRAND ISLE 047 #L001          GI047L0100         00133       177174012800
          GRAND ISLE 047 #L002 ST         GI047L0201         00133       177174015901
            GRAND ISLE 047 #L003          GI047L0300         00133       177174020500
            GRAND ISLE 047 #L004          GI047L0400         00133       177174017000
            GRAND ISLE 047 #L005          GI047L0500         00133       177174017900
           GRAND ISLE 047 #L006D          GI047L0600         00133       177174036300
          GRAND ISLE 047 #L007 ST         GI047L0701         00177       177174039101
         GRAND ISLE 047 #L009 ST1         GI047L0901         00133       177174039201
         GRAND ISLE 047 #L011 ST2         GI047L1102         00133       177174039602
         GRAND ISLE 047 #O001 BP2         GI047O01D3         00133       177174096102
            GRAND ISLE 047 #O002          GI047002D1         00133       177174096600
            GRAND ISLE 047 #O004          GI047O0400         00133       177174096900
            GRAND ISLE 047 #O006          GI047O0600         00133       177174097200
         GRAND ISLE 047 #O007 ST1         GI047O0701         00133       177174097301
            GRAND ISLE 047 #O008          GI047O0800         00133       177174097600
            GRAND ISLE 047 #O009          GI047O09D1         00133       177174097700
            GRAND ISLE 048 #E001          GI048E0100         00134       177170045400
            GRAND ISLE 048 #E014          GI048E1400         00134       177172003900
          GRAND ISLE 048 #E018 ST         GI048E1801         00134       177174043501
          GRAND ISLE 048 #J002 ST1        GI048J0201         00134       177174003201



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                    Asset Name           FWE Acct. Code    Lease Number       API
          GRAND ISLE 048 #J003 ST          GI048J0302         00134       177174004502
          GRAND ISLE 048 #J004 ST2         GI048J0403         00134       177174004803
          GRAND ISLE 048 #J005 ST          GI048J0501         00134       177174011601
            GRAND ISLE 048 #J006           GI048J0600         00134       177174012000
            GRAND ISLE 048 #J007           GI048J0700         00134       177174012200
            GRAND ISLE 048 #J008           GI048J0800         00134       177174016900
            GRAND ISLE 048 #J009           GI048J0900         00134       177174044200
          GRAND ISLE 048 #J010 ST          GI048J1001         00134       177174044401
       GRAND ISLE 048 #P001 FKA #14        GI048P0100         00134       177174015300
            GRAND ISLE 110 #A002           GI110A0200        G13943       177184008900
         GRAND ISLE 110 #A005 BP2          GI110A0502        G13943       177184010402
            GRAND ISLE 116 #A001           GI116A0100        G13944       177184008700
            GRAND ISLE 116 #A003           GI116A0300        G13944       177184009200
            GRAND ISLE 116 #A004           GI116A0401        G13944       177184009501
            GRAND ISLE 116 #A006           GI116A0601        G13944       177184010601
            GRAND ISLE 116 #A007           GI116A0700        G13944       177184011100
       MISSISSIPPI CANYON 110 #001         MC1100100         G18192       608174060500
      MISSISSIPPI CANYON 110 #A009        MC110A0900         G18192       608174042501
    MISSISSIPPI CANYON 110 #A011ST        MC110A1101         G18192       608174042801
      MISSISSIPPI CANYON 110 #A031        MC110A3100         G18192       608174087900
         SOUTH MARSH IS 048 #E002          SM048E0201         00786       177072002801
    SOUTH MARSH IS 048 #E003 ST1BP         SM048E0302         00786       177072003302
         SOUTH MARSH IS 048 #E004          SM048E0401         00786       177072004001
         SOUTH MARSH IS 048 #E007           SM048E07          00786       177074092300
      SOUTH MARSH IS 149 #C001 ST1         SM149C0101        G02592       177084088901
         SOUTH MARSH IS 149 #C002          SM149C0200        G02592       177084089100
         SOUTH MARSH IS 149 #C004          SM149C0400        G02592       177084090300
         SOUTH MARSH IS 149 #C005          SM149C0500        G02592       177084090400
         SOUTH MARSH IS 149 #D001          SM149D0101        G02592       177084094401
         SOUTH PASS 061 #D004 ST2          SP061D0402        G01609       177234006302
            SOUTH PASS 061 #D023           SP061D2300        G01609       177234008200
         SOUTH PASS 061 #D024 ST1          SP061D2401        G01609       177234007701
            SOUTH PASS 061 #D025           SP061D2500        G01609       177234008300
            SOUTH PASS 061 #D026           SP061D2600        G01609       177234008400
         SOUTH PASS 061 #D033 ST2          SP061D3302        G01609       177234008702
         SOUTH PASS 061 #D035 ST2          SP061D3502        G01609       177234009102
         SOUTH PASS 061 #D036 ST1          SP061D3601        G01609       177234009201
         SOUTH PASS 061 #D039 ST1          SP061D3901        G01609       177234009801
         SOUTH PASS 061 #D040 ST2          SP061D4002        G01609       177234009502
         SOUTH PASS 061 #D043 ST2          SP061D4302        G01609       177234009602



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                    Asset Name         FWE Acct. Code    Lease Number       API
         SOUTH TIMBALIER 053 #004        ST05300401        G04000       177154043101
         SOUTH TIMBALIER 053 #006        ST05300601        G04000       177154083500
        SOUTH TIMBALIER 053 #A001        ST053A0101        G04000       177154034402
        SOUTH TIMBALIER 053 #A002        ST053A0201        G04000       177154037601
        SOUTH TIMBALIER 053 #A003        ST053A0301        G04000       177154038401
        SOUTH TIMBALIER 053 #A004        ST053A0400        G04000       177154038500
        SOUTH TIMBALIER 053 #A006        ST053A0601        G04000       177154039201
        SOUTH TIMBALIER 053 #A007        ST053A0700        G04000       177154040400
        SOUTH TIMBALIER 053 #A008        ST053A0800        G04000       177154040500
        SOUTH TIMBALIER 053 #A009        ST053A0900        G04000       177154041500
        SOUTH TIMBALIER 053 #A010        ST053A1001        G04000       177154043501
        SOUTH TIMBALIER 053 #A011        ST053A1100        G04000       177154042400
        SOUTH TIMBALIER 053 #A012        ST053A1201        G04000       177154042301
        SOUTH TIMBALIER 053 #A013        ST053A1300        G04000       177154044000
        SOUTH TIMBALIER 053 #A014        ST053A1400        G04000       177154042900
        SOUTH TIMBALIER 053 #A015        ST053A1501        G04000       177154076901
        SOUTH TIMBALIER 053 #A016        ST053A1601        G04000       177154043601
        SOUTH TIMBALIER 053 #A017        ST053A1701        G04000       177154061101
        SOUTH TIMBALIER 053 #A018        ST053A1801        G04000       177154061201
        SOUTH TIMBALIER 053 #A019        ST053A1900        G04000       177154077200
        SOUTH TIMBALIER 053 #A020        ST053A2001        G04000       177154077101
        SOUTH TIMBALIER 053 #A021        ST053A2100        G04000       177154111000
        SOUTH TIMBALIER 053 #C001        ST053C0100        G04000       177154067200
        SOUTH TIMBALIER 053 #C002        ST053C0200        G04000       177154107300
        SOUTH TIMBALIER 053 #I001        ST053I0100        G04000       177154031200
         SOUTH TIMBALIER 067 #006        ST06700602         00020       177154078404
           WEST DELTA 068 #U001         WD068U0100          00180       177190136200
           WEST DELTA 068 #U004         WD068U0400          00180       177192007000
         WEST DELTA 068 #U005 ST2       WD068U0502          00180       177192007502
           WEST DELTA 068 #U006         WD068U0600          00180       177192008600
           WEST DELTA 068 #U009         WD068U0900          00180       177192011401
           WEST DELTA 068 #U011           WD068U11          00180       177192013603
         WEST DELTA 068 #U013 ST2       WD068U1302          00180       177194065102
           WEST DELTA 068 #U014         WD068U1400          00180       177194065300
         WEST DELTA 069 #D007 ST2       WD069D0702          00181       177190063802
          WEST DELTA 070 #D001D         WD070D0100          00182       177190063300
           WEST DELTA 070 #D005         WD070D0500          00182       177190063600
           WEST DELTA 070 #D008         WD070D0800          00182       177190063900
           WEST DELTA 070 #D009         WD070D0900          00182       177190064000
           WEST DELTA 070 #D010         WD070D1000          00182       177190066700



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                    Asset Name          FWE Acct. Code    Lease Number       API
           WEST DELTA 070 #D011          WD070D1100          00182       177194036800
           WEST DELTA 070 #D012          WD070D1200          00182       177194037200
           WEST DELTA 070 #D013          WD070D1300          00182       177194057000
           WEST DELTA 070 #D014          WD070D1400          00182       177194057200
         WEST DELTA 070 #E001 ST1        WD070E0101          00182       177190108201
            WEST DELTA 070 #E002         WD070E0200          00182       177190067800
            WEST DELTA 070 #E003         WD070E0300          00182       177190066500
           WEST DELTA 070 #FF001         WD070FF100          00182       177194084200
           WEST DELTA 070 #FF002         WD070FF200          00182       177194084300
           WEST DELTA 070 #FF003         WD070FF300          00182       177194084400
         WEST DELTA 070 #I003 ST1         WD070I0301         00182       177190091301
            WEST DELTA 070 #I004          WD070I0400         00182       177190091500
         WEST DELTA 070 #I005 ST1         WD070I0501         00182       177190095001
          WEST DELTA 070 #I006 ST         WD070I0601         00182       177190095101
         WEST DELTA 070 #I008 ST1         WD070I0801         00182       177190102101
         WEST DELTA 070 #I010 ST1         WD070I1001         00182       177190105701
        WEST DELTA 070 #I012 STBP2        WD070I1202         00182       177194010702
            WEST DELTA 070 #I013          WD070I1300         00182       177194038400
            WEST DELTA 070 #I014          WD070I1400         00182       177194061100
            WEST DELTA 070 #I015          WD070I1500         00182       177194061300
          WEST DELTA 070 #I016 ST         WD070I1601         00182       177194064201
            WEST DELTA 070 #I017          WD070I1700         00182       177194064600
            WEST DELTA 070 #L003         WD070L0300          00182       177190113800
            WEST DELTA 070 #L004         WD070L0400          00182       177190115100
            WEST DELTA 070 #L005         WD070L0500          00182       177190115500
            WEST DELTA 070 #L006         WD070L0600          00182       177190115000
            WEST DELTA 070 #L010         WD070L1000          00182       177190119500
            WEST DELTA 070 #L011         WD070L1100          00182       177190121400
            WEST DELTA 071 #E006         WD071E0600          00838       177190073200
         WEST DELTA 071 #E007 ST1        WD071E0701          00838       177190095601
         WEST DELTA 071 #E009 ST1        WD071E0901          00838       177190091701
            WEST DELTA 071 #E010         WD071E1000          00838       177190095700
           WEST DELTA 071 #O003          WD071O0300          00838       177190121500
           WEST DELTA 071 #O005          WD071O0501          00838       177190125001
           WEST DELTA 071 #O006          WD071O0601          00838       177190127101
           WEST DELTA 071 #O007          WD071O0702          00838       177190129602
           WEST DELTA 071 #O009          WD071O0900          00838       177190133600
           WEST DELTA 071 #O010          WD071O1000          00838       177194002500
           WEST DELTA 071 #O013          WD071O1303          00838       177192001102
           WEST DELTA 079 #A019            WD079A19         G01449       177192006800



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                    Asset Name          FWE Acct. Code    Lease Number       API
           WEST DELTA 079 #A021            WD079A21         G01449       177192012700
           WEST DELTA 079 #C017            WD079C17         G01874       177192013800
           WEST DELTA 079 #C025            WD079C25         G01874       177194008701
           WEST DELTA 079 #C032            WD079C32         G01874       177194019400
           WEST DELTA 079 #C033            WD079C33         G01874       177192009101
           WEST DELTA 079 #D020            WD079D20         G01449       177192023101
           WEST DELTA 079 #D023            WD079D23         G01449       177194006600
           WEST DELTA 079 #D024            WD079D24         G01449       177194007300
           WEST DELTA 079 #D031            WD079D31         G01449       177194037800
           WEST DELTA 079 #D035            WD079D35         G01449       177194046200
           WEST DELTA 079 #D036            WD079D36         G01449       177194047400
            WEST DELTA 079 #F002           WD079F02         G01449       177194038300
           WEST DELTA 080 #A010            WD080A10         G01874       177190136300
           WEST DELTA 080 #A016            WD080A16         G01874       177192004600
           WEST DELTA 080 #B016            WD080B16         G01874       177192018200
           WEST DELTA 080 #D019            WD080D19         G01449       177192021703
           WEST DELTA 080 #D029            WD080D29         G01874       177194036501
           WEST DELTA 080 #D032            WD080D32         G01449       177194038500
           WEST DELTA 080 #D034            WD080D34         G01874       177192019501
           WEST DELTA 079 #A019            WD079A19         G01449       177192006800
           WEST DELTA 094 #V001          WD094V0100          00839       177192005700
           WEST DELTA 094 #V002          WD094V0200          00839       177192011600
           WEST DELTA 094 #V003          WD094V0300          00839       177192014900
           WEST DELTA 094 #V004          WD094V0400          00839       177192015500
           WEST DELTA 094 #V014          WD094V1400          00839       177194039000
           WEST DELTA 094 #V015          WD094V1500          00839       177194064000
           WEST DELTA 094 #V016          WD094V1602          00839       177194063902
       WEST DELTA 095 #S005 ST1BP1        WD095S0502        G01497       177190126202
            WEST DELTA 095 #S006          WD095S0600        G01497       177190135400
            WEST DELTA 095 #S008          WD095S0800        G01497       177190127700
         WEST DELTA 095 #S010 ST1         WD095S1001        G01497       177192000101
          WEST DELTA 095 #S012 ST         WD095S1201        G01497       177192002301
         WEST DELTA 095 #X001 ST         WD095X0101         G01497       177194002901
           WEST DELTA 095 #X003          WD095X0300         G01497       177194003200
         WEST DELTA 095 #X007 ST1        WD095X0701         G01497       177194003701
           WEST DELTA 095 #X011          WD095X1100         G01497       177194055700
          WEST DELTA 095 #X012D          WD095X12D0         G01497       177194055900
       WEST DELTA 096 #S002 ST1BP1        WD096S0202        G01498       177190123402
         WEST DELTA 096 #S007 ST1         WD096S0701        G01498       177190132901
         WEST DELTA 096 #X004 ST1        WD096X0401         G01498       177194003301



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                    Asset Name           FWE Acct. Code     Lease Number          API
         WEST DELTA 096 #X006 ST2         WD096X0602          G01498          177194003502
           WEST DELTA 096 #X009           WD096X0900          G01498          177194004000



Part 2. Other Wells

                     Asset Name            FWE Acct. Code     Lease Number           API
       BLOWFISH GU AKA ST TR 329 #2          BLOWFISH2         ST-TX 227360     421673142600
           BRETON SOUND 025 #A001              BS02501           G31442         177264005300
      BRETON SOUND 052 #002 SL17860           SL1786002        ST-LA 17860     17726205670000
      BRETON SOUND 053 #001 SL17675           SL1767501        ST-LA 17675      177262055100
      BRETON SOUND 053 #003 SL15683           SL1568303        ST-LA 15683      177262053100
     BRETON SOUND 53 #UV 3-8 RA VUA           SL1905101        ST-LA 19051      177262058300
       EAGLE BAY GU AKA ST TR 329 1        EAGLEBAYGU          ST-TX 186891         #N/A
      EAST CAMERON 345 #A001 (ORRI)           EC345A01           G15156         177044100800
       EWING BANKS 789 #A006 (ORRI)           EW789A06           G35805         608104015500
       EWING BANKS 789 #A007 (ORRI)           EW789A07           G35805         608104015401
         EWING BANKS 790 A-2 (ORRI)           EW790A02           G33140         608104015100
         EWING BANKS 790 A-3 (ORRI)           EW790A03           G33140         608104015300
       EWING BANKS 790 #A009 (ORRI)           EW790A09           G33140         608104015700
         EWING BANKS 834 A-1 (ORRI)           EW834A01           G27982         608105010300
              GREEN CANYON 40 #1               GC04001           G34536         608114062300
           GREEN CANYON 064 #A026             GC064A26           G34539         608114063101
           GREEN CANYON 065 #A004             GC065A04           G05889         608114011600
           GREEN CANYON 065 #A006             GC065A06           G05889         608114014800
           GREEN CANYON 065 #A008             GC065A08           G05889         608114015800
           GREEN CANYON 065 #A009             GC065A09           G05889         608114017000
           GREEN CANYON 065 #A020             GC065A20           G05889         608114059902
           GREEN CANYON 065 #A023             GC065A23           G05889         608114064200
           GREEN CANYON 065 #A024             GC065A24           G05889         608114061900
           GREEN CANYON 065 #A038             GC065A38           G05889         608114015501
           GREEN CANYON 065 #A043             GC065A43           G05889         608114017100
           GREEN CANYON 065 #A044             GC065A44           G05889         608114017701
           GREEN CANYON 065 #A059             GC065A59           G05889         608114015900
           GREEN CANYON 065 #A060             GC065A60           G05889         608114015300
           GREEN CANYON 108 #A017             GC108A17           G14668         608114045202
           GREEN CANYON 108 #A021             GC108A21           G14668         608114060701
           GREEN CANYON 109 #A001             GC109A01           G05900         608114010000
           GREEN CANYON 109 #A002             GC109A02           G05900         608114010600
           GREEN CANYON 109 #A003             GC109A03           G05900         608114011200
           GREEN CANYON 109 #A005             GC109A05           G05900         608114012100


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                     Asset Name              FWE Acct. Code   Lease Number       API
           GREEN CANYON 109 #A010               GC109A10        G05900       608114017300
           GREEN CANYON 109 #A011               GC109A11        G05900       608114017800
           GREEN CANYON 109 #A015               GC109A15        G05900       608114039502
           GREEN CANYON 109 #A018               GC109A18        G05900       608114047603
           GREEN CANYON 109 #A031               GC109A31        G05900       608114011900
           GREEN CANYON 109 #A032               GC109A32        G05900       608114012303
           GREEN CANYON 109 #A033               GC109A33        G05900       608114012401
           GREEN CANYON 109 #A034               GC109A34        G05900       608114014401
           GREEN CANYON 109 #A035               GC109A35        G05900       608114014700
           GREEN CANYON 109 #A036               GC109A36        G05900       608114015000
           GREEN CANYON 109 #A037               GC109A37        G05900       608114015200
           GREEN CANYON 109 #A039               GC109A39        G05900       608114016000
           GREEN CANYON 109 #A041               GC109A41        G05900       608114016500
           GREEN CANYON 109 #A042               GC109A42        G05900       608114016701
     GREEN CANYON 200 # TA 1 TROIKA            GC200TA01        G12209       608114021600
     GREEN CANYON 200 # TA 2 TROIKA            GC200TA02        G12209       608114021702
     GREEN CANYON 200 #T A 3 TROIKA            GC200TA03        G12209       608114021800
    GREEN CANYON 200 TA3 ST1TROIKA            GC200TA03S        G12209       608114021801
     GREEN CANYON 200 # TA 4 TROIKA            GC200TA04        G12209       608114021901
     GREEN CANYON 200 # TA 5 TROIKA            GC200TA05        G12209       608114020501
     GREEN CANYON 200 # TA 9 ORLOV             GC200TA09        G12209       608114071603
     GREEN CANYON 201 # TA 6 TROIKA            GC201TA06        G12210       608114027501
    GREEN CANYON 201 #002 ST1 (ORRI)            GC201002        G12210       608114037101
    GREEN CANYON 201 #001 ST3 (ORRI)           GC20101ST3       G12210       608114043803
       GREEN CANYON 238 SS01 (ORRI)            GC238SS01        G26302       608114044304
      GREEN CANYON 243 #SS001 (ORRI)           GC243SS01        G20051       608114027608
      GREEN CANYON 243 #SS002 (ORRI)           GC243SS02        G20051       608114034000
      GREEN CANYON 243 #SS004 (ORRI)           GC243SS04        G20051       608114041600
      GREEN CANYON 243 #SS005 (ORRI)           GC243SS05        G20051       608114045701
         GREEN CANYON 244 # T001               GC244001         G11043       608114019700
      GREEN CANYON 282 #1ST3 (ORRI)            GC2820103        G16727       608114030804
      GREEN CANYON 282 #2ST1 (ORRI)            GC2820201        G16727       608114033701
      GREEN CANYON 282 #SS003 (ORRI)           GC282SS003       G16727       608114070701
            GREEN CANYON 768 SS02              GC768SS02        G21817       608114044700
            GREEN CANYON 768 SS03              GC768SS03        G21817       608114050200
            GREEN CANYON 768 SS04              GC768SS04        G21817       608114060900
         GREEN CANYON 768 SS01 ST4             GC768SS104       G21817       608114041705
       HIGH ISLAND 031 #L001 SL106158          SL10615801     ST-TX 106158   427083037900
       HIGH ISLAND 031 #L001 SL106159          SL10615901     ST-TX 106159   427083037800
       HIGH ISLAND 031 #L001 SL114921          SL11492101     ST-TX 114921   UNKNOWN



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                     Asset Name               FWE Acct. Code   Lease Number       API
          HIGH ISLAND 176 # 2 (ORRI)             HI176002        G27509       427084063900
            LAKE COMO UNIT (ORRI)              LAKECOMO        SL-MS 170650   UNKNOWN
             MILEY 1-43 (ORRI)                  MILEY143         17009         UNKNOWN
       MISSISSIPPI CANYON 519 #1 BP1            MC5190101        G27278       608174116201
       MISSISSIPPI CANYON 519 #2 BP1            MC5190201        G27278       608174118401
          MISSISSIPPI CANYON 519 #3              MC51903         G27278       608174141100
    MISSISSIPPI CANYON 563 SS01(ORRI)           MC563SS01        G21176       608174130000
          MISSISSIPPI CANYON 698 #1              MC69801         G28022       608174123300
          MISSISSIPPI CANYON 782 #1              MC78201         G33757       608174126600
          MISSISSIPPI CANYON 782 #2              MC78202         G33757       608174128200
     MISSISSIPPI CANYON 793 A-4 (ORRI)           MC793A04        G33177       608104015200
     MISSISSIPPI CANYON 793 A-8 (ORRI)           MC793A08        G33177       608104015900
       MISSISSIPPI CANYON 948 #2 ST2             MC94802         G28030       608174114902
          MISSISSIPPI CANYON 948 #3              MC94803         G28030       608174118801
          MISSISSIPPI CANYON 948 #4              MC94804         G28030       608174129900
          MISSISSIPPI CANYON 992 #1              MC99201         G24133       608174125200
              RF FEDERAL 1 (ORRI)              RFFEDERAL1      ST-MS 230150   230372096200
              RF FEDERAL 2 (ORRI)              RFFEDERAL2      ST-MS 231240    2303720983
           SAN LEON GAS UNIT 1-ST2             SANLEONG2       ST-TX 185633   421673134500
            SAN LEON GAS UNIT A 2             SANLEONGA2       ST-TX 234082   UNKNOWN
            SAN LEON GAS UNIT B-1             SANLEONGB1       ST-TX 255675   421673145400
            SAN LEON UNIT SWD 1                SANLEONU1       ST-TX 24318    421673131900
          SOUTH MARSH IS 040 #B001              SM040B01         G13607       177074083600
       SOUTH MARSH IS 040 #B005 (D01)            SM040B05        G13607       177074085700
       SOUTH MARSH IS 040 #B007 (D01)            SM040B07        G13607       177074089800
          SOUTH MARSH IS 040 #JA001              SM040J01        G13607       177074063602
          SOUTH MARSH IS 040 #JA002              SM040J02        G13607       177074069100
           SOUTH MARSH IS 041 #016                SM04116        G01192       177074091800
          SOUTH MARSH IS 041 #B002               SM041B02        G01192       177074084901
          SOUTH MARSH IS 041 #B003               SM041B03        G01192       177074085300
          SOUTH MARSH IS 041 #B004               SM041B04        G01192       177074085400
          SOUTH MARSH IS 041 #B006               SM041B06        G01192       177074087600
              SHIP SHOAL 079 #A002               SS079A02        G15277       177114134300
              SHIP SHOAL 301 #A001              SS301A0100       G10794       177124044301
              SHIP SHOAL 301 #A002               SS301A02        G10794       177124053200
              SHIP SHOAL 301 #A004              SS301A0400       G10794       177124063100
          SHIP SHOAL 301 #A005                  SS301A0500       G10794       177124068500
      SOUTH TIMBALIER 287 #A008 ST2             ST287A0802       G24987       177164034802
         SOUTH TIMBALIER 308 #A001              ST308A0100       G21685       177164028000
      SOUTH TIMBALIER 308 #A002 ST1             ST308A0101       G21685       177164028701



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                     Asset Name              FWE Acct. Code   Lease Number       API
         SOUTH TIMBALIER 308 #A003             ST308A0300       G21685       177164030600
         SOUTH TIMBALIER 308 #A004             ST308A0400       G21685       177164030900
      SOUTH TIMBALIER 308 #A005 ST1            ST308A0501       G21685       177164032901
      SOUTH TIMBALIER 308 #A006 BP1            ST308A0601       G21685       177164033301
      SOUTH TIMBALIER 308 #A007 BP1            ST308A0701       G21685       177164033804
              STATE TRACT 086 R1L              STTR86R1L      ST-TX 172916   420713213700
              STATE TRACT 086 R1U              STTR86R1U      ST-TX 172915   420713213700
       STATE TRACT 087-10 U (F-12 SD)           STTR8710U      ST-TX 5797    420713194600
        STATE TRACT 087-11 U (F-8 SD)           STTR8711U      ST-TX 5797    42071319761
               STATE TRACT 087-12               STTR8712       TX Onshore    420713216700
          STATE TRACT 087-8 (F-5 SD)            STTR8708       TX Onshore     4207102787
        STATE TRACT 088-12B (F-5 SD)            STTR8812B      TX Onshore    420713029900
        STATE TRACT 088-5B-L (F-5 SD)           STTR8805B      ST-TX 5749    420710276702
        STATE TRACT 088-7B-L (F-8 SD)          STTR8807BL      TX Onshore    420710276602
        STATE TRACT 088-7B-U (F-5 SD)          STTR8807BU      TX Onshore    420710276601
               STATE TRACT 330 2R               STTR3302R     ST-TX 234082   421673132400
               STATE TRACT 330-01               STTR33001     ST-TX 24318    421673131400
               STATE TRACT 331-05               STTR33105     ST-TX 178537    4216731320
               STATE TRACT 331-06               STTR33106     ST-TX 183756    4216731342
               STATE TRACT 331-08               STTR33108     ST-TX 207398   421673140500
               STATE TRACT 331-09               STTR33109     ST-TX 191681    4216731304
                  SUE FULLER #2                  SUEFUL2         13911         42734663
                    VAUGHEY 1                  VAUGHEY1       ST-TX 230140   230372095400
              VERMILION 078 #A001              VR078A0100       G04421       177054077800
           VERMILION 078 #A002 ST2             VR078A0202       G04421       177054047903
           VERMILION 078 #A003 ST2             VR078A0302       G04421       177054102402
              VERMILION 229 #A001               VR229A01        G27070       177054127100
               VERMILION 362 #005                VR36205        G10687       177064073900
              VERMILION 362 #A003              VR362A0300       G10687       177064070400
              VERMILION 362 #A007               VR362A07        G10687       177064089501
              VERMILION 362 #B001              VR362B0100       G10687       177064072800
              VERMILION 362 #B002              VR362B0200       G10687       177064073600
              VERMILION 362 #B005              VR362B0500       G10687       177064087901
              VERMILION 363 #B003              VR363B0301       G09522       177064074101
              VERMILION 371 #A001              VR371A0100       G09524       177064068100
              VERMILION 371 #A002              VR371A0200       G09524       177064068800
              VERMILION 371 #A004              VR371A0400       G09524       177064070800
              VERMILION 371 #A005              VR371A0500       G09524       177064072500
              VERMILION 371 #A006              VR371A0600       G09524       177064089101
              VERMILION 371 #B004              VR371B0400       G09524       177064074801



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                     Asset Name                FWE Acct. Code      Lease Number          API
     WEST YELLOW CREEK UNIT (ORRI)             WYELLOWCRE           SL-MS 23017      UNKNOWN

[There are no depth restrictions or limitations applicable to any Acquired Interests set forth in
this Exhibit.]

                                        [End of Exhibit C]




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                                         Exhibit D
                                  Platforms and Facilities

  Part 1. Co-Owned Platforms and Facilities

  Platforms

                                   FWE Acct.
             Asset Name                         Complex ID   Lease Number   Area/Block    WI
                                     Code
     GRAND ISLE 039 P/F-Q          GI39QPLT        24255       00127         GI039       25.0%
     GRAND ISLE 040 P/F-G          GI40GPLT        20043       00128         GI040       25.0%
     GRAND ISLE 040 P/F-M          GI40MPLT        24214       00128         GI040       25.0%
     GRAND ISLE 041 P/F-D          GI041PFD        20020       00129         GI041       25.0%
     GRAND ISLE 041 P/F-B          GI41BPLT        20575       00129         GI041       25.0%
     GRAND ISLE 041 P/F-E          GI41EPLT        20032       00130         GI041       25.0%
     GRAND ISLE 041 P/F-H          GI41HPLT        23557       00130         GI041       25.0%
      GRAND ISLE 041 P/F-I         GI41ICAS         766        00132         GI041       25.0%
     GRAND ISLE 042 P/F-C          GI42CPLT        20018       00131         GI042       25.0%
     GRAND ISLE 042 P/F-F          GI42FPLT        21859       00131         GI042       25.0%
  GRAND ISLE 043 P/F-AC-CMP       GI043PFAC        20021       00175         GI043       25.0%
   GRAND ISLE 043 P/F-AP-QRT      GI43APPLT        20221       00175         GI043       25.0%
  GRAND ISLE 043 P/F-AQ-QRT       GI43AQPLT        20021       00175         GI043       25.0%
  GRAND ISLE 043 P/F-AR-RSR       GI43ARPLT        20021       00175         GI043       25.0%
   GRAND ISLE 043 P/F-AS-SEP      GI43ASPLT        20021       00175         GI043       25.0%
     GRAND ISLE 047 P/F-A          GI47APLT        20046       00133         GI047       25.0%
     GRAND ISLE 047 P/F-AP        GI47APPLT        20046       00133         GI047       25.0%
  GRAND ISLE 047 P/F-AQ-QTRS      GI47AQPLT        20046       00133         GI047       25.0%
 GRAND ISLE 047 P/F-AX (BRACE)    GI47AXPLT        20046        00133        GI047       25.0%
     GRAND ISLE 047 P/F-L          GI47LPLT        22847       00133         GI047       25.0%
     GRAND ISLE 047 P/F-O          GI47OPLT         2006       00133         GI047       25.0%
     GRAND ISLE 048 P/F-E          GI48EPLT        20194       00134         GI048       25.0%
      GRAND ISLE 048 P/F-J         GI48JPLT        20673       00134         GI048       25.0%
     GRAND ISLE 048 P/F-P          GI48PPLT        22891       00134         GI048       25.0%
     GRAND ISLE 116 P/F-A         GI116APLT         686        G13944        GI116       50.0%
   SOUTH MARSH IS 149 P/F-C       SM149CPLT         1027       G02592        SM149       50.0%
  SOUTH TIMBALIER 053 P/F-4        ST053PF4        22768       G04000        ST053       50.0%
  SOUTH TIMBALIER 053 P/F-6        ST053PF6        24184       G04000        ST053       50.0%
  SOUTH TIMBALIER 053 P/F-A        ST053PFA        22421       G04000        ST053       50.0%
SOUTH TIMBALIER 053 P/F-A-AUX    ST053PFAAX        22421       G04000        ST053       50.0%
 SOUTH TIMBALIER 053 P/F-C (5)    ST053PFC5        23534       G04000        ST053       50.0%
   SOUTH TIMBALIER 053 P/F-I       ST053PFI        22512       G04000        ST053       50.0%
     WEST DELTA 068 P/F-U         WD68UPLT         29935        00180        WD068       25.0%
     WEST DELTA 070 P/F-D         WD070PFD         20015        00182        WD070       25.0%
     WEST DELTA 070 P/F-I          WD070PFI        21805       00182         WD070       25.0%
     WEST DELTA 070 P/F-L         WD070PFL         21805        00182        WD070       25.0%
     WEST DELTA 070 P/F-FF        WD070PFFF         2035        00182        WD070       25.0%
     WEST DELTA 071 P/F-E         WD71EPLT         20047        00838        WD071       25.0%
     WEST DELTA 071 P/F-O        WD071OPLT         20510        00838        WD071       25.0%
     WEST DELTA 094 P/F-V         WD094PFV         20036        00839        WD094       25.0%



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                                                   FWE Acct.
                 Asset Name                                        Complex ID     Lease Number     Area/Block          WI
                                                     Code
         WEST DELTA 095 P/F-S                      WD095PFS           21270          G01497             WD095        25.0%
         WEST DELTA 095 P/F-X                      WD095PFX           21270          G01497             WD095        25.0%
                                                   FWE Acct.
                 Asset Name                                        Complex ID     RUE Number       Area/Block          WI
                                                     Code
    [SOUTH MARSH ISLAND 132 P/F B                                     21982          G30329             SM 132       50%]
     SOUTH TIMBALIER 68 CAISS. #1                   ST681CAS          24108          G30267              ST 68      20.334%



      Facilities

  Name            State               Parish           Seller                Legal Description               Associated Assets
                                                                       PART OF ORIG LOT 8 SEC 32
                                                                       T21S R25E CONTAINS 0.5286
                                                                        ACRES as further described in
                                                                          COB 1054/Pg 851, COB              the Co-Owned Leases
GRAND ISLE                                                             2913/Pg 442, COB 3036/Pg 728,         in the Grand Isle unit
                Louisiana            Jefferson          FEO
 TANK BAT                                                              COB 3046/Pg 80, COB 3082/Pg              and in the Grand
                                                                       294, COB 3171/Pg 69 and COB            Isle/West Delta unit
                                                                        3171/Pg 70 of the conveyance
                                                                         records of Jefferson Parish,
                                                                                  Louisiana



      Part 2. Other Platforms and Facilities

      Platforms

             Asset Name                          FWE Acct. Code    Complex ID     Lease Number      Area/Block          WI
      BRETON SOUND 025 P/F-A                       BS025CAS          2532            G31442           BS025           25.0%
      BRETON SOUND 052 P/F-A                       BS052PFA                       SL-LA 17860         BS052           50.0%
      BRETON SOUND 053 P/F-CF                     BS053PFCF                          Onshore          BS053           50.0%
      GREEN CANYON 065 P/F-A                       GC065PFA           23552          G05889           GC065            49.0%
       HIGH ISLAND 030 P/F-L                       HI030PFL                       SL-TX 11408         HI030           100.0%
        SHIP SHOAL 079 P/F-A                        SS79PFA           913            G15277           SS079           100.0%
        SHIP SHOAL 301 P/F-A                       SS301PFA          32027           G10794           SS301           100.0%
     SOUTH TIMBALIER 308 P/F-A                    ST308APLT          1500            G21685           ST308           100.0%
        VERMILION 078 P/F-A                        VR78APLT          23674           G04421           VR078           100.0%
        VERMILION 229 P/F-A                        VR229PFA           2261           G27070           VR229            50.0%
        VERMILION 362 P/F-B                        VR362PFB          27064           G10687           VR362           100.0%
        VERMILION 371 P/F-A                        VR371PFA          27021           G09524           VR371           100.0%
             Asset Name                          FWE Acct. Code    Complex ID     RUE Number        Area/Block          WI
   SOUTH MARSH ISLAND 40 P/F B                     SM040PSB           1266           G13607           SM 40            100%
   SOUTH MARSH ISLAND 40 P/F JA                   SM040PFJA          27017           G13607           SM 40            100%
         SHIP SHOAL 80 P/F A                       SS080PFA          23548           G30201           SM 40            100%




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          Facilities

  Name           State        County/Parish    Seller                   Legal Description                Associated Assets
                                                               TR 2A-1 SEC 71 T8S R4E (2.508
                                                             AC)(236.95X461) PART TR 2A SEC
                                                                            71 T8S R4E
FIELDWOOD
                                                            (20X647.77X203.61X31.81X236.08X4
   NORTH       Louisiana         Lafayette    Fieldwood                                                  Warehouse for P&A
                                                             61), all as further described in that Act
CARENCRO
                                                            of Cash Sale recorded at File No. 2013-
                                                              42702 of the conveyance records of
                                                                   Lafayette Parish, Louisiana
  EAGLE                                       Fieldwood
                 Texas           Galveston
  POINT                                        Onshore
                                                                                                           ST-TX 24318
SAN LEON                                                      Blocks 138/139 out of the San Leon
                                              Fieldwood                                                    ST-TX 185633
  PROD           Texas           Galveston                    Townsite & Subdivision out of the
                                               Onshore                                                     ST-TX 234082
FACILITY                                                         Amos Edwards Survey A-10
                                                                                                           ST-TX 255675


                                                     [End of Exhibit D]




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                                                             Exhibit D-1
                                                              Inventory

                                                              [Attached]




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                                                                                                                                                        On Hand
       Facility   Facility Owner       Item Number   Serial No.     Location                     Item Description      Project Name   UOM   Wt. (lbs)     Qty   Total Value   WI%    Net Value
North Warehouse     Fieldwood             54401                    WH/B42/S1                LINER: PWR CYL                             EA                     1   3,975.83    100.0%  3,975.83
North Warehouse     Fieldwood             54402                    WH/B42/FLR               PSTN/ROD ASSY: 10‐1/2",                    EA                     1 15,303.69     100.0% 15,303.69
                                                                                            GMWA,
North Warehouse    Fieldwood             54403                     WH/B42/FLR               PSTN/ROD ASSY: 28",                       EA                      1   21,498.05   100.0%   21,498.05
                                                                                            GMWA, ROD
North Warehouse    Fieldwood             54406                      WH/B42/S1               PSTN: 18", PISTON, GMVC                   EA                      1   19,676.18   100.0%   19,676.18
                                                                                            1ST STGE
North Warehouse    Fieldwood             54407                       B3/B3/S2               LINER: 2ND STGE CYL                       EA                      1    2,542.05   100.0%    2,542.05
North Warehouse    Fieldwood             54408                      WH/B41/S2               LINER: GMVC 1ST STGE                      EA                      1    2,186.24   100.0%    2,186.24
North Warehouse    Fieldwood             54409                      WH/B37/FL               HD: 2ND STGE CRNKEND                      EA                      1    4,372.48   100.0%    4,372.48

North Warehouse    Fieldwood             54411                    WH/SE Wall/FLR            CRNKSHFT: GMVA/GMVC‐                      EA                      1   82,650.64   100.0%   82,650.64
                                                                                            12
North Warehouse    Fieldwood             54412                    WH/SE Wall/FLR            CRNKSHFT: GMVA/GMVC‐                      EA                      2   81,082.47   100.0%   81,082.47
                                                                                            12
North Warehouse    Fieldwood             54419                       B3/B3/S2               PMP: GMVA LUBE OIL                        EA                      1    5,829.98   100.0%    5,829.98
North Warehouse    Fieldwood             54420                        WH/FL                 CRSSHD ASSY:                              EA                      1    6,095.65   100.0%    6,095.65
                                                                                            GMVA/VC/VH
North Warehouse    Fieldwood             54421                      WH/B41/FL               CRSSHD ASSY:                              EA                      1    6,095.65   100.0%    6,095.65
                                                                                            GMVA/VC/VH
North Warehouse    Fieldwood             54422                        WH/FL                 CRSSHD ASSY:                              EA                      1    7,703.92   100.0%    7,703.92
                                                                                            GMVA/VC/VH
North Warehouse    Fieldwood             54445                       B3/B3/S2               GEAR: GMVC BLOWER                         EA                      1    3,352.24   100.0%    3,352.24
                                                                                            DRV
North Warehouse    Fieldwood             54447                     WH/B42/FLR               PSTN/ROD ASSY: 18", 1ST                   EA                      1   14,956.39   100.0%   14,956.39
                                                                                            STGE
North Warehouse    Fieldwood             54448                      WH/B42/S1               LINER: 18", 1ST STGE                      EA                      1    1,967.62   100.0%    1,967.62
                                                                                            COMPRSSR
North Warehouse    Fieldwood             54449                      WH/B42/S1               LINER: 15", 2ND STGE                      EA                      1    1,785.43   100.0%    1,785.43
                                                                                            COMPRSSR
North Warehouse    Fieldwood             54450                      WH/B41/S2               LINER: 9‐3/4", 3RD STGE                   EA                      1    1,909.90   100.0%    1,909.90
                                                                                            COMPRSSR
North Warehouse    Fieldwood             54452                       B3/B1/S1               GEAR: GMV3‐FB, PARTCO                     EA                      1   16,032.44   100.0%   16,032.44
                                                                                            BLOWER W/HUB

North Warehouse    Fieldwood             54456                     WH/B42/FLR               PSTN/ROD ASSY: 9‐3/4",                    EA                      1    2,399.73   100.0%    2,399.73
                                                                                            3RD STGE
North Warehouse    Fieldwood             54457                      WH/B43/S1               PSTN/ROD ASSY: 9‐5/8",                    EA                      1   16,032.44   100.0%   16,032.44
                                                                                            GMWA,
North Warehouse    Fieldwood             54458                     WH/B43/FLR               PSTN/ROD ASSY: 17‐1/4",                   EA                      1   18,636.17   100.0%   18,636.17
                                                                                            GMVA‐8 1ST S TGE

North Warehouse    Fieldwood             54460                      B3/B2/FLR               ROD: ALL GMV PWR                          EA                      2    1,821.87   100.0%    1,821.87
                                                                                            PISTON
North Warehouse    Fieldwood             54468                       B3/B2/S3               PMP: GMVA H2O                             EA                      1   13,481.83   100.0%   13,481.83
                                                                                            W/GSKTS
North Warehouse    Fieldwood             54469                     WH/B41/FLR               CRSSHD ASSY:                              EA                      1   13,051.81   100.0%   13,051.81
                                                                                            GMVA/VC/VH
North Warehouse    Fieldwood             54480                     WH/B43/FLR               PSTN/ ROD ASSY: 16‐1/4",                  EA                      1   18,408.45   100.0%   18,408.45
                                                                                            2ND STGE,
North Warehouse    Fieldwood             54481                    Bay3/N Wall/FLR           PSTN/ROD ASSY: GMWE                       EA                      1    3,223.36   100.0%    3,223.36
                                                                                            PWR,FITS GMWE‐12

North Warehouse    Fieldwood             54486                     WH/B43/FLR               PSTN/ROD ASSY: GMWA                       EA                      1   21,945.24   100.0%   21,945.24

North Warehouse    Fieldwood             56001                      WH/B41/S1               BEARING: TLA COMPRSSR                     EA                      5     725.83    100.0%     725.83
                                                                                            RD, BEARING

North Warehouse    Fieldwood             56002                      WH/B41/S1               BEARING: TLA MAIN                         EA                      7     635.76    100.0%     635.76




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                                                                                                                                                        On Hand
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North Warehouse     Fieldwood             56633                         B3/B5BS3             KT: RPR CYL, TLA PWR                      EA                     5     725.10    100.0%    725.10
North Warehouse     Fieldwood             56644                         B3/B4/S2             SPRCKT: TLA CRNKSHFT                      EA                     1   6,085.04    100.0%  6,085.04

North Warehouse    Fieldwood             56645                          B3/B4/S3             SPRCKT: TLA                              EA                      1    3,377.74   100.0%    3,377.74
North Warehouse    Fieldwood             56646                          B3/B3/S2             SPRCKT: HYD PUMP &                       EA                      1    2,135.23   100.0%    2,135.23
                                                                                             DRV
North Warehouse    Fieldwood             56648                         WH/B41/S1             LINE: CYL, TLA 2ND STG                   EA                      1    7,817.91   100.0%    7,817.91
North Warehouse    Fieldwood             56653                    WH/B43/S2,TOP IN BACK      PSTN: TLA 2ND STGE                       EA                      1   20,689.57   100.0%   20,689.57
North Warehouse    Fieldwood             56654                         WH/B44/S1             PSTN: TLA 1ST STGE                       EA                      1   22,170.79   100.0%   22,170.79
North Warehouse    Fieldwood             56657                         B3/B4/FLR             PMP: SHFT, TLA IDLER                     EA                      1    1,136.85   100.0%    1,136.85
North Warehouse    Fieldwood             56658                          B3/B4/S3             PMP: SHFT, TLA DRIVE                     EA                      1    3,188.27   100.0%    3,188.27
North Warehouse    Fieldwood             56659                          B3/B4/S3             PMP: SHFT, TLA WATER                     EA                      1    1,789.07   100.0%    1,789.07
                                                                                             PUMP
North Warehouse    Fieldwood             56663                         WH/B41/S2             SHOE: TLA TPE XHD                        EA                      1    2,514.18   100.0%    2,514.18
                                                                                             SLIPPER
North Warehouse    Fieldwood             56695                          B3/B4/FLR            NUT: TLA CONNECTING                      EA                      4     397.17    100.0%     397.17
                                                                                             ROD
North Warehouse    Fieldwood             56744                          B3/B4/FLR            GEAR: TLA BULL TIMING                    EA                      1    1,898.39   100.0%    1,898.39
                                                                                             CNTRL
North Warehouse    Fieldwood             56746                          B3/B4/S3             GEAR: TLA OIL PUMP                       EA                      2    3,800.42   100.0%    3,800.42
North Warehouse    Fieldwood             56771                          B3/B4/FLR            LABYRINTH: TLA TURBINE                   EA                      1    1,745.35   100.0%    1,745.35

North Warehouse    Fieldwood             56772                          B3/B4/FLR            LABYRINTH: TLA                           EA                      2      626.73   100.0%      626.73
North Warehouse    Fieldwood             56779                          B3/B4/FLR            CARRIER: TLA BULL GEAR                   EA                      3    1,286.24   100.0%    1,286.24

North Warehouse    Fieldwood             56780                          B3/B4/FLR            CARRIER: TLA IDLER GEAR                  EA                      3    1,187.86   100.0%    1,187.86

North Warehouse    Fieldwood             56782                          B3/B4/FLR            LINKAGE: TLA LWR/CNTRL                   EA                      2    1,435.63   100.0%    1,435.63

North Warehouse    Fieldwood             56788                          B3/B4/FLR            SHFT COMPRSSR: TLA                       EA                      2     739.68    100.0%     739.68
                                                                                             TIMER DR
North Warehouse    Fieldwood             56799                          B3/B4/S3             VLV: TLA FUEL                            EA                      6    2,288.27   100.0%    2,288.27
North Warehouse    Fieldwood             56800                          B3/B5/S3             SPRCKT: TLA CRNKSHFT                     EA                      1    6,512.01   100.0%    6,512.01

North Warehouse    Fieldwood             56802                         WH/B44/S2             PSTN/ROD ASSY: TLA                       EA                      1    9,300.03   100.0%    9,300.03
                                                                                             MATL NO DRAW TYP E
North Warehouse    Fieldwood             56806                          B3/B6/S1             ROD: TLA W/LCKNG                         EA                      1   24,799.27   100.0%   24,799.27
                                                                                             STDDS & PN SZ W/RD CAP

North Warehouse    Fieldwood             56808                          B3/B3/S2             WHEEL: TLA TRBN                          EA                      1   23,760.81   100.0%   23,760.81
North Warehouse    Fieldwood             56809                         WH/B30/S1             SCRN ASSY: TLA DWG                       EA                      1    3,917.02   100.0%    3,917.02
North Warehouse    Fieldwood             56810                          B3/B4/S3             JT: EXPNSN, TLA                          EA                      2    1,435.63   100.0%    1,435.63
North Warehouse    Fieldwood             56811                          B3/B1/S2             JT: EXPNSN, TLA EXHAUST                  EA                      1      980.17   100.0%      980.17

North Warehouse    Fieldwood             56815                          B3/B10/S2            INTCLR ASSY: TLA SCAV                    EA                      6    4,339.69   100.0%    4,339.69
                                                                                             AIR
North Warehouse    Fieldwood             56816                          B3/B4/FLR            NUT: TLA ROD ALL STGS                    EA                      1    1,012.96   100.0%    1,012.96

North Warehouse    Fieldwood             56817                         B3/B4/S3              RING: TLA TURB NZZLE                     EA                      2    8,435.25   100.0%    8,435.25
North Warehouse    Fieldwood             58585                       WH/SE Wall/FLR          CRNKSHFT                                 EA                      1   15,303.69   100.0%   15,303.69
North Warehouse    Fieldwood             59286                        WH/B43/S1              PSTN/ROD ASSY: 9‐3/4",                   EA                      1   12,227.14   100.0%   12,227.14
                                                                                             GMV, W/ 3" ROD
North Warehouse    Fieldwood             71926                       Bay3/N Wall/FLR         STDDS: STEP, CYL. W/                     EA                     24      72.87    100.0%      72.87
                                                                                             NUTS 4 SUCT
North Warehouse    Fieldwood             71936                          B2/B1/S2             CYL: HYD, I/BRD, UNRPRD                  EA                      1    1,020.25   100.0%    1,020.25

North Warehouse    Fieldwood             71937                          B2/B1/S2             CYL, HYD, I/BRD, UNRPRD                  EA                      1    1,020.25   100.0%    1,020.25




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                                                                                                                                                   On Hand
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North Warehouse     Fieldwood             71939                    B2/B4/IS             CYL: COMPRSSR, 8", W/                     EA                     1   6,558.73    100.0%  6,558.73
                                                                                        ALL HD STDDS & NTS

North Warehouse    Fieldwood             71948                     B2/B5/S1             VLV CHR: UNRPR'D                         EA                      8      153.04   100.0%      153.04
North Warehouse    Fieldwood             71952                     B2/B1/S2             CYL: CMPRSSR, 8", W/ IB                  EA                      1    3,497.99   100.0%    3,497.99
                                                                                        HEAD & P. GL ND
North Warehouse    Fieldwood             71955                     B2/B4/S1             PSTN: COMP, C.I., W/2                    EA                      1    1,311.75   100.0%    1,311.75
                                                                                        STEEL DONUTS
North Warehouse    Fieldwood             71971                     B2/B1/S2             PSTN/ ROD ASSY: X 2",                    EA                      1    1,289.88   100.0%    1,289.88
                                                                                        NO RINGS, TUNGSTEN
North Warehouse    Fieldwood             71975                     B2/B1/S2             CRSSHD: GUIDE, WBF‐74,                   EA                      1    3,279.36   100.0%    3,279.36
                                                                                        BORE
North Warehouse    Fieldwood             71977                     B2/B1/S2             DIST PC: WBF‐74, NEW                     EA                      1    2,040.49   100.0%    2,040.49
                                                                                        OEM 14" CYL
North Warehouse    Fieldwood             71980                    WH/B29/S1             FAN ASSY: 7 BLADE 132"                   EA                      1    2,186.24   100.0%    2,186.24
                                                                                        DIA AIR‐X‐CHANGER

North Warehouse    Fieldwood             71983                    WH/B29/S1             FAN BLDES: FIBERGLASS                    EA                      6     364.37    100.0%     364.37
                                                                                        62" L X 11‐1/1 4" W

North Warehouse    Fieldwood             72001                    WH/B8/S2              PMP ASSY: LUBE, MVS,                     EA                      1    2,186.24   100.0%    2,186.24
                                                                                        W/ ATMOS IND. &
North Warehouse    Fieldwood             72002                    WH/B8/S2              PMP ASSY: LUBE, MVS,                     EA                      1    2,186.24   100.0%    2,186.24
                                                                                        W/ ATMOS IND. &
North Warehouse    Fieldwood             72013                    WH/B8/FLR             HD: CYL, PWR, RECOND                     EA                      2    1,311.75   100.0%    1,311.75

North Warehouse    Fieldwood             72025                    WH/B38/S1             MANIFOLD: INTAKE                         EA                      2     728.75    100.0%     728.75
North Warehouse    Fieldwood             72027                    WH/B36/S1             MANIFOLD: EXHST,                         EA                      3     655.87    100.0%     655.87
                                                                                        P9390, SECTIONS
North Warehouse    Fieldwood             72037                    WH/B6/S2              ROD: CONN, P9390, US'D                   EA                     16     510.12    100.0%     510.12

North Warehouse    Fieldwood             81982                    B3/B2/FLR             ROD: ARTIC'LD, GMVC                      EA                      1    1,366.40   100.0%    1,366.40
North Warehouse    Fieldwood             81984                    B3/B4/S3              SPRCKT: TLA SGL SPLIT                    EA                      1    6,635.24   100.0%    6,635.24
North Warehouse    Fieldwood             81985                    B3/B4/FLR             SPRCKT: TLA IDLER                        EA                      1    1,923.89   100.0%    1,923.89
                                                                                        W/PUMP
North Warehouse    Fieldwood             81987                    WH/B41/S2             SHOE: GMVC XHD                           EA                      1    1,689.76   100.0%    1,689.76
North Warehouse    Fieldwood             89087                    WH/B43/S1             PSTN/ROD ASSY: SZ 28"                    EA                      1    9,838.09   100.0%    9,838.09
                                                                                        US'D C7120‐3A 3172

North Warehouse    Fieldwood              96073                   WH/B8/S2              PMP,HYD: 5.2gpm                          EA                      1    9,793.64   100.0%    9,793.64
North Warehouse    Fieldwood              96074                   WH/B8/S2              PMP,HYD: 1.9gpm                          EA                      1    9,793.64   100.0%    9,793.64
North Warehouse    Fieldwood             112605                   B3/B8/FLR             KT: RPR VRA                              EA                      3      852.63   100.0%      852.63
North Warehouse    Fieldwood             112606                   B3/B10/S1             VLV                                      EA                      3    1,093.12   100.0%    1,093.12
North Warehouse    Fieldwood             112608                   B3/B10/S1             VLV                                      EA                      6      655.87   100.0%      655.87
North Warehouse    Fieldwood             197167                   WH/B25/S2             TRBCHRGR: VTC254 BBC                     EA                      1   33,066.91   100.0%   33,066.91
                                                                                        W/MNTNG GSKT
North Warehouse    Fieldwood             200368                   WH/B30/FLR            ROTOR ASSY, DEEPWELL                     EA                      1    7,651.85   100.0%    7,651.85
                                                                                        PUMP
North Warehouse    Fieldwood             200371                   B2/B10/FLR            CYL: WRTHGTN SIZE 9‐                     EA                      1   10,931.21   100.0%   10,931.21
                                                                                        1/4"
North Warehouse    Fieldwood             200372                   B2/B11/FLR            CYL: WRTHGTN, SIZE 7"                    EA                      1    8,744.97   100.0%    8,744.97
North Warehouse    Fieldwood             200379                   B2/B11/FLR            CYL: WRTHGTN SIZE                        EA                      1    9,838.09   100.0%    9,838.09
                                                                                        7.007
North Warehouse    Fieldwood             200380                   WH/B5/S2              IMPELLER: TURBINE                        EA                      1   16,560.78   100.0%   16,560.78
North Warehouse    Fieldwood             200381                   WH/B5/S2              IMPELLER: 'C30' B STG,                   EA                      1   17,289.53   100.0%   17,289.53
                                                                                        SOLAR
North Warehouse    Fieldwood             200387                   WH/B11/S1             COMPR: AIR                               EA                      1    6,194.35   100.0%    6,194.35
North Warehouse    Fieldwood             200390                   WH/B27/S2             GEAR: BX TYPE, 206HS,                    EA                      1   29,149.89   100.0%   29,149.89
                                                                                        RAT 1.262‐1




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                                                                                                                                                        On Hand
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North Warehouse     Fieldwood             200400                     WH/B5/S2                BEARING ASSY: C30 SLR                     EA                     1 21,060.80     100.0% 21,060.80
                                                                                             GC DMPR SUCT
North Warehouse    Fieldwood             200401                      WH/B5/S2                BEARING ASSY: C30 DIS                    EA                      1   18,346.21   100.0%   18,346.21
                                                                                             SLR GC TILT PAD
North Warehouse    Fieldwood             200414                      B2/B7/S1                CYL: 6, WRTHGTN                          EA                      1    8,744.97   100.0%    8,744.97
                                                                                             COMPRSSR
North Warehouse    Fieldwood             200421                      B2/B9/FLR               CYL: 15", COMPRSSR, NO                   EA                      1   14,574.95   100.0%   14,574.95
                                                                                             STDDS F/VLV CAPS
North Warehouse    Fieldwood             200422                      B2/B5/S1                CYL: 9", COMPRSSR                        EA                      1   10,931.21   100.0%   10,931.21
                                                                                             #10674‐E I/R ‐RDS
North Warehouse    Fieldwood             200423                      B2/B11/S1               CYL: 11‐1/4", COMPRSSR                   EA                      1   13,117.45   100.0%   13,117.45
                                                                                             W/ 11.287 BORE

North Warehouse    Fieldwood             200424                      B2/B5/S2                CYL: 5", COMPRSSR I/R‐                   EA                      1    9,327.97   100.0%    9,327.97
                                                                                             RDS
North Warehouse    Fieldwood             200426                     WH/B20/S1                TURBINE                                  EA                      1    3,643.74   100.0%    3,643.74
North Warehouse    Fieldwood             202849                       YD/R4                  HEAT EXCHNGR                             EA                      1   22,226.79   100.0%   22,226.79
North Warehouse    Fieldwood             202850                     WH/B38/FLR               PMP: CMSD 4X6X10.5                       EA                      1   65,000.00   100.0%   65,000.00
North Warehouse    Fieldwood             202854                        Bay 6                 COMPR: PKG                               EA                      1   22,117.48   100.0%   22,117.48
North Warehouse    Fieldwood             202876                       YD/R4                  ENG: NG 399                              EA                      1         ‐     100.0%         ‐
North Warehouse    Fieldwood             227188                      B3/B6/S1                CYL: CPR GMWA‐9‐1A                       EA                      1    7,651.85   100.0%    7,651.85
                                                                                             PWR CYLINDERS
North Warehouse    Fieldwood             228011                        Bay 2                 PSTN/ROD ASSY: 29‐1/2",                  EA                      1         ‐     100.0%         ‐
                                                                                             CPR F/ V250 COM
North Warehouse    Fieldwood             228012                      B2/B2/S1                PSTN ROD: I/R RDS 2.125                  EA                      1    2,379.02   100.0%    2,379.02
                                                                                             IN CRBDE CTD
North Warehouse    Fieldwood             229324                     WH/B44/S1                PSTN/ROD ASSY: TLA                       EA                      1    4,733.25   100.0%    4,733.25
                                                                                             COMPRSSR
North Warehouse    Fieldwood             233282                    Linear Controls           ENG:NG,235hp,1200rpm                     EA                      1   26,909.80   100.0%   26,909.80

North Warehouse    Fieldwood             233305                       B1/Floor               ENG:DIESEL,318hp,8,210                   EA                      1   13,481.83   100.0%   13,481.83
                                                                                             0rpm
North Warehouse    Fieldwood             233453                     Yard/Row 3               GEN:DIESEL,30kW,208/48                   EA                      1    9,291.53   100.0%    9,291.53
                                                                                             0V,AC,1800rpm, 3ph
North Warehouse    Fieldwood             241167                      B2/B6/FLR               CYL: 28", VRA CLRK                       EA                      1    3,079.21   100.0%    3,079.21
                                                                                             COMPRSSR
North Warehouse    Fieldwood             241168                      B2/B7/FLR               CYL: 17", VRA CLRK                       EA                      1    2,309.41   100.0%    2,309.41
                                                                                             COMPRSSR
North Warehouse    Fieldwood             241169                      B2/B2/FLR               CYL: 9, VRA CLRK                         EA                      1    1,539.61   100.0%    1,539.61
                                                                                             COMPRSSR
North Warehouse    Fieldwood             241173                     WH/B44/FL                PSTN/ROD ASSY: VRA                       EA                      1    1,539.61   100.0%    1,539.61
                                                                                             CLRK COMPRSSR
North Warehouse    Fieldwood             241179                     WH/B1/Floor              HD: VRA CLRK O/BRD                       EA                      1    3,849.02   100.0%    3,849.02
                                                                                             UNLDR
North Warehouse    Fieldwood             241181                     B10K/B36/S1              VLV CHR: VRA CLRK VLV                    EA                     12     173.21    100.0%     173.21
                                                                                             CHRS F/13"
North Warehouse    Fieldwood             241182                   B3/B10,11,12/FLR           PSTN: VRA CLRK PWR                       EA                      6    2,169.33   100.0%    2,169.33
North Warehouse    Fieldwood             241185                       B3/B9/S1               ROD: VRA CLRK ART                        EA                      1   11,708.19   100.0%   11,708.19
                                                                                             CONN
North Warehouse    Fieldwood             241189                      B3/B10/S3               PIN: WRIST, VRA CLRK                     EA                      4    1,255.26   100.0%    1,255.26
                                                                                             PWR PISTON
North Warehouse    Fieldwood             241191                      B3/B8/S1                TENSIONER: VRA CLRK                      EA                      2    1,196.78   100.0%    1,196.78
                                                                                             CHAIN
North Warehouse    Fieldwood             241202                      B3/B2/S2                GVRNR: GMVC‐12                           EA                      1    8,409.66   100.0%    8,409.66
North Warehouse    Fieldwood             241203                      B3/B1/FLR               JUMPER: H2O, GMVC‐12                     EA                     12      148.50   100.0%      148.50
                                                                                             HD TO CYL
North Warehouse    Fieldwood             241205                      B3/B3/S2                JUMPER: H2O, GMVC‐12                     EA                      6     111.47    100.0%     111.47
                                                                                             CYL TO RAIL




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North Warehouse     Fieldwood             241216                      B3/B3/S3                EXHST: ELBOW, GMVC‐                             EA                     4     857.27    100.0%   857.27
                                                                                              12, GMVA‐34‐2C
North Warehouse    Fieldwood             251608                        B2/Yard                ENG                                             EA                     1         ‐     100.0%         ‐
North Warehouse    Fieldwood             252667                       B2/B5/S2                CYL: 6", WHT SUPR                               EA                     1    4,862.67   100.0%    4,862.67
                                                                                              COMPRSSR CMPLT
North Warehouse    Fieldwood             323171                      WH/B41/S1                PSTN: RING FOR 23.00"                           EA                     2     238.14    100.0%     238.14
                                                                                              PISTON
North Warehouse    Fieldwood             323172                      WH/B41/S1                PSTN: RING FOR 16.50"                           EA                     2     223.27    100.0%     223.27
                                                                                              PISTON
North Warehouse    Fieldwood             323173                      WH/B41/S1                PSTN: RING FOR 10.50"                           EA                     3     139.85    100.0%     139.85
                                                                                              PISTON
North Warehouse    Fieldwood             326861                      WH/B41/FLR               PSTN: 10.50", PART #579‐                        EA                     1    6,451.03   100.0%    6,451.03
                                                                                              062‐001
North Warehouse    Fieldwood             326862                      WH/B44/FLR               PSTN: ROD FOR 10.50",                           EA                     1    3,373.74   100.0%    3,373.74
                                                                                              PISTON
North Warehouse    Fieldwood             326863                      WH/B44/FLR               PSTN: ROD FOR 23.00",                           EA                     1    3,373.74   100.0%    3,373.74
                                                                                              PISTON
North Warehouse    Fieldwood             326864                      WH/B44/FLR               PSTN: ROD FOR 16.50",                           EA                     1    3,373.74   100.0%    3,373.74
                                                                                              PISTON
North Warehouse    Fieldwood             328243                      WH/B41/FLR               PSTN: 16.50", PART #579‐                        EA                     1   18,426.94   100.0%   18,426.94
                                                                                              082‐201
North Warehouse    Fieldwood             329558                     Linear Controls           ENG:NG,423hp,12,7in,H2                          EA                     1   84,000.00   100.0%   84,000.00
                                                                                              0,900rpm
North Warehouse    Fieldwood             333387                      WH/B41/FLR               PSTN: 23.00", PART #579‐                        EA                     1   33,442.43   100.0%   33,442.43
                                                                                              303‐201
North Warehouse    Fieldwood             348619                       B1/B1/S1                MTR,ELEC:TEFC,3600rpm,                          EA                     1    7,220.06   100.0%    7,220.06
                                                                                              150hp,445LP
North Warehouse    Fieldwood             370132                     Linear Controls           ENG:NG,85‐                                      EA                     1   60,750.95   100.0%   60,750.95
                                                                                              220hp,1905in3,6,7IN
North Warehouse    Fieldwood             500133                      Fluid Crane              SUMP                                            EA                     1   26,250.00   100.0%   26,250.00
                                                                                              TANK,4'WX10'LX4'H,ATM
                                                                                              OS,EXT,16" PFLA
LAF‐Southpark      Halliburton       ZCUSSH101603791                    P7010                 TECHHOLD PKR,7,32‐       SHELL TROIKA GC 200    EA                     1    5,135.00   100.0%    5,135.00
                                                                                              35,3.880                 TA‐3
LAF‐Southpark      Halliburton       ZCUSSH101398678                    C019                  COMB CPLG,3 1/2‐12 UN‐ SHELL TROIKA GC 200 T    EA                     1     826.00    100.0%     826.00
                                                                                              2B X 3 1/2 API‐NU
LAF‐Southpark      Halliburton       ZCUSSH101522287                    C585                  LOC,NO‐GO,3 1/2‐9.20     SHELL TROIKA GC 200 T  EA                     1     914.85    100.0%     914.85
                                                                                              VARST1 X 3 1/2‐12
LAF‐Southpark      Halliburton       ZCUSSH101522287                    C585                  LOC,NO‐GO,3 1/2‐9.20     SHELL TROIKA GC 200 T  EA                     1     914.85    100.0%     914.85
                                                                                              VARST1 X 3 1/2‐12
LAF‐Southpark      Halliburton       ZCUSSH101522287                    C500                  LOC,NO‐GO,3 1/2‐9.20     SHELL TROIKA GC 200 T  EA                     1     914.85    100.0%     914.85
                                                                                              VARST1 X 3 1/2‐12
LAF‐Southpark      Halliburton       ZCUSSH101603543                    C010                  SUB,BOT,MGP,5 1/2‐10 SHELL TROIKA GC 200 T      EA                     1     917.92    100.0%     917.92
                                                                                              UNS‐2A X 5 1/4‐10
LAF‐Southpark      Halliburton       ZCUSSH101603791                    P048                  TECHHOLD PKR,7,32‐       SHELL TROIKA GC 200 T  EA                     1    4,022.68   100.0%    4,022.68
                                                                                              35,3.880
LAF‐Southpark      Halliburton       ZCUSSH101603791                    C585                  TECHHOLD PKR,7,32‐       SHELL TROIKA GC 200 T  EA                     1    4,022.68   100.0%    4,022.68
                                                                                              35,3.880
LAF‐Southpark      Halliburton       ZCUSSH101603791                    C585                  TECHHOLD PKR,7,32‐       SHELL TROIKA GC 200 T  EA                     1    4,022.68   100.0%    4,022.68
                                                                                              35,3.880
LAF‐Southpark      Halliburton       ZCUSSH101603791                    P7010                 TECHHOLD PKR,7,32‐       SHELL TROIKA GC 200 T  EA                     1    4,022.68   100.0%    4,022.68
                                                                                              35,3.880
LAF‐Southpark      Halliburton       ZCUSSH101652773                    C5006                 LN,2.750,S13CR,3 1/2‐9.2 SHELL TROIKA GC 200 T  EA                     1     728.83    100.0%     728.83
                                                                                              VARST1,B‐P
LAF‐Southpark      Halliburton       ZCUSSH101858738                    C5011                 PKR,7,32‐35,4 1/2‐4 AC‐ SHELL TROIKA GC 200 T   EA                     1    6,494.54   100.0%    6,494.54
                                                                                              2G‐LH .SCB
LAF‐Southpark      Halliburton       ZCUSSH101939766                    C585                  LOC,NO‐GO,4‐13.20        SHELL TROIKA GC 200 T  EA                     1     793.54    100.0%     793.54
                                                                                              VARST1 X 3 1/2‐12 UN‐2




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LAF‐Southpark           Halliburton          ZCUSSH101939766                    C585                 LOC,NO‐GO,4‐13.20        SHELL TROIKA GC 200 T  EA                      1     793.54    100.0%   793.54
                                                                                                     VARST1 X 3 1/2‐12 UN‐2

LAF‐Southpark           Halliburton          ZCUSSH100008579                   C028                  GID,TUBE,WD,5 3/8‐10     SHELL TROIKA GC 200 T   EA                     1     493.00    100.0%     493.00
                                                                                                     UNS,7,32‐38 X 4.00
LAF‐Southpark           Halliburton          ZCUSSH101252847                   C002                  MDRL,NWD,4 1/2‐12 UN‐ SHELL TROIKA GC 200 T      EA                     1     889.00    100.0%     889.00
                                                                                                     2A X 4 1/2 API‐LC,7
LAF‐Southpark           Halliburton          ZCUSSH101290361                   C027                  MULE SHOE GID,3 1/2‐12 SHELL TROIKA GC 200 T     EA                     1     268.00    100.0%     268.00
                                                                                                     UN BOX
LAF‐Southpark           Halliburton          ZCUSSH101346768                   C358                  CLO SLV ASSY,MPT,5 1/4‐ SHELL TROIKA GC 200 T    EA                     1    2,643.00   100.0%    2,643.00
                                                                                                     10 UNS X 5‐18
LAF‐Southpark           Halliburton          ZCUSSH101346768                    P11                  CLO SLV ASSY,MPT,5 1/4‐ SHELL TROIKA GC 200 T    EA                     1    2,643.00   100.0%    2,643.00
                                                                                                     10 UNS X 5‐18
LAF‐Southpark           Halliburton          ZCUSSH101555004                   C358                  REDCG ADPTR,2 1/4 OTIS‐ SHELL TROIKA GC 200 T    EA                     1     415.00    100.0%     415.00
                                                                                                     ST X 2 3/8‐4.60
LAF‐Southpark           Halliburton          ZCUSSH101555004                   C358                  REDCG ADPTR,2 1/4 OTIS‐ SHELL TROIKA GC 200 T    EA                     1     415.00    100.0%     415.00
                                                                                                     ST X 2 3/8‐4.60
LAF‐Southpark           Halliburton          ZCUSSH101555547                   C046                  SEAL ASSY,2.650 X 2 1/4 SHELL TROIKA GC 200 T    EA                    16     468.79    100.0%     468.79
                                                                                                     OTIS‐ST
LAF‐Southpark           Halliburton          ZCUSSH101575482                   C358                  REDCG ADPTR,2 3/8‐4.60 SHELL TROIKA GC 200 T     EA                     1     461.00    100.0%     461.00
                                                                                                     TSH 511 X 2 1/4
LAF‐Southpark           Halliburton          ZCUSSH101575482                   C358                  REDCG ADPTR,2 3/8‐4.60 SHELL TROIKA GC 200 T     EA                     1     461.00    100.0%     461.00
                                                                                                     TSH 511 X 2 1/4
LAF‐Southpark           Halliburton           ZCUSSH323456                     C5002                 SEAL UNIT EXT,3 1/2‐12 SHELL TROIKA GC 200 T     EA                     1     813.00    100.0%     813.00
                                                                                                     UN,B‐P,3.88
LAF‐Southpark           Halliburton          ZCUSSH101944453                   C5006                 COL SHFT                 SHELL TROIKA GC 200 T   EA                     4    1,532.00   100.0%    1,532.00
                                                                                                     TL,BS1,2.770,41XX LAS
LAF‐Southpark           Halliburton          ZCUSSH102004784                    P11                  TRV JT,3 1/2‐9.20 VARST1 SHELL TROIKA GC 200 T   EA                     1     148.00    100.0%     148.00
                                                                                                     B‐P
LAF‐Southpark           Halliburton          ZCUSSH102127370                   C7012                 FLDLOSS DVC,FS2‐         SHELL TROIKA GC 200 T   EA                     1   16,617.00   100.0%   16,617.00
                                                                                                     L,5.470,2.770,.SCB
LAF‐Southpark           Halliburton          ZCUSSH102132850                   C5006                 SEAL ASSY,3.880 X 3 1/2‐ SHELL TROIKA GC 200 T   EA                     5     595.00    100.0%     595.00
                                                                                                     12 UN,MLD AFLAS
LAF‐Southpark           Halliburton          ZCUSSH102138028                   C5006                 PERF COL LOCTR,4.000 X SHELL TROIKA GC 200 T     EA                     1    2,758.00   100.0%    2,758.00
                                                                                                     2 7/8 API‐EU
LAF‐Southpark           Halliburton          ZCUSSH102138040                   C5006                 MULESHOE GDE,3 1/4‐8 SHELL TROIKA GC 200 T       EA                     1     374.23    100.0%     374.23
                                                                                                     UN‐2B,BOX,WITH BAF

LAF‐Southpark           Halliburton          ZCUSSH102154734                   C5006                 SHR JT ASSY,3 1/2‐9.20   SHELL TROIKA GC 200 T   EA                     3     162.00    100.0%     162.00
                                                                                                     VARST1,B‐P
LAF‐Southpark           Halliburton          ZCUSSH102004784                 B5‐R1‐RW4               TRV JT,3 1/2‐9.20 VARST1 SHELL TROIKA GC 200 T   EA                     1     162.00    100.0%     162.00
                                                                                                     B‐P
LAF‐Southpark           Halliburton          ZCUSSH102004784                 B5‐R2‐RW4               TRV JT,3 1/2‐9.20 VARST1 SHELL TROIKA GC 200 T   EA                     1     162.00    100.0%     162.00
                                                                                                     B‐P
LAF‐Southpark           Halliburton          ZCUSSH102127370                   C7011                 FLDLOSS DVC,FS2‐         SHELL TROIKA GC 200 T   EA                     1   16,617.00   100.0%   16,617.00
                                                                                                     L,5.470,2.770,.SCB
LAF‐Southpark           Halliburton          ZCUSSH102134650                   C5006                 LOC,NO‐GO,3 1/2‐9.20     SHELL TROIKA GC 200 T   EA                     2     876.98    100.0%     876.98
                                                                                                     VARST1 X 3 1/2‐12
GE ‐ Broussard        GE ‐ Broussard            H10004‐2                                             SCREW,CAP,HEX COLLAR, SHELL TROIKA GC 200 T      EA                    24     697.00    100.0%     697.00
                                                                                                     2.000‐ 8 X 9.000 LG,UN‐
                                                                                                     2A, LOW TEMPERATURE
                                                                                                     SERVICE

OES ‐ Broussard   Offshore Energy Services      GP5241‐1                    HW‐R4‐L1‐A06             3‐WAY SHOOT             SHELL TROIKA GC 200 T    EA                     1     500.00    100.0%     500.00
                                                                                                     AROUND(3.5" 9.20#
                                                                                                     AF913‐110Y VARST‐1 B0X
                                                                                                     / 5.5" 16.87# STL PIN /
                                                                                                     3.5" 9.20# VARST‐1 BOX
                                                                                                     2FT)




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OES ‐ Broussard    Offshore Energy Services     GP5241‐2                 HW‐R4‐L1‐A06          3‐WAY SHOOT             SHELL TROIKA GC 200 T  EA                       1     500.00    100.0%   500.00
                                                                                               AROUND(3.5" 9.20#
                                                                                               AF913‐110Y VARST‐1 B0X
                                                                                               / 5.5" 16.87# STL PIN /
                                                                                               3.5" 9.20# VARST‐1 BOX
                                                                                               2FT)
OES ‐ Broussard    Offshore Energy Services    GP5235‐6                  HW‐R1‐L2‐A02          COUPLING (3.5" 9.20#    SHELL TROIKA GC 200 T  EA                       1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5233‐1                  HW‐R1‐L1‐A17          CROSSOVER (5.5" 16.87# SHELL TROIKA GC 200 T   EA                       1     500.00    100.0%    500.00
                                                                                               STL BOX / 3.5" 9.20#
                                                                                               VARST‐1 PIN AF913‐110Y
                                                                                               2FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5233‐2                  HW‐R1‐L1‐A17          CROSSOVER (5.5" 16.87# SHELL TROIKA GC 200 T     EA                     1     500.00    100.0%    500.00
                                                                                               STL BOX / 3.5" 9.20#
                                                                                               VARST‐1 PIN AF913‐110Y
                                                                                               2FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5239‐2                  HW‐R4‐L1‐A06          PUP JOINT (3.5" 9.20#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRS110 VARST‐1
                                                                                               PIN/PIN 4FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5239‐3                  HW‐R4‐L1‐A06          PUP JOINT (3.5" 9.20#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRS110 VARST‐1
                                                                                               PIN/PIN 4FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5239‐4                  HW‐R4‐L1‐A06          PUP JOINT (3.5" 9.20#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRS110 VARST‐1
                                                                                               PIN/PIN 4FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5240‐1                  HW‐R4‐L1‐A06          PUP JOINT (5.5" 17#      SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CR110Y HYPTP1 FOX K
                                                                                               PIN/PIN 4FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5240‐2                  HW‐R4‐L1‐A06          PUP JOINT (5.5" 17#    SHELL TROIKA GC 200 T     EA                     1      45.00    100.0%     45.00
                                                                                               13CR110Y HYPTP1 FOX K
                                                                                               PIN/PIN 4FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5036‐1                  HW‐R3‐L1‐A15          CROSSOVER (3.5" 9.20# SHELL TROIKA GC 200 T      EA                     1     500.00    100.0%    500.00
                                                                                               13CRS110Y VARST‐1 BOX/
                                                                                               3.5" 9.20# TSH 511 BOX
                                                                                               2FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5036‐2                  HW‐R3‐L1‐A15          CROSSOVER (3.5" 9.20# SHELL TROIKA GC 200 T      EA                     1     500.00    100.0%    500.00
                                                                                               13CRS110Y VARST‐1 BOX/
                                                                                               3.5" 9.20# TSH 511 BOX
                                                                                               2FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5037‐1                  HW‐R3‐L1‐A15          CROSSOVER (5" 14.87#     SHELL TROIKA GC 200 T   EA                     1     500.00    100.0%    500.00
                                                                                               STL PIN AF913‐110Y X
                                                                                               3.5" 9.20# VARST‐1 PIN
                                                                                               2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5037‐2                  HW‐R3‐L1‐A15          CROSSOVER (5" 14.87#     SHELL TROIKA GC 200 T   EA                     1     500.00    100.0%    500.00
                                                                                               STL PIN AF913‐110Y X
                                                                                               3.5" 9.20# VARST‐1 PIN
                                                                                               2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐1                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)




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OES ‐ Broussard    Offshore Energy Services     GP5035‐2                 HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T  EA                      1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐3                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐4                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐5                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐6                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐7                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐8                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5035‐9                  HW‐R1‐L5‐A04          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110 VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5019‐1                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               20FT PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5019‐2                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               20FT PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5019‐3                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               20FT PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5019‐4                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               20FT PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5030‐3                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 12FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5030‐4                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 12FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5030‐5                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 12FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5030‐6                  HW‐R3‐L5‐A10          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 12FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5040‐1                  HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)




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                                                                                                                                                                  On Hand
        Facility        Facility Owner        Item Number   Serial No.     Location                Item Description          Project Name      UOM    Wt. (lbs)     Qty   Total Value   WI%    Net Value
OES ‐ Broussard    Offshore Energy Services     GP5040‐2                 HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T  EA                      1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5040‐3                  HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5040‐4                  HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5040‐5                  HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5040‐6                  HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5040‐7                  HW‐R2‐L1‐A13          PUP JOINT (3.5" 9.20#     SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5042‐1                  HW‐R1‐L3‐A18          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 10FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5048‐1                  HW‐R2‐L6‐A06          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 12FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5047‐1                  HW‐R2‐L6‐A02          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 14FT) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5038‐1                  HW‐R3‐L1‐A15          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 2FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5039‐1                  HW‐R4‐L1‐A21          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 4FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5039‐2                  HW‐R4‐L1‐A21          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 4FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5039‐3                  HW‐R4‐L1‐A21          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 4FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5045‐1                  HW‐R2‐L1‐A13          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 6FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5043‐1                  HW‐R1‐L3‐A18          PUP JOINT (4.5" 15.10#    SHELL TROIKA GC 200 T   EA                     1      45.00    100.0%     45.00
                                                                                               13CRM110Y VARST‐1
                                                                                               PIN/PIN 8FT) (C‐LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐1                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"       SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐2                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"       SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)




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                                                                                                                                                                 On Hand
        Facility        Facility Owner        Item Number   Serial No.     Location                 Item Description        Project Name      UOM    Wt. (lbs)     Qty   Total Value   WI%    Net Value
OES ‐ Broussard    Offshore Energy Services     GP5063‐3                 HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T  EA                      1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐4                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐5                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐6                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐7                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5063‐8                  HW‐R4‐L7‐A17          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CR110Y MOD
                                                                                               TSH 511 BOX/PIN) (C‐
                                                                                               LEVEL)
OES ‐ Broussard    Offshore Energy Services    GP5060‐1                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"      SHELL TROIKA GC 200 T   EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services   GP5060‐10                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5060‐2                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5060‐3                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5060‐4                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5060‐5                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5060‐6                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard    Offshore Energy Services    GP5060‐7                  HW‐R2‐L2‐A05          RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T     EA                     1      82.00    100.0%     82.00
                                                                                               9.20# 13CRS110Y VARST‐
                                                                                               1 PIN/PIN) (C‐LEVEL)




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        Facility           Facility Owner            Item Number       Serial No.               Location                    Item Description      Project Name      UOM       Wt. (lbs)     Qty   Total Value   WI%    Net Value
OES ‐ Broussard       Offshore Energy Services         GP5060‐8                               HW‐R2‐L2‐A05             RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T  EA                         1      82.00    100.0%     82.00
                                                                                                                       9.20# 13CRS110Y VARST‐
                                                                                                                       1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard       Offshore Energy Services         GP5060‐9                               HW‐R2‐L2‐A05             RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T      EA                     1      82.00    100.0%     82.00
                                                                                                                       9.20# 13CRS110Y VARST‐
                                                                                                                       1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard       Offshore Energy Services         GP5266‐1                               HW‐R3‐L5‐A05             RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T      EA                     1      82.00    100.0%     82.00
                                                                                                                       9.20# 13CRS110Y VARST‐
                                                                                                                       1 PIN/PIN) (C‐LEVEL)

OES ‐ Broussard       Offshore Energy Services         GP5266‐2                               HW‐R3‐L5‐A05             RANGE 2 JOINT (3.5"    SHELL TROIKA GC 200 T      EA                     1      82.00    100.0%     82.00
                                                                                                                       9.20# 13CRS110Y VARST‐
                                                                                                                       1 PIN/PIN) (C‐LEVEL)

Schiever                   Weatherford            541R070SLI2Q12A002                (13) OUTSIDE 14      (7) OUTSIDE 16 SUB, CENTRALIZER ROT 7 SHELL TROIKA GC 200 T     EA                    20     635.00    100.0%    635.00
                                                                                                                        541R Q125 VAM SLIJ‐II
                                                                                                                        32.0 9.75 OD
Schiever                   Weatherford            M212W70SLI2Q12A002                            OUTSIDE 6               SHOE, GUIDE 7 M212W SHELL TROIKA GC 200 T        EA                     2     471.18    100.0%    471.18
                                                                                                                        CONC CMPST Q125 VAM
                                                                                                                        SLIJ‐II 32.0
Schiever                   Weatherford            M45AP70SLI2Q12A002                            OUTSIDE 6               COLLAR, FLOAT 7 M49AP SHELL TROIKA GC 200 T      EA                     2    1,092.48   100.0%   1,092.48
                                                                                                                        Q125 NR VAM SLIJ‐II 32.0
                                                                                                                        2‐4
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 61              1‐48" X 15' X 230 WP L.P.       ?                EA                     1    4,850.00   100.0%   4,850.00
                                                                                                                        Horizontal Separator (No
                                                                                                                        Skid)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 64              24" X 10' Vertical H.P.   Eugene Island          EA                     1    1,770.00   100.0%   1,770.00
                                                                                                                        Separator w/Skid           Block#266-B
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 65              12" X 6' Vertical LP Fuel       ?                EA                     1    1,235.00   100.0%   1,235.00
                                                                                                                        Gas Scrubber (No Skid)

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 66             12" X 6' Vertical LP Fuel    South Marsh Island   EA                     1    1,235.00   100.0%   1,235.00
                                                                                                                       Gas Scrubber w/Skid                11-N

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 70             1‐120 Degree Boat            South Marsh Island   EA                     1     820.00    100.0%    820.00
                                                                                                                       Landing with 48" Plate              11
                                                                                                                       Doublers
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 73             24" X 10' Vertical H.P.              ?            EA                     1    1,625.00   100.0%   1,625.00
                                                                                                                       Separator w/Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 74             30" X 10' Vertical LP Test           ?            EA                     1    1,895.00   100.0%   1,895.00
                                                                                                                       Separator w/Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 77             16" X 8' Vertical LP         South Marsh Island   EA                     1    1,455.00   100.0%   1,455.00
                                                                                                                       Separator (No Skid)                 10
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 90             1‐48" X 10' X 275 WP L.P.    South Marsh island   EA                     1    4,120.00   100.0%   4,120.00
                                                                                                                       Horizontal Scrubber             Block# 48 E
                                                                                                                       Vessel NO SKID

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                 Lot No. 96             1‐Glycol Reboiler with       High Island Block#   EA                     1    8,145.00   100.0%   8,145.00
                                                                                                                       Stack & Stihl Column               467 A
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                Lot No. 100             48" X 10' X 275# W.P.                N/A          EA                     1    4,175.00   100.0%   4,175.00
                                                                                                                       Horizontal Water
                                                                                                                       Skimmer with Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                Lot No. 101             42" X 15' X 1440# W.P.              N/A           EA                     1    3,895.00   100.0%   3,895.00
                                                                                                                       Horizontal 3‐Phase
                                                                                                                       Separator "No Skid"




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       Facility            Facility Owner         Item Number   Serial No.    Location                   Item Description          Project Name         UOM   Wt. (lbs)     Qty   Total Value   WI%    Net Value
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 102            42" X 12' 6" X 125# W.P.           N/A               EA                     1   3,215.00    100.0%  3,215.00
                                                                                                    Horizontal Skimmer with
                                                                                                    Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 103            20" X 7' 6" X 275 W.P.              N/A             EA                      1    1,210.00   100.0%    1,210.00
                                                                                                    Vertical Separator with
                                                                                                    Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 104            30" X 10' X 1480 W.P.               N/A             EA                      1    2,150.00   100.0%    2,150.00
                                                                                                    Horizontal Separator with
                                                                                                    Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 105            One Dual Meter Run Skid             N/A             EA                      1    1,385.00   100.0%    1,385.00
                                                                                                    with Pig Traps
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 106            30" X 6' X 150# W.P.                N/A             EA                      1    1,665.00   100.0%    1,665.00
                                                                                                    Vertical Scrubber Vessel
                                                                                                    with Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. KK             30" X 4' X 250 WP Vertical    From Offshore         EA                      1    1,570.00   100.0%    1,570.00
                                                                                                    Scrubber Vessel w/Skid           Specialty
                                                                                                                                  Fabricators in
                                                                                                                                      Houma
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. CCC            Line Heater/Reboiler          Eugene Island         EA                      1   12,275.00   100.0%   12,275.00
                                                                                                    Package 8' W X 22' 6"L X      Block# 212 "A"
                                                                                                    10' 1" T
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. DDD            3‐Vapor Recovery Stands       Eugene Island         EA                      1     235.00    100.0%     235.00
                                                                                                                                  Block# 212 "A"
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. EEE            1‐Heater Stack, 1‐Still       Eugene Island         EA                      1     355.00    100.0%     355.00
                                                                                                    Column, and Misc Pipe         Block# 212 "A"
                                                                                                    and Hardware for Line
                                                                                                    Heater/Reboiler
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 107            1‐Pallet of Used Spool        West Cameron          EA                      1     295.00    100.0%     295.00
                                                                                                    Piping                        Block# 165 "A"
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 108            1‐Stairway with               Green Canyon          EA                      1     225.00    100.0%     225.00
                                                                                                    Handrails, 1‐Caged Access     Block# 65 "A"
                                                                                                    Ladder, & 2‐Small Deck
                                                                                                    Extension/Work
                                                                                                    Platofrms

Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 109            1‐Filter Separator with        High Island Block#   EA                      1    1,155.00   100.0%    1,155.00
                                                                                                    Skid (5' X 12' X 8' Tall) Est.      A376 B
                                                                                                    10,000#
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 110            1‐Float Cell with Skid (7' X High Island Block#     EA                      1    1,490.00   100.0%    1,490.00
                                                                                                    12' X 9' Tall) Est. 10,000#          A376 B

Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 111            Two (2) Plate Heat         High Island Block#       EA                      1     475.00    100.0%     475.00
                                                                                                    Exchanger Skids                A595 "CF"
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 112            1‐Piggy‐Back Water         Main Pass Block#         EA                      1    5,025.00   100.0%    5,025.00
                                                                                                    Skimmer & Float Cell             140-A
                                                                                                    Package (Newly
                                                                                                    Fabricated)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 113            1‐Verticle Water Skimmer Vermilion Block# 60-       EA                      1    3,375.00   100.0%    3,375.00
                                                                                                    Vessel with Skid (60" X             A
                                                                                                    12" X 15,000#) (MBM‐
                                                                                                    1800)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                              Lot No. 114            1‐Verticle Floatation Unit  West Cameron            EA                      1     655.00    100.0%     655.00
                                                                                                    (4M Spinsep) with Skid        Block# 68-A
                                                                                                    (ABM‐1908) (10,150#)
                                                                                                    (Monosep Corporation‐
                                                                                                    Serial# MCO‐2076)




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Acadian ‐ Lafayette    Acadian Contractors, Inc.                                           Lot No. 115            1‐Verticle Test Separator   West Cameron     EA                     1     865.00    100.0%   865.00
                                                                                                                  with Skid (MBD‐4501) (36     Block# 68-A
                                                                                                                  X 10 Foot X 17,000#)
                                                                                                                  (2,000 WP @ 100 deg,
                                                                                                                  MFG 1982)

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                           Lot No. 116            1‐Horizontal 3‐Phase H.P.   West Cameron    EA                      1    1,435.00   100.0%    1,435.00
                                                                                                                  Production Separator         Block# 68-A
                                                                                                                  with Skid (MBD‐4502)
                                                                                                                  (60" X 15') (1440 @ 100
                                                                                                                  Deg‐Yr Built 1982)

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                           Lot No. 117            1‐Vertical Vent Scrubber    West Cameron    EA                      1    1,775.00   100.0%    1,775.00
                                                                                                                  Package with Skid (MBF‐      Block# 68-A
                                                                                                                  2401) (30" X 10' X
                                                                                                                  22,000#)
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                           Lot No. 118            1‐Horizontal 2‐Phase        East cameron    EA                      1    3,545.00   100.0%    3,545.00
                                                                                                                  Vent Scrubber Vessel        Block# 320-A
                                                                                                                  W/Skid (48" X 10' X 150#
                                                                                                                  @ 100 Deg) Built 1987

Viking ‐ Henderson      Viking Fabricators, LLC                                                                   Handrails                                   EA                    179     315.00    100.0%     315.00
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                   10 FT. LONG LADDER                          EA                      1     763.87    100.0%     763.87
                                                                                                                  CAGES
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                   12'‐6" LONG LADDER                          EA                     84    1,291.85   100.0%    1,291.85
                                                                                                                  CAGES
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                   10 FT. LONG LADDERS                         EA                     81      622.75   100.0%      622.75
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                   20 FT. LONG LADDERS                         EA                    107    1,236.43   100.0%    1,236.43
Linear ‐ Lafayette          Linear Controls           2124118‐01      11233630‐1         ATS ‐ OUTDOOR            ASSY, TREE CAP, BP                          EA       7,155          1    5,545.13   100.0%    5,545.13
                                                                                                                  TROIKA
Linear ‐ Lafayette         Linear Controls            2124617‐01      2659561170         ATS ‐ OUTDOOR            ASSY, RIG TEST SKID,                        EA     11,000           1    8,525.00   100.0%    8,525.00
                                                                                                                  SUBSEA TREE,
Linear ‐ Lafayette         Linear Controls            2124117‐07     400257303‐01        ATS ‐ OUTDOOR            CONV. ASSY, SUBSEA                          EA     80,000           1   62,000.00   100.0%   62,000.00
                                                                                                                  TREE, 4" X 2"‐10M,
Linear ‐ Lafayette         Linear Controls            2273013‐01    110598733‐1(RR1)     ATS ‐ OUTDOOR            ASSEMBLY, 5" X 2"‐10M                       EA     66,000           1   51,150.00   100.0%   51,150.00
                                                                                                                  SPOOLTREE.
Linear ‐ Lafayette         Linear Controls            2124123‐01      96101817050        ATS ‐ OUTDOOR            ASSY, TREE CAP SHIPPING                     EA       1,850          1    1,433.75   100.0%    1,433.75
                                                                                                                  SKID
Linear ‐ Lafayette         Linear Controls            2124145‐01      45256012‐5         ATS ‐ OUTDOOR            ASSY, HUB, 4" WELL                          EA       1,400          1    1,085.00   100.0%    1,085.00
                                                                                                                  TERMINATION,
Linear ‐ Lafayette         Linear Controls            2141833‐01      11227730‐01        ATS ‐ OUTDOOR            ASSY, TREE                                  EA       5,800          1    4,495.00   100.0%    4,495.00
                                                                                                                  TRANSPORTATION SKID,
                                                                                                                  BP
Linear ‐ Lafayette         Linear Controls            2124836‐01      11171617‐1         ATS ‐ OUTDOOR            TEST STUMP BODY, TREE                       EA       6,200          1    4,805.00   100.0%    4,805.00
                                                                                                                  FAT SKID,
Linear ‐ Lafayette         Linear Controls            2124641‐01      11384318‐1         ATS ‐ OUTDOOR            ASSY, COMPLETION                            EA     20,500           1   15,887.50   100.0%   15,887.50
                                                                                                                  GUIDE BASE, STM‐15
Linear ‐ Lafayette         Linear Controls            2098861‐02      11197244‐1         ATS ‐ OUTDOOR            ASSY, MCPAC                                 EA     11,000           1    8,525.00   100.0%    8,525.00
                                                                                                                  CONNECTION TOOL,
                                                                                                                  SHELL
Linear ‐ Lafayette         Linear Controls            2098861‐02      11199037‐1         ATS ‐ OUTDOOR            ASSY, MCPAC                                 EA     11,000           1    8,525.00   100.0%    8,525.00
                                                                                                                  CONNECTION TOOL,
                                                                                                                  SHELL
Linear ‐ Lafayette         Linear Controls            2124119‐01       964534560         ATS ‐ OUTDOOR            ASSY, TREE RUNNING                          EA     11,000           1    8,525.00   100.0%    8,525.00
                                                                                                                  TOOL
Linear ‐ Lafayette         Linear Controls            2124129‐01       265340930       TOOLSKID ‐ OUTDOOR         ASSY, TUBING HANGER                         EA       1,500          1    1,162.50   100.0%    1,162.50
                                                                                                                  RUNNING TOOL
Linear ‐ Lafayette         Linear Controls            2124128‐01      11286013‐17      TOOLSKID ‐ OUTDOOR         ASSY, TUBING HANGER,                        EA       1,000          1     775.00    100.0%     775.00
                                                                                                                  STM‐15,




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Linear ‐ Lafayette   Linear Controls        2124135‐01      2659561200       TOOLSKID ‐ OUTDOOR        ASSY, TUBING HANGER                     EA        300          1     232.50    100.0%   232.50
                                                                                                       HANDLING / TEST
Linear ‐ Lafayette   Linear Controls       2124135‐01       2659561190       TOOLSKID ‐ OUTDOOR        ASSY, TUBING HANGER                    EA         300          1     232.50    100.0%     232.50
                                                                                                       HANDLING / TEST
Linear ‐ Lafayette   Linear Controls       2018904‐01     265956120(RR2)     TOOLSKID ‐ OUTDOOR        ASSY, LEAD IMPRESSION                  EA         900          1     697.50    100.0%     697.50
                                                                                                       TOOL
Linear ‐ Lafayette   Linear Controls       2124129‐01        266013010       TOOLSKID ‐ OUTDOOR        ASSY, TUBING HANGER                    EA       1,500          1    1,162.50   100.0%    1,162.50
                                                                                                       RUNNING TOOL
Linear ‐ Lafayette   Linear Controls       2124139‐01       11186901‐01      TOOLSKID ‐ OUTDOOR        ASSY, DUMMY TBG HGR,                   EA       1,000          1     775.00    100.0%     775.00
                                                                                                       STM‐15, 4.06"
Linear ‐ Lafayette   Linear Controls       2055294‐12      110357224‐01       CPB 077 ‐ INDOOR         ASSEMBLY, TUBING                       EA       2,500          1    1,937.50   100.0%    1,937.50
                                                                                                       HANGER, 5 IN NOM.
Linear ‐ Lafayette   Linear Controls       2748033‐01      45353783‐01‐01     CPB 077 ‐ INDOOR         WIRELINE PLUG, 5.25"                   EA          50          1      38.75    100.0%      38.75
                                                                                                       DIA, METAL AND
Linear ‐ Lafayette   Linear Controls       2749898‐01      4500436775‐2‐1     CPB 077 ‐ INDOOR         5.250" WIRELINE PLUG                   EA          50          1      38.75    100.0%      38.75
                                                                                                       'HH' TRIM WITH
Linear ‐ Lafayette   Linear Controls      2055296‐02‐01     110407008‐1       CPB 078 ‐ INDOOR         ASSEMBLY, INTERNAL                     EA       1,500          1    1,162.50   100.0%    1,162.50
                                                                                                       TREE CAP, 10K WP
Linear ‐ Lafayette   Linear Controls        60007268        96953428110      SF‐YARD ‐ OUTDOOR         TROIKA TOOL SHED                       EA                      1   15,000.00   100.0%   15,000.00
Linear ‐ Lafayette   Linear Controls       2124147‐04        111802674        TRI 168 ‐ INDOOR         ASSY, CLAMP, W/ SEAL                   EA       2,000          1    1,550.00   100.0%    1,550.00
                                                                                                       PLATE, 10"
Linear ‐ Lafayette   Linear Controls       2124581‐01       11170112‐05       TRI 170 ‐ INDOOR         SEAL PLATE, 4" WELL &                  EA         200          1     155.00    100.0%     155.00
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124581‐01       11170112‐06       TRI 170 ‐ INDOOR         SEAL PLATE, 4" WELL &                  EA         200          1     155.00    100.0%     155.00
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124581‐01       11170113‐05       TRI 170 ‐ INDOOR         SEAL PLATE, 4" WELL &                  EA         200          1     155.00    100.0%     155.00
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124581‐01       11363037‐01       TRI 170 ‐ INDOOR         SEAL PLATE, 4" WELL &                  EA         200          1     155.00    100.0%     155.00
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124581‐01       11170113‐04       TRI 170 ‐ INDOOR         SEAL PLATE, 4" WELL &                  EA         200          1     155.00    100.0%     155.00
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124159‐01       45284821‐04       TRI 171 ‐ INDOOR         BODY, HUB, 10"                         EA         250          1     193.75    100.0%     193.75
                                                                                                       FLOWLINE TEST STAND
Linear ‐ Lafayette   Linear Controls       2124159‐01       45284821‐01       TRI 171 ‐ INDOOR         BODY, HUB, 10"                         EA         250          1     193.75    100.0%     193.75
                                                                                                       FLOWLINE TEST STAND
Linear ‐ Lafayette   Linear Controls        041700‐47      4503010723‐1‐1     TRI 171 ‐ INDOOR         GASKET, AX ‐ 18‐3/4"                   EA         110          1      85.25    100.0%      85.25
                                                                                                       10/15M 316 SS
Linear ‐ Lafayette   Linear Controls       2124147‐01       96111219520       TRI 172 ‐ INDOOR         ASSY, CLAMP, W/SEAL                    EA       2,000          1    1,550.00   100.0%    1,550.00
                                                                                                       PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls       2124147‐01       96111219570       TRI 172 ‐ INDOOR         ASSY, CLAMP, W/SEAL                    EA       2,000          1    1,550.00   100.0%    1,550.00
                                                                                                       PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls       2141279‐01     4502534448‐01‐01    TRI 172 ‐ INDOOR         CLAMP, 10" FLOWLINE/                   EA       1,500          1    1,162.50   100.0%    1,162.50
                                                                                                       PIGGING LOOP/

Linear ‐ Lafayette   Linear Controls      2124581‐06‐02   4504055507‐02‐01    TRI 174 ‐ INDOOR         CONVERSION BLANKING                    EA         180          1     139.50    100.0%     139.50
                                                                                                       SEAL PLATE, 4" WELL

Linear ‐ Lafayette   Linear Controls      2124581‐06‐02   4504055507‐01‐01    TRI 174 ‐ INDOOR         CONVERSION BLANKING                    EA         180          1     139.50    100.0%     139.50
                                                                                                       SEAL PLATE, 4" WELL

Linear ‐ Lafayette   Linear Controls      2124581‐06‐02   4504055507‐03‐01    TRI 174 ‐ INDOOR         CONVERSION BLANKING                    EA         180          1     139.50    100.0%     139.50
                                                                                                       SEAL PLATE, 4" WELL

Linear ‐ Lafayette   Linear Controls       2142930‐01      4501742451‐1‐2     TRI 174 ‐ INDOOR         ACCESS STAND, G2                       EA         200          1     155.00    100.0%     155.00
                                                                                                       TUBING HANGER
                                                                                                       RUNNING
Linear ‐ Lafayette   Linear Controls       2124581‐01       11170113‐01       TRI 174 ‐ INDOOR         SEAL PLATE, 4" WELL &                  EA         150          1     116.25    100.0%     116.25
                                                                                                       MANIFOLD




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Linear ‐ Lafayette   Linear Controls        2124581‐01      11410124‐01      TRI 174 ‐ INDOOR         SEAL PLATE, 4" WELL &                    EA        150          1     116.25    100.0%   116.25
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124581‐01       11170112‐02      TRI 174 ‐ INDOOR         SEAL PLATE, 4" WELL &                   EA         150          1     116.25    100.0%    116.25
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124581‐07    4503345734‐01‐02    TRI 174 ‐ INDOOR         SEAL PLATE, COATING ON                  EA         150          1     116.25    100.0%    116.25
                                                                                                      OD ONLY
Linear ‐ Lafayette   Linear Controls       2124581‐07    4503345734‐01‐03    TRI 174 ‐ INDOOR         SEAL PLATE, COATING ON                  EA         150          1     116.25    100.0%    116.25
                                                                                                      OD ONLY
Linear ‐ Lafayette   Linear Controls       2124581‐07    4503345734‐01‐04    TRI 174 ‐ INDOOR         SEAL PLATE, COATING ON                  EA         150          1     116.25    100.0%    116.25
                                                                                                      OD ONLY
Linear ‐ Lafayette   Linear Controls       2124581‐07    4503345734‐01‐01    TRI 174 ‐ INDOOR         SEAL PLATE, COATING ON                  EA         150          1     116.25    100.0%    116.25
                                                                                                      OD ONLY
Linear ‐ Lafayette   Linear Controls       2124581‐03    4502533058‐01‐01    TRI 174 ‐ INDOOR         SEAL PLATE, 10"                         EA         150          1     116.25    100.0%    116.25
                                                                                                      FLOWLINE JUMPER
Linear ‐ Lafayette   Linear Controls       2124581‐01       11251434‐01      TRI 174 ‐ INDOOR         SEAL PLATE, 4" WELL &                   EA         150          1     116.25    100.0%    116.25
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls       2124586‐01       450605865‐1      TRI 175 ‐ INDOOR         END PLATE, MANDREL                      EA         500          1     387.50    100.0%    387.50
                                                                                                      RETAINER,
Linear ‐ Lafayette   Linear Controls       2124584‐01      450605849‐1‐1     TRI 175 ‐ INDOOR         MANDREL, RETAINER                       EA         400          1     310.00    100.0%    310.00
                                                                                                      SLEEVE,
Linear ‐ Lafayette   Linear Controls       2124535‐01    NS201604020729021   TRI 175 ‐ INDOOR         ANNULUS LOOP, 2.875                     EA         300          4     232.50    100.0%    232.50
                                                                                                      O.D. X 2.125
Linear ‐ Lafayette   Linear Controls       2124624‐01       450604006‐1      TRI 175 ‐ INDOOR         BODY, 4" PRODUCTION                     EA         150          1     116.25    100.0%    116.25
                                                                                                      STAB,
Linear ‐ Lafayette   Linear Controls       2124585‐01       450605858‐1      TRI 175 ‐ INDOOR         RETAINER PLATE,                         EA         150          1     116.25    100.0%    116.25
                                                                                                      MASTER VALVE BLOCK
Linear ‐ Lafayette   Linear Controls       2156742‐01       11328834‐01      TRI 175 ‐ INDOOR         SUB‐ASSY, BOP SPANNER                   EA         200          1     155.00    100.0%    155.00
                                                                                                      JOINT, 7.625"

Linear ‐ Lafayette   Linear Controls       2156773‐02       11322641‐01      TRI 175 ‐ INDOOR         UPPER ADAPTER, BOP                      EA         200          1     155.00    100.0%    155.00
                                                                                                      SPANNER JOINT,
Linear ‐ Lafayette   Linear Controls       2124147‐01        400297648       TRI 176 ‐ INDOOR         ASSY, CLAMP, W/SEAL                     EA       2,000          1    1,550.00   100.0%   1,550.00
                                                                                                      PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls       2124147‐01       11213146‐1       TRI 176 ‐ INDOOR         ASSY, CLAMP, W/SEAL                     EA       2,000          1    1,550.00   100.0%   1,550.00
                                                                                                      PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls      041700‐09‐01       400133273       TRI 178 ‐ INDOOR         AX GASKET, 11"‐                         EA          30          1      23.25    100.0%     23.25
                                                                                                      5M/10M#, ST/STL WITH

Linear ‐ Lafayette   Linear Controls      041700‐09‐01       400133274       TRI 178 ‐ INDOOR         AX GASKET, 11"‐                         EA          30          1      23.25    100.0%     23.25
                                                                                                      5M/10M#, ST/STL WITH

Linear ‐ Lafayette   Linear Controls       2098477‐01        175670‐1        TRI 178 ‐ INDOOR         AX‐VX GASKET                            EA         110          1      85.25    100.0%     85.25
Linear ‐ Lafayette   Linear Controls       2098477‐01        175670‐2        TRI 178 ‐ INDOOR         AX‐VX GASKET                            EA         110          1      85.25    100.0%     85.25
Linear ‐ Lafayette   Linear Controls       2124579‐02       45434247‐8       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45434247‐6       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45434247‐3       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45434247‐11      TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45445642‐3       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45445642‐2       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45445642‐1       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02       45438628‐1       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%     15.50
                                                                                                      PLATE, MCPAC




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Linear ‐ Lafayette   Linear Controls        2124579‐02    45445642‐4        TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                    EA         20          1      15.50    100.0%     15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls        501040‐1     961276244180       TRI 178 ‐ INDOOR         6" Gasket Sealing Ring                  EA          20          1      15.50    100.0%      15.50
Linear ‐ Lafayette   Linear Controls       2124579‐04     45424496‐2        TRI 178 ‐ INDOOR         GASKET W/ O‐RING, 10"‐                  EA          20          1      15.50    100.0%      15.50
                                                                                                     15M SEAL
Linear ‐ Lafayette   Linear Controls       2124579‐02     45434247‐01       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02     45424796‐01       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02     45424796‐06       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02     45434274‐02       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02     45424796‐04       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02     45424796‐03       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124579‐02     45445642‐04       TRI 178 ‐ INDOOR         GASKET, 10"‐15M, SEAL                   EA          20          1      15.50    100.0%      15.50
                                                                                                     PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls       2124134‐01     2659561110        TRI 180 ‐ INDOOR         ASSY, TUBING HANGER                     EA         600          1     465.00    100.0%     465.00
                                                                                                     ADJUSTMENT STAN
Linear ‐ Lafayette   Linear Controls       2099720‐02       26‐1567        TRI FLOOR ‐ INDOOR        ASSY, TREE CAP RUNNING                  EA       5,000          1    3,875.00   100.0%    3,875.00
                                                                                                     TOOL, BP
Linear ‐ Lafayette   Linear Controls        60031311     9523237807360      TRI SHED ‐ INDOOR        Troika Dummy Control                    EA       3,000          1    2,325.00   100.0%    2,325.00
                                                                                                     Pod
Linear ‐ Lafayette   Linear Controls        60031470     9523237807390      TRI SHED ‐ INDOOR        SHELL DUMMY CONTROL                     EA       1,000          1     775.00    100.0%     775.00
                                                                                                     POD SHIPPING SKID

Linear ‐ Lafayette   Linear Controls       2123000‐01     9624280360       TRI‐SHELL ‐ OUTDOOR       HANDLING TOOL ASSY,                     EA         150          1     116.25    100.0%     116.25
                                                                                                     TREE CAP & TREE
Linear ‐ Lafayette   Linear Controls       2123000‐01     2657807220       TRI‐SHELL ‐ OUTDOOR       HANDLING TOOL ASSY,                     EA         150          1     116.25    100.0%     116.25
                                                                                                     TREE CAP & TREE
Linear ‐ Lafayette   Linear Controls       2123738‐01     9624280370       TRI‐SHELL ‐ OUTDOOR       LIFT SUB, 1.50" NOM                     EA          50          1      38.75    100.0%      38.75
                                                                                                     SHACKLE X
Linear ‐ Lafayette   Linear Controls       2099099‐03     11196376‐1       TRI‐SHELL ‐ OUTDOOR       ASSY, TEST HUB, 10"                     EA         350          1     271.25    100.0%     271.25
                                                                                                     FLOWLINE /
Linear ‐ Lafayette   Linear Controls       2099099‐03     11210778‐1       TRI‐SHELL ‐ OUTDOOR       ASSY, TEST HUB, 10"                     EA         350          1     271.25    100.0%     271.25
                                                                                                     FLOWLINE /
Linear ‐ Lafayette   Linear Controls       2035504‐02    961276650350      TRI‐SHELL ‐ OUTDOOR       ASSY, DEBRIS CAP, 18‐                   EA         100          1      77.50    100.0%      77.50
                                                                                                     3/8" OD MCPAC
Linear ‐ Lafayette   Linear Controls       2035519‐01     1276650650       TRI‐SHELL ‐ OUTDOOR       ASSY, ROV RETRIEVABLE                   EA          50          1      38.75    100.0%      38.75
                                                                                                     DEBRIS/TEST

Linear ‐ Lafayette   Linear Controls       2035519‐01     1276650660       TRI‐SHELL ‐ OUTDOOR       ASSY, ROV RETRIEVABLE                   EA          50          1      38.75    100.0%      38.75
                                                                                                     DEBRIS/TEST

Linear ‐ Lafayette   Linear Controls       2156132‐01    9523237807220     TRI‐SHELL ‐ OUTDOOR       ASSY, COMBINATION                       EA         500          1     387.50    100.0%     387.50
                                                                                                     (TREE/TREE CAP)
Linear ‐ Lafayette   Linear Controls       2156145‐01     11324065‐01      TRI‐SHELL ‐ OUTDOOR       ASSY, 3‐1/16‐15M                        EA       8,500          1    6,587.50   100.0%    6,587.50
                                                                                                     MONOBORE TUBING
Linear ‐ Lafayette   Linear Controls       2124137‐01    9523237807330     TRI‐SHELL ‐ OUTDOOR       ASSY, TOOL STORAGE &                    EA       2,000          1    1,550.00   100.0%    1,550.00
                                                                                                     SHIPPING SKID
Linear ‐ Lafayette   Linear Controls       2124137‐01    9523237807340     TRI‐SHELL ‐ OUTDOOR       ASSY, TOOL STORAGE &                    EA       2,000          1    1,550.00   100.0%    1,550.00
                                                                                                     SHIPPING SKID
Linear ‐ Lafayette   Linear Controls       2124118‐01     11278658‐1       TRI‐SHELL ‐ OUTDOOR       ASSY, TREE CAP, BP                      EA       8,000          1    6,200.00   100.0%    6,200.00
                                                                                                     TROIKA
Linear ‐ Lafayette   Linear Controls                     Serial.# WPI317                             Waukesha Engine L7042                   EA                      1   82,625.00   100.0%   82,625.00
                                                                                                     GSI




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Linear ‐ Lafayette      Linear Controls                          Serial.# 48799                         Waukesha Engine L3711                      EA                     1 51,250.00       100.0% 51,250.00

Linear ‐ Lafayette      Linear Controls                         Serial.# 1029776                        Waukesha Engine F1905                     EA                        1   43,765.00   100.0%   43,765.00

Linear ‐ Lafayette      Linear Controls                         Serial.# 218794                         Waukesha Engine F1905                     EA                        1   43,765.00   100.0%   43,765.00

Linear ‐ Lafayette      Linear Controls                          Serial.#396632                         Waukesha Engine F1197                     EA                        1   24,315.00   100.0%   24,315.00

Linear ‐ Lafayette      Linear Controls                         Serial.# 362530                         Waukesha Engine F1197                     EA                        1   24,315.00   100.0%   24,315.00

Whitco ‐ Broussard      Whitco Supply               357501                                              1" x 3' x 20' Galvanized                  EA                    106       395.00    100.0%     395.00
                                                                                                        Grating
Whitco ‐ Broussard      Whitco Supply               333963                                              1‐1/2" x 3' x 20'                         EA                    ‐         598.00    100.0%     598.00
                                                                                                        Galvanized Grating
Express ‐ Fourchon   Express Supply & Steel                                                             1" x 3‐1/16" x 36" x 20'                  EA                     10       400.65    100.0%     400.65
                                                                                                        Serrated Galvanized
                                                                                                        Domestic Grating
Express ‐ Fourchon   Express Supply & Steel                                                             1‐1/2" x 3‐1/16" x 36" x                  EA                     35       555.67    100.0%     555.67
                                                                                                        20' Serrated Galvanized
                                                                                                        Domestic Grating




                                                                                              17
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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                                 Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value WI% Net Value
Deepwater Warehouse     Fieldwood         04536.B                            MW‐R18‐FL           Torque Tool with Calibration Set                                                                   THUNDERHAWK         EA                                1                          0.01          0.01
Deepwater Warehouse     Fieldwood         04558.A                             BW‐R4‐2            Assy, Choke insert, CC40SR, CV=300                                                                                     EA                                1                      35854.02    35854.02

                                                                                                                                                                                                   MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         04564.B                           MW‐R2‐FL              Assy, Internal Tree Cap, 10M                                                        142981          COMPLETION        EA                                 0                     45523.37           0
                                                                       DWW‐YARD‐C‐VAN CPIU
Deepwater Warehouse    Fieldwood         04627.B                          03011222G1             PLUG, ELECTRICAL;TYP:EFL‐SPARE 9‐WAY,SPCL FEAT:LEAD 275 FT                                                            EA                                 0                       5378.1           0
                                                                                                 TOOL, TYPE: CVC OVER‐RIDE, MFG: CAMERON, PN: 2166761‐02 REV 01, APPLI:
Deepwater Warehouse    Fieldwood         04630.A                             BW‐R3‐3             FOR CAMERON VERTICAL CONNECTION (CVC) SYSTEM                                                                          EA                                 1                       143.41      143.41
Deepwater Warehouse    Fieldwood         04631.C                              MR‐5‐E             TOOL, SETTING;MFR:CAMERON,PN:2166877‐03,TYP MANUAL LOCKOUT                                                            EA                                 0                       35.855           0
                                                                    DWW‐YARD C‐VAN HLXU 616220‐                                                                                                    MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         04651.A                                 6              Assy, 6", 10K CVC Connector, 6.625 OD                                                143096        DEVELOPMENT LL      EA                                 2                      142590       285180
                                                                    DWW‐YARD C‐VAN HLXU 616220‐                                                                                                     VK 917/962 PRE
Deepwater Warehouse    Fieldwood         04651.A                                 6              Assy, 6", 10K CVC Connector, 6.625 OD                                                137897          FEED WORK         EA                                 0                      126000            0
                                                                    DWW‐YARD C‐VAN HLXU 616220‐
Deepwater Warehouse    Fieldwood         04651.A                                 6              Assy, 6", 10K CVC Connector, 6.625 OD                                                                                  EA                                 0                    134850.33           0
                                                                    DWW‐YARD C‐VAN HLXU 616220‐
Deepwater Warehouse    Fieldwood         04651.B                                 6              Assy, 6", 10K CVC Connector, 6.625 OD                                                                                  EA                                 0                     121174.8           0
Deepwater Warehouse    Fieldwood         04651.B                            BW‐AREA 1           Assy, 6", 10K CVC Connector, 6.625 OD                                                                                                                     1                            0           0
                                                                                                HUB, TYPE: ASSEMBLY, MFG: CAMERON, PN: 2166393‐62, APPLICATION: FOR F22
Deepwater Warehouse    Fieldwood         04652.A                             BW‐R9‐FL           AND RECEIVER STRUCTURE                                                                                                 EA                                 2                     62806.32   125612.64
                                                                                                GASKET, RING JOINT;CODE:S‐AX,MATL:MS,NOM SZ:6IN,CL:10000PSI,STD:PSL 2‐
Deepwater Warehouse    Fieldwood         04760.A                              MR‐3‐E            4,MFR:CAMERON,PN:2035804‐07                                                                                            EA                                 1                      4201.68     4201.68
                                                                                                CAP;MFR:VETCO GRAY,PN:H288500‐1,TYP CORROSION,SZ 18.750 IN,CONN TYP
                                                                                                LEAF SPRING RETENTION FOR H‐4 WELLHEAD,MATL ALUMINUM,COMPRISING
                                                                                                TWO RUNNING/LIFT PINS, W/NHORIZONTAL ROV STAB,APPLI WELLHEAD                                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         04778.A                       DWW‐YARD ‐ FRONT         ABANDONMENT                                                                          202673                TA          EA                                 1                        19200       19200
                                                                      DWW‐YARD C‐VAN HJCU       SHACKLE,BOLT TYPE ANCHOR,17.000 TON SAFE WORKING LOAD,1.375
Deepwater Warehouse    Fieldwood         08427.A                             1339199            DIA,GALVINIZED,CROSBY,G2130,1019631                                                                                    EA                                 0                  376.4670588           0
                                                                                                GASKET, RING JOINT;CODE:VX‐2,MATL:SS,MATL
                                                                                                GR:316,CL:10000PSI,COMPRISING:HYCAR INSERTS,APPLI:WELLHEAD (SIZE: 18‐3/4
Deepwater Warehouse    Fieldwood         08919.A                             MW‐10‐2            IN),MFR:VETCO GRAY,PN:111227‐1,EQ MODEL:MS‐700                                    AFE FW193004          TROIKA                                            2                            0           0
                                                                                                GASKET, RING JOINT;CODE:VX‐2,MATL:SS,MATL
                                                                                                GR:316,CL:10000PSI,COMPRISING:HYCAR INSERTS,APPLI:WELLHEAD (SIZE: 18‐3/4                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         08919.A                           MW‐AREA 6            IN),MFR:VETCO GRAY,PN:111227‐1,EQ MODEL:MS‐700                                       139057         DEVELOPMENT        EA                                 0                         4352           0
                                                                                                GASKET, RING JOINT;CODE:VX‐2,MATL:SS,MATL
                                                                                                GR:316,CL:10000PSI,COMPRISING:HYCAR INSERTS,APPLI:WELLHEAD (SIZE: 18‐3/4                           MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         08919.A                           MW‐AREA 6            IN),MFR:VETCO GRAY,PN:111227‐1,EQ MODEL:MS‐700                                       142980          COMPLETION        EA                                 0                         4352           0
                                                                                                GASKET, RING JOINT;CODE:VX‐2/VT‐2,MATL:SS,MATL
                                                                                                GR:316,CL:15000PSI,APPLI:WELLHEAD (SIZE: 18‐3/4 IN),MFR:VETCO                                      MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         08920.A                           MW‐AREA 6            GRAY,PN:H10931‐2,EQ MODEL:MS‐700                                                     142980          COMPLETION        EA                                 0                      7995.95           0
                                                                                                GASKET, RING JOINT;CODE:VX‐2/VT‐2,MATL:SS,MATL
                                                                                                GR:316,CL:15000PSI,APPLI:WELLHEAD (SIZE: 18‐3/4 IN),MFR:VETCO                                      MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         08920.A                           MW‐AREA 6            GRAY,PN:H10931‐2,EQ MODEL:MS‐700                                                     139057         DEVELOPMENT        EA                                 0                      7995.95           0
                                                                                                CAP;TYP:INTERNAL PRESSURE,APPLN:SUBSEA INTERNAL WELLHEAD                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         12161.A                           MW‐R10‐FL            TREE,MFR:CAMERON,PN:2180719‐09                                                       143096        DEVELOPMENT LL      EA                                 1                        30000       30000
                                                                                                COUPLING, OCTG;NOM SZ:4‐1/2IN,WT:12.60lb/ft,MATL GR:13CR80,TOP CONN
Deepwater Warehouse    Fieldwood         13246.A                      PUP JOINT RACK‐FLOOR      TYP:VAM TOP                                                                                                            EA                                 1                       433.08      433.08
                                                                                                KIT;COMPRISING:SPLICE (SIZE: 3/4 IN),MFR: SCHLUMBERGER,MN:EDMC‐                                    MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         13286.A                              PR‐R1‐2           R,REF:90043‐000‐00001                                                                139991          FEED COMPLT       EA                                 0                        12500           0

                                                                                                 KIT;COMPRISING:SPLICE (SIZE: 3/4 IN),MFR: SCHLUMBERGER,MN:EDMC‐                                   MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         13286.A                              PR‐R1‐2            R,REF:90043‐000‐00001                                                               142980          COMPLETION        EA                                 0                        12500           0
                                                                                                 Blind Plug, Compensating: For the 10K hangers. Alloy 718 CompensatIng Blind
                                                                                                 Piston Top Assembly, 2 x 1.6 cu.in. Expansion Chambers; Material Number,P5025‐                    MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         13449.A                               MR‐3‐C            21                                                                                  139991          FEED COMPLT       EA                                 6                        23533      141198

                                                                                                 CARD, ELECTRONIC;TYP:1‐CHANNEL SUBSEA INTERFACE,FUNC:DOWN HOLE
                                                                                                 PRESSURE AND TEMPERATURE GAUGE (4),TEMP RNGE:20 TO 3F
                                                                                                 HEXADECIMAL,MFR: SCHLUMBERGER,MFR:WELLWATCHER,BRAND:UNKNOWN,EQ                                    MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         13798.A                              OS‐R1‐S3           MODEL:SERIES ESLIC                                                                  143096        DEVELOPMENT LL      EA                                 1                        11500       11500

                                                                                                 CARD, ELECTRONIC;TYP:1‐CHANNEL SUBSEA INTERFACE,FUNC:DOWN HOLE
                                                                                                 PRESSURE AND TEMPERATURE GAUGE (4),TEMP RNGE:20 TO 3F
                                                                                                 HEXADECIMAL,MFR: SCHLUMBERGER,MFR:WELLWATCHER,BRAND:UNKNOWN,EQ                                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         13798.A                              OS‐R1‐S3           MODEL:SERIES ESLIC                                                                  139351          EXECUTE AFE       EA                                 1                        11500       11500

                                                                                                 CONNECTOR, ELECTRICAL;CONDCTR SZ:16‐18AWG,MFR:EXPRO,PN:DHCE‐A51‐BQ‐                               MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         13799.A                              PR‐R1‐2            01S‐001‐HN,MFR:TRONIC,BRAND:UNKNOWN                                                 142980          COMPLETION        EA                                 0                       6962.5           0
                                                                                                 CONTROL LINE,SINGLE,0.375 X 0.049,INCOLOY 825,ENCAPULATED IN
                                                                                                 SANTOPRENE JACKET,MID‐SOUTH CONTROL LINE,FILLED & FLUSHED TO NAS
Deepwater Warehouse    Fieldwood         14397.A                           DWW‐YARD              CLASS 6 STANDARDS W/TRANSAQUA HT                                                                                      FT                                 0                  3.738570732           0
                                                                      DWW‐YARD C‐VAN HJCU‐
Deepwater Warehouse    Fieldwood         14541.A                            1481372              FLOAT COLLAR,16.000 IN,96.00 LBS/FT, HCQ125 TSH 511                                                                   EA                                 2                   17883.2275   35766.455
Deepwater Warehouse    Fieldwood         14543.A                     DWW‐YARD C‐VAN 402189‐0     GUIDE SHOE, 17.875 P110 TSH 521                                                                                       EA                                 1                      12739.3     12739.3

                                                                                                 ADAPTOR, TUBE TO PIPE;TYP:HANGER CONNECTOR,TUBE OD:1/4IN,PIPE
Deepwater Warehouse    Fieldwood         14862.A                               MR‐1‐D            SZ:0.5625IN,PIPE CONN:MTM,MFR:PETRO TECHNOLOGIES,PN:120M421 REV N                                                     EA                                 0                      1417.75           0
                                                                                                 CENTRALIZER, CASING;TYP:SPRING,CASNG NOM SZ:22IN,CONN TYPE:STRAIGHT
                                                                                                 LATCH ON,BOW TYP:LAP WELDED,SPCL FEATRS:BOW OD: 29‐5/8                                            MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         15036.A                             BW‐AREA 3           IN,MFR:WEATHERFORD,PN:1105722/571157,MN:SERIES 57R                                  203389               DRL                                            27                          195        5265
                                                                                                 CENTRALIZER, CASING;TYP:SPRING,CASNG NOM SZ:22IN,CONN TYPE:STRAIGHT
                                                                                                 LATCH ON,BOW TYP:LAP WELDED,SPCL FEATRS:BOW OD: 29‐5/8
Deepwater Warehouse    Fieldwood         15036.A                             BW‐AREA 3           IN,MFR:WEATHERFORD,PN:1105722/571157,MN:SERIES 57R                                  201560        GC 40 02 Katmai 2                                      6                          195        1170
                                                                                                 PLUG,WIRELINE, F/CAMERON 5.250 IN TUBING HANGER, CAMERON PN:2749898‐                              MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         17709.A                          MR‐GENERAL             01                                                                                                DEVELOPMENT LL                                         1                        52100       52100
                                                                       DWW‐YARD C‐VAN HJCU       SS Wellhead, SEAL ASSEMBLY, 22" X 16" BIG BORE II, WEIGHT SET METAL TO
Deepwater Warehouse    Fieldwood         17946.A                            1339199              METAL SEAL, RATED 6,500 PSI. H2S SERVICE DRIL QUIP PN:2‐403134‐02                                                     EA                                 0                     23000.35           0
                                                                                                 FLANGE;TYP:WELD ON,MATL:SS,SPCL FEAT:ALLOWS INSTALLATION OF SLOPE
                                                                       DWW‐YARD C‐VAN HJCU       INDICATOR, MOUNTING BRACKET, PER NOBLE QP Q504.01,APPLI:WELLHEAD
Deepwater Warehouse    Fieldwood         18082.A                            1339199              (SIZE: 36 IN),MFR:DRIL‐QUIP,PN:2‐401350‐03                                                                            EA                                 0                  2179.220417           0
                                                                                                 FLANGE;TYP:WELD ON,MATL:SS,SPCL FEAT:ALLOWS INSTALLATION OF SLOPE
                                                                       DWW‐YARD C‐VAN HJCU       INDICATOR, MOUNTING BRACKET, PER NOBLE QP Q504.01,APPLI:WELLHEAD                                  MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         18082.A                            1339199              (SIZE: 36 IN),MFR:DRIL‐QUIP,PN:2‐401350‐03                                          203389               DRL          EA                                 0                       3275.9           0




                                                                                                                                                           1
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      Facility        Facility Owner   Item Number     Serial No.             Location         Item Description                                                                   Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                                               FLANGE;TYP:WELD ON,MATL:SS,SPCL FEAT:ALLOWS INSTALLATION OF SLOPE
                                                                       DWW‐YARD C‐VAN HJCU     INDICATOR, MOUNTING BRACKET, PER NOBLE QP Q504.01,APPLI:WELLHEAD                                    MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         18082.A                            1339199            (SIZE: 36 IN),MFR:DRIL‐QUIP,PN:2‐401350‐03                                            144040               D&E          EA                                 0                         3255                  0
                                                                                               FLANGE;TYP:WELD ON,MATL:SS,SPCL FEAT:ALLOWS INSTALLATION OF SLOPE
                                                                      DWW‐YARD C‐VAN HJCU      INDICATOR, MOUNTING BRACKET, PER NOBLE QP Q504.01,APPLI:WELLHEAD
Deepwater Warehouse    Fieldwood         18082.A                            1339199            (SIZE: 36 IN),MFR:DRIL‐QUIP,PN:2‐401350‐03                                            201560        GC 40 02 Katmai 2   EA                                 0                       3329.76                 0
                                                                                               VALVE, BALL;OPRTD:ROV HANDLE,CONN 1 SZ:4IN,CONN 1
                                                                                               TYPE:NPT,CLS:1000PSI,SPCL FEATRS:PIPE NIPPLE, HAMMER UNION, 0‐600 PSI
                                                                                               PRESSURE GAUGE, EVERY (4) VALVES,APPLI:SS WELLHEAD,MFR:DRIL‐QUIP,PN:2‐
Deepwater Warehouse    Fieldwood         18083.A                            BW‐R5‐FL           904265‐02                                                                                                               EA                                 1                  2053.607214 2053.607214
                                                                                               VALVE, BALL;OPRTD:ROV HANDLE,CONN 1 SZ:4IN,CONN 1
                                                                                               TYPE:NPT,CLS:1000PSI,SPCL FEATRS:PIPE NIPPLE, HAMMER UNION, 0‐600 PSI
                                                                      DWW‐YARD C‐VAN HJCU      PRESSURE GAUGE, EVERY (4) VALVES,APPLI:SS WELLHEAD,MFR:DRIL‐QUIP,PN:2‐
Deepwater Warehouse    Fieldwood         18083.A                            1339199            904265‐02                                                                                                               EA                                 0                  2053.607214                  0
                                                                                               VALVE, BALL;OPRTD:ROV HANDLE,CONN 1 SZ:4IN,CONN 1
                                                                                               TYPE:NPT,CLS:1000PSI,SPCL FEATRS:PIPE NIPPLE, HAMMER UNION, 0‐600 PSI
                                                                    DWW‐YARD‐C‐VAN CCLU667229‐ PRESSURE GAUGE, EVERY (4) VALVES,APPLI:SS WELLHEAD,MFR:DRIL‐QUIP,PN:2‐
Deepwater Warehouse    Fieldwood         18083.A                                9              904265‐02                                                                                                               EA                                 0                  2053.607214                  0
                                                                      DWW‐YARD C‐VAN HJCU      SWEDGE,CROSSOVER,22" X 1.000" W.T. BWP DOWN BY 22.130' X .750" W.T. BWP
Deepwater Warehouse    Fieldwood         18087.A                            1339199            UP, DRIL QUIP PN:2‐404391‐07, PER NOBLE QP Q504.01                                                                      EA                                 0                  5075.488889                  0
                                                                                               SS Wellhead, SEAL ASSEMBLY,22" X 18" BIG BORE II, SS10/SS15, WEIGHT SET
                                                                      DWW‐YARD C‐VAN HJCU      RESILIENT SEAL, RATED 5,000 PSI., DRIL QUIP PN:1‐408455‐05,MONO API 17D,PER
Deepwater Warehouse    Fieldwood         18089.A                            1339199            NOBLE QP Q504.01                                                                                                        EA                                 0                  37060.07286                  0

                                                                                                 SS Wellhead, SEAL ASSEMBLY, 18‐3/4 SS15, 15M PSI, DUAL WEIGHT SET METAL
                                                                       DWW‐YARD C‐VAN HJCU       TO METAL SEALS, FOR HANGERS 13‐3/8 AND SMALLER, INCLUDES OUTER LOCK
Deepwater Warehouse    Fieldwood         18097.A                            1339199              RING, H2S SERVICE, DRILQUIP PN:2‐404254‐05,PER NOBLE QP Q504.01                                                       EA                                 0                     24382.81                  0
                                                                                                 CASING, OCTG;NOM SZ 22 IN,WT 224.28 lb/ft,WALL THK 1 IN,MATL GR X80,CONN
Deepwater Warehouse    Fieldwood         18802.A                             BW‐AREA‐3           TYPE S90M/MT,LG 60 ft                                                                                                 FT                               7.78                 250.0515732 1945.401239
                                                                                                 SS Wellhead, SEAL ASSEMBLY, 16" TYPE SS10/SS15, F/ 16" SUPPLEMENTAL
                                                                       DWW‐YARD C‐VAN HJCU       HANGER, W/70 DURO HYDROGENATED NITRILE F/ELASTOMERIC SEALING
Deepwater Warehouse    Fieldwood         19122.A                            1339199              ELEMENT, H2S SERVICE, DRIL QUIP PN:2‐407542‐07                                                                        EA                                 0                  23000.35333                  0
                                                                                                 DISK, INTERNAL PRESSURE RUPTURE(IPRD), RATED 5500 PSIG @ 150°F 3000 PSIG                          MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         19397.A                             MR‐1‐A              MIN BACK PRESSURE                                                                   144040               D&E          EA                                 2                       4589.79        9179.58
                                                                    DWW YARD C‐VAN HLXU 616220‐                                                                                                    MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         19706.C                                6               CAP, PIPE;SZ:6IN,OPER PRESS:10000PSI,MFR:CAMERON,PN:2181629‐14                       139991          FEED COMPLT       EA                                 1                        25000           25000
                                                                                                                                                                                                   MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         19706.C                           MW‐R14‐FL             CAP, PIPE;SZ:6IN,OPER PRESS:10000PSI,MFR:CAMERON,PN:2181629‐14                      143096         DEVELOPMENT LL     EA                                 1                        25000           25000
                                                                       DWW‐YARD C‐VAN CPIU                                                                                                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         19706.C                            0301120              CAP, PIPE;SZ:6IN,OPER PRESS:10000PSI,MFR:CAMERON,PN:2181629‐14                      143096         DEVELOPMENT LL     EA                                 1                       25000           25000
Deepwater Warehouse    Fieldwood         19706.C                           MW‐R14‐FL             CAP, PIPE;SZ:6IN,OPER PRESS:10000PSI,MFR:CAMERON,PN:2181629‐14                   AFE FW193004          TROIKA         EA                                 1                     15446.17        15446.17
                                                                                                 PUP JOINT, CASING;NOM SZ:16IN,WT:96.00lb/ft,MATL GR:Q125,TOP CONN
Deepwater Warehouse    Fieldwood         20177.A                             DWW‐YARD            TYP:TSH 511,LG:20ft                                                                                                   EA                                 1                        4251.9         4251.9
                                                                                                 GUIDE SHOE, 11.875, 71.80, HCQ125, TSH 523, WEATEHRFORD MOD.549, W/L.B.
                                                                       DWW‐YARD C‐VAN HJCU‐      BOW SPRING SUB, 12.250 RESTICTION INTO 14.500 OPEN HOLE ,
Deepwater Warehouse    Fieldwood         20182.A                            1481372              PN:54900LQH5230H12A002                                                                                                EA                                 1                       6460.89        6460.89
                                                                       DWW‐YARD C‐VAN HJCU‐      COLLAR, FLOAT, 11.875, 71.80, HCQ125, TSH 523, WEATHERFORD MOD L47A, DV,
Deepwater Warehouse    Fieldwood         20183.A                            1481372              L.B. AUTO FILL, W/ 3.500 DROP BALL, PN: L47A0LQH5230H120718                                                           EA                                 1                     14321.53        14321.53
                                                                                                 Sub, XO 3‐1/2" 9.2# VFJL Bx x 3‐1/2" 9.3# SC‐BTS‐8 Pn 1.18' Lg. 12.5Ksi 13HCr,
Deepwater Warehouse    Fieldwood         21764.A                       PUP JOINT RACK‐FLOOR      SUPERIOR ENERGY SERVICES PN: 413.35332C                                                                               EA                                 3                  1812.416667         5437.25
Deepwater Warehouse    Fieldwood         23938.A                              MR‐3‐D             WIRE;MFR:CAMERON,PN:2748111‐01,TYP LOCKING,APPLI SSR (SIZE: 5.25 IN                                                   EA                                 2                       51.845          103.69
                                                                                                                                                                                                   MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         23962.A                             MR‐5‐D              O RING;INDUS STD:AS568‐465,ID:17.955IN,PN:702645‐46‐52                              139991          FEED COMPLT       EA                                 1                        181.06         181.06
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE                                                                                                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         23962.A                           CONTROLLED)           O RING;INDUS STD:AS568‐465,ID:17.955IN,PN:702645‐46‐52                           AFE FW580018         NOVESA          EA                                 6                        181.06        1086.36
                                                                                                                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         23962.A                          TRAINING ROOM 1        O RING;INDUS STD:AS568‐465,ID:17.955IN,PN:702645‐46‐52                           AFE FW580018         NOVESA          EA                                 4                        181.06         724.24
Deepwater Warehouse    Fieldwood         23972.A                               MR‐5‐D            Shear pin, actuator ring (P/N: 2156904‐01)                                                                            EA                                 4                        48.325          193.3
Deepwater Warehouse    Fieldwood         24601.A                             MW‐AREA 5           SAVER SUB, BLANK PIPE, 5.500, 20.00, 13Cr110, SLHT (2 FT)                                                             EA                                 1                       3065.94        3065.94
                                                                                                 SUB, X‐OVER, 3.500, 9.30, SC‐BTS8 BOX, X 3.500, 9.20, VFJL PIN,12.5Ksi
Deepwater Warehouse    Fieldwood         24602.A                       PUP JOINT RACK‐FLOOR      13HCr,(1.15 FT) SUPERIOR ENERGY SERVICES PN: 413.35331C                                                               EA                                 2                     1626.485         3252.97

                                                                                                 SUB, X‐OVER, 3.500, 9.30, SC‐BTS8 BOX, X 3.500, 9.20, VFJL PIN,12.5Ksi                            MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         24602.A                       PUP JOINT RACK‐FLOOR      13HCr,(1.15 FT) SUPERIOR ENERGY SERVICES PN: 413.35331C                             142981          COMPLETION        EA                                 6                        2497.5          14985
                                                                                                 POWER UNIT, ELECTRICAL, SUBSEA, MCS EQUIPMENT ASSEMBLY, AKER, PN: BB14‐                            VK 917 POWER
Deepwater Warehouse    Fieldwood         26133.B                            MR‐GENERAL           000748‐78                                                                           140054            UMBILICAL       EA                                 0                        18573                  0

                                                                                                 PUP JOINT, TUBING;NOM SZ:3‐1/2IN,WT:9.30lb/ft,MATL GR:13CR110,CONN                                MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         26537.A                             MW‐AREA 6           TYPE:BTS‐8,TOP CONN TYP:BTS‐8 BOX,BOT CONN TYP:BTS‐8 PIN,LG:6ft                     143751         COMPLETION/L       EA                                 2                         5198           10396

                                                                                                 PUP JOINT, TUBING;NOM SZ:3‐1/2IN,WT:9.30lb/ft,MATL GR:13CR110,CONN                                MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         26538.A                        PUP JOINT RACK‐TIER 5    TYPE:BTS‐8,TOP CONN TYP:BTS‐8 BOX,BOT CONN TYP:BTS‐8 PIN,LG:8ft                     143751         COMPLETION/L       EA                                 1                       6618.25        6618.25

                                                                                                                                                                                                   MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         27308.A                               MR‐1‐D            UNION;CONN SZ:1/2IN,MFR:PETRO VALVE,PN:120M611                                      142981          COMPLETION        EA                                 0                       2781.8                  0
Deepwater Warehouse    Fieldwood         27308.A                               MR‐1‐D            UNION;CONN SZ:1/2IN,MFR:PETRO VALVE,PN:120M611                                                                        EA                                 0                     1994.775                  0
                                                                                                                                                                                                   MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         27308.A                               MR‐1‐D            UNION;CONN SZ:1/2IN,MFR:PETRO VALVE,PN:120M611                                      139991          FEED COMPLT       EA                                 0                        2781.8                 0
                                                                                                 UNION, QUICK CONNECT, REDUNDANT, 0.375 IN TUBE, PETRO TECHNOLOGIES,
Deepwater Warehouse    Fieldwood         27309.A                               MR‐2‐C            PN: 120M631, REV C                                                                                                    EA                                 0                       1708.51                 0
                                                                                                 UNION, QUICK CONNECT, REDUNDANT, 0.375 IN TUBE, PETRO TECHNOLOGIES,
Deepwater Warehouse    Fieldwood         27312.A                               MR‐2‐C            PN: 120M931, REV C                                                                                                    EA                                 0                       344.855                 0
                                                                                                 UNION, QUICK CONNECT, REDUNDANT, 0.250 IN TUBE, PETRO TECHNOLOGIES,
Deepwater Warehouse    Fieldwood         27313.A                               MR‐2‐C            PN: 120M931, REV C                                                                                                    EA                                 0                  302.4642857                  0

                                                                                                 UNION, TUBE;TYP:QUICK CONNECT,CONN 1 SZ:1/4IN,MFR:PETRO                                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         27315.A                               MR‐1‐C            TECHNOLOGIES,PN:130M201, REV H                                                      142981          COMPLETION        EA                                 0                       1879.73                 0
                                                                                                 UNION, TUBE;TYP:QUICK CONNECT,CONN 1 SZ:1/4IN,MFR:PETRO
Deepwater Warehouse    Fieldwood         27315.A                               MR‐2‐C            TECHNOLOGIES,PN:130M201, REV H                                                                                        EA                                 0                     1224.165                  0
Deepwater Warehouse    Fieldwood         27316.A                               MR‐1‐D            POTH CONNECTOR, 0.375 IN, PETRO TECHNOLOGIES, PN: 130M591, REV D                                                      EA                                 0                      637.615                  0
                                                                                                 PLUG, TEST;TYP:ASSEMBLY,CONN SZ:3/8IN,CONN TYPE:MNPT X TUBE,MFR:PETRO
Deepwater Warehouse    Fieldwood         27317.A                               MR‐2‐C            TECHNOLOGIES,PN:130M681 REV E                                                                                         EA                                 0                  917.0166667                  0
Deepwater Warehouse    Fieldwood         27319.A                               MR‐2‐C            POTH CONNECTOR, 0.500 IN, PETRO TECHNOLOGIES, PN: 130M891, REV B                                                      EA                                 0                       701.75                  0




                                                                                                                                                            2
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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                                   Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                 ELBOW, PIPE TO TUBE;DEG:90,NOM PIPE SZ:3/8IN,PIPE CONN:NPT,TUBE
Deepwater Warehouse    Fieldwood         27325.A                               MR‐2‐C            OD:3/8IN,MFR:PETRO TECHNOLOGIES,PN: 150M261 REV A                                                                       EA                                 0                  1335.123333                     0
                                                                                                 VALVE, CHECK;VLV SZ:3/8IN,DSGN RTNG:4200PSI,SPCL FEATRS:WITH BURST
Deepwater Warehouse    Fieldwood         27326.A                               MR‐2‐C            DISK,MFR:PETRO TECHNOLOGIES,PN:150M421                                                                                  EA                                 0                       3297.45                    0

                                                                                                 VALVE, SUBSURFACE SAFETY;MFR:SCHLUMBERGER,PN:100395464,TYP SURFACE
                                                                                                 CONTROLLED,TUBNG SZ 4‐1/2 IN,WT 12.60 lb/ft,PRFILE 3.688 RPT,OD 7.437                               MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         27489.A                           VERTICAL RACK         IN,CONN TYPE VAM TOP PIN X PIN,WRKNG PRESS 10000 PSI,MN:TRC‐II‐10                     142980          COMPLETION        EA                                 0                       470000                     0
                                                                                                 NIPPLE;MFR:SCHLUMBERGER,PN:101368046,TYP DUAL CHECK CHEMICAL
                                                                                                 INJECTION,CONN SZ 4‐1/2 IN,CONN TYPE BTS‐6 BOX X PIN,MATL CS,MATL GR S13
                                                                                                 CR 110 KSI,APPLI W/ 0.500 IN. PTI TESTABLE CONNECTOR, ½ IN CHECK VALVE AND                          MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         27491.A                              CR TIER 3          6000 PSI PRESSURE BURST DISC                                                          142980          COMPLETION        EA                                 2                        56720             113440

                                                                                                 GAUGE;TYP:TRIPLE,COMPRISING:TUBE/ANNULAR/SNORKEL, CABLE HEAD,                                       MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         27493.A                         SMALL PARTS ROOM        EDMCR,MFR:SCHLUMBERGER,PN:100364655,MN:NPQG‐EL,T‐3                                    142981          COMPLETION        EA                                 0                       168900                     0

                                                                                                 CABLE, ELECTRICAL;TYP:TUBING ENCAPSULATED,ARMR:INCOLOY 825,WALL                                     MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         27494.A                             DWW‐YARD            THK:0.035IN,MFR:SCHLUMBERGER,PN:P486039                                               142981          COMPLETION        FT                              12500                         6.85             85625
                                                                                                 CABLE, ELECTRICAL;TYP:TUBING ENCAPSULATED,ARMR:INCOLOY 825,WALL                                     MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         27494.A                             DWW‐YARD            THK:0.035IN,MFR:SCHLUMBERGER,PN:P486039                                               139991          FEED COMPLT       FT                              12500                         6.85             85625
                                                                                                 CONTROL LINE, HYDRAULIC, SINGLE, 0.500 IN X 0.065 IN WT, INCOLOY 825
                                                                                                 MATERIAL, WELDED, ENCAPSULATED, TRANSAQUA FILLED, METAL DRUM, NOBLE                                 MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         27496.A                             DWW‐YARD            QCP, SCHLUMBERGER, PN: 4D1000000000‐4_MSC                                             142980          COMPLETION        FT                                 0                    12.568795                     0
                                                                                                 CONTROL LINE, HYDRAULIC, TRIPLE, FLATPACK, (3) 0.250 IN X 0.065 IN WT,
                                                                                                 INCOLOY 825 MATERIAL, WELDED, ENCAPSULATED, TRANSAQUA FILLED, METAL                                 MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         27498.A                             DWW‐YARD            DRUM, NOBLE QCP, SCHLUMBERGER, PN: 2C12C12C1000‐4_MSC                                 142980          COMPLETION        FT                                 0                  12.68605226                     0

                                                                                                 GAUGE;TYP:TRIPLE,COMPRISING:TUBE/ANNULAR/SNORKEL, CABLE HEAD EDMC‐                                  MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         27560.A                         SMALL PARTS ROOM        R,MFR:SCHLUMBERGER,PN:100675006,MN:NPQG‐EL, T‐3                                       142980          COMPLETION        EA                                 0                       186500                     0

                                                                                                 MANDREL, SOLID GAUGE, 4.500, 13CR80, 15.50, BTS‐6 PIN X PIN, FOR NHQG‐ED                            MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         27614.A                          CAN RACK FLOOR         DUAL GAUGE SCHLUMBERGER, PN: 101284871                                                142981          COMPLETION        EA                                 1                        51550              51550
                                                                                                 DUAL GAUGE ASSEMBLY, NPQG‐ED,TUB/TUB, CABLE HEAD, EDMCR, SLB QCP                                    MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         27615.A                         SMALL PARTS ROOM        SCHLUMBERGER, PN: 100482238                                                           139991          FEED COMPLT       EA                                 0                       112600                     0

                                                                                                NIPPLE, LANDING;MFR:HALLIBURTON,PN:101831453,TYP RPT,CONN TYPE YLD BTS‐                              MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         28038.A                      PUP JOINT RACK‐FLOOR      8, BOX X PIN,ID 2.813 IN,OD 3‐1/2 IN,MATL GR 13CR110,WT 9.30 lb/ft                     139991          FEED COMPLT       EA                                 3                         3587              10761
                                                                                                PUP JOINT, CASING;NOM SZ:5‐1/2IN,WT:20.00lb/ft,MATL GR:13CR‐
                                                                                                110,CLASS:MINIMUM YIELD STRENGTH: 11KSI,TOP CONN TYP:SLHT BOX,BOT
                                                                                                CONN TYP:SLHT PIN,LG:2ft,APPLI:SET OF SPACEOUT PUPS,MFR:SUPERIOR ENERGY
Deepwater Warehouse    Fieldwood         28241.A                      PUP JOINT RACK‐FLOOR      SERVICES,PN:TB‐5.50‐20.0‐F‐E‐02                                                                                          EA                                 2                       2344.48           4688.96
                                                                                                CENTRALIZER SUB, 13.625, 88.20, Q125, TSH 523, TYPE R3600 BST‐33B, (12) BOW
Deepwater Warehouse    Fieldwood         28364.A                     DWW YARD C_VAN 429796‐0 SPRINGS W/ 20.125 OVER BOW, BLACKHAWK, PN: 0101468                                                                          EA                                15                  8636.374667          129545.62
                                                                    DWW‐YARD‐C‐VAN CCLU 667229‐ COLLAR, STOP;TYP:LATCH ON,CASNG OD:28IN,SPCL                                                         MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         28367.A                                9               FEAT:STSCR,MFR:WEATHERFORD,PN:6020028 / 582373                                         203389               DRL          EA                                 4                           175               700
                                                                                                COLLAR, FLOAT;TYP:NON ROTATING,CASNG OD:17‐7/8IN,CASNG
                                                                      DWW‐YARD C‐VAN HJCU‐      WT:93.50lb/ft,MATL GR:P110,CONN TYPE:TSH
Deepwater Warehouse    Fieldwood         28371.A                             1481372            521,MFR:WEATHERFORD,PN:L47A0SQH521PG0A002 / 2052579,MN:L47A                                                              EA                                 1                  17553.52944 17553.52944
                                                                      DWW‐YARD C‐VAN HJCU‐      CENTRALIZER SUB GUIDE SHOE, 11.875, 15.620 OD, 71.80, Q125, TSH 523,
Deepwater Warehouse    Fieldwood         28375.A                             1481372            WEATHERFORD, MOD 549, PN: 54900LQH523Q12A001 / 2075929                                                                   EA                                 1                  6454.486667 6454.486667
                                                                                                COLLAR, FLOAT;TYP:NON ROTATING,CASNG OD:11‐7/8IN,CASNG
                                                                      DWW‐YARD C‐VAN HJCU‐      WT:71.80lb/ft,MATL GR:Q125,CONN TYPE:TSH
Deepwater Warehouse    Fieldwood         28376.A                             1481372            523,MFR:WEATHERFORD,PN:L47A0LQH523Q12A001/2052599,MN:L47A                                                                EA                                 1                     14321.54           14321.54

                                                                                                 COLLAR, FLOAT, 9.875, 62.80, Q125, TSH 523, NR (NON‐ROTAING), W/DOUBLE
                                                                       DWW‐YARD C‐VAN HJCU‐      LARGE BORE FLOW‐ACTIVATED ALUMIMUM FLAPPRE VALVE, W/AFU TUBE &
Deepwater Warehouse    Fieldwood         28378.A                            1481372              3.500 IN BALL, WEATHERFORD, MOD L47A0, PN: L47A0JQH523Q12A002                                                           EA                                 1                     11155.26           11155.26
                                                                       DWW‐YARD C‐VAN HJCU‐      COLLAR, FLOAT;CASNG OD:13‐5/8IN,CASNG WT:88.20lb/ft,MATL
Deepwater Warehouse    Fieldwood         28381.A                            1481372              GR:TN125HC,CONN TYPE:TSH 523,MFR: WEATHERFORD                                                                           EA                                 1                     12081.36           12081.36

                                                                                                 CONNECTOR, TEST, DRY MATE, MINIATURE, TRONIC QCP, PN: DHCE‐T15‐AC‐01P‐                              MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         28481.A                              OS‐R1‐S3           000‐00                                                                                142980          COMPLETION        EA                                 2                         4500               9000
                                                                                                 CONTROL LINE, SINGLE, LINE, 0.375, 0.065 WT, INCOLOY 825, WELDED,
                                                                                                 TRANSAQUA FILLED, METAL DRUM, NOBLE QCP, SCHLUMBERGER, PN:                                          MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         28483.A                           DWW‐YARD              3D1000000000‐4_MSC                                                                    139991          FEED COMPLT       EA                                 0                         10.25                    0
                                                                       DWW‐YARD C‐VAN HJCU‐      GUIDE SHOE, 7.750, 46.10, Q125, HYDL 523, WEATHERFORD MOD M212R,PN:                                  GC 40 1 KATMAI
Deepwater Warehouse    Fieldwood         28581.A                            1481372              1217209                                                                               140521         DEEPENING DRL      EA                                 1                         4932               4932
                                                                       DWW‐YARD C‐VAN HJCU‐      COLLAR, FLOAT, 7.750, 46.10, Q125 NR, HYDL 523, 2‐4 BPM, WEATHERFORD MOD                             GC 40 1 KATMAI
Deepwater Warehouse    Fieldwood         28582.A                            1481372              M47A, PN: 1264171                                                                     140521         DEEPENING DRL      EA                                 1                        11395              11395

                                                                                                 SUB, X‐OVER 4.812 IN ‐ 8SA BOX X 4.500 IN, 12.750, BTS‐8, PIN, 0.59 FT LG, 9KSI,                    MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         28622.A                       PUP JOINT RACK‐FLOOR      13HCR, SUPERIOR ENERGY SERVICES PN: 413.48183C                                        142981          COMPLETION        EA                                 2                         1905               3810

                                                                                                 SUB, DBL PIN W/ 4.500 IN, 12.75, BTS‐8 BOX X 5.500 IN, 20, SLHT, PIN X 3.500 IN,
Deepwater Warehouse    Fieldwood         28623.A                       PUP JOINT RACK‐FLOOR      9.3, BTS‐8, PIN PKSI 13HCR, SUPERIOR ENERGY SERVICES PN: 413.45551C                                                     EA                                 2                     3097.795            6195.59

                                                                                                 ASSEMBLY;TYP:INTERNAL TREE CAP,SPCL FEAT:10M, WITH 4.767 SSR PREP, MEC
                                                                                                 SEALS, ANDANTI‐ROTATION KEY (SPRING ACTUATED), TEMP V, MATERIAL: CLASS                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         28695.A                             MW‐AREA 6           EE‐NL, CONNECTION TYPE: PLS‐3, SIZE: 18‐3/4 IN,MFR:CAMERON,PN:2182093‐04           AFE FW580018         NOVESA          EA                                 1                                0                 0

                                                                                                 ASSEMBLY;TYP:INTERNAL TREE CAP,SPCL FEAT:10M, WITH 4.767 SSR PREP, MEC
                                                                                                 SEALS, ANDANTI‐ROTATION KEY (SPRING ACTUATED), TEMP V, MATERIAL: CLASS
Deepwater Warehouse    Fieldwood         28695.B                             MW‐R15‐FL           EE‐NL, CONNECTION TYPE: PLS‐3, SIZE: 18‐3/4 IN,MFR:CAMERON,PN:2182093‐04                                                EA                                 0                        49420                     0

                                                                                                 TUBING HANGER, LOWER PLUG, 4.375 IN, HH, INCONEL 718, INCONEL 925                                   MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         28696.A                           MR‐GENERAL            EXPANDER MANDREL, TITANIUM METAL SEAL, CAMERON, PN: 2731385‐01                        142981          COMPLETION        EA                                 0                        40530                     0
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE    TUBING HANGER, LOWER PLUG, 4.375 IN, HH, INCONEL 718, INCONEL 925                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         28696.B                           CONTROLLED)           EXPANDER MANDREL, TITANIUM METAL SEAL, CAMERON, PN: 2731385‐01                     AFE FW580018         NOVESA          EA                                 1                     55988.59           55988.59

                                                                                                 TREE CAP PLUG, INTERNAL, 4.767 IN, HH, INCONEL 718, INCONEL 925 EXPANDER                            MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         28697.A                            MR‐GENERAL           MANDREL, TITANIUM METAL SEAL, CAMERON, PN: 2731384‐01                                 142981          COMPLETION        EA                                 0                        20000                     0




                                                                                                                                                              3
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      Facility        Facility Owner   Item Number     Serial No.              Location            Item Description                                                                   Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                                                   PROTECTOR,TUBING CLAMP,VIT TYPE,DUAL CHANNELS,LT CHANNEL(LEFT TO
                                                                                                   RT)(1)0.433 IN X 0.433 IN,(1) 0.433 IN X 0.990 IN,RT CHANNEL(LEFT TO RT)(1)0.410
                                                                                                   IN X 0.790 IN,(2)0.660 IN,(ASTM‐A‐1011) PROTECTOR 47.2 IN,CANNON,PN: 6000‐                          MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         28734.A                              MW‐R14‐3             47‐81/67 RPDCSVIT                                                                     142980          COMPLETION        EA                                13                        520.97        6772.61

                                                                                                   SLEEVE, INSULATOR, POLYURETHANE TYPE FOR 6000‐47‐81/67 RPDCSVIT                                     MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         28735.A                              MW‐R14‐3             PROTECTOR, CANNON, PN: 72036                                                          142980          COMPLETION        EA                                12                         642.2         7706.4
                                                                                                   TUBE, 9/16 IN MTM X 0.250 W/ FLUSH FITTING, PETRO TECHNOLOGIES, PN:                                 MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         29149.A                               MR‐1‐C              120M421 REV R                                                                         139991          FEED COMPLT       EA                                 0                       2313.63                 0

                                                                                                   TUBE, 9/16 IN MTM X 0.250 W/ FLUSH FITTING, PETRO TECHNOLOGIES, PN:                                 MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         29149.A                               MR‐1‐C              120M421 REV R                                                                         142980          COMPLETION        EA                                 0                       2313.63                 0

                                                                                                   TUBE, 9/16 IN MTM X 0.500 W/ FLUSH FITTING, PETRO TECHNOLOGIES, PN:                                 MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         29150.A                               MR‐1‐C              130M091 REV M                                                                         142980          COMPLETION        EA                                 0                  2741.724082                  0
                                                                                                   CLAMP PROTECTOR, TUBING, OVER COUPLING, ABOVE SAFETY VALVE,W/DUAL
                                                                                                   CHAN,(L TO R) (L) 0.433 X 0.433 ENCAP.TEC,0.433 X 0.990 ENCAP.BUNDLE, (R)
                                                                                                   0.410 X 0.790,0.660 ENCAP LINE,25.2 LENGTH,LCS,CANNON SERVICES, PN: 4500‐A‐                         MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         29251.A                              MW‐R14‐3             81/67RPDC, DRW: 498, 499                                                              142980          COMPLETION        EA                                 6                  122.0020766 732.0124594
                                                                                                   CLAMP PROTECTOR, TUBING, OVER COUPLING, ABOVE SAFETY VALVE, W/DUAL
                                                                                                   CHAN, (L TO R) (L) 0.433 X 0.433 ENC.TEC,0.433 X 0.990 ENC.BUNDLE, (R) 0.410 X
                                                                                                   0.790,0.660 ENCAP LINE,25.2 LENGTH,LCS,CANNON SERVICES, PN: 6000‐A‐                                 MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         29253.A                               BW‐R5‐3             81/67RPDC DRW:NOB‐503,504                                                             142980          COMPLETION        EA                                 5                         134.1           670.5
                                                                                                   CLAMP, TUBING, MID JOINT, ABOVE SAFETY VALVE, W/DUAL CHAN, (L TO R) (L)
                                                                                                   0.433 X 0.433 ENCAP.TEC,0.433 X 0.990 ENCAP.BUNDLE, (R) 0.410 X 0.790,0.660
                                                                                                   ENCAP LINE,25.2 LENGTH,LCS,CANNON SERVICES, PN: 5500‐A‐81/67RPDC, DRW:                              MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         29254.A                               BW‐R5‐3             NOB‐505, 506                                                                          142980          COMPLETION        EA                                 2                         67.15           134.3

                                                                                                   CONNECTOR, TEST, DRY MATE, MINIATURE, TRONIC QCP, PN: DHCE‐T16‐AC‐01S‐                              MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         30007.A                               OS‐R1‐S3            000‐00                                                                                142980          COMPLETION        EA                                 1                         6250            6250

                                                                                                                                                                                                       MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         30008.A                               OS‐R1‐S3            CONNECTOR, TEST, TRONIC QCP, PN: DHCE‐T23‐AA‐01S‐000‐00                               142980          COMPLETION        EA                                 1                         8250            8250

                                                                                                   MANDREL, SOLID GAUGE, 4.500, 13CR, 15.5 PPF, 95 KSI, BTS‐6 PIN X PIN, FOR                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         31062.A                           CAN RACK FLOOR          NHQG‐ED, DUAL GAUGE, SCHLUMBERGER, PN: 101284871                                      142981          COMPLETION        EA                                 1                        51550           51550

                                                                                                   VALVE;TYP:FORMATION ISOLATION,CONN 1 SZ:7.813IN,CONN 2 SZ:3.7IN,OD:9‐                               MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         31225.A                             DWW‐YARD              5/8IN,MATL GR:13CR,MFR:SCHLUMBERGER,PN:100535565,MN:FIV‐II‐9X                         139991          FEED COMPLT       EA                                 1                       365000          365000

                                                                                                   CROSSOVER, CASING;TOP CONN SZ:10‐3/4IN,TOP CONN WT:73.20lb/ft,TOP CONN
                                                                                                   TYP:HC, MAC II, BOX,BOT CONN SZ:10‐1/8IN,BOT CONN WT:79.22lb/ft,BOT CONN                            MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         32774.A                              BW‐AREA 3            TYP:SLSF, PIN,MATL GR:TN‐125/HCQ‐125,LG:5ft                                           138970               D&E          EA                                 1                        15837           15837

                                                                                                                                                                                                       MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         32818.A                               CR TIER 1           BLAST JOINT, S/C, 3.500 IN, 9.30, 3.859 OD, 13CR110, BTS‐8, (20 FT.)                  142981          COMPLETION        EA                                 2                         8149           16298

                                                                                                   JOINT;SPCL FEAT:SIZE: 3‐1/2 IN, WEIGHT: 9.20 LB, MATERIAL GRADE: 13CR110,                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         32821.A                             DWW‐YARD              CONNECTION TYPE: VAM FJL                                                              142981          COMPLETION        EA                                 1                         3835            3835

                                                                                                   CASING X‐OVER, SUB, 4.500 IN, 15.50, 13CR95, BTS‐6 BOX X 3.500 IN, 9.30, BTS‐8                      MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         32822.A                        PUP JOINT RACK‐FLOOR       PIN X 14.000 IN                                                                       142981          COMPLETION        EA                                 1                         1320            1320
                                                                                                   CASING X‐OVER, SUB, 4.500 IN, 15.50, 13CR95, BTS‐6 BOX X 3.500 IN, 9.30, BTS‐8
Deepwater Warehouse    Fieldwood         32822.A                        PUP JOINT RACK‐FLOOR       PIN X 14.000 IN                                                                                                         EA                                 1                        859.65         859.65
                                                                                                   CROSSOVER, CASING;TYP:SUB,TOP CONN SZ:5‐1/2IN,TOP CONN
                                                                                                   WT:29.70lb/ft,TOP CONN TYP:VAM ACE PIN,BOT CONN SZ:5‐1/2IN,BOT CONN                                 MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         33269.A                        PUP JOINT RACK‐ TIER 1     WT:23.00lb/ft,BOT CONN TYP:BTS‐6 PIN,MATL GR:13CR110,LG:4ft                           139991          FEED COMPLT       EA                                 1                         7015            7015

                                                                                                   JOINT;TYP:COMBO, UPPER,SPCL FEAT:SIZE: 5‐1/2 IN, WEIGHT: 23 LB, MATERIAL
Deepwater Warehouse    Fieldwood         33270.A                        PUP JOINT RACK‐TIER 4      GRADE: 13CR95, CONNECTION: BTS‐6, LENGTH: 12 FT (6 FT PROFILED BOX)                                                     EA                                 1                       8197.87        8197.87

                                                                                                   JOINT;TYP:COMBO, UPPER,SPCL FEAT:SIZE: 5‐1/2 IN, WEIGHT: 23 LB, MATERIAL                            MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         33270.A                        PUP JOINT RACK‐TIER 5      GRADE: 13CR95, CONNECTION: BTS‐6, LENGTH: 12 FT (6 FT PROFILED BOX)                   139991          FEED COMPLT       EA                                 1                        12588           12588
                                                                                                   JOINT;TYP:COMBO, LOWER,SPCL FEAT:SIZE: 5‐1/2 IN, WEIGHT: 23 LB/FT,
                                                                                                   MATERIAL GRADE: 13CR95, CONNECTION: BTS‐6, LENGTH: 12 FT (6 FT PROFILED
Deepwater Warehouse    Fieldwood         33271.A                        PUP JOINT RACK‐TIER 4      PIN)                                                                                                                    EA                                 1                       8197.87        8197.87
                                                                                                   SLEEVE, INSULATOR, POLYURETHANE TYPE, 20 LBS, CANNON SERVICES, PN:                                  MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         33282.A                               BW‐R5‐3             72051, DRW: NOB‐476, FOR 7.000 IN X 5.50 IN VIT                                       139991          FEED COMPLT       EA                                12                        592.15         7105.8
                                                                                                   CENRALIZER SUB, 9.875 IN, 62.80 PPF, Q125 HC, TSH 523, BST‐25, MODEL: R3600,
Deepwater Warehouse    Fieldwood         33294.A                      DWW YARD C‐VAN 433422‐0      BLACKHAWK, PN: 0101504‐A                                                                                                EA                                 0                    7120.2708                  0

                                                                      DWW‐YARD C‐VAN 4661048‐
                                                                     40OT‐‐This C‐Van Scrapped and CENRALIZER SUB, 9.875 IN, 62.80 PPF, Q125 HC, TSH 523, BST‐25, MODEL: R3600,
Deepwater Warehouse    Fieldwood         33294.A                    sold to Louisiana Scrap 03/19/19 BLACKHAWK, PN: 0101504‐A                                                                                              EA                                 0                    7120.2708                  0
                                                                                                     JOINT;TYP:PRODUCTION TUBING,SPCL FEAT:SIZE: 3‐1/2 IN, WEIGHT: 9.2 LB/FT,
                                                                                                     HYPER, MATERIAL GRADE: 13CR110, CONNECTION TYPE: VAM FJL, TUNGSTEN                                MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         33413.A                               DWW‐YARD              CARBIDE COATED                                                                      142981          COMPLETION        EA                                 3                  7633.333333           22900

                                                                                                   GUIDE SHOE, CENTRALIZER, 9.875 IN, 62.80#, HCQ‐125, 549R HYD 523, 36S (0.171)
                                                                       DWW‐YARD C‐VAN HJCU‐        BOWS, 13.500 IN OD, CONCENTRIC CEMENT NOSE W/6.03 IN ID AND 0.375 IN
Deepwater Warehouse    Fieldwood         33926.A                            1481372                ALUM BAR, DRIFT 8.500/OD 10.625, WEATHERFORD, PN: 549R0JQH523Q12A001                                                    EA                                 1                  7450.466667 7450.466667

                                                                                                   CONNECTOR, PLUG, DRY MATE, (TEC TO HANGER), TRONIC QCP, PN: DHCE‐A51‐                               MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         34130.A                               PR‐R1‐2             BQ‐01S‐ALL‐HN                                                                         142980          COMPLETION        EA                                 0                        12550                  0

                                                                                                   CONNECTOR, PLUG, DRY MATE, (TEC TO HANGER), TRONIC QCP, PN: DHCE‐A51‐                               MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         34130.A                               PR‐R1‐2             BQ‐01S‐ALL‐HN                                                                         142981          COMPLETION        EA                                 0                        18610                  0
                                                                                                   CLAMP, TUBING,MID JOINT,W/STANDOFF,(LEFT TO RIGHT)11MMX11MM ENCAP
                                                                                                   TEC,0.660IN OD ENCAP CI LINE(LOWER),0.535 IN OD ENCAP CI LINE(UPPER),25.2IN
                                                                                                   LENGTH,LOW CARBON STEEL,CANNON SERVICES,PN:6090‐B‐68PG1.53XT,DRAW                                   MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         34449.A                              BW‐AREA 2            NOB535B,536B                                                                          139991          FEED COMPLT       EA                                 2                       1005.25         2010.5
                                                                                                   SUB, RUPTURE DISC, 16.000 IN, 97.00, Q‐125, HYDRIL 511, PIN X BOX X 4 FT W/ 2
                                                                                                   PORTS 180 DEGREES APART AND EPRD DISKS INSERTED, RATED AT 1600 PSIG AT
Deepwater Warehouse    Fieldwood         34553.A                              BW‐AREA 3            150 DEGREES FARENHEIT W/ 7000 PSIG BACK PRESSURE                                      201560        GC 40 02 Katmai 2   EA                                 1                     33978.07        33978.07




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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                               Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value

                                                                                                 DISK, TYPE: RUPTURE, EXTERNAL, MFG: FISK, PN: A9034‐7, 1600 PSIG AT 150 DEG
Deepwater Warehouse    Fieldwood         35044.A                               MR‐1‐A            F W/7000 PSID MINIMUM BACK PRESSURE, APPLI: FOR HUNTING EQUIPMENT                                                   EA                                 2                       5268.85        10537.7

                                                                                                 JOINT;SPCL FEAT:NOMINAL SIZE: 5‐1/2 IN, WEIGHT: 23 LB, MATERIAL GRADE:                          MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         35048.A                             DWW‐YARD            13CR95, CONNECTION TYPE: VAM, FJL, WITH PRODUCTION TUBING (LG: 30 FT)             139991          FEED COMPLT       EA                                 4                        4396.5          17586
                                                                                                 ASSEMBLY, CENTRALIZER, SUB, 13.625 IN, R3600, BST‐25, (14) BOW SPRING,
                                                                                                 18.625 IN OVER BOW, TEANRISHYDRIL WEDGE 523, DOPELESS, 88.20 PPF, API
Deepwater Warehouse    Fieldwood         35536.A                     DWW YARD C_VAN 429796‐0     Q125, BLACKHAWK, PN: 0101468                                                                                        EA                                 8                  8889.644444 71117.15556
                                                                                                 ASSEMBLY, CENTRALIZER, SUB, 13.625 IN, R3600, BST‐25, (14) BOW SPRING,
                                                                                                 18.625 IN OVER BOW, TEANRISHYDRIL WEDGE 523, DOPELESS, 88.20 PPF, API
Deepwater Warehouse    Fieldwood         35536.A                     DWW YARD C‐VAN 433422‐0     Q125, BLACKHAWK, PN: 0101468                                                                                        EA                                 1                  8889.644444 8889.644444
                                                                                                 CENTRALIZER, SUB, 11.875 IN, R3600, BST‐25B, (12) BOW SPRING, 16.750 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 71.80 PPF, API Q125, BLACKHAWK,                         MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         35537.A                             BW‐AREA 3           PN: 0101781                                                                       144040               D&E          EA                                 2                  12624.78494 25249.56988
                                                                                                 CENTRALIZER, SUB, 11.875 IN, R3600, BST‐25B, (12) BOW SPRING, 16.750 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 71.80 PPF, API Q125, BLACKHAWK,
Deepwater Warehouse    Fieldwood         35537.A                             BW‐AREA 3           PN: 0101781                                                                                                         EA                                 5                  7948.575556 39742.87778
                                                                                                 CENTRALIZER, SUB, 11.875 IN, R3600, BST‐25B, (12) BOW SPRING, 16.750 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 71.80 PPF, API Q125, BLACKHAWK,                         MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         35537.A                             BW‐AREA 3           PN: 0101781                                                                       203389               DRL          EA                                 2                  12205.20556 24410.41111
                                                                                                 CENTRALIZER, SUB, 9.875 IN, R3600, BST‐25, (8) BOW SPRING, 14.875 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 62.80 PPF, API Q125, BLACKHAWK,
Deepwater Warehouse    Fieldwood         35538.A                     DWW YARD C‐VAN 402189‐0     PN: 0101780                                                                                                         EA                                 7                  5767.368571        40371.58
                                                                                                 CENTRALIZER, SUB, 9.875 IN, R3600, BST‐25, (8) BOW SPRING, 14.875 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 62.80 PPF, API Q125, BLACKHAWK,                         MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         35538.A                     DWW YARD C‐VAN 402189‐0     PN: 0101780                                                                       203389               DRL          EA                                 4                       8855.92       35423.68
                                                                                                 CENTRALIZER, SUB, 9.875 IN, R3600, BST‐25, (8) BOW SPRING, 14.875 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 62.80 PPF, API Q125, BLACKHAWK,
Deepwater Warehouse    Fieldwood         35538.A                     DWW YARD C‐VAN 402189‐0     PN: 0101780                                                                       142843        MC 782 2 DANTZLER   EA                                 2                       8855.92       17711.84
                                                                                                 CENTRALIZER, SUB, 9.875 IN, R3600, BST‐25, (8) BOW SPRING, 14.875 IN OVER
                                                                                                 BOW, TENARISHYDRIL WEDGE 523, DOPELESS, 62.80 PPF, API Q125, BLACKHAWK,
Deepwater Warehouse    Fieldwood         35538.A                      DWW‐YARD‐C‐VAN 045905      PN: 0101780                                                                       201560        GC 40 02 Katmai 2   EA                                 2                       8855.92       17711.84
                                                                                                 RING;TYP:EXPANDING NO‐GO,ID:5‐1/4IN,APPLN:SSR WIRELINE ISOLATION
Deepwater Warehouse    Fieldwood         35650.A                               MR‐5‐D            SLEEVE,MFR:CAMERON,PN:2748112‐01                                                                                    EA                                 1                       1782.95        1782.95
                                                                                                 PLUG, BULL;NOM SZ:3‐1/2IN,CONN TYPE:VAM FJL BOX,WT:9.20lb/ft,MATL
                                                                                                 GR:13HCR,SPCL FEAT:OD: 3‐1/2 IN, MINIMUM YIELD STRENGTH: 15                                     MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         36234.A                       PUP JOINT RACK‐FLOOR      KSI,MFR:SUPERIOR ENERGY SERVICES,PN:413.55349C                                    139991          FEED COMPLT       EA                                 2                        1242.5           2485
                                                                                                 PLUG, BULL;NOM SZ:5‐1/2IN,CONN TYPE:SLHT BOX,WT:20.00lb/ft,MATL
                                                                                                 GR:13HCR,SPCL FEAT:OD: 6.062 IN, MINIMUM YIELD STRENGTH: 15                                     MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         36235.A                       PUP JOINT RACK‐FLOOR      KSI,MFR:SUPERIOR ENERGY SERVICES,PN:413.55019C                                    139991          FEED COMPLT       EA                                 2                         1670           3340
Deepwater Warehouse    Fieldwood         38048.A                            DWW‐YARD             PUP JOINT, 10.125 IN, 79.22#, HCQ‐125, HUNTING, SLSF, PIN X BOX, (18 FT)                                            EA                                 1                       3930.47        3930.47
                                                                       DWW‐YARD C‐VAN HJCU       EYE, LIFTING, 50 TON, STANDARD DUTY, FOR 17 TON SHACKLE, DRIL‐QUIP, PN: 2‐
Deepwater Warehouse    Fieldwood         38624.A                              1339199            304782‐02                                                                                                           EA                                 0                  421.4841667                  0
                                                                       DWW‐YARD C‐VAN HJCU‐      CENTRALIZER, SUB, 14.000 IN, GS, 549, Q125, HYDRIL 523, 113.0, 19.50 OD,
Deepwater Warehouse    Fieldwood         38698.A                              1481372            WEATHERFORD, PN: 2245955                                                                                            EA                                 1                       7199.51        7199.51

                                                                                                 KIT, RE‐DRESS, FOR TRONIC DRY‐MATE PLUG CONNECTOR, TEC TO HANGER,                               MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         40232.A                               PR‐R1‐2           TRONIC QCP, SCHLUMBERGER, PN: BNX‐TC6A‐555                                        142980          COMPLETION        EA                                 0                        11892                  0
                                                                                                 CROSSOVER, FITTING, 0.375 IN PTI MALE X 0.500 IN PTI FEMALE, (2) VITON O‐
                                                                                                 RINGS, 0.500 IN VITON PLUS ASSY, 0.500 IN FRONT/REAR FERRULE, 0.500 IN PTCM                     MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         40269.A                               MR‐1‐C            NIPPLE,PETRO TECHNOLOGIES, PN: 170M371                                            142981          COMPLETION        EA                                 0                       2748.04                 0
                                                                                                 WHIP, TEST, ELECTRICAL, 7‐WAY FLYING RECEPTACLE, SOCKETS, PINS, W/
Deepwater Warehouse    Fieldwood         40555.A                               MR‐5‐F            PIGTAILS, MFR: TELEDYNE, PN:1110542, SUP:AKER, MN: 10121123                                                                                            4                         3526           14104
                                                                                                 CAP, PROTECTION, UNIVERSAL, W/ HANDLE, ROV FLYING, MFR: TELEDYNE, PN:
Deepwater Warehouse    Fieldwood         40565.A                               MR‐2‐C            1110544, SUP: AKER, MN: 10055384                                               AFE FW193007          TROIKA                                            0                         1626                  0
                                                                                                 PLATE, TESTING/FLUSHING REMOVABLE, 12‐WAY FOR OUTBOARD MULTI‐QUICK
Deepwater Warehouse    Fieldwood         40572.A                             MW‐R14‐1            CONNECTION P/N 10111225                                                        AFE FW193004          TROIKA                                            1                        31828           31828
                                                                                                 VALVE, SAFETY, SUBSURFACE, 5.500 IN, 26.0#, 3.562 RPT, VAM TOP HC PIN X PIN,
                                                                                                 API 14A/ISO 10432 CLASS 2, 15000 PSI, VITON ORINGS, MF TEFLON SEAT, MP35N                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         40692.A                           VERTICAL RACK         SPRING, 300 DEG F MAX WORKING TEMP, SCHLUMBERGER                                  143752         COMPLETION/L       EA                                 0                       743000                  0
                                                                                                 PUP JOINT, CASING;NOM SZ:9‐3/8IN,WT:39.00lb/ft,MATL GR:HCQ‐125,TOP CONN                          GC 40 1 KATMAI
Deepwater Warehouse    Fieldwood         40906.A                             BW‐AREA 3           TYP:HYDRIL 513 PIN,BOT CONN TYP:HYDRIL 513 BOX,LG:5ft                             140829              D&E           EA                                 1                       3316.55        3316.55
                                                                                                 CLAMP,TUBING,MID JOINT,W/STANDOFF,BLOW THE SCSSV W/DUAL CHAN,(L TO
                                                                                                 R)0.433X0.433 ENCAP TEC,0.433X0.990 ENCAP BUNDLE,(R)0.660 ENCAP LINE,25.2
                                                                                                 IN GUARD LENGTH,LCS,8.79IN CALC COMB RUN OD,CANNON,PN: 5125‐A‐81/67RP                           MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         41084.A                              BW‐R5‐3            DCG2.17XT                                                                         142980          COMPLETION        EA                                 2                         1675            3350

                                                                                                 CLAMP, PROTECTOR, SPLICE, TUBING,0.433X0.433 ENCAP TEC,0.433X0.990ENCAP                         MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         41085.A                              BW‐R5‐3            BUNDLE,ASTM‐1‐1011,40.2IN CLAMP LENGTH,CANNON, PN: 4500‐40‐81/12/81               142980          COMPLETION        EA                                 5                       1005.25        5026.25
                                                                                                 CLAMP,PROTECTOR,SPLICE,TUBING, 0.433X0.433 ENCAP TEC,0.433X0.990 ENCAP
                                                                                                 BUNDLE,ASTM‐A‐1011,40.2IN CLAMP LENGTH,CANNON, PN: 6000‐40/C‐81‐12‐                             MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         41086.A                              BW‐R5‐3            81/67RPDC                                                                         142980          COMPLETION        EA                                 3                        1115.3         3345.9
                                                                                                 SEAL, METAL, MSBMS‐II‐UD BODY, F/5‐15K HANGER, INCONEL 625, SILVER
                                                                                                 PLATED, 4.686 OD X 3.913 ID, 0.450 LG, F/HALLIBURTON CROWN PLUG, PN:                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         41391.A                               MR‐1‐A            P1000011680                                                                       140528          LONG LEAD         EA                                 1                         2364            2364
                                                                                                 SEAL, METAL, SBMS‐II BODY, F/18 0.750‐15K HANGER, INCONEL 718, SILVER
                                                                                                 PLATED, 16.734/16.739 OD X 15.701/15.706 ID, UPPER GALLEY SEAL F/EXHT                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         41393.A                               MR‐2‐E            TUBING HANGER, FMC, PN: P207484                                                   140528          LONG LEAD         EA                                 3                        14836           44508

                                                                                                 ASSEMBLY, JUNCTION PLATE, IWOCS, 12‐WAY REMS/12L, UO, AKER, PN: BB11‐                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         42096.B                             MW‐AREA 1           000728‐15                                                                         142981          COMPLETION        EA                                 1                        62637           62637

                                                                                                 ASSEMBLY, JUNCTION PLATE, IWOCS, 12‐WAY REMS/12L, UO, AKER, PN: BB11‐                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         42096.C                             MW‐AREA 1           000728‐15                                                                         142981          COMPLETION        EA                                 1                        62637           62637

                                                                                                ASSEMBLY, JUNCTION PLATE, FIXED, 12‐WAY, FLUSHING, UO, AKER, PN: BB11‐                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         42097.A                           MW‐R17‐3             000728‐03                                                                          142981          COMPLETION        EA                                 1                        52032           52032
                                                                                                ASSEMBLY, PROD. TUBING HANGER, 4.000 IN ‐ 10M, W/ 5.000 IN SIDE OUTLET,
                                                                    DWW YARD C‐VAN HLXU 616220‐ 4.375 IN,SSR WIRELINE, PLS‐3, 5.500 X 26.000 VAM TOPBOX CONNECTION, (7)                          MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         43377.A                                6               CONTROL LINES, SINGLE PIN ELEC, CAMERON                                            142981          COMPLETION        EA                                 0                     696270.8                  0

                                                                                                 ELECTRIC CONTROL LINE, GAUGE TEC, 0.049 WT, INC 825, ENCAPSULATED, SLB                          MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         43387.A                             DWW‐YARD            QCP, SCHLUMBERGER, PN: P486119                                                    142980          COMPLETION        FT                              12500                         7.95          99375




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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                             Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                                                 HANGER, LINER, EXPANDABLE, VERSAFLEX, QUICK‐LOCK, 11.875 IN, 71.8#, HCQ‐
                                                                                                 125, HYD 523 X 14.000 IN, 113#, HCQ‐125, HYD 523, HALLIBURTON, PN:
Deepwater Warehouse    Fieldwood         43663.A                             MW‐AREA 3           101918791                                                                       201560        GC 40 02 Katmai 2   EA                                 1                       133000          133000

                                                                                                 SUB, CROSSOVER, 5.500 IN, 26#, HYPER 13CR110, VAM TOP PIN X 6.000 IN,                         MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         43882.A                        PUP JOINT RACK‐TIER 1    30.90#, VAM TOP, KP PIN X 4 FT                                                  142980          COMPLETION        EA                                 1                         5526            5526

                                                                                                 PUP JOINT, CROSSOVER, 5.500 IN, 23#, HYPER 13CR110, BTS‐6, BOX X 6.000 IN,                    MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         43920.A                        PUP JOINT RACK‐TIER 1    30.90#, VAM TOP, KP, PIN X 4 FT                                                 142980          COMPLETION        EA                                 1                         5021            5021

                                                                                                COUPLING, FLOW, 4.500 IN, 13.50#, HYPER 13CR110, BTS‐8, BOX X 4.500 IN,                        MC 782 1 DANTZLER
Deepwater Warehouse    Fieldwood         43929.A                      PUP JOINT RACK‐TIER 5     15.50#, BTS‐6, PIN, CROSSOVER X 8 FT                                             142980          COMPLETION        EA                                 1                         6680            6680
                                                                      DWW‐YARD C‐VAN HJCU       CENTRALIZER SUB, ROT, 7.750 IN, 541R, Q125HYDRIL 523, 46.10, 11.25 OD,                          GC 40 1 KATMAI
Deepwater Warehouse    Fieldwood         44154.A                             1481372            WEATHERFORD, PN: 1217216                                                         140521         DEEPENING DRL      EA                                 2                         7232           14464
                                                                                                REEL, FLYING LEAD, HYDRAULIC, DEPLOYMENT AND INSTALLATION, CARBON
                                                                                                STEEL, COATED, W/ 4 WAY LIFTING SLING, STACKABLE, OCEANEERING, PN:                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         44727.B                           DWW‐YARD             119075‐034951 REV AB                                                             139351          EXECUTE AFE       EA                                 3                       36607.5       109822.5
                                                                                                REEL, FLYING LEAD, HYDRAULIC, DEPLOYMENT AND INSTALLATION, CARBON
                                                                                                STEEL, COATED, W/ 4 WAY LIFTING SLING, STACKABLE, OCEANEERING, PN:
Deepwater Warehouse    Fieldwood         44727.B                           DWW‐YARD             119075‐034951 REV AB                                                             128021         MC 519 DESIGN      EA                                 0                       36607.5                 0
                                                                                                FLYING LEAD,HYDRAULIC,M1 REMOVABLE PLATE,EACH END W/ 13 EA: 0.500 IN
                                                                                                RS FEMALE COUPLERS, 0.500 IN SUPER DUPLEX TUBE STUBS,15K PSI,CS COATED
                                                                                                TERMINATION ASSY,9 SEGMENT VERTEBRATE BEND RESTRICTOR,TUBE SECURING
Deepwater Warehouse    Fieldwood         44734.B                           DWW‐YARD             ARMOR POT, 200 FT,OCEANEERING                                                    128021         MC 519 DESIGN      EA                                 1                    124653.75       124653.75
                                                                                                FLYING LEAD, ELECTRICAL, ROV, 200 FT, INCLUDES:7‐WAY CABLE END PLUG(PINS)
                                                                                                W/45 DEG INTEGRAL TERMINATION TITANIUM CP PN:1025114, 200 FT 4‐WAY
                                                                                                FLUID FILLED HOSE ASSY 14 AWG,7‐WAY RECEPTACLE(SOCKETS)
Deepwater Warehouse    Fieldwood         44737.A                            MW‐R3‐1             PN:1025089,ODI,PN:1050822                                                        128021         MC 519 DESIGN      EA                                 1                        13746           13746
                                                                                                ASSEMBLY, PRESSURE CAP, 8.000 IN, 15000 PSI, FLOWLINE HUB, 6.392 IN SEAL
                                                                    DWW YARD C‐VAN HLXU 616220‐ BORE, W/ 9/16 IN AUTOCLAVE PORT, PMT W/ 6 ANODES, (PLUG W/ 2 O‐RINGS),
Deepwater Warehouse    Fieldwood         44749.B                                6               CAMERON, PN: 2181509‐06                                                          128021         MC 519 DESIGN      EA                                 1                        67041           67041
Deepwater Warehouse    Fieldwood         45223.E                           DWW‐YARD             SUPERIOR ENGINE, 1,600 HP, F/COMPRESSOR, MN: 2408G, SN: 33268                                                      EA                                 1                            0               0
                                                                    DWW YARD C‐VAN CPIU 030112‐                                                                                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45240.A                                0               ASSY, FLOODING CAP, 8.000 IN, 10K, CVC HUB, PN: 2165232‐05                       143096        DEVELOPMENT LL      EA                                 1                       127425          127425
                                                                    DWW YARD C‐VAN HLXU 616220‐                                                                                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45241.A                                6               ASSY, DEBRIS CAP, 6 IN, W/ PMT INTERFACE, PN: 2236048‐04                         143096        DEVELOPMENT LL      EA                                 3                         9756           29268

                                                                                                 FUNNEL, MFG: CLAMPON, PN: 924‐16822‐002, TYPE: DEEPWATER FUNNEL &                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45250.A                             MW‐R17‐FL           CLAMP, APPLI: FOR ACCOUSTIC SAND, SPEC: AKS PN: BB15‐000450‐46 REV 1            143096        DEVELOPMENT LL      EA                                 0                         9664                  0
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45252.A                             BW‐R3‐2             ASSY, BORE PROTECTOR, 9.407 DIA, BORE NOM, PN: 2141626‐10                       143096        DEVELOPMENT LL      EA                                 1                       90485            90485
Deepwater Warehouse    Fieldwood         45253.A                            MR‐GENERAL           SET, SCM TEST, 9600 BAUD, W/SOFTWARE, PN: 6000000649                                                              EA                                 0                    112934.32               0
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45254.A                              MW‐R3‐3            EFL, 4‐WAY, EDU‐TREE, 600 FT, PN: 6000000659                                    143096        DEVELOPMENT LL      EA                                 1                        50934           50934
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45255.A                             MW‐R17‐1            PLATE, MQC, OB, MARINE GROWTH COVER, 12‐W, PN: 6000001101                       143096        DEVELOPMENT LL      EA                                 2                     110390.3        220780.6
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45259.A                               MR‐3‐D            COVER, ODI ELECTRICAL, DUMMY POD, PN: 6000001111                                143096        DEVELOPMENT LL      EA                                 2                       151110          302220
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         45265.C                             MW‐R16‐1            ASSY, MQC PLATE, IWOCS, REM, 12‐WAY/LINE F/ ST‐12, AKER, PN: 10058761           143096        DEVELOPMENT LL      EA                                 0                       25272.5                 0
Deepwater Warehouse    Fieldwood         45276.A                             MW‐AREA 5           ASSY, PRE‐FAT PRODUCTION, G2 TUBING HANGER, F/ ST‐13                                                              EA                                 0                       5466.49                 0
                                                                                                 FLYING LEAD, THERMO‐PLASTIC HYDRAULIC (TPHFL), HDU, 8‐WAY, W/ADDED
Deepwater Warehouse    Fieldwood         45311.B                             DWW‐YARD            FLOATATION MODULE, 275 FT                                                                                         EA                                 1                    186608.96       186608.96
                                                                                                                                                                                               MC 698 1 BIG BEND
Deepwater Warehouse    Fieldwood         45500.A                             DWW‐YARD            TUBING, PRODUCTION, 3.500 IN, 9.3#, 13CR95, BTS‐8                               139991          FEED COMPLT       FT                                126                         36.5           4599
                                                                                                 SLEEVE, LOCK DOWN, (LDS), CONFIRMATION TOOL, 27.000 IN DIA, ANODIZED
                                                                                                 ALUMINUM TOP PLATE, PLATE BOLTED TO DELRIN LEGS CONNECTED TO A
                                                                                                 DELRIN BOTTOM PLATE, FITS WELLHEAD AT 8.77IN, W/PELICAN SHIPPING BOX,                         MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         45502.A                              BW‐R6‐FL           FUGRO                                                                           142981          COMPLETION        EA                                 2                        10400           20800

                                                                                                                                                                                               MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         45586.B                            MR‐GENERAL           KIT, VALVE, 3‐WAY, INCLUDES SPEC SHEET, OMM AND MOB DOC, OCEANEERING            142981          COMPLETION        EA                                 2                        5887.5          11775
                                                                                                 FORGING, STRESS JOINT, RTI ENERGY SYSTEMS, DOCUMENT NUMBER: GUN‐SS‐                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         45667.A                             DWW‐YARD            SSF‐RIS‐SOW‐0001                                                                140528           LONG LEAD        EA                                 1                       431151          431151
                                                                                                                                                                                                GC 40 1 KATMAI
Deepwater Warehouse    Fieldwood         45989.A                            DWW‐YARD             PUP JT, 7.750 IN, 46.10#, HCQ125, TSH, 523 BXP @ 23 (25 FT)                     140521         DEEPENING DRL      EA                                 1                         6220            6220
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE                                                                                                      MC 519
Deepwater Warehouse    Fieldwood         46449.A                           CONTROLLED)           MODULE, SUBSEA CONTROL, FOR GALAPAGOS, CAMERON, PN: 223053‐61                   131068          FABRICATION       EA                                 0                       928557                  0

                                                                                                 CAP, PRESSURE, FEMALE, FITTED W/A 2‐WAY 0.500IN BALL VALVE AND 0.500 FT                       MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         46461.A                      DWW‐YARD‐C‐VAN 429796      HOT STAB, API 17D, TYPE A, MODEL: UH‐575‐550, UNITECH, PN: 31915                139057         DEVELOPMENT        EA                                 1                    102794.75       102794.75
                                                                                                                                                                                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         46464.A                            MR‐5‐C               KIT, SEAL, MODEL: UH‐575/550, UNITECH, PN: 25491                                139057         DEVELOPMENT        EA                                 6                        7362.5          44175
                                                                      DWW‐YARD C‐VAN DNVU‐                                                                                                     MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46465.A                            2051995              KIT, TOOL, MODEL: UH‐575/550, UNITECH, PN: 25492                                142679         DEVELOPMENT        EA                                 1                         9500            9500
                                                                                                                                                                                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         46465.A                               MR‐5‐C            KIT, TOOL, MODEL: UH‐575/550, UNITECH, PN: 25492                                139057         DEVELOPMENT        EA                                 2                       12112.5          24225
Deepwater Warehouse    Fieldwood         46465.A                               MR‐5‐C            KIT, TOOL, MODEL: UH‐575/550, UNITECH, PN: 25492                                139057                            EA                                 1                       12112.5        12112.5
                                                                                                                                                                                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         46466.A                               MR‐1‐F            CAP, PROTECTION, FOR FEMALE CONNECTOR UH‐575/550, UNITECH, PN: 27387            139057         DEVELOPMENT        EA                                 2                        8692.5          17385
                                                                                                                                                                                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         46467.A                             MR‐1‐F             PLUG, PROTECTION, FOR MALE CONNECTOR UH‐575/550, UNITECH, PN: 27388              139057         DEVELOPMENT        EA                                 2                        8312.5          16625
                                                                      DWW‐YARD C‐VAN DNVU‐      CASE, PELICAN, FOR STORAGE OF FEMALE CONNECTOR 32392, UNITECH, PN:                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46468.A                            2051995             32060                                                                            142679         DEVELOPMENT        EA                                 2                         2500            5000
                                                                                                INSER,CHOKE,RETRIEVABLE,ADJUSTABLE,HRV P35‐15K,GALAPAGOS SPARE,CV 94
                                                                                                FLOW TRIM 5CB TUNGSTEN CARBID,W/STAINLESS CARRIERS,VERTICAL CLAMP
                                                                    DWW‐YARD‐C‐VAN CCLU 667229‐ ACCESS 180 DEG,W/API 17D CLASS 5 DRIVE INTERFACE,FOR MATER FLO
Deepwater Warehouse    Fieldwood         46586.A                                9               VALVE,MASTER FLO,PN:42005‐016‐02                                                 128021         MC 519 DESIGN      EA                                 1                       151025          151025
                                                                                                STEEL TUBE FLYING LEAD (STFL), 7 LINE, 12 WAY AKER X 14 WAY OIE M1, 60M,                       MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46638.A                           DWW‐YARD             (1+1 SPARE), AKER SOLUTIONS, PN: 10233216                                        143096        DEVELOPMENT LL      EA                                 1                       127242          127242
                                                                                                STEEL TUBE FLYING LEAD (STFL), 9 LINE, 12 WAY AKER X 14 WAY OIE M1, 60 M                       MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46641.A                           DWW‐YARD             (1+1 SPARE), AKER SOLUTIONS, PN: 10233217                                        143096        DEVELOPMENT LL      EA                                 0                       135732                  0




                                                                                                                                                               6
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      Facility        Facility Owner   Item Number     Serial No.         Location            Item Description                                                                  Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                     DWW‐YARD‐C‐VAN CPIU      SAND DETECTOR, ACOUSTIC, CLAMP‐ON X 6 WAY ODI MALE, 60M, AKER                                      MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46643.A                        03011222G1            SOLUTIONS, NEW PN: 10243498,OLD PN:10233219                                          143096        DEVELOPMENT LL      EA                                 0                       107180                  0
                                                                                              ELECTRICAL FLYING LEAD, ODI 90 DEG, 8 WAY MALE X 8 WAY FEMALE, 60M (1+1                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46645.A                            MW‐R5‐2           SPARE), PN: BB15‐000778‐20                                                           143096        DEVELOPMENT LL      EA                                 1                        32766           32766
                                                                                              ELECTRICAL FLYING LEAD, ODI 90 DEG, 4 WAY MALE X 4 WAY FEMALE, 60M (15+2                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46646.A                    DWW‐YARD‐C‐VAN 433422 0   SPARE), PN: BB15‐000776‐20                                                           143096        DEVELOPMENT LL      EA                                 2                        34215           68430
                                                                                              CONNECTOR, TEST, 8 WAY, ODI FEMALE, W/PIGTAIL, AKER SOLUTIONS, PN: BB15‐                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         46660.B                    DWW‐YARD C‐VAN 2051995    000695‐37                                                                            141585          LONG LEADS        EA                                 0                       1661.25                 0

                                                                                                                                                                                                 MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         46673.A                           BW‐AREA 3          LIFT SUB, 6.625 IN OD, S‐135, W/4.500 IN IF PIN                                      142981          COMPLETION        EA                                 2                        14277           28554

                                                                                              ASSEMBLY, FLUSHER, DUAL PATH, LF/LF CONFIGURATION, ROV RETRIEVABLE                                 MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         46764.B                           MW‐R15‐2           DOCKING CANISTER, 10000 PSI RATED WORKING PRESSURE, SKOFLO, PN: 21188‐3              142679         DEVELOPMENT        EA                                 1                     22842.75        22842.75

                                                                                              FITTING, 0.750 IN MTM X 0.375 IN TUBE W/FLUSH FITTING, PETRO                                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         46996.A                             MR‐3‐C           TECHNOLOGIES, PN: 120M841 REV G                                                      143752         COMPLETION/L       EA                                 0                        3576.4                 0

                                                                                              FITTING, 0.750 IN MTM X 0.250 IN TUBE W/FLUSH FITTING, PETRO                                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         46997.A                             MR‐3‐C           TECHNOLOGIES, PN: 130M751 REV G                                                      143752         COMPLETION/L       EA                                 0                        3236.5                 0

                                                                                              FITTING, 0.750 IN MTM X 0.500 IN POTHI SHORT W/FLUSH FITTING, PETRO                                MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         46998.A                             MR‐3‐C           TECHNOLOGIES, PN: 160M141 REV B                                                      143752         COMPLETION/L       EA                                 0                       4996.12                 0

                                                                                                                                                                                                 MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         47020.A                           DWW‐YARD           TUBING, 4.500 IN, 17.00#, 0380 IN, VM110‐13CRSS, DRIFT 3.615 IN VAM TOP, R3          143752         COMPLETION/L       FT                               81.33                       81.33      6614.5689

                                                                                              PUP, JT, 4.500 IN, 17.00#, 0.380 IN, VM110‐13CRSS, DRIFT 3.615 IN VAM TOP, 10                      MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         47025.A                         DWW‐YARD             FT                                                                                   143751         COMPLETION/L       EA                                 3                       3150.84        9452.52
                                                                     DWW‐YARD C‐VAN HJCU      ASSEMBLY, SEAL, EMERGENCY, FOR 18.750 SS‐15 SYSTEM, H2S, DRIL‐QUIP, PN: 2‐
Deepwater Warehouse    Fieldwood         47059.A                          1339199             402060‐02                                                                                                              EA                                 0                     23516.36                  0
                                                                                              FLO TOOL, 4.500 IN, 15.50#, 13CR110, BTS‐6, LOWER BCSD X 13 FT (SQUARE                                 MC 519 2
Deepwater Warehouse    Fieldwood         47342.A                      PUP JOINT RACK‐TIER 5   SHOULDER W/GROOVE)                                                                   126136          DRL/EVAL/P&A      EA                                 1                         8594            8594
                                                                                              CROSSOVER, SUB, 4.500 IN, 12.60#, 13CR95, VAM TOP BOX X 5.500 IN, 23#, BTS‐6
Deepwater Warehouse    Fieldwood         47350.A                     PUP JOINT RACK‐FLOOR     PIN X 14.000 IN                                                                      126137         MC 519 2 BP 01     EA                                 1                           950            950
                                                                                              CROSSOVER, SUB, 4.500 IN, 15.50#, HYPER 13CR110, BTS‐6 BOX X 5.500 IN, 17#,
Deepwater Warehouse    Fieldwood         47353.B                     PUP JOINT RACK‐FLOOR     VAM TOP PIN X 2 FT                                                                   126137         MC 519 2 BP 01     EA                                 1                        3595.5         3595.5
                                                                                              NIPPLE, 3.500 IN, 9.30#, 13CR110, BCS, (2.813 IN P.B.) (THREADED 3.500 IN 9.20#
Deepwater Warehouse    Fieldwood         47358.B                     PUP JOINT RACK‐FLOOR     VAM FJL BOX/PIN)                                                                     126137         MC 519 2 BP 01     EA                                 1                        4435.5         4435.5
Deepwater Warehouse    Fieldwood         47383.A                     PUP JOINT RACK‐FLOOR     PUP JT, 6.000IN, 30.38#, 13CR115, VAM TOP KP PIN X PIN X 2FT                                                           EA                                 1                       2778.34        2778.34

Deepwater Warehouse    Fieldwood         47393.A                     PUP JOINT RACK‐TIER 2    PUP JT, 4.500IN, 15.50#, HYPER 13CR110, BTS‐6 S/C X 4 FT (SQUARE SHOULDER)                                             EA                                 1                        327.25         327.25
Deepwater Warehouse    Fieldwood         47401.A                     PUP JOINT RACK‐FLOOR     RABBIT, DRIFT, 3.720IN OD, PVC X 14.000 IN                                                                             EA                                 1                         88.49          88.49
Deepwater Warehouse    Fieldwood         47403.A                     PUP JOINT RACK‐FLOOR     RABBIT, DRIFT, 4.500IN, 15.50#, BTS‐6, PVS X 14.000 IN (3.701IN OD)                                                    EA                                 1                        107.56         107.56
                                                                                              FLO TOOL, 4.500IN, 15.10#, HYPER 13CR110, VAM TOP BOX X 4.500IN, 15.50, BTS‐
Deepwater Warehouse    Fieldwood         47405.B                      PUP JOINT RACK‐TIER 5   6, S/C PIN (SQUARE SHOULDER), LOWER CROSSOVER BCSD X 14 FT                           126137         MC 519 2 BP 01     EA                                 1                       6962.25        6962.25
                                                                                              FLO TOOL, 4.500IN, 15.50#, HYPER 13CR110, BTS‐6, S/C BOX (SQUARE SHOULDER)                           VK 917 1 ST2
Deepwater Warehouse    Fieldwood         47416.B                      PUP JOINT RACK‐TIER 5   X 4.500IN, 15.10#, VAM TOP BOX, UPPER, BCSD X 14 FT                                  127684           COMPLETE         EA                                 1                       6962.25        6962.25
Deepwater Warehouse    Fieldwood         47417.A                         C‐VAN C2‐3409        FLYING LEAD, ELECTRICAL, 12‐WAY, 350 FT, ODI, PN: 1065206                            128021         MC 519 DESIGN      EA                                 0                         15366              0
                                                                                              CAP;TYP:CORROSION, DIVERLESS,STAB,MALE,HYDRAULIC ASSY USE W/MANIFOLD
Deepwater Warehouse    Fieldwood         50068.A                         MR‐GENERAL           VGI,MFR:GE OIL & GAS,PN:H50458‐3                                                                                       EA                                 2                       9524.01       19048.02
                                                                     DWW‐YARD C‐VAN DNVU‐     CAP;TYP:PRESSURE,CONN TYP:FEMALE,SPCL FEATRS:WITH BALL VALVE 3/8 INCH;                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50241.A                           2051995            HI FLOW HOT STAB,MFR:UNITECH,PN:29219                                                142679         DEVELOPMENT        EA                                 2                        85750          171500
                                                                                              CAP;TYP:PRESSURE,CONN TYP:FEMALE,SPCL FEATRS:WITH BALL VALVE 3/8 INCH;                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50241.B                          MW‐R17‐1            HI FLOW HOT STAB,MFR:UNITECH,PN:29219                                                142679         DEVELOPMENT        EA                                 1                       64312.5        64312.5
                                                                     DWW‐YARD C‐VAN DNVU‐     CAP; TYPE: PROTECTIVE CONNECTOR, CONNECTION TYPE: FEMALE; MFR:                                     MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50243.A                           2051995            UNITECH, PN: 26687                                                                   142679         DEVELOPMENT        EA                                 2                         3000            6000
                                                                     DWW‐YARD C‐VAN DNVU‐                                                                                                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50245.A                           2051995            KIT, SEAL;TYP:UH‐550,MFR:UNITECH,PN:26414                                            142679         DEVELOPMENT        EA                                10                         1500           15000
                                                                     DWW‐YARD C‐VAN DNVU‐                                                                                                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50246.A                           2051995            COVER;MFR:UNITECH,PN:9274,TYP MARINE GROWTH,SZ 6 IN                                  142679         DEVELOPMENT        EA                                 2                         1700            3400
                                                                                              ASSEMBLY;TYP:TERMINATION HEAD,SPCL FEATRS:2 LINE, M1 REMOVABLE PLATE,
                                                                                              M1 90 DEG TERMINATION STRUCTURE,MFR:OIE,PN:432505‐ITEM                                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50358.B                           BW‐AREA 2          31,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                           143096        DEVELOPMENT LL      EA                                 1                     37653.75        37653.75
                                                                                              ASSEMBLY;TYP:TERMINATION HEAD,SPCL FEATRS:M1 REMOVABLE PLATE, M1 90
                                                                                              DEG TERMINATION STRUCTURE,MFR:OIE,PN:432505‐ITEM                                                   MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50359.A                           BW‐AREA 2          32,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                           143096        DEVELOPMENT LL      EA                                 3                        68651          205953
                                                                                              JUNCTION PLATE, SUBSEA;:FIXED,LN QTY:10 LINE,:14 WAY,:15 KPSI,SPCL
                                                                                              FEATS:M1 FIXED,MFR:OIE,PN:428783‐ITEM                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         50360.A                           MW‐R16‐1           26,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                           141585          LONG LEADS        EA                                 0                        26392                  0

                                                                                              JUNCTION PLATE, SUBSEA;:FIXED,LN QTY:10 LINE,:14 WAY,:15 KPSI,SPCL
                                                                                              FEATS:M1 FIXED 10 X 1/2 HUNTING RS MALE NVP COUPLER,MFR:OIE,PN:428783‐                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         50360.B                           MW‐R15‐1           ITEM 26,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                      141585          LONG LEADS        EA                                 0                        19794                  0

                                                                                              JUNCTION PLATE, SUBSEA;:COMPENSATED, LTCP,:15 KPSI,SPCL FEATS:M1
                                                                                              REMOVABLE 14 X 0.5 HUNTING RS FEMALE PRVC COUPLER,MFR:OIE,PN:428796‐                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         50365.B                           MW‐R15‐2           ITEM 28.1,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                    140528          LONG LEAD         EA                                 1                     27297.75        27297.75

                                                                                              JUNCTION PLATE, SUBSEA;:COMPENSATED, LTCP,:15 KPSI,SPCL FEATS:M1
                                                                                              REMOVABLE 14 X 0.5 HUNTING RS FEMALE PRVC COUPLER,MFR:OIE,PN:428796‐                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         50365.B                           MW‐R15‐FL          ITEM 28.1,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                    140528          LONG LEAD         EA                                 1                     27297.75        27297.75

                                                                                              JUNCTION PLATE, SUBSEA;:COMPENSATED, LTCP,:15 KPSI,SPCL FEATS:M1
                                                                                              REMOVABLE 14 X 0.5 HUNTING RS FEMALE PRVC COUPLER,MFR:OIE,PN:428796‐                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50365.B                           MW‐R15‐FL          ITEM 28.1,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                    143096        DEVELOPMENT LL      EA                                 1                       27505.5        27505.5

                                                                                              JUNCTION PLATE, SUBSEA;:COMPENSATED, LTCP,:15 KPSI,SPCL FEATS:M1
                                                                                              REMOVABLE 14 X 0.5 HUNTING RS FEMALE PRVC COUPLER,MFR:OIE,PN:428796‐                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         50365.B                           MW‐R17‐3           ITEM 28.1,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                    140528          LONG LEAD         EA                                 2                        37500           75000
                                                                                              JUNCTION PLATE, SUBSEA;:FIXED,LN QTY:14,SPCL FEATS:STPC, 14 X 1/2 HUNTING
                                                                     DWW‐YARD C‐VAN DNVU‐     RS MALE DUMY COUPLER,MFR:OIE,PN:0291912‐ITEM                                                       MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50366.B                           2051995            26,MFR:OIE,MN:M1,MFR:OIE,QUOTE:2013‐46936A                                           143096        DEVELOPMENT LL      EA                                 0                       15682.5                 0




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      Facility        Facility Owner   Item Number     Serial No.         Location         Item Description                                                           Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value

                                                                                           FRAME;TYP:CARTRIDGE DEPLOYMENT,MATL:CS,SPCL FEATRS:TOPSIDE PRIME                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         50371.A                         DWW‐YARD          COATED,APPLI:SFL,MFR:OIE,PN:0428784‐ITEM 37,MFR:OIE,QUOTE:2013‐46936A         140528          LONG LEAD         EA                                 0                        45427                  0

                                                                                           FRAME;TYP:CARTRIDGE DEPLOYMENT,MATL:CS,SPCL FEATRS:TOPSIDE PRIME                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50371.A                         DWW‐YARD          COATED,APPLI:SFL,MFR:OIE,PN:0428784‐ITEM 37,MFR:OIE,QUOTE:2013‐46936A         143096        DEVELOPMENT LL      EA                                 5                        62896          314480
                                                                                           PLATE;TYP:TEST AND FLUSHING, FIXED, 14 WAY,SPCL FEATRS:M1 FIXED T/F                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         50388.B                    DWW‐YARD/MW‐R15‐1      W/STAND,MFR:OIE,PN:429315‐ITEM 34                                             143096        DEVELOPMENT LL      EA                                 2                       29632.5          59265
                                                                                           VALVE, CONTROL;VLV SZ:1IN,CL:150,TRIM:3/8 IN, S17400 DH1150,ACTTR
                                                                                           STYL:FAIL CLOSED, SIZE 69,SPCL FEATRS:OPERATING SIGNAL 0‐35
                                                                                           PSIG,STYL:GLOBE,MFR:DYNAFLO,PN:DF269‐1CG6‐6AF‐
Deepwater Warehouse    Fieldwood         50392.A                          OS‐R3‐FL         38S,MFR:DYNAFLO,SERIES/VERSION:DF269                                                            NEPTUNE         EA                                 2                     1589.455         3178.91
                                                                                           VALVE, CONTROL;VLV SZ:2IN,CL:300,TRIM:3/8 IN, S17400 DH1150,ACTTR
                                                                                           STYL:FAIL CLOSED, SIZE 69,SPCL FEATRS:OPERATING SIGNAL 0‐35
                                                                                           PSIG,STYL:GLOBE,MFR:DYNAFLO,PN:DF269‐2GC6‐6BF‐
Deepwater Warehouse    Fieldwood         50393.A                          OS‐R3‐FL         38S,MFR:DYNAFLO,SERIES/VERSION:DF269                                                            NEPTUNE         EA                                 1                       1870.53        1870.53

                                                                                           GUIDE, MULE SHOE;TYP:HYDRAULIC TUBE,APPLI:FOR PERMA‐SERIES                                  MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50516.A                         DWW‐YARD          PACKER,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 48                     143751         COMPLETION/L       EA                                 1                        4243.7         4243.7

                                                                                           GUIDE, MULE SHOE;TYP:HYDRAULIC TUBE,APPLI:FOR PERMA‐SERIES                                  MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50516.A                         DWW‐YARD          PACKER,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 48                     143752         COMPLETION/L       EA                                 1                        4243.7         4243.7
                                                                                           COLUMN;TYP:COL IN LINE,DIM:5.5 IN‐23.00 VAM TOP,MATL:S13CR110,SPCL
                                                                                           FEATRS:6 IN, B‐P, 6800 SNAP DOWN 25,500 SNAP UP,MFR:HALLIBURTON,PN:GUN‐                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50517.A                         DWW‐YARD          PM‐NEI‐PRO‐RFP‐0014‐ITEM 39                                                   143751         COMPLETION/L       EA                                 1                        9336.9         9336.9

                                                                                           ASSEMBLY;TYP:FLUID CONTROL DEVICE,DIM:7‐5/8 IN, 42.8,MATL:S13CR110 AB‐
                                                                                           HDL,SPCL FEATRS:BOX X PIN, 14190 PSI BURST, 13930 PSI COLLAPSE,SPEC:TWIN                    MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50518.A                       VERTICAL RACK       FLOW EXTENSIO,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM29               143751         COMPLETION/L       EA                                 1                     31460.96        31460.96
                                                                                           GUIDE, MULE SHOE;TYP:SELF ALIGNING,CONN SZ:3 1/2‐10.2,CONN TYP:VAM TOP
                                                                                           BOX,MATL:SUPER 13CR/110KSI,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50519.A                         DWW‐YARD          0014‐ITEM 11                                                                  143751         COMPLETION/L       EA                                 1                     13012.97        13012.97
                                                                                           SLEEVE;TYP:CIRCULATION / PRODUCTION,MATL:13CR110,PRESS RTNG:10,000
                                                                                           PSI,SPEC:3‐1/2 IN, 9.3, BTS‐8 BOX X PIN,STD:RD SLIMLINE                                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50520.A                         DWW‐YARD          DURASLEEVE,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 33                 143751         COMPLETION/L       EA                                 1                     23691.76        23691.76
                                                                                           LOCATOR, DRILLING;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM
                                                                                           35,TYP NO‐GO,CONN SZ 3 1/2 IN,CONN TYP BTS‐8 X 3 1/2‐10.2 VAM TOP BOX X                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50521.A                         DWW‐YARD          PIN,MATL 13CR/110,WT 9.3                                                      143751         COMPLETION/L       EA                                 1                       8924.85        8924.85
                                                                                           SUB;TYP:SHEAR,CASNG WT:23,MATL GR:13CR110,CONN SZ:5‐1/2 IN,CONN
                                                                                           TYP:VAM TOP BOX X PIN,SPCL FEATRS:ATLAS O‐RINGS, 81,000 LB                                  MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50522.A                         DWW‐YARD          SHEAR,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 27                      143751         COMPLETION/L       EA                                 2                     26081.99        52163.98

                                                                                           COUPLING, OCTG;TYP:COLLET INDICATOR,NOM SZ:7 5/8IN,WT:42.8 AB‐HDL,CONN
                                                                                           STYL: BOX X PIN, 45 DEG ANGLE,PRESS RTNG:14190 PSI BURST, 13930 PSI                         MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50523.A                         DWW‐YARD          COLLAPSE,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 24                   143751         COMPLETION/L       EA                                 2                     11846.75         23693.5
                                                                                           GUIDE, MULE SHOE;TYP:SELF ALIGNING,CONN SZ:5 1/2 IN, 23,CONN TYP:VAM
                                                                                           TOP BOX,MATL:13CR/110,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐                           MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50524.A                         DWW‐YARD          ITEM 16                                                                       143752         COMPLETION/L       EA                                 1                     14451.48        14451.48
                                                                                           GUIDE, MULE SHOE;TYP:SELF ALIGNING,CONN SZ:5 1/2 IN, 23,CONN TYP:VAM
                                                                                           TOP BOX,MATL:13CR/110,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50524.A                         DWW‐YARD          ITEM 16                                                                       143751         COMPLETION/L       EA                                 1                     14451.48        14451.48

                                                                                           EXTENSION;TYP:SEAL,DIM:5.5 IN, 23, VAM TOP BOX X                                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50526.A                         DWW‐YARD          PIN,MATL:S13CR110,MFR:HALLIBURTON,PN:GUN‐PM‐NE‐PRO‐RFP‐0014‐ITEM 14           143751         COMPLETION/L       EA                                 4                       7858.72       31434.88

                                                                                           EXTENSION;TYP:SEAL,DIM:5.5 IN, 23, VAM TOP BOX X                                            MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50526.A                         DWW‐YARD          PIN,MATL:S13CR110,MFR:HALLIBURTON,PN:GUN‐PM‐NE‐PRO‐RFP‐0014‐ITEM 14           143752         COMPLETION/L       EA                                 6                       7858.72       47152.32

                                                                                           EXTENSION;TYP:SEAL,DIM:5.5 IN, 23, VAM TOP BOX X                                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50526.A                    PUP JOINT RACK‐FLOOR   PIN,MATL:S13CR110,MFR:HALLIBURTON,PN:GUN‐PM‐NE‐PRO‐RFP‐0014‐ITEM 14           143751         COMPLETION/L       EA                                 2                       7858.72       15717.44

                                                                                           EXTENSION;TYP:SEAL,DIM:5.5 IN, 23, VAM TOP BOX X                                            MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50526.A                    PUP JOINT RACK‐FLOOR   PIN,MATL:S13CR110,MFR:HALLIBURTON,PN:GUN‐PM‐NE‐PRO‐RFP‐0014‐ITEM 14           143752         COMPLETION/L       EA                                 2                       7858.72       15717.44
                                                                                           SUB;TYP:BOTTOM,PRESS RTNG:10,000 PSI BURST,9700 COLLAPSE,MATL
                                                                                           GR:S13CR110,CONN TYP:7‐15/16‐6 STUB ACME PIN X 7‐3/4‐8 AC                                   MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50527.A                       VERTICAL RACK       BOX,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 20                        143751         COMPLETION/L       EA                                 2                       5916.83       11833.66
                                                                                           EXTENSION;TYP:SEAL BORE,DIM:4 1/2‐8 UNS BOX X PIN,MATL:SUPER
                                                                                           C110,SPEC:12730 PSI BURST, 11280 PSI COLLAPSE,MFR:HALLIBURTON,PN:GUN‐                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50528.A                        MW‐AREA 5          PM‐NEI‐PRO‐RFP‐0014‐TEM 18                                                    143751         COMPLETION/L       EA                                 2                       10673.3        21346.6
                                                                                           GUIDE, MULE SHOE;CONN SZ:3 1/2‐10.2,CONN TYP:VAM TOP
                                                                                           BOX,MATL:13CR/110KSI,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50529.A                         DWW‐YARD          37                                                                            143751         COMPLETION/L       EA                                 1                       1734.33        1734.33
                                                                                           LOCATOR, DRILLING;TYP:PFZ,CONN SZ:4 1/2IN,CONN TYP:TSH 511 X 5 1/2 IN 23
                                                                                           VAM TOP,MATL:13CR/110,WT:15.1,PRESS RTNG:14340 COLLAPSE PSI,SPCL
                                                                                           FEATRS:6 7/8‐4 VERSA‐LTH LH 72.000 SHEAR,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐                     MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50530.A                         DWW‐YARD          PRO‐RFP‐0014‐ITEM 12                                                          143752         COMPLETION/L       EA                                 1                     17335.05        17335.05
                                                                                           EXTENSION;TYP:UPPER GRAVEL PACK,DIM:7 3/4‐8 AC PIN X
                                                                                           PIN,MATL:S13CR110,SPEC:20510 PSI BURST, 11220 PSI                                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50531.A                       VERTICAL RACK       COLLAPSE,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 21                   143751         COMPLETION/L       EA                                 2                     19753.21        39506.42
                                                                                           GUIDE, MULE SHOE;TYP:SELF ALIGNING,CONN SZ:5 1/2 IN, 20,CONN TYP:VAM
                                                                                           TOP SC80,MATL:13CR80 KSI,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50532.A                         DWW‐YARD          ITEM 45                                                                       143751         COMPLETION/L       EA                                 1                     12675.06        12675.06

                                                                                                                                                                                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50533.A                    PUP JOINT RACK‐FLOOR   SUB, LIFT;TYP:UPPER HALF, LSOJ,MFR:HALLIBURTON,PN:102138717                   143752         COMPLETION/L       EA                                 1                        13517           13517

                                                                                                                                                                                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50533.A                    PUP JOINT RACK‐FLOOR   SUB, LIFT;TYP:UPPER HALF, LSOJ,MFR:HALLIBURTON,PN:102138717                   143751         COMPLETION/L       EA                                 2                     13516.69        27033.38

                                                                                           LOCATOR, DRILLING;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM
                                                                                           38,TYP PNZ,CONN SZ 5 1/2 IN,CONN TYP SLHT X 5 1/2 IN 23# VAM TOP BXP,ID                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50534.A                         DWW‐YARD          3.88 HONE,MATL 13CR/110,WT 23,SPCL FEATRS 14.370 BURST, 14.260 COLLAPSE       143751         COMPLETION/L       EA                                 1                     10329.53        10329.53




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      Facility        Facility Owner   Item Number     Serial No.         Location          Item Description                                                              Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value    WI% Net Value
                                                                                            EXTENSION;TYP:MIDDLE GRAVEL PACK,DIM:7 5/8 IN, 42.8,MATL:S13CR110 AB‐
                                                                                            HDL, BOX X PIN,SPEC:14190 PSI BURST, 13930 PSI                                                 MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50536.A                         DWW‐YARD           COLLAPSE,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 23                      143751         COMPLETION/L       EA                                 2                     31460.96        62921.92
                                                                                            EXTENSION;TYP:LOWER GRAVEL PACK,DIM:7‐5/8 IN, 42.8,BOX X
                                                                                            PIN,MATL:S13CR110 AB‐HDL,SPEC:14190 PSI BURST 13930 PSI                                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50537.A                         MW‐AREA 5          COLLAPSE,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 25                      143751         COMPLETION/L       EA                                 1                     22497.65        22497.65
                                                                                            EXTENSION;TYP:LOWER GRAVEL PACK,DIM:7‐5/8 IN, 42.8,BOX X
                                                                                            PIN,MATL:S13CR110 AB‐HDL,SPEC:14190 PSI BURST 13930 PSI                                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50537.A                         DWW‐YARD           COLLAPSE,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 25                      143751         COMPLETION/L       EA                                 1                     22497.65        22497.65

                                                                                            LOCATOR, DRILLING;TYP:TOP SNAP COLLET SEAL ASSEMBLY,CONN SZ:5 1/2
                                                                                            IN,CONN TYP:SLHT TOP BOX X 5 1/2,20 VAM TOP
                                                                                            PIN,MATL:13CR/80KSI,WT:23,SPCL FEATRS:COLLET VALUE 16000 LBS UP/6500 LBS                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50538.A                         DWW‐YARD           DOWN,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 41                          143751         COMPLETION/L       EA                                 1                     13817.41        13817.41
                                                                                            NIPPLE, LANDING;TYP:RECEIVER,TUBE OD:NA,TUBE ID:NA,CONN SZ:4 5/16 4 STUB
                                                                                            ACME‐LH BOX X 4 1/2 15.1 VAM INSIDE PIN,CONN
                                                                                            TYP:NA,ID:NA,OD:NA,MATL:13CR/110KSI,MATL SPEC:NA,MATL GR:NA,PRESS                              MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50540.A                         MW‐AREA 5          RTNG:NA                                                                          143751         COMPLETION/L       EA                                 1                     13403.42        13403.42

                                                                                            ASSEMBLY;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 36,TYP ATP
                                                                                            SEAL UNIT,DIM 3 1/2 IN,10.2, VAM TOP BOX X PIN,MATL 13CR110,SPCL FEATRS                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50541.A                         DWW‐YARD           1.67 FT MAKE UP LENGTH PER SEAL UNIT (5 EA.),SPEC 15000 PSI (SEALS)              143751         COMPLETION/L       EA                                 5                         8496           42480
                                                                                            ASSEMBLY;TYP:ATR SEAL UNIT,SZ:5 1/2IN,DIM:23, VAM TOP BOX X
                                                                                            PIN,MATL:13CR110,SPCL FEATRS:14,370 BURST,14260 CLPS AT450 DEG
                                                                                            F,SPEC:MANDREL,STD:1.67 FT LENGTH PER SEAL UNIT 3.88 HONED                                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50542.A                         DWW‐YARD           ID,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 13                            143751         COMPLETION/L       EA                                 3                       9858.51       29575.53
                                                                                            ASSEMBLY;TYP:ATR SEAL UNIT,SZ:5 1/2IN,DIM:23, VAM TOP BOX X
                                                                                            PIN,MATL:13CR110,SPCL FEATRS:14,370 BURST,14260 COLLAPSE AT 450 DEG F
                                                                                            TEMP RATING,STD:1.67 FT LENGTH PER SEAL UNIT,MFR:HALLIBURTON,PN:GUN‐                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50543.A                         DWW‐YARD           PM‐NEI‐PRO‐RFP‐0014‐ITEM 15                                                      143751         COMPLETION/L       EA                                 4                       9858.51       39434.04
                                                                                            ASSEMBLY;TYP:ATR SEAL UNIT,SZ:5 1/2IN,DIM:23, VAM TOP BOX X
                                                                                            PIN,MATL:13CR110,SPCL FEATRS:14,370 BURST,14260 COLLAPSE AT 450 DEG F
                                                                                            TEMP RATING,STD:1.67 FT LENGTH PER SEAL UNIT,MFR:HALLIBURTON,PN:GUN‐                           MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50543.A                         DWW‐YARD           PM‐NEI‐PRO‐RFP‐0014‐ITEM 15                                                      143752         COMPLETION/L       EA                                11                       9858.51      108443.61

                                                                                                                                                                                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50544.A                    PUP JOINT RACK‐TIER 3   SUB, LIFT;TYP:LOWER HALF, LSOJ,MFR:HALLIBURTON,PN:101901103                      143751         COMPLETION/L       EA                                 2                       6869.87       13739.74

                                                                                                                                                                                           MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50544.A                    PUP JOINT RACK‐TIER 3   SUB, LIFT;TYP:LOWER HALF, LSOJ,MFR:HALLIBURTON,PN:101901103                      143752         COMPLETION/L       EA                                 1                         6870            6870
                                                                                            VALVE;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 26,CONN 1 SZ 7‐
                                                                                            5/8 IN,CONN 1 TYP VAM TOP BOX X PIN,DSGN RTNG FLUID LOSS,MATL INCOLOY
                                                                                            925,WT 42.8,PRESS RTNG 12,000 PSI(FRAC COLLAPSE),SPCL FEATRS 18+/‐3 CYCLES                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50545.A                         MW‐AREA 5          TO OPEN,MFR:HALLIBURTON,                                                         143751         COMPLETION/L       EA                                 1                    392913.94       392913.94
                                                                                            ASSEMBLY;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRITEM 10,TYP ATP SEAL UNT,SZ
                                                                                            3.5‐10.2 IN,MATL 13CR110,COMPRISING VAM TOP BOX X PIN, 1.67 FT. MAKE UP
                                                                                            LENGTH PER SEAL UNIT (6 EA.),SPCL FEATRS 15000 PSI,APPLI FS ASSEMBLY,SPEC                      MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50547.A                         DWW‐YARD           MANDREL                                                                          143751         COMPLETION/L       EA                                 6                       2301.18       13807.08
                                                                                            VALVE;CONN 1 TYP:7‐5/8 IN,42.8,AB HDL BOX X 5‐1/2 IN,23,VAM TOP PIN,DSGN
                                                                                            RTNG:FLUID LOSS,MATL GR:13CR110,WT:23,SFTGDS:FLUROEL O‐RINGS,PRESS
                                                                                            RTNG:13,900 PSI,SPCL FEATRS:SEAL BORE 3.88 IN,MFR:HALLIBURTON,PN:GUN‐PM‐                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50549.A                    PUP JOINT RACK‐TIER 4   NEI‐PRO‐RFP‐0014‐ITEM 50                                                         143752         COMPLETION/L       EA                                 2                        46740           93480
                                                                                            PACKER, DRILL;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 46,TYP
                                                                                            PERMA‐SERIES,STYL NA,ID NA,OD NA,CONN 1 SZ 9 5/8,PRESS RTNG 7,380 PSI
                                                                                            WITH SEAL UNIT,WT 40‐53.5,MATL 13CR/80 KSI,SPCL FEATRS TOP SNAP HEAD X 7                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50550.A                         MW‐AREA‐6          IN‐8                                                                             143752         COMPLETION/L       EA                                 2                     33816.52        67633.04

                                                                                            ASSEMBLY;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 42,TYP
                                                                                            AFLAS SEAL UNIT,SZ 5.5 IN,MATL 13CR80,COMPRISING 20 VAM TOP BOX X PIN, SC                      MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50551.A                         DWW‐YARD           80,SPCL FEATRS 9,080 PSI BRST,8,640 PSI CLPS,SPEC 80 KSI MANDREL                 143751         COMPLETION/L       EA                                 2                       6153.71       12307.42

                                                                                            SLEEVE;TYP:CLOSING,MATL:S13CR110,PRESS RTNG:13930 PSI,SEAL
                                                                                            MATL:FLOUREL O‐RINGS,SPCL FEATRS:MCS,SPEC:7‐5/8‐8 AC BOX X 7‐5/8                               MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50552.A                       VERTICAL RACK        IN,42.8,AB‐HDL PIN,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 22            143751         COMPLETION/L       EA                                 2                       42425.3        84850.6
                                                                                            GUIDE, MULE SHOE;TYP:EXTENDED GUIDE,NOM SZ:7 IN‐8 UNS
                                                                                            PININ,MATL:13CR80,APPLI:FOR HALLIBURTON TOP SNAP SUMP PACKER                                   MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50553.A                         MW‐AREA‐6          ASSEMBLY,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 47                      143752         COMPLETION/L       EA                                 2                       6350.57       12701.14
                                                                                            SUB;TYP:MAKEUP,PRESS RTNG:14,190 BURST,13,930 PSI COLLAPSE,MATL
                                                                                            GR:13CR110,SPCL FEATRS:MUS, 7 5/8‐42.8 AB‐HD, X 5‐1/2 IN, 23, VAM TOP BOX X                    MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50554.A                         DWW‐YARD           PIN,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 28                           143751         COMPLETION/L       EA                                 2                        37949           75898
                                                                                            ASSEMBLY;TYP:TWIN FLOW,SZ:7‐5/8 IN, 42.8, AB‐HDL PIN X PIN,DIM:4 1/2 IN, 8‐
                                                                                            UNS BOX X 3 1/2 IN 9.3,BTS‐8 PIN,MATL GR:S13CR110,SPCL FEATRS:AFLAS
                                                                                            ELASTO,2.750 IN X LN,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50558.A                         MW‐AREA 5          30                                                                               143751         COMPLETION/L       EA                                 1                     93543.77        93543.77

                                                                                            ASSEMBLY;TYP:SHIFTER, FS2,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐                          MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50560.A                    PUP JOINT RACK‐TIER 1   ITEM 49,MFR:HALLIBURTON,SERIES/VERSION:F2S                                       143752         COMPLETION/L       EA                                 1                     12297.67        12297.67

                                                                                            ASSEMBLY;TYP:SHIFTER, FS2,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐                          MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50560.A                    PUP JOINT RACK‐TIER 1   ITEM 49,MFR:HALLIBURTON,SERIES/VERSION:F2S                                       143751         COMPLETION/L       EA                                 2                     12297.67        24595.34

                                                                                            ASSEMBLY;TYP:SHIFTER, ISS,MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐                          MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50561.A                    PUP JOINT RACK‐FLOOR    ITEM 51,MFR:HALLIBURTON,SERIES/VERSION:ISS                                       143752         COMPLETION/L       EA                                 2                        14939           29878
                                                                                            ASSEMBLY;MFR:DELTA SCREENS,PN:SCREEN 3129,TYP 175 MICRON PREMIUM
                                                                                            SCREENS,SZ 5 1/2 IN OD,DIM RANGE 3,SLHT,MATL ALLOY 20,MATL GR 23
                                                                                            LB/FT,HP2 13CR‐110,SPCL FEATRS W/CENTRALIZERS INSTALLED F 9.875 IN                             MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50626.A                         DWW‐YARD           OD,65.10 LB/FT,CENTRALIZER OD 8.250                                              143752         COMPLETION/L       EA                                 3                        21430           64290
                                                                                            ASSEMBLY;MFR:DELTA SCREENS,PN:SCREEN 3129,TYP 175 MICRON PREMIUM
                                                                                            SCREENS,SZ 5 1/2 IN OD,DIM RANGE 3,SLHT,MATL ALLOY 20,MATL GR 23
                                                                                            LB/FT,HP2 13CR‐110,SPCL FEATRS W/CENTRALIZERS INSTALLED F 9.875 IN                             MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50626.A                         DWW‐YARD           OD,65.10 LB/FT,CENTRALIZER OD 8.250                                              143751         COMPLETION/L       EA                                 3                        21430           64290
                                                                                            ASSEMBLY;MFR:DELTA SCREENS,PN:SCREEN 3130,TYP 175 MICRON PREMIUM
                                                                                            SCREENS,SZ 5 1/2 IN,DIM 19.50 FT JT,CL 23,MATL ALLOY 20,MATL GR HP2 13CR‐                      MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50627.A                         DWW‐YARD           110,SPCL FEATRS W/CENTRALIZERS INSTALLED                                         143752         COMPLETION/L       EA                                 1                        11215           11215




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      Facility        Facility Owner   Item Number     Serial No.            Location           Item Description                                                            Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                ASSEMBLY;MFR:DELTA SCREENS,PN:SCREEN 3130,TYP 175 MICRON PREMIUM
                                                                                                SCREENS,SZ 5 1/2 IN,DIM 19.50 FT JT,CL 23,MATL ALLOY 20,MATL GR HP2 13CR‐                    MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50627.A                            DWW‐YARD            110,SPCL FEATRS W/CENTRALIZERS INSTALLED                                       143751         COMPLETION/L       EA                                 1                        11215              11215

                                                                                                ASSEMBLY;MFR:DELTA SCREENS,PN:SCREEN 3131,TYP 175 MICRON PREMIUM
                                                                                                SCREENS,SZ 5 1/2 IN,DIM 10.25 FT JT,CL 23,MATL ALLOY 20,SPCL FEATRS                          MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50628.A                            DWW‐YARD            W/CENTRALIZERS INSTALLED,BRAND:DELTA SCREENS,BRAND:DELTA ELITE                 143752         COMPLETION/L       EA                                 1                         5720               5720

                                                                                                ASSEMBLY;MFR:DELTA SCREENS,PN:SCREEN 3131,TYP 175 MICRON PREMIUM
                                                                                                SCREENS,SZ 5 1/2 IN,DIM 10.25 FT JT,CL 23,MATL ALLOY 20,SPCL FEATRS                          MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50628.A                            DWW‐YARD            W/CENTRALIZERS INSTALLED,BRAND:DELTA SCREENS,BRAND:DELTA ELITE                 143751         COMPLETION/L       EA                                 1                         5720               5720
                                                                                                ASSEMBLY;MFR:DELTA SCREENS,PN:BLANK 3132,TYP CASING,SZ 5 1/2 IN,DIM 39
                                                                                                FT JT,CL 23,MATL GR HP2 13CR‐110,SPCL FEATRS W/SS WELD‐ON CENTRALIZERS                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50631.A                            DWW‐YARD            F/8.25 OD,MFR:DELTA SCREENS,QUOTE:DS1301148                                    143751         COMPLETION/L       EA                                 5                         9262              46310
                                                                                                PUP JOINT, CASING;NOM SZ:5 1/2IN,WT:23.00,MATL GR:HP2 13CR‐110,TOP CONN
                                                                                                TYP:SLHT BOX X PIN,LG:4ft,MFR:DELTA SCREENS,PN:PUP JOINT 3136,MFR:DELTA                      MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50632.A                            DWW‐YARD            SCREENS,QUOTE:DS1301148                                                        143751         COMPLETION/L       EA                                 2                         2470               4940
                                                                                                PUP JOINT, CASING;NOM SZ:5 1/2IN,WT:23.00,MATL GR:HP2 13CR‐110,TOP CONN
                                                                                                TYP:SLHT BOX X PIN,LG:6ft,MFR:DELTA SCREENS,PN:PUP JOINT 3135,MFR:DELTA                      MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50633.A                            DWW‐YARD            SCREENS,QUOTE:DS1301148                                                        143751         COMPLETION/L       EA                                 2                         2830               5660
                                                                                                PUP JOINT, CASING;NOM SZ:5 1/2IN,WT:23.00,MATL GR:HP2 13CR‐110,TOP CONN
                                                                                                TYP:SLHT BOX X PIN,LG:8ft,MFR:DELTA SCREENS,PN:PUP JOINT 3134,MFR:DELTA                      MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50634.A                            DWW‐YARD            SCREENS,QUOTE:DS1301148                                                        143751         COMPLETION/L       EA                                 2                         3225               6450
                                                                                                PUP JOINT, CASING;MFR:DELTA SCREENS,PN:PUP JOINT 3133,NOM SZ 5 1/2
                                                                                                IN,WT 23.00,MATL GR HP2 13CR‐110,TOP CONN TYP SLHT BOX X PIN,LG 10                           MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50635.A                            DWW‐YARD            FT,MFR:DELTA SCREENS,QUOTE:DS1301148                                           143752         COMPLETION/L       EA                                 1                         3620               3620
                                                                                                PUP JOINT, CASING;MFR:DELTA SCREENS,PN:PUP JOINT 3133,NOM SZ 5 1/2
                                                                                                IN,WT 23.00,MATL GR HP2 13CR‐110,TOP CONN TYP SLHT BOX X PIN,LG 10                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50635.A                            DWW‐YARD            FT,MFR:DELTA SCREENS,QUOTE:DS1301148                                           143751         COMPLETION/L       EA                                 2                         3620               7240
                                                                                                CROSSOVER;MATL GR:NA,TYP:CASING,BOT CONN TYP:VAM FJL PIN S,BOT CONN
                                                                                                SZ:6‐5/8 IN, 32,TOP CONN TYP:VAM TOP BOX,TOP CONN SZ:4‐1/2 IN,                               MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50934.A                            DWW‐YARD            17,MATL:13CR110                                                                143751         COMPLETION/L       EA                                 1                       9044.75           9044.75

                                                                                                CROSSOVER;MATL GR:110,TYP:NA,BOT CONN TYP:VAM TOP PIN,BOT CONN SZ:3‐                         MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50935.A                            DWW‐YARD            1/2IN,TOP CONN TYP:HYDRYL 511 BOX,TOP CONN SZ:3‐1/2IN,MATL:13CR                143751         COMPLETION/L       EA                                 1                        5485.5            5485.5
                                                                                                JOINT;TYP:CASING,DIM:6‐5/8IN,WT:32kg,LG:40ft,MATL:SUPER 13CR,MATL
                                                                                                GR:110,CONN 1 SZ:6‐5/8IN,CONN 1 TYP:BOX VAM FJL,CONN 2 SZ:6‐5/8IN,CONN 2                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50936.A                            DWW‐YARD            TYP:PIN VAM FJL,SPCL FEATRS:N/A                                                143751         COMPLETION/L       EA                                 2                        24748              49496

                                                                                                TUBING, OCTG;NOM SZ:4‐1/2IN,OD:NA,WT:15.1,MATL GR:13CR110,PROCESS:TSH                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50937.A                            DWW‐YARD            511,CONN TYP:BOX X PIN,LG:40ft,SPCL FEATRS:NA                                  143751         COMPLETION/L       EA                                 2                       16474.9           32949.8

                                                                                                PUP JOINT, CASING;NOM SZ:4‐1/52IN,WT:15.1,MATL:13CR,MATL                                     MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         50939.A                            DWW‐YARD            GR:110,PROCESS:TSH511,TOP CONN TYP:BOX,BOT CONN TYP:PIN,LG:8ft                 143752         COMPLETION/L       EA                                 1                       7834.38           7834.38

                                                                                                PUP JOINT, CASING;NOM SZ:4‐1/52IN,WT:15.1,MATL:13CR,MATL                                     MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50939.A                            DWW‐YARD            GR:110,PROCESS:TSH511,TOP CONN TYP:BOX,BOT CONN TYP:PIN,LG:8ft                 143751         COMPLETION/L       EA                                 1                       7834.38           7834.38

                                                                                                TUBING, OCTG;NOM SZ:3‐1/2IN,OD:NA,WT:9.3,MATL GR:13CR110,PROCESS:BTS‐                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50941.A                            DWW‐YARD            8,CONN TYP:BOX X PIN,LG:30ft,SPCL FEATRS:NA                                    143751         COMPLETION/L       EA                                 6                        2012.5             12075

                                                                                                PUP JOINT, CASING;NOM SZ:3‐1/2IN,WT:9.3,MATL:13CR,MATL                                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50942.A                       PUP JOINT RACK‐FLOOR     GR:110,PROCESS:BTS‐8,TOP CONN TYP:BOX,BOT CONN TYP:PIN,LG:12IN                 143751         COMPLETION/L       EA                                 2                       1986.05            3972.1

                                                                                                PUP JOINT, CASING;NOM SZ:3‐1/2IN,WT:9.3,MATL:13CR,MATL                                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50943.A                            MW‐AREA 5           GR:110,PROCESS:BTS‐8,TOP CONN TYP:BOX,BOT CONN TYP:PIN,LG:2ft                  143751         COMPLETION/L       EA                                 1                        2725.5            2725.5

                                                                                                JOINT, BLAST;NOM SZ:3‐1/2IN,CONN TYP:BOX X                                                   MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50944.A                            MW‐AREA 6           PIN,LG:4ft,MATL:13CR110,PROCESS:BTS‐8,WT:9.3                                   143751         COMPLETION/L       EA                                 2                        4151.5              8303

                                                                                                JOINT, BLAST;NOM SZ:3‐1/2IN,CONN TYP:BOX X                                                   MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50945.A                            MW‐AREA 6           PIN,LG:6ft,MATL:13CR110,PROCESS:BTS‐8,WT:9.3                                   143751         COMPLETION/L       EA                                 2                        5715.5             11431

                                                                                                JOINT, BLAST;NOM SZ:3‐1/2IN,CONN TYP:BOX X                                                   MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50946.A                            MW‐AREA 6           PIN,LG:8ft,MATL:13CR110,PROCESS:BTS‐8,WT:9.3                                   143751         COMPLETION/L       EA                                 2                        7233.5             14467

                                                                                               JOINT, BLAST;NOM SZ:3‐1/2IN,CONN TYP:BOX X                                                    MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50947.A                    (1) MW‐AREA 6/(1) DWW‐YARD PIN,LG:10ft,MATL:13CR110,PROCESS:BTS‐8,WT:9.3                                   143751         COMPLETION/L       EA                                 2                        8038.5             16077

                                                                                                COUPLING, OCTG;TYP:NA,NOM SZ:5‐
                                                                                                1/2IN,WT:20,ID:NA,OD:NA,LG:NA,MATL:13CR,MATL GR:80,PROCESS:NA,TOP
                                                                                                CONN TYP:VAM TOP BOX, SC 80,TOP CONN SZ:5‐1/2IN,BOT CONN TYP:VAM TOP                         MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50948.A                            DWW‐YARD            PIN, SC 80,BOT CONN SZ:5‐1/2IN,SURF TRTMNT:NA,PRESS RTNG:NA                    143751         COMPLETION/L       EA                                 1                         4255               4255
                                                                                                PUP JOINT, CASING;NOM SZ:5‐1/2IN,WT:20,MATL:13CR,MATL
                                                                                                GR:80,PROCESS:NA,TOP CONN TYP:VAM TOP BOX, SC 80,BOT CONN TYP:VAM                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         50949.A                            DWW‐YARD            TOP PIN, SC 80,LG:NA                                                           143751         COMPLETION/L       EA                                 1                       7101.25           7101.25
                                                                                                PLATE;TYP:THRUST,APPLI:BEARING FOR 2408 SUPERIOR
Deepwater Warehouse    Fieldwood         50954.A                             OS‐R3‐S3           ENGINE,MFR:SINOR,PN:650‐906‐001                                                                  NEPTUNE         EA                                 5                                0                 0
                                                                                                PUP JOINT, CASING;NOM SZ:4.5IN,WT:15.1kg,MATL:CR 13,MATL
                                                                                                GR:110,PROCESS:NA,TOP CONN TYP:BOX TSH 511,BOT CONN TYP:PIN                                  MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         51057.A                       PUP JOINT RACK‐TIER 3    TSH511,LG:6ft                                                                  143751         COMPLETION/L       EA                                 1                        6067.4            6067.4
                                                                                                PUP JOINT, CASING;NOM SZ:4.5IN,WT:15.1kg,MATL:CR 13,MATL
                                                                                                GR:110,PROCESS:NA,TOP CONN TYP:BOX TSH 511,BOT CONN TYP:PIN                                  MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         51057.A                       PUP JOINT RACK‐TIER 4    TSH511,LG:6ft                                                                  143752         COMPLETION/L       EA                                 2                        6067.4           12134.8
                                                                                                PUP JOINT, CASING;NOM SZ:4.5IN,WT:15.1kg,MATL:CR 13,MATL
                                                                                                GR:110,PROCESS:NA,TOP CONN TYP:BOX TSH 511,BOT CONN TYP:PIN TSH                              MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         51058.A                       PUP JOINT RACK‐TIER 3    511,LG:4ft                                                                     143751         COMPLETION/L       EA                                 1                        6067.4            6067.4
                                                                                                PUP JOINT, CASING;NOM SZ:4.5IN,WT:15.1kg,MATL:CR 13,MATL
                                                                                                GR:110,PROCESS:NA,TOP CONN TYP:BOX TSH 511,BOT CONN TYP:PIN TSH                              MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         51058.A                       PUP JOINT RACK‐TIER 4    511,LG:4ft                                                                     143752         COMPLETION/L       EA                                 2                        6067.4           12134.8

                                                                                                NIPPLE;TYP:RPT,CONN SZ:3.313, 4.5IN,CONN TYP:VAM TOP,MATL:13CR110,MATL                       MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         51083.A                       PUP JOINT RACK‐FLOOR     GR:NA,PROCESS:N/A,WT:17                                                        143752         COMPLETION/L       EA                                 1                       5704.85           5704.85




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      Facility        Facility Owner   Item Number     Serial No.           Location          Item Description                                                             Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value

                                                                                              JOINT, BLAST;NOM SZ:3 1/2 ININ,CONN TYP:NA,LG:20ft,MATL:13CR/110 BTS‐                         MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         51084.A                          MW‐AREA 6           8,PROCESS:NA,WT:9.3                                                             143751         COMPLETION/L       EA                                 5                     17589.25           87946.25

                                                                                              KIT, SEAL;TYP:RESILIENT,APPLI:SSR PLUG 5‐1/4 IN 2748033‐                                      MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         51105.A                            MR‐4‐D            01,MFR:CAMERON,PN:2142583‐01                                                    142981          COMPLETION        EA                                 0                         3543                     0
                                                                                              KIT, SEAL;TYP:RESILIENT,APPLI:SSR PLUG 5‐1/4 IN 2748033‐                                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         51105.B                              N/A             01,MFR:CAMERON,PN:2142583‐01                                                 AFE FW580018          NOVESA         EA                                 0                                0                 0
                                                                                              CENTRALIZER, CASING;TYP:SUB,OD:9‐7/8IN,MATL:ALLOY API Q125,CONN TYP:TSH
                                                                                              523 BOX X TSH 523 PIN DOPELESS,BOW TYP:(8)BOW SPRING‐14‐7/8 OVER
                                                                                              BOW,SPEC:62.80,MFR:BLACKHAWK,PN:0102961‐QP0003
Deepwater Warehouse    Fieldwood         51442.A                    DWW YARD C‐VAN 401592‐1   A,MFR:BLACKHAWK,MN:R3600, BST‐25                                                                                  EA                                 0                     6023.888                     0
                                                                                              CENTRALIZER, CASING;TYP:SUB,OD:9‐7/8IN,MATL:ALLOY API Q125,CONN TYP:TSH
                                                                                              523 BOX X TSH 523 PIN DOPELESS,BOW TYP:(8)BOW SPRING‐14‐7/8 OVER
                                                                                              BOW,SPEC:62.80,MFR:BLACKHAWK,PN:0102961‐QP0003
Deepwater Warehouse    Fieldwood         51442.A                    DWW YARD C‐VAN 433422‐0   A,MFR:BLACKHAWK,MN:R3600, BST‐25                                                                                  EA                                 0                     6023.888                     0
                                                                                              CABLE, UMBILICAL, SUBSEA;MFR:TECHNIP,PN:TAM‐SW‐NEM‐SBF‐CON‐0001‐
                                                                                              BB,TYP FLEXIBLE FLYING LEAD,CONDCTR SZ 2 IN,LG 100 M,SPEC SERVICE BB, WITH                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         52233.A                          DWW‐YARD            BIN RESTRICTOR                                                                  139351          EXECUTE AFE       EA                                 1                       377629             377629

                                                                                                                                                                                            MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         52307.A                          OS‐GENERAL          SEAL;MFR:FMC TECHNOLOGIES,PN:P1000045117,TYP PRODUCTION                         143752         COMPLETION/L       EA                                 1                     11559.24           11559.24

                                                                                                                                                                                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         52307.A                          OS‐GENERAL          SEAL;MFR:FMC TECHNOLOGIES,PN:P1000045117,TYP PRODUCTION                         143751         COMPLETION/L       EA                                 1                     11559.24           11559.24

                                                                                              DISC, RUPTURE;MFR:FIKE,PN:A10116‐                                                             MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         52342.A                          DWW‐YARD            1,BRAND:FIKE,BRAND:FIKE,MFR:FIKE,QUOTE:121964                                   143752          COMPLETION/L      EA                                 1                         6869               6869
                                                                                              JOINT;MFR:OIL STATES,PN:PD16916,DIM 8 IN,SPCL FEATRS INCLUDES HOLD                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         53821.A                          DWW‐YARD            COLLAR ‐ PD 16762,MFR:OIL STATES,TYPE:SCR FLEX                                  141585           LONG LEADS       EA                                 1                      1739009            1739009
                                                                                              FRAME;MFR:OIL STATES,PN:SP1K‐23‐264,TYP SHIPPING,DIM 834 L X 78 W X 82.7
                                                                                              H,MATL ASTM A36 PLATE,ASTM A500 GR B RECTANGULAR TUBING,SPEC 32,190
                                                                                              LBS FRAME ONLY,MFR:OIL STATES,NOBLE SPEC:DNW 2.7‐3,MFR:OIL                                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         53822.A                          DWW‐YARD            STATES,NOBLE RFQ:SP1K‐23‐264                                                    141585          LONG LEADS        EA                                 1                       186723             186723

                                                                                                                                                                                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         53843.A                          DWW‐YARD            SCREEN;MFR:DELTA SCREENS,PN:BLANK 3213                                          143751         COMPLETION/L       EA                                 1                         4816               4816
                                                                                              SUB;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM 99,TYP
                                                                                              CROSSOVER,CASNG WT 15.1,DIM 3‐1/2 IN,MATL GR 13CR/110,CONN SZ 4‐1/2                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56040.A                          DWW‐YARD            IN,CONN TYP BXP,SPCL FEATRS TSH 511                                             143751         COMPLETION/L       EA                                 1                         8802               8802
                                                                                              COUPLING;TYP N/A,CONN 1 SZ 7‐5/8 IN,DIM 7‐5/8 IN,MATL 110K,MATL GR
                                                                                              S13CR,MATL SPEC 42.8,SPCL FEATRS PRESSURE RATING CALC: BURST 14190 PSI,                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56042.A                          MW‐AREA 5           COLLAPSE 13930 PSI,SPEC AB‐HDL                                                  143751         COMPLETION/L       EA                                 1                       6090.37           6090.37
                                                                                              COUPLING;TYP N/A,CONN 1 SZ 7‐5/8 IN,DIM 7‐5/8 IN,MATL 110K,MATL GR
                                                                                              S13CR,MATL SPEC 42.8,SPCL FEATRS PRESSURE RATING CALC: BURST 14190 PSI,                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56042.A                     PUP JOINT RACK‐FLOOR     COLLAPSE 13930 PSI,SPEC AB‐HDL                                                  143751         COMPLETION/L       EA                                 1                       6090.37           6090.37

                                                                                              COUPLING;TYP N/A,CONN 1 SZ N/A,CONN 1 TYP VAM TOP,DIM 3‐1/2 IN,MATL                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56043.A                          DWW‐YARD            13CR,MATL GR 110,SPEC 10.2                                                      143751         COMPLETION/L       EA                                 1                        3502.9            3502.9

                                                                                              PUP JOINT, TUBING;TYP N/A,NOM SZ 3‐1/2 IN,WT 10.2,MATL GR 13CR,PROCESS                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56045.A                          DWW‐YARD            110,CONN TYP VAM TOP,TOP CONN TYP BXP,BOT CONN TYP BXP,LG 3‐1/2 IN              143751         COMPLETION/L       EA                                 1                        4703.5            4703.5

                                                                                              COUPLING;TYP N/A,CONN 1 SZ N/A,CONN 1 TYP VAM TOP,CONN 2 TYP VAM                              MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56048.A                          DWW‐YARD            TOP,DIM 5‐1/2 IN,MATL 110,MATL GR 13CR,SPEC 23                                  143751         COMPLETION/L       EA                                 3                         4370              13110
                                                                                              PUP JOINT, CASING;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014‐ITEM
                                                                                              88,TYP N/A,NOM SZ 5‐1/2 IN,WT 23,MATL 110,MATL GR 13CR,TOP CONN TYP                           MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56050.A                          DWW‐YARD            VAM TOP,BOT CONN TYP BXP,LG 8 ft                                                143751         COMPLETION/L       EA                                 2                       7998.25           15996.5

                                                                                              CASING, OCTG;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014 ‐ 50,NOM SZ 6‐                        MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56368.A                          DWW‐YARD            5/8 IN,WT 32 lb,MATL GR SUPER 13 CR 110,CONN TYP VAM FJL BXP,LG 15 ft           143751         COMPLETION/L       EA                                 1                        11529              11529
                                                                                              SEAL, ASSEMBLY;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014 ‐ 51,TYP
                                                                                              LSOTJ ASSEMBLY,MATL S13CR110,NOM SZ 6‐5/8 IN,CONN TYP VAM FJL BOX X 4‐
                                                                                              1/2 IN 15.1 LB TSH 511 PIN,WT 32 lb,SPEC 60 FT OF CONTINUOUS SEALING                          MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56369.A                            MR‐1‐A            STROKE, ATR SEAL UNITS                                                          143751         COMPLETION/L       EA                                 1                     458032.4           458032.4
                                                                                              SEAL, ASSEMBLY;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014 ‐ 52,TYP
                                                                                              MOLDED AFLAS, STRADDLE,MATL S13CR/110,NOM SZ 6 IN,CONN TYP VAM TOP                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56370.A                            MR‐1‐A            SC 80 5‐1/2 IN,WT 20 lb                                                         143751         COMPLETION/L       EA                                 1                    145653.13          145653.13

                                                                                              PUP JOINT, TUBING;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014 ‐ 54,NOM                         MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56373.A                          DWW‐YARD            SZ 3‐1/2 IN,WT 10.2 lb,MATL GR SUPER CHROME 110 TSH‐511,LG 4 ft                 143751         COMPLETION/L       EA                                 1                        3921.5            3921.5
                                                                                              PUP JOINT, TUBING;MFR:HALLIBURTON,PN:GUN‐PM‐NEI‐PRO‐RFP‐0014 ‐ 57,NOM
                                                                                              SZ 3‐1/2 IN,WT 10.2 lb,MATL GR SUPER CHROME 110 TSH‐511,TOP CONN TYP                          MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56375.A                          DWW‐YARD            BXP,LG CUT TO LENGTH                                                            143751         COMPLETION/L       EA                                 1                        4473.5            4473.5

                                                                                              SEAL;MFR:FMC TECHNOLOGIES,PN:P2000025846,TYP S,SPCL FEATRS B TYPE                             MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56484.A                           OS‐R1‐S3           EXTERNAL,APPLI ISOLATION SLEEVE                                                 143751         COMPLETION/L       EA                                 4                        857.84           3431.36

                                                                                              TOOL;MFR:FMC TECHNOLOGIES,PN:P1000064452,TYP THRT HYDRAULIC STAB                              MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         56485.A                            MR‐5‐D            INSTALLATION                                                                    143751         COMPLETION/L       EA                                 1                       2373.89           2373.89

                                                                                              SLEEVE;MFR:FMC TECHNOLOGIES,PN:P1000133891,TYP S‐SEAL; ISOLATION                              MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         57031.A                           OS‐R1‐S3           (UPPER)                                                                         143751         COMPLETION/L       EA                                 1                         940.5              940.5
                                                                                              THERMOSTAT;MFR:EATON,PN:4709A93G03,TYP ENCLOSURE SPACE HEATER                                 MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57211.A                           OS‐R1‐S3           CONTROL                                                                         142679         DEVELOPMENT        EA                                 1                           580               580
                                                                                                                                                                                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57212.A                           OS‐R1‐S3           SHUNT;MFR:EATON,PN:SNT3P04K,TYP TRIP,VOLT 120 V,APPLI FDR                       142679         DEVELOPMENT        EA                                 1                           200               200
                                                                                                                                                                                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57214.A                           OS‐R1‐S3           BLOCK, TERMINAL;MFR:EATON,PN:34‐4038‐1,TYP LATCHING PULL‐APART, STD             142679         DEVELOPMENT        EA                                 2                           480               960
                                                                                                                                                                                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57215.A                           OS‐R1‐S3           HEATER, SPACE;MFR:EATON,PN:4709A92G52,WATT 150 W                                142679         DEVELOPMENT        EA                                 1                           469               469
                                                                                              KIT;MFR:EATON,PN:4719A91G10,TYP TOUCH UP PAINT,COMPRISING AEROSOL                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57216.A                          MR‐GENERAL          CANS,QTY 3,SPEC ANSI‐61                                                         142679         DEVELOPMENT        EA                                 1                           150               150




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      Facility        Facility Owner   Item Number     Serial No.           Location          Item Description                                                            Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value        WI% Net Value
                                                                                              KIT;MFR:EATON,PN:155W174SPAYCAN,TYP TOUCH UP PAINT,COMPRISING                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57217.A                          MR‐GENERAL          AEROSOL CANS GLOSS WHITE,QTY 3                                                 142679         DEVELOPMENT        EA                                 1                           150               150
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57218.A                            OS‐R1‐S3          RELAY, CONTROL;MFR:EATON,PN:D7PR2A                                             142679         DEVELOPMENT        EA                                 2                            20                    40
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57219.A                            OS‐R1‐S3          RELAY, CONTROL;MFR:EATON,PN:D7PAA                                              142679         DEVELOPMENT        EA                                 2                            20                    40
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57220.A                            OS‐R1‐S3          FUSE;MFR:EATON,PN:FNQR‐1,SPEC BOX OF 10                                        142679         DEVELOPMENT        EA                                 3                            50               150
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57222.A                            OS‐R1‐S3          LENS, INDICATING LIGHT;MFR:EATON,PN:10250TC1N,CLR RED                          142679         DEVELOPMENT        EA                                 3                                9                 27
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57223.A                            OS‐R1‐S3          LENS, INDICATING LIGHT;MFR:EATON,PN:10250TC2N,CLR GREEN                        142679         DEVELOPMENT        EA                                 3                                9                 27
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57224.A                            OS‐R1‐S3          TRANSFORMER, POWER;MFR:EATON,PN:C0150E4GFB,VOLT 1500 VA                        142679         DEVELOPMENT        EA                                 2                           339               678
                                                                                              PROTECTOR, OVERLOAD;MFR:EATON,PN:HMCPE‐MOD‐G54,TYP HMCPE MOTOR                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57225.A                            OS‐R1‐S3          CIRCUIT,AMP 7 A                                                                142679         DEVELOPMENT        EA                                 1                         1990               1990
                                                                                              PROTECTOR, OVERLOAD;MFR:EATON,PN:HMCPE‐MOD‐G61,TYP HMCPE MOTOR                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57226.A                            OS‐R1‐S3          CIRCUIT,AMP 15 A                                                               142679         DEVELOPMENT        EA                                 1                         1990               1990
                                                                                              PROTECTOR, OVERLOAD;MFR:EATON,PN:HMCPE‐MOD‐G56,TYP HMCPE MOTOR                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57227.A                            OS‐R1‐S3          CIRCUIT,AMP 30 A                                                               142679         DEVELOPMENT        EA                                 1                         1990               1990
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57228.A                            OS‐R1‐S3          ALARM;MFR:EATON,PN:AUXLARMJPK,TYP BELL SW,APPLI FDR BKR                        142679         DEVELOPMENT        EA                                 1                           180               180
                                                                                              STARTER, ELECTRIC MOTOR;MFR:EATON,PN:N101DS2K3A,TYP SIZE 2 ITEM                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         57229.A                            OS‐R1‐S3          SERIES,COIL VOLT 120 VAC                                                       139351          EXECUTE AFE       EA                                 1                         1152               1152
                                                                                              STARTER, ELECTRIC MOTOR;MFR:EATON,PN:N101DS2K3A,TYP SIZE 2 ITEM                              MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57229.A                            OS‐R1‐S3          SERIES,COIL VOLT 120 VAC                                                       142679         DEVELOPMENT        EA                                 1                         1152               1152
                                                                                              STARTER, ELECTRIC MOTOR;MFR:EATON,PN:N101CS1A3A,TYP SIZE 1 ITEM                              MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57230.A                            OS‐R1‐S3          SERIES,COIL VOLT 120 VAC                                                       142679         DEVELOPMENT        EA                                 2                           621              1242
                                                                                                                                                                                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         57231.A                            OS‐R1‐S3          LIGHT, INDICATING;MFR:EATON,PN:10250T181N,TYP XFMR,VOLT 6‐120 VAC              139351          EXECUTE AFE       EA                                 3                                9                 27
                                                                                                                                                                                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         57231.A                            OS‐R1‐S3          LIGHT, INDICATING;MFR:EATON,PN:10250T181N,TYP XFMR,VOLT 6‐120 VAC              142679         DEVELOPMENT        EA                                 3                                9                 27
                                                                                                                                                                                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         57232.A                          OS‐GENERAL          DRIVE;MFR:EATON,PN:SVX040A1‐4A1N1,TYP VFD SPARE                                139351          EXECUTE AFE       EA                                 1                         9141               9141
                                                                                                                                                                                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         57307.A                    DWW‐YARD‐C‐VAN 402189 0   INSERT;MFR:FMC TECHNOLOGIES,PN:P1000136103,TYP TEST STUMP ADAPTER              139057         DEVELOPMENT        EA                                 1                        45376              45376
                                                                                              SKID;MFR:FMC TECHNOLOGIES,PN:42104‐035,TYP CHOKE INSERT SHIPPING,APPLI
                                                                                              GUNFLINT CITB‐138, CIXB‐292, CIXB‐300,SPEC W/HRV‐1131 CHOKE, ROT‐5167                        MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         57309.A                           DWW‐YARD           ACTUATOR                                                                       139057         DEVELOPMENT        EA                                 0                       228290                     0
                                                                                              PUP JOINT, TUBING;TYP NA,NOM SZ 5‐1/2 IN,WT 23 lb,MATL GR
                                                                                              13CR115Y,PROCESS FABRICATION,CONN TYP VAM TOP,TOP CONN TYP PIN,BOT                           MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         57684.A                           DWW‐YARD           CONN TYP PIN,LG 8 ft                                                           143752         COMPLETION/L       EA                                 1                        4841.2            4841.2

                                                                                              TOOL, DOWN HOLE;MFR:OCEANEERING,PN:BMC000471 ‐ 01,TYP MANUAL                                 MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         57730.A                    DWW‐YARD‐C‐VAN 433422 0   WELLHEAD CLEANING,MFR:OCEANEERING,QUOTE:BMC000471                              143751         COMPLETION/L       EA                                 0                         7950                     0
                                                                                              POWER SUPPLY;MFR:PHOENIX CONTACT,PN:2866776,MFR:PHOENIX
                                                                                              CONTACT,PN:QUINT‐PS/1AC/24DC/20,TYP BULK,O/P VOLT 24 VDC,O/P CURRENT                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         57924.A                            OS‐R1‐S3          20 A                                                                           139351          EXECUTE AFE       EA                                 1                           505               505
                                                                                              DISC, RUPTURE;TYP SPARE EXTERNAL,DIA 16 IN,OPRTG PRESS 1800 PSIG AT 150
Deepwater Warehouse    Fieldwood         57969.A                             MR‐1‐D           DEG C,MATL EPRD,BST PRESS 7000 PSI,SEAT ANGL 90 DEG                                                              EA                                 4                     1193.115            4772.46
                                                                                              DISC, RUPTURE;TYP SPARE,DIA 16 IN,OPRTG PRESS 7500 PSIG,MATL IPRD,BST
Deepwater Warehouse    Fieldwood         57970.A                             MR‐1‐D           PRESS 5250 OSIG AT 200 DEG F,SEAT ANGL 90 DEG                                                                    EA                                 2                       2094.13           4188.26
                                                                                              SUB;MFR:NOV,PN:504082/005,TYP TOP SUB CASING PATCH,CASNG SZ 13‐5/8
                                                                                              IN,OD 16‐3/4 IN,CASNG WT 88.2,PRESS RTNG 15000 PSI,MATL GR 4340,CONN SZ                      MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         58181.A                           MW R10‐1           HYD 523,CONN TYP BOX                                                           144040               D&E          EA                                 1                     21838.95           21838.95
                                                                                              SUB;MFR:LOGAN,PN:AT1009‐15‐000,TYP TOP SUB FOR CASING PATCH,CASNG SZ
                                                                                              14 IN,OD 17‐3/8 IN,CASNG WT 113,MATL GR 4140,CONN SZ HYD 523,CONN TYP                        MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         58182.A                           MW R11‐FL          BOX                                                                            144040               D&E          EA                                 2                        28727              57454

                                                                                              GASKET;MFR:B.O.P. PRODUCTS,PN:SUBX18A3,TYP A ‐ RING,NOM SZ 18‐3/4                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         58185.A                            MW R8‐3           IN,PRESS RTNG 10K‐15K PSI,MATL SS,STYL WP                                      143751         COMPLETION/L       EA                                 2                         3995               7990

                                                                                              SLEEVE;MFR:TRENDSETTER ENG.,PN:A1004424,TYP BRIDGING,DIM ID 9‐1/2 X LG                       MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         58419.A                           BW‐AREA 3          18‐3/4 IN,MATL F22 80 KSI,PRESS RTNG 15000 PSI                                 143751         COMPLETION/L       EA                                 1                       372600             372600

                                                                                              PROTECTOR;MFR:TRENDSETTER ENG.,PN:A1004325,TYP H4 DEBRIS CAB,DIM 27                          MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         58423.A                           MW‐R15‐FL          IN,MATL N/A                                                                    143751         COMPLETION/L       EA                                 1                         8800               8800

                                                                                              SLEEVE;MFR:TRENDSETTER ENG.,PN:A1004541,TYP BRIDGING,DIM N/A,MATL                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         58424.A                            MW R7‐3           N/A,SPCL FEATRS SURFACE INSTALL TOOL,APPLI SLEEVE HANDLING                     143751         COMPLETION/L       EA                                 1                        12700              12700
                                                                                              MANDREL, ASSEMBLY;MFR:PETRO TECHNOLOGIES,PN:160M221,TYP WYE
Deepwater Warehouse    Fieldwood         58621.A                             MR‐1‐D           BLOCK,DIM SQ 1/2 X THK 3/8 IN,STD REV A                                                                          EA                                 0                       3995.13                    0
                                                                                              PUP JOINT, CASING;NOM SZ 3‐1/2 IN,WT 9.2 lb,MATL 13CR110,MATL GR
Deepwater Warehouse    Fieldwood         59023.A                     PUP JOINT RACK‐FLOOR     N/A,PROCESS N/A,TOP CONN TYP VAM FJL,BOT CONN TYP VAM FJL,LG 2 ft                                                EA                                 1                         917.5              917.5

                                                                                              PUP JOINT, CASING;NOM SZ 3‐1/2 IN,WT 9.2 lb,MATL 13CR110,MATL GR
Deepwater Warehouse    Fieldwood         59027.A                      PUP JOINT RACK‐TIER 3   N/A,PROCESS N/A,TOP CONN TYP VAM FJL,BOT CONN TYP VAM FJL,LG 10 ft                                               EA                                 1                       2469.73           2469.73

                                                                                              PUP JOINT, CASING;NOM SZ 3.5 IN,WT 9.3 lb/ft,MATL N/A,MATL GR
Deepwater Warehouse    Fieldwood         59028.A                      PUP JOINT RACK‐TIER 2   13CR110,PROCESS N/A,TOP CONN TYP BTS‐8 S/C,BOT CONN TYP BTS‐8 S/C,LG 6 ft                                        EA                                 2                       1662.95            3325.9
                                                                                              COUPLING, FLOW;NOM SZ 3.5 IN,WT 9.3 lb/ft,MATL GR 13CR110,CONN TYP BTS‐8
Deepwater Warehouse    Fieldwood         59033.A                      PUP JOINT RACK‐TIER 2   S/C,CONN SZ 3.5 IN,LG 6 ft,MATL N/A,MATL SPEC HYPER 13CR110                                                      EA                                 1                       1848.94           1848.94

                                                                                              COUPLING, FLOW;NOM SZ 3.5 IN,WT 9.3 lb/ft,MATL GR 13CR95,CONN TYP BTS‐8                      MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         59035.A                      PUP JOINT RACK‐TIER 1   S/C,CONN SZ 3.5 IN,LG 6 ft,MATL N/A,MATL SPEC 13CR95                           142981          COMPLETION        EA                                 2                         2571               5142

                                                                                                                                                                                           MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         59036.A                           DWW‐YARD           TUBING;ID 3 IN,OD 3.5 IN,MATL 13CR95,LG 94 ft,TYP PRODUCTION                   142981          COMPLETION        FT                                94                          36.5              3431
                                                                                              FLANGE;MFR:OIL STATES,PN:PD17360,DIM 7‐1/16 IN,CONN STYL RTJ
                                                                                              SWIVEL,OPRTG PRESS 10000 PSI,MFR DWG:WELDMENT DRAWING OIL STATES,                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         59113.A                    DWW‐YARD‐C‐VAN 429796     MFR:OIL STATES,QUOTE:BBD‐SS‐SSF‐EQT‐DWG‐0015                                   141585          LONG LEADS        EA                                 2                        19460              38920
                                                                                                                                                                                            MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         59115.A                           DWW‐YARD           COLLAR;MFR:OIL STATES,PN:PD17190,TYP ANTI‐ROTATION                             141585          LONG LEADS        EA                                 2                        68411             136822




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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                             Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value

                                                                                                SOCKET, SOCKET WRENCH SET;MFR:OIL STATES,PN:IW12340C,TYP T‐HANDLE W/
                                                                                                SOCKET,MATL STEEL,SPCL FEATRS FABRICATED ‐ SOCKET W/ 1.625 IN SLOT,MFR                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         59341.A                            BW‐R5‐1             DWG:HANDLE SOCKET OIL STATES, MFR:OIL STATES,QUOTE:SP1K‐23‐279                   142679         DEVELOPMENT         EA                                 1                       4500.98           4500.98
                                                                                                GASKET, RING JOINT;MFR:CAMERON,PN:2274164‐01,CROSS SEC SHAPE
                                                                                                SPHERICAL,MATL 316 SS,MATL GR STAINLESS STEEL,NOM SZ 6 IN,SURF FNSH                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         59467.A                             MR‐3‐E             SILVER PLATED                                                                    142679         DEVELOPMENT         EA                                 6                       2710.75           16264.5
                                                                                                GASKET, RING JOINT;MFR:CAMERON,PN:2274164‐01,CROSS SEC SHAPE
                                                                                                SPHERICAL,MATL 316 SS,MATL GR STAINLESS STEEL,NOM SZ 6 IN,SURF FNSH                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         59467.B                               N/A              SILVER PLATED                                                                 AFE FW580018         NOVESA           EA                                 0                                0                 0
                                                                                                ASSEMBLY;TYP RUPTURE DISC,SZ 22 IN IN,MATL WELDED STEEL,MATL GR X‐
                                                                                                80,COMPRISING RUPTURE DISC SUB 22 X 1.250 IN 277#, H90DM/MT PIN X
                                                                                                H90M/MT W/2 PORTS 180 DEG APART, RATED 5500 PSIG AT 150 DEG F W/2000                           MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         59545.A                           BW‐AREA 3            PSIG MIN BACK PRESSURE(8 FT)                                                     144040               D&E           EA                                 1                     87750.24           87750.24
                                                                                                CAP;MFR:CAMERON,PN:2181509‐06,TYP FLOWLINE HUB,SZ 8 IN,CONN TYP
                                                                    DWW YARD C‐VAN HLXU 616220‐ AUTOCLAVE PORT 9/16 IN,COMPRISING PLUG; SEAL ID 6.392 IN; (2) O RINGS,SPCL                      MC 519 1 LONG
Deepwater Warehouse    Fieldwood         59576.A                                6               FEATRS PRESSURE 15000 PSI                                                        123828           LEAD ITEMS        EA                                 1                       88354.9           88354.9
Deepwater Warehouse    Fieldwood         59578.A                             MR‐4‐E             PLUG;MFR:CAMERON,PN:0303‐43 REV A,TYP LOOPED                                     127682        VK 917 1 ST2 DRILL   EA                                 1                         1500              1500

                                                                                                                                                                                               MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         59637.A                              MW‐R8‐2            SUB;MFR:WORKSTRING,PN:CTM57 PIN                                                 143751         COMPLETION/L        EA                                 2                         7200              14400

                                                                                                                                                                                               MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         59637.A                     DWW‐YARD‐C‐VAN 402189 0     SUB;MFR:WORKSTRING,PN:CTM57 PIN                                                 142981          COMPLETION         EA                                 1                         7833               7833
                                                                                                 SENSOR;MFR:RSI GLOBAL,PN:RSI / TREE SENSOR TEST SET,DIM SQ 21 X HT 22
                                                                                                 IN,CABL LG 20 ft,SPCL FEATRS ELECTRICAL SCHEMATIC INCLUDED; 334A LOOP
                                                                                                 CALIBRATOR W/CIRCULAR CONNECTOR INSTALLED,MFR:RSI
Deepwater Warehouse    Fieldwood         59656.A                            OS‐GENERAL           GLOBAL,QUOTE:NP0615770                                                          203563        Rio Grande Spares    EA                                 1                         5953               5953
                                                                                                                                                                                                MC 519 1 LONG
Deepwater Warehouse    Fieldwood         59726.A                             MW‐AREA 4           FRAME;MFR:CAMERON,PN:222652‐26 REV 02,TYP SCM SHIPPING                          123828           LEAD ITEMS        EA                                 0                         5595                     0
                                                                                                                                                                                                MC 519 1 LONG
Deepwater Warehouse    Fieldwood         59727.A                             DWW‐YARD            STAND;MFR:CAMERON,PN:223997‐70,TYP SCM TEST                                     123828           LEAD ITEMS        EA                                 0                         1500                  0
Deepwater Warehouse    Fieldwood         59733.A                             MW‐R11‐1            VALVE, FLUSH;MFR:SKOFLO,PN:SSVGEZFS15000A                                    AFE FW193006         GENOVESA         EA                                 1                        31980              31980
                                                                                                 HOT STAB, ROV;MFR:OCEANEERING,PN:A05320‐M,TYP DUAL PORT,PRESS RTNG
Deepwater Warehouse    Fieldwood         59737.A                               MR‐1‐E            10000 PSI                                                                                                          EA                                 1                       1218.27           1218.27
                                                                                                 LONG TERM COVER ASSEMBLY, J‐PLATE, 8 LINES. MFR: AKER SOLUTIONS, PN:
Deepwater Warehouse    Fieldwood         59738.B                             MW‐AREA 2           10057795                                                                                                           EA                                 1                                0                 0
                                                                                                 MODULE, COMMUNICATION;MFR:CAMERON,PN:223262‐46,TYP SCM DUMMY                                   MC 519 1 LONG
Deepwater Warehouse    Fieldwood         59741.A                             BW‐AREA 3           TEST POD                                                                        123828          LEAD ITEMS         EA                                 0                        75000                     0

                                                                                                                                                                                               MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         59859.A                              MW‐R8‐3            PACKER;MFR:HALLIBURTON,PN:212009599‐ZHAA                                        143752         COMPLETION/L        EA                                 1                     111545.6           111545.6

                                                                                                 SCREEN;MFR:SUPERIOR ENERGY SERVICES,PN:DF‐450‐250H‐151FE‐R2,TYP                                  VK 917 1 ST2
Deepwater Warehouse    Fieldwood         60575.A                             DWW‐YARD            DYNAFLO DB,WT 15.1,LG 30 FT,MATL 13CR‐110,SPCL FEATRS 200M,SPEC 316L            127684            COMPLETE         EA                                 3                        22790              68370
                                                                                                 SCREEN;MFR:SUPERIOR ENERGY SERVICES,PN:DF‐450‐250H‐151FE‐R3,TYP
                                                                                                 DYNAFLO DB,WT 15.1,LG 40 FT,CL SLHT,MATL 13CR‐110,SPCL FEATRS 200M,SPEC                         VK 917 1 ST2
Deepwater Warehouse    Fieldwood         60576.A                             DWW‐YARD            316L                                                                            127684           COMPLETE          EA                                 1                        22720              22720
                                                                                                 MODULE;MFR:AKER,PN:BB15‐000726‐60,TYP DUAL BRIDGE,O/P 5M,APPLI                                 MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61117.A                            MR‐GENERAL           COMPUTER,BRAND:CONTROLNET,BRAND:UNKNOWN                                         139351          EXECUTE AFE        EA                                 0                       6532.65                    0
                                                                                                 POWER SUPPLY;MFR:AKER,PN:BB15‐000782‐48,PN:1756‐PA72,I/P VOLT 85‐265
                                                                                                 VAC,POWER RTG 25 W,DIM 140 X 112 X 145 mm,APPLI COMPUTER,STD CSA,                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61118.A                            MR‐GENERAL           UL,BRAND:CONTROLLOGIX,BRAND:UNKNOWN                                             139351          EXECUTE AFE        EA                                 0                       3110.78                    0
                                                                                                 MODULE;MFR:AKER,PN:BB15‐000782‐50,PN:1756‐IB32,32 POINT                                       MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61120.A                            MR‐GENERAL           INPUT/OUTPUT,VOLT 10‐31 V,COMPUTER,STD CSA, UL                                  139351          EXECUTE AFE        EA                                 0                       1399.85                    0
                                                                                                 MODULE;MFR:AKER,PN:BB15‐000782‐51,PN:1756‐OB32,TYP 32 POINT                                   MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61121.A                            MR‐GENERAL           INPUT/OUTPUT,VOLT 10‐31 V,APPLI COMPUTER,STD CSA, UL                            142679         DEVELOPMENT         EA                                 0                       2022.01                    0
                                                                                                 MODULE;MFR:AKER,PN:BB15‐000782‐52,PN:1756‐IF8,TYP 8‐CHANNEL ANALOG                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61122.A                            MR‐GENERAL           INPUT,VOLT 0‐10 V,APPLI COMPUTER                                                142679         DEVELOPMENT         EA                                 0                       3421.86                    0
                                                                                                 PANEL, CONTROL;MFR:AKER,PN:10190723,TYP ONLINE CONTROL AND                                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61123.A                            MR‐GENERAL           CONNECTION, MCS                                                                 139351          EXECUTE AFE        EA                                 0                       20220.1                    0
                                                                                                 SWITCH, NETWORK;MFR:AKER,PN:10160966,MFR:CISCO,PN:IE 3010,TYP                                 MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61124.A                            MR‐GENERAL           ETHERNET,DIM WD 17.5 X HT 1.8 X DP 14 IN,LAYER 3, 1XAC PSU                      142679         DEVELOPMENT         EA                                 0                     12443.14                     0
                                                                                                 SERVER, AUTOMATIC DATA PROCESSING;MFR:AKER,PN:10074121,TYP PORT,DIM
                                                                                                 WD 6.60 X LG 16.80 X DP 1.60 IN,PWR SUPPLY 100‐250 VAC, 50/60 HZ,STD CSA,                     MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61125.A                            MR‐GENERAL           UL,MN:DIGI TS16 MEI                                                             142679         DEVELOPMENT         EA                                 0                       6221.57                    0
                                                                                                 MODULE;MFR:AKER,PN:BB14‐060480‐12,TYP ICON TOPSIDE EXTENDED
Deepwater Warehouse    Fieldwood         61137.A                               MR‐5‐C            MODEM,MN:1200 SERIES                                                            203563        Rio Grande Spares    EA                                 0                         3910                     0
                                                                                                 RACK, ELECTRONIC;MFR:AKER,PN:10187605,VOLT 120/208/240 V,WATT 600‐1200                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61143.A                            MR‐GENERAL           VA / 2.5 KVA                                                                    142679         DEVELOPMENT         EA                                 0                     55510.21                     0
                                                                                                 RACK, ELECTRONIC;MFR:AKER,PN:10236194,VOLT 120/208/240 V,WATT 300‐600                         MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61144.A                            MR‐GENERAL           VA / 2.5 KVA                                                                    139351          EXECUTE AFE        EA                                 0                     52671.54                     0
Deepwater Warehouse    Fieldwood         61145.A                              MR‐5‐B             UNIT;MFR:AKER,PN:10246629,TYP AUXILIARY CONNECTION                              203563        Rio Grande Spares    EA                                 0                     20527.53                     0
                                                                                                 FILTER;MFR:AKER,PN:10254893MFR: RITTAL,TYP OUTLET,WD 323 mm,LG 323
Deepwater Warehouse    Fieldwood         61148.A                               MR‐5‐C            mm,SPCL FEATRS COLOR: RAL 7035                                                  203563        Rio Grande Spares    EA                                 0                         1955                     0
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61149.A                            MR‐GENERAL             KEYBOARD;MFR:AKER,PN:10186368,APPLI MONITOR                                   142679         DEVELOPMENT         EA                                 0                       4666.17                    0
                                                                                                   KIT, VALVE REPAIR;MFR:CORNERSTONE,PN:413‐4305449CC,COMPRISING 17‐4PH
                                                                                                   SS BALL AND SEAT CARRIERS, RTFE/ELGILOY STEM SEAL, LT JW VITON LIP SEALS                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61209.A                              OS‐R1‐S3             AND O‐RINGS,APPLI 430 SERIES BALL VALVE PEEK SEAT                             139351          EXECUTE AFE        EA                                 2                         3710               7420
                                                                                                   VALVE, BALL;MFR:PRECISION TECH,PN:BV2‐230KBF12MFR: ACECO,TYP COMPACT                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61210.A                              OS‐R1‐S2             TRUNNION,CONN 1 SZ 2 IN,CL 10K                                                142679         DEVELOPMENT         EA                                 1                       2785.71           2785.71
                                                                    OS‐R1‐S2/1 OF 2 OS‐R1‐FL/ 2 OF VALVE, CHECK;MFR:PRECISION TECH,PN:CV‐662KCA12MFR: ACECO,TYP COMPACT                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61211.A                                  2                SWING,VLV SZ 10 IN,CL 10K                                                     142679         DEVELOPMENT         EA                                 1                       9642.85           9642.85
                                                                                                   VALVE, CHECK;MFR:PRECISION TECH,PN:CV‐635KCA12MFR: ACECO,TYP COMPACT                        MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61212.A                              OS‐R1‐S2             SWING,VLV SZ 6 IN,CL 10K                                                      139351          EXECUTE AFE        EA                                 1                       2142.86           2142.86
                                                                                                   VALVE, CHECK;MFR:PRECISION TECH,PN:CV‐630KCA12MFR: ACECO,TYP COMPACT                        MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61213.A                              OS‐R1‐S2             SWING,VLV SZ 2 IN,CL 10K                                                      139351          EXECUTE AFE        EA                                 1                        876.92            876.92
                                                                                                   VALVE, BALL;MFR:PRECISION TECH,PN:BV2‐431KHA12MFR: ACECO,TYP COMPACT                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61214.A                              OS‐R1‐S2             DOUBLE,CONN 1 SZ 2 IN,CL 10K                                                  142679         DEVELOPMENT         EA                                 1                       5571.43           5571.43
                                                                                                   VALVE;MFR:PRECISION TECH,PN:BVT‐830KTA12MFR: ACECO,TYP COMPACT                              MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61215.A                              OS‐R1‐S2             THROTTLE,CONN 1 SZ 2 IN,CL 10K                                                142679         DEVELOPMENT         EA                                 1                       2442.86           2442.86




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      Facility        Facility Owner   Item Number     Serial No.           Location          Item Description                                                             Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value        WI% Net Value

                                                                                              KIT, VALVE REPAIR;MFR:CORNERSTONE,PN:413‐AA8814,COMPRISING PEEK SEAT,
                                                                                              17‐4PH SS BALL AND SEAT CARRIERS, RTFE/ELGILOY STEM SEAL, TFE LIP SEALS                       MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61216.A                           OS‐R1‐S2           AND FACE SEALS, FLUOROSILICONE O‐RINGS,APPLI 430 SERIES BALL VALVE              139351         EXECUTE AFE        EA                                 1                        4249.9            4249.9
                                                                                              KIT, VALVE REPAIR;MFR:CORNERSTONE,PN:413‐AA8815,COMPRISING PEEK SEAT,
                                                                                              17‐4PH SS THROTTLE BALL AND SEAT CARRIERS, RTFE/ELGILOY STEM SEAL, TFE
                                                                                              LIP SEALS AND FACE SEALS, FLUOROSILICONE O‐RINGS,APPLI 430 SERIES BALL                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61217.A                           OS‐R1‐S2           VALVE                                                                           142679         DEVELOPMENT        EA                                 1                         6100               6100
                                                                                              KIT, VALVE REPAIR;MFR:CORNERSTONE,PN:413‐4335449CC,COMPRISING PEEK
                                                                                              SEAT, 17‐4PH SS BALL AND SEAT CARRIERS, RTFE/ELGILOY STEM SEAL, LT JW                         MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61218.A                           OS‐R1‐S2           VITON LIP SEALS AND O‐RINGS,APPLI 433 SERIES BALL VALVE                         139351         EXECUTE AFE        EA                                 1                         8025               8025

                                                                                              KIT, VALVE REPAIR;MFR:CORNERSTONE,PN:414‐454424C,COMPRISING 17‐4PH SS                         MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61219.A                           OS‐R1‐S2           SEAT, NITRONIC 60 DISC, 17‐4PH SS SHAFT,APPLI 454 SERIES CHECK VALVE            139351         EXECUTE AFE        EA                                 1                         4700               4700
                                                                                              KIT;MFR:CORNERSTONE,PN:SO020703.004,TYP COMPACT SOFT GOODS REPAIR,SZ
                                                                                              10 IN,COMPRISING 17‐4 H1075 AND CF PEEK SEAT AND INSERTS,                                     MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61220.A                           OS‐R1‐S2           VITON/PTFE/GRAPHOIL SEALS                                                       142679         DEVELOPMENT        EA                                 1                     18531.96           18531.96
                                                                                              VALVE, BALL;MFR:PRECISION TECH,PN:BV2‐262KBF12MFR: ACECO,TYP COMPACT                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61221.A                          OS‐GENERAL          TRUNNION,CONN 1 SZ 10 IN,CL 10K                                                 139351          EXECUTE AFE       EA                                 1                     15857.14           15857.14
                                                                                              VALVE, BALL;MFR:PRECISION TECH,PN:BV2‐261KBF12MFR: ACECO,TYP COMPACT                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61222.A                          OS‐GENERAL          TRUNNION,CONN 1 SZ 8 IN,CL 10K                                                  139351          EXECUTE AFE       EA                                 1                       9857.14           9857.14
                                                                                              VALVE, BALL;MFR:PRECISION TECH,PN:BV2‐235KBF12MFR: ACECO,TYP COMPACT                          MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61223.A                           OS‐R1‐S2           TRUNNION,CONN 1 SZ 6 IN,CL 10K                                                  142679         DEVELOPMENT        EA                                 1                       4585.71           4585.71
                                                                                              CASING, OCTG;NOM SZ 7 IN,WT 32.00 lb/ft,MATL GR 13CR110M,PROCESS
Deepwater Warehouse    Fieldwood         61241.A                          DWW‐YARD            NA,CONN TYP VAM TOP,LG R1,DRIFT DIA 6 IN                                                                          FT                                20                        43.135              862.7
                                                                                              VALVE, RELIEF;MFR:NOV,PN:PSV‐1030,VLV SZ 4 X 6 IN,CONN TYP RTJ X RF,PRESS                     MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         61366.A                    DWW‐YARD‐C‐VAN 401592 1   RANGE CL 900 X CL 300,OPRTD PILOT,ORFC SZ 2.853 IN,STD API                      142679         DEVELOPMENT        EA                                 1                     40301.25           40301.25
                                                                                              PIPE;TYP LINE,NOM SZ NA,SCH NA,WALL THK 1.150 IN,MATL NA,MATL GR
                                                                                              X65,PROCESS SEAMLESS,END CONN NA,LG 40 ft,COATG EXT BARE,STD API                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         61981.A                          DWW‐YARD            5L,NOM PIPE SZ 8.625 IN                                                         141585         LONG LEADS         FT                                200                       116.48             23296

                                                                                              DISC, RUPTURE;MFR:FIKE,PN:A9311‐6,TYP SPARE INTERNAL RUPTURE DISC,OPRTG
Deepwater Warehouse    Fieldwood         61988.A                            MR‐2‐A            PRESS RATED 5900 PSI,BST PRESS MINIMUM 4570 PSI,OP TEMP 150                                                       EA                                 4                     1565.455            6261.82
                                                                                              FRAME;MFR:AQUEOUS,PN:SCH‐1100,DIM 6 X 1.5 X 2 ft,MATL CARBON STEEL,SPCL                        VK 826 Neptune
Deepwater Warehouse    Fieldwood         61989.A                          DWW‐YARD            FEATRS DIVE STAGE GUIDE WEIGHT, 700‐875 LBS                                     141898            Extension       EA                                 1                         3500               3500
                                                                                              FRAME;MFR:GLOBAL DIVERS&MARINE,PN:61136,DIM 20 X 8 X 4 ft,MATL CARBON
Deepwater Warehouse    Fieldwood         61992.A                          DWW‐YARD            STEEL,SPCL FEATRS DIVING LARS SKID, 6000 LB SWL                                                                   EA                                 1                       5366.51           5366.51
                                                                                              FRAME;MFR:GLOBAL DIVERS&MARINE,PN:TGS‐03,DIM 9 X 2.6 FT X 6 IN,MATL
Deepwater Warehouse    Fieldwood         61995.A                          DWW‐YARD            CARBON STEEL,SPCL FEATRS WET BELL TUGGER SKID, 5000 LB SWL                                                        EA                                 1                       1013.94           1013.94
                                                                                              VALVE, BALL;MFR:CORTEC,PN:BN114‐1742001‐30XC‐0000‐31LUBB,TYP ASSEMBLY,
                                                                                              COMPACT TRUNNION,CONN 1 SZ 7‐1/16 IN,CONN 2 SZ 6‐3/8 IN,CL 10000 PSI,TRIM
                                                                                              SS 17‐4PH‐TC,SFTGDS VITON (EDR),SPCL FEATRS BONNET, RETAINER (XYLAN
Deepwater Warehouse    Fieldwood         62365.A                          MW‐R10‐FL           COATED),STD BS,MN:6AV1                                                          203563        Rio Grande Spares   EA                                 1                        55680              55680
                                                                                              VALVE, BALL;MFR:CORTEC,PN:BN114‐1742001‐30XC‐0000‐31LUBB,TYP ASSEMBLY,
                                                                                              COMPACT TRUNNION,CONN 1 SZ 7‐1/16 IN,CONN 2 SZ 6‐3/8 IN,CL 10000 PSI,TRIM
                                                                                              SS 17‐4PH‐TC,SFTGDS VITON (EDR),SPCL FEATRS BONNET, RETAINER (XYLAN
Deepwater Warehouse    Fieldwood         62365.A                          MW‐R10‐FL           COATED),STD BS,MN:6AV1                                                          203563        Rio Grande Spares   EA                                 1                        55680              55680
                                                                                              VALVE, BALL;MFR:CORTEC,PN:BN114‐160‐6802‐76XC‐0000‐32OCC,TYP
                                                                                              ASSEMBLY,CONN 1 SZ 1‐13/16 IN,CL 10000 PSI,BDY MATL DUPLEX SS,MATL GR
                                                                                              F51,TRIM 17‐4‐TC /17‐4 NIT,SFTGDS EOL 985,ACTTR STYL ION PLATED
Deepwater Warehouse    Fieldwood         62367.A                          MW‐R10‐FL           BONNET,STD BS,MN:6AV1                                                           203563        Rio Grande Spares   EA                                 1                        23425              23425
                                                                                              VALVE, BALL;MFR:CORTEC,PN:BN182‐1741901‐30X‐0000‐31PUBB,TYP ASSEMBLY,
                                                                                              COMPACT , TRUNNION,CONN 1 SZ 7‐1/16 IN,CONN 2 SZ 6‐3/8 IN,CL 10000 PSI,BDY
                                                                                              MATL 4130AS,TRIM STEM: 17‐4PH,BALL: 17‐PH, PEEK,SFTGDS VITON EDR,STD BS,
Deepwater Warehouse    Fieldwood         62368.A                          MW‐R12‐FL           API                                                                             203563        Rio Grande Spares   EA                                 1                        58325              58325
                                                                                              SCREW, CAP;MFR:CORTEC,PN:BN575‐F225200‐07TC‐1,HEAD FLAT,DIA 1‐3/8
                                                                                              IN,THD UNC 8 TPI,LG 6‐1/2 IN,MATL GR B7,SURF TRTMNT PTFE COATED PER
Deepwater Warehouse    Fieldwood         62369.A                          MW‐R10‐FL           SM.07,SPCL FEATRS REV A,APPLI VALVES ON LINES 1 AND 3                           203563        Rio Grande Spares   EA                                12                            75               900
                                                                                              SEAL;MFR:CORTEC,PN:BN580‐1616700‐6900‐1,TYP CLOSED CELL FOAM EXTRA,
Deepwater Warehouse    Fieldwood         62370.A                          MW‐R10‐FL           WEATHER,STD VALVES ON LINES 1 AND 3,REF:EC SZ‐16                                203563        Rio Grande Spares   EA                                 6                            14                    84
                                                                                              SCREW, CAP;MFR:CORTEC,PN:BN575‐F142400‐27TC‐1,HEAD FLAT,DIA 7/8 IN,THD
                                                                                              UNC 9 TPI,LG 3 IN,MATL GR B7,SURF TRTMNT PTFE COATED PER SM.27,SPCL
Deepwater Warehouse    Fieldwood         62371.A                          MW‐R10‐FL           FEATRS REV A,APPLI VALVE ON LINE 2                                              203563        Rio Grande Spares   EA                                 6                            18               108
                                                                                              SEAL;MFR:CORTEC,PN:BN580‐6010373‐6900‐1,TYP CLOSED CELL FOAM EXTRA,
Deepwater Warehouse    Fieldwood         62372.A                          MW‐R10‐FL           WEATHER,APPLI VALVE ON LINE 2,REF:EC SZ‐73                                      203563        Rio Grande Spares   EA                                 3                                4                 12
                                                                                              BLADDER, ACCUMULATOR;MFR:PROSERV,PN:070716,VOL CPCTY 5 gal,OPRTG                              MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         62453.A                    DWW‐YARD‐C‐VAN 402189 0   PRESS 5000 PSI,SPEC 1‐7/BUNF, BVI GAS                                           143096        DEVELOPMENT LL      EA                                 0                         3570                     0
                                                                                              BLADDER, ACCUMULATOR;MFR:PROSERV,PN:070716,VOL CPCTY 5 gal,OPRTG                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         62453.A                    DWW‐YARD‐C‐VAN 402189 0   PRESS 5000 PSI,SPEC 1‐7/BUNF, BVI GAS                                           141585           LONG LEADS       EA                                 0                         3570                     0
                                                                                              KIT;MFR:ACADIAN,PN:2INFBA02MFR: MOMA,SZ 2 IN,CL 1500,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION
Deepwater Warehouse    Fieldwood         62535.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                   203563        Rio Grande Spares   EA                                 1                       1895.19           1895.19
                                                                                              KIT;MFR:ACADIAN,PN:4INEHA32‐KMFR: MOMA,SZ 4 IN,CL 900,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62536.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                   203563        Rio Grande Spares   EA                                 1                       2513.08           2513.08

                                                                                              KIT;MFR:ACADIAN,PN:6INABF01MFR: MOMA,SZ 6 IN,CL 150,COMPRISING O‐
Deepwater Warehouse    Fieldwood         62537.A                    DWW‐YARD‐C‐VAN 401592 1   RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATER COMMISSIONING          203563        Rio Grande Spares   EA                                 1                       5303.95           5303.95
                                                                                              KIT;MFR:ACADIAN,PN:6INEHA32‐KMFR: MOMA,SZ 6 IN,CL 900,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62538.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                   203563        Rio Grande Spares   EA                                 1                       4641.93           4641.93
                                                                                              KIT;MFR:ACADIAN,PN:8INBBA31MFR: MOMA,SZ 8 IN,CL 300,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION
Deepwater Warehouse    Fieldwood         62539.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                   203563        Rio Grande Spares   EA                                 2                       5303.95           10607.9
                                                                                              KIT;MFR:ACADIAN,PN:8INEHA32‐KMFR: MOMA,SZ 8 IN,CL 900,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62540.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                   203563        Rio Grande Spares   EA                                 1                       4974.23           4974.23

                                                                                              KIT;MFR:ACADIAN,PN:2INABF71MFR: MOMA,SZ 2 IN,CL 150,COMPRISING O‐
Deepwater Warehouse    Fieldwood         62541.A                    DWW‐YARD‐C‐VAN 401592 1   RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATER COMMISSIONING          203563        Rio Grande Spares   EA                                 1                       1233.18           1233.18

                                                                                              KIT;MFR:ACADIAN,PN:6INABA71MFR: MOMA,SZ 6 IN,CL 150,COMPRISING O‐
Deepwater Warehouse    Fieldwood         62542.A                    DWW‐YARD‐C‐VAN 401592 1   RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATER COMMISSIONING          203563        Rio Grande Spares   EA                                 1                       5303.94           5303.94




                                                                                                                                                    14
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      Facility        Facility Owner   Item Number     Serial No.           Location          Item Description                                                           Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value     WI% Net Value
                                                                                              KIT;MFR:ACADIAN,PN:2INABF01MFR: MOMA,SZ 2 IN,CL 150,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATING BALL VALVE
Deepwater Warehouse    Fieldwood         62543.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        737.32         737.32
                                                                                              KIT;MFR:ACADIAN,PN:6INABA01MFR: MOMA,SZ 6 IN,CL 150,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION
Deepwater Warehouse    Fieldwood         62544.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        3647.6         3647.6
                                                                                              KIT;MFR:ACADIAN,PN:2INFBF12‐LTMFR: MOMA,SZ 2 IN,CL 1500,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION BALL VALVE
Deepwater Warehouse    Fieldwood         62545.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        996.93         996.93
                                                                                              KIT;MFR:ACADIAN,PN:3INFHF02MFR: MOMA,SZ 3 IN,CL 1500,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62546.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 2                       1043.66        2087.32
                                                                                              KIT;MFR:ACADIAN,PN:2INFMA00MFR: MOMA,SZ 2 X 1/2 IN,CL 1500,COMPRISING
                                                                                              O‐RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI MONO‐DBB
Deepwater Warehouse    Fieldwood         62547.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 3                       2390.19        7170.57
                                                                                              KIT;MFR:ACADIAN,PN:2INKMA16MFR: MOMA,SZ 2 X 1/2 IN,CL 10000
                                                                                              PSI,COMPRISING O‐RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI MONO‐
Deepwater Warehouse    Fieldwood         62548.A                    DWW‐YARD‐C‐VAN 401592 1   DBB COMMISSIONING                                                             203563        Rio Grande Spares   EA                                 2                     3063.465         6126.93
                                                                                              KIT;MFR:ACADIAN,PN:3INABF71‐LTMFR: MOMA,SZ 3 IN,CL 150,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATING BALL VALVE
Deepwater Warehouse    Fieldwood         62549.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        1090.4         1090.4
                                                                                              KIT;MFR:ACADIAN,PN:3INFBA02MFR: MOMA,SZ 3 IN,CL 1500,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION BALL VALVE
Deepwater Warehouse    Fieldwood         62550.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                       1233.18        1233.18
                                                                                              KIT;MFR:ACADIAN,PN:3INFHA02MFR: MOMA,SZ 3 IN,CL 1500,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62551.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                       1043.66        1043.66
                                                                                              KIT;MFR:ACADIAN,PN:6INFHA02MFR: MOMA,SZ 6 IN,CL 1500,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62552.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                       5919.23        5919.23
                                                                                              KIT;MFR:ACADIAN,PN:8INABA01MFR: MOMA,SZ 8 IN,CL 150,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION
Deepwater Warehouse    Fieldwood         62553.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 2                     4640.725         9281.45
                                                                                              KIT;MFR:ACADIAN,PN:3INFCW02MFR: IFC,SZ 3 IN,CL 150,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62554.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                         202.7           202.7
                                                                                              KIT;MFR:ACADIAN,PN:6INACW01MFR: IFC,SZ 6 IN,CL 150,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62555.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        507.44         507.44
                                                                                              KIT;MFR:ACADIAN,PN:6INBCW31MFR: IFC,SZ 6 IN,CL 300,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62556.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        676.26         676.26
                                                                                              KIT;MFR:ACADIAN,PN:4INECW32MFR: IFC,SZ 4 IN,CL 900,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62557.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        313.38         313.38
                                                                                              KIT;MFR:ACADIAN,PN:6INECW32MFR: IFC,SZ 6 IN,CL 900,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62558.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        676.26         676.26
                                                                                              KIT;MFR:ACADIAN,PN:8INECW32MFR: IFC,SZ 8 IN,CL 900,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62559.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                       1312.44        1312.44
                                                                                              KIT;MFR:ACADIAN,PN:6INACW71MFR: IFC,SZ 6 IN,CL 150,COMPRISING SPRING,
                                                                                              HINGE PIN, STOP PIN, WASHER,APPLI DUAL PLATE CHECK VALVE
Deepwater Warehouse    Fieldwood         62560.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        676.26         676.26

                                                                                              KIT;MFR:ACADIAN,PN:4INAFY83MFR: IFC,SZ 4 IN,CL 150,COMPRISING SEAT,
Deepwater Warehouse    Fieldwood         62561.A                    DWW‐YARD‐C‐VAN 401592 1   PACKING, O‐RING,APPLI CONCENTRIC BUTTERFLY VALVE COMMISSIONING                203563        Rio Grande Spares   EA                                 1                         93.44           93.44
                                                                                              KIT, VALVE REPAIR;MFR:ACADIAN,PN:2INABA83MFR: SHIPHAM,VLV SZ 2
                                                                                              IN,OPRTG PRESS CL 150,COMPRISING SLEEVE SEAL, SEATS, THRUST WASHER,
Deepwater Warehouse    Fieldwood         62562.A                    DWW‐YARD‐C‐VAN 401592 1   GLAND PACKING,APPLI BALL VALVE                                                203563        Rio Grande Spares   EA                                 1                        744.63         744.63
                                                                                              KIT;MFR:ACADIAN,PN:10INEBF02MFR: MOMA,SZ 10 IN,CL 900,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION
Deepwater Warehouse    Fieldwood         62563.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 2                       7338.39       14676.78
                                                                                              KIT, VALVE REPAIR;MFR:ACADIAN,PN:6INAGA01MFR: WEIR,VLV SZ 6 IN,OPRTG
                                                                                              PRESS CL 150,COMPRISING BODY SPIRAL WOUND GASKET (SS316+GRAPHITE),
Deepwater Warehouse    Fieldwood         62564.A                    DWW‐YARD‐C‐VAN 401592 1   PACKING IN GRAFOIL,APPLI GATE VALVE                                           203563        Rio Grande Spares   EA                                 1                        213.38         213.38
                                                                                              KIT;MFR:ACADIAN,PN:6INBBA31MFR: MOMA,SZ 6 IN,CL 300,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION
Deepwater Warehouse    Fieldwood         62565.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 2                       3127.13        6254.26

                                                                                              KIT;MFR:ACADIAN,PN:2INBBA01MFR: MOMA,SZ 2 IN,CL 300,COMPRISING O‐
Deepwater Warehouse    Fieldwood         62566.A                    DWW‐YARD‐C‐VAN 401592 1   RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATER COMMISSIONING        203563        Rio Grande Spares   EA                                 1                       1233.18        1233.18

                                                                                              KIT;MFR:ACADIAN,PN:3INABF71MFR: MOMA,SZ 3 IN,CL 150,COMPRISING O‐
Deepwater Warehouse    Fieldwood         62567.A                    DWW‐YARD‐C‐VAN 401592 1   RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATER COMMISSIONING        203563        Rio Grande Spares   EA                                 2                       1328.42        2656.84
                                                                                              KIT;MFR:ACADIAN,PN:3INDHF31MFR: MOMA,SZ 3 IN,CL 600,COMPRISING O‐
                                                                                              RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI TRUNNION‐DBB
Deepwater Warehouse    Fieldwood         62568.A                    DWW‐YARD‐C‐VAN 401592 1   COMMISSIONING                                                                 203563        Rio Grande Spares   EA                                 1                        1090.4         1090.4

                                                                                              KIT;MFR:ACADIAN,PN:4INABF01MFR: MOMA,SZ 4 IN,CL 150,COMPRISING O‐
Deepwater Warehouse    Fieldwood         62569.A                    DWW‐YARD‐C‐VAN 401592 1   RING/LIP SEAL, GRAPHITE, SPRING AND FRITEX,APPLI FLOATER COMMISSIONING        203563        Rio Grande Spares   EA                                 1                       2915.48        2915.48
                                                                                              CENTRALIZER, SUB;MFR:WEATHERFORD,PN:54100SQH521PG0A003,CASNG SZ 17‐
                                                                                              7/8 IN,WT 93.50 lb/ft,MATL GR P110,CONN TYP TENARISHYDRIL WEDGE 521,SPCL                    MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         62585.A                    DWW‐YARD C‐VAN 429796‐0   FEATRS (12) 46S BOWS 23.750 OD, EXTRA LENGTH ON PIN                           203389               DRL          EA                                 2                        19076           38152

                                                                                              CROSSOVER, CASING;MFR:BENOIT,PN:17026,TOP CONN SZ 4‐1/2 IN,TOP CONN
                                                                                              WT 12.60 lb/ft,TOP CONN TYP VAM TOP BOX,BOT CONN SZ 5‐1/2 IN,BOT CONN
Deepwater Warehouse    Fieldwood         62613.A                      PUP JOINT RACK‐TIER 1   WT 17 lb/ft,BOT CONN TYP VAM TOP PIN,MATL GR 13CR80,LG 3 ft                                                     EA                                 1                        2551.3         2551.3
                                                                                              CROSSOVER, CASING;MFR:BENOIT,PN:16135,TOP CONN SZ 4‐1/2 IN,TOP CONN
                                                                                              WT 15.50 lb/ft,TOP CONN TYP BTS‐6 PIN,BOT CONN SZ 6 IN,BOT CONN WT 30.90
                                                                                              lb/ft,BOT CONN TYP VAM TOP KP BOX,MATL GR HYPER 13CR110,PROCESS N/A,LG
Deepwater Warehouse    Fieldwood         62614.A                     PUP JOINT RACK‐FLOOR     2 ft                                                                                                            EA                                 1                        2350.2         2350.2




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      Facility        Facility Owner   Item Number     Serial No.         Location          Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value

                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:17664,TOP CONN SZ 5‐1/2 IN,TOP CONN
                                                                                            WT 23 lb/ft,TOP CONN TYP BTS‐6 BOX,BOT CONN SZ 4‐1/2 IN,BOT CONN WT
Deepwater Warehouse    Fieldwood         62615.A                    PUP JOINT RACK‐FLOOR    12.60 lb/ft,BOT CONN TYP VAM TOP BOX,MATL GR 13CR95,PROCESS N/A,LG 14 IN                                          EA                                 1                       2063.19        2063.19
                                                                                                                                                                                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         62650.B                        DWW‐YARD            CAP;MFR:VECTOR,PN:PCA08066‐1,TYP TEMPORARY PRESSURE                               143096        DEVELOPMENT LL    EA                                 1                    102509.25       102509.25
                                                                    DWW‐YARD C‐VAN TRDU                                                                                                     MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         62650.B                         7275771            CAP;MFR:VECTOR,PN:PCA08066‐1,TYP TEMPORARY PRESSURE                               143096        DEVELOPMENT LL    EA                                 5                    102509.25       512546.25
                                                                    DWW‐YARD C‐VAN TRDU                                                                                                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         62650.B                         7275771            CAP;MFR:VECTOR,PN:PCA08066‐1,TYP TEMPORARY PRESSURE                               141585          LONG LEADS      EA                                 1                    102509.25       102509.25
                                                                                            CROSSOVER, TUBING;MFR:BENOIT,PN:15939,TOP CONN SZ 3‐1/2 IN,WT 9.30
                                                                                            lb/ft,TOP CONN TYP BTS‐8 BOX,BOT CONN SZ 3‐1/2 IN,BOT CONN WT 9.20
Deepwater Warehouse    Fieldwood         62652.A                    PUP JOINT RACK‐FLOOR    lb/ft,BOT CONN TYP VAM FJL PIN,MATL GR HYPER 13CR110,LG 14 IN                                                     EA                                 4                     620.2875         2481.15
                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:16301,TOP CONN SZ 5‐1/2 IN,TOP CONN
                                                                                            WT 23 lb/ft,TOP CONN TYP BTS‐6 BOX,BOT CONN SZ 4‐1/2 IN,BOT CONN WT
Deepwater Warehouse    Fieldwood         62653.A                    PUP JOINT RACK‐FLOOR    15.50 lb/ft,BOT CONN TYP BTS‐6 PIN,MATL GR 13CR95,LG 2 ft                                                         EA                                 1                        1276.7         1276.7
                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:17374,TOP CONN SZ 5‐1/2 IN,TOP CONN
                                                                                            WT 23 lb/ft,TOP CONN TYP BTS‐6 BOX,BOT CONN SZ 6 IN,BOT CONN WT 30.90
Deepwater Warehouse    Fieldwood         62757.A                    PUP JOINT RACK‐TIER 2   lb/ft,BOT CONN TYP VAM TOP KP PIN,MATL GR 13CR95,LG 4 ft                                                          EA                                 1                       3709.37        3709.37

                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:7441,TOP CONN SZ 5‐1/2 IN,TOP CONN WT
                                                                                            29.70 lb/ft,TOP CONN TYP VAM ACE PIN,BOT CONN SZ 4‐1/2 IN,BOT CONN WT
Deepwater Warehouse    Fieldwood         62758.A                    PUP JOINT RACK‐FLOOR    12.75 lb/ft,BOT CONN TYP BTS‐8 PIN,MATL GR 13CR85,LG 2 ft                                                         EA                                 1                       1494.07        1494.07
                                                                                            CASING, OCTG;MFR:BENOIT,PN:16551,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL GR
Deepwater Warehouse    Fieldwood         62834.A                    PUP JOINT RACK‐TIER 5   13CR110,CONN TYP BTS‐6 LOWER BCSD FLO TOOL,LG 14 ft                                                               FT                                14                  404.3557142 5660.979999
                                                                                            CASING, OCTG;MFR:BENOIT,PN:17250,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL GR
                                                                                            13CR95,CONN TYP BTS‐6 PIN / (BLANK) BCSD FLO‐TOOL,LG 12 FT 4‐1/2 IN,SPCL
Deepwater Warehouse    Fieldwood         62835.A                    PUP JOINT RACK‐TIER 4   FEATRS PUP JOINT (LENGTH: 12 FT)                                                                                  FT                                12                  525.1099999 6301.319999
                                                                                            CASING, OCTG;MFR:BENOIT,PN:17251,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL GR
                                                                                            13CR95,CONN TYP BTS‐6 PIN / (BLANK) BCSD UPPER FLO‐TOOL,LG 6 FT 4‐1/2
Deepwater Warehouse    Fieldwood         62836.A                    PUP JOINT RACK‐TIER 2   IN,SPCL FEATRS PUP JOINT (LENGTH: 6 FT)                                                                           FT                                 6                  398.5583333         2391.35
                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:18079,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL
                                                                                            GR 13CR95,TOP CONN TYP BTS‐6,BOT CONN TYP BTS‐6,LG 6 ft,SPCL FEATRS WITH
Deepwater Warehouse    Fieldwood         62900.A                    PUP JOINT RACK‐TIER 1   SQUARE SHOULDER                                                                                                   EA                                 1                       2548.51        2548.51

                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:17539,NOM SZ 5‐1/2 IN,WT 15.50 lb/ft,MATL
Deepwater Warehouse    Fieldwood         62902.A                    PUP JOINT RACK‐TIER 3   GR 13CR95,TOP CONN TYP VAM FJL,BOT CONN TYP VAM FJL,LG 8 ft                                                       EA                                 2                       1758.08        3516.16

                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:17024,NOM SZ 5‐1/2 IN,WT 20 lb/ft,MATL GR
Deepwater Warehouse    Fieldwood         62922.A                    PUP JOINT RACK‐TIER 4   13CR80,TOP CONN TYP VAM TOP T & C,BOT CONN TYP VAM TOP T & C,LG 8 ft                                              EA                                 1                       1400.08        1400.08

                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:17023,NOM SZ 5‐1/2 IN,WT 20 lb/ft,MATL GR
Deepwater Warehouse    Fieldwood         62923.A                    PUP JOINT RACK‐TIER 2   13CR80,TOP CONN TYP VAM TOP T & C,BOT CONN TYP VAM TOP T & C,LG 4 ft                                              EA                                 2                     1109.975         2219.95
                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:17376,NOM SZ 6 IN,WT 30.90 lb/ft,MATL GR
                                                                                            HYPER 13CR110,TOP CONN TYP VAM TOP KP PIN,BOT CONN TYP VAM TOP KP
Deepwater Warehouse    Fieldwood         62924.A                    PUP JOINT RACK‐TIER 2   PIN,LG 6 ft                                                                                                       EA                                 1                     3446.315        3446.315
                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:17376,NOM SZ 6 IN,WT 30.90 lb/ft,MATL GR
                                                                                            HYPER 13CR110,TOP CONN TYP VAM TOP KP PIN,BOT CONN TYP VAM TOP KP
Deepwater Warehouse    Fieldwood         62924.A                    PUP JOINT RACK‐TIER 3   PIN,LG 6 ft                                                                                                       EA                                 1                     3446.315        3446.315
                                                                                            MANDREL, ASSEMBLY;MFR:BENOIT,PN:15524,TYP GAUGE,DIM LG 20 ft,SPCL
                                                                                            FEATRS SIZE: 3‐1/2 IN, WEIGHT: 9.30 LB/FT, MATERIAL GRADE: 13CR85, (8 FT PUP
Deepwater Warehouse    Fieldwood         62925.A                          CR TIER 2         JOINT ON TOP AND 6 FT PUP JOINT ON BOTTOM)                                                                        EA                                 1                         2693            2693
                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:16302,NOM SZ 6 IN,WT 30.90 lb/ft,MATL GR
                                                                                            HYPER 13CR110,TOP CONN TYP VAM TOP KP T & C,BOT CONN TYP VAM TOP KP T
Deepwater Warehouse    Fieldwood         62954.A                    PUP JOINT RACK‐TIER 4   & C,LG 10 ft                                                                                                      EA                                 1                       4546.85        4546.85

                                                                                            CASING, OCTG;MFR:BENOIT,PN:16550,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL GR
Deepwater Warehouse    Fieldwood         62967.A                    PUP JOINT RACK‐TIER 4   13CR110,CONN TYP BTS‐6 S/C UPPER BCSD FLO‐TOOL,LG 14 ft                                                           FT                                14                  263.7721428         3692.81

                                                                                            CASING, OCTG;MFR:BENOIT,PN:14884,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL GR
Deepwater Warehouse    Fieldwood         62968.A                    PUP JOINT RACK‐TIER 5   HYPER 13CR110,CONN TYP BTS‐6 S/C UPPER BCSD FLO‐TOOL,LG 14 ft                                                     FT                                14                  407.8099999 5709.339999
                                                                                            PUP JOINT, TUBING;MFR:BENOIT,PN:13912,NOM SZ 3‐1/2 IN,WT 9.30 lb/ft,MATL
Deepwater Warehouse    Fieldwood         62976.A                    PUP JOINT RACK‐TIER 3   GR 13CR95,TOP CONN TYP BTS‐8,BOT CONN TYP BTS‐8,LG 8 ft                                                           EA                                 1                        945.66         945.66
                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:15051,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL
                                                                                            GR 13CR110,TOP CONN TYP BTS‐6 S/C SQUARE SHOULDER,BOT CONN TYP BTS‐6
Deepwater Warehouse    Fieldwood         62992.A                    PUP JOINT RACK‐TIER 5   S/C SQUARE SHOULDER,LG 10 ft                                                                                      EA                                 1                       2692.19        2692.19
                                                                                            PUP JOINT, CASING;MFR:BENOIT,PN:16136,NOM SZ 6 IN,WT 30.90 lb/ft,MATL GR
                                                                                            HYPER 13CR110,TOP CONN TYP VAM TOP KP BOX,BOT CONN TYP VAM TOP KP
Deepwater Warehouse    Fieldwood         63035.A                    PUP JOINT RACK‐FLOOR    BOX,LG 14 IN                                                                                                      EA                                 2                     2032.995         4065.99
                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:16299,TYP FLOW COUPLING,TOP CONN SZ
                                                                                            4‐1/2 IN,TOP CONN WT 15.50 lb/ft,TOP CONN TYP BTS‐6 BOX,BOT CONN SZ 4‐1/2
                                                                                            IN,BOT CONN WT 15.10 lb/ft,BOT CONN TYP VAM TOP BOX,MATL GR 13CR95,LG 4
Deepwater Warehouse    Fieldwood         63047.A                    PUP JOINT RACK‐TIER 1   ft                                                                                                                EA                                 1                        610.93         610.93
                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:18084,TYP FLOW COUPLING,TOP CONN SZ
                                                                                            4‐1/2 IN,TOP CONN WT 15.50 lb/ft,TOP CONN TYP BTS‐6 BOX,BOT CONN SZ 4‐1/2
                                                                                            IN,BOT CONN WT 13.50 lb/ft,BOT CONN TYP BTS‐8 PIN,MATL GR HYPER
Deepwater Warehouse    Fieldwood         63049.A                    PUP JOINT RACK‐TIER 3   13CR110,LG 8 ft                                                                                                   EA                                 2                       4413.74        8827.48
                                                                                            CROSSOVER, CASING;MFR:BENOIT,PN:18086,TYP FLOW COUPLING,TOP CONN SZ
                                                                                            4‐1/2 IN,TOP CONN WT 15.50 lb/ft,TOP CONN TYP BTS‐6 BOX,BOT CONN SZ 4‐1/2
                                                                                            IN,BOT CONN WT 13.50 lb/ft,BOT CONN TYP BTS‐8 PIN,MATL GR HYPER
Deepwater Warehouse    Fieldwood         63050.A                    PUP JOINT RACK‐TIER 3   13CR110,LG 8 ft                                                                                                   EA                                 1                       4281.65        4281.65
                                                                                            CASING, OCTG;MFR:BENOIT,PN:18578,TYP LIFT NUBBIN,NOM SZ 5‐1/2 IN,WT 23.0
Deepwater Warehouse    Fieldwood         63277.A                    PUP JOINT RACK‐FLOOR    lb/ft,MATL GR P‐110,CONN TYP BTS‐6 BOX,LG 12 IN                                                                   FT                                 1                        523.38         523.38
                                                                                            CABLE ASSEMBLY;MFR:AKER,PN:10255944,TYP NULL‐MODEM,LG 25 ft,SPEC                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         63281.A                           PR‐R1‐3          CONNECTOR TYPE: FEMALE DB9                                                        142679         DEVELOPMENT      EA                                 0                         54.75                 0
                                                                                            CABLE ASSEMBLY;MFR:AKER,PN:10241290,SPEC 4W ROV RCPT ‐ 12W CANNON                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         63282.A                           PR‐R1‐3          PLUG                                                                              139351          EXECUTE AFE     EA                                 0                       6894.72                 0
                                                                                            CABLE ASSEMBLY;MFR:AKER,PN:10241291,SPEC 6W ROV PLUG ‐ 8W CANNON                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         63283.A                           PR‐R1‐3          RCPT                                                                              142679         DEVELOPMENT      EA                                 0                       6809.04                 0
                                                                                            CABLE ASSEMBLY;MFR:AKER,PN:10222348,LG 10 ft,SPEC CONNECTOR TYPE: DB9                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         63284.A                           PR‐R1‐3          M‐M                                                                               139351          EXECUTE AFE     EA                                 0                         70.83                 0
                                                                                            CABLE ASSEMBLY;MFR:AKER,PN:BB15‐000710‐43,TYP EXTENSION,SPEC                                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         63285.A                           PR‐R1‐3          CONNECTOR TYPE: MALE DB9                                                          139351          EXECUTE AFE     EA                                 0                          97.5                 0




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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                             Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                                                 CABLE ASSEMBLY;MFR:AKER,PN:BB15‐000710‐43,TYP EXTENSION,SPEC
Deepwater Warehouse    Fieldwood         63285.A                     SMALL PARTS ROOM FLOOR      CONNECTOR TYPE: MALE DB9                                                        203563        Rio Grande Spares   EA                                 0                         48.75                 0
                                                                                                 CONVERTER;MFR:AKER,PN:BB15‐000465‐02,TYP INTERFACE,WATT 600,SPEC                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         63286.A                              PR‐R1‐3            CONNECTOR TYPE: DB9 FEMALE,MN:RS232/RS485                                       139351          EXECUTE AFE       EA                                 0                         428.5                 0
                                                                                                 CABLE ASSEMBLY;MFR:AKER,PN:10222024,SPEC 8WAY CANNON PLUG‐CANNON                              MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         63287.A                              PR‐R1‐3            RCPT                                                                            142679         DEVELOPMENT        EA                                 0                         4260                  0
                                                                                                 CABLE ASSEMBLY;MFR:AKER,PN:10240031,LG 25 ft,SPEC 12W CANNON PLUG‐12W                         MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         63288.A                              PR‐R1‐3            CANNON RCPT                                                                     139351          EXECUTE AFE       EA                                 0                        4292.5                 0
                                                                                                 CABLE ASSEMBLY;MFR:AKER,PN:10241279,SPEC 8W ROV RCPT ‐ 12W CANNON                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         63289.A                              PR‐R1‐3            PLUG                                                                            139351          EXECUTE AFE       EA                                 0                       7956.48                 0
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         63290.A                              PR‐R1‐3            CABLE ASSEMBLY;MFR:AKER,PN:10222161,SPEC 4 WAY ROV PLUG‐CANNON RCPT             142679         DEVELOPMENT        EA                                 0                       8165.08                 0
                                                                                                 CABLE ASSEMBLY;MFR:AKER,PN:10241616,LG 6 ft,SPEC 8W CANNON S TO 12W                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         63291.A                              PR‐R1‐3            CANNON PLUG                                                                     142679         DEVELOPMENT        EA                                 0                        2547.5                 0

                                                                                               PUP JOINT, CASING;MFR:BENOIT,PN:15053,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL
                                                                                               GR 13CR110,TOP CONN TYP BTS‐6 S/C LOWER COMBO,BOT CONN TYP BTS‐6 S/C
Deepwater Warehouse    Fieldwood         63349.A                       PUP JOINT RACK‐TIER 4   LOWER COMBO,LG 12 ft,SPCL FEATRS W/SQUARE SHOULDER                                                                  EA                                 1                       3754.88        3754.88
                                                                                               NIPPLE, LANDING;MFR:BENOIT,PN:13914,TUBE OD 3‐1/2 IN,CONN SZ 2‐3/4
Deepwater Warehouse    Fieldwood         63373.A                       PUP JOINT RACK‐FLOOR    IN,CONN TYP BTS‐8,MATL GR 13CR110,WT 9.30 lb/ft,BRAND:,BRAND:BCS                                                    EA                                 1                       3480.12        3480.12
                                                                                               NIPPLE, LANDING;MFR:BENOIT,PN:13913,TUBE OD 3‐1/2 IN,CONN SZ 2‐3/4
Deepwater Warehouse    Fieldwood         63374.A                       PUP JOINT RACK‐FLOOR    IN,CONN TYP BTS‐8,MATL GR 13CR85,WT 9.30 lb/ft,BRAND:,BRAND:BCS                                                     EA                                 1                        3012.9         3012.9
                                                                                               VALVE, CONTROL;MFR:FISHER,PN:LV‐1160B,TYP GLOBE,VLV SZ 1 IN,CONN TYP
                                                                                               FLANGED RF,CL 150,BDY MATL CS ASME SA352 GR LCC,SPCL FEATRS BOLTED
                                                                                               BONNET, MATERIAL: FMS20B101 (NACE MR0103‐MR0175/ISO 15156), LCC PER
Deepwater Warehouse    Fieldwood         63552.A                             MW‐R17‐3          FMS20B75 GROUP 1M (NACE MR0175‐2002)                                              203563        Rio Grande Spares   EA                                 0                         5760                  0
                                                                                               VALVE, CONTROL;MFR:FISHER,PN:LV‐1170B,TYP GLOBE,VLV SZ 1 IN,CONN TYP
                                                                                               FLANGED RF,CL 150,BDY MATL CS ASME SA352 GR LCC,SPCL FEATRS BOLTED
                                                                                               BONNET, MATERIAL: FMS20B101 (NACE MR0103‐MR0175/ISO 15156), PATTERN
Deepwater Warehouse    Fieldwood         63553.A                             MW‐R17‐3          KHA‐LCC FMS20B101,MN:D4                                                           203563        Rio Grande Spares   EA                                 0                         6250                  0
                                                                                               VALVE, CONTROL;MFR:FISHER,PN:LV‐1210D,TYP GLOBE,VLV SZ 1 IN,CONN TYP
                                                                                               FLANGED RTJ,CL 1500,BDY MATL STEEL GR LCC,TRIM S17400 SS H1150, STEM:
                                                                                               S20910 SS W S17400 SS DBL H1150 PLUG,SPCL FEATRS STANDARD BONNET,
Deepwater Warehouse    Fieldwood         63554.A                             MW‐R17‐3          MATERIAL: FMS20B101,MN:D4 DVC6200                                                 203563        Rio Grande Spares   EA                                 0                         6537                  0
                                                                                               CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0101457‐QP0003A,CASNG SZ 7.750
                                                                                               IN,WT 46.10 lb/ft,MATL GR API Q125,CONN TYP TSH 523,SPCL FEATRS W/ (8)
                                                                                               BOW SPRING, 12.875 IN OVER BOW, MINIMUM YIELD STRENGTH: 135000                                  MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         65073.A                      DWW‐YARD C‐VAN 609785    PSI,MN:R3600, BST‐25                                                              203389               DRL          EA                                 0                         6727                  0
                                                                                               CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0101457‐QP0003A,CASNG SZ 7.750
                                                                                               IN,WT 46.10 lb/ft,MATL GR API Q125,CONN TYP TSH 523,SPCL FEATRS W/ (8)
                                                                     DWW‐YARD C‐VAN MOTU 045 BOW SPRING, 12.875 IN OVER BOW, MINIMUM YIELD STRENGTH: 135000
Deepwater Warehouse    Fieldwood         65073.A                             9057 45G1         PSI,MN:R3600, BST‐25                                                              201560        GC 40 02 Katmai 2   EA                                11                       6263.33       68896.63
                                                                                               VALVE, BALL;MFR:GALPERTI,PN:6'EHA32‐K,TYP DOUBLE BLOCK AND BLEED,OPRTD
                                                                                               GEAR WITH LOCKING DEVICE,CONN 1 SZ 6 IN,CONN 1 TYP FNPT,CONN 2 TYP
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 FLANGED RTJ,CL 900,BDY MATL SS,MATL GR F51,FACE TO FACE LG 36 IN,TEMP                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         65110.A                                 9             RNGE ‐50 TO 300 DEG F,BRAND:,                                                     142679         DEVELOPMENT        EA                                 1                        17501           17501
                                                                                               VALVE, BALL;MFR:GALPERTI,PN:EHA32‐K,TYP DOUBLE BLOCK AND BLEED,OPRTD
                                                                                               GEAR WITH LOCKING DEVICE,CONN 1 SZ 8 IN,CONN 1 TYP FNPT,CONN 2 TYP
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 FLANGED RTJ,CL 900,BDY MATL SS,MATL GR F51,FACE TO FACE LG 45.3 IN,TEMP                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         65111.A                                 9             RNGE ‐50 TO 300 DEG F,BRAND:,                                                     142679         DEVELOPMENT        EA                                 1                        29829           29829
                                                                                               CENTRALIZER, SUB;MFR:WEATHERFORD,PN:549WMLQH523Q12A002
                                                                      DWW‐YARD C‐VAN HJCU‐     2497737,CASNG SZ 11‐7/8 IN,WT 71.8 lb/ft,OD 15.62 IN,MATL GR Q‐125,CONN
Deepwater Warehouse    Fieldwood         65122.A                              1481372          TYP TENARISHYDRIL 523,SPCL FEATRS WITH GUIDE SHOE                                 201560        GC 40 02 Katmai 2   EA                                 2                        10695           21390
                                                                                               CENTRALIZER, SUB;MFR:WEATHERFORD,PN:549RWMJQH523Q12A002
                                                                                               2497730,CASNG SZ 9‐7/8 IN,WT 62.8 lb/ft,OD 13‐1/2 IN,MATL GR Q‐125,CONN TYP                     MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         65125.A                     DWW‐YARD C‐VAN 402189‐0 TENARISHYDRIL 523,SPCL FEATRS WITH GUIDE SHOE                                       203389               DRL          EA                                 1                         8527            8527

                                                                                                 COLLAR, FLOAT;MFR:WEATHERFORD,PN:L45ANLQH523Q12A001 2497481,CASNG                             MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         65126.A                     DWW‐YARD C‐VAN 402189‐0     OD 9‐7/8 IN,CASNG WT 62.8 lb/ft,MATL GR Q125,CONN TYP TENARISHYDRIL 523         203389               DRL          EA                                 1                        16343           16343

                                                                                               COLLAR, FLOAT;MFR:WEATHERFORD,PN:L45AXLQH523Q12A002 2497478,CASNG                               MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         65127.A                     DWW‐YARD C‐VAN 402189‐0 OD 9‐7/8 IN,CASNG WT 62.8 lb/ft,MATL GR Q125,CONN TYP TENARISHYDRIL 523             203389               DRL          EA                                 1                        16952           16952
                                                                                               PUP JOINT, CASING;MFR:BENOIT,PN:15048,NOM SZ 4‐1/2 IN,WT 15.50 lb/ft,MATL
                                                                                               GR 13CR110,TOP CONN TYP BTS‐6,BOT CONN TYP BTS‐6,LG 12 ft,SPCL FEATRS
Deepwater Warehouse    Fieldwood         65129.A                            CR TIER 1          WITH SQUARE SHOULDER                                                                                                EA                                 4                    3175.7425        12702.97
                                                                                               VALVE, BALL;MFR:GALPERTI,PN:4"EHA32‐K,TYP 4 INCH,OPRTD GEAR WITH
                                                                                               LOCKING DEVICE,CONN 1 TYP RTJ FLANGE WITH A193‐B8M BOLTS,CONN 2 TYP
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 RTJ FLANGE WITH A194‐B8M BOLTS,PORT TYP FNPT,BDY MATL A182‐F51,TRIM                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         65140.A                                9              A182‐F51,STYL DOUBLE BLOCK AND BLEED                                              142679         DEVELOPMENT        EA                                 1                        11185           11185

                                                                                                 SUB;MFR:WORKSTRING,PN:SXO‐534,TYP WEEP HOLE,ID 4‐1/4 IN,OD 7 IN,LG 48                         MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         65651.A                             BW‐AREA 3           SH/SH IN,CONN TYP CTM57 BOX X CTM57 PIN                                         142981          COMPLETION        EA                                 1                         5200            5200
                                                                                                 ASSEMBLY;MFR:SKOFLO,PN:21188‐3,TYP FLUSHER,COMPRISING DUAL PATH,
                                                                                                 LF/LF CONFIGURATION, ROV RETRIEVABLE DOCKING CANISTER, WORKING                                 MC 519 2 LONG
Deepwater Warehouse    Fieldwood         65823.A                             MW‐R10‐1            PRESSURE: 15000 PSI                                                             126099           LEAD CONST       EA                                 0                        32619               0
Deepwater Warehouse    Fieldwood         65863.A                             OS‐R1‐S2            SEAL, RING;MFR:GRAYLOC,PN:H90174‐29‐1                                           203563        Rio Grande Spares   EA                                 2                          645            1290
Deepwater Warehouse    Fieldwood         65865.A                             OS‐R1‐S2            SEAL;MFR:GRAYLOC,PN:H90075‐172,TYP PLATE                                        203563        Rio Grande Spares   EA                                 2                          651            1302
                                                                                                 SUB;MFR:HUNTING ENERGY SERVICES,PN:NA,TYP BURST DISK,CASNG SZ 22
                                                                                                 IN,CASNG WT 224 lb/ft,PRESS RTNG 7500 PSI AT 200 DEG F W/5250 PSI MIN BACK
                                                                                                 PRESS,SPCL FEATRS 1 IN W X80 S90M/MT P X B APRS SUB, 8 FT OAL, 2 PORTS 180
Deepwater Warehouse    Fieldwood         65916.A                             BW‐AREA 3           DEG APART                                                                       201560        GC 40 02 Katmai 2   EA                                 1                     32273.02        32273.02
                                                                                                 DISC, RUPTURE;MFR:FIKE,PN:NA,TYP INTERNAL,SPCL FEATRS 7500 PSI AT 200 DEG
Deepwater Warehouse    Fieldwood         65924.A                               MR‐2‐A            F W/5250 PSI MIN BACK PRESSURE                                                  201560        GC 40 02 Katmai 2   EA                                 2                       3334.23        6668.46
                                                                                                 DISC, RUPTURE;MFR:FIKE,PN:NA,TYP EXTERNAL,SPCL FEATRS 2000 PSI AT 260
Deepwater Warehouse    Fieldwood         65925.A                               MR‐2‐A            DEG F W/6920 PSI MIN BACK PRESSURE                                              201560        GC 40 02 Katmai 2   EA                                 2                       3334.23        6668.46

                                                                                                 CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0104927‐QP0003 A,CASNG SZ 17.875
                                                                                                 IN,WT 93.50 lb/ft,MATL GR API P110,CONN TYP TENARISHYDRIL WEDGE 521,SPCL
Deepwater Warehouse    Fieldwood         65953.A                     DWW YARD C‐VAN 433422‐0     FEATRS W/ (18) BOW SPRING, 25 IN OVER BOW,MN:R3600, BST‐36T                     201560        GC 40 02 Katmai 2   EA                                 2                     17425.71        34851.42

                                                                                                 CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0104927‐QP0003 A,CASNG SZ 17.875
                                                                                                 IN,WT 93.50 lb/ft,MATL GR API P110,CONN TYP TENARISHYDRIL WEDGE 521,SPCL
Deepwater Warehouse    Fieldwood         65953.A                      DWW‐YARD‐C‐VAN 045905      FEATRS W/ (18) BOW SPRING, 25 IN OVER BOW,MN:R3600, BST‐36T                     201560        GC 40 02 Katmai 2   EA                                 3                     17425.71        52277.13




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      Facility        Facility Owner   Item Number     Serial No.             Location            Item Description                                                            Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value        WI% Net Value

                                                                                                  CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0101433‐QP0003 A,CASNG SZ 11.875
                                                                                                  IN,WT 71.80 lb/ft,MATL GR API Q125,CONN TYP TENARISHYDRIL WEDGE 523,SPCL
Deepwater Warehouse    Fieldwood         65955.A                             BW‐AREA 3            FEATRS W/ (12) BOW SPRING, 16.750 IN OVER BOW,MN:R3600, BST‐25B                201560        GC 40 02 Katmai 2    EA                                 6                         8540           51240

                                                                     DWW‐YARD‐C‐VAN 968233‐ CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0101433‐QP0003 A,CASNG SZ 11.875
                                                                    Scrapped and sold to Louisiana IN,WT 71.80 lb/ft,MATL GR API Q125,CONN TYP TENARISHYDRIL WEDGE 523,SPCL
Deepwater Warehouse    Fieldwood         65955.A                           Scrap‐03/19/19          FEATRS W/ (12) BOW SPRING, 16.750 IN OVER BOW,MN:R3600, BST‐25B               201560        GC 40 02 Katmai 2    EA                                 0                         8540                  0

                                                                                                  CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0108364,TYP R3600,CASNG SZ 10.125
                                                                       DWW‐YARD C‐VAN HJCU‐       IN,WT 79.22 LB/FT,MATL GR API Q125,CONN TYP VAM SLIJ‐II,SPCL FEATRS W/
Deepwater Warehouse    Fieldwood         65956.A                            1481372               MINIMUM YIELD STRENGTH: 135000, 16.625 IN OVER BOW,MN:R3600, BST‐33B           201560        GC 40 02 Katmai 2    EA                                 6                       7282.86       43697.16

                                                                                                    METER, FLOW;MFR:SMITH METER,PN:FE‐8016,TYP POSITIVE                                        MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         66085.A                               BW‐R6‐2              DISPLACEMENT,DSGN RTNG CL 150,SZ 4 IN,CONN TYP FLANGED RF,MN:F4‐S3           142679         DEVELOPMENT         EA                                 1                     28703.26        28703.26
                                                                                                    COLLAR, FLOAT;MFR:WEATHERFORD,PN:L49ANLQH523Q12A001,CASNG OD 11‐
                                                                                                    7/8 IN,CASNG WT 71.8#,MATL GR Q125,CONN TYP HYD‐
Deepwater Warehouse    Fieldwood         66204.A                              BW‐AREA 3             523,MFR:WEATHERFORD,MN:L49AN                                                 201560        GC 40 02 Katmai 2    EA                                 2                        14817           29634
                                                                                                    COLLAR, FLOAT;MFR:WEATHERFORD,PN:L49AXLQH523Q12A001,TYP SINGLE
                                                                                                    LARGE BORE FLOW ACTIVATED ALUMINUM FLAPPER VALVE,CASNG OD 11‐7/8
Deepwater Warehouse    Fieldwood         66206.A                              BW‐AREA 3             IN,CASNG WT 71.8 lb/ft,MATL GR Q125,CONN TYP HYD 523                         201560        GC 40 02 Katmai 2    EA                                 2                        15072           30144
                                                                                                    COLLAR, FLOAT;MFR:WEATHERFORD,PN:L49ANKCSLI2B13A001,TYP SINGLE LARGE
                                                                       DWW‐YARD C‐VAN HJCU‐         BORE FLOW ACTIVATED ALUMINUM FLAPPER VALVE,CASNG OD 10‐1/8 IN,CASNG
Deepwater Warehouse    Fieldwood         66211.A                               1481372              WT 79.22 lb/ft,MATL GR Q125,CONN TYP SLIJ‐II                                 201560        GC 40 02 Katmai 2    EA                                 2                        10476           20952
                                                                                                    COLLAR, FLOAT;MFR:WEATHERFORD,PN:L49AXKCSLI2B13A001,TYP SINGLE LARGE
                                                                                                    BORE FLOW ACTIVATED ALUMINUM FLAPPER VALVE,CASNG OD 10‐1/8 IN,CASNG
Deepwater Warehouse    Fieldwood         66212.A                              BW‐AREA 3             WT 79.22 lb/ft,MATL GR Q125,CONN TYP SLIJ‐II                                 201560        GC 40 02 Katmai 2    EA                                 1                        10730           10730
                                                                                                    COLLAR, FLOAT;MFR:WEATHERFORD,PN:L49AXKCSLI2B13A001,TYP SINGLE LARGE
                                                                       DWW‐YARD C‐VAN HJCU‐         BORE FLOW ACTIVATED ALUMINUM FLAPPER VALVE,CASNG OD 10‐1/8 IN,CASNG
Deepwater Warehouse    Fieldwood         66212.A                               1481372              WT 79.22 lb/ft,MATL GR Q125,CONN TYP SLIJ‐II                                 201560         GC 40 02 Katmai 2   EA                                 1                        10730           10730
                                                                                                    KIT;MFR:FMC TECHNOLOGIES,PN:P2000054824,TYP WIRELINE PLUG REDRESS,CL                       MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         66227.A                                PR‐R2‐1             15000 PSI                                                                    140528            LONG LEAD        EA                                 0                     28554.33                  0
                                                                                                    KIT;MFR:FMC TECHNOLOGIES,PN:P2000054317,TYP WIRELINE PLUG REDRESS,CL                       MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         66228.A                                PR‐R1‐1             15000 PSI                                                                    140528            LONG LEAD        EA                                 0                     34590.75                  0
                                                                    DWW‐YARD‐C‐VAN CCLU 667229‐ CENTRALIZER;MFR:HALLIBURTON,PN:102528668,TYP UROS,ID 7‐3/4 IN,HOLE SZ 9‐                       MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         66955.A                                   9                1/2 IN                                                                       203389                DRL          EA                                48                        260.02       12480.96
                                                                    DWW‐YARD‐C‐VAN CCLU 667229‐ COLLAR, STOP;MFR:HALLIBURTON,PN:102607903,TYP ARC SLIM, SLIP ON, ACE                           MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         66956.A                                   9                RATCHET,DIM 7‐3/4 IN                                                         203389                DRL          EA                                96                        594.72       57093.12
                                                                                                    SCREW, SET;MFR:FMC TECHNOLOGIES,PN:DP‐79‐0532,HD STYL HEX SOCKET                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         66962.A                                MR‐4‐C              DRIVE,NOM THD DIA 0.375 IN,THD 16UNC‐2A/3A,THD LG 0.75 IN                    140528            LONG LEAD        EA                                 0                         99.03                 0
                                                                                                    SCREW, SET;MFR:FMC TECHNOLOGIES,PN:P143307,HD STYL HEX SOCKET                              MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         66963.A                                MR‐4‐C              DRIVE,NOM THD DIA 0.375 IN,THD 16UNC‐2A/3A,THD LG 0.88 IN                    140528            LONG LEAD        EA                                 0                         99.36                 0
                                                                                                    SCREW, SET;MFR:FMC TECHNOLOGIES,PN:P143497,HD STYL HEX SOCKET                              MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         66964.A                                MR‐4‐C              DRIVE,NOM THD DIA 0.375 IN,THD 16UNC‐2A/3A,THD LG 0.5 IN                     140528            LONG LEAD        EA                                 0                         66.26                 0
                                                                                                    POSITIONER, VALVE;MFR:CORTEC,PN:9468NBY2B21200MFR: WESTLOCK,TYP NON
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 INDUCTIVE ROTARY,CONN SZ 3/4 IN,CONN TYP FNPT,SPCL FEATRS                                        MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67273.A                                   9                SWITCHBOX,STD BM2‐Y                                                          139351          EXECUTE AFE        EA                                 3                           865           2595
                                                                    DWW‐YARD‐C‐VAN HJCU 133919                                                                                                  MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67274.A                                   9                KIT, SEAL;MFR:CORTEC,PN:SDV‐0130B,PN:SDV‐0140B,TYP SPARE                     139351          EXECUTE AFE        EA                                 1                         2235            2235
                                                                    DWW‐YARD‐C‐VAN HJCU 133919                                                                                                  MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67275.A                                   9                KIT, SEAL;MFR:CORTEC,PN:SDV‐9060A,PN:SDV‐9060B,TYP SPARE                     139351          EXECUTE AFE        EA                                 1                         2235            2235
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 KIT, VALVE REPAIR;MFR:CORTEC,PN:BN114‐1708700‐3000‐0000‐31PUBB,TYP                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67279.A                                   9                MAJOR                                                                        139351          EXECUTE AFE        EA                                 1                         5895            5895
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 KIT, VALVE REPAIR;MFR:CORTEC,PN:BN182‐1645703‐3000‐0000‐31PUBB,TYP                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67280.A                                   9                MAJOR                                                                        139351          EXECUTE AFE        EA                                 1                         2897            2897
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 KIT, VALVE REPAIR;MFR:CORTEC,PN:BN182‐1702200‐3000‐0000‐31PUBB,TYP                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67281.A                                   9                MAJOR                                                                        139351          EXECUTE AFE        EA                                 1                         5794            5794
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 KIT, SEAL;MFR:CORTEC,PN:SDV‐0130,PN:SDV‐0140,PN:SDV‐0140A,PN:SDV‐                                MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67282.A                                   9                0130D,PN:SDV‐0130A,TYP SPARE                                                 139351          EXECUTE AFE        EA                                 2                           870           1740
                                                                                                    MOTOR;MFR:SUNSOURCE,PN:ADPM5.4X25X5.5K,TYP MOTOR,SPEC 5,500 PSI,
                                                                                                    5.40 GPM, 25 HP460V/60HZ/3PH, 1800 RPM, 120V/60HZ/1PH HEATERS, CSA & UL
Deepwater Warehouse    Fieldwood         67440.A                      DWW‐YARD‐C‐VAN 401592 1 CERT                                                                               203563        Rio Grande Spares    EA                                 1                        22390           22390
                                                                                                    SEPARATOR;MFR:SULZER,PN:9012171,TYP GIRZ CYCLONE INLET DEVICE,MN:MBD‐
                                                                                                    1010/1020,ALL BOLTING AND NITRILE GASKETS, NOZZLE (DIA 12 X LG 62 IN),
                                                                                                    DUPLEX 22015 INCLUDING MALLACHEVRON V30 MIST ELIMINATOR MOTION                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67443.A                              BW‐AREA 2             BAFFLE (OD: 84 IN, MATERIAL: SS 316L)                                        139351          EXECUTE AFE        EA                                 1                        38900           38900
                                                                                                    SEAL, RING;MFR:GRAYLOC,PN:50553N,THK 14 mm,MATL AS AISI 4140,CLR                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         67444.A                                MR‐5‐D              GREEN,SPCL FEATRS MATERIAL: PTFE, CTD                                        142679         DEVELOPMENT         EA                                 1                            63                 63
                                                                                                    SEAL, RING;MFR:GRAYLOC,PN:50553N,THK 14 mm,MATL AS AISI 4140,CLR
Deepwater Warehouse    Fieldwood         67444.A                             MR‐GENERAL             GREEN,SPCL FEATRS MATERIAL: PTFE, CTD                                        203563        Rio Grande Spares    EA                                 2                           63             126
Deepwater Warehouse    Fieldwood         67445.A                             MR‐GENERAL             SEAL, RING;MFR:GRAYLOC,PN:H91993‐1                                           203563        Rio Grande Spares    EA                                 4                         1890            7560
                                                                      DWW‐YARD C‐VAN 968233‐ CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0108636‐QP0003 A,CASNG SZ 7 IN,WT
                                                                     Scarpped and sold to Louisiana 35 PPF,MATL AS,MATL GR P‐110,BOW SZ 13.625 IN,CONN TYP HYD 523,SPCL                        MC 339 SILVERGATE
Deepwater Warehouse    Fieldwood         67452.A                            Scrap‐03/19/19          FEATRS TENARISHYDRIL WEDGE 523; OVER BOW; BTS‐33B (6)                        203389               DRL           EA                                 0                       6287.14                 0
                                                                                                    FLANGE;MFR:CORTEC,PN:BN365‐1625504‐3000‐1,TYP BLIND,DIM 16‐9/16
Deepwater Warehouse    Fieldwood         67455.A                               BW‐R3‐3              IN,MATL AS 4130,OPRTG PRESS 10000 PSI,SPCL FEATRS HP AUTOCLAVE               203563        Rio Grande Spares    EA                                 2                         3055            6110
                                                                                                                                                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67500.A                              MW‐R3‐1             FLYING LEAD;MFR:AKER,PN:BB15‐000778‐25,ELECTRICAL,325 ft,8‐WAY                 141585           LONG LEADS        EA                                 1                        19983           19983
                                                                                                                                                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67501.A                     DWW‐YARD‐C‐VAN 433422 0      FLYING LEAD;MFR:AKER,PN:BB15‐000776‐25,ELECTRICAL,325 ft,4‐WAY                 141585           LONG LEADS        EA                                 0                        18593                  0
                                                                                                                                                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67502.A                              MW‐R5‐2             FLYING LEAD;MFR:AKER,PN:BB15‐000778‐25,ELECTRICAL,30 ft,4‐WAY                  141585           LONG LEADS        EA                                 1                         9153            9153
                                                                                                                                                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67503.A                             DWW‐YARD             FLYING LEAD;MFR:AKER,PN:10221577,LG 100 m,STEEL,8‐LINE, OIE, M1                141585           LONG LEADS        EA                                 1                       111939          111939
                                                                                                                                                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67504.A                             DWW‐YARD             FLYING LEAD;MFR:OCEANEERING,PN:10218351,100 m,STEEL,4‐LINE, OIE M1             141585           LONG LEADS        EA                                 1                       105739          105739
                                                                                                                                                                                               MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         67505.A                             DWW‐YARD             FLYING LEAD;MFR:OCEANEERING,PN:10219046,2‐LINE,STEEL,OIE M1 TO OIE M1          143096        DEVELOPMENT LL       EA                                 1                       122159          122159
                                                                                                                                                                                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67505.A                          DWW‐YARD                FLYING LEAD;MFR:OCEANEERING,PN:10219046,2‐LINE,STEEL,OIE M1 TO OIE M1          141585           LONG LEADS        EA                                 1                        54953           54953
                                                                      DWW‐YARD C‐VAN DNVU‐        CAP;MFR:ODI,PN:10205537,TYP ELECTRICAL CONNECTOR SHORTING,CONN TYP 4‐                        MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67509.B                            2051995               PIN                                                                            141585           LONG LEADS        EA                                15                       4830.75       72461.25




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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                                  Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                                                 SPOOL;MFR:ACADIAN,PN:PC‐853,OD 10 IN,SPEC THUNDER HAWK TOPSIDE,SIZE: 3
                                                                                                 FT‐1 IN X 1 FT‐9.25 IN X 3 FT‐10.5 IN, 3 FLANGE, WEIGHT: 1.372 LBS, WITH 90 DEG                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67512.B                            DWW‐YARD             AND 45 DEG, WOL                                                                      139351         EXECUTE AFE        EA                                 1                         7275            7275
                                                                                                 JUNCTION PLATE, SUBSEA;MFR:OCEANEERING,PN:428798,TYP M1 REMOVABLE J                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67513.B                             MW‐R15‐3            PLATE, HYDRAULIC,MN:IWOCS, 12‐WAY                                                    140528           LONG LEAD        EA                                 1                        37500           37500
                                                                                                 JUNCTION PLATE, SUBSEA;MFR:OCEANEERING,PN:428798,TYP M1 REMOVABLE J                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67513.B                             MW‐R16‐3            PLATE, HYDRAULIC,MN:IWOCS, 12‐WAY                                                    140528           LONG LEAD        EA                                 0                        37500                  0
                                                                                                 JUNCTION PLATE, SUBSEA;MFR:OCEANEERING,PN:428798,TYP M1 REMOVABLE J                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67513.B                             MW‐R15‐2            PLATE, HYDRAULIC,MN:IWOCS, 12‐WAY                                                    140528           LONG LEAD        EA                                 0                        37500                  0
                                                                                                                                                                                                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67514.B                             MW‐R17‐2            PLATE;MFR:OCEANEERING,PN:0428795,TYP M1 REMOVABLE TEST AND FLUSHING                  141585          LONG LEADS        EA                                 1                     33620.25        33620.25
                                                                                                                                                                                                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67515.B                            MR‐GENERAL           JUMPER;MFR:OCEANEERING,PN:0428785,TYP TEST OPTICAL,WITH PIGTAIL                      141585          LONG LEADS        EA                                 2                        19062           38124
                                                                                                 JUMPER;MFR:OCEANEERING,PN:428786,TYP TEST OPTICAL
                                                                                                 RECEPTACLE,MFR:,SERIES/VERSION:8FOSM,MN:HYDRALIGHT,TOP ASSEMBLY,                                   MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67517.A                            MR‐GENERAL           WITH PIGTAIL                                                                         140528          LONG LEAD         EA                                 2                        24036           48072
                                                                                                 CAP;MFR:OCEANEERING,PN:423685,SPCL FEATRS WITH INTENSIFIERS ASSEMBLY,
                                                                                                 M1 LONG TERM PROTECTIVE COVER, INTENSIFERS AUX                                                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67518.B                             MW‐R16‐FL           PLATE,MFR:OCEANEERING,TYPE:LOGIC                                                     140528            LONG LEAD       EA                                 1                    155468.25       155468.25
                                                                                                 PLATE;MFR:OCEANEERING,PN:429318,TYP M2 FIXED T AND F,SPCL FEATRS 27‐                               Dantzler Chemical
Deepwater Warehouse    Fieldwood         67519.B                             MW‐R15‐FL           WAY, 27‐LINE ASSEMBLY                                                                204563             Injection      EA                                 1                       41788.5        41788.5
                                                                                                                                                                                                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67520.B                         DWW‐FRONT YARD          CONNECTOR;MFR:VECTOR,PN:101278‐00MFR: FREUDENBERG,DIM 8 IN                           141585           LONG LEADS       EA                                 1                       177555          177555
Deepwater Warehouse    Fieldwood         67520.B                         DWW‐FRONT YARD          CONNECTOR;MFR:VECTOR,PN:101278‐00MFR: FREUDENBERG,DIM 8 IN                           203563        Rio Grande Spares   EA                                 1                     171028.6        171028.6
                                                                                                 SPOOL;MFR:ACADIAN,PN:PC‐854,ID 8 IN,OD 10 IN,LG 7 FT‐2 IN,SPEC THUNDER
                                                                                                 HAWK TOPSIDE,W/4‐O‐LET, TEE (SIZE: 8 X 4 X 10 IN), ECC RED 10X8 AND 8                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67521.B                            DWW‐YARD             FLANGE, WEIGHT: 2.112 LBS                                                            139351         EXECUTE AFE        EA                                 1                         8985            8985
                                                                                                 SPOOL;MFR:ACADIAN,PN:PC‐854,OD 10 IN,LG 12 FT‐5‐7/8 IN,SPEC THUNDER                                MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67523.B                            DWW‐YARD             HAWK TOPSIDE,W/2 FLANGE, WEIGHT: 1.804 LBS                                           139351         EXECUTE AFE        EA                                 1                         6315            6315

                                                                                                SPOOL;MFR:ACADIAN,PN:PC‐856,OD 8 IN,SPEC THUNDER HAWK TOPSIDE,SIZE: 1                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67528.B                            DWW‐YARD            FT‐6‐11/16 IN X 2 FT‐9‐9/16 IN, W/2‐90 DEG, 2 FLANGE, WEIGHT: 708 LBS                 139351         EXECUTE AFE        EA                                 1                         5925            5925
                                                                                                SPOOL;MFR:ACADIAN,PN:PC‐857,ID 4 IN,OD 8 IN,SPEC THUNDER HAWK                                       MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67530.B                            DWW‐YARD            TOPSIDE,W/4‐90 DEG, TEE AND 3‐FLANGE, WEIGHT: 844 LBS                                 139351         EXECUTE AFE        EA                                 1                        4087.5         4087.5
                                                                                                SPOOL;MFR:ACADIAN,PN:PC‐861,OD 8 IN,LG 6 FT‐11‐1/2 IN,SPEC THUNDER HAWK                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67531.B                            DWW‐YARD            TOPSIDE,W/O‐LET, 3 FLANGE, WEIGHT: 864 LBS                                            139351         EXECUTE AFE        EA                                 1                        6082.5         6082.5
                                                                                                SPOOL;MFR:ACADIAN,PN:PC‐858,ID 4 IN,LG 2 FT‐1‐5/16 IN,SPEC THUNDER HAWK                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67532.B                             BW‐R6‐2            TOPSIDE,W/2 FLANGE, WEIGHT: 150 LBS                                                   139351         EXECUTE AFE        EA                                 1                         2325            2325
                                                                                                PLATE;MFR:OCEANEERING,PN:0429317,TYP M2 REMOVABLE TEST AND                                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67535.A                            MW‐R15‐2            FLUSHING,SPCL FEATRS 27 WAY, 27 LINE ASSEMBLY                                         141585         LONG LEADS         EA                                 2                        59735          119470
                                                                                                VALVE, BALL;MFR:EDGEN MURRAY,PN:EBF02,OPRTD 2 HANDLE,CONN 1 SZ 10
                                                                                                IN,CONN 1 TYP RTJ ENDS,CL 900 lb,PORT TYP FULL,BDY MATL CS,TRIM ENP,SPCL
                                                                    DWW YARD C‐VAN HLXU 616220‐ FEATRS TRUNNION MOUNTED,MATL SPEC ASTM A105N,MFR:KF VALVE,MN:XJ‐
Deepwater Warehouse    Fieldwood         67536.A                                6               700                                                                                   203563        Rio Grande Spares   EA                                 1                        14488           14488
                                                                                                CONNECTOR, COMMUNICATION;MFR:AKER,PN:10180143,CNCTR TYP RJ45 TO DB‐
Deepwater Warehouse    Fieldwood         67537.A                     SMALL PARTS ROOM FLOOR 9 MODEM ADAPTER                                                                           203563        Rio Grande Spares   EA                                 0                          7.81                 0
                                                                                                CABLE ASSEMBLY;MFR:AKER,PN:10155419,TERM TYP DB37, MALE TO FEMALE,LG
Deepwater Warehouse    Fieldwood         67538.A                     SMALL PARTS ROOM FLOOR 5 ft                                                                                      203563        Rio Grande Spares   EA                                 0                         59.91                 0
                                                                                                CABLE ASSEMBLY;MFR:AKER,PN:10155480,TERM TYP DB37, MALE TO FEMALE
Deepwater Warehouse    Fieldwood         67539.A                     SMALL PARTS ROOM FLOOR MAT,LG 10 ft                                                                              203563        Rio Grande Spares   EA                                 0                         72.81                 0
                                                                                                PLATE;MFR:OCEANEERING,PN:0428795,TYP M1 REMOVABLE TEST AND                                          MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67543.A                            MW‐R16‐1            FLUSHING,SPCL FEATRS 14‐WAY, 14 LINE ASSEMBLY                                         139057         DEVELOPMENT        EA                                 0                        44827                  0
                                                                                                PLATE;MFR:OCEANEERING,PN:0428794,TYP M1 FIXED TEST AND FLUSHING,SPCL                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67544.A                            MW‐R16‐1            FEATRS 14‐WAY, 14‐LINE ASSEMBLY                                                       139057         DEVELOPMENT        EA                                 3                        34780          104340
                                                                                                PLATE;MFR:OCEANEERING,PN:0440488,TYP M1 FIXED TEST AND FLUSHING,SPCL                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67544.A                             MW‐16‐2            FEATRS 14‐WAY, 14‐LINE ASSEMBLY                                                       139057         DEVELOPMENT        EA                                 1                        34780           34780
                                                                                                PLATE;MFR:OCEANEERING,PN:0428794,TYP M1 FIXED TEST AND FLUSHING,SPCL                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67544.B                            MW‐R16‐1            FEATRS 14‐WAY, 14‐LINE ASSEMBLY                                                       139057         DEVELOPMENT        EA                                 1                        26085           26085
                                                                                                                                                                                                    MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67545.A                             MW‐R17‐3            LOGIC CAP;MFR:OCEANEERING,PN:428777,TYP M1,SPCL FEATRS 14‐WAY 14‐LINE                139057         DEVELOPMENT        EA                                 1                        45427           45427
                                                                                                 COVER;MFR:OCEANEERING,PN:0428790,TYP 4 WAY ELECTRICAL LTPC
                                                                                                 ODI/NAUTILUS ELECTRICAL LONG TERM PROTECTIVE,SPCL FEATRS RECEPTACLE                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67546.A                             MW‐R16‐1            COMPENSATED W/LOOPS 1‐3 AND 2‐4                                                      139057         DEVELOPMENT        EA                                 3                         4202           12606
                                                                                                 FLYING LEAD;MFR:OCEANEERING,PN:0434791,4 WAY ROV ELECTRICAL,WITH                                   MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67547.A                              MR‐3‐D             CIRCUIT LOOPS 1‐3 AND 2‐4 TITANIUM                                                   139057         DEVELOPMENT        EA                                 3                         3778           11334
                                                                                                 O RING;MFR:CORTEC,PN:BN485‐369‐90‐4900‐1,PN:DASH 369,MATL PC BUNA,OD 8‐
                                                                                                 3/8 IN,ID 8 IN,WD 3/16 IN,SHOR HRDNSS DURO 90,CLR BLACK,TEMP RNGE ‐15 TO
Deepwater Warehouse    Fieldwood         67548.A                             MW‐10‐FL            400 DEG F,SPCL FEATRS PER SM 49                                                      203563        Rio Grande Spares   EA                                 3                         8.125         24.375
                                                                                                 SEAL, OIL;MFR:CORTEC,PN:BN580‐1612700‐9083‐1,TYP LIP,ID 6‐3/8 IN,OD 8
Deepwater Warehouse    Fieldwood         67549.A                             MW‐10‐FL            IN,SPCL FEATRS FACE; 10K,REF:LD063710                                                203563        Rio Grande Spares   EA                                 2                           174            348

                                                                                                 SCREW, CAP;MFR:CORTEC,PN:BN575‐F225200‐27MX‐1,HEAD FLAT,DIA 1‐3/8
Deepwater Warehouse    Fieldwood         67550.A                              BW‐R3‐3            IN,THD UNC 8 TPI,LG 6‐1/2 IN,SURF TRTMNT XYLAN COATED,SPCL FEATRS LB7                203563        Rio Grande Spares   EA                                32                           142           4544
                                                                                                 CABLE;MFR:AKER,PN:10219329,TYP ENTHERNET PATCH,LG 10
Deepwater Warehouse    Fieldwood         67558.A                     SMALL PARTS ROOM FLOOR      FT,MFR:AKER,MN:CAT6/TIA568B                                                          203563        Rio Grande Spares   EA                                 0                         18.75                 0
                                                                                                 CABLE;MFR:AKER,PN:10219510,TYP ENTHERNET PATCH,LG 15
Deepwater Warehouse    Fieldwood         67559.A                     SMALL PARTS ROOM FLOOR      FT,MFR:AKER,MN:CAT6/TIA568B                                                          203563        Rio Grande Spares   EA                                 0                         21.25                 0
Deepwater Warehouse    Fieldwood         67560.A                     SMALL PARTS ROOM FLOOR      CABLE;MFR:AKER,PN:10076045,TYP SERIAL PORTSERVER                                     203563        Rio Grande Spares   EA                                 0                         48.75                 0

Deepwater Warehouse    Fieldwood         67561.A                     SMALL PARTS ROOM FLOOR      CABLE;MFR:AKER,PN:10177068,TYP USB,LG 6 ft,TERM TYP A MALE TO A MALE                 203563        Rio Grande Spares   EA                                 0                          7.81                 0
Deepwater Warehouse    Fieldwood         67563.A                     SMALL PARTS ROOM FLOOR      CABLE;MFR:AKER,PN:BB15‐000782‐54,MN:1492‐A,025 TO B CABLE ASS                        203563        Rio Grande Spares   EA                                 0                         386.7                 0
                                                                                                 CABLE;MFR:AKER,PN:BB15‐000782‐55,SPEC 1492‐CABLE025Z,205M
Deepwater Warehouse    Fieldwood         67564.A                     SMALL PARTS ROOM FLOOR      CABLE,MN:1492‐CABLE025Z                                                              203563        Rio Grande Spares   EA                                 0                        369.25                 0
Deepwater Warehouse    Fieldwood         67565.A                     SMALL PARTS ROOM FLOOR      CABLE ASSEMBLY;MFR:AKER,PN:BB14‐000634‐41,TYP MODEM SIGNAL                           203563        Rio Grande Spares   EA                                 0                         507.5                 0
                                                                                                 CABLE;MFR:AKER,PN:10164394,SPEC BNC M TO M,
Deepwater Warehouse    Fieldwood         67567.A                     SMALL PARTS ROOM FLOOR      750OHMS,MFR:AKER,MN:RG59B/U                                                          203563        Rio Grande Spares   EA                                 0                         25.19                 0
Deepwater Warehouse    Fieldwood         67568.A                     SMALL PARTS ROOM FLOOR      CONVERTER;MFR:AKER,PN:10144574,TYP ETHERNET AND OPTICAL,MN:RGD                       203563        Rio Grande Spares   EA                                 0                        243.75                 0
Deepwater Warehouse    Fieldwood         67569.A                     SMALL PARTS ROOM FLOOR      CABLE;MFR:AKER,PN:10077781,TYP SERVSWITCH,LG 10 FT                                   203563        Rio Grande Spares   EA                                 0                         26.25                 0
                                                                                                 CABLE;MFR:AKER,PN:310219329,TYP ENTHERNET PATCH,LG 10
Deepwater Warehouse    Fieldwood         67570.A                     SMALL PARTS ROOM FLOOR      FT,MFR:AKER,MN:CAT6/TIA568B                                                          203563        Rio Grande Spares   EA                                 0                         18.75                 0
                                                                                                 FLYING LEAD;MFR:OCEANEERING,PN:0436759,SUBSEA UMBILICAL TERMINATION                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         67571.A                             MW‐R16‐2            ASSEMBLY,STEEL,REMOVABLE M1 SFL PARKING STAB                                         143096        DEVELOPMENT LL      EA                                 1                        44141           44141
                                                                                                 ASSEMBLY;TYP TREE FORGING BODY,MATL N/A,COMPRISING P1000109121,                                    MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67591.A                             BW‐AREA 1           P1000109116, P1000130507, P1000109111                                                139057         DEVELOPMENT        EA                                 1                      1200000         1200000




                                                                                                                                                           19
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      Facility        Facility Owner   Item Number     Serial No.           Location            Item Description                                                            Project Number    Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                       DWW‐YARD‐C‐VAN CCLU      RISER;MFR:OIL STATES,PN:PD16909,TYP STEEL CATENARY,SPCL FEATRS FLEXJOINT                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67599.A                            6672299             MOCK‐UP,APPLI THUNDER HAWK SCR                                                 141585         LONG LEADS         EA                                 1                        99403           99403
                                                                                                KIT, REPAIR;MFR:CORTEC,PN:BN445‐1805600‐5390‐17CA‐17CA‐3,TYP
Deepwater Warehouse    Fieldwood         67662.A                            BW‐R2‐3             MAJOR,COMPRISING NA,SZ NA,APPLI NA                                             203563        Rio Grande Spares   EA                                 2                        19822           39644
                                                                      DWW‐YARD C‐VAN DNVU‐      PLUG, ELECTRICAL;MFR:ODI,PN:10192706,TYP EFL TEST,POLES 8‐PIN,SPCL FEATRS                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67835.B                            2051995             CONNECTION: FEMALE                                                             141585           LONG LEADS       EA                                 2                       1661.25         3322.5
                                                                      DWW‐YARD C‐VAN DNVU‐      PLUG, ELECTRICAL;MFR:ODI,PN:BB15‐000680‐80,TYP EFL TEST,POLES 4‐PIN,SPCL                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67836.B                            2051995             FEATRS CONNECTION: MALE                                                        141585           LONG LEADS       EA                                 1                        906.75         906.75
                                                                                                                                                                                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         67837.B                             MW‐R15‐2           PLATE;MFR:AKER,PN:10219137,TYP 4‐WAY FIXED FLUSHING                            143096        DEVELOPMENT LL      EA                                 1                     10818.75        10818.75
                                                                                                BEARING;MFR:RTI ENERGY                                                                       MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         67838.A                          DWW‐YARD              SERVICES,PN:129310,BRAND:ORKOT,BRAND:UNKNOWN                                   140528            LONG LEAD       EA                                 4                       2196.45         8785.8
                                                                      DWW‐YARD C‐VAN DNVU‐      CONNECTOR, ELECTRICAL;MFR:ODI,PN:BB15‐000680‐78,TYP TEST,CONN TYP                            MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67841.B                            2051995             MALE,SPCL FEATRS PIN CONFIGURATION: 4‐PIN                                      141585           LONG LEADS       EA                                 8                         1467           11736
                                                                      DWW‐YARD C‐VAN DNVU‐      CONNECTOR, ELECTRICAL;MFR:ODI,PN:BB15‐000686‐35,TYP TEST,CONN TYP                            MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67842.B                            2051995             MALE,SPCL FEATRS PIN CONFIGURATION: 8‐PIN                                      141585           LONG LEADS       EA                                 4                         2199            8796
                                                                                                CONNECTOR, ELECTRICAL;MFR:ODI,PN:10081132,TYP BULKHEAD,CONN TYP                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67843.B                            MW‐AREA 1           FEMALE,SPCL FEATRS PIN CONFIGURATION: 4‐PIN                                    141585           LONG LEADS       EA                                 2                       1661.25         3322.5
                                                                                                PLUG, ELECTRICAL;MFR:ODI,PN:BB15‐000680‐76,TYP EFL TEST,POLES 4‐PIN,SPCL                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67844.B                            MR‐5‐B              FEATRS CONNECTION: FEMALE                                                      141585           LONG LEADS       EA                                 4                       1598.25           6393
                                                                      DWW‐YARD C‐VAN DNVU‐      PLUG, ELECTRICAL;MFR:ODI,PN:BB15‐000686‐43,TYP EFL TEST,POLES 8‐PIN,SPCL                     MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67845.B                            2051995             FEATRS CONNECTION: MALE                                                        141585           LONG LEADS       EA                                 2                       1730.25         3460.5
Deepwater Warehouse    Fieldwood         67913.A                          MW‐AREA 4             OUTBOARD PLATE, 14 WAY. MFR: OCEANEERING, PN: 0428798                                             GUNFLINT       EA                                 1                             0              0
                                                                      DWW‐YARD C‐VAN DNVU‐      PLUG, ELECTRICAL;MFR:ODI,PN:BB15‐695‐22‐REN,TYP EFL TEST,POLES 6‐PIN,SPCL                    MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         67846.B                            2051995             FEATRS CONNECTION: FEMALE                                                      141585           LONG LEADS       EA                                 1                       1371.75        1371.75
                                                                                                CENTRALIZER, SUB;MFR:HALLIBURTON,PN:0500‐0612S,TYP SLIDER,CASNG SZ 5
Deepwater Warehouse    Fieldwood         68035.A                      DWW‐YARD C‐VAN 609785     IN,WT 5.7 lb,ID 5.12 IN,OD 6‐1/2 IN,LG 12.4 IN,HOLE SZ 6‐1/2 IN,STD S2         201560        GC 40 02 Katmai 2   EA                                45                        100.44         4519.8
                                                                                                COLLAR;MFR:RTI ENERGY SERVICES,PN:129990,TYP SPACE,DIM 2                                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68051.B                             BW‐AREA 3          ft,S/N:200013641‐001                                                           140528           LONG LEAD        EA                                 1                        16875           16875
                                                                                                COLLAR;MFR:RTI ENERGY SERVICES,PN:129989,TYP SPACE,DIM 1                                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68057.B                             BW‐AREA 3          ft,S/N:200013640‐001                                                           140528           LONG LEAD        EA                                 1                        13800           13800
                                                                                                TOOL;MFR:TRENDSETTER ENG.,PN:TEI‐100796‐00,TYP DRAWDOWN,SPCL FEATRS
Deepwater Warehouse    Fieldwood         68058.B                     DWW‐YARD‐C‐VAN 401592 1    TEI,S/N:966‐9013 ,S/N:966‐9014                                                 203563        Rio Grande Spares   EA                                 2                        19125           38250
                                                                                                                                                                                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68059.B                     DWW‐YARD C‐VAN 2051995     CONNECTOR, ELECTRICAL;MFR:AKER,PN:BB15‐000680‐81,TYP ODI TEST                  141585           LONG LEADS       EA                                 0                        974.25                 0
                                                                                                PLATE;MFR:AKER,PN:G02‐4518‐13‐33074,SPCL FEATRS WITH BEND (45 DEGREE),                       MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68060.B                            MW‐R16‐FL           3GR HUB,BRAND:GRAYLOC,BRAND:UNKNOWN,MN:UH550                                   141585           LONG LEADS       EA                                 3                     48530.25       145590.75
                                                                                                                                                                                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68061.B                            MW‐R16‐FL           PLATE;MFR:AKER,PN:G02‐4518‐13‐33071,TYP TEST,MN:UH550                          141585           LONG LEADS       EA                                 1                       39448.5        39448.5
                                                                                                                                                                                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68064.A                         MW‐R5‐2/MW‐R5‐3        FLYING LEAD;MFR:AKER,PN:10243498,ELECTRICAL,LG 325 ft,APD                      141585           LONG LEADS       EA                                 2                        94485          188970
                                                                                                                                                                                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         68107.A                             MW‐R10‐2           RCPTCL;MFR:SKOFLO,PN:100257,TYP DUAL CORE                                      142679         DEVELOPMENT        EA                                 1                        30240           30240
                                                                                                RING;TYP CENTRALIZER,ID 15 IN,OD 20.505 IN,WD N/A,DIM OAL 8 IN,MATL CS                       MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68253.A                            DWW‐YARD            ASTM A707 L5,MATL GR 65KSI SMYS,DSGN RTNG 330 lb                               140528            LONG LEAD       EA                                 1                         2975            2975
                                                                                                CONE, BEARING;TYP CENTRALIZER,ID ID 17 X OD 23 X LG 18 IN,WD N/A,MATL CS                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68254.A                            DWW‐YARD            ASTM A707 L5 GR 65KSI SMYS,SPEC WEIGHT: 451 LBS                                140528            LONG LEAD       EA                                 2                       4638.75         9277.5
                                                                                                SLEEVE;TYP CENTRALIZER,DIM ID 21.75 X OD 23 X LG 18 IN,MATL CS ASTM A707                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68255.A                            DWW‐YARD            L5 GR 65KSI SMYS,CPCTY 213 lb,APPLI N/A                                        140528            LONG LEAD       EA                                 1                        77388           77388
                                                                                                TOOL;MFR: FREUDENBERG,TYP CLEANING,STYL CONTINGENCY WINDOW HUB,CLR
                                                                                                BLACK,SPCL FEATRS OPERATOR: ROV MANIPULATOR OPERATED, WITH ORANGE
                                                                      DWW‐YARD C‐VAN DNVU‐      HANDLE,APPLI OPTIMA SUBSEA CONNECTOR ASSEMBLY (SIZE: 8
Deepwater Warehouse    Fieldwood         68304.B                            2051995             IN),BRAND:VECTOR,BRAND:UNKNOWN                                                 203563        Rio Grande Spares   EA                                 2                       11332.8        22665.6
                                                                                                TOOL;MFR: FREUDENBERG,TYP SEAL CHANGEOUT,SPCL FEATRS OPERATOR: ROV
                                                                      DWW‐YARD C‐VAN DNVU‐      HYDRAULICALLY OPERATED,APPLI OPTIMA SUBSEA CONNECTOR ASSEMBLY (SIZE:
Deepwater Warehouse    Fieldwood         68305.B                            2051995             8 IN),BRAND:VECTOR,BRAND:UNKNOWN                                               203563        Rio Grande Spares   EA                                 2                     13599.33        27198.66
                                                                                                SEAL, RING;MFR: FREUDENBERG,TYP N/A,ID N/A,OD N/A,THK N/A,MATL SILVER
                                                                                                COATED,APPLI OPTIMA SUBSEA CONNECTOR ASSEMBLY (SIZE: 8
Deepwater Warehouse    Fieldwood         68307.B                              MR‐2‐D            IN),BRAND:VECTOR,BRAND:UNKNOWN                                                 203563        Rio Grande Spares   EA                                11                         5496           60456
                                                                                                CAP;MFR:AKER,PN:G02‐4518‐13‐33073,TYP COMPENSATED                                            MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68308.B                            MW‐R16‐FL           PRESSURE,BRAND:UNITECH,BRAND:UNKNOWN                                           141585           LONG LEADS       EA                                 1                       43738.5        43738.5
                                                                                                FLANGE;TYP PIPE, BLIND,DIM NA,CONN SZ NA,CONN TYP NA,MATL STAINLESS
                                                                                                STEAL,MATL GR NA,OPRTG PRESS ANSI 900 LBS,STYL SPECTACLE,SPEC 8 IN OD,                       MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68375.A                           MW‐R17‐3             RTJ                                                                            139351          EXECUTE AFE       EA                                 1                         2712            2712
                                                                       DWW‐YARD‐C‐VAN CPIU                                                                                                   MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         68444.B                          03011222G1            FLYING LEAD;MFR:AKER,PN:10243958,6‐WAY / 4‐WAY ELECTRICAL,LG 325 ft            143096        DEVELOPMENT LL      EA                                 0                        24366                  0
                                                                                                                                                                                             MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         68445.B                             MW‐R8‐2           FLYING LEAD;MFR:AKER,PN:10242630,6‐WAY / 4‐WAY ELECTRICAL,LG 200 ft             143096        DEVELOPMENT LL      EA                                 0                        24366                  0
                                                                                               KIT, VALVE REPAIR;MFR:CORTEC,PN:BN445‐1775200‐1M90‐17CA‐17CA‐3,VLV SZ 1‐
                                                                    DWW‐YARD‐C‐VAN HJCU 133919 13/16 IN,OPRTG PRESS 10000 PSI,MATL ELASTOMER,COMPRISING LIP SEALS,                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68523.A                                9              WEATHER SEALS, BALL AND SEAT SET                                                139351         EXECUTE AFE        EA                                 1                         4109            4109

                                                                                                SWAGE, CASING;NOM SZ 22 IN,WALL THK 1.25 IN,TOP CONN WT 277.04 lb,TOP
                                                                                                CONN SZ 22 IN,TOP CONN TYP H90DM/MT PIN,BOT CONN WT N/A,BOT CONN SZ
Deepwater Warehouse    Fieldwood         68558.A                             BW‐AREA 2          N/A,BOT CONN TYP 1502 WECO,MATL STEEL,MATL GR X80,LG N/A                       201560        GC 40 02 Katmai 2   EA                                 1                       2080.81        2080.81
                                                                                                PUMP;MFR:PROSERV,PN:ADPM2X15X10K,TYP MOTOR,SPEC 10,000 PSI, 2.00
                                                                                                GPM, 15HP 460V/60HZ/3PH, 1800 RPM, 120V/60HZ/1PH HEATERS, CSA AND UL
Deepwater Warehouse    Fieldwood         68559.A                     DWW‐YARD‐C‐VAN 401592 1    CERT                                                                           203563        Rio Grande Spares   EA                                 0                        20508                  0
                                                                                                PUMP;MFR:PROSERV,PN:ADPM10X2X75H,TYP MOTOR,SPEC 75 PSI, 10.00 GPM, 2
                                                                                                HP 460V/60HZ/3PH, 3600 RPM, 120V/60HZ/1PH HEATERS, SIX‐STAGE GOULD
Deepwater Warehouse    Fieldwood         68561.A                     DWW‐YARD‐C‐VAN 401592 1    PUMP, CSA AND UL CERT                                                          203563        Rio Grande Spares   EA                                 0                         4125                  0
                                                                                                CONNECTOR, ELECTRICAL;MFR:ODI,PN:BB15000686‐67,SPEC ELECTRICAL                               MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68566.B                     DWW‐YARD C‐VAN 2051995     CONNECTOR FEMALE LONG TERM COVER; 4‐PIN                                        141585           LONG LEADS       EA                                 6                       3936.75        23620.5

                                                                                                TESTER;TYP SERIMAX,SZ NA,CONTNR TYP CRATE W/ WELDS FROM INSPECTION,
                                                                                                8.625" OD X 1.344 WT,APPLI TESTING USE ONLY GUNFLINT, TENARIS LINE PIPE,                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68584.E                     DWW‐YARD‐C‐VAN 401592 1    SERIMAX TEST WELDS,BRAND:TENARIS,BRAND:SERIMAX                                 139057         DEVELOPMENT        EA                                 1                          0.01            0.01
                                                                                                                                                                                             MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68685.A                              MR‐2‐E            BODY;MFR:FMC,PN:P1000026071,TYP SEAL,DUMMY TEST EQUIPMENT, USED                140528          LONG LEAD         EA                                 1                        11150           11150
                                                                                                                                                                                             MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68686.A                              MR‐2‐A            SEAL;MFR:FMC,PN:P161582,TYP S,OD 12.879/12.801 IN                              140528          LONG LEAD         EA                                 2                        658.21        1316.42
                                                                                                                                                                                             MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68687.A                              MR‐2‐A            SEAL;MFR:FMC,PN:P1000098349,TYP S,OD 12.487/12.413 IN,THK 0.33 IN              139057         DEVELOPMENT        EA                                 2                         1178            2356




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      Facility        Facility Owner   Item Number     Serial No.             Location         Item Description                                                            Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value

                                                                                               SEAL;MFR:FMC,PN:DP‐18‐6253,MATL METAL,SPCL FEATRS SBMS‐11 BODY, F/SIZE:                      MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68688.A                              MR‐2‐F           4‐1/2 IN, PRESSURE: 10 K H,SPEC OBSOLETE AND REPLACED BY P1000151418, ME       140528           LONG LEAD        EA                                 3                         9087              27261
                                                                                               SEAL;MFR:FMC,PN:P1000009840,MATL METAL,SPCL FEATRS BODY DESIGN: SBMS‐                        MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68689.A                              MR‐3‐F           II,APPLI 5‐15K                                                                 140528           LONG LEAD        EA                                 3                        12116              36348
                                                                                                                                                                                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68690.A                              MR‐2‐A           SEAL;MFR:FMC,PN:P182168,TYP S,OD 14.794/14.706 IN,THK 0.3 IN,LG 0.516 IN       140528           LONG LEAD        EA                                 1                           902               902
                                                                                                                                                                                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68691.A                              MR‐2‐A           SEAL;MFR:FMC,PN:P1000009589,TYP S, B,OD 16.755/16.655 IN                       140528           LONG LEAD        EA                                 2                         1085               2170
                                                                                               TRANSFORMER;MFR:FMC,PN:215127MFR: HAMMOND,TYP DRY,PH QTY                                     MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68692.A                            MR‐GENERAL         1,REF:BB00701845                                                               140528           LONG LEAD        EA                                 1                       5527.88           5527.88
                                                                                                                                                                                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68694.A                              MR‐2‐A           SEAL;MFR:FMC,PN:P1000009444,TYP S, B                                           140528           LONG LEAD        EA                                 1                           926               926
                                                                                               FUNNEL;MFR:AKER,PN:4500624158‐20‐002,TYP GUIDE ASSEMBLY,DIM OD 8                             MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         68696.B                             MW‐R6‐1           IN,APPLI PIG DETECTOR,REF:10217747, REF:10223677                               141585          LONG LEADS        EA                                 1                         4671               4671
                                                                                               KIT, VALVE REPAIR;MFR:WHITCO,PN:4INBBF31,VLV SZ 4 IN,OPRTG PRESS CL
Deepwater Warehouse    Fieldwood         68698.A                     DWW‐YARD‐C‐VAN 401592 1   300,APPLI BALL VALVE                                                           203563        Rio Grande Spares   EA                                 1                        3647.6            3647.6
                                                                                               KIT;MFR:FMC,PN:P2000054316,TYP REDRESS,APPLI SSP WELLHEAD PLUG (SIZE:                        MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68699.A                            MR‐GENERAL         4.673 IN),SPEC OEM SPARE PART, 15K, SUPPLIED BY HALLIBU                        140528           LONG LEAD        EA                                 0                       16460.3                    0
                                                                                                                                                                                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68700.A                              MR‐2‐F           BODY;MFR:FMC,PN:P1000026073,TYP SEAL,DUMMY TEST EQUIPMENT, USED                140528           LONG LEAD        EA                                 1                        11721              11721
                                                                                                                                                                                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68701.A                              MR‐2‐F           BODY;MFR:FMC,PN:P1000026074,TYP SEAL,DUMMY TEST EQUIPMENT, USED                140528           LONG LEAD        EA                                 1                        11191              11191

Deepwater Warehouse    Fieldwood         68913.B                            DWW‐YARD           STAND;TYP N/A,MATL JUMPER,SPCL FEATRS FABRICATION,APPLI METEROLOGY             203563        Rio Grande Spares   EA                                 2                       156000             312000

                                                                    DWW‐YARD‐C‐VAN CCLU 667229‐ KIT;MFR:FMC TECHNOLOGIES,PN:P1000069312,TYP COMMISSIONING,CL 15000                          MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68946.A                                9               PSI,APPLI ENHANCED HORIZONTAL SUBSEA TREE (EHXT) TUBING HANGER                139057         DEVELOPMENT        EA                                 2                       16460.3           32920.6
                                                                                                KIT;MFR:FMC TECHNOLOGIES,PN:P1000002656,TYP HORIZONTAL,APPLI                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         68949.A                          MR‐GENERAL            ELECTRICAL FEEDTHROUGH SYSTEM                                                 139057         DEVELOPMENT        EA                                 1                     29817.78           29817.78
                                                                                                VALVE, RELIEF;MFR:PARKER,PN:9MP78F‐MPRA‐15000‐SS,VLV SZ 9/16 X 9/16
Deepwater Warehouse    Fieldwood         68966.A                             MR‐5‐D             IN,CONN TYP TUBE,SET PRESS 10000 PSIG,BDY MATL SS                             203563        Rio Grande Spares   EA                                 1                         1321               1321
                                                                                                HEATER, WATER, ELECTRIC;MFR:RHEEM,PN:PROE30 S2 RH95 B,TYP SHORT,VOL
Deepwater Warehouse    Fieldwood         68967.A                            BW‐R12‐2            CPCTY 30 gal,VOLT 240,WATT 4500 W                                                               NEPTUNE         EA                                 1                       527.685           527.685
                                                                                                CYLINDER, COMPRESSED GAS;MFR:CAMERON,PN:639CH,GAS TYP NATURAL
Deepwater Warehouse    Fieldwood         68991.B                           BW‐AREA 2            GAS,DIA 12.5 IN,OUTLT CONN TYP FLANGE,APPLI COMPRESSOR                                          NEPTUNE         EA                                 1                          0.01               0.01
                                                                                                PISTON;MFR:CAMERON,PN:ZQDN‐T04A‐0000,TYP GAS,DIM 12.5 IN,APPLI
Deepwater Warehouse    Fieldwood         68992.B                            BW‐R7‐1             COMPRESSOR FOR WH64                                                                             NEPTUNE         EA                                 1                          0.01               0.01
                                                                                                CAMSHAFT;MFR:CAMERON,PN:650‐503‐D00,TYP FRONT,APPLI FOR 2408 WS
Deepwater Warehouse    Fieldwood         68993.B                          BW‐NEP‐AREA           ENGINE                                                                                          NEPTUNE         EA                                 1                          0.01               0.01
                                                                                                CAMSHAFT;MFR:CAMERON,PN:650‐505‐D00,TYP REAR,APPLI FOR 2408 WS
Deepwater Warehouse    Fieldwood         68994.C                          BW‐NEP‐AREA           ENGINE                                                                                          NEPTUNE         EA                                 1                          0.01               0.01
                                                                                                CONNECTING ROD;MFR:CAMERON,PN:651‐802‐D01,TYP ENGINE,APPLI FOR 2408
Deepwater Warehouse    Fieldwood         68995.C                           BW‐R11‐FL            WS ENGINE                                                                                       NEPTUNE         EA                                 6                          0.01               0.06
                                                                                                CONNECTING ROD;MFR:CAMERON,PN:620‐001‐001,TYP COMPRESSOR,APPLI FOR
Deepwater Warehouse    Fieldwood         68996.B                            BW‐R8‐FL            WH64 SW COMPRESSOR FRAME                                                                        NEPTUNE         EA                                 3                          0.01               0.03
                                                                                                ROD, PONY;MFR:CAMERON,PN:Z625‐021‐003,TYP GAS,APPLI FOR COMPRESSOR
Deepwater Warehouse    Fieldwood         68997.C                            BW‐R7‐1             SW WH64                                                                                         NEPTUNE         EA                                 1                          0.01               0.01
                                                                                                SHAFT;MFR:CAMERON,PN:620‐090‐001,TYP CRANK,APPLI FOR WS COMPRESSOR
Deepwater Warehouse    Fieldwood         68998.B                          BW‐NEP‐AREA           WH64,MFR:CAMERON,MN:WH64                                                                        NEPTUNE         EA                                 1                                0                 0
                                                                                                HEAD, CYLINDER;MFR:CAMERON,PN:650‐183‐D05,TYP ENGINE,APPLI FOR WS
Deepwater Warehouse    Fieldwood         68999.B                            BW‐R10‐2            2408 ENGINE                                                                                     NEPTUNE         EA                                 4                          0.01               0.04
                                                                                                TURBOCHARGER;MFR:CAMERON,PN:663‐313‐002,TYP FOURCED AIR,APPLI FOR
Deepwater Warehouse    Fieldwood         69001.B                            BW‐R8‐2             WS 2408 ENGINE,MFR:CAMERON,MN:RR‐181/14                                                         NEPTUNE         EA                                 1                          0.01               0.01
                                                                                                TURBOCHARGER;MFR:CAMERON,PN:663‐313‐002,TYP FOURCED AIR,APPLI FOR
Deepwater Warehouse    Fieldwood         69001.C                          BW‐NEP‐AREA           WS 2408 ENGINE,MFR:CAMERON,MN:RR‐181/14                                                        NEPTUNE          EA                                 1                          0.01               0.01
                                                                                                ASSEMBLY;MFR:CAMERON,PN:2247143‐25MOD,COMPRISING HOT STAB, GAUGE                            MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         69002.A                            MW‐R6‐1             (PRESSURE: 10,000 PSI),APPLI PANEL, ROV                                       142679         DEVELOPMENT        EA                                 1                     19414.71           19414.71

Deepwater Warehouse    Fieldwood         69010.B                            BW‐AREA 2          COOLER;MFR:CAMERON,PN:655‐545‐D00,TYP ENTER,APPLI FOR WS 2408 ENGINE                             NEPTUNE         EA                                 4                          0.01               0.04
                                                                                               GASKET SET;MFR:CATERPILLAR,PN:293‐3421,TYP CYLINDER HEAD,APPLI FOR
Deepwater Warehouse    Fieldwood         69013.B                             OS‐R3‐S1          CATERPILLAR ENGINE                                                                               NEPTUNE         EA                                 5                          0.01               0.05

Deepwater Warehouse    Fieldwood         69016.B                             BW‐R8‐1           SPACER;MFR:SEATRAX,PN:TL9013,TYP CRANE PIN,APPLI FOR BOOM HEEL CRANE                             NEPTUNE         EA                                 2                          0.01               0.02
                                                                                               BUSHING;MFR:SEATRAX,PN:TL9003,TYP CRANE PIN,APPLI FOR BOOM HEEL
Deepwater Warehouse    Fieldwood         69017.B                             BW‐R8‐1           CRANE                                                                                            NEPTUNE         EA                                 2                          0.01               0.02
Deepwater Warehouse    Fieldwood         69018.B                             BW‐R8‐1           PIN;MFR:SEATRAX,PN:TA104‐2,TYP CRANE HEEL,DIA 5.5 IN,LG 13 IN                                    NEPTUNE         EA                                 2                          0.01               0.02
                                                                                               MTR, ELEC;MFR:TOSHIBA,PN:B0056FLF2AMH04,TYP 5 HP,APPLI FOR RPM‐
Deepwater Warehouse    Fieldwood         69019.B                             BW‐R10‐1          1165,MFR:TOSHIBA,MN:IKHFBK1180                                                                   NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               MTR, ELEC;MFR:BALDOR,PN:CM7014‐1,TYP 1 HP,RPM 1750,PH
Deepwater Warehouse    Fieldwood         69020.B                             BW‐R10‐1          3,MFR:BALDOR,MN:BY897087                                                                         NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               MTR, ELEC;MFR:EMERSON,PN:H5E3D,TYP 5 HP,RPM 955/1165,PH
Deepwater Warehouse    Fieldwood         69021.B                             BW‐R10‐1          3,MFR:EMERSON,MN:T413A                                                                           NEPTUNE         EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69023.B                             BW‐R10‐1          MTR, ELEC;MFR:BALDOR,PN:ECP3665T‐4,TYP 5 HP,RPM 1750,PH 3,VOLT 460,HZ 60                         NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               ELBOW;MFR:CAMERON,PN:653‐407‐006,TYP EXHAUST,CONN TYP FLANGE,SZ 8
Deepwater Warehouse    Fieldwood         69024.C                             BW‐R12‐2          IN,MATL CAST IRON,DEG 90                                                                         NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               MTR, ELEC;MFR:EMERSON,PN:H40E2E,RPM 1775,PH 3PH,VOLT 230/460 V,FR 324
                                                                                               T,HZ 60,ENCL TOTALLY ENCLOSED,SHFT DIA 2.125 IN,POLES 4,AMP 92/46 A,SPCL
Deepwater Warehouse    Fieldwood         69026.B                             BW‐R11‐1          FEATRS POWER: 40 HP,MN:R068                                                                      NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               MTR, ELEC;MFR:BALDOR,PN:VLCP3665T,RPM 1725,PH 3PH,VOLT 208‐230/460
                                                                                               V,FR 184LP,HZ 60,ENCL TEFC,ROT REVERSIBLE,AMP 14.9‐13.8/6.9 A,SPCL FEATRS
Deepwater Warehouse    Fieldwood         69031.B                             BW‐R7‐1           POWER: 5 HP                                                                                      NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               HEAD, CYLINDER;MFR:CATERPILLAR,PN:10R‐8886,DIM WD 14.5 X LG 39.5 X HT
Deepwater Warehouse    Fieldwood         69035.C                           BW‐NEP‐AREA         11.25 IN,APPLI ENGINE,MN:005M06Y12P68,EQ MODEL:C7                                                NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               SKID;MFR:PROSERV,PN:PHC‐1G‐10‐AGT‐62,SPCL FEATRS PNEUMATIC AND
Deepwater Warehouse    Fieldwood         69038.B                             BW‐R6‐1           HYDRAULIC,APPLI NITROGEN BOOSTER PUMP                                          203563        Rio Grande Spares   EA                                 0                        21259                     0
                                                                                               VALVE;MFR:VALFORGE,PN:ABF01,CONN 1 SZ 4 IN,CONN 1 TYP RAISED FACE,CL                         MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         69088.B                            MW‐R19‐FL          150 lb                                                                         139351          EXECUTE AFE       EA                                 2                       4781.25            9562.5
                                                                                               CROSSHEAD;MFR:CAMERON,PN:620‐262‐001,TYP RECIPROCATING,APPLI
Deepwater Warehouse    Fieldwood         69113.B                           BW‐NEP‐AREA         COMPRESSOR,EQ MODEL:WH64                                                                         NEPTUNE         EA                                 1                          0.01               0.01
                                                                                               CROSSHEAD;MFR:CAMERON,PN:620‐262‐001,TYP RECIPROCATING,APPLI
Deepwater Warehouse    Fieldwood         69113.C                           BW‐NEP‐AREA         COMPRESSOR,EQ MODEL:WH64                                                                         NEPTUNE         EA                                 1                          0.01               0.01




                                                                                                                                                      21
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      Facility        Facility Owner   Item Number     Serial No.     Location    Item Description                                                           Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                  SPOOL;TYP FLOW METER DUMMY,ID 4 IN,OD N/A,LG 28.75 IN,MATL CS,SPEC                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         69114.B                    DWW‐YARD      PRESSURE: 1500 PSI, CONNECTION: RTJ, FABRICATION                              141585         LONG LEADS       EA                                 0                     34206.25                     0
                                                                                  PIN;MFR:CAMERON,PN:620‐006‐001,TYP CROSSHEAD,APPLI COMPRESSOR,EQ
Deepwater Warehouse    Fieldwood         69115.B                    BW‐NEP‐AREA   MODEL:WH64                                                                                     NEPTUNE        EA                                 0                          0.01                    0
                                                                                  BEARING;MFR:CAMERON,PN:625‐235‐001,TYP SLIPPERS, CROSSHEAD,APPLI
Deepwater Warehouse    Fieldwood         69116.B                     BW‐R8‐FL     COMPRESSOR,EQ MODEL:WH64                                                                       NEPTUNE        EA                                18                          0.01               0.18
Deepwater Warehouse    Fieldwood         69119.B                     BW‐R8‐FL     PUMP;MFR:CAMERON,PN:620‐033‐002,TYP OIL,APPLI WH64 COMPRESSOR                                  NEPTUNE        EA                                 2                          0.01               0.02
                                                                                  COOLER;MFR:CAMERON,PN:653‐902‐001,TYP OIL,APPLI COMPRESSOR,EQ
Deepwater Warehouse    Fieldwood         69120.B                    BW‐NEP‐AREA   MODEL:WH64                                                                                     NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  COVER;MFR:CAMERON,PN:652‐803‐000,TYP CAM ACCESS,APPLI ENGINE,EQ
Deepwater Warehouse    Fieldwood         69121.C                      BW‐R7‐2     MODEL:2408 WS                                                                                  NEPTUNE        EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69123.B                     BW‐R10‐3     EVAPORATOR, AIR CONDITIONER;MFR:BAYOU BOEUF ELECTRIC,PN:CAHA24D3                               NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  CONDENSER;MFR:BAYOU BOEUF ELECTRIC,PN:S1CA80000D00,TYP AIR
Deepwater Warehouse    Fieldwood         69125.B                     BW‐R10‐3     CONDITIONER                                                                                    NEPTUNE        EA                                 0                          0.01                    0
                                                                                  GUIDE;MFR:CAMERON,PN:650‐469‐000,TYP BUSHING, LIFTER,APPLI 2408 WS
Deepwater Warehouse    Fieldwood         69126.C                      BW‐R7‐2     ENGINE                                                                                         NEPTUNE        EA                                11                          0.01               0.11
                                                                                  SHEAVE, ASSEMBLY;MFR:SOLAR,PN:458402,TYP FAN,APPLI FOR SOLAR BOOSTER
Deepwater Warehouse    Fieldwood         69127.B                      BW‐R7‐2     COMPRESSOR COOLER,MFR:SOLAR,MN:L156B006                                                        NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  TRAY, CABLE;MFR:ENDURO,PN:EHL6‐24‐9‐10,MFR:ENDURO,MN:ENDURO CLASS
Deepwater Warehouse    Fieldwood         69128.B                    DWW‐YARD      20                                                                                             NEPTUNE        EA                                 3                          0.01               0.03
Deepwater Warehouse    Fieldwood         69131.B                     BW‐R7‐2      GEAR;MFR:CAMERON,PN:652‐306‐000 REV‐ARG,APPLI 2408 WS ENGINE                                   NEPTUNE        EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69132.C                      BW‐R7‐2     JUMPER;MFR:CAMERON,PN:554‐627‐000,TYP WATER,APPLI 2408 WS ENGINE                               NEPTUNE        EA                                 4                          0.01               0.04
                                                                                  PLATE;MFR:CAMERON,PN:B650‐631,TYP SEAL, GUIDE, PUSH ROD,APPLI 2408 WS
Deepwater Warehouse    Fieldwood         69133.C                      BW‐R7‐2     ENGINE                                                                                         NEPTUNE        EA                                26                          0.01               0.26

Deepwater Warehouse    Fieldwood         69134.C                    DWW‐YARD      MANIFOLD;MFR:CAMERON,PN:853‐401‐001,TYP EXHAUST,APPLI 2408 WS ENGINE                           NEPTUNE        EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69135.B                      OS‐R3‐S2    BEARING;MFR:CAMERON,PN:620‐198‐001,TYP MAIN,APPLI 2408 WS ENGINE                               NEPTUNE        EA                                 5                          0.01               0.05

Deepwater Warehouse    Fieldwood         69136.A                      OS‐R3‐S3    BEARING;MFR:CAMERON,PN:904‐568‐001,TYP MAIN,APPLI 2408 WS ENGINE                               NEPTUNE        EA                                 1                                0                 0

Deepwater Warehouse    Fieldwood         69136.B                      OS‐R3‐S2    BEARING;MFR:CAMERON,PN:904‐568‐001,TYP MAIN,APPLI 2408 WS ENGINE                               NEPTUNE        EA                                 5                          0.01               0.05
Deepwater Warehouse    Fieldwood         69137.A                      OS‐R3‐S2    BEARING;MFR:CAMERON,PN:651‐931‐000,TYP ROD                                                     NEPTUNE        EA                                 3                             0                  0
Deepwater Warehouse    Fieldwood         69137.B                      OS‐R3‐S2    BEARING;MFR:CAMERON,PN:651‐931‐000,TYP ROD                                                     NEPTUNE        EA                                12                          0.01               0.12

Deepwater Warehouse    Fieldwood         69140.B                      OS‐R3‐S3    BEARING;MFR:CAMERON,PN:650‐773‐000,TYP MAIN,APPLI 2408 WS ENGINE                               NEPTUNE        EA                                 2                          0.01               0.02
                                                                                  LIGHT;MFR:PAULUHN,PN:1159AYELGRDD2,TYP HELIPORT,SPEC SEALED,MN:D&T
Deepwater Warehouse    Fieldwood         69144.B                      OS‐R3‐S1    1/2‐2                                                                                          NEPTUNE        EA                                 6                          0.01               0.06
                                                                                  LIGHT;MFR:PAULUHN,PN:1159ABLUGRDD2,TYP HELIPORT,SPEC SEALED,MN:D&T
Deepwater Warehouse    Fieldwood         69145.B                      OS‐R3‐S1    1/2 ‐ 2                                                                                        NEPTUNE        EA                                 3                          0.01               0.03
                                                                                  PUMP, CENTRIFUGAL;MFR:DURCO,PN:PBE‐780B,TYP COOLING MEDIA,STD MARK
Deepwater Warehouse    Fieldwood         69147.B                     BW‐R7‐FL     III                                                                                            NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  ACTUATOR;MFR:ROTORK,PN:RN 119968‐1,TRVL LG 713 mm,OPRTR AIR,APPLI
Deepwater Warehouse    Fieldwood         69148.B                     BW‐R12‐2     WASTE HEAT BUTTERFLY VALVE,MN:CP/S‐045‐200/DA                                                  NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  ASSEMBLY;TYP VALVE, ROCKER ARM,MATL NA,COMPRISING PN:650‐429‐000,
Deepwater Warehouse    Fieldwood         69151.C                     BW‐R7‐2      PN:650‐480‐000,APPLI 2408 WS ENGINE                                                            NEPTUNE        EA                                 8                          0.01               0.08
Deepwater Warehouse    Fieldwood         69153.B                     BW‐R10‐1     MTR, ELEC;MFR:MARATHON,PN:TGS,TYP 5 HP                                                         NEPTUNE        EA                                 0                          0.01                  0
                                                                                  MTR, ELEC;MFR:TECO‐WESTINGHOUSE,PN:WZ419048001‐002,TYP 7.5
Deepwater Warehouse    Fieldwood         69154.B                     BW‐R10‐1     HP,MFR:TECO‐WESTINGHOUSE,MN:MAX‐E1                                                             NEPTUNE        EA                                 2                          0.01               0.02
                                                                                  ROD;MFR:CAMERON,PN:NA,TYP PUSH RODS,DIM NA,MATL NA,APPLI 2408 WS
Deepwater Warehouse    Fieldwood         69160.C                      BW‐R7‐2     ENGINE,MFR:CAMERON,TYPE:VALVE                                                                  NEPTUNE        EA                                16                          0.01               0.16

                                                                                  REDUCER;TYP FLANGED, BELL,MATL NA,CONN 1 SZ NA,CONN 1 TYP NA,CONN 2 SZ
Deepwater Warehouse    Fieldwood         69161.C                    BW‐NEP‐AREA   NA,CONN 2 TYP NA,SPEC EXHAUST BELL REDUCER,STD NA,APPLI 2408 WS ENGINE                         NEPTUNE        EA                                 0                          0.01                    0
                                                                                  RAIL;TYP MAIN, FUEL,MATL NA,DIA NA,WD NA,LG NAN,THK NA,PRFILE NA,APPLI
Deepwater Warehouse    Fieldwood         69162.C                    DWW‐YARD      MAIN FUEL RAIL,SPEC 2408 WS ENGINE,STD NA                                                      NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  RAIL;TYP PILOT, FUEL,MATL NA,DIA NA,WD NA,LG NA,THK NA,PRFILE NA,APPLI
Deepwater Warehouse    Fieldwood         69163.C                    DWW‐YARD      2408 WS ENGINE,SPEC MAIN FUEL RAIL,STD NA                                                      NEPTUNE        EA                                 1                          0.01               0.01
Deepwater Warehouse    Fieldwood         69165.B                     BW‐R11‐1     MTR, ELEC;MFR:SIEMENS,PN:RGZEVILSD,TYP 20 HP                                                   NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  PANEL;TYP ENCLOSURE,WD NA,LG NA,HT NA,MATL NA,APPLI SOLAR GENERATOR
Deepwater Warehouse    Fieldwood         69166.B                    BW‐NEP‐AREA   ENCLOSURE,SPEC SOLAR ENCLOSER PANEL,STD NA                                                     NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  FRAME;TYP ENGINE REMOVAL,DIM NA,MATL NA,SHAPE NA,STYL NA,MNTG FCLTY
                                                                                  NA,SPCL FEATRS NA,APPLI SOLAR BOOSTER COMPRESSOR ENGINE,SPEC SOLAR
Deepwater Warehouse    Fieldwood         69167.B                    MW‐AREA 6     ENGINE EXCHANGE FRAMES,STD NA                                                                  NEPTUNE        EA                                 1                          0.01               0.01

                                                                                  HOIST;TYP ENGINE REMOVAL,STYL NA,LIFTG CAPACITY NA,SPEC NA,STD NA,FNSH
Deepwater Warehouse    Fieldwood         69168.B                     BW‐R10‐3     NA,SPCL FEATRS SOLAR HOIST,APPLI SOLAR BOOSTER COMPRESSOR ENGINE                               NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  RADIATOR;TYP CRANE ENGINE,DIM NA,CORE QTY NA,MATL NA,APPLI SEATRAX
Deepwater Warehouse    Fieldwood         69170.B                     BW‐R11‐2     CRANE,SPEC SEATRAX CRAIN RADIATOR,STD NA                                                       NEPTUNE        EA                                 0                          0.01                  0
Deepwater Warehouse    Fieldwood         69173.B                     OS‐R3‐S1     SENSOR;MFR:FISHER,PN:FS845,MFR:FISHER,MN:3311                                                  NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  BRAKE;TYP BAND,TRQ NA,APPLI SEATRAX BOOM WINCH,SPEC SEATRAX BRAKE
Deepwater Warehouse    Fieldwood         69174.B                      BW‐R8‐1     BAND FOR WINCH,STD NA                                                                          NEPTUNE        EA                                 2                          0.01               0.02
                                                                                  ACTUATOR;TYP BRAKE,VOLT NA,AMP NA,WATT NA,OPRTG PRESS NA,TRVL LG
                                                                                  NA,OPRTR NA,SPCL FEATRS NA,APPLI SEATRAX MAIN OR AUX WINCH,SPEC
Deepwater Warehouse    Fieldwood         69175.B                      BW‐R8‐1     SEATRAX HYDRAULIC BRAKE ACTURTOR CYLINDER,STD NA                                               NEPTUNE        EA                                 2                          0.01               0.02

Deepwater Warehouse    Fieldwood         69177.B                      OS‐R3‐FL    HOUSING;MFR:DEL RIO INC.,PN:S8617V150WE,TYP FILTER, HP,SPEC 10,000 PSI                         NEPTUNE        EA                                 9                          0.01               0.09
                                                                                  HOUSING;MFR:DEL RIO INC.,PN:P8798F10WEV,TYP FILTER, HP,SPEC 10‐ABS,
Deepwater Warehouse    Fieldwood         69179.B                      OS‐R2‐S1    10,000 PSI                                                                                     NEPTUNE        EA                                 5                          0.01               0.05
                                                                                  HOUSING;MFR:DEL RIO INC.,PN:8586V10WE,TYP FILTER, HP,SPEC 10‐ABS 6,000
Deepwater Warehouse    Fieldwood         69180.B                      OS‐R2‐S1    PSI,MFR:DEL RIO INC.,MN:233‐10WEV                                                              NEPTUNE        EA                                11                          0.01               0.11
                                                                                  DAMPER, VIBRATION;MFR:FLOWGUARD,PN:FG40863/01‐
Deepwater Warehouse    Fieldwood         69181.B                      OS‐R2‐S1    5,MFR:FLOWGUARD,MN:18888A                                                                      NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  VALVE;TYP R47,CONN 1 SZ 6 IN,CONN 1 TYP NA,CL 2500,DSGN RTNG NA,OPRTD
Deepwater Warehouse    Fieldwood         69183.B                     BW‐AREA 1    NA,MATL NA                                                                                     NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  VALVE;MFR:FISHER,PN:129841001,TYP PNEUMATIC CONTROL,CONN 1 SZ 2 IN,CL
Deepwater Warehouse    Fieldwood         69184.B                     BW‐R10‐FL    900,SPCL FEATRS W/ ACTUATOR                                                                    NEPTUNE        EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69185.B                     MW‐R12‐2     VALVE, BALL;MFR:WKM,PN:0104238‐001,CONN 1 SZ 10 IN,CONN 2 SZ 8 IN,CL 150                       NEPTUNE        EA                                 1                          0.01               0.01
Deepwater Warehouse    Fieldwood         69189.B                     BW‐R12‐3     TRAY, CABLE;DIM NA,TYP 1 CRATE,MATL NA                                                         NEPTUNE        EA                                 1                          0.01               0.01
                                                                                  BLOWER;TYP MOON POOL, GAS EXTRACTION,AIR FLW CPCTY NA,AMP NA,DIA
Deepwater Warehouse    Fieldwood         69190.C                      BW‐R7‐1     NA,VOLT NA,WATT NA,RPM NA                                                                      NEPTUNE        EA                                 1                          0.01               0.01




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      Facility        Facility Owner   Item Number     Serial No.           Location          Item Description                                                            Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                              ROPE, WIRE;DIA 3/8 IN,LG NA,CONSTR NA,CLASSIF NA,MATL SS,LAY NA,SURF
Deepwater Warehouse    Fieldwood         69191.B                         BW‐NEP‐AREA          TRTMNT GALVANIZED                                                                                NEPTUNE         EA                                 1                          0.01               0.01
Deepwater Warehouse    Fieldwood         69192.B                          BW‐R10‐FL           MTR, ELEC;MFR:BALDOR,PN:NA,TYP 75HP,FR 365TSC                                                    NEPTUNE         EA                                 1                          0.01               0.01
                                                                                              VALVE;TYP 6 IN,CONN 1 SZ NA,CONN 1 TYP NA,CL 600,DSGN RTNG NA,OPRTD
Deepwater Warehouse    Fieldwood         69195.B                           BW‐R11‐3           NA,MATL NA                                                                                       NEPTUNE         EA                                 1                          0.01               0.01
                                                                                              VALVE, BUTTERFLY;VLV SZ NA,DSGN RTNG NA,CONN SZ NA,CONN TYP NA,OPRTD
                                                                                              NA,TYP NA,TRIM NA,BDY MATL NA,MATL GR NA,SPEC WASTE HEAT BUTTERFLY
Deepwater Warehouse    Fieldwood         69196.B                         BW‐NEP‐AREA          VALVES                                                                                           NEPTUNE                                            2                          0.01               0.02

Deepwater Warehouse    Fieldwood         69197.B                          DWW‐YARD            ATTACHMENT;TYP NA,MATL NA,STD NA,APPLI SUB‐SEA WELL ATTACHMENT                                   NEPTUNE         EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69198.B                          BW‐AREA 2           CLAMP;TYP NA,DIM NA,MATL NA,MATL GR NA,APPLI RETROCLAMPS WITH LEADS                              NEPTUNE         EA                                18                          0.01               0.18
Deepwater Warehouse    Fieldwood         69199.B                         BW‐NEP‐AREA          KIT;TYP NA,COMPRISING NA,APPLI SCRUBBER UPGRADE KIT                                              NEPTUNE         EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69200.C                           BW‐R11‐1           PUMP;TYP FLARE,FLW RATE NA,INLT SZ NA,OUTLT SZ NA,RPM NA,SPEC SO311                              NEPTUNE         EA                                 1                          0.01               0.01
                                                                                              BOX;TYP NA,WD NA,LG NA,DP NA,MATL NA,SPEC FIRE HOSE REELS,APPLI FIRE
Deepwater Warehouse    Fieldwood         69202.B                           BW‐R12‐1           HOSE STORAGE BOX                                                                                 NEPTUNE         EA                                 2                          0.01               0.02
                                                                                              PANEL, CONTROL;MFR:TULSA HEATERS,PN:TUAF‐UMB‐16,SPEC MECHANICAL
Deepwater Warehouse    Fieldwood         69203.B                         BW‐NEP‐AREA          SPOOL W/ CONTROL PANEL                                                                           NEPTUNE         EA                                 1                          0.01               0.01
Deepwater Warehouse    Fieldwood         69204.B                           BW‐R8‐3            FLANGE, LIFTING;TYP 12 BOLT,NOM SZ NA,CONN SZ NA,CONN TYP NA                                     NEPTUNE         EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         69205.B                           BW‐R7‐FL           CHAIN;TYP NA,NOM ROLLR OD NA,WD NA,MATL NA,APPLI NA,SPEC AND BINDERS                             NEPTUNE         EA                                 2                         0.01                0.02
Deepwater Warehouse    Fieldwood         69206.C                          BW‐R10‐FL           GEAR;MFR:CAMERON,PN:NA,TYP IDLER, TIMING                                                         NEPTUNE         EA                                 1                         0.01                0.01
Deepwater Warehouse    Fieldwood         69207.B                           BW‐R9‐1            COVER;MFR:CAMERON,PN:NA,TYP VALVE,APPLI 2408 WS ENGINE                                           NEPTUNE         EA                                 2                         0.01                0.02
Deepwater Warehouse    Fieldwood         69208.B                           BW‐R9‐1            BOLT;MFR:CAMERON,PN:NA,APPLI FOR VALVE COVER, 2408 WS ENGINE                                     NEPTUNE         EA                                114                 0.010166667               1.159
Deepwater Warehouse    Fieldwood         69209.B                         BW‐NEP‐AREA          ROLLER;MFR:CAMERON,PN:NA,TYP LIFTER,APPLI 2408 WS ENGINE                                         NEPTUNE         EA                                13                         0.01                0.13
                                                                                              PIPE;TYP LINE,NOM SZ N/A,OD 8.625 IN,SCH FLOWLINE SCR,WALL THK 1.250
                                                                                              IN,MATL N/A,MATL GR N/A,END CONN N/A,LG 40 FT,COATG EXT BARE,APPLI                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         69853.A                          DWW‐YARD            EXTRA SCR 70 KSI                                                               141585         LONG LEADS         FT                                80                            95              7600

                                                                                              PIPE;TYP LINE,NOM SZ N/A,OD 6.625 IN,SCH N/A,WALL THK .864 IN,MATL                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         69856.A                          DWW‐YARD            N/A,MATL GR X70,END CONN PLAIN END,LG 40 FT,COATG EXT R‐3 FBE COATED           141585         LONG LEADS         FT                                17                         68.59           1166.03

                                                                                              CENTRALIZER, SUB;MFR:BLACKHAWK,PN:0109342‐QP0003,CASNG SZ 9.375 IN,WT
                                                                                              39 lb/ft,MATL GR Q125,CONN TYP TSH‐513,SPCL FEATRS W/135000 MIN YIELD
Deepwater Warehouse    Fieldwood         69859.A                    DWW‐YARD‐C‐VAN 045905     BST (33B) 8 BOWS 15.87 OVER BOW,MFR:BLACKHAWK,MN:R3600                         201560        GC 40 02 Katmai 2   EA                                34                         8200             278800
                                                                                              VALVE;MFR:WHITCO,PN:SDV‐1040D,CONN 1 SZ 6 IN,CONN 1 TYP RF,CL 300,SPCL
                                                                                              FEATRS W/ ACTUATOR,SPEC 6" BALL VALVE, 300#, RF FLANGE ENDS, 316SS BODY
                                                                                              AND FLANGES DEVLON SEATS AND HNBR SEALS WITH ROTORK ACTUATOR,                                MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         69966.A                          MW‐R19‐FL           316MOUNTING PLATE                                                              141585         LONG LEADS         EA                                 1                        17343              17343
                                                                                              VALVE, BALL;MFR:WHITCO,PN:SDV‐1040D BALL VALVE,CONN 1 SZ 6 IN,CONN 1
                                                                                              TYP RF FLANGE,CL 300,BDY MATL SS,MATL GR 316,SFTGDS SEAT: DEVLON; SEAL:                      MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         69967.C                          MW‐R19‐FL           HNBR                                                                           141585         LONG LEADS         EA                                 1                        8671.5            8671.5
                                                                                              COLLAR, STOP;MFR:HALLIBURTON,PN:634536MFR: CENTEK,TYP HEAVY
Deepwater Warehouse    Fieldwood         70045.A                           BW‐R5‐FL           DUTY,CASNG OD 5 IN,SPCL FEATRS W/ SGL BEV                                      201560        GC 40 02 Katmai 2   EA                                90                          36.5              3285

                                                                                              SIEMEMS MOTOR: S/N: 0770680‐010‐1. 1250 HP 882 RPM, 4160 VT, WP11 Frame
Deepwater Warehouse    Fieldwood         70131.A                      LINEAR CONTROLS, LA     6811 Siemens ‐ Thunderhawk, Yard Loc: H219, climate controlled facility                      THUNDERHAWK                                            1                                0                 0
                                                                                              SIEMENS MOTOR: S/N: 1LE24214CC112AA3. 75 HP, 1200 RPM, 460 VT, TEFC,
Deepwater Warehouse    Fieldwood         70146.A                      LINEAR CONTROLS, LA     Frame 444T ‐ Thunderhawk, Yard Loc: H222, climate controlled facility                        THUNDERHAWK                                            1                                0                 0
                                                                                              MARATHON MOTOR: S/N: WAA037677. 125 HP, 1800 RPM, 460 VR, TEFC, Grame
Deepwater Warehouse    Fieldwood         70147.A                      LINEAR CONTROLS, LA     445T ‐ Thunderhawk, Yard Loc: H223, climate controlled facility                              THUNDERHAWK                                            1                                0                 0
                                                                                              BALDOR MOTOR: S/N: A1106292137. 200 HP, 1800 RPM, 460 Volt, TEFC, Grame
Deepwater Warehouse    Fieldwood         70148.A                      LINEAR CONTROLS, LA     447TSD ‐ Thunderhawk, Yard Loc: H224, climate controlled facility                            THUNDERHAWK                                            1                                0                 0
                                                                                              Siemens MOTOR: S/N: G12T1269NPI7. 250 HP, 1800 RPM, TEFC Frame B449T,
Deepwater Warehouse    Fieldwood         70149.A                      LINEAR CONTROLS, LA     Thunderhawk, climate controlled facility                                                     THUNDERHAWK                                            1                                0                 0
                                                                                              PUMP ASSEMBLY;TYP 5 STAGE HYDROFLO,SZ N/A,SPEC W/50HP, 460V SEI
                                                                                              MOTOR, 175 FT NO 4 SENSOR CABLE SPLICED TO PT100 MOTOR SENSOR, FLOW
Deepwater Warehouse    Fieldwood         70207.B                          MW‐AREA 5           INDUCER SLEEVE MOUNTED OVER MOTOR                                                            THUNDERHAWK         EA                                 0                          0.01                    0
                                                                                              MTR, ELEC;MFR:BALDOR,PN:09H404X129G1,HP 15,RPM 1765,PH 3,VOLT 460,HZ
Deepwater Warehouse    Fieldwood         70209.A                          MW‐AREA 5           60                                                                                           THUNDERHAWK         EA                                 4                          0.01               0.04
                                                                                              MTR, ELEC;MFR:BALDOR,PN:09H404X129G1,HP 15,RPM 1765,PH 3,VOLT 460,HZ
Deepwater Warehouse    Fieldwood         70209.A                           MW‐R20‐2           60                                                                                           THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                              VALVE, BALL;MFR:VELAN,PN:816.34,TYP N/A,CONN 1 SZ 4 X 3 X 4 IN,CONN 1 TYP
Deepwater Warehouse    Fieldwood         70235.A                           MW‐R18‐1           FLANGED,CL 150‐300,MATL GR F316L,REF:549                                                     THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                              SWITCH, SELECTOR;MFR:AKER,PN:10263807,CNTCT ARNGEMNT 1NO‐1NC,POS
Deepwater Warehouse    Fieldwood         70236.A                            MR‐4‐E            QTY 2,OPRTD KEY                                                                203563        Rio Grande Spares   EA                                 0                          78.2                    0

Deepwater Warehouse    Fieldwood         70237.A                            MR‐3‐B            POWER SUPPLY;MFR:AKER,PN:BB15‐000312‐06,I/P VOLT 90‐240 V,MN:SEM105            203563        Rio Grande Spares   EA                                 0                        3910.1                    0

Deepwater Warehouse    Fieldwood         70238.A                            MR‐5‐C            MODULE;MFR:AKER,PN:BB14‐06004‐01,TYP ASSEMBLY,APPLI MODEM; SWITCH              203563        Rio Grande Spares   EA                                 0                          4378                    0
Deepwater Warehouse    Fieldwood         70239.A                            MR‐4‐E            FILTER, AIR;MFR:AKER,PN:10264029,APPLI UPS INVERTER                            203563        Rio Grande Spares   EA                                 0                         977.5                    0
                                                                                                                                                                                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         70240.A                    DWW‐YARD‐C‐VAN 433422 0   FLYING LEAD;MFR:OCEANEERING,PN:428781,ELECTRICAL (4 WAY),LG 120 m              140528           LONG LEAD        EA                                 2                        18244              36488
                                                                                                                                                                                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         70241.A                           MW‐R5‐3            FLYING LEAD;MFR:OCEANEERING,PN:428782,OPTICAL,LG 100 m                         140528           LONG LEAD        EA                                 1                        85079              85079
                                                                                                                                                                                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         70243.A                          DWW‐YARD            FLYING LEAD;MFR:OCEANEERING,PN:428779,14 WAY, 11 LINE,LG 100 m,STEEL           140528           LONG LEAD        EA                                 0                       249560                     0
                                                                                                                                                                                           MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         70244.A                          DWW‐YARD            FLYING LEAD;MFR:OCEANEERING,PN:428778,14 WAY, 14 LINE,LG 125 m,STEEL           139057         DEVELOPMENT        EA                                 1                       249560             249560
                                                                                              FLYING LEAD;MFR:OCEANEERING,PN:46154,ASSEMBLY,ACOUSTIC SAND                                  MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         70247.A                           MW‐R5‐3            DETECTOR                                                                       139057         DEVELOPMENT        EA                                 1                        49819              49819

                                                                                              PUMP, SUBMERSIBLE;TYP JOCKEY,OUTLT PRESS N/A,DISPLCMNT N/A,TOT HD
                                                                                              N/A,RPM 3600,OUTLT SZ N/A,OUTLT CONN TYP N/A,WD 8 IN,MATL N/A,SPEC
Deepwater Warehouse    Fieldwood         70248.B                          MW‐AREA 5           FREQUENCY: 60 HZ, CURRENT: 65 A, VOLTAGE: 460 V, POLE QTY: 2P                                THUNDERHAWK         EA                                 0                          0.01                    0
                                                                                              TRANSMITTER,
                                                                                              RADAR;MFR:ROSEMOUNT,PN:5302FA1P1N4AE00903CKE5M1Q4S4,TYP GUIDED
Deepwater Warehouse    Fieldwood         70277.A                          MW‐AREA 5           WAVE,O/P 4‐20 mA,CONN TYP NPT,CONN SZ 1/2‐14 IN                                               THUNDERHAWK        EA                                 1                          0.01               0.01

                                                                                              ELEMENT, HEATER;MFR:GAUMER PROCESS,PN:1F1S10F36N91XM4ERRTD,TYP
                                                                                              N/A,VOLT 460,WATT 180,TEMP RNGE 200 DEG C,SPEC 3PH, 14478/2100 KP AND
Deepwater Warehouse    Fieldwood         70278.A                          BW‐AREA 2           PSI,APPLI BUYBACK PREHEATER,EQ MODEL:HBG‐4040 FG                                             THUNDERHAWK         EA                                 1                          0.01               0.01




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      Facility        Facility Owner   Item Number     Serial No.             Location          Item Description                                                             Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                TRANSFORMER;MFR:CUTLER HAMMER,PN:V48M28T49CUEE,TYP DRY TYPE
                                                                                                DISTIBUTION,I/P VOLT 480 V,PH QTY 3,O/P VOLT 208/120 V,HZ 60,TEMP RTNG
Deepwater Warehouse    Fieldwood         70280.A                            MW‐AREA 5           150 DEG C,ENCL TYP NEMA 2,SPCL FEATRS CLASS 220 INSULATION                                    THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                PUMP;TYP WASH DOWN,FLW RATE N/A,INLT SZ N/A,OUTLT SZ N/A,OPRTG PRESS
                                                                                                250 PSI,RPM N/A,SPCL FEATRS TEMPERATURE: 100 DEG F,MN:1K1.5 X 1LF
Deepwater Warehouse    Fieldwood         70282.A                             MW‐R18‐1           OP/4.94MFR:FLOWSERVE,MN:MK3 LO‐FLO                                                            THUNDERHAWK       EA                                 0                          0.01                    0
                                                                                                MTR, ELEC;TYP N/A,HP 30,RPM 1700,PH 3,VOLT 460,FR 286TC,HZ 60,SF 1.15,ENCL
Deepwater Warehouse    Fieldwood         70283.A                             MW‐R20‐2           N/A,INSUL CLASS N/A,AMP 36                                                                    THUNDERHAWK       EA                                 2                          0.01               0.02

                                                                                                PUMP;MFR:FLOWSERVE,PN:PBA‐6410‐20‐30,TYP COOLING,OPRTG PRESS 250
Deepwater Warehouse    Fieldwood         70284.A                             MW‐R20‐1           PSI,SPCL FEATRS TEMPERATURE: 100 DEG F,MFR:FLOWSERVE,MN:MK3‐STD                               THUNDERHAWK       EA                                 1                          0.01               0.01

                                                                                                NOZZLE;TYP SUPER SONIC FLOW,COMM SZ 2‐1/2 IN,CONN SZ 2‐1/2 IN,CONN TYP
Deepwater Warehouse    Fieldwood         70285.A                             MW‐R20‐1           NPT,FLW RATE N/A,MATL N/A,MATL GR N/A,APPLI VENTURI FLANGE                                    THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                FLANGE;TYP VENTURI,DIM 4‐1/16,CONN SZ N/A IN,MATL N/A,MATL GR BX155
Deepwater Warehouse    Fieldwood         70286.A                              BW‐R5‐1           CRA,OPRTG PRESS 10,SPEC 4130,STD API                                                          THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                HEATER, WATER, ELECTRIC;MFR:RHEEM,PN:PROE28 S2 HR95,VOL CPCTY 28
Deepwater Warehouse    Fieldwood         70401.A                             BW‐R12‐1           gal,VOLT 240,AMP 18.8,WATT 4500                                                                  NEPTUNE        EA                                 1                       468.055           468.055
                                                                                                ASSEMBLY;MFR:CAMERON,PN:278639‐01,TYP TEST STUMP,SPCL FEATRS W/ PLUG                           MC 948 2 ST02
Deepwater Warehouse    Fieldwood         70522.B                            MW‐R12‐FL           INSTALLED                                                                       141829         GUNFLINT D&E     EA                                 1                       84664.5           84664.5
                                                                                                HUB;TYP ELECTRICAL MOTOR,STYL N/A,SZ N/A,MATL N/A,ENCL N/A,APPLI ARIEL
Deepwater Warehouse    Fieldwood         70523.A                             MW‐R20‐3           VRU COMPRESSOR,SPEC W/ BOLT AND FLEX PLATE,EQ MODEL:JGC:D                                                       EA                                 1                          0.01               0.01
                                                                                                VALVE, CONTROL;TYP N/A,VLV SZ N/A,CONN TYP FLARE,CL N/A,DSGN RTNG
Deepwater Warehouse    Fieldwood         70525.A                            MW‐R20‐FL           NA,BDY MATL SS,FLW RATE N/A,APPLI INLET SEP B,STYL N/A                                        THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                RACK;TYP N/A,MATL N/A,DIM N/A,APPLI MOTOR SHIPPING FRAME; SALT WATER
Deepwater Warehouse    Fieldwood         70526.A                            DWW‐YARD            LIFT PUMP                                                                                     THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                VALVE, BALL;TYP N/A,OPRTD GEAR,CONN 1 SZ 6 IN,CL N/A,BDY MATL
Deepwater Warehouse    Fieldwood         70527.A                             BW‐R5‐1            COPPER,MATL GR N/A                                                                            THUNDERHAWK       EA                                 1                          0.01               0.01
Deepwater Warehouse    Fieldwood         70528.A                            DWW‐YARD            RACK;TYP BOAT STORAGE,MATL WOOD,DIM N/A                                                       THUNDERHAWK       EA                                 0                          0.01                  0
                                                                                                VALVE, RELIEF;VLV SZ 3 IN,CONN TYP N/A,PRESS RANGE 1991‐2262 PSI,SET PRESS
                                                                                                N/A,OPRTD N/A,BDY MATL N/A,MATL GR N/A,MATL SPEC F51,TRIM SEAT:
Deepwater Warehouse    Fieldwood         70529.A                              BW‐R2‐2           DEVLON,SFTGDS VITON,SPCL FEATRS CLASS 500                                                     THUNDERHAWK       EA                                 2                          0.01               0.02
                                                                                                VALVE, RELIEF;TYP BLOWDOWN,VLV SZ 3 IN,CONN TYP N/A,SET PRESS N/A,OPRTD
Deepwater Warehouse    Fieldwood         70530.A                            MW‐R18‐FL           N/A,BDY MATL N/A,MATL GR N/A,APPLI GLYCOL SYSTEM                                              THUNDERHAWK       EA                                 2                          0.01               0.02

                                                                                                PLATE, ASSEMBLY;MFR:ALFA LAVAL,PN:30110‐69628,MATL TITANIUM,DIM THK
Deepwater Warehouse    Fieldwood         70531.A                              BW‐R2‐1           0.7 MM,APPLI HEAT EXCHANGER,SPEC W/ NBR GLUED GASKET,REF:M15B                                 THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                MTR, ELEC;TYP N/A,HP 1.5,RPM 1740,PH 3,VOLT 460,FR 145TC,HZ 60,SF N/A,ENCL
Deepwater Warehouse    Fieldwood         70533.A                             MW‐R20‐2           TEFC,INSUL CLASS N/A,AMP N/A                                                                  THUNDERHAWK       EA                                 4                          0.01               0.04
                                                                                                MTR, ELEC;TYP N/A,HP 1.5,RPM 1740,PH 3,VOLT 460,FR 145TC,HZ 60,SF N/A,ENCL
Deepwater Warehouse    Fieldwood         70533.A                             MW‐R20‐3           TEFC,INSUL CLASS N/A,AMP N/A                                                                  THUNDERHAWK       EA                                 5                          0.01               0.05

                                                                                                GLASS, SIGHT;MFR:K‐TEK,PN:0803‐7454‐16,TYP BRIDLE,APPLI B
Deepwater Warehouse    Fieldwood         70669.A                            BW‐AREA 2           SEPARATOR,MFR:K‐TEK,MN:KM265/S66/D9F1F1D9/WJ215/WJ715/M2P/D/55                                THUNDERHAWK       EA                                 1                          0.01               0.01

                                                                                                KIT;TYP N/A,COMPRISING 48 IN MOURING BUOY FRAME ACCESSORIES, 30 IN
                                                                                                BUOY, ANCHOR, 60 M WIRE ROPE AND HARDWARE,PCKG QTY 7,SPCL FEATRS W/
Deepwater Warehouse    Fieldwood         70670.A                             MW‐R18‐2           ACCESSORIES, MODEM BATTERY BOTTLE 3X,APPLI 75 KHZ ADCP BATTERY UNIT                           THUNDERHAWK       EA                                 7                          0.01               0.07
                                                                                                KIT;TYP HARDWARE,COMPRISING FLASHING TERM BOX, DRY GAS, TGD AND
                                                                                                TANDEM SEAL ASSEMBLIES,FLANGES, COVER PLATES AND BRACKETS,APPLI FLEX
Deepwater Warehouse    Fieldwood         70672.A                            MW‐AREA 6           PIPE SECTIONS; GENERATOR / ENGINE REMOVAL                                                     THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                VALVE, BALL;TYP N/A,CONN 1 SZ 3/4 IN,CONN 1 TYP THREADED,CL 3000,BDY
Deepwater Warehouse    Fieldwood         70673.A                             MW‐R20‐1           MATL CS2,MATL GR CS2                                                                          THUNDERHAWK       EA                                 2                          0.01               0.02
                                                                                                VALVE, BALL;TYP N/A,CONN 1 SZ 3/4 IN,CONN 1 TYP RTJ,CL 1500,BDY MATL
Deepwater Warehouse    Fieldwood         70674.A                             MW‐R20‐1           CS,MATL GR WCB                                                                                THUNDERHAWK       EA                                 7                          0.01               0.07
                                                                                                VALVE, BALL;TYP N/A,CONN 1 SZ 2 IN,CONN 1 TYP RF,CL 1500,BDY MATL
Deepwater Warehouse    Fieldwood         70675.A                             MW‐R20‐1           N/A,MATL GR CS2                                                                               THUNDERHAWK       EA                                 2                          0.01               0.02
                                                                                                VALVE, BALL;TYP MONOFLANGE,CONN 1 SZ 2 IN,CONN 1 TYP RTJ,CL 1500,BDY
Deepwater Warehouse    Fieldwood         70676.A                             MW‐R20‐1           MATL CS,MATL GR LF2                                                                           THUNDERHAWK       EA                                 2                          0.01               0.02
                                                                                                VALVE, BALL;TYP N/A,CONN 1 SZ 3 IN,CONN 1 TYP RF,CL 1500,BDY MATL CS,MATL
Deepwater Warehouse    Fieldwood         70677.A                             MW‐R20‐1           GR LCC                                                                                        THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                VALVE, BALL;TYP N/A,CONN 1 SZ 3/4 IN,CONN 1 TYP N/A,CL 6000,BDY MATL
Deepwater Warehouse    Fieldwood         70678.A                             MW‐R20‐1           N/A,MATL GR N/A                                                                               THUNDERHAWK       EA                                 1                          0.01               0.01
                                                                                                FLANGE, ADAPTOR;BASE MATL X155,APPLI N/A,CONN TYP XXHD,CONN SZ 4‐1/16
Deepwater Warehouse    Fieldwood         70679.A                              BW‐R5‐1           IN,DSGN RTNG N/A                                                                              THUNDERHAWK       EA                                 3                          0.01               0.03
                                                                                                CROSSOVER, CASING;TOP CONN SZ 9.875 IN,TOP CONN WT 62.80 lb/ft,TOP CONN
                                                                                                TYP TSH‐523,BOT CONN SZ 5 IN,BOT CONN WT 18 lb/ft,BOT CONN TYP
Deepwater Warehouse    Fieldwood         70800.A                     DWW‐YARD‐C‐VAN 402189 0    BLANK,MATL GR 4145‐110K,PROCESS NA,LG NA                                     AFE FW183040         KATMAI        EA                                 2                         5110              10220
                                                                                                FLANGE, SPECIAL PURPOSE;TYP CONCENTRIC,DIM 3 IN,STYL WELD ON
                                                                                                FLANGE,BLT HOLE QTY N/A,PCD N/A,MATL N/A,MATL GR N/A,SPEC WIRELOC PN#
Deepwater Warehouse    Fieldwood         71173.A                             MW‐R20‐1           H3WL25                                                                                         THUNDERHAWK      EA                                 4                          0.01               0.04
                                                                                                                                                                                              MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71224.C                            DWW‐YARD            CAP;MFR:TRENDSETTER,PN:A1001622,TYP LONG TERM PRESSURE,DIM DIA NO 10            140528           LONG LEAD      EA                                 2                       151100             302200
                                                                                                STAND;MFR:TRENDSETTER,PN:AXXXXXXXX,TYP JUMPER FABRICATION,SPCL                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71225.C                           DWW‐YARD             FEATRS COMMERCIAL SIZE: SHORT, NO 10 TEST HUBS                                  140528           LONG LEAD      EA                                 2                       186200             372400
                                                                    DWW YARD C‐VAN HLXU 616220‐                                                                                               MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71235.C                                6               CAP;MFR:TRENDSETTER,PN:A1001620,TYP SHORT TERM PRESSURE,DIM DIA NO 6            140528           LONG LEAD      EA                                 2                        51000             102000
                                                                                                TOOL;MFR:TRENDSETTER,PN:A1003797,TYP CLASS 6/7 TORQUE, SKID,SPCL                              MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71243.C                           DWW‐YARD             FEATRS SOFTLAND/DRAWDOWN                                                        140528           LONG LEAD      EA                                 1                    148047.57          148047.57
                                                                                                                                                                                              MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71245.C                            DWW‐YARD            STAND;MFR:TRENDSETTER,PN:A1004704                                               140528           LONG LEAD      EA                                 2                       172450             344900
                                                                                                KIT;MFR:TRENDSETTER ENG.,PN:KIT CONSISTS OF PART NUMBERS
                                                                                                A1002599,A1002512,A1002606,TYP TOOL,COMPRISING 6/046 GASKET                                   MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71312.A                            DWW‐YARD            REPLACEMENT TOOL KIT                                                            140528          LONG LEAD       EA                                 2                       100500             201000
                                                                                                KIT;MFR:TRENDSETTER ENG.,PN:PART NUMBERS CONSISTING OF                                        MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71313.A                            DWW‐YARD            A1002599,A1002977,A1002993,TYP TOOL, GASKET,SPEC 10/063                         140528          LONG LEAD       EA                                 2                       105595             211190
Deepwater Warehouse    Fieldwood         71398.A                             BW‐R8‐FL           LINER;MFR:SUPERIOR,PN:651‐014‐D100,APPLI ENGINE CYLINDER                                         NEPTUNE        EA                                 1                            0                  0
Deepwater Warehouse    Fieldwood         71400.A                             OS‐R3‐S3           RING, PISTON;MFR:SUPERIOR,PN:651‐763‐000,APPLI ENGINE,SPEC SET                                   NEPTUNE        EA                                 5                            0                  0
Deepwater Warehouse    Fieldwood         71401.A                             OS‐R3‐S1           PUMP;MFR:CATERPILLAR,PN:137‐1339,TYP WATER,EQ MODEL:3412                                         NEPTUNE        EA                                 1                            0                  0
                                                                                                PUMP;MFR:CATERPILLAR,PN:7N6128,TYP FUEL TRANSFER,APPLI ENGINE,EQ
Deepwater Warehouse    Fieldwood         71402.A                             OS‐R3‐S3           MODEL:3412                                                                                       NEPTUNE        EA                                 2                                0                 0
                                                                                                BEARING ASSEMBLY;MFR:SUPERIOR,PN:650‐909‐006,TYP UPPER, LOWER,SPCL
Deepwater Warehouse    Fieldwood         71403.A                             OS‐R3‐S2           FEATRS QTY: 2                                                                                    NEPTUNE        EA                                11                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.         Location        Item Description                                                            Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                          BEARING ASSEMBLY;MFR:SUPERIOR,PN:650‐908‐000,TYP UPPER, LOWER,SPCL
Deepwater Warehouse    Fieldwood         71404.A                         OS‐R3‐S2         FEATRS QTY: 2                                                                                    NEPTUNE          EA                                 6                                0                 0
                                                                                          BEARING ASSEMBLY;MFR:SUPERIOR,PN:650‐909‐101,TYP UPPER, LOWER,SPCL
Deepwater Warehouse    Fieldwood         71407.A                         OS‐R3‐S3         FEATRS QTY: 2                                                                                    NEPTUNE          EA                                 4                                0                 0

                                                                                          VALVE, CONTROL;MFR:EDGEN MURRAY,PN:204824‐7,VLV SZ 3 IN,CONN TYP
                                                                                          RF,OPRTG PRESS 20 PSIG,BDY MATL CS ASTM A216 GR WCC,TRIM CAGE: SS ASTM
Deepwater Warehouse    Fieldwood         71567.A                          BW‐R5‐3         A351 CF8M/316, SHAFT: ENP SS ASTM A564 630 (1075), ECCENTRIC PLUG: SS 316      203563        Rio Grande Spares    EA                                 1                         9116               9116
                                                                                          VALVE, CONTROL;MFR:EDGEN MURRAY,PN:204823‐1,TYP BUTTERFLY, 150 RF
                                                                                          FISHER‐CVN,1052‐8560,VLV SZ 6 IN,CONN TYP RF,DSGN RTNG CL 150,BDY MATL
Deepwater Warehouse    Fieldwood         71568.A                         MW‐R16‐3         CS                                                                             203563        Rio Grande Spares    EA                                 0                        11523                     0
                                                                                          VALVE, RELIEF;MFR:EDGEN MURRAY,PN:204879‐4MFR: ANDERSON
Deepwater Warehouse    Fieldwood         71569.A                         MW‐R17‐1         GREENWOOD,VLV SZ 1 X 2 IN,SET PRESS 260 PSIG,REF:102 JBS‐E‐15 ‐OR‐J            203563        Rio Grande Spares    EA                                 0                         6692                     0
                                                                                          VALVE, RELIEF;MFR:EDGEN MURRAY,PN:204879‐8MFR: AGCO,VLV SZ 1 X 2
Deepwater Warehouse    Fieldwood         71571.A                        MW‐R17‐1          IN,CONN TYP RF,SPCL FEATRS DESIGN RATING: CL 150,REF:1E2JOS‐E315               203563        Rio Grande Spares    EA                                 0                         3830                     0
                                                                    DWW‐YARD‐C‐VAN CPIU   LEAD, ELECTRICAL;MFR:OCEANEERING,PN:445521,TYP FLYING LEAD (EFL),TERM                        MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         71572.A                       03011222G1         TYP 12 WAY,LEAD OVRL LG 180                                                    140528           LONG LEAD         EA                                 0                        23466                     0
                                                                                          ASSEMBLY;MFR:SUPERIOR,PN:1050,SZ 10.5 IN,COMPRISING ROD, PISTON,APPLI
Deepwater Warehouse    Fieldwood         71589.A                          BW‐R7‐3         COMPRESSOR                                                                                       NEPTUNE          EA                                 1                                0                 0
                                                                                          ASSEMBLY;MFR:SUPERIOR,PN:1250,SZ 12.5 IN,COMPRISING ROD, PISTON,APPLI
Deepwater Warehouse    Fieldwood         71592.A                          BW‐R8‐1         COMPRESSOR                                                                                       NEPTUNE          EA                                 1                                0                 0
Deepwater Warehouse    Fieldwood         71815.A                           MR‐3‐F         7 WAY TEST CONNECTOR , 1 TYP MALE CONNECTOR. MFR: ODI, PN: 1037413                                                EA                                 3                                0                 0
                                                                                          ASSEMBLY;MFR:GRAND ISLE SHIPYARD INC.,PN:465856977,TYP TURBINE
Deepwater Warehouse    Fieldwood         71837.B                        DWW‐YARD          EXTRACTION SUPPORT                                                                              NEPTUNE           EA                                 1                             0                  0
Deepwater Warehouse    Fieldwood         71839.A                          OS‐R2‐FL        KIT;MFR:SOLAR TURBINES,PN:FT10611‐102,TYP TOOL                                                  NEPTUNE           EA                                 1                          0.01               0.01
Deepwater Warehouse    Fieldwood         72252.A                    LINEAR CONTROLS, LA   ARIEL CYLINDER AND 2 PALLET PARTS                                                             THUNDERHAWK                                            1                             0                  0
Deepwater Warehouse    Fieldwood         72253.A                         BW‐AREA 2        CRATE WITH REBUILT CRANKSHAFT, SLEEVE BEARINGS AND THRUST PLATE                               THUNDERHAWK                                            1                             0                  0
                                                                                                                                                                                       MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         72421.C                        DWW‐YARD          FLYING LEAD;MFR:OCEANEERING,PN:0433751,14 WAY, 11 LINE,LG 100 m,STEEL          142679         DEVELOPMENT         EA                                 0                     148918.5                     0
                                                                                          VALVE, BALL;MFR:AKER,PN:6" BBA31MFR: MOMA,CONN 1 SZ 6 IN,CONN 1 TYP                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         72491.A                         MW‐R20‐FL        RF,CL 300,S/N:012‐15001001                                                     139351          EXECUTE AFE        EA                                 1                        38479              38479
                                                                                          VALVE, BALL;MFR:AKER,PN:6" ABA71MFR: MOMA,CONN 1 SZ 6 IN,CONN 1 TYP                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         72492.A                         MW‐R19‐1         RF,CL 150,S/N:27QUA‐15022601 & 27QUA‐15022602                                  139351          EXECUTE AFE        EA                                 2                     25459.85            50919.7
                                                                                          VALVE, BALL;MFR:AKER,PN:8" BBA31MFR: MOMA,CONN 1 SZ 8 IN,CONN 1 TYP                          MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         72493.A                         MW‐R19‐FL        RF,CL 300,S/N:27QUA‐15022501                                                   139351          EXECUTE AFE        EA                                 1                       55370.2           55370.2
                                                                                          BODY;MFR:OIL STATES,PN:PD16769,TYP FORGING,DIM 8 IN,S/N:1446B ,W/
                                                                                          FLANGE FORGING (8 IN PROD SCR, SN: 9080‐1, 9080‐2), TEST COUPON                              MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         72495.A                          BW‐R6‐2         FORGING/ROUGH MACHINING (8 IN PRODUCTION, SN: 003)                             141585         LONG LEADS          EA                                 1                    305035.48          305035.48
                                                                                          SIMULATOR;MFR:AKER,PN:10189751,APPLI ACOUSTIC PIG DETECTOR,S/N:SIM‐13‐
Deepwater Warehouse    Fieldwood         72496.A                          MR‐3‐F          11‐12126                                                                       203563        Rio Grande Spares    EA                                 0                         9284                     0
                                                                                          SIMULATOR;MFR:AKER,PN:10189475,APPLI ACOUSTIC SAND DETECTOR,S/N:SIM‐
Deepwater Warehouse    Fieldwood         72497.A                          MR‐3‐F          13‐11‐12127                                                                    203563        Rio Grande Spares    EA                                 0                         9284                     0
                                                                                          SIMULATOR;MFR:AKER,PN:10233298MFR: ROXAR,SPCL FEATRS DIGITAL
Deepwater Warehouse    Fieldwood         72498.A                          MR‐3‐F          PSI/TEMP,S/N:22560‐02.01                                                       203563        Rio Grande Spares    EA                                 0                         4318                     0
                                                                                          PUMP;MFR:MILTON ROY,PN:S32H238/C52,FLW RATE 129 GAL/HR,INLET CONN
Deepwater Warehouse    Fieldwood         72499.A                         BW‐AREA 2        TYP NPT,OUTLT CONN TYP NPT,OPRTG PRESS 3450 PSI                                203563        Rio Grande Spares    EA                                 1                        94000              94000
                                                                                          CLAMP;TYP FLEXIBLE JUMPER HEAD,DIM N/A,MATL N/A,MATL GR N/A,APPLI 1                          Big Bend Riser Gas
Deepwater Warehouse    Fieldwood         72637.A                         MW R16‐3         SET CONSISTS OF 2 PIECES / WITH ANODES,SPEC SWL 5.4 T                          203925             Lift Swap       EA                                 2                        23690              47380
                                                                                          PUMP, DIAPHRAGM;MFR:MILTON ROY,PN:MCM091‐8LPGCFEAMPST33C,OPRTG
                                                                                          PRESS 15 GPH AT 10000 PSI,SPEC 3/4 IN MP CONNECTIONS, 115V XP ELECTRONIC
                                                                                          ACTUATORS, DOUBLE BALL CHECKS, RUPTURE DETECTION W/GAUGE,STD 301SS
Deepwater Warehouse    Fieldwood         72639.A                         BW‐AREA 2        DIAPHRAGMS,MFR:,                                                               203563        Rio Grande Spares    EA                                 1                       150000             150000
                                                                                          ASSEMBLY;MFR:CAMERON,PN:2207813‐31,TYP INSERT
                                                                                          RETRIEVABLE,COMPRISING PLUG, SPECIAL GROOVED CAGE,SPCL FEATRS EQUAL
                                                                                          100 PCT CV TRIM, 7 IN NOSE ON INSERT,APPLI SUBSEA CONTROL CHOKE 10K,EQ
Deepwater Warehouse    Fieldwood         72926.A                        MW‐AREA 6         MODEL:CC40SR                                                                   203563        Rio Grande Spares    EA                                 0                        87145                     0
                                                                                          ASSEMBLY;MFR:TRENDSETTER,PN:TE‐‐101277‐00MFR: FREUDENBERG,TYP                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         72986.C                      DWW FRONT YARD      LOWER,COMPRISING (2) HUBS/PLET, (2) PLETS/WELL, (2) WELL                       143096        DEVELOPMENT LL       EA                                 2                     33710.32           67420.64

                                                                                          ASSEMBLY;MFR:MURPHY,PN:61192,TYP 4 PART SPREADER BAR W/SLINGS,DIM 82
Deepwater Warehouse    Fieldwood         73016.A                        DWW‐YARD          LONG X 52 WIDTH IN,SPEC MAX LIFTING CAPACITY 8 TONS                                           THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                          ASSEMBLY;MFR:OCEANEERING,PN:0429337‐MODMFR: OIE,TYP (27) WAY
                                                                                          CAP,COMPRISING 27 X 1/2 HUNTING RS FEMALE VP COUPLER, ROV PANEL, (2)
                                                                                          TWO 3‐WAY BALL VALVE, 17H DUAL PORT HOT STAB RECEPTACLE,SPCL FEATRS                          MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         73029.B                         MW‐R15‐2         YIELD: 10 KSI,APPLI M2 REMOVABLE PLATE                                         143096        DEVELOPMENT LL       EA                                 1                     74161.31           74161.31

Deepwater Warehouse    Fieldwood         73035.A                         MW‐R20‐FL        VALVE, CONTROL;MFR:MASONEILAN,PN:FVP110,VLV SZ 3",APPLI POSITIONER                            THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                          RING, BACK‐UP;MFR:BAKER HUGHES,PN:H056226100,TYP V,ID 2.366 IN,OD 2.74‐
                                                                                          2.75 IN,SPCL FEATRS LENGTH: 0.188 IN, INTER COMPANY PURCHASES MUST HAVE
                                                                                          BATCH OR APPROVED CERTIFICATIONS W/SHIPMENTS REGULATED TRACEABLE C1                          MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         73375.A                          MR‐4‐D          CRITICAL TO                                                                    143751         COMPLETION/L        EA                                 1                         216.8              216.8
                                                                                          RING, BACK‐UP;MFR:BAKER HUGHES,PN:H0A0161400,ID 1.662 IN,OD 1.826 IN,THK
                                                                                          0.48 IN,SPCL FEATRS LENGTH: 0.78 IN, W/SCARF 45‐DEG CONCAVE CRITICAL                         MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         73378.A                          MR‐5‐D          BATCH MANAGED,MN:BPS‐F202/PE30,MN:SERIES 100                                   143751         COMPLETION/L        EA                                 1                          87.2               87.2
                                                                                          PLATE;MFR:ALFA LAVAL,PN:30110‐69630,MATL SS,THK 0.5‐0.6 mm,SPCL FEATRS
                                                                                          W/ (287) TI PLATES, 0.5 MM NBRP CLIP‐AD GASKETS,APPLI HEAT
Deepwater Warehouse    Fieldwood         73999.A                         BW‐AREA 2        EXCHANGER,MN:MX25‐MFD                                                                         THUNDERHAWK         EA                                 3                          0.01               0.03

Deepwater Warehouse    Fieldwood         74001.A                          BW‐R5‐1         FLANGE;TYP BLIND,DIM DIA 6 IN,CONN SZ N/A,CL 2500,MATL N/A,MATL GR N/A                        THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                          FLANGE;TYP BLIND,DIM DIA 8 IN,CONN SZ N/A,MATL N/A,MATL GR
Deepwater Warehouse    Fieldwood         74002.A                          BW‐R5‐1         N/A,MN:SERIES 1500                                                                            THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                          FLANGE;TYP BLIND,DIM DIA 8 IN,CONN SZ N/A,MATL N/A,MATL GR
Deepwater Warehouse    Fieldwood         74003.A                          BW‐R5‐1         N/A,MN:SERIES 150                                                                             THUNDERHAWK         EA                                 1                          0.01               0.01
                                                                                          CENTRALIZER;TYP COLUMN PIPE,CASNG SZ N/A,ID N/A,OD N/A,LG N/A,MATL
Deepwater Warehouse    Fieldwood         74004.A                         MW‐R19‐1         N/A,HOLE SZ N/A,CONN TYP N/A                                                                  THUNDERHAWK         EA                                 4                          0.01               0.04
                                                                                          PLATE;MFR:ALFA LAVAL,PN:30110‐69626,SPCL FEATRS W/ (163) TI PLATES, 0.7
Deepwater Warehouse    Fieldwood         74006.A                         BW‐AREA 1        MM NBRP GLUED ON GASKETS,APPLI HEAT EXCHANGER,MN:MX25‐BFD                                     THUNDERHAWK         EA                                 0                          0.01                    0

                                                                                          PUMP, INJECTION;MFR:CHECKPOINT PUMPS,PN:P8412HCNQ3,TYP ASSEMBLY,
                                                                                          DOUBLE ACTING,INLT SZ 3/4 IN,SPCL FEATRS MATERIAL: SS 31 XWL, CYLINDER,
Deepwater Warehouse    Fieldwood         74100.C                         BW‐R11‐FL        CER PLUG (MATERIAL: TFE/PEEK/FK),MFR:CHECKPOINT PUMPS,MN:8400                                    NEPTUNE          EA                                 2                          0.01               0.02
                                                                                          COMPUTER;MFR:AKER,PN:BB15‐000731‐05MFR: PANASONIC,TYP
Deepwater Warehouse    Fieldwood         74124.B                        MR‐GENERAL        LAPTOP,BRAND:TOUGHBOOK,BRAND:UNKNOWN                                                                              EA                                 0                     5792.315                     0




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      Facility        Facility Owner   Item Number     Serial No.           Location          Item Description                                                               Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value       WI% Net Value
                                                                                              MTR, ELEC;MFR:EDGEN MURRAY,PN:MTR‐30‐18‐TE‐286TC‐841‐BP,HP 30,RPM
                                                                                              1800,VOLT 120,SPCL FEATRS C FACE HORIZONTAL, SPACE HEATERS IN
                                                                                              ACCORDANCE WITH BALDOR/BP,MFR:RELIANCE,MN:841XL,TAG:PBA‐6205,PBA‐
Deepwater Warehouse    Fieldwood         74178.A                    DWW‐YARD‐C‐VAN 133919 9   6206,PBA‐6207                                                                     203563        Rio Grande Spares    EA                                 1                         5300            5300
                                                                                              MTR, ELEC;MFR:EDGEN MURRAY,PN:MTR‐15‐18‐TE‐254TC‐841‐BPMFR:
                                                                                              BALDOR,HP 15,RPM 1800,VOLT 120,FR 254TC,SPCL FEATRS C‐FACE HORIZONTAL,
                                                                                              SPACE HEATERS, IN ACCORDANCE WITH
Deepwater Warehouse    Fieldwood         74179.A                    DWW‐YARD‐C‐VAN 133919 9   BALDOR/BP,MFR:RELIANCE,MN:841XL,TAG:PBA‐6441 THRU PBA‐6249                        203563        Rio Grande Spares    EA                                 1                         4200            4200
                                                                                              VALVE, RELIEF;MFR:EDGEN MURRAY,PN:3K4JLT‐JBS‐E15‐J/SPL,VLV SZ 3 X 4 IN,SET
Deepwater Warehouse    Fieldwood         74189.A                           MW‐R17‐1           PRESS 245 PSIG,TAG:PSV‐4070A AND PSV‐4080A                                        203563        Rio Grande Spares    EA                                 0                        10550                  0
                                                                                              VALVE, RELIEF;MFR:EDGEN MURRAY,PN:204879‐1MFR: SWAGELOK,TYP MAIN
                                                                                              SAFETY,VLV SZ 6 X 8 IN,PRESS RANGE CL 150,SET PRESS 100 PSI,OPRTD PILOT,SPCL
                                                                                              FEATRS PILOT WETTED INTERNALS DUPLEX,MFR:EDGEN
Deepwater Warehouse    Fieldwood         74190.A                           MW‐R17‐1           MURRAY,MN:44305R68/S1,REF:443                                                     203563        Rio Grande Spares    EA                                 0                        18297                  0
                                                                                              VALVE, RELIEF;MFR:EDGEN MURRAY,PN:204879‐5,VLV SZ 1 X 2 IN,CONN TYP RTJ X
                                                                                              RF,PRESS RANGE CL 300/1500,SET PRESS 2100 PSIG,MFR:EDGEN
Deepwater Warehouse    Fieldwood         74191.A                           MW‐R17‐1           MURRAY,MN:85316D12/S1,TAG:PSV‐1210A                                               203563        Rio Grande Spares    EA                                 0                         9425                  0
                                                                                              VALVE, RELIEF;MFR:EDGEN MURRAY,PN:201822‐1MFR: SWAGELOK,TYP MAIN
                                                                                              SAFETY,VLV SZ 8 X 10 IN,PRESS RANGE CL 150,SET PRESS 250 PSIG,OPRTD
                                                                                              PILOT,SPCL FEATRS PILOT WETTED INTERNALS DUPLEX FITTINGS, DUPLEX
Deepwater Warehouse    Fieldwood         74192.A                           MW‐R17‐1           TUBING,MFR:EDGEN MURRAY,MN:44305T810/SPL                                          203563        Rio Grande Spares    EA                                 0                        91380                  0
                                                                                              VALVE, RELIEF;MFR:EDGEN MURRAY,PN:204879‐2,VLV SZ 6 X 8 IN,SET PRESS 50
Deepwater Warehouse    Fieldwood         74193.A                           BW‐R5‐FL           PSIG,MFR:EDGEN MURRAY,MN:6Q8JBS‐E15,TAG:PSV‐2020                                  203563        Rio Grande Spares    EA                                 1                        25825           25825

                                                                                              VALVE, CONTROL;MFR:EDGEN MURRAY,PN:204824‐1MFR: MASONEILAN,TYP
                                                                                              ANGLE RECIPROCATING MODIFIED LINEAR TRIM,VLV SZ 3 IN,CONN TYP RTJ,CL
Deepwater Warehouse    Fieldwood         74194.A                           MW‐R16‐2           900,DSGN RTNG 21‐45 PSIG,OPRTG PRESS 55 PSIG,BDY MATL STEEL                       203563        Rio Grande Spares    EA                                 0                        25840                  0
                                                                                              VALVE, CONTROL;MFR:EDGEN MURRAY,PN:204824‐3MFR: MASONEILAN,TYP
                                                                                              ANGLE GLOBE,VLV SZ 4 IN,CONN TYP RTJ,CL 900,DSGN RTNG 3‐15 PSIG,BDY MATL
Deepwater Warehouse    Fieldwood         74195.A                           MW‐R16‐2           STEEL ASTM A216,STYL BOLTED BONNET                                                203563        Rio Grande Spares    EA                                 0                        33252                  0
                                                                                              VALVE, CONTROL;MFR:EDGEN MURRAY,PN:204824‐3MFR: MASONEILAN,TYP
                                                                                              ANGLE GLOBE,VLV SZ 4 IN,CONN TYP RTJ,CL 900,DSGN RTNG 3‐15 PSIG,BDY MATL
Deepwater Warehouse    Fieldwood         74195.A                           MW‐R17‐2           STEEL ASTM A216,STYL BOLTED BONNET                                                203563        Rio Grande Spares    EA                                 0                        33252                  0
                                                                                              COOLER;MFR:ITT STANDARD,PN:SN514206048009,TYP OIL,APPLI GLYCOL HEAT
Deepwater Warehouse    Fieldwood         74256.B                         BW‐NEP‐AREA          EXCHANGER                                                                                           NEPTUNE          EA                                 1                          0.01            0.01
                                                                                              VALVE, BALL;PN:NA,CONN 1 SZ 3 IN,CONN 1 TYP RTJ,CL 2500,BDY MATL CS,MATL
Deepwater Warehouse    Fieldwood         74267.A                           BW‐R5‐1            GR N/A                                                                                           THUNDERHAWK         EA                                 1                          0.01            0.01
                                                                                              ELBOW, PIPE;PN:NA,DEG 90,RADIUS LONG,NOM SZ 4 IN,CONN TYP BW,SCH
Deepwater Warehouse    Fieldwood         74268.A                           BW‐R5‐1            160,MATL CS,MATL GR A234 WPB                                                                     THUNDERHAWK         EA                                 2                          0.01            0.02
                                                                                              UNIT; TYPE: PETU‐PORTABLE ELECTRIC TEST; MFR: CAMERON, PN: 223184‐38;                                MC 519
Deepwater Warehouse    Fieldwood         74271.B                          MW‐AREA 4           MFR DRG: SK‐066184‐25 CAMERON                                                     131068          FABRICATION        EA                                 0                     54199.13                0
Deepwater Warehouse    Fieldwood         74288.B                           BW‐R3‐FL           GENERATOR;MFR:SOLAR TURBINES,PN:NEP0001,TYP CART                                                    NEPTUNE          EA                                 1                         0.01             0.01

                                                                                              PLATFORM;MFR:GRAND ISLE SHIPYARD INC.,PN:3X20X150,TYP METAL GRATING,
Deepwater Warehouse    Fieldwood         74292.B                          DWW‐YARD            GALVANIZED,DIM 3 FT WIDE X 20 FT LONG, X 1‐1/2 IN THICKNESS,MATL STEEL                              NEPTUNE          EA                                 5                          0.01            0.05
                                                                                              SUB;MFR:NOV,PN:30184443‐CTM57,TYP SAVER, TDX‐1250, SHOULDER TO
                                                                                              SHOULDER,ID 4.00 IN,OD 10.00 IN,MATL CS,LG 7.35 IN,CONN TYP NC77 STRESS                         MC 782 2 DANTZLER
Deepwater Warehouse    Fieldwood         74362.A                    DWW‐YARD‐C‐VAN 402189 0   RELIEF PIN X CTM‐57 PIN                                                           142981          COMPLETION         EA                                 2                        7029.9        14059.8
                                                                                              PIG, PIPE;MFR:KNAPP POLY PIG,PN:GUNFLINT SPCL,TYP ULTRASEAL LITE CRISS‐                         MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         74397.B                          MR‐GENERAL          CROSS,DIM 6.75 IN                                                                 139057         DEVELOPMENT         EA                                 1                         637.5           637.5
                                                                                              PIG, PIPE;MFR:KNAPP POLY PIG,PN:GUNFLINT SPCL V2,TYP ULTRASEAL LITE                             MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         74398.B                          MR‐GENERAL          BR,DIM 6.75 IN                                                                    139057         DEVELOPMENT         EA                                 1                        918.75         918.75
                                                                                              VALVE, RELIEF;MFR:EDGEN MURRAY,PN:204879‐7,CONN SZ 1 IN 1500LB RTJ X 2 IN
                                                                                              300LB RF,SET PRESS 2100 PSIG,BDY MATL CS,SPEC TAG: PSV‐1010,MFR:EDGEN
Deepwater Warehouse    Fieldwood         74438.A                           MW‐R17‐1           MURRAY,MN:85316D12/S                                                              203563        Rio Grande Spares    EA                                 0                         9425                  0

                                                                                              VALVE, BUTTERFLY;MFR:EDGEN MURRAY,PN:204824‐6,VLV SZ 8 IN,DSGN RTNG
                                                                                              150,CONN TYP FULL LUG/THRU HOLE RF,OPRTD ACTUATOR/POSITIONER AIR TO
                                                                                              OPEN, FAIL CLOSE, 100 PSIG AIR SUPPLY,TRIM ROTARY/HARD FACED SEAT,
Deepwater Warehouse    Fieldwood         74442.A                           MW‐R17‐2           ECCENTRIC PLUG,BDY MATL STEEL                                                     203563        Rio Grande Spares    EA                                 0                         9460                  0
                                                                                              VALVE, CONTROL;MFR:EDGEN MURRAY,PN:204824‐8,TYP GLOBE RECIPROCATING
                                                                                              MULTI STAGE 4 PLUG RATED CV:1,VLV SZ 1 IN,CONN TYP RTJ,CL 1500,OPRTG
                                                                                              PRESS 38‐45 PSIG BENCH SET, AIR TO OPEN, FAIL CLOSE, 50 PSIG AIR SUPPLY,BDY
Deepwater Warehouse    Fieldwood         74486.A                           MW‐R17‐3           MATL STEEL, A216                                                                  203563        Rio Grande Spares    EA                                 0                        20477                  0
                                                                                              VALVE, CONTROL;MFR:MASONEILAN,PN:35‐35212,TYP GLOBE ROTARY,VLV SZ 6
                                                                                              IN,CONN TYP RF FLANGE,CL 150,BDY MATL A216 WCC,TRIM LINEAR, RATED CV
                                                                                              500,OPRTN MTHD FIELDBUS INPUT, AIR TO OPEN, FAIL CLOSE,SPCL FEATRS TAG
Deepwater Warehouse    Fieldwood         74547.A                           BW‐R5‐3            LV‐1040B                                                                          203563        Rio Grande Spares    EA                                 1                        14675           14675
                                                                                              ADAPTOR;MFR:GRAYLOC,PN:H90123‐482,CONN 1 TYP 1502 FEMALE,LG 5.25
                                                                                              IN,DIM DIA 1.61 IN,MATL AISI 4140,SPCL FEATRS 2 GR14 2 WECO, 100K,APPLI                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         74673.A                          MR‐GENERAL          15000 PSI MAX SERVICE                                                             142679         DEVELOPMENT         EA                                 1                         2385            2385
                                                                                              CLAMP;MFR:GRAYLOC,PN:A90148‐5WB,TYP (2) PIECE,DIM LG 5.25 IN,SPCL FEATRS
                                                                                              THREAD: 3/4‐10 UNC, W/ (4) BOLTING, STUD (ASME SA193 B7/(2) NUT (ASTM                           MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         74674.A                          MR‐GENERAL          A194 2H), SPH FACE                                                                142679         DEVELOPMENT         EA                                 1                           202            202
                                                                                              GASKET;MFR:CAMERON,PN:2035804‐08,TYP ASSEMBLY,NOM SZ 6 IN,PRESS RTNG
Deepwater Warehouse    Fieldwood         74792.B                            MR‐3‐B            10000 PSI, MN:SERIES S‐AX                                                                                            EA                                 3                       2907.75        8723.25
                                                                                              PUMP;MFR:BORNEMANN PUMPS INC.,PN:W6.5ZK‐37,TYP WET OIL,FLW RATE
Deepwater Warehouse    Fieldwood         74921.B                          BW‐AREA 2           171.6 GAL/MIN,RPM 1700                                                                           THUNDERHAWK         EA                                 0                         0.01               0
Deepwater Warehouse    Fieldwood         75139.C                          DWW‐YARD            FLYING LEAD;MFR:OCEANEERING,PN:0205858,HYDRAULIC, 7 LINE,275 FEET                 127682        VK 917 1 ST2 DRILL   EA                                 1                        20000           20000
Deepwater Warehouse    Fieldwood         75140.C                          DWW‐YARD            FLYING LEAD;MFR:OCEANEERING,PN:0205859,HYDRAULIC, 11 LINE,150 FEET                127682        VK 917 1 ST2 DRILL   EA                                 1                        20000           20000
                                                                                              JUNCTION PLATE, SUBSEA;MFR:OCEANEERING,PN:423604,TYP 14 WAY
                                                                                              FIXED,SPCL FEATS PO: GUN‐SS‐NEI‐PRO‐POR‐0003 / 6.11, SPEC: S‐110113‐                            MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         75149.A                           MW‐R15‐3           001,APPL GUNFLINT SURPLUS                                                         140528          LONG LEAD          EA                                 1                        34780           34780
                                                                                              KIT;MFR:AKER,PN:10236989,TYP ELECTROSTATIC DISCHARGE SIMULATOR,SPCL
                                                                                              FEATRS PO: BBD‐SSNEI‐PRO‐POR‐0011, SPEC: S‐317793‐1, B‐12639275,APPLI
Deepwater Warehouse    Fieldwood         75150.A                          MR‐GENERAL          BIGBEND SURPLUS                                                                   203563        Rio Grande Spares    EA                                 0                        35000                  0
                                                                                              CONTROL;MFR:AKER,PN:BB13‐060176‐18,TYP ICON TOPSIDE 1200 DUAL CHANNEL
                                                                                              ELECTRIC,SPCL FEATRS SPEC: S‐1401/B/M5201, B‐12045660, PO: BBD‐SSNEI‐PRO‐
Deepwater Warehouse    Fieldwood         75151.A                          MR‐GENERAL          POR‐0011,APPLI BIGBEND/DANZLER SURPLUS                                            203563        Rio Grande Spares    EA                                 0                         3000                  0
                                                                                              CONTROL;MFR:SCHLUMBERGER,PN:BB15‐KM1245‐02,TYP ICON SEM,SPCL FEATRS
                                                                                              PO: BBD‐SSNEI‐PRO‐POR‐0011, SPEC: S‐434, B‐12758927,APPLI ESLICDHPT
Deepwater Warehouse    Fieldwood         75152.A                          MR‐GENERAL          SUBSEA, BIGBEND/DANZLER SURPLUS                                                   203563        Rio Grande Spares    EA                                 0                        14000                  0




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      Facility        Facility Owner   Item Number     Serial No.     Location    Item Description                                                             Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value        WI% Net Value
                                                                                  GAUGE;MFR:SCHLUMBERGER,PN:10195207,TYP DOWNHOLE PRESSURE
                                                                                  TEMPERATURE,APPLI ESLIC, BIGBEND/GOM SURPLUS,SPEC PO: BBD‐SSNEI‐PRO‐
Deepwater Warehouse    Fieldwood         75153.A                      MR‐4‐D      POR‐0011, SPEC: S‐857, B‐11762839                                               203563        Rio Grande Spares   EA                                 1                        14000           14000
Deepwater Warehouse    Fieldwood         75328.A                     BW‐AREA 1    TOOL;MFR:SOLAR TURBINES,PN:3A461/2,APPLI ENGINE LIFT                                           THUNDERHAWK        EA                                 1                         0.01            0.01
Deepwater Warehouse    Fieldwood         75328.B                     BW‐AREA 1    TOOL;MFR:SOLAR TURBINES,PN:3A461/2,APPLI ENGINE LIFT                                           THUNDERHAWK        EA                                 1                         0.01            0.01

Deepwater Warehouse    Fieldwood         75330.A                    MW‐AREA 6     KIT;MFR:SOLAR TURBINES,PN:3A461,APPLI COMPRESSOR ENGINE REMOVAL                                THUNDERHAWK        EA                                 1                          0.01            0.01
                                                                                  VALVE, RELIEF;MFR: ANDERSON GREENWOOD,VLV SZ 3 X 4 IN,CONN TYP RTJ X
                                                                                  RF,PRESS RANGE 300/900 lb,SET PRESS 2025 PSIG,OPRTD N/A,BDY MATL
                                                                                  N/A,MATL GR N/A,MFR:ANDERSON GREENWOOD,MN:85314K34/SPL,MN:PSV‐
Deepwater Warehouse    Fieldwood         75413.A                     MW‐R16‐3     1010                                                                            203563        Rio Grande Spares   EA                                 0                        36013                  0
                                                                                  VALVE, RELIEF;MFR:ANDERSON GREENWOOD,PN:204879‐10,VLV SZ 4 X 6
                                                                                  IN,CONN TYP RTJ X RF,PRESS RANGE 300/900 lb,SET PRESS 2025 PSIG,OPRTD
                                                                                  PILOT,BDY MATL DUPLEX SS,MATL GR 4A,MATL SPEC ASME SA995,ORFC SZ 2.853
Deepwater Warehouse    Fieldwood         75414.A                     MW‐R16‐3     IN,STD API,MN:PSV‐1030                                                          203563        Rio Grande Spares   EA                                 0                        33874                  0

                                                                                  O RING;MFR:BAKER HUGHES,PN:HWWB130V45,INDUS STD 130,MATL FKM (95),                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         75637.A                     MW‐R8‐2      VITON (45),APPLI C1 CRITICAL TO HSE CRITICAL BATCH,STD AS 569,REF:B201          143751         COMPLETION/L       EA                                 1                            22                 22

                                                                                  O RING;MFR:BAKER HUGHES,PN:HWWB214V45,INDUS STD 214,MATL FKM (95),                            MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         75638.A                      MR‐5‐D      VITON (45),APPLI C1 CRITICAL TO HSE CRITICAL BATCH,STD AS 569,REF:B201          143751         COMPLETION/L       EA                                 1                         15.24           15.24
                                                                                  PACKING, PREFORMED;MFR:BAKER HUGHES,PN:H056226200,ID 2.362 IN,OD
                                                                                  2.763 IN,SPCL FEATRS CRITICAL BATCH MANAGED, W/ 0.188 IN LG C1 CRITICAL TO
                                                                                  HSE, SIZE: 2.75 IN,APPLI PACKING UNIT SUB‐                                                    MC 948 2 GUNFLINT
Deepwater Warehouse    Fieldwood         75639.A                     MW‐R8‐2      ASSEMBLY,BRAND:CHEVRON,BRAND:UNKNOWN,REF:BPS‐F101/T90                           143751         COMPLETION/L       EA                                 1                          74.2            74.2
                                                                                  COVER;MFR:OCEANEERING,PN:0440030,TYP LONG TERM PROTECTIVE,SPCL                                MC 948 GUNFLINT
Deepwater Warehouse    Fieldwood         76004.B                     MW‐R16‐FL    FEATRS W/ LOOP AUX PLATE, M1 TYPE                                               140528           LONG LEAD        EA                                 0                        49296                  0
                                                                                  PUMP, SUBMERSIBLE;MFR:S&N PUMPS,PN:9504,APPLI SEA WATER LIFT,MFR:S&N
Deepwater Warehouse    Fieldwood         76263.B                     BW‐R7‐3      PUMPS,MN:KM400‐2MFR:S&N PUMPS,MN:NU911‐2/75                                                       NEPTUNE         EA                                 1                          0.01            0.01
Deepwater Warehouse    Fieldwood         76349.B                    OS‐GENERAL    SERVER, AUTOMATIC DATA PROCESSING;MFR:DELL,PN:7596361                                             NEPTUNE         EA                                 1                          0.01            0.01
Deepwater Warehouse    Fieldwood         76351.B                    OS‐GENERAL    SERVER, AUTOMATIC DATA PROCESSING;MFR:DELL,PN:8596361                                             NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  PUMP ASSEMBLY;MFR:BAKER HUGHES,PN:SE5257HZ11,APPLI PIPELINE
Deepwater Warehouse    Fieldwood         76393.B                    BW‐NEP‐AREA   PUMPS,STD THRUST CHAMBER                                                                          NEPTUNE                                            1                          0.01            0.01
                                                                                  COMPUTER;MFR:SCHNEIDER ELECTRIC,PN:3715‐0153110015006,TYP FLAT PANEL
Deepwater Warehouse    Fieldwood         76396.B                      OS‐R2‐S2    INDUSTRIAL,MFR:,SERIES/VERSION:3700,MN:3715T                                                      NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  COMPUTER;MFR:SCHNEIDER ELECTRIC,PN:4715‐1010310230030,TYP FLAT PANEL
Deepwater Warehouse    Fieldwood         76398.B                      OS‐R2‐S2    INDUSTRIAL,MFR:,SERIES/VERSION:4700,MN:4715T                                                      NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  TRAY, CABLE;MFR:ENDURO,PN:EHL6‐18‐09‐20,DIM WD 18 IN X LG 20
Deepwater Warehouse    Fieldwood         76539.B                    DWW‐YARD      FT,MN:ENDURO CLASS 20                                                                             NEPTUNE         EA                                 1                          0.01            0.01

                                                                                  VALVE, RELIEF;MFR:ANDERSON GREENWOOD,PN:46305‐34/S1/SPL,TYP PILOT
Deepwater Warehouse    Fieldwood         76551.A                     MW‐R17‐1     OPERATED,VLV SZ 4 IN,SPEC 204879‐9,MFR:,SERIES/VERSION:463,TAG:PSV‐1300         203563        Rio Grande Spares   EA                                 0                        10063                  0
                                                                                  PIPE, PVC;PN:1015,NOM PIPE SZ DESGNTN 10 IN,80,LG 15 ft,SPCL FEATS
                                                                                  ORIGINALLY A 20 FT JOINT, BELIEVED TO BE SPEARS PVC PIPE PART NUMBER
Deepwater Warehouse    Fieldwood         76741.B                    DWW‐YARD      1828                                                                                              NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  CAP;MFR:OCEANEERING,PN:0429335,TYP 26 LINE LOGIC, (27) WAY,CONN TYP
                                                                                  FEMALE,APPLI M2 REMOVABLE PLATE EQUIPED WITH 26 X 0.5 HUNTING RS,SPCL                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         77341.B                     MW‐R15‐FL    FEATRS VP COUPLER, PRESSURE: 10000 PSI                                          143096        DEVELOPMENT LL      EA                                 1                        58431           58431
                                                                                  CAP;MFR:OCEANEERING,PN:0429336,TYP 22 LINE LOGIC, (27) WAY,CONN TYP
                                                                                  FEMALE,APPLI M2 REMOVABLE PLATE EQUIPED WITH 22 X 0.5 HUNTING RS,SPCL                         MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         77342.B                     MW‐R15‐FL    FEATRS VP COUPLER, PRESSURE: 10000 PSI                                          143096        DEVELOPMENT LL      EA                                 1                        58431           58431

                                                                                  PUMP;MFR:DURCO,PN:2K3X1.5‐13RV,TYP CENTRIFUGAL,INLT SZ 3 IN,OUTLT SZ
Deepwater Warehouse    Fieldwood         77415.B                     BW‐AREA 2    1.5 IN,APPLI HP FLARE SCRUBBER,MFR:,SERIES/VERSION:MK 3 STD                                    THUNDERHAWK        EA                                 0                          0.01                 0

                                                                                  STUD ASSEMBLY;MFR:FASTENAL,PN:15826.75,DIA 1‐5/8 IN,THD NC,LG 26‐3/4
                                                                                  IN,STUD MATL CS,MATL GR A193,CL B7,NUT QTY 2,NUT TYP HEX HEAD,NUT GR
Deepwater Warehouse    Fieldwood         77616.B                    MR‐GENERAL    2H,NUT MATL CS,APPLI FOR BLEED RING ON FASTNAL 6040 PUMP                                       THUNDERHAWK        EA                                 8                          0.01            0.08

                                                                                  ASSEMBLY;MFR:OCEANEERING,PN:990541313,TYP ANODE CLAMP,SPCL FEATRS                             MC 948 4 GUNFLINT
Deepwater Warehouse    Fieldwood         77898.A                     MW‐R8‐2      W/ 3/8 IN DIA X 6 FT WIRE ROPE,OCEANEERING,REF:DWG. NO. 990541276               143752          COMPLETION/L      EA                                 1                         4500            4500
                                                                                                                                                                                MC 782 DANTZLER
Deepwater Warehouse    Fieldwood         77955.A                    MW‐AREA 4     PLATE, ASSEMBLY;MFR:AKER,PN:10055501,TYP OB, TEST / FLUSH 4‐WAY                 143096         DEVELOPMENT LL     EA                                 1                        36612           36612
                                                                                  CROSSHEAD;MFR:CAMERON,PN:620‐021‐001,TYP GUIDE, WS,APPLI WH 64
Deepwater Warehouse    Fieldwood         78188.B                    DWW‐YARD      COMPRESSOR                                                                                        NEPTUNE         EA                                 1                          0.01            0.01

Deepwater Warehouse    Fieldwood         78194.C                     MW‐R18‐2     ASSEMBLY;MFR:SOLAR TURBINES,PN:219477‐103,TYP OUTER EXHAUST CONE                               THUNDERHAWK        EA                                 1                          0.01            0.01
                                                                                  PUMP ASSEMBLY;MFR: BORNEMANN PUMPS INC.,MFR: RELIANCE,TYP N/A,SZ
                                                                                  N/A,SPEC W/ MOTOR (50 HP, 1800 RPM, 841XL, TEFC, 3/60/460,
Deepwater Warehouse    Fieldwood         78227.A                    MW‐AREA 3     3269T),MN:W6.5ZK‐37 EXECUTION 16,TAG:PBA‐6065, PBA‐6060                         203563        Rio Grande Spares   EA                                 1                        64575           64575
                                                                                  PUMP ASSEMBLY;MFR:PEERLESS,PN:10LB‐2,TYP 2 STAGE,SPEC BALLAST,
Deepwater Warehouse    Fieldwood         78304.B                     BW‐AREA 1    MATERIAL: CAST BRONZE, 1ST STAGE 7.4 IN, 2ND STAGE                                                NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  SKID;MFR:DOLPHIN SERVICES LLC,PN:JN12483,SPCL FEATRS TABLE,APPLI
Deepwater Warehouse    Fieldwood         78305.B                    DWW‐YARD      GENERATOR CHANGE OUTE                                                                          THUNDERHAWK        EA                                 1                          0.01            0.01
                                                                                  TOOL KIT;MFR:SOLAR TURBINES,PN:FT20060‐100,TYP LIFT,APPLI FOR GEARBOX
Deepwater Warehouse    Fieldwood         78391.B                     MW‐R18‐1     C40‐T60                                                                                        THUNDERHAWK        EA                                 0                          0.01                 0

                                                                                  PIPE;NOM SZ 4 IN,OD 4.5 IN,SCH 80,WALL THK 0.337 IN,WT 14.98 lb/ft,MATL
Deepwater Warehouse    Fieldwood         78486.B                    DWW‐YARD      CS,MATL GR ASTM A106,GR B,PROCESS SEAMLESS,END CONN PEB,LG SRL                                    NEPTUNE         FT                                38                          0.01            0.38

                                                                                  PIPE;NOM SZ 3 IN,OD 3.5 IN,SCH 80,WALL THK 0.300 IN,WT 10.25 lb/ft,MATL
Deepwater Warehouse    Fieldwood         78487.B                    DWW‐YARD      CS,MATL GR ASTM A106,GR B,PROCESS SEAMLESS,END CONN PEB,LG SRL                                   NEPTUNE          FT                                22                          0.01            0.22
                                                                                  ASSEMBLY;MFR:AKER,PN:10217716,COMPRISING (12 WAY), (12) LINE) FIXED                           MC 698 BIG BEND
Deepwater Warehouse    Fieldwood         78510.B                     MW‐R16‐3     JUNCTION PLATE, INBOARD TEST AND FLUSHING                                       141585         LONG LEADS         EA                                 1                     14969.81        14969.81

                                                                                  ANGLE, STRUCTURAL;WD 3 X 3 IN,MATL THCK 1/4 IN,WT 4.9 LB.FT,LG 20 FT,MATL
Deepwater Warehouse    Fieldwood         78522.B                    DWW‐YARD      MS ASTM A36,PROCESS HOT ROLLED,SURF TRTMNT HOT DIPPED GALVANIZED                                  NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  PUMP;MFR:PUMP WORKS,PN:330‐00112‐1000,DIM 6 IN,INLT SZ 1 IN,OUTLT SZ 1.5
Deepwater Warehouse    Fieldwood         79835.A                    BW‐NEP‐AREA   IN,MFR:PUMP WORKS,MN:PWA                                                                          NEPTUNE         EA                                 1                          0.01            0.01
                                                                                  PUMP;MFR:MILTON ROY,PN:PN96(115)R40H131/BI.C5.VV2,TYP METHANOL,FLW
Deepwater Warehouse    Fieldwood         80019.B                     BW‐R2‐FL     RATE 129 GAL/HR,OPRTG PRESS 1900 PSI                                                           THUNDERHAWK        EA                                 1                          0.01            0.01
                                                                                  PUMP;MFR:MILTON ROY,PN:PP146(175)S(AA)32H238DX/BI.C5.VV2,TYP
Deepwater Warehouse    Fieldwood         80022.B                     BW‐AREA 2    METHANOL,FLW RATE 128 GAL/HR,OPRTG PRESS 3451 PSI                                              THUNDERHAWK        EA                                 1                          0.01            0.01




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      Facility        Facility Owner   Item Number     Serial No.         Location        Item Description                                                                       Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                          MTR, ELEC;MFR:RELIANCE,PN:7407345‐001,TYP P,HP 30,RPM 1765,VOLT 460,FR
Deepwater Warehouse    Fieldwood         80026.B                         BW‐R3‐FL         286TC,HZ 60,AMP 36.1                                                                                    THUNDERHAWK    EA                                 1                          0.01               0.01

Deepwater Warehouse    Fieldwood         81034.A                         BW‐AREA 1        DUCT;MFR:SOLAR TURBINES,PN:1091389‐101,TYP EXPANSION KIT,DIM 36 INCH                                      NEPTUNE      EA                                 1                          0.01               0.01

                                                                                          BATTERY;MFR:GNB,PN:3‐100G31,TYP VRLA STACKABLE,VOLT 6,CURRENT CPCTY
                                                                                          1900 NOM AH CAP (100HR),DIM 8.59 IN W X 40.25 IN LG X 26.38 IN H,APPLI
Deepwater Warehouse    Fieldwood         81057.A                       BW‐NEP‐AREA        PHOTOVOLTAIC,BRAND:ABSOLYTE GP,MFR:GNB,MN:M8701210013014AALV                                              NEPTUNE      EA                                 1                          0.01               0.01
                                                                                          CLAMP;TYP TUBING PROTECTOR,SZ 6.675 IN,DIM LG 25.25 IN,OD 9.11 IN,MATL
                                                                                          LOW CS,MATL SPEC ASTM A1011,SPCL FEATRS W/ DUAL CHANNELS AND BEVELED
                                                                                          ENDS,APPLI OVER THE COUPLING, (1) LEFT CHANNEL (OD: 1.525 IN), (1) LEFT TO                              GUNFLINT #4
Deepwater Warehouse    Fieldwood         82828.A                                          RIGHT UMBILICAL CHANNEL                                                                   206595        STIMULATION                                      160                        149.7             23952
Deepwater Warehouse    Fieldwood                                            N/A           1‐Blue Conex Box with Subsea Parts and Accessories‐BENNU, ID 000686‐3A                                                                                    1                             0                 0
                                                                                          GASKET, RING JOINT;CODE:VX‐2,MATL:SS,MATL
                                                                                          GR:316,CL:15000PSI,APPLI:WELLHEAD (SIZE: 18‐3/4IN),MFR:VETCO
Deepwater Warehouse    Fieldwood         07248.A                         MW‐10‐2          GRAY,PN:111053‐1,EQ MODEL:MS‐700                                                       AFE FW193004        TROIKA                                         2                                0                 0
                                                                                          GASKET;MFR:VETCO GRAY,PN:H10993‐2,TYP VGX‐2,PRESS RTNG 15000 PSI,DIM
Deepwater Warehouse    Fieldwood         57731.A                         MW‐10‐2          18.75                                                                                  AFE FW193007        TROIKA                                         3                         4683              14049
Deepwater Warehouse    Fieldwood         56483.A                          N/A             Seal: MFR: FMC Technologies, PN:73‐694‐037, MATL Metal                                                                                                    0                       6322.07                 0
Deepwater Warehouse    Fieldwood         56480.A                          N/A             Seal, MFR: FMC Technologies, PN: P1000062046, MATL Metal                                                                                                  0                      14454.29                 0

                                                                                          ASSEMBLY, TYP: TUBING HANGER, SZ: 5 1/2 IN, 29.70 VAM TOP, CL: HH MATL GR:
                                                                                          ASTMA182‐F6NM,COMPRISING:(1) DHPT, (3) CID, (3) DLP, (2) SV,SPCL FEATRS:
Deepwater Warehouse    Fieldwood         50706.A                        MW ‐ AREA 3       15,000 PSI W/O CROWN PLUGS, MFR; FMC TECHNOLOGIES; PN‐P1000041325)                     AFE FW205014       GUNFLINT                                        1                       573670             573670
                                                                                          CAP,TREE;TYP,ROV MATL:UHMW (E50114),MATL GR: HH TRIM, PRESS
                                                                                          RTNG:15,000 PSI,APPLI:INCL; 3RD TEST BARRIER TO ANNULUS VIA HOT STAB,
                                                                    DWW‐YARD‐C‐VAN CPIU   ANTI‐BACKOFF TO LOCK MANDREL OF THE TUBING HANGER, SPEC:35‐250 DEG F
Deepwater Warehouse    Fieldwood         50705.A                       03011222G1         TEMP RNG, MFR: FMC TECHNOLOGIES, PN: P181226                                                                                                              1                       201405             201405
Deepwater Warehouse    Fieldwood                                           N/A            Spare FMC Crown Plug Redress Kit                                                                                                                          0                            0                  0
Deepwater Warehouse    Fieldwood                                           N/A            Crown Plug                                                                                                                                                0                            0                  0
                                                                                          Assembly; TYP: Upper & Lower Crown Plugs, SZ‐41 IN, MATL:HH TRIM, MATL GR‐
                                                                    DWW‐YARD‐C‐VAN CPIU   9CR Alloy 718,SPCL FEATRS:15k PSI; APPLI: F/Tubing HANGER, SPEC: SBMS, MFR;
Deepwater Warehouse    Fieldwood         50704.A                       03011222G1         FMC TECHNOLOGIES, PN: P180150                                                                                                                             1                       146027             146027
                                                                                          RECEPTACLE, MALE, FIXED, 2.000 IN 1/16IN, API 6A FLANGE, MODEL: UH‐575‐550,
Deepwater Warehouse    Fieldwood         46459.A                         MW‐R11‐3         UNITECH, PN: 32391                                                                                                                                        1                       82317.5           82317.5
                                                                                          CONNECTOR, MALE, TEST, W/9/16 AEMP, MODEL: UH‐575‐550, UNITECH, PN:
Deepwater Warehouse    Fieldwood         46462.A                         MW‐R15‐1         32623                                                                                                                                                     2                       73957.5            147915
                                                                                          CONNECTOR, FEMALE, FITTED W/A GRAYLOC HUB & BRACING, MODEL: UH‐575‐
Deepwater Warehouse    Fieldwood         46460.A                         MW‐R12‐3         550, UNITECH, PN: 32392                                                                                                                                   2                    132263.75           264527.5

Deepwater Warehouse    Fieldwood         46466.A                         MW‐R12‐3         CAP, PROTECTION, FOR FEMALE CONNECTOR UH‐575/550, UNITECH, PN: 27387                                                                                      2                        8692.5             17385
                                                                                          Pup Joint, Tubing: MFR: Vallourec, PN: 4' Pup Joint, NOM SZ 5 1/2" Inc, WT 29.70,
                                                                                          MATL GR JFE HP‐2 13 CRM‐115, CONN TYP VAM HC, TOP CONN TYP PIN, Bot
Deepwater Warehouse    Fieldwood         52339.A                         BW‐AREA 3        CONN TYP PIN, LG 4FT                                                                   AFE FW205014       GUNFLINT                                        1                        2289.9            2289.9
                                                                                          Pup Joint, Casing: TYP: JFE, NOM SZ 5 1/2, WT 29.70, MATL: ALLOY, MATL GR: 13
                                                                                          CR 115, Process; VAM Top HC Coupling, TOP CONN TYP: Box, BOT CONN TYP PIN,
Deepwater Warehouse    Fieldwood         50737.A                         BW‐AREA 3        LF;4 FT, SPCL FEATRS: HP‐2                                                             AFE FW205014       GUNFLINT                                        1                      3747.845          3747.845
                                                                                          FITTING; MFR; PETRO TECHNOLOGIES, PN: 150M871 REV C,TYP SUBSEA, RUN SZ                                  GUNFLINT #4
Deepwater Warehouse    Fieldwood         84412.A                          MR‐4‐E          9/16 IN MTM X 1/2 IN POTHI                                                                206595        STIMULATION                                       6                       5314.68          31888.08
                                                                                          CONTROL LINE, HYDRULIC, SINGLE, 0.500 IN X 0.065 WT, INCOLOY 825 MATERIAL,
                                                                                          WELDED, ENCAPULATED, TRANSAQUA FILLED, METAL DRUM, NOBLE QCP,                                           GUNFLINT #4
Deepwater Warehouse    Fieldwood         27496.A                        DWW‐YARD          SCHLUMBERGER, PN: 4D1000000000‐4_MSC                                                      206595        STIMULATION                                     7000                   12.568795          87981.565
                                                                                          TUBE; MFR. BAKER HUGHES, PN: H30796‐13, TYP DUAL CHEMICAL INJECTION LINE                                GUNFLINT #4
Deepwater Warehouse    Fieldwood         62304.A                        DWW‐YARD          FLAT PACK, OD 1/2 IN, MATL ALLOY, MATL GR 825                                             206595        STIMULATION                                     7000                        15.29            107030
                                                                                          4‐Chiksan 3" 6000 Pup Joint (Male x Female):1‐Chiksan 6000 Tee Joints (Male x
                                                                                          Male x Female) 1‐Chiksan 3" 6000 Tee Joint (Female xFemale x Male) 0‐3" 150
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          Check Valev with Chiksan 3' 6000 Male x Female                                                                                                                                             0                 0

                                                                                          1‐4" 150 Check Valve with Chiksan 4" 6000 Male x Female: 1‐6" 150 Blind Flange: 1‐
                                                                                          6" 150 Blind Flange with 1/2 NPT Inlet; 20‐Chiksan Pipe Joints (various sizes): 7‐4"
                                                                                          x 20' (4700) UHMWP Chemical Hoses: 4‐4"90's: 1‐4" Camel: 1‐3" Camel: 12‐2"
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          Wire Rope Slings: 1‐B0X (Loose NUTS, BOLTS & GASKETS)                                                                                                                                      0                 0
Deepwater Warehouse    Fieldwood                                         BW‐R5‐2          Spool Tubing                                                                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood                                         BW‐R4‐1          Spool Wire                                                                                                                                                2                                0                 0
Deepwater Warehouse    Fieldwood                                        MW‐AREA 3          Pallet‐Rack On Pallet (Must Be Stored In Upright Position)                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood                                        MW‐AREA 6         Tubing Hanger Emergency Recovery Tool ASSY: SN 111432828‐01                                                                                               1                                0                 0

                                                                                          Tubing Hanger, STM‐15, 4 1/16" x 2‐1/16" NOM 10000PSI WP Special w/5 1/2 17#
                                                                                          Reg Fox K Thd; w/2X SCSSV, 2X CI, 1X TH Controlled Landing, 1X Test Between
Deepwater Warehouse    Fieldwood                                           N/A            Seals, 1XEXAL Elec Pen, PSL 3, Matl CLS 'FF' 35‐250 Deg F/ SN: 11457446‐1                                                                                 0                                0                 0
Deepwater Warehouse    Fieldwood                                         MW‐R8‐FL         TUBING HANGERS, P/N 2124128‐01                                                                                                                            2                                0                 0
Deepwater Warehouse    Fieldwood                                         MW‐R7‐FL         TUBING HANGER HANDLING TEST TOOLS, P/N 2124135‐01                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood                                         MW‐R8‐1          TUBING HANGER HANDLING TEST TOOLS, P/N 2124135‐01                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          TUBING HANGER RUNNING TOOL, P/N 2124129‐01                                                                                                                1                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          INTERVENTION CAP, P/N 2124118‐01                                                                                                                          1                                0                 0
Deepwater Warehouse    Fieldwood                                         MW‐R7‐FL         DUMMY HANGER, P/N 2124139‐01, S/N 11186901‐01                                                                                                             1                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          Lead Impression Tool, P/N 2124133‐01                                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          TRT Test Cap, P/N 2124620‐01                                                                                                                              0                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          TRT Test Cap Test Skid, P/N 2124121‐01                                                                                                                    0                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          Tool Skid 8 x 8 x 7, P/N 2124137‐01                                                                                                                       2                                0                 0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          1‐Box OD Spares 4 x 4 x 4                                                                                                                                 1                                0                 0
Deepwater Warehouse    Fieldwood                                        MW‐AREA 6         Tree Cap Running Tool ASSY; P/N 2099720‐02, SN: 26‐1567                                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood                                         BW‐R9‐1          BORE PROTECTOR, P/N 2141626‐10, S/N 111207432‐01                                                                                                          1                                0                 0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Orings THRT Control Line Stabs‐P/N KB1632‐216; MFR. OneSubsea                                                                                            23                                0                 0

Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Back Up Ring for THRT Control Line Stabs‐P/N NO 3008‐216, MFR. OneSubsea                                                                                 21                              0                   0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Seal 1 3/8" OD‐P/N 142895‐55‐01‐03, MFR. OneSubsea                                                                                                       14                              0                   0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Seal 5 1/2" OD‐P/N 20‐120919195‐1, MFR. OneSubsea                                                                                                         2                              0                   0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Oring‐P/N 702645‐45‐31, MFR. OneSubsea                                                                                                                    6                              0                   0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Backup Ring‐2 1/E1037 OD‐P/N NO 3008‐230, MFR. OneSubsea                                                                                                  8                              0                   0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Backup Ring‐4 7/8" OD P/N NO 3008‐249, MFR. OneSubsea                                                                                                     8                              0                   0
Deepwater Warehouse    Fieldwood                                        MR‐GENERAL        Couplers for Gunflint 15K Manifild‐P/N 0437828, MFR. Oceaneering                                                                                          2                              0                   0
Deepwater Warehouse    Fieldwood                                           N/A            4‐J Lock Tools                                                                                                                                            0                 1,000.00 each                    0
Deepwater Warehouse    Fieldwood                                        DWW‐YARD          TROIKA Guide Funnel Componets; P/N 2330216‐01; S/N 0335‐01                                                                                                1                              0                   0




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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                                    Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
Deepwater Warehouse     Fieldwood                                          DWW‐YARD            TROIKA DUMMY POD; P/N 60031311; S/N 9523237807360                                                                                                         1                                0                 0
Deepwater Warehouse     Fieldwood                                          DWW‐YARD            TROIKA Tubing Hanger; P/N 2156145‐01; S/N 11324065‐01                                                                                                     1                                0                 0
Deepwater Warehouse     Fieldwood                                          DWW‐YARD            TROIKA Tooling; P/N 2124159‐01 X2; S/N 45284821‐1/S/N 45284821‐4                                                                                          1                                0                 0
                                                                                               TROIKA Tooling REd Paint on Componets w/NCR Stamps:TROIKA Spool Piece; P/N
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            2124584‐01‐B01; S/N 45605849‐1‐1:                                                                                                                         1                                0                 0
                                                                                               G2 Tubing Hanger W/Upper and Lower SSR Plugs; P/N 2055294‐12; S/N
Deepwater Warehouse    Fieldwood                                              N/A              110357224‐01                                                                                                                                              0                                0                 0
                                                                                               Tubing Hanger Running Tool; Tubing Hanger Running Tool Handleing Test Tool,
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            Tubing Hanger; THRT‐Cameron Rental 26‐M‐0128, P/N 21456145‐01                                                                                             1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            TROIKA Adapter; P/N 100072958;S/N SST‐33827                                                                                                               1                                0                 0
                                                                                               TROIKA Seal ASSY's‐Three (3) Pallets:MacPac Clamps; P/N 2099099‐3 X2; S/N
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            11196376‐1                                                                                                                                                1                                0                 0
                                                                                               TROIKA Clamp; Shell ID# 24464:TROIKA Tooling; P/N 1000061862;S/N 5124‐00‐1:
                                                                                               Slings; P/N 1000022786; S/N 366059‐1‐1: Seal Assy P/N 169220;S/N 2012‐10‐
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            0589N                                                                                                                                                     1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            DMC Tooling P/N; P147721; S/N 2082810‐01                                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            Seal Assy P/N 143264; S/N 2013‐05‐1451H                                                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            TROIKA Tooling P/N 1000052576 x4: TROIKA Tooling P/N 1000052576 x4                                                                                        1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            HGR P/N 1000061862; S/N 2013‐11‐943H                                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            SEAL P/N 1000090225; S/N 82164‐3                                                                                                                          1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            SEAL P/N 1000086840; S/N 2008‐02‐1056H                                                                                                                    1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            SEAL P/N 168737: S/N 84190‐1                                                                                                                              1                                0                 0
                                                                                               TROIKA Oil Cooler‐Asset # HI 573‐A G1: 1‐18.75 Gasket (To be Crated for Shipping)
Deepwater Warehouse    Fieldwood                                             N/A               P/N 041700‐47‐01:1‐Sea Chest P/N 104120‐0000                                                                                                                                               0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            1‐ Test Stand P/N 0428793                                                                                                                                                                  0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐3            1/4" National Coupler Welded Assembly P/N 743‐28933                                                      TROIKA                                           6                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐3            1/4" National Coupler Welded Assembly P/N 743‐28934                                                      TROIKA                                           3                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐3            1/4" National Coupler Welded Assembly P/N 743‐28799                                                      TROIKA                                           3                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐3            1/4" National Coupler Welded Assembly P/N 743‐28800                                                      TROIKA                                           2                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐3            1/4" National Coupler Welded Assembly P/N 743‐28801                                                      TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐3            1/4" National Coupler Welded Assembly P/N 743‐28925                                                      TROIKA                                           2                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐2            Semi Subsea Elec Module P/N BAA‐43101                                                                    TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            0.16 L Diaphragm Accumulator P/N 436‐29107                                                               TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            Suttle Valve Assembly P/N 742‐21493                                                                      TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            Pilot Filter Assembly P/N 115‐28944                                                                      TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            Filter Assembly (High Pressure) P/N 125‐28880                                                            TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            Filter Assembly (Low Pressure) P/N 125‐28882                                                             TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            Anchorage Block P/N 402‐28627                                                                            TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            10 L Accumulator P/N 436‐28711                                                                           TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            2.5L Accumulator P/N 436‐29710                                                                           TROIKA                                           1                                0                 0
                                                                                               Master Control Station (MCS) 0‐200MZ Pentium Motherboard P/N 720‐30154; 0‐
Deepwater Warehouse    Fieldwood                                             N/A               SCSI Card 1540 P/N 720‐30155; 0‐PLC Little Star P/N 905‐28845                                            TROIKA                                                                            0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐3            ACC, BLDR, 3KPSI, 11 Gallon P/N 822787                                                                   TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                           BW‐AREA 1           SCM (POD) P/N BAA‐43000                                                                                  TROIKA                                           2                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            SCM Running Tool P/N BAA‐72000                                                                           TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            SCM Running Tool Shipping Frame P/N BAA‐71100                                                            TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                           DWW‐YARD            SCM Shipping Frame P/N BAA‐71000                                                                         TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            SCM Handling Tool P/N 782‐21860                                                                          TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R6‐2            Choke Blanking Cap (SN‐C2) P/N A109941‐65                                                                TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐2            Choke Insert P/N MV0151V2P2                                                                              TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            3 Way 2 Position Piloted Operated Directional Control Valve P/N 834337                                   TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            MW‐R7‐1            8‐Way EFL 230 FT P/N BAA‐41000                                                                           TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                            BW‐R8‐2            Handling Sub P/N 2123000‐01; S/N 2657807220/ 952‐3045685‐90                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood                                             N/A               1‐Washing Machine "New" No Asset # for Neptune Spar VK 826‐A                                                                                                                               0                 0
                                                                                               5‐VX‐2 Gasket 18.750 Stainless Steel. 15 KSI MWP; Item # 111053‐1/HTS Code
                                                                                               8484.10.0000: 05/15/19 3‐Shipped to One Subsea Morgan City, LA to Chuck
Deepwater Warehouse    Fieldwood                                              N/A              Williams for FW 193004                                                                                                                                                                     0                 0
                                                                                               5‐Molded Nitrile VX Gasket, Stainless Steel, 18.750‐10000 PSI MSP; Item # 111227‐
                                                                                               1/HTS Code 8484.10.0000: 05/15/19 3‐Shipped to One Subsea Morgan City, LA to
Deepwater Warehouse    Fieldwood                                              N/A              Chuck Williams for FW 193004                                                                                                                                                               0                 0
                                                                                               Skoflo CMIV 100278‐L200‐L201‐R‐ODI‐00‐H dual core LF/LF MOD Bus ‐ODI‐ROV
Deepwater Warehouse    Fieldwood         82830.A                            MR‐R10‐2           S/N 4231 10,000 PSIG                                                                                      TA‐3                                            0                                0                 0
                                                                                               Skoflo CMIV 100278‐L200‐L201‐R‐ODI‐00‐H dual core LF/LF MOD Bus ‐ODI‐ROV
Deepwater Warehouse    Fieldwood         82831.A                          MW‐R10‐1             S/N 4232 10,000 PSIG                                                                                      TA‐2                                            0                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree cap Test Stand : 13x11x5 Wt. 5,000 Lbs.                                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Debris Cap: 2x2x1 Wt 200 Lbs                                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Shipping Skid: 16x11x16 Wt 6,000 Lbs                                                                                                                 1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Shipping Skid: 16x11x16 Wt. 6,000 Lbs                                                                                                                1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER       Tree Test Skid: 14x10x3 Wt. 10,000 lbs                                                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Running tool test Skid: 10x10x3: Wt 7,000 Lbs                                                                                                        1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      MacPac Jumper Structure: 11x9x7 6,000 Lbs                                                                                                                 1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      MacPac Jumper Structure: 11x9x7 6,000 Lbs                                                                                                                 1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      MacPac Hub on Spool: 6x2x2 Wt. 1,000 Lbs                                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      MacPac Spool with Clamp: 4x2x2 Wt 2,000 lbs                                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Cap Running tool with Guide funnel: 13x3x4 Wt 1500 Lbs                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Cap Top Plate: 4x4x1 Wt 1,000 lbs                                                                                                                    1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Cap Skirt: 4x4x4 Wt 2,000 lbs                                                                                                                        1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tree Cap: 4x4x5 Wt 5,000 lbs                                                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER       Interventon Tree Cap: 4x4x7 Wt 5,500lbs                                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER      Tubing Hanger Stand: 2x2x1 200Lbs                                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER       Emergemcy Tree connector unlocking tool: 19x9x9 Wt. 12,000 lbs                                                                                           1                                0                 0
Deepwater Warehouse    Fieldwood                                     DWW YARD ‐ SE CORNER       Debris Cap with Hotstab: 2x2x4 Wt. 800Lbs                                                                                                                1                                0                 0
Deepwater Warehouse    Fieldwood         82832.A                          OS‐R2‐S3             PI003922                                                                                                                                                 10                                0                 0
Deepwater Warehouse    Fieldwood         82833.A                          OS‐R2‐S3             PI003924                                                                                                                                                 10                                0                 0
Deepwater Warehouse    Fieldwood         82834.A                          OS‐R2‐S3             PI14340                                                                                                                                                   6                                0                 0
Deepwater Warehouse    Fieldwood         82835.A                          OS‐R2‐S3             Trendsetter Eng. P/N 6400‐04‐10‐55                                                                                                                        1                                0                 0
Deepwater Warehouse    Fieldwood         82836.A                          OS‐R2‐S3             Lonestar PI004141                                                                                                                                         4                                0                 0
Deepwater Warehouse    Fieldwood         82837.A                          OS‐R2‐S3             Lonestar PI005846                                                                                                                                         6                                0                 0
Deepwater Warehouse    Fieldwood         82838.A                          OS‐R2‐S3             Cameron S‐Ax Gasket, P/N 2165231‐06                                                                                                                       1                                0                 0
                                                                                               O‐RING, SIZE AS 568‐360, 5.850 ID X .210 W 85D. MFR: ONESUBSEA, PN: 702647‐
Deepwater Warehouse    Fieldwood         82839.A                            OS‐R2‐S3           36‐01                                                                                                                                                     2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O‐RING, SIZE AS 568‐360, 5.850 ID X .210 W 85D. MFR: ONESUBSEA, PN: 702647‐                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82839.A                          CONTROLLED)          36‐01                                                                               AFE FW580018         NOVESA                                           1                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                                 Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
Deepwater Warehouse     Fieldwood         82841.A                           OS‐R2‐S3           Parker P/N N0300 8‐360                                                                                                                                 3                                0                 0
Deepwater Warehouse     Fieldwood         82842.A                           OS‐R2‐S3           Trendsetter Eng. PI005715                                                                                                                              1                                0                 0
Deepwater Warehouse     Fieldwood         82843.A                           OS‐R2‐S3           Grayloc Seal Ring P/N 51284N                                                                                                                           8                                0                 0
Deepwater Warehouse     Fieldwood         82844.A                           OS‐R2‐S3           VANCO, S‐AX GASKET P/N 2274164‐04                                                                                                                      2                                0                 0
Deepwater Warehouse     Fieldwood         82845.A                           OS‐R2‐S3           Sealco P/N P1014341                                                                                                                                    6                                0                 0
Deepwater Warehouse     Fieldwood         82846.A                           OS‐R2‐S3           Sealco P/N P1014342                                                                                                                                    8                                0                 0
Deepwater Warehouse     Fieldwood         82847.A                           OS‐R2‐S3           Sealco P/N P1014463                                                                                                                                   16                                0                 0
Deepwater Warehouse     Fieldwood         82848.A                           OS‐R2‐S3           Sealco P/N P1014464                                                                                                                                   14                                0                 0
Deepwater Warehouse     Fieldwood         82849.A                           OS‐R2‐S3           Trendsetter Eng. P/N TEI‐08030411‐00                                                                                                                   1                                0                 0
Deepwater Warehouse     Fieldwood         82850.A                           OS‐R2‐S3           Oceaneering P/N 3300470‐H                                                                                                                              1                                0                 0
Deepwater Warehouse     Fieldwood         82851.A                           OS‐R2‐S3           Oceaneering P/N A05320‐M                                                                                                                               1                                0                 0

                                                                                               Downhole instrumenation Wet‐Mate receptacle connector fitted with single way
Deepwater Warehouse    Fieldwood         82852.A                            OS‐R2‐S2           pin insert, P/N ‐ BNX‐EB028BB1000021, DHCE‐B28‐BB‐01P‐000‐121                    AFE FW181011                                                          1                     12075.69           12075.69
                                                                                               100' EFL 6 way ODI ROV CE plug with 4‐way ODI ROV CE receptacle with sockets
Deepwater Warehouse    Fieldwood         82853.A                           MW‐R12‐1            P/N 00‐71352 S/N 2019‐1342‐3‐1                                                   AFE FW193004         TROIKA                                           0                                0                 0
Deepwater Warehouse    Fieldwood         82854.A                           MW‐AREA 2           WELLHEAD CLEANING TOOL P/N 990071718                                             AFE FW192008                                                          1                                0                 0
Deepwater Warehouse    Fieldwood         82855.A                           DWW‐YARD            Troka Tree Cap P/N 2124118‐01                                                    AFE FW192009                                                          1                                0                 0
                                                                                               Downhole Instrumentation dry‐mate plug connector with single way socket insert
                                                                                               (crimp termination) to suit 18/16AWG downhole cable. P/N ‐ BNX‐
Deepwater Warehouse    Fieldwood         82856.A                            OS‐R2‐S2           EA051BQ1000121, DHCE‐A51‐BQ‐01S‐001‐121                                          AFE FW181011                                                          2                       8960.35           17920.7

Deepwater Warehouse    Fieldwood         82857.A                            OS‐R2‐S2           Miniature dry mate downhole receptacle, P/N ‐ BNX‐TC6A‐512‐HN, TC6A‐512‐HN       AFE FW181011                                                          1                       8912.06           8912.06
                                                                                               ASSY, TREE HANDLING TOOL & ROV T‐HANDLE, MFR. P/N ‐ 2301786‐02, S/N ‐
Deepwater Warehouse    Fieldwood         82858.B                          BW‐AREA 3            11190781‐01                                                                                                                                            1                                0                 0
Deepwater Warehouse    Fieldwood         82859.B                          MW‐AREA‐6            TREE REMOVAL TOOL, P/N 2124131‐01, S/N 111432828‐0                                                                                                     1                                0                 0
Deepwater Warehouse    Fieldwood         82860.A                      MW‐R13‐1/MW‐AREA 4       DUCT DIFFUSER EXHAUST; MFR. SOLAR TURBINE, PN: 115808‐304                                           BULLWINKLE                                         2                                0                 0
                                                                                               DC LUBE OIL PUMP; VORE‐VENT 3500 RPM, MFR. BUFFALO PUMPS, PN: 190971‐
Deepwater Warehouse    Fieldwood         82861.A                           MW‐R13‐1            100,                                                                                                BULLWINKLE                                         1                                0                 0
                                                                                               DC LUBE OIL MOTOR; 120V, 3500 RPM, SP HTR 30W, MFR. GE KINAMATIC DC
Deepwater Warehouse    Fieldwood         82862.A                           MW‐R13‐1            MOTOR, TYPE CD2110APY, MODEL 5BY554ZD800A805                                                        BULLWINKLE                                         1                                0                 0
Deepwater Warehouse    Fieldwood         82864.A                             MR‐3‐F            7 WAY MALE TEST CONNECTORS                                                       AFE FW193007         TROIKA                                           4                                0                 0
Deepwater Warehouse    Fieldwood         82865.A                            OS‐R1‐S1           UNIV ROV CE PROTECTIVE CAP P/N 0374955                                                                TROIKA                                          26                                0                 0
Deepwater Warehouse    Fieldwood         82866.A                            OS‐R1‐S1           7 way ROV retrievable shorting plug P/N 0343821                                                       TROIKA                                           4                                0                 0
Deepwater Warehouse    Fieldwood         82867.A                            OS‐R1‐S1           7 way electrical test plug P/N 0428788                                                                TROIKA                                           0                                0                 0
Deepwater Warehouse    Fieldwood         82868.A                            OS‐R1‐S1           Polyefin tubing spool P/N 0467370                                                                     TROIKA                                           2                                0                 0
Deepwater Warehouse    Fieldwood         82869.A                          BW‐NEP‐AREA          PUMP; 6X8X11 MPV 3 STAGE LACT CHARGE PUMP, MFR. AFTON                                                NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82870.A                          BW‐NEP‐AREA          RADIATOR; MFR. CATAPILLAR, P/N ‐ 8N‐4880                                                                                                               1                                0                 0
                                                                                               LEAD, ELECTRICAL;MFR: AKER,PN:10048739,TYP FLYING LEAD (EFL),TERM TYP 6
Deepwater Warehouse    Fieldwood         82871.A                           MW‐AREA 1           WAY PLUG X 4 WAY RECEPT,LEAD OVRL LG 26'                                                                                                               0                                0                 0
                                                                                               HANGOFF (20) STUDS AND (40) NUTS P/N WS‐PO51191 STUD 1.875 BUN X
Deepwater Warehouse    Fieldwood         82872.A                           BW‐AREA‐3           350MM BL                                                                                                                                               1                                0                 0
                                                                                               (48) STUDS 1.125 BUN X 11 BL. P/N WS‐PO51907 / (96) HEX NUTS 1.125 BUN BL
                                                                                               P/N WS‐P24968 / (4) SBX169 SEAL RING INC625 P/N WS‐P10070 / (4) VENT
Deepwater Warehouse    Fieldwood         82873.A                           BW‐AREA‐3           VALVES 0.250 ‐ 18NPT RV05‐575 P/N WS‐P00646                                                                                                            1                                0                 0
Deepwater Warehouse    Fieldwood         82874.A                           BW‐AREA‐3           (12) HEX NUTS M42 BL P/N WS‐P30118 / (12) STUDS M42 X 255MM BL                                                                                         1                                0                 0
                                                                                               (1) JAP PENETRANT AEROSOL P/N WST010012 / (1) JAD DEVELOPER AEROSOL P/N
Deepwater Warehouse    Fieldwood         82875.A                           BW‐AREA‐3           WS‐T010011 / (2) JAC 2 AEROSOL P/N WS‐T010010                                                                                                          1                                0                 0
                                                                                               (1) B1666B HANG‐OFF ASSEMBLY P/N WS‐P051633 / (1) B1666B HANG‐OFF
Deepwater Warehouse    Fieldwood         82876.A                           BW‐AREA‐3           ISOLATION KIT                                                                                                                                          1                                0                 0
                                                                                               (1) 2MTRS B1666B‐01 SHIELD SAMPLE / 6 FOIL BAGS OF WELDING RODS PA12
                                                                                               NATURAL (20MTRS PER BAG) P/N WS‐P22176 / (3) CANUSA TAPE 4" P/N T04640 /
                                                                                               (3) TAPE CLEAR STRAPPING 100MM X 3M P/N WS‐T05745 / (2) MTRS CORROLITE
Deepwater Warehouse    Fieldwood         82877.A                           BW‐AREA‐3           P/N WS‐P00686                                                                                                                                          1                                0                 0
                                                                                               (20) STUDS 1.875‐8UN X 350MM BL P/N WS‐P051991 / (40) HEAVY HEX NUTS
Deepwater Warehouse    Fieldwood         82878.A                           BW‐AREA‐3           1.875‐8UN BL P/N WS‐P052181                                                                                                                            1                                0                 0
                                                                                               (4) BRACELET ANODE 2/94XS/FS B1666B P/N WS‐P051733 / (48) ANODE
                                                                                               FASTENER SET M12X1.75X150MM P/N WS‐P19399 / (6) CONTINUITY CABLE 0.6L
                                                                                               N00001520114 P/N WS‐P29209 / (18) CONTINUITY CABLE 0.6ML N0000152‐115
                                                                                               P/N WS‐P17460 / (6) CAPSCREWS SHO0.750 ‐16UNF‐2A 8.25L UN P/N WS‐
Deepwater Warehouse    Fieldwood         82879.A                           BW‐AREA‐3           P050535                                                                                                                                                1                                0                 0
Deepwater Warehouse    Fieldwood         82880.A                           BW‐AREA‐3           (1) 4.5" DYNAMIC PR STOPPER CLAMP AND INSTALLATION EQUIPMENT.                                                                                          1                                0                 0
Deepwater Warehouse    Fieldwood         82881.A                           BW‐AREA‐3           (1) TETHER CLAMP ASSEMBLY P/N D15005‐01‐057                                                                                                            1                                0                 0
                                                                                               (1) PULL‐IN INSTALLATION JIG 113.03CM X 113.03CM X 220.03CM P/N D15005‐02‐
Deepwater Warehouse    Fieldwood         82882.A                           BW‐AREA‐3           050                                                                                                                                                    1                                0                 0

Deepwater Warehouse    Fieldwood         82883.A                           BW‐AREA‐3           (1) FUNNEL ASSEMBLY 192.72 CM X 130.33CM X 122.87CM P/N D15005‐01‐004                                                                                  1                                0                 0
                                                                                               (22) DURGUARD HALVES P/N WS‐P051886 / (55) 625 INCONEL BANDING AND
                                                                                               BUCKLES P/N P053299 / (55) 625 INCONEL BANDING AND BUCKLES P/N WS‐
                                                                                               P053300 / (1) MANUAL INSTALLATION TOOL P/N WS‐P30164 / (1) PNEUMATIC
Deepwater Warehouse    Fieldwood         82884.A                           BW‐AREA‐3           INSTALLATION TOOL P/N WS‐P30084                                                                                                                        1                                0                 0
Deepwater Warehouse    Fieldwood         82885.A                           BW‐AREA‐3           (1) SHAFT ASSEMBLY 107.31CMOD X 135.57L P/N D15005‐01‐005                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood         82886.A                           BW‐AREA‐3           (1) U5‐UMBILICAL                                                                                                                                       1                                0                 0
Deepwater Warehouse    Fieldwood         82887.A                           BW‐AREA‐3           (1) SHAFT ADAPTER SPOOL ASSEMBLY P/N D15005‐01‐006                                                                                                     1                                0                 0
                                                                                               HOSE, EATON SYNFLEX 33CP 08 COLLAPSE PROOF 1/2" ID 5000 PSI WP 150475
Deepwater Warehouse    Fieldwood         82888.A                           BW‐AREA‐3           02330                                                                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood         82889.A                           BW‐AREA‐3           (8) TURN BUCKLES                                                                                                                                       8                                0                 0
Deepwater Warehouse    Fieldwood         82890.A                           BW‐AREA‐3           (1) FUNNEL FASTENERS                                                                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood         82891.A                           BW‐AREA‐3           (1) CRATE ASSORATED NUTS AND BOLTS                                                                                                                     1                                0                 0

                                                                                               SLEEVE;PN:HUNT‐1615,TYP HOLD OPEN,MATL HT 4140,SPCL FEATRS HUNTING
                                                                                               3.615 IN NO‐GO OD FOR 3.562 IN RPT PROFILE, 131 IN BELOW NO‐GO W/ 110                               GUNFLINT #4
Deepwater Warehouse    Fieldwood         82892.A                         VERTICAL RACK         MIN YIELD RUNNING TOOL AND TOP SUB, SLEEVE BARREL: 1026 DOM                         206595          STIMULATION                                        0                         6250                     0
Deepwater Warehouse    Fieldwood         82893.A                          BW‐AREA‐3            (1) CRATE ASSORATED NUTS AND BOLTS                                                                                                                     1                            0                     0
                                                                                               EFL 12P TO 12S 40M, CONNECTOR HOUSING MATERIAL: INCONEL. MFR:
Deepwater Warehouse    Fieldwood         82894.A                            MW‐R8‐1            ONESUBSEA, PN: 2197088‐51‐18                                                     AFE FW193007         TROIKA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   EFL 12P TO 12S 40M, CONNECTOR HOUSING MATERIAL: INCONEL. MFR:                                     KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82894.A                          CONTROLLED)          ONESUBSEA, PN: 2197088‐51‐18                                                     AFE FW580018         NOVESA                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82895.A                            MW‐R8‐1            EL ROV PARK 12S W/INSERT P/N 2197088‐13‐62                                       AFE FW193007         TROIKA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                     KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82895.A                          CONTROLLED)          EL ROV PARK 12S W/INSERT P/N 2197088‐13‐62                                       AFE FW580018         NOVESA                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82897.A                            MW‐R8‐1            EL ROV PARK 4/7/12P W/O INSERT P/N 2197088‐05‐57                                 AFE FW193007         TROIKA                                           2                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                                    Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82897.A                          CONTROLLED)          EL ROV PARK 4/7/12P W/O INSERT P/N 2197088‐05‐57                                    AFE FW580018         NOVESA                                           3                                0                 0
                                                                                               SKOFLO CHEMICAL INJECTION METERING VALVE (CIMV), 4‐WAY MALE STAB
                                                                                               PLATE ELECTRICAL CONNECTOR, DUAL CORE, LOW FLOW/ LOW FLOW, 15K PSI
Deepwater Warehouse    Fieldwood         82898.B                           MW‐R11‐1            S/N 4689                                                                                                                                                  1                                0                 0
                                                                                               SKOFLO CHEMICAL INJECTION METERING VALVE (CIMV), 4‐WAY MALE STAB
                                                                                               PLATE ELECTRICAL CONNECTOR, DUAL CORE, LOW FLOW/ LOW FLOW, 15K PSI
Deepwater Warehouse    Fieldwood         82899.B                           MW‐R11‐1            S/N 4721                                                                                                                                                  1                                0                 0

                                                                                               VALVE, SUBSURFACE SAFETY;MFR:SCHLUMBERGER,PN:100400601,TYP SURFACE
                                                                                               CONTROLLED,TUBNG SZ 3‐1/2 IN,WT 12.7 lb/ft, PRFILE 2.562 RPT,OD 5.708
Deepwater Warehouse    Fieldwood         82900.A                           MW‐AREA 3           IN,CONN TYPE VAM TOP BOX X PIN,WRKNG PRESS 15,000 PSI,MN: PINNACLE‐15                                                                                     3                                0                 0

                                                                                               SKOFLO CHEMICAL INJECTION METERING VALVE (CIMV), 4‐WAY MALE BULKHEAD
Deepwater Warehouse    Fieldwood         82901.A                           MW‐R10‐1            ELECTRICAL CONNECTOR, DUAL CORE, LOW FLOW/ LOW FLOW, 10K PSI S/N 1512                                                                                     1                                0                 0

                                                                                               SKOFLO CHEMICAL INJECTION METERING VALVE (CIMV), 4‐WAY MALE BULKHEAD
Deepwater Warehouse    Fieldwood         82901.A                           MW‐AREA 1           ELECTRICAL CONNECTOR, DUAL CORE, LOW FLOW/ LOW FLOW, 10K PSI S/N 1517               AFE FW193006        GENOVESA                                          0                                0                 0
Deepwater Warehouse    Fieldwood         82902.A                           MW‐R14‐1            MANIFOLD PRESSURE CAP, MFR. SEAHORSE ENERGY, INC., P/N 190001017                                                                                          2                                0                 0
Deepwater Warehouse    Fieldwood         82903.A                           MW‐R14‐1            MCPAC CLAMP SPACER                                                                                                                                        1                                0                 0
Deepwater Warehouse    Fieldwood         82904.A                           MW‐R11‐FL           RCPTCL;MFR:SKOFLO,PN:100230,TYP DUAL CORE                                                                                                                 2                                0                 0
                                                                                               TABLE LIFT; MOBILE HEAVY DUTY SCISSOR 40" X 20", MFR: GLOBAL INDUSTRIAL,
Deepwater Warehouse    Fieldwood         82905.A                          BW‐NEP‐AREA          MN: WR3988933, 2200 LB. CAPACITY                                                                        NEPTUNE                                           1                                0                 0

Deepwater Warehouse    Fieldwood         82906.A                           MW‐R14‐1            M1 LONG TERM PROTECTIVE COVER 14‐WAY, 14‐PRVC ASSEMBLY P/N 0442364                                                                                        1                                0                 0
                                                                                               ELECTRICAL FLYING LEAD, ODI 90 DEG, 7 WAY MALE X 4 WAY FEMALE, 60M PN:
Deepwater Warehouse    Fieldwood         82907.A                           MW‐R13‐3            P/N 00‐71349‐01                                                                                                                                           1                                0                 0
                                                                                               MACPAC CLAMP, MFR. SEAHORSE ENERGY, INC. P/N: S‐190001317 S/N: SSN‐
Deepwater Warehouse    Fieldwood         82908.A                           MW‐R13‐2            190002075                                                                                                                                                 1                                0                 0
Deepwater Warehouse    Fieldwood         82909.A                           MW‐R13‐2            MACPAC DEBRIS CAP P/N 2035504‐02                                                                                                                          2                                0                 0
Deepwater Warehouse    Fieldwood         82910.A                           MW‐R12‐2            CROSBY M052                                                                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood         82911.A                           MW‐AREA 6           MACPAC TOOL P/N 2098861‐02                                                                                                                                2                                0                 0
Deepwater Warehouse    Fieldwood         82912.A                           MW‐R17‐2            MQC PLATE ASSY. 12‐WAY TEST P/N 10062543                                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood         82913.A                            MW‐R8‐3            TOP MARINE GROWTH COVER PLATE P/N A08216                                                                                                                  3                                0                 0
Deepwater Warehouse    Fieldwood         82914.A                            MW‐R8‐3            M1 FIXED PLATE COVER BODY P/N 0296994                                               AFE FW193006        GENOVESA                                         12                                0                 0
                                                                                               PRESSURE INTENSIFIER, MFR. BIFOLD MARSHALSEA, P/N: P173‐01751‐02‐09‐11‐SS‐
Deepwater Warehouse    Fieldwood         82915.A                            OS‐R3‐S2           NIT‐0420                                                                                                                                                  3                                0                 0
Deepwater Warehouse    Fieldwood         82916.A                          BW‐NEP‐AREA          NEPTUNE AC REPAIR KIT                                                                                   NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82917.A                           MW‐AREA 5           EXPANSION JOINT (OUTSIDE); EXHAUST, MFR. SOLAR TURBINE, 701/702                                        BULLWINKLE                                         1                                0                 0
                                                                                               BUTTERFLY VALVE; EXHAUST, MFR. SHAN‐ROD, INC., MODEL NO. 2220‐6, SIZE:
Deepwater Warehouse    Fieldwood         82918.A                           MW‐AREA 5           36", 701/702 WHRU                                                                                      BULLWINKLE                                         1                                0                 0
Deepwater Warehouse    Fieldwood         82919.A                            MR‐4‐B             7W ROV FXD TEST PLUG W/PGT, MFR. TELEDYNE, PN: 1001606                              AFE FW193007         TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82920.A                            MR‐5‐B             7W ROV BLKHD TEST RCPT W/3M PGTS, MFR. TELEDYNE, PN: 1001611                        AFE FW193007         TROIKA                                           1                                0                 0
                                                                                               COVER;MFR: TELEDYNE ODI, TYP 4 WAY ELECTRICAL LTPC ODI/NAUTILUS
                                                                                               ELECTRICAL LONG TERM PROTECTIVE,SPCL FEATRS RECEPTACLE COMPENSATED
Deepwater Warehouse    Fieldwood         82921.A                            OS‐R1‐S1           W/LOOPS 1‐2 AND 3‐4                                                                                      TROIKA                                           2                                0                 0
                                                                                               7 WAY,MFR. TELEDYNE ODI, ROV RETRIEVABLE SHORTING PLUG PINS, LOOPED 1‐
Deepwater Warehouse    Fieldwood         82922.A                             MR‐3‐F            2, 4‐5                                                                              AFE FW193007         TROIKA                                           2                                0                 0
                                                                                               FLYING LEAD, MFR. OCEANEERING, PN: 197940‐0502185, ELECTRICAL, LG 61 m, 7‐
Deepwater Warehouse    Fieldwood         82923.A                            MW‐R2‐2            WAY PLUG, 90 DEG. W/ 7‐WAY RECEPT., 90 DEG.                                         AFE FW193007         TROIKA                                           2                                0                 0

Deepwater Warehouse    Fieldwood         82924.A                           MW‐R16‐2            M1 REMOVABLE T&F PLATE, 14‐WAY, 14‐LINE, MFR. OCEANEERING, P/N: 0440489             AFE FW193006        GENOVESA                                          2                                0                 0

Deepwater Warehouse    Fieldwood         82925.A                           MW‐R16‐2            M1 REMOVABLE T&F PLATE, 14‐WAY, 14‐LINE, MFR. OCEANEERING, P/N: 0502187                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood         82926.A                            MR‐2‐C             8" PRODUCTION GASKET, TEX 7‐625. MFR: TRENDSETTER, PN: A1007618                                                                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82926.B                            MR‐2‐C             8" PRODUCTION GASKET, TEX 7‐625. MFR: TRENDSETTER, PN: A1007618                                                                                           1                                0                 0
                                                                                               HEATER, WATER, ELECTRIC;MFR:RHEEM,PN: 82SV30‐2 ,TYP SHORT,VOL CPCTY 30
Deepwater Warehouse    Fieldwood         82927.A                          BW‐NEP‐AREA          gal, VOLT 240,WATT 4500 W                                                                               NEPTUNE                                           1                        696.79            696.79
                                                                                               GENERIC ASSY ASD SINGLE W/ HARNESS 35m, ELECTRICAL INTERFACE: FIXED
                                                                                               WIRING HARNESS WITH FLYING ROV CONNECTOR, 12‐WAY MALE, HOSE LENGTH:
Deepwater Warehouse    Fieldwood         82928.A                              N/A              35m, MFR. ONESUBSEA, P/N 223367‐78                                                                                                                        0                        41702                     0
                                                                        DWW‐YARD‐C‐VAN         GENERIC ASSY ASD SINGLE W/ HARNESS 35m, ELECTRICAL INTERFACE: FIXED
                                                                    TTNU977610145G1 (CLIMATE   WIRING HARNESS WITH FLYING ROV CONNECTOR, 12‐WAY MALE, HOSE LENGTH:
Deepwater Warehouse    Fieldwood         82928.A                          CONTROLLED)          35m, MFR. ONESUBSEA, P/N 223367‐78                                                                                                                        2                        41702              83404
                                                                                               PUMP ASSEMBLY; METHANOL, EAGLE MODEL V200, 2 X 1.5‐10 SS. SN: V1532035
                                                                                               PUMP, TRIM 6.7; MOTOR: MFR. SIEMENS TYPE XP100, PN: 1MB21212AA213N63
Deepwater Warehouse    Fieldwood         82930.B                            BW‐R2‐3            SN: 3005775094‐11, 10 HP, 3515 RPM, 575V                                                               BULLWINKLE                                         0                                0                 0
Deepwater Warehouse    Fieldwood         82931.B                           DWW‐YARD            FRAME; UTA RECOVERY, MFR. OCEANEERING, DWG NO. 801069512                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood         82932.B                           DWW‐YARD            TREE RUNNING TOOL, P/N 2124119‐01                                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood         82933.B                           DWW‐YARD            TREE CAP SHIPPING SKID, ASSY; P/N: 2124123‐01 SN: 96716759220                                                                                             1                                0                 0
Deepwater Warehouse    Fieldwood         82934.B                           DWW‐YARD            TREE CAP ASSY, BP TROIKA; P/N 2124118‐01 SN: 11203640‐01                                                                                                  1                                0                 0
                                                                                               SLEEVE; HOLD OPEN, 3.720 O.D. on NO GO COLLAR, 3.650 BASE O.D., LENGTH 124
Deepwater Warehouse    Fieldwood         82935.B                            CR TIER 1          IN. MFR. SCHLUMBERGER, PN: 103320456, SN: 478973‐001                                                                                                      1                                0                 0

Deepwater Warehouse    Fieldwood         82936.B                           MW‐R5‐FL            CROSSOVER SPOOL ADAPTOR, MFR. CAMERON, PN: A314567 SN: CSD‐3804743‐1                                                                                      1                                0                 0
                                                                                               G2 Tubbing Hanger 5in 10K with W/5 inside outlet 5.250 inelmar wireline line plug
Deepwater Warehouse    Fieldwood         82937.A                      MW‐R13‐FL/MW‐R13‐3       prep S/N 111371753‐1                                                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood         82938.A                         MW‐AREA 6             Internal Tree Cap 10M with 4.767 SSR G2Spool Tree System S/N 11076301‐1                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood         82939.A                         MW‐AREA 6             Production Tubbing Hanger 4in 10K 4.38 in SSR S/N 11075743‐1                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood         82940.A                         MW‐AREA 6             Solar Turbine Expanison Jonit S/N                                                                      BULLWINKLE                                         1                                0                 0
Deepwater Warehouse    Fieldwood         82942.A                          MW‐R6‐1              Subsea SLAB gate valve 2 1/16 API 10000, MFR. ATV                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood         82943.A                          MW‐R6‐2              6" X 6" Cushion elbow ( FFI‐FGSPL‐00908)                                                                                                                  1                                0                 0
Deepwater Warehouse    Fieldwood         82944.A                          MW‐R5‐2              5" Weld test ring 12' long A694F65 (FFI‐FGSPL‐00910)                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood         82945.A                          MW‐R5‐2              6" Weld test ring 12' long A694F65 (FFI‐FGSPL‐00909)                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood         82946.A                          MW‐R6‐2              6" X 8" Reducer                                                                                                                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82947.A                         MW‐AREA 5             TC2 Gen 2 LTPC Connector, Bore Access 15 KSI PSL‐3G S/N TSN902627                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood         82948.A                         MW‐AREA 5             TC2 Inboard Hub W/2" 10K API flang BX‐152 FF trim S/N TSN902630                                                                                           1                                0                 0
Deepwater Warehouse    Fieldwood         82949.A                         MW‐AREA 5             TC7/5 inboard assembly S/N TSN902704                                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood         82950.A                         MW‐AREA 5             TC7/5 inboard assembly S/N TSN902705                                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood         82951.A                         MW‐AREA 5             TEX‐5 short term pressure cap assembly S/N TSN902900 and TSN902901                                                                                        2                                0                 0
Deepwater Warehouse    Fieldwood         82952.A                         MW‐AREA 6             TC7/5 connector assembly 6" nom F65 PUP 15K EE S/N TSN902741                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood         82953.A                         MW‐AREA 6             TC7/5 connector assembly 6" nom F65 PUP 15K EE S/N TSN902743                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood         82954.A                         MW‐AREA 5             Manual gate valve 5 1/8" 10K W/Pups S/N VN10385                                                                                                           1                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.        Location         Item Description                                                                     Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
Deepwater Warehouse     Fieldwood         82955.A                       MW‐AREA 7         Manual gate valve 5 1/8" 10K W/Pups S/N VN10386                                                                                                            1                                0                 0

                                                                                          (3) Gasket assembly TEX‐5 Inconel 625, Silver coated S/N TSN902780,TSN902781,
Deepwater Warehouse    Fieldwood         82956.A                        MW‐AREA 5         TSN902782. (1) Gasket assembly TEX‐7 Nickel Alloy, Silver coated S/N TSN902451                                                                             3                                0                 0
                                                                                          (1) Gaskets assembly TEX‐2 nickel alloy 625 (Silver Coated) S/N TSN902285,
                                                                                          TSN902286, TSN902353 (6) BX‐156 Gaskets 7 1/16, (1) Weld neck flange 7 1/16,
Deepwater Warehouse    Fieldwood         82957.A                        MW‐AREA 5         (32) Studs                                                                                                                                                 2                                0                 0
                                                                                          ASSEMBLY; FLOODING CAP, 8"‐10K FLOWLINE HUB, 7.077 SEAL BORE, W/ 2X O‐
                                                                    DWW‐YARD C‐VAN CPIU   RINGS PLUG, 2" NB X 1.5" PORT, 10K BALL VALVE; (QP‐000803‐08‐11) MFR.
Deepwater Warehouse    Fieldwood         82958.A                         0301120          CAMERON, P/N2235684‐03, S/N110746028‐1                                                                                                                     1                                0                 0
Deepwater Warehouse    Fieldwood         82959.A                       MW‐AREA 5          Weld test ring ATV valve S/N 83406 and 83407                                                                                                               1                                0                 0
                                                                                          ASSEMBLY, 8"‐15K CVC CONNECTOR, 6.47 ID GASKET, 8.625 OD X 1.312 WALL
                                                                                          (6.00 ID), W/ ALIGNMENT BLOCK, 3/8" AUTOCLAVE PORT; (F22 BODY W/ INCONEL
                                                                                          625 INLAID GASKET PREP, 30" LG 4130 CUSTOMER SUPPLIED PIPE); (QP‐000162‐
                                                                                          02‐60); (SP‐005098‐01); T/C U; M/C AA, BB, DD, EE; PSL‐3; WOP 12, 500 PSI, MFR.
Deepwater Warehouse    Fieldwood         82960.A                        MW‐AREA 1         CAMERON, P/N 2181526‐12‐02, S/N 112254875‐01                                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood         82961.B                         MW‐R5‐1          TOOL; SCRUBBER, PN: 190001313, S/N: 19001432, MFR. SEAHORSE ENERGY                                                                                         1                                0                 0
                                                                                          CHEMICAL INJECTION METERING VALVE (CIMV), DUAL CORE, LOW FLOW, 15K PSI.
Deepwater Warehouse    Fieldwood         82962.A                        MW‐R11‐1          MFR: SKOFLO, SN: 4668                                                                AFE FW193006        GENOVESA                                          1                                0                 0
Deepwater Warehouse    Fieldwood         82963.A                        MW‐AREA 7         TC7/5 inboard assembly LG PuP, 15K EE S/N TSN902702, TSN902703                                                                                             2                                0                 0
Deepwater Warehouse    Fieldwood         82964.A                        MW‐AREA 6         SLAB Gate Valve 15KSI Hyd. act, Pipe Pups, EE Trim S/N VN10396                                                                                             1                                0                 0
Deepwater Warehouse    Fieldwood         82965.A                        MW‐AREA 7         TEX‐5 short term pressure cap assembly S/N TSN902912                                                                                                       1                                0                 0
Deepwater Warehouse    Fieldwood         82966.A                        MW‐AREA 7         SLAB Gate Valve 15KSI Manual act, Pipe Pups, EE Trim S/N VN9997                                                                                            1                                0                 0
                                                                                          ( 1 ) Weld neck flange 5 1/8" 15K API 6A BX‐169, EE tri ( 6 ) gasket BX‐169 5 1/8"
Deepwater Warehouse    Fieldwood         82967.A                        MW‐AREA 7         H/N 343                                                                                                                                                    1                                0                 0
                                                                                          ( 3 ) Gasket Assembly TEX‐5 Inconel 625 Silver Coated S/N TSN902769, TSN902770,
Deepwater Warehouse    Fieldwood         82968.A                        MW‐AREA 7         TSN902772                                                                                                                                                  3                                0                 0
Deepwater Warehouse    Fieldwood         82969.A                        DWW‐YARD          HATCH COVER FRAMES                                                                                      BULLWINKLE                                         0                                0                 0
Deepwater Warehouse    Fieldwood         82970.A                        BW‐AREA‐3         (1) CRATE ASSORATED NUTS AND BOLTS                                                                                                                         1                                0                 0

                                                                                          ROV TEST CONNECTOR, EL. FEMALE, FIXED, 7‐WAY W/ 5M CABLE, RATED 2500V,
                                                                                          MATERIAL: PVC, ONLY FOR SURFACE USE, VENDOR: TELEDYNE ODI, VENDOR PN:
Deepwater Warehouse    Fieldwood         82971.A                          MR‐5‐E          1047681 (CTD‐1839‐01‐7‐5) MFR. ONESUBSEA, PN: 2197088‐10‐77                                                                                                3                                0                 0

                                                                                          ROV TEST CONNECTOR, MALE, 7‐WAY W/ 5M CABLE, RATED 2500V, MATERIAL:
                                                                                          PVC, ONLY FOR SURFACE USE, VENDOR: TELEDYNE ODI, VENDOR PN: 1047684
Deepwater Warehouse    Fieldwood         82972.A                        MR‐GENERAL        (CTD‐1840‐01‐7‐5) MFR. ONESUBSEA, PN: 2197088‐17‐72                                                                                                        5                                0                 0
                                                                                          M1 REMOVABLE LONG TERM COVER 14 WAY, 3X 1 IN RS PRVC & 11X 1/2 IN RS
Deepwater Warehouse    Fieldwood         82973.A                         MW‐R17‐1         PRVC ASSEMBLY, MFR: OCEANEERING, PN: 223520‐73                                                                                                             1                                0                 0
                                                                                          M1 REMOVABLE T&F PLATE 14 WAY, 11X 1/2 IN RS AND 3X 1 IN RS LINES MAD
Deepwater Warehouse    Fieldwood         82974.A                         MW‐R15‐1         DOG 2 ASSEMBLY, MFR: OCEANEERING, PN: 0485058                                                                                                              2                                0                 0
                                                                                          M1 FIXED T&F PLATE 14 WAY, 14X 1/2 IN RS LINES ASSEMBLY, MFR:
Deepwater Warehouse    Fieldwood         82975.A                         MW‐R17‐1         OCEANEERING, PN: 0502186                                                                                                                                   1                                0                 0
                                                                                          M1 FIXED T&F PLATE 10 WAY, 6X 1/2 IN RS AND 4X 1 IN RS LINES ASSEMBLY,
Deepwater Warehouse    Fieldwood         82976.A                         MW‐R17‐1         MFR: OCEANEERING, PN: 0502188                                                                                                                              1                                0                 0
                                                                                          M1 LONG TERM COVER 10 WAY 6X 1/2 IN RS PRVC, 4X 1 IN RS PRVC 15KSI
Deepwater Warehouse    Fieldwood         82977.A                         MW‐R17‐1         ASSEMBLY, MFR: OCEANEERING, PN: 223510‐24                                                                                                                  1                                0                 0
                                                                                          FIXED SPREADER BAR 20,000 LB., MFR: SOUTHWEST WIRE ROPE, PN: SB‐0010‐
Deepwater Warehouse    Fieldwood         82978.A                         CR‐TIER 3        0080                                                                                 AFE FW183040         KATMAI                                           1                                0                 0
                                                                                          ELECTRICAL FLYING LEAD, 12 WAY PLUG X 12 WAY RECP (175 FT. LENGTH), MFR:
Deepwater Warehouse    Fieldwood         82979.A                         MW‐R11‐3         TTL SUBSEA, PN: 00‐71621‐01                                                                                                                                2                                0                 0
                                                                                          M1 REMOVABLE LONG TERM COVER 13 WAY IN RS PRVC ASSEMBLY, MFR:
Deepwater Warehouse    Fieldwood         82980.A                         MW‐R16‐3         OCEANEERING, PN: 0503228 REV. A                                                                                                                            1                                0                 0
                                                                                          G3 TUBING HANGER CONVERSION ASSEMBLY, 4 INNOM BORE, 5 1/8 IN SIDE
                                                                                          OUTLET, 10K, 4.375 IN WIRELINE PLUG PREP, 5 1/2 IN VAM ACE 29.7 LB/FT
Deepwater Warehouse    Fieldwood         82981.A                        MW‐AREA 6         CONNECTION, 8 DOWNHOLE LINES, MFR: ONESUBSEA, PN: 2180717‐48                                                                                               1                                0                 0
                                                                                          ELECTRICAL FLYING LEAD, 9 WAY ODI ROV PLUG X 9 WAY ODI ROV RECEPTACLE,
Deepwater Warehouse    Fieldwood         82982.A                         MW‐R2‐1          275', MFR: OIE, PN: 0206246                                                                                                                                0                                0                 0
                                                                                          (KIT WITH 4 ITEMS) ITEM 1: DUAL REDUNDANT SSI PRESSURE/TEMPERATURE
                                                                                          TRANSMITTER, MODBUS (RS 485), 0‐10KSI, ‐40° TO 260°F, 1.5" PROBE, 2‐1/16" BX
                                                                                          FLANGE, 8 WAY SEACON MSS FCR DRY‐MATE CONNECTION (FULL SCALE FAT,
                                                                                          INCLUDING 10 POINT HYDROSTATIC FUNCTIONAL TEST, TEMPERATURE
                                                                                          VERIFICATION). ITEM 2: 1012992, 6 WAY ODI ROV CE PLUG (PINS) WITH
                                                                                          OMNITEC. ITEM 3: 8168‐103 KIT, 8 WAY SEACON MMSK CCP, PBOF 1/2 ID. ITEM
Deepwater Warehouse    Fieldwood         82983.A                         MW‐R2‐1          4: MKII BACKSHELL/ADAPTER.                                                                                                                                 1                                0                 0

                                                                                          AKER 12 WAY (NEW STYLE) REMOVABLE JUNCTION PLATE BRACKET WITH QTY 1 ‐
                                                                                          17H DUAL PORT HOT STAB RECEPTACLE (15KSI) AND QTY 2 ‐ 1/2" ROV PADDLE
Deepwater Warehouse    Fieldwood         82984.A                        MW‐R13‐FL         VALVES (10KSI) (WITH TUBING AND INSTALLATION HARDWARE)                                                                                                     1                                0                 0
Deepwater Warehouse    Fieldwood         82985.A                        MW‐AREA 6         HEAT EXCHANGER TUBE BUNDLE                                                                              BULLWINKLE                                         0                                0                 0
Deepwater Warehouse    Fieldwood         82985.C                        MW‐AREA 6         HEAT EXCHANGER TUBE BUNDLE (HBG 101)                                                                    BULLWINKLE                                         1                                0                 0

                                                                                          WIRELINE PLUG ASSEMBLY, UPPER, 4.767" NOM, 10K, NICKEL ALLOY 718 (UNS
                                                                                          N07718) (NON‐LOAD BEARING), RETAINING CAP AND FISH NECK, MAIN BODY
                                                                                          AND KEYS, NICKEL ALLOY 925 (UNS N09925) EXPANDER MANDREL, PRIMARY
                                                                                          TITANIUM METAL SEAL, SECONDARY O‐RING, H2S SERVICE, WITHOUT EXTENSION
                                                                                          SLEEVE, API 6A 20TH ED, API 17D 2ND ED, T/C U, M/C HH, PSL3 (NOV ELMAR REF L‐                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82987.A                        MW‐AREA 1         9911018124). MFR: ONESUBSEA, PN: 2731384‐02‐01                                                            NOVESA                                           1                                0                 0
                                                                                          WIRELINE PLUG, 4.375" DIA. WITH SPECIAL REQUIREMENTS TO INCLUDE INCONEL
                                                                                          718 BODY AND CHEMRAZ O‐RING 17‐4 PH RETAINING CAP, INCONEL 925
                                                                                          EXPANDER MANDREL, TITANIUM SEAL W/ NOBLE COATING,
                                                                                          ELASTOMER/POLYMERIC SEALS, W/ EROSION TARGET AND WIPER, USES SPARE                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82988.A                        MR‐GENERAL        PARTS LIST 2166241‐01. MFR: ONESUBSEA, PN: 2748428‐01                                                     NOVESA                                           2                                0                 0
                                                                                          SEAL ASSY, METAL SEAL W/ ELASTOMER BACKUP, 18 3/4", MATL CLASS DD‐NL,
                                                                                          PSL‐3, TEMP CLASS U, ALTERNATE TEMP RANGE 35‐300F, API 17D, SUBSEA                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82989.A                         MW‐R8‐3          WELLHEAD SYSTEM. MFR: ONESUBSEA, PN: 2018116‐01                                                           NOVESA                                           2                                0                 0
                                                                                          EMERGENCY SEAL ASSY, METAL SEAL W/ ELASTOMER BACKUP, 18 3/4", MATL
                                                                                          CLASS DD‐NL, PSL‐3, TEMP RATING 0‐350F, SUBSEA WELLHEAD SYSTEM, API 17D,                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82990.A                         MW‐R8‐3          1ST ED ONLY. MFR: ONESUBSEA, PN: 2018117‐01                                                               NOVESA                                           1                                0                 0
                                                                                          ASSY, TUBING HANGER RUNNING TOOL, 4 1/16" X 2 1/16", NOM 10K PSI,
                                                                                          WPW/2X SCSSV, 2X CI, 1X TH CONTROLLED LANDING, 1X TEST BETWEEN SEALS,
                                                                                          1X ELEC PEN, PSL 3, MATL CLASS EE, API 17D, TEMP 35‐250F. MFR: ONESUBSEA,                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82991.A                        MW‐AREA 1         PN: 2124129‐01                                                                                            NOVESA                                           1                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.    Location    Item Description                                                              Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                 ASSY, THRT HANDLING/TEST TOOL, 4.06" X 2.06" 10000 PSI. MFR: ONESUBSEA,                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82992.A                    MW‐AREA 1    PN: 2124132‐01                                                                                     NOVESA                                           1                                0                 0
                                                                                 COMBINED BOP WEIGHT SET TEST AND BORE PROTECTOR RETRIEVAL TOOL. MFR:                           KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82993.A                    MW‐AREA 1    ONESUBSEA, PN: 2142424‐06                                                                          NOVESA                                           1                                0                 0
                                                                                 ASSEMBLY, 7 1/16, 15K, TYPE FLS‐R MANUAL SUBSEA GV, WITH TRANSITION PUPS                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         82994.A                    MW‐AREA 5    AND ACCUMULATOR. MFR: ONESUBSEA, PN: 2230777‐06‐01                            AFE FW580018         NOVESA                                           1                                0                 0
                                                                                 SLING, 3" X 20', 1 LEG. MFR: MORGAN CITY RENTALS, PN ON TAG: V‐77T C‐601 B‐
Deepwater Warehouse    Fieldwood         82995.A                    MW‐AREA 2    153T/HOU‐057234‐002                                                                                                                                 1                                0                 0
                                                                                 LOOPING CAP, TELEDYNE ODI, 7 WAY. MFR: ONESUBSEA, PN: 2197088‐28‐44 REV
Deepwater Warehouse    Fieldwood         82996.A                      MR‐2‐C     3                                                                             AFE FW183040         KATMAI                                           3                                0                 0
                                                                                 DEBRIS CAP WITH ROV HANDLE (YELLOW IN COLOR). MFR: SUBSEA7/NEW
Deepwater Warehouse    Fieldwood         82997.A                    MW‐AREA 1    INDUSTRIES                                                                    AFE FW183040         KATMAI                                           2                                0                 0
                                                                                 8" SUBSEA PLR (PIGGING‐LANCHER‐RECEIVER), PIG RETAINER 5K T/S 8" SCH XXS
                                                                                 PIPE W/ 30 DIA. PIN & 1/4D ENGAGEMENT. MFR: SUBSEA7/NEW INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         82998.A                    MW‐AREA 1    230‐1521‐01                                                                   AFE FW183040         KATMAI                                           1                                0                 0
                                                                                 2" MOFFATT DUEL ENTRY HOT STAB WITH 1502 THREADED FEMALE
                                                                                 CONNECTION, DS MALE STAB, 2", SUPER DUPLEX, FIG. 1502 FEMALE INTEGRAL,
                                                                                 DRAWING # MSP‐2DC411H‐01, 2" 15K SS/DS MALE STAB BODY C/W FIG 1502
Deepwater Warehouse    Fieldwood         82999.A                    MW‐AREA 1    FEMALE SUB. MFR: SUBSEA7/ONESUBSEA                                            AFE FW183040         KATMAI                                           3                                0                 0
                                                                                 2" MOFFATT DUEL ENTRY BLIND STAB WITH 1502 THREADED FEMALE
                                                                                 CONNECTION, 2" NB 15K DS BLIND STAB BODY, DRAWING # MSP‐2DBX11H‐01.
Deepwater Warehouse    Fieldwood         83000.A                    MW‐AREA 1    MFR: SUBSEA7/ONESUBSEA, PN: MSP 0459‐B                                        AFE FW183040         KATMAI                                           2                                0                 0
                                                                                 CHECK VALVE ASSEMBLIES WITH 1502 WING NUT MALE CONNECTION, DRAWING
                                                                                 # TC1099‐4400019025‐B01‐0002, BIS CHECK VALVE # 20056‐P049. MFR:
Deepwater Warehouse    Fieldwood         83001.A                    MW‐AREA 1    SUBSEA7/ONESUBSEA                                                             AFE FW183040         KATMAI                                           2                                0                 0
Deepwater Warehouse    Fieldwood         83002.A                     MR‐5‐D      SEAL KIT FOR MOFFATT STABS. MFR: SUBSEA7/ONESUBSEA                            AFE FW183040         KATMAI                                           1                                0                 0
                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83003.A                    BW‐AREA 2    CITV SIMULATOR. MFR: SKOFLO, PN: CM‐015000‐91                                                      NOVESA                                           1                                0                 0
                                                                                 M1 REMOVABLE FLUSHING PLATE WITH HOTSTAB ASSEMBLY. MFR:
Deepwater Warehouse    Fieldwood         83004.A                    MW‐R17‐FL    OCEANEERING, PN: 0508203 REV A                                                AFE FW183040         KATMAI                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83005.A                     MR‐4‐B      FEMALE DUMMY COUPLERS, 1/2" RS‐8                                              AFE FW183040         KATMAI                                           5                                0                 0
Deepwater Warehouse    Fieldwood         83006.A                     MR‐5‐B      MALE POPPETED TEST COUPLERS, 1/2" RS‐8                                        AFE FW183040         KATMAI                                          14                                0                 0
Deepwater Warehouse    Fieldwood         83007.A                     MR‐5‐B      FEMALE POPPETED COUPLERS W/ TUBE STUB, 1/2" UO‐8                              AFE FW183040         KATMAI                                           3                                0                 0

Deepwater Warehouse    Fieldwood         83008.A                     MW‐R11‐2    VBR (VERTEBRAE BEND RESTRICTORS) ASSEMBLY SET. MFR: WHITEFIELD PLASTICS       AFE FW183040         KATMAI                                          35                                0                 0
                                                                                 M1 REMOVABLE LOGIC CAP 14 WAY 7X 1/2 IN RS, 3X 1 IN RS LINES ASSEMBLY.
Deepwater Warehouse    Fieldwood         83009.A                    MW‐AREA 4    MFR: OCEANEERING, PN: 0508202 REV A                                           AFE FW183040         KATMAI                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83010.A                     MR‐1‐A      HOT STAB. MFR: OCEANEERING, PN: A06401‐G                                                                                                            1                                0                 0
Deepwater Warehouse    Fieldwood         83011.A                     MR‐1‐A      HOT STAB. MFR: SEANIC, PN: HS165‐1100619                                                                                                            1                                0                 0
Deepwater Warehouse    Fieldwood         83012.A                     MR‐1‐E      NITRILE O‐RING, 70 DURO. MFR: BUNA‐N, PN: 318                                                                                                       4                                0                 0
Deepwater Warehouse    Fieldwood         83013.A                     MR‐1‐A      HOT STAB. MFR: UNKNOWN, PN: 10306 (ETCHED INTO PARTS)                                                                                               2                                0                 0
                                                                                 GASKET RETAINER F/ FLOWLINE AX GASKETS, OBSOLETE AND REPLACED BY
Deepwater Warehouse    Fieldwood         83014.A                    MR‐GENERAL   P1000162986. MFR: FMC INDUSTRIES, PN: 18‐259‐020                                                                                                    7                                0                 0

                                                                                 FITTING, GREASE, NIPPLE STRAIGHT 1/4 IN NPTF MALE, SUPPLIED BY ALEMITE,
Deepwater Warehouse    Fieldwood         83015.A                    MR‐GENERAL   PN: 1627‐B, TRIVALENT ZINC PLATED. MFR: FMC INDUSTRIES, PN: 48‐120‐004                                                                              8                                0                 0
                                                                                 ROV HOT STAB, TYPE A, SHORT TERM LIVE (INTERVENTION AND
                                                                                 COMMISSIONING), NITRONIC, DUAL PORT, 15KSI (1035 BAR) MAX WP, T BAR
                                                                                 HANDLE, 3/8 MP PORTS AT 45 DEG, SUPPLIED BY OCEANEERING 0036241‐01 REV.
                                                                                 C, OBSOLETE AND REPLACED WITH P1000178823. MFR: FMC INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         83016.A                      MR‐5‐E     P1000038613                                                                                                                                         4                                0                 0
                                                                                 FITTING, AIR QUICK CONNECT, CROWSFOOT, 3‐WAY TRIPLE END COUPLER,
                                                                                 MALLEABLE IRON, PLATED, OEM SPARE PART. MFR: FMC INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         83017.A                    MR‐GENERAL   P1000008374                                                                                                                                         2                                0                 0
                                                                                 RUBBER WASHER, STANDARD CROWSFOOT COUPLER/COUPLING, BAG OF 50,
Deepwater Warehouse    Fieldwood         83018.A                    MR‐GENERAL   OEM SPARE PART. MFR: FMC INDUSTRIES, PN: 1000010263                                                                                                 1                                0                 0
                                                                                 M1 MARINE GROWTH COVER 10 WAY 6X 1/2" PLASTIC DUMMY, 4X 1" PLASTIC
Deepwater Warehouse    Fieldwood         83019.A                    MR‐GENERAL   DUMMY. MFR: OCEANEERING, PN: 0413628                                          AFE FW193007         TROIKA                                           1                                0                 0
                                                                                 TREE RUNNING TOOL, PRODUCTION SEAL STAB, 4X 2‐10K F/4 OD, ASSY, MENSA X
                                                                                 OVER ADAPTER TOP, CAMERON/TROIKA TRT BTM. MFR: FMC INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         83020.A                      MR‐4‐E     P1000014614                                                                                                                                         9                                0                 0
                                                                                 UWD SLOPE INDICATOR BRACKET, F/ BOLT ON SLOPE INDICATOR WITH
                                                                                 ADJUSTMENT SCREWS, OBSOLETE AND REPLACED BY P2000060501 PHASE OUT.
Deepwater Warehouse    Fieldwood         83021.A                      MR‐FL      MFR: FMC INDUSTRIES, PN: P1000065171                                                                                                                2                                0                 0
                                                                                 PUMP AIR OPERATED, NITROGEN GAS BOOSTER, DOUBLE ACTING, DOUBLE AIR
                                                                                 HEAD, 25 TO 1 RATIO, 25 KSIG MAX OUTPUT, 6000 PSIG MAX INPUT, 250 PSIG
                                                                                 MIN GAS INLET, 90‐150 PSIG AIR DRIVE PRESS, 95 SCFM MAX AIRFLOW, 2.4 CU
                                                                                 INCH STROKE SC HYDRAULIC ENGINEERING ‐ GBD‐D75. MFR: FMC INDUSTRIES,
Deepwater Warehouse    Fieldwood         83022.A                    MW‐AREA 6    PN: P1000068557                                                                                                                                     1                                0                 0
                                                                                 FITTING, HYDRAULIC, CAP BODY 3/8 IN JIC FEM 20K, SUPPLIED BY AUTOCLAVE,
Deepwater Warehouse    Fieldwood         83023.A                    MR‐GENERAL   PN: 20JC6, 316SS. MFR: FMC INDUSTRIES, PN: P1000075352                                                                                             12                                0                 0

                                                                                 CAP SCREW, HEX SOCKET DRIVE, .375‐16 UNRC‐2A/3A X 3.00 LG, A 320 GR L7M,
Deepwater Warehouse    Fieldwood         83024.A                    MR‐GENERAL   EXP LOW STR, API 20E BSL2, PTFE. MFR: FMC INDUSTRIES, PN: P1000091781                                                                               6                                0                 0
                                                                                 TREE RUNNING TOOL, ANNULUS SEAL STAB, 4X 2‐10K F/2 OD, ASSY, MENSA X
                                                                                 OVER ADAPTER TOP, CAMERON/TROIKA TRT BTM. MFR: FMC INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         83025.A                      MR‐4‐E     P1000014615                                                                                                                                         7                                0                 0

Deepwater Warehouse    Fieldwood         83026.A                    MR‐GENERAL   S SEAL OD TYPE 2.827 OD X .158 CS X .270. MFR: FMC INDUSTRIES, PN: P101811                                                                          4                                0                 0
Deepwater Warehouse    Fieldwood         83027.A                      MR‐4‐D     4" DRIFT, 3.910 OD X 12" LONG. MFR: FMC INDUSTRIES, PN: P114747                                                                                     1                                0                 0
Deepwater Warehouse    Fieldwood         83028.A                      MR‐4‐D     2" DRIFT, 1.850 OD X 12" LONG. MFR: FMC INDUSTRIES, PN: P114748                                                                                     2                                0                 0
                                                                                 METAL SEAL, SBMS BODY, F/13 5/8‐10K SPEEDLOC CLAMP, INCONEL 718, SILVER
                                                                                 PLATED, 2.595 OD X 2.071 ID, 3.620 LG WITH S SEAL GROOVES, 15K PSI MAX.
Deepwater Warehouse    Fieldwood         83029.A                      MR‐4‐D     MFR: FMC INDUSTRIES, PN: P125494‐0007                                                                                                               1                                0                 0
                                                                                 METAL SEAL, SBMS ASSY, F/13 5/8‐10K SPEEDLOC CLAMP, INCONEL 718, SILVER
                                                                                 PLATED, 5.680 OD X 5.140 ID, 5.40 LG WITH 2 SEALS. MFR: FMC INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         83030.A                      MR‐4‐E     P125495‐0007                                                                                                                                        6                                0                 0
                                                                                 METAL SEAL, SBMS ASSY, F/13 5/8‐10K SPEEDLOC CLAMP, INCONEL 718, SILVER
                                                                                 PLATED, 2.595 OD X 2.071 ID, 3.620 LG, WITH 2 S SEALS. MFR: FMC INDUSTRIES,
Deepwater Warehouse    Fieldwood         83031.A                      MR‐4‐D     PN: P125497‐0007                                                                                                                                    8                                0                 0
                                                                                 NON‐METALLIC SEAL, POLYPAK ASSY, TYPE B STYLE, 0.375 CS X 0.625 LG X 36.000
                                                                                 ID, E50105 GEOLAST MATL F/ JACKET, E50106 NBR MATL F/O‐SPRING. MFR: FMC
Deepwater Warehouse    Fieldwood         83032.A                    MR‐GENERAL   INDUSTRIES, PN: P129198‐0003                                                                                                                        1                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                               GREASE FITTING, 1/8" N.P.T., 90 DEGREE. MFR: FMC INDUSTRIES, PN: P133318‐
Deepwater Warehouse    Fieldwood         83033.A                          MR‐GENERAL           0014                                                                                                                                                12                                0                 0
                                                                                               SLOPE INDICATOR, 2 DEGREE 13.78 DIA. MFR: FMC INDUSTRIES, PN: P134576‐
Deepwater Warehouse    Fieldwood         83034.A                             MR‐5‐F            0000                                                                                                                                                 2                                0                 0
                                                                                               HYDRAULIC FITTINGS, ADAPTER, STRAIGHT 9/16 MP (13/16‐16THD) MALE X
                                                                                               3/8MP (9/16‐18THD) MALE, 20, 000WP. MFG: PARKER (PN: Y5Y5‐6‐9C). MFR: FMC
Deepwater Warehouse    Fieldwood         83035.A                          MR‐GENERAL           INDUSTRIES, PN: P145788                                                                                                                              1                                0                 0
                                                                                               S‐SEAL, OD TYPE, 3.205/3.145 OD X 0.234 CS X .375 LG, E50189 90A DURO LOW
                                                                                               TEMP HNBR MATL, W/316 SS SPRINGS, 0.6 DIA COIL. MFR: FMC INDUSTRIES, PN:
Deepwater Warehouse    Fieldwood         83036.A                          MR‐GENERAL           SP‐48‐14527                                                                                                                                          6                                0                 0
Deepwater Warehouse    Fieldwood         83037.A                            MR‐3‐D             O‐RING, HIGH TMP HNBR. MFR: ONESUBSEA, PN: KB163 2‐216                                                                                              23                                0                 0
Deepwater Warehouse    Fieldwood         83038.A                            MR‐3‐D             O‐RING, NITRILE, 1 1/8 X 1 3/8 X 1/8. MFR: ONESUBSEA, PN: N0300 8‐216                                                                               21                                0                 0
Deepwater Warehouse    Fieldwood         83039.A                            MR‐3‐D             O‐RING, NITRILE, 2 1/2 X 2 3/4. MFR: ONESUBSEA, PN: N0300 8‐230                                                                                      8                                0                 0
Deepwater Warehouse    Fieldwood         83040.A                            MR‐3‐D             O‐RING, 568‐453 N1059‐90 PX NBR. MFR: ONESUBSEA, PN: 702645‐45‐31                                                                                    2                                0                 0
Deepwater Warehouse    Fieldwood         83041.A                            MR‐3‐D             O‐RING, NITRILE, 4 7/8 X 5 1/8 X 1/8. MFR: ONESUBSEA, PN: N0300 8‐249                                                                                8                                0                 0

Deepwater Warehouse    Fieldwood         83042.A                            MR‐3‐D             O‐RING, PEROX NITRILE, 13/16 X 1 X 3/32. MFR: ONESUBSEA, PN: 702645‐11‐71                                                                            3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83042.A                          CONTROLLED)          O‐RING, PEROX NITRILE, 13/16 X 1 X 3/32. MFR: ONESUBSEA, PN: 702645‐11‐71      AFE FW580018         NOVESA                                          12                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83042.A                        TRAINING ROOM 1        O‐RING, PEROX NITRILE, 13/16 X 1 X 3/32. MFR: ONESUBSEA, PN: 702645‐11‐71      AFE FW580018         NOVESA                                          12                                0                 0
Deepwater Warehouse    Fieldwood         83043.A                             MR‐3‐D            SEAL TYPE S, 1‐3/8" OD. MFR: ONESUBSEA, PN: 142895‐55‐01‐03                                                                                         13                                0                 0
Deepwater Warehouse    Fieldwood         83044.A                             MR‐3‐D            S SEAL NOM 5‐1/2. MFR: ONESUBSEA, PN: 142895‐18‐01‐03                                                                                                2                                0                 0
                                                                                               O‐RING, SIZE AS‐568‐427 4.725 ID X .275 W 90D/MS‐1078 NITRILE PKG AND
Deepwater Warehouse    Fieldwood         83045.A                             MR‐1‐C            QUAL/COT 702645. MFR: ONESUBSEA, PN: 702645‐42‐71                                                                                                    4                                0                 0
                                                                                               O‐RING, SIZE AS‐568‐458 14.475 ID X .275 W 90D/MS‐1078 NITRILE PKG AND
Deepwater Warehouse    Fieldwood         83046.A                             MR‐1‐C            QUAL/CIW 702645. MFR: ONESUBSEA, PN: 702645‐45‐81                                                                                                    2                                0                 0
                                                                                               O‐RING, SIZE AS‐568‐458 14.475 ID X .275 W 90D/MS‐1078 NITRILE PKG AND                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83046.A                        TRAINING ROOM 1        QUAL/CIW 702645. MFR: ONESUBSEA, PN: 702645‐45‐81                              AFE FW580018         NOVESA                                           2                                0                 0
                                                                                               DOWEL PIN, .436/.432 OD X 1.750 LG, TYPE "V", LAS (REF. ASTM A193, B7). MFR:
Deepwater Warehouse    Fieldwood         83047.A                             MR‐1‐C            ONESUBSEA, PN: 021812‐94                                                                                                                            18                                0                 0
                                                                                               SCREW, SOC HD CAP .375‐16 X .750 STL/A193 GR B7/ANSI B18.3ZN PL/X‐4024‐4.
Deepwater Warehouse    Fieldwood         83048.A                             MR‐1‐C            MFR: ONESUBSEA, PN: 2716050                                                                                                                         12                                0                 0
Deepwater Warehouse    Fieldwood         83049.A                             MR‐1‐C            SPRING, CPRSN .063 X .480 OD X 1.250 SST. MFR: ONESUBSEA, PN: 712406                                                                                 4                                0                 0
                                                                                               SEAL RING, 3.00 ID X 4.00 OD X .750 LG, POLYPAK SEAL MOLYTHANE, TYPE BMFG
Deepwater Warehouse    Fieldwood         83050.A                             MR‐1‐C            PN: 461550003000‐750B. MFR: ONESUBSEA, PN: 2749574‐01                                                                                                2                                0                 0
                                                                                               SPRING, COMPRESSION, .360 OD X .045 X .500 CL & GR ENDS, SST, RATE 65 LB/IN.
Deepwater Warehouse    Fieldwood         83051.A                             MR‐1‐C            MFR: ONESUBSEA, PN: 2748122‐01                                                                                                                       8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPRING, COMPRESSION, .360 OD X .045 X .500 CL & GR ENDS, SST, RATE 65 LB/IN.                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83051.A                          CONTROLLED)          MFR: ONESUBSEA, PN: 2748122‐01                                                 AFE FW580018         NOVESA                                           4                                0                 0
                                                                                               O‐RING, SIZE AS‐568‐427 4.725 ID X .275 W 90D/MS‐1004 NITRILE PKG AND
Deepwater Warehouse    Fieldwood         83052.A                             MR‐1‐C            QUAL/CIW 702640. MFR:ONESUBSEA, PN: 702640‐42‐71                                                                                                     2                                0                 0
                                                                                               SHEAR PIN SLEEVE, ACUTATOR RING, ISOLATION SLEEVE. MFR: ONESUBSEA, PN:
Deepwater Warehouse    Fieldwood         83053.A                             MR‐1‐C            2156903‐01                                                                                                                                           8                                0                 0
                                                                                               SHEAR PIN SLEEVE, ACUTATOR RING, ISOLATION SLEEVE. MFR: ONESUBSEA, PN:                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83053.A                        TRAINING ROOM 1        2156903‐01                                                                     AFE FW580018         NOVESA                                           4                                0                 0
                                                                                               SHEAR PIN, ACTUATOR RING, ISOLATION SLEEVE. MFR: ONESUBSEA, PN: 2156904‐
Deepwater Warehouse    Fieldwood         83054.A                             MR‐1‐C            01                                                                                                                                                  10                                0                 0
                                                                                               SCREW, SOC HD CAP .375‐16 X 1.750 SST 316/A193 ANSI B18.3. MFR:
Deepwater Warehouse    Fieldwood         83055.A                             MR‐1‐C            ONESUBSEA, PN: 702505‐06‐00‐16                                                                                                                      16                                0                 0
                                                                                               GROOVED PIN, TYPE A .375 D X 1.00 BRASS ANSI B5.209,050 LBS DOUBLE SHEAR
Deepwater Warehouse    Fieldwood         83056.A                             MR‐1‐C            VALUE (MIN). MFR: ONESUBSEA, PN: 711364                                                                                                             16                                0                 0
Deepwater Warehouse    Fieldwood         83057.A                             MR‐1‐C            SCREW, SHOULDER, .75 OD, SPECIAL. MFR: ONESUBSEA, PN: 2124841‐01                                                                                     8                                0                 0
                                                                                               PIPE PLUG, HEX HEAD, 1/4" ‐ 18 NPT, XYLAN COATED. MFR: ONESUBSEA, PN:
Deepwater Warehouse    Fieldwood         83058.A                             MR‐1‐C            278183‐01                                                                                                                                            4                                0                 0
                                                                                               O‐RING, SIZE AS‐568‐521 16.450 ID X .210 W 90D/MS‐1078 NITRILE PKG AND
Deepwater Warehouse    Fieldwood         83059.A                             MR‐1‐C            QUAL/CC 702645. MFR:ONESUBSEA, PN: 702645‐52‐11                                                                                                      2                                0                 0
                                                                                               RETAINER RING, SPLIT, 2.285 ID X .128 DIA, ALIGNMENT PIN. MFR: ONESUBSEA,
Deepwater Warehouse    Fieldwood         83060.A                             MR‐1‐C            PN: 2099585‐01                                                                                                                                       4                                0                 0
                                                                                               SCREW, SOC FLAT HD .375‐16 X .750 SST B18.3. MFR: ONESUBSEA, PN: 702580‐06‐
Deepwater Warehouse    Fieldwood         83061.A                             MR‐1‐C            00‐12                                                                                                                                                4                                0                 0
                                                                                               SEAL RING, 18 5/8‐15M SPECIAL FOR PETROBRAS. MFR: ONESUBSEA, PN: 605894‐
Deepwater Warehouse    Fieldwood         83062.A                             MR‐1‐C            12                                                                                                                                                   1                                0                 0
                                                                                               SEAL RING, 18 5/8‐15M SPECIAL FOR PETROBRAS. MFR: ONESUBSEA, PN: 605894‐                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83062.A                        TRAINING ROOM 1        12                                                                             AFE FW580018         NOVESA                                           2                                0                 0

                                                                                               METAL END CAP SEAL, 16.283 NOM. BORE, 25% NOM SQUEEZE, CAMLAST AND
                                                                                               STAINLESS STEEL, API 6A 19TH ED, TEMP RATING: 35‐275 DEG F, MATL CLASS: HH‐
Deepwater Warehouse    Fieldwood         83063.A                             MR‐1‐C            15.0 (BASED ON R&D PN: 599514‐04‐05‐01). MFR: ONESUBSEA, PN: 2289964‐08                                                                              2                                0                 0

                                                                                               METAL END CAP SEAL, 16.283 NOM. BORE, 25% NOM SQUEEZE, CAMLAST AND
                                                                                               STAINLESS STEEL, API 6A 19TH ED, TEMP RATING: 35‐275 DEG F, MATL CLASS: HH‐                     KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83063.A                        TRAINING ROOM 1        15.0 (BASED ON R&D PN: 599514‐04‐05‐01). MFR: ONESUBSEA, PN: 2289964‐08        AFE FW580018         NOVESA                                           6                                0                 0
                                                                                               M1 MARINE GROWTH COVER 14 WAY, 14 X 1/2 RS. MFR: OCEANEERING, PN:
Deepwater Warehouse    Fieldwood         83064.A                          MR‐GENERAL           0321318                                                                                                                                              1                                0                 0

Deepwater Warehouse    Fieldwood         83065.A                          MR‐GENERAL           S‐SEAL, OD TYPE, E50189 HNBR MATL. MFR: FMC INDUSTRIES, PN: 48‐500‐146                                                                               2                                0                 0
Deepwater Warehouse    Fieldwood         83066.A                            MR‐5‐E             HOT STAB, WP=HS, 10K PSI. MFR: OCEANEERING, PN: A06280‐F                                                                                             1                                0                 0

Deepwater Warehouse    Fieldwood         83067.A                          MR‐GENERAL           S SEAL, OD TYPE, 2.827 OD X .158 CS X .270. MFR: FMC INDUSTRIES, PN: P101811                                                                         3                                0                 0

                                                                                               S SEAL, OD TYPE, 6.205/6.129 OD X 0.234 CS X .375 LG, E50159 85A DURO HIGH
                                                                                               TEMP HNBR (NORSOK COMPLIANT) MATL, W/ 316 SS SPRINGS, .06 DIA COIL, USE
Deepwater Warehouse    Fieldwood         83068.A                          MR‐GENERAL           SAME MOLD AS PN DP‐48‐1389. MFR: FMC INDUSTRIES, PN: P107332‐0007                                                                                    2                                0                 0
                                                                                               S SEAL, OD TYPE, 5.215/5.185 OD X 0.234 CS X .375 LG, E50159 85A DURO HIGH
                                                                                               TEMP HNBR (NORSOK COMPLIANT) MATL, W/ 316 SS SPRINGS, .06 DIA COIL.
Deepwater Warehouse    Fieldwood         83069.A                          MR‐GENERAL           MFR: FMC INDUSTRIES, PN: P107335‐0007                                                                                                                3                                0                 0

                                                                                               S SEAL, OD TYPE, 2.889/2.898 OD X 0.234 CS X .375 LG, E50159 85A DURO HIGH
                                                                                               TEMP HNBR (NORSOK COMPLIANT) MATL, W/ 316 SS SPRINGS, .06 DIA COIL, USE
Deepwater Warehouse    Fieldwood         83070.A                          MR‐GENERAL           SAME MOLD AS PN 48‐500‐035. MFR: FMC INDUSTRIES, PN: P178205                                                                                         4                                0                 0




                                                                                                                                                       34
                                                   Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 391 of 995                   Exhibit D-1 (continued)




      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                 S SEAL, OD TYPE, 3.205/3.145 OD X 0.234 CS X .375 LG, E50189 90A DURO LOW
                                                                                                 HNBR MATL, W/ 316 SS SPRINGS, .06 COIL. MFR: FMC INDUSTRIES, PN: SP‐48‐
Deepwater Warehouse    Fieldwood         83071.A                            MR‐GENERAL           14527                                                                                                                                                1                                0                 0
                                                                                                 ACOUSTIC SAND DETECTOR WITH ODI CABLE, 6 WAY. MFR: CLAMPON, PN: 921‐
Deepwater Warehouse    Fieldwood         83072.A                             MW‐R3‐2             21120‐003                                                                                                                                            1                                0                 0
                                                                                                 CLAMP AND FUNNEL ASSEMBLY (WITH 4 HEX SCREWS/8 HEX NUTS). MFR:
Deepwater Warehouse    Fieldwood         83073.A                             MW‐R3‐2             CLAMPON, 924‐14122‐001                                                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood         83074.A                              MR‐1‐C             O‐RING NITRILE 90A, 3/4 X 1 X 1/8. MFR: CAMERON, PN: 702640‐21‐01                                                                                    4                                0                 0
Deepwater Warehouse    Fieldwood         83075.A                              MR‐1‐C             BACK‐UP NITRILE 90A. MFR: CAMERON, PN: 042000‐02‐16                                                                                                  8                                0                 0
Deepwater Warehouse    Fieldwood         83076.A                              MR‐1‐C             O‐RING NITRILE 90A, 11 1/2 X 11 3/4. MFR: CAMERON, PN: 702645‐27‐71                                                                                  1                                0                 0
                                                                                                                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83076.A                         TRAINING ROOM 1         O‐RING NITRILE 90A, 11 1/2 X 11 3/4. MFR: CAMERON, PN: 702645‐27‐71            AFE FW580018         NOVESA                                           4                                0                 0
Deepwater Warehouse    Fieldwood         83078.A                              MR‐1‐C             BACK UP NITRILE 90A. MFR: CAMERON, PN: 042000‐02‐49                                                                                                 16                                0                 0
Deepwater Warehouse    Fieldwood         83079.A                              MR‐1‐C             BACK UP NITRILE 90A. MFR: CAMERON, PN: 042000‐02‐22                                                                                                  2                                0                 0
Deepwater Warehouse    Fieldwood         83080.A                              MR‐1‐C             BACK UP NITRILE 90A. MFR: CAMERON, PN: 042000‐02‐31                                                                                                  8                                0                 0
Deepwater Warehouse    Fieldwood         83081.A                              MR‐1‐C             BACK UP NITRILE 90A. MFR: CAMERON, PN: 042000‐02‐51                                                                                                  8                                0                 0
Deepwater Warehouse    Fieldwood         83082.A                              MR‐1‐C             BACK UP NITRILE 90A. MFR: CAMERON, PN: 042000‐02‐30                                                                                                  8                                0                 0
                                                                                                 ALLOY SOCKET HEAD CAP SCREW, 5/16‐18 X 5/8. MFR: CAMERON, PN: 702503‐04‐
Deepwater Warehouse    Fieldwood         83083.A                              MR‐1‐C             00‐05                                                                                                                                               30                                0                 0
                                                                                                 FACE SEAL AND SEAL RING INSERT ASSEMBLY. MFR: CAMERON, PN: 140146‐03‐01‐
Deepwater Warehouse    Fieldwood         83084.A                              MR‐1‐C             03                                                                                                                                                   8                                0                 0
                                                                                                 FACE SEAL AND SEAL RING INSERT ASSEMBLY. MFR: CAMERON, PN: 140146‐02‐01‐
Deepwater Warehouse    Fieldwood         83085.A                              MR‐1‐C             03                                                                                                                                                   8                                0                 0
                                                                                                 SINGLE LIP OIL SEAL ‐ SOLID, 1.125" SHAFT, 1.561" OD, 0.256" WIDTH, CRW1
Deepwater Warehouse    Fieldwood         83086.A                              MR‐1‐C             DESIGN. MFR: CHICAGO RAWHIDE, PN: 701156                                                                                                             3                                0                 0
                                                                                                 O RING, SIZE AS‐568‐333 2.475 ID X 210 W 90D /MS‐1078 NITRILE. MFR:
Deepwater Warehouse    Fieldwood         83087.A                              MR‐1‐C             CAMERON, PN: 702645‐33‐31 OBSOLETE                                                                                                                  13                                0                 0
Deepwater Warehouse    Fieldwood         83088.A                              MR‐1‐C             BORE SEAL O‐RINGS. MFR: SEAHORSE ENERGY, PN: S‐190001496‐NC                                                                                          6                                0                 0
Deepwater Warehouse    Fieldwood         83089.A                              MR‐1‐C             BACK UP NITRILE 90A. MFR: CAMERON, PN: 042000‐03‐80                                                                                                 14                                0                 0
Deepwater Warehouse    Fieldwood         83090.A                              MR‐1‐C             HEX SOCKET SET SCREW. MFR: CAMERON, PN: 2748045‐01                                                                                                   8                                0                 0
                                                                                                                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83090.A                         TRAINING ROOM 1         HEX SOCKET SET SCREW. MFR: CAMERON, PN: 2748045‐01                             AFE FW580018         NOVESA                                          32                                0                 0
Deepwater Warehouse    Fieldwood         83091.A                              MR‐1‐C             HEX HEAD CAP SCREW GR. 5 PLAIN. MFR: CAMERON, PN: 702500‐04‐00‐14                                                                                   30                                0                 0
Deepwater Warehouse    Fieldwood         83092.A                              MR‐1‐C             O RING NITRILE 90A, 2 5/8 X 2 7/8 X 1. MFR: CAMERON, PN: 702645‐23‐11                                                                                4                                0                 0
Deepwater Warehouse    Fieldwood         83093.A                              MR‐1‐C             LOCKDOWN CHECK ASSEMBLY. PN: 2142055‐01                                                                                                              1                                0                 0

Deepwater Warehouse    Fieldwood         83094.A                              MR‐3‐C             LTPC, 7 WAY, RECEPTACLE (SOCKET), TITANIUM. MFR: TELEDYNE, PN: 10125671        AFE FW193006        GENOVESA                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83095.A                              MR‐5‐C             LTPC, 4 WAY DUMMY ROV COVER. MFR: TELEDYNE, PN: 10163041                       AFE FW193006        GENOVESA                                          3                                0                 0

                                                                                                 ASSEMBLY, INTERNAL TREE CAP, 10K WP WITH MEC SEAL, 5.75 SSR PLUG PREP
                                                                                                 AND EXTENSION SLEEVE, G2 SPOOLTREE SYSTEM, MATERIAL CLASS EE‐NL, PSL 3,
                                                                                                 TEMP CLASS 0 TO 350 DEG F. MFR: CAMERON, PN: 2055296‐02‐01, SN: 110407008
Deepwater Warehouse    Fieldwood         83096.A                            MW‐AREA 6                                                                                           AFE FW193006        GENOVESA                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83097.A                             MR‐5‐C              TEST PLUG, ROV FLYING TYPE, 7 WAY. MFR: TELEDYNE, PN: 10121121                 AFE FW193006        GENOVESA                                          4                                0                 0
Deepwater Warehouse    Fieldwood         83098.A                             MR‐3‐C              TEST CONNECTOR, 7 WAY PLUG LOOPED. MFR: TELEDYNE, PN: 10322678                 AFE FW193006        GENOVESA                                          1                                0                 0

Deepwater Warehouse    Fieldwood         83099.A                              MR‐3‐C          TEST CONNECTOR, 7 WAY RECEPTACLE LOOPED. MFR: TELEDYNE, PN: 10322677              AFE FW193006        GENOVESA                                          4                                0                 0
Deepwater Warehouse    Fieldwood         83100.A                             MW‐R14‐2         PRESSURE CAP JACKING TOOL. MFR: OCEANEERING, PN: 990701111                        AFE FW193006        GENOVESA                                          1                                0                 0
                                                                                              D/A HOLL‐O‐CYLINDER, RRH 1003, 100 TON, D44 19000, 700 BAR, 10000 PSI. MFR:
Deepwater Warehouse    Fieldwood         83101.A                           MW‐R14‐2           ENERPAC, PN: 990701100                                                            AFE FW193006        GENOVESA                                          2                                0                 0
                                                                                              ASSEMBLY, PRESSURE CAP, 8"‐15K CVC, 6.392 SEAL BORE, LIFTING FRAME WITH
                                                                                              PMT RECEPTACLE, 1.38 THICK PADEYES AND (8) ANODES, ROV PANEL (S & O),
                                                                                              3/8"‐15K AUTOCLAVE BALL VALVE, 3/8" 10K/15K SINGLE PORT HOT STAB
                                                                                              RECEPTACLE AND 3/8"‐20K AUTOCLAVE ADAPTERS, INCONEL 625 TUBING; PSL‐3;
                                                                    DWW‐YARD‐C‐VAN HJCU148137 DNV 2.7‐3 COMPLIANT; WOP 15,000 PSI; TEST PRESSURE 22,500 PSI. MFR:
Deepwater Warehouse    Fieldwood         83102.B                               2              ONESUBSEA, PN: 2395693‐03                                                         AFE FW193006        GENOVESA                                          2                                0                 0

Deepwater Warehouse    Fieldwood         83103.A                             MR‐1‐E           DYE SPEC GREEN TRACER STICKS. MFR: JMN SPECIALTIES, PN: (BATCH) 181117            AFE FW193007         TROIKA                                          10                                0                 0
                                                                    DWW‐YARD‐C‐VAN HJCU148137 TEX 5 SHORT TERM PRESSURE CAP, 15000 PSI, 40°F‐120°F. MFR: TRENDSETTER,
Deepwater Warehouse    Fieldwood         83104.A                               2              PN: A1014720                                                                      AFE FW193006        GENOVESA                                          4                                0                 0
Deepwater Warehouse    Fieldwood         83105.A                             MR‐4‐C           TEX 5 RING PRODUCTION GASKETS. MFR: TRENDSETTER, PN: A1006521                     AFE FW193006        GENOVESA                                          8                                0                 0
Deepwater Warehouse    Fieldwood         83105.B                            MR‐2‐D            TEX 5 RING PRODUCTION GASKETS. MFR: TRENDSETTER, PN: A1006521                                                                                           2                                0                 0
Deepwater Warehouse    Fieldwood         83106.A                             MR‐3‐C           12 WAY FEMALE. MFR: TELEDYNE, PN: 1062177‐550                                                                                                           1                                0                 0
                                                                                              OII 90 DEGREE SFL TERMINATION FRAME, "COBRA HEAD". MFR: OCEANEERING,
Deepwater Warehouse    Fieldwood         83107.A                           MW‐AREA 1          PN: 0432505                                                                                                                                             1                                0                 0
Deepwater Warehouse    Fieldwood         83108.A                           MW‐AREA 2          RS‐8 MALE COUPLERS. MFR: HUNTING ENERGY SERVICES, PN: RS‐8‐A‐96‐PK                AFE FW193006        GENOVESA                                         11                                0                 0
                                                                                              RS‐8 FEMALE COUPLERS. MFR: HUNTING ENERGY SERVICES, PN: RS‐8‐B‐100‐PK‐
Deepwater Warehouse    Fieldwood         83109.A                           MW‐AREA 2          PK2‐C510                                                                          AFE FW193006        GENOVESA                                         10                                0                 0

Deepwater Warehouse    Fieldwood         83110.A                            MW‐AREA 2            MONO COUPLER TEST FIXTURE, 5000 PSI. MFR: TRENDSETTER, PN: A1014948            AFE FW193006        GENOVESA                                          1                                0                 0
                                                                                                 MONO COUPLER CROWS FEET TORQUE ADAPTER. MFR: TRENDSETTER, PN:
Deepwater Warehouse    Fieldwood         83111.A                            MW‐AREA 2            M1014981                                                                       AFE FW193006        GENOVESA                                          2                                0                 0
                                                                                                 BUTT‐WELD ADAPTERS, 2507 SUPER DUPLEX. MFR: OCEAN EDGE, PN: FWE‐1828‐
Deepwater Warehouse    Fieldwood         83112.A                            MW‐AREA 2            203                                                                            AFE FW193006        GENOVESA                                          5                                0                 0
                                                                                                 39" STICK, 3/8" OD X .065" WT, 2507 SUPER DUPLEX TUBING ‐ HT#: 554168; LOT#:
                                                                                                 0002006052
Deepwater Warehouse    Fieldwood         83113.A                            MW‐AREA 2                                                                                           AFE FW193006        GENOVESA                                          1                                0                 0
                                                                                                 M1 REMOVEABLE OB JUNCTION PLATE 14 WAY, M1 FIXED IB JUNCTION PLATE 14
                                                                                                 WAY, INTERMEDIATE LOGIC CAP WELDMENT FRAME, 10K PSI (SPARE). MFR:
Deepwater Warehouse    Fieldwood         83114.A                            MW‐AREA 4            OCEAN EDGE, PN: 1828‐102 (INCOMPLETE)                                          AFE FW193006        GENOVESA                                          1                                0                 0
                                                                                                 M1 REMOVEABLE OB JUNCTION PLATE 14 WAY, M1 FIXED IB JUNCTION PLATE 14
                                                                                                 WAY, INTERMEDIATE LOGIC CAP WELDMENT FRAME, 10K PSI (SPARE). MFR:
Deepwater Warehouse    Fieldwood         83114.A                            MW‐AREA 4            OCEAN EDGE, PN: 1828‐102 (COMPLETE)                                            AFE FW193006        GENOVESA                                          0                                0                 0
Deepwater Warehouse    Fieldwood         83115.A                            DWW‐YARD             TRANSPORTATION FRAME FOR PW VX SS TYPE F2. MFR: ONESUBSEA                      AFE FW193006        GENOVESA                                          1                                0                 0
                                                                                                 ASSY, 8"‐15K S‐AX GASKET, W/ 2 DOVETAIL O‐RING GROOVES, SPHERICAL
Deepwater Warehouse    Fieldwood         83116.A                              OS‐R2‐S2           SEALING SURFACE. MFR: CAMERON, PN: 2181646‐08                                  AFE FW193006        GENOVESA                                          6                                0                 0
                                                                                                 ASSY, 8"‐15K S‐AX GASKET, W/ 2 DOVETAIL O‐RING GROOVES, SPHERICAL                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83116.A                              OS‐R2‐S2           SEALING SURFACE. MFR: CAMERON, PN: 2181646‐08                                  AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                 ASSY, 8"‐15K S‐AX GASKET, W/ 2 DOVETAIL O‐RING GROOVES, SPHERICAL                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83116.B                              OS‐R2‐S2           SEALING SURFACE. MFR: CAMERON, PN: 2181646‐08                                  AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                 TEST BODY, 8"‐15K S‐AX TEST GASKET (6.417 ID), W/ 2X DOVETAIL O‐RING
Deepwater Warehouse    Fieldwood         83117.A                              OS‐R1‐S1           GROOVES, SPHERICAL SEALING SURFACE. MFR: CAMERON, PN: 2274165‐05               AFE FW193006        GENOVESA                                          6                                0                 0
                                                                                                 TEST BODY, 8"‐15K S‐AX TEST GASKET (6.417 ID), W/ 2X DOVETAIL O‐RING
Deepwater Warehouse    Fieldwood         83117.B                              OS‐R1‐S1           GROOVES, SPHERICAL SEALING SURFACE. MFR: CAMERON, PN: 2274165‐05               AFE FW193006        GENOVESA                                          1                                0                 0




                                                                                                                                                         35
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                                Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
Deepwater Warehouse     Fieldwood         83118.A                          MW‐R11‐FL           RIGGING, 2 SHACKLES AND 1 MASTER LINK. MFR: CROSBY                              AFE FW193006        GENOVESA                                          1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   2" PRODUCTION GASKET, 15K, SMALL BORE CONNECTOR, ‐50‐300 DEG. MFR:                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83119.A                          CONTROLLED)          VANCO, PN: 2398316‐02                                                           AFE FW580018         NOVESA                                           3                                0                 0
                                                                                               2" PRODUCTION GASKET, 15K, SMALL BORE CONNECTOR, ‐50‐300 DEG. MFR:                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83119.A                        TRAINING ROOM 1        VANCO, PN: 2398316‐02                                                           AFE FW580018         NOVESA                                           2                                0                 0
Deepwater Warehouse    Fieldwood         83120.A                             MR‐1‐E            3" GASKET FOR API 6BX FLANGES. MFR: WOLAR, PN: BX 154                           AFE FW193006        GENOVESA                                          2                                0                 0

Deepwater Warehouse    Fieldwood         83121.A                             MR‐2‐E            6" GREEN TEST GASKET, PTFE COATED, AISI 4140, STEEL. MFR: GRAYLOC, PN: 62       AFE FW193006        GENOVESA                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83122.A                             MR‐1‐E            BX 156 (IRON) GASKET. MFR: KLINGER                                              AFE FW193006        GENOVESA                                          1                                0                 0
                                                                                               KLINGER SENTRY IK 7 1/16", 15K (INCLUDES SLEEVES, WASHERS, BLIND PLUG),
Deepwater Warehouse    Fieldwood         83123.A                            MR‐2‐B             MATL: 316SS/THERMICA. MFR: KLINGER, PN: SEINS‐193221019                         AFE FW183040         KATMAI                                           0                                0                 0
                                                                                               PLATE MOUNTING, MATL: A572 GR. 50, EPOXY PAINTED YELLOW. MFR:
Deepwater Warehouse    Fieldwood         83124.A                           MW‐R14‐2            OCEANEERING, PN: 0503308                                                                                                                              1                                0                 0
                                                                                               HOLD BACK CLAMP (DEEPSEA TECHNOLOGIES). MFR: OCEANEERING, PN: 197940‐
Deepwater Warehouse    Fieldwood         83125.A                           MW‐R14‐2            CLAMP                                                                                                                                                 1                                0                 0
                                                                                               LIFTING TOOL, GA AND LOM, PLATE BOTTOM AND TOP BOTH API 2H GRADE 50,
                                                                                               BAR SUPPORT 1 1/4" 8UN, 650MM LG, PLATE MOUNT. MFR: OCEANEERING, PN:
Deepwater Warehouse    Fieldwood         83126.A                           MW‐R14‐2            0503007                                                                                                                                               1                                0                 0
                                                                                               TOPSIDE TERMINATION ASSEMBLY, BOM ITEM 200. MFR: AKER SOLUTIONS, PN:
Deepwater Warehouse    Fieldwood         83127.A                            MW‐R6‐2            10317190                                                                                                                                              1                                0                 0
Deepwater Warehouse    Fieldwood         83128.A                            MW‐R9‐2            TOPSIDE TERMINATION GA AND LOM. MFR: OCEANEERING, PN: 0499240                   AFE FW193007         TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83129.A                           MW‐AREA 1           SFL PARKING POSTS ASSEMBLY. MFR: OCEANEERING, PN: 0440492                       AFE FW193006        GENOVESA                                          3                                0                 0
Deepwater Warehouse    Fieldwood         83130.A                           MW‐AREA 2           STUDS & NUTS, (459) 1 3/8" X 10"                                                                   BULLWINKLE                                        459                               0                 0
Deepwater Warehouse    Fieldwood         83131.A                           MW‐AREA 2           STUDS & NUTS, (140) 1 3/8" X 9"                                                                    BULLWINKLE                                        140                               0                 0
Deepwater Warehouse    Fieldwood         83132.A                           MW‐AREA 2           STUDS & NUTS, (118) 1" X 6.75"                                                                     BULLWINKLE                                        118                               0                 0
Deepwater Warehouse    Fieldwood         83133.A                           MW‐AREA 2           STUDS & NUTS, (288) 7/8" X 5.75"                                                                   BULLWINKLE                                        288                               0                 0
Deepwater Warehouse    Fieldwood         83134.A                             MR‐1‐B            TEX 5 RING TEST GASKET. MFR: TRENDSETTER, PN: A1006521                                                                                                2                                0                 0
Deepwater Warehouse    Fieldwood         83135.A                           MW‐AREA 2           STUDS & NUTS, (16) 1 1/2" X 10 3/8"                                                                BULLWINKLE                                        16                                0                 0
Deepwater Warehouse    Fieldwood         83135.B                            MR‐2‐D             TEX 5 RING TEST GASKET. MFR: TRENDSETTER, PN: A1006521                                                                                                1                                0                 0
Deepwater Warehouse    Fieldwood         83136.A                            OS‐R3‐S2           SPANNER WRENCH, BUMUS‐41397. MFR: OCEANEERING, PN: 0506953‐1                                                                                                                           0                 0
Deepwater Warehouse    Fieldwood         83137.A                            OS‐R3‐S2           HOT STAB. MFR: OCEANEERING, PN: A05320‐H                                                                                                                                               0                 0
Deepwater Warehouse    Fieldwood         83138.A                            OS‐R3‐S2           HOT STAB. MFR: OCEANEERING, PN: A06282                                                                                                                                                 0                 0
Deepwater Warehouse    Fieldwood         83139.A                            OS‐R3‐S2           HOT STAB. MFR: OCEANEERING, PN: A05320‐G                                                                                                                                               0                 0
                                                                                               1 5/8"‐8X10 A 320 L7M, ALL THREAD STUD, ZINC PLATED. MFR: AKER, PN:
Deepwater Warehouse    Fieldwood         83140.A                            MR‐4‐D             10326674                                                                                                                                             10                                0                 0
Deepwater Warehouse    Fieldwood         83141.A                            MR‐4‐D             WASHER, FLAT, 1 1/2" ID, CS FLZN. MFR: AKER, PN: 10078196                                                                                             8                                0                 0
Deepwater Warehouse    Fieldwood         83142.A                            MR‐4‐D             WASHER, LOCK, INTERNAL TOOTHED, 1 1/2" ID. MFR: AKER, PN: 10031049                                                                                   10                                0                 0
Deepwater Warehouse    Fieldwood         83143.A                            MR‐4‐D             1 1/2‐8 A194 2H NUTS, DOMESTIC, ZINC PLATED. MFR: AKER, PN: 1021500                                                                                  20                                0                 0
Deepwater Warehouse    Fieldwood         83144.A                            MR‐4‐D             WASHER, INTERNAL TOOTH LOCK, TYPE A, 7/8". MFR: AKER, PN: 10048234                                                                                   10                                0                 0
                                                                                               3/4"‐10 X 1 A320 L7M HUY HEX BOLT, ZINC PLATED, DOMESTIC. MFR: AKER, PN:
Deepwater Warehouse    Fieldwood         83145.A                            MR‐4‐D             10323751                                                                                                                                              4                                0                 0
Deepwater Warehouse    Fieldwood         83146.A                            MR‐4‐D             SHCS, 1/2" ‐ 13UNRC X 2.5", L7M, ELZN. MFR: AKER, PN: 10323753                                                                                        2                                0                 0
                                                                                               1/4" ‐ 20 X 1/2 PAN HEAD PHILLIPS MACHINE SCREWS, ZINC PLATED, DOMESTIC.
Deepwater Warehouse    Fieldwood         83147.A                            MR‐4‐D             MFR: AKER, PN: 10016851                                                                                                                               4                                0                 0
Deepwater Warehouse    Fieldwood         83148.A                            MR‐4‐D             NUT, HEX, 1/2" ‐ 13 UNC. MFR: AKER, PN: 10190004                                                                                                      2                                0                 0
Deepwater Warehouse    Fieldwood         83149.A                            MR‐4‐D             NUT, HEX, HEAVY, 7/8" ‐ 9 UNC. MFR: AKER, PN: 10120510                                                                                                6                                0                 0
                                                                                               7/8" ‐ 9 X 5 A320 L7M HUY HEX BOLT, ZINC PLATED, DOMESTIC. MFR: AKER, PN:
Deepwater Warehouse    Fieldwood         83150.A                            MR‐4‐D             10323752                                                                                                                                              6                                0                 0
Deepwater Warehouse    Fieldwood         83151.A                           MW‐AREA 6           BOLT, 1/2‐13 UNC X 4" HXHD. 316. MFR: ABCO SUBSEA, PN: 5002.68                                                                                        9                                0                 0
Deepwater Warehouse    Fieldwood         83152.A                           MW‐AREA 6           NUT, 1/2‐13 UNC NYLOCK, 316. MFR: ABCO SUBSEA, PN: 5000.89                                                                                            9                                0                 0

Deepwater Warehouse    Fieldwood         83153.A                           MW‐AREA 6           WASHER, 1/2 MS‐819 (1 3/8 OD X 11 THK), 316. MFR: ABCO SUBSEA, PN: 5002.80                                                                           18                                0                 0
                                                                                               VBR (VERTEBRAE BEND RESTRICTORS). MFR: WHITEFIELD PLASTICS, PN:
Deepwater Warehouse    Fieldwood         83154.A                          MR‐GENERAL           7187234VBRHD                                                                                                                                          1                                0                 0
                                                                                               M7 VBR FLANGE, 5.96" ID X 22" PL, PU 85‐D YELLOW. MFR: ABCO SUBSEA, PN:
Deepwater Warehouse    Fieldwood         83155.A                           MW‐AREA 6           0502297                                                                                                                                               1                                0                 0
                                                                                               M7 VBR SEGMENT 6" ID, 412" LBR, 3.5 DEG. RA, PU 85D YELLOW. MFR: ABCO
Deepwater Warehouse    Fieldwood         83156.A                           MW‐AREA 6           SUBSEA, PN: 0502298                                                                                                                                   1                                0                 0
Deepwater Warehouse    Fieldwood         83157.A                           MW‐AREA 6           M7 VBR CAP, 6" ID, PU 85D YELLOW. MFR: ABCO SUBSEA, PN: 0502299                                                                                       1                                0                 0
                                                                                               OEM HYDRAULIC COUPLER ASSY, SPECIALTY. MFR: HUNTING ENERGY SERVICES,
Deepwater Warehouse    Fieldwood         83158.A                          MR‐GENERAL           PN: P207411                                                                                                                                           2                                0                 0
                                                                                               SEAL, METAL C‐RING, INCONEL 71, 33.07MM OD X 2.39MM. MFR: FMC
Deepwater Warehouse    Fieldwood         83159.A                          MR‐GENERAL           TECHNOLOGIES, PN: P206958                                                       AFE FW205014        GUNFLINT                                          2                                0                 0
                                                                                               METAL SEAL, MSBMS‐II‐UD BODY, F/ 5‐15K HANGER, INCONEL 625, SILVER
                                                                                               PLATED, 4.686 OD X 3.913 ID, 0.450 LG, F/ HALLIBURTON CROWN PLUG. MFR:
Deepwater Warehouse    Fieldwood         83160.A                          MR‐GENERAL           FMC TECHNOLOGIES, PN: P1000011680                                               AFE FW205014        GUNFLINT                                          1                                0                 0
                                                                                               METAL SEAL, MSBMS‐II‐UD BODY, F/ 5‐15K HANGER, INCONEL 625, SILVER
                                                                                               PLATED, 4.988 OD X 4.217 ID, 0.450 LG, F/ HALLIBURTON CROWN PLUG. MFR:
Deepwater Warehouse    Fieldwood         83161.A                          MR‐GENERAL           FMC TECHNOLOGIES, PN: P1000011678                                               AFE FW205014        GUNFLINT                                          1                                0                 0
                                                                                               S‐SEAL, OD TYPE, NON STD GEOMETRY, 1.506/1.494 OD X 0.140 CS X 0.185 LG, W/
                                                                                               316 SS SPRINGS, .06 DIA COIL, USE SAME MOLD AS 48‐500‐232. MFR: FMC
                                                                                               TECHNOLOGIES, PN: DP‐48‐4279

Deepwater Warehouse    Fieldwood         83162.A                          MR‐GENERAL                                                                                           AFE FW205014        GUNFLINT                                          2                                0                 0
                                                                                               S‐SEAL, ID TYPE, 13.707/13.653 OD X 0.300 CS X 0.516 LG, E50159 90A DURO HIGH
                                                                                               TEMP HNBR (NORSOK COMPLIANT) MATL, W/ COAXIAL COMPOSITE & ELGILOY
                                                                                               SPRINGS, .09 & .06 DIA COILS, USE SAME MOLD AS, P/N P106191‐0003. MFR: FMC
Deepwater Warehouse    Fieldwood         83163.A                          MR‐GENERAL           TECHNOLOGIES, PN: P182166                                                       AFE FW205014        GUNFLINT                                          1                                0                 0
                                                                                               S‐SEAL, B TYPE EXTERNAL, NON STD GEOMETRY, 15.155/15.065 OD X 0.330 CS X
                                                                                               0.531 LG, W/ COAXIAL COMPOSITE & ELGILOY SPRINGS, .09 & .06 DIA COILS. MFR:
Deepwater Warehouse    Fieldwood         83164.A                          MR‐GENERAL           FMC TECHNOLOGIES, PN: P1000009444                                               AFE FW205014        GUNFLINT                                          1                                0                 0
                                                                                               S‐SEAL, OD TYPE, 14.794 / 14.706 OD X 0.500 CS X .555 LG, E50159 85A DURO
                                                                                               HIGH TEMP HNBR (NORSOK COMPLIANT) MATL, W/ COAXIAL COMPOSITE &
Deepwater Warehouse    Fieldwood         83165.A                          MR‐GENERAL           ELGILOY SPRINGS, .09 DIA COIL. MFR: FMC TECHNOLOGIES, PN: P182168               AFE FW205014        GUNFLINT                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83166.A                            MR‐5‐D             TEX‐2 625 PRODUCTION GASKET, MFR:TRENDSETTER, PN: TSN902285                                                                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83166.B                            MR‐5‐D             TEX‐2 625 PRODUCTION GASKET, MFR:TRENDSETTER, PN: TSN902285                                                                                           1                                0                 0
                                                                                               TEST GASKET, INCONEL‐718, PTFE COATING, M21700. MFR: DESTEC
Deepwater Warehouse    Fieldwood         83167.A                            MR‐5‐D             ENGINEERING, PN: HD80 21698                                                                                                                           6                                0                 0
                                                                                               1" X 10' RATCHET TIE DOWN SET (PACK OF 4), 1500 LB. MAX, 500 LB. WLL. MFR:
Deepwater Warehouse    Fieldwood         83168.A                          MR‐GENERAL           ERICKSON, PN: 31352                                                                                                                                   2                                0                 0
                                                                                               GUIDE AND LOCKING FUNNEL , UH‐575/550, MALE, 15K. MFR: UNITECH, PN:
Deepwater Warehouse    Fieldwood         83169.A                           MW‐AREA 4           27324/0                                                                                                                                               1                                0                 0
Deepwater Warehouse    Fieldwood         83170.A                           MW‐AREA 4           ANTI ROTATION FORK, UH‐550, ROV OPERATED. MFR: UNITECH, PN: 8142/E                                                                                    1                                0                 0




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      Facility        Facility Owner   Item Number     Serial No.             Location           Item Description                                                              Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                 MQC 12/12 FEMALE TERMINATOR BRAVO. MFR: UNITECH, PN: G04‐3988‐05‐
Deepwater Warehouse    Fieldwood         83171.A                             MW‐AREA 4           21255 #01                                                                                                                                           1                                0                 0
                                                                                                 UH‐550, F ‐ 7.500 2" CONNECTOR, FEMALE PART. MFR: UNITECH, PN: G02‐7011‐
Deepwater Warehouse    Fieldwood         83172.A                             MW‐AREA 6           8090/#31/0900                                                                                                                                       1                                0                 0
                                                                                                 MQC 12/10 MALE INCL. UH‐107 WITH 3/8" NPTF. MFR: UNITECH, PN: G04‐3953‐
Deepwater Warehouse    Fieldwood         83173.A                             MW‐AREA 6           05‐21522‐04                                                                                                                                         1                                0                 0
                                                                                                 MQC 12/10 MALE INCL. UH‐107 WITH 3/8" NPTF. MFR: UNITECH, PN: G04‐3953‐
Deepwater Warehouse    Fieldwood         83174.A                             MW‐AREA 6           05‐21522‐03                                                                                                                                         1                                0                 0
Deepwater Warehouse    Fieldwood         83175.A                              MR‐3‐B             RETAINER, GASKET SEAL. MFR: VANCO, PN: 2124583‐01 REV. B01                                                                                         13                                0                 0
                                                                                                 UH‐575 FEMALE WITH 2" SCH XXS PIPE ‐ 15000 PSI. MFR: UNITECH, PN: G02‐1187‐
Deepwater Warehouse    Fieldwood         83176.A                             MW‐AREA 4           09‐25379‐A #01                                                                                                                                      1                                0                 0
Deepwater Warehouse    Fieldwood         83177.A                             MW‐AREA 4           FLUSHING MQC, INBOARD, 4 WAY, 1‐1. MFR: AKER, PN: 10151348 REV 01/01                                                                                1                                0                 0
Deepwater Warehouse    Fieldwood         83178.A                             MW‐AREA 4           J‐PLATE ASSY, LTC, 8‐L. MFR: AKER, PN: 10017646 REV 02                                                                                              1                                0                 0
                                                                                                 M/D LINER DEBRIS CAP 18 3/8", MATL: 65300 ‐ POLYETHYLENE. MFR: PRECISION
Deepwater Warehouse    Fieldwood         83179.A                              OS‐R3‐S2           FLUOROCARBON INC., PN: 2035503‐02                                                                                                                   2                                0                 0
Deepwater Warehouse    Fieldwood         83180.A                             MW‐AREA 1           18‐3/4" VX RING GASKET, 316 SS. MFR: X‐CEL AMP, PN: 111227‐1.                                                                                       1                                0                 0
                                                                                                 ICE MAKER (MODEL KDT0400A‐161) AND ICE STORAGE BIN (MODEL K400). MFR:
Deepwater Warehouse    Fieldwood         83181.A                            BW‐NEP‐AREA          MANITOWOC FOODSERVICE, INC.                                                                       NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83182.A                            MR‐GENERAL           FIRE EXTINGUISHER BOX, FOR NEPTUNE, VK 826                                                        NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83183.A                             OS‐GENERAL          STRUCTURAL FRP TANK. MFR: PENTAIR, PN: CH30646‐02010101‐30                                        NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83184.A                             OS‐GENERAL          STRUCTURAL FRP TANK. MFR UNKNOWN.                                                                 NEPTUNE                                           1                                0                 0
                                                                                                 NAV‐AID FRESNEL LENS FOR MAX LUMINA MARINE SIGNAL LANTERN, 300 MM.
Deepwater Warehouse    Fieldwood         83185.A                            OS‐GENERAL           MFR: TIDELAND, PN: ML‐300                                                                         NEPTUNE                                           1                                0                 0
                                                                                                 NAV‐AID FRESNEL LENS FOR MAX LUMINA MARINE SIGNAL LANTERN, 300 MM.
Deepwater Warehouse    Fieldwood        83185.B                             OS‐GENERAL           MFR: TIDELAND, PN: ML‐300                                                                         NEPTUNE                                           1                                0                 0
                                                                                                 METHANOL PUMP MOTOR, 20V 120W. MFR: MARATHON, PN: 284TTGN40769BB
Deepwater Warehouse    Fieldwood         83186.A                            BW‐NEP‐AREA          L                                                                                                 NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83187.A                            BW‐NEP‐AREA          STEEL ENGINE PULLER                                                                               NEPTUNE                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83188.A                             MW‐AREA 1           GASKET, 10"‐15M, SEAL PLATE, MCPAC. MFR: VANCO, PN: 2124579‐02                                                                                      4                                0                 0
Deepwater Warehouse    Fieldwood         83189.A                              MR‐1‐E             ST RG RETAINER/BUSHING ASSY. MFR: FISHER, PN: 25A6683X072                                                                                           1                                0                 0
                                                                                                 GENERAL SERVICE GAUGE, 0‐5000 PSI, 316 SST TUBE AND SOCKET. MFR: MARSH,
Deepwater Warehouse    Fieldwood         83190.A                              OS‐R3‐S2           PN: 097975                                                                                                                                          1                                0                 0

Deepwater Warehouse    Fieldwood         83191.B                              OS‐R3‐S2           XMAS TREE GAUGE, 0‐5000 PSI, AISI 316 TUBE AND SOCKET. MFR: ASHCROFT                                                                                1                                0                 0
                                                                                                 UH‐550 MALE TEST 2” STAB CONNECTOR RECEPTACLE. MFR: UNITECH, PN: G02‐
Deepwater Warehouse    Fieldwood         83192.A                             MW‐AREA 5           3956‐05‐21440‐02                                                                                                                                    1                                0                 0
                                                                                                 MQC 2 MALE TERMINATOR ALPHA GENERAL ARRANGEMENT AND INTERFACE.
Deepwater Warehouse    Fieldwood         83193.A                             MW‐AREA 5           MFR: UNITECH, PN: 21747                                                                                                                             2                                0                 0
                                                                                                 ISOLATION NEEDLE VALVE (TREE MOUNTED), 10K WP, 3/4 TURN, 0.359 BORE, 4
                                                                                                 BOLT BX151 CONNECTION, MATL CLASS 'FF', TEMP RATING ‐20 TO 140 DEG F,
                                                                                                 API6A & 17D, PSL‐3, NACE MR‐01‐75, ASME VIII/DIV2, OLIVER. MFR: ONESUBSEA,
                                                                                                 PN: 2205741‐04
Deepwater Warehouse    Fieldwood         83194.A                            OS‐GENERAL                                                                                                                                                               1                                0                 0
                                                                                               OUTER JACKET REPAIR KIT (TAPE, WELDER, ROD, SANDING ROLL, FILE, HEAT GUN,
Deepwater Warehouse    Fieldwood         83195.A                              MW‐R9‐3          SCRAPER, CUTTER). MFR: OCEANEERING, PN: VARIOUS                                                      TROIKA                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83196.A                             MW‐AREA 3         3.75" BLANK EXTENSION, 12' LONG. MFR: HUNTING ENERGY SERVICES                                                                                         1                                0                 0
                                                                                               M1 REMOVABLE LOGIC CROSSOVER PLATE, 14 WAY, 3 LINES. MFR: OCEANEERING,
Deepwater Warehouse    Fieldwood         83197.A                            BW‐AREA 1          PN: 0508204                                                                                          KATMAI                                           1                                0                 0
                                                                                               CENTRAMAX CENTRALIZER SUB, RT1, 11.875", 71.8#, 140KSI MYS, TH513,
Deepwater Warehouse    Fieldwood         83198.A                    DWW‐YARD‐C‐VAN PBIU4095260 MFR:INNOVEX, PN: RT1‐302‐9901‐0324‐0016                                                              ORLOV                                           14                                0                 0
                                                                    DWW‐YARD‐C‐VAN HJCU148137 CENTRAMAX CENTRALIZER SUB, RT1, 11.875", 71.8#, 140KSI MYS, TH513,
Deepwater Warehouse    Fieldwood         83198.A                                2              MFR:INNOVEX, PN: RT1‐302‐9901‐0324‐0016                                                              ORLOV                                            4                                0                 0
                                                                      DWW‐YARD C‐VAN MOTU      CENTRAMAX CENTRALIZER SUB, RT1, 11.875", 71.8#, 140KSI MYS, TH513,
Deepwater Warehouse    Fieldwood         83198.A                           045905745G1         MFR:INNOVEX, PN: RT1‐302‐9901‐0324‐0016                                                              ORLOV                                            4                                0                 0
                                                                                               CENTRAMAX CENTRALIZER SUB, PT1, 18.00" 117#, VAM HD‐L Q125HP. MFR:
Deepwater Warehouse    Fieldwood         83199.A                    DWW‐YARD‐C‐VAN PBIU4095260 INNOVEX, PN: PT1‐457‐5803‐0504‐0009                                                                 GENOVESA                                          6                                0                 0
                                                                                               CENTRAMAX CENTRALIZER SUB, PT1, 18.00" 117#, VAM HD‐L Q125HP. MFR:
Deepwater Warehouse    Fieldwood         83199.A                    DWW‐YARD‐C‐VAN 43342242G1 INNOVEX, PN: PT1‐457‐5803‐0504‐0009                                                                  GENOVESA                                          4                                0                 0
                                                                                               GUIDE SHOE, 7 3/4" TSH 523, NON‐DOPELESS, 46.1# Q125/140Y F1009. MFR:
Deepwater Warehouse    Fieldwood         83200.A                            MW‐AREA 4          BLACKHAWK, PN: 0114055 A                                                                            GENOVESA                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83201.A                            MW‐AREA 4          STOP COLLAR, 22" LO HD DBL, STSC R CS. MFR: LEGACY, PN: 6026022                                      KATMAI                                          117                               0                 0
                                                                                               CENTRALIZER, BOW SPRING 22 STR LO LPWLD 85R 31.62 OD CS. MFR: LEGACY, PN:
Deepwater Warehouse    Fieldwood         83202.A                            MW‐AREA 4          1108522                                                                                              KATMAI                                          18                                0                 0
                                                                                               7 3/4" 46.1# FLOAT COLLAR, TH523 DL ATRB. MFR: INNOVEX, PN: 735‐197‐9901‐
Deepwater Warehouse    Fieldwood         83203.A                            MW‐AREA 4          0326                                                                                                 KATMAI                                           1                                0                 0
                                                                                               7 3/4" 46.1# FLOAT COLLAR, TH523 DL AFRB TBRO Q12. MFR: INNOVEX, PN: 735‐
Deepwater Warehouse    Fieldwood         83204.A                            MW‐AREA 4          197‐0901‐0344‐ATAB                                                                                   KATMAI                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83205.A                            MW‐AREA 4          7 3/4" 46.1# REAMER SHOE. MFR: INNOVEX, PN: 704‐197‐0901‐0326‐210                                    KATMAI                                           1                                0                 0
                                                                                               10 3/4" TSH WEDGE , MAC II CROSSOVER, DOPELESS, 85.3‐97.1#. MFR: TENARIS,
Deepwater Warehouse    Fieldwood         83206.A                            BW‐AREA 3          PN: K&B‐011811‐050                                                                                                                                    4                                0                 0
                                                                                               SEAL BODY, TYPE K‐SEAL F/ 17.500 DIA BORE. MFR: ONESUBSEA, PN: 2091059‐03‐                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83207.A                         TRAINING ROOM 1       01                                                                              AFE FW580018         NOVESA                                           2                                0                 0
                                                                                               ROC RAMPING GAUGE SIMULATOR, SUPPLY VOLTAGE 36‐48V, GAUGE CURRENT 6‐
                                                                                               108MA, RS232 SERIAL CONNECTOR. MFR: WELL DYNAMICS (HALLIBURTON), PN:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83208.A                             OS‐R1‐S2          9650‐6052                                                                                            NOVESA                                           1                                0                 0
                                                                                               SUBSEA CHEMICAL INJECTION METERING VALVE SIMULATOR, 100‐240 VAC, 50/60                           KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83209.A                             OS‐R1‐S2          HZ, 24VDC. MFR: SKOFLO, PN: 100322‐L200‐CAN‐FL                                                       NOVESA                                           1                                0                 0
                                                                                               PERSONAL COMPUTER FOR FLOWMETER GAUGE SIMULATION SYSTEM. MFR:                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83210.A                             OS‐R1‐S2          PANASONIC TOUGHBOOK, PN: CF‐54FX128VM                                                                NOVESA                                           1                                0                 0
                                                                                               CVC CONNECTOR, USED FOR PIG RECEIVER LAUNCHER (PRL) CONNECTION. MFR:
Deepwater Warehouse    Fieldwood         83211.A                            MW‐AREA 4          ONESUBSEA, PN: 50269708H1‐02                                                    AFE FW183040         KATMAI                                           1                                0                 0
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE GENERIC EL ROV LTC 4/7/12 UCOVERS 4/7/12‐WAY BULKHEAD ROV RECEPTACLE                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83212.A                           CONTROLLED)         WITH PADDLE HANDLES. MFR: TELEDYNE, PN: 2185425‐04‐09                           AFE FW580018         NOVESA                                           3                                0                 0
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83213.A                           CONTROLLED)         GENERIC EL ROV LOOP, 12 PIN, MALE. MFR: TELEDYNE, PN: 2197088‐41‐11             AFE FW580018         NOVESA                                           2                                0                 0
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE GENERIC EL ROV PARK, 4/7/12P W/O INS, MATL: TITANIUM. MFR: TELEDYNE, PN:                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83214.A                           CONTROLLED)         2197088‐37‐05                                                                   AFE FW580018         NOVESA                                           2                                0                 0
                                                                         DWW‐YARD‐C‐VAN
                                                                     TTNU977610145G1 (CLIMATE OSS BARROW, STAB PLATE DUMMY, 12 WAY ELECTRICAL FEMALE. MFR:                                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83215.A                           CONTROLLED)         ONESUBSEA, PN: 223521‐42‐02                                                     AFE FW580018         NOVESA                                           2                                0                 0




                                                                                                                                                        37
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O‐RING FOR 4.375 SSR W/ 1 ISOLATION SLEEVE. MFR: ONESUBSEA, PN: 2749294‐                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83216.A                          CONTROLLED)          01                                                                             AFE FW580018         NOVESA                                          12                                0                 0
                                                                                               O‐RING FOR 4.375 SSR W/ 1 ISOLATION SLEEVE. MFR: ONESUBSEA, PN: 2749294‐                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83216.A                        TRAINING ROOM 1        01                                                                             AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   MECHANICAL SPARES, 4.375 SS WIRELINE ISOLATION SLEEVE. MFR: ONESUBSEA,                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83217.A                          CONTROLLED)          PN: 2166284‐02                                                                 AFE FW580018         NOVESA                                           2                                0                 0
                                                                                               MECHANICAL SPARES, 4.375 SS WIRELINE ISOLATION SLEEVE. MFR: ONESUBSEA,                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83217.A                        TRAINING ROOM 1        PN: 2166284‐02                                                                 AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPRING, OD: 0.720", WIRE: 0.112", LENGTH: 1.5", SPRING RATE: 158.5 LB/IN,                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83218.A                          CONTROLLED)          MATL: 302 SS. MFR: ONESUBSEA, PN: 2748415‐01                                   AFE FW580018         NOVESA                                           4                                0                 0
                                                                                               SPRING, OD: 0.720", WIRE: 0.112", LENGTH: 1.5", SPRING RATE: 158.5 LB/IN,                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83218.A                        TRAINING ROOM 1        MATL: 302 SS. MFR: ONESUBSEA, PN: 2748415‐01                                   AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83219.A                          CONTROLLED)          METAL SEAL RING, 4.375", SSR WL PLUG. MFR: ONESUBSEA, PN: 2748650‐01           AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83219.A                        TRAINING ROOM 1        METAL SEAL RING, 4.375", SSR WL PLUG. MFR: ONESUBSEA, PN: 2748650‐01           AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPRING, CPRSM, .125 X .970 OD X 3.5 SST, ENDS GROUND, 44.2 LB/IN RATE, 11.4                     KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83220.A                          CONTROLLED)          ACTIVE COILS, 13.4 TOTAL COILS. MFR: ONESUBSEA, PN: 2748264‐01                 AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPARES, 8"‐15K S‐AX PRODUCTION GASKET (KIT). MFR: ONESUBSEA, PN: 2500896‐                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83221.A                          CONTROLLED)          03                                                                             AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPARES, 8"‐15K CVC OUTBOARD CONNECTORS (KIT). MFR: ONESUBSEA, PN:                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83222.A                          CONTROLLED)          2500896‐01                                                                     AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 124, 1.268 ID X 1.440 OD NITRILE, PARBAK 8‐SERIES. MFR:                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83223.A                          CONTROLLED)          ONESUBSEA, PN: 042000‐01‐24                                                    AFE FW580018         NOVESA                                          48                                0                 0
                                                                                               BACK UP RING, SIZE 124, 1.268 ID X 1.440 OD NITRILE, PARBAK 8‐SERIES. MFR:                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83223.A                        TRAINING ROOM 1        ONESUBSEA, PN: 042000‐01‐24                                                    AFE FW580018         NOVESA                                          98                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPACER, PEEK LIP SEAL, HYDRAULIC STAB, G2, SPOOL TREE SYSTEM. MFR:                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83224.A                          CONTROLLED)          ONESUBSEA, PN: 2142381‐02                                                      AFE FW580018         NOVESA                                          24                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O‐RING, SIZE AS‐568‐125, 1.299 ID X 103W, MATL: GREEN TWEED, CHEMRAZ, OR                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83225.A                          CONTROLLED)          DU PONT ‐ KALREZ 4079. MFR: ONESUBSEA, PN: 2731180‐01                          AFE FW580018         NOVESA                                           3                                0                 0
                                                                                               O‐RING, SIZE AS‐568‐125, 1.299 ID X 103W, MATL: GREEN TWEED, CHEMRAZ, OR                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83225.A                        TRAINING ROOM 1        DU PONT ‐ KALREZ 4079. MFR: ONESUBSEA, PN: 2731180‐01                          AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 125, VIRGIN PEEK MATERIAL, SCARF CUT. MFR: ONESUBSEA,                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83226.A                          CONTROLLED)          PN: 2749304‐01                                                                 AFE FW580018         NOVESA                                           6                                0                 0
                                                                                               BACK UP RING, SIZE 125, VIRGIN PEEK MATERIAL, SCARF CUT. MFR: ONESUBSEA,                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83226.A                        TRAINING ROOM 1        PN: 2749304‐01                                                                 AFE FW580018         NOVESA                                           5                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 454, 12.524 ID X 12.996 OD NITRILE, PARBAK 8 SERIES. MFR:                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83228.A                          CONTROLLED)          ONESUBSEA, PN: 042000‐04‐54                                                    AFE FW580018         NOVESA                                           6                                0                 0
                                                                                               BACK UP RING, SIZE 454, 12.524 ID X 12.996 OD NITRILE, PARBAK 8 SERIES. MFR:                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83228.A                        TRAINING ROOM 1        ONESUBSEA, PN: 042000‐04‐54                                                    AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 208, VIRGIN PEEK MATERIAL, SCARF CUT. MFR: ONESUBSEA,                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83229.A                          CONTROLLED)          PN: 2748250‐01                                                                 AFE FW580018         NOVESA                                          120                               0                 0
                                                                                               BACK UP RING, SIZE 208, VIRGIN PEEK MATERIAL, SCARF CUT. MFR: ONESUBSEA,                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83229.A                        TRAINING ROOM 1        PN: 2748250‐01                                                                 AFE FW580018         NOVESA                                          214                               0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SIZE AS‐568‐115, .674 ID X .103W 90D/MS‐1078, NITRILEPKG AND QUAL.                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83230.A                          CONTROLLED)          MFR: ONESUBSEA, PN: 702645‐11‐51                                               AFE FW580018         NOVESA                                          24                                0                 0
                                                                                               O RING, SIZE AS‐568‐115, .674 ID X .103W 90D/MS‐1078, NITRILEPKG AND QUAL.                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83230.A                        TRAINING ROOM 1        MFR: ONESUBSEA, PN: 702645‐11‐51                                               AFE FW580018         NOVESA                                          89                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83231.A                          CONTROLLED)          O RING, 348, CHEMRAZ 526, GREEN TWEED. MFR: ONESUBSEA, PN: 2748686‐01          AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83231.A                        TRAINING ROOM 1        O RING, 348, CHEMRAZ 526, GREEN TWEED. MFR: ONESUBSEA, PN: 2748686‐01          AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               BACK UP RING, 115, .702 INCH ID X .874 INCH OD, DUROMETER 90, NITRILE,                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83232.A                        TRAINING ROOM 1        PARBAK B‐SERIES. MFR: ONESUBSEA, PN: 042000‐01‐15                              AFE FW580018         NOVESA                                          94                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SPACER RING, PEEK LIP SEAL, HYDRSTAB, G2 SPOOLTREE SYSTEM. MFR:                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83233.A                          CONTROLLED)          ONESUBSEA, PN: 2142790‐01                                                      AFE FW580018         NOVESA                                          48                                0                 0
                                                                                               SPACER RING, PEEK LIP SEAL, HYDRSTAB, G2 SPOOLTREE SYSTEM. MFR:                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83233.A                        TRAINING ROOM 1        ONESUBSEA, PN: 2142790‐01                                                      AFE FW580018         NOVESA                                          77                                0                 0
                                                                        DWW‐YARD‐C‐VAN         KEY, RECTRACTABLE ORIENTATION, INTERNAL TREE CAP, SPOOLTREE SYSTEM,
                                                                    TTNU977610145G1 (CLIMATE   10K, AISI 4130 LAS, FLUROPOLYMER, API 6A 20TH ED, API 17D 2ND ED. MFR:                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83234.A                          CONTROLLED)          ONESUBSEA, PN: 2155928‐01‐01                                                   AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               KEY, RECTRACTABLE ORIENTATION, INTERNAL TREE CAP, SPOOLTREE SYSTEM,
                                                                                               10K, AISI 4130 LAS, FLUROPOLYMER, API 6A 20TH ED, API 17D 2ND ED. MFR:                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83234.A                        TRAINING ROOM 1        ONESUBSEA, PN: 2155928‐01‐01                                                   AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   LIP SEAL, AXIAL FOR .852 DIA BOREX .666 DIA ROD, PEEK W/ ELGILOYSPRING.                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83235.A                          CONTROLLED)          MFR: ONESUBSEA, PN: 2748243‐01                                                 AFE FW580018         NOVESA                                          72                                0                 0
                                                                                               LIP SEAL, AXIAL FOR .852 DIA BOREX .666 DIA ROD, PEEK W/ ELGILOYSPRING.                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83235.A                        TRAINING ROOM 1        MFR: ONESUBSEA, PN: 2748243‐01                                                 AFE FW580018         NOVESA                                          124                               0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SIZE AS‐568‐120, .987 ID X .103 W 85D, MS‐001068 CAMLAST ™ PKG AND                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83236.A                          CONTROLLED)          QUAL/CAMERON                                                                   AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83237.A                          CONTROLLED)          VEE PACKING RING, 4.375" WL PLUG. MFR: ONESUBSEA, PN: 2748806‐01               AFE FW580018         NOVESA                                           6                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83237.A                        TRAINING ROOM 1        VEE PACKING RING, 4.375" WL PLUG. MFR: ONESUBSEA, PN: 2748806‐01               AFE FW580018         NOVESA                                          20                                0                 0




                                                                                                                                                        38
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                                Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                               SHEAR PIN, .616/.614 DIA X 1.0 LGHALF KNURL BRASS #464. MFR: ONESUBSEA,                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83238.A                        TRAINING ROOM 1        PN: 263134‐17                                                                   AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 381, 12.028 ID X 12.394 OD NITRILE PARBAK 8‐SERIES. MFR:                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83239.A                          CONTROLLED)          ONESUBSEA, PN: 042000‐03‐81                                                     AFE FW580018         NOVESA                                           6                                0                 0
                                                                                               BACK UP RING, SIZE 381, 12.028 ID X 12.394 OD NITRILE PARBAK 8‐SERIES. MFR:                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83239.A                        TRAINING ROOM 1        ONESUBSEA, PN: 042000‐03‐81                                                     AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SIZE AS‐568‐381, 11.975 ID X .210 W 90D / MS‐1078, NITRILEPKG AND                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83240.A                          CONTROLLED)          QUAL/CIW 702645. MFR: ONESUBSEA, PN: 702645‐38‐11                               AFE FW580018         NOVESA                                          18                                0                 0
                                                                                               O RING, SIZE AS‐568‐381, 11.975 ID X .210 W 90D / MS‐1078, NITRILEPKG AND                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83240.A                        TRAINING ROOM 1        QUAL/CIW 702645. MFR: ONESUBSEA, PN: 702645‐38‐11                               AFE FW580018         NOVESA                                          14                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SIZE AS‐568‐208, .609 ID X .139 W, 85D/MS‐001131, DUROCAM PKG AND                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83241.A                          CONTROLLED)          QUAL/CAMERON 702647. MFR: ONESUBSEA, PN: 702647‐20‐85                           AFE FW580018         NOVESA                                          102                               0                 0
                                                                                               O RING, SIZE AS‐568‐208, .609 ID X .139 W, 85D/MS‐001131, DUROCAM PKG AND                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83241.A                        TRAINING ROOM 1        QUAL/CAMERON 702647. MFR: ONESUBSEA, PN: 702647‐20‐85                           AFE FW580018         NOVESA                                          116                               0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 353. 5.028 ID X 5.394 OD NITRILE PARBAK 8 SERIES. MFR:                        KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83242.A                          CONTROLLED)          ONESUBSEA, PN: 042000‐03‐53                                                     AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   PLUG, AFO, LEE CO, .375‐24, MP35NNACE, MR0175. MFR: ONESUBSEA, PN:                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83243.A                          CONTROLLED)          2826603‐01                                                                      AFE FW580018         NOVESA                                           7                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SPECIAL, 12.14 ID X 12.56 OD X 0.228 HT, HNBR RUBBER, 95 DURO, N4007‐                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83244.A                          CONTROLLED)          95. MFR: ONESUBSEA, PN: 2788002‐01                                              AFE FW580018         NOVESA                                           8                                0                 0
                                                                                               O RING, SPECIAL, 12.14 ID X 12.56 OD X 0.228 HT, HNBR RUBBER, 95 DURO, N4007‐                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83244.A                        TRAINING ROOM 1        95. MFR: ONESUBSEA, PN: 2788002‐01                                              AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   BACK UP RING, SIZE 360 INNER DIAMETER, 5.903 INCH, OUTER DIAMETER, 6.269                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83245.A                          CONTROLLED)          INCH, NITRILE, PARBAK 8 SERIES. MFR: ONESUBSEA, PN: 042000‐03‐60                AFE FW580018         NOVESA                                           7                                0                 0
                                                                                               SEAL BODY, TYPE K SEAL, F/12.675 DIA BORE. MFR: ONESUBSEA, PN: 2091059‐05‐
Deepwater Warehouse    Fieldwood         83246.A                            MR‐2‐B             01                                                                                                  GUNFLINT                                          1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SEAL BODY, TYPE K SEAL, F/12.675 DIA BORE. MFR: ONESUBSEA, PN: 2091059‐05‐                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83246.A                          CONTROLLED)          01                                                                              AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   GENERIC EFL 12P TO 12S TP 60M, CONNECTOR HOUSING MTL: TITANIUM, MFR:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83247.A                          CONTROLLED)          ONESUBSEA, PN: 2197088‐51‐22                                                    AFE FW580018         NOVESA                                           4                                0                 0
                                                                                               GENERIC EFL 12P TO 12S TP 60M, CONNECTOR HOUSING MTL: TITANIUM, MFR:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83247.B                           MW‐AREA 2           ONESUBSEA, PN: 2197088‐51‐22                                                    AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               ASSEMBLY, TREE DEBRIS CAP, G2/G3 SPOOL TREE SYSTEM, WITH H4 VETCO                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83248.A                           MW‐AREA 6           MANDREL PROFILE TOP. MFR: ONESUBSEA, PN: 2181899‐14                             AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   ASSEMBLY, 8"‐15K S‐AX TEST GASKET (6.417 ID), W/ 2X DOVETAIL, O‐RING                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83249.A                          CONTROLLED)          GROOVES, SPHERICAL SEALING SURFACE. MFR: ONESUBSEA, PN: 2274164‐05              AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   ASSEMBLY, 8"‐15K S‐AX TEST GASKET (6.417 ID), W/ 2X DOVETAIL, O‐RING                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83249.B                          CONTROLLED)          GROOVES, SPHERICAL SEALING SURFACE. MFR: ONESUBSEA, PN: 2274164‐05              AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   REPLACEMENT SEAL KIT, G3 SPOOLTREE SYSTEM. MFR: ONESUBSEA, PN: 2341915‐                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83250.A                          CONTROLLED)          01‐01                                                                           AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               SPARES, 8"‐15K CVC PRESSURE CAP (ELASTOMERIC SEAL). MFR: ONESUBSEA, PN:                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83251.A                             MR‐4‐C            2500896‐05                                                                      AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83252.A                            MR‐2‐B             SPARES, 8"‐15K CVC MTM PRESSURE CAP. MFR: ONESUBSEA, PN: 2500896‐06             AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83252.A                        TRAINING ROOM 1        SPARES, 8"‐15K CVC MTM PRESSURE CAP. MFR: ONESUBSEA, PN: 2500896‐06             AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               MQC, PLATE, OB, TEST/FLUSH, 12 WAY, AKS. MFR: ONESUBSEA, PN: CM‐018106‐                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83253.A                           MW‐AREA 6           14                                                                              AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN         SPECIAL GASKET, CIW, AX/VX, SYMMETRICAL DESIGN TO FIT 18 3/4" 10K VETCO
                                                                    TTNU977610145G1 (CLIMATE   (VX), HOUSING CONNECTION, 316SS, WITH O‐RING GROOVES, SILVER PLATED.                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83254.A                          CONTROLLED)          MFR: ONESUBSEA, PN: 2235142‐02                                                  AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   (KIT) ‐ SPARES, ROUTINE, RECEIVED GOOD REPAIR INTERNAL TREE CAP WITH K‐                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83255.A                          CONTROLLED)          SEAL, 15K, SPOOL TREE SYSTEM.                                                   AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               MARINE GROWTH COVER, 1 1/3 WAY FOR PARKING PLATES. MFR: ONESUBSEA,                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83256.A                           MW‐AREA 6           PN: 223532‐29                                                                   AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN         SPECIAL GASKET, CIW, SPHERICAL, AX/VX, SYMMETRIC DESIGN TO FIT 18 3/4" 10K
                                                                    TTNU977610145G1 (CLIMATE   VETCO VX HOUSING CONNECTION, 316SS, NO RESILIENT RINGS, SILVER PLATED.                           KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83257.A                          CONTROLLED)          MFR: ONESUBSEA, PN: 2235142‐01                                                  AFE FW580018         NOVESA                                           3                                0                 0
                                                                                               FWEKAT ‐ INTENSIFIER FREE STAB PLATE, 6/0 WON TREE. MFR: ONESUBSEA, PN:                          KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83258.A                           MW‐AREA 6           223520‐67                                                                       AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   GENERIC T&F PLATE FOR FREE PLATE, 1 1/3 WAY. MFR: ONESUBSEA, PN: 223518‐                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83259.A                          CONTROLLED)          69                                                                              AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   GENERIC ASSY PTT, 15K W/HARNESS 6MM, 12 WAY PIN. MFR: ONESUBSEA, PN:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83260.A                          CONTROLLED)          223367‐79                                                                       AFE FW580018         NOVESA                                           1                                0                 0

                                                                                               ASSEMBLY, FOR FAT, INTERNAL TREE CAP, G3 SPOOLTREE SYSTEM, 10K, MEC SEAL
                                                                                               WITHOUT K‐SEAL, 4.767 IN ELMAR WIRELING PLUG PREP, EXTENSION SLEEVE,                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83261.A                           MW‐AREA 6           SPRINGLOADED KEY AND DEBRIS SLOTS. MFR: ONESUBSEA, PN: 2180719‐32               AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83262.A                           MW‐AREA 6           GENERIC, T&F PLATE FOR FIXED PLATE, 20/0 WAY. MFR: ONESUBSEA, 223520‐71         AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               SEAL, METAL END CAP SEAL, 17.832" NOM SEAL BORE. MFR: ONESUBSEA, PN:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83263.A                            MR‐2‐B             647438‐15‐01                                                                    AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               SEAL, METAL END CAP SEAL, 17.832" NOM SEAL BORE. MFR: ONESUBSEA, PN:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83263.A                        TRAINING ROOM 1        647438‐15‐01                                                                    AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   METAL END CAP SEAL, 13.188/13.191 SEAL BORE WITH OD BUMP AND SQUARE                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83264.A                          CONTROLLED)          END CAPS. MFR: ONESUBSEA, PN: 2026350‐07‐01                                     AFE FW580018         NOVESA                                           4                                0                 0




                                                                                                                                                        39
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                                Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   M1 FIXED JUNCTION PLATE. 14 WAY, 11 X 1/2 IN RS‐NV TO M9, 3 X 1 IN RS‐NV TO
Deepwater Warehouse    Fieldwood         83265.A                          CONTROLLED)          M9, ASSEMBLY. MFR: OCEANEERING, PN: 166370‐001                                  AFE FW183040         KATMAI                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   REMOVABLE IWOCS, TH, 14 WAY, 9 X 1/2 IN RS, 3 X 1 RS LINES, ASSEMBLY. MFR:
Deepwater Warehouse    Fieldwood         83266.A                          CONTROLLED)          OCEANEERING, PN: 0510989 SN: 165617‐001                                         AFE FW183040         KATMAI                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   REMOVABLE IWOCS, TH, 14 WAY, 9 X 1/2 IN RS, 3 X 1 RS LINES, ASSEMBLY. MFR:
Deepwater Warehouse    Fieldwood         83266.A                          CONTROLLED)          OCEANEERING, PN: 0510989 SN: 165618‐001                                         AFE FW183040         KATMAI                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83267.A                           MW‐AREA 4           INBOARD PLATE, 14 WAY. MFR: OCEANEERING, PN: 0428794 REV A                      AFE FW205014        GUNFLINT                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83268.A                           MW‐AREA 4           BEND RESTRICTOR. MFR: OCEANEERING. NO PN.                                       AFE FW205014        GUNFLINT                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83269.A                             MR‐1‐C            FEMALE COUPLER. MFR: OCEANEERING, PN: 0428079                                   AFE FW205014        GUNFLINT                                          2                                0                 0
Deepwater Warehouse    Fieldwood         83270.B                             MR‐1‐C            FEMALE COUPLER. MFR: OCEANEERING, PN: 0437828                                   AFE FW205014        GUNFLINT                                          2                                0                 0
Deepwater Warehouse    Fieldwood         83271.A                           MW‐AREA 4           REMEDIATION PANEL FOR M1 PLATE. MFR: OCEANEERING, PN: NONE.                     AFE FW205014        GUNFLINT                                          1                                0                 0
                                                                                               BACKUP HANGER ASSEMBLY. MFR: OES, PN: 2301984‐07‐01, SN: 500026436‐1 (3'
Deepwater Warehouse    Fieldwood         83272.A                           MW‐AREA 6           X 17' PALLET)                                                                                        KATMAI                                           1                                0                 0
                                                                                               BACKUP HANGER ASSEMBLY. MFR: OES, PN: 2301984‐07‐01, SN: 121452425‐1 (3'
Deepwater Warehouse    Fieldwood         83272.A                           MW‐AREA 5           X 10' PALLET)                                                                                        KATMAI                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83273.A                          CONTROLLED)          CC‐SEAL, .888 OD X .640 ID X .124 CS. MFR: ONESUBSEA, PN: 2248632‐02            AFE FW580018         NOVESA                                          382                               0                 0

Deepwater Warehouse    Fieldwood         83274.A                            MR‐1‐B             SPLIT LOAD RING, FOR 4.883" NOM RLH‐2. MFR: ONESUBSEA, PN: 2216807‐12                                KATMAI                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83275.A                            MR‐1‐B             UPPER LOAD RING, 5.25 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216807‐34                                  KATMAI                                           1                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83276.A                          MR‐GENERAL           CPI COUPLER, MALE 1/2, RS, STD. MFR: AKER SOLUTIONS, PN: 10329147               AFE FW580018         NOVESA                                           2                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83277.A                          MR‐GENERAL           CPI RS ‐8 FEMALE TEST COUPLER. MFR: AKER SOLUTIONS, PN: 10330273                AFE FW580018         NOVESA                                           2                                0                 0
                                                                                               CPI 1/2" MALE RS COUPLER WITH FITTINGS. MFR: AKER SOLUTIONS, PN:                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83278.A                          MR‐GENERAL           10264287                                                                        AFE FW580018         NOVESA                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83279.A                           MW‐AREA 4           13 TON CRANE, 4 PIECES. MFR: CORE LIFTING, PN: 27687                                                  GC‐65                                           1                                0                 0
Deepwater Warehouse    Fieldwood         83280.A                           DWW‐YARD            3 1/2" X 20' SLING, 102 TONS, VERTICAL. SN: HOU‐058482‐002                      AFE FW205014        GUNFLINT                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83281.A                           DWW‐YARD            3 1/2" X 20' SLING, 102 TONS, VERTICAL. SN: HOU‐058482‐001                      AFE FW205014        GUNFLINT                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83282.A                           DWW‐YARD            3" X 20' SLING, 77 TONS, VERTICAL. PN: 7106191, SN: HOU‐05723‐001               AFE FW205014        GUNFLINT                                          1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83283.A                          CONTROLLED)          BACK UP RING, SIZE 023, 1.080 ID. MFR: ONESUBSEA, PN: 042000‐00‐23              AFE FW580018         NOVESA                                          24                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83283.A                        TRAINING ROOM 1        BACK UP RING, SIZE 023, 1.080 ID. MFR: ONESUBSEA, PN: 042000‐00‐23              AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83285.A                          CONTROLLED)          BACK UP RING, 1.020 +/‐ .004 ID. MFR: ONESUBSEA, PN: 2748250‐38                 AFE FW580018         NOVESA                                          72                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83286.A                          CONTROLLED)          B‐PORT BACK UP RING, SIZE 318, 1.013 ID. MFR: ONESUBSEA, PN: 042000‐03‐18       AFE FW580018         NOVESA                                          20                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83287.A                          CONTROLLED)          B‐PORT BACK UP RING, SIZE 323, 1.316 ID. MFR: ONESUBSEA, PN: 042000‐03‐23       AFE FW580018         NOVESA                                          20                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83288.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐323, 1.287 ID. MFR: ONESUBSEA, PN: 702645‐32‐31             AFE FW580018         NOVESA                                           2                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83288.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐323, 1.287 ID. MFR: ONESUBSEA, PN: 702645‐32‐31             AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   B‐PORT SEAL, O‐RING, SIZE AS‐568‐318, .975 ID. MFR: ONESUBSEA, PN: 702645‐31‐                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83289.A                          CONTROLLED)          81                                                                              AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83290.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐013, .426 ID. MFR: ONESUBSEA, PN: 702647‐01‐31              AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83291.A                          CONTROLLED)          SHEAR SCREW FOR SSR PROTECTION. MFR: ONESUBSEA, PN: 2748059‐01                  AFE FW580018         NOVESA                                          12                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83291.A                        TRAINING ROOM 1        SHEAR SCREW FOR SSR PROTECTION. MFR: ONESUBSEA, PN: 2748059‐01                  AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83292.A                          CONTROLLED)          BACK UP RING, SIZE 206, .518 ID. MFR: ONESUBSEA, PN: 2748250‐10                 AFE FW580018         NOVESA                                          312                               0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83293.A                          CONTROLLED)          O RING, SIZE AS 568‐023, 1.051 ID. MFR: ONESUBSEA, PN: 702645‐02‐31             AFE FW580018         NOVESA                                          12                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83293.A                        TRAINING ROOM 1        O RING, SIZE AS 568‐023, 1.051 ID. MFR: ONESUBSEA, PN: 702645‐02‐31             AFE FW580018         NOVESA                                           9                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83294.A                          CONTROLLED)          SOCKET SET SCREW FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748047‐01               AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83295.A                          CONTROLLED)          COMPRESSION SPRING FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748049‐01             AFE FW580018         NOVESA                                          16                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83295.A                        TRAINING ROOM 1        COMPRESSION SPRING FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748049‐01             AFE FW580018         NOVESA                                          16                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83296.A                          CONTROLLED)          LOCKING INSERT FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748048‐01                 AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83296.A                        TRAINING ROOM 1        LOCKING INSERT FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748048‐01                 AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83297.A                          CONTROLLED)          BULLET FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748044‐01                         AFE FW580018         NOVESA                                          16                                0                 0
                                                                                                                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83297.A                        TRAINING ROOM 1        BULLET FOR SSR W/L PLUG. MFR: ONESUBSEA, PN: 2748044‐01                         AFE FW580018         NOVESA                                          16                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83298.A                          CONTROLLED)          BUTTON HD CREW. MFR: ONESUBSEA, PN: 2359600‐01                                  AFE FW580018         NOVESA                                           4                                0                 0




                                                                                                                                                       40
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83299.A                          CONTROLLED)          STAB SUB, CONTROL LINE, THRT. MFR: ONESUBSEA, PN: 2229924‐01                   AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83300.A                          CONTROLLED)          TENSILE SCREW, UPPER, MECHANICAL. MFR: ONESUBSEA, PN: 262393‐06                AFE FW580018         NOVESA                                          24                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83301.A                          CONTROLLED)          SHEAR PIN, DIA .434 X 2.30 LG. MFR: ONESUBSEA, PN: 2155653‐03                  AFE FW580018         NOVESA                                           6                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83301.A                        TRAINING ROOM 1        SHEAR PIN, DIA .434 X 2.30 LG. MFR: ONESUBSEA, PN: 2155653‐03                  AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83302.A                          CONTROLLED)          ASSEMBLY, SEAL SLEEVE, 15K THRT. MFR: ONESUBSEA, PN: 2340873‐01                AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83303.A                          CONTROLLED)          SCR 12 PT CAP, .625‐11 X 1.250 B7 ZN PL. MFR: ONESUBSEA, PN: 702585‐14‐00‐12   AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83304.A                          CONTROLLED)          SHEAR PIN, G2 BORE PROTECTOR, NAVAL. MFR: ONESUBSEA, PN: 2155653‐02            AFE FW580018         NOVESA                                           9                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83305.A                          CONTROLLED)          GRUB SCREW, UPPER WIRELINE PLUG. MFR: ONESUBSEA, PN; 2359600‐32                AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83306.A                          CONTROLLED)          VEE PACKING RING FOR SSR HVP0‐090. MFR: ONESUBSEA, PN: 2748052‐01              AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83307.A                          CONTROLLED)          LOCKING WIRE, WIRELINE, ISOLATION SLEEVE. MFR: ONESUBSEA, PN: 2359600‐30       AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83308.A                          CONTROLLED)          S SEAL, FOR USE IN 8.125" +/‐.002 BORE. MFR: ONESUBSEA, PN: 2731494‐03‐02      AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83309.A                          CONTROLLED)          O‐RING, WIRELINE PLUG. MFR: ONESUBSEA, PN: 2749897‐08                          AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83310.A                          CONTROLLED)          RING, SCARF CUT, PEEK. MFR: ONESUBSEA, PN: 2329622‐03                          AFE FW580018         NOVESA                                          36                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83310.A                        TRAINING ROOM 1        RING, SCARF CUT, PEEK. MFR: ONESUBSEA, PN: 2329622‐03                          AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83311.A                          CONTROLLED)          SCREW. MFR: ONESUBSEA, PN: 263134‐18                                           AFE FW580018         NOVESA                                          12                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83311.A                        TRAINING ROOM 1        SCREW. MFR: ONESUBSEA, PN: 263134‐18                                           AFE FW580018         NOVESA                                          48                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83312.A                          CONTROLLED)          O‐RING. MFR: ONESUBSEA, PN: 041259‐12‐01‐02                                    AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83313.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐07. MFR: ONESUBSEA, PN: 702647‐00‐71                       AFE FW580018         NOVESA                                          12                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83314.A                          CONTROLLED)          SUB ASSEMBLY CONTROL RECEPTACLE. MFR: ONESUBSEA, PN: 2141634‐11                AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83315.A                          CONTROLLED)          POLYPAK, TYPE "B" SEAL. MFR: ONESUBSEA, PN: 2731344‐02                         AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   MACHINED S SEAL, 8.125" BORE, WITH GROOVE. MFR: ONESUBSEA, PN: 2788005‐                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83316.A                          CONTROLLED)          01                                                                             AFE FW580018         NOVESA                                          14                                0                 0
                                                                                               MACHINED S SEAL, 8.125" BORE, WITH GROOVE. MFR: ONESUBSEA, PN: 2788005‐                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83316.A                        TRAINING ROOM 1        01                                                                             AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83317.A                          CONTROLLED)          SEAL RING, 10.000 ID X 1.750 OD X .375. MFR: ONESUBSEA, PN: 2731381‐01         AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83318.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐451, 10.975 ID. MFR: ONESUBSEA, PN: 702647‐45‐11           AFE FW580018         NOVESA                                          15                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83318.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐451, 10.975 ID. MFR: ONESUBSEA, PN: 702647‐45‐11           AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83319.A                          CONTROLLED)          SEAL RING, 16.25 ID X 17.00 OD X .375. MFR: ONESUBSEA, PN: 2731382‐01          AFE FW580018         NOVESA                                           8                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83319.A                        TRAINING ROOM 1        SEAL RING, 16.25 ID X 17.00 OD X .375. MFR: ONESUBSEA, PN: 2731382‐01          AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83320.A                          CONTROLLED)          SEAL RING, 10.000 ID X 10.750 OD X .75. MFR: ONESUBSEA, PN: 2731381‐01         AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83321.A                          CONTROLLED)          SEAL RING, 12.139 ID X 12.889 OD X .375. MFR: ONESUBSEA, PN: 2731383‐01        AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83322.A                        TRAINING ROOM 1        O‐RING. MFR: ONESUBSEA, PN: 702645‐37‐21                                       AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83323.A                          CONTROLLED)          O‐RING, .275 W X 15.955 ID X. MFR: ONESUBSEA, PN: 702647‐46‐11                 AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83324.A                          CONTROLLED)          BACK UP RING, 11.426 +/‐ .006 ID X .221. MFR: ONESUBSEA, PN: 2748250‐19        AFE FW580018         NOVESA                                          30                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                   KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83325.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐383, 13.975 ID. MFR: ONESUBSEA, PN: 702645‐38‐31           AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83325.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐383, 13.975 ID. MFR: ONESUBSEA, PN: 702645‐38‐31           AFE FW580018         NOVESA                                           6                                0                 0




                                                                                                                                                       41
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                             Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83326.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐369, 7.975 ID. MFR: ONESUBSEA, PN: 702645‐36‐95          AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83327.A                          CONTROLLED)          SOCKET SHOULDER SCREW. MFR: ONESUBSEA, PN: 2302607‐01                        AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83328.A                          CONTROLLED)          VEE PKG RING, GREEN TWEED. MFR: ONESUBSEA, PN: 2748051‐01                    AFE FW580018         NOVESA                                          18                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83329.A                          CONTROLLED)          S SEAL. FOR USE IN 8.125" +/‐ .002 BORE. MFR: ONESUBSEA, PN: 2731494‐03‐02   AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83330.A                          CONTROLLED)          O‐RING V1238‐95 VITON O RING, SIZE 2‐161. MFR: ONESUBSEA, PN: 2788847‐02     AFE FW580018         NOVESA                                           9                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83331.A                          CONTROLLED)          SEAL RING, 11.50 ID X 12.25 OD. MFR: ONESUBSEA, PN: 2708129                  AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83332.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐007. MFR: ONESUBSEA, PN: 702647‐00‐71                    AFE FW580018         NOVESA                                          11                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83333.A                          CONTROLLED)          O‐RING, SIZE 1 X 1 3/16. MFR: ONESUBSEA, PN: 702645‐12‐01                    AFE FW580018         NOVESA                                          25                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83334.A                          CONTROLLED)          PLUG ADAPTER RING FIR 5.750" UPPER WL. MFR: ONESUBSEA, PN: 2736043‐01        AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83335.A                          CONTROLLED)          COUPLER SEAL KITS. MFR: ONESUBSEA.                                           AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83336.A                          CONTROLLED)          SEAL KIT. MFR: ONESUBSEA, PN: 2500869‐13                                     AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83337.A                          CONTROLLED)          KEY, TBG HGR RUNNING TOOL, G2 SPOOL. MFR: ONESUBSEA, PN: 2141681‐01          AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE
Deepwater Warehouse    Fieldwood         83338.A                          CONTROLLED)          SPLIT RING, CC SEAL, 15L CONTROL LINE STAB. MFR: ONESUBSEA, PN: 2247889‐02                       GUNFLINT                                         32                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83338.A                          CONTROLLED)          SPLIT RING, CC SEAL, 15L CONTROL LINE STAB. MFR: ONESUBSEA, PN: 2247889‐02   AFE FW580018         NOVESA                                          32                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE
Deepwater Warehouse    Fieldwood         83339.A                          CONTROLLED)          STOP RING, CC SEAL, 15K CONTROL LINE STAB. MFR: ONESUBSEA, PN: 2253158‐02                        GUNFLINT                                         64                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   RETAINER NUT, SHEAR PIN, ACTUATOR RING, ISOLATION SLEEVE. MFR:
Deepwater Warehouse    Fieldwood         83340.A                          CONTROLLED)          ONESUBSEA, PN: 2141470‐02                                                                        GUNFLINT                                          2                                0                 0
                                                                                               RETAINER NUT, SHEAR PIN, ACTUATOR RING, ISOLATION SLEEVE. MFR:                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83340.A                        TRAINING ROOM 1        ONESUBSEA, PN: 2141470‐02                                                    AFE FW580018         NOVESA                                          10                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SIZE AS‐568‐451, 10.975 ID X .275 W 90D/MS‐1078. MFR: ONESUBSEA,
Deepwater Warehouse    Fieldwood         83341.A                          CONTROLLED)          PN: 702645‐45‐11                                                                                 GUNFLINT                                          1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   O RING, SIZE AS‐568‐451, 10.975 ID X .275 W 90D/MS‐1078. MFR: ONESUBSEA,                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83341.A                          CONTROLLED)          PN: 702645‐45‐11                                                             AFE FW580018         NOVESA                                           1                                0                 0
                                                                                               O RING, SIZE AS‐568‐451, 10.975 ID X .275 W 90D/MS‐1078. MFR: ONESUBSEA,                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83341.A                        TRAINING ROOM 1        PN: 702645‐45‐11                                                             AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83342.A                          CONTROLLED)          O‐RING, SPARE FOR WIRELINE TOOLS. MFR: ONESUBSEA, PN: 2359600‐10             AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE
Deepwater Warehouse    Fieldwood         83343.A                          CONTROLLED)          O‐RING, SPARE FOR WIRELINE TOOLS. MFR: ONESUBSEA, PN: 2359600‐14                                 GUNFLINT                                          4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83343.A                          CONTROLLED)          O‐RING, SPARE FOR WIRELINE TOOLS. MFR: ONESUBSEA, PN: 2359600‐14             AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   RETAINER RING, CC SEAL, 15K CONTROL LINE STAB. MFR: ONESUBSEA, PN:
Deepwater Warehouse    Fieldwood         83344.A                          CONTROLLED)          2247895‐02                                                                                       GUNFLINT                                         32                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   RETAINER RING, CC SEAL, 15K CONTROL LINE STAB. MFR: ONESUBSEA, PN:                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83344.A                          CONTROLLED)          2247895‐02                                                                   AFE FW580018         NOVESA                                          32                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SEAL METAL END CAP, 17.030 IN SEAL BORE, DUAL ELASTOMER, 15K WP. MFR:
Deepwater Warehouse    Fieldwood         83345.A                          CONTROLLED)          ONESUBSEA, PN: 2289651‐09                                                                        GUNFLINT                                          6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SEAL, METAL END CAP ,13.190 IN SEAL BORE, DUAL. MFR: ONESUBSEA, PN:
Deepwater Warehouse    Fieldwood         83346.A                          CONTROLLED)          2289651‐05                                                                                       GUNFLINT                                          3                                0                 0
                                                                                               SEAL, METAL END CAP ,13.190 IN SEAL BORE, DUAL. MFR: ONESUBSEA, PN:                           KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83346.A                        TRAINING ROOM 1        2289651‐05                                                                   AFE FW580018         NOVESA                                           5                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SUPPORT PLATE, SEAL GASKET W/ HYD TBG PREP, CLAMP/SEAL PLATE ASSY. MFR:                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83347.A                          CONTROLLED)          ONESUBSEA, PN: 2099256‐03                                                    AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   SUPPORT PLATE, SEAL GASKET, W/O HYD TUBING PREP, CLAMP/SEAL PLATE                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83348.A                          CONTROLLED)          ASSY. MFR: ONESUBSEA, PN: 2099256‐04                                         AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN         ASSY, WIRELINE PLUG, 5.75 IN NOM, 15K WP, RLH (5.284 IN SEAL BORE) PRIMARY
                                                                    TTNU977610145G1 (CLIMATE   METAL SEAL, SLS (5.319 IN SEAL BORE) SECONDARY PTFE BACKUP SEAL, TEMP                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83349.A                          CONTROLLED)          CLASS. MFR: ONESUBSEA, PN: 2394981‐02                                        AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83350.A                          CONTROLLED)          SEAL BODY. MFR: ONESUBSEA, PN: 2091059‐06‐01                                 AFE FW580018         NOVESA                                           1                                0                 0




                                                                                                                                                      42
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                             Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83350.A                        TRAINING ROOM 1        SEAL BODY. MFR: ONESUBSEA, PN: 2091059‐06‐01                                 AFE FW580018          NOVESA                                          1                                0                 0
Deepwater Warehouse    Fieldwood         83351.A                           DWW‐YARD            GC‐65 A‐FRAME 001, 40K LBS. 16 PIECES.                                                           BULLWINKLE                                        1                                0                 0
Deepwater Warehouse    Fieldwood         83352.A                           MW‐AREA 1           SDV‐1019 PARTS IN CRATE.                                                                         BULLWINKLE                                        1                                0                 0
                                                                                               SFL 40M, 11 LINES, 11/3‐9/3 WAY MAIN SUTA TO PXT K2. MFR: ONESUBSEA, PN:                      KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83353.A                           DWW‐YARD            223475‐78‐01                                                                 AFE FW580018          NOVESA                                          1                                0                 0
                                                                                               FIRE PUMP, 250 HP @ 1760 RPM, 6/5 RATIO RATIO. MFR: RANDOLPH, SN:                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83354.C                           MW‐AREA 3           R1508123. 2 PIECES.                                                          AFE FW580018          NOVESA                                          1                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83355.A                           DWW‐YARD            FIBERGLASS PIPING (FOR FIRE PUMP).                                           AFE FW580018          NOVESA                                          1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   GASKET, RING, 18 3/4 VETCO TYPE VX‐2, 15K PSI MWP, 316 SS. MFR: ONESUBSEA,                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83356.A                          CONTROLLED)          PN: 2731061‐04                                                               AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83357.A                          CONTROLLED)          METAL END CAP SEAL, 13.25 NOM SEAL. MFR: ONESUBSEA, PN: 647438‐14‐01         AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83357.A                        TRAINING ROOM 1        METAL END CAP SEAL, 13.25 NOM SEAL. MFR: ONESUBSEA, PN: 647438‐14‐01         AFE FW580018         NOVESA                                           5                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   TENSILE PEN FOR MECHANICAL INTERNAL TREECAP RUNNING TOOL. MFR:                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83358.A                          CONTROLLED)          ONESUBSEA, PN: 262393‐04                                                     AFE FW580018         NOVESA                                          12                                0                 0
                                                                                               TENSILE PEN FOR MECHANICAL INTERNAL TREECAP RUNNING TOOL. MFR:                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83358.A                        TRAINING ROOM 1        ONESUBSEA, PN: 262393‐04                                                     AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83359.A                          CONTROLLED)          GASKET , 4"‐15M, SEAL PLATE, MCPAC. MFR: ONESUBSEA, PN: 2124579‐01           AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE   ASSY, SHEAR PIN CARTRIDGE, DUAL PLUG TUBING HANGER, SPOOLTREE SYSTEM.                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83360.A                          CONTROLLED)          MFR: ONESUBSEA, PN: 2141663‐03                                               AFE FW580018         NOVESA                                           4                                0                 0
                                                                                               ASSY, SHEAR PIN CARTRIDGE, DUAL PLUG TUBING HANGER, SPOOLTREE SYSTEM.                         KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83360.A                        TRAINING ROOM 1        MFR: ONESUBSEA, PN: 2141663‐03                                               AFE FW580018         NOVESA                                          22                                0                 0
                                                                        DWW‐YARD‐C‐VAN         SPECIAL EFL 7P TO 7S TSP 50MM SPECIAL WIRING, TITANIUM CONNECTOR
                                                                    TTNU977610145G1 (CLIMATE   HOUSING, V‐NOTCH HANDLE, FLYING ROV 7 WAY PINS CONNECTOR AND                                  KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83361.A                          CONTROLLED)          SOCKETS. MFR: ONESUBSEA, PN: 2197088‐45‐90                                   AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83362.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐120, .987 ID. MFR: ONESUBSEA, PN: 702647‐12‐01           AFE FW580018         NOVESA                                          105                               0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83362.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐120, .987 ID. MFR: ONESUBSEA, PN: 702647‐12‐01           AFE FW580018         NOVESA                                          21                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83363.A                          CONTROLLED)          HAT RING, 5.25 SLS SEAL, WIRELINE PLUG. MFR: ONESUBSEA, PN: 2221969‐05       AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83364.A                          CONTROLLED)          5.25 SLS SEAL, WIRELINE PLUG. MFR: ONESUBSEA, PN: 2221968‐05                 AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83365.A                          CONTROLLED)          ASSY, SHEAR PIN CARTRIDGE. MFR: ONESUBSEA, PN: 2141663‐01.                   AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83365.A                        TRAINING ROOM 1        ASSY, SHEAR PIN CARTRIDGE. MFR: ONESUBSEA, PN: 2141663‐01.                   AFE FW580018         NOVESA                                          23                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83366.A                          CONTROLLED)          SPECIAL SET SCREW, FOR SSR 6.700". MFR: ONESUBSEA, PN: 2748951‐01            AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83366.A                        TRAINING ROOM 1        SPECIAL SET SCREW, FOR SSR 6.700". MFR: ONESUBSEA, PN: 2748951‐01            AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83367.A                          CONTROLLED)          GRUB SCREW, 8/32 X 1/4" SS A4 GR 80. MFR: ONESUBSEA, PN: 2359600‐40          AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83367.A                        TRAINING ROOM 1        GRUB SCREW, 8/32 X 1/4" SS A4 GR 80. MFR: ONESUBSEA, PN: 2359600‐40          AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83368.A                          CONTROLLED)          BACK UP RING, ID 1.268 INCH +/‐ 0.012. MFR: ONESUBSEA, PN: 2748250‐64        AFE FW580018         NOVESA                                          48                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83369.A                          CONTROLLED)          PLUG WIPER, 5.320 HT 15K, H2S, HH. MFR: ONESUBSEA, PN: 2359600‐37            AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83369.A                        TRAINING ROOM 1        PLUG WIPER, 5.320 HT 15K, H2S, HH. MFR: ONESUBSEA, PN: 2359600‐37            AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83370.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐124, 1.237 ID. MFR: ONESUBSEA, PN: 702645‐12‐41          AFE FW580018         NOVESA                                          24                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83370.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐124, 1.237 ID. MFR: ONESUBSEA, PN: 702645‐12‐41          AFE FW580018         NOVESA                                          92                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83371.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐206, .484 ID X .139. MFR: ONESUBSEA, PN: 702645‐20‐61    AFE FW580018         NOVESA                                           6                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83371.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐206, .484 ID X .139. MFR: ONESUBSEA, PN: 702645‐20‐61    AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83372.A                          CONTROLLED)          BACK UP RING, ID 1.268 INCH +/‐ INCH. MFR: ONESUBSEA, PN: 2748250‐64         AFE FW580018         NOVESA                                          48                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83373.A                          CONTROLLED)          O‐RING, .275 W X 17.455 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐46‐41    AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                             KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83373.A                        TRAINING ROOM 1        O‐RING, .275 W X 17.455 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐46‐41    AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83374.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐449, 9.975 ID. MFR: ONESUBSEA, PN: 702645‐44‐91          AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83375.A                          CONTROLLED)          BACK UP RING, 9.524 X 9.996. MFR: ONESUBSEA, PN: 042000‐04‐48                AFE FW580018         NOVESA                                           4                                0                 0




                                                                                                                                                       43
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                            Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83376.A                          CONTROLLED)          O‐RING, .139 W X 00.96 ID 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐21‐11     AFE FW580018         NOVESA                                          24                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83376.A                        TRAINING ROOM 1        O‐RING, .139 W X 00.96 ID 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐21‐11     AFE FW580018         NOVESA                                          84                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83377.A                          CONTROLLED)          BACK UP RING, SIZE 351 4.778 ID. MFR: ONESUBSEA, PN: 042000‐03‐51           AFE FW580018         NOVESA                                          16                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83378.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐433, 5.475 ID. MFR: ONESUBSEA, PN: 702645‐43‐31         AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83379.A                          CONTROLLED)          O‐RING, .139 X 01.734 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐22‐41     AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83379.A                        TRAINING ROOM 1        O‐RING, .139 X 01.734 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐22‐41     AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83380.A                          CONTROLLED)          SEAL RING, 4.250 ID X 4.75 OD X .25. MFR: ONESUBSEA, PN: 2725008‐01         AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83381.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐238 3.484 ID. MFR: ONESUBSEA, PN: 702645‐23‐81          AFE FW580018         NOVESA                                           2                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83381.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐238 3.484 ID. MFR: ONESUBSEA, PN: 702645‐23‐81          AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83382.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐433 5.475 ID. MFR: ONESUBSEA, PN: 702645‐43‐31          AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83383.A                          CONTROLLED)          O‐RING, .275 W X 13.975 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐45‐71   AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83383.A                        TRAINING ROOM 1        O‐RING, .275 W X 13.975 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐45‐71   AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83384.A                          CONTROLLED)          SLS SEAL ASSEMBLY. MFR: ONESUBSEA, PN: 2230493‐04                           AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83385.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐368 7.725 ID. MFR: ONESUBSEA, PN: 702645‐36‐85          AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83385.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐368 7.725 ID. MFR: ONESUBSEA, PN: 702645‐36‐85          AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83386.A                          CONTROLLED)          MECHANICAL SPARES, 4.375 SSR PLUG. MFR: ONESUBSEA, PN: 2166241‐03           AFE FW580018         NOVESA                                           5                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83386.A                        TRAINING ROOM 1        MECHANICAL SPARES, 4.375 SSR PLUG. MFR: ONESUBSEA, PN: 2166241‐03           AFE FW580018         NOVESA                                           7                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83387.A                          CONTROLLED)          SUB ASSEMBLY, SHEAR PIN CARTRIDGE. MFR: ONESUBSEA, PN: 2141663‐02           AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83388.A                          CONTROLLED)          PLUG, PIPE 1/4" SST 18‐8 Y52008‐00010501. MFR: ONESUBSEA, PN: 002504‐09     AFE FW580018         NOVESA                                           6                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83388.A                        TRAINING ROOM 1        PLUG, PIPE 1/4" SST 18‐8 Y52008‐00010501. MFR: ONESUBSEA, PN: 002504‐09     AFE FW580018         NOVESA                                           7                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83389.A                          CONTROLLED)          CENTRE RING, F/ 7" ML‐2 METAL LIP SEAL. MFR: ONESUBSEA, PN: 2259715‐01      AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83390.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐459, 14.975 ID. MFR: ONESUBSEA, PN: 702645‐45‐91        AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83391.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐462, 16.455 ID. MFR: ONESUBSEA, PN: 702645‐46‐21        AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83391.A                        TRAINING ROOM 1        O‐RING, SIZE AS‐568‐462, 16.455 ID. MFR: ONESUBSEA, PN: 702645‐46‐21        AFE FW580018         NOVESA                                           4                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83392.A                          CONTROLLED)          BACK UP RING, 5.75 SLS SEAL. MFR: ONESUBSEA, PN: 2213451‐06                 AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83393.A                          CONTROLLED)          BACK UP RING, 5.25 SLS SEAL. MFR: ONESUBSEA, PN: 2213451‐05                 AFE FW580018         NOVESA                                           8                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83394.A                          CONTROLLED)          SEAL SPACER RING, 5.25 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216808‐19        AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83395.A                          CONTROLLED)          SPACER RING, 5.25 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216808‐18             AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83396.A                          CONTROLLED)          SEAL SPACER RING, 5.25 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216808‐20        AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83397.A                          CONTROLLED)          UPPER RETAINER RING, 5.25 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216806‐18     AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83398.A                          CONTROLLED)          RETAINER RING, FOR 5.284" NOM RLH 2‐SEAL. MFR: ONESUBSEA, PN: 2216806‐10    AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83399.A                          CONTROLLED)          STOP RING, FOR 5.319" NOM WP SEAL .250". MFR: ONESUBSEA, PN: 2216808‐10     AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83400.A                          CONTROLLED)          SPACER RING, 5.75 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216808‐21             AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83401.A                          CONTROLLED)          SPLIT LOAD RING, FOR 5.284" NOM RLH‐2. MFR: ONESUBSEA, PN: 2216807‐13       AFE FW580018         NOVESA                                           1                                0                 0




                                                                                                                                                       44
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      Facility        Facility Owner   Item Number     Serial No.           Location           Item Description                                                            Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83402.A                          CONTROLLED)          UPPER LOAD RING, 5.75 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216807‐35         AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83403.A                          CONTROLLED)          SEAL SPACER RING, 5.75 SLS SEAL, WIRELINE. MFR: ONESUBSEA, PN: 2216808‐22   AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83404.A                          CONTROLLED)          UPPER RETAINER RING, 5.75 WIRELINE PLUG. MFR: ONESUBSEA, PN: 2216806‐19     AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83405.A                          CONTROLLED)          O‐RING, SIZE AS‐568‐459 14.975 ID. MFR: ONESUBSEA, PN: 702645‐45‐91         AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83406.A                                               METAL SEAL RING FOR 5.75" SSR. MFR: ONESUBSEA, PN: 2748056‐01               AFE FW580018         NOVESA                                           3                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83407.A                          CONTROLLED)          INSTALLATION TOOL, WP & RLH‐2 SEALS. MFR: ONESUBSEA, PN: 2230554‐01         AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83408.A                          CONTROLLED)          PINEAPPLE TOOL ASSEMBLY. MFR: ONESUBSEA, PN: 0307929                        AFE FW580018         NOVESA                                           2                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83409.B                          CONTROLLED)          BLACK PELICAN CASE CONTAINING HOSES, FITTINGS, AND VALVES (SOME USED)       AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83410.A                          CONTROLLED)          INSTALLATION TOOL, WP & RLH‐2 SEALS. MFR: ONESUBSEA, PN: 2230555‐01         AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83411.A                          CONTROLLED)          PACKING O‐RING. MFR: ONESUBSEA, PN: 2748750‐01                              AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83411.A                        TRAINING ROOM 1        PACKING O‐RING. MFR: ONESUBSEA, PN: 2748750‐01                              AFE FW580018         NOVESA                                           5                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83412.A                          CONTROLLED)          PLUG MTM SEAL 4.375 10K H2S. MFR: ONESUBSEA, PN: 4511114880                 AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83413.A                          CONTROLLED)          O‐RING. MFR: ONESUBSEA, PN: HVPO‐103                                        AFE FW580018         NOVESA                                           6                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83414.A                          CONTROLLED)          KIT, DHG PLUG. MFR: TELEDYNE, PN: 2250977‐02                                AFE FW580018         NOVESA                                           1                                0                 0
                                                                        DWW‐YARD‐C‐VAN
                                                                    TTNU977610145G1 (CLIMATE                                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83415.A                          CONTROLLED)          KIT, DHG PLUG. MFR: TELEDYNE, PN: 2250977‐03                                AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83416.A                        TRAINING ROOM 1        O‐RING, .210 W X 16.955 ID 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐38‐61    AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83417.A                        TRAINING ROOM 1        METAL END CAP SEAL, 17.832 NOM BORE. MFR: CAMERON, PN: 2289964‐04           AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83418.A                        TRAINING ROOM 1        METAL END CAP SEAL, 17.656 NOM BORE. MFR: CAMERON, PN: 2289964‐03           AFE FW580018         NOVESA                                          44                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83419.A                        TRAINING ROOM 1        METAL END CAP SEAL, 14.250 NOM BORE. MFR: CAMERON, PN: 2289964‐05‐05        AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83420.A                        TRAINING ROOM 1        METAL END CAP SEAL. MFR: CAMERON, PN: 684664‐37                             AFE FW580018         NOVESA                                           3                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83421.A                        TRAINING ROOM 1        METAL END CAP SEAL. MFR: CAMERON, PN: 605894‐29                             AFE FW580018         NOVESA                                           2                                0                 0
                                                                                               SEAL REDRESS KIT, TUBING HANGER, 15K (INCLUDES BOX WITH 17 ITEMS, 2 SEAL
                                                                                               BODIES, AND 3 METAL END CAP SEALS). 6 ITEMS TOTAL. MFR: ONESUBSEA, PN:                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83422.A                        TRAINING ROOM 1        2244562‐15                                                                  AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83423.A                        TRAINING ROOM 1        SEAL RING, 10.000 ID X 10.750 OD. MFR: ONESUBSEA, PN: 709770                AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83424.A                        TRAINING ROOM 1        METAL END CAP SEAL, 14.490 NOM. BORE. MFR: CAMERON, PN: 2289964‐02          AFE FW580018         NOVESA                                           5                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83425.A                        TRAINING ROOM 1        MOLD DETAIL, METAL END CAP SEAL WITH OD. MFR: CAMERON, PN: 2243660‐02       AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83426.A                        TRAINING ROOM 1        METAL END CAP SEAL, 17.656". MFR: CAMERON, PN: 647438‐16‐01                 AFE FW580018         NOVESA                                           7                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83427.A                        TRAINING ROOM 1        METAL END CAP SEAL, 14.490". MFR: CAMERON, PN: 647438‐17‐01                 AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83428.A                        TRAINING ROOM 1        SEAL. MFR: ONESUBSEA, PN: 714148                                            AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83429.A                        TRAINING ROOM 1        SEAL. MFR: ONESUBSEA, PN: 714129                                            AFE FW580018         NOVESA                                           6                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83430.A                        TRAINING ROOM 1        METAL END CAP SEAL, 14.250". MFR: CAMERON, PN: 647438‐18‐01                 AFE FW580018         NOVESA                                           5                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83431.A                        TRAINING ROOM 1        O‐RING. MFR: ONESUBSEA, PN: 702645‐37‐21                                    AFE FW580018         NOVESA                                           5                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83432.A                        TRAINING ROOM 1        SCREW. MFR: ONESUBSEA, PN: 713040                                           AFE FW580018         NOVESA                                          16                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83433.A                        TRAINING ROOM 1        SCREW. MFR: ONESUBSEA, PN: 262393‐03                                        AFE FW580018         NOVESA                                           1                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83434.A                        TRAINING ROOM 1        O‐RING .275 W X 15.475 ID, 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐46‐01    AFE FW580018         NOVESA                                           6                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83435.A                        TRAINING ROOM 1        ASSEMBLY, CONTROL RECEPTACLE, 15K. MFR: ONESUBSEA, PN: 2141634‐13           AFE FW580018         NOVESA                                           2                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83436.A                        TRAINING ROOM 1        O‐RING, .275W X 07.725 ID 90D NITRILE. MFR: ONESUBSEA, PN: 702645‐44‐41     AFE FW580018         NOVESA                                           2                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83437.A                        TRAINING ROOM 1        O‐RING FOR 4.375" DIA PLUG EROSION. MFR: ONESUBSEA, PN: 2748751‐01          AFE FW580018         NOVESA                                           4                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83438.A                        TRAINING ROOM 1        VEE PACKING RING F/ 4.767" DIA PLUG. MFR: ONESUBSEA, PN: 2748215‐01         AFE FW580018         NOVESA                                          25                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83439.A                        TRAINING ROOM 1        VEE PACKING RING, 4.375", 10K ONLY. MFR: ONESUBSEA, PN: 2748807‐01          AFE FW580018         NOVESA                                          22                                0                 0
                                                                                                                                                                                            KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83440.A                        TRAINING ROOM 1        SILVER COATED METAL SEAL RING. MFR: ONESUBSEA, PN: 2748206‐01               AFE FW580018         NOVESA                                           3                                0                 0




                                                                                                                                                      45
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      Facility        Facility Owner   Item Number     Serial No.       Location      Item Description                                                             Project Number     Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83441.A                    TRAINING ROOM 1   BACK UP RING, PTFE, 9921006753. MFR: ONESUBSEA, PN: 2359600‐15               AFE FW580018         NOVESA                                            8                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83442.A                    TRAINING ROOM 1   BACK UP RING, SIZE 451 11.024 ID. MFR: ONESUBSEA, PN: 041327‐01              AFE FW580018         NOVESA                                            4                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83443.A                    TRAINING ROOM 1   VEE PACKING RING F/ 4.767" DIA PLUG. MFR: ONESUBSEA, PN: 2748214‐01          AFE FW580018         NOVESA                                            6                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83444.A                    TRAINING ROOM 1   WIPER RING, WIRELINE PLUG, 5.25 IN NOM. MFR: ONESUBSEA, PN: 2359600‐45       AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83445.A                    TRAINING ROOM 1   O‐RING. MFR: ONESUBSEA, PN: 702645‐44‐61                                     AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83446.A                    TRAINING ROOM 1   O‐RING, SIZE AS‐568‐351, 4.725 ID. MFR: ONESUBSEA, PN: 702645‐35‐11          AFE FW580018         NOVESA                                            8                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83447.A                    TRAINING ROOM 1   O‐RING, SIZE AS‐568‐161, 5.487 ID. MFR: ONESUBSEA, PN: 702645‐16‐11          AFE FW580018         NOVESA                                            4                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83448.A                    TRAINING ROOM 1   BACK UP RING, ID 0.702 INCH +/‐ 0.009. MFR: ONESUBSEA, PN: 2748250‐63        AFE FW580018         NOVESA                                           96                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83449.A                    TRAINING ROOM 1   BUMPER, INSERT CAGE, 7" BORE F/ 15K. MFR: ONESUBSEA, PN: 2029641‐02          AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83450.A                    TRAINING ROOM 1   BEARING RING, CCSR, 7.38 OD. MFR: ONESUBSEA, PN: 2053058‐01                  AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83451.A                    TRAINING ROOM 1   O‐RING, 8 1/2" OD X 1/2 CROSS. MFR: ONESUBSEA, PN: 018493‐45                 AFE FW580018         NOVESA                                           12                                0                 0
                                                                                      TENSILE SCREW, ITC MECHANICAL RUNNING TOOL. MFR: ONESUBSEA, PN:                               KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83452.A                    TRAINING ROOM 1   2166948‐04                                                                   AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83453.A                    TRAINING ROOM 1   BACK UP RING, SIZE 206, .518 ID. MFR: ONESUBSEA, PN: 042000‐02‐06            AFE FW580018         NOVESA                                           24                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83454.A                    TRAINING ROOM 1   COMBO TOOL. MFR: ONESUBSEA, PN: 2330489‐01                                   AFE FW580018         NOVESA                                           16                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83455.A                    TRAINING ROOM 1   O‐RING, SIZE 462 16.455 ID X .275 W. MFR: ONESUBSEA, PN: 702647‐46‐21        AFE FW580018         NOVESA                                            5                                0                 0
                                                                                      SHEAR PIN, G2 BORE PROTECTOR, NAVAL BRASS. MFR: ONESUBSEA, PN: 2155653‐                       KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83456.A                    TRAINING ROOM 1   02                                                                           AFE FW580018         NOVESA                                           24                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83457.A                    TRAINING ROOM 1   O‐RING, SIZE AS‐568‐463 16.955 ID. MFR: ONESUBSEA, PN: 702645‐46‐31          AFE FW580018         NOVESA                                            3                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83458.A                    TRAINING ROOM 1   O‐RING, NITRILE 90A, 13 1/2 X 14 X 1/4". MFR: ONESUBSEA, PN: 702645‐45‐61    AFE FW580018         NOVESA                                            8                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83459.A                    TRAINING ROOM 1   SHEAR PIN, G2 BORE PROTECTOR, TEFLON. MFR: ONESUBSEA, PN: 2155653‐01         AFE FW580018         NOVESA                                            6                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83460.A                    TRAINING ROOM 1   THREADED RETAINER, SHEAR PIN ASSEMBLY. MFR: ONESUBSEA, PN: 2026808‐04        AFE FW580018         NOVESA                                           18                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83461.A                    TRAINING ROOM 1   TAB, G2 BORE PROTECTOR. MFR: ONESUBSEA, PN: 2155677‐01                       AFE FW580018         NOVESA                                           18                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83462.A                    TRAINING ROOM 1   O‐RING, 16.504 ID X .236 CS. MFR: ONESUBSEA, PN: 042000‐04‐62                AFE FW580018         NOVESA                                           12                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83463.A                    TRAINING ROOM 1   SHEAR PIN, 18‐3/4 NOM HYD TUBING HANGER. MFR: ONESUBSEA, PN: 199362‐01       AFE FW580018         NOVESA                                            8                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83464.A                    TRAINING ROOM 1   PINS. MFR: ONESUBSEA, PN: W0105412‐002                                       AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83465.A                    TRAINING ROOM 1   O‐RING. MFR: ONESUBSEA, PN: 702645‐42‐61                                     AFE FW580018         NOVESA                                            2                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83466.A                    TRAINING ROOM 1   O‐RING, SIZE AS‐568‐3534, .975 ID. MFR: ONESUBSEA, PN: 702647‐35‐31          AFE FW580018         NOVESA                                            8                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83467.A                    TRAINING ROOM 1   KEY, SLEEVE, CVC COLLET CONNECTOR. MFR: ONESUBSEA, PN: 2156304‐01            AFE FW580018         NOVESA                                            1                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83468.A                    TRAINING ROOM 1   SPARES. MFR: ONESUBSEA, PN: 2400888‐02‐01                                    AFE FW580018         NOVESA                                            1                                0                 0
                                                                                      SCREW, 12 PT CAP .250‐20UNC X .875, ASTM A193 GR B7 ZINC PLATED / SAE J58.
                                                                                      MFR: ONESUBSEA, PN: 702585‐02‐00‐07                                                           KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83469.A                    TRAINING ROOM 1                                                                                AFE FW580018         NOVESA                                            3                                0                 0
                                                                                      O RING, SIZE AS‐568‐208 .609 ID X .139 W 90D /MS‐1078 NITRILE PKG AND QUAL
                                                                                      /CIW 702645. MFR: ONESUBSEA, PN: 702645‐20‐81                                                 KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83470.A                    TRAINING ROOM 1                                                                                AFE FW580018         NOVESA                                            5                                0                 0
                                                                                      MALE SEAL RETAINER, CLAMP CONNECTOR / SEAL PLATE ASSY. MFR: ONESUBSEA,
                                                                                      PN: 2123142‐01                                                                                KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83471.A                    TRAINING ROOM 1                                                                                AFE FW580018         NOVESA                                            9                                0                 0
                                                                                      FEMALE SEAL RETAINER, CLAMP CONNECTOR / SEAL PLATE ASSY. MFR:
                                                                                      ONESUBSEA, PN: 2123141‐01                                                                     KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83472.A                    TRAINING ROOM 1                                                                                AFE FW580018         NOVESA                                            9                                0                 0
                                                                                      SFL1 FLUSH/PARK ‐ 15' L X 10' W X 8' H; 10,500 LBS EACHINTERMEDIATE
                                                                                      JUNCTION PLATE, 14 WAY W/ JUNCTION PLATE FIXED M1 14 POSITION, 14 WAY X
                                                                                      .5 RS MALE NVP COUPLERS & JUNCTION PLATE REMOVABLE, 14 POSITION, 14
Deepwater Warehouse    Fieldwood         83473.A                      DWW‐YARD        WAY, .5 RS FEMALE VP COUPLERS, 7 X.5 RS NVP COUPLERS.                                                                                               1                                0                 0
                                                                                      SFL2 FLUSH/PARK ‐ 15' L X 10' W X 8' H; 10,500 LBS EACHINTERMEDIATE
                                                                                      JUNCTION PLATE, 14 WAY W/ JUNCTION PLATE FIXED M1 14 POSITION, 14 WAY X
                                                                                      .5 RS MALE NVP COUPLERS & JUNCTION PLATE REMOVABLE, 14 POSITION, 14
Deepwater Warehouse    Fieldwood         83474.A                      DWW‐YARD        WAY, .5 RS FEMALE VP COUPLERS, 7 X.5 RS NVP COUPLERS.                                                                                               1                                0                 0
                                                                                      VERTICAL MULTISTAGE CENTRIFUGAL PUMP, 60 HZ, 3444 RPM, 15 HP WITH
                                                                                      BALDOR RELIANCE SUPER E MOTOR (15 HP, 3520 RPM, 230/460 VOLTS, SPEC.
Deepwater Warehouse    Fieldwood         83475.A                      MW‐AREA 2       09G939Z602G1). MFR: GRUNDFOS, PN: CR32‐3A‐G‐A‐E‐HQQE‐NX2                          LOE         ST 308/TARANTULA                                      0                                0                 0
                                                                                      REAR/FRONT SEAL TOOLING IN BLACK PELICAN CASE. MFR: CATERPILLAR, PN:
Deepwater Warehouse    Fieldwood         83476.A                      MR‐GENERAL      3512                                                                                              WD 70D                                            1                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83477.A                    TRAINING ROOM 1   O‐RING, SIZE AS‐568‐117, .799 ID. MFR: ONESUBSEA, PN: 702647‐11‐75           AFE FW580018         NOVESA                                           75                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83478.A                    TRAINING ROOM 1   BACK‐UP NITRILE 90A, 14 X 14 1/2. MFR: ONESUBSEA, PN: 042000‐04‐57           AFE FW580018         NOVESA                                            3                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83479.A                    TRAINING ROOM 1   O‐RING. MFR: ONESUBSEA, PN: 702645‐21‐41                                     AFE FW580018         NOVESA                                            6                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83480.A                    TRAINING ROOM 1   SCR 0.250‐20 X 0.500 SST CUP PT SET. MFR: ONESUBSEA, PN: 702515‐17‐20‐08     AFE FW580018         NOVESA                                            4                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83481.A                    TRAINING ROOM 1   O‐RING. MFR: ONESUBSEA, PN: 042000‐04‐55                                     AFE FW580018         NOVESA                                           12                                0                 0
                                                                                                                                                                                    KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood         83482.A                    TRAINING ROOM 1   BLIND SEAL CARRIER. MFR: ONESUBSEA, PN: 2124421‐04                           AFE FW580018         NOVESA                                            2                                0                 0




                                                                                                                                              46
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      Facility        Facility Owner    Item Number        Serial No.         Location        Item Description                                                               Project Number     Project Name         UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value       WI% Net Value
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83483.A                         TRAINING ROOM 1     SEAL CAP VERT PLUG HYDRAULIC STAB. MFR: ONESUBSEA, PN: 2142681‐01              AFE FW580018         NOVESA                                                5                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83484.A                         TRAINING ROOM 1     RUBBER/SPRING SEAL, EXTERNAL. MFR: ONESUBSEA, PN: 2788005‐02‐01                AFE FW580018         NOVESA                                                2                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83485.A                         TRAINING ROOM 1     G2 G3 HYD DTAB SPACER. MFR: ONESUBSEA, PN: 2142381‐02                          AFE FW580018         NOVESA                                               38                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83486.A                         TRAINING ROOM 1     SLIDE PIN, .893‐1.002. MFR: ONESUBSEA, PN: 2142376‐01                          AFE FW580018         NOVESA                                               16                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83487.A                         TRAINING ROOM 1     HYDR SEAL CARRIER BLIND PLUG. MFR: ONESUBSEA, PN: 2704208                      AFE FW580018         NOVESA                                                8                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83488.A                         TRAINING ROOM 1     HYDR VERTICAL PLUG. MFR: ONESUBSEA, PN: 2156280‐01                             AFE FW580018         NOVESA                                                2                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83489.A                         TRAINING ROOM 1     HYDR O‐RING, SIZE AS‐568‐455, 12.975 ID. MFR: ONESUBSEA, PN: 702647‐45‐51      AFE FW580018         NOVESA                                                5                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83490.A                         TRAINING ROOM 1     O‐RING, .275W X 12.475 ID W85D/MS‐1068. MFR: ONESUBSEA, PN: 702647‐45‐41       AFE FW580018         NOVESA                                                6                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83491.A                         TRAINING ROOM 1     ISOLATION SLEEVE O‐RING, 5.25. MFR: ONESUBSEA, PN: 2748113‐01                  AFE FW580018         NOVESA                                                4                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83492.A                         TRAINING ROOM 1     SCR 0.250‐20 X 0.625 SST CUP PT SET. MFR: ONESUBSEA, PN: 702515‐17‐20‐10       AFE FW580018         NOVESA                                                4                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83493.A                         TRAINING ROOM 1     VEE PACKING RING, 5.25. MFR: ONESUBSEA, PN: 2736039‐03                         AFE FW580018         NOVESA                                                8                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83494.A                         TRAINING ROOM 1     SSE SEAL. MFR: ONESUBSEA, PN: 2748983‐01                                       AFE FW580018         NOVESA                                               12                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83495.A                         TRAINING ROOM 1     STANDARD SPHERICAL GASKET, DMG 7125. MFR: ONESUBSEA, PN: 2398316‐01            AFE FW580018         NOVESA                                                1                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83496.A                         TRAINING ROOM 1     SEAL KIT. MFR: NATIONAL COUPLER, PN: TO‐4‐B‐28‐SK                              AFE FW580018         NOVESA                                               19                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83497.A                         TRAINING ROOM 1     NAT. COUPLER SEAL KIT. MFR: ONESUBSEA, PN: 2737462‐02                          AFE FW580018         NOVESA                                               30                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83498.A                         TRAINING ROOM 1     O‐RING KIT. MFR: ONESUBSEA, PN: 042000‐03‐67                                   AFE FW580018         NOVESA                                                6                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83499.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702645‐45‐51                                       AFE FW580018         NOVESA                                                9                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83500.A                         TRAINING ROOM 1     PACKING, VARIPAK T99. MFR: ONESUBSEA, PN: 140232‐12‐51‐03                      AFE FW580018         NOVESA                                                4                                0                 0
Deepwater Warehouse    Fieldwood          83501.A                            MW‐AREA 1        PALLETIZED SECTION OF TEST PIPE WITH INSULATION                                AFE FW203021         KATMAI                                                1                                0                 0
Deepwater Warehouse    Fieldwood          83502.A                            MW‐AREA 1        PALLETIZED SECTION OF TEST PIPE UNCOATED                                       AFE FW203021         KATMAI                                                1                                0                 0
Deepwater Warehouse    Fieldwood          83503.A                            MW‐AREA 1        CVC ID COLLET PLUG, PN: COM‐000003109                                          AFE FW203021         KATMAI                                                2                                0                 0
Deepwater Warehouse    Fieldwood          83504.A                            MW‐AREA 1        GRIPPER FLANGE SEAL ASSEMBLY, PN: COM‐000003108                                AFE FW203021         KATMAI                                                2                                0                 0
Deepwater Warehouse    Fieldwood          83505.A                            MW‐AREA 1        HYDRAULIC FITTINGS, PN: 500032‐32                                              AFE FW203021         KATMAI                                                2                                0                 0
Deepwater Warehouse    Fieldwood          83506.A                            MW‐AREA 1        HYDRAULIC FITTINGS, PN: 540416‐16                                              AFE FW203021         KATMAI                                                2                                0                 0
Deepwater Warehouse    Fieldwood          83507.A                            MW‐AREA 1        HYDRAULIC FITTINGS, PN: 540632‐16                                              AFE FW203021         KATMAI                                                2                                0                 0
                                                                                              SPARES (QTY: 6 ‐ 75 VITON ‐ SIZE 446, QTY: 4 ‐ WAVE SPRING, QTY: 7 ‐ 241N90,
Deepwater Warehouse    Fieldwood          83508.A                           MW‐AREA 1         QTY: 8 ‐ 75 VITON ‐ SIZE 427, QTY: 8 ‐ 70A BUNA‐N ‐ SIZE 269)                  AFE FW203021          KATMAI                                               1                                0                 0
Deepwater Warehouse    Fieldwood          83509.A                           MW‐AREA 1         5" X 1/2" STEM ALUM. EXP. PLUG.                                                AFE FW203021          KATMAI                                               9                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83510.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 718044                                             AFE FW580018          NOVESA                                              103                               0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83511.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 2707402‐01                                         AFE FW580018          NOVESA                                              30                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83512.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 042000‐00‐18                                       AFE FW580018          NOVESA                                               6                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83513.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 042000‐02‐77                                       AFE FW580018          NOVESA                                               6                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83514.A                         TRAINING ROOM 1     O‐RING, ‐378, 209 COMPOUND. MFR: ONESUBSEA, PN: 2749478‐01                     AFE FW580018          NOVESA                                               1                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83515.A                         TRAINING ROOM 1     O‐RING, 3/4 X 1 X 1/8. MFR: ONESUBSEA, PN: 702645‐21‐01                        AFE FW580018          NOVESA                                               3                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83516.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 41008‐0062‐32                                      AFE FW580018          NOVESA                                              25                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83517.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 631680‐02                                          AFE FW580018          NOVESA                                               8                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83518.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702645‐38‐01                                       AFE FW580018          NOVESA                                               1                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83519.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702645‐36‐32                                       AFE FW580018          NOVESA                                              16                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83520.A                         TRAINING ROOM 1     PAK RING TEFLON. MFR: ONESUBSEA, PN: 631486‐06                                 AFE FW580018          NOVESA                                               2                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83521.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702640‐44‐11                                       AFE FW580018          NOVESA                                               1                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83522.A                         TRAINING ROOM 1     S SEAL, 6 1/4" NOM. MFR: ONESUBSEA, PN: 041259‐17‐01‐13                        AFE FW580018          NOVESA                                              13                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83523.A                         TRAINING ROOM 1     S SEAL RING, 6" NOM OD. MFR: ONESUBSEA, PN: 142895‐12‐05‐23                    AFE FW580018          NOVESA                                              20                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83524.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702645‐01‐11                                       AFE FW580018          NOVESA                                               1                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83525.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702645‐21‐61                                       AFE FW580018          NOVESA                                               4                                0                 0
                                                                                                                                                                                              KATMAI/ORLOV/GE
Deepwater Warehouse    Fieldwood          83526.A                         TRAINING ROOM 1     O‐RING. MFR: ONESUBSEA, PN: 702640‐35‐41                                       AFE FW580018          NOVESA                                               7                                0                 0
                                                                                                                                                                                                FIELDWOOD –
   Aker ‐ Mobile      Aker Solutions     10239579          298203‐2       A712 Rack A Sec 7   ASSY,IPC,DUAL PSU,DUAL DIO32 W/ SMACS6                                                               BIGBEND           EA                                 1                                0
                                                                                                                                                                                                FIELDWOOD –
   Aker ‐ Mobile      Aker Solutions     10236989          317793‐1       A712 Rack A Sec 7   KIT, ESD SIMULATOR                                                                                   BIGBEND           EA                                 1                                0

   Aker ‐ Mobile      Aker Solutions     10258430       4500776661‐10‐2   A712 Rack A Sec 7   CASE, TRANSPORT, 1630                                                                           Non‐project specific   EA                                 1                                0
   Aker ‐ Mobile      Aker Solutions     10135325                               A712          SEAL KIT, NCC, RS‐8‐B‐PK2‐C510‐MS‐SK                                                                                   EA                                20                                0
   Aker ‐ Mobile      Aker Solutions     10135325                               A712          SEAL KIT, NCC, RS‐8‐B‐PK2‐C510‐MS‐SK                                                                                   EA                                48                                0
   Aker ‐ Mobile      Aker Solutions     10135325                               A712          SEAL KIT, NCC, RS‐8‐B‐PK2‐C510‐MS‐SK                                                                                   EA                                36                                0
   Aker ‐ Mobile      Aker Solutions     10135325                               A712          SEAL KIT, NCC, RS‐8‐B‐PK2‐C510‐MS‐SK                                                                                   EA                                60                                0
   Aker ‐ Mobile      Aker Solutions     10135326                               A712          TOOL KIT, RS CPLR, NCC, RS‐8‐TK‐3                                                                                      EA                                 2                                0

   Aker ‐ Mobile      Aker Solutions   BB15‐000663‐02      281788‐2       A718 Rack A Sec 7   COUPLER,HYD,MALE,.250,10KPSI,1/2 FNPT A                                                         Non‐project specific   EA                                 1                                0




                                                                                                                                                        47
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   Facility     Facility Owner    Item Number         Serial No.            Location         Item Description                                                     Project Number     Project Name         UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB13‐060176‐18    1401/B/M5201        A718 Rack A Sec 7     ICON TOPSIDE 1200 DUAL CHANNEL ELECTRICA                                                  DANTZLER           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::1        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::2        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::3        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::4        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::5        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::6        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::7        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10063176           310299::8        A718 Rack A Sec 7     Coupling,1/2",UO,Male,15KSI, 9/16 M/P                                                      BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10194964          1034146‐34        A718 Rack A Sec 7     TEST CONNECTOR, DIVER MATE CE PLUG                                                         BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10194964          1034146‐35        A718 Rack A Sec 7     TEST CONNECTOR, DIVER MATE CE PLUG                                                         BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10189751        SIM‐13‐11‐12126     A718 Rack A Sec 7     SIMULATOR, ACOUSTIC PIG DETECTOR                                                           BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10198475        SIM‐13‐11‐12127     A718 Rack A Sec 7     SIMULATOR, ACOUSTIC SAND DETECTOR                                                          BIGBEND           EA                                 1                                0

Aker ‐ Mobile   Aker Solutions   BB14‐060480‐12     2058‐SN‐030        A718 Rack A Sec 7     ICON TOPSIDE EXTENDED 1200 MODEM MODULE                                               Non‐project specific   EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000680‐81      1016399‐42        A718 Rack A Sec 7     CONN‐ELECT, ROV MATEABLE, RECEPT, 4                                                        BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000680‐81      1016399‐43        A718 Rack A Sec 7     CONN‐ELECT, ROV MATEABLE, RECEPT, 4                                                        BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10144574         FNS19060RNZ        A718 Rack A Sec 7     CONVERTOR, ETHERNET & OPTICAL, RGD                                                         BIGBEND           EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10186368           15041809         A718 Rack A Sec 7     COMPUTER PART, 1U KEYBORD/FLIPTOP MONITO                                              Non‐project specific   EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐060312‐06    1111503985/BF       A718 Rack A Sec 7     POWER SUPPLY TYPE SEM105, MAINS 90‐240V                                                    BIGBEND           EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10246629             6099           A718 Rack A Sec 7     AUXILIARY CONNECTION UNIT (ACU)                                                       Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions   BB14‐060049‐01   TSCL2106‐SN‐001      A718 Rack A Sec 7     MODEM SWITCH MODULE ASSY                                                              Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10241616          333070001         A718 Rack A Sec 7     CABLE ASSY,8W CANNON S TO 12W CONN P, 6'                                              Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10240031          333069001         A718 Rack A Sec 7     CABLE ASSY,12W CANNON P‐12W CANNON R,25'                                              Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10241291          1092062‐2         A718 Rack A Sec 7     CABLE ASSY, 6W ROV PLUG ‐ 8W CANNON RCPT                                              Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10241290          1092061‐2         A718 Rack A Sec 7     CABLE ASSY,4W ROV RCPT ‐ 12W CANNON PLUG                                              Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10222161          1079132‐6         A718 Rack A Sec 7     CABLE ASSY, 4 WAY ROV PLUG ‐ CANNON CONN                                              Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10222024          1079130‐8         A718 Rack A Sec 7     CABLE ASSY,8WAY CANNON PLUG‐CANNON RCPT                                               Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10241279          1092060‐2         A718 Rack A Sec 7     CABLE ASSY,8W ROV RCPT ‐ 12W CANNON PLUG                                              Non‐project specific   EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::11        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::18        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::40        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::28        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64       294477::6        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::25        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::32        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB15‐000163‐64      294477::30        A718 Rack A Sec 7     COUPLER PART, HYDR,GUIDE,0.250OR .500 FA                                                   BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10232780           312376‐1          AWN1 Awning 1        ASSY, SCM TEST STAND, NOBLE                                                                BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB11‐000182‐14    4500643069‐10‐1    F001 Floor Area Sec1   SHIPPING FRAME ASSY, CONTROL MODULE                                                        BIGBEND           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB11‐000182‐14     69038/03‐001      F004 Floor Area Sec4   SHIPPING FRAME ASSY, CONTROL MODULE                                                      SWORDFISH           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10257558           218637‐1        F004 Floor Area Sec4   SCM ASSY, 22 HYDR, 4 ELEC, 4 ROV CONNS                                                    DANTZLER           EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD ‐
Aker ‐ Mobile   Aker Solutions   BB14‐000735‐65       SN000156        F006 Floor Area Sec6   CSL ASSY,MCS,TWO CABINET,NOBLEENERGY                                                        LORIEN           EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10325709        19‐10‐3308‐DM      F007 Floor Area Sec7   ACOSTIC SAND DETECTOR FUNNEL, 5.56" OD                                                Non‐project specific   EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions     10239579           306108‐1         G206 Rack G Sec 2     ASSY,IPC,DUAL PSU,DUAL DIO32 W/ SMACS6                                                     BIGBEND           EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10258430       4500861523‐10‐001    G206 Rack G Sec 2     CASE, TRANSPORT, 1630                                                                 Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions     10258430          4233351‐1         G206 Rack G Sec 2     CASE, TRANSPORT, 1630                                                                 Non‐project specific   EA                                 1                                0

Aker ‐ Mobile   Aker Solutions   BB15‐061245‐04       10357810         J003 Rack J Sec 00    BAKER HUGHES PQ HARVEST DHPT SUBSEA I/F                                               Non‐project specific   EA                                 1                                0
                                                                                                                                                                                     FIELDWOOD –
Aker ‐ Mobile   Aker Solutions   BB11‐000216‐49     69397/03‐001        J103 Rack J Sec 1    TEST EQPT ASSY,TEST SET WINDOWS BASED,SE                                                 SWORDFISH           EA                                 1                                0




                                                                                                                                                  48
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       Facility         Facility Owner    Item Number        Serial No.           Location         Item Description                                                        Project Number      Project Name        UOM   Condition    Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value

   Aker ‐ Mobile        Aker Solutions     10056594          138753‐1         J103 Rack J Sec 1    TEST EQUIP ASSY, TEST SET,9600 BAUD RATE                                                 Non‐project specific   EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD ‐
   Aker ‐ Mobile        Aker Solutions   BB15‐000731‐05     1HTYA13472        J103 Rack J Sec 1    COMPUTER,LAPTOP,PANASONICTOUGHBOOK                                                             RATON            EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions   BB14‐000748‐78    001956‐0020A       J103 Rack J Sec 1    MCS EQUIP ASSY,SUBSEA ELECT POWER UNIT,3                                                    SWORDFISH           EA                                  1                                  0

   Aker ‐ Mobile        Aker Solutions   BB14‐000748‐78    002271‐0001A       J103 Rack J Sec 1    MCS EQUIP ASSY,SUBSEA ELECT POWER UNIT,3                                                 Non‐project specific   EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10187605          300189‐1         J103 Rack J Sec 1    RACK, SEPA 120/208/240, 600‐1200, 2.5KVA                                                      BIGBEND           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions   BB15‐000695‐37     1007794‐22        J103 Rack J Sec 1    CONN,ELECT,FLYING TEST RCPT, 8‐WAY,W                                                         DANTZLER           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10236194          301468‐1         J103 Rack J Sec 1    RACK, SEPA, 120/208/240, 300‐600, 2.5KVA                                                      BIGBEND           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10233298        22560‐02.001       J103 Rack J Sec 1    SIMULATOR, DIGITAL PRESS/TEMP, ROXAR                                                          BIGBEND           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10190723            8142               J303 J303        ONLINE CONTROL & CONNECTION PANEL, MCS                                                        BIGBEND           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10232704          310899‐1             J501 J501        TEST EQUIP ASSY, PETU, 1200 BAUD 2 of 2                                                       BIGBEND           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10232781          313393‐1         K031 Rack K Sec 2    ASSY, DUMMY SCM TEST & FLUSH PLATE                                                            BIGBEND           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10238674          143604‐1         K032 Rack K Sec 2    SUBSEA CONTROL MODULE‐MARATHON OZONA                                                         DANTZLER           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions   BB11‐000117‐70    74482/04‐001       K033 Rack K Sec 2    POD ASY ELEC/HYD MARINERSWORDFISH                                                           SWORDFISH           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions   BB11‐000117‐70    69035/03‐001       K034 Rack K Sec 2    POD ASY ELEC/HYD MARINERSWORDFISH                                                           SWORDFISH           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD ‐
   Aker ‐ Mobile        Aker Solutions   BB11‐000117‐89    76956/05‐001       K035 Rack K Sec 2    SCM ASSY,ELEC/HYDR,(21) SOLENOID VLVS,(6                                                       LORIEN           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions     10034781       4009455/07‐001      K036 Rack K Sec 2    SCM ASSY, 21 HYDR, 5 ELEC, 4 ROV CONNS                                                       DANTZLER           EA                                  1                                  0

   Aker ‐ Mobile        Aker Solutions   BB15‐000731‐05     9CKSA61484      MQ01 Mobile Rack QRT   COMPUTER,LAPTOP,PANASONICTOUGHBOOK                                                       Non‐project specific   EA                                  1                                  0

   Aker ‐ Mobile        Aker Solutions   BB15‐000782‐48   4500516448‐0030     NTFD Not Found       COMPUTER PART,1756‐PA72 CONTROL LOGIX P/                                                 Non‐project specific   EA                                  1                                  0

   Aker ‐ Mobile        Aker Solutions   BB15‐000782‐52   4500744743‐0010     NTFD Not Found       COMPUTER PART,1756‐IF8,ANLG INPUT 8 CH                                                   Non‐project specific   EA                                  1                                  0

   Aker ‐ Mobile        Aker Solutions     10284242       4500589952‐0020     NTFD Not Found       PORTSERVER, DIGI TS16 MEI INTERNATIONAL                                                  Non‐project specific   EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD ‐
   Aker ‐ Mobile        Aker Solutions   BB15‐000731‐77    50005939‐002        RCVD Received       COMPUTER,SYSTEL RACKMOUNT IPC,MCS                                                              LORIEN           EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD ‐
   Aker ‐ Mobile        Aker Solutions   BB15‐000731‐05     1KTYA41555        TB03 Test Bay 03     COMPUTER,LAPTOP,PANASONICTOUGHBOOK                                                             RATON            EA                                  1                                  0
                                                                                                                                                                                              FIELDWOOD –
   Aker ‐ Mobile        Aker Solutions   BB11‐000182‐14   4500643069‐10‐2     YD1G Yard 1 Sec G    SHIPPING FRAME ASSY, CONTROL MODULE                                                           BIGBEND           EA                                  1                                  0
  Archer ‐ Houston         Archer         102‐01‐0235      USSC‐13‐0751                            7 5/8" CFLEX SS ‐ 145 ksi 945X, assembled with pup joints                                                       EA                                                                     0
Arctic Pipe ‐ Houston    Arctic Pipe        18137‐G                           Rack No. DD14 (C)    16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        27,972.48        7         291.38                   0
Arctic Pipe ‐ Houston    Arctic Pipe        19139‐G                           Rack No. DD09 (C)    17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 THREAD                                                            EA      NEW        3,805.45         1          40.70                   0
Arctic Pipe ‐ Houston    Arctic Pipe        19421‐H                           Rack No. DD14 (C)    16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        20,666.88        5         215.28                   0
Arctic Pipe ‐ Houston    Arctic Pipe        23294‐E                            Rack No. G04 (C)    16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      USED       4,030.08         1          41.98                   0
Arctic Pipe ‐ Houston    Arctic Pipe        23294‐E                            Rack No. G04 (C)    16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      USED       4,121.28         1          42.93                   0
Arctic Pipe ‐ Houston    Arctic Pipe        23312‐E                            Rack No. G04 (C)    16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      USED       4,120.32         1          42.92                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25037‐H                            Rack No. A02 (C)    11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                                     EA      NEW        19,645.92        7         273.62                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25037‐H                            Rack No. A06 (C)    11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                                     EA      NEW        14,214.25        5         197.97                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25037‐I                            Rack No. G16 (C)    11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                                     EA      NEW        2,903.59         1          40.44                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25037‐I                            Rack No. G16 (C)    11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                                     EA      NEW        5,554.45         2          77.36                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25166‐C                           Rack No. CROA (C)    17 7/8" TENARIS P‐110 PUP JOINTS, 93.50#, HYD 521 THREAD                                                        EA      NEW        3,740.00         2          40.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25166‐C                           Rack No. CROA (C)    17 7/8" TENARIS P‐110 PUP JOINTS, 93.50#, HYD 521 THREAD                                                        EA      NEW        1,870.00         1          20.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe         25526                             Rack No. K05 (C)    13 5/8" TAMSA Q‐125 HC X‐OVER, 88.20#, HYD 523 DPLS PIN THREAD                                                  EA      NEW        1,852.20         1          21.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25782‐B                            Rack No. B07 (C)    16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        3,993.60         1          41.60                   0
Arctic Pipe ‐ Houston    Arctic Pipe        25782‐C                            Rack No. G04 (C)    16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        27,802.56        7         289.61                   0
Arctic Pipe ‐ Houston    Arctic Pipe        27796‐E                            Rack No. G04 (C)    16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        4,199.04         1          43.74                   0
Arctic Pipe ‐ Houston    Arctic Pipe        27922‐E                            Rack No. A07 (C)    11 7/8" TENARIS TN‐125 HC CASING, 71.80#, HYD 523 DPLS THREAD                                                   EA      NEW        5,976.63         2          83.24                   0
Arctic Pipe ‐ Houston    Arctic Pipe        27922‐E                            Rack No. A07 (C)    11 7/8" TENARIS TN‐125 HC CASING, 71.80#, HYD 523 DPLS THREAD                                                   EA      NEW        20,620.96        7         287.20                   0
Arctic Pipe ‐ Houston    Arctic Pipe        27923‐H                            Rack No. D25 (C)    9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                                      EA      NEW        5,115.06         2          81.45                   0
Arctic Pipe ‐ Houston    Arctic Pipe        27923‐I                            Rack No. G16 (C)    9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                                      EA      NEW        2,527.07         1          40.24                   0
Arctic Pipe ‐ Houston    Arctic Pipe        28360‐D                           Rack No. BLDG (C)    9 7/8" TENARIS TN110CR135 CASING, 62.80#, TSH 523 DPLS THREAD                                                   EA      NEW       100,417.20       39        1,599.00                  0
Arctic Pipe ‐ Houston    Arctic Pipe        29030‐B                            Rack No. G04 (C)    16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      USED       8,457.60         2          88.10                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29102‐C                            Rack No. G04 (C)    16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        28,067.52        7         292.37                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29102‐C                            Rack No. G04 (C)    16" U S STEEL Q‐125 CASING, 96.00#, HYD 511 THREAD                                                              EA      NEW        4,107.84         1          42.79                   0
Arctic Pipe ‐ Houston    Arctic Pipe         29308                             Rack No. H05 (C)    17 7/8" TENARIS P‐110 CASING, 93.50#, HYD 521 THREAD                                                            EA      NEW       289,634.95       73        3,097.70                  0
Arctic Pipe ‐ Houston    Arctic Pipe        29344‐D                           Rack No. ACRE (C)    10 3/4" TENARIS TN‐125 HC PUP JOINTS, 73.20#, MAC II DPLS THREAD                                                EA      NEW          0.00           2          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        29345‐C                            Rack No. N00 (C)    14" TENARIS TN‐125 HC PUP JOINTS, 114.00#, TSH 523 DPLS THREAD                                                  EA      NEW        2,280.00         1          20.00                   0

Arctic Pipe ‐ Houston    Arctic Pipe         29346                            Rack No. D47 (C)     13 5/8" UNKNOWN MFG TN‐125 HC PUP JOINTS, 88.20#, TSH 523 DPLS THREAD                                           EA      NEW        7,056.00         4          80.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29768‐B                            Rack No. A07 (C)    10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                                      EA      NEW        3,001.20         1          41.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29768‐B                           Rack No. ACRE (C)    10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                                      EA      NEW        3,059.76         1          41.80                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29768‐C                            Rack No. C38 (C)    10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                                      EA      NEW        84,014.57       27        1,147.74                  0
Arctic Pipe ‐ Houston    Arctic Pipe        29815‐E                            Rack No. A08 (C)    10 3/4" TENARIS TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                                    EA      NEW        43,249.49       14         590.84                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29815‐E                           Rack No. BB08 (C)    10 3/4" TENARIS TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                                    EA      NEW        34,264.20       11         468.09                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29816‐C                           Rack No. D25 (C)     9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                                      EA      NEW        2,385.14         1          37.98                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29816‐E                            Rack No. F08 (C)    9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                                      EA      NEW        19,788.91        8         315.11                   0
Arctic Pipe ‐ Houston    Arctic Pipe        29816‐F                           Rack No. G16 (C)     9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                                      EA      NEW        2,477.46         1          39.45                   0
Arctic Pipe ‐ Houston    Arctic Pipe        30096‐C                           Rack No. G04 (C)     16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        16,572.48        4         172.63                   0
Arctic Pipe ‐ Houston    Arctic Pipe        30096‐C                           Rack No. G04 (C)     16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW       173,958.72       42        1,812.07                  0
Arctic Pipe ‐ Houston    Arctic Pipe        30096‐D                           Rack No. N19 (C)     16" TENARIS Q‐125 CASING, 96.00#, HYD 511 THREAD                                                                EA      NEW        28,842.24        7         300.44                   0
Arctic Pipe ‐ Houston    Arctic Pipe        31235‐E                           Rack No. N08 (C)     17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                                       EA      NEW       258,966.95       66        2,769.70                  0
Arctic Pipe ‐ Houston    Arctic Pipe        31235‐F                           Rack No. N08 (C)     17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                                       EA      NEW        35,088.68        9         375.28                   0
Arctic Pipe ‐ Houston    Arctic Pipe        31235‐F                           Rack No. N08 (C)     17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                                       EA      NEW        7,954.98         2          85.08                   0
Arctic Pipe ‐ Houston    Arctic Pipe        31492‐B                            Rack No. C23 (C)    17 7/8" TENARIS P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                                       EA      NEW        27,114.07        7         289.99                   0
Arctic Pipe ‐ Houston    Arctic Pipe        31492‐B                            Rack No. C23 (C)    17 7/8" TENARIS P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                                       EA      NEW        91,215.80       24         975.57                   0
Arctic Pipe ‐ Houston    Arctic Pipe        31640‐B                           Rack No. ACRE (C)    10 3/4" TENARIS TN‐125 HC PUP JOINTS, 73.20#, MAC II THREAD                                                     EA      NEW          0.00           1          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        31654‐C                            Rack No. C25 (C)    10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                                      EA      NEW        3,121.25         1          42.64                   0




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        Facility        Facility Owner   Item Number     Serial No.       Location        Item Description                                                       Project Number   Project Name   UOM   Condition    Wt. (lbs)   On Hand Qty    Length    Average Cost       Total Value   WI% Net Value
Arctic Pipe ‐ Houston     Arctic Pipe       31654‐C                    Rack No. C25 (C)   10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II DPLS THREAD                                              EA     NEW        3,126.37         1          42.71                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31660‐B                    Rack No. G16 (C)   9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                              EA     NEW        2,815.32         1          44.83                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31666‐B                    Rack No. A06 (C)   10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II THREAD                                                   EA     USED       12,488.65        4         170.61                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31721‐B                    Rack No. A08 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                           EA     NEW        2,281.09         1          31.77                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31721‐B                    Rack No. A08 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                           EA     NEW        9,494.11         3         132.23                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31721‐B                    Rack No. A08 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                           EA     NEW        23,336.44        8         325.02                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31729‐B                    Rack No. B38 (C)   9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                              EA     NEW        47,700.37       19         759.56                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31729‐C                    Rack No. F08 (C)   9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                              EA     NEW        5,157.14         2          82.12                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31788‐C                    Rack No. N19 (C)   16" DALMINE Q‐125 IC CASING, 96.00#, TSH 513 DPLS THREAD                                                EA     NEW        19,802.88        5         206.28                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31788‐C                    Rack No. N19 (C)   16" DALMINE Q‐125 IC CASING, 96.00#, TSH 513 DPLS THREAD                                                EA     NEW       464,681.28       117       4,840.43                  0
Arctic Pipe ‐ Houston     Arctic Pipe       31967‐B                   Rack No. M21 (C)    17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                               EA     NEW        11,918.45        3         127.47                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31967‐B                   Rack No. M21 (C)    17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 DPLS THREAD                                               EA     NEW       296,149.10       76        3,167.37                  0
Arctic Pipe ‐ Houston     Arctic Pipe       31969‐B                    Rack No. N08 (C)   17 7/8" DALMINE P‐110 CASING, 93.50#, TSH 521 DPLS THREAD                                               EA     NEW        4,259.86         1          45.56                   0
Arctic Pipe ‐ Houston     Arctic Pipe       31970‐B                    Rack No. N08 (C)   17 7/8" DALMINE P‐110 CASING, 93.50#, TSH 521 DPLS THREAD                                               EA     NEW        4,104.65         1          43.90                   0
Arctic Pipe ‐ Houston     Arctic Pipe        32027                     Rack No. J03 (C)   13 5/8" TAMSA TN‐125 HC CASING, 88.20#, HYD 523 THREAD                                                  EA     NEW        71,636.04       19         812.20                   0
Arctic Pipe ‐ Houston     Arctic Pipe       32463‐B                    Rack No. G16 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                           EA     USED       11,151.26        4         155.31                   0
Arctic Pipe ‐ Houston     Arctic Pipe       32463‐B                    Rack No. G16 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                           EA     USED       2,895.69         1          40.33                   0
Arctic Pipe ‐ Houston     Arctic Pipe       32779‐B                    Rack No. N19 (C)   16" DALMINE Q‐125 IC CASING, 96.00#, TSH 513 DPLS THREAD                                                EA     NEW        3,688.32         1          38.42                   0
Arctic Pipe ‐ Houston     Arctic Pipe       32781‐B                    Rack No. C23 (C)   10 3/4" TAMSA TN‐125 HC CASING, 73.20#, MAC II THREAD                                                   EA     NEW        3,087.58         1          42.18                   0
Arctic Pipe ‐ Houston     Arctic Pipe        32887                    Rack No. BLDG (C)   10 3/4" UNKNOWN MFG 41.45 M X‐OVER, 79.20#, TSH 563 PIN THREAD                                          EA     NEW         245.52          1          3.10                    0
Arctic Pipe ‐ Houston     Arctic Pipe       33395‐B                   Rack No. CC06 (C)   16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                        EA     NEW        89,016.96       20         927.26                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33456‐C                   Rack No. CC06 (C)   16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                        EA     NEW        22,329.60        5         232.60                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33457‐B                   Rack No. CC06 (C)   16" DALMINE Q‐125 CASING, 96.00#, HYD 511 THREAD                                                        EA     NEW        4,120.32         1          42.92                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33468‐B                    Rack No. G16 (C)   11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                             EA     NEW        2,805.23         1          39.07                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33469‐B                    Rack No. G16 (C)   11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                             EA     USED       21,109.20        7         294.00                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33469‐B                    Rack No. G16 (C)   11 7/8" TAMSA TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                             EA     USED       13,644.87        4         190.04                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33519‐D                    Rack No. H19 (C)   14" TAMSA Q‐125 ICY PUP JOINTS, 116.00#, TSH 523 THREAD                                                 EA     NEW          0.00           1          0.00                    0
Arctic Pipe ‐ Houston     Arctic Pipe       33521‐B                   Rack No. M21 (C)    9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                              EA     NEW        2,453.60         1          39.07                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33533‐B                   Rack No. M21 (C)    9 7/8" TAMSA TN‐125 HC CASING, 62.80#, TSH 523 DPLS THREAD                                              EA     USED       19,441.00        8         309.57                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33553‐B                   Rack No. BLDG (C)   16" U S STEEL Q‐125 HC X‐OVER, 96.00#, THREAD                                                           EA     NEW        2,310.72         6          24.07                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33554‐B                   Rack No. BLDG (C)   16" U S STEEL Q‐125 HC X‐OVER, 96.00#, THREAD                                                           EA     NEW        2,404.80         6          25.05                   0
Arctic Pipe ‐ Houston     Arctic Pipe       33556‐C                    Rack No. D24 (C)   7 3/4" TAMSA Q‐125 IC CASING, 46.10#, TSH 523 THREAD                                                    EA     NEW        2,138.58         1          46.39                   0

Arctic Pipe ‐ Houston    Arctic Pipe      33558‐B                     Rack No. ACRE (C)   10 3/4" UNKNOWN MFG TN‐125 HC PUP JOINTS, 73.20#, MAC II DPLS THREAD                                   EA      USED         0.00           1          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        33564                      Rack No. D15 (C)   16" DALMINE Q‐125 CASING, 96.00#, TSH 511 THREAD                                                       EA      USED       4,168.32         1          43.42                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33934                      Rack No. F13 (C)   17 7/8" DALMINE P‐110 CASING, 93.50#, TSH 521 DPLS THREAD                                              EA      NEW        42,585.51       11         455.46                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33935                      Rack No. F12 (C)   17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 THREAD                                                   EA      NEW        4,314.09         1          46.14                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33936                      Rack No. F12 (C)   17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 THREAD                                                   EA      NEW        3,833.50         1          41.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33937                      Rack No. F12 (C)   17 7/8" DALMINE P‐110 CASING, 93.50#, HYD 521 THREAD                                                   EA      NEW        3,833.50         1          41.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33952                     Rack No. DD13 (C)   16" DALMINE Q‐125 CASING, 96.00#, TSH 511 THREAD                                                       EA      NEW        49,555.20       12         516.20                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33953                     Rack No. DD10 (C)   16" DALMINE Q‐125 CASING, 96.00#, TSH 511 THREAD                                                       EA      NEW        18,432.00        4         192.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33954                     Rack No. DD13 (C)   16" DALMINE Q‐125 CASING, 96.00#, TSH 511 THREAD                                                       EA      NEW        4,880.64         1          50.84                   0
Arctic Pipe ‐ Houston    Arctic Pipe        33955                     Rack No. DD13 (C)   16" DALMINE Q‐125 CASING, 96.00#, TSH 511 THREAD                                                       EA      NEW        4,497.60         1          46.85                   0
Arctic Pipe ‐ Houston    Arctic Pipe       33974‐E                     Rack No. H19 (C)   14" TAMSA Q‐125 ICY PUP JOINTS, 116.00#, TSH 523 THREAD                                                EA      NEW        1,740.00         1          15.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe      33974‐EE                     Rack No. H19 (C)   14" TAMSA Q‐125 ICY PUP JOINTS, 116.00#, TSH 523 DPLS PIN THREAD                                       EA      NEW          0.00           1          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        33977                     Rack No. BLDG (C)   16" 4330.130 X‐OVER, 96.00#, TSH 511 PIN THREAD                                                        EA      USED        288.00          1          3.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        33978                     Rack No. BLDG (C)   17 7/8" 41.45 M X‐OVER, 93.50#, TSH 511 PIN THREAD                                                     EA      NEW         280.50          1          3.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe      34053‐B                      Rack No. F07 (C)   14" TAMSA TN‐125 HC CASING, 113.00#, TSH 523 DPLS THREAD                                               EA      USED       47,212.53       10         417.81                   0
Arctic Pipe ‐ Houston    Arctic Pipe      34053‐B                      Rack No. F07 (C)   14" TAMSA TN‐125 HC CASING, 113.00#, TSH 523 DPLS THREAD                                               EA      USED       19,043.89        4         168.53                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34086                      Rack No. B05 (C)   10 1/8" JFE JFE125T CASING, 79.22#, SLIJII THREAD                                                      EA      NEW       351,970.50       108       4,442.95                  0
Arctic Pipe ‐ Houston    Arctic Pipe        34091                      Rack No. B05 (C)   10 1/8" JFE JFE125T CASING, 79.22#, SLIJII THREAD                                                      EA      USED       6,618.83         2          83.55                   0
Arctic Pipe ‐ Houston    Arctic Pipe      34092‐B                     Rack No. CROA (C)   11 7/8" TENARIS Q‐125 HC PUP JOINTS, 71.80#, HYD 523 THREAD                                            EA      NEW         718.00          1          10.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe      34093‐B                     Rack No. CROA (C)   11 7/8" TENARIS Q‐125 HC PUP JOINTS, 71.80#, HYD 523 DPLS PIN THREAD                                   EA      USED        718.00          1          10.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe      34094‐B                     Rack No. CROA (C)   11 7/8" TENARIS Q‐125 HC PUP JOINTS, 71.80#, HYD 523 DPLS BOX THREAD                                   EA      NEW         718.00          1          10.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34100                      Rack No. A06 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                          EA      USED       25,716.61        9         358.17                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34101                     Rack No. ACRE (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, HYD 523 DPLS PIN THREAD                                      EA      USED       1,493.44         1          20.80                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34102                     Rack No. ACRE (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, THREAD                                                       EA      USED       1,062.64         1          14.80                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34103                      Rack No. G07 (C)   10 1/8" JFE JFE125T CASING, 79.22#, SLIJII THREAD                                                      EA      NEW        48,720.30       15         615.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34105                      Rack No. A06 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                          EA      NEW        23,056.42        8         321.12                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34149                     Rack No. BLDG (C)   10 1/8" UNKNOWN MFG 4330.130 X‐OVER, 79.22#, SLIJII PIN THREAD                                         EA      NEW         213.89          1          2.70                    0
Arctic Pipe ‐ Houston    Arctic Pipe      34150‐B                     Rack No. BLDG (C)   14" UNKNOWN MFG 4330.130 X‐OVER, 113.00#, TSH 523 PIN THREAD                                           EA      USED        349.17          1          3.09                    0
Arctic Pipe ‐ Houston    Arctic Pipe        34151                     Rack No. BLDG (C)   7 3/4" UNKNOWN MFG 4330.130 X‐OVER, 46.10#, TSH 523 PIN THREAD                                         EA      NEW         124.01          1          2.69                    0
Arctic Pipe ‐ Houston    Arctic Pipe        34152                     Rack No. BLDG (C)   11 7/8" UNKNOWN MFG 4141‐.130 X‐OVER, 71.80#, TSH 523 PIN THREAD                                       EA      NEW         203.19          1          2.83                    0
Arctic Pipe ‐ Houston    Arctic Pipe        34181                      Rack No. E12 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                          EA      USED       2,866.97         1          39.93                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34181                      Rack No. E12 (C)   11 7/8" TENARIS TN‐125 HC CASING, 71.80#, TSH 523 DPLS THREAD                                          EA      USED       17,373.45        6         241.97                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34182                      Rack No. F12 (C)   10 1/8" JFE JFE125T CASING, 79.22#, SLIJII THREAD                                                      EA      USED       12,913.65        4         163.01                   0
Arctic Pipe ‐ Houston    Arctic Pipe        34926                      Rack No. A07 (C)   14" TAMSA Q‐125 HP X‐OVER, 113.00#, HYD 523 THREAD                                                     EA      NEW        2,481.48         1          21.96                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36073‐C                     Rack No. DD06 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      NEW        4,429.60         1          39.20                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36073‐C                     Rack No. DD06 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      NEW        39,126.25        9         346.25                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36256‐B                      Rack No. D08 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED       17,946.66        4         158.82                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36256‐B                     Rack No. DD09 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED       15,400.77        4         136.29                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36256‐C                      Rack No. D06 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED       8,890.84         2          78.68                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36256‐C                     Rack No. DD07 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED      102,338.45       23         905.65                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36256‐C                      Rack No. G08 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED      364,709.76       82        3,227.52                  0
Arctic Pipe ‐ Houston    Arctic Pipe      36256‐C                      Rack No. N09 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED      547,064.64       123       4,841.28                  0
Arctic Pipe ‐ Houston    Arctic Pipe      36274‐C                      Rack No. D34 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED       4,551.64         1          40.28                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36274‐C                      Rack No. D34 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED      121,289.68       27        1,073.36                  0
Arctic Pipe ‐ Houston    Arctic Pipe      36292‐C                     Rack No. DD06 (C)   14" TENARIS Q‐125 ICY CASING, 116.00#, TSH 523 THREAD                                                  EA      USED      132,205.20       28        1,139.70                  0
Arctic Pipe ‐ Houston    Arctic Pipe      36293‐C                     Rack No. DD07 (C)   14" TENARIS Q‐125 ICY CASING, 116.00#, TSH 523 THREAD                                                  EA      USED       23,560.76        5         203.11                   0
Arctic Pipe ‐ Houston    Arctic Pipe      36464‐C                     Rack No. DD07 (C)   14" TENARIS TN‐125 HC CASING, 113.00#, TSH 523 THREAD                                                  EA      USED       13,571.30        3         120.10                   0
Arctic Pipe ‐ Houston    Arctic Pipe        39628                     Rack No. ACRE (C)   16 1/4" TENARIS Q‐125 ICY CASING, 136.50#, TSH 613 DPLS THREAD                                         EA      NEW       705,159.00       126       5,166.00                  0
Arctic Pipe ‐ Houston    Arctic Pipe        39628                      Rack No. B26 (C)   16 1/4" TENARIS Q‐125 ICY CASING, 136.50#, TSH 613 DPLS THREAD                                         EA      NEW       324,804.48       58        2,379.52                  0
Arctic Pipe ‐ Houston    Arctic Pipe        39628                      Rack No. B29 (C)   16 1/4" TENARIS Q‐125 ICY CASING, 136.50#, TSH 613 DPLS THREAD                                         EA      NEW       362,750.12       63        2,657.51                  0
Arctic Pipe ‐ Houston    Arctic Pipe        39628                      Rack No. B38 (C)   16 1/4" TENARIS Q‐125 ICY CASING, 136.50#, TSH 613 DPLS THREAD                                         EA      NEW        78,351.00       14         574.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        39628                      Rack No. B39 (C)   16 1/4" TENARIS Q‐125 ICY CASING, 136.50#, TSH 613 DPLS THREAD                                         EA      NEW        16,789.50        3         123.00                   0
Arctic Pipe ‐ Houston    Arctic Pipe        39628                      Rack No. L13 (C)   16 1/4" TENARIS Q‐125 ICY CASING, 136.50#, TSH 613 DPLS THREAD                                         EA      NEW       392,795.13       70        2,877.62                  0
Arctic Pipe ‐ Houston    Arctic Pipe        40029                     Rack No. ACRE (C)   10 1/8" JFE UHP‐15CR‐125 CASING, 79.30#, PLAIN END THREAD                                              EA      NEW        64,819.82       20         817.40                   0
Arctic Pipe ‐ Houston    Arctic Pipe        44001                      Rack No. H17 (A)   LINE PIPE 8 5/8" 1.316" 105# UKN GRADE VALLOUREC (BARE) 40 FT AVG                                      EA                200,000.00       20          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        44002                      Rack No. H17 (A)   LINE PIPE 6" X 1.04" 62.10# PLAIN END TENARIS (BARE)                                                   EA                 13,000.00       13          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        44003                      Rack No. H17 (A)   LINE PIPE 8.625" X 1.201" 95# UKN GRADE (BARE)                                                         EA                 11,000.00       11          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        44004                      Rack No. H17 (A)   LINE PIPE 8.625" X 1.201" 95# UKN GRADE (COATED)                                                       EA                 6,000.00         6          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe        44111                      Rack No. H17 (A)   LINE PIPE 10.75" X 0.625" 68.1# UKN GRADE PE TENARIS (BARE)                                            EA                 5,000.00         5          0.00                    0
Arctic Pipe ‐ Houston    Arctic Pipe      44111‐B                      Rack No. H17 (A)   LINE PIPE 10.75" X 0.625" 68.1# UKN GRADE PE TENARIS (COATED)                                          EA                 4,000.00         4          0.00                    0




                                                                                                                                              50
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        Facility           Facility Owner       Item Number          Serial No.   Location     Item Description                                                                         Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                               E SubSea Connector, Wet mate equipment pelican case. Included test plugs, THRT
Baker Hughes ‐ Broussard   Baker Hughes        Wet Mate Box B                     South wall   back up tools, spare parts.                                                                                    TA3          EA      Used                      1                              0
Baker Hughes ‐ Broussard   Baker Hughes        PGA‐30‐003_C                          E‐3       E TEC, TEC 0.250_OD 28WT_INC 1C E_11S 110C                                                                     TA‐3         EA      Used                    20443                          4.5
                                                                                               E SubSea Connector, Wet mate equipment pelican case. Included rebuild kits
Baker Hughes ‐ Broussard   Baker Hughes        Wet Mate Box A                     South wall   primary male back up female and male.                                                                          TA3          EA      Used                       1                                0
                                                                                               E SubSea Connector, Primary Install Box ‐ Wet Mate Equipment, Male to be
                                                                                               installed into Tubing Hanger
                                                                                               Gold Pins (Part of MWC) PMP‐0178 qty 3
                                                                                               Male Wetmate Connector (MWC)PGA‐50‐056 Qty 1 SN 11890392 (Primary,
                                                                                               used for SIT. Needs to be rebuilt.)
Baker Hughes ‐ Broussard   Baker Hughes        Wet Mate Box C                     South wall   MWC Rebuild KitsPFIK                                                                                           TA3          EA      Used                       1                                0
Baker Hughes ‐ Broussard   Baker Hughes         PFRK‐24‐6870                       Locker 7    E Fitting, FRK Inc 825 0.25" D Gauge CH_S T/T                                                                  TA3          EA                                 3                                0
                                                                                               E Fitting, SEAL CARRIER 1.368 IN OD 0.258 IN ID 2.904 IN LG BMS‐S308 17‐4 PH
Baker Hughes ‐ Broussard   Baker Hughes          H0J0290300                        Locker 7    100 MYS 29‐33 HRC CRITICAL DRW: J02‐903‐00.1                                                                   TA3          EA                                 3                         1298
                                                                                               E Fitting, CHAMFERED SEAL 95 DURO FKM (VITON) 1.225 IN OD .939 IN ID .177 IN
                                                                                               LG CRITICAL BATCH MANAGED F/ WELL FLUID: CALCIUM BROMIDE F/
Baker Hughes ‐ Broussard   Baker Hughes           10413131                         Locker 7    TEMPERATURE: 166 DEG F F/ STATIC APPLICATION                                                                   TA3          EA                                22                         90.12

                                                                                               E Fitting, BACK‐UP RING 200 SERIES 1.180/1.183 IN OD .960/.963 IN ID 0.078 IN LG
                                                                                               BPS‐F202 (PE35) BACK‐UP RINGS W/SCARF 45‐DEG CONCAVE CRITICAL BATCH
Baker Hughes ‐ Broussard   Baker Hughes          10413129                          Locker 7    MANAGED .048 IN THICKNESS VIRGIN PEEK DRW: 274‐262‐01.21                                                       TA3          EA                                22                         19.81
Baker Hughes ‐ Broussard   Baker Hughes         HWWB123V40                         Locker 7    E Fitting, O‐RING 123 BPS‐B201 (V40) VITON 90 DURO                                                             TA3          EA                                22                          8.15
                                                                                               E SubSea Connector, Wet mate equipment yellow tool box. Included special install
Baker Hughes ‐ Broussard   Baker Hughes     Wet Mate Special Tools                 Locker 7    tools.                                                                                                         TA3          EA      Used                       1                             0
Baker Hughes ‐ Broussard   Baker Hughes        HWWB023V40                          Locker 7    E Fitting, 023 O‐RING BPS‐B201 (V40) O‐RING                                                                    TA3          EA                                22                          5.08
Baker Hughes ‐ Broussard   Baker Hughes          10316238                          Locker 7    E Fitting, Fitting 1/4" INC825 Swagelock Nut, INC825‐402‐1                                                     TA3          EA      Scrap                     30                         44.56
Baker Hughes ‐ Broussard   Baker Hughes        HWWB213V40                          Locker 7    E Accessory, 213 O‐RING BPS‐B201Q (V40) O‐RING                                                                 TA3          EA                                22                          8.98
                                                                                               E Fitting, Swagelok 1/4" Inc 825 Ferrule Set Front Ferrule 825‐403‐1 Back Ferrule
Baker Hughes ‐ Broussard   Baker Hughes          PMA‐6828                          Locker 7    825‐404‐1 Front & Rear, Pt No. 825‐400‐SET                                                                    TA3           EA                               30                          51.24
Baker Hughes ‐ Broussard   Baker Hughes        PGA‐33‐09436_C                       CON 6      CI Control Line, Tube 1/4" x 0.065" WT INC825, Encap                                                        MC 353 #1       EA                              1500                          7.89
Baker Hughes ‐ Broussard   Baker Hughes        PGA‐34‐09434_C                        D‐5       CI Control Line, Dual FPC Santoprene 2 x 1/4 Tube Incoloy                                                   MC 353 #1       EA                              13300                         7.89
                                                                                               E Gauge, DHPT Gauge, Triple SurSENS 175HP Gauge for IWS: tbg/ann/ remote
                                                                                               (shroud), 30,000 psia, 200C, Accuracy: .02%, Resolution: .0001 psi, temp res:
Baker Hughes ‐ Broussard   Baker Hughes       H307050025RNB1                       1‐13‐B      .0001F, ext testable connection                                                                                             EA      New                        1                       112500

                                                                                               CI Special Tool, Y‐Block, 1/2" Control line, f/5.5" 29.7#, Alloy 718, Ext Testable Jam
Baker Hughes ‐ Broussard   Baker Hughes       H308330005RNB1                       1‐15‐BL     Nut fittings, Alloy 718, one 1/2" top, two 1/2" down, four bypass slots, 15K Rated                        Green SS #2 ST2   EA      New                        1                         29680
Baker Hughes ‐ Broussard   Baker Hughes       H307940423RNB1                       1‐23‐AL     Protector, Cannon ‐ 4500‐A‐06                                                                               Blue SS #4      EA      New                        4                         79.81
Baker Hughes ‐ Broussard   Baker Hughes       H307940425RNB1                       1‐23‐AL     Protector ‐ Stand‐off, Cannon ‐ 5500‐A‐06N11.3G1.16                                                         Blue SS #4      EA      New                        1                          1740
Baker Hughes ‐ Broussard   Baker Hughes       H307940427RNB1                       1‐23‐AL     Protector ‐ Stand‐off, Cannon ‐ 6248‐B‐72RG1.57‐XT                                                          Blue SS #4      EA      New                        1                        931.25
Baker Hughes ‐ Broussard   Baker Hughes       H307940424RNB1                       1‐23‐AL     Protector ‐ Stand‐off, Cannon ‐ 4500‐A‐06N9.6G1.66                                                          Blue SS #4      EA      New                        1                          1740
Baker Hughes ‐ Broussard   Baker Hughes     H307940418RNB1‐MOD                     1‐23‐AL     Protector ‐ Stand‐off, Cannon ‐ 6248‐A‐72R/06DCG1.57‐XT‐MOD                                                 Blue SS #4      EA      New                        1                        1862.5
Baker Hughes ‐ Broussard   Baker Hughes       H307940419RNB1                       1‐23‐AL     Protector, Cannon ‐ 5500‐A‐72R/77DC                                                                         Blue SS #4      EA      New                       22                        121.69
Baker Hughes ‐ Broussard   Baker Hughes     H307940427RNB1‐MOD                     1‐23‐AL     Protector ‐ Stand‐off, Cannon ‐ 6248‐B‐72RG1.57‐XT‐MOD                                                      Blue SS #4      EA      New                        1                        931.25
Baker Hughes ‐ Broussard   Baker Hughes       H307940422RNB1                       1‐23‐AL     Protector ‐ Mid Joint, Cannon ‐ 5500‐C‐72R/77DC                                                             Blue SS #4      EA      New                        3                          60.5
Baker Hughes ‐ Broussard   Baker Hughes       H307940440RNB1                       1‐23‐AL     Protector ‐ Mid Joint, Cannon ‐ 4500‐C‐06                                                                   Blue SS #4      EA      New                        3                         39.88
Baker Hughes ‐ Broussard   Baker Hughes       H307940445RNB1                       1‐23‐AL     Protector ‐ Splice, Cannon ‐ 4500‐30‐06                                                                     Blue SS #4      EA      New                        2                           589
Baker Hughes ‐ Broussard   Baker Hughes       H307940447RNB1                       1‐23‐AL     Protector ‐ Splice, Cannon ‐ 5500‐30‐72R                                                                    Blue SS #4      EA      New                        2                           589
Baker Hughes ‐ Broussard   Baker Hughes       H307940446RNB1                       1‐23‐AL     Protector ‐ Splice, Cannon ‐ 5500‐40‐72R/77DC                                                               Blue SS #4      EA      New                        2                          1106
Baker Hughes ‐ Broussard   Baker Hughes       H307940426RNB1                       1‐23‐AR     Protector, Cannon ‐ 5500‐A‐72R                                                                              Blue SS #4      EA      New                       76                         87.31
Baker Hughes ‐ Broussard   Baker Hughes       H307940428RNB1                         1‐6‐A     Protector, Cannon ‐ 4500‐A‐81                                                                             Green SS #2 ST2   EA      New                        4                         79.81
Baker Hughes ‐ Broussard   Baker Hughes     H307940448RNB1‐MOD                       1‐6‐A     Protector ‐ Stand‐off, Cannon ‐ 6248‐B‐61RG1.57‐XT‐MOD                                                    Green SS #2 ST2   EA      New                        1                        931.25
Baker Hughes ‐ Broussard   Baker Hughes       H307940432RNB1                         1‐6‐A     Protector ‐ Stand‐off, Cannon ‐ 5500‐A‐81N11.3G1.16                                                       Green SS #2 ST2   EA      New                        1                          1740
Baker Hughes ‐ Broussard   Baker Hughes       H307940433RNB1                         1‐6‐A     Protector ‐ Stand‐off, Cannon ‐ 4500‐A‐81N9.6G1.66                                                        Green SS #2 ST2   EA      New                        1                          1740
Baker Hughes ‐ Broussard   Baker Hughes       H307940421RNB1                         1‐6‐A     Protector, Cannon ‐ 5500‐55‐72R/77DC                                                                        Blue SS #4      EA      New                        2                          1105
Baker Hughes ‐ Broussard   Baker Hughes       H307940448RNB1                         1‐6‐A     Protector ‐ Stand‐off, Cannon ‐ 6248‐B‐61RG1.57‐XT                                                        Green SS #2 ST2   EA      New                        1                        931.25
Baker Hughes ‐ Broussard   Baker Hughes       H307940417RNB1                         1‐6‐A     Protector ‐ Mid Joint, Cannon ‐ 4500‐C‐81                                                                 Green SS #2 ST2   EA      New                        3                          42.5
Baker Hughes ‐ Broussard   Baker Hughes       H307940435RNB1                         1‐6‐A     Protector ‐ Splice, Cannon ‐ 4500‐30‐81                                                                   Green SS #2 ST2   EA      New                        2                           589
Baker Hughes ‐ Broussard   Baker Hughes       H307940434RNB1                         1‐6‐A     Protector ‐ Mid Joint, Cannon ‐ 5500‐C‐61R/77DC                                                           Green SS #2 ST2   EA      New                        1                          64.5
Baker Hughes ‐ Broussard   Baker Hughes       H307940430RNB1                         1‐6‐A     Protector ‐ X‐Over, Cannon ‐ 5500/7063‐40‐61R/77DCXO                                                      Green SS #2 ST2   EA      New                        1                          1106
Baker Hughes ‐ Broussard   Baker Hughes       H307940438RNB1                         1‐6‐A     Protector ‐ VIT, Cannon ‐ 72058 ‐ VIT Sleeve                                                              Green SS #2 ST2   EA      New                        5                          2860
Baker Hughes ‐ Broussard   Baker Hughes       H307940437RNB1                         1‐6‐A     Protector ‐ VIT, Cannon ‐ 72057 ‐ VIT Sleeve                                                              Green SS #2 ST2   EA      New                       14                          2594
Baker Hughes ‐ Broussard   Baker Hughes       H307940429RNB1                         1‐6‐A     Protector ‐ VIT, Cannon ‐ 7063‐50‐61R_77DCSVIT                                                            Green SS #2 ST2   EA      New                       13                        756.25
Baker Hughes ‐ Broussard   Baker Hughes       H307940444RNB1                         1‐6‐A     Protector ‐ X‐Over, Cannon ‐ 7063_5500‐40‐61R_77DCXO                                                      Green SS #2 ST2   EA      New                        1                       1106.25
Baker Hughes ‐ Broussard   Baker Hughes       H307940436RNB1                         1‐6‐A     Protector ‐ Splice, Cannon ‐ 5500‐40‐61R/77DC                                                             Green SS #2 ST2   EA      New                        2                          1106
Baker Hughes ‐ Broussard   Baker Hughes       H307940439RNB1                         1‐6‐A     Protector ‐ Splice, Cannon ‐ 5500‐30‐61R                                                                  Green SS #2 ST2   EA      New                        2                           589
Baker Hughes ‐ Broussard   Baker Hughes       H307940442RNB1                         1‐6‐A     Protector, Cannon ‐ 5500‐A‐61R_77DC                                                                       Green SS #2 ST2   EA      New                       19                        121.69
Baker Hughes ‐ Broussard   Baker Hughes       H307940443RNB1                         1‐6‐A     Protector, Cannon ‐ 5500‐55‐61R_77DC                                                                      Green SS #2 ST2   EA      New                        2                          1105
Baker Hughes ‐ Broussard   Baker Hughes     H307940441RNB1‐MOD                       1‐6‐A     Protector ‐ Stand‐off, Cannon ‐ 6248‐A‐61R/06DCG1.57‐XT‐MOD                                               Green SS #2 ST2   EA      New                        1                        1872.5
Baker Hughes ‐ Broussard   Baker Hughes       H307940431RNB1                         1‐6‐A     Protector, Cannon ‐ 5500‐A‐61R                                                                            Green SS #2 ST2   EA      New                       56                         91.69
Baker Hughes ‐ Broussard   Baker Hughes        H811564300RT                         1‐6‐BR     SurSet ‐ Run / Pull Tool, 2.750 IN X 2.812 MODEL D PROBE                                                  Green SS #2 ST2   EA                                 1                          1228
Baker Hughes ‐ Broussard   Baker Hughes        H811564300RT                         1‐6‐BR     SurSet ‐ Run / Pull Tool, 2.750 IN X 2.812 MODEL D PROBE                                                  Green SS #2 ST2   EA                                 1                          1228

                                                                                               SurSet ‐ Lock / Plug, 3.312 EQUALIZING CHECK VALVE AOFT‐2 BMS‐S210 13 CR 80
                                                                                               MYS 22 HRC MAX BCS‐A404 QPQ OR PLASMA NITRIDING 10,000 WP ABOVE BPS‐
                                                                                               C501 (KV65) 65D VTN CVN 3.385 IN OD 1.250 IN DIA OF BALL 3.312 AF PROFILE
Baker Hughes ‐ Broussard   Baker Hughes       H809660014NGNE                       1‐6‐BR      CO2 & H2S SERVICE BPS‐C501 (KV65) PACKING UNIT CRITICAL                                                   Green SS #2 ST2   EA                                 1                        14957

                                                                                               SurSet ‐ Lock / Plug, 3.312 EQUALIZING CHECK VALVE AOFT‐2 BMS‐S210 13 CR 80
                                                                                               MYS 22 HRC MAX BCS‐A404 QPQ OR PLASMA NITRIDING 10,000 WP ABOVE BPS‐
                                                                                               C501 (KV65) 65D VTN CVN 3.385 IN OD 1.250 IN DIA OF BALL 3.312 AF PROFILE
Baker Hughes ‐ Broussard   Baker Hughes       H809660014NGNE                       1‐6‐BR      CO2 & H2S SERVICE BPS‐C501 (KV65) PACKING UNIT CRITICAL                                                   Green SS #2 ST2   EA                                 1                        14957
Baker Hughes ‐ Broussard   Baker Hughes        H811550701RT                        1‐6‐BR      SurSet ‐ Run / Pull Tool, 2.750 IN 2.812 IN WIRELINE RUNNING TOOL A                                       Green SS #2 ST2   EA                                 1                         6272
Baker Hughes ‐ Broussard   Baker Hughes        H811550701RT                        1‐6‐BR      SurSet ‐ Run / Pull Tool, 2.750 IN 2.812 IN WIRELINE RUNNING TOOL A                                       Green SS #2 ST2   EA                                 1                         6272
                                                                                               , DISTRICT MADE UPPER BODY BMS‐A098 41XX OR P110 STEEL 110 MYS STD
                                                                                               4.500 IN 12.75 LB/FT EU 8RD BOX UP 6.250 IN STUB ACME PIN DOWN LEFT HAND
Baker Hughes ‐ Broussard   Baker Hughes          10485888                          1‐6‐BR      THREAD DOWN 7.015 IN OD 18.000 IN LG                                                                         Blue Well      EA                                1                          2350
Baker Hughes ‐ Broussard   Baker Hughes       H307980033RNB1                        D‐15       E TEC, 1/4" x .049" TEC INC 825 FEP Filler                                                                Green SS #2 ST2   EA      New                     21344                         4.3
Baker Hughes ‐ Broussard   Baker Hughes       H308190058RNB1                        D‐17       CI Control Line, Dual 3/8" x .065" Enhanced Properties Flatpack MYS 70 KSI                                Green SS #2 ST2   EA      New                     21494                        8.36

Baker Hughes ‐ Broussard   Baker Hughes       H308190059RNB1                         E‐15      Control Line ‐ IWS, Triple 1/4" x .049" Enhanced Properties Flatpack MYS 65KSI                            Green SS #2 ST2   EA      New                     18764                         6.53
Baker Hughes ‐ Broussard   Baker Hughes       H308190060RNB1                          F‐6      CI Control Line, Dual 1/4" x .049" Enhanced Properties Flatpack MYS 65KSI                                 Green SS #2 ST2   EA      New                     6994                          4.36
Baker Hughes ‐ Broussard   Baker Hughes          10474034                          Locker 7    E Fitting, TEC splice Installation kit w/C‐276                                                            Green SS #2 ST2   EA      New                       1                              0
Baker Hughes ‐ Broussard   Baker Hughes          10474034                          Locker 7    E Fitting, TEC splice Installation kit w/C‐276                                                            Green SS #2 ST2   EA      New                       1                              0




                                                                                                                                                              51
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        Facility           Facility Owner    Item Number     Serial No.   Location     Item Description                                                                        Project Number     Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value   WI% Net Value
                                                                                       CI Splice, 1/2" Splice, Hydraulic, testable, Ni Alloy 718, for 1/2" Upper CIV control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569420RNB1                 Locker 7    lines, 20K rated (JAMNUT)                                                                                 Green SS #2 ST2    EA      New                        1                         2920
                                                                                       CI Splice, 1/2" Splice, Hydraulic, testable, Ni Alloy 718, for 1/2" Upper CIV control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569420RNB1                 Locker 7    lines, 20K rated (JAMNUT)                                                                                 Green SS #2 ST2    EA      New                        1                         2920
Baker Hughes ‐ Broussard   Baker Hughes     H307970007RNB1                 Locker 7    E Splice, TEC Splice Kit, f / 1/4" line, .75" OD, 30K psi rated, NACE, MP35N                              Green SS #2 ST2    EA      New                        1                         6145
                                                                                       CI Valve, SureTreat CIV 15K/20K, Inj Block valve, 3/8" CL, JamNut x 9/16” AEMP
Baker Hughes ‐ Broussard   Baker Hughes     H308230018RNB1                 Locker 7    w/Anti‐vibe, Dual checks, Alloy 718                                                                       Green SS #2 ST2    EA      New                        1                        19840
                                                                                       CI Valve, SureTreat CIV 15K/20K, Inj Block valve, 3/8" CL, JamNut x 9/16” AEMP
Baker Hughes ‐ Broussard   Baker Hughes     H308230018RNB1                 Locker 7    w/Anti‐vibe, Dual checks, Alloy 718                                                                       Green SS #2 ST2    EA      New                        1                        19840
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                      Blue SS #4       EA      New                        1                         2285
Baker Hughes ‐ Broussard   Baker Hughes     H307970007RNB1                 Locker 7    E Splice, TEC Splice Kit, f / 1/4" line, .75" OD, 30K psi rated, NACE, MP35N                                Blue SS #4       EA      New                        1                         6145
Baker Hughes ‐ Broussard   Baker Hughes     H307970007RNB1                 Locker 7    E Splice, TEC Splice Kit, f / 1/4" line, .75" OD, 30K psi rated, NACE, MP35N                              Green SS #2 ST2    EA      New                        1                         6145
                                                                                       CI Valve, SureTreat CIV 15K, Inj Block valve, 1/2" CL, JamNut x 9/16” AEMP w/Anti‐
Baker Hughes ‐ Broussard   Baker Hughes     H308230017RNB1                 Locker 7    vibe, Dual checks, Alloy 718                                                                              Green SS #2 ST2    EA      New                        1                        19840
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                    Green SS #2 ST2    EA      New                        1                         2285
                                                                                       CI Splice, 3/8" Splice, Hydraulic, testable, Ni Alloy 718, for 3/8" Lwr CIVs control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569418RNB1                 Locker 7    lines, 20K psi rated (JAMNUT)                                                                               Blue SS #4       EA      New                        1                         2650
Baker Hughes ‐ Broussard   Baker Hughes     H308310014RNB1                 Locker 7    CI Accessory, 11.5k Parting Piston                                                                        Green SS #2 ST2    EA      New                        1                            0
Baker Hughes ‐ Broussard   Baker Hughes     H308310014RNB1                 Locker 7    CI Accessory, 11.5k Parting Piston                                                                        Green SS #2 ST2    EA      New                        1                            0
Baker Hughes ‐ Broussard   Baker Hughes     H308310014RNB1                 Locker 7    CI Accessory, 11.5k Parting Piston                                                                        Green SS #2 ST2    EA      New                        1                            0
Baker Hughes ‐ Broussard   Baker Hughes        10465505                    Locker 7    E Fitting, Redress Kit, SureSENS 175 Triple Gauge, Autoclave connection                                   Green SS #2 ST2    EA      New                        1                          448
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                       Blue SS #4      EA      New                        1                         2285
Baker Hughes ‐ Broussard   Baker Hughes        10465503                    Locker 7    E Fitting, Installation Kit, SureSENS 175HP Dual Gauge, Autoclave conn.                                      Blue SS #4      EA      New                        1                         1080
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                    Green SS #2 ST2    EA      New                        1                         2285
                                                                                       CI Valve, SureTreat CIV 15K, Inj Block valve, 1/2" CL, JamNut x 9/16” AEMP w/Anti‐
Baker Hughes ‐ Broussard   Baker Hughes     H308230017RNB1                 Locker 7    vibe, Dual checks, Alloy 718                                                                              Green SS #2 ST2    EA      New                        1                        19840
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                    Green SS #2 ST2    EA      New                        1                         2285
                                                                                       CI Splice, 1/2" Splice, Hydraulic, testable, Ni Alloy 718, for 1/2" Upper CIV control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569420RNB1                 Locker 7    lines, 20K rated (JAMNUT)                                                                                    Blue SS #4      EA      New                        1                         2920
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                       Blue SS #4      EA      New                        1                         2285
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                    Green SS #2 ST2    EA      New                        1                         2285

                                                                                       , 1.230 IN BACK‐UP RING 1.232 IN OD 1.013
                                                                                       IN ID .227 IN LG BPS‐F202 (PE30) BACK‐UP RINGS W/SCARF CUSTOM CRITICAL
Baker Hughes ‐ Broussard   Baker Hughes       H0A0160900                   Locker 7    BATCH MANAGED F/DOVE‐TAIL O‐RING GROOVES C1 CRITICAL TO HSE                                                 Green Well       EA                                 1                          92.8
                                                                                       CI Splice, 1/2" Splice, Hydraulic, testable, Ni Alloy 718, for 1/2" Upper CIV control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569420RNB1                 Locker 7    lines, 20K rated (JAMNUT)                                                                                    Blue SS #4      EA      New                        1                         2920
                                                                                       CI Splice, 3/8" Splice, Hydraulic, testable, Ni Alloy 718, for 3/8" Lwr CIVs control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569418RNB1                 Locker 7    lines, 20K psi rated (JAMNUT)                                                                                Blue SS #4      EA      New                        1                         2650
                                                                                       CI Splice, 3/8" Splice, Hydraulic, testable, Ni Alloy 718, for 3/8" Lwr CIVs control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569418RNB1                 Locker 7    lines, 20K psi rated (JAMNUT)                                                                             Green SS #2 ST2    EA      New                        1                         2650
                                                                                       CI Splice, 3/8" Splice, Hydraulic, testable, Ni Alloy 718, for 3/8" Lwr CIVs control
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569418RNB1                 Locker 7    lines, 20K psi rated (JAMNUT)                                                                             Green SS #2 ST2    EA      New                        1                         2650
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                    Green SS #2 ST2    EA      New                        1                         2285
Baker Hughes ‐ Broussard   Baker Hughes     H308310014RNB1                 Locker 7    CI Accessory, 11.5k Parting Piston                                                                        Green SS #2 ST2    EA      New                        1                            0
                                                                                       CI Splice, 1/4" Splice, Hydraulic, testable, Ni Alloy 718,, f HCM lines @ splice sub
Baker Hughes ‐ Broussard   Baker Hughes     H0A1569419RNB1                 Locker 7    and SCSSV + BU, 20K psi rated (JAMNUT)                                                                    Green SS #2 ST2    EA      New                        1                         2285

                                                                                       , 1.230 IN BACK‐UP RING 1.232 IN OD 1.013
                                                                                       IN ID .227 IN LG BPS‐F202 (PE30) BACK‐UP RINGS W/SCARF CUSTOM CRITICAL
Baker Hughes ‐ Broussard   Baker Hughes       H0A0160900                   Locker 7    BATCH MANAGED F/DOVE‐TAIL O‐RING GROOVES C1 CRITICAL TO HSE                                                 Green Well       EA                                 7                         649.6
Baker Hughes ‐ Broussard   Baker Hughes        10474035                    Locker 7    E Fitting, TEC splice redress kit w/C‐276                                                                 Green SS #2 ST2    EA      New                        1                             0
Baker Hughes ‐ Broussard   Baker Hughes        10474035                    Locker 7    E Fitting, TEC splice redress kit w/C‐276                                                                 Green SS #2 ST2    EA      New                        1                             0
Baker Hughes ‐ Broussard   Baker Hughes        10474035                    Locker 7    E Fitting, TEC splice redress kit w/C‐276                                                                 Green SS #2 ST2    EA      New                        1                             0
Baker Hughes ‐ Broussard   Baker Hughes        10474035                    Locker 7    E Fitting, TEC splice redress kit w/C‐276                                                                   Blue SS #4       EA      New                        1                             0
Baker Hughes ‐ Broussard   Baker Hughes        10474035                    Locker 7    E Fitting, TEC splice redress kit w/C‐276                                                                   Blue SS #4       EA      New                        1                             0
Baker Hughes ‐ Broussard   Baker Hughes        10474034                    Locker 7    E Fitting, TEC splice Installation kit w/C‐276                                                              Blue SS #4       EA      New                        1                             0
Baker Hughes ‐ Broussard   Baker Hughes        10485883                   South wall   CI Accessory, Teflon Sleeve for 1/2" Control Line                                                         Green SS #2 ST2    EA      New                       300                        16.44

                                                                                       LANDING COLLAR TYPE II W/BAFFLE 5.500 IN 20.00 LB/FT ATLAS BRADFORD ST‐L
                                                                                       BOX UP 5.500 IN 20.00 LB/FT ATLAS BRADFORD ST‐L PIN DOWN 5.545 IN OD                                     EUGENE ISLAND 354
 Baker Hughes ‐ Houma      Baker Hughes       266730541                                4.688 IN ID 2,365 PSI SHEAR 1.500 IN DIA OF BALL 125 KSI MYS (API 5CT)                                          A‐6          EA                                 1                       5628.75
                                                                                       CROSSOVER BUSHING 10.125 IN 79.22 LB/FT SEAL LOCK SF BOX UP 9.875 IN 62.80
                                                                                       LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN
 Baker Hughes ‐ Houma      Baker Hughes      299894585ST1                              Q125 CR‐MO TBLR 125 MYS 10.259 IN OD 8.531 IN ID 18.000 IN LG API 5CT                                     NOBLE BUY OUT      EA                                 1                        11401
                                                                                       CROSSOVER BUSHING 9.875 IN 62.80 LB/FT TENARISHYDRIL WEDGE 523 BOX UP
                                                                                       10.125 IN 79.22 LB/FT SEAL LOCK SF PIN DOWN
 Baker Hughes ‐ Houma      Baker Hughes      299894045ST1                              Q125 CR‐MO TBLR 125 MYS 10.140 IN OD 8.530 IN ID 18.000 IN LG API 5CT                                     NOBLE BUY OUT      EA                                 1                        12304
                                                                                       CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 10.125 IN 79.22
                                                                                       LB/FT SEAL LOCK SF PIN DOWN Q125 CR‐MO TBLR
 Baker Hughes ‐ Houma      Baker Hughes      299894639ST1                              125 MYS 10.962 IN OD 8.530 IN ID 18.000 IN LG API 5CT                                                     NOBLE BUY OUT      EA                                 1                        15884
                                                                                       CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 9.875 IN 62.80
                                                                                       LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN Q125
 Baker Hughes ‐ Houma      Baker Hughes      299894023ST1                              CR‐MO TBLR 125 MYS 10.952 IN OD 8.541 IN ID 18.00 IN LG API 5CT                                           NOBLE BUY OUT      EA                                 1                        12798
                                                                                       LINER PACKER W/HRD‐E PROFILE AND HOLD DOWN 9.875 IN 67.50 LB/FT VAM
                                                                                       SLIJ II BOX DOWN 13.375 IN 61.0‐72.0 LB/FT CSG
                                                                                       11.750 IN EXT OD 10.188 IN EXT ID 20.00 FT EXT LG C‐110 TYPE PBR EXT 12.000 IN
 Baker Hughes ‐ Houma      Baker Hughes      296450161ST1                              OD 8.535 IN ID (MUST DRIFT 8.500) 5% SHEAR SCREWS 8.535 IN P                                              NOBLE BUY OUT      EA                                 1                     229733.1
                                                                                       SPACER NIPPLE 9.875 IN 67.50 LB/FT VAM SLIJ II PIN UP 9.875 IN 67.50 LB/FT VAM
                                                                                       SLIJ II PIN DOWN C110 CR‐MO TBLR
 Baker Hughes ‐ Houma      Baker Hughes      299921816ST1                              110‐125 KSI 30 9.974 IN OD 8.444 IN ID 10.00 FT LG API 5CT                                                NOBLE BUY OUT      EA                                 1                       19604.7
                                                                                       SEAL ASSEMBLY BULLET 9.875 IN VAM SLIJ II BOX UP 20.00 FT EXT LG 10.188 IN
                                                                                       SEAL OD .177 CROSS SECTION SEALS BULLET
                                                                                       SEAL 13,500 PSI SEAL RATING 4 SEALS 11.750 IN OD 8.549 IN ID ROUND NOSE
 Baker Hughes ‐ Houma      Baker Hughes      297550997ST1                              GUIDE C‐110                                                                                               NOBLE BUY OUT      EA                                 1                     160685.1




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      Facility         Facility Owner   Item Number    Serial No.   Location   Item Description                                                                  Project Number    Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value   WI% Net Value
                                                                               LINER PACKER W/HRD‐E PROFILE AND HOLD DOWN 9.875 IN 67.50 LB/FT VAM
                                                                               SLIJ II BOX DOWN 13.375 IN 61.0‐72.0 LB/FT CSG
                                                                               11.750 IN EXT OD 10.188 IN EXT ID 20.00 FT EXT LG C‐110 TYPE PBR EXT 12.000 IN
Baker Hughes ‐ Houma   Baker Hughes     296450161ST1                           OD 8.535 IN ID (MUST DRIFT 8.500) 5% SHEAR SCREWS 8.535 IN P                                       NOBLE BUY OUT   EA                                 1                     229733.1
                                                                               SPACER NIPPLE 9.875 IN 67.50 LB/FT VAM SLIJ II PIN UP 9.875 IN 67.50 LB/FT VAM
                                                                               SLIJ II PIN DOWN C110 CR‐MO TBLR
Baker Hughes ‐ Houma   Baker Hughes     299921816ST1                           110‐125 KSI 30 9.974 IN OD 8.444 IN ID 10.00 FT LG API 5CT                                         NOBLE BUY OUT   EA                                 1                       19604.7
                                                                               COLLAR 9.875 IN 67.50 LB/FT VAM SLIJ II BOX UP 9.875 IN 67.50 LB/FT VAM SLIJ II
                                                                               BOX DOWN C110 CR‐MO TBLR 110‐125 KSI 30
Baker Hughes ‐ Houma   Baker Hughes     299901711ST1                           10.200 IN OD 8.549 IN ID 18.000 IN LG                                                              NOBLE BUY OUT   EA                                 1                       10052.1
                                                                               LINER HANGER CONTROL SET FLEXIV HYDRAULIC ASSEMBLY NON‐ROT 9.875 IN
                                                                               67.50 LB/FT VAM SLIJ II PIN UP 9.875 IN
                                                                               67.50 LB/FT VAM SLIJ II PIN DOWN 13.375 IN 54.5‐72.0 LB/FT CSG 12.050 IN OD
                                                                               8.549 IN ID 1,087‐1,471 PSI SHEAR 15.00
Baker Hughes ‐ Houma   Baker Hughes     294160025ST1                           FT LG KIT MOUNTED ON TOP C‐11                                                                      NOBLE BUY OUT   EA                                 1                     216195.3
                                                                               PUP JOINTS 9.875 IN 67.50 LB/FT VAM SLIJ II BOX UP 9.875 IN 67.50 LB/FT VAM
                                                                               SLIJ II PIN DOWN C110 CR‐MO TBLR
Baker Hughes ‐ Houma   Baker Hughes      270090752                             110‐125 KSI 30 10.191 IN OD 8.546 IN ID 8.00 FT LG API 5CT                                         NOBLE BUY OUT   EA                                 1                       17861.4
                                                                               CROSSOVER BUSHING 9.875 IN 67.50 LB/FT VAM SLIJ II BOX UP 9.875 IN 65.10
                                                                               LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN C110
Baker Hughes ‐ Houma   Baker Hughes     299894960ST1                           CR‐MO TBLR 110‐125 KSI 30 10.191 IN OD 8.499 IN ID 18.000 IN LG API 5CT                            NOBLE BUY OUT   EA                                 1                       16222.5
                                                                               CROSSOVER BUSHING 9.875 IN 67.50 LB/FT VAM SLIJ II BOX UP 9.875 IN 65.30
                                                                               LB/FT VAM SLIJ II PIN DOWN C110 CR‐MO TBLR
Baker Hughes ‐ Houma   Baker Hughes     299894961ST1                           110‐125 KSI 30 10.191 IN OD 8.499 IN ID 18.000 IN LG                                               NOBLE BUY OUT   EA                                 1                       16602.3
                                                                               FLOAT COLLAR SV W/ORIFICE 10.125 IN 79.29 LB/FT TENARISHYDRIL WEDGE 523
                                                                               BOX UP 10.125 IN 79.29 LB/FT TENARISHYDRIL
Baker Hughes ‐ Houma   Baker Hughes     101760037ST1                           WEDGE 523 PIN DOWN 10.360 IN OD 8.530 IN ID                                                        NOBLE BUY OUT   EA                                 1                       18790.2
                                                                               FLOAT COLLAR SV W/ORIFICE 10.125 IN 79.29 LB/FT TENARISHYDRIL WEDGE 523
                                                                               BOX UP 10.125 IN 79.29 LB/FT TENARISHYDRIL
Baker Hughes ‐ Houma   Baker Hughes     101760037ST1                           WEDGE 523 PIN DOWN 10.360 IN OD 8.530 IN ID                                                        NOBLE BUY OUT   EA                                 1                       18790.2
                                                                               CROSSOVER BUSHING 10.125 IN 79.29 LB/FT TENARISHYDRIL WEDGE 523 BOX UP
                                                                               9.875 IN 67.50 LB/FT VAM SLIJ II PIN DOWN C110
Baker Hughes ‐ Houma   Baker Hughes     299894963ST1                           CR‐MO TBLR 110‐125 KSI 30 10.360 IN OD 8.525 IN ID 18.000 IN LG API 5CT                            NOBLE BUY OUT   EA                                 1                       18188.1
                                                                               SEAL ASSEMBLY BULLET 9.875 IN VAM SLIJ II BOX UP 20.00 FT EXT LG 10.188 IN
                                                                               SEAL OD .177 CROSS SECTION SEALS BULLET
                                                                               SEAL 13,500 PSI SEAL RATING 4 SEALS 11.750 IN OD 8.549 IN ID ROUND NOSE
Baker Hughes ‐ Houma   Baker Hughes     297550997ST1                           GUIDE C‐110                                                                                        NOBLE BUY OUT   EA                                 1                     160685.1
                                                                               CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 9.875 IN 65.10
                                                                               LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN Q125
Baker Hughes ‐ Houma   Baker Hughes     299895197ST1                           CR‐MO TBLR 125 MYS 10.962 IN OD 8.531 IN ID 18.000 IN LG API 5CT                                   NOBLE BUY OUT   EA                                 1                        12798
                                                                               COLLAR 9.875 IN 65.10 LB/FT TENARISHYDRIL WEDGE 523 BOX UP 9.875 IN 62.80
                                                                               LB/FT VAM TOP BOX DOWN Q125 CR‐MO
Baker Hughes ‐ Houma   Baker Hughes     299902020ST1                           TBLR 125 MYS 10.962 IN OD 8.815 IN ID 18.000 IN LG API 5CT                                         NOBLE BUY OUT   EA                                 1                        7907.4
                                                                               TIEBACK MILL 4.500 IN NC‐50 (4‐1/2 IF) BOX UP 5.000 IN XT‐50 W/ACCESSORY
                                                                               BEVEL
                                                                               PIN DOWN 10.125 IN OD 3.000 IN ID 48.000 IN LG 10.188 IN EXT ID 110 KSI MYS
Baker Hughes ‐ Houma   Baker Hughes     275210381RT                            BCS‐A401 ZINC OR MANGANESE PHOSPHATE                                                               NOBLE BUY OUT   EA                                 1                        19207
                                                                               TIEBACK MILL 4.500 IN NC‐50 (4‐1/2 IF) BOX UP 5.000 IN XT‐50 W/ACCESSORY
                                                                               BEVEL
                                                                               PIN DOWN 10.125 IN OD 3.000 IN ID 48.000 IN LG 10.188 IN EXT ID 110 KSI MYS
Baker Hughes ‐ Houma   Baker Hughes     275210381RT                            BCS‐A401 ZINC OR MANGANESE PHOSPHATE                                                               NOBLE BUY OUT   EA                                 1                        19207
                                                                               9.188 IN ROUND NOSE GUIDE CR‐MO STEEL 125 MYS ZINC OR MANGANESE
                                                                               PHOSPHATE
                                                                               10.125 IN OD 8.635 IN ID 2.00 FT LG W/9.188 OD MOD STUB ACME THD F/10.188
Baker Hughes ‐ Houma   Baker Hughes      07885471N                             OD SEAL ASSEMBLY                                                                                   NOBLE BUY OUT   EA                                 1                        12225
                                                                               CROSSOVER BUSHING 7.625 IN 33.70 LB/FT VAM TOP HT BOX UP 7.750 IN 46.10
                                                                               LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN Q125 CR‐MO TBLR 125 MYS 8.350
Baker Hughes ‐ Houma   Baker Hughes     299894120ST1                           IN OD 6.535 IN ID 18.000 IN LG API 5CT                                                             NOBLE BUY OUT   EA                                 1                         9819
                                                                               CROSSOVER BUSHING 7.750 IN 46.10 LB/FT TENARISHYDRIL WEDGE 523 BOX UP
                                                                               4.500 IN NO WEIGHT NC50 PIN DOWN P110 GEN
Baker Hughes ‐ Houma   Baker Hughes     299895309ST1                           PURPOSE TBLR 110 MYS 7.967 IN OD 3.735 IN ID 24.000 IN LG API 5CT                                  NOBLE BUY OUT   EA                                 1                         8355
                                                                               CROSSOVER BUSHING 7.750 IN 46.10 LB/FT TENARISHYDRIL WEDGE 523 BOX UP
                                                                               4.500 IN NO WEIGHT NC50 PIN DOWN P110 GEN
Baker Hughes ‐ Houma   Baker Hughes     299895309ST1                           PURPOSE TBLR 110 MYS 7.967 IN OD 3.735 IN ID 24.000 IN LG API 5CT                                  NOBLE BUY OUT   EA                                 1                         8355
                                                                               CROSSOVER BUSHING 5.000 IN 18.00 LB/FT VAM TOP HT BOX UP 5.000 IN 18.00
                                                                               LB/FT TENARISHYDRIL WEDGE 513 PIN DOWN Q125
Baker Hughes ‐ Houma   Baker Hughes     299894028ST1                           CR‐MO TBLR 125 MYS 5.622 IN OD 4.194 IN ID 18.00 IN LG API 5CT                                     NOBLE BUY OUT   EA                                 1                       11671.5
                                                                               LANDING COLLAR TYPE II W/BAFFLE 5.000 IN 18.00 LB/FT TENARISHYDRIL WEDGE
                                                                               513 BOX UP 5.000 IN 18.00 LB/FT
                                                                               TENARISHYDRIL WEDGE 513 PIN DOWN 5.055 IN OD 4.184 IN ID 3,100 PSI SHEAR
Baker Hughes ‐ Houma   Baker Hughes      266730311                             1.500 IN DIA OF BALL 110 KSI MYS                                                                   NOBLE BUY OUT   EA                                 1                         9132
                                                                               CROSSOVER BUSHING 7.625 IN 33.70 LB/FT VAM TOP HT BOX UP 7.000 IN 35.00
                                                                               LB/FT
                                                                               TENARISHYDRIL WEDGE 523 PIN DOWN Q125 CR‐MO TBLR 125 MYS 8.361 IN OD
                                                                               5.903 IN
Baker Hughes ‐ Houma   Baker Hughes     299895301ST1                           ID 18.000 IN LG API 5CT                                                                            NOBLE BUY OUT   EA                                 1                       11269.5
                                                                               CROSSOVER BUSHING 7.625 IN 33.70 LB/FT VAM TOP HT BOX UP 7.000 IN 35.00
                                                                               LB/FT
                                                                               TENARISHYDRIL WEDGE 523 PIN DOWN Q125 CR‐MO TBLR 125 MYS 8.361 IN OD
                                                                               5.903 IN
Baker Hughes ‐ Houma   Baker Hughes     299895301ST1                           ID 18.000 IN LG API 5CT                                                                            NOBLE BUY OUT   EA                                 1                       11269.5
                                                                               CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 9.875 IN 62.80
                                                                               LB/FT VAM
                                                                               SLIJ II PIN DOWN Q125 CR‐MO TBLR 125 MYS 10.952 IN OD 8.559 IN ID 18.000 IN
Baker Hughes ‐ Houma   Baker Hughes      299893328                             LG                                                                                                 NOBLE BUY OUT   EA                                 1                       11593.5
                                                                               CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 10.175 IN 81.00
                                                                               LB/FT VAM SLIJ II PIN DOWN Q125 CR‐MO TBLR
Baker Hughes ‐ Houma   Baker Hughes      299895335                             125 MYS 10.963 IN OD 8.551 IN ID 18.000 IN LG API 5CT                                              NOBLE BUY OUT   EA                                 1                       11635.5
                                                                               CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 9.875 IN 62.80
                                                                               LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN Q125
Baker Hughes ‐ Houma   Baker Hughes     299894023ST1                           CR‐MO TBLR 125 MYS 10.952 IN OD 8.541 IN ID 18.00 IN LG API 5CT                                    NOBLE BUY OUT   EA                                 1                     11798.25




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      Facility         Facility Owner   Item Number    Serial No.   Location   Item Description                                                                   Project Number    Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                               CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 9.875 IN 62.80
                                                                               LB/FT VAM
                                                                               SLIJ II PIN DOWN Q125 CR‐MO TBLR 125 MYS 10.952 IN OD 8.559 IN ID 18.000 IN
Baker Hughes ‐ Houma   Baker Hughes      299893328                             LG                                                                                                  NOBLE BUY OUT   EA                                 1                       11593.5
                                                                               CROSSOVER BUSHING 9.875 IN 62.80 LB/FT VAM TOP BOX UP 10.175 IN 81.00
                                                                               LB/FT VAM SLIJ II PIN DOWN Q125 CR‐MO TBLR
Baker Hughes ‐ Houma   Baker Hughes      299895335                             125 MYS 10.963 IN OD 8.551 IN ID 18.000 IN LG API 5CT                                               NOBLE BUY OUT   EA                                 1                       11635.5
                                                                               CROSSOVER BUSHING 7.625 IN 33.70 LB/FT VAM TOP HT BOX UP 7.750 IN 46.10
                                                                               LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN Q125 CR‐MO TBLR 125 MYS 8.350
Baker Hughes ‐ Houma   Baker Hughes     299894120ST1                           IN OD 6.535 IN ID 18.000 IN LG API 5CT                                                              NOBLE BUY OUT   EA                                 1                         9819
                                                                               LANDING COLLAR LFC TYPE I 7.750 IN 46.10 LB/FT TENARISHYDRIL WEDGE 523
                                                                               BOX UP 7.750 IN 46.10 LB/FT TENARISHYDRIL
                                                                               WEDGE 523 PIN DOWN 7.957 IN OD 6.525 IN ID (MUST DRIFT 6.500) 125 KSI MYS
Baker Hughes ‐ Houma   Baker Hughes      274120357                             (API 5CT)                                                                                           NOBLE BUY OUT   EA                                 1                       17821.5
                                                                               LANDING COLLAR LFC TYPE I 7.750 IN 46.10 LB/FT TENARISHYDRIL WEDGE 523
                                                                               BOX UP 7.750 IN 46.10 LB/FT TENARISHYDRIL
                                                                               WEDGE 523 PIN DOWN 7.957 IN OD 6.525 IN ID (MUST DRIFT 6.500) 125 KSI MYS
Baker Hughes ‐ Houma   Baker Hughes      274120357                             (API 5CT)                                                                                           NOBLE BUY OUT   EA                                 1                       17821.5
                                                                               CROSSOVER BUSHING 9.875 IN 67.50 LB/FT VAM SLIJ II BOX UP 9.875 IN 65.10
                                                                               LB/FT TENARISHYDRIL WEDGE 523 PIN DOWN C110
Baker Hughes ‐ Houma   Baker Hughes     299894960ST1                           CR‐MO TBLR 110‐125 KSI 30 10.191 IN OD 8.499 IN ID 18.000 IN LG API 5CT                             NOBLE BUY OUT   EA                                 1                       16222.5
                                                                               CROSSOVER BUSHING 10.125 IN 79.29 LB/FT TENARISHYDRIL WEDGE 523 BOX UP
                                                                               9.875 IN
                                                                               67.50 LB/FT VAM SLIJ II PIN DOWN C110 CR‐MO TBLR 110‐125 KSI 30 10.360 IN
                                                                               OD
Baker Hughes ‐ Houma   Baker Hughes      299894963                             8.525 IN ID 18.000 IN LG API 5CT                                                                       KATMAI       EA                                 1                        12306

                                                                               10.125 IN ROUND NOSE GUIDE ‐ CEMENT FILL CR‐MO STEEL 125 MYS ZINC OR
                                                                               MANGANESE PHOSPHATE 10.125 IN OD 8.635 IN ID 2.00 FT LG W/9.188 OD MOD
                                                                               STUB
Baker Hughes ‐ Houma   Baker Hughes      10555030                              ACME THD F/10.188 OD SEAL ASSEMBLY                                                                     KATMAI       EA                                 1                        4714.2
   Benoit ‐ Houma         Benoit          20240                      Inside    4 1/2" 15.50# 13CR‐110 Smart Assembly X 91'                                                                         EA       A                         1                             0
   Benoit ‐ Houma         Benoit          20205                     Outside    5 1/2" 23# 13CR‐95 JFE Lion C.I.M. / Safety Valve Assembly X 50'                                                    EA       A                         1                             0
   Benoit ‐ Houma         Benoit          20029                     Outside    5 1/2" 23# 13CR‐95 JFE Lion C.I.M. / Safety Valve Assembly X 50'                                                    EA       A                         1                             0
                                                                               5 1/2" 23# 13CR‐95 JFE Lion Casing Assembly X 48' (40' T&C Casing On Top, 2' Sub
   Benoit ‐ Houma         Benoit           20390                    Outside    In Mid., 6' T&C PJ On Btm.)                                                                                         EA       A                         1                                0
   Benoit ‐ Houma         Benoit            9811                     Inside    4 1/2" 15.10# Hyper 13CR‐110 Vam Ace Lower BCSD Flo‐Tool X 15'                                                      EA       B                         1                                0
   Benoit ‐ Houma         Benoit            9814                     Inside    4 1/2" 15.10# Hyper 13CR‐110 Vam Ace Lower Pin / Pin BCSD Flo‐Tool X 15'                                            EA       A                         1                                0
   Benoit ‐ Houma         Benoit            9813                     Inside    4 1/2" 15.10# Hyper 13CR‐110 Vam Ace Lower Pin / Pin BCSD Flo‐Tool X 15'                                            EA       A                         1                                0
   Benoit ‐ Houma         Benoit            9815                     Inside    4 1/2" 15.10# Hyper 13CR‐110 Vam Ace Upper BCSD Flo‐Tool X 15'                                                      EA       B                         1                                0
   Benoit ‐ Houma         Benoit            9816                     Inside    4 1/2" 15.10# Hyper 13CR‐110 Vam Ace Upper BCSD Flo‐Tool X 15'                                                      EA       B                         1                                0
   Benoit ‐ Houma         Benoit           12186                     Inside    2 3/8" 4.70# 13CR‐85 BTS‐8 Blast Joint X 12'                                                                        EA       A                         1                                0
   Benoit ‐ Houma         Benoit            8295                    Outside    2 3/8" 4.70# 13CR‐85 BTS‐8 Blast Joint X 20'                                                                        EA       U                         5                                0
   Benoit ‐ Houma         Benoit           17693                    Outside    2 7/8" 6.50# 13CR‐95 BTS‐8 Blast Joint X 20'                                                                        EA       A                         1                                0
   Benoit ‐ Houma         Benoit           17103                     Inside    2 3/8" 4.70# 13CR‐110 BTS‐8 Box Bull Plug X 08"                                                                     EA       A                         1                                0
                                                                               4 1/2" 15.10# Hyper 13CR‐110 Vam Ace Chemical Injection Mandrel Assembly X
   Benoit ‐ Houma         Benoit            9817                    Outside    39'                                                                                                                 EA       U                         1                                0
   Benoit ‐ Houma         Benoit           20097                    Outside    5 1/2" 23# 13CR‐95 JFE Lion Chemical Injection Mandrel Assembly X 25'                                               EA       A                         1                                0
   Benoit ‐ Houma         Benoit           20391                    Outside    5 1/2" 23# 13CR‐95 JFE Lion Chemical Injection Mandrel X 20'                                                        EA       A                         1                                0
   Benoit ‐ Houma         Benoit           14355                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Lower Combo Joint X 12' (IPC TK‐800)                                                     EA       A                         3                                0
   Benoit ‐ Houma         Benoit           14354                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Upper Combo Joint X 12' (IPC TK‐800)                                                     EA       A                         3                                0
   Benoit ‐ Houma         Benoit           10683                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Lower Combo‐Joint X 12' (IPC TK‐7)                                                       EA       B                         1                                0
   Benoit ‐ Houma         Benoit           10682                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Upper Combo‐Joint X 12' (IPC TK‐7)                                                       EA       B                         1                                0
   Benoit ‐ Houma         Benoit            9759                     Inside    2 3/8" L‐80 EUE 8rd Mod Tubing Coupling (IPC TK‐7)                                                                  EA       B                         2                                0
   Benoit ‐ Houma         Benoit            9746                     Inside    2 3/8" L‐80 EUE 8rd Mod Tubing Coupling (IPC TK‐7)                                                                  EA       A                         1                                0
                                                                               2 3/8" 4.70# L‐80 BTS‐8 PR Box / 2 7/8" 6.50# BTS‐8 Pin Crossover Sub X 12" (IPC
   Benoit ‐ Houma         Benoit           14356                     Inside    TK‐800)                                                                                                             EA       A                         1                                0
                                                                               3 1/2" 9.30# L‐80 BTS‐8 Pin / 3 1/2" 9.30# UEU 8rd Pin X‐Over Sub X 14" (IPC TK‐
   Benoit ‐ Houma         Benoit           18964                     Inside    70)                                                                                                                 EA       A                         2                                0
   Benoit ‐ Houma         Benoit           14348                     Inside    2 3/8" 4.70# L‐80 BTS‐8 Pin / Pin Pup Joint X 06' (IPC TK‐800)                                                      EA       A                         1                                0
   Benoit ‐ Houma         Benoit           14349                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 02' (IPC TK‐800)                                                             EA       A                         1                                0
   Benoit ‐ Houma         Benoit           14350                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 04' (IPC TK‐800)                                                             EA       A                         1                                0
   Benoit ‐ Houma         Benoit           14351                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 06' (IPC TK‐800)                                                             EA       A                         2                                0
   Benoit ‐ Houma         Benoit           14352                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 08' (IPC TK‐800)                                                             EA       A                         1                                0
   Benoit ‐ Houma         Benoit           14481                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 08' (IPC TK‐800)                                                             EA       B                         1                                0
   Benoit ‐ Houma         Benoit           14353                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 10' (IPC TK‐800)                                                             EA       A                         1                                0
   Benoit ‐ Houma         Benoit           14482                     Inside    2 3/8" 4.70# L‐80 BTS‐8 PR Pup Joint X 10' (IPC TK‐800)                                                             EA       B                         1                                0
   Benoit ‐ Houma         Benoit           17599                     Inside    2 3/8" 4.70# L‐80 EUE 8rd Pin / Pin Pup Joint X 04' ( IPC TK‐800 )                                                  EA       B                         1                                0
   Benoit ‐ Houma         Benoit           14418                     Inside    2 3/8" 4.70# L‐80 EUE 8rd Mod T&C Pup Joint X 02' (IPC TK‐7)                                                        EA       B                         1                                0
   Benoit ‐ Houma         Benoit           14419                     Inside    2 3/8" 4.70# L‐80 EUE 8rd Mod T&C Pup Joint X 04' (IPC TK‐7)                                                        EA       B                         1                                0
   Benoit ‐ Houma         Benoit           13200                     Inside    2 3/8" 4.70# L‐80 EUE 8rd Mod T&C Pup Joint X 06' (IPC TK‐7)                                                        EA       B                         1                                0
   Benoit ‐ Houma         Benoit           14420                     Inside    2 3/8" 4.70# L‐80 EUE 8rd Mod T&C Pup Joint X 10' (IPC TK‐7)                                                        EA       B                         1                                0
   Benoit ‐ Houma         Benoit           11864                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 02' (IPC TK‐7)                                                               EA       A                         2                                0
   Benoit ‐ Houma         Benoit            6758                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 04' (IPC TK‐7)                                                               EA       B                         1                                0
   Benoit ‐ Houma         Benoit            5988                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 04' (IPC TK‐7)                                                               EA       B                         1                                0
   Benoit ‐ Houma         Benoit           12038                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 08' (IPC TK‐7)                                                               EA       A                         1                                0
   Benoit ‐ Houma         Benoit            6343                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 08' (IPC TK‐7)                                                               EA       A                         1                                0
   Benoit ‐ Houma         Benoit            7598                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 08' (IPC‐TK‐7)                                                               EA       A                         1                                0
   Benoit ‐ Houma         Benoit            6345                     Inside    2 7/8" 6.50# L‐80 BTS‐8 PR Pup Joint X 10' (IPC TK‐7)                                                               EA       B                         1                                0
   Benoit ‐ Houma         Benoit            8827                     Inside    3 1/2" 9.30# L‐80 BTS‐8 Pin / Pin Pup Joint X 06' (IPC TK‐7)                                                        EA       A                         1                                0
   Benoit ‐ Houma         Benoit            4721                     Inside    3 1/2" 9.30# L‐80 BTS‐8 PR Pup Joint X 02' (IPC TK‐7)                                                               EA       A                         2                                0
   Benoit ‐ Houma         Benoit            4746                     Inside    3 1/2" 9.30# L‐80 BTS‐8 PR Pup Joint X 04' (IPC TK‐7)                                                               EA       B                         1                                0
   Benoit ‐ Houma         Benoit            4747                     Inside    3 1/2" 9.30# L‐80 BTS‐8 PR Pup Joint X 06' (IPC TK‐7)                                                               EA       B                         2                                0
   Benoit ‐ Houma         Benoit            8828                     Inside    3 1/2" 9.30# L‐80 BTS‐8 PR Pup Joint X 08' (IPC TK‐7)                                                               EA       A                         1                                0
   Benoit ‐ Houma         Benoit            4748                     Inside    3 1/2" 9.30# L‐80 BTS‐8 PR Pup Joint X 10' (IPC TK‐7)                                                               EA       A                         1                                0
   Benoit ‐ Houma         Benoit           18968                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 02' (IPC TK‐70)                                                      EA       B                         1                                0
   Benoit ‐ Houma         Benoit           18967                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 02' (IPC TK‐70)                                                      EA       B                         1                                0
   Benoit ‐ Houma         Benoit           18961                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 04' (IPC TK‐70)                                                      EA       A                         1                                0
   Benoit ‐ Houma         Benoit           18969                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 04' (IPC TK‐70)                                                      EA       B                         1                                0
   Benoit ‐ Houma         Benoit           18965                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 06' (IPC TK‐70)                                                      EA       A                         1                                0
   Benoit ‐ Houma         Benoit           18962                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 06' (IPC TK‐70)                                                      EA       A                         1                                0
   Benoit ‐ Houma         Benoit           18963                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 10' (IPC TK‐70)                                                      EA       A                         1                                0
   Benoit ‐ Houma         Benoit           18966                     Inside    3 1/2" 9.30# L‐80 EUE 8rd Mod. T&C Pup Joint X 10' (IPC TK‐70)                                                      EA       A                         1                                0
   Benoit ‐ Houma         Benoit           13190                     Inside    2 7/8" 6.40# 13CR‐95 Fox‐K Box / Pin Lower Combo‐Joint X 12'                                                        EA       A                         1                                0




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                                            Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 411 of 995     Exhibit D-1 (continued)




   Facility      Facility Owner   Item Number   Serial No.   Location   Item Description                                                                     Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Benoit ‐ Houma       Benoit          13189                    Inside    2 7/8" 6.40# 13CR‐95 Fox‐K Cplg. Box / Box Upper Combo‐Joint X 12'                                                    EA      A                         1                                0
Benoit ‐ Houma       Benoit          16446                    Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 Lower Combo‐Joint X 12'                                                                    EA      A                         1                                0
Benoit ‐ Houma       Benoit          19847                    Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 Upper Combo Joint X 12'                                                                    EA      A                         1                                0
Benoit ‐ Houma       Benoit          15402                    Inside    2 7/8" 7.70# 13CR‐95 Vam Ace Lower Combo Joint Assembly X 12'                                                         EA      U                         1                                0
Benoit ‐ Houma       Benoit          15392                    Inside    2 7/8" 7.70# 13CR‐95 Vam Ace Upper Combo Joint Assembly X 12'                                                         EA      U                         1                                0
Benoit ‐ Houma       Benoit           7338                    Inside    3 1/2" 9.30# Hyper 13CR‐110 BTS‐8 Lower Combo‐Joint X 12'                                                             EA      B                         3                                0
Benoit ‐ Houma       Benoit           7226                    Inside    3 1/2" 9.30# Hyper 13CR‐110 BTS‐8 Upper Combo‐Joint X 12'                                                             EA      B                         3                                0
                                                                        4 1/2" 18.90# 13CR‐110 HYP 2 JFE Lion Pin / 4 1/2" 17# Vam Top Pin X‐Over Pup
Benoit ‐ Houma      Benoit          20355                     Inside    Joint X 10'                                                                                                          EA       A                         4                                0
Benoit ‐ Houma      Benoit          20064                     Inside    5 1/2" 223# 13CR‐95 JFE Lion Pin / Vam Ace Pin X‐Over Pup Joint X 5'                                                 EA       A                         1                                0
                                                                        2 3/8" 4.43# 13CR‐85 Echo F‐4 Box / 2 3/8" 4.70# BTS‐8 S/C Pin Crossover Sub X
Benoit ‐ Houma      Benoit          16324                     Inside    12"                                                                                                                  EA       A                         1                                0
                                                                        2 3/8" 4.60# 13CR‐85 NU 10rd (special OD) Box / 2 3/8" 4.43# Echo F‐4 Pin
Benoit ‐ Houma      Benoit          16323                     Inside    Crossover Sub X 12"                                                                                                  EA       A                         1                                0
                                                                        2 3/8" 4.70# 13CR‐110 BTS‐8 Box / 2 3/8" 4.70# NU 10rd Pin X‐Over Locator Sub X
Benoit ‐ Houma      Benoit          19681                     Inside    18" (w/ 3.150" O.D.)                                                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit           7925                     Inside    2 7/8' 7.90# 13CR‐95 BTS‐6 Box / 2 3/8" 4.70# BTS‐8 Pin X‐Over Sub                                                   EA       A                         1                                0

Benoit ‐ Houma      Benoit          15565                     Inside    2 7/8" 6.16# Hyper 13CR‐110 STL Box / 2 7/8" 7.66# HDL Pin X‐over Subs X 12"                                         EA       A                         2                                0
Benoit ‐ Houma      Benoit          14955                     Inside    2 7/8" 6.40# 13CR‐85 Fox‐K Box / 2 7/8" 6.50# BTS‐8 Pin X‐Over Sub X 12"                                             EA       A                         1                                0
Benoit ‐ Houma      Benoit           2917                     Inside    2 7/8" 6.40# L‐80 NU 10rd Pin X 2 3/8" EUE Box X‐over Sub                                                            EA       A                         1                                0
Benoit ‐ Houma      Benoit           2918                     Inside    2 7/8" 6.40# L‐80 NU 10rd Pin X 2 3/8" EUE Box X‐over Sub                                                            EA       A                         1                                0
Benoit ‐ Houma      Benoit          19026                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 Box / 2 3/8" 4.70# BTS‐8 Pin X‐Over Sub X 14"                                             EA       A                         1                                0
Benoit ‐ Houma      Benoit          11933                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 Pin / 2 3/8" 4.70# BTS‐8 Box Crossover Sub X 12"                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          17346                     Inside    2 7/8" 6.50# P‐110 BTS‐8 Box / 4 1/2" NU Pin Crossover Sub X 14"                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit          19682                     Inside    2 7/8" 6.50# P‐110 NU 10rd Box / 2 3/8" 4.70# BTS‐8 Pin X‐Over Sub X 14"                                             EA       A                         1                                0
Benoit ‐ Houma      Benoit          15564                     Inside    2 7/8" 7.66# 13CR‐110 HDL Box / 2 7/8" 6.16# STL Pin X‐over Sub X 12"                                                EA       A                         2                                0
Benoit ‐ Houma      Benoit           2915                     Inside    2 7/8" L‐80 NU 10rd Box X 2 3/8" NU 10rd Box X‐over Sub                                                              EA       A                         1                                0
Benoit ‐ Houma      Benoit           2916                     Inside    2 7/8" L‐80 NU 10rd Box X 2 3/8" NU 10rd Box X‐over Sub                                                              EA       A                         1                                0

Benoit ‐ Houma      Benoit          17689                     Inside    2 7/8"6.50# 13CR‐95 BTS‐8 Box / 3 1/2" 9.30# EUE 8rd Pin Crossover Sub X 14"                                         EA       A                         1                                0
Benoit ‐ Houma      Benoit          14440                     Inside    3 1/2" 12.95# 13CR‐95 BTS‐6 Box / 3 1/2" 9.30# BTS‐8 Pin X‐Over Sub X 14"                                            EA       B                         1                                0
                                                                        3 1/2" 12.95# 13CR‐95 RTS‐6 Box / 3 1/2" 10.20# JFE Bear Pin X‐Over Sub X 2' (Not
Benoit ‐ Houma      Benoit          16481                     Inside    supplied by Benoit)                                                                                                  EA       U                         1                                0

Benoit ‐ Houma      Benoit          15942                     Inside    3 1/2" 9.20# 13CR‐85 JFE Bear Box / 3 1/2" 9.30# BTS‐8 Pin Crossover Sub X 12"                                       EA       A                         1                                0

Benoit ‐ Houma      Benoit          11711                     Inside    3 1/2" 9.20# 13CR‐85 Vam Ace Box / 2 7/8" 6.50# BTS‐8 Pin Crossover Sub X 12"                                        EA       A                         1                                0

Benoit ‐ Houma      Benoit          17690                     Inside    3 1/2" 9.30# 13CR‐95 EUE 8rd Box / 2 7/8" 6.50# BTS‐8 Pin Crossover Sub X 14"                                        EA       A                         1                                0
                                                                        3 1/2" 9.30# Hyper 13CR110 BTS‐8 Box / 2 7/8" 6.50# BTS‐8 Box Crossover Sub x
Benoit ‐ Houma      Benoit          11073                     Inside    14"                                                                                                                  EA       A                         1                                0
Benoit ‐ Houma      Benoit          17344                     Inside    4 1/2" 15.10# 13CR‐110 SLHT Box / 5 1/2" 23# SHLT Pin Crossover Sub X 14"                                            EA       A                         1                                0
Benoit ‐ Houma      Benoit          19683                     Inside    4" 11.60# 13CR‐85 NU 8rd Box / 2 3/8" 4.70# BTS‐8 Pin X‐Over Sub X 14"                                               EA       A                         1                                0
Benoit ‐ Houma      Benoit          17345                     Inside    5 1/2" 23# 13CR‐110 SLHT Box / 4 1/2" 15.10# SLHT Pin Crossover Sub X 14"                                            EA       A                         1                                0

Benoit ‐ Houma      Benoit          20231                     Inside    5 1/2" 29.70# 13CR‐95 JFE Lion Box / 5 1/2" 23# JFE Lion Pin X‐Over Sub X 36"                                        EA       A                         1                                0
                                                                        2 3/8" 4.70# L‐80 BTS‐8 Gas Lift Madrel Assembly X 18' (6' P/J's top & btm)
Benoit ‐ Houma      Benoit          14201                    Outside    (superior gbk mandrels)                                                                                              EA       U                         3                                0
                                                                        2 7/8" 6.50# 13CR85 BTS‐8 Gas Lift Mandrel Assembly X 19' (6' Pup Joint Top &
Benoit ‐ Houma      Benoit          12345                    Outside    Bottom)(Superior mandrels)                                                                                           EA       B                         1                                0
                                                                        5 1/2" 23# 13CR‐95 JFE Lion Gauge Mandrl Assembly X 15' (2‐ 4' Pup Joints On
Benoit ‐ Houma      Benoit          20098                    Outside    Btm)                                                                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit          14357                     Inside    2 3/8" 4.70# 9CR‐80 BTS‐8 PR BCS Nipple (1.875" P.B.)                                                                EA       A                         1                                0
Benoit ‐ Houma      Benoit           2920                     Inside    2 3/8" 4.70# 9CR‐80 BTS‐8 SWN Nipple                                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit           2919                     Inside    2 3/8" 4.70# 9CR‐80 BTS‐8 SWS Nipple                                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit          14960                     Inside    2 7/8" 6.16# 13CR‐85 Echo F‐4 BCS Nipple (2.313" P.B.)                                                               EA       A                         1                                0
Benoit ‐ Houma      Benoit          13615                     Inside    2 7/8" 6.40# 13CR‐85 Fox‐K Coupling Box / Pin BCS Nipple ( 2.313"PB )                                                EA       B                         2                                0

Benoit ‐ Houma      Benoit          16272                     Inside    2 7/8" 6.50# 9CR‐80 BCSN EUE 8RD Pin / Pin Nipple (2.313" P.B. / 2.205" No‐Go)                                       EA       B                         1                                0
Benoit ‐ Houma      Benoit          17816                     Inside    2 7/8" 6.50# 9CR‐80 EUE 8rd Pin / Pin BCS Landing Nipple (2.313" P.B.)                                               EA       B                         1                                0
Benoit ‐ Houma      Benoit          15777                     Inside    3 1/2" 10.20# 718 Inconel Vam Top Pin / Pin BCH Nipple (2.750" P.B.)                                                 EA       B                         1                                0
                                                                        2 3/8" 4.70# L‐80 BTS‐8 BCN Nipple Assembly X 31' (1.875" P.B.) ( Plug In Place) (
Benoit ‐ Houma      Benoit          19841                    Outside    12' UCJ on Top + 12' LCJ + 6' Perforated PJ On Btm.)                                                                 EA       A                         1                                0
                                                                        2 3/8" 4.70# L‐80 BTS‐8 BCSN Nipple Assembly X 13' w/ WLEG (1.875" P.B. /
Benoit ‐ Houma      Benoit          13966                     Inside    1.791" No‐Go) (6' P/J Top / Bottom)                                                                                  EA       B                         1                                0
                                                                        2 3/8" 4.70# L‐80 EUE 8rd Nipple Assembly X 13' w/ WLEG (1.875" P.B.) (9CR‐80
Benoit ‐ Houma      Benoit          13591                     Inside    Nipple)                                                                                                              EA       B                         1                                0
Benoit ‐ Houma      Benoit          19835                    Outside    2 7/8' 6.50 13CR‐85 BTS‐8 BCS Nipple Assembly X 25' (12' C/J Top & Btm.)                                             EA       A                         2                                0
                                                                        2 7/8" 6.40# 13CR‐95 Fox‐K BCS Nipple Assembly X 25' (2.313" P.B.)(fox / bts‐8
Benoit ‐ Houma      Benoit          13192                    Outside    c/j's top & bottom)                                                                                                  EA       B                         1                                0
                                                                        2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 BCS Nipple Assembly X 29' (14' C/J's top &
Benoit ‐ Houma      Benoit          13061                    Outside    bottom)                                                                                                              EA       B                         1                                0
                                                                        2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 BCS Nipple Assembly X 25" (2.313"P.B.) W/ 12'
Benoit ‐ Houma      Benoit          14789                    Outside    c/j's top & btm.                                                                                                     EA       B                         1                                0
                                                                        2 7/8" 6.50# L‐80 BTS‐8 BCN Nipple Assembly X 14' (2.313" P.B.) (6' PJ Top & Btm./
Benoit ‐ Houma      Benoit          19844                     Inside    12' Mule Shoe on Btm.)                                                                                               EA       A                         1                                0
                                                                        2 7/8" 7.70# 13CR‐95 Vam Ace Nipple Assembly X 25' (2.188" P.B. PetroQuip
Benoit ‐ Houma      Benoit          15476                    Outside    nipple) 6' P/J's & 6' F/C torqued together top & btm                                                                 EA       U                         2                                0
                                                                        2 7/8" 7.90# Hyper 13CR‐110 BTS‐6 BC‐R Nipple Assembly X 25' (2.188 PB) (w/ 12'
Benoit ‐ Houma      Benoit          13467                    Outside    C/J Top & Btm.)                                                                                                      EA       A                         1                                0

Benoit ‐ Houma      Benoit          20031                    Outside    4 1/2" 15.20# 13CR‐110 JFE Lion HES RPT Nipple Assembly X 30' (3.125" P.B.)                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          15336                     Inside    3 1/2" 12.95# Hyper 13CR‐110 BTS‐6 Perforated Pup Joint X 06'                                                        EA       A                         1                                0
                                                                        3 1/2" 9.30# 13CR‐95 BTS‐8 Pup Joint X 06' (1/2" Holes, 6" Centers, 90 Degree
Benoit ‐ Houma      Benoit          14460                     Inside    Phase)                                                                                                               EA       A                         1                                0
Benoit ‐ Houma      Benoit          10234                     Inside    PRR Plug (2.313" PB)                                                                                                 EA       B                         1                                0
Benoit ‐ Houma      Benoit           2910                     Inside                                                                                                                         EA       A                         1                                0
Benoit ‐ Houma      Benoit          19760                     Inside    2 3/8 4.70# 13CR‐85 BTS‐8 Pup Joint X 04'                                                                            EA       A                         1                                0
Benoit ‐ Houma      Benoit          11156                     Inside    2 3/8" 4.43# 13CR85 Echo F4 Pup Joint X 02'                                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          11157                     Inside    2 3/8" 4.43# 13CR85 Echo F4 Pup Joint X 04'                                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          11158                     Inside    2 3/8" 4.43# 13CR85 Echo F4 Pup Joint X 06'                                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          16321                     Inside    2 3/8" 4.43# 13CR85 Echo F4 Pup Joint X 08'                                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          16322                     Inside    2 3/8" 4.43# 13CR85 Echo F4 Pup Joint X 10'                                                                          EA       A                         1                                0




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   Facility      Facility Owner   Item Number   Serial No.   Location   Item Description                                                                    Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Benoit ‐ Houma       Benoit          13508                    Inside    2 3/8" 4.60# 13CR‐85 STL Pup Joint X 04'                                                                             EA      A                         1                                0
Benoit ‐ Houma       Benoit          13509                    Inside    2 3/8" 4.60# 13CR‐85 STL Pup Joint X 06'                                                                             EA      A                         1                                0
Benoit ‐ Houma       Benoit          16097                    Inside    2 3/8" 4.60# 13CR‐95 STL Pup Joint X 06'                                                                             EA      A                         1                                0
Benoit ‐ Houma       Benoit          14708                    Inside    2 3/8" 4.60# Hyper 13CR‐110 STL Pup Joint X 06'                                                                      EA      A                         1                                0
Benoit ‐ Houma       Benoit          14709                    Inside    2 3/8" 4.60# Hyper 13CR‐110 STL Pup Joint X 10'                                                                      EA      A                         1                                0
Benoit ‐ Houma       Benoit          12200                    Inside    2 3/8" 4.60# P‐110 STL Pup Joint X 02'                                                                               EA      A                         1                                0
Benoit ‐ Houma       Benoit          12127                    Inside    2 3/8" 4.60# P‐110 STL Pup Joint X 04'                                                                               EA      A                         5                                0
Benoit ‐ Houma       Benoit          12562                    Inside    2 3/8" 4.60# P‐110 STL Pup Joint X 06'                                                                               EA      A                         1                                0
Benoit ‐ Houma       Benoit          12128                    Inside    2 3/8" 4.60# P‐110 STL Pup Joint X 06'                                                                               EA      A                         1                                0
Benoit ‐ Houma       Benoit          12129                    Inside    2 3/8" 4.60# P‐110 STL Pup Joint X 08'                                                                               EA      A                         1                                0
Benoit ‐ Houma       Benoit          12130                    Inside    2 3/8" 4.60# P‐110 STL Pup Joint X 10'                                                                               EA      A                         2                                0
Benoit ‐ Houma       Benoit          17437                    Inside    2 3/8" 4.70# 13CR‐95 BTS‐8 Pup Joint X 02'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit          16161                    Inside    2 3/8" 4.70# 13CR‐95 BTS‐8 Pup Joint X 08'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit          12126                    Inside    2 3/8" 4.70# L‐80 BTS‐8 Pup Joint X 06'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit          19940                    Inside    2 3/8" 4.70# P‐110 BTS‐8 Pup Joint X 04'                                                                             EA      A                         1                                0
Benoit ‐ Houma       Benoit          18481                    Inside    2 7/8' 6.50# P‐110 BTS‐8 Pup Joint X 02'                                                                             EA      B                         1                                0
Benoit ‐ Houma       Benoit          14959                    Inside    2 7/8" 6.16# 13CR‐85 Echo F‐4 Pup Joint X 06'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          13159                    Inside    2 7/8" 6.16# 13CR‐95 Echo F‐4 Pup Joint X 02'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          13160                    Inside    2 7/8" 6.16# 13CR‐95 Echo F‐4 Pup Joint X 04'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          13161                    Inside    2 7/8" 6.16# 13CR‐95 Echo F‐4 Pup Joint X 06'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          13162                    Inside    2 7/8" 6.16# 13CR‐95 Echo F‐4 Pup Joint X 08'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          13163                    Inside    2 7/8" 6.16# 13CR‐95 Echo F‐4 Pup Joint X 10'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          12063                    Inside    2 7/8" 6.40# 13CR‐85 Fox‐K T&C Pup Joint X 02'                                                                       EA      B                         1                                0
Benoit ‐ Houma       Benoit          12088                    Inside    2 7/8" 6.40# 13CR‐85 Fox‐K T&C Pup Joint X 10'                                                                       EA      B                         1                                0
Benoit ‐ Houma       Benoit          13150                    Inside    2 7/8" 6.40# 13CR‐95 Fox‐K Pin / Pin Pup Joint X 06'                                                                 EA      A                         1                                0
Benoit ‐ Houma       Benoit          13151                    Inside    2 7/8" 6.40# 13CR‐95 Fox‐K T&C Pup Joint X 02'                                                                       EA      A                         1                                0
Benoit ‐ Houma       Benoit          13152                    Inside    2 7/8" 6.40# 13CR‐95 Fox‐K T&C Pup Joint X 04'                                                                       EA      A                         1                                0
Benoit ‐ Houma       Benoit          13154                    Inside    2 7/8" 6.40# 13CR‐95 Fox‐K T&C Pup Joint X 08'                                                                       EA      A                         1                                0
Benoit ‐ Houma       Benoit          13155                    Inside    2 7/8" 6.40# 13CR‐95 Fox‐K T&C Pup Joint X 10'                                                                       EA      A                         1                                0
Benoit ‐ Houma       Benoit          20273                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 02'                                                                  EA      A                         3                                0
Benoit ‐ Houma       Benoit          20269                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 02'                                                                  EA      A                         1                                0
Benoit ‐ Houma       Benoit          20264                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 02'                                                                  EA      A                         2                                0
Benoit ‐ Houma       Benoit          20265                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 04'                                                                  EA      A                         6                                0
Benoit ‐ Houma       Benoit          20270                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 04'                                                                  EA      A                         1                                0
Benoit ‐ Houma       Benoit          20274                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 04'                                                                  EA      A                         1                                0
Benoit ‐ Houma       Benoit          20271                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 06'                                                                  EA      A                         3                                0
Benoit ‐ Houma       Benoit          20275                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 06'                                                                  EA      A                         4                                0
Benoit ‐ Houma       Benoit          20266                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 06'                                                                  EA      A                         4                                0
Benoit ‐ Houma       Benoit          20276                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 08'                                                                  EA      A                         2                                0
Benoit ‐ Houma       Benoit          20267                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 08'                                                                  EA      A                         2                                0
Benoit ‐ Houma       Benoit          20272                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 10'                                                                  EA      A                         2                                0
Benoit ‐ Houma       Benoit          20277                    Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Pup Joint X 10'                                                                  EA      A                         4                                0
Benoit ‐ Houma       Benoit          15022                    Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 Pup Joint X 06'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit          17988                    Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 Pup Joint X 02'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit          17716                    Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 Pup Joint X 02'                                                                           EA      B                         2                                0
Benoit ‐ Houma       Benoit          17976                    Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 Pup Joint X 04'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit          17717                    Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 Pup Joint X 06'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit          17686                    Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 Pup Joint X 08'                                                                           EA      B                         1                                0
Benoit ‐ Houma       Benoit           6199                    Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 Pup Joint X 02'                                                                    EA      A                         1                                0
Benoit ‐ Houma       Benoit           7351                    Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 Pup Joint X 04'                                                                    EA      A                         1                                0
Benoit ‐ Houma       Benoit          20279                    Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 Pup Joint X 06'                                                                    EA      A                         1                                0
Benoit ‐ Houma       Benoit          20268                    Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 Pup Joint X 08'                                                                    EA      A                         2                                0
Benoit ‐ Houma       Benoit          19842                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 02'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit          19843                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 04'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit          17265                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 06'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit          17821                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 08'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit           6323                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 10'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit           9239                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 12'                                                                              EA      B                         2                                0
Benoit ‐ Houma       Benoit          16710                    Inside    2 7/8" 6.50# L‐80 BTS‐8 Pup Joint X 15'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit          18482                    Inside    2 7/8" 6.50# P‐110 BTS‐8 Pup Joint X 04'                                                                             EA      B                         1                                0
Benoit ‐ Houma       Benoit          18483                    Inside    2 7/8" 6.50# P‐110 BTS‐8 Pup Joint X 10'                                                                             EA      B                         1                                0
Benoit ‐ Houma       Benoit          16627                    Inside    2 7/8" 7.66# 13CR‐110 AB‐HDL Pup Joint X 02'                                                                         EA      A                         1                                0
Benoit ‐ Houma       Benoit          16628                    Inside    2 7/8" 7.66# 13CR‐110 AB‐HDL Pup Joint X 04'                                                                         EA      A                         1                                0
Benoit ‐ Houma       Benoit          13273                    Inside    2 7/8" 7.66# 13CR‐95 Echo F‐4 Pup Joint X 02'                                                                        EA      A                         1                                0
Benoit ‐ Houma       Benoit          13849                    Inside    2 7/8" 7.66# Hyper 13CR‐110 Echo F‐4 Pup Joint X 04'                                                                 EA      A                         1                                0
Benoit ‐ Houma       Benoit          16461                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 02'                                                                      EA      B                         1                                0
Benoit ‐ Houma       Benoit          15557                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 04'                                                                      EA      A                         1                                0
Benoit ‐ Houma       Benoit          15558                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 06'                                                                      EA      A                         4                                0
Benoit ‐ Houma       Benoit          15559                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 08'                                                                      EA      A                         2                                0
Benoit ‐ Houma       Benoit          15561                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 10'                                                                      EA      A                         1                                0
Benoit ‐ Houma       Benoit          15560                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 10'                                                                      EA      B                         1                                0
Benoit ‐ Houma       Benoit          15164                    Inside    2 7/8" 7.66# Hyper 13CR‐110 HDL Pup Joint X 2' 6"                                                                    EA      A                         2                                0
Benoit ‐ Houma       Benoit          15338                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 02'                                                                      EA      B                         1                                0
Benoit ‐ Houma       Benoit          15339                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 04'                                                                      EA      A                         1                                0
Benoit ‐ Houma       Benoit          15340                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 06'                                                                      EA      A                         2                                0
Benoit ‐ Houma       Benoit          15341                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 06'                                                                      EA      B                         1                                0
Benoit ‐ Houma       Benoit          15342                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 08'                                                                      EA      A                         1                                0
Benoit ‐ Houma       Benoit          15343                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 08'                                                                      EA      B                         1                                0
Benoit ‐ Houma       Benoit          13872                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 10'                                                                      EA      A                         2                                0
Benoit ‐ Houma       Benoit          15337                    Inside    2 7/8" 7.66# Hyper 13CR‐110 STL Pup Joint X 2' 6"                                                                    EA      A                         2                                0
Benoit ‐ Houma       Benoit          13396                    Inside    2 7/8" 7.70# 13CR‐95 Fox‐K T&C Pup Joint X 06'                                                                       EA      B                         1                                0
Benoit ‐ Houma       Benoit          15404                    Inside    2 7/8" 7.70# 13CR‐95 Vam Ace Pin / Pin Pup Joint X 06'                                                               EA      U                        12                                0
Benoit ‐ Houma       Benoit          15403                    Inside    2 7/8" 7.70# 13CR‐95 Vam Ace T&C Pup Joint X 06'                                                                     EA      U                        12                                0
Benoit ‐ Houma       Benoit          11343                    Inside    2 7/8" 7.90# Hyper 13CR110 BTS‐6 Pup Joint X 04'                                                                     EA      B                         1                                0
Benoit ‐ Houma       Benoit           2923                    Inside    2 7/8" 7.90# L‐80 BTS‐6 Pup Joint X 02'                                                                              EA      B                         1                                0
Benoit ‐ Houma       Benoit           2911                    Inside    2 7/8" 7.90# L‐80 BTS‐6 Pup Joint X 04'                                                                              EA      A                         1                                0

Benoit ‐ Houma      Benoit          16474                     Inside    3 1/2" 10.20# 13CR‐95 JFE Bear Pin / Pin Pup Joint X 04' (Not supplied by Benoit)                                   EA       U                         1                                0

Benoit ‐ Houma      Benoit          16475                     Inside    3 1/2" 10.20# 13CR‐95 JFE Bear Pin / Pin Pup Joint X 06' (Not supplied by Benoit)                                   EA       U                         1                                0

Benoit ‐ Houma      Benoit          16476                     Inside    3 1/2" 10.20# 13CR‐95 JFE Bear T&C Pup Joint X 02' (Not supplied by Benoit)                                         EA       U                         1                                0

Benoit ‐ Houma      Benoit          16477                     Inside    3 1/2" 10.20# 13CR‐95 JFE Bear T&C Pup Joint X 08' (Not supplied by Benoit)                                         EA       U                         1                                0




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   Facility      Facility Owner   Item Number   Serial No.   Location   Item Description                                                                   Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

Benoit ‐ Houma      Benoit          16479                     Inside    3 1/2" 10.20# 13CR‐95 JFE Bear T&C Pup Joint X 10' (Not supplied by Benoit)                                        EA       U                         1                                0
Benoit ‐ Houma      Benoit          15880                     Inside    3 1/2" 10.20# G3‐125 Vam Top T&C Pup Joint X 02'                                                                   EA       U                         1                                0
Benoit ‐ Houma      Benoit          15881                     Inside    3 1/2" 10.20# G3‐125 Vam Top T&C Pup Joint X 06'                                                                   EA       U                         1                                0
Benoit ‐ Houma      Benoit          15882                     Inside    3 1/2" 10.20# G3‐125 Vam Top T&C Pup Joint X 08'                                                                   EA       U                         1                                0
Benoit ‐ Houma      Benoit          15883                     Inside    3 1/2" 10.20# G3‐125 Vam Top T&C Pup Joint X 10'                                                                   EA       U                         1                                0
Benoit ‐ Houma      Benoit           6195                     Inside    3 1/2" 12.95# 13CR‐95 BTS‐6 Pup Joint X 08'                                                                        EA       B                         1                                0

Benoit ‐ Houma      Benoit          16480                     Inside    3 1/2" 12.95# 13CR‐95 RTS‐6 Pin / Pin Pup Joint X 06' (Not supplied by Benoit)                                     EA       U                         1                                0
Benoit ‐ Houma      Benoit          11742                     Inside    3 1/2" 12.95# Hyper 13CR‐110 BTS‐6 Pup Joint X 05'                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit          12377                     Inside    3 1/2" 9.20# 13CR‐85 JFE‐Bear Pin / Pin Pup Joint X 06'                                                            EA       A                         1                                0
Benoit ‐ Houma      Benoit          15023                     Inside    3 1/2" 9.30# 13CR‐85 BTS‐8 Pup Joint X 10'                                                                         EA       B                         1                                0
Benoit ‐ Houma      Benoit           7345                     Inside    3 1/2" 9.30# Hyper 13CR‐110 BTS‐8 Pup Joint X 10'                                                                  EA       A                         1                                0
Benoit ‐ Houma      Benoit          11072                     Inside    3 1/2" 9.30# Hyper13CR110 BTS‐8 Pin / Pin Pup Joint X 04'                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          20084                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion Pin / Pin Pup Joint X 04'                                                    EA       A                         4                                0
Benoit ‐ Houma      Benoit          20085                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion Pin / Pin Pup Joint X 10'                                                    EA       A                         1                                0
Benoit ‐ Houma      Benoit          20093                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion T&C Pup Joint X 04'                                                          EA       B                         1                                0
Benoit ‐ Houma      Benoit          20094                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion T&C Pup Joint X 06'                                                          EA       B                         1                                0
Benoit ‐ Houma      Benoit          20095                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion T&C Pup Joint X 08'                                                          EA       B                         1                                0
Benoit ‐ Houma      Benoit          20096                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion T&C Pup Joint X 10'                                                          EA       B                         2                                0
Benoit ‐ Houma      Benoit          20092                     Inside    4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion T&C Pup Joint X 2' 6'                                                        EA       B                         1                                0
Benoit ‐ Houma      Benoit          20062                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion Pin/Pin Pup Joint X 08'                                                      EA       A                         1                                0
Benoit ‐ Houma      Benoit          20019                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 02'                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          20200                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 04'                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          20020                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 04'                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          20021                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 06'                                                          EA       A                         2                                0
Benoit ‐ Houma      Benoit          20022                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 08'                                                          EA       A                         2                                0
Benoit ‐ Houma      Benoit          20023                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 10'                                                          EA       A                         1                                0
Benoit ‐ Houma      Benoit          20199                     Inside    4 1/2" 15.20# Hyper 13CR‐110 JFE Lion T&C Pup Joint X 2'6"                                                         EA       A                         2                                0
Benoit ‐ Houma      Benoit          20228                     Inside    5 1/2" 23# 13CR‐95 JFE Lion Pin /Pin Pup Joint X 02'                                                               EA       A                         1                                0
Benoit ‐ Houma      Benoit          20229                     Inside    5 1/2" 23# 13CR‐95 JFE Lion Pin /Pin Pup Joint X 04'                                                               EA       A                         2                                0
Benoit ‐ Houma      Benoit          20230                     Inside    5 1/2" 23# 13CR‐95 JFE Lion Pin /Pin Pup Joint X 08'                                                               EA       A                         1                                0
Benoit ‐ Houma      Benoit          20087                     Inside    5 1/2" 23# 13CR‐95 JFE Lion Pin / Pin Pup Joint X 06'                                                              EA       A                         1                                0
Benoit ‐ Houma      Benoit          20024                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 02'                                                                    EA       A                         1                                0
Benoit ‐ Houma      Benoit          20202                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 04'                                                                    EA       A                         2                                0
Benoit ‐ Houma      Benoit          20089                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 04'                                                                    EA       B                         1                                0
Benoit ‐ Houma      Benoit          20203                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 06'                                                                    EA       A                         1                                0
Benoit ‐ Houma      Benoit          20090                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 06'                                                                    EA       B                         1                                0
Benoit ‐ Houma      Benoit          20027                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 08'                                                                    EA       A                         1                                0
Benoit ‐ Houma      Benoit          20204                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 08'                                                                    EA       A                         2                                0
Benoit ‐ Houma      Benoit          20091                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 08'                                                                    EA       B                         1                                0
Benoit ‐ Houma      Benoit          20028                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 10'                                                                    EA       A                         2                                0
Benoit ‐ Houma      Benoit          20088                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 2' 6"                                                                  EA       B                         1                                0
Benoit ‐ Houma      Benoit          20201                     Inside    5 1/2" 23# 13CR‐95 JFE Lion T&C Pup Joint X 2'6"                                                                   EA       A                         2                                0
Benoit ‐ Houma      Benoit           3149                     Inside    2 7/8" 7.90# L‐80 BTS‐6 Box / WLEG                                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit          13354                     Inside    2 7/8" 6.50# 9CR‐80 BTS‐8 S/C BCH Combo Nipple (2.188" P.B.)                                                       EA       A                         1                                0
Benoit ‐ Houma      Benoit          12009                     Inside    2 3/8" 4.70# 13CR‐85 BTS‐8 S/C Pup Joint X 04'                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit          16560                     Inside    2 3/8" 4.70# 13CR‐85 BTS‐8 S/C Pup Joint X 08'                                                                     EA       B                         1                                0
Benoit ‐ Houma      Benoit           6741                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Pup Joint X 02'                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit          19730                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Pup Joint X 04'                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit           7347                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Pup Joint X 04'                                                                     EA       A                         2                                0
Benoit ‐ Houma      Benoit          15024                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Pup Joint X 06'                                                                     EA       A                         3                                0
Benoit ‐ Houma      Benoit          15001                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Pup Joint X 14'                                                                     EA       B                         1                                0
Benoit ‐ Houma      Benoit          17714                     Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 S/C Pup Joint X 04'                                                                     EA       B                         1                                0
Benoit ‐ Houma      Benoit          15556                     Inside    2 7/8" 6.50# 13CR‐95 BTS‐8 S/C Pup Joint X 08'                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit          18683                     Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 S/C Pup Joint X 02'                                                              EA       A                         2                                0
Benoit ‐ Houma      Benoit          18684                     Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 S/C Pup Joint X 04'                                                              EA       A                         2                                0
Benoit ‐ Houma      Benoit          18685                     Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 S/C Pup Joint X 06'                                                              EA       A                         1                                0
Benoit ‐ Houma      Benoit          18686                     Inside    2 7/8" 6.50# Hyper 13CR‐110 BTS‐8 S/C Pup Joint X 08'                                                              EA       A                         1                                0
Benoit ‐ Houma      Benoit           6441                     Inside    2 7/8" 6.50# L‐80 BTS‐8 S/C Pup Joint X 02'                                                                        EA       B                         1                                0
Benoit ‐ Houma      Benoit           7315                     Inside    2 7/8" 6.50# L‐80 BTS‐8 S/C Pup Joint X 04'                                                                        EA       B                         1                                0
Benoit ‐ Houma      Benoit           7316                     Inside    2 7/8" 6.50# L‐80 BTS‐8 S/C Pup Joint X 06'                                                                        EA       A                         4                                0
Benoit ‐ Houma      Benoit          12259                     Inside    2 7/8" 6.50# P‐110 BTS‐8 S/C Pup Joint X 04'                                                                       EA       A                         1                                0
Benoit ‐ Houma      Benoit          12260                     Inside    2 7/8" 6.50# P‐110 BTS‐8 S/C Pup Joint X 08'                                                                       EA       A                         1                                0
Benoit ‐ Houma      Benoit          14674                     Inside    2 7/8" 6.50#13CR‐85 BTS‐8 S/C Pup Joint X 04'                                                                      EA       A                         1                                0
Benoit ‐ Houma      Benoit          10795                     Inside    2 7/8" 7.90# 13CR‐95 BTS‐6 S/C Pup Joint X 02'                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit          10800                     Inside    2 7/8" 7.90# 13CR‐95 BTS‐6 S/C Pup Joint X 04'                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit          10756                     Inside    3 1/2" 9.30# 13CR‐85 BTS‐8 S/C Pup Joint X 04'                                                                     EA       A                         2                                0
Benoit ‐ Houma      Benoit          13791                    Outside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Tubing X 31'                                                                        EA       A                         2                                0
Benoit ‐ Houma      Benoit          18663                    Outside    2 7/8" 6.50# L‐80 BTS‐8 S/C Production Tubing X 31'                                                                EA       B                         2                                0
Benoit ‐ Houma      Benoit          19489                     Inside    2 7/8" 6.50# L‐80 BTS‐8 S/C Production Tubing X 31'                                                                EA       B                         1                                0
Benoit ‐ Houma      Benoit          16632                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Box / Pin Sub X 12"                                                                 EA       A                         1                                0
Benoit ‐ Houma      Benoit           8047                     Inside    2 7/8" 6.50# 13CR‐85 BTS‐8 S/C Box / Pin Tubing Sub X 12"                                                          EA       A                         2                                0
Benoit ‐ Houma      Benoit          12258                     Inside    2 7/8" 6.50# P‐110 BTS‐8 S/C Box / Pin Sub X 12"                                                                   EA       A                         1                                0
                                                                        2.313'' Flo‐Thru Selective, Two‐way Shifting Tool, w/perforated Top Sub and full
Benoit ‐ Houma      Benoit          16870                     Inside    flow btm. Sub                                                                                                      EA                                 1                                0

Benoit ‐ Houma      Benoit          18255                     Inside    3 1/2" 9.30# 13CR‐110 BTS‐8 Standard Sliding Sleeve (3.950"O.D. X 2.813"P.B.)                                      EA       B                         1                                0
                                                                        2 3/8" 4.70# 13CR‐95 BTS‐8 Selective Sliding Sleeve Assembly X 08' (1.875"P.B.
Benoit ‐ Houma      Benoit          16433                     Inside    2.770" O.D. BSSD BTS‐8 Selective) w/ 4' P/J on Top                                                                 EA       B                         1                                0
Benoit ‐ Houma      Benoit          19837                     Inside    Spool of Control Line                                                                                              EA       A                         1                                0
Benoit ‐ Houma      Benoit          16120                     Inside    2 3/8" 4.70# BTS‐8 PVC Drift X 01' (1.901" O.D.)                                                                   EA       A                         1                                0
Benoit ‐ Houma      Benoit           8765                     Inside    2 3/8" 4.70# BTS‐8 PVC Drift X 01' (1.901" O.D.)                                                                   EA       A                         1                                0
Benoit ‐ Houma      Benoit          10720                     Inside    3 1/2" 12.95# BTS‐6 Teflon Drift (2.625" O.D.)                                                                     EA       A                         1                                0
Benoit ‐ Houma      Benoit           8697                     Inside    3 1/2" 9.30# BTS‐8 PVC Drift (2.867" O.D.)                                                                         EA       A                         1                                0
Benoit ‐ Houma      Benoit           8650                     Inside    3 1/2" 9.30# BTS‐8 PVC Drift X 01' (2.867" O.D.)                                                                   EA       A                         1                                0

Benoit ‐ Houma      Benoit          20280                     Inside    5 1/2" 23# P‐110 JFE Lion Test Cap w/ 9/16" HP Autoclave (Soft Seal O‐Ring )                                       EA       B                         1                                0

Benoit ‐ Houma      Benoit          20281                     Inside    5 1/2" 23# P‐110 JFE Lion Test Plug w/ 9/16" HP Autoclave (Soft Seal O‐Ring )                                      EA       B                         1                                0
Benoit ‐ Houma      Benoit           9314                    Outside    2 3/8" 4.60# 13CR‐85 STL Tubing 31'                                                                                EA       U                         2                                0
Benoit ‐ Houma      Benoit          15397                    Outside    2 3/8" 4.60# 13CR‐95 STL Production Tubing X 31'                                                                   EA       A                         1                                0
Benoit ‐ Houma      Benoit          15131                    Outside    2 3/8" 4.70# 13CR‐95 BTS‐8 Production Tubing X 31'                                                                 EA       B                         1                                0
Benoit ‐ Houma      Benoit          20278                     Inside    2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Production Tubing X 30'                                                        EA       A                        16                                0




                                                                                                                                    57
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    Facility         Facility Owner   Item Number     Serial No.            Location             Item Description                                                                 Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
 Benoit ‐ Houma          Benoit          20263                              Outside              2 7/8" 6.40# Hyper 13CR‐110 Vam FJL Tubing X 30'                                                                  EA      A                        10                                0
 Benoit ‐ Houma          Benoit          18894                              Outside              2 7/8" 6.50# 13CR‐85 BTS‐8 Production Tubing X 31'                                                                EA      B                         3                                0
 Benoit ‐ Houma          Benoit          13112                              Outside              2 7/8" 6.50# 13CR‐95 BTS‐8 Production Tubing X 31'                                                                EA      B                         1                                0
 Benoit ‐ Houma          Benoit          15555                              Outside              2 7/8" 7.66# Hyper 13CR‐110 HDL Production Tubing X 31'                                                           EA      A                         8                                0
 Benoit ‐ Houma          Benoit          16462                              Outside              2 7/8" 7.66# Hyper 13CR‐110 HDL Tubing X 31'                                                                      EA      B                         5                                0
 Benoit ‐ Houma          Benoit          15399                              Outside              2 7/8" 7.66# Hyper 13CR‐110 STL Production Tubing X 31'                                                           EA      A                         1                                0
 Benoit ‐ Houma          Benoit          13871                              Outside              2 7/8" 7.66# Hyper 13CR‐110 STL Production Tubing X 31'                                                           EA      U                         2                                0
 Benoit ‐ Houma          Benoit          20512                              Outside              3 1/2" 9.30# 13CR‐110 BTS‐8 Tubing X 31'                                                                          EA      A                         1                                0
 Benoit ‐ Houma          Benoit          16478                               Inside              3 1/2" 10.20# 13CR‐95 JFE Bear Couplings (Not supplied by Benoit)                                                 EA      U                         2                                0
 Benoit ‐ Houma          Benoit          15884                               Inside              3 1/2" 10.20# G3‐125 Vam Top Coupling                                                                             EA      U                         3                                0
 Benoit ‐ Houma          Benoit          20083                               Inside              4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion Coupling                                                                    EA      A                         4                                0
 Benoit ‐ Houma          Benoit          20061                               Inside              4 1/2" 15.20# 13CR‐110 HYP 1 JFE Lion Tubing Coupling                                                             EA      A                         1                                0
 Benoit ‐ Houma          Benoit          20082                               Inside              4 1/2" 15.20# 13CR‐110 HYP 2 JFE Loin Couplng                                                                     EA      A                         1                                0
 Benoit ‐ Houma          Benoit          19993                               Inside              4 1/2" 15.20# Hyper 13CR‐110 JFE Lion Coupling                                                                    EA      A                         2                                0
 Benoit ‐ Houma          Benoit          20063                               Inside              5 1/2" 23# 13CR‐95 JFE Lion Tubing Coupling                                                                       EA      A                         5                                0
 Benoit ‐ Houma          Benoit          20086                               Inside              5 1/2" 23.# 13CR‐95 JFE Lion Coupling                                                                             EA      A                         2                                0
 Benoit ‐ Houma          Benoit          11155                               Inside              2 3/8" 4.43# 13CR85 Echo F4 Box / Pin Sub X 12"                                                                   EA      A                         1                                0
 Benoit ‐ Houma          Benoit          15984                               Inside              2 3/8" 4.70# 13CR‐85 BTS‐8 Box / Pin Tubing Sub X 06"                                                             EA      A                         3                                0
 Benoit ‐ Houma          Benoit          15986                               Inside              2 3/8" 4.70# 13CR‐85 BTS‐8 Box / Pin Tubing Sub X 12"                                                             EA      A                         1                                0
 Benoit ‐ Houma          Benoit          11316                               Inside              2 3/8" 4.70# 13CR‐85 BTS‐8 Box / Pin Tubing Sub X 12"                                                             EA      A                         1                                0
 Benoit ‐ Houma          Benoit          14688                               Inside              2 3/8" 4.70# 13CR‐95 BTS‐8 Box / Pin Sub X 06"                                                                    EA      A                         1                                0
 Benoit ‐ Houma          Benoit          12125                               Inside              2 3/8" 4.70# L‐80 BTS‐8 Box / Pin Sub X 12"                                                                       EA      A                         2                                0
 Benoit ‐ Houma          Benoit           9172                               Inside              2 7/8" 6.50# 13CR‐85 BTS‐8 Box / Pin Sub X 06"                                                                    EA      A                         1                                0
 Benoit ‐ Houma          Benoit           8514                               Inside              2 7/8" 6.50# 13CR‐85 BTS‐8 Pin / Pin Tubing Sub X 12"                                                             EA      B                         1                                0
 Benoit ‐ Houma          Benoit          10707                               Inside              2 7/8" 6.50# 13CR‐95 BTS‐8 Box / Pin Sub X 06"                                                                    EA      A                         3                                0
 Benoit ‐ Houma          Benoit          10116                               Inside              2 7/8" 6.50# 13CR‐95 BTS‐8 Box / Pin Sub X 12"                                                                    EA      A                         3                                0
 Benoit ‐ Houma          Benoit          12255                               Inside              2 7/8" 6.50# L‐80 BTS‐8 Box / Pin Tubing Sub X 12"                                                                EA      A                         1                                0
 Benoit ‐ Houma          Benoit          16162                               Inside              2 7/8" 7.90# 13CR‐95 BTS‐6 Box / WLEG                                                                             EA      A                         1                                0
                                                                                                 2 3/8" 4.70# Hyper 13CR110 BTS‐8 Pin / 2 7/8" 6.50# 13CR85 BTS‐8 Box Crossover
 Benoit ‐ Houma         Benoit          11365                                Inside              Assembly X 13' (6' P/J Top & Bottom)                                                                             EA       U                         1                                0
                                                                                                 5 1/2" 23# 13CR‐95 JFE Lion Box / 4 1/2" 15.20# JFE Lion Pin X‐Over Assembly X
 Benoit ‐ Houma         Benoit          20030                               Outside              12' (10' Pup On Btm.)                                                                                            EA       A                         1                                0
                                                                                                 2 7/8" 6.40# 13CR‐95 Fox‐K Cplg. Box / 2 7/8" 6.50# BTS‐8 Pin Upper X‐Over
 Benoit ‐ Houma         Benoit          13191                                Inside              Combo‐Joint X12'                                                                                                 EA       A                         1                                0
                                                                                                 3 1/2" 12.70# Hyper 13CR‐110 Vam Top Box / 3 1/2" 12.95# BTS‐6 Pin Lower X‐
 Benoit ‐ Houma         Benoit          15259                                Inside              Over BCSD Flo‐Tool X 14' (8' prof BTS‐6 PIN)damage Box and tong marks                                            EA       B                         1                                0
                                                                                                 3 1/2" 12.95# Hyper 13CR‐110 BTS‐6 Box / 3 1/2" 12.70# Vam Top Box Upper X‐
 Benoit ‐ Houma         Benoit          15258                                Inside              Over BCSD Flo‐Tool X 14' (8' prof BTS‐6 Box)                                                                     EA       B                         1                                0
                                                                                                 STFL w/ multiquick connect removable stab plate M1 14 position 10 way 5x.05
  Core ‐ Mobile        Core Labs       0440486                     Core Base Yard (Mobile, AL)   female nvp couplers, 5x.5 female PRVC couplers                                                                   EA                                 1                                0
  Core ‐ Mobile        Core Labs       #R1301                      Core Base Yard (Mobile, AL)   35' Reel Dynamic Flexible flowline ‐ 5,600 ft.                                                                   EA                                 1                                0
                                                                                                 18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                                 SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐401845‐02    00139733‐11         ELD Rack: A83           RING, H2S SERVICE                                                                                  VIETNAM       EA                                 1                                0

                                                                                                 22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 22" O.D. X
                                                                                                 1.250" WALL B.W.P. UP AND DOWN. PROFILE MIN. I.D.18.375". 22.030" MAX
                                                                                                 O.D. STD. SERVICE.
                                                                                                 XXXX
                                                                                                 * 22" X 16" SUPPLEMENTAL ADAPTER JOINT FABRICATION CONSISTS OF:
                                                                                                 * PIPE: CUSTOMER SUPPLIED 22" X 1.000" X‐80, 60 FT JOINT WITH S‐90M/MT
                                                                                                 BOX X PIN CONNECTORS FROM FRANKS CASING
Drilquip ‐ Houston      Drilquip      2‐405573‐03    00222625‐01       ELD Rack: NYD CC‐6        * 22" X 16" SUPPLEMENTAL ADAPTER: P/N 2‐405573‐03, CP10946‐20, ITEM 27                             MC 698 #1     EA                                 1                                0
                                                                                                 22" X 16" BIG BORE II POSITIVE STOP CASING HANGER. 16" 97 LB/FT, HYDRIL 511
                                                                                                 PIN DOWN PREP. FOR WEIGHT SET SEAL ASSEMBLY. 6,500 PSI RATED. MIN. I.D.
                                                                                                 14.549". MAT'L CLASS: AA, PSL‐3.
                                                                                                 XXXX
                                                                                                 * 16" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                                 * PIPE: CUSTOMER SUPPLIED 16" 96 LB/FT Q‐125 HYDRIL 511 BOX X PIN, 20 FT.
                                                                                                 LONG
Drilquip ‐ Houston      Drilquip      2‐404635‐03    00242025‐01      ELD Rack: NYD YR #4        * 16" CASING HANGER: CP11153‐01, P/N 2‐404635‐03, ITEM 18                                                        EA                                 1                                0
                                                                                                 22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI
Drilquip ‐ Houston      Drilquip      2‐411873‐08    00253012‐01         ELD Rack: A85           RATED, WITH EXTERNAL LOCK RING, H2S SERVICE, NOBLE Q504.01                                                       EA                                 1                                0

                                                                                                 22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 22" O.D. X
                                                                                                 1.250" WALL B.W.P. UP AND DOWN. PROFILE MIN. I.D.18.375". 22.030" MAX
                                                                                                 O.D. STD. SERVICE.
                                                                                                 XXXX
                                                                                                 * 22" X 16" SUPPLEMENTAL ADAPTER JOINT FABRICATION CONSISTS OF:
                                                                                                 * PIPE: CUSTOMER SUPPLIED 22" O.D. X 1.250" WALL, API 5L GRADE X‐80, DSAW,
                                                                                                 41 FT LONG, WITH H‐90M/MT BOX X PIN
Drilquip ‐ Houston      Drilquip      2‐405573‐03    00243387‐01       ELD Rack: NYD CC‐6        * 22" X 16" SUPPLEMENTAL ADAPTER: P/N 2‐405573‐03, CP11364‐10, ITEM 55                                           EA                                 1                                0
                                                                                                 22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI
Drilquip ‐ Houston      Drilquip      2‐403134‐02    00242026‐01         ELD Rack: A85           RATED, H2S SERVICE                                                                                               EA                                 1                                0
                                                                                                 22" X 16" BIG BORE II POSITIVE STOP CASING HANGER. 16" 97 LB/FT, HYDRIL 511
                                                                                                 PIN DOWN PREP. FOR WEIGHT SET SEAL ASSEMBLY. 6,500 PSI RATED. MIN. I.D.
Drilquip ‐ Houston      Drilquip      2‐404635‐03    00190946‐01        ELD Rack: F219           14.549". MAT'L CLASS: AA, PSL‐3.                                                                     KIT# 5      EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐305269‐02    00200701‐01     HEMP Rack: LINER R36C       SHIPPING CENTRALIZER, 13‐5/8" CASING AND 6‐5/8" DRILL PIPE                                         GI 116,A‐7    EA                                 1                                0
                                                                                                 13‐5/8" X 16" LS‐15 TIEBACK SEAL NIPPLE MAJOR REDRESS KIT, INCLUDES V‐
Drilquip ‐ Houston      Drilquip      2‐305315‐02    00201338‐01     HEMP Rack: LINER R36E       PACKING, SPACER RINGS AND SNAP RINGS                                                               GI 116,A‐7    EA                                 1                                0

                                                                                                 *OBS* 13‐5/8" LS‐15 LANDING COLLAR: WITH 4.21" SEAL DIAMETER, 13‐5/8" 88.2
                                                                                                 LB./FT. GB CDE (GB TUBULARS CASING DRILLING ENHANCED) BOX X PIN, WITH
Drilquip ‐ Houston      Drilquip      2‐304687‐05    00203557‐01   HEMP Rack: LINER LH FLOOR     CEMENTED REDUCED ALUMINUM INSERT, 125K YIELD MATERIAL BODY                                         GI 116,A‐7    EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐403663‐02    00262483‐01        ELD Rack: F222           18‐3/4" X 14‐1/2" WEAR SLEEVE, BIG BORE SYSTEM, "J" TYPE                                            GC 200       EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐403663‐02    00262484‐01        ELD Rack: F197           18‐3/4" X 14‐1/2" WEAR SLEEVE, BIG BORE SYSTEM, "J" TYPE                                           MC 519 #3     EA                                 1                                0

Drilquip ‐ Houston      Drilquip      2‐403665‐02    00262485‐01         ELD Rack: F190          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                          MC 519 #3     EA                                 1                                0

Drilquip ‐ Houston      Drilquip      2‐403665‐02    00262486‐01         ELD Rack: F202          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                          MC 519 #3     EA                                 1                                0
                                                                                                 18‐3/4" STABILIZER SUB FOR BIG BORE WEAR SLEEVES. 7‐5/8" API REG. BOX UP X
Drilquip ‐ Houston      Drilquip      2‐403666‐02    00262487‐01         ELD Rack: F202          PIN DOWN.                                                                                          MC 519 #3     EA                                 1                                0
                                                                                                 18‐3/4" STABILIZER SUB FOR BIG BORE WEAR SLEEVES. 7‐5/8" API REG. BOX UP X
Drilquip ‐ Houston      Drilquip      2‐403666‐02    00262488‐01         ELD Rack: F208          PIN DOWN.                                                                                           GC 200       EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.             Location           Item Description                                                               Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                               18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                               TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
Drilquip ‐ Houston      Drilquip      2‐405222‐02   00262489‐01        ELD Rack: SVC F09G      GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA.                                                       GC 40‐1       EA                                 1                                0
                                                                                               18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                               TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
Drilquip ‐ Houston      Drilquip      2‐405222‐02   00262490‐01         ELD Rack: D06G         GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA.                                                       GC 200        EA                                 1                                0
                                                                                               18‐3/4" X 13‐3/8" ADAPTER SLEEVE: TYPE SS‐15, RUN WITH 6‐5/8" TOOL JOINT
                                                                                               BIT SUB AND 13‐3/8" WEAR BUSHING, "J" LUG STYLE, FOR USE WITH BIG BORE OR
Drilquip ‐ Houston      Drilquip      2‐403961‐02   00262491‐01          ELD Rack: F222        STANDARD BORE WELLHEAD SYSTEMS                                                                      GC 200        EA                                 1                                0
                                                                                               18‐3/4" X 13‐3/8" ADAPTER SLEEVE: TYPE SS‐15, RUN WITH 6‐5/8" TOOL JOINT
                                                                                               BIT SUB AND 13‐3/8" WEAR BUSHING, "J" LUG STYLE, FOR USE WITH BIG BORE OR
Drilquip ‐ Houston      Drilquip      2‐403961‐02   00262492‐01          ELD Rack: F221        STANDARD BORE WELLHEAD SYSTEMS                                                                      GC 40‐1       EA                                 1                                0
                                                                                               22" X 18" BIG BORE II POSITIVE STOP CASING HANGER: MIN. I.D. 16.553", 18" 94
                                                                                               LB./FT. HYDRIL 521 PIN THREAD DOWN, PREP. FOR WEIGHT SET RESILIENT SEAL
                                                                                               ASSEMBLY, 5,000 PSI RATED, PSL‐3, STANDARD SERVICE..
                                                                                               XXXX
                                                                                               * 18" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED 17‐7/8" 93.5 LB/FT P110 HYDRIL 521 BOX X PIN, 20
                                                                                               FT. LONG
Drilquip ‐ Houston      Drilquip      2‐403697‐05   00258501‐01        ELD Rack: NYD A‐12      * 18" CASING HANGER: CP11970‐09, P/N 2‐403697‐05, ITEMS 144                                       MC 339 #1       EA                                 1                                0
                                                                                               22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI                       BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐403134‐02   00109398‐15          ELD Rack: A84         RATED, H2S SERVICE                                                                                 SYSTEMS        EA                                 1                                0
                                                                                               22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI                       BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐403134‐02   00109398‐16          ELD Rack: A85         RATED, H2S SERVICE                                                                                 SYSTEMS        EA                                 1                                0
                                                                                               18.75" X 13.62" CASING HANGER, TYPE SS‐15, 13‐5/8" VAM TOP (88.2 LB/FT) BOX
                                                                                               DOWN, API 17D, V, AA, PSL‐3, RATED FOR HIGH TEMPERATURE/HIGH LOAD,
                                                                                               12.375 MIN. I.D., FOR USE WITH BIG BORE II WELLHEAD ASSEMBLY, NOBLE
                                                                                               QUALITY PLAN Q504.01
                                                                                               XXXX
                                                                                               * 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                               * PIPE: NOBLE CUSTOMER SUPPLIED 13‐5/8" 88.2 LB/FT VAM TOP PIN X 14" 114#
                                                                                               HYD BLUE PIN APPROX. 10 FT.
Drilquip ‐ Houston      Drilquip      2‐403357‐14   00240267‐01        ELD Rack: NYD A‐12      * 14" CASING HANGER: P/N 2‐403357‐14, CP11970‐16                                                NICARAGUA ‐ PS1   EA                                 1                                0
                                                                                               36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                               PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                               LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
                                                                                               QUALITY PLAN Q504.01
                                                                                               XXXX
                                                                                               * 28" CASING HANGER JOINT FABRICATION CONSISTS OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED 28" O.D. X .750" WALL, X‐56, 40 FT. LONG, WITH
                                                                                               PLAIN END X S‐60D/MT PIN
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00258492‐01        ELD Rack: NYD CC‐6      * 28" CASING HANGER: P/N 2‐413137‐02, CP12179‐04, ITEM 13                                          MC 339 #1      EA                                 1                                0
                                                                                               11‐7/8" LS‐15 QUIK‐DRIL LANDING COLLAR, CEMENT FILLED WITH MODIFIED ID
                                                                                               PROFILE AND REDUCED ALUMINUM INSERT TO ACCEPT LINER WIPER PLUG WITH
                                                                                               4.21" SEAL DIAMETER, 11‐7/8" 71.8 LB./FT. HYDRIL 523 BOX X PIN, HCQ‐125,
Drilquip ‐ Houston      Drilquip      2‐305854‐02   00231477‐02    HEMP Rack: LINER CANT 2C    STANDARD SERVICE                                                                                   MP 295 #1      EA                                 1                                0
                                                                                               LS‐15 PUMP DOWN PLUG: 2.34" DIAMETER SEAL NOSE WITH 5.5" X 4.5" X 5.5"
                                                                                               DIAMETER WIPERS, 17.06" LONG. FOR LARGE RUNNING TOOL, COMPATIBLE WITH
                                                                                               REDUCED ALUMINUM 9‐7/8" THRU 13‐5/8" LINER WIPER PLUGS (2‐3046850, 2‐
                                                                                               304795 AND 2‐304797) AND 9‐7/8" DUAL LINER WIPER PLUG (2‐304229), NOTE
Drilquip ‐ Houston      Drilquip      2‐304330‐21   00232484‐01     HEMP Rack: LINER FLOOR     ONE SPACER EACH IS PLACED BETWEEN WIPERS                                                           MP 295 #1      EA                                 1                                0
Drilquip ‐ Houston      Drilquip       917363‐24        N/A          HEMP Rack: LINER K4C      2.75" DIAMETER CHROME BALL                                                                         MP 295 #1      EA                                 1                                0

                                                                                             9‐7/8" LS‐15 LANDING COLLAR: FOR 9‐5/8", 9‐3/4", OR 9‐7/8" DUAL LINER WIPER
                                                                                             PLUG, LOWER SEAL BORE I.D. 4.210", UPPER SEAL BORE I.D. 6.790", BODY I.D.
Drilquip ‐ Houston      Drilquip      2‐304228‐07   00234525‐01      HEMP Rack: LINER R36D   8.525". 9‐7/8" 62 LB./FT. HYDRIL 513 BOX X PIN, Q‐125, STANDARD SERVICE                              MP 295 #1      EA                                 1                                0
                                                                                             9‐5/8"/9‐7/8" LS‐15 DUAL LINER WIPER PLUG: FOR 9‐5/8" 36‐61 LB./FT., 9‐3/4"
                                                                                             59.2 LB./FT., OR 9‐7/8" 62.8‐65.1 CASING, WITH SECONDARY RELEASE
                                                                                             MECHANISM FOR LEAD AND FOLLOW PLUGS. USE WITH 2.130" O.D. LEAD AND
Drilquip ‐ Houston      Drilquip      2‐304229‐03   00233379‐01   HEMP Rack: LINER PUMP CAGE 2.340" O.D. FOLLOW PUMP DOWN PLUG SEAL SUBS.                                                         MP 295 #1      EA                                 1                                0

                                                                                               9‐7/8" LS‐15 LANDING COLLAR: FOR 9‐5/8", 9‐3/4", OR 9‐7/8" DUAL LINER WIPER
                                                                                               PLUG, LOWER SEAL BORE I.D. 4.210", UPPER SEAL BORE I.D. 6.790", BODY I.D.
Drilquip ‐ Houston      Drilquip      2‐304228‐07   00234530‐01        HEMP Rack: FLOOR        8.525". 9‐7/8" 62 LB./FT. HYDRIL 513 BOX X PIN, Q‐125, STANDARD SERVICE                            MP 295 #1      EA                                 1                                0
                                                                                               22" X 16" POSITIVE STOP CASING HANGER, TYPE SS‐10/15, 16" HYDRIL 513 (109
                                                                                               LB/FT) PIN DOWN, V, AA, PSL‐3, MIN. I.D., 14.549", FOR USE WITH BIG BORE II
                                                                                               WELLHEAD SYSTEM, FOR WEIGHT SET SEAL ASSEMBLY, NOBLE QUALITY PLAN
                                                                                               Q504.01
                                                                                               XXXX
                                                                                               * 16" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED 16" 109 LB/FT, P‐110 IC, HYDRIL 513 BOX X PIN, 20
                                                                                               FT. LONG
Drilquip ‐ Houston      Drilquip      2‐404635‐10   00253010‐01       ELD Rack: NYD YR #3      * 16" CASING HANGER: CP12439‐02, P/N 2‐404635‐10, ITEMS 77                                         MC 479 #1      EA                                 1                                0
                                                                                               22" X 16" BIG BORE II POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 16"
                                                                                               BLANK PIN DOWN. PREP. FOR WEIGHT SET SEAL ASSEMBLY. 6,500 PSI RATED.
Drilquip ‐ Houston      Drilquip      2‐404635‐01   00238983‐01          ELD Rack: F185        MIN. I.D. 14.549", TEMP V, MAT'L AA, PSL‐3                                                      NICARAGUA ‐ PS1   EA                                 1                                0
                                                                                               REDRESS KIT, FOR 7" X 9‐7/8" TIEBACK SEAL NIPPLE (P/N 2‐305735‐02), MODEL
                                                                                               LS15, WITH 8.00 OD HNBR V‐PKNG. INCLUDES SPACER RINGS AND RETAINER
Drilquip ‐ Houston      Drilquip      2‐305736‐02   00235699‐01        HEMP Rack: LINER        RINGS.                                                                                             MP 295 #1      EA                                 1                                0
                                                                                               18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                               SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐401845‐02   00258512‐01          ELD Rack: A84         RING, H2S SERVICE                                                                                  MC 339 #1      EA                                 1                                0
                                                                                               18‐3/4" EMERGENCY SEAL ASSEMBLY, TYPE SS‐15 SYSTEM, H2S SERVICE,
Drilquip ‐ Houston      Drilquip      2‐402060‐02   00239704‐01          ELD Rack: A81         INCLUDES OUTER LOCK RING.                                                                                         EA                                 1                                0
                                                                                               18‐3/4" EMERGENCY SEAL ASSEMBLY, TYPE SS‐15 SYSTEM, H2S SERVICE,
Drilquip ‐ Houston      Drilquip      2‐402060‐02   00236967‐03          ELD Rack: A81         INCLUDES OUTER LOCK RING.                                                                                         EA                                 1                                0
                                                                                               22" X 16" BIG BORE II POSITIVE STOP CASING HANGER. 16" 97 LB/FT, HYDRIL 511
                                                                                               PIN DOWN PREP. FOR WEIGHT SET SEAL ASSEMBLY. 6,500 PSI RATED. MIN. I.D.
Drilquip ‐ Houston      Drilquip      2‐413140‐02   00240513‐01          ELD Rack: F188        14.549". MAT'L CLASS: AA, PSL‐3. NOBLE QUALITY PLAN Q504.01                                       GOM STOCK       EA                                 1                                0
                                                                                               22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI
Drilquip ‐ Houston      Drilquip      2‐408785‐03   00236564‐01         ELD Rack: A84          RATED, H2S SERVICE NOBLE QUALITY PLAN Q504.01                                                                     EA                                 1                                0
Drilquip ‐ Houston      Drilquip       917363‐24        N/A          HEMP Rack: LINER K4C      2.75" DIAMETER CHROME BALL                                                                         MP 295 #1      EA                                 1                                0




                                                                                                                                                       59
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     Facility        Facility Owner   Item Number    Serial No.             Location           Item Description                                                                Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                               22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                               1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                               DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
                                                                                               Q504.01
                                                                                               XXXX
                                                                                               * 22" X 18" BIG BORE II CASING HANGER ADAPTER JOINT FABRICATION:
                                                                                               * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.000" WALL, API 5L GRADE X‐80,
                                                                                               D.S.A.W., RANGE III WITH S90M/MT BOX X PIN
                                                                                               * 22" SUPPLEMENTAL ADAPTER: P/N 2‐404191‐12, CP12555‐60, FROM ITEM 27
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00260141‐01        ELD Rack: NYD CC‐6      * TRANSITION SWEDGE: P/N 2‐404391‐07, CP12555‐63, FROM ITEM 28                                       GC 40‐2       EA                                 1                                0

                                                                                               18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                               PREP. FOR CAM ACTUATED RUNNING TOOL. WELLHEAD PROFILE COMPATABLE
                                                                                               WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT" GASKET PREP. UP, 22" O.D. X
                                                                                               1.25" WALL B.W.P., 18.510" MIN ID, API 17D, V, DD, PSL‐3, H2S SERVICE. SOLID
                                                                                               BENDING REACTION RING, EXTRA LOCK‐DOWN GROOVES, OVERPULL SPLIT RING
                                                                                               XXXX
                                                                                               * 18‐3/4" HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                               D.S.A.W, WITH H‐90DM/MT PIN BY PLAIN END BEVEL
Drilquip ‐ Houston      Drilquip      2‐406862‐03   00258494‐01        ELD Rack: NYD CC‐6      * 18‐3/4" WELLHEAD HOUSING: P/N 2‐406862‐03, CP12564‐01, ITEM 91                                    MC 339 #1      EA                                 1                                0
                                                                                               22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 22" O.D. X
                                                                                               1.250" WALL B.W.P. UP AND DOWN. PROFILE MIN. I.D.18.375". 22.030" MAX O.D.
Drilquip ‐ Houston      Drilquip      2‐405573‐04   00225597‐01          ELD Rack: L88         STD. SERVICE. NOBLE QUALITY PLAN Q504.01                                                           GOM STOCK       EA                                 1                                0
                                                                                               LS‐15 PUMP DOWN PLUG: 2.130" DIAMETER, FOR 5.50" DIA. X 4.50" DIA. X 5.50"
                                                                                               DIA. X 17.50" LONG, FOR LARGE RUNNING TOOL, COMPATIBLE WITH LEAD LINER
Drilquip ‐ Houston      Drilquip      2‐304331‐12   00242625‐01     HEMP Rack: LINER FLOOR     WIPER PLUG FOR 9‐7/8" DUAL LINER WIPER PLUG SYSTEM                                                  MP 295 #1      EA                                 1                                0
                                                                                               7" X 9‐7/8" TIEBACK‐SEAL‐NIPPLE, MODEL LS15, FOR 15 FT. LONG SEAL BORE.
                                                                                               7.00" 42.7LBS./FT. VAM SLIJ‐II BOX UP WITH 8.25" OD LOCATOR COLLAR X HALF
                                                                                               MULE SHOE DOWN. SEALS INSIDE 8.000" I.D. PBR, 4 SETS HNBR V‐PKG, 5.730
Drilquip ‐ Houston      Drilquip      2‐305735‐02   00240258‐01    HEMP Rack: LINER CANT 2C    MIN. ID, Q‐125 SERVICE                                                                              MP 295 #1      EA                                 1                                0

                                                                                             22" X 16" ADAPTER HOUSING, 22" X 1.250" WALL BUTTWELD PREP DOWN X 22" X
                                                                                             1.250" WALL BUTTWELD PREP UP, V, AA, PSL‐3, WITH 18.375" MIN. I.D. FO 16"
                                                                                             "NO‐GO" STYLE SUPPLEMENTAL HANGER (WEIGHT SET), MONOGRAM PER API
                                                                                             17D, BIG BORE II, WITH O.D. LOCK RING PROFILE, NOBLE QUALITY PLAN Q504.01
                                                                                             XXXX
                                                                                             * 22" X 16" BIG BORE II CASING HANGER ADAPTER JOINT FABRICATION CONSISTS
                                                                                             OF:
                                                                                             * PIPE: CUSTOMER SUPPLIED 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                             D.S.A.W, RANGE III, WITH H‐90DM/MT PIN BY H‐90M/MT BOX
Drilquip ‐ Houston      Drilquip      2‐415025‐03   00253615‐01       ELD Rack: NYD CC‐6     * 22" SUPPLEMENTAL ADAPTER: P/N 2‐415025‐03, CP12575‐03, ITEM 73                                      MC 479 #1      EA                                 1                                0
                                                                                             GASKET, "VX‐2" W/HYCAR SEAL RING, 18‐3/4"‐10,000 PSI WP, 316 SS, VETCO P/N
Drilquip ‐ Houston      Drilquip      2‐901022‐04       N/A             ELD Rack: F216       111227‐1                                                                                           NICARAGUA ‐ PS1   EA                                 1                                0
                                                                                             GASKET, "VX‐2" W/HYCAR SEAL RING, 18‐3/4"‐10,000 PSI WP, 316 SS, VETCO P/N
Drilquip ‐ Houston      Drilquip      2‐901022‐04       N/A             ELD Rack: F216       111227‐1                                                                                           NICARAGUA ‐ PS1   EA                                 1                                0
                                                                                             LS‐15 LINER WIPER PLUG: 11‐3/4" 54‐83 LB./FT, 11‐7/8" 71.8 LB./FT WITH
Drilquip ‐ Houston      Drilquip      2‐304441‐03   00163826‐01   HEMP Rack: LINER PUMP CAGE EMERGENCY RELEASE SET AT 4,000 PSI, HSN MATERIAL.                                                     MP 295 #1      EA                                 1                                0
Drilquip ‐ Houston      Drilquip       917363‐24        N/A          HEMP Rack: LINER K4C    2.75" DIAMETER CHROME BALL                                                                            MP 295 #1      EA                                 1                                0
                                                                                             LS‐15 PUMP DOWN PLUG: 2.34" DIAMETER SEAL NOSE WITH 5.5" X 4.5" X 5.5"
                                                                                             DIAMETER WIPERS, 17.06" LONG. FOR LARGE RUNNING TOOL, COMPATIBLE WITH
                                                                                             REDUCED ALUMINUM 9‐7/8" THRU 13‐5/8" LINER WIPER PLUGS (2‐3046850, 2‐
                                                                                             304795 AND 2‐304797) AND 9‐7/8" DUAL LINER WIPER PLUG (2‐304229), NOTE
Drilquip ‐ Houston      Drilquip      2‐304330‐21   00243184‐01      HEMP Rack: LINER K1C    ONE SPACER EACH IS PLACED BETWEEN WIPERS                                                              MP 295 #1      EA                                 1                                0
                                                                                             18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                             SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00262496‐01          ELD Rack: A80       RING, H2S SERVICE PER NOBLE QP Q504.01                                                                 GC 200        EA                                 1                                0
                                                                                             LINER HANGER PACKER, 11‐7/8" 71.8# X 13‐3/8" 68#‐72# OR 13‐5/8" 88.2# OR 14"
                                                                                             115#, MODEL LS15, 11‐7/8" 71.8# HYDRIL 523 BOX DOWN, W/15 FT. TBR, Q‐125
                                                                                             SERVICE HIGH PRESSURE, BODY IS 135 KSI AND CONE IS 150 KSI YIELD, MAXIMUM
Drilquip ‐ Houston      Drilquip      2‐304998‐04   00243829‐01    HEMP Rack: LINER CANT 2C  CASING I.D. TO SET HANGER 12.570"                                                                     MP 295 #1      EA                                 1                                0

                                                                                               36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                               36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                               HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
                                                                                               3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01
                                                                                               XXXX
                                                                                               * 36" WELLHEAD HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED, QTY 1, 36" O.D. X 2.000" WALL API 5L GRADE X‐
                                                                                               70M, D.S.A.W., 60 FT LONG, WITH HC‐100D/MT PIN X PLAIN END
                                                                                               * 36" WELLHEAD HOUSING: CP12635‐01, P/N 2‐404172‐09, ITEM 80
                                                                                               * 36" X 28" ADAPTER WITH ANNULUS OUTLET PORTS: CP12682‐04, P/N 2‐413195‐
                                                                                               02, ITEM 81
                                                                                               * 50 TON LIFT EYES: QTY. 2, CP 13122‐01, P/N 2‐304782‐02, ITEM 82
                                                                                               * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: QTY. 1: CP12723‐03,
                                                                                               P/N 2‐413828‐02, ITEM 83
                                                                                               * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: QTY. 1: CP12723‐11,
                                                                                               P/N 2‐411654‐02 , ITEM 84
                                                                                               * WELD ON FLANGE FOR SLOPE MOUNTING BRACKET: QTY. 2, CP12433‐01 &
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00258483‐01       ELD Rack: RISER N‐13     CP12433‐02, P/N 2‐401350‐02, ITEMS 85 & 86                                                          MC 339 #1      EA                                 1                                0
                                                                                               18‐3/4" EMERGENCY SEAL ASSEMBLY, TYPE SS‐15 SYSTEM, H2S SERVICE,
Drilquip ‐ Houston      Drilquip      2‐402060‐02   00245291‐09          ELD Rack: A79         INCLUDES OUTER LOCK RING.                                                                           MC 519 #3      EA                                 1                                0
                                                                                               18‐3/4" EMERGENCY SEAL ASSEMBLY, TYPE SS‐15 SYSTEM, H2S SERVICE,
Drilquip ‐ Houston      Drilquip      2‐402060‐02   00245291‐10          ELD Rack: A80         INCLUDES OUTER LOCK RING.                                                                            GC 200        EA                                 1                                0
                                                                                               9.63" X 11.75" LS‐15 LINER HANGER PACKER WITH LS‐15 SEAL, C‐RING SLIP, 15 FT.
                                                                                               135,000 YIELD TIE‐BACK RECEPTACLE, AND WITH HOLD DOWN SLIP. COMPATIBLE
                                                                                               WITH 9‐5/8" 53.5 LB/FT OR 9‐7/8" 62.8 LB/FT X 11‐3/4" 60‐65 LB/FT OR 11‐7/8"
                                                                                               71.8 LB/FT, MIN. I.D. 8.553". 9‐7/8" 62.8 LB/FT HYDRIL 523 BOX DOWN, Q‐125,
                                                                                               STANDARD SERVICE.
                                                                                               XXXX
                                                                                               * 9‐7/8" X 11‐7/8" LINER HANGER MAKE‐UP CONSISTS OF:
Drilquip ‐ Houston      Drilquip      2‐305593‐03   00244075‐01    HEMP Rack: LINER CANT 2C    * 9‐7/8" X 11‐7/8" LINER HANGER: ITEM 1                                                             MP 295 #1      EA                                 1                                0




                                                                                                                                                       60
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     Facility        Facility Owner   Item Number    Serial No.             Location           Item Description                                                                   Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                               7" LS‐15 LANDING COLLAR: FOR 7" DUAL PLUG, LOWER SEAL BORE I.D. 3.010",
                                                                                               UPPER SEAL BORE I.D. 5.210" MIN., WITH 7" 42.7 LB./FT. VAM SLIJ‐II BOX X PIN, Q‐
Drilquip ‐ Houston      Drilquip      2‐305220‐07   00235308‐01        HEMP Rack: LINER        125 SERVICE,                                                                                           MP 295 #1      EA                                 1                                0
                                                                                               22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                               SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00253008‐01          ELD Rack: A87         Q504.01                                                                                                               EA                                 1                                0


                                                                                               36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                               PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                               LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
                                                                                               QUALITY PLAN Q504.01
                                                                                               XXXX
                                                                                               * 36" X 28" POSITIVE STOP CASING HANGER JOINT FABRICATION CONSISTS OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED, 28" O.D. X .750" WALL, X‐60, RANGE 3, WITH PLAIN
                                                                                               END X S‐60D/MT PIN
                                                                                               * PIPE: CUSTOMER SUPPLIED, 28" O.D. X .750" WALL, X‐56, RANGE 3, PEB X PEB
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00260138‐01       ELD Rack: RISER S‐14     * 28" CASING HANGER: P/N 2‐413137‐02, CP12684‐02, ITEM 21                                               GC 40‐2       EA                                 1                                0

                                                                                             36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                             PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                             LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
                                                                                             QUALITY PLAN Q504.01
                                                                                             XXXX
                                                                                             * 36" X 28" POSITIVE STOP CASING HANGER FABRICATION CONSISTS OF:
                                                                                             * PIPE: CUSTOMER SUPPLIED, 28" O.D. X .750" WALL, X‐60, RANGE III, PEB X PEB
                                                                                             * PIPE: CUSTOMER SUPPLIED, 28" O.D. X .750" WALL, X‐60, RANGE III, PEB X S‐
                                                                                             60D/MT PIN                                                                                            BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00246228‐04      ELD Rack: RISER N‐13    * 28" CASING HANGER: P/N 2‐413137‐02, CP12684‐04, ITEMS 16.                                              SYSTEMS        EA                                 1                                0
                                                                                             11‐3/4" LS‐15 LANDING COLLAR, REDUCED ALUMINUM INSERT TO ACCEPT LINER
                                                                                             WIPER PLUG WITH 4.21" SEAL DIAMETER, 11‐3/4" 65# VAM SLIJ‐II BOX X PIN, P‐
Drilquip ‐ Houston      Drilquip      2‐306141‐02   00243399‐01   HEMP Rack: LINER PUMP CAGE 110, STANDARD SERVICE                                                                                    MP 295 #1      EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐901022‐02       N/A             ELD Rack: F189       18‐3/4" VX‐2/VT‐2 RING GASKET: 15,000 PSI W.P., STAINLESS STEEL                                       NICARAGUA ‐ PS1   EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐901022‐02       N/A             ELD Rack: F189       18‐3/4" VX‐2/VT‐2 RING GASKET: 15,000 PSI W.P., STAINLESS STEEL                                       NICARAGUA ‐ PS1   EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐901022‐02       N/A             ELD Rack: F189       18‐3/4" VX‐2/VT‐2 RING GASKET: 15,000 PSI W.P., STAINLESS STEEL                                       NICARAGUA ‐ PS1   EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A              ELD Rack: F56       4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                                        MC 519 #3      EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A              ELD Rack: F49       4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                                        MC 519 #3      EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A              ELD Rack: F56       4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                                        MC 519 #3      EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A              ELD Rack: F49       4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                                        MC 519 #3      EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A              ELD Rack: F49       4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                                        MC 519 #3      EA                                 1                                0
                                                                                             4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                             FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY                                BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A              ELD Rack: SVC       FOUR (4) VALVES)                                                                                         SYSTEMS        EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A              ELD Rack: F49       4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                                       MC 519 #3       EA                                 1                                0
                                                                                             4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                             FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY                                BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A              ELD Rack: SVC       FOUR (4) VALVES)                                                                                         SYSTEMS        EA                                 1                                0
                                                                                             4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                             FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY                                BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A              ELD Rack: SVC       FOUR (4) VALVES)                                                                                         SYSTEMS        EA                                 1                                0
                                                                                             4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                             FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY                                BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A              ELD Rack: SVC       FOUR (4) VALVES)                                                                                         SYSTEMS        EA                                 1                                0
                                                                                             4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                             FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY                                BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A              ELD Rack: SVC       FOUR (4) VALVES)                                                                                         SYSTEMS        EA                                 1                                0

                                                                                               SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                               BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00258485‐01       ELD Rack: NYD CC‐9 8     FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                    MC 339 #1      EA                                 1                                0

                                                                                               SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                               BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
                                                                                               FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01
                                                                                               PART OF CP12723‐11 MUDSTICK P/N 2‐408899‐02, S/N 00238931‐10 IN
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00258486‐01       ELD Rack: NYD CC‐9 8     LOC=D05G.                                                                                              MC 339 #1      EA                                 1                                0
                                                                                               22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                               1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                               DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
                                                                                               Q504.01
                                                                                               XXXX
                                                                                               * 22" X 18" BIG BORE II CASING HANGER ADAPTER JOINT FABRICATION CONSISTS
                                                                                               OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.000" WALL, API 5L GRADE X‐80,
                                                                                               D.S.A.W., RANGE III WITH S90M/MT BOX X PIN
                                                                                               * 22" SUPPLEMENTAL ADAPTER: P/N 2‐404191‐12, CP12739‐01, ITEM 21
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00248243‐01        ELD Rack: NYD CC‐6      * TRANSITION SWEDGE: P/N 2‐404391‐07, CP12627‐03, ITEM 22.                                              GC 200        EA                                 1                                0
                                                                                               CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00246503‐02          ELD Rack: A05G        X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                             EA                                 1                                0
                                                                                               22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                               1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                               DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
                                                                                               Q504.01
                                                                                               XXXX
                                                                                               * 22" X 18" BIG BORE II CASING HANGER ADAPTER JOINT FABRICATION CONSISTS
                                                                                               OF:
                                                                                               * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.000" WALL, API 5L GRADE X‐80,
                                                                                               D.S.A.W., RANGE III WITH S90M/MT BOX X PIN,
                                                                                               * 22" SUPPLEMENTAL ADAPTER: P/N 2‐404191‐12, CP12793‐02, ITEM 24,                                   BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00249299‐02       ELD Rack: RISER N‐21     * TRANSITION SWEDGE: P/N 2‐404391‐07, CP12756‐01, ITEM 25.                                             SYSTEMS        EA                                 1                                0




                                                                                                                                                         61
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     Facility        Facility Owner   Item Number    Serial No.        Location          Item Description                                                               Project Number   Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                         18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, 14" HYDRIL 523 (115
                                                                                         LB./FT.) BOX DOWN, 12.375" MIN. I.D., API 17D, V, AA, PSL‐3, RATED FOR HIGH
                                                                                         TEMPERATURE/HIGH LOAD, NOBLE QUALITY PLAN QP‐Q504.01
                                                                                         XXXX
                                                                                         * 18‐3/4" X 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 14" O.D.,113#, TN‐110SS, HYDRIL 523 PIN X PIN, 20
                                                                                         FT. LONG
Drilquip ‐ Houston      Drilquip      2‐410497‐04   00253014‐01   ELD Rack: NYD A‐12     * 18‐3/4" X 14" CASING HANGER: P/N 2‐410497‐04, CP12795‐02, ITEMS 142                             MC 479 #1     EA                                 1                                0
                                                                                         22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                         PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN                               BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00249305‐01     ELD Rack: F201       Q504.01                                                                                            SYSTEMS      EA                                 1                                0
                                                                                         22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                         PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN                               BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00249305‐02     ELD Rack: F201       Q504.01                                                                                            SYSTEMS      EA                                 1                                0
                                                                                         36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                         PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                         LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE                                 BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00248266‐01     ELD Rack: F210       QUALITY PLAN Q504.01                                                                               SYSTEMS      EA                                 1                                0
                                                                                         36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                         PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                         LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE                                 BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00246754‐01     ELD Rack: F210       QUALITY PLAN Q504.01                                                                               SYSTEMS      EA                                 1                                0

                                                                                         22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                         WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                         FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                         ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
                                                                                         SERVICE PER NOBLE QUALITY PLAN Q504.01
                                                                                         XXXX
                                                                                         * 22" X 16" BIG BORE II CASING HANGER ADAPTER JOINT FABRICATION CONSISTS
                                                                                         OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                         D.S.A.W, RANGE III, WITH H‐90DM/MT PIN BY H‐90M/MT BOX
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00260525‐01   ELD Rack: NYD CC‐6     * 22" SUPPLEMENTAL ADAPTER: P/N 2‐413198‐02, CP12828‐04, FROM ITEM 97                              GC 40‐2      EA                                 1                                0
                                                                                         22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                         SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00270978‐02      ELD Rack: A81       Q504.01                                                                                           MC 519 #3     EA                                 1                                0

                                                                                         36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                         36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                         HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
                                                                                         3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01
                                                                                         XXXX
                                                                                         * 36" WELLHEAD HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED, QTY 1, 36" O.D. X 2.000" WALL API 5L GRADE X‐
                                                                                         70M, D.S.A.W., RANGE III, WITH HC‐100D/MT PIN X PLAIN END
                                                                                         * PIPE: CUSTOMER SUPPLIED, QTY 1, 36" O.D. X 2.000" WALL API 5L GRADE X‐
                                                                                         70M, D.S.A.W., RANGE III, PEB X PEB
                                                                                         * 36" WELLHEAD HOUSING: CP12861‐02, P/N 2‐404172‐09, ITEM 10
                                                                                         * 36" X 28" ADAPTER WITH ANNULUS OUTLET PORTS: CP12683‐01, P/N 2‐413195‐
                                                                                         02, ITEM 11
                                                                                         * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: QTY. 1: CP13218‐02,
                                                                                         P/N 2‐413828‐02, ITEM 12
                                                                                         * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: QTY. 1: CP13326‐02,
                                                                                         P/N 2‐411654‐02 , ITEM 13
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00260131‐01   ELD Rack: RISER N‐18   * ADAPTER SUB: QTY. 1, CP13147‐02, P/N 2‐408274‐03                                                 GC 40‐2      EA                                 1                                0
                                                                                         18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, 14" HYDRIL 523 (115
                                                                                         LB./FT.) BOX DOWN, 12.375" MIN. I.D., API 17D, V, AA, PSL‐3, RATED FOR HIGH
                                                                                         TEMPERATURE/HIGH LOAD, NOBLE QUALITY PLAN QP‐Q504.01
                                                                                         XXXX
                                                                                         * 18‐3/4" X 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 14" O.D., 113# TN125HC, HYDRIL 523 PIN X PIN, 20
                                                                                         FT LONG
Drilquip ‐ Houston      Drilquip      2‐410497‐04   00258509‐01   ELD Rack: NYD YR #5    * 14" CASING HANGER:, P/N 2‐410497‐04, CP12918‐02, ITEM 71                                        MC 339 #1     EA                                 1                                0

                                                                                         36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                         PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                         LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
                                                                                         QUALITY PLAN Q504.01
                                                                                         XXXX
                                                                                         * 36" X 28" POSITIVE STOP CASING HANGER JOINT FABRICATION CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED, 28" O.D. X .750" WALL, X‐60, APPROX. 40 FT. LONG,
                                                                                         PEB X PEB,
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00272883‐01   ELD Rack: RISER N‐10   * 28" CASING HANGER: P/N 2‐413137‐02, CP12941‐01, ITEMS 15.                                        GC 200       EA                                 1                                0
                                                                                         22" X 16" BIG BORE II POSITIVE STOP CASING HANGER, 0‐10,000 PSI, TYPE SS‐
                                                                                         10/15, (94.50 ‐ 97 LB./FT.), HYDRIL 511 PIN DOWN, V, AA, PSL‐3, WITH 14.590"
                                                                                         MIN. I.D., FOR USE WITH WEIGHT SET SEAL ASSEMBLY, NOBLE QUALITY PLAN
                                                                                         Q504.01
                                                                                         XXXX
                                                                                         * 16" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 16" 96 LB/FT, Q‐125, HYDRIL 511 BOX X PIN, 20 FT.
                                                                                         LONG
Drilquip ‐ Houston      Drilquip      2‐407284‐22   00258505‐01   ELD Rack: NYD YR #5    * 16" CASING HANGER: CP12959‐01, P/N 2‐407284‐22                                                  MC 339 #1     EA                                 1                                0
                                                                                         18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                         SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00257373‐01      ELD Rack: A81       RING, H2S SERVICE PER NOBLE QP Q504.01                                                             GC 40‐1      EA                                 1                                0
                                                                                         18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                         SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00273221‐01      ELD Rack: A80       RING, H2S SERVICE PER NOBLE QP Q504.01                                                                          EA                                 1                                0
                                                                                         18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                         SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00273221‐02      ELD Rack: A80       RING, H2S SERVICE PER NOBLE QP Q504.01                                                                          EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                              Project Number   Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                          17 TON SHACKLE ANCHOR BOLT TYPE, 1‐1/2" NOM. FED SPEC RR‐C‐271D, TYPE
                                                                                          IVA, GRADE A, CLASS 3, SPECIAL, CROSBY P/N 1019631 G‐2130 TO MEET GOM
                                                                                          CERTIFIED SLING & RIGGING PROCEDURE
Drilquip ‐ Houston      Drilquip       917254‐29        N/A          ELD Rack: A05G       QTY. (32) LEFT TO USE.                                                                                         EA                                32                                0
                                                                                          22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                          SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00274092‐02       ELD Rack: A81       Q504.01                                                                                                        EA                                 1                                0
                                                                                          HEX HEAD BOLTS, 3/4" ‐ 10 UNRC X 2‐1/2" LONG
Drilquip ‐ Houston      Drilquip      917146‐181        N/A          ELD Rack: F185       NEW. QTY.(24) LEFT TO USE.                                                                                     EA                                40                                0
                                                                                          WELD ON FLANGE FOR 36"/38" WELLHEAD TO ALLOW INSTALLATION OF
Drilquip ‐ Houston      Drilquip      2‐401350‐02   00273205‐04      ELD Rack: F191       MOUNTING BRACKET                                                                                               EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36"/38" WELLHEAD TO ALLOW INSTALLATION OF
Drilquip ‐ Houston      Drilquip      2‐401350‐02   00273205‐06      ELD Rack: F191       MOUNTING BRACKET                                                                                               EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36"/38" WELLHEAD TO ALLOW INSTALLATION OF
Drilquip ‐ Houston      Drilquip      2‐401350‐02   00273205‐08      ELD Rack: F191       MOUNTING BRACKET                                                                                               EA                                 1                                0
                                                                                          22" X 18" BIG BORE II POSITIVE STOP CASING HANGER: MIN. I.D. 16.600". 18",
                                                                                          117#, VAM HDL PIN DOWN. PREP. FOR WEIGHT SET RESILIENT SEAL ASSEMBLY.
                                                                                          5,000 PSI RATED. PSL‐3, STD. SERVICE.
                                                                                          XXXX
                                                                                          * 18" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED 18", 117 LB/FT, Q125‐HP, VAM HDL BOX X PIN, 20
                                                                                          FT. LONG,
Drilquip ‐ Houston      Drilquip      2‐413138‐06   00262335‐05    ELD Rack: NYD YR #2    * 22" X 18" CASING HANGER:, P/N 2‐413138‐06, CP13056‐02 , ITEMS 27.                              MC 519 #3     EA                                 1                                0
                                                                                          22" X 18" BIG BORE II POSITIVE STOP CASING HANGER: MIN. I.D. 16.600". 18",
                                                                                          117#, VAM HDL PIN DOWN. PREP. FOR WEIGHT SET RESILIENT SEAL ASSEMBLY.
                                                                                          5,000 PSI RATED. PSL‐3, STD. SERVICE.
                                                                                          XXXX
                                                                                          * 18" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED 18", 117 LB/FT, Q125‐HP, VAM HDL BOX X PIN, 20
                                                                                          FT. LONG,                                                                                      BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413138‐06   00275293‐03    ELD Rack: NYD YR #3    * 22" X 18" CASING HANGER:, P/N 2‐413138‐06, CP13056‐03, ITEMS.                                   SYSTEMS      EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
                                                                                          GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01
                                                                                          XXXX
                                                                                          * 18‐3/4" HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W, RANGE III WITH H‐90DM/MT PIN BY PLAIN END BEVEL
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W, RANGE III, PEB X PEB
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00260987‐01    ELD Rack: SVC F06G     * 18‐3/4" WELLHEAD HOUSING: P/N 2‐406862‐07, CP13113‐02, ITEM 25                                  GC 40‐2      EA                                 1                                0
                                                                                          LIFTING EYE, (50 TON), STANDARD DUTY, FOR 17 TON SHACKLE
Drilquip ‐ Houston      Drilquip      2‐304782‐02    IN CP FILE        ELD Rack: J2       QTY. (36) LEFT TO USE.                                                                                         EA                                36                                0
                                                                                          SUPPLEMENTAL ADAPTER, TYPE SS‐15, 36" X 2.000" WALL BUTTWELD PREP.
                                                                                          DOWN X 36" X 2.000" WALL BUTTWELD PREP. UP, FOR MOUNTING SLOPE
Drilquip ‐ Houston      Drilquip      2‐408274‐03   00248854‐02       ELD Rack: L52       INDICATOR BRACKETS AND ANODES                                                                                  EA                                 1                                0
                                                                                          SUPPLEMENTAL ADAPTER, TYPE SS‐15, 36" X 2.000" WALL BUTTWELD PREP.
                                                                                          DOWN X 36" X 2.000" WALL BUTTWELD PREP. UP, FOR MOUNTING SLOPE
Drilquip ‐ Houston      Drilquip      2‐408274‐03   00247448‐04       ELD Rack: L51       INDICATOR BRACKETS AND ANODES                                                                                  EA                                 1                                0
                                                                                          SUPPLEMENTAL ADAPTER, TYPE SS‐15, 36" X 2.000" WALL BUTTWELD PREP.
                                                                                          DOWN X 36" X 2.000" WALL BUTTWELD PREP. UP, FOR MOUNTING SLOPE
Drilquip ‐ Houston      Drilquip      2‐408274‐03   00247448‐05       ELD Rack: L51       INDICATOR BRACKETS AND ANODES                                                                                  EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                          SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   000276738‐01      ELD Rack: A83       Q504.01                                                                                                        EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                          SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   000276738‐02      ELD Rack: A83       Q504.01                                                                                                        EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00260133‐01    ELD Rack: NYD CC‐9 8   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                               GC 40‐2      EA                                 1                                0
                                                                                          18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, 14" HYDRIL 523 (115
                                                                                          LB./FT.) BOX DOWN, 12.375" MIN. I.D., API 17D, V, AA, PSL‐3, RATED FOR HIGH
                                                                                          TEMPERATURE/HIGH LOAD, NOBLE QUALITY PLAN QP‐Q504.01
                                                                                          XXXX
                                                                                          * 18‐3/4" X 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED 14" O.D., 116# Q125ICY, HYDRIL 523 PIN X PIN, 20
                                                                                          FT. LONG
Drilquip ‐ Houston      Drilquip      2‐410497‐04   00260537‐01    ELD Rack: NYD A‐12     * 18‐3/4" X 14" CASING HANGER:, P/N 2‐410497‐04, CP13237‐01, ITEMS 117                            GC 40‐2      EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                          RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00258507‐01       ELD Rack: A85       H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                          MC 339 #1     EA                                 1                                0
                                                                                          22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                          PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                          NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                          FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN                           BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00281043‐02      ELD Rack: F209       Q504.01                                                                                           SYSTEMS      EA                                 1                                0
                                                                                          22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                          PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                          NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                          FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN                           BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00281043‐03      ELD Rack: F209       Q504.01                                                                                           SYSTEMS      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
                                                                                          FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01
                                                                                          PART OF CP13326‐02 INCLUDES A MUDSTICK P/N 2‐408899‐02,S/N 00249215‐03
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00260134‐01    ELD Rack: NYD CC‐9 8   RETURNED UNUSED ON 4/10/19 IN LOC=D01G.                                                           GC 40‐2      EA                                 1                                0




                                                                                                                                                  63
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     Facility        Facility Owner   Item Number    Serial No.        Location          Item Description                                                               Project Number   Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                         22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                         WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                         FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                         ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD                        BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00271250‐01     ELD Rack: B13G       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                             SYSTEMS      EA                                 1                                0
                                                                                         22" X 16" BIG BORE II POSITIVE STOP CASING HANGER, 0‐10,000 PSI, TYPE SS‐
                                                                                         10/15, (94.50 ‐ 97 LB./FT.), HYDRIL 511 PIN DOWN, V, AA, PSL‐3, WITH 14.590"
                                                                                         MIN. I.D., FOR USE WITH WEIGHT SET SEAL ASSEMBLY, NOBLE QUALITY PLAN
                                                                                         Q504.01
                                                                                         XXXX
                                                                                         * XXXX
                                                                                         * 16" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 16" 96 LB/FT, Q125, HYDRIL 511 BOX X PIN, 20 FT.
                                                                                         LONG
Drilquip ‐ Houston      Drilquip      2‐407284‐22   00260532‐01   ELD Rack: NYD YR #5    * 16" CASING HANGER: CP13360‐02, P/N 2‐407284‐22, ITEMS 115                                        GC 40‐2      EA                                 1                                0
                                                                                         18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, 14" HYDRIL 523 (115
                                                                                         LB./FT.) BOX DOWN, 12.375" MIN. I.D., API 17D, V, AA, PSL‐3, RATED FOR HIGH                     BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐410497‐04   00284131‐01     ELD Rack: F199       TEMPERATURE/HIGH LOAD, NOBLE QUALITY PLAN QP‐Q504.01                                               SYSTEMS      EA                                 1                                0
                                                                                         18‐3/4" X 9‐5/8" WEAR BUSHING, TYPE SS‐15, 9.555" MIN. I.D., NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐415620‐02   00257058‐01     ELD Rack: F193       PLAN Q504.01                                                                                       GC 40‐1      EA                                 1                                0
                                                                                         18‐3/4" X 9‐5/8" WEAR BUSHING, TYPE SS‐15, 9.555" MIN. I.D., NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐415620‐02   00257059‐01     ELD Rack: F193       PLAN Q504.01                                                                                       GC 40‐1      EA                                 1                                0
                                                                                         22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                         PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN                               BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00288143‐01     ELD Rack: F215       Q504.01                                                                                            SYSTEMS      EA                                 1                                0
                                                                                         22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                         PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN                               BBII WELLHEAD
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00288143‐02     ELD Rack: F215       Q504.01                                                                                            SYSTEMS      EA                                 1                                0


                                                                                         18‐3/4" X 10‐3/4" BIG BORE II HANGER, TYPE SS‐15, FOR H2S, WITH 10‐3/4"
                                                                                         TENARIS HYDRIL WEDGE 563 (73.20 #/FT) BOX DOWN, WITH 9.927" MIN. I.D.,
                                                                                         WITH INCONEL 625 OVERLAY IN TUBING HANGER, SEAL AREA ASSEMBLY, WITH
                                                                                         HIGH TEMP/HIGH LOAD GROOVES, NOBLE QUALITY PLAN Q504.01
                                                                                         XXXX
                                                                                         * 18‐3/4" X 10‐3/4" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 10‐3/4" O.D., 74.0#, HCQ‐125 TN‐125, HYDRIL 563
                                                                                         PIN X HYD 563 DOPELESS PIN, 20 FT. LONG,
Drilquip ‐ Houston      Drilquip      2‐413742‐04   00257370‐01   ELD Rack: NYD YR #2    * 18‐3/4" X 10‐3/4" CASING HANGER:, P/N 2‐413742‐04, CP13807‐02 , ITEMS 37.                       MC 519 #3     EA                                 1                                0


                                                                                         18‐3/4" X 10‐3/4" CASING HANGER, TYPE SS‐15, FOR H2S, WITH 10‐3/4" TENARIS
                                                                                         HYDRIL WEDGE 563 (79.20 #/FT) BOX DOWN, WITH 9.927" MIN. I.D., WITH
                                                                                         INCONEL 625 OVERLAY IN TUBING HANGER, SEAL AREA ASSEMBLY, WITH HIGH
                                                                                         TEMP/HIGH LOAD GROOVES, NOBLE QUALITY PLAN Q504.01
                                                                                         XXXX
                                                                                         * 18‐3/4" X 10‐3/4" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 10‐3/4" O.D., 79.22#, C‐110, HYDRIL 563 PIN X HYD
                                                                                         563 DOPELESS PIN, 20 FT. LONG,
Drilquip ‐ Houston      Drilquip      2‐413742‐03   00288009‐02   ELD Rack: NYD YR #5    * 18‐3/4" X 10‐3/4" CASING HANGER:, P/N 2‐413742‐03, CP13880‐02 & ITEMS 37                        MC 948 #4     EA                                 1                                0
                                                                                         22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                         RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00260535‐01      ELD Rack: A84       H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                            GC 40‐2      EA                                 1                                0
                                                                                         18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                         SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                         CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,
Drilquip ‐ Houston      Drilquip      2‐414283‐02   00258681‐01     ELD Rack: F219       9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                            GC 200       EA                                 1                                0
                                                                                         WELD ON FLANGE FOR 36"/38" WELLHEAD TO ALLOW INSTALLATION OF
Drilquip ‐ Houston      Drilquip      2‐401350‐02   00276743‐02     ELD Rack: F191       MOUNTING BRACKET                                                                                                EA                                 1                                0
                                                                                         WELD ON FLANGE FOR 36"/38" WELLHEAD TO ALLOW INSTALLATION OF
Drilquip ‐ Houston      Drilquip      2‐401350‐02   00283739‐01     ELD Rack: F191       MOUNTING BRACKET                                                                                                EA                                 1                                0
                                                                                         18‐3/4" X 10‐3/4" CASING HANGER, 10.75" 85.30# JFELION DR ASM BOX DOWN,
                                                                                         18.615" MAX OD X 9.160" MIN ID, V, DD, PSL‐3, F/H2S, RATED F/HIGH
                                                                                         TEMP./HIGH LOAD
                                                                                         XXXX
                                                                                         * 10‐3/4" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED 10‐3/4", 85.30 LB/FT, Q125‐ICY, JFELION DR ASM
                                                                                         PIN X MAC II PIN, 20 FT. LONG
Drilquip ‐ Houston      Drilquip      2‐408595‐15   00298288‐02   ELD Rack: NYD YR #2    * 10‐3/4" CASING HANGER:, P/N 2‐408595‐15, CP14218‐02 ITEMS 2.                                     GC 40‐1      EA                                 1                                0

                                                                                         36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                         36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                         HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
                                                                                         3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01
                                                                                         XXXX
                                                                                         * 36" WELLHEAD HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                         * PIPE: CUSTOMER SUPPLIED, 36" O.D. X 2.000" WALL API 5L GRADE X‐70,
                                                                                         D.S.A.W., PEB X PEB, APPROX. 40 FT. LONG
                                                                                         * PIPE: CUSTOMER SUPPLIED, 36" O.D. X 2.000" WALL API 5L GRADE X‐70,
                                                                                         D.S.A.W., PEB X HC‐100D/MT PIN, APPROX. 40 FT. LONG
                                                                                         * 36" WELLHEAD HOUSING: CP14274‐02, P/N 2‐404172‐09, ITEM 1,
                                                                                         * 36" X 28" ADAPTER WITH ANNULUS OUTLET PORTS: CP14394‐01, P/N 2‐413195‐
                                                                                         02, ITEM 2,
                                                                                         * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: CP14274‐06, P/N 2‐
                                                                                         413828‐02, ITEM 3,
                                                                                         * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: CP14274‐51, P/N 2‐
                                                                                         411654‐02 , ITEM 4,
                                                                                         * WELD ON FLANGE FOR SLOPE MOUNTING BRACKET: QTY. 2, CP12634‐05 &
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00290613‐02   ELD Rack: RISER S‐14   CP12634‐06, P/N 2‐401350‐02, ITEMS 5 & 6.                                                         MC 519 #3     EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.        Location         Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                        36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                        36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                        HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
                                                                                        3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01
                                                                                        XXXX
                                                                                        * 36" WELLHEAD HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                        * PIPE: CUSTOMER SUPPLIED, 36" O.D. X 2.000" WALL API 5L GRADE X‐70,
                                                                                        D.S.A.W., PEB X PEB, APPROX. 40 FT. LONG,
                                                                                        * PIPE: CUSTOMER SUPPLIED, 36" O.D. X 2.000" WALL API 5L GRADE X‐70,
                                                                                        D.S.A.W., PEB X HC‐100D/MT PIN, APPROX. 40 FT. LONG,
                                                                                        * 36" WELLHEAD HOUSING: CP14274‐03, P/N 2‐404172‐09, ITEM 8,
                                                                                        * 36" X 28" ADAPTER WITH ANNULUS OUTLET PORTS: CP14394‐02, P/N 2‐413195‐
                                                                                        02, ITEM 9,
                                                                                        * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: CP14274‐07, P/N 2‐
                                                                                        413828‐02, ITEM 10,
                                                                                        * SLOPE INDICATOR MOUNTING BRACKET TO BE INSTALLED: CP14274‐52, P/N 2‐
                                                                                        411654‐02 , ITEM 11,
                                                                                        * WELD ON FLANGE FOR SLOPE MOUNTING BRACKET: QTY. 2, CP12727‐01 &
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00290613‐03   ELD Rack: RISER N‐5   CP12727‐02, P/N 2‐401350‐02, ITEMS 12 & 13.                                                                   EA                                 1                                0

                                                                                        SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                        BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00290920‐02   ELD Rack: SVC E08G    FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                             MC 519 #3     EA                                 1                                0

                                                                                        SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                        BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00290920‐04   ELD Rack: HEAVY FAB   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A          ELD Rack: F56      4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                               MC 519 #3     EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A          ELD Rack: F56      4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                               MC 519 #3     EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A          ELD Rack: F56      4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                               MC 519 #3     EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A          ELD Rack: F56      4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                               MC 519 #3     EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A          ELD Rack: F56      4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                               MC 519 #3     EA                                 1                                0
Drilquip ‐ Houston      Drilquip      2‐414840‐02       N/A          ELD Rack: F56      4" BALL VALVE ASSEMBLY WITH 4" BALL VALVE, 4" NIPPLE AND COUPLING                               MC 519 #3     EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F217      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F217      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F217      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F224      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F224      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F224      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F224      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F203      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: J59      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F203      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A         ELD Rack: F196      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: J51      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: J51      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: J51      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                        FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: J51      FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                        CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00298868‐02     ELD Rack: A05G      X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                     EA                                 1                                0
                                                                                        CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00298868‐03     ELD Rack: A05G      X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                     EA                                 1                                0
                                                                                        CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00298868‐01     ELD Rack: A05G      X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                     EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00298305‐03      ELD Rack: A82      RING, H2S SERVICE PER NOBLE QP Q504.01                                                           GC 40‐2      EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00298305‐02      ELD Rack: A83      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00298305‐01      ELD Rack: A85      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0




                                                                                                                                               65
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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                                 Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00299798‐02    ELD Rack: NYD BB‐9     FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                    MC 519 #3     EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00299798‐03   ELD Rack: HEAVY FAB     FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                                  EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00299826‐01       ELD Rack: L75       QUALITY PLAN Q504.01                                                                                             EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00299826‐02       ELD Rack: L77       QUALITY PLAN Q504.01                                                                                             EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00299826‐03      ELD Rack: F185       QUALITY PLAN Q504.01                                                                                             EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00298248‐01      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                                     EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00298248‐05      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                                     EA                                 1                                0
                                                                                          FULL COUPLING, 4" NPT FEMALE X 4" NPT FEMALE
Drilquip ‐ Houston      Drilquip      2‐900423‐13   PO# 7366251      ELD Rack: F207       QTY.(24) LEFT TO USE.                                                                                            EA                                60                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00283683‐01       ELD Rack: L83       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                           EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00283683‐02       ELD Rack: F51       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                           EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00283683‐03       ELD Rack: L82       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                           EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
                                                                                          GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01
                                                                                          XXXX
                                                                                          * 18‐3/4" HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W., APPROX. 40 FT. LONG, PEB X PEB,
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00290118‐01   ELD Rack: RISER N‐20    * 18‐3/4" WELLHEAD HOUSING: P/N 2‐406862‐07, CP14419‐01, ITEMS 19.                                  GC 200       EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER W/10‐3/4" VAM SLIJ‐II (65.7 LBS./FT.) BOX
                                                                                          DOWN, 18.615" MAX OD X 9.555" MIN ID, V, DD, PSL‐3, F/H2S, RATED F/HIGH
                                                                                          TEMP/HIGH LOAD
                                                                                          XXXX
                                                                                          * 10‐3/4" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED 10‐3/4", 65.7 LB/FT, Q125‐HC, VAM SLIJ‐II PIN X PIN,
                                                                                          20 FT. LONG,
Drilquip ‐ Houston      Drilquip      2‐415343‐04   00302847‐02    ELD Rack: SVC D15G     * 10‐3/4" CASING HANGER:, P/N 2‐415343‐04, CP14502‐02 , ITEMS 38.                                   GC 200       EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00290613‐01      ELD Rack: B15G       3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                                EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00301779‐01   ELD Rack: NYD CC‐9 16   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: F196       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J30       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: F203       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: F203       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J44       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J44       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J44       FOUR (4) VALVES)                                                                                                 EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J44       FOUR (4) VALVES)                                                                                                 EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.      Location      Item Description                                                           Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J30    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J59    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J30    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J30    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A        ELD Rack: J2    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A        ELD Rack: J2    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A        ELD Rack: J2    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A        ELD Rack: J2    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J16    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A        ELD Rack: J9    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A        ELD Rack: J9    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                   FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                           EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00303231‐01   ELD Rack: L86    Q504.01                                                                                                    EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                   WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                   FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                   ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00283683‐04    ELD Rack: L73   SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                     EA                                 1                                0
Drilquip ‐ Houston      Drilquip      917146‐181        N/A       ELD Rack: F207   HEX HEAD BOLTS, 3/4" ‐ 10 UNRC X 2‐1/2" LONG                                                               EA                                16                                0




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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                          Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00304950‐01      ELD Rack: F191       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00304950‐02      ELD Rack: F204       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                          1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                          DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00304837‐01       ELD Rack: L71       Q504.01                                                                                                   EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                          1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                          DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00304837‐02       ELD Rack: L71       Q504.01                                                                                                   EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐01      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐02      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐03      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00304257‐04      ELD Rack: A05G       X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                 EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐01      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐02      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐03      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304566‐04      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐01      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐02      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐03      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00304808‐04      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐01       ELD Rack: L69       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐02       ELD Rack: L70       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐03       ELD Rack: L75       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0
                                                                                          36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                          PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                          LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00304834‐04       ELD Rack: L70       QUALITY PLAN Q504.01                                                                                      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON                        DW GOM
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00305662‐03   ELD Rack: NYD CC‐9 16   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                        INVENTORY      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON                        DW GOM
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00305662‐01   ELD Rack: NYD CC‐9 15   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                        INVENTORY      EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON                        DW GOM
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00305662‐02   ELD Rack: NYD CC‐9 15   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                        INVENTORY      EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00306737‐01      ELD Rack: F191       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          18‐3/4" X 10‐3/4" CASING HANGER, 11‐1/2" TENARIS TSH WEDGE 623 DOPELESS
                                                                                          (98.20 LB/FT) BOX DOWN X , V, DD, PSL‐3, RATED F/HIGH TEMP/HIGH LOAD,                      CUSTOMER
Drilquip ‐ Houston      Drilquip      2‐415343‐06   00306737‐02      ELD Rack: F191       F/H2S                                                                                      PROPERTY       EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐01       ELD Rack: I‐3       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐02      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐03      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐04      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐05      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐06      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐07      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          WELD ON FLANGE FOR 36" WELLHEAD TO ALLOW INSTALLATION OF MOUNTING
Drilquip ‐ Houston      Drilquip      2‐401350‐03   00302338‐08      ELD Rack: F191       BRACKET PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J16       FOUR (4) VALVES)                                                                                          EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J37       FOUR (4) VALVES)                                                                                          EA                                 1                                0




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     Facility        Facility Owner   Item Number   Serial No.      Location      Item Description                                                         Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J37    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A        ELD Rack: J9    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J16    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J16    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A        ELD Rack: J9    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J38    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J39    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: F217   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J59    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J59    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J46    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: K100   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J46    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J46    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J51    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: J31    FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: K100   FOUR (4) VALVES)                                                                                         EA                                 1                                0
                                                                                  4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                  FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02      N/A       ELD Rack: K100   FOUR (4) VALVES)                                                                                         EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: K100       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: K100       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A          ELD Rack: K100       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J46       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J31       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J31       FOUR (4) VALVES)                                                                                              EA                                 1                                0
                                                                                          4" ROV BALL VALVE: 1,000 PSI, WITH PIPE NIPPLE, HAMMER UNION, AND ROV
                                                                                          FRIENDLY HANDLE. (ONE (1) 0‐600 PSI PRESSURE GAUGE SUPPLIED WITH EVERY
Drilquip ‐ Houston      Drilquip      2‐904265‐02       N/A           ELD Rack: J31       FOUR (4) VALVES)                                                                                              EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00307177‐01      ELD Rack: B15G       3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00299769‐01       ELD Rack: J92       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00299769‐02       ELD Rack: L79       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00285469‐02       ELD Rack: J92       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
                                                                                          GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01
                                                                                          XXXX
                                                                                          * 18‐3/4" HOUSING JOINT FABRICATION CONSISTS OF:
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W., RANGE III, PEB X PEB
                                                                                          * PIPE: CUSTOMER SUPPLIED, 22" O.D. X 1.250" WALL, API 5L GRADE X‐80,
                                                                                          D.S.A.W., RANGE III, PEB X H‐90DM/MT
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00301981‐02   ELD Rack: RISER N‐16    * 18‐3/4" WELLHEAD HOUSING: P/N 2‐406862‐07, CP14901‐06.                                                      EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00301981‐03      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00307379‐01   ELD Rack: NYD CC‐9 8    FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00305121‐03   ELD Rack: NYD CC‐9 8    FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00305121‐01   ELD Rack: NYD CC‐9 15   FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00305121‐02   ELD Rack: NYD CC‐9 15   FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00307579‐01     ELD Rack: B15G 4      3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0

                                                                                          36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                          36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                          HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00307579‐02     ELD Rack: B15G 4      3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐01   ELD Rack: NYD CC‐9 18   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐03   ELD Rack: NYD CC‐9 18   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.         Location          Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐02   ELD Rack: NYD CC‐9 20   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/10/10C, WITH 0‐2 DEGREE
                                                                                          BULLSEYE. FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐413828‐02   00307667‐04   ELD Rack: NYD CC‐9 20   FLANGE, WITH 3‐3/4 TON LIFTING SHACKLES. NOBLE QUALITY PLAN Q504.01                                           EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00303913‐02      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00303913‐01      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0
                                                                                          18‐3/4" X 13‐3/8" BUSHING SLEEVE, TYPE SS‐15, FOR H2S, TO BE RUN WITH
                                                                                          MULTIPLE RUNNING AND RETRIEVING SUBS (12.25" DIA.), BIT RUNNABLE
                                                                                          SELECTIVE RETRIEVAL, RATED FOR HIGH TEMP./HIGH LOAD, NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐408641‐04   00308005‐01      ELD Rack: F208       PLAN Q504.01                                                                                     GC 200       EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00305770‐01      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                          PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                          PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                          GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                          DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00305770‐02      ELD Rack: E03G       GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                          SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐10/15, WITH 0‐2 DEGREE
                                                                                          BULLSEYE, FOR USE ON 38", 36" OR 30" CONDUCTOR PIPE, WITHOUT WELD‐ON
Drilquip ‐ Houston      Drilquip      2‐411654‐02   00307717‐02    ELD Rack: NYD DD‐9     FLANGE. WITH MUDSTICK INDICATOR ROD, NOBLE QUALITY PLAN Q504.01                                               EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00302846‐04       ELD Rack: L42       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                          PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00308594‐03      ELD Rack: F206       Q504.01                                                                                                       EA                                 1                                0
                                                                                          22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                          PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00308594‐02      ELD Rack: F193       Q504.01                                                                                                       EA                                 1                                0
                                                                                          22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                          PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00308594‐01      ELD Rack: F193       Q504.01                                                                                                       EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00299440‐01      ELD Rack: B14G       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                          22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                          WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                          FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                          ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00299440‐03      ELD Rack: B14G       SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00302846‐01       ELD Rack: L14       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          36" X 28" SUPPLEMENTAL ADAPTER, 36" O.D. X 2.000" WALL BUTTWELD PREP.
                                                                                          UP X 36" O.D. X 2.000" WALL BUTTWELD PREP. DOWN, WITH TWELVE (12) 4"
                                                                                          FLOW‐BY PORTS AND INTERNAL POSITIVE STOP PROFILE FOR 28" SCAB HANGER,
Drilquip ‐ Houston      Drilquip      2‐413195‐02   00302846‐02       ELD Rack: L21       MIN. I.D. 30.240", OAL APPROX. 28" PER NOBLE QP Q504.01                                                       EA                                 1                                0
                                                                                          22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                          1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                          DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00309096‐01      ELD Rack: F218       Q504.01                                                                                                       EA                                 1                                0
                                                                                          18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                          SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00309084‐01       ELD Rack: A79       RING, H2S SERVICE PER NOBLE QP Q504.01                                                          MC 519 #3     EA                                 1                                0
                                                                                          18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                          WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                          WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00309499‐01      ELD Rack: F205       Q504.01                                                                                         MC 519 #3     EA                                 1                                0
                                                                                          18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                          WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                          WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00309499‐03      ELD Rack: F197       Q504.01                                                                                                       EA                                 1                                0
                                                                                          18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                          WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                          WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00309499‐02      ELD Rack: E204       Q504.01                                                                                                       EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.        Location         Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                        18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                        JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                        BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00309552‐01     ELD Rack: F201      QUALITY PLAN Q504.01                                                                             GC 40‐1      EA                                 1                                0
                                                                                        22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                        WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                        FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                        ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00302105‐03     ELD Rack: B14G      SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                        22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                        WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                        FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                        ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00302105‐02     ELD Rack: B14G      SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                        22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                        WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                        FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                        ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00302105‐04     ELD Rack: B14G      SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                        EA                                 1                                0
                                                                                        18‐3/4" X 13‐3/8" BUSHING SLEEVE, TYPE SS‐15, FOR H2S, TO BE RUN WITH
                                                                                        MULTIPLE RUNNING AND RETRIEVING SUBS (12.25" DIA.), BIT RUNNABLE
                                                                                        SELECTIVE RETRIEVAL, RATED FOR HIGH TEMP./HIGH LOAD, NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐408641‐04   00310224‐01     ELD Rack: F187      PLAN Q504.01                                                                                     GC 40‐1      EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐01     ELD Rack: D06G      Q504.01                                                                                          GC 40‐1      EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐02     ELD Rack: F211      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐03     ELD Rack: F211      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" SELECTABLE BORE PROTECTOR J‐TYPE RUNNING AND RETRIEVING TOOL,
                                                                                        TYPE SS‐15, 6‐5/8" API F.H. BOX UP WITH BORE BACK RELIEF BY PIN WITH RELIEF
                                                                                        GROOVE, 9.980" MAX. O.D., EXTENDED WEAR AREA, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐405222‐03   00303431‐04     ELD Rack: F211      Q504.01                                                                                                       EA                                 1                                0

                                                                                        36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                        36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                        HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00310309‐01    ELD Rack: B15G 2     3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0

                                                                                        36" WELLHEAD HOUSING RIGID LOCKDOWN/ANNULUS SHUT‐OFF, TYPE SS‐15:
                                                                                        36" O.D. X 2.000" WALL B.W.P. I.D. PREP. FOR CAM ACTUATED RUNNING TOOL.
                                                                                        HYDRATE DIVERSION SEAL. MIN. I.D. 30.617". MATERIAL CLASS AA, TEMP. V, PSL‐
Drilquip ‐ Houston      Drilquip      2‐404172‐09   00310309‐02    ELD Rack: B15G 2     3, API‐17D. PROFILE FOR OVERPULL SPLIT RING. PER NOBLE QP Q504.01                                             EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00310048‐01     ELD Rack: F200      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00310048‐02     ELD Rack: F205      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00310048‐03     ELD Rack: F200      Q504.01                                                                                                       EA                                 1                                0
                                                                                        36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                        PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                        LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00310376‐01      ELD Rack: L1       QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                        36" X 28" POSITIVE STOP CASING HANGER, 28" O.D. X .750" WALL BUTTWELD
                                                                                        PREP., MAX. O.D. 30.510", MIN. I.D. 26.50", WITHOUT FLOWBY, WITH SPLIT
                                                                                        LOCKDOWN RING, LIP SEAL AND O‐RING, MONOGRAM PER API 17D, NOBLE
Drilquip ‐ Houston      Drilquip      2‐413137‐02   00310376‐02      ELD Rack: L2       QUALITY PLAN Q504.01                                                                                          EA                                 1                                0

                                                                                        18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                        TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                        PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00310480‐03     ELD Rack: F214      MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00310480‐04     ELD Rack: F199      LOAD, SPECIAL, F/FIELDWOOD KATMAI                                                                             EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
                                                                                        LOAD, SPECIAL, F/FIELDWOOD KATMAI
                                                                                        XXXX
                                                                                        * 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                        * PIPE: CUSTOMER SUPPLIED 14", 115 LB/FT, Q125‐ICY, 20 FT. LONG, 14" 115#
                                                                                        HYD 523 PIN X 13‐5/8" 88.2 LB/FT VAM SLIJ II PIN,
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00310644‐02   ELD Rack: NYD YR #2   * 14" CASING HANGER:, P/N 2‐410497‐09, CP15152‐01, ITEMS 32.                                    MC 519 #3     EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00310644‐03     ELD Rack: F199      LOAD, SPECIAL, F/FIELDWOOD KATMAI                                                                             EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.      Location      Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value

                                                                                   18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                   TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                   PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00310644‐04   ELD Rack: F213   MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0

                                                                                   18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                   TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                   PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00310644‐01   ELD Rack: F213   MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310573‐01   ELD Rack: F199   Q504.01                                                                                                       EA                                 1                                0
                                                                                   18‐3/4" BIG BORE WEAR SLEEVE, TYPE SS‐15, TO BE RUN WITH 14.50"/14.75" DIA.
                                                                                   WEAR SLEEVE RUNNING AND RETRIEVING BIT SUBS, UPPER PROFILE WILL WORK
                                                                                   WITH SPECIAL B.O.P. TEST TOOL ADAPTER, "J" LUG STYLE, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐408632‐05   00310618‐01   ELD Rack: F218   Q504.01                                                                                                       EA                                 1                                0
                                                                                   18‐3/4" X 13‐3/8" BUSHING SLEEVE, TYPE SS‐15, FOR H2S, TO BE RUN WITH
                                                                                   MULTIPLE RUNNING AND RETRIEVING SUBS (12.25" DIA.), BIT RUNNABLE
                                                                                   SELECTIVE RETRIEVAL, RATED FOR HIGH TEMP./HIGH LOAD, NOBLE QUALITY
Drilquip ‐ Houston      Drilquip      2‐408641‐04   00310754‐01   ELD Rack: F187   PLAN Q504.01                                                                                     GC 40‐1      EA                                 1                                0
                                                                                   18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                   JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                   BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00310622‐01   ELD Rack: F206   QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                   18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                   JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                   BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00310622‐02   ELD Rack: F206   QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310874‐03   ELD Rack: K53    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310874‐02   ELD Rack: K53    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310874‐01   ELD Rack: L86    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310819‐01   ELD Rack: K67    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310819‐02   ELD Rack: K67    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER, 22" O.D. X
                                                                                   1.000" WALL BUTTWELD PREP. UP X 22.13" O.D. X .750" WALL BUTTWELD PREP.
                                                                                   DOWN, MIN. I.D. 18.250", STANDARD SERVICE PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐404191‐12   00310819‐03   ELD Rack: F204   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐02   ELD Rack: F192   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐03   ELD Rack: F213   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐04   ELD Rack: F213   Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" SUPPLEMENTAL CASING HANGER, TYPE SS‐15, 18" BLANK PIN DOWN,
                                                                                   PSL‐3, WITH BIG BORE II, MONOGRAM PER API 17D, NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐413138‐03   00310814‐01   ELD Rack: F192   Q504.01                                                                                                       EA                                 1                                0

                                                                                   18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                   PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                   PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                   GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                   DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00310833‐01   ELD Rack: E03G   GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                   18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                   PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                   PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                   GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                   DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00310833‐03   ELD Rack: E03G   GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0

                                                                                   18‐3/4" RIGID LOCKDOWN BIG BORE II WELLHEAD HOUSING, TYPE SS‐15, UPPER
                                                                                   PREP. FOR CAM ACTUATED RUNNING TOOL. 27" O.D. MANDREL WELLHEAD
                                                                                   PROFILE COMPATABLE WITH HD‐H4 CONNECTOR, WITH INCONEL "VX/VT"
                                                                                   GASKET PREP. UP, 22" O.D. X 1.250" WALL B.W.P., 18.510" MIN ID, API 17D, V,
                                                                                   DD, PSL‐3, H2S SERVICE. SOLID BENDING REACTION RING, EXTRA LOCK‐DOWN
Drilquip ‐ Houston      Drilquip      2‐406862‐07   00310833‐04   ELD Rack: E03G   GROOVES, OVERPULL SPLIT RING PER NOBLE QP Q504.01                                                             EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                   SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00311226‐01   ELD Rack: A83    Q504.01                                                                                                       EA                                 1                                0
                                                                                   22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                   SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00311226‐03   ELD Rack: A81    Q504.01                                                                                                       EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.        Location         Item Description                                                              Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00311226‐04      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" STABILIZER SUB, TYPE SS‐15, 7‐5/8" API REG. DOWN X 7‐5/8" API REG,
                                                                                        BOX UP, TO BE RUN WITH 14.50"/14.75" 2‐408632‐05 WEAR SLEEVE AND 2‐
Drilquip ‐ Houston      Drilquip      2‐408524‐05   00303429‐01     ELD Rack: F190      408525‐06 BIT SUB, NOBLE QUALITY PLAN Q504.01                                                   MC 519 #3     EA                                 1                                0
                                                                                        18‐3/4" STABILIZER SUB, TYPE SS‐15, 7‐5/8" API REG. DOWN X 7‐5/8" API REG,
                                                                                        BOX UP, TO BE RUN WITH 14.50"/14.75" 2‐408632‐05 WEAR SLEEVE AND 2‐
Drilquip ‐ Houston      Drilquip      2‐408524‐05   00303429‐02     ELD Rack: F208      408525‐06 BIT SUB, NOBLE QUALITY PLAN Q504.01                                                                 EA                                 1                                0
                                                                                        18‐3/4" STABILIZER SUB, TYPE SS‐15, 7‐5/8" API REG. DOWN X 7‐5/8" API REG,
                                                                                        BOX UP, TO BE RUN WITH 14.50"/14.75" 2‐408632‐05 WEAR SLEEVE AND 2‐
Drilquip ‐ Houston      Drilquip      2‐408524‐05   00303429‐03     ELD Rack: F208      408525‐06 BIT SUB, NOBLE QUALITY PLAN Q504.01                                                                 EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00311715‐01      ELD Rack: A80      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00311715‐03      ELD Rack: A79      RING, H2S SERVICE PER NOBLE QP Q504.01                                                          MC 519 #3     EA                                 1                                0
                                                                                        18‐3/4" X 13‐3/8" ADAPTER SLEEVE, TYPE SS‐15, TO BE RUN WITH 6‐5/8" TOOL
                                                                                        JOINT SELECTIVE RETRIEVAL SUB AND 13‐3/8" WEAR BUSHING, FOR USE WITH
                                                                                        BIG BORE OR STANDARD BORE WELLHEAD SYSTEMS, "J" LUG STYLE, NOBLE
Drilquip ‐ Houston      Drilquip      2‐408063‐08   00312053‐01     ELD Rack: F185      QUALITY PLAN Q504.01                                                                                          EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐02      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐03      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐04      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                        SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00312112‐01      ELD Rack: A81      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312260‐01     ELD Rack: F194      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312260‐02     ELD Rack: F194      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312402‐01     ELD Rack: F183      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312402‐02     ELD Rack: F183      Q504.01                                                                                                       EA                                 1                                0
                                                                                        18‐3/4" X 14" CASING HANGER, 14" HYDRIL 523 (115 LBS/FT) BOX DOWN X
                                                                                        12.375" MIN ID X , API 17D, V, AA, PSL‐3, RATED F/HIGH TEMPERATURE/HIGH
                                                                                        LOAD, SPECIAL, F/FIELDWOOD KATMAI
                                                                                        XXXX
                                                                                        * 14" CASING HANGER JOINT BUCK‐UP CONSISTS OF:
                                                                                        * PIPE: CUSTOMER SUPPLIED 14", 115 LB/FT, Q125‐ICY, 20 FT. LONG, 14" 115#
                                                                                        HYD 523 PIN X 13‐5/8" 88.2 LB/FT VAM SLIJ II PIN,
Drilquip ‐ Houston      Drilquip      2‐410497‐09   00312456‐01   ELD Rack: NYD YR #3   * 14" CASING HANGER:, P/N 2‐410497‐09, CP15334‐03, ITEMS 33.                                                  EA                                 1                                0

                                                                                        18‐3/4" X 14" BIG BORE II CASING HANGER: TYPE SS‐15, HIGH PRESSURE/HIGH
                                                                                        TEMPERATURE, UPPER I.D. PREP. FOR CAM ACTUATED RUNNING TOOL, O.D.
                                                                                        PREP. FOR WEIGHT SET METAL‐TO‐METAL SEAL ASSEMBLY, 14" BLANK BOX,
Drilquip ‐ Houston      Drilquip      2‐410497‐03   00312508‐01     ELD Rack: F184      MATERIAL CLASS: AA, TEMP. RATING: V, PSL‐3 NOBLE QUALITY PLAN Q504.01                                         EA                                 1                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00312161‐03      ELD Rack: A84      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312568‐01     ELD Rack: F220      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312568‐02     ELD Rack: F186      Q504.01                                                                                                       EA                                 1                                0
                                                                                        22" X 16" POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 10,000 PSI, 16" BLANK
                                                                                        PIN DOWN, 14.590" MIN. I.D., V, AA, PSL‐3, FOR USE WITH 16" OR 16.125"
                                                                                        NOMINAL O.D. CASING, FOR USE WITH BIG BORE II WELLHEAD SYSTEM, RATED
                                                                                        FOR 1.5‐MILLION LBS. OF CASING AND 10,000 PSI PER NOBLE QUALITY PLAN
Drilquip ‐ Houston      Drilquip      2‐407284‐18   00312568‐03     ELD Rack: F220      Q504.01                                                                                                       EA                                 1                                0
                                                                                        CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00312626‐01     ELD Rack: A05G      X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                     EA                                 1                                0
                                                                                        4" NIPPLE PIPE FOR ANNULUS VENTING VALVE ASSEMBLY, 4" NPT MALE
Drilquip ‐ Houston      Drilquip      2‐409052‐02    IN CP FILE     ELD Rack: F207      CONNECTION ONE END, "J" SLOT INTERFACE ONE END                                                                EA                                10                                0
                                                                                        18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                        SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00313001‐01      ELD Rack: A84      RING, H2S SERVICE PER NOBLE QP Q504.01                                                                        EA                                 1                                0




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     Facility        Facility Owner   Item Number    Serial No.      Location      Item Description                                                              Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                   22" X 18" BIG BORE II SEAL ASSEMBLY: TYPE SS‐10/15/20, WEIGHT SET RESILIENT
                                                                                   SEAL, PSL‐2, STANDARD SERVICE, RATED 5,000 PSI, NOBLE QUALITY PLAN,
Drilquip ‐ Houston      Drilquip      2‐408455‐05   00313180‐02   ELD Rack: A83    Q504.01                                                                                                             EA                                 1                                0

                                                                                   18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                   SS‐15, MIN. 9.262" I.D. TEMP. V, MAT'L CLASS DD. PSL‐3, FOR H2S, 2000 KIP
                                                                                   RATED LOCK‐DOWN CAPACITY, INCONEL CLADDED TREE SEAL INTERFACE, HIGH
Drilquip ‐ Houston      Drilquip      2‐413573‐02   00313356‐01   ELD Rack: F204   TEMPERATURE/HIGH LOAD SHOULDER, NOBLE QUALITY PLAN Q504.01                                          GC 40‐1         EA                                 1                                0
                                                                                   CROSSOVER SWEDGE: WITH 22" X 1.000" WALL BUTTWELD PREP DOWN X 22.13"
Drilquip ‐ Houston      Drilquip      2‐404391‐07   00313801‐02   ELD Rack: F203   X .750" WALL BUTTWELD PREP UP, NOBLE QUALITY PLAN Q504.01                                                           EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SUPPLEMENTAL CASING HANGER ADAPTER: 10,000 PSI,
                                                                                   WITH 22" O.D. X 1.250" WALL BUTTWELD PREP. UP AND DOWN. SYSTEM RATED
                                                                                   FOR 1.5 MILLION LBS. OF 16" CASING AND 10,000 PSI, WITH WELD MOLD INLAY
                                                                                   ON LOAD PROFILE, MIN. I.D.18.375", 22.186" MAX O.D., AA, PSL‐3, STANDARD
Drilquip ‐ Houston      Drilquip      2‐413198‐02   00309922‐01   ELD Rack: B14G   SERVICE PER NOBLE QUALITY PLAN Q504.01                                                                              EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315155‐01   ELD Rack: A83    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315155‐02   ELD Rack: A83    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00316049‐01   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315506‐01   ELD Rack: A82    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00315506‐02   ELD Rack: A82    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐01   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐02   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐03   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐04   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐05   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   22" X 16" BIG BORE II SEAL ASSEMBLY: WEIGHT SET METAL‐TO‐METAL, 10,000 PSI
                                                                                   RATED, (10,000 PSI RATED WITH REDUCED CASING WEIGHT REQUIREMENTS) .
Drilquip ‐ Houston      Drilquip      2‐411888‐07   00317848‐06   ELD Rack: A79    H2S SERVICE. NOBLE QUALITY PLAN Q504.01                                                                             EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐01   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐02   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐03   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐04   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00319512‐05   ELD Rack: A82    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   4" NIPPLE PIPE FOR ANNULUS VENTING VALVE ASSEMBLY, 4" NPT MALE
                                                                                   CONNECTION ONE END, "J" SLOT INTERFACE ONE END
Drilquip ‐ Houston      Drilquip      2‐409052‐02    IN CP FILE   ELD Rack: F221   QTY.(14) LEFT TO USE.                                                                                               EA                                26                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00320231‐01   ELD Rack: A85    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00320231‐02   ELD Rack: A85    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                   SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston      Drilquip      2‐404254‐05   00320231‐03   ELD Rack: A85    RING, H2S SERVICE PER NOBLE QP Q504.01                                                                              EA                                 1                                0
                                                                                   18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                   SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                   CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,
Drilquip ‐ Houston      Drilquip      2‐414283‐02   00321346‐01   ELD Rack: F205   9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                            MC 519 #3        EA                                 1                                0

                                                                                   18‐3/4" BIG BORE II WELLHEAD HOUSING, 15,000 PSI, TYPE SS‐15, 22" X 1.500"
                                                                                   BUTTWELD PREP DOWN X HD‐H4 PROFILE W/INCONEL VX‐VT GSKT PREP UP, V,
                                                                                   DD, PSL‐3, F/H2S, W/OVER‐PULL SPLIT RING,RIGID LOCK‐DOWN, & HYDRATE                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston      Drilquip      2‐408468‐02   00299282‐01   ELD Rack: E03G   DIVERSION SEAL, SPECIAL, WITHOUT FLOWBY, W/EXTRA LOCK‐DOWN GROOVES                                OSC‐G‐34536       EA                                 1                                0

                                                                                   18‐3/4" BIG BORE II WELLHEAD HOUSING, 15,000 PSI, TYPE SS‐15, 22" X 1.500"
                                                                                   BUTTWELD PREP DOWN X HD‐H4 PROFILE W/INCONEL VX‐VT GSKT PREP UP, V,
                                                                                   DD, PSL‐3, F/H2S, W/OVER‐PULL SPLIT RING,RIGID LOCK‐DOWN, & HYDRATE                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston      Drilquip      2‐408468‐02   00299282‐02   ELD Rack: E03G   DIVERSION SEAL, SPECIAL, WITHOUT FLOWBY, W/EXTRA LOCK‐DOWN GROOVES                                OSC‐G‐34536       EA                                 1                                0

Drilquip ‐ Houston      Drilquip       240559‐02    00306162‐01   ELD Rack: F128   ANTI‐ROTATION/CAM REACTION PLATE ASSEMBLY FOR 30" QUIK‐JAY "8‐IV".                                  MEXICO          EA                                 1                                0




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     Facility          Facility Owner       Item Number     Serial No.            Location             Item Description                                                                 Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00323757‐01         ELD Rack: F192          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00323757‐02         ELD Rack: F192          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00325456‐01         ELD Rack: F184          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" X 10‐3/4" GEN II CASING HANGER LOCK‐DOWN SLEEVE, 15,000 PSI, TYPE
                                                                                                       SS‐15, V. DD. PSL‐3, FOR H2S, 2000 KIP RATED LOCK‐DOWN CAPACITY, INCONEL
                                                                                                       CLADDED TREE SEAL INTERFACE, HIGH TEMPERATURE/HIGH LOAD SHOULDER,                                    CUSTOMER
Drilquip ‐ Houston        Drilquip          2‐414283‐02    00325658‐01         ELD Rack: F214          9.555" I.D., NOBLE QUALITY PLAN Q504.01                                                              PROPERTY          EA                                 1                                0
                                                                                                       18‐3/4" SEAL ASSEMBLY: TYPE SS‐15, 15,000 PSI FOR ALL HANGERS 13‐3/8" AND
                                                                                                       SMALLER, WEIGHT SET DUAL METAL‐TO‐METAL SEALS, INCLUDES OUTER LOCK
Drilquip ‐ Houston        Drilquip          2‐404254‐05    00327858‐01          ELD Rack: A80          RING, H2S SERVICE PER NOBLE QP Q504.01                                                                                 EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II‐H SUPPLEMENTAL CASING HANGER ADAPTER: TYPE SS‐
                                                                                                       20/SS‐15, 10,000 PSI, 22" O.D. X 1.500" WALL BUTTWELD PREP. DOWN BY 22"
                                                                                                       O.D. X 1.500" WALL BUTTWELD PREP. UP, MIN. I.D. 18.375", AA, PSL‐3,
                                                                                                       TEMPERATURE 30°‐300° F., FOR 16" BIG BORE II‐H "NO‐GO" STYLE
                                                                                                       SUPPLEMENTAL HANGER, WEIGHT SET, WITH PREP. FOR SELECTABLE WEAR
                                                                                                       BUSHING, RATED FOR 2‐MILLION LBS. OF CASING, WITH FOUR (4) SHOULDER                               KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐416531‐02    00325810‐01         ELD Rack: B13G          LOCK‐RING PROFILE. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II‐H SUPPLEMENTAL CASING HANGER ADAPTER: TYPE SS‐
                                                                                                       20/SS‐15, 10,000 PSI, 22" O.D. X 1.500" WALL BUTTWELD PREP. DOWN BY 22"
                                                                                                       O.D. X 1.500" WALL BUTTWELD PREP. UP, MIN. I.D. 18.375", AA, PSL‐3,
                                                                                                       TEMPERATURE 30°‐300° F., FOR 16" BIG BORE II‐H "NO‐GO" STYLE
                                                                                                       SUPPLEMENTAL HANGER, WEIGHT SET, WITH PREP. FOR SELECTABLE WEAR
                                                                                                       BUSHING, RATED FOR 2‐MILLION LBS. OF CASING, WITH FOUR (4) SHOULDER                               KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐416531‐02    00325810‐02         ELD Rack: B13G          LOCK‐RING PROFILE. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0
                                                                                                       16" BIG BORE II‐H SEAL ASSEMBLY: GEN. III, 5,000‐10,000 PSI, TYPE SS‐20/SS‐15,
                                                                                                       API 6A, AA, PSL‐3, TEMPERATURE 35°‐300° F., FOR 16" BB II‐H SUPPLEMENTAL
                                                                                                       CASING HANGER, BR STYLE, WEIGHT SET METAL TO METAL SEAL, RATED FOR 1.2                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐412617‐13    00328407‐01          ELD Rack: A80          MM LBS. LOCK‐DOWN. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0
                                                                                                       16" BIG BORE II‐H SEAL ASSEMBLY: GEN. III, 5,000‐10,000 PSI, TYPE SS‐20/SS‐15,
                                                                                                       API 6A, AA, PSL‐3, TEMPERATURE 35°‐300° F., FOR 16" BB II‐H SUPPLEMENTAL
                                                                                                       CASING HANGER, BR STYLE, WEIGHT SET METAL TO METAL SEAL, RATED FOR 1.2                            KATMAIF, GC 40F 3,
Drilquip ‐ Houston        Drilquip          2‐412617‐13    00328407‐02          ELD Rack: A80          MM LBS. LOCK‐DOWN. NOBLE QUALITY PLAN Q504.01                                                        OSC‐G‐34536       EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐03         ELD Rack: F195          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐04         ELD Rack: F195          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐01         ELD Rack: F198          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0

Drilquip ‐ Houston        Drilquip          2‐403665‐02    00293489‐02         ELD Rack: F198          18‐3/4" X 14‐1/2" WEAR SLEEVE BIT SUB. 7‐5/8" API REG. BOX UP X PIN DOWN.                               STOCK          EA                                 1                                0
                                                                                                       18‐3/4" STABILIZER SUB FOR BIG BORE WEAR SLEEVES. 7‐5/8" API REG. BOX UP X
Drilquip ‐ Houston        Drilquip          2‐403666‐02    00333696‐01         ELD Rack: F198          PIN DOWN.                                                                                               STOCK          EA                                 1                                0
                                                                                                       18‐3/4" X 13‐3/8" SELECTABLE WEAR BUSHING/SLEEVE: TYPE SS‐15, TO BE RUN
                                                                                                       WITH MULTIPLE RUNNING AND RETRIEVING SUBS (12.395" DIA.), BIT RUNNABLE
                                                                                                       SELECTIVE RETRIEVAL, UPPER PROFILE FOR B.O.P. TEST TOOL ADAPTER, BIG BORE
                                                                                                       AND STANDARD BORE WELLHEAD SYSTEMS. RATED FOR HIGH
Drilquip ‐ Houston        Drilquip          2‐404122‐02    00339241‐02         ELD Rack: F223          TEMPERATURE/HIGH LOAD. H2S SERVICE                                                                      STOCK          EA                                 1                                0
                                                                                                       18‐3/4" X 13‐3/8" SELECTABLE WEAR BUSHING/SLEEVE: TYPE SS‐15, TO BE RUN
                                                                                                       WITH MULTIPLE RUNNING AND RETRIEVING SUBS (12.395" DIA.), BIT RUNNABLE
                                                                                                       SELECTIVE RETRIEVAL, UPPER PROFILE FOR B.O.P. TEST TOOL ADAPTER, BIG BORE
                                                                                                       AND STANDARD BORE WELLHEAD SYSTEMS. RATED FOR HIGH
Drilquip ‐ Houston        Drilquip          2‐404122‐02    00339241‐03         ELD Rack: F216          TEMPERATURE/HIGH LOAD. H2S SERVICE                                                                      STOCK          EA                                 1                                0
                                                                                                       18‐3/4" X 13‐3/8" SELECTABLE WEAR BUSHING/SLEEVE: TYPE SS‐15, TO BE RUN
                                                                                                       WITH MULTIPLE RUNNING AND RETRIEVING SUBS (12.395" DIA.), BIT RUNNABLE
                                                                                                       SELECTIVE RETRIEVAL, UPPER PROFILE FOR B.O.P. TEST TOOL ADAPTER, BIG BORE
                                                                                                       AND STANDARD BORE WELLHEAD SYSTEMS. RATED FOR HIGH
Drilquip ‐ Houston        Drilquip          2‐404122‐02    00339241‐01         ELD Rack: F223          TEMPERATURE/HIGH LOAD. H2S SERVICE                                                                      STOCK          EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II SEAL ASSEMBLY, WEIGHT SET METAL‐TO‐METAL, 6,500 PSI
Drilquip ‐ Houston        Drilquip          2‐403134‐02    00227560‐01          ELD Rack: A84          RATED, H2S SERVICE                                                                                                     EA                                 1                                0
                                                                                                       22" X 16" BIG BORE II POSITIVE STOP CASING HANGER: TYPE SS‐10/15, 6,500 PSI,
                                                                                                       16" 97 LB./FT. HYDRIL 511 PIN DOWN, PREP. FOR WEIGHT SET SEAL ASSEMBLY,
                                                                                                       MIN. I.D. 14.800", V, MATERIAL CLASS: AA, PSL‐3
                                                                                                       XXXX
                                                                                                       * 16" HANGER JOINT FABRICATION CONSISTS OF:
                                                                                                       * PIPE: CUSTOMER SUPPLIED 16", 97#, P‐110, WITH HYDRIL 511 BOX X HYDRIL 511
                                                                                                       PIN, APPROX. 20 FT.LONG
                                                                                                       * 16" SUPPLEMENTAL HANGER: P/N 2‐403133‐02,CP8979‐01, ITEM 14.1
Drilquip ‐ Houston        Drilquip          2‐403133‐02     1G935‐01          ELD Rack: NYD C‐6                                                                                                              GC 866 #1        EA                                 1                                0
                                                                                                       18" SEAL ASSEMBLY, TYPE SS‐10/15/20, API 6A, V, AA, PSL‐2, FOR USE WITH 18"
                                                                                                       SUPPLEMENTAL HANGER, FOR USE WITH BIG BORE II / BIG BORE II‐H WELLHEAD
Drilquip ‐ Houston        Drilquip          2‐403132‐02    00178688‐01          ELD Rack: A84          SYSTEM                                                                                                KC 292 #2        EA                                 1                                0
                                                                                                       SLOPE INDICATOR MOUNTING BRACKET, TYPE SS‐15/SS‐10,
                                                                                                       W/ 0‐2 DEGREE BULLSEYE, F/USE ON 38" OR 36" CONDUCTOR PIPE, WITHOUT
Drilquip ‐ Houston        Drilquip          2‐405105‐02    00175605‐01       ELD Rack: NYD CC‐9 17     WELD‐ON FLANGE, EXTRA LONG WITH ROV GUIDE HANDLES.                                                    MC 252 #1        EA                                 1                                0
 Franks ‐ Houma      Franks International     109998                      OSS DOCK C‐PORT 2 BLD 27     18" VAM HDL 117# G.S.                                                                                  ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     109994                      OSS DOCK C‐PORT 2 BLD 27     18" VAM HDL 117# Q125 F.C                                                                              ORLOV           EA                                 1                                0
                                                                         1 PLUG SET SHIPPED TO DRIL‐
                                                                         QUIP THE OTHER SHIPPED TO
 Franks ‐ Houma      Franks International     112032                      DOCK WITH CEMENT HEAD        18" DUAL WIPER PLUG MOD II                                                                             ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     106438                      OSS DOCK C‐PORT 2 BLD 27     13.625" VAM SLIJII 88.2# Q125 F.C.                                                                     ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     111637                      OSS DOCK C‐PORT 2 BLD 27     13.625" VAM SLIJII 88.2# Q125 G.S.                                                                     ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     113525                      OSS DOCK C‐PORT 2 BLD 27     9.875" VAM SLIJII 62.8# Q125 F.C.                                                                      ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     109067                      OSS DOCK C‐PORT 2 BLD 27     9.875" VAM SLIJII 62.8# Q125 G.S.                                                                      ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     114099                      OSS DOCK C‐PORT 2 BLD 27     7.75" FLOAT COLLAR TSH WEGDE 523 DOPELESS 46.10 PPF Q125 INNOVEX                                       ORLOV           EA                                 1                                0
 Franks ‐ Houma      Franks International     114055                      OSS DOCK C‐PORT 2 BLD 27     7.75" TSH523 DOPELESS 46.1# Q125 G.S.                                                                  ORLOV           EA                                 1                                0




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    Facility            Facility Owner      Item Number    Serial No.            Location           Item Description                                                   Project Number    Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Houma       Franks International      115250                    OSS DOCK C‐PORT 2 BLD 27   9.875" TSH 523 62.8# Q125 LANDING COLLAR                                                 ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      114099                    OSS DOCK C‐PORT 2 BLD 27   7.75" FLOAT COLLAR TSH WEGDE 523 DOPELESS 46.10 PPF Q125 INNOVEX                         ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      114055                    OSS DOCK C‐PORT 2 BLD 27   7.75" TSH523 DOPELESS 46.1# Q125 G.S.                                                    ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      114884                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJ‐II 65.3# Q125 GUIDE SHOE                                              ORLOV TA‐9         EA                                2                                0
Franks ‐ Houma       Franks International      115250                    OSS DOCK C‐PORT 2 BLD 27   9.875" TSH 523 62.8# Q125 LANDING COLLAR                                                 ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      106438                                               13.625" VAM SLIJ‐II 88.2# Q125 FLOAT COLLAR                                            GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      111637                                               13.625" VAM SLIJ‐II 88.2# Q125 GUIDE SHOE                                              GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      114883                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJ‐II 65.3# Q125 FLOAT COLLAR                                            ORLOV TA‐9         EA                                2                                0
Franks ‐ Houma       Franks International      110651                                               14" SLSF 115.53# Q125 CENTRALIZER SUB                                                  ICHALKIL 4        EA                               15                                0
Franks ‐ Houma       Franks International      113525                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJII 62.8# Q125 F.C.                                                        ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      109994                                               18" VAM HDL 117# Q125 F.C                                                                ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      106438                                               13.625" VAM SLIJII 88.2# Q125 F.C.                                                       ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      107304                                               11.875" TSH 513 71.8# Q125 F.C.                                                          ORLOV           EA                                2                                0
Franks ‐ Houma       Franks International      112582                                               18" VAM HDL 117# Q125 FLOAT COLLAR                                                     GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      107304                                               11.875" TSH513 71.8# FLOAT COLLAR                                                      GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      109904                                               14" TSH523 116# Q125 FLOAT COLLAR                                                     KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      115425                                               11.875" TSH513 71.8# Q125 FLOAT COLLAR                                                KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      115422                                               10.125" TSH513 79.29# Q125 FLOAT COLLAR                                               KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      114883                                               9.875" VAM SLIJII 65.3# Q125 F.C.                                                     ORLOV TA‐9         EA                                1                                0
Franks ‐ Houma       Franks International      115366                                               16.264" TSH623 DOPLESS 122.5# Q125 FLOAT COLLAR                                        ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      115632                                               13.625" TSH 521 88.2# Q125 F.C.                                                        ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      113594                                               16" TSH521 109# P110 F.C.                                                              ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      111140                                               14" TSH513 113# Q125 F.C.                                                              ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      116159                                               9.875" TSH523 62.8# Q125 F.C.                                                          ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      115709                                               9.875" TSH523 62.8# Q140 ORIFICE F.C.                                                  ICHALKL 4         EA                                2                                0
Franks ‐ Houma       Franks International      114099                                               7.75" 46.1# Q125 (135 MYS) WEDGE 523 (INNOVEX 735‐AB "DVBR")                         KATMAI #2 ST        EA                                2                                0
Franks ‐ Houma       Franks International      114883                                               9.875" VAM SLIJII 65.3# Q125 FLOAT COLLAR                                              GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      106438                                               13.625" VAM SLIJ‐II 88.2# Q125 FLOAT COLLAR                                            GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      114884                                               9.875" VAM SLIJII 65.3# Q125 GUIDE SHOE                                                GENOVESA          EA                                2                                0
Franks ‐ Houma       Franks International      109067                    OSS DOCK C‐PORT 2 BLD 27   9.875" VAM SLIJII 62.8# Q125 G.S.                                                        ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      111637                                               13.625" VAM SLIJ‐II 88.2# Q125 GUIDE SHOE                                              GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      111637                    OSS DOCK C‐PORT 2 BLD 27   13.625" VAM SLIJII 88.2# Q125 G.S.                                                       ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      109998                                               18" VAM HDL 117# G.S.                                                                    ORLOV           EA                                1                                0
Franks ‐ Houma       Franks International      115423                                               10.125" TSH513 79.29# Q125 GUIDE SHOE                                                 KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      114184                                               14" TSH513 113# Q125 C.E.G.S.                                                          ICHALKIL 4        EA                                2                                0
Franks ‐ Houma       Franks International      114884                                               9.875" VAM SLIJII 65.3# Q125 C.E.G.S.                                                 ORLOV TA‐9         EA                                1                                0
Franks ‐ Houma       Franks International      109068                                               11.875" TSH 513 71.8# Q125 C.E..G.S.                                                     ORLOV           EA                                2                                0
Franks ‐ Houma       Franks International      112583                                               18" VAM HDL 117# Q125 GUIDE SHOE                                                       GENOVESA          EA                                1                                0
Franks ‐ Houma       Franks International      110530                     shipped to the OSS dock   7.75" TSH523 46.1# Q125 GUIDE SHOE                                                    KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      115424                                               11.875" TSH513 71.8# Q125 GUIDE SHOE                                                  KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      109905                                               14" TSH523 116# Q125 GUIDE SHOE                                                       KATMAI‐2ST         EA                                2                                0
Franks ‐ Houma       Franks International      109068                                               11.875" TSH513 71.8# GUIDE SHOE                                                        GENOVESA          EA                                1                                0
                                                                          PLUG SET WAS STABED IN
Franks ‐ Houma       Franks International     111904                    LINNER AND THEN REMOVED     10.75" X 9.635" DUAL WIPER PLUG MOD II                                                   ORLOV          EA                                 1                                0
Franks ‐ Houma       Franks International     111208                                                9.625" DUAL WIPER PLUG MOD II                                                            ORLOV          EA                                 1                                0
Franks ‐ Houma       Franks International     109030                                                7.625" DUAL WIPER PLUG                                                                   ORLOV          EA                                 2                                0
Franks ‐ Houma       Franks International     113133                                                9.625" DUAL WIPER PLOG MOD III                                                             NA           EA                                 2                                0
Franks ‐ Houma       Franks International     111904                                                10.75" 9.625" DUAL WIPER PLUG MOD II                                                   GENOVESA         EA                                 1                                0
Franks ‐ Houma       Franks International     111601                                                13.375" DUAL WIPER PLUG MOD II                                                         GENOVESA         EA                                 1                                0
Franks ‐ Houma       Franks International     113133                                                9.625" DUAL WIPER PLUG MOD III                                                         GENOVESA         EA                                 1                                0
Franks ‐ Houma       Franks International     113238                                                10.75" OD X 9.625" SINGLE WIPER PLUG                                                    TA9‐ST01        EA                                 1                                0
Franks ‐ Houma       Franks International     111601                                                13.375" DUAL WIPER PLUG MOD III                                                        ICHALKIL 4       EA                                 2                                0
Franks ‐ Houma       Franks International     111601                                                13.375" DUAL WIPER PLUG MOD II                                                           ORLOV          EA                                 1                                0
Franks ‐ Houma       Franks International     111904                                                10.75" X 9.635" DUAL WIPER PLUG MOD II                                                   ORLOV          EA                                 1                                0

 Franks ‐ Houma      Franks International     112032                    TO DOCK WITH CEMENT HEAD 18" DUAL WIPER PLUG MOD II                                                                  ORLOV          EA                                 1                                0
 Franks ‐ Houma      Franks International     111804                                             11.875" DUAL WIPER PLUG MOD II                                                              ORLOV          EA                                 2                                0
 Franks ‐ Houma      Franks International     111208                                             9.625" DUAL WIPER PLUG MOD II                                                               ORLOV          EA                                 1                                0
 Franks ‐ Houma      Franks International     111601                                             13.375" DUAL WIPER PLUG MOD II                                                              ORLOV          EA                                 1                                0
 Franks ‐ Houma      Franks International     109030                                             7.625" DUAL WIPER PLUG                                                                      ORLOV          EA                                 2                                0
 Franks ‐ Houma      Franks International     112809                                             11.75" X 9.625" DUAL WIPER PLUG MOD III                                                       NA           EA                                 2                                0
 Franks ‐ Houma      Franks International     111208                                             9.625" DUAL WIPER PLUG MOD II                                                              KATMAI‐1        EA                                 2                                0
 Franks ‐ Houma      Franks International     111904                                             10.75" 9.625" DUAL WIPER PLUG MOD II                                                      GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     111601                                             13.375" DUAL WIPER PLUG MOD II                                                            GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     111804                                             11.875" DUAL WIPER PLUG MOD II                                                           KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     111208                                             9.625" DUAL WIPER PLUG MOD II                                                            KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     111601                                             13.375" DUAL WIPER PLUG MOD II                                                           KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     112809                                             11.75" X 9.625" DUAL WIPER PLUG MOD III                                                   GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     113133                                             9.625" DUAL WIPER PLUG MOD III                                                            GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     112032                                             18" DUAL WIPER PLUG MOD II                                                                GENOVESA         EA                                 1                                0
 Franks ‐ Houma      Franks International     113133                                             9.875" DUAL WIPER PLUG MOD III                                                            ORLOV TA‐9       EA                                 2                                0
 Franks ‐ Houma      Franks International     113238                                             10.75" OD X 9.625" SINGLE WIPER PLUG                                                   ORLOV TA9‐ST01      EA                                 1                                0
 Franks ‐ Houma      Franks International     115505                                             10.125" TSH 523 79.29# Q125 L.C.                                                           KATMAI‐1        EA                                 2                                0
 Franks ‐ Houma      Franks International     114542                                             9.875" VAM SLIJII 62.8# L80 L.C.                                                            ORLOV          EA                                 2                                0
 Franks ‐ Houma      Franks International     115505                                             10.125"TSH523 79.29# Q125 LANDING COLLAR                                                 KATMAI‐2ST        EA                                 2                                0
 Franks ‐ Houma      Franks International     115627                                             9.875" VAM SLIJII 65.3# L.C.                                                              GENOVESA         EA                                 1                                0
Franks ‐ Lafayette   Franks International     127543                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 2/75931                                                    Katmai East Noble   EA                                 1        61.78                   0
Franks ‐ Lafayette   Franks International     127544                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 1/75931                                                    Katmai East Noble   EA                                 1        61.91                   0
Franks ‐ Lafayette   Franks International     127546                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 3/75931                                                    Katmai East Noble   EA                                 1        61.76                   0
Franks ‐ Lafayette   Franks International     127547                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 4/75931                                                    Katmai East Noble   EA                                 1        61.84                   0
Franks ‐ Lafayette   Franks International     127548                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 6/75931                                                    Katmai East Noble   EA                                 1        61.74                   0
Franks ‐ Lafayette   Franks International     127549                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 5/75931                                                    Katmai East Noble   EA                                 1        61.72                   0
Franks ‐ Lafayette   Franks International     127550                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 7/75931                                                    Katmai East Noble   EA                                 1        61.74                   0
Franks ‐ Lafayette   Franks International     127551                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 8/75931                                                    Katmai East Noble   EA                                 1        61.75                   0
Franks ‐ Lafayette   Franks International     127552                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 9/75931                                                    Katmai East Noble   EA                                 1        61.86                   0
Franks ‐ Lafayette   Franks International     127553                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 14/75931                                                   Katmai East Noble   EA                                 1        61.78                   0
Franks ‐ Lafayette   Franks International     127554                               NA            22 INCH 1.5 LB X80 DLQ,B/P, 13/75931                                                   Katmai East Noble   EA                                 1        61.79                   0
Franks ‐ Lafayette   Franks International     127555                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 12/75931                                                   Katmai East Noble   EA                                 1        61.83                   0
Franks ‐ Lafayette   Franks International     127556                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 11/75931                                                   Katmai East Noble   EA                                 1        61.76                   0
Franks ‐ Lafayette   Franks International     127557                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 10/75931                                                   Katmai East Noble   EA                                 1        61.88                   0
Franks ‐ Lafayette   Franks International     128094                         Rack No. QRR1L2     22 INCH 1.5 LB X80 DLQ,P/PE, 15/75931                                                  Katmai East Noble   EA                                 1        81.3                    0
Franks ‐ Lafayette   Franks International     128095                         Rack No. QRR1L2     22 INCH 1.5 LB X80 DLQ,P/PE, 16/75931                                                  Katmai East Noble   EA                                 1        81.2                    0
Franks ‐ Lafayette   Franks International     128036                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 5/75933                                                    Katmai East Noble   EA                                 1        61.72                   0
Franks ‐ Lafayette   Franks International     128037                         Rack No. BPR8L1     22 INCH 1.5 LB X80 DLQ,B/P, 6/75933                                                    Katmai East Noble   EA                                 1        61.83                   0




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     Facility           Facility Owner      Item Number    Serial No.         Location         Item Description                                                    Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      128038                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 9/75933                                                   Katmai East Noble    EA                                1         61.73                  0
Franks ‐ Lafayette   Franks International      128039                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 8/75933                                                   Katmai East Noble    EA                                1         61.82                  0
Franks ‐ Lafayette   Franks International      128040                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 3/75933                                                   Katmai East Noble    EA                                1         61.74                  0
Franks ‐ Lafayette   Franks International      128041                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 4/75933                                                   Katmai East Noble    EA                                1         61.84                  0
Franks ‐ Lafayette   Franks International      128042                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 1/75933                                                   Katmai East Noble    EA                                1         61.68                  0
Franks ‐ Lafayette   Franks International      128043                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 2/75933                                                   Katmai East Noble    EA                                1         61.84                  0
Franks ‐ Lafayette   Franks International      128044                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 7/75933                                                   Katmai East Noble    EA                                1         61.81                  0
Franks ‐ Lafayette   Franks International      128045                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 14/75933                                                  Katmai East Noble    EA                                1         61.71                  0
Franks ‐ Lafayette   Franks International      128046                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 13/75933                                                  Katmai East Noble    EA                                1         61.76                  0
Franks ‐ Lafayette   Franks International      128047                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 12/75933                                                  Katmai East Noble    EA                                1         61.86                  0
Franks ‐ Lafayette   Franks International      128048                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 11/75933                                                  Katmai East Noble    EA                                1         61.72                  0
Franks ‐ Lafayette   Franks International      128049                     Rack No. BPR8L1      22 INCH 1.5 LB X80 DLQ,B/P, 10/75933                                                  Katmai East Noble    EA                                1         61.72                  0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     129447                       Rack No. QR13       36 INCH 1.5 LB X65 DLQ,B/P,X/O, 3/76563                                                TA‐09 (ORLOV)      EA                                 1        42.34                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     137388                     Rack No. QRPRODL7     36 INCH 1.5 LB X65 PLAIN,                                                              TA‐09 (ORLOV)      EA                                 1        12.13                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     112711                      Rack No. QRR1L2      22 INCH 1.25 LB X80 DLQ,B/P, 21/74736                                                  TA‐09 (ORLOV)      EA                                 1        81.97                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     81565                       Rack No. BPR7L4      22 INCH 1 LB X80 DLQ,B/P,X/O, 5/71719                                                  TA‐09 (ORLOV)      EA                                 1        41.74                   0
                                                                                                                                                                                    GREEN CANYON 200
Franks ‐ Lafayette   Franks International     137653                    Rack No. QRFENCELINE   36 INCH 1.5 LB X65 PLAIN,                                                              TA‐09 (ORLOV)      EA                                 1        12.15                   0
Franks ‐ Lafayette   Franks International     130507                       Rack No. QRNL1      22 INCH 1 LB X80 DLQ,B/FS, 4a/76883                                                      GENOVESA         EA                                 1        42.95                   0
Franks ‐ Lafayette   Franks International     130536                       Rack No. QRL5L2     22 INCH 1 LB X80 DLQ,B/P, 114/76883                                                      GENOVESA         EA                                 1        41.47                   0
Franks ‐ Lafayette   Franks International     129462                       Rack No. QRR2L3     36 INCH 1.5 LB X65 DLQ,B/IBV, 1/76881                                                    GENOVESA         EA                                 1        41.19                   0
Franks ‐ Lafayette   Franks International     133758                       Rack No. QRR2L3     36 INCH 2 LB X70 DLQ,B/P,X/O, 4/76881                                                    GENOVESA         EA                                 1         42                     0
Franks ‐ Lafayette   Franks International     86165                      Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 4/73210                                                      GENOVESA         EA                                 1         42                     0
Franks ‐ Lafayette   Franks International     132382                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 8/76927                                                       ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     132386                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 7/76927                                                       ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     132394                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/IBV, 9/76927                                                     ORLOV II        EA                                 1        40.81                   0
Franks ‐ Lafayette   Franks International     132408                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 6/76927                                                       ORLOV II        EA                                 1        41.92                   0
Franks ‐ Lafayette   Franks International     132409                     Rack No. QRPRODL2     36 INCH 1.5 LB X65 DLQ,B/P, 5/76927                                                       ORLOV II        EA                                 1        41.9                    0
Franks ‐ Lafayette   Franks International     133751                     Rack No. QRPRODL1     36 INCH 2 LB X70 PLAIN,                                                                   ORLOV II        EA                                 1        39.95                   0
Franks ‐ Lafayette   Franks International     133752                     Rack No. QRPRODL1     36 INCH 2 LB X70 PLAIN,                                                                   ORLOV II        EA                                 1        39.93                   0
Franks ‐ Lafayette   Franks International     133753                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,P/PE, 2/76927                                                        ORLOV II        EA                                 1        41.05                   0
Franks ‐ Lafayette   Franks International     133754                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,P/PE, 1/76927                                                        ORLOV II        EA                                 1        41.09                   0
Franks ‐ Lafayette   Franks International     133755                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,B/P,X/O, 4/76927                                                     ORLOV II        EA                                 1        42.07                   0
Franks ‐ Lafayette   Franks International     133756                     Rack No. QRPRODL2     36 INCH 2 LB X70 DLQ,B/P,X/O, 3/76927                                                     ORLOV II        EA                                 1        42.1                    0
Franks ‐ Lafayette   Franks International     135208                       Rack No. QRM5L      28 INCH 0.75 LB X60 PLAIN,                                                                ORLOV II        EA                                 1        40.1                    0
Franks ‐ Lafayette   Franks International     135309                       Rack No. QRM5L      28 INCH 0.75 LB X60 PLAIN,                                                                ORLOV II        EA                                 1        40.04                   0
Franks ‐ Lafayette   Franks International     135389                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 17/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135390                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 7/76928                                                      ORLOV II        EA                                 1        41.98                   0
Franks ‐ Lafayette   Franks International     135391                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 10/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135392                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 11/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135393                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 12/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135394                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 22/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135395                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 23/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135396                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 14/76928                                                     ORLOV II        EA                                 1        41.94                   0
Franks ‐ Lafayette   Franks International     135457                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 26/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135458                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 21/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135459                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 18/76928                                                     ORLOV II        EA                                 1        41.94                   0
Franks ‐ Lafayette   Franks International     135460                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 24/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135461                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 25/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135462                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 16/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135463                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 29/76928                                                     ORLOV II        EA                                 1        41.89                   0
Franks ‐ Lafayette   Franks International     135464                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 19/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135465                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 20/76928                                                     ORLOV II        EA                                 1        41.06                   0
Franks ‐ Lafayette   Franks International     135466                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 32/76928                                                     ORLOV II        EA                                 1        41.93                   0
Franks ‐ Lafayette   Franks International     135467                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 35/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135468                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 27/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135469                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 37/76928                                                     ORLOV II        EA                                 1        41.92                   0
Franks ‐ Lafayette   Franks International     135470                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 31/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135471                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 33/76928                                                     ORLOV II        EA                                 1        41.88                   0
Franks ‐ Lafayette   Franks International     135472                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 41/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135473                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 30/76928                                                     ORLOV II        EA                                 1        41.87                   0
Franks ‐ Lafayette   Franks International     135474                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 28/76928                                                     ORLOV II        EA                                 1        41.94                   0
Franks ‐ Lafayette   Franks International     135475                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 47/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135476                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 39/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135477                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 34/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135478                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 38/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135506                              NA           28 INCH 0.75 LB X60 DLQ,P/PE, 63/76928                                                    ORLOV II        EA                                 1         41                     0
Franks ‐ Lafayette   Franks International     135523                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 8/76928                                                      ORLOV II        EA                                 1        41.98                   0
Franks ‐ Lafayette   Franks International     135524                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 46/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135525                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 44/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135526                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 45/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135527                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 43/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135528                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 36/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135529                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 49/76928                                                     ORLOV II        EA                                 1        41.89                   0
Franks ‐ Lafayette   Franks International     135530                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 42/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135531                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 40/76928                                                     ORLOV II        EA                                 1        41.95                   0
Franks ‐ Lafayette   Franks International     135532                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 53/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135533                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 50/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135534                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 52/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135535                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 48/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135536                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 56/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135537                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 51/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135538                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 54/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135539                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 55/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135541                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 58/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135542                              NA           28 INCH 0.75 LB X60 DLQ,B/P, 59/76928                                                     ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135544                              NA           28 INCH 0.75 LB X60 DLQ,P/PE, 62/76928                                                    ORLOV II        EA                                 1         41                     0
Franks ‐ Lafayette   Franks International     135545                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 57/76928                                                     ORLOV II        EA                                 1        41.97                   0
Franks ‐ Lafayette   Franks International     135561                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 3/76928                                                      ORLOV II        EA                                 1        41.96                   0
Franks ‐ Lafayette   Franks International     135562                      Rack No. QRR7R4      28 INCH 0.75 LB X60 DLQ,B/P, 15/76928                                                     ORLOV II        EA                                 1        41.98                   0




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                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 435 of 995           Exhibit D-1 (continued)




     Facility           Facility Owner      Item Number   Serial No.          Location       Item Description                                                    Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      135563                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 6/76928                                                   ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135564                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 2/76928                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135565                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 1/76928                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135566                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 13/76928                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135567                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 4/76928                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135568                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 5/76928                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135569                    Rack No. QRR7R4     28 INCH 0.75 LB X60 DLQ,B/P, 9/76928                                                   ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      130150                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 82/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130153                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 90/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130157                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 89/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130158                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 85/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130159                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 86/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130161                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 88/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130162                    Rack No. QR3RL5     22 INCH 1 LB X80 DLQ,B/P,X/O, 117/76929                                                ORLOV II      EA                                1         41.57                  0
Franks ‐ Lafayette   Franks International      130163                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 84/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130165                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 87/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130226                       Rack No. QR      22 INCH 1 LB X80 DLQ,B/P, 81/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130227                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 80/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130229                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 96/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130230                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 94/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130231                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 98/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130232                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 83/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130234                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 92/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130235                     Rack No. QRNL2     22 INCH 1 LB X80 DLQ,B/P, 113/76929                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130236                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 93/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130283                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 91/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130284                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 78/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130285                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 79/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130346                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 69/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130347                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 39/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130348                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 35/76929                                                     ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130349                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 45/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130350                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 46/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130351                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 38/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130352                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 34/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130353                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 51/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130354                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 52/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130355                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 37/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130356                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 33/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130357                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 43/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130358                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 44/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130359                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 55/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130360                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 56/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130361                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 49/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130367                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 50/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130368                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 61/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130369                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 62/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130370                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 53/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130371                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 54/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130372                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 57/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130373                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 58/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130374                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 59/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130375                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 60/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130376                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 77/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130377                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 75/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130378                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 63/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130379                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 64/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130380                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 76/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130381                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 74/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130382                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 67/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130383                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 68/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130384                  Rack No. QRPRODR2L1   22 INCH 1 LB X80 DLQ,B/P, 114/76929                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130385                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 73/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130386                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 65/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130387                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 66/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130388                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 95/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130389                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 72/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130390                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 70/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130391                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 71/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130392                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 97/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130472                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 41/76929                                                     ORLOV II      EA                                1         41.4                   0
Franks ‐ Lafayette   Franks International      130473                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 47/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130474                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 36/76929                                                     ORLOV II      EA                                1         41.43                  0
Franks ‐ Lafayette   Franks International      130475                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 40/76929                                                     ORLOV II      EA                                1         41.4                   0
Franks ‐ Lafayette   Franks International      130476                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 42/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130477                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 48/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130478                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 21/76929                                                     ORLOV II      EA                                1         41.39                  0
Franks ‐ Lafayette   Franks International      130479                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 30/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130480                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 25/76929                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130481                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 29/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130482                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 26/76929                                                     ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130483                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 14/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130484                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 28/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130485                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 9/76929                                                      ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130486                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 16/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130487                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 12/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130488                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 11/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130489                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 10/76929                                                     ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130490                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 22/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130491                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 24/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130492                     Rack No. QRL5L2    22 INCH 1 LB X80 B/P,DIB, 27/76929                                                     ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130493                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 31/76929                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130494                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 23/76929                                                     ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130495                     Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 32/76929                                                     ORLOV II      EA                                1         41.46                  0




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                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 436 of 995         Exhibit D-1 (continued)




     Facility           Facility Owner      Item Number   Serial No.        Location       Item Description                                                    Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      130496                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 20/76929                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130499                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 4/76929                                                      ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130502                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 18/76929                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130504                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 19/76929                                                     ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130505                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 3/76929                                                      ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130506                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 15/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130509                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 17/76929                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130510                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 13/76929                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130511                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 8/76929                                                      ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130512                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 1/76929                                                      ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130514                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 5/76929                                                      ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130515                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 6/76929                                                      ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130516                   Rack No. QRL5L2    22 INCH 1 LB X80 DLQ,B/P, 7/76929                                                      ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130541                   Rack No. QRR4L4    22 INCH 1 LB X80 DLQ,B/P, 2/76929                                                      ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      48572                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 101/76929                                                 ORLOV II      EA                                1         41.83                  0
Franks ‐ Lafayette   Franks International      48574                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 103/76929                                                 ORLOV II      EA                                1         41.88                  0
Franks ‐ Lafayette   Franks International      48612                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 104/76929                                                 ORLOV II      EA                                1         41.79                  0
Franks ‐ Lafayette   Franks International      48613                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 102/76929                                                 ORLOV II      EA                                1         41.79                  0
Franks ‐ Lafayette   Franks International      48615                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 107/76929                                                 ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      48621                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 99/76929                                                  ORLOV II      EA                                1         41.81                  0
Franks ‐ Lafayette   Franks International      48622                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 110/76929                                                 ORLOV II      EA                                1         41.75                  0
Franks ‐ Lafayette   Franks International      48631                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 108/76929                                                 ORLOV II      EA                                1         41.88                  0
Franks ‐ Lafayette   Franks International      48634                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 109/76929                                                 ORLOV II      EA                                1         41.82                  0
Franks ‐ Lafayette   Franks International      49635                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 105/76929                                                 ORLOV II      EA                                1         41.86                  0
Franks ‐ Lafayette   Franks International      50179                     Rack No. QRNL2    22 INCH 1.25 LB X80 DLQ,P/PE, 112/76929                                                ORLOV II      EA                                1         41.02                  0
Franks ‐ Lafayette   Franks International      50183                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 106/76929                                                 ORLOV II      EA                                1         41.86                  0
Franks ‐ Lafayette   Franks International      50185                    Rack No. QR3RL5    22 INCH 1.25 LB X80 DLQ,B/P, 100/76929                                                 ORLOV II      EA                                1         41.79                  0
Franks ‐ Lafayette   Franks International      82761                     Rack No. QRNL2    22 INCH 1.25 LB X80 DLQ,P/PE, 111/76929                                                ORLOV II      EA                                1         39.69                  0
Franks ‐ Lafayette   Franks International      115834                   Rack No. QRR1R1    36 INCH 2 LB X80 DLQ,B/P, 5/75976                                                      ORLOV II      EA                                1         42.16                  0
Franks ‐ Lafayette   Franks International      132380                  Rack No. QRPRODL2   36 INCH 1.5 LB X65 DLQ,B/P, 3/76939                                                    ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      132385                  Rack No. QRPRODL2   36 INCH 1.5 LB X65 DLQ,B/IBV, 4/76939                                                  ORLOV II      EA                                1         40.9                   0
Franks ‐ Lafayette   Franks International      132390                  Rack No. QRPRODL2   36 INCH 1.5 LB X65 DLQ,B/P, 2/76939                                                    ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135211                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 48/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135214                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 47/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135359                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 12/76940                                                  ORLOV II      EA                                1         41.98                  0
Franks ‐ Lafayette   Franks International      135360                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 7/76940                                                   ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135361                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 25/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135362                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 11/76940                                                  ORLOV II      EA                                1         41.01                  0
Franks ‐ Lafayette   Franks International      135363                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 29/76940                                                  ORLOV II      EA                                1         40.26                  0
Franks ‐ Lafayette   Franks International      135364                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 24/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135365                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 30/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135366                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 15/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135367                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 31/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135368                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 35/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135369                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 13/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135370                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 14/76940                                                  ORLOV II      EA                                1         41.98                  0
Franks ‐ Lafayette   Franks International      135371                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 46/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135372                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 16/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135373                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 34/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135374                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 44/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135375                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 45/76940                                                  ORLOV II      EA                                1         41.92                  0
Franks ‐ Lafayette   Franks International      135376                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 33/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135377                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 37/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135378                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 20/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135379                   Rack No. QRR3L5    28 INCH 0.75 LB X60 DLQ,B/P, 18/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135380                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 41/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135381                   Rack No. QRR3L5    28 INCH 0.75 LB X60 DLQ,B/P, 19/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135382                   Rack No. QRR3L5    28 INCH 0.75 LB X60 DLQ,B/P, 17/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135383                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 38/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135384                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 39/76940                                                  ORLOV II      EA                                1         41.93                  0
Franks ‐ Lafayette   Franks International      135385                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 43/76940                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      135386                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 40/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135387                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 36/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135388                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 42/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135494                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 8/76940                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135495                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 27/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135496                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 32/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135497                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 9/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135498                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 28/76940                                                  ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135499                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 10/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135500                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 26/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135501                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 6/76940                                                   ORLOV II      EA                                1         41.94                  0
Franks ‐ Lafayette   Franks International      135502                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 5/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135503                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 22/76940                                                  ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      135504                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 4/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135505                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 21/76940                                                  ORLOV II      EA                                1         41.01                  0
Franks ‐ Lafayette   Franks International      135508                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 23/76940                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135540                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 3/76940                                                   ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      135543                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 2/76940                                                   ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      135546                          NA          28 INCH 0.75 LB X60 DLQ,B/P, 1/76940                                                   ORLOV II      EA                                1         41.97                  0
Franks ‐ Lafayette   Franks International      138955                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 77/70915                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      138956                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 63/70915                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      138957                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 40/70915                                                  ORLOV II      EA                                1         41.95                  0
Franks ‐ Lafayette   Franks International      138958                    Rack No. QR13     28 INCH 0.75 LB X60 DLQ,B/P, 43/70915                                                  ORLOV II      EA                                1         41.98                  0
Franks ‐ Lafayette   Franks International      88725                    Rack No. BPL7R5    28 INCH 0.75 LB X60 DLQ,B/P, 19/70785                                                  ORLOV II      EA                                1         42.02                  0
Franks ‐ Lafayette   Franks International      88729                    Rack No. BPL7R5    28 INCH 0.75 LB X60 DLQ,B/P, 25/70785                                                  ORLOV II      EA                                1         41.96                  0
Franks ‐ Lafayette   Franks International      124226                          NA          22 INCH 1 LB x80 DLQ,B/P, 99/75976                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      124227                          NA          22 INCH 1 LB x80 DLQ,B/P, 260/75976                                                    ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124230                          NA          22 INCH 1 LB x80 DLQ,B/P, 105/75976                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124231                          NA          22 INCH 1 LB x80 DLQ,B/P, 98/75976                                                     ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124233                   Rack No. BPL6L3    22 INCH 1 LB x80 DLQ,B/P, 97/75976                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124234                          NA          22 INCH 1 LB x80 DLQ,B/P, 113/75976                                                    ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124235                          NA          22 INCH 1 LB x80 DLQ,B/P, 267/75976                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      124237                          NA          22 INCH 1 LB x80 DLQ,B/P, 109/75976                                                    ORLOV II      EA                                1         41.5                   0




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                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 437 of 995      Exhibit D-1 (continued)




     Facility           Facility Owner      Item Number   Serial No.       Location      Item Description                                                   Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      124238                         NA         22 INCH 1 LB x80 DLQ,B/P, 263/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124241                         NA         22 INCH 1 LB x80 DLQ,B/P, 120/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      124242                         NA         22 INCH 1 LB x80 DLQ,B/P, 121/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      124243                         NA         22 INCH 1 LB x80 DLQ,B/P, 110/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124262                  Rack No. BPL7L4   22 INCH 1 LB x80 DLQ,B/P, 115/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124263                         NA         22 INCH 1 LB x80 DLQ,B/P, 102/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      124267                         NA         22 INCH 1 LB x80 DLQ,B/P, 266/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124269                         NA         22 INCH 1 LB x80 DLQ,B/P, 265/75976                                                   ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      124278                         NA         22 INCH 1 LB x80 DLQ,B/P, 264/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124279                         NA         22 INCH 1 LB x80 DLQ,B/P, 104/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      124281                         NA         22 INCH 1 LB x80 DLQ,B/P, 108/75976                                                   ORLOV II      EA                                1         41.52                  0
Franks ‐ Lafayette   Franks International      124284                         NA         22 INCH 1 LB x80 DLQ,B/P, 96/75976                                                    ORLOV II      EA                                1         41.38                  0
Franks ‐ Lafayette   Franks International      124285                         NA         22 INCH 1 LB x80 DLQ,B/P, 95/75976                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124286                         NA         22 INCH 1 LB x80 DLQ,B/P, 101/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124310                         NA         22 INCH 1 LB x80 DLQ,B/P, 112/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      124312                         NA         22 INCH 1 LB x80 DLQ,B/P, 118/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      124313                         NA         22 INCH 1 LB x80 DLQ,B/P, 119/75976                                                   ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      124318                         NA         22 INCH 1 LB x80 DLQ,B/P, 114/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125166                         NA         22 INCH 1 LB x80 DLQ,B/P, 128/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125172                         NA         22 INCH 1 LB x80 DLQ,B/P, 122/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125173                         NA         22 INCH 1 LB x80 DLQ,B/P, 123/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125190                         NA         22 INCH 1 LB x80 DLQ,B/P, 144/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125191                         NA         22 INCH 1 LB x80 DLQ,B/P, 143/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      125200                         NA         22 INCH 1 LB x80 DLQ,B/P, 155/75976                                                   ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      125201                         NA         22 INCH 1 LB x80 DLQ,B/P, 154/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125204                         NA         22 INCH 1 LB x80 DLQ,B/P, 159/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125205                         NA         22 INCH 1 LB x80 DLQ,B/P, 158/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125213                  Rack No. BPL7L2   22 INCH 1 LB x80 DLQ,B/P, 162/75976                                                   ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      125219                         NA         22 INCH 1 LB x80 DLQ,B/P, 139/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125221                         NA         22 INCH 1 LB x80 DLQ,B/P, 137/75976                                                   ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      125222                         NA         22 INCH 1 LB x80 DLQ,B/P, 136/75976                                                   ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      125249                         NA         22 INCH 1 LB x80 DLQ,B/P, 145/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      125250                         NA         22 INCH 1 LB x80 DLQ,B/P, 146/75976                                                   ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130092                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 22/76941                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130093                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 15/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130094                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 24/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130095                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 9/76941                                                     ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130096                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 34/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130097                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 27/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130098                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 28/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130099                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 19/76941                                                    ORLOV II      EA                                1         41.51                  0
Franks ‐ Lafayette   Franks International      130100                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 39/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130101                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 40/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130102                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 25/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130103                  Rack No. QRL5L2   22 INCH 1 LB X80 DLQ,B/P, 26/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130104                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 38/76941                                                    ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130105                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 31/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130106                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 32/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130107                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 17/76941                                                    ORLOV II      EA                                1         41.41                  0
Franks ‐ Lafayette   Franks International      130108                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 44/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130109                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 29/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130110                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 30/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130111                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 23/76941                                                    ORLOV II      EA                                1         41.5                   0
Franks ‐ Lafayette   Franks International      130112                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 42/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130113                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 35/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130114                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 36/76941                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130115                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 21/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130117                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 47/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130118                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 33/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130121                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 46/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130125                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 45/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130126                   Rack No. QRS8L   22 INCH 1 LB X80 B/P,CPN, 37/76941                                                    ORLOV II      EA                                1         41.49                  0
Franks ‐ Lafayette   Franks International      130129                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 48/76941                                                    ORLOV II      EA                                1         39.42                  0
Franks ‐ Lafayette   Franks International      130130                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 43/76941                                                    ORLOV II      EA                                1         39.6                   0
Franks ‐ Lafayette   Franks International      130142                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 11/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130143                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 13/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130144                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 10/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130145                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 18/76941                                                    ORLOV II      EA                                1         41.44                  0
Franks ‐ Lafayette   Franks International      130146                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 16/76941                                                    ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130147                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 12/76941                                                    ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130148                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 14/76941                                                    ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130149                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 20/76941                                                    ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130151                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 2/76941                                                     ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      130152                   Rack No. QR13    22 INCH 1 LB X80 DLQ,B/P,X/O, 1/76941                                                 ORLOV II      EA                                1         41.6                   0
Franks ‐ Lafayette   Franks International      130154                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 4/76941                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130155                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 3/76941                                                     ORLOV II      EA                                1         41.47                  0
Franks ‐ Lafayette   Franks International      130156                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 5/76941                                                     ORLOV II      EA                                1         41.46                  0
Franks ‐ Lafayette   Franks International      130160                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 6/76941                                                     ORLOV II      EA                                1         41.42                  0
Franks ‐ Lafayette   Franks International      130164                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 7/76941                                                     ORLOV II      EA                                1         41.6                   0
Franks ‐ Lafayette   Franks International      130228                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 8/76941                                                     ORLOV II      EA                                1         41.48                  0
Franks ‐ Lafayette   Franks International      130559                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 49/76941                                                    ORLOV II      EA                                1         41.35                  0
Franks ‐ Lafayette   Franks International      130560                   Rack No. QRS8L   22 INCH 1 LB X80 DLQ,B/P, 41/76941                                                    ORLOV II      EA                                1         41.45                  0
Franks ‐ Lafayette   Franks International      62753                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 95/76941                                                 ORLOV II      EA                                1         41.87                  0
Franks ‐ Lafayette   Franks International      62759                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 92/76941                                                 ORLOV II      EA                                1         41.77                  0
Franks ‐ Lafayette   Franks International      62761                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 94/76941                                                 ORLOV II      EA                                1         41.86                  0
Franks ‐ Lafayette   Franks International      62762                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 93/76941                                                 ORLOV II      EA                                1         41.91                  0
Franks ‐ Lafayette   Franks International      62765                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 97/76941                                                 ORLOV II      EA                                1         41.91                  0
Franks ‐ Lafayette   Franks International      62766                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 101/76941                                                ORLOV II      EA                                1         41.91                  0
Franks ‐ Lafayette   Franks International      62768                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 96/76941                                                 ORLOV II      EA                                1         41.89                  0
Franks ‐ Lafayette   Franks International      62769                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 76941                                                    ORLOV II      EA                                1         41.89                  0
Franks ‐ Lafayette   Franks International      62851                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 100/76941                                                ORLOV II      EA                                1         41.85                  0
Franks ‐ Lafayette   Franks International      62863                   Rack No. QRR3L5   22 INCH 1.25 LB X80 DLQ,B/P, 98/76941                                                 ORLOV II      EA                                1         41.89                  0
Franks ‐ Lafayette   Franks International      103217                  Rack No. BPR8R2   22 INCH 1 LB X80 DLQ,B/P,                                                                           EA                                1         21.3                   0
Franks ‐ Lafayette   Franks International      105564                  Rack No. BPR6L4   22 INCH 1 LB X80 DLQ,B/P, 2/74164                                                     NOBLE         EA                                1         7.98                   0




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     Facility           Facility Owner      Item Number    Serial No.       Location       Item Description                                                      Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
Franks ‐ Lafayette   Franks International      109324                   Rack No. BPR7L4    22 INCH 1.25 LB X80 DLQ,B/P, 15/74732                                                        NOBLE           EA                                1         21.74                  0
Franks ‐ Lafayette   Franks International      111396                   Rack No. BPR7L4    22 INCH 1 LB X80 DLQ,B/P, 4/74727                                                            NOBLE           EA                                1         28.35                  0
Franks ‐ Lafayette   Franks International      111399                   Rack No. BPR7L4    22 INCH 1 LB X80 DLQ,B/P, 2/74727                                                            NOBLE           EA                                1         28.32                  0
Franks ‐ Lafayette   Franks International      112330                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 15/74736                                                        NOBLE           EA                                1         81.15                  0
Franks ‐ Lafayette   Franks International      112336                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 20/74736                                                        NOBLE           EA                                1         81.85                  0
Franks ‐ Lafayette   Franks International      112709                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 9/74736                                                         NOBLE           EA                                1         81.85                  0
Franks ‐ Lafayette   Franks International      112710                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 23/74736                                                        NOBLE           EA                                1         81.92                  0
Franks ‐ Lafayette   Franks International      112712                   Rack No. QRR1L2    22 INCH 1.25 LB X80 DLQ,B/P, 22/74736                                                        NOBLE           EA                                1         81.85                  0
Franks ‐ Lafayette   Franks International      115996                   Rack No. BPR7L4    22 INCH 1 LB X80 DLQ,B/P, 7/72609                                                            NOBLE           EA                                1         31.34                  0
Franks ‐ Lafayette   Franks International      116784                         PYM          36 INCH 2 LB X70 DLQ,B,                                                                      NOBLE           EA                                1          4.5                   0
Franks ‐ Lafayette   Franks International      123875                          NA          22 INCH 1.25 LB X80 DLQ,B/PE,                                                                                EA                                1         40.89                  0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136805                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 13/76560                                                        MARSH           EA                                 1        40.06                   0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136806                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 16/76560                                                        MARSH           EA                                 1        40.09                   0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136807                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 7/76560                                                         MARSH           EA                                 1        40.06                   0
                                                                                                                                                                                   #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136808                          NA           26 INCH 1 LB X5256 DDS,B/TCE, 11/76560                                                      MARSH           EA                                 1        14.44                   0

                                                                                                                                                                                      SOUTH MARSH
Franks ‐ Lafayette   Franks International     136809                          NA           26 INCH 1 LB X5256 DDS,B/FS, 18/76560                                                  ISLAND 105#A‐21 ST   EA                                 1        23.75                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     136810                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 8/76560                                                           MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137230                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 17/76560                                                          MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137231                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 15/76560                                                          MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137232                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 14/76560                                                          MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137233                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 5/76560                                                           MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137234                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 4/76560                                                           MARSH         EA                                 1        40.09                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137235                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 9/76560                                                           MARSH         EA                                 1        40.08                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137239                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P, 12/76560                                                          MARSH         EA                                 1         40.1                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137240                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 10/76560                                                          MARSH         EA                                 1        40.08                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137241                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 6/76560                                                           MARSH         EA                                 1        40.08                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137242                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/TCE,COT, 1/76560                                                     MARSH         EA                                 1        12.48                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137243                    Rack No. QRR1R1    26 INCH 1 LB X5256 DDS,P/TCE, 11/76560                                                        MARSH         EA                                 1        25.65                   0
                                                                                                                                                                                    #A‐21 ST ‐ SOUTH
Franks ‐ Lafayette   Franks International     137244                    Rack No. QRL3L1    26 INCH 1 LB X5256 TCE/TCE,COT, 1/76560                                                       MARSH         EA                                 1        14.16                   0
                                                                                                                                                                                      SOUTH MARSH
                                                                                                                                                                                    ISLAND#A‐21 ST #
Franks ‐ Lafayette   Franks International     137384                    Rack No. QRR2L1    26 INCH 1 LB X5256 DDS,B/P, 12/76561                                                            105         EA                                 1        40.09                   0
                                                                                                                                                                                  SHIP SHOAL 169 #G‐
Franks ‐ Lafayette   Franks International     137392                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P, 3/76561                                                               3         EA                                 1         40.1                   0
                                                                                                                                                                                  SHIP SHOAL 169 #G‐
Franks ‐ Lafayette   Franks International     137393                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P, 8/76561                                                               3         EA                                 1         40.1                   0
                                                                                                                                                                                  SHIP SHOAL 169 #G‐
Franks ‐ Lafayette   Franks International     137394                    Rack No. QRR5L4    26 INCH 1 LB X5256 DDS,B/P,COT, 6/76561                                                           3         EA                                 1         40.1                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     137938                    Rack No. BPL11R1   22 INCH 1 LB X80 DLQ,B/P,X/O, 1/72603                                                      TA‐09 (ORLOV)    EA                                 1        41.65                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138065                    Rack No. BPL10L1   36 INCH 1.5 LB X65 DLQ,B/P, 26/70264                                                       TA‐09 (ORLOV)    EA                                 1        41.97                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138459                    Rack No. BPL10L1   28 INCH 0.75 LB X60 DLQ,B/P, 2/76746                                                       TA‐09 (ORLOV)    EA                                 1        43.58                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138928                    Rack No. BPR14L1   22 INCH 1 LB X80 DLQ,B/P, 28/73725                                                         TA‐09 (ORLOV)    EA                                 1        61.46                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     138947                    Rack No. BPL11R1   22 INCH 1 LB X80 DLQ,B/P,BURST X DLQ,B/P, 10/76595                                         TA‐09 (ORLOV)    EA                                 1        49.56                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140972                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 20/76610                                                         TA‐09 (ORLOV)    EA                                 1         42                     0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140973                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 27/76610                                                         TA‐09 (ORLOV)    EA                                 1        41.78                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140974                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 41/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140975                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 45/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140976                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 60/76610                                                         TA‐09 (ORLOV)    EA                                 1        41.66                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140977                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 53/76610                                                         TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140978                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 13/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.05                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140979                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 37/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140980                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 40/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.15                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140981                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 23/76610                                                         TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140982                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 7/76610                                                          TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140983                    Rack No. BPL9L4    22 INCH 1 LB X80 DLQ,B/P, 81/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                                  GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140984                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 15/76610                                                         TA‐09 (ORLOV)    EA                                 1        42.12                   0




                                                                                                                                                 82
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     Facility          Facility Owner       Item Number    Serial No.       Location       Item Description                                                Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140985                    Rack No. BPL11R4   22 INCH 1 LB X80 DLQ,B/P, 21/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140986                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 70/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.96                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140987                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 44/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.38                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140988                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 14/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.02                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140989                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 12/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.04                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140990                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 74/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140991                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 63/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140992                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 61/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140993                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 19/76595                                                 TA‐09 (ORLOV)    EA                                 1        41.37                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140994                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 20/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.06                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140995                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 51/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140996                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 68/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.36                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     140997                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 24/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141002                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 92/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.45                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141003                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 116/76883                                                TA‐09 (ORLOV)    EA                                 1        41.43                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141004                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 73/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141005                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 130/76883                                                TA‐09 (ORLOV)    EA                                 1        41.46                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141006                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 21/76595                                                 TA‐09 (ORLOV)    EA                                 1        41.59                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141007                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 18/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141008                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 14/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141009                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 25/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141010                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 4/76610                                                  TA‐09 (ORLOV)    EA                                 1        42.05                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141011                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 78/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.34                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141012                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 87/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.16                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141013                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 6/76610                                                  TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141014                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 33/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141015                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 11/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.16                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141016                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 9/76610                                                  TA‐09 (ORLOV)    EA                                 1         42                     0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141017                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 27/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141018                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 32/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141019                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 94/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.46                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141020                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 28/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141021                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 30/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141022                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 31/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.44                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141023                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 90/76610                                                 TA‐09 (ORLOV)    EA                                 1        44.89                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141024                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 12/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141025                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 93/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.47                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141026                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 84/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.49                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141027                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 96/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141028                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 35/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141029                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 18/76610                                                 TA‐09 (ORLOV)    EA                                 1        41.87                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141030                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 47/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141031                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 10/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                                MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141032                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 114/76883                                                   Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141033                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 46/76883                                                 TA‐09 (ORLOV)    EA                                 1        41.42                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141034                    Rack No. BPR5L3    22 INCH 1 LB X80 DLQ,B/P, 57/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                            GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141035                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 56/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.14                   0




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     Facility          Facility Owner       Item Number    Serial No.      Location       Item Description                                               Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141036                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 86/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141037                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 37/76883                                                TA‐09 (ORLOV)    EA                                 1        41.49                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141038                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 39/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141039                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 39/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141040                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 47/76883                                                TA‐09 (ORLOV)    EA                                 1        41.42                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141041                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 42/76883                                                TA‐09 (ORLOV)    EA                                 1        41.51                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141042                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 24/76610                                                TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141043                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 79/76883                                                TA‐09 (ORLOV)    EA                                 1        41.48                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141044                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 54/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141045                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 46/76610                                                TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141046                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 82/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141047                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 2/76610                                                 TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141048                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 43/76610                                                TA‐09 (ORLOV)    EA                                 1         41.6                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141049                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 16/76610                                                TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141050                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 22/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141051                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 26/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141052                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 19/76610                                                TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141053                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 29/76610                                                TA‐09 (ORLOV)    EA                                 1        41.38                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141054                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 3/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.06                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141055                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 50/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141056                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 8/76883                                                 TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141057                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 8/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.07                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141058                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 48/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141059                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 55/76610                                                TA‐09 (ORLOV)    EA                                 1        41.64                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141060                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 76/76610                                                TA‐09 (ORLOV)    EA                                 1        41.41                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141061                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 64/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141062                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 65/76610                                                TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141063                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 36/76610                                                TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141064                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 62/76610                                                TA‐09 (ORLOV)    EA                                 1        41.41                   0
                                                                                                                                                                              MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141065                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 8/76883                                                    Genovesa      EA                                 1        41.48                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141066                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 69/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141067                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 72/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141068                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 66/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141069                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 5/76610                                                 TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141070                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 34/76610                                                TA‐09 (ORLOV)    EA                                 1        41.24                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141071                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 75/76610                                                TA‐09 (ORLOV)    EA                                 1        42.14                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141072                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 17/76610                                                TA‐09 (ORLOV)    EA                                 1        41.95                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141073                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 38/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141074                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 85/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141075                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 79/76610                                                TA‐09 (ORLOV)    EA                                 1        42.08                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141076                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 58/76610                                                TA‐09 (ORLOV)    EA                                 1        41.48                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141077                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 42/76610                                                TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141078                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 48/76610                                                TA‐09 (ORLOV)    EA                                 1        41.47                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141079                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 25/76610                                                TA‐09 (ORLOV)    EA                                 1        42.15                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141080                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 77/76610                                                TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141081                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 3/76595                                                 TA‐09 (ORLOV)    EA                                 1        42.11                   0
                                                                                                                                                                          GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141082                    Rack No. BPR7L2   22 INCH 1 LB X80 DLQ,B/P, 83/76610                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0




                                                                                                                                         84
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     Facility          Facility Owner       Item Number    Serial No.       Location       Item Description                                                  Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141083                    Rack No. BPL10L2   22 INCH 1 LB X80 DLQ,B/P, 40/76883                                                   TA‐09 (ORLOV)    EA                                 1        41.51                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141084                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 80/76883                                                   TA‐09 (ORLOV)    EA                                 1        41.45                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141085                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 67/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.15                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141086                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 71/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.12                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141087                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 52/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.05                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141088                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 49/76610                                                   TA‐09 (ORLOV)    EA                                 1        42.13                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141089                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 87/76883                                                      Genovesa      EA                                 1        41.49                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141090                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 93/76883                                                      Genovesa      EA                                 1        41.42                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141091                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 24/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141122                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 83/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141123                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 92/76883                                                      Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141124                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 28/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141125                    Rack No. BPR7L2    22 INCH 1 LB X80 DLQ,B/P, 90/76883                                                      Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141126                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 152/75976                                                     Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141127                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 20/76883                                                      Genovesa      EA                                 1         41.5                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141129                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/FS, 1/76748                                                   TA‐09 (ORLOV)    EA                                 1        43.52                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141130                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 124/76883                                                     Genovesa      EA                                 1        41.45                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141131                    Rack No. QRR8L3    22 INCH 1 LB X80 DLQ,B/P, 38/76883                                                      Genovesa      EA                                 1        41.48                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141230                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 2/76608                                                     Genovesa      EA                                 1        42.45                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141233                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 5/76608                                                     Genovesa      EA                                 1        42.18                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141234                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 3/76608                                                     Genovesa      EA                                 1        42.18                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141235                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 11/76881                                                    Genovesa      EA                                 1        40.95                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141236                    Rack No. BPL12R1   36 INCH 1.5 LB X65 DLQ,B/P, 2/75995                                                     Genovesa      EA                                 1        41.89                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141237                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 8/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141238                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 49/76883                                                TA‐09 (ORLOV)    EA                                 1        41.72                   0
                                                                                                                                                                                  MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141239                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 49/76883                                                   Genovesa      EA                                 1        41.65                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141240                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 3/76813                                                 TA‐09 (ORLOV)    EA                                 1         41.7                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141241                    Rack No. BPR5L3    22 INCH 1.25 LB X80 DLQ,B/P, 5/76813                                                 TA‐09 (ORLOV)    EA                                 1         41.7                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141392                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 41/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141393                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 4/73211                                                 TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141394                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 3/73211                                                 TA‐09 (ORLOV)    EA                                 1         41.9                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141395                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 13/73213                                                TA‐09 (ORLOV)    EA                                 1        42.02                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141396                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 21/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141397                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 33/73213                                                TA‐09 (ORLOV)    EA                                 1        42.09                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141398                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 51/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141399                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 28/73212                                                TA‐09 (ORLOV)    EA                                 1        41.99                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141400                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 24/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141401                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 3/73211                                                 TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141402                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 40/73213                                                TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141403                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 29/73213                                                TA‐09 (ORLOV)    EA                                 1         42.1                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141404                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 37/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141405                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 13/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141406                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 31/73213                                                TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141407                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 53/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141408                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 16/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141409                    Rack No. BPR7R2    28 INCH 0.75 LB X60 DLQ,B/P, 8/70915                                                 TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                              GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141410                    Rack No. BPR9L2    28 INCH 0.75 LB X60 DLQ,B/P, 20/73213                                                TA‐09 (ORLOV)    EA                                 1        41.98                   0




                                                                                                                                             85
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     Facility          Facility Owner       Item Number    Serial No.      Location       Item Description                                                  Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141411                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 8/73213                                                 TA‐09 (ORLOV)    EA                                 1        41.97                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141412                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 48/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141413                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 10/73212                                                TA‐09 (ORLOV)    EA                                 1        41.96                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141414                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 49/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141415                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 26/70462                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141416                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 26/73212                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141417                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 78/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141418                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 1/73211                                                 TA‐09 (ORLOV)    EA                                 1        41.95                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141419                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 15/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141420                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 12/73157                                                TA‐09 (ORLOV)    EA                                 1        41.99                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141421                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 76/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141422                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 81/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141423                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 34/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141424                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 44/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141425                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 31/70462                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141426                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 76/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141427                    Rack No. BPR7R2   28 INCH 0.75 LB X60 DLQ,B/P, 9/70915                                                 TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141428                    Rack No. BPR7R2   28 INCH 0.75 LB X60 DLQ,B/P, 41/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141429                    Rack No. BPR7R2   28 INCH 0.75 LB X60 DLQ,B/P, 56/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141430                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 30/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141431                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 12/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141432                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 8/73212                                                 TA‐09 (ORLOV)    EA                                 1        41.95                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141433                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 39/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141434                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 39/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141435                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 69/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141436                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 33/70462                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141437                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 61/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141438                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 47/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141439                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 30/73212                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141441                    Rack No. BPR9L3   28 INCH 0.75 LB X60 DLQ,B/P, 60/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141442                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 46/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141443                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 20/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141444                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 70/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141445                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 79/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141446                    Rack No. BPL5R4   28 INCH 0.75 LB X60 DLQ,B/P, 74/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141447                    Rack No. BPL5R4   28 INCH 0.75 LB X60 DLQ,B/P, 11/70915                                                TA‐09 (ORLOV)    EA                                 1        41.94                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141448                    Rack No. BPL5R4   28 INCH 0.75 LB X60 DLQ,B/P, 11/73213                                                TA‐09 (ORLOV)    EA                                 1        42.02                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141450                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 26/73213                                                TA‐09 (ORLOV)    EA                                 1        42.01                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141452                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 4/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.67                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141453                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 9/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.74                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141454                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 10/76813                                                TA‐09 (ORLOV)    EA                                 1        41.76                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141455                    Rack No. BPR5L3   22 INCH 1.25 LB X80 DLQ,B/P, 6/76813                                                 TA‐09 (ORLOV)    EA                                 1        41.71                   0
                                                                                                                                                                             GREEN CANYON 200
Franks ‐ Lafayette   Franks International     141548                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,P/FS, 1/76596                                                TA‐09 (ORLOV)    EA                                 1         43.6                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141549                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 35/76795                                                   Genovesa      EA                                 1        41.47                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141550                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 31/76795                                                   Genovesa      EA                                 1        41.92                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141551                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 30/76795                                                   Genovesa      EA                                 1        41.93                   0
                                                                                                                                                                                 MC519 #3 ‐
Franks ‐ Lafayette   Franks International     141552                    Rack No. BPR9L2   28 INCH 0.75 LB X60 DLQ,B/P, 23/76795                                                   Genovesa      EA                                 1        40.13                   0




                                                                                                                                            86
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      Facility             Facility Owner        Item Number     Serial No.          Location           Item Description                                                          Project Number      Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length    Average Cost       Total Value   WI% Net Value
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141553                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 26/76795                                                           Genovesa      EA                                 1         41.93                   0
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141554                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 3/76795                                                            Genovesa      EA                                 1         41.93                   0
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141555                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 28/76795                                                           Genovesa      EA                                 1         41.93                   0
                                                                                                                                                                                                       MC519 #3 ‐
 Franks ‐ Lafayette     Franks International       141556                        Rack No. BPR9L2        28 INCH 0.75 LB X60 DLQ,B/P, 29/76795                                                           Genovesa      EA                                 1         41.95                   0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141616                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 112/76926                                                          TA‐09 (ORLOV)    EA                                 1         41.01                   0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141619                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 78/76926                                                           TA‐09 (ORLOV)    EA                                 1         40.96                   0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141622                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 111/76926                                                          TA‐09 (ORLOV)    EA                                 1         40.9                    0
                                                                                                                                                                                                   GREEN CANYON 200
 Franks ‐ Lafayette     Franks International       141625                        Rack No. BPR5L3        22 INCH 1 LB X80 DLQ,B/P, 123/76926                                                          TA‐09 (ORLOV)    EA                                 1         41.5                    0
 Franks ‐ Lafayette     Franks International       65379                         Rack No. BPR7L4        22 INCH 1 LB X80 DLQ,B/FS,                                                                                    EA                                 1         43.06                   0
 Franks ‐ Lafayette     Franks International       81955                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 14/74218                                                                        EA                                 1         21.88                   0
 Franks ‐ Lafayette     Franks International       83028                         Rack No. BPR7L4        36 INCH 1.5 LB X65 DLQ,B/IBV,                                                                                 EA                                 1         50.55                   0
 Franks ‐ Lafayette     Franks International       84690                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 1/69354                                                                         EA                                 1         42.03                   0
 Franks ‐ Lafayette     Franks International       84693                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 4/69354                                                                         EA                                 1         42.03                   0
 Franks ‐ Lafayette     Franks International       84694                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 5/69354                                                                         EA                                 1         42.04                   0
 Franks ‐ Lafayette     Franks International       84696                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 7/69354                                                                         EA                                 1         42.09                   0
 Franks ‐ Lafayette     Franks International       84881                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 12/69354                                                                        EA                                 1         42.04                   0
 Franks ‐ Lafayette     Franks International       84893                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/P, 24/69354                                                                        EA                                 1         42.03                   0
 Franks ‐ Lafayette     Franks International       84900                         Rack No. BPL7L5        28 INCH 0.752 LB X56 DLQ,B/FS, 39/69354                                                                       EA                                 1         43.57                   0
 Franks ‐ Lafayette     Franks International       86362                         Rack No. BPR7L4        36 INCH 1.5 LB X65 DLQ,B/P, 14/70264                                                            Noble         EA                                 1         42.09                   0
 Franks ‐ Lafayette     Franks International       86410                         Rack No. BPR7L4        36 INCH 1.5 LB X65 DLQ,B/P, 24/70264                                                            Noble         EA                                 1         41.91                   0
 Franks ‐ Lafayette     Franks International       87226                         Rack No. BPR7L4        36 INCH 2 LB X70 DLQ,B/P, 1/70264                                                               Noble         EA                                 1         42.43                   0
 Franks ‐ Lafayette     Franks International       87233                         Rack No. BPR7L4        36 INCH 2 LB X70 DLQ,B/P, 5/70264                                                               Noble         EA                                 1         42.32                   0
 Franks ‐ Lafayette     Franks International       91366                         Rack No. BPR7L4        22 INCH 1 LB X80 DLQ,B/P, 7/72609                                                               Noble         EA                                 1         31.4                    0
 Franks ‐ Lafayette     Franks International       93573                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/IBV,LIF, 19/70466                                                   Noble         EA                                 1         41.95                   0
 Franks ‐ Lafayette     Franks International       93574                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/P, 31/70460                                                           4           EA                                 1          42                     0
 Franks ‐ Lafayette     Franks International       93576                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/P, 2/70466                                                            4           EA                                 1          42                     0
 Franks ‐ Lafayette     Franks International       93578                         Rack No. BPL7L5        28 INCH 0.75 LB X5660 DLQ,B/P, 7/70466                                                            4           EA                                 1          42                     0
 Franks ‐ Lafayette     Franks International       95141                         Rack No. BPR8R2        22 INCH 1 LB X80 DLQ,B/P,                                                                                     EA                                 1         21.4                    0
Franks ‐ New Iberia     Franks International       87377                          Rack No. N49          22 INCH 1.25 LB X80 PLAIN,                                                                     ORLOV II       EA                                 1         40.11                   0
Franks ‐ New Iberia     Franks International       87378                          Rack No. N49          22 INCH 1.25 LB X80 PLAIN,                                                                     ORLOV II       EA                                 1         40.07                   0
                                                                                                                                                                                                   MC 948 GUNFLINT
Hornbeck ‐ Fourchon   Hornbeck Energy Services     70024.A                                              PLATFORM; PN:SW160121‐01,TYP AERIAL LIFT                                     140528          LONG LEAD        EA                                 1                        279145
                                                                              Yard Loc: H219, climate   SIEMEMS MOTOR: S/N: 0770680‐010‐1. 1250 HP 882 RPM, 4160 VT, WP11 Frame
 Linear ‐ Lafayette       Linear Controls          70131.A                       controlled facility    6811 Siemens                                                                                 Thunderhawk      EA                                 1                                 0
                                                                              Yard Loc: H222, climate   SIEMENS MOTOR: S/N: 1LE24214CC112AA3. 75 HP, 1200 RPM, 460 VT, TEFC,
 Linear ‐ Lafayette       Linear Controls          70146.A                       controlled facility    Frame 444T                                                                                   Thunderhawk      EA                                 1                                 0
                                                                              Yard Loc: H223, climate   MARATHON MOTOR: S/N: WAA037677. 125 HP, 1800 RPM, 460 VR, TEFC, Grame
 Linear ‐ Lafayette       Linear Controls          70147.A                       controlled facility    445T                                                                                         Thunderhawk      EA                                 1                                 0
                                                                              Yard Loc: H225, climate
 Linear ‐ Lafayette       Linear Controls         70149.A                        controlled facility    SIEMENS MOTOR: S/N: G12T1269NPI7. 250 HP, 1800 RPM, TEFC Frame B449T                         Thunderhawk      EA                                 1                                 0
   NOV ‐ Amelia                NOV               7805505‐01                       Rack No. AR30.        4 1/2" 15.50# HP1‐13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD                 FW192008        GC 200 TA‐2 S/T   EA    UNKNOWN                     15        593.35                   0
   NOV ‐ Amelia                NOV               7805505‐02                       Rack No. AR30.        5 1/2" 23.00# 13CR95 JFE SEAMLESS TUBING, BTS‐6 THREAD                      FW192008        GC 200 TA‐2 S/T   EA    UNKNOWN                     23        910.04                   0
   NOV ‐ Amelia                NOV               7800124‐01                     Rack No. MURPHY.        5 1/2" 29.70# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                       40        1709.4                   0
                                                                                                        5 1/2" 29.70# HP2‐13CR110 JFE STEEL SEAMLESS PUP JOINTS, DUTCHMAN
   NOV ‐ Amelia                NOV               7800124‐05                      Rack No. EQ22.         THREAD                                                                      FW202002           GC 40 #1       EA      USED                       1          27                     0
   NOV ‐ Amelia                NOV               7800124‐01                     Rack No. MURPHY.        5 1/2" 29.70# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        5        213.05                   0
   NOV ‐ Amelia                NOV               7800124‐06                      Rack No. 2‐336.        5 1/2" 29.70# HP2‐13CR110 JFE SEAMLESS PUP JOINTS, JFE LION CR THREAD       FW202002           GC 40 #1       EA      USED                       1         18.1                    0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        3         129.8                   0
   NOV ‐ Amelia                NOV               7800124‐01                     Rack No. MURPHY.        5 1/2" 29.70# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        3          126                    0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                       45        1926.05                  0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        1         42.75                   0
   NOV ‐ Amelia                NOV               7800124‐03                     Rack No. MURPHY.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        2         84.85                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        1         8.55                    0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        2         13.25                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        2          5.2                    0
   NOV ‐ Amelia                NOV               7800124‐08                    Rack No. N‐SPRAY‐1.      4 1/2" 15.10# HP2‐13CR110 JFE SEAMLESS PUP JOINTS, JFE LION CR THREAD       FW202002           GC 40 #1       EA      NEW                        1          4.3                    0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        2         85.15                   0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                       41        1724.85                  0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        2         84.7                    0
   NOV ‐ Amelia                NOV               7800124‐02                     Rack No. MURPHY.        4 1/2" 18.90# HP213CR110 JFE SEAMLESS TUBING, JFE LION THREAD               FW202002           GC 40 #1       EA      NEW                        3         128.6                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        1         15.55                   0
   NOV ‐ Amelia                NOV               7800124‐07                      Rack No. 2‐336.        5 1/2" 26.00# HP213CR110 JFE SEAMLESS PUP JOINTS, JFE LION THREAD           FW202002           GC 40 #1       EA      NEW                        1          4.5                    0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                      90        3836.7                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                      21        899.55                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                       1         42.4                    0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                      142       6052.6                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐02                       Rack No. K029.        5 1/2" 29.70# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                       2         84.6                    0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐01                       Rack No. K029.        5 1/2" 26.00# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                      27        1148.8                   0
                                                                                                                                                                                                    GC 40 #1 OCSG
   NOV ‐ Amelia                NOV               7800101‐02                       Rack No. K029.        5 1/2" 29.70# HP2‐13CR110 JFE SEAMLESS TUBING, JFE LION CR THREAD           FW202002            34536         EA      USED                       4        169.25                   0
                                                                                                        4 1/2" 17.00# VM‐110 13CRSS VALLOUREC SEAMLESS TUBING, VAM TOP HC
   NOV ‐ Amelia                NOV               7796246‐01                     Rack No. WKRK02.        THREAD                                                                      FW202002       GC 40 #1 KATMAI    EA      NEW                        4         171                     0
                                                                                                                                                                                                   MC 519 #3 OCSG
   NOV ‐ Amelia                NOV               7785930‐01                       Rack No. D001.        5 1/2" 23.00# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                FW202001             27278        EA    UNKNOWN                     40         1760                    0
                                                                                                                                                                                                   MISS CANYON 519
   NOV ‐ Amelia                NOV               7771779‐01                       Rack No. E033.        5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                FW202001        #3 OCSG 12209     EA      NEW                        1          44                     0
                                                                                                                                                                                                   GC 200 TA9‐ST01‐
   NOV ‐ Amelia                NOV               7767125‐02                     Rack No. WRAP1.         4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                FW192015             BP01         EA      NEW                       12         519.3                   0
                                                                                                                                                                                                   GC 200 TA9‐ST01‐
   NOV ‐ Amelia                NOV               7767125‐02                       Rack No. EL06.        4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                FW192015             BP01         EA      NEW                        1         38.3                    0




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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                              Project Number       Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                               GC 200 TA9‐ST01‐
NOV ‐ Amelia       NOV          7767125‐01                 Rack No. WRAP1.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192015               BP01         EA      NEW                       89         3858.85                   0
                                                                                                                                                                                 GC 200 / OCSG
NOV ‐ Amelia       NOV          7762379‐01                 Rack No. LONGTR.    4 1/2" 15.20# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192012         12209 TA‐2 ST02    EA    UNKNOWN                      1           44                      0
                                                                                                                                                                                 GC 200 / OCSG
NOV ‐ Amelia       NOV          7762379‐02                 Rack No. I3‐WK10.   5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192012         12209 TA‐2 ST02    EA      NEW                        9         387.15                    0
                                                                                                                                                                                 GC 200 / OCSG
NOV ‐ Amelia       NOV          7762379‐02                 Rack No. CUST1.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192012         12209 TA‐2 ST02    EA      NEW                        1          43.55                    0
                                                                                                                                                                              GC 200 TROIKA TA2
NOV ‐ Amelia       NOV          7759774‐01                 Rack No. I3‐WK10.   5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192012        ST02 OCSG 12209     EA      NEW                       44        1904.7982                  0
                                                                                                                                                                              GC 200 TROIKA TA2
NOV ‐ Amelia       NOV          7759774‐02                 Rack No. CUST1.     4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192012        ST02 OCSG 12209     EA      NEW                        1          41.65                    0
                                                                                                                                                                              GC 200 TROIKA TA2
NOV ‐ Amelia       NOV          7759774‐02                 Rack No. I3‐WK10.   4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192012        ST02 OCSG 12209     EA      NEW                       10          429.9                    0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐01                  Rack No. AR33.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      NEW                        1         43.1602                   0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐02                  Rack No. CP02.     4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      NEW                       11         472.75                    0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐01                  Rack No. AR33.     5 1/2" 23.00# 13CR95 JFE SEAMLESS CASING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      NEW                       22        949.5383                   0
                                                                                                                                                                              GC 200 TROIKA TA3
NOV ‐ Amelia       NOV          7759771‐03                 Rack No. CUST1.     4 1/2" 15.10# 13CR95 JFE SEAMLESS TUBING, JFE LION CR THREAD                    FW192013        ST01 OCSG 12209     EA      USED                       1          43.3                     0
                                                                                                                                                                                 G.C. 40 #21 S/T
                                                                               7 3/4" 46.10# TN‐125‐HCY TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 523                               OCSG 34536
NOV ‐ Amelia       NOV          7754749‐01                  Rack No. K057.     THREAD                                                                          FW191502             (KATMAI)       EA      NEW                       18         830.99                    0
                                                                               7 3/4" 46.10# TN‐125‐HCY TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 523                           GC 200 TA3 OCSG
NOV ‐ Amelia       NOV          7753002‐01                  Rack No. 2‐438.    THREAD                                                                          FW191027               12209        EA      NEW                       11          491.8                    0
                                                                               7 3/4" 46.10# Q‐125 TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 523                                GC 200 TA3 OCSG
NOV ‐ Amelia       NOV          7753002‐02                  Rack No. 2‐438.    THREAD                                                                          FW191027               12209        EA      NEW                        2          82.05                    0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC                               GC 40 #1 (KATMAI
NOV ‐ Amelia       NOV          7752420‐01                 Rack No. WKRK02.    THREAD                                                                          FW191515         #1) OCSG 34536     EA      NEW                        1           43                      0
                                                                                                                                                                                GC 200 #TA‐9ST
NOV ‐ Amelia       NOV          7749432‐01                  Rack No. C248.     11 7/8" 71.80# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD                FW191023            OCSG 12209      EA      NEW                       72         3160.9                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7749426‐01                  Rack No. EJ21.     11 7/8" 71.80# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD                FW191019               27278        EA      NEW                       68         2986.1                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐07                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC   SEAMLESS PUP JOINTS, SLIJII THREAD                    FW191023            OCSG 12209      EA      NEW                        1           5                       0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐07                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC   SEAMLESS PUP JOINTS, SLIJII THREAD                    FW191023            OCSG 12209      EA      NEW                        1          15.2                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐07                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC   SEAMLESS PUP JOINTS, SLIJII THREAD                    FW191023            OCSG 12209      EA      NEW                        2          19.55                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐12                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJII THREAD                  FW191023            OCSG 12209      EA      USED                       2          87.1                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐12                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJII THREAD                  FW191023            OCSG 12209      EA      USED                       1          44.95                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐06                  Rack No. C050.     10 3/4" 65.70# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJII THREAD                  FW191023            OCSG 12209      EA      NEW                       11         480.93                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐10                  Rack No. C050.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD            FW191023            OCSG 12209      EA      NEW                        4         155.62                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐11                  Rack No. C050.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD            FW191023            OCSG 12209      EA      USED                       2          81.81                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐09                  Rack No. C050.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD            FW191023            OCSG 12209      EA      NEW                       27         1063.34                   0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐02                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                       17         696.84                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐08                  Rack No. C050.                  OTHER,   THREAD                                                    FW191023            OCSG 12209      EA      USED                       1           4.2                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐03                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                        3         123.26                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐04                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                        1          43.29                    0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐05                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                        1          43.3                     0
                                                                                                                                                                                 GC 200 TA9 S/T
NOV ‐ Amelia       NOV          7745836‐01                  Rack No. C048.     7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD                FW191023            OCSG 12209      EA      NEW                       28         1269.16                   0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐02                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      NEW                        3          129.4                    0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐01                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      NEW                       10          441.3                    0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐03                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      NEW                        4          175.2                    0
                                                                                                                                                                               GC 200 TA9 ST01
NOV ‐ Amelia       NOV          7742256‐04                  Rack No. 2‐439.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191023           OCSG 12209       EA      USED                       2          88.05                    0
                                                                                                                                                                              G.C. 200 TA3 OCSG:
NOV ‐ Amelia       NOV          7741619‐01                 Rack No. CEFPUP.    7 3/4" 46.10# Q‐125 TENARIS SEAMLESS PUP JOINTS, TSH 523 THREAD                 FW191027               12209        EA      NEW                        1          10.12                    0
                                                                               6" X 4 1/2" 30.38# 15.50# (45.88#) HP113CR115(O) HP113CR115(I) JFE SEAMLESS                    GREEN CANYON 200
NOV ‐ Amelia       NOV          7738697‐01                  Rack No. AR34.     VIT, VAM DRS NA THREAD                                                          FW192008            TA‐2 / TA‐3     EA      USED                      58         2300.3                    0
                                                                                                                                                                              GC 200 #TA‐9 OCSG
NOV ‐ Amelia       NOV          7736792‐01                   Rack No. CCF.     9 7/8" 62.80# Q‐125 TENARIS SEAMLESS CASING, TSH W523 DPLS THREAD               FW191018               12209        EA      NEW                        1          37.45                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐02                   Rack No. CCF.     10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS PUP JOINTS, MAC II THREAD             FW191517               27278        EA      NEW                        2           30                      0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐01                  Rack No. 2‐438.    10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS CASING, MAC II THREAD                 FW191517               27278        EA      NEW                        9          383.2                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐05                   Rack No. CCF.     10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS PUP JOINTS, MAC II THREAD             FW191517               27278        EA      NEW                        1          10.2                     0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐03                  Rack No. 2‐439.                 OTHER,   THREAD                                                    FW191517               27278        EA      USED                       2          80.85                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐07                   Rack No. CCF.                  OTHER,   THREAD                                                    FW191517               27278        EA      USED                       1          5.15                     0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐01                  Rack No. 2‐438.    10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS CASING, MAC II THREAD                 FW191517               27278        EA      NEW                       13         510.05                    0
                                                                                                                                                                               MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐04                  Rack No. 2‐438.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD                    FW191517               27278        EA      NEW                       24         1051.5                    0




                                                                                                                                      88
                                         Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 445 of 995             Exhibit D-1 (continued)




  Facility     Facility Owner   Item Number   Serial No.        Location         Item Description                                                         Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                            MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐06                    Rack No. CCF.      10 3/4" 73.20# TN‐125‐HC TENARIS SEAMLESS PUP JOINTS, MAC II THREAD        FW191517             27278          EA      NEW                        2           9.8                     0
                                                                                                                                                                            MC 519 #3 OCSG
NOV ‐ Amelia       NOV          7734993‐09                   Rack No. 2‐313.     9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD               FW191517             27278          EA      USED                      15          659.7                    0

                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7734808‐01                   Rack No. C248.      9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, VAM SLIJ II THREAD          FW191023       TA9 S/T OCSG 12209   EA      NEW                        1          36.7                     0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐01                   Rack No. 2‐438.     13 5/8" 88.20# Q‐125 HC V&M SEAMLESS CASING, SLIJII THREAD                 FW191019              27278         EA      NEW                        4         162.95                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐03                   Rack No. R010.      13 5/8" 88.20# SM‐125TT SUMITOMO SEAMLESS CASING, SLIJII THREAD            FW191019              27278         EA      NEW                       10         399.25                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐02                   Rack No. 2‐330B.    13 5/8" 88.20# Q‐125 HC U S STEEL SEAMLESS CASING, SLIJII THREAD           FW191019              27278         EA      NEW                        3          128.4                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐06                   Rack No. 2‐313.     13 5/8" 88.20# Q‐125 HC U S STEEL SEAMLESS CASING, SLIJII THREAD           FW191019              27278         EA      USED                       1           44                      0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐05                   Rack No. R010.      13 5/8" 88.20# SM‐125S NSSMC SEAMLESS CASING, SLIJII THREAD                FW191019              27278         EA      NEW                        9         361.35                    0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐04                   Rack No. 2‐340.     13 5/8" 88.20# Q‐125 HC VMG SEAMLESS CASING, SLIJII THREAD                 FW191019              27278         EA      NEW                        1          44.5                     0
                                                                                                                                                                            M.C 519 #3 OCSG:
NOV ‐ Amelia       NOV          7732821‐08                   Rack No. 2‐330B.    13 5/8" 88.20# SM‐125S NSSMC SEAMLESS CASING, SLIJII THREAD                FW191019              27278         EA      USED                       2           88                      0
                                                                                                                                                                            M.C 519 ROWAN
NOV ‐ Amelia       NOV          7731874‐01                   Rack No. I3‐302.    18" 117.00# Q‐125‐HP USS SEAMLESS CASING, HDL THREAD                       FW191019            RESOLUTE        EA      NEW                       10         406.55                    0
                                                                                                                                                                            M.C 519 ROWAN
NOV ‐ Amelia       NOV          7731874‐02                   Rack No. I3‐302.    18" 117.00# Q‐125‐HP USS SEAMLESS CASING, HDL THREAD                       FW191019            RESOLUTE        EA      NEW                        4          170.2                    0
NOV ‐ Amelia       NOV          7729854‐01                   Rack No. C218.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      NEW                       54         1701.8                    0
NOV ‐ Amelia       NOV          7729854‐01                   Rack No. C218.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      NEW                        1          31.75                    0
NOV ‐ Amelia       NOV          7729854‐01                   Rack No. C152.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      NEW                        1          31.8                     0
NOV ‐ Amelia       NOV          7729854‐02                   Rack No. C152.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW194024          EW 826 A‐18       EA      USED                       4         125.95                    0

NOV ‐ Amelia       NOV          7727342‐03                    Rack No. CCF.      10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS PUP JOINTS, MAC II THREAD         FW191515       GC 40 / OCSG 34536   EA      NEW                        2          10.7                     0

NOV ‐ Amelia       NOV          7727342‐03                    Rack No. CCF.      10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS PUP JOINTS, MAC II THREAD         FW191515       GC 40 / OCSG 34536   EA      NEW                        1          10.4                     0

NOV ‐ Amelia       NOV          7727342‐04                    Rack No. CCF.                   OTHER,   THREAD                                               FW191515       GC 40 / OCSG 34536   EA      USED                       1          5.15                     0

NOV ‐ Amelia       NOV          7727342‐01                   Rack No. 2‐110.     10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS CASING, MAC II THREAD             FW191515       GC 40 / OCSG 34536   EA      NEW                        8        352.8444                   0

NOV ‐ Amelia       NOV          7727342‐01                   Rack No. 2‐213.     10 3/4" 85.30# Q125 ICY TENARIS SEAMLESS CASING, MAC II THREAD             FW191515       GC 40 / OCSG 34536   EA      NEW                       10         441.06                    0

NOV ‐ Amelia       NOV          7727342‐02                   Rack No. 2‐110.     10 1/8" 79.29# Q125 ICY TENARIS SEAMLESS CASING, TSH WEDGE 523 THREAD      FW191515       GC 40 / OCSG 34536   EA      NEW                       16          712                      0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7725195‐01                   Rack No. C081.                   OTHER, THREAD                                                 FW191018               TA9          EA      USED                       2            0                      0
NOV ‐ Amelia       NOV          7722897‐02                   Rack No. H002.      7 3/4" 46.10# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD             FW191021           GC 200 TA‐2      EA      NEW                        5          224.5                    0
NOV ‐ Amelia       NOV          7717849‐01                   Rack No. E010.      9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD       FW191018        GC 200 TA‐9 BP01    EA      NEW                       40        1598.6445                  0
NOV ‐ Amelia       NOV          7717849‐01                   Rack No. E010.      9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD       FW191018        GC 200 TA‐9 BP01    EA      NEW                        1          39.8                     0
NOV ‐ Amelia       NOV          7717849‐06                   Rack No. EG23.      9 7/8" 62.80# Q‐125 HC TENARIS SEAMLESS CASING, SLIJII THREAD              FW191018        GC 200 TA‐9 BP01    EA      NEW                        3         135.45                    0

NOV ‐ Amelia       NOV          7717849‐02                    Rack No. E010.     9 7/8" 62.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH WEDGE 523 THREAD      FW191018       GC 200 TA‐9 BP01     EA      NEW                       13         587.95                    0
NOV ‐ Amelia       NOV          7717849‐07                    Rack No. EG23.                   OTHER, THREAD                                                FW191018       GC 200 TA‐9 BP01     EA      USED                       2          87.6                     0
NOV ‐ Amelia       NOV          7715996‐01                 Rack No. SITEGUARD.   2 7/8" 6.50# 13CR85 SEAMLESS PUP JOINTS, BTS‐8 THREAD                      FW185098          EB 159 A‐17       EA      USED                       1           10                      0
NOV ‐ Amelia       NOV          7715996‐01                 Rack No. SITEGUARD.   2 7/8" 6.50# 13CR85 SEAMLESS PUP JOINTS, BTS‐8 THREAD                      FW185098          EB 159 A‐17       EA      USED                       1            6                      0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                   Rack No. 2‐104.     18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       28         1092.6                    0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                    Rack No. AR1.      18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                        1          39.15                    0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                   Rack No. I3‐302.    18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       62         2419.22                   0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                  Rack No. I3SPUR5.    18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       56         2185.05                   0
                                                                                                                                                                           ORLOV LONG LEAD
NOV ‐ Amelia       NOV          7714562‐01                   Rack No. I3‐301.    18" 116.09# Q125 HP U S STEEL SEAMLESS CASING, HDL THREAD                  FW181011         OCSG 12209         EA      NEW                       84         3277.65                   0
NOV ‐ Amelia       NOV          7713962‐01                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184070         EB‐158 A‐12        EA      NEW                       68         2158.45                   0
                                                                                                                                                                           GC 200 TA‐9 OCSG
NOV ‐ Amelia       NOV          7713824‐01                   Rack No. C245.      13 5/8" 88.20# Q‐125 VMG SEAMLESS CASING, SLIJII THREAD                    FW191018             12209          EA      NEW                       42         1789.7                    0

                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7710150‐01                   Rack No. K057.      9 7/8" 64.10# Q‐125 VALLOUREC STAR SEAMLESS CASING, SLIJII THREAD          FW181011        TA‐9 OCSG 12209     EA      NEW                       61         2391.5                    0
NOV ‐ Amelia       NOV          7708123‐03                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184022            GI 47 E‐17      EA      NEW                        2          62.8                     0
NOV ‐ Amelia       NOV          7708123‐01                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184022            GI 47 E‐17      EA      NEW                        1          31.7                     0
NOV ‐ Amelia       NOV          7708123‐02                   Rack No. A004.                    OTHER, THREAD                                                FW184022            GI 47 E‐17      EA      USED                       1           30                      0
NOV ‐ Amelia       NOV          7708123‐04                   Rack No. A037.      2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184022            GI 47 E‐17      EA      USED                       1          31.7                     0
                                                                                                                                                                           ENTERPRISE 264 SS
NOV ‐ Amelia       NOV          7707781‐02                   Rack No. A037.      2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184061        169 OCSG: 00820     EA      USED                       5         157.25                    0
                                                                                                                                                                           GREEN CANYON 40
NOV ‐ Amelia       NOV          7707229‐01                   Rack No. K051.      14" 112.89# Q125‐IC TENARIS‐TAMSA SEAMLESS CASING, TSH 523 THREAD          FW191001       #2 S/T OCSG 34536    EA      NEW                       29         1218.4                    0
                                                                                                                                                                           GREEN CANYON 40
NOV ‐ Amelia       NOV          7707228‐01                   Rack No. K053.      14" 115.53# Q125 ICY TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW191001        #2 ST OCSG 34536    EA      NEW                       35         1395.2                    0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B048.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                        2          83.16                    0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B048.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                        3          125.2                    0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B035.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                       12        498.9857                   0
                                                                                                                                                                           GREEN CANYON 200
NOV ‐ Amelia       NOV          7705545‐01                   Rack No. B035.      7 3/4" 46.10# Q‐125 TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD           FW181011         TA‐09 (ORLOV)      EA      NEW                        6          250.4                    0
NOV ‐ Amelia       NOV          7704862‐02                   Rack No. C152.      2 3/8" 4.70# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184036           EB 160 A16       EA      USED                       6         190.95                    0
NOV ‐ Amelia       NOV          7704862‐01                   Rack No. C152.      2 3/8" 4.70# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                      FW184036           EB 160 A16       EA      NEW                        5          158.5                    0
                                                                                                                                                                            SMI 105 A21 ST#1
NOV ‐ Amelia       NOV          7703746‐03                   Rack No. EM05.      9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD     FW191500           OCSG 17938       EA      NEW                        1          22.98                    0
                                                                                                                                                                            SMI 105 A21 ST#1
NOV ‐ Amelia       NOV          7703746‐03                   Rack No. EM05.      9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD     FW191500           OCSG 17938       EA      NEW                        1          22.97                    0
                                                                                                                                                                            SMI 105 A21 ST#1
NOV ‐ Amelia       NOV          7703746‐02                   Rack No. EM05.      9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD       FW191500           OCSG 17938       EA      NEW                       21         975.55                    0




                                                                                                                                         89
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  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                       Project Number     Project Name        UOM   Condition   Wt. (lbs)   On Hand Qty     Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                      SMI 105 #A‐21 ST#1
NOV ‐ Amelia       NOV          7703736‐01                  Rack No. E060.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD           FW191500          OCSG 17938         EA      NEW                       16          738.65                    0
                                                                                                                                                                      SMI 105 #A‐21 ST#1
NOV ‐ Amelia       NOV          7703736‐02                  Rack No. E060.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD              FW191500          OCSG 17938         EA      NEW                       22          990.6                     0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H062.    7 5/8" 29.70# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       46        2114.1007                   0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.70# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       11         506.77                     0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.70# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                        5          230.7                     0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       47         2165.43                    0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       88         4051.36                    0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H002.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       29        1337.9979                   0
NOV ‐ Amelia       NOV          7703511‐01                  Rack No. H062.    7 5/8" 29.06# P‐110 EC VSTAR SEAMLESS CASING, SLIJII THREAD              FW181013           SS 169 G‐3        EA      NEW                       47        2179.1498                   0

NOV ‐ Amelia       NOV          7699979‐01                 Rack No. 2‐323.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, BUTTRESS THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        5          217.15                    0

NOV ‐ Amelia       NOV          7699979‐02                 Rack No. 2‐203.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, BUTTRESS THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      USED                       1           44                       0

NOV ‐ Amelia       NOV          7699979‐01                 Rack No. 2‐323.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, BUTTRESS THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1           43.7                     0

NOV ‐ Amelia       NOV          7699979‐03                 Rack No. 2‐203.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, DUTCHMAN THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      USED                       1           44                       0

NOV ‐ Amelia       NOV          7699979‐04                 Rack No. 2‐213.    10 3/4" 45.50# L‐80 TAMSA SEAMLESS CASING, DUTCHMAN THREAD               FW181013       SHIP SHOAL 169 G‐3    EA      USED                       2           88                       0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699448‐01                  Rack No. H021.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       70         2918.65                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699448‐01                 Rack No. 2‐067.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       190         7924.9                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699445‐01                 Rack No. 2‐201.    10 3/4" 59.45# HCQ‐125 VSTAR SEAMLESS CASING, SLIJII THREAD              FW181011             (ORLOV)         EA      NEW                       180         8283.6                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699445‐01                 Rack No. 2‐312.    10 3/4" 59.45# HCQ‐125 VSTAR SEAMLESS CASING, SLIJII THREAD              FW181011             (ORLOV)         EA      NEW                       250       11505.0092                  0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699445‐01                  Rack No. K016.    10 3/4" 59.45# HCQ‐125 VSTAR SEAMLESS CASING, SLIJII THREAD              FW181011             (ORLOV)         EA      NEW                       62         2855.29                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699439‐01                  Rack No. E006.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD             FW181011             (ORLOV)         EA      NEW                       258         11223                     0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699439‐01                  Rack No. EO27.    9 7/8" 64.10# Q‐125 VALLOUREC SEAMLESS CASING, SLIJII THREAD             FW181011             (ORLOV)         EA      NEW                       225         9787.5                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699431‐01                  Rack No. I004.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       26          1085.5                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699431‐01                  Rack No. E086.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                        9          371.15                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699431‐01                  Rack No. E086.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       115        4801.25                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699424‐01                 Rack No. 2‐310.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       170         7083.9                    0
                                                                                                                                                                         G.C. 200 TA‐9
NOV ‐ Amelia       NOV          7699424‐01                  Rack No. K050.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, SLSF THREAD                FW181011             (ORLOV)         EA      NEW                       25          1042.2                    0

NOV ‐ Amelia       NOV          7698957‐01                 Rack No. 2‐323.    16" 65.00# H‐40 TMK ERW CASING, BUTTRESS THREAD                          FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1           34.4                     0

NOV ‐ Amelia       NOV          7698957‐01                 Rack No. 2‐323.    16" 65.00# H‐40 TMK ERW CASING, BUTTRESS THREAD                          FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1           35.8                     0

NOV ‐ Amelia       NOV          7698957‐02                 Rack No. 2‐323.    16" 65.00# H‐40 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        9          383.85                    0

NOV ‐ Amelia       NOV          7698957‐03                 Rack No. 2‐208.    16" 65.00# H‐40 USS SEAMLESS PUP JOINTS, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA      USED                       1           22.2                     0

NOV ‐ Amelia       NOV          7698957‐02                 Rack No. 2‐323.    16" 65.00# H‐40 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1          42.25                     0

NOV ‐ Amelia       NOV          7698957‐04                 Rack No. 2‐203.    16" 65.00# H‐40 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW181013       SHIP SHOAL 169 G‐3    EA      USED                       1           44                       0

NOV ‐ Amelia       NOV          7698957‐01                 Rack No. 2‐323.    16" 65.00# H‐40 TMK ERW CASING, BUTTRESS THREAD                          FW181013       SHIP SHOAL 169 G‐3    EA      NEW                        1            35                      0
NOV ‐ Amelia       NOV          7695156‐04                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD          FW191000        SM 105 A21 ST#1      EA      NEW                        1           40.8                     0

NOV ‐ Amelia       NOV          7695156‐06                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS PUP JOINTS, BUTTRESS THREAD      FW191000        SM 105 A21 ST#1      EA      NEW                        1          23.5                      0
NOV ‐ Amelia       NOV          7695156‐02                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 NSSMC SEAMLESS CASING, BUTTRESS THREAD               FW191000        SM 105 A21 ST#1      EA      NEW                        1          43.6                      0
NOV ‐ Amelia       NOV          7695156‐03                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD          FW191000        SM 105 A21 ST#1      EA      NEW                        1          45.8                      0
NOV ‐ Amelia       NOV          7695156‐05                 Rack No. 2‐323.    18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD          FW191000        SM 105 A21 ST#1      EA      NEW                        1          44.35                     0

NOV ‐ Amelia       NOV          7694544‐01                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        3          122.55                    0

NOV ‐ Amelia       NOV          7694544‐01                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        3          120.65                    0

NOV ‐ Amelia       NOV          7694544‐03                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        1          42.65                     0

NOV ‐ Amelia       NOV          7694544‐02                  Rack No. EO07.    13 3/8" 68.00# HCL80 ARCELOR MITTAL SEAMLESS CASING, BUTTRESS THREAD     FW191000          SM 105 A S1        EA      NEW                        1          42.75                     0
NOV ‐ Amelia       NOV          7694041‐02                 Rack No. HUBCIT.                OTHER, THREAD                                               FW185004          MP 296 B15         EA      USED                       1          18.05                     0
NOV ‐ Amelia       NOV          7694041‐02                 Rack No. HUBCIT.                OTHER, THREAD                                               FW185004          MP 296 B15         EA      USED                       1          22.25                     0
                                                                                                                                                                      ENTERPRISE 264 SM
NOV ‐ Amelia       NOV          7690497‐02                  Rack No. E069.    2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                    FW184054             280 H           EA      USED                       5          157.5                     0

                                                                                                                                                                      GREEN CANYON 200
NOV ‐ Amelia       NOV          7677657‐01                  Rack No. H052.    11 7/8" 71.80# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD         FW181011        TA‐9 OCSG 12209      EA      NEW                       26         1124.573                   0

                                                                                                                                                                      GREEN CANYON 200
NOV ‐ Amelia       NOV          7677657‐03                 Rack No. I3‐140.   11 7/8" 70.26# Q125 XHP U S STEEL SEAMLESS CASING, TSH 513 THREAD        FW181011        TA‐9 OCSG 12209      EA      NEW                       85        3633.5029                   0

                                                                                                                                                                      GREEN CANYON 200
NOV ‐ Amelia       NOV          7677657‐02                  Rack No. B057.    11 7/8" 71.80# HCQ‐125 V&M SEAMLESS CASING, TSH 513 THREAD               FW181011         TA‐9 OCSG 12209     EA      NEW                        2          91.45                     0
                                                                                                                                                                         SOUTH MARSH
                                                                                                                                                                      ISLAND 105 #A‐21 ST
NOV ‐ Amelia       NOV          7669939‐03                 Rack No. I2‐ACC.   18 5/8" 87.50# J‐55 MANNESMANN SEAMLESS PUP JOINTS, BUTTRESS THREAD      FW191000           OCSG 17938        EA      NEW                        1           23.6                     0
                                                                                                                                                                         SOUTH MARSH
                                                                                                                                                                      ISLAND 105 #A‐21 ST
NOV ‐ Amelia       NOV          7669904‐02                  Rack No. E060.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD           FW191500           OCSG 17938        EA      NEW                        1           47.4                     0




                                                                                                                                      90
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  Facility     Facility Owner   Item Number   Serial No.      Location       Item Description                                                           Project Number       Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                         ISLAND 105 #A‐21 ST
NOV ‐ Amelia       NOV          7669904‐01                 Rack No. E060.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                  FW191500           OCSG 17938        EA      NEW                        2          89.7                    0
NOV ‐ Amelia       NOV          7665514‐02                 Rack No. E069.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW182003           SMI‐127 B‐17      EA      USED                       4          125.4                   0
NOV ‐ Amelia       NOV          7664873‐02                 Rack No. E069.    2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW181009             ST 67 #6        EA      USED                       3          95.5                    0
NOV ‐ Amelia       NOV          7659991‐01                 Rack No. C247.    5 1/2" 20.00# P‐110 IC SEAMLESS CASING, TSH 625 THREAD                       FW181008            SM 127 B17       EA      USED                      11         511.35                   0

NOV ‐ Amelia       NOV          7659986‐01                 Rack No. B020.    5" 18.00# P‐110‐ICY TENARIS‐TAMSA SEAMLESS CASING, TSH WEDGE 625 THREAD      FW181009            ST 67 #6         EA      USED                      20         918.55                   0
NOV ‐ Amelia       NOV          7658785‐01                 Rack No. BS01.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      NEW                        1          43.45                   0
NOV ‐ Amelia       NOV          7658785‐05                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      USED                       2           88                     0
NOV ‐ Amelia       NOV          7658785‐03                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      USED                       1          26.2                    0
NOV ‐ Amelia       NOV          7658785‐02                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502           SM 127 B17        EA      USED                       1          39.8                    0

NOV ‐ Amelia       NOV          7658785‐04                 Rack No. 2‐336.   7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS PUP JOINTS, TSH 513 THREAD     FW181502            SM 127 B17       EA      NEW                        1         10.3                     0
NOV ‐ Amelia       NOV          7658785‐01                 Rack No. C247.    7 5/8" 29.70# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, TSH 513 THREAD         FW181502            SM 127 B17       EA      NEW                       48        2089.05                   0
NOV ‐ Amelia       NOV          7653460‐03                 Rack No. H021.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181009              ST 67 #6       EA      USED                       1          44                      0
NOV ‐ Amelia       NOV          7653460‐01                 Rack No. H021.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181009              ST 67 #6       EA      NEW                        3        128.75                    0
NOV ‐ Amelia       NOV          7653460‐02                 Rack No. H021.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, TSH 513 THREAD                    FW181009              ST 67 #6       EA    UNKNOWN                      2          88                      0
NOV ‐ Amelia       NOV          7653460‐01                 Rack No. BS01.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181009              ST 67 #6       EA      NEW                        1         42.45                    0
                                                                                                                                                                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐01                 Rack No. BS01.    10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, BUTTRESS THREAD       FW181002                 87          EA      NEW                        3         118.2                    0
                                                                                                                                                                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐03                 Rack No. EQ19.    10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, BUTTRESS THREAD       FW181002                 87          EA      USED                       1          44                      0
                                                                                                                                                                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐01                 Rack No. EO‐07.   10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS CASING, BUTTRESS THREAD       FW181002                 87          EA      NEW                       11         441.05                   0
                                                                             10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS PUP JOINTS, BUTTRESS                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐04                 Rack No. 2‐336.   THREAD                                                                       FW181002                 87          EA      USED                       1          20                      0
                                                                             10 3/4" 45.50# P‐110 IC TENARIS‐TAMSA SEAMLESS PUP JOINTS, BUTTRESS                         SM 127 B17 ENSCO
NOV ‐ Amelia       NOV          7652285‐02                 Rack No. 2‐336.   THREAD                                                                       FW181002                 87          EA      NEW                        1         19.6                     0
NOV ‐ Amelia       NOV          7650597‐02                 Rack No. 2‐336.   16" 65.00# H‐40 TMK IPSCO ERW PUP JOINTS, BUTTRESS THREAD                    FW181002            SM 127 B17       EA      USED                       1         22.3                     0
NOV ‐ Amelia       NOV          7650597‐03                 Rack No. BS01.    16" 65.00# H‐40 TMK IPSCO ERW CASING, BUTTRESS THREAD                        FW181002            SM 127 B17       EA      USED                       1         33.2                     0
NOV ‐ Amelia       NOV          7650597‐01                 Rack No. BS01.    16" 65.00# H‐40 TMK IPSCO ERW CASING, BUTTRESS THREAD                        FW181002            SM 127 B17       EA      NEW                        1         34.75                    0
                                                                                                                                                                            SOUTH MARSH
NOV ‐ Amelia       NOV          7644614‐02                 Rack No. C152.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW184011          ISLAND 149 C4      EA      USED                       6         190.65                   0
NOV ‐ Amelia       NOV          7639389‐03                 Rack No. C218.    2 7/8" 6.50# 13CR95 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW184021             WD 70 FF        EA      USED                       5          158.6                   0
                                                                                                                                                                         SOUTH TIMBALIER
NOV ‐ Amelia       NOV          7634429‐02                 Rack No. B020.    7" 32.00# P‐110 HC TAMSA SEAMLESS CASING, TSH 523 THREAD                     FW 181503            67 #6 ST3       EA      NEW                       13         604.9                    0
                                                                                                                                                                         SOUTH TIMBALIER
NOV ‐ Amelia       NOV          7634429‐01                 Rack No. B020.    7" 32.00# P‐110 HC SIDERCA SEAMLESS CASING, TSH 523 THREAD                   FW 181503            67 #6 ST3       EA      NEW                       11         501.3                    0
NOV ‐ Amelia       NOV          7633847‐02                 Rack No. E069.    2 7/8" 6.50# JFE‐13CR‐95 JFE SEAMLESS TUBING, BTS‐8 THREAD                   FW184024         MAIN PASS 153B      EA      USED                       3         95.05                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐01                 Rack No. C233.    7 5/8" 29.70# HCP‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD             FW181502                ST1          EA      NEW                        2         87.85                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐02                 Rack No. C233.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD               FW181502                ST1          EA      NEW                        4         186.4                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐01                 Rack No. C233.    7 5/8" 29.70# HCP‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD             FW181502                ST1          EA      NEW                        1         47.75                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐01                 Rack No. C233.    7 5/8" 29.70# HCP‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD             FW181502                ST1          EA      NEW                        2         95.05                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7629202‐02                 Rack No. C233.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD               FW181502                ST1          EA      NEW                        1          46.2                    0
NOV ‐ Amelia       NOV          7625047‐11                 Rack No. H020.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                    FW181503           ST 67 #6 ST3      EA      NEW                        6          277.5                   0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. H052.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                       10        429.5476                  0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. H052.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                        1           43                     0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. H052.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                       19          811.2                   0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. BN01.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                        2          85.4                    0
NOV ‐ Amelia       NOV          7625047‐09                 Rack No. B021.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                   FW181503           ST 67 #6 ST3      EA      NEW                        1          42.8                    0
NOV ‐ Amelia       NOV          7625047‐11                 Rack No. H020.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                    FW181503           ST 67 #6 ST3      EA      NEW                        2          93.5                    0
                                                                                                                                                                            SOUTH MARSH
                                                                                                                                                                          ISLAND 127 #B‐17
NOV ‐ Amelia       NOV          7625043‐05                 Rack No. EQ09.    16" 65.00# H‐40 TENARIS ERW CASING, BUTTRESS THREAD                          FW 181002               ST1          EA      NEW                        5         212.9                    0
NOV ‐ Amelia       NOV          7589458‐01                 Rack No. MIT06.   10 1/8" 79.22# JFE‐125T JFE SEAMLESS CASING, SLIJII THREAD                    201560              KATMAI 2        EA      NEW                       84        3799.25                   0
NOV ‐ Amelia       NOV          7589458‐02                 Rack No. MIT06.   10 1/8" 79.22# JFE‐125T JFE SEAMLESS CASING, SLIJII THREAD                    201560              KATMAI 2        EA      NEW                        2         91.2                     0

NOV ‐ Amelia       NOV          7589458‐03                 Rack No. SH04.    11 7/8" 71.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD         201560             KATMAI 2         EA      NEW                        5         223.75                   0

NOV ‐ Amelia       NOV          7589458‐03                 Rack No. SH04.    11 7/8" 71.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD         201560             KATMAI 2         EA      NEW                       42        1918.95                   0

NOV ‐ Amelia       NOV          7589458‐03                 Rack No. SH04.    11 7/8" 71.80# TN‐125‐HC TENARIS SEAMLESS CASING, TSH 523 DPLS THREAD         201560             KATMAI 2         EA      NEW                        1         48.8                     0
NOV ‐ Amelia       NOV          7576903‐01                 Rack No. C152.    2 7/8" 6.50# L‐80 TSC SEAMLESS TUBING, BTS‐8PR THREAD                        FW177024           EB 160 A‐23       EA      NEW                        1         31.25                    0
                                                                                                                                                                           EW 873 A‐20 ST
NOV ‐ Amelia       NOV          7555431‐01                 Rack No. H005.    7 5/8" 29.70# P‐110 IC TAMSA SEAMLESS CASING, API 8RD LONG THREAD                              LOBSTER RIG        EA      NEW                        5         230.7                    0
NOV ‐ Amelia       NOV          7526643‐01                 Rack No. A037.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW162000            VR 78 A2         EA      NEW                       26         824.8                    0
NOV ‐ Amelia       NOV          7526643‐02                 Rack No. C062.    2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                        FW162000            VR 78 A2         EA      USED                       5         158.6                    0
NOV ‐ Amelia       NOV          7520329‐01                 Rack No. E033.    5 1/2" 20.00# P‐110 EC V&M STAR SEAMLESS CASING, VAM TOP HT THREAD           FW161500            VR 78 A2         EA      NEW                        6         276.1                    0
NOV ‐ Amelia       NOV          7520329‐01                 Rack No. E033.    5 1/2" 20.00# P‐110 EC V&M STAR SEAMLESS CASING, VAM TOP HT THREAD           FW161500            VR 78 A2         EA      NEW                        1         46.1                     0
                                                                                                                                                                              GUNFLINT
                                                                                                                                                                            COMPLETION
NOV ‐ Amelia       NOV          7506413‐03                 Rack No. MIT06.   7 1/16" 40.40# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END THREAD                                  143751          EA      NEW                       12          528                     0
                                                                                                                                                                              GUNFLINT
                                                                                                                                                                            COMPLETION
NOV ‐ Amelia       NOV          7506413‐04                 Rack No. SH04.    5 1/2" 29.70# HP213CR115 JFE SEAMLESS CASING, PLAIN END UPSET THREAD                              143751          EA      NEW                        6          264                     0
                                                                                                                                                                              GUNFLINT
                                                                                                                                                                            COMPLETION
NOV ‐ Amelia       NOV          7506413‐02                 Rack No. SH04.    6.626" 57.39# HP2‐13CR115 JFE SEAMLESS CPLG STOCK, PLAIN END THREAD                               143751          EA      NEW                        1           5                      0
                                                                                                                                                                              GUNFLINT
                                                                             6.504" 1.0" VM‐110 13CRSS GERMANY SEAMLESS CPLG STOCK, PLAIN END                               COMPLETION
NOV ‐ Amelia       NOV          7506413‐01                 Rack No. SH04.    THREAD                                                                                            143751          EA      NEW                        8          144                     0




                                                                                                                                      91
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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                       Project Number       Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length    Average Cost       Total Value   WI% Net Value
                                                                                                                                                                          MP 140 A SWD
                                                                                                                                                                          #1/WORKOVER
NOV ‐ Amelia       NOV          7487102‐01                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW155042          BAYOU TECHE        EA      NEW                        3         120.5                   0
                                                                                                                                                                          MP 140 A SWD
                                                                                                                                                                          #1/WORKOVER
NOV ‐ Amelia       NOV          7487102‐02                  Rack No. C111.     3 1/2" 9.30# L‐80 1% CR TMK SEAMLESS TUBING, API 8RD EUE THREAD          FW155042          BAYOU TECHE        EA      NEW                        6        192.05                   0
                                                                                                                                                                          MP 140 A SWD
                                                                                                                                                                          #1/WORKOVER
NOV ‐ Amelia       NOV          7487102‐01                  Rack No. C255.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW155042          BAYOU TECHE        EA      NEW                        4        163.45                   0
                                                                                                                                                                        MP 140 A SWD #2
NOV ‐ Amelia       NOV          7487099‐01                  Rack No. C111.     3 1/2" 9.30# L‐80 1% CR TMK SEAMLESS TUBING, API 8RD EUE THREAD          FW155043            OCSG GPLD        EA      NEW                        5         160.2                   0
NOV ‐ Amelia       NOV          7484107‐01                 Rack No. CEFPUP.                  OTHER, THREAD                                              FW155042         MP 140 #1 GBRS      EA      USED                       1           0                     0
NOV ‐ Amelia       NOV          7469717‐01                  Rack No. C152.     2 7/8" 6.50# 13CR85 JFE SEAMLESS TUBING, BTS‐8 THREAD                    GO164000         W.D. 70 E #1 ST     EA      NEW                       28        889.35                   0
NOV ‐ Amelia       NOV          7464248‐04                  Rack No. C255.     5 1/2" 23.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003       EI 354 A #6 ST1 BP1   EA      NEW                        1         47.3                    0
NOV ‐ Amelia       NOV          7464248‐03                  Rack No. C255.     5 1/2" 20.00# HCP‐110 V&M SEAMLESS PUP JOINTS, STL THREAD                FW164003       EI 354 A #6 ST1 BP1   EA      NEW                        1         19.65                   0

NOV ‐ Amelia       NOV          7460139‐01                  Rack No. 2‐109.    11 7/8" 70.26# VM‐125‐HC VALLOUREC SEAMLESS CASING, PLAIN END THREAD                        INVENTORY         EA      NEW                       121       5396.2                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐02                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        1         35.65                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐01                  Rack No. E033.     5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD              FW164003          OCSG 10752         EA      NEW                        3        134.25                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐02                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        2         76.4                    0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐03                  Rack No. E033.     5 1/2" 20.00# P‐110 V&M STAR SEAMLESS CASING, STL THREAD                 FW164003          OCSG 10752         EA      NEW                        1         46.1                    0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐01                  Rack No. E033.     5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD              FW164003          OCSG 10752         EA      NEW                        8         361.8                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐05                  Rack No. E033.     5 1/2" 23.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        4        171.85                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐05                  Rack No. E033.     5 1/2" 23.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                        9         408.8                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐02                  Rack No. E033.     5 1/2" 20.00# P‐110 EC V&M SEAMLESS CASING, STL THREAD                   FW164003          OCSG 10752         EA      NEW                       11        429.55                   0
                                                                                                                                                                        E.I. 354 A6 ST#1
NOV ‐ Amelia       NOV          7458724‐01                  Rack No. E033.     5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD              FW164003          OCSG 10752         EA      NEW                        1         45.6                    0
NOV ‐ Amelia       NOV          7458405‐01                  Rack No. I3‐166.   10 3/4" 72.40# Q‐125 U S STEEL SEAMLESS CASING, PLAIN END THREAD                                              EA      NEW                       153       6048.1                   0
                                                                               7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, DUTCHMAN/CUT‐OFF PIN
NOV ‐ Amelia       NOV          7444262‐03                  Rack No. C023.     THREAD                                                                   FW154025         E.I. 316 A #11      EA      USED                       1         27.4                    0
NOV ‐ Amelia       NOV          7444262‐01                  Rack No. E079.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025         E.I. 316 A #11      EA      NEW                        1         46.95                   0
NOV ‐ Amelia       NOV          7444262‐04                  Rack No. C024.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, THREAD                   FW154025         E.I. 316 A #11      EA      USED                       1         19.1                    0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7439076‐01                  Rack No. H005.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025        A11 OCSG 5040        EA      NEW                        2         92.3                    0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7439076‐01                  Rack No. H005.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025        A11 OCSG 5040        EA      NEW                       24        1121.1                   0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7439076‐01                  Rack No. H005.     7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD           FW154025        A11 OCSG 5040        EA      NEW                       22        1020.65                  0
                                                                                                                                                                         E.I. 316 #A‐11
NOV ‐ Amelia       NOV          7437245‐01                  Rack No. D006.     7 5/8" 33.70# P‐110 RY VALLOUREC SEAMLESS CASING, TSH 523 THREAD         FW154025          OCSG:5040          EA    UNKNOWN                      1         34.1                    0
                                                                                                                                                                         E.I. 316 #A‐11
NOV ‐ Amelia       NOV          7437245‐02                  Rack No. C051.                  OTHER,   THREAD                                             FW154025          OCSG:5040          EA      USED                       1          0                      0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7434675‐01                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025        A11 OCSG 5040        EA      NEW                        1         45.25                   0
                                                                                                                                                                        EUGENE ISL. 316
NOV ‐ Amelia       NOV          7434675‐01                  Rack No. E028.     7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025        A11 OCSG 5040        EA      NEW                       79        3639.75                  0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐03                  Rack No. E060.     7 5/8" 33.70# HCP‐110 SEAMLESS CASING, API 8RD LONG THREAD               FW154025         A‐11 OCSG 5040      EA      NEW                        9        417.05                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐03                  Rack No. E060.     7 5/8" 33.70# HCP‐110 SEAMLESS CASING, API 8RD LONG THREAD               FW154025         A‐11 OCSG 5040      EA      NEW                        9         416.3                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐01                  Rack No. E060.     7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025         A‐11 OCSG 5040      EA      NEW                       16        657.25                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐01                  Rack No. E060.     7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW154025         A‐11 OCSG 5040      EA      NEW                       25        1104.95                  0

                                                                               7 5/8" 33.70# HCP‐110 TENARIS‐TAMSA SEAMLESS CASING, API 8RD LONG                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐02                  Rack No. E060.     THREAD                                                                   FW154025         A‐11 OCSG 5040      EA      NEW                       12         552.5                   0

                                                                                                                                                                       EUGENE ISLAND 316
NOV ‐ Amelia       NOV          7430303‐04                  Rack No. E060.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          FW154025         A‐11 OCSG 5040      EA      NEW                        8        353.25                   0

NOV ‐ Amelia       NOV          7426924‐08                  Rack No. E017.     4 1/2" 17.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                        1          10                     0
                                                                               7 1/16" X 5 1/2" 40.40# 29.70# (70.10#) HP213CR115(O) HP213CR115(I)
NOV ‐ Amelia       NOV          7426924‐03                 Rack No. WKRK02.    SEAMLESS VIT, VAM TOP HC THREAD                                           203302            MC 948 #2         EA      NEW                        8        291.12                   0
NOV ‐ Amelia       NOV          7426924‐09                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS VALLOUREC COUPLINGS, THREAD                   203302            MC 948 #2         EA      NEW                        2          0                      0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC
NOV ‐ Amelia       NOV          7426924‐11                 Rack No. WKRK02.    THREAD                                                                    203302            MC 948 #2         EA      USED                       4         181.5                   0

NOV ‐ Amelia       NOV          7426924‐07                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                        3          12                     0

NOV ‐ Amelia       NOV          7426924‐07                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                        4          8                      0

NOV ‐ Amelia       NOV          7426924‐07                  Rack No. SH02.     5 1/2" 26.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302            MC 948 #2         EA      NEW                       14          56                     0
NOV ‐ Amelia       NOV          7426924‐10                  Rack No. SH04.     5 1/2" 26.00# 13CRS110 SEAMLESS PUP JOINTS, VAM TOP HC THREAD             203302            MC 948 #2         EA      NEW                        1          20                     0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC
NOV ‐ Amelia       NOV          7426924‐02                 Rack No. WKRK02.    THREAD                                                                    203302            MC 948 #2         EA      NEW                       40        1806.3                   0
NOV ‐ Amelia       NOV          7426924‐09                  Rack No. SH05.     5 1/2" 26.00# VM‐110 13CRSS VALLOUREC COUPLINGS, THREAD                   203302            MC 948 #2         EA      NEW                       30          0                      0

NOV ‐ Amelia       NOV          7426924‐08                  Rack No. E017.     4 1/2" 17.00# VM‐110 13CRSS SEAMLESS PUP JOINTS, VAM TOP HC THREAD        203302             MC 948 #2        EA      NEW                        1           4                     0
NOV ‐ Amelia       NOV          7426924‐04                  Rack No. SH04.     5 1/2" 29.70# 13CR115 SEAMLESS PUP JOINTS, VAM TOP HC THREAD              203302             MC 948 #2        EA      NEW                        1          15                     0
NOV ‐ Amelia       NOV          7426924‐04                  Rack No. SH04.     5 1/2" 29.70# 13CR115 SEAMLESS PUP JOINTS, VAM TOP HC THREAD              203302             MC 948 #2        EA      NEW                        1          20                     0
NOV ‐ Amelia       NOV          7415765‐01                  Rack No. A049.     2 7/8" 7.90# 13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD                   FW155061         EI 136 JA‐4 BP1     EA      NEW                       10        315.05                   0




                                                                                                                                     92
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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                        Project Number      Project Name        UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
NOV ‐ Amelia         NOV         7410843‐04                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     USED                       1          43.55                    0
NOV ‐ Amelia         NOV         7410843‐02                 Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506           E.I. 136 JA #2      EA     NEW                        1          43.6                     0
NOV ‐ Amelia         NOV         7410843‐05                 Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506           E.I. 136 JA #2      EA     USED                       2          88.5                     0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                        2          81.65                    0
NOV ‐ Amelia         NOV         7410843‐02                 Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506           E.I. 136 JA #2      EA     NEW                       10         438.55                    0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                        1          43.7                     0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                       13         559.25                    0
NOV ‐ Amelia         NOV         7410843‐03                 Rack No. H005.                   OTHER, THREAD                                               FW151506           E.I. 136 JA #2      EA     USED                       1            0                      0
NOV ‐ Amelia         NOV         7410843‐01                 Rack No. H005.     7 5/8" 38.08# HCQ‐125 EVRAZ SEAMLESS CASING, SLIJII THREAD                FW151506           E.I. 136 JA #2      EA     NEW                        2          84.65                    0
NOV ‐ Amelia         NOV         7409904‐01                 Rack No. C134.     3 1/2" 12.95# HP1‐13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD               FW152006            EI 136 JA #2       EA     NEW                       44         1394.95                   0
                                                                                                                                                                          EI 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7397639‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506            OCSG 3152         EA      NEW                       11         484.85                    0
NOV ‐ Amelia       NOV          7395742‐03                  Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506            EI 136 JA #2      EA      USED                       1           39                      0
NOV ‐ Amelia       NOV          7395742‐04                  Rack No. H005.     7 5/8" 38.08# Q‐125 U S STEEL SEAMLESS CASING, SLF THREAD                 FW151506            EI 136 JA #2      EA      USED                       1           28                      0
NOV ‐ Amelia       NOV          7391991‐01                  Rack No. C233.     7" 37.29# Q‐125 V&M SEAMLESS CASING, STL THREAD                           FW151506           E.I.136 JA #2      EA      NEW                        6         252.55                    0
NOV ‐ Amelia       NOV          7391991‐03                 Rack No. MOC1A.     9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, CUT OFF PIN THREAD            FW151506           E.I.136 JA #2      EA      USED                       1          46.05                    0
NOV ‐ Amelia       NOV          7391991‐02                  Rack No. EP18.     9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, CUT OFF PIN THREAD            FW151506           E.I.136 JA #2      EA      USED                       1          49.6                     0
NOV ‐ Amelia       NOV          7391991‐01                  Rack No. C233.     7" 37.29# Q‐125 V&M SEAMLESS CASING, STL THREAD                           FW151506           E.I.136 JA #2      EA      NEW                       44         1923.75                   0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC
NOV ‐ Amelia       NOV          7390965‐01                  Rack No. B020.     THREAD                                                                     143752         GUNFLINT 948‐4        EA    UNKNOWN                      2          90.45                    0
NOV ‐ Amelia       NOV          7384927‐03                  Rack No. E060.                  OTHER, THREAD                                                FW151006         EI 136 JA #2         EA      USED                       1            0                      0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E079.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        1          45.65                    0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E079.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        1          44.75                    0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E060.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        6         262.75                    0
NOV ‐ Amelia       NOV          7384927‐02                  Rack No. E077.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, SLX THREAD             FW151006         EI 136 JA #2         EA      NEW                        1          22.15                    0
NOV ‐ Amelia       NOV          7384927‐01                  Rack No. E060.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, SLX THREAD                 FW151006         EI 136 JA #2         EA      NEW                        2          87.25                    0
                                                                               5 1/2" 26.00# VM‐110 13CRSS VALLOUREC SEAMLESS CASING, VAM TOP HC                        GUNFLINT MC 948
NOV ‐ Amelia       NOV          7384484‐01                 Rack No. WKRK02.    THREAD                                                                     143752         #4 OCSG 28030         EA      NEW                       46         1984.82                   0
NOV ‐ Amelia       NOV          7375553‐01                  Rack No. E045.     13 3/8" 68.00# NT80LHE NSSMC ERW CASING, BUTTRESS THREAD                  FW151006         EI 136 JA # 2        EA      NEW                        2          87.3                     0
NOV ‐ Amelia       NOV          7375553‐03                  Rack No. H004.     13 3/8" 68.00# NT‐80HE TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD       FW151006         EI 136 JA # 2        EA      NEW                        2          47.6                     0
NOV ‐ Amelia       NOV          7375553‐03                  Rack No. H004.     13 3/8" 68.00# NT‐80HE TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD       FW151006         EI 136 JA # 2        EA      NEW                        1          20.25                    0
NOV ‐ Amelia       NOV          7375553‐03                  Rack No. H004.     13 3/8" 68.00# NT‐80HE TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD       FW151006         EI 136 JA # 2        EA      NEW                        1          20.3                     0

NOV ‐ Amelia       NOV          7375553‐02                  Rack No. EP18.     13 3/8" 68.00# NT80LHE NSSMC ERW CASING, DUTCHMAN/CUT‐OFF PIN THREAD      FW151006          EI 136 JA # 2       EA      USED                       1          44.5                     0
NOV ‐ Amelia       NOV          7375553‐04                  Rack No. EP17.     13 3/8" 68.00# NT80LHE TENARIS SEAMLESS CASING, CUT OFF PIN THREAD        FW151006          EI 136 JA # 2       EA      USED                       1           18                      0

NOV ‐ Amelia       NOV          7375553‐02                  Rack No. EQ17.     13 3/8" 68.00# NT80LHE NSSMC ERW CASING, DUTCHMAN/CUT‐OFF PIN THREAD      FW151006            EI 136 JA # 2     EA      USED                       1          44.5                     0
NOV ‐ Amelia       NOV          7373478‐04                  Rack No. EP18.     18 5/8" 87.50# J‐55 NIPPON SEAMLESS CASING, BUTTRESS THREAD               FW151006             EI 136 JA #2     EA      USED                       1           24                      0
NOV ‐ Amelia       NOV          7373478‐03                  Rack No. EP17.     18 5/8" 87.50# J‐55 NIPPON SEAMLESS CASING, DUTCHMAN THREAD               FW151006             EI 136 JA #2     EA      USED                       2           75                      0
                                                                                                                                                                         INVENTORY CODE:
NOV ‐ Amelia       NOV          7363520‐01                  Rack No. C037.     5 1/2" 17# P‐110 TENARIS SEAMLESS CASING, TSH 511 THREAD                                         8000.156       EA      NEW                       97         4578.35                   0
                                                                                                                                                                              INVENTORY
NOV ‐ Amelia       NOV          7361437‐03                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD                             8000.156       EA      NEW                        5         231.35                    0
                                                                                                                                                                              INVENTORY
NOV ‐ Amelia       NOV          7361437‐02                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                               8000.156       EA      NEW                        9         414.65                    0
                                                                                                                                                                              INVENTORY
NOV ‐ Amelia       NOV          7361437‐01                  Rack No. I3‐142.   7 5/8" 33.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                               8000.156       EA      NEW                       109       5033.9544                  0
                                                                                                                                                                          E.I. 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7351051‐02                  Rack No. C140.                 OTHER,    THREAD                                              FW151506              OCSG:3152       EA      USED                       2           0                       0
                                                                                                                                                                          E.I. 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7351051‐01                  Rack No. C161.                 OTHER,    THREAD                                              FW151506              OCSG:3152       EA      USED                       1           0                       0
                                                                                                                                                                          E.I. 136 #JA‐2 ST1
NOV ‐ Amelia       NOV          7351051‐01                  Rack No. C161.                 OTHER,    THREAD                                              FW151506              OCSG:3152       EA      USED                       1           0                       0
                                                                                                                                                                           CHERRY ISLAND
NOV ‐ Amelia       NOV          7350949‐01                 Rack No. MIT02.     5 1/2" 29.70# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END UPSET THREAD                             VESSEL        EA      NEW                       12         430.747                   0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        1           47                      0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        1          42.6                     0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                       10          451.5                    0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        4         170.905                   0
NOV ‐ Amelia       NOV          7350628‐01                 Rack No. I3‐142.    7" 29.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW141015              SMI 48 E7       EA      NEW                        2          90.85                    0
                                                                                                                                                                         MC 782 DANTZLER
NOV ‐ Amelia       NOV          7347176‐04                  Rack No. B020.     4 1/2" 15.50# HP1‐13CR110 JFE SEAMLESS TUBING, BTS‐6 THREAD                142980               #1 XT‐SET       EA      USED                       2          78.05                    0
NOV ‐ Amelia       NOV          7341206‐02                  Rack No. EQ08.     9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD      FW141015              SMI 48 E‐7      EA      NEW                        1          46.7                     0
                                                                                                                                                                          MAIN PASS 153 B
NOV ‐ Amelia       NOV          7340778‐02                 Rack No. I2TP‐07.   7" 29.00# P‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW152001        #10 ST3, ENSCO 87     EA      NEW                        1          21.25                    0
                                                                                                                                                                          MAIN PASS 153 B
NOV ‐ Amelia       NOV          7340778‐04                 Rack No. I2TP‐07.   7" 29.00# P‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW152001        #10 ST3, ENSCO 87     EA      NEW                        1          20.75                    0
                                                                                                                                                                          MAIN PASS 153 B
NOV ‐ Amelia       NOV          7340778‐01                  Rack No. H053.     7" 29.00# P‐110 U S STEEL SEAMLESS CASING, API 8RD LONG THREAD            FW152001        #10 ST3, ENSCO 87     EA      NEW                        7          314.2                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                       294       12960.35                   0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐02                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                        1          45.1                     0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                       56        2468.3045                  0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339262‐01                  Rack No. 2‐105.    7" 42.59# Q‐125‐1 V&M STAR SEAMLESS CASING, SLIJII THREAD                 FW151506                 3156         EA      NEW                        1          43.75                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339239‐01                  Rack No. EN04.     7" 41.00# V‐150 U S STEEL SEAMLESS CASING, STL THREAD                     FW151506                 3156         EA      NEW                       56         2620.9                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                  Rack No. EP25.     9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                     FW151006                 3156         EA      NEW                        5          222.2                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐03                  Rack No. EP25.     9 5/8" 52.85# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                     FW151006                 3156         EA      NEW                        1          44.65                    0
                                                                                                                                                                        EUGENE ISLAND 136
                                                                                                                                                                          #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                  Rack No. EP25.     9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                     FW151006                 3156         EA      NEW                        6          272                      0




                                                                                                                                       93
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  Facility     Facility Owner   Item Number   Serial No.      Location       Item Description                                                      Project Number       Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐05                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M STAR SEAMLESS CASING, SLX THREAD              FW151006               3156        EA      NEW                        1          44.8                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐04                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 SIDERCA SEAMLESS CASING, SLX THREAD               FW151006               3156        EA      NEW                        1         41.75                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐05                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M STAR SEAMLESS CASING, SLX THREAD              FW151006               3156        EA      NEW                        3         131.35                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐02                 Rack No. EP19.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS PUP JOINTS, SLX THREAD     FW151006               3156        EA      NEW                        1          23                      0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        4         182.7                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐03                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        4         176.65                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐04                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 SIDERCA SEAMLESS CASING, SLX THREAD               FW151006               3156        EA      NEW                        2         92.45                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐04                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 SIDERCA SEAMLESS CASING, SLX THREAD               FW151006               3156        EA      NEW                        1          45.8                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐01                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD         FW151006               3156        EA      NEW                        4         176.75                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐03                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        6         263.45                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐01                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD         FW151006               3156        EA      NEW                       11         497.2                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐01                 Rack No. EP25.    9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD         FW151006               3156        EA      NEW                        5         227.8                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                       28         1255.4                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        6         275.45                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        1          46                      0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        1          45.3                    0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OSC‐G
NOV ‐ Amelia       NOV          7339201‐06                 Rack No. EP25.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, SLX THREAD                   FW151006               3156        EA      NEW                        3         135.95                   0
                                                                                                                                                                    EUGENE ISLAND 136
                                                                                                                                                                      #JA‐2 ST1 OCS‐G
NOV ‐ Amelia       NOV          7339176‐02                 Rack No. EQ08.    9 5/8" 53.30# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD      FW151006               3156        EA      NEW                        3         137.25                   0
                                                                                                                                                                    VESSEL: "GLORIOUS
NOV ‐ Amelia       NOV          7337780‐01                 Rack No. MIT02.   7 1/16" 40.40# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END THREAD                              HOPE"        EA      NEW                        1         35.95                    0
                                                                                                                                                                    VESSEL: "GLORIOUS
NOV ‐ Amelia       NOV          7337780‐01                 Rack No. MIT02.   7 1/16" 40.40# HP2‐13CR115 JFE SEAMLESS CASING, PLAIN END THREAD                              HOPE"        EA      NEW                        2        71.7674                   0
NOV ‐ Amelia       NOV          7336043‐01                 Rack No. H062.    9 5/8" 47.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD         FW151001         MP 153 B‐10 ST3   EA      NEW                       13         564.1                    0
NOV ‐ Amelia       NOV          7334105‐01                 Rack No. H051.    9 5/8" 53.50# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD          SR141007            GC 65 A‐23     EA      NEW                       20         946.2                    0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐01                 Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD     FW141515           OCSG:00786      EA      NEW                       14         654.74                   0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐02                 Rack No. C255.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD      FW141515           OCSG:00786      EA      NEW                        1         46.78                    0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐02                 Rack No. C255.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD      FW141515           OCSG:00786      EA      NEW                        4         184.15                   0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐01                 Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD     FW141515           OCSG:00786      EA      NEW                        1         45.82                    0
                                                                                                                                                                         SMI 48 E‐7
NOV ‐ Amelia       NOV          7332033‐03                 Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD     FW141515           OCSG:00786      EA      NEW                        4         181.48                   0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐03                 Rack No. E045.    11 3/4" 65.00# Q‐125 HC LONE STAR ERW CASING, HYD 523 THREAD            SR141005            OCSG:5589      EA      NEW                        5         200.5                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐01                 Rack No. BP‐15.   11 3/4" 65.00# Q‐125 IC TENARIS SEAMLESS CASING, HYD 523 THREAD         SR141005            OCSG:5589      EA      NEW                        5         203.4                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐01                 Rack No. E045.    11 3/4" 65.00# Q‐125 IC TENARIS SEAMLESS CASING, HYD 523 THREAD         SR141005            OCSG:5589      EA      NEW                       13        528.8472                  0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7330358‐02                 Rack No. E045.    11 3/4" 65.00# Q‐125 HC U S STEEL SEAMLESS CASING, HYD 523 THREAD       SR141005            OCSG:5589      EA      NEW                        4         152.25                   0
                                                                                                                                                                    GREEN CANYON 65 #
                                                                                                                                                                      A‐23 OCS‐G 5889
NOV ‐ Amelia       NOV          7326931‐01                 Rack No. B067.    9 5/8" 53.50# P110 EC V&M SEAMLESS CASING, TSH 513 THREAD               FW141505             H&P 206       EA      NEW                       259       11294.5                   0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7324824‐01                 Rack No. EQ08.    13 3/8" 72.00# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD       SR141005            OCSG:5889      EA      NEW                        2         85.35                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7324824‐01                 Rack No. EQ08.    13 3/8" 72.00# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD       SR141005            OCSG:5889      EA      NEW                        1         43.35                    0
                                                                                                                                                                         GC 65 A‐23
NOV ‐ Amelia       NOV          7324824‐01                 Rack No. EO‐07.   13 3/8" 72.00# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD       SR141005            OCSG:5889      EA      NEW                        6         246.25                   0
NOV ‐ Amelia       NOV          7322732‐01                 Rack No. 2‐208.   18 5/8" 99.50# J‐55 TATA STEEL ERW CASING, BUTTRESS THREAD              SR141007            GC 65 A‐23     EA      NEW                        8         337.15                   0
NOV ‐ Amelia       NOV          7322732‐02                 Rack No. 2‐336.   18 5/8" 99.50# J‐55 TATA STEEL ERW PUP JOINTS, BUTTRESS THREAD          SR141007            GC 65 A‐23     EA      NEW                        1           21                     0
NOV ‐ Amelia       NOV          7322732‐02                 Rack No. 2‐336.   18 5/8" 99.50# J‐55 TATA STEEL ERW PUP JOINTS, BUTTRESS THREAD          SR141007            GC 65 A‐23     EA      NEW                        1          21.4                    0
                                                                                                                                                                     GREEN CANYON 65
NOV ‐ Amelia       NOV          7321277‐02                 Rack No. E040.    9 5/8" 53.50# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD          FW141505         A‐23 OCSG 5889    EA      NEW                        9          419                     0
                                                                                                                                                                     GREEN CANYON 65
NOV ‐ Amelia       NOV          7321277‐02                 Rack No. E040.    9 5/8" 53.50# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD          FW141505         A‐23 OCSG 5889    EA      NEW                        9         410.85                   0




                                                                                                                                     94
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  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                         Project Number      Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty   Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                        GREEN CANYON 65
NOV ‐ Amelia       NOV          7321277‐01                  Rack No. H062.    9 5/8" 53.50# P‐110 IC TAMSA SEAMLESS CASING, TSH 513 THREAD               FW141505        A‐23 OCSG 5889      EA      NEW                       65        3046.44                   0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐05                 Rack No. WKRK07.   9 7/8" 62.80# HCQ‐125     SEAMLESS PUP JOINTS, HYD 513 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1           3                      0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐07                 Rack No. WKRK07.   11 3/4" 65.00# Q‐125 IC   SEAMLESS PUP JOINTS, HYD 523 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1           3                      0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐02                 Rack No. WKRK07.   9 7/8" 62.80# HCQ‐125     SEAMLESS PUP JOINTS, HYD 513 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1          10                      0
                                                                                                                                                                        MAIN PASS 295 # 1
NOV ‐ Amelia       NOV          7316334‐03                 Rack No. WKRK07.   9 7/8" 62.80# HCQ‐125     SEAMLESS PUP JOINTS, HYD 523 THREAD             SA‐12‐0003         OCS‐G 32263       EA      NEW                        1           3                      0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                       13         558.55                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                        1         42.75                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                        1         44.65                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐01                  Rack No. EP22.    11 3/4" 65.00# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD           FW141005 OCS‐G 588          A‐23         EA      NEW                        1          42.8                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7315599‐02                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD      FW141005 OCS‐G 588          A‐23         EA      NEW                        1           42                     0
NOV ‐ Amelia       NOV          7312660‐01                  Rack No. B005.    4 1/2" 13.50# HCP‐110 TMK SEAMLESS CASING, ULTRA SF THREAD                 FW141009         EI 126 A‐5 ST‐1    EA      NEW                       16         676.75                   0
NOV ‐ Amelia       NOV          7312632‐02                  Rack No. EQ09.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD         FW141017         SS 274 C22 ST2     EA      NEW                        1           46                     0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐02                  Rack No. 2‐442.   9 5/8" 53.50# HCP‐110 TAMSA SEAMLESS PUP JOINTS, TSH 513 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        1         22.95                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐06                  Rack No. B061.    9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, HYD 523 THREAD                 FW141505        A‐23 OCS‐G 5889     EA      NEW                        7         314.8                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. B061.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                       24         1062.1                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐03                  Rack No. B061.    9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        2          92.8                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. B061.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        4         187.7                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. B061.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                       16        741.0824                  0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                       37        1656.35                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐03                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        7         329.9                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐04                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        1         44.35                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        1         47.25                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        8         365.55                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        1          46.3                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        4          183                     0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐05                  Rack No. EP22.    9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD            FW141505        A‐23 OCS‐G 5889     EA      NEW                        9         411.05                   0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐01                  Rack No. EP22.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        2         93.45                    0
                                                                                                                                                                       GREEN CANYON 65 #
NOV ‐ Amelia       NOV          7305798‐04                  Rack No. B061.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD              FW141505        A‐23 OCS‐G 5889     EA      NEW                        3        133.55                    0
NOV ‐ Amelia       NOV          7303373‐02                  Rack No. H062.    9 7/8" 61.80# Q125‐IC TAMSA SEAMLESS CASING, TSH 513 THREAD                SR141003            GC 64 A26       EA    UNKNOWN                      1          44                      0
NOV ‐ Amelia       NOV          7303373‐01                  Rack No. H062.    9 7/8" 61.80# Q125‐IC TAMSA SEAMLESS CASING, TSH 513 THREAD                SR141003            GC 64 A26       EA    UNKNOWN                     16          704                     0
NOV ‐ Amelia       NOV          7302417‐01                  Rack No. B005.    7" 32.00# HCP‐110 JESCO SEAMLESS CASING, API 8RD LONG THREAD               FW141509         EI 126 A‐5 ST‐1    EA      NEW                        9        386.55                    0
NOV ‐ Amelia       NOV          7302417‐01                  Rack No. B005.    7" 32.00# HCP‐110 JESCO SEAMLESS CASING, API 8RD LONG THREAD               FW141509         EI 126 A‐5 ST‐1    EA      NEW                       28        1161.25                   0
NOV ‐ Amelia       NOV          7302417‐02                  Rack No. B020.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD             FW141509         EI 126 A‐5 ST‐1    EA      NEW                        1         47.4                     0
                                                                                                                                                                          SS 274 C22 ST2
NOV ‐ Amelia       NOV          7299505‐01                  Rack No. EP12.    13 3/8" 72.00# P‐110 IC TAMSA SEAMLESS CASING, BUTTRESS THREAD             FW141017           OCSG:1039        EA      NEW                        7        329.1543                  0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        1          21.5                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. EQ09.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        1         46.35                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. EQ09.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        1          43.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        2         43.25                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. EQ09.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        2         81.75                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        2          42.8                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        3         130.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                   FW1410016               786          EA      NEW                        1          40.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288937‐02                  Rack No. EM05.    10 3/4" 45.50# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD               FW1410016               786          EA      NEW                        1          21.6                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐05                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD       FW1415016               786          EA      NEW                        4         188.5                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐03                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD        FW1415016               786          EA      NEW                        1         45.35                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐03                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD        FW1415016               786          EA      NEW                        1          45.1                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐01                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TAMSA SEAMLESS CASING, API 8RD LONG THREAD          FW1415016               786          EA      NEW                       14         636.35                   0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐04                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TAMSA SEAMLESS CASING, API 8RD LONG THREAD         FW1415016               786          EA      NEW                        2          91.8                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐03                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD        FW1415016               786          EA      NEW                        1          47.4                    0
                                                                                                                                                                        S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐04                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TAMSA SEAMLESS CASING, API 8RD LONG THREAD         FW1415016               786          EA      NEW                       27        1242.49                   0




                                                                                                                                     95
                                         Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 452 of 995          Exhibit D-1 (continued)




  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                              Project Number     Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐05                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW1415016               786          EA      NEW                        4          188.4                    0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐05                  Rack No. H005.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW1415016               786          EA      NEW                        7         332.25                    0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐01                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TAMSA SEAMLESS CASING, API 8RD LONG THREAD               FW1415016               786          EA      NEW                        5         229.05                    0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288869‐02                  Rack No. H005.    7 5/8" 29.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD                FW1415016               786          EA      NEW                        1          44.55                    0
                                                                                                                                                                             INVENTORY CODE:
NOV ‐ Amelia       NOV          7288816‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                 8000 156        EA      NEW                       64         2987.24                   0
                                                                                                                                                                             INVENTORY CODE:
NOV ‐ Amelia       NOV          7288816‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                 8000 156        EA      NEW                       129        6023.01                   0
                                                                                                                                                                             S.M.I. 48 E‐8 OCSG
NOV ‐ Amelia       NOV          7288570‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD            FW1415016               786          EA      NEW                       25         1166.75                   0
NOV ‐ Amelia       NOV          7287935‐01                  Rack No. B005.    7" 38.00# HCQ‐125‐1 TCA SEAMLESS CASING, STL THREAD                              3500.2                             EA      NEW                       43         1881.7                    0
                                                                                                                                                                             M.P. 311 #B‐12 ST
NOV ‐ Amelia       NOV          7282304‐02                  Rack No. C255.    7 5/8" 29.70# HCP‐110 TENARIS SEAMLESS CASING, TSH 513 THREAD                   GO141504           OCSG:2213        EA      NEW                       25         1134.7                    0
                                                                                                                                                                             M.P. 311 #B‐12 ST
NOV ‐ Amelia       NOV          7282304‐01                  Rack No. C255.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                  GO141504           OCSG:2213        EA      NEW                       40        1848.4017                  0
NOV ‐ Amelia       NOV          7280531‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                         GO141004          MP 311 B12        EA      NEW                        1          38.65                    0
NOV ‐ Amelia       NOV          7280531‐01                  Rack No. B024.    10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                         GO141004          MP 311 B12        EA      NEW                        1          38.85                    0
NOV ‐ Amelia       NOV          7280393‐01                  Rack No. E060.    9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD                FW141009         EI 126 A‐5 ST‐1    EA      NEW                       14          642.9                    0
NOV ‐ Amelia       NOV          7280393‐01                  Rack No. EQ09.    9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, BUTTRESS THREAD                FW141009         EI 126 A‐5 ST‐1    EA      NEW                        1          47.25                    0
NOV ‐ Amelia       NOV          7277189‐01                  Rack No. B057.    11 7/8" 71.80# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD                 SR141003            GC 64 A26       EA      NEW                       21         954.85                    0
NOV ‐ Amelia       NOV          7276946‐01                  Rack No. E079.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                     SR141500         SS 252 C‐9 ST1     EA      NEW                        1          44.15                    0
NOV ‐ Amelia       NOV          7276946‐01                  Rack No. E079.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                     SR141500         SS 252 C‐9 ST1     EA      NEW                        2          89.1                     0
NOV ‐ Amelia       NOV          7276946‐01                  Rack No. E079.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                     SR141500         SS 252 C‐9 ST1     EA      NEW                        5         221.25                    0
NOV ‐ Amelia       NOV          7276946‐03                  Rack No. E077.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                SR141500         SS 252 C‐9 ST1     EA      NEW                        2          83.7                     0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. EP22.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                        6         280.02                    0
NOV ‐ Amelia       NOV          7276946‐05                  Rack No. E079.    7" 26.00# HCP‐110 V&M SEAMLESS CASING, API 8RD LONG THREAD                      SR141500         SS 252 C‐9 ST1     EA      NEW                        1          45.3                     0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. EP22.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                       11        513.3639                   0
NOV ‐ Amelia       NOV          7276946‐03                  Rack No. EP22.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                SR141500         SS 252 C‐9 ST1     EA      NEW                        4         166.85                    0
NOV ‐ Amelia       NOV          7276946‐04                  Rack No. EP22.    7" 26.00# HCP‐110 V&M SEAMLESS CASING, API 8RD LONG THREAD                      SR141500         SS 252 C‐9 ST1     EA      NEW                        1          45.45                    0
NOV ‐ Amelia       NOV          7276946‐05                  Rack No. EP22.    7" 26.00# HCP‐110 V&M SEAMLESS CASING, API 8RD LONG THREAD                      SR141500         SS 252 C‐9 ST1     EA      NEW                        2          91.45                    0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. EP22.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                        1          46.67                    0
NOV ‐ Amelia       NOV          7276946‐03                  Rack No. E077.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                SR141500         SS 252 C‐9 ST1     EA      NEW                        3         124.55                    0
NOV ‐ Amelia       NOV          7276946‐02                  Rack No. E077.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  SR141500         SS 252 C‐9 ST1     EA      NEW                        2          94.65                    0
NOV ‐ Amelia       NOV          7272382‐04                  Rack No. EP22.    7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD                                        INVENTORY        EA      NEW                        2          89.1                     0
NOV ‐ Amelia       NOV          7272382‐01                  Rack No. H053.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                     INVENTORY        EA      NEW                        1          46.9                     0
NOV ‐ Amelia       NOV          7272382‐01                  Rack No. H053.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                     INVENTORY        EA      NEW                        3           141                     0
NOV ‐ Amelia       NOV          7272382‐01                  Rack No. EP22.    7" 26.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                                     INVENTORY        EA      NEW                        3         139.95                    0
NOV ‐ Amelia       NOV          7272382‐03                  Rack No. EP22.    7" 26.00# P‐110 EC V&M STAR SEAMLESS CASING, API 8RD LONG THREAD                                   INVENTORY        EA      NEW                        1          41.85                    0
NOV ‐ Amelia       NOV          7272382‐02                  Rack No. EP22.    7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD                                   INVENTORY        EA      NEW                        6          249.6                    0
NOV ‐ Amelia       NOV          7261939‐01                  Rack No. E028.    7 5/8" 29.70# P‐110 IC TENARIS SEAMLESS CASING, TSH 513 THREAD                GO‐14‐1001‐DH     MP 311 A‐13 ST‐2    EA      NEW                        3        138.7269                   0
                                                                                                                                                                             MAIN PASS 311 A13
NOV ‐ Amelia       NOV          7244543‐05                  Rack No. E033.    5 1/2" 20.00# HCP‐110 U S STEEL SEAMLESS CASING, STL THREAD                        TBA                 S/T          EA      NEW                        1          45.4                     0

NOV ‐ Amelia       NOV          3679539‐02                  Rack No. 2‐336.   9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW141502           EI‐187 #2        EA      NEW                        1          23.15                    0

NOV ‐ Amelia       NOV          3679539‐02                  Rack No. 2‐336.   9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD          FW141502              EI‐187 #2     EA      NEW                        1          23.15                    0
                                                                                                                                                                                S.S.193 A6 ST#5
NOV ‐ Amelia       NOV          3675138‐01                  Rack No. E028.    7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD                 FW141004            OCSG:13917      EA      NEW                        3         138.25                    0
                                                                                                                                                                                S.S.193 A6 ST#5
NOV ‐ Amelia       NOV          3675138‐02                  Rack No. E028.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  FW141004            OCSG:13917      EA      NEW                       21          991.6                    0
                                                                                                                                                                             E. CAMERON 172 #2
NOV ‐ Amelia       NOV          3673667‐02                  Rack No. B021.    7" 32.00# HCP‐110 TENARIS‐ALGOMA SEAMLESS CASING, API 8RD LONG THREAD           FW141511            OCSG 17858      EA      NEW                       10          473.1                    0
                                                                                                                                                                             E. CAMERON 172 #2
NOV ‐ Amelia       NOV          3673667‐01                  Rack No. B021.    7" 32.00# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD                  FW141511            OCSG 17858      EA      NEW                       16         752.05                    0
                                                                                                                                                                                  MP 153 B‐3
NOV ‐ Amelia       NOV          3669409‐01                  Rack No. B024.    10 3/4" 45.50# HCN‐80 TPCO SEAMLESS CASING, BUTTRESS THREAD                   SA‐14‐0006‐DH          OCSG:1967      EA      NEW                        9         402.55                    0
                                                                                                                                                                                  MP 153 B‐3
NOV ‐ Amelia       NOV          3669409‐01                  Rack No. EP16.    10 3/4" 45.50# HCN‐80 TPCO SEAMLESS CASING, BUTTRESS THREAD                   SA‐14‐0006‐DH          OCSG:1967      EA      NEW                        1          46.5                     0
                                                                                                                                                                                  MP 153 B‐3
NOV ‐ Amelia       NOV          3669409‐01                  Rack No. B024.    10 3/4" 45.50# HCN‐80 TPCO SEAMLESS CASING, BUTTRESS THREAD                   SA‐14‐0006‐DH          OCSG:1967      EA      NEW                        4          179.3                    0
                                                                              6" X 4 1/2" 30.38# 15.50# (45.88#) HP113CR115(O) HP113CR115(I) JFE SEAMLESS
NOV ‐ Amelia       NOV          3669375‐01                 Rack No. MIT02.    VIT, VAM DRS NA THREAD                                                                          DANTZLER WELLS      EA      USED                       1          39.6                     0
NOV ‐ Amelia       NOV          3652486‐02                 Rack No. B040.     5" 18.00# P‐110 EC V&M SEAMLESS CASING, TSH 513 THREAD                        SG‐13‐0001‐CC       MP 302 B‐19       EA      NEW                        5          226.1                    0
                                                                                                                                                                               EI 187 #2 OCSG
NOV ‐ Amelia       NOV          3651026‐02                  Rack No. E044.    13 3/8" 72.00# HCP‐110 TENARIS SEAMLESS CASING, BUTTRESS THREAD                 FW141002              10736         EA      NEW                        1          42.65                    0
                                                                                                                                                                               EI 187 #2 OCSG
NOV ‐ Amelia       NOV          3651026‐01                  Rack No. E044.    13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, BUTTRESS THREAD               FW141002              10736         EA      NEW                        1          38.1                     0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐05                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        2          96.7                     0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐06                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        1           51                      0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐05                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        6         292.35                    0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐07                  Rack No. E016.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD                 SA‐13‐0031‐DC            S/T          EA      NEW                        1          48.6                     0
                                                                                                                                                                             HIGH ISL. A596 D‐6
NOV ‐ Amelia       NOV          3648959‐12                  Rack No. EP19.    9 5/8" 53.50# HCP‐110 TAMSA SEAMLESS PUP JOINTS, TSH 513 THREAD               SA‐13‐0031‐DC            S/T          EA      NEW                        1          23.1                     0
NOV ‐ Amelia       NOV          3648910‐02                 Rack No. WKRK02.   5 1/2" 23.00# 13 CR‐95 JFE SEAMLESS CASING, BTS‐6 THREAD                                             GC 40 #1       EA      USED                       1          39.75                    0
NOV ‐ Amelia       NOV          3648910‐02                 Rack No. WKRK02.   5 1/2" 23.00# 13 CR‐95 JFE SEAMLESS CASING, BTS‐6 THREAD                                             GC 40 #1       EA      USED                       1          39.8                     0
                                                                                                                                                                             BIG BEND M.C. 698
NOV ‐ Amelia       NOV          3643733‐01                 Rack No. WKRK02.                OTHER,   THREAD                                                     142412                 #1          EA      USED                       1           0                       0
                                                                                                                                                                             BIG BEND M.C. 698
NOV ‐ Amelia       NOV          3643733‐01                 Rack No. WKRK02.                OTHER,   THREAD                                                     142412                 #1          EA      USED                      10           0                       0
                                                                                                                                                                             BIG BEND M.C. 698
NOV ‐ Amelia       NOV          3643733‐03                  Rack No. E017.    5 1/2" 23.00# 13 CR‐95 JFE SEAMLESS CASING, BTS‐6 THREAD                         142412                 #1          EA      NEW                        8         316.45                    0
                                                                                                                                                                              HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐01                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD              SA‐13‐0031‐DH        OCSG:2722        EA      NEW                       15         620.45                    0
                                                                                                                                                                              HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐01                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD              SA‐13‐0031‐DH        OCSG:2722        EA      NEW                        1          40.3                     0




                                                                                                                                      96
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  Facility     Facility Owner   Item Number   Serial No.       Location       Item Description                                                       Project Number       Project Name       UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐02                  Rack No. EP17.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS PUP JOINTS, HYD 513 THREAD   SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        1           5.3                     0
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐03                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 JFE SEAMLESS CASING, HYD 513 THREAD             SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        1          42.9                     0
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐01                  Rack No. EP22.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD       SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        2          81.65                    0
                                                                                                                                                                        HI A595 D‐6 ST‐2
NOV ‐ Amelia       NOV          3643149‐02                  Rack No. EP17.    11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS PUP JOINTS, HYD 513 THREAD   SA‐13‐0031‐DH         OCSG:2722         EA      NEW                        1          10.3                     0
NOV ‐ Amelia       NOV          3641841‐01                  Rack No. EP18.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD     SG‐13‐0001‐DH        MP 302 B‐19        EA      NEW                        1           46                      0
NOV ‐ Amelia       NOV          3641817‐01                  Rack No. EP16.    9 5/8" 53.30# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD     SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        1          46.1                     0
NOV ‐ Amelia       NOV          3641146‐01                  Rack No. EP16.    9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, API 8RD LONG THREAD     SA‐13‐0045‐DH      VR 262 A‐6 ST‐1      EA      NEW                        1          46.95                    0
NOV ‐ Amelia       NOV          3634794‐01                  Rack No. B061.    13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        9         407.65                    0
NOV ‐ Amelia       NOV          3634794‐03                 Rack No. BS01‐B.   13 3/8" 68.00# J‐55 HYUNDAI ERW PUP JOINTS, BUTTRESS THREAD            SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        2          43.25                    0
NOV ‐ Amelia       NOV          3634794‐01                  Rack No. BS01.    13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        2          88.9                     0
NOV ‐ Amelia       NOV          3634794‐01                  Rack No. BS01.    13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        1          45.5                     0
NOV ‐ Amelia       NOV          3632545‐01                 Rack No. B069‐B.   20" 106.50# J‐55 MANNESMANN SEAMLESS CASING, BUTTRESS THREAD           SA‐14‐0001‐DH          MP 295 #3        EA      NEW                        1          43.2                     0
                                                                                                                                                                            MP 295 #3
NOV ‐ Amelia       NOV          3632196‐01                 Rack No. B069‐B.   20" 106.50# J‐55 SALZGITTER ERW CASING, BUTTRESS THREAD                SA‐14‐0001‐DH        OCSG:32263         EA      NEW                        3          130.3                    0
                                                                                                                                                                      M.P. 153 #B‐10 ST3
NOV ‐ Amelia       NOV          3631381‐01                  Rack No. E028.    7" 29.00# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD            SA‐14‐0002‐DC         OCSG:1966         EA      NEW                       24          994.8                    0
                                                                                                                                                                      M.P. 153 #B‐10 ST3
NOV ‐ Amelia       NOV          3631381‐03                 Rack No. 2‐442.    7" 29.00# P‐110 U S STEEL SEAMLESS PUP JOINTS, API 8RD LONG THREAD     SA‐14‐0002‐DC         OCSG:1966         EA      NEW                        1          23.07                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631311‐01                 Rack No. B057.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐13‐0003‐DH            D9 ST2         EA      NEW                       18        822.3794                   0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631280‐02                  Rack No. BS01.    16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD            SA‐13‐0003‐DH            D9 ST2         EA      NEW                        6         254.65                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631280‐01                  Rack No. BS01.    16" 94.81# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD           SA‐13‐0003‐DH            D9 ST2         EA      NEW                        1          36.35                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631280‐01                  Rack No. BS01.    16" 94.81# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD           SA‐13‐0003‐DH            D9 ST2         EA      NEW                        4          164.1                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐01                  Rack No. BS01.    16" 97.00# HCN‐80 V&M SEAMLESS CASING, BUTTRESS THREAD                 SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        1          41.95                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐01                  Rack No. BS01.    16" 97.00# HCN‐80 V&M SEAMLESS CASING, BUTTRESS THREAD                 SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        2          90.85                    0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐01                  Rack No. BS01.    16" 97.00# HCN‐80 V&M SEAMLESS CASING, BUTTRESS THREAD                 SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        1          44.5                     0
                                                                                                                                                                       HIGH ISLAND A596
NOV ‐ Amelia       NOV          3631274‐02                 Rack No. BS01.     16" 97.00# HCN‐80 U S STEEL SEAMLESS CASING, BUTTRESS THREAD           SA‐13‐0003‐DH           D9 ST#2         EA      NEW                        1          38.75                    0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. E045.     13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                        2          81.55                    0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. BS01.     13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                        1          40.8                     0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. BP‐15.    13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                       10         407.75                    0
NOV ‐ Amelia       NOV          3627781‐01                 Rack No. BS01.     13 3/8" 72.00# HCP‐110 U S STEEL SEAMLESS CASING, SLX THREAD           SA‐13‐0031DH          HI A595 D‐6       EA      NEW                        6          255.1                    0
                                                                                                                                                                      MAIN PASS 153 #B‐
NOV ‐ Amelia       NOV          3620413‐04                  Rack No. E077.    7" 29.00# P‐110 U S STEEL SEAMLESS PUP JOINTS, API 8RD LONG THREAD     SA‐14‐0002‐DC    10 ST#3 OCSG 1966      EA      NEW                        1           23                      0
NOV ‐ Amelia       NOV          3620015‐01                  Rack No. EP12.    16" 97.00# Q125 HP U S STEEL SEAMLESS CASING, BUTTRESS THREAD          SA‐13‐0031‐DH        HI A596 #D‐6       EA      NEW                       22          908.5                    0
                                                                                                                                                                      MAIN PASS 153 B‐10
NOV ‐ Amelia       NOV          3619168‐03                 Rack No. 2‐442.    7" 29.00# HCP‐110 TENARIS SEAMLESS PUP JOINTS, API 8RD LONG THREAD     SA‐14‐0002‐DC      ST#3 OCSG 1966       EA      NEW                        1          21.8                     0
NOV ‐ Amelia       NOV          3616810‐01                 Rack No. B040.     4 1/2" 18.97# Q‐125 HCE VOEST ALP SEAMLESS CASING, SLIJII THREAD       SA‐13‐0024‐DH         EI 136 JA‐4       EA      NEW                        8          324.3                    0
NOV ‐ Amelia       NOV          3615844‐01                 Rack No. EP12.     13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD             SA‐13‐0040‐DH          WC 210 #1        EA      NEW                        6          252.1                    0
NOV ‐ Amelia       NOV          3615844‐01                 Rack No. E077.     13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD             SA‐13‐0040‐DH          WC 210 #1        EA      NEW                        5         209.55                    0
NOV ‐ Amelia       NOV          3614854‐03                 Rack No. H053.     7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD       SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        2          83.6                     0
NOV ‐ Amelia       NOV          3614854‐02                 Rack No. H053.     7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD            SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        6         270.05                    0
NOV ‐ Amelia       NOV          3614854‐03                 Rack No. H053.     7" 26.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD       SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        2          83.8                     0
NOV ‐ Amelia       NOV          3614854‐04                 Rack No. H053.     7" 26.00# HCP‐110 SUMITOMO SEAMLESS CASING, API 8RD LONG THREAD        SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                        1           40                      0
NOV ‐ Amelia       NOV          3614854‐02                 Rack No. H053.     7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD            SA‐13‐0044‐DH       EI 330 D‐8 ST‐2     EA      NEW                       26        1165.7226                  0
                                                                                                                                                                            HI 596 D‐6
NOV ‐ Amelia       NOV          3614751‐01                 Rack No. B069‐B.   20" 169.00# X‐56 JFE ERW CASING, BUTTRESS THREAD                       SA‐13‐0031‐DH         OCSG:2722         EA      NEW                       10         444.85                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐02                  Rack No. EP25.    11 7/8" 71.80# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD        SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        2          91.9                     0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐01                 Rack No. MOC1.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        3          137.3                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐01                 Rack No. MOC1.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐12‐0003‐DH        OCSG 32263         EA      NEW                       10         457.85                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612120‐01                 Rack No. MOC1.     11 7/8" 71.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 523 THREAD          SA‐12‐0003‐DH        OCSG 32263         EA      NEW                       17          777.3                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612106‐01                 Rack No. EQ09.     9 7/8" 61.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 513 THREAD           SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        2          93.95                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612106‐01                 Rack No. EQ08.     9 7/8" 61.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 513 THREAD           SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        1          47.5                     0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612106‐01                 Rack No. EQ08.     9 7/8" 61.80# Q‐125 IC TAMSA SEAMLESS CASING, TSH 513 THREAD           SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        6         281.85                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612047‐01                  Rack No. EP25.    9 7/8" 62.80# P‐110 TAMSA SEAMLESS CASING, HYD 513 THREAD              SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        1          46.45                    0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612039‐01                  Rack No. EP17.    9 7/8" 62.80# Q‐125 TAMSA SEAMLESS CASING, HYD 523 THREAD              SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        1         45.3333                   0
                                                                                                                                                                       MAIN PASS 295 #1
NOV ‐ Amelia       NOV          3612039‐01                  Rack No. EP18.    9 7/8" 62.80# Q‐125 TAMSA SEAMLESS CASING, HYD 523 THREAD              SA‐12‐0003‐DH        OCSG 32263         EA      NEW                        2          90.67                    0
                                                                                                                                                                      VERMILLION 262 A‐6
NOV ‐ Amelia       NOV          3610913‐01                  Rack No. EP16.    13 3/8" 70.67# P‐110 U S STEEL SEAMLESS CASING, SLX THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        2           83                      0
                                                                                                                                                                      VERMILLION 262 A‐6
NOV ‐ Amelia       NOV          3610913‐01                  Rack No. EP16.    13 3/8" 70.67# P‐110 U S STEEL SEAMLESS CASING, SLX THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        3         119.75                    0
                                                                                                                                                                      VERMILLION 262 A6
NOV ‐ Amelia       NOV          3610856‐02                  Rack No. EP16.    13 3/8" 72.00# HCP‐110 TAMSA SEAMLESS CASING, BUTTRESS THREAD            PENDING          ST1 OCSG 34257       EA      NEW                        1          45.9                     0
                                                                                                                                                                      VERMILLION 262 A6
NOV ‐ Amelia       NOV          3610856‐01                  Rack No. EP16.    13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        3          125.3                    0
                                                                                                                                                                      VERMILLION 262 A6
NOV ‐ Amelia       NOV          3610856‐01                  Rack No. EP16.    13 3/8" 72.00# HCP‐110 V&M SEAMLESS CASING, HYD 513 THREAD               PENDING          ST1 OCSG 34257       EA      NEW                        1          44.5                     0
                                                                                                                                                                       MP 295 #1 OCSG:
NOV ‐ Amelia       NOV          3610188‐01                  Rack No. EP22.    7" 42.70# Q‐125‐1 V&M SEAMLESS CASING, SLIJII THREAD                   SA‐12‐0003‐DC            32263          EA      NEW                        1          38.9                     0

NOV ‐ Amelia       NOV          3603237‐01                 Rack No. H053.     7" 26.00# P‐110 EC V&M SEAMLESS CASING, API 8RD LONG THREAD            SA‐13‐0043‐DC    EI 125 #R‐1 OCSG: 51   EA      NEW                        2          90.2                     0
                                                                                                                                                                       GIBBSTOWN SWD
NOV ‐ Amelia       NOV          3601342‐01                  Rack No. C159.    4 1/2" 15.50# L‐80 JFE SEAMLESS TUBING, BTS‐6PR THREAD                  SA‐13‐4203               #1            EA      NEW                       12          379.4                    0
NOV ‐ Amelia       NOV          3594307‐01                  Rack No. EP22.    7" 32.00# HCP‐110 VOEST ALP SEAMLESS CASING, API 8RD LONG THREAD       SA‐13‐0002‐CC      HI A596 D‐2 ST‐1     EA      NEW                        9          362.1                    0




                                                                                                                                     97
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  Facility     Facility Owner   Item Number   Serial No.       Location        Item Description                                                         Project Number        Project Name         UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
NOV ‐ Amelia         NOV         3594287‐01                 Rack No. EP18.     9 5/8" 53.50# P‐110 EC V&M SEAMLESS CASING, SLX THREAD                    SA‐13‐0002‐CC       HI A596 D‐2 ST‐1       EA     NEW                        1          44.7                     0
NOV ‐ Amelia         NOV         3594279‐02                 Rack No. 2‐442.    13 3/8" 68.00# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD              SA‐13‐3477‐DH          EI 330 D‐8 ST        EA     NEW                        2          41.85                    0
NOV ‐ Amelia         NOV         3594279‐01                 Rack No. B061.     13 3/8" 68.00# J‐55 NEXTEEL ERW CASING, BUTTRESS THREAD                  SA‐13‐3477‐DH          EI 330 D‐8 ST        EA     NEW                        6         271.95                    0
NOV ‐ Amelia         NOV         3580472‐03                 Rack No. I3‐303.   10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0026‐DH            SS 91 #H2          EA     NEW                        1          45.5                     0
NOV ‐ Amelia         NOV         3580472‐02                 Rack No. I3‐303.   10 3/4" 45.50# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0026‐DH            SS 91 #H2          EA     NEW                        1           45                      0
                                                                                                                                                                              EI 330 D‐1 ST1
NOV ‐ Amelia       NOV          3580447‐03                  Rack No. C002.     13 3/8" 68.00# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0038‐DH           OCSG: 2115         EA      NEW                        1           43                      0
                                                                                                                                                                              EI 330 D‐1 ST1
NOV ‐ Amelia       NOV          3580447‐04                  Rack No. C002.     13 3/8" 68.00# J‐55 TENARIS ERW CASING, BUTTRESS THREAD                  SA‐13‐0038‐DH           OCSG: 2115         EA      NEW                        1          42.12                    0
NOV ‐ Amelia       NOV          3580432‐02                  Rack No. B024.     13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                                          INVENTORY          EA      NEW                        2          90.38                    0
NOV ‐ Amelia       NOV          3580082‐01                  Rack No. C242.     7" 41.00# V‐150 U S STEEL SEAMLESS CASING, STL THREAD                    SA‐13‐0024‐DH            EI 136 JA‐4       EA      NEW                        1          47.35                    0
NOV ‐ Amelia       NOV          3578347‐03                 Rack No. I2TP‐07.   13 3/8" 68.00# HCQ‐125 TENARIS SEAMLESS PUP JOINTS, BUTTRESS THREAD      SG‐13‐0011‐DH        GI 32 #U‐12 ST‐1      EA      NEW                        1          23.85                    0
NOV ‐ Amelia       NOV          3576854‐01                  Rack No. EM05.     9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, STL THREAD                    SA‐13‐0024‐DH          EI 136 #JA‐4        EA      NEW                       16         733.15                    0

                                                                                                                                                                            APACHE INVENTORY
NOV ‐ Amelia       NOV          3575043‐02                  Rack No. 2‐442.    7" 26.00# HCP‐110 TPCO SEAMLESS PUP JOINTS, API 8RD LONG THREAD                                    #35005           EA      NEW                        1           23                      0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EM05.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        6          272.4                    0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          46.2                     0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          45.4                     0
NOV ‐ Amelia       NOV          3574231‐02                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 VMS SEAMLESS CASING, STL THREAD                    SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          43.85                    0
NOV ‐ Amelia       NOV          3574231‐01                  Rack No. EP18.     9 5/8" 53.50# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0002‐DH        HI A 596 D‐2 ST1      EA      NEW                        1          38.8                     0
NOV ‐ Amelia       NOV          3570002‐01                  Rack No. EQ09.     11 7/8" 71.80# Q‐125 IC TENARIS SEAMLESS CASING, TSH 523 THREAD          SA‐12‐003‐DH             MP 295 #1         EA      NEW                        1          46.15                    0
NOV ‐ Amelia       NOV          3563792‐01                  Rack No. E045.     11 3/4" 69.48# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD             SA‐13‐0002‐DH        HI A‐596 D‐2 ST1      EA      NEW                       13          549.5                    0
NOV ‐ Amelia       NOV          3560733‐01                  Rack No. B028.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD                                  INVENTORY          EA      NEW                       36        1574.4927                  0
NOV ‐ Amelia       NOV          3560733‐01                  Rack No. B028.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD                                  INVENTORY          EA      NEW                       19         832.63                    0
NOV ‐ Amelia       NOV          3554493‐01                  Rack No. EP17.     13 5/8" 88.20# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   SA‐12‐0003‐DH            MP 295 #1         EA      NEW                        4         178.85                    0
NOV ‐ Amelia       NOV          3554493‐01                  Rack No. EP17.     13 5/8" 88.20# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   SA‐12‐0003‐DH            MP 295 #1         EA      NEW                        1          45.3                     0
NOV ‐ Amelia       NOV          3554493‐01                  Rack No. EP17.     13 5/8" 88.20# HCQ‐125 V&M SEAMLESS CASING, SLX THREAD                   SA‐12‐0003‐DH            MP 295 #1         EA      NEW                        2          87.4                     0
NOV ‐ Amelia       NOV          3552709‐01                  Rack No. BP‐15.    11 3/4" 69.48# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD          ‐0002‐DH / PO# 45000                          EA      NEW                       12          505.9                    0
NOV ‐ Amelia       NOV          3549135‐01                  Rack No. B070.     7" 32.00# P‐110 IC TENARIS SEAMLESS CASING, API 8RD LONG THREAD           SA‐13‐0028‐DC        SMI 48 E‐4 ST‐1      EA      NEW                       15          692.3                    0
                                                                                                                                                                            HIGH ISL. A‐596 D‐2
NOV ‐ Amelia       NOV          3548409‐01                  Rack No. E040.     9 5/8" 53.50# HCQ‐125 V&M STAR SEAMLESS CASING, STL THREAD               SA‐13‐0002‐DH                 S/T          EA      NEW                       21          902.2                    0
NOV ‐ Amelia       NOV          3546740‐01                  Rack No. EP25.     13 3/8" 68.00# NT‐80 SEAMLESS CASING, GB BUTTRESS THREAD                   SA‐12‐3357             HI 596 D‐2        EA      NEW                        1          42.5                     0
NOV ‐ Amelia       NOV          3539819‐01                  Rack No. EP12.     13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                  SA‐13‐0017‐DH         EI 330 D‐5 ST‐1      EA      NEW                        3         132.24                    0
NOV ‐ Amelia       NOV          3539819‐01                  Rack No. EP12.     13 3/8" 68.00# J‐55 HYUNDAI ERW CASING, BUTTRESS THREAD                  SA‐13‐0017‐DH         EI 330 D‐5 ST‐1      EA      NEW                        1           43                      0
NOV ‐ Amelia       NOV          3536855‐03                  Rack No. B050.     5" 18.00# HCP‐110 TMK SEAMLESS CASING, STL THREAD                        SA‐13‐0033‐CC            EI 125 A‐3        EA      NEW                        1          41.45                    0
NOV ‐ Amelia       NOV          3536855‐01                  Rack No. B050.     5" 18.00# HCP‐110 BENTELER SEAMLESS CASING, STL THREAD                   SA‐13‐0033‐CC            EI 125 A‐3        EA      NEW                        4          167.4                    0
NOV ‐ Amelia       NOV          3532107‐01                  Rack No. EP16.     16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD              SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        1          43.5                     0
NOV ‐ Amelia       NOV          3532107‐01                  Rack No. EP17.     16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD              SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        1          43.32                    0
NOV ‐ Amelia       NOV          3532107‐01                  Rack No. EP16.     16" 94.81# Q‐125 IC TENARIS SEAMLESS CASING, TSH 513 THREAD              SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        4         173.28                    0
NOV ‐ Amelia       NOV          3532107‐02                  Rack No. EP17.     16" 94.81# HCQ‐125 U S STEEL SEAMLESS CASING, TSH 513 THREAD             SA‐12‐0003‐DH           M.P. 295 #1        EA      NEW                        3          123.6                    0
                                                                                                                                                                            EUGENE ISL. 136 JA‐
NOV ‐ Amelia       NOV          3524708‐01                  Rack No. EM05.     9 5/8" 52.90# HCQ‐125 U S STEEL SEAMLESS CASING, STL THREAD              SA‐13‐0024‐DH                  4           EA      NEW                       20        881.9565                   0
NOV ‐ Amelia       NOV          3523871‐08                  Rack No. D012.                  OTHER, THREAD                                                   5959                 WC 130 #2         EA    UNKNOWN                      1                                   0
NOV ‐ Amelia       NOV          3523871‐09                  Rack No. D012.                  OTHER, THREAD                                                   5959                 WC 130 #2         EA    UNKNOWN                      1                                   0
NOV ‐ Amelia       NOV          3522528‐03                  Rack No. 2‐442.    7 5/8" 29.70# HCP‐110 TPCO SEAMLESS PUP JOINTS, API 8RD LONG THREAD      SA‐13‐0008‐DC            WD 90 #F‐8        EA      NEW                        1          22.36                    0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522355‐03                  Rack No. EN08.     5" 18.00# HCP‐110 TMK SEAMLESS PUP JOINTS, STL THREAD                    SA‐13‐0033‐DC                2 S/T         EA      NEW                        1           21                      0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐02                  Rack No. B050.     5" 18.00# P‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD                SA‐13‐0033‐DC                3 S/T         EA      NEW                        3          141.3                    0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐01                  Rack No. B050.     5" 18.00# P‐110 ALGOMA SEAMLESS CASING, HYD 513 THREAD                   SA‐13‐0033‐DC                3 S/T         EA      NEW                        3          130.5                    0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐01                  Rack No. B063.     5" 18.00# P‐110 ALGOMA SEAMLESS CASING, HYD 513 THREAD                   SA‐13‐0033‐DC                3 S/T         EA      NEW                       12          522                      0
                                                                                                                                                                            EUGENE ISL. 125 #A‐
NOV ‐ Amelia       NOV          3522335‐03                  Rack No. B050.     5" 18.00# P‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD                  SA‐13‐0033‐DC                3 S/T         EA      NEW                        1          45.5                     0
NOV ‐ Amelia       NOV          3521926‐01                 Rack No. I3‐WK01.   9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, STL THREAD                    SA‐13‐0024‐DH           EI 136 #JA‐4       EA      NEW                        1          48.34                    0
NOV ‐ Amelia       NOV          3520312‐02                  Rack No. I3‐303.   10 3/4" 45.50# J‐55 CORINTH ERW CASING, BUTTRESS THREAD                  SA‐13‐0006‐DH           E.I. 126 #A‐6      EA      NEW                        1          42.1                     0
                                                                                                                                                                            HIGH ISL. A‐596 D‐6
NOV ‐ Amelia       NOV          3519531‐02                  Rack No. EP22.     11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐13‐0031‐DH                 S/T          EA      NEW                        1           43                      0
                                                                                                                                                                            HIGH ISL. A‐596 D‐6
NOV ‐ Amelia       NOV          3519531‐03                  Rack No. EP22.     11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐13‐0031‐DH                 S/T          EA      NEW                        1          42.5                     0
                                                                                                                                                                            HIGH ISL. A‐596 D‐6
NOV ‐ Amelia       NOV          3519531‐05                  Rack No. EP22.     11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐13‐0031‐DH                 S/T          EA      NEW                        3         122.85                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        1          46.2                     0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        1          45.65                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐03                  Rack No. EQ10.     9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        1          47.15                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐03                  Rack No. EQ10.     9 5/8" 53.50# HCP‐110 U S STEEL SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        2         91.7333                   0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐04                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        4          179                      0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        3          133.2                    0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐01                  Rack No. EQ10.     9 5/8" 53.50# P‐110 EC V&M STAR SEAMLESS CASING, HYD 523 THREAD          SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                       35        1577.7083                  0
                                                                                                                                                                            HIGH ISLAND A‐596
NOV ‐ Amelia       NOV          3519428‐02                  Rack No. EQ10.     9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, TSH 523 THREAD            SA‐13‐0031‐DC             #D‐6 S/T         EA      NEW                        2          87.95                    0
NOV ‐ Amelia       NOV          3508865‐01                  Rack No. EP12.     20" 94.00# J‐55 NIPPON ERW CASING, BUTTRESS THREAD                       SA‐13‐0024‐DH             EI 136 J‐4       EA      NEW                        3         131.15                    0
                                                                                                                                                                              EI 330 D‐3 S/T 2
NOV ‐ Amelia       NOV          3506358‐03                  Rack No. 2‐442.    13 3/8" 68.00# J‐55 TENARIS ERW PUP JOINTS, BUTTRESS THREAD              SA‐13‐0020‐DH            OCSG: 2115        EA      NEW                        1         21.645                    0
                                                                                                                                                                             W. DELTA 90 #F‐8
NOV ‐ Amelia       NOV          3501929‐04                  Rack No. 2‐442.    7 5/8" 29.70# HCP‐110 SEAMLESS PUP JOINTS, API 8RD LONG THREAD           SA‐13‐0008‐DH            OCSG 1089         EA      NEW                        1          22.3                     0
NOV ‐ Amelia       NOV          3498770‐01                  Rack No. B063.     9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, SLIJII THREAD                 SA‐13‐0004‐DH          VR 78 A‐3 ST‐2      EA      NEW                        6          281.4                    0
NOV ‐ Amelia       NOV          3493053‐03                  Rack No. 2‐336.    13 3/8" 68.00# J‐55 NEXTEEL ERW PUP JOINTS, BUTTRESS THREAD              SG‐12‐0054‐DH         GI 32 GG #2 ST 1     EA      NEW                        1          21.7                     0
                                                                                                                                                                            EUGENE ISL. 136 JA‐
NOV ‐ Amelia       NOV          3464088‐01                  Rack No. EQ19.     20" 94.00# J‐55 NIPPON ERW CASING, BUTTRESS THREAD                         PENDING                      4           EA      NEW                        4         176.79                    0

NOV ‐ Amelia       NOV          3450383‐01                  Rack No. B021.     9 5/8" 53.50# HCQ‐125 V&M SEAMLESS CASING, API 8RD LONG THREAD           SA‐12‐0036‐DH       G.I. 54 #A‐1 ST1 BP1   EA      NEW                       16          726.9                    0
                                                                                                                                                                              E.I. 120 #19 ST 2
NOV ‐ Amelia       NOV          3442458‐01                  Rack No. H053.     7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0029‐DC            OCSG:00050        EA      NEW                       18          797.6                    0




                                                                                                                                       98
                                                          Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 455 of 995                Exhibit D-1 (continued)




      Facility             Facility Owner        Item Number   Serial No.          Location          Item Description                                                         Project Number       Project Name      UOM   Condition   Wt. (lbs)   On Hand Qty    Length     Average Cost       Total Value   WI% Net Value
                                                                                                                                                                                                 E.I. 120 #19 ST 2
   NOV ‐ Amelia                NOV               3442458‐01                     Rack No. H053.       7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0029‐DC         OCSG:00050       EA      NEW                        2          83.5                     0
                                                                                                                                                                                               SHIP SHOAL 193 A7
   NOV ‐ Amelia                NOV               3426020‐01                     Rack No. E031.       7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0046‐DC              ST2         EA      NEW                       26        1156.1333                  0
                                                                                                                                                                                               SHIP SHOAL 193 A7
   NOV ‐ Amelia                NOV               3426020‐01                     Rack No. E031.       7 5/8" 33.70# HCP‐110 TPCO SEAMLESS CASING, API 8RD LONG THREAD          SA‐12‐0046‐DC              ST2         EA      NEW                       56          2490                     0
                                                                                                                                                                                                 E.I. 118 B#1 ST1
   NOV ‐ Amelia                NOV               3384042‐01                     Rack No. EP17.       9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD          SA‐12‐0008‐DH         OCSG:15242       EA      NEW                        1          38.45                    0
                                                                                                                                                                                                 E.I. 118 B#1 ST1
   NOV ‐ Amelia                NOV               3384042‐01                     Rack No. EP17.       9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD          SA‐12‐0008‐DH         OCSG:15242       EA      NEW                        1          45.45                    0
   NOV ‐ Amelia                NOV               3368529‐01                     Rack No. EQ09.       10 3/4" 60.70# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD              SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        1          41.85                    0
   NOV ‐ Amelia                NOV               3368529‐01                     Rack No. EQ09.       10 3/4" 60.70# JFE‐110T JFE SEAMLESS CASING, HYD 513 THREAD              SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        4          168.6                    0
                                                                                                                                                                                                   S.S. 189 A#10
   NOV ‐ Amelia                NOV               3364720‐02                     Rack No. B028.       4 1/2" 15.00# HCP‐110 VOEST ALP SEAMLESS TUBING, ULTRA SF THREAD         SA‐11‐0042‐DC         OCSG:04232       EA      NEW                       17          710                      0
                                                                                                                                                                                                   S.S. 189 A#10
   NOV ‐ Amelia                NOV               3364720‐08                     Rack No. C242.       7" 38.00# HCQ‐125 TCA SEAMLESS CASING, VAM TOP THREAD                    SA‐11‐0042‐DC         OCSG:04232       EA      NEW                        4         161.95                    0
                                                                                                                                                                                                   S.S. 189 A#10
   NOV ‐ Amelia                NOV               3364720‐01                     Rack No. C242.       7" 38.00# P‐110 TCA SEAMLESS CASING, VAM TOP THREAD                      SA‐11‐0042‐DC         OCSG:04232       EA      NEW                        8          360.9                    0
   NOV ‐ Amelia                NOV               3362473‐03                     Rack No. EQ09.       9 5/8" 53.50# HCP‐110 TENARIS SEAMLESS CASING, HYD 513 THREAD            SA‐12‐0002‐DH    M.P. 8 #1 SL# 20549   EA      NEW                        1          46.65                    0
                                                                                                                                                                                                GI 116 #A‐7 OCSG:
   NOV ‐ Amelia                NOV               3346038‐01                     Rack No. B024.       5 1/2" 26.00# Q‐125 V&M STAR SEAMLESS CASING, SLIJII THREAD              SA‐11‐0001‐DC            13944         EA      NEW                       18          820.9                    0
   NOV ‐ Amelia                NOV               3345139‐01                     Rack No. BS01.       13 5/8" 88.20# JFE‐125T JFE SEAMLESS CASING, GB CDE BUTTRESS THREAD      SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        1          42.5                     0
   NOV ‐ Amelia                NOV               3345139‐01                     Rack No. BS01.       13 5/8" 88.20# JFE‐125T JFE SEAMLESS CASING, GB CDE BUTTRESS THREAD      SA‐11‐0010‐DH    MOBILE BAY 830 #2     EA      NEW                        1          43.15                    0
   NOV ‐ Amelia                NOV               3338902‐01                     Rack No. B040.       7" 32.00# Q‐125 TCA SEAMLESS CASING, TC‐II THREAD                        SA‐11‐0067‐DC         M.P. 59 I‐2      EA      NEW                        6         259.25                    0
                                                                                                                                                                                               S.S. 189 A‐10 OCSG:
   NOV ‐ Amelia                NOV               3325749‐01                    Rack No. MOC1.        11 7/8" 71.80# HCQ‐125 U S STEEL ERW CASING, BUTTRESS THREAD             SA‐11‐0042‐DH            04232         EA      NEW                        1          42.95                    0
                                                                                                                                                                                               S.S. 189 A‐10 OCSG:
   NOV ‐ Amelia                NOV               3325749‐01                     Rack No. E060.       11 7/8" 71.80# HCQ‐125 U S STEEL ERW CASING, BUTTRESS THREAD             SA‐11‐0042‐DH            04232         EA      NEW                       20         853.305                   0
   NOV ‐ Amelia                NOV               3325081‐01                     Rack No. EQ09.       9 5/8" 52.85# HCQ‐125 TENARIS‐TAMSA SEAMLESS CASING, SLX THREAD          SA‐11‐0044‐DH      W.C. 110 #10 ST     EA      NEW                        2          92.45                    0
   NOV ‐ Amelia                NOV               3322300‐01                     Rack No. E060.       11 7/8" 71.80# HCQ‐125 TENARIS SEAMLESS CASING, SLX THREAD               SA‐11‐0067‐DH                          EA      NEW                       10         427.95                    0
                                                                                                                                                                                                W.C. 110 #10 ST1
   NOV ‐ Amelia                NOV               3316773‐01                     Rack No. EQ08.       11 3/4" 65.00# HCP‐110 U S STEEL SEAMLESS CASING, HYD 513 THREAD         SA‐11‐0044‐DH            106           EA      NEW                        1          40.45                    0
   NOV ‐ Amelia                NOV               3314254‐01                    Rack No. B061B.       20" 94.00# J‐55 NIPPON ERW CASING, BUTTRESS THREAD                       SA‐11‐0067‐DH         MP 59 I‐2        EA      NEW                        4          178.5                    0
   NOV ‐ Amelia                NOV               3258554‐01                     Rack No. EP12.       20" 94.00# J‐55 V&M ERW CASING, BUTTRESS THREAD                          SA‐11‐0043‐DH       OCSG:8467 #2       EA      NEW                        8          379.1                    0
   NOV ‐ Amelia                NOV               3258554‐02                    Rack No. 2‐336.       20" 94.00# K‐55 U S STEEL SEAMLESS PUP JOINTS, BUTTRESS THREAD           SA‐11‐0043‐DH       OCSG:8467 #2       EA      NEW                        1          21.4                     0
   NOV ‐ Amelia                NOV               3258554‐02                    Rack No. 2‐336.       20" 94.00# K‐55 U S STEEL SEAMLESS PUP JOINTS, BUTTRESS THREAD           SA‐11‐0043‐DH       OCSG:8467 #2       EA      NEW                        1          20.85                    0
   NOV ‐ Amelia                NOV               3240441‐02                    Rack No. EQ08A.       20" 94.00# J‐55 TIPO ERW PUP JOINTS, BUTTRESS THREAD                     SA‐11‐0043‐DH     MAIN PASS 315 #1     EA      NEW                        2          39.85                    0
                                                                                                                                                                                                 W.D. 128 #D‐12
   NOV ‐ Amelia                NOV               3236135‐02                     Rack No. EQ19.       20" 133.00# X‐56 HUSTELL ERW CASING, GB BUTTRESS THREAD                  SA‐11‐0009‐DH       OCSG: 10893        EA      NEW                        2          87.5                     0
                                                                                                                                                                                                 W.D. 128 #D‐12
   NOV ‐ Amelia                NOV               3236135‐01                     Rack No. EQ19.       20" 133.00# X‐56 HUSTELL ERW CASING, BUTTRESS THREAD                     SA‐11‐0009‐DH       OCSG: 10893        EA      NEW                       11         478.85                    0
                                                                                                                                                                                                SP 88 D‐8 ST1 BP1
   NOV ‐ Amelia                NOV               3212533‐01                     Rack No. H053.       7" 29.00# P‐110 EC   SEAMLESS CASING, HYD 523 THREAD                     GO‐10‐0014‐DH        OCSG:10894        EA      NEW                       32         1379.95                   0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐06                    Rack No. 20‐0508.     13 5/8" 88.20# VM‐125‐HC VMB SEAMLESS CASING, SLIJ11 THREAD                FW191019         CANYON 519 #3       EA      NEW                        7         280.92                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐03                    Rack No. 20‐0627.     13 5/8" 88.20# Q‐125 HC U S STEEL SEAMLESS CASING, SLIJ11 THREAD           FW191019         CANYON 519 #3       EA      NEW                       23         960.21                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐04                    Rack No. 02‐0511.     13 5/8" 88.20# Q‐125 HC V&M TCA SEAMLESS CASING, SLIJ11 THREAD             FW191019         CANYON 519 #3       EA      NEW                       18         743.48                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐05                    Rack No. 20‐0530.     13 5/8" 88.20# SM‐125TT SUMITOMO SEAMLESS CASING, SLIJ11 THREAD            FW191019         CANYON 519 #3       EA      NEW                       21         819.19                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐02                    Rack No. 20‐0508.     13 5/8" 88.20# Q‐125‐HP U S STEEL SEAMLESS CASING, SLIJ11 THREAD           FW191019         CANYON 519 #3       EA      NEW                        7         306.76                    0
                                                                                                                                                                                                   MISSISSIPPI
NOV ‐ Sheldon North            NOV               7754361‐01                    Rack No. 20‐0414.     13 5/8" 88.20# Q‐125 VMG SEAMLESS CASING, SLIJ11 THREAD                    FW191019         CANYON 519 #3       EA      NEW                       48         2085.33                   0
                                                                                                                                                                                               GREEN CANYON 40
NOV ‐ Sheldon North            NOV               7722987‐01                    Rack No. 06‐0704.     14" 116# Q‐125ICY TENARIS TM SEAMLESS CASING, TSH 523 THREAD              AFE 191001               #2           EA      NEW                       31        1277.4807                  0
                                                                                                                                                                                               GREEN CANYON 40
NOV ‐ Sheldon North            NOV               7722987‐01                    Rack No. 06‐0701.     14" 116# Q‐125ICY TENARIS TM SEAMLESS CASING, TSH 523 THREAD              AFE 191001               #2           EA      NEW                       117       4823.6721                  0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐06                    Rack No. 20‐0724.     13 5/8" 88.20# Q125 HP USS SEAMLESS CASING, SLIJII THREAD                                        10718          EA      NEW                       10          440                      0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐07                    Rack No. 20‐0726.     13 5/8" 88.20# Q‐125 HC USS SEAMLESS CASING, SLIJII THREAD                                       10718          EA      NEW                        9          396                      0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐05                    Rack No. 20‐0726.     13 5/8" 88.20# VM‐125‐HC VMB SEAMLESS CASING, SLIJII THREAD                                      10718          EA      NEW                        3          132                      0
                                                                                                     13 5/8" 88.20# Q‐125 HC VALLOUREC & MANNESMANN SEAMLESS CASING, SLIJII                    BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐04                    Rack No. 20‐0723.     THREAD                                                                                           10718          EA      NEW                        2           88                      0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐03                    Rack No. 20‐0719.     13 5/8" 88.20# Q‐125 HC TCA SEAMLESS CASING, SLIJII THREAD                                       10718          EA      NEW                       33          1452                     0
                                                                                                                                                                                               BILL KO SUPPLY PO
NOV ‐ Sheldon North            NOV               7708192‐02                    Rack No. 20‐0730.     13 5/8" 88.20# SM‐125S NSSMC SEAMLESS CASING, SLIJII THREAD                                      10718          EA      NEW                       37        1467.1474                  0
                                                                                                                                                                                                14" Green Canyon
NOV ‐ Sheldon North            NOV               7686925‐01                    Rack No. 20‐0346.     14" 116# Q‐125ICY TENARIS TM SEAMLESS CASING, TSH 523 THREAD                 34536              40 #2 ST        EA      NEW                        5        206.4833                   0
                                                                                                                                                                                               GREEN CANYON 200
NOV ‐ Sheldon North             NOV              7678145‐01                    Rack No. 20‐0553.     18" 117.00# Q125 HP USS SEAMLESS CASING, HDL THREAD                        FW181011              #TA‐9          EA      NEW                       27        1071.4384                  0
   OES ‐ Houma        Offshore Energy Services     FE145‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                 KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE145‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                 KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE146‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                 KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE146‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 10.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                 KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE144‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                  KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE144‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 4FT)                                  KATMAI # 1 & 2      EA      NEW                        1            4                      0
   OES ‐ Houma        Offshore Energy Services     FE147‐1                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                  KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE147‐2                  Rack No. HW‐R10‐L2‐A09   BLAST JOINT (3.5" 9.30# 13CR110 HYPER 2 BTS‐8 BOX/PIN 2FT)                                  KATMAI # 1 & 2      EA      NEW                        1            2                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐1                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐2                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐3                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐4                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐5                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE123‐6                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                KATMAI #1 & 2       EA      NEW                        1           20                      0
   OES ‐ Houma        Offshore Energy Services     FE125‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 10FT)                                KATMAI #1 & 2       EA      NEW                        1           10                      0
   OES ‐ Houma        Offshore Energy Services     FE125‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 10FT)                                KATMAI #1 & 2       EA      NEW                        1           10                      0
   OES ‐ Houma        Offshore Energy Services     FE126‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 8FT)                                 KATMAI #1 & 2       EA      NEW                        1            8                      0
   OES ‐ Houma        Offshore Energy Services     FE126‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 8FT)                                 KATMAI #1 & 2       EA      NEW                        1            8                      0
   OES ‐ Houma        Offshore Energy Services     FE127‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                 KATMAI #1 & 2       EA      NEW                        1            6                      0




                                                                                                                                                            99
                                                     Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 456 of 995               Exhibit D-1 (continued)




  Facility         Facility Owner        Item Number     Serial No.          Location          Item Description                                                              Project Number    Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services       FE127‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 10.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                    KATMAI #1 & 2     EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE122‐1                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐2                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐3                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐4                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐5                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐6                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐7                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐8                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE122‐9                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐10                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐11                  Rack No. HW‐R10‐L2‐A08   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐12                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐13                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services      FE122‐14                  Rack No. HW‐R10‐L4‐A09   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 20FT)                                    KATMAI #1 & 2     EA     NEW                        1          20                    0
OES ‐ Houma   Offshore Energy Services       FE128‐1                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                     KATMAI # 1 & 2    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE128‐2                  Rack No. HW‐R10‐L6‐A01   BLAST JOINT (3.5" 9.30# HYPER 2 13CR110 BTS‐8 BOX/PIN 6FT)                                     KATMAI # 1 & 2    EA     NEW                        1           6                    0
                                                                                               3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL
OES ‐ Houma   Offshore Energy Services    FE5241‐1                    Rack No. HW‐R10‐L2‐A07   PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                               TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL
OES ‐ Houma   Offshore Energy Services    FE5241‐2                    Rack No. HW‐R10‐L2‐A07   PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                               TROKIA TA‐3     EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE170‐1                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐2                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐3                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐4                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐5                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐6                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE170‐7                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP CPLG/PIN)                                             KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE171‐1                       Rack No. RACK #4      RANGE 3 JOINT (4.5" 17# 13CRS110 VAM TOP PIN/PIN)                                              KATMAI # 1 & 2   EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE142‐1                    Rack No. HW‐R10‐L6‐A07   PUP JOINT (5.5" 23# 13CR95Y JFE LION PIN/PIN 6FT)                                              KATMAI # 1 & 2   EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE155‐1                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 23# 13CR95 JFE LION ) (3RD CRATE)                                               KATMAI # 1 & 2   EA      NEW                        1          1                     0
                                                                                               CROSSOVER PUP (5.5" 26# HYPER 2 13CR110 JFE LION SD49 BOX X 5.5" 26# VAM
OES ‐ Houma   Offshore Energy Services     FE148‐1                    Rack No. HW‐R10‐L2‐A10   TOP HC PIN 4FT)                                                                                KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               CROSSOVER PUP (5.5" 26# HYPER 2 13CR110 JFE LION SD49 BOX X 5.5" 26# VAM
OES ‐ Houma   Offshore Energy Services     FE148‐2                    Rack No. HW‐R10‐L2‐A10   TOP HC PIN 4FT)                                                                                KATMAI #1 & 2    EA      NEW                        0          0                     0
                                                                                               CROSSOVER PUP (5.5" 26# HYPER 2 13CR110 VAM TOP HC BOX X 5.5" 26# JFE
OES ‐ Houma   Offshore Energy Services     FE149‐1                    Rack No. HW‐R10‐L2‐A10   LION SD49 PIN 4FT)                                                                             KATMAI #1 & 2    EA      NEW                        1          4                     0

OES ‐ Houma   Offshore Energy Services     FE150‐1                    Rack No. HW‐R10‐L2‐A10   CROSSOVER (5.5" 26# 13‐5‐2‐110 JFE LION BOX X 5" 23.20# VAM TOP HC PIN 2FT)                    KATMAI #1 & 2    EA      NEW                        1          2                     0
                                                                                               CROSSOVER ASSY (5.5" 26# 13CRS110 VAM TOP HC BOX X 4.5" 18.90# JFE LION
                                                                                               SD35 PIN 2FT XO X 4.5" 18.90# 13CRS110 JFE LION CPLG X 4.5" 18.90# HYPER
OES ‐ Houma   Offshore Energy Services     FE151‐1                    Rack No. HW‐R10‐L2‐A10   13CR110 JFE LION SD35 PIN/PIN 4FT PUP)                                                         KATMAI #1 & 2    EA      NEW                        1          7                     0
OES ‐ Houma   Offshore Energy Services     FE158‐1                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 26# HP2 13CR110 JFE LION SD49)                                                  KATMAI # 1 & 2   EA      NEW                        1          1                     0
                                                                                               CROSSOVER ASSEMBLY (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 8FT
                                                                                               PUP X 5.5" 29.70# 13‐5‐2 110 VAM TOP BOX X 5.5" 26# VAM TOP HC PIN 2FT
                                                                                               XOVER X 5.5" 26# 13CRS110 VAM TOP HC CPLG/PIN 6FT X 5.5" 26# 13CRS110
OES ‐ Houma   Offshore Energy Services     FE114‐1                    Rack No. HW‐R10‐L5‐A01   VAM TOP HC CPLG/PIN 4FT)                                                                         GUNFLINT       EA      NEW                        1         22                     0
                                                                                               DECOMPLETION CROSSOVER ASSY (5.5" 29.70# HYPER 2 13CR110 VAM TOP HC
                                                                                               BOX X 5.5" 26# JFE LION PIN 4FT X 5.5" 26# HP2 13CR110 JFE LION SD49 CPLG X
                                                                                               5.5" 26# 13CR110 JFE LION PIN/PIN 2FT X 5.5" 26# 13CR110 JFE LION CPLG/PIN
OES ‐ Houma   Offshore Energy Services     FE168‐1                    Rack No. HW‐R10‐L5‐A10   2FT)                                                                                           KATMAI # 1 & 2   EA      NEW                        1         10                     0
                                                                                               DECOMPLETION CROSSOVER ASSY (5.5" 29.70# HP2 13CR115 JFE LION CPLG/PIN
                                                                                               10FT PUP X 5.5" 29.70# HP2 13CR110 JFE LION BOX X 5.5" 29.70# VAM TOP HC
OES ‐ Houma   Offshore Energy Services     FE169‐1                    Rack No. HW‐R10‐L5‐A10   PIN 6FT)                                                                                       KATMAI # 1 & 2   EA      NEW                        1         16                     0
OES ‐ Houma   Offshore Energy Services     FE157‐1                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# HP2 13CR110 JFE LION)                                                    KATMAI # 1 & 2   EA      NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services     FE157‐2                    Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# HP2 13CR110 JFE LION)                                                    KATMAI # 1 & 2   EA      NEW                        0          0                     0
OES ‐ Houma   Offshore Energy Services     FE134‐1                    Rack No. HW‐R10‐L6‐A03   PUP JOINT (5.5" 26# 13CRS110 JFE LION CPLG/PIN 15FT)                                           KATMAI #1 & 2    EA      NEW                        1         15                     0
OES ‐ Houma   Offshore Energy Services     FE135‐1                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 26# 13CRS110 JFE LION PIN/PIN 8FT)                                             KATMAI #1 & 2    EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE135‐2                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 26# 13CRS110 JFE LION PIN/PIN 8FT)                                             KATMAI #1 & 2    EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE143‐1                    Rack No. HW‐R10‐L6‐A07   PUP JOINT (5.5" 26# 13CRS110 JFE LION CPLG/PIN 6FT)                                            KATMAI #1 & 2    EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE181‐1                    Rack No. ASSEMBLY SHOP   PUP JOINT (5.5" 26# 13CRS110 JFE LION PIN/PIN 10FT)                                            KATMAI # 1 & 2   EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE136‐1                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 29.70# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                  KATMAI #1 & 2    EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE136‐2                    Rack No. HW‐R10‐L6‐A04   PUP JOINT (5.5" 29.70# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                  KATMAI #1 & 2    EA      NEW                        1          8                     0

OES ‐ Houma   Offshore Energy Services     FE179‐1                    Rack No. HW‐R10‐L1‐A01   SPECIAL OD PUP JOINT (5.5" 29.70# HP2 13CR110 VAM TOP HC CPLG/CPLG 7FT)                        KATMAI # 1 & 2   EA      NEW                        1          7                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐1                    Rack No. HW‐R9‐L1‐A09    (TIMED 180)                                                                                    KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐2                    Rack No. HW‐R9‐L1‐A09    (TIMED 135)                                                                                    KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐3                    Rack No. HW‐R9‐L1‐A09    (TIMED 90)                                                                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
                                                                                               TIMED PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC CPLG/PIN 4FT)
OES ‐ Houma   Offshore Energy Services     FE152‐4                    Rack No. HW‐R9‐L1‐A09    (TIMED 225)                                                                                    KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐1                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐2                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐3                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐4                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐5                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE153‐6                    Rack No. HW‐R9‐L1‐A09    PUP JOINT (5.5" 29.70# HYPER 2 13CR115 VAM TOP HC PIN/PIN 4FT)                                 KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐3                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE160‐4                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC PIN/PIN 4FT)                                     KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE161‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 4FT)                                    KATMAI # 1 & 2   EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE161‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 4FT)                                    KATMAI # 1 & 2   EA      NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services     FE162‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 6FT)                                    KATMAI #1 &2     EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE162‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# HP2 13CR115 VAM TOP HC CPLG/PIN 6FT)                                    KATMAI #1 &2     EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE163‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 8FT)                                    KATMAI # 1 & 2   EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE163‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 8FT)                                    KATMAI # 1 & 2   EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE164‐1                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 10FT)                                   KATMAI #1 & 2    EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE164‐2                    Rack No. HW‐R10‐L3‐A10   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 10FT)                                   KATMAI #1 & 2    EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE165‐1                    Rack No. HW‐R10‐L2‐A13   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 2FT)                                    KATMAI # 1 & 2   EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE165‐2                    Rack No. HW‐R10‐L2‐A13   PUP JOINT (5.5" 29.70# 13CR115 HP2 VAM TOP HC CPLG/PIN 2FT)                                    KATMAI # 1 & 2   EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE180‐1                    Rack No. HW‐R10‐L1‐A01   PUP JOINT (5.5" 29.70# HP2 13CR115 JFE LION CPLG/PIN 4FT)                                      KATMAI # 1 & 2   EA      NEW                        1          4                     0




                                                                                                                                                      100
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  Facility         Facility Owner        Item Number   Serial No.          Location          Item Description                                                      Project Number    Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services       FE154‐1                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE154‐2                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE154‐3                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE154‐4                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE154‐5                Rack No. HW‐R10‐L6‐A10   REJECTED COUPLINGS (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                    KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE156‐1                Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                              KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE156‐2                Rack No. HW‐R10‐L6‐A10   COUPLING (5.5" 29.70# 13CR115 HP2 VAM TOP HC) (3RD CRATE)                              KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE140‐1                Rack No. HW‐R10‐L6‐A07   HALLIBURTON PUP JOINT (5" 23.20# 13CRS110 VAM TOP HC PIN/PIN 6FT)                      KATMAI #1 & 2     EA     NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐12                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐14                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐16                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐23                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐21                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5031‐4                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5031‐3                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐25                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐19                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐15                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5031‐2                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5031‐9                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐22                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5031‐8                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5031‐17                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 HYPT‐2 VARST‐1) (LEVEL C)                                TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5235‐1                Rack No. HW‐R10‐L2‐A05   COUPLING (3 1/2" 9.20# 13CR110 VARST‐1) (LEVEL C)                                       TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5235‐6                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5235‐5                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5235‐3                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE5235‐4                Rack No. HW‐R10‐L2‐A05   COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                        TROKIA TA‐3      EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE159‐1                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐2                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐3                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐4                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        0          0                     0
OES ‐ Houma   Offshore Energy Services       FE159‐5                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐6                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐7                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐8                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE159‐9                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐10                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐11                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐12                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐13                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐14                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐15                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐16                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐17                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐18                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐19                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐20                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services      FE159‐21                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 18.90# HP2 13CR110 JFE LION)                                            KATMAI # 1 & 2    EA     NEW                        1          1                     0
OES ‐ Houma   Offshore Energy Services       FE112‐2                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐3                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐4                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐5                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐6                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐7                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐8                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE112‐9                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐10                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐11                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐12                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐13                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐14                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐15                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐16                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐17                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐18                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐19                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐20                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐21                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐22                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐23                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐24                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐25                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐26                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐27                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐28                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐29                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐30                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐31                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐32                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐33                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐34                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐35                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐36                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐37                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐38                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐39                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE112‐40                 Rack No. HW‐FLOOR 2     COUPLING (5 1/2" 26# VM13CRS110 VAM TOP HC)                                              GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐1                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        2          1                     0
OES ‐ Houma   Offshore Energy Services       FE113‐2                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐3                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐4                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐5                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐6                Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                   GUNFLINT        EA     NEW                        1          0                     0




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  Facility         Facility Owner        Item Number     Serial No.          Location          Item Description                                                            Project Number    Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services       FE113‐7                  Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐8                  Rack No. HW‐R10‐L6‐A10   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services       FE113‐9                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE113‐10                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE113‐11                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE113‐12                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE113‐13                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services      FE113‐14                  Rack No. HW‐R10‐L2‐A13   COUPLING (4.5" 17.00# 13CR110 VAM TOP)                                                         GUNFLINT        EA     NEW                        1          0                     0
                                                                                               CROSSOVER (3 1/2" 9.20# SUP13CR110KSI VARST‐1 BOX X 3 1/2" 9.20# TSH‐511
OES ‐ Houma   Offshore Energy Services    FE5036‐1                    Rack No. HW‐R10‐L2‐A01   PIN 2 FT) (C LEVEL)                                                                           TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               CROSSOVER (3 1/2" 9.20# 13CRS110Y VARST‐1 BOX X 3 1/2" 9.20# TSH‐511 BOX
OES ‐ Houma   Offshore Energy Services    FE5036‐2                    Rack No. HW‐R10‐L2‐A01   2FT) (C LEVEL)                                                                                TROKIA TA‐3     EA      NEW                        1          2                     0

OES ‐ Houma   Offshore Energy Services    FE5233‐2                    Rack No. HW‐R10‐L2‐A01   CROSSOVER (5 1/2" 16.87# AF913‐110Y STL BOX X 3.5" 9.20# VARST‐1 PIN 2FT)                     TROKIA TA‐3     EA      NEW                        1          2                     0

OES ‐ Houma   Offshore Energy Services    FE5233‐1                    Rack No. HW‐R10‐L2‐A01   CROSSOVER (5 1/2" 16.87# AF913‐110Y STL BOX X 3.5" 9.20# VARST‐1 PIN 2FT)                     TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐
OES ‐ Houma   Offshore Energy Services    FE5037‐1                    Rack No. HW‐R10‐L2‐A01   LEVEL)                                                                                        TROKIA TA‐3     EA      NEW                        1          2                     0
                                                                                               CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐
OES ‐ Houma   Offshore Energy Services    FE5037‐2                    Rack No. HW‐R10‐L2‐A01   LEVEL)                                                                                        TROKIA TA‐3     EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE110‐1                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5"17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                      GUNFLINT       EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE110‐2                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5" 17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                     GUNFLINT       EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE110‐3                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5" 17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                     GUNFLINT       EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE110‐4                    Rack No. HW‐R9‐L6‐A14    FLOW COUPLING (4.5" 17.00# VM13CRS110 VAM TOP BOX/PIN 8FT)                                     GUNFLINT       EA      NEW                        1          8                     0

                                                                                               FLOW COUPLING ASSEMBLY (5 1/2" 26# VM13CRS110 VAM TOP HC BOX/PIN 8FT
                                                                                               FLOW CPLG X 5 1/2" 26# VM13CRS110 VAM TOP HC CPLG/CPLG 6FT PUP JT X 5
OES ‐ Houma   Offshore Energy Services     FE105‐1                    Rack No. HW‐R10‐L4‐A01   1/2" 26# VM13CRS110 VAM TOP PIN/PIN 4FT PUP JT)                                                GUNFLINT       EA      NEW                        1         18                     0
                                                                                                C.I.M ASSEMBLY (5 1/2" 26# VM13CRS110 VAM TOP HC CPLG/CPLG 14FT PUP JT
                                                                                               X BOT CHEMICAL INJECTION MANDREL 5 1/2" 26# 13CR110 VAM TOP PIN/PIN
                                                                                               (PN: H308250058RNBI) (S/N: 13743775) X 5 1/2" 26# VM13CRS110 VAM TOP HC
                                                                                               CPLG/CPLG 14FT PUP JT X 5 1/2" 26# VM13CRS110 VAM TOP HC PIN/PIN 6FT PUP
OES ‐ Houma   Offshore Energy Services     FE107‐1                    Rack No. HW‐R10‐L5‐A01   JT)                                                                                            GUNFLINT       EA      NEW                        1         40                     0
                                                                                               C.I.M ASSEMBLY (5 1/2" 26# 13‐5‐2‐110 VAM TOP HC BOX/PIN 8FT FLOW CPLG X
                                                                                               BOT CHEMICAL INJECTION MANDREL 5 1/2" 26# 13CR110 VAM TOP HC
                                                                                               CPLG/CPLG (SN: 13743776) H308250058RNBI) X 5 1/2" 26# VM13CRS110 VAM
OES ‐ Houma   Offshore Energy Services     FE103‐1                    Rack No. HW‐R10‐L4‐A01   TOP HC PIN/CPLG 10FT PUP JT)                                                                   GUNFLINT       EA      NEW                        1         24                     0

                                                                                               HALLIBURTON RPT LANDING NIPPLE 3.437 ASSEMBLY (4 1/2" 17# VM13CRS110
                                                                                               VAM TOP CPLG/PIN 8FT PUP JT X 4 1/2" 17# VM13CRS110 VAM TOP BOX/PIN
                                                                                               10FT FLOW CPLG X HES NIPPLE 4 1/2" 17# 13CRS110 VAM TOP BOX/PIN (SN:
OES ‐ Houma   Offshore Energy Services     FE102‐1                    Rack No. HW‐R10‐L4‐A01   408150‐1) X 4 1/2" 17# VM13CRS110 VAM TOP BOX/PIN 10FT FLOW CPLG)                              GUNFLINT       EA      NEW                        1         30                     0
                                                                                               BAKER PREMIER PACKER (4 1/2" 17.00# 13CRM110 CPLG/PIN VAM TOP 10FT)
OES ‐ Houma   Offshore Energy Services     FE115‐1                    Rack No. HW‐R10‐L1‐A14   (1084890‐02)                                                                                    STOCK         EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE173‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐3                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐4                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐5                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE173‐6                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 4FT)                                      KATMAI #1 & 2    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE174‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 6FT)                                      KATMAI # 1 & 2   EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE174‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 6FT)                                      KATMAI # 1 & 2   EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services     FE175‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 2FT)                                                       EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE175‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 2FT)                                                       EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services     FE176‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH511 BOX/PIN 8FT)                                                        EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE176‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH511 BOX/PIN 8FT)                                                        EA      NEW                        1          8                     0
OES ‐ Houma   Offshore Energy Services     FE177‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 10FT)                                                      EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE177‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 10FT)                                                      EA      NEW                        1         10                     0
OES ‐ Houma   Offshore Energy Services     FE178‐1                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 15FT)                                                      EA      NEW                        1         15                     0
OES ‐ Houma   Offshore Energy Services     FE178‐2                       Rack No. RACK #4      PUP JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN 15FT)                                                      EA      NEW                        1         15                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐1                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐2                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐3                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5019‐4                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                               EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐1                     Rack No. HW‐FLOOR 2     PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐2                     Rack No. HW‐FLOOR 2     PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐3                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐4                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                               EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐5                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 CPLG/PIN 12FT) (C‐LEVEL)                                              EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5030‐6                    Rack No. HW‐R10‐L2‐A03   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 CPLG/PIN 12FT) (C‐LEVEL)                                              EA      NEW                        1         12                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐1                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐2                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐3                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐4                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐5                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐6                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐7                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐8                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5035‐9                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                                 EA      NEW                        1          2                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐1                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐2                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐3                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐4                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐5                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐6                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5040‐7                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                                EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5238‐1                    Rack No. HW‐R10‐L3‐A04   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 6FT)                                                           EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5238‐2                    Rack No. HW‐R10‐L2‐A04   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 6FT)                                                           EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐1                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 CPLG/PIN 4FT) (C‐LEVEL)                                                EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐2                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                                 EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐3                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                                 EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5239‐4                    Rack No. HW‐R10‐L2‐A07   PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                                 EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services    FE5266‐1                       Rack No. RACK #6      RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                                EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services    FE5266‐2                       Rack No. RACK #6      RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                                EA      NEW                        1         30                     0




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  Facility         Facility Owner        Item Number   Serial No.          Location          Item Description                                                            Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
OES ‐ Houma   Offshore Energy Services      FE5038‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                              EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services      FE5039‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                              EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE5039‐2                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                              EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE5039‐3                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                              EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE5042‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 10FT) (C‐LEVEL)                                             EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services      FE5043‐1                Rack No. HW‐R10‐L3‐A01   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 8FT) (C‐LEVEL)                                              EA     NEW                        1           8                    0
OES ‐ Houma   Offshore Energy Services      FE5045‐1                Rack No. HW‐R10‐L2‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                              EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services      FE5047‐1                Rack No. HW‐R10‐L5‐A07   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 14FT) (C‐LEVEL)                                             EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services      FE5048‐1                Rack No. HW‐R10‐L3‐A01   PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                             EA     NEW                        1          12                    0
OES ‐ Houma   Offshore Energy Services       FE109‐1                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐2                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐3                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐4                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐5                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐6                Rack No. HW‐R9‐L5‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE109‐7                Rack No. HW‐R9‐L6‐A12    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                    EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE108‐1                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐2                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐3                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐4                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE108‐5                Rack No. HW‐R9‐L6‐A09    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP CPLG/PIN 14FT)                                                   EA     NEW                        1          14                    0
OES ‐ Houma   Offshore Energy Services       FE117‐1                Rack No. HW‐R9‐L1‐A06    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 2FT)                                                             EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services       FE118‐1                Rack No. HW‐R9‐L1‐A11    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐2                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐3                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐4                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐5                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐6                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐7                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐8                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐9                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services      FE118‐10                Rack No. HW‐R9‐L6‐A14    PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE118‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4 1/2" 17.00# VM13CRS110 VAM TOP 4FT)                                                             EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE124‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 15FT)                                               EA     NEW                        1          15                    0
OES ‐ Houma   Offshore Energy Services       FE129‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 10FT)                                               EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE129‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 10FT)                                               EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE130‐1                Rack No. HW‐R10‐L2‐A15   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                                EA     NEW                        1           8                    0
OES ‐ Houma   Offshore Energy Services       FE130‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 8FT)                                                EA     NEW                        1           8                    0
OES ‐ Houma   Offshore Energy Services       FE131‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 10FT)                                                EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE131‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 10FT)                                                EA     NEW                        1          10                    0
OES ‐ Houma   Offshore Energy Services       FE132‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE132‐2                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE133‐1                Rack No. HW‐R10‐L2‐A13   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 6FT)                                                EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE137‐1                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 2FT)                                                EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services       FE137‐2                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 2FT)                                                EA     NEW                        1           2                    0
OES ‐ Houma   Offshore Energy Services       FE138‐1                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 4FT)                                                EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE138‐2                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION CPLG/PIN 4FT)                                                EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐1                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐2                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐3                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE139‐4                Rack No. HW‐R10‐L2‐A08   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 4FT)                                                 EA     NEW                        1           4                    0
OES ‐ Houma   Offshore Energy Services       FE141‐1                Rack No. HW‐R10‐L6‐A07   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0
OES ‐ Houma   Offshore Energy Services       FE141‐2                Rack No. HW‐R10‐L6‐A07   PUP JOINT (4.5" 18.90# HYPER 2 13CR110 JFE LION PIN/PIN 6FT)                                                 EA     NEW                        1           6                    0

OES ‐ Houma   Offshore Energy Services      FE166‐1                 Rack No. HW‐R9‐L5‐A12    PUP JOINT (4.5" 18.90# 13CRS110 VAM TOP 9FT CPLG/PIN) (NOTE: CPLG IS 17#)                                   EA      NEW                        1          9                     0
OES ‐ Houma   Offshore Energy Services      FE167‐1                 Rack No. HW‐R10‐L4‐A04   PUP JOINT (4.5" 18.90# 13CRS110 JFE LION PIN/PIN 20FT)                                                      EA      NEW                        1         20                     0
OES ‐ Houma   Offshore Energy Services      FE119‐1                 Rack No. HW‐R9‐L1‐A06    PUP JOINT (5 1/2" 26# VM13CRS110 VAM TOP CPLG/PIN 4FT)                                                      EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services      FE111‐1                 Rack No. HW‐R9‐L6‐A14    PUP JOINT (5 1/2" 26# VM13CRS110 VAM TOP CPLG/PIN 6FT)                                                      EA      NEW                        1          6                     0
OES ‐ Houma   Offshore Energy Services      FE120‐1                 Rack No. HW‐R9‐L1‐A11    PUP JOINT (5 1/2" 29.70# 13CR115 HYPTYP2 VAM TOP HC 4FT)                                                    EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services      FE121‐1                  Rack No. HW‐FLOOR 2     PUP JOINT (5 1/2" 29.70# 13CR115 VAM TOP HC 4FT)                                                            EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE5240‐1                 Rack No. HW‐R10‐L2‐A07   PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                            EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services     FE5240‐2                 Rack No. HW‐R10‐L2‐A07   PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                            EA      NEW                        1          4                     0
OES ‐ Houma   Offshore Energy Services      FE172‐1                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐2                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐3                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐4                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐5                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐6                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐7                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐8                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services      FE172‐9                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐10                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐11                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐12                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐13                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐14                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐15                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐16                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐17                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE172‐18                    Rack No. RACK #4      RANGE 3 JOINT (3.5" 10.20# HP2 13CR110 TSH 511 BOX/PIN)                                                     EA      NEW                        1         40                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐1                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐2                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐3                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐4                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐5                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐6                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐7                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐8                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5060‐9                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services    FE5060‐10                 Rack No. HW‐R10‐L2‐A07   RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                              EA      NEW                        1         30                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐1                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐2                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐3                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0
OES ‐ Houma   Offshore Energy Services     FE5063‐4                 Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                           EA      NEW                        1          0                     0




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                                                                  Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 460 of 995                          Exhibit D-1 (continued)




      Facility               Facility Owner           Item Number            Serial No.               Location          Item Description                                                        Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
    OES ‐ Houma         Offshore Energy Services         FE5063‐5                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1          0                     0
    OES ‐ Houma         Offshore Energy Services         FE5063‐6                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1          0                     0
    OES ‐ Houma         Offshore Energy Services         FE5063‐7                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1          0                     0
    OES ‐ Houma         Offshore Energy Services         FE5063‐8                              Rack No. HW‐R10‐L2‐A06   RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                        EA     NEW                        1          0                     0

    OES ‐ Houma         Offshore Energy Services        FE106‐1                                Rack No. HW‐R10‐L3‐A01   RANGE JOINT (5 1/2" 29.70# 13CR115 HYPTYP2 VAM TOP HC CPLG/PIN 40FT)                                    EA      NEW                        1         40                     0

    OES ‐ Houma         Offshore Energy Services        FE106‐2                                Rack No. HW‐R10‐L3‐A01   RANGE JOINT (5 1/2" 29.70# 13CR115 HYPTYP2 VAM TOP HC CPLG/PIN 40FT)                                    EA      NEW                        1         40                     0
                                                                                                                        BAKER IWS ASSEMBLY (4.5" 17# 13CRS110 VAM TOP CPLG/CPLG BAKER GAUGE
                                                                                                                        MANDREL (13694265) X 4.5" 17# 13CRS110 VAM TOP PIN/PIN UPPER SLIDING
                                                                                                                        SLEEVE (1110285‐02) X 4.5" 17# 13CRS110 VAM TOP TIMED CPLG X 4.5" 17#
                                                                                                                        13CRS110 VAM TOP PINXPIN LOWER SLIDING SLEEVE (1110296‐02) X 4.5" 17#
     OES ‐ Houma        Offshore Energy Services          FE101‐1                              Rack No. HW‐R7‐L2‐A01    13CRS110 VAM TOP BOX BAKER QUICK CONNECT (1088638‐01)                                                   EA      NEW                        1          0                     0
     OES ‐ Houma        Offshore Energy Services          FE116‐1                               Rack No. HW‐FLOOR 2     SPLICE SUB (4 1/2" 17.00# VM13CRS110 VAM TOP)                                                           EA      NEW                        1          2                     0
     OES ‐ Houma        Offshore Energy Services          FE104‐1                              Rack No. HW‐R10‐L6‐A04   PUP JOINT (5 1/2" 26# VM13CRS110 VAM TOP HC CPLG/PIN 8FT)                                               EA      NEW                        1         24                     0
 Oil States ‐ Houston   Oil States Energy Services         12117        121824‐03, 121824‐01                            8IN 600 GLC S/N 121824‐03, 121824‐01                                                                    EA      NEW                        1                                0
 Oil States ‐ Houston   Oil States Energy Services         15170              170143‐01                                 2" 900 LRF, S/N 170143‐01                                                                               EA      NEW                        1                                0
 Oil States ‐ Houston   Oil States Energy Services         12117       121824‐03 & 121824‐01                            8IN 600 GLC S/N 121824‐03, 121824‐01                                                                    EA      NEW                        1                                0
 Oil States ‐ Houston   Oil States Energy Services        80025.01        80025.01‐0003‐01                              GA00001436 / 24"‐900 ANSI HYDROTAP ASSY W/VALVE                                                         EA      NEW                        1                                0
One Subsea ‐ Berwick            One Subsea              2035504‐02          961276650350                                ASSY, DEBRIS CAP, 18‐3/8" OD MCPAC                                                                      EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2035804‐07       4503046069‐04‐16                               ASSY, 6"‐10K S‐AX GASKET, W/ TWO DOVE                                                                   EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2124118‐01            11233630‐1                                ASSY, TREE CAP, BP TROIKA                                                                               EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2124123‐01           96101817050                                ASSY, TREE CAP SHIPPING SKID                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2124620‐01           11186675‐01                                ASSY, TEST CAP, TREE RUNNING TOOL                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2155653‐01      NS6200188076011000                              SHEAR PIN, G2 BORE PROTECTOR,TEFLON                                                                     EA      A‐NU                       6                                0
One Subsea ‐ Berwick            One Subsea              2156132‐01         9523237807220                                ASSY, COMBINATION (TREE/TREE CAP)                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2166241‐03      NS6200210363019000                              MECHANICAL SPARES, 4.375 SSR PLUG                                                                       EA      A‐NU                       4                                0
One Subsea ‐ Berwick            One Subsea              2181629‐14          111147559‐01                                ASSEMBLY, PRESSURE CAP, 6"‐10K FLOWLINE                                                                 EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea            2185425‐14‐08           1023229‐39                                GENERIC EL ROV LOOP 7S                                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2185425‐14‐08           1023229‐42                                GENERIC EL ROV LOOP 7S                                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197017‐01‐03              478                                    Surface Modem, +‐15V Version, PSK                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197017‐01‐03              503                                    Surface Modem, +‐15V Version, PSK                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197088‐13‐62          1054974‐629                                GENERIC EL ROV PARK 12S W/ INSERT                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197088‐17‐72           1047684‐50                                ROV Test Conn., El. male, fixed 7‐way                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2197088‐17‐72           1047684‐51                                ROV Test Conn., El. male, fixed 7‐way                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197091‐47      NS6200213197002000                              TRANSFORMER, 120V IN, 690V OUT / 3000VA                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197091‐47      NS6200215155038000                              TRANSFORMER, 120V IN, 690V OUT / 3000VA                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197095‐47               740                                    PCB, SOP DIPLEXER, SURFACE                                                                              EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2197095‐47               775                                    PCB, SOP DIPLEXER, SURFACE                                                                              EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2216807‐12      NS6200217027001000                              SPLIT LOAD RING, FOR 4.883" NOM RLH‐2                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2216807‐34      NS6200217027002000                              UPPER LOAD RING, 5.25 WIRELINE PLUG                                                                     EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea             222255‐01‐32      4511625379‐50‐19                               DUMMY WEIGHT (DIU REPLACEMENT)                                                                          EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223026‐73          121419730‐01                                FWEKAT ‐ SPCU 690VAC                                                                                    EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea           223026‐73‐00‐98        121418629‐01                                FWEKAT ‐ SPCU INST & COMM SPARES                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea           223026‐73‐00‐98        121458904‐01                                FWEKAT ‐ SPCU INST & COMM SPARES                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐11          121384751‐01                                FWEKAT ‐ SCM MC ‐ XT W/ ACCU                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐21          121396625‐01                                FWEKAT ‐ DIU                                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐21          121458050‐01                                FWEKAT ‐ DIU                                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223055‐21          121396627‐01                                FWEKAT ‐ DIU                                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223135‐56          121404465‐01                                PETU‐AC‐SOP‐DSL‐ODI                                                                                     EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea             223208‐93‐01         121391157‐02                                IC. CABLE FOR POWER 1200V DC TYPE 2                                                                     EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea             223208‐93‐01         121391157‐01                                IC. CABLE FOR POWER 1200V DC TYPE 2                                                                     EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223210‐21          4502118130‐1                                SCM/ SAM TRANSPORT FRAME                                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223262‐46          112896839‐01                                DUMMY SCM (Noble STMC 15‐02‐C & 15‐03‐C)                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223303‐78                1                                     Ex J.‐Box 690VAC, NEC, 3 Quads, 35mm²                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223383‐18          121366058‐01                                SOM ‐ (4HE) ‐ 3A ‐ 2x ETHERNET                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223383‐18          121478192‐03                                SOM ‐ (4HE) ‐ 3A ‐ 2x ETHERNET                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐89          121366178‐01                                MCS SERVER PC 2U                                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐89          121485344‐01                                MCS SERVER PC 2U                                                                                        EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐92          121414591‐01                                Microbox IPC 427D                                                                                       EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223388‐98           9AKCB21948                                 (LAPTOP CF‐31 / RUGGEDIZED)                                                                             EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223389‐12           9DTCC26341                                 LAPTOP PANASONIC TOUGHBOOK, CF‐54                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223389‐12           9DTCC26304                                 LAPTOP PANASONIC TOUGHBOOK, CF‐54                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea             223473‐17‐03         121391147‐01                                INTERCONNECTION CABLE ‐ PETU                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea             223473‐17‐03         121391147‐02                                INTERCONNECTION CABLE ‐ PETU                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223518‐69            158437‐001                                GENERIC: T&F PLATE FOR FREE PLATE, 11/3W                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea               223520‐62           0158389‐001                                GENERIC: T&F PLATE FOR FREE PLATE, 20/0‐                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223520‐68           0159618‐001                                FWEKAT ‐ LOGIC FREE STAB PLATE 20/0‐WAY                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               223997‐70          4502094761‐1                                INSPECTION FRAME ASSEMBLY FOR SCM                                                                       EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2244635‐11           121530442‐1                                ASSEMBLY FOR OFFSHORE, INTERNAL TREE CAP                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2248632‐02      NS6200217027003000                              CC‐SEAL, .888 OD X .640 ID X .124" C.S.                                                                 EA      A‐NU                      192                               0
One Subsea ‐ Berwick            One Subsea              2293251‐05          121370534‐01                                ASSY, INSERT, F/CC40SR SUBSEA CONTROL                                                                   EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐06      NS6200213197009000                              ANALOG INPUT, AI 8XU/I/RTD/TC ST, 16 BIT                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐06      NS6200215155022000                              ANALOG INPUT, AI 8XU/I/RTD/TC ST, 16 BIT                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐12      NS6200213197010000                              SIMATIC S7‐1500, DIGITAL INPUT MODULE,                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2361282‐12      NS6200215155024000                              SIMATIC S7‐1500, DIGITAL INPUT MODULE,                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394980‐02        4511292813‐10‐2                               ASSY, WIRELINE PLUG, 15K WP,                                                                            EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394980‐02       4511992677‐120‐1                               ASSY, WIRELINE PLUG, 15K WP,                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2394980‐02       4511992677‐110‐1                               ASSY, WIRELINE PLUG, 15K WP,                                                                            EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2394981‐02        4511992677‐90‐1                               ASSY, WIRELINE PLUG, 5.75IN NOM, 15K WP,                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394981‐02          120950817‐01                                ASSY, WIRELINE PLUG, 5.75IN NOM, 15K WP,                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2394981‐02       4512220618‐20‐01                               ASSY, WIRELINE PLUG, 5.75IN NOM, 15K WP,                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2396182‐02‐02     NS6200219039001000                              SPARES, PERIODIC 1,RECEIVED GOODS REPAIR                                                                EA      A‐NU                       3                                0
One Subsea ‐ Berwick            One Subsea            2400888‐02‐01     NS6200218966001000                              SPARES, ROUTINE, RECEIVED GOODS REPAIR                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2400889‐02‐01     NS6200207280001000                              SPARES, ROUTINE, RECEIVED GOODS REPAIR                                                                  EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea            2604283‐01‐01          121509895‐1                                ASSY, PRODUCTION SPOOLTREE, EFAT, 5‐1/8                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2605338‐01          121397669‐01                                CONVERSION ASSY, G3 SPOOLTREE, WITH EFAT                                                                EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea               263093‐01       4504320796‐01‐01                               UPPER MANDREL, WEIGHT SET TEST TOOL                                                                     EA      B‐RP                       1                                0
One Subsea ‐ Berwick            One Subsea              2711520‐86      NS6200213197011000                              SIMATIC S7‐1500, CPU 1515‐2 PN                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2711520‐86      NS6200215155042000                              SIMATIC S7‐1500, CPU 1515‐2 PN                                                                          EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2731061‐04        11511‐X15384‐06                               GASKET, RING, 18‐3/4 VETCO TYPE ' VX‐2'                                                                 EA      A‐NU                       1                                0
One Subsea ‐ Berwick            One Subsea              2731384‐01         4501291492‐3‐1                               4.767" Tubing Hanger Upper Plug 'HH' tri                                                                EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea            2731384‐02‐01       4504261958‐01‐1                               ASSY, WIRELINE PLUG, UPPER, 4.767 IN                                                                    EA      C‐UR                       1                                0
One Subsea ‐ Berwick            One Subsea              2731385‐01         4504093961‐2‐3                               OBSOLETED & SUPERSEDED BY 2731385‐01‐01                                                                 EA      C‐UR                       1                                0




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      Facility         Facility Owner    Item Number           Serial No.      Location   Item Description                                                          Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
One Subsea ‐ Berwick    One Subsea        2748033‐01        45353783‐01‐01                WIRELINE PLUG, 5.25" DIA, METAL AND                                                                           EA     C‐UR                       1                                0
One Subsea ‐ Berwick    One Subsea        2748158‐01      NS6200210698001000              SPECIAL, BUTTON HD HEX SOC SCREW                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2762726‐05      NS6200213197005000              DISCONT. (LIGHT, UNIVERSAL, 18 W, 230 V)                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2762726‐05      NS6200215155032000              DISCONT. (LIGHT, UNIVERSAL, 18 W, 230 V)                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2788005‐01      NS6200218894001000              MACHINED 'S' SEAL, 8.125" BORE, W/ GROOV                                                                      EA     A‐NU                      18                                0
One Subsea ‐ Berwick    One Subsea        2826264‐02      NS6200213197012000              DIGITAL OUTPUT, DQ 16x 230V AC/2A ST                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        2826264‐02      NS6200215155023000              DIGITAL OUTPUT, DQ 16x 230V AC/2A ST                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619044‐01‐08‐09   NS6200202061002000              SPARE FILTER MAT, 289 x 289 x 17 mm                                                                           EA     A‐NU                       2                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐62     NS6200213197006000              AC CURRENT TRANSMITTER, CT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐62     NS6200215155031000              AC CURRENT TRANSMITTER, CT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐64     NS6200213197013000              AC VOLTAGE TRANSMITTER, VT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619082‐01‐64     NS6200215155030000              AC VOLTAGE TRANSMITTER, VT500                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619088‐10‐11‐03   NS6200213197014000              SOCKET, RAIL MOUNTABLE, 125 V AC, USA                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619088‐10‐11‐03   NS6200215155034000              SOCKET, RAIL MOUNTABLE, 125 V AC, USA                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐12‐17     NS6200213197015000              SPEED CONTROL, +20°C / +55°C, 230 V                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐12‐17     NS6200215155033000              SPEED CONTROL, +20°C / +55°C, 230 V                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐28‐10     NS6200213197016000              SWITCH, FLUSH MOUNTING, 63 A, 37 KW                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619089‐28‐10     NS6200215155041000              SWITCH, FLUSH MOUNTING, 63 A, 37 KW                                                                           EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619091‐01‐50‐10   NS6200213197017000              POWER SUPPLY UNIT, TRIO, 24 V DC, 10 A                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619091‐01‐50‐10   NS6200215155035000              POWER SUPPLY UNIT, TRIO, 24 V DC, 10 A                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619091‐02‐49     NS6200213197018000              COIL, INDUCTANCE, 30 MH; MAX 4A                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619091‐02‐49     NS6200215155040000              COIL, INDUCTANCE, 30 MH; MAX 4A                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐41‐06   NS6200213041001000              CIRCUIT BREAKER, C, 6 A, 2 NO                                                                                 EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐41‐10   NS6200213041002000              CIRCUIT BREAKER, C, 10 A, 2 NO                                                                                EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐41‐50   NS6200213041003000              CIRCUIT BREAKER, C, 50 A, 2 NO                                                                                EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐01‐45‐16   NS6200213041004000              CIRCUIT BREAKER, C, 16 A, 2 NO, UL                                                                            EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619092‐05‐04     NS6200213041005000              AUX. SWITCH FOR CIRCUIT BREAKER                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619092‐05‐04     NS6200215155020000              AUX. SWITCH FOR CIRCUIT BREAKER                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐14‐14‐02   NS6200213041006000              FUSE GLASS‐TUBE                                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619092‐14‐16‐02   NS6200213041007000              FUSE, GLASS, TUBE 1A MIDDLE                                                                                   EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619092‐22‐01     NS6200202061001000              FUSE, 22 x 58, gLB, 400 V DC, 63 A                                                                            EA     A‐NU                       4                                0
One Subsea ‐ Berwick    One Subsea       619093‐08‐03     NS6200213199001000              TEMPERATURE SENSOR, PT100                                                                                     EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619093‐08‐03     NS6200215155029000              TEMPERATURE SENSOR, PT100                                                                                     EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐02‐22     NS6200213199002000              POWER SUPPLY, S7‐1500, 24 V, 1.3 A                                                                            EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐02‐22     NS6200215155043000              POWER SUPPLY, S7‐1500, 24 V, 1.3 A                                                                            EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐34‐01   NS6200213199003000              AUTO‐CONFIGURATION ADAPTER, ACA 21‐USB                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐34‐01   NS6200215155026000              AUTO‐CONFIGURATION ADAPTER, ACA 21‐USB                                                                        EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐42‐03   NS6200213199004000              FAST ETHERNET SWITCH, MANAGED, 16 PORTS                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐42‐03   NS6200215155027000              FAST ETHERNET SWITCH, MANAGED, 16 PORTS                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐63‐01   NS6200213199005000              IND. FIREWALL/SECURITY‐ROUTER, EAGLEOne                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea      619095‐11‐63‐01   NS6200215155025000              IND. FIREWALL/SECURITY‐ROUTER, EAGLEOne                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐63‐25     NS6200213199006000              17" FHD RACKMOUNT DISPLAY PANEL, RP‐F617                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐63‐25     NS6200215155018000              17" FHD RACKMOUNT DISPLAY PANEL, RP‐F617                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐67‐28     NS6200213199007000              Server, LANTIME M600/MRS, 100‐240 VAC                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐67‐28     NS6200215155019000              Server, LANTIME M600/MRS, 100‐240 VAC                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐69‐02     NS6200213199008000              IEC CONNECTOR, PX0588, 240 V AC                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐69‐02     NS6200215155021000              IEC CONNECTOR, PX0588, 240 V AC                                                                               EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐70‐11     NS6200213199009000              KEYBOARD, TKS‐088C‐TOUCH‐SCHUBL‐PS/2‐US                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐70‐11     NS6200215155017000              KEYBOARD, TKS‐088C‐TOUCH‐SCHUBL‐PS/2‐US                                                                       EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       619095‐77‐04     NS6200212648001000              GRAPHIC CARD, MATROX C680‐E4GBF, 4 GB                                                                         EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619097‐31      NS6200213199010000              REDUD. MODULE QUINT‐ORING/24DC/2X10/1X20                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619097‐31      NS6200215155036000              REDUD. MODULE QUINT‐ORING/24DC/2X10/1X20                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619098‐17      NS6200213199011000              CAPACITOR, FILM, 1000V AC, 2400V DC, 1µF                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         619098‐17      NS6200215155039000              CAPACITOR, FILM, 1000V AC, 2400V DC, 1µF                                                                      EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       702647‐20‐61     NS6200218893001000              O RING, SIZE AS‐568‐206 .484 ID X                                                                             EA     A‐NU                      78                                0
One Subsea ‐ Berwick    One Subsea         77004494       NS6200213199012000              ROOF MOUNTED CABINET EXHAUST FAN                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         77004494       NS6200215155028000              ROOF MOUNTED CABINET EXHAUST FAN                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         77006739       NS6200213199013000              KVM OVER IP SWITCH, DKX3‐108, 8‐PORT                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea         77006739       NS6200215155037000              KVM OVER IP SWITCH, DKX3‐108, 8‐PORT                                                                          EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea        7K‐9034872      NS6200213199014000              S7‐1X00 FLASH MEMORY CARD, 12 MB                                                                              EA     A‐NU                       1                                0
One Subsea ‐ Berwick    One Subsea       CM‐018106‐15          123658‐1                   MQC, PLATE ASSY, IWOCS, REM 12 WAY/ LINE                                                                      EA     C‐UR                       1                                0
                                                                                          SIMULATOR;MFR:PROSERV,PN:1191‐05,TYP GENERATION 3 GAUGE,EQ                                 MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71606.A                                        MODEL:PTG750                                                                 140528          LONG LEAD       EA                                 1                        10000
                                                                                          FRAME;MFR:PROSERV,PN:065419,TYP SHIPPING,APPLI SUBSEA CONTROL                              MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71612.A                                        MODULE; NOBLE GUNFLINT                                                       140528          LONG LEAD       EA                                 2                        20000
                                                                                          COMPUTER;MFR: HP,TYP MONITOR,RTNG N/A,DISPLAY ELITE LCD,SPEC SIZE: 23                      MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71574.A                                        IN                                                                           140528          LONG LEAD       EA                                 1                         399.3

                                                                                          CABLE;MFR: GISMA,TYP OCH SEM TEST,CONDCTR DIA N/A,CONDCTR QTY                              MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71573.A                                        N/A,VOLT N/A,TERM TYP (61) PIN,SPEC W/ PIG TAILS, CONNECTION TYPE: MALE      140528          LONG LEAD       EA                                 1                         2500
                                                                                          CONNECTOR;MFR: TEST‐TRONIC,TYP TEST,DIM N/A,CONN 1 TYP FEMALE,MATL                         MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71575.A                                        N/A,MATL GR N/A,SPEC TERMINAL TYPE: (12) PIN                                 140528          LONG LEAD       EA                                 1                         2000
                                                                                                                                                                                     MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71604.A                                        SIMULATOR;MFR:PROSERV,PN:033794MFR: SKOFLO                                   140528          LONG LEAD       EA                                 1                         7500
                                                                                          CONNECTOR;MFR:PROSERV,PN:094788,TYP TEST,APPLI UPC TOP ASSEMBLY,EQ                         MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71610.A                                        MODEL:HYDRALIGHT 8FOSM                                                       140528          LONG LEAD       EA                                 2                        36167
                                                                                          VALVE, RELIEF;MFR:PROSERV,PN:008701,PRESS RANGE 2.5‐25000 PSI,SPCL                         MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71617.A                                        FEATRS POWER: 1/4 HP                                                         140528          LONG LEAD       EA                                 6                        411.38
                                                                                          KIT;MFR:PROSERV,PN:094966,TYP PRECHARGE,COMPRISING NITROGEN BOOSTER,
                                                                                          13500 PSI, MANUAL CHARGING PRESSURE SELECTOR, AIR PILOT SHUTDOWN                           MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71614.A                                        SWITCHES, CARBON STEEL OPEN SKID ON ROLL DOLLY                               140528          LONG LEAD       EA                                 1                        10000
                                                                                          KIT;MFR:PROSERV,PN:098953,TYP PRECHARGE,COMPRISING NITROGEN BOOSTER,
                                                                                          4500 PSI MANUAL CHARGING PRESSURE SELECTOR, AIR PILOT SHUTDOWN                             MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71615.A                                        SWITCHES, CARBON STEEL OPEN SKID ON ROLL DOLLY                               140528          LONG LEAD       EA                                 1                        10000
                                                                                          PUMP;MFR:PROSERV,PN:077835,STG QTY 6,FLW RATE 5 GAL/MIN,INLT SZ 1‐1/4
                                                                                          IN,INLET CONN TYP RF FLANGE,OUTLT SZ 1‐1/4 IN,OUTLT CONN TYP RF                            MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          71616.A                                        FLANGE,OPRTG PRESS 70 PSI,DRVR MOTOR                                         140528          LONG LEAD       EA                                 1                         5642
                                                                                          BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB037‐000,TYP MINI,AMP 10,POLES                       MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          72271.A                                        2P,SPCL FEATRS TRIP CHARACTERISTICS: C                                       140528          LONG LEAD       EA                                 2                         44.08
                                                                                          BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐RCB001‐000,TYP RESIDUAL                                MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          72296.A                                        CURRENT,AMP 6,POLES 2P,SPCL FEATRS TRIP CHARACTERISTICS: C, 1P+ N            140528          LONG LEAD       EA                                 2                        141.98
                                                                                          BREAKER, CIRCUIT;MFR:PROSERV,PN:044827,TYP MINI,AMP 16,POLES 2P,SPCL                       MC 948 GUNFLINT
 Proserve ‐ Houston      Proserve          72307.A                                        FEATRS TRIP CHARACTERISTICS: D                                               140528          LONG LEAD       EA                                 2                         52.04




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     Facility        Facility Owner   Item Number     Serial No.   Location   Item Description                                                          Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value   WI% Net Value
                                                                              BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB026‐000,TYP MINI,AMP 4,POLES                        MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72317.A                               2P,SPCL FEATRS TRIP CHARACTERISTICS: C                                       140528          LONG LEAD       EA                                 2                         47.64

                                                                              CONTACT, AUXILIARY;MFR:PROSERV,PN:ABB‐AC006‐000MFR: ABB,CNTCT                              MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72328.A                               ARNGEMNT 1NO‐1NC,SPEC SIDE MOUNT,APPLI S200 MINI CIRCUIT BREAKER             140528          LONG LEAD       EA                                 2                         25.96
                                                                              FUSE, CARTRIDGE;MFR:PROSERV,PN:MIS‐ELE290‐000,AMP 1,MATL GLASS,DIM DIA                     MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72333.A                               5 X LG 20 mm,SPEC T LBC,TYP ANTI SURGE,PCKG QTY 10                           140528          LONG LEAD       EA                                 2                           1.3
                                                                              BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB038‐000,TYP MINI,AMP 1,POLES                        MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72275.A                               2P,SPCL FEATRS TRIP CHARACTERISTICS: C                                       140528          LONG LEAD       EA                                 3                          51.2
                                                                              BREAKER, CIRCUIT;MFR:PROSERV,PN:ABB‐MCB022‐000,TYP MINI,AMP 2,VOLT
                                                                              400,POLES 2P,WD 35 mm,LG 88 mm,SPCL FEATRS 0.250 KG, DP: 69 MM,                            MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72285.A                               ENCLOSURE: IP20, TRIP CHARACTERISTICS: C                                     140528          LONG LEAD       EA                                 3                         54.34
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         71613.A                               UNIT;MFR:PROSERV,PN:065405,TYP ELECTRICAL POWER,SPCL FEATRS QTY: 5/BOX       140528          LONG LEAD       EA                                 1                        49231
                                                                              VALVE, BALL;MFR:PROSERV,PN:070578,CONN 1 SZ 1/2 IN,CONN 1 TYP FNPT,CL                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         62440.A                               10000 PSI,STYL 2‐WAY                                                         140528          LONG LEAD       EA                                 1                          49.7
                                                                              VALVE, RELIEF;MFR:PROSERV,PN:082577,CONN SZ 1/2 IN,CONN TYP FNPT,PRESS                     MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72305.A                               RANGE 10000 PSI,MN:RL50N                                                     140528          LONG LEAD       EA                                 1                        620.12

                                                                              VALVE, RELIEF;MFR:PROSERV,PN:P000255,CONN SZ 3/8 X 3/8 IN,CONN TYP MP X
                                                                              FNPT,PRESS RANGE 20000 PSI,SET PRESS 16.5K PSI,BDY MATL SS,MATL GR                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72306.A                               316,SFTGDS SEAL: BUNA N,SPCL FEATRS ADJUSTABLE (INTERNAL),MN:RL37            140528          LONG LEAD       EA                                 1                        411.38
                                                                              GAUGE, PRESSURE;MFR:PROSERV,PN:082557,PRESS RANGE 10000 PSI,DIAL SZ 2.5
                                                                              IN,CONN SZ 1/4 IN,CONN TYP MNPT,CONN LCTN LOWER BACK,MNTG FCLTY
                                                                              PANEL,CASE MATL SS 316,FILLED GLYCERINE,SPCL FEATRS BUILT‐IN SNUBBER,                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72308.A                               BLOWOUT BACK                                                                 140528          LONG LEAD       EA                                 1                        166.02
                                                                              GAUGE, PRESSURE;MFR:PROSERV,PN:082562,PRESS RANGE 10000 PSI,DIAL SZ 4
                                                                              IN,CONN SZ 1/4 IN,CONN TYP MALE NPT,CONN LCTN LOWER BACK,MNTG FCLTY
                                                                              PANEL,CASE MATL SS 316,FILLED GLYCERINE,SPCL FEATRS BUILT‐IN SNUBBER,                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72309.A                               BLOWOUT BACK                                                                 140528          LONG LEAD       EA                                 1                        271.76

                                                                              GAUGE, PRESSURE;MFR:PROSERV,PN:082564,PRESS RANGE 30000 PSI,DIAL SZ 4
                                                                              IN,CONN SZ 1/4 IN,CONN TYP FEMALE HP,CONN LCTN LOWER BACK,MNTG FCLTY                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72310.A                               PANEL,CASE MATL SS 316,FILLED GLYCERINE,SPCL FEATRS BLOWOUT BACK             140528          LONG LEAD       EA                                 1                        424.08
                                                                              TRANSMITTER, PRESSURE;MFR:PROSERV,PN:081604,RANGE 330‐10000 PSI,O/P 4‐
                                                                              20 mA,CONN SZ 1/4 IN,CONN TYP FEMALE NPT,DIAPH MATL SS 316,ELEC CONN                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72311.A                               1/2 IN MALE NPT,SPCL FEATRS FM APPROVAL EXP                                  140528          LONG LEAD       EA                                 1                       3290.36
                                                                              TRANSMITTER, PRESSURE;MFR:PROSERV,PN:ROS‐PT142‐000,RANGE 660‐20000
                                                                              PSI,O/P 4‐20 mA,CONN SZ 1/4 IN,CONN TYP FEMALE NPT,DIAPH MATL SS                           MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72312.A                               316,ELEC CONN 1/2 IN MALE NPT,SPCL FEATRS EXP                                140528          LONG LEAD       EA                                 1                       4057.44
                                                                              VALVE, BALL;MFR:PROSERV,PN:081862,OPRTD LOCKING HANDLE,CONN 1 SZ 1
                                                                              IN,CONN 1 TYP FEMALE NPT,BDY MATL SS,MATL GR 316,STYL 2 WAY,SFTGDS                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72313.A                               SEAL: PTFE,SPCL FEATRS PRESSURE: 6000 PSI                                    140528          LONG LEAD       EA                                 1                         1220
                                                                              VALVE, BALL;MFR:PROSERV,PN:P000263,CONN 1 SZ 3/8 IN,CONN 1 TYP FEMALE
                                                                              MP,BDY MATL SS,MATL GR 316,STYL 2 WAY,SFTGDS SEAL: BUNA,SPCL FEATRS                        MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72314.A                               PRESSURE: 20000 PSI                                                          140528          LONG LEAD       EA                                 2                        953.82

                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:076589,CONN 1 SZ 1/4 IN,CONN 1 TYP FEMALE                     MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72315.A                               NPT,DSGN RTNG 10000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL: PTFE                140528          LONG LEAD       EA                                 2                           175
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:081602,CONN 1 SZ 1/4 IN,CONN 1 TYP FEMALE
                                                                              NPT,DSGN RTNG 10000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL: PTFE,SPCL                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72316.A                               FEATRS PANEL MOUNT                                                           140528          LONG LEAD       EA                                 1                           358
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:P003027,CONN 1 SZ 1/4 IN,CONN 1 TYP
                                                                              FEMALE MP,DSGN RTNG 20000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL:                             MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72318.A                               TEFLON,SPCL FEATRS V STEM                                                    140528          LONG LEAD       EA                                 2                        241.26
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:NV0504F02M5V10K,TYP DOUBLE BLOCK AND
                                                                              BLEED,CONN 1 SZ 1/4,CONN 1 TYP FEMALE MP,DSGN RTNG 10000 PSI,MATL                          MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72319.A                               SS,MATL GR 316,SFTGDS VITON ELASTOMER                                        140528          LONG LEAD       EA                                 1                           248
                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:082374,TYP DOUBLE BLOCK AND BLEED,
                                                                              BALL,CONN 1 SZ 1/2 IN,CONN 1 TYP FEMALE NPT,CONN 2 SZ 1/4 IN,CONN 2 TYP
                                                                              FEMALE NPT VENT,DSGN RTNG 10000 PSI,MATL SS,MATL GR 316,SFTGDS SEAL:                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72320.A                               VITON                                                                        140528          LONG LEAD       EA                                 1                        239.64

                                                                              VALVE, NEEDLE;MFR:PROSERV,PN:082443,TYP DOUBLE BLOCK AND BLEED,CONN
                                                                              1 SZ 1/4 IN,CONN 1 TYP FEMALE MP,CONN 2 SZ 1/4 IN,CONN 2 TYP FEMALE NPT                    MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72321.A                               (VENT),DSGN RTNG 15000 PSI,MATL SS,MATL GR 316,SFTGDS VITON ELASTOMER        140528          LONG LEAD       EA                                 1                        438.66
                                                                              VALVE, BALL;MFR:PROSERV,PN:P003028,CONN 1 SZ 1/4 IN,CONN 1 TYP FEMALE
                                                                              MP,BDY MATL SS,MATL GR 316,STYL 2 WAY,SFTGDS SEAL: VITON,SPCL FEATRS                       MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72322.A                               PRESSURE: 20000 PSI                                                          140528          LONG LEAD       EA                                 1                        654.68

                                                                              FILTER, ELEMENT;MFR:PROSERV,PN:090650,PN:080236,FLTRNG RETN 3                              MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72323.A                               MIC,FLTRNG MATL SS 316,SEAL MATL VITON,DIM 60 mm,PRESS RTNG 6500 PSI         140528          LONG LEAD       EA                                 1                           232

                                                                              FILTER, ELEMENT;MFR:PROSERV,PN:090654,PN:080816,FLTRNG RETN 10                             MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72324.A                               MIC,FLTRNG MATL SS 316,SEAL MATL VITON,DIM 30 mm,PRESS RTNG 6500 PSI         140528          LONG LEAD       EA                                 1                         245.1

                                                                              FILTER, ELEMENT;MFR:PROSERV,PN:090655,PN:080833,FLTRNG RETN 10                             MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72325.A                               MIC,FLTRNG MATL SS 316,SEAL MATL VITON,DIM 60 mm,PRESS RTNG 15000 PSI        140528          LONG LEAD       EA                                 1                         416.1
                                                                              KIT, REPAIR;MFR:PROSERV,PN:107553,PN:077832,APPLI BLADDER ACCUMULATOR                      MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72326.A                               (PRESSURE: 5000 PSI),REF:15 USG                                              140528          LONG LEAD       EA                                 1                           860
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72327.A                               FUSE;MFR:PROSERV,PN:075350,CL CC,AMP 1/8,VOLT 600 VDC                        140528          LONG LEAD       EA                                 5                          23.9
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72329.A                               FUSE;MFR:PROSERV,PN:075404,CL CC,AMP 1,VOLT 600 VDC                          140528          LONG LEAD       EA                                 5                         18.68
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72330.A                               FUSE;MFR:PROSERV,PN:060331,CL CC,AMP 2,VOLT 600 VDC                          140528          LONG LEAD       EA                                 5                        458.16
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72332.A                               FUSE;MFR:PROSERV,PN:075806,CL CC,AMP 1/2,VOLT 600 VDC                        140528          LONG LEAD       EA                                 5                           5.7
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         72331.A                               FUSE;MFR:PROSERV,PN:078613,CL CC,AMP 10,VOLT 600 VDC                         140528          LONG LEAD       EA                                 5                         19.72
                                                                                                                                                                         MC 948 GUNFLINT
Proserve ‐ Houston     Proserve         71601.A                               PLATE;MFR:PROSERV,PN:079441,APPLI WELDMENT; SCMMB DEBRIS COVER               140528          LONG LEAD       EA                                 1                         2500




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     Facility             Facility Owner        Item Number     Serial No.   Location   Item Description                                                            Project Number     Project Name    UOM   Condition   Wt. (lbs)          On Hand Qty            Length   Average Cost       Total Value   WI% Net Value
                                                                                        COMPUTER, PERSONAL;MFR:PROSERV,PN:090600,TYP WORKSTATION,DATA STRG
                                                                                        CPCTY RAM 4 GB,HRD DRV 1 TB,OPTIONAL EXTRAS WIN 7 PROF,MFR:HP,MN:Z230                        MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72302.A                               TOWER,REF:15                                                                   140528          LONG LEAD       EA                                         1                                297.66
                                                                                        MONITOR, VIDEO;MFR:PROSERV,PN:090602MFR: HP,SZ 23 IN,SPEC DISPLAY TYPE:                      MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72304.A                               LED ELITE                                                                      140528          LONG LEAD       EA                                         1                                311.91
                                                                                        CARD, ELECTRONIC;MFR:PROSERV,PN:090601,TYP GRAPHICS,APPLI 2 GB,MN:HP                         MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72645.A                               NVIDIA NVS 510                                                                 140528          LONG LEAD       EA                                         1                                159.43
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72272.A                               DIODE;MFR:PROSERV,PN:ALB‐TEDI0‐000,TYP FORWARD BIAS TERMINAL                   140528          LONG LEAD       EA                                         1                                  11.7
                                                                                        SWITCH, NETWORK;MFR:PROSERV,PN:060330,PORT QTY (2) COPPER, (1)                               MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72273.A                               FIBER,MN:ETAP                                                                  140528          LONG LEAD       EA                                         1                                392.22
                                                                                        SWITCH, NETWORK;MFR:PROSERV,PN:ROU‐HUB8X‐000,TYP ETHERNET,
                                                                                        UNMANAGED,PORT QTY 8,VOLT 9.6‐32 VDC,DIM WD 40 X HT 114 X DP 79                              MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72274.A                               mm,SPCL FEATRS ENCLOSURE: IP30, 10/100TX, 177G                                 140528          LONG LEAD       EA                                         1                                207.06
                                                                                        TRANSMITTER, TEMPERATURE;MFR:PROSERV,PN:PRE‐TMP001‐000,TYP 2 WIRE,
                                                                                        ROOM,RANGE 0‐70 DEG C,O/P 4‐20 mA,SUPPLY 8‐35 VDC,SPCL FEATRS 95G,                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72276.A                               ENCLOSURE: IP30, DIMENSIONS: WD 121 X HT 70 X DP 25 MM                         140528          LONG LEAD       EA                                         1                                298.94
                                                                                        RELAY;MFR:PROSERV,PN:044871,COIL VOLT 24 VDC,CNTCT ARNGEMNT 1CO,SPEC
                                                                                        POLE QTY: 2P, POLARITY, FREE WHEELING DIODE, LED, MANUAL OVERRIDE, USE                       MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72277.A                               WITH BASE REL‐RB004‐000 (VPN S‐12)                                             140528          LONG LEAD       EA                                         2                                 19.26
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72278.A                               BASE, RELAY;MFR:PROSERV,PN:044865,EQ MODEL:SERIES C12                          140528          LONG LEAD       EA                                         2                                  8.26
                                                                                        FILTER;MFR:PROSERV,PN:RIT‐PL004‐010,TYP ASSEMBLY,APPLI BASE PLINTH (800                      MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72279.A                               MM)                                                                            140528          LONG LEAD       EA                                         1                                 41.06
                                                                                        FAN, ELECTRIC;MFR:PROSERV,PN:069274MFR: RITTAL,AIR FLW CPCTY 800
                                                                                        m3/h,VOLT 115,WATT 170/225,AMP 1.5/2.2,HZ 50/60,MNTG FCLTY ROOF,SPCL
                                                                                        FEATRS TEMPERATURE: 10‐50 DEG C, WD 550 X HT 125 X DP 370 MM,APPLI TS                        MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72280.A                               TYPE CABINETS                                                                  140528          LONG LEAD       EA                                         1                                532.34
                                                                                        THERMOSTAT;MFR:PROSERV,PN:RIT‐ELE018‐000MFR: SK,TYP INTERNAL
                                                                                        ENCLOSURE,TEMP RNGE 5‐60 DEG C,VOLT 230/115/60/48/24 VAC, 60/48/24                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72281.A                               VDC,SPCL FEATRS 105G, WD 71 X HT 71 X DP 33.5 MM                               140528          LONG LEAD       EA                                         1                                 36.52
                                                                                        LIGHT;MFR:PROSERV,PN:MIS‐ELE330‐000,TYP UNIVERSAL,SPEC MOUNTING:                             MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72282.A                               PANEL                                                                          140528          LONG LEAD       EA                                         1                                236.88

                                                                                        POWER SUPPLY;MFR:PROSERV,PN:RSC‐ELE005‐000,TYP SWITCH MODE,I/P VOLT
                                                                                        230 VAC,O/P VOLT 24‐28 VDC,POWER RTG 360,DIM WD 80 X LG 125 X DP 125                         MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72283.A                               mm,MNTG FCLTY DIN RAIL,SPEC 1.1 KG, REMOTE ON/OFF AND DC OK OPTIONS            140528          LONG LEAD       EA                                         1                                371.26
                                                                                        BLOCK, TERMINAL;MFR:PROSERV,PN:WDM‐TB053‐000,TYP DOUBLE HIGH, FEED                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72284.A                               THROUGH,CLR BEIGE,MN:WDK2.5                                                    140528          LONG LEAD       EA                                         5                                  6.16
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72286.A                               BLOCK, TERMINAL;MFR:PROSERV,PN:WDM‐TE006‐000,MN:WDU4                           140528          LONG LEAD       EA                                         1                                   216
                                                                                        MODULE;MFR:PROSERV,PN:ALB‐CM013‐000MFR: CONTROLLOGIX,TYP                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72287.A                               REDUNDANCY,SPCL FEATRS 0.29 KG, 1 SLOT WIDTH                                   140528          LONG LEAD       EA                                         1                               2931.16
                                                                                        CABLE;MFR:PROSERV,PN:ALB‐CM014‐000MFR: CONTROLLOGIX,TYP                                      MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72288.A                               REDUNDACY,LG 1 m,SPEC USE WITH 1756‐RM REDUNDANCY MODULES                      140528          LONG LEAD       EA                                         1                                 98.02
                                                                                        CARD, ELECTRONIC;MFR:PROSERV,PN:PC40‐30134‐00,TYP ETHERNET,APPLI                             MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72289.A                               PLC,MN:EN2T                                                                    140528          LONG LEAD       EA                                         1                                5116.6
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72290.A                               MODULE;MFR:PROSERV,PN:ALB‐EI121‐000,TYP DUAL ETHERNET                          140528          LONG LEAD       EA                                         1                               1782.32
                                                                                        PROCESSOR;MFR:PROSERV,PN:ALB‐EI127‐000,MEMORY 8 MB,SPCL FEATRS
                                                                                        COMMUNICATIONS X1 USB, 0.25KG, 1 SLOT                                                        MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72291.A                               WIDTH,MFR:CONTROLLOGIX,MN:5573                                                 140528          LONG LEAD       EA                                         1                               6635.36

                                                                                        POWER SUPPLY;MFR:PROSERV,PN:ALB‐PO006‐000MFR: CONTROLLOGIX,I/P VOLT                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72292.A                               120/220 VAC,O/P VOLT 5‐24 VDC,O/P CURRENT 2.8‐10 A,POWER RTG 75 W              140528          LONG LEAD       EA                                         1                                538.98
                                                                                        CONVERTER, SIGNAL;MFR:PROSERV,PN:AMP‐IS003‐000MFR: DIGI ONE,TYP IAP
                                                                                        ETHERNET/SERIAL,I/P 9‐30 VDC,O/P 0.5 A,SPEC 64G, WD 23 X LG 120 X DP 101                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72293.A                               mm                                                                             140528          LONG LEAD       EA                                         1                                734.52
                                                                                        MODULE, COMMUNICATION;MFR:PROSERV,PN:ALB‐EI094‐000,TYP (32) WAY
                                                                                        DI,I/P 24 VDC,SPCL FEATRS WD 94 X HT 94 X DP 69 MM,APPLI TB32/TB32S                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72294.A                               TERMINAL BASE,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                    140528          LONG LEAD       EA                                         1                                291.42
                                                                                        MODULE, COMMUNICATION;MFR:PROSERV,PN:ALB‐EI095‐000,TYP (32) WAY
                                                                                        DO,I/P 24 VDC,SPCL FEATRS WD 94 X HT 94 X DP 69 MM,APPLI TB32/TB32S                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72295.A                               TERMINAL BASE,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                    140528          LONG LEAD       EA                                         1                                328.76
                                                                                        MODULE, COMMUNICATION;MFR:PROSERV,PN:ALB‐EI096‐000,TYP (8) WAY AI,I/P
                                                                                        24 VDC,APPLI TB2/TB3/TB3S/TB3T/TB3TS TERMINAL                                                MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72297.A                               BASE,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                             140528          LONG LEAD       EA                                         1                                 569.6
                                                                                        MODULE;MFR:PROSERV,PN:ALB‐EI122‐000,ETHERNET/IP,24 VDC,SPCL FEATRS                           MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72298.A                               QTY: 8,ADAPTOR,BRAND:FLEXLOGIX,BRAND:UNKNOWN                                   140528          LONG LEAD       EA                                         1                                408.24
                                                                                        21.5" TOUCHSCREEN, MONITOR PANEL MOUNT. FPM‐7211W‐P3AE, PROSERV AX
Proserve ‐ Houston          Proserve              72299.A                               PN :055044                                                                                                     EA                                         1                                        0
                                                                                        COMPUTER, PERSONAL;MFR:PROSERV,PN:079233,MEMORY 8 GB,PROCSR CHIP
                                                                                        TYP INTEL XEON,OPTIONAL EXTRAS 1UI, RACK MOUNT, WINDOWS SERVER 2012,
                                                                                        POWER: 250 W, ,1600MHZ,500GB SATA 3.5‐IN 7.2K RPM HARD DRIVE,2 X NIC RJ45                    MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72300.A                               ETHERNET PORTS,REF:E3‐1270 V3                                                  140528          LONG LEAD       EA                                         1                               4505.26
                                                                                        KEYBOARD;MFR:PROSERV,PN:RSC‐KB002‐000,TYP MICRO,CLR IVORY,WD 292,LG                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72301.A                               1.5 m,CNCTR TYP USB,SPEC HT 30 X DP 161 MM, TRACK BALL                         140528          LONG LEAD       EA                                         1                                 122.1

                                                                                        CONTACT, AUXILIARY;MFR:PROSERV,PN:054592,CNTCT ARNGEMNT 1NO,SPEC                             MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              72334.A                               BOTTOM FITTED, ON/OFF SIGNAL,APPLI S200 MINI CIRCUIT BREAKER                   140528          LONG LEAD       EA                                         3                                 30.52

                                                                                        ASSEMBLY;P004544 MFR:PROSERV,PN:065417,TYP DUMMY SCMMB FLUSHING                              MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71605.A                               PLATE,COMPRISING HOSE AND FITTINGS, SHIPPING FRAME AND RUNNING TOOL            140528          LONG LEAD       EA                                         1                               132308
                                                                                        STATION;MFR:PROSERV,PN:075687,TYP TEST MASTER CONTROL,SPCL FEATRS                            MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71602.A                               1EPU, 1TCPU, SINGLE PLC, W/ TEST LAPTOP,APPLI GUNFLINT                         140528          LONG LEAD       EA                            2 / One at Fieldwood Office                  101685
                                                                                                                                                                                     MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71611.A                               HUB;MFR:PROSERV,PN:045367,TYP OPEN COMMUNICATION                               140528          LONG LEAD       EA                                         1                               593725
                                                                                        MODULE;MFR:PROSERV,PN:065403,TYP SUBSEA CONTROL,SPCL FEATRS 26                               MC 948 GUNFLINT
Proserve ‐ Houston          Proserve              71599.A                               FUNCTION,APPLI NOBLE GUNFLINT,REF:SCM‐002                                      140528          LONG LEAD       EA                                         1                               728462
                                                                                        STAND;MFR:PROSERV,PN:065416,TYP TEST,SPCL FEATRS 26 FUNCTION, YIELD                          MC 948 GUNFLINT
Proserve ‐ Houston          Proserve               71600.A                              STRENGTH: 15/5 KSI,APPLI SUBSEA CONTROL MODULE                                 140528          LONG LEAD       EA                                         1                               121538
Superior ‐ Houston   Superior Energy Services   TLS‐002928‐10   CS 2654      Storage                                                                                                   EW 826 A19      EA                                         1                                  795
Superior ‐ Houston   Superior Energy Services   TLD‐002360‐35   CS 2645      Storage                                                                                                   GC 200 TA9      EA                                         1                               3494.4
Superior ‐ Houston   Superior Energy Services   TLD‐002385‐6    CS 2638      Storage                                                                                                   GC 200 TA3      EA                                         1                               3494.4




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      Facility             Facility Owner           Item Number    Serial No.   Location   Item Description                             Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Houston     Superior Energy Services    TLD‐002385‐8     CS 2639      Storage                                                                  GC 200 TA3     EA                                1                        3812.9
Superior ‐ Houston     Superior Energy Services    TLD‐002385‐7     CS 2640      Storage                                                                  GC 200 TA3     EA                                1                        3812.9
Superior ‐ Houston     Superior Energy Services   TLD‐002385‐13     CS 2641      Storage                                                                  GC 200 TA3     EA                                1                        3812.9
Superior ‐ Houston     Superior Energy Services   TLD‐002385‐14     CS 2642      Storage                                                                  GC 200 TA3     EA                                1                        4131.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐32     CS 2643      Storage                                                                  GC 200 TA9     EA                                1                        3494.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐33     CS 2644      Storage                                                                  GC 200 TA9     EA                                1                        4131.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐36     CS 2646      Storage                                                                  GC 200 TA9     EA                                1                        4131.4
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐41     CS 2600      Storage                                                                  GC 200 TA9     EA                                1                        9618.7
Superior ‐ Houston     Superior Energy Services   TLD‐002360‐42     CS 2601      Storage                                                                  GC 200 TA9     EA                                1                        9618.7
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐9    CS 2620      Storage                                                                  EW 826 A19     EA                                1                          6685
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐8    CS 2619      Storage                                                                  EW 826 A19     EA                                1                          9890
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐7    CS 2618      Storage                                                                  EW 826 A19     EA                                1                          9890
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐6    CS 2617      Storage                                                                  EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐5    CS 2616      Storage                                                                  EW 826 A19     EA                                1                          3695
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐4    CS 2615      Storage                                                                  EW 826 A19     EA                                1                          9890
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐3    CS 2614      Storage                                                                  EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐2    CS 2613      Storage                                                                  EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services     TLS‐002928‐1    CS 2612      Storage                                                                  EW 826 A19     EA                                1                          1640
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐18     CS 2611      Storage                                                                  GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐17     CS 2610      Storage                                                                  GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐16     CS 2609      Storage                                                                  GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐15     CS 2608      Storage                                                                  GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐14     CS 2607      Storage                                                                  GC 200 TA2     EA                                1                        6770.4
Superior ‐ Houston     Superior Energy Services    TLD‐002356‐9     CS 2606      Storage                                                                  GC 200 TA2     EA                                1                       20183.8
Superior ‐ Houston     Superior Energy Services    TLD‐002356‐5     CS 2605      Storage                                                                  GC 200 TA2     EA                                1                        6770.4
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐21     CS 2604      Storage                                                                  GC 200 TA2     EA                                1                        5359.9
Superior ‐ Houston     Superior Energy Services   TLD‐002356‐20     CS 2603      Storage                                                                  GC 200 TA2     EA                                1                        5359.9
Superior ‐ Houston     Superior Energy Services   TLD‐002385‐10     CS 2602      Storage                                                                  GC 200 TA3     EA                                1                       10637.9
Superior ‐ Houston     Superior Energy Services    WO00688365                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688370                    Staging                                                                  GC 200 TA2     EA                                2                          2303
Superior ‐ Houston     Superior Energy Services    WO00685576                    Storage                                                                  GC 200 TA9     EA                                1                      291584.5
Superior ‐ Houston     Superior Energy Services     31099117‐01                  Storage                                                                  GC 200 TA9     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services     31102498‐01                  Storage                                                                  GC 200 TA9     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services    WO00685573                    Storage                                                                  GC 200 TA9     EA                                1                       32714.5
Superior ‐ Houston     Superior Energy Services     31090933‐01                  Staging                                                                  GC 200 TA2     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services     31098933‐02                  Staging                                                                  GC 200 TA2     EA                                1                          4550
Superior ‐ Houston     Superior Energy Services    WO00688366                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688371                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688367                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688368                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688372                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00688373                    Staging                                                                  GC 200 TA2     EA                                1                          2303
Superior ‐ Houston     Superior Energy Services    WO00685511                    Storage                                                                  GC 200 TA2     EA                                1                      291854.5
Superior ‐ Houston     Superior Energy Services    WO00685512                    Storage                                                                  GC 200 TA2     EA                                1                      291854.5
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐65   CS 1509       Storage                                                                  GC 109 A32     EA                                1                          6579
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐64   CS 1861       Storage                                                                  GC 109 A32     EA                                1                       2297.55
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐63   CS 1511       Storage                                                                  GC 109 A32     EA                                1                       4594.25
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐56   CS 1507       Storage                                                                  GC 109 A32     EA                                1                          6579
Superior ‐ Houston     Superior Energy Services    TLS‐002234‐55   CS 1508       Storage                                                                  GC 109 A32     EA                                1                          6579
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐15   CS 1538       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐14   CS 1537       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐12   CS 1536       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐11   CS 1540       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐002102‐10   CS 1541       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐8   CS 1539       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐7   CS 1535       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐6   CS 1542       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services     TLS‐002102‐5   CS 1543       Storage                                                                    EI 125 R1    EA                                1                        2327.5
Superior ‐ Houston     Superior Energy Services    TLS‐001891‐21   CS 1615       Storage                                                                    SP 62 D1     EA                                1                          6090
Superior ‐ Houston     Superior Energy Services    TLS‐001891‐20    CS 949       Storage                                                                    SP 62 D1     EA                                1                         13960
Superior ‐ Houston     Superior Energy Services       700151‐01     CS 317       Storage                                                                   SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700151‐03     CS 316       Storage                                                                   SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700151‐02     CS 315       Storage                                                                   SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700151‐04     CS 314       Storage                                                                   SS 258 JB8    EA                                1                         11112
Superior ‐ Houston     Superior Energy Services       700097‐19     CS 111       Storage                                                                    GC 65 41     EA                                1                          5004
Superior ‐ Houston     Superior Energy Services       700097‐02     CS 110       Storage                                                                    GC 65 41     EA                                1                          5004
Superior ‐ Houston     Superior Energy Services       700097‐01     CS 109       Storage                                                                    GC 65 41     EA                                1                          5004
Superior ‐ Houston     Superior Energy Services       700097‐05     CS 100       Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐04     CS 99        Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐03     CS 98        Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐07     CS 106       Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐06     CS 105       Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐09     CS 108       Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐08     CS 107       Storage                                                                   GC 65 A41     EA                                1                           720
Superior ‐ Houston     Superior Energy Services       700097‐13     CS 104       Storage                                                                   GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐12     CS 103       Storage                                                                   GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐11     CS 102       Storage                                                                   GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐10     CS 101       Storage                                                                   GC 65 A41     EA                                1                           702
Superior ‐ Houston     Superior Energy Services       700097‐17     CS 97        Storage                                                                   GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700097‐16     CS 96        Storage                                                                   GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700097‐15     CS 94        Storage                                                                   GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700097‐14     CS 95        Storage                                                                   GC 65 A41     EA                                1                           540
Superior ‐ Houston     Superior Energy Services       700086‐01    CS 2068       Storage                                                                   GC 65 A60     EA                                1                       10237.5
Superior ‐ Houston     Superior Energy Services       700086‐2     CS 1086       Storage                                                                   GC 65 A60     EA                                1                        9652.5
Superior ‐ Houston     Superior Energy Services     TLS‐002872‐6   CS 2483       Storage                                                                   SM 280 H1     EA                                1                          3834
Superior ‐ Lafayette   Superior Energy Services    WO00687151                    Storage                                                                                 EA      A                         1                          4257
Superior ‐ Lafayette   Superior Energy Services    WO00687139                   Assembly                                                                                 EA      B                         2                          3753
Superior ‐ Lafayette   Superior Energy Services   WO00683833 (p)                 Storage                                                                                 EA                                2                          1786
Superior ‐ Lafayette   Superior Energy Services     31099758‐01                  Staging                                                                                 EA                                1                        5470.5
Superior ‐ Lafayette   Superior Energy Services    WO00686995                    Staging                                                                                 EA                                3                        4378.5
Superior ‐ Lafayette   Superior Energy Services    WO00686998                    Staging                                                                                 EA                                3                        4378.5
Superior ‐ Lafayette   Superior Energy Services       683517‐01                  Staging                                                                                 EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services    WO00683872                    Staging                                                                                 EA                                1                        6051.5
Superior ‐ Lafayette   Superior Energy Services    WO00683871                    Staging                                                                                 EA                                1                      124778.5




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      Facility             Facility Owner          Item Number     Serial No.   Location   Item Description                             Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Lafayette   Superior Energy Services    WO00684280                    Staging                                                                                 EA                                1                       13919.5
Superior ‐ Lafayette   Superior Energy Services    WO00690219                    Staging                                                                                 EA                                1                         18683
Superior ‐ Lafayette   Superior Energy Services    WO00684437                    Staging                                                                                 EA                                1                        1543.5
Superior ‐ Lafayette   Superior Energy Services    WO00683862                    Staging                                                                                 EA                                1                        4378.5
Superior ‐ Lafayette   Superior Energy Services    WO00683878                    Staging                                                                                 EA                                1                         61530
Superior ‐ Lafayette   Superior Energy Services    WO00690218                    Staging                                                                                 EA                                1                         18683
Superior ‐ Lafayette   Superior Energy Services    WO00690781                    Staging                                                                                 EA      B                         1                        5652.5
Superior ‐ Lafayette   Superior Energy Services    WO00690780                    Staging                                                                                 EA      B                         1                         13195
Superior ‐ Lafayette   Superior Energy Services      WO006779                    Staging                                                                                 EA      E                         1                      225697.5
Superior ‐ Lafayette   Superior Energy Services    WO00690778                    Staging                                                                                 EA      A                         1                        6457.5
Superior ‐ Lafayette   Superior Energy Services    WO00690777                    Staging                                                                                 EA      F                         1                          3500
Superior ‐ Lafayette   Superior Energy Services    WO00693130                    Staging                                                                                 EA      A                         1                         22554
Superior ‐ Lafayette   Superior Energy Services      31102812                    Staging                                                                                 EA      E                         8                          2450
Superior ‐ Lafayette   Superior Energy Services    WO00693128                    Staging                                                                                 EA      A                         1                        647500
Superior ‐ Lafayette   Superior Energy Services   WO00688271 (p)                Storage                                                                                  EA                               15                          1786
Superior ‐ Lafayette   Superior Energy Services    31100712‐01                   Staging                                                                                 EA      B                         1                          3009
Superior ‐ Lafayette   Superior Energy Services    WO00687141                    Staging                                                                                 EA      A                         5                          3543
Superior ‐ Lafayette   Superior Energy Services    31100714‐02                   Staging                                                                                 EA      C                         1                          1701
Superior ‐ Lafayette   Superior Energy Services    WO00687138                    Staging                                                                                 EA      B                         1                          3855
Superior ‐ Lafayette   Superior Energy Services   WO00687677‐01                  Staging                                                                                 EA      B                         1                         10548
Superior ‐ Lafayette   Superior Energy Services    WO00687156                    Staging                                                                                 EA      A                         1                          2919
Superior ‐ Lafayette   Superior Energy Services   WO00687676‐02                  Staging                                                                                 EA      B                         1                         14046
Superior ‐ Lafayette   Superior Energy Services    WO00687154                    Staging                                                                                 EA      B                         1                          2124
Superior ‐ Lafayette   Superior Energy Services   WO00687675‐02                  Staging                                                                                 EA      M                         1                          4545
Superior ‐ Lafayette   Superior Energy Services    WO00688066                    Staging                                                                                 EA      A                         1                          5175
Superior ‐ Lafayette   Superior Energy Services    31101741‐02                   Staging                                                                                 EA      A                         1                          7461
Superior ‐ Lafayette   Superior Energy Services    WO00687153                    Staging                                                                                 EA      A                         1                         10320
Superior ‐ Lafayette   Superior Energy Services    31101733‐01                   Staging                                                                                 EA      A                         1                          5196
Superior ‐ Lafayette   Superior Energy Services    WO00687119                    Staging                                                                                 EA      F                         6                          1786
Superior ‐ Lafayette   Superior Energy Services    WO00687133                    Staging                                                                                 EA      A                         1                         17100
Superior ‐ Lafayette   Superior Energy Services    WO00687132                    Staging                                                                                 EA      A                         1                         17100
Superior ‐ Lafayette   Superior Energy Services    31100712‐02                   Staging                                                                                 EA      B                         1                          3009
Superior ‐ Lafayette   Superior Energy Services    WO00687131                    Staging                                                                                 EA      A                         5                          3543
Superior ‐ Lafayette   Superior Energy Services    31100714‐01                   Staging                                                                                 EA      C                         1                          1701
Superior ‐ Lafayette   Superior Energy Services    WO00687128                    Staging                                                                                 EA      B                         1                          3855
Superior ‐ Lafayette   Superior Energy Services    WO00687126                    Staging                                                                                 EA      B                         4                          3855
Superior ‐ Lafayette   Superior Energy Services    WO00687124                    Staging                                                                                 EA      B                         1                          3855
Superior ‐ Lafayette   Superior Energy Services    WO00687125                    Staging                                                                                 EA      H                         1                          9270
Superior ‐ Lafayette   Superior Energy Services   WO00687677‐02                  Staging                                                                                 EA      B                         1                         10548
Superior ‐ Lafayette   Superior Energy Services    WO00687150                    Staging                                                                                 EA      A                         1                          2919
Superior ‐ Lafayette   Superior Energy Services   WO00687676‐01                  Staging                                                                                 EA      B                         1                         14046
Superior ‐ Lafayette   Superior Energy Services    WO00687149                    Staging                                                                                 EA      B                         1                          2124
Superior ‐ Lafayette   Superior Energy Services   WO00687675‐01                  Staging                                                                                 EA      M                         1                          4545
Superior ‐ Lafayette   Superior Energy Services    WO00688062                    Staging                                                                                 EA      A                         1                          5175
Superior ‐ Lafayette   Superior Energy Services      31101741                    Staging                                                                                 EA      A                         1                          7461
Superior ‐ Lafayette   Superior Energy Services    WO00687148                    Staging                                                                                 EA      A                         1                         10320
Superior ‐ Lafayette   Superior Energy Services    31100725‐01                   Staging                                                                                 EA      A                         1                        4490.5
Superior ‐ Lafayette   Superior Energy Services    WO00690721                    Staging                                                                                 EA      E                         3                          3080
Superior ‐ Lafayette   Superior Energy Services    31098789‐11                   Staging                                                                                 EA      P                         1                        1067.5
Superior ‐ Lafayette   Superior Energy Services    31101195‐04                   Staging                                                                                 EA      C                         1                        5568.5
Superior ‐ Lafayette   Superior Energy Services    WO00690720                    Staging                                                                                 EA      D                         1                         10815
Superior ‐ Lafayette   Superior Energy Services    WO00690719                    Staging                                                                                 EA      G                         1                          3920
Superior ‐ Lafayette   Superior Energy Services    WO00690718                    Staging                                                                                 EA      J                         1                        6877.5
Superior ‐ Lafayette   Superior Energy Services    WO00688070                    Staging                                                                                 EA      A                         1                          4368
Superior ‐ Lafayette   Superior Energy Services    31101741‐01                   Staging                                                                                 EA      A                         1                          7293
Superior ‐ Lafayette   Superior Energy Services    31100764‐02                   Staging                                                                                 EA      A                         1                          3078
Superior ‐ Lafayette   Superior Energy Services    WO00687091                    Staging                                                                                 EA      B                         1                          2958
Superior ‐ Lafayette   Superior Energy Services    WO00688068                    Staging                                                                                 EA      A                         1                          5205
Superior ‐ Lafayette   Superior Energy Services    31100721‐01                   Staging                                                                                 EA      C                         1                          4773
Superior ‐ Lafayette   Superior Energy Services    WO00687090                    Staging                                                                                 EA      D                         1                          9720
Superior ‐ Lafayette   Superior Energy Services    WO00687089                    Staging                                                                                 EA      G                        14                          3360
Superior ‐ Lafayette   Superior Energy Services    31100766‐02                   Staging                                                                                 EA      C                         1                          1035
Superior ‐ Lafayette   Superior Energy Services    WO00688072                    Staging                                                                                 EA      B                         1                         46764
Superior ‐ Lafayette   Superior Energy Services    WO00687088                    Staging                                                                                 EA      D                         1                         47871
Superior ‐ Lafayette   Superior Energy Services    WO00687087                    Staging                                                                                 EA      B                         1                         13950
Superior ‐ Lafayette   Superior Energy Services    WO00687086                    Staging                                                                                 EA      B                         1                          8853
Superior ‐ Lafayette   Superior Energy Services   WO00673496‐01                  Staging                                                                                 EA      E                         1                          5916
Superior ‐ Lafayette   Superior Energy Services    WO00687085                    Staging                                                                                 EA      B                         1                         25599
Superior ‐ Lafayette   Superior Energy Services    WO00687084                    Staging                                                                                 EA      B                         1                          5130
Superior ‐ Lafayette   Superior Energy Services    WO00687083                    Staging                                                                                 EA      B                         1                      127228.5
Superior ‐ Lafayette   Superior Energy Services    WO00687082                    Staging                                                                                 EA      B                         1                         17325
Superior ‐ Lafayette   Superior Energy Services    WO00687081                   Storage                                                                                  EA      A                         1                         14133
Superior ‐ Lafayette   Superior Energy Services    WO00687080                    Staging                                                                                 EA      A                         1                         13287
Superior ‐ Lafayette   Superior Energy Services    31100761‐02                   Staging                                                                                 EA      C                         1                          4773
Superior ‐ Lafayette   Superior Energy Services    31098789‐17                   Staging                                                                                 EA      P                         1                           915
Superior ‐ Lafayette   Superior Energy Services    31102937‐01                   Staging                                                                                 EA      A                         1                          3849
Superior ‐ Lafayette   Superior Energy Services    WO00687079                    Staging                                                                                 EA      E                         3                          2640
Superior ‐ Lafayette   Superior Energy Services    WO00687078                    Staging                                                                                 EA      D                         1                          9270
Superior ‐ Lafayette   Superior Energy Services    WO00687077                    Staging                                                                                 EA      G                         3                          3360
Superior ‐ Lafayette   Superior Energy Services    WO00688069                    Staging                                                                                 EA      A                         1                          4368
Superior ‐ Lafayette   Superior Energy Services    31101741‐02                   Staging                                                                                 EA      A                         1                          7293
Superior ‐ Lafayette   Superior Energy Services    31100764‐01                   Staging                                                                                 EA      A                         1                          3078
Superior ‐ Lafayette   Superior Energy Services    WO00687094                    Staging                                                                                 EA      B                         4                          2958
Superior ‐ Lafayette   Superior Energy Services    WO00688067                    Staging                                                                                 EA      A                         1                          5205
Superior ‐ Lafayette   Superior Energy Services    31100761‐01                   Staging                                                                                 EA      C                         1                          4773
Superior ‐ Lafayette   Superior Energy Services    WO00687093                    Staging                                                                                 EA      D                         1                          9270
Superior ‐ Lafayette   Superior Energy Services    WO00688071                    Staging                                                                                 EA      B                         1                         46764
Superior ‐ Lafayette   Superior Energy Services    WO00687092                    Staging                                                                                 EA      G                        14                          3360
Superior ‐ Lafayette   Superior Energy Services    31100766‐01                   Staging                                                                                 EA      1                         1                          1035
Superior ‐ Lafayette   Superior Energy Services    31101349‐01                   Staging                                                                                 EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services    WO00688253                    Staging                                                                                 EA                                1                       29865.5
Superior ‐ Lafayette   Superior Energy Services   WO00684413‐01                  Staging                                                                                 EA                                1                          6902
Superior ‐ Lafayette   Superior Energy Services    31101349‐01                   Staging                                                                                 EA                                1                        5561.5
Superior ‐ Lafayette   Superior Energy Services    31101349‐02                   Staging                                                                                 EA                                1                        5561.5




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      Facility             Facility Owner            Item Number     Serial No.   Location   Item Description                             Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Lafayette   Superior Energy Services     WO00688800                     Staging                                                                                 EA                                5                          1786
Superior ‐ Lafayette   Superior Energy Services      31101104‐02                   Staging                                                                                 EA                                1                          4018
Superior ‐ Lafayette   Superior Energy Services      31101104‐03                   Staging                                                                                 EA                                1                          4018
Superior ‐ Lafayette   Superior Energy Services      31101104‐01                   Staging                                                                                 EA                                1                          4018
Superior ‐ Lafayette   Superior Energy Services      31100699‐01                   Staging                                                                                 EA                                1                          2905
Superior ‐ Lafayette   Superior Energy Services     WO00688259                     Staging                                                                                 EA                                1                          2401
Superior ‐ Lafayette   Superior Energy Services     WO00688269                     Staging                                                                                 EA                                1                       12477.5
Superior ‐ Lafayette   Superior Energy Services    WO00681355‐01                   Staging                                                                                 EA                                1                       34660.5
Superior ‐ Lafayette   Superior Energy Services     WO00688268                     Staging                                                                                 EA                                1                        4161.5
Superior ‐ Lafayette   Superior Energy Services     WO00688267                     Staging                                                                                 EA                                1                          2625
Superior ‐ Lafayette   Superior Energy Services     WO00688266                     Staging                                                                                 EA                                4                        4658.5
Superior ‐ Lafayette   Superior Energy Services     WO00688265                     Staging                                                                                 EA                                1                          1876
Superior ‐ Lafayette   Superior Energy Services   31068949‐MA498‐7                 Staging                                                                                 EA                                1                        8767.5
Superior ‐ Lafayette   Superior Energy Services     WO00688264                     Staging                                                                                 EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services     WO00688260                     Staging                                                                                 EA                                3                          3920
Superior ‐ Lafayette   Superior Energy Services     WO00688263                     Staging                                                                                 EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services      31098789‐13                   Staging                                                                                 EA                                1                        5568.5
Superior ‐ Lafayette   Superior Energy Services      31098789‐13                   Staging                                                                                 EA                                1                        1067.5
Superior ‐ Lafayette   Superior Energy Services      31098789‐04                   Staging                                                                                 EA                                1                        1067.5
Superior ‐ Lafayette   Superior Energy Services     WO00688262                     Staging                                                                                 EA                                6                          3080
Superior ‐ Lafayette   Superior Energy Services      31100725‐02                   Staging                                                                                 EA                                1                        4490.5
Superior ‐ Lafayette   Superior Energy Services      31100725‐03                   Staging                                                                                 EA                                1                        4490.5
Superior ‐ Lafayette   Superior Energy Services     WO00688261                     Staging                                                                                 EA                                1                       15501.5
Superior ‐ Lafayette   Superior Energy Services     WO00688258                     Staging                                                                                 EA                                1                       16488.5
Superior ‐ Lafayette   Superior Energy Services     WO00688608                     Staging                                                                                 EA                                1                         14651
Superior ‐ Lafayette   Superior Energy Services     WO00688607                     Staging                                                                                 EA                                1                         14651
Superior ‐ Lafayette   Superior Energy Services     WO00688606                     Staging                                                                                 EA                                1                       13828.5
Superior ‐ Lafayette   Superior Energy Services     WO00688605                     Staging                                                                                 EA                                1                       13828.5
Superior ‐ Lafayette   Superior Energy Services     WO00688257                     Staging                                                                                 EA                                1                         32123
Superior ‐ Lafayette   Superior Energy Services     WO00688256                     Staging                                                                                 EA                                1                         37261
Superior ‐ Lafayette   Superior Energy Services     WO00688255                     Staging                                                                                 EA                                1                         16387
Superior ‐ Lafayette   Superior Energy Services     WO00688254                     Staging                                                                                 EA                                1                       29865.5
Superior ‐ Lafayette   Superior Energy Services     WO00688252                     Staging                                                                                 EA                                1                       10328.5
Superior ‐ Lafayette   Superior Energy Services      31099394‐01                   Staging                                                                                 EA                                1                          6902
Superior ‐ Lafayette   Superior Energy Services     WO00688251                     Staging                                                                                 EA                                1                       10328.5
Superior ‐ Lafayette   Superior Energy Services     WO00688250                     Staging                                                                                 EA                                1                         16275
Superior ‐ Lafayette   Superior Energy Services     WO00688249                     Staging                                                                                 EA                                1                         16275
Superior ‐ Lafayette   Superior Energy Services     WO00688248                     Staging                                                                                 EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00688247                     Staging                                                                                 EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00688246                     Staging                                                                                 EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services      31065836‐13                   Staging                                                                                 EA                                1                        1067.5
Superior ‐ Lafayette   Superior Energy Services     WO00687005                     Staging                                                                                 EA                                1                          2401
Superior ‐ Lafayette   Superior Energy Services     WO00687001                     Staging                                                                                 EA                                3                          1786
Superior ‐ Lafayette   Superior Energy Services      31100215‐03                   Staging                                                                                 EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services      31100215‐02                   Staging                                                                                 EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services      31099396‐01                   Staging                                                                                 EA                                1                        5568.5
Superior ‐ Lafayette   Superior Energy Services     WO00687004                     Staging                                                                                 EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services     WO00687003                     Staging                                                                                 EA                                3                          3920
Superior ‐ Lafayette   Superior Energy Services     WO00686997                     Staging                                                                                 EA                                1                          2401
Superior ‐ Lafayette   Superior Energy Services     WO00686996                     Staging                                                                                 EA                                3                          1786
Superior ‐ Lafayette   Superior Energy Services      31100215‐01                   Staging                                                                                 EA                                1                        8508.5
Superior ‐ Lafayette   Superior Energy Services      31098272‐02                   Staging                                                                                 EA                                1                          5887
Superior ‐ Lafayette   Superior Energy Services     WO00683073                     Staging                                                                                 EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683075                     Staging                                                                                 EA                               10                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683074                     Staging                                                                                 EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683067                     Staging                                                                                 EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683066                     Staging                                                                                 EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683068                     Staging                                                                                 EA                                6                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683037                     Staging                                                                                 EA                                1                        5848.5
Superior ‐ Lafayette   Superior Energy Services        611827‐19                   Staging                                                                                 EA                                1                        3307.5
Superior ‐ Lafayette   Superior Energy Services     WO00683064                     Staging                                                                                 EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services     WO00683035                     Staging                                                                                 EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00683034                     Staging                                                                                 EA                                1                         16275
Superior ‐ Lafayette   Superior Energy Services     WO00683033                     Staging                                                                                 EA                                1                       32406.5
Superior ‐ Lafayette   Superior Energy Services        673496‐05                   Staging                                                                                 EA                                1                          6902
Superior ‐ Lafayette   Superior Energy Services     WO00683031                     Staging                                                                                 EA                                1                       29865.5
Superior ‐ Lafayette   Superior Energy Services     WO00683032                     Staging                                                                                 EA                                1                          5985
Superior ‐ Lafayette   Superior Energy Services     WO00683030                     Staging                                                                                 EA                                1                      124401.2
Superior ‐ Lafayette   Superior Energy Services     WO00683029                     Staging                                                                                 EA                                1                       20212.5
Superior ‐ Lafayette   Superior Energy Services     WO00683027                     Staging                                                                                 EA                                1                       15501.5
Superior ‐ Lafayette   Superior Energy Services        683500‐01                   Staging                                                                                 EA                                1                        4490.5
Superior ‐ Lafayette   Superior Energy Services     WO00683025                     Staging                                                                                 EA                                3                          3080
Superior ‐ Lafayette   Superior Energy Services     WO00683022                     Staging                                                                                 EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services        683517‐02                   Staging                                                                                 EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services     WO00683021                     Staging                                                                                 EA                                1                        6877.5
Superior ‐ Lafayette   Superior Energy Services     TLD‐002362‐3                   Storage                                                                                 EA                                1                          6585
Superior ‐ Lafayette   Superior Energy Services     TLD‐002362‐2                   Storage                                                                                 EA                                1                          4135
Superior ‐ Lafayette   Superior Energy Services     TLD‐002362‐1                   Storage                                                                                 EA                                1                          4135
Superior ‐ Lafayette   Superior Energy Services      31099788‐02                   Staging                                                                                 EA                                1                          4689
Superior ‐ Lafayette   Superior Energy Services     WO00684293                     Storage                                                                                 EA                                1                        6877.5
Superior ‐ Lafayette   Superior Energy Services     WO00690407                     Storage                                                                                 EA                                1                         16014
Superior ‐ Lafayette   Superior Energy Services     WO00690110                     Staging                                                                                 EA                                1                          1323
Superior ‐ Lafayette   Superior Energy Services     WO00683904                     Storage                                                                                 EA                                1                       10328.5
Superior ‐ Lafayette   Superior Energy Services     WO00683059                    Assembly                                                                                 EA                                1                          5985
Superior ‐ Lafayette   Superior Energy Services     WO00683868                     Storage                                                                                 EA                                1                         19950
Superior ‐ Lafayette   Superior Energy Services     WO00683888                     Storage                                                                                 EA                                1                         19950
Superior ‐ Lafayette   Superior Energy Services     WO00684438                     Storage                                                                                 EA                                1                        1543.5
Superior ‐ Lafayette   Superior Energy Services     WO00683852                     Storage                                                                                 EA                                1                        6051.5
Superior ‐ Lafayette   Superior Energy Services     WO00683851                     Storage                                                                                 EA                                1                      124778.5
Superior ‐ Lafayette   Superior Energy Services     WO00684270                     Storage                                                                                 EA                                1                       13919.5
Superior ‐ Lafayette   Superior Energy Services     WO00684269                     Storage                                                                                 EA                                1                       77199.5
Superior ‐ Lafayette   Superior Energy Services      31099274‐05                   Storage                                                                                 EA                                1                          4144
Superior ‐ Lafayette   Superior Energy Services     WO00683850                     Storage                                                                                 EA                                4                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683849                     Storage                                                                                 EA                                1                        6877.5




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      Facility             Facility Owner            Item Number       Serial No.             Location          Item Description                                                Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost Total Value   WI% Net Value
Superior ‐ Lafayette   Superior Energy Services     WO00687045                                Storage                                                                                                            EA                                1                         12040
Superior ‐ Lafayette   Superior Energy Services     WO00683848                                Storage                                                                                                            EA                               14                          4095
Superior ‐ Lafayette   Superior Energy Services     WO00687044                                Storage                                                                                                            EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services     WO00683847                                Storage                                                                                                            EA                                1                       67392.5
Superior ‐ Lafayette   Superior Energy Services     WO00683846                                Storage                                                                                                            EA                                1                         16387
Superior ‐ Lafayette   Superior Energy Services     WO00683845                                Storage                                                                                                            EA                                1                         37261
Superior ‐ Lafayette   Superior Energy Services     WO00684275                                Storage                                                                                                            EA                                1                         32123
Superior ‐ Lafayette   Superior Energy Services     WO00683844                                Storage                                                                                                            EA                                1                        6051.5
Superior ‐ Lafayette   Superior Energy Services     WO00683843                                Storage                                                                                                            EA                                1                      124778.5
Superior ‐ Lafayette   Superior Energy Services     WO00684723                                Storage                                                                                                            EA                                1                       77199.5
Superior ‐ Lafayette   Superior Energy Services     WO00684272                                Storage                                                                                                            EA                                1                       13919.5
Superior ‐ Lafayette   Superior Energy Services     WO00683842                                Storage                                                                                                            EA                                1                         19950
Superior ‐ Lafayette   Superior Energy Services     WO00683834                                Storage                                                                                                            EA                                1                         10815
Superior ‐ Lafayette   Superior Energy Services      31099274‐02                              Storage                                                                                                            EA                                1                          4144
Superior ‐ Lafayette   Superior Energy Services     WO00683831                                Storage                                                                                                            EA                                1                        6877.5
Superior ‐ Lafayette   Superior Energy Services     WO00683832                                Storage                                                                                                            EA                               14                          4095
Superior ‐ Lafayette   Superior Energy Services      31099228‐02                              Storage                                                                                                            EA                                1                        5708.5
Superior ‐ Lafayette   Superior Energy Services     WO00683903                                Storage                                                                                                            EA                                1                       33575.5
Superior ‐ Lafayette   Superior Energy Services     WO00683902                                Storage                                                                                                            EA                                1                        2460.5
Superior ‐ Lafayette   Superior Energy Services     WO00683901                                Storage                                                                                                            EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services      31099228‐01                              Storage                                                                                                            EA                                1                        5708.5
Superior ‐ Lafayette   Superior Energy Services     WO00683900                                Storage                                                                                                            EA                                1                       33575.5
Superior ‐ Lafayette   Superior Energy Services     WO00683899                                Storage                                                                                                            EA                                1                        2460.5
Superior ‐ Lafayette   Superior Energy Services     WO00683898                                Storage                                                                                                            EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services     WO00683914                                Storage                                                                                                            EA                                1                      127228.5
Superior ‐ Lafayette   Superior Energy Services     WO00683913                                Storage                                                                                                            EA                                1                       20212.5
Superior ‐ Lafayette   Superior Energy Services     WO00686388                                Storage                                                                                                            EA                                1                        8767.5
Superior ‐ Lafayette   Superior Energy Services     WO00683897                                Storage                                                                                                            EA                                1                          1876
Superior ‐ Lafayette   Superior Energy Services     WO00683109                                 Staging                                                                                                           EA                                1                       13387.5
Superior ‐ Lafayette   Superior Energy Services     WO00683100                                 Staging                                                                                                           EA                                1                       13387.5
Superior ‐ Lafayette   Superior Energy Services     WO00683108                                 Staging                                                                                                           EA                                1                        6037.5
Superior ‐ Lafayette   Superior Energy Services     WO00683099                                 Staging                                                                                                           EA                                1                        6037.5
Superior ‐ Lafayette   Superior Energy Services        683271‐02                               Staging                                                                                                           EA                                1                       34660.5
Superior ‐ Lafayette   Superior Energy Services     WO00683107                                 Staging                                                                                                           EA                                1                        4161.5
Superior ‐ Lafayette   Superior Energy Services     WO00683104                                 Staging                                                                                                           EA                                1                        5848.5
Superior ‐ Lafayette   Superior Energy Services     WO00683101                                 Staging                                                                                                           EA                                4                        4658.5
Superior ‐ Lafayette   Superior Energy Services        683271‐01                               Staging                                                                                                           EA                                1                       34660.5
Superior ‐ Lafayette   Superior Energy Services     WO00683098                                 Staging                                                                                                           EA                                1                        4161.5
Superior ‐ Lafayette   Superior Energy Services        685354‐01                               Staging                                                                                                           EA                                1                         16387
Superior ‐ Lafayette   Superior Energy Services     WO00683097                                 Staging                                                                                                           EA                                1                          4081
Superior ‐ Lafayette   Superior Energy Services     WO00683096                                 Staging                                                                                                           EA                                1                       55849.5
Superior ‐ Lafayette   Superior Energy Services     WO00683095                                 Staging                                                                                                           EA                                1                         14315
Superior ‐ Lafayette   Superior Energy Services        683514‐03                               Staging                                                                                                           EA                                1                        3307.5
Superior ‐ Lafayette   Superior Energy Services     WO00683094                                 Staging                                                                                                           EA                                1                        5848.5
Superior ‐ Lafayette   Superior Energy Services     WO00683093                                 Staging                                                                                                           EA                                4                          1786
Superior ‐ Lafayette   Superior Energy Services     WO00683092                                 Staging                                                                                                           EA                                4                        4658.5
Superior ‐ Lafayette   Superior Energy Services     WO00683056                                 Staging                                                                                                           EA                                1                       16488.5
Superior ‐ Lafayette   Superior Energy Services     WO00683049                                 Staging                                                                                                           EA                                1                        4595.5
Superior ‐ Lafayette   Superior Energy Services   31068948‐MA498‐2                             Staging                                                                                                           EA                                1                        8767.5
Superior ‐ Lafayette   Superior Energy Services     WO00683020                                 Staging                                                                                                           EA                                1                          1876
Superior ‐ Lafayette   Superior Energy Services      TLS‐002872‐8                            Assembly                                                                                                            EA                                1                          6972
Superior ‐ Lafayette   Superior Energy Services      TLS‐002872‐7                            Assembly                                                                                                            EA                                1                         12285
Technip ‐ Broussard         Technip FMC               JO:66490‐02     JO:66490‐02           RMA203008           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                PFI‐056577      PFI‐056577    203111 TRNSFR FR FMC HOU   CM‐1, 13 3/8 TIEBACK ADAPTER ASSY, 13 5/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             2009‐07‐133T     2009‐07‐133T              203064           TUBING HEAD ASSY, TCM‐ET 9 3/4 HPE BTM P                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             RMC100984‐L      RMC100984‐L               203027           TERMINATING FLANGE ASSY, 1‐18K BX‐SPCL P                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               RMC99784‐L      RMC99784‐L               203008           TERMINATING FLANGE ASSY, 1‐18K BX‐SPCL P                                                         EA                                1                          3900
Technip ‐ Broussard         Technip FMC               2009‐07‐15T     2009‐07‐15T                               1 13/16"‐15K, Manual GV Assy                                                                     EA                                1                             0
Technip ‐ Broussard         Technip FMC             2005‐07‐801H     2005‐07‐801H             203008            GV ASSY SURFACE, M150 VLT, FE 3 1/16‐15K                                                         EA                                1                          9750
Technip ‐ Broussard         Technip FMC               2006‐06‐62T     2006‐06‐62T             203027            GV ASSY SURFACE, M150 VLT, FE 3 1/16‐15K                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               2006‐06‐61T     2006‐06‐61T             203027            GV ASSY SURFACE, M150 VLT, FE 3 1/16‐15K                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               FF25554‐01       FF25554‐01             203008            BLIND FLANGE, 3 1/16‐15K FLG, FF, PSL 2,                                                         EA                                1                           560
Technip ‐ Broussard         Technip FMC                300024518       300024518              203008            TREE CAP ADAPTER, B‐11‐AO, ASSY, 3 1/16‐                                                         EA                                1                          4980
Technip ‐ Broussard         Technip FMC                 12506‐01        12506‐01              203027            TREE CAP ADAPTER, B‐11‐AO, ASSY, 3 1/16‐                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             WO#34626‐01      WO#34626‐01              203027            CROSS ASSY, C‐600 (STDD), 3 1/16 15K API                                                         EA                                1                       8994.32
Technip ‐ Broussard         Technip FMC                HT‐5524‐1        HT‐5524‐1             203008            CROSS ASSY, C‐600 (STDD), 3 1/16 15K API                                                         EA                                1                          3166
Technip ‐ Broussard         Technip FMC                 62661‐13        62661‐13     203110 TRNSFR FR FMC HOU   MQC 12 LONG TERM PROTECTION CAP W/OUT RO                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32321‐02      HO32321‐02            RMA203281           TREE CAP ASSY, HES STYLE, SPCL, 7‐1/16                                                           EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32334‐02      HO32334‐02            RMA203281           17D VALVE ASSY, CM‐1 PRODUCTION TREE, 2X                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                RB261196         RB261196     203110 TRNSFR FR FMC HOU   CM‐1, 9 5/8 TIEBACK ADAPTER ASSY, 9 5/8                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                 98‐1117H        98‐1117H            RMA203281           GV ASSY, S/S, M130, FE, ACTD, 3 1/16 10K                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                 LAF6711          LAF6711            RMA203281           OBS‐CM‐1, TUBING HEAD ASSY, SUPER PART,                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                98‐1209‐H        98‐1209‐H           RMA203281           ANNULUS WING VALVE BLOCK ASSY, SUBSEA M1                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32390‐01      HO32390‐01            RMA203281           OBS‐CM‐1, TUBING HANGER ASSY, 9.295/9.28                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               HO32433‐02      HO32433‐02            RMA203281           OBS‐CM‐1, 13 5/8‐5K CLAMP HUB (MOD) TOP                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC             MWS84993‐01      MWS84993‐01            RMA203281           BLIND FLANGE, 1‐12.5K FLG, HH, PSL 3, P‐                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             MWS84993‐09      MWS84993‐09            RMA203281           BLIND FLANGE, 1‐12.5K FLG, HH, PSL 3, P‐                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               H021732‐02      H021732‐02              203059            TEE ASSEMBLY, T‐608, 3 1/16‐10000 X 2 9/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC              W0‐21575‐01     W0‐21575‐01            RMA203128           TEE ASSEMBLY, T‐608, 3 1/16‐10000 X 2 9/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054891‐2       1054891‐2     203110 TRNSFR FR FMC HOU   HOSE AND CONNECTOR ASSY, 1 X 1 LEGS, F/                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054892‐2       1054892‐2     203110 TRNSFR FR FMC HOU   HOSE AND CONNECTOR ASSY, 1 X 2 LEGS, F/                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054890‐2                     203110 TRNSFR FR FMC HOU   SENSOR ASSY, 4‐20 MA, W/ PRESSURE TRANSD                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                1054889‐2       1054889‐2     203110 TRNSFR FR FMC HOU   SENSOR ASSY, 4‐20 MA, W/ PT/TT AND 4‐WAY                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             2008‐10‐0916S    2008‐10‐0916S   203110 TRNSFR FR FMC HOU   CM‐1, COMPOSITE TREE SUPER ASSY, 10K WP,                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               2009‐03‐77T     2009‐03‐77T    203110 TRNSFR FR FMC HOU   CM‐1, TUBING HEAD ASSY, 13 5/8‐5K SL‐II                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC               AM1252‐01        AM1252‐01     203110 TRNSFR FR FMC HOU   CM‐1, TUBING HANGER ASSY, 3 1/2 (9.3 LB/                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC               AD22144‐01      AD22144‐01     203110 TRNSFR FR FMC HOU   CROSSOVER JOINT, 20 API BC THD PIN TOP X                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                PFI061348       PFI061348              203008            TUBING HANGER ASSY, TC‐1A‐EMS, 11 FLG, 1                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC             030373‐01‐01     030373‐01‐01             203027            TUBING HANGER ASSY, TC‐1A‐EMS, 11 FLG, 3                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC              D0710001‐08      D0710001‐08    203110 TRNSFR FR FMC HOU   SD‐1, BUTTWELD SUB, 30, 26.385 MIN ID, D                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC              AD‐21319‐01      AD‐21319‐01           RMA203237           ADAPTER BODY, A‐4‐M, 11‐15K STDD BTM X 3                                                         EA                                1                             0
Technip ‐ Broussard         Technip FMC                PF1058777       PF1058777     203111 TRNSFR FR FMC HOU   CROSSOVER JOINT, 9 5/8 (47.00 LB/FT) BC                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                PF1058778       PF1058778     203110 TRNSFR FR FMC HOU   CROSSOVER JOINT, 9 5/8 (47.00 LB/FT) BC                                                          EA                                1                             0
Technip ‐ Broussard         Technip FMC                PFI057990       PFI057990     203111 TRNSFR FR FMC HOU   CROSSOVER JOINT, 13 3/8 (68.00 LB/FT) BC                                                         EA                                1                             0




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       Facility         Facility Owner      Item Number          Serial No.             Location          Item Description                                                                Project Number   Project Name   UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost       Total Value   WI% Net Value
 Technip ‐ Broussard     Technip FMC          PF1057991         PF1057991      203110 TRNSFR FR FMC HOU   CROSSOVER JOINT, 13 3/8 (68.00 LB/FT) BC                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC        HN‐27639‐5B       HN‐27639‐5B      203110 TRNSFR FR FMC HOU   X‐MAS TREE, HYDRAULIC CONTROLS KIT, F/ T                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC        2006‐06‐183T      2006‐06‐183T               203027           GV ASSY SURFACE, M150, FE 3 1/16‐15K, RE                                                                         EA                                1                     18556.69
 Technip ‐ Broussard     Technip FMC        2006‐06‐250T      2006‐06‐250T               203027           GV ASSY SURFACE, M150, FE 3 1/16‐15K, RE                                                                         EA                                1                     18556.69
 Technip ‐ Broussard     Technip FMC         2005‐09‐32T       2005‐09‐32T               203008           GV ASSY SURFACE, M150, FE 3 1/16‐15K, RE                                                                         EA                                1                         6210
 Technip ‐ Broussard     Technip FMC          PFI044523         PFI044523                203027           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                      2185.39
 Technip ‐ Broussard     Technip FMC          PFI044524         PFI044524                203027           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                      2185.39
 Technip ‐ Broussard     Technip FMC       PFI038246‐001     PFI038246‐001               203008           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                          778
 Technip ‐ Broussard     Technip FMC       PFI038246‐003     PFI038246‐003               203008           INSTRUMENT FLANGE BODY, 3 1/16 15K DRILL                                                                         EA                                1                          778
 Technip ‐ Broussard     Technip FMC         2006‐06‐72T       2006‐06‐72T               203027           LOWER MASTER BLOCK VALVE, ASSY, S1, 3 1/                                                                         EA                                1                     65461.23
 Technip ‐ Broussard     Technip FMC        2005‐09‐189T      2005‐09‐189T               203008           LOWER MASTER BLOCK VALVE, ASSY, S1, 3 1/                                                                         EA                                1                        23700
 Technip ‐ Broussard     Technip FMC          HN‐P3576          HN‐P3576                 203008           TUBING HANGER ASSY, TC‐1A‐EMS, 11 FLG, 3                                                                         EA                                1                        18960
 Technip ‐ Broussard     Technip FMC           LAF6589            LAF6589             RMA203122           TUBING HEAD TCM 11" 10K FLG BTM X 7‐1/16                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6590            LAF6590             RMA203122           TUBING HEAD OCT 7‐1/16" 10K X 3‐1/16"                                                                            EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6596            LAF6596             RMA203122           TREE CAP BODY 3" 10K                                                                                             EA                                1                            0
 Technip ‐ Broussard     Technip FMC     GA3186/1501/7/1    GA3186/1501/7/1           RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6712            LAF6712             RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC     GA3186/1501/1/6    GA3186/1501/1/6           RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC     GA3186/1501/1/10   GA3186/1501/1/10          RMA203281           PACSON VALVE                                                                                                     EA                                1                            0
 Technip ‐ Broussard     Technip FMC           771965‐1          771965‐1             RMA203122           GATE VALVE ASSY 3‐1/16" 10K WKM M2 MANUA                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC            13530‐4           13530‐4             RMA203122           GATE VALVE ASSY 3‐1/16 10K W/AXELSON ACT                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC            429123             429123             RMA203122           GATE VALVE ASSY 3‐1/16 10K MANUAL WKM M2                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC          5005180‐5         5005180‐5             RMA203122           GATE VALVE ASSY 2‐9/16" 10K MANUAL VETCO                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           480655‐1          480655‐1             RMA203122           GATE VALVE ASSY 2‐9/16 10K MANUAL M1 WKM                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6739            LAF6739             RMA203122           GATE VALVE ASSY 1‐13/16" 10K MANUAL WKM                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6738                                RMA203122           GATE VALVE ASSY 1‐13/16" 10K MANUAL OTIS                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6595          LAF6595               RMA203122           DOUBLE STDD ADAPTER 2‐9/16" 10K X                                                                                EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6592          LAF6592               RMA203122           DOUBLE STDD ADAPTER 2‐9/16 10K X                                                                                 EA                                1                            0
 Technip ‐ Broussard     Technip FMC         CC191267/1       CC191267/1                 203018           CHOKE ASSY. POS. 3 1/16 15K FLG INLET X                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6496          LAF6496                  203059           CHOKE ASSY. ADJ 2 9/16 10K FLG INLET/ FL                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           AO‐0041          AO‐0041                  203027           CHOKE ASSY,ADJ.3 1/15K FLG.INLET X FLG.O                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6593          LAF6593               RMA203122           CHOKE ASSY POS 1‐13/16" 10K x FLG INLET                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC          95‐02137H       95‐02137H                  155851           OBSOLETE & NOT REPLACED ‐ 14D GV ASSY FE                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         95‐11193‐H       95‐11193‐H              RMA203128           OBSOLETE & NOT REPLACED ‐ 14D GV ASSY FE                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC          98‐01139H       98‐01139H                  155851           *** OBSOLETE AND REPLACED BY P168609 ***                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐03106‐H       97‐03106‐H              RMA203128           *** OBSOLETE AND REPLACED BY P168609 ***                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC          95‐03140H       95‐03140H                  155851           GV ASSY MOD130 3‐1/16 FB                                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐02113‐H       97‐02113‐H              RMA203128           GV ASSY MOD130 3‐1/16 FB                                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐02114‐H       97‐02114‐H              RMA203128           GV ASSY MOD130 3‐1/16 FB                                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           LAF6495          LAF6495                  155851           GV ASSY SURFACE, M130, FE 2 9/16‐10K, PR                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC         97‐02123‐H       97‐02123‐H              RMA203128           GV ASSY SURFACE, M130, FE 2 9/16‐10K, PR                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC       2007‐08‐106H      2007‐08‐106H      203111 TRNSFR FR FMC HOU   MQC6 INBOARD ASSEMBLY MINI (3)PSL NA, 1Q                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC      RMC101750‐A‐01    RMC101750‐A‐01     203111 TRNSFR FR FMC HOU   SD‐1, TIEBACK SUB, ASSY, 9 5/8, 9 5/8 BC                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           HO45569         M6893‐02        203110 TRNSFR FR FMC HOU   SD‐1, TIEBACK SUB, ASSY, 9 5/8, 9 5/8 BC                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC      RMC‐101750‐A02    RMC101750‐A‐02     203110 TRNSFR FR FMC HOU   SD‐1, ASSEMBLY, TIEBACK SUB, 7", W/7" AP                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC       RMC103989‐02      RMC103989‐02      203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 9 5/8 X 7, 7                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC       RMC103989‐01      RMC103989‐01      203110 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 9 5/8 X 7, 7                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC       2006‐09‐104‐2    HN:200609104‐2     203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 13 3/8 X 9 5/                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC       2006‐09‐096‐7     2006‐09‐096‐7     203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 20 X 13 3/8,                                                                          EA                                1                            0
 Technip ‐ Broussard     Technip FMC      HE0612015‐3MT     HE0612015‐3MT      203111 TRNSFR FR FMC HOU   SD‐1, CASING HANGER, ASSY, 30 X 20, 20 B                                                                         EA                                1                            0
 Technip ‐ Broussard     Technip FMC           H029400         H029400.               RMA203128           ADPTR ASSY, A‐4‐M, 11 10K STD'D BTM X 3                                                                          EA                                1                            0
   TIW ‐ Houston       TIW Corporation       3‐633156CP        13A00109                 HD A08C           525‐SV FLOAT COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                                 EA                                1                            0
   TIW ‐ Houston       TIW Corporation       3‐633156CP        13A00110                 HD A08C           525‐SV FLOAT COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                                 EA                                1                            0
                                                                                                          526‐DV NON‐AUTOFILL SETSHOE 521.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X AL
   TIW ‐ Houston       TIW Corporation      3‐633157CP         13A00111                HD A12D            BLADED NOSE W/SIDE PORTS (1‐PC)                                                                                 EA                                 1                                0
                                                                                                          526‐DV NON‐AUTOFILL SETSHOE 521.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X AL
   TIW ‐ Houston       TIW Corporation      3‐633157CP         13A00112                HD A12D            BLADED NOSE W/SIDE PORTS (1‐PC)                                                                                 EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐108383CP         08E02274                HD A26C            RP SPLINE SUB X‐PAK 5‐1/2 17#P‐110 ULTRA‐FJ BXP W/5.875 OD                                                      EA                                 1                                0
                                                                                                          RP SPLINE SUB X‐PAK 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN F/UPR‐C &
   TIW ‐ Houston       TIW Corporation      3‐119720CP         13A00100                HD A26C            W/5.500 OD                                                                                                      EA                                 1                                0
                                                                                                          X‐PAK LNR HGR 5 21.4# P‐110 EC (125KSI) ULT‐FJ PIN X 7 42.7# *COLLET #110515*
   TIW ‐ Houston       TIW Corporation      3‐633154CP         13A00097                HD A26C            (F/14" STROKE TL)                                                                                               EA                                 1                                0
                                                                                                          X‐PAK LNR HGR 5 21.4# P‐110 EC (125KSI) ULT‐FJ PIN X 7 42.7# *COLLET #110515*
   TIW ‐ Houston       TIW Corporation      3‐633154CP         13A00098                HD A26C            (F/14" STROKE TL)                                                                                               EA                                 1                                0
                                                                                                          DPOB W/GREASE PORT 5‐1/2 17# P‐110 ULTRA‐FJ BOX X 20# STL PIN F/2.594 OD
   TIW ‐ Houston       TIW Corporation      3‐634038CP         14F04050                HD A26C            POL NPL                                                                                                         EA                                 1                                0
                                                                                                          RP SPLINE SUB X‐PAK 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN F/UPR‐C &
   TIW ‐ Houston       TIW Corporation      3‐119720CP         13A00099                HD A26D            W/5.500 OD                                                                                                      EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00101                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00102                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00103                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119721CP         13A00104                HD A26D            EXT NPL 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN X 48" LG                                                   EA                                 1                                0
                                                                                                          DRILLABLE PO BUSH 5 21.4# P‐110 EC ULTRA‐FJ BOX X PIN W/O‐RG INSERT &
   TIW ‐ Houston       TIW Corporation      3‐633155CP         13A00105                HD A26D            F/2.594 OD POL NPL                                                                                              EA                                 1                                0
                                                                                                          DRILLABLE PO BUSH 5 21.4# P‐110 EC ULTRA‐FJ BOX X PIN W/O‐RG INSERT &
   TIW ‐ Houston       TIW Corporation      3‐633155CP         13A00106                HD A26D            F/2.594 OD POL NPL                                                                                              EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐521973CP         14F04053                HD A30C            226‐DV NON‐AUTO FILL SETSHOE 5‐1/2 20# P‐110 STL BOX X CEMENT NOSE                                              EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐528641CP         14F04051                HD A30C            PDC O‐L LANDING COLLAR 5‐1/2 20# P‐110 STL BOX X PIN                                                            EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐634039CP         14F04052                HD A30C            225‐SV FLOAT COLLAR 5‐1/2 20#P‐110 STL BOX X PIN                                                                EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐528446CP         13A00107                HD A31B            PDC O‐L LANDING COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                             EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐528446CP         13A00108                HD A31B            PDC O‐L LANDING COLLAR 5 21.4# P‐110 EC (125KSI) ULTRA‐FJ BOX X PIN                                             EA                                 1                                0

   TIW ‐ Houston       TIW Corporation      3‐108577CP         13C01637               HDX A27B            TIE BACK EXPANDER X‐PAK LH 5‐1/2 17# X 7‐5/8 29.7# W/5.500 ID X 48" LG RECPT                                    EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐108384CP         13H03696               HDX A35E            EXT NPL 5‐1/2 17# P‐110 ULTRA‐FJ BOX X PIN X 48" LG                                                             EA                                 1                                0
   TIW ‐ Houston       TIW Corporation      3‐119650CP         13A00014               HDX A35E            EXT NPL 5‐1/2 20# P‐110 STL BOX X PIN X 48" LG                                                                  EA                                 1                                0
                                                                                                          TIE‐BACK EXPANDER X‐PAK LH 5 15‐23.2# X 7 42.7# W/4.875 ID X 48" RECPT
   TIW ‐ Houston       TIW Corporation      3‐119718CP         13A00095               HDX A35E            (F/14" STROKE TL)                                                                                               EA                                 1                                0
                                                                                                          TIE‐BACK EXPANDER X‐PAK LH 5 15‐23.2# X 7 42.7# W/4.875 ID X 48" RECPT
   TIW ‐ Houston       TIW Corporation      3‐119718CP         13A00096               HDX A35E            (F/14" STROKE TL)                                                                                               EA                                 1                                0

   TIW ‐ Houston       TIW Corporation      3‐630211CP         08E02273               HDX A35E            X‐PAK LNR HGR 5‐1/2 17# P‐110ULTRA FJ PIN X 7‐5/8 29.7# * COLLET #097434 *                                      EA                                 1                                0
                                                                                                          GENERATOR; 4800KW KATO WITH 2 JUNCTION BOXES, SN‐43589‐01, 4160
Ward Leonard ‐ Houma    Ward Leonard                                                                      VOLTAGE, 1800 RPM                                                                                               EA                                 1                    262037.44




                                                                                                                                                                  112
                                                             Case 20-33948 Document 1254-1 Filed in TXSB on 04/09/21 Page 469 of 995      Exhibit D-1 (continued)




       Facility             Facility Owner          Item Number     Serial No.    Location   Item Description                                                              Project Number    Project Name     UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost    Total Value        WI% Net Value
                                                                                             GENERATOR; 1000KW MARATHON WITH JUNCTION BOXES PARTS, SN‐WA‐
Ward Leonard ‐ Houma        Ward Leonard                                                     6002753‐0616                                                                                                     EA                                 1                          0.01
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  P7010     TECHHOLD PKR,7,32‐35,3.880                                                                        200 TA‐3       EA                                 1                                         5135          1      5135
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101398678                  C019      COMB CPLG,3 1/2‐12 UN‐2B X 3 1/2 API‐NU                                                            200 TA 3      EA                                 1                                          826          1       826
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101522287                  C585      LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 1                                       914.85          1    914.85
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101522287                  C585      LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 1                                       914.85          1    914.85
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101522287                  C500      LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 1                                       914.85          1    914.85
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603543                  C010      SUB,BOT,MGP,5 1/2‐10 UNS‐2A X 5 1/4‐10                                                             200 TA 3      EA                                 1                                       917.92          1    917.92
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  P048      TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  C585      TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  C585      TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101603791                  P7010     TECHHOLD PKR,7,32‐35,3.880                                                                         200 TA 3      EA                                 1                                      4022.68          1   4022.68
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101652773                  C5006     LN,2.750,S13CR,3 1/2‐9.2 VARST1,B‐P                                                                200 TA 3      EA                                 1                                       728.83          1    728.83
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101858738                  C5011     PKR,7,32‐35,4 1/2‐4 AC‐2G‐LH .SCB                                                                  200 TA 3      EA                                 1                                      6494.54          1   6494.54
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101939766                  C585      LOC,NO‐GO,4‐13.20 VARST1 X 3 1/2‐12 UN‐2                                                           200 TA 3      EA                                 1                                       793.54          1    793.54
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101939766                  C585      LOC,NO‐GO,4‐13.20 VARST1 X 3 1/2‐12 UN‐2                                                           200 TA 3      EA                                 1                                       793.54          1    793.54
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH100008579                  C028      GID,TUBE,WD,5 3/8‐10 UNS,7,32‐38 X 4.00                                                            200 TA 3      EA                                 1                                          493          1       493
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101252847                  C002      MDRL,NWD,4 1/2‐12 UN‐2A X 4 1/2 API‐LC,7                                                           200 TA 3      EA                                 1                                          889          1       889
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101290361                  C027      MULE SHOE GID,3 1/2‐12 UN BOX                                                                      200 TA 3      EA                                 1                                          268          1       268
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101346768                  C358      CLO SLV ASSY,MPT,5 1/4‐10 UNS X 5‐18                                                               200 TA 3      EA                                 1                                         2643          1      2643
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101346768                   P11      CLO SLV ASSY,MPT,5 1/4‐10 UNS X 5‐18                                                               200 TA 3      EA                                 1                                         2643          1      2643
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101555004                  C358      REDCG ADPTR,2 1/4 OTIS‐ST X 2 3/8‐4.60                                                             200 TA 3      EA                                 1                                          415          1       415
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101555004                  C358      REDCG ADPTR,2 1/4 OTIS‐ST X 2 3/8‐4.60                                                             200 TA 3      EA                                 1                                          415          1       415
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101555547                  C046      SEAL ASSY,2.650 X 2 1/4 OTIS‐ST                                                                    200 TA 3      EA                                16                                       468.79          1    468.79
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101575482                  C358      REDCG ADPTR,2 3/8‐4.60 TSH 511 X 2 1/4                                                             200 TA 3      EA                                 1                                          461          1       461
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101575482                  C358      REDCG ADPTR,2 3/8‐4.60 TSH 511 X 2 1/4                                                             200 TA 3      EA                                 1                                          461          1       461
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton           ZCUSSH323456                    C5002     SEAL UNIT EXT,3 1/2‐12 UN,B‐P,3.88                                                                 200 TA 3      EA                                 1                                          813          1       813
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH101944453                  C5006     COL SHFT TL,BS1,2.770,41XX LAS                                                                     200 TA 3      EA                                 4                                         1532          1      1532
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102004784                   P11      TRV JT,3 1/2‐9.20 VARST1 B‐P                                                                       200 TA 3      EA                                 1                                          148          1       148
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102127370                  C7012     FLDLOSS DVC,FS2‐L,5.470,2.770,.SCB                                                                 200 TA 3      EA                                 1                                        16617          1     16617
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102132850                  C5006     SEAL ASSY,3.880 X 3 1/2‐12 UN,MLD AFLAS                                                            200 TA 3      EA                                 5                                          595          1       595
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102138028                  C5006     PERF COL LOCTR,4.000 X 2 7/8 API‐EU                                                                200 TA 3      EA                                 1                                         2758          1      2758
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102138040                  C5006     MULESHOE GDE,3 1/4‐8 UN‐2B,BOX,WITH BAF                                                            200 TA 3      EA                                 1                                       374.23          1    374.23
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102154734                  C5006     SHR JT ASSY,3 1/2‐9.20 VARST1,B‐P                                                                  200 TA 3      EA                                 3                                          162          1       162
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102004784                B5‐R1‐RW4   TRV JT,3 1/2‐9.20 VARST1 B‐P                                                                       200 TA 3      EA                                 1                                          162          1       162
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102004784                B5‐R2‐RW4   TRV JT,3 1/2‐9.20 VARST1 B‐P                                                                       200 TA 3      EA                                 1                                          162          1       162
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102127370                  C7011     FLDLOSS DVC,FS2‐L,5.470,2.770,.SCB                                                                 200 TA 3      EA                                 1                                        16617          1     16617
                                                                                                                                                                                            SHELL TROIKA GC
   LAF‐Southpark             Halliburton          ZCUSSH102134650                  C5006     LOC,NO‐GO,3 1/2‐9.20 VARST1 X 3 1/2‐12                                                             200 TA 3      EA                                 2                                       876.98          1    876.98
                                                                                                                                                                                            SHELL TROIKA GC
   GE ‐ Broussard          GE ‐ Broussard            H10004‐2                                SCREW,CAP,HEX COLLAR, 2.000‐ 8 X 9.000 LG,UN‐2A, LOW TEMPERATURE SERVICE                           200 TA 3      EA                                24                                          697          1       697
                                                                                             3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL                         SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5241‐1                                PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                                  200 TA 3      EA                                 1                                          500          1       500
                                                                                             3‐WAY SHOOT AROUND(3.5" 9.20# AF913‐110Y VARST‐1 B0X / 5.5" 16.87# STL                         SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5241‐2                                PIN / 3.5" 9.20# VARST‐1 BOX 2FT)                                                                  200 TA 3      EA                                 1                                          500          1       500
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5235‐6                                COUPLING (3.5" 9.20# 13CRM110 VARST‐1) (C‐LEVEL)                                                   200 TA 3      EA                                 1                                               45      1        45
                                                                                             CROSSOVER (5.5" 16.87# STL BOX / 3.5" 9.20# VARST‐1 PIN AF913‐110Y 2FT) (C‐                    SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5233‐1                                LEVEL)                                                                                             200 TA 3      EA                                 1                                          500          1       500
                                                                                             CROSSOVER (5.5" 16.87# STL BOX / 3.5" 9.20# VARST‐1 PIN AF913‐110Y 2FT) (C‐                    SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5233‐2                                LEVEL)                                                                                             200 TA 3      EA                                 1                                          500          1       500
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5239‐2                                PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                               45      1        45
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5239‐3                                PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                               45      1        45
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5239‐4                                PUP JOINT (3.5" 9.20# 13CRS110 VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                               45      1        45
                                                                                                                                                                                            SHELL TROIKA GC
   OES ‐ Broussard     Offshore Energy Services      GP5240‐1                                PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                   200 TA 3      EA                                 1                                               45      1        45




                                                                                                                                                     113
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    Facility           Facility Owner        Item Number   Serial No.   Location   Item Description                                                               Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost   Total Value        WI% Net Value
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5240‐2                             PUP JOINT (5.5" 17# 13CR110Y HYPTP1 FOX K PIN/PIN 4FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                   CROSSOVER (3.5" 9.20# 13CRS110Y VARST‐1 BOX/ 3.5" 9.20# TSH 511 BOX 2FT) (C‐                    SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5036‐1                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                   CROSSOVER (3.5" 9.20# 13CRS110Y VARST‐1 BOX/ 3.5" 9.20# TSH 511 BOX 2FT) (C‐                    SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5036‐2                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                   CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐                       SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5037‐1                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                   CROSSOVER (5" 14.87# STL PIN AF913‐110Y X 3.5" 9.20# VARST‐1 PIN 2FT) (C‐                       SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5037‐2                             LEVEL)                                                                                              200 TA 3      EA                                 1                                         500          1       500
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐1                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐2                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐3                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐4                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐5                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐6                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐7                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐8                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5035‐9                             PUP JOINT (3.5" 9.20# 13CRM110 VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                       200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐1                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐2                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐3                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5019‐4                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 20FT PIN/PIN) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐3                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐4                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐5                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5030‐6                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐1                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐2                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐3                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐4                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐5                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐6                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5040‐7                             PUP JOINT (3.5" 9.20# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5042‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 10FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5048‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 12FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5047‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 14FT) (C‐LEVEL)                                    200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5038‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 2FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5039‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5039‐2                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5039‐3                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 4FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5045‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 6FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5043‐1                             PUP JOINT (4.5" 15.10# 13CRM110Y VARST‐1 PIN/PIN 8FT) (C‐LEVEL)                                     200 TA 3      EA                                 1                                              45      1        45
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐1                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐2                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐3                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐4                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐5                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐6                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐7                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5063‐8                             RANGE 2 JOINT (3.5" 9.20# 13CR110Y MOD TSH 511 BOX/PIN) (C‐LEVEL)                                   200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                   SHELL TROIKA GC
OES ‐ Broussard   Offshore Energy Services    GP5060‐1                             RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                      200 TA 3      EA                                 1                                              82      1        82




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     Facility              Facility Owner            Item Number       Serial No.   Location   Item Description                                                                  Project Number     Project Name    UOM   Condition   Wt. (lbs)   On Hand Qty   Length   Average Cost   Total Value        WI% Net Value
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services        GP5060‐10                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐2                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐3                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐4                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐5                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐6                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐7                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐8                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5060‐9                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5266‐1                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
 OES ‐ Broussard      Offshore Energy Services         GP5266‐2                                RANGE 2 JOINT (3.5" 9.20# 13CRS110Y VARST‐1 PIN/PIN) (C‐LEVEL)                                         200 TA 3      EA                                 1                                              82      1        82
                                                                                                                                                                                                  SHELL TROIKA GC
     Schiever               Weatherford           541R070SLI2Q12A002                           SUB, CENTRALIZER ROT 7 541R Q125 VAM SLIJ‐II 32.0 9.75 OD                                              200 TA 3      EA                                20                                         635          1       635
                                                                                                                                                                                                  SHELL TROIKA GC
     Schiever               Weatherford           M212W70SLI2Q12A002                           SHOE, GUIDE 7 M212W CONC CMPST Q125 VAM SLIJ‐II 32.0                                                   200 TA 3      EA                                 2                                      471.18          1    471.18
                                                                                                                                                                                                  SHELL TROIKA GC
     Schiever               Weatherford           M45AP70SLI2Q12A002                           COLLAR, FLOAT 7 M49AP Q125 NR VAM SLIJ‐II 32.0 2‐4                                                     200 TA 3      EA                                 2                                     1092.48          1   1092.48
                                                                                               1‐Stairway with Handrails, 1‐Caged Access Ladder, & 2‐Small Deck Extension/Work                     Green Canyon
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                                Platofrms                                                                                            Block# 65 "A"   EA                                 1                                         225          1       225




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                                                               Exhibit E
                                                                Permits

Part 1. Co-Owned Permits

  Block          Lease                                                       Permit
  GI 32          00174                                        No active/pending permits at this time
  GI 39          00126                                        No active/pending permits at this time
  GI 39          00127                                        No active/pending permits at this time
  GI 40          00128                                       APM Well No. M001 - Recomp to PI E1
  GI 41          00129                                      Segment 17191 - Pipeline Repair; In Review
  GI 41          00130                                        No active/pending permits at this time
  GI 42          00131                                        No active/pending permits at this time
  GI 43          00175                                        No active/pending permits at this time
  GI 44          00176                                        No active/pending permits at this time
  GI 46          00132                                        No active/pending permits at this time
  GI 47          00133                                        No active/pending permits at this time
  GI 48          00134                                        No active/pending permits at this time
  GI 52          00177                                        No active/pending permits at this time
  GI 110        G13943                                        No active/pending permits at this time
  GI 116        G13944                                        No active/pending permits at this time
 MC 110         G18192                                        No active/pending permits at this time
  SM 41         G01192                                        No active/pending permits at this time
  SM 48          00786                                        No active/pending permits at this time
 SM 149         G02592                                      C001 (APM for CT Cleanout/Modify Perfs)
  SP 60         G01609                                        No active/pending permits at this time
  ST 53         G04000                                        No active/pending permits at this time
  ST 67          00020                                        No active/pending permits at this time
  WD 67          00179                                        No active/pending permits at this time
  WD 68          00180                                        No active/pending permits at this time



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  Block          Lease                                                                  Permit
  WD 69          00181                                                   No active/pending permits at this time
                                                           APMs for Well Nos. WD70 I002, I007 & L005 - Conductor Repairs
  WD 70          00182                                                Well No. I014 - Install Lower PB Valve
                                                                         Well No. O004 - TTRC to JR Sand

                                                                      APMs for PA Well Nos. E006 & E009
  WD 71          00838                                            WD71 Well Nos. O002 & O007- Conductor Repairs
                                                                       WD71 Well No. O008 - APM for PA
  WD 94          00839                                                   No active/pending permits at this time
  WD 95         G01497                                                   No active/pending permits at this time
  WD 96         G01498                                                   No active/pending permits at this time



Part 2. Other Permits

  Block          Lease                                                                  Permits
 AT 023         G35015                                                   No active/pending permits at this time
 BS 025         G31442                                                   No active/pending permits at this time
 EC 345         G15156                                                   No active/pending permits at this time
 EW 789         G35805                                                   No active/pending permits at this time
 EW 790         G33140                                                   No active/pending permits at this time
 EW 828         G35806                                                   No active/pending permits at this time
 EW 834         G27982                                                   No active/pending permits at this time
 EW 835         G33707                                                   No active/pending permits at this time
EW 1009         G34878             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
EW 1010         G34879             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
EW 1011         G34880             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 GC 39 A        G34966                                      Approved Revised EP Control No.R-6837 to drill/complete well B
 GC 39 B        G36476                                                   No active/pending permits at this time
 GC 040         G34536                 Revised DWOP in-review w/BSEE; approved Revised EP Control No.R-6837 to drill/complete wells C, F, I, J



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  Block          Lease                                                             Permits
 GC 041         G34537                                                  Nothing pending for any Seller
 GC 064         G34539                                                      No permits are pending
                                                              GC65 A - Proposed Helideck Repair Plan in review.
 GC 065         G05889
                                                               GC65 A037 - Casing Departure Request; pending
 GC 108         G14668                                               No active/pending permits at this time
 GC 109         G05900                                               No active/pending permits at this time
 GC 153         G36814                                               No active/pending permits at this time
 GC 198         G36021                                               No active/pending permits at this time
 GC 200         G12209                  Supplemental EP Control No.S-7931 approved to drill TA010, TA012, TA014, TA016, TA017, TA018
 GC 201         G12210                                               No active/pending permits at this time
 GC 238         G26302                                               No active/pending permits at this time
 GC 243         G20051                                               No active/pending permits at this time
 GC 244         G11043                                               No active/pending permits at this time
 GC 282         G16727                                               No active/pending permits at this time
 GC 679         G21811                                               No active/pending permits at this time
 GC 768         G21817                                               No active/pending permits at this time
  HI 176        G27509                                                APM to PA Well No.'s 002 & 003
 MC 118         G35963                                               No active/pending permits at this time
 MC 119         G36537                                               No active/pending permits at this time
 MC 162         G36880                                               No active/pending permits at this time
 MC 163         G36538                                               No active/pending permits at this time
 MC 171         G34428                                               No active/pending permits at this time
 MC 172         G34429                                               No active/pending permits at this time
 MC 206         G36540                                               No active/pending permits at this time
 MC 297         G34434                                               No active/pending permits at this time
 MC 380         G36544                                               No active/pending permits at this time
 MC 424         G36545                                               No active/pending permits at this time
 MC 435         G36772                                               No active/pending permits at this time
 MC 436         G36773                                               No active/pending permits at this time


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  Block          Lease                                                                   Permits
 MC 474         G35825                                               MC519 #2 - Casing Departure Request; pending
 MC 518         G35828                                                    No active/pending permits at this time
 MC 519         G27278                                            Preparing RDOCD to capture new flowline installation
 MC 562         G19966                                                    No active/pending permits at this time
 MC 563         G21176                                                    No active/pending permits at this time
 MC 691         G36400                                                    No active/pending permits at this time
 MC 697         G28021             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 MC 698         G28022             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 MC 742         G32343             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 MC 743         G36401                                                    No active/pending permits at this time
 MC 782         G33757                         Active departure for #002 well for cycling zones (will continue to be renewed every 4 months)
 MC 789         G36557                                                    No active/pending permits at this time
 MC 793         G33177                                                    No active/pending permits at this time
 MC 904         G36566                                                    No active/pending permits at this time
 MC 905         G36405                                                    No active/pending permits at this time
                               Approved SDOCD Control No. S-8000 for #001 well (SHL in MC948/BHL in MC992) to sidetrack & produce well + install 2 LT
 MC 948         G28030
                                                                                     pipelines
 MC 949         G32363             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
                               Approved SDOCD Control No. S-8000 for #001 well (SHL in MC948/BHL in MC992) to sidetrack & produce well + install 2 LT
 MC 992         G24133
                                                                                     pipelines
 MC 993         G24134             Nothing filed under FW yet (previous Noble submittals need to be re-permitted under FW when operations determined)
 SM 040         G13607                                                    No active/pending permits at this time
  SS 079        G15277                                                    No active/pending permits at this time
                                            SOP Approved with contingency that the A004 recompletion will need to begin by January 31, 2021
  SS 301        G10794
                                                                    Segment 11050 - Temp Cessation; In Review
  ST 287        G24987                                                    No active/pending permits at this time
  ST 308        G21685                                              ST308 A002 - Casing Departure Request; pending
 VR 078         G04421                                                    No active/pending permits at this time
 VR 229         G27070                                                    No active/pending permits at this time



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  Block          Lease                                                                   Permits
 VR 362         G10687                                                   APM for VR362 A003 - Conductor Repair
 VR 363         G09522                                                     No active/pending permits at this time
                                                                              RPM for VR 371 A001 (TA)
 VR 371         G09524
                                                                        Segment 10675 - Temp Cessation; In Review
 WD 57,
 WD 79,         G01449                                                     No active/pending permits at this time
 WD 80
 WD 79,
                G01874                                                     No active/pending permits at this time
 WD 80
  WD 80         G01989                                                     No active/pending permits at this time
  WD 80         G02136                                                     No active/pending permits at this time


    Onshore Lease                                                                 Permits
     SL-LA 15683               No active/pending permits at this time
     SL-LA 17675               No active/pending permits at this time
     SL-LA 17860               No active/pending permits at this time
     SL-LS 19051               No active/pending permits at this time
     SL-LA 19718               No active/pending permits at this time
     SL-MS 23017               No active/pending permits at this time
    SL-MS 170650               No active/pending permits at this time
    SL-MS 230140               No active/pending permits at this time
    SL-MS 230150               No active/pending permits at this time
    SL-MS 231240               No active/pending permits at this time
     SL-TX 5749                No active/pending permits at this time
     SL-TX 5797                No active/pending permits at this time
     SL-TX 24318               No active/pending permits at this time
    SL-TX 106158               No active/pending permits at this time
    SL-TX 106159               No active/pending permits at this time
    SL-TX 114921               No active/pending permits at this time
    SL-TX 172915               No active/pending permits at this time


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    Onshore Lease                                                                  Permits
    SL-TX 172916               No active/pending permits at this time
    SL-TX 178537               No active/pending permits at this time
    SL-TX 183756               No active/pending permits at this time
    SL-TX 185633               No active/pending permits at this time
    SL-TX 186891               No active/pending permits at this time
    SL-TX 191681               No active/pending permits at this time
    SL-TX 207398               No active/pending permits at this time
    SL-TX 227360               No active/pending permits at this time
    SL-TX 234082               No active/pending permits at this time
    SL-TX 255675               No active/pending permits at this time


                                                                        [End of Exhibit E]




                                                                         Exhibit E – Page 6
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                                  Exhibit I
                 First Lien Exit Facility Commitment Letter
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                                                                                             Execution Version

                                       GOLDMAN SACHS BANK USA
                                        2001 Ross Avenue, Suite 2800
                                            Dallas, Texas 75201

PRIVATE AND CONFIDENTIAL

March 24, 2021

Fieldwood Energy LLC
2000 W. Sam Houston Pkwy. S.,
Suite 1200
Houston, TX 77042
Attention: Mike Dane, Chief Financial Officer

                                                Commitment Letter

Ladies and Gentlemen:

         Fieldwood Energy LLC, a Delaware limited liability company (“you” or the “Company”), has
informed Goldman Sachs Bank USA (“we”, “us” or “GS Bank” and, together with its affiliates, “Goldman
Sachs”) that the Borrower (as defined in Annex B), intends to establish the credit facility having the terms set
forth in Annex B consisting of $118,599,082.31 under a senior secured first lien term loan facility (the “First
Lien Exit Facility”) in connection with the emergence of the Company from proceedings (the “Chapter 11
Cases”) pending under 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”), in order to implement the Transactions
(as defined below). The proceeds of the First Lien Exit Facility are expected to be used in accordance with and
as provided in the Third Amended Joint Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors,
a copy of which is attached hereto as Annex C (including any exhibits and schedules thereto and as further
amended, supplemented, or otherwise modified with our consent (not to be unreasonably withheld), the
“Plan”) on the Closing Date (as defined in Annex B).

        “Transactions” means, collectively, the Restructuring Transactions (as defined in the Plan),
including, without limitation, the initial borrowings and other extensions of credit made (or deemed made)
under the First Lien Exit Facility on the Plan Effective Date and the payment of fees and expenses in
connection therewith.

         We are pleased to confirm the arrangements under which (i) GS Bank is exclusively authorized by
Company and the Borrower to act as sole arranger, administrative agent and collateral agent in connection with
the First Lien Exit Facility, and (ii) GS Bank commits to provide the full $118,599,082.31 principal amount of
the First Lien Exit Facility, in each case on the terms and subject to the conditions set forth in this letter and in
the attached Annexes A and B hereto (collectively, the “Commitment Letter”; capitalized terms used but not
defined herein shall have the meanings given to them in the attached Annex A or B, as applicable). You
hereby appoint GS Bank to act in each such role. Certain fees for our services related to the First Lien Exit
Facility are set forth in a separate fee letter (as amended, restated, amended and restated, supplemented or
otherwise modified from time to time, the “Fee Letter”), entered into by the Company and GS Bank on the
date hereof.

         Further, in connection with the Transactions, GS Bank agrees that from the Execution Date to the
earlier of (i) the Termination Date or (ii) the occurrence of any of the events listed on Annex D attached
hereto, it shall (a) support and not object to or support any other person or entity in objecting to or otherwise
opposing the Plan, (b) timely vote or cause to be voted the Allowed FLFO Claims in favor of the Plan by
delivering or causing to be delivered duly executed and completed ballot or ballots to accept such Plan, and (c)
not change or withdraw (or cause or direct to be changed or withdrawn) any such vote in favor of the Plan.
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         Our commitments are subject to the following conditions (a) the accuracy and completeness in all
material respects (but without duplication of materiality) of all representations that the Company, the Borrower
and their respective subsidiaries made to GS Bank in the First Lien Exit Facility Documents (as defined in the
Plan) and the Company’s compliance in all material respects with the terms of this Commitment Letter and the
Fee Letter; and (b) the satisfaction of all conditions precedent set forth in the First Lien Exit Facility
Documents described in Annex B under the Section entitled “Conditions Precedent”.

         The terms of this Commitment Letter are intended as an outline of certain of the material terms of the
First Lien Exit Facility, but do not include all of the terms, covenants, representations, warranties, default
clauses and other provisions that will be contained in the First Lien Exit Facility Documents. The First Lien
Exit Facility Documents shall include, in addition, provisions that are customary or typical for financings of
this type.

         GS Bank reserves the right to syndicate the First Lien Exit Facility to the First Lien Term Lenders.
The Company agrees to cooperate with GS Bank in connection with and promptly respond to requests of GS
Bank with respect to the preparation of an information package regarding the business, operations and
financial projections of the Company, the Borrower and their respective subsidiaries including, without
limitation, the delivery of all information relating to the transactions contemplated hereunder prepared by or on
behalf of the Company or the Borrower deemed reasonably necessary by GS Bank to complete the syndication
of the First Lien Exit Facility, the presentation of an information package acceptable in format and content to
GS Bank in meetings and other communications with prospective First Lien Term Lenders in connection with
the syndication of the First Lien Exit Facility (including, without limitation, direct contact between senior
management and representatives of the Company and the Borrower with prospective First Lien Term Lenders
and participation of such persons in meetings), the preparation and delivery to GS Bank of any and all other
information deemed reasonably necessary by GS Bank to complete the syndication of the First Lien Exit
Facility. The Company shall be solely responsible for the contents of any such information package and
presentation and acknowledges that GS Bank will be using and relying upon the information contained in such
information package and presentation without independent verification thereof. The Company agrees that
information regarding the First Lien Exit Facility and information provided by the Company or its
representatives to us in connection with the First Lien Exit Facility (including, without limitation, the
Information and Projections (each as hereinafter defined), draft and execution versions of the First Lien Exit
Facility Documents), may be disseminated to potential First Lien Term Lenders and other persons through one
or more internet sites (including an IntraLinks, SyndTrak or other electronic workspace (the “Platform”)
created for purposes of syndicating the First Lien Exit Facility or otherwise, in accordance with GS Bank’s
standard syndication practices (including hard copy and via electronic transmissions). Without limiting the
foregoing, the Company authorizes the use of its logo in connection with any such dissemination. The
Company acknowledges that neither GS Bank nor any of its affiliates will be responsible or liable to the
Company or any other person or entity for damages arising from the use by others of the information or other
materials obtained on the Platform, except to the extent that such damages have been found by a final, non-
appealable judgment of a court of competent jurisdiction to have resulted from the gross negligence or willful
misconduct of GS Bank or its affiliates.

         At the request of GS Bank, the Company agrees to prepare a version of the information package and
presentation that does not contain material non-public information concerning the Company, the Borrower,
their affiliates or its or their securities. In addition, the Company agrees that, unless specifically labeled
“Private – Contains Non-Public Information,” no information, documentation or other data disseminated to
prospective First Lien Term Lenders in connection with the syndication of the First Lien Exit Facility, whether
through an internet site (including, without limitation, the Platform), electronically, in presentations at lender
meetings or otherwise, will contain any material non-public information concerning the Company, the
Borrower, their affiliates or its or their securities.

         In addition, the Company represents and covenants that (a) all written information, other than
Projections (defined below) or information of a general economic or industry-specific nature, which has been

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or is hereafter provided directly or indirectly by the Company, the Borrower or any of their respective
representatives to GS Bank or the First Lien Term Lenders in connection with the transactions contemplated
hereunder (the “Information”), when taken as a whole, is and will be complete and correct in all material
respects and does not and will not contain any untrue statement of a material fact or omit to state a material
fact necessary to make the statements contained therein not misleading (after giving effect to all supplements
and updates thereto from time to time) and (b) all financial projections concerning the Company, the Borrower
and their affiliates that have been or will be made available to GS Bank or the First Lien Term Lenders by the
Company or any of its representatives (the “Projections”) have been and will be prepared in good faith based
upon assumptions that are believed by the preparer thereof to be reasonable at the time made; provided that it
is understood and agreed that (i) the projections are not to be viewed as facts, (ii) the Projections are subject to
significant uncertainties and contingencies, many of which are beyond the control of your or the Borrower, (iii)
no assurance can be given that any particular Projections will be realized and (iv) actual results during the
period of periods covered by any such Projections may differ significantly from the projected results and such
differences may be material. You agree that if at any time prior to the initial funding of the First Lien Exit
Facility, any of the representations in the preceding sentence would be incorrect in any material respect if the
Information and Projections were being furnished, and such representations were being made, at such time,
then you will promptly supplement, or cause to be supplemented, the Information and Projections so that such
representations will be correct in all material respects under those circumstances. Notwithstanding anything to
the contrary, neither you nor the Borrower will be required to provide any information to the extent that the
provision thereof would violate any attorney client privilege, law, rule or regulation or any obligation of
confidentiality binding on you, the Borrower or your respective subsidiaries, or waive any attorney client
privilege that may be asserted by you or the Borrower or your respective subsidiaries; provided, that you agree,
to the extent practicable and not prohibited by applicable law, rule or regulation, to promptly notify us that
information is being withheld pursuant to this sentence.

         By executing this Commitment Letter, you agree to reimburse GS Bank from time to time on demand
for all reasonable and documented out-of-pocket fees and expenses (including, but not limited to, the
reasonable fees, disbursements and other charges of all legal counsel to GS Bank (limited to one primary
counsel to GS Bank and, if reasonably necessary, of one local counsel in each relevant jurisdiction and one
additional regulatory or other specialist counsel for each relevant area of expertise (in each case, which may be
a single firm for multiple jurisdictions)) and examiners, search fees, due diligence expenses, transportation
expenses, and appraisal, environmental, audit, and consultant costs and expenses) incurred in connection with
the First Lien Exit Facility, a syndication thereof, the preparation of the definitive documentation therefor and
the other transactions contemplated hereby, regardless of whether any of the transactions contemplated hereby
are consummated.

       In addition, in connection with arrangements such as this, it is GS Bank’s policy to receive
indemnification. You agree to the provisions with respect to indemnity and other matters set forth in
Annex A, which is incorporated by reference into this Commitment Letter.

        GS Bank hereby notifies you that pursuant to the requirements of the USA PATRIOT Act, Title III of
Pub. L. 107-56 (signed into law October 26, 2001) (the “Act”) and the requirements of 31 C.F.R. § 1010.230
(the “Beneficial Ownership Regulation”), GS Bank and each First Lien Term Lender is required to obtain,
verify and record information that identifies each borrower and guarantor under the First Lien Exit Facility,
which information includes the name and address and other information of each such person or entity that will
allow GS Bank and each First Lien Term Lender to identify each such person or entity in accordance with the
Act and the Beneficial Ownership Regulation. This notice is given in accordance with the requirements of the
Act and the Beneficial Ownership Regulation and is effective for GS Bank and each First Lien Term Lender.

        Please note that this Commitment Letter and the Fee Letter and any written or oral advice provided by
us in connection with this arrangement (a) are exclusively for the information of the board of directors (or
equivalent governing body, person or entity) and the senior management of the Company and the Borrower
and (b) may not be disclosed to any third party or circulated or referred to publicly without our prior written

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consent except, after providing written notice to GS Bank, pursuant to a subpoena or order issued by a court of
competent jurisdiction or by a judicial, administrative or legislative body or committee; provided, however,
that we hereby consent to disclosure of (w) this Commitment Letter, the Fee Letter and such advice to the
officers, directors, agents and advisors (including counsel) of the Company and the Borrower who are directly
involved in the consideration of the First Lien Exit Facility to the extent such persons are advised to hold the
same in confidence, (x) this Commitment Letter and the Fee Letter as required by the Bankruptcy Court, other
applicable law or compulsory legal process (in which case you agree to inform us promptly thereof) or
pursuant to the order of any court or administrative agency or in any legal, administrative or judicial
proceeding where disclosure is required by law, rule or regulations (in which case, to the extent practicable and
not prohibited by applicable law you shall notify us promptly thereof prior to such disclosure), (y) the
aggregate fee amounts contained in the Fee Letter (but not the Fee Letter or other terms thereof) as part of
Projections, pro forma information or a generic disclosure of aggregate sources and uses related to fee amounts
related to the Transaction to the extent customary and (z) this Commitment Letter, the Fee Letter and the
contents hereof and thereof to the extent necessary in connection with the exercise of any remedy or
enforcement of any rights hereunder or thereunder or in connection with any defense to any claim of Goldman
Sachs or any Indemnified Person hereunder or thereunder.

         Goldman Sachs shall, until the earlier of (i) two (2) years from the date hereof or (ii) the execution of
definitive documentation for the First Lien Exit Facility, treat confidentially all information received by them
from the Company, the Borrower or their respective representatives in connection with this Commitment
Letter, the Term Sheet or the First Lien Exit Facility contemplated hereby or thereby (the “Confidential
Information”); provided that, upon execution and delivery of the definitive documentation for the First Lien
Exit Facility, the applicable provisions of such definitive documentation shall govern the confidentiality
matters described in this paragraph. Nothing herein shall prevent Goldman Sachs from disclosing any such
Confidential Information: (a) pursuant to the order of any court or administrative agency or in any legal,
administrative or judicial proceeding where disclosure is requested or required by law, rule or regulations (in
which case, to the extent practicable and not prohibited by applicable law and other than with respect to any
audit or examination conducted by bank accountants, any governmental bank, financial, accounting or similar
authority exercising routing examinations or regulatory authority, Goldman Sachs shall notify you promptly
thereof prior to such disclosure), (b) upon the request or demand of any regulatory authority (including any
self-regulatory authority) having jurisdiction over Goldman Sachs or its affiliates (in which case, to the extent
practicable and not prohibited by applicable law and other than with respect to any audit or examination
conducted by bank accountants, any governmental bank, financial, accounting or similar authority exercising
routing examinations or regulatory authority, Goldman Sachs shall notify you promptly thereof prior to such
disclosure), (c) solely in connection with this Commitment Letter, the Term Sheet and the First Lien Exit
Facility contemplated hereby and thereby, to its affiliates and the officers, directors, employees, directors,
officers, legal counsel, advisors, partners, consultants, insurers, and agents of Goldman Sachs or its affiliates
(to the extent such persons receive Confidential Information by or on behalf of Goldman Sachs) (collectively,
“Representatives”) on a need-to-know basis who are informed of the confidential nature of such information
and are or have been advised of their obligation to keep information of this type confidential, (d) to any
potential lender or co-investor or swap counterparty and, in each case, their respective Representatives (to the
extent such Representatives receive Confidential Information by or on behalf of such person) who is informed
of the confidential nature of such information and are or have been advised of their obligation to keep
information of this type confidential, (e) to sources of financing and rating agencies who are informed of the
confidential nature of such information and are or have been advised of their obligation to keep information of
this type confidential, (f) for purposes of establishing a “due diligence” defense or in connection with
exercising any remedy or enforcing Goldman Sachs’ rights with respect to this Commitment Letter or (g) as
expressly permitted by the Company and/or the Borrower. Confidential Information shall not include
information to the extent that such information (w) becomes publicly available other than by reason of a breach
of the confidentiality obligations set forth in this paragraph, (x) becomes available to Goldman Sachs or its
Representatives from a source other than the Company or the Borrower or on its behalf and not knowingly in
violation of any confidentiality agreement or obligation owed to the Company or the Borrower, (y) is
independently developed by Goldman Sachs or its Representatives without reference to any confidential

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information, or (z) was or is in the possession of Goldman Sachs or its Representatives prior to disclosure
hereunder. Notwithstanding anything to the contrary set forth in the foregoing, in no event shall Goldman
Sachs be required to return any materials constituting Confidential Information provided to or on behalf of the
Company or the Borrower or any of their respective subsidiaries.

          As you know, our affiliate, Goldman, Sachs & Co. (“GS & Co”), is a full service securities firm
engaged, either directly or through its affiliates in various activities, including securities trading, investment
management, financing and brokerage activities and financial planning and benefits counseling for both
companies and individuals. In the ordinary course of these activities, GS & Co or its affiliates may actively
trade the debt and equity securities (or related derivative securities) of the Company and other companies
which may be the subject of the arrangements contemplated by this letter, including any of their respective
affiliates, for their own account and for the accounts of their customers and may at any time hold long and
short positions in such securities. GS & Co or its affiliates may also co-invest with, make direct investments
in, and invest or co-invest client monies in or with funds or other investment vehicles managed by other
parties, and such funds or other investment vehicles may trade or make investments in securities or other debt
obligations of the Company or other companies which may be the subject of the arrangements contemplated by
this letter and any of their respective affiliates.

          Goldman Sachs may have economic interests that conflict with those of the Company and/or the
Borrower. You agree that Goldman Sachs will act under this letter as an independent contractor and that
nothing in this Commitment Letter or the Fee Letter or otherwise will be deemed to create an advisory,
fiduciary or agency relationship or fiduciary or other implied duty between Goldman Sachs, on the one hand,
and the Company and/or the Borrower, their respective stockholders or their respective affiliates, on the other.
You acknowledge and agree that (a) the transactions contemplated by this Commitment Letter and the Fee
Letter are arm’s-length commercial transactions between Goldman Sachs, on the one hand, and the Company
and the Borrower, on the other, (b) in connection therewith and with the process leading to such transaction
Goldman Sachs is acting solely as a principal and not the agent or fiduciary of the Company, the Borrower,
their respective management, stockholders, creditors or any other person, (c) Goldman Sachs has not assumed
an advisory or fiduciary responsibility in favor of the Company or the Borrower with respect to the
transactions contemplated hereby or the process leading thereto (irrespective of whether Goldman Sachs or any
of its affiliates has advised or is currently advising the Company on other matters) or any other obligation to
the Company or the Borrower except the obligations expressly set forth in this Commitment Letter and the Fee
Letter and (d) the Company has consulted its own legal and financial advisors to the extent it deemed
appropriate. The Company further acknowledges and agrees that it is responsible for making its own
independent judgment with respect to such transactions and the process leading thereto. The Company agrees
that it will not claim that Goldman Sachs has rendered advisory services of any nature or respect, or owes a
fiduciary or similar duty to the Company, in connection with such transaction or the process leading thereto.
In addition, GS Bank may employ the services of its affiliates in providing certain services hereunder and may
exchange with such affiliates information concerning the Company, the Borrower and other companies that
may be the subject of this arrangement, and such affiliates shall be entitled to the benefits afforded to GS Bank
hereunder.

        The provisions of the immediately preceding seven paragraphs shall remain in full force and effect
regardless of whether any definitive documentation for the First Lien Exit Facility shall be executed and
delivered, and notwithstanding the termination of this Commitment Letter or any commitment or undertaking
hereunder.

         This Commitment Letter may not be assigned by the Company without GS Bank’s prior written
consent (and any purported assignment without such consent shall be null and void), is intended to be solely
for the benefit of the parties hereto and is not intended to confer any benefits upon, or create any rights in favor
of, any person other than the parties hereto; provided that, this Commitment Letter shall be assigned to the
Borrower on the Plan Effective Date in connection with the consummation of the Transactions (and the
Borrower shall assume all obligations of the Company hereunder and under the Fee Letter on the Plan

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Effective Date (and upon the effectiveness of such assignment and assumption, the Company shall have no
further obligations under this Commitment Letter and each reference to “you” or the “Company” contained
herein shall be deemed a reference to the Borrower). GS Bank may assign its commitments hereunder, in
whole or in part (including, for example, our commitment to provide the First Lien Exit Facility), to (a) any of
its affiliates, (b) any fund, investor, entity or account that is managed, sponsored or advised by Goldman
Sachs, (c) any First Lien Term Lender or (d) any limited partner or investor in any of the foregoing persons or
entities described in clauses (a) through (c) (any such person, an “Eligible Assignee”), and upon such
assignment, GS Bank shall be released from the portion of its commitment hereunder that has been assigned.
Neither this Commitment Letter nor the Fee Letter may be amended or any term or provision hereof or thereof
waived or modified except by an instrument in writing signed by each of the parties hereto or thereto, and any
term or provision hereof or thereof may be amended or waived only by a written agreement executed and
delivered by all parties hereto.

         Our commitment hereunder shall terminate upon the first to occur of (a) the conversion of the Chapter
11 Cases to cases under Chapter 7 of the Bankruptcy Code, (b) a trustee or examiner with expanded powers
beyond those set forth in section 1106(a)(3) and (4) of the Bankruptcy Code shall have been appointed in the
Chapter 11 Cases, (c) there having been any occurrence, development or change after the date hereof, that has
had or could be reasonably expected to have a material adverse effect on the business, assets, operations,
properties or financial condition of the Borrower or the Company or their respective subsidiaries (taken as a
whole) or on the value of, or ability to take a security interest in, a material portion of the Collateral (provided
that, for the avoidance of doubt, any change, development or occurrence, arising individually or in the
aggregate, from events that could reasonably be expected to result from the pendency of the Chapter 11 Cases
shall not constitute a material adverse effect); (d) (i) the Company having failed to file a motion with the
Bankruptcy Court seeking approval of this Commitment Letter and the Fee Letter (the “Commitment Letter
Motion”) no later than two days following the Execution Date (or such later date as GS Bank shall agree in its
sole discretion), which motion shall be in form and substance satisfactory to us and (ii) the Bankruptcy Court
having not entered an order approving the Company’s entry into this Commitment Letter and the Fee Letter
and related relief no later than 15 days following the Execution Date (or, if delayed solely by reason of action
of the Bankruptcy Court despite the Company’s best efforts to have such order by the date that is 15 days
following the Execution Date, 30 days following the Execution Date) (or in any case, such later date as GS
Bank shall agree in its sole discretion), which shall be in form and substance satisfactory to us and (e) the
earlier of (i) the Outside Expiration Time (as defined in the Second Lien Backstop Commitment Letter (which
is as defined in the Plan) and (ii) July 31, 2021, in either case, unless such date is extended by us in writing
(including by email) in our discretion or the closing of the First Lien Exit Facility, on the terms and subject to
the conditions contained herein, shall have been consummated on or before such date (the “Termination
Date”).

         Notwithstanding anything in this Commitment Letter or the Fee Letter, in the event of an Opt-In
Election (as defined below), a Benchmark Replacement (determined in accordance with the definition thereof)
will replace LIBOR for all purposes under the Commitment Letter, the Fee Letter and any other First Lien Exit
Facility Document, as of the date of the Opt-in Election, with such modifications as we determine, to cause the
Benchmark Replacement to be the economic equivalent of LIBOR. After an Opt-In Election, the First Lien
Exit Facility Documents will be negotiated in good faith by the Company and the First Lien Exit Facility
Agent to give effect to the agency and administrative requirements of the First Lien Exit Facility Agent to
administer the designated Benchmark Replacement (including implementation of any Benchmark Replacement
Conforming Changes (as defined in the ARRC Approach)), which are intended to achieve equivalent
economics as described in the Commitment Letter and the Fee Letter.

          As used herein:

        “Benchmark Replacement” as defined in the Alternative Reference Rates Committee’s “hard-
wired” approach as issued on June 30, 2020 (with any modifications thereto issued after the date of execution
of the Commitment Letter determined by Goldman Sachs in consultation with the Company, “ARRC

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Approach”), with (i) the Floor (as defined in the ARRC Approach) therein being the economic equivalent of
the “LIBOR Floor” as set forth in the Commitment Letter and (ii) the “Available Tenor” and
“Corresponding Tenor” being determined by the First Lien Exit Facility Agent.

          “Opt-in Election” means the occurrence of: (i) a notification by the First Lien Exit Facility Agent to
the Company that U.S. dollar-denominated syndicated credit facilities are being executed at such time utilizing
a Benchmark Replacement to replace LIBOR (as determined by the First Lien Exit Facility Agent in good
faith), (ii) the mutual election of the First Lien Exit Facility Agent and the Company (such consent not to be
unreasonably withheld or delayed) to declare that an Opt-in Election has occurred or (iii) at any time after June
30, 2021, the election of the First Lien Exit Facility Agent to declare that an Opt-in Election has occurred.

         In addition, please note that Goldman Sachs does not provide accounting, tax or legal advice.
Notwithstanding anything herein to the contrary, the Company (and each employee, representative or other
agent of the Company) may disclose to any and all persons, without limitation of any kind, the tax treatment
and tax structure of this potential transaction and all materials of any kind (including opinions or other tax
analyses) that are provided to the Company relating to such tax treatment and tax structure. However, any
information relating to the tax treatment or tax structure shall remain subject to the confidentiality provisions
hereof (and the foregoing sentence shall not apply) to the extent reasonably necessary to enable the parties
hereto, their respective affiliates, and their respective affiliates’ directors and employees to comply with
applicable securities laws. For this purpose, “tax treatment” means U.S. federal or state income tax
treatment, and “tax structure” is limited to any facts relevant to the U.S. federal income tax treatment of the
transactions contemplated by this Commitment Letter but does not include information relating to the identity
of the parties hereto or any of their respective affiliates.

         This Commitment Letter may be executed in any number of counterparts, each of which when
executed shall be an original, and all of which, when taken together, shall constitute one agreement. Delivery
of an executed counterpart of a signature page of this Commitment Letter and the Fee Letter by facsimile or
other electronic transmission shall be effective as delivery of a manually executed counterpart hereof. Any
party delivering an executed counterpart of this Commitment Letter or the Fee Letter via facsimile or other
electronic transmission shall, at our request, also deliver to us or our counsel a manually executed original, but
the failure to do so does not affect the validity, enforceability or binding effect of this Commitment Letter or
the Fee Letter.

          THIS COMMITMENT LETTER AND THE FEE LETTER SHALL BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK WITHOUT
REGARD TO PRINCIPLES OF CONFLICTS OF LAWS AND, TO THE EXTENT APPLICABLE,
THE BANKRUPTCY CODE. Each of the parties hereto agrees that any suit or proceeding arising in respect
to this arrangement or any matter referred to in this Commitment Letter or the Fee Letter will be tried
exclusively in the Bankruptcy Court or, if the Chapter 11 Cases have been closed pursuant to Section 350(a) of
the Bankruptcy Code (or in the event that the Bankruptcy Court determines that it does not have jurisdiction),
in the U.S. District Court for the Southern District of New York or, if that court does not have subject matter
jurisdiction, in any state court located in the City of New York and each of the parties hereto agrees to submit
to the jurisdiction of, and to venue in, such courts. ANY RIGHT TO TRIAL BY JURY WITH RESPECT
TO ANY ACTION OR PROCEEDING ARISING IN CONNECTION WITH OR AS A RESULT OF
EITHER OUR COMMITMENT OR ANY MATTER REFERRED TO IN THIS COMMITMENT
LETTER OR THE FEE LETTER IS HEREBY WAIVED BY EACH OF THE PARTIES HERETO.
The provisions of this paragraph shall remain in full force and effect regardless of whether any definitive
documentation for the First Lien Exit Facility shall be executed and delivered, and notwithstanding the
termination of this Commitment Letter or any commitment or undertaking hereunder.

        Notwithstanding anything to the contrary in this Commitment Letter, the obligations of each of the
parties hereto under this Commitment Letter (including our commitments hereunder, the obligations to
indemnify the Indemnified Parties and reimburse GS Bank for its fees and expenses in accordance with the

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terms hereof) shall be subject to the approval of the Bankruptcy Court and such obligations shall not be
enforceable until such Bankruptcy Court approval has been obtained.

      THIS COMMITMENT LETTER AND THE FEE LETTER REPRESENT THE FINAL
AGREEMENT BETWEEN THE PARTIES WITH RESPECT TO THE SPECIFIC MATTERS
HEREOF, SET FORTH THE ENTIRE UNDERSTANDING OF THE PARTIES HERETO,
SUPERSEDE ANY PRIOR AGREEMENTS AMONG THE PARTIES HERETO WITH RESPECT TO
THE FIRST LIEN EXIT FACILITY AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.
THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

        Please confirm that the foregoing is in accordance with your understanding by signing and returning to
GS Bank the enclosed copy of this Commitment Letter, together, if not previously executed and delivered,
with the Fee Letter, on or before the close of business on March 24, 2021 whereupon this Commitment Letter
and the Fee Letter shall become (subject to the third to final paragraph of this Commitment Letter) binding
agreements between us (such date of execution, the “Execution Date”). If not signed and returned as
described in the preceding sentence by such date, this offer will terminate on such date. We look forward to
working with you on this assignment.

                                 [Remainder of page intentionally left Blank]




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                                    Very truly yours,

                                    GOLDMAN SACHS BANK USA


                                    By:    ________________________________________
                                    Name: Justin Betzen                  EH
                                    Title: Authorized Signatory




                       [Signature Page to Commitment Letter]
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ACCEPTED AS OF THE DATE ABOVE:

FIELDWOOD ENERGY LLC


By:          ______________________________
Name: Michael T. Dane
Title: Senior Vice President and Chief Financial Officer




                                    [Signature Page to Commitment Letter]
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                                                    Annex A

          In the event that Goldman Sachs, any of its affiliates, officers, partners, directors or equivalents,
agents, employees and controlling persons or any Eligible Assignee, as the case may be, of Goldman Sachs
(each, an “Indemnified Person”), becomes involved in any capacity in any action, proceeding or investigation
brought by or against any person or entity, including any of your affiliates, shareholders, partners, members, or
other equity holders, in connection with or as a result of either this arrangement or any matter referred to in this
Commitment Letter or the Fee Letter (together, the “Letters”), you agree to periodically reimburse such
Indemnified Person for its legal and other expenses (including the cost of any investigation and preparation)
incurred in connection therewith (but limited, in the case of legal fees and expenses, to one counsel to such
Indemnified Persons taken as a whole and, solely in the case of a conflict of interest, one additional counsel to
all affected Indemnified Persons, taken as a whole (and, if reasonably necessary, of one local counsel in each
relevant jurisdiction and one additional regulatory or other specialist counsel for each relevant area of expertise
(in each case, which may be a single firm for multiple jurisdictions) to all such persons, taken as a whole and,
solely in the case of any such conflict of interest, one additional local counsel (which may be a single firm for
multiple jurisdictions) to all affected Indemnified Persons, taken as a whole, in each such relevant jurisdiction
(limited, in the case of legal counsel, to one counsel to such Indemnified Persons, taken as a whole, and, if
reasonably necessary, of one local counsel in each relevant jurisdiction and one additional regulatory or other
specialist counsel for each relevant area of expertise (in each case, which may be a single firm for multiple
jurisdictions)). You also will indemnify and hold each Indemnified Person harmless against any and all losses,
claims, damages, penalties, expenses or liabilities to any person or entity arising in connection with or as a
result of either this arrangement or any matter referred to in the Letters, whether brought by you, your affiliates
or any third party and without regard to the exclusive or contributory negligence of any Indemnified
Person, except to the extent that such have been found by a final, non-appealable judgment of a court of
competent jurisdiction that any such loss, claim, damage, penalty, expense or liability results from the gross
negligence or willful misconduct of such Indemnified Person in performing the services that are the subject of
the Letters. If for any reason the foregoing indemnification is unavailable to any Indemnified Person or is
insufficient to hold it harmless, then you shall contribute to the amount paid or payable by such Indemnified
Person as a result of such loss, claim, damage, penalty, expense or liability in such proportion as is appropriate
to reflect the relative economic interests of you and your affiliates and equity holders on the one hand and such
Indemnified Person on the other hand in the matters contemplated by the Letters as well as the relative fault of
you, your affiliates and equity holders, and such Indemnified Person with respect to such loss, claim, damage,
penalty, expense or liability and any other relevant equitable considerations. Your reimbursement, indemnity
and contribution obligations under this paragraph shall be in addition to any liability that you may otherwise
have, shall extend upon the same terms and conditions to any affiliate of any Indemnified Person and the
partners, directors, agents, employees and controlling persons or entities (if any), as the case may be, of such
Indemnified Person and any such affiliate, and shall be binding upon and inure to the benefit of any successors,
assigns, heirs and personal representatives of you, any Indemnified Person, any such affiliate and any such
person. You also agree that neither any Indemnified Person nor any of its affiliates, partners, directors, agents,
employees or controlling persons shall have any liability based on its or their exclusive or contributory
negligence or otherwise to you or any person or entity asserting claims on behalf of or in right of you or any
other person or entity in connection with or as a result of either this arrangement or any matter referred to in
the Letters, except to the extent that any losses, claims, damages, penalties, liabilities or expenses incurred by
you have been found by a final, non-appealable judgment of a court of competent jurisdiction to have resulted
from the gross negligence or willful misconduct of such Indemnified Person in performing the services that are
the subject of the Letters; provided, however, that in no event shall such Indemnified Person or such other
parties have any liability for any indirect, consequential or punitive damages in connection with or as a result
of such Indemnified Person’s or such other parties’ activities related to the Letters. Any right to trial by jury
with respect to any action or proceeding arising in connection with or as a result of either this
arrangement or any matter referred to in the Letters is hereby waived by the parties hereto. You agree
that any suit or proceeding arising in respect to this arrangement or any matter referred to in the
                                                   Annex A-1


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Letters will be tried exclusively in the U.S. District Court for the Southern District of New York or, if
that court does not have subject matter jurisdiction, in any state court located in the City of New York
and you agree to submit to the jurisdiction of, and to venue in, such courts. The provisions of this
Annex A shall survive any termination or completion of the arrangement provided by the Letters, and
this Commitment Letter shall be governed by and construed in accordance with the laws of the State of
New York without regard to principles of conflicts of laws.




                                              Annex A-2


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                                   Annex B

                                   Term Sheet




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                                                           SUBJECT TO FRE 408 & STATE ANALOGUES
                                                                            HIGHLY CONFIDENTIAL

                                                                                                     ANNEX B

                   $118,599,082.31 SENIOR SECURED FIRST LIEN TERM LOAN FACILITY
                               “FIRST LIEN EXIT FACILITY TERM SHEET”

                            SUMMARY OF PRINCIPAL TERMS AND CONDITIONS1



BORROWER:                       A newly formed Delaware limited liability company (“Holdings” in its
                                capacity as borrower, the “Borrower”), wholly-owned, directly, by NewCo
                                (as defined below). Holdings will form and be the direct owner of 100% of
                                the equity interests in a Delaware limited liability company
                                (“Intermediate”), which will form and be the direct owner of 100% of the
                                equity interests in a Delaware limited liability company that will be the
                                “Credit Bid Purchaser” as referenced in the Plan (the “Credit Bid
                                Purchaser”).

AGENT:                          Goldman Sachs Bank USA (“Goldman”) or one or more of its affiliates that
                                is a “United States person” for U.S. federal income tax purposes will act as
                                sole administrative agent and collateral agent (collectively, in such
                                capacities, the “First Lien Exit Facility Agent”).

LENDERS:                        The Prepetition FLFO Lenders (collectively, the “First Lien Term
                                Lenders”) and their successors and permitted assigns from time to time
                                party to the First Lien Exit Facility Credit Agreement and, at the option of
                                Goldman, one or more other financial institutions selected by Goldman and
                                reasonably acceptable to the Borrower.

FIRST LIEN EXIT FACILITY:       A senior secured first lien term loan facility (the “First Lien Exit Facility”
                                and the loans under such First Lien Exit Facility, the “First Lien Term
                                Loans”) that shall become effective upon satisfaction or waiver of the
                                conditions precedent set forth in the First Lien Exit Facility Documents on
                                the effective date of the Plan (the “Plan Effective Date”) in an aggregate
                                principal amount of $118,599,082.31.

                                The First Lien Term Loans shall be deemed funded on the Closing Date (as
                                defined below) via (i) the assumption by the Credit Bid Purchaser of an
                                equivalent principal amount of debt owing to the Prepetition FLFO Lenders
                                and (ii) immediately thereafter, the assignment of such debt to Borrower by
                                Credit Bid Purchaser, in each case, in accordance with the Plan. The First
                                Lien Exit Facility shall be secured (i) on a pari passu basis with any Secured
                                Cash Management Obligations and Secured Hedging Obligations (each as
                                defined below) and (ii) on a senior basis to the Second Lien Exit Facility.

PURPOSE:                        The proceeds of the First Lien Term Loans will be used by the Borrower, on
                                the Plan Effective Date in accordance with and as provided in the Plan.



1
 All capitalized terms used but not defined herein have the meanings given to them in the Plan (as defined in the
Commitment Letter to which this Annex B is attached) or in the Commitment Letter, as context may require.

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AVAILABILITY:          The full amount of the First Lien Exit Facility will be deemed to be drawn
                       in a single drawing on the Closing Date; amounts borrowed thereunder that
                       are repaid or prepaid may not be reborrowed.

AMORTIZATION:          The principal amounts of the First Lien Term Loans shall be repaid:

                       (i) on December 31, 2021, in an amount necessary to ensure that the
                       aggregate principal amount of the First Lien Exit Facility outstanding on
                       December 31, 2021 (after giving effect to such amortization payment) does
                       not exceed $100,000,000; plus

                       (ii) commencing with the fiscal quarter in which the Closing Date occurs, in
                       quarterly installments on the last business day of such fiscal quarter in an
                       amount equal to $3,750,000, plus

                       (iii) commencing with the fiscal quarter in which the first anniversary of the
                       Closing Date occurs, in quarterly installments on the last business day of
                       such fiscal quarter (the last business day of the first such fiscal quarter, the
                       “Variable Amortization Trigger Date”) in an amount equal to the lesser of
                       (x) the Variable Amortization Percentage (as defined below) of
                       Consolidated Excess Cash (as defined below) and (y) the amount necessary
                       to cause the aggregate principal amount of the First Lien Term Loans
                       outstanding under the First Lien Exit Facility to be equal to $75.0 million
                       after giving effect thereto.

                       “Consolidated Excess Cash” shall mean, as of the end of any fiscal quarter,
                       the amount that (x) the average daily balance of unrestricted cash and cash
                       equivalents of the Borrower and Subsidiary Guarantors over the last fiscal
                       month of such fiscal quarter exceeds (y) $130.0 million.

                       “Variable Amortization Percentage” shall mean, as of any date of
                       determination, 15.0%; provided, that, from and after the earlier of (i) the
                       time the Genovesa well has come online and (ii) September 30, 2021, the
                       Variable Amortization Percentage shall be 25.0%; provided, further, that, in
                       the event, as of any date of determination, (a) the aggregate principal
                       amount of First Lien Term Loans outstanding under the First Lien Exit
                       Facility shall be less than $75.0 million and (b) the total gross First Lien
                       Leverage Ratio (to be defined in a manner to be agreed) of the Borrower and
                       Subsidiary Guarantors as of the last day of the most recently ended fiscal
                       quarter for which financial statements have been delivered to the First Lien
                       Exit Facility Agent shall be less than 0.5:1.00, the Variable Amortization
                       Percentage shall be 0.0%.

                       In addition to the foregoing, all amounts outstanding under the First Lien
                       Exit Facility shall be paid in full on the First Lien Term Loan Maturity Date
                       (as defined below).

INTEREST RATES:        Interest rates under the First Lien Exit Facility will be calculated, at the
                       option of the Borrower, at Adjusted LIBOR (to be defined in a manner to be
                       agreed, but in any event subject to a 1.00% floor) plus the Applicable
                       Margin (as defined below) or ABR (to be defined in a manner to be agreed,
                       but in any event subject to a 2.00% floor) plus the Applicable Margin;
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                       provided that if any event of default shall have occurred and be continuing,
                       at the election of the Required Lenders (as defined below) and upon
                       delivery of prior written notice to the First Lien Exit Facility Agent by the
                       Required Lenders, all outstanding First Lien Term Loans bearing interest at
                       Adjusted LIBOR shall be automatically converted to borrowings at ABR
                       upon the end of the then-current interest period for such borrowing at
                       Adjusted LIBOR.

                       “Applicable Margin” is (i) in the case of Adjusted LIBOR loans, 6.00% per
                       annum (or, at any time both (x) the aggregate principal amount of First Lien
                       Term Loans outstanding under the First Lien Exit Facility shall be less than
                       $100.0 million and (y) the Asset Coverage Ratio (as defined below) shall be
                       greater than or equal to 3.00:1.00 (the foregoing (x) and (y), the “pricing
                       conditions”), 5.00% per annum) and (ii) in the case of ABR loans, 5.00%
                       per annum (or, at any time the pricing conditions are satisfied, 4.00% per
                       annum).

                       Interest will be paid quarterly in arrears for loans bearing interest based
                       upon ABR; in arrears on the last day of the applicable interest periods
                       (which will be one, two, three or six months, at the option of the Borrower)
                       for loans bearing interest based upon Adjusted LIBOR (and at the end of
                       every three months, in the case of interest periods longer than three months);
                       and in arrears upon each mandatory and voluntary prepayment on the
                       principal amount prepaid.

                       The First Lien Exit Facility Credit Agreement shall contain replacement
                       mechanics for LIBOR that are acceptable to the First Lien Exit Facility
                       Agent in its sole discretion.

                       Upon the occurrence of (i) any event of default (other than any Specified
                       Events of Default as defined below) and delivery of prior written notice to
                       the First Lien Exit Facility Agent by the Required Lenders or (ii) any event
                       of default due to non-payment or any bankruptcy or insolvency (collectively
                       the defaults in clause (ii), the “Specified Events of Default”), an additional
                       2.00% per annum will be charged on outstanding amounts commencing on
                       the date the relevant event of default occurred. Amounts accruing in
                       accordance with the foregoing sentence shall be payable upon demand.

FEES:                  Administrative Agency fee as set forth in the Fee Letter.

FINAL MATURITY:        The First Lien Exit Facility will mature on the date that is four years after
                       the Closing Date (the “First Lien Term Loan Maturity Date”). The
                       outstanding principal amount of loans under the First Lien Exit Facility and
                       all accrued and unpaid interest thereon shall be due and payable in full on
                       the First Lien Term Loan Maturity Date.

GUARANTEES:            All obligations of (i) the Borrower under the First Lien Exit Facility and (ii)
                       the Borrower and Subsidiary Guarantors (as defined below) in respect of (a)
                       certain cash management and treasury services arrangements (the
                       obligations in respect thereof, “Secured Cash Management Obligations”)
                       with counterparties reasonably acceptable to the First Lien Exit Facility
                       Agent in its sole discretion (it being agreed that (x) the providers of cash
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                       management and treasury services set forth on Part A of Exhibit A hereto
                       and (y) the First Lien Term Lenders and/or affiliates of the First Lien Term
                       Lenders, in each case, are reasonably acceptable to the First Lien Exit
                       Facility Agent) and (b) certain hedging arrangements (the obligations in
                       respect thereof, the “Secured Hedging Obligations”) with counterparties
                       reasonably acceptable to the First Lien Exit Facility Agent in its sole
                       discretion (it being agreed that (x) the hedge counterparties set forth on Part
                       B of Exhibit A hereto and (y) the First Lien Term Lenders and/or affiliates
                       of First Lien Term Lenders, in each case, are reasonably acceptable to the
                       First Lien Exit Facility Agent) (such acceptable hedge counterparties, the
                       “Approved Counterparties”), will be jointly and severally unconditionally
                       guaranteed (the “Guarantees”) by the direct parent company of the
                       Borrower (“NewCo”), and each domestic subsidiary of the Borrower
                       (including, for the avoidance of doubt, Credit Bid Purchaser but excluding
                       any Qualified Receivables Subsidiary (to be defined)), (the “Subsidiary
                       Guarantors” and, together with NewCo, the “Guarantors”; the Guarantors
                       and the Borrower collectively, the “Loan Parties”) (and with respect to
                       obligations of Loan Parties other than the Borrower, the Borrower).

SECURITY:              The obligations of the Borrower under the First Lien Exit Facility and the
                       Guarantees will be secured by perfected first-priority security interests in (i)
                       (x) 100% of the equity interests in the Borrower and (y) the equity interests
                       in each Subsidiary Guarantor and Fieldwood Cooperatief U.A. (the
                       “Closing Date Unrestricted Subsidiary”) in each case, that are held by the
                       Loan Parties, (ii) (x) on the Closing Date, all of the oil and gas properties
                       (and related assets) owned by the Loan Parties on the Closing Date and (y)
                       thereafter, oil and gas properties owned by the Loan Parties representing at
                       least 95% of the PV-10 of the Loan Parties’ total proved reserves (and
                       related assets owned by the Loan Parties) and (iii) all other assets of the
                       Loan Parties, including all personal property assets, but in the case of this
                       clause (iii), excluding certain “excluded assets” to be agreed (and to require,
                       for the avoidance of doubt, control agreements with respect to deposit
                       accounts, securities accounts and commodities accounts of the Loan Parties
                       (subject to usual and customary exceptions)), in each case, whether owned
                       on the Closing Date or thereafter acquired (collectively, the “Collateral”).

UNRESTRICTED           The only unrestricted subsidiary permitted to be designated as such under
SUBSIDIARIES:          the First Lien Exit Facility shall be the Closing Date Unrestricted
                       Subsidiary. The Closing Date Unrestricted Subsidiary will not be subject to
                       the representations and warranties, covenants, events of default or other
                       provisions of the First Lien Exit Facility Documents, and the results of
                       operations, indebtedness and cash of unrestricted subsidiaries will not be
                       taken into account for purposes of calculating any financial metric contained
                       in the First Lien Exit Facility Documents except to the extent of
                       distributions in the form of cash or cash equivalents received by a Loan
                       Party therefrom. The Closing Date Unrestricted Subsidiary must become a
                       restricted subsidiary and Guarantor at any time it is a restricted subsidiary or
                       Guarantor under the Second Lien Exit Facility or any other material
                       indebtedness of the Loan Parties.




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VOLUNTARY              Prepayments of borrowings under the First Lien Exit Facility will be
PREPAYMENTS:           permitted at any time without premium or penalty, in minimum amounts and
                       subject to notice provisions to be agreed.

MANDATORY              In addition to amortization (as described above), the First Lien Exit Facility
PREPAYMENTS:           Documents will contain the following mandatory prepayments:

                       (i) in amounts necessary to eliminate any non-compliance with the
                       Minimum Asset Coverage Ratio (which payments (x) shall cure any event
                       of default arising from a breach of such covenant and (y) solely to the extent
                       the aggregate unrestricted cash and cash equivalents of the Borrower and
                       Subsidiary Guarantors as of the date of such payment on a pro forma basis
                       (after giving effect to such payment) exceed $100.0 million, shall be
                       permitted to be made using internally generated cash, it being understood
                       that if the payment is made using equity proceeds, it shall be subject to the
                       limitations on equity cures described below),

                       (ii) with 100% of the proceeds of hedge unwinds, assets sales (including for
                       the avoidance of doubt, sales of assets (or equity interests in entities owning
                       assets) associated with the Borrower and its subsidiaries’ operations and/or
                       investments in Mexico and including any indirect sales proceeds received by
                       any Loan Party in connection with any such sale whether received as a
                       distribution or otherwise, all of the foregoing, “Mexico Liquidity Events”)
                       (it being understood and agreed that the Closing Date Unrestricted
                       Subsidiary shall distribute any such proceeds received by it to a Loan Party),
                       condemnation events and casualty insurance and extraordinary receipts;
                       provided that (x) with respect to any fiscal year, no such prepayment shall
                       be required during such fiscal year to the extent that (1) with respect to
                       hedge unwinds, the aggregate amount of net cash proceeds received in
                       respect of all such hedge unwinds during such fiscal year does not exceed
                       $5.0 million, (2) with respect to PDP, PDNP and related infrastructure assets
                       (other than sales of assets related to Mexico Liquidity Events, 100% of the
                       net cash proceeds of which shall be required to be prepaid as set forth
                       below), the aggregate amount of net cash proceeds received in respect of all
                       such asset sales and events during such fiscal year does not exceed $15.0
                       million, (3) with respect to sales of other assets not referred to in the
                       foregoing clause (2) and excluding Mexico Liquidity Events, the aggregate
                       amount of net cash proceeds received in respect of all such asset sales
                       during the term of the First Lien Exit Facility does not exceed $50.0 million,
                       and (4) with respect to proceeds of condemnation events and casualty
                       insurance and extraordinary receipts, the aggregate amount of net cash
                       proceeds received in respect of all such events during such fiscal year does
                       not exceed $10.0 million, (y) with respect to proceeds received in excess of
                       the applicable threshold referenced in the foregoing sub-clause (x), at the
                       Borrower’s option and so long as no event of default shall have occurred
                       and be continuing, following the receipt of proceeds from any of the
                       foregoing in this clause (ii) (A) other than from hedge unwinds, Mexico
                       Liquidity Events, and, to the extent set forth in sub-clause (B) below,
                       condemnation events or casualty insurance events, the Borrower may
                       reinvest up to 50% of such net cash proceeds within 365 days of receipt
                       thereof in acquiring additional oil and gas properties (which in the case of
                       proceeds of sales of assets constituting PDP, PDNP and related
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                        infrastructure assets shall be reinvested in additional oil and gas properties
                        constituting PDP and/or capital expenditures on existing oil and gas
                        properties solely to the extent constituting PDP, PDNP, or PDBP (unless
                        otherwise agreed to by the First Lien Exit Facility Agent its sole discretion))
                        and (B) with respect to any condemnation event or casualty insurance event,
                        the Borrower may reinvest up to 100% of such proceeds within 365 days of
                        receipt thereof in replacement and/or repair of the property subject to such
                        condemnation event or casualty insurance event (provided that the proceeds
                        so reinvested shall not exceed the amount necessary to replace and/or repair
                        such property and the remainder shall be prepaid) and (z) such prepayment
                        shall be made within 3 business days of receipt of such net cash proceeds,

                        (iii) with 100% of the proceeds of non-permitted debt, and

                        (iv) with proceeds of equity issuances (without duplication with respect to
                        equity cures and subject to exceptions for equity issued in connection with
                        permitted acquisitions, other permitted investments, and capital
                        expenditures to be agreed and only so long as no event of default has
                        occurred and is continuing immediately prior to or after giving effect to such
                        equity issuances).

REPRESENTATIONS AND     The First Lien Exit Facility Documents will contain usual and customary
WARRANTIES:             representations and warranties for financings of this type, subject to
                        thresholds and materiality qualifiers to be agreed, including, without
                        limitation: valid existence; power and authority; foreign qualifications;
                        binding obligation; compliance with law; no conflict; governmental
                        authorization; enforceability; absence of litigation and other adverse
                        proceedings; material contracts; no default or event of default; ERISA
                        compliance; margin regulations; title to properties; taxes; financial condition
                        (including as to projections and no material adverse change); environmental
                        matters; investment company and other regulated entities; solvency of the
                        Loan Parties on a consolidated basis; labor relations; intellectual property;
                        insurance matters; subsidiaries; jurisdiction of organization; location of
                        chief executive office; deposit and other accounts; status of First Lien Exit
                        Facility as senior debt; hedge agreements; marketing of production; gas
                        imbalances; take or pay arrangements; accuracy of information provided;
                        and compliance with sanctions, OFAC, anti-money laundering, PATRIOT
                        Act and other anti-terrorism laws and anti-corruption laws.

CONDITIONS PRECEDENT:   The closing of the First Lien Exit Facility will be subject to the satisfaction
                        (or waiver by the First Lien Term Lenders) of the following conditions
                        precedent (the date on which such conditions are satisfied or waived and the
                        funding under the First Lien Exit Facility occurs, the “Closing Date”):

                        (i) the execution and delivery by each of the Loan Parties of the First Lien
                        Exit Facility Documents (including all security agreements, control
                        agreements, mortgages and other collateral documents necessary or
                        advisable to create and perfect security interests in the Collateral (subject to
                        appropriate post-closing periods to be agreed; provided that, all mortgages
                        and UCC-1 financing statements shall be executed and/or delivered on the
                        Closing Date), corporate records and documents from public officials,
                        officers’ certificates and the New Intercreditor Agreement in respect of
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                       indebtedness evidenced by the Second Lien Exit Facility) in each case
                       satisfactory to the First Lien Exit Facility Agent (in its sole discretion);

                       (ii) the delivery of other customary closing documents (including, among
                       other things, customary legal opinions, lien searches and evidence of
                       insurance and endorsements (subject to post-closing periods to be agreed) in
                       each case, in form and substance satisfactory to the First Lien Exit Facility
                       Agent;

                       (iii) the simultaneous closing and funding of the Second Lien Term Facility
                       Credit Agreement, which funding shall be in a minimum aggregate principal
                       amount not less than $140.0 million and not more than $185.0 million;

                       (iv) NewCo and its subsidiaries shall have no obligations in respect of, nor
                       any liens or other encumbrances on their assets or equity interests securing,
                       in each case, indebtedness for borrowed money other than in respect of the
                       First Lien Exit Facility and the Second Lien Exit Facility (including, for the
                       avoidance of doubt, indebtedness arising under the existing Prepetition
                       FLTL Loans that is not assumed by the Borrower on the Plan Effective Date
                       and the Prepetition SLTL Loans);

                       (v) the Restructuring Transactions shall have been, or shall substantially
                       simultaneously be, consummated and effective in accordance with the Plan,
                       the Plan Supplement and the Plan of Merger, as applicable and the Plan
                       Effective Date shall have occurred;

                       (vi) the transactions contemplated by the Credit Bid Purchase Agreement
                       shall be consummated, in all material respects, in accordance with the terms
                       of the Credit Bid Purchase Agreement in the version attached to the draft of
                       the Disclosure Statement at Docket No. 1022 (including all annexes,
                       schedules and exhibits thereto, the “Approved Credit Bid Purchase
                       Agreement”); provided that any amendments, modifications and waivers to
                       the Approved Credit Bid Purchase Agreement, and consents granted
                       thereunder, in each case, that (a) individually or in the aggregate, result in a
                       reduction of 10% or more of the total PV-10 of total 2P reserves comprising
                       the assets acquired by the Credit Bid Purchaser (which shall be calculated
                       by reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)),
                       (b) results in any contract rights constituting material assets not being
                       acquired by the Credit Bid Purchaser, (c) individually or in the aggregate,
                       results in an increase by $40.0 million or more (which, for the avoidance of
                       doubt, in the case of plugging and abandonment liabilities, shall be
                       calculated on a present value basis) in liabilities assumed by the Credit Bid
                       Purchaser, (d) provide for any change in treatment of the Prepetition FLFO
                       Credit Agreement or First Lien Exit Facility, or (e) provide for any
                       differences from the Approved Credit Bid Purchase Agreement that are
                       materially adverse to the interests of the First Lien Exit Facility Agent and
                       the First Lien Exit Facility Lenders, in their capacity as such, in each case,
                       shall require the consent of the First Lien Exit Facility Agent (which, in the
                       case of clauses (b) and (e) above, shall not to be unreasonably withheld);

                       (vii) all material contracts binding on the Loan Parties as of the Plan
                       Effective Date, including all agreements between NewCo and any of its
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                       subsidiaries and FWE I or FWE III or any of their respective affiliates to be
                       entered into on the Plan Effective Date (including, without limitation, any
                       transition services agreements, joint development agreements and net profits
                       interests agreements) shall be in form and substance reasonably acceptable
                       to the First Lien Exit Facility Agent;

                       (viii) the fees and expenses of the First Lien Exit Facility Agent and the
                       First Lien Term Lenders (including the reimbursement of the reasonable and
                       documented fees and expenses of legal counsel) shall have been paid or
                       shall be paid substantially concurrently with the funding of the First Lien
                       Exit Facility;

                       (ix) delivery of a Reserve Report (as defined below) evaluating the Credit
                       Bid Acquired Interests constituting proved reserves of the Loan Parties with
                       a recent “as of” date, in form and substance acceptable to the First Lien Exit
                       Facility Agent;

                       (x) the aggregate unrestricted cash and cash equivalents of the Borrower and
                       Subsidiary Guarantors as of the Closing Date on a pro forma basis
                       (including after payment of Restructuring Expenses) shall not be less than
                       $100.0 million plus additional cash reserves, if any, to be agreed;

                       (xi) compliance on a pro forma basis with the Total Net Leverage Ratio (as
                       defined below) and the Minimum Asset Coverage Ratio (as defined below);

                       (xii) the First Lien Exit Facility Agent shall have received, at least three
                       business days prior to the Closing Date, all documentation and other
                       information required by bank regulatory authorities under applicable “know
                       your customer” and anti-money laundering rules and regulations, including,
                       without limitation, the PATRIOT Act and under the beneficial ownership
                       regulation (including a beneficial ownership certification), that has been
                       requested in writing by the First Lien Exit Facility Agent at least 10 days
                       prior to the Closing Date;

                       (xiii) evidence satisfactory to the First Lien Exit Facility Agent in the form
                       of a solvency certificate from the Borrower that, as of the Closing Date,
                       after giving effect to the Transactions, including, without limitation, the
                       incurrence of indebtedness under the First Lien Exit Facility and the Second
                       Lien Exit Facility, the Loan Parties, on a consolidated basis, are solvent;

                       (xiv) all representations and warranties true and correct in all material
                       respects (or, if qualified by materiality, in all respects);

                       (xv) no default or event of default;

                       (xvi) since the date of the Execution Date (as defined in the Credit Bid
                       Purchase Agreement), no Material Adverse Effect (as defined in the Credit
                       Bid Purchase Agreement) (or any result, event, occurrence, change,
                       circumstance, consequence or development that, individually or in the
                       aggregate would reasonably be expected to result in a Material Adverse
                       Effect) shall have occurred;


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                         (xvii) the First Lien Exit Facility Agent shall be reasonably satisfied with
                         the status of title of the Credit Bid Acquired Interests;

                         (xviii) the First Lien Exit Facility Agent shall have received, in form and
                         substance reasonably satisfactory to it, all other reports, financial statements,
                         budgets, projections, audits or certifications as it may reasonably request
                         within a reasonable period in advance of the Closing Date; and

                         (xix) the Disclosure Statement shall be in form and substance reasonably
                         acceptable to the First Lien Exit Facility Agent and the Plan and
                         Confirmation Order shall be in form and substance acceptable to the First
                         Lien Exit Facility Agent (it being understood that the Plan in the form
                         attached as Annex C to the Commitment Letter is acceptable to the First
                         Lien Exit Facility Agent, as modified with the consent of the First Lien Exit
                         Facility Agent (not to be unreasonably withheld).


AFFIRMATIVE COVENANTS:   The First Lien Exit Facility Documents will contain usual and customary
                         affirmative covenants for financings of this type, subject to thresholds,
                         exceptions and materiality qualifiers to be agreed, including without
                         limitation, delivery of unaudited financial statements for each fiscal quarter
                         in each fiscal year within 45 days after fiscal quarter end, delivery of audited
                         annual financial statements within 105 days after fiscal year end (which
                         shall be accompanied by a certification of an independent certified public
                         accounting firm of recognized national standing, whose opinion shall not be
                         qualified with a scope of audit or “going concern” or like qualification or
                         exception (other than with respect to, or resulting from, the occurrence of an
                         upcoming maturity date of indebtedness within one year of the date of such
                         opinion)), budgets delivered within 60 days after fiscal year end, compliance
                         certificates delivered concurrently with financial statements other than
                         unaudited fourth quarter financial statements (including reasonably detailed
                         calculations of the Asset Coverage Ratio, First Lien Leverage Ratio and
                         Total Net Leverage Ratio), commodity swap agreement certificates and
                         calculations, change in corporate information of the Loan Parties, notice of
                         debt incurrence, asset sale/hedge unwind notice, notices of entry into
                         regulatory agreements and settlements and other material regulatory
                         correspondence, notice opening of deposit accounts, production reports (if
                         requested), lists of purchasers (if requested), certifications of calculations of
                         excess cash, after acquired collateral and guarantees, maintenance of
                         existence, payment of taxes and claims, maintenance of properties and
                         insurance, books and records, inspections, quarterly lender meetings,
                         environmental, further assurances, control agreements, ERISA, compliance
                         with laws, compliance with and policies regarding sanctions, anti-terrorism,
                         anti-corruption and anti-money laundering matters, use of proceeds,
                         compliance with contractual obligations, delivery of reserve reports in
                         compliance with the Reserve Report Requirements below and related
                         reserve report certificates (which shall set forth compliance with the Asset
                         Coverage Ratio financial covenant), semi-annual mortgage updates, delivery
                         of title information reasonably satisfactory to the First Lien Exit Facility
                         Agent (if reasonably requested), and a minimum hedging covenant requiring
                         that on or prior to the date that is 45 days post-closing (i) the Borrower and
                         Subsidiary Guarantors shall have entered into hedging contracts with
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                       Approved Counterparties on terms reasonably satisfactory to the First Lien
                       Exit Facility Agent covering at least (a) 50% of then-current reasonably
                       anticipated 2P PDP volumes, for each month during the first 12 months
                       following the date of determination 45 days after the Closing Date (the
                       “Initial Measurement Period”) and (b) 25% of the then-current reasonably
                       anticipated 2P PDP volumes for each month during the six months
                       immediately following the Initial Measurement Period and (ii) thereafter,
                       the Borrower and Subsidiary Guarantors will maintain, as tested on a semi-
                       annual basis on June 30 and December 31 of each year, hedging contracts
                       with Approved Counterparties on terms reasonably satisfactory to the First
                       Lien Exit Facility Agent covering at least (a) 50% of the reasonably
                       anticipated 2P PDP volumes for each month on a rolling basis for the 12
                       months following the date of determination and (b) 25% of the reasonably
                       anticipated 2P PDP volumes for each month on a rolling basis for months
                       13-18 following the date of determination; provided that reasonably
                       anticipated 2P PDP volumes shall be as set forth in the most recently
                       delivered Reserve Report and all such hedging contracts shall be at market
                       prices at the time entered into; provided, further, that, notwithstanding
                       anything to the contrary set forth above, if the Genovesa and/or Troika TA-3
                       well has come online on or prior to the date that is 45 days after the Closing
                       Date, the volumes associated with such well, as applicable, shall be treated
                       as PDP.

RESERVE REPORT         The Borrower must deliver, on a quarterly basis as of the last day of each
REQUIREMENTS:          fiscal quarter and (i) for the first three fiscal quarters, on or prior to the date
                       on which the compliance certificate relating to such quarter is required to be
                       delivered and (ii) for the fourth fiscal quarter, on or prior to the date that is
                       90 days after fiscal quarter end, to the First Lien Exit Facility Agent a
                       reserve report in form and substance reasonably satisfactory to the First Lien
                       Exit Facility Agent of the Loan Parties’ proved oil and gas properties (each,
                       a “Reserve Report”) prepared and certified by the Borrower’s internal
                       petroleum engineers; provided that at least one Reserve Report per fiscal
                       year shall be prepared or audited by an independent third party reserve
                       engineer (if audited, covering a minimum percentage to be agreed of the
                       value of the Loan Parties’ proved oil and gas properties (the “Minimum
                       Percentage”)) reasonably acceptable to the First Lien Exit Facility Agent.
                       In addition, upon the request of the First Lien Exit Facility Agent in its sole
                       discretion, the Borrower shall deliver to the First Lien Exit Facility Agent a
                       third-party audit of the most recently delivered Reserve Report which is
                       reasonably acceptable to the First Lien Exit Facility Agent and covers the
                       Minimum Percentage (i) once upon request during any calendar year if no
                       event of default has occurred and is continuing under any of the First Lien
                       Exit Facility Documents or (ii) at any time so requested if an event of
                       default has occurred and is continuing under any of the First Lien Exit
                       Facility Documents.

NEGATIVE COVENANTS:    The First Lien Exit Facility Documents will contain usual and customary
                       negative covenants for the Borrower and its restricted subsidiaries,
                       including, without limitation, limitations on liens, debt, fundamental
                       changes, dispositions, restricted payments, investments, prepayments of
                       junior indebtedness, amendments to organizational documents and material
                       contracts in a manner materially adverse to any Loan Party or the First Lien
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                       Term Lenders, changes in nature of business, no foreign subsidiaries (other
                       than the Closing Date Unrestricted Subsidiary and its subsidiaries), changes
                       in fiscal year, burdensome agreements, transactions with affiliates, gas
                       imbalances, take or pay arrangements, marketing of production and deposit
                       accounts and to include a passive holding company covenant for NewCo,
                       subject to thresholds, exceptions and materiality qualifiers to be agreed, but
                       to include the following:

                       (i) with respect to limitations on indebtedness, baskets permitting (a) the
                       Second Lien Exit Facility and any permitted refinancing thereof, (b)
                       purchase money or capital lease indebtedness in an amount not to exceed
                       $10.0 million at any time outstanding, (c) indebtedness incurred in
                       connection with the financing of new equipment in order to reduce near-
                       term capital expenditures associated with deepwater projects not to exceed
                       $80.0 million, provided that such indebtedness is (x) not recourse to any
                       Loan Party and (y) on terms acceptable to the First Lien Exit Facility Agent
                       in its sole discretion, (d) indebtedness incurred by a Qualified Receivables
                       Subsidiary in a Qualified Receivables Financing (to be defined, but to
                       include customary limitations, terms and conditions to be agreed) that is not
                       recourse to any Loan Party (which shall not constitute “indebtedness” for
                       any calculation under the First Lien Exit Facility Documents), (e) letters of
                       credit with a face amount not in excess of $50.0 million and (f) general
                       unsecured debt not to exceed $10.0 million at any time outstanding;

                       (ii) with respect to limitations on liens, baskets permitting (a) liens on debt
                       permitted to be incurred as described in clauses (i)(a), (i)(b) (limited to the
                       assets subject to such indebtedness), (i)(c) (limited to liens on the new
                       equipment so financed), (i)(d), and (i)(e) (limited to liens on cash collateral)
                       above, and (b) liens securing debt (other than debt for borrowed money) not
                       to exceed $10.0 million;

                       (iii) with respect to limitations on dispositions, a basket permitting (a)
                       dispositions of the Loan Parties’ investment in Mexico, (b) dispositions of
                       assets constituting PDP, PDNP and related infrastructure assets in an
                       amount not to exceed $30.0 million during the term of the First Lien Exit
                       Facility, (c) transfer of accounts receivable and related assets in connection
                       with a Qualified Receivables Financing, (d) transfers of assets among Loan
                       Parties and (e) dispositions of other assets in an amount not to exceed
                       $100.0 million during the term of the First Lien Exit Facility, so long as, in
                       each case, (x) 85% of the consideration therefor is in the form of cash and
                       cash equivalents, (y) no event of default shall have occurred and be
                       continuing and (z) the notice and mandatory prepayment provisions are
                       complied with;

                       (iv) with respect to limitations on distributions, a basket permitting (a) tax
                       distributions, (b) payment of other customary corporate and overhead items
                       and (c) distributions of receivables in connection with a Qualified
                       Receivables Financing;

                       (v) with respect to limitations on investments, baskets permitting (a)
                       investments in joint ventures, so long as no event of default shall exist or
                       result therefrom and the aggregate amount of such investments shall not
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                       exceed $5.0 million in any fiscal year, (b) acquisitions of additional oil and
                       gas properties, (c) investments in the Borrower and Subsidiary Guarantors,
                       (d) so long as no event of default shall exist or result therefrom, investments
                       in the Closing Date Unrestricted Subsidiary and its subsidiaries to fund
                       capital calls required pursuant to the organizational documents of Fieldwood
                       Mexico B.V., which investments shall not exceed, in any fiscal year, the
                       sum of (1) an amount equal to G&A reimbursements received in cash by the
                       Loan Parties from the Closing Date Unrestricted Subsidiary during such
                       fiscal year and (2) $5.0 million (provided that the amount pursuant to this
                       clause (2) shall be $10.0 million for the fiscal year ending December 31,
                       2021), (e) investments in or by a Qualified Receivables Subsidiary or other
                       investments, in each case, in connection with a Qualified Receivables
                       Financing and (f) other investments and acquisitions in an amount not to
                       exceed $20.0 million in the aggregate at any time outstanding; and

                       (vi) with respect to limitations on prepayments of junior indebtedness, a
                       basket for a prepayment of indebtedness outstanding under the Second Lien
                       Exit Facility Credit Agreement once in respect of each fiscal quarter,
                       commencing upon the Variable Amortization Trigger Date, in an amount
                       not to exceed 25% of the amount of Consolidated Excess Cash as of the last
                       day of such fiscal quarter so long as (a) the aggregate principal amount of
                       First Lien Term Loans outstanding under the First Lien Exit Facility shall be
                       less than $80.0 million, (b) after giving effect to such payment, the pro
                       forma First Lien Leverage Ratio of the Borrower and Subsidiary Guarantors
                       shall be less than 0.5:1.00, (c) any such prepayments of indebtedness
                       outstanding under the Second Lien Exit Facility Credit Agreement shall be
                       subject to and accompanied by a dollar-for-dollar prepayment of First Lien
                       Term Loans, (d) no event of default has occurred and is continuing
                       immediately prior to or after giving effect to such prepayment of
                       indebtedness and (e) such prepayment of indebtedness is made within 5
                       business days following the end of such fiscal quarter.

                       The First Lien Exit Facility Documents shall also include limitations on
                       commodity swap arrangements, including that:

                       (i) they are limited to a maximum duration of 60 months;

                       (ii) shall cover notional volumes of not more than, at the time such swap
                       agreement is entered into, for each calendar month 85% of reasonably
                       anticipated production from proved developed producing reserves of crude
                       oil, natural gas and natural gas liquids (calculated separately), as set forth in
                       the most recently delivered Reserve Report; provided that, if, after the end
                       of any calendar quarter, commencing with the first calendar quarter ending
                       after the Closing Date, the Borrower determines that the aggregate weighted
                       average of the notional volumes of all swap agreements in respect of
                       commodities for such calendar quarter (other than basis differential swaps
                       on volumes already hedged pursuant to other swap agreements) exceeded
                       100% of actual production of hydrocarbons in such calendar quarter, then
                       the Borrower (i) shall promptly notify the First Lien Exit Facility Agent of
                       such determination and (ii) shall, within 45 days of such determination,
                       terminate (only to the extent such terminations are permitted pursuant to the
                       asset sale and hedge unwind negative covenant), create off-setting positions,
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                       or otherwise unwind or monetize (only to the extent such unwinds or
                       monetizations are permitted pursuant to the asset sale and hedge unwind
                       covenant) existing swap agreements such that, at such time, future hedging
                       volumes will not exceed 100% of reasonably anticipated projected
                       production for the then-current and any succeeding calendar quarters; and

                       (iii) all purchased put options or price floors for hydrocarbons shall be
                       excluded for purposes of the foregoing volume limitations on commodity
                       swap arrangements.

FINANCIAL COVENANTS:   Financial covenants shall consist of the following to be tested quarterly as of
                       the last day of each fiscal quarter:

                       (i) a Maximum Ratio of Total Net Debt (as defined below) to EBITDA (as
                       defined below) of 2.25:1.00 (the “Total Net Leverage Ratio”); and

                       (ii) a minimum asset coverage ratio of at least 2.25:1.00 (the “Minimum
                       Asset Coverage Ratio”) (with “Asset Coverage Ratio” to be defined in a
                       manner to be agreed, but in any event to be the ratio of (a) total 2P
                       Producing PV-10 of the Loan Parties plus solely through and including the
                       last day of the fiscal quarter ending September 30, 2021, the PV-15
                       attributable to the Genovesa and Troika TA-3 wells (which thereafter shall
                       only be included to the extent comprising 2P Producing wells), in each case
                       as set forth in the most recently delivered Reserve Report, plus the present
                       value (positive or negative) of the mark-to-market commodity hedge
                       positions at the time of the most recently delivered Reserve Report
                       discounted at 10% per annum, less the present value of the estimated
                       plugging and abandonment costs of the Borrower and Subsidiary
                       Guarantors’ wells and any related assets at such time, discounted at 10% per
                       annum (provided such estimated costs and timing assumptions shall be
                       consistent with historical practices and otherwise reasonably acceptable to
                       the First Lien Exit Facility Agent) plus any PDNP or PDBP which is
                       capable of producing without incurring any additional capital as well as any
                       PDNP previously included as PDP reserves and anticipated to be returned to
                       PDP within (1) two months of the delivery of the reserve report so long as
                       any capital required to return to production is incorporated in the PV-10
                       values and (2) within three to ten months of the delivery of the reserve
                       report so long as (A) any capital required to return to production is
                       incorporated in the PV-10 values and (B) the total amount of this clause (a)
                       that is attributable to such reserves described in this sub-clause (2) does not
                       exceed more than 10% of such total amount (calculated prior to giving
                       effect to the additions of reserves described in this sub-clause (2)); provided
                       that appropriate deductions shall be made for severance and ad valorem
                       taxes, and for operating, gathering, transportation, marketing costs and other
                       costs required for the production and sale of such oil and gas properties to
                       (b) the outstanding balance of the First Lien Term Loans as of such last day
                       of such fiscal quarter net of Consolidated Excess Cash; provided that for
                       purposes of calculating total 2P Producing PV-10 (and the PV-15
                       attributable to the Genovesa and Troika TA-3 wells, if and when applicable)
                       the price deck and mark-to-market hedge valuation shall utilize the average
                       NYMEX strip calculated during the 30 calendar days preceding the “as of”
                       date of the most recently delivered Reserve Report (held flat after year 5 at
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                       the average 5th year prices) and including basis differentials determined by
                       the Borrower in a manner consistent with historical and customary industry
                       practices, such differentials being subject to the approval of the First Lien
                       Exit Facility Agent).

                       As used herein, “Total Net Debt” means (a) the sum of (without
                       duplication) all debt consisting of Capitalized Lease Obligations (to be
                       defined), all reimbursement obligations (whether contingent or otherwise) in
                       respect of letters of credit (other than to the extent fully cash collateralized
                       or to the extent in respect of undrawn letters of credit with an aggregate face
                       amount not in excess of $25.0 million), debt for borrowed money and debt
                       evidenced by notes, loan agreements, debentures, indentures or similar
                       instruments, disqualified capital stock, accounts payable and liabilities in
                       respect of obligations to pay the deferred purchase price of any assets or
                       services (to the extent greater than 60 days past due, unless disputed in good
                       faith), and any of the foregoing debt of other persons in the amount secured
                       by a lien on the assets of the Borrower or any Subsidiary Guarantor or in the
                       amount guaranteed by the Borrower or any Subsidiary Guarantor, in each
                       case, of the Borrower or any Subsidiary Guarantor on such date (other than
                       intercompany indebtedness) and, to the extent appearing on the balance
                       sheet of the Borrower, determined on a consolidated basis in accordance
                       with GAAP (provided that (x) the amount of any Capitalized Lease
                       Obligations or any such debt issued at a discount to its face value shall be
                       determined in accordance with GAAP and (y) permitted indebtedness
                       incurred in connection with a the financing of new equipment in order to
                       reduce near-term capital expenditures associated with deepwater projects
                       shall be excluded from the definition of Total Net Debt) less (b) the amount
                       that (i) all unrestricted cash on hand of the Borrower and Subsidiary
                       Guarantors (to the extent held in deposit accounts subject to control
                       agreements with the First Lien Exit Facility Agent as secured party) exceeds
                       (ii) $50,000,000.

                       As used herein, “EBITDA” means, of the Borrower and the Subsidiary
                       Guarantors, for any period, the sum of Consolidated Net Income (to be
                       defined, but which shall, in any event, (x) include adjustments for gains
                       and/or losses with respect to hedge unwinds over the applicable period
                       covered by such unwound hedges and (y) include proceeds of any payments
                       from BP related to the Isabela transaction) for such period plus the
                       following expenses or charges to the extent deducted from consolidated net
                       income in such period: interest, income taxes, depreciation, depletion,
                       amortization, exploration expenses, actual costs and expenses of the Loan
                       Parties incurred in connection with the Restructuring Transactions, other
                       noncash charges, and losses from asset dispositions (other than
                       Hydrocarbons produced in the ordinary course of business and other than
                       hedge unwinds), minus (x) all gains from asset dispositions (other than
                       Hydrocarbons produced in the ordinary course of business and other than
                       hedge unwinds), (y) all general and administrative expenses during such
                       period to the extent such expenses were not deducted from consolidated net
                       income in such period (e.g. capitalized general and administrative expenses)
                       and (z) all noncash income, in each case to the extent added to consolidated
                       net income in such period; provided, however, that for the purposes of
                       calculating EBITDA for any period of four consecutive fiscal quarters
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                       (each, a “Reference Period”), if during such Reference Period the Loan
                       Parties shall have made a material disposition or material acquisition (with
                       materiality thresholds to be agreed in the definitive documentation),
                       EBITDA for such Reference Period shall be calculated after giving pro
                       forma effect thereto as if such disposition or acquisition by the Loan Parties
                       occurred on the first day of such Reference Period with such pro forma
                       adjustments being determined in good faith by a financial officer of the
                       Borrower and reasonably acceptable to the First Lien Exit Facility Agent.
                       EBITDA for the first three fiscal quarters following the Closing Date will be
                       annualized on a building basis (i.e. first full quarter multiplied by four, first
                       two fiscal quarters multiplied by 2 and first three fiscal quarters multiplied
                       by 4/3).

                       The First Lien Exit Facility Documents will permit equity cures not more
                       than two times (non-consecutively) per four fiscal quarter period and not
                       more than three times over the life of the First Lien Exit Facility, provided
                       that the proceeds of such equity cure are used to repay First Lien Term
                       Loans in order for the Borrower to be in compliance with the applicable
                       financial covenant.

EVENTS OF DEFAULT:     The First Lien Exit Facility Documents shall contain usual and customary
                       events of default (with customary thresholds and grace periods) for
                       financings of this type, including without limitation: nonpayment of
                       principal, interest, fees or other amounts when due (with a 3 business day
                       grace period for interest, fees and other non-principal amounts); failure to
                       perform affirmative covenants (with exceptions and grace periods to be
                       agreed), negative covenants and the Financial Covenants (and the
                       affirmative covenants to provide notice of default or maintain the
                       Borrower’s corporate existence); any representation or warranty incorrect in
                       any material respect when made or deemed made; cross-default to the
                       Second Lien Exit Facility and other indebtedness having an aggregate
                       principal amount in excess of $10.0 million; bankruptcy or insolvency
                       proceedings of any Loan Party (with a 60-day grace period for involuntary
                       events); final non-appealable monetary judgments to the extent not covered
                       by indemnities or insurance in an amount in excess of $10.0 million; ERISA
                       events, subject to material adverse effect; invalidity of any guarantee or the
                       First Lien Exit Facility Agent’s lien under the security documents; and
                       change of control.

SECOND LIEN            Usual and customary including:
INTERCREDITOR
                       (i) 180 day standstill;
AGREEMENT:
                       (ii) identical (subject to conforming changes) collateral and security
                       instruments (to be based on first lien security documents);
                       (iii) automatic release of second liens upon release of same collateral by
                       First Lien Exit Facility Agent (to the extent such collateral was permitted to
                       be sold under the Second Lien Exit Facility documentation); and
                       (iv) second lien holders prohibited from contesting or proposing a DIP
                       financing (subject to a DIP cap to be agreed) without consent of First Lien
                       Exit Facility Agent except that (a) they may propose a DIP financing that
                       would repay the First Lien Exit Facility in full in cash and (b) they may
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                       propose a DIP financing that is junior in priority to the First Lien Exit
                       Facility in the event that the First Lien Term Lenders have declined to
                       propose a DIP financing or failed to timely propose a DIP financing (such
                       timing to be agreed in the intercreditor agreement).
VOTING:                Amendments, waivers and other modifications to the First Lien Exit Facility
                       Documents shall require the consent of First Lien Term Lenders holding
                       more than 50.0% of First Lien Term Loans (the “Required Lenders”);
                       provided, however, that in the event that at any time there are two or more
                       unaffiliated First Lien Term Lenders, the consent of at least two First Lien
                       Term Lenders shall be required for Required Lenders.
                       Certain amendments, waivers and other modifications shall require the
                       consent of all First Lien Term Lenders, including, without limitation,
                       reduction to the interest rate, extension of maturity, extension or waiver of
                       scheduled repayments, reduction of principal, increasing a commitment,
                       alteration of the pro rata application of repayments, amending or waiving
                       voting or funding conditions, the First Lien Exit Facility Agent’s
                       indemnification, releasing substantially all Collateral or Guarantors,
                       subordinating the obligations under the First Lien Exit Facility or the liens
                       on the Collateral (in each case, subject to customary exceptions) and
                       consenting to the assignment or transfer of the Borrower’s obligations under
                       the First Lien Exit Facility Documents (except in connection with a
                       transaction expressly permitted or not prohibited thereby).

TAXES, RESERVE         All payments are to be made free and clear of any taxes, subject to usual and
REQUIREMENTS AND       customary exceptions.
INDEMNITIES:
                       The Loan Parties will indemnify the First Lien Term Lenders against all
                       increased costs of capital resulting from reserve requirements or otherwise
                       imposed, in each case subject to customary increased costs, capital adequacy
                       and similar provisions to the extent not taken into account in the calculation
                       of ABR or Adjusted LIBOR.
ASSIGNMENTS:           Customary and appropriate provisions relating to assignments and
                       participations by the First Lien Term Lenders; provided that the Borrower
                       shall have the right to consent to any assignment by a First Lien Term
                       Lender (such consent not to be unreasonably withheld, conditioned, or
                       delayed) unless (a) an event of default has occurred and is continuing or (b)
                       such assignment is to another First Lien Term Lender, an affiliate of any
                       First Lien Term Lender or an “approved fund”.
INDEMNIFICATION;       Customary and appropriate provisions relating to indemnity, expense
EXPENSES:              reimbursement and related matters in a form reasonably satisfactory to the
                       First Lien Exit Facility Agent, with standards consistent with those set forth
                       on Annex A to the Commitment Letter to which this Annex B is attached.
CHOICE OF LAW;         The First Lien Exit Facility Documents will be governed by and construed
JURISDICTION:          in accordance with the laws of the State of New York. The Loan Parties
                       will submit to the non-exclusive jurisdiction and venue of the federal and
                       state courts of the State of New York and shall waive any right to trial by
                       jury.
COUNSEL TO THE FIRST   Vinson & Elkins LLP
LIEN EXIT FACILITY

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AGENT:




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                                                                                        EXHIBIT A

                     Part A: Approved Cash Management and Treasury Services Providers

Capital One, National Association and its affiliates


                                    Part B: Approved Hedge Counterparties

J. Aron & Company LLC and its affiliates
Morgan Stanley Capital Group Inc. and its affiliates
Shell Trading Risk Management, LLC and its affiliates
Macquarie Bank Limited and its affiliates
BP Energy Company and its affiliates




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                                   Annex C

                                     Plan




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                                                          SUBJECT TO FRE 408
                                                              CONFIDENTIAL


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §        Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §        Case No. 20-33948 (MI)
                                                     §
                 Debtors.1                           §        (Jointly Administered)
                                                     §


                    THIRD AMENDED JOINT CHAPTER 11 PLAN OF
               FIELDWOOD ENERGY LLC AND ITS AFFILIATED DEBTORS



WEIL, GOTSHAL & MANGES LLP                                 WEIL, GOTSHAL & MANGES LLP
Alfredo R. Pérez                                           Matthew S. Barr (admitted pro hac vice)
Clifford W. Carlson                                        Jessica Liou (admitted pro hac vice)
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Telephone: (713) 546-5000                                  Telephone: (212) 310-8000
Facsimile: (713) 224-9511                                  Facsimile: (212) 310-8007


Attorneys for Debtors
and Debtors in Possession

Dated: March 24, 2021
       Houston, Texas




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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               Each of Fieldwood Energy LLC; Fieldwood Energy Inc.; Dynamic Offshore
Resources NS, LLC; Fieldwood Energy Offshore LLC; Fieldwood Onshore LLC; Fieldwood SD
Offshore LLC; Fieldwood Offshore LLC; FW GOM Pipeline, Inc.; GOM Shelf LLC; Bandon
Oil and Gas GP, LLC; Bandon Oil and Gas, LP; Fieldwood Energy SP LLC; Galveston Bay
Pipeline LLC; and Galveston Bay Processing LLC (each, a “Debtor” and collectively,
the “Debtors”) proposes the following joint chapter 11 plan of reorganization pursuant to section
1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Section 1.1 below.



ARTICLE I.            DEFINITIONS AND INTERPRETATION.

              1.1     Definitions.

              The following terms shall have the respective meanings specified below:

              363 Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to
the Credit Bid Purchaser pursuant to section 363 of the Bankruptcy Code on substantially the
same terms as provided in the Credit Bid Purchase Agreement in accordance with Section 5.2(c)
of this Plan.

               Abandoned Properties means the Debtors’ rights to and interests in executory
contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements listed on
the Schedule of Abandoned Properties (as amended, supplemented, or otherwise modified from
time to time).

              Accepting Class means a class of Claims or Interests that votes to accept this Plan
in accordance with section 1126 of the Bankruptcy Code.

              Ad Hoc Group of Secured Lenders means the ad hoc group of holders of
Prepetition FLTL Loans and Prepetition SLTL Loans that is represented by the Ad Hoc Group of
Secured Lenders Advisors.

               Ad Hoc Group of Secured Lenders Advisors means Davis Polk & Wardwell
LLP, Haynes and Boone LLP, Gordon, Arata, Montgomery, Barnett, McCollam, Duplantis &
Eagan, LLC, Rothschild & Co US Inc. and Intrepid Financial Partners, LLC and any local or
foreign advisors.

               Ad Hoc Group of Prepetition SLTL Lenders means that certain ad hoc group of
holders of Prepetition SLTL Loans that is represented by the Ad Hoc Group of Prepetition SLTL
Advisors.

              Ad Hoc Group of Prepetition SLTL Lenders Advisors means only Kasowitz
Benson Torres LLP.
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                Additional Predecessor Agreement means any consensual agreement that the
Debtors may enter into prior to the Confirmation Date with any entity or entities in the chain of
title, co-working interest owner(s), or other related party for any of the Abandoned Properties.

             Additional Predecessor Agreement Documents means any agreements or
documents contemplated by and necessary to the consummation of an Additional Predecessor
Agreement.

               Administrative Expense Claim means any Claim constituting a cost or expense of
administration incurred during the Chapter 11 Cases of a kind specified under section 503(b) of
the Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of
the Bankruptcy Code (other than DIP Claims and Postpetition Hedge Claims), including (a) the
actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors (such as
wages, salaries, or commissions for services and payments for goods and other services and
leased premises), and (b) Fee Claims.

                Allowed means, with respect to any Claim against or Interest in a Debtor, (a)
(i) that is timely filed by the bar dates established in the Chapter 11 Cases, or (ii) as to which
there exists no requirement for the holder of a Claim to file such Claim under the Plan, the
Bankruptcy Code, the Bankruptcy Rules or a Final Order, (b) (i) that is listed in the Schedules as
not contingent, not unliquidated, and not disputed, and (ii) for which no contrary proof of claim
has been timely filed, or (c) allowed under the Plan or by a Final Order (including the DIP
Order). With respect to any Claim described in clause (a) above, such Claim will be considered
allowed only if, and to the extent that, (A) no objection to the allowance of such Claim has been
asserted, or may be asserted, on or before the time period set forth in the Plan, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or
otherwise, has been interposed and not withdrawn within the applicable period fixed by the Plan
or applicable law, (B) an objection to such Claim is asserted and such Claim is subsequently
allowed pursuant to a Final Order, (C) such Claim is settled pursuant to an order of the
Bankruptcy Court, or (D) such Claim is allowed pursuant to the Plan or any agreements related
thereto and such allowance is approved and authorized by the Bankruptcy Court; provided,
however, that notwithstanding the foregoing, the Post-Effective Date Debtors shall retain all
claims and defenses with respect to Allowed Claims that are reinstated or otherwise unimpaired
pursuant to the Plan. If a Claim is Allowed only in part, any provisions hereunder with respect to
Allowed Claims are applicable solely to the Allowed portion of such Claim. Notwithstanding
the foregoing, unless expressly waived herein, the Allowed amount of Claims or Interests shall
be subject to and shall not exceed the limitations or maximum amounts permitted by the
Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent
applicable.

                 Amended Organizational Documents means the certificates of incorporation,
certificates of formation, bylaws, limited liability company agreements, stockholders agreement,
and the operating agreements or other similar organizational or formation documents, as
applicable, of the Post-Effective Date Debtors.

               Apache means Apache Corporation.


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             Apache Definitive Documents has the meaning set forth in the Apache
Implementation Agreement.

             Apache Fees and Expenses has the meaning set forth in the Apache
Implementation Agreement.

             Apache Implementation Agreement means that certain Implementation
Agreement, dated January 1, 2021, by and among Debtor Fieldwood Energy LLC and Debtor
GOM Shelf LLC, on the one hand, and the Apache PSA Parties on the other hand, as may be
amended, restated, or otherwise modified pursuant to the terms thereof; provided that such
amendment, restatement, or other modification is reasonably acceptable to the Debtors, the
Apache PSA Parties, the Required DIP Lenders and Requisite FLTL Lenders.

               Apache Implementation Costs has the meaning ascribed to “Implementation
Costs” in the Apache Implementation Agreement.

            Apache PSA Parties means, collectively, Apache, Apache Shelf, Inc., Apache
Deepwater LLC, and Apache Shelf Exploration LLC.

               Apache Term Sheet has the meaning set forth in the Restructuring Support
Agreement.

              Asset means all of the rights, title, and interests of a Debtor in and to property of
whatever type or nature (including real, personal, mixed, intellectual, tangible, and intangible
property).

             Assumption Dispute means an unresolved objection regarding assumption or
assumption and assignment of an executory contract or unexpired lease pursuant to section 365
of the Bankruptcy Code, including objections based on the appropriate Cure Amount or
“adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code).

               Avoidance Actions means all claims and causes of action that may be commenced
by or on behalf of the Debtors pursuant to sections 544, 545, 547, 548, 549, 550 and 551 of the
Bankruptcy Code or similar nonbankruptcy law, including similar or related state or federal
statute and common law.

             Backstop Commitment Premium Equity Interests means the Second Lien
Backstop Commitment Premium Equity Interests, the FLTL ERO Backstop Commitment
Premium Equity Interests, and the SLTL ERO Backstop Commitment Premium Equity Interests.

              Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended from time to time, as applicable to these Chapter 11 Cases.

              Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of Texas having jurisdiction over the Chapter 11 Cases and, to the extent of any
reference made under section 157 of title 28 of the United States Code or the Bankruptcy Court



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is determined not to have authority to enter a Final Order on an issue, the District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

                 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the
United States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any
local rules of the Bankruptcy Court.

              Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are authorized or required by law or
executive order to close.

               Cash means legal tender of the United States of America.

                Cause of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account,
defense, remedy, offset, power, privilege, proceeding, license, and franchise of any kind or
character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively
(including any alter ego theories), whether arising before, on, or after the Petition Date, in
contract or in tort, in law or in equity or pursuant to any other theory of law (including under any
state or federal securities laws). For the avoidance of doubt, Cause of Action also includes
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity, (b) the right to object to Claims or Interests, (c) any
claim pursuant to section 362 or chapter 5 of the Bankruptcy Code (including claims and causes
of action arising under section 544, 545, 547, 548, 549, 550, and 551 of the Bankruptcy Code),
(d) any claim or defense, including fraud, mistake, duress, and usury and any other defenses set
forth in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer or
preferential transfer claim.

               Chapter 11 Case(s) means, with respect to a Debtor, such Debtor’s case under
chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court,
jointly administered with all other Debtors’ cases under chapter 11 of the Bankruptcy Code.

              Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code,
against any Debtor.

                Claims Reserve means one or more segregated accounts not subject to the Liens
of the Prepetition Agents or DIP Agent, which shall be established on or immediately before the
Effective Date and funded on the Effective Date with Cash to pay (or reserve for payment of)
any (i) Allowed Administrative Expense Claims, (ii) Allowed Priority Tax Claims, (iii) Allowed
Priority Non-Tax Claims, (iv) Allowed Other Secured Claims, (v) Allowed Unsecured Trade
Claims, and (vi) Cure Amounts; provided, however, that all Cash remaining in the Claims
Reserve after payment of all relevant Allowed Claims and Cure Amounts in accordance with the
terms of this Plan shall constitute Residual Distributable Value; provided further that the funding


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of the Claims Reserve shall be consistent with the terms of the Second Lien Backstop
Commitment Letter.

                Claims Reserve Amount means the aggregate amount of Cash, as determined by
the Debtors with (i) the consent of the Required DIP Lenders and Requisite FLTL Lenders and
(ii) the reasonable consent of the Creditors’ Committee solely with respect to the amount of the
Claims Reserve on account of Allowed Unsecured Trade Claims, necessary to satisfy all (a)
Allowed Administrative Expense Claims, (b) Allowed Priority Tax Claims, (c) Allowed Priority
Non-Tax Claims, (d) Allowed Other Secured Claims, (e) Allowed Unsecured Trade Claims, and
(f) Cure Amounts, which aggregate amount shall be funded into the Claims Reserve on the
Effective Date.

              Class means any group of Claims or Interests classified under the Plan pursuant to
section 1122 and 1123(a)(1) of the Bankruptcy Code.

              Collateral means any Asset of an Estate that is subject to a Lien securing the
payment or performance of a Claim, which Lien is not invalid, is properly perfected as of the
Petition Date, and is not subject to avoidance under the Bankruptcy Code or applicable
nonbankruptcy law.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

              Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

               Confirmation Order means the order of the Bankruptcy Court, in form and
substance acceptable to the Debtors, the Required DIP Lenders, the Requisite FLTL Lenders, the
Prepetition FLFO Administrative Agent, and the Creditors’ Committee, confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

              Confirmation Outside Date means May 10, 2021 or such later date as may be
mutually agreed between the Debtors, the Required DIP Lenders, and the Requisite FLTL
Lenders.

                Consenting Creditors means the Prepetition FLTL Lenders, together with their
respective successors and permitted assigns, and the Prepetition SLTL Lenders, together with
their respective successors and permitted assigns, that are party to, or have executed a joinder to,
the Restructuring Support Agreement.

                 Credit Bid Acquired Interests has the meaning ascribed to “Acquired Interests”
set forth in the Credit Bid Purchase Agreement.

                 Credit Bid Assumed Liabilities has the meaning ascribed to “Assumed
Liabilities” set forth in the Credit Bid Purchase Agreement.




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                Credit Bid Consent Rights means any right of consent, notice, and other similar
rights, if any, that are applicable to the sale of the Credit Bid Acquired Interests in connection
with the Credit Bid Purchase Agreement.

            Credit Bid Permitted Encumbrances has the meaning ascribed to “Permitted
Encumbrances” set forth in the Credit Bid Purchase Agreement.

                Credit Bid Purchase Agreement means that certain Purchase and Sale
Agreement, by and between Fieldwood Energy LLC, the other seller parties, and the Credit Bid
Purchaser and NewCo, together with any and all related agreements, annexes, exhibits and
schedules in connection therewith, as amended, supplemented or otherwise modified from time
to time, which shall be in form and substance acceptable to the Debtors, the Requisite FLTL
Lenders, and the Required DIP Lenders; provided that any modifications to the Credit Bid
Purchase Agreement from the version attached to the draft of the Disclosure Statement at
Docket No. 1022 shall require the consent of the Prepetition FLFO Administrative Agent (not to
be unreasonably withheld with respect to the following clauses (b) and (e)) to the extent that such
modification (a) individually or in the aggregate, results in a reduction of 10% or more of the
total PV-10 of total 2P reserves comprising the assets acquired by the Credit Bid Purchaser
(which shall be calculated by reference to the FWE YE2020 Internal Reserve Report (as of
5.1.21)), (b) results in any contract rights constituting material assets not being acquired by the
Credit Bid Purchaser, (c) individually or in the aggregate, results in an increase by $40.0 million
or more (which, for the avoidance of doubt, in the case of plugging and abandonment liabilities,
shall be calculated on a present value basis) in liabilities assumed by the Credit Bid Purchaser,
(d) relates to any change in treatment of the Prepetition FLFO Credit Agreement or First Lien
Exit Facility, or (e) provide for any differences from the the draft of the Disclosure Statement at
Docket No. 1022 that are materially adverse to the interests of the First Lien Exit Facility Agent
and the First Lien Exit Facility Lenders.

               Credit Bid Purchaser means [●], a newly formed special purpose bidding entity,
as purchaser of certain of the Debtors’ assets pursuant to and in accordance with the Credit Bid
Purchase Agreement.

               Credit Bid Preferential Purchase Rights has the meaning ascribed to
“Preferential Right” set forth in the Credit Bid Purchase Agreement.

              Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to the
Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.

             Credit Bid Transaction Closing means “Closing” as defined in the Credit Bid
Purchase Agreement.

             Creditors’ Committee means the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee in these Chapter 11 Cases pursuant to section 1102 of the
Bankruptcy Code as it may be reconstituted from time to time.

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease

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and (b) permit the Debtors to assume such executory contract or unexpired lease under section
365(a) of the Bankruptcy Code.

               Cure Notice means the notice of proposed Cure Amount to be paid in connection
with an executory contract or unexpired lease of the Debtors that may be assumed or assumed
and assigned under the Plan pursuant to section 365 of the Bankruptcy Code, which shall include
(a) procedures for objecting to proposed assumptions or assumptions and assignments of
executory contracts and unexpired leases, (b) any Cure Amount to be paid in connection
therewith, and (c) procedures for resolution by the Bankruptcy Court of any related disputes.

               D&O Policy means any insurance policy, including tail insurance policies, for
directors’, members’, trustees’, and officers’ liability providing coverage to the Debtors and in
effect or purchased as of the Petition Date.

               Debtor(s) has the meaning set forth in the introductory paragraph of the Plan.

                Debtor in Possession means, with respect to a Debtor, that Debtor in its capacity
as a debtor in possession pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

                Decommissioning Agreement means that Decommissioning Agreement, dated as
of September 30, 2013, by and among the Apache PSA Parties, Fieldwood Energy LLC, and the
other parties thereto.

             Decommissioning Security has the meaning set forth in the Apache
Implementation Agreement.

               Definitive Documents has the meaning set forth in the Restructuring Support
Agreement.

               DIP Agent means Cantor Fitzgerald Securities, solely in its capacity as
administrative agent and collateral agent under the DIP Facility Credit Agreement, its successors,
assigns, or any replacement agent appointed pursuant to the terms of the DIP Facility Credit
Agreement.

                DIP Claim means any Claim held by the DIP Lenders or the DIP Agent arising
under or relating to the DIP Facility Credit Agreement or the DIP Order, including any and all
fees, interests, and accrued but unpaid interest and fees arising under the DIP Facility Credit
Agreement.

               DIP Documents has the meaning set forth in the DIP Order.

                 DIP Facility means the postpetition senior secured debtor-in-possession term loan
credit facility approved by the DIP Order.

             DIP Facility Credit Agreement means the credit agreement governing the terms
of the DIP Facility, dated as of August 24, 2020, by and among Fieldwood Energy LLC, as
borrower, FWE Parent, as holdings, the DIP Agent, and the DIP Lenders, with any amendments,



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restatements, amendments and restatements, modifications or supplements thereto as permitted
by the DIP Order.

               DIP Lenders means the lenders from time to time party to the DIP Facility Credit
Agreement.

               DIP Order means the Final Order (I) Authorizing Debtors (A) to Obtain
Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2),
364(c)(3), 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363
and (II) Granting Adequate Protection to Prepetition Secured Parties Pursuant to 11 U.S.C.
§§ 361, 362, 363, 364 and 507(b) [Docket No. 346], authorizing the Debtors to enter into the
DIP Facility Credit Agreement and access the DIP Facility, as may be amended, supplemented or
modified from time to time.

                Disclosure Statement means the disclosure statement in support of the Plan, in
form and substance (i) acceptable to the Debtors, the Required DIP Lenders, the Requisite FLTL
Lenders, (ii) reasonably acceptable to the Creditors’ Committee solely for matters relating to the
treatment of holders of General Unsecured Claims or Unsecured Trade Claims, and
(iii) reasonably acceptable to the Prepetition FLFO Administrative Agent, which is prepared and
distributed in accordance with sections 1125, 1126(b), or 1145 of the Bankruptcy Code,
Bankruptcy Rules 3016 and 3018, or other applicable law, and all exhibits, schedules,
supplements, modifications, amendments, annexes, and attachments to such disclosure statement.

                Disputed means, with respect to a Claim, (a) any Claim, which Claim is disputed
under this Plan (including pursuant to section 7.1 of this Plan) or otherwise or as to which the
Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable, have
interposed and not withdrawn an objection or request for estimation that has not been determined
by a Final Order; (b) any Claim, proof of which was required to be filed by order of the
Bankruptcy Court but as to which a proof of claim was not timely or properly filed; (c) any
Claim that is listed in the Schedules, if any are filed, as unliquidated, contingent, disputed or
undetermined, and as to which no request for payment or proof of claim has been filed; or (d)
any Claim that is otherwise disputed by any of the Debtors or the Post-Effective Date Debtors in
accordance with applicable law or contract, which dispute has not been withdrawn, resolved or
overruled by a Final Order. To the extent the Debtors dispute only the amount of a Claim, such
Claim shall be deemed Allowed in the amount the Debtors do not dispute, if any, and Disputed
as to the balance of such Claim.

              Distribution Date means the date or dates, including the Initial Distribution Date,
as determined by the Plan Administrator in accordance with the terms of this Plan, on which the
Plan Administrator makes a Distribution to holders of Allowed Claims.

                Distribution Record Date means, except as otherwise provided in the Plan, the
date that is two business days before the Effective Date or such other date as is designated by the
Debtors with the consent of the Requisite FLTL Lenders and the Required DIP Lenders.

              Divisive Merger means a divisive merger pursuant to Sections 10.001, 10.002,
10.008 and 10.302 of the Texas Business Organizations Code.


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               Effective Date means the date which is the first Business Day on which (a) all
conditions to the effectiveness of the Plan set forth in Section 9.1 of the Plan have been satisfied
or waived in accordance with the terms of the Plan, and (b) no stay of the Confirmation Order is
in effect.

               Entity means an “entity,” as defined in section 101(15) of the Bankruptcy Code.

             Equity Rights Offerings means, collectively, the FLTL Equity Rights Offering
and the SLTL Equity Rights Offering.

             ERO Backstop Agreements means, collectively, the FLTL ERO Backstop
Agreement and the SLTL ERO Backstop Agreement.

            ERO Backstop Parties means, collectively, the FLTL ERO Backstop Parties and
the SLTL ERO Backstop Parties.

               Estate(s) means individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

                Exculpated Parties means collectively, and in each case in their capacities as
such during the Chapter 11 Cases (a) the Debtors, (b) the Post-Effective Date Debtors, (c)
FWE I, (d) the DIP Agent and DIP Lenders under the DIP Facility, (e) the Prepetition FLFO
Secured Parties, (f) the Consenting Creditors, (g) the Prepetition FLFO Collateral Agent, (h) the
Prepetition FLTL Administrative Agent, (i) the Prepetition SLTL Agent, (j) the Creditors’
Committee and the current and former members of the Creditors’ Committee (solely in their
capacities as such), (k) NewCo and all of its subsidiaries (including the Credit Bid Purchaser), (l)
the Exit Facility Agents, (m) the Exit Facility Lenders, (n) the Second Lien Backstop Parties, (o)
the ERO Backstop Parties, (p) the Apache PSA Parties, and (q) with respect to each of the
foregoing Persons in clauses (a) through (p) each of their current and former affiliates, and each
such Entity’s and its current and former affiliates’ current and former directors, managers,
officers, equity holders (regardless of whether such interests are held directly or indirectly),
predecessors, successors, and assigns, subsidiaries, and each of their current and former officers,
members, managers, directors, equity holders (regardless of whether such interests are held
directly or indirectly), principals, members, employees, agents, managed accounts or funds,
management companies, fund advisors, investment advisors, advisory board members, financial
advisors, partners (including both general and limited partners), attorneys, accountants,
investment bankers, consultants, representatives and other professionals, such Persons’
respective heirs, executors, estates, and nominees, in each case in their capacity as such, and any
and all other persons or entities that may purport to assert any cause of action derivatively, by or
through the foregoing entities.

             Existing Equity Interests means shares of common stock of FWE Parent that
existed immediately before the Effective Date.

               Exit Facilities means the First Lien Exit Facility and the Second Lien Exit
Facility.




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               Exit Facility Agents means the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent.

             Exit Facility Documents means the First Lien Exit Facility Documents and the
Second Lien Exit Facility Documents.

               Exit Facility Lenders means the First Lien Exit Facility Lenders and the Second
Lien Exit Facility Lenders.

                Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Petition Date through the Effective Date by Professional Persons retained by an order
of the Bankruptcy Court pursuant to sections 327, 328, 329, 330, 331, 503(b), or 1103 of the
Bankruptcy Code in the Chapter 11 Cases.

             Fieldwood U.A. Interests has the meaning ascribed to such term in the Credit Bid
Purchase Agreement.

               Final Order means an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter which has: (a) not been
reversed, stayed, modified or amended, as to which the time to appeal, petition for certiorari or
move for reargument, reconsideration or rehearing has expired and no appeal, petition for
certiorari or motion for reargument, reconsideration or rehearing has been timely filed; or (b) as
to which any appeal, petition for certiorari or motion for reargument, reconsideration or
rehearing that has been or may be filed has been resolved by the highest court to which the order
or judgment was appealed or from which certiorari, reargument, reconsideration or rehearing was
sought; provided, however, that the possibility that a motion under Rules 59 or 60 of the Federal
Rules of Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable
in such other court of competent jurisdiction) may be filed relating to such order or judgment
shall not cause such order or judgment not to be a Final Order.

             First Lien Exit Facility means the facility under the First Lien Exit Facility
Credit Agreement.

               First Lien Exit Facility Agent means the administrative agent under the First
Lien Exit Facility Credit Agreement.

                First Lien Exit Facility Commitment Letter means that certain commitment
letter, in form and substance acceptable to the Required DIP Lenders, the Requisite FLTL
Lenders, the Debtors, the Prepetition FLFO Administrative Agent, and the First Lien Exit
Facility Agent, to be entered into by and among Fieldwood Energy LLC and the First Lien Exit
Facility Agent, as may be amended, supplemented, or modified from time to time, pursuant and
subject to the terms thereof, pursuant to which, among other things, GS Bank (as defined therein)
agreed to act as the sole arranger, administrative agent and collateral agent in connection with the
First Lien Exit Facility and to commit to provide First Lien Exit Facility in accordance with the
terms and conditions set forth therein.




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               First Lien Exit Facility Credit Agreement means that certain credit agreement to
be entered by the Credit Bid Purchaser, the First Lien Exit Facility Agent and the First Lien Exit
Facility Lenders on the Effective Date that shall govern the First Lien Exit Facility which shall
reflect and contain terms, conditions, representations, warranties, and covenants consistent with
the First Lien Exit Facility Term Sheet and otherwise be in form and substance acceptable to the
Prepetition FLFO Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the
Required DIP Lenders, and Requisite FLTL Lenders.

               First Lien Exit Facility Documents means, collectively, the First Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be in form and substance acceptable to the Prepetition FLFO
Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the Required DIP Lenders,
and Requisite FLTL Lenders.

                First Lien Exit Facility Lenders means the lenders party to the First Lien Exit
Facility Credit Agreement.

               First Lien Exit Facility Term Sheet means a term sheet attached to the First Lien
Exit Facility Commitment Letter and to be attached to the Disclosure Statement, as may be
amended, supplemented or modified from time to time with the consent of the Prepetition FLFO
Administrative Agent, the First Lien Exit Facility Agent, the Debtors, the Required DIP Lenders,
and Requisite FLTL Lenders.

             FLFO Claims means all Claims arising from or based upon the Prepetition FLFO
Credit Agreement.

               FLFO Claims Allowed Amount means the aggregate principal amount of
$138,599,082.31 plus any accrued and unpaid interest (accruing at the default rate to the extent
provided under the Prepetition FLFO Credit Agreement), fees, costs, and other expenses arising
under, and payable pursuant to, the Prepetition FLFO Credit Agreement on or before the
Effective Date, which shall not be subject to any avoidance, reduction, setoff, offset,
recharacterization, subordination, counterclaims, cross claims, defenses, disallowance,
impairments, or any other challenges under applicable law or regulation by any Entity.
Notwithstanding the foregoing, on the Effective Date any amount accrued pursuant to Section
2.08(b) of the Prepetition FLFO Credit Agreement and any amounts accrued in respect of Yield
Maintenance Premium or any Prepayment Fee (each as defined in the Prepetition FLFO Credit
Agreement), if any, shall be deemed discharged, released, and waived by all holders of Allowed
FLFO Claims and the FLFO Claims Allowed Amount shall not be increased on account of such
amounts as a result of such discharge, release, and waiver.

                FLFO Distribution Amount means Cash in the amount of the FLFO Claims
Allowed Amount less the initial aggregate principal amount of the First Lien Exit Facility, as set
forth in the First Lien Exit Facility Commitment Letter.




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              FLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition FLTL Credit Agreement.

               FLTL Claims Allowed Amount means $1,142,688,815.28 in principal plus any
accrued but unpaid interest or fees due under the Prepetition FLTL Credit Agreement as of the
Petition Date.

               FLTL Deficiency Claim means any FLTL Claim or portion thereof that is not
Secured, if any.

                FLTL Equity Rights Offering means that certain rights offering pursuant to
which each holder of Allowed FLTL Claims is entitled to receive FLTL Subscription Rights to
acquire New Equity Interests in the aggregate amount of the FLTL Equity Rights Offering
Amount in accordance with the FLTL Equity Rights Offering Procedures, the terms and
conditions of which shall be (i) acceptable to the Debtors, Required DIP Lenders, and Requisite
FLTL Lenders, (ii) reasonably acceptable to the Prepetition FLFO Administrative Agent and the
First Lien Exit Facility Agent, and (iii) reasonably acceptable to the Requisite SLTL Lenders
solely to the extent that it directly and adversely impacts the holders of Allowed SLTL Claims.

              FLTL Equity Rights Offering Amount means $20,000,000.

             FLTL Equity Rights Offering Procedures means the procedures for the
implementation of the FLTL Equity Rights Offering to be approved by the Bankruptcy Court.

                FLTL ERO Backstop Agreement means that certain [Equity Backstop
Commitment Agreement], in form and substance (i) acceptable to the Debtors, the Required DIP
Lenders, and Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO
Administrative Agent and the First Lien Exit Facility Agent, to be entered into by and among
Fieldwood Energy LLC, NewCo, and the FLTL ERO Backstop Parties, as may be amended,
supplemented, or modified from time to time, pursuant to which the FLTL ERO Backstop Parties
agreed to, among other things, backstop the FLTL Equity Rights Offering with the terms and
conditions set forth therein.

           [FLTL ERO Backstop Commitment Percentage has the meaning set forth in the
FLTL ERO Backstop Agreement.]

               [FLTL ERO Backstop Commitment Premium means a premium equal to 8% of
the FLTL Equity Rights Offering Amount payable to the FLTL ERO Backstop Parties with the
FLTL ERO Backstop Commitment Premium Equity Interests in accordance with the terms set
forth in the FLTL ERO Backstop Agreement.]

                [FLTL ERO Backstop Commitment Premium Equity Interests means an
amount of New Equity Interests equal to the value of the FLTL ERO Backstop Commitment
Premium as further set forth in the FLTL ERO Backstop Agreement; provided that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.



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               FLTL ERO Backstop Parties means those parties that agree to backstop the
FLTL Equity Rights Offering pursuant to the FLTL ERO Backstop Agreement, each in its
respective capacity as such.

               FLTL Subscription Rights means the subscription right to acquire New Equity
Interests with an aggregate value equal to the FLTL Rights Offering Amount offered in
accordance with the FLTL Equity Rights Offering Procedures; provided, however, that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

             [FLTL Unsubscribed Shares has the meaning set forth in the FLTL ERO
Backstop Agreement].

              FWE I means an entity formed on the Effective Date by Divisive Merger under
the name Fieldwood Energy I LLC pursuant to the Plan of Merger.

            FWE I LLC Agreement means the limited liability company agreement of
FWE I, which shall be in substantially the form attached to the Apache Implementation
Agreement.

              FWE I Assets has the meaning set forth in the Plan of Merger.

              FWE I Obligations has the meaning set forth in the Plan of Merger.

               FWE I Sole Manager has the meaning ascribed to the term “Sole Manager” in
the FWE I LLC Agreement, and shall include the sole manager appointed to FWE I upon the
Effective Date and any successor thereto.

               FWE III means the surviving entity under the name Fieldwood Energy III LLC
following the Divisive Merger pursuant to the Plan of Merger.

              FWE III LLC Agreement means the limited liability company agreement of
FWE III, a form of which shall be included in the Plan Supplement.

              FWE III Assets has the meaning set forth in the Plan of Merger.

              FWE III Obligations has the meaning set forth in the Plan of Merger.

              FWE Assets means, collectively, the FWE I Assets and FWE III Assets.

              FWE Parent means Debtor Fieldwood Energy Inc.

                General Unsecured Claim means any Claim against a Debtor, other than a DIP
Claim, Postpetition Hedge Claim, Administrative Expense Claim (including a Fee Claim), FLFO
Claim, FLTL Claim, SLTL Claim, Other Secured Claim, Priority Tax Claim, Priority Non-Tax
Claim, Unsecured Trade Claim, Subordinated Securities Claim, or Intercompany Claim that is
not entitled to priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court.



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For the avoidance of doubt, General Unsecured Claims shall not include FLTL Deficiency
Claims or SLTL Deficiency Claims.

               GUC Warrant Agreement means a warrant agreement to be entered into by and
among NewCo and the warrant agent named therein that shall govern the terms of the GUC
Warrants, the form of which shall be acceptable to the Debtors, Required DIP Lenders, Requisite
FLTL Lenders, the Requisite SLTL Lenders and the Creditors’ Committee and which shall
contain provisions as favorable as the provisions in the SLTL Tranche 1 Warrant Agreement or
SLTL Tranche 2 Warrant Agreement.

                GUC Warrants means 8-year warrants for 3.5% of the New Equity Interests
(calculated on a fully diluted basis giving effect to the New Equity Interests to be issued pursuant
to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of the
Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New Equity
Interests issuable upon the exercise of the New Money Warrants and SLTL Tranche 1 Warrants,
but excluding the effect of any New Equity Interests issuable in connection with the
Management Incentive Plan), with a strike price set at an equity value equal to $1,321,000,000,
the terms of which shall be set forth in the GUC Warrant Agreement; provided, that if the SLTL
Tranche 2 Warrants are exercised, the GUC Warrants shall be subject to adjustment or true-up as
necessary to retain such percentage after giving effect to the exercise of the SLTL Tranche 2
Warrants.

             Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

               Impaired means, with respect to a Claim, Interest, or a Class of Claims or
Interests, “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

                Indemnification Obligation means any existing or future obligation of any
Debtor to indemnify current and former directors, officers, members, managers, agents or
employees of any of the Debtors who served in such capacity, with respect to or based upon such
service or any act or omission taken or not taken in any of such capacities, or for or on behalf of
any Debtor, whether pursuant to agreement, the Debtors’ respective memoranda, articles or
certificates of incorporation, corporate charters, bylaws, operating agreements, limited liability
company agreements, or similar corporate or organizational documents or other applicable
contract or law in effect as of the Effective Date.

               Initial Distribution means the first Distribution that the Plan Administrator makes
to holders of Allowed Claims.

               Initial Distribution Date means the date on which the Plan Administrator shall
make the Initial Distribution, which shall not be less than five Business Days after the Effective
Date.

               Intercompany Claim means any Claim against a Debtor held by another Debtor.

               Intercompany Interest means an Interest in a Debtor other than any Existing
Equity Interest.


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                 Interest means any common stock, limited liability company interest, equity
security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
interests, unit, or share in any Debtor (including all options, warrants, rights, or other securities
or agreements to obtain such an interest or share in such Debtor), whether or not arising under or
in connection with any employment agreement and whether or not certificated, transferable,
preferred, common, voting, or denominated “stock” or a similar security.

                Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

                Management Incentive Plan means the post-Effective Date management
incentive plan of NewCo which shall provide for [up to] 10% of New Equity Interests on a fully
diluted basis or other equity or similar interests in NewCo to be reserved for directors, managers,
officers, and employees of NewCo or a subsidiary of NewCo (including the Credit Bid
Purchaser) to be distributed on terms to be determined by the board of directors of NewCo.

               New Equity Interests means the equity interests of NewCo to be issued (i) on the
Effective Date (including the Backstop Commitment Premium Equity Interests and upon the
exercise of the Subscription Rights), (ii) upon exercise of the New Money Warrants, the SLTL
Warrants, or the GUC Warrants, (iii) under the Management Incentive Plan, or (iv) on or after
the Effective Date as otherwise permitted pursuant to the NewCo Organizational Documents.

               New Intercreditor Agreement means that certain Intercreditor Agreement, to be
dated as of the Effective Date, by and among the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent and the Credit Bid Purchaser, the form of which shall be contained in
the Plan Supplement, acceptable to the Prepetition FLFO Administrative Agent, the First Lien
Exit Facility Agent, the Requisite FLFO Lenders, the Debtors, the Required DIP Lenders, and
the Requisite FLTL Lenders.

                NewCo means [], which is the direct or indirect owner of 100% of the equity
interests of the Credit Bid Purchaser.

                NewCo Entities means, collectively, NewCo and each of its direct and indirect
subsidiaries.

                NewCo Organizational Documents means the form of certificate of formation,
limited liability company agreement, agreement of limited partnership, articles of incorporation,
bylaws, trust agreements, or such other applicable formation documents of the NewCo and any
of its subsidiaries, including any shareholders’ or stockholders’ agreement, which shall be (i)
acceptable to the Debtors, the Requisite FLTL Lenders, and the Required DIP Lenders and (ii)
(a) if NewCo or any of its subsidiaries are to be formed in a jurisdiction outside of the United
States, reasonably acceptable to the Prepetition FLFO Administrative Agent or (b) if NewCo or
any of its subsidiaries are to be formed in a jurisdiction within the United States, reasonably
acceptable to the Prepetition FLFO Administrative Agent solely to the extent that it directly and
adversely impacts the holders of Allowed FLFO Claims or First Lien Exit Facility Lenders.

               New Money Consideration means, in the aggregate, the amount of Cash provided
to the Debtors by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.


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              New Money Investment means the investment of up to $85 million in Cash into
Credit Bid Purchaser by the New Money Second Lien Exit Facility Lenders in connection with,
and upon consummation of, the Second Lien Exit Facility, subject to the terms of the Second
Lien Backstop Commitment Letter.

             New Money Second Lien Exit Facility Lenders means the lenders party to the
Second Lien Exit Facility Credit Agreement participating in the New Money Investment.

             New Money Warrant Agreement means a warrant agreement to be entered into
by and among NewCo and the warrant agent named therein that shall govern the terms of the
New Money Warrants, the form of which shall be acceptable to the Debtors, Required DIP
Lenders and Requisite FLTL Lenders.

                New Money Warrants means 7-year warrants for up to 24% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the Backstop Commitment Premium Equity Interests,
and the New Equity Interests issuable upon the exercise of the Subscription Rights, but
excluding the effect of any New Equity Interests issuable upon exercise of the SLTL Warrants
and GUC Warrants and any New Equity Interest issuable pursuant to the Management Incentive
Plan), with a strike price of $0.01, the terms of which shall be set forth in the New Money
Warrant Agreement and which shall be issued and allocated in a manner consistent with the
Second Lien Backstop Commitment Letter.

               Other Secured Claim means any Secured Claim against a Debtor other than a
Priority Tax Claim, FLFO Claim, FLTL Claim, and SLTL Claim.

               Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy
Code), or other Entity.

             Petition Date means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.

                Plan means this joint chapter 11 plan, including all appendices, exhibits,
schedules, and supplements hereto (including any appendices, schedules, and supplements to the
Plan contained in the Plan Supplement), as may be amended, supplemented or modified from
time to time in accordance with the Bankruptcy Code and the terms hereof.

               Plan Administrator means a person or entity selected by the Creditors’
Committee, subject to the consent of the Debtors, Required DIP Lenders, and Requisite FLTL
Lenders, with such consent not to be unreasonably withheld, that is charged with overseeing the
tasks outlined in Section 5.9 of this Plan, or any successor thereto. The identity of the Plan
Administrator shall be disclosed to the Bankruptcy Court before the Confirmation Hearing.

             Plan Administrator Agreement means an agreement setting forth the economic
arrangement and terms pursuant to which the Plan Administrator will perform its duties under
this Plan.


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              Plan Administrator Expense Reserve means a segregated account not subject to
the Liens of the Prepetition Agents or DIP Agent established by the Plan Administrator in
accordance with Section 5.15 of this Plan.

              Plan Administrator Expense Reserve Amount means Cash in an amount equal to
$8,000,000 to be funded into the Plan Administrator Expense Reserve on the Effective Date.

               Plan Distribution means any initial or periodic payment or transfer of
consideration to holders of Allowed Claims made under the Plan.

                Plan of Merger means that certain Agreement and Plan of Merger, which shall be
in substantially the form attached to the Apache Implementation Agreement.

                Plan of Merger Consent Rights means any right of consent, notice, and other
similar rights, if any, that are applicable to the vesting of assets in connection with the Plan of
Merger.

                Plan of Merger Preferential Purchase Rights means any preferential right to
purchase, right of first refusal, right of first offer, drag-along rights, tag-along rights, and similar
right the operation of which is triggered by the vesting of the FWE Assets in connection with the
Plan of Merger.

               Plan Settlement means the settlement of certain Claims and controversies
pursuant to Section 5.1 of the Plan.

               Plan Supplement means a supplement or supplements to the Plan containing
certain documents and forms of documents, schedules, and exhibits relevant to the
implementation of the Plan, which shall include: (a) the Amended Organizational Documents (if
any), (b) information regarding the sole manager and independent director to be appointed at
FWE I to the extent known and determined and other information required to be disclosed in
accordance with section 1129(a)(5) of the Bankruptcy Code, (c) a schedule of retained Causes of
Action, (d) the Schedule of Assumed Contracts, (e) the Plan Administrator Agreement; (f) the
Credit Bid Purchase Agreement; (g) the NewCo Organizational Documents; (h) the Apache
Definitive Documents; (i) the First Lien Exit Facility Agreement; (j) the Second Lien Exit
Facility Agreement; (k) the New Intercreditor Agreement; (l) the New Money Warrant
Agreements; (m) the GUC Warrant Agreement; and (n) any Additional Predecessor Agreement;
provided, however, that the Debtors shall have the right to amend documents contained in, and
exhibits thereto, the Plan Supplement in accordance with the terms of this Plan and the
Restructuring Support Agreement (including the consent rights set forth therein).

              Postpetition Hedging Agreements has the meaning set forth in that certain
Emergency Order (I) Authorizing Debtors to (A) Enter Into and Perform Under New
Postpetition Hedging Agreements and (B) Grant Related Liens and Superiority Claims, (II)
Modifying Automatic Stay, and (III) Granting Related Relief entered on August 24, 2020 (ECF
No. 242).

             Postpetition Hedge Claim means a Claim arising pursuant to any Postpetition
Hedging Agreement.


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               Post-Effective Date Debtors means the Debtors, as reorganized as of the Effective
Date in accordance with this Plan, including FWE III. For the avoidance of doubt, the Post-
Effective Date Debtors does not include NewCo or its subsidiaries (including the Credit Bid
Purchaser), or FWE I.

               Post-Effective Date FWE Parent means FWE Parent, as reorganized on the
Effective Date in accordance with this Plan.

                Prepetition Agents means, collectively, the Prepetition FLFO Administrative
Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL Administrative Agent, and
the Prepetition SLTL Agent.

                Prepetition FLFO Administrative Agent means Goldman Sachs Bank USA,
solely in its capacity as administrative agent under the Prepetition FLFO Credit Agreement.

                Prepetition FLFO Advisors means Vinson & Elkins, LLP, Shipman & Goodwin
LLP (in its capacity as counsel to the Prepetition FLFO Collateral Agent), Opportune LLP, and
any local or foreign advisors.

                Prepetition FLFO Collateral Agent means Cantor Fitzgerald Securities, solely in
its capacity as collateral agent under the Prepetition FLFO Credit Agreement.

               Prepetition FLFO Credit Agreement means that certain Second Amended and
Restated Credit Agreement- First Out, dated as of June 28, 2019, by and among Fieldwood
Energy LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Collateral Agent, and the Prepetition FLFO
Lenders, and the other parties thereto, as in effect immediately before the Effective Date.

            Prepetition FLFO Lenders means the Lenders (as defined in the Prepetition
FLFO Credit Agreement) holding Prepetition FLFO Loans immediately before the Effective
Date.

              Prepetition FLFO Loans means the Loans (under and as defined in the
Prepetition FLFO Credit Agreement) outstanding immediately before the Effective Date.

                Prepetition FLFO Secured Parties means, collectively, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Lenders, and the other Secured Parties (as defined
in the Prepetition FLFO Credit Agreement) under the Prepetition FLFO Credit Agreement.

                Prepetition FLTL Administrative Agent means Cantor Fitzgerald Securities,
solely in its capacity as administrative agent and collateral agent under the Prepetition FLTL
Credit Agreement.

               Prepetition FLTL Credit Agreement means that certain Amended and Restated
First Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLTL Administrative
Agent, and the Prepetition FLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.


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            Prepetition FLTL Lenders means the Lenders (as defined in the Prepetition
FLTL Credit Agreement) holding Prepetition FLTL Loans immediately before the Effective
Date.

              Prepetition FLTL Loans means the Loans (under and as defined in the
Prepetition FLTL Credit Agreement) outstanding immediately before the Effective Date.

              Prepetition SLTL Administrative Agent means Cortland Capital Market Services
LLC, solely in its capacity as administrative agent and collateral agent under the Prepetition
SLTL Credit Agreement.

               Prepetition SLTL Credit Agreement means that certain Amended and Restated
Second Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition SLTL Administrative
Agent, and the Prepetition SLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.

             Prepetition SLTL Lenders means the Lenders (as defined in the Prepetition SLTL
Credit Agreement) holding Prepetition SLTL Loans immediately before the Effective Date.

             Prepetition SLTL Loans means the Loans (under and as defined in the Prepetition
SLTL Credit Agreement) outstanding immediately before the Effective Date.

              Principal FLFO Amount has the meaning set forth in Section 4.3.

               Priority Non-Tax Claim means any Claim other than an Administrative Expense
Claim, or a Priority Tax Claim that is entitled to priority of payment as specified in section
507(a) of the Bankruptcy Code.

               Priority Tax Claim means any Secured Claim or unsecured Claim of a
Governmental Unit of the kind entitled to priority of payment as specified in sections 502(i) and
507(a)(8) of the Bankruptcy Code.

               Pro Rata Share means the proportion that an Allowed Claim or Interest in a
particular Class bears to the aggregate amount of all Allowed Claims or Interests in that Class.

                Professional Person(s) means any Person retained by order of the Bankruptcy
Court in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b),
or 1103 of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to
an order of the Bankruptcy Court.

               Professional Fee Escrow means an escrow account established and funded
pursuant to section 2.2 of the Plan.

               Professional Fee Escrow Amount means the aggregate unpaid Fee Claims
through the Effective Date as estimated in accordance with section 2.2 of the Plan.




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               Released Parties means, collectively, (a) the Debtors, (b) the Post-Effective Date
Debtors, (c) the DIP Agent and DIP Lenders under the DIP Facility, (d) the Prepetition FLFO
Secured Parties, (e) the Consenting Creditors, (f) the Prepetition FLFO Collateral Agent, (g) the
Prepetition FLTL Administrative Agent, (h) the Prepetition SLTL Agent, (i) the Creditors’
Committee and the current and former members of the Creditors’ Committee (solely in their
capacities as such), (j) NewCo and all of its subsidiaries (including the Credit Bid Purchaser),
(k) the Exit Facility Agents, (l) the Exit Facility Lenders, (m) the Second Lien Backstop Parties,
(n) the ERO Backstop Parties, (o) the Apache PSA Parties, and (p) with respect to each of the
foregoing Persons in clauses (a) through (o), each of their current and former affiliates, and each
such Entity’s and its current and former affiliates’ current and former directors, managers,
officers, equity holders (regardless of whether such interests are held directly or indirectly),
predecessors, successors, and assigns, subsidiaries, and each of their current and former officers,
members, managers, directors, equity holders (regardless of whether such interests are held
directly or indirectly), principals, members, employees, agents, managed accounts or funds,
management companies, fund advisors, investment advisors, advisory board members, financial
advisors, partners (including both general and limited partners), attorneys, accountants,
investment bankers, consultants, representatives and other professionals, such Persons’
respective heirs, executors, estates, and nominees, in each case in their capacity as such, and any
and all other persons or entities that may purport to assert any cause of action derivatively, by or
through the foregoing entities.

                Releasing Parties means collectively, (a) the holders of all Claims or Interests
that vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or
reject the Plan is solicited but that do not vote either to accept or to reject the Plan, (c) the
holders of all Claims or Interests that vote, or are deemed, to reject the Plan but do not opt out of
granting the releases set forth herein, (d) the holders of all Claims and Interests that were given
notice of the opportunity to opt out of granting the releases set forth herein but did not opt out,
and (e) the Released Parties (even if such Released Party purports to opt out of the releases set
forth herein).

               Required DIP Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite FLFO Lenders means, as of the date of determination, Prepetition
FLFO Lenders holding at least a majority of the outstanding Prepetition FLFO Loans (inclusive
of validly executed but unsettled trades) held by the Prepetition FLFO Lenders as of such date.

               Requisite FLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite SLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Residual Distributable Value means any distributable value of the Single Share
of Post-Effective Date FWE Parent held by the Plan Administrator (a) after satisfaction of
Allowed Administrative Expense Claims, Allowed Other Secured Claims, Allowed Priority Tax
Claims, Allowed Priority Non-Tax Claims, all Cure Amounts and (b) after satisfaction of all


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fees, expenses, costs and other amounts pursuant to the Plan and incurred by the Post-Effective
Date Debtors in connection with post-Effective Date operations and wind-down.

               Restructuring means the restructuring of the Debtors, the principal terms of
which are set forth in this Plan and the Plan Supplement.

                Restructuring Expenses means the reasonable and documented fees and expenses
incurred by (i) the Ad Hoc Group of Secured Lenders, (ii) the Prepetition FLFO Secured Parties,
and (iii) the Ad Hoc Group of Prepetition SLTL Lenders in connection with the Chapter 11
Cases, including the fees and expenses of the Ad Hoc Group of Secured Lenders Advisors, the
Prepetition FLFO Advisors, and Ad Hoc Group of Prepetition SLTL Lenders Advisors, in each
case payable in accordance with the terms of any applicable agreements, engagement letters or
fee letters executed with such parties or pursuant to the terms of the DIP Order and without the
requirement for the filing of retention applications, fee applications, or any other application in
the Chapter 11 Cases, which shall not be subject to any offset, defense, counterclaim, reduction,
or creditor credit and, to the extent incurred prior to the Effective Date, shall be Allowed as
Administrative Expense Claims upon incurrence; provided, however, Restructuring Expenses of
the Ad Hoc Group of Prepetition SLTL Lenders shall be limited to and consist solely of the
reasonable fees and expenses incurred by the Ad Hoc Group of Prepetition SLTL Lenders
Advisors in their capacity as counsel to the Ad Hoc Group of Prepetition SLTL Lenders.

                Restructuring Support Agreement means that certain Restructuring Support
Agreement, dated as of August 4, 2020, by and among Debtor Fieldwood Energy LLC, certain of
its affiliates specified therein, the Consenting Creditors, and Apache, as the same may be
amended, restated, or otherwise modified in accordance with its terms.

                Restructuring Transactions means one or more transactions pursuant to
section 1123(a)(5) of the Bankruptcy Code to occur on the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan and the Credit
Bid Transaction, including (a) the consummation of the transactions provided for under or
contemplated by the Plan and any mergers, divisive mergers, amalgamations, consolidations,
arrangements, continuances, transfers, conversions, sales, dispositions, or other corporate
transactions necessary or appropriate to implement the Plan, (b) the execution and delivery of
appropriate agreements or other documents containing terms that are consistent with or
reasonably necessary to implement the terms of the Plan or the Credit Bid Transaction and that
satisfy the requirements of applicable law, (c) the Equity Rights Offerings, (d) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any
property, right, liability, duty, or obligation on terms consistent with the terms of the Plan, and
(d) all other actions that the Debtors, the Post-Effective Date Debtors or NewCo (or any of its
subsidiaries, including the Credit Bid Purchaser), as applicable, determine are necessary or
appropriate and consistent with the Plan or the Credit Bid Transaction. For the avoidance of
doubt, Restructuring Transactions includes the Credit Bid Transaction and the Divisive Merger
effectuated pursuant to the Plan of Merger.

               Schedule of Abandoned Properties means a schedule (as may be amended,
modified, or supplemented from time to time) of the Debtors’ rights to and interests in executory


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contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements to be
abandoned pursuant to Section 5.14 of this Plan, a copy of which shall be filed with the
Disclosure Statement and included in the Plan Supplement.

              Schedule of Assumed Contracts means the schedule of executory contracts and
unexpired leases to be assumed by the Debtors pursuant to this Plan, if any, as the same may be
amended, modified, or supplemented from time to time.

                Schedule of FWE I Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE I Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

                Schedule of FWE III Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE III Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

                Schedule of Purchased Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that will be acquired by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement, a copy of which shall be filed with the Disclosure Statement and included in the Plan
Supplement.

               Schedules means any schedules of assets and liabilities, schedules of executory
contracts and unexpired leases, and statements of financial affairs filed by the Debtors pursuant
to section 521 of the Bankruptcy Code.

                Second Lien Backstop Commitment Letter means that certain backstop
commitment letter, in form and substance (i) acceptable to the Debtors, the Required DIP
Lenders, and Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO
Administrative Agent and the First Lien Exit Facility Agent, to be entered into by and among
Fieldwood Energy LLC, the Credit Bid Purchaser and the Backstop Parties, as may be amended,
supplemented, or modified from time to time, pursuant to the terms thereof and consistent with
the Restructuring Support Agreement, pursuant to which the Backstop Parties agreed to, among
other things, backstop the Second Lien Exit Facility in accordance with the terms and conditions
set forth therein.

              Second Lien Backstop Commitment Premium means a premium equal to 8% of
the maximum principal amount of the Second Lien Exit Facility (i.e. $185,000,000) payable to
the Backstop Parties with the Second Lien Backstop Commitment Premium Equity Interests in
accordance with the terms set forth in the Second Lien Backstop Commitment Letter.

                Second Lien Backstop Commitment Premium Equity Interests means an amount
of New Equity Interests equal to the value of the Second Lien Backstop Commitment Premium
as further set forth in the Second Lien Backstop Commitment Letter; provided that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

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            Second Lien Backstop Party has the meaning set forth in the Second Lien
Backstop Commitment Letter.

             Second Lien Exit Facility means the facility under the Second Lien Exit Facility
Credit Agreement.

             Second Lien Exit Facility Agent means the administrative agent under the
Second Lien Exit Facility Credit Agreement.

                Second Lien Exit Facility Credit Agreement means that certain credit agreement
to be entered by the Credit Bid Purchaser, the Second Lien Exit Facility Agent and the Second
Lien Exit Facility Lenders on the Effective Date that shall govern the Second Lien Exit Facility,
which shall reflect and contain terms, conditions, representations, warranties, and covenants
consistent with the Second Lien Exit Facility Term Sheet and otherwise be in form and substance
(i) acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders and (ii)
reasonably acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit
Facility Agent.

               Second Lien Exit Facility Documents means, collectively, the Second Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be (i) acceptable to the Debtors, the Required DIP Lenders, and
Requisite FLTL Lenders and (ii) reasonably acceptable to the Prepetition FLFO Administrative
Agent and the First Lien Exit Facility Agent.

               Second Lien Exit Facility Lenders means the lenders party to the Second Lien
Exit Facility Credit Agreement.

               Second Lien Exit Facility Term Sheet means the term sheet filed with the
Disclosure Statement, as may be amended from time to time with (i) the consent of the Required
DIP Lenders and Requisite FLTL Lenders and (ii) the reasonable consent of the Prepetition
FLFO Administrative Agent and First Lien Exit Facility Agent.

                Secured means, when referring to a Claim: (a) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property as (i) set
forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors, or (iii) determined
by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (b) secured by the
amount of any right of setoff of the holder thereof in accordance with section 553 of the
Bankruptcy Code.

             Security means any “security” as such term is defined in section 101(49) of the
Bankruptcy Code.

              SLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition SLTL Credit Agreement.



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               SLTL Claims Allowed Amount means $517,500,000.00 in principal, plus any
accrued but unpaid interest or fees due under the Prepetition SLTL Credit Agreement as of the
Petition Date.

               SLTL Deficiency Claim means any SLTL Claim or portion thereof that is not
Secured, if any.

                SLTL Equity Rights Offering means that certain rights offering pursuant to
which each holder of Allowed SLTL Claims is entitled to receive SLTL Subscription Rights to
acquire New Equity Interests in the aggregate amount of the SLTL Equity Rights Offering
Amount in accordance with the SLTL Equity Rights Offering Procedures, the terms and
conditions of which shall be reasonably acceptable to the Debtors, Required DIP Lenders,
Requisite FLTL Lenders, Requisite SLTL Lenders, the Prepetition FLFO Administrative Agent,
and the First Lien Exit Facility Agent.

              SLTL Equity Rights Offering Amount means $20,000,000.

             SLTL Equity Rights Offering Procedures means the procedures for the
implementation of the SLTL Equity Rights Offering to be approved by the Bankruptcy Court.

               SLTL ERO Backstop Agreement means that certain [Equity Backstop
Commitment Agreement], in form and substance reasonably acceptable to the Debtors, the
Required DIP Lenders, the Requisite FLTL Lenders, the Requisite SLTL Lenders, the
Prepetition FLFO Administrative Agent, and the First Lien Exit Facility Agent, to be entered into
by and among Fieldwood Energy LLC, NewCo, and the SLTL ERO Backstop Parties, as may be
amended, supplemented, or modified from time to time, pursuant to which the SLTL ERO
Backstop Parties agreed to, among other things, backstop the SLTL Equity Rights Offering with
the terms and conditions set forth therein[; provided that, the form of the [Equity Backstop
Commitment Agreement] attached hereto as Exhibit [] shall be deemed acceptable to the
Debtors, the Required DIP Lenders, Requisite FLTL Lenders and Requisite SLTL Lenders [and
reasonably acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit
Facility Agent].]

           [SLTL ERO Backstop Commitment Percentage has the meaning set forth in the
SLTL ERO Backstop Agreement.]

               [SLTL ERO Backstop Commitment Premium means a premium equal to 8% of
the SLTL Equity Rights Offering Amount payable to the SLTL ERO Backstop Parties with the
SLTL ERO Backstop Commitment Premium Equity Interests in accordance with the terms set
forth in the SLTL ERO Backstop Agreement.]

                 [SLTL ERO Backstop Commitment Premium Equity Interests means an amount
of New Equity Interests equal to the value of the SLTL ERO Backstop Commitment Premium as
further set forth in the SLTL ERO Backstop Agreement; provided that such New Equity Interests
shall be issued at a 30% discount to the equity value of NewCo on the Effective Date.




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               SLTL ERO Backstop Parties means those parties that agree to backstop the
SLTL Equity Rights Offering pursuant to the SLTL ERO Backstop Agreement, each in its
respective capacity as such.

               SLTL Subscription Rights means the subscription right to acquire New Equity
Interests with an aggregate value equal to the SLTL Rights Offering Amount offered in
accordance with the SLTL Equity Rights Offering Procedures; provided, however, that such New
Equity Interests shall be issued at a 30% discount to the equity value of NewCo on the Effective
Date.

              SLTL Tranche 1 Warrant Agreement means a warrant agreement to be entered
into by and among NewCo and the warrant agent named therein that shall govern the terms of
the SLTL Tranche 1 Warrants, the form of which shall be acceptable to the Debtors, Required
DIP Lenders, Requisite FLTL Lenders, the Creditors’ Committee, and the Requisite SLTL
Lenders.

                 SLTL Tranche 1 Warrants means 8-year warrants for 25% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of
the Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New
Equity Interests issuable upon the exercise of the New Money Warrants and GUC Warrants, but
excluding the effect of any New Equity Interests issuable upon exercise of the SLTL Tranche 2
Warrants and any New Equity Interests issuable in connection with the Management Incentive
Plan), with a strike price set at an equity value equal to $1,321,000,000, the terms of which shall
be set forth in the SLTL Tranche 1 Warrant Agreement.

              SLTL Tranche 2 Warrant Agreement means a warrant agreement to be entered
into by and among NewCo and the warrant agent named therein that shall govern the terms of
the SLTL Tranche 2 Warrants, the form of which shall be acceptable to the Debtors, Required
DIP Lenders, Requisite FLTL Lenders, the Creditors’ Committee, and the Requisite SLTL
Lenders.

                SLTL Tranche 2 Warrants means 8-year warrants for 32.50% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4(a)(i) of this Plan, the New Equity Interests issuable upon the exercise of
the Subscription Rights, the Backstop Commitment Premium Equity Interests, and the New
Equity Interests issuable upon the exercise of the New Money Warrants, the SLTL Tranche 1
Warrants, and the GUC Warrants (excluding any adjustment or true-up of the GUC Warrants as
described in the definition thereof), but excluding the effect of any New Equity Interests issuable
in connection with the Management Incentive Plan), with a strike price set at an equity value
equal to $1,585,200,000, the terms of which shall be set forth in the SLTL Tranche 2 Warrant
Agreement.

             [SLTL Unsubscribed Shares has the meaning set forth in the SLTL ERO
Backstop Agreement].




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             SLTL Warrants means, collectively, the SLTL Tranche 1 Warrants and the SLTL
Tranche 2 Warrants.

               Specified Administrative Expense Claims means Administrative Expense Claims
other than (a) Administrative Expense Claims that are to be assumed by the Credit Bid Purchaser
pursuant to the Credit Bid Purchase Agreement; (b) Cure Amounts; and (c) Fee Claims,
Restructuring Expenses, any fees and expenses payable pursuant to sections 2.3 and 2.4 of this
Plan, any fees and expenses payable or reimbursable by the Debtors or Post-Effective Date
Debtors pursuant to the Second Lien Backstop Commitment Letter, Credit Bid Purchase
Agreement, or First Lien Exit Facility Commitment Letter (including termination fees, if any),
Apache Fees and Expenses and Apache Implementation Costs, and Statutory Fees.

             Standby Loan Agreement has the meaning set forth in the Apache
Implementation Agreement.

             Standby Credit Facility Documents has the meaning set forth in the Apache
Implementation Agreement.

               Statutory Fees means all fees and charges assessed against the Estates pursuant to
sections 1911 through 1930 of chapter 123 of title 28 of the United States Code.

              Subordinated Securities Claim means a Claim that is subject to subordination in
accordance with sections 510(b) of the Bankruptcy Code or otherwise.

              Subscription Rights means, collectively, the FLTL Subscription Rights and SLTL
Subscription Rights.

               Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

              Toggle Amount means $35,000,000 or such higher amount as may be mutually
agreed between the Debtors, the Required DIP Lenders, and the Requisite FLTL Lenders.

               Toggle Date has the meaning set forth in Section 5.2(c).

               Toggle Motion has the meaning set forth in Section 5.2(c)(i).

                Trade Agreement means a trade agreement entered into or to be entered into
between the Debtors, [a NewCo Entity], and a Trade Creditor that will be provided by the
Debtors to each Trade Creditor and that provides for, among other things, waiver of any and all
liens against the Debtors, their assets and any co-owned assets, or any other affiliated person or
entity (including any co-working interest owner of the Debtors), or any such person’s or entity’s
respective assets or property (real or personal), regardless of the statute or other legal authority
upon which the lien is asserted, held or asserted by the Trade Creditor relating to the Unsecured
Trade Claim, and an agreement by such Trade Creditor to continue to provide post-Effective
Date trade terms that are no less favorable than the terms provided to the Debtors prior to the
Petition Date



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              Trade Creditor means a third-party provider of goods or services to the Debtors
that holds an Unsecured Trade Claim against the Debtors arising from the provision of such
goods and services.

               Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of sections 1123(a)(4) and 1124(2) of the
Bankruptcy Code.

               Unsecured Trade Claim means any unsecured claim (or secured claim that
becomes unsecured by agreement, settlement, or order of the Bankruptcy Court) of a Trade
Creditor that is held by a Trade Creditor that has elected such claim to be treated as an
Unsecured Trade Claim under this Plan and enters into or agrees to enter into a Trade
Agreement; provided, however, that in no event shall any claim against the Debtors that arises in
connection with a joint interest billing arrangement constitute an Unsecured Trade Claim.

               U.S. Trustee means the United States Trustee for Region 7.

               Voting Deadline means April 26, 2021 at 4:00 p.m. (Prevailing Central Time), or
such date and time as may set by the Bankruptcy Court.

               1.2     Interpretation; Application of Definitions; Rules of Construction.

                Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in or exhibit to the Plan, as the same may be amended, waived, or modified
from time to time in accordance with the terms hereof. The words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the Plan as a whole and not to any
particular section, subsection, or clause contained therein and have the same meaning as “in the
Plan,” “of the Plan,” “to the Plan,” and “under the Plan,” respectively. The words “includes” and
“including” are not limiting. The headings in the Plan are for convenience of reference only and
shall not limit or otherwise affect the provisions hereof. For purposes herein: (a) in the
appropriate context, each term, whether stated in the singular or plural, shall include both the
singular and plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract,
lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially
in that form or substantially on those terms and conditions; (c) the rules of construction set forth
in section 102 of the Bankruptcy Code shall apply; and (d) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
Rules, as the case may be.

               1.3     Reference to Monetary Figures.

               All references in the Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.




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               1.4     Controlling Document.

                In the event of an inconsistency between the Plan and the Plan Supplement, the
terms of the relevant document in the Plan Supplement shall control unless otherwise specified in
such Plan Supplement document. In the event of an inconsistency between the Plan and the First
Lien Exit Facility Commitment Letter, the First Lien Exit Facility Commitment Letter shall
control. In the event of an inconsistency between the Plan and the Second Lien Backstop
Commitment Letter, the Second Lien Backstop Commitment Letter shall control. The provisions
of the Plan, the First Lien Exit Facility Commitment Letter, the Second Lien Backstop
Commitment Letter, and of the Confirmation Order shall be construed in a manner consistent
with each other so as to effectuate the purposes of each; provided, that if there is determined to
be any inconsistency between (a) any provision of the Plan, the First Lien Exit Facility
Commitment Letter, and any provision of the Confirmation Order that cannot be so reconciled,
or (b) any provision of the Plan, the Second Lien Backstop Commitment Letter, and any
provision of the Confirmation Order that cannot be so reconciled, then, solely to the extent of
such inconsistency, the provisions of the Confirmation Order shall govern.

               1.5     Certain Consent Rights

               Notwithstanding anything herein to the contrary, and without limiting the
Debtors’ fiduciary duties, any and all consent rights of any party set forth in the Restructuring
Support Agreement with respect to the form and substance of this Plan, the Plan Supplement,
any supplement to the Disclosure Statement, any other Definitive Documents and any
agreements or documents referenced in this Plan or the Plan Supplement, including any
amendments, restatements, supplements, or other modifications to such documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated
herein by this reference and fully enforceable as if stated in full herein until such time as the
Restructuring Support Agreement is terminated in accordance with its terms.



ARTICLE II.            ADMINISTRATIVE EXPENSE CLAIMS, FEE CLAIMS, DIP
                       CLAIMS, AND PRIORITY TAX CLAIMS.

               2.1     Treatment of Administrative Expense Claims.

               On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
each Administrative Expense Claim becomes an Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim (other than a Fee Claim) shall receive in
full and final satisfaction of such Claim, either (x) Cash in an amount equal to the Allowed
amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (y) such other treatment as to which the Debtors, the Post-
Effective Date Debtors, or NewCo and its subsidiaries (including the Credit Bid Purchaser), as
applicable, and the holder of such Allowed Administrative Expense Claim will have agreed upon
in writing; provided, that Allowed Administrative Expense Claims representing liabilities
incurred in the ordinary course of business by the Debtors, as Debtors in Possession, shall be
paid by the Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of

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business, consistent with past practice and in accordance with the terms and subject to the
conditions of any orders or agreements governing, instruments evidencing, or other documents
establishing, such liabilities; provided, further, that any Allowed Administrative Expense Claim
assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be
solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall have
no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets and
properties.

               2.2    Treatment of Fee Claims.

              (a)     Final Fee Applications. All final requests for the allowance and payment
of Fee Claims shall be filed no later than 45 days after the Effective Date unless such date is
extended by order of the Bankruptcy Court.

               (b)     Professional Fee Escrow Amount. All Professional Persons shall estimate
in good faith their unpaid Fee Claims before and as of the Effective Date and shall deliver such
estimate to the Debtors at least three (3) calendar days before the Effective Date; provided,
however, that such estimate shall not limit or be deemed to limit the amount of the fees and
expenses that are the subject of the Professional Person’s final request for payment of Fee
Claims. If a Professional Person does not provide such estimate, the Debtors and Post-Effective
Date Debtors may estimate the unbilled fees and expenses of such Professional Person; provided,
however, that such estimate shall not be considered an admission or limitation with respect to the
fees and expenses incurred by, or payable to, such Professional Person. The total amount so
estimated as of the Effective Date shall comprise the Professional Fee Escrow Amount.

               (c)     Professional Fee Escrow. If the Professional Fee Escrow Amount is
greater than zero, then as soon as reasonably practicable after the Confirmation Date and no later
than the Effective Date, the Debtors will establish and fund the Professional Fee Escrow with
cash equal to the Professional Fee Escrow Amount and no Liens, Claims, or interests will
encumber the Professional Fee Escrow in any way. The Professional Fee Escrow (including
funds held in the Professional Fee Escrow) will (i) not be and will not be deemed to be property
of the Debtors or the Post-Effective Date Debtors and (ii) will be held in trust for the
Professional Persons; provided, however, that funds remaining in the Professional Fee Escrow
after all Allowed Fee Claims have been irrevocably paid in full will revert to the Post-Effective
Date Debtors. Allowed Fee Claims will be paid in cash to such Professional Persons from funds
held in the Professional Fee Escrow as soon as reasonably practicable after such Claims are
Allowed by an order of the Bankruptcy Court; provided, however, that the Debtors’ obligations
with respect to Fee Claims will not be limited nor deemed to be limited in any way to the balance
of funds held in the Professional Fee Escrow.

               If the amount of funds in the Professional Fee Escrow is insufficient to fund
payment in full of all Allowed Fee Claims and any other Allowed amounts owed to Professional
Persons, the deficiency will be promptly funded to the Professional Fee Escrow from the
Debtors’ estates and/or by Post-Effective Date Debtors without any further action or order of the
Bankruptcy Court.




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                (d)    Post-Effective Date Fees and Expenses. On and after the Effective Date,
the Debtors and the Post-Effective Date Debtors, as applicable, will pay in cash in the ordinary
course of business and without any further action or order of the Bankruptcy Court, the
reasonable legal, professional, or other fees and expenses that are (i) related to implementation of
the Plan and (ii) incurred by the Debtors or Post-Effective Date Debtors, as applicable, on and
after the Effective Date.

               On the Effective Date, any requirement that Professional Persons comply with
sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation
for services provided after such date shall terminate, and the Debtors or Post-Effective Date
Debtors may employ and pay any post-Effective Date fees and expenses of any Professional
Person without any further notice to or action, order, or approval of the Bankruptcy Court.

               2.3     Treatment of DIP Claims.

              As of the Effective Date, the DIP Claims shall be Allowed in the full amount
outstanding under the DIP Credit Agreement, including principal, interest, fees, costs, other
charges, and expenses provided for thereunder. In full and final satisfaction, settlement, release,
and discharge of each Allowed DIP Claim, on the Effective Date, each holder of such Allowed
DIP Claim shall receive either (a) payment in full in Cash or (b) such other treatment as to which
the Debtors or the Post-Effective Date Debtors, as applicable, and the holder of such Allowed
DIP Claims will have agreed upon in writing. On the Effective Date, all Liens granted to secure
the Allowed DIP Claims shall be terminated and of no further force and effect.

               2.4     Payment of Fees and Expenses Under DIP Order.

                On the later of (a) the Effective Date and (b) the date on which such fees,
expenses, or disbursements would be required to be paid under the terms of the DIP Order, the
Debtors or the Post-Effective Date Debtors (as applicable) shall pay all fees, expenses, and
disbursements of the DIP Agent and DIP Lenders, in each case that have accrued and are unpaid
as of the Effective Date and are required to be paid under or pursuant to the DIP Order. After the
Effective Date, the Post-Effective Date Debtors shall continue to reimburse the DIP Agent and
the DIP Lenders for the reasonable fees and expenses (including reasonable and documented
legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the Effective Date
in accordance with the terms of the DIP Documents. The Post-Effective Date Debtors shall pay
all of the amounts that may become payable to the DIP Agent or any of the DIP Lenders in
accordance with the terms of the DIP Documents and the DIP Order.

               2.5     Treatment of Priority Tax Claims.

                On the Effective Date or as soon thereafter as is reasonably practicable (but in no
event later than 30 days after the Effective Date), each holder of an Allowed Priority Tax Claim
shall receive in full and final satisfaction of such Claim, either (a) Cash in an amount equal to the
Allowed amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (b) or such other treatment as to which the Debtors, the
Post-Effective Date Debtors or NewCo and its subsidiaries (including the Credit Bid Purchaser)
as applicable, and the holder of such Allowed Priority Tax Claim will have agreed upon in


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writing; provided, that Allowed Priority Tax Claims representing liabilities incurred in the
ordinary course of business by the Debtors, as Debtors in Possession, shall be paid by the
Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of
any orders or agreements governing, instruments evidencing, or other documents establishing,
such liabilities; provided, further, that any Allowed Priority Tax Claim assumed by the Credit
Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties.

               2.6     Restructuring Expenses.

               On the Effective Date, or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, as applicable, shall pay in full in Cash (to the extent not
previously paid during the course of the Chapter 11 Cases) all outstanding Restructuring
Expenses billed through the Effective Date, in accordance with the terms of the applicable
orders, engagement letters, or other applicable contractual arrangements. All parties entitled to
payment pursuant to this Section 2.6 shall estimate their accrued Restructuring Expenses before
and as of the Effective Date and shall deliver such estimates to the Debtors at least three
Business Days before the Effective Date; provided, that such estimate shall not be considered an
admission or limitation with respect to the fees and expenses of such parties. On the Effective
Date, final invoices for all Restructuring Expenses incurred before and as of the Effective Date
shall be submitted to the Debtors. In addition, the Debtors and the Post-Effective Date Debtors
(as applicable) shall continue to pay post-Effective Date, when due and payable in the ordinary
course, Restructuring Expenses related to implementation, consummation and defense of the
Plan.

               2.7     Postpetition Hedge Claims.

                On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day on which the Allowed Postpetition Hedge Claim becomes
due and owing in accordance with the terms of and subject to the conditions of any orders or
agreements governing, instruments evidencing, or other documents establishing, such liabilities,
each holder of an Allowed Postpetition Hedge Claim shall receive in full and final satisfaction of
such Claim, either (x) Cash in an amount equal to the Allowed amount of such Claim or such
other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code or
(y) such other treatment as to which the Debtors, the Post-Effective Date Debtors, or NewCo and
its subsidiaries (including the Credit Bid Purchaser), as applicable, and the holder of such
Allowed Postpetition Hedge Claim will have agreed upon in writing; provided, that any Allowed
Postpetition Hedge Claim assumed by the Credit Bid Purchaser in accordance with the foregoing
clause (y) pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties. Nothing herein
shall modify any of the contractual rights under a Postpetition Hedging Agreement of a holder of
an Allowed Postpetition Hedge Claim in their capacity as a holder of an Allowed Postpetition
Hedge Claim.



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ARTICLE III.           CLASSIFICATION OF CLAIMS AND INTERESTS.

               3.1     Classification in General.

                A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class
for the purpose of receiving distributions pursuant to the Plan only to the extent that such Claim
or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or Interest has
not been satisfied, released, or otherwise settled before the Effective Date.

               3.2     Formation of Debtor Groups for Convenience Only.

                The Plan groups the Debtors together solely for the purpose of describing
treatment under the Plan, confirmation of the Plan, and making Plan Distributions in respect of
Claims against and Interests in the Debtors under the Plan. Such groupings shall not affect any
Debtor’s status as a separate legal entity, change the organizational structure of the Debtors’
business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
of consolidation of any legal entities, or cause the transfer of any Assets; and, except as
otherwise provided by or permitted under the Plan, all Debtors shall continue to exist as separate
legal entities.

               3.3     Summary of Classification of Claims and Interests.

                 The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are: (a) Impaired and Unimpaired under the Plan;
(b) entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code; and (c) presumed to accept or deemed to reject the Plan. In accordance with section
1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
have not been classified. The classification of Claims and Interests set forth herein shall apply
separately to each Debtor.

   Class             Type of Claim or Interest          Impairment           Entitled to Vote
Class 1      Other Secured Claims                     Impaired          Yes
Class 2      Priority Non-Tax Claims                  Unimpaired        No (Presumed to accept)
Class 3      FLFO Claims                              Impaired          Yes
Class 4      FLTL Claims                              Impaired          Yes
Class 5      SLTL Claims                              Impaired          Yes
Class 6A     Unsecured Trade Claims                   Impaired          Yes
Class 6B     General Unsecured Claims                 Impaired          Yes
Class 7      Intercompany Claims                      Unimpaired        No (Presumed to accept)
Class 8      Subordinated Securities Claims           Impaired          No (Deemed to reject)
Class 9      Intercompany Interests                   Unimpaired        No (Presumed to accept)
Class 10     Existing Equity Interests                Impaired          No (Deemed to reject)




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               3.4     Special Provision Governing Unimpaired Claims.

              Except as otherwise provided in this Plan, nothing under this Plan shall affect the
rights of the Debtors or the Post-Effective Date Debtors, as applicable, in respect of any
Unimpaired Claims, including all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

               3.5     Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature within the Plan, each Other Secured Claim, to the extent secured by a Lien on
Collateral different from the Collateral securing a different Other Secured Claim, shall be treated
as being in a separate sub-Class for the purposes of voting to accept or reject the Plan and
receiving Plan Distributions.

               3.6     Elimination of Vacant Classes.

               Any Class that, as of the commencement of the Confirmation Hearing, does not
have at least one holder of a Claim or Interest that is Allowed in an amount greater than zero for
voting purposes that votes on the Plan shall be considered vacant, deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
such Class.

               3.7     Voting Classes; Presumed Acceptance by Non-Voting Classes.

               With respect to each Debtor, if a Class contained Claims eligible to vote and no
holder of Claims eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be
presumed accepted by the holders of such Claims in such Class.

               3.8     Voting; Presumptions; Solicitation.

                (a)    Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 1, 3, 4, 5, 6A, and 6B are entitled to vote to accept or reject the Plan. An
Impaired Class of Claims shall have accepted the Plan if (i) the holders of at least two-thirds
(2/3) in amount of the Allowed Claims actually voting in such Class have voted to accept the
Plan and (ii) the holders of more than one-half (1/2) in number of the Allowed Claims actually
voting in such Class have voted to accept the Plan.

                (b)     Presumed Acceptance by Unimpaired Classes. Holders of Claims and
Interests in Classes 2, 7 and 9 are conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to
accept or reject the Plan.

             (c)     Deemed Rejection by Certain Impaired Classes. Holders of Claims in
Class 8 and Class 10 are deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or reject the Plan.



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               3.9     Cramdown.

               If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does
not vote to accept the Plan, the Debtors may (a) seek confirmation of the Plan under section
1129(b) of the Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms
hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims or Interests,
or any class of Claims or Interests, are impaired, the Bankruptcy Court shall, after notice and a
hearing, determine such controversy on or before the Confirmation Date.

               3.10    No Waiver.

                Nothing contained in the Plan shall be construed to waive a Debtor’s or other
Person’s right to object on any basis to any Disputed Claim.



ARTICLE IV.            TREATMENT OF CLAIMS AND INTERESTS.

               4.1     Class 1: Other Secured Claims.

                 (a)    Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Other Secured Claim, at the option of the Debtors or the Post-Effective Date Debtors, such
holder shall receive either (i) payment in full in Cash, payable on the later of the Effective Date
and the date that is ten (10) Business Days after the date on which such Other Secured Claim
becomes an Allowed Other Secured Claim, in each case, or as soon as reasonably practicable
thereafter, (ii) such other treatment so as to render such holder’s Allowed Other Secured Claim
Unimpaired, or (iii) any other treatment consistent with the provisions of section 1129 of the
Bankruptcy Code, including by providing such holder with the “indubitable equivalent” of their
Allowed Other Secured Claim (which, for the avoidance of doubt, may be in the form of a multi-
year promissory note or other financial instrument); provided, that any Allowed Other Secured
Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall
be solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall
have no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets
and properties.

              (b)   Impairment and Voting: Allowed Other Secured Claims are Impaired.
Holders of Allowed Other Secured Claims are entitled to vote on the Plan.

               4.2     Class 2: Priority Non-Tax Claims.

               (a)    Treatment: Except to the extent that a holder of an Allowed Priority
Non-Tax Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Priority Non-Tax Claim, each holder of an Allowed Priority Non-Tax Claim shall, at the option
of the Debtors or the Post-Effective Date Debtors (i) be paid in full in Cash or (ii) otherwise
receive treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code,
payable on the later of the Effective Date and the date that is ten (10) Business Days after the
date on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, in


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each case, or as soon as reasonably practicable thereafter; provided, that any Allowed Priority
Non-Tax Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement shall be solely an obligation of the Credit Bid Purchaser and the holder of such
assumed Claim shall have no recourse to or Claim against the Debtors or Post-Effective Date
Debtors or their assets and properties.

               (b)     Impairment and Voting: Allowed Priority Non-Tax Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Priority Non-Tax Claims are conclusively presumed to accept the Plan and are not entitled to
vote to accept or reject the Plan, and the votes of such holders shall not be solicited with respect
to such Allowed Priority Non-Tax Claims.

               4.3      Class 3: FLFO Claims.

                (a)     Treatment: Except to the extent that a holder of an Allowed FLFO Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of such
Allowed FLFO Claim, (a) each holder of an Allowed FLFO Claim shall receive its Pro Rata
Share of the FLFO Distribution Amount and (b) all remaining Allowed FLFO Claims shall be
assumed by the NewCo Entities as modified to the extent set forth in the First Lien Exit Facility
Documents. The Liens securing the FLFO Claims that attach to the Credit Bid Acquired
Interests shall be retained and deemed assigned to the First Lien Exit Facility Agent upon the
Effective Date to secure the obligations under the First Lien Exit Facility.

            (b)   Impairment and Voting: FLFO Claims are Impaired.                      Holders of
Allowed FLFO Claims are entitled to vote on the Plan.

              (c)    Allowance: The FLFO Claims shall be deemed Allowed on the Effective
Date in the FLFO Claims Allowed Amount.

               4.4      Class 4: FLTL Claims.

                (a)   Treatment: Except to the extent that a holder of an Allowed FLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed FLTL Claim and in consideration for the Credit Bid Transaction,
each holder of an Allowed FLTL Claim shall receive its Pro Rata Share of:

                     (i)      100% of the New Equity Interests, subject to dilution by (w) the
                              Backstop Commitment Equity Premium Interests, (x) the New
                              Equity Interests issued upon exercise of the Subscription Rights,
                              (y) any New Equity Interests issued upon the exercise of the New
                              Money Warrants, SLTL Warrants, or the GUC Warrants, and (z)
                              any New Equity Interests issued pursuant to the Management
                              Incentive Plan; and

                     (ii)     the FLTL Subscription Rights.

            (b)    Impairment and Voting: FLTL Claims are Impaired.                     Holders of
Allowed FLTL Claims are entitled to vote on the Plan.


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               (c)     Allowance: The FLTL Claims shall be deemed Allowed on the Effective
Date in the aggregate amount of the FLTL Claims Allowed Amount.

               4.5       Class 5: SLTL Claims.

                (d)    Treatment: Except to the extent that a holder of an Allowed SLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed SLTL Claim, each holder of an Allowed SLTL Claim shall receive
its Pro Rata Share of:

                     (iii)     the SLTL Warrants; and

                     (iv)      the SLTL Subscription Rights.

            (e)    Impairment and Voting: SLTL Claims are Impaired.                    Holders of
Allowed SLTL Claims are entitled to vote on the Plan.

               (f)     Allowance: The SLTL Claims shall be deemed Allowed on the Effective
Date in the aggregate amount of the SLTL Claims Allowed Amount.

               4.6       Class 6A: Unsecured Trade Claims.

               (a)    Treatment: Except to the extent that a holder of an Allowed Unsecured
 Trade Claim agrees to less favorable treatment, on the Effective Date, in full and final
 satisfaction of and in exchange for such Allowed Unsecured Trade Claim, each holder of an
 Allowed Unsecured Trade Claim that has executed a Trade Agreement shall receive:

                      (i)      if 14% of the aggregate amount of all Allowed Unsecured Trade
                               Claims is less than or equal to $8,000,000, Cash in an amount
                               equal to 14% of the Allowed amount of such holder’s Allowed
                               Unsecured Trade Claim; or

                     (ii)      if 14% of the aggregate amount of Allowed Unsecured Trade
                               Claims is greater than $8,000,000, its Pro Rata share of
                               $8,000,000.

             (b)    Impairment and Voting: Unsecured Trade Claims are Impaired. Holders
 of Unsecured Trade Claims are entitled to vote on the Plan.

               4.7       Class 6B: General Unsecured Claims.

               (c)     Treatment: Except to the extent that a holder of an Allowed General
 Unsecured Claim agrees to less favorable treatment, on or after the Effective Date, in full and
 final satisfaction of and in exchange for such Allowed General Unsecured Claim, each holder
 of an Allowed General Unsecured Claim shall receive, up to the full amount of such holder’s
 Allowed General Unsecured Claim, its Pro Rata Share of:

                      (i)      the GUC Warrants; and


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                      (ii)      any Residual Distributable Value.

              (b) Impairment and Voting: General Unsecured Claims are Impaired.
Holders of General Unsecured Claims are entitled to vote on the Plan.

               4.8       Class 7: Intercompany Claims.

                (a)    Treatment: On or after the Effective Date, all Intercompany Claims shall
be adjusted, reinstated, or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

               (b)      Impairment and Voting: All Allowed Intercompany Claims are deemed
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Intercompany Claims are conclusively presumed to accept the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to such
Allowed Intercompany Claims.

               4.9       Class 8: Subordinated Securities Claims.

               (a)     Treatment: All Subordinated Securities Claims, if any, shall be
discharged, cancelled, released, and extinguished as of the Effective Date, and will be of no
further force or effect, and holders of Allowed Subordinated Securities Claims will not receive
any distribution on account of such Allowed Subordinated Securities Claims.

               (b)    Impairment and Voting: Allowed Subordinated Securities Claims are
Impaired. In accordance with section 1126(g) of the Bankruptcy Code, holders of Subordinated
Securities Claims are conclusively presumed to reject the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to
Subordinated Securities Claims.

               4.10      Class 9: Intercompany Interests.

               (a)    Treatment: On the Effective Date, all Intercompany Interests, in the
Debtors’ or the Post-Effective Date Debtors’ discretion, shall be adjusted, reinstated, cancelled,
or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

                (b)    Impairment and Voting: Intercompany Interests are Unimpaired. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed Intercompany
Interests are conclusively presumed to accept the Plan and are not entitled to vote to accept or
reject the Plan, and the votes of such holders shall not be solicited with respect to such Allowed
Intercompany Interests.

               4.11      Class 10: Existing Equity Interests.

               (a)     Treatment: On the Effective Date, all Existing Equity Interests shall be
canceled, released, and extinguished, and will be of no further force or effect.

             (b)     Impairment and Voting:            Allowed Existing Equity Interests are
Impaired. Holders of Existing Equity Interests are not entitled to vote on the Plan.


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                 4.12   Treatment of Vacant Classes.

                Any Claim or Interest in a Class that is considered vacant under Section 3.6 of the
Plan shall receive no Plan Distribution.



ARTICLE V.              MEANS FOR IMPLEMENTATION.

                 5.1    Plan Settlement; Compromise and Settlement of Claims, Interests, and
Controversies.

                Subject to approval by the Bankruptcy Court in connection with confirmation of
the Plan, the provisions of the Plan and other documents entered into in connection with the Plan
constitute a good faith compromise and settlement among the Debtors, the Consenting Creditors
and the Creditors’ Committee of claims, Causes of Action and controversies among such parties,
including all potential claims, Causes of Action and controversies related to the Challenge Period
(as defined in the DIP Order) and any Challenge under the DIP Order, and are in consideration of
the value provided to the Estates by the Consenting Creditors, including the value being provided
to holders of Unsecured Trade Claims and General Unsecured Claims pursuant to Sections 4.6
and 4.7 hereof. The Plan shall be deemed a motion to approve the Plan Settlement and the good
faith compromise and settlement of all of the claims, Causes of Action and controversies
described in the foregoing sentence pursuant to sections 363 and 1123(b)(3) of the Bankruptcy
Code and Bankruptcy Rule 9019. Entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the Plan Settlement, as well as a finding by the Bankruptcy
Court that the Plan Settlement is fair, equitable, reasonable, and in the best interests of the
Debtors and their Estates. For the avoidance of doubt, nothing in this Plan or the Disclosure
Statement shall require the Creditors’ Committee to take or refrain from taking any action that it
determines in good faith would be inconsistent with its fiduciary duties under applicable law.
Notwithstanding the foregoing, the Creditors’ Committee acknowledges that its entry into the
Plan Settlement and its support for this Plan is consistent with its fiduciary duties.

                Further, pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and
Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided
pursuant to the Plan, the provisions of the Plan shall constitute a good faith compromise of
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights
that a creditor or an Interest holder may have with respect to any Allowed Claim or Allowed
Interest or any distribution to be made on account of such Allowed Claim or Allowed Interest.
Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
compromise or settlement of all such Allowed Claims, Allowed Interests, and controversies, as
well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
interests of the Debtors, their Estates, and holders of such Allowed Claims and Allowed
Interests, and is fair, equitable, and reasonable.

                 5.2    Credit Bid Transaction; Confirmation Outside Date.

              (a)     If the Confirmation Date occurs on or before the Confirmation Outside
Date or the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders do not otherwise


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elect to pursue a 363 Credit Bid Transaction pursuant to Section 5.2(c) of the Plan, then, on the
Effective Date, pursuant to sections 363, 1123, 1141(b) and 1141(c) of the Bankruptcy Code, in
accordance with the Credit Bid Purchase Agreement, subject to the satisfaction or waiver of all
applicable closing conditions under the Credit Bid Purchase Agreement, (i) all Credit Bid
Acquired Interests shall be transferred to, and the Credit Bid Acquired Interests owned by the
Debtors shall vest free and clear of all Liens2 (other than (i) any and all Liens securing the FLFO
Claim or the obligations under the First Lien Exit Facility or (ii) Credit Bid Permitted
Encumbrances except in the case of Fieldwood U.A. Interests, which shall vest free and clear of
all Liens other than Liens described in clause (i) above to the extent contemplated by the First
Lien Exit Facility Documents), Claims, charges, Interests, or other encumbrances, including the
Credit Bid Consent Rights and the Credit Bid Preferential Purchase Rights, and (ii) all Credit Bid
Assumed Liabilities shall be assumed by the Credit Bid Purchaser.

                 (b)    In the event that the transaction pursuant to Section 5.2(a) of the Plan is
consummated and in the event of any conflict whatsoever between the terms of the Plan and the
Credit Bid Purchase Agreement with respect to the Credit Bid Transaction, the terms of the
Credit Bid Purchase Agreement shall control, and the Plan shall be deemed to incorporate in
their entirety the terms, provisions, and conditions of the Credit Bid Purchase Agreement.

              (c)      (x) If the Confirmation Date does not occur before the Confirmation
Outside Date or (y) if the estimated amount of Allowed Specified Administrative Expense
Claims to be satisfied under the Plan on or after the Effective Date is projected at any time prior
to the Confirmation Date to exceed the Toggle Amount (the next Business Day after the
occurrence of (x) or (y), the (“Toggle Date”), then, with the consent of the Required DIP
Lenders and Requisite FLTL Lenders, the Debtors shall:

                       (i)         within 7 days of the Toggle Date, file a motion (the “Toggle
                                   Motion”), in form and substance acceptable to the Debtors, the
                                   Required DIP Lenders and Requisite FLTL Lenders, seeking entry
                                   of an order of the Bankruptcy Court approving a credit bid sale
                                   transaction to the Credit Bid Purchaser (or another special purpose
                                   bidding entity formed by or at the direction of the Prepetition
                                   FLTL Lenders) pursuant to section 363 of the Bankruptcy Code on
                                   substantially the same terms as provided in the Credit Bid Purchase
                                   Agreement (which terms shall be acceptable to the Debtors, the
                                   Requisite FLTL Lenders, and Required DIP Lenders), free and
                                   clear of all Liens (other than (i) any and all Liens securing the
                                   FLFO Claim or the First Lien Exit Facility or (ii) Credit Bid
                                   Permitted Encumbrances except in the case of Fieldwood U.A.
                                   Interests, which shall vest free and clear of all Liens other than
                                   Liens described in clause (i) above to the extent contemplated by
                                   the First Lien Exit Facility Documents), Claims, charges, Interests,
                                   or other encumbrances, the Credit Bid Consent Rights and the


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 Provided that the Retained Properties (as defined in the Apache Implementation Agreement) shall be transferred in
accordance with the Decommissioning Agreement.


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                               Credit Bid Preferential Purchase Rights that are applicable to the
                               Credit Bid Acquired Interests;

                    (ii)       within 15 days of the Toggle Date and subject to the reasonable
                               consent of Apache, the Requisite FLTL Lenders, the Required DIP
                               Lenders and the Debtors, amend the Apache Definitive Documents
                               as reasonably required to effectuate the 363 Credit Bid Transaction
                               to the Credit Bid Purchaser (or another special purpose bidding
                               entity formed by or at the direction of the Prepetition FLTL
                               Lenders); provided that no such actions shall require the Apache
                               PSA Parties to alter the economics of the Apache Definitive
                               Documents without the Apache PSA Parties’ express written
                               consent; and

                   (iii)       within 35 days of the Toggle Date, obtain entry of an order of the
                               Bankruptcy Court approving the 363 Credit Bid Transaction to the
                               Credit Bid Purchaser (or another special purpose bidding entity
                               formed by or at the direction of the Prepetition FLTL Lenders).

                (d)      Notwithstanding anything herein to the contrary, upon the occurrence of
the Toggle Date, if the transactions under the Toggle Motion (i) (a) individually or in the
aggregate, results in a reduction of 10% or more of the total PV-10 of total 2P reserves
comprising the assets acquired by the Credit Bid Purchaser (which shall be calculated by
reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)), (b) results in any contract
rights constituting material assets not being acquired by the Credit Bid Purchaser, (c)
individually or in the aggregate, results in an increase by $40.0 million or more (which, for the
avoidance of doubt, in the case of plugging and abandonment liabilities, shall be calculated on a
present value basis) in liabilities assumed by the Credit Bid Purchaser, (d) relates to any change
in treatment or recovery of the Prepetition FLFO Credit Agreement or First Lien Exit Facility, or
(e) provide for any differences from the transaction under this Plan that are materially adverse to
the interests of the First Lien Exit Facility Agent and the First Lien Exit Facility Lenders, and (ii)
are not (a) reasonably acceptable to the Prepetition FLFO Agent with respect to the foregoing
clause (i)(b) or (e), or (ii) acceptable to the Prepetition FLFO Agent with respect to the foregoing
clause (i)(a),(c), or (d), then all rights of the Prepetition FLFO Secured Parties set forth in the
Prepetition FLFO Credit Agreement and related documents to object to the Toggle Motion on
any grounds are expressly preserved, and all of the Prepetition FLFO Secured Parties’ claims,
rights, and remedies are reserved for all purposes, including the right to obtain treatment and
transaction structure different than as set forth in the Toggle Motion.

              (e)     Notwithstanding anything in the Credit Bid Purchase Agreement or any
agreement entered into pursuant to Section 5.2(c) of the Plan to the contrary, the Credit Bid
Purchaser shall not be liable for any liability or obligation on account of any Claim or Interest
that is compromised, settled, released or discharged pursuant to this Plan.




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               5.3    Equity Rights Offerings.

               (a)    On the Effective Date, the Debtors shall consummate the Equity Rights
Offerings.

                (b)    [FLTL Equity Rights Offering. The FLTL Equity Rights Offering shall be
fully backstopped by the FLTL ERO Backstop Parties in accordance with and subject to the
terms and conditions of the FLTL ERO Backstop Agreement. The right to participate in the
FLTL Equity Rights Offering may not be sold, transferred, or assigned, except in the
circumstances described in the FLTL ERO Backstop Agreement. In accordance with the FLTL
ERO Backstop Agreement and subject to the terms and conditions thereof, each of the FLTL
ERO Backstop Parties, among other things, has agreed, severally but not jointly, to purchase, on
or prior to the Effective Date, its respective [FLTL ERO Backstop Commitment Percentage] of
the [FLTL Unsubscribed Shares]. In exchange for providing the backstop commitment for the
Equity Rights Offering, the FLTL ERO Backstop Parties shall receive, among other things, the
FLTL ERO Backstop Commitment Premium Equity Interests payable in accordance with the
terms of the FLTL ERO Backstop Agreement.]

                (c)    [SLTL Equity Rights Offering. The SLTL Equity Rights Offering shall be
fully backstopped by the SLTL ERO Backstop Parties in accordance with and subject to the
terms and conditions of the SLTL ERO Backstop Agreement. The right to participate in the
SLTL Equity Rights Offering may not be sold, transferred, or assigned, except in the
circumstances described in the SLTL ERO Backstop Agreement. In accordance with the SLTL
ERO Backstop Agreement and subject to the terms and conditions thereof, each of the SLTL
ERO Backstop Parties, among other things, has agreed, severally but not jointly, to purchase, on
or prior to the Effective Date, its respective [SLTL ERO Backstop Commitment Percentage] of
the [SLTL Unsubscribed Shares]. In exchange for providing the backstop commitment for the
SLTL Equity Rights Offering, the SLTL ERO Backstop Parties shall receive, among other
things, the SLTL ERO Backstop Commitment Premium Equity Interests payable in accordance
with the terms of the SLTL ERO Backstop Agreement.]

               5.4    New Equity Interests.

                (a)    On the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, issue the New Equity Interests for eventual distribution in accordance with the terms of
this Plan without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule, or the vote, consent, authorization, or approval of any
Person. The New Equity Interests shall be issued and distributed free and clear of all Liens,
Claims, and other Interests. All of the New Equity Interests issued pursuant to the Plan shall be
duly authorized and validly issued.

                (b)     On the Effective Date, NewCo and all holders of the New Equity Interests
then outstanding shall be deemed to be parties to the NewCo Organizational Documents, where
applicable, substantially in the form, or consistent with the term sheets, contained in the Plan
Supplement, without the need for execution by any such holder. The NewCo Organizational
Documents shall be binding on NewCo and its subsidiaries (including the Credit Bid Purchaser)
and all parties receiving, and all holders of, New Equity Interests.


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               5.5     NewCo Organizational Documents

              The NewCo Organizational Documents will be in form and substance acceptable
to the Debtors, Requisite FLTL Lenders, and the Required DIP Lenders. After the Effective
Date, the NewCo Organizational Documents may be amended or restated as permitted by such
documents and the laws of their respective states, provinces, or countries of incorporation or
organization.

               5.6     New Money Warrants, SLTL Warrants and GUC Warrants

                On or after the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, as provided for in this Plan, issue (i) the New Money Warrants for distribution to the
New Money Second Lien Exit Facility Lenders, the SLTL Warrants to the holders of Allowed
SLTL Claims, and the GUC Warrants to the holders of Allowed General Unsecured Claims, in
each case in accordance with the terms of the Plan and Confirmation Order without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule, or the vote, consent, authorization, or approval of any Person and (ii) upon exercise of
the New Money Warrants, New Equity Interests issuable upon exercise of the New Money
Warrants. The New Money Warrants, the SLTL Warrants, and GUC Warrants shall be issued
and distributed free and clear of all Liens, Claims, and other Interests. All of the New Money
Warrants, the SLTL Warrants, and GUC Warrants issued pursuant to the Plan, including as
contemplated by the Credit Bid Transaction and the Second Lien Exit Facility Term Sheet, and
all New Equity Interests issued upon exercise of the New Money Warrants, the SLTL Warrants,
and the GUC Warrants shall be duly authorized and validly issued.

               5.7     Plan of Merger

                (a)     On the Effective Date, but after the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement, Fieldwood Energy LLC shall adopt the
Plan of Merger and, in accordance with the terms thereof and solely to the extent therein, upon
the effective time of the Divisional Merger as provided for in the Plan of Merger, the (i) FWE
Assets will be allocated to and vest in FWE I and FWE III pursuant to the terms of the Plan of
Merger, in each case, free and clear of all Plan of Merger Consent Rights and Plan of Merger
Preferential Purchase Rights; and (ii) the FWE I Obligations shall be allocated to and shall vest
in, and shall constitute liabilities and obligations of, FWE I and the FWE III Obligations shall be
allocated to and shall vest in, and shall constitute liabilities and obligations of, FWE III.
Immediately after the effective time of the Divisive Merger as provided in the Plan of Merger,
the only assets, properties and rights of, and the only liabilities and obligations of, (i) FWE I will
be the FWE I Assets and FWE I Obligations and (ii) FWE III will be the FWE III Assets and
FWE III Obligations.

               (b)   All of the membership interests of FWE I and FWE III shall be owned by
Post-Effective Date FWE Parent.

                (c)     Notwithstanding anything to the contrary in the Plan of Merger, any claim
or interest that is satisfied, compromised, settled, released or discharged pursuant to the Plan
shall not constitute an FWE I Obligation or FWE III Obligation.


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               5.8       Single Share

               (a)    On the Effective Date, one share of Post-Effective Date FWE Parent
common stock (the “Single Share”) shall be issued to the Plan Administrator to hold in trust as
custodian for the benefit of the holders of Allowed General Unsecured Claims and the Single
Share shall be recorded on the books and records maintained by the Plan Administrator.

               (b)     On the date that FWE Parent’s Chapter 11 Case is closed in accordance
with Section 5.25 of this Plan, the Single Share issued on the Effective Date pursuant to the Plan
shall be deemed cancelled and of no further force and effect, provided that such cancellation
does not adversely impact the Debtors’ Estates.

               5.9       Plan Administrator

              (a)     Appointment. The Plan Administrator’s retention shall commence on the
Effective Date and shall continue until: (i) the Bankruptcy Court has entered an order or orders
closing each of the Chapter 11 Cases; (ii) the Bankruptcy Court enters an order removing the
Plan Administrator for cause; or (iii) the Plan Administrator voluntarily resigns, upon notice filed
with the Bankruptcy Court, and a successor Plan Administrator is appointed in accordance with
this Plan.

                (b)     Authority. Subject to Section 5.9(c) of this Plan, the Plan Administrator
shall have all the rights, powers, authority, and duties on behalf of each of the Debtors and Post-
Effective Date Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to carry out and implement all provisions of the Plan, including, without limitation,
to:

                      (i)      subject to Section 7 of the Plan, except to the extent Claims have
                               been previously Allowed, control and effectuate the Claims
                               reconciliation process in accordance with the terms of this Plan,
                               including to object to, seek to subordinate, compromise or settle
                               any and all Claims against the Debtors;

                     (ii)      make Distributions to holders of Allowed Claims and Interests in
                               accordance with this Plan, including distributions from the Claims
                               Reserve, Professional Fee Escrow and Plan Administrator Expense
                               Reserve;

                     (iii)     exercise its reasonable business judgment to direct and control the
                               Debtors or Post-Effective Date Debtors under this Plan and in
                               accordance with applicable law as necessary to maximize
                               Distributions to holders of Allowed Claims;

                     (iv)      prepare, file, and prosecute any necessary filings or pleadings with
                               the Bankruptcy Court to carry out the duties of the Plan
                               Administrator as described herein;




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             (v)    engage in the ownership, operation, plugging and abandonment,
                    and decommissioning of the FWE III Assets, including the FWE
                    III Oil & Gas Lease Interests;

            (vi)    abandon any property determined by the Plan Administrator to be
                    of de minimis value or burdensome to the Estates;

           (vii)    other than any Causes of Action released by the Debtors pursuant
                    to this Plan or otherwise, prosecute all Causes of Action on behalf
                    of the Debtors, elect not to pursue any Causes of Action, and
                    determine whether and when to compromise, settle, abandon,
                    dismiss, or otherwise dispose of any such Causes of Action, as the
                    Plan Administrator may determine is in the best interests of the
                    Debtors and their Estates;

           (viii)   retain, employ, terminate, or replace professionals to assist or
                    represent it in performing its duties under this Plan;

            (ix)    pay all fees, expenses, debts, charges, and liabilities of the Post-
                    Effective Date Debtors, including any Restructuring Expenses,
                    from the Plan Administrator Expense Reserve or otherwise;

             (x)    comply with, and cause the Debtors and Post-Effective Date
                    Debtors to comply with, the Debtors’ or Post-Effective Date
                    Debtors’ continuing obligations under the Credit Bid Purchase
                    Agreement;

            (xi)    maintain the books and records and accounts of the Debtors and
                    Post-Effective Date Debtors;

           (xii)    establish and maintain bank accounts in the name of the Post-
                    Effective Date Debtors;

           (xiii)   incur and pay reasonable and necessary expenses in connection
                    with the performance of duties under this Plan, including the
                    reasonable fees and expenses of professionals retained by the Plan
                    Administrator;

           (xiv)    following the Effective Date, pay any fees and expenses in Cash in
                    accordance with Section 2.4 of this Plan;

           (xv)     administer each Debtor’s and Post-Effective Date Debtors’ tax
                    obligations, including (i) filing tax returns and paying tax
                    obligations and (ii) representing the interest and account of each
                    Debtor, each Debtor’s estate, or each Post-Effective Date Debtor
                    before any taxing authority in all matters including, without
                    limitation, any action, suit, proceeding or audit;



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                 (xvi)        prepare and file any and all informational returns, reports,
                              statements, returns or disclosures relating to the Debtors or Post-
                              Effective Date Debtor that are required hereunder, by any
                              Governmental Unit or applicable law;

                (xvii)        pay statutory fees in accordance with Section 12.1 of this Plan;

                (xviii)       perform other duties and functions that are consistent with the
                              implementation of the Plan or as the Plan Administrator reasonably
                              deems to be necessary and proper to carry out the provisions of this
                              Plan; and

                 (xix)        close the Chapter 11 Cases pursuant to Section 5.25 of this Plan.

              (c)      Board of Directors and Officers.

                    (i)       The officers and directors of the Debtors existing before the
                              Effective Date shall be relieved of any and all duties with the
                              respect to the Debtors as of the Effective Date.

                    (ii)      Upon the Effective Date, the Plan Administrator shall serve as the
                              sole officer, director, or manager of each Post-Effective Date
                              Debtor. The Plan Administrator may also elect such additional
                              managers(s) and officer(s) of each Post-Effective Date Debtor as
                              the Plan Administrator deems necessary to implement this Plan
                              and the actions contemplated herein. The Plan Administrator shall
                              also have the power to act by written consent to remove any officer
                              or manager of any Post-Effective Date Debtor at any time with or
                              without cause.

               (d)  Post-Effective Date Operations. After the Effective Date, pursuant to this
Plan, the Plan Administrator shall operate the Post-Effective Date Debtors without any further
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

                (e)   Post-Effective Date Expenses. On and after the Effective Date, all costs,
expenses and obligations incurred by the Plan Administrator in administering this Plan, the Post-
Effective Date Debtors, or in any manner connected, incidental, or related thereto, in effecting
distributions from the Post-Effective Date Debtors thereunder (including the reimbursement of
reasonable expenses) shall be incurred and paid from the Plan Administrator Expense Reserve.

               (f)    Indemnification. Each of the Estates and the Post-Effective Date Debtors
shall indemnify and hold harmless the Plan Administrator solely in its capacity as such for any
losses incurred in such capacity, except to the extent such losses were the result of the Plan
Administrator’s gross negligence or willful misconduct.

              (g)    Cooperation. The Debtors, the Post-Effective Date Debtors, the Plan
Administrator, the FWE I Sole Manager, and NewCo and its subsidiaries (including the Credit


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Bid Purchaser) and their respective professionals, as appropriate, shall cooperate with each other
in relation to their respective activities and obligations in respect of this Plan, including objecting
to, settling or otherwise reconciling claims as provided herein, and by providing reasonable,
good-faith access to personnel, systems, and books and records and their respective personnel
and consulting with each other to avoid duplication of effort; provided, however, that the
Debtors, the Post-Effective Date Debtors, the Plan Administrator, the FWE I Sole Manager, and
NewCo and its subsidiaries (including the Credit Bid Purchaser) and including its advisors, if
any) shall enter into a confidentiality agreement before sharing of any such documents and/or
information to the extent deemed reasonably necessary by the Post-Effective Date Debtors, the
Credit Bid Purchaser, or Plan Administrator, as applicable.

               5.10    Plan Funding.

               Plan Distributions of Cash shall be funded from, among other things, the Debtors’
Cash on hand (including the proceeds of the DIP Facility), the New Money Consideration, and
the proceeds of the Equity Rights Offerings.

               5.11    The Exit Facilities

                (a)    On the Effective Date, the Credit Bid Purchaser shall execute and deliver
the Exit Facility Documents and such documents shall become effective in accordance with their
terms. On and after the Effective Date, the Exit Facility Documents shall constitute legal, valid,
and binding obligations of the Credit Bid Purchaser and be enforceable in accordance with their
respective terms and such obligations shall not be enjoined or subject to discharge, impairment,
release, avoidance, recharacterization, or subordination under applicable law, the Plan or the
Confirmation Order, and the Credit Bid Purchaser shall be authorized to incur the loans under the
Exit Facilities and use the proceeds of such loans, in each case, in accordance with the terms of
this Plan and the Exit Facility Documents without further notice to or order of the Bankruptcy
Court, act or action under applicable law, regulation, order, or rule, or the vote, consent,
authorization, or approval of any Person. The terms and conditions of the Exit Facility
Documents shall bind the Credit Bid Purchaser and each other Entity that enters into the Exit
Facility Documents.

                (b)    Confirmation shall be deemed approval of the Exit Facility Documents
(including the transactions and related agreements contemplated thereby, and all actions to be
taken, undertakings to be made, and obligations to be incurred and fees and expenses to be paid
by the Debtors or Post-Effective Date Debtors, as applicable, in connection therewith), the First
Lien Exit Facility Commitment Letter (including the transactions contemplated thereby, and all
actions to be taken, undertakings to be made, and obligations and guarantees to be incurred and
fees paid in connection therewith (including any payments under the First Lien Exit Facility
Commitment Letter)), and the Second Lien Backstop Commitment Letter (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations and guarantees to be incurred and fees paid in connection therewith (including the
Second Lien Backstop Commitment Premium and any other payments under the Backstop
Agreement)), and, to the extent not approved by the Bankruptcy Court previously, the Credit Bid
Purchaser will be authorized to, without further notice to the Bankruptcy Court, (i) execute and
deliver those documents necessary or appropriate to obtain the Exit Facilities, including the Exit


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Facility Documents, each as applicable, and incur and pay any fees and expenses in connection
therewith, and (ii) make any act or take any action under applicable law, regulation, order or rule
or vote, consent, authorization, or approval of any Person, subject to such modifications as the
Credit Bid Purchaser may deem to be necessary to enter into the Exit Facility Documents.

               (c)     On the Effective Date, all of the claims, liens, and security interests to be
granted in accordance with the terms of the Exit Facility Documents (i) shall be legal, binding,
and enforceable liens on, and security interests in, the collateral granted thereunder in accordance
with the terms of the Exit Facility Documents, (ii) shall be deemed automatically attached and
perfected on the Effective Date, subject only to such liens and security interests as may be
permitted under the Exit Facility Documents with the priorities established in respect thereof
under applicable non-bankruptcy law and the New Intercreditor Agreement, and (iii) shall not be
subject to avoidance, recharacterization, or subordination (including equitable subordination) for
any purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances,
or other voidable transfers under the Bankruptcy Code, this Plan, the Confirmation Order or
applicable non-bankruptcy law. To the extent provided in the Exit Facility Documents, the Exit
Facility Agents are authorized, but not required, to file with the appropriate authorities
mortgages, financing statements and other documents, and to take any other action in order to
evidence, validate, and perfect such liens or security interests.

              (d)    On the Effective Date, the Credit Bid Purchaser, the First Lien Exit
Facility Agent and the Second Lien Exit Facility Agent shall enter into the New Intercreditor
Agreement substantially in the form contained in the Plan Supplement.

               5.12     Apache Definitive Documents.

                (a)    On the Effective Date following the consummation of the Plan of Merger
and the Effective Time (as defined in the Plan of Merger), FWE I shall be authorized to execute,
deliver, and enter into the Apache Definitive Documents, including the Standby Credit Facility
Documents, without further (i) notice to or order or other approval of the Bankruptcy Court,
(ii) act or omission under applicable law, regulation, order, or rule, (iii) vote, consent,
authorization, or approval of any Person, or (iv) action by the holders of Claims or Interests. The
Standby Loan Agreement shall constitute a legal, valid, binding and authorized obligation of
FWE I, enforceable in accordance with its terms and such obligations shall not be enjoined or
subject to discharge, impairment, release, avoidance, recharacterization, or subordination under
applicable law, the Plan or the Confirmation Order. The financial accommodations to be
extended pursuant to the Standby Loan Agreement (and other definitive documentation related
thereto) are reasonable and are being extended, and shall be deemed to have been extended, in
good faith and for legitimate business purposes.

               (b)      FWE I Sole Manager

                      (i)     Upon the Effective Date, the FWE I Sole Manager shall be
                              appointed. Upon the Effective Date, the new governance structure
                              of FWE I will be set forth in the FWE I LLC Agreement.




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                      (ii)     On and after the Effective Date, the FWE I Sole Manager and Plan
                               Administrator shall mutually cooperate to establish any procedures
                               and protocols as they deem necessary to carry out their respective
                               duties; provided, however, that any such procedures and protocols
                               shall be consistent with the terms of this Plan and the Sole
                               Manager Agreement (as defined in the Apache Implementation
                               Agreement).

                   (iii)       FWE I shall indemnify and hold harmless the FWE I Sole Manager
                               solely in its capacity as such for any losses incurred in such
                               capacity, except to the extent such losses were the result of the
                               FWE I Sole Manager’s gross negligence or willful misconduct.

               5.13      Abandonment of Certain Properties

                Immediately upon the occurrence of the Effective Date, the Debtors’ rights to and
interests in executory contracts and unexpired federal leases, rights-of-way, and right-of-use-and-
easements listed on the Schedule of Abandoned Properties are abandoned pursuant to the Plan
without further notice to or order of the Bankruptcy Court pursuant to Sections 105(a) and 554(a)
of the Bankruptcy Code and/or deemed rejected pursuant to Section 365 of the Bankruptcy Code,
as applicable. The Abandoned Properties shall not be allocated to nor vest in the Post-Effective
Date Debtors or NewCo and its subsidiaries, including the Credit Bid Purchaser. Except as
otherwise provided in this Plan or the Confirmation Order, the Debtors, their Estates, and the
Post-Effective Date Debtors shall not be liable for any obligations whatsoever arising from or
relating to the post-Effective Date period with regards to the Abandoned Properties. Nothing in
this Plan or the Confirmation Order shall be construed as barring, waiving, or limiting the United
States’ rights to assert a claim against the Debtors, the Post-Effective Date Debtors or any co-
lessees or predecessors in interest with respect to the Abandoned Properties for any
decommissioning obligations for the Abandoned Properties.

               5.14      Establishment of Claims Reserve.

               On the Effective Date, the Debtors shall, with the consent of the Requisite FLTL
Lenders and the DIP Lenders, establish and fund the Claims Reserve by depositing Cash, in the
amount of the Claims Reserve Amount into the Claims Reserve. The Claims Reserve shall be
used to pay Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed
Priority Non-Tax Claims, Allowed Other Secured Claims (to the extent such Claims do not
receive other treatment), Allowed Unsecured Trade Claims, and Cure Amounts in accordance
with the terms of this Plan. Any amounts remaining in the Claims Reserve after satisfaction of
all Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Priority
Non-Tax Claims, Allowed Other Secured Claims, Allowed Unsecured Trade Claims, and Cure
Amounts shall constitute Residual Distributable Value.

               5.15      Plan Administrator Expense Reserve.

              On or before the Effective Date, the Plan Administrator shall establish the Plan
Administrator Expense Reserve. On the Effective Date, the Plan Administrator shall deposit


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Cash in the Plan Administrator Expense Reserve Amount into the Plan Administrator Expense
Reserve. The Plan Administrator Expense Reserve shall be used by the Plan Administrator
solely to satisfy the expenses of the Plan Administrator and the Post-Effective Date Debtors as
set forth in this Plan. Any amount remaining in the Plan Administrator Expense Reserve after
the dissolution of all the Post-Effective Date Debtors shall constitute Residual Distributable
Value. In no event shall the Plan Administrator be required or permitted to use its personal funds
or assets for the purposes of carrying out its duties under this Plan.

                5.16   Continued Corporate Existence; Effectuating Documents; Further
Transactions.

                (a)     Except as otherwise provided in the Plan, the Debtors shall continue to
exist after the Effective Date as Post-Effective Date Debtors in accordance with the applicable
laws of the respective jurisdictions in which they are incorporated or organized and pursuant to
the Amended Organizational Documents.

                 (b)    On or after the Effective Date (in any case, following the consummation
of the Credit Bid Transaction), but subsequent to the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement if the Credit Bid Transaction occurs,
without prejudice to the rights of any party to a contract or other agreement with any Post-
Effective Date Debtor, each Post-Effective Date Debtor may, in the sole discretion of the Plan
Administrator, take such action as permitted by applicable law, the applicable Amended
Organizational Documents or other applicable corporate governance documents, the Apache
Definitive Documents, any Additional Predecessor Agreement Documents, as such Post-
Effective Date Debtor may determine is reasonable and appropriate, including, causing: (i) the
consummation of a Divisional Merger as contemplated by the Plan of Merger, (ii) the taking of
any action contemplated by any Additional Predecessor Agreement Documents and the
consummation thereof (including the formation of a new entity or consummation of a divisional
merger), (iii) a Post-Effective Date Debtor to be merged into another Post-Effective Date Debtor
or an affiliate of a Post-Effective Date Debtor; (iv) a Post-Effective Date Debtor to be dissolved;
(v) the legal name of a Post-Effective Date Debtor to be changed; (vi) a Post-Effective Date
Debtor to convert its form of entity; or (vii) the closure of a Post-Effective Date Debtor’s
Chapter 11 Case on the Effective Date or any time thereafter, and such action and documents are
deemed to require no further action or approval (other than any requisite filings required under
the applicable state, provincial and federal or foreign law).

                (c)    On the Effective Date or as soon thereafter as is reasonably practicable (in
any case, following the consummation of the Credit Bid Transaction), but subsequent to the
consummation of the transactions contemplated by the Credit Bid Purchase Agreement if the
Credit Bid Transaction occurs, the Post-Effective Date Debtors, acting through the Plan
Administrator, may take all actions as may be necessary or appropriate to effect any transaction
described in, approved by, or necessary or appropriate to effectuate the Plan, including, (i) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
restructuring, conversion, disposition, transfer, dissolution, or liquidation containing terms that
are consistent with the terms of the Plan and the Plan Supplement and that satisfy the
requirements of applicable law and any other terms to which the applicable entities may agree;
(ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or


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delegation of any Asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan and having other terms to which the applicable parties agree; (iii) the filing of
appropriate organizational documents governing the Post-Effective Date Debtors, including the
Post-Effective Date Debtors’ respective Amended Organizational Documents, and any
amendments or restatements thereto, or any documents governing any Post-Effective Date
Debtor’s reincorporation, merger, consolidation, conversion, or dissolution pursuant to
applicable law and, as necessary, other constituent documents, including, without limitation, the
organizational documents governing non-Debtor subsidiaries, as permitted by the laws of their
respective states of incorporation; (iv) the Restructuring Transactions; and (v) all other actions
that the applicable entities determine to be necessary or appropriate, including, making filings or
recordings that may be required by applicable law.

               5.17    Corporate Action.

                (a)     Upon the Effective Date, all actions contemplated by this Plan shall be
deemed authorized and approved in all respects, including (i) entry into or execution of the
Credit Bid Purchase Agreement and consummation of the transactions contemplated therein,
(ii) the assumption or assumption and assignment of executory contracts and unexpired leases as
provided herein, (iii) the appointment of the Plan Administrator and the FWE I Sole Manager,
(iv) the entry into or execution of the Apache Definitive Documents and all documentation
relating thereto, including the Plan of Merger and Standby Credit Facility Documents, (v) the
entry into or execution of any Additional Predecessor Agreement Documents and all
documentation relating thereto, including any plan of merger, divisional merger, or the creation
of a new entity, (vi) entry into or execution of the Exit Facility Documents (and any other
documentation related thereto, including the New Intercreditor Agreement), (vii) any other
Restructuring Transaction, and (viii) all other actions contemplated by the Plan (whether to occur
before, on, or after the Effective Date), in each case in accordance with and subject to the terms
hereof. All matters provided for in this Plan involving the corporate or limited liability company
structure of the Debtors or the Post-Effective Date Debtors, and any corporate or limited liability
company action required by the Debtors or the Post-Effective Date Debtors in connection with
this Plan shall be deemed to have occurred and shall be in effect, without any requirement of
further action by the security holders, directors, managers, or officers of the Debtors or the Post-
Effective Date Debtors.

               (b)    On or before (as applicable) the Effective Date, the appropriate directors,
officers, and managers of the Debtors, the Plan Administrator, or the FWE I Sole Manager, as
applicable, shall be authorized and directed to issue, execute, and deliver the agreements,
documents, securities, and instruments contemplated by this Plan (or necessary or desirable to
effect the transactions contemplated by this Plan). The authorizations and approvals
contemplated by this Section 5.17 shall be effective notwithstanding any requirements under
nonbankruptcy law.

               5.18    Cancellation of Existing Securities and Agreements.

                Except for the purpose of evidencing a right to and allowing holders of Claims to
receive a distribution under this Plan, and except as otherwise set forth in the Plan, or in the Plan
Supplement or any related agreement, instrument, or document, on the Effective Date, all


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agreements, instruments, notes, certificates, indentures, mortgages, security documents,
reimbursement obligations, and other instruments or documents evidencing or creating any
prepetition Claim or Interest (collectively, the “Cancelled Agreements”) (except that the
following shall not be Cancelled Agreements: (i) the agreements, instruments, notes, certificates,
indentures, mortgages, security documents, and other instruments or documents governing,
relating to and/or evidencing certain Intercompany Interests not modified by the Plan and any
rights of any holder in respect thereof and (ii) the Decommissioning Agreement, and any and all
bonds and letters of credit constituting Decommissioning Security) shall be deemed cancelled
and of no force or effect and the Debtors shall not have any continuing obligations thereunder;
provided, however, that each of the Cancelled Agreements shall continue in effect solely for the
purposes of, (x) allowing holders of Claims or Interests to receive distributions under the Plan on
account of such Claims or Interests and (y) allowing and preserving the rights of the Prepetition
FLFO Administrative Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL
Administrative Agent, the Prepetition SLTL Administrative Agent, and the DIP Agent, as
applicable, to (1) make distributions on account of such Claims or Interests; (2) maintain,
enforce, and exercise their respective liens, including any charging liens, as applicable, under the
terms of the applicable agreements, or any related or ancillary document, instrument, agreement,
or principle of law, against any money or property distributed or allocable on account of such
Claims, as applicable; (3) seek compensation and reimbursement for any reasonable and
documented fees and expenses incurred in connection with the implementation of the Plan
required to be paid pursuant to the applicable agreement; (4) maintain, enforce, and exercise any
right or obligation to compensation, indemnification, expense reimbursement, or contribution, or
any other claim or entitlement that the Prepetition FLFO Administrative Agent, the Prepetition
FLFO Collateral Agent, the Prepetition FLTL Administrative Agent, the Prepetition SLTL
Administrative Agent, and the DIP Agent may have under this Plan, the applicable credit
agreements, collateral agreements, or pledge agreements; and (5) appear and raise issues in these
Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any other court after the
Effective Date on matters relating to this Plan or the applicable credit agreements; provided,
further, that the Prepetition FLFO Administrative Agent, the Prepetition FLFO Collateral Agent,
the Prepetition FLTL Administrative Agent, the Prepetition SLTL Administrative Agent, and the
DIP Agent may take such further action to implement the terms of the Plan, including the
Restructuring Transactions, as agreed to with the Debtors or the Post-Effective Date Debtors, as
applicable to the extent not inconsistent with the Confirmation Order or this Plan.

               5.19    Cancellation of Certain Existing Security Interests.

                Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the
Debtors or the Post-Effective Date Debtors, as applicable, any Collateral or other property of a
Debtor held by such holder, together with any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Other Secured Claim
that may be reasonably required to terminate any related financing statements, mortgages,
mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

               Except, for the avoidance of doubt, with respect to any mortgages, deeds of trust,
Liens, pledges, and any other security interests of the Prepetition FLFO Administrative Agent or
the Exit Facility Agents, after the Effective Date and in accordance with the terms of the


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Confirmation Order, the Debtors or the Post-Effective Date Debtors, at their expense, may, in
their sole discretion, take any action necessary to terminate, cancel, extinguish, and/or evidence
the release of any and all mortgages, deeds of trust, Liens, pledges, and other security interests
with respect to any Claim or Interest, including, without limitation, the preparation and filing of
any and all documents necessary to terminate, satisfy, or release any mortgages, deeds of trust,
Liens, pledges, and other security interests held by the Prepetition Agents, including, without
limitation, UCC-3 termination statements and mortgage release documentation.

               5.20    Intercompany Interests; Corporate Reorganization.

                To the extent reinstated under the Plan, on the Effective Date, the Intercompany
Interests (a) shall be reinstated for the ultimate benefit of the holders of Claims and Interests as
set forth in the Plan (b) without the need for any further corporate action or approval of any
board of directors, board of managers, managers, management, or stockholders of any Debtor or
Post-Effective Date Debtor, as applicable, the certificates and all other documents representing
the Intercompany Interests shall be deemed to be in full force and effect.

               5.21    Restructuring Transactions.

               On the Effective Date or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, acting through the Plan Administrator, or the FWE I Sole
Manager, as applicable, may take all actions consistent with the Plan and the Confirmation
Order, as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by, or necessary to effectuate the Restructuring Transactions under and in
connection with the Plan.

               5.22    Liquidating Trust.

                In the event the Plan Administrator determines, in its discretion, that to carry out
and implement the provisions of this Plan certain assets should be transferred to a liquidating
trust for the benefit of one or more classes of Claims, (1) the terms of the liquidating trust shall
be set forth in a liquidating trust agreement, (2) the liquidating trust shall be structured to qualify
as a “liquidating trust” within the meaning of Treasury Regulations section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust”
within the meaning of sections 671 through 679 of the Tax Code of which the holders of Claims
who become the liquidating trust beneficiaries (as determined for U.S. federal income tax
purposes) are the owners and grantors, consistent with the terms of the Plan, (3) the sole purpose
of the liquidating trust shall be the liquidation and distribution of the assets transferred to the
liquidating trust in accordance with Treasury Regulations section 301.7701-4(d), including the
resolution of Claims, with no objective to continue or engage in the conduct of a trade or
business, (4) all parties (including the Debtors, holders of Claims, and the trustee of the
liquidating trust) shall report consistently with such treatment (including the deemed receipt of
the underlying assets, subject to applicable liabilities and obligations, by the holders of Allowed
Claims, as applicable, followed by the deemed transfer of such assets to the liquidating trust), (5)
all parties shall report consistently with the valuation of the assets transferred to the liquidating
trust as determined by the trustee of the liquidating trust (or its designee), (6) the trustee of the
liquidating trust shall be responsible for filing returns for the trust as a grantor trust pursuant to


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Treasury Regulations section 1.671-4(a), and (7) the trustee of the liquidating trust shall annually
send to each holder of an interest in the liquidating trust a separate statement regarding the
receipts and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject
to definitive guidance from the Internal Revenue Service or a court of competent jurisdiction to
the contrary (including the receipt by the trustee of the liquidating trust of a private letter ruling
if the trustee so requests one, or the receipt of an adverse determination by the Internal Revenue
Service upon audit if not contested by the trustee), the trustee of the liquidating trust may timely
elect to (y) treat any portion of the liquidating trust allocable to Disputed Claims as a “disputed
ownership fund” governed by Treasury Regulations section 1.468B-9 (and make any appropriate
elections) and (z) to the extent permitted by applicable law, report consistently with the
foregoing for state and local income tax purposes. If a “disputed ownership fund” election is
made, (i) all parties (including the Debtors, holders of Claims, and the trustee of the liquidating
trust) shall report for U.S. federal, state, and local income tax purposes consistently with the
foregoing, and (ii) any tax imposed on the liquidating trust with respect to assets allocable to
Disputed Claims (including any earnings thereon and any gain recognized upon the actual or
deemed disposition of such assets) will be payable out of such assets and, in the event of
insufficient Cash to pay any such taxes, the trustee of the liquidating trust may sell all or part of
such assets to pay the taxes. The trustee of the liquidating trust may request an expedited
determination of taxes of the liquidating trust, including any reserve for Disputed Claims, under
section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the liquidating
trust for all taxable periods through the dissolution of the liquidating trust.

               5.23    Securities Exemptions.

                (a)    The offer, issuance, and distribution of the New Equity Interests (other
than the Backstop Commitment Premium Equity Interests, the New Money Warrants, or any
New Equity Interests issued upon exercise of the New Money Warrants or under the
Management Incentive Plan), the Subscription Rights, the SLTL Warrants, and the GUC
Warrants to holders of Allowed FLTL Claims, Allowed SLTL Claims, and General Unsecured
Claims, as applicable, under Article IV of this Plan, and the New Equity Interests issued upon
exercise of the Subscription Rights, the SLTL Warrants, or the GUC Warrants, shall be exempt,
pursuant to section 1145 of the Bankruptcy Code, without further act or actions by any Person,
from registration under the Securities Act, and all rules and regulations promulgated thereunder,
and any other applicable securities laws, to the fullest extent permitted by section 1145 of the
Bankruptcy Code. The New Equity Interests, the Subscription Rights, the SLTL Warrants, and
GUC Warrants issued pursuant to section 1145(a) of the Bankruptcy Code may be resold without
registration under the Securities Act or other federal securities laws pursuant to the exemption
provided by section 4(a)(1) of the Securities Act, unless the holder is an “underwriter” with
respect to such Securities, as that term is defined in section 1145(b) of the Bankruptcy Code. In
addition, such section 1145 exempt Securities generally may be resold without registration under
state securities laws pursuant to various exemptions provided by the respective laws of the
several states.

               (b)   The issuance and sale of the Backstop Commitment Premium Equity
Interests, and the New Money Warrants (including any New Equity Interests issued upon
exercise of the New Money Warrants) under this Plan shall be exempt from registration under
the Securities Act or any other applicable securities laws to the fullest extent permitted by


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section 4(a)(2) of the Securities Act and/or Regulation D thereunder. The Backstop
Commitment Premium Equity Interests, and the New Money Warrants (including any New
Equity Interests issued upon exercise of the New Money Warrants) issued in reliance on the
exemption from registration set forth in section 4(a)(2) of the Securities Act and/or Regulation D
thereunder, will be considered “restricted securities” and may not be transferred except pursuant
to an effective registration statement or under an available exemption from the registration
requirements of the Securities Act, such as, under certain conditions, the resale provisions of
Rule 144 of the Securities Act.

                (c)     None of the Debtors, NewCo and its subsidiaries (including the Credit Bid
Purchaser), or any other Person shall be required to provide any further evidence other than the
Plan or the Confirmation Order with respect to the treatment of the New Equity Interests
(including any New Equity Interests issued upon exercise of the Subscription Rights, the New
Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights, the New
Money Warrants, the SLTL Warrants, or the GUC Warrants, under applicable securities laws.
DTC and any transfer agent (as applicable) shall be required to accept and conclusively rely
upon the Plan or Confirmation Order in lieu of a legal opinion regarding whether the New Equity
Interests (including any New Equity Interests issued upon exercise of the Subscription Rights,
the New Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights,
the New Money Warrants, the SLTL Warrants, or the GUC Warrants are exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services (to
the extent applicable).

               (d)     Notwithstanding anything to the contrary in this Plan, no Person
(including DTC and any transfer agent) shall be entitled to require a legal opinion regarding the
validity of any transaction contemplated by the Plan, including whether the New Equity Interests
(including any New Equity Interests issued upon exercise of the Subscription Rights, the New
Money Warrants, the SLTL Warrants or the GUC Warrants), the Subscription Rights, the New
Money Warrants, the SLTL Warrants, or the GUC Warrants are exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services.

               5.24   Closing of Chapter 11 Cases.

               After the Effective Date, the Plan Administrator shall be authorized, but not
directed, to submit an order to Bankruptcy Court under certification of counsel that is in form
and substance acceptable to the U.S. Trustee that closes and issues a final decree for each of the
Chapter 11 Cases.



ARTICLE VI.           DISTRIBUTIONS.

               6.1    Distributions Generally.

             The Plan Administrator shall make all Distributions to the appropriate holders of
Allowed Claims in accordance with the terms of this Plan.




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               6.2     No Postpetition Interest on Claims.

               Except with respect to the FLFO Claims of the Prepetition FLFO Secured Parties
or as otherwise specifically provided for in the Plan, the Confirmation Order, or another order of
the Bankruptcy Court, postpetition interest shall not accrue or be paid on any Claims, and no
holder of a Claim shall be entitled to interest accruing on such Claim on or after the Petition
Date.

               6.3     Date of Distributions.

                Except as otherwise provided in this Plan, the Plan Administrator shall make Plan
Distributions to holders of Allowed Claims after (a) funding of the Professional Fee Escrow and
(b) satisfaction in full or establishment of reserves sufficient to pay claims in the Claims Reserve,
as soon as reasonably practicable after the Effective Date and thereafter, the Plan Administrator
shall from time to time determine the subsequent Distribution Dates.

               6.4     Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various lists of
holders of Claims in each Class as maintained by the Debtors or their agents, shall be deemed
closed, and there shall be no further changes in the record holders of any Claims after the
Distribution Record Date. Neither the Debtors nor the Plan Administrator shall have any
obligation to recognize any transfer of a Claim occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or disputes
over any Cure Amounts, neither the Debtors nor the Plan Administrator shall have any obligation
to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.

               6.5     Distributions after Effective Date

             Distributions made after the Effective Date to holders of Disputed Claims that are
not Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

               6.6     Delivery of Distributions.

               Subject to Bankruptcy Rule 9010, the Plan Administrator shall make all
Distributions to any holder of an Allowed Claim as and when required by this Plan at (a) the
address of such holder on the books and records of the Debtors or their agents or (b) at the
address in any written notice of address change delivered to the Debtors or the Plan
Administrator, including any addresses included on any transfers of Claim filed pursuant to
Bankruptcy Rule 3001. In the event that any Distribution to any holder is returned as
undeliverable, no Distribution or payment to such holder shall be made unless and until the Plan
Administrator has been notified of the then-current address of such holder, at which time or as
soon thereafter as reasonably practicable such Distribution shall be made to such holder without
interest.



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               6.7     Unclaimed Property.

                One year from the later of: (a) the Effective Date and (b) the date that is ten (10)
Business Days after the date a Claim is first Allowed, all distributions that remain payable on
account of such Claim shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and shall revert to the Post-Effective Date Debtors or their successors or
assigns, and all claims of any other Person (including the holder of a Claim in the same Class) to
such distribution shall be discharged and forever barred. The Post-Effective Date Debtors and
the Plan Administrator shall have no obligation to attempt to locate any holder of an Allowed
Claim other than by reviewing the Debtors’ books and records and the Bankruptcy Court’s
filings.

        For the avoidance of doubt, a distribution shall be deemed unclaimed if a holder has not:
(a) accepted a particular distribution or, in the case of distributions made by check, negotiated
such check; (b) given notice to the Post-Effective Date Debtors or the Plan Administrator of an
intent to accept a particular distribution; (c) responded to the Debtors’, the Post-Effective Date
Debtors’, or the Plan Administrator’s requests for information necessary to facilitate a particular
distribution; or (d) taken any other action necessary to facilitate such distribution.

               6.8     Satisfaction of Claims.

              Unless otherwise provided herein, any distributions and deliveries to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

               6.9     Manner of Payment under Plan.

               Except as specifically provided herein, at the option of the Debtors, the Post-
Effective Date Debtors, or the Plan Administrator, as applicable, any Cash payment to be made
under the Plan may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

               6.10    De Minimis Cash Distributions.

               The Plan Administrator shall not be required to make any payment to any holder
of an Allowed Claim on any Distribution Date of Cash in an amount less than one-hundred
dollars ($100); provided, however, that if any Plan Distribution is not made pursuant to this
Section 6.10, such Distribution shall be added to any subsequent Plan Distribution to be made on
behalf of the holder’s Allowed Claim. The Plan Administrator shall not be required to make any
final Plan Distributions of Cash in an amount less than fifty dollars ($50) to any holder of an
Allowed Claim. If the amount of any final Plan Distributions to holders of Allowed Claims
would be fifty dollars ($50) or less, then no further Plan Distribution shall be made by the Plan
Administrator and any surplus Cash shall be donated and distributed to a Tax Code § 501(c)(3)
tax-exempt organization selected by the Plan Administrator.




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               6.11    No Distribution in Excess of Amount of Allowed Claim.

              Notwithstanding anything to the contrary in this Plan, no holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Plan Distributions in excess of the
Allowed amount of such Claim.

               6.12    Allocation of Distributions Between Principal and Interest.

                Except with respect to the FLFO Claims of the Prepetition FLFO Secured Parties
or as otherwise required by law, consideration received in respect of an Allowed Claim is
allocable first to the principal amount of the Claim (as determined for U.S. federal income tax
purposes) and then, to the extent of any excess, to the remainder of the Claim, including any
Claim for accrued but unpaid interest.

               6.13    Setoffs and Recoupments.

                Each Post-Effective Date Debtor, or such entity’s designee as instructed by such
Post-Effective Date Debtor or the Plan Administrator, may, pursuant to section 553 of the
Bankruptcy Code or applicable nonbankruptcy law, offset or recoup against any Allowed Claim,
and the distributions to be made pursuant to the Plan on account of such Allowed Claim any and
all claims, rights, and Causes of Action that a Post-Effective Date Debtor or its successors may
hold against the holder of such Allowed Claim after the Effective Date to the extent such setoff
or recoupment is either (a) agreed in amount among the relevant Post-Effective Date Debtor(s),
and holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided, that neither the failure to effect a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Post-Effective Date Debtor or its successor of any claims, rights, or Causes of Action that a Post-
Effective Date Debtor or its successor or assign may possess against such holder.

               6.14    Withholding and Reporting Requirements.

                (a)    Withholding Rights. In connection with this Plan, any party issuing any
instrument or making any Plan Distribution described in this Plan shall comply with all
applicable tax withholding and reporting requirements imposed by any Governmental Unit, and
all Plan Distributions pursuant to this Plan and all related agreements shall be subject to any such
withholding or reporting requirements. Notwithstanding the foregoing, each holder of an
Allowed Claim or any other Person that receives a Plan Distribution pursuant to this Plan shall
have responsibility for any taxes imposed by any Governmental Unit, including, income,
withholding, and other taxes, on account of such Plan Distribution. Any party issuing any
instrument or making any Plan Distribution pursuant to this Plan has the right, but not the
obligation, to not make a Plan Distribution until such holder has made arrangements satisfactory
to such issuing or disbursing party for payment of any such tax obligations. Notwithstanding any
provision in the Plan to the contrary, any party issuing any instrument or making any Plan
Distribution pursuant to this Plan shall be authorized to take all actions necessary or appropriate
to comply with such withholding and reporting requirements, including liquidating a portion of
the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to


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facilitate such distributions or establishing any other mechanisms they believe are reasonable and
appropriate.

               (b)     Forms. Any party entitled to receive any property as an issuance or Plan
Distribution under this Plan shall, upon reasonable request, deliver to the Plan Administrator or
such other Person designated by the Plan Administrator (which entity shall subsequently deliver
to the Plan Administrator or such other Person any applicable IRS Form W-8 or Form W-9
received) an appropriate Form W-9 or (if the payee is a non-U.S. Person) Form W-8, unless such
Person is exempt under the Tax Code and so notifies the Plan Administrator or such other
Person. If such request is made by the Plan Administrator or such other Person designated by the
Plan Administrator and the holder fails to comply before the date that is 210 days after the
request is made, the amount of such Plan Distribution shall irrevocably revert to the Debtors and
any Claim in respect of such Plan Distribution shall be discharged and forever barred from
assertion against any Debtor and its respective property.

               6.15   Claims Paid by Third Parties.

                The Plan Administrator shall reduce in full a Claim, and such Claim shall be
Disallowed without a Claims objection having to be filed and without any further notice to or
action, order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim
receives payment in full on account of such Claim from a party that is not the Debtors or the
Post-Effective Date Debtors. If a holder of a Claim receives a Distribution from the Debtors or
the Post-Effective Date Debtors on account of such Claim and also receives payment from a
third party on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the Plan Distribution to the Debtors or the Post-Effective Date Debtors,
to the extent the holder’s total recovery on account of such Claim from the third party and under
this Plan exceeds the total Allowed amount of such Claim as of the date of any such Plan
Distribution under this Plan. The failure of such holder to timely repay or return such
Distribution shall result in the holder owing the Post-Effective Date Debtors interest on such
amount owed for each Business Day after the 14-day grace period specified above until the
amount is repaid.

               6.16   Claims Payable by Third Parties.

                No Distributions shall be made on account of an Allowed Claim that is payable
pursuant to one of the insurance policies to which the Debtors’ are a beneficiary until the holder
of such Allowed Claim has exhausted all remedies with respect to such insurance policy;
provided, however, that this Section 6.16 shall not restrict Plan Distributions on an Allowed
Claim that is Allowed in an amount that does not exceed an applicable self-insured retention or
deductible amount under one or more such insurance policies. To the extent that one or more of
the insurers agrees to satisfy a Claim in whole or in part, then immediately upon such insurers’
satisfaction, such Claim may be expunged to the extent of any agreed upon satisfaction on the
Claims register by the Plan Administrator without a Claims objection having to be filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.




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ARTICLE VII.          PROCEDURES FOR DISPUTED CLAIMS.

               7.1    Allowance of Claims.

               Except as expressly provided in the Plan or in any order entered in the Chapter 11
Cases before the Effective Date (including the Confirmation Order), no Claim shall become an
Allowed Claim unless and until such Claim is deemed Allowed pursuant to the Plan or a Final
Order, including the Confirmation Order (when it becomes a Final Order), Allowing such Claim.
On and after the Effective Date, each of the Debtors or the Post-Effective Date Debtors shall
have and retain any and all rights and defenses such Debtor had with respect to any Claim
immediately before the Effective Date.

               7.2    Claims Objections.

               Except insofar as a Claim is Allowed under the Plan, the Debtors or the Post-
Effective Date Debtors (acting through the Plan Administrator), as applicable, shall be entitled to
object to Claims. Except as otherwise expressly provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date,
the Post-Effective Date Debtors and the Plan Administrator shall have the authority (a) to file,
withdraw, or litigate to judgment objections to Claims; (b) to settle or compromise any Disputed
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and
(c) to administer and adjust the Debtors’ claims register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court.

               7.3    Estimation of Claims.

                 Before or after the Effective Date, the Debtors, the Post-Effective Date Debtors,
and the Plan Administrator may at any time request that the Bankruptcy Court estimate any
Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether any party previously has objected to such Claim or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
any Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
estimates any Disputed, contingent, or unliquidated Claim, that estimated amount shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim for all
purposes under the Plan (including for purposes of distributions), as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation of the amount of
such Claim, the Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as
applicable, may elect to pursue any supplemental proceedings to object to any ultimate
distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event
shall any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy
Code or otherwise be entitled to seek reconsideration of such estimation unless such holder has
filed a motion requesting the right to seek such reconsideration on or before 21 days after the
date on which such Claim is estimated.




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               7.4    Adjustment to Claims Register Without Objection.

                Any duplicate Claim or Interest or any Claim or Interest that has been paid or
satisfied, or any Claim that has been amended or superseded, may be adjusted or expunged on
the claims register by the Debtors or the Post-Effective Date Debtors (at the direction of the Plan
Administrator) upon stipulation between the parties in interest without a Claims objection having
to be filed and without any further notice or action, order, or approval of the Bankruptcy Court.

               7.5    Time to File Objections to Claims.

               Any objections to a Claim shall be filed on or before the date that is the later of
(a) 180 days after the Effective Date and (b) such later date as may be fixed by the Bankruptcy
Court, after notice and a hearing, upon a motion by the Post-Effective Date Debtors, as such
deadline may be extended from time to time.

               7.6    Disallowance of Claims.

                Any Claims held by Entities from which property is recoverable under sections
542, 543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under
sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be
deemed Disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such
Claims may not receive any distributions on account of such Claims until such time as such
Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect
thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned
over or paid to the Debtors or the Post-Effective Date Debtors.

               7.7    Amendments to Claims.

               On or after the Effective Date, except as provided in the Plan or the Confirmation
Order, a Claim may not be filed or amended without the prior authorization of the Bankruptcy
Court, and the Post-Effective Date Debtors.

               7.8    No Distributions Pending Allowance.

               If an objection, motion to estimate, or other challenge to a Claim is filed, no
payment or distribution provided under the Plan shall be made on account of such Claim unless
and until (and only to the extent that) such Claim becomes an Allowed Claim.

               7.9    Distributions After Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan. As soon as practicable after the date on which the order or judgment of
the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Plan
Administrator shall provide to the holder of such Allowed Claim the distribution (if any) to
which such holder is entitled under the Plan as of the Effective Date, without any interest to be
paid on account of such Claim unless required by the Bankruptcy Code.



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               7.10   Claims Resolution Procedures Cumulative.

              All of the Claims and objection, estimation, and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved in accordance with the Plan or any mechanism
approved by the Bankruptcy Court.



ARTICLE VIII.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

               8.1    General Treatment.

                (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected,
unless such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to
an order of the Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms
or by agreement of the parties thereto; (iii) is the subject of a motion to assume filed by the
Debtors on or before the Confirmation Date; (iv) is identified in Sections 8.4 or 8.5 of the Plan;
or (v) is identified for assumption on the Schedule of Assumed Contracts included in the Plan
Supplement, which Schedule of Assumed Contracts will identify executory contracts or
unexpired leases for assumption and assignment to the Credit Bid Purchaser in accordance with
the Credit Bid Purchase Agreement. To the extent the Decommissioning Agreement is an
executory contract, it will be assumed and become the obligation of FWE I under the Plan of
Merger.

               (b)    Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
assignments, or rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and a determination by the Bankruptcy Court that the Credit Bid Purchaser or
Post-Effective Date Debtors, as applicable, have provided adequate assurance of future
performance under such assumed executory contracts and unexpired leases. Each executory
contract and unexpired lease assumed or assumed and assigned pursuant to the Plan shall vest in
and be fully enforceable by the Credit Bid Purchaser or Post-Effective Date Debtors, as
applicable, in accordance with its terms, except as modified by the provisions of the Plan, any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable law.

                (c)    To the maximum extent permitted by law, to the extent any provision in
any executory contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or
purports to restrict or prevent, or is breached or deemed breached by, the assumption of such
executory contract or unexpired lease (including any “change of control” provision), then such
provision shall be deemed modified such that the transactions contemplated by the Plan shall not
entitle the non-Debtor party thereto to terminate such executory contract or unexpired lease or to
exercise any other default-related rights with respect thereto.

               (d)     Subject to the terms of the Credit Bid Purchase Agreement, the Debtors
reserve the right, on or before 5:00 p.m. (prevailing Central Time) on the date that is seven (7)
days before the Confirmation Hearing, or such other time as may be agreed in writing between


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the Debtors and the applicable counterparty, to amend the Schedule of Assumed Contracts to add
or remove any executory contract or unexpired lease; provided that if the Confirmation Hearing
is adjourned or continued, such amendment right shall be extended to 5:00 p.m. (prevailing
Central Time) on the date that is seven (7) days before the rescheduled or continued
Confirmation Hearing, and this provision shall apply in the case of any and all subsequent
adjournments and continuances of the Confirmation Hearing; provided, further that, subject to
the terms of the Credit Bid Purchase Agreement, the Debtors may amend the Schedule of
Assumed Contracts to add or delete any executory contracts or unexpired leases after such date
to the extent agreed with the relevant counterparties and entry of an order of the Bankruptcy
Court.

               8.2     Determination of Cure Amounts and Deemed Consent.

              (a)     Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in
Cash on the Effective Date in accordance with the terms of the Credit Bid Purchase Agreement
or on such other terms as the parties to such executory contracts or unexpired leases and the
Debtors may otherwise agree.

                (b)     The Debtors shall file, as part of the Plan Supplement, the Schedule of
Assumed Contracts. At least ten (10) days before the Confirmation Hearing, the Debtors shall
serve a notice on parties to executory contracts or unexpired leases to be assumed or assumed
and assigned reflecting the Debtors’ intention to potentially assume or assume and assign to the
Credit Bid Purchaser in accordance with the terms of the Credit Bid Purchase Agreement the
contract or lease in connection with this Plan or the Credit Bid Purchase Agreement and, where
applicable, setting forth the proposed Cure Amount (if any). Any objection by a counterparty
to an executory contract or unexpired lease to the proposed assumption, assumption and
assignment, or related Cure Amount must be filed, served, and actually received by the
Debtors within ten (10) days of the service of the assumption notice, or such shorter period
as agreed to by the parties or authorized by the Bankruptcy Court. Any counterparty to an
executory contract or unexpired lease that does not timely object to the notice of the proposed
assumption of such executory contract or unexpired lease shall be deemed to have assented to
assumption of the applicable executory contract or unexpired lease notwithstanding any
provision thereof that purports to (i) prohibit, restrict, or condition the transfer or assignment of
such contract or lease; (ii) terminate or modify, or permit the termination or modification of, a
contract or lease as a result of any direct or indirect transfer or assignment of the rights of any
Debtor under such contract or lease or a change, if any, in the ownership or control to the extent
contemplated by the Plan; (iii) increase, accelerate, or otherwise alter any obligations or
liabilities of any Debtor, or any Post-Effective Date Debtor, under such executory contract or
unexpired lease; or (iv) create or impose a Lien upon any property or Asset of any Debtor, or
Post-Effective Date Debtor, as applicable. Each such provision shall be deemed to not apply to
the assumption of such executory contract or unexpired lease pursuant to the Plan and
counterparties to assumed executory contracts or unexpired leases that fail to object to the
proposed assumption in accordance with the terms set forth in this Section 8.2(b), shall forever
be barred and enjoined from objecting to the proposed assumption or to the validity of such
assumption (including with respect to any Cure Amounts or the provision of adequate assurance



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of future performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on
account of transactions contemplated by the Plan.

               (c)     If there is an Assumption Dispute pertaining to assumption of an
executory contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such
dispute shall be heard by the Bankruptcy Court before such assumption being effective;
provided, that, subject to the terms of the Credit Bid Purchase Agreement, the Debtors or Post-
Effective Date Debtors, as applicable, may settle any Assumption Dispute without any further
notice to any party or any action, order, or approval of the Bankruptcy Court.

                (d)    To the extent an Assumption Dispute relates solely to the Cure Amount,
subject to the terms of the Credit Bid Purchase Agreement, the Debtors may assume and/or
assume and assign the applicable executory contract or unexpired lease before the resolution of
the Assumption Dispute; provided, that the Post-Effective Date Debtors or Credit Bid Purchaser,
as applicable shall be responsible to pay the determined amount to be Allowed by the
Bankruptcy Court or otherwise agreed to by such non-Debtor party. The Debtors or Post-
Effective Date Debtors, as applicable, subject to the terms of the Credit Bid Purchase
Agreement, may settle any dispute regarding the Cure Amount or the nature thereof without any
further notice to any party or any action, order, or approval of the Bankruptcy Court.

               (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction
of any Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract
or unexpired lease at any time before the date that the Debtors assume or assume and assign such
executory contract or unexpired lease. Any proofs of Claim filed with respect to an executory
contract or unexpired lease that has been assumed or assumed and assigned shall be deemed
Disallowed and expunged, without further notice to or action, order, or approval of the
Bankruptcy Court or any other Person, upon the assumption of such executory contract or
unexpired leases.

               8.3    Rejection Damages Claims.

              In the event that the rejection of an executory contract or unexpired lease
hereunder results in damages to the other party or parties to such contract or lease, any
Claim for such damages shall be classified and treated in Class 6B (General Unsecured
Claims). A proof of such Claim must be filed with the Bankruptcy Court and served upon
counsel for the Debtors, Post-Effective Date Debtor, or the Plan Administrator, as
applicable, by the later of (i) thirty (30) days after the filing and service of the notice of the
occurrence of the Effective Date; and (ii) thirty (30) days after entry of an Order rejecting
such contract or lease if such contract or lease is the subject of a pending Assumption
Dispute.




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               8.4     Survival of the Debtors’ Indemnification Obligations.

                Notwithstanding anything in the Plan (including Section 10.3 of the Plan), any
Indemnification Obligation to indemnify current and former officers, directors, members,
managers, agents, or employees with respect to all present and future actions, suits, and
proceedings against the Debtors or such officers, directors, members, managers, agents, or
employees based upon any act or omission for or on behalf of the Debtors shall (a) remain in full
force and effect, (b) not be discharged, impaired, or otherwise affected in any way, including by
the Plan, the Plan Supplement, or the Confirmation Order, (c) not be limited, reduced or
terminated after the Effective Date, and (d) survive unimpaired and unaffected irrespective of
whether such Indemnification Obligation is owed for an act or event occurring before, on or after
the Petition Date, provided, that the Post-Effective Date Debtors shall not indemnify officers,
directors, members, or managers, as applicable, of the Debtors for any claims or Causes of
Action that are not indemnified by such Indemnification Obligation. All such obligations shall
be deemed and treated as executory contracts to be assumed by the Debtors under the Plan and
shall continue as obligations of the Post-Effective Date Debtors. Any claim based on the
Debtors’ obligations under the Plan shall not be a Disputed Claim or subject to any objection, in
either case, by reason of section 502(e)(1)(B) of the Bankruptcy Code.

               8.5     Insurance Policies.

               (a)     All insurance policies to which any Debtor is a party as of the Effective
Date, including any D&O Policy, shall be deemed to be and treated as executory contracts and
shall be assumed by and vest in the applicable Debtors or the Post-Effective Date Debtors and
shall continue in full force and effect thereafter in accordance with their respective terms.
Coverage for defense and indemnity under the D&O Policy shall remain available to all
individuals within the definition of “Insured” in any D&O Policy.

                (b)     In addition, after the Effective Date, the Post-Effective Date Debtors or
Plan Administrator shall not terminate or otherwise reduce the coverage under any D&O Policy
(including any “tail policy”) in effect as of the Petition Date, and any current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity at any time before the Effective Date shall be entitled to the full benefits of any
such D&O Policy for the full term of such policy regardless of whether such members,
managers, directors, and/or officers remain in such positions after the Effective Date to the extent
set forth in such policies.

               8.6     Modifications, Amendments, Supplements, Restatements, or Other
Agreements.

               Unless otherwise provided herein or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all
modifications, amendments, supplements, restatements, or other agreements made directly or
indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instruments, or
other document is listed in any notices of assumed contracts.



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               8.7    Reservation of Rights.

               (a)     Neither the exclusion nor the inclusion by the Debtors of any contract or
lease on any exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything
contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease
is or is not an executory contract or unexpired lease or that the Debtors or the Post-Effective
Date Debtors or their respective affiliates has any liability thereunder.

                (b)    Except as explicitly provided in the Plan, nothing in the Plan shall waive,
excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other
rights of the Debtors or the Post-Effective Date Debtors under any executory or non-executory
contract or unexpired or expired lease.

               (c)    Nothing in the Plan shall increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Debtors or the Post-Effective Date Debtors, as
applicable, under any executory or non-executory contract or unexpired or expired lease.

               (a)    If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under the Plan, the Debtors or the Post-
Effective Date Debtors, as applicable, shall have thirty (30) days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.



ARTICLE IX.           CONDITIONS PRECEDENT TO OCCURRENCE OF EFFECTIVE
                      DATE.

               9.1    Conditions Precedent to Effective Date.

               The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied or waived in accordance with the Plan:

               (a)    the Plan Supplement has been filed;

                (b)    the Bankruptcy Court shall have entered the Confirmation Order, which
order shall be a Final Order;

                 (c)   the Definitive Documents shall be (i) consistent with the Restructuring
Support Agreement and otherwise acceptable to the parties thereto consistent with their
respective consent and approval rights as set forth in the Restructuring Support Agreement [and
(ii) acceptable to the Prepetition FLFO Administrative Agent and the First Lien Exit Facility
Agent solely to the extent provided and consistent with their consent and approval rights as set
forth in this Plan;

               (d)      the Restructuring Support Agreement shall not have been terminated and
shall remain in full force and effect;




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             (e)     all conditions precedent to the effectiveness of the Apache Definitive
Documents shall have been satisfied or waived by the party having the right to waive the same;

               (f)    the Debtors shall have implemented the Restructuring Transactions and all
other transactions contemplated by the Plan and the Restructuring Support Agreement in a
manner consistent in all respects with the Plan and Restructuring Support Agreement;

               (g)      the Amended Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

               (h)      the NewCo Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

            (i)     the conditions precedent to the effectiveness of the First Lien Exit Facility
Commitment Letter shall have been satisfied or duly waived in writing;

            (j)     the conditions precedent to the effectiveness of the Second Lien Backstop
Commitment Letter shall have been satisfied or duly waived in writing;

             (k)     the conditions precedent to the effectiveness of the FLTL ERO Backstop
Agreement shall have been satisfied or duly waived in writing;

             (l)     the conditions precedent to the effectiveness of the SLTL ERO Backstop
Agreement shall have been satisfied or duly waived in writing

                (m)    the conditions precedent to the effectiveness of the First Lien Exit Facility
(as determined in the First Lien Exit Facility Documents and the First Lien Exit Facility
Commitment Letter) shall have been satisfied or duly waived in writing and the First Lien Exit
Facility Lenders and the First Lien Exit Facility shall have closed substantially simultaneously
with the effectiveness of the Plan;

               (n)    the conditions precedent to the effectiveness of the Second Lien Exit
Facility (as determined in the Second Lien Exit Facility Documents and the Second Lien
Backstop Commitment Letter) shall have been satisfied or duly waived in writing and the Second
Lien Exit Facility Lenders and the Second Lien Exit Facility shall have closed substantially
simultaneously with the effectiveness of the Plan;

               (o)      the New Intercreditor Agreement shall have been executed and delivered
by each of the parties thereto;

               (p)     the Equity Rights Offerings shall have been consummated;

               (q)   the conditions precedent to the effectiveness of the Credit Bid Purchase
Agreement shall have been satisfied or duly waived in writing in accordance with the terms of
the Credit Bid Purchase Agreement and the Credit Bid Transaction Closing shall have occurred
or will occur simultaneously with the effectiveness of the Plan, including, without limitation,
payment of the New Money Consideration by Buyers to Sellers at Closing pursuant to the terms
thereof;


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               (r)     the Debtors shall have obtained all authorizations, consents, regulatory
approvals, rulings, or documents (other than any such authorization, consent, regulatory
approval, ruling, or document that is customarily obtained or completed after assignment,
conveyance or vesting of an applicable Asset) that, after giving effect to the entry of the
Confirmation Order, are necessary to implement and effectuate the Plan, including Bankruptcy
Court approval, and each of the other transactions contemplated by the Restructuring, and such
authorizations, consents, regulatory approvals, rulings, or documents shall not be subject to
unfulfilled conditions and shall be in full force and effect, and all applicable regulatory waiting
periods shall have expired;

             (s)    no event of default under the DIP Documents shall have occurred or be
continuing and an acceleration of the obligations or termination of the DIP Lenders’
commitments under the DIP Documents shall not have occurred; and

              (t)    all Restructuring Expenses shall have been indefeasibly paid in full in
accordance with Section 2.6.

               9.2     Waiver of Conditions Precedent.

                (a)     With the prior written consent of the Required DIP Lenders, the Requisite
FLTL Lenders, the conditions precedent to the occurrence of the Effective Date set forth in
Section 9.1 of the Plan may be waived, in whole or in part, by the Debtors, without leave of or
order of the Bankruptcy Court; provided that, a waiver of the conditions precedent to the
occurrence of the Effective Date set forth in Sections 9.1(c), (d), (e), and (f) of the Plan shall also
require the prior written consent of the Apache PSA Parties; provided, further, that a waiver of
any of the conditions precedent to the occurrence of the Effective Date in Section 9.1 above shall
also require the prior written (i) consent of the Prepetition FLFO Administrative Agent and the
Exit First Lien Agent for all conditions precedent other than Section 9.1(d),(r), and (s) and (ii)
reasonable consent for the conditions precedent in Section 9.1(r) and (s); provided, further, that a
waiver of the conditions precedent to the occurrence of the Effective Date set forth in Sections
9.1(l), (p) and (t) shall also require the prior written consent of the Requisite SLTL Lenders. If
any such condition precedent is waived pursuant to this section and the Effective Date occurs,
each party agreeing to waive such condition precedent shall be estopped from withdrawing such
waiver after the Effective Date or otherwise challenging the occurrence of the Effective Date on
the basis that such condition was not satisfied, the waiver of such condition precedent shall
benefit from the “equitable mootness” doctrine, and the occurrence of the Effective Date shall
foreclose any ability to challenge the Plan in any court. If the Plan is confirmed for fewer than
all of the Debtors, only the conditions applicable to the Debtor or Debtors for which the Plan is
confirmed must be satisfied or waived for the Effective Date to occur.

               (b)     Except as otherwise provided herein, all actions required to be taken on
the Effective Date shall take place and shall be deemed to have occurred simultaneously and no
such action shall be deemed to have occurred before the taking of any other such action.

               (c)     The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e)
shall be deemed waived by and upon the entry of the Confirmation Order, and the Confirmation
Order shall take effect immediately upon its entry.


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               9.3    Effect of Failure of a Condition.

                If the conditions listed in Section 9.1 of the Plan are not satisfied or waived in
accordance with Section 9.2 of the Plan on or before the Effective Date, the Plan shall be null
and void in all respects and nothing contained in the Plan or the Disclosure Statement shall
(a) constitute a waiver or release of any Claims by or against or any Interests in the Debtors,
(b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any Consenting Creditors, or any other
Person.



ARTICLE X.            EFFECT OF CONFIRMATION.

               10.1   Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order,
the provisions of the Plan shall bind every holder of a Claim against or Interest in any Debtor and
inure to the benefit of and be binding on such holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such holder is Impaired under the Plan and
whether such holder has accepted the Plan.

               10.2   Vesting of Assets.

                Except as otherwise provided in the Plan, the Confirmation Order, or any Plan
Supplement, on and after the Effective Date, pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, all Assets of the Estates, including all claims, rights, and Causes of Action and
any property acquired by the Debtors or the Post-Effective Date Debtors during the Chapter 11
Cases or under or in connection with the Plan shall vest in each respective Post-Effective Date
Debtor free and clear of all Claims, Liens, charges, other encumbrances, and interests (other than
any and all Liens securing the FLFO Claims or the obligations under the First Lien Exit Facility).
Subject to the terms of the Plan, on and after the Effective Date, the Post-Effective Date Debtors
and Plan Administrator may operate their businesses and may use, acquire, and dispose of
property and prosecute, compromise, or settle any Claims (including any Administrative
Expense Claims) and Causes of Action without notice to, supervision of or approval by the
Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules other than restrictions expressly imposed by the Plan or the Confirmation
Order. Without limiting the foregoing, the Post-Effective Date Debtors may pay the charges that
they incur on or after the Confirmation Date for Professional Persons’ fees, disbursements,
expenses, or related support services without application to the Bankruptcy Court.

               10.3   Discharge of Claims Against and Interests in Debtors.

               Upon the Effective Date, except as otherwise expressly provided in the Plan or in
the Confirmation Order, the distributions, rights and treatment to be made under the Plan, shall
be in complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims,
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on


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Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their
Assets or properties, regardless of whether any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose before the Effective Date, any liability (including withdrawal
liability) to the extent such Claims or Interests relate to services performed by employees of the
Debtors before the Effective Date and that arise from a termination of employment, any
contingent or non-contingent liability on account of representations or warranties issued on or
before the Effective Date, any obligations incurred in connection with or related to bonds and
letters of credit (and any related agreements) issued before the Petition Date on behalf of the
Debtors, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (a) a proof of claim based upon such debt or right
is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest
based upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy
Code; or (c) the holder of such a Claim or Interest has accepted the Plan. Any default or “event
of default” by the Debtors or affiliates with respect to any Claim or Interest that existed
immediately before or on account of the filing of the Chapter 11 Cases shall be deemed cured
(and no longer continuing) as of the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims and Interests subject to the Effective Date occurring.

                Each holder (as well as any trustee or agent on behalf of such holder) of a Claim
or Interest, and any affiliate of such holder, shall be deemed to have forever waived, released,
and discharged the Debtors, to the fullest extent permitted by section 1141 of the Bankruptcy
Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
Effective Date. Except as otherwise provided in the Plan, upon the Effective Date, all such
holders of Claims and Interests and their affiliates shall be forever precluded and enjoined,
pursuant to sections 105, 524, and 1141 of the Bankruptcy Code, from prosecuting or asserting
any such discharged Claim against or terminated Interest in any Debtor or any Post-Effective
Date Debtor

               10.4    Pre-Confirmation Injunctions and Stays.

               Unless otherwise provided in the Plan or a Final Order of the Bankruptcy Court,
all injunctions and stays arising under or entered during the Chapter 11 Cases, whether under
sections 105 or 362 of the Bankruptcy Code or otherwise, and in existence on the date of entry of
the Confirmation Order, shall remain in full force and effect until the later of the Effective Date
and the date indicated in the order providing for such injunction or stay.

               10.5    Injunction Against Interference With Plan.

               Except as otherwise provided in the Plan or in the Confirmation Order, upon the
entry of the Confirmation Order, all holders of Claims and Interests and all other parties in
interest, along with their respective present and former affiliates, employees, agents, officers,
directors, and principals, shall be enjoined from taking any action to interfere with the
implementation or the occurrence of the Effective Date.




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               10.6    Plan Injunction.

                (a)     Except as otherwise provided in the Plan or in the Confirmation Order,
from and after the Effective Date, all Persons who have held, hold, or may hold Claims or
Interests, and other parties in interest, along with their respective present or former employees,
agents, officers, directors, principals, and affiliates, are, with respect to any such Claim or
Interest, permanently enjoined after the entry of the Confirmation Order from: (i) commencing,
conducting, or continuing in any manner, directly or indirectly, any suit, action, or other
proceeding of any kind (including any proceeding in a judicial, arbitral, administrative, or other
forum) against or affecting, directly or indirectly, a Debtor, a Post-Effective Date Debtor, or an
Estate or the property of any of the foregoing, or any direct or indirect transferee of any property
of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned in this
subsection (i) or any property of any such transferee or successor; (ii) enforcing, levying,
attaching (including any prejudgment attachment), collecting, or otherwise recovering in any
manner or by any means, whether directly or indirectly, any judgment, award, decree, or order
against a Debtor, a Post-Effective Date Debtor, or an Estate or its property, or any direct or
indirect transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this subsection (ii) or any property of any such transferee or
successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly,
any encumbrance of any kind against a Debtor, a Post-Effective Date Debtor, or an Estate or any
of its property, or any direct or indirect transferee of any property of, or successor in interest to,
any of the foregoing Persons mentioned in this subsection (iii) or any property of any such
transferee or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that
does not conform to or comply with the provisions of the Plan to the full extent permitted by
applicable law; and (v) commencing or continuing, in any manner or in any place, any action that
does not comply with or is inconsistent with the provisions of the Plan; provided, that nothing
contained in the Plan shall preclude such Persons who have held, hold, or may hold Claims
against, or Interests in, a Debtor, a Post-Effective Date Debtor, or an Estate from exercising their
rights and remedies, or obtaining benefits, pursuant to and consistent with the terms of the Plan.

                (b)    By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest shall be deemed to have affirmatively and specifically consented to be bound
by the Plan, including the injunctions set forth in Section 10.6 of the Plan.

               10.7    Releases.

         (a)   RELEASES BY THE DEBTORS. AS OF THE EFFECTIVE DATE,
EXCEPT FOR THE RIGHTS AND REMEDIES THAT REMAIN IN EFFECT FROM
AND AFTER THE EFFECTIVE DATE TO ENFORCE THE PLAN, THE
CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE CREDIT BID PURCHASE AGREEMENT, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING
TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE RELEASED


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PARTIES    WILL     BE    DEEMED    CONCLUSIVELY,     ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, AND
THE ESTATES, IN EACH CASE ON BEHALF OF THEMSELVES AND THEIR
RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES AND ANY AND
ALL OTHER PERSONS THAT MAY PURPORT TO ASSERT ANY CAUSE OF
ACTION DERIVATIVELY, BY OR THROUGH THE FOREGOING PERSONS, FROM
ANY AND ALL CLAIMS, INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, DEMANDS, DEBTS, RIGHTS, AND CAUSES OF ACTION, LOSSES,
REMEDIES, OR LIABILITIES WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THE ESTATES), WHETHER LIQUIDATED
OR UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, ACCRUED OR
UNACCRUED, EXISTING OR HEREINAFTER ARISING, WHETHER IN LAW OR
EQUITY, WHETHER SOUNDING IN TORT OR CONTRACT, WHETHER ARISING
UNDER FEDERAL OR STATE STATUTORY OR COMMON LAW, OR ANY OTHER
APPLICABLE INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE,
STATUTE, REGULATION, TREATY, RIGHT, DUTY, REQUIREMENTS OR
OTHERWISE THAT THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, THE
ESTATES, OR THEIR AFFILIATES WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM OR
INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE, SALE, OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS
OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING OF CLAIMS AND INTERESTS BEFORE OR DURING THE
CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION, PREPARATION, OR
CONSUMMATION OF THE PLAN, THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE CREDIT BID PURCHASE AGREEMENT, THE EXIT FACILITY
DOCUMENTS, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE DECOMMISSIONING AGREEMENT, OR RELATED
AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS RELATING THERETO,
OR THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN ALL
CASES BASED UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.




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            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(a)
OF THE PLAN (the “DEBTOR RELEASES”), WHICH INCLUDES BY REFERENCE
EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN,
AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING
THAT THE DEBTOR RELEASES ARE: (I) IN EXCHANGE FOR THE GOOD,
VALUABLE AND ADEQUATE CONSIDERATION PROVIDED BY THE RELEASED
PARTIES, (II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) A GOOD
FAITH SETTLEMENT AND COMPROMISE OF THE RELEASED CLAIMS
RELEASED BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS AND THE
ESTATES, (IV) IN THE BEST INTERESTS OF THE DEBTORS, THE ESTATES AND
ALL HOLDERS OF CLAIMS AND INTERESTS, (IV) FAIR, EQUITABLE AND
REASONABLE, (V) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
FOR HEARING, AND (VII) A BAR TO ANY OF THE DEBTORS, THE POST-
EFFECTIVE DATE DEBTORS, OR THE ESTATES ASSERTING ANY CLAIM OR
CAUSE OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

           (b)  RELEASES BY HOLDERS OF CLAIMS AND INTERESTS. AS OF
THE EFFECTIVE DATE, EXCEPT FOR THE RIGHTS AND REMEDIES THAT
REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO ENFORCE
THE PLAN, THE CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED
BY THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS,
THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE CREDIT BID
PURCHASE AGREEMENT, THE SECOND LIEN BACKSTOP COMMITMENT
LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, THE EXIT FACILITY DOCUMENTS, AND THE RESTRUCTURING
TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE RELEASED
PARTIES     WILL   BE     DEEMED    CONCLUSIVELY,     ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED BY THE RELEASING PARTIES, TO THE MAXIMUM EXTENT
PERMITTED BY LAW, AS SUCH LAW MAY BE EXTENDED SUBSEQUENT TO THE
EFFECTIVE DATE BY THE RELEASING PARTIES, FROM ANY AND ALL CLAIMS
AND CAUSES OF ACTION WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THEIR ESTATES, INCLUDING ANY
CAUSES OF ACTION ARISING UNDER CHAPTER 5 OF THE BANKRUPTCY
CODE), WHETHER LIQUIDATED OR UNLIQUIDATED, FIXED OR CONTINGENT,
MATURED OR UNMATURED, KNOWN OR UNKNOWN, FORESEEN OR
UNFORESEEN, ASSERTED OR UNASSERTED, ACCRUED OR UNACRUED,
EXISTING OR HEREINAFTER ARISING, IN LAW, EQUITY, CONTRACT, TORT,
OR OTHERWISE BY STATUTE, WHETHER ARISING UNDER FEDERAL OR
STATE, STATUTORY OR COMMON LAW, VIOLATIONS OF FEDERAL OR STATE
SECURITIES LAWS, OR ANY OTHER APPLICABLE INTERNATIONAL, FOREIGN,
OR DOMESTIC LAW, RULE STATUTE, REGULATION, TREATY, RIGHT, DUTY,
REQUIREMENT OR OTHERWISE, THAT THE RELEASING PARTIES OR THEIR

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ESTATES, AFFILIATES, HEIRS, EXECUTORS, ADMINISTRATORS, SUCCESSORS,
ASSIGNS, MANAGERS, ACCOUNTANTS, ATTORNEYS, REPRESENTATIVES,
CONSULTANTS, AGENTS, AND ANY OTHER PERSONS CLAIMING UNDER OR
THROUGH THEM WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN
THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST OR OTHER PERSON,
BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART, THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THEIR
ESTATES, THE CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE,
SALE, OR RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE
DEBTORS OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER
OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR
INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS OR INTERACTIONS BETWEEN ANY DEBTOR AND ANY
RELEASED PARTY, THE RESTRUCTURING, THE RESTRUCTURING OF ANY
CLAIMS OR INTERESTS BEFORE OR DURING THE CHAPTER 11 CASES, THE
NEGOTIATION, FORMULATION, PREPARATION, OR CONSUMMATION OF THE
PLAN, THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE CREDIT BID
PURCHASE AGREEMENT, THE EXIT FACILITY DOCUMENTS, THE APACHE
DEFINITIVE DOCUMENTS, ANY ADDITIONAL PREDECESSOR AGREEMENT
DOCUMENTS, THE FIRST LIEN EXIT FACILITY COMMITMENT LETTER, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EQUITY RIGHTS
OFFERINGS, THE ERO BACKSTOP AGREEMENTS, THE DECOMMISSIONING
AGREEMENT OR RELATED AGREEMENTS, INSTRUMENTS, OR OTHER
DOCUMENTS, RELATING THERETO, OR THE SOLICITATION OF VOTES WITH
RESPECT TO THE PLAN, IN ALL CASES BASED UPON ANY ACT OR OMISSION,
TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCES TAKING
PLACE ON OR BEFORE THE EFFECTIVE DATE.

            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(B)
OF THE PLAN (THE “THIRD-PARTY RELEASE”), WHICH INCLUDES, BY
REFERENCE, EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER
THE PLAN, AND, FURTHERMORE, SHALL CONSTITUTE THE BANKRUPTCY
COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS (I) CONSENSUAL,
(II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) GIVEN IN
EXCHANGE FOR THE GOOD, VALUABLE AND ADEQUATE CONSIDERATION
PROVIDED BY THE RELEASED PARTIES, (IV) A GOOD FAITH SETTLEMENT
AND COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-PARTY
RELEASE, (V) IN THE BEST INTERESTS OF THE DEBTORS AND THEIR ESTATES,
(VI) FAIR, EQUITABLE AND REASONABLE, (VII) GIVEN AND MADE AFTER DUE
NOTICE AND OPPORTUNITY FOR HEARING, AND (VIII) A BAR TO ANY OF THE
RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION
RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.




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          NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS
SECTION 10.7(B) OF THE PLAN, NO PARTY SHALL BE RELEASED TO THE
EXTENT SUCH RELEASE WOULD IMPAIR THE DECOMMISSIONING SECURITY
OR THE APACHE PSA PARTIES’ ABILITY TO DRAW ON THE
DECOMMISSIONING SECURITY, IN ANY RESPECT. FOR THE AVOIDANCE OF
DOUBT, ANY AND ALL CLAIMS THE APACHE PSA PARTIES MAY HAVE
AGAINST FWE I RELATED TO THE DECOMMISSIONING AGREEMENT ARISING
POST-EFFECTIVE DATE AND ANY SECURITY OBTAINED, PROVIDED, OR
PLEDGED IN CONNECTION WITH THE DECOMMISSIONING AGREEMENT WILL
BE PRESERVED AND ANY AND ALL CLAIMS FWE I MAY HAVE AGAINST THE
APACHE PSA PARTIES RELATED TO THE DECOMMISSIONING AGREEMENT
ARISING POST-EFFECTIVE DATE AND THE DECOMMISSIONING SECURITY
WILL BE PRESERVED.

                (c)     Release of Liens. Except as otherwise specifically provided in the Plan
(including all Liens securing the FLFO Claims or the First Lien Exit Facility) or in any
contract, instrument, release, or other agreement or document contemplated under or
executed in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is secured and Allowed as of the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the estates shall be fully released and discharged, and all of the
right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Post-Effective Date Debtors and their successors
and assigns, in each case, without any further approval or order of the Bankruptcy Court
and without any action or filing being required to be made by the Debtors. For the
avoidance of doubt, all liens and encumbrances on, interests in, and claims against the
Legacy Apache Properties (as defined in the Apache Term Sheet) and the other FWE I
Assets (as defined in Part A of Schedule I of the Plan of Merger) held by the Prepetition
FLFO Secured Parties, Prepetition FLTL Lenders, and Prepetition SLTL Lenders shall be
released, discharged, and of no further force or effect as of the Effective Date.

              10.8   Exculpation.

          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EXCEPT FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE
EFFECTIVE DATE TO ENFORCE THE PLAN, THE CONFIRMATION ORDER AND
THE OBLIGATIONS CONTEMPLATED BY THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE APACHE DEFINITIVE DOCUMENTS, ANY ADDITIONAL
PREDECESSOR AGREEMENT DOCUMENTS, THE FIRST LIEN EXIT FACILITY
COMMITMENT LETTER, THE CREDIT BID PURCHASE AGREEMENT, THE
SECOND LIEN BACKSTOP COMMITMENT LETTER, THE EXIT FACILITY
DOCUMENTS, THE EQUITY RIGHTS OFFERINGS, THE ERO BACKSTOP
AGREEMENTS, AND THE RESTRUCTURING TRANSACTIONS, NO EXCULPATED
PARTY WILL HAVE OR INCUR, AND EACH EXCULPATED PARTY WILL BE
RELEASED AND EXCULPATED FROM, ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, DEMAND, DEBT, RIGHT, REMEDY LOSS, LIABILITY AND


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CAUSE OF ACTION IN CONNECTION WITH OR ARISING OUT OF THE
ADMINISTRATION OF THE CHAPTER 11 CASES; THE NEGOTIATION AND
PURSUIT OF THE DIP FACILITY, THE CREDIT BID PURCHASE AGREEMENT,
THE NEW MONEY INVESTMENT, THE EXIT FACILITY DOCUMENTS, THE FIRST
LIEN EXIT FACILITY COMMITMENT LETTER, THE SECOND LIEN BACKSTOP
COMMITMENT LETTER, THE EQUITY RIGHTS OFFERINGS, THE ERO
BACKSTOP AGREEMENTS, THE APACHE DEFINITIVE DOCUMENTS, ANY
ADDITIONAL PREDECESSOR AGREEMENT DOCUMENTS, THE DISCLOSURE
STATEMENT, THE RESTRUCTURING, THE PLAN (INCLUDING THE PLAN
SUPPLEMENT), AND ALL DOCUMENTS RELATING TO THE FOREGOING, OR
THE SOLICITATION OF VOTES FOR, OR CONFIRMATION OF, THE PLAN; THE
FUNDING OF THE PLAN; THE OCCURRENCE OF THE EFFECTIVE DATE; THE
ADMINISTRATION OF THE PLAN OR THE PROPERTY TO BE DISTRIBUTED
UNDER THE PLAN; THE ISSUANCE OF SECURITIES UNDER OR IN CONNECTION
WITH THE PLAN; THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE
OR SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE
DEBTORS; OR THE TRANSACTIONS IN FURTHERANCE OF ANY OF THE
FOREGOING; OTHER THAN CLAIMS OR CAUSES OF ACTION ARISING OUT OF
OR RELATED TO ANY ACT OR OMISSION OF AN EXCULPATED PARTY THAT
CONSTITUTES INTENTIONAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
NEGLIGENCE AS DETERMINED BY A FINAL ORDER, BUT IN ALL RESPECTS
SUCH PERSONS WILL BE ENTITLED TO REASONABLY RELY UPON THE
ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO THE PLAN. THE EXCULPATED PARTIES
HAVE ACTED IN COMPLIANCE WITH THE APPLICABLE PROVISIONS OF THE
BANKRUPTCY CODE WITH REGARD TO THE SOLICITATION OF THE PLAN
AND, THEREFORE, ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS
WILL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF ANY
APPLICABLE LAW, RULE, OR REGULATION GOVERNING THE SOLICITATION
OF ACCEPTANCES OR REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS
MADE PURSUANT TO THE PLAN. THE EXCULPATION WILL BE IN ADDITION
TO, AND NOT IN LIMITATION OF, ALL OTHER RELEASES, INDEMNITIES,
EXCULPATIONS, AND ANY OTHER APPLICABLE LAW OR RULES PROTECTING
SUCH EXCULPATED PARTIES FROM LIABILITY.

              10.9    Injunction Related to Releases and Exculpation.

                 The Confirmation Order shall permanently enjoin the commencement or
prosecution by any Person or entity, whether directly, derivatively, or otherwise, of any Claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses, or
liabilities released pursuant to the Plan, including the claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, and liabilities released or exculpated in the
Plan or the Confirmation Order.




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               10.10 Subordinated Securities Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments thereof under the Plan take into account and
conform to the relative priority and rights of the Claims and Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, sections 510(a), 510(b), or 510(c) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
reserve the right to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

               10.11 Retention of Causes of Action and Reservation of Rights.

                (a)     Except as otherwise provided in the DIP Order or Plan, including Sections
10.5, 10.6, 10.7, 10.8 and 10.9, nothing contained in the Plan or the Confirmation Order shall be
deemed to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff
or recoupment, or other legal or equitable defenses that the Debtors had immediately before the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law. The Post-Effective Date Debtors shall
have, retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff
or recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not
been commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired
Claim may be asserted after the Confirmation Date and Effective Date to the same extent as if
the Chapter 11 Cases had not been commenced.

               (b)    Notwithstanding Section 10.11(a), on the Effective Date, the Post-
Effective Date Debtors shall be deemed to have released all preference actions pursuant to
section 547 of the Bankruptcy Code against the holders of Unsecured Trade Claims and General
Unsecured Claims (in each case, solely in their capacity as holders of Unsecured Trade Claims
and General Unsecured Claims, as applicable).

               10.12 Ipso Facto and Similar Provisions Ineffective.

                Any term of any prepetition policy, prepetition contract, or other prepetition
obligation applicable to a Debtor shall be void and of no further force or effect with respect to
any Debtor to the extent that such policy, contract, or other obligation is conditioned on, creates
an obligation of the Debtor as a result of, or gives rise to a right of any entity based on any of the
following: (a) the insolvency or financial condition of a Debtor; (b) the commencement of the
Chapter 11 Cases; (c) the confirmation or consummation of the Plan, including any change of
control that shall occur as a result of such consummation; or (d) the Restructuring.

               10.13 Indemnification and Reimbursement Obligations.

                For purposes of the Plan, (a) Indemnification Obligations to current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity before, on or subsequent to the Petition Date shall be assumed by the Post-
Effective Date Debtors and (b) Indemnification Obligations of the Debtors arising from services
as current and former directors, officers, members, managers, agents or employees of any of the

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Debtors who served in such capacity during the period from and after the Petition Date shall be
Administrative Expense Claims. In addition, after the Effective Date, the Post-Effective Date
Debtors shall not terminate or otherwise reduce the coverage under any current and former
directors’, officers’, members’, managers’, agents’ or employees’ insurance policies (including
any “tail policy”) in effect as of the Petition Date, and all current and former directors, officers,
members, managers, agents or employees of any of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of any such policy for the
full term of such policy regardless of whether such members, managers, directors, and/or officers
remain in such positions after the Effective Date to the extent set forth in such policies.



ARTICLE XI.            RETENTION OF JURISDICTION.

               11.1    Retention of Jurisdiction.

               Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11 Cases for,
among other things, the following purposes:

                (a)  to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and any disputes over Cure Amounts
resulting therefrom;

               (b)     to determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the entry of the Confirmation
Order;

               (c)   to hear and resolve any disputes arising from or related to (i) any orders of
the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or (ii) any protective orders
entered by the Bankruptcy Court in connection with the foregoing;

               (d)      to ensure that distributions to holders of Allowed Claims are accomplished
as provided in the Plan and the Confirmation Order and to adjudicate any and all disputes arising
from or relating to distributions under the Plan;

               (e)   to consider Claims or the allowance, classification, priority, compromise,
estimation, or payment of any Claim, including any Administrative Expense Claim;

              (f)    to enter, implement, or enforce such orders as may be appropriate in the
event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

               (g)    to issue and enforce injunctions, enter and implement other orders, and
take such other actions as may be necessary or appropriate to restrain interference by any Person



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or other Entity with the consummation, implementation, or enforcement of the Plan, the
Confirmation Order, or any other order of the Bankruptcy Court;

              (h)      to hear and determine any application to modify the Plan in accordance
with section 1127 of the Bankruptcy Code to remedy any defect or omission or reconcile any
inconsistency in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

               (i)    to hear and determine all Fee Claims;

               (j)    to resolve disputes concerning any reserves with respect to Disputed
Claims or the administration thereof;

                (k)   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Confirmation Order, any
transactions or payments in furtherance of either, or any agreement, instrument, or other
document governing or related to any of the foregoing;

               (l)    to take any action and issue such orders, including any such action or
orders as may be necessary after entry of the Confirmation Order or the occurrence of the
Effective Date, as may be necessary to construe, enforce, implement, execute, and consummate
the Plan, including any release, exculpation, or injunction provisions set forth in the Plan,
following the occurrence of the Effective Date;

               (m)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (n)    to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

               (o)    to hear and determine any other matters related to the Chapter 11 Cases
and not inconsistent with the Bankruptcy Code or title 28 of the United States Code;

                (p)     to resolve any disputes concerning whether a Person or entity had
sufficient notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in
connection with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any
deadline for responding or objecting to a Cure Amount, in each case, for the purpose for
determining whether a Claim or Interest is discharged hereunder or for any other purpose;

               (q)   to hear and determine any rights, Claims, or Causes of Action held by or
accruing to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or
legal theory;

               (r)    to recover all Assets of the Debtors and property of the Estates, wherever
located;



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               (s)    to hear and determine matters related to the DIP Facility and the DIP
Order; and

               (t)    to enter a final decree closing each of the Chapter 11 Cases.

Notwithstanding anything in this Article XI to the contrary, as of the Effective Date, the Exit
Facility Documents and any other documents related thereto, including the New Intercreditor
Agreement, shall be governed by the jurisdictional provisions therein and the Bankruptcy Court
shall not retain jurisdiction with respect thereto.



ARTICLE XII.          MISCELLANEOUS PROVISIONS.

               12.1   Payment of Statutory Fees

                On the Effective Date and thereafter as may be required, the Debtors or the Post-
Effective Date Debtors, as applicable, shall pay all Statutory Fees that are due and payable,
together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for each
Debtor’s case. The obligations under this Section 12.1 shall remain for each Debtor until such
time as a final decree is entered closing the Chapter 11 Case for such Debtor, a Final Order
converting such Debtor’s Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code is
entered, or a Final Order dismissing such Debtor’s Chapter 11 Case is entered.

               12.2   Exemption from Certain Transfer Taxes.

                 Pursuant to and to the fullest extent permitted by section 1146 of the Bankruptcy
Code, (a) the issuance, transfer or exchange of any securities, instruments or documents, (b) the
creation of any Lien, mortgage, deed of trust or other security interest, (c) all sale transactions
consummated by the Debtors and approved by the Bankruptcy Court on and after the
Confirmation Date through and including the Effective Date, including any transfers effectuated
under the Plan, (d) any assumption, assignment, or sale by the Debtors of their interests in
unexpired leases of nonresidential real property or executory contracts pursuant to section 365(a)
of the Bankruptcy Code, (e) the grant of collateral under the Standby Loan Agreement and (f) the
issuance, renewal, modification or securing of indebtedness by such means, and the making,
delivery or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, sales tax, use tax or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, parish, city or Governmental Unit in which any instrument hereunder is to be recorded
shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp
tax, transfer tax, intangible tax or similar tax.




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               12.3    Request for Expedited Determination of Taxes.

                The Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and
all taxable periods ending after the Petition Date through the Effective Date.

               12.4    Dates of Actions to Implement Plan.

              In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

               12.5    Amendments.

               (a)     Plan Modifications. Subject to (i) the consent rights set forth in the
Restructuring Support Agreement, (ii) the reasonable consent of the Creditors’ Committee solely
to the extent that it adversely impacts the holders of General Unsecured Claims or Unsecured
Trade Claims and (iii) the reasonable consent of the Prepetition FLFO Administrative Agent, the
Plan may be amended, modified, or supplemented by the Debtors in the manner provided for by
section 1127 of the Bankruptcy Code or as otherwise permitted by law, without additional
disclosure pursuant to section 1125 of the Bankruptcy Code, except as otherwise ordered by the
Bankruptcy Court. In addition, after the Confirmation Date, so long as such action does not
materially and adversely affect the treatment of holders of Allowed Claims pursuant to the Plan,
the Debtors, with (i) the consent of the Required DIP Lenders, and the Requisite FLTL Lenders,
(ii) the reasonable consent of the Creditors’ Committee solely to the extent that it adversely
impacts the holders of General Unsecured Claims or Unsecured Trade Claims, and (iii) the
reasonable consent of the Prepetition FLFO Administrative Agent, may remedy any defect or
omission or reconcile any inconsistencies in the Plan or the Confirmation Order with respect to
such matters as may be necessary to carry out the purposes of effects of the Plan, and any holder
of a Claim or Interest that has accepted the Plan shall be deemed to have accepted the Plan as
amended, modified, or supplemented. The Debtors, subject to (i) the consent of the Required
DIP Lenders and the Requisite FLTL Lenders and (ii) the applicable consent rights of the
Prepetition FLFO Administrative Agent, shall have the right to amend the documents contained
in, and exhibits to, the Plan Supplement in accordance with the terms of the Plan and the
Restructuring Support Agreement or the First Lien Exit Facility Commitment Letter, as
applicable, through the Effective Date.

              (b)      Certain Technical Amendments. Before the Effective Date, the Debtors,
subject to the consent rights set forth in the Restructuring Support Agreement, may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court.

               12.6    Revocation or Withdrawal of Plan.

              The Debtors reserve the right to revoke or withdraw the Plan before the Effective
Date as to any or all of the Debtors. If, with respect to a Debtor, the Plan has been revoked or
withdrawn before the Effective Date, or if confirmation or the occurrence of the Effective Date

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as to such Debtor does not occur on the Effective Date, then, with respect to such Debtor: (a) the
Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the
Plan (including the fixing or limiting to an amount any Claim or Interest or Class of Claims or
Interests), assumption or rejection of executory contracts or unexpired leases affected by the
Plan, and any document or agreement executed pursuant to the Plan shall be deemed null and
void; and (c) nothing contained in the Plan shall (i) constitute a waiver or release of any Claim
by or against, or any Interest in, such Debtor or any other Person; (ii) prejudice in any manner
the rights of such Debtor or any other Person; or (iii) constitute an admission of any sort by any
Debtor or any other Person.

               12.7    Severability.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is
held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation by the Bankruptcy Court, the remainder of the terms and provisions of the Plan
shall remain in full force and effect and shall in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with this section, is (a) valid and enforceable pursuant to its
terms, (b) integral to the Plan and may not be deleted or modified without the consent of the
Debtors or the Post-Effective Date Debtors (as the case may be) and (c) nonseverable and
mutually dependent.

               12.8    Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable or
to the extent that a Plan Supplement document provides otherwise, the rights, duties, and
obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of Texas, without giving effect to the principles of
conflicts of laws thereof.

               12.9    Immediate Binding Effect.

               Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of the Debtors, the Post-Effective
Date Debtors, the holders of Claims and Interests, the Released Parties, and each of their
respective successors and assigns.

               12.10 Successors and Assigns.

               The rights, benefits, and obligations of any Person named or referred to in the
Plan shall be binding on and shall inure to the benefit of any heir, executor, administrator,
successor, or permitted assign, if any, of each such Person.

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               12.11 Entire Agreement.

              On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order
shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

               12.12 Computing Time.

              In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth in the Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

               12.13 Exhibits to Plan.

                All exhibits, schedules, supplements, and appendices to the Plan (including any
other documents to be executed, delivered, assumed, or performed in connection with the
occurrence of the Effective Date) are incorporated into and are a part of the Plan as if set forth in
full in the Plan.

               12.14 Notices.

               All notices, requests, and demands hereunder shall be in writing (including by
facsimile or email transmission) and, unless otherwise provided herein, shall be deemed to have
been duly given or made only when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

              (a)      If to the Debtors:

               Fieldwood Energy LLC
               2000 W. Sam Houston Parkway, S. Suite 1200
               Houston, Texas 77042
               Attention: Michael Dane and Thomas R. Lamme

                – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, New York 10153
               Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for the Debtors

              (b)      If to the DIP Lenders or FLTL Lenders:

               DAVIS POLK & WARDWELL LLP


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               450 Lexington Avenue
               New York, NY 10017
               Attn: Damian Schaible, Esq. and Natasha Tsiouris, Esq.
               Telephone: (212) 450-4000
               Facsimile: (212) 701-5800

              (c)     If to the Post-Effective Date Debtors:

               [Plan Administrator]
               [Plan Administrator Address]

               – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, New York 10153
               Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for Post-Effective Date Debtors

               A notice is deemed to be given and received (a) if sent by first-class mail,
personal delivery, or courier, on the date of delivery if it is a Business Day and the delivery was
made before 4:00 p.m. (local time in place of receipt) and otherwise on the next Business Day, or
(b) if sent by electronic mail, when the sender receives an email from the recipient
acknowledging receipt; provided that an automatic “read receipt” does not constitute
acknowledgment of an email for purposes of this Section. Any party may change its address for
service from time to time by providing a notice in accordance with the foregoing. Any element
of a party’s address that is not specifically changed in a notice will be assumed not to be
changed.

               After the occurrence of the Effective Date, the Post-Effective Date Debtors and
Plan Administrator have authority to send a notice to entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such entities must file a renewed request to
receive documents pursuant to Bankruptcy Rule 2002; provided, that the U.S. Trustee need not
file such a renewed request and shall continue to receive documents without any further action
being necessary. After the occurrence of the Effective Date, the Post-Effective Date Debtors are
authorized to limit the list of entities receiving documents pursuant to Bankruptcy Rule 2002 to
the U.S. Trustee and those entities that have filed such renewed requests.

               12.15 Reservation of Rights.

               Except as otherwise provided herein, the Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of the Plan, any
statement or provision of the Plan, or the taking of any action by the Debtors with respect to the
Plan shall be or shall be deemed to be an admission or waiver of any rights of (a) the Debtors



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with respect to any Claims or Interests before the Effective Date or (b) any holder of a Claim or
Interest or other entity before the Effective Date.

               12.16 Dissolution of Creditors’ Committee.

               On the Effective Date, the Creditors’ Committee shall dissolve, and the members
thereof shall be released and discharged from all rights and duties arising from, or related to, the
Chapter 11 Cases, provided that following the Effective Date, the Creditors’ Committee shall
continue in existence and have standing and a right to be heard for the following limited
purposes: (a) Claims and/or applications, and any relief related thereto, for compensation by
Professional Persons retained in the Chapter 11 Cases pursuant to sections 327, 328, 329, 330,
331, 503(b), or 1103 of the Bankruptcy Code and requests for allowance of Administrative
Expense Claims for substantial contribution pursuant to section 503(b)(3)(D) of the Bankruptcy
Code; and (b) any appeals of the Confirmation Order or other appeals to which the Creditors’
Committee is a party.




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                                                     Annex D
                                        Additional Termination Events1

Any of the following shall occur (unless otherwise consented to in writing by GS Bank):
        (a)    the failure of the Debtors to file the Plan before the hearing to consider approval
of the Disclosure Statement;

       (b)    the Plan is withdrawn, amended, or otherwise modified so as to be inconsistent
with the consent rights in this Commitment Letter, the First Lien Exit Facility Term Sheet, or the
Plan;

        (c)     any of the Debtors files, announces, or commits in writing to any party (i) its
intention not to support the Plan or pursue the Restructuring Transactions or (ii) its intention to
support an alternative restructuring proposal or sale which would, without the consent of GS
Bank (which, in the case of clauses (b) and (e) below, shall not to be unreasonably withheld) (a)
individually or in the aggregate, result in a reduction of 10% or more of the total PV-10 of total
2P reserves comprising the assets acquired by the Credit Bid Purchaser (which shall be
calculated by reference to the FWE YE2020 Internal Reserve Report (as of 5.1.21)), (b) result in
any contract rights constituting material assets not being acquired by the Credit Bid Purchaser,
(c) individually or in the aggregate, result in an increase by $40.0 million or more (which, for the
avoidance of doubt, in the case of plugging and abandonment liabilities, shall be calculated on a
present value basis) in liabilities assumed by the Credit Bid Purchaser, (d) provide for any
change in treatment of the Prepetition FLFO Credit Agreement or First Lien Exit Facility, or (e)
provide for any differences from the Approved Credit Bid Purchase Agreement that are
materially adverse to the interests of the First Lien Exit Facility Agent and the First Lien Exit
Facility Lenders, in each case of sub-clauses (a) thru (e) above, relative to as contemplated under
the Plan and/or the Approved Credit Bid Purchase Agreement, as applicable;

        (d)      (i) any of the Debtors (A) file any motion seeking to avoid, disallow, subordinate,
or recharacterize all or any portion of the FLFO Claims or any lien or interest related thereto or
(B) shall have directly or indirectly supported any application, adversary proceeding, motion, or
cause of action referred to in the immediately preceding clause (A) filed by a third party, or
consents to the standing of any such third party to bring such application, adversary proceeding,
motion, or cause of action; or (ii) the Bankruptcy Court enters an order or judgment avoiding,
disallowing, subordinating, or recharacterizing all or any portion of the FLFO Claims or any lien
or interest related thereto;

        (e)    the Bankruptcy Court enters an order denying confirmation of the Plan and such
order remains in effect for 10 days after the entry of such order;

       (f)    the Plan Effective Date does not occur on or before 11:59 p.m. (prevailing Eastern
Time) on the earlier of (i) the Outside Expiration Time (as defined in the Second Lien Backstop
Commitment Letter (which is as defined in the Plan) and (ii) July 31, 2021;

1
 All capitalized terms used but not defined herein have the meanings given to them in the Plan (as defined in the
Commitment Letter to which this Annex D is attached) or in the Commitment Letter, as context may require.


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        (g)    the acceleration of the loans or the termination of the commitments under the DIP
Facility or the termination or expiration of the Debtors’ authority to use Cash Collateral (as
defined in the DIP Order) that has not been waived or timely cured in accordance therewith;

       (h)     the Bankruptcy Court enters an order modifying or terminating the Debtors’
exclusive right to file and/or solicit acceptances of a plan of reorganization;

       (i)   the breach by the Company of its obligations to provide any fee, indemnity, or
expense reimbursement under this Commitment Letter, or any purported assignment of this
Commitment Letter other than as permitted by this Commitment Letter;

       (j)     the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any ruling or order that enjoins the consummation of any
portion of the Restructuring Transactions;

        (k)    the Bankruptcy Court grants relief terminating, annulling, or modifying the
automatic stay (as set forth in Section 362 of the Bankruptcy Code) with regard to any assets of
the Company that individually or in the aggregate result in a reduction of 10% or more of the
total PV-10 of total proved reserves that would otherwise comprise assets that are being
transferred to NewCo and its Subsidiaries under the Plan (which shall be calculated by reference
to the FWE YE2020 Internal Reserve Report (as of 5.1.21)) without the prior written consent of
GS Bank;

        (l)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by the Debtors seeking an order (without the prior written consent of GS Bank),
(i) dismissing one or more of the Chapter 11 Cases, or (ii) seeking to avoid its obligations under
or reject this Commitment Letter; or

      (m)   any of the following documents or the commitments thereunder have terminated
or expired: (i) the Restructuring Support Agreement, (ii) the Second Lien Backstop
Commitment Letter, or (iii) the ERO Backstop Agreement.




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                                Exhibit J
                   Second Lien Exit Facility Term Sheet
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              UP TO $185.0 MILLION SENIOR SECURED SECOND LIEN TERM LOAN FACILITY
                             “SECOND LIEN EXIT FACILITY TERM SHEET”

                              SUMMARY OF PRINCIPAL TERMS AND CONDITIONS1

Set forth below is a summary of certain principal terms for the Second Lien Exit Facility (as defined
below). This summary of terms is for indicative purposes only and does not purport to summarize all of
the terms of the definitive documentation for the Second Lien Exit Facility. These terms are subject to
change based upon ongoing discussions and final negotiation of definitive documentation.

BORROWER:                           Credit Bid Purchaser (the “Borrower”), a newly formed special purpose
                                    bidding entity, which will be the purchaser of certain of the Debtors’
                                    assets.

AGENT:                              An institution to be mutually agreed will act as sole administrative agent
                                    and collateral agent (collectively, in such capacities, the “Second Lien
                                    Exit Facility Agent”, and as used in this Exhibit J, the “Administrative
                                    Agent”).

LENDERS:                            Each of the Backstop Commitment Parties and certain DIP Lenders (or,
                                    in each case, any of their affiliated or related funds) that elect to provide
                                    a commitment in respect of the Second Lien Exit Facility (collectively,
                                    the “Second Lien Term Lenders”). On the Closing Date (as defined
                                    below), the Second Lien Term Loans may be funded, in full or in part,
                                    by a seasoning institution.

SECOND LIEN EXIT                    A senior secured second lien term loan facility (the “Second Lien Exit
FACILITY:                           Facility”) that shall become effective on the effective date of the Plan
                                    (the “Plan Effective Date”) in an amount of up to $185.0 million
                                    comprised of:

                                    (a) $100.0 million of second lien term loans (the “DIP Replacement
                                    Second Lien Loans”); and

                                    (b) additional second lien term loans (the “New Money Second Lien
                                    Loans” and, together with the DIP Replacement Second Lien Loans, the
                                    “Second Lien Term Loans”) in an amount equal to the lesser of (i) $85.0
                                    million and (ii) the amount necessary to provide the Borrower with no
                                    less than $100.0 million of cash on hand on the Effective Date, after
                                    giving effect to all transactions to occur on the Effective Date (calculated
                                    pursuant to a process and at a time to be mutually agreed).

                                    The Second Lien Term Loans shall be funded in cash on the Closing
                                    Date; provided that any Second Lien Term Lender that is a DIP Lender

1 All capitalized terms used but not defined herein have the meanings given to them in the Joint Chapter 11 Plan of Fieldwood

Energy LLC and its Affiliated Debtors (the “Plan”) and the Disclosure Statement for Joint Chapter 11 Plan of Fieldwood Energy
LLC and its Affiliated Debtors (the “Disclosure Statement”) to which this Second Lien Exit Facility Term Sheet is attached and
the other exhibits attached to such Disclosure Statement. In the event any such capitalized term is subject to multiple and
differing definitions, the appropriate meaning thereof for purposes of this Exhibit J shall be determined by reference to the
context in which it is used.



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                              may elect to fund its Second Lien Term Loans on the Closing Date on a
                              cashless basis by converting the outstanding principal amount of any of
                              its DIP Loans into Second Lien Term Loans. The Second Lien Exit
                              Facility shall be secured on a junior basis to the First Lien Exit Facility
                              and any permitted hedging obligations.

INCREMENTAL SECOND            The Second Lien Exit Facility Credit Agreement will permit incremental
LIEN TERM FACILITIES:         indebtedness in a manner acceptable to the Second Lien Term Lenders,
                              and, in any event, will permit the Borrower, on up to two occasions, to
                              incur separate classes of additional term loans or increases in existing
                              term loans (the “Incremental Second Lien Term Loans”), in each case,
                              in an aggregate principal amount not less than $25.0 million and, in the
                              case of all incremental term debt incurred pursuant to this “Incremental
                              Second Lien Term Facilities” section, in an aggregate principal amount
                              not to exceed $50.0 million (each, an “Incremental Second Lien Term
                              Facility”), so long as, at the time the Borrower seeks commitments in
                              respect of an Incremental Second Lien Term Facility, either (i) the
                              aggregate cash and cash equivalents of the Borrower and its subsidiaries
                              are less than $80.0 million as of such date (or, in the good faith
                              determination of the board of directors of the Borrower, are anticipated
                              to be less than $80.0 million as of the proposed date of incurrence of
                              such Incremental Second Lien Term Facility) or (ii) the board of
                              directors of the Borrower, in its good faith judgment, determines that the
                              incurrence of such Incremental Second Lien Term Facility is in the best
                              interest of the Borrower and its subsidiaries. Incremental Second Lien
                              Term Loans shall be subject to terms and conditions usual and
                              customary for financings of this type to be agreed, including, without
                              limitation, a “most favored nation” provision pursuant to which, if the
                              all-in yield of any Incremental Second Lien Term Loans exceeds the all-
                              in yield of the initial Second Lien Term Loans by more than 50 bps, the
                              interest rate of initial the Second Lien Term Loans shall be automatically
                              increased by a percentage that would cause such all-in yield differential
                              not to exceed 50 bps. No Second Lien Term Lender will have an
                              obligation to make any Incremental Second Lien Term Loan.

PURPOSE:                      The proceeds of the Second Lien Term Loans will be used by the
                              Borrower on the Plan Effective Date (the “Closing Date”) in accordance
                              with and as provided in the Plan and, after the Closing Date, to finance
                              the working capital needs and other general corporate purposes of the
                              Borrower and its subsidiaries.

AVAILABILITY:                 The full amount of the Second Lien Exit Facility must be drawn in a
                              single drawing on the Closing Date; amounts borrowed thereunder that
                              are repaid or prepaid may not be reborrowed.

AMORTIZATION:                 None.

                              All amounts outstanding under the Second Lien Exit Facility shall be
                              paid in full on the Second Lien Term Loan Maturity Date (as defined
                              below).




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INTEREST RATES AND            Interest rates under the Second Lien Exit Facility will be calculated, at
FEES:                         the option of the Borrower, at Adjusted LIBOR (subject to a 1.00%
                              floor) plus the Applicable Margin (as defined below) or ABR (subject to
                              a 2.00% floor) plus the Applicable Margin.

                              Additionally, on each interest payment date, at any time that the
                              aggregate cash and cash equivalents of the Borrower and its subsidiaries
                              is less than $75.0 million as at the end of the most recently ended fiscal
                              quarter, the Borrower may elect, in its sole discretion, to pay a portion of
                              the accrued interest payable on the Second Lien Term Loans in kind (the
                              “PIK Election”) by adding an amount equal to 5.00% per annum to the
                              outstanding principal amount of the Second Lien Term Loans on such
                              interest payment date.

                              “Applicable Margin” is (i) in the case of Adjusted LIBOR loans, 8.00%
                              per annum (or, at any time that the Borrower shall have made a PIK
                              Election, 4.75% per annum) and (ii) in the case of ABR loans, 7.00% per
                              annum (or, at any time that the Borrower shall have made a PIK
                              Election, 3.75% per annum).

                              The Borrower shall pay an upfront fee (the “Upfront Fee”) equal to
                              2.00% of the funded amount of the Second Lien Exit Facility on the
                              Closing Date to the Second Lien Exit Facility Agent for the ratable
                              account of each Second Lien Term Lender. Other than with respect to
                              DIP Loans which are converted into Second Lien Term Loans (with
                              respect to which the Upfront Fee shall be paid in cash), the Upfront Fee
                              shall be paid in the form of original issue discount by deducting such
                              Upfront Fee from the proceeds of the Second Lien Exit Facility on the
                              Closing Date.

FINAL MATURITY:               The Second Lien Exit Facility will mature on the date that is five years
                              after the Closing Date (the “Second Lien Term Loan Maturity Date”).

GUARANTEES:                   All obligations of the Borrower under the Second Lien Exit Facility will
                              be jointly and severally unconditionally guaranteed on a second lien
                              secured basis (the “Second Lien Guarantees”) by the same guarantors
                              that guarantee the First Lien Exit Facility (it being understood that the
                              subsidiary guarantee requirements under the Second Lien Exit Facility
                              will be consistent with the subsidiary guarantee requirements under the
                              First Lien Exit Facility).

SECURITY:                     The obligations of the Borrower under the Second Lien Exit Facility and
                              the Second Lien Guarantees will be secured by a perfected second lien
                              security interest in the same collateral that secures the First Lien Exit
                              Facility (it being understood that the collateral requirements under the
                              Second Lien Exit Facility will be consistent with the collateral
                              requirements under the First Lien Exit Facility).


VOLUNTARY                     Prepayments of borrowings under the Second Lien Exit Facility will be



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PREPAYMENTS:                  permitted at any time without premium or penalty.

REPRESENTATIONS AND           The Second Lien Exit Facility Documents will contain representations
WARRANTIES:                   and warranties acceptable to the Second Lien Term Lenders and
                              substantially consistent with the corresponding provisions set forth in the
                              First Lien Exit Facility Documents.

CONDITIONS PRECEDENT:         The closing of the Second Lien Exit Facility will be subject to conditions
                              precedent acceptable to the Second Lien Term Lenders and usual and
                              customary for financings of this type and otherwise as set forth in the
                              Backstop Commitment Letter and, with respect to documentary
                              conditions, acceptable to the Second Lien Term Lenders and
                              substantially consistent with the corresponding documentary conditions
                              set forth in the First Lien Exit Facility Documents with appropriate
                              modifications to reflect the second lien status of the Second Lien Exit
                              Facility.

AFFIRMATIVE                   The Second Lien Exit Facility Documents will contain affirmative
COVENANTS:                    covenants acceptable to the Second Lien Term Lenders and substantially
                              consistent with the corresponding provisions set forth in the First Lien
                              Exit Facility Documents, with appropriate modifications to reflect the
                              second lien status of the Second Lien Exit Facility.

NEGATIVE COVENANTS:           The negative covenants shall be acceptable to the Second Lien Term
                              Lenders and substantially consistent with the corresponding provisions
                              set forth in the First Lien Exit Facility Documents, with (a) appropriate
                              modifications to reflect the second lien status of the Second Lien Exit
                              Facility, and (b) monetary baskets and thresholds set at an additional
                              cushion to be agreed against the applicable basket or threshold in the
                              First Lien Exit Facility Documents.

FINANCIAL COVENANT:           None.

EVENTS OF DEFAULT:            The Second Lien Exit Facility Documents will contain events of default
                              acceptable to the Second Lien Term Lenders and substantially consistent
                              with the corresponding provisions set forth in the First Lien Exit Facility
                              Documents, with (a) appropriate modifications to reflect the second lien
                              status of the Second Lien Exit Facility and (b) cross-acceleration (instead
                              of cross-default) and cross-payment event of default at maturity to the
                              First Lien Exit Facility.




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                               Exhibit K
               Apache Term Sheet Implementation Agreement
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               First Amended Apache Term Sheet Implementation Agreement

       This FIRST AMENDED IMPLEMENTATION AGREEMENT (the “Agreement”) is

made and entered into effective as of January 1, 2021, by and among (a) Fieldwood Energy LLC,

a Delaware limited liability company (“FWE”), and GOM Shelf LLC, a Delaware limited liability

company (collectively, the “Fieldwood PSA Parties”) and (b) Apache Corporation (“Apache”),

Apache Shelf, Inc., Apache Deepwater LLC, and Apache Shelf Exploration LLC (collectively, the

“Apache PSA Parties”) (each, a “Party” and collectively, the “Parties”) to implement the

transactions contemplated by or related to the term sheet attached hereto as Exhibit A (the

“Apache Term Sheet”).

                                           RECITALS

       WHEREAS, on July 31, 2020, the Parties executed a letter agreement whereby each of the

Parties agreed (i) to work to implement the terms of the Apache Term Sheet in accordance

therewith and (ii) to execute and support a restructuring support agreement with certain consent

rights for Apache and consistent in all respects with the terms of the Apache Term Sheet;

       WHEREAS, commencing on August 3, 2020 (the “Petition Date”), FWE and certain of

its affiliates each filed with the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Court”) a voluntary case under chapter 11 of title 11 of the United States Code;

       WHEREAS, Apache asserts that it holds prepetition audit claims against FWE related to

(a) the 2013 audit of WC 72 for 2011-12 for the remaining amount of $10,222.37 which amount

was included on the April 2016 JIB relating to ENI’s debit pay, (b) credits from Noble Energy to

Apache for VK 917 and 962 as shown on the August 2018 JIB in the amount of $11,413.53, and

(c) joint venture expenditure audits #17.2.12 relating to East Breaks 158/159 for 2017, #19.2.11

relating to the Main Pass 302 #B19 Well for 2019, #19.2.12 relating to East Breaks 158/159 for

2019, and #19.2.22 relating to Viosca Knoll 917/961/962 (Swordfish) for 2019 in the aggregate
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net amount of $115,969 (collectively, the “Apache Audit Claims”); Apache, as a beneficiary of

The Fieldwood Decommissioning Trust A (“Trust A”) created pursuant to that certain Trust

Agreement, dated September 30, 2013, by and among the Fieldwood PSA Parties, as Settlors and

Primary Beneficiaries, and the Apache PSA Parties and Apache Shelf Exploration LLC, as

Secondary Beneficiaries, as amended, and pursuant to an audit conducted on behalf of Trust A

relating to the Fourth and Fifth Amendments to the Decommissioning Agreement, asserts that it

holds prepetition claims against FWE relating to funds allegedly improperly withdrawn from Trust

A in the aggregate amount of approximately $1,514,236.00 (the “Apache Trust A Claims”); and

Apache asserts that it holds claims against FWE related to FWE’s obligations under the

Decommissioning Agreement 1 (the “Decommissioning Claims” and, together with the Apache

Audit Claims, the Apache Trust A Claims, and any other prepetition claim Apache may assert, the

“Apache Claims”);

        WHEREAS, the Bankruptcy Court has established a general bar date of 5:00 p.m. (Central

Time) on November 25, 2020 (the “General Bar Date”) for filing proofs of claim against the

Fieldwood PSA Parties; the Parties hereto entered into that certain stipulation, dated as of

November 24, 2020, thereby agreeing to extend the General Bar Date as to the Apache Claims in

contemplation of the resolution of the Apache Claims as set forth in the RSA (as defined below),

the Apache Term Sheet, and the Apache Definitive Documents (as defined below);




1
  Specifically, per the terms of the Decommissioning Agreement (each capitalized term used herein without definition
is as defined in the Decommissioning Agreement), FWE’s Required Spend for decommissioning the Legacy Apache
Properties for Plan Year 2020 was $80,000,000.00. According to FWE’s records, only approximately $31,730,441.00
was spent by FWE in Plan Year 2020 on such decommissioning obligations, creating a shortfall of the Required Spend
of approximately $48,269,559 (the “2020 Shortfall”). Upon Apache’s information and belief, FWE has not funded
the 2020 Shortfall into Trust A, as required pursuant to the terms of the Decommissioning Agreement. Accordingly,
one of the Decommissioning Claims Apache asserts it holds against FWE is for the 2020 Shortfall.




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        WHEREAS, that certain Restructuring Support Agreement, dated as of August 4, 2020 (as

amended, 2 the “RSA”), was entered into by and among (i) the Company 3 (including the Fieldwood

PSA Parties); (ii) the Consenting FLTL Lenders; (iii) the Consenting SLTL Lenders (together with

the Consenting FLTL Lenders, the “Consenting Creditors”); and (iv) Apache (collectively, the

“RSA Parties”), pursuant to which the RSA Parties agreed to support a financial restructuring of

the Company as provided therein;

        WHEREAS, the Company and the Consenting Creditors have agreed that certain interests

in certain non-Legacy Apache Properties and the properties included in the fields listed on

Schedule A to the Apache Term Sheet as “Ownership and Operatorship” (the “Retained

Properties”) (such non-Legacy Apache Properties and the Retained Properties, collectively, the

“Credit Bid Acquired Interests”) will be sold and conveyed to, and certain liabilities and

obligations of the Debtors will be assumed by and will constitute liabilities and obligations of

(such liabilities and obligations, collectively, the “Credit Bid Assumed Liabilities”), an entity to

be formed for purposes of consummating the transactions under the Credit Bid Purchase

Agreement (“Credit Bid Purchaser”), pursuant to a purchase and sale agreement (the “Credit

Bid Purchase Agreement”);

        WHEREAS, pursuant to the RSA, the Company agreed to, among other things:

(i) negotiate in good faith the definitive documents implementing the transactions contemplated

by or relating to the Apache Term Sheet (the “Apache Definitive Documents”); (ii) use

commercially reasonable efforts to execute and deliver the Apache Definitive Documents; and


2
  Since the RSA was executed on August 4, 2020, additional lenders holding FLTL Claims and/or SLTL Claims
have executed joinders to the RSA, including members of the ad hoc group of holders of Prepetition SLTL Loans
that is represented by the Ad Hoc Group of SLTL Advisors (each as defined in the Plan (as defined below)).
3
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the RSA, unless
indicated otherwise.




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(iii) use commercially reasonable efforts to consummate the transactions contemplated under the

Apache Definitive Documents;

       WHEREAS, pursuant to the RSA, Apache agreed to, among other things: (i) support and

take all actions necessary or reasonably requested by the Company to facilitate the finalization of

the Apache Definitive Documents; and (ii) support and take all actions necessary or reasonably

requested by the Company to facilitate the transactions contemplated under the Apache Definitive

Documents;

       WHEREAS, pursuant to the RSA, the Apache Definitive Documents shall be in a form

reasonably acceptable to the Company, Apache, the Requisite DIP Commitment Parties, and the

Requisite FLTL Lenders;

       WHEREAS, pursuant to the Apache Term Sheet, Apache acknowledged and agreed that

the Apache Definitive Documents shall be subject to the approval of holders of consent rights as

set forth in the RSA, which approval shall not be unreasonably withheld, it being understood that

good faith negotiations with respect to matters not addressed in the Apache Term Sheet or the

Restructuring Term Sheet shall not be considered unreasonably withholding approval;

       WHEREAS, the Apache Term Sheet provides that the parties thereto agree to negotiate

mutually agreeable Apache Definitive Documents no later than 45 days after the Petition Date,

which deadline the Parties have mutually agreed to extend to January 1, 2021;

       WHEREAS, the RSA provides that it shall be a DIP Commitment Parties Termination

Event if the Company shall not have complied with the deadline requiring the finalization of the

Apache Definitive Documents by no later than 75 days after the Petition Date, which deadline has

been extended to January 1, 2021;




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       WHEREAS, pursuant to that certain Senior Secured Debtor-In-Possession Term Loan

Credit Agreement, dated as of August 24, 2020, among Fieldwood Energy Inc., Fieldwood Energy

LLC, the Several Lenders, from time to time, and Cantor Fitzgerald Securities, the Apache

Definitive Documents shall be finalized no later than 75 days after the Petition Date, which

deadline has been extended to January 1, 2021;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth

in this Agreement, and for other good and valuable consideration, the receipt and sufficiency of

which are hereby acknowledged, the parties, intending to be legally bound, agree as follows:

                 1.      Apache Definitive Documents.      The documents below comprise the

Apache Definitive Documents as contemplated in the RSA and the Apache Term Sheet:

       a.        Conversion of FWE into a Texas Limited Liability Company.

                 (i)     Certificate of Conversion (DE) (FWE). Annexed hereto as Exhibit 1.

                 (ii)    Certificate of Conversion (TX) (FWE). Annexed hereto as Exhibit 2.

                 (iii)   Plan of Conversion (TX) (FWE). Annexed hereto as Exhibit 3.

                 (iv)    Certificate of Formation (TX) (FWE). Annexed hereto as Exhibit 4.

       b.        Divisional Merger Documents.

                 (i)     Agreement and Plan of Merger (TX) (FWE) (the “Plan of Merger”).

Annexed hereto as Exhibit 5.

                 (ii)    Certificate of Merger (TX) (FWE). Annexed hereto as Exhibit 5A.

                 (iii)   Certificate of Formation (TX) (Fieldwood Energy I LLC). Annexed hereto

as Exhibit 5B.

       c.        Fieldwood Energy I LLC Agreement. Annexed hereto as Exhibit 6.

       d.        ST 308 Bond Form. Annexed hereto as Exhibit 7.




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       e.      Standby Credit Facility Documents (collectively, the “Standby Credit Facility

Documents”).

               (i)     Standby Loan Agreement. Annexed hereto as Exhibit 8.

               (ii)    Security Agreement. Annexed hereto as Exhibit 9.

               (iii)   Guarantee (Fieldwood Energy I LLC). Annexed hereto as Exhibit 10.

               (iv)    Guarantee (GOM Shelf LLC). Annexed hereto as Exhibit 11.

               (v)     Form of Mortgages. Annexed hereto as Exhibit 12.

       f.      Form of Amendment to Unit Operating Agreement. Annexed hereto as Exhibit 13,

the form of which shall be modified in a manner consistent with the Apache Term Sheet and this

Agreement to amend each operating agreement with respect to the properties included in the fields

listed on Schedule A to the Apache Term Sheet as solely “Operatorship” for which Credit Bid

Purchaser shall become operator, which amendments shall be subject to the same consent rights

of the Required DIP Lenders and Requisite FLTL Lenders as for the Apache Definitive

Documents, and the Parties shall enter into such amendments prior to the closing of the transactions

contemplated by the Credit Bid Purchase Agreement.

       g.      Farmout Agreement. Annexed hereto as Exhibit 14.

       h.      Transition Services Agreement. Annexed hereto as Exhibit 15.

       i.      SEMS Bridging Agreement. Annexed hereto as Exhibit 16.

       j.      Amended BriarLake Sublease. Annexed hereto as Exhibit 17.

       k.      Certification of Rights. Annexed hereto as Exhibit 18.

               2.      Execution of Apache Definitive Documents; Good Faith Cooperation.

Each Party agrees, and Apache expressly acknowledges, that the Company and the Apache PSA

Parties have satisfied the requirements under the Apache Term Sheet and the RSA to negotiate




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mutually agreeable Apache Definitive Documents by the relevant deadlines set forth therein.

Subject to and in accordance with the terms of the RSA and Apache Term Sheet, each of the Parties

shall negotiate any exhibits, amendments, modifications or supplements to the Apache Definitive

Documents in good faith and agree to exercise commercially reasonable efforts with respect to the

negotiation, pursuit, approval, execution, delivery, implementation, and consummation of the

Apache Definitive Documents. The Parties may, by mutual agreement, amend, modify, or

supplement the forms of the Apache Definitive Documents attached hereto or negotiate to add

additional documents to the list of Apache Definitive Documents, consistent with the terms and

conditions herein, in the RSA, and in the Apache Term Sheet, and subject to the consent rights of

the Parties in the RSA and the Apache Term Sheet, as necessary or desirable to effectuate the

Apache Term Sheet and a chapter 11 plan of reorganization that incorporates the transactions

contemplated in the Apache Definitive Documents (the “Plan”). Subject to the immediately

preceding sentence, the Parties shall execute and deliver the Apache Definitive Documents on or

before the effective date of the Plan (the “Effective Date”). Each Party agrees to use commercially

reasonable efforts to execute and deliver the instruments, forms and filings (including any BOEM

designation of operator forms and designated applicant Oil Spill Financial Responsibility

(“OSFR”) form designations and any instruments, forms and filings required by BSEE) that are

necessary to designate and appoint under all applicable laws and contracts the Credit Bid Purchaser

as operator (and, as applicable, the designated applicant under OSFR for) the Credit Bid Acquired

Interests as promptly as practicable following the closing of the Credit Bid Purchase Agreement,

and in any case, prior to the execution and delivery of the instruments, forms and filings (including

any BOEM designation of operator forms and designated applicant OSFR form designations and




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any instruments, forms and filings required by BSEE) that may be required in connection with the

implementation of the Divisive Merger (as defined below).

               3.     FWE I Exhibits to the Plan of Merger. Exhibits I-A(i) through I-K(iii) to

Schedule I to the Plan of Merger (collectively, the “FWE I Exhibits”) set forth a list of Legacy

Apache Properties, which FWE I Exhibits the Apache PSA Parties and the Fieldwood PSA Parties

hereto respectively acknowledge are subject to the ongoing review and consent rights of the

Consenting Creditors under the RSA (which consent has not yet been provided), and the Apache

PSA Parties and Fieldwood PSA Parties agree that the FWE I Exhibits are subject to modification

based on such review to be consistent with the Apache Term Sheet.

               4.     Plan and Confirmation Order. As provided in the RSA, provisions in the

Plan and Confirmation Order that directly affect the structure of FWE I outlined in the Apache

Term Sheet or the economic treatment of Apache remain subject to Apache’s review and must be

in form and substance reasonably acceptable to Apache, and the Plan and Confirmation Order shall

be in form and substance reasonably acceptable to the Debtors, the Requisite DIP Commitment

Parties, and the Requisite FLTL Lenders at all times. To facilitate the implementation of the

Apache Term Sheet and the Apache Definitive Documents pursuant to the Plan as contemplated

in the RSA and the Apache Term Sheet, the Parties agree that subject to the negotiation of mutually

agreeable definitive language, any order of the Bankruptcy Court confirming the Plan (the

“Confirmation Order”) shall provide for the following:

               (i)    FWE shall pay up to $5.5 million of reasonable and documented fees and

expenses of Apache related to the formation of Fieldwood Energy I LLC (“FWE I”) and FWE’s

restructuring, including the negotiation and preparation of the Apache Definitive Documents

(collectively, the “Apache Fees and Expenses”); provided that amounts paid to Apache on




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account of the Apache Fees and Expenses shall not be subject to disgorgement unless the

transactions contemplated in the Apache Definitive Documents fail to close as a result of Apache’s

breach of the RSA.

                (ii)    The Prepetition FLFO Lenders, Prepetition FLTL Lenders, and Prepetition

SLTL Lenders shall release (and/or cause the applicable administrative agent or collateral agent to

release) all liens and encumbrances on, interests in, and claims against the Legacy Apache

Properties (as defined in the Apache Term Sheet) and the other FWE I Assets (as defined in Part

A of Schedule I to the Plan of Merger) and the Consenting Creditors shall release the Apache PSA

Parties from any and all causes of action and claims of any kind related to the Legacy Apache

Properties arising prior to the date of the Apache Term Sheet Implementation Agreement.

                (iii)   FWE’s assets to be allocated to, possessed by, assumed by, and vested in

FWE I and Fieldwood Energy III LLC (“FWE III”), respectively, pursuant to the transactions

contemplated by and in accordance with the Plan of Merger (the “Divisive Merger”), including

contracts, leases, oil and gas leases and assets constituting real property interests (including all fee

surface interests in land, surface leases, easements, rights of way, servitudes, licenses, franchises,

road, railroad, and other surface use permits or agreements), shall be (a) free and clear of (i) any

right of consent, notice, and other similar rights, if any, that are applicable to the vesting of the

assets in connection with the Divisive Merger (such rights, the “Consent Rights”) and (ii) all

preferential purchase rights, rights of first refusal, drag-along rights, tag-along rights, and other

similar rights, if any, that are applicable to the vesting of the assets in connection with the Divisive

Merger (such rights, the “Preferential Purchase Rights”), but (b) subject to and burdened by

(x) the liabilities and obligations allocated to and vested in, respectively, FWE I or FWE III, as

specified in the Plan of Merger, pursuant to the Divisive Merger (collectively, “Allocated




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Obligations”) and (y) Permitted Post-Closing Liens (as defined in the Schedule of Defined Terms

for Required Confirmation Order Provisions, attached hereto as Exhibit B).

               (iv)    Entities (as defined under section 101(15) of the Bankruptcy Code) or

Parties that fail to timely file an objection are (a) forever barred from objecting to the allocation

and vesting of the assets in connection with the Divisive Merger free and clear of all Consent

Rights and Preferential Purchase Rights, and from asserting any alleged Consent Rights or

Preferential Purchase Rights with respect to the Divisive Merger, and (b) deemed to consent to

and approve the allocation and vesting of the assets free and clear of all Consent Rights and

Preferential Purchase Rights, regardless of whether such consent must be in writing pursuant to

the terms of any agreement.

               (v)     Subject to the Implementation Costs Cap (as defined below), FWE III shall,

and shall cause its debtor affiliates in the above-captioned chapter 11 cases to, on the Effective

Date, provide for the payment of any and all documentary, filing, recording, stamp, and registration

fees, costs, taxes, and expenses (including all reasonable and documented attorneys’ fees and

regulatory consultant fees) incurred or imposed after the Effective Time (as defined in the Plan of

Merger) in connection with the filing of record by or on behalf of FWE I or GOM Shelf LLC of

any instrument or instruments with the appropriate records office of any county, parish, state,

federal, or other governmental unit (including BOEM) that may be required in connection with the

implementation of the Divisive Merger or that either FWE I or GOM Shelf LLC determines in its

respective sole discretion to be necessary or appropriate to reflect in the appropriate records of any

governmental unit that as a result of the Divisive Merger (a) ownership of the FWE I Assets have

been allocated to and are vested in FWE I (and to the extent appropriate to reflect ownership of

the GOM Shelf Properties (as defined in the Plan of Merger) in GOM Shelf LLC), and (b) the




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Allocated Obligations have been allocated to and vested in, and constitute liabilities and

obligations of, FWE I and FWE III, respectively (collectively, the “Implementation Costs”). For

the avoidance of doubt, the documentary, filing, recording, stamp, and registration fees of FWE I

or GOM Shelf LLC, shall include such costs and expenses required to file or to cause to be filed

of record in the records office, as determined by Apache to be appropriate, of any county, parish,

state, federal, or other governmental unit (including BOEM) of the mortgages, security interests

and similar security documentation as is contemplated by the Standby Loan Agreement and the

Standby Credit Facility Documents to secure the obligations of FWE I and GOM Shelf LLC

thereunder. Any Implementation Costs that exceed the Implementation Costs Cap shall be the sole

responsibility of and paid for by FWE I.

               (vi)    Upon the Effective Date of the Plan, the Decommissioning Agreement shall

be assumed, with the consent of the Apache PSA Parties, by the Fieldwood PSA Parties and, upon

consummation of the transactions provided for in the Plan of Merger, become the obligation of

FWE I. Any Cure Amounts payable as a result of assumption of the Decommissioning Agreement,

which amount will be mutually agreed between the Parties prior to confirmation of the Plan and

scheduled as a Cure Amount, shall include any amounts relating to the Apache Claims (including

the Apache Trust A Claims and the Decommissioning Claims) and shall be paid into Trust A on

the Effective Date or as soon as reasonably practicable thereafter but in no event later than ten (10)

business days following the Effective Date. Payment of any mutually agreed Cure Amount as a

result of assumption of the Decommissioning Agreement does not constitute an admission by any

Party that a default exists or existed at any time under the Decommissioning Agreement.

               (vii)   Except for the rights and remedies to enforce (a) the Decommissioning

Agreement against GOM Shelf LLC and FWE I following the Divisive Merger (which agreement




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shall be allocated to FWE I and GOM Shelf LLC under the Divisive Merger), (b) the Plan, (c) the

Confirmation Order, and (d) the obligations contemplated by the Apache Definitive Documents,

the Apache PSA Parties shall be deemed Releasing Parties (as defined in the Plan) under the Plan

and waive and release any and all pre-Effective Date claims of any kind (including, without

limitation, the Apache Audit Claims, the Apache Trust A Claims and any claims that could qualify

as administrative expense claims) against the Debtors, their estates and any other Released Party

(as defined in the Plan), in all circumstances only to the extent such claims accrued on or prior to

the Effective Date and only to the extent such releases do not impair the Decommissioning

Security, or Apache’s ability to draw on the Decommissioning Security in any respect. For the

avoidance of doubt, any and all claims the Apache PSA Parties may have against FWE I related

to the Decommissioning Agreement arising post-Effective Date and any security obtained,

provided,   or     pledged   in   connection   with    the   Decommissioning      Agreement     (the

“Decommissioning Security”) will be preserved.

                 (viii) Except for the rights and remedies to enforce (a) the Decommissioning

Agreement against the Apache PSA Parties following the Divisive Merger, (b) the Plan, (c) the

Confirmation Order, and (d) the obligations contemplated by the Apache Definitive Documents,

the Debtors shall waive and release any and all pre-Effective Date claims of any kind against the

Apache PSA Parties, in all circumstances only to the extent such claims accrued on or prior to the

Effective Date. For the avoidance of doubt, any and all claims FWE I may have against the Apache

PSA Parties related to the Decommissioning Agreement arising post-Effective Date and the

Decommissioning Security will be preserved.

                 (ix)   With respect to all bonds and letters of credit constituting Decommissioning

Security, all claims for premiums, fees, reimbursement, indemnification, or any other claims,




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fixed, contingent, liquidated, unliquidated, or otherwise against the Debtors held by the companies

issuing the bonds or letters of credit, shall neither be allocated to nor become the obligations of

FWE I under the Plan of Merger. Notwithstanding the foregoing, all rights of the Apache PSA

Parties with respect to such bonds and letters of credit shall be preserved as against such bonding

companies and letter of credit issuers in all respects. The Debtors shall not terminate any bonds

issued on behalf of the Debtors relating to the Legacy Apache Properties under which any federal,

state or local governmental entity is an obligee.

               (x)     With respect to the agreements and memberships relating, in whole or in

part, to well containment/control, clean-up of spills, or other pollution, or the gathering of data

relating to certifications required to be made to a governmental unit with respect to the FWE I

Assets (as defined in the Plan of Merger) or GOM Shelf Oil and Gas Properties (as defined in the

Plan of Merger), to the extent any such agreements or memberships are also needed in respect to

any Credit Bid Acquired Interests or FWE III Assets (as defined in the Plan of Merger) that are set

forth on Exhibit 23 hereto, then on or before the Effective Date, FWE shall obtain new agreements

and membership for such use with respect to the Credit Bid Acquired Interests or FWE III Assets.

With respect to any Excluded Contracts (as defined in the Plan of Merger), FWE shall, on or before

the Effective Date, prepare and negotiate replacement agreements with the counterparties to such

Excluded Contracts upon substantially the same terms as such Excluded Contracts which may be

executed by FWE I immediately following the Effective Date.

               (xi)    The Fieldwood PSA Parties and the Apache PSA Parties may, by mutual

agreement, amend and modify, without the consent of the Consenting Creditors, the forms of the

agreements governing the terms of employment of the Independent Director (as defined in the

Apache Term Sheet) of FWE I and of the “sole manager” (as that term is used in the Apache Term




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Sheet) of FWE I (the “Sole Manager”), and the form of the agreement with the “service provider”

(as that term is used in the Apache Term Sheet) of FWE I (the “Contract Services Provider”) to

be included in the bid package for the Contract Services Provider (collectively, such forms of

agreement comprise the “Fieldwood I Administrative Documents”).

               (xii)   The Bankruptcy Court (i) approves the Apache Definitive Documents and

all transactions contemplated by the Apache Term Sheet Implementation Agreement, including

the Plan of Merger and Standby Credit Facility Documents, and all actions to be taken,

undertakings to be made, and obligations to be incurred by FWE I contemplated thereby; and

(ii) following the consummation of the Plan of Merger, authorizes FWE I, without further notice

to or action, order, or approval of this Bankruptcy Court and without the need for any further

corporate or shareholder action, to enter into, deliver, and fully perform its obligations under the

Apache Definitive Documents, including without limitation, the Standby Credit Facility

Documents. Upon entry of the Confirmation Order, FWE I or the Sole Manager, as applicable,

shall be authorized and empowered, without further approval of the Bankruptcy Court or any other

party, to take such actions and perform such acts as may be necessary, convenient, desirable, or

appropriate to execute and deliver the Apache Definitive Documents in accordance with the Plan

and to execute and deliver all documents relating thereto and to perform all of their obligations

thereunder. On the Effective Date, the Apache Definitive Documents shall constitute legal, valid,

binding, and authorized obligations of FWE I, enforceable in accordance with their terms, and

such obligations of FWE I shall not be enjoined or subject to discharge, impairment, release,

avoidance, recharacterization, or subordination by FWE I or the Post-Effective Date Debtors (as

defined in the Plan) under applicable law, the Plan, or the Confirmation Order. On the Effective

Date, all liens granted pursuant to, or in connection with, the Apache Definitive Documents shall




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be deemed granted by FWE I and/or GOM Shelf LLC, in each case, pursuant to the Apache

Definitive Documents. On the Effective Date, all liens granted pursuant to, or in connection with

Apache Definitive Documents, as applicable, (i) shall be valid, binding, perfected, enforceable

liens and security interests in the property described in the applicable Apache Definitive

Documents granted by FWE I and/or GOM Shelf LLC pursuant to the Apache Definitive

Documents, as applicable, with the priorities established in respect thereof under applicable non-

bankruptcy law and the Apache Definitive Documents, including, but not limited to, the

Mortgages, Security Agreement or Standby Loan Agreement and (ii) shall not be enjoined or

subject to discharge, impairment, release, avoidance, recharacterization, or subordination by

FWE I and/or GOM Shelf LLC under applicable law, the Plan, or the Confirmation Order. For

the avoidance of doubt, the liens granted to Apache pursuant to the Recharacterization Mortgages

(as such term is defined in the Decommissioning Agreement, as amended from time to time, and

as supplemented by the Recharacterization Mortgages) upon any recharacterization of the Trust A

or Trust A-1 NPIs (as such terms are defined in the Decommissioning Agreement, as amended

from time to time, and as supplemented by the Recharacterization Mortgages) shall be senior in

all respects to any other liens.

                5.      Implementation Costs Cap. No later than twenty-one (21) days after the

effective date of this Agreement (as such date may be extended upon mutual written consent by

the Parties including via email), the Parties shall mutually agree in good faith on the estimated

amount of Implementation Costs to be funded by the Debtors (such amount, the “Implementation

Costs Cap”).     In the event the Parties are unable to reach a mutual agreement as to the

Implementation Costs Cap, the determination shall be submitted to and determined by the law firm

of Geiger Laborde & Laperouse, LLC (the “Referee”). If the Referee shall be responsible for




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determining the Implementation Costs Cap, each Party will be required to submit its respective

estimate regarding the Implementation Costs Cap to the Referee. The Referee will then conduct

its own investigation and issue its decision regarding the Implementation Costs Cap, where such

amount shall not be (i) higher than the highest estimate submitted by a Party, or (ii) lower than the

lowest estimate submitted by a Party. The Referee’s decision shall be considered final and binding.

Moreover, the Parties will each pay half of the total costs relating to the Referee’s determination

of the Implementation Costs Cap. The Apache PSA Parties’ portion of such costs shall not be

considered Apache Fees and Expenses.

               6.      Fieldwood I Administrative Documents. The documents below comprise

the Fieldwood I Administrative Documents:

               (i)     Sole Manager Agreement. Annexed hereto as Exhibit 19.

               (ii)    Independent Director Agreement. Annexed hereto as Exhibit 20.

               (iii)   Form of Contract Services Agreement, to be included in the bid package for

the Contract Services Provider. Annexed hereto as Exhibit 21.

               (a)     Any waivers, amendments, or modifications made to the Fieldwood I

Administrative Documents or any provisions contained therein shall be made by mutual agreement

between the Fieldwood PSA Parties and the Apache PSA Parties without the consent of the

Consenting Lenders.

               7.      Termination of Agreement and Tolling of General Bar Date.

               (a)     This Agreement shall terminate upon the earlier to occur of (i) the

termination of the RSA and (ii) the termination of Apache as a party to the RSA. Upon termination

of this Agreement, each Party shall be immediately released from its obligations, commitments,

undertakings and agreements under or related to this Agreement; provided that in no event shall




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any such termination relieve a Party from liability for its breach or non-performance of its

obligations hereunder prior to the date of such termination.

               (b)     Notwithstanding the General Bar Date, the Parties agree that Apache shall

not file a proof of claim against the Debtors on account of the Apache Claims until after the earliest

to occur of the following (the date of the earliest to occur of the following, the “Apache POC

Filing Date”): (i) the date that this Agreement is terminated, (ii) the date that FWE, without

Apache’s express, written consent, files a plan of reorganization materially inconsistent with the

RSA, the Apache Term Sheet, or the Apache Definitive Documents, (iii) the date that FWE’s

chapter 11 case is converted to a case under chapter 7, and (iv) January 15, 2021 if the RSA has

not been amended to modify or remove the requirement that Apache timely vote its Claims and

Interests to accept the Plan contemplated by the RSA. Following the occurrence of the Apache

POC Initial Filing Date, at any time within the period of thirty (30) days after the Apache POC

Initial Filing Date, Apache shall have the right to file a proof of claim or proofs of claim against

the Debtors on account of the Apache Claims. The terms of this paragraph 7(b) shall survive the

termination of this Agreement.

               8.      363 Credit Bid Transaction. In the event the credit bid sale transaction to

Credit Bid Purchaser (or another special purpose bidding entity formed by or at the direction of

the Prepetition FLTL Lenders) is pursued pursuant to section 363 of the Bankruptcy Code as

contemplated in the Plan (the “363 Credit Bid Transaction”), the Apache PSA Parties agree,

consistent with their obligations under the RSA, to support and take reasonable actions to facilitate

the 363 Credit Bid Transaction, and cooperate in good faith with Debtors, the Required DIP

Lenders and Requisite FLTL Lenders to facilitate the 363 Credit Bid Transaction, including,

without limitation, by making any amendments to the Apache Definitive Documents; provided




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that no such actions shall require the Apache PSA Parties to alter the economics of the Apache

Definitive Documents without the Apache PSA Parties’ express written consent.

                 9.       Credit Bid Purchase Agreement Terms. 4

                 (a)      The terms of the Credit Bid Purchase Agreement (or an alternative purchase

and sale agreement conveying the Credit Bid Acquired Interests to a buyer) that relate to (i) the

scope of Credit Bid Assumed Liabilities (including payables with respect to the Legacy Apache

Properties and the Retained Properties) to be assumed by the buyer thereunder and any indemnities

with respect thereto and (ii) the scope of receivables with respect to the Legacy Apache Properties

to be assigned to the buyer and the obligations that may be imposed on FWE I with respect to the

collection of such receivables ((i) and (ii), collectively, the “Specified Credit Bid Terms”) shall

be in form and substance acceptable to Apache and the Debtors.

                 (b)      The Parties agree that the terms as set forth on Exhibit 22 that relate to the

Specified Credit Bid Terms are acceptable to Apache and the Debtors to address the Specified

Credit Bid Terms in the Credit Bid Purchase Agreement (or an alternative purchase and sale

agreement conveying the Credit Bid Acquired Interests to a buyer), and any terms contained in the

Credit Bid Purchase Agreement (or an alternative purchase and sale agreement conveying the




4
  The Consenting Creditors agreed under the Apache Term Sheet that “any outstanding accounts receivable and
accounts payable associated with the Legacy Apache Properties as of the effective date of Fieldwood’s plan of
reorganization shall be retained by [Credit Bid Purchaser].” However, for the avoidance of doubt, any language in
Paragraph 9 or Exhibit 22 of this Agreement that differs from, supplements, modifies or is otherwise inconsistent
with the foregoing language in the Apache Term Sheet (including, without limitation, any language that relates to
items that are not accounts payable associated with the Legacy Apache Properties as of the effective date of
Fieldwood’s plan of reorganization being retained by Credit Bid Purchaser or any language that relates to items that
are accounts receivable associated with the Legacy Apache Properties as of the effective date of Fieldwood’s plan of
reorganization not being retained by Credit Bid Purchaser) has not been agreed to by the Consenting Creditors, and
the Consenting Creditors reserve all rights with respect to any such difference, supplement, modification or
inconsistency.




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Credit Bid Acquired Interests to a buyer) that relate to the Specified Credit Bid Terms, other than

as set forth on Exhibit 22, must be in form and substance acceptable to Apache and the Debtors.

               10.     Transfer of Retained Properties.           Notwithstanding anything to the

contrary herein, any Retained Properties transferred to Credit Bid Purchaser (or another special

purpose bidding entity formed by or at the direction of the Prepetition FLTL Lenders) in a credit

bid sale transaction shall be conveyed in accordance with the Decommissioning Agreement. Any

amounts payable to Trust A on account of such transfer shall be the obligation of FWE I. Apache

agrees to work with FWE and the Trust A trustee to obtain the required releases from Trust A and

conveyances of such interest to Credit Bid Purchaser in connection with this transfer.

               11.     Effectiveness; Counterparts. This Agreement shall become effective and

binding upon each Party upon the execution and delivery by such Party of an executed signature

page hereto and shall become effective and binding on all Parties on the date when all Parties have

executed and delivered a signature page hereto. This Agreement may be executed in several

counterparts, each of which shall be deemed to be an original, and all of which together shall be

deemed to be one and the same agreement. Execution copies of this Agreement may be delivered

by electronic mail, or otherwise, which shall be deemed to be an original for the purposes of this

paragraph.

               12.     Governing Law; Jurisdiction; Waiver of Jury Trial. To the maximum

extent permitted by applicable law, this Agreement is governed by and is to be construed in

accordance with the internal laws of the State of Texas, without giving effect to any principles of

conflicts of law thereunder that would result in the application of the laws of any other jurisdiction.

Each Party irrevocably agrees that any legal action, suit, or proceeding arising out of or relating to

this Agreement brought by any party or its successors or assigns shall be brought and determined




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in the Bankruptcy Court and each Party hereby irrevocably submits to the exclusive jurisdiction of

the Bankruptcy Court, and if the Bankruptcy Court does not have (or abstains from) jurisdiction,

Courts of the State of Texas and of the United States District Court of the Southern District of

Texas, and any appellate court from any thereof, for itself and with respect to its property, generally

and unconditionally, with regard to any such proceeding arising out of or relating to this

Agreement. Each Party further agrees that notice as provided herein shall constitute sufficient

service of process and the Parties further waive any argument that such service is insufficient.

Each Party hereby irrevocably and unconditionally waives, and agrees not to assert, by way of

motion or as a defense, counterclaim or otherwise, in any proceeding arising out of or relating to

this Agreement, (a) any claim that it is not personally subject to the jurisdiction of the Bankruptcy

Court as described herein for any reason, (b) that it or its property is exempt or immune from

jurisdiction of such court or from any legal process commenced in such court (whether through

service of notice, attachment prior to judgment, attachment in aid of execution of judgment,

execution of judgment, or otherwise) and (c) that (1) the proceeding in such court is brought in an

inconvenient forum, (2) the venue of such proceeding is improper, or (3) this Agreement, or the

subject matter hereof, may not be enforced in or by such court. EACH OF THE PARTIES

HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED

BY APPLICABLE LAW, ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY ACTION OR

PROCEEDING ARISING OUT OF RELATING TO THIS AGREEMENT. EACH PARTY

CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER

PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER

PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE

FOREGOING WAIVER.




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               13.     Notices. All notices hereunder shall be deemed given if in writing and

delivered, if contemporaneously sent by electronic mail, courier or by registered or certified mail

(return receipt requested) to the following addresses:

                (1)    If to the Fieldwood PSA Parties, to:

                Fieldwood Energy LLC
                2000 W. Sam Houston Parkway S., Suite 1200
                Houston, Texas 77042
                Attention: Thomas R. Lamme

                With a copy to:

                Weil, Gotshal & Manges LLP
                767 Fifth Avenue
                New York, NY 10153
                Attention: Matt Barr, Esq. (matt.barr@weil.com)
                           Alfredo Peréz, Esq. (alfredo.perez@weil.com)
                           Jessica Liou, Esq. (jessica.liou@weil.com)

                (2)    If to the Apache PSA Parties, to:

                Apache Corporation
                2000 Post Oak Boulevard, Suite 100
                Houston, Texas 77056-4400
                Attention: Anthony Lannie and Brett Cupit

                With a copy to:

                Hunton Andrews Kurth LLP
                600 Travis Street
                Suite 4200
                Houston, Texas 77002
                Attention: Robin Russell, Esq. (RRussell@andrewskurth.com)
                           Catherine Diktaban, Esq. (CDiktaban@hunton.com)

               14.     Amendments. Neither this Agreement nor any provision hereof may be

waived, amended, or modified except pursuant to an agreement or agreements in writing entered

into by the Fieldwood PSA Parties and the Apache PSA Parties.

                                   [Signature Pages to Follow]




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                                    Exhibit A

                          The “Apache Term Sheet”




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                     Exhibit 1

                    Certificate of Conversion (DE) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                    STATE OF DELAWARE
               CERTIFICATE OF CONVERSION
       FROM A DELAWARE LIMITED LIABILITY COMPANY
                TO A NON-DELAWARE ENTITY
              PURSUANT TO SECTION 18-216 OF
           THE LIMITED LIABILITY COMPANY ACT


1.) The name of the Limited Liability Company is ____________________________
  Fieldwood Energy LLC
  ________________________________________________________________.

   (If changed, the name under which it’s certificate of formation was originally
   filed: _______________________________________________________________)

2.) The date of filing of its original certificate of formation with the Secretary of
         11/5/2012
State is _______________________________________________________________.

3.) The jurisdiction in which the business form, to which the limited liability company
                                                       Texas
shall be converted, is organized, formed or created is ___________________________.

4.) The conversion has been approved in accordance with this section;

5.) The limited liability company may be served with process in the State of Delaware in
any action, suit or proceeding for enforcement of any obligation of the limited liability
company arising while it was a limited liability company of the State of Delaware, and
that it irrevocably appoints the Secretary of State as its agent to accept service of process
in any such action, suit or proceeding.

6.) The address to which a copy of the process shall be mailed to by the Secretary of State
is
    CAPITOL CORPORATE SERVICES, INC.
    206 E. 9TH STREET, SUITE 1300 AUSTIN, TX 78701



In Witness Whereof, the undersigned have executed this Certificate of Conversion on this
________ day of ________________, A.D. ______________.


                                                         By: _________________________
                                                                Authorized Person

                                                     Name: _________________________
                                                                Print or Type
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                                     Exhibit 2

                    Certificate of Conversion (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                         STATE OF TEXAS
                                   CERTIFICATE OF CONVERSION
                                              OF A
                              DELAWARE LIMITED LIABILITY COMPANY
                                              TO A
                                TEXAS LIMITED LIABILITY COMPANY

               This Certificate of Conversion (this “Certificate”), dated as of [•], 2021, has been
duly executed and is being filed by Fieldwood Energy LLC, a Delaware limited liability
company, to convert to Fieldwood Energy LLC, a Texas limited liability company under Section
10.102 of the Texas Business Organizations Code (the “TBOC”).

          1.        The name of the converting entity is Fieldwood Energy LLC, a Delaware limited
                    liability company (the “Converting Entity”).

          2.        The jurisdiction of formation of the Converting Entity is the State of Delaware
                    and the date of formation of the Converting Entity is November 5, 2012.

          3.        The Converting Entity is converting from a limited liability company formed
                    under the laws of the State of Delaware to a Texas limited liability company
                    formed under the laws of the State of Texas. The name of the Texas limited
                    liability company is “Fieldwood Energy LLC” (the “Company”).

          4.        The file number issued to the Converting Entity by the Secretary of State is
                    0801715506.

          5.        The plan of conversion (the “Plan”) as required under Section 10.103 of the
                    TBOC is attached hereto as Exhibit A.

          6.        The Certificate of Formation of the Company is attached to the Certificate of
                    Conversion as Exhibit A to the Plan.

          7.        The Plan has been approved as required by the laws of the jurisdiction of
                    formation and the governing documents of the Converting Entity.

          8.        The Company will be responsible for the payment of any required franchise taxes
                    of the Converting Entity.

          9.        This document shall become effective upon its acceptance and filing by the
                    Secretary of State of the State of Texas.




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                IN WITNESS WHEREOF, the undersigned has executed this Certificate as of the
date first above written.

                                         FIELDWOOD ENERGY LLC


                                         By:
                                               Name: [•]
                                               Title: [•]




      [SIGNATURE PAGE TO CERTIFICATE OF CONVERSION OF FIELDWOOD ENERGY LLC]
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                               Exhibit A

                           Plan of Conversion


                              See attached.
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                                     Exhibit 3

                       Plan of Conversion (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                    PLAN OF CONVERSION
                                                OF
                                     Fieldwood Energy LLC
                              (a Delaware limited liability company)
                                              INTO
                                     Fieldwood Energy LLC
                                (a Texas limited liability company)

                                       Adopted on [•], 2021

      Pursuant to the provisions of Section 18-216 of the Delaware Limited Liability Company
Act and Section 10.103 of the Texas Business Organizations Code, Fieldwood Energy LLC, a
Delaware limited liability company (“Fieldwood”), hereby adopts the following Plan of
Conversion:

       1. The name of the converting entity is “Fieldwood Energy LLC”, a Delaware
limited liability company, and the name of the converted entity is “Fieldwood Energy LLC”, a
Texas limited liability company (the “Company”).

      2. Fieldwood is continuing its existence in the organizational form of a Texas
limited liability company.

         3. The Company is to be a limited liability company under the laws of the State of
Texas.

       4. 100% of the membership interests of Fieldwood outstanding immediately prior to
the conversion shall by virtue of the conversion and without any action on the part of the holders
thereof, automatically be converted into 100% of the issued and outstanding membership
interests of the Company.

       5. The conversion shall become effective upon (a) the filing and acceptance of a
Certificate of Conversion with the Secretary of State of the State of Texas and (b) the filing and
acceptance of a Certificate of Conversion with the Secretary of State of the State of Delaware.

     6. The Company will be responsible for the payment of all fees and franchise taxes
and will be obligated to pay such fees and taxes if they are not timely paid.

     7. Attached as Exhibit A to this Plan of Conversion is the Texas Certificate of
Formation of the Company.

     8. The Plan of Conversion has been approved as required by the laws of the
Corporation’s jurisdiction of formation and governing document.

                                [SIGNATURE PAGE FOLLOWS]



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        IN WITNESS WHEREOF, the undersigned has executed this Plan of Conversion as of
the date first written above.

                                                   FIELDWOOD ENERGY LLC


                                                   By:
                                                   Name:        [•]
                                                   Title:       [•]




                             Signature Page to Plan of Conversion
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                              EXHIBIT A

                    CERTIFICATE OF FORMATION



                              See attached.
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                                     Exhibit 4

                    Certificate of Formation (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                                                                                                          This space reserved for office use.
                  Form 205
                  (Revised 05/11)

                  Submit in duplicate to:
                  Secretary of State
                  P.O. Box 13697                                       Certificate of Formation
                  Austin, TX 78711-3697                                Limited Liability Company
                  512 463-5555
                  FAX: 512 463-5709
                  Filing Fee: $300

                                                                     Article 1 – Entity Name and Type

                  The filing entity being formed is a limited liability company. The name of the entity is:

                 FIELDWOOD ENERGY LLC
                  The name must contain the words “limited liability company,” “limited company,” or an abbreviation of one of these phrases.

                                                          Article 2 – Registered Agent and Registered Office
                                                           (See instructions. Select and complete either A or B and complete C.)
                         A. The initial registered agent is an organization (cannot be entity named above) by the name of:
                 CAPITOL CORPORATE SERVICES, INC.
                  OR
                         B. The initial registered agent is an individual resident of the state whose name is set forth below:

                  First Name                                             M.I.                     Last Name                                         Suffix

                  C. The business address of the registered agent and the registered office address is:
                 206 E. 9TH STREET, SUITE 1300                                  AUSTIN                                         TX        78701
                  Street Address                                                City                                           State         Zip Code

                                                                      Article 3—Governing Authority
                                              (Select and complete either A or B and provide the name and address of each governing person.)

                     A. The limited liability company will have managers. The name and address of each initial
                  manager are set forth below.
                     B. The limited liability company will not have managers. The company will be governed by its
                  members, and the name and address of each initial member are set forth below.
                  GOVERNING PERSON 1
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                            M.I.          Last Name                                            Suffix
                          OR
                          IF ORGANIZATION

                         FIELDWOOD ENERGY INC.
                     Organization Name
                  ADDRESS
                  2000 W. SAM HOUSTON PKWY S., SUITE 1200                              HOUSTON                              TX         USA       77042-3623
                  Street or Mailing Address                                            City                                State    Country      Zip Code

                Form 205                                                                      4

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                  GOVERNING PERSON 2
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                        M.I.            Last Name                       Suffix
                          OR
                          IF ORGANIZATION



                     Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code

                  GOVERNING PERSON 3
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                        M.I.            Last Name                       Suffix
                          OR
                          IF ORGANIZATION



                     Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code


                                                                             Article 4 – Purpose

                  The purpose for which the company is formed is for the transaction of any and all lawful purposes for
                  which a limited liability company may be organized under the Texas Business Organizations Code.

                                                               Supplemental Provisions/Information
                  Text Area: [The attached addendum, if any, is incorporated herein by reference.]

                 The entity is formed under a plan of conversion. The name of the converting entity is Fieldwood Energy LLC. The address
                 of the converting entity is 2000 W. Sam Houston Pkwy. S., Suite 1200, Houston, Texas 77042. The converting entity was
                 formed on 11/5/2012 under the laws of the State of Delaware, USA. The converting entity was previously a Delaware
                 limited liability company. The converting entity is registered as a foreign entity under the Texas Secretary of State file
                 number 0801715506.




                Form 205                                                                   5

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                                                                        Organizer

                  The name and address of the organizer:


                  Name



                  Street or Mailing Address                                          City                            State    Zip Code


                                                     Effectiveness of Filing (Select either A, B, or C.)

                  A.         This document becomes effective when the document is filed by the secretary of state.
                  B.     This document becomes effective at a later date, which is not more than ninety (90) days from
                  the date of signing. The delayed effective date is:
                  C.     This document takes effect upon the occurrence of the future event or fact, other than the
                  passage of time. The 90th day after the date of signing is:
                  The following event or fact will cause the document to take effect in the manner described below:
                 the filing of the certificate of conversion of Fieldwood Energy LLC with the Secretary of State of Texas .




                                                                        Execution

                The undersigned affirms that the person designated as registered agent has consented to the
                appointment. The undersigned signs this document subject to the penalties imposed by law for the
                submission of a materially false or fraudulent instrument and certifies under penalty of perjury that the
                undersigned is authorized to execute the filing instrument.

                Date:


                                                                          Signature of organizer


                                                                          Printed or typed name of organizer




                Form 205                                                       6

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                                     Exhibit 5

                 Agreement and Plan of Merger (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                               AGREEMENT AND PLAN OF MERGER
                                              OF
                                    FIELDWOOD ENERGY LLC
                                            INTO
                                   FIELDWOOD ENERGY I LLC
                                             AND
                                  FIELDWOOD ENERGY III LLC


      This AGREEMENT AND PLAN OF MERGER, dated as of [●], 2021 (this “Plan of
Merger”), is adopted by Fieldwood Energy LLC, a Texas limited liability company (“FWE”).

        WHEREAS, commencing August 3, 2020, FWE and certain other affiliates of FWE (each,
a “Debtor” and collectively, the “Debtors”) filed voluntary petitions with the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) initiating their
respective cases pending under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) styled In re Fieldwood Energy LLC, et al., jointly administered under Case No. 20-33948
(MI) (each case of a Debtor, a “Case” and collectively, the “Chapter 11 Cases”);

        WHEREAS, in connection with the Chapter 11 Cases, the Debtors filed the [Joint Chapter
11 Plan of Fieldwood Energy LLC and Its Affiliated Debtors at Docket No. [●]] (as may be
amended, restated, amended and restated, supplemented, or otherwise modified from time to time,
the “Plan of Reorganization”), which was confirmed by order of the Bankruptcy Court entered on
[●], 2021 at Docket No. [●] (as may be amended, modified, and supplemented, the “Confirmation
Order”);

        [WHEREAS, in accordance with the Plan of Reorganization and Confirmation Order,
pursuant to the Credit Bid Purchase Agreement certain assets and properties of the Debtors
(defined in the Plan of Reorganization as the “Credit Bid Acquired Interests”) were sold and
conveyed to, and certain liabilities and obligations of Debtors (defined in the Plan of
Reorganization as the “Credit Bid Assumed Liabilities”) were assumed by, FWE II prior to the
Effective Time (the “Credit Bid Transaction”);]

       WHEREAS, pursuant to the Plan of Reorganization, and as authorized by the Confirmation
Order, FWE converted from a Delaware limited liability company to a Texas limited liability
company on [●], 2021;

       WHEREAS, pursuant to the Plan of Reorganization, and as authorized by the Confirmation
Order, FWE is to effect a divisional merger as set forth in this Plan of Merger (the “Merger”),
pursuant to which, among other things:

    a) FWE shall maintain its separate existence and continue as a surviving entity under the name
       “Fieldwood Energy III LLC” (as such entity exists from and after the Effective Time,
       “FWE III”);

    b) a new Texas limited liability company shall be formed under the name “Fieldwood Energy
       I LLC” (“FWE I”);



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    c) all of the FWE I Assets (as defined below) shall be allocated to, possessed by, and vested
       in FWE I, and all of the FWE I Obligations (as defined below) shall be allocated to and
       shall vest in, and shall constitute liabilities and obligations of, FWE I;

    d) all of the assets of FWE (other than the FWE I Assets and the Credit Bid Acquired Assets)
       shall be allocated to, possessed by, and vested in FWE III; and

    e) all of the liabilities and obligations of FWE (other than the FWE I Obligations and the
       Credit Bid Assumed Liabilities) shall be allocated to and shall vest in, and shall constitute
       liabilities and obligations of, FWE III; and

        WHEREAS, this Plan of Merger has been authorized by the Confirmation Order, which
provides such approval of the transactions contemplated hereby as required for purposes of
Sections 10.001, 10.002, and 10.302 of the Texas Business Organizations Code (the “TBOC”),
and, in accordance with Section 10.008 of TBOC, the Merger shall be consummated without any
transfer or assignment having occurred.

       NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements herein contained, and for the purpose of prescribing the terms and conditions of the
Merger, the mode of carrying it into effect, the manner and basis of allocating ownership interests
of each of the resulting entities and such other details and provisions of the Merger as are deemed
necessary or desirable, FWE has agreed and covenanted, and does hereby agree and covenant, as
follows:

        1.       Subject to the provisions of this Plan of Merger, FWE shall cause the Merger to be
consummated by filing a certificate of merger with the Secretary of State of the State of Texas in
such form as is required by, and executed in accordance with, the relevant provisions of the TBOC,
in substantially the form attached as Exhibit A (the “Certificate of Merger”), together with a
certificate of formation of FWE I in substantially the form attached as Exhibit B. The Certificate
of Merger shall provide that the Merger shall be effective on the date the Certificate of Merger is
accepted and filed with the Secretary of State of the State of Texas (the “Effective Time”).

         2.        At the Effective Time:

                (a)    FWE shall be divisionally merged in accordance with the TBOC with
(i) FWE I being formed as a Texas limited liability company separate from FWE III and continuing
as a surviving business entity of the Merger as to the FWE I Assets and the FWE I Obligations in
accordance with the TBOC under the name “Fieldwood Energy I LLC” and (ii) FWE continuing
as a surviving business entity of the Merger as to all assets and liabilities of FWE (other than the
FWE I Assets, the FWE I Obligations, the Credit Bid Acquired Assets, and the Credit Bid Assumed
Liabilities) in accordance with the TBOC under the name “Fieldwood Energy III LLC.” The
Merger will have the effect set forth below and in Section 10.008 of the TBOC.

              (b)    There shall be no change (through conversion, exchange, or otherwise) to
the membership interests of FWE, which membership interest in FWE III will continue to be
owned by Fieldwood Energy Inc. as of immediately following the Effective Time.




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               (c)   All of the membership interests of FWE I shall be owned by Fieldwood
Energy Inc. as of immediately following the Effective Time

               (d)    All of the rights, assets, and properties of FWE described in Part A of
Schedule I attached hereto (the “FWE I Assets”) shall be allocated to, possessed by, and vested in
FWE I without reversion or impairment, without further act or deed, and without transfer or
assignment having occurred.

                (e)      All of the liabilities and obligations of FWE described in Part B of Schedule
I attached hereto (the “FWE I Obligations”) shall be allocated to and shall vest in, and shall
constitute liabilities and obligations of, FWE I. For the avoidance of doubt, the FWE I Obligations
exclude all Credit Bid Assumed Liabilities (including all Closing Date Payables and all FWE II
Retained Properties Payables).

                 (f)     All of the rights, assets, and properties of FWE other than the FWE I Assets
and the Credit Bid Acquired Assets (collectively, the “FWE III Assets”), including (i) those rights,
assets, and properties of FWE described in Part A of Schedule II attached hereto (collectively, the
“Wind Down Assets”) and (ii) those rights, assets, and properties described in Part A of Schedule
III (collectively, the “Predecessor Assets”), shall be allocated to, possessed by, and vested in FWE
III without reversion or impairment, without further act or deed, and without transfer or assignment
having occurred.

                (g)      All of the liabilities and obligations of FWE other than the FWE I
Obligations and the Credit Bid Assumed Liabilities (collectively, the “FWE III Obligations”),
including (i) all liabilities and obligations to the extent relating to the Wind Down Assets and all
liabilities and obligations described in Part B of Schedule II attached hereto (collectively, the
“Wind Down Obligations”), (ii) all of the liabilities and obligations of FWE retained by FWE upon
consummation of the Credit Bid Transaction, as well as (except as provided in Section 3(b)(i))
obligations of FWE under the Credit Bid Purchase Agreement, and (iii) all liabilities and
obligations relating to the Predecessor Assets and all liabilities and obligations described in Part
B of Schedule III attached hereto (collectively, the “Predecessor Obligations”), shall be allocated
to and shall vest in, and shall constitute liabilities and obligations of, FWE III.

         3.        Post-Merger Covenants.

                (a)     Each of FWE I and FWE III shall, at any time and from time to time from
and after the Effective Time as and when requested by FWE I or FWE III, or by their respective
successors or assigns, execute and deliver, or cause to be executed and delivered in its name by its
authorized officers, all such conveyances, transfers, deeds, or other instruments as FWE I or FWE
III, as applicable, or such successors or assigns, may reasonably deem necessary in order to
evidence (i) the allocation to and vesting in FWE I of the FWE I Assets, and the allocation to and
vesting in FWE I of, and the liability and obligation of FWE I for, the FWE I Obligations as a
result of the Merger and (ii) the allocation to and vesting in FWE III of the FWE III Assets, and
the allocation to and vesting in FWE III of, and the liability and obligation of FWE III for, the
FWE III Obligations as a result of the Merger. Without limiting the foregoing, FWE III shall take
such actions as necessary to effect a transfer from [insert applicable bank account] to an account




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designated in writing by FWE I of (i) the FWE I Cash Amount, (ii) the FWE I Suspense Funds,
and (iii) the Prepaid JIB Cash Amount.

                 (b)    From and after the Effective Time (i) FWE I shall, and shall cause the FWE
I Subsidiaries controlled by FWE I to, perform the obligations of FWE under Section [●]1 of the
Credit Bid Purchase Agreement with respect to Closing Accounts Receivable to the extent
attributable to FWE I Assets or any assets held by such FWE I Subsidiaries as of the Effective
Time (provided FWE I shall have no obligation to incur any cost or expense in performing such
obligations) and (ii) FWE III shall, and shall cause its subsidiaries to, perform the obligations of
FWE under Section [●] of the Credit Bid Purchase Agreement with respect to Closing Accounts
Receivable to the extent attributable to FWE III Assets or any assets held by subsidiaries of FWE
III as of the Effective Time.

        4.      As a result of the consummation of the Merger in accordance with this Plan of
Merger, FWE I shall only be allocated, shall only possess, and shall only be vested in and receive
the FWE I Assets, and shall only be allocated and vested in, shall only possess, and shall only be
subject to the FWE I Obligations, and FWE I shall have no rights or obligations relating to any of
the FWE III Assets or the FWE III Obligations, except as may be expressly set forth in Section 6
or a separate agreement, which is entered into at or after the Effective Time, between FWE I and
FWE III with respect to such other Assets or Obligations; and FWE I shall not be deemed to be a
predecessor in interest to any of the FWE III Assets or the FWE III Obligations.

        5.      As a result of the consummation of the Merger in accordance with this Plan of
Merger, FWE III shall only be allocated, shall only possess, and shall only be vested in and receive
the FWE III Assets and shall only be allocated and vested in, shall only possess, and shall only be
subject to the FWE III Obligations, and FWE III shall have no rights or obligations relating to any
of the FWE I Assets or the FWE I Obligations, except as may be expressly set forth in Section 6
or in a separate agreement, which is entered into at or after the Effective Time, between FWE III
and FWE I with respect to such other Assets or Obligations; and FWE III shall not be deemed to
be a predecessor in interest to any of the FWE I Assets or the FWE I Obligations.

        6.     If immediately prior to the Effective Time, FWE owned an interest or right in assets
(other than Predecessor Oil and Gas Properties or Wind Down Oil and Gas Properties) which FWE
did not acquire under or pursuant to the Apache PSA and which2, immediately prior to the
Effective Time, was used in connection with or held for use in connection both with (a) FWE I Oil
and Gas Properties or FWE I Rights of Way, on the one hand, and any of (b)(i) Wind Down Oil
and Gas Properties or Wind Down Rights of Way or (ii) Predecessor Oil and Gas Properties or
Predecessor Rights of Way, on the other hand (individually, a “Fieldwood Joint Use Property”
and, collectively, the “Fieldwood Joint Use Properties”), then FWE I shall own such Fieldwood
Joint Use Property as an FWE I Asset and such Fieldwood Joint Use Property shall not be a Wind

1
 Note to Draft: This is to reference the provision of the Credit Bid Purchase Agreement providing for collection of
Closing Accounts Receivable post sale to FWE II.
2
  Note to Draft: FWE confirming there are no Legacy Apache Assets that are also used for any other interests/assets.
To the extent any Legacy Apache Assets are also used for any other interests/assets, such assets will be identified and
will either be added to the assets governed by Section 6 or FWE I and FWE III will enter into a letter agreement
regarding the joint use of such assets consistent with Section 6 or as otherwise agreed to by FWE I and FWE III.



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Down Asset or a FWE III Asset or owned by FWE III; provided, however, that FWE III shall have,
and FWE I shall provide FWE III with, access, use, and economic benefit with respect to such
Fieldwood Joint Use Property to the extent, and only to the extent, such Fieldwood Joint Use
Property was used or held for use in connection with the applicable Wind Down Oil and Gas
Properties, Wind Down Rights of Way, Predecessor Oil and Gas Properties, or Predecessor Rights
of Way immediately prior to the Effective Time; provided, further, that any obligation or liability
incurred by FWE I to the extent arising from, related to, or connected with such access, use, or
economic benefit by or on behalf of FWE III, (1) shall not constitute an FWE I Obligation, (2)
shall be FWE III Obligations and the obligations and liabilities of FWE III, and (3) FWE III shall
indemnify and hold harmless FWE I and the FWE Subsidiaries from and against all such
obligations and liabilities allocated to FWE III pursuant to this Section 6.

        7.       Certain Definitions. As used herein and in the Schedules and Exhibits attached
hereto, (i) the terms set forth below have the meanings ascribed to such terms below and (ii) the
terms defined in the Schedules and Exhibits attached hereto have the meanings ascribed to such
terms in such Schedules and Exhibits.

                   (a)         “Apache” means Apache Corporation, a Delaware corporation.

               (b)    “Apache PSA” means that certain Purchase and Sale Agreement, dated as
of July 18, 2013, by and among Apache, Apache Deepwater LLC, Apache Shelf, Inc., Apache
Shelf Exploration LLC, GOM Shelf, and FWE, as amended from time to time, and the transaction
documents executed in connection therewith.

              (c)     “Asset” means any individual asset, property, right, or interest in any of the
FWE I Assets or the FWE III Assets; “Assets” means, collectively, the FWE I Assets and the FWE
III Assets.

                   (d)         “Bankruptcy Code” has the meaning ascribed to such term in the recitals
hereto.

                   (e)         “Bankruptcy Court” has the meaning ascribed to such term in the recitals
hereto.

                   (f)         “Case” has the meaning ascribed to such term in the recitals hereto.

               (g)   “Casualty” means an event in which any portion of the Assets is damaged
or destroyed or otherwise impaired by fire, explosion, tornado, hurricane, earthquake, earth
movement, flood, water damage, or other similar casualty or is taken in condemnation or under
right of eminent domain.

                   (h)         “Certificate of Merger” has the meaning ascribed to such term in Section 1
hereto.

                   (i)         “Chapter 11 Cases” has the meaning ascribed to such term in the recitals
hereto.




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               (j)    “Closing Accounts Receivable” has the meaning ascribed to such term in
the Credit Bid Purchase Agreement.

              (k)   “Closing Date Payable” has the meaning ascribed to such term in the Credit
Bid Purchase Agreement.

                   (l)         “Confirmation Order” has the meaning ascribed to such term in the recitals
hereto.

                (m)    “Contract” means any contract, lease, license, purchase order, sales order,
indenture, note, bond, loan, instrument, obligation, promise, grant, or other agreement,
arrangement, understanding or commitment, whether or not in written form, that is binding upon
a Person or its property.

               (n)     “Conveyed” means conveyed, assigned, or sold pursuant to the Apache
PSA, regardless of whether such conveyance, assignment, or bill of sale was recorded in the
appropriate records of, or approved or recognized by, the applicable Governmental Authority.

                (o)            “Credit Bid Acquired Interests” has the meaning ascribed to such term in
the recitals hereto.

                (p)            “Credit Bid Assumed Liabilities” has the meaning ascribed to such term in
the recitals hereto.

               (q)    “Credit Bid Purchase Agreement” means the Purchase and Sale Agreement,
[dated [●], [●], by and among FWE, [FWE Affiliates] and FWE II].

                   (r)         “Credit Bid Transaction” has the meaning ascribed to such term in the
recitals hereto.

                   (s)         “Debtor” and “Debtors” has the meaning ascribed to such term in the
recitals hereto.

            (t)    “Decommissioning” has the meaning ascribed to such term in the
Decommissioning Agreement.

                (u)    “Decommissioning Agreement” has the meaning ascribed to such term
clause (xix) in Part A of Schedule I attached hereto.

                   (v)         “Effective Time” has the meaning ascribed to such term in Section 1 hereto.

               (w)    “Environmental Laws” means, the Comprehensive Environmental
Response, Compensation and Liability Act, 42 U.S.C. § 9601 et seq. (“CERCLA”); the Resource
Conservation and Recovery Act, 42 U.S.C. § 6901 et seq.; the Federal Water Pollution Control
Act, 33 U.S.C. § 1251 et seq.; the Clean Air Act, 42 U.S.C. § 7401 et seq.; the Hazardous Materials
Transportation Act, 49 U.S.C. § 5101 et seq.; the Toxic Substances Control Act, 15 U.S.C. §§ 2601
through 2629; the Oil Pollution Act, 33 U.S.C. § 2701 et seq.; the Emergency Planning and
Community Right to Know Act, 42 U.S.C. § 11001 et seq.; the Endangered Species Act, 16 U.S.C.



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§ 1531 et seq.; and the Safe Drinking Water Act, 42 U.S.C. §§ 300f through 300j, in each case as
amended in effect as of the Effective Time, and all similar laws in effect as of the Effective Time
of any Governmental Authority having jurisdiction over the property in question addressing
pollution, protection of the environment, biological resources, Hazardous Substances, or P&A
Obligations.

                (x)      “Environmental Liabilities” means any and all damages, remediation,
obligations, liabilities, environmental response costs, costs to cure, cost to investigate or monitor,
restoration costs, costs of remediation or removal, settlements, penalties, fines, and attorneys’ and
consultants fees and expenses arising out of or related to any violations or non-compliance with
any Environmental Laws, including any contribution obligation under CERCLA or any other
Environmental Law or matters incurred or imposed pursuant to any claim or cause of action by a
Governmental Authority or other Person, attributable to any environmental liabilities, any Release
of Hazardous Substances, or any other environmental condition with respect to the ownership or
operation of the Assets, including conditions of Facilities not in compliance with Laws
promulgated by the Bureau of Ocean Energy Management (“BOEM”), the Bureau of Safety and
Environmental Enforcement (“BSEE”), or the United States Coast Guard.

              (y)      “Facilities” means the FWE I Facilities, the Wind Down Facilities, or the
Predecessor Facilities, as applicable.

               (z)             “Fieldwood Joint Use Property” has the meaning ascribed to such term in
Section 6 hereto.

                   (aa)        “FWE” has the meaning ascribed to such term in the recitals hereto.

                   (bb)        “FWE I” has the meaning ascribed to such term in the recitals hereto.

                   (cc)        “FWE I Assets” has the meaning ascribed to such term in Section 2(d)
hereto.

                (dd) “FWE I Cash Amount” has the meaning ascribed to such term in clause
(xxiii) of Part A of Schedule I hereto.

              (ee) “FWE I Contracts” has the meaning ascribed to such term in clause (x) in
Part A of Schedule I attached hereto.

              (ff)     “FWE I Facilities” has the meaning ascribed to such term in clause (iii) in
Part A of Schedule I attached hereto.

              (gg) “FWE I Lands” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (hh) “FWE I Leases” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (ii)     “FWE I Permits” has the meaning ascribed to such term in clause (vi) in
Part A of Schedule I attached hereto.



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                   (jj)        “FWE I Obligations” has the meaning ascribed to such term in Section 2(e)
hereto.

               (kk) “FWE I Rights of Way” has the meaning ascribed to such term in clause (v)
in Part A of Schedule I attached hereto.

                   (ll)        “FWE I Subsidiaries” means GOM Shelf and the other entities listed on
Exhibit I-I.

              (mm) “FWE I Units” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (nn) “FWE I Wells” has the meaning ascribed to such term in clause (ii) in Part
A of Schedule I attached hereto.

                   (oo)        “FWE II” means [insert Buyer under the Credit Bid Purchase
Agreement].

              (pp) “FWE II Retained Properties” has the meaning ascribed to such term in Part
A of Schedule I attached hereto.

               (qq) “FWE II Retained Properties Payables” has the meaning ascribed to such
term in the Credit Bid Purchase Agreement.

                   (rr)        “FWE III” has the meaning ascribed to such term in the recitals hereto.

                   (ss)        “FWE III Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

                   (tt)        “FWE III Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                   (uu)        “GOM Shelf” means GOM Shelf LLC, a Delaware limited liability
company.

                (vv) “GOM Shelf Oil and Gas Properties” means the ownership interests held by
GOM Shelf immediately prior to the closing of the transactions under the Apache PSA in (i) the
oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights, record title interests,
carried interests, royalties, overriding royalty interests, net profits interests, production payments,
reversionary interests, and other rights or interests of any kind or character in Hydrocarbons in
place and mineral interests or servitudes of every nature in, on, under, and that may be produced
from or attributable to any of the lands covered by such leases, subleases, interests, and rights,
whether legal or equitable, vested or contingent, and regardless of whether the same are expired
or terminated, including those described on Exhibit I-A attached hereto that are identified as GOM
Shelf Leases thereon (collectively, the “GOM Shelf Leases”), (ii) all pooled, communitized, or
unitized acreage that includes all or part of any GOM Shelf Leases (the “GOM Shelf Units”), (iii)
all tenements, hereditaments, and appurtenances belonging to the GOM Shelf Leases and the GOM
Shelf Units (collectively with the GOM Shelf Leases and GOM Shelf Units, the “GOM Shelf



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Lands”), and (iv) any and all Hydrocarbon, water, CO2, injection wells or other wells completed
on, drilled from, or otherwise located, in whole or in part, on, under, or within the GOM Shelf
Lands, in each case whether producing, non-producing, shut in, or permanently or temporarily
Plugged and Abandoned, including the wells set forth on Exhibit I-B attached hereto that are
identified as GOM Shelf Wells thereon and all wellbores spudded prior to the Effective Time
located on the GOM Shelf Lands (the “GOM Shelf Wells”); for the avoidance of doubt, (x) the
GOM Shelf Oil and Gas Properties shall not include any of the FWE II Retained Properties, (y)
the GOM Shelf Lands shall include only the ownership interests therein held by GOM Shelf
immediately prior to the closing of the transactions under the Apache PSA and the descriptions in
Exhibit I-A shall reference only such ownership interests, and (z) the GOM Shelf Wells shall
include only the ownership interests therein held by GOM Shelf immediately prior to the closing
of the transactions under the Apache PSA and the descriptions in Exhibit I-B shall reference only
such ownership interests.

                   (ww) “GOM Shelf Properties” means those assets or properties owned by GOM
Shelf.

               (xx) “Governmental Authority” means any federal, state, municipal, tribal, local,
or similar governmental authority, regulatory, or administrative agency, court, or arbitral body, or
any subdivision of any of the foregoing.

               (yy) “Hazardous Substances” means any pollutant, contaminant, dangerous or
toxic substance, hazardous or extremely hazardous substance or chemical, or otherwise hazardous
material or waste defined as “hazardous waste”, “hazardous substance” or “hazardous material”
under applicable Environmental Laws, including chemicals, pollutants, contaminants, wastes, or
toxic substances that are classified as hazardous, toxic, radioactive, or otherwise are regulated by,
or form the basis for Liability under, any applicable Environmental Law, including hazardous
substances under CERCLA.

               (zz) “Hydrocarbons” means oil and gas and other hydrocarbons produced or
processed in association therewith (regardless of whether such item is in liquid or gaseous form),
or any combination thereof, and any minerals (whether in liquid or gaseous form) produced in
association therewith, including all crude oil, gas, casinghead gas, condensate, natural gas liquids,
and other gaseous or liquid hydrocarbons (including ethane, propane, iso-butane, nor-butane,
gasoline, and scrubber liquids) of any type and chemical composition.

               (aaa) “Imbalance” means any over-production, under-production, over-delivery,
under-delivery, or similar imbalance of Hydrocarbons produced from or allocated to the FWE I
Assets or the FWE III Assets, as applicable, regardless of whether such over-production, under-
production, over-delivery, under-delivery, or similar imbalance arises at the wellhead, pipeline,
gathering system, transportation system, processing plant, or other location, including any
imbalances under gas balancing or similar agreements, imbalances under processing agreements,
and imbalances under gathering or transportation agreements.




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                   (bbb) “Implementation Cost Cap” shall be an amount equal to $[●].3

                (ccc) “Interim Unpaid P&A Expenses” has the meaning ascribed to such term in
clause (ix) in Part B of Schedule I attached hereto.

              (ddd) “JIB Advance AR” has the meaning ascribed to such term in clause (xvi) in
Part A of Schedule I attached hereto.

               (eee) “Laws” means all laws (including common law), statutes, rules,
regulations, ordinances, orders, decrees, requirements, judgments, and codes of Governmental
Authorities.

                   (fff)       “Merger” has the meaning ascribed to such term in the recitals hereto.

              (ggg) “Obligation” means any individual liability or obligation in any of the FWE
I Obligations or the FWE III Obligations; “Obligations” means, collectively, the FWE I
Obligations and the FWE III Obligations.

                (hhh) “P&A Obligations” means any and all obligations, liabilities, damages,
losses, and claims arising out of or attributable to the payment or performance of all Plugging and
Abandonment.

              (iii) “Person” means any individual, corporation, partnership, limited liability
company, trust, estate, Governmental Authority, or any other entity.

              (jjj) “Plan Effective Date” means the date on which the [Plan of
Reorganization/Confirmation Order becomes effective].

                   (kkk) “Plan of Merger” has the meaning ascribed to such term in the recitals
hereto.

                   (lll)       “Plan of Reorganization” has the meaning ascribed to such term in the
recitals hereto.

                (mmm)“Plugging and Abandonment” and “Plug and Abandon” and its derivatives
mean all plugging, replugging, abandonment, re-plugging and re-abandonment, equipment
removal, disposal, or restoration associated with the properties and assets included in or burdened
by the FWE I Assets or the FWE III Assets, as applicable, including all plugging and abandonment,
removal, dismantling, decommissioning, surface and subsurface restoration, site clearance, and
disposal of the FWE I Wells, the Wind Down Wells, or the Predecessor Wells, as applicable, or
the FWE I Facilities, the Wind Down Facilities, and the Predecessor Facilities, as applicable, well
cellars, fixtures, platforms, caissons, flowlines, pipelines, structures, and personal property of
whatever kind located on or under, related to, or associated with operations and activities
conducted by whomever with respect to each of the FWE I Assets and the FWE III Assets, as
applicable, the flushing, pickling, burial, removal, and capping of all associated flowlines, field

3
  Note to Draft: Implementation Costs Cap amount to be inserted once determined in accordance with Section 4 of
the Apache Term Sheet Implementation Agreement.



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transmission and gathering lines, pit closures, the restoration of the surface, site clearance, any
disposal of related waste materials and Hazardous Substances and obligations to obtain plugging
exceptions for any of the FWE I Wells, the Wind Down Wells, and the Predecessor Wells, as
applicable, with a current plugging exception, all in accordance with all applicable Laws, the terms
and conditions of each of the FWE I Leases, the Wind Down Leases, and the Predecessor Leases,
as applicable, or similar leasehold interests, beneficial interests, easements and the FWE I Leases,
the Wind Down Leases, and the Predecessor Leases, as applicable.

                   (nnn) “Predecessor Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

               (ooo) “Predecessor Contracts” has the meaning ascribed to such term in clause (x)
in Part A of Schedule III attached hereto.

                 (ppp) “Predecessor Facilities” has the meaning ascribed to such term in clause
(iii) in Part A of Schedule III attached hereto.

              (qqq) “Predecessor Lands” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

              (rrr) “Predecessor Leases” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

                   (sss)       “Predecessor Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                 (ttt) “Predecessor Oil and Gas Properties” has the meaning ascribed to such term
in clause (ii) in Part A of Schedule III attached hereto.

               (uuu) “Predecessor Permits” has the meaning ascribed to such term in clause (vi)
in Part A of Schedule III attached hereto.

                (vvv) “Predecessor Rights of Way” has the meaning ascribed to such term in
clause (v) in Part A of Schedule III attached hereto.

                (www) “Predecessor Suspense Funds” has the meaning ascribed to such term in
clause (xvii) in Part A of Schedule III attached hereto.

              (xxx) “Predecessor Units” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

              (yyy) “Predecessor Wells” has the meaning ascribed to such term in clause (ii) in
Part A of Schedule III attached hereto.

                (zzz) “Prepaid JIB Cash Amount” has the meaning ascribed to such term in clause
(xvi) in Part A of Schedule I attached hereto.




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              (aaaa) “Proprietary Seismic Data” means any and all proprietary Seismic Data
owned (but not licensed) by FWE related to the FWE I Assets and/or the FWE III Assets.

                 (bbbb) “Records” means all books, records, files, data, information, drawings,
maps, corporate, financial, tax, and legal data and records to the extent (and only to the extent)
related to the FWE I Assets, the FWE I Obligations, the FWE III Assets, and/or the FWE III
Obligations, as applicable, including electronic copies of all computer records where available,
contract files, lease files, well logs, division order files, title opinions and other title information
(including abstracts, evidences of rental payments, maps, surveys, and data sheets), hazard data
and surveys, production records, SEMS Documentation and Procedures, Proprietary Seismic Data,
engineering files, and environmental records.

                (cccc) “Release” means any discharge, emission, spilling, leaking, pumping,
pouring, injecting, dumping, burying, leaching, migrating, abandoning, or disposing into or
through the environment of any Hazardous Substance, including the abandonment or discarding
of barrels, containers, and other closed receptacles containing any Hazardous Substance.

                 (dddd) “Royalties” means all rentals, minimum royalties, shut in payments,
royalties, overriding royalties, reversionary interests, net profits interests, production payments,
carried interests, non-participating royalty interests, reversionary interests, and other royalty
burdens and other interests payable out of production of Hydrocarbons from or allocated to the
FWE I Oil and Gas Properties, the GOM Shelf Oil and Gas Properties, the Wind Down Oil and
Gas Properties, or the Predecessor Oil and Gas Properties, as applicable, or the proceeds thereof
to third parties.

               (eeee) “Seismic Data” means any and all seismic, geological, geochemical, and
geophysical data (including core and fluid samples and other engineering, geological, and/or
geophysical studies (including seismic data, studies, and information)), all licensed or proprietary
or confidential geologic, seismic, geophysical, and interpretative data, records, and analyses,
including any and all interpretations, derivative data, and other work products of any of the
foregoing, and other similar information and records, in each case relating to the Assets or the
regional area surrounding the Assets.

              (ffff) “SEMS Documentation and Procedures” means all documents and
procedures in place by FWE to comply with BSEE’s Safety and Environmental Management
System (SEMS) 30 CFR 250 Subpart S with respect to the FWE I Assets and/or the FWE III
Assets.

                (gggg) “Standby Facility” means a secured line of credit to be provided by Apache
to FWE I and GOM Shelf to fund the ongoing Plugging and Abandonment of the Legacy Apache
Properties (as such term is defined in the FWE I LLC Agreement) and the GOM Shelf Properties,
which shall become available to advance funds to FWE I and for use in accordance with the
Standby Credit Facility Documents. The Standby Facility shall be secured by a first-priority lien
on all the assets of FWE I (including all of the equity interests of GOM Shelf) and on all the GOM
Shelf Properties, provided that such lien shall also secure the obligations of FWE I to Apache
under the Decommissioning Agreement.




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                (hhhh) “Standby Credit Facility Documents” means the Standby Loan Agreement,
to be entered into promptly after the Effective Time, by and between FWE I and GOM Shelf, as
borrowers, and Apache, as lender, and all of the other agreements, documents, and instruments
related thereto governing or setting forth terms and conditions of the Standby Facility or of the
loans/borrowings made thereunder.

              (iiii) “Suspense Funds” means any and all funds held in suspense by FWE at the
Effective Time, and any interest accrued in escrow accounts for such suspended funds.

                   (jjjj)      “TBOC” has the meaning ascribed to such term in the recitals hereto.

                   (kkkk) “Wind Down Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

                (llll) “Wind Down Contracts” has the meaning ascribed to such term in clause
(x) in Part A of Schedule II attached hereto.

                 (mmmm)        “Wind Down Facilities” has the meaning ascribed to such term in
clause (iii) in Part A of Schedule II attached hereto.

              (nnnn) “Wind Down Lands” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

              (oooo) “Wind Down Leases” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

                   (pppp) “Wind Down Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                 (qqqq) “Wind Down Oil and Gas Properties” has the meaning ascribed to such term
in clause (ii) in Part A of Schedule II attached hereto.

               (rrrr) “Wind Down Permits” has the meaning ascribed to such term in clause (vi)
in Part A of Schedule II attached hereto.

                (ssss) “Wind Down Rights of Way” has the meaning ascribed to such term in
clause (v) in Part A of Schedule II attached hereto.

                (tttt) “Wind Down Suspense Funds” has the meaning ascribed to such term in
clause (xvii) in Part A of Schedule II attached hereto.

              (uuuu) “Wind Down Units” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

              (vvvv) “Wind Down Wells” has the meaning ascribed to such term in clause (ii) in
Part A of Schedule II attached hereto.




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        8.      Choice of Law. This Plan of Merger shall be governed by and construed in
accordance with the laws of the State of Texas, without giving effect to any choice or conflict of
law provision or rule (whether of the State of Texas or any other jurisdiction) that would cause the
application of the Laws of any jurisdiction other than the State of Texas and without regard to any
borrowing statute that would result in the application of the statutes of limitations or repose of any
other jurisdiction. In furtherance of the foregoing, the laws of the State of Texas will control even
if under such jurisdiction’s choice of law or conflict of law analysis, the substantive or procedural
law of some other jurisdiction would ordinarily or necessarily apply.

         9.      FWE III Obligation to Pay Recording Expenses. Subject to the Implementation
Costs Cap, FWE III shall, and shall cause its debtor affiliates in the Chapter 11 Cases to, on the
Plan Effective Date, provide for the payment of any and all documentary, filing, recording, stamp,
and registration fees, costs, taxes, and expenses (including all reasonable and documented
attorneys’ fees and regulatory consultant fees) incurred or imposed after the Effective Time in
connection with the filing of record by or on behalf of FWE I or GOM Shelf of any instrument or
instruments with the appropriate records office of any county, parish, state, federal, or other
governmental unit (including BOEM) that may be required in connection with the implementation
of the Merger or that either FWE I or GOM Shelf determines in its respective sole discretion to be
necessary or appropriate to reflect in the appropriate records of any governmental unit that as a
result of the Merger (a) ownership of the FWE I Assets have been allocated to and are vested in
FWE I (and to the extent appropriate to reflect ownership of the GOM Shelf Properties in GOM
Shelf), and (b) the liabilities and obligations to be allocated to and vested in, respectively, FWE I
or FWE III pursuant to the Merger have been allocated to and vested in, and constitute liabilities
and obligations of, FWE I and FWE III, respectively (collectively, the “Implementation Costs”).
For the avoidance of doubt, the documentary, filing, recording, stamp, and registration fees of
FWE I or GOM Shelf shall include such costs and expenses required to file or to cause to be filed
of record in the records office, as determined by Apache to be appropriate, of any county, parish,
state, federal, or other governmental unit (including BOEM) of the mortgages, security interests,
and similar security documentation as is contemplated by the Standby Facility and the Standby
Facility Documents to secure the obligations of FWE I and GOM Shelf thereunder. Any
Implementation Costs that exceed the Implementation Costs Cap shall be the sole responsibility
of and paid for by FWE I.

        10.    Interpretation. The captions herein are included for convenience of reference only
and shall be ignored in the construction or interpretation hereof. As used herein, the words
“include,” “includes,” and “including” shall be deemed to be followed by the words “without
limitation” and will not be construed to limit any general statement that it follows to the specific
or similar items or matters immediately following it. Words such as “herein,” “hereinafter,”
“hereof,” and “hereunder” refer to this Plan of Merger as a whole and not merely to a subdivision
in which such words appear unless the context otherwise requires. All Exhibits and Schedules
annexed hereto or referred to in this Plan of Merger are hereby incorporated in and made a part of
this Plan of Merger as if set forth in full in this Plan of Merger, and definitions therein shall apply
herein. Any capitalized terms used in any Schedule or Exhibit but not otherwise defined therein
will be defined as set forth in this Plan of Merger, and vice-versa. A reference to any legislation
or to any provision of any legislation shall include any modification or re-enactment thereof, any
legislative provision substituted therefor, and all regulations and statutory instruments issued
thereunder or pursuant thereto.


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       11.      Rejected Contracts. Any Contract rejected pursuant to Section 365 of the
Bankruptcy Code in the Chapter 11 Cases shall be deemed to be excluded and removed from any
Exhibit or Schedule attached hereto, and any such Contract shall not be allocated to any of FWE I
or FWE III, and any liabilities or obligations of such Contract shall be treated in accordance with
the Plan of Reorganization and Confirmation Order or otherwise satisfied, compromised, settled,
released, or discharged pursuant to the Plan of Reorganization and Confirmation Order.

                                          * * * * * *




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        IN WITNESS WHEREOF, the undersigned has duly executed this Plan of Merger as of
the date first written above.

                                                 FIELDWOOD ENERGY LLC,
                                                 a Texas limited liability company


                                                 By:
                                                 Name:
                                                 Title:




                               Signature Page to Agreement and Plan of Merger
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                                    Exhibit A

                               Certificate of Merger

                                   [see attached]




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                                          Exhibit B

                               Certificate of Formation – FWE I

                                        [see attached]




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                                                   Schedule I 4

                                  FWE I Assets and FWE I Obligations

Part A:

“FWE I Assets” means all of FWE’s right, title, and interest in, to, or under the following, less
and except any FWE II Retained Properties:

            (i)    the ownership interests Conveyed5 to FWE pursuant to the Apache PSA in the oil,
    gas, other Hydrocarbon, and mineral leases, subleases, operating rights, record title interests,
    carried interests, royalties, overriding royalty interests, net profits interests, production payments,
    reversionary interests, and other rights or interests of any kind or character in or to Hydrocarbons
    in place and mineral interests or servitudes of every nature, in, on, under, and that may be
    produced from or attributable to any of the lands covered by such leases, subleases, interests, and
    rights, whether legal or equitable, vested or contingent, and regardless of whether the same are
    expired or terminated, including those described on Exhibit I-A attached hereto that are identified
    as FWE I Leases thereon (collectively, the “FWE I Leases”), together with all pooled,
    communitized, or unitized acreage that includes all or part of any of the FWE I Leases (the “FWE
    I Units”), and all tenements, hereditaments, and appurtenances belonging to the FWE I Leases
    and the FWE I Units (collectively with the FWE I Leases and FWE I Units, the “FWE I Lands”);
    for the avoidance of doubt, the FWE I Lands shall only include the ownership interests therein
    Conveyed to FWE pursuant to the Apache PSA and the descriptions in Exhibit I-A shall only
    reference such ownership interests;

            (ii) the ownership interests Conveyed to FWE pursuant to the Apache PSA in any and
    all Hydrocarbon, water, CO2, injection, disposal wells or other wells completed on, drilled from,
    or otherwise located, in whole or in part,6 on, under, or within the FWE I Lands, in each case
    whether producing, non-producing, shut in, or temporarily or permanently Plugged and
    Abandoned, including the wells set forth on Exhibit I-B attached hereto that are identified as FWE
    I Wells thereon and all wellbores spudded prior to the Effective Time located on the FWE I Lands
    (the “FWE I Wells” and, together with the FWE I Leases and the FWE I Units, but excluding the
    FWE II Retained Properties, the “FWE I Oil and Gas Properties”); for the avoidance of doubt,
    the FWE I Wells shall only include the ownership interests therein Conveyed to FWE pursuant



4
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.
5
  Note to Draft: Any additional interests in the FWE I Assets acquired by FWE other than under the Apache PSA
(“Add-On Interests”) are to be identified by FWE and if, upon being identified, Apache agrees to the inclusion of such
interest in the FWE I Assets Schedule I will be modified to include such interests and if Apache does not agree then
such interests will be allocated to and vested in FWE III to the extent held by FWE as of the Effective Time.
6
  Note to Draft: FWE to confirm whether there are any wells that are not Legacy Apache Properties that would
otherwise fall within this description, and, if so, expressly exclude those wells and allocate them to FWE III.




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    to the Apache PSA and the descriptions in Exhibit I-B shall only reference such ownership
    interests;

             (iii) all platforms and facilities, including all associated processing systems, buildings,
    compressors, meters, tanks, machinery, tools, personal property, equipment (including spars,
    trees, PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
    equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
    gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
    facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and
    other property (whether real, immovable, personal, movable, mixed or otherwise) that (a) are
    located on or appurtenant to any of the FWE I Leases, the FWE I Lands, the FWE I Rights of
    Way, the FWE I Wells, or the GOM Shelf Oil and Gas Properties, (b) are used or held for use in
    whole or in part in connection with any of the FWE I Wells or the GOM Shelf Wells and the
    operation of any of the FWE I Leases, or the GOM Shelf Leases (whether located on or
    appurtenant to any of the FWE I Leases, the FWE I Lands, the FWE I Rights of Way, the FWE I
    Wells, the GOM Shelf Leases, the GOM Shelf Lands, the GOM Shelf Wells, or stored at a
    different location (onshore or offshore)), or (c) were acquired by FWE pursuant to the
    Apache PSA, but in such event only as to the interests so acquired by FWE under and pursuant
    to such Apache PSA, and such flowlines, pipelines, gathering lines, and/or pipeline capacity that
    either (1) are used or held for use in whole or in part in connection with any of the FWE I Leases,
    the FWE I Wells or the FWE I Units operations or the production, transportation, or processing
    of Hydrocarbons produced from any of the FWE I Oil and Gas Properties, or (2) were acquired
    by FWE pursuant to the Apache PSA, but in such event only as to the interests so acquired by
    FWE under and pursuant to such Apache PSA, including all platforms identified on Exhibit I-
    C(i) attached hereto and all facilities identified on Exhibit I-C(ii) attached hereto (the “FWE I
    Facilities”);

             (iv) the Proprietary Seismic Data and licensed Seismic Data relating, in whole or in
    part, to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties; 7

            (v) all surface fee interests, easements, right-of-use easements, licenses, servitudes,
    rights-of-way, surface leases, authorizations, permits, and other rights to use the surface or seabed
    appurtenant to, and held for use in whole or in part in connection with, the ownership or operation
    of any or all of the GOM Shelf Oil and Gas Properties or any or all of the properties, rights, titles,
    and interests described in clauses (i) through (iii) and (vi) of this Schedule I, Part A, but only to
    the extent such either (i) are used or held for use exclusively in connection with the ownership or
    operation of such properties, rights, titles, and interests, or (ii) were acquired by FWE pursuant to
    the Apache PSA, but in such event only as to the interests so acquired by FWE under and pursuant
    to such Apache PSA, including the property described on Exhibit I-D(i) attached hereto and
    Exhibit I-D(ii) attached hereto (the “FWE I Rights of Way”);

            (vi) all environmental and other governmental (whether federal, state, or local) permits
    (including all plans filed with or approved by applicable Government Authorities), licenses,
    orders, authorizations, franchises, and related instruments or rights to the extent relating in whole
    or in part to the ownership, operation, or use of any or all of the GOM Shelf Oil and Gas Properties

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    Note to Draft: No proprietary seismic (remains under review).


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Schedule I – FWE Wind Down
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    or any or all of the properties, rights, titles, and interests described in clauses (i) through (iii), (v)
    and (viii) of this Schedule I, Part A (the “FWE I Permits”);8

           (vii) Service Agreement, dated April 1, 2015, applicable to Firm Transportation Service
    under FT-2 Rate Schedule by and between Discovery Gas Transmission LLC as Transporter and
    Fieldwood Energy LLC as Shipper;

            (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
    FWE I Leases, the FWE I Units, or the FWE I Wells, including all oil, condensate, and scrubber
    liquids inventories and ethane, propane, iso-butane, nor-butane, and gasoline inventories of FWE
    from the FWE I Oil and Gas Properties in storage or constituting linefill and Imbalances;

              (ix)   the FCC licenses associated with the call signs listed on Exhibit I-E attached
           9
    hereto;

            (x) all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
    and other instruments that relate, in whole or in part, to the ownership or operation of any or all
    of the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (and including any
    insurance contract if such insurance contract provides coverage for any incident that occurs on
    any FWE I Asset(s) or the GOM Shelf Oil and Gas Properties at, before, or after the Effective
    Time, but excluding all derivative or hedge agreements (including any ISDAs) or rights
    thereunder) or any other properties, rights, titles, and interests described in the clauses of this
    Schedule I, Part A, including operating agreements, unitization, pooling, and communitization
    agreements, declarations and orders, area of mutual interest agreements, exploration agreements,
    joint venture agreements, farmin and farmout agreements, exchange agreements, purchase and
    sale agreements, and other contracts relating to the FWE I Assets (but expressly excluding any
    such agreements pursuant to which FWE acquired interests in or to any other FWE I Assets in
    addition to the rights, title, and interests acquired by FWE under the Apache PSA), transportation
    agreements, agreements for the sale and purchase of Hydrocarbons, processing agreements, and
    service agreements (together with the agreements referenced in clause (xxii) below), including
    the contracts listed on Exhibit I-F attached hereto (the “FWE I Contracts”);

           (xi) originals of the Records that relate, in whole or in part, to any one or more of the
    FWE I Assets, the FWE I Obligations, or the GOM Shelf Oil and Gas Properties (whether or not
    such Records also relate to any one or more of the FWE III Obligations or the FWE III Assets);

           (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
    located on the FWE I Facilities or, if located elsewhere, used or held for use, in whole or part, in
    connection with the FWE I Oil and Gas Properties, the FWE I Facilities, or the GOM Shelf Oil
    and Gas Properties, or charged to the joint account pursuant to the applicable FWE I Contracts,
    including those items listed on Exhibit I-G attached hereto;


8
  Note to Draft: To be determined if there are Permits used for the FWE I Assets and also FWE III such that FWE
III will need to obtain its own permits.
9
 Note to Draft: To include licenses for GOM Shelf if not held by GOM Shelf directly. FWE confirming there are
only 5 licenses relating to all of the FWE I and GOM Shelf properties.


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         (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
 related telemetry, licensed radio frequencies, and associated communications infrastructure
 including towers, antennas, data links, and network circuits used or held for use, in whole or in
 part, in connection with the FWE I Oil and Gas Properties, the FWE I Facilities, or the GOM
 Shelf Oil and Gas Properties, or for the production of Hydrocarbons therefrom;

         (xiv) all deposits with third parties, escrow accounts, guarantees, letters of credit,
 treasury securities, insurance policies relating, in whole or in part, to the FWE I Assets, surety
 bonds, all Oil Spill Financial Responsibility coverage (whether consisting of one or more
 insurance policies) and other forms of credit assurances or credit support provided by a third party
 for the benefit of FWE for financial assurance for the obligations and liabilities arising out of or
 related to the FWE I Assets, the GOM Shelf Oil and Gas Properties, or GOM Shelf, including the
 Plugging and Abandonment Obligations arising out of or related to the FWE I Assets or the GOM
 Shelf Oil and Gas Properties, including those items listed on Exhibit I-H attached hereto;

         (xv) all agreements and memberships relating, in whole or in part, to well
 containment/control, clean-up of spills, or other pollution, or the gathering of data relating to
 certifications required to be made to Governmental Authorities with respect to the FWE I Assets
 or GOM Shelf Oil and Gas Properties;10

         (xvi) all (i) accounts receivable as of the Effective Time associated with the FWE I Oil
 and Gas Properties or the GOM Shelf Oil and Gas Properties other than the Closing Accounts
 Receivable, (ii) instruments and general intangibles (as such terms are defined in the Uniform
 Commercial Code of the applicable jurisdictions in which the FWE I Oil and Gas Properties or
 GOM Shelf Oil and Gas Properties to which such assets relate are located) and other economic
 benefits in each case attributable to the FWE I Oil and Gas Properties or the GOM Shelf Oil and
 Gas Properties (excluding only the Closing Accounts Receivable); provided, that, for the
 avoidance of doubt, nothing in the preceding clauses (i) or (ii) shall be interpreted to limit the
 scope of “Closing Accounts Receivable” as that term is defined in the Credit Bid Purchase
 Agreement, (iii) claims of indemnity, contribution, or reimbursement of FWE or of GOM Shelf,
 in each case, relating to the FWE I Obligations or obligations of GOM Shelf, (iv) Imbalances
 receivables of FWE or of GOM Shelf, in each case, attributable to the FWE I Oil and Gas
 Properties or the GOM Shelf Oil and Gas Properties, (v) rights to insurance proceeds or other
 claims of recovery, indemnity, contribution, or reimbursement of FWE attributable to the FWE I
 Assets or the GOM Shelf Oil and Gas Properties due to casualty or other damage or destruction
 of or to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties, (vi) cash in
 the amount of advance payments on account of third party working interest owners in the FWE I
 Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (“Prepaid JIB Cash Amount”),
 to the extent such Prepaid JIB Cash Amount is associated with FWE I Obligations, and (vii) rights
 to receive and collect cash and advance payments pursuant to cash calls associated with the FWE
 I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (“JIB Advance AR”), to the
 extent such JIB Advance AR is associated with FWE I Obligations;



10
 Note to Draft: There are not any memberships that are specific to the FWE I Assets; may need new agreements.
Under further review.


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       (xvii) all Suspense Funds (i) of FWE to the extent attributable to any of the FWE I Oil
 and Gas Properties or the GOM Shelf Oil and Gas Properties, and (ii) of GOM Shelf (collectively,
 “FWE I Suspense Funds”);

           (xviii) all equity interests set forth on Exhibit I-I (“FWE I Subsidiaries”);

          (xix) the Decommissioning Agreement, dated as of September 30, 2013, by and among
 Apache Corporation, Apache Shelf, Inc., Apache Deepwater LLC, Apache Shelf Exploration
 LLC, FWE and GOM Shelf LLC, as amended by (i) the First Amendment thereto, dated as of
 September 30, 2013, (ii) the Second Amendment thereto, dated as of September 30, 2013,
 (iii) the Third Amendment thereto, dated effective as of April 25, 2017, (iv) the Fourth
 Amendment thereto dated effective as of September 1, 2017, as amended by that certain Letter
 Agreement, dated January 3, 2018, and (v) the Fifth Amendment thereto, dated effective as of
 April 11, 2018 (the “Decommissioning Agreement”);

        (xx) the Apache PSA and the transaction documents entered into in connection with the
 consummation of the transactions contemplated thereby, including the Joint Exploration
 Agreement (as defined in the Apache PSA), the Master Facilities Use, Access, Production
 Handling and Transportation Agreement (as defined in the Apache PSA), and the Fully Paid Up
 Turnkey Removal Contract (as defined in the Apache PSA);

        (xxi) all rights [to the BOEM qualification held by FWE immediately prior to the
 Effective Time and its BOEM operator number (GOM #3295), and]11 all area-wide operator
 bonds, supplemental bonds, or other securities, or any authorization or permission from, the
 BOEM, BSEE, or any other Governmental Authority, held by FWE (a) in whole or in part for
 any FWE I Assets (which, for the avoidance of doubt, include all rights of FWE in any area-wide
 bonds)12 or (b) with respect to GOM Shelf, in whole or in part for any of the GOM Shelf Oil and
 Gas Properties;

      (xxii) beneficial ownership of The Trust established by that certain Fieldwood
 Decommissioning Trust A Trust Agreement dated September 30, 2013;

         (xxiii) cash in an amount (the “FWE I Cash Amount”) equal to $50.0 million minus the
 sum of (a) the actual cash expenditures paid by FWE for Plugging and Abandonment costs and
 expenses on the FWE I Assets between the filing on August 3, 2020 of the Chapter 11 Cases and
 the Effective Time and (b) the actual cash payments made by FWE between January 4, 2021 and
 the Effective Time to the individual engaged as the sole manager of FWE I;

           (xxiv) the Fieldwood Joint Use Properties as specified in Section 6 of the Plan of Merger;
 and


11
  Note to Draft: Now that FWE I is no longer the surviving entity under the divisive merger, to confirm whether
BOEM qualification will be permitted to “vest” in FWE I or whether FWE I will be required to obtain its own
qualification separate from FWE’s qualification (which will inure to FWE III instead).
12
  Note to Draft: to confirm if area-wide bonds will be permitted to be split between FWE I and FWE III per the
divisive merger. If not and FWE I gets such bonds, then FWE III may need to post its own separate area-wide bonds.
Who will pay for such?


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         (xxv) the specific interests in and to the wells, pipelines, platforms, and facilities set forth
 on Exhibit I-K which were acquired or assumed by FWE as a result of co-owner actions under
 applicable joint or unit operating agreements or as a result of a recalculation determined in
 accordance with the terms of a FWE I Contract, and such interests will be deemed to be included
 in the FWE I Leases, FWE I Units, FWE I Lands , FWE I Wells , FWE I Facilities , and FWE I
 Rights-of-Way, as applicable.13

         For the avoidance of doubt, the FWE I Assets do not include any of the leases, rights of
way, or other assets specified in Exhibit I-J14 attached hereto (such assets, collectively, the “FWE
II Retained Properties”), which FWE II Retained Properties were conveyed to FWE II pursuant to
the Credit Bid Purchase Agreement, and the FWE I Obligations shall not include any obligations
attributable to such FWE II Retained Properties.

Part B:

“FWE I Obligations” means (A) all of the obligations and liabilities (contractual or otherwise) of
FWE, without duplication, of any kind, character, or description (whether known or unknown,
accrued, absolute, contingent, or otherwise) relating to, arising out of, or with respect to any of the
FWE I Assets, the GOM Shelf Oil and Gas Properties, or FWE I’s ownership interest in GOM
Shelf, including obligations and liabilities of FWE: (i) relating to the furnishing of makeup gas
according to the terms of applicable gas sales, gathering, or transportation FWE I Contracts and
all obligations with respect to Imbalances arising out of, related to, or attributable to FWE I’s
ownership interests in any of the FWE I Oil and Gas Properties or in GOM Shelf; (ii) with respect
to Royalties arising out of, related to, or attributable to any of the FWE I Oil and Gas Properties,
FWE I Suspense Funds, and Prepaid JIB Cash Amounts, including any reporting and/or mis-
reporting, and payment and/or mis-payment of such Royalties, FWE I Suspense Funds, or Prepaid
JIB Cash Amounts; (iii) constituting or related to Environmental Liabilities arising out of, related
to, or attributable to any of the FWE I Assets; (iv) applicable to or imposed on the lessee, owner,
operator, holder, responsible party, payor or designated applicant under or with respect to any of
the FWE I Assets or GOM Shelf Oil and Gas Properties; (v) constituting or relating to any and all
P&A Obligations related to FWE I’s or GOM Shelf’s, as the case may be, ownership interests in,
or operation of, any of the FWE I Assets or GOM Shelf Oil and Gas Properties; (vi) relating to
the FWE I Suspense Funds; (vii) relating to the Decommissioning Agreement and the
Decommissioning obligations thereunder; (viii) relating to the Apache PSA or any of the
agreements entered into in connection with the consummation of the transactions contemplated

13
   Note to Draft: If the parties agree to include Add-On Interests in the FWE I Assets, Exhibit I-K will be added to
specifically identify the interests agreed upon to be included. If the parties do not agree to include Add-On Interests
in the FWE I Assets, item (xxv) will be deleted.
14
   Note to Draft: Exhibit I-J should list as FWE II Retained Properties the properties included in the fields which are
identified to be owned and operated by FWE II on Schedule A to the Term Sheet dated July 31, 2020. [NTD: per
HAK, FWE to confirm these properties consist of only the following properties: Oil and Gas Lease bearing Serial No.
OCS-G 21685 covering South Timbalier 308, Oil and Gas Lease bearing Serial No. OCS-G24987 covering South
Timbalier 287, Oil and Gas Lease bearing Serial No. OCS-G10687 covering Vermilion 287, Oil and Gas Lease bearing
Serial No. OCS-G09522 covering Vermilion 363, Oil and Gas Lease bearing Serial No. OCS-G09524 covering
Vermilion 371, Oil and Gas Lease bearing Serial No. OCS-G04421 covering Vermilion 78, Right of Way bearing
Serial No. OCS-G29427 for Pipeline Segment No. 20278 pertaining to South Timbalier 308, and Right of Way bearing
Serial No. OCS-G15047 for Pipeline Segment No. 10675 pertaining to Vermilion 371].


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thereby, including the Joint Exploration Agreement (as defined in the Apache PSA), the Master
Facilities Use, Access, Production Handling and Transportation Agreement (as defined in the
Apache PSA), and the Fully Paid Up Turnkey Removal Contract (as defined in the Apache PSA);
and (ix) expenses incurred by FWE for Plugging and Abandonment costs and expenses on the
FWE I Assets between the filing on August 3, 2020, of the Chapter 11 Cases and the Effective
Time to the extent not paid as of the Effective Time (such incurred but unpaid expenses, the
“Interim Unpaid P&A Expenses”); and (B) the obligations of FWE I under Section 3(b)(i) of the
Plan of Merger; provided, however, that, subject to the foregoing clause (B), the FWE I
Obligations do not include (1) any of the FWE III Obligations, (2) any of the Credit Bid Assumed
Liabilities, (3) obligations for personal injury or damage to property arising from the ownership or
operation of any property that is not included in the FWE I Assets or GOM Shelf Oil and Gas
Properties, and (4) any claims, liabilities, or obligations satisfied, compromised, settled, released,
or discharged pursuant to the Plan of Reorganization and Confirmation Order.




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                                                   Schedule II15

                               Wind Down Assets and Wind Down Obligations

Part A:

“Wind Down Assets” means all of FWE’s right, title, and interest in, to, or under the following,
subject to Section 6 of the Plan of Merger:

         (i)     the oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights,
 record title interests, carried interests, royalties, overriding royalty interests, net profits interests,
 production payments, reversionary interests, and other rights or interests of any kind or character
 in and to Hydrocarbons in place and mineral interests or servitudes of every nature, in, on, under,
 and that may be produced from or attributable to any of the lands covered by the leases, subleases,
 interests, and rights described on Exhibit II-A attached hereto, whether legal or equitable, vested
 or contingent, and regardless of whether the same are expired or terminated (collectively, the
 “Wind Down Leases”), together with all pooled, communitized, or unitized acreage that includes
 all or part of any of the Wind Down Leases (the “Wind Down Units”), and all tenements,
 hereditaments, and appurtenances belonging to the Wind Down Leases and the Wind Down Units
 (collectively with the Wind Down Leases and Wind Down Units, the “Wind Down Lands”);

         (ii) any and all Hydrocarbon, water, CO2, injection, disposal wells or other wells
 located on, under, or within the Wind Down Lands described on Exhibit II-B attached hereto, in
 each case whether producing, non-producing, shut-ins, or temporarily or permanently Plugged
 and Abandoned, including the wells set forth on Exhibit II-B attached hereto and all wellbores
 spudded prior to the Effective Time located on the Wind Down Lands (the “Wind Down Wells”
 and, together with the Wind Down Leases and Wind Down Units, the “Wind Down Oil and Gas
 Properties”);

          (iii) all platforms and facilities, including all associated processing systems, buildings,
 compressors, meters, tanks, machinery, tools, personal property, equipment (including spars,
 trees, PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
 equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
 gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
 facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and
 other property (whether real, immovable, personal, movable, and mixed or otherwise) that is
 located on or appurtenant to any of the Wind Down Leases, the Wind Down Lands, the Wind
 Down Rights of Way, or the Wind Down Wells or used or held for use exclusively in connection
 with any of the Wind Down Wells and the operation of any of the Wind Down Leases (whether
 located on or appurtenant to any of the Wind Down Leases, the Wind Down Lands, the Wind
 Down Rights of Way, or the Wind Down Wells, or stored at a different location (onshore or
 offshore)), and such flowlines, pipelines, gathering lines, and/or pipeline capacity that are used
 or held for use exclusively in connection with any of the Wind Down Leases, the Wind Down

15
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.




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 Wells, or the Wind Down Units operations or the production, transportation, or processing of
 Hydrocarbons produced from any of the Wind Down Oil and Gas Properties, including all
 platforms identified on Exhibit II-C(i) attached hereto and all facilities identified on Exhibit II-
 C(ii) attached hereto, but excluding any FWE I Facilities (the “Wind Down Facilities”);

       (iv) Proprietary Seismic Data and licensed Seismic Data relating exclusively to the
 Wind Down Oil and Gas Properties;

         (v) all surface fee interests, easements, right-of-use easements, licenses, servitudes,
 rights-of-way, surface leases, authorizations, permits, and other rights to use the surface or seabed
 appurtenant to, and used or held for use exclusively in connection with, the ownership or
 operation of any or all of the properties, rights, titles, and interests described in clauses (i) through
 (iii) and (vi) of this Schedule II, Part A, including the property described on Exhibit II-D(i)
 attached hereto and Exhibit II-D(ii) attached hereto (the “Wind Down Rights of Way”);

         (vi) all environmental and other governmental (whether federal, state, or local) permits
 (including all plans filed with or approval by applicable Governmental Authorities), licenses,
 orders, authorizations, franchises, and related instruments or rights relating exclusively to the
 ownership, operation, or use of the properties, rights, titles, and interests described in clauses (i)
 through (iii), (v) and (viii) of this Schedule II, Part A (the “Wind Down Permits”);

            (vii)   all transportation agreements described on Exhibit II-F attached hereto;16

         (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
 Wind Down Leases, the Wind Down Units, or the Wind Down Wells, including all oil,
 condensate, and scrubber liquids inventories and ethane, propane, iso-butane, nor-butane, and
 gasoline inventories of FWE from the Wind Down Oil and Gas Properties in storage or
 constituting linefill and Imbalances;

            (ix)    the FCC licenses associated with the call signs listed on Exhibit II-E attached
 hereto;

         (x) all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
 and other instruments that relate exclusively to the ownership or operation of any or all of the
 Wind Down Oil and Gas Properties or any other properties, rights, titles, and interests described
 in the clauses of this Schedule II, Part A, including operating agreements, unitization, pooling,
 and communitization agreements, declarations and orders, area of mutual interest agreements,
 exploration agreements, joint venture agreements, farmin and farmout agreements, exchange
 agreements, purchase and sale agreements, and other contracts in which FWE acquired interests
 in any other Wind Down Assets, transportation agreements, agreements for the sale and purchase
 of Hydrocarbons, processing agreements, and service agreements, including the contracts listed
 on Exhibit II-F attached hereto (the “Wind Down Contracts”);




16
     Note to Draft: To be determined if any FERC regulated transportation agreements need FERC waivers.


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        (xi) originals of the Records that relate solely to the Wind Down Assets or the Wind
 Down Obligations, or both, and copies of the Records that constitute FWE I Assets or Predecessor
 Assets and also relate to either or both of the Wind Down Assets or the Wind Down Obligations;

          (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
 located on the Wind Down Facilities or, if located elsewhere, used or held for use exclusively in
 connection with the Wind Down Oil and Gas Properties or the Wind Down Facilities or charged
 to the joint account pursuant to the applicable Wind Down Contracts, including those items listed
 on Exhibit II-G attached hereto;

         (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
 related telemetry, licensed radio frequencies, and associated communications infrastructure
 including towers, antennas, data links, and network circuits used or held for use exclusively in
 connection with the Wind Down Oil and Gas Properties and the Wind Down Facilities or for the
 production of Hydrocarbons therefrom;

         (xiv) all cash (subject to the obligation of FWE to deliver the FWE I Cash Amount, the
 FWE I Suspense Funds, and the Prepaid JIB Cash Amount to FWE I), and all third party deposits,
 escrow accounts, guarantees, letters of credit, treasury securities, surety bonds, and other forms
 of credit assurances or credit support provided by a third party for the benefit of FWE for financial
 assurance for the obligations and liabilities arising out of or related to any other Wind Down
 Assets (but not also in part any FWE I Assets), including the Plugging and Abandonment
 Obligations arising out of or related to any other Wind Down Assets (but not also in part any
 FWE I Assets);

        (xv) all agreements and memberships relating exclusively to well containment/control,
 clean-up of spills, or other pollution, or the gathering of data relating to certifications required to
 be made to Governmental Authorities with respect to the Wind Down Assets; and

          (xvi) all (i) accounts receivable attributable to the Wind Down Oil and Gas Properties
 with respect to any period of time, (ii) rights to any payout or recovery for any Casualty occurring
 on or at any Wind Down Asset, whether occurring prior to, on or after Plan Effective Date,
 (iii) instruments and general intangibles (as such terms are defined in the Uniform Commercial
 Code of the applicable jurisdictions in which the Wind Down Oil and Gas Properties to which
 such assets relate are located), and other economic benefits attributable to the Wind Down Oil
 and Gas Properties, (iv) claims of indemnity, contribution, or reimbursement relating to the Wind
 Down Obligations and (v) Imbalances receivables of FWE attributable to the Wind Down Oil and
 Gas Properties;

       (xvii) all Suspense Funds of FWE to the extent attributable to any of the Wind Down Oil
 and Gas Properties (the “Wind Down Suspense Funds”); and

        (xviii) all rights to any supplemental bonds or other securities (excluding area-wide bonds)
 held by, or any authorization or permission from, the BOEM, BSEE, or any other Governmental
 Authority with respect to FWE exclusively for other Wind Down Assets.

Part B:


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“Wind Down Obligations” means: all of the obligations and liabilities (contractual or otherwise)
of FWE of any kind, character or description (whether known or unknown, accrued, absolute,
contingent, or otherwise) relating to, arising out of, or with respect to any of the Wind Down
Assets, including obligations and liabilities of FWE: (i)(a) relating to the furnishing of makeup
gas according to the terms of applicable gas sales, gathering, or transportation Wind Down
Contracts and all obligations with respect to Imbalances attributable to the FWE III’s ownership
interests in any of the Wind Down Oil and Gas Properties; (b) with respect to Royalties arising out
of, related to, or attributable to any of the Wind Down Oil and Gas Properties and Wind Down
Suspense Funds, including any reporting and/or mis-reporting, and payment and/or mis-payment
of such Royalties or the Wind Down Suspense Funds; (c) constituting or related to Environmental
Liabilities arising out of, related to, or attributable to any of the Wind Down Assets; (d) applicable
to or imposed on the lessee, owner, operator, holder, responsible party, payor or designated
applicant under or with respect to any of the Wind Down Assets, or as required by applicable
Laws; and (e) constituting or relating to any and all P&A Obligations related to the FWE III’s
ownership interests in, or operation of, any of the Wind Down Assets; and (ii) the liabilities and
obligations of the FWE III specified in Section 6 of the Plan of Merger to the extent attributable
to use of the Joint Use Properties with respect to the Wind Down Assets; provided, however, that
the Wind Down Obligations do not include any claims, liabilities or obligations satisfied,
compromised, settled, released or discharged pursuant to the Plan of Reorganization and
Confirmation Order.




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                               Predecessor Assets and Predecessor Obligations

Part A:

“Predecessor Assets” means all of FWE’s right, title, and interest in, to, or under the following,
subject to Section 6 of the Plan of Merger:18

         (i)     the oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights,
 record title interests, carried interests, royalties, overriding royalty interests, net profits interests,
 production payments, reversionary interests, and other rights or interests of any kind or character
 in or to Hydrocarbons in place and mineral interests or servitudes of every nature, in, on, under,
 and that may be produced from or attributable to any of the lands covered by the leases, subleases,
 interests, and rights described on Exhibit III-A attached hereto, whether legal or equitable, vested
 or contingent, and regardless of whether the same are expired or terminated (collectively, the
 “Predecessor Leases”), together with all pooled, communitized, or unitized acreage that includes
 all or part of any of the Predecessor Leases (the “Predecessor Units”), and all tenements,
 hereditaments, and appurtenances belonging to the Predecessor Leases and the Predecessor Units
 (collectively with the Predecessor Leases and Predecessor Units, the “Predecessor Lands”);

        (ii) any and all Hydrocarbon, water, CO2, injection, disposal wells or other wells
 located on, under, or within the Predecessor Lands described on Exhibit III-B attached hereto, in
 each case whether producing, non-producing, shut-in, or temporarily or permanently Plugged and
 Abandoned, including the wells set forth on Exhibit III-B attached hereto and all wellbores
 spudded prior to the Effective Time located on the Predecessor Lands (the “Predecessor Wells”
 and, together with the Predecessor Leases and the Predecessor Units, the “Predecessor Oil and
 Gas Properties”);

         (iii) all platforms and facilities, including all associated processing systems, buildings,
compressors, meters, tanks, machinery, tools, personal property, equipment (including spars, trees,
PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and other
property (whether real, immovable, personal, movable, mixed, or otherwise) that is located on or
appurtenant to any of the Predecessor Leases, the Predecessor Lands, the Predecessor Rights of
Way, or the Predecessor Wells or used or held for use exclusively in connection with the any of
Predecessor Wells and the operation of any of the Predecessor Leases (whether located on or
appurtenant to any of the Predecessor Leases, the Predecessor Lands, Predecessor Rights of Way,

17
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.
18
   Note to Draft: To be determined if any Predecessor Assets constitute assets in which FWE I will also own an
interest and, as to such assets, modify Schedule III as necessary to cover only the applicable interest in such assets to
be allocated to and vest in FWE III as Predecessor Assets.




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or the Predecessor Wells, or stored at a different location (onshore or offshore)), and such
flowlines, pipelines, gathering lines, and/or pipeline capacity that are used or held for use
exclusively in connection with any of the Predecessor Leases, the Predecessor Wells or the
Predecessor Units operations or the production, transportation, or processing of Hydrocarbons
produced from any of the Predecessor Oil and Gas Properties, including all platforms identified
on Exhibit III-C(i) attached hereto and all facilities identified on Exhibit III-C(ii) attached hereto,
but excluding any FWE I Facilities (the “Predecessor Facilities”);

       (iv)    Proprietary Seismic Data and licensed Seismic Data relating exclusively to the
Predecessor Oil and Gas Properties;

        (v)     all surface fee interests, easements, right-of-use easements, licenses, servitudes,
rights-of-way, surface leases and other rights to use the surface or seabed appurtenant to, and used
or held for use exclusively in connection with, the ownership or operation of any or all of the
properties, rights, titles, and interests described in clauses (i) through (iii) and (vi) of this Schedule
III, Part A, including the property described on Exhibit III-D(i) attached hereto and Exhibit III-
D(ii) attached hereto (the “Predecessor Rights of Way”);

        (vi)     all environmental and other governmental (whether federal, state, or local) permits
(including all plans filed with or approval by applicable Governmental Authorities), licenses,
orders, authorizations, franchises, and related instruments or rights relating exclusively to the
ownership, operation, or use of the properties, rights, titles, and interests described in clauses (i)
through (iii), (v) and (viii) of this Schedule III, Part A (the “Predecessor Permits”);

           (vii)   all transportation agreements described on Exhibit III-F attached hereto;19

       (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
Predecessor Leases, the Predecessor Units, or the Predecessor Wells, including all oil, condensate,
and scrubber liquids inventories and ethane, propane, iso-butane, nor-butane, and gasoline
inventories of FWE from the Predecessor Oil and Gas Properties in storage or constituting linefill
and Imbalances;

           (ix)    the FCC licenses associated with the call signs listed on Exhibit III-E attached
hereto;

       (x)     all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
and other instruments that relate exclusively to the ownership or operation of any or all of the
Predecessor Oil and Gas Properties or any other properties, rights, titles, and interests described in
this Schedule III, Part A, including operating agreements, unitization, pooling, and
communitization agreements, declarations and orders, area of mutual interest agreements,
exploration agreements, joint venture agreements, farmin and farmout agreements, exchange
agreements, purchase and sale agreements, and other contracts in which FWE acquired interests
in any Predecessor Assets, transportation agreements, agreements for the sale and purchase of



19
     Note to Draft: To be determined if any FERC regulated transportation agreements need FERC waivers.


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Schedule III – FWE III
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Hydrocarbons, processing agreements, and service agreements, including the contracts listed on
Exhibit III-F attached hereto (the “Predecessor Contracts”);

        (xi)    originals of the Records that relate (i) solely to the Predecessor Assets or the
Predecessor Obligations, or both, or (ii) to the Predecessor Assets or the Predecessor Obligations,
or both, and also to the Wind Down Assets or Wind Down Obligations, or both, and copies of the
Records that constitute FWE I Assets and also relate to either or both of the Predecessor Assets
or the Predecessor Obligations;

        (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
located on the Predecessor Facilities or, if located elsewhere, used or held for use exclusively in
connection with the Predecessor Oil and Gas Properties or the Predecessor Facilities or charged to
the joint account pursuant to the applicable Predecessor Contracts, including those items listed on
Exhibit III-G attached thereto;

       (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
related telemetry, licensed radio frequencies, and associated communications infrastructure
including towers, antennas, data links, and network circuits used or held for use exclusively in
connection with the Predecessor Oil and Gas Properties and the Predecessor Facilities or for the
production of Hydrocarbons therefrom;

        (xiv) all cash (subject to the obligation of FWE to deliver the FWE I Cash Amount, the
FWE I Suspense Funds, and the Prepaid JIB Cash Amount to FWE I), and all third party deposits,
escrow accounts, guarantees, letters of credit, treasury securities, surety bonds, and other forms of
credit assurances or credit support provided by a third party for the benefit of FWE for financial
assurance exclusively for the obligations and liabilities arising out of or related to any other
Predecessor Assets (but not also in part any FWE I Assets), including the Plugging and
Abandonment Obligations arising out of or related to any other Predecessor Assets (but not also
in part any FWE I Assets), including those items listed on Exhibit III-H attached hereto;

        (xv) all agreements and memberships relating solely to well containment/control, clean-
up of spills, or other pollution, or the gathering of data relating to certifications required to be made
to Governmental Authorities with respect to the Predecessor Assets; and

         (xvi) all (i) accounts receivable attributable to the Predecessor Oil and Gas Properties
with respect to any period of time, (ii) rights to any payout or recovery for any Casualty occurring
on or at any Predecessor Asset, whether occurring prior to, on or after the Plan Effective Date,
(iii) instruments and general intangibles (as such terms are defined in the Uniform Commercial
Code of the applicable jurisdictions in which the Predecessor Oil and Gas Properties to which such
assets relate are located), and other economic benefits attributable to the Predecessor Oil and Gas
Properties, (iv) claims of indemnity, contribution, or reimbursement relating to the Predecessor
Obligations and (v) Imbalances receivables of FWE attributable to the Predecessor Oil and Gas
Properties;

       (xvii) all Suspense Funds of FWE to the extent attributable to the Predecessor Oil and
Gas Properties (the “Predecessor Suspense Funds”);



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Schedule III – FWE III
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       (xviii) all rights to any supplemental bonds or other securities (excluding area-wide bonds)
held by, or any authorization or permission from, the BOEM, BSEE, or any other Governmental
Authority with respect to FWE exclusively for other Predecessor Assets; and

          (xix)    all other assets and rights of FWE other than FWE I Assets and Wind Down Assets.

        Notwithstanding the foregoing, the Predecessor Assets shall include all assets and rights of
FWE not expressly included in the FWE I Assets or the Wind Down Assets, but shall exclude any
assets expressly allocated to FWE I pursuant to the Plan of Merger.

Part B:

“Predecessor Obligations” means: all of the obligations and liabilities (contractual or otherwise)
of FWE of any kind, character or description (whether know or unknown, accrued, absolute,
contingent, or otherwise) relating to, arising out of, or with respect to any of the Predecessor
Assets, including (i) obligations and liabilities of FWE: (a) relating to the furnishing of makeup
gas according to the terms of applicable gas sales, gathering, or transportation Predecessor
Contracts and all obligations with respect to Imbalances attributable to FWE III’s ownership
interests in any of the Predecessor Oil and Gas Properties; (b) with respect to Royalties arising out
of, related to, or attributable to any of the Predecessor Oil and Gas Properties and the Predecessor
Suspense Funds, including any reporting and/or mis-reporting, and payment and/or mis-payment
of such Royalties or the Predecessor Suspense Funds; (c) constituting or related to Environmental
Liabilities arising out of, related to, or attributable to any of the Predecessor Assets; (d) applicable
to or imposed on the lessee, owner, operator, holder, responsible party, payor or designated
applicant under or with respect to any of the Predecessor Assets, or as required by applicable Laws;
(e) constituting or relating to any and all P&A Obligations related to FWE III’s ownership interests
in, or operation of, any of the Predecessor Assets; and (f) any and all liabilities and obligations of
FWE not expressly included in the FWE I Obligations or the Wind Down Obligations; and (ii) the
obligations and liabilities of FWE III specified in Section 6 of the Plan of Merger to the extent
attributable to use of the Joint Use Properties with respect to the Predecessor Assets; provided,
however, that the Predecessor Obligations do not include any claims, liabilities or obligations
satisfied, compromised, settled, released or discharged pursuant to the Plan of Reorganization and
Confirmation Order.




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Schedule III – FWE III
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                                              Schedule of Exhibits20

Exhibit A:                     Certificate of Merger

Exhibit B:                     Certificate of Formation – FWE I

Exhibit I-A(i):                FWE I Leases

Exhibit I-A(ii):               FWE I Deep Rights

Exhibit I-B:                   FWE I Wells

Exhibit I-C(i)                 FWE I Platforms

Exhibit I-C(ii)                FWE I Facilities

Exhibit I-D(i)                 FWE I Rights of Way Acquired Pursuant to Apache PSA

Exhibit I-D(ii)                FWE I RUEs

Exhibit I-E                    FWE I FCC Licenses

Exhibit I-F                    FWE I Contracts

Exhibit I-G                    FWE I Inventory

Exhibit I-H                    FWE I Deposits/Escrows/Credit Support

Exhibit I-I                    Subsidiaries and Equity Interests

Exhibit I-J                    FWE II Retained Properties

Exhibit I-K(i)                 Incremental Interests – Leases

Exhibit I-K(ii)                Incremental Interests – Wells

Exhibit I-K(iii)               Incremental Interests – Platforms and Facilities

Exhibit II-A:                  Wind Down Leases21



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  Note to Draft: FWE I Exhibits to the Plan of Merger. Exhibits I-A(i) through I-K(iii) to Schedule 1 to the Plan
of Merger (collectively, the “FWE I Exhibits”) set forth a list of Legacy Apache Properties, which FWE I Exhibits the
Apache PSA Parties and the Fieldwood PSA Parties hereto respectively acknowledge are subject to the ongoing review
and consent rights of the Consenting Creditors under the RSA (which consent has not yet been provided), and the
Apache PSA Parties and Fieldwood PSA Parties agree that the FWE I Exhibits are subject to modification based on
such review to be consistent with the Apache Term Sheet.
21
     Note to Draft: Exhibits II-A – II-G to be attached to Executed Plan of Merger.




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Exhibit II-B:                  Wind Down Wells

Exhibit II-C(i)                Wind Down Platforms

Exhibit II-C(ii)               Wind Down Facilities

Exhibit II-D(i)                Wind Down Rights of Way

Exhibit II-D(ii)               Wind Down RUEs

Exhibit II-E                   Wind Down FCC Licenses

Exhibit II-F                   Wind Down Contracts

Exhibit II-G                   Wind Down Inventory

Exhibit III-A:                 Predecessor Leases22

Exhibit III-B:                 Predecessor Wells

Exhibit III-C(i)               Predecessor Platforms

Exhibit III-C(ii)              Predecessor Facilities

Exhibit III-D(i)               Predecessor Rights of Way

Exhibit III-D(ii)              Predecessor RUEs

Exhibit III-E                  Predecessor FCC Licenses

Exhibit III-F                  Predecessor Contracts

Exhibit III-G                  Predecessor Inventory

Exhibit III-H                  Predecessor Deposits/Escrows/Credit Support

                                          [End of Schedule of Exhibits]




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     Note to Draft: Exhibits III-A – III-H to be attached to Executed Plan of Merger



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                                                Exhibit I-A(i)




Exhibit I‐A(i)
                 Field                                       Block     Lease    Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres        Operator          WI           Lease Status
                 LOUISIANA NON‐OPERATED                         –     12503     SL‐ LA      ORRI           –             –              –                   –                 0.6%      TERMIN
                 LOUISIANA NON‐OPERATED                         –     06618     SL‐ LA      ORRI           –             –              –                   –                 5.2%         –
                 BRAZOS 491                                 BA 491    G06069   Federal       RT        10/1/1983                      5,760          Fieldwood En           100.0%      TERMIN
                 BRAZOS A‐102/A‐105                        BA A105    G01757   Federal       RT         7/1/1968                      5,760          Fieldwood En            12.5%       PROD
                 BRAZOS A‐102/A‐105                        BA A‐105   G01757   Federal      RT A        7/1/1968                      5,760          Fieldwood En            12.5%       PROD
                 BRAZOS A‐133                              BA A133    G02665   Federal       OP         7/1/1974                      5,760            GOM Shelf             12.5%       PROD
                 BRAZOS A‐133                              BA A‐133   G02665   Federal       RT         7/1/1974                      5,760            GOM Shelf             25.0%       PROD
                 $0 Liability                               BA A19    G33399   Federal       RT         1/1/2010     12/31/2014       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               BA A47    G03940   Federal       RT         3/1/1979      9/21/2014       5,760          Fieldwood En            33.3%      TERMIN
                 $0 Liability                               BA A47    G03940   Federal       OP         3/1/1979      9/21/2014       5,760          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               BA A69    G32733   Federal       RT        11/1/2008     10/31/2013       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                                BS 39    G33683   Federal       RT         7/1/2010      5/20/2015       1,237            Petsec En             18.8%      RELINQ
                 BRETON SOUND 41                             BS 41    G21142   Federal      OP 2        5/1/1999      1/26/2014       4,995        Fieldwood En Off          13.1%      TERMIN
                 BRETON SOUND 41                             BS 41    G21142   Federal   Contractual    5/1/1999      1/26/2014       4,995        Fieldwood En Off            TBD      TERMIN
                 $0 Liability                                BS 42    G33684   Federal       RT         7/1/2010      5/13/2015       4,552        Apache Shelf Exp          37.5%      RELINQ
                 CHANDELEUR 42/43                            CA 42    G32267   Federal      OP 1        7/1/2008      6/21/2019       5,000          Fieldwood En            50.0%      RELINQ
                 CHANDELEUR 42/43                            CA 43    G32268   Federal      OP 1        7/1/2008                      5,000          Fieldwood En            50.0%       PROD
                 $0 Liability                               DD 253    G10426   Federal       RT         6/1/1990       9/8/2014       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               DD 297    G10427   Federal       RT         6/1/1990       9/8/2014       5,760        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               EB 128    G34034   Federal       RT         4/1/2012      3/15/2016        165         Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EB 172    G34035   Federal       RT         4/1/2012      3/15/2016       5,760        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EC 12    G34220   Federal       RT         8/1/2012       7/7/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 EAST CAMERON 9/14                           EC 14    G13572   Federal       RT         7/1/1992      5/16/2005       2,544          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               EC 171    G34228   Federal       RT         9/1/2012      8/17/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 172    G17858   Federal       RT         7/1/1997      1/22/2016       5,000          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               EC 178    G34229   Federal       RT        10/1/2012      7/24/2015       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 179    G34230   Federal       RT        10/1/2012      7/24/2015       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 185    G34796   Federal       RT         6/1/2013      5/25/2017       5,000          Fieldwood En           100.0%      RELINQ
                 EAST CAMERON 2 ‐ (SL LA)                     EC 2    18121     SL‐ LA       WI        5/12/2004       1/0/1900        220             Fieldwood             50.0%      ACTIVE
                 EAST CAMERON 2 ‐ (SL LA)                    EC 2     16473     SL‐ LA       WI        7/13/1999      7/15/2015        148              Apache               89.1%      RELINQ
                 EAST CAMERON 2 ‐ (SL LA)                    EC 2     16475     SL‐ LA       WI        7/19/1999          –           134.75            Apache               89.1%      ACTIVE
                 $0 Liability                               EC 222    G02037   Federal      OP 1        2/1/1971     11/24/2015       5,000               Talos              17.9%      TERMIN
                 $0 Liability                               EC 222    G02037   Federal      OP 2        2/1/1971     11/24/2015       5,000               Talos              17.9%      TERMIN
                 $0 Liability                               EC 229    G34232   Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 230    G34233   Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EC 24    G04098   Federal       RT        10/1/1979      2/12/2014       5,000            Apex O&G              18.0%      TERMIN
                 $0 Liability                                EC 24    G04098   Federal      OP 2       10/1/1979      2/12/2014       5,000            Apex O&G              31.3%      TERMIN
                 $0 Liability                                EC 24    G04098   Federal      OP 3       10/1/1979      2/12/2014       5,000            Apex O&G              30.3%      TERMIN
                 $0 Liability                               EC 242    G34234   Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 243    G34235   Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 261    G00971   Federal       RT         6/1/1962      1/14/2016       5,000          Fieldwood En           100.0%      TERMIN
                 $0 Liability                               EC 263    G33072   Federal       RT         6/1/2009      5/31/2014       5,000        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                               EC 264    G01880   Federal       RT         3/1/1969      7/11/2016       5,000          Fieldwood En           100.0%      TERMIN
                 EAST CAMERON 265 / 278                     EC 265    G00972   Federal       RT         6/1/1962      1/30/2019       5,000          Fieldwood En            50.0%      RELINQ
                 $0 Liability                               EC 270    G02045   Federal       RT         1/1/1971       6/7/2013       2,500              Apache              70.0%      TERMIN
                 EAST CAMERON 265 / 278                     EC 278    G00974   Federal       RT         6/1/1962      10/3/2016       5,000          Fieldwood En            50.0%      TERMIN
                 $0 Liability                               EC 292    G34237   Federal       RT         9/1/2012      8/23/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 293    G34238   Federal       RT         9/1/2012      8/23/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 294    G34239   Federal       RT         9/1/2012      8/23/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                               EC 310    G34240   Federal       RT        11/1/2012      10/4/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 *No FW lease ownership                     EC 328    G10638   Federal       RT         5/1/1989                      5,000            Arena Off            100.0%       PROD
                 $0 Liability                                EC 33    G01972   Federal       OP         9/1/1970     2/15/2016        1,250             Merit En             15.6%      TERMIN
                 *No FW asset ownership                     EC 335    G02439   Federal       OP         8/1/1973      6/6/2015        5,000        Energy XXI GOM            14.0%      TERMIN
                 EAST CAMERON 338                           EC 338    G02063   Federal       RT         2/1/1971                      5,000        Anadarko US Off           15.7%       PROD
                 EAST CAMERON 37                             EC 37    G25933   Federal       RT         5/1/2004     9/27/2014        2,608          Probe Res US           100.0%      TERMIN
                 $0 Liability                               EC 370    G33073   Federal       RT         6/1/2009     5/31/2014        5,000        Apache Shelf Exp         100.0%       EXPIR
                 *No FW asset ownership                      EC 71    G13576   Federal       RT         9/1/1992                      5,000           EC Off Prop           100.0%        SOP
                 EAST CAMERON 14                            EC 9/14   G01440   Federal       RT         4/1/1966                      3,152          Fieldwood En           100.0%       PROD
                 EAST CAMERON 9/14                          EC 9/14   G01440   Federal      OP 1        4/1/1966                      3,152          Fieldwood En           100.0%       PROD
                 EUGENE ISLAND 010                            EI 10   G23851   Federal       RT         7/1/2002                      2,303          Contango Op             50.0%       PROD
                 EUGENE ISLAND 010                            EI 10   G23851   Federal      OP 2        7/1/2002                      2,303          Contango Op             50.0%       PROD
                 $0 Liability                                EI 105   00797    Federal       RT         5/1/1960      12/9/2013       5,000          Fieldwood En           100.0%      TERMIN
                 EUGENE ISLAND 105/106                       EI 106   G17966   Federal      RT A        7/1/1997       8/4/2013       5,000              Apache              50.0%      TERMIN
                 EUGENE ISLAND 105/106                       EI 106   G17966   Federal      RT B        7/1/1997       8/4/2013       5,000              Apache             100.0%      TERMIN
                 $0 Liability                                EI 107   G15241   Federal       RT         9/1/1995       9/1/2013       5,000              Apache              75.0%      TERMIN
                 $0 Liability                                EI 108   G03811   Federal      OP 1        6/1/1978     11/22/2015       5,000          Fieldwood En            60.0%      TERMIN
                 $0 Liability                                EI 108   G03811   Federal      RT A        6/1/1978     11/22/2015       5,000          Fieldwood En            60.0%      TERMIN
                 $0 Liability                                EI 108   G03811   Federal      RT B        6/1/1978     11/22/2015       5,000          Fieldwood En            71.3%      TERMIN
                 $0 Liability                                EI 116   G34292   Federal       RT         9/1/2012      8/31/2017       5,000        Apache Shelf Exp         100.0%       EXPIR
                 $0 Liability                                EI 117   G34293   Federal       RT        10/1/2012      9/16/2016       5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 118   G15242   Federal      RT A        7/1/1995     12/17/2015       5,000       Black Elk En Off Op        25.0%      TERMIN
                 $0 Liability                                EI 118   G15242   Federal      RT B        7/1/1995     12/17/2015       5,000          Fieldwood En            75.0%      TERMIN
                 EUGENE IS. 119/120/125/126                  EI 119   00049    Federal      RT A       8/28/1945                      5,000          Fieldwood En            50.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 119   00049    Federal      RT B       8/28/1945                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 120   00050    Federal       RT        8/28/1945                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 125   00051    Federal       RT        8/28/1945         –            5,000          Fieldwood En           100.0%      OPERNS
                 EUGENE IS. 119/120/125/126                  EI 126   00052    Federal       RT        8/28/1945                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 119/120/125/126                  EI 126   00052    Federal       OP        8/28/1945                      5,000          Fieldwood En            75.0%       PROD
                 $0 Liability                                EI 128   G34294   Federal       RT        10/1/2012     9/16/2016        3,427        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 131   G33625   Federal       RT         6/1/2010     4/30/2015        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 132   G33626   Federal       RT         6/1/2010     4/30/2015        5,000        Apache Shelf Exp         100.0%      RELINQ
                 $0 Liability                                EI 135   G34296   Federal       RT        10/1/2012     8/26/2015        5,000        Apache Shelf Exp         100.0%      RELINQ
                 EUGENE IS. 136/158                          EI 136   G03152   Federal       RT         7/1/1975                      5,000          Fieldwood En           100.0%       PROD
                 $0 Liability                                EI 156   G16353   Federal       OP         6/1/1996     8/24/2014        5,000       Black Elk En Off Op        50.0%      TERMIN
                 EUGENE IS. 136/158                          EI 158   G01220   Federal       RT         6/1/1962                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 173/174/175                      EI 173   G13622   Federal       RT         7/1/1992                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE IS. 173/174/175                      EI 174   G03782   Federal       RT         6/1/1978                      5,000            Arena Off            100.0%       PROD
                 EUGENE IS. 173/174/175                      EI 174   G03782   Federal       OP         6/1/1978                      5,000            Arena Off             30.0%       PROD
                 EUGENE IS. 173/174/175                      EI 175   00438    Federal      OP 1       12/1/1954         –            5,000          Fieldwood En            75.0%       PROD
                 EUGENE IS. 187/189                          EI 187   G10736   Federal       RT         7/1/1989                      5,000          Fieldwood En           100.0%       PROD
                 EUGENE ISLAND 188                           EI 188   00443    Federal       RT         1/1/1955     4/30/2010        5,000              Apache             100.0%      TERMIN
                 EUGENE ISLAND 188                           EI 189   00423    Federal       RT        12/1/1954         –            3,750          Fieldwood En           100.0%       PROD
                 $0 Liability                                EI 196   00802    Federal       RT         5/1/1960     3/25/2019        3,516          Fieldwood En            50.0%      RELINQ
                 $0 Liability                                EI 196   00802    Federal       OP         5/1/1960     3/25/2019        3,516          Fieldwood En           100.0%      RELINQ
                 $0 Liability                                EI 196   G13821   Federal      OP 2        5/1/1960     3/22/2019        1,484            Arena Off            100.0%      RELINQ
                 $0 Liability                                EI 196   G13821   Federal      OP 4        5/1/1960     3/22/2019        1,484            Arena Off            100.0%      RELINQ
                 $0 Liability                                 EI 20   G34286   Federal       RT        10/1/2012     8/19/2016        3,582            Castex Off            50.0%      RELINQ
                 $0 Liability                                EI 207   G34301   Federal       RT         8/1/2012      7/7/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 *No FW asset ownership                      EI 208   00577    Federal       OP         9/1/1955                      2,500            ANKOR En             100.0%       PROD
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 211   G05502   Federal      RT B        7/1/1983                      5,000          Fieldwood En            66.7%       UNIT
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 211   G05502   Federal       OP         7/1/1983                      5,000          Chevron USA             66.7%       UNIT
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 212   G05503   Federal      RT B        7/1/1983                      5,000          Fieldwood En            66.7%       UNIT
                 EUGENE IS. 211/212 / SHIP SHOAL 175/176     EI 212   G05503   Federal       OP         7/1/1983                      5,000          Chevron USA             66.7%       UNIT
                 $0 Liability                                EI 216   G34303   Federal       RT         8/1/2012      7/7/2016        5,000        Apache Shelf Exp         100.0%      RELINQ
                 EUGENE ISLAND 196/217/227                   EI 217   G00978   Federal       RT         5/1/1962     3/22/2019        5,000            Arena Off             25.0%      RELINQ
                 EUGENE IS. 266                              EI 224   G05504   Federal      ORRI        7/1/1983                      5,000            Castex Off       10.0%            PROD
                 EUGENE IS. 266                              EI 224   G05504   Federal       RT         7/1/1983                      5,000            Castex Off           100.0%       PROD
                 EUGENE ISLAND 196/217/227                   EI 227   00809    Federal       RT         5/1/1960     3/25/2019        5,000            Arena Off             50.0%      RELINQ
                 EUGENE ISLAND 196/217/227                   EI 227   G36745   Federal      ORRI       11/1/2019                      5,000            Arena Off              6.25%     PRIMRY
                 EUGENE ISLAND 196/217/227                   EI 227   G36745   Federal      ORRI       11/1/2019                      5,000            Arena Off              4.17%     PRIMRY
                 EUGENE ISLAND 224/266                       EI 246   00810    Federal      OP 1        5/1/1960                      5,000          Fieldwood En            25.0%       UNIT
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Field                                       Block     Lease    Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
EUGENE ISLAND 224/266                       EI 246   00810    Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
EUGENE ISLAND 224/266                       EI 246   00810    Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
EUGENE ISLAND 224/266                       EI 246   00810    Federal      ORRI         5/1/1960        –            5,000         Sanare En Part         6.3%      UNIT
EUGENE ISLAND 255                           EI 255   G01958   Federal       RT          1/1/1970                     2,500             Cox Op             2.0%      PROD
EUGENE ISLAND 255                           EI 255   G01958   Federal      OP 3         1/1/1970                     2,500             Cox Op            77.2%      PROD
EUGENE ISLAND 255                           EI 255   G01958   Federal      OP 4         1/1/1970                     2,500             Cox Op            38.6%      PROD
$0 Liability                                EI 266   00811    Federal      OP 1         5/1/1960                     5,000          Fieldwood En         25.0%      UNIT
$0 Liability                                EI 266   00811    Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 266   00811    Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 267   00812    Federal       OP          5/1/1960                     5,000          Fieldwood En         25.0%      UNIT
$0 Liability                                EI 267   00812    Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 267   00812    Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 269   00813    Federal      OP 1         5/1/1960                     5,000          Fieldwood En         25.0%      UNIT
$0 Liability                                EI 269   00813    Federal      OP 2         5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 269   00813    Federal       RT          5/1/1960                     5,000          Fieldwood En         75.0%      UNIT
$0 Liability                                EI 280   G23876   Federal       RT          5/1/2002     1/19/2014       5,000        Energy XXI GOM         18.8%     TERMIN
$0 Liability                                EI 281   G09591   Federal       RT          5/1/1988      7/5/2016       5,000           Bennu O&G           90.5%     TERMIN
$0 Liability                                EI 281   G09591   Federal      OP 1         5/1/1988      7/5/2016       5,000           Bennu O&G           45.3%     TERMIN
$0 Liability                                EI 281   G09591   Federal      OP 2         5/1/1988      7/5/2016       5,000           Bennu O&G           45.3%     TERMIN
$0 Liability                                EI 281   G09591   Federal      OP 3         5/1/1988      7/5/2016       5,000           Bennu O&G           45.3%     TERMIN
$0 Liability                                EI 282   G09592   Federal       RT          6/1/1988      7/5/2016       5,000             Apache            75.0%     TERMIN
$0 Liability                                EI 282   G09592   Federal      OP 1         6/1/1988      7/5/2016       5,000             Apache            75.0%     TERMIN
$0 Liability                                EI 282   G09592   Federal      OP 2         6/1/1988      7/5/2016       5,000             Apache            75.0%     TERMIN
$0 Liability                                 EI 29   G34287   Federal       RT         12/1/2012    11/22/2016       5,000        Apache Shelf Exp       50.0%     RELINQ
EUGENE IS. 307                              EI 307   G02110   Federal       OP          2/1/1971     11/4/2019       2,500        Fieldwood En Off       25.0%     TERMIN
SOUTH MARSH IS. 142 / EUGENE IS. 312        EI 312   G22679   Federal       RT          6/1/2001      8/7/2020       5,000          Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 142 / EUGENE IS. 312        EI 312   G22679   Federal      ORRI         6/1/2001      8/7/2020       5,000          Fieldwood En          8.3%     TERMIN
$0 Liability                                EI 313   G02608   Federal       RT          5/1/1974     6/23/2016       5,000            Arena Off          50.0%     TERMIN
$0 Liability                                EI 313   G02608   Federal      OP 1         5/1/1974     6/23/2016       5,000            Arena Off          50.0%     TERMIN
$0 Liability                                EI 313   G02608   Federal      OP 2         5/1/1974     6/23/2016       5,000            Arena Off          50.0%     TERMIN
EUGENE IS. 315/316/329                      EI 315   G02112   Federal       RT          8/1/1974                     2,500          Fieldwood En         50.0%     TERMIN
EUGENE IS. 315/316/329                      EI 315   G02112   Federal       OP          8/1/1974                     2,500          Fieldwood En         50.0%     TERMIN
EUGENE IS. 315/316/329                      EI 315   G24912   Federal       RT          5/1/2003                     2,500          Fieldwood En        100.0%      PROD
EUGENE IS. 315/316/329                      EI 316   G05040   Federal       RT          4/1/1982                     5,000          Fieldwood En        100.0%      PROD
EUGENE IS. 315/316/329                      EI 329   G02912   Federal       RT         12/1/1974                     5,000          Fieldwood En        100.0%     TERMIN
EUGENE IS. 330                              EI 330   G02115   Federal   Contractual     1/1/1971                     5,000          Fieldwood En         63.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 7         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 6         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 5         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 4         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 3         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 2         1/1/1971                     5,000          Fieldwood En         47.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal       RT          1/1/1971                     5,000          Fieldwood En         42.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal       RT          1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 7         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 6         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 5         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 4         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 3         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 330                              EI 330   G02115   Federal      OP 2         1/1/1971                     5,000          Fieldwood En         23.0%      UNIT
EUGENE IS. 333/334                          EI 333   G02317   Federal       RT          2/1/1973    8/29/2020        5,000          Fieldwood En        100.0%     TERMIN
EUGENE IS. 333/334                          EI 334   G15263   Federal       RT          7/1/1995    8/29/2020        5,000          Fieldwood En        100.0%     TERMIN
EUGENE IS. 337                              EI 337   G03332   Federal       RT          3/1/1976                     5,000          Fieldwood En        100.0%      UNIT
EUGENE IS. 337                              EI 337   G3332    Federal      ORRI         3/1/1976                                    Fieldwood En          0.1%      UNIT
EUGENE IS. 337                              EI 337   G03332   Federal      OP 4         3/1/1976                    5,000           Fieldwood En         98.0%      UNIT
EUGENE IS. 337                              EI 337   G03332   Federal      OP 1         3/1/1976                    5,000           Fieldwood En        100.0%      UNIT
EUGENE IS. 337                              EI 337   G03332   Federal      OP 3         3/1/1976                    5,000           Fieldwood En        100.0%      UNIT
EUGENE IS. 342/343                          EI 342   G02319   Federal      RT A         2/1/1973                    5,000           Fieldwood En         50.0%     TERMIN
EUGENE IS. 342/343                          EI 342   G02319   Federal      RT B         2/1/1973                    5,000           Fieldwood En         75.0%     TERMIN
EUGENE IS. 342/343                          EI 342   G02319   Federal      OP 1         2/1/1973                    5,000           Fieldwood En         75.0%     TERMIN
EUGENE IS. 342/343                          EI 342   G02319   Federal      OP 2         2/1/1973                    5,000           Fieldwood En         61.8%     TERMIN
EUGENE IS. 345/346                          EI 345   G21647   Federal       RT          7/1/2000    8/21/2019       5,000           Fieldwood En         50.0%     TERMIN
EUGENE IS. 345/346                          EI 346   G14482   Federal       RT          6/1/1994                    5,000             Arena Off         100.0%      PROD
EUGENE IS. 353/354                          EI 353   G03783   Federal       OP          6/1/1978    8/26/2020       5,000           Fieldwood En        100.0%     TERMIN
EUGENE IS. 337                              EI 354   G10752   Federal       RT          5/1/1989                    5,000           Fieldwood En        100.0%      PROD
EUGENE IS. 337                              EI 354   G10752   Federal       OP          5/1/1989                    5,000           Fieldwood En         67.0%      PROD
EUGENE IS. 353/354                          EI 361   G02324   Federal       RT          2/1/1973                    5,000              Cox Op            12.4%      PROD
EUGENE IS. 53                                EI 53   00479    Federal      OP 1        12/1/1954                    5,000          EnVen En Vent         66.7%      PROD
EUGENE IS. 53                                EI 53   00479    Federal       OP         12/1/1954                    5,000          EnVen En Vent        100.0%      PROD
EUGENE ISLAND 57/58                          EI 57   G02601   Federal      OP 2         5/1/1974    3/27/2020       5,000               Talos            31.7%     TERMIN
EUGENE ISLAND 57/58                          EI 57   G02601   Federal      OP 4         5/1/1974    3/27/2020       5,000             ANKOR En           15.8%     TERMIN
$0 Liability                                 EI 88   G10721   Federal       OP          7/1/1989    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
EUGENE ISLAND 88/89/90/93/94/95              EI 89   00044    Federal       OP         8/28/1945    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
EUGENE ISLAND 88/89/90/93/94/95              EI 89   00044    Federal      OP 2        8/28/1945    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
*No FW asset ownership                       EI 90   00229    Federal       OP        11/19/1948    2/22/2016       1,250           Fieldwood En         75.0%     TERMIN
$0 Liability                                 EI 93   00228    Federal       OP        11/19/1948    2/22/2016       2,500           Fieldwood En         75.0%     TERMIN
$0 Liability                                 EI 94   G05488   Federal       OP          7/1/1983    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
$0 Liability                                 EI 95   00046    Federal       OP         8/28/1945    2/22/2016       5,000           Fieldwood En         75.0%     TERMIN
$0 Liability                               EW 525    G33704   Federal       RT          7/1/2010    6/19/2015       2,420         Apache Shelf Exp       46.9%     RELINQ
$0 Liability                               EW 526    G33134   Federal       RT          6/1/2009    5/31/2014       3,517         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                               EW 781    G33137   Federal       RT          6/1/2009    5/31/2014        309          Apache Shelf Exp      100.0%      EXPIR
EWING BANK 826/782 / SOUTH TIMBALIER 291   EW 782    G31470   Federal       RT         12/1/2007                    1,093           Fieldwood En        100.0%      PROD
$0 Liability                               EW 789    G33139   Federal       RT          7/1/2009    4/30/2015       5,760         Apache Shelf Exp      100.0%     RELINQ
EWING BANK 826/782 / SOUTH TIMBALIER 291   EW 826    G05800   Federal       RT          7/1/1983                    5,760              BP E&P           100.0%      PROD
$0 Liability                               EW 905    G34415   Federal       RT          8/1/2012     7/7/2016       1,007         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               EW 906    G33708   Federal       RT          6/1/2010     4/7/2016       1,084         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               EW 949    G34877   Federal       RT          8/1/2013     7/7/2016       5,760         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               EW 950    G33709   Federal       RT          6/1/2010     4/7/2016       5,760         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               FM 411    G08361   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 412    G08362   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          16.0%      EXPIR
$0 Liability                               FM 455    G08363   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.2%      EXPIR
$0 Liability                               FM 456    G08364   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 499    G08365   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 500    G08366   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          16.0%      EXPIR
$0 Liability                               FM 543    G08367   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
$0 Liability                               FM 587    G08368   Federal       RT          8/1/1986    1/30/2015       5,760           Chevron USA          24.3%      EXPIR
GALVESTON 151                              GA 151    G15740   Federal       RT         11/1/1995    4/12/2016       4,804           Fieldwood En         33.3%     TERMIN
HIGH IS. 179 / GA 180                      GA 180    G03228   Federal       RT          9/1/1975                    5,760           Fieldwood En        100.0%      UNIT
HIGH ISLAND 179                            GA 192    G03229   Federal     CONT          9/1/1975                    5,760             Arena Off          90.0%      UNIT
GALVESTON 210                              GA 210    G25524   Federal      OP 1        12/1/2003                    5,760           Fieldwood En         83.3%      PROD
GALVESTON 210                              GA 210    G25524   Federal      OP 3        12/1/2003                    5,760           Fieldwood En         66.7%      PROD
GALVESTON 210                              GA 210    G25524   Federal       RT         12/1/2003                    5,760           Fieldwood En         66.7%      PROD
GALVESTON 210                              GA 210    G25524   Federal       OP         12/1/2003                    5,760           Fieldwood En         83.3%      PROD
$0 Liability                               GA 343    G06105   Federal       RT         10/1/1983    1/19/2014       5,760        Black Elk En Off Op     12.5%     TERMIN
$0 Liability                               GA 343    G06105   Federal       OP         10/1/1983    1/19/2014       5,760        Black Elk En Off Op     37.5%     TERMIN
$0 Liability                                GB 85    G34515   Federal       RT          8/1/2012     7/7/2016       4,450         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                               GI 104    G33671   Federal       RT          7/1/2010    6/10/2015       5,000         Apache Shelf Exp       46.9%     RELINQ
GRAND ISLE 110/116                         GI 110    G13943   Federal       RT          8/1/1993                    5,000           Fieldwood En         50.0%      UNIT
GRAND ISLE 110/116                         GI 116    G13944   Federal       RT          7/1/1993                    5,000           Fieldwood En         50.0%      UNIT
$0 Liability                               GI 117    G32232   Federal       RT          8/1/2008    7/31/2013       4,540              Apache           100.0%      EXPIR
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)     GI 32    00174    Federal       RT         7/17/1948                    2,500             GOM Shelf          75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)     GI 32    00174    Federal      OP 2        7/17/1948                    2,500             GOM Shelf          37.5%      UNIT
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Field                                      Block       Lease     Type       Rights     Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
$0 Liability                               GI 32      G01580    Federal       RT        7/1/1967     3/15/2016        2,500           BP Am Prod          75.0%     TERMIN
$0 Liability                               GI 32      G01580    Federal       OP        7/1/1967     3/15/2016        2,500           BP Am Prod          37.5%     TERMIN
$0 Liability                               GI 33      G04002    Federal       RT        3/1/1979     2/24/2017        5,000          Fieldwood En        100.0%     RELINQ
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00127    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00127    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00126    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 39       00126    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 40       00128    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 40       00128    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00129    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00129    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00130    Federal       RT       4/21/1947                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 41       00130    Federal      OP 2      4/21/1947                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 42       00131    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 42       00131    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 43       00175    Federal       RT       7/17/1948         –            5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 43       00175    Federal      OP 2      7/17/1948         –            5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 44       00176    Federal       RT       7/17/1948                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 44       00176    Federal      OP 2      7/17/1948                      2,500           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 46       00132    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 46       00132    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 47       00133    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 47       00133    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 48       00134    Federal       RT       4/21/1947                      5,000           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 48       00134    Federal      OP 2      4/21/1947                      5,000           GOM Shelf           37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 52       00177    Federal       RT       7/17/1948                      2,500           GOM Shelf           75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 52       00177    Federal      OP 1      7/17/1948                      2,500           GOM Shelf           50.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)    GI 52       00177    Federal      OP 1      7/17/1948                      2,500           GOM Shelf           50.0%      UNIT
$0 Liability                               GI 54      G27173    Federal       RT        7/1/2005      2/12/2017       5,000          Fieldwood En         50.0%     TERMIN
GRAND ISLE 76                              GI 76      G02161    Federal       RT       10/1/1972      9/18/2019       5,000          Fieldwood En         95.8%     RELINQ
$0 Liability                               GI 90      G04003    Federal       RT        3/1/1979      4/18/2016       5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 1       3/1/1979      4/18/2016       5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 2       3/1/1979      4/18/2016       5,000          Fieldwood En         50.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 4       3/1/1979      4/18/2016       5,000          Fieldwood En         50.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 5       3/1/1979      4/18/2016       5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 90      G04003    Federal      OP 6       3/1/1979      4/18/2016       5,000          Fieldwood En        100.0%     TERMIN
$0 Liability                               GI 93      G02628    Federal       RT        5/1/1974      12/4/2014       5,000              BP E&P          100.0%     TERMIN
$0 Liability                               GI 93      G02628    Federal       OP        5/1/1974      12/4/2014       5,000              BP E&P          100.0%     TERMIN
GRAND ISLE 90/94                           GI 94      G02163    Federal       RT       11/1/1972      7/27/2017       4,540          Fieldwood En        100.0%     RELINQ
GRAND ISLE 90/94                           GI 94      G02163    Federal       OP       11/1/1972      7/27/2017       4,540          Fieldwood En        100.0%     RELINQ
$0 Liability                               GI 98      G34354    Federal       RT        8/1/2012       7/7/2016       5,000        Apache Shelf Exp      100.0%     RELINQ
HIGH IS. 110/111                           HI 110     G02353    Federal       RT        8/1/1973      5/31/2019       5,760            W & T Off          20.0%     TERMIN
HIGH IS. 110/111                           HI 111     G02354    Federal       RT        8/1/1973      4/30/2019       5,760            W & T Off          20.0%     TERMIN
$0 Liability                               HI 114     G32747    Federal       RT       12/1/2008     11/30/2013       5,760        Apache Shelf Exp      100.0%      EXPIR
HIGH IS. 116                               HI 116     G06156    Federal       RT       10/1/1983      2/25/2015       5,760          Fieldwood En        100.0%     TERMIN
HIGH IS. 129                               HI 129     G01848    Federal       RT        6/1/1968                      5,760          Fieldwood En         90.0%      PROD
HIGH IS. 129                               HI 129     G01848    Federal      ORRI       6/1/1968                                     Fieldwood En         10.4%      PROD
$0 Liability                               HI 132     G32748    Federal       RT       12/1/2008     11/30/2013      5,760         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                               HI 140      00518    Federal       OP        1/1/1955      2/10/2015      5,760        Black Elk En Off Op     50.0%     TERMIN
$0 Liability                               HI 163     G22236    Federal       RT       12/1/2000      5/31/2015      5,760           Fieldwood En         70.0%     TERMIN
HIGH ISLAND 176                            HI 176     G06164    Federal   OPRTS Cont   10/1/1983      12/1/2002      5,760               Apache           49.5%     TERMIN
HIGH IS. 179 / GA 180                      HI 179     G03236    Federal       RT        9/1/1975                     5,760               Cox Op          100.0%      UNIT
HIGH ISLAND 179                            HI 193     G03237    Federal     CONT        9/1/1975                     5,760             Arena Off          90.0%      UNIT
$0 Liability                               HI 194     G06166    Federal       RT       10/1/1983     7/21/2013       5,760               Apache          100.0%     TERMIN
$0 Liability                               HI 194     G06166    Federal       OP       10/1/1983     7/21/2013       5,760               Apache           45.0%     TERMIN
$0 Liability                               HI 201     G23199    Federal       OP       12/1/2001     10/5/2014       5,760           Apache Shelf         37.6%     TERMIN
HIGH IS. 206                               HI 206     G20660    Federal       RT        1/1/1999                     5,760           Fieldwood En        100.0%      PROD
HIGH ISLAND 45                             HI 45      G12564    Federal       RT       10/1/1990       3/8/2015      4,367           Fieldwood En         16.7%     TERMIN
HIGH ISLAND 45                             HI 45      G12564    Federal      OP 1      10/1/1990       3/8/2015      4,367           Fieldwood En         15.0%     TERMIN
HIGH ISLAND 45                             HI 45      G12564    Federal      OP 2      10/1/1990       3/8/2015      4,367           Fieldwood En         33.3%     TERMIN
$0 Liability                               HI 52       00508    Federal       RT        1/1/1955      9/24/2013      1,440         SandRidge En Off       75.0%     TERMIN
$0 Liability                               HI 52       00509    Federal       RT        1/1/1955      9/24/2013      1,440               Apache           75.0%     TERMIN
$0 Liability                               HI 52       00511    Federal       RT        1/1/1955      9/24/2013      1,440               Apache           75.0%     TERMIN
$0 Liability                               HI 53       00513    Federal       RT        1/1/1955      9/24/2013       180             Phoenix Exp         75.0%     TERMIN
$0 Liability                               HI 53       00740    Federal       RT        4/1/1960      9/24/2013      1,440               Apache           75.0%     TERMIN
$0 Liability                              HI A‐133    G32760    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐145    G32761    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐146    G32762    Federal       RT       11/1/2008     10/31/2013      5,760         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                              HI A‐148    G32763    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐160    G32764    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A‐171    G30679    Federal       RT       12/1/2006       8/9/2014      5,760           Walter O&G           33.3%     TERMIN
$0 Liability                              HI A‐326    G32777    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
HIGH IS. A‐334                            HI A‐334    G02423    Federal       RT        8/1/1973      2/27/2014      5,760           Fieldwood En         38.9%     TERMIN
HIGH IS. A‐341                            HI A‐341    G25605    Federal       RT       12/1/2003                     5,760           Fieldwood En         60.0%      PROD
$0 Liability                              HI A‐350    G02428    Federal       RT        8/1/1973     7/24/2013       4,345               Apache          100.0%     RELINQ
$0 Liability                              HI A360     G34677    Federal       RT        3/1/2013     2/18/2016       5,760         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                              HI A361     G34678    Federal       RT        3/1/2013     2/24/2017       5,760           Fieldwood En        100.0%     RELINQ
$0 Liability                              HI A363     G33413    Federal       RT       10/1/2009     9/30/2014       5,760         Apache Shelf Exp      100.0%      EXPIR
HIGH IS. A‐365/A‐376                      HI A‐365    G02750    Federal       RT        7/1/1974                     5,760           Fieldwood En         53.1%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376    G02754    Federal      OP 1       7/1/1974                     5,760           Fieldwood En        100.0%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376    G02754    Federal       RT        7/1/1974                     5,760           Fieldwood En         44.4%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376    G2754     Federal      ORRI       7/1/1974                                     Fieldwood En          1.2%      PROD
HIGH IS. A‐365/A‐376                      HI A‐376    G2754     Federal      ORRI       7/1/1974                                     Fieldwood En          6.0%      PROD
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐382    G02757    Federal       RT        7/1/1974                     5,760           Fieldwood En         72.4%      PROD
$0 Liability                              HI A406     G32767    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A430     G33412    Federal       RT       10/1/2009      9/30/2014      5,760         Apache Shelf Exp      100.0%      EXPIR
HIGH ISLAND A‐442                         HI A442     G11383    Federal       OP       11/1/1989      3/27/2017      5,760        Northstar Off Grp       22.7%     TERMIN
$0 Liability                              HI A454     G32769    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
$0 Liability                              HI A457     G32770    Federal       RT       11/1/2008     10/31/2013      5,760               Apache          100.0%      EXPIR
HIGH IS. A‐474                            HI A‐474    G02366    Federal       RT        8/1/1973      2/28/2017      5,760          McMoRan O&G           10.0%     TERMIN
HIGH ISLAND A‐474/489                     HI A‐475    G02367    Federal     CONT        8/1/1973     12/25/1999      5,760          McMoRan O&G           10.0%     TERMIN
HIGH IS. A‐474                            HI A‐489    G02372    Federal       RT        8/1/1973      2/28/2017      5,760          McMoRan O&G            8.5%     TERMIN
Ex N                                      HI A537     G02698    Federal     CONT       5/29/1974      11/2/2016                     McMoRan O&G                     TERMIN
HIGH IS. A‐545                            HI A545     G17199    Federal       OP        1/1/1997      6/30/2019      5,760           Fieldwood En         60.0%     TERMIN
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐572    G02392    Federal       RT        8/1/1973      5/18/2006      5,760               Apache           72.4%     TERMIN
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐573    G02393    Federal       RT        8/1/1973                     5,760           Fieldwood En         72.4%      PROD
HIGH IS. A‐563 (563/564/581/582)          HI A‐581    G18959    Federal     CONT       8/27/1997      7/1/2005                           Cox Op           24.7%     TERMIN
HIGH IS. A‐563 (563/564/581/582)          HI A582     G02719    Federal       RT        7/1/1974                     5,760               Cox Op           24.7%      PROD
HIGH IS. A‐563 (563/564/581/582)          HI A‐582    G02719    Federal      OP 1       7/1/1974                     5,760               Cox Op           15.5%      PROD
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐595    G02721    Federal       RT        7/1/1974                     5,760           Fieldwood En         72.4%      PROD
HIGH IS. A‐573 (382/572/573/595/596)      HI A‐596    G02722    Federal       RT        7/1/1974                     5,760           Fieldwood En         72.4%      PROD
MISSISSIPPI CANYON 109                    MC 108      G09777    Federal       RT        7/1/1988                     5,760               BP E&P           75.2%      PROD
MISSISSIPPI CANYON 109                    MC 108      G09777    Federal       OP        7/1/1988                     5,760               BP E&P           75.2%      PROD
MISSISSIPPI CANYON 109                    MC 110      G18192    Federal       RT        8/1/1997                     5,760           Fieldwood En         50.0%      PROD
MISSISSIPPI CANYON 109                    MC 110      G18192    Federal      ORRI       8/1/1997                                     Fieldwood En          3.9%      PROD
MISSISSIPPI CANYON 21/65                   MC 21      G28351    Federal      ORRI       7/1/1995                     4,445             ANKOR En            3.0%      PROD
MISSISSIPPI CANYON 311                    MC 311      G02968    Federal       RT       12/1/1974                     5,760           Fieldwood En        100.0%      PROD
MISSISSIPPI CANYON 21/65                   MC 65      G21742    Federal       RT        6/1/2000                     5,760             ANKOR En          100.0%      PROD
MISSISSIPPI CANYON 21/65                   MC 65      G21742    Federal      ORRI       6/1/2000                                       ANKOR En           13.0%      PROD
MATAGORDA ISLAND 519 FED / SL TX           MI 486    MF88560    SL ‐ TX       WI       10/5/1982      9/1/2019       1,440             Fieldwood         100.0%     EXPIRED
MATAGORDA ISLAND 519 FED / SL TX           MI 487    MF‐88562   SL ‐ TX      WI        10/5/1982         –           1,305             Fieldwood         100.0%        SI
MATAGORDA ISLAND 519 FED / SL TX           MI 518     G05169    Federal       RT        1/1/1983     9/30/2019       5,675           Fieldwood En        100.0%     TERMIN
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                                Exhibit I-A(i)




Field                                             Block           Lease            Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator       WI         Lease Status
MATAGORDA ISLAND 519 FED / SL TX                 MI 518          MF80522          SL ‐ TX     WI     10/2/1979       9/1/2019         85            Fieldwood       100.0%      EXPIRED
MATAGORDA ISLAND 519 FED / SL TX                 MI 519         MF-79413          SL ‐ TX    WI       2/6/1979          –            739            Fieldwood       100.0%         SI
MATAGORDA IS. 622/623/635/636                    MI 622           G05000          Federal     RT      4/1/1982      8/23/2018       5,760         Fieldwood En        81.0%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 622           G05000          Federal     OP      4/1/1982      8/23/2018       5,760             BP E&P          37.5%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 623           G03088          Federal     RT      4/1/1975      8/23/2018       5,760         Fieldwood En        81.0%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 623           G03088          Federal     OP      4/1/1975      8/23/2018       5,760             BP E&P          37.5%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 635           G06043          Federal     RT     10/1/1983      8/23/2018       5,760         Fieldwood En        81.0%     TERMIN
MATAGORDA IS. 622/623/635/636                    MI 635           G06043          Federal     OP     10/1/1983      8/23/2018       5,760             BP E&P          37.5%     TERMIN
$0 Liability                                     MI 636           G34670          Federal     RT      4/1/2013      3/25/2016       5,760       Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MI 652           G34022          Federal     RT      2/1/2012      1/31/2017       5,760       Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MI 681           G04703          Federal     RT      9/1/1981      2/25/2014       5,760         Fieldwood En      100.0%      TERMIN
$0 Liability                                     MI 685           G04548          Federal     RT      1/1/1981     12/22/2014       5,760            EOG Res          50.0%     TERMIN
$0 Liability                                     MI 685           G04548          Federal     OP      1/1/1981     12/22/2014       5,760            EOG Res           2.5%     TERMIN
$0 Liability                                     MI 703           G03733          Federal     RT      6/1/1978      2/26/2014       5,760         Fieldwood En      100.0%      TERMIN
$0 Liability                                     MI 703           G03733          Federal    OP 1     6/1/1978      2/26/2014       5,760         Fieldwood En      100.0%      TERMIN
$0 Liability                                     MI 703           G03733          Federal    OP 2     6/1/1978      2/26/2014       5,760         Fieldwood En      100.0%      TERMIN
                                                 MI 772           MF93351         SL ‐ TX     WI      2/7/1989       1/1/2017        704            Fieldwood       100.0%    TERMINATED
$0 Liability                                     MO 820           G34403          Federal     RT      8/1/2012       7/7/2016       3,347       Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MO 821           G05058          Federal     RT      4/1/1982      9/19/2014       4,028         Fieldwood En      100.0%      TERMIN
                                                 MO 821    STATE OF ALABAMA 627   SL ‐ AL     WI     8/14/1984       1/1/2019       2,511           Fieldwood       100.0%    TERMINATED
MOBILE BAY 826                                   MO 826           G26176          Federal     RT      7/1/2004                      1,430         Fieldwood En        75.0%      PROD
$0 Liability                                     MO 871           G32272          Federal     RT      8/1/2008     7/31/2013        5,760             Apache        100.0%       EXPIR
$0 Liability                                     MO 913           G33131          Federal     RT      6/1/2009     5/31/2014        5,760       Apache Shelf Exp      75.0%      EXPIR
$0 Liability                                     MO 914           G33132          Federal     RT      6/1/2009     5/31/2014        5,760       Apache Shelf Exp      75.0%      EXPIR
                                                 MP 120            G3197          Federal    ORRI     7/1/1975                                      Arena Off          2.0%      PROD
                                                 MP 120           G03197          Federal    ORRI    5/28/1975                                      Arena Off          2.0%      PROD
$0 Liability                                     MP 134           G34375          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 135           G34376          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 136           G34377          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 137           G34378          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 140                                    MP 140           G02193          Federal     RT     10/1/1972                     4,995          Fieldwood En        65.0%      PROD
$0 Liability                                     MP 143           G34380          Federal     RT     10/1/2012     9/16/2016       4,995        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 146           G34860          Federal     RT      7/1/2013     6/21/2017       4,561        Apache Shelf Exp      75.0%     RELINQ
$0 Liability                                     MP 147           G34861          Federal     RT      7/1/2013     6/21/2017       4,561        Apache Shelf Exp      75.0%     RELINQ
$0 Liability                                     MP 148           G34381          Federal     RT     11/1/2012     10/4/2016       5,000        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 149           G34382          Federal     RT     11/1/2012     10/4/2016       5,000        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 150           G34862          Federal     RT      7/1/2013     6/21/2017       5,000        Apache Shelf Exp      75.0%     RELINQ
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 152           G01966          Federal     RT      1/1/1970                     4,978          Fieldwood En        50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 152           G01966          Federal     OP      1/1/1970                     4,978          Fieldwood En        75.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 153           G01967          Federal     RT      1/1/1970                     5,000          Fieldwood En        50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153             MP 153           G01967          Federal     OP      1/1/1970                     5,000          Fieldwood En        75.0%      UNIT
$0 Liability                                     MP 166           G26152          Federal     RT      7/1/2004     11/3/2014       4,995          Fieldwood En      100.0%      TERMIN
$0 Liability                                     MP 175           G08753          Federal     OP      8/1/1987      9/1/2013       4,995             Tana Exp         21.2%     TERMIN
$0 Liability                                     MP 255           G07825          Federal     RT      8/1/1985      3/9/2014       4,995          Fieldwood En        52.4%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694         MP 259           G07827          Federal     RT      9/1/1985     7/11/2020       4,995          Fieldwood En        56.9%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694         MP 260           G07828          Federal     RT      9/1/1985     7/11/2020       4,995          Fieldwood En        56.9%     TERMIN
MAIN PASS 270                                    MP 270           G22812          Federal    ORRI     7/1/2001                     4,995            Castex Off         1.0%      UNIT
$0 Liability                                     MP 271           G34388          Federal     RT     10/1/2012     9/30/2017       4,995        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MP 272           G34865          Federal     RT      7/1/2013     6/21/2017       4,995        Apache Shelf Exp      75.0%     RELINQ
*No FW lease ownership                           MP 273           G33690          Federal     RT      7/1/2010                     4,995            Castex Off        37.5%      UNIT
$0 Liability                                     MP 274           G33691          Federal     RT      7/1/2010     6/30/2015       4,995            Castex Off        37.5%      EXPIR
MAIN PASS 270/275/289/290                        MP 275           G15395          Federal     RT      9/1/1995                     4,995          Fieldwood En      100.0%       PROD
MAIN PASS 270/275/289/290                        MP 275           G15395          Federal    ORRI     9/1/1995                                    Fieldwood En         8.3%      PROD
*No FW asset ownership                           MP 281           G10910          Federal     RT      7/1/1989                     4,995         EnVen En Vent        50.0%      PROD
*No FW asset ownership                           MP 281           G10910          Federal     OP      7/1/1989                     4,995         EnVen En Vent        30.0%      PROD
                                                 MP 281           G10910          Federal    ORRI     7/1/1989                                   EnVen En Vent         3.1%      PROD
MAIN PASS 270/275/289/290                        MP 289           G01666          Federal     RT      7/1/1967                     4,561          Fieldwood En      100.0%       PROD
$0 Liability                                     MP 290           G34866          Federal     RT      7/1/2013      6/21/2017      4,561        Apache Shelf Exp      75.0%     RELINQ
MAIN PASS 275/289/290                            MP 290           G01667          Federal     RT      7/1/1967     11/22/2012      4,561              Apache        100.0%      TERMIN
$0 Liability                                     MP 291           G34391          Federal     RT     11/1/2012     10/31/2017      4,561        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MP 292           G34392          Federal     RT     11/1/2012      10/4/2016      4,561        Apache Shelf Exp    100.0%      RELINQ
$0 Liability                                     MP 293           G34393          Federal     RT     11/1/2012     10/31/2017      4,561        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                     MP 294           G34394          Federal     RT     11/1/2012      10/4/2016      4,561        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 295                                    MP 295           G32263          Federal   CONT      8/1/2008      7/31/2015      4,561          Fieldwood En        37.5%     TERMIN
MAIN PASS 296/303/304                            MP 296           G01673          Federal     RT      6/1/1967                     4,561            GOM Shelf         50.0%      UNIT
MAIN PASS 296/303/304                            MP 296           G01673          Federal     OP      6/1/1967                     4,561            GOM Shelf         25.0%      UNIT
$0 Liability                                     MP 297           G34395          Federal     RT     11/1/2012     10/4/2016       4,561        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 300/301                                MP 300           G01317          Federal     OP      6/1/1962                     4,561             Cantium          10.4%      UNIT
MAIN PASS 300/301                                MP 301           G04486          Federal    OP 1    11/1/1980     8/23/2019       5,000           Walter O&G         10.4%     TERMIN
MAIN PASS 300/301                                MP 301           G04486          Federal    OP 2    11/1/1980     8/23/2019       5,000           Walter O&G          6.3%     TERMIN
MAIN PASS 300/301                                MP 301           G04486          Federal    OP 3    11/1/1980     8/23/2019       5,000           Walter O&G         10.4%     TERMIN
MAIN PASS 300/301                                MP 301           G04486          Federal     RT     11/1/1980     8/23/2019       5,000           Walter O&G         10.4%     TERMIN
MAIN PASS 311/312                                MP 302           G32264          Federal     RT      7/1/2008                     5,000            GOM Shelf       100.0%       PROD
MAIN PASS 296/303/304                            MP 303           G04253          Federal    OP 1    12/1/1979                     5,000          Fieldwood En        25.0%      UNIT
MAIN PASS 296/303/304                            MP 303           G04253          Federal     RT     12/1/1979                     5,000          Fieldwood En      100.0%       UNIT
MAIN PASS 308/309/310                            MP 304           G03339          Federal     OP      4/1/1976                     5,000         ConocoPhillips     100.0%       UNIT
$0 Liability                                     MP 305           G34396          Federal     RT     12/1/2012     11/22/2016      5,000        Apache Shelf Exp    100.0%      RELINQ
MAIN PASS 308/309/310                            MP 308           G32265          Federal     RT      8/1/2008                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 309           G08760          Federal     RT      6/1/1987                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 310           G04126          Federal     RT     10/1/1979                     5,000          Fieldwood En      100.0%       UNIT
MAIN PASS 311/312                                MP 311           G02213          Federal     RT     11/1/1972                     5,000            GOM Shelf         50.0%      PROD
MAIN PASS 311/312                                MP 311           G02213          Federal     OP     11/1/1972                     5,000            GOM Shelf         25.0%      PROD
MAIN PASS 311/312                                MP 312           G16520          Federal     RT      7/1/1996                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 311/312                                MP 314           G33693          Federal     OP      7/1/2010     6/30/2015       5,000        Apache Shelf Exp      80.0%      EXPIR
MAIN PASS 308/309/310                            MP 315           G08467          Federal     RT      7/1/1986                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 315           G08467          Federal    OP 3     7/1/1986                     5,000          Fieldwood En      100.0%       PROD
MAIN PASS 308/309/310                            MP 315           G08467          Federal    OP 1     7/1/1986                     5,000          Fieldwood En        80.0%      PROD
                                                  MP 5            SL13890          SL‐ LA     WI                                     26               Apache          50.0%     TERMIN
MAIN PASS 59                                     MP 59            G03194          Federal     OP      7/1/1975                     1,406             Cantium          37.5%      UNIT
MAIN PASS 59                                     MP 59            G08461          Federal     OP      7/1/1986                     2,340             Cantium          37.5%      UNIT
                                                  MP 6            SL03771          SL‐ LA     WI     4/26/1961     6/28/2012       1,067              Apache          50.0%     TERMIN
                                                  MP 6            SL13580          SL‐ LA     WI                                    287               Apache          50.0%     TERMIN
                                                  MP 6            SL13891          SL‐ LA     WI                                    270               Apache          50.0%     TERMIN
MAIN PASS 64                                     MP 64            G04909          Federal    ORRI    12/1/1981                     4,988         Sanare En Part        4.2%      UNIT
                                                  MP 7            SL03773          SL‐ LA     WI     4/26/1961     6/28/2012          –               Apache          50.0%     TERMIN
                                                  MP 7            SL13892          SL‐ LA     WI                                     44               Apache          50.0%     TERMIN
$0 Liability                                     MP 74            G34857          Federal     RT      8/1/2013      7/7/2016       1,733        Apache Shelf Exp      75.0%     RELINQ
MAIN PASS 77                                     MP 77            G04481          Federal     RT     11/1/1980                     4,655        Fieldwood En Off      26.2%     RELINQ
MAIN PASS 77                                    MP 77/78          G04481          Federal     OP     11/1/1980                     4,655        Fieldwood En Off      23.5%     RELINQ
MAIN PASS 6/7 FED / SL LA                        MP 91            G14576          Federal     RT      5/1/1994      3/18/2008      1,017              Apache        100.0%      TERMIN
                                                 MU 883           MF98761         SL ‐ TX     WI                    10/1/2012                         Apache        100.0%      TERMIN
MUSTANG ISLAND A‐111                            MU A‐111          G03068          Federal     RT      4/1/1975      1/12/2013      5,760              Apache        100.0%      TERMIN
$0 Liability                                    MU A133           G33392          Federal     RT     10/1/2009      9/30/2014      5,760        Apache Shelf Exp    100.0%       EXPIR
$0 Liability                                    MU A134           G32724          Federal     RT     11/1/2008     10/31/2013      5,760              Apache        100.0%       EXPIR
MUSTANG ISLAND A‐85                             MU A85            G03061          Federal     RT      4/1/1975                     5,760         EnVen En Vent        53.3%      PROD
$0 Liability                                     PE 881           G06390          Federal     OP      2/1/1984     10/17/2013      5,760         ConocoPhillips       18.8%     TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68      PL 1           G04234          Federal     RT      1/1/1980      7/10/2020      1,568          Fieldwood En      100.0%      TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68     PL 10           G02925          Federal     RT     12/1/1974      7/26/2020      5,000          Fieldwood En      100.0%      TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68     PL 11            00071          Federal     RT     9/12/1946       9/8/2020      5,000          Fieldwood En      100.0%      RELINQ
SOUTH PELTO 13                                    PL 13           G03171          Federal     RT      7/1/1975      5/23/2018      5,000            ANKOR En          12.5%     TERMIN
SOUTH PELTO 13                                    PL 13           G03171          Federal    OP 1     7/1/1975      5/23/2018       391             ANKOR En          12.5%     TERMIN
SOUTH PELTO 13                                    PL 13           G03171          Federal    OP 2     7/1/1975      5/23/2018      3,906            ANKOR En          12.5%     TERMIN
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Field                                            Block      Lease     Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
SOUTH PELTO 13                                    PL 13    G03171    Federal    OP 3      7/1/1975    5/23/2018         703             ANKOR En            4.4%     TERMIN
SOUTH PELTO 13                                    PL 13    G03171    Federal    OP 5      7/1/1975    5/23/2018         391             ANKOR En           12.5%     TERMIN
SOUTH PELTO 25                                    PL 25    G14535    Federal     RT       7/1/1994    7/30/2019        5,000          Fieldwood En        100.0%     TERMIN
*No FW asset ownership                             PL 5    G12027    Federal     RT       6/1/1990    5/13/2019        5,000           Talos En Off       100.0%     RELINQ
$0 Liability                                       PL 6    G09651    Federal     RT       5/1/1988    7/12/2017        5,000          Walter O&G          100.0%     RELINQ
$0 Liability                                       PL 6    G09651    Federal    OP 1      5/1/1988    7/12/2017        5,000          Walter O&G           35.0%     RELINQ
$0 Liability                                       PL 6    G09651    Federal    OP 2      5/1/1988    7/12/2017        5,000          Walter O&G           65.0%     RELINQ
$0 Liability                                       PL 8    G03587    Federal     RT       8/1/1977    6/19/2018        5,000            ANKOR En           12.5%     TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68      PL 9    G02924    Federal     RT      12/1/1974    7/26/2020        5,000          Fieldwood En        100.0%     TERMIN
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68      PL 9    G02924    Federal     OP      12/1/1974    7/26/2020        5,000          Fieldwood En         50.0%     TERMIN
                                                PN 883    MF100410   SL ‐ TX     WI      10/6/1998     1/0/1900         720             Fieldwood          35.0%     ACTIVE
                                                PN 883    MF100411   SL ‐ TX     WI      10/6/1998     1/0/1900         720             Fieldwood          35.0%     ACTIVE
                                                PN 883    MF100412   SL ‐ TX     WI      10/6/1998     1/0/1900         720             Fieldwood          35.0%     ACTIVE
                                                PN 883    MF101898   SL ‐ TX     WI      10/6/1998                                        Apache           35.0%     TERMIN
                                                PN 883    MF96146    SL ‐ TX     WI      10/4/1994      1/0/1900       720              Fieldwood          35.0%     ACTIVE
                                                PN 883    MF96147    SL ‐ TX     WI      10/4/1994      1/0/1900       720              Fieldwood          35.0%     ACTIVE
                                                PN 883     SL96146   SL ‐ TX     WI      10/4/1994      1/0/1900       720              Fieldwood          35.0%     ACTIVE
                                                PN 899L   MF100413   SL ‐ TX     WI      10/6/1998      1/0/1900       375              Fieldwood          35.0%     ACTIVE
                                                PN 899L   MF100414   SL ‐ TX     WI      10/6/1998      1/0/1900       360              Fieldwood          35.0%     ACTIVE
NORTH PADRE ISLAND 969                          PN 969     G05953    Federal     RT      10/1/1983     6/30/2015      5,760         Peregrine O&G II        8.3%     TERMIN
NORTH PADRE ISLAND 969                          PN 976     G05954    Federal     RT      10/1/1983     6/30/2015      5,760         Peregrine O&G II        8.3%     TERMIN
$0 Liability                                     SA 10     G03958    Federal     RT       3/1/1979    12/29/2017      3,144           Fieldwood En         92.3%     TERMIN
$0 Liability                                     SA 10     G03958    Federal     OP       3/1/1979    12/29/2017      3,144           Fieldwood En         20.0%     TERMIN
*No FW asset ownership                           SA 13     G03959    Federal     OP       3/1/1979     1/16/2020      5,000          Renaissance Off       50.0%     TERMIN
SOUTH MARSH IS. 10/18                            SM 10     G01181    Federal     RT       4/1/1962      1/6/2019      5,000           Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 105/106                         SM 105     G17938    Federal     RT       8/1/1997                    5,000           Fieldwood En        100.0%      PROD
SOUTH MARSH IS. 105/106                         SM 106     G02279    Federal     RT       2/1/1973    11/19/2015      2,500           Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 105/106                         SM 106     G03776    Federal     RT       6/1/1978                    2,500           Fieldwood En        100.0%      PROD
SOUTH MARSH ISLAND 107/108                      SM 108      00792    Federal     RT       5/1/1960        –           5,000            Talos En Off        25.0%      PROD
SOUTH MARSH ISLAND 107/108                      SM 108      00792    Federal     OP       5/1/1960        –           5,000            Talos En Off        12.5%      PROD
SOUTH MARSH IS. 10/18                            SM 11     G01182    Federal     RT       3/1/1962                    5,000           Fieldwood En        100.0%     TERMIN
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal     RT      12/1/1974                    2,784           Fieldwood En         66.7%      PROD
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal    OP 2     12/1/1974                    2,784           Fieldwood En         33.3%      PROD
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal     RT      12/1/1974                    2,784           Fieldwood En         17.3%      PROD
SOUTH MARSH IS. 127/128                         SM 127     G02883    Federal    OP 2     12/1/1974                    2,784           Fieldwood En          8.7%      PROD
SOUTH MARSH IS. 127/128                         SM 128     G02587    Federal     RT       5/1/1974                    5,000           Fieldwood En         66.7%      PROD
SOUTH MARSH IS. 127/128                         SM 128     G02587    Federal     RT       5/1/1974                    5,000           Fieldwood En         17.3%      PROD
SOUTH MARSH IS. 132                             SM 132     G02282    Federal     RT       2/1/1973     4/1/2016       5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 135     G19776    Federal     RT       5/1/1998    2/18/2012       3,293           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 136     G02588    Federal     RT       5/1/1974     8/4/2019       2,500           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 137     G02589    Federal     RT       5/1/1974    6/30/2015       5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH ISLAND 141                          SM 141     G02885    Federal    OP 2     12/1/1974     4/1/2016       5,000           Fieldwood En         66.7%     TERMIN
SOUTH MARSH ISLAND 141                          SM 141     G02885    Federal     RT      12/1/1974     4/1/2016       5,000           Fieldwood En         77.6%     TERMIN
SOUTH MARSH ISLAND 141                          SM 141     G02885    Federal    OP 2     12/1/1974     4/1/2016       5,000           Fieldwood En         17.3%     TERMIN
SOUTH MARSH IS. 136/137/149/150                 SM 149     G02592    Federal     RT       5/1/1974                    2,500           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 136/137/149/150                 SM 150     G16325    Federal     RT       6/1/1996    5/22/2018       3,329           Fieldwood En         50.0%     RELINQ
SOUTH MARSH ISLAND 161                          SM 161     G04809    Federal     RT       9/1/1981                    5,000           Fieldwood En        100.0%      PROD
$0 Liability                                    SM 171     G34273    Federal     RT       9/1/2012     8/31/2017      5,000         Apache Shelf Exp      100.0%      EXPIR
$0 Liability                                    SM 172     G34274    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 177     G34275    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 178     G34276    Federal     RT       9/1/2012     8/31/2017      5,000         Apache Shelf Exp      100.0%      EXPIR
SOUTH MARSH IS. 10/18                            SM 18     G08680    Federal     RT       6/1/1987     11/3/2019      5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 10/18                            SM 18     G08680    Federal     OP       6/1/1987     11/3/2019      5,000           Fieldwood En        100.0%     TERMIN
$0 Liability                                    SM 188     G34277    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 189     G34278    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 193     G34279    Federal     RT       9/1/2012     8/23/2016      5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                    SM 195     G21108    Federal    ORRI      6/1/1999    12/27/2015                      Tarpon O&D            4.0%     TERMIN
                                                SM 236      G4437    Federal    ORRI     11/1/1980                                        Cox Op            4.4%      UNIT
SOUTH MARSH IS. 241                             SM 241      00310    Federal     RT       2/7/1936        –          114,601              Cox Op           60.0%      UNIT
SOUTH MARSH IS. 241                             SM 241      00310    Federal     OP       2/7/1936        –          114,601              Cox Op           60.0%      UNIT
SOUTH MARSH IS. 241                             SM 241      00310    Federal    Unit      2/7/1936        –          114,601              Cox Op           16.0%      UNIT
Ex N                                            SM 268     G02310    Federal   CONT     12/19/1972     9/7/2009                           Apache           69.9%     TERMIN
$0 Liability                                    SM 268     G34284    Federal     RT       8/1/2012    7/31/2017       3,237         Apache Shelf Exp      100.0%      EXPIR
SOUTH MARSH IS. 268/269/280/281                 SM 269     G02311    Federal     RT       1/1/1973                    5,000           Fieldwood En         72.8%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 280     G14456    Federal    OP 1      6/1/1994                    5,000           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 280     G14456    Federal    OP 3      6/1/1994                    5,000           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 280     G14456    Federal     RT       6/1/1994                    5,000           Fieldwood En         50.0%      PROD
SOUTH MARSH IS. 268/269/280/281                 SM 281     G02600    Federal     RT       4/1/1974                    3,214           Fieldwood En         68.1%      PROD
$0 Liability                                     SM 34     G13897    Federal     OP       5/1/1993    8/24/2014       5,000        Black Elk En Off Op     50.0%     TERMIN
$0 Liability                                     SM 44     G23840    Federal     RT       5/1/2002    3/25/2014       5,000         SandRidge En Off      100.0%     TERMIN
SOUTH MARSH IS. 39                               SM 48      00786    Federal     RT       5/1/1960        –           5,000           Fieldwood En        100.0%      PROD
SOUTH MARSH ISLAND 58                            SM 58     G01194    Federal     RT       5/1/1962                    5,000             ANKOR En          100.0%      PROD
SOUTH MARSH IS. 66                               SM 66     G01198    Federal     RT       6/1/1962    9/25/2019       5,000           Fieldwood En         50.0%     TERMIN
$0 Liability                                      SM 7     G33610    Federal     RT       7/1/2010    4/30/2015       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH MARSH IS. 76                               SM 76     G01208    Federal     RT       6/1/1962    1/26/2020       5,000           Fieldwood En         50.0%     TERMIN
SOUTH MARSH IS. 93                               SM 93     G21618    Federal     RT       5/1/2000                    5,000             Talos ERT          12.5%      PROD
$0 Liability                                     SM 97     G32159    Federal     RT       8/1/2008    7/31/2013       5,000               Apache          100.0%      EXPIR
SOUTH PASS 60                                     SP 61    G01609    Federal     OP       7/1/1967                    5,000           Fieldwood En        100.0%      UNIT
SOUTH PASS 62                                     SP 62    G01294    Federal     RT       6/1/1962                    5,000           Fieldwood En        100.0%      PROD
$0 Liability                                      SP 63    G34365    Federal     RT       8/1/2012    7/31/2017       5,000         Apache Shelf Exp      100.0%      EXPIR
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 64    G01901    Federal     RT       1/1/1969                    5,000           Fieldwood En         50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 64    G01901    Federal     OP       1/1/1969                    5,000           Fieldwood En         75.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 65    G01610    Federal     RT       7/1/1967                    5,000           Fieldwood En         50.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 65    G01610    Federal     OP       7/1/1967                    5,000           Fieldwood En         75.0%      UNIT
SOUTH PASS 64/65 / MAIN PASS 152/153              SP 66     G1611    Federal    ORRI      6/1/1967                                    Fieldwood En          8.3%      UNIT
$0 Liability                                      SP 68    G34366    Federal     RT       8/1/2012     7/7/2016       5,000         Apache Shelf Exp      100.0%     RELINQ
$0 Liability                                      SP 69    G34367    Federal     RT       8/1/2012     7/7/2016       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH PASS 61/70                                  SP 70    G01614    Federal     RT       6/1/1967                    5,000           Fieldwood En        100.0%      PROD
SOUTH PASS 75                                     SP 75    G05051    Federal    OP 2      4/1/1982    1/23/2016       5,000             GOM Shelf          28.8%     TERMIN
SOUTH PASS 75                                     SP 75    G05051    Federal     RT       4/1/1982    1/23/2016       5,000             GOM Shelf          71.2%     TERMIN
SOUTH PASS 75                                     SP 75    G05051    Federal    OP 2      4/1/1982    1/23/2016       5,000             GOM Shelf          71.2%     TERMIN
SOUTH PASS 83                                     SP 83    G05052    Federal    ORRI      4/1/1982    2/27/2020       5,000             Arena Off           0.7%     RELINQ
SOUTH PASS 87/89 / WEST DELTA 128                 SP 87    G07799    Federal     RT       9/1/1985     8/2/2020       3,540           Fieldwood En         33.3%     TERMIN
SOUTH PASS 87/89 / WEST DELTA 128                 SP 87    G07799    Federal     RT       9/1/1985     8/2/2020       3,540           Fieldwood En         33.3%     TERMIN
SOUTH PASS 87/89 / WD 128                         SP 88    G10894    Federal     RT       6/1/1989     5/2/2012       3,540               Apache          100.0%     RELINQ
SOUTH PASS 87/89 / WEST DELTA 128                 SP 89    G01618    Federal     RT       7/1/1967                    5,000           Fieldwood En         50.0%      PROD
$0 Liability                                      SP 96    G31431    Federal     RT       3/1/2008    2/21/2014       5,000              Stone En          50.0%     RELINQ
SHIP SHOAL 105/126/129                           SS 105    G09614    Federal     RT       8/1/1988                    5,000            Bennu O&G          100.0%      PROD
SHIP SHOAL 105/126/129                           SS 105    G09614    Federal    OP 2      8/1/1988                    5,000            Bennu O&G          100.0%      PROD
SHIP SHOAL 105/126/129                           SS 105    G09614    Federal    OP 3      8/1/1988                    5,000            Bennu O&G          100.0%      PROD
SHIP SHOAL 105/126/129                           SS 126    G12940    Federal     RT       5/1/1991    2/16/2020       5,000           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 105/126/129                           SS 126    G12940    Federal     OP       5/1/1991    2/16/2020       5,000           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 105/126/129                           SS 129    G12941    Federal     RT       5/1/1991                    5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 105/126/129                           SS 129    G12941    Federal    ORRI      5/1/1991                                    Fieldwood En          3.3%      PROD
SHIP SHOAL 130                                   SS 130     00453    Federal    ORRI      1/1/1955     2/25/2020      5,000              W&T Off            3.0%     TERMIN
SHIP SHOAL 145                                   SS 145    G34831    Federal   CONT       9/1/2013    10/31/2019      5,000           Hoactzin Part        25.0%     TERMIN
SHIP SHOAL 150                                   SS 150     00419    Federal    ORRI     11/1/1954         –          5,000           Ridgelake En          5.0%      PROD
SHIP SHOAL 151                                   SS 151    G15282    Federal     RT       7/1/1995                    5,000          EnVen En Vent        100.0%      PROD
$0 Liability                                     SS 153    G18011    Federal     RT       7/1/1997     7/5/2016       5,000           Fieldwood En         33.3%     TERMIN
                                                 SS 154     00420    Federal    ORRI     11/1/1954                                    Ridgelake En          8.0%      PROD
SHIP SHOAL 159                                   SS 159    G11984    Federal     OP       7/1/1990    10/31/2019      5,000           Hoactzin Part        15.5%     TERMIN
SHIP SHOAL 169/182/193/194                       SS 169     00820    Federal     RT       4/1/1960                    5,000           Fieldwood En         66.7%      PROD
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Field                                            Block    Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres        Operator         WI        Lease Status
EUGENE IS. 211/212 / SHIP SHOAL 175/176         SS 175   G05550   Federal     RT      7/1/1983                      5,000          Chevron USA          66.7%      UNIT
EUGENE IS. 211/212 / SHIP SHOAL 175/176         SS 176   G33646   Federal     RT      7/1/2010                      5,000          Fieldwood En         40.0%      PROD
SHIP SHOAL 178                                  SS 178   G05551   Federal     RT      7/1/1983                      5,000          Fieldwood En        100.0%      PROD
SHIP SHOAL 169/182/193/194                      SS 182   G03998   Federal     RT      3/1/1979                      2,500          Fieldwood En        100.0%      PROD
SHIP SHOAL 189                                  SS 188   G05203   Federal   CONT      1/1/1983     12/30/1991       5,027          Fieldwood En        100.0%     TERMIN
SHIP SHOAL 189                                  SS 189   G04232   Federal    OP 5    12/1/1979                      5,000          Fieldwood En         99.0%      PROD
SHIP SHOAL 189                                  SS 189   G04232   Federal     RT     12/1/1979                      5,000          Fieldwood En         99.0%      PROD
SHIP SHOAL 189                                  SS 189   G4232    Federal    ORRI    12/1/1979                                     Fieldwood En          8.0%      PROD
SHIP SHOAL 190/206/207/216                      SS 190   G10775   Federal     RT      4/1/1989     8/10/2019       5,000           Fieldwood En         60.0%     TERMIN
SHIP SHOAL 190/206/207/216                      SS 190   G10775   Federal     OP      4/1/1989     8/10/2019       5,000           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 169/182/193/194                      SS 193   G13917   Federal     RT      5/1/1993                     5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 169/182/193/194                      SS 194   G15288   Federal     RT      7/1/1995                     5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 198/199                              SS 198   00593    Federal     RT      9/1/1955                     2,969          Renaissance Off       50.0%      PROD
SHIP SHOAL 198/199                              SS 198   G12355   Federal     OP      9/1/1955                     2,031          Renaissance Off       25.0%      PROD
$0 Liability                                    SS 199   00594    Federal     RT      9/1/1955                     3,516            Talos En Off        50.0%      PROD
SHIP SHOAL 198/199                              SS 199   G12358   Federal     OP      9/1/1955                     1,484          Renaissance Off       50.0%      PROD
SHIP SHOAL 204                                  SS 204   G01520   Federal     RT      7/1/1967                     5,000           Fieldwood En         55.2%      PROD
SHIP SHOAL 190/206/216                          SS 206   G01522   Federal     RT      7/1/1967                     5,000           Fieldwood En         60.0%      UNIT
SHIP SHOAL 190/206/216                          SS 207   G01523   Federal     RT      7/1/1967                     5,000           Fieldwood En         72.2%      UNIT
SHIP SHOAL 190/206/216                          SS 207   G01523   Federal     OP      7/1/1967                     5,000           Fieldwood En         47.6%      UNIT
SHIP SHOAL 189                                  SS 210   G05204   Federal   CONT      1/1/1983     12/26/1990      5,000           Fieldwood En        100.0%     RELINQ
SHIP SHOAL 190/206/216                          SS 216   G01524   Federal     RT      7/1/1967                     5,000           Fieldwood En         80.0%      PROD
SHIP SHOAL 243                                  SS 243   G10780   Federal     RT      7/1/1989                     5,000           Fieldwood En         50.0%      PROD
SHIP SHOAL 243                                  SS 243   G10780   Federal    ORRI     7/1/1989                                     Fieldwood En          4.2%      PROD
SHIP SHOAL 246/247/248/270/271                  SS 249   G01030   Federal    OP 1     6/1/1962                     5,000         Fieldwood En Off        5.3%      UNIT
SHIP SHOAL 246/247/248/270/271                  SS 249   G1030    Federal    ORRI     6/1/1962                                   Fieldwood En Off        0.2%      UNIT
$0 Liability                                    SS 258   G05560   Federal     RT      7/1/1983      4/1/2016       5,000             Castex Off        100.0%     TERMIN
$0 Liability                                    SS 258   G05560   Federal     OP      7/1/1983      4/1/2016       5,000             Castex Off          7.4%     TERMIN
SHIP SHOAL 258/259                              SS 259   G05044   Federal     RT      4/1/1982      3/1/2018       5,141           Fieldwood En        100.0%     TERMIN
SHIP SHOAL 258/259                              SS 259   G05044   Federal     OP      4/1/1982      3/1/2018       5,141           Fieldwood En          7.4%     TERMIN
$0 Liability                                    SS 271   G01038   Federal     RT      6/1/1962                     5,000         Fieldwood En Off       20.0%      UNIT
SHIP SHOAL 274                                  SS 274   G01039   Federal     RT      6/1/1962                     5,000           Fieldwood En        100.0%      PROD
SHIP SHOAL 274                                  SS 276   G10785   Federal     RT      5/1/1989     10/31/2007      5,000             Monforte           66.7%     TERMIN
SHIP SHOAL 274                                  SS 277   G09627   Federal     RT      5/1/1988                     5,000           Fieldwood En          1.0%       SOP
SHIP SHOAL 274                                  SS 277   G09627   Federal     OP      5/1/1988                     5,000           Fieldwood En        100.0%       SOP
$0 Liability                                    SS 278   G32206   Federal     RT      8/1/2008     7/31/2013       5,000              Apache           100.0%      EXPIR
SHIP SHOAL 300/314/315                          SS 291   G02923   Federal     OP     12/1/1974                     3,750           Fieldwood En         67.9%     OPERNS
SHIP SHOAL 30/31/32/33                           SS 30   00333    Federal     RT     9/12/1946                     5,000             W & T Off          37.5%      UNIT
                                                SS 301   G10794   Federal    ORRI     5/1/1989                                     Fieldwood En          1.5%       SOP
SHIP SHOAL 30/31/32/33                           SS 31   00334    Federal     RT     9/12/1946                     5,000             W & T Off          37.5%      UNIT
SHIP SHOAL 300/314/315                          SS 314   G26074   Federal    OP 4     5/1/2004                     5,000           Fieldwood En         37.5%      PROD
SHIP SHOAL 300/314/315                          SS 314   G26074   Federal     RT      5/1/2004                     5,000           Fieldwood En         75.0%      PROD
SHIP SHOAL 300/314/315                          SS 314   G26074   Federal    ORRI     5/1/2004                                     Fieldwood En          4.5%      PROD
SHIP SHOAL 30/31/32/33                           SS 32   00335    Federal     RT     9/12/1946                     5,000             W & T Off          37.5%      UNIT
SHIP SHOAL 30/31/32/33                           SS 33   00336    Federal   CONT     9/12/1946         –           5,000              W&T Off           28.9%      UNIT
SHIP SHOAL 30/31/32/33                           SS 33   00336    Federal    ORRI    9/12/1946         –           5,000              W&T Off            0.8%      UNIT
SHIP SHOAL 354                                  SS 354   G15312   Federal     RT      7/1/1995                     5,000           Fieldwood En        100.0%      PROD
$0 Liability                                    SS 355   G33650   Federal     RT      6/1/2010      4/7/2016       5,323         Apache Shelf Exp      100.0%     RELINQ
SHIP SHOAL 58                                    SS 58   G07746   Federal    ORRI     7/1/1985                     5,000          Talos Third Cst       10.5%      PROD
SOUTH PELTO 20 / PL 1/9/10/11 / SHIP SHOAL 68    SS 68   G02917   Federal     RT     12/1/1974     11/15/2019      5,000           Fieldwood En        100.0%     RELINQ
SHIP SHOAL 87                                    SS 87   G12349   Federal    ORRI    9/12/1946                     1,953          Sanare En Part         1.0%      UNIT
SHIP SHOAL 91                                    SS 91   G02919   Federal     RT     12/1/1974                     5,000           Fieldwood En         87.5%      PROD
SHIP SHOAL 91                                    SS 91   G02919   Federal    OP 2    12/1/1974                     5,000           Fieldwood En         87.5%      PROD
SHIP SHOAL 91                                    SS 91   G02919   Federal    OP 2    12/1/1974                     5,000           Fieldwood En         12.5%      PROD
SHIP SHOAL 91                                    SS 91   G02919   Federal     RT     12/1/1974                     5,000           Fieldwood En         12.5%      PROD
$0 Liability                                    ST 146   G33110   Federal     RT      7/1/2009     6/30/2014       3,772         Apache Shelf Exp      100.0%      EXPIR
SOUTH TIMBALIER 148                             ST 148   G01960   Federal     RT      2/1/1970                     2,500             Arena Off          15.6%      PROD
SOUTH TIMBALIER 148                             ST 148   G01960   Federal     OP      2/1/1970                     2,500             Arena Off          15.6%      PROD
SOUTH TIMBALIER 176                             ST 161   G01248   Federal     OP      6/1/1962                     5,000             Arena Off          25.0%      PROD
$0 Liability                                    ST 166   G01252   Federal     OP      6/1/1962     8/27/2013       5,000              Apache           100.0%     TERMIN
$0 Liability                                    ST 173   G04001   Federal     RT      3/1/1979     8/27/2013       5,000              Apache           100.0%     TERMIN
$0 Liability                                    ST 179   G12020   Federal     RT      6/1/1990     8/27/2015       5,000         Fieldwood En Off       50.0%     TERMIN
$0 Liability                                    ST 179   G12020   Federal     OP      6/1/1990     8/27/2015       5,000         Fieldwood En Off       68.8%     TERMIN
$0 Liability                                    ST 190   G01261   Federal     RT      6/1/1962     9/27/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
$0 Liability                                    ST 190   G01261   Federal     OP      6/1/1962     9/27/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
$0 Liability                                    ST 194   G05610   Federal     RT      7/1/1983      1/5/2015       5,000           Fieldwood En        100.0%     TERMIN
$0 Liability                                    ST 203   G01269   Federal    OP 1     6/1/1962     5/25/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
$0 Liability                                    ST 203   G01269   Federal    OP 2     6/1/1962     5/25/2014       5,000        Black Elk En Off Op     20.0%     TERMIN
$0 Liability                                    ST 203   G01269   Federal     RT      6/1/1962     5/25/2014       5,000        Black Elk En Off Op     40.0%     TERMIN
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal     RT      7/1/1983                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 3     7/1/1983                     5,000           Fieldwood En         75.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 4     7/1/1983                     5,000           Fieldwood En        100.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 7     7/1/1983                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 6     7/1/1983                     5,000           Fieldwood En         75.0%      PROD
SOUTH TIMBALIER 205/206                         ST 205   G05612   Federal    OP 5     7/1/1983                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 205/206                         ST 206   G05613   Federal     RT      7/1/1983     1/31/2015       5,000           Fieldwood En         50.0%     TERMIN
$0 Liability                                    ST 228   G32217   Federal     RT      8/1/2008     7/31/2013       5,000             Eni US Op          40.0%      EXPIR
SOUTH TIMBALIER 229                             ST 229   G13938   Federal     OP      7/1/1993                     2,148             W & T Off          33.3%      PROD
$0 Liability                                    ST 244   G34341   Federal     RT     10/1/2012     9/16/2016       4,572         Apache Shelf Exp      100.0%     RELINQ
*No FW lease ownership                           ST 26   G01361   Federal     RT      5/1/1964                      625               Cox Op            50.0%      UNIT
*No FW lease ownership                           ST 26   G01870   Federal     RT     11/1/1968                     1,875              Cox Op            50.0%      UNIT
*No FW lease ownership                           ST 26   G02620   Federal     RT      5/1/1974                     2,500              Cox Op            50.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 276   G07780   Federal     RT      8/1/1985                     5,000             Eni US Op         100.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 276   G07780   Federal     OP      8/1/1985                     5,000             Eni US Op         100.0%      UNIT
EWING BANK 826/782 / SOUTH TIMBALIER 291        ST 290   G16454   Federal     RT     4/24/1996      1/5/2010       5,000              Apache           100.0%     TERMIN
EWING BANK 826/782 / SOUTH TIMBALIER 291        ST 291   G16455   Federal     RT      9/1/1996                     5,000           Fieldwood En        100.0%      PROD
EWING BANK 826/782 / SOUTH TIMBALIER 291        ST 291   G16455   Federal     OP      9/1/1996                     5,000           Fieldwood En        100.0%      PROD
SOUTH TIMBALIER 276/295/296                     ST 295   G05646   Federal     RT      7/1/1983                     5,000           Fieldwood En        100.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 296   G12981   Federal     RT      5/1/1991                     5,000           Fieldwood En        100.0%      UNIT
SOUTH TIMBALIER 276/295/296                     ST 296   G12981   Federal     OP      5/1/1991                     5,000           Fieldwood En        100.0%      UNIT
SOUTH TIMBALIER 311                             ST 311   G31418   Federal     RT      3/1/2008                     5,000            Walter O&G          45.0%      PROD
SOUTH TIMBALIER 316                             ST 316   G22762   Federal     RT      6/1/2001                     4,435             W & T Off          20.0%      PROD
SOUTH TIMBALIER 311                             ST 320   G24990   Federal     RT      5/1/2003                     5,000             W & T Off          11.3%      PROD
$0 Liability                                     ST 47   G33652   Federal     RT      7/1/2010     4/30/2015       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH TIMBALIER 49                               ST 49   G24956   Federal     RT      6/1/2003                     5,000           Fieldwood En        100.0%      PROD
SOUTH TIMBALIER 49                               ST 49   G24956   Federal     OP      6/1/2003                     5,000           Fieldwood En        100.0%      PROD
$0 Liability                                     ST 50   G34331   Federal     RT      8/1/2012      7/7/2016       5,000         Apache Shelf Exp      100.0%     RELINQ
SOUTH TIMBALIER 53/67/68                         ST 53   G04000   Federal     RT      3/1/1979                     5,000           Fieldwood En         50.0%      PROD
SOUTH TIMBALIER 53/67/68                         ST 53   G04000   Federal    OP 1     3/1/1979                     5,000           Fieldwood En         50.0%      PROD
$0 Liability                                     ST 59   G31404   Federal     RT      2/1/2008     1/17/2014       5,000           LLOG Exp Off         25.0%     RELINQ
$0 Liability                                     ST 64   G33106   Federal     RT      7/1/2009     6/30/2014       5,000         Apache Shelf Exp      100.0%      EXPIR
SOUTH TIMBALIER 53/67/68                         ST 67   00020    Federal   CONT     4/25/1947                                     Fieldwood En         79.7%      UNIT
SABINE PASS 10                                   SX 17   G04143   Federal     RT     10/1/1979      9/30/2013      2,042              Apache            92.3%     RELINQ
SABINE PASS 10                                   SX 17   G04143   Federal     OP     10/1/1979      9/30/2013      2,042              Apache            20.0%     RELINQ
$0 Liability                                    VK 118   G33697   Federal     RT      5/1/2010      4/30/2015      5,760         Apache Shelf Exp       75.0%      EXPIR
VIOSCA KNOLL 203/204                            VK 203   G07890   Federal     RT      7/1/1985     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 203/204                            VK 203   G07890   Federal     OP      7/1/1985     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 203/204                            VK 204   G04921   Federal     RT     12/1/1981     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 203/204                            VK 204   G04921   Federal     OP     12/1/1981     11/29/2019      5,760             Talos ERT          33.3%     TERMIN
VIOSCA KNOLL 251/340/384                        VK 251   G10930   Federal     OP      7/1/1989                     5,760         Fieldwood En Off        7.5%      UNIT
VIOSCA KNOLL 251/340/384                        VK 340   G10933   Federal     OP      7/1/1989                     5,760         Fieldwood En Off        7.5%      UNIT
$0 Liability                                    VK 384   G16541   Federal     OP      6/1/1996      2/8/2014       5,760           Chevron USA          20.0%     TERMIN
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                               Exhibit I-A(i)




Field                                          Block      Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator       WI        Lease Status
MAIN PASS 259/260 / VIOSCA KNOLL 693/694    VK 692/693   G07898   Federal     RT       9/1/1985     7/11/2020       4,773         Fieldwood En       56.9%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694      VK 694     G13055   Federal     RT       7/1/1991     7/11/2020       3,214         Fieldwood En       53.1%     TERMIN
MAIN PASS 259/260 / VIOSCA KNOLL 693/694      VK 694     G13055   Federal     OP       7/1/1991     7/11/2020       3,214         Fieldwood En       92.1%     TERMIN
$0 Liability                                  VK 698     G07901   Federal     RT       8/1/1985     2/20/2014       4,996         Fieldwood En       52.4%     TERMIN
$0 Liability                                  VK 736     G13987   Federal     RT       7/1/1993    12/12/2013       4,742         Fieldwood En      100.0%     TERMIN
VIOSCA KNOLL 780                              VK 780     G06884   Federal     RT       6/1/1984    12/12/2013       5,760         Fieldwood En      100.0%     TERMIN
VIOSCA KNOLL 780                              VK 824     G15436   Federal     RT       9/1/1995     8/20/2013       5,760            Apache         100.0%     RELINQ
$0 Liability                                  VK 856     G34872   Federal     RT       7/1/2013     6/21/2017        877        Apache Shelf Exp     75.0%     RELINQ
$0 Liability                                  VK 899     G34408   Federal     RT       8/1/2012     7/31/2017       1,553       Apache Shelf Exp    100.0%      EXPIR
$0 Liability                                  VR 115     G33593   Federal     RT       6/1/2010     4/30/2015       5,000       Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  VR 128     G33594   Federal     RT       6/1/2010     4/30/2015       5,000       Apache Shelf Exp    100.0%     RELINQ
*No FW lease ownership                        VR 131     00775    Federal     OP       5/1/1960     7/20/2020       4,923          Talos En Off      72.5%     TERMIN
$0 Liability                                  VR 146     G33084   Federal     RT       7/1/2009     6/30/2014       5,000       Apache Shelf Exp    100.0%      EXPIR
$0 Liability                                  VR 156     G34251   Federal     RT      10/1/2012     7/24/2015       5,000       Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  VR 160     G34252   Federal     RT      10/1/2012     7/24/2015       5,000       Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  VR 161     G34253   Federal     RT      10/1/2012     7/24/2015       4,868       Apache Shelf Exp    100.0%     RELINQ
VERMILION 252                                 VR 252     G05431   Federal    ORRI      7/1/1983                     4,454           Castex Off        2.0%      PROD
VERMILION 253                                 VR 253     G17912   Federal    ORRI      7/1/1997                     5,000           Castex Off        0.6%      PROD
$0 Liability                                   VR 26     00297    Federal    OP 1    11/26/1946    9/12/2013        4,646         Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 26     00297    Federal    OP 2    11/26/1946    9/12/2013        4,646         Apache Shelf       25.0%     TERMIN
$0 Liability                                   VR 26     00297    Federal     RT     11/26/1946    9/12/2013        4,646         Apache Shelf       50.0%     TERMIN
VERMILION 261/262                             VR 261     G03328   Federal     RT       4/1/1976    8/10/2020        5,429         Fieldwood En       75.0%     TERMIN
VERMILION 261/262                             VR 261     G03328   Federal    OP 2      4/1/1976    8/10/2020        5,429         Fieldwood En       37.5%     TERMIN
VERMILION 261/262                             VR 261     G03328   Federal    ORRI      4/1/1976                                   Fieldwood En        6.3%     TERMIN
VERMILION 261/262                             VR 262     G34257   Federal     RT      10/1/2012     7/7/2017       5,485          Fieldwood En       75.0%     RELINQ
VERMILION 265                                 VR 265     G01955   Federal     RT       1/1/1970                    5,000          Fieldwood En      100.0%       SOP
$0 Liability                                   VR 27     G01329   Federal    OP 2     12/1/1962    6/16/2013       1,902          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 27     G01329   Federal    OP 1     12/1/1962    6/16/2013       1,902          Apache Shelf       25.0%     TERMIN
$0 Liability                                   VR 27     G01329   Federal     RT      12/1/1962    6/16/2013       1,902          Apache Shelf       50.0%     TERMIN
VERMILION 271/272 / SMI 87/102                VR 271     G04800   Federal     OP       9/1/1981                    4,418            Castex Off       12.5%      PROD
VERMILION 326                                 VR 326     G21096   Federal     RT       6/1/1999    8/21/2020       5,000          Fieldwood En       70.3%     TERMIN
                                              VR 332     G09514   Federal   CONT      3/30/1988                                   Fieldwood En       50.0%      PROD
$0 Liability                                   VR 34     G01356   Federal    OP 1      6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 34     G01356   Federal    OP 2      6/1/1964    6/16/2013        625           Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 34     G01356   Federal     RT       6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35     00548    Federal    OP 1      9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35     00548    Federal    OP 2      9/1/1955    6/16/2013       2,500          Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 35     00549    Federal    OP 1      9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35     00549    Federal    OP 2      9/1/1955    6/16/2013       2,500          Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 35     00548    Federal     RT       9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 35     00549    Federal     RT       9/1/1955    6/16/2013       2,500          Apache Shelf      100.0%     TERMIN
VERMILION 356                                 VR 356     G17921   Federal    ORRI      8/1/1997                    4,093         EnVen En Vent        2.6%      PROD
$0 Liability                                   VR 36     G01357   Federal    OP 2      6/1/1964    6/16/2013        625           Apache Shelf       75.0%     TERMIN
$0 Liability                                   VR 36     G01357   Federal    OP 1      6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
$0 Liability                                   VR 36     G01357   Federal     RT       6/1/1964    6/16/2013        625           Apache Shelf      100.0%     TERMIN
Other (TBD)                                   VR 369     G02274   Federal    OP 4      2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
Other (TBD)                                   VR 369     G02274   Federal    OP 3      2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
Other (TBD)                                   VR 369     G02274   Federal     RT       2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
Other (TBD)                                   VR 369     G02274   Federal    Unit      2/1/1973                    5,000         Renaissance Off     23.2%      UNIT
$0 Liability                                  VR 374     G32153   Federal     RT       8/1/2008    7/31/2013       5,000             Apache         100.0%      EXPIR
VERMILION 380/381                             VR 380     G02580   Federal     RT       5/1/1974                    5,000          Fieldwood En      100.0%      PROD
VERMILION 380/381                             VR 381     G16314   Federal     RT       9/1/1996    10/27/2015      5,000          Apache Shelf      100.0%     TERMIN
VERMILION 380/381                             VR 381     G16314   Federal     OP       9/1/1996    10/27/2015      5,000          Apache Shelf       80.0%     TERMIN
$0 Liability                                  VR 386     G02278   Federal    RT A      2/1/1973                    5,000          Marathon Oil       30.2%      UNIT
$0 Liability                                  VR 386     G02278   Federal    RT B      2/1/1973                    5,000          Marathon Oil       29.0%      UNIT
VERMILION 408                                 VR 408     G15212   Federal     RT       7/1/1995                    5,000          Fieldwood En       12.5%      PROD
VERMILION 408                                 VR 408     G15212   Federal     OP       7/1/1995                    5,000          Fieldwood En      100.0%      PROD
WEST CAMERON 71/72/102                        WC 102     00247    Federal     RT       9/9/1946                    5,000          Fieldwood En      100.0%     TERMIN
WEST CAMERON 110                              WC 110     00081    Federal     RT      6/10/1947                    5,000             BP E&P         100.0%      PROD
WEST CAMERON 110                              WC 110     00081    Federal     OP      6/10/1947                    5,000             BP E&P          37.5%      PROD
WEST CAMERON 110/111                          WC 111     00082    Federal     RT      6/10/1947                    1,250             BP E&P         100.0%      PROD
WEST CAMERON 110/111                          WC 111     00082    Federal     OP      6/10/1947                    1,250             BP E&P          37.5%      PROD
$0 Liability                                  WC 111     G33046   Federal     RT       8/1/2009     7/31/2014      3,750            Eni US Op        25.0%      EXPIR
$0 Liability                                  WC 130     G12761   Federal     RT       5/1/1991      4/1/2015      5,000            Eni US Op        25.0%     TERMIN
WEST CAMERON 144                              WC 144     G01953   Federal     RT       2/1/1970      4/1/2016      5,000          Fieldwood En       62.5%     TERMIN
$0 Liability                                  WC 155     G32114   Federal     RT       8/1/2008     7/31/2013      5,000             Apache         100.0%      EXPIR
WEST CAMERON 163                              WC 163     G05299   Federal    RT A      7/1/1983     12/1/2015      5,000          Fieldwood En       61.0%     TERMIN
WEST CAMERON 163                              WC 163     G05299   Federal    RT B      7/1/1983     12/1/2015      5,000          Fieldwood En       56.2%     TERMIN
$0 Liability                                  WC 165     00758    Federal     RT       4/1/1960    12/30/2017      5,000          Fieldwood En      100.0%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 1      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 2      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 3      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal    OP 4      2/1/1971    10/18/2014      5,000          Apache Shelf       22.5%     TERMIN
$0 Liability                                  WC 172     G01998   Federal   OP 10      2/1/1971    10/18/2014      5,000          Apache Shelf       25.0%     TERMIN
$0 Liability                                  WC 172     G01998   Federal   OP 11      2/1/1971    10/18/2014      5,000          Apache Shelf       25.0%     TERMIN
$0 Liability                                  WC 172     G01998   Federal   OP 12      2/1/1971    10/18/2014      5,000          Apache Shelf       25.0%     TERMIN
$0 Liability                                  WC 181     G33558   Federal     RT       6/1/2010     4/30/2015      2,500        Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  WC 196     G05292   Federal     RT       7/1/1983     8/27/2013      5,000          Union Oil CA        8.3%     TERMIN
*No FW asset ownership                        WC 20      00680    Federal     OP       8/1/1959                    1,873         Sanare En Part      50.0%      PROD
$0 Liability                                  WC 210     G34216   Federal     RT      10/1/2012     3/3/2014       5,000             Apache         100.0%     RELINQ
$0 Liability                                  WC 225     G00900   Federal    OP 1      4/1/1962    3/14/2018       5,000           Tarpon O&D        26.7%     TERMIN
WEST CAMERON 269                              WC 269     G13563   Federal     OP       8/1/1992    8/11/2020       5,000         Sanare En Part      33.8%     TERMIN
WEST CAMERON 289/290/294                      WC 290     G04818   Federal    OP 1      9/1/1981    7/21/2020       5,000        Fieldwood En Off     10.4%     TERMIN
WEST CAMERON 289/290/294                      WC 290     G04818   Federal     RT       9/1/1981    7/21/2020       5,000        Fieldwood En Off     16.7%     TERMIN
$0 Liability                                  WC 291     G04397   Federal     RT      11/1/1980    7/16/2013       5,000             Apache         100.0%     TERMIN
$0 Liability                                  WC 291     G04397   Federal     OP      11/1/1980    7/16/2013       5,000             Apache          60.0%     TERMIN
WEST CAMERON 295                              WC 295     G24730   Federal    OP 1      5/1/2003                    5,000          Fieldwood En       20.6%      PROD
$0 Liability                                  WC 300     G15078   Federal     RT       7/1/1995    12/21/2013      5,000        SandRidge En Off     14.0%     TERMIN
$0 Liability                                  WC 300     G15078   Federal     OP       7/1/1995    12/21/2013      5,000        SandRidge En Off     24.4%     TERMIN
$0 Liability                                  WC 310     G17789   Federal     RT       8/1/1997     6/3/2016       5,000          Fieldwood En      100.0%     TERMIN
$0 Liability                                  WC 310     G17789   Federal     OP       8/1/1997     6/3/2016       5,000          Fieldwood En       73.7%     TERMIN
WEST CAMERON 33                               WC 33      G15050   Federal     RT       7/1/1995                    2,891          Fieldwood En      100.0%      PROD
WEST CAMERON 35/65/66                         WC 34      G03251   Federal     RT       9/1/1975     6/1/2012       4,506             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 35      G02819   Federal     RT      12/1/1974    11/3/2013       4,688             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 35      G02819   Federal     OP      12/1/1974    11/3/2013       4,688             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                      WC 35, WC 6   G01860   Federal    OP 2      1/1/1969                    1,563             BP E&P         100.0%      PROD
WEST CAMERON 35/65/66                        WC 35/66    G01860   Federal     RT       1/1/1969                    1,563             BP E&P         100.0%      PROD
$0 Liability                                  WC 401     G07619   Federal     RT       7/1/1985    9/27/2015       5,000         ConocoPhillips      33.3%     TERMIN
$0 Liability                                  WC 576     G33061   Federal     RT       6/1/2009    5/31/2014       5,000        Apache Shelf Exp    100.0%      EXPIR
$0 Liability                                  WC 624     G33064   Federal     RT       6/1/2009    5/31/2014       5,000        Apache Shelf Exp    100.0%      EXPIR
WEST CAMERON 35/65/66                         WC 65      G02825   Federal    OP 4     12/1/1974                    5,000             BP E&P          81.3%      PROD
WEST CAMERON 35/65/66                         WC 65      G02825   Federal     RT      12/1/1974                    5,000             BP E&P         100.0%      PROD
WEST CAMERON 35/65/66                         WC 65      G02825   Federal     OP      12/1/1974                    5,000             BP E&P         100.0%      PROD
$0 Liability                                  WC 650     G34217   Federal     RT      10/1/2012    9/19/2016       5,000        Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  WC 656     G34218   Federal     RT      10/1/2012    9/19/2016       5,000        Apache Shelf Exp    100.0%     RELINQ
$0 Liability                                  WC 657     G34219   Federal     RT      10/1/2012    9/19/2016       5,000        Apache Shelf Exp    100.0%     RELINQ
WEST CAMERON 35/65/66                         WC 66      G02826   Federal    OP 2     12/1/1974                    3,750          Fieldwood En       75.0%      PROD
WEST CAMERON 35/65/66                         WC 66      G02826   Federal     OP      12/1/1974                    3,750          Fieldwood En      100.0%      PROD
WEST CAMERON 35/65/66                         WC 67      G03256   Federal    OP 1      9/1/1975     2/8/2008       5,000             Apache         100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 67      G03256   Federal    OP 2      9/1/1975     2/8/2008       5,000             Apache          66.6%     TERMIN
$0 Liability                                  WC 68      00526    Federal     RT       9/1/1955     9/3/2014       2,500           BP Am Prod       100.0%     TERMIN
WEST CAMERON 35/65/66                         WC 71      00244    Federal     RT       9/9/1946    12/19/2019      5,000          Fieldwood En      100.0%     TERMIN
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Field                                      Block    Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator       WI        Lease Status
WEST CAMERON 71/72/102                    WC 72    G23735   Federal     RT       7/1/2002                     5,000       Fieldwood En Off     25.0%      PROD
*No FW asset ownership                    WC 73    G23736   Federal     OP       7/1/2002                     5,000           Castex Off       25.0%      PROD
$0 Liability                              WC 99    G34213   Federal     RT       8/1/2012     7/7/2016        5,000       Apache Shelf Exp    100.0%     RELINQ
WEST DELTA 90/103                         WD 103   00840    Federal     RT       5/1/1960                     3,984         Fieldwood En      100.0%      PROD
WEST DELTA 90/103                         WD 103   G12360   Federal    OP 1      5/1/1960                     1,016         Fieldwood En       81.3%      PROD
WEST DELTA 104/105                        WD 104   00841    Federal     RT       5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104   00841    Federal    OP 1      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104   00841    Federal    OP 2      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104   00841    Federal    OP 3      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 104   00841    Federal    OP 5      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105   00842    Federal     RT       5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105   00842    Federal    OP 3      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105   00842    Federal    OP 4      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105   00842    Federal    OP 5      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 104/105                        WD 105   00842    Federal    OP 6      5/1/1960                     5,000         Fieldwood En      100.0%      PROD
WEST DELTA 121/122                        WD 121   G19843   Federal    OP 1      8/1/1998                     5,000         Fieldwood En       84.0%      PROD
WEST DELTA 121/122                        WD 122   G13645   Federal    OP 1      8/1/1992                     5,000         Fieldwood En       84.0%      PROD
WEST DELTA 121/122                        WD 122   G13645   Federal    OP 2      8/1/1992                     5,000         Fieldwood En       84.0%      PROD
WEST DELTA 121/122                        WD 122   G13645   Federal     RT       8/1/1992                     5,000         Fieldwood En      100.0%      PROD
SOUTH PASS 87/89 / WEST DELTA 128         WD 128   G10883   Federal     RT       6/1/1989     8/2/2020        5,000         Fieldwood En      100.0%     TERMIN
WEST DELTA 133                            WD 133   G1106    Federal    ORRI      5/1/1962                                     Arena Off         1.0%      PROD
WEST DELTA 133                            WD 133   G1106    Federal    ORRI      5/1/1962                                     Arena Off         7.2%      PROD
WEST DELTA 133                            WD 133   G01106   Federal     RT       5/1/1962                    5,000            Arena Off       100.0%      PROD
$0 Liability                              WD 34    G03414   Federal     RT       1/1/1977     3/20/2017      2,500          Fieldwood En       76.7%     TERMIN
$0 Liability                              WD 34    G03414   Federal     OP       1/1/1977     3/20/2017      2,500          Fieldwood En       46.7%     TERMIN
$0 Liability                              WD 38    G22772   Federal     RT       5/1/2001     9/13/2013      1,796             Apache          87.5%     TERMIN
$0 Liability                              WD 38    G22772   Federal     OP       5/1/2001     9/13/2013      1,796             Apache          43.8%     TERMIN
$0 Liability                              WD 41    G01073   Federal     RT       3/1/1962    10/25/2013      5,000             Apache         100.0%     TERMIN
$0 Liability                              WD 41    G01073   Federal     OP       3/1/1962    10/25/2013      5,000             Apache          50.0%     TERMIN
$0 Liability                              WD 42    G16470   Federal     RT       9/1/1996     1/26/2014      5,000          Fieldwood En      100.0%     TERMIN
$0 Liability                              WD 42    G16470   Federal     OP       9/1/1996     1/26/2014      5,000          Fieldwood En       50.0%     TERMIN
                                          WD 53    17935     SL‐ LA     WI     10/13/2003     1/27/2015        –             Whitney Oil       33.3%     TERMIN
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 67    00179    Federal     RT      7/17/1948                    2,500            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 67    00179    Federal    OP 2     7/17/1948                    2,500            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 68    00180    Federal     RT      7/17/1948                    1,833            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 68    00180    Federal    OP 2     7/17/1948                    1,833            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 69    00181    Federal     RT      7/17/1948                    3,665            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 69    00181    Federal    OP 2     7/17/1948                    3,665            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 70    00182    Federal     RT      7/17/1948                    5,000            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 70    00182    Federal    OP 2     7/17/1948                    5,000            GOM Shelf        37.5%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 71    00838    Federal     RT       4/1/1960                    5,000            GOM Shelf        75.0%      UNIT
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 71    00838    Federal    OP 2      4/1/1960                    5,000            GOM Shelf        37.5%      UNIT
WEST DELTA 75/90                          WD 75    G01085   Federal     RT       6/1/1962                    5,000          Fieldwood En      100.0%      PROD
WEST DELTA 90/103                         WD 90    G01089   Federal    OP 3      6/1/1962                    5,000          Fieldwood En       81.3%      PROD
WEST DELTA 90/103                         WD 90    G01089   Federal     RT       6/1/1962                    5,000          Fieldwood En      100.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 94    00839    Federal     RT       5/1/1960                    5,000            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 94    00839    Federal    OP 2      5/1/1960                    5,000            GOM Shelf        37.5%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 95    G01497   Federal     RT      12/1/1966                    5,000            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 95    G01497   Federal    OP 1     12/1/1966                    5,000            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 96    G01498   Federal     RT      12/1/1966                    3,665            GOM Shelf        75.0%      PROD
GRAND ISLE 43 (GI32‐52/ WD67‐71, 94‐96)   WD 96    G01498   Federal    OP 2     12/1/1966                    3,665            GOM Shelf        37.5%      PROD
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Lease / ROW / RUE    Status           Area    Block                            Depths                                                Area / Aliquot                     Leasehold            WI
     G06069         TERMIN    Brazos Area      491                         6891 to 99999                                                   All                        Operating Rights   50.00000%
     G01757          PROD     Brazos Area     A0105                        14090 to 99999                                               NE/4;S/2                      Operating Rights    6.25000%
     G02665          PROD     Brazos Area     A‐133                       Below 13,840' MD                                                SE/4                        Operating Rights   12.50000%
     G13576           SOP     East Cameron     71                         14,645’ to 99,999’                        N/2N/2, N/2S/2N/2, S/2SW/4NW/4, SW/4SE/4NW/4,     Operating Rights   50.00000%
                                                                                                                   W/2SW/4, W/2E/2SW/4, SE/4SE/4SW/4 and S/2S/2SE/4

     G13576          SOP      East Cameron     71                         10,400’ to 99,999’                         N/2SE/4, N/2S/2SE/4, S/2S/2NE/4, SE/4SE/4NW/4,   Operating Rights   100.00000%
                                                                                                                              E/2NE/4SW/4, NE/4SE/4SW/4
     G02063          PROD     East Cameron     338                       7,244’ TVDSS to 99,999’                                                                      Operating Rights    7.83469%
     G01440          PROD     East Cameron    9 & 14                         15199 to 99999                                         SE/4;E/2SW/4                      Operating Rights   50.00000%
       49            PROD     Eugene Island    119                      15,410’ TVDSS to 99,999’                                        NW/4                          Operating Rights   25.00000%
       49            PROD     Eugene Island    119                      15,410’ TVDSS to 99,999’                                      SW/4; E/2                       Operating Rights   20.00000%
       50            PROD     Eugene Island    120                          14,136’ to 99,999                                            All                          Operating Rights   50.00000%
       51           OPERNS    Eugene Island    125                          13,334’ to 99,999                                            All                          Operating Rights   50.00000%
       52            PROD     Eugene Island    126                           9,400 to 99,999                                     SE/4NE/4;NE/4SE/4                    Operating Rights   100.00000%
       52            PROD     Eugene Island    126                           12,056 to 99,999                               W/2;W/2E/2;NE/4NE/4;SE/4SE/4              Operating Rights   50.00000%
     G03152          PROD     Eugene Island    136                          19,135’ to 99,999                                            All                          Operating Rights   50.00000%
     G01220          PROD     Eugene Island    158                           17,588 to 99,999                                                                         Operating Rights   50.00000%
     G13622          PROD     Eugene Island    173                          14,097’ to 99,999                                             All                         Operating Rights   50.00000%
     G03782          PROD     Eugene Island    174       from the stratigraphic equivalent of 100' below a true                          SW/4                         Operating Rights   100.00000%
                                                       vertical depth of 10,960' as encountered in the Newfield
                                                       Exploration Company OCSG 3782 Well No. A10 to 99,999’
                                                                                  TVDSS
     G03782         PROD      Eugene Island    174                      12,431’ TVDSS to 99,999’                                       N/2;SE/5                       Operating Rights   50.00000%
      438           PROD      Eugene Island    175                           13,032 to 99,999                                             All                         Operating Rights   37.50000%
     G10736         PROD      Eugene Island    187                          17,170’ to 99,999                                             All                         Operating Rights   50.00000%
      423           PROD      Eugene Island    189                          13,638’ to 99,999                                        W/2;W/2E/2                       Operating Rights   50.00000%
     G05502         UNIT      Eugene Island    211                          surface to 99,999’                                         SE/4SE/4;                      Operating Rights   66.66667%
                                                                                                                                     E/2SW/4SE/4
     G05504          PROD     Eugene Island    224                         18,000’ to 99,999’                                             All                         Operating Rights   15.00000%
     G22679         TERMIN    Eugene Island    312                    9,000’ TVD to 99,999’ TVDSS                                 E/2NW/4;W/2NE/4                     Operating Rights   50.00000%
     G22679         TERMIN    Eugene Island    312                      9,015’ TVDSS to 99,999’                                  W/2NW/4;E/2NE/4;S/3                  Operating Rights   50.00000%
     G02112         TERMIN    Eugene Island    315                  25,000' SS TVD down to 99,999'                                        S/2                         Operating Rights   25.00000%
     G24912          PROD     Eugene Island    315                      8,000’ subsea to 99,999’                                          N/2                         Operating Rights   50.00000%
     G05040          PROD     Eugene Island    316                      7,739’ TVDSS to 99,999’                                           All                         Operating Rights   50.00000%
     G02912         TERMIN    Eugene Island    329                   from 7,871’ TVDSS to 99,999’                                                                     Operating Rights   50.00000%
     G02115          UNIT     Eugene Island    330                      8,329’ TVDSS to 99,999’                    SW/4, SW/4NW/4, S/2NW/4NW/4, NW/4NW/4NW/4,         Operating Rights   21.00000%
                                                                                                                        S/2SE/4NW/4, NW/4SE/4NW/4, SW/4SE/4,
                                                                                                                     S/2NW/4SE/4, NW/4NW/4SE/4, S/2SE/4SE/4 and
                                                                                                                                   NW/4SE/4SE/4
     G02115          UNIT     Eugene Island    330                      8,329’ TVDSS to 99,999’                    SW/4, SW/4NW/4, S/2NW/4NW/4, NW/4NW/4NW/4,         Operating Rights   11.51246%
                                                                                                                        S/2SE/4NW/4, NW/4SE/4NW/4, SW/4SE/4,
                                                                                                                     S/2NW/4SE/4, NW/4NW/4SE/4, S/2SE/4SE/4 and
                                                                                                                                   NW/4SE/4SE/4
     G02317         TERMIN    Eugene Island    333                 12,629’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G15263         TERMIN    Eugene Island    334                 12,629’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G03332          UNIT     Eugene Island    337                   7,026' TVD to 99,999’ TVDSS.                                   NE/4NE/4NE/4                      Operating Rights   98.00000%
     G03332          UNIT     Eugene Island    337                  6,020' TVDSS to 99,999' TVDSS                            SW/4SE/4SE/4; S/2SW/4SW/4                Operating Rights   100.00000%
     G03332          UNIT     Eugene Island    337                     12,455’ TVDSS to 99,999’                           SE/4SW/4, W/2SE/4, and SW/4NE/4             Operating Rights   50.00000%
     G14482          PROD     Eugene Island    346                 13,469’ TVDSS to 99,999’ TVDSS                    N/2NW/4, SE/4NW/4, NE/4SW/4NW/4, E/2SW/4,        Operating Rights   50.00000%
                                                                                                                                E/2SW/4SW/4 and SE/4
     G14482         PROD      Eugene Island    346                    7,511’ TVD to 99,999’ TVDSS                                       NE/4                          Operating Rights   100.00000%
     G14482         PROD      Eugene Island    346      from the stratigraphic equivalent of 12,890’ TVD, being      W/2SW/4NW/4, SE/4SW/4NW/4, NW/4SW/4, and         Operating Rights   100.00000%
                                                        the total depth drilled in the Eugene Island Area, South                    W/2SW/4SW/4
                                                        Addition, Block 346, OCSG 14482, B1 Well plus 100 feet
                                                                  being 12,990’ TVD to 99,999’ TVDSS

     G10752         PROD      Eugene Island    354                     9,669’ TVDSS to 99,999’                                 S/2, S/2N/2 and NE/4NE/4               Operating Rights   50.00000%
     G02324         PROD      Eugene Island    361                 5,220’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights    6.17647%
     G31470         PROD      Ewing Bank       782                     12,960’ TVDSS to 99,999                                             All                        Operating Rights   50.00000%
     G03228         UNIT      Galveston        180                         8,900’ to 99,999                                                                           Operating Rights   50.00000%
     G25524         PROD      Galveston        210     100’ below the stratigraphic equivalent of 10,200’ TD to                        N/2NE/4                        Operating Rights   33.34000%
                                                                            99,999’ TVDSS
     G25524         PROD      Galveston        210                         9,636’ to 99,999                                      S/2NE/4, NW/4 and S/2                Operating Rights   33.34000%
      174           UNIT      Grand Isle       32       depths below 18,000’ subsea (TVDS) to 99,999’ subsea                              S/2                         Operating Rights   18.75000%
                                                                               (TVDS).
      126           UNIT      Grand Isle       39       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                              E/2                          Operating Rights   18.75000%
      127           UNIT      Grand Isle       39       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                              W/2                          Operating Rights   18.75000%
      128           UNIT      Grand Isle       40                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      129           UNIT      Grand Isle       41       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                              E/2                          Operating Rights   18.75000%
      130           UNIT      Grand Isle       41          18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                                 W/2                          Operating Rights   18.75000%
      131           UNIT      Grand Isle       42              below 18,000’ subsea (TVDS) to 99,999’                                                                 Operating Rights   18.75000%
      175           UNIT      Grand Isle       43                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      176           UNIT      Grand Isle       44                 18,000’ subsea (TVDS) to 99,999’                                        N/2                         Operating Rights   18.75000%
      132           UNIT      Grand Isle       46                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      133           UNIT      Grand Isle       47                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      134           UNIT      Grand Isle       48                 18,000’ subsea (TVDS) to 99,999’                                                                    Operating Rights   18.75000%
      177           UNIT      Grand Isle       52        depths below 17,651’ TVDSS down to 99,999’ TVDSS                                 N/2                         Operating Rights   18.75000%
     G13944         UNIT      Grand Isle       116                 19,402’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   25.00000%
     G01848         PROD      High Island      129                    15,418’ TVDSS to 99,999’                          W/2NW/4, SE/4NW/4, W/2NE/4NW/4;S/2            Operating Rights   45.00000%
     G03236         UNIT      High Island      179                     9,839’ TVDSS to 99,999’                                       W/2NW/4;S/2                      Operating Rights   50.00000%
     G03236         UNIT      High Island      179                    10,036’ TVDSS to 99,999’                                    E/2N/2;E/2W/2N/2                    Operating Rights   50.00000%
     G20660         PROD      High Island      206                    12,145’ TVDSS to 99,999’                                             All                        Operating Rights   50.00000%
     G25605         PROD      High Island     A0341                    8,847’ TVDSS to 99,999’                                             All                        Operating Rights   30.00000%
     G02750         PROD      High Island     A0365                    5,659’ TVDSS to 99,999’                                             All                        Operating Rights   26.54255%
     G02754         PROD      High Island     A0376                   11,850’ TVDSS to 99,999’                       N/2, SW/4, W/2SE/4, SE/4SE/4, W/2NE/4SE/4 and    Operating Rights   22.28723%
                                                                                                                                     SE/4NE/4SE/4
     G02757          PROD     High Island     A0382                    11,025’ TVDSS to 99,999’                                            All                        Operating Rights   36.20529%
     G02721          PROD     High Island     A0595                    10,827’ TVDSS to 99,999’                                            All                        Operating Rights   36.20510%
     G02722          PROD     High Island     A0596                    13,264’ TVDSS to 99,999’                                            All                        Operating Rights   36.20510%
     G02393          PROD     High Island     A0573                        7,795' to 99,999'                                                                          Operating Rights   36.20510%
     G04481         RELINQ    Main Pass        77        depths below the stratigraphic equivalent of 13,040'                                                         Operating Rights   11.76468%
                                                       measured depth on the Schlumberger IFS/Sonic wireline
                                                        log (RUN 4) dated 7/12/81 for the Chevron U.S.A. Inc.
                                                       State of La. Lease 8693 Well No. 4 (API # 1772520242),
                                                              Main Pass Block 77 field down to 99,999'

     G02193          PROD     Main Pass        140                      8,959’ TVDSS to 99,999’                                                                       Operating Rights   32.50000%
     G07827         TERMIN    Main Pass        259                  11,636’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   28.45078%
     G07828         TERMIN    Main Pass        260               from 12,072’ TVDSS to 99,999’ TVDSS                                                                  Operating Rights   28.45078%
     G15395          PROD     Main Pass        275                  11,278’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G01666          PROD     Main Pass        289                  9,077’ TVDSS to 99,999’ TVDSS                             N/2, SW/4 and W/2W/2SE/4                Operating Rights   50.00000%
     G01673          UNIT     Main Pass        296            below 9,500’ TVDSS down to 99,999’ TVDSS                                                                Operating Rights   16.66667%
     G04253          UNIT     Main Pass        303                      6,060’ TVDSS to 99,999’                                     N/2 and N/2S/2                    Operating Rights   93.10100%
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Lease / ROW / RUE   Status           Area          Block                            Depths                                                Area / Aliquot                     Leasehold            WI
     G32265         PROD      Main Pass             308              from 6,284’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G08760         PROD      Main Pass             309                     6,510’ TVDSS to 99,999’                                                                        Operating Rights   50.00000%
     G04126          UNIT     Main Pass             310                 6,944’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights   50.00000%
     G02213         PROD      Main Pass             311          below 12,000’ TVDSS down to 99,999’ TVDSS                                                                 Operating Rights   16.66666%
     G16520         PROD      Main Pass             312                 10,989’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G08467         PROD      Main Pass             315     from the stratigraphic equivalent of the deepest depth                 W/2NW/4 and W/2E/2NW/4                  Operating Rights   100.00000%
                                                               found production (7,830’ MD/TVD) in the Apache
                                                            Corporation OCS‐G 8467 No 2 Well plus 100’ to 99,999’

     G08467         PROD      Main Pass            315               from 7,760’ TVDSS to 99,999’ TVDSS                             S/2, NE/4 and E/2E/2NW/4               Operating Rights   50.00000%
     G01966         UNIT      Main Pass            152      from the stratigraphic equivalent of 10,700' Measured                                                          Operating Rights   37.50000%
                                                           Depth as seen in the OCSG 1967 #3 Well down to a depth
                                                                                   of 50,000'
    G01967           UNIT     Main Pass            153           10,700' MD down to a depth of 50,000' TVD                                                                 Operating Rights   37.50000%
    MF88562         Shut‐In   Matagorda Is         487                 4 below the base of the MF Sand                                        SW/4                           Leasehold        50.00000%
    MF88560         Shut‐In   Matagorda Is         487                  below the base of the MF Sand                                         SE/4                           Leasehold        50.00000%
    MF80522         Shut‐In   Matagorda Is         518                below the base of the 15600 Sand                                        NW/4                           Leasehold        50.00000%
    MF79413         Shut‐In   Matagorda Is         519                below the base of the 16950 Sand                                        NE/4                           Leasehold        50.00000%
    G09777           PROD     Mississippi Canyon   108     below 20,000' true vertical depth subsea down to 99,999'                            All                         Operating RIghts   37.59399%

     G18192         PROD      Mississippi Canyon   110                       6,688’ TVDSS to 99,999’                                           All                         Operating Rights   25.00000%
     G02968         PROD      Mississippi Canyon   311                      11,860’ TVDSS to 99,999’                                           All                         Operating RIghts   50.00000%
     G26176         PROD      Mobile               826                      21,730’ TVDSS to 99,999’                                                                       Operating RIghts   37.50000%
      333           UNIT      Ship Shoal           30                    17,478’ TVDSS to 99,999’ TVDSS                                        All                         Operating RIghts   18.75000%
     G02919         PROD      Ship Shoal           91                    11,148’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights    6.25000%
     G02919         PROD      Ship Shoal           91                    11,148’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   28.12500%
     G12941         PROD      Ship Shoal           129                   17,446’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   50.00000%
     G15282         PROD      Ship Shoal           151     from the stratigraphic equivalent of 12,612’ MD as seen in                          All                         Operating Rights   50.00000%
                                                            the Zilkha OCS‐G 15282 Well No. 1 (said depth being 100’
                                                           below the total depth drilled and logged in the Zilkha OCS‐
                                                                   G 15282 Well No. 1), down to 99,999’ TVDSS

      820           PROD      Ship Shoal           169                  10,658’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   33.33000%
     G05550         UNIT      Ship Shoal           175                      surface to 99,999’ TVD                                  S/2SW/4NW/4; NW/4SW/4                  Operating Rights   66.66667%
     G33646         PROD      Ship Shoal           176                  12,274’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   20.00000%
     G05551         PROD      Ship Shoal           178                  10,031’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   50.00000%
     G03998         PROD      Ship Shoal           182                  11,825’ TVDSS to 99,999’ TVDSS                                        W/2                          Operating Rights   50.00000%
     G04232         PROD      Ship Shoal           189                  19,077’ TVDSS to 99,999’ TVDSS                      W/2, SE/4, N/2N/2NE/4 and SW/4NW/4NE/4         Operating Rights   49.47915%
     G04232         PROD      Ship Shoal           189                   19,000’ TVD to 99,999’ TVDSS                       S/2NE/4, SE/4NW/4NE/4 and S/2NE/4NE/4          Operating Rights   49.47915%
     G13917         PROD      Ship Shoal           193                  12,901’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   50.00000%
     G15288         PROD      Ship Shoal           194                  13,619’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G12355         PROD      Ship Shoal           198                     12,072’ TVDSS to 99,999’                      NW/4, W/2W/2NE/4, N/2NE/4SW/4, NW/4SW/4SW/4       Operating Rights   25.00000%

      593           PROD      Ship Shoal           198                     12,072’ TVDSS to 99,999’                      E/2NE/4; E/2W/2NE/4; S/2NE/4SW/4; S/2SW/4; SE/4   Operating Rights   25.00000%
      594                     Ship Shoal           199                  10,440’ TVDSS to 99,999’ TVDSS                   W/2, W/2W/2NE/4, W/2NW/4SE/4, SE/4NW/4SE/4,       Operating Rights   25.00000%
                     PROD                                                                                                             SW/4SE/4, S/2SE/4SE/4
     G01520          PROD     Ship Shoal           204                   12,791’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   27.58165%
     G01522          UNIT     Ship Shoal           206                   12,355’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   30.00000%
     G01523          UNIT     Ship Shoal           207                 below 15,000' down to 99,999' TVD                                       All                         Operating Rights   23.95873%
     G01524          PROD     Ship Shoal           216                   14,088’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   27.77814%
     G10780          PROD     Ship Shoal           243                from 15,858’ TVDSS to 99,999’ TVDSS                                      E/2                         Operating Rights   25.00000%
     G10780          PROD     Ship Shoal           243                   20,000’ TVDSS to 99,999’ TVDSS                                        W/2                         Operating Rights   25.00000%
     G01038          UNIT     Ship Shoal           271                   7,810’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   10.00000%
     G01039          PROD     Ship Shoal           274                   8,525’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   50.00000%
     G26074          PROD     Ship Shoal           314                   10,750’ TVDSS to 99,999’ TVDSS                                     W/2W/2                         Operating Rights   37.50000%
     G26074          PROD     Ship Shoal           314                   10,950’ TVDSS to 99,999’ TVDSS                                  E/2W/2 and E/2                    Operating Rights   37.50000%
     G15312          PROD     Ship Shoal           354                   14,853’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   50.00000%
      334            UNIT     Ship Shoal           31                          15,320' to 99,999'                                                                          Operating Rights   18.75000%
      335            UNIT     Ship Shoal           32                          11,315' to 99,999'                                                                          Operating Rights   18.75000%
     G09627           SOP     Ship Shoal           277         10,000’ TVD down to a depth of 50,000’ TVD subsea                               All                         Operating Rights   50.00000%
     G01182         TERMIN    South Marsh Is       11                    13,007’ TVDSS to 99,999’ TVDSS                                        All                         Operating Rights   50.00000%
     G01194          PROD     South Marsh Is       58                    13,639’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G17938          PROD     South Marsh Is       105                   9,220’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G03776          PROD     South Marsh Is       106                   9,368’ TVDSS to 99,999’ TVDSS                                         S/2                         Operating Rights   50.00000%
     G02883          PROD     South Marsh Is       127     all depths below 18,000’ (TVDSS) down to 99,999’ (TVDSS                                                         Operating Rights    8.67331%

     G02587         PROD      South Marsh Is       128               from 9,016’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights    8.67331%
     G02587         PROD      South Marsh Is       128               from 9,016’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   33.33334%
     G02592         PROD      South Marsh Is       149                  7,386’ TVDSS to 99,999’ TVDSS                                         All                          Operating Rights   25.00000%
     G04809         PROD      South Marsh Is       161                 10,576’ TVDSS to 99,999’ TVDSS                                   W/2 and W/2E/2                     Operating Rights   50.00000%
     G04809         PROD      South Marsh Is       161       from the stratigraphic equivalent of the true vertical                         E/2E/2                         Operating Rights   100.00000%
                                                           depth of 9,782.5’ (being the true vertical depth drilled in
                                                           the OCS‐G 4809 #14 Well plus 100 feet) to 99,999’ SSTVD

     G02311         PROD      South Marsh Is       269                  11,719’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   36.41794%
     G14456         PROD      South Marsh Is       280                  14,115’ TVDSS to 99,999’ TVDSS                              W/2, NE/4 and E/2E/2SE/4               Operating Rights   25.00000%
     G14456         PROD      South Marsh Is       280        from 100' below the stratigraphic equivalent of that                  W/2SE/4 and W/2E/2SE/4                 Operating Rights   50.00000%
                                                           certain zone encountered between the interval of 13,814'
                                                              and 13,920' TVD on the electric log from the Norcen
                                                            Explorer, Inc. OCS‐G 14456 Well No. 3 to 99,999’ TVDSS

     G02600          PROD     South Marsh Is       281                  16,062’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   34.06318%
     G21618          PROD     South Marsh Is       93                           13,299' to 99,999'                                                                         Operating Rights    6.25000%
      792            PROD     South Marsh Is       108                    all depths below 14,000’ TVD                                                                     Operating Rights   16.66667%
     G01192          PROD     South Marsh Is       41             15,000' TVD down to a depth of 50,000' TVD                                  W/2                          Operating Rights   25.00000%
     G01192          PROD     South Marsh Is       41             11,500' TVD down to a depth of 50,000' TVD                                  E/2                          Operating Rights   50.00000%
      786            PROD     South Marsh Is       48           13,000' TVD down to a depth of 50,000' Subsea                                 All                          Operating Rights   50.00000%
     G01294          PROD     South Pass           62                   18,247’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   50.00000%
     G01614          PROD     South Pass           70                    8,480’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   50.00000%
     G07799         TERMIN    South Pass           87                   18,001’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   16.68000%
     G07799         TERMIN    South Pass           87                   18,001’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   16.67000%
     G01618          PROD     South Pass           89                   16,802’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights   25.00000%
     G01901          UNIT     South Pass           64      from 10,700' Measured Depth down to a depth of 50,000'                                                          Operating Rights   37.50000%
                                                                                   TVD subsea
     G01610          UNIT     South Pass            65     from 10,700' Measured Depth down to a depth of 50,000'                              All                         Operating Rights   37.50000%
                                                                                   TVD subsea
     G04234         TERMIN    South Pelto           1                   12,460’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   50.00000%
     G02924         TERMIN    South Pelto           9      100' below the stratigraphic equivalent of 17,397' TVD as                          NE/4                         Operating Rights   50.00000%
                                                            seen in the Newfield Exploration Company OCS‐G 02924
                                                             Well No. 10 (API No. 177134025300) to 99,999’ TVDSS

     G02924         TERMIN    South Pelto            9                  16,992’ TVDSS to 99,999’ TVDSS                                     S/2; NW/4                       Operating Rights   50.00000%
     G02925         TERMIN    South Pelto           10                  13,261’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights       –
       71           RELINQ    South Pelto           11                  11,705’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights       –
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                                             Exhibit I-A(ii)




Lease / ROW / RUE   Status           Area      Block                           Depths                                                 Area / Aliquot                       Leasehold            WI
     G24956         PROD     South Timbalier    49                   18,800’ TVD to 99,999’ TVDSS                                           All                          Operating Rights   50.00000%
     G04000         PROD     South Timbalier    53                  6,782’ TVDSS to 99,999’ TVDSS                                           All                          Operating Rights   25.00000%
     G01960         PROD     South Timbalier    148                 17,777’ TVDSS to 99,999’ TVDSS                   NE/4, N/2NE/4SE/4, SE/4NE/4SE/4 and NE/4SE/4SE/4    Operating Rights    7.77500%

     G05612          PROD    South Timbalier   205                  18,640’ TVDSS to 99,999’ TVDSS                                      SE/4SW/4                         Operating Rights   25.00000%
     G16455          PROD    South Timbalier   291                  9,669’ TVDSS to 99,999’ TVDSS                                      N/2 and SE/4                      Operating Rights   50.00000%
     G16455          PROD    South Timbalier   291                  7,461’ TVDSS to 99,999’ TVDSS                                          SW/4                          Operating Rights   100.00000%
     G05646          UNIT    South Timbalier   295                  14,293’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G31418          PROD    South Timbalier   311                      12,251’ TVD to 99,999’                                              All                          Operating Rights   22.50000%
     G22762          PROD    South Timbalier   316                  12,520’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   10.00000%
     G03328         TERMIN   Vermilion         261     9,241’ TVD as identified in the Stone Energy Corporation’s               S/2S/2NE/4 and N/2NE/4SE/4               Operating Rights   37.50000%
                                                              OCS‐G 3328 Well No A‐3 ST to 99,999’ TVDSS

     G03328         TERMIN   Vermilion         261                   9,304’ TVDSS to 99,999’ TVDSS                    W/2, N/2NE/4, N/2S/2NE/4, W/2SE/4, SE/4SE/4 and    Operating Rights   37.50000%
                                                                                                                                       S/2NE/4SE/4
     G01955           SOP    Vermilion         265                  10,465’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G21096         TERMIN   Vermilion         326                  8,447’ TVDSS to 99,999’ TVDSS                                           All                          Operating Rights   35.15742%
     G02274          UNIT    Vermilion         369                  below 10,000’ down to 99,999’                                NW/4, W/2E/2, NE/4NE/4                  Operating Rights   11.58535%
     G02580          PROD    Vermilion         380                  10,245’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G02278          UNIT    Vermilion         386                  5,175’ TVDSS to 99,999’ TVDSS                       NW/4NE/4NE/4, S/2NE/4NE/4, E/2NW/4NE/4,          Operating Rights   15.08620%
                                                                                                                              NW/4SE/4NE/4 and N/2SW/4NE/4
     G02278          UNIT    Vermilion         386                   5,175’ TVDSS to 99,999’ TVDSS                      S/2, SW/4NW/4, S/2S/2NE/4, W/2NW/4NE/4,          Operating Rights   14.48210%
                                                                                                                              NE/4SE/4NE/4 and NE/4NE/4NE/4
     G04800         PROD     Vermilion         271           6,103' TVD down to a depth of 50,000' TVD subsea                               All                          Operating Rights    6.25000%
     G15212         PROD     Vermilion         408                             below 9,000’ TVD                                             All                          Operating Rights   50.00000%
     G10930         UNIT     Viosca Knoll      251       depths below the stratigraphic equivalent of the subsea                            All                          Operating Rights    3.75000%
                                                         depth of 15,083 to and including 99,999' as encountered
                                                       in Samedan Oil Corporation’s OCS‐G 13982 #1 well located
                                                                           in Viosca Knoll Block 252
     G10933          UNIT    Viosca Knoll      340       depths below the stratigraphic equivalent of the subsea                            All                          Operating Rights   3.75000%
                                                         depth of 15,083 to and including 99,999' as encountered
                                                       in Samedan Oil Corporation’s OCS‐G 13982 #1 well located
                                                                           in Viosca Knoll Block 252
     G07898         TERMIN   Viosca Knoll      693                     11,636’ TVDSS to 99,999’ TVDSS                                      All                           Operating Rights   28.45078%
     G13055         TERMIN   Viosca Knoll      694                     10,774’ TVDSS to 99,999’ TVDSS                             W/2, NE/4 and N/2SE/4                  Operating Rights   26.53745%
     G13055         TERMIN   Viosca Knoll      694                     11,714’ TVDSS to 99,999’ TVDSS                                    S/2SE/4                         Operating Rights   26.53745%
     G15050          PROD    West Cameron      33                      15,055’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights   50.00000%
     G02825          PROD    West Cameron      65           all depths below the stratigraphic equivalent of the         E/2E/2SW/4; W/2W/2SE/4; and E/2SW/4SE/5         Operating Rights   100.00000%
                                                        vertical depth of 13,679' as seen in the OCS‐G 02825 Well
                                                                  No. 4, down to a vertical depth of 99,999'
     G02825         PROD     West Cameron       65       depths below 100’ below the stratigraphic equivalent of                           NE/4                          Operating Rights   81.25000%
                                                         the base of the IT Sand as present in The Continental Oil
                                                             Company’s West Cameron Block 66 B‐14 Well at a
                                                         measured depth of 9,580 feet on the ISF‐Sonic Log down
                                                                             to 99,999 feet TVDSS
     G23735          PROD    West Cameron      72                      15,126’ TVDSS to 99,999’ TVDSS                                    All                             Operating Rights   12.50000%
      247           TERMIN   West Cameron      102                      14,150’ TVD to 99,999’ TVDSS                          N/2SW/4NW/4, NW/4SE/4NW/4                  Operating Rights   100.00000%
       81                    West Cameron      110      all depths below 15,000’ (TVDSS) down to 99,999’ (TVDSS)                         All                             Operating Rights   18.75000%
                     PROD
       82            PROD    West Cameron      111          below 15,000’ (TVDSS) down to 99,999’ (TVDSS)                                  SE/4                          Operating Rights   18.75000%
     G04818         TERMIN   West Cameron      290                   9,500’ TVD to 99,999’ TVDSS                                                                         Operating Rights    8.33334%
      680            PROD    West Cameron      20                    13,500’ TVD to 50,000’ TVD                                            All                           Operating Rights   25.00000%
     G02826          PROD    West Cameron       66                        13,590' to 99,999'                                         W1/2; N1/2SE1/4                     Operating Rights   37.50000%
     G02826          PROD    West Cameron       66                         9,216' to 99,999'                                           S1/2SE1/4                         Operating Rights   75.00000%
      179                    West Delta        67        below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                              S/2                           Operating Rights   18.75000%
                     UNIT
      180                    West Delta         68       below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                              S/2                           Operating Rights   18.75000%
                     UNIT
      181            UNIT    West Delta         69          18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                                  All                          Operating Rights   18.75000%
      182            UNIT    West Delta         70          18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                                  All                          Operating Rights   18.75000%
      838                    West Delta         71       depths below 18,000’ subsea (TVDS) to 99,999’ subsea                               All                          Operating Rights   18.75000%
                    UNIT                                                        (TVDS)
     G01085         PROD     West Delta        75                   17,844’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G01089         PROD     West Delta        90                   13,199’ TVDSS to 99,999’ TVDSS                                    N/2 and N/2S/2                     Operating Rights   50.00000%
     G01089         PROD     West Delta        90                   13,199’ TVDSS to 99,999’ TVDSS                                        S/2S/2                         Operating Rights   40.62500%
      839           PROD     West Delta        94                   13,159’ TVDSS to 99,999; TVDSS                                                                       Operating Rights   37.50000%
     G01497         PROD     West Delta        95                   13,601’ TVDSS to 99,999’ TVDSS                       N/2, N/2N/2SE/4, N/2SE/4 and N/2SW/4SW/4        Operating Rights   37.50000%
     G12360         PROD     West Delta        103                  13,279’ TVDSS to 99,999’ TVDSS                       NW/4NW/4, NE/4NW/4, N/2N/2SW/4NW/4,             Operating Rights   40.62500%
                                                                                                                      N/2NW/4NE/4, N/2S/2NW/4NE/4, N/2N/2NE/4NE/4

      840                    West Delta        103                  13,279’ TVDSS to 99,999’ TVDSS                   S/2, S/2NE/4, SE/4NW/4, S/2SW/4NW/4, S/2NE/4NE/4,   Operating Rights   50.00000%
                                                                                                                             S/2N/2NE/4NE/4, S/2S/2NW/4NE/4 and
                    PROD                                                                                                               S/2N/2SW/4NW/4
      841           PROD     West Delta        104                  11,970’ TVDSS to 99,999’ TVDSS                            NW4, N2NE4, SW4NE4 and N2SE4NE4            Operating Rights   50.00000%
      842           PROD     West Delta        105                  12,149’ TVDSS to 99,999’ TVDSS                                         N2S2N2                        Operating Rights   50.00000%
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Asset Name                       FWE Acct. Code   Lease Number        API
BRAZOS 491 #004                  BA49100400          G06069      427044034300
BRAZOS 491 #005                  BA49100500          G06069      427044035700
BRAZOS 491 #A001                 BA491A0100          G06069      427044018200
BRAZOS 491 #A002                 BA491A0200          G06069      427044018300
BRAZOS 491 #A003                 BA491A0300          G06069      427044032900
BRAZOS A‐105 #B001               BAA105B010          G01757      427054012200
BRAZOS A‐105 #B002               BAA105B020          G01757      427054012600
BRAZOS A‐105 #B003               BAA105B030          G01757      427054012800
BRAZOS A‐105 #B004               BAA105B040          G01757      427054013000
BRAZOS A‐105 #B005               BAA105B050          G01757      427054013300
BRAZOS A‐133 #A001               BAA133A010          G02665      427054002400
BRAZOS A‐133 #A002               BAA133A020          G02665      427054003300
BRAZOS A‐133 #A003               BAA133A030          G02665      427054003500
BRAZOS A‐133 #A004 ST1           BAA133A041          G02665      427054004301
BRAZOS A‐133 #A005 ST1           BAA133A051          G02665      427054004001
BRAZOS A‐133 #A006               BAA133A060          G02665      427054004500
BRAZOS A‐133 #A007               BAA133A070          G02665      427054004800
BRAZOS A‐133 #A008               BAA133A080          G02665      427054005200
BRAZOS A‐133 #A009               BAA133A090          G02665      427054005400
BRAZOS A‐133 #A010               BAA133A100          G02665      427054013100
BRAZOS A‐133 #C001               BAA133C010          G02665      427054007800
BRAZOS A‐133 #C002               BAA133C020          G02665      427054008200
BRAZOS A‐133 #C003               BAA133C030          G02665      427054010700
BRAZOS A‐133 #C004               BAA133C040          G02665      427054013500
BRAZOS A‐133 #D001 ST1           BAA133D011          G02665      427054009201
BRAZOS A‐133 #D003               BAA133D030          G02665      427054012700
CHANDELEUR 042 #A002             CA042A0200          G32267      177294001500
CHANDELEUR 043 #A001             CA043A0100          G32268      177294001400
CHANDELEUR 043 #A003             CA043A0300          G32268      177294001600
EAST CAMERON 002 #001 SL 18121   SL18121010           18121      177032013600
EAST CAMERON 002 #001AL 16475    SL16475010           16475      177032012000
EAST CAMERON 002 #002AL 16475    SL16475020           16475      177032012200
EAST CAMERON 002 #003 SL16475    SL16475030           16475      177032012300
EAST CAMERON 002 #004AL 16475    SL16475040           16475      177032012400
EAST CAMERON 002 #005AL 16475    SL16475050           16475      177032012500
EAST CAMERON 009 #B009           EC009B0900          G01440      177032004300
EAST CAMERON 014 #012            EC01401200          G01440      177034060600
EAST CAMERON 014 #013            EC01401300          G01440      177034101300
EAST CAMERON 014 #B006           EC014B0600          G01440      177032003700
EAST CAMERON 014 #B007           EC014B0700          G01440      177032004000
EAST CAMERON 014 #B008           EC014B0800          G01440      177032004200
EAST CAMERON 014 #B010 ST1       EC014B1001          G01440      177032004601
EAST CAMERON 014 #B011           EC014B1100          G01440      177034006900
EAST CAMERON 014 #B013           EC014B13            G13572      177034094700
EAST CAMERON 014 #CF001          EC014CF010          G01440      177030032800
EAST CAMERON 014 #CF002          EC014CF020          G13572      177034068600
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                                   Exhibit I-B

Asset Name                   FWE Acct. Code   Lease Number        API
EAST CAMERON 037 #A002       EC037A0200          G25933      177034101700
EAST CAMERON 265 #D001       EC265D0100          G00972      177044105100
EAST CAMERON 265 #D002       EC265D0200          G00972      177044106200
EAST CAMERON 265 #D003       EC265D0300          G00972      177044106300
EAST CAMERON 265 #D004       EC265D0400          G00972      177044106400
EAST CAMERON 265 #D005       EC265D0500          G00972      177044106500
EAST CAMERON 278 #B009       EC278B0900          G00974      177044071700
EAST CAMERON 278 #C001       EC278C0100          G00974      177044058500
EAST CAMERON 278 #C002       EC278C0204          G00974      177044070000
EAST CAMERON 278 #C003       EC278C0300          G00974      177044071800
EAST CAMERON 278 #C004 ST2   EC278C0401          G00974      177044072101
EAST CAMERON 278 #C005       EC278C0500          G00974      177044069700
EAST CAMERON 278 #C006       EC278C0600          G00974      177044071400
EAST CAMERON 278 #C007       EC278C0700          G00974      177044094800
EAST CAMERON 278 #C008       EC278C0800          G00974      177044109800
EAST CAMERON 278 #C009       EC278C0900          G00974      177044109901
EAST CAMERON 338 #A002       EC338A0200          G02063      177044024700
EAST CAMERON 338 #A003       EC338A0300          G02063      177044025000
EAST CAMERON 338 #A011       EC338A1100          G02063      177044028800
EAST CAMERON 338 #A015       EC338A1500          G02063      177044032000
EAST CAMERON 338 #A016       EC338A1601          G02063      177044034601
EAST CAMERON 338 #A022       EC338A2200          G02063      177044025101
EUGENE IS 053 #008D          EI053008D0           00479      177094086200
EUGENE IS 053 #009           EI05300900           00479      177094094000
EUGENE IS 053 #010 ST1       EI05301001           00479      177094113001
EUGENE IS 053 #012 ST1       EI05301201           00479      177094115301
EUGENE IS 053 #015 BP1       EI05301501           00479      177094127601
EUGENE IS 053 #B001D         EI053B01D0           00479      177094085900
EUGENE IS 053 #C001          EI053C0101           00479      177094121101
EUGENE IS 053 #C002          EI053C0200           00479      177094122600
EUGENE IS 053 #G001 ST1      EI053G01D2           00479      177094144201
EUGENE IS 119 #030 ST1       EI11903001           00049      177094079801
EUGENE IS 119 #033 ST2       EI11903302           00049      177094117002
EUGENE IS 119 #034           EI11903400           00049      177094118700
EUGENE IS 119 #035 ST1       EI11903501           00049      177094120301
EUGENE IS 119 #037 ST1       EI11903701           00049      177094129001
EUGENE IS 119 #F001D         EI119F01D0           00049      177090026700
EUGENE IS 119 #F002 ST1      EI119F0201           00049      177090026801
EUGENE IS 119 #F003          EI119F0300           00049      177090026900
EUGENE IS 119 #F005 ST1      EI119F0501           00049      177090027101
EUGENE IS 119 #F006          EI119F0600           00049      177090027200
EUGENE IS 119 #F007          EI119F0700           00049      177094137900
EUGENE IS 119 #F008 ST1      EI119F0801           00049      177094138401
EUGENE IS 119 #K001          EI119K0100           00049      177090028900
EUGENE IS 119 #K002          EI119K0200           00049      177090029000
EUGENE IS 119 #K003          EI119K0300           00049      177090029100
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Asset Name                  FWE Acct. Code   Lease Number        API
EUGENE IS 119 #K004         EI119K0400           00049      177090029200
EUGENE IS 119 #K005         EI119K0500           00049      177090029300
EUGENE IS 119 #K006         EI119K0600           00049      177090029400
EUGENE IS 119 #K007         EI119K0700           00049      177090029500
EUGENE IS 119 #M004         EI119M0400           00049      177090029900
EUGENE IS 119 #M007         EI119M0700           00049      177092009000
EUGENE IS 120 #009 ST1      EI12000901           00050      177094026101
EUGENE IS 120 #011          EI12001100           00050      177094078000
EUGENE IS 120 #012 ST1      EI12001201           00050      177094113901
EUGENE IS 120 #013          EI12001300           00050      177094114100
EUGENE IS 120 #014          EI12001400           00050      177094115200
EUGENE IS 120 #015 ST2      EI12001502           00050      177094116702
EUGENE IS 120 #017          EI12001700           00050      177094121700
EUGENE IS 120 #019 ST2      EI12001902           00050      177094126102
EUGENE IS 120 #020          EI12002000           00050      177094138300
EUGENE IS 120 #I008         EI120I0800           00050      177094137000
EUGENE IS 125 #002B ST2     EI125002B2           00051      177090022902
EUGENE IS 125 #A003 ST1     EI125A0301           00051      177090022601
EUGENE IS 125 #R001         EI125R0100           00051      177094080201
EUGENE IS 125 #R002         EI125R0201           00051      177094141301
EUGENE IS 126 #012          EI12601201           00052      177094131501
EUGENE IS 126 #031 ST2      EI12603102           00052      177094086702
EUGENE IS 126 #A002         EI126A0200           00052      177090022500
EUGENE IS 126 #A004D        EI126A04D0           00052      177090022700
EUGENE IS 126 #A005         EI126A0501           00052      177094092903
EUGENE IS 126 #A006         EI126A0600           00052      177094151000
EUGENE IS 136 #001          EI13600100          G03152      177094115700
EUGENE IS 136 #JA001        EI136JA100          G03152      177094028300
EUGENE IS 136 #JA002        EI136JA200          G03152      177094117501
EUGENE IS 136 #JA003 BP1    EI136JA301          G03152      177094140601
EUGENE IS 136 #JA004        EI136JA400          G03152      177094151101
EUGENE IS 158 #014B         EI158014B0          G01220      177090094300
EUGENE IS 158 #016          EI15801600          G01220      177092000402
EUGENE IS 158 #017A         EI158017A0          G01220      177092000900
EUGENE IS 158 #027 ST1      EI15802701          G01220      177092006501
EUGENE IS 158 #028 ST1BP1   EI15802802          G01220      177092009702
EUGENE IS 158 #029          EI15802900          G01220      177092008200
EUGENE IS 158 #032          EI15803200          G01220      177094111400
EUGENE IS 158 #034          EI15803400          G01220      177094147600
EUGENE IS 158 #B003A        EI158B03A2          G01220      177090066202
EUGENE IS 158 #B004B        EI158B04B0          G01220      177090063700
EUGENE IS 158 #B005E        EI158B05E0          G01220      177090070400
EUGENE IS 158 #B007         EI158B0703          G01220      177090094803
EUGENE IS 158 #B008         EI158B0800          G01220      177092001500
EUGENE IS 158 #B010F        EI158B1100          G01220      177092001800
EUGENE IS 158 #B011 ST2     EI158B1102          G01220      177094104902
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Asset Name                   FWE Acct. Code   Lease Number        API
EUGENE IS 158 #B012          EI158B1200          G01220      177094105000
EUGENE IS 158 #B013          EI158B1302          G01220      177094143502
EUGENE IS 158 #C001          EI158C0100          G01220      177092014700
EUGENE IS 158 #C002          EI158C0200          G01220      177092015200
EUGENE IS 158 #C003C         EI158C03C0          G01220      177092015300
EUGENE IS 158 #C005A         EI158C05A0          G01220      177094002200
EUGENE IS 158 #C006          EI158C0600          G01220      177094001900
EUGENE IS 158 #C007F         EI158C07F0          G01220      177094004700
EUGENE IS 158 #C008C         EI158C08C0          G01220      177094005100
EUGENE IS 158 #C009          EI158C0900          G01220      177094005700
EUGENE IS 158 #C010B         EI158C10B0          G01220      177094006000
EUGENE IS 158 #C011A         EI158C11A0          G01220      177094006300
EUGENE IS 158 #C012D         EI158C12D0          G01220      177094007100
EUGENE IS 158 #C013D         EI158C13D0          G01220      177094008000
EUGENE IS 158 #C014          EI158C1400          G01220      177094008100
EUGENE IS 158 #JB008         EI158JB801          G01220      177090091401
EUGENE IS 158 #JB009         EI158JB900          G01220      177090090200
EUGENE IS 158 #JB013         EI158JB130          G01220      177090094102
EUGENE IS 158 #JB019         EI158JB190          G01220      177092002101
EUGENE IS 158 #JB022         EI158JB220          G01220      177092003300
EUGENE IS 158 #JB024         EI158JB240          G01220      177092003900
EUGENE IS 158 #JB030 (D04)   EI158JB300          G01220      177094100300
EUGENE IS 158 #JB033         EI158JB330          G01220      177094111100
EUGENE IS 173 #G002          EI173G0200          G13622      177094074701
EUGENE IS 174 #A010          EI174A1000          G03782      177094101100
EUGENE IS 174 #G001 ST1      EI174G0101          G03782      177094065601
EUGENE IS 174 #G003 ST2      EI174G0302          G03782      177094084402
EUGENE IS 174 #G004 ST1      EI174G0402          G03782      177094116502
EUGENE IS 175 #D006 ST1      EI175D0601           00438      177094003301
EUGENE IS 175 #D008          EI175D0800           00438      177094003900
EUGENE IS 175 #D009 ST1      EI175D0901           00438      177094005401
EUGENE IS 175 #D012 ST       EI175D1201           00438      177094010601
EUGENE IS 175 #D021 ST3      EI175D2103           00438      177092012603
EUGENE IS 175 #F001 ST1      EI175F0101           00438      177094035401
EUGENE IS 175 #F002 ST1      EI175F0201           00438      177094039601
EUGENE IS 175 #F003 ST       EI175F0302           00438      177094039702
EUGENE IS 175 #F004 ST       EI175F0401           00438      177094041001
EUGENE IS 175 #F005          EI175F0500           00438      177094042900
EUGENE IS 175 #F007          EI175F0700           00438      177094048900
EUGENE IS 175 #F009          EI175F0901           00438      177094087601
EUGENE IS 175 #H001          EI175H0100           00438      177094104700
EUGENE IS 175 #H002          EI175H0200           00438      177094106700
EUGENE IS 175 #H003          EI175H0300           00438      177094110800
EUGENE IS 175 #H004          EI175H0400           00438      177094110900
EUGENE IS 175 #H005 ST1BP1   EI175H0502           00438      177094112002
EUGENE IS 175 #I002          EI175I0201           00438      177094107101
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Asset Name                    FWE Acct. Code   Lease Number        API
EUGENE IS 175 #I003           EI175I0300           00438      177094107200
EUGENE IS 175 #I004           EI175I0400           00438      177094109200
EUGENE IS 175 #I005           EI175I0500           00438      177094109300
EUGENE IS 175 #J001 ST1       EI175J0101           00438      177094122301
EUGENE IS 175 #J002 ST1       EI175J0201           00438      177094123201
EUGENE IS 175 #J003 ST1       EI175J0301           00438      177094123501
EUGENE IS 175 #J004           EI175J0400           00438      177094128300
EUGENE IS 187 #002            EI18700200          G10736      177094151601
EUGENE IS 187 #JC001          EI187JC101          G10736      177094091101
EUGENE IS 187 #JD001          EI187JD201          G10736      177094092801
EUGENE IS 187 #JD002          EI187JD200          G10736      177094131900
EUGENE IS 187 #JE002          EI187JE020          G10736      177094109700
EUGENE IS 188 #JE001          EI188JE100           00443      177094096500
EUGENE IS 189 #020            EI18902000           00423      177094099500
EUGENE IS 189 #B001           EI189B0100           00423      177090062500
EUGENE IS 189 #B003 ST1       EI189B0300           00423      177090062601
EUGENE IS 189 #B014           EI189B1400           00423      177090075200
EUGENE IS 189 #B016B          EI189B16B3           00423      177090075103
EUGENE IS 189 #B020           EI189B2001           00423      177090079001
EUGENE IS 189 #B025           EI189B2501           00423      177090078501
EUGENE IS 189 #B027           EI189B2701           00423      177094059001
EUGENE IS 211 #A003           EI211A0300          G05502      177094071500
EUGENE IS 211 #A005           EI211A0500          G05502      177094083400
EUGENE IS 211 #A006           EI211A0600          G05502      177094083601
EUGENE IS 212 #A001 BP1       EI212A0100          G05503      177094063200
EUGENE IS 212 #A002           EI212A0200          G05503      177094070700
EUGENE IS 212 #A007           EI212A0700          G05503      177094097400
EUGENE IS 224 #A001           EI224A0101          G05504      177094074001
EUGENE IS 224 #A002           EI224A0201          G05504      177094082501
EUGENE IS 224 #A003           EI224A0300          G05504      177094083200
EUGENE IS 224 #A004           EI224A0400          G05504      177094089100
EUGENE IS 224 #A005           EI224A0503          G05504      177094089403
EUGENE IS 224 #A006           EI224A0600          G05504      177094103600
EUGENE IS 224 #A007           EI224A0700          G05504      177094106800
EUGENE IS 224 #A008           EI224A0800          G05504      177094111600
EUGENE IS 224 #A009           EI224A0900          G05504      177094121900
EUGENE IS 224 #A010           EI224A1000          G05504      177094135200
EUGENE IS 224 #C001           EI224C01            G05504      177094112501
EUGENE IS 224 #G002 (ORRI)    EI224G02            G05504      177094150801
EUGENE IS 224 #SS006 (ORRI)   EI224SS06           G05504      177094149000
EUGENE IS 312 #D001           EI312D0100          G22679      177104160900
EUGENE IS 312 #D002           EI312D0200          G22679      177104161900
EUGENE IS 315 #A001 ST1       EI315A0101          G02112      177104099001
EUGENE IS 315 #A003           EI315A0300          G02112      177104099500
EUGENE IS 315 #A005           EI315A0500          G02112      177104099800
EUGENE IS 315 #A006           EI315A0600          G02112      177104101700
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Asset Name                      FWE Acct. Code   Lease Number        API
EUGENE IS 315 #A007 ST1         EI315A0701          G02112      177104103001
EUGENE IS 315 #A010             EI315A1000          G02112      177104103700
EUGENE IS 315 #A012             EI315A1200          G02112      177104104000
EUGENE IS 315 #A016             EI315A1600          G02112      177104127000
EUGENE IS 315 #A017             EI315A1700          G02112      177104152000
EUGENE IS 315 #C001 (TANA)      EI315C0100          G24912      177104160800
EUGENE IS 315 #C002 (TANA)      EI315C0200          G24912      177104162300
EUGENE IS 316 #A001             EI316A0101          G05040      177104100701
EUGENE IS 316 #A002 ST1         EI316A0200          G05040      177104106400
EUGENE IS 316 #A003 ST3         EI316A0302          G05040      177104111302
EUGENE IS 316 #A005 ST5         EI316A0505          G05040      177104112905
EUGENE IS 316 #A007             EI316A0700          G05040      177104117000
EUGENE IS 316 #A008             EI316A0800          G05040      177104117300
EUGENE IS 316 #A010             EI316A1000          G05040      177104118300
EUGENE IS 316 #A011             EI316A1100          G05040      177104137500
EUGENE IS 316 #A012             EI316A1200          G05040      177104138400
EUGENE IS 316 #A013 ST1 (S01)   EI316A13S1          G05040      177104107601
EUGENE IS 329 #A002             EI329A0200          G02912      177104099101
EUGENE IS 329 #A004             EI329A0400          G02912      177104099400
EUGENE IS 329 #A008             EI329A0800          G02912      177104103500
EUGENE IS 329 #A011             EI329A1100          G02912      177104103800
EUGENE IS 329 #A014             EI329A1400          G02912      177104106800
EUGENE IS 329 #A015             EI329A1500          G02912      177104108001
EUGENE IS 329 #A018             EI329A1800          G02912      177104151700
EUGENE IS 330 #B001             EI330B0101          G02115      177104004301
EUGENE IS 330 #B003 ST1         EI330B0301          G02115      177104008001
EUGENE IS 330 #B004 ST1         EI330B0401          G02115      177104008701
EUGENE IS 330 #B005 ST2         EI330B0502          G02115      177104009502
EUGENE IS 330 #B006 ST3         EI330B0603          G02115      177104010503
EUGENE IS 330 #B007 ST1         EI330B0701          G02115      177104011601
EUGENE IS 330 #B008 ST1 LF      EI330B0801          G02115      177104013001
EUGENE IS 330 #B009 ST1         EI330B0901          G02115      177104016301
EUGENE IS 330 #B010 ST1         EI330B1001          G02115      177104017101
EUGENE IS 330 #B011             EI330B1100          G02115      177104025200
EUGENE IS 330 #B012 ST1         EI330B1201          G02115      177104021001
EUGENE IS 330 #B014 ST1         EI330B1401          G02115      177104027401
EUGENE IS 330 #B015 ST1         EI330B1501          G02115      177104028601
EUGENE IS 330 #B016 ST1         EI330B1601          G02115      177104030201
EUGENE IS 330 #B018             EI330B1800          G02115      177104031200
EUGENE IS 330 #D001             EI330D0100          G02115      177104105600
EUGENE IS 330 #D002             EI330D0200          G02115      177104116900
EUGENE IS 330 #D003 ST2         EI330D0302          G02115      177104117802
EUGENE IS 330 #D004             EI330D0400          G02115      177104118400
EUGENE IS 330 #D005 ST1         EI330D0502          G02115      177104118702
EUGENE IS 330 #D006 ST          EI330D0602          G02115      177104119102
EUGENE IS 330 #D008 ST1         EI330D0801          G02115      177104119602
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Asset Name                   FWE Acct. Code   Lease Number        API
EUGENE IS 330 #D009 ST1      EI330D0901          G02115      177104138201
EUGENE IS 330 #D011          EI330D1100          G02115      177104138700
EUGENE IS 330 #D012 ST1      EI330D1201          G02115      177104138801
EUGENE IS 330 #D013          EI330D1301          G02115      177104164301
EUGENE IS 330 #D014          EI330D1401          G02115      177104164401
EUGENE IS 330 #D015          EI330D1500          G02115      177104164500
EUGENE IS 330 #D016          EI330D1602          G02115      177104164702
EUGENE IS 330 #D017          EI330D1700          G02115      177104164800
EUGENE IS 330 #D018          EI330D1801          G02115      177104165101
EUGENE IS 330 #D019          EI330D1900          G02115      177104165200
EUGENE IS 330 #D020          EI330D2000          G02115      177104165300
EUGENE IS 333 #B012          EI333B1200          G02317      177104145204
EUGENE IS 334 #B013 ST1      EI334B1301          G15263      177104152201
EUGENE IS 334 #D001 BP1      EI334D0100          G15263      177104159300
EUGENE IS 334 #D003 BP1      EI334D0301          G15263      177104161401
EUGENE IS 337 #A001 ST2      EI337A0102          G03332      177104054002
EUGENE IS 337 #A003 ST1      EI337A0301          G03332      177104101101
EUGENE IS 337 #A005 ST1      EI337A0501          G03332      177104102201
EUGENE IS 337 #A007          EI337A0700          G03332      177104104600
EUGENE IS 337 #A008 ST2      EI337A0802          G03332      177104104902
EUGENE IS 337 #A010          EI337A1000          G03332      177104161000
EUGENE IS 337 #A011          EI337A1103          G03332      177104163803
EUGENE IS 342 #004           EI34200400          G02319      177104113000
EUGENE IS 342 #C002 ST1      EI342C0201          G02319      177104110601
EUGENE IS 342 #C003          EI342C0300          G02319      177104114000
EUGENE IS 342 #C004          EI342C0401          G02319      177104120101
EUGENE IS 342 #C005          EI342C0502          G02319      177104120202
EUGENE IS 342 #C006          EI342C0600          G02319      177104120300
EUGENE IS 342 #C007          EI342C0700          G02319      177104120800
EUGENE IS 342 #C008          EI342C0800          G02319      177104121000
EUGENE IS 342 #C009          EI342C0900          G02319      177104121300
EUGENE IS 342 #C010          EI342C1000          G02319      177104121500
EUGENE IS 342 #C011          EI342C1100          G02319      177104122000
EUGENE IS 342 #C012          EI342C1200          G02319      177104122200
EUGENE IS 342 #C013          EI342C1300          G02319      177104122700
EUGENE IS 342 #C014          EI342C1400          G02319      177104135800
EUGENE IS 342 #C015          EI342C1501          G02319      177104162101
EUGENE IS 342 #C016          EI342C1601          G02319      177104162201
EUGENE IS 342 #C017 BP1      EI342C1701          G02319      177104162501
EUGENE IS 345 #A004          EI345A0401          G21647      177104159201
EUGENE IS 346 #004           EI34600400          G14482      177104150500
EUGENE IS 346 #005           EI34600500          G14482      177104151900
EUGENE IS 346 #A001          EI346A0100          G14482      177104149101
EUGENE IS 346 #A002 ST3      EI346A0203          G14482      177104149603
EUGENE IS 346 #A003          EI346A0300          G14482      177104155100
EUGENE IS 346 #B001 (ORRI)   EI346B0100          G14482      177104161700
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Asset Name                   FWE Acct. Code   Lease Number        API
EUGENE IS 346 #B003 (ORRI)   EI346B0300          G14482      177104162800
EUGENE IS 353 #D017 ST2      EI353D1702          G03783      177104143402
EUGENE IS 353(354) #D3 ST    EI353D0300          G03783      177104138501
EUGENE IS 354 #A006          EI354A0602          G10752      177104104302
EUGENE IS 354 #D001          EI354D0101          G10752      177104142101
EUGENE IS 354 #D002          EI354D0200          G10752      177104138100
EUGENE IS 354 #D004          EI354D0400          G10752      177104142900
EUGENE IS 354 #D005          EI354D0500          G10752      177104142800
EUGENE IS 354 #D006          EI354D0600          G10752      177104143500
EUGENE IS 354 #D008          EI354D0800          G10752      177104144000
EUGENE IS 354 #D009 ST4      EI354D0904          G10752      177104145604
EUGENE IS 354 #D010          EI354D1000          G10752      177104144700
EUGENE IS 354 #D011          EI354D1100          G10752      177104144900
EUGENE IS 354 #D012          EI354D1200          G10752      177104146400
EUGENE IS 354 #D014 ST1      EI354D1401          G02324      177104147201
EUGENE IS 354 #D015          EI354D1500          G10752      177104147700
EUGENE IS 354 #D016 ST1      EI354D1601          G10752      177104147901
EUGENE IS 361 #A001          EI361A0100          G02324      177104095200
EUGENE IS 361 #A002          EI361A0200          G02324      177104095600
EUGENE IS 361 #A006          EI361A0600          G02324       1771040979
EUGENE IS 361 #A007          EI361A0700          G02324      177104098500
EUGENE IS 361 #A008          EI361A0800          G02324       1771040992
EUGENE IS 361 #A010          EI361A1000          G02324       1771041012
EUGENE IS 361 #A011          EI361A1102          G02324      177104103402
EUGENE IS 361 #A013          EI361A1300          G02324      177104104400
EUGENE IS 361 #A014          EI361A1400          G02324      177104104700
EUGENE IS 361 #A015          EI361A1500          G02324      177104105300
EUGENE IS 361 #A016          EI361A1600          G02324       1771041057
EUGENE IS 361 #A017          EI361A1700          G02324      177104105800
EUGENE IS 361 #A018          EI361A1800          G02324      177104106600
EUGENE IS 361 #A019          EI361A1900          G02324      177104107500
EUGENE IS 361 #A020          EI361A2000          G02324       1771041079
EUGENE IS 361 #A021          EI361A2101          G02324      177104108101
EUGENE IS 361 #A022          EI361A2200          G02324      177104144600
EUGENE IS 361 #A023          EI361A2300          G02324       1771041454
EUGENE IS 361 #A024          EI361A2400          G02324      177104157900
EUGENE IS 361 #C003          EI361C0300          G02324      177104112401
EUGENE IS 361 #C012          EI361C1202          G02324      177104118002
EUGENE IS 361 #C015          EI361C1500          G02324      177104119500
EUGENE IS 361 #C016          EI361C1600          G02324      177104119800
EUGENE IS 361 #D001          EI361D0102          G02324      177104111102
EUGENE IS 361 #D004          EI361D0400          G02324       1771041135
EUGENE IS 361 #D010          EI361D1000          G02324       1771041171
EUGENE IS 361 #D014          EI361D1400          G02324       1771041193
EUGENE IS 361 #D015          EI361D1501          G02324      177104134601
EUGENE IS 361 #D017          EI361D1701          G02324      177104152401
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Asset Name                       FWE Acct. Code   Lease Number        API
EWING BANK 782 #A011 ST1 EW826   EW782A1101          G31470      608105002901
EWING BANK 782 #A022 (EW826)     EW782A2200          G31470      608104014400
EWING BANK 782 #A026             EW782A2600          G31470      608104015003
EWING BANK 826 #A001             EW826A0100          G05800      608105000100
EWING BANK 826 #A002 ST2         EW826A0202          G05800      608105000202
EWING BANK 826 #A003 ST2         EW826A0302          G05800      608105000402
EWING BANK 826 #A004             EW826A0400          G05800      608105000500
EWING BANK 826 #A005 ST3         EW826A0503          G05800      608105001303
EWING BANK 826 #A006             EW826A0600          G05800      608105001200
EWING BANK 826 #A007             EW826A0700          G05800      608105002000
EWING BANK 826 #A008             EW826A0800          G05800      608105001400
EWING BANK 826 #A009             EW826A0900          G05800      608105002800
EWING BANK 826 #A010             EW826A1000          G05800      608105001700
EWING BANK 826 #A013             EW826A1300          G05800      608105003000
EWING BANK 826 #A015             EW826A1501          G05800      608105003501
EWING BANK 826 #A016             EW826A1600          G05800      608105002100
EWING BANK 826 #A017             EW826A1700          G05800      608104013600
EWING BANK 826 #A018             EW826A1800          G05800      608104013700
EWING BANK 826 #A019 BP1         EW826A1901          G05800      608104013801
EWING BANK 826 #A020             EW826A2000          G05800      608104014000
EWING BANK 826 #A021 BP3         EW826A2103          G05800      608104014103
EWING BANK 826 #A024 ST1         EW826A2401          G05800      608104014801
GALVESTON 151 #005               GA15100500          G15740      427064044200
GALVESTON 180 #A002              GA180A0200          G03228      427084005600
GALVESTON 180 #A004 ST1          GA180A0401          G03228      427084005801
GALVESTON 180 #A007B             GA180A7B0           G03228      427084005900
GALVESTON 180 #A017              GA180A1700          G03228      427084007600
GALVESTON 192 #A014C             GA192A14C1          G03229      427084006701
GALVESTON 210 #001               GA21000100          G25524      427064044300
GALVESTON 210 #002               GA21000200          G25524      427064044800
GRAND ISLE 032 #U012 ST1         GI032U1201           00174      177192014502
GRAND ISLE 039 #P002 ST2         GI039P0202           00127      177174097802
GRAND ISLE 039 #Q001 ST3         GI039Q0103           00127      177174037903
GRAND ISLE 040 #E007D            GI040E07D0           00128      177170077500
GRAND ISLE 040 #E009             GI040E0900           00128      177170078700
GRAND ISLE 040 #G001             GI040G0100           00128      177170070400
GRAND ISLE 040 #G002             GI040G0200           00128      177170076200
GRAND ISLE 040 #G006             GI040G0600           00133      177174012600
GRAND ISLE 040 #G010             GI040G1000           00128      177174037200
GRAND ISLE 040 #G011             GI040G1100           00128      177174037300
GRAND ISLE 040 #G013             GI040G1300           00128      177174098600
GRAND ISLE 040 #M001             GI040M0100           00128      177174037000
GRAND ISLE 040 #M002D            GI040M02D0           00128      177174038600
GRAND ISLE 040 #M003             GI040M0300           00128      177174043600
GRAND ISLE 040 #O005             GI040O0500           00128      177174097100
GRAND ISLE 041 #D002             GI041D0200           00129      177170075300
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Asset Name                  FWE Acct. Code   Lease Number        API
GRAND ISLE 041 #D003        GI041D0300           00129      177170076700
GRAND ISLE 041 #D004        GI041D0400           00130      177170080500
GRAND ISLE 041 #D007        GI041D0700           00129      177172000000
GRAND ISLE 041 #D008 ST     GI041D0801           00130      177172000801
GRAND ISLE 041 #D009        GI041D0900           00129      177172001500
GRAND ISLE 041 #D010ST      GI041D1000           00129      177174017801
GRAND ISLE 041 #D011E       GI041D1100           00129      177174018400
GRAND ISLE 041 #E001 ST1    GI041E0101           00130      177170069401
GRAND ISLE 041 #E002 ST1    GI041E0201           00130      177170074701
GRAND ISLE 041 #E003D       GI041E03D0           00130      177170075000
GRAND ISLE 041 #E004 ST1    GI041E0401           00130      177170075201
GRAND ISLE 041 #E005        GI041E0500           00129      177170075400
GRAND ISLE 041 #E006D       GI041E06D0           00130      177170077300
GRAND ISLE 041 #E008        GI041E0800           00130      177170079800
GRAND ISLE 041 #E010        GI041E1001           00130      177172000301
GRAND ISLE 041 #E012D       GI041E12D0           00130      177174011500
GRAND ISLE 041 #E013        GI041E1300           00130      177174012900
GRAND ISLE 041 #F003 ST1    GI041F0301           00129      177174006401
GRAND ISLE 041 #F005 ST2    GI041F0502           00129      177174017302
GRAND ISLE 041 #G007        GI041G0700           00130      177174022400
GRAND ISLE 041 #G008        GI041G0800           00130      177174026400
GRAND ISLE 041 #H001        GI041H0100           00130      177174020300
GRAND ISLE 041 #H002        GI041H0200           00129      177174028100
GRAND ISLE 041 #H003 ST     GI041H0301           00130      177174028601
GRAND ISLE 041 #H004        GI041H0400           00130      177174038000
GRAND ISLE 041 #H005        GI041H0500           00129      177174038100
GRAND ISLE 041 #H006 ST1    GI041H0601           00129      177174098301
GRAND ISLE 041 #H007        GI041H0700           00130      177174098400
GRAND ISLE 042 #C001        GI042C0100           00131      177170067000
GRAND ISLE 042 #C002        GI042C0200           00131      177170072100
GRAND ISLE 042 #F001        GI042F0100           00131      177174005100
GRAND ISLE 042 #F002        GI042F0200           00131      177174006000
GRAND ISLE 042 #F004        GI042F0400           00131      177174007100
GRAND ISLE 046 #001 ST1     GI04600101           00132      177174042801
GRAND ISLE 046 #G009 ST1    GI046G0901           00132      177174026101
GRAND ISLE 047 #E006        GI047E0600           00133      177170078100
GRAND ISLE 047 #E008        GI047E0800           00133      177170079500
GRAND ISLE 047 #E017        GI047E1700           00133      177174039900
GRAND ISLE 047 #G004 ST     GI047G0401           00133      177170079601
GRAND ISLE 047 #G005 ST     GI047G0501           00133      177170080301
GRAND ISLE 047 #G012        GI047G1200           00133      177174037500
GRAND ISLE 047 #L001        GI047L0100           00133      177174012800
GRAND ISLE 047 #L002 ST     GI047L0201           00133      177174015901
GRAND ISLE 047 #L003        GI047L0300           00133      177174020500
GRAND ISLE 047 #L004        GI047L0400           00133      177174017000
GRAND ISLE 047 #L005        GI047L0500           00133      177174017900
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Asset Name                     FWE Acct. Code   Lease Number        API
GRAND ISLE 047 #L006D          GI047L0600           00133      177174036300
GRAND ISLE 047 #L007 ST        GI047L0701           00177      177174039101
GRAND ISLE 047 #L009 ST1       GI047L0901           00133      177174039201
GRAND ISLE 047 #L011 ST2       GI047L1102           00133      177174039602
GRAND ISLE 047 #O001 BP2       GI047O01D3           00133      177174096102
GRAND ISLE 047 #O002           GI047002D1           00133      177174096600
GRAND ISLE 047 #O003           GI04700300           00133      177174096700
GRAND ISLE 047 #O004           GI047O0400           00133      177174096900
GRAND ISLE 047 #O006           GI047O0600           00133      177174097200
GRAND ISLE 047 #O007 ST1       GI047O0701           00133      177174097301
GRAND ISLE 047 #O008           GI047O0800           00133      177174097600
GRAND ISLE 047 #O009           GI047O09D1           00133      177174097700
GRAND ISLE 048 #E001           GI048E0100           00134      177170045400
GRAND ISLE 048 #E014           GI048E1400           00134      177172003900
GRAND ISLE 048 #E018 ST        GI048E1801           00134      177174043501
GRAND ISLE 048 #J002 ST1       GI048J0201           00134      177174003201
GRAND ISLE 048 #J003 ST        GI048J0302           00134      177174004502
GRAND ISLE 048 #J004 ST2       GI048J0403           00134      177174004803
GRAND ISLE 048 #J005 ST        GI048J0501           00134      177174011601
GRAND ISLE 048 #J006           GI048J0600           00134      177174012000
GRAND ISLE 048 #J007           GI048J0700           00134      177174012200
GRAND ISLE 048 #J008           GI048J0800           00134      177174016900
GRAND ISLE 048 #J009           GI048J0900           00134      177174044200
GRAND ISLE 048 #J010 ST        GI048J1001           00134      177174044401
GRAND ISLE 048 #P001 FKA #14   GI048P0100           00134      177174015300
GRAND ISLE 052 #L008 ST        GI052L0801           00177      177174019501
GRAND ISLE 052 #L010           GI052L1001           00177      177174043901
GRAND ISLE 052 #L012           GI052L1200           00177      177174044604
GRAND ISLE 076 #A001           GI076A0100          G02161      177174004600
GRAND ISLE 076 #A002           GI076A0200          G02161      177174004700
GRAND ISLE 076 #A003           GI076A0300          G02161      177174004900
GRAND ISLE 076 #A005           GI076A0500          G02161      177174005200
GRAND ISLE 076 #A006           GI076A0601          G02161      177174005001
GRAND ISLE 076 #A008           GI076A0800          G02161      177174005400
GRAND ISLE 076 #A009           GI076A0900          G02161      177174005500
GRAND ISLE 076 #A010           GI076A1001          G02161      177174005301
GRAND ISLE 076 #A011           GI076A1100          G02161      177174005600
GRAND ISLE 076 #A013           GI076A1300          G02161      177174005800
GRAND ISLE 076 #A014           GI076A1400          G02161      177174006100
GRAND ISLE 076 #A015           GI076A1500          G02161      177174005900
GRAND ISLE 076 #A018           GI076A1800          G02161      177174006500
GRAND ISLE 076 #A022           GI076A2201          G02161      177174006601
GRAND ISLE 076 #A023 ST1       GI076A2301          G02161      177174044101
GRAND ISLE 076 #A024 ST1BP1    GI076A2401          G02161      177174095502
GRAND ISLE 110 #A002           GI110A0200          G13943      177184008900
GRAND ISLE 110 #A005 BP2       GI110A0502          G13943      177184010402
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Asset Name                     FWE Acct. Code   Lease Number        API
GRAND ISLE 116 #A001           GI116A0100          G13944      177184008700
GRAND ISLE 116 #A003           GI116A0300          G13944      177184009200
GRAND ISLE 116 #A004           GI116A0401          G13944      177184009501
GRAND ISLE 116 #A006           GI116A0601          G13944      177184010601
GRAND ISLE 116 #A007           GI116A0700          G13944      177184011100
HIGH ISLAND 110 #A001          HI110A0100          G02353      427084001700
HIGH ISLAND 110 #A002          HI110A0200          G02353      427084002300
HIGH ISLAND 110 #A004          HI110A0400          G02353      427084003300
HIGH ISLAND 110 #A005          HI110A0500          G02353      427084003500
HIGH ISLAND 110 #A006          HI110A0600          G02353      427084003700
HIGH ISLAND 110 #A008          HI110A0800          G02353      427084004900
HIGH ISLAND 110 #A009          HI110A0900          G02353      427084039400
HIGH ISLAND 110 #B002          HI110B0200          G02353      427084004300
HIGH ISLAND 110 #B004          HI110B0400          G02353      427084006100
HIGH ISLAND 110 #B009          HI110B0900          G02353      427084035000
HIGH ISLAND 110 #B010          HI110B1000          G02353      427084039600
HIGH ISLAND 111 #003           HI11100300          G02354      427084046200
HIGH ISLAND 111 #A003          HI111A0300          G02354      427084002600
HIGH ISLAND 111 #A010          HI111A1000          G02354      427084040101
HIGH ISLAND 116 #A001          HI116A0100          G06156      427084016400
HIGH ISLAND 116 #A002D         HI116A02D0          G06156      427084017600
HIGH ISLAND 116 #A003          HI116A0300          G06156      427084018300
HIGH ISLAND 129 #005           HI129005            G01848      427104000700
HIGH ISLAND 129 #006           HI12900600          G01848      427104000800
HIGH ISLAND 129 #013           HI12901300          G01848      427104009600
HIGH ISLAND 129 #017           HI12901702          G01848      427104015302
HIGH ISLAND 129 #018 (HELIS)   HI12901800          G01848      427104015400
HIGH ISLAND 176 #002           HI17600200          G06164      427084030200
HIGH ISLAND 176 #003           HI17603             G06164      427084031300
HIGH ISLAND 179 #A001          HI179A0100          G03236      427084005500
HIGH ISLAND 179 #A003          HI179A0300          G03236      427084005700
HIGH ISLAND 179 #A006 ST2      HI179A0602          G03236      427084006002
HIGH ISLAND 179 #A008B         HI179A08B0          G03236      427084006200
HIGH ISLAND 179 #A009          HI179A0900          G03236      427084006300
HIGH ISLAND 179 #A010          HI179A1000          G03236      427084006400
HIGH ISLAND 179 #A016          HI179A1600          G03236      427084007300
HIGH ISLAND 179 #A018E         HI179A18E0          G03236      427084008000
HIGH ISLAND 179 #A019          HI179A1900          G03236      427084007800
HIGH ISLAND 193 #A015          HI193A1500          G03237      427084006801
HIGH ISLAND 206 #B001 ST1      HI206B0101          G20660      427084056501
HIGH ISLAND 206 #B002 ST1      HI206B0201          G20660      427084059201
HIGH ISLAND 206 #B003 ST1      HI206B0301          G20660      427084063501
HIGH ISLAND A‐341 #B001        HIA341B010          G25605      427114085900
HIGH ISLAND A‐341 #B002        HIA341B020          G25605      427114087101
HIGH ISLAND A‐365 #A001        HIA365A010          G02750      427114052200
HIGH ISLAND A‐365 #A004        HIA365A040          G02750      427114053700
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Asset Name                    FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐365 #A006       HIA365A060          G02750      427114053100
HIGH ISLAND A‐365 #A007       HIA365A070          G02750      427114054100
HIGH ISLAND A‐365 #A008       HIA365A080          G02750      427114054800
HIGH ISLAND A‐365 #A010       HIA365A100          G02750      427114055200
HIGH ISLAND A‐365 #A012       HIA365A120          G02750      427114055600
HIGH ISLAND A‐365 #A013 ST1   HIA365A131          G02750      427114055801
HIGH ISLAND A‐365 #A016       HIA365A160          G02750      427114056700
HIGH ISLAND A‐365 #A020       HIA365A200          G02750      427114057500
HIGH ISLAND A‐365 #A021       HIA365A210          G02750      427114057600
HIGH ISLAND A‐365 #A024       HIA365A240          G02750      427114066300
HIGH ISLAND A‐365 #A025       HIA365A250          G02750      427114066500
HIGH ISLAND A‐376 #A002 ST1   HIA376A021          G02754      427114052601
HIGH ISLAND A‐376 #A003       HIA376A030          G02754      427114052700
HIGH ISLAND A‐376 #A005       HIA376A050          G02754      427114053500
HIGH ISLAND A‐376 #A009       HIA376A090          G02754      427114054400
HIGH ISLAND A‐376 #A011       HIA376A110          G02754      427114055000
HIGH ISLAND A‐376 #A014 ST2   HIA376A142          G02754      427114056002
HIGH ISLAND A‐376 #A015       HIA376A150          G02754      427114056200
HIGH ISLAND A‐376 #A017       HIA376A170          G02754      427114057200
HIGH ISLAND A‐376 #A018       HIA376A180          G02754      427114057300
HIGH ISLAND A‐376 #A019       HIA376A190          G02754      427114057400
HIGH ISLAND A‐376 #A022       HIA376A220          G02754      427114057700
HIGH ISLAND A‐376 #B001       HIA376B010          G02754      427114068700
HIGH ISLAND A‐376 #B002       HIA376B020          G02754      427114068900
HIGH ISLAND A‐376 #B003       HIA376B031          G02754      427114078701
HIGH ISLAND A‐376 #B004       HIA376B041          G02754      427114079001
HIGH ISLAND A‐376 #B005       HIA376B050          G02754      427114079600
HIGH ISLAND A‐376 #C001       HIA376C010          G02754      427114088900
HIGH ISLAND A‐376 #C002       HIA376C020          G02754      427114089600
HIGH ISLAND A‐376 #C003       HIA376C030          G02754      427114089500
HIGH ISLAND A‐376 #C004       HIA376C040          G02754      427114089400
HIGH ISLAND A‐382 #A009       HIA382A090          G02757      427094018600
HIGH ISLAND A‐382 #B013       HIA382B130          G02757      427094025500
HIGH ISLAND A‐382 #F001 ST1   HIA382F011          G02757      427114059401
HIGH ISLAND A‐382 #F002       HIA382F020          G02757      427114059800
HIGH ISLAND A‐382 #F003       HIA382F031          G02757      427114059901
HIGH ISLAND A‐382 #F004       HIA382F040          G02757      427114060600
HIGH ISLAND A‐382 #F005       HIA382F050          G02757      427114060900
HIGH ISLAND A‐382 #F006       HIA382F061          G02757      427114061001
HIGH ISLAND A‐382 #F008       HIA382F080          G02757      427114061700
HIGH ISLAND A‐382 #F010 ST5   HIA382F105          G02757      427114062605
HIGH ISLAND A‐382 #F011       HIA382F110          G02757      427114063100
HIGH ISLAND A‐382 #F012       HIA382F121          G02757      427114063601
HIGH ISLAND A‐382 #F013       HIA382F130          G02757      427114063800
HIGH ISLAND A‐382 #F014       HIA382F140          G02757      427114063900
HIGH ISLAND A‐382 #F015       HIA382F151          G02757      427114064701
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Asset Name                       FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐382 #F017          HIA382F171          G02757      427114066701
HIGH ISLAND A‐382 #F019          HIA382F190          G02757      427114067100
HIGH ISLAND A‐382 #F020          HIA382F200          G02757      427114067500
HIGH ISLAND A‐382 #F021          HIA382F211          G02757      427114067801
HIGH ISLAND A‐442 #A001 (ORRI)   HIA442A010          G11383      427094096101
HIGH ISLAND A‐442 #A003 (ORRI)   HIA442A03           G11383      427094098101
HIGH ISLAND A‐442 #A004 (ORRI)   HIA442A040          G11383      427094099000
HIGH ISLAND A‐442 #B001 (ORRI)   HIA442B01           G11383      427094108900
HIGH ISLAND A‐474 #A001          HIA474A010          G02366      427094017100
HIGH ISLAND A‐474 #A002          HIA474A020          G02366      427094017200
HIGH ISLAND A‐474 #A003          HIA474A030          G02366      427094019900
HIGH ISLAND A‐474 #A004          HIA474A040          G02366      427094022800
HIGH ISLAND A‐474 #A005          HIA474A050          G02366      427094023500
HIGH ISLAND A‐474 #A006          HIA474A060          G02366      427094024300
HIGH ISLAND A‐474 #A007          HIA474A070          G02366      427094027702
HIGH ISLAND A‐474 #A008          HIA474A080          G02366      427094026100
HIGH ISLAND A‐474 #A010          HIA474A100          G02366      427094029400
HIGH ISLAND A‐474 #A011          HIA474A110          G02366      427094030000
HIGH ISLAND A‐474 #A012          HIA474A120          G02366      427094030801
HIGH ISLAND A‐474 #A013          HIA474A130          G02366      427094036104
HIGH ISLAND A‐474 #A014          HIA474A140          G02366      427094035000
HIGH ISLAND A‐474 #A017          HIA474A170          G02366      427094032500
HIGH ISLAND A‐474 #A020          HIA474A200          G02366      427094038500
HIGH ISLAND A‐474 #A021          HIA474A210          G02366      427094040700
HIGH ISLAND A‐474 #B023          HIA474B230          G02366      427094037200
HIGH ISLAND A‐475 #A016          HIA475A16           G02367      427094035500
HIGH ISLAND A‐475 #A018          HIA475A18           G02367      427094033100
HIGH ISLAND A‐489 #A009          HIA489A090          G02372      427094028500
HIGH ISLAND A‐489 #A015          HIA489A150          G02372      427094037000
HIGH ISLAND A‐489 #B002          HIA489B020          G02372      427094021000
HIGH ISLAND A‐489 #B003          HIA489B030          G02372      427094020901
HIGH ISLAND A‐489 #B005 ST       HIA489B050          G02372      427094024601
HIGH ISLAND A‐489 #B007          HIA489B070          G02372      427094027601
HIGH ISLAND A‐489 #B009          HIA489B090          G02372      427094026500
HIGH ISLAND A‐489 #B010          HIA489B100          G02372      427094028800
HIGH ISLAND A‐489 #B012          HIA489B120          G02372      427094031400
HIGH ISLAND A‐489 #B013          HIA489B130          G02372      427094028600
HIGH ISLAND A‐489 #B014          HIA489B140          G02372      427094029700
HIGH ISLAND A‐489 #B015          HIA489B150          G02372      427094030400
HIGH ISLAND A‐489 #B016          HIA489B160          G02372      427094029800
HIGH ISLAND A‐489 #B017          HIA489B170          G02372      427094023802
HIGH ISLAND A‐489 #B020          HIA489B200          G02372      427094028101
HIGH ISLAND A‐489 #B021          HIA489B210          G02372      427094026202
HIGH ISLAND A‐489 #B022          HIA489B220          G02372      427094036000
HIGH ISLAND A‐489 #B024          HIA489B240          G02372      427094035400
HIGH ISLAND A‐489 #B025          HIA489B250          G02372      427094041400
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Asset Name                    FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐489 #B026       HIA489B260          G02372      427094043100
HIGH ISLAND A‐489 #B027       HIA489B270          G02372      427094042501
HIGH ISLAND A‐489 #B028       HIA489B280          G02372      427094054500
HIGH ISLAND A‐489 #B029       HIA489B290          G02372      427094111100
HIGH ISLAND A‐545 #JA001      HIA545JA01          G17199      427094104000
HIGH ISLAND A‐545 #JA002      HIA545JA02          G17199      427094112401
HIGH ISLAND A‐545 #JA003      HIA545JA03          G17199      427094113700
HIGH ISLAND A‐572 #A003 ST1   HIA572A031          G02392      427094012901
HIGH ISLAND A‐572(573)A014    HIA572A140          G02392      427094034100
HIGH ISLAND A‐573 #006        HIA5730060          G02393      427094053700
HIGH ISLAND A‐573 #A001 ST2   HIA573A012          G02393      427094007102
HIGH ISLAND A‐573 #A002 ST3   HIA573A023          G02393      427094013803
HIGH ISLAND A‐573 #A004       HIA573A040          G02393      427094015000
HIGH ISLAND A‐573 #A005 ST1   HIA573A051          G02393      427094015501
HIGH ISLAND A‐573 #A008       HIA573A080          G02393      427094018000
HIGH ISLAND A‐573 #A010       HIA573A100          G02393      427094020500
HIGH ISLAND A‐573 #A015       HIA573A150          G02393      427094034200
HIGH ISLAND A‐573 #A016       HIA573A160          G02393      427094034300
HIGH ISLAND A‐573 #A017       HIA573A170          G02393      427094036500
HIGH ISLAND A‐573 #A019 ST1   HIA573A191          G02393      427094038001
HIGH ISLAND A‐573 #B001       HIA573B010          G02393      427094012800
HIGH ISLAND A‐573 #B002       HIA573B020          G02393      427094014100
HIGH ISLAND A‐573 #B005       HIA573B050          G02393      427094016400
HIGH ISLAND A‐573 #B006       HIA573B060          G02393      427094017000
HIGH ISLAND A‐573 #B008       HIA573B080          G02393      427094017900
HIGH ISLAND A‐573 #B010       HIA573B100          G02393      427094021100
HIGH ISLAND A‐573 #B012       HIA573B120          G02393      427094022700
HIGH ISLAND A‐573 #E007       HIA573E070          G02393      427094098200
HIGH ISLAND A‐573 #E012       HIA573E120          G02393      427094115000
HIGH ISLAND A‐573 #F007       HIA573F070          G02393      427114061200
HIGH ISLAND A‐573 #F009       HIA573F090          G02393      427114062000
HIGH ISLAND A‐573 #F016 ST5   HIA573F165          G02393      427114066805
HIGH ISLAND A‐573 #F018 ST1   HIA573F181          G02393      427114067301
HIGH ISLAND A‐573 #F022       HIA573F220          G02393      427114068400
HIGH ISLAND A‐573 #F023 ST2   HIA573F232          G02393      427114069302
HIGH ISLAND A‐581 #D004       HIA581D040          G18959      427094112200
HIGH ISLAND A‐582 #C001       HIA582C010          G02719      427094061500
HIGH ISLAND A‐582 #C002       HIA582C020          G02719      427094061900
HIGH ISLAND A‐582 #C003       HIA582C030          G02719      427094058000
HIGH ISLAND A‐582 #C006       HIA582C060          G02719      427094063400
HIGH ISLAND A‐582 #C007       HIA582C070          G02719      427094063900
HIGH ISLAND A‐582 #C010       HIA582C100          G02719      427094070200
HIGH ISLAND A‐582 #C011       HIA582C110          G02719      427094071400
HIGH ISLAND A‐582 #C012       HIA582C120          G02719      427094074900
HIGH ISLAND A‐582 #C013       HIA582C130          G02719      427094072700
HIGH ISLAND A‐582 #C014       HIA582C140          G02719      427094073800
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Asset Name                    FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐582 #C015       HIA582C150          G02719      427094075800
HIGH ISLAND A‐582 #C019       HIA582C190          G02719      427094108200
HIGH ISLAND A‐582 #D002 ST1   HIA582D021          G02719      427094110801
HIGH ISLAND A‐582 #D003 ST    HIA582D031          G02719      427094111401
HIGH ISLAND A‐582 #D005       HIA582D050          G02719      427094114300
HIGH ISLAND A‐582 #D006       HIA582D060          G02719      427094114700
HIGH ISLAND A‐595 #D001 ST2   HIA595D1D2          G02721      427094055302
HIGH ISLAND A‐595 #D003       HIA595D03           G02721      427094058500
HIGH ISLAND A‐595 #D005       HIA595D050          G02721      427094092900
HIGH ISLAND A‐595 #D006       HIA595D063          G02721      427094063205
HIGH ISLAND A‐595 #D010       HIA595D100          G02721      427094070500
HIGH ISLAND A‐595 #D012       HIA595D120          G02721      427094077000
HIGH ISLAND A‐595 #D017 ST2   HIA595D172          G02721      427094083702
HIGH ISLAND A‐595 #D018       HIA595D181          G02721      427094093501
HIGH ISLAND A‐595 #E011       HIA595E110          G02721      427094114501
HIGH ISLAND A‐596 #B014       HIA596B140          G02722      427094025800
HIGH ISLAND A‐596 #D002       HIA596D020          G02722      427094056901
HIGH ISLAND A‐596 #D004       HIA596D040          G02722      427094060500
HIGH ISLAND A‐596 #D007 ST4   HIA596D074          G02722      427094064304
HIGH ISLAND A‐596 #D008 ST1   HIA596D081          G02722      427094067001
HIGH ISLAND A‐596 #D009       HIA596D090          G02722      427094068400
HIGH ISLAND A‐596 #D011       HIA596D110          G02722      427094075700
HIGH ISLAND A‐596 #D013 ST2   HIA596D132          G02722      427094079502
HIGH ISLAND A‐596 #D014       HIA596D140          G02722      427094080100
HIGH ISLAND A‐596 #D016       HIA596D160          G02722      427094082400
HIGH ISLAND A‐596 #E005       HIA596E050          G02722      427094085900
HIGH ISLAND A‐596 #E008       HIA596E080          G02722      427094112801
HIGH ISLAND A‐596 #E009       HIA596E090          G02722      427094114200
MAIN PASS 077 #A001           MP077A0100          G04481      177254033800
MAIN PASS 077 #A002           MP077A0201          G04481      177254043101
MAIN PASS 077 #A003           MP077A0300          G04481      177254036100
MAIN PASS 077 #A004           MP077A0400          G04481      177254036900
MAIN PASS 077 #A005           MP077A0500          G04481      177254038000
MAIN PASS 077 #A006 ST2       MP077A0602          G04481      177254036402
MAIN PASS 077 #A010           MP077A1000          G04481      177254039600
MAIN PASS 077 #A011           MP077A1100          G04481      177254042400
MAIN PASS 077 #A012           MP077A1200          G04481      177254039700
MAIN PASS 077 #A013           MP077A1300          G04481      177254044900
MAIN PASS 077 #A014           MP077A1400          G04481      177254044500
MAIN PASS 077 #A015           MP077A1501          G04481      177254045101
MAIN PASS 077 #A016           MP077A1600          G04481      177254045900
MAIN PASS 077 #A017           MP077A1700          G04481      177254046200
MAIN PASS 077 #A018           MP077A1800          G04481      177254046800
MAIN PASS 077 #A019           MP077A1900          G04481      177254048200
MAIN PASS 077 #A020           MP077A2001          G04481      177254048501
MAIN PASS 077 #A021 ST        MP077A2100          G04481      177254067002
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 077 #A022         MP077A2201          G04481      177254067401
MAIN PASS 077 #A023         MP077A23            G04481      177254067601
MAIN PASS 077 #A07          MP077A0700          G04481      177254041000
MAIN PASS 077 #A08          MP077A0800          G04481      177254038200
MAIN PASS 077 #A09          MP077A0900          G04481      177254039000
MAIN PASS 091 #A001         MP091A0100          G14576      177254060600
MAIN PASS 091 #A002         MP091A0200          G14576      177254062200
MAIN PASS 091 #A003         MP091A0300          G14576      177254065000
MAIN PASS 140 #A001         MP140A0100          G02193      177254006400
MAIN PASS 140 #A002         MP140A0200          G02193      177254007700
MAIN PASS 140 #A003         MP140A0300          G02193      177254007800
MAIN PASS 140 #A004         MP140A0400          G02193      177254008200
MAIN PASS 140 #A005 ST1     MP140A0501          G02193      177254008301
MAIN PASS 140 #A008 ST2     MP140A0802          G02193      177254009202
MAIN PASS 140 #A009         MP140A0900          G02193      177254009400
MAIN PASS 140 #A010 ST2     MP140A1002          G02193      177254009502
MAIN PASS 140 #A011         MP140A1100          G02193      177254010000
MAIN PASS 140 #A012 ST2     MP140A1202          G02193      177254010102
MAIN PASS 140 #A013 ST1     MP140A1301          G02193      177254010401
MAIN PASS 140 #A014         MP140A1400          G02193      177254010500
MAIN PASS 140 #A015         MP140A1500          G02193      177254010600
MAIN PASS 140 #A016 ST3     MP140A1603          G02193      177254008603
MAIN PASS 140 #A017         MP140A1700          G02193      177254011000
MAIN PASS 140 #A018 ST3     MP140A1803          G02193      177254008803
MAIN PASS 140 #A020         MP140A2000          G02193      177254065700
MAIN PASS 140 #A021         MP140A2100          G02193      177254065500
MAIN PASS 140 #B001         MP140B0100          G02193      177254006600
MAIN PASS 140 #B003 ST1     MP140B0301          G02193      177254008001
MAIN PASS 140 #B004 ST3     MP140B0403          G02193      177254008103
MAIN PASS 140 #B007 ST1     MP140B0701          G02193      177254009001
MAIN PASS 140 #B008 ST2     MP140B0802          G02193      177254009102
MAIN PASS 140 #B011 ST1     MP140B1101          G02193      177254009801
MAIN PASS 140 #B012 ST2     MP140B1202          G02193      177254008902
MAIN PASS 140 #B013         MP140B1300          G02193      177254010200
MAIN PASS 140 #B014 ST      MP140B1401          G02193      177254010301
MAIN PASS 140 #B015 ST2     MP140B1502          G02193      177254010702
MAIN PASS 140 #B017         MP140B1701          G02193      177254010901
MAIN PASS 140 #B018         MP140B1800          G02193      177254062600
MAIN PASS 140 #B019         MP140B1900          G02193      177254063000
MAIN PASS 140 #B020         MP140B2000          G02193      177254063100
MAIN PASS 140 #B021 ST      MP140B2101          G02193      177254073301
MAIN PASS 140 #B022         MP140B2200          G02193      177254077300
MAIN PASS 140 #B023         MP140B2300          G02193      177254077500
MAIN PASS 152 #A015         MP152A1500          G01966      177232005300
MAIN PASS 152 #A020B        MP152A20B0          G01966      177232006200
MAIN PASS 152 #B004A        MP152B04A0          G01966      177254000900
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 152 #B012         MP152B1200          G01966      177254002700
MAIN PASS 152 #B015         MP152B1500          G01966      177254002300
MAIN PASS 152 #B020 ST      MP152B2002          G01966      177254002802
MAIN PASS 152 #B022A        MP152B22A0          G01966      177254003500
MAIN PASS 152 #B030         MP152B3000          G01966      177254004500
MAIN PASS 152 #B031A        MP152B31A0          G01966      177254004700
MAIN PASS 152 #C002         MP152C0200          G01966      177254040800
MAIN PASS 152 #C005         MP152C0500          G01966      177254042000
MAIN PASS 152 #C006         MP152C0600          G01966      177254042100
MAIN PASS 152 #C008         MP152C0800          G01966      177254042500
MAIN PASS 152 #C011         MP152C1100          G01966      177254043200
MAIN PASS 152 #C031         MP152C3100          G01966      177254048100
MAIN PASS 152 #C032         MP152C3200          G01966      177254049000
MAIN PASS 153 #A017B        MP153A17B0          G01967      177232005400
MAIN PASS 153 #B001         MP153B0100          G01967      177252010300
MAIN PASS 153 #B003A        MP153B03A0          G01967      177254000302
MAIN PASS 153 #B010 ST2     MP153B1002          G01967      177254001803
MAIN PASS 153 #B017         MP153B1700          G01967      177254002500
MAIN PASS 153 #B018         MP153B1800          G01967      177254002900
MAIN PASS 153 #B025         MP153B2500          G01967      177254004000
MAIN PASS 153 #B027         MP153B2700          G01967      177254004200
MAIN PASS 153 #C009         MP153C0900          G01967      177254042701
MAIN PASS 153 #C012         MP153C1200          G01967      177254043300
MAIN PASS 153 #C013 ST      MP153C1301          G01967      177254043501
MAIN PASS 153 #C014         MP153C1400          G01967      177254043902
MAIN PASS 153 #C017         MP153C1700          G01967      177254044200
MAIN PASS 153 #C018         MP153C1800          G01967      177254044300
MAIN PASS 153 #C020         MP153C2000          G01967      177254045400
MAIN PASS 153 #C021         MP153C2100          G01967      177254045500
MAIN PASS 153 #C024         MP153C2400          G01967      177254046100
MAIN PASS 153 #C026         MP153C2600          G01967      177254046900
MAIN PASS 153 #C027         MP153C2700          G01967      177254047400
MAIN PASS 153 #C028         MP153C2800          G01967      177254048400
MAIN PASS 153 #C029         MP153C2901          G01967      177254047501
MAIN PASS 153 #C030         MP153C3002          G01967      177254047802
MAIN PASS 259 #001          MP25900101          G07827      177244048801
MAIN PASS 259 #002          MP25900200          G07827      177244050000
MAIN PASS 259 #003          MP25900300          G07827      608164015800
MAIN PASS 259 #004          MP25900400          G07827      177244050500
MAIN PASS 259 #005          MP25900500          G07827      608164016400
MAIN PASS 259 #A001         MP259A0100          G07827      177244069700
MAIN PASS 259 #A002         MP259A0200          G07827      177244070200
MAIN PASS 259 #A003         MP259A0300          G07827      177244070800
MAIN PASS 259 #A004         MP259A0400          G07827      177244071000
MAIN PASS 259 #A005         MP259A0500          G07827      177244071300
MAIN PASS 259 #A006         MP259A0600          G07827      177244071600
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 259 #A007         MP259A0700          G07827      177244071800
MAIN PASS 259 #A008 ST1     MP259A0801          G07827      177244072401
MAIN PASS 259 #A010 ST1     MP259A1001          G07827      177244074601
MAIN PASS 259 #A011 ST1     MP259A1101          G07827      177244074901
MAIN PASS 259 #A012 ST1     MP259A1201          G07828      177244076801
MAIN PASS 275 #A001 ST1     MP275A0101          G15395      177244085701
MAIN PASS 275 #A002 ST1     MP275A0201          G15395      177244086101
MAIN PASS 275 #A003         MP275A0300          G15395      177244093300
MAIN PASS 289 #013          MP28901300          G01666      177244004700
MAIN PASS 289 #B001         MP289B0100          G01666      177240007800
MAIN PASS 289 #B005         MP289B0501          G01666      177240011701
MAIN PASS 289 #B014A        MP289B1400          G01666      177242000100
MAIN PASS 289 #B015         MP289B1500          G01666      177240014800
MAIN PASS 289 #B016 WIW     MP289B1600          G01666      177242003100
MAIN PASS 289 #B018 WIW     MP289B1800          G01666      177242003200
MAIN PASS 289 #C001         MP289C0100          G01666      177244048100
MAIN PASS 289 #C002         MP289C0200          G01666      177244047600
MAIN PASS 289 #C003A        MP289C0300          G01666      177244047800
MAIN PASS 289 #C004A        MP289C0402          G01666      177244047902
MAIN PASS 289 #C005         MP289C0500          G01666      177244048000
MAIN PASS 289 #C007         MP289C0700          G01666      177244048400
MAIN PASS 289 #C008         MP289C0800          G01666      177244048500
MAIN PASS 289 #C009         MP289C0901          G01666      177244048301
MAIN PASS 289 #C010         MP289C1000          G01666      177244048200
MAIN PASS 289 #C011         MP289C1100          G01666      177244048700
MAIN PASS 289 #C012         MP289C1203          G01666      177244049203
MAIN PASS 289 #C013 WSW     MP289C1300          G01666      177244052400
MAIN PASS 289 #C014         MP289C1400          G01666      177244049900
MAIN PASS 289 #C015         MP289C1500          G01666      177244048900
MAIN PASS 289 #C017         MP289C1700          G01666      177244053900
MAIN PASS 289 #C019         MP289C1900          G01666      177244049400
MAIN PASS 289 #C020         MP289C2000          G01666      177244050100
MAIN PASS 289 #C021         MP289C2100          G01666      177244049100
MAIN PASS 289 #C022 WIW     MP289C2200          G01666      177244049300
MAIN PASS 289 #C023         MP289C2301          G01666      177244053801
MAIN PASS 289 #C024         MP289C2401          G01666      177244051901
MAIN PASS 289 #C025 WIW     MP289C2500          G01666      177244051400
MAIN PASS 289 #C026         MP289C2600          G01666      177244052700
MAIN PASS 289 #C027         MP289C2700          G01666      177244053100
MAIN PASS 289 #C028         MP289C2801          G01666      177244051501
MAIN PASS 289 #C029D        MP289C29D1          G01666      177244051801
MAIN PASS 289 #C030         MP289C3000          G01666      177244053300
MAIN PASS 289 #C031         MP289C3100          G01666      177244090200
MAIN PASS 289 #C032         MP289C3200          G01666      177244090300
MAIN PASS 290 #C006         MP290C0600          G01667      177244050400
MAIN PASS 290 #C016         MP290C1600          G01667      177244051000
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Asset Name                     FWE Acct. Code   Lease Number        API
MAIN PASS 290 #C018 ST2        MP290C1802          G01667      177244051302
MAIN PASS 295 #001             MP29500100          G32263      177244097001
MAIN PASS 295 #003             MP29500300          G32263      177244097500
MAIN PASS 296 #B001            MP296B0100          G01673      177244022300
MAIN PASS 296 #B003            MP296B0300          G01673      177244022700
MAIN PASS 296 #B004            MP296B0400          G01673      177244022900
MAIN PASS 296 #B008            MP296B0800          G01673      177244023600
MAIN PASS 296 #B013 ST         MP296B1301          G01673      177244024501
MAIN PASS 296 #B014 ST1        MP296B1401          G01673      177244024401
MAIN PASS 296 #B018            MP296B1800          G01673      177244025300
MAIN PASS 296 #B019 ST2        MP296B1902          G01673      177244027302
MAIN PASS 296 #C001            MP296C0100          G01673      177244016100
MAIN PASS 296 #C002            MP296C0200          G01673      177244021100
MAIN PASS 296 #C004 ST3        MP296C0403          G01673      177244021403
MAIN PASS 296 #C005            MP296C0500          G01673      177244021700
MAIN PASS 296 #C006            MP296C0603          G01673      177244021503
MAIN PASS 296 #C007A           MP296C07A0          G01673      177244021600
MAIN PASS 296 #C013            MP296C1301          G01673      177244022401
MAIN PASS 296 #C014            MP296C1402          G01673      177244030702
MAIN PASS 296 #C015            MP296C1500          G01673      177244031300
MAIN PASS 296 #C018 ST         MP296C1801          G01673      177244089101
MAIN PASS 296 #C019            MP296C1900          G01673      177244089400
MAIN PASS 300 #B002            MP300B0200          G01317      177244067200
MAIN PASS 301 #A002            MP301A0200          G04486      177244034600
MAIN PASS 301 #A003            MP301A0300          G04486      177244035101
MAIN PASS 301 #A004            MP301A0400          G04486      177244039501
MAIN PASS 301 #B001            MP301B0100          G04486      177244063000
MAIN PASS 302 #B004            MP302B0400          G32264      177244018801
MAIN PASS 302 #B019            MP302B1900          G32264      177244097401
MAIN PASS 303 #A005D (MP310)   MP303A05D1          G04253      177244030600
MAIN PASS 303 #A017            MP303A1700          G04253      177244094700
MAIN PASS 303 #B005            MP303B0500          G04253      177244023000
MAIN PASS 303 #B007            MP303B0700          G04253      177244023400
MAIN PASS 303 #B009            MP303B0900          G04253      177244023800
MAIN PASS 303 #B015            MP303B1500          G04253      177244024800
MAIN PASS 304 #A007            MP304A0700          G03339      177244030800
MAIN PASS 304 #A009            MP304A0900          G03339      177244030500
MAIN PASS 304 #B012            MP304B1200          G03339      177244024300
MAIN PASS 308 #A001            MP308A0100          G32265      177244095600
MAIN PASS 308 #A002            MP308A0200          G32265      177244095700
MAIN PASS 308 #A003            MP308A0300          G32265      177244096500
MAIN PASS 308 #A004 ST         MP308A0401          G32265      177244096201
MAIN PASS 308 #A006            MP308A0600          G32265      177244095900
MAIN PASS 308 #A007            MP308A0700          G32265      177244096700
MAIN PASS 308 #A008            MP308A0801          G32265      177244096601
MAIN PASS 309 #A005            MP309A0500          G08760      177244096301
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Asset Name                  FWE Acct. Code   Lease Number        API
MAIN PASS 309 #A009         MP309A0900          G08760      177244096900
MAIN PASS 309 #JA001        MP309JA010          G08760      177244063500
MAIN PASS 309 #JA002        MP309JA200          G08760      177244064600
MAIN PASS 309 #JA006        MP309JA600          G08760      177244065100
MAIN PASS 309 #JA007        MP309JA700          G08760      177244065000
MAIN PASS 309 #JA008        MP309JA800          G08760      177244065200
MAIN PASS 309 #JA010        MP309JA100          G08760      177244072700
MAIN PASS 309 #JA05A        MP309JA5A0          G08760      177244064800
MAIN PASS 310 #A001         MP310A0100          G04126      177244028700
MAIN PASS 310 #A002 ST2     MP310A0202          G04126      177244029502
MAIN PASS 310 #A003         MP310A0301          G04126      177244029401
MAIN PASS 310 #A004         MP310A0400          G04126      177244030000
MAIN PASS 310 #A006         MP310A0603          G04126      177244030103
MAIN PASS 310 #A008A        MP310A0800          G04126      177244029700
MAIN PASS 310 #A010         MP310A1000          G04126      177244029800
MAIN PASS 310 #A011 ST      MP310A1102          G04126      177244041702
MAIN PASS 310 #A012         MP310A1200          G04126      177244041900
MAIN PASS 310 #A013         MP310A1300          G04126      177244042400
MAIN PASS 310 #A014         MP310A1401          G04126      177244042601
MAIN PASS 310 #A015         MP310A1500          G04126      177244042500
MAIN PASS 310 #A016 ST      MP310A1601          G04126      177244043301
MAIN PASS 310 #JA009        MP310JA902          G04126      177244065602
MAIN PASS 311 #A001         MP311A0100          G02213      177244013600
MAIN PASS 311 #A002         MP311A0200          G02213      177244013900
MAIN PASS 311 #A003         MP311A0300          G02213      177244014100
MAIN PASS 311 #A005         MP311A0500          G02213      177244014500
MAIN PASS 311 #A006         MP311A0600          G02213      177244014800
MAIN PASS 311 #A007         MP311A0700          G02213      177244014900
MAIN PASS 311 #A008         MP311A0800          G02213      177244015200
MAIN PASS 311 #A009         MP311A0900          G02213      177244015300
MAIN PASS 311 #A010         MP311A1000          G02213      177244015500
MAIN PASS 311 #A011A        MP311A1100          G02213      177244016400
MAIN PASS 311 #A012         MP311A1200          G02213      177244016300
MAIN PASS 311 #A013         MP311A1301          G02213      177244017202
MAIN PASS 311 #A014         MP311A1400          G02213      177244017800
MAIN PASS 311 #A015         MP311A1500          G02213      177244017600
MAIN PASS 311 #A016         MP311A1600          G02213      177244018000
MAIN PASS 311 #A017         MP311A1700          G02213      177244017900
MAIN PASS 311 #A020 ST      MP311A2001          G02213      177244089301
MAIN PASS 311 #A024         MP311A2400          G02213      177244096400
MAIN PASS 311 #B001         MP311B0100          G02213      177244015900
MAIN PASS 311 #B002D        MP311B02D0          G02213      177244018300
MAIN PASS 311 #B006         MP311B0600          G02213      177244019200
MAIN PASS 311 #B007         MP311B0700          G02213      177244019300
MAIN PASS 311 #B008         MP311B0801          G02213      177244019001
MAIN PASS 311 #B009         MP311B0900          G02213      177244019400
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Asset Name                       FWE Acct. Code   Lease Number        API
MAIN PASS 311 #B010              MP311B1000          G02213      177244019500
MAIN PASS 311 #B012              MP311B1200          G02213      177244020001
MAIN PASS 311 #B013D             MP311B13D0          G02213      177244035600
MAIN PASS 311 #B014              MP311B1401          G02213      177244036201
MAIN PASS 311 #B015              MP311B1500          G02213      177244036700
MAIN PASS 311 #B017              MP311B1700          G02213      177244036400
MAIN PASS 311 #B018 ST           MP311B1801          G02213      177244089201
MAIN PASS 312 #A021              MP312A2100          G16520      177244093200
MAIN PASS 312 #A022              MP312A2200          G16520      177244093400
MAIN PASS 314 #A023 (MP311A)     MP314A2300          G33693      177244096100
MAIN PASS 315 #JA003 ST          MP315JA302          G08467      177244064502
MAIN PASS 315 #JA004             MP315JA400          G08467      177244064700
MAIN PASS 315 #SS002             MP31500200          G08467      177244095500
MATAGORDA IS 519 #L001           MI519L1SL0        MF-79413      427033030000
MATAGORDA IS 519 #L002           MI519L2SL0        MF-79413      427033034000
MATAGORDA IS 519 #L003           MI519L3SL0        MF-79413      427033039500
MATAGORDA IS 519 #L004           MI519L4SL0        MF-79413      427033039700
MATAGORDA IS 622 #C001           MI622C01           G05000       427034013800
MATAGORDA IS 622 #C002 ST1       MI622C0201         G05000       427034018901
MATAGORDA IS 622 #C008           MI622C0800         G05000       427034052700
MATAGORDA IS 622 #D001           MI622D0100         G05000       427034048400
MATAGORDA IS 622 #D003           MI622D0300         G05000       427034053000
MATAGORDA IS 622 #D004           MI622D0400         G05000       427034054700
MATAGORDA IS 622 #G002           MI622G0200         G05000       427034053700
MATAGORDA IS 623 #B001           MI623B0100         G03088       427034010600
MATAGORDA IS 623 #B003 ST1       MI623B0301         G03088       427034014401
MATAGORDA IS 623 #B006           MI623B0600         G03088       427034018400
MATAGORDA IS 623 #B008           MI623B0800         G03088       427034051300
MATAGORDA IS 623 #C007           MI623C0700         G03088       427034052400
MATAGORDA IS 623 #F002           MI623F0200         G03088       427034051100
MATAGORDA IS 623 #F003           MI623F0300         G03088       427034053800
MATAGORDA IS 623 #H001 (#6)      MI623H0100         G03088       427034058100
MATAGORDA IS 623 #H002 (#7)      MI623H0200         G03088       427034058200
MATAGORDA IS 623(622) #C004      MI623C0400         G05000       427034021400
MATAGORDA IS 635 #F001           MI635F0100         G06043       427034048800
MISSISSIPPI CANYON 065 #B004     MC065B0400         G21742       608174106300
MISSISSIPPI CANYON 065 #B015     MC065B1500         G21742       608174111500
MISSISSIPPI CANYON 108 #A027     MC108A2703         G09777       608174045703
MISSISSIPPI CANYON 108 #A032     MC108A3203         G09777       608174088503
MISSISSIPPI CANYON 110 #001      MC1100100          G18192       608174060500
MISSISSIPPI CANYON 110 #A009     MC110A0900         G18192       608174042501
MISSISSIPPI CANYON 110 #A011ST   MC110A1101         G18192       608174042801
MISSISSIPPI CANYON 110 #A031     MC110A3100         G18192       608174087900
MISSISSIPPI CANYON 311 #A001ST   MC311A0102         G02968       608174006502
MISSISSIPPI CANYON 311 #A005     MC311A0500         G02968       608174011700
MISSISSIPPI CANYON 311 #A006ST   MC311A0601         G02968       608174010901
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Asset Name                       FWE Acct. Code   Lease Number        API
MISSISSIPPI CANYON 311 #A011ST   MC311A1101          G02968      608174014201
MISSISSIPPI CANYON 311 #A012     MC311A1200          G02968      608174015000
MISSISSIPPI CANYON 311 #A013     MC311A1300          G02968      608174015600
MISSISSIPPI CANYON 311 #A014     MC311A1400          G02968      608174016200
MISSISSIPPI CANYON 311 #A015ST   MC311A1501          G02968      608174017801
MISSISSIPPI CANYON 311 #A016     MC311A1600          G02968      608174016300
MISSISSIPPI CANYON 311 #A020ST   MC311A2001          G02968      608174033901
MISSISSIPPI CANYON 311 #A022ST   MC311A2201          G02968      608174034801
MISSISSIPPI CANYON 311 #A024ST   MC311A2401          G02968      608174035301
MOBILE 826 #001                  MO826D0100          G26176      608154014900
NORTH PADRE IS 969 #A001         PN969A0100          G05953      427134003400
NORTH PADRE IS 969 #A004         PN969A0400          G05953      427134005600
NORTH PADRE IS 969 #A006         PN969A0600          G05953      427134005700
NORTH PADRE IS 969 #A007         PN969A0700          G05953      427134005800
NORTH PADRE IS 969 #JA002        PN969JA020          G05953      427014003000
NORTH PADRE IS 976 #A002         PN976A0200          G05954      427134005000
NORTH PADRE IS 976 #A003         PN976A03            G05954      427134005101
NORTH PADRE IS 976 #A005         PN976A0500          G05954      427134005500
NORTH PADRE IS 976 #A008         PN976A0800          G05954      427134005900
NORTH PADRE IS 976 #A009         PN976A0900          G05954      427134006000
SHIP SHOAL 030 #011              SS03001100           00333      177114093000
SHIP SHOAL 030 #013              SS03001300           00333      177114109400
SHIP SHOAL 030 #014D             SS030014D0           00333      177114111900
SHIP SHOAL 030 #A001             SS030A0100           00333      177114113000
SHIP SHOAL 032 #024              SS03202401           00335      177114131701
SHIP SHOAL 033 #005              SS03300500           00336      177114030900
SHIP SHOAL 068 #002 ST1          SS06800201          G02917      177114096701
SHIP SHOAL 068 #003              SS06800301          G02925      177114101301
SHIP SHOAL 068 #004              SS06800402          G02917      177114101802
SHIP SHOAL 068 #005 ST1          SS06800501          G02917      177114101401
SHIP SHOAL 068 #009              SS06800900          G02917      177114126000
SHIP SHOAL 068 #010              SS06801000          G02917      177114135200
SHIP SHOAL 068 #G001 (ORR)       SS068G0100          G02917      177114119400
SHIP SHOAL 068 #G002             SS068G0200          G02917      177114121200
SHIP SHOAL 091 #A001             SS091A0100          G02919      177114044300
SHIP SHOAL 091 #A003             SS091A0300          G02919      177114056800
SHIP SHOAL 091 #A004 ST1         SS091A0401          G02919      177114062501
SHIP SHOAL 091 #A005 ST1         SS091A0501          G02919      177114058201
SHIP SHOAL 091 #A006 ST2         SS091A0602          G02919      177114059202
SHIP SHOAL 091 #B001 ST1         SS091B0101          G02919      177114066401
SHIP SHOAL 091 #B002 ST1         SS091B0201          G02919      177114065701
SHIP SHOAL 091 #B003             SS091B0300          G02919      177114068400
SHIP SHOAL 091 #B004 ST1         SS091B0401          G02919      177114072101
SHIP SHOAL 091 #B005             SS091B0500          G02919      177114110800
SHIP SHOAL 105 #007              SS10500700          G09614      177114130800
SHIP SHOAL 105 #A001 ST1         SS105A0101          G09614      177114124501
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Asset Name                    FWE Acct. Code   Lease Number        API
SHIP SHOAL 105 #B004          SS105B0400          G09614      177114122400
SHIP SHOAL 105 #B006          SS105B0600          G09614      177114130201
SHIP SHOAL 126 #B001          SS126B0100          G12940      177114121000
SHIP SHOAL 126 #B002          SS126B0200          G12940      177114134203
SHIP SHOAL 126 #B003 ST1      SS126B0301          G12940      177114135401
SHIP SHOAL 129 #A002 ST1      SS129A0201          G12941      177114117201
SHIP SHOAL 129 #A003          SS129A0300          G12941      177114120100
SHIP SHOAL 129 #B001 ST1      SS129B0101          G12941      177114135301
SHIP SHOAL 129 #B002 ST1      SS129B0201          G12941      177114145501
SHIP SHOAL 129 #L001          SS129L0100          G12941      177114150000
SHIP SHOAL 129 #L002          SS129L0200          G12941      177114150300
SHIP SHOAL 145 #E001          SS145E01            G34831      177114140501
SHIP SHOAL 151 #A001 (ORRI)   SS151A0100          G15282      177114125702
SHIP SHOAL 151 #A002 (ORRI)   SS151A0200          G15282      177114154300
SHIP SHOAL 159 #001           SS15900100          G11984      177114143701
SHIP SHOAL 169 #BB001         SS169BB010           00820      177114048100
SHIP SHOAL 169 #BB002         SS169BB020           00820      177114055501
SHIP SHOAL 169 #BB003         SS169BB030           00820      177114057800
SHIP SHOAL 169 #BB004         SS169BB040           00820      177114056500
SHIP SHOAL 169 #BB005         SS169BB050           00820      177114059600
SHIP SHOAL 169 #BB006         SS169BB060           00820      177114060101
SHIP SHOAL 169 #C001          SS169C0100           00820      177114075600
SHIP SHOAL 169 #C003          SS169C0300           00820      177114078500
SHIP SHOAL 169 #C004          SS169C0400           00820      177114077400
SHIP SHOAL 169 #C006          SS169C0600           00820      177114080201
SHIP SHOAL 169 #C007          SS169C0700           00820      177114080601
SHIP SHOAL 169 #C008          SS169C0800           00820      177114081300
SHIP SHOAL 169 #C009          SS169C0900           00820      177114144400
SHIP SHOAL 169 #C010          SS169C1000           00820      177114144800
SHIP SHOAL 169 #G001          SS169G0100           00820      177114127400
SHIP SHOAL 169 #G002          SS169G0200           00820      177114128500
SHIP SHOAL 169 #G003          SS169G0300           00820      177114156600
SHIP SHOAL 175 #A004          SS175A0400          G05550      177094078900
SHIP SHOAL 176 #001           SS17600100          G33646      177114155400
SHIP SHOAL 178 #A001          SS178A0100          G05551      177114076800
SHIP SHOAL 178 #A002A         SS178A0200          G05551      177114080800
SHIP SHOAL 178 #A003          SS178A0302          G05551      177114081902
SHIP SHOAL 178 #A004          SS178A0400          G05551      177114082900
SHIP SHOAL 178 #A005          SS178A0500          G05551      177114082300
SHIP SHOAL 178 #A006          SS178A0600          G05551      177114113900
SHIP SHOAL 182 #A001          SS182A0100          G03998      177114059400
SHIP SHOAL 182 #A002 ST1      SS182A0201          G03998      177114060601
SHIP SHOAL 182 #A003          SS182A0300          G03998      177114063100
SHIP SHOAL 182 #A004          SS182A0400          G03998      177114065500
SHIP SHOAL 182 #B001          SS182B0101          G03998      177114066001
SHIP SHOAL 182 #B002          SS182B0201          G03998      177114074501
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Asset Name                    FWE Acct. Code   Lease Number        API
SHIP SHOAL 182 #B003 ST2      SS182B0402          G03998      177114090502
SHIP SHOAL 182 #B004          SS182B0400          G03998      177114090800
SHIP SHOAL 182 #B005          SS182B0500          G03998      177114113600
SHIP SHOAL 182 #B006          SS182B0600          G03998      177114130500
SHIP SHOAL 182 #C001D ST1     SS182C01D0          G03998      177114087501
SHIP SHOAL 182 #C002          SS182C0200          G03998      177114088500
SHIP SHOAL 182 #C003          SS182C0300          G03998      177114087800
SHIP SHOAL 182 #C004          SS182C0400          G03998      177114132000
SHIP SHOAL 189 #A001A         SS189A01A0          G04232      177114062000
SHIP SHOAL 189 #A002          SS189A0201          G04232      177114085301
SHIP SHOAL 189 #A003A         SS189A03A0          G04232      177114085200
SHIP SHOAL 189 #A005          SS189A0500          G04232      177114088400
SHIP SHOAL 189 #A007 ST2      SS189A0702          G04232      177114129502
SHIP SHOAL 189 #A008          SS189A0800          G04232      177114130900
SHIP SHOAL 189 #A009 ST1      SS189A0901          G04232      177114139801
SHIP SHOAL 189 #A010BP1       SS189A1001          G04232      177114154701
SHIP SHOAL 189 #A4 (SS210)    SS189A04            G05204      177114086801
SHIP SHOAL 189 #A6 (SS188)    SS189A06            G05203      177114088900
SHIP SHOAL 189 #B001 (ORRI)   SS189B0100          G04232      177114151001
SHIP SHOAL 189 #B002 (ORRI)   SS189B0200          G04232      177114152300
SHIP SHOAL 189 #C001          SS189C0101          G04232      177114153901
SHIP SHOAL 189 #D001          SS189D0100          G04232      177114154402
SHIP SHOAL 190 #B001 ST2      SS190B0103          G10775      177114114803
SHIP SHOAL 190 #B002          SS190B0200          G10775      177114134700
SHIP SHOAL 193 #A001 ST1      SS193A0101          G13917      177114112301
SHIP SHOAL 193 #A002 ST1      SS193A0201          G13917      177114112601
SHIP SHOAL 193 #A003          SS193A0300          G13917      177114115300
SHIP SHOAL 193 #A004 ST1      SS193A0401          G13917      177114116001
SHIP SHOAL 193 #A005 ST1      SS193A0501          G13917      177114117301
SHIP SHOAL 193 #A006 ST5      SS193A0605          G13917      177114123005
SHIP SHOAL 193 #A007 ST1      SS193A0701          G13917      177114139501
SHIP SHOAL 193 #M001          SS193M0100          G13917      177114148500
SHIP SHOAL 194 #A001          SS194A0100          G15288      177114121300
SHIP SHOAL 194 #A002 ST1      SS194A0201          G15288      177114121701
SHIP SHOAL 198 #J011          SS198J1100           00593      177114147800
SHIP SHOAL 204 #A008          SS204A0800          G01520      177110083000
SHIP SHOAL 204 #A015 ST1      SS204A1501          G01520      177112003401
SHIP SHOAL 204 #A016          SS204A1601          G01520      177112005401
SHIP SHOAL 204 #A020          SS204A2000          G01520      177112012600
SHIP SHOAL 204 #A024 ST1      SS204A2401          G01520      177112017701
SHIP SHOAL 204 #A028 ST3      SS204A2803          G01520      177110071003
SHIP SHOAL 204 #A030A         SS204A30A1          G01520      177114002801
SHIP SHOAL 204 #A031          SS204A3101          G01520      177110084201
SHIP SHOAL 204 #A034          SS204A3400          G01520      177114146700
SHIP SHOAL 204 #A035          SS204A3502          G01520      177114147402
SHIP SHOAL 204 #A036 ST1      SS204A3603          G01520      177114146803
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Asset Name                  FWE Acct. Code   Lease Number        API
SHIP SHOAL 206 #E002        SS206E0201          G01522      177114118101
SHIP SHOAL 206 #E003        SS206E0301          G01522      177114118201
SHIP SHOAL 206 #E004        SS206E0400          G01522      177114141800
SHIP SHOAL 206 #E005        SS206E0500          G01522      177114142000
SHIP SHOAL 207 #A003 ST1    SS207A0301          G01523      177110072801
SHIP SHOAL 207 #A004B       SS207A04B0          G01523      177110075500
SHIP SHOAL 207 #A006D       SS207A06D0          G01523      177110078200
SHIP SHOAL 207 #A008B       SS207A08B0          G01523      177110080700
SHIP SHOAL 207 #A009        SS207A0900          G01523      177110082400
SHIP SHOAL 207 #A010D       SS207A10D0          G01523      177110083900
SHIP SHOAL 207 #A013        SS207A1300          G01523      177112002500
SHIP SHOAL 207 #A015 ST1    SS207A1501          G01523      177112010601
SHIP SHOAL 207 #A016 ST1    SS207A1601          G01523      177112011401
SHIP SHOAL 207 #A018        SS207A1800          G01523      177112005000
SHIP SHOAL 207 #A019ST      SS207A1901          G01523      177114009401
SHIP SHOAL 207 #A020        SS207A2000          G01523      177114010300
SHIP SHOAL 207 #A022 ST1    SS207A2201          G01523      177114011301
SHIP SHOAL 207 #A023B       SS207A23B0          G01523      177114013500
SHIP SHOAL 207 #A024        SS207A2400          G01523      177114014300
SHIP SHOAL 207 #A025        SS207A2500          G01523      177114015500
SHIP SHOAL 207 #A026        SS207A2601          G01523      177112001101
SHIP SHOAL 207 #A027        SS207A2701          G01523      177110079401
SHIP SHOAL 207 #A028        SS207A2801          G01523      177110077301
SHIP SHOAL 207 #A029 ST     SS207A2901          G01523      177112001901
SHIP SHOAL 207 #A030        SS207A3001          G01523      177110071501
SHIP SHOAL 207 #A031 ST2    SS207A3102          G01523      177114117702
SHIP SHOAL 207 #A032        SS207A3201          G01523      177114119701
SHIP SHOAL 207 #A033 ST1    SS207A3301          G01523      177114121901
SHIP SHOAL 207 #A034        SS207A3400          G01523      177114122200
SHIP SHOAL 207 #A035 ST1    SS207A3501          G01523      177114133301
SHIP SHOAL 207 #A036        SS207A3600          G01523      177114137700
SHIP SHOAL 207 #D002        SS207D0200          G01523      177114025400
SHIP SHOAL 207 #D007        SS207D0700          G01523      177114030300
SHIP SHOAL 207 #D008        SS207D0800          G01523      177114032300
SHIP SHOAL 207 #D009        SS207D0900          G01523      177114116400
SHIP SHOAL 207 #D010 ST1    SS207D1001          G01523      177114116501
SHIP SHOAL 216 #C004 ST1    SS216C0401          G01524      177112014901
SHIP SHOAL 216 #C005A       SS216C05A0          G01524      177112017400
SHIP SHOAL 216 #C007 ST1    SS216C0701          G01524      177114001201
SHIP SHOAL 216 #C009 ST1    SS216C0901          G01524      177114003801
SHIP SHOAL 216 #C010        SS216C1000          G01524      177114004900
SHIP SHOAL 216 #C012C       SS216C12C0          G01524      177114006700
SHIP SHOAL 216 #C013        SS216C1300          G01524      177114007700
SHIP SHOAL 216 #C015        SS216C1500          G01524      177114009000
SHIP SHOAL 216 #C016        SS216C1601          G01524      177114000101
SHIP SHOAL 216 #C017A       SS216C17A1          G01524      177114003001
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Asset Name                    FWE Acct. Code   Lease Number        API
SHIP SHOAL 216 #C019          SS216C1900          G01524      177114031900
SHIP SHOAL 216 #C023          SS216C2300          G01524      177114134600
SHIP SHOAL 216 #C024 ST2      SS216C2402          G01524      177114135102
SHIP SHOAL 243 #A001 (ORRI)   SS243A0100          G10780      177124051700
SHIP SHOAL 243 #A004 (ORRI)   SS243A0400          G10780      177124059402
SHIP SHOAL 243 #A006 (ORRI)   SS243A0600          G10780      177124064901
SHIP SHOAL 249 #D017          SS249D1700          G01030      177124020800
SHIP SHOAL 259 #001           SS25900100          G05044      177124028500
SHIP SHOAL 259 #JA001 ST2     SS259JA102          G05044      177124035002
SHIP SHOAL 259 #JA002         SS259JA201          G05044      177124035301
SHIP SHOAL 259 #JA003 ST2     SS259JA302          G05044      177124035402
SHIP SHOAL 259 #JA004         SS259JA400          G05044      177124035600
SHIP SHOAL 259 #JA005 ST1     SS259JA501          G05044      177124035801
SHIP SHOAL 259 #JA006         SS259JA600          G05044      177124035900
SHIP SHOAL 259 #JA007         SS259JA700          G05044      177124064200
SHIP SHOAL 259 #JA008 ST2     SS259JA802          G05044      177124064402
SHIP SHOAL 259 #JA009         SS259JA900          G05044      177124064500
SHIP SHOAL 259 #JA010 ST1     SS259JA101          G05044      177124065501
SHIP SHOAL 274 #A001          SS274A0100          G01039      177120001500
SHIP SHOAL 274 #A002          SS274A0200          G01039      177120001600
SHIP SHOAL 274 #A003          SS274A0300          G01039      177120001700
SHIP SHOAL 274 #A004          SS274A0400          G01039      177120001800
SHIP SHOAL 274 #A006          SS274A0601          G01039      177120002001
SHIP SHOAL 274 #A008          SS274A0800          G01039      177120002200
SHIP SHOAL 274 #A010          SS274A1001          G01039      177120002401
SHIP SHOAL 274 #A012          SS274A1201          G01039      177120002601
SHIP SHOAL 274 #A013          SS274A1300          G01039      177120002700
SHIP SHOAL 274 #A014          SS274A1403          G01039      177120001903
SHIP SHOAL 274 #A016          SS274A1602          G01039      177120010202
SHIP SHOAL 274 #C001          SS274C0100          G01039      177124038900
SHIP SHOAL 274 #C002          SS274C0200          G01039      177124038800
SHIP SHOAL 274 #C003          SS274C0300          G01039      177124039000
SHIP SHOAL 274 #C004          SS274C0400          G01039      177124039100
SHIP SHOAL 274 #C005 WIW      SS274C0500          G01039      177124039200
SHIP SHOAL 274 #C006 WSW      SS274C0600          G01039      177124039300
SHIP SHOAL 274 #C007          SS274C0700          G01039      177124039900
SHIP SHOAL 274 #C008          SS274C0800          G01039      177124040300
SHIP SHOAL 274 #C009          SS274C0900          G01039      177124040200
SHIP SHOAL 274 #C010 WIW      SS274C1000          G01039      177124040000
SHIP SHOAL 274 #C011          SS274C1100          G01039      177124040100
SHIP SHOAL 274 #C012          SS274C1200          G01039      177124040700
SHIP SHOAL 274 #C013          SS274C1300          G01039      177124040800
SHIP SHOAL 274 #C014          SS274C1400          G01039      177124040900
SHIP SHOAL 274 #C015          SS274C1500          G01039      177124041400
SHIP SHOAL 274 #C016          SS274C1600          G01039      177124041300
SHIP SHOAL 274 #C017          SS274C1701          G01039      177124041501
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Asset Name                       FWE Acct. Code   Lease Number        API
SHIP SHOAL 274 #C018             SS274C1800          G01039      177124041800
SHIP SHOAL 274 #C019 WSW         SS274C1900          G01039      177124042000
SHIP SHOAL 274 #C020             SS274C2000          G01039      177124041900
SHIP SHOAL 274 #C021             SS274C2100          G01039      177124042600
SHIP SHOAL 274 #C022             SS274C2201          G01039      177124056102
SHIP SHOAL 274 #C023             SS274C2300          G01039      177124059600
SHIP SHOAL 274 #C024             SS274C2400          G01039      177124060100
SHIP SHOAL 276 #A6               ‐                   G10785      177124042500
SHIP SHOAL 276 #A7               ‐                   G10785      177124043000
SHIP SHOAL 314 #A002             SS314A0200          G26074      177124047202
SHIP SHOAL 314 #A004 (ORRI)      SS314A0400          G26074      177124047502
SHIP SHOAL 354 #A001 ST2         SS354A0102          G15312      177124055202
SHIP SHOAL 354 #A002 ST2         SS354A0202          G15312      177124056002
SHIP SHOAL 354 #A003 ST1         SS354A0301          G15312      177124057901
SHIP SHOAL 354 #A004 ST1         SS354A0401          G15312      177124057701
SHIP SHOAL 354 #A005             SS354A0500          G15312      177124065600
SHIP SHOAL 354 #A006             SS354A0600          G15312      177124066000
SHIP SHOAL 354 #A007 ST1         SS354A0701          G15312      177124066101
SHIP SHOAL 354 #A008             SS354A0800          G15312      177124066200
SHIP SHOAL206#E001(SS207E1       SS207E0100          G01523      177114115500
SOUTH MARSH IS 010 #004          SM01000400          G01181      177074089700
SOUTH MARSH IS 010 #A002         SM010A0200          G01181      177070050200
SOUTH MARSH IS 010 #A003         SM010A0300          G01181      177074043200
SOUTH MARSH IS 010 #A004         SM010A0400          G01181      177070050600
SOUTH MARSH IS 010 #A007         SM010A0700          G01181      177070051300
SOUTH MARSH IS 010 #A008         SM010A0800          G01181      177070052100
SOUTH MARSH IS 010 #A009E        SM010A09E0          G01181      177072000000
SOUTH MARSH IS 010 #A011         SM010A1100          G01181      177072000500
SOUTH MARSH IS 010 #A012         SM010A1200          G01181      177072001100
SOUTH MARSH IS 010 #A013 ST1     SM010A1301          G01181      177072000401
SOUTH MARSH IS 010 #A017         SM010A1700          G01181      177074032300
SOUTH MARSH IS 010 #A019         SM010A1901          G01181      177074046301
SOUTH MARSH IS 010 #A021         SM010A2100          G01181      177074075200
SOUTH MARSH IS 011 #034          SM01103400          G01182      177072004300
SOUTH MARSH IS 011 #058 BP2      SM01105802          G01182      177074090702
SOUTH MARSH IS 018 #A001 ST1     SM018A0101          G08680      177074057701
SOUTH MARSH IS 018 #A002         SM018A0200          G08680      177074064900
SOUTH MARSH IS 018 #A003         SM018A0300          G08680      177074070300
SOUTH MARSH IS 048 #E002         SM048E0201           00786      177072002801
SOUTH MARSH IS 048 #E003 ST1BP   SM048E0302           00786      177072003302
SOUTH MARSH IS 048 #E004         SM048E0401           00786      177072004001
SOUTH MARSH IS 048 #E005         SM048E005            00786      177072004800
SOUTH MARSH IS 048 #E007         SM048E07             00786      177074092300
SOUTH MARSH IS 066 #C001         SM066C0100          G01198      177070041200
SOUTH MARSH IS 066 #C002         SM066C0200          G01198      177070049000
SOUTH MARSH IS 066 #C003         SM066C0300          G01198      177074005800
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Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 066 #C004         SM066C0400          G01198      177070050000
SOUTH MARSH IS 066 #C005         SM066C0500          G01198      177070050700
SOUTH MARSH IS 066 #C006         SM066C0600          G01198      177072018700
SOUTH MARSH IS 066 #C007         SM066C0700          G01198      177070052800
SOUTH MARSH IS 066 #C009B        SM066C09B0          G01198      177072001200
SOUTH MARSH IS 066 #C010 ST2     SM066C1002          G01198      177072002502
SOUTH MARSH IS 066 #C011         SM066C1100          G01198      177074072900
SOUTH MARSH IS 066 #C012         SM066C1200          G01198      177074073500
SOUTH MARSH IS 066 #D001         SM066D0100          G01198      177074025400
SOUTH MARSH IS 066 #D003         SM066D0300          G01198      177074029000
SOUTH MARSH IS 066 #D004         SM066D0400          G01198      177074032000
SOUTH MARSH IS 066 #D005         SM066D0500          G01198      177074032600
SOUTH MARSH IS 066 #D006 ST      SM066D0601          G01198      177074031201
SOUTH MARSH IS 066 #D007 ST1BP   SM066D0701          G01198      177074027401
SOUTH MARSH IS 076 #F001 BP2     SM076F0102          G01208      177084095402
SOUTH MARSH IS 076 #F002         SM076F0200          G01208      177084095500
SOUTH MARSH IS 105 #A001         SM105A0100          G17938      177084089700
SOUTH MARSH IS 105 #A002 ST1     SM105A0201          G17938      177084089901
SOUTH MARSH IS 106 #A001N        SM106A01N0          G03776      177084038200
SOUTH MARSH IS 106 #A002 ST      SM106A02N1          G03776      177084038701
SOUTH MARSH IS 106 #A003N        SM106A03N0          G03776      177084039100
SOUTH MARSH IS 106 #A004         SM106A04N0          G03776      177084040600
SOUTH MARSH IS 106 #A005 ST2     SM106A05N2          G03776      177084047202
SOUTH MARSH IS 106 #A006 ST1     SM106A06N1          G03776      177084048401
SOUTH MARSH IS 106 #A007         SM106A07N0          G03776      177084048600
SOUTH MARSH IS 106 #A008         SM106A08N0          G03776      177084049100
SOUTH MARSH IS 106 #A009 ST1     SM106A09N1          G03776      177084049801
SOUTH MARSH IS 106 #A010         SM106A10N0          G03776      177084051300
SOUTH MARSH IS 106 #A011 ST2     SM106A11N2          G03776      177084052302
SOUTH MARSH IS 106 #A013         SM106A13N0          G03776      177084081200
SOUTH MARSH IS 106 #A014         SM106A14N0          G03776      177084082000
SOUTH MARSH IS 106 #A015         SM106A15N0          G03776      177084082600
SOUTH MARSH IS 106 #A016         SM106A16N0          G03776      177084082700
SOUTH MARSH IS 106 #A017         SM106A17N0          G03776      177084082800
SOUTH MARSH IS 106 #A020         SM106A20S0          G02279      177084082200
SOUTH MARSH IS 106#A012ST2       SM106A12S2          G02279      177084053602
SOUTH MARSH IS 108 #A018         SM108A1800           00792      177084094500
SOUTH MARSH IS 127 #B011         SM127B1100          G02883      177084015800
SOUTH MARSH IS 127 #B017         SM127B17S1          G02883      177084025801
SOUTH MARSH IS 127 #B022 ST1     SM127B2201          G02883      177084078501
SOUTH MARSH IS 128 #A002         SM128A0200          G02587      177084014300
SOUTH MARSH IS 128 #A003         SM128A0300          G02587      177084013400
SOUTH MARSH IS 128 #A004C ST1    SM128A04C1          G02587      177084014601
SOUTH MARSH IS 128 #A005         SM128A0500          G02587      177084015000
SOUTH MARSH IS 128 #A006 ST1     SM128A0601          G02587      177084016101
SOUTH MARSH IS 128 #A007         SM128A0700          G02587      177084015500
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Asset Name                     FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 128 #A009       SM128A0900          G02587      177084019100
SOUTH MARSH IS 128 #A010       SM128A1002          G02587      177084019302
SOUTH MARSH IS 128 #A011 ST3   SM128A1103          G02587      177084017103
SOUTH MARSH IS 128 #A012       SM128A1200          G02587      177084023600
SOUTH MARSH IS 128 #A013 ST2   SM128A1302          G02587      177084024002
SOUTH MARSH IS 128 #A014       SM128A1400          G02587      177084026100
SOUTH MARSH IS 128 #A015 ST2   SM128A1502          G02587      177084012902
SOUTH MARSH IS 128 #A016 ST1   SM128A1601          G02587      177084033301
SOUTH MARSH IS 128 #A017 ST1   SM128A1702          G02587      177084028202
SOUTH MARSH IS 128 #A018       SM128A1800          G02587      177084030300
SOUTH MARSH IS 128 #A019       SM128A1900          G02587      177084035100
SOUTH MARSH IS 128 #A021       SM128A2100          G02587      177084035200
SOUTH MARSH IS 128 #A022 ST2   SM128A2202          G02587      177084034402
SOUTH MARSH IS 128 #A023 ST1   SM128A2301          G02587      177084037601
SOUTH MARSH IS 128 #A024       SM128A2400          G02587      177084039700
SOUTH MARSH IS 128 #A025       SM128A2500          G02587      177084040000
SOUTH MARSH IS 128 #A026       SM128A2600          G02587      177084039900
SOUTH MARSH IS 128 #B001A      SM128B01D0          G02587      177084011000
SOUTH MARSH IS 128 #B002 ST1   SM128B0201          G02587      177084014401
SOUTH MARSH IS 128 #B003 ST1   SM128B0301          G02587      177084011601
SOUTH MARSH IS 128 #B005D      SM128B05D0          G02587      177084012700
SOUTH MARSH IS 128 #B006 ST2   SM128B0602          G02587      177084012202
SOUTH MARSH IS 128 #B007 ST2   SM128B0702          G02587      177084014502
SOUTH MARSH IS 128 #B008A      SM128B08A0          G02587      177084014700
SOUTH MARSH IS 128 #B009       SM128B0900          G02587      177084014900
SOUTH MARSH IS 128 #B010       SM128B1000          G02587      177084015600
SOUTH MARSH IS 128 #B012 ST1   SM128B1201          G02587      177084016401
SOUTH MARSH IS 128 #B013       SM128B1300          G02587      177084023500
SOUTH MARSH IS 128 #B015       SM128B1500          G02587      177084024700
SOUTH MARSH IS 128 #B016       SM128B1600          G02587      177084025300
SOUTH MARSH IS 128 #B018       SM128B1800          G02587      177084029200
SOUTH MARSH IS 128 #B019       SM128B1900          G02587      177084030600
SOUTH MARSH IS 128 #B020       SM128B2000          G02587      177084063300
SOUTH MARSH IS 128 #B021       SM128B2100          G02587      177084078200
SOUTH MARSH IS 128 #B024       SM128B2400          G02587      177084088600
SOUTH MARSH IS 128 #C001       SM128C0100          G02587      177084028600
SOUTH MARSH IS 128 #C002       SM128C0200          G02587      177084027300
SOUTH MARSH IS 128 #C003       SM128C0300          G02587      177084029600
SOUTH MARSH IS 128 #C004A      SM128C04A0          G02587      177084030000
SOUTH MARSH IS 128 #C005A      SM128C05A0          G02587      177084030700
SOUTH MARSH IS 128 #C006A      SM128C06A0          G02587      177084031300
SOUTH MARSH IS 128 #C007       SM128C0700          G02587      177084031700
SOUTH MARSH IS 128 #C008       SM128C0800          G02587      177084032000
SOUTH MARSH IS 128 #C009       SM128C0900          G02587      177084034900
SOUTH MARSH IS 128 #C010D      SM128C10D0          G02587      177084035000
SOUTH MARSH IS 128 #C011       SM128C1100          G02587      177084036400
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Asset Name                      FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 128 #C012A       SM128C12A0          G02587      177084037300
SOUTH MARSH IS 128 #C013        SM128C1300          G02587      177084037700
SOUTH MARSH IS 128 #C014        SM128C1400          G02587      177084038900
SOUTH MARSH IS 128 #C015A       SM128C15A0          G02587      177084039300
SOUTH MARSH IS 128 #C016        SM128C1600          G02587      177084062000
SOUTH MARSH IS 128 #C017A       SM128C17A0          G02587      177084062600
SOUTH MARSH IS 128 #C018D       SM128C18D0          G02587      177084062900
SOUTH MARSH IS 128 #C019        SM128C1900          G02587      177084088000
SOUTH MARSH IS 128 #C020        SM128C2000          G02587      177084088100
SOUTH MARSH IS 128 #C021        SM128C2101          G02587      177084088201
SOUTH MARSH IS 132 #B002        SM132B0200          G02282      177084031800
SOUTH MARSH IS 132 #B003 ST1    SM132B0301          G02282      177084031601
SOUTH MARSH IS 132 #B004        SM132B0400          G02282      177084033000
SOUTH MARSH IS 132 #B005        SM132B0500          G02282      177084033500
SOUTH MARSH IS 132 #B006        SM132B0600          G02282      177084033900
SOUTH MARSH IS 132 #B007        SM132B0700          G02282      177084034100
SOUTH MARSH IS 132 #B008        SM132B0800          G02282      177084035500
SOUTH MARSH IS 132 #B009        SM132B0900          G02282      177084036200
SOUTH MARSH IS 132 #B010        SM132B1000          G02282      177084036500
SOUTH MARSH IS 132 #B011        SM132B1100          G02282      177084037800
SOUTH MARSH IS 135 #C003 BP1    SM135C0301          G19776      177084089401
SOUTH MARSH IS 136 #A004        SM136A0400          G02588      177084021900
SOUTH MARSH IS 136 #A008        SM136A08            G02588      177084032401
SOUTH MARSH IS 136 #A010        SM136A1000          G02588      177084035700
SOUTH MARSH IS 136 #A015        SM136A1500          G02588      177084071200
SOUTH MARSH IS 136 #C007        SM136C0700          G02588      177084091900
SOUTH MARSH IS 137 #A001        SM137A0100          G02589      177084007700
SOUTH MARSH IS 137 #A003        SM137A0300          G02589      177084020400
SOUTH MARSH IS 137 #A005        SM137A0500          G02589      177084024100
SOUTH MARSH IS 137 #A009        SM137A0900          G02589      177084034600
SOUTH MARSH IS 137 #A011 ST1    SM137A1101          G02589      177084030201
SOUTH MARSH IS 137 #A012        SM137A1200          G02589      177084040400
SOUTH MARSH IS 137 #A013        SM137A1300          G02589      177084042900
SOUTH MARSH IS 137 #A014        SM137A1400          G02589      177084045000
SOUTH MARSH IS 137 #A018        SM137A1800          G02589      177084072800
SOUTH MARSH IS 141 #B014C       SM141B14C1          G02885      177084025701
SOUTH MARSH IS 141 #B023A       SM141B23A0          G02885      177084079100
SOUTH MARSH IS 149 #C001 ST1    SM149C0101          G02592      177084088901
SOUTH MARSH IS 149 #C002        SM149C0200          G02592      177084089100
SOUTH MARSH IS 149 #C004        SM149C0400          G02592      177084090300
SOUTH MARSH IS 149 #C005        SM149C0500          G02592      177084090400
SOUTH MARSH IS 149 #D001        SM149D0101          G02592      177084094401
SOUTH MARSH IS 150 #C006 BP2    SM150C0600          G16325      177084091802
SOUTH MARSH IS 150 #D002        SM150D0200          G16325      177084095700
SOUTH MARSH IS 150 #D003        SM150D0301          G16325      177084096401
SOUTH MARSH IS 161 #A014 ORRI   SM161A1400          G04809      177084061401
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Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 161 #A015 ORRI    SM161A1500          G04809      177084090501
SOUTH MARSH IS 236 #139 (ORRI)   SM23613900           00310      177074053802
SOUTH MARSH IS 236 #144 ORRI     SM23614400           00310      177074058600
SOUTH MARSH IS 236 #160 (ORRI)   SM23616000           00310      177074058700
SOUTH MARSH IS 236 #A001 ORRI    SM236A0100           00310      177074037700
SOUTH MARSH IS 236 #A003 ORRI    SM236A0300           00310      177074040800
SOUTH MARSH IS 236 #A005 ORRI    SM236A0500           00310      177074041100
SOUTH MARSH IS 236 #A009 ORRI    SM236A0900           00310      177074044000
SOUTH MARSH IS 240 #0200         SM24020000           00310      177074078800
SOUTH MARSH IS 240 #153          SM240153             00310      177074061100
SOUTH MARSH IS 240 #156          SM24015600           00310      177074061800
SOUTH MARSH IS 240 #191          SM24019101           00310      177074073600
SOUTH MARSH IS 240 #196          SM24019600           00310      177074075800
SOUTH MARSH IS 240 #E001         SM240E0100           00310      177074060900
SOUTH MARSH IS 240 #E002         SM240E0200           00310      177074065600
SOUTH MARSH IS 241 #302          SM241302             00310      177074042001
SOUTH MARSH IS 268 #A002C        SM268A02C0          G02310      177074007600
SOUTH MARSH IS 268 #A007A        SM268A07A0          G02310      177074013600
SOUTH MARSH IS 268 #A017B        SM268A17B0          G02310      177074016800
SOUTH MARSH IS 268 #D001         SM268D0100          G02310      177074020600
SOUTH MARSH IS 268 #D003D        SM268D03D0          G02310      177074021600
SOUTH MARSH IS 268 #D004         SM268D0400          G02310      177074022500
SOUTH MARSH IS 268 #D006         SM268D0600          G02310      177074024700
SOUTH MARSH IS 268 #D007         SM268D0700          G02310      177074025700
SOUTH MARSH IS 268 #D012         SM268D1200          G02310      177074028700
SOUTH MARSH IS 268 #D016D        SM268D16D1          G02310      177074029901
SOUTH MARSH IS 269 #A021B        SM269A21B0          G02311      177074018100
SOUTH MARSH IS 269 #B002         SM269B0200          G02311      177074008100
SOUTH MARSH IS 269 #B017 ST1     SM269B1701          G02311      177074075701
SOUTH MARSH IS 269 #B019 BP1     SM269B1901          G02311      177074088501
SOUTH MARSH IS 269 #F001 ST1     SM269F0101          G02311      177074080401
SOUTH MARSH IS 280 #G001         SM280G0100          G14456      177074071400
SOUTH MARSH IS 280 #G002         SM280G0200          G14456      177074080700
SOUTH MARSH IS 280 #H001 ST1     SM280H0102          G14456      177074081802
SOUTH MARSH IS 280 #H002 STB     SM280H0203          G14456      177074082303
SOUTH MARSH IS 281 #C001         SM281C0100          G02600      177074012500
SOUTH MARSH IS 281 #C003A        SM281C03A0          G02600      177074013900
SOUTH MARSH IS 281 #C005A        SM281C05A0          G02600      177074015300
SOUTH MARSH IS 281 #C006         SM281C0600          G02600      177074015800
SOUTH MARSH IS 281 #C008 ST1     SM281C0801          G02600      177074017701
SOUTH MARSH IS 281 #C010 ST      SM281C1001          G02600      177074020701
SOUTH MARSH IS 281 #C011 ST1     SM281C1101          G02600      177074022401
SOUTH MARSH IS 281 #C012A        SM281C12A0          G02600      177074024100
SOUTH MARSH IS 281 #C014 ST      SM281C1401          G02600      177074026901
SOUTH MARSH IS 281 #C015         SM281C1500          G02600      177074028300
SOUTH MARSH IS 281 #C016C        SM281C16C0          G02600      177074029600
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Asset Name                     FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 281 #C017       SM281C1700          G02600      177074030500
SOUTH MARSH IS 281 #C019B      SM281C19B0          G02600      177074034400
SOUTH MARSH IS 281 #C020 ST1   SM281C2001          G02600      177074034901
SOUTH MARSH IS 281 #C021B      SM281C21B0          G02600      177074035500
SOUTH MARSH IS 281 #C023 ST2   SM281C2302          G02600      177074036802
SOUTH MARSH IS 281 #C024       SM281C2400          G02600      177074037300
SOUTH MARSH IS 281 #C025       SM281C2500          G02600      177074083500
SOUTH MARSH IS 281 #C026       SM281C2600          G02600      177074083700
SOUTH MARSH IS 281 #C027       SM281C2700          G02600      177074085200
SOUTH MARSH IS 281 #C028 BP2   SM281C2802          G02600      177074089402
SOUTH MARSH IS 281 #D002       SM281D0200          G02600      177074021100
SOUTH MARSH IS 281 #D009       SM281D0900          G02600      177074027100
SOUTH MARSH IS 281 #D010A      SM281D10A0          G02600      177074027500
SOUTH MARSH IS 281 #D011       SM281D1100          G02600      177074028000
SOUTH MARSH IS 281 #D013       SM281D1300          G02600      177074029100
SOUTH MARSH IS 281 #D014A      SM281D14A0          G02600      177074029700
SOUTH MARSH IS 281 #D05A       SM281D05A0          G02600      177074023200
SOUTH MARSH IS 281 #D08A       SM281D08A0          G02600      177074026600
SOUTH MARSH IS 281 #E001D      SM281E01D0          G02600      177074018500
SOUTH MARSH IS 281 #E002A      SM281E02A0          G02600      177074024600
SOUTH MARSH IS 281 #E003       SM281E0300          G02600      177074027800
SOUTH MARSH IS 281 #E004       SM281E0400          G02600      177074028500
SOUTH MARSH IS 281 #E005A      SM281E05A0          G02600      177074029300
SOUTH MARSH IS 281 #E006       SM281E0601          G02600      177074030101
SOUTH MARSH IS 281 #E007       SM281E0700          G02600      177074031600
SOUTH MARSH IS 281 #E008A      SM281E08A1          G02600      177074033101
SOUTH MARSH IS 281 #E009A      SM281E09A0          G02600      177074033800
SOUTH MARSH IS 281 #E010A      SM281E10A0          G02600      177074034800
SOUTH MARSH IS 281 #E011 ST    SM281E1101          G02600      177074035601
SOUTH MARSH IS 281 #E012       SM281E1200          G02600      177074036000
SOUTH MARSH IS 281 #E013       SM281E1300          G02600      177074036600
SOUTH MARSH IS 281 #E014       SM281E1400          G02600      177074038600
SOUTH MARSH IS 281 #I001       SM281I0101          G02600      177074082601
SOUTH MARSH IS 281 #I002 ST1   SM281I0201          G02600      177074082701
SOUTH MARSH IS 281 #I003       SM281I0300          G02600      177074082800
SOUTH MARSH IS 48 # E 6        SM048E06             00786      177074066702
SOUTH PASS 061 #D004 ST2       SP061D0402          G01609      177234006302
SOUTH PASS 061 #D023           SP061D2300          G01609      177234008200
SOUTH PASS 061 #D024 ST1       SP061D2401          G01609      177234007701
SOUTH PASS 061 #D025           SP061D2500          G01609      177234008300
SOUTH PASS 061 #D026           SP061D2600          G01609      177234008400
SOUTH PASS 061 #D033 ST2       SP061D3302          G01609      177234008702
SOUTH PASS 061 #D034 ST1       SP061D3401          G01609      177234009001
SOUTH PASS 061 #D035 ST2       SP061D3502          G01609      177234009102
SOUTH PASS 061 #D036 ST1       SP061D3601          G01609      177234009201
SOUTH PASS 061 #D038           SP061D38            G01609      177234009702
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 061 #D039 ST1    SP061D3901          G01609      177234009801
SOUTH PASS 061 #D040 ST2    SP061D4002          G01609      177234009502
SOUTH PASS 061 #D043 ST2    SP061D4302          G01609      177234009602
SOUTH PASS 062 #C001        SP062C0101          G01294      177230007901
SOUTH PASS 062 #C004        SP062C0401          G01294      177232000101
SOUTH PASS 062 #C005        SP062C0500          G01294      177230008600
SOUTH PASS 062 #C006        SP062C0601          G01294      177232000301
SOUTH PASS 062 #C007 ST3    SP062C0703          G01294      177234000803
SOUTH PASS 062 #C009        SP062C0900          G01294      177232000800
SOUTH PASS 062 #C011 ST1    SP062C1101          G01294      177232001501
SOUTH PASS 062 #C013B       SP062C13B0          G01294      177232002100
SOUTH PASS 062 #C016        SP062C1600          G01294      177232003000
SOUTH PASS 062 #C017        SP062C1702          G01294      177232003102
SOUTH PASS 062 #C018        SP062C1800          G01294      177232003200
SOUTH PASS 062 #C021        SP062C2105          G01294      177230008005
SOUTH PASS 062 #D001        SP062D0100          G01294      177234012300
SOUTH PASS 062 #D002        SP062D0200          G01294      177234011900
SOUTH PASS 062 #D003        SP062D0300          G01294      177234012000
SOUTH PASS 062 #D004        SP062D0401          G01294      177234012901
SOUTH PASS 062 #D005        SP062D0500          G01294      177234012100
SOUTH PASS 062 #D007        SP062D0700          G01294      177234012200
SOUTH PASS 062 #D008        SP062D0800          G01294      177234012500
SOUTH PASS 062 #D009        SP062D0900          G01294      177234013000
SOUTH PASS 062 #D010 ST1    SP062D1001          G01294      177234012801
SOUTH PASS 062 #D012        SP062D1200          G01294      177234013200
SOUTH PASS 062 #D014        SP062D1400          G01294      177234014100
SOUTH PASS 062 #D019        SP062D1900          G01294      177234012400
SOUTH PASS 062 #D020 ST1    SP062D2001          G01294      177234014001
SOUTH PASS 062 #D021        SP062D2100          G01294      177234013700
SOUTH PASS 062 #D022        SP062D2201          G01294      177234013801
SOUTH PASS 062 #D023        SP062D2300          G01294      177234014300
SOUTH PASS 062 #D027        SP062D2700          G01294      177234014500
SOUTH PASS 062 #D028        SP062D2800          G01294      177234014601
SOUTH PASS 062 #D029        SP062D2900          G01294      177234014900
SOUTH PASS 062 #D030        SP062D3000          G01294      177234014700
SOUTH PASS 062 #D031        SP062D3100          G01294      177234014800
SOUTH PASS 062 #D032        SP062D3201          G01294      177234015001
SOUTH PASS 062 #D033        SP062D3300          G01294      177234016300
SOUTH PASS 062 #D034A       SP062D34A0          G01294      177234016600
SOUTH PASS 062 #D035        SP062D3500          G01294      177234016900
SOUTH PASS 062 #D036        SP062D3600          G01294      177234016400
SOUTH PASS 064 #A003A       SP064A0300          G01901      177232001700
SOUTH PASS 064 #A013 ST1    SP064A1300          G01901      177232004800
SOUTH PASS 064 #B014 ST     SP064B1401          G01901      177254002601
SOUTH PASS 064 #B021        SP064B2100          G01901      177254003300
SOUTH PASS 064 #B023        SP064B2300          G01901      177254003600
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 064 #B034        SP064B3400          G01901      177254005100
SOUTH PASS 064 #C001        SP064C0100          G01901      177254039900
SOUTH PASS 065 #A001        SP065A0101          G01610      177232001001
SOUTH PASS 065 #A009        SP065A0900          G01610      177232004400
SOUTH PASS 065 #A012        SP065A1200          G01610      177232004700
SOUTH PASS 065 #A016A       SP065A1600          G01610      177232005100
SOUTH PASS 065 #A018        SP065A1800          G01610      177232005600
SOUTH PASS 065 #A024        SP065A2400          G01610      177232006700
SOUTH PASS 065 #A027        SP065A2700          G01610      177232007100
SOUTH PASS 065 #A028        SP065A2800          G01610      177232007200
SOUTH PASS 065 #A029        SP065A2900          G01610      177232007400
SOUTH PASS 065 #A030 ST     SP065A3001          G01610      177232007501
SOUTH PASS 065 #A034        SP065A3400          G01610      177232007900
SOUTH PASS 065 #A036 ST     SP065A3602          G01610      177232007802
SOUTH PASS 065 #B011        SP065B1100          G01610      177254001900
SOUTH PASS 065 #B019        SP065B1900          G01610      177254003000
SOUTH PASS 065 #B033 ST2    SP065B3302          G01610      177254005002
SOUTH PASS 065 #C003        SP065C0300          G01610      177254040900
SOUTH PASS 065 #C010        SP065C1000          G01610      177254042800
SOUTH PASS 065 #C022        SP065C2200          G01610      177254045800
SOUTH PASS 065 #C023        SP065C2300          G01610      177254046700
SOUTH PASS 070 #C001        SP070C0100          G01614      177234001200
SOUTH PASS 070 #C002        SP070C0200          G01614      177234001400
SOUTH PASS 070 #C003        SP070C0300          G01614      177234001500
SOUTH PASS 070 #C004        SP070C0400          G01614      177234001600
SOUTH PASS 070 #C006        SP070C0600          G01614      177234001800
SOUTH PASS 070 #C009        SP070C0900          G01614      177234002000
SOUTH PASS 070 #C010        SP070C1000          G01614      177234002200
SOUTH PASS 070 #C011        SP070C1100          G01614      177234002300
SOUTH PASS 070 #C014        SP070C1400          G01614      177234002500
SOUTH PASS 070 #C015        SP070C1500          G01614      177234002600
SOUTH PASS 070 #C017        SP070C1700          G01614      177234002800
SOUTH PASS 070 #C018        SP070C1800          G01614      177234002900
SOUTH PASS 070 #C019        SP070C1900          G01614      177234003000
SOUTH PASS 070 #C021        SP070C2100          G01614      177234003200
SOUTH PASS 070 #C022        SP070C2200          G01614      177234003300
SOUTH PASS 070 #C024        SP070C2400          G01614      177234003500
SOUTH PASS 070 #C025        SP070C2500          G01614      177234003700
SOUTH PASS 070 #C026        SP070C2600          G01614      177234003800
SOUTH PASS 070 #C028        SP070C2800          G01614      177234004000
SOUTH PASS 070 #C029 ST2    SP070C2902          G01614      177234004402
SOUTH PASS 070 #C031        SP070C3100          G01614      177234004500
SOUTH PASS 070 #C032        SP070C3200          G01614      177234004600
SOUTH PASS 070 #C034        SP070C3400          G01614      177234004700
SOUTH PASS 070 #C038        SP070C3800          G01614      177234005100
SOUTH PASS 070 #C039 ST1    SP070C3901          G01614      177234004901
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 070 #C041        SP070C4100          G01614      177234005400
SOUTH PASS 070 #C042        SP070C4200          G01614      177234005500
SOUTH PASS 070 #C045        SP070C4500          G01614      177234005700
SOUTH PASS 070 #C046 ST3    SP070C4603          G01614      177234005003
SOUTH PASS 070 #C047        SP070C4700          G01614      177234005800
SOUTH PASS 070 #C048        SP070C4800          G01614      177234005900
SOUTH PASS 070 #D001        SP070D0100          G01614      177234006000
SOUTH PASS 070 #D002        SP070D0200          G01614      177234006100
SOUTH PASS 070 #D003        SP070D0300          G01614      177234006200
SOUTH PASS 070 #D005        SP070D0500          G01614      177234006400
SOUTH PASS 070 #D006 ST1    SP070D0600          G01614      177234006501
SOUTH PASS 070 #D007        SP070D0700          G01614      177234006600
SOUTH PASS 070 #D008        SP070D0800          G01614      177234006700
SOUTH PASS 070 #D012        SP070D1200          G01614      177234007100
SOUTH PASS 070 #D013        SP070D130           G01614      177234007200
SOUTH PASS 070 #D014        SP070D1400          G01614      177234007300
SOUTH PASS 070 #D015 ST1    SP070D1501          G01614      177234007401
SOUTH PASS 070 #D016        SP070D1600          G01614      177234007500
SOUTH PASS 070 #D018        SP070D1800          G01614      177234007600
SOUTH PASS 070 #D020        SP070D2000          G01614      177234007800
SOUTH PASS 070 #D021        SP070D2100          G01614      177234007900
SOUTH PASS 070 #D027        SP070D2700          G01614      177234008500
SOUTH PASS 070 #D028        SP070D2800          G01614      177234008600
SOUTH PASS 070 #D030        SP070D3000          G01614      177234008800
SOUTH PASS 070 #D037        SP070D3700          G01614      177234009300
SOUTH PASS 070 #D042 ST1    SP070D4201          G01614      177234009901
SOUTH PASS 070 #D044 ST1    SP070D4401          G01614      177234016201
SOUTH PASS 087 #006         SP08700602          G07799      177224023102
SOUTH PASS 087 #D002 ST     SP087D0201          G07799      177224021001
SOUTH PASS 087 #D003        SP087D0202          G07799      177224021202
SOUTH PASS 087 #D008        SP087D0800          G07799      177224020803
SOUTH PASS 087 #D009        SP087D0900          G07799      177224022600
SOUTH PASS 087 #D011        SP087D1101          G07799      177224022801
SOUTH PASS 087 #D07A        SP087D0700          G07799      177224020900
SOUTH PASS 088 #D005 ST     SP088D0501          G10894      177224021901
SOUTH PASS 088 #D006        SP088D0601          G10894      177224022201
SOUTH PASS 088 #D010        SP088D1001          G10894      177224022701
SOUTH PASS 089 #013         SP08901300          G01618      177224015100
SOUTH PASS 089 #014         SP08901400          G01618      177224017500
SOUTH PASS 089 #B001A       SP089B01A0          G01618      177224005300
SOUTH PASS 089 #B002A       SP089B02A0          G01618      177224005700
SOUTH PASS 089 #B003        SP089B0300          G01618      177224006400
SOUTH PASS 089 #B004A       SP089B04A0          G01618      177224006800
SOUTH PASS 089 #B005        SP089B0500          G01618      177224008400
SOUTH PASS 089 #B006D       SP089B06D0          G01618      177224009500
SOUTH PASS 089 #B007        SP089B0700          G01618      177224008501
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Asset Name                  FWE Acct. Code   Lease Number        API
SOUTH PASS 089 #B008 ST1    SP089B0801          G01618      177224009901
SOUTH PASS 089 #B009 ST1    SP089B0901          G01618      177224008601
SOUTH PASS 089 #B010        SP089B1000          G01618      177224010900
SOUTH PASS 089 #B011 ST     SP089B1101          G01618      177224010403
SOUTH PASS 089 #B012        SP089B1200          G01618      177224011200
SOUTH PASS 089 #B013        SP089B1300          G01618      177224011704
SOUTH PASS 089 #B014        SP089B1400          G01618      177224011601
SOUTH PASS 089 #B015 ST3    SP089B1503          G01618      177224012703
SOUTH PASS 089 #B016 ST2    SP089B1602          G01618      177224014702
SOUTH PASS 089 #B017 ST     SP089B1701          G01618      177224015901
SOUTH PASS 089 #B018 ST2    SP089B1802          G01618      177224017602
SOUTH PASS 089 #B019 ST     SP089B1901          G01618      177224017901
SOUTH PASS 089 #B020 ST3    SP089B2003          G01618      177224016203
SOUTH PASS 089 #B022        SP089B2200          G01618      177224017800
SOUTH PELTO 001 #A002 ST1   PL001A0201          G04234      177134009201
SOUTH PELTO 001 #A004       PL001A0400          G04234      177134015600
SOUTH PELTO 001 #A005       PL001A0500          G04234      177134009800
SOUTH PELTO 001 #A006       PL001A0600          G04234      177134016100
SOUTH PELTO 009 #001        PL00900100          G02924      177134001300
SOUTH PELTO 009 #002        PL00900200          G02924      177134002300
SOUTH PELTO 009 #005        PL00900500          G02924      177134018700
SOUTH PELTO 009 #006        PL00900600          G02924      177134006100
SOUTH PELTO 009 #007        PL00900700          G02924      177134007800
SOUTH PELTO 009 #010        PL00901000          G02924      177134025300
SOUTH PELTO 010 #002        PL01000200          G02925      177134001000
SOUTH PELTO 010 #003        PL01000300          G02925      177134001400
SOUTH PELTO 010 #004        PL01000400          G02925      177134001600
SOUTH PELTO 010 #005        PL01000500          G02917      177114098000
SOUTH PELTO 010 #006 ST1    PL01000601          G02925      177134002101
SOUTH PELTO 010 #007        PL01000700          G02925      177134002200
SOUTH PELTO 010 #009 ST3    PL01000903          G02925      177134003303
SOUTH PELTO 010 #010        PL01001000          G02925      177134007200
SOUTH PELTO 010 #011 ST2    PL01001102          G02925      177134005102
SOUTH PELTO 010 #012 ST5    PL01001205          G02925      177134006705
SOUTH PELTO 010 #013 ST1    PL01001301          G02925      177134007402
SOUTH PELTO 010 #014        PL01001400          G02925      177134009400
SOUTH PELTO 010 #016 ST2    PL01001602          G02925      177134011802
SOUTH PELTO 010 #017 ST1    PL01001701          G02925      177134012301
SOUTH PELTO 010 #019 ST1    PL01001901          G02925      177134010601
SOUTH PELTO 010 #020        PL01002000          G02925      177134015800
SOUTH PELTO 010 #022 ST1    PL01002201          G02925      177134018201
SOUTH PELTO 010 #023 ST1    PL01002301          G02925      177134016601
SOUTH PELTO 010 #026        PL01002600          G02925      177134018000
SOUTH PELTO 010 #B025       PL010B2501          G02925      177134018301
SOUTH PELTO 011 #017        PL01101700           00071      177134003102
SOUTH PELTO 011 #019 ST1    PL01101901           00071      177134004501
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Asset Name                      FWE Acct. Code    Lease Number        API
SOUTH PELTO 011 #022            PL01102200            00071      177134012000
SOUTH PELTO 011 #025            PL01102500            00071      177134018900
SOUTH PELTO 011 #031            PL01103100            00071      177134022701
SOUTH PELTO 011 #032            PL01103200            00071      177134022600
SOUTH PELTO 011 #F001           PL011F0100            00071      177130000300
SOUTH PELTO 011 #F002           PL011F0200            00071      177134000500
SOUTH PELTO 011 #F003 ST        PL011F0300            00071      177134001700
SOUTH PELTO 013 #009            PL01300900           G03171      177134019701
SOUTH PELTO 025 #005 (ORRI)     PL02500502           G14535      177134024303
SOUTH PELTO 025 #006 (ORRI)     PL02500600           G14535      177134025003
SOUTH PELTO 025 #JA001          PL025JA01            G14535      177134019800
SOUTH PELTO 025 #JB001 (ORRI)   PL025JB012           G14535      177134020302
SOUTH TIMBALIER 049 #A001 ST2   ST049A0102           G24956      177154123902
SOUTH TIMBALIER 053 #004        ST05300401           G04000      177154043101
SOUTH TIMBALIER 053 #006        ST05300601           G04000      177154083500
SOUTH TIMBALIER 053 #A001       ST053A0101           G04000      177154034402
SOUTH TIMBALIER 053 #A002       ST053A0201           G04000      177154037601
SOUTH TIMBALIER 053 #A003       ST053A0301           G04000      177154038401
SOUTH TIMBALIER 053 #A004       ST053A0400           G04000      177154038500
SOUTH TIMBALIER 053 #A006       ST053A0601           G04000      177154039201
SOUTH TIMBALIER 053 #A007       ST053A0700           G04000      177154040400
SOUTH TIMBALIER 053 #A008       ST053A0800           G04000      177154040500
SOUTH TIMBALIER 053 #A009       ST053A0900           G04000      177154041500
SOUTH TIMBALIER 053 #A010       ST053A1001           G04000      177154043501
SOUTH TIMBALIER 053 #A011       ST053A1100           G04000      177154042400
SOUTH TIMBALIER 053 #A012       ST053A1201           G04000      177154042301
SOUTH TIMBALIER 053 #A013       ST053A1300           G04000      177154044000
SOUTH TIMBALIER 053 #A014       ST053A1400           G04000      177154042900
SOUTH TIMBALIER 053 #A015       ST053A1501           G04000      177154076901
SOUTH TIMBALIER 053 #A016       ST053A1601           G04000      177154043601
SOUTH TIMBALIER 053 #A017       ST053A1701           G04000      177154061101
SOUTH TIMBALIER 053 #A018       ST053A1801           G04000      177154061201
SOUTH TIMBALIER 053 #A019       ST053A1900           G04000      177154077200
SOUTH TIMBALIER 053 #A020       ST053A2001           G04000      177154077101
SOUTH TIMBALIER 053 #A021       ST053A2100           G04000      177154111000
SOUTH TIMBALIER 053 #C001       ST053C0100           G04000      177154067200
SOUTH TIMBALIER 053 #C002       ST053C0200           G04000      177154107300
SOUTH TIMBALIER 053 #I001       ST053I0100           G04000      177154031200
SOUTH TIMBALIER 067 #006        ST06700602       00020         177154078404
SOUTH TIMBALIER 148 #A001       ST148A0100           G01960      177154009400
SOUTH TIMBALIER 148 #A002       ST148A0200           G01960      177154013200
SOUTH TIMBALIER 148 #A003       ST148A0300           G01960      177154015800
SOUTH TIMBALIER 148 #A004       ST148A04             G01960      177154039700
SOUTH TIMBALIER 148 #A005       ST148A05             G01960      177154041100
SOUTH TIMBALIER 148 #A006       ST148A0600           G01960      177154074603
SOUTH TIMBALIER 148 #A007       ST148A0700           G01960       1771540890
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Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH TIMBALIER 148 #A008        ST148A0801          G01960      177154090501
SOUTH TIMBALIER 148 #A009        ST148A0903          G01960      177154095103
SOUTH TIMBALIER 205 #B001 ST1    ST205B0101          G05612      177154059001
SOUTH TIMBALIER 205 #B002A ST1   ST205B02A1          G05612      177154062901
SOUTH TIMBALIER 205 #B004 ST1    ST205B0401          G05612      177154081601
SOUTH TIMBALIER 205 #B005A       ST205B05A0          G05612      177154103300
SOUTH TIMBALIER 205 #G001 ST1    ST205G0101          G05612      177154106701
SOUTH TIMBALIER 205 #G003 ST1    ST205G0301          G05612      177154115301
SOUTH TIMBALIER 206 #A001 ST1    ST206A0101          G05613      177154057801
SOUTH TIMBALIER 206 #A002 ST1    ST206A0201          G05613      177154060101
SOUTH TIMBALIER 206 #A003        ST206A0300          G05613      177154061000
SOUTH TIMBALIER 206 #A004A       ST206A04A0          G05613      177154074300
SOUTH TIMBALIER 206 #A006        ST206A0600          G05613      177154075100
SOUTH TIMBALIER 206 #A007        ST206A0700          G05613      177154075200
SOUTH TIMBALIER 206 #A008        ST206A0800          G05613      177154075300
SOUTH TIMBALIER 206 #A009        ST206A0900          G05613      177154075400
SOUTH TIMBALIER 206 #A010ST2BP   ST206A1002          G05613      177154075702
SOUTH TIMBALIER 206 #B003 ST1    ST206B0301          G05613      177154074001
SOUTH TIMBALIER 206 #B006        ST206B0600          G05613      177154103000
SOUTH TIMBALIER 276 #A010 ST1    ST276A1001          G07780      177164013301
SOUTH TIMBALIER 276 #A019        ST276A1900          G07780      177164014500
SOUTH TIMBALIER 276 #A029        ST276A2900          G07780      177164022300
SOUTH TIMBALIER 290 #A025        ‐                   G16454      608104014901
SOUTH TIMBALIER 291 #A023        ST291A2300          G16455      608104014700
SOUTH TIMBALIER 295 #A001        ST295A0102          G05646      177164010302
SOUTH TIMBALIER 295 #A002        ST295A0200          G05646      177164005500
SOUTH TIMBALIER 295 #A003        ST295A0300          G05646      177164010400
SOUTH TIMBALIER 295 #A004        ST295A0400          G05646      177164011300
SOUTH TIMBALIER 295 #A005        ST295A0500          G05646      177164011600
SOUTH TIMBALIER 295 #A006        ST295A0600          G05646      177164011800
SOUTH TIMBALIER 295 #A007        ST295A0700          G05646      177164012000
SOUTH TIMBALIER 295 #A008        ST295A0800          G05646      177164012200
SOUTH TIMBALIER 295 #A009        ST295A0900          G05646      177164012300
SOUTH TIMBALIER 295 #A011        ST295A1100          G05646      177164012700
SOUTH TIMBALIER 295 #A012        ST295A1200          G05646      177164012400
SOUTH TIMBALIER 295 #A013 ST1    ST295A1301          G05646      177164012901
SOUTH TIMBALIER 295 #A014        ST295A1400          G05646      177164013400
SOUTH TIMBALIER 295 #A015        ST295A1500          G05646      177164013700
SOUTH TIMBALIER 295 #A016 ST1    ST295A1601          G05646      177164013901
SOUTH TIMBALIER 295 #A017        ST295A1700          G05646      177164014000
SOUTH TIMBALIER 295 #A018        ST295A1800          G05646      177164014400
SOUTH TIMBALIER 295 #A020        ST295A2000          G05646      177164014700
SOUTH TIMBALIER 295 #A021 ST2    ST295A2102          G05646      177164014902
SOUTH TIMBALIER 295 #A022 ST3    ST295A2203          G05646      177164017703
SOUTH TIMBALIER 295 #A023        ST295A2300          G05646      177164018000
SOUTH TIMBALIER 295 #A024        ST295A2400          G05646      177164018300
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Asset Name                      FWE Acct. Code   Lease Number        API
SOUTH TIMBALIER 295 #A025D      ST295A25D0          G05646      177164018100
SOUTH TIMBALIER 295 #A026       ST295A2600          G05646      177164018400
SOUTH TIMBALIER 295 #A027       ST295A2700          G05646      177164018500
SOUTH TIMBALIER 295 #A030       ST295A3000          G05646      177164022600
SOUTH TIMBALIER 295 #A031       ST295A3100          G05646      177164026100
SOUTH TIMBALIER 295 #A032       ST295A3200          G05646      177164027800
SOUTH TIMBALIER 295 #B001       ST295B0100          G05646      177164028900
SOUTH TIMBALIER 295 #B002 ST1   ST295B0201          G05646      177164029301
SOUTH TIMBALIER 295 #B003       ST295B0302          G05646      177164029202
SOUTH TIMBALIER 295 #B004 ST1   ST295B0401          G05646      177164029101
SOUTH TIMBALIER 295 #B005       ST295B0500          G05646      177164030000
SOUTH TIMBALIER 295 #B006 ST3   ST295B0603          G05646      177164030403
SOUTH TIMBALIER 296 #001        ST29600100          G12981      177164020900
SOUTH TIMBALIER 296 #A028       ST296A2800          G12981      177164021700
SOUTH TIMBALIER 311 # A 1       ST311A01            G31418      177164035500
SOUTH TIMBALIER 311 # A‐4       ST311A04            G31418      177164036400
SOUTH TIMBALIER 316 #A001       ST316A0100          G22762      177164028600
SOUTH TIMBALIER 316 #A002       ST316A0200          G22762      177164028800
SOUTH TIMBALIER 316 #A006       ST316A0602          G22762      177164035302
SOUTH TIMBALIER 320 #A002       ST320A02            G24990      177164036200
SOUTH TIMBALIER 320 #A003       ST320A03            G24990      177164036300
SOUTH TIMBALIER 320 #A005 ST    ST320A05            G24990      608104010401
tEAST CAMERON 278 #C010         EC278C1001          G00974      177044110001
VERMILION 261 #A001             VR261A0100          G03328      177064029000
VERMILION 261 #A002             VR261A0200          G03328      177064033000
VERMILION 261 #A004             VR261A0402          G03328      177064032902
VERMILION 261 #A005             VR261A0500          G03328      177064034600
VERMILION 261 #A007             VR261A0700          G03328      177064035400
VERMILION 261 #A008             VR261A0800          G03328      177064084900
VERMILION 262 #A006             VR262A06            G34257      177064035201
VERMILION 265 #A001 ST          VR265A0101          G01955      177064003101
VERMILION 265 #A002 ST1         VR265A0201          G01955      177064004701
VERMILION 265 #A003 ST1         VR265A0301          G01955      177064003201
VERMILION 265 #A006             VR265A0600          G01955      177064005300
VERMILION 265 #A007 ST1         VR265A0701          G01955      177064005501
VERMILION 265 #A010             VR265A1000          G01955      177064006200
VERMILION 265 #A014ST1          VR265A1401          G01955      177064029101
VERMILION 265 #A016ST1          VR265A1601          G01955      177064029301
VERMILION 265 #A017ST1          VR265A1701          G01955      177064033201
VERMILION 265 #A021             VR265A2100          G01955      177064057100
VERMILION 265 #A025             VR265A2500          G01955      177064057400
VERMILION 265 #A027ST1          VR265A2701          G01955      177064058101
VERMILION 271 #I003             VR271I0300          G04800      177064098100
VERMILION 326 #A001             VR326A0100          G21096      177064085000
VERMILION 369 #A014             VR369A1400          G02274      177064073400
VERMILION 369 #D001             VR369D01            G02274      177064087000
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Asset Name                      FWE Acct. Code   Lease Number        API
VERMILION 380 #009              VR38000900          G02580      177064080100
VERMILION 380 #A001 ST1         VR380A0101          G02580      177064044301
VERMILION 380 #A003 ST1         VR380A0301          G02580      177064044901
VERMILION 380 #A005             VR380A0500          G02580      177064046300
VERMILION 380 #A006 ST2         VR380A0602          G02580      177064046402
VERMILION 380 #A008 ST1         VR380A0801          G02580      177064046901
VERMILION 380 #A010             VR380A1000          G02580      177064047600
VERMILION 380 #A011             VR380A1100          G02580      177064048000
VERMILION 380 #A012             VR380A1200          G02580      177064048700
VERMILION 380 #A015 ST4         VR380A1504          G02580      177064049004
VERMILION 380 #A016 ST2         VR380A1602          G02580      177064084702
VERMILION 380 #A020 ST1         VR380A2001          G02580      177064095601
VERMILION 381 #A017             VR381A1700          G16314      177064085500
VERMILION 381 #A018 ST2         VR381A1802          G16314      177064085702
VERMILION 381 #A021 ST1         VR381A2101          G16314      177064095801
VIOSCA KNOLL 693 #001           VK69300100          G07898      608164015700
VIOSCA KNOLL 693 #002           VK69300200          G07898      608164016000
VIOSCA KNOLL 694 #001           VK69400100          G13055      608164016600
VIOSCA KNOLL 694 #002           VK69400200          G13055      608164016700
VIOSCA KNOLL 694 #003 ST1       VK69400301          G13055      608164036701
VIOSCA KNOLL 694 #004           VK69400400          G13055      608164039700
VIOSCA KNOLL 694 #A009          VK694A0900          G13055      177244073300
VIOSCA KNOLL 824 #004           VK82400402          G15436      608164032902
WEST CAMERON 033 #001           WC03300100          G15050      177004105100
WEST CAMERON 033 #001 SL16473   SL16473010           16473      177002024400
WEST CAMERON 033 #002 SL16473   SL16473020           16473      177002024500
WEST CAMERON 033 #N001 (EC2)    WC033N0100          G15050      177004124000
WEST CAMERON 033 #N002 (EC2)    WC033N0200          G15050      177004124600
WEST CAMERON 033 #N003 (EC2)    WC033N0300          G15050      177004125400
WEST CAMERON 033 #N004 (EC2)    WC033N0400          G15050      177004125500
WEST CAMERON 033 #O001          WC033O0100          G15050      177004126500
WEST CAMERON 033 #O002          WC033O0200          G15050      177004126600
WEST CAMERON 033 #O003          WC033O0300          G15050      177004126800
WEST CAMERON 033 #O004          WC033O0400          G15050      177004126900
WEST CAMERON 035 #A014          WC035A1400          G02819      177004017000
WEST CAMERON 035 #B005          WC035B0500          G02819      177004018600
WEST CAMERON 035 #B013          WC035B1300          G02819      177004024300
WEST CAMERON 035 #C003          WC035C0300          G02819      177004037600
WEST CAMERON 035 #C004          WC035C0401          G02819      177004038701
WEST CAMERON 035 #D005          WC035D0500          G01860      177004039101
WEST CAMERON 065 #008           WC06500801          G02825      177004103701
WEST CAMERON 065 #009           WC06500900          G02825      177004105500
WEST CAMERON 065 #B018          WC065B1800          G02825      177004098900
WEST CAMERON 065 #B019          WC065B1901          G02825      177004099501
WEST CAMERON 065 #B020 ST2      WC065B2001          G02825      177004099701
WEST CAMERON 065 #E007          WC065E0700          G02825      177004129600
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Asset Name                      FWE Acct. Code   Lease Number        API
WEST CAMERON 065 #JA001         WC065JA100          G02825      177004023300
WEST CAMERON 065 #JA002         WC065JA200          G02825      177004024600
WEST CAMERON 065 #JA003         WC065JA300          G02825      177004040400
WEST CAMERON 065 #JA004         WC065JA400          G02825      177004041500
WEST CAMERON 065 #JA005         WC065JA500          G02825      177004075400
WEST CAMERON 066 #A001          WC066A0100          G01860      177004011300
WEST CAMERON 066 #A002          WC066A0200          G01860      177004011800
WEST CAMERON 066 #A003          WC066A0300          G01860      177004012400
WEST CAMERON 066 #A004          WC066A0400          G01860      177004012600
WEST CAMERON 066 #A005          WC066A0500          G01860      177004012800
WEST CAMERON 066 #A006          WC066A0600          G01860      177004013200
WEST CAMERON 066 #A007 (WC35)   WC035A0700          G01860      177004013500
WEST CAMERON 066 #A008          WC066A0800          G01860      177004014100
WEST CAMERON 066 #A009          WC066A0900          G01860      177004014500
WEST CAMERON 066 #A010          WC066A1000          G01860      177004014700
WEST CAMERON 066 #A011          WC066A1100          G01860      177004014900
WEST CAMERON 066 #A012 (WC35)   WC035A1200          G01860      177004015700
WEST CAMERON 066 #A015          WC066A1500          G01860      177004096100
WEST CAMERON 066 #A016          WC066A1601          G01860      177004096601
WEST CAMERON 066 #A017          WC066A1700          G02826      177004100600
WEST CAMERON 066 #B002          WC066B0200          G02826      177004017600
WEST CAMERON 066 #B003          WC066B0300          G02826      177004017800
WEST CAMERON 066 #B004          WC066B0400          G02826      177004018300
WEST CAMERON 066 #B006          WC066B0600          G02826      177004019100
WEST CAMERON 066 #B007          WC066B0700          G02826      177004019600
WEST CAMERON 066 #B008D         WC066B08D0          G02826      177004020400
WEST CAMERON 066 #B009          WC066B0900          G02826      177004020801
WEST CAMERON 066 #B010          WC066B1000          G02826      177004021400
WEST CAMERON 066 #B012          WC066B1200          G02826      177004023000
WEST CAMERON 066 #B014          WC066B1401          G02826      177004022001
WEST CAMERON 066 #B015          WC066B1500          G02826      177004087600
WEST CAMERON 066 #B016          WC066B1601          G02826      177004097101
WEST CAMERON 066 #B017          WC066B1700          G02826      177004098700
WEST CAMERON 066 #C001          WC066C0102          G01860      177004010502
WEST CAMERON 066 #C002 ST3      WC066C0203          G01860      177004036603
WEST CAMERON 066 #C005 ST2      WC066C0502          G01860      177004098302
WEST CAMERON 066 #D007          WC066D0702          G01860      177004042902
WEST CAMERON 066 #E001          WC066E0100          G02826      177004034700
WEST CAMERON 066 #E002          WC066E0200          G02826      177004043400
WEST CAMERON 066 #E003          WC066E0300          G02826      177004047900
WEST CAMERON 066 #E004          WC066E0400          G02826      177004051500
WEST CAMERON 066 #E006          WC066E0600          G02826      177004087900
WEST CAMERON 071 #018           WC07101800           00244      177004029400
WEST CAMERON 071 #023           WC07102300           00244      177004040500
WEST CAMERON 071 #026           WC07102600           00244      177004067600
WEST CAMERON 071 #027           WC07102700           00244      177004069700
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Asset Name                  FWE Acct. Code   Lease Number        API
WEST CAMERON 071 #028       WC07102800           00244      177004071000
WEST CAMERON 071 #031       WC07103100           00244      177004118900
WEST CAMERON 071 #D001      WC071D0100           00244      177002000100
WEST CAMERON 071 #D003      WC071D0300           00244      177002004800
WEST CAMERON 071 #D005      WC071D0501           00244      177002004101
WEST CAMERON 071 #D006      WC071D0600           00244      177002006900
WEST CAMERON 071 #D009      WC071D0900           00244      177002008000
WEST CAMERON 071 #F001      WC071F0100           00244      177004102400
WEST CAMERON 071 #F002      WC071F0200           00244      177004102600
WEST CAMERON 072 #001       WC07200100          G23735      177004114900
WEST CAMERON 072 #002       WC07200200          G23735      177004119400
WEST CAMERON 072 #003       WC07200301          G23735      177004125001
WEST CAMERON 102 #002       WC10200200           00247      177002009300
WEST CAMERON 102 #005       WC10200500           00247      177004006800
WEST CAMERON 102 #007       WC10200700           00247      177004008600
WEST CAMERON 102 #008       WC10200800           00247      177004009400
WEST CAMERON 102 #022       WC10202200           00247      177004064300
WEST CAMERON 102 #024       WC10202400           00247      177004062500
WEST CAMERON 102 #H001      WC102H0100           00247      177004103400
WEST CAMERON 102 #H002      WC102H0202           00247      177004104402
WEST CAMERON 110 #006       WC11000600           00081      177002002700
WEST CAMERON 110 #007       WC11000700           00081      177002003000
WEST CAMERON 110 #010 ST1   WC11001001           00081      177004025001
WEST CAMERON 110 #011       WC11001100           00081      177004083400
WEST CAMERON 110 #012 ST2   WC11001202           00081      177004086302
WEST CAMERON 110 #014 ST2   WC11001402           00081      177004090002
WEST CAMERON 110 #015 ST1   WC11001501           00081      177004106501
WEST CAMERON 110 #018 ST2   WC11001802           00081      177004127002
WEST CAMERON 110 #019 ST1   WC11001901           00081      177004127801
WEST CAMERON 110 #05A       WC1105AD64           00081      177002002200
WEST CAMERON 110 #A001      WC110A0100           00081      177000013100
WEST CAMERON 110 #A002C     WC110A02C0           00081      177000013200
WEST CAMERON 110 #A003      WC110A0300           00081      177000013300
WEST CAMERON 110 #A004      WC110A0400           00081      177000013400
WEST CAMERON 110 #A005      WC110A0500           00081      177000038900
WEST CAMERON 110 #A006      WC110A0600           00081      177002004000
WEST CAMERON 110 #C001      WC110C0100           00081      177004112500
WEST CAMERON 110 #F001      WC110F0100           00081      177004107300
WEST CAMERON 110 #F002      WC110F0200           00081      177004119300
WEST CAMERON 290 #002       WC29002             G04818      177014018400
WEST CAMERON 290 #A001      WC290A0100          G04818      177014020700
WEST CAMERON 290 #A002      WC290A0200          G04818      177014024200
WEST CAMERON 290 #A003      WC290A0300          G04818      177014029100
WEST CAMERON 295 #A001      WC295A0101          G24730      177014037501
WEST CAMERON 295 #A002      WC295A0201          G24730      177014039001
WEST CAMERON 67 #D1         WC067D0100          G03256      177004031600
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Asset Name                   FWE Acct. Code   Lease Number        API
WEST CAMERON 67 #D10         ‐                   G03256      177004098501
WEST CAMERON 67 #D6          ‐                   G03256      177004040700
WEST CAMERON 67 #D9          WC067D0900          G03256      177004078600
WEST DELTA 053 #001          WD05300100           17935      170752037400
WEST DELTA 068 #U001         WD068U0100           00180      177190136200
WEST DELTA 068 #U004         WD068U0400           00180      177192007000
WEST DELTA 068 #U005 ST2     WD068U0502           00180      177192007502
WEST DELTA 068 #U006         WD068U0600           00180      177192008600
WEST DELTA 068 #U009         WD068U0900           00180      177192011401
WEST DELTA 068 #U011         WD068U11             00180      177192013603
WEST DELTA 068 #U013 ST2     WD068U1302           00180      177194065102
WEST DELTA 068 #U014         WD068U1400           00180      177194065300
WEST DELTA 069 #D007 ST2     WD069D0702           00181      177190063802
WEST DELTA 070 #D001D        WD070D0100           00182      177190063300
WEST DELTA 070 #D005         WD070D0500           00182      177190063600
WEST DELTA 070 #D008         WD070D0800           00182      177190063900
WEST DELTA 070 #D009         WD070D0900           00182      177190064000
WEST DELTA 070 #D010         WD070D1000           00182      177190066700
WEST DELTA 070 #D011         WD070D1100           00182      177194036800
WEST DELTA 070 #D012         WD070D1200           00182      177194037200
WEST DELTA 070 #D013         WD070D1300           00182      177194057000
WEST DELTA 070 #D014         WD070D1400           00182      177194057200
WEST DELTA 070 #E001 ST1     WD070E0101           00182      177190108201
WEST DELTA 070 #E002         WD070E0200           00182      177190067800
WEST DELTA 070 #E003         WD070E0300           00182      177190066500
WEST DELTA 070 #FF001        WD070FF100           00182      177194084200
WEST DELTA 070 #FF002        WD070FF200           00182      177194084300
WEST DELTA 070 #FF003        WD070FF300           00182      177194084400
WEST DELTA 070 #I003 ST1     WD070I0301           00182      177190091301
WEST DELTA 070 #I004         WD070I0400           00182      177190091500
WEST DELTA 070 #I005 ST1     WD070I0501           00182      177190095001
WEST DELTA 070 #I006 ST      WD070I0601           00182      177190095101
WEST DELTA 070 #I008 ST1     WD070I0801           00182      177190102101
WEST DELTA 070 #I010 ST1     WD070I1001           00182      177190105701
WEST DELTA 070 #I012 STBP2   WD070I1202           00182      177194010702
WEST DELTA 070 #I013         WD070I1300           00182      177194038400
WEST DELTA 070 #I014         WD070I1400           00182      177194061100
WEST DELTA 070 #I015         WD070I1500           00182      177194061300
WEST DELTA 070 #I016 ST      WD070I1601           00182      177194064201
WEST DELTA 070 #I017         WD070I1700           00182      177194064600
WEST DELTA 070 #L003         WD070L0300           00182      177190113800
WEST DELTA 070 #L004         WD070L0400           00182      177190115100
WEST DELTA 070 #L005         WD070L0500           00182      177190115500
WEST DELTA 070 #L006         WD070L0600           00182      177190115000
WEST DELTA 070 #L010         WD070L1000           00182      177190119500
WEST DELTA 070 #L011         WD070L1100           00182      177190121400
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Asset Name                    FWE Acct. Code   Lease Number        API
WEST DELTA 071 #E006          WD071E0600           00838      177190073200
WEST DELTA 071 #E007 ST1      WD071E0701           00838      177190095601
WEST DELTA 071 #E009 ST1      WD071E0901           00838      177190091701
WEST DELTA 071 #E010          WD071E1000           00838      177190095700
WEST DELTA 071 #O001 ST2      WD071O0102           00838      177190118502
WEST DELTA 071 #O003          WD071O0300           00838      177190121500
WEST DELTA 071 #O004 ST1      WD071O0401           00838      177190124301
WEST DELTA 071 #O005          WD071O0501           00838      177190125001
WEST DELTA 071 #O006          WD071O0601           00838      177190127101
WEST DELTA 071 #O007          WD071O0702           00838      177190129602
WEST DELTA 071 #O009          WD071O0900           00838      177190133600
WEST DELTA 071 #O010          WD071O1000           00838      177194002500
WEST DELTA 071 #O013          WD071O1303           00838      177192001102
WEST DELTA 075 #A004B         WD075A04B0          G01085      177190074300
WEST DELTA 075 #A010D         WD075A10D0          G01085      177190082700
WEST DELTA 075 #A015          WD075A1500          G01085      177194030300
WEST DELTA 075 #B002          WD075B0201          G01085      177190131301
WEST DELTA 075 #B009          WD075B0900          G01085      177190136800
WEST DELTA 075 #B017 ST       WD075B1701          G01085      177194019501
WEST DELTA 075 #B024          WD075B2400          G01085      177194045700
WEST DELTA 075 #B026 ST       WD075B2601          G01085      177194046601
WEST DELTA 075 #F002 ST2      WD075F0200          G01085      177194042800
WEST DELTA 075 #G002          WD075G0200          G01085      177194056600
WEST DELTA 090 #A001          WD090A0100          G01089      177190061600
WEST DELTA 090 #A005          WD090A0500          G01089      177190128700
WEST DELTA 090 #A009D         WD090A09D0          G01089      177190077300
WEST DELTA 090 #B004 ST1      WD090B0401          G01089      177190132101
WEST DELTA 090 #B011 ST       WD090B1101          G01089      177192000801
WEST DELTA 090 #B018          WD090B1800          G01089      177194040400
WEST DELTA 090 #B020          WD090B2001          G01089      177190135901
WEST DELTA 090 #B021          WD090B2100          G01089      177194041500
WEST DELTA 090 #B027          WD090B2700          G01089      177194046700
WEST DELTA 090 #F004          WD090F0400          G01089      177194057700
WEST DELTA 090 #F005 ST2      WD090F0502          G01089      177194057902
WEST DELTA 090 #F006          WD090F0600          G01089      177194058601
WEST DELTA 094 #V001          WD094V0100           00839      177192005700
WEST DELTA 094 #V002          WD094V0200           00839      177192011600
WEST DELTA 094 #V003          WD094V0300           00839      177192014900
WEST DELTA 094 #V004          WD094V0400           00839      177192015500
WEST DELTA 094 #V014          WD094V1400           00839      177194039000
WEST DELTA 094 #V015          WD094V1500           00839      177194064000
WEST DELTA 094 #V016          WD094V1602           00839      177194063902
WEST DELTA 095 #S005 ST1BP1   WD095S0502          G01497      177190126202
WEST DELTA 095 #S006          WD095S0600          G01497      177190135400
WEST DELTA 095 #S008          WD095S0800          G01497      177190127700
WEST DELTA 095 #S010 ST1      WD095S1001          G01497      177192000101
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Asset Name                    FWE Acct. Code   Lease Number        API
WEST DELTA 095 #S012 ST       WD095S1201          G01497      177192002301
WEST DELTA 095 #X001 ST       WD095X0101          G01497      177194002901
WEST DELTA 095 #X003          WD095X0300          G01497      177194003200
WEST DELTA 095 #X007 ST1      WD095X0701          G01497      177194003701
WEST DELTA 095 #X010 ST2      WD095X1001          G01497      177194055301
WEST DELTA 095 #X011          WD095X1100          G01497      177194055700
WEST DELTA 095 #X012D         WD095X12D0          G01497      177194055900
WEST DELTA 096 #S002 ST1BP1   WD096S0202          G01498      177190123402
WEST DELTA 096 #S007 ST1      WD096S0701          G01498      177190132901
WEST DELTA 096 #X004 ST1      WD096X0401          G01498      177194003301
WEST DELTA 096 #X006 ST2      WD096X0602          G01498      177194003502
WEST DELTA 096 #X009          WD096X0900          G01498      177194004000
WEST DELTA 103 #F001 ST1      WD103F0101          G12360      177194054801
WEST DELTA 103 #F002          WD103F0200          G12360      177194055100
WEST DELTA 103 #F003          WD103F0300          G12360      177194058200
WEST DELTA 103 #F007          WD103F0700           00840      177194083800
WEST DELTA 104 #D005          WD104D0500           00841      177190116200
WEST DELTA 104 #D009          WD104D0900           00841      177190118400
WEST DELTA 104 #D010 ST       WD104D1001           00841      177190119801
WEST DELTA 104 #D011          WD104D1100           00841      177190119900
WEST DELTA 104 #D012          WD104D1200           00841      177190120500
WEST DELTA 104 #D013          WD104D1300           00841      177194068900
WEST DELTA 104 #D014          WD104D1400           00841      177194083900
WEST DELTA 104 #E004          WD104E0401           00841      177194040901
WEST DELTA 104 #E009          WD104E0901           00841      177194041601
WEST DELTA 104 #E010          WD104E1002           00841      177194040702
WEST DELTA 104 #E015          WD104E1504           00841      177194042504
WEST DELTA 104 #E020          WD104E2001           00841      177194064901
WEST DELTA 105 #D003          WD105D0300           00842      177190114300
WEST DELTA 105 #E001 ST3      WD105E0103           00842      177194039803
WEST DELTA 105 #E002 ST1      WD105E0201           00842      177194039901
WEST DELTA 105 #E003          WD105E0301           00842      177194040001
WEST DELTA 105 #E005A         WD105E05A0           00842      177194040500
WEST DELTA 105 #E006          WD105E0600           00842      177194041000
WEST DELTA 105 #E007          WD105E0700           00842      177194040600
WEST DELTA 105 #E008 ST1      WD105E0801           00842      177194041101
WEST DELTA 105 #E011          WD105E1101           00842      177194041401
WEST DELTA 105 #E012          WD105E1200           00842      177194041800
WEST DELTA 105 #E013 ST1      WD105E1301           00842      177194042001
WEST DELTA 105 #E014          WD105E1400           00842      177194043200
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Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
BRAZOS 491 P/F‐4                 BA4914CAS          G06069         BA491           100.0%
BRAZOS 491 P/F‐5                 BA4915CAS          G06069         BA491           100.0%
BRAZOS 491 P/F‐A                 BA491AWP           G06069         BA491           100.0%
BRAZOS A‐105 P/F‐A               BAA105PFA          G01757        BAA105            12.5%
BRAZOS A‐105 P/F‐B               BAA105PFB          G01757        BAA105            12.5%
BRAZOS A‐133 P/F‐A               BAA133APLT         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐B               BAA133BPLT         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐C‐AUX           BAA133CAUX         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐D               BAA133DPLT         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐E               BAA133EPLT         G02665        BAA133            25.0%
CHANDELEUR 043 P/F‐A             CA43APLT           G32268         CA043        50.00%
EAST CAMERON 002 P/F‐1 SL16475   SL164751PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐1 SL18121   SL181211PT          18121         EC002       50.0000%
EAST CAMERON 002 P/F‐1/1D16473   SL164731PT          16473         EC002       89.0625%
EAST CAMERON 002 P/F‐2 SL16475   SL164752PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐2/2D16473   SL164732PT          16473         EC002       89.0625%
EAST CAMERON 002 P/F‐3/3D16475   SL164753PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐4/4D16475   SL164754PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐5 SL16475   SL164755PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐B (SL)      EC2BSL              16475         EC002       89.0625%
EAST CAMERON 002 P/F‐C SL16475   EC2CPLT             16475         EC002       89.0625%
EAST CAMERON 014 P/F‐12          EC1412CAS          G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐13          EC1413CAS          G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐B           EC014PFB           G13572         EC014      100.0000%
EAST CAMERON 014 P/F‐CF          EC14CFPLT          G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐CF‐2        EC14CF2PLT         G01440         EC014      100.0000%
EAST CAMERON 265 P/F‐D           EC265DPLT          G00972         EC265       50.0000%
EAST CAMERON 278 P/F‐B           EC278BPLT          G00974         EC278       50.0000%
EAST CAMERON 278 P/F‐C           EC278CPLT          G00974         EC278       50.0000%
EAST CAMERON 338 P/F‐A           EC338PFA           G02063         EC338       15.6694%
EUGENE IS 053 P/F‐10             EI5310CAS           00479         EI053      100.0000%
EUGENE IS 053 P/F‐12             EI5312CAS           00479         EI053      100.0000%
EUGENE IS 053 P/F‐8              EI538CAS            00479         EI053       66.6667%
EUGENE IS 053 P/F‐9              EI539PLT            00479         EI053       66.6667%
EUGENE IS 053 P/F‐B              EI53BPLT            00479         EI053       66.6667%
EUGENE IS 053 P/F‐C              EI53CPLT            00479         EI053       83.3334%
EUGENE IS 053 P/F‐D              EI53DCAS            00479         EI053      100.0000%
EUGENE IS 053 P/F‐G              EI53GCAS            00479         EI053       66.6667%
EUGENE IS 089 P/F‐23             EI089PF23           00044         EI089       75.0000%
EUGENE IS 119 P/F‐13             EI11913CAS          00050         EI119      100.0000%
EUGENE IS 119 P/F‐30             EI11930WP           00049         EI119      100.0000%
EUGENE IS 119 P/F‐33             EI11933CAS          00049         EI119      100.0000%
EUGENE IS 119 P/F‐33‐AUX         EI11933AUX          00049         EI119      100.0000%
EUGENE IS 119 P/F‐34             EI11934CAS          00049         EI119      100.0000%
EUGENE IS 119 P/F‐35             EI11935CAS          00049         EI119      100.0000%
EUGENE IS 119 P/F‐37             EI11937CAS          00049         EI119       50.0000%
EUGENE IS 119 P/F‐37 H           EI11937HCA          00049         EI119       50.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block       WI
EUGENE IS 119 P/F‐F             EI119FPLT           00049         EI119      100.0000%
EUGENE IS 119 P/F‐I             EI119IPLT           00049         EI119      100.0000%
EUGENE IS 119 P/F‐I‐8           EI119I8CAS          00050         EI119      100.0000%
EUGENE IS 119 P/F‐K             EI119KPLT           00049         EI119      100.0000%
EUGENE IS 119 P/F‐M‐4           EI119M4WP           00049         EI119      100.0000%
EUGENE IS 119 P/F‐M‐7           EI119M7CAS          00049         EI119      100.0000%
EUGENE IS 120 P/F‐11            EI12011CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐12            EI12012CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐14            EI12014CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐15            EI12015CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐17            EI12017CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐19            EI12019CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐20            EI12020CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐9             EI1209CAS           00050         EI120      100.0000%
EUGENE IS 120 P/F‐CF‐QTRS       EI120CFQTR          00050         EI120      100.0000%
EUGENE IS 120 P/F‐CMP1          EI120CMP1           00050         EI120      100.0000%
EUGENE IS 120 P/F‐CMP2          EI120CMP2           00050         EI120      100.0000%
EUGENE IS 120 P/F‐FIRE STA      EI120FIRE           00050         EI120      100.0000%
EUGENE IS 120 P/F‐PROD          EI120PRD            00050         EI120      100.0000%
EUGENE IS 120 P/F‐SC            EI120SCPLT          00050         EI120      100.0000%
EUGENE IS 125 P/F‐2             EI1252CAS           00051         EI125      100.0000%
EUGENE IS 125 P/F‐A             EI125APLT           00051         EI125      100.0000%
EUGENE IS 125 P/F‐R             EI125RPLT           00051         EI125      100.0000%
EUGENE IS 126 P/F‐12            EI12612CAS          00052         EI126      100.0000%
EUGENE IS 126 P/F‐31            EI12631CAS          00052         EI126      100.0000%
EUGENE IS 136 P/F‐1             EI1361CAS          G03152         EI136      100.0000%
EUGENE IS 136 P/F‐JA            EI136JAPLT         G03152         EI136      100.0000%
EUGENE IS 158 P/F‐14            EI15814CAS         G01220         EI158      100.0000%
EUGENE IS 158 P/F‐B             EI158BPLT          G01220         EI158      100.0000%
EUGENE IS 158 P/F‐C             EI158CPLT          G01220         EI158      100.0000%
EUGENE IS 158 P/F‐C‐QRT         EI158CQTR          G01220         EI158      100.0000%
EUGENE IS 158 P/F‐JB            EI158JBPLT         G01220         EI158      100.0000%
EUGENE IS 173 P/F‐G             EI173GPLT          G13622         EI173      100.0000%
EUGENE IS 175 P/F‐C‐PROD        EI175CPRD            438          EI175       75.0000%
EUGENE IS 175 P/F‐D             EI175DPLT            438          EI175       75.0000%
EUGENE IS 175 P/F‐F             EI175FPLT            438          EI175       75.0000%
EUGENE IS 175 P/F‐H             EI175HCAS            438          EI175       75.0000%
EUGENE IS 175 P/F‐I             EI175ICAS            438          EI175       75.0000%
EUGENE IS 175 P/F‐J             EI175JPLT            438          EI175       75.0000%
EUGENE IS 187 P/F‐2             EI187PF2           G10736         EI187      100.0000%
EUGENE IS 187 P/F‐JC            EI187JCPLT         G10736         EI187      100.0000%
EUGENE IS 187 P/F‐JD            EI187JDPLT         G10736         EI187      100.0000%
EUGENE IS 188 P/F‐A             EI188APLT           00443         EI188      100.0000%
EUGENE IS 188 P/F‐JE            EI188JEPLT         G10736         EI188      100.0000%
EUGENE IS 188 P/F‐P‐VALVE       EI188PVALV          00443         EI188      100.0000%
EUGENE IS 189 P/F‐B             EI189BPLT            423          EI189      100.0000%
EUGENE IS 189 P/F‐JG            EI189JGPLT           423          EI189      100.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block        WI
EUGENE IS 212 P/F‐A             EI212APLT          G05503          EI212      66.6667%
EUGENE IS 224 P/F‐A             EI224APLT          G05504          EI224     100.0000%
EUGENE IS 224 P/F‐C             EI224CPLT          G05504          EI224     100.0000%
EUGENE IS 296 P/F‐B             EI296PFB          G01687M         EI 296      85.5270%
EUGENE IS 307 P/F‐A             EI307PFA           G02110          EI307       0.0000%
EUGENE IS 307 P/F‐B             EI307PFB           G02110          EI307       0.0000%
EUGENE IS 312 P/F‐D             EI312PFD           G22679          EI312       0.0000%
EUGENE IS 315 P/F‐A             EI315APLT          G24912          EI315      75.2917%
EUGENE IS 315 P/F‐C             EI315PFC           G24912          EI315      25.0000%
EUGENE IS 316 P/F‐A             EI316APLT          G05040          EI316     100.0000%
EUGENE IS 330 P/F A C S         EI330ACSPF         G02115          EI330      27.0000%
EUGENE IS 330 P/F‐B             EI330BPLT          G02115          EI330      65.0249%
EUGENE IS 330 P/F‐D             EI330DPLT          G02115          EI330      70.0249%
EUGENE IS 333 P/F‐B             EI333BPLT          G02317          EI333     100.0000%
EUGENE IS 334 P/F‐D             EI334DPLT          G15263          EI334     100.0000%
EUGENE IS 337 P/F‐A             EI337APLT          G03332          EI337     100.0000%
EUGENE IS 342 P/F‐C             EI342CPLT          G02319          EI342      67.4286%
EUGENE IS 346 P/F‐A             EI346APLT          G14482          EI346     100.0000%
EUGENE IS 353 P/F‐D             EI353PFD           G02324          EI353       3.7850%
EUGENE IS 354 P/F‐D             EI354DPLT          G10752          EI354     100.0000%
EUGENE IS 360 P/F‐C             EI360PFC           G02324          EI360       3.2730%
EUGENE IS 360 P/F‐E             EI360PFE           G02324          EI360       4.3730%
EUGENE IS 361 P/F‐A             EI361PFA           G02324          EI361       6.7568%
EWING BANK 826 P/F‐A            EW826APLT          G05800         EW826      100.0000%
GALVESTON 210 P/F‐1             GA2101CAS          G25524         GA210       66.6700%
GALVESTON 210 P/F‐2             GA2102CAS          G25524         GA210       66.6700%
GALVESTON 210 P/F‐B             GA210BPLT          G25524         GA210       66.6700%
GRAND ISLE 039 P/F‐Q            GI39QPLT            00127          GI039      75.0000%
GRAND ISLE 040 P/F‐G            GI40GPLT            00128          GI040      75.0000%
GRAND ISLE 040 P/F‐M            GI40MPLT            00128          GI040      75.0000%
GRAND ISLE 041 P/F‐B            GI41BPLT            00129          GI041      75.0000%
GRAND ISLE 041 P/F‐D            GI041PFD            00129          GI041      75.0000%
GRAND ISLE 041 P/F‐E            GI41EPLT            00130          GI041      75.0000%
GRAND ISLE 041 P/F‐H            GI41HPLT            00130          GI041      75.0000%
GRAND ISLE 041 P/F‐I            GI41ICAS            00132          GI041      75.0000%
GRAND ISLE 042 P/F‐C            GI42CPLT            00131          GI042      75.0000%
GRAND ISLE 042 P/F‐F            GI42FPLT            00131          GI042      75.0000%
GRAND ISLE 043 P/F‐AC‐CMP       GI043PFAC           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AP‐QRT       GI43APPLT           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AQ‐QRT       GI43AQPLT           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AR‐RSR       GI43ARPLT           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AS‐SEP       GI43ASPLT           00175          GI043      75.0000%
GRAND ISLE 047 P/F‐A            GI47APLT            00133          GI047      75.0000%
GRAND ISLE 047 P/F‐AP           GI47APPLT           00133          GI047      75.0000%
GRAND ISLE 047 P/F‐AQ‐QTRS      GI47AQPLT           00133          GI047      75.0000%
GRAND ISLE 047 P/F‐AX (BRACE)   GI47AXPLT           00133          GI047      75.0000%
GRAND ISLE 047 P/F‐L            GI47LPLT            00133          GI047      75.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block        WI
GRAND ISLE 047 P/F‐O            GI47OPLT            00133         GI047       75.0000%
GRAND ISLE 048 P/F‐E            GI48EPLT            00134         GI048       75.0000%
GRAND ISLE 048 P/F‐J            GI48JPLT            00134         GI048       75.0000%
GRAND ISLE 048 P/F‐P            GI48PPLT            00134         GI048       75.0000%
GRAND ISLE 054 P/F‐A            GI54APLT           G27173         GI054       50.0000%
GRAND ISLE 076 P/F‐A            GI076PFA           G02161         GI076       95.8333%
GRAND ISLE 116 P/F‐A            GI116APLT          G13944         GI116       50.0000%
HIGH ISLAND 110 P/F‐A           HI110PFA           G02353         HI110       20.0000%
HIGH ISLAND 110 P/F‐B           HI110PFB           G02353         HI110       20.0000%
HIGH ISLAND 120 P/F‐A‐PROCESS   HI120APROC         G01848         HI120         34.33%
HIGH ISLAND 129 P/F‐1           HI1291CAS          G01848         HI129        0.0000%
HIGH ISLAND 129 P/F‐16          HI12916CAS         G01848         HI129        0.0000%
HIGH ISLAND 129 P/F‐17          HI12917CAS         G01848         HI129       90.0000%
HIGH ISLAND 129 P/F‐18          HI129PF18          G01848         HI129       27.0000%
HIGH ISLAND 129 P/F‐5/6         HI1295PLT          G01848         HI129       90.0000%
HIGH ISLAND 129 P/F‐CPF         HI129CPF           G01848         HI129        0.0000%
HIGH ISLAND 179 P/F‐A           HI179APLT          G03236         HI179       69.0750%
HIGH ISLAND 206 P/F‐B           HI206BPLT          G20660         HI206      100.0000%
HIGH ISLAND A‐341 P/F‐B         HIA341BPLT         G25605         HIA341      60.0000%
HIGH ISLAND A‐376 P/F‐A         HIA376APLT         G02754         HIA376      48.8298%
HIGH ISLAND A‐376 P/F‐B         HIA376BPLT         G02754         HIA376      48.8298%
HIGH ISLAND A‐376 P/F‐C         HIA376CPLT         G02754         HIA376      48.8298%
HIGH ISLAND A‐382 P/F‐F         HIA382FPLT         G02757         HIA382      72.4106%
HIGH ISLAND A‐474 P/F‐A         HIA474PFA          G02366         HIA474      10.0000%
HIGH ISLAND A‐489 P/F‐B         HIA489PFB          G02372         HIA489       8.5000%
HIGH ISLAND A‐545 P/F‐JA        HIA545JAPT         G17199         HIA545      60.0000%
HIGH ISLAND A‐573 P/F‐A         HIA573APLT         G02393         HIA573      72.4102%
HIGH ISLAND A‐573 P/F‐B         HIA573BPLT         G02393         HIA573      72.4102%
HIGH ISLAND A‐582 P/F‐C         HIA582PFC          G02719         HIA582      18.0975%
HIGH ISLAND A‐582 P/F‐D         HIA582PFD          G02719         HIA582      36.5786%
HIGH ISLAND A‐595 P/F‐CF        HIA595CFPT         G02721         HIA595      72.4102%
HIGH ISLAND A‐595 P/F‐D         HIA595DPLT         G02721         HIA595      72.4102%
HIGH ISLAND A‐596 P/F‐E         HIA596EPLT         G02722         HIA596      72.4102%
MAIN PASS 077 P/F‐A             MP077PFA           G04481         MP077       26.1683%
MAIN PASS 140 P/F‐A             MP140APLT          G02193         MP140       65.0000%
MAIN PASS 140 P/F‐B             MP140BPLT          G02193         MP140       65.0000%
MAIN PASS 153 P/F‐B             MP153BPLT          G01967         MP153       50.0000%
MAIN PASS 153 P/F‐C             MP153CPLT          G01967         MP153       50.0000%
MAIN PASS 259 P/F‐A             MP259APLT          G07827         MP259       56.9016%
MAIN PASS 275 P/F‐A             MP275APLT          G15395         MP275      100.0000%
MAIN PASS 289 P/F‐B             MP289BPLT          G01666         MP289      100.0000%
MAIN PASS 289 P/F‐C             MP289CPLT          G01666         MP289      100.0000%
MAIN PASS 296 P/F‐B             MP296BPLT          G01673         MP296       55.0343%
MAIN PASS 296 P/F‐C             MP296CPLT          G01673         MP296       50.4846%
MAIN PASS 301 P/F‐A             MP301PFA           G04486         MP301       22.7793%
MAIN PASS 301 P/F‐B             MP301PFB           G04486         MP301       22.7793%
MAIN PASS 308 P/F‐A             MP308APLT          G32265         MP308      100.0000%
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Asset Name                       FWE Acct. Code   Lease Number   Area/Block        WI
MAIN PASS 310 P/F‐A              MP310APLT          G04126         MP310      100.0000%
MAIN PASS 310 P/F‐JA             MP310JAPT          G04126         MP310      100.0000%
MAIN PASS 311 P/F‐A              MP311APLT          G02213         MP311       50.0000%
MAIN PASS 311 P/F‐B              MP311BPLT          G02213         MP311       50.0000%
MATAGORDA IS 622 P/F‐C           MI622CPLT          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐COMPRES   MI622CCMP          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐PRD       MI622CPRD          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐QRT       MI622CQTR          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐D           MI622DPLT          G05000         MI622       81.0000%
MATAGORDA IS 623 P/F‐B‐DRIL      MI623BPLT          G03088         MI623       81.0000%
MATAGORDA IS 623 P/F‐B‐PRD       MI623BPRD          G03088         MI623       81.0000%
MATAGORDA IS 623 P/F‐H           MI623HPLT          G03088         MI623      100.0000%
MATAGORDA IS 635 P/F‐F           MI635FPLT          G06043         MI635       81.0000%
MATAGORDA IS 635 P/F‐G           MI635GPLT          G05000         MI635       81.0000%
MISSISSIPPI CANYON 311 P/F‐A     MC311APLT          G02968         MC311      100.0000%
MOBILE 821 P/F‐A‐QRT             MO821AQTR          G05058         MO821      100.0000%
MOBILE 826 P/F‐D                 MO826DPLT          G26176         MO826       75.0000%
NORTH PADRE IS 969 P/F‐JA        PN969PFJA          G05953         PN969        1.2500%
NORTH PADRE IS 975 P/F‐A         PN975PFA           G05953         PN969        1.2500%
SHIP SHOAL 030 #011 CAS P/F      SS030PF11           00333         SS030       28.9474%
SHIP SHOAL 030 #013 CAS P/F      SS030PF13           00333         SS030       28.9474%
SHIP SHOAL 030 P/F‐14            SS030PF14           00333         SS030       28.9474%
SHIP SHOAL 031 P/F‐10            SS031PF10           00334         SS031       28.9474%
SHIP SHOAL 031 P/F‐A             SS031PFA            00333         SS031       28.9474%
SHIP SHOAL 032 P/F‐18            SS032PF18           00335         SS032       28.9474%
SHIP SHOAL 032 P/F‐20            SS032PF20           00335         SS032       28.9474%
SHIP SHOAL 032 P/F‐24            SS032PF24           00335         SS032       28.9474%
SHIP SHOAL 032 P/F‐E‐1           SS032PFE            00335         SS032       28.9474%
SHIP SHOAL 033 #005 CAS P/F      SS033PF05           00336         SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐1           SS033PFC1           00336         SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐2           SS033PFC2           00336         SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐3(PROD)     SS033PFC3           00336         SS033       28.9474%
SHIP SHOAL 068 P/F‐05            SS685CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐10            SS6810CAS          G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐2             SS682CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐4             SS684CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐9             SS689CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐F             SS68FPLT           G02925         SS068      100.0000%
SHIP SHOAL 091 P/F‐A             SS91APLT           G02919         SS091      100.0000%
SHIP SHOAL 091 P/F‐B             SS91BPLT           G02919         SS091      100.0000%
SHIP SHOAL 105 P/F‐A             SS105APLT          G09614         SS105      100.0000%
SHIP SHOAL 105 P/F‐B             SS105BPLT          G09614         SS105      100.0000%
SHIP SHOAL 126 P/F‐B             SS126BPLT          G12940         SS126      100.0000%
SHIP SHOAL 129 P/F‐A             SS129APLT          G12941         SS129      100.0000%
SHIP SHOAL 129 P/F‐A‐AUX         SS129AAUX          G12941         SS129      100.0000%
SHIP SHOAL 129 P/F‐B             SS129BPLT          G12941         SS129      100.0000%
SHIP SHOAL 129 P/F‐L             SS129LCAS          G12941         SS129      100.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block        WI
SHIP SHOAL 144 PF 1             ‐                  G30275         SS 144      15.5400%
SHIP SHOAL 169 P/F‐BB           SS169PFBB           00820         SS169       66.6667%
SHIP SHOAL 169 P/F‐C            SS169PFC            00820         SS169       66.6667%
SHIP SHOAL 169 P/F‐G            SS169PFG            00820         SS169       66.6667%
SHIP SHOAL 176 P/F‐1            SS1761PLT          G33646         SS176       57.1429%
SHIP SHOAL 178 P/F‐A            SS178APLT          G05551         SS178      100.0000%
SHIP SHOAL 182 P/F‐A            SS182APLT          G03998         SS182      100.0000%
SHIP SHOAL 182 P/F‐A‐AUX        SS182AAUX          G03998         SS182      100.0000%
SHIP SHOAL 182 P/F‐B            SS182BPLT          G03998         SS182      100.0000%
SHIP SHOAL 182 P/F‐C            SS182CPLT          G03998         SS182      100.0000%
SHIP SHOAL 189 P/F‐A            SS189APLT          G04232         SS189       99.0000%
SHIP SHOAL 189 P/F‐C            SS189PFC           G04232         SS189       24.7396%
SHIP SHOAL 190 P/F‐B            SS190BPLT          G10775         SS190      100.0000%
SHIP SHOAL 193 P/F‐A            SS193APLT          G13917         SS193      100.0000%
SHIP SHOAL 193 P/F‐A‐PROD       SS193APRD          G13917         SS193      100.0000%
SHIP SHOAL 193 P/F‐M            SS193MPLT          G13917         SS193      100.0000%
SHIP SHOAL 194 P/F‐A            SS194APLT          G15288         SS194      100.0000%
SHIP SHOAL 198 P/F‐G            SS198PFG            00593         SS198       50.0000%
SHIP SHOAL 198 P/F‐G‐QTRS       SS198PFGQR          00593         SS198       50.0000%
SHIP SHOAL 198 P/F‐K            SS198PFK            00593         SS198       50.0000%
SHIP SHOAL 204 P/F‐A            SS204APLT          G01520         SS204       55.2000%
SHIP SHOAL 204 P/F‐A‐GEN        SS204AGEN          G01520         SS204       55.2000%
SHIP SHOAL 204 P/F‐A‐PROD       SS204APRD          G01520         SS204       55.2000%
SHIP SHOAL 206 P/F‐E            SS206EPLT          G01522         SS206       60.0000%
SHIP SHOAL 207 P/F‐A‐CMP        SS207ACOMP         G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐DRILL      SS207ADRL          G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐MANTIS     SS207PFAMA         G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐PROD       SS207APRD          G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐D            SS207DPLT          G01523         SS207       52.8000%
SHIP SHOAL 207 P/F‐DWPF         SS207PFDWP         G01523         SS207        0.0000%
SHIP SHOAL 216 P/F‐C            SS216CPLT          G01524         SS216       70.0000%
SHIP SHOAL 259 P/F‐JA           SS259JAPLT         G05044         SS259       93.7130%
SHIP SHOAL 274 P/F‐A            SS274APLT          G01039         SS274      100.0000%
SHIP SHOAL 274 P/F‐C            SS274CPLT          G01039         SS274      100.0000%
SHIP SHOAL 291 P/F‐A            SS291PFA           G02923         SS291        0.0000%
SHIP SHOAL 354 P/F‐A            SS354APLT          G15312         SS354      100.0000%
SOUTH MARSH IS 010 P/F‐4        SM010PF4           G01181         SM010      100.0000%
SOUTH MARSH IS 010 P/F‐A        SM10APLT           G01181         SM010      100.0000%
SOUTH MARSH IS 011 P/F‐34       SM011PF34          G01182         SM011      100.0000%
SOUTH MARSH IS 011 P/F‐58       SM011PF58          G01182         SM011      100.0000%
SOUTH MARSH IS 018 P/F‐A        SM018PFA           G08680         SM018      100.0000%
SOUTH MARSH IS 048 P/F‐E        SM048PFE             786          SM048      100.0000%
SOUTH MARSH IS 066 P/F‐C        SM66CPLT           G01198         SM058       50.0000%
SOUTH MARSH IS 066 P/F‐D        SM66DPLT           G01198         SM066       50.0000%
SOUTH MARSH IS 076 P/F‐F        SM76FPLT           G01208         SM076      100.0000%
SOUTH MARSH IS 093 P/F‐A        SM093PFA           G21618         SM093       12.5000%
SOUTH MARSH IS 105 P/F‐A        SM105APLT          G17938         SM105      100.0000%
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Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH MARSH IS 106 P/F‐A‐NORTH   SM106ANPLT         G03776         SM106      100.0000%
SOUTH MARSH IS 106 P/F‐JUNCTIO   SM106JCT           G02279         SM106      100.0000%
SOUTH MARSH IS 128 P/F‐A         SM128APLT          G02587         SM128       84.0133%
SOUTH MARSH IS 128 P/F‐B         SM128BPLT          G02587         SM128       84.0133%
SOUTH MARSH IS 128 P/F‐C         SM128CPLT          G02587         SM128       84.0133%
SOUTH MARSH IS 128 P/F‐SA‐2      SM128SADPT         G02587         SM128       84.0133%
SOUTH MARSH IS 132 P/F‐B         SM132BPLT          G02282         SM132       50.0000%
SOUTH MARSH IS 137 P/F‐A         SM137APLT          G02589         SM137       50.0000%
SOUTH MARSH IS 149 P/F‐C         SM149CPLT          G02592         SM149       50.0000%
SOUTH MARSH IS 149 P/F‐D         SM149DPLT          G02592         SM149      100.0000%
SOUTH MARSH IS 239 156 CAIS      SM239PF156          00310         SM240       16.0000%
SOUTH MARSH IS 239 191 CAIS      SM239PF191          00310         SM240       16.0000%
SOUTH MARSH IS 240 1 CAIS        SM240PF1             310          SM240       16.0000%
SOUTH MARSH IS 240 153 CAIS      SM240PF153           310          SM240       16.0000%
SOUTH MARSH IS 240 192 CAIS      SM240PF192           310          SM240       16.0000%
SOUTH MARSH IS 240 196 CAIS      SM240PF196           310          SM240       16.0000%
SOUTH MARSH IS 240 2 CAIS        SM240PF2             310          SM240       16.0000%
SOUTH MARSH IS 240 E DOLPHIN     SM240PF0E            310          SM240       16.0000%
SOUTH MARSH IS 240 P/F‐E‐PRD     SM240PFE             310          SM240       16.0000%
SOUTH MARSH IS 241 CAS 149 P/F   SM241PF149           310          SM241       16.0000%
SOUTH MARSH IS 241 CAS 200 P/F   SM241PF200          00310         SM241       16.0000%
SOUTH MARSH IS 241 CAS 302 P/F   SM241PF302          00310         SM241       16.0000%
SOUTH MARSH IS 268 P/F‐A‐DRL     SM268APLT          G02310         SM268       69.4185%
SOUTH MARSH IS 268 P/F‐A‐PRD     SM268APRD          G02310         SM268       69.4185%
SOUTH MARSH IS 268 P/F‐D         SM268DPLT          G02310         SM268       69.4185%
SOUTH MARSH IS 269 P/F‐B         SM269BPLT          G02311         SM269       72.8000%
SOUTH MARSH IS 269 P/F‐F         SM269FCAS          G02311         SM269       87.7000%
SOUTH MARSH IS 280 P/F‐G         SM280GPLT          G14456         SM280       50.0000%
SOUTH MARSH IS 280 P/F‐H         SM280HPLT          G14456         SM280       50.0000%
SOUTH MARSH IS 280 P/F‐I         SM280IPLT          G02600         SM280       58.4000%
SOUTH MARSH IS 281 P/F‐C         SM281PFC           G02600         SM281       68.1000%
SOUTH MARSH IS 281 P/F‐E         SM281EPLT          G02600         SM281       68.1000%
SOUTH PASS 062 P/F‐A             SP62APLT           G01294         SP062      100.0000%
SOUTH PASS 062 P/F‐B             SP62BPLT           G01294         SP062      100.0000%
SOUTH PASS 062 P/F‐C             SP062PFC           G01294         SP062      100.0000%
SOUTH PASS 062 P/F‐D             SP062PFD           G01294         SP062      100.0000%
SOUTH PASS 065 P/F‐A             SP65APLT           G01610         SP065       50.0000%
SOUTH PASS 070 P/F‐C             SP070PFC           G01614         SP070      100.0000%
SOUTH PASS 070 P/F‐D             SP070PFD           G01614         SP070      100.0000%
SOUTH PASS 075 P/F‐A             SP75APLT           G05051         SP075      100.0000%
SOUTH PASS 087 P/F‐D             SP87DPLT           G07799         SP087       86.1125%
SOUTH PASS 089 P/F‐B             SP89BPLT           G01618         SP089       50.0000%
SOUTH PELTO 001 P/F‐A            PL001PFA           G04234         PL001      100.0000%
SOUTH PELTO 009 P/F‐10           PL009PF10          G02924         PL009       50.0000%
SOUTH PELTO 009 P/F‐5            PL009PF05          G02924         PL009      100.0000%
SOUTH PELTO 009 P/F‐6            PL009PF06          G02924         PL009      100.0000%
SOUTH PELTO 009 P/F‐7            PL009PF07          G02924         PL009      100.0000%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH PELTO 010 #2 (2924)CAIS   PL0102CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐10          PL1010CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐10‐8        PL10108CAS         G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐11          PL1011CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐12          PL1012WP           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐14          PL1014CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐16          PL1016CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐17          PL1017CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐19          PL1019CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐20          PL1020CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐22          PL1022CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐23          PL1023CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐26          PL1026CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐2A          PL102ACAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐3A          PL103ACAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐4           PL104WP            G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐7           PL107CAS           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐9‐1‐A       PL1091ACAS         G02925         PL010       50.0000%
SOUTH PELTO 010 P/F‐A           PL10APLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐B           PL10BPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐B25         PL10B25CAS         G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐B‐AUX       PL10BAUXPT         G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐C           PL10CPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐D           PL10DPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐E           PL10EPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐LQ          PL10LQPLT          G02925         PL010      100.0000%
SOUTH PELTO 011 P/F‐17          PL1117CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐19          PL1119CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐22          PL1122CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐25          PL1125CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐F           PL11FPLT            00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐F‐3         PL11F3CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐G           PL11GCAS            00071         PL011      100.0000%
SOUTH PELTO 025 JA PF           PL025PFJA          G14535         PL025      100.0000%
SOUTH PELTO 025 JB PF           PL025PFJB          G14535         PL025      100.0000%
SOUTH TIMBALIER 049 P/F‐A       ST49APLT           G24956         ST049      100.0000%
SOUTH TIMBALIER 053 P/F‐4       ST053PF4           G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐6       ST053PF6           G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐A       ST053PFA           G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐A‐AUX   ST053PFAAX         G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐C (5)   ST053PFC5          G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐I       ST053PFI           G04000         ST053       50.0000%
SOUTH TIMBALIER 068 P/F‐1       ST681CAS            00020         ST068       79.6666%
SOUTH TIMBALIER 148 P/F‐A       ST148PFA           G01960         ST148       15.5500%
SOUTH TIMBALIER 161 P/F‐C       ST161PFC           G01248         ST161      100.0000%
SOUTH TIMBALIER 203 P/F‐B       ST203PFB           G01269         ST203       40.0000%
SOUTH TIMBALIER 205 P/F‐B       ST205BPLT          G05612         ST205       50.0000%
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SOUTH TIMBALIER 205 P/F‐G        ST205GPLT          G05612         ST205      100.0000%
SOUTH TIMBALIER 206 P/F‐A        ST206APLT          G05612         ST206       50.0000%
SOUTH TIMBALIER 291 P/F‐A        ST291APLT          G16455         ST291       35.0000%
SOUTH TIMBALIER 295 P/F‐A        ST295APLT          G05646         ST295       92.9167%
SOUTH TIMBALIER 295 P/F‐B        ST295BPLT          G05646         ST295       92.9167%
SOUTH TIMBALIER 311 P/F‐A        ST311APLT          G31418         ST311       22.5000%
SOUTH TIMBALIER 316 P/F‐A        ST316PFA           G22762         ST316       20.0000%
VERMILION 261 P/F‐A              VR261APLT          G03328         VR261       75.0000%
VERMILION 261 P/F‐A‐AUX          VR261AAUX          G03328         VR261       75.0000%
VERMILION 265 P/F‐A‐DRL          VR265ADRL          G01955         VR265      100.0000%
VERMILION 265 P/F‐A‐PRD          VR265APRD          G01955         VR265      100.0000%
VERMILION 326 P/F‐A              VR326APLT          G21096         VR326       70.3148%
VERMILION 369 P/F‐A              VR369PFA           G02274         VR369       10.9700%
VERMILION 369 P/F‐D              VR369PFD           G02274         VR369       23.1707%
VERMILION 380 P/F‐A              VR380APLT          G02580         VR380      100.0000%
VERMILION 408 P/F‐A              VR408PF            G15212         VR408       50.0000%
VIOSCA KNOLL 203 P/F‐A           VK203PFA           G07890         VK203       33.3333%
VIOSCA KNOLL 203 P/F‐B           VK203PFB           G07890         VK203       33.3333%
VIOSCA KNOLL 204 P/F‐3           VK204PF3           G04921         VK204       33.3333%
VIOSCA KNOLL 204 P/F‐C           VK204PFC           G04921         VK204       33.3333%
VIOSCA KNOLL 780 P/F‐A           VK780APLT          G15436         VK780      100.0000%
WEST CAMERON 033 P/F‐1           WC033PF1           G15050         WC033      100.0000%
WEST CAMERON 033 P/F‐N           WC033PFN           G15050         WC033      100.0000%
WEST CAMERON 033 P/F‐O           WC033PFO           G15050         WC033      100.0000%
WEST CAMERON 065 P/F‐8           WC065CAIS8         G02825         WC065      100.0000%
WEST CAMERON 065 P/F‐9           WC065CAIS9         G02825         WC065      100.0000%
WEST CAMERON 065 P/F‐JA          WC65JAPLT          G02825         WC065      100.0000%
WEST CAMERON 065 P/F‐JA‐AUX      WC65JAAUX          G02825         WC065      100.0000%
WEST CAMERON 066 P/F‐A           WC66APLT           G01860         WC066       91.0585%
WEST CAMERON 066 P/F‐B           WC066PFB           G02826         WC066       82.9104%
WEST CAMERON 066 P/F‐C           WC066PFC           G01860         WC066       75.0000%
WEST CAMERON 066 P/F‐E           WC066PFE           G02826         WC066       75.0000%
WEST CAMERON 066 P/F‐F(FMR31)    WC066PFF31          00244         WC066      100.0000%
WEST CAMERON 071 P/F‐28          WC071PF28           00244         WC071      100.0000%
WEST CAMERON 071 P/F‐D           WC071PFD            00244         WC071      100.0000%
WEST CAMERON 071 P/F‐D‐AUX       WC071PFDAX          00244         WC071      100.0000%
WEST CAMERON 071 P/F‐F (FMR18)   WC71FPLT            00244         WC071      100.0000%
WEST CAMERON 071 P/F‐QTR         WC71QTR             00244         WC071      100.0000%
WEST CAMERON 072 P/F‐1           WC072PF1           G23735         WC072       25.0000%
WEST CAMERON 072 P/F‐2           WC072PF2           G23735         WC072       25.0000%
WEST CAMERON 072 P/F‐3           WC072PF3           G23735         WC072       25.0000%
WEST CAMERON 102 P/F‐2           WC102PF2            00247         WC102      100.0000%
WEST CAMERON 102 P/F‐G           WC102GPLT           00247         WC102      100.0000%
WEST CAMERON 102 P/F‐G‐AUX       WC102GAUX           00247         WC102      100.0000%
WEST CAMERON 102 P/F‐H           WC102HPLT           00247         WC102      100.0000%
WEST CAMERON 110 P/F‐10          WC11010CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐11          WC11011CAS          00081         WC110      100.0000%
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Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
WEST CAMERON 110 P/F‐12          WC11012CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐15          WC11015CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐18          WC11018CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐19          WC11019CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐A           WC110APLT           00081         WC110      100.0000%
WEST CAMERON 110 P/F‐A‐AUX1      WC110AAUX1          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐E           WC110EPLT           00081         WC110      100.0000%
WEST CAMERON 110 P/F‐H           WC110HPLT           00081         WC110      100.0000%
WEST CAMERON 111 P/F‐C           WC111CCAS           00081         WC111      100.0000%
WEST CAMERON 111 P/F‐F           WC111FCAS           00081         WC111      100.0000%
WEST CAMERON 144 P/F‐B           WC144BPLT          G01953         WC144      100.0000%
WEST CAMERON 225 P/F‐C           WC225PFC           G00900         WC225       26.6675%
WEST CAMERON 289 P/F‐A‐PROCESS   WC289APROC         G04818         WC289      100.0000%
WEST CAMERON 290 P/F‐A           WC290PFA           G04818         WC290       10.3759%
WEST CAMERON 295 P/F‐A           WC295ACAS          G24730         WC295        20.60%
WEST DELTA 068 P/F‐U             WD68UPLT            00180         WD068       75.0000%
WEST DELTA 070 P/F‐D             WD070PFD            00182         WD070       75.0000%
WEST DELTA 070 P/F‐FF            WD070PFFF           00182         WD070       75.0000%
WEST DELTA 070 P/F‐I             WD070PFI            00182         WD070       75.0000%
WEST DELTA 070 P/F‐L             WD070PFL            00182         WD070       75.0000%
WEST DELTA 071 P/F‐E             WD71EPLT            00838         WD071       75.0000%
WEST DELTA 071 P/F‐O             WD071OPLT           00838         WD071       75.0000%
WEST DELTA 075 P/F‐D             WD075PFD           G01085         WD075      100.0000%
WEST DELTA 075 P/F‐F             WD075PFF           G01085         WD075      100.0000%
WEST DELTA 075 P/F‐G             WD075PFG           G01085         WD075      100.0000%
WEST DELTA 090 P/F‐A             WD090PFA           G01089         WD090      100.0000%
WEST DELTA 090 P/F‐B             WD090PFB           G01089         WD090      100.0000%
WEST DELTA 090 P/F‐E             WD090PFE           G01089         WD090      100.0000%
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                            Name                                 State       County/Parish                Ownership %
Blue Water Gas Plant                                           Louisiana                                    0.1000%
Galveston 300/301 Facility                                       Texas            Galveston                100.0000%
Gibbstown Separation Station                                   Louisiana           Cameron                 100.0000%
Grand Bay Receiving Station                                    Louisiana         Plaquemines                65.0000%
Grand Chenier Separation Facility                              Louisiana           Cameron                    5.4%
Grand Chenier Tank Battery                                     Louisiana           Cameron                 100.0000%
Grand Isle Fuel Line (supply line for municipality)            Louisiana           Jefferson               100.0000%
Grand Isle Tank Bat                                            Louisiana           Jefferson                75.0000%
Johnson Bayou Onshore Separation Facility                      Louisiana           Cameron       24.31% of Co‐Owned Equipment
Johnson Bayou Onshore Separation Facility                      Louisiana           Cameron      54.875% of Producers' Equipment
MI 519 Bay City Compressor Station                               Texas            Matagorda                 81.8979%
North Terrebonne Gas Processing Plant                          Louisiana         Terrebonne                 0.0000%
Sea Robin Condensate Separation Facility
                                                               Louisiana          Vermilion                8.0000%
(aka "Henry Hub")
Sea Robin Gas Plant                                            Louisiana          Vermilion                23.7285%
Stingray Onshore Separation Facility (Cameron Onshore
                                                               Louisiana          Cameron                  11.1300%
Commingling Facility)
Targa Venice                                                   Louisiana         Plaquemines              100.0000%
Thousand Square Mile Area (TASMA)                              Louisiana           Vermilion              100.0000%
Tivoli Plant                                                     Texas              Refugio                56.1394%
TOCA Gas Processing Plant                                      Louisiana          St. bernard              4.2900%
Venice Dehydration Facility (South Pass Dehydration Station)   Louisiana         Plaquemines               35.2000%
Vermilion 76 Onshore Scrubber                                  Louisiana          Vermilion                 93.9%
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                                               Exhibit I-D(i)




SEGMENTNUMBER            COMPANYNAME             ORGAREA   ORGBLOCK    ORGNAME        RECAREA   RECBLOCK        RECNAME          SIZE PRODUCT                  STATUS                ROWNUMBER FW Lease:
     15213            Fieldwood Energy, LLC         BS        41              B          BS         42            24" SSTI        10     G/C               Partial Abandon             G25383   G21142
     17938            Fieldwood Energy, LLC         CA        43              A          VK         247            24"SSTI        6     GAS                     Active                 G29431   G32268
      3519            Fieldwood Energy, LLC         EC        14              CF         EC          9                F/S         4    COND                 Out of Service             G13721   G01440
     13104            Fieldwood Energy, LLC         EC         2             F/S         EC          2             6" SSTI        4     GAS         Permitted for Abandonment          G22383   G15050
     17801            Fieldwood Energy, LLC         EC        14              CF         WC         69             30 SSTI        12    GAS         Permitted for Abandonment          G28556   G01440
       44             Fieldwood Energy, LLC          EI       175              C          EI       176            12" SSTI        8      OIL                Out of Service             G13445    00438
      1128            Fieldwood Energy, LLC          EI       330      flanged end        EI        306         14‐inch SSTI      14     OIL                    Active                 G02139A  G02115
      6818            Fieldwood Energy, LLC          EI       337             A           EI        330                B          6     GAS                 Out of Service              G05932  G03332
      6819            Fieldwood Energy, LLC          EI       337             A           EI        330            14 SSTI        6      OIL                Out of Service              G05931  G03332
      6852            Fieldwood Energy, LLC          EI       315             A           EI        330            14 SSTI        6      OIL                Out of Service              G13447  G02112
      7290            Fieldwood Energy, LLC          EI       316             A           EI       330             14 SSTI        8      OIL                    Active                 G07537   G05040
      7347            Fieldwood Energy, LLC          EI       316             A           EI       330             8" SSTI        6     GAS                     Active                 G07555   G05040
      7914            Fieldwood Energy, LLC          EI       212             A          SS        152             24 SSTI        6     GAS                 Out of Service             G08530   G05503
      7915            Fieldwood Energy, LLC          EI       212             A           EI        213            12 SSTI        6      OIL                Out of Service              G08531  G05503
      7943            Fieldwood Energy, LLC          EI       342              C          EI       327             08 SSTI        4      OIL                Out of Service              G08541  G02319
      9211            Fieldwood Energy, LLC          EI       53              B           EI        64             22 SSTI        6      G/C               Partial Abandon             G12373    00479
      9376            Fieldwood Energy, LLC          EI       142             A           EI        141            10 SSTI        4      OIL                Out of Service              G12734   00052
     11923            Fieldwood Energy, LLC          EI       53               C          EI        64             22 SSTI        10     G/C                Out of Service              G20539   00479
     14073            Fieldwood Energy, LLC          EI       188             JE          EI        188            06 SSTI        4     BLKG                Out of Service              G29056   00443
     14479            Fieldwood Energy, LLC          EI       158              C          EI        176            12"SSTI        6      OIL                Out of Service              G13702  G01220
     15906            Fieldwood Energy, LLC          EI       173             G           EI       175                 C          4     BLKO                Out of Service             G28239   G13622
     16225            Fieldwood Energy, LLC          EI       354             D           EI       337                 A          4      OIL                Out of Service             G28598   G10752
     16226            Fieldwood Energy, LLC          EI       354             D           EI       337                 A          4     GAS                 Out of Service             G28599   G10752
     16243            Fieldwood Energy, LLC          EI       189             B           EI       188                 A          4     GAS                 Out of Service             G29057    00423
     18493            Fieldwood Energy, LLC          EI       342              C          EI       343               SSTI         6     GAS                 Out of Service             G29108   G02319
     19960            Fieldwood Energy LLC           EI       342              C          EI       342          Blind Flange      6      OIL                Out of Service              G29471  G02319
        ‐             Fieldwood Energy, LLC          EI       187              2          EI       187                 2                                        Active                 G30283   G10736
      8487            Fieldwood Energy, LLC         EW        826             A          ST        300             12 SSTI        12    OIL                 Out of Service              G10110  G05800
     15298            Fieldwood Energy, LLC         GA        210             B          GA         239            12 SSTI        8     G/C                     Active                 G26931   G25524
      7866            Fieldwood Energy, LLC          GI       33              A          GI         22                  L         8     GAS     Permitted for Abandonment Approved     G08514   G04002
      9084                GOM Shelf, LLC             GI       43              AS         GI         19                F/S         10    OIL                     Active                 G12304    00175
     17673            Fieldwood Energy, LLC          GI       54              #2         GI         47                  L         4    BLKO     Permitted for Abandonment Approved     G28528   G27173
      5470            Fieldwood Energy, LLC          HI      A356          Valve         HI        A343              HIOS         12    GAS                 Out of Service             G04050   G02754
      6504            Fieldwood Energy, LLC          HI      A595             D          HI         573                B          8     OIL                 Out of Service             G28525   G02721
      6669            Fieldwood Energy, LLC          HI      A 376            A          HI       A 356            12 SSTI        10    GAS                 Out of Service              G05238  G02754
      6669            Fieldwood Energy LLC           HI      A 376      Platform A       HI       A 356    12 SSTI W/PSN 10882    10    GAS                 Out of Service              G05238  G02754
     10882            Fieldwood Energy, LLC          HI      A356          10SST         HI        A356             12SSTI        12    GAS                 Out of Service              G04051  G02754
     11841            Fieldwood Energy, LLC          HI      A 545            JA         HI       A 547                B          6    BLKG         Permitted for Abandonment          G20510   G17199
     14650            Fieldwood Energy, LLC          HI       201             #1         HI         199                A          6    BLKG                Partial Abandon             G25397   G23199
     15401            Fieldwood Energy, LLC          HI      A 341            B          HI       A 340           30" SSTI       812    G/C                     Active                 G26938   G25605
     15581            Fieldwood Energy, LLC          HI       120             A          HI         128              SSTI         6     G/C                 Out of Service             G26968   G24730
     16077            Fieldwood Energy, LLC          HI       130             #2         HI        165           8‐inch SSTI      8    BLGH                Partial Abandon             G28284   G25579
     18789            Fieldwood Energy LLC           HI       116       Platform A       HI         71          16‐inch SSTI      16    G/C                     PABN                   G28649   G06156
      9032            Fieldwood Energy, LLC         MC        311             A          MC         312             8 SSTI        8     OIL                     Active                 G11747   G02968
      3472            Fieldwood Energy, LLC         MP        140             B          MP         56                F/S         18   BLKG                 Out of Service              G13511  G02193
      5917                GOM Shelf, LLC            MP        311             A          MP         313            12 SSTI        8     OIL                 Out of Service              G13466  G02213
      7143            Fieldwood Energy, LLC         MP        310             A          MP         297            12 SSTI        6     OIL                 Out of Service              G07100  G04126
     13100            Fieldwood Energy, LLC         MP        259             A          VK         739               #01         5    UMB                  Out of Service              G22377  G07827
     15818       Fieldwood Energy Offshore LLC      MP        77              A          MP         151            18"SSTI        8     GAS                 Out of Service              G28221  G04481
      5408            Fieldwood Energy, LLC         PL        10              B          PL         13             20 SSTI        8     OIL                 Out of Service              G09317  G02925
     16044            Fieldwood Energy, LLC         PL         9             #10         PL         10                 B          6    BLKG                 Out of Service             G28276   G02924
      4008            Fieldwood Energy, LLC         SM        268             A          SS         28                 A          12    OIL                 Out of Service             G02816   G34284
      4647            Fieldwood Energy, LLC         SM        149         6"SSTI         SM        132                 B          6    BLKO                 Out of Service             G03432   G02592
      5427            Fieldwood Energy, LLC         SM        281              E         SM        268                 A          12   SPLY                 Out of Service             G02817   G02600
      5429            Fieldwood Energy, LLC         SM        281              C         SM        281             12 SSTI        10   SPLY                 Out of Service              G02817  G02600
      6512            Fieldwood Energy, LLC         SM        281              C         SM        268                 D          10   BLKO                 Out of Service              G29131  G02600
      6513            Fieldwood Energy, LLC         SM        268             D          SM        268                 A          10   BLKO                 Out of Service              G29132  G02310
     10977            Fieldwood Energy, LLC         SM        268             A          SM         280               #03         3    BLKG                     Active                  G28756  G14456
     11046            Fieldwood Energy, LLC         SM        11       Well No.34        SM         10                 A          6    BLKG                 Out of Service              G28813  G01182
     11047            Fieldwood Energy, LLC         SM        10              A          SM         11                 34         3     LIFT                Out of Service              G28812  G01181
     11986            Fieldwood Energy, LLC         SM        39              A          SM         33             30 SSTI        8     GAS                 Out of Service              G20565  G16320
     11987            Fieldwood Energy, LLC         SM        39              A          SM         40             10 SSTI        6     OIL                 Out of Service             G20566   G16320
     13642            Fieldwood Energy, LLC         SM        280             H          SM        268                 A          10   BLKG         Permitted for Abandonment          G28758   G14456
     17499            Fieldwood Energy, LLC         SM        269             B          SM        268                 A          10    GAS                     Active                 G28484   G02311
     18057            Fieldwood Energy, LLC         SM        11      No.58 Caisson      SM         10                 A          4    BLKG                 Out of Service             G28815   G01182
     18510            Fieldwood Energy, LLC         SM        10              A          SM        287               SSTI         6     GAS                 Out of Service             G29113   G01181
     18563            Fieldwood Energy, LLC         SM        48               E         SM         39                 A          6     G/C                 Out of Service             G29128    00786
     18583            Fieldwood Energy, LLC         SM        10              A          SM         11               SSTI         4     OIL                 Out of Service             G28814   G01181
     18802            Fieldwood Energy, LLC         SM        39              A          SM         48                 E          3     LIFT                Out of Service             G29182   G16320
      4716            Fieldwood Energy, LLC         SP        70               C         SP         60                 B          8     GAS                     Active                 G03436   G01614
     15064            FW GOM Pipeline, Inc.         SP        49              A          SP         27         F/S Boundary       10   G/O                      Active                 G07561   G05051
     15598            Fieldwood Energy, LLC         SP        70               C         SP         60                 E          6     OIL                 Out of Service             G26860   G01614
     15626            Fieldwood Energy, LLC         SP        65              A          SP         62             18 SSTI        8     OIL                 Out of Service             G01686A  G01610
      1137            Fieldwood Energy, LLC          SS       207       A Platform       SS        204                 A          4     GAS                 Out of Service             G13489   G01523
      1138            Fieldwood Energy, LLC          SS       204             A          SS        207                 A          6    G/O                  Out of Service             G13491   G01520
      1147            Fieldwood Energy, LLC          SS       207             A          SS        208             F‐Pump         12    OIL                 Out of Service              G13492  G01523
      6432            Fieldwood Energy, LLC          SS       182             A          SS        169             18 SSTI        6     OIL                     Active                 G09321   G03998
      6538            Fieldwood Energy, LLC          SS       91              A          PL         11             08 SSTI        6     OIL                 Out of Service              G05146  G02919
      6748            Fieldwood Energy, LLC          SS       169       C Platform       SS         169         18‐inch SSTI      6     OIL                 Out of Service              G09322   00820
      7650            Fieldwood Energy, LLC          SS       178             A          SS        169             18 SSTI        6     OIL                 Out of Service              G08054  G05551
     10406            Fieldwood Energy, LLC          SS       274             A           EI        259                A          8     OIL                     Active                  G14731  G01039
     10780            Fieldwood Energy, LLC          SS       193             A          SS        183             18 SSTI        6     OIL                     Active                 G15683   G13917
     10781            Fieldwood Energy, LLC          SS       193             A          SS        183             10 SSTI        6     GAS                     Active                  G15684  G13917
     11137            Fieldwood Energy, LLC          SS       129             A          SS        122             18 SSTI        6     OIL                 Out of Service             G16084   G12941
     11145            Fieldwood Energy, LLC          SS       129             A          SS        149              6 SSTI        6     G/C                 Out of Service             G16087   G12941
     11480            Fieldwood Energy, LLC          SS       105             A           EI       165             30 SSTI        10    GAS                 Out of Service             G18801   G09614
     11544            Fieldwood Energy, LLC          SS       126             B          SS        105                 A          6    BLKG                 Out of Service             G18820   G12940
     12778            Fieldwood Energy, LLC          SS       189             A          SS        185             26"SSTI        8     G/C                 Out of Service             G22139   G04232
     15530            Fieldwood Energy, LLC          SS       183         Flange         SS        169              Flange        10    GAS                 Out of Service             G01460   G13917
     16036            Fieldwood Energy, LLC          SS       190      Capped End        SS        207                 A          4    BLKO         Permitted for Abandonment          G14734   G10775
     18837            Fieldwood Energy, LLC          SS       176              C          EI       212                 A          6    BLKG                 Out of Service             G29190   G33646
     20050            Fieldwood Energy, LLC          SS       168            SSTI        SS        168               SSTI         6                           Proposed                 G28788    00820
      5890            Fieldwood Energy, LLC         ST        53              A          ST         52                 A          6     OIL                 Out of Service              G09319  G04000
      7802            Fieldwood Energy, LLC         ST        295             A          ST        296             SS 8487        8     OIL                     Active                  G08385  G05646
      8676            Fieldwood Energy, LLC         ST        206             A          ST        175               T‐22         16    G/C                 Out of Service             G11146   G05613
      9313            Fieldwood Energy, LLC         ST        295             A          ST        295             24 SSTI        8     GAS                     Active                 G12709   G05646
     13462            Fieldwood Energy, LLC         ST        205             G          ST        206                 A          8    BLKG                 Out of Service             G028821  G05612
     13462            Fieldwood Energy LLC          ST        205             G          ST        206                 A          8    BLKG                 Out of Service              G29451  G05612
     17265            Fieldwood Energy, LLC         ST        68      Caisson No. 1      ST         53                 A          6    BLKO                 Out of Service              G28385  G04000
     17898            Fieldwood Energy, LLC         ST        49        Platfrom A       ST         35           6‐inch SSTI      4     OIL                 Out of Service              G28577  G24956
     19776            Fieldwood Energy, LLC         ST        295        24" SSTI        ST        292                 A          24    GAS                     Active                 G29376   G05646
     13098            Fieldwood Energy, LLC         VK        694            #04         MP         259                A          4    BLKG                 Out of Service              G22376  G13055
     13099            Fieldwood Energy, LLC         VK        739           SS #3        MP         259                A          4    BLKG                 Out of Service              G22377  G07827
     13720            Fieldwood Energy, LLC         VK        340         8"SSTI         VK        251                 A          8    BLGH                     Active                 G28221   G04481
     13720       Fieldwood Energy Offshore LLC      VK        340       8‐inch SSTI      VK         251          Platform A       8    BLGH                     Active                  G28703  G10933
     13721            Fieldwood Energy, LLC         VK        251             A          VK         340                A          3     AIR                     Active                  G28704  G10930
     14876            Fieldwood Energy, LLC         VK        251             A          MP         154                A          4    H2O                      Active                  G22465  G10930
      6113            Fieldwood Energy, LLC         VR        380             A          VR        397             24 SSTI        12    GAS                 Out of Service             G04645   G02580
     12502            Fieldwood Energy, LLC         VR        326       A Platform       VR         321         22‐inch SSTI      6     G/C                 Out of Service             G21523   G21096
     17090            Fieldwood Energy, LLC         VR        261             A          VR        265                 A          8    BLKO                 Out of Service             G28347   G03328
     18502            Fieldwood Energy, LLC         VR        380             A          VR        398            16" SSTI        6     OIL                 Out of Service             G02919   G02580
     18502            Fieldwood Energy LLC          VR        380       Platform A       VR         398         16‐inch SSTI      6     OIL                 Out of Service              G29109  G02580
      2698            Fieldwood Energy, LLC         WC        102          flange        WC         102                G          8     GAS                 Out of Service             G02124D   00247
      3763            Fieldwood Energy, LLC         WC        102            #02         WC         102            08 SSTI        8     GAS                 Out of Service             G02124D   00247
      3986            Fieldwood Energy, LLC         WC        66              A          WC         31                F/S         10   G/O                      Active                 G03345   G01860
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SEGMENTNUMBER            COMPANYNAME             ORGAREA   ORGBLOCK   ORGNAME     RECAREA   RECBLOCK   RECNAME     SIZE PRODUCT     STATUS         ROWNUMBER FW Lease:
      5343            Fieldwood Energy, LLC         WC        34           D         WC         35       10 SSTI    8     G/O     Out of Service     G28659   G01860
      8621           Bandon Oil and Gas, LP         WC        290          A         WC        289          A       6     BLKG    Out of Service     G10532   G04818
      9504            Fieldwood Energy, LLC         WC        71        12 SSTI      WC         71       12 SSTI    12    GAS     Out of Service     G04346    00244
     14251       Fieldwood Energy Offshore LLC      WC        72          #1         WC         65         JA       4     BLKG    Out of Service     G25275   G23735
     15210            Fieldwood Energy, LLC         WC        295          2         HI        120     A‐PROCESS    6     BLKG    Out of Service     G26886   G24730
     15952            Fieldwood Energy, LLC         WC        33          O          WC         34          D       4     G/O     Out of Service     G28657   G15050
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Area   Block No.    Structure   Complex ID No. Authority No. FW Lease        Operator          Approval Date             Associated Assets
EI       188           JE           26052         G30268     G10736     Fieldwood Energy LLC     04/18/14      EI 187 JC001, JD001, JD002, 002 & JE002
HI       120       A-PROCESS        10450         G30270     G01848     Fieldwood Energy LLC     08/06/14               WC 295 A001 & A002
SM       132           B            21982         G30329     G02588     Fieldwood Energy LLC     05/06/19      SM 136 C007, SM 149 C001, C002 & C004
ST       206           A            23851         G30291     G05612     Fieldwood Energy LLC     12/11/15                ST 205 G001 & G003
SM       10            A            20706         G30365     G01181     Fieldwood Energy LLC
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Call Sign:
KKS457
WQFI654
WQGX432
WPSH741
KNDQ614
WPXX340
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Contract Type     Contract Date              Contract Title                                                    Contract Description
    Land            8/7/1953                      UA                      HI 179 Unit Agreement
    Land           10/27/1954     Unit Agreement No. 14‐08‐001‐20221      Grand Isle CATCO Unit Agreement, dated October 27, 1954, between Continental Oil Company
                                                                          and The Atlantic Refining Company, Tide Water Associated Oil Company and Cities Service Oil
                                                                          Company.; Unit No. 891002021

    Land            5/1/1995           Unit Operating Agreement
                                                                          Amendment‐to Unit Operating Agreement, dated effective May 1, 1995, by and between Conoco
                                                                          Inc.,Vastar Resources, Inc., Texaco Exploration and Production Inc. and Oxy USA Inc.

    Land           11/21/1955      Unit Agreement No. 14‐08‐001‐2454      West Delta‐Grand Isle Unit Agreement, dated November 21,1955, between Continental Oil
                                                                          Company, as unit operator, and The Atlantic Refining Company, Tidewater Associated Oil
                                                                          Company and.Cities Service
                                                                          Production Company, as non‐operators, as amended ; Unit No. 891002454
    Land           4/10/1956               Unit Agreement                 Unit No. 891002891 ‐ SS 32
    Land           12/4/1958            OPERATING AGREEMENT               OPERATING AGREEMENT BY AND BETWEEN THE TEXAS COMPANY AND PAN AMERICAN
                                                                          PETROLEUM CORPORATION , AS AMENDED
    Land           12/4/1958              Operating Agreement             Operating Agreement eff. 12/4/58
    Land           7/25/1960              Operating Agreement             Operating Agreement, dated effective July 25,1960, as amended, between Second Mobil Oil
                                                                          Company, Inc., Gulf Oil 'Corporation, and Humble Oil & Refining Company, as amended, SS 169
                                                                          Field.
    Land           8/3/1964                       UOA                     Operating Agreement eff. 8‐3‐64
    Land           11/2/1964                       UA                     EI 266 Unit Agreement
    Land           1/12/1965           Joint Operating Agreement          Main Agreement, dated effective January 12,1965, between Cities Service Oil Company, Skelly Oil
                                                                          Company, Sunray DX Oil Company and Tidewater Oil Company, governing operations on the
                                                                          contract area. The Operating Agreement contained in Exhibit "C" of the Main Agreement was
                                                                          superseded by the Joint Operating Agreement eff. 1/1/97


    Land           1/21/1966       Unit Agreement No. 14‐08‐001‐8784      Unit No. 891008784 ‐ SS 271
    Land           2/26/1966         Offshore Operating Agreement         Operating Agreement by and between Hardy Oil & Gas USA Inc., As Operator and British‐Borneo
                                                                          Exploration, Inc. and Zilkha Energy Company, As Non‐Operators
    Land           6/10/1966      Unit Operating Agreement Ship Shoal     SS 271 Unit Operating Agreement (Unit#891008784) As Amended, originally by and between
                                                                          Forest Oil Corp. as Operator, and Texas Gas Exploration Corp. et al as Non‐Operators


    Land            2/6/1967           Joint Operating Agreement          OPERATING AGREEMENT BY AND BETWEEN CONTINENTAL OIL COMPANY AND TENNECO OIL
                                                                          COMPANY ET AL, AS AMENDED
    Land            1/1/1971           Joint Operating Agreement          PENNZOIL OFFSHORE GAS OPERATORS, INC., MESA PETROLEUM CO., ET AL.
    Land            2/1/1971           Joint Operating Agreement          Operating Agreement, dated February 1,1971, between Tenneco Oil Company and Texaco Inc.
                                                                          Amendment to Operating Agreement, dated effective May 1,1974, between Tenneco Oil
                                                                          Company, Texaco Inc. and Tenneco Exploration 11, Ltd., whereby Tenneco Exploration II became
                                                                          a party to, and ratified, the operating agreement.
    Land            1/1/1972           Joint Operating Agreement          OPERATING AGREEMENT BY AN D BETWEEN SIGNAL OIL AND GAS COMPANY AND THE
                                                                          LOUISIANA LAND AND EXPLORATION COMPANY, ET AL.
    Land           3/24/1972                Unit Agreement                SP 65 G G‐1 Unit Res B Unit Agreement ‐891012327
    Land           5/18/1972                Unit Agreement                SP 65 G G‐1 Unit Res A Unit Agreement‐891012332
    Land           5/18/1972                Unit Agreement                SP 65 G2‐G3 Unit Agreement‐891012333
    Land           1/1/1973          Offshore Operating Agreement         Offshore Operating Agreement* (VR 369/386+)
                                                                          *Unit Operating Agreement supersedes JOperating Agreement 1/1/1973
    Land            8/1/1973           Joint Operating Agreement          OPERATING AGREEMENT BY AND BETWEEN MOBIL OIL CORPORATION AND UNION OIL
                                                                          COMPANY OF CALIFORNIA ET AL
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8‐1‐73
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8‐1‐73
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8/1/73
    Land            8/1/1973         Offshore Operating Agreement         Operating Agreement eff. 8/1/73
    Land            5/1/1974           Joint Operating Agreement          OPERATING AGREEMENT BY AND BETWEEN PENNZOIL OFFSHORE GAS OPERATORS, INC. AND
                                                                          PENNZOIL LOUISIANA AND TEXAS OFFSHORE, INC. ET AL
    Land            7/1/1974           Joint Operating Agreement          OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                          UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                          PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

    Land            7/1/1974           Joint Operating Agreement          OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                          UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                          PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

    Land            7/1/1974           Joint Operating Agreement          OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                          UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                          PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

    Land            9/3/1974                       FO                 Farmout Agreement by and between CNG Producing Company, Columbia Gas Development
                                                                      Corporation and Forest Oil Corporation
    Land           12/1/1974           Joint Operating Agreement      PENNZOIL OFFSHORE GAS OPERATORS, INC. AND PENNZOIL LOUISIANA AND TEXAS OFFSHORE,
                                                                      INC. ET AL
    Land           4/23/1975            Joint Operating Agreement     Operating Agreement eff. 4‐23‐75
                                                                      Operating Agreement eff. 7/1/75 by and between Mesa Petroleum as Operator and American
    Land            7/1/1975            Joint Operating Agreement     Natural Gas Production Co, et al
    Land            3/1/1976            Joint Operating Agreement     Operating Agreement eff. 3‐1‐76 b/b POGO, Mesa and Mobil, et al
    Land            4/1/1976            Joint Operating Agreement     Operating Agreement eff. 4‐1‐76 as amended
    Land            4/1/1977            Unit Operating Agreement      UNIT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION , APACHE
                                                                      CORPORATION, ET AL.
    Land            4/1/1977      Unit Agreement No. 14‐08‐0001‐16943 Unit Agreement, JD Sand, Reservoir A, Eugene Isiand Block 330 Field (Unit Number 891016943),
                                                                      dated effective April 1,1977, naming Pennzoil Oil & Gas, Inc., as Operator, and Texaco Inc. and
                                                                      Shell Oil Company, as sub‐operators
    Land           12/12/1977                 Unit Agreement          Unit Agreement (VR 369 Unit Area) 12/12/1977
    Land           12/23/1977           Unit Operating Agreement      Unit Operating Agreement* (VR 369 Unit Area)
                                                                      *UOperating Agreement supersedes JOperating Agreement 12/23/1977
    Land            1/1/1978                        UOA               HI 179 Unit Operating Agreement
    Land            5/2/1978                         FO               FARMOUT AGREEMENT EFFECTIVE MAY 2, 1978, BY AND BETWEEN ENSERCH, FARMOR, AND
                                                                      ANADARKO, FARMEE.
    Land           11/1/1978                         OA               Operating Agreement eff. 11/1/78
    Land           11/17/1978                        FO               Farmout Agreement dated November 17,1978 between Gulf Oil Corporation and Shell Oi!
                                                                      Company covering the Northeast Quarter (NE/4) of that certain Oil and Gas Lease dated July
                                                                      1,1967 bearing Serial No. OCS‐G 1609, South Pass Area Block 61.
    Land            3/1/1979            Joint Operating Agreement
                                                                      OPERATING AGREEMENT DATED MARCH 1, 1979, BY AND BETWEEN UNION OIL COMPANY OF
                                                                      CALIFORNIA AND MOBIL OIL EXPLORATION & PRODUCTION SOUTHEAST INC.
    Land           9/15/1979            Joint Operating Agreement     OPERATING AGREEMENT EFFECTIVE SEPTEMBER 15, 1979, BY AND BETWEEN ANADARKO
                                                                      PRODUCTION CO, AS OPERATOR, AND PAN EASTERN EXPLORATION COMPANY, DIAMOND
                                                                      SHAMROCK CORPORATION, COLUMBIA GAS DEVELOPMENT CORPORATION, TEXASGULF, INC,
                                                                      AND SAMEDAN OIL CORPORATION, NON‐OPERATORS.
    Land           12/1/1979       OFFSHORE OPERATING AGREEMENT       OFFSHORE OPERATING AGREEMENT b/b SHELL OIL COMPANYand FLORIDA EXPLORATION
                                                                      COMPANY, ET AL
    Land            4/1/1981            Unit Operating Agreement      Unit Operating Agreement; dated April 1,1981, by and between Conoco Inc., Atlantic Richfield
                                                                      Company, Getty Oil Company, Cities Service Company, Placid Oil Company, Hamilton Brother Oil
                                                                      Company, Mobil Oil Exploration and Producing S.E., Inc., Gulf Oil Corporation, Hunt Oil Company,
                                                                      Highland Resources, Inc., Hunt Industries and Prosper Energy Corporation, comprising all working
                                                                      interest owners in the Ship ShOperating Agreementl Blocks 206, 207„OCS‐G:i523:ahd OCS‐G
                                                                      1523, respectively.
    Land            9/1/1981            Joint Operating Agreement     Operating Agreement 9/1/1981
    Land            9/1/1981            Joint Operating Agreement     Offshore Operating Agreement 9/1/1981
    Land            1/1/1982            Joint Operating Agreement     OPERATING AGREEMENT BY AND BETWEEN SOHIO PETROLEUM COMPANY AND EXXON
                                                                      CORPORATION
    Land           4/28/1982                 Letter Agreement         Letter Agreement dated April 28,1982 between Gulf Oil Corporation and Shell Oil Company
                                                                      evidencing an agreement for Gulf Oil Company to install a Drilling Platform in the Northeast
                                                                      Quarter (NE/4) South Pass Area Block 61.
    Land           11/1/1982          UNIT AGREEMENT FOR OUTER
                                     CONTINENTAL SHELF, 'N' SERIES    UNIT AGREEMENT BY AND BETWEEN CONOCO INC. AND CITIES SERVICE COMPANY ET AL
    Land            1/1/1983                        ORRI              Conveyance of Overriding Royalty Interests, dated effective January 1,1983, creating the Tel
                                                                      Offshore Trust, and granting an overriding royalty interest, equivalent to 25% net profits interest,
                                                                      in all of Tenneco Exploration, Ltd.'s oil and gas properties
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Land           7/1/1983                    UOA                   EI 212 Unit Operating Agreement
Land           8/4/1983      Area of Mutual Interest Agreement
                                                                 Area of Mutual Interest Agreement effective August 4, 1984 BY AND BETWEEN APACHE
                                                                 CORPORATION AND SHELL OFFSHORE CONTIGUOUS BLOCK TO SHELL VENTURE PROPERTY THAT
                                                                 MAY TRIGGER AMI RESPONSIBILITY REGARDING FUTURE PURCHASE OR BID OF TRACTS
                                                                 COVERING GEOLOGIC STRUCTURE COMMON TO EXISTING SHELL VENTURE PROPERTY
Land           7/1/1984               Unit Agreement             UNIT AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND FLORIDA EXPLORATION
                                                                 COMPANY ET AL
Land           7/1/1984                   UOA                    MP 310 Unit Operating Agreement
Land           1/1/1985                    OA                    Operating Agreement eff. 1/1/85
Land           6/3/1985              Consent to Assign           Consent to Assignment of Interest, dated June 3,1985, between Tenneco Exploration, Ltd. and
                                                                 Texaco Inc., as Grantors of Consent, and Huffco Petroleum, as Assignor, and L. S. Holding
                                                                 Company, AE Investments, Inc., Colton Gulf COperating Agreementst, Inc., and Huffco 1982
                                                                 Exploration Limited Partnership, as Assignees, assigning all of Huffco Petroleum's record title
                                                                 interest to the Assignees.
Land           5/1/1986                 Assignment               Assignment, dated effective May 1,1986, whereby Tenneco Exploration, Ltd. transferred all of its
                                                                 interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to Plumb Offshore, Inc.,
                                                                 subject to the reservation of an overriding royalty interest.

Land           7/2/1986           FARMOUT AGREEMENT              Farmout Agreement 7/2/1986
Land          10/31/1986              Assignment                 Assignment of Interest, dated effective October 31,1986, whereby Tenneco Exploration, Ltd.
                                                                 transferred all of its interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to
                                                                 Tenneco Oi! Company.
Land          11/2/1987    SIMULTANEOUS EXCHANGE AGREEMENT
                                                                 EXCHANGE AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC AND CONOCO INC
Land           3/3/1988                     PA                   PARTICIPATION AGREEMENT EFFECTIVE MARCH 3, 1988, BY AND BETWEEN WESTPORT OIL AND
                                                                 GAS COMPANY, INC, AND BASIN EXPLORATION, INC.
Land           6/7/1988                   UA                     EI 212 Unit Agreement
Land          10/31/1988                  FO                     Farmout Agreement 10/31/1988
Land           1/1/1989          OPERATING AGREEMENT             WD/GI UOA ‐ CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC
                                                                 RICHFIELD COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             GI CATCO UOA ‐ CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND
                                                                 ATLANTIC RICHFIELD COMPANY ET AL Unit No. 891002021
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
Land           1/1/1989                    UOA                   EI 266 Unit Operating Agreement
Land           1/1/1989                     OA
                                                                 CATCO Operating Agreement eff. 1/1/89 by and between Conoco, Richfield , Texaco, et al
Land          1/1/1989                       OA                  Operating Agreement 1/1/89
Land          3/10/1989                      FO                  Ratification of Farmout Agreement 3/10/1989
Land          5/2/1989               Letter Agreement            Letter Agreement, dated May 2, 1989, between Southern Natural Gas Company and Chevron
                                                                 U:S.A. Inc.,concerning the "Construction, Installation, Operation and Maintenance of
                                                                 Measurement and Pipeline Facilities "
                                                                 for receipt points at various locations on the OCS, including Main Pass 77 'A' platform (as
                                                                 amended). Consent Sec. 1O.
Land           7/1/1989                     OA                   Operating Agreement eff. 7/1/89
Land          12/15/1989                    FO                   FARMOUT AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC., ET AL. AND CNG PRODUCING
                                                                 COMPANY
Land          7/1/1990                  UA & UOA                 MP 259 Unit Agreement and Unit Operating Agreement
Land          10/1/1990         Joint Operating Agreement        RATIFICATION AND AMENDMENT NUMBER 1 TO JOINT OPERATING AGREEMENT DATED
                                                                 OCTOBER 1, 1990, BY AND BETWEEN CONOCO INC. AND TEXAS PRODUCING INC.
Land           1/1/1991                     PA                   Offshore Participation Agreement, dated effectiveJanuary 1,1991, between Unocal Exploration
                                                                 Corporation, The Northwestern Mutual Life Insurance Company, and Hardy Oil & Gas USA Inc.,
                                                                 BA A105.
Land          4/15/1991                     OA                   Operating Agreement eff. 4‐15‐91 b/b Conoco and Shell
Land          5/1/1991          Joint Operating Agreement        JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND PRODUCTION
                                                                 INC., MOBIL OIL EXPLORATION & PRODUCING SOUTHEAST ET AL
Land           6/1/1991                     UA                   UNIT AGREEMENT, SOUTH TIMBALIER BLOCK 295 FIELD UNIT BY AND BETWEEN SHELL
                                                                 OFFSHORE INC. AND APACHE CORPORATION, ET AL.
Land          7/1/1983                      UOA                  ST 295 UOA. As amended
Land          8/15/1991                      OA                  HI A442 Operating Agreement C‐02‐0004194
Land          9/10/1991              Letter Agreement            LETTER AGREEMENT BY AND BETWEEN ATLANTIC RICHFIELD COMPANY AND EXXON
                                                                 CORPORATION
Land          10/1/1991                     FO                   FO and Operating Agreement dated 10/1/91 between Torch Energy Advisors Inc etal and Hall‐
                                                                 Hosuton Oil Company
Land           4/1/1992               Unit Agreement             Unit Agreement for Outer Continental Shelf Exploration, Development and. Production
                                                                 Operations on the South Pass Block 60 Unit (Blocks.6,17, 59, 60, 66 and 67) South Pass Area,
                                                                 Offshore Louisiana Outer Continental Shelf, Contract No. 754394018, as amended

Land           4/1/1992               Unit Agreement             Amendment to Unit Agreement. For Outer Continental Shelf Exploration, Development and
                                                                 Production Operations on the South Pass Block 60 Unit (Blocks 6,17, 59, 60, 66 and 67) South
                                                                 Pass Area, Offshore Louisiana Outer Continental Shelf (Contract No. 754394018) to expand the
                                                                 Unit Agreement to include the NE/4 of the NW/4 of Block 61, OCS‐G 1609, South. Pass Area.

Land           5/2/1992                   ABOS                   Agreement and Bill of Sale, dated effective May 2,1992, between Union Oil Company of
                                                                 California, as Seller, and The Northwestern Mutual Life Insurance Company and Hardy Oil & Gas
                                                                 USA Inc., as Buyers, selling 43.75% interest in the BA A‐105 "A" Platform, equipment arid
                                                                 pipeline, to NW Mutual 31.25%, and Hardy 12.50%.
Land          6/25/1992              Letter Agreement            Letter Agreement, dated June 25, 1992, between Chevron U.S.A. Inc. ("Chevron") and Southern
                                                                 Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic Chart
                                                                 Recorders Permit ‐ Various Meter Stations, Offshore Louisiana ", whereby Chevron obtained
                                                                 consent from Southern for Chevron to connect, operate and maintain pneumatic chart recorders
                                                                 on various of Southern's existing meter stations, offshore, Louisiana (including Main Pass Area
                                                                 Block 77 "A" platform).
Land           7/1/1992         Joint Operating Agreement        JOINT OPERATNG AGREEMENT BY AND BETWEEN ATLANTIC RICHFIELD COMPANY AND
                                                                 SAMEDAN OIL CORPORATION
Land          7/1/1992                       OA                  Operating Agreement 7‐1‐92 b/b Kerr‐McGee and Samedan
Land          1/1/1993           Unit Operating Agreement        Unit Operating Agreement eff. 1‐1‐93
Land          2/15/1993              Letter Agreement            Letter Agreement, dated effective February 15, 1993, between Chevron U.S.A. Inc. ("Chevron")
                                                                 and Southern Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic
                                                                 Chart Recorders Permit ‐
                                                                 Various Meter Stations, Offshore Louisiana", whereby Chevron and Southern agree to amend
                                                                 and replace Exhibit "A" to that certain Letter Agreement, dated June 25, 1992 (described
                                                                 hereinabove).
Land           4/2/1993                   ABOS                   Bill of Sale, dated April 2, 1993, from Southern Natural Gas Company ("Southern") to Chevron
                                                                 U.S.A. Inc.("Purchaser"), whereby Southern sells to Purchaser certain Barton chart recorders and
                                                                 appurtenant equipment
                                                                 located at various on various of Southern's existing meter stations, offshore, Louisiana (including
                                                                 Main Pass Area Block 77 "A" platform).
Land           5/7/1993              Letter Agreement            Letter Agmt. dated 5‐7‐1993 b/b Shell Offshore Inc. and Freeport McMoRan Oil and Gas
                                                                 Company.
Land          6/1/1993                      FO                   Farmout Agmt. eff. 6‐1‐1993 b/b Shell Offshore Inc. and Samedan Oil Coporation.
Land          6/11/1993         Joint Operating Agreement        Operating Agreement eff. 6‐11‐1993 b/b Samedan Oil Corporation and British Borneo
                                                                 Exploration Inc., et al
Land           8/1/1993                 Assignment
                                                                 Assignment of Interest in Oil and Gas Lease (OCS‐G 13944) effective date 08/01/93 from
                                                                 Anadarko Petroleum Corporation, Assignor, to Phillips Petroleum Company,Assignee, 50% of its
                                                                 right, title and interest in OCS‐G 13944, GI Block 116, South Addition.
Land          8/16/1993         Joint Operating Agreement        Amendment to'Operating Agreement, dated August 16, 1993, between Express Acquisition
                                                                 Company and Torch EnergyAdvisors Inc.
Land          12/30/1993                    OA                   WD 90, WD 103 Operating AgreementS 12‐30‐1993
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Land           1/1/1994       Joint Operating Agreement          BP EXPLORATION & OIL INC. AND SHELL OFFSHORE INC ET AL
Land           1/1/1994     Co‐Development Agreement and         Co‐Development Agreement and Amendment to Unit Operating Agreement originally by and
                             Amendment to Unit Operating         between CNG Producing Company & Columbia Gas Development Corp., et al
                                      Agreement
Land          1/21/1994        Unit Operating Agreement
                                                                 Unit Operating Agreement for the Viosca Knoll .252 Unit, by and between Samedan Oil
                                                                 Corporation, as Operator, and Continental Land &"Fur Co., Inc., dated effective January 21,1994.
                                                                 Preferential Right to Purchase ‐ 15 Days. (Section 26.2)
Land          2/1/1994                    JOA                    JOperating Agreement eff. 2/1/94
Land          2/10/1994                   JDA                    JOINT DEVELOPMENT AGREEMENT DATED FEBRUARY 10, 1994, BY AND BETWEEN PENNZOIL
                                                                 EXPLORATION AND PRODUCTION COMPANY, SONAT EXPLORATION COMPANY AND UNION OIL
                                                                 COMPANY OF CALIFORNIA ‐ TERMINATED BY LETTER AGREEMENT DATED MARCH 10, 1999.

Land          2/11/1994             Unit Agreement               Unit Agreement For Outer Continental Shelf Exploration, Development and Production
                                                                 Operations on theViosca Knoll 252 Unit designated Contract No. 754394013, by the Minerals
                                                                 Management Service, dated
                                                                 effective February 11, 1994, executed by Samedan Oil Corporation (as Unit Operator) and
                                                                 Chevron U.S.A. Inc.(as a working interest owner).
Land           6/1/1994        Joint Operating Agreement         OPERATING AGREEMENT DATED JUNE 1, 1994, BY AND BETWEEN NORCEN EXPLORER, INC,
                                                                 OPERATOR, AND DALEN RESOURCES OIL & GAS CO.
Land           6/6/1994            Letter Agreement              Letter Agreement, dated June 6, 1994, whereby Chevron U.S.A. Inc. approves, adopts
                                                                 and.recognizes the Unit Operating Agreement, dated January 21, 1994 for the Viosca Knoll 252
                                                                 Unit
Land           6/9/1994            Letter Agreement              Letter Agreement, dated June 9, 1994, by and between Chevron U.S.A. Inc., Samedan Oil
                                                                 Corporation and Continental Land & Fur Co., Inc.
Land          6/24/1994                    OA                    Operating Agreement eff. 6‐24‐94
Land          7/1/1994                     OA                    Operating Agreement 7/1/1974
Land          7/7/1994             Letter Agreement              LETTER AGREEMENT BY AND BETWEEN POGO PRODUCING COMPANY AND COCKRELL OIL AND
                                                                 GAS, L.P., ET AL
Land          7/15/1994            Letter Agreement              LETTER AGREEMENT DATED JULY 15, 1994 BY AND BETWEEN STONE ENERGY CORPORATION
                                                                 AND DAVID U. MELOY.
Land           9/1/1994               UOA                        EI 89 Field UOperating Agreement 9/1/94
Land           9/1/1994         FARMOUT AGREEMENT                Farmout Agmt Eff. 9‐1‐94
Land          10/19/1994               JDA                       Joint Venture Development Agreement, dated October 19,1994',,between Norcen Explorer, Inc.
                                                                 and Texaco Exploration and Production, Inc. forming a working‐interest unit comprising portions
                                                                 of'Ship .ShOperating Agreementl Block 206 and OCS‐G 1523,‐Ship ShOperating Agreementl Block
                                                                 207;
Land          11/16/1994                  JDA                    Joint Venture Development Agreement, dated November 16><1994, between Norcen.Explorer,
                                                                 Inc.,
                                                                 Texaco Exploration and1
                                                                  Production, Inc,, Industries, TheiGeorge R. Brown Partnership, JOC
                                                                 Venture, LamarHunt Trust Estate, Mobil Oil Exploration SoProducingiSoutheast Inc.,‐and Hunt Oil
                                                                 Company,.covering all of Blocks 206 and 207 Ship ShOperating Agreementl Area.

Land          11/30/1994                  JDA                    Amendment to Joint Venture Development Agreement, dated November'30,1994, between
                                                                 iNorcen Explorer,.'lnc., Texaco Exploration, and Production; Inc., Hunt Industries, The
                                                                 George.R..Brown Partnership, JOG Venture, Laniar Hunt Trust Estate, Mobil Oil Exploration
                                                                 &«Producing Southeast Inc., and Hunt Oil Company, covering all of Blocks 206 and 207 Ship
                                                                 ShOperating Agreementl Area.
Land          3/28/1995            Letter Agreement              LETTER AGREEMENT DATED MARCH 28,1995, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                 AND DAVID U. MELOY, ET AL.
Land           4/6/1995                   JDA                    Amendment tp Joint Venture Development Agreement, dated April 6, 1995, between Norcen.
                                                                 Explorer, Inc., Texaco Exploration and Production; Inc., Hunt Industries, The George R. Brown,
                                                                 Partnership; JOC Venture, Lamar Hunt Trust Estate, Mobil Oil Exploration 8i Producing Southeast
                                                                 Inc., and Hunt Oil Company, covering; all of'Blocks.206 and 207 Ship ShOperating Agreementl
                                                                 Area.
Land           5/1/1995        Joint Operating Agreement         AMENDMENT TO OPERATING AGREEMENT DATED MAY 1, 1995, BY AND BETWEEN CONOCO
                                                                 INC. AND VASTAR RESOURCES, INC., ET AL.
Land           7/1/1995        Joint Operating Agreement         OFFSHORE OPERATING AGREEMENT EFFECTIVE JULY 1, 1995, BY AND BETWEEN NORCEN
                                                                 EXPLORER, INC, OPERATOR, DALEN RESOURCES OIL & GAS CO AND GLOBAL NATURAL
                                                                 RESOURCES CORPORATION OF NEVADA COVERING PORTIONS OF BLOCK 117 AND 118, EUGENE
                                                                 ISLAND, AS AMENDED TO EXCLUDE JOINT DEVELOPMENT ACREAGE.
Land          10/1/1995        Joint Operating Agreement         JOINT OPERATING AGREEMENT BY AND BETWEEN AMERADA HESS CORPORATION AND VASTAR
                                                                 RESOURCES INC.
Land          11/8/1995            Letter Agreement              LETTER AGREEMENT BY AND BETWEEN FORCENERGY GAS EXPLORATION INC. AND ENERGY
                                                                 INVESTMENTS INC.
Land          12/14/1995                  LOI                    REVISED LETTER OF INTENT (FARMOUT) DATED DECEMBER 14, 1995, BY AND BETWEEN
                                                                 ENSERCH EXPLORATION, INC, AND PETROBRAS AMERICA, INC.
Land          2/23/1996    JOINT DEVELOPMENT AGREEMENT           JOINT DEVELOPMENT AGREEMENT BY AND BETWEEN APACHE CORPORATION, W & T, DEVON,
                                                                 NCX
Land           3/7/1996    Conditional Letter of Acceptance to   Letter Agreement by and between Hardy Oil & Gas USA, Inc., British‐Borneo Exploration by
                                Exploration Agreement            Hardy Oil & Gas USA, inc., British Borneo Exploration, Inc. and Zilkha Energy Company

Land           3/7/1996                   JDA                    JOINT DEVELOPMENT AREA AGREEMENT DATED MARCH 7, 1996, BY AND BETWEEN LOUISIANA
                                                                 LAND AND EXPLORATION COMPANY AND ENSERCH EXPLORATION, INC, ET AL COVERING
                                                                 PORTIONS OF BLOCKS 107, 108, 118 AND 117, EUGENE ISLAND.
Land           9/1/1996        Joint Operating Agreement         JOA BY AND BETWEEN CAIRNE ENERGY USA, INC. AND NORCEN EXPLORER, INC. ET AL.
Land           9/1/1996                    OA                    Offshore Operating Agreement 9/1/1996
Land           9/3/1996                    OA
                                                                 Operating Agreement (depths below 9000' on VR 392 & VR 408; and all depths VR 407) 9/3/1996
Land          12/15/1996                   OA                    Operating Agreement eff. 12‐15‐96 b/b Vastar and Union
Land           1/3/1997        Joint Operating Agreement
                                                                 Operating Agreement eff. 1‐3‐1977 b/b Transco Exploration Company, as Operator, and Freeport
                                                                 Oil Company, Energy Development Corporation, Pioneer Production Corporation, et al
Land          1/21/1997               Assignment
                                                                 Assignment of Record Title effective date 01/21/97 from Phillips Petroleum Company to SOI. SOI
                                                                 will acquire a 50.0% of 6/6ths interest in OCS‐G 13944, GI Block 116, South Addition.
Land          1/21/1997                   PSA                    Purchase and Sale Agreement between Phillips Petroleum Company ("Seller") and SOI
                                                                 ("Purchaser"), whereby Phillips reserves a prop01tionately reduced 10% of 6/6ths Overriding
                                                                 Royalty Interest in OCS‐G 13944, effective date 01/21197
Land           5/1/1997        Joint Operating Agreement         Amendment to Operating Agreement, dated effective May 1,1997, between GOM Shelf, LLC, and
                                                                 ChevronTexaco and Kerr‐McGee Oil & Gas Corporation, amending Exhibit "A" to reflect a new
                                                                 division of interest.
Land           7/7/1997            Letter Agreement              Letter Agreement, dated July 7, 1997, by and between Chevron U.S.A. Inc. and Samedan Oil
                                                                 Corporation,concerning of the OCSTG 10930 Well #1 in Viosca Knoll Block 251 to a proposed
                                                                 depth of 22,500' and certain
                                                                 earning and assignment provisions, more fully described therein.
Land          10/1/1997                   UOA                    MI 623 Unit Operating Agreement
Land          10/1/1997                   UOA                    SP 65 G G‐1 Unit Res A UOperating Agreement
Land          10/1/1997                   UOA                    SP 65 G G‐1 Unit Res B UOperating Agreement
Land          10/1/1997                   UOA                    SP 65 G2‐G3 UOperating Agreement
Land          10/1/1997                    OA                    SP 61, 70 Joint Operating Agreement eff. 10‐1‐97
Land          12/18/1997                   PA                    PARTICIPATION AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND WESTPORT OIL AND
                                                                 GAS COMPANY INC.
Land           2/1/1998        Joint Operating Agreement         OPERATING AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND WESTPORT OIL AND
                                                                 GAS COMPANY INC
Land          2/28/1998            Letter Agreement
                                                                 Letter Agreement dated 02/28/98 between CNG Producing Company, et al, and SOI and
                                                                 Anadarko Petroleum Corporation, whereby SOI acquires 50% working interest in GI
                                                                 Block 110.
Land           3/1/1998        Unit Operating Agreement          UNIT OPERATING AGREEMENT DATED MARCH 1, 1998, BY AND BETWEEN ANADARKO
                                                                 PETROLEUM CORPORATION AND SHELL OFFSHORE INC.
                                                                 UNIT NO.754398019
Land           3/1/1998             Unit Agreement               UNIT AGREEMENT FOR OUTER CONTINENTAL SHELF EXPLORATION, DEVELOPMENT, AND
                                                                 PRODUCTION OPERATIONS ON THE GRAND ISLE BLOCK 116 UNIT, DATED MARCH 1, 1998, BY
                                                                 AND BETWEEN ANADARKO PETROLEUM CORPORATION, AND SHELL OFFSORE INC. UNIT
                                                                 NO.754398019
Land           3/1/1998                  ORRI                    Assignment of Overriding Royalty Interest, dated effective 03/01/98, whereby ANADARKO and
                                                                 SOI assigns 1 % (of 6/6ths) ORRI to BHP, CNG and Amoco, re: GI
                                                                 111OCS‐G18069, GI 116 OCS‐G 13944, GI 110OCS‐G13943.
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Land           3/1/1998           Assignment           Record Title Assignment of Oil and Gas Lease (OCS‐G 13943) effective date 03/01/98 whereby
                                                       BHP Petroleum {GOM) Inc., (Assignor) assigns to SOI and Anadarko
                                                       Petroleum Corporation (Assignees) a 25% of 6/6ths, equally to Assignees, being of all right, title
                                                       and interest, covering OCS‐G 13943, GI Block 110, South Addition.
Land           3/1/1998              ORRI              Assignment of Overriding Royalty Interest, dated effective 03/01/98, whereby ANADARKO and
                                                       SOI assigns 1 % (of 6/6ths) ORRI to BHP, CNG and Amoco, re: GI 111OCS‐G18069, GI 116 OCS‐G
                                                       13944, GI 110OCS‐G13943.
Land           3/2/1998               LA               LETTER AGREEMENT DATED MARCH 2, 1998, BY AND BETWEEN ANADARKO PETROLEUM
                                                       CORPORATION, ET AL, AND AMOCO PRODUCTION COMPANY, ET AL.
Land           3/3/1998               PA               PARTICIPATION AGREEMENT BY AND BETWEEN WESTPORT OIL AND GAS COMPANY INC. AND
                                                       BASIN EXPLORATION INC
Land          3/13/1998    Joint Operating Agreement   AMENDMENT TO OPERATING AGREEMENT DATED MARCH 13, 1998, BY AND BETWEEN TEXACO
                                                       EXPLORATION AND PRODUCTION INC. AND VASTAR RESOURCES, INC.
Land           4/1/1998              JVA               JOINT VENTURE AGREEMENT ‐ SPECTER PROSPECT DATED APRIL 1, 1998 BY AND BETWEEN
                                                       SHELL OFFSHORE, INC. AND ELF EXPLORATION INC. ET AL., as amended.
Land           4/1/1998    Joint Operating Agreement   OFFSHORE OPERATING AGREEMENT DATED APRIL 1, 1998, BY AND BETWEEN SHELL OFFSHORE
                                                       INC. AND SNYDER OIL CORPORATION, ET AL.
Land           4/6/1998        Letter Agreement        LETTER (ELF OFFERS NIPPON PART OF THE COperating AgreementSTAL INTEREST) DATED APRIL
                                                       6, 1998, BY AND BETWEEN ELF EXPLORATION INC. AND NIPPON OIL EXPLORATION U.S.A.
                                                       LIMITED
Land           4/6/1998              JVA               AMENDMENT TO JOINT VENTURE AGREEMENT‐ ELF ASSUMES COperating AgreementSTAL
                                                       POSISTION DATED APRIL 6, 1998 ELF EXPLORATION INC. AND COperating AgreementSTAL O&G
                                                       CORPORATION.
Land           4/7/1998           Assignment           Assignment of Record Title Interest, dated 4/7/98, whereby SOI assigns 12.5% Record Title to OBI
                                                       regarding GI 116, OCS‐G 13944.
Land          4/10/1998               FO               FARMOUT AGREEMENT DATED APRIL 10, 1998, BY AND BETWEEN COperating AgreementSTAL
                                                       O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land          4/13/1998        Letter Agreement
                                                       LETTER‐ NIPPON TAKES ITS SHARE OF COperating AgreementSTAL F/O & SHARE OF ELF'S
                                                       INTEREST DATED APRIL 13, 1998, BY AND BETWEEN ELF EXPLORATION INC., COperating
                                                       AgreementSTAL O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land          7/1/1998         Farmout Agreement       FO by and between Energy Development Corp & Juniper Energy Kp
Land          7/12/1998    Joint Operating Agreement
                                                       JOINT OPERATING AGREEMENT DATED JULY 12, 1998 BY AND BETWEEN RANGER OIL COMPANY,
                                                       THE HOUSTON EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          11/5/1998              JVA               ADDENDUM TO JOINT VENTURE AGREEMENT DATED NOVEMBER 5, 1998, BY AND BETWEEN
                                                       SHELL OFSSHORE INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED, ET AL.
Land          2/11/1999              OA                Operating Agreement eff. 2‐11‐99
Land          6/1/1999     AREA OF MUTUAL INTEREST     AREA OF MUTUAL INTEREST BY AND BETWEEN OCEAN ENERGY INC. AND DUKE ENERGY
                                                       HYDROCARBONS, LLC
Land           8/5/1999               EA
                                                       EXPLORATION AGREEMENT DATED AUGUST 5, 1999 BY AND BETWEEN RANGER OIL COMPANY,
                                                       THE HOUSTON EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          11/18/1999       Letter Agreement        Letter Agreement, dated November. 18, 1999, by and between Chevron U.S.A. tic. and Samedan
                                                       Oil Corporatidri being a COPAS Amendment to Unit Operating Agreement for the Viosca Knoll
                                                       252 Unit concerning
                                                       Subpart (i;) of Section m. "Overhead", andimade effective January 1,2000.
Land          12/1/1999    Joint Operating Agreement   JOINT OPERATING AGREEMENT BY AND BETWEEN FORCENERGY INC. AND MAKO OFFSHORE
                                                       EXPLORATION, INC., ET AL.
Land          11/1/1980    Joint Operating Agreement   Operating Agreement, Main Pass Area, Blocks 77 and 78, Gulf of Meidco, dated effective
                                                       November 1, 1980,between Gulf Oil Corporation, Texoma Production'Company, The Anschutz
                                                       Corporation, NICOR Exploration
                                                       Company, and The Superior Oil Company, covering the federal Oil and Gas Lease OCS‐G 4481,
                                                       Blocks 77>and78 Main Pass Area, Offshore Louisiana, a true copy of the original is recorded in
                                                       C.O.B. 592, Folio 658,
                                                       Plaquemines Parish, Louisiana.
Land          12/15/1999       Letter Agreement        Letter Agreement, dated December 15, 1999, between Apache Corporation, Chevron U.S.A.
                                                       Production Company, Kelley Oil Corporation, Key Production Company, Mobil Exploration &
                                                       Producing U.S. Inc. and
                                                       Sabco Oil and Gas Corporation, regarding the OCS‐G 4481 #A‐23 Well, Main Pass Block 77, Main
                                                       Pass Block 151 Field, Offshore. LA. Note: only have Key's executed cop
Land           1/1/2000    Joint Operating Agreement   JOINT OPERATING AGREEMENT BY AND BETWEEN OCEAN ENERGY, INC., MCMORAN OIL & GAS
                                                       LLC., ET AL.
Land          1/31/2000                FO              Farmout Letter Agreement 1/31/2000
Land           2/7/2000                OA              Operating Agreement eff. 2‐7‐00
Land           5/1/2000                OA              Operating Agreement eff. 5/1/00
Land           8/4/2000                FO              Farmout Agreement 8/4/2000
Land          11/17/2000               PA              Participation Agreement and Operating Agreement 11‐17‐00 b/b Samedan and Stone
Land          12/8/2000        Letter Agreement        Letter Agreement, dated December 8, 2000 (effective December 1, 2000), by and between
                                                       Chevron U.S.A. Inc.and Williams Field Services ‐ Gulf COperating Agreementst Company, L.P.,
                                                       whereby Chevron U.S.A. Inc. consents to an
                                                       assignment by Williams Field Services ‐ Gulf COperating Agreementst Company, L.P., to its
                                                       affiliate, Williams Mobile Bay Producer Services, L.L.C.

Land          1/11/2001       LETTER AGREEMENT
                                                       Letter, dated January 11, 2001, from the United States Department of the Interior, Minerals
                                                       Management Serviceto Chevron U.S.A. Inc., approving the initial participating area plat and
                                                       Exhibit C for the Viosca Knoll 252 Unit,Agreement No. 754394013, effective November 8, 2000
Land          6/1/2001                 OA              Offshore Operating Agreement 6/1/2001
Land          6/15/2001    Joint Operating Agreement   JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND RWE
                                                       PERTROLEUM COMPANY ET AL
Land          6/15/2001              JDA               JOINT DEVELOPMENT AGREEMENT EFFECTIVE JUNE 15, 2001, BY AND BETWEEN RME
                                                       PETROLEUM COMPANY AND W&T OFFSHORE, INC, "SM280 OWNERS" AND RME ET AL "SM 281
                                                       OWNERS" AND THAT CERTAIN JOINT OPERATING AGREEMENT ATTACHED THERETO AS EXHIBIT
                                                       "B".
Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering SM 66
Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering OCS‐G 2282, South Marsh Island Block 132.

Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering SM 135
Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering SM 136
Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering SM 137
Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering SM 149
Land          10/1/2001               OA               Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                       California and Forest Oil Corporation, covering SM 150
Land          10/1/2001                OA              Operating Agreement eff. 10‐1‐01 b/b Union and Forest
Land          10/1/2001                OA              Operating Agreement eff. 10‐1‐01 b/b Union and Forest
Land          11/3/2001        Letter Agreement        Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                       party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                       (grantees), being a conditional
                                                       consent to assign.
Land           1/9/2002        Letter Agreement        Letter, dated January 9, 2002, from the United States Department of the Interior, Minerals
                                                       Management Service to Chevron U.S:A. Inc., approving.a revision to the participating area plat
                                                       and Exhibit C for the Viosca Knoll 252 Unit, Agreement No. 754394bl'3, effective December 1,
                                                       2001.
Land           3/1/2002               FO               Farmout Agmt. eff. 3‐1‐2002 b/b Samedan Oil Corporation (Farmor) and Pure Resources, L.P.
                                                       (Farmee)
Land          8/23/2002    Joint Operating Agreement   Joint Operating Agreement by and between Dominion Exploration & Production, Inc., as
                                                       Operator, and Spinnaker Exploration Company, L.L.C., as Non‐Operator
Land          8/30/2002           Assignment           Assignment of Record Title Interest, approved 8/30/2002, whereby SOI assigns unto OBJ,
                                                       covering GI 110 OCS‐G 13943.
Land          9/20/2002           Assignment           Assignment of Operating Rights, approved 9/20/2002, whereby SOI assigns unto OEI, covering GI
                                                       110, OCS‐G 13943.
Land          12/18/2002      Pooling Agreement        POOLING AGREEMENT DATED DECEMBER 18, 2002, BY AND BETWEEN THE STATE OF TEXAS
                                                       AND SPINNAKER EXPLORATION COMPANY, L.L.C.
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Land          12/20/2002       Joint Operating Agreement        Joint Operating Agreement by and between Dominion Exploration & Production, Inc. and
                                                                Spinnaker Exploration Company, LLC
Land          3/31/2003             Letter Agreement            Letter Agreement, dated March 31, 2003, between Chevron U.S.A. Inc., Sabco Oil and Gas
                                                                Corporation, Apache Corporation, ExxonMobil Production Company, Key Production Company
                                                                and Contour Energy
                                                                Company regarding Second Opportunity to Participate ‐ Election to Acquire^Non‐Participating
                                                                Interest, in the MP77 OCS‐G 4481 A‐6 TTPG, Project No. UWGHP‐R3011, Cost Center UCP170500,
                                                                Main Pass Block 77.
                                                                Key Production Company election.
Land           5/1/2003        Joint Operating Agreement        Offshore Operating Agreement dated May 1, 2003 between Magnum Hunter Production,Inc, and
                                                                Westport Resourcs Corporation et al
Land          5/19/2003                    JOA                  JOperating Agreement eff. 5/19/03
Land          5/19/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between FIELDWOOD ENERGY OFFSHORE
                                                                LLC(SUCCESSOR TO GRYPHON EXPLORATION COMPANY) ANDAPACHE CORPORATION
                                                                (SUCCESSOR TO SPINNAKER EXPLORATION COMPANY, L.L.C.)
Land           6/9/2003                    PA                   Participation Agmt. eff. 6‐9‐2003 b/b Samedan Oil Corporation and CLK Company
Land           8/7/2003                    PA                   Exploration Participation Agreement, dated August 7, 2003, by and between Chevron U.S.A. Inc.
                                                                and'Westport Resources Corporation, as amended, concerning certain Offshore Continental
                                                                Shelf properties, all as is
                                                                more fully, provided'for and described therein.
Land          9/25/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between Apache Corporation and Chevron USA

Land           1/1/2004                    FO                   FARMOUT AGREEMENT DATED JANUARY 21, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                BP AMERICA PRODUCTION COMPANY.
Land           1/7/2004     Area of Mutual Interest Agreement
                                                                Area of Mutual Interest Agreement by and between Apache Corporation and Shell Offshore et al
Land          2/25/2004                    FO                   Farmout Agmt eff. 2‐25‐2004 b/b Forest Oil Corporation, Texas Standard Oil Company, Noble
                                                                Energy, Inc. and Pioneer Natural Resources USA, Inc., as Farmors, and Houston Energy, L.P., as
                                                                Farmee
Land          2/25/2004        Joint Operating Agreement
                                                                Ratification and Amdt. Of Operating Agreement eff. 2‐25‐2004 b/b Forest Oil Corporation et al
Land          3/18/2004                   PSA                   PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
Land          3/25/2004                   JVA                   Amendment to Joint Venture Development Agreement, dated. March 25, 2004 between
                                                                Anadarko E 8t P Company LP: Chevron U.S.A. Inc.; Hunt Oil Company, Hunt Petroleum, the
                                                                George,R..Brown Partnership LP, Offshore Investment ,Cov and the'Lamar Hunt Trust Estate,,
                                                                whereby the Unit 'was expanded
Land           4/1/2004        Joint Operating Agreement        AMENDMENT OF JOINT OPERATING AGREEMENT DATED APRIL 1, 2004, BY AND BETWEEN BP
                                                                AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land           4/2/2004                Divestiture              ASSET SALE AGREEMENT DATED APRIL 2, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                STONE ENERGY CORPORATION.
Land          4/19/2004                    FO                   Farmout Agreement by and between Newfield Exploration Company and Westport Resources
                                                                Company, as Owners of WC 73, and Dominion Exploration & Production, Inc. and Spinnaker
                                                                Exploration Company, LLC as Owners of WC 72
Land          5/28/2004             Letter Agreement            Letter, dated May 28, 2004, from the United States Department of the Interior, Minerals
                                                                Management Service to Chevron U.S.A. Inc., approving a revision to the participating area plat
                                                                and Exhibit Cfor theiViosca Knoll 252
                                                                Unit, Agreement No. 754394013, effective December 1, 2003.
Land           6/1/2004                    OA
                                                                Operating Agreement eff. 6‐1‐04 by and between Newfield Exploration Co & Triumph Energy LLC
Land          6/29/2004             Letter Agreement            LETTER AGREEMENT DATED JUNE 29, 2004, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                AND BP AMERICA PRODUCTION COMPANY.
Land          7/20/2004                   PHA                   PHA eff. 7‐20‐2004 b/b Forest Oil Corporation, as operator and co‐owner of the WD 34 A PF and
                                                                Red Willow Offshore, LLC, et al, as producers
Land          7/27/2004         Confidentiality Agreement       Confidentiality Agreement by and between Apache Corporation and Applied Drilling Technology,
                                                                Inc.
Land           8/1/2004         Unit Operating Agreement        Amendment and Supplement to?Unit Operating Agreement for the Viosca Knoll 252 Unit, dated
                                                                August 1,2004, by and between Chevron UiS.A. Inc. and‐Noble Energy, Inc
Land          8/1/2004                    OA                    Operating Agreement 8/1/04
Land          8/11/2004                  Notice                 NOTICE OF ASSIGNMENT DATED AUGUST 11, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                STONE ENERGY CORPORATION.
Land          8/24/2004             Letter Agreement            Letter Agreement dated August 24, 2004, between Chevron U.S.A. Inc. and Williams Field
                                                                Services‐ Gulf COperating Agreementst Company, L.P.
Land           9/7/2004    Settlement and Release Agreement     SETTLEMENT AND RELEASE AGREEMENT DATED SEPTEMBER 7, 2004, BY AND BETWEEN BP
                                                                AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land          10/1/2004                   OA                    Operating Agreement eff. 10‐1‐04
Land          10/6/2004                   LOI                   LETTER OF INTENT DATED OCTOBER 6, 2004, BY AND BETWEEN THE HOUSTON EXPLORATION
                                                                COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          10/7/2004                    EA                   EXPLORATION AGREEMENT DATED OCTOBER 7, 2004, BY AND BETWEEN THE HOUSTON
                                                                EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          10/14/2004            Letter Agreement            Letter Agreement, dated October. 14, 2004, between Ghevron U.S.A. Inc. and Noble Energy,.Inc.
                                                                concerning Production Handling Agreement Terin's, Viosca Knoll 251 "A'
                                                                PlatfomvCadillacProspect and any Other Future
                                                                Non‐unit Production
Land          10/28/2004                  PSA
                                                                PSA dated 10‐28‐2004 but eff. 7‐1‐2004 B/B Eni Deepwater LLC and Northstar Gulfsands, LLC
Land          11/1/2004                    PA                   Exploration Participation Agreement, dated November 1, 2004, by and between Chevron U.S.A.
                                                                Inc. and Newfield Exploration Company, concerning certain Offshore Continental Shelf
                                                                properties, all as is more fully
                                                                provided for and described therein
Land          11/18/2004            Letter Agreement            Letter Agreement, dated November 18; 2004, between Chevron U.S.A. Inc. and Newfield
                                                                Exploration Company, amendihg'the;terms of Letter Agreement•,dated October f4, 2004,
                                                                between Chevron U.S.A. Inc. and
                                                                Noble Energy, Inc. concerning Production Handling Agreement Terms, Viosca knoll.251 "A"'
                                                                Platform, Cadillac Prospect and any Other Future Non‐unit Production:
Land           1/1/2005                   VUA                   VOLUNTARY UNIT AGREEMENT DATED JANUARY 1, 2005, BY AND BETWEEN SPINNAKER
                                                                EXPLORATION COMPANY, L.L.C. AND THE HOUSTON EXPLORATION COMPANY AND GRYPHON
                                                                EXPLORATION COMPANY.
Land          1/1/2005            Operating Agreement           Operating Agreement 1‐1‐05 by an between Maritech and Arena
Land          1/25/2005            Letter Agreement             Letter Agreement for the Operation and Ownership Transfer of Certain South Marsh Island Block
                                                                66 Facilities, dated effective January 25, 2005, between Transcontinental Gas Pipeline
                                                                Corporation,;as Seller> and Union Oil "Company‐of California and Forest Oil Corporation, as
                                                                Purchasers, for facilities and pipeline associated with "A" and "C" Platforms'. NEVER
                                                                CONSOMATED.
Land           2/1/2005             Letter Agreement            Letter Agreement, dated February 1, 2005, between Union Oil Company of California and Forest
                                                                Oil , covering OCS‐G 2589, South Marsh Island Block 137, asthe Unit Operating Agreement for
                                                                South Marsh Island Block 137 Unit, identified as Unit Agreement No. 14‐08‐001‐20237, replacing
                                                                and superseding, effective October 1, 2001, that certain Unit Operating Agreement dated
                                                                January 1,1989 between Conoco Inc., Texaco Producing Inc. and CanadianOXY Offshore
                                                                Production Company.
Land          3/28/2005                    PA                   PARTICIPATION AGREEMENT BY AND BETWEEN GOM SHELF LLC BY APACHE CORPORATION AND
                                                                RIDGEWOOD ENERGY CORPORATION
Land          5/27/2005        Joint Operating Agreement
                                                                Operating Agmt eff. 5‐27‐2005 b/b BP Exploration & Production Inc. and EOG Resources, Inc.
Land          5/28/2005                    PA
                                                                Participation Agmt eff. 5‐28‐2005 b/b BP Exploration & Production Inc. and EOG Resources, Inc.
Land           8/2/2005                   PSA                   PURCHASE AND SALE AGREEMENT DATED AUGUST 2, 2005, BY AND BETWEEN BP AMERICA
                                                                PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land          10/25/2005                  OA                    Operating Agreement 10‐25‐05
Land          11/1/2005                   JDA                   JOINT DEVELOPMENT AGREEMENT BY AND BETWEEN MERIT ENERGY COMPANY AND STONE
                                                                ENERGY CORPORATION ET AL
Land          11/1/2005    Partition and Redemption Agreement   Partitiion and Redemption Agmt. dated 11‐1‐2005 b/b Northstar Gulfsands, LLC and Gulfsands
                                                                Petroleum USA, Inc.
Land          11/7/2005              Unit Agreement
                                                                Amendment to Unit Agreement, Viosca Knoll Block 252 Unit, Contract No. 754394013, dated
                                                                November 7, 2005 (effective November 1, 2005) as approved by the Minerals Management
                                                                Service by letter dated January 10,2007, but made effective November 8, 2006, replacing Exhibits
                                                                "A", "B" and "C" and Article 13.1 in its entirety (reduction of Unit Area)
Land          12/20/2005            Letter Agreement            Letter Agreement, dated December 20, 2005, between Noble Energy, Inc. and Ghevron U.S.A.
                                                                Inc., being a consent.to.disclose confidential data
Land          2/22/2006                    FO                   Farmout Proposal Letter Agreement between The Houston Exploration Company
                                                                and Noble Energy Inc. 2/22/2006
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Land           3/1/2006                ABOS
                                                            ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.
Land           4/4/2006     Joint Operating Agreement       STONE ENERGY CORPORATION AND GOM SHELF LLC, ET AL
Land          6/28/2006                 OA                  JOperating Agreement eff. 6‐28‐86
Land          7/24/2006                 OA                  Operating Agreement eff. 7‐24‐06
Land          10/17/2006               JOA                  Operating Agreement eff. 10‐17‐06
Land          10/30/2006                FO
                                                            Farmout Agreement, dated effective October 30, 2006, between Chevron U.S.A. Inc., as‐Farmor,
                                                            and Mariner Energy Resources, Inc., as farmee, covering S/2 of SM 149 (OCS‐G 2592) and S/2 of
                                                            SM 150 (005‐016325) and limited to depths from the surface.to the stratigraphic equivalent of
                                                            100' below the deepest depth drilled in the #1 Well as proposed.
Land          1/10/2007          Letter Agreement           Letter dated January 10, 2007, from the.United States Department of the Interior, Minerals
                                                            Management Service to Chevron U.S.A. Inc., approving a revision Exhibits "A", "B" and "C"
                                                            reflecting a change in the Unit Area due to contraction provisions in the Viosca Knoll 252 Unit,
                                                            Agreement No. 754394013.
Land          2/28/2007                FO                   FO eff. 2/28/07 by and between Newfield and Apache
Land          4/3/2007      Confidentiality Agreement       Confidentiality Agreement by and between Apache Coporation, Samson Contour Energy and
                                                            Shell Offshore
Land          5/17/2007     Joint Operating Agreement       JOINT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION COMPANY,
                                                            L.P. AND HUNT PETROLEUM CORPORATION, ET AL.
Land          9/21/2007      FARMOUT AGREEMENT              FARMOUT AGREEMENT b/b APACHE CORPORATIONand SENECA RESOURCES CORPORATION

Land          12/31/2007                PSA                 PURCHASE AND SALE AGREEMENT BY AND BETWEEN GOM SHELF LLC AND WILD WELL
                                                            CONTROL INC.
Land          12/31/2007       Company Agreement            Company Agreement, dated effective December 31, 2007, between BP America Production
                                                            Company,Chevron USA Inc. and GOM Shelf LLC, amending the Operating Agreements for certain
                                                            jointly‐owned
                                                            Facilities and Wells in GI 40, 41, 47, 48 and WD 69 and 70 damaged by Hurricane Katrina.
Land          12/31/2007                PSA                 Agreement for Purchase and Sale, effective December 31, 2007, between Chevron U.S.A. Inc., as
                                                            Seller, and Wild Well Control, Inc., as Buyer, conveying Chevron's undivided interest in certain
                                                            Facilities and
                                                            Wells in Gl 40, 41, 47, 48 and WD 69 and 70 to Wild Well Control for the purpose of
                                                            decommissioning
Land           5/1/2008     Joint Operating Agreement       JOINT OPERATING AGREEMENT BY AND BETWEEN MARINER ENERGY, INC. AND APACHE
                                                            CORPORATION
Land           7/7/2008             Acquisition             Stock Purchase Agmt dated July 7, 2008 b/b Northstar E&P, LP and Dynamic Offshore Resources,
                                                            LLC
Land           7/7/2008          Letter Agreement           VR 332 A5 Letter Agmt dated July 7, 2008 b/b Northstar Interests, L.C. and Dynamic Offshore
                                                            Resources, LLC
LAND          7/15/2008      Participation Agreement        ST 311 Participation Agreement‐Walter & APA‐7‐15‐2008
LAND          7/15/2008        Assignment of ORRI           ST 311 Walter ORRI Assign.
Land          8/27/2008                  FO
                                                            FARMOUT AGREEMENT BY AND BETWEEN PIESCES ENERGY LLC AND APACHE CORPORATION
Land          12/8/2008            Platform Sale            Platform Sale Agreement, WD 94 G Auxiliary Platform„dated:effective December 8, 2008
                                                            between BP America'Production Company and GOM Shelf LLC, as‐sellers, and Chevron USA Inc.,
                                                            as buyer.

Land          4/30/2009                 OA                  Operating Agreement eff. 4‐30‐09 Chevron USA, et al
Land          6/1/2009                  FO                  Farmout Agreement dated effective June 1, 2009, between Chevron U.S.A. Inc., and Phoenix
                                                            Exploration Company, LP and Challenger Minerals Inc., covering OCS‐G 32267, Chandeleur Block
                                                            42 and OCS‐G 32268, Chandeleur Block 43, INSOFAR AND ONLY INSOFAR as they cover those
                                                            depths from the surface to one hundred feet (100') below the deepest depth drilled and logged
                                                            in the earning well.
Land           6/1/2009                OA                   JOperating Agreement CA 42/43
Land           6/1/2009                OA                   Operating Agreement eff. 6‐1‐09 Chevron USA, et al
Land           8/7/2009     Confidentiality Agreement
                                                            Confidentiality Agreement by and between Apache Corporaiton and Houston Energy, L.P.
Land          12/14/2009       OPTION AGREEMENT             OPTION AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET AL

Land           2/1/2010      FARMOUT AGREEMENT              FARMOUT AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET
                                                            AL
Land          2/25/2010                  OA                 Operating Agreement eff. 2‐25‐10
Land          4/8/2010           Letter Agreement
                                                            Letter Agreement, dated 4/8/2010 between Shell Offshore Inc., Apache Corporation and Nippon
                                                            Oil Exploration U.S.A. Limited amending the Unit Operating Agreement, dated
                                                            March 1, 1998.
Land           6/1/2010                 PA                  Approval.of Revision of Participation Area, effective June 1, 2010, whereby the Grand Isle CATCO
                                                            Unit was revised.

Land           6/1/2010                ABOS                 Bill of Sale and Conveyance, effective June 1, 2010, whereby Chevron U.S.A. Inc. transferred
                                                            certain Interests in Grand Isle Block 46, OCS‐G 00132 N‐l well/API No. 17‐717‐40959‐00, certain
                                                            interests in Grand Isle Block 46, OCS‐G 00132 Platform, the line fill as of the effective date, and
                                                            the Minerals Management Segment Number 15732 Pipeline as well as its associated Right of
                                                            Way, equipment and facilities to GOM Shelf
Land          7/23/2010     Confidentiality Agreement
                                                             Confidentiality Agreement by and between Apache Corporaotion and W & T Offshore Inc.
LAND          9/1/2010       OCS Exploration Venture         mp‐295‐Joint Venture Letter Agreement
Land          9/14/2010        Letter Agreement              CHEVRON USA INC. AND GOM SHELF LLC
Land          2/1/2011                ABOS                   Assignment and Conveyance, dated effective February 1, 2011, between Harrigan Energy
                                                             Partners, Inc.,Assignor, and Chevron U.S.A. Inc^ as Assignee, covering Assignor's right, title and
                                                             interest in the Lease, together
                                                             with Assignor's interest in certain wells, facilities; pipelines, equipment, contracts,, etc:, all as
                                                             more fully described therein.
Land          3/15/2011     Joint Operating Agreement        JOINT OPERATING AGREEMENT BY AND BETWEEN APACHE CORPORATION AND STONE ENERGY
                                                             OFFSHORE LLC
Land          4/21/2011                 PSA                  Asset Purchase and Sale Agreement, dated April 21, 2011, but made effective February 1, 2011,
                                                             between SabcoOil and Gas Corporation, as Seller, and Chevron U.S.A. Inc., as Purchaser, whereby
                                                             Purchaser acquired
                                                             0.63149% of 0.83922% of 8/8ths of Seller's right title and interest in the Lease, together with
                                                             Seller's interest in certain wells, facilities, pipelines, equipment, contracts, etc., all as more fully
                                                             described therein.
Land          4/21/2011                ABOS                  Assignment and BUI of.Sale, dated April 21, 2011, but made effective February 1, 2011, between
                                                             Sabco Oil and Gas Corporation, as Assignor/and Chevron U.S.A. Inc., as Assignee, covering
                                                             Assignor's right, title and interest in the Lease, together with Assignor's interest in certain wells,
                                                             facilities, pipelines, equipment, contracts, etc., all
                                                             as more fully described therein
Land          8/1/2011               ABOS                   OS eff. 8‐1‐2011 b/b XTO Offshore Inc. ("Assingor") and Dynamic Offshore Resources, LLC ("Assignee")
Land          8/25/2011    PARTICIPATION AGREEMENT           PARTICIPATION AGREEMENT b/b APACHE CORPORATIONand CASTEX OFFSHORE, INC., ET AL

LAND          9/20/2011    Slot and Well Bore Acquisition   MP 296 MP 296 B‐19 Slot, Wellbore Acquisition Agreement
Land          11/3/2011          Letter Agreement
                                                            Letter Agreement dated November 3, 2011 evidencing Chevron U.S.A. Inc.'s consent to an
                                                            assignment of interest from Phoenix Exploration Company LP in that certain Farmout Agreement
                                                            dated and made effective June 1, 2009, to Apache Corporation and Castex Offshore, Inc.
Land          11/3/2011          Letter Agreement           Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                            party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                            (grantees), being a conditional
                                                            consent to assign.
LAND          11/17/2011     Assignment and Bill of Sale    MP 295, MP 296, MP 303, MP 304, MP 311, MP 312, MP 313 ABOS Stone to EPL 11‐1‐2011
LAND          12/1/2011       Participation Agreement       ST 311 Participation Agreement‐Walter & APA & Castex‐12‐1‐2011
LAND          12/15/2011   Slot and Well Bore Acquisition   MP 296 MP 296 B19 ST2 Slot & Well Bore Acq Agmt
Land           4/1/2012                   PA                Approval of. Revision of Participation Area, effective April 1, 2012, whereby the Grand, Isle
                                                            CATCO Unit was revised.

Land           5/1/2012    CONDENSATE TRANSPORT &           CONDENSATE TRANSPORT & SEPARATION AGREEMENT b/b APACHE CORPORATIONand CASTEX
                            SEPARATION AGREEMENT            OFFSHORE, INC., ET AL
Land           5/2/2012         Letter Agreement            Letter, dated May 2, 2012 between Newfield Exploration Company and Chevron U.S.A. Inc.,
                                                            being a waiver of confidentiality provision grant by Chevron in favor of Newfield;
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Land           6/1/2012                      PSA                     Ratification of Purchase and Sale Agreement by Holders of Preferential Right to Purchase, dated
                                                                     effective June l , 2012, between Key Production Company, Inc., as Seller, and Chevron U.S.A. Inc.
                                                                     and Dynamic Offshore Resources, LLC, as Preferential Right Purchasers, affecting that certain
                                                                     Purchase and Sale Agreement, dated June 27, 2012 but made effective June 1, 2012, between
                                                                     Key Production Company, Inc., as Seller, and Chevron U.S.A.
                                                                     Inc., as Buyer.

Land           6/1/2012                      ABOS                    Conveyance, Assignment and Bill of Sale, dated June 27,.2012 but made effective June 1, 2012,
                                                                     between Key Production Company, Inc., as Assignor, and Chevron U.S.A. be. and Dynamic
                                                                     Offshore Resources, LLC, as Assignees, covering an undivided 0.83922% right, title and.interest in
                                                                     certain property described in Exhibit "A" attached thereto, assigning 75.247% thereof to Chevron
                                                                     (0.63149% net) and 24.753% thereof to Dynamic
                                                                     (0.207.73%.net).
Land          6/27/2012                      PSA                     Purchase and Sale Agreement, dated June 27, 2012 but made.effective June I , 2012, between
                                                                     Key Production Company, Inc.,. as'Seller, and Chevron U.S.A. Inc., as Buyer, covering all of
                                                                     Seller's.right, title and interest in that certain Oil & Gas Lease bearing Serial No. OCS‐G 448,1, ),
                                                                     together with Seller's interest in certain wells, facilities, pipelines, equipment contracts, etc, all as
                                                                     more.fully described therein.
Land           7/9/2012           Joint Operating Agreement          Offshore Operating Agreement (Ship ShOperating Agreementl 176 Prospect OCS‐G 33646)
                                                                     Originally by and between Hall‐Houston Exploration IV, L.P, as Operator and GOM Offshore
                                                                     Exploration I, LLC and Apache Corporation as Non‐Operators
Land           8/1/2012      Throughput Capacity Lease Agreement
                                                                     Fieldwood leases capacity to Arena for Barnacle Pipeline
Land          9/17/2012                       PA                     PARTICIPATION AGREEMENT BY AND BETWEEN APACHE CORPORATION AND WALTER OIL & GAS
                                                                     CORPORATION
LAND          12/20/2012     Farmout Agreement Extension Letter      MP 295 Extension 12‐20‐12
Land           2/1/2013          AREA OF MUTUAL INTEREST             AREA OF MUTUAL INTEREST AGREEMENT BY AND BETWEEN APACHE CORPORATION AND
                                                                     ENERGY XXI GOM, LLC
Land           2/1/2013           Joint Operating Agreement          JOINT OPERATING AGREEMENT BY AND BETWEEN APACHE CORPORATION AND ENERGY XXI
                                                                     GOM, LLC
Land           2/1/2013                Data Agreement                Data Agreement effective 2‐1‐2013 by and between Fieldwood Energy LLC, GOM Shelf LLC,
                                                                     Apache Corporation and EXXI
LAND           2/1/2013       Memorandum of OA and Financing
                                        Statement                    Primary Term Lands ‐ MOA Recorded 01‐2015 Revision
LAND           2/1/2013           Exploration Agreement              MP 296 EXXI Exploration Agreement\Exploration Agreement Apache & Energy XXI 2‐1‐2013 with
                                                                     Exhibits (less B)
LAND          2/22/2013          Exploration Agreement Letter        Heron Prospect (MP 295) Letter of Agreement 2‐22‐13
Land          3/15/2013               Exploration Venture            Exploration Venture for portions of VR 271 SM 87 by and between Fieldwood Energy Offshore
                                                                     LLC, Apache Corporation and Pisces Energy LLC
Land           6/1/2013                      OA                      Operating Agreement eff. 6‐1‐13 Castex, et al
Land           7/1/2013                   Acquisition                PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                     and
                                                                     APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                     GOM SHELF LLC Dated as of July 18, 2013

Land           7/1/2013                    Acquisition               Acquistion by and between Fieldwood Energy LLC and Callon Petroleum Operating Co.
Land           7/1/2013                       MOA                    EI 136 Recorded Memorandum of Operating Agreement and Financing Statement
Land           7/1/2013            Joint Operating Agreement         EI 136 Operating Agreement covering depths below 19,135' SSTVD
Land           7/1/2013            Joint Operating Agreement         JOperating Agreement covering OCS‐G 32264 MP 302
Land           7/1/2013      Stipulation and Corrective Assignment   Stipulates the interest held by Apache Offshore Petroleum Limited Partnership, Fieldwood
                                                                     Energy LLC and Third parties
Land           7/1/2013     Assignment of Federal OCS Pipeline Right
                                              of Way                 Assignment of Pipeline ROW Apache to Fieldwood LLC
Land           9/9/2013     Amendment No. 1 Bar Prospect Offshore
                                       Operating Agreement           Amends certain JOperating Agreement dated 02/01/2013
Land          9/30/2013                     Acquisition              Purchased GOM Shelf as a company from Apache
                                                                     Election Letter Agreement by and between Fieldwood Energy LLC and Enven Energy Ventures
Land          10/7/2013    lection Letter Agreement PL 13 007 ST2 WeLLC
LAND          10/16/2013              Fabrication Agreement
                                                                     ST 311 A Platform Construction Contract Gulf Island LLC and Walter Oil and Gas dtd 10‐16‐13
Land          10/25/2013                Letter Agreement             Letter Agreement dated October 25, 2013 evidencing Chevron U.S.A. Inc.'s consent to an
                                                                     assignment of interest from Apache Corporation in that‐certain Farmout Agreement dated and
                                                                     made effective June 1, 2009, to Fieldwood Energy LLC.

                                                                          Equity Purchase Agreement between Sandridge Energy, Inc., Sandridge Holdings, Inc. and
                                                                     Fieldwood Energy LLC: Fieldwood purchased all companies listed with their assets which included
Land          12/1/2013                   Acquisition                              Offshore and SandRidge Legacy South Texas and South Louisiana assets.
Land          12/4/2013         Extension Request ‐ Slot Rental      by and between Fieldwood Energy LLC, GOM Shelf LLC and EPL Oil & Gas, LLC ‐ Amends certain
                                          Agreement                  Slot Rental Agreement dated 12/26/2012
Land          12/4/2013         Extension Request ‐ Slot Rental      by and between Fieldwood Energy LLC, GOM Shelf LLC and Apache Shelf Exploration LLC ‐
                                          Agreement                  Amends certain Slot Rental Agreement dated 12/26/2012
Land          12/16/2013          Joint Operating Agreement          TANA EXPLORATION COMPANY LLC AND APACHE CORPORATION
Land          12/28/2013                 Well Proposal               Letter proposing well B‐19 MP 302 well by and between Fieldwood Energy LLC, GOM Shelf LLC,
                                                                     Apache Corporation and Apache Shelf Exploration LLC
Land          12/30/2013            Withdrawal Agreement             Withdrawal Agreement by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.
Land          1/10/2014                Prospect Proposal             Gilligan & Bingo: Stone offering of prospects to Fieldwood Fieldwood election
Land          1/10/2014                Prospect Proposal             Gilligan & Bingo: Stone offering of prospects to Fieldwood Fieldwood election
Land           2/5/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land           2/5/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land           3/1/2014                    Acquisition               by and between Fieldwood Energy Offshore LLC and Black Elk Energy Offshore Operations, LLC:
                                                                     Leases where Fieldwood was the operator and Black Elk held interest. Exception is ST 53 where
                                                                     Black Elk was the Operator.
LAND          3/1/2014           Contract Operating Agreement        ST 320 Contract Operating Agreement dtd 3‐1‐14
Land          3/13/2014     Casing Point Election Letter MP 302 B‐19 by and between Fieldwood Energy LLC, GOM Shelf LLC and Apache Shelf Exploration LLC:
                                               Well                  Proposal to run casing and election by Apache
Land          3/13/2014         Contract Operations Agreement        Pursuant to change in operatorship per that PSA btw SandRidge and Black Elk
Land          3/24/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land          3/24/2014                Prospect Proposal             Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land          3/28/2014                Prospect Proposal
                                                                     Proposal Amendment and Various requests for extension from Stone and election by Fieldwood
Land          3/28/2014                Prospect Proposal
                                                                     Proposal Amendment and Various requests for extension from Stone and election by Fieldwood
Land           4/1/2014                         FO                   Farmout Agreement: OCS‐G 13576; East Cameron Block 71 (Limited to the NE/4 of the block and
                                                                     a Contract Area created to include the Farmout Area and EC 58 S/2)
Land          4/16/2014        Settlment Agreement and Release       Settlement Agreementa nd Release ‐ SS 198/VR 369/VR 408/ SP 8/13
Land          4/23/2014             Letters of No Objection          Letters of No Objection, Lease & Pipeline Crossings: Appies to ST 276, 296 & 311, includes
                                                                     indemnification
Land          4/28/2014                 Letter Agreement             Letter Agreement, dated April 28, 2014, between Chevron U.S.A. Inc. and Samson Contour
                                                                     Energy E&P, LLC,
                                                                     regarding Main Pass 77 Oil Imbalance Claim
Land           5/2/2014         Letter Agreement Well Proposal       Set forth the agreement between Apache Shelf and Fieldwood for the drilling of the EI 126 A‐5
                                                                     well
Land           6/1/2014                    Acquisition               by and between Fieldwood Energy Offshore LLC, NW Pipeline, Inc. and Northwestern Mutual
                                                                     Life Ins. Co:HIPS 13‐III
LAND           6/1/2014       Memorandum of OA and Financing
                                            Statement                Heron Prospect MOA amd. No.2 6‐1‐14
Land           7/2/2014            Assignment and Bill of Sale       by and between Fieldwood Energy LLC and Castex Offshore, Inc. : Fieldwood Divestiture of HI
                                                                     116 Platform and pipelines

Land          7/21/2014         Contract Operation Agreement         Castex is named as operator of HI 167 Platform
Land          8/7/2014          Recompletion Proposal Election       MP 259 A‐7 Recompletion Proposal Election: McMoRan elects not to participate in A‐7 welll to
                                                                     Tex W‐5 Sand
Land          8/15/2014           Assignment and Bill of Sale        by and between Fieldwood Energy LLC and W & T Offshore, Inc. : Assignment of interest in HI
                                                                     129#16 well
Land          8/15/2014                Letter Agreement              by and between Fieldwood Energy LLC and W & T Offshore, Inc. : RE: High Island 129 No. 12 Well
                                                                     Assignment
Land          10/1/2014                   Divestiture                by and between Fieldwood Energy Offshore LLC, Renaissance Offshore LLC and Apache
                                                                     Corporation: Assignment of Contractual interest Main Pass 76 SL 13287 #1 Well
Land          10/15/2014       Release and Settlment Agreement       by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Prime Offshore L.L.C.,
                                                                     Tammany Oil and Gas LLC and Castex Offshore, Inc.
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Land          11/5/2014         Request for extneion of Timely        MP 259 A‐7 Recompletion Request for extneion of Timely Operations: Request timely operations
                                          Operations                  extension for propoed A‐7 well
Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                          Assignment                  Petroleum Limited Partnership and Apache Corporation
Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                          Assignment                  Petroleum Limited Partnership and Apache Corporation
Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                          Assignment                  Petroleum Limited Partnership and Apache Corporation
Land          11/7/2014      Stipulation of Interest and Corrective   by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore
                                          Assignment                  Petroleum Limited Partnership and Apache Corporation
Land           1/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC UNOCAL, and Chevron U.S.A. Inc. : GOM NOJV ‐
                                                                      Grand Isle/West Delta etc.
Land           1/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc.: Hickory Unit ‐ GI
                                                                      110/116
Land           1/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC and Japex (U.S.) Corp.: WD 90 & WD 103

LAND          1/13/2015                  Letter Agreement              Heron Prospect (MP 295) Letter Agmt 1‐13‐15
Land          4/1/2015      Assignment of Operating Rights Interest by and between Fieldwood Energy Offshore LLC, Peregrine Oil & Gas, LLC RTR Fund I, L.P, and
                                         in Oil & Gas Lease            Hall‐Houston Exploration II, L.P.: Assignment of Operating Rights Interest in Oil & Gas Lease ‐ GA
                                                                       151 Operating Rights
LAND           4/1/2015    Gas Dedication and Gathering Agreement
                                                                       ST 311 Gas Dedication and Gathering Agreement eff 04012015
LAND           4/1/2015    Liquids Separation, Handling, Stabilization
                                    and Redelivery Agreement
                                                                       ST 311 Liquids Separation, Handling, Stabilization and Redeliv Agreement eff 04012015
LAND           4/1/2015        Liquids Transportation Agreement        ST 311 Liquids Transportation Agreement eff 04012015
Land           4/2/2015          Consent to Disclose Confidential      by and between Filedwood Energy LLC, Bandon Oil and Gas, LP and Chevron U.S.A. Inc.: VK 252
                                            Information                Unit Area
Land          4/30/2015       Settlement Agreement and Release         by and between Fieldwood Energy Offshore LLC, Black Elk Energy Offshore Operations LLC and
                                                                       Northstar Offshore Group, LLC:
Land           5/1/2015                      Divestiture               by and between Fieldwood Energy LLC and Discvovery Producer Services LLC: ST 311 Pipeline
                                                                       Divestiture
Land          5/14/2015     Second Amendment to the Participation by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Second Amendment to
                                             Agreement                 the Participation Agreement OCS‐G0786, South Marsh Island Area, Block 48 Offshore Federal
                                                                       Waters
Land          6/15/2015      Election and Designation of Successor by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Wichita Partnership, Ltd., W & T
                                          Operator Letter              Energy VI, LLC and W&T Offshore, L.L.C.: In furtherance of April 14, 2015 letter Areana earned
                                                                       assignment from Chevron Chevron to resign as operator
Land          6/18/2015          Memorandum of Understanding           Pursuant to that certain assignment and bill of sale dated 01/01/2015
Land          6/18/2015          Memorandum of Understanding           Pursuant to that certain assignment and bill of sale dated 01/01/2015
Land          6/29/2015                      Settlement                by and between Fieldwood Energy LLC and Discvovery Producer Services LLC: ST 311 Pipeline
                                                                       Divestiture
Land          6/30/2015                  Consent to Assign             Consent to Assign ROW ‐ Martin O. Miller II, LLC Sec. 11, T15S‐R6W Cameron Parish LA
Land          7/1/2015         Settlment Agreement and Release         by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI Petroleum US LLC
                                                                       and ENI US Operating Co. Inc.: SS 249 D‐5 RIG Incident
LAND           7/2/2015     Bill of Sale, Assignment and Assumption
                                             Agreement                 By and between Walter Oil & Gas Corporation, Castex Offshore, Inc., Fieldwood Energy LLC and
                                                                       Apache Shelf Exploration LLC as "Seller" and Discovery Producer Services LLC as "Buyer"
LAND          7/10/2015       Termination of Farmout Agreement         MP 295 9‐18‐2012 Farmout Termination Ltr dtd 7‐10‐15
Land          8/1/2015                       Acquisition               by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                       252, 340 Fields
Land           8/3/2015       Release and Settlement Agreement         Release and Settlement Agreement by and between Fieldwood Energy Offshore and Browning
                                                                       Offshore Partners, Inc.
Land           9/1/2015             Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/1/2015           Assignment and Bill of Sale         by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/1/2015           Assignment and Bill of Sale         by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/9/2015       Supplemental Bonding Agreement          by and between Fieldwood Energy LLC, SEO A LLC, Stone Energy Corporation and Stone Energy
                                                                      Offshore, L.L.C.: Fieldwood will apply own Supp Bonding
Land           9/9/2015      Transmittal of Supplemental Bonding      by and between Fieldwood Energy LLC and Stone Energy Corporation: Stone acknowledgement
                                                                      of reciept of Bond
Land          9/16/2015             Withdrawal Agreement              by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land          9/16/2015             Withdrawal Agreement              by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land          9/16/2015             Withdrawal Agreement              by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land          9/17/2015      Election and Designation of Successor    In furtherance of April 14, 2015 and June 15, 2015 letters, Areana earned assignment from
                                        Operator Letter               Chevron Chevron to resign as operator, clarifying Working Interests, etc.
Land          10/15/2015      Release and Settlement Agreement        by and between Fieldwood Energy LLC and Fairways Offshore Exploration, Inc. : Release and
                                                                      Settlement Agreement
Land          10/19/2015       Contract Operations Agreement          by and between Fieldwood Energy LLC and Helis Oil and Gas Company L.L.C.: Contract
                                                                      Operations Agreement #18 Helis well
Land          11/19/2015    Production Handling Agreement SM10
                                                                      PHA between Fieldwood and Byron for Byron's SM 6 production
Land          12/1/2015                   Acquisition                 by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US
                                                                      LLC: GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC
                                                                      130
Land          12/1/2015       Release and Settlement Agreement        by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc.
                                                                      and ENI Petrolem US LLC: Release and Settlement Agreement
Land           2/2/2016             Correction Assignment             by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.: Correction Assignment of
                                                                      Operating Rights EI 353
Land          2/22/2016              Withdrawal Election
                                                                    by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Hall‐Houston Exploration
                                                                    IV, L.P. and GOM Offshore Exploration I, LLC: Hall Houston withdrawal Election
Land           3/1/2016    Ratification and Amendment to Farmout by and between Fieldwood Energy LLC, Walter Oil and Gas Corporation and Cairn Energy USA:
                                           Agreement                Ratify and amend that certain Farmout dated 12/31/1984
Land           3/2/2016              Withdrawal Agreement           by and between Fieldwood Energy LLC and Hall‐Houston Exploration IV, L.P.: Hall Houston
                                                                    withdrawal Agreement
Land          3/11/2016    Waiver of Confidentiality and Consent to
                                             Disclose               by and between Fieldwood Energy LLC and W&T Offshore, Inc.: applies to HIE 129 and ST 229
Land          4/13/2016     Recommendation to Add Compression by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil and Gas II, LLC and
                                             Services               Castex Offshore, Inc.: Requests changre to compression standards in that certain Processing &
                                                                    Contract Operating Services Agreement dated 07/01/2011
Land          4/25/2016      Release and Settlement Agreement       by and between Fieldwood Energy LLC, Peregrine Oil & Gas, LP and Peregrine Oil & Gas II, LLC:
                                                                    Release and Settlement Agreement
Land          5/31/2016          Election to Continue or Cease
                                      Compression Services          by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil & Gas II, LLC and
                                                                    Castex Offshore, Inc.: increases to continue compression services past orignal test period
Land          6/29/2016       Election to elect out of Badger Tax   by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil & Gas II, LLC and
                                           Partnership              Castex Offshore, Inc.:
Land           7/1/2016                    Acquisition
                                                                    by and between Fieldwood Energy LLC and Monforte Exploration, LLC: 3% ORRI SM 48 E wells
Land           7/1/2016            Assignment and Bill of Sale      by and between Fieldwood Energy LLC and All Aboard Development Corporation: Assignment All
                                                                    Aboard to Fieldwood
Land           7/8/2016                 Letter Agreement            by and between Fieldwood Energy LLC and W&T Offshore, Inc.: Fieldwood's response to W&T
                                                                    Letter Agreement ‐ HI 129 #16 Well ‐ Final Agreement
Land          7/21/2016        Contract Operations Agreement        by and between Fieldwood Energy LLC and W&T Offshore, Inc. : Contract Operating Agreement
                                                                    eff. 7‐21‐16
Land          7/21/2016        Contract Operations Agreement        by and between Fieldwood Energy LLC and W&T Offshore, Inc.: Contract Operating Agreement ‐
                                                                    #16 well
Land           8/1/2016                 Letter Agreement            by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                    for MP 154 surface wells used as disposal wells for VK 252 Unit
Land           8/1/2016                 Letter Agreement            by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                    for MP 154 surface wells used as disposal wells for VK 252 Unit
Land           8/4/2016              Letter of No Objection         by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                    rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land           8/4/2016              Letter of No Objection         by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                    rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land          8/25/2016         Amendment and Ratification of       by and between Fieldwood Energy LLC, CL&F Resources, L.P, Houston Energy LP., Helis Oil and
                               Production Handling Agreement        Gas Company LLC and W&T Offshore, Inc.: Amendment and Ratification of Production Handling
                                                                    Agreement (High Island, East Addition Block 129)
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Land          9/13/2016      Agreement for Payment of Insurance     by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Fieldwood agrees to pay
                                          Charges                   Monforte's insurance charges
Land          10/1/2016                     ABOS                    by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC:
Land          11/9/2016           Confidentiality Agreement         Confidentiality Agreement:BY AND BETWEEN FIELDWOOD ENERGY LLC AND LLOG EXPLORATION
                                                                    OFFSHORE, L.L.C.
Land          11/21/2016              Offer to Purchase
                                                                    by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC: Offer to
                                                                    Purchase GS E &R America Offshore, LLC's Interest in GI 94, SS 79, VR 332 and WD 34
Land          12/14/2016       Surrener of Interest Agreement       by and between Fieldwood Energy LLC and All Aboard Development Corporation: All Aboard
                                                                    Development Corp. surrender of interest
Land           1/1/2017                   Acquisition               by and between Fieldwood Energy Offshore LLC and GOM Offshore Exploration I, LLC: SS 176
                                                                    Lease, Well and facilities
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017                     ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                    of Withdrawl from Operating Agreement
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017            Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                    Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           3/1/2017           Reinbursement Agreement           by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                    Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                    Shell owned ST 300 Platform
Land          3/27/2017           Offshore Tie‐in Agreement
                                                                    by and between Fieldwood Energy Offshore LLC, Fieldwood Energy LLC and Amberjack Pipeline
                                                                    Company LLC: Consent of PSA between Empire and Amberjack subject to addendum
Land          3/30/2017             Letter of No Objection          Fieldwood agreed to COX request/letter of no objectin to allow cox to produce its EI 64# 9 well.
                                                                    Fieldwood is the operator of SW/4 of EI 53
Land           6/8/2017     Bill of Sale and Assumption Agreement   by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.: Manta Ray
                                                                    sells to Fieldood pursuant to reverse of gas flow in ST 295 block to direct flow of gas to ST 292
                                                                    Platform
Land           6/8/2017       Interconnection and Measurement       by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.: Fieldwood
                                           Agreement                desires to connect with Mata Ray's ST 292 platform and piping, etc.
Land           6/8/2017    Lease of Offshore Platform Space ‐ ST 292
                                             Platform                by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.:
Land          7/28/2017       Indemnity and Release Agreement
                                                                     by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.: Chevron sold to Cantium and
                                                                     needed DOO from Fieldood, Fieldwood required this Agreement to allow DOO
Land          8/1/2017                        ABOS                   by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land          8/1/2017                        ABOS                   by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land          8/1/2017                        ABOS                   by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
LAND          9/15/2017       Memorandum of OA and Financing
                                            Statement                ST 311 320 UCC_Mortgage and Conveyance
LAND          9/15/2017         Offshore Operating Agreement         ST 311‐320 JDA Offshore Operating Agreement dtd 9‐15‐17, as amended
LAND          9/15/2017             Participation Agreement          ST 311‐320 JDA Participation Agreement dtd 9‐15‐17
Land          9/19/2017                Offer to Purchase             by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC: Offer to Purchase SCL
                                                                     Resources, LLC'S Interest in GI 94, SS 79, VR 332 and WD 34
Land          11/7/2017               Modification to PHA            Enhancement and modification to test separator MBD ‐4010 at HI 547 B Platform ‐ PHA
                                                                     Agreement dated May 8, 1998
Land          4/6/2018       Notification of Withdrawal ‐ WC 269 Withdrawal Election
Land          4/17/2018                   Amendment                  by and between Fieldwood Energy LLC and Arena Energy, LP: Amendment to Production
                                                                     Handling Service Agreement dated May 8, 1988
Land           5/1/2018     Assignment Conveyance and Bill of Sale By and between Fieldwood Energy LLC, Peregrine Oil & Gas II, LLC and Castex Offshore, Inc. as
                                                                     "Assignor" and Northstar Offshore Ventures LLC as "Assignee"
Land          5/15/2018                    Divestiture               Divestiture of Interests in Mustang Island to TR Offhsore. L.L.C.
Land          6/1/2018          Property Exchange Agreement
                                                                     Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442; St. of LA Lease
                                                                     No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912) Offshore Louisiana
Land          6/14/2018               Performance Bond
                                                                     Sanare Energy Partners, LLC is the new principal replacing Northstar Offshore Ventures LLC
Land          7/11/2018        Assignment of Operating Interest      Assignment of Operatring Rights Interest from Apaceh to Fieldwood and GOM Shelf
Land          7/23/2018       Amendment to Property Exchange         Amendment to Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442;
                                           Agreement                 St. of LA Lease No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912)
                                                                     Offshore Louisiana
Land           8/1/2018                    Acquisition               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech's Interest in
                                                                     the SS 271 Unit (SS 247,248,249)
Land           8/1/2018             Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdraws
                                                                     from SS 271 Unit
Land           8/1/2018           Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                     and Bill of Sale
Land           8/1/2018           Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                     and Bill of Sale
Land           8/8/2018      Take Over Election Letter Agreement In accordance with certain Farmout Agreeements dated 12/17/2002, 05/19/2003 and
                                                                     02/13/2004, Fieldwood elects to decline
Land          8/13/2018           Confidentiality Agreement          Confidentiality Agreement: GOM SHELF ‐ DEEPWATER PROPERTIES
Land          8/27/2018      Withdrawal & Settlement Agreement by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                     and settlement
Land          8/27/2018      Withdrawal & Settlement Agreement by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                     and settlement
Land          10/1/2018                    Acquisition               Assignment of Hall‐Houston overriding royalty interest in SS 176
Land          10/18/2018           Abandonment Agreement             pursuant to that certain PHA for MC 496 produced at SP B Platform dated 11/1/2002
Land          12/4/2018           Confidentiality Agreement
                                                                     Confidentiality Agreement by and between Fieldwood Energy LLC and Byron Energy Inc.
Land          12/10/2018          Confidentiality Agreement
                                                                     Confidentiality Agreement by and between Fielwdood Energy LLC and Exxon Mobil Corporation
Land          12/20/2018                 Letter of Intent            by and between Fieldwood Energy LLC and TR Offhsore. L.L.C.: Contemplation of Contract
                                                                     Operating Agreement, Transportation Agreement
Land           2/4/2019      Termination of Exchange Agreement Termination of Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442;
                                                                     St. of LA Lease No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912)
                                                                     Offshore Louisiana
LAND          2/22/2019          Exploration Agreement Letter        APA ‐ EXXI MP 295 Side Ltr Agrmnt dtd 2‐22‐13
Land          3/5/2019                  Relinquishment               by and between GOM Shelf LLC and Arena Energy, LP: Relinquishment of OCS G0978
Land          3/19/2019           Confidentiality Agreement          Confidentiality Agreement by and between Fieldwood Energy LLC and ANKOR
Land          3/19/2019           Confidentiality Agreement          Confidentiality Agreement by and between Fieldwood Energy LLC and Sa nare
Land          4/1/2019                 PHA Amendment                 First Amendment to that certain Production Handling Agreement, dated September 1, 2009 ‐
                                                                     Eiugene Island 224 "A" Platform ‐ Federal Offshore Louisiana
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          Land                  5/1/2019                 Confidentiality Agreement        Confidentiality Agreement: BY AND BETWEEN FIELDWOOD ENERGY LLC AND CIBCO RESOURCES,
                                                                                          LLC
          Land                  5/16/2019                    Letter Agreement             by and between Fieldwood Energy LLC and Panther Pipeline, LLC: Letter Agreement Matagorda
                                                                                          Operating Agreement MI 518/519 with regard to natural gas pipeline work.
          Land                  6/10/2019                Confidentiality Agreement        by and between Fieldwood Energy LLC and TRANSCONTINENTAL GAS PIPELINE COMPANY:
                                                                                          Confidentiality Agreement:
          Land                  7/25/2019           Letter Agreement OCS‐G 14535 JB1ST2
                                                                      Well                Pursuant to that certain Farmout dated 12/17/2002. Reassignment to Arena and P&A liabilitiy
          LAND                  7/25/2019                    Exploration Agreement        Exploration Venture Agreement by and between Fieldwood Energy LLC and Juneau Oil & Gas LLC
                                                                                          (terminated 6‐23‐20)
          Land                  11/5/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and W&T OFFSHORE, INC: Confidentiality Agreement:
          LAND                  11/5/2019                        Transfer Notice
          Land                  11/8/2019                  Confidentiality Agreement      by and between Fieldwood Energy LLC and PROMETHEAN ENERGY CORPORATION:
                                                                                          Confidentiality Agreement:
          Land                  11/8/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and ROC OIL PTY LTD: Confidentiality Agreement:
          Land                 11/12/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and CASTEX ENERGY, INC: Confidentiality Agreement:
          Land                 11/14/2019                  Confidentiality Agreement
                                                                                          by and between Fieldwood Energy LLC and COX OIL OFFSHORE, LLC: Confidentiality Agreement:
          Land                 11/21/2019                    Withdrawal Agreement         by and between Fieldwood Energy LLC and W&T Offshore, Inc.: W&T Wihdrawal from EC 2 SL
                                                                                          18121 ‐ W&T did not prepay abandonment
          Land                 11/21/2019                      Letter Agreement
                                                                                          Letter Agreement SS 198 J‐11 Well zone shift: Zone shift recommended and election fron HO to
                                                                                          HG sand by and between GOM Shelf Offshore LLC and Talos Energy Offshore LLC
          Land                 11/21/2019                      Letter Agreement
                                                                                          Letter Agreement SS 198 J‐11 Well zone shift: Zone shift recommended and election fron HO to
                                                                                          HG sand by and between GOM Shelf Offshore LLC and Renaissance Offshore LLC
          Land                 12/10/2019                         Non‐Consent
                                                                                          by and between Fieldwood Energy LLC and W&T Offshore, Inc.: W&T Non‐consent lease saving
                                                                                          ovperation on EC 2 SL 18121 for failure to respond to lease number FW194042
          Land                 12/12/2019          Purchase of Pipeline ROW OCS‐G 14731 by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: SS 274 A Platform to EI
                                                                 Seg. No. 10406           259 A Platform
          Land                  1/22/2020                  Confidentiality Agreement      by and between Fieldwood Energy LLC and WERRUS AQUAMARINE, LLC: Confidentiality
                                                                                          Agreement:
          Land                  1/27/2020                          Acquisition            by and between Fieldwood Energy LLC, Castex Offshore, Inc., GOME 12711 LLC and Dorado Deep
                                                                                          GP, LLC : Assignment of Interest in MP 275 A‐3 Well
          Land                  3/2/2020                   Confidentiality Agreement      Confidentiality Agreement BY AND BETWEEN FIELDWOOD ENERGY LLC AND ODYSSEY PIPELINE
                                                                                          LLC = MP 289 "C" PF
          Land                   3/4/2020                  Confidentiality Agreement      Confidentiality Agreement by and between Fieldwood Energy LLC and Arena Energy
          Land            01/01/1994, 04/08/1994           Unit Operating Agreement       U nit Operating Agreement by and between CNG Producing Company, Columbia Gas
                                                                                          Development Corporation, Total Minatome Corporation, Energy Development Corporation,
                                                                                          Murphy Exploration and Production Company and Anadarko Petroleum Corporation; and Forest
                                                                                          Oil Corporation and Timbuck Company/The Hat Creek Production Company, Limited Partnership
                                                                                          (referred to as “Override Parties”)
          Land                 12//31/2013           First Amendment to the Participation First Amendment to the Participation Agreement OCS‐G0786, South Marsh Island Area, Block 48
                                                                   Agreement              Offshore Federal Waters
    Pipeline Transport         10/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
    Pipeline Transport         10/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
    Pipeline Transport         10/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
    Pipeline Transport          7/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          7/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          7/31/2013           Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          6/3/2015            Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          6/3/2015            Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          6/3/2015            Barnacle Pipeline Throughput Capacity
                                                                   Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
    Pipeline Transport          7/8/2013            Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                   Agreement              Exploration Company, LLC
    Pipeline Transport          7/8/2013            Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                   Agreement              Exploration Company, LLC
    Pipeline Transport          7/8/2013            Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                   Agreement              Exploration Company, LLC
    Pipeline Transport          8/1/2015            Cheetah Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Talos Energy Offshore, LLC and Talos Energy
                                                                                          Offshore, LLC
    Pipeline Transport          8/1/2015            Cheetah Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Talos Energy Offshore, LLC and Talos Energy
                                                                                          Offshore, LLC
    Pipeline Transport         11/12/2013          THROUGHPUT CAPACITY LEASE AND TIE Capacity Agreement by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil
                                                                IN AGREEMENT              & Gas Corporation
    Pipeline Transport          12/1/2018          EWING BANK FLOWLINE THROUGHPUT
                                                         CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and Apache Shelf Exploration LLC and Apache
                                                                                          Shelf Exploration LLC
    Pipeline Transport          12/1/2018          EWING BANK FLOWLINE THROUGHPUT
                                                         CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and W & T OFFSHORE INC and W & T OFFSHORE
                                                                                          INC
    Pipeline Transport          12/1/2018          EWING BANK FLOWLINE THROUGHPUT
                                                         CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil
                                                                                          & Gas Corporation
    Pipeline Transport          2/2/1996                    GATHERING AGREEMENT           Gathering Agreement by and between Fieldwood and CMA Pipeline and CMA Pipeline
    Pipeline Transport          9/30/2015                AMENDMENT TO GATHERING           Gathering Agreement by and between Fieldwood and CMPA PIPELINE PARTNERSHIP, LLC and
                                                                  AGREEMENT               CMPA PIPELINE PARTNERSHIP, LLC
    PHA SS182/SS170             5/1/2013                PRODUCTION HANDLING AGMT          PHA by and between Fieldwood and BOIS D'ARC EXPLORATION, LLC and BOIS D'ARC
                                                                                          EXPLORATION, LLC
   PHA EI316A/EI 315C           7/14/2008               PRODUCTION HANDLING AGMT          PHA EI 3316A/EI 315C by and between Fieldwood and TANA EXPLORATION COMPANY LLC and
                                                                                          TANA EXPLORATION COMPANY LLC
  PHA for EB165A/EB430          9/30/2004               PRODUCTION HANDLING AGMT          PHA for EB165A/EB430 by and between Fieldwood and WALTER OIL & GAS CORPORATION and
                                                                                          WALTER OIL & GAS CORPORATION
   PHA for SP10B/ST72           12/1/2014               PRODUCTION HANDLING AGMT          PHA for SP10B/ST72 by and between Fieldwood and WALTER OIL & GAS CORPORATION and
                                                                                          WALTER OIL & GAS CORPORATION
   PHA GI 116A/ST 229           6/1/2005                PRODUCTION HANDLING AGMT          PHA for GI 116A/ST229 by and between Fieldwood and W & T OFFSHORE INC and W & T
                                                                                          OFFSHORE INC
PHA SS178A/SS177#7A‐4ST         8/25/1998               PRODUCTION HANDLING AGMT          PHA SS178A/SS177#7A‐4ST by and between Fieldwood and W & T OFFSHORE INC and W & T
                                                                                          OFFSHORE INC
  PHA MP 310A/MP 315           11/30/2015               PRODUCTION HANDLING AGMT          PHA MP 310A/MP315 by and between Fieldwood and TALOS ENERGY OFFSHORE, LLC and TALOS
                                                                                          ENERGY OFFSHORE, LLC
  PHA MP 310A/MP 315           11/30/2015               PRODUCTION HANDLING AGMT          PHA MP 310A/MP315 by and between Fieldwood and HE&D OFFSHORE LP and HE&D OFFSHORE
                                                                                          LP
   Service Agreements           4/1/2009                      SERVICE CONTRACT            Allocation of quality bank by and between Fieldwood and Allocation Specialists, LLC and
                                                                                          Allocation Specialists, LLC
LEASE OF PLATFORM SPACE         2/1/1990                     Access and Right of Use      A‐LOPS‐WD075 by and between Fieldwood and American Panther, LLC and American Panther,
                                                        Agreement3/1/2020 ‐ 2/28/2021     LLC
LEASE OF PLATFORM SPACE        10/10/1984           Platform Space Rental Agreement SMI A‐LOPS‐ SM268A by and between Fieldwood and American Panther, LLC and American Panther,
                                                   268A Platform10/01/2020 ‐ 11/30/2021 LLC

LEASE OF PLATFORM SPACE        11/29/2009          Amendment to Lease of Platform Space
                                                   Agreement Main Pass 289 C8/1/2020 ‐
                                                        7/31/2021(Horn Mountain)         A‐LOPS‐MP289C(Horn Mountain) by and between Fieldwood and Anadarko US Offshore LLC and
                                                                                         Anadarko US Offshore LLC
LEASE OF PLATFORM SPACE         7/12/2016           Marathon Pipeline Facilities Exxon's A‐LOPS‐AccessSvc by and between Fieldwood and East Cameron Gathering LLC and East
                                                      vermilion Block 265 Platform A     Cameron Gathering LLC
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 LEASE OF PLATFORM SPACE   4/15/1988      Amendment of SMI Gathering System
                                          (Vermillion Block 265 Platform) Access
                                             and Services Agreement1/1/2020‐     Annual LOPS‐VR 265 P/F‐A‐DRL by and between Fieldwood and Crimson Gulf Accounts Payable
                                                         12/31/2020              and Crimson Gulf Accounts Payable
 LEASE OF PLATFORM SPACE    8/1/1996         Lease of Platform Space5/1/2020 ‐   ALOPS‐ODYSSEY by and between Fieldwood and Shell Pipeline Company LP and Shell Pipeline
                                                          4/30/2021              Company LP
 LEASE OF PLATFORM SPACE   11/1/2001        Lease of Platform Space11/1/2020 ‐   A‐LOPS‐SM128SA2 by and between Fieldwood and Shell Pipeline Company LP and Shell Pipeline
                                                         10/30/2021              Company LP
 LEASE OF PLATFORM SPACE   4/27/1977    FIRST AMENDMENT AND RATIAFICATION
                                                      TO TIE‐IN SERVICE          A‐LOPS‐MP288‐MP289FWE0240 by and between Fieldwood and Stone Energy Corpration and
                                            AGREEMENT04/01/2020‐3/31/2021        Stone Energy Corpration
 LEASE OF PLATFORM SPACE   11/15/1996       Lease of Platform space Agreement    ALOPS‐RAM POWELL by and between Fieldwood and Stone Energy Corpration and Stone Energy
                                                                                 Corpration
 LEASE OF PLATFORM SPACE   10/25/1985                 PLATFORM SPACE             A‐LOPS‐SP89B by and between Fieldwood and Texas Eastern Transmission and Texas Eastern
                                           AGREEMENT10/25/2020 ‐ 9/24/2021 Transmission
 LEASE OF PLATFORM SPACE    3/1/1980                4/1/2020 ‐ 3/31/2021         A‐LOPS‐HI179A by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                                                 Transcontinental Gas Pipeline Corporation
 LEASE OF PLATFORM SPACE    9/5/1981    Receipt and Measurement Facilaity LOPS
                                              EI Block 158 Platform4/1/2020 ‐    A‐LOPS‐EI158B by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                          3/31/2021              Transcontinental Gas Pipeline Corporation
 LEASE OF PLATFORM SPACE   9/15/1981     Receipt and Measurement Facility LOPS
                                            EI Block 135 "JA" Platform4/1/2020 ‐ A‐LOPS‐EI136JA by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                          3/31/2021              Transcontinental Gas Pipeline Corporation
 LEASE OF PLATFORM SPACE    7/1/1997       Lease of Offshore Platform Space Gas
                                            Measurement Facility, Pipeline Rise, A‐LOPS‐SM128 by and between Fieldwood and Trunkline Gas Company LLC and Trunkline Gas
                                                   Liquids Scrubber Facility     Company LLC
 LEASE OF PLATFORM SPACE    3/1/1998                3/01/2020 ‐ 2/28/2021        A‐LOPS‐SS354A by and between Fieldwood and Williams Field Services and Williams Field
                                                                                 Services
 LEASE OF PLATFORM SPACE   11/29/2001             03/01/2020 ‐ 02/28/2021        A‐LOPS‐ MP289C by and between Fieldwood and W & T OFFSHORE INC and W & T OFFSHORE
                                                                                 INC
 LEASE OF PLATFORM SPACE   11/29/2001            LEASE OF PLATFORM SPACE         ANA103‐LOPS (Horn Mountain Monthly) by and between Fieldwood and Anadarko US Offshore
                                                                                 LLC and Anadarko US Offshore LLC
 LEASE OF PLATFORM SPACE   12/21/2002          PLATFORM OPERATIONS AGMT          ARE101‐LOPS ‐ PL25 by and between Fieldwood and ARENA OFFSHORE LP and ARENA
                                                                                 OFFSHORE LP
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2011             LEASE OF PLATFORM SPACE         BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
 LEASE OF PLATFORM SPACE    1/1/2018                 SERVICES CONTRACT           EAS101 VR265ADRL by and between Fieldwood and EAST CAMERON GATHERING LLC and EAST
                                                                                 CAMERON GATHERING LLC
 LEASE OF PLATFORM SPACE   11/1/2006             LEASE OF PLATFORM SPACE         ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC

 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   11/1/2006          LEASE OF PLATFORM SPACE
                                                                               ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
 LEASE OF PLATFORM SPACE   4/28/2009          LEASE OF PLATFORM SPACE          ROT101‐LOPS EI 189P/F B by and between Fieldwood and Rotocraft Leasing Company, LLC and
                                                                               Rotocraft Leasing Company, LLC
 LEASE OF PLATFORM SPACE   4/28/2009          LEASE OF PLATFORM SPACE          ROT101‐LOPS MATAGORDA ISLAND 622C by and between Fieldwood and Rotocraft Leasing
                                                                               Company, LLC and Rotocraft Leasing Company, LLC
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐1 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐2 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐3 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐4 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐5 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐6 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐7 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐8 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐9 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐13 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐17 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐18 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐14 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐16 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐20 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐24 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐25 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   8/12/2019          LEASE OF PLATFORM SPACE          TAM102‐LOPS‐26 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE   4/15/1968          LEASE OF PLATFORM SPACE          KIN129‐LOPS by and between Fieldwood and KINETICA DEEPWATER EXPRESS, LLC and KINETICA
                                                                               DEEPWATER EXPRESS, LLC
 LEASE OF PLATFORM SPACE   6/14/2000         FACILITIES OPERATING AND          WIL174 OP&MN FEE‐VK251A by and between Fieldwood and WILLIAMS FIELD SERVICES and
                                               MAINTENANCE AGMT                WILLIAMS FIELD SERVICES
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT         PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC               and EPL OIL
          (JIB)‐2                                                              & GAS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT         PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC               and EPL OIL
          (JIB)‐2                                                              & GAS, LLC
PRODUCTION HANDLING AGMT    3/1/2007     PRODUCTION HANDLING AGREEMENT         PHA PL009‐PL010B by and between Fieldwood and MCMORAN OIL & GAS LLC                  and
          (JIB)‐3                                                              MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT    3/1/2007     PRODUCTION HANDLING AGREEMENT         PHA PL009‐PL010B by and between Fieldwood and RIDGEWOOD ENERGY CORPORATION
          (JIB)‐3                                                              and RIDGEWOOD ENERGY CORPORATION
PRODUCTION HANDLING AGMT    3/1/2007     PRODUCTION HANDLING AGREEMENT
          (JIB)‐3                                                              PHA PL009‐PL010B by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT   8/14/1995     PRODUCTION HANDLING AGREEMENT         PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                   and
          (JIB)‐4                                                              MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT   8/14/1995     PRODUCTION HANDLING AGREEMENT         PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                   and
          (JIB)‐4                                                              MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT   8/14/1995     PRODUCTION HANDLING AGREEMENT         PHA SM280‐SM268A by and between Fieldwood and FWE and FWE
          (JIB)‐4
PRODUCTION HANDLING AGMT    6/9/2008             JIB PHA EC 2C/EC2#1
          (JIB)‐5                                                              PHA EC002‐EC002C by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    6/9/2008             JIB PHA EC 2C/EC2#1           PHA EC002‐EC002C by and between Fieldwood and C/O FAIRFIELD‐MAXWELL LTD                   and
          (JIB)‐5                                                              C/O FAIRFIELD‐MAXWELL LTD
PRODUCTION HANDLING AGMT    6/9/2008             JIB PHA EC 2C/EC2#1           PHA EC002‐EC002C by and between Fieldwood and HILCORP ENERGY 1 LP                   and
          (JIB)‐5                                                              HILCORP ENERGY 1 LP
PRODUCTION HANDLING AGMT    5/1/2012          JIB PHA EI 354#A6/EI337A10
          (JIB)‐6                                                              PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    5/1/2012          JIB PHA EI 354#A6/EI337A10
          (JIB)‐6                                                              PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    5/1/2012          JIB PHA EI 354#A6/EI337A10
          (JIB)‐6                                                              PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    1/1/2001        PHA VK694‐MP0259A‐FWE0313          PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐7                                                              and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT    1/1/2001        PHA VK694‐MP0259A‐FWE0313          PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and PIQUANT INC
          (JIB)‐7                                                              and PIQUANT INC
PRODUCTION HANDLING AGMT    1/1/2001     PRODUCTION HANDLING AGREEMENT
          (JIB)‐7                                                              PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT    1/1/2001     PRODUCTION HANDLING AGREEMENT         PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐7                                                              and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT   10/1/2002     PRODUCTION HANDLING AGREEMENT
          (JIB)‐8                                                              PHA ST205‐ST206A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT   10/1/2002     PRODUCTION HANDLING AGREEMENT
          (JIB)‐8                                                              PHA ST205‐ST206A by and between Fieldwood and FWE and FWE
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 PRODUCTION HANDLING AGMT      10/1/2002    PRODUCTION HANDLING AGREEMENT        PHA ST205‐ST206A by and between Fieldwood and MARATHON OIL COMPANY                     and
           (JIB)‐8                                                               MARATHON OIL COMPANY
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT
           (JIB)‐9                                                               PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and MCMORAN OIL & GAS LLC
           (JIB)‐9                                                               and MCMORAN OIL & GAS LLC
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and PIQUANT INC
           (JIB)‐9                                                               and PIQUANT INC
 PRODUCTION HANDLING AGMT       9/1/2002         FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and MCMORAN OIL & GAS LLC
           (JIB)‐9                                                               and MCMORAN OIL & GAS LLC
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT
          (JIB)‐10                                                               PHA MP312‐MP311A by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT
          (JIB)‐10                                                               PHA MP312‐MP311A by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT        PHA MP312‐MP311A by and between Fieldwood and EPL OIL & GAS, LLC                   and EPL
          (JIB)‐10                                                               OIL & GAS, LLC
 PRODUCTION HANDLING AGMT      12/19/2003   PRODUCTION PROCESSING HANDLING       PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
          (JIB)‐11                               AND OPERATING AGMT
 PRODUCTION HANDLING AGMT      12/19/2003   PRODUCTION PROCESSING HANDLING       PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
          (JIB)‐11                               AND OPERATING AGMT
 PRODUCTION HANDLING AGMT      12/19/2003   PRODUCTION PROCESSING HANDLING       PHA EI342C‐EI342C by and between Fieldwood and TANA EXPLORATION COMPANY LLC
          (JIB)‐11                               AND OPERATING AGMT              and TANA EXPLORATION COMPANY LLC
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT        PHA MP311B‐MP302B19 by and between Fieldwood and APACHE SHELF EXPLORATION LLC
          (JIB)‐12                                                               and APACHE SHELF EXPLORATION LLC
 PRODUCTION HANDLING AGMT      4/28/2014    PRODUCTION HANDLING AGREEMENT        PHA MP311B‐MP302B19 by and between Fieldwood and EPL OIL & GAS, LLC           and
          (JIB)‐12                                                               EPL OIL & GAS, LLC
 PRODUCTION HANDLING AGMT       4/1/2007    PRODUCTION HANDLING AGREEMENT        RID108101‐MP289C‐MP275 by and between Fieldwood and RIDGEWOOD ENERGY
          (JIB)‐13                                                               CORPORATION            and RIDGEWOOD ENERGY CORPORATION
 PRODUCTION HANDLING AGMT       4/1/2007    PRODUCTION HANDLING AGREEMENT
          (JIB)‐13                                                           RID108101‐MP289C‐MP275 by and between Fieldwood and FWE and FWE
 PRODUCTION HANDLING AGMT      10/23/2018   AGREEMENT FOR THE GATHERING AND
            (JIB)                            PROCESSING OF MO 826 ("SLEEPING
                                                         BEAR")              MO826‐VK251 by and between Fieldwood and W& T Offshore and W& T Offshore
 PRODUCTION HANDLING AGMT                   PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                           ST 320 A‐5ST1 by and between Fieldwood and W&T Offshore, Inc. and W&T Offshore, Inc.
 PRODUCTION HANDLING AGMT      6/30/1999    PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                           MC 108/MC 109 by and between Fieldwood and Talos Energy LLC and Talos Energy LLC
 PRODUCTION HANDLING AGMT                   PRODUCTION HANDLING AGREEMENT ST 311 A1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                           Corporation
 PRODUCTION HANDLING AGMT      7/18/2002    PRODUCTION HANDLING AGREEMENT HI A‐582 by and between Fieldwood and Cox Operating, LLC and Cox Operating, LLC
          (Non‐Op)
 PRODUCTION HANDLING AGMT      10/21/2018   PRODUCTION HANDLING AGREEMENT        ST 320 A02 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                               Corporation
 PRODUCTION HANDLING AGMT      5/20/2019    PRODUCTION HANDLING AGREEMENT        ST 320 A03 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                               Corporation
 PRODUCTION HANDLING AGMT      6/13/1996    PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            SS 300 B/SS301 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
 PRODUCTION HANDLING AGMT      6/30/1999         PLATFORM ACCESS, OPERATING
          (Non‐Op)                          SERVICES AND PRODUCTION HANDLING
                                                      AGREEMENT(ORION)        MC 109/MC110 by and between Fieldwood and Talos Energy and Talos Energy
 PRODUCTION HANDLING AGMT       5/5/2009     PRODUCTION HANDLING AGREEMENT SS 189 C‐1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
          (Non‐Op)                                                            Corporation
 PRODUCTION HANDLING AGMT       3/1/2007     PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            SM 107 by and between Fieldwood and Talos Energy and Talos Energy
 PRODUCTION HANDLING AGMT       7/1/2014     PRODUCTION HANDLING AND FACILITY
          (Non‐Op)                                      USE AGREEMENT         VR 271 by and between Fieldwood and Castex Offshore Inc and Castex Offshore Inc
 PRODUCTION HANDLING AGMT       8/1/1997     PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            ST 176/ST 148 by and between Fieldwood and Arena Offshore LLC and Arena Offshore LLC
 PRODUCTION HANDLING AGMT       8/1/1997     PRODUCTION HANDLING AGREEMENT
          (Non‐Op)                                                            ST 176/ST 148 by and between Fieldwood and Arena Offshore LLC and Arena Offshore LLC
CONNECTION AGREEMENT EI 342C   9/17/1986      PIPELINE CONNECTION & OPERATION
                                             AGREEMENT EUGENE ISLAND PIPELINE Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and
                                                             SYSTEM           GEL Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342C    1/1/2010      RATIFICATION OF & SUPPLEMENT TO
                                            PIPELINE CONNECTION AND OPERATION Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and
                                                           AGREEMENT          GEL Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342C    8/7/2018        AMENDMENT NO. 1 TO PIPELINE
                                                 CONNECTION AND OPERATION     Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and
                                                           AGREEMENT          GEL Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342    10/26/2011        FACILITIES LETTER AGREEMENT  Agreement for Gas Connection at EI 346 by and between Fieldwood and ANR Pipeline Company
                                                                              and ANR Pipeline Company
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013                  ISCT Contract       ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013                  ISCT Contract       ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
   Marketing Gas ‐ Transport   12/1/2013              IT Transport Contract   IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                              Eastern
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   9/13/2011          IT Transport Contract
                                                                             Chandeleur IT Transportation ‐ Fieldwood interest in MP 59 was sold to Cantium by and between
                                                                             Fieldwood Energy LLC and Chandeleur Pipeline, LLC, now owned by Third Coast Midstream and
                                                                             Chandeleur Pipeline, LLC, now owned by Third Coast Midstream
Marketing Gas ‐ Transport   4/1/2015              FT ‐2 Transport            Disocvery Gas ‐ FT2 agreement; by and between Fieldwood Energy LLC and Discovery Gas
                                                                             Transmission and Discovery Gas Transmission
Marketing Gas ‐ Transport   2/1/2019             Pool Agreement              Pool Agreement by and between Fieldwood Energy LLC and Gulf South Pipeline Company, LP and
                                                                             Gulf South Pipeline Company, LP

Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                             SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering   4/1/2020               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                             Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
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Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013          IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2003      IT Transport Contract‐ Reserve    Stingray Reserve Dedication VR Block 326 $.10 by and between Fieldwood Energy LLC and
                                        Dedicaation and Discount Commodity   Stingray Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP
                                                  Rate Agreement             Operating)
Marketing Gas ‐ Transport   10/1/2014               IT Gathering             IT Gathering by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   10/1/2014              IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   10/1/2019             FT ‐2 Transport            FT ‐2 Transport by and between Fieldwood Energy LLC and Venice Gathering and Venice
                                                                             Gathering
Marketing Gas ‐ Transport   10/1/2014              IT Gathering              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   10/1/2014              IT Gathering              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                             Midstream Services
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013              IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                             LLC and High Point Gas Gathering, LLC
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Marketing Gas ‐ Transport   12/1/2013                  IT Gathering               IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                                  LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   12/1/2013             IT Transport Contract           IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport   12/1/2013               IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport   12/1/2013               IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport   12/1/2013               IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission,
                                                                                  LLC and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport    4/1/2000           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.06 by and between Fieldwood
                                                                                  Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                  Company
Marketing Gas ‐ Transport   12/1/2015                  Firm ‐ Gathering           Firm ‐ Gathering by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering
                                                                                  Company and Manta Ray Offshore Gathering Company
Marketing Gas ‐ Transport   12/1/1992           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.032 by and between Fieldwood
                                                                                  Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                  Company
Marketing Gas ‐ Transport    4/1/2010           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood
                                                                                  Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                  Company
Marketing Gas ‐ Transport    4/1/2010           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood
                                                                                  Energy Offshore, LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore
                                                                                  Gathering Company
Marketing Gas ‐ Transport    4/1/2010           Firm Gathering & Dedication       Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood
                                                                                  Energy Offshore, LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore
                                                                                  Gathering Company
Marketing Gas ‐ Transport   10/30/2017                  FT ‐2 Transport           EW 910 / ST 320 by and between Fieldwood Energy, LLC and Nautilus Pipeline Company and
                                                                                  Nautilus Pipeline Company
Marketing Gas ‐ Transport    4/1/2010                   FT ‐2 Transport           FT ‐2 Transport by and between Fieldwood Energy Offshore, LLC and Nautilus Pipeline Company
                                                                                  and Nautilus Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                IT Transport Contract         Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013              IT PR Transport Contract        Searobin West PTR Transprt, max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Transport   12/1/2013             IT‐Retrograde Transport         Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                  IT‐PTR Transport           Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                  Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                     IT‐Transport            Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013         IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                  and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
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Marketing Gas ‐ Gathering    8/1/2018    IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                  Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   10/1/2011                  IT‐PTR Transport
                                                                                  Searobin Pipeline ‐ sandridge /Dynamic IT transport by and between Fieldwood Energy Offshore,
                                                                                  LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company
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  Marketing Gas ‐ Transport                 10/1/2011                       IT‐Retrograde Transport
                                                                                                           SearobinWest Pipeline ‐ sandridge /Dynamic IT Retrograde by and between Fieldwood Energy
                                                                                                           Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company
  Marketing Gas ‐ Transport                  4/1/2015                   FT‐2 Discount Letter Agreement     Discovery Gas FT2 Discount letter by and between Fieldwood Energy LLC and Discovery Gas
                                                                                                           Transmission and Discovery Gas Transmission
Marketing Gas ‐ Gathering and                4/1/2015              Gas Dedication and Gathering Agrement Discovery Gas Gathering and Gas Dedication by and between Fieldwood Energy LLC and
         Dedication                                                                                        Discovery Gas Transmission and Discovery Gas Transmission
 Marketing Gas ‐ Transport                   1/1/2012                   IT Transport Contract ‐ Reserve    Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                         Dedication and Discount Rate      between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport                  1/1/2012                   IT Transport Contract ‐ Reserve    Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                         Dedication and Discount Rate      between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport                  1/1/2012                   IT Transport Contract ‐ Reserve    Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                         Dedication and Discount Rate      between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport                  1/1/2017                     IT‐Transport‐ Discount Letter    Searobin East ‐ Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST 295)
                                                                                                           by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin Pipeline
                                                                                                           Company
  Marketing Gas ‐ Transport                  1/1/2017                     IT‐Transport‐ Discount Letter    Searobin East ‐ Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST 295)
                                                                                                           by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin Pipeline
                                                                                                           Company
  Marketing Gas ‐ Transport                  1/1/2017                           IT‐PTR Transport           Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas ‐ Transport                  1/1/2017                           IT‐PTR Transport           Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas ‐ Transport                 12/1/2013                  IT‐PTR Transport‐ Discount Letter   Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas ‐ Transport                 12/1/2013                  IT‐PTR Transport‐ Discount Letter   Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                                           295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                                           Pipeline Company
  Marketing Gas‐Transport                   12/17/1997                            FT ‐ Transport           Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gatheering System, L.L.C. and Venice Gatheering System, L.L.C.
  Marketing Gas‐Transport                   8/13/1997              Precedent Agreement for Transportation
                                                                     of Gas and Non‐Juriscitional Services Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gatheering System, L.L.C. and Venice Gatheering System, L.L.C.
  Marketing Gas‐Transport                   12/15/1997                 Reserve Commitment Agreement        Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering                    4/1/2003                              IT Transport            GC 45, WD 41 by and between Fieldwood Energy LLC and Venice Gathering System, L.L.C. and
                                                                                                           Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering                   11/1/2010                              IT Transport
                                                                                                           Venice Gathiering, Max Rate,WD 41 Effective date 11/1/2010 by and between Fieldwood Energy
                                                                                                           LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering                   6/14/2000                       Gas Gathering Agreement        Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                           Carbonate Trend
  Marketing‐Gas Gathering                   6/14/2000                       Gas Gathering Agreement        Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                           Carbonate Trend
  Marketing‐Gas Gathering                   9/10/1990                       Gas Gathering Agreement        Gathering Agreement ‐ Discount for BA 491 by and between Fieldwood Energy LLC and WFS and
                                                                                                           WFS
 Operating and Management                    6/1/2015               Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
         Agreement                                                 Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                           LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                           Company, LLC (Third Coast Midstream)
 Operating and Management                    6/1/2015               Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
         Agreement                                                 Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                           LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                           Company, LLC (Third Coast Midstream)
 Operating and Management                   1/17/1963               Conveyance and Operating Agreement Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
         Agreement                                                    Grand Chenier Separation Facilities
                                                                            Cameron Parish, Louisiana

 Operating and Management                   1/17/1963                Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
         Agreement                                                    Grand Chenier Separation Facilities
                                                                          Cameron Parish, Louisiana

 Operating and Management                   1/17/1963                Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
         Agreement                                                    Grand Chenier Separation Facilities
                                                                          Cameron Parish, Louisiana

 Operating and Management                   1/17/1963                Conveyance and Operating Agreement
         Agreement                                                    Grand Chenier Separation Facilities
                                                                          Cameron Parish, Louisiana
                                                                                                             Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
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 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
 Operating and Management       des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                          from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                             between Fieldwood Energy LLC and and
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 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                                                                                           between Fieldwood Energy LLC and and
 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
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 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
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 Operating and Management     des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
         Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                                                        from the Sea Robin Pipeline        administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                 Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
        Agreement                                                  the Construction and Operation of the Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                 Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                               Parish, Louisiana           and and

 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                  the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                  Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                             Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
        Agreement                                                  the Construction and Operation of the Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                  Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                             Parish, Louisiana             and and

 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                   the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                  Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana          Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
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 Construction and Operation               10/1/1995               Restated and Amendment Agreement fo
        Agreement                                                   the Construction and Operation of the The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                  Sea Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana          Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                                                           and and
  Ownership and Operating                 10/1/1982                Construction, Ownership and Operating
        Agreement                                                                  Agreement               Governs the Ownership and Operations of the Facility. The Facility is co‐owned by two groups,
                                                                                                           Owners and Producers. Facility assets are owned in three different classes: either solely owned
                                                                                                           by Owners, co‐owned by Owners and Producers or soley owned by Pr by and between
                                                                                                           Fieldwood Energy LLC and Kinetica Partners LLC and Kinetica Partners LLC
   Ownership Agreement                    12/2/1985               Ownership Agreement for the Producers' Governs the Ownership and Operations of the Producers' Facility. The Producers' Facility consists
                                                                       Facility Sabine Pass, as amended    of assets owned by Producers, as well as those assets co‐owned by the Producers and Owners.
                                                                                                           Fieldwood, as the designated Producers' Representive, reprents th by and between Fieldwood
                                                                                                           Energy LLC and and
  Ownership and Operating                 9/26/1982                Venice Dehydration Station Operations
        Agreement                                                        and Maintenance Agreement         Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
                                                                                                           Owners by and between Fieldwood Energy LLC and and
  Ownership and Operating                 9/26/1982                Venice Dehydration Station Operations
        Agreement                                                        and Maintenance Agreement         Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
                                                                                                           Owners by and between Fieldwood Energy LLC and and
  Ownership and Operating                 9/26/1982                Venice Dehydration Station Operations
        Agreement                                                        and Maintenance Agreement         Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
                                                                                                           Owners by and between Fieldwood Energy LLC and and
     Service Agreement                    11/1/2015                    South Pass Dehydration Service
                                                                            Agreement as amended           Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                                                                                           on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                                           Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
     Service Agreement                    11/1/2015                    South Pass Dehydration Service
                                                                            Agreement as amended           Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                                                                                           on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                                           Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
     Service Agreement                    11/1/2015                    South Pass Dehydration Service
                                                                            Agreement as amended           Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                                                                                           on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                                           Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
  Ownership and Operating                  3/6/1974                Construction and Operating Agreement
        Agreement                                                       for Onshore Separation Facility    Provides for the construction and operation of the onshore separation facility which is connected
                                                                   Cameron Parish, Louisiana as amended to the facilites of Stingray Pipeline Company and which separates condensate from the natural
                                                                                                           gas injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                                           Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)
Construction and Management               10/1/1981                     Construction and Management
         Agreement                                                    Agreement South Pass West Delta      Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                Gathering System           and N/A and N/A
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Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management           Provides for the construction management of the Facility by and between Fieldwood Energy LLC
         Agreement                           Agreement South Pass West Delta        and N/A and N/A
                                                     Gathering System
Construction and Management   10/1/1981       Construction and Management           Provides for the construction management of the Facility by and between Fieldwood Energy LLC
         Agreement                           Agreement South Pass West Delta        and N/A and N/A
                                                     Gathering System
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
Construction and Management   10/1/1981       Construction and Management
         Agreement                           Agreement South Pass West Delta        Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                     Gathering System               and N/A and N/A
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement         10/1/1981     Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                  Delta Gathering System            LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
 Contribution Ageement (LLC   11/2/2010          Contribution Agreement             SP 49 Pipeline LLC (the “Entity”), an limited liability company, was formed on November 2, 2010
         formation)                                                                 by Apache GOM Pipeline, Inc, (succeeded by FW GOM Pipeline, Inc), Energy XXI GOM LLC, and
                                                                                    Stone Energy Offshore, LLC (succeeded by Talos Resources LLC). The e by and between
                                                                                    Fieldwood Energy LLC and Talos Resources LLC and Energy XXI GOM, LLC and Talos Resources LLC
                                                                                    and Energy XXI GOM, LLC
    Operating Agreement       11/2/2010    Operating Agreement South Pass Block     The Operator is responsible for the entity’s operations, accounting, and reporting detailed in the
                                           49 & Southwest Pass 24 Pipeline System   Operating Agreement, including pipeline operation, repair, and maintenance, as well as
                                                                                    admintistative functios such as paying expenses and maintaing records by and between
                                                                                    Fieldwood Energy LLC and and
    Operating Agreement       11/2/2010    Operating Agreement South Pass Block     The Operator is responsible for the entity’s operations, accounting, and reporting detailed in the
                                           49 & Southwest Pass 24 Pipeline System   Operating Agreement, including pipeline operation, repair, and maintenance, as well as
                                                                                    admintistative functios such as paying expenses and maintaing records by and between
                                                                                    Fieldwood Energy LLC and and
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
    Operating Agreement        7/1/1970     Agreement for the Construction and      The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                           Operation of the TOCA Gas Processing     each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                             Plant St. Bernard Parish, Louisiana    agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                    Enterprise Gas Processing LLC
 Construction and Operating   10/22/1976     Agreement for the Construction and     Processing of Owners' gas all in accordance with agreements by and between Fieldwood Energy
        Agreement                           Operation of the Blue Water Gas Plant   LLC and EnLink Midstream Operating, LP and EnLink Midstream Operating, LP
                                                   Acadia Parish, Louisiana
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
    Operating Agreement                       Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                              Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                             Enterprise GTM Offshore Operating      sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                         Company, LLC               Energy LLC and and
Construction, Ownership and   10/1/1984        Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
   Operating Agreement                     Construction, Ownership and Operating    Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                          Agreement                 Pipeline Company and Chevron Pipeline Company
Construction, Ownership and   10/1/1984        Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
   Operating Agreement                     Construction, Ownership and Operating    Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                          Agreement                 Pipeline Company and Chevron Pipeline Company
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  Construction, Ownership and   10/1/1984       Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                     Construction, Ownership and Operating   Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                           Agreement                 Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and   10/1/1984       Eugene Island Block 361 Pipeline     Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                     Construction, Ownership and Operating   Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                           Agreement                 Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
  Construction, Ownership and   2/25/2011              Amendment No. 2               Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                   Eugene Island Block 361 Pipeline     (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                            Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                           Agreement                 Company and Chevron Pipeline Company
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
          Assignment                            Eugene Island Block 361 Pipeline     The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                             Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                           Agreement                 Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                     Energy LLC and and
     Operating Agreement         5/1/1996        Pipeline Operating Agreement        To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                     Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

     Operating Agreement         5/1/1996        Pipeline Operating Agreement        To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                     Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

     Operating Agreement         5/1/1996        Pipeline Operating Agreement        To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                     Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Proposed Ownership Agreement    7/11/2009       Letter of Intent Amberjack Pipeline
                                               Repair ‐ Mississippi Canyon Block 109
                                               Area and Chevron Pipe Line Company Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                    Valve Project ‐ South Pass 50    become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
Proposed Ownership Agreement    7/11/2009       Letter of Intent Amberjack Pipeline
                                               Repair ‐ Mississippi Canyon Block 109
                                               Area and Chevron Pipe Line Company Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                    Valve Project ‐ South Pass 50    become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
Proposed Ownership Agreement    7/11/2009       Letter of Intent Amberjack Pipeline
                                               Repair ‐ Mississippi Canyon Block 109
                                               Area and Chevron Pipe Line Company Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                    Valve Project ‐ South Pass 50    become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
     Oil Purchase and Sale      12/23/1995       Oil Purchase and Sale Agreement
     Agreement/Transport                           Between Anadarko Petroleum
                                               Corporation and Texaco Trading and
                                               Transportation INC               (now Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
                                                Poseidon Oil Pipeline Company LLC)   Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
    Oil Gathering Agreement      6/1/2003             Oil Gathering Agreement        Crude Oil Transport. by and between Fieldwood Energy LLC and Manta Ray Gathering Co.,LLC
                                                               Between               and Manta Ray Gathering Co.,LLC
                                                 Westport Resources Corporation
                                                           Noble Energy Inc
                                                                   M
     Oil Purchase and Sale      7/15/2003        Oil Purchase and Sale Agreement     Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
     Agreement/Transport                           Between Westport Resources        Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                              Corporation Mariner Energy Inc Noble
                                               Energy Inc and Poseidon Oil Pipeline
                                                             Company LLC
     Oil Purchase and Sale      4/10/2012        Oil Purchase and Sale Agreement
     Agreement/Transport                     Between Apache Shelf Inc and Poseidon Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
                                                      Oil Pipeline Company LLC       Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
    Oil Gathering Agreement      3/6/2020      Oil Gathering and Reserve Dedication
                                              Agreement Between Rosefield Pipeline
                                             Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                              as Producer            and Rosefield Pipeline Company LLC
    Oil Gathering Agreement      3/6/2020      Oil Gathering and Reserve Dedication
                                              Agreement Between Rosefield Pipeline
                                             Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                              as Producer            and Rosefield Pipeline Company LLC
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    Oil Gathering Agreement         3/6/2020       Oil Gathering and Reserve Dedication
                                                  Agreement Between Rosefield Pipeline
                                                 Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                as Producer              and Rosefield Pipeline Company LLC
 Oil Pipeline Connection Agreeet   7/23/2020      ST 53/67 Connection Agreement ST 52
                                                "A" Topsides Work‐Connecting Fieldwood
                                                 Energy LLC Pipeline Segment No 5890 to
                                                  Rosefield Pipeline System 10" Pipeline Connection Agreement by and between Fieldwood Energy LLC and Rosefield Pipeline Company
                                                                                         LLC and Rosefield Pipeline Company LLC
 Oil Pipeline Connection Agreeet   7/23/2020      ST 53/67 Connection Agreement ST 52
                                                "A" Topsides Work‐Connecting Fieldwood
                                                 Energy LLC Pipeline Segment No 5890 to
                                                  Rosefield Pipeline System 10" Pipeline Connection Agreement by and between Fieldwood Energy LLC and Rosefield Pipeline Company
                                                                                         LLC and Rosefield Pipeline Company LLC
          Oil Transport             8/1/2009     High Island Pipeline System Throughput Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                                         Capacity Lease Agreement        Oil & Gas LLC

          Oil Transport             8/1/2009    High Island Pipeline System Throughput Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                                       Capacity Lease Agreement        Oil & Gas LLC

          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
          Oil Transport            11/30/2018          Crimson Gulf Dedication and
                                                   Transportation Services Agreement   Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport            11/30/2018          Crimson Gulf Dedication and     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                   Transportation Services Agreement
Liquids Transportation Agreement    4/1/2015     Liquids Transportation Agreement (ST
                                                    311‐"Megalodon") By and Among
                                                   Discovery Gas Transmission LLC and  Liquids Transportation Agreement by and between Fieldwood Energy LLC and Discovery Gas
                                                          Fieldwood Energy LLC         Transmission LLC and Discovery Gas Transmission LLC
    Injected and Retrograde        2/10/2014      Injected and Retrograde Condensate Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
 Condensate Transportation and                  Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
     Btu Reduction Make‐up                                    up Agreement             Transcontinental Gas Pipe Line Company LLC
           Agreement
    Injected and Retrograde        2/10/2014      Injected and Retrograde Condensate Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
 Condensate Transportation and                  Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
     Btu Reduction Make‐up                                   up Agreement              Transcontinental Gas Pipe Line Company LLC
           Agreement
    Injected and Retrograde        2/10/2014       Injected and Retrograde Condensate
 Condensate Transportation and                  Transportation and Btu Reduction Make‐ Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
     Btu Reduction Make‐up                                     up Agreement               and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
           Agreement                                                                      Transcontinental Gas Pipe Line Company LLC
Agreement For Measurement and       7/1/2001       Central Texas Gathering System (1st)    Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2001       Central Texas Gathering System (1st)    Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2001       Central Texas Gathering System (1st)
    Allocation of Condensate                     Amended and Restated Agreement for
                                                      Measurement and Allocation of        Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
                                                                Condensate                Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
Agreement For Measurement and       7/1/2014     Central Texas Gathering System Second Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2014     Central Texas Gathering System Second Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                                Condensate
Agreement For Measurement and       7/1/2014     Central Texas Gathering System Second
    Allocation of Condensate                     Amended and Restated Agreement for
                                                      Measurement and Allocation of        Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
                                                                Condensate                Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
      Liquid Transportation        9/27/1993         Liquid Transportation Nouth High     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                  Island/Johnson Bayou, Markham Plant Corporation and Transcontinental Gas Pipe Line Corporation
                                                     Tailgate, Bayou Black & Vermilion
                                                  Separation Facility. Contract # 94 0674

      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                         Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

      Liquid Transportation        9/27/1993        Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                         Corporation and Transcontinental Gas Pipe Line Corporation
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      Liquid Transportation        9/27/1993       Liquid Transportation Nouth High
                                                Island/Johnson Bayou, Markham Plant
                                                   Tailgate, Bayou Black & Vermilion
                                                Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                        Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        9/27/1993       Liquid Transportation Nouth High
                                                Island/Johnson Bayou, Markham Plant
                                                   Tailgate, Bayou Black & Vermilion
                                                Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                        Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        9/27/1993       Liquid Transportation Nouth High
                                                Island/Johnson Bayou, Markham Plant
                                                   Tailgate, Bayou Black & Vermilion
                                                Separation Facility. Contract # 94 0674 Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                        Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental Corporation and Transcontinental Gas Pipe Line Corporation
                                                 Gas Pipe Line Corporatio and Apache
                                                      Corp Contract # 94 0674 001

Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental     Corporation and Transcontinental Gas Pipe Line Corporation
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001

Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental     Corporation and Transcontinental Gas Pipe Line Corporation
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001

Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    11/1/2007    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache
                                                    Corp Contract # 94 0674 001        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                Gas Pipe Line Corporatio and Apache    Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                Gas Pipe Line Corporatio and Apache    Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation     Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                Gas Pipe Line Corporatio and Apache    Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation    1/22/2013    Amendment to Liquid Transportation
                                                Agreement Between Transcontinental
                                                Gas Pipe Line Corporatio and Apache    Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Corp Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                       Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐ Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                                 up Agreement‐Southeast Lateral (into
                                                       Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   11/1/2007     Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                 up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                       Bayou Black) 28 0008 000       Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation        4/8/2010               Amendment Liquid
                                                HydrocarbonTransportation Agreement Liquid Transportation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                               (NHI/Johnson Bayou) Cont. No. 1022772, Company LLC( formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                           Doc. No. 97 0515           Pipe Line Company LLC( formerly Transcontinental Gas Pipe Line Corporation)
      Liquid Transportation        8/6/1997       Liquid Hydrocarbon Transportation   Liquid Transportation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                              Agreement               Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup   7/1/2008      Injected and Retrograde Condensate
                                               Transportation and Btu Reduction Make‐
                                                up Agreement Central Texas Gathering Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                          System 28 0384 000          Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
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    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
                                                                                                           Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
    Terminalling Agreement                    9/1/2009            reement Between WFS‐Liquids Company anWFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                           WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009               Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                    Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                       Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                       Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Mariner Energy inc Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                               WFS‐Liquid Company
    Terminalling Agreement                    9/1/2009                  Terminalling Agreement Between WFS‐
                                                                       Liquids Company and Mariner Energy inc Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                                               WFS‐Liquid Company
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Liquid LLC
                                                                                     Contract BB111
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
    Terminalling Agreement                    2/1/2014                  Terminalling Agreement Between WFS‐
                                                                         Liquidsllc and Fieldwood Energy LLC ‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                     Contract BB111            Liquid LLC
   Oil Liquids Transportation                 9/1/1997                 Agreement Cocodrie/Pecan Island Plants Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
           Agreement                                                                                           LLC and Kinetica Energy Express, LLC
   Oil Liquids Transportation                10/22/2009                   Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Agreement for Bluewater System                                                  #51169 dated 2/1/2007          LLC and Kinetica Energy Express, LLC

 Oil Liquids Transportation for            9/30/2009                      Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
  Bluewater Pipeline System                                                     #51169 dated 2/1/2007          LLC and Kinetica Energy Express, LLC
 Oil Liquids Transportation for            4/1/2004                       Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
  Bluewater Pipeline System                                                            #51051                  LLC and Kinetica Energy Express, LLC
 Oil Liquids Transportation for            9/30/2009                      Liquids Transportation Agreement     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
  Bluewater Pipeline System                                                     #51051 dated 4/1/2004          LLC and Kinetica Energy Express, LLC
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                                         50031                  LLC and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                                         50031                  LLC and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                                         50031                  LLC and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for            2/25/2010                    Liquids Transportation Agreement No.
Grand Chenier Offshore Pipeline                                                         50031                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
             System                                                                                            LLC and Kinetica Energy Express, LLC
 Oil Liquids Amendment No. 6 riginal Contract; Amendment Effecti          Amendment No. 6 to the Liquids       Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                                                              Transportation Contract          LLC and Kinetica Energy Express, LLC
  Oil Liquids Amendment No. 6      /1992, Amendment Effective 1/1/20      Amendment No. 6 to the Liquids       Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                                                              Transportation Contract          LLC and Kinetica Energy Express, LLC
   Oil Amendment to Liquids      ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
     Transport Agreement                                                Transportation Agreement Patterson
                                                                                     Terminal                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
   Oil Amendment to Liquids      ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
     Transport Agreement                                                Transportation Agreement Patterson
                                                                                     Terminal                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
   Oil Amendment to Liquids      ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
     Transport Agreement                                                Transportation Agreement Patterson
                                                                                     Terminal                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
 Oil Liquid Handling Agreement                5/1/2008                      Liquid Handling Agreement          Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica

Amendment to Oil Liquid Handling              3/1/2011                              Amendment                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
           Agreement
Amendment to Oil Liquid Handling    11/1/2012 amended 12/1/2013                     Amendment                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Agreement to transfer from
 Apache Shelf, Inc. to Fieldwood
            Energy LLC
     Oil Liquids Agreement                    3/1/2011                           Liquids Agreement
                                                                                                               Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    3/1/2011                           Liquids Agreement
                                                                                                               Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    3/1/2011                           Liquids Agreement
                                                                                                               Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation
                                                                         Agreement Grand Chenier Terminal      Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                         Agreement Grand Chenier Terminal
     Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                         Agreement Grand Chenier Terminal
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     Oil Liquids Agreement                11/1/2012                   Associated Liquids Transporation
                                                                     Agreement Grand Chenier Terminal     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
     Oil Liquids Agreement                11/1/2012                   Associated Liquids Transporation
                                                                     Agreement Grand Chenier Terminal     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Oil Liquids Agreement Amendment/1/2012 Amended effective 12/1/20                Amendment                 Oil Liquids Transportation transferring agreement from apache Corporation to Fieldwood Energy
                                                                                                          LLC by and between Fieldwood Energy LLC and Kinetica and Kinetica
Oil Liquids Agreement Amendment/1/2012 Amended effective 12/1/20                Amendment                 Oil Liquids Transportation transferring agreement from apache Corporation to Fieldwood Energy
                                                                                                          LLC by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Assignment, Assumption and               7/1/2013                 Assignment, Assumption and Consent    Consent to assign liquids separation 7 stabilization agreement as amended dated 1/17/2001
       Consent Agreement                                                        Agreement                 between Manta Ray and Apache (Contract Nos. 101939, 310225 and 106968) by and between
                                                                                                          Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C.
  Assignment, Assumption and               7/1/2013                 Assignment, Assumption and Consent    Consent to assign liquids separation 7 stabilization agreement as amended dated 1/17/2001
       Consent Agreement                                                        Agreement                 between Manta Ray and Apache (Contract Nos. 101939, 310225 and 106968) by and between
                                                                                                          Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C.
    Oil Liquids Separtion and             11/1/2010                 Liquids Separtion and Stabilization   LSA by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C.
     Stabilization Agreement                                                     Agreement                and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and             6/1/2014             Third Amendment to Manta Ray Liquids
     Stabilization Agreement                                    Separation and Stabilization Agreement Separation and Stabilization Agreement by and between Fieldwood Energy LLC and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and             6/1/2014             Third Amendment to Manta Ray Liquids
     Stabilization Agreement                                    Separation and Stabilization Agreement Separation and Stabilization Agreement by and between Fieldwood Energy LLC and Manta Ray
                                                                                                          Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and            11/1/2000                 Manta Ray Liquids Separation and      Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                              Stabilization Agreement         Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            11/1/2000                 Manta Ray Liquids Separation and      Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                              Stabilization Agreement         Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2008              First Amendment to Liquids Separation Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                            and Stailization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2008              First Amendment to Liquids Separation Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                            and Stailization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            11/1/2000            Second Amendment to Manta Ray Liquids Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                    Separation and Stabilization Agreement Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            11/1/2000            Second Amendment to Manta Ray Liquids Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                    Separation and Stabilization Agreement Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and            4/27/2004                 Manta Ray Liquids Separation and      Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
     Stabilization Agreement                                              Stabilization Agreement         Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2014            Second Amendment to Liquids Separation LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             3/1/2014            Second Amendment to Liquids Separation LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             6/1/2014             Third Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
   Oil Liquids and Stabilization           6/1/2014             Third Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
            Agreement                                                  and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             1/1/2015            Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             1/1/2015            Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
     Stabilization Agreement                                           and Stabilization Agreement        Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                          L.L.C.
    Oil Liquids Separation and             4/1/2018                    Liquids Separtion Agreement        Contract for ST 320 by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering
     Stabilization Agreement                                                                              Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Transporation              4/1/2018             Nautilus Pipeline Company, L.L.C. Liquids LTA for ST 320 by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                   Transportation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation              3/1/2014                     First Amendment to Liquids        LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                   Transportation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation              1/1/2015                   Second Amendment to Liquids         LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                    Transporation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation              1/1/2015                   Second Amendment to Liquids         LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
            Agreement                                                    Transporation Agreement          Nautilus Pipeline Company, L.L.C.
    Oil Liquids Transporation             11/1/2010                     First Amendment to Liquids        LTA by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and Nautilus
            Agreement                                                   Transportation Agreement          Pipeline Company, L.L.C.
    Oil Liquids Transporation             11/1/2010                     First Amendment to Liquids        LTA by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and Nautilus
            Agreement                                                   Transportation Agreement          Pipeline Company, L.L.C.
    Oil Liquids Transporation              5/1/2015                   Amendment to Transportation         LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
            Agreement                                                            Agreement                Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Amendment to Transportation         LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
            Agreement                                                            Agreement                Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Amendment to Transportation         LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
            Agreement                                                            Agreement                Pipeline Company, LLC
    Oil LiquidsTransportation              5/1/2015                   Transportation Agreement for
            Agreement                                                Interruptible Service Under Rate
                                                               Schedule ITS Between Sea Robin Pipeline
                                                                Company, LLC and Fieldwood Energy LLC LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                                          Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Transportation Agreement for
           Agreement                                                 Interruptible Service Under Rate
                                                               Schedule ITS Between Sea Robin Pipeline
                                                                Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                          Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                   Transportation Agreement for        Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
           Agreement                                                 Interruptible Service Under Rate     Company, LLC and Sea Robin Pipeline Company, LLC
                                                               Schedule ITS Between Sea Robin Pipeline
                                                                Company, LLC and Fieldwood Energy LLC

    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for
           Agreement                                                   Interruptible Service Under Rate
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for
           Agreement                                                   Interruptible Service Under Rate
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for       Amendment No. 2 by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC
           Agreement                                                   Interruptible Service Under Rate    and Sea Robin Pipeline Company, LLC
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC

    Oil Liquids Transporation              5/1/2015                     Transportation Agreement for
           Agreement                                                   Interruptible Service Under Rate
                                                                   Schedule ITS Between Sea Robin Pipeline
                                                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
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Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                           Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                      for Interruptible Service Under Rate Company, LLC and Sea Robin Pipeline Company, LLC
                                   Schedule ITS between Sea Robin Pipeline
                                   Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                    Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                             Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/1/2015    Exhibit A for Transportation Agreement
                                      for Interruptible Service Under Rate
                                   Schedule ITS between Sea Robin Pipeline
                                    Company, LLC and Fieldwood Energy LLC Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                             Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport   5/5/2006           Amendment No. 1 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   5/5/2006           Amendment No. 1 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   5/1/2003      Liquid Hydrocarbons Transportation     LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                   Agreement                 Pipeline Company, LLC
Oil Liquids Transport   7/1/2010           Amendment No. 2 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   7/1/2010           Amendment No. 2 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   7/1/2010           Amendment No. 2 to Liquid
                                      Transportation Agreement No. 1389
                                     between Sea Robin Pipeline company,
                                       LLC and Apache Corporation dated      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                    5/1/2003                 Pipeline Company, LLC
Oil Liquids Transport   2/1/2018   Amendment No. 1 to Liquid Hydrocarbon
                                    Separation Agreement dated October 1,
                                   2004 between Trunkline field Services LLC
                                     and Fieldwood Energy LLC‐Agreement
                                                    No. 2430                 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                             Pipeline Company, LLC
Oil Liquids Transport   2/1/2018   Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                    Separation Agreement dated October 1, Pipeline Company, LLC
                                   2004 between Trunkline field Services LLC
                                     and Fieldwood Energy LLC‐Agreement
                                                    No. 2430
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      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                                Separation Agreement dated October 1,
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                               No. 2430                  LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                                Separation Agreement dated October 1,
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                               No. 2430                  LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                Separation Agreement dated October 1, Pipeline Company, LLC
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                               No. 2430

      Oil Liquids Transport        2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                                Separation Agreement dated October 1,
                                               2004 between Trunkline field Services LLC
                                                 and Fieldwood Energy LLC‐Agreement
                                                                No. 2430                 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
Oil Liquids Separation Agreement   10/1/2004        Liquid Hydrocarbons Separation       LSA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                              Agreement                  Pipeline Company, LLC
Oil Liquids Separation Agreement   10/1/2004        Liquid Hydrocarbons Separation       LSA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                              Agreement                  Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        6/1/2011    Amendment No. 3 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        6/1/2011    Amendment No. 3 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        6/1/2011    Amendment No. 3 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/1/2011    Amendment No. 2 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/1/2011    Amendment No. 2 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        1/1/2011    Amendment No. 2 to Liquid Hydrocarbon
    Separation Agreement                        Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                 Service                 Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        5/1/2009    Amendment No. 1 to Liquid Hydrocarbon
    Separation Agreement                       Separatiaon Agreement dated 10/1/2004
                                               between Trunkline Field Services, LLC and
                                                          Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                         Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        5/1/2009    Amendment No. 1 to Liquid Hydrocarbon
    Separation Agreement                       Separatiaon Agreement dated 10/1/2004
                                               between Trunkline Field Services, LLC and
                                                          Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                         Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        5/1/2009    Amendment No. 1 to Liquid Hydrocarbon
    Separation Agreement                       Separatiaon Agreement dated 10/1/2004
                                               between Trunkline Field Services, LLC and
                                                          Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                         Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids
                                                Hydrocarbon Transportation Agreement
                                                  Dated October 1, 2004 between Sea
                                                    Robin Pipeline Company, LLC and
                                                 Fieldwood Energy LLC‐Agreement No. Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                  2431                   Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids         Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                Hydrocarbon Transportation Agreement Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                  Dated October 1, 2004 between Sea
                                                    Robin Pipeline Company, LLC and
                                                 Fieldwood Energy LLC‐Agreement No.
                                                                  2431
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids
                                                Hydrocarbon Transportation Agreement
                                                  Dated October 1, 2004 between Sea
                                                    Robin Pipeline Company, LLC and
                                                 Fieldwood Energy LLC‐Agreement No. Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                  2431                   Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
    Oil Liquids Hydrocarbon        2/1/2018           Amendment No. 1 to Liquids
                                                Hydrocarbon Transportation Agreement
                                                  Dated October 1, 2004 between Sea
                                                    Robin Pipeline Company, LLC and
                                                 Fieldwood Energy LLC‐Agreement No. Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                  2431                   Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
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       Facility      Facility Owner   Item Number   Serial No.         Location               Item Description      Project Name   UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
North Warehouse        Fieldwood         54401                        WH/B42/S1          LINER: PWR CYL                             EA                     1     3,975.83    100.0%  3,975.83
North Warehouse        Fieldwood         54402                        WH/B42/FLR         PSTN/ROD ASSY: 10‐1/2",                    EA                     1 15,303.69       100.0% 15,303.69
                                                                                         GMWA,
North Warehouse       Fieldwood         54403                         WH/B42/FLR         PSTN/ROD ASSY: 28",                       EA                      1    21,498.05    100.0%   21,498.05
                                                                                         GMWA, ROD
North Warehouse       Fieldwood         54406                         WH/B42/S1          PSTN: 18", PISTON, GMVC                   EA                      1    19,676.18    100.0%   19,676.18
                                                                                         1ST STGE
North Warehouse       Fieldwood         54407                          B3/B3/S2          LINER: 2ND STGE CYL                       EA                      1     2,542.05    100.0%    2,542.05
North Warehouse       Fieldwood         54408                         WH/B41/S2          LINER: GMVC 1ST STGE                      EA                      1     2,186.24    100.0%    2,186.24
North Warehouse       Fieldwood         54409                         WH/B37/FL          HD: 2ND STGE CRNKEND                      EA                      1     4,372.48    100.0%    4,372.48

North Warehouse       Fieldwood         54411                       WH/SE Wall/FLR       CRNKSHFT: GMVA/GMVC‐                      EA                      1    82,650.64    100.0%   82,650.64
                                                                                         12
North Warehouse       Fieldwood         54412                       WH/SE Wall/FLR       CRNKSHFT: GMVA/GMVC‐                      EA                      2    81,082.47    100.0%   81,082.47
                                                                                         12
North Warehouse       Fieldwood         54419                          B3/B3/S2          PMP: GMVA LUBE OIL                        EA                      1     5,829.98    100.0%    5,829.98
North Warehouse       Fieldwood         54420                           WH/FL            CRSSHD ASSY:                              EA                      1     6,095.65    100.0%    6,095.65
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54421                         WH/B41/FL          CRSSHD ASSY:                              EA                      1     6,095.65    100.0%    6,095.65
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54422                           WH/FL            CRSSHD ASSY:                              EA                      1     7,703.92    100.0%    7,703.92
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54445                          B3/B3/S2          GEAR: GMVC BLOWER                         EA                      1     3,352.24    100.0%    3,352.24
                                                                                         DRV
North Warehouse       Fieldwood         54447                         WH/B42/FLR         PSTN/ROD ASSY: 18", 1ST                   EA                      1    14,956.39    100.0%   14,956.39
                                                                                         STGE
North Warehouse       Fieldwood         54448                         WH/B42/S1          LINER: 18", 1ST STGE                      EA                      1     1,967.62    100.0%    1,967.62
                                                                                         COMPRSSR
North Warehouse       Fieldwood         54449                         WH/B42/S1          LINER: 15", 2ND STGE                      EA                      1     1,785.43    100.0%    1,785.43
                                                                                         COMPRSSR
North Warehouse       Fieldwood         54450                         WH/B41/S2          LINER: 9‐3/4", 3RD STGE                   EA                      1     1,909.90    100.0%    1,909.90
                                                                                         COMPRSSR
North Warehouse       Fieldwood         54452                          B3/B1/S1          GEAR: GMV3‐FB, PARTCO                     EA                      1    16,032.44    100.0%   16,032.44
                                                                                         BLOWER W/HUB

North Warehouse       Fieldwood         54456                         WH/B42/FLR         PSTN/ROD ASSY: 9‐3/4",                    EA                      1     2,399.73    100.0%    2,399.73
                                                                                         3RD STGE
North Warehouse       Fieldwood         54457                         WH/B43/S1          PSTN/ROD ASSY: 9‐5/8",                    EA                      1    16,032.44    100.0%   16,032.44
                                                                                         GMWA,
North Warehouse       Fieldwood         54458                         WH/B43/FLR         PSTN/ROD ASSY: 17‐1/4",                   EA                      1    18,636.17    100.0%   18,636.17
                                                                                         GMVA‐8 1ST S TGE

North Warehouse       Fieldwood         54460                          B3/B2/FLR         ROD: ALL GMV PWR                          EA                      2     1,821.87    100.0%    1,821.87
                                                                                         PISTON
North Warehouse       Fieldwood         54468                          B3/B2/S3          PMP: GMVA H2O                             EA                      1    13,481.83    100.0%   13,481.83
                                                                                         W/GSKTS
North Warehouse       Fieldwood         54469                         WH/B41/FLR         CRSSHD ASSY:                              EA                      1    13,051.81    100.0%   13,051.81
                                                                                         GMVA/VC/VH
North Warehouse       Fieldwood         54480                         WH/B43/FLR         PSTN/ ROD ASSY: 16‐1/4",                  EA                      1    18,408.45    100.0%   18,408.45
                                                                                         2ND STGE,
North Warehouse       Fieldwood         54481                       Bay3/N Wall/FLR      PSTN/ROD ASSY: GMWE                       EA                      1     3,223.36    100.0%    3,223.36
                                                                                         PWR,FITS GMWE‐12

North Warehouse       Fieldwood         54486                         WH/B43/FLR         PSTN/ROD ASSY: GMWA                       EA                      1    21,945.24    100.0%   21,945.24

North Warehouse       Fieldwood         56001                         WH/B41/S1          BEARING: TLA COMPRSSR                     EA                      5       725.83    100.0%     725.83
                                                                                         RD, BEARING

North Warehouse       Fieldwood         56002                         WH/B41/S1          BEARING: TLA MAIN                         EA                      7       635.76    100.0%      635.76
North Warehouse       Fieldwood         56633                         B3/B5BS3           KT: RPR CYL, TLA PWR                      EA                      5       725.10    100.0%      725.10
North Warehouse       Fieldwood         56644                          B3/B4/S2          SPRCKT: TLA CRNKSHFT                      EA                      1     6,085.04    100.0%    6,085.04

North Warehouse       Fieldwood         56645                          B3/B4/S3          SPRCKT: TLA                               EA                      1     3,377.74    100.0%    3,377.74
North Warehouse       Fieldwood         56646                          B3/B3/S2          SPRCKT: HYD PUMP &                        EA                      1     2,135.23    100.0%    2,135.23
                                                                                         DRV
North Warehouse       Fieldwood         56648                         WH/B41/S1          LINE: CYL, TLA 2ND STG                    EA                      1     7,817.91    100.0%    7,817.91
North Warehouse       Fieldwood         56653                    WH/B43/S2,TOP IN BACK   PSTN: TLA 2ND STGE                        EA                      1    20,689.57    100.0%   20,689.57
North Warehouse       Fieldwood         56654                         WH/B44/S1          PSTN: TLA 1ST STGE                        EA                      1    22,170.79    100.0%   22,170.79
North Warehouse       Fieldwood         56657                         B3/B4/FLR          PMP: SHFT, TLA IDLER                      EA                      1     1,136.85    100.0%    1,136.85
North Warehouse       Fieldwood         56658                          B3/B4/S3          PMP: SHFT, TLA DRIVE                      EA                      1     3,188.27    100.0%    3,188.27
North Warehouse       Fieldwood         56659                          B3/B4/S3          PMP: SHFT, TLA WATER                      EA                      1     1,789.07    100.0%    1,789.07
                                                                                         PUMP
North Warehouse       Fieldwood         56663                         WH/B41/S2          SHOE: TLA TPE XHD                         EA                      1     2,514.18    100.0%    2,514.18
                                                                                         SLIPPER
North Warehouse       Fieldwood         56695                          B3/B4/FLR         NUT: TLA CONNECTING                       EA                      4       397.17    100.0%     397.17
                                                                                         ROD
North Warehouse       Fieldwood         56744                          B3/B4/FLR         GEAR: TLA BULL TIMING                     EA                      1     1,898.39    100.0%    1,898.39
                                                                                         CNTRL
North Warehouse       Fieldwood         56746                          B3/B4/S3          GEAR: TLA OIL PUMP                        EA                      2     3,800.42    100.0%    3,800.42
North Warehouse       Fieldwood         56771                          B3/B4/FLR         LABYRINTH: TLA TURBINE                    EA                      1     1,745.35    100.0%    1,745.35

North Warehouse       Fieldwood         56772                          B3/B4/FLR         LABYRINTH: TLA                            EA                      2       626.73    100.0%      626.73
North Warehouse       Fieldwood         56779                          B3/B4/FLR         CARRIER: TLA BULL GEAR                    EA                      3     1,286.24    100.0%    1,286.24

North Warehouse       Fieldwood         56780                          B3/B4/FLR         CARRIER: TLA IDLER GEAR                   EA                      3     1,187.86    100.0%    1,187.86

North Warehouse       Fieldwood         56782                          B3/B4/FLR         LINKAGE: TLA LWR/CNTRL                    EA                      2     1,435.63    100.0%    1,435.63

North Warehouse       Fieldwood         56788                          B3/B4/FLR         SHFT COMPRSSR: TLA                        EA                      2       739.68    100.0%     739.68
                                                                                         TIMER DR
North Warehouse       Fieldwood         56799                          B3/B4/S3          VLV: TLA FUEL                             EA                      6     2,288.27    100.0%    2,288.27
North Warehouse       Fieldwood         56800                          B3/B5/S3          SPRCKT: TLA CRNKSHFT                      EA                      1     6,512.01    100.0%    6,512.01

North Warehouse       Fieldwood         56802                         WH/B44/S2          PSTN/ROD ASSY: TLA                        EA                      1     9,300.03    100.0%    9,300.03
                                                                                         MATL NO DRAW TYP E
North Warehouse       Fieldwood         56806                          B3/B6/S1          ROD: TLA W/LCKNG                          EA                      1    24,799.27    100.0%   24,799.27
                                                                                         STDDS & PN SZ W/RD CAP

North Warehouse       Fieldwood         56808                          B3/B3/S2          WHEEL: TLA TRBN                           EA                      1    23,760.81    100.0%   23,760.81
North Warehouse       Fieldwood         56809                         WH/B30/S1          SCRN ASSY: TLA DWG                        EA                      1     3,917.02    100.0%    3,917.02
North Warehouse       Fieldwood         56810                          B3/B4/S3          JT: EXPNSN, TLA                           EA                      2     1,435.63    100.0%    1,435.63
North Warehouse       Fieldwood         56811                          B3/B1/S2          JT: EXPNSN, TLA EXHAUST                   EA                      1       980.17    100.0%      980.17

North Warehouse       Fieldwood         56815                          B3/B10/S2         INTCLR ASSY: TLA SCAV                     EA                      6     4,339.69    100.0%    4,339.69
                                                                                         AIR
North Warehouse       Fieldwood         56816                          B3/B4/FLR         NUT: TLA ROD ALL STGS                     EA                      1     1,012.96    100.0%    1,012.96

North Warehouse       Fieldwood         56817                         B3/B4/S3           RING: TLA TURB NZZLE                      EA                      2     8,435.25    100.0%    8,435.25
North Warehouse       Fieldwood         58585                       WH/SE Wall/FLR       CRNKSHFT                                  EA                      1    15,303.69    100.0%   15,303.69
North Warehouse       Fieldwood         59286                        WH/B43/S1           PSTN/ROD ASSY: 9‐3/4",                    EA                      1    12,227.14    100.0%   12,227.14
                                                                                         GMV, W/ 3" ROD
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       Facility      Facility Owner   Item Number   Serial No.      Location            Item Description     Project Name   UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
North Warehouse        Fieldwood         71926                   Bay3/N Wall/FLR   STDDS: STEP, CYL. W/                      EA                    24         72.87   100.0%     72.87
                                                                                   NUTS 4 SUCT
North Warehouse       Fieldwood         71936                       B2/B1/S2       CYL: HYD, I/BRD, UNRPRD                  EA                      1     1,020.25    100.0%    1,020.25

North Warehouse       Fieldwood         71937                       B2/B1/S2       CYL, HYD, I/BRD, UNRPRD                  EA                      1     1,020.25    100.0%    1,020.25

North Warehouse       Fieldwood         71939                       B2/B4/IS       CYL: COMPRSSR, 8", W/                    EA                      1     6,558.73    100.0%    6,558.73
                                                                                   ALL HD STDDS & NTS

North Warehouse       Fieldwood         71948                       B2/B5/S1       VLV CHR: UNRPR'D                         EA                      8       153.04    100.0%      153.04
North Warehouse       Fieldwood         71952                       B2/B1/S2       CYL: CMPRSSR, 8", W/ IB                  EA                      1     3,497.99    100.0%    3,497.99
                                                                                   HEAD & P. GL ND
North Warehouse       Fieldwood         71955                       B2/B4/S1       PSTN: COMP, C.I., W/2                    EA                      1     1,311.75    100.0%    1,311.75
                                                                                   STEEL DONUTS
North Warehouse       Fieldwood         71971                       B2/B1/S2       PSTN/ ROD ASSY: X 2",                    EA                      1     1,289.88    100.0%    1,289.88
                                                                                   NO RINGS, TUNGSTEN
North Warehouse       Fieldwood         71975                       B2/B1/S2       CRSSHD: GUIDE, WBF‐74,                   EA                      1     3,279.36    100.0%    3,279.36
                                                                                   BORE
North Warehouse       Fieldwood         71977                       B2/B1/S2       DIST PC: WBF‐74, NEW                     EA                      1     2,040.49    100.0%    2,040.49
                                                                                   OEM 14" CYL
North Warehouse       Fieldwood         71980                      WH/B29/S1       FAN ASSY: 7 BLADE 132"                   EA                      1     2,186.24    100.0%    2,186.24
                                                                                   DIA AIR‐X‐CHANGER

North Warehouse       Fieldwood         71983                      WH/B29/S1       FAN BLDES: FIBERGLASS                    EA                      6       364.37    100.0%     364.37
                                                                                   62" L X 11‐1/1 4" W

North Warehouse       Fieldwood         72001                      WH/B8/S2        PMP ASSY: LUBE, MVS,                     EA                      1     2,186.24    100.0%    2,186.24
                                                                                   W/ ATMOS IND. &
North Warehouse       Fieldwood         72002                      WH/B8/S2        PMP ASSY: LUBE, MVS,                     EA                      1     2,186.24    100.0%    2,186.24
                                                                                   W/ ATMOS IND. &
North Warehouse       Fieldwood         72013                      WH/B8/FLR       HD: CYL, PWR, RECOND                     EA                      2     1,311.75    100.0%    1,311.75

North Warehouse       Fieldwood         72025                      WH/B38/S1       MANIFOLD: INTAKE                         EA                      2       728.75    100.0%     728.75
North Warehouse       Fieldwood         72027                      WH/B36/S1       MANIFOLD: EXHST,                         EA                      3       655.87    100.0%     655.87
                                                                                   P9390, SECTIONS
North Warehouse       Fieldwood         72037                      WH/B6/S2        ROD: CONN, P9390, US'D                   EA                     16       510.12    100.0%     510.12

North Warehouse       Fieldwood         81982                      B3/B2/FLR       ROD: ARTIC'LD, GMVC                      EA                      1     1,366.40    100.0%    1,366.40
North Warehouse       Fieldwood         81984                      B3/B4/S3        SPRCKT: TLA SGL SPLIT                    EA                      1     6,635.24    100.0%    6,635.24
North Warehouse       Fieldwood         81985                      B3/B4/FLR       SPRCKT: TLA IDLER                        EA                      1     1,923.89    100.0%    1,923.89
                                                                                   W/PUMP
North Warehouse       Fieldwood         81987                      WH/B41/S2       SHOE: GMVC XHD                           EA                      1     1,689.76    100.0%    1,689.76
North Warehouse       Fieldwood         89087                      WH/B43/S1       PSTN/ROD ASSY: SZ 28"                    EA                      1     9,838.09    100.0%    9,838.09
                                                                                   US'D C7120‐3A 3172

North Warehouse       Fieldwood          96073                     WH/B8/S2        PMP,HYD: 5.2gpm                          EA                      1     9,793.64    100.0%    9,793.64
North Warehouse       Fieldwood          96074                     WH/B8/S2        PMP,HYD: 1.9gpm                          EA                      1     9,793.64    100.0%    9,793.64
North Warehouse       Fieldwood         112605                     B3/B8/FLR       KT: RPR VRA                              EA                      3       852.63    100.0%      852.63
North Warehouse       Fieldwood         112606                     B3/B10/S1       VLV                                      EA                      3     1,093.12    100.0%    1,093.12
North Warehouse       Fieldwood         112608                     B3/B10/S1       VLV                                      EA                      6       655.87    100.0%      655.87
North Warehouse       Fieldwood         197167                     WH/B25/S2       TRBCHRGR: VTC254 BBC                     EA                      1    33,066.91    100.0%   33,066.91
                                                                                   W/MNTNG GSKT
North Warehouse       Fieldwood         200368                    WH/B30/FLR       ROTOR ASSY, DEEPWELL                     EA                      1     7,651.85    100.0%    7,651.85
                                                                                   PUMP
North Warehouse       Fieldwood         200371                     B2/B10/FLR      CYL: WRTHGTN SIZE 9‐                     EA                      1    10,931.21    100.0%   10,931.21
                                                                                   1/4"
North Warehouse       Fieldwood         200372                     B2/B11/FLR      CYL: WRTHGTN, SIZE 7"                    EA                      1     8,744.97    100.0%    8,744.97
North Warehouse       Fieldwood         200379                     B2/B11/FLR      CYL: WRTHGTN SIZE 7.007                  EA                      1     9,838.09    100.0%    9,838.09

North Warehouse       Fieldwood         200380                     WH/B5/S2        IMPELLER: TURBINE                        EA                      1    16,560.78    100.0%   16,560.78
North Warehouse       Fieldwood         200381                     WH/B5/S2        IMPELLER: 'C30' B STG,                   EA                      1    17,289.53    100.0%   17,289.53
                                                                                   SOLAR
North Warehouse       Fieldwood         200387                     WH/B11/S1       COMPR: AIR                               EA                      1     6,194.35    100.0%    6,194.35
North Warehouse       Fieldwood         200390                     WH/B27/S2       GEAR: BX TYPE, 206HS,                    EA                      1    29,149.89    100.0%   29,149.89
                                                                                   RAT 1.262‐1
North Warehouse       Fieldwood         200400                     WH/B5/S2        BEARING ASSY: C30 SLR                    EA                      1    21,060.80    100.0%   21,060.80
                                                                                   GC DMPR SUCT
North Warehouse       Fieldwood         200401                     WH/B5/S2        BEARING ASSY: C30 DIS                    EA                      1    18,346.21    100.0%   18,346.21
                                                                                   SLR GC TILT PAD
North Warehouse       Fieldwood         200414                      B2/B7/S1       CYL: 6, WRTHGTN                          EA                      1     8,744.97    100.0%    8,744.97
                                                                                   COMPRSSR
North Warehouse       Fieldwood         200421                     B2/B9/FLR       CYL: 15", COMPRSSR, NO                   EA                      1    14,574.95    100.0%   14,574.95
                                                                                   STDDS F/VLV CAPS
North Warehouse       Fieldwood         200422                      B2/B5/S1       CYL: 9", COMPRSSR                        EA                      1    10,931.21    100.0%   10,931.21
                                                                                   #10674‐E I/R ‐RDS
North Warehouse       Fieldwood         200423                     B2/B11/S1       CYL: 11‐1/4", COMPRSSR                   EA                      1    13,117.45    100.0%   13,117.45
                                                                                   W/ 11.287 BORE

North Warehouse       Fieldwood         200424                      B2/B5/S2       CYL: 5", COMPRSSR I/R‐                   EA                      1     9,327.97    100.0%    9,327.97
                                                                                   RDS
North Warehouse       Fieldwood         200426                    WH/B20/S1        TURBINE                                  EA                      1     3,643.74    100.0%    3,643.74
North Warehouse       Fieldwood         202849                      YD/R4          HEAT EXCHNGR                             EA                      1    22,226.79    100.0%   22,226.79
North Warehouse       Fieldwood         202850                    WH/B38/FLR       PMP: CMSD 4X6X10.5                       EA                      1    65,000.00    100.0%   65,000.00
North Warehouse       Fieldwood         202854                       Bay 6         COMPR: PKG                               EA                      1    22,117.48    100.0%   22,117.48
North Warehouse       Fieldwood         202876                      YD/R4          ENG: NG 399                              EA                      1          ‐      100.0%         ‐
North Warehouse       Fieldwood         227188                     B3/B6/S1        CYL: CPR GMWA‐9‐1A                       EA                      1     7,651.85    100.0%    7,651.85
                                                                                   PWR CYLINDERS
North Warehouse       Fieldwood         228011                        Bay 2        PSTN/ROD ASSY: 29‐1/2",                  EA                      1          ‐      100.0%         ‐
                                                                                   CPR F/ V250 COM
North Warehouse       Fieldwood         228012                      B2/B2/S1       PSTN ROD: I/R RDS 2.125                  EA                      1     2,379.02    100.0%    2,379.02
                                                                                   IN CRBDE CTD
North Warehouse       Fieldwood         229324                     WH/B44/S1       PSTN/ROD ASSY: TLA                       EA                      1     4,733.25    100.0%    4,733.25
                                                                                   COMPRSSR
North Warehouse       Fieldwood         233282                   Linear Controls   ENG:NG,235hp,1200rpm                     EA                      1    26,909.80    100.0%   26,909.80

North Warehouse       Fieldwood         233305                      B1/Floor       ENG:DIESEL,318hp,8,2100                  EA                      1    13,481.83    100.0%   13,481.83
                                                                                   rpm
North Warehouse       Fieldwood         233453                     Yard/Row 3      GEN:DIESEL,30kW,208/48                   EA                      1     9,291.53    100.0%    9,291.53
                                                                                   0V,AC,1800rpm, 3ph
North Warehouse       Fieldwood         241167                     B2/B6/FLR       CYL: 28", VRA CLRK                       EA                      1     3,079.21    100.0%    3,079.21
                                                                                   COMPRSSR
North Warehouse       Fieldwood         241168                     B2/B7/FLR       CYL: 17", VRA CLRK                       EA                      1     2,309.41    100.0%    2,309.41
                                                                                   COMPRSSR
North Warehouse       Fieldwood         241169                     B2/B2/FLR       CYL: 9, VRA CLRK                         EA                      1     1,539.61    100.0%    1,539.61
                                                                                   COMPRSSR
North Warehouse       Fieldwood         241173                     WH/B44/FL       PSTN/ROD ASSY: VRA                       EA                      1     1,539.61    100.0%    1,539.61
                                                                                   CLRK COMPRSSR
North Warehouse       Fieldwood         241179                    WH/B1/Floor      HD: VRA CLRK O/BRD                       EA                      1     3,849.02    100.0%    3,849.02
                                                                                   UNLDR
North Warehouse       Fieldwood         241181                    B10K/B36/S1      VLV CHR: VRA CLRK VLV                    EA                     12       173.21    100.0%     173.21
                                                                                   CHRS F/13"
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       Facility             Facility Owner         Item Number   Serial No.       Location             Item Description          Project Name        UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
North Warehouse               Fieldwood               241182                  B3/B10,11,12/FLR   PSTN: VRA CLRK PWR                                   EA                     6     2,169.33    100.0%  2,169.33
North Warehouse               Fieldwood               241185                      B3/B9/S1       ROD: VRA CLRK ART                                    EA                     1 11,708.19       100.0% 11,708.19
                                                                                                 CONN
North Warehouse               Fieldwood              241189                      B3/B10/S3       PIN: WRIST, VRA CLRK                                EA                      4     1,255.26    100.0%    1,255.26
                                                                                                 PWR PISTON
North Warehouse               Fieldwood              241191                      B3/B8/S1        TENSIONER: VRA CLRK                                 EA                      2     1,196.78    100.0%    1,196.78
                                                                                                 CHAIN
North Warehouse               Fieldwood              241202                      B3/B2/S2        GVRNR: GMVC‐12                                      EA                      1     8,409.66    100.0%    8,409.66
North Warehouse               Fieldwood              241203                      B3/B1/FLR       JUMPER: H2O, GMVC‐12                                EA                     12       148.50    100.0%      148.50
                                                                                                 HD TO CYL
North Warehouse               Fieldwood              241205                      B3/B3/S2        JUMPER: H2O, GMVC‐12                                EA                      6       111.47    100.0%     111.47
                                                                                                 CYL TO RAIL
North Warehouse               Fieldwood              241216                      B3/B3/S3        EXHST: ELBOW, GMVC‐                                 EA                      4       857.27    100.0%     857.27
                                                                                                 12, GMVA‐34‐2C
North Warehouse               Fieldwood              251608                       B2/Yard        ENG                                                 EA                      1          ‐      100.0%         ‐
North Warehouse               Fieldwood              252667                      B2/B5/S2        CYL: 6", WHT SUPR                                   EA                      1     4,862.67    100.0%    4,862.67
                                                                                                 COMPRSSR CMPLT
North Warehouse               Fieldwood              323171                     WH/B41/S1        PSTN: RING FOR 23.00"                               EA                      2       238.14    100.0%     238.14
                                                                                                 PISTON
North Warehouse               Fieldwood              323172                     WH/B41/S1        PSTN: RING FOR 16.50"                               EA                      2       223.27    100.0%     223.27
                                                                                                 PISTON
North Warehouse               Fieldwood              323173                     WH/B41/S1        PSTN: RING FOR 10.50"                               EA                      3       139.85    100.0%     139.85
                                                                                                 PISTON
North Warehouse               Fieldwood              326861                     WH/B41/FLR       PSTN: 10.50", PART #579‐                            EA                      1     6,451.03    100.0%    6,451.03
                                                                                                 062‐001
North Warehouse               Fieldwood              326862                     WH/B44/FLR       PSTN: ROD FOR 10.50",                               EA                      1     3,373.74    100.0%    3,373.74
                                                                                                 PISTON
North Warehouse               Fieldwood              326863                     WH/B44/FLR       PSTN: ROD FOR 23.00",                               EA                      1     3,373.74    100.0%    3,373.74
                                                                                                 PISTON
North Warehouse               Fieldwood              326864                     WH/B44/FLR       PSTN: ROD FOR 16.50",                               EA                      1     3,373.74    100.0%    3,373.74
                                                                                                 PISTON
North Warehouse               Fieldwood              328243                     WH/B41/FLR       PSTN: 16.50", PART #579‐                            EA                      1    18,426.94    100.0%   18,426.94
                                                                                                 082‐201
North Warehouse               Fieldwood              329558                    Linear Controls   ENG:NG,423hp,12,7in,H2                              EA                      1    84,000.00    100.0%   84,000.00
                                                                                                 0,900rpm
North Warehouse               Fieldwood              333387                     WH/B41/FLR       PSTN: 23.00", PART #579‐                            EA                      1    33,442.43    100.0%   33,442.43
                                                                                                 303‐201
North Warehouse               Fieldwood              348619                      B1/B1/S1        MTR,ELEC:TEFC,3600rpm,                              EA                      1     7,220.06    100.0%    7,220.06
                                                                                                 150hp,445LP
North Warehouse               Fieldwood              370132                    Linear Controls   ENG:NG,85‐                                          EA                      1    60,750.95    100.0%   60,750.95
                                                                                                 220hp,1905in3,6,7IN
North Warehouse               Fieldwood              500133                      Fluid Crane     SUMP                                                EA                      1    26,250.00    100.0%   26,250.00
                                                                                                 TANK,4'WX10'LX4'H,ATM
                                                                                                 OS,EXT,16" PFLA
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 61      1‐48" X 15' X 230 WP L.P.             ?             EA                      1     4,850.00    100.0%    4,850.00
                                                                                                 Horizontal Separator (No
                                                                                                 Skid)
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 64      24" X 10' Vertical H.P.        Eugene Island        EA                      1     1,770.00    100.0%    1,770.00
                                                                                                 Separator w/Skid                Block#266-B
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 65      12" X 6' Vertical LP Fuel            ?              EA                      1     1,235.00    100.0%    1,235.00
                                                                                                 Gas Scrubber (No Skid)

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 66      12" X 6' Vertical LP Fuel    South Marsh Island     EA                      1     1,235.00    100.0%    1,235.00
                                                                                                 Gas Scrubber w/Skid                11-N

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 70      1‐120 Degree Boat            South Marsh Island     EA                      1       820.00    100.0%     820.00
                                                                                                 Landing with 48" Plate              11
                                                                                                 Doublers
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 73      24" X 10' Vertical H.P.               ?             EA                      1     1,625.00    100.0%    1,625.00
                                                                                                 Separator w/Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 74      30" X 10' Vertical LP Test            ?             EA                      1     1,895.00    100.0%    1,895.00
                                                                                                 Separator w/Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 77      16" X 8' Vertical LP         South Marsh Island     EA                      1     1,455.00    100.0%    1,455.00
                                                                                                 Separator (No Skid)                 10
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 90      1‐48" X 10' X 275 WP L.P.    South Marsh island     EA                      1     4,120.00    100.0%    4,120.00
                                                                                                 Horizontal Scrubber             Block# 48 E
                                                                                                 Vessel NO SKID

Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. 96      1‐Glycol Reboiler with         High Island Block#   EA                      1     8,145.00    100.0%    8,145.00
                                                                                                 Stack & Stihl Column                  467 A
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 100      48" X 10' X 275# W.P.                  N/A          EA                      1     4,175.00    100.0%    4,175.00
                                                                                                 Horizontal Water
                                                                                                 Skimmer with Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 101      42" X 15' X 1440# W.P.                 N/A          EA                      1     3,895.00    100.0%    3,895.00
                                                                                                 Horizontal 3‐Phase
                                                                                                 Separator "No Skid"
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 102      42" X 12' 6" X 125# W.P.               N/A          EA                      1     3,215.00    100.0%    3,215.00
                                                                                                 Horizontal Skimmer with
                                                                                                 Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 103      20" X 7' 6" X 275 W.P.                 N/A          EA                      1     1,210.00    100.0%    1,210.00
                                                                                                 Vertical Separator with
                                                                                                 Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 104      30" X 10' X 1480 W.P.                  N/A          EA                      1     2,150.00    100.0%    2,150.00
                                                                                                 Horizontal Separator with
                                                                                                 Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 105      One Dual Meter Run Skid                N/A          EA                      1     1,385.00    100.0%    1,385.00
                                                                                                 with Pig Traps
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 106      30" X 6' X 150# W.P.                   N/A          EA                      1     1,665.00    100.0%    1,665.00
                                                                                                 Vertical Scrubber Vessel
                                                                                                 with Skid
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                 Lot No. KK      30" X 4' X 250 WP Vertical       From Offshore      EA                      1     1,570.00    100.0%    1,570.00
                                                                                                 Scrubber Vessel w/Skid              Specialty
                                                                                                                                  Fabricators in
                                                                                                                                      Houma
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. CCC      Line Heater/Reboiler             Eugene Island      EA                      1    12,275.00    100.0%   12,275.00
                                                                                                 Package 8' W X 22' 6"L X         Block# 212 "A"
                                                                                                 10' 1" T
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. DDD      3‐Vapor Recovery Stands          Eugene Island      EA                      1       235.00    100.0%     235.00
                                                                                                                                  Block# 212 "A"
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. EEE      1‐Heater Stack, 1‐Still          Eugene Island      EA                      1       355.00    100.0%     355.00
                                                                                                 Column, and Misc Pipe            Block# 212 "A"
                                                                                                 and Hardware for Line
                                                                                                 Heater/Reboiler
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 107      1‐Pallet of Used Spool          West Cameron        EA                      1       295.00    100.0%     295.00
                                                                                                 Piping                           Block# 165 "A"
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 109      1‐Filter Separator with        High Island Block#   EA                      1     1,155.00    100.0%    1,155.00
                                                                                                 Skid (5' X 12' X 8' Tall) Est.       A376 B
                                                                                                 10,000#
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                Lot No. 110      1‐Float Cell with Skid (7' X High Island Block#     EA                      1     1,490.00    100.0%    1,490.00
                                                                                                 12' X 9' Tall) Est. 10,000#          A376 B
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       Facility              Facility Owner         Item Number        Serial No.           Location             Item Description         Project Name      UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 111      Two (2) Plate Heat         High Island Block#    EA                     1       475.00    100.0%    475.00
                                                                                                            Exchanger Skids                A595 "CF"
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 112      1‐Piggy‐Back Water         Main Pass Block#     EA                      1     5,025.00    100.0%    5,025.00
                                                                                                            Skimmer & Float Cell             140-A
                                                                                                            Package (Newly
                                                                                                            Fabricated)
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 113      1‐Verticle Water Skimmer Vermilion Block# 60-   EA                      1     3,375.00    100.0%    3,375.00
                                                                                                            Vessel with Skid (60" X             A
                                                                                                            12" X 15,000#) (MBM‐
                                                                                                            1800)
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 114      1‐Verticle Floatation Unit  West Cameron        EA                      1       655.00    100.0%     655.00
                                                                                                            (4M Spinsep) with Skid        Block# 68-A
                                                                                                            (ABM‐1908) (10,150#)
                                                                                                            (Monosep Corporation‐
                                                                                                            Serial# MCO‐2076)

Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 115      1‐Verticle Test Separator   West Cameron        EA                      1       865.00    100.0%     865.00
                                                                                                            with Skid (MBD‐4501) (36     Block# 68-A
                                                                                                            X 10 Foot X 17,000#)
                                                                                                            (2,000 WP @ 100 deg,
                                                                                                            MFG 1982)

Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 116      1‐Horizontal 3‐Phase H.P.   West Cameron        EA                      1     1,435.00    100.0%    1,435.00
                                                                                                            Production Separator         Block# 68-A
                                                                                                            with Skid (MBD‐4502)
                                                                                                            (60" X 15') (1440 @ 100
                                                                                                            Deg‐Yr Built 1982)

Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 117      1‐Vertical Vent Scrubber    West Cameron        EA                      1     1,775.00    100.0%    1,775.00
                                                                                                            Package with Skid (MBF‐      Block# 68-A
                                                                                                            2401) (30" X 10' X
                                                                                                            22,000#)
Acadian ‐ Lafayette     Acadian Contractors, Inc.                                          Lot No. 118      1‐Horizontal 2‐Phase Vent   East cameron        EA                      1     3,545.00    100.0%    3,545.00
                                                                                                            Scrubber Vessel W/Skid      Block# 320-A
                                                                                                            (48" X 10' X 150# @ 100
                                                                                                            Deg) Built 1987

Viking ‐ Henderson       Viking Fabricators, LLC                                                            Handrails                                       EA                    179       315.00    100.0%     315.00
Viking ‐ Youngsville     Viking Fabricators, LLC                                                            10 FT. LONG LADDER                              EA                      1       763.87    100.0%     763.87
                                                                                                            CAGES
Viking ‐ Youngsville     Viking Fabricators, LLC                                                            12'‐6" LONG LADDER                              EA                     84     1,291.85    100.0%    1,291.85
                                                                                                            CAGES
Viking ‐ Youngsville     Viking Fabricators, LLC                                                            10 FT. LONG LADDERS                             EA                     81       622.75    100.0%      622.75
Viking ‐ Youngsville     Viking Fabricators, LLC                                                            20 FT. LONG LADDERS                             EA                    107     1,236.43    100.0%    1,236.43
Linear ‐ Lafayette           Linear Controls         2124118‐01       11233630‐1         ATS ‐ OUTDOOR      ASSY, TREE CAP, BP                              EA       7,155          1     5,545.13    100.0%    5,545.13
                                                                                                            TROIKA
Linear ‐ Lafayette          Linear Controls          2124617‐01       2659561170         ATS ‐ OUTDOOR      ASSY, RIG TEST SKID,                            EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                            SUBSEA TREE,
Linear ‐ Lafayette          Linear Controls          2124117‐07      400257303‐01        ATS ‐ OUTDOOR      CONV. ASSY, SUBSEA                              EA     80,000           1    62,000.00    100.0%   62,000.00
                                                                                                            TREE, 4" X 2"‐10M,
Linear ‐ Lafayette          Linear Controls          2273013‐01     110598733‐1(RR1)     ATS ‐ OUTDOOR      ASSEMBLY, 5" X 2"‐10M                           EA     66,000           1    51,150.00    100.0%   51,150.00
                                                                                                            SPOOLTREE.
Linear ‐ Lafayette          Linear Controls          2124123‐01       96101817050        ATS ‐ OUTDOOR      ASSY, TREE CAP SHIPPING                         EA       1,850          1     1,433.75    100.0%    1,433.75
                                                                                                            SKID
Linear ‐ Lafayette          Linear Controls          2124145‐01       45256012‐5         ATS ‐ OUTDOOR      ASSY, HUB, 4" WELL                              EA       1,400          1     1,085.00    100.0%    1,085.00
                                                                                                            TERMINATION,
Linear ‐ Lafayette          Linear Controls          2141833‐01       11227730‐01        ATS ‐ OUTDOOR      ASSY, TREE                                      EA       5,800          1     4,495.00    100.0%    4,495.00
                                                                                                            TRANSPORTATION SKID,
                                                                                                            BP
Linear ‐ Lafayette          Linear Controls          2124836‐01       11171617‐1         ATS ‐ OUTDOOR      TEST STUMP BODY, TREE                           EA       6,200          1     4,805.00    100.0%    4,805.00
                                                                                                            FAT SKID,
Linear ‐ Lafayette          Linear Controls          2124641‐01       11384318‐1         ATS ‐ OUTDOOR      ASSY, COMPLETION                                EA     20,500           1    15,887.50    100.0%   15,887.50
                                                                                                            GUIDE BASE, STM‐15
Linear ‐ Lafayette          Linear Controls          2098861‐02       11197244‐1         ATS ‐ OUTDOOR      ASSY, MCPAC                                     EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                            CONNECTION TOOL,
                                                                                                            SHELL
Linear ‐ Lafayette          Linear Controls          2098861‐02       11199037‐1         ATS ‐ OUTDOOR      ASSY, MCPAC                                     EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                            CONNECTION TOOL,
                                                                                                            SHELL
Linear ‐ Lafayette          Linear Controls          2124119‐01        964534560         ATS ‐ OUTDOOR      ASSY, TREE RUNNING                              EA     11,000           1     8,525.00    100.0%    8,525.00
                                                                                                            TOOL
Linear ‐ Lafayette          Linear Controls          2124129‐01        265340930       TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA       1,500          1     1,162.50    100.0%    1,162.50
                                                                                                            RUNNING TOOL
Linear ‐ Lafayette          Linear Controls          2124128‐01       11286013‐17      TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER,                            EA       1,000          1       775.00    100.0%     775.00
                                                                                                            STM‐15,
Linear ‐ Lafayette          Linear Controls          2124135‐01       2659561200       TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA        300           1       232.50    100.0%     232.50
                                                                                                            HANDLING / TEST
Linear ‐ Lafayette          Linear Controls          2124135‐01       2659561190       TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA        300           1       232.50    100.0%     232.50
                                                                                                            HANDLING / TEST
Linear ‐ Lafayette          Linear Controls          2018904‐01     265956120(RR2)     TOOLSKID ‐ OUTDOOR   ASSY, LEAD IMPRESSION                           EA        900           1       697.50    100.0%     697.50
                                                                                                            TOOL
Linear ‐ Lafayette          Linear Controls          2124129‐01        266013010       TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER                             EA       1,500          1     1,162.50    100.0%    1,162.50
                                                                                                            RUNNING TOOL
Linear ‐ Lafayette          Linear Controls          2124139‐01       11186901‐01      TOOLSKID ‐ OUTDOOR   ASSY, DUMMY TBG HGR,                            EA       1,000          1       775.00    100.0%     775.00
                                                                                                            STM‐15, 4.06"
Linear ‐ Lafayette          Linear Controls          2055294‐12      110357224‐01       CPB 077 ‐ INDOOR    ASSEMBLY, TUBING                                EA       2,500          1     1,937.50    100.0%    1,937.50
                                                                                                            HANGER, 5 IN NOM.
Linear ‐ Lafayette          Linear Controls          2748033‐01     45353783‐01‐01      CPB 077 ‐ INDOOR    WIRELINE PLUG, 5.25"                            EA          50          1        38.75    100.0%      38.75
                                                                                                            DIA, METAL AND
Linear ‐ Lafayette          Linear Controls          2749898‐01     4500436775‐2‐1      CPB 077 ‐ INDOOR    5.250" WIRELINE PLUG                            EA          50          1        38.75    100.0%      38.75
                                                                                                            'HH' TRIM WITH
Linear ‐ Lafayette          Linear Controls         2055296‐02‐01     110407008‐1       CPB 078 ‐ INDOOR    ASSEMBLY, INTERNAL                              EA       1,500          1     1,162.50    100.0%    1,162.50
                                                                                                            TREE CAP, 10K WP
Linear ‐ Lafayette          Linear Controls           60007268        96953428110      SF‐YARD ‐ OUTDOOR    TROIKA TOOL SHED                                EA                      1    15,000.00    100.0%   15,000.00
Linear ‐ Lafayette          Linear Controls          2124147‐04        111802674        TRI 168 ‐ INDOOR    ASSY, CLAMP, W/ SEAL                            EA       2,000          1     1,550.00    100.0%    1,550.00
                                                                                                            PLATE, 10"
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170112‐05       TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                            MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170112‐06       TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                            MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170113‐05       TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                            MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11363037‐01       TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                            MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124581‐01       11170113‐04       TRI 170 ‐ INDOOR    SEAL PLATE, 4" WELL &                           EA        200           1       155.00    100.0%     155.00
                                                                                                            MANIFOLD
Linear ‐ Lafayette          Linear Controls          2124159‐01       45284821‐04       TRI 171 ‐ INDOOR    BODY, HUB, 10"                                  EA        250           1       193.75    100.0%     193.75
                                                                                                            FLOWLINE TEST STAND
Linear ‐ Lafayette          Linear Controls          2124159‐01       45284821‐01       TRI 171 ‐ INDOOR    BODY, HUB, 10"                                  EA        250           1       193.75    100.0%     193.75
                                                                                                            FLOWLINE TEST STAND
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         Facility       Facility Owner    Item Number          Serial No.           Location           Item Description     Project Name   UOM   Wt. (lbs) On Hand Qty Total Value   WI%    Net Value
Linear ‐ Lafayette      Linear Controls     041700‐47       4503010723‐1‐1     TRI 171 ‐ INDOOR    GASKET, AX ‐ 18‐3/4"                     EA        110          1         85.25   100.0%     85.25
                                                                                                   10/15M 316 SS
Linear ‐ Lafayette      Linear Controls    2124147‐01        96111219520       TRI 172 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                   PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls    2124147‐01        96111219570       TRI 172 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                   PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls    2141279‐01      4502534448‐01‐01    TRI 172 ‐ INDOOR    CLAMP, 10" FLOWLINE/                    EA       1,500          1     1,162.50    100.0%   1,162.50
                                                                                                   PIGGING LOOP/

Linear ‐ Lafayette      Linear Controls   2124581‐06‐02    4504055507‐02‐01    TRI 174 ‐ INDOOR    CONVERSION BLANKING                     EA        180           1       139.50    100.0%    139.50
                                                                                                   SEAL PLATE, 4" WELL

Linear ‐ Lafayette      Linear Controls   2124581‐06‐02    4504055507‐01‐01    TRI 174 ‐ INDOOR    CONVERSION BLANKING                     EA        180           1       139.50    100.0%    139.50
                                                                                                   SEAL PLATE, 4" WELL

Linear ‐ Lafayette      Linear Controls   2124581‐06‐02    4504055507‐03‐01    TRI 174 ‐ INDOOR    CONVERSION BLANKING                     EA        180           1       139.50    100.0%    139.50
                                                                                                   SEAL PLATE, 4" WELL

Linear ‐ Lafayette      Linear Controls    2142930‐01       4501742451‐1‐2     TRI 174 ‐ INDOOR    ACCESS STAND, G2                        EA        200           1       155.00    100.0%    155.00
                                                                                                   TUBING HANGER
                                                                                                   RUNNING
Linear ‐ Lafayette      Linear Controls    2124581‐01        11170113‐01       TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                   MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124581‐01        11410124‐01       TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                   MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124581‐01        11170112‐02       TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                   MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐02    TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                   OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐03    TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                   OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐04    TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                   OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐07      4503345734‐01‐01    TRI 174 ‐ INDOOR    SEAL PLATE, COATING ON                  EA        150           1       116.25    100.0%    116.25
                                                                                                   OD ONLY
Linear ‐ Lafayette      Linear Controls    2124581‐03      4502533058‐01‐01    TRI 174 ‐ INDOOR    SEAL PLATE, 10"                         EA        150           1       116.25    100.0%    116.25
                                                                                                   FLOWLINE JUMPER
Linear ‐ Lafayette      Linear Controls    2124581‐01        11251434‐01       TRI 174 ‐ INDOOR    SEAL PLATE, 4" WELL &                   EA        150           1       116.25    100.0%    116.25
                                                                                                   MANIFOLD
Linear ‐ Lafayette      Linear Controls    2124586‐01        450605865‐1       TRI 175 ‐ INDOOR    END PLATE, MANDREL                      EA        500           1       387.50    100.0%    387.50
                                                                                                   RETAINER,
Linear ‐ Lafayette      Linear Controls    2124584‐01       450605849‐1‐1      TRI 175 ‐ INDOOR    MANDREL, RETAINER                       EA        400           1       310.00    100.0%    310.00
                                                                                                   SLEEVE,
Linear ‐ Lafayette      Linear Controls    2124535‐01     NS201604020729021    TRI 175 ‐ INDOOR    ANNULUS LOOP, 2.875                     EA        300           4       232.50    100.0%    232.50
                                                                                                   O.D. X 2.125
Linear ‐ Lafayette      Linear Controls    2124624‐01        450604006‐1       TRI 175 ‐ INDOOR    BODY, 4" PRODUCTION                     EA        150           1       116.25    100.0%    116.25
                                                                                                   STAB,
Linear ‐ Lafayette      Linear Controls    2124585‐01        450605858‐1       TRI 175 ‐ INDOOR    RETAINER PLATE, MASTER                  EA        150           1       116.25    100.0%    116.25
                                                                                                   VALVE BLOCK
Linear ‐ Lafayette      Linear Controls    2156742‐01        11328834‐01       TRI 175 ‐ INDOOR    SUB‐ASSY, BOP SPANNER                   EA        200           1       155.00    100.0%    155.00
                                                                                                   JOINT, 7.625"

Linear ‐ Lafayette      Linear Controls    2156773‐02        11322641‐01       TRI 175 ‐ INDOOR    UPPER ADAPTER, BOP                      EA        200           1       155.00    100.0%    155.00
                                                                                                   SPANNER JOINT,
Linear ‐ Lafayette      Linear Controls    2124147‐01         400297648        TRI 176 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                   PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls    2124147‐01        11213146‐1        TRI 176 ‐ INDOOR    ASSY, CLAMP, W/SEAL                     EA       2,000          1     1,550.00    100.0%   1,550.00
                                                                                                   PLATE, 4" WELL
Linear ‐ Lafayette      Linear Controls   041700‐09‐01        400133273        TRI 178 ‐ INDOOR    AX GASKET, 11"‐                         EA          30          1        23.25    100.0%     23.25
                                                                                                   5M/10M#, ST/STL WITH

Linear ‐ Lafayette      Linear Controls   041700‐09‐01        400133274        TRI 178 ‐ INDOOR    AX GASKET, 11"‐                         EA          30          1        23.25    100.0%     23.25
                                                                                                   5M/10M#, ST/STL WITH

Linear ‐ Lafayette      Linear Controls    2098477‐01         175670‐1         TRI 178 ‐ INDOOR    AX‐VX GASKET                            EA        110           1        85.25    100.0%     85.25
Linear ‐ Lafayette      Linear Controls    2098477‐01         175670‐2         TRI 178 ‐ INDOOR    AX‐VX GASKET                            EA        110           1        85.25    100.0%     85.25
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐8        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA         20           1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐6        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐3        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐11       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐3        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐2        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐1        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45438628‐1        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐4        TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls     501040‐1        961276244180       TRI 178 ‐ INDOOR    6" Gasket Sealing Ring                  EA          20          1        15.50    100.0%     15.50
Linear ‐ Lafayette      Linear Controls    2124579‐04        45424496‐2        TRI 178 ‐ INDOOR    GASKET W/ O‐RING, 10"‐                  EA          20          1        15.50    100.0%     15.50
                                                                                                   15M SEAL
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434247‐01       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐01       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐06       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45434274‐02       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐04       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45424796‐03       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124579‐02        45445642‐04       TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL                   EA          20          1        15.50    100.0%     15.50
                                                                                                   PLATE, MCPAC
Linear ‐ Lafayette      Linear Controls    2124134‐01        2659561110        TRI 180 ‐ INDOOR    ASSY, TUBING HANGER                     EA        600           1       465.00    100.0%    465.00
                                                                                                   ADJUSTMENT STAN
Linear ‐ Lafayette      Linear Controls    2099720‐02          26‐1567        TRI FLOOR ‐ INDOOR   ASSY, TREE CAP RUNNING                  EA       5,000          1     3,875.00    100.0%   3,875.00
                                                                                                   TOOL, BP
Linear ‐ Lafayette      Linear Controls     60031311        9523237807360     TRI SHED ‐ INDOOR    Troika Dummy Control                    EA       3,000          1     2,325.00    100.0%   2,325.00
                                                                                                   Pod
Linear ‐ Lafayette      Linear Controls     60031470        9523237807390     TRI SHED ‐ INDOOR    SHELL DUMMY CONTROL                     EA       1,000          1       775.00    100.0%    775.00
                                                                                                   POD SHIPPING SKID
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         Facility         Facility Owner        Item Number      Serial No.            Location             Item Description      Project Name   UOM   Wt. (lbs) On Hand Qty Total Value    WI%    Net Value
Linear ‐ Lafayette        Linear Controls        2123000‐01     9624280360       TRI‐SHELL ‐ OUTDOOR   HANDLING TOOL ASSY,                        EA        150          1       116.25     100.0%    116.25
                                                                                                       TREE CAP & TREE
Linear ‐ Lafayette        Linear Controls       2123000‐01      2657807220       TRI‐SHELL ‐ OUTDOOR   HANDLING TOOL ASSY,                       EA        150              1     116.25    100.0%     116.25
                                                                                                       TREE CAP & TREE
Linear ‐ Lafayette        Linear Controls       2123738‐01      9624280370       TRI‐SHELL ‐ OUTDOOR   LIFT SUB, 1.50" NOM                       EA          50             1      38.75    100.0%      38.75
                                                                                                       SHACKLE X
Linear ‐ Lafayette        Linear Controls       2099099‐03      11196376‐1       TRI‐SHELL ‐ OUTDOOR   ASSY, TEST HUB, 10"                       EA        350              1     271.25    100.0%     271.25
                                                                                                       FLOWLINE /
Linear ‐ Lafayette        Linear Controls       2099099‐03      11210778‐1       TRI‐SHELL ‐ OUTDOOR   ASSY, TEST HUB, 10"                       EA        350              1     271.25    100.0%     271.25
                                                                                                       FLOWLINE /
Linear ‐ Lafayette        Linear Controls       2035504‐02     961276650350      TRI‐SHELL ‐ OUTDOOR   ASSY, DEBRIS CAP, 18‐                     EA        100              1      77.50    100.0%      77.50
                                                                                                       3/8" OD MCPAC
Linear ‐ Lafayette        Linear Controls       2035519‐01      1276650650       TRI‐SHELL ‐ OUTDOOR   ASSY, ROV RETRIEVABLE                     EA          50             1      38.75    100.0%      38.75
                                                                                                       DEBRIS/TEST

Linear ‐ Lafayette        Linear Controls       2035519‐01      1276650660       TRI‐SHELL ‐ OUTDOOR   ASSY, ROV RETRIEVABLE                     EA          50             1      38.75    100.0%      38.75
                                                                                                       DEBRIS/TEST

Linear ‐ Lafayette        Linear Controls       2156132‐01    9523237807220      TRI‐SHELL ‐ OUTDOOR   ASSY, COMBINATION                         EA        500              1     387.50    100.0%     387.50
                                                                                                       (TREE/TREE CAP)
Linear ‐ Lafayette        Linear Controls       2156145‐01     11324065‐01       TRI‐SHELL ‐ OUTDOOR   ASSY, 3‐1/16‐15M                          EA       8,500             1    6,587.50   100.0%    6,587.50
                                                                                                       MONOBORE TUBING
Linear ‐ Lafayette        Linear Controls       2124137‐01    9523237807330      TRI‐SHELL ‐ OUTDOOR   ASSY, TOOL STORAGE &                      EA       2,000             1    1,550.00   100.0%    1,550.00
                                                                                                       SHIPPING SKID
Linear ‐ Lafayette        Linear Controls       2124137‐01    9523237807340      TRI‐SHELL ‐ OUTDOOR   ASSY, TOOL STORAGE &                      EA       2,000             1    1,550.00   100.0%    1,550.00
                                                                                                       SHIPPING SKID
Linear ‐ Lafayette        Linear Controls       2124118‐01      11278658‐1       TRI‐SHELL ‐ OUTDOOR   ASSY, TREE CAP, BP                        EA       8,000             1    6,200.00   100.0%    6,200.00
                                                                                                       TROIKA
Linear ‐ Lafayette        Linear Controls                     Serial.# WPI317                          Waukesha Engine L7042                     EA                         1   82,625.00   100.0%   82,625.00
                                                                                                       GSI
Linear ‐ Lafayette        Linear Controls                      Serial.# 48799                          Waukesha Engine L3711                     EA                         1   51,250.00   100.0%   51,250.00

Linear ‐ Lafayette        Linear Controls                     Serial.# 1029776                         Waukesha Engine F1905                     EA                         1   43,765.00   100.0%   43,765.00

Linear ‐ Lafayette        Linear Controls                     Serial.# 218794                          Waukesha Engine F1905                     EA                         1   43,765.00   100.0%   43,765.00

Linear ‐ Lafayette        Linear Controls                      Serial.#396632                          Waukesha Engine F1197                     EA                         1   24,315.00   100.0%   24,315.00

Linear ‐ Lafayette        Linear Controls                     Serial.# 362530                          Waukesha Engine F1197                     EA                         1   24,315.00   100.0%   24,315.00

Whitco ‐ Broussard        Whitco Supply           357501                                               1" x 3' x 20' Galvanized                  EA                    106        395.00    100.0%     395.00
                                                                                                       Grating
Whitco ‐ Broussard        Whitco Supply           333963                                               1‐1/2" x 3' x 20'                         EA                    ‐          598.00    100.0%     598.00
                                                                                                       Galvanized Grating
Express ‐ Fourchon     Express Supply & Steel                                                          1" x 3‐1/16" x 36" x 20'                  EA                        10     400.65    100.0%     400.65
                                                                                                       Serrated Galvanized
                                                                                                       Domestic Grating
Express ‐ Fourchon     Express Supply & Steel                                                          1‐1/2" x 3‐1/16" x 36" x                  EA                        35     555.67    100.0%     555.67
                                                                                                       20' Serrated Galvanized
                                                                                                       Domestic Grating
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Cash and other balances to be determined at effective date

Surety Bonds in favor of FWE I:
    DATE   BOND NO.               Amount           Lease                                               PARTIES                                                         SURETY                            BENEFICIARY
   3/6/19 B011964               $300,000        OCS‐G 01194                             Fieldwood Energy LLC; Byron Energy Inc.                          U.S. Specialty Insurance Company           Fieldwood Energy LLC
   3/6/19 B011963               $450,000        OCS‐G 01194                         Fieldwood Energy LLC; Byron Energy Inc.;BOEM                         U.S. Specialty Insurance Company       Fieldwood Energy LLC; BOEM
 11/29/18 N‐7001005           $2,366,855     OCS‐0810; OCS‐0812    Northstar Oﬀshore Ventures LLC; SanareEnergy Partners, LLC; Fieldwood Energy LLC   Indemnity National Insurance Company          Fieldwood Energy LLC
   3/9/18 N‐7000930           $2,640,126        OCS‐G11691                        Monforte Explora on L.L.C.; FieldwoodEnergy LLC                     Indemnity National Insurance Company          Fieldwood Energy LLC
  2/13/18 1149835               $250,000        OCS‐G03587                                  Northstar Offshore Ventures LLC                                  Lexon Insurance Company                Fieldwood Energy LLC
  2/13/18 1149836             $1,000,000        OCS‐G03171                                  Northstar Offshore Ventures LLC                                  Lexon Insurance Company                Fieldwood Energy LLC
  2/13/18 1149838             $2,500,000 OCS‐G01216;OCS‐G01217                              Northstar Offshore Ventures LLC                                  Lexon Insurance Company                Fieldwood Energy LLC
   5/1/16 RLB0016261          $1,514,600 2 A; ROW G12732;ROW G13              Whitney Oil & Gas, LLC; Apache Corporation; GOM Shelf LLC                        RLI Insurance Company         Apache Corporation; GOM Shelf LLC
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                                                     Exhibit I-I

Subsidiaries:
GOM Shelf LLC
FW GOM Pipeline Inc.

Equity Interests:
Paloma Pipeline Company - 9.65%
SP 49 LLC - 33.33% (owned by FW GOM Pipeline Inc.)
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                                                                                                                                      Exhibit I-J



Exhibit I‐J
              Field                                                     Block              Lease            Type       Rights           Date Le Eff        Date Le Exp   Le Cur Acres (Ac)       Operator        WI      Lease Status
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 287             G24987           Federal       RT              5/1/2003                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 287             G24987           Federal      OP 1             5/1/2003                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 287             G24987           Federal      OP 2             5/1/2003                              5000            Fieldwood En      50.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 308             G21685           Federal       RT              6/1/2000                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 308             G21685           Federal      OP 1             6/1/2000                              5000            Fieldwood En     100.0%      PROD
              SOUTH TIMBALIER 308 / EWING BANK 873                     ST 308             G21685           Federal      OP 2             6/1/2000                              5000            Fieldwood En      50.0%      PROD
              VERMILION 362/371                                        VR 362             G10687           Federal       RT              6/1/1989                             5,000          Fieldwood En Off   100.0%      UNIT
              VERMILION 362/371                                        VR 362             G10687           Federal       OP              6/1/1989                             5,000          Fieldwood En Off    16.7%      UNIT
              VERMILION 362/371                                        VR 363             G09522           Federal       RT              5/1/1988                             5,000            Fieldwood En     100.0%     ACTIVE
              VERMILION 362/371                                        VR 363             G09522           Federal      OP 1             5/1/1988                             5,000            Fieldwood En     100.0%     ACTIVE
              VERMILION 362/371                                        VR 363             G09522           Federal      OP 2             5/1/1988                             5,000          Fieldwood En Off    33.3%     ACTIVE
              VERMILION 362/371                                        VR 363             G09522           Federal      OP 3             5/1/1988                             5,000            Fieldwood En      50.0%     ACTIVE
              VERMILION 362/371                                        VR 371             G09524           Federal       RT              7/1/1988                             5,000          Fieldwood En Off   100.0%     ACTIVE
              VERMILION 362/371                                        VR 371             G09524           Federal       OP              7/1/1988                             5,000          Fieldwood En Off    16.7%     ACTIVE
              VERMILION 78                                             VR 78              G04421           Federal       RT             11/1/1980                             5,000            Fieldwood En      37.5%     ACTIVE
              VERMILION 78                                             VR 78              G04421           Federal       OP             11/1/1980                             5,000            Fieldwood En      18.8%     ACTIVE

              Right of Way bearing Serial No. OCS‐G29427 for Pipeline Segment No. 20278 pertaining to South Timbalier 308
              Right of Way bearing Serial No. OCS‐G15047 for Pipeline Segment No. 10675 pertaining to Vermilion 371
              All other right, title and interest of FWE in any assets to the extent such assets relate to any of the foregoing leases or rights of way.
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Exhibit I‐K(i)
                 Field                             Block    Lease     Type     Rights   Date Le Eff   Date Le ExpLe Cur Acre Operator     WI      Lease Status
                 EAST CAMERON 2 ‐ (SL LA)          EC 2    SL18121   SL ‐ LA     WI     5/12/2004     11/6/2020      220     Fieldwood   50.0%      RELINQ
                 CHANDELEUR 42/43                 CA 43    G32268    Federal    OP 1     7/1/2008                   5,000 ieldwood E      7.69%      PROD      Knight Default
                 CHANDELEUR 42/43                 CA 42    G32267    Federal    OP 1     7/1/2008     6/21/2019     5,000 ieldwood E      7.69%     RELINQ     Knight Default
                 WEST CAMERON 295                 WC 295   G24730    Federal    OP 1     5/1/2003                   5,000 ieldwood E      6.00%      PROD      Tammany Default
                 SHIP SHOAL 246/247/248/270/271   SS 249   G01030    Federal    OP 1     6/1/1962                   5,000 ldwood En      0.042%      UNIT      Hillcrest GOM Default in Unit
                 SHIP SHOAL 246/247/248/270/271   SS 248   G01029    Federal    RT B     6/1/1962                   5,000 ldwood En       0.04%      UNIT      Hillcrest GOM Default in Unit
                 SOUTH TIMBALIER 205/206          ST 205   G05612    Federal    ORRI     7/1/1983                   5,000 ieldwood E       2.0%      PROD
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Exhibit I‐K(ii)
                  Asset Name                       FWE Acct. Code   Lease Number      API        WI       NRI
                  CHANDELEUR 042 #A002             CA042A0200          G32267    177294001500      7.7%     5.4%
                  CHANDELEUR 043 #A001             CA043A0100          G32268    177294001400      7.7%     5.4%
                  CHANDELEUR 043 #A003             CA043A0300          G32268    177294001600      7.7%     5.4%
                  EAST CAMERON 002 #001 SL 18121   SL18121010           18121    177032013600    50.0%     37.3%
                  EUGENE IS 330 #B003 ST1          EI330B0301          G02115    177104008001    35.0%     29.1%
                  MAIN PASS 259 #A007              MP259A0700          G07827    177244071800    43.1%     29.7%
                  MAIN PASS 303 #B015              MP303B1500          G04253    177244024800    42.9%     35.7%
                  MATAGORDA IS 519 #L001           MI519L1SL0         MF-79413   427033030000    15.8%     12.2%
                  MATAGORDA IS 519 #L002           MI519L2SL0         MF-79413   427033034000    15.8%     12.2%
                  MATAGORDA IS 519 #L003           MI519L3SL0         MF-79413   427033039500    15.8%     12.2%
                  MATAGORDA IS 519 #L004           MI519L4SL0         MF-79413   427033039700    15.8%     12.2%
                  SHIP SHOAL 249 #D017             SS249D1700          G01030    177124020800   0.042%        TA
                  SOUTH TIMBALIER 205 #B002A ST1   ST205B02A1          G05612    177154062901    25.0%     20.8%
                  SOUTH TIMBALIER 205 #B004 ST1    ST205B0401          G05612    177154081601    25.0%     20.8%
                  SOUTH TIMBALIER 206 #A002 ST1    ST206A0201          G05613    177154060101    25.0%        TA
                  SOUTH TIMBALIER 206 #A003        ST206A0300          G05613    177154061000    25.0%        TA
                  SOUTH TIMBALIER 206 #A004A       ST206A04A0          G05613    177154074300    25.0%        TA
                  SOUTH TIMBALIER 206 #A006        ST206A0600          G05613    177154075100    25.0%        TA
                  SOUTH TIMBALIER 206 #A007        ST206A0700          G05613    177154075200    25.0%        TA
                  SOUTH TIMBALIER 206 #A008        ST206A0800          G05613    177154075300    25.0%        TA
                  SOUTH TIMBALIER 206 #A009        ST206A0900          G05613    177154075400    25.0%        TA
                  SOUTH TIMBALIER 206 #A010ST2BP   ST206A1002          G05613    177154075702    25.0%        TA
                  SOUTH TIMBALIER 206 #B003 ST1    ST206B0301          G05613    177154074001    25.0%     20.8%
                  SOUTH TIMBALIER 206 #B006        ST206B0600          G05613    177154103000    25.0%     20.8%
                  WEST CAMERON 295 #A002           WC295A0201          G24730    177014039001      6.0%     4.9%
                  SOUTH TIMBALIER 205 #G001 ST1    ST205G0101          G05612    177154106701     0.0%      2.0%
                  SOUTH TIMBALIER 205 #G003 ST1    ST205G0301          G05612    177154115301     0.0%      2.0%
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Exhibit I‐K(iii)
                   Asset Name                                                     FWE Acct. Code ease NumbeArea/Block    WI
                   CHANDELEUR 043 P/F‐A                                           CA43APLT         G32268    CA043       7.69%
                   HIGH ISLAND 120 P/F‐A‐PROCESS                                  HI120APROC       G01848    HI120       6.00%
                   WEST CAMERON 295 P/F‐A                                         WC295ACAS        G24730    WC295       6.00%
                   SHIP SHOAL 248 P/F‐G                                           SS248PFG         G01029    SS248       0.04%
                   SOUTH TIMBALIER 206 P/F‐A                                      ST206APLT        G05612    ST206      25.00%
                   SOUTH TIMBALIER 205 P/F‐B                                      ST205BPLT        G05612    ST205      25.00%
                   MATAGORDA IS 487 P/F‐L(SL)                                     MI487LSL        MF‐88562 MI487        15.80%
                   MATAGORDA IS 519 P/F‐L ‐ SL                                    MI519LSL        MF‐88562 MI519        15.80%
                   Venice Dehydration Facility (South Pass Dehydration Station)   VENICEDHYD                            64.80%
                   Tivoli Plant                                                   TIVOLIPL                              43.86%
                   MI 519 Bay City Compressor Station                             MI519BAY                              18.10%
                   Vermilion 76 Onshore Scrubber                                  VR76SCRUB                              6.08%
                   Grand Chenier Separation Facility                              GRCHENPF                              72.08%
                   EAST CAMERON 002 P/F‐1 SL18121                                 SL181211PT        18121    EC002      50.00%
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                                              Exhibit II-A




Exhibit II‐A
               Field                                Block     Lease    Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator            WI Lease Status
               BRETON SOUND 41                      BS 41    G21142   Federal      OP 2        5/1/1999     1/26/2014          4,995          Fieldwood En Off    10.0%    TERMIN
               BRETON SOUND 41                      BS 41    G21142   Federal   Contractual    5/1/1999     1/26/2014          4,995          Fieldwood En Off    25.0%    TERMIN
               EAST CAMERON 257                    EC 257    G21580   Federal      OP 1        7/1/2000      2/2/2018          5,000          Fieldwood En Off   100.0%    TERMIN
               GALVESTON 241                      GA 241     G01772   Federal      OP 1        7/1/1968      8/2/2014          1,440          Fieldwood En Off   100.0%    TERMIN
               GALVESTON 241                      GA 241     G01773   Federal       RT         7/1/1968      8/2/2014          1,440          Fieldwood En Off   100.0%    TERMIN
               GALVESTON 241                      GA 255     G01777   Federal       RT         7/1/1968      4/3/1998          5,760          Fieldwood En Off   100.0%    TERMIN
               GRAND ISLE 83                        GI 83    G03793   Federal       RT         6/1/1978     11/26/2019         5,000          Fieldwood En Off   100.0%    TERMIN
               HIGH IS. A‐446                     HI A‐446   G02359   Federal       RT         8/1/1973     4/12/2016          5,760            Bandon O&G       100.0%    TERMIN
               HIGH ISLAND A‐446                  HI A‐447   G02360   Federal       RT         8/1/1973      9/4/2010          5,760            Bandon O&G       100.0%    TERMIN
               MAIN PASS 154                      MP 154     G10902   Federal       RT         7/1/1989     7/29/2000          4,995          Fieldwood En Off   100.0%    TERMIN
               MAIN PASS 29/112/114/116/118/125   MP 112     G09707   Federal       RT         6/1/1988     4/19/2017          4,995          Fieldwood En Off   100.0%    RELINQ
               SOUTH MARSH IS. 39                  SM 39     G16320   Federal       RT         7/1/1996                        5,000          Fieldwood En Off    50.0%     PROD
               SOUTH TIMBALIER 242                 ST 242    G23933   Federal       RT         6/1/2002      5/7/2019          5,000          Fieldwood En Off    60.0%    TERMIN
               VERMILION 315/332                   VR 314    G05438   Federal      OP 2        7/1/1983                        5,000          Fieldwood En Off    50.0%     PROD
               VERMILION 315/332                   VR 315    G04215   Federal      OP 1        1/1/1980      3/7/2012          5,000          Dynamic Off Res     50.0%    TERMIN
               VERMILION 315/332                   VR 332    G09514   Federal      OP 1        7/1/1988                        5,000            Fieldwood En      67.0%     PROD
               VERMILION 315/332                   VR 332    G09514   Federal       RT         7/1/1988                        5,000            Fieldwood En     100.0%     PROD
               VERMILION 315/332                   VR 333    G14417   Federal       RT         7/1/1994     11/29/1999         4,201          Fieldwood En Off    67.0%    TERMIN
               VIOSCA KNOLL 113                    VK 113    G16535   Federal       RT         6/1/1996     2/23/2020          5,760          Fieldwood En Off   100.0%    TERMIN
               VIOSCA KNOLL 251/340/384            VK 251    G10930   Federal      OP 1        7/1/1989                        5,760          Fieldwood En Off   100.0%     UNIT
               VIOSCA KNOLL 251/340/384            VK 340    G10933   Federal      OP 1        7/1/1989                        5,760          Fieldwood En Off   100.0%     UNIT
               WEST CAMERON 100                   WC 100     G22510   Federal       RT         7/1/2001     6/13/2018          5,000          Fieldwood En Off   100.0%    RELINQ
               WEST CAMERON 289/290/294           WC 290     G04818   Federal      OP 1        9/1/1981     7/21/2020          5,000          Fieldwood En Off    50.0%    TERMIN
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                                           Exhibit II-B

Exhibit II‐B
               Asset Name                     FWE Acct. Code   Lease Number        API
               EAST CAMERON 257 #001          EC25701             G21580      177044102500
               GALVESTON 241 #A005            GA241A05            G01772      427064001500
               GALVESTON 241 #A006            GA241A06            G01773      427064001700
               GALVESTON 241 #A010            GA241A10            G01773      427064001402
               GALVESTON 255 #A002            GA255A02            G01777      427063002300
               GALVESTON 255 #A003            GA255A03            G01777      427064000500
               GRAND ISLE 083 #A002           GI083A02            G03793      177174011002
               GRAND ISLE 083 #A003           GI083A03            G03793      177174030200
               GRAND ISLE 083 #B001           GI083B01            G03793      177174097400
               GRAND ISLE 083 #B002           GI083B02            G03793      177174098000
               GRAND ISLE 083 #B003           GI083B03            G03793      177174098100
               HIGH ISLAND A‐446 #A001        HIA446A01           G02359      427094055400
               HIGH ISLAND A‐446 #A002B       HIA446A02           G02360      427094055700
               HIGH ISLAND A‐446 #A004        HIA446A04           G02359      427094056300
               HIGH ISLAND A‐446 #A005        HIA446A05           G02359      427094057700
               HIGH ISLAND A‐446 #A006        HIA446A06           G02359      427094056700
               HIGH ISLAND A‐446 #A007        HIA446A07           G02359      427094056800
               HIGH ISLAND A‐446 #A008        HIA446A08           G02359      427094057400
               HIGH ISLAND A‐446 #A009        HIA446A09           G02359      427094060200
               HIGH ISLAND A‐446 #A010        HIA446A10           G02359      427094058300
               HIGH ISLAND A‐446 #A011        HIA446A11           G02359      427094058700
               HIGH ISLAND A‐446 #A012        HIA446A12           G02359      427094059400
               HIGH ISLAND A‐446 #A014        HIA446A14           G02359      427094060900
               HIGH ISLAND A‐446 #A015        HIA446A15           G02359      427094061300
               HIGH ISLAND A‐446 #A016        HIA446A16           G02359      427094062300
               MAIN PASS 154 #A001            MP154A01            G10902      177244060400
               MAIN PASS 154 #A002            MP154A02            G10902      177244069000
               SOUTH MARSH IS 039 #A001       SM039A01            G16320      177074077000
               SOUTH MARSH IS 039 #B001       SM039B01            G16320      177074074702
               SOUTH MARSH IS 039 #B002       SM039B02            G16320      177074076102
               SOUTH MARSH IS 039 #C001       SM039C01            G16320      177074077900
               SOUTH MARSH IS 039 #C002       SM039C02            G16320      177074078000
               SOUTH MARSH IS 039 #C003       SM039C03            G16320      177074078200
               SOUTH MARSH IS 039 #C004       SM039C04            G16320      177074810200
               SOUTH TIMBALIER 242 #A001      ST242A01            G23933      177164032800
               VERMILION 314 #A009            VR314A09            G05438      177064076900
               VERMILION 332 #A001            VR332A01            G09514      177064069400
               VERMILION 332 #A002            VR332A02            G09514      177064069900
               VERMILION 332 #A003            VR332A03            G09514      177064072300
               VERMILION 332 #A005            VR332A05            G09514      177064077802
               VERMILION 332 #A006            VR332A06            G09514      177064077901
               VERMILION 333 #A004            VR333A04            G14417      177064072600
               VIOSCA KNOLL 113 #A001         VK113A01            G16535      608164039101
               VIOSCA KNOLL 251 #A001         VK251A001           G10930      608164029800
               VIOSCA KNOLL 251 #A002         VK251A002           G10930      608164034501
               VIOSCA KNOLL 251 #A003         VK251A003           G10930      608164041500
               VIOSCA KNOLL 251 #A004         VK251A004           G10930      608164042101
               VIOSCA KNOLL 340 #A001         VK340A01            G10933      608164038800
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                               Exhibit II-B

      Asset Name                  FWE Acct. Code   Lease Number        API
      VIOSCA KNOLL 340 #A002      VK340A02            G10933      608164044400
      WEST CAMERON 100 #A001      WC100A01            G22510      177004112100
      WEST CAMERON 100 #A002      WC100A02            G22510      177004112602
      WEST CAMERON 100 #A003      WC100A03            G22510      177004117102
      WEST CAMERON 100 #A004      WC100A04            G22510      177004118100
      WEST CAMERON 290 #002       WC29002             G04818      177014018400
      WEST CAMERON 290 #A001      WC290A0100          G04818      177014020700
      WEST CAMERON 290 #A002      WC290A0200          G04818      177014024200
      WEST CAMERON 290 #A003      WC290A0300          G04818      177014029100
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                                  Exhibit II-C(i)

            Asset Name              FWE Acct. Code   Lease Number   Area/Block    WI
EAST CAMERON 257 P/F‐A           EC257PFA              G21580         EC257      100.0%
GALVESTON 255 P/F‐A              GA255PFA              G01777         GA255      100.0%
GRAND ISLE 083 P/F‐A             GI083PFA              G03793         GI083      100.0%
GRAND ISLE 083 P/F‐B             GI083PFB              G03793         GI083      100.0%
HIGH ISLAND A‐446 P/F‐A          HIA446PFA             G02359         HIA446     100.0%
MAIN PASS 154 P/F‐A              MP154PFA              G10902         MP154      100.0%
SOUTH MARSH IS 039 P/F‐A         SM039PFA              G16320         SM039      100.0%
SOUTH MARSH IS 039 P/F‐B         SM039PFB              G16320         SM039      100.0%
SOUTH MARSH IS 039 P/F‐C         SM039PFC              G16320         SM039      100.0%
SOUTH TIMBALIER 242 P/F‐A        ST242PFA              G23933         ST242       60.0%
VERMILION 315 P/F‐A              VR315PFA              G04215         VR315      100.0%
VERMILION 315 P/F‐A‐AUX          VR315PFAAU            G04215         VR315      100.0%
VERMILION 332 P/F‐A              VR332PFA              G09514         VR332       80.2%
VIOSCA KNOLL 113 P/F‐A           VK113PFA              G16535         VK113      100.0%
VIOSCA KNOLL 251 P/F‐A           VK251PFA              G10930         VK251      100.0%
VIOSCA KNOLL 251 P/F‐A‐AUX       VK251PFAAU            G10930         VK251      100.0%
VIOSCA KNOLL 340 P/F‐A           VK340PFA              G10933         VK340      100.0%
WEST CAMERON 100 P/F‐A           WC100APLT             G22510         WC100      100.0%
WEST CAMERON 289 P/F‐A‐PROCESS   WC289APROC            G04818         WC289        0.0%
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                                  Exhibit II-C(ii)

None
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                                          Exhibit II-D(i)




SEGMENTNUMBER          COMPANYNAME              ORGAREA   ORGBLOCK   ORGNAME       RECAREA   RECBLOCK   RECNAME      SIZE   PRODUCT          STATUS          ROWNUMBER FW Lease:
     15213          Fieldwood Energy, LLC          BS        41         B             BS         42      24" SSTI     10      G/C        Partial Abandon       G25383   G21142
                                                                                                                                          Permitted for
     5911          Bandon Oil and Gas, LP          GI        83          A            GI        82       16 SSTI      6      GAS                               G04355    G03793
                                                                                                                                          Abandonment
                                                                                                                                          Permitted for
     9006           Fieldwood Energy, LLC         MP         112        #02          MP         117      08 SSTI      6      BLKG                              G11738    G09707
                                                                                                                                      Abandonment Approved
                                                                                                                                          Permitted for
    15220       Fieldwood Energy Offshore LLC      ST        242         A            SS        283      24 SSTI      8       G/C                              G26891    G23933
                                                                                                                                          Abandonment
    19427           Fieldwood Energy, LLC         VK         113         A           CA         43          A         4      BLKG         Out of Service       G29321    G16535
    13721           Fieldwood Energy, LLC         VK         251         A           VK         340         A         3       AIR            Active            G28704    G10930
    14876           Fieldwood Energy, LLC         VK         251         A           MP         154         A         4      H2O             Active            G22465    G10930
    13720       Fieldwood Energy Offshore LLC     VK         340     8‐inch SSTI     VK         251     Platform A    8      BLGH            Active            G28703    G10933
    7298           Dynamic Industries, Inc        VR         315         A           VR         331      06 SSTI      6       OIL         Out of Service       G07545    G04215
    10736          Dynamic Industries, Inc        VR         332         A           VR         315         A         8      BLKG         Out of Service       G15672    G09514
    10737          Dynamic Industries, Inc        VR         332         A           VR         315         A         6      LIFT         Out of Service       G15673    G09514
                                                                                                                                          Permitted for
    14210       Fieldwood Energy Offshore LLC     WC         100         A           WC         102      30" SSTI     8       G/C                              G24699    G22510
                                                                                                                                      Abandonment Approved

                                                                                                                                          Permitted for
    13864           Fieldwood Energy, LLC         WC         100         A           WC         102      30 SSTI      8       G/C                              G24253    G22510
                                                                                                                                      Abandonment Approved
     8621          Bandon Oil and Gas, LP         WC         290         A           WC         289         A         6      BLKG         Out of Service       G10532    G04818
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                                                     Exhibit II-D(ii)


Area   Block No. Structure Complex ID No. Authority No. FW Lease             Operator              Approval Date Associated Assets
                                                                                                                   GA 241 A005 &
GA       255        A          10050        G30195       G01777    Fieldwood Energy Offshore LLC     06/12/13
                                                                                                                       B004
                                                                                                                   MP 154 A001 &
MP       154        A          24171        G30337       G10902    Fieldwood Energy Offshore LLC     02/03/17
                                                                                                                       A002
                                                                                                                   VR 332 A001,
VR       315        A          22981        G30213       G04215    Fieldwood Energy Offshore LLC     11/26/13
                                                                                                                 A002, A005 & A006
                                                                                                                 Production from VR
VR       315     A-AUX         22981        G30213       G04215    Fieldwood Energy Offshore LLC     11/26/13
                                                                                                                     315 A RUE
                   A-                                                                                            ROW accessory PF
WC       289                   23036        G14262       G04818         Fieldwood Energy LLC         12/03/93
                PROCESS                                                                                              WC 289 A
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                                    Exhibit II-E

None
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                                               Exhibit II-F




Contract Type           Contract Date   Contract Title              Contract Description
Land                    9/1/1981        Joint Operating Agreement   Offshore Operating Agreement 9/1/1981
Land                    7/2/1986        FARMOUT AGREEMENT           Farmout Agreement 7/2/1986
Land                    1/1/1987        Joint Operating Agreement   Joint Operating Agreement 1‐1‐87
Land                    5/7/1993        Letter Agreement            Letter Agmt. dated 5‐7‐1993 b/b Shell Offshore Inc. and Freeport McMoRan Oil and Gas
                                                                    Company.
Land                    6/1/1993        FO                          Farmout Agmt. eff. 6‐1‐1993 b/b Shell Offshore Inc. and Samedan Oil Coporation.
Land                    6/11/1993       Joint Operating Agreement   Operating Agreement eff. 6‐11‐1993 b/b Samedan Oil Corporation and British Borneo
                                                                    Exploration Inc., et al
Land                    1/21/1994       Unit Operating Agreement    Unit Operating Agreement for the Viosca Knoll .252 Unit, by and between Samedan Oil
                                                                    Corporation, as Operator, and Continental Land &"Fur Co., Inc., dated effective January 21,1994.
                                                                    Preferential Right to Purchase ‐ 15 Days. (Section 26.2)

Land                    2/11/1994       Unit Agreement              Unit Agreement For Outer Continental Shelf Exploration, Development and Production
                                                                    Operations on theViosca Knoll 252 Unit designated Contract No. 754394013, by the Minerals
                                                                    Management Service, dated
                                                                    effective February 11, 1994, executed by Samedan Oil Corporation (as Unit Operator) and
                                                                    Chevron U.S.A. Inc.(as a working interest owner).
Land                    6/6/1994        Letter Agreement            Letter Agreement, dated June 6, 1994, whereby Chevron U.S.A. Inc. approves, adopts
                                                                    and.recognizes the Unit Operating Agreement, dated January 21, 1994 for the Viosca Knoll 252
                                                                    Unit
Land                    6/9/1994        Letter Agreement            Letter Agreement, dated June 9, 1994, by and between Chevron U.S.A. Inc., Samedan Oil
                                                                    Corporation and Continental Land & Fur Co., Inc.
Land                    9/20/1995       OA                          Operating Agreement eff. 9‐20‐95 b/b Samedan and Walter
Land                    7/1/1996        JOA                         7.1.1996 SM 39 Joint Operating Agreement, as amended
Land                    7/7/1997        Letter Agreement            Letter Agreement, dated July 7, 1997, by and between Chevron U.S.A. Inc. and Samedan Oil
                                                                    Corporation,concerning of the OCSTG 10930 Well #1 in Viosca Knoll Block 251 to a proposed
                                                                    depth of 22,500' and certain
                                                                    earning and assignment provisions, more fully described therein.
Land                    11/18/1999      Letter Agreement            Letter Agreement, dated November. 18, 1999, by and between Chevron U.S.A. tic. and Samedan
                                                                    Oil Corporatidri being a COPAS Amendment to Unit Operating Agreement for the Viosca Knoll
                                                                    252 Unit concerning
                                                                    Subpart (i;) of Section m. "Overhead", andimade effective January 1,2000.
Land                    8/5/2000        Transfer Agreement          Transfer of Ownership and Title Agreement, made and entered into August 5, 2000, by and
                                                                    between Bonray,Inc.; Energen Resources Corporation; Forcenergy Inc; Gardner Offshore
                                                                    Corporation; Guifstar Energy, Inc;;
                                                                    Gulfstream Energy Services, Inc.; Liberty Energy Gulf Corporation; Range Energy Ventures
                                                                    Corporation; and V.Saia Energy Interests, Inc., as Seller, to Range Resources Corporation and
                                                                    Chevron U.S.A. Inc., concerning the sale of the Main Pass Block 154 Platform "A" and the wells
                                                                    OCS‐G 10902 No. A001 and OCS‐G 10902 No.
                                                                    A002, all as more fully described in said document.
Land                    8/5/2000        ABOS                        Bill of Sale, Conveyance and Quit Claim, dated'effective August 5, 2000, from Energen Resources
                                                                    Corporation to Chevron •U.S.A. Inc., covering Energeh's right, title 'and interests in and to
                                                                    the.'Main Pass Block 154 Platform"A" and the wells OCS‐G 10902. No. A001 and OCS‐G 10902
                                                                    No. A002. all as more fully described in said
                                                                    document.
Land                    10/23/2000      Letter Agreement            Letter Agreement, dated October 23, 2000, between Range Resources Corporation and Chevron
                                                                    U.S.A. Inc.,entitled "Annual Reciprocity Notice Regarding Conveyance to Chevron U.S.A. Inc. of
                                                                    Main Pass Black 154,
                                                                    South and East Addition Platform "A" arid Two'Wells Thereon, Federal OCS, Offshore Alabama."

Land                    12/8/2000       Letter Agreement            Letter Agreement, dated December 8, 2000 (effective December 1, 2000), by and between
                                                                    Chevron U.S.A. Inc.and Williams Field Services ‐ Gulf COperating Agreementst Company, L.P.,
                                                                    whereby Chevron U.S.A. Inc. consents to an
                                                                    assignment by Williams Field Services ‐ Gulf COperating Agreementst Company, L.P., to its
                                                                    affiliate, Williams Mobile Bay Producer Services, L.L.C.

Land                    1/11/2001       LETTER AGREEMENT            Letter, dated January 11, 2001, from the United States Department of the Interior, Minerals
                                                                    Management Serviceto Chevron U.S.A. Inc., approving the initial participating area plat and
                                                                    Exhibit C for the Viosca Knoll 252 Unit,Agreement No. 754394013, effective November 8, 2000

Land                    11/1/2001       Letter Agreement            Letter Agreement, dated November 1, 2001, between Range Resources Corporation and Chevron
                                                                    U.S^A. Inc.,entitled "Satisfaction and Accord of Seller's P&A Obligation, Release and Discharge of
                                                                    Surety Bond
                                                                    Requirement, Amwest Surety Bond No. 15005293, Main Pass Block 154, So. and East Add."


Land                    11/3/2001       Letter Agreement            Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                                    party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                                    (grantees), being a conditional
                                                                    consent to assign.
Land                    1/9/2002        Letter Agreement            Letter, dated January 9, 2002, from the United States Department of the Interior, Minerals
                                                                    Management Service to Chevron U.S:A. Inc., approving.a revision to the participating area plat
                                                                    and Exhibit C for the Viosca Knoll 252 Unit, Agreement No. 754394bl'3, effective December 1,
                                                                    2001.
Land                    3/1/2002        FO                          Farmout Agmt. eff. 3‐1‐2002 b/b Samedan Oil Corporation (Farmor) and Pure Resources, L.P.
                                                                    (Farmee)
Land                    6/9/2003        PA                          Participation Agmt. eff. 6‐9‐2003 b/b Samedan Oil Corporation and CLK Company
Land                    8/7/2003        PA                          Exploration Participation Agreement, dated August 7, 2003, by and between Chevron U.S.A. Inc.
                                                                    and'Westport Resources Corporation, as amended, concerning certain Offshore Continental
                                                                    Shelf properties, all as is
                                                                    more fully, provided'for and described therein.
Land                    3/18/2004       PSA                         PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
Land                    5/28/2004       Letter Agreement            Letter, dated May 28, 2004, from the United States Department of the Interior, Minerals
                                                                    Management Service to Chevron U.S.A. Inc., approving a revision to the participating area plat
                                                                    and Exhibit Cfor theiViosca Knoll 252
                                                                    Unit, Agreement No. 754394013, effective December 1, 2003.
Land                    8/1/2004        Unit Operating Agreement    Amendment and Supplement to?Unit Operating Agreement for the Viosca Knoll 252 Unit, dated
                                                                    August 1,2004, by and between Chevron UiS.A. Inc. and‐Noble Energy, Inc
Land                    9/1/2004        JOA                         Operating Agreement eff. 9‐1‐04
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                                              Exhibit II-F




Land                          10/14/2004   Letter Agreement                     Letter Agreement, dated October. 14, 2004, between Ghevron U.S.A. Inc. and Noble Energy,.Inc.
                                                                                concerning Production Handling Agreement Terin's, Viosca Knoll 251 "A'
                                                                                PlatfomvCadillacProspect and any Other Future
                                                                                Non‐unit Production
Land                          10/28/2004   PSA                                  PSA dated 10‐28‐2004 but eff. 7‐1‐2004 B/B Eni Deepwater LLC and Northstar Gulfsands, LLC

Land                          11/1/2004    PA                                   Exploration Participation Agreement, dated November 1, 2004, by and between Chevron U.S.A.
                                                                                Inc. and Newfield Exploration Company, concerning certain Offshore Continental Shelf
                                                                                properties, all as is more fully
                                                                                provided for and described therein
Land                          11/18/2004   Letter Agreement                     Letter Agreement, dated November 18; 2004, between Chevron U.S.A. Inc. and Newfield
                                                                                Exploration Company, amendihg'the;terms of Letter Agreement•,dated October f4, 2004,
                                                                                between Chevron U.S.A. Inc. and
                                                                                Noble Energy, Inc. concerning Production Handling Agreement Terms, Viosca knoll.251 "A"'
                                                                                Platform, Cadillac Prospect and any Other Future Non‐unit Production:
Land                          11/1/2005    Partition and Redemption Agreement   Partitiion and Redemption Agmt. dated 11‐1‐2005 b/b Northstar Gulfsands, LLC and Gulfsands
                                                                                Petroleum USA, Inc.
Land                          11/7/2005    Unit Agreement                       Amendment to Unit Agreement, Viosca Knoll Block 252 Unit, Contract No. 754394013, dated
                                                                                November 7, 2005 (effective November 1, 2005) as approved by the Minerals Management
                                                                                Service by letter dated January 10,2007, but made effective November 8, 2006, replacing Exhibits
                                                                                "A", "B" and "C" and Article 13.1 in its entirety (reduction of Unit Area)

Land                          12/20/2005   Letter Agreement                     Letter Agreement, dated December 20, 2005, between Noble Energy, Inc. and Ghevron U.S.A.
                                                                                Inc., being a consent.to.disclose confidential data
Land                          3/1/2006     ABOS                                 ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.

Land                          1/10/2007    Letter Agreement                     Letter dated January 10, 2007, from the.United States Department of the Interior, Minerals
                                                                                Management Service to Chevron U.S.A. Inc., approving a revision Exhibits "A", "B" and "C"
                                                                                reflecting a change in the Unit Area due to contraction provisions in the Viosca Knoll 252 Unit,
                                                                                Agreement No. 754394013.
Land                          7/7/2008     Acquisition                          Stock Purchase Agmt dated July 7, 2008 b/b Northstar E&P, LP and Dynamic Offshore Resources,
                                                                                LLC
Land                          7/7/2008     Letter Agreement                     VR 332 A5 Letter Agmt dated July 7, 2008 b/b Northstar Interests, L.C. and Dynamic Offshore
                                                                                Resources, LLC
Land                          8/1/2011     ABOS                                 ABOS eff. 8‐1‐2011 b/b XTO Offshore Inc. ("Assingor") and Dynamic Offshore Resources, LLC
                                                                                ("Assignee")
Land                          11/3/2011    Letter Agreement                     Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                                                party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                                                (grantees), being a conditional
                                                                                consent to assign.
Land                          5/2/2012     Letter Agreement                     Letter, dated May 2, 2012 between Newfield Exploration Company and Chevron U.S.A. Inc.,
                                                                                being a waiver of confidentiality provision grant by Chevron in favor of Newfield;
Land                          7/1/2013     Acquisition                          PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                                and
                                                                                APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                                GOM SHELF LLC Dated as of July 18, 2013

Land                          12/1/2013    Acquisition                          Equity Purchase Agreement between Sandridge Energy, Inc., Sandridge Holdings, Inc. and
                                                                                Fieldwood Energy LLC: Fieldwood purchased all companies listed with their assets which included
                                                                                Offshore and SandRidge Legacy South Texas and South Louisiana assets.

Land                          10/15/2014   Release and Settlment Agreement      by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Prime Offshore L.L.C.,
                                                                                Tammany Oil and Gas LLC and Castex Offshore, Inc.
Land                          4/2/2015     Consent to Disclose Confidential     by and between Filedwood Energy LLC, Bandon Oil and Gas, LP and Chevron U.S.A. Inc.: VK 252
                                           Information                          Unit Area
Land                          8/1/2015     Acquisition                          by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                                252, 340 Fields
Land                          10/15/2015   Release and Settlement Agreement     by and between Fieldwood Energy LLC and Fairways Offshore Exploration, Inc. : Release and
                                                                                Settlement Agreement
Land                          12/1/2015    Acquisition                          by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US
                                                                                LLC: GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC
                                                                                130
Land                          12/1/2015    Release and Settlement Agreement     by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc.
                                                                                and ENI Petrolem US LLC: Release and Settlement Agreement
Land                          8/1/2016     Letter Agreement                     by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                                for MP 154 surface wells used as disposal wells for VK 252 Unit
Land                          8/1/2016     Letter Agreement                     by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052
                                                                                for MP 154 surface wells used as disposal wells for VK 252 Unit
Land                          8/4/2016     Letter of No Objection               by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                                rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land                          8/4/2016     Letter of No Objection               by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                                rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land                          10/1/2016    ABOS                                 by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC:
Land                          11/21/2016   Offer to Purchase                    by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC: Offer to
                                                                                Purchase GS E &R America Offshore, LLC's Interest in GI 94, SS 79, VR 332 and WD 34

Land                          8/1/2017     ABOS                                 by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land                          9/19/2017    Offer to Purchase                    by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC: Offer to Purchase SCL
                                                                                Resources, LLC'S Interest in GI 94, SS 79, VR 332 and WD 34
PHA VR 315/VR 332 A01and VR   10/15/1995   PRODUCTION HANDLING AGMT             PHA VR 315/VR 332 and VR 333 by and between Fieldwood and CANNAT ENERGY INC. and
333                                                                             CANNAT ENERGY INC.
PHA VR 315/VR 332A02 and VR   10/15/1995   PRODUCTION HANDLING AGMT             PHA VR 315/VR 332 and VR 333 by and between Fieldwood and CANNAT ENERGY INC. and
333                                                                             CANNAT ENERGY INC.
PHA VR 315/VR 332A05          10/15/1995   PRODUCTION HANDLING AGMT             PHA VR 315/VR 332 and VR 333 by and between Fieldwood and ANKOR E&P HOLDINGS
                                                                                CORPORATION and ANKOR E&P HOLDINGS CORPORATION
LEASE OF PLATFORM SPACE       8/12/2019    LEASE OF PLATFORM SPACE              TAM102‐LOPS‐22 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE       6/14/2000    FACILITIES OPERATING AND             WIL174 OP&MN FEE‐VK251A by and between Fieldwood and WILLIAMS FIELD SERVICES and
                                           MAINTENANCE AGMT                     WILLIAMS FIELD SERVICES
Marketing Gas ‐ Transport     12/1/2013    IT Transport Contract                IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport     12/1/2013    IT Transport Contract                IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
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Marketing Gas ‐ Transport       12/1/2013                         IT Transport Contract                     IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport       12/1/2013                         ISCT Contract                             ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport       12/1/2013                         IT Transport Contract                     IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                                                            Eastern
Marketing Gas ‐ Transport       10/1/2014                         IT Gathering                              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                                                            Midstream Services
Marketing Gas ‐ Transport       12/12013                          IT Transport Contract                     Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                                            and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport       12/1/2013                         IT‐Retrograde Transport                   Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                                            Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport       8/1/2012                          IT Transport & Discount Letter            Searobin West Discounted Trans =.1758 plus Discounted Gathering .0642 = total discounted rate ‐
                                                                                                            $.24 ‐ Discount only for SMI 39 & EI 337 by and between Fieldwood Energy Offshore, LLC and Sea
                                                                                                            Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport       8/1/2012                          IT Retrograde & Discount Letter           Searobin West Discounted Trans =.1758 plus Discounted Gathering .0642 = total discounted rate ‐
                                                                                                            $.24 ‐ Discount only for SMI 39 & EI 337 by and between Fieldwood Energy Offshore, LLC and Sea
                                                                                                            Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport       8/1/2012                          IT PTR & Discount Letter                  Searobin West Discounted Trans =.1758 plus Discounted Gathering .0642 = total discounted rate ‐
                                                                                                            $.24 ‐ Discount only for SMI 39 & EI 337 by and between Fieldwood Energy Offshore, LLC and Sea
                                                                                                            Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas‐Gathering         6/14/2000                         Gas Gathering Agreement                 Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                          Carbonate Trend
Marketing‐Gas Gathering         6/14/2000                         Gas Gathering Agreement                 Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                          Carbonate Trend
Operating and Management        6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                         Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                          Offshore LLC and Third Coast Midstream LLC (formerly Panther Operating Company, LLC) and
                                                                                                          Third Coast Midstream LLC (formerly Panther Operating Company, LLC)

Operating and Management        1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                       supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                                Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                                1, 1972.                                                                  between Fieldwood Energy LLC and and
Construction and Operation      10/1/1995                       Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
Agreement                                                       the Construction and Operation of the     Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                                Parish, Louisiana                         and and

Operating Agreement                                               Lateral Line Operating Agreement          Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                                  Between Apache Corporation and            Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                                                  Enterprise GTM Offshore Operating         sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Company, LLC                              Energy LLC and and
Operating Agreement                                               Lateral Line Operating Agreement          Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                                  Between Dynamic Offshore Resources,       Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                                                  LLC and Enterprise GTM Offshore           sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Operating Company, LLC                    Energy Offshore LLC and and
Operating Agreement                                               Lateral Line Operating Agreement          Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                                  Between Dynamic Offshore Resources,       Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                                                  LLC and Enterprise GTM Offshore           sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Operating Company, LLC                    Energy Offshore LLC and and
Liquid Transportation BTU Makeup 11/1/2007                        Injected and Retrograde Condensate        Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                                  Transportation and Btu Reduction Make‐ Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                                                  up Agreement‐Southeast Lateral (into
                                                                  Bayou Black) 28 0008 000
Terminalling Agreement          2/1/2014                          Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                  Liquidsllc and Fieldwood Energy LLC ‐     Liquid LLC
                                                                  Contract BB111
Oil Liquids Transporation       5/1/2015                          Transportation Agreement for              Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                                                         Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transport           5/1/2015                          Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                  for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  Schedule ITS between Sea Robin Pipeline
                                                                  Company, LLC and Fieldwood Energy LLC

Oil Retrograde Condensate       9/1/2012                          Amendment No. 3 to Retrograde             Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                              Condensate Separation Agreement           Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate       3/1/2018                          Amendment No. 5 to Retrograde             Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                              Condensate Separation Agreement No.       Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  2393
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0065                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0069                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0071                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0071                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/19/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CL69LP0071                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     8/11/2020                         STUSCO CONTRACT REF. NO. ‐                STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                  CLP0003964                                Trading (US) Company and Shell Trading (US) Company
Crude Sales                     1/31/2014                         Term Evergreen Lease Purchase             Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                                                            Chevron Products Company and Chevron Products Company
MARKETING ‐ GAS PROCESSING      4/1/2020                          PROCESSING‐POL‐THEORETICAL                POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                                            LIG LIQUIDS, LLC
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MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL            POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL            POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   10/1/2010    PROCESSING AGREEMENT‐GREATER of       GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          Fee or POL                            Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   11/1/2010    PROCESSING AGREEMENT‐ 1ST             GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          AMENDMENT‐GREATER of Fee or POL       Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   7/24/2012    PROCESSING AGREEMENT‐ 2ND             GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          AMENDMENT‐GREATER of Fee or POL       Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   10/1/1995    CONTRUCTION/OPERATING (NI)            CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   9/1/2010     EXHIBIT B‐1 COMMITMENT FORM TO        EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
                                          C&O AGREEMENT                         and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/18/2010   BALLOT TO EXTEND MCMORAN GPA          BALLOT TO EXTEND MCMORAN GPA THORUGH 12/31/2011 by and between Fieldwood Energy
                                          THORUGH 12/31/2011                    LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   12/1/2010    BALLOT TO AMEND EXHIBIT E TO C&O      BALLOT TO AMEND EXHIBIT E TO C&O AGREEMENT by and between Fieldwood Energy LLC and
                                          AGREEMENT                             Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   6/1/2012     EXHIBIT B‐1 COMMITMENT FORM TO        EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
                                          C&O AGREEMENT                         and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/1/2012     BALLOT TO APPROVE ENTERPRISE AS       BALLOT TO APPROVE ENTERPRISE AS PLANT OPERATOR TO C&O AGREEMENT by and between
                                          PLANT OPERATOR TO C&O AGREEMENT       Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC

MARKETING ‐ GAS PROCESSING   7/1/2012     APPROVAL OF AFES TO C&O AGREEMENT APPROVAL OF AFES TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                             Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   9/25/2013    BALLOT TO C&O AGREEMENT            BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                             Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   12/1/2000    SERVICE‐DEHYDRATION (NI)           SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   2/1/2000     SERVICE‐FRACTIONATION (NI)         SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/1992     BASE                               BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                             Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/1/1995    CONSTRUCTION/OPERATING (NI)        CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                             Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/13/1998   RAW MAKE                           RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                             Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   11/13/1998   AMENDMEMT                          AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                             Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/31/2001    LIQ EXCHANGE                       LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                             Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   2/1/2005     GAS PROCESSING AGREEMENT           88/12% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                             Gas Processing LLC
MARKETING ‐ GAS PROCESSING   2/20/2008    FIRST AMENDMENT TO GAS PROCESSING 88/12% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                          AGREEMENT                          Gas Processing LLC
Environmental/Govt           6/24/2019    Master Services Contract           – IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           10/2/2019    Software License Agreement         IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           11/19/2018   Master Service Contract            Regulatory
Environmental/Govt           11/1/2013    Master Services Contract           Platform Audits / BSEE Drawings
Environmental/Govt           10/30/2019   Master Client Agreement            Industry Standards, Analytics, and Research / Subscription Service
Environmental/Govt           11/15/2019   Order Form                         Industry Standards, Analytics, and Research / Subscription Service
Land                         10/1/2003    PSA                                By and Between UNOCAL, Pure Resources, L.P., Pure Partners, L.P. and SPN Resources, LLC
                                                                             (Fieldwood SP)
Land                         5/16/2001    JOA                                Unocal and Callon dated 5/16/2001 but effective 2/14/2001
Land                         8/1/2010     JOA                                Amdt to JOA dated 5/16/2001 by and between Unocal and Callon
Land                         11/28/1979   OA                                 McMoRan et al
Land                         2/18/2000    OA                                 b/b Chevron and Samedan
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                                    Exhibit II-G

None
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                                               Exhibit III-A




Exhibit III‐A
                Field                                      Block              Lease                Type       Rights      Date Le Eff   Date Le Exp   Le Cur Acres (Ac)            Operator               WI        Lease Status
                MYETTE POINT ‐ ONSHORE                       –                14519               SL ‐ TX      WI             –             –                –                        –                    50.0%        UNIT
                MYETTE POINT ‐ ONSHORE                       –                14520               SL ‐ TX      WI             –             –                –                        –                    50.0%        UNIT
                MYETTE POINT ‐ ONSHORE                       –                14914               SL ‐ TX      WI             –             –                –                        –                    65.6%        UNIT
                SOUTH PASS 42/43 FED / SL LA                 –                16869               SL‐ LA       WI             –             –                –                        –                   100.0%        PROD
                EUGENE ISLAND 010 (SL 19269) ‐ (SL LA)       –                19266               SL‐ LA       WI             –             –                –                        –                    17.3%       ACTIVE
                FRANKLIN GAP                                 –          JMB Partnership          Onshore                   2/6/2019                                                                       100.0%         –
                FRANKLIN GAP                                 –          JMB Partnership          Onshore                  2/25/2018                                                                       100.0%         –
                FRANKLIN GAP                                 –      Richardson A Caffery et al   Onshore                   2/1/2016                                                                       100.0%         –
                FRANKLIN GAP                                 –      Caroline Baker Trust No 1    Onshore                  1/22/2016                                                                       100.0%         –
                ONSHORE/ STATE LEASE                         –                19051               SL‐ LA       ORRI        8/9/2006                                         Southern Oil of Louisiana        0.2%       UNIT
                WEST CAMERON 009 (SL LA)                     –                18287               SL‐ LA       WI             –             –                –                        –                    44.2%         –
                                                             –                17072               SL‐ LA       WI             –             –                –                                             37.8%       ACTIVE
                                                             –                42450               SL‐ LA       WI             –             –                –                 Fieldwood Onshore           62.5%    TERMINATED
                                                             –               490100               SL‐ LA       WI             –             –                –            dRidge Exploration & Produc      100.0%     SCOPING
                STATE TRACT 773                              –               111650               SL ‐ TX                                                                        TR Offshore, LLC            7.2%     ACTIVE
                STATE TRACT 773                              –               115727               SL ‐ TX                                                                        TR Offshore, LLC            7.0%     ACTIVE
                STATE TRACT 773                              –               114988               SL ‐ TX                                                                        TR Offshore, LLC            7.0%     ACTIVE
                                                             –                19334               SL ‐ TX      WI             –             –                –             Elliott Oil & Gas Operating     75.0%     INJECTION
                                                             –               136449               SL ‐ TX      WI             –             –                –                   TR Offshore, LLC            7.0%      ACTIVE
                                                             –                09061               SL ‐ TX      WI             –             –                –                  Landon Browning            33.3%      TERMIN
                                                             –               168986               SL ‐ TX      WI             –             –                –                 Fieldwood Onshore          100.0%      TERMIN
                                                             –               189098               SL ‐ TX      WI             –             –                –                 Fieldwood Onshore          100.0%      TERMIN
                                                             –               206882               SL ‐ TX      WI             –             –                –                 Fieldwood Onshore          100.0%      TERMIN
                BRETON SOUND 52/53 FED / SL LA               –                03770               SL‐ LA       WI             –             –                –                           –                 50.0%        UNIT
                BRAZOS A‐102/A‐105                       BA A‐102            G01754              Federal        RT         6/1/1968     6/14/2020          5,760                   Fieldwood En           100.0%      TERMIN
                BRAZOS A‐102/A‐105                       BA A‐105            G01757              Federal       RT A        7/1/1968                        5,760                   Fieldwood En            87.5%        PROD
                BRAZOS A‐102/A‐105                       BA A‐105            G01757              Federal       RT B        7/1/1968                        5,760                   Fieldwood En           100.0%        PROD
                BRAZOS A‐133                             BA A‐133            G02665              Federal        RT         7/1/1974                        5,760                    GOM Shelf              25.0%        PROD
                EAST BREAKS 158/159/160/161               EB 158             G02645              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off           66.0%        PROD
                EAST BREAKS 158/159/160/161               EB 159             G02646              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off           66.0%        PROD
                EAST BREAKS 158/159/160/161               EB 160             G02647              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off          100.0%        PROD
                EAST BREAKS 158/159/160/161               EB 161             G02648              Federal        RT         7/1/1974                        5,760                Fieldwood SD Off          100.0%        PROD
                EAST BREAKS 165                           EB 165             G06280              Federal        RT        10/1/1983                        5,760                Fieldwood SD Off          100.0%        UNIT
                EAST BREAKS 165                           EB 209             G07397              Federal        RT         9/1/1984                        5,760                Fieldwood SD Off          100.0%        UNIT
                EAST CAMERON 330                          EC 330             G03540              Federal       OP 1        8/1/1977      2/8/2017          5,000                Fieldwood En Off           50.0%      TERMIN
                EAST CAMERON 331/332                      EC 331             G08658              Federal       OP 1        8/1/1987                        5,000                Fieldwood En Off           92.8%      TERMIN
                EAST CAMERON 331/332                      EC 331             G08658              Federal       OP 2        8/1/1987                        5,000                Fieldwood En Off           92.8%      TERMIN
                EAST CAMERON 331/332                      EC 332             G09478              Federal        RT         5/1/1988                        5,000                Fieldwood En Off           88.0%      TERMIN
                EAST CAMERON 331/332                      EC 332             G09478              Federal       OP 1        5/1/1988                        5,000                Fieldwood En Off           88.0%      TERMIN
                EAST CAMERON 349                          EC 349             G14385              Federal       OP 1        5/1/1994                        5,000                     W & T Off             25.0%        PROD
                EAST CAMERON 349                          EC 350             G15157              Federal       OP 1        9/1/1995     12/27/2001         5,000                     W & T Off             25.0%      TERMIN
                EAST CAMERON 349                          EC 356             G13592              Federal        RT         9/1/1992     12/29/1999         5,000                     W & T Off             25.0%       RELINQ
                EAST CAMERON 371                          EC 371             G02267              Federal      CONT         2/1/1973     3/31/2010          5,000                     Talos ERT                25%     TERMIN
                EUGENE IS. 100                             EI 100             00796              Federal    Contractual    5/1/1960         –              5,000                   Fieldwood En           100.0%        PROD
                EUGENE IS. 173/174/175                     EI 175             00438              Federal       OP 1       12/1/1954         –              5,000                   Fieldwood En            25.0%        PROD
                EUGENE IS. 307                             EI 307            G02110              Federal        RT         2/1/1971     11/4/2019          2,500                Fieldwood En Off           25.0%      TERMIN
                SOUTH MARSH IS. 142 / EUGENE IS. 312       EI 311            G27918              Federal        RT         7/1/2006     9/27/2012          5,000                 Dynamic Off Res           60.0%      TERMIN
                SOUTH MARSH IS. 142 / EUGENE IS. 312       EI 312            G22679              Federal       OP 1        6/1/2001      8/7/2020          5,000                   Fieldwood En            60.0%      TERMIN
                EUGENE IS. 32                               EI 32             00196              Federal       OP 1       11/26/1946                       5,000                       Cox Op              23.7%        PROD
                EUGENE IS. 330                             EI 330            G02115              Federal    Contractual    1/1/1971                        5,000                   Fieldwood En            17.0%        UNIT
                EUGENE IS. 342/343                         EI 342            G02319              Federal       RT A        2/1/1973                        5,000                   Fieldwood En            50.0%      TERMIN
                EUGENE IS. 53                               EI 53             00479              Federal       OP 1       12/1/1954                        5,000                   Fieldwood En            11.1%        PROD
                EUGENE IS. 62/63/77                         EI 63             00425              Federal        RT        12/1/1954     10/20/2003         5,000                Fieldwood En Off          100.0%      TERMIN
                EWING BANK 782/826 / ST 291               EW 782             G05793              Federal      CONT         7/1/1983     3/25/1994           1093                   Fieldwood En           100.0%      TERMIN
                GALVESTON 151                             GA 151             G15740              Federal        RT        11/1/1995     4/12/2016          4,804                   Fieldwood En            33.0%      TERMIN
                GALVESTON 210                             GA 210             G25524              Federal       OP 1       12/1/2003                        5,760                   Fieldwood En            16.7%        PROD
                GALVESTON 210                             GA 210             G25524              Federal       OP 3       12/1/2003                        5,760                   Fieldwood En            33.0%        PROD
                GALVESTON A‐155                          GA A‐155            G30654              Federal        RT        10/1/2006     5/14/2018          5,760                  Peregrine O&G            10.8%      TERMIN
                GREEN CANYON 157                          GC 157             G24154              Federal        RT         6/1/2002     8/15/2020           5760                   LLOG Exp Off            15.0%      TERMIN
                GREEN CANYON 157                          GC 201             G12210              Federal        OP         5/1/1990                         5760                Fieldwood En Off           15.0%        UNIT
                GREEN CANYON 200 (Troika)                 GC 245             G05916              Federal      CONT         7/1/1983                         5760                Fieldwood En Off         100.00%      TERMIN
                GREEN CANYON 64/65/108/109/243             GC 64             G07005              Federal      CONT         6/1/1984     5/29/1998           5760                Fieldwood En Off           49.0%       RELINQ
                HIGH IS. A‐341                           HI A‐341            G25605              Federal        RT        12/1/2003                        5,760                   Fieldwood En            40.0%        PROD
                HIGH IS. A‐365/A‐376                     HI A‐365            G02750              Federal        RT         7/1/1974                        5,760                   Fieldwood En            49.6%        PROD
                HIGH IS. A‐365/A‐376                     HI A‐376            G02754              Federal        RT         7/1/1974                        5,760                   Fieldwood En            55.4%        PROD
                HIGH IS. A‐573 (382/572/573/595/596)     HI A‐382            G02757              Federal        RT         7/1/1974                        5,760                   Fieldwood En            27.6%        PROD
                HIGH IS. A‐474                           HI A‐474            G02366              Federal        RT         8/1/1973     2/28/2017          5,760                 McMoRan O&G               12.0%      TERMIN
                HIGH ISLAND A‐474/489                    HI A‐475            G02367              Federal      CONT         8/1/1973     12/25/1999         5,760                 McMoRan O&G               12.0%      TERMIN
                HIGH IS. A‐474                           HI A‐489            G02372              Federal        RT         8/1/1973     2/28/2017          5,760                 McMoRan O&G               12.0%      TERMIN
                HIGH ISLAND A‐510                        HI A‐531            G02696              Federal       OP 1        7/1/1974     11/6/2016          5,760                Fieldwood En Off           75.0%      TERMIN
                HIGH IS. A‐550                           HI A‐550            G04081              Federal        RT        10/1/1979                        5,760                Fieldwood En Off          100.0%        PROD
                HIGH IS. A‐550                           HI A‐550            G04081              Federal       OP 1       10/1/1979                        5,760                Fieldwood En Off          100.0%        PROD
                HIGH IS. A‐550                           HI A‐550            G04081              Federal       OP 2       10/1/1979                        5,760                Fieldwood En Off          100.0%        PROD
                HIGH IS. A‐563 (563/564/581/582)         HI A‐563            G02388              Federal       OP 1        8/1/1973                        5,760                       Cox Op                2.0%       PROD
                HIGH IS. A‐563 (563/564/581/582)         HI A‐564            G02389              Federal       OP 1        8/1/1973     4/18/1998          5,760                       Cox Op                2.0%     TERMIN
                HIGH IS. A‐573 (382/572/573/595/596)     HI A‐572            G02392              Federal        RT         8/1/1973     5/18/2006          5,760                   Fieldwood En            24.1%      TERMIN
                HIGH IS. A‐573 (382/572/573/595/596)     HI A‐573            G02393              Federal        RT         8/1/1973                        5,760                   Fieldwood En            27.6%        PROD
                HIGH IS. A‐563 (563/564/581/582)         HI A‐581            G18959              Federal        RT        12/1/1997      7/1/2005          5,760                       Cox Op                2.0%     TERMIN
                HIGH IS. A‐563 (563/564/581/582)         HI A‐582            G02719              Federal       OP 1        7/1/1974                        5,760                       Cox Op                2.3%       PROD
                HIGH IS. A‐573 (382/572/573/595/596)     HI A‐595            G02721              Federal        RT         7/1/1974                        5,760                   Fieldwood En            27.6%        PROD
                HIGH IS. A‐573 (382/572/573/595/596)     HI A‐596            G02722              Federal        RT         7/1/1974                        5,760                   Fieldwood En            27.6%        PROD
                MOBILE BAY 861                           MO 861              G05062              Federal        RT         4/1/1982     10/13/2009         5,198             Providence Res GOM 2         100.0%      TERMIN
                MOBILE BAY 861                           MO 861              G05062              Federal       OP 1        4/1/1982     10/13/2009         5,198             Providence Res GOM 2          50.0%      TERMIN
                MAIN PASS 101                             MP 101             G22792              Federal        RT         7/1/2001      9/5/2014          4,995                Fieldwood En Off           77.5%      TERMIN
                MAIN PASS 109                             MP 109             G22794              Federal       OP 1        5/1/2001      4/1/2016          4,995                     W & T Off             33.3%      TERMIN
                MAIN PASS 109                             MP 109             G22794              Federal       OP 2        5/1/2001      4/1/2016          4,995                     W & T Off             33.3%      TERMIN
                MAIN PASS 77                               MP 77             G04481              Federal        RT        11/1/1980                        4,655                Fieldwood En Off           73.8%       RELINQ
                SOUTH PELTO 13                             PL 13             G03171              Federal       OP 3        7/1/1975     5/23/2018          5,000                     ANKOR En                2.0%     TERMIN
                VERMILION 272 / SOUTH MARSH 102           SM 102             G24872              Federal        RT         5/1/2003                        3,113                Fieldwood En Off          100.0%        PROD
                SOUTH MARSH IS. 132                       SM 132             G02282              Federal        RT         2/1/1973     4/1/2016           5,000                   Fieldwood En            50.0%      TERMIN
                SOUTH MARSH IS. 136/137/149/150           SM 135             G19776              Federal        RT         5/1/1998     2/18/2012          3,293                   Fieldwood En            50.0%      TERMIN
                SOUTH MARSH IS. 136/137/149/150           SM 136             G02588              Federal        RT         5/1/1974     8/4/2019           2,500                   Fieldwood En            50.0%      TERMIN
                SOUTH MARSH IS. 136/137/149/150           SM 137             G02589              Federal        RT         5/1/1974     6/30/2015          5,000                   Fieldwood En            50.0%      TERMIN
                SOUTH MARSH IS. 147                       SM 139             G21106              Federal       OP 1        7/1/1999     8/22/2020          5,000                Fieldwood En Off          100.0%      TERMIN
                SOUTH MARSH IS. 142 / EUGENE IS. 312      SM 142             G01216              Federal        RT         6/1/1962     8/7/2020           2,761                Fieldwood En Off           86.1%      TERMIN
                SOUTH MARSH IS. 142 / EUGENE IS. 312      SM 142             G01216              Federal       OP 1        6/1/1962     8/7/2020           2,761                Fieldwood En Off           86.1%      TERMIN
                SOUTH MARSH IS. 142 / EUGENE IS. 312      SM 143             G01217              Federal      CONT         5/1/1962     7/17/1997          2,738                Fieldwood En Off           16.0%      TERMIN
                SOUTH MARSH IS. 147                       SM 146             G09546              Federal        RT         7/1/1988     6/1/2012           5,000                 Dynamic Off Res          100.0%      TERMIN
                SOUTH MARSH IS. 147                       SM 147             G06693              Federal        RT         7/1/1984     1/14/2011          5,000                Fieldwood En Off          100.0%      TERMIN
                SOUTH MARSH IS. 136/137/149/150           SM 150             G16325              Federal        RT         6/1/1996     5/22/2018          3,329                   Fieldwood En            50.0%       RELINQ
                SOUTH MARSH IS. 268/269/280/281           SM 268             G02310              Federal        RT         1/1/1973     9/7/2009           3,237                   Fieldwood En            30.1%      TERMIN
                SOUTH MARSH IS. 268/269/280/281           SM 269             G02311              Federal        RT         1/1/1973                        5,000                   Fieldwood En            17.7%        PROD
                SOUTH MARSH IS. 268/269/280/281           SM 269             G02311              Federal        RT         1/1/1973                        5,000                   Fieldwood En              9.1%       PROD
                SOUTH MARSH IS. 268/269/280/281           SM 269             G02311              Federal        RT         1/1/1973                        5,000                   Fieldwood En              0.4%       PROD
                SOUTH MARSH IS. 268/269/280/281           SM 280             G14456              Federal       OP 1        6/1/1994                        5,000                   Fieldwood En            50.0%        PROD
                SOUTH MARSH IS. 268/269/280/281           SM 280             G14456              Federal       OP 3        6/1/1994                        5,000                   Fieldwood En            50.0%        PROD
                SOUTH MARSH IS. 268/269/280/281           SM 281             G02600              Federal        RT         4/1/1974                        3,214                   Fieldwood En            31.9%        PROD
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Field                                      Block       Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator       WI        Lease Status
SOUTH MARSH IS. 66                        SM 66       G01198   Federal     RT      6/1/1962     9/25/2019          5,000            Fieldwood En      50.0%      TERMIN
VERMILION 272 / SOUTH MARSH 102           SM 87       G24870   Federal     RT      5/1/2003                        3,077              Castex Off     100.0%       PROD
SOUTH PASS 60                              SP 17      G02938   Federal     RT     11/1/1974                         962           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 37                              SP 37       00697   Federal    OP 1    10/1/1959         –              2,500            Whitney O&G       44.0%       PROD
SOUTH PASS 42/43 FED / SL LA              SP 42        03011    SL‐ LA    WI          –             –                –                    –          100.0%        SOP
SOUTH PASS 60                              SP 59      G02942   Federal     RT     11/1/1974                        1,657          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 59      G02943   Federal     RT     11/1/1974                         907           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                          SP 59, SP 60   G01608   Federal     RT      7/1/1967                        3,510          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 6       G03337   Federal    RT       4/1/1976                         318           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 6       G03337   Federal    OP       4/1/1976                         318           Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 60      G02137   Federal     RT     11/1/1971                        1,762          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 61      G01609   Federal     RT      7/1/1967                        5,000            Fieldwood En     100.0%       UNIT
SOUTH PASS 60                              SP 61      G01609   Federal    OP 1     7/1/1967                        5,000            Fieldwood En     100.0%       UNIT
SOUTH PASS 60                              SP 66      G01611   Federal     RT      6/1/1967                        4,310          Fieldwood En Off   100.0%       UNIT
SOUTH PASS 60                              SP 67      G01612   Federal     RT      7/1/1967                        5,000          Fieldwood En Off   100.0%       UNIT
SHIP SHOAL 149                            SS 149       00434   Federal    OP 1     1/1/1955     2/25/2020          5,000              W & T Off         3.0%     TERMIN
SHIP SHOAL 149                            SS 149       00434   Federal    OP 2     1/1/1955     2/25/2020          5,000              W & T Off         3.0%     TERMIN
SHIP SHOAL 149                            SS 149       00434   Federal    OP 1     1/1/1955     2/25/2020          5,000               W&T Off          3.0%     TERMIN
SHIP SHOAL 149                            SS 149       00434   Federal    OP 2     1/1/1955     2/25/2020          5,000               W&T Off          3.0%     TERMIN
SHIP SHOAL 169/182/193/194                SS 169       00820   Federal     RT      4/1/1960                        5,000            Fieldwood En      33.3%       PROD
SHIP SHOAL 177                            SS 177       00590   Federal     RT      9/1/1955                        5,000              W & T Off       25.0%       PROD
SHIP SHOAL 189                            SS 189      G04232   Federal    OP 5    12/1/1979                        5,000            Fieldwood En        1.0%      PROD
SHIP SHOAL 204                            SS 204      G01520   Federal     RT      7/1/1967                        5,000            Fieldwood En      20.9%       PROD
SHIP SHOAL 204                            SS 204      G01520   Federal     RT      7/1/1967                        5,000            Fieldwood En        0.2%      PROD
SHIP SHOAL 190/206/216                    SS 206      G01522   Federal     RT      7/1/1967                        5,000            Fieldwood En      40.0%       UNIT
SHIP SHOAL 190/206/216                    SS 207      G01523   Federal     RT      7/1/1967                        5,000            Fieldwood En      27.5%       UNIT
SHIP SHOAL 190/206/216                    SS 207      G01523   Federal     RT      7/1/1967                        5,000            Fieldwood En        0.3%      UNIT
SHIP SHOAL 190/206/216                    SS 207      G01523   Federal     OP      7/1/1967                        5,000            Fieldwood En        0.3%      UNIT
SHIP SHOAL 214                            SS 214       00828   Federal     RT      5/1/1960                        5,000              W & T Off       35.5%       PROD
SHIP SHOAL 214                            SS 214       00828   Federal    OP 1     5/1/1960                        5,000              W & T Off       13.5%       PROD
SHIP SHOAL 190/206/216                    SS 216      G01524   Federal     RT      7/1/1967                        5,000            Fieldwood En      19.7%       PROD
SHIP SHOAL 190/206/216                    SS 216      G01524   Federal     RT      7/1/1967                        5,000            Fieldwood En        0.3%      PROD
SHIP SHOAL 233/238                        SS 232      G15293   Federal     RT      9/1/1995     2/10/2012          5,000              W & T Off       33.8%      TERMIN
SHIP SHOAL 214                            SS 233      G01528   Federal     RT      7/1/1967                        5,000              W & T Off       33.8%       PROD
SHIP SHOAL 233/238                        SS 238      G03169   Federal     RT      7/1/1975                        5,000              W & T Off       34.5%       PROD
SHIP SHOAL 233/238                        SS 238      G03169   Federal    OP 2     7/1/1975                        5,000          Peregrine O&G II    34.5%       PROD
SHIP SHOAL 246/247/248/270/271            SS 246      G01027   Federal   OP 11     6/1/1962                        5,000          Fieldwood En Off    80.7%      TERMIN
SHIP SHOAL 246/247/248/270/271            SS 246      G01027   Federal   OP 13     6/1/1962                        5,000          Fieldwood En Off    76.8%      TERMIN
SHIP SHOAL 246/247/248/270/271            SS 247      G01028   Federal    RT B     6/1/1962                        5,000          Fieldwood En Off    89.2%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 247      G01028   Federal    RT C     6/1/1962                        5,000          Fieldwood En Off    77.3%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 248      G01029   Federal    RT B     6/1/1962                        5,000          Fieldwood En Off    77.3%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 249      G01030   Federal    OP 1     6/1/1962                        5,000          Fieldwood En Off    79.7%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 249      G01030   Federal    OP 2     6/1/1962                        5,000          Fieldwood En Off    68.8%       UNIT
SHIP SHOAL 252/253                        SS 252      G01529   Federal     RT      7/1/1967                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 252      G01529   Federal    OP 1     7/1/1967                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 252      G01529   Federal    OP 2     7/1/1967                        5,000          Fieldwood En Off    31.9%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal     RT      6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 1     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 2     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 4     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 252/253                        SS 253      G01031   Federal    OP 5     6/1/1962                        5,000          Fieldwood En Off   100.0%       PROD
SHIP SHOAL 246/247/248/270/271            SS 270      G01037   Federal     RT     3/13/1962                        5,000          Fieldwood En Off    89.2%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 271      G01038   Federal     RT     3/13/1962                        5,000          Fieldwood En Off    72.3%       UNIT
SHIP SHOAL 246/247/248/270/271            SS 271      G01038   Federal     OP     3/13/1962                        5,000          Fieldwood En Off    72.3%       UNIT
SHIP SHOAL 300/314/315                    SS 291      G02923   Federal    RT B    12/1/1974                        3,750            Fieldwood En      15.4%      OPERNS
SHIP SHOAL 300/314/315                    SS 300      G07760   Federal     RT      8/1/1985                        5,000              W & T Off       24.3%       PROD
SHIP SHOAL 300/314/315                    SS 315      G09631   Federal     RT      6/1/1988                        5,000              W & T Off       25.0%       PROD
                                          ST 169      G01253   Federal     RT      6/1/1962      1/8/2010          4,708              Beryl O&G      100.0%      TERMIN
SOUTH TIMBALIER 195                       ST 195      G03593   Federal     RT      8/1/1977      2/5/2019          5,000          Fieldwood En Off   100.0%      TERMIN
SOUTH TIMBALIER 316                       ST 315      G23946   Federal     RT      7/1/2002                        4,458              W & T Off       50.0%       PROD
SOUTH TIMBALIER 316                       ST 316      G22762   Federal     RT      6/1/2001                        4,435              W & T Off       40.0%       PROD
VIOSCA KNOLL 780                          VK 824      G15436   Federal   CONT      9/1/1995     8/20/2013          5,760            Fieldwood En        6.1%     RELINQ
VIOSCA KNOLL 826 (NEPTUNE)                VK 826      G06888   Federal     RT      6/1/1984     5/16/2018           5760            Fieldwood En     100.0%      TERMIN
VK0826‐VIOSCA KNOLL 826 (NEPTUNE) SWO     VK 917      G15441   Federal     OP      7/1/1995                         5760            Fieldwood En      85.0%       PROD
VIOSCA KNOLL 917 / 962 (SWORDFISH)        VK 962      G15445   Federal    OP 1     7/1/1995      8/4/2019           5760            Fieldwood En      85.0%      TERMIN
VERMILION 196                             VR 196      G19760   Federal    OP 1     8/1/1998                        5,000          Fieldwood En Off    63.1%      TERMIN
VERMILION 196                             VR 207      G19761   Federal    OP 1     8/1/1998     7/27/2009          5,000          Fieldwood En Off    46.4%      RELINQ
VERMILION 261/262                         VR 261      G03328   Federal     RT      4/1/1976     8/10/2020          5,429            Fieldwood En      25.0%      TERMIN
VERMILION 261/262                         VR 261      G03328   Federal    OP 1     4/1/1976     8/10/2020          5,429            Fieldwood En      25.0%      TERMIN
VERMILION 261/262                         VR 262      G34257   Federal     RT     10/1/2012     7/7/2017           5,485            Fieldwood En      25.0%      RELINQ
VERMILION 272 / SOUTH MARSH 102           VR 272      G23829   Federal     RT      6/1/2002                        4,381          Fieldwood En Off   100.0%       PROD
VERMILION 272 / SOUTH MARSH 102           VR 273      G14412   Federal    OP 3     5/1/1994      6/1/2010          5,000          Fieldwood En Off   100.0%      TERMIN
VERMILION 279                             VR 279      G11881   Federal    OP 1     5/1/1990                        5,000             Talos En Off     50.0%      TERMIN
VERMILION 313                             VR 313      G01172   Federal    OP 1     6/1/1962                        5,000          Fieldwood En Off   100.0%      TERMIN
VERMILION 313                             VR 313      G01172   Federal    OP 2     6/1/1962                        5,000          Fieldwood En Off   100.0%      TERMIN
VERMILION 408                             VR 408      G15212   Federal   CONT      7/1/1995                        5,000            Fieldwood En      33.2%       PROD
WEST CAMERON 171                         WC 171       G01997   Federal     RT      1/1/1971     1/31/2014          5,000                 XTO          33.5%      TERMIN
WEST CAMERON 295                         WC 295       G24730   Federal    OP 1     5/1/2003                        5,000            Fieldwood En      13.8%       PROD
WEST CAMERON 485/507                     WC 485       G02220   Federal     RT      2/1/1973                        5,000          Fieldwood En Off   100.0%       UNIT
WEST CAMERON 498                         WC 498       G03520   Federal     RT      8/1/1977                        5,000                Cox Op          3.7%      PROD
WEST CAMERON 485/507                     WC 507       G02549   Federal     RT      4/1/1974                        2,500          Fieldwood En Off   100.0%       UNIT
WEST CAMERON 485/507                     WC 507       G02549   Federal    OP 1     4/1/1974                        2,500          Fieldwood En Off    50.0%       UNIT
WEST CAMERON 485/507                     WC 507       G10594   Federal     RT      6/1/1989                        2,500          Fieldwood En Off   100.0%       UNIT
WEST CAMERON 35/65/66                     WC 65       G02825   Federal    OP 4    12/1/1974                        5,000            Fieldwood En      18.8%       PROD
WEST CAMERON 35/65/66                     WC 66       G02826   Federal    OP 2    12/1/1974                        3,750            Fieldwood En      25.0%       PROD
                                          WC 67       G03256   Federal   CONT      9/1/1975                        5,000            Fieldwood En       17.5%     TERMIN
WEST CAMERON 71/72/102                    WC 72       G23735   Federal     RT      7/1/2002                        5,000          Fieldwood En Off    75.0%       PROD
                                          WC 96       G23740   Federal    OP 1     5/1/2002                        5,000                 Talos        25.0%       UNIT
WEST DELTA 90/103                        WD 103       G12360   Federal    OP 1     5/1/1960                        1,016            Fieldwood En      18.8%       PROD
WEST DELTA 121/122                       WD 121       G19843   Federal    OP 1     8/1/1998                        5,000            Fieldwood En      16.0%       PROD
WEST DELTA 121/122                       WD 122       G13645   Federal    OP 1     8/1/1992                        5,000            Fieldwood En      16.0%       PROD
WEST DELTA 121/122                       WD 122       G13645   Federal    OP 2     8/1/1992                        5,000            Fieldwood En      16.0%       PROD
WEST DELTA 27                             WD 27       G04473   Federal    RT B    11/1/1980                        5,000               Cox Op         13.8%       PROD
WEST DELTA 79/80                    D 57, WD 79, WD   G01449   Federal     RT      5/1/1966                        3,125          Fieldwood En Off   100.0%       UNIT
WEST DELTA 63/64                          WD 63       G19839   Federal    OP 1     6/1/1998     5/25/2016          5,000           Peregrine O&G      12.5%      RELINQ
WEST DELTA 63/64                          WD 64       G25008   Federal     RT      5/1/2003     2/21/2017          5,000           Peregrine O&G        5.9%     TERMIN
WEST DELTA 73/74                          WD 73       G01083   Federal    OP 2     6/1/1962                        5,000               Cox Op           5.9%      UNIT
WEST DELTA 73/74                          WD 74       G01084   Federal    OP 1     6/1/1962                        5,000               Cox Op           5.9%      UNIT
WEST DELTA 79/80                      WD 79, WD 80    G01874   Federal     RT     12/1/1968                        3,438          Fieldwood En Off   100.0%       UNIT
WEST DELTA 79/80                          WD 80       G01989   Federal     RT      8/1/1970                        1,875          Fieldwood En Off   100.0%       UNIT
WEST DELTA 79/80                          WD 80       G02136   Federal     RT      1/1/1972                         938           Fieldwood En Off   100.0%       UNIT
WEST DELTA 86                             WD 85       G04895   Federal     RT     12/1/1981     5/9/2019           2,630          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 85       G04895   Federal    OP 1    12/1/1981     5/9/2019           2,630          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G02934   Federal     RT     12/1/1974     8/30/2010          2,500               SPN Res       100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal     RT      1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal    OP 1     1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal    OP 2     1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
WEST DELTA 86                             WD 86       G04243   Federal    OP 3     1/1/1980     6/27/2020          2,500          Fieldwood En Off   100.0%      TERMIN
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Field                       Block     Lease    Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator       WI       Lease Status
WEST DELTA 90/103           WD 90    G01089   Federal    OP 3     6/1/1962                        5,000            Fieldwood En      18.8%      PROD
GREEN CANYON 200 (Troika)   GC 201   G12210   Federal   RT NE4    5/1/1990                         5760          Fieldwood En Off   100.0%      UNIT
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Asset Name                      FWE Acct. Code            Lease Number        API
ACOM O H EST GU 3R              ACOMGU3                      168986      42071321150
ARCO SANGER EST 5               ARCOSANG5                     09061      422973358000
BRAZOS A‐102 #A002              BAA102A02                    G01754      427054002500
BRAZOS A‐105 #002               BAA105002                    G01757      427054000400
BRAZOS A‐105 #A001              BAA105A01                    G01757      427054003100
BRAZOS A‐105 #A003              BAA105A03                    G01757      427054002900
BRAZOS A‐105 #A004              BAA105A04                    G01757      427054003000
BRAZOS A‐105 #A005              BAA105A05                    G01757      427054003200
BRAZOS A‐105 #B001              BAA105B010                   G01757      427054012200
BRAZOS A‐105 #B002              BAA105B020                   G01757      427054012600
BRAZOS A‐105 #B003              BAA105B030                   G01757      427054012800
BRAZOS A‐105 #B004              BAA105B040                   G01757      427054013000
BRAZOS A‐105 #B005              BAA105B050                   G01757      427054013300
BRAZOS A‐133 #A001              BAA133A010                   G02665      427054002400
BRAZOS A‐133 #A002              BAA133A020                   G02665      427054003300
BRAZOS A‐133 #A003              BAA133A030                   G02665      427054003500
BRAZOS A‐133 #A004 ST1          BAA133A041                   G02665      427054004301
BRAZOS A‐133 #A005 ST1          BAA133A051                   G02665      427054004001
BRAZOS A‐133 #A006              BAA133A060                   G02665      427054004500
BRAZOS A‐133 #A007              BAA133A070                   G02665      427054004800
BRAZOS A‐133 #A008              BAA133A080                   G02665      427054005200
BRAZOS A‐133 #A009              BAA133A090                   G02665      427054005400
BRAZOS A‐133 #A010              BAA133A100                   G02665      427054013100
BRAZOS A‐133 #C001              BAA133C010                   G02665      427054007800
BRAZOS A‐133 #C002              BAA133C020                   G02665      427054008200
BRAZOS A‐133 #C003              BAA133C030                   G02665      427054010700
BRAZOS A‐133 #C004              BAA133C040                   G02665      427054013500
BRAZOS A‐133 #D001 ST1          BAA133D011                   G02665      427054009201
BRAZOS A‐133 #D003              BAA133D030                   G02665      427054012700
BRETON SOUND 053 #001 SL3770    SL0377001                     03770       1.7726E+11
BRETON SOUND 053 #007 SL 3770   SL0377007                     03770      177262015800
BRETON SOUND 053 #008 SL 3770   SL0377008                     03770      177262016300
EAST BREAKS 158 #A003           EB158A03                     G02645      608044004104
EAST BREAKS 158 #A007           EB158A07                     G02645      608044005100
EAST BREAKS 158 #A012           EB158A12                     G02645      608044005601
EAST BREAKS 158 #A014           EB158A14                     G02645      608044005901
EAST BREAKS 159 #A002           EB159A02                     G02646      608044003800
EAST BREAKS 159 #A005           EB159A05                     G02646      608044004503
EAST BREAKS 159 #A006           EB159A06                     G02646      608044004401
EAST BREAKS 159 #A009           EB159A09                     G02646      608044005200
EAST BREAKS 159 #A011           EB159A11                     G02646      608044005400
EAST BREAKS 159 #A017           EB159A17                     G02646      608044018300
EAST BREAKS 160 #A005 HB‐2      EB160A05                     G02647      608044003700
EAST BREAKS 160 #A009 HB2       EB160A09                     G02647      608044005800
EAST BREAKS 160 #A010 GA1       EB160A10                     G02647      608044008702
EAST BREAKS 160 #A016           EB160A16                     G02647      608044006000
EAST BREAKS 160 #A018 ST4       EB160A18                     G02647      608044006904
EAST BREAKS 160 #A023           EB160A23                     G02647      608044003900
EAST BREAKS 160 #A025           EB160A25                     G02647      608044004600
EAST BREAKS 160 #A027 HB2       EB160A27                     G02647      608044004900
EAST BREAKS 160 #A031 HB2       EB160A31                     G02647      608044008400
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Asset Name                      FWE Acct. Code            Lease Number        API
EAST BREAKS 160 #A033 ST TA     EB160A33                     G02647      608044007002
EAST BREAKS 161 #002 (CORONA)   EB16102                      G02648      608044022600
EAST BREAKS 161 #A001 ST        EB161A01                     G02648      608044002801
EAST BREAKS 161 #A002           EB161A02                     G02648      608044003100
EAST BREAKS 161 #A003 HB4       EB161A03                     G02648      608044002900
EAST BREAKS 161 #A007 GM1       EB161A07                     G02648      608044004300
EAST BREAKS 161 #A008 HB2       EB161A08                     G02648      608044004800
EAST BREAKS 161 #A013 ST        EB161A13                     G02648      608044024501
EAST BREAKS 161 #A029 GA3       EB161A29                     G02648      608044005300
EAST BREAKS 165 #A001           EB165A01                     G06280      608044010800
EAST BREAKS 165 #A002           EB165A02                     G06280      608044010900
EAST BREAKS 165 #A003           EB165A03                     G06280      608044011100
EAST BREAKS 165 #A004           EB165A04                     G06280      608044011200
EAST BREAKS 165 #A005           EB165A05                     G06280      608044011300
EAST BREAKS 165 #A007           EB165A07                     G06280      608044011700
EAST BREAKS 165 #A008           EB165A08                     G06280      608044011600
EAST BREAKS 165 #A009           EB165A09                     G06280      608044011900
EAST BREAKS 165 #A010           EB165A10                     G06280      608044011802
EAST BREAKS 165 #A011           EB165A11                     G06280      608044012300
EAST BREAKS 165 #A012           EB165A12                     G06280      608044012200
EAST BREAKS 165 #A014           EB165A14                     G06280      608044012501
EAST BREAKS 165 #A015           EB165A15                     G06280      608044012800
EAST BREAKS 165 #A017           EB165A17                     G06280      608044013100
EAST BREAKS 165 #A018           EB165A18                     G06280      608044013201
EAST BREAKS 165 #A019           EB165A19                     G06280      608044013302
EAST BREAKS 165 #A020           EB165A20                     G06280      608044013501
EAST BREAKS 165 #A021           EB165A21                     G06280      608044013400
EAST BREAKS 165 #A022           EB165A22                     G06280      608044013700
EAST BREAKS 165 #A023           EB165A23                     G06280      608044013600
EAST BREAKS 165 #A024           EB165A24                     G06280      608044014000
EAST BREAKS 165 #A025           EB165A25                     G06280      608044013900
EAST BREAKS 165 #A026           EB165A26                     G06280      608044014100
EAST BREAKS 165 #A029           EB165A29                     G06280      608044014401
EAST BREAKS 165 #A030           EB165A30                     G06280      608044014501
EAST BREAKS 209 #A013 GA RA13   EB209A13                     G07397      608044012400
EAST CAMERON 330 #B003          EC330B03                     G03540      177044055600
EAST CAMERON 330 #B004          EC330B04                     G03540      177044055800
EAST CAMERON 330 #B005          EC330B05                     G03540      177044056100
EAST CAMERON 330 #B006          EC330B06                     G03540      177044056200
EAST CAMERON 330 #B008          EC330B08                     G03540      177044056800
EAST CAMERON 331 #A001          EC331A01                     G08658      177044076300
EAST CAMERON 331 #A003          EC331A03                     G08658      177044076400
EAST CAMERON 331 #A004          EC331A04                     G08658      177044076700
EAST CAMERON 331 #A009          EC331A09                     G08658      177044079400
EAST CAMERON 331 #A010          EC331A10                     G08658      177044079500
EAST CAMERON 331 #A012          EC331A12                     G08658      177044083300
EAST CAMERON 331 #A013          EC331A13                     G08658      177044083400
EAST CAMERON 332 #A002          EC332A02                     G09478      177044076200
EAST CAMERON 332 #A005          EC332A05                     G09478      177044076800
EAST CAMERON 332 #A006          EC332A06                     G09478      177044077301
EAST CAMERON 332 #A007          EC332A07                     G09478      177044077400
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Asset Name                   FWE Acct. Code            Lease Number        API
EAST CAMERON 332 #A008       EC332A08                     G09478      177044077700
EAST CAMERON 332 #A011       EC332A11                     G09478      177044083101
EAST CAMERON 332 #A014       EC332A14                     G09478      177044094600
EAST CAMERON 332 #A016       EC332A16                     G09478      177044097901
EAST CAMERON 332 #A017       EC332A17                     G09478      177044078103
EAST CAMERON 349 #A001       EC349A01                     G15157      177044082700
EAST CAMERON 349 #A002U      EC349A02U                    G13592      177044081400
EAST CAMERON 349 #A004       EC349A04                     G14385      177044097700
EAST CAMERON 350 #A005 S04   EC350A05                     G15157      177044098200
EAST CAMERON 356 #A003       EC356A03                     G13592      177044097301
EAST CAMERON 371 #A002       EC371A02                     G02267      177044094300
EUGENE IS 032 #008           EI03208                       00196      177090061800
EUGENE IS 032 #010           EI03210                       00196      177090072400
EUGENE IS 032 #011           EI03211                       00196      177090054400
EUGENE IS 032 #012           EI03212                       00196      177090054500
EUGENE IS 032 #016           EI03216                       00196      177090061500
EUGENE IS 032 #020           EI03220                       00196      177092019100
EUGENE IS 032 #022           EI03222                       00196      177094014800
EUGENE IS 032 #024           EI03224                       00196      177094032800
EUGENE IS 032 #026           EI03226                       00196      177094097200
EUGENE IS 032 #028           EI03228                       00196      177094098601
EUGENE IS 032 #029           EI03229                       00196      177094110003
EUGENE IS 032 #030           EI03230                       00196      177094116401
EUGENE IS 032 #031           EI03231                       00196      177094126501
EUGENE IS 032 #032           EI03232                       00196      177094126700
EUGENE IS 032 #033           EI03233                       00196      177094136900
EUGENE IS 032 #A001          EI032A01                      00196      177090052800
EUGENE IS 032 #A002          EI032A02                      00196      177090052901
EUGENE IS 032 #A003          EI032A03                      00196      177090053000
EUGENE IS 032 #A005          EI032A05                      00196      177090053200
EUGENE IS 032 #A006          EI032A06                      00196       1770900533
EUGENE IS 032 #E001          EI032E01                      00196      177090053800
EUGENE IS 032 #E002          EI032E02                      00196      177090053900
EUGENE IS 032 #E003          EI032E03                      00196      177090054000
EUGENE IS 032 #E004          EI032E04                      00196      177090054100
EUGENE IS 032 #F001          EI032F01                      00196      177090054200
EUGENE IS 053 #008D          EI053008D0                    00479      177094086200
EUGENE IS 053 #009           EI05300900                    00479      177094094000
EUGENE IS 053 #B001D         EI053B01D0                    00479      177094085900
EUGENE IS 053 #C002          EI053C0200                    00479      177094122600
EUGENE IS 053 #G001 ST1      EI053G01D2                    00479      177094144201
EUGENE IS 100 #013           EI10013                       00796      177090032601
EUGENE IS 100 #020           EI10020                       00796      177090088800
EUGENE IS 100 #024           EI10024                       00796      177092019204
EUGENE IS 100 #027           EI10027                       00796      177092018602
EUGENE IS 100 #030           EI10030                       00796      177094052700
EUGENE IS 100 #031           EI10031                       00796      177094091603
EUGENE IS 100 #033           EI10033                       00796      177094093001
EUGENE IS 100 #041           EI10041                       00796      177094115601
EUGENE IS 175 #D008          EI175D0800                    00438      177094003900
EUGENE IS 175 #F001 ST1      EI175F0101                    00438      177094035401
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Asset Name                   FWE Acct. Code            Lease Number        API
EUGENE IS 175 #F003 ST       EI175F0302                    00438      177094039702
EUGENE IS 175 #F004 ST       EI175F0401                    00438      177094041001
EUGENE IS 175 #F005          EI175F0500                    00438      177094042900
EUGENE IS 175 #F007          EI175F0700                    00438      177094048900
EUGENE IS 175 #F009          EI175F0901                    00438      177094087601
EUGENE IS 175 #H002          EI175H0200                    00438      177094106700
EUGENE IS 175 #H003          EI175H0300                    00438      177094110800
EUGENE IS 175 #H004          EI175H0400                    00438      177094110900
EUGENE IS 175 #H005 ST1BP1   EI175H0502                    00438      177094112002
EUGENE IS 175 #I002          EI175I0201                    00438      177094107101
EUGENE IS 175 #I004          EI175I0400                    00438      177094109200
EUGENE IS 175 #J002 ST1      EI175J0201                    00438      177094123201
EUGENE IS 307 #A001          EI307A01                     G02110      177104007400
EUGENE IS 307 #A002          EI307A02                     G02110      177104042401
EUGENE IS 307 #A003          EI307A03                     G02110      177104059300
EUGENE IS 307 #A004          EI307A04                     G02110      177104060900
EUGENE IS 307 #A005          EI307A05                     G02110      177104062000
EUGENE IS 307 #A006          EI307A06                     G02110      177104065900
EUGENE IS 307 #A007          EI307A07                     G02110      177104067100
EUGENE IS 307 #A008          EI307A08                     G02110      177104164600
EUGENE IS 307 #B001          EI307B01                     G02110      177104078501
EUGENE IS 307 #B003          EI307B03                     G02110      177104113302
EUGENE IS 307 #B008          EI307B08                     G02110      177104153802
EUGENE IS 311 #D003          EI311D03                     G27918      177104162000
EUGENE IS 312 #D001          EI312D0100                   G22679      177104160900
EUGENE IS 312 #D002          EI312D0200                   G22679      177104161900
EUGENE IS 330 #B015 ST1      EI330B1501                   G02115      177104028601
EUGENE IS 342 #004           EI34200400                   G02319      177104113000
EUGENE IS 342 #C002 ST1      EI342C0201                   G02319      177104110601
EUGENE IS 342 #C003          EI342C0300                   G02319      177104114000
EUGENE IS 342 #C004          EI342C0401                   G02319      177104120101
EUGENE IS 342 #C005          EI342C0502                   G02319      177104120202
EUGENE IS 342 #C006          EI342C0600                   G02319      177104120300
EUGENE IS 342 #C007          EI342C0700                   G02319      177104120800
EUGENE IS 342 #C008          EI342C0800                   G02319      177104121000
EUGENE IS 342 #C009          EI342C0900                   G02319      177104121300
EUGENE IS 342 #C011          EI342C1100                   G02319      177104122000
EUGENE IS 342 #C012          EI342C1200                   G02319      177104122200
EUGENE IS 342 #C013          EI342C1300                   G02319      177104122700
EUGENE IS 342 #C014          EI342C1400                   G02319      177104135800
EUGENE IS 342 #C015          EI342C1501                   G02319      177104162101
EUGENE IS 342 #C016          EI342C1601                   G02319      177104162201
EUGENE IS 342 #C017 BP1      EI342C1701                   G02319      177104162501
EVANS GAS UNIT 1             EVANSGASU1                    19334       4216701288
EVANS OIL UNIT 1             EVANSOILU1                    19334       4216701288
EWING BANK 782 #A012         EW826A1200                   G05793      608105001800
FROST ‐ ACOM GU 1            FROSTAC1                     189098      42071320621
FROST ‐ ACOM GU 2            FROSTAC2                     206882      42071320921
GALVESTON 151 #005           GA15100500                   G15740      427064044200
GALVESTON 210 #001           GA21000100                   G25524      427064044300
GALVESTON 210 #002           GA21000200                   G25524      427064044800
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Asset Name                       FWE Acct. Code            Lease Number        API
GALVESTON A‐155 #A001            GAA155A01                    G30654      427074010800
GREEN CANYON 064 #A040           GC064A40                     G07005      608114016202
GREEN CANYON 157 SS003           GC157003                     G24154      608114043901
GREEN CANYON 201 #001 ST2        GC201001                     G12210      608114043802
GREEN CANYON 201 SS001           GC157001                     G12210      608114043802
GREEN CANYON 245 # TA 8 TROIKA   ‐                            G05916      608114032900
HAYES LUMBER 1 ‐ HBY 4 RC SUA    HAYESLUM1                     42450       17053212861
HAYES LUMBER CO 28 2             HAYESLUM02                   Onshore     170532123800
HAYES LUMBER HBY 4 RA SUA 1ALT   HAYESLUM01                    42450      170532122800
HAYES MINERALS 29 001            HAYESMIN29                    42450      170532130600
HELIS 2                          HELIS2                        17072       1704520888
HIGH ISLAND A‐341 #B001          HIA341B010                   G25605      427114085900
HIGH ISLAND A‐341 #B002          HIA341B020                   G25605      427114087101
HIGH ISLAND A‐365 #A001          HIA365A010                   G02750      427114052200
HIGH ISLAND A‐365 #A004          HIA365A040                   G02750      427114053700
HIGH ISLAND A‐365 #A006          HIA365A060                   G02750      427114053100
HIGH ISLAND A‐365 #A007          HIA365A070                   G02750      427114054100
HIGH ISLAND A‐365 #A008          HIA365A080                   G02750      427114054800
HIGH ISLAND A‐365 #A010          HIA365A100                   G02750      427114055200
HIGH ISLAND A‐365 #A012          HIA365A120                   G02750      427114055600
HIGH ISLAND A‐365 #A013 ST1      HIA365A131                   G02750      427114055801
HIGH ISLAND A‐365 #A016          HIA365A160                   G02750      427114056700
HIGH ISLAND A‐365 #A020          HIA365A200                   G02750      427114057500
HIGH ISLAND A‐365 #A021          HIA365A210                   G02750      427114057600
HIGH ISLAND A‐365 #A024          HIA365A240                   G02750      427114066300
HIGH ISLAND A‐365 #A025          HIA365A250                   G02750      427114066500
HIGH ISLAND A‐376 #A002 ST1      HIA376A021                   G02754      427114052601
HIGH ISLAND A‐376 #A003          HIA376A030                   G02754      427114052700
HIGH ISLAND A‐376 #A005          HIA376A050                   G02754      427114053500
HIGH ISLAND A‐376 #A009          HIA376A090                   G02754      427114054400
HIGH ISLAND A‐376 #A011          HIA376A110                   G02754      427114055000
HIGH ISLAND A‐376 #A014 ST2      HIA376A142                   G02754      427114056002
HIGH ISLAND A‐376 #A015          HIA376A150                   G02754      427114056200
HIGH ISLAND A‐376 #A017          HIA376A170                   G02754      427114057200
HIGH ISLAND A‐376 #A018          HIA376A180                   G02754      427114057300
HIGH ISLAND A‐376 #A019          HIA376A190                   G02754      427114057400
HIGH ISLAND A‐376 #A022          HIA376A220                   G02754      427114057700
HIGH ISLAND A‐376 #B001          HIA376B010                   G02754      427114068700
HIGH ISLAND A‐376 #B002          HIA376B020                   G02754      427114068900
HIGH ISLAND A‐376 #B003          HIA376B031                   G02754      427114078701
HIGH ISLAND A‐376 #B004          HIA376B041                   G02754      427114079001
HIGH ISLAND A‐376 #B005          HIA376B050                   G02754      427114079600
HIGH ISLAND A‐376 #C001          HIA376C010                   G02754      427114088900
HIGH ISLAND A‐376 #C002          HIA376C020                   G02754      427114089600
HIGH ISLAND A‐376 #C003          HIA376C030                   G02754      427114089500
HIGH ISLAND A‐376 #C004          HIA376C040                   G02754      427114089400
HIGH ISLAND A‐382 #A009          HIA382A090                   G02757      427094018600
HIGH ISLAND A‐382 #B013          HIA382B130                   G02757      427094025500
HIGH ISLAND A‐382 #F001 ST1      HIA382F011                   G02757      427114059401
HIGH ISLAND A‐382 #F002          HIA382F020                   G02757      427114059800
HIGH ISLAND A‐382 #F003          HIA382F031                   G02757      427114059901
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Asset Name                    FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐382 #F004       HIA382F040                   G02757      427114060600
HIGH ISLAND A‐382 #F005       HIA382F050                   G02757      427114060900
HIGH ISLAND A‐382 #F006       HIA382F061                   G02757      427114061001
HIGH ISLAND A‐382 #F008       HIA382F080                   G02757      427114061700
HIGH ISLAND A‐382 #F010 ST5   HIA382F105                   G02757      427114062605
HIGH ISLAND A‐382 #F011       HIA382F110                   G02757      427114063100
HIGH ISLAND A‐382 #F012       HIA382F121                   G02757      427114063601
HIGH ISLAND A‐382 #F013       HIA382F130                   G02757      427114063800
HIGH ISLAND A‐382 #F014       HIA382F140                   G02757      427114063900
HIGH ISLAND A‐382 #F015       HIA382F151                   G02757      427114064701
HIGH ISLAND A‐382 #F017       HIA382F171                   G02757      427114066701
HIGH ISLAND A‐382 #F019       HIA382F190                   G02757      427114067100
HIGH ISLAND A‐382 #F020       HIA382F200                   G02757      427114067500
HIGH ISLAND A‐382 #F021       HIA382F211                   G02757      427114067801
HIGH ISLAND A‐474 #A001       HIA474A010                   G02366      427094017100
HIGH ISLAND A‐474 #A002       HIA474A020                   G02366      427094017200
HIGH ISLAND A‐474 #A003       HIA474A030                   G02366      427094019900
HIGH ISLAND A‐474 #A004       HIA474A040                   G02366      427094022800
HIGH ISLAND A‐474 #A005       HIA474A050                   G02366      427094023500
HIGH ISLAND A‐474 #A006       HIA474A060                   G02366      427094024300
HIGH ISLAND A‐474 #A007       HIA474A070                   G02366      427094027702
HIGH ISLAND A‐474 #A008       HIA474A080                   G02366      427094026100
HIGH ISLAND A‐474 #A010       HIA474A100                   G02366      427094029400
HIGH ISLAND A‐474 #A011       HIA474A110                   G02366      427094030000
HIGH ISLAND A‐474 #A012       HIA474A120                   G02366      427094030801
HIGH ISLAND A‐474 #A013       HIA474A130                   G02366      427094036104
HIGH ISLAND A‐474 #A014       HIA474A140                   G02366      427094035000
HIGH ISLAND A‐474 #A017       HIA474A170                   G02366      427094032500
HIGH ISLAND A‐474 #A020       HIA474A200                   G02366      427094038500
HIGH ISLAND A‐474 #A021       HIA474A210                   G02366      427094040700
HIGH ISLAND A‐474 #B023       HIA474B230                   G02366      427094037200
HIGH ISLAND A‐475 #A016       HIA475A16                    G02367      427094035500
HIGH ISLAND A‐489 #A009       HIA489A090                   G02372      427094028500
HIGH ISLAND A‐489 #A015       HIA489A150                   G02372      427094037000
HIGH ISLAND A‐489 #B002       HIA489B020                   G02372      427094021000
HIGH ISLAND A‐489 #B003       HIA489B030                   G02372      427094020901
HIGH ISLAND A‐489 #B007       HIA489B070                   G02372      427094027601
HIGH ISLAND A‐489 #B009       HIA489B090                   G02372      427094026500
HIGH ISLAND A‐489 #B010       HIA489B100                   G02372      427094028800
HIGH ISLAND A‐489 #B012       HIA489B120                   G02372      427094031400
HIGH ISLAND A‐489 #B013       HIA489B130                   G02372      427094028600
HIGH ISLAND A‐489 #B014       HIA489B140                   G02372      427094029700
HIGH ISLAND A‐489 #B015       HIA489B150                   G02372      427094030400
HIGH ISLAND A‐489 #B016       HIA489B160                   G02372      427094029800
HIGH ISLAND A‐489 #B017       HIA489B170                   G02372      427094023802
HIGH ISLAND A‐489 #B018       HIA489B180                   G02372      427094032801
HIGH ISLAND A‐489 #B020       HIA489B200                   G02372      427094028101
HIGH ISLAND A‐489 #B021       HIA489B210                   G02372      427094026202
HIGH ISLAND A‐489 #B022       HIA489B220                   G02372      427094036000
HIGH ISLAND A‐489 #B024       HIA489B240                   G02372      427094035400
HIGH ISLAND A‐489 #B025       HIA489B250                   G02372      427094041400
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Asset Name                    FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐489 #B026       HIA489B260                   G02372      427094043100
HIGH ISLAND A‐489 #B027       HIA489B270                   G02372      427094042501
HIGH ISLAND A‐489 #B028       HIA489B280                   G02372      427094054500
HIGH ISLAND A‐489 #B029       HIA489B290                   G02372      427094111100
HIGH ISLAND A‐550 #002        HIA55002                     G04081      427094062700
HIGH ISLAND A‐550 #003        HIA55003                     G04081      427094063700
HIGH ISLAND A‐550 #A001       HIA550A01                    G04081      427094057004
HIGH ISLAND A‐550 #A002       HIA550A02                    G04081      427094074101
HIGH ISLAND A‐550 #A003       HIA550A03                    G04081      427094076000
HIGH ISLAND A‐550 #A004       HIA550A04                    G04081      427094099501
HIGH ISLAND A‐550 #A005       HIA550A05                    G04081      427094099801
HIGH ISLAND A‐550 #A006       HIA550A06                    G04081      427094104801
HIGH ISLAND A‐563 #B001       HIA563B01                    G02388      427094029900
HIGH ISLAND A‐563 #B004       HIA563B04                    G02388      427094034402
HIGH ISLAND A‐563 #B005       HIA563B05                    G02388      427094037100
HIGH ISLAND A‐563 #B007       HIA563B07                    G02388      427094038600
HIGH ISLAND A‐563 #B008       HIA563B08                    G02388      427094038900
HIGH ISLAND A‐563 #B009       HIA563B09                    G02388      427094039601
HIGH ISLAND A‐563 #B010       HIA563B10                    G02388      427094040000
HIGH ISLAND A‐563 #B012       HIA563B12                    G02388      427094043502
HIGH ISLAND A‐563 #B013       HIA563B13                    G02388      427094040501
HIGH ISLAND A‐563 #B015       HIA563B15                    G02388      427094048000
HIGH ISLAND A‐563 #B016       HIA563B16                    G02388      427094048102
HIGH ISLAND A‐563 #B017       HIA563B17                    G02388      427094045804
HIGH ISLAND A‐563 #B018       HIA563B18                    G02388      427094052501
HIGH ISLAND A‐563 #B019       HIA563B19                    G02388      427094052000
HIGH ISLAND A‐563 #B022       HIA563B22                    G02388      427094055000
HIGH ISLAND A‐563 #B023       HIA563B23                    G02388      427094056400
HIGH ISLAND A‐563 #B024       HIA563B24                    G02388      427094056601
HIGH ISLAND A‐563 #B025       HIA563B25                    G02388      427094059300
HIGH ISLAND A‐563 #B026       HIA563B26                    G02388      427094066801
HIGH ISLAND A‐563 #B027       HIA563B27                    G02388      427094068100
HIGH ISLAND A‐563 #C004       HIA563C04                    G02388      427094059602
HIGH ISLAND A‐563 #C005       HIA563C05                    G02388      427094062800
HIGH ISLAND A‐563 #C008       HIA563C08                    G02388      427094069400
HIGH ISLAND A‐563 #C009       HIA563C09                    G02388      427094064600
HIGH ISLAND A‐564 #B006       HIA563B06                    G02389      427094033801
HIGH ISLAND A‐564 #B020       HIA564B20                    G02389      427094053102
HIGH ISLAND A‐564 #B021       HIA563B21                    G02389      427094053900
HIGH ISLAND A‐572 #A003 ST1   HIA572A031                   G02392      427094012901
HIGH ISLAND A‐572(573)A014    HIA572A140                   G02392      427094034100
HIGH ISLAND A‐573 #006        HIA5730060                   G02393      427094053700
HIGH ISLAND A‐573 #A001 ST2   HIA573A012                   G02393      427094007102
HIGH ISLAND A‐573 #A002 ST3   HIA573A023                   G02393      427094013803
HIGH ISLAND A‐573 #A004       HIA573A040                   G02393      427094015000
HIGH ISLAND A‐573 #A005 ST1   HIA573A051                   G02393      427094015501
HIGH ISLAND A‐573 #A008       HIA573A080                   G02393      427094018000
HIGH ISLAND A‐573 #A010       HIA573A100                   G02393      427094020500
HIGH ISLAND A‐573 #A015       HIA573A150                   G02393      427094034200
HIGH ISLAND A‐573 #A016       HIA573A160                   G02393      427094034300
HIGH ISLAND A‐573 #A017       HIA573A170                   G02393      427094036500
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Asset Name                    FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐573 #A019 ST1   HIA573A191                   G02393      427094038001
HIGH ISLAND A‐573 #B001       HIA573B010                   G02393      427094012800
HIGH ISLAND A‐573 #B002       HIA573B020                   G02393      427094014100
HIGH ISLAND A‐573 #B005       HIA573B050                   G02393      427094016400
HIGH ISLAND A‐573 #B006       HIA573B060                   G02393      427094017000
HIGH ISLAND A‐573 #B008       HIA573B080                   G02393      427094017900
HIGH ISLAND A‐573 #B010       HIA573B100                   G02393      427094021100
HIGH ISLAND A‐573 #B012       HIA573B120                   G02393      427094022700
HIGH ISLAND A‐573 #E007       HIA573E070                   G02393      427094098200
HIGH ISLAND A‐573 #E012       HIA573E120                   G02393      427094115000
HIGH ISLAND A‐573 #F007       HIA573F070                   G02393      427114061200
HIGH ISLAND A‐573 #F009       HIA573F090                   G02393      427114062000
HIGH ISLAND A‐573 #F016 ST5   HIA573F165                   G02393      427114066805
HIGH ISLAND A‐573 #F018 ST1   HIA573F181                   G02393      427114067301
HIGH ISLAND A‐573 #F022       HIA573F220                   G02393      427114068400
HIGH ISLAND A‐573 #F023 ST2   HIA573F232                   G02393      427114069302
HIGH ISLAND A‐581 #D004       HIA581D040                   G18959      427094112200
HIGH ISLAND A‐581 #D004       HIA581D040                   G18959      427094112200
HIGH ISLAND A‐582 #C001       HIA582C010                   G02719      427094061500
HIGH ISLAND A‐582 #C002       HIA582C020                   G02719      427094061900
HIGH ISLAND A‐582 #C003       HIA582C030                   G02719      427094058000
HIGH ISLAND A‐582 #C006       HIA582C060                   G02719      427094063400
HIGH ISLAND A‐582 #C007       HIA582C070                   G02719      427094063900
HIGH ISLAND A‐582 #C010       HIA582C100                   G02719      427094070200
HIGH ISLAND A‐582 #C011       HIA582C110                   G02719      427094071400
HIGH ISLAND A‐582 #C012       HIA582C120                   G02719      427094074900
HIGH ISLAND A‐582 #C013       HIA582C130                   G02719      427094072700
HIGH ISLAND A‐582 #C014       HIA582C140                   G02719      427094073800
HIGH ISLAND A‐582 #C015       HIA582C150                   G02719      427094075800
HIGH ISLAND A‐582 #C019       HIA582C190                   G02719      427094108200
HIGH ISLAND A‐582 #D001       HIA582D010                   G18959       42094110200
HIGH ISLAND A‐582 #D002 ST1   HIA582D021                   G02719      427094110801
HIGH ISLAND A‐582 #D003 ST    HIA582D031                   G02719      427094111401
HIGH ISLAND A‐582 #D005       HIA582D050                   G02719      427094114300
HIGH ISLAND A‐582 #D006       HIA582D060                   G02719      427094114700
HIGH ISLAND A‐595 #D001 ST2   HIA595D1D2                   G02721      427094055302
HIGH ISLAND A‐595 #D003       HIA595D03                    G02721      427094058500
HIGH ISLAND A‐595 #D005       HIA595D050                   G02721      427094092900
HIGH ISLAND A‐595 #D006       HIA595D063                   G02721      427094063205
HIGH ISLAND A‐595 #D010       HIA595D100                   G02721      427094070500
HIGH ISLAND A‐595 #D012       HIA595D120                   G02721      427094077000
HIGH ISLAND A‐595 #D017 ST2   HIA595D172                   G02721      427094083702
HIGH ISLAND A‐595 #D018       HIA595D181                   G02721      427094093501
HIGH ISLAND A‐595 #E011       HIA595E110                   G02721      427094114501
HIGH ISLAND A‐596 #B014       HIA596B140                   G02722      427094025800
HIGH ISLAND A‐596 #D002       HIA596D020                   G02722      427094056901
HIGH ISLAND A‐596 #D004       HIA596D040                   G02722      427094060500
HIGH ISLAND A‐596 #D007 ST4   HIA596D074                   G02722      427094064304
HIGH ISLAND A‐596 #D008 ST1   HIA596D081                   G02722      427094067001
HIGH ISLAND A‐596 #D009       HIA596D090                   G02722      427094068400
HIGH ISLAND A‐596 #D011       HIA596D110                   G02722      427094075700
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Asset Name                       FWE Acct. Code            Lease Number        API
HIGH ISLAND A‐596 #D013 ST2      HIA596D132                   G02722      427094079502
HIGH ISLAND A‐596 #D014          HIA596D140                   G02722      427094080100
HIGH ISLAND A‐596 #D016          HIA596D160                   G02722      427094082400
HIGH ISLAND A‐596 #E005          HIA596E050                   G02722      427094085900
HIGH ISLAND A‐596 #E008          HIA596E080                   G02722      427094112801
HIGH ISLAND A‐596 #E009          HIA596E090                   G02722      427094114200
LA ST LSE 3011 1 SWD BURRWOOD    BURWOOD                       03011      177210074800
LANDREAU ET UX 1                 LANDREAU1                    490100       UNKNOWN
MAIN PASS 077 #A001              MP077A0100                   G04481      177254033800
MAIN PASS 077 #A002              MP077A0201                   G04481      177254043101
MAIN PASS 077 #A003              MP077A0300                   G04481      177254036100
MAIN PASS 077 #A004              MP077A0400                   G04481      177254036900
MAIN PASS 077 #A005              MP077A0500                   G04481      177254038000
MAIN PASS 077 #A006 ST2          MP077A0602                   G04481      177254036402
MAIN PASS 077 #A010              MP077A1000                   G04481      177254039600
MAIN PASS 077 #A011              MP077A1100                   G04481      177254042400
MAIN PASS 077 #A012              MP077A1200                   G04481      177254039700
MAIN PASS 077 #A013              MP077A1300                   G04481      177254044900
MAIN PASS 077 #A014              MP077A1400                   G04481      177254044500
MAIN PASS 077 #A015              MP077A1501                   G04481      177254045101
MAIN PASS 077 #A016              MP077A1600                   G04481      177254045900
MAIN PASS 077 #A017              MP077A1700                   G04481      177254046200
MAIN PASS 077 #A018              MP077A1800                   G04481      177254046800
MAIN PASS 077 #A019              MP077A1900                   G04481      177254048200
MAIN PASS 077 #A020              MP077A2001                   G04481      177254048501
MAIN PASS 077 #A021 ST           MP077A2100                   G04481      177254067002
MAIN PASS 077 #A022              MP077A2201                   G04481      177254067401
MAIN PASS 077 #A023              MP077A23                     G04481      177254067601
MAIN PASS 077 #A07               MP077A0700                   G04481      177254041000
MAIN PASS 077 #A08               MP077A0800                   G04481      177254038200
MAIN PASS 077 #A09               MP077A0900                   G04481      177254039000
NW MYETTE POINT SL 14519 #001    SL1451901                     14519      171012195100
NW MYETTE POINT SL 14519 #002    SL1451902                     14519      171012200800
NW MYETTE POINT SL 14520 #002    SL1452002                     14520      171012201500
NW MYETTE POINT SL 14914 #002    SL1491402                     14914      171012206300
NW MYETTE POINT SL 14914 #003    SL1491403                     14914      171012239600
NW MYETTE POINT SL14519 #1 SWD   SL14519SWD                    14519      171018805900
SHIP SHOAL 149 #A017 (ORRI)      SS149A17                      00434      177114131300
SHIP SHOAL 149 #C001             SS149C01                      00434      177114005500
SHIP SHOAL 149 #C002             SS149C02                      00434      177114007002
SHIP SHOAL 149 #C003             SS149C03                      00434      177114016000
SHIP SHOAL 149 #C004             SS149C04                      00434      177114024301
SHIP SHOAL 149 #C005             SS149C05                      00434      177114025800
SHIP SHOAL 149 #C019 (ORRI)      SS149C19                      00434      177114132300
SHIP SHOAL 149 #E007             SS149E07                      00434      177114113100
SHIP SHOAL 169 #BB001            SS169BB010                    00820      177114048100
SHIP SHOAL 169 #BB002            SS169BB020                    00820      177114055501
SHIP SHOAL 169 #BB003            SS169BB030                    00820      177114057800
SHIP SHOAL 169 #BB004            SS169BB040                    00820      177114056500
SHIP SHOAL 169 #BB005            SS169BB050                    00820      177114059600
SHIP SHOAL 169 #BB006            SS169BB060                    00820      177114060101
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Asset Name                    FWE Acct. Code            Lease Number        API
SHIP SHOAL 169 #C001          SS169C0100                    00820      177114075600
SHIP SHOAL 169 #C003          SS169C0300                    00820      177114078500
SHIP SHOAL 169 #C004          SS169C0400                    00820      177114077400
SHIP SHOAL 169 #C006          SS169C0600                    00820      177114080201
SHIP SHOAL 169 #C007          SS169C0700                    00820      177114080601
SHIP SHOAL 169 #C008          SS169C0800                    00820      177114081300
SHIP SHOAL 169 #C009          SS169C0900                    00820      177114144400
SHIP SHOAL 169 #C010          SS169C1000                    00820      177114144800
SHIP SHOAL 169 #G001          SS169G0100                    00820      177114127400
SHIP SHOAL 169 #G002          SS169G0200                    00820      177114128500
SHIP SHOAL 169 #G003          SS169G0300                    00820      177114156600
SHIP SHOAL 177 #007           SS17700700                    00590      177114101100
SHIP SHOAL 177 #A001          SS177A01                      00590      177114056300
SHIP SHOAL 177 #A002          SS177A02                      00590      177114055000
SHIP SHOAL 177 #A003          SS177A03                      00590      177114056100
SHIP SHOAL 177 #A005          SS177A05                      00590      177114119301
SHIP SHOAL 189 #A001A         SS189A01A0                   G04232      177114062000
SHIP SHOAL 189 #A003A         SS189A03A0                   G04232      177114085200
SHIP SHOAL 189 #A005          SS189A0500                   G04232      177114088400
SHIP SHOAL 189 #A007 ST2      SS189A0702                   G04232      177114129502
SHIP SHOAL 189 #A008          SS189A0800                   G04232      177114130900
SHIP SHOAL 189 #A009 ST1      SS189A0901                   G04232      177114139801
SHIP SHOAL 189 #A010BP1       SS189A1001                   G04232      177114154701
SHIP SHOAL 189 #A4 (SS210)    SS189A04                     G04232      177114086801
SHIP SHOAL 189 #A6 (SS188)    SS189A06                     G04232      177114088900
SHIP SHOAL 204 #A008          SS204A0800                   G01520      177110083000
SHIP SHOAL 204 #A015 ST1      SS204A1501                   G01520      177112003401
SHIP SHOAL 204 #A016          SS204A1601                   G01520      177112005401
SHIP SHOAL 204 #A020          SS204A2000                   G01520      177112012600
SHIP SHOAL 204 #A024 ST1      SS204A2401                   G01520      177112017701
SHIP SHOAL 204 #A028 ST3      SS204A2803                   G01520      177110071003
SHIP SHOAL 204 #A030A         SS204A30A1                   G01520      177114002801
SHIP SHOAL 204 #A031          SS204A3101                   G01520      177110084201
SHIP SHOAL 204 #A034          SS204A3400                   G01520      177114146700
SHIP SHOAL 204 #A035          SS204A3502                   G01520      177114147402
SHIP SHOAL 204 #A036 ST1      SS204A3603                   G01520      177114146803
SHIP SHOAL 206 #E002          SS206E0201                   G01522      177114118101
SHIP SHOAL 206 #E003          SS206E0301                   G01522      177114118201
SHIP SHOAL 206 #E004          SS206E0400                   G01522      177114141800
SHIP SHOAL 206 #E005          SS206E0500                   G01522      177114142000
SHIP SHOAL 207 #A003 ST1      SS207A0301                   G01523      177110072801
SHIP SHOAL 207 #A004B         SS207A04B0                   G01523      177110075500
SHIP SHOAL 207 #A006D         SS207A06D0                   G01523      177110078200
SHIP SHOAL 207 #A008B         SS207A08B0                   G01523      177110080700
SHIP SHOAL 207 #A009          SS207A0900                   G01523      177110082400
SHIP SHOAL 207 #A010D         SS207A10D0                   G01523      177110083900
SHIP SHOAL 207 #A013          SS207A1300                   G01523      177112002500
SHIP SHOAL 207 #A015 ST1      SS207A1501                   G01523      177112010601
SHIP SHOAL 207 #A016 ST1      SS207A1601                   G01523      177112011401
SHIP SHOAL 207 #A018          SS207A1800                   G01523      177112005000
SHIP SHOAL 207 #A019ST        SS207A1901                   G01523      177114009401
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Asset Name                   FWE Acct. Code            Lease Number        API
SHIP SHOAL 207 #A020         SS207A2000                   G01523      177114010300
SHIP SHOAL 207 #A022 ST1     SS207A2201                   G01523      177114011301
SHIP SHOAL 207 #A023B        SS207A23B0                   G01523      177114013500
SHIP SHOAL 207 #A024         SS207A2400                   G01523      177114014300
SHIP SHOAL 207 #A025         SS207A2500                   G01523      177114015500
SHIP SHOAL 207 #A026         SS207A2601                   G01523      177112001101
SHIP SHOAL 207 #A027         SS207A2701                   G01523      177110079401
SHIP SHOAL 207 #A028         SS207A2801                   G01523      177110077301
SHIP SHOAL 207 #A029 ST      SS207A2901                   G01523      177112001901
SHIP SHOAL 207 #A030         SS207A3001                   G01523      177110071501
SHIP SHOAL 207 #A031 ST2     SS207A3102                   G01523      177114117702
SHIP SHOAL 207 #A032         SS207A3201                   G01523      177114119701
SHIP SHOAL 207 #A033 ST1     SS207A3301                   G01523      177114121901
SHIP SHOAL 207 #A034         SS207A3400                   G01523      177114122200
SHIP SHOAL 207 #A035 ST1     SS207A3501                   G01523      177114133301
SHIP SHOAL 207 #A036         SS207A3600                   G01523      177114137700
SHIP SHOAL 207 #D002         SS207D0200                   G01523      177114025400
SHIP SHOAL 207 #D007         SS207D0700                   G01523      177114030300
SHIP SHOAL 207 #D008         SS207D0800                   G01523      177114032300
SHIP SHOAL 207 #D009         SS207D0900                   G01523      177114116400
SHIP SHOAL 207 #D010 ST1     SS207D1001                   G01523      177114116501
SHIP SHOAL 214 #004          SS21404                       00828      177110060600
SHIP SHOAL 214 #E003         SS214E03                      00828      177110071100
SHIP SHOAL 214 #E004         SS214E04                      00828      177110073500
SHIP SHOAL 214 #E007         SS214E07                      00828      177110070200
SHIP SHOAL 214 #E014         SS214E14                      00828      177110076400
SHIP SHOAL 214 #F003         SS214F03                      00828      177110069900
SHIP SHOAL 214 #F005         SS214F05                      00828      177110073600
SHIP SHOAL 214 #F006         SS214F06                      00828      177110075600
SHIP SHOAL 214 #F007         SS214F07                      00828      177110075801
SHIP SHOAL 214 #F008         SS214F08                      00828      177110077200
SHIP SHOAL 214 #F009         SS214F09                      00828      177110078000
SHIP SHOAL 214 #F014         SS214F14                      00828      177110078600
SHIP SHOAL 214 #H004         SS214H04                      00828      177112017100
SHIP SHOAL 214 #H007         SS214H07                      00828      177114000900
SHIP SHOAL 214 #H008         SS214H08                      00828      177114002100
SHIP SHOAL 214 #H009         SS214H09                      00828      177114002600
SHIP SHOAL 214 #H011         SS214H11                      00828      177114003500
SHIP SHOAL 214 #H012         SS214H12                      00828      177114004000
SHIP SHOAL 214 #K001         SS214K01                      00828      177114053900
SHIP SHOAL 214 #K002         SS214K02                      00828      177114054000
SHIP SHOAL 214 #K008         SS214K08                      00828      177114145700
SHIP SHOAL 214 #K010         SS214K10                      00828      177114144300
SHIP SHOAL 214 #K011         SS214K11                      00828      177114147300
SHIP SHOAL 214 #L001         SS214L01                      00828      177114066500
SHIP SHOAL 214 #L002         SS214L02                      00828      177114068100
SHIP SHOAL 214 #L003         SS214L03                      00828      177114068300
SHIP SHOAL 214 #L004         SS214L04                      00828      177114070100
SHIP SHOAL 214 #L005         SS214L05                      00828      177114070200
SHIP SHOAL 214 #L006         SS214L06                      00828      177114074601
SHIP SHOAL 214 #L007         SS214L07                      00828      177114075500
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Asset Name                     FWE Acct. Code            Lease Number        API
SHIP SHOAL 214 #L008           SS214L08                      00828      177114076101
SHIP SHOAL 216 #C004 ST1       SS216C0401                   G01524      177112014901
SHIP SHOAL 216 #C005A          SS216C05A0                   G01524      177112017400
SHIP SHOAL 216 #C007 ST1       SS216C0701                   G01524      177114001201
SHIP SHOAL 216 #C009 ST1       SS216C0901                   G01524      177114003801
SHIP SHOAL 216 #C010           SS216C1000                   G01524      177114004900
SHIP SHOAL 216 #C012C          SS216C12C0                   G01524      177114006700
SHIP SHOAL 216 #C013           SS216C1300                   G01524      177114007700
SHIP SHOAL 216 #C015           SS216C1500                   G01524      177114009000
SHIP SHOAL 216 #C016           SS216C1601                   G01524      177114000101
SHIP SHOAL 216 #C017A          SS216C17A1                   G01524      177114003001
SHIP SHOAL 216 #C019           SS216C1900                   G01524      177114031900
SHIP SHOAL 216 #C023           SS216C2300                   G01524      177114134600
SHIP SHOAL 216 #C024 ST2       SS216C2402                   G01524      177114135102
SHIP SHOAL 232 #B012           SS233B12                     G15293       1771141070
SHIP SHOAL 232 #B02            SS233002                     G15293       1771140371
SHIP SHOAL 233 #B001           SS233B01                     G01528      177114028700
SHIP SHOAL 233 #B003           SS233B03                     G01528      177114059800
SHIP SHOAL 233 #B004           SS233B04                     G01528      177114060400
SHIP SHOAL 233 #B006           SS233B06                     G01528      177114063500
SHIP SHOAL 233 #B007           SS233B07                     G01528      177114065400
SHIP SHOAL 233 #B010           SS233B10                     G01528      177114069901
SHIP SHOAL 233 #B011           SS233B11                     G01528      177114073201
SHIP SHOAL 233 #E006           SS233E06                     G01528      177110071900
SHIP SHOAL 233 #H005           SS233H05                     G01528      177112017800
SHIP SHOAL 238 #A001           SS238A01                     G03169      177124023400
SHIP SHOAL 238 #A003           SS238A03                     G03169      177124025701
SHIP SHOAL 238 #A005           SS238A05                     G03169      177124027200
SHIP SHOAL 238 #B005           SS238B05                     G03169      177114061400
SHIP SHOAL 238 #B008           SS238B08                     G03169      177114086600
SHIP SHOAL 238 #C001 ( ORRI)   SS238C01                     G03169      177124068100
SHIP SHOAL 238 #C002           SS238C02                     G03169      177124068400
SHIP SHOAL 246 #A001           SS246A01                     G01027      177124005700
SHIP SHOAL 246 #A002           SS246A02                     G01027      177124007400
SHIP SHOAL 246 #A004           SS246A04                     G01027      177124008200
SHIP SHOAL 246 #A005           SS246A05                     G01027      177124008300
SHIP SHOAL 246 #A006           SS246A06                     G01027      177124009000
SHIP SHOAL 246 #A007           SS246A07                     G01027      177124009100
SHIP SHOAL 246 #A009           SS246A09                     G01027      177124010200
SHIP SHOAL 246 #A011           SS246A11                     G01027      177124011500
SHIP SHOAL 246 #A014           SS246A14                     G01027      177124014600
SHIP SHOAL 246 #A019           SS246A19                     G01027      177124016100
SHIP SHOAL 246 #A020           SS246A20                     G01027      177124012901
SHIP SHOAL 246 #J001           SS246J01                     G01027      177124061800
SHIP SHOAL 247 #D003           SS247D03                     G01028      177124013100
SHIP SHOAL 247 #D007           SS247D07                     G01028      177124015600
SHIP SHOAL 247 #D009           SS247D09                     G01028      177124016600
SHIP SHOAL 247 #D012           SS247D12                     G01028      177124017903
SHIP SHOAL 247 #F002           SS247F02                     G01028      177124019702
SHIP SHOAL 247 #F010           SS247F10                     G01028      177124022400
SHIP SHOAL 247 #F014           SS247F14                     G01028      177124022301
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Asset Name                   FWE Acct. Code            Lease Number        API
SHIP SHOAL 247 #F017         SS247F17                     G01028      177124022901
SHIP SHOAL 247 #F018         SS247F18                     G01028      177124023201
SHIP SHOAL 247 #F019         SS247F19                     G01028      177124052500
SHIP SHOAL 248 #D006         SS248D06                     G01029      177124015000
SHIP SHOAL 248 #D015         SS248D15                     G01029      177124020600
SHIP SHOAL 248 #D016         SS248D16                     G01029      177124021000
SHIP SHOAL 248 #D018         SS248D18                     G01029      177124021100
SHIP SHOAL 248 #D020         SS248D2000                   G01029      177124022000
SHIP SHOAL 248 #F008         SS248F08                     G01029      177124022100
SHIP SHOAL 248 #G001         SS248G01                     G01029      177124049500
SHIP SHOAL 248 #G002         SS248G02                     G01029      177124053000
SHIP SHOAL 248 #G003         SS248G03                     G01029      177124053300
SHIP SHOAL 249 #006          SS24906                      G01030      177124062200
SHIP SHOAL 249 #D002         SS249D02                     G01030      177124012000
SHIP SHOAL 249 #D004         SS249D04                     G01030      177124017100
SHIP SHOAL 249 #D005         SS249D05                     G01030      177124014200
SHIP SHOAL 249 #D008         SS249D08                     G01030      177124015900
SHIP SHOAL 249 #D011         SS249D11                     G01030      177124018500
SHIP SHOAL 249 #D014         SS249D14                     G01030      177124019200
SHIP SHOAL 249 #D017         SS249D1700                   G01030      177124020800
SHIP SHOAL 249 #D019         SS249D19                     G01030      177124021500
SHIP SHOAL 252 #C004         SS252C04                     G01529      177122001500
SHIP SHOAL 252 #C005         SS252C05                     G01529      177122002000
SHIP SHOAL 252 #C009         SS252C09                     G01529      177124029401
SHIP SHOAL 252 #C012         SS252C12                     G01529      177124047300
SHIP SHOAL 252 #F001         SS252F01                     G01529      177124052000
SHIP SHOAL 252 #F003         SS252F03                     G01529      177124052200
SHIP SHOAL 252 #F004         SS252F04                     G01529      177124067400
SHIP SHOAL 253 #C001         SS253C01                     G01031      177122000100
SHIP SHOAL 253 #C002         SS253C02                     G01031      177122006700
SHIP SHOAL 253 #C003         SS253C03                     G01031      177122001400
SHIP SHOAL 253 #C006         SS253C06                     G01031      177122002100
SHIP SHOAL 253 #C007         SS253C07                     G01031      177122002300
SHIP SHOAL 253 #C008         SS253C08                     G01031      177124030000
SHIP SHOAL 253 #C010         SS253C10                     G01031      177124029300
SHIP SHOAL 253 #C011         SS253C11                     G01031      177124030900
SHIP SHOAL 253 #D001         SS253D01                     G01031      177122004200
SHIP SHOAL 253 #D003         SS253D03                     G01031      177124000400
SHIP SHOAL 253 #D004         SS253D04                     G01031      177124001100
SHIP SHOAL 253 #D005         SS253D05                     G01031      177124001200
SHIP SHOAL 253 #D006         SS253D06                     G01031      177124001300
SHIP SHOAL 253 #D007         SS253D07                     G01031      177124001401
SHIP SHOAL 253 #D008         SS253D08                     G01031      177124001600
SHIP SHOAL 253 #D009         SS253D09                     G01031      177124001800
SHIP SHOAL 253 #D010         SS253D10                     G01031      177124002001
SHIP SHOAL 253 #D013         SS253D13                     G01031      177124002600
SHIP SHOAL 253 #D014         SS253D14                     G01031      177124002701
SHIP SHOAL 253 #E001         SS253E01                     G01031      177124024200
SHIP SHOAL 253 #E002         SS253E02                     G01031      177124024600
SHIP SHOAL 253 #E003         SS253E03                     G01031      177124025301
SHIP SHOAL 253 #E004         SS253E04                     G01031      177124025400
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Asset Name                       FWE Acct. Code            Lease Number        API
SHIP SHOAL 253 #E005             SS253E05                     G01031      177124025500
SHIP SHOAL 253 #E006             SS253E06                     G01031      177124026600
SHIP SHOAL 253 #E007             SS253E07                     G01031      177124026800
SHIP SHOAL 253 #E008             SS253E08                     G01031      177124027600
SHIP SHOAL 253 #E009             SS253E09                     G01031      177124027701
SHIP SHOAL 253 #E010             SS253E10                     G01031      177124027800
SHIP SHOAL 253 #E011             SS253E11                     G01031      177124028200
SHIP SHOAL 253 #E012             SS253E12                     G01031      177124028400
SHIP SHOAL 253 #E013             SS253E13                     G01031      177124037500
SHIP SHOAL 253 #E014             SS253E14                     G01031      177124042100
SHIP SHOAL 253 #E015             SS253E15                     G01031      177124044401
SHIP SHOAL 253 #F002             SS253F02                     G01031      177124052100
SHIP SHOAL 300 #A001             SS300A01                     G07760      177124037401
SHIP SHOAL 300 #A003             SS300A03                     G07760      177124041602
SHIP SHOAL 300 #A004             SS300A04                     G07760      177124043100
SHIP SHOAL 300 #A005             SS300A05                     G07760      177124053600
SHIP SHOAL 300 #A006             SS300A06                     G07760      177124053700
SHIP SHOAL 300 #B001             SS300B01                     G07760      177124044100
SHIP SHOAL 300 #B002             SS300B02                     G07760      177124044800
SHIP SHOAL 300 #B003             SS300B03                     G07760      177124045600
SHIP SHOAL 300 #B004             SS300B04                     G07760      177124045700
SHIP SHOAL 300 #B005             SS300B05                     G07760      177124045900
SHIP SHOAL 315 #A001             SS315A01                     G09631      177124046901
SHIP SHOAL 315 #A003             SS315A03                     G09631      177124047402
SHIP SHOAL206#E001(SS207E1       SS207E0100                   G01523      177114115500
SOUTH MARSH IS 066 #C001         SM066C0100                   G01198      177070041200
SOUTH MARSH IS 066 #C002         SM066C0200                   G01198      177070049000
SOUTH MARSH IS 066 #C003         SM066C0300                   G01198      177074005800
SOUTH MARSH IS 066 #C004         SM066C0400                   G01198      177070050000
SOUTH MARSH IS 066 #C005         SM066C0500                   G01198      177070050700
SOUTH MARSH IS 066 #C006         SM066C0600                   G01198      177072018700
SOUTH MARSH IS 066 #C007         SM066C0700                   G01198      177070052800
SOUTH MARSH IS 066 #C009B        SM066C09B0                   G01198      177072001200
SOUTH MARSH IS 066 #C011         SM066C1100                   G01198      177074072900
SOUTH MARSH IS 066 #C012         SM066C1200                   G01198      177074073500
SOUTH MARSH IS 066 #D001         SM066D0100                   G01198      177074025400
SOUTH MARSH IS 066 #D003         SM066D0300                   G01198      177074029000
SOUTH MARSH IS 066 #D004         SM066D0400                   G01198      177074032000
SOUTH MARSH IS 066 #D005         SM066D0500                   G01198      177074032600
SOUTH MARSH IS 066 #D006 ST      SM066D0601                   G01198      177074031201
SOUTH MARSH IS 066 #D007 ST1BP   SM066D0701                   G01198      177074027401
SOUTH MARSH IS 087 #A002         SM087A02                     G24870      177084092201
SOUTH MARSH IS 087 #A004         SM087A04                     G24870      177084093704
SOUTH MARSH IS 087 #A005         SM087A05                     G24870      177084093802
SOUTH MARSH IS 087 #I002         SM087I02                     G24870      177064097900
SOUTH MARSH IS 102 #A001         SM102A01                     G24872      177084091200
SOUTH MARSH IS 102 #A006         SM102A06                     G24872      177084094101
SOUTH MARSH IS 132 #B002         SM132B0200                   G02282      177084031800
SOUTH MARSH IS 132 #B003 ST1     SM132B0301                   G02282      177084031601
SOUTH MARSH IS 132 #B004         SM132B0400                   G02282      177084033000
SOUTH MARSH IS 132 #B005         SM132B0500                   G02282      177084033500
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH MARSH IS 132 #B006       SM132B0600                   G02282      177084033900
SOUTH MARSH IS 132 #B007       SM132B0700                   G02282      177084034100
SOUTH MARSH IS 132 #B008       SM132B0800                   G02282      177084035500
SOUTH MARSH IS 132 #B009       SM132B0900                   G02282      177084036200
SOUTH MARSH IS 132 #B010       SM132B1000                   G02282      177084036500
SOUTH MARSH IS 132 #B011       SM132B1100                   G02282      177084037800
SOUTH MARSH IS 135 #C003 BP1   SM135C0301                   G19776      177084089401
SOUTH MARSH IS 136 #A004       SM136A0400                   G02588      177084021900
SOUTH MARSH IS 136 #A008       SM136A08                     G02588      177084032401
SOUTH MARSH IS 136 #A010       SM136A1000                   G02588      177084035700
SOUTH MARSH IS 136 #A015       SM136A1500                   G02588      177084071200
SOUTH MARSH IS 136 #C007       SM136C0700                   G02588      177084091900
SOUTH MARSH IS 137 #A001       SM137A0100                   G02589      177084007700
SOUTH MARSH IS 137 #A003       SM137A0300                   G02589      177084020400
SOUTH MARSH IS 137 #A005       SM137A0500                   G02589      177084024100
SOUTH MARSH IS 137 #A009       SM137A0900                   G02589      177084034600
SOUTH MARSH IS 137 #A011 ST1   SM137A1101                   G02589      177084030201
SOUTH MARSH IS 137 #A012       SM137A1200                   G02589      177084040400
SOUTH MARSH IS 137 #A013       SM137A1300                   G02589      177084042900
SOUTH MARSH IS 137 #A014       SM137A1400                   G02589      177084045000
SOUTH MARSH IS 137 #A018       SM137A1800                   G02589      177084072800
SOUTH MARSH IS 139 #B001       SM139B01                     G21106      177084092300
SOUTH MARSH IS 139 #B002       SM139B02                     G21106      177084093501
SOUTH MARSH IS 142 #A001       SM142A01                     G01216      177084014100
SOUTH MARSH IS 142 #A002       SM142A02                     G01216      177084014800
SOUTH MARSH IS 142 #A003       SM142A03                     G01216      177084016500
SOUTH MARSH IS 142 #A004       SM142A04                     G01216      177084017900
SOUTH MARSH IS 142 #A005       SM142A05                     G01216      177084019200
SOUTH MARSH IS 142 #A006       SM142A06                     G01216      177084020300
SOUTH MARSH IS 142 #A007       SM142A07                     G01216      177084021000
SOUTH MARSH IS 142 #A008       SM143A08                     G01216      177084023000
SOUTH MARSH IS 142 #A009       SM142A09                     G01216      177084026300
SOUTH MARSH IS 142 #A010       SM142A10                     G01216      177084077000
SOUTH MARSH IS 142 #A011       SM142A11                     G01216      177084091100
SOUTH MARSH IS 142 #C001       SM142C01                     G01216      177084082900
SOUTH MARSH IS 142 #C002       SM142C02                     G01216      177084084201
SOUTH MARSH IS 142 #C003       SM142C03                     G01216      177084085000
SOUTH MARSH IS 142 #C004       SM142C04                     G01216      177084085400
SOUTH MARSH IS 142 #C005       SM142C05                     G01216      177084091301
SOUTH MARSH IS 146 #A008       SM146A08                     G09546      177084077102
SOUTH MARSH IS 150 #C006 BP2   SM150C0600                   G16325      177084091802
SOUTH MARSH IS 150 #D003       SM150D0301                   G16325      177084096401
SOUTH MARSH IS 268 #A002C      SM268A02C0                   G02310      177074007600
SOUTH MARSH IS 268 #A007A      SM268A07A0                   G02310      177074013600
SOUTH MARSH IS 268 #A017B      SM268A17B0                   G02310      177074016800
SOUTH MARSH IS 268 #D001       SM268D0100                   G02310      177074020600
SOUTH MARSH IS 268 #D003D      SM268D03D0                   G02310      177074021600
SOUTH MARSH IS 268 #D004       SM268D0400                   G02310      177074022500
SOUTH MARSH IS 268 #D006       SM268D0600                   G02310      177074024700
SOUTH MARSH IS 268 #D007       SM268D0700                   G02310      177074025700
SOUTH MARSH IS 268 #D012       SM268D1200                   G02310      177074028700
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH MARSH IS 268 #D016D      SM268D16D1                   G02310      177074029901
SOUTH MARSH IS 269 #A021B      SM269A21B0                   G02311      177074018100
SOUTH MARSH IS 269 #B002       SM269B0200                   G02311      177074008100
SOUTH MARSH IS 269 #B017 ST1   SM269B1701                   G02311      177074075701
SOUTH MARSH IS 269 #B019 BP1   SM269B1901                   G02311      177074088501
SOUTH MARSH IS 269 #F001 ST1   SM269F0101                   G02311      177074080401
SOUTH MARSH IS 280 #G001       SM280G0100                   G14456      177074071400
SOUTH MARSH IS 280 #G002       SM280G0200                   G14456      177074080700
SOUTH MARSH IS 280 #H001 ST1   SM280H0102                   G14456      177074081802
SOUTH MARSH IS 280 #H002 STB   SM280H0203                   G14456      177074082303
SOUTH MARSH IS 281 #C001       SM281C0100                   G02600      177074012500
SOUTH MARSH IS 281 #C003A      SM281C03A0                   G02600      177074013900
SOUTH MARSH IS 281 #C005A      SM281C05A0                   G02600      177074015300
SOUTH MARSH IS 281 #C006       SM281C0600                   G02600      177074015800
SOUTH MARSH IS 281 #C008 ST1   SM281C0801                   G02600      177074017701
SOUTH MARSH IS 281 #C010 ST    SM281C1001                   G02600      177074020701
SOUTH MARSH IS 281 #C011 ST1   SM281C1101                   G02600      177074022401
SOUTH MARSH IS 281 #C012A      SM281C12A0                   G02600      177074024100
SOUTH MARSH IS 281 #C014 ST    SM281C1401                   G02600      177074026901
SOUTH MARSH IS 281 #C016C      SM281C16C0                   G02600      177074029600
SOUTH MARSH IS 281 #C017       SM281C1700                   G02600      177074030500
SOUTH MARSH IS 281 #C019B      SM281C19B0                   G02600      177074034400
SOUTH MARSH IS 281 #C020 ST1   SM281C2001                   G02600      177074034901
SOUTH MARSH IS 281 #C021B      SM281C21B0                   G02600      177074035500
SOUTH MARSH IS 281 #C023 ST2   SM281C2302                   G02600      177074036802
SOUTH MARSH IS 281 #C024       SM281C2400                   G02600      177074037300
SOUTH MARSH IS 281 #C025       SM281C2500                   G02600      177074083500
SOUTH MARSH IS 281 #C026       SM281C2600                   G02600      177074083700
SOUTH MARSH IS 281 #C027       SM281C2700                   G02600      177074085200
SOUTH MARSH IS 281 #C028 BP2   SM281C2802                   G02600      177074089402
SOUTH MARSH IS 281 #D002       SM281D0200                   G02600      177074021100
SOUTH MARSH IS 281 #D009       SM281D0900                   G02600      177074027100
SOUTH MARSH IS 281 #D010A      SM281D10A0                   G02600      177074027500
SOUTH MARSH IS 281 #D011       SM281D1100                   G02600      177074028000
SOUTH MARSH IS 281 #D013       SM281D1300                   G02600      177074029100
SOUTH MARSH IS 281 #D014A      SM281D14A0                   G02600      177074029700
SOUTH MARSH IS 281 #D05A       SM281D05A0                   G02600      177074023200
SOUTH MARSH IS 281 #D08A       SM281D08A0                   G02600      177074026600
SOUTH MARSH IS 281 #E001D      SM281E01D0                   G02600      177074018500
SOUTH MARSH IS 281 #E002A      SM281E02A0                   G02600      177074024600
SOUTH MARSH IS 281 #E003       SM281E0300                   G02600      177074027800
SOUTH MARSH IS 281 #E004       SM281E0400                   G02600      177074028500
SOUTH MARSH IS 281 #E005A      SM281E05A0                   G02600      177074029300
SOUTH MARSH IS 281 #E006       SM281E0601                   G02600      177074030101
SOUTH MARSH IS 281 #E007       SM281E0700                   G02600      177074031600
SOUTH MARSH IS 281 #E008A      SM281E08A1                   G02600      177074033101
SOUTH MARSH IS 281 #E009A      SM281E09A0                   G02600      177074033800
SOUTH MARSH IS 281 #E010A      SM281E10A0                   G02600      177074034800
SOUTH MARSH IS 281 #E011 ST    SM281E1101                   G02600      177074035601
SOUTH MARSH IS 281 #E012       SM281E1200                   G02600      177074036000
SOUTH MARSH IS 281 #E013       SM281E1300                   G02600      177074036600
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH MARSH IS 281 #E014       SM281E1400                   G02600      177074038600
SOUTH MARSH IS 281 #I001       SM281I0101                   G02600      177074082601
SOUTH MARSH IS 281 #I002 ST1   SM281I0201                   G02600      177074082701
SOUTH MARSH IS 281 #I003       SM281I0300                   G02600      177074082800
SOUTH PASS 017 #A023           SP017A23                     G02938      177212022601
SOUTH PASS 017 #D006           SP017D06                     G02938      177214012901
SOUTH PASS 017 #D009           SP017D09                     G02938      177214013303
SOUTH PASS 017 #D029           SP017D29                     G02938      177214012203
SOUTH PASS 017 #D032           SP017D32                     G02938      177214030101
SOUTH PASS 017 #E004           SP017E04                     G02938      177214020300
SOUTH PASS 017 #E006           SP017E06                     G02938      177214020101
SOUTH PASS 017 #G016           SP017G16                     G02938      177214035501
SOUTH PASS 017 #G026           SP017G26                     G02938      177214037203
SOUTH PASS 017 #G029           SP017G29                     G02938      177214037504
SOUTH PASS 037 #003            SP03703                       00697      177214045700
SOUTH PASS 042 SWD 1           SL301101                      03011       UNKNOWN
SOUTH PASS 059 #A018           SP059A18                     G01608      177234015204
SOUTH PASS 059 #C007           SP059C07                     G02943      177212021402
SOUTH PASS 059 #C008           SP059C08                     G01608      177212022502
SOUTH PASS 059 #C017           SP059C17                     G02943      177212022802
SOUTH PASS 059 #C018           SP059C18                     G02943      177212024601
SOUTH PASS 059 #C019           SP059C19                     G01608      177214006906
SOUTH PASS 059 #C020           SP059C20                     G02943      177214007004
SOUTH PASS 059 #C022           SP059C22                     G02943      177214009002
SOUTH PASS 059 #C026           SP059C26                     G02943      177214010400
SOUTH PASS 059 #C027           SP059C27                     G02943      177214011302
SOUTH PASS 059 #C030           SP059C30                     G01608      177214005703
SOUTH PASS 059 #C037           SP059C37                     G02942      177212022701
SOUTH PASS 059 #C039           SP059C39                     G02943      177214006201
SOUTH PASS 059 #C040           SP059C40                     G01608      177214032304
SOUTH PASS 059 #C041           SP059C41                     G02942      177214032602
SOUTH PASS 059 #C042           SP059C42                     G02943      177214039603
SOUTH PASS 059 #D023           SP059D23                     G02942      177214017802
SOUTH PASS 059 #D025           SP059D25                     G02943      177214018403
SOUTH PASS 059 #D026           SP059D26                     G02942      177214019302
SOUTH PASS 059 #D027           SP059D27                     G02942      177214020500
SOUTH PASS 059 #D033           SP059D33                     G02942      177214031102
SOUTH PASS 059 #D034           SP059D34                     G02943      177214030901
SOUTH PASS 059 #G002           SP059G02                     G02943      177214033500
SOUTH PASS 059 #G005           SP059G05                     G02943      177214034000
SOUTH PASS 059 #G012           SP059G12                     G02943      177214035100
SOUTH PASS 059 #G018           SP059G18                     G02943      177214035601
SOUTH PASS 059 #G020           SP059G20                     G02943      177214036101
SOUTH PASS 060 #A003           SP060A03                     G02137      177214001501
SOUTH PASS 060 #A004           SP060A04                     G02137      177214001601
SOUTH PASS 060 #A005           SP060A05                     G02137      177212012400
SOUTH PASS 060 #A006           SP060A06                     G02137      177214001801
SOUTH PASS 060 #A007           SP060A07                     G02137      177212012700
SOUTH PASS 060 #A009           SP060A09                     G02137      177212014702
SOUTH PASS 060 #A010           SP060A10                     G02137      177214002902
SOUTH PASS 060 #A012           SP060A12                     G02137      177212017600
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Asset Name                   FWE Acct. Code            Lease Number        API
SOUTH PASS 060 #A013         SP060A13                     G01608      177214004000
SOUTH PASS 060 #A017         SP060A17                     G01608      177214004901
SOUTH PASS 060 #A018         SP060A18                     G02137      177212020600
SOUTH PASS 060 #A019         SP060A19                     G02137      177212020802
SOUTH PASS 060 #A021         SP060A21                     G02137      177212022201
SOUTH PASS 060 #A025         SP060A25                     G02938      177212024501
SOUTH PASS 060 #A028         SP060A28                     G02137      177212025003
SOUTH PASS 060 #A029         SP060A29                     G01608      177214008101
SOUTH PASS 060 #A031         SP060A31                     G01608      177214007106
SOUTH PASS 060 #A032         SP060A32                     G01608      177212018702
SOUTH PASS 060 #A033         SP060A33                     G02137      177214001303
SOUTH PASS 060 #A034         SP060A34                     G01608      177212017501
SOUTH PASS 060 #A035         SP060A35                     G02137      177212019302
SOUTH PASS 060 #A036         SP060A36                     G01608      177214001202
SOUTH PASS 060 #A037         SP060A37                     G02137      177212013701
SOUTH PASS 060 #B001         SP060B01                     G01608      177214002001
SOUTH PASS 060 #B003         SP060B03                     G01608      177214002302
SOUTH PASS 060 #B004         SP060B04                     G02137      177214002402
SOUTH PASS 060 #B006         SP060B06                     G01608      177214003001
SOUTH PASS 060 #B007         SP060B07                     G01608      177214003601
SOUTH PASS 060 #B008         SP060B08                     G01608      177214003701
SOUTH PASS 060 #B012         SP060B12                     G01608      177214004202
SOUTH PASS 060 #B013         SP060B13                     G01608      177214003904
SOUTH PASS 060 #B014         SP060B14                     G01608      177214004403
SOUTH PASS 060 #B015         SP060B15                     G01608      177214004502
SOUTH PASS 060 #B017         SP060B17                     G01608      177214004703
SOUTH PASS 060 #B020         SP060B20                     G01608      177214005101
SOUTH PASS 060 #B021         SP060B21                     G01608      177214002502
SOUTH PASS 060 #B022         SP060B22                     G01608      177214004106
SOUTH PASS 060 #B026         SP060B26                     G01608      177214005003
SOUTH PASS 060 #C006         SP060C06                     G02137      177212021100
SOUTH PASS 060 #C023         SP060C23                     G02137      177214009200
SOUTH PASS 060 #C031         SP060C31                     G02137      177214011806
SOUTH PASS 060 #C038         SP060C38                     G01608      177214005502
SOUTH PASS 060 #D002         SP060D02                     G02137      177214011601
SOUTH PASS 060 #D010         SP060D10                     G02137      177214013902
SOUTH PASS 060 #D012         SP060D12                     G02137      177214014301
SOUTH PASS 060 #D014         SP060D14                     G01608      177214014401
SOUTH PASS 060 #D015         SP060D15                     G01608      177214015102
SOUTH PASS 060 #D016         SP060D16                     G02137      177214016101
SOUTH PASS 060 #D017         SP060D17                     G02137      177214016202
SOUTH PASS 060 #D018         SP060D18                     G02137      177214016501
SOUTH PASS 060 #D021         SP060D21                     G02137      177214016703
SOUTH PASS 060 #D022         SP060D22                     G02137      177214015802
SOUTH PASS 060 #D024         SP060D24                     G02137      177214018200
SOUTH PASS 060 #D025         SP060D25                     G02137      177214038901
SOUTH PASS 060 #D031         SP060D31                     G02137      177214028901
SOUTH PASS 060 #D035         SP060D35                     G02137      177214022703
SOUTH PASS 060 #E001         SP060E01                     G01608      177214019202
SOUTH PASS 060 #E002         SP060E02                     G01608      177214021602
SOUTH PASS 060 #E003         SP060E03                     G01608      177214022201
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                                       Exhibit III-B

Asset Name                   FWE Acct. Code            Lease Number        API
SOUTH PASS 060 #E005         SP060E05                     G01608      177214022902
SOUTH PASS 060 #E008         SP060E08                     G01608      177214023900
SOUTH PASS 060 #E009         SP060E09                     G01608      177214024405
SOUTH PASS 060 #E011         SP060E11                     G01608      177214027500
SOUTH PASS 060 #E012         SP060E12                     G01608      177214025100
SOUTH PASS 060 #E013         SP060E13                     G01608      177214025601
SOUTH PASS 060 #E014         SP060E14                     G01608      177214025903
SOUTH PASS 060 #E015         SP060E15                     G01608      177214026300
SOUTH PASS 060 #E016         SP060E16                     G01608      177214026603
SOUTH PASS 060 #E019         SP060E19                     G01608      177214027400
SOUTH PASS 060 #E021         SP060E21                     G01608      177214027802
SOUTH PASS 060 #E022         SP060E22                     G02137      177214028700
SOUTH PASS 060 #E023         SP060E23                     G01608      177214029302
SOUTH PASS 060 #E024         SP060E24                     G01608      177214029403
SOUTH PASS 060 #E025         SP060E25                     G01608      177214031301
SOUTH PASS 060 #E026         SP060E26                     G01608      177214031501
SOUTH PASS 060 #E028         SP060E28                     G01608      177214032201
SOUTH PASS 060 #G001         SP060G01                     G02137      177214032901
SOUTH PASS 060 #G003         SP060G03                     G02137      177214033400
SOUTH PASS 060 #G004         SP060G04                     G02137      177214033700
SOUTH PASS 060 #G006         SP060G06                     G02137      177214033801
SOUTH PASS 060 #G007         SP060G07                     G01608      177214034102
SOUTH PASS 060 #G008         SP060G08                     G02137      177214034200
SOUTH PASS 060 #G009         SP060G09                     G01608      177214034600
SOUTH PASS 060 #G010         SP060G10                     G02137      177214034900
SOUTH PASS 060 #G011         SP060G11                     G01608      177214035000
SOUTH PASS 060 #G013         SP060G13                     G01608      177214034803
SOUTH PASS 060 #G014         SP060G14                     G02137      177214035301
SOUTH PASS 060 #G015         SP060G15                     G02137      177214035404
SOUTH PASS 060 #G017         SP060G17                     G01608      177214035701
SOUTH PASS 060 #G019         SP060G19                     G02137      177214035903
SOUTH PASS 060 #G021         SP060G21                     G02137      177214036201
SOUTH PASS 060 #G022         SP060G22                     G01608      177214036501
SOUTH PASS 060 #G023         SP060G23                     G01608      177214036700
SOUTH PASS 060 #G024         SP060G24                     G01608      177214036900
SOUTH PASS 060 #G025         SP060G25                     G02137      177214037001
SOUTH PASS 060 #G027         SP060G27                     G01608      177214037100
SOUTH PASS 060 #G028         SP060G28                     G01608      177214037301
SOUTH PASS 060 #G031         SP060G31                     G02137      177214038101
SOUTH PASS 060 #G032         SP060G32                     G02137      177214038302
SOUTH PASS 060 #G033         SP060G33                     G01608      177214037700
SOUTH PASS 060 #G034         SP060G34                     G02137      177214038901
SOUTH PASS 060 #G035         SP060G35                     G02137      177214039200
SOUTH PASS 060 #G036         SP060G36                     G02137      177214039301
SOUTH PASS 061 #B018         SP061B18                     G01609      177214004802
SOUTH PASS 061 #E029         SP061E29                     G01609      177214031802
SOUTH PASS 066 #A012         SP066A1200                   G01611      177234011401
SOUTH PASS 066 #A015         SP066A15                     G01611      177234011702
SOUTH PASS 066 #C001         SP066C0100                   G01611      177212019402
SOUTH PASS 066 #C013         SP066C1300                   G01611      177214005803
SOUTH PASS 066 #C021         SP066C2100                   G01611      177214008303
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Asset Name                     FWE Acct. Code            Lease Number        API
SOUTH PASS 066 #C025           SP066C2500                   G01611      177214010301
SOUTH PASS 066 #C029           SP066C29                     G01611      177214012702
SOUTH PASS 066 #C036           SP066C3600                   G01611      177214005305
SOUTH PASS 067 #A001           SP067A01                     G01612      177234010501
SOUTH PASS 067 #A004           SP067A04                     G01612      177234010603
SOUTH PASS 067 #A005           SP067A05                     G01612      177234010702
SOUTH PASS 067 #A008           SP067A08                     G01612      177234010901
SOUTH PASS 067 #A009           SP067A09                     G01612      177234011001
SOUTH PASS 067 #A010           SP067A10                     G01612      177234011100
SOUTH PASS 067 #A011           SP067A11                     G01612      177234011200
SOUTH PASS 067 #A013           SP067A13                     G01612      177234011502
SOUTH PASS 067 #A014           SP067A14                     G01612      177234011601
SOUTH PASS 067 #A016           SP067A16                     G01612      177234015101
SOUTH PASS 067 #A019           SP067A19                     G01612      177234015700
SOUTH PASS 067 #A020           SP067A20                     G01612      177234015301
SOUTH PASS 067 #A021           SP067A21                     G01612      177234015600
SOUTH PASS 067 #A022           SP067A22                     G01612      177234015900
SOUTH PASS 067 #A023           SP067A23                     G01612      177234015801
SOUTH PASS 067 #A024           SP067A24                     G01612      177234016000
SOUTH PASS 067 #A025           SP067A25                     G01612      177234017400
SOUTH PELTO 013 #009           PL01300900                   G03171      177134019701
SOUTH TIMBALIER 195 #B001      ST195B01                     G03593      177154091400
SOUTH TIMBALIER 195 #B002      ST195B02                     G03593      177154092500
SOUTH TIMBALIER 195 #B003      ST195B03                     G03593      177154117901
SOUTH TIMBALIER 315 #A003      ST315A03                     G23946      177164029004
SOUTH TIMBALIER 316 #A001      ST316A0100                   G22762      177164028600
SOUTH TIMBALIER 316 #A002      ST316A0200                   G22762      177164028800
STATE TRACT 773 #L001 (NW/4)   ST773L1N                     111650      427023021000
STATE TRACT 773 #L001 (SW/4)   ST773L1S                     136449      426023016700
STATE TRACT 773 #L002          ST773L2                      115727      427023021800
STATE TRACT 773 #L003          ST773L3                      114988      427023022000
VERMILION 196 #A001            VR196A01                     G19760      177054112300
VERMILION 196 #A002            VR196A02                     G19760      177054116700
VERMILION 196 #A004            VR196A04                     G19760      177054127900
VERMILION 207 #A003            VR207A03                     G19761      177054117600
VERMILION 261 #A001            VR261A0100                   G03328      177064029000
VERMILION 261 #A002            VR261A0200                   G03328      177064033000
VERMILION 261 #A004            VR261A0402                   G03328      177064032902
VERMILION 261 #A005            VR261A0500                   G03328      177064034600
VERMILION 261 #A007            VR261A0700                   G03328      177064035400
VERMILION 261 #A008            VR261A0800                   G03328      177064084900
VERMILION 262 #A006            VR262A06                     G34257      177064035201
VERMILION 272 #A001            VR272A01                     G23829      177064091300
VERMILION 272 #A002            VR272A02                     G23829      177064091400
VERMILION 272 #A003            VR272A03                     G23829      177084093603
VERMILION 272 #A004            VR272A04                     G23829      177064091602
VERMILION 272 #A005            VR272A05                     G23829      177064091700
VERMILION 272 #A006            VR272A06                     G23829      177064096100
VERMILION 272 #A007            VR272A07                     G23829      177064096200
VERMILION 272 #B001            VR272B01                     G23829      177064091800
VERMILION 272 #B002            VR272B02                     G23829      177064092502
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Asset Name                   FWE Acct. Code            Lease Number            API
VERMILION 272 #C001          VR272C01                     G23829          177064096001
VERMILION 273 #B003          VR273B03                     G14412          177064092600
VERMILION 279 #A001          VR279A01                     G11881          177064074701
VERMILION 279 #A002          VR279A02                     G11881          177064075701
VERMILION 279 #A003          VR279A03                     G11881          177064076601
VERMILION 279 #A004          VR279A04                     G11881          177064087600
VERMILION 279 #A005          VR279A05                     G11881          177064075802
VERMILION 279 #A006          VR279A06                     G11881          177064079900
VERMILION 279 #A007          VR279A07                     G11881          177064078800
VERMILION 279 #A008          VR279A08                     G11881          177064079600
VERMILION 279 #A009          VR279A09                     G11881          177064080400
VERMILION 279 #A010          VR279A10                     G11881          177064080700
VERMILION 279 #A011          VR279A11                     G11881          177064080802
VERMILION 279 #A012          VR279A12                     G11881          177064087100
VERMILION 313 #B001          VR313B01                     G01172          177064028100
VERMILION 313 #B002          VR313B02                     G01172          177064029700
VERMILION 313 #B003          VR313B03                     G01172          177064030100
VERMILION 313 #B005          VR313B05                     G01172          177064032800
VERMILION 313 #B006          VR313B06                     G01172          177064031900
VERMILION 313 #B007          VR313B07                     G01172          177064032700
VERMILION 313 #B009          VR313B09                     G01172          177064033801
VERMILION 313 #B010          VR313B10                     G01172          177064035700
VERMILION 313 #B011          VR313B11                     G01172          177064037100
VERMILION 313 #B012          VR313B12                     G01172          177064036200
VERMILION 313 #C001          VR313C01                     G01172          177064071700
VERMILION 313 #C002          VR313C02                     G01172          177064071900
VERMILION 313 #C003          VR313C03                     G01172          177064072200
VERMILION 313 #C004          VR313C04                     G01172          177064072000
VERMILION 313 #D001          VR313D01                     G01172          177064090000
VERMILION 313 #D002          VR313D02                     G01172          177064090201
VERMILION 313 #D003          VR313D03                     G01172          177064090300
VERMILION 313 #D004          VR313D04                     G01172          177064090501
VERMILION 313 #D005          VR313D05                     G01172          177064090701
VERMILION 408 #A001          VR408A01            G15212               177064084401
VERMILION 408 #A002          VR408A02            G15212               177064086600
VERMILION 408 #A003          VR408A03            G15212               177064089900
VIOSCA KNOLL 824 #004        VK82400402                   G15436          608164032902
VIOSCA KNOLL 826 A‐10 ST1    VK826A1001                   G06888          608164032601
VIOSCA KNOLL 826 A‐12 BP1    VK826A1201                   G06888          608164038101
VIOSCA KNOLL 826 A‐13        VK826A13                     G06888          608164038200
VIOSCA KNOLL 826 A‐14 ST1    VK826A1401                   G06888          608164038001
VIOSCA KNOLL 826 A‐3         VK826A03                     G06888          608164022000
VIOSCA KNOLL 826 A‐4         VK826A04                     G06888          608164020500
VIOSCA KNOLL 826 A‐5         VK826A05                     G06888          608164022100
VIOSCA KNOLL 826 A‐6         VK826A06                     G06888          608164022200
VIOSCA KNOLL 826 A‐7         VK826A07                     G06888          608164023600
VIOSCA KNOLL 826 A‐8         VK826A08                     G06888          608164032400
VIOSCA KNOLL 826 A‐9 ST1     VK826A0901                   G06888          608164032501
VIOSCA KNOLL 826 A‐1 ST      VK826A0101                   G06888          608164019401
VIOSCA KNOLL 826 A‐2         VK826A02                     G06888          608164021900
VIOSCA KNOLL 826 SS12        VK826SS012                   G06888          608164035800
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Asset Name                       FWE Acct. Code            Lease Number        API
VIOSCA KNOLL 917 SS01 ST2        VK917SS102                   G15441      608164040002
VIOSCA KNOLL 962 SS01            VK962SS01                    G15445      608164039901
WEST CAMERON 009 #001 SL 18287   SL1828701                     18287      177002025000
WEST CAMERON 065 #B018           WC065B1800                   G02825      177004098900
WEST CAMERON 065 #B019           WC065B1901                   G02825      177004099501
WEST CAMERON 065 #B020 ST2       WC065B2001                   G02825      177004099701
WEST CAMERON 066 #A017           WC066A1700                   G02826      177004100600
WEST CAMERON 066 #B002           WC066B0200                   G02826      177004017600
WEST CAMERON 066 #B003           WC066B0300                   G02826      177004017800
WEST CAMERON 066 #B004           WC066B0400                   G02826      177004018300
WEST CAMERON 066 #B006           WC066B0600                   G02826      177004019100
WEST CAMERON 066 #B007           WC066B0700                   G02826      177004019600
WEST CAMERON 066 #B008D          WC066B08D0                   G02826      177004020400
WEST CAMERON 066 #B009           WC066B0900                   G02826      177004020801
WEST CAMERON 066 #B010           WC066B1000                   G02826      177004021400
WEST CAMERON 066 #B012           WC066B1200                   G02826      177004023000
WEST CAMERON 066 #B014           WC066B1401                   G02826      177004022001
WEST CAMERON 066 #B015           WC066B1500                   G02826      177004087600
WEST CAMERON 066 #B016           WC066B1601                   G02826      177004097101
WEST CAMERON 066 #B017           WC066B1700                   G02826      177004098700
WEST CAMERON 066 #E001           WC066E0100                   G02826      177004034700
WEST CAMERON 066 #E002           WC066E0200                   G02826      177004043400
WEST CAMERON 066 #E003           WC066E0300                   G02826      177004047900
WEST CAMERON 066 #E004           WC066E0400                   G02826      177004051500
WEST CAMERON 072 #001            WC07200100                   G23735      177004114900
WEST CAMERON 072 #002            WC07200200                   G23735      177004119400
WEST CAMERON 072 #003            WC07200301                   G23735      177004125001
WEST CAMERON 295 #A001           WC295A0101                   G24730      177014037501
WEST CAMERON 295 #A002           WC295A0201                   G24730      177014039001
WEST CAMERON 485 #A001           WC485A01                     G02220      177024010002
WEST CAMERON 485 #A010           WC485A10                     G02220      177024117800
WEST CAMERON 485 #A011           WC485A11                     G02220      177024118300
WEST CAMERON 485 #B006           WC485B06                     G02220      177024108300
WEST CAMERON 498 #B001           WC498B01                     G03520      177024106500
WEST CAMERON 498 #B002           WC498B02                     G03520      177024106901
WEST CAMERON 498 #B003           WC498B03                     G03520      177024109002
WEST CAMERON 498 #B004           WC498B04                     G03520      177024109400
WEST CAMERON 498 #B005           WC498B05                     G03520      177024116001
WEST CAMERON 498 #B006           WC498B06                     G03520      177024116100
WEST CAMERON 498 #B007           WC498B07                     G03520      177024116200
WEST CAMERON 498 #B008           WC498B08                     G03520      177024118801
WEST CAMERON 498 #B009           WC498B09                     G03520      177024120201
WEST CAMERON 498 #B010           WC498B10                     G03520      177024121000
WEST CAMERON 498 #B011           WC498B11                     G03520      177024131700
WEST CAMERON 507 #A002           WC507A02                     G02549      177024018200
WEST CAMERON 507 #A003           WC507A03                     G02549      177024020101
WEST CAMERON 507 #A004           WC507A04                     G10594      177024023002
WEST CAMERON 507 #A005           WC507A05                     G02549      177024023500
WEST CAMERON 507 #A006           WC507A06                     G02549      177024024902
WEST CAMERON 507 #A007           WC507A07                     G02549      177024094900
WEST CAMERON 507 #A008           WC507A08                     G02549      177024094400
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Asset Name                  FWE Acct. Code            Lease Number        API
WEST CAMERON 507 #A009      WC507A09                     G02549      177024094700
WEST CAMERON 507 #B001      WC507B01                     G02549      177024098304
WEST CAMERON 507 #B002      WC507B02                     G02549      177024099001
WEST CAMERON 507 #B003      WC507B03                     G02549      177024100201
WEST CAMERON 507 #B004      WC507B04                     G02549      177024108202
WEST CAMERON 507 #B005      WC507B05                     G02549      177024101200
WEST CAMERON 507 #C001      WC507C01                     G02549      177024130300
WEST CAMERON 67 #D1         WC067D0100                   G03256      177004031600
WEST CAMERON 67 #D10        ‐                            G03256      177004098501
WEST CAMERON 67 #D6         ‐                            G03256      177004040700
WEST CAMERON 67 #D9         WC067D0900                   G03256      177004078600
WEST DELTA 027 #008         WD02708                      G04473      177194065801
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Asset Name                   FWE Acct. Code    Lease Number    Area/Block        WI
BRAZOS A‐105 P/F‐A           BAA105PFA            G01757        BAA105           87.5%
BRAZOS A‐105 P/F‐B           BAA105PFB            G01757        BAA105           87.5%
BRAZOS A‐133 P/F‐A           BAA133APLT           G02665        BAA133           25.0%
BRAZOS A‐133 P/F‐B           BAA133BPLT           G02665        BAA133           25.0%
BRAZOS A‐133 P/F‐C‐AUX       BAA133CAUX           G02665        BAA133           25.0%
BRAZOS A‐133 P/F‐D           BAA133DPLT           G02665        BAA133           25.0%
BRAZOS A‐133 P/F‐E           BAA133EPLT           G02665        BAA133           25.0%
EAST BREAKS 159 P/F‐A        EB159PFA             G02646         EB159           66.7%
EAST BREAKS 160 P/F‐A        EB160PFA             G02647         EB160          100.0%
EAST BREAKS 165 P/F‐A        EB165PFA             G06280         EB165          100.0%
EAST CAMERON 330 P/F‐B       EC330PFB             G03540         EC330           95.0%
EAST CAMERON 332 P/F‐A       EC332PFA             G09478         EC332           90.4%
EAST CAMERON 349 P/F‐A       EC349PFA             G14385         EC349           25.0%
EUGENE IS 032 #012 CAS P/F   EI032PF12            00196          EI032           23.7%
EUGENE IS 032 #016 CAS P/F   EI032PF16            00196          EI032           23.7%
EUGENE IS 032 #020 CAS P/F   EI032PF20            00196          EI032           23.7%
EUGENE IS 032 #029 CAS P/F   EI032PF29            00196          EI032           23.7%
EUGENE IS 032 #8 CAS P/F     EI032PF08            00196          EI032           23.7%
EUGENE IS 032 P/F‐10         EI032PF10            00196          EI032           23.7%
EUGENE IS 032 P/F‐22         EI032PF22            00196          EI032           23.7%
EUGENE IS 032 P/F‐23         EI032PF23            00196          EI032           23.7%
EUGENE IS 032 P/F‐24         EI032PF24            00196          EI032           23.7%
EUGENE IS 032 P/F‐25         EI032PF25            00196          EI032           23.7%
EUGENE IS 032 P/F‐26         EI032PF26            00196          EI032           23.7%
EUGENE IS 032 P/F‐27         EI032PF27            00196          EI032           23.7%
EUGENE IS 032 P/F‐28         EI032PF28            00196          EI032           23.7%
EUGENE IS 032 P/F‐30         EI032PF30            00196          EI032           23.7%
EUGENE IS 032 P/F‐5          EI032PF5             00196          EI032           23.7%
EUGENE IS 032 P/F‐A          EI032PFA             00196          EI032           23.7%
EUGENE IS 032 P/F‐A‐PRD      EI032PFAPR           00196          EI032           23.7%
EUGENE IS 032 P/F‐A‐QRT      EI032PFAQR           00196          EI032           23.7%
EUGENE IS 032 P/F‐A‐TNK      EI032PFATN           00196          EI032           23.7%
EUGENE IS 032 P/F‐E          EI032PFE             00196          EI032           23.7%
EUGENE IS 032 P/F‐E‐PRD      EI032PFEPR           00196          EI032           23.7%
EUGENE IS 032 P/F‐F‐CMP      EI032PFFCM           00196          EI032           23.7%
EUGENE IS 032 P/F‐F‐PROD     EI032PFFPR           00196          EI032           23.7%
EUGENE IS 032 P/F‐F‐TANK     EI032PFFTN           00196          EI032           23.7%
EUGENE IS 032 P/F‐F‐TRT      EI032PFFTR           00196          EI032           23.7%
EUGENE IS 032 P/F‐GM‐VALVE   EI032PFGMV           00196          EI032           23.7%
EUGENE IS 032 P/F‐H          EI032PFH             00196          EI032           23.7%
EUGENE IS 053 P/F‐10         EI5310CAS            00479          EI053            0.0%
EUGENE IS 053 P/F‐12         EI5312CAS            00479          EI053            0.0%
EUGENE IS 053 P/F‐8          EI538CAS             00479          EI053           11.1%
EUGENE IS 053 P/F‐9          EI539PLT             00479          EI053           11.1%
EUGENE IS 053 P/F‐B          EI53BPLT             00479          EI053           11.1%
EUGENE IS 053 P/F‐C          EI53CPLT             00479          EI053            5.6%
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Asset Name                  FWE Acct. Code     Lease Number    Area/Block        WI
EUGENE IS 053 P/F‐D         EI53DCAS              00479           EI053           0.0%
EUGENE IS 053 P/F‐G         EI53GCAS              00479           EI053          11.1%
EUGENE IS 063 P/F‐A         EI063PFA               00425          EI062         140.0%
EUGENE IS 063 P/F‐B         EI063PFB               00425          EI062         140.0%
EUGENE IS 063 P/F‐C‐QTR     EI063PFC               00425          EI062         140.0%
EUGENE IS 100 P/F‐D‐QTR     EI100PFD              00796           EI100         100.0%
EUGENE IS 175 P/F‐C‐PROD    EI175CPRD               438           EI175          25.0%
EUGENE IS 175 P/F‐D         EI175DPLT               438           EI175          25.0%
EUGENE IS 175 P/F‐F         EI175FPLT               438           EI175          25.0%
EUGENE IS 175 P/F‐H         EI175HCAS               438           EI175          25.0%
EUGENE IS 175 P/F‐I         EI175ICAS               438           EI175          25.0%
EUGENE IS 175 P/F‐J         EI175JPLT               438           EI175          25.0%
EUGENE IS 296 P/F‐B         EI296PFB             G01687M         EI 296          14.5%
EUGENE IS 307 P/F‐A         EI307PFA              G02110          EI307         100.0%
EUGENE IS 307 P/F‐B         EI307PFB              G02110          EI307         100.0%
EUGENE IS 312 P/F‐D         EI312PFD              G22679          EI312          60.0%
EUGENE IS 330 P/F A C S     EI330ACSPF            G02115          EI330           0.0%
EUGENE IS 330 P/F‐B         EI330BPLT             G02115          EI330           0.0%
EUGENE IS 330 P/F‐D         EI330DPLT             G02115          EI330           0.0%
EUGENE IS 342 P/F‐C         EI342CPLT             G02319          EI342           0.0%
GALVESTON 210 P/F‐1         GA2101CAS             G25524         GA210           33.3%
GALVESTON 210 P/F‐2         GA2102CAS             G25524         GA210           33.3%
GALVESTON 210 P/F‐B         GA210BPLT             G25524         GA210           33.3%
GALVESTON A‐155 P/F‐A       GAA155PFA             G30654        GAA155            8.1%
HIGH ISLAND A‐341 P/F‐B     HIA341BPLT            G25605         HIA341          40.0%
HIGH ISLAND A‐376 P/F‐A     HIA376APLT            G02754         HIA376          51.2%
HIGH ISLAND A‐376 P/F‐B     HIA376BPLT            G02754         HIA376          51.2%
HIGH ISLAND A‐376 P/F‐C     HIA376CPLT            G02754         HIA376          51.2%
HIGH ISLAND A‐382 P/F‐F     HIA382FPLT            G02757         HIA382          27.6%
HIGH ISLAND A‐474 P/F‐A     HIA474PFA             G02366         HIA474          12.0%
HIGH ISLAND A‐489 P/F‐B     HIA489PFB             G02372         HIA489          12.0%
HIGH ISLAND A‐550 P/F‐A     HIA550PFA             G04081         HIA550         100.0%
HIGH ISLAND A‐563 P/F‐B     HIA563PFB             G02388         HIA563           2.7%
HIGH ISLAND A‐573 P/F‐A     HIA573APLT            G02393         HIA573          27.6%
HIGH ISLAND A‐573 P/F‐B     HIA573BPLT            G02393         HIA573          27.6%
HIGH ISLAND A‐582 P/F‐C     HIA582PFC             G02719         HIA582           3.0%
HIGH ISLAND A‐582 P/F‐D     HIA582PFD             G02719         HIA582           2.6%
HIGH ISLAND A‐595 P/F‐CF    HIA595CFPT            G02721         HIA595          27.6%
HIGH ISLAND A‐595 P/F‐D     HIA595DPLT            G02721         HIA595          27.6%
HIGH ISLAND A‐596 P/F‐E     HIA596EPLT            G02722         HIA596          27.6%
MAIN PASS 077 P/F‐A         MP077PFA              G04481         MP077           73.8%
SHIP SHOAL 149 P/F‐C        SS149PFC                434          SS149            3.0%
SHIP SHOAL 169 P/F‐BB       SS169PFBB             00820          SS169           33.3%
SHIP SHOAL 169 P/F‐C        SS169PFC              00820          SS169           33.3%
SHIP SHOAL 169 P/F‐G        SS169PFG              00820          SS169           33.3%
SHIP SHOAL 177 P/F‐7        SS177PF7              00590          SS177           25.0%
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Asset Name                    FWE Acct. Code   Lease Number    Area/Block        WI
SHIP SHOAL 177 P/F‐A          SS177PFA            00590          SS177           25.0%
SHIP SHOAL 189 P/F‐A          SS189APLT           G04232         SS189            0.0%
SHIP SHOAL 189 P/F‐A          SS189APLT           G04232         SS189            1.0%
SHIP SHOAL 189 P/F‐A          SS189APLT           G04232         SS189            1.0%
SHIP SHOAL 189 P/F‐C          SS189PFC            G04232         SS189            0.0%
SHIP SHOAL 204 P/F‐A          SS204APLT           G01520         SS204           20.9%
SHIP SHOAL 204 P/F‐A          SS204APLT           G01520         SS204            0.2%
SHIP SHOAL 204 P/F‐A‐GEN      SS204AGEN           G01520         SS204           20.9%
SHIP SHOAL 204 P/F‐A‐GEN      SS204AGEN           G01520         SS204            0.2%
SHIP SHOAL 204 P/F‐A‐PROD     SS204APRD           G01520         SS204           20.9%
SHIP SHOAL 204 P/F‐A‐PROD     SS204APRD           G01520         SS204            0.2%
SHIP SHOAL 206 P/F‐E          SS206EPLT           G01522         SS206           40.0%
SHIP SHOAL 207 P/F‐A‐CMP      SS207ACOMP          G01523         SS207           47.3%
SHIP SHOAL 207 P/F‐A‐CMP      SS207ACOMP          G01523         SS207            0.3%
SHIP SHOAL 207 P/F‐A‐DRILL    SS207ADRL           G01523         SS207           47.3%
SHIP SHOAL 207 P/F‐A‐DRILL    SS207ADRL           G01523         SS207            0.3%
SHIP SHOAL 207 P/F‐A‐MANTIS   SS207PFAMA          G01523         SS207           47.3%
SHIP SHOAL 207 P/F‐A‐MANTIS   SS207PFAMA          G01523         SS207            0.3%
SHIP SHOAL 207 P/F‐A‐PROD     SS207APRD           G01523         SS207           47.3%
SHIP SHOAL 207 P/F‐A‐PROD     SS207APRD           G01523         SS207            0.3%
SHIP SHOAL 207 P/F‐D          SS207DPLT           G01523         SS207           47.0%
SHIP SHOAL 207 P/F‐D          SS207DPLT           G01523         SS207            0.3%
SHIP SHOAL 207 P/F‐DWPF       SS207PFDWP          G01523         SS207           19.8%
SHIP SHOAL 214 P/F‐4          SS214PF4            00828          SS214           35.5%
SHIP SHOAL 214 P/F‐E          SS214PFE            00828          SS214           35.5%
SHIP SHOAL 214 P/F‐F          SS214PFF            00828          SS214           35.5%
SHIP SHOAL 214 P/F‐H          SS214PFH            00828          SS214           35.5%
SHIP SHOAL 214 P/F‐K          SS214PFK            00828          SS214           35.5%
SHIP SHOAL 214 P/F‐L          SS214PFL            00828          SS214           35.5%
SHIP SHOAL 216 P/F‐C          SS216CPLT           G01524         SS216            5.2%
SHIP SHOAL 216 P/F‐C          SS216CPLT           G01524         SS216            0.3%
SHIP SHOAL 233 P/F‐A          SS233PFA            G15293         SS233           33.8%
SHIP SHOAL 233 P/F‐B          SS233PFB            G01528         SS233           33.8%
SHIP SHOAL 238 P/F‐A          SS238PFA            G03169         SS238           34.5%
SHIP SHOAL 238 P/F‐B          SS238PFB            G03169         SS238           34.5%
SHIP SHOAL 246 P/F‐A          SS246PFA            G01027         SS246           78.7%
SHIP SHOAL 246 P/F‐E          SS246PFE            G01027         SS246           78.7%
SHIP SHOAL 246 P/F‐J          SS246PFJ            G01027         SS246          100.0%
SHIP SHOAL 247 P/F‐F          SS247PFF            G01028         SS247           87.0%
SHIP SHOAL 248 P/F‐D          SS248PFD            G01029         SS248           83.3%
SHIP SHOAL 248 P/F‐G          SS248PFG            G01029         SS248           83.3%
SHIP SHOAL 253 P/F‐C          SS253PFC            G01031         SS253          100.0%
SHIP SHOAL 253 P/F‐D          SS253PFD            G01031         SS253          100.0%
SHIP SHOAL 253 P/F‐E          SS253PFE            G01031         SS253          100.0%
SHIP SHOAL 253 P/F‐F          SS253PFF            G01031         SS253          100.0%
SHIP SHOAL 291 P/F‐A          SS291PFA            G02923         SS291          100.0%
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Asset Name                     FWE Acct. Code   Lease Number   Area/Block        WI
SHIP SHOAL 300 P/F‐A           SS300PFA           G07760         SS300           24.3%
SHIP SHOAL 300 P/F‐B           SS300PFB           G07760         SS300           21.8%
SHIP SHOAL 315 P/F‐A           SS315PFA           G09631         SS315           25.0%
SOUTH MARSH IS 066 P/F‐C       SM66CPLT           G01198         SM058           50.0%
SOUTH MARSH IS 066 P/F‐D       SM66DPLT           G01198         SM066           50.0%
SOUTH MARSH IS 102 P/F‐A       SM102PFA           G24872         SM102          100.0%
SOUTH MARSH IS 132 P/F‐B       SM132BPLT          G02282         SM132           50.0%
SOUTH MARSH IS 137 P/F‐A       SM137APLT          G02589         SM137           50.0%
SOUTH MARSH IS 142 P/F‐A       SM142PFA           G01216         SM142          100.0%
SOUTH MARSH IS 142 P/F‐C       SM142PFC           G01216         SM142          100.0%
SOUTH MARSH IS 146 P/F‐B       SM146PFB           G09546         SM146          100.0%
SOUTH MARSH IS 147 P/F‐A       SM147PFA           G06693         SM147          100.0%
SOUTH MARSH IS 268 P/F‐A‐DRL   SM268APLT          G02310         SM268           30.1%
SOUTH MARSH IS 268 P/F‐A‐DRL   SM268APLT          G02310         SM268            0.4%
SOUTH MARSH IS 268 P/F‐A‐PRD   SM268APRD          G02310         SM268           30.1%
SOUTH MARSH IS 268 P/F‐A‐PRD   SM268APRD          G02310         SM268            0.4%
SOUTH MARSH IS 268 P/F‐D       SM268DPLT          G02310         SM268           30.1%
SOUTH MARSH IS 268 P/F‐D       SM268DPLT          G02310         SM268            0.4%
SOUTH MARSH IS 269 P/F‐B       SM269BPLT          G02311         SM269           26.8%
SOUTH MARSH IS 269 P/F‐B       SM269BPLT          G02311         SM269            0.4%
SOUTH MARSH IS 269 P/F‐F       SM269FCAS          G02311         SM269           11.9%
SOUTH MARSH IS 269 P/F‐F       SM269FCAS          G02311         SM269            0.4%
SOUTH MARSH IS 280 P/F‐G       SM280GPLT          G14456         SM280            0.0%
SOUTH MARSH IS 280 P/F‐H       SM280HPLT          G14456         SM280           50.0%
SOUTH MARSH IS 280 P/F‐I       SM280IPLT          G02600         SM280           41.2%
SOUTH MARSH IS 280 P/F‐I       SM280IPLT          G02600         SM280            0.3%
SOUTH MARSH IS 281 P/F‐C       SM281PFC           G02600         SM281           31.4%
SOUTH MARSH IS 281 P/F‐C       SM281PFC           G02600         SM281            0.5%
SOUTH MARSH IS 281 P/F‐E       SM281EPLT          G02600         SM281           31.4%
SOUTH MARSH IS 281 P/F‐E       SM281EPLT          G02600         SM281            0.5%
SOUTH PASS 060 P/F‐A           SP060PFA           G01608         SP060          100.0%
SOUTH PASS 060 P/F‐B           SP060PFB           G01608         SP060          100.0%
SOUTH PASS 060 P/F‐C           SP060PFC           G01608         SP060          100.0%
SOUTH PASS 060 P/F‐D           SP60PFD            G01608         SP60P          100.0%
SOUTH PASS 060 P/F‐E           SP060PFE           G01608         SP060          100.0%
SOUTH PASS 060 P/F‐F           SP060PFF           G01608         SP060          100.0%
SOUTH PASS 060 P/F‐G           SP60PFG            G01608         SP60P          100.0%
SOUTH PASS 067 P/F‐A           SP067PFA           G01612         SP067          100.0%
SOUTH PELTO 013 P/F‐7          PL013PF7           G03171         PL013            2.0%
SOUTH PELTO 013 P/F‐9          PL013PF9           G03171         PL013            2.0%
SOUTH PELTO 013 P/F‐A          PL013PFA           G03171         PL013            0.0%
SOUTH PELTO 013 P/F‐B          PL013PFB           G03171         PL013            0.0%
SOUTH PELTO 013 P/F‐S          PL013PFS           G03171         PL013            0.0%
SOUTH TIMBALIER 195 P/F‐B      ST195PFB           G03593         ST195          100.0%
SOUTH TIMBALIER 316 P/F‐A      ST316PFA           G22762         ST316           40.0%
VERMILION 196 P/F‐A            VR196PFA           G19760         VR196          100.0%
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Asset Name                      FWE Acct. Code   Lease Number   Area/Block      WI
VERMILION 261 P/F‐A             VR261APLT          G03328         VR261         25.0%
VERMILION 261 P/F‐A‐AUX         VR261AAUX          G03328         VR261         25.0%
VERMILION 272 P/F‐A             VR272PFA           G23829         VR272        100.0%
VERMILION 272 P/F‐B             VR272PFB           G23829         VR272        100.0%
VERMILION 272 P/F‐C             VR272PFC           G23829         VR272        100.0%
VERMILION 313 P/F‐B             VR313PFB           G01172         VR313        100.0%
VERMILION 313 P/F‐C             VR313PFC           G01172         VR313        100.0%
VERMILION 313 P/F‐D             VR313PFD           G01172         VR313        100.0%
VERMILION 408 P/F‐A             VR408PF            G15212         VR408      0.331868
VIOSCA KNOLL 826 NEPTUNE SPAR   VK826NEP           G15441         VK826       100.0%
WEST CAMERON 065 P/F‐8          WC065CAIS8         G02825         WC065          0.0%
WEST CAMERON 065 P/F‐9          WC065CAIS9         G02825         WC065          0.0%
WEST CAMERON 065 P/F‐JA         WC65JAPLT          G02825         WC065          0.0%
WEST CAMERON 065 P/F‐JA‐AUX     WC65JAAUX          G02825         WC065          0.0%
WEST CAMERON 066 P/F‐B          WC066PFB           G02826         WC066         17.1%
WEST CAMERON 066 P/F‐E          WC066PFE           G02826         WC066         25.0%
WEST CAMERON 072 P/F‐1          WC072PF1           G23735         WC072         75.0%
WEST CAMERON 072 P/F‐2          WC072PF2           G23735         WC072         75.0%
WEST CAMERON 072 P/F‐3          WC072PF3           G23735         WC072         75.0%
WEST CAMERON 171 P/F‐A          WC171PFA           G01997         WC171         21.2%
WEST CAMERON 171 P/F‐A‐AUX1     WC171PFAA1         G01997         WC171         21.2%
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Exhibit III‐C(ii)
                        Name         State    County/Parish
                      BURRWOOD     Louisiana Plaquemines
                    HAYES LUMBER   Louisiana Jefferson Davis
                       HELIS 2     Louisiana      Iberia
                    MYETTE POINT   Louisiana     St. Mary
            Case 20-33948 Document 1254-1 Exhibit
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SEGMENTNUMBER       COMPANYNAME             ORGAREA   ORGBLOCK   ORGNAME        RECAREA   RECBLOCK   RECNAME        SIZE   PRODUCT     STATUS          ROWNUMBER FW Lease:
      7912       Fieldwood Energy, LLC         EB        160        A              HI        A582       SSTI         12      GAS     Out of Service      G08528   G02647
      7923       Fieldwood Energy, LLC         EB        165        A              HI       A 582      30 SSTI       12      GAS        Active           G08536   G06280
     10301       Bandon Oil and Gas, LP        EC        332        A              EC         330      08 SSTI       6       OIL     Out of Service      G14699   G09478
       44        Fieldwood Energy, LLC         EI        175        C              EI         176     12" SSTI       8       OIL     Out of Service      G13445    00438
     1128         Fieldwood Energy, LLC        EI        330     flanged end       EI        306     14‐inch SSTI   14       OIL     Out of Service      G02139A   G02115
     7943         Fieldwood Energy, LLC        EI        342          C            EI        327       08 SSTI       4       OIL     Out of Service      G08541    G02319
    18493         Fieldwood Energy, LLC        EI        342          C            EI        343        SSTI         6       GAS     Out of Service      G29108    G02319
    19960         Fieldwood Energy LLC         EI        342          C            EI        342     Blind Flange    6       OIL     Out of Service                G02319
                                                                                                                                                         G29471
    11923         Fieldwood Energy, LLC       EI         53          C            EI         64        22 SSTI       10      G/C      Out of Service     G20539     00479
     9211         Fieldwood Energy, LLC       EI         53          B            EI         64        22 SSTI       6       G/C     Partial Abandon     G12373     00479
    15298         Fieldwood Energy, LLC       GA         210         B            GA         239       12 SSTI       8       G/C          Active         G26931    G25524
    16077         Fieldwood Energy, LLC       HI         130         #2           HI         165     8‐inch SSTI     8      BLGH     Partial Abandon     G28284    G25579
    15401         Fieldwood Energy, LLC       HI        A 341        B            HI        A 340     30" SSTI      812      G/C          Active         G26938    G25605
     6669         Fieldwood Energy, LLC       HI        A 376        A            HI        A 356      12 SSTI       10      GAS      Out of Service     G05238    G02754
                                                                                                       12 SSTI
     6669         Fieldwood Energy LLC         HI       A 376    Platform A        HI       A 356      W/PSN        10       GAS     Out of Service      G05238    G02754
                                                                                                        10882
     7684         Fieldwood Energy, LLC        HI       A 550        A             HI       A 568      20 SSTI      10       GAS     Out of Service      G08276    G04081
                                                                  Subsea
     6340         Fieldwood Energy, LLC        HI       A 568                      HI       A 539      20 SSTI      20       G/C     Out of Service      G04974    G04081
                                                                   Valve
     5470         Fieldwood Energy, LLC        HI       A356       Valve           HI       A343        HIOS        12       GAS     Out of Service      G04050    G02754
    10882         Fieldwood Energy, LLC        HI       A356       10SST           HI       A356       12SSTI       12       GAS     Out of Service      G04051    G02754
     6504         Fieldwood Energy, LLC        HI       A595         D             HI        573         B          8        OIL     Out of Service      G28525    G02721
                                                                    SSTI
    14304         Fieldwood Energy, LLC       MP         101                      MP         102        Plat A       8      BLKG     Partial Abandon     G24687    G22792
                                                                  Manifold
                Fieldwood Energy Offshore
    15810                                     MP         29      Well No. 1       MP         118     Platform A      6      BLKG     Out of Service      G28216    G27196
                           LLC
                Fieldwood Energy Offshore
    15818                                     MP         77           A           MP         151       18"SSTI       8       GAS     Out of Service      G28221    G04481
                           LLC
                Fieldwood Energy Offshore
     4733                                     SM         142          A           SM         127       24 SSTI      10       G/C     Out of Service      G03441    G01216
                           LLC
                Fieldwood Energy Offshore
    15106                                     SM         146          B           SM         147          A          6      BLKG     Out of Service      G26837    G09546
                           LLC
    15107          Fieldwood Energy, LLC      SM         146          B           SM         147          A          4      BLKG     Out of Service      G26838    G09546
    15108          Fieldwood Energy, LLC      SM         147          A           SM         146          B          2      LIFT     Out of Service      G26839    G09546
                Fieldwood Energy Offshore
    19363                                     SM         147          A           SM         130       12 SSTI       6      BLKO     Out of Service      G14093    G06693
                           LLC
                Fieldwood Energy Offshore
    19363                                     SM         147          A           SM         130       12 SSTI       6      BLKO     Out of Service      G29316    G06693
                           LLC
    10977          Fieldwood Energy, LLC      SM         268          A           SM         280         #03        3       BLKG     Out of Service      G28756    G14456
    17499          Fieldwood Energy, LLC      SM         269          B           SM         268          A         10      GAS      Out of Service      G28484    G02311
                                                                                                                                     Permitted for
    13642         Fieldwood Energy, LLC       SM         280          H           SM         268          A         10      BLKG                         G28758    G14456
                                                                                                                                     Abandonment
     5427         Fieldwood Energy, LLC       SM         281         E            SM         268          A         12      SPLY     Out of Service      G02817    G02600
     5429         Fieldwood Energy, LLC       SM         281         C            SM         281       12 SSTI      10      SPLY     Out of Service      G02817    G02600
     6512         Fieldwood Energy, LLC       SM         281         C            SM         268          D         10      BLKO     Out of Service      G29131    G02600
    10268        Fieldwood Energy SP LLC      SP         60          A            SP          6          F/S        10       OIL     Out of Service      G14679    G02137
    20050         Fieldwood Energy, LLC       SS         168        SSTI          SS         168        SSTI        6                  Proposed          G28788     00820
     6748         Fieldwood Energy, LLC        SS        169     C Platform        SS        169     18‐inch SSTI    6       OIL     Out of Service      G09322     00820
    12778         Fieldwood Energy, LLC        SS        189          A            SS        185       26"SSTI      8        G/C     Out of Service      G22139    G04232
     1138         Fieldwood Energy, LLC        SS        204          A            SS        207          A         6        G/O     Out of Service      G13491    G01520
     1137         Fieldwood Energy, LLC        SS        207     A Platform        SS        204          A         4        GAS     Out of Service      G13489    G01523
     1147         Fieldwood Energy, LLC        SS        207          A            SS        208       F‐Pump       12       OIL     Out of Service      G13492    G01523
    17775         Fieldwood Energy, LLC        SS        253          C            SS        208       F‐Pump       4        OIL     Out of Service      G01691C   G01031
                                                                                                                                     Permitted for
    18094        Bandon Oil and Gas, LP        ST        195          B            ST        196        SSTI         6       G/C     Abandonment         G29005    G03593
                                                                                                                                       Approved
                                                                                                                                     Permitted for
    11107        Bandon Oil and Gas, LP        ST        196     06‐inch SSTI      SS        208          F          6       OIL     Abandonment         G05120    G03593
                                                                                                                                       Approved
    13720          Fieldwood Energy, LLC      VK         340       8"SSTI         VK         251          A         8       BLGH        Active           G28221    G04481
    13193         Bandon Oil and Gas, LP      VR         196         A            VR         206      12 SSTI       8        G/C     Out of Service      G22418    G19760
    18591          Fieldwood Energy, LLC      VR         196         A            VR         215          A         4       BLKO     Out of Service      G29137    G19760
    18588          Fieldwood Energy, LLC      VR         215         A            VR         196          A         4        GAS        Active           G29136    G19760
    17090          Fieldwood Energy, LLC      VR         261         A            VR         265          A         8       BLKO     Out of Service      G28347    G03328
    14609          Fieldwood Energy, LLC      VR         272        "A"           VR         250       8" SSTI      4        OIL     Out of Service      G25384    G23829
    14277          Fieldwood Energy, LLC      VR         272         A            SM         116      20" SSTI      10       G/C     Out of Service      G25288    G23829
                Fieldwood Energy Offshore
     5440                                     VR         313          B           VR         313       20 SSTI      10       GAS     Out of Service      G04044    G01172
                           LLC
    15136          Fieldwood Energy, LLC      VR         313          B           VR         313       6" SSTI       6       OIL     Out of Service      G03879    G01172
                Fieldwood Energy Offshore
     4289                                     WC         485          A           WC         509         GP         12       GAS     Out of Service      G02122E   G02220
                           LLC
                Fieldwood Energy Offshore
    14251                                     WC         72          #1           WC         65          JA          4      BLKG     Out of Service      G25275    G23735
                           LLC
    16088          Fieldwood Energy, LLC      WD         122          A           WD         105         E           6       GAS     Out of Service      G28289    G13645
    16089          Fieldwood Energy, LLC      WD         122          A           WD         105         E           3       OIL     Out of Service      G28290    G13645
    15960          Fieldwood Energy, LLC      WD         90           A           WD         73         SSTI         4       OIL     Out of Service      G28260    G01089
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                                                             Exhibit III-D(ii)


Area   Block No.   Structure   Complex ID No. Authority No. FW Lease             Operator              Approval Date        Associated Assets
                                                                                                                       EI 63 002,003, EI 62 and 005,
 EI       63          A            21515        G30244       00425     Fieldwood Energy Offshore LLC     12/02/13
                                                                                                                        006, 008, 009, 010 and 011
EI       63           B            21515        G30244       00425     Fieldwood Energy Offshore LLC     12/02/13         Production from EI 63 A
EI       63         C-QTR          21515        G30244       00425     Fieldwood Energy Offshore LLC     12/02/13         Production from EI 63 A
SM       146          B            1663         G30248      G09546     Fieldwood Energy Offshore LLC     08/21/13          SM 139 B001 & B002
SM       147          A            23389        G30200      G06693     Fieldwood Energy Offshore LLC     09/12/13      SM 139 B001, B002 & B002D
WD       86           A            22593        G30173      G04243     Fieldwood Energy Offshore LLC     06/20/13       WD 86 B001, B002 & B005
                   A-Neptune
VK       826                       24235        G30353      G15441         Fieldwood Energy LLC          07/03/18      VK 917 SS001 & VK 962 SS001
                     Spar
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                                   Exhibit III-E

Call Signs:
WQBQ549
WQRK423
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                                              Exhibit III-F




Contract Type           Contract Date   Contract Title                        Contract Description
Land                    8/29/1956       Operating Agreement                   Operating Agreement eff. 8‐29‐1956
Land                    12/4/1958       Operating Agreement                   Operating Agreement eff. 12‐4‐58
Land                    7/25/1960       Operating Agreement                   Operating Agreement, dated effective July 25,1960, as amended, between Second Mobil Oil
                                                                              Company, Inc., Gulf Oil 'Corporation, and Humble Oil & Refining Company, as amended, SS 169
                                                                              Field.
Land                    3/1/1961        Operating Agreement                   SS 214 Operating Agreement eff. 3‐1‐61
Land                    3/13/1962       Operating Agreement                   Operating Agreement dated 3/13/62 between The Pure Oil Company and The Ohio Oil Company

Land                    7/3/1962        Operating Agreement                   Operating Agreement eff 7‐3‐62 as amended
Land                    1/12/1965       Joint Operating Agreement             Main Agreement, dated effective January 12,1965, between Cities Service Oil Company, Skelly
                                                                              Oil Company, Sunray DX Oil Company and Tidewater Oil Company, governing operations on the
                                                                              contract area. The Operating Agreement contained in Exhibit "C" of the Main Agreement was
                                                                              superseded by the Joint Operating Agreement eff. 1/1/97


Land                    1/21/1966       Unit Agreement No. 14‐08‐001‐8784     Unit No. 891008784 ‐ SS 271
Land                    2/26/1966       Offshore Operating Agreement          Operating Agreement by and between Hardy Oil & Gas USA Inc., As Operator and British‐Borneo
                                                                              Exploration, Inc. and Zilkha Energy Company, As Non‐Operators
Land                    6/10/1966       Unit Operating Agreement Ship Shoal   SS 271 Unit Operating Agreement (Unit#891008784) As Amended, originally by and between
                                                                              Forest Oil Corp. as Operator, and Texas Gas Exploration Corp. et al as Non‐Operators


Land                    12/23/1966      Joint Operating Agreement             Operating Agreement by and between American Petrofina Exploration Company (Operator),
                                                                              Chambers & Kennedy, COperating Agreementstal Production Company, Waymon G. Peavy,
                                                                              Harbert Construction Company, Jenney Manufacturing Company, Kirby Petroleum Co., HC Price
                                                                              Co., States Marine Lines, Inc., Pan American Petroleum Corporation

Land                    1/1/1971        Joint Operating Agreement             PENNZOIL OFFSHORE GAS OPERATORS, INC., MESA PETROLEUM CO., ET AL.
Land                    2/1/1971        Joint Operating Agreement             Operating Agreement, dated February 1,1971, between Tenneco Oil Company and Texaco Inc.
                                                                              Amendment to Operating Agreement, dated effective May 1,1974, between Tenneco Oil
                                                                              Company, Texaco Inc. and Tenneco Exploration 11, Ltd., whereby Tenneco Exploration II became
                                                                              a party to, and ratified, the operating agreement.
Land                    8/1/1973        Joint Operating Agreement             OPERATING AGREEMENT BY AND BETWEEN MOBIL OIL CORPORATION AND UNION OIL
                                                                              COMPANY OF CALIFORNIA ET AL
Land                    8/1/1973        Offshore Operating Agreement          Operating Agreement 8/1/1973
Land                    8/1/1973        Offshore Operating Agreement          Operating Agreement eff. 8‐1‐73
Land                    8/1/1973        Offshore Operating Agreement          Operating Agreement eff. 8‐1‐73
Land                    7/1/1974        Joint Operating Agreement             OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                              UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                              PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land                    7/1/1974        Joint Operating Agreement             OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                              UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                              PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land                    7/1/1974        Joint Operating Agreement             OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                              UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                              PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    7/1/1974        Joint Operating Agreement             Operating Agreement originally by and between Mobil Oil Corporation, Union Oil Company of
                                                                              Califomia and Amoco Production Company, as amended
Land                    9/3/1974        FO                                    Farmout Agreement by and between CNG Producing Company, Columbia Gas Development
                                                                              Corporation and Forest Oil Corporation
Land                    7/1/1975        Joint Operating Agreement             Operating Agreement eff. 7/1/75 by and between Mesa Petroleum as Operator and American
                                                                              Natural Gas Production Co, et al
Land                    9/1/1975        Joint Operating Agreement             First Amendment to Operating. Agreements, dated effective September 1, 1975, between Mobil
                                                                              Oil Corporation, Amoco Production Company, and 'Union Oil Company of Califomia.

Land                    3/17/1976       Joint Operating Agreement             Unit Operating Agreement 3/17/76 between Forest Oil Corp and Columbia Gas Development
                                                                              Corp, etal
Land                    4/1/1976        Joint Operating Agreement             Operating Agreement eff. 4‐1‐76 as amended
Land                    4/1/1977        Unit Operating Agreement              UNIT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION , APACHE
                                                                              CORPORATION, ET AL.
Land                    4/1/1977        Unit Agreement No. 14‐08‐0001‐16943   Unit Agreement, JD Sand, Reservoir A, Eugene Isiand Block 330 Field (Unit Number 891016943),
                                                                              dated effective April 1,1977, naming Pennzoil Oil & Gas, Inc., as Operator, and Texaco Inc. and
                                                                              Shell Oil Company, as sub‐operators
Land                    8/1/1977        Joint Operating Agreement             Operating Agreement eff. 8‐1‐77 b/b Transco et al
Land                    5/2/1978        FO                                    FARMOUT AGREEMENT EFFECTIVE MAY 2, 1978, BY AND BETWEEN ENSERCH, FARMOR, AND
                                                                              ANADARKO, FARMEE.
Land                    8/17/1978       Ownership Agreement “F” Platform      Platform Ownership Agreement by and between CNG Producing Company, Columbia Gas
                                                                              Development Corporation, Texas Gas Exploration Corporation, Pelto Oil Company, Ocean
                                                                              Production Company, Ocean Oil and Gas Company
Land                    9/15/1978       Joint Operating Agreement             Amendment of Operating Agreement, dated September 15, 1978, between Amoco Production
                                                                              Company, Mobil Oil Corporation, and 'Union Oil Company of California.
Land                    11/13/1978      Joint Operating Agreement             Second Amendment to Operating Agreements, dated effective; November 13, 1978,.between
                                                                              Mobil Oil Corporation, Amoco Production Company, and Union Oil Company of Califomia

Land                    11/13/1978      Joint Operating Agreement             Fourth Amendment to Operating Agreements, dated effective; November 13, 1978,.between
                                                                              Mobil Oil Corporation, Amoco Production Company, and Union Oil Company of Califomia

Land                    11/17/1978      FO                                    Farmout Agreement dated November 17,1978 between Gulf Oil Corporation and Shell Oi!
                                                                              Company covering the Northeast Quarter (NE/4) of that certain Oil and Gas Lease dated July
                                                                              1,1967 bearing Serial No. OCS‐G 1609, South Pass Area Block 61.
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Land           5/2/1979      Proposed Installation and Operating      Installation and Operating Agreement by and between CNG Producing Company, Consolidated
                             Agreement of Ship Shoal Area Block 246   Gas Supply Corporation
                             Field (“A” Platform)
Land           9/15/1979     Joint Operating Agreement                OPERATING AGREEMENT EFFECTIVE SEPTEMBER 15, 1979, BY AND BETWEEN ANADARKO
                                                                      PRODUCTION CO, AS OPERATOR, AND PAN EASTERN EXPLORATION COMPANY, DIAMOND
                                                                      SHAMROCK CORPORATION, COLUMBIA GAS DEVELOPMENT CORPORATION, TEXASGULF, INC,
                                                                      AND SAMEDAN OIL CORPORATION, NON‐OPERATORS.
Land           12/1/1979     OFFSHORE OPERATING AGREEMENT             OFFSHORE OPERATING AGREEMENT b/b SHELL OIL COMPANYand FLORIDA EXPLORATION
                                                                      COMPANY, ET AL
Land           1/1/1980      Joint Operating Agreement                Third Amendment to Operating Agreements, dated effective January 1, 1980, between Mobil Oil
                                                                      Corporation, Amoco Production Company, and Union Oil Company bf Califomia.

Land           4/1/1981      Unit Operating Agreement                 Unit Operating Agreement; dated April 1,1981, by and between Conoco Inc., Atlantic Richfield
                                                                      Company, Getty Oil Company, Cities Service Company, Placid Oil Company, Hamilton Brother Oil
                                                                      Company, Mobil Oil Exploration and Producing S.E., Inc., Gulf Oil Corporation, Hunt Oil Company,
                                                                      Highland Resources, Inc., Hunt Industries and Prosper Energy Corporation, comprising all working
                                                                      interest owners in the Ship ShOperating Agreementl Blocks 206, 207„OCS‐G:i523:ahd OCS‐G
                                                                      1523, respectively.
Land           4/22/1980     Joint Operating Agreement                Amendment to Operating Agreement, dated April 22, 1980, between Union Oil Company, of
                                                                      Califomia and,Amoco;Production Company.
Land           9/1/1981      Joint Operating Agreement                Offshore Operating Agreement (MP 108+) 9/1/1981
Land           4/28/1982     Letter Agreement                         Letter Agreement dated April 28,1982 between Gulf Oil Corporation and Shell Oil Company
                                                                      evidencing an agreement for Gulf Oil Company to install a Drilling Platform in the Northeast
                                                                      Quarter (NE/4) South Pass Area Block 61.
Land           1/1/1983      ORRI                                     Conveyance of Overriding Royalty Interests, dated effective January 1,1983, creating the Tel
                                                                      Offshore Trust, and granting an overriding royalty interest, equivalent to 25% net profits interest,
                                                                      in all of Tenneco Exploration, Ltd.'s oil and gas properties
Land           8/4/1983      Area of Mutual Interest Agreement        Area of Mutual Interest Agreement effective August 4, 1984 BY AND BETWEEN APACHE
                                                                      CORPORATION AND SHELL OFFSHORE CONTIGUOUS BLOCK TO SHELL VENTURE PROPERTY THAT
                                                                      MAY TRIGGER AMI RESPONSIBILITY REGARDING FUTURE PURCHASE OR BID OF TRACTS
                                                                      COVERING GEOLOGIC STRUCTURE COMMON TO EXISTING SHELL VENTURE PROPERTY

Land           4/13/1984     Unit Operating Agreement                 WD 27 28 Unit Operating Agreement Tenneco OP & Samedan et al as amended
Land           6/3/1985      Consent to Assign                        Consent to Assignment of Interest, dated June 3,1985, between Tenneco Exploration, Ltd. and
                                                                      Texaco Inc., as Grantors of Consent, and Huffco Petroleum, as Assignor, and L. S. Holding
                                                                      Company, AE Investments, Inc., Colton Gulf COperating Agreementst, Inc., and Huffco 1982
                                                                      Exploration Limited Partnership, as Assignees, assigning all of Huffco Petroleum's record title
                                                                      interest to the Assignees.
Land           3/3/1986      OA                                       Offshore Operating Agreement (All of Block 300 ‐ A Wells) 3/3/1986
Land           5/1/1986      Assignment                               Assignment, dated effective May 1,1986, whereby Tenneco Exploration, Ltd. transferred all of its
                                                                      interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to Plumb Offshore, Inc.,
                                                                      subject to the reservation of an overriding royalty interest.

Land           7/1/1986      Joint Operating Agreement                Amendment to Operating Agreement, dated effective July 1, 1986,, between Amoco Production
                                                                      Company; Union Oil Company of California, and Mobil ProducingTexas & New Mexico, Inc.

Land           10/20/1986    UA                                       Unit Agreement 10/20/86 between Chevron USA Inc., Union Exploraiton partners, LTD, and
                                                                      Pennzoil Producing Company
Land           10/31/1986    Assignment                               Assignment of Interest, dated effective October 31,1986, whereby Tenneco Exploration, Ltd.
                                                                      transferred all of its interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to
                                                                      Tenneco Oi! Company.
Land           1/1/1989      OPERATING AGREEMENT                      CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                      COMPANY ET AL
Land           1/1/1989      OPERATING AGREEMENT                      CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                      COMPANY ET AL
Land           1/1/1989      OA                                       Operating Agreement 1/1/89
Land           5/2/1989      Letter Agreement                         Letter Agreement, dated May 2, 1989, between Southern Natural Gas Company and Chevron
                                                                      U:S.A. Inc.,concerning the "Construction, Installation, Operation and Maintenance of
                                                                      Measurement and Pipeline Facilities "
                                                                      for receipt points at various locations on the OCS, including Main Pass 77 'A' platform (as
                                                                      amended). Consent Sec. 1O.
Land           9/10/1990     FO                                       Farmout Agreement (Forest ‐ SS 291/300) 9/10/1990
Land           9/15/1990     OA                                       Offshore Operating Agreement (NW/4 NW/4 Blk 300 ‐ B Wells) 9/15/1990
Land           10/1/1990     Joint Operating Agreement                RATIFICATION AND AMENDMENT NUMBER 1 TO JOINT OPERATING AGREEMENT DATED
                                                                      OCTOBER 1, 1990, BY AND BETWEEN CONOCO INC. AND TEXAS PRODUCING INC.
Land           10/1/1990     UOA                                      UA and Unit Operating Agreement dated 10/1/90 between Marathon Oil Co and Phillips
                                                                      Petroleum etal
Land           1/1/1991      PA                                       Offshore Participation Agreement, dated effectiveJanuary 1,1991, between Unocal Exploration
                                                                      Corporation, The Northwestern Mutual Life Insurance Company, and Hardy Oil & Gas USA Inc.,
                                                                      BA A105.
Land           5/1/1991      Joint Operating Agreement                JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND PRODUCTION
                                                                      INC., MOBIL OIL EXPLORATION & PRODUCING SOUTHEAST ET AL
Land           10/1/1991     FO                                       FO and Operating Agreement dated 10/1/91 between Torch Energy Advisors Inc etal and Hall‐
                                                                      Hosuton Oil Company
Land           4/1/1992      Unit Agreement                           Unit Agreement for Outer Continental Shelf Exploration, Development and. Production
                                                                      Operations on the South Pass Block 60 Unit (Blocks.6,17, 59, 60, 66 and 67) South Pass Area,
                                                                      Offshore Louisiana Outer Continental Shelf, Contract No. 754394018, as amended

Land           4/1/1992      Unit Agreement                           Amendment to Unit Agreement. For Outer Continental Shelf Exploration, Development and
                                                                      Production Operations on the South Pass Block 60 Unit (Blocks 6,17, 59, 60, 66 and 67) South
                                                                      Pass Area, Offshore Louisiana Outer Continental Shelf (Contract No. 754394018) to expand the
                                                                      Unit Agreement to include the NE/4 of the NW/4 of Block 61, OCS‐G 1609, South. Pass Area.

Land           5/2/1992      ABOS                                     Agreement and Bill of Sale, dated effective May 2,1992, between Union Oil Company of
                                                                      California, as Seller, and The Northwestern Mutual Life Insurance Company and Hardy Oil & Gas
                                                                      USA Inc., as Buyers, selling 43.75% interest in the BA A‐105 "A" Platform, equipment arid
                                                                      pipeline, to NW Mutual 31.25%, and Hardy 12.50%.
Land           5/15/1992     Unit Agreement                           EC 331/332 Unit Agreement
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Land           6/25/1992     Letter Agreement                      Letter Agreement, dated June 25, 1992, between Chevron U.S.A. Inc. ("Chevron") and Southern
                                                                   Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic Chart
                                                                   Recorders Permit ‐ Various Meter Stations, Offshore Louisiana ", whereby Chevron obtained
                                                                   consent from Southern for Chevron to connect, operate and maintain pneumatic chart recorders
                                                                   on various of Southern's existing meter stations, offshore, Louisiana (including Main Pass Area
                                                                   Block 77 "A" platform).
Land           7/1/1992      FO                                    Farmout Agreement 7/1/1992
Land           7/1/1992      OA                                    Offshore Operating Agreement 7/1/1992
Land           1/1/1993      OA                                    Operating Agreement 1/1/1993
Land           2/15/1993     Letter Agreement                      Letter Agreement, dated effective February 15, 1993, between Chevron U.S.A. Inc. ("Chevron")
                                                                   and Southern Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic
                                                                   Chart Recorders Permit ‐
                                                                   Various Meter Stations, Offshore Louisiana", whereby Chevron and Southern agree to amend
                                                                   and replace Exhibit "A" to that certain Letter Agreement, dated June 25, 1992 (described
                                                                   hereinabove).
Land           4/2/1993      ABOS                                  Bill of Sale, dated April 2, 1993, from Southern Natural Gas Company ("Southern") to Chevron
                                                                   U.S.A. Inc.("Purchaser"), whereby Southern sells to Purchaser certain Barton chart recorders and
                                                                   appurtenant equipment
                                                                   located at various on various of Southern's existing meter stations, offshore, Louisiana (including
                                                                   Main Pass Area Block 77 "A" platform).
Land           6/15/1993     GC 244 Unit Agreement                 Unit Agreement for Outer Continental Shelf Exploration, Development, and Production
                                                                   Operations on the Green Canyon Block 244 Unit (Contract No. 754393016) dated effective June
                                                                   15, 1993, covering OCS‐G 11043 (Green Canyon Block 244), OCS‐G 12209 (Green Canyon
                                                                   Block 200), and OCS‐G 12210 (Green Canyon Block 201).


Land           6/15/1993     Unit Operating Agreement              Unit Operating Agreement dated effective June 15, 1993 between Shell Offshore Inc and
                                                                   Marathon Oil Company, as successors in interest.

Land           8/16/1993     Joint Operating Agreement             Amendment to'Operating Agreement, dated August 16, 1993, between Express Acquisition
                                                                   Company and Torch EnergyAdvisors Inc.
Land           12/30/1993    OA                                    WD 90, WD 103 Operating AgreementS 12‐30‐1993
Land           1/1/1994      Co‐Development Agreement and          Co‐Development Agreement and Amendment to Unit Operating Agreement originally by and
                             Amendment to Unit Operating           between CNG Producing Company & Columbia Gas Development Corp., et al
                             Agreement
Land           2/10/1994     JDA                                   JOINT DEVELOPMENT AGREEMENT DATED FEBRUARY 10, 1994, BY AND BETWEEN PENNZOIL
                                                                   EXPLORATION AND PRODUCTION COMPANY, SONAT EXPLORATION COMPANY AND UNION OIL
                                                                   COMPANY OF CALIFORNIA ‐ TERMINATED BY LETTER AGREEMENT DATED MARCH 10, 1999.

Land           5/12/1994     Letter Agreement                      Letter Agreement by and between CNG Producing Company and Columbia Gas Development
                                                                   Corporation
Land           6/1/1994      Joint Operating Agreement             OPERATING AGREEMENT DATED JUNE 1, 1994, BY AND BETWEEN NORCEN EXPLORER, INC,
                                                                   OPERATOR, AND DALEN RESOURCES OIL & GAS CO.
Land           7/1/1994      OA                                    Operating Agreement 7/1/1974
Land           7/7/1994      Letter Agreement                      LETTER AGREEMENT BY AND BETWEEN POGO PRODUCING COMPANY AND COCKRELL OIL AND
                                                                   GAS, L.P., ET AL
Land           7/15/1994     Letter Agreement                      LETTER AGREEMENT DATED JULY 15, 1994 BY AND BETWEEN STONE ENERGY CORPORATION AND
                                                                   DAVID U. MELOY.
Land           10/19/1994    JDA                                   Joint Venture Development Agreement, dated October 19,1994',,between Norcen Explorer, Inc.
                                                                   and Texaco Exploration and Production, Inc. forming a working‐interest unit comprising portions
                                                                   of'Ship .ShOperating Agreementl Block 206 and OCS‐G 1523,‐Ship ShOperating Agreementl Block
                                                                   207;
Land           11/16/1994    JDA                                   Joint Venture Development Agreement, dated November 16><1994, between Norcen.Explorer,
                                                                   Inc.,
                                                                   Texaco Exploration and1
                                                                    Production, Inc,, Industries, TheiGeorge R. Brown Partnership, JOC
                                                                   Venture, LamarHunt Trust Estate, Mobil Oil Exploration SoProducingiSoutheast Inc.,‐and Hunt Oil
                                                                   Company,.covering all of Blocks 206 and 207 Ship ShOperating Agreementl Area.

Land           11/30/1994    JDA                                   Amendment to Joint Venture Development Agreement, dated November'30,1994, between
                                                                   iNorcen Explorer,.'lnc., Texaco Exploration, and Production; Inc., Hunt Industries, The
                                                                   George.R..Brown Partnership, JOG Venture, Laniar Hunt Trust Estate, Mobil Oil Exploration
                                                                   &«Producing Southeast Inc., and Hunt Oil Company, covering all of Blocks 206 and 207 Ship
                                                                   ShOperating Agreementl Area.
Land           3/28/1995     Letter Agreement                      LETTER AGREEMENT DATED MARCH 28,1995, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                   AND DAVID U. MELOY, ET AL.
Land           4/6/1995      JDA                                   Amendment tp Joint Venture Development Agreement, dated April 6, 1995, between Norcen.
                                                                   Explorer, Inc., Texaco Exploration and Production; Inc., Hunt Industries, The George R. Brown,
                                                                   Partnership; JOC Venture, Lamar Hunt Trust Estate, Mobil Oil Exploration 8i Producing Southeast
                                                                   Inc., and Hunt Oil Company, covering; all of'Blocks.206 and 207 Ship ShOperating Agreementl
                                                                   Area.
Land           5/1/1995      Joint Operating Agreement             AMENDMENT TO OPERATING AGREEMENT DATED MAY 1, 1995, BY AND BETWEEN CONOCO INC.
                                                                   AND VASTAR RESOURCES, INC., ET AL.
Land           8/16/1995     Letter Agreement                      Letter Agreement by and between Columbia Gas Development and CNG Producing Company

Land           10/1/1995     Joint Operating Agreement             JOINT OPERATING AGREEMENT BY AND BETWEEN AMERADA HESS CORPORATION AND VASTAR
                                                                   RESOURCES INC.
Land           12/14/1995    LOI                                   REVISED LETTER OF INTENT (FARMOUT) DATED DECEMBER 14, 1995, BY AND BETWEEN ENSERCH
                                                                   EXPLORATION, INC, AND PETROBRAS AMERICA, INC.
Land           3/7/1996      Conditional Letter of Acceptance to   Letter Agreement by and between Hardy Oil & Gas USA, Inc., British‐Borneo Exploration by
                             Exploration Agreement                 Hardy Oil & Gas USA, inc., British Borneo Exploration, Inc. and Zilkha Energy Company

Land           4/17/1996     Plan of Development                   Plan of Development by and between Shell Offshore Inc, BP Exploration and Oil, Inc and
                                                                   marathon oil compnay dated effective 17 Apr 1996.




Land           8/26/1996     PSA                                   Purchase and Sale Agreement, dated August 26, 1996, between Amoco Production Company and
                                                                   Union Oil Company of California, EB 158/EB 159.
Land           9/1/1996      OA                                    Offshore Operating Agreement 9/1/1996
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Land           9/3/1996      OA                          Operating Agreement (depths below 9000' on VR 392 & VR 408; and all depths VR 407) 9/3/1996

Land           1/1/1997      OA                          Operating Agreement eff. 1‐1‐97
Land           5/1/1997      Joint Operating Agreement   Amendment to Operating Agreement, dated effective May 1,1997, between GOM Shelf, LLC, and
                                                         ChevronTexaco and Kerr‐McGee Oil & Gas Corporation, amending Exhibit "A" to reflect a new
                                                         division of interest.
Land           8/1/1997      UOA                         EC 331/332 Unit Operating Agreement
Land           3/13/1998     Joint Operating Agreement   AMENDMENT TO OPERATING AGREEMENT DATED MARCH 13, 1998, BY AND BETWEEN TEXACO
                                                         EXPLORATION AND PRODUCTION INC. AND VASTAR RESOURCES, INC.
Land           4/1/1998      JVA                         JOINT VENTURE AGREEMENT ‐ SPECTER PROSPECT DATED APRIL 1, 1998 BY AND BETWEEN SHELL
                                                         OFFSHORE, INC. AND ELF EXPLORATION INC. ET AL., as amended.
Land           4/1/1998      Joint Operating Agreement   OFFSHORE OPERATING AGREEMENT DATED APRIL 1, 1998, BY AND BETWEEN SHELL OFFSHORE
                                                         INC. AND SNYDER OIL CORPORATION, ET AL.
Land           4/6/1998      Letter Agreement            LETTER (ELF OFFERS NIPPON PART OF THE COperating AgreementSTAL INTEREST) DATED APRIL 6,
                                                         1998, BY AND BETWEEN ELF EXPLORATION INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED

Land           4/6/1998      JVA                         AMENDMENT TO JOINT VENTURE AGREEMENT‐ ELF ASSUMES COperating AgreementSTAL
                                                         POSISTION DATED APRIL 6, 1998 ELF EXPLORATION INC. AND COperating AgreementSTAL O&G
                                                         CORPORATION.
Land           4/10/1998     FO                          FARMOUT AGREEMENT DATED APRIL 10, 1998, BY AND BETWEEN COperating AgreementSTAL
                                                         O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land           4/13/1998     Letter Agreement            LETTER‐ NIPPON TAKES ITS SHARE OF COperating AgreementSTAL F/O & SHARE OF ELF'S
                                                         INTEREST DATED APRIL 13, 1998, BY AND BETWEEN ELF EXPLORATION INC., COperating
                                                         AgreementSTAL O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.

Land           11/5/1998     JVA                         ADDENDUM TO JOINT VENTURE AGREEMENT DATED NOVEMBER 5, 1998, BY AND BETWEEN
                                                         SHELL OFSSHORE INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED, ET AL.
Land           2/9/1999      Joint Operating Agreement   Offshore Operating Agreement, dated February 9, 1999, between Ocean Energy, Inc. and Shell
                                                         Offshore Inc., covering Vermilion 195, 196 and 207, as amended December 23, 1999 by that
                                                         certain Letter Agreement regarding the sale of properties to McMoran Oil & Gas LLC, and further
                                                         amended August 22, 2000, December 31, 2001 and September 15, 2010.

Land           12/1/1999     Assignment                  Assignment of Record Title Leasehold Interest dated effective December 1, 1999
                                                         between Shell Offshore Inc., as Assignor, and McMoRan Oil & Gas LLC, as Assignee,
                                                         covering OCS‐G 19760, Vermilion Block 196
Land           11/1/1980     Joint Operating Agreement   Operating Agreement, Main Pass Area, Blocks 77 and 78, Gulf of Meidco, dated effective
                                                         November 1, 1980,between Gulf Oil Corporation, Texoma Production'Company, The Anschutz
                                                         Corporation, NICOR Exploration
                                                         Company, and The Superior Oil Company, covering the federal Oil and Gas Lease OCS‐G 4481,
                                                         Blocks 77>and78 Main Pass Area, Offshore Louisiana, a true copy of the original is recorded in
                                                         C.O.B. 592, Folio 658,
                                                         Plaquemines Parish, Louisiana.
Land           12/15/1999    Letter Agreement            Letter Agreement, dated December 15, 1999, between Apache Corporation, Chevron U.S.A.
                                                         Production Company, Kelley Oil Corporation, Key Production Company, Mobil Exploration &
                                                         Producing U.S. Inc. and
                                                         Sabco Oil and Gas Corporation, regarding the OCS‐G 4481 #A‐23 Well, Main Pass Block 77, Main
                                                         Pass Block 151 Field, Offshore. LA. Note: only have Key's executed cop
Land           1/31/2000     FO                          Farmout Letter Agreement 1/31/2000
Land           8/4/2000      FO                          Farmout Agreement 8/4/2000
Land           1/1/2001      Joint Operating Agreement   Fifth Amendment to Operating Agreements, dated effective January 1,, 2001, between Union Oil
                                                         Company of Califomia and 'Vastar Offshore,Inc
Land           1/15/2001     Joint Operating Agreement   Amendment to Operating Agreement,, dated January 15, .2001, between Union Oil Company,
                                                         Amoco Production Company, and Vastar Offshore,'Inc
Land           11/17/2000    PA                          Participation Agreement and Operating Agreement 11‐17‐00 b/b Samedan and Stone
Land           3/1/2001      JDA                         Joint Development Agreement with Operating Agreement, dated March 1, 2001, between Union
                                                         Oil Company of Califomia, Vastar Offshore, Inc. and Panaco, Inc., parts of EB 161 and 205.

Land           6/1/2001      OA                          Offshore Operating Agreement 6/1/2001
Land           6/15/2001     Joint Operating Agreement   JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND RWE
                                                         PERTROLEUM COMPANY ET AL
Land           6/15/2001     JDA                         JOINT DEVELOPMENT AGREEMENT EFFECTIVE JUNE 15, 2001, BY AND BETWEEN RME
                                                         PETROLEUM COMPANY AND W&T OFFSHORE, INC, "SM280 OWNERS" AND RME ET AL "SM 281
                                                         OWNERS" AND THAT CERTAIN JOINT OPERATING AGREEMENT ATTACHED THERETO AS EXHIBIT
                                                         "B".
Land           9/17/2001     Joint Operating Agreement   Joint Operating Agreement attached to and made part of that certain Farmout Agreement dated
                                                         September 17, 2001 by and between Amoco Production Company (Samedan Oil Corporation was
                                                         successor‐in‐interest to Amoco Production Company and subsequently merged with Noble
                                                         Energy, Inc.; Fieldwood is successor‐in‐interest to Noble Energy, Inc.) and Mariner Energy, Inc.

Land           10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                         California and Forest Oil Corporation, covering SM 66
Land           10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                         California and Forest Oil Corporation, covering OCS‐G 2282, South Marsh Island Block 132.

Land           10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                         California and Forest Oil Corporation, covering SM 135
Land           10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                         California and Forest Oil Corporation, covering SM 136
Land           10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                         California and Forest Oil Corporation, covering SM 137
Land           10/1/2001     OA                          Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                         California and Forest Oil Corporation, covering SM 150
Land           11/1/2001     Joint Operating Agreement   Operating Agreement by and between Dominion Exploration & Production, Inc., as Operator, and
                                                         Aviara Energy Corporation
Land           11/1/2001     PA                          Participation Agreement by and between Dominion Exploration & Production, Inc. and Aviara
                                                         Energy Corporation
Land           3/15/2002     Bidding Agreement           BIDDING AGREEMENT BY AND BETWEEN DAVIS OFFSHORE, L.P. AND LLOG EXPLORATION
                                                         OFFSHORE, INC.
Land           8/23/2002     Joint Operating Agreement   Joint Operating Agreement by and between Dominion Exploration & Production, Inc., as
                                                         Operator, and Spinnaker Exploration Company, L.L.C., as Non‐Operator
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Land           8/30/2002     OA                                  SP 42 43 Operating Agreement LLOG and Pure et al
Land           9/1/2002      Operating Agreement                 Operating Agreement by and between Union Oil and Northstar Gulfsands
Land           12/12/2002    PA                                  PARTICIPATION AGREEMENT BY AND BETWEEN LLOG EXPLORATION OFFSHORE, INC. AND DAVIS
                                                                 OFFSHORE, L.P.
Land           12/12/2002    MOA                                 MEMORANDUM OF OPERATING AGREEMENT LLOG EXPLORATION OFFSHORE, INC. AND DAVIS
                                                                 OFFSHORE, L.P.
Land           12/12/2002    Joint Operating Agreement           Joint Operating Agreement by and between Llog Exploraiton Offshore, Inc and Davis Offshore
                                                                 L.P. dated 12 Dec 02
Land           3/24/2003     FO                                  FARMOUT AGREEMENT BY AND BETWEEN NOBLE / KERR‐MCGEE FARMOUT (MP 109) 3/24/2003

Land           3/31/2003     Letter Agreement                    Letter Agreement, dated March 31, 2003, between Chevron U.S.A. Inc., Sabco Oil and Gas
                                                                 Corporation, Apache Corporation, ExxonMobil Production Company, Key Production Company
                                                                 and Contour Energy
                                                                 Company regarding Second Opportunity to Participate ‐ Election to Acquire^Non‐Participating
                                                                 Interest, in the MP77 OCS‐G 4481 A‐6 TTPG, Project No. UWGHP‐R3011, Cost Center UCP170500,
                                                                 Main Pass Block 77.
                                                                 Key Production Company election.
Land           5/1/2003      Joint Operating Agreement           Offshore Operating Agreement dated May 1, 2003 between Magnum Hunter Production,Inc, and
                                                                 Westport Resourcs Corporation et al
Land           9/25/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between Apache Corporation and Chevron USA

Land           1/1/2004      FO                                  FARMOUT AGREEMENT DATED JANUARY 21, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                 BP AMERICA PRODUCTION COMPANY.
Land           1/1/2004      Assignments                         Assignment from BP Exploration and Production to Noble Energy Inc dated effective 1 Jan 04
                                                                 (Relevant PSA was excluded from NBL ‐ FW Deal)
Land           2/1/2004      OA                                  VR 272 Operating Agreement eff/ 2‐1‐04 LLOG and ST Mary
Land           3/18/2004     PSA                                 PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
Land           3/25/2004     JVA                                 Amendment to Joint Venture Development Agreement, dated. March 25, 2004 between
                                                                 Anadarko E 8t P Company LP: Chevron U.S.A. Inc.; Hunt Oil Company, Hunt Petroleum, the
                                                                 George,R..Brown Partnership LP, Offshore Investment ,Cov and the'Lamar Hunt Trust Estate,,
                                                                 whereby the Unit 'was expanded
Land           4/1/2004      Joint Operating Agreement           AMENDMENT OF JOINT OPERATING AGREEMENT DATED APRIL 1, 2004, BY AND BETWEEN BP
                                                                 AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land           4/1/2004      OA                                  Operating Agreement dated 4/1/04 between Newfield Exploration Co and Hunt Petroleum (AEC)
                                                                 Inc
Land           4/2/2004      Divestiture                         ASSET SALE AGREEMENT DATED APRIL 2, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                 STONE ENERGY CORPORATION.
Land           4/19/2004     FO                                  Farmout Agreement by and between Newfield Exploration Company and Westport Resources
                                                                 Company, as Owners of WC 73, and Dominion Exploration & Production, Inc. and Spinnaker
                                                                 Exploration Company, LLC as Owners of WC 72
Land           5/26/2004     Production Handling Agreement       Production Handling Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore,
                                                                 Inc and Davis Offshore L.P. dated 26 May 2004 and as amended by
                                                                 (a) 1st Amendment dated 27 Jun 2005
                                                                 (b) 2nd Amendment dated 6 Feb 2006
                                                                 © 3rd Amendment dated 30 Jan 2008

Land           6/29/2004     Letter Agreement                    LETTER AGREEMENT DATED JUNE 29, 2004, BY AND BETWEEN STONE ENERGY CORPORATION
                                                                 AND BP AMERICA PRODUCTION COMPANY.
Land           8/1/2004      OA                                  Operating Agreement 8/1/04
Land           8/11/2004     Notice                              NOTICE OF ASSIGNMENT DATED AUGUST 11, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                 STONE ENERGY CORPORATION.
Land           8/24/2004     Letter Agreement                    Letter Agreement dated August 24, 2004, between Chevron U.S.A. Inc. and Williams Field
                                                                 Services‐ Gulf COperating Agreementst Company, L.P.
Land           9/7/2004      Settlement and Release Agreement    SETTLEMENT AND RELEASE AGREEMENT DATED SEPTEMBER 7, 2004, BY AND BETWEEN BP
                                                                 AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land           10/6/2004     LOI                                 LETTER OF INTENT DATED OCTOBER 6, 2004, BY AND BETWEEN THE HOUSTON EXPLORATION
                                                                 COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land           10/7/2004     EA                                  EXPLORATION AGREEMENT DATED OCTOBER 7, 2004, BY AND BETWEEN THE HOUSTON
                                                                 EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land           11/1/2004     FO                                  FO eff. 11/1/04 as Amended, between Newfield Exploration Company, Continental Land & Fur
                                                                 Co., Inc., KCS Resources, Inc., and Fidelity Oil Co., as Farmors, and Explore Offshore LLC as
                                                                 Farmee
Land           12/20/2004    Preferential Right Agreement        Purchase and Sale agreement by and between BP Exploration and Production Inc and Marathon
                                                                 Oil Company dated 20 Dec 2004
Land           1/1/2005      VUA                                 VOLUNTARY UNIT AGREEMENT DATED JANUARY 1, 2005, BY AND BETWEEN SPINNAKER
                                                                 EXPLORATION COMPANY, L.L.C. AND THE HOUSTON EXPLORATION COMPANY AND GRYPHON
                                                                 EXPLORATION COMPANY.
Land           1/11/2005     Pref Right                          Preferential Right Agreement dated 01/11/05 between BP and SOI for the acquisition of
                                                                 49.999985% ofBP's 33.33333% interest at Troika.

Land           1/25/2005     Letter Agreement                    Letter Agreement for the Operation and Ownership Transfer of Certain South Marsh Island Block
                                                                 66 Facilities, dated effective January 25, 2005, between Transcontinental Gas Pipeline
                                                                 Corporation,;as Seller> and Union Oil "Company‐of California and Forest Oil Corporation, as
                                                                 Purchasers, for facilities and pipeline associated with "A" and "C" Platforms'. NEVER
                                                                 CONSOMATED.
Land           2/1/2005      Letter Agreement                    Letter Agreement, dated February 1, 2005, between Union Oil Company of California and Forest
                                                                 Oil , covering OCS‐G 2589, South Marsh Island Block 137, asthe Unit Operating Agreement for
                                                                 South Marsh Island Block 137 Unit, identified as Unit Agreement No. 14‐08‐001‐20237, replacing
                                                                 and superseding, effective October 1, 2001, that certain Unit Operating Agreement dated
                                                                 January 1,1989 between Conoco Inc., Texaco Producing Inc. and CanadianOXY Offshore
                                                                 Production Company.
Land           2/28/2005     OA                                  JOperating Agreement eff. 2‐28‐05 b/b Peregrine O&G and Chroma Energy, et al; as amended

Land           8/2/2005      PSA                                 PURCHASE AND SALE AGREEMENT DATED AUGUST 2, 2005, BY AND BETWEEN BP AMERICA
                                                                 PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land           9/12/2005     Notice                              NOTICE AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC AND DAVIS OFFSHORE, L.P.

Land           10/25/2005    OA                                  Operating Agreement 10‐25‐05
Land           1/19/2006     Letter Agreement                    Letter Agreement, ‐ dated January 19, 2006, between BP Exploration & Production Inc. and
                                                                 Union Oil Company of California:
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Land           2/22/2006     FO                                      Farmout Proposal Letter Agreement between The Houston Exploration Company
                                                                     and Noble Energy Inc. 2/22/2006
Land           3/1/2006      ABOS                                    ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.

Land           10/30/2006    FO                                      Farmout Agreement, dated effective October 30, 2006, between Chevron U.S.A. Inc., as‐Farmor,
                                                                     and Mariner Energy Resources, Inc., as farmee, covering S/2 of SM 149 (OCS‐G 2592) and S/2 of
                                                                     SM 150 (005‐016325) and limited to depths from the surface.to the stratigraphic equivalent of
                                                                     100' below the deepest depth drilled in the #1 Well as proposed.

Land           4/3/2007      Confidentiality Agreement               Confidentiality Agreement by and between Apache Coporation, Samson Contour Energy and
                                                                     Shell Offshore
Land           9/21/2007     FARMOUT AGREEMENT                       FARMOUT AGREEMENT b/b APACHE CORPORATIONand SENECA RESOURCES CORPORATION

Land           11/10/2007    Purchase and Sale Agreement             Purchase and Sale agreement by and between BP Exploration and Production Inc and W+T
                                                                     Offshore, Inc dated9 Nov 2004 (Preempted by Shell and Marathon)
Land           5/14/2008     Notice                                  Final Notification Letter Memo‐Well Payout, elated May 14, 2008, EB 160 #A‐13 well paid out on
                                                                     March 3, 2008.
Land           10/1/2008     ORRI                                    OVERRIDING ROYALTY INTEREST AGREEMENT BY AND BETWEEN LLOG EXPLORATION OFFSHORE
                                                                     INC AND DAVIS OFFSHORE, L.P. TO SHELL OFFSHORE INC AND MARATHON OIL COMPANY

Land           10/1/2008     Farmout Agreement                       Farmout Agreement by and between Shell Offshore, Marathon Oil Company, Llog Exploraiton
                                                                     Offshore, Inc and Davis Offshore L.P. dated 1 Oct 2008
Land           2/15/2009     FO                                      Farmout Agreement dated February 15, 2009 between SPN Resources LLC and
                                                                     Moreno Offshore Resources, L.L.C., Farmors, and Houston Energy, L.P., Farmee
Land           2/17/2009     Letter Agreement                        LETTER AGREEMENT BY AND BETWEEN DAVIS OFFSHORE, L.P. AND LLOG EXPLORATION
                                                                     OFFSHORE, INC.
Land           3/6/2009      Letter Agreement                        LETTER AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC., LLOG EXPLORATION OFFSHORE,
                                                                     INC. AND DAVIS OFFSHORE, L.P.
Land           3/30/2009     PA                                      Participation Agreement dated March 30, 2009 between Helis Oil & Gas
                                                                     Company, L.L.C. , et al and Challenger Minerals Inc.
Land           3/30/2009     Joint Operating Agreement               Offshore Operating Agreement dated March 30 2009 between Helis Oil & Gas
                                                                     Company, L.L.C., Operator, and Houston Energy, LP, et al, Non‐operators; as
                                                                     Ratified and Amended by Ratification And Amendment of Operating Agreement
                                                                     dated March 16, 2012
Land           3/30/2009     MOA                                     Memorandum of Offshore Operating Agreement and Financing Agreement dated
                                                                     March 30, 2009 between Helis Oil & Gas Company, L.L.C. et al
Land           12/14/2009    OPTION AGREEMENT                        OPTION AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET AL

Land           2/1/2010      FARMOUT AGREEMENT                       FARMOUT AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET
                                                                     AL
Land           3/30/2010     Marketing Election                      Ship ShOperating Agreementl 252 Marketing Election Letter dated March 30, 2010 (Helis Oil &
                                                                     Gas
                                                                     Company, L.L.C.)
Land           2/1/2011      ABOS                                    Assignment and Conveyance, dated effective February 1, 2011, between Harrigan Energy
                                                                     Partners, Inc.,Assignor, and Chevron U.S.A. Inc^ as Assignee, covering Assignor's right, title and
                                                                     interest in the Lease, together
                                                                     with Assignor's interest in certain wells, facilities; pipelines, equipment, contracts,, etc:, all as
                                                                     more fully described therein.
Land           4/21/2011     PSA                                     Asset Purchase and Sale Agreement, dated April 21, 2011, but made effective February 1, 2011,
                                                                     between SabcoOil and Gas Corporation, as Seller, and Chevron U.S.A. Inc., as Purchaser, whereby
                                                                     Purchaser acquired
                                                                     0.63149% of 0.83922% of 8/8ths of Seller's right title and interest in the Lease, together with
                                                                     Seller's interest in certain wells, facilities, pipelines, equipment, contracts, etc., all as more fully
                                                                     described therein.
Land           4/21/2011     ABOS                                    Assignment and BUI of.Sale, dated April 21, 2011, but made effective February 1, 2011, between
                                                                     Sabco Oil and Gas Corporation, as Assignor/and Chevron U.S.A. Inc., as Assignee, covering
                                                                     Assignor's right, title and interest in the Lease, together with Assignor's interest in certain wells,
                                                                     facilities, pipelines, equipment, contracts, etc., all
                                                                     as more fully described therein
Land           5/31/2011     Tolling Agreement                       Tolling Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore, Inc and Davis
                                                                     Offshore L.P. dated 31 May 2011 and as extended by
                                                                     (a) 1st Extension dated 30 Jun 2012
                                                                     (b) 2nd Extension dated 30 Sept 2012
Land           6/3/2011      Notice                                  Apache Notice Letter, dated June 3, 2011, non‐consented EB 159 #A‐9 Well, Thru Tubing Gravel
                                                                     Pack GM 2‐2.
Land           8/1/2011      ABOS                                    ABOS eff. 8‐1‐2011 b/b XTO Offshore Inc. ("Assingor") and Dynamic Offshore Resources, LLC
                                                                     ("Assignee")
Land           8/25/2011     PARTICIPATION AGREEMENT                 PARTICIPATION AGREEMENT b/b APACHE CORPORATIONand CASTEX OFFSHORE, INC., ET AL

Land           3/20/2012     Notice                            Chevron's Notice to Apache Letter, dated March 20, 2012, EB 159 #A‐I5 Well (GM‐2‐2 Sand)
                                                               conductor removal.
Land           4/27/2012     PHA                               Production Handling Agreement dated August 1, 2009 between SPN Resources,
                                                               LLC and Moreno Offshore Resources, L.L.C., Platform Owners, and Helis Oil &
                                                               Gas Company, L.L.C., et al, Producers; as amended by agreement on April 27,
                                                               2012.
Land           5/1/2012      CONDENSATE TRANSPORT & SEPARATION CONDENSATE TRANSPORT & SEPARATION AGREEMENT b/b APACHE CORPORATIONand CASTEX
                             AGREEMENT                         OFFSHORE, INC., ET AL
Land           6/1/2012      PSA                               Ratification of Purchase and Sale Agreement by Holders of Preferential Right to Purchase, dated
                                                               effective June l , 2012, between Key Production Company, Inc., as Seller, and Chevron U.S.A. Inc.
                                                               and Dynamic Offshore Resources, LLC, as Preferential Right Purchasers, affecting that certain
                                                               Purchase and Sale Agreement, dated June 27, 2012 but made effective June 1, 2012, between
                                                               Key Production Company, Inc., as Seller, and Chevron U.S.A.
                                                               Inc., as Buyer.

Land           6/1/2012      ABOS                                    Conveyance, Assignment and Bill of Sale, dated June 27,.2012 but made effective June 1, 2012,
                                                                     between Key Production Company, Inc., as Assignor, and Chevron U.S.A. be. and Dynamic
                                                                     Offshore Resources, LLC, as Assignees, covering an undivided 0.83922% right, title and.interest in
                                                                     certain property described in Exhibit "A" attached thereto, assigning 75.247% thereof to Chevron
                                                                     (0.63149% net) and 24.753% thereof to Dynamic
                                                                     (0.207.73%.net).
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Land           6/27/2012     PSA                                       Purchase and Sale Agreement, dated June 27, 2012 but made.effective June I , 2012, between
                                                                       Key Production Company, Inc.,. as'Seller, and Chevron U.S.A. Inc., as Buyer, covering all of
                                                                       Seller's.right, title and interest in that certain Oil & Gas Lease bearing Serial No. OCS‐G 448,1, ),
                                                                       together with Seller's interest in certain wells, facilities, pipelines, equipment contracts, etc, all as
                                                                       more.fully described therein.
Land           8/1/2012      Throughput Capacity Lease Agreement       Fieldwood leases capacity to Arena for Barnacle Pipeline

Land           11/30/2012    Permit Agmt(incl Seismic)                 Seismic Reprocessing and Data Use Agreement by and between Noble Energy, Inc and Apache
                                                                       Deepwater LLC dated 30 Nov 12
Land           2/6/2013      Letter Agreement                          Letter Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore, Inc and Davis
                                                                       Offshore L.P. dated 6 Feb 2013 re system upgrades
Land           3/15/2013     Exploration Venture                       Exploration Venture for portions of VR 271 SM 87 by and between Fieldwood Energy Offshore
                                                                       LLC, Apache Corporation and Pisces Energy LLC
Land           5/1/2013      Transportation Agreement                   Transportation Agreement by and between Dynamic Offshore Resources NS, LLC, W&T
                                                                       Offshore, Inc., Hall‐Houston Exploration IV, L.P., GOM Offshore Exploration I, LLC and PetroQuest
                                                                       Energy, LLC
Land           7/1/2013      Acquisition                               PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                       and
                                                                       APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                       GOM SHELF LLC Dated as of July 18, 2013

Land           7/1/2013      Acquisition                               Acquistion by and between Fieldwood Energy LLC and Callon Petroleum Operating Co.
Land           9/12/2013     Amendemnbt of Exhibit "D" to Unit         Amends UOperating Agreement dated 04/13/1984 as amended 09/08/2011
                             Operating Agreement
Land           9/30/2013     Acquisition                               Purchased GOM Shelf as a company from Apache
Land           10/7/2013     Election Letter Agreement PL 13 007 ST2   Election Letter Agreement by and between Fieldwood Energy LLC and Enven Energy Ventures LLC
                             Well
Land           11/1/2013     Purchase & Sale Agreement                 Purchase and Sale Agreement by and between Noble Energy, Inc, Anadarko Petroleum, Anadarko
                                                                       US Offshore Corp and Eni Petroleum US LLC dated 1 Nov 13 as amended 21 July 2016 (but
                                                                       effective 1 Oct 14)
Land           12/1/2013     Acquisition                               Equity Purchase Agreement between Sandridge Energy, Inc., Sandridge Holdings, Inc. and
                                                                       Fieldwood Energy LLC: Fieldwood purchased all companies listed with their assets which included
                                                                       Offshore and SandRidge Legacy South Texas and South Louisiana assets.

Land           12/30/2013    Withdrawal Agreement                      Withdrawal Agreement by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.
Land           1/20/2014     Letter Agreement                          Letter Agreement by and between Shell Offshore Inc, LLOG Exploration Offshore, Inc and Davis
                                                                       Offshore L.P. dated 20 Jan 2014 re settlement of reallOperating Agreementction

Land           3/1/2014      Acquisition                               by and between Fieldwood Energy Offshore LLC and Black Elk Energy Offshore Operations, LLC:
                                                                       Leases where Fieldwood was the operator and Black Elk held interest. Exception is ST 53 where
                                                                       Black Elk was the Operator.
Land           4/16/2014     Settlment Agreement and Release           Settlement Agreementa nd Release ‐ SS 198/VR 369/VR 408/ SP 8/13
Land           4/21/2014     Production Handling Agreement             For WD 27 "A" platform hadnling WD 28 production
Land           4/28/2014     Letter Agreement                          Letter Agreement, dated April 28, 2014, between Chevron U.S.A. Inc. and Samson Contour
                                                                       Energy E&P, LLC,
                                                                       regarding Main Pass 77 Oil Imbalance Claim
Land           5/16/2014     Termination of Farmout Agreements         Terminates Farmouts dated 05.01.13 and 06.01.13
Land           6/1/2014      Acquisition                               by and between Fieldwood Energy Offshore LLC and Davis Offshore L.P.
Land           6/1/2014      Acquisition                               by and between Fieldwood Energy Offshore LLC, NW Pipeline, Inc. and Northwestern Mutual
                                                                       Life Ins. Co:HIPS 13‐III
Land           7/25/2014     Amendment and Ratification of             Amend PHA for WD 27 "A" platform handling WD 28 production dated 04/21/14
                             Production Handling Agreement
Land           8/5/2014      Purchase and Sale Agreement               Equity Purchase Agreement by and between Davis Petroleum Acquisition Corp, Davis Offshore
                                                                       Partners, LLC< and Davis Offshore, L.P. and Fieldwood Energy Offshore dated 5 Aug 2014

Land           1/1/2015      Acquisition                               by and between Fieldwood Energy SP LLC, Paul G. Hendershott and C. Gordon Lindsey:
                                                                       Conversion of NPI to ORI for the WD 79/80/85/86 ‐ fields
Land           1/1/2015      Acquisition                               by and between Fieldwood SD Offshore LLC, Unocal Pipeline Companyand Union Oil Company of
                                                                       California : East Breaks 158/160 Fields
Land           1/1/2015      Acquisition                               by and between Fieldwood Energy Offshore LLC UNOCAL, and Chevron U.S.A. Inc. : GOM NOJV ‐
                                                                       Grand Isle/West Delta etc.
Land           1/1/2015      Acquisition                               by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc.: Troika Unit ‐ GC 244,
                                                                       200, 201
Land           1/1/2015      Acquisition                               by and between Fieldwood Energy Offshore LLC and Japex (U.S.) Corp.: WD 90 & WD 103

Land           1/1/2015      Assignment and Bill of Sale               by and between Fieldwood Energy SP LLC, Paul G. Hendershott and C. Gordon Lindsey, : Net
                                                                       Profits Interest
Land           1/1/2015      Confidential Mutual Release and           by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Fieldwood Energy SP
                             Settlement Agreement                      LLC, Paul G. Hendershott and C. Gordon Lindsey,
Land           1/1/2015      Overriding Royalty Assignment             by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc: Overridign Royalty
                                                                       Assignment
Land           1/13/2015     Acquisition                               by and between Fieldwood Onshore LLC and Energy XXI Onshore, LLC: relative to (1) the transfer
                                                                       and ownership of certain existing leasehold rights, (2) the acquisition of additional
                                                                       leasehold rights, (3) the conduct of a 3‐D geophysical survey and (4) the drilling,
                                                                       completion and operation of oil and/or gas wells relative to the lands outlined in
                                                                       Red on Exhibit "B" (the "Contract Area").


Land           4/1/2015      Assignment of Operating Rights Interest   by and between Fieldwood Energy Offshore LLC, Peregrine Oil & Gas, LLC RTR Fund I, L.P, and
                             in Oil & Gas Lease                        Hall‐Houston Exploration II, L.P.: Assignment of Operating Rights Interest in Oil & Gas Lease ‐ GA
                                                                       151 Operating Rights
Land           4/1/2015      Production Handling Agreement             by and between Bandon Oil and Gas, LP, Tana Exploration Company LLC, CSL Exploration LLC,
                                                                       GCER Offshore LLC and W&T Offshore, INC.: PHA
Land           5/14/2015     ORRI                                      Assignment of Overriding Royalty Interest from Knight Resources, LLC, in favor
                                                                       of Stat Energy & Consulting, Inc. dated May 14, 2015
Land           5/14/2015     ORRI                                      Assignment of Overriding Royalty Interest from Knight Resources, LLC, in favor
                                                                       of James A. Bibby dated May 14, 2015
Land           5/14/2015     ORRI                                      Assignment of Overriding Royalty Interest from Knight Resources, LLC, in favor
                                                                       of Clifford T. Crowe dated May 14, 2015
Land           6/18/2015     Memorandum of Understanding               Pursuant to that certain assignment and bill of sale dated 01/01/2015
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Land           6/18/2015     Memorandum of Understanding          Pursuant to that certain assignment and bill of sale dated 01/01/2015
Land           7/1/2015      Settlment Agreement and Release      by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI Petroleum US LLC
                                                                  and ENI US Operating Co. Inc.: SS 249 D‐5 RIG Incident
Land           8/1/2015      Acquisition                          by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                  252, 340 Fields
Land           8/12/2015     Pipeline Modification Agreement      Relative to pipelines near SS 208 Seg #1849 and #882
Land           9/1/2015      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/1/2015      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/1/2015      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/16/2015     Withdrawal Agreement                 by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land           9/16/2015     Withdrawal Agreement                 by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land           9/16/2015     Withdrawal Agreement                 by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land           12/1/2015     Acquisition                          by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US
                                                                  LLC: GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC
                                                                  130
Land           12/1/2015     Release and Settlement Agreement     by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc.
                                                                  and ENI Petrolem US LLC: Release and Settlement Agreement
Land           12/18/2015    Welll Operations Agreement           by and between Fieldwood Enegy Offshore LLC, Fieldwood Energy SP LLC, Arena Energy, LP,
                                                                  Arena Energy GP, LLC and Arena Energy Offshore, LP : WD 86 B‐3 well
Land           3/14/2016     Completions Letter Agreement         by and between Fieldwood Energy Offshore LLC and Whitney Oil & Gas, LLC: SP #37 #3 well
                                                                  dually completed and no longer economic for Feildwood
Land           4/1/2016      Divestiture                          by and between Fieldwood Energy Offshore LLC and Whitney Oil & Gas, LLC: Assignment of
                                                                  interest in the SP 37#3 J1 and J2 sands
Land           4/1/2016      Second Amendment of Production       by and between Fieldwood Energy Offshore LLC and Walter Oil & Gas Corporation : Second
                             Handling Agreement                   Amendment of Production Handling Agreement ‐ East Breaks 165 A Platform
Land           4/25/2016     Release and Settlement Agreement     by and between Fieldwood Energy LLC, Peregrine Oil & Gas, LP and Peregrine Oil & Gas II, LLC:
                                                                  Release and Settlement Agreement
Land           7/1/2016      Acquisition                          by and between Fieldwood Energy Offshore LLC and JOC Venture: SS 246 JOC Withdrawal

Land           7/1/2016      Assignment and Bill of Sale          by and between Fieldwood Energy LLC and All Aboard Development Corporation: Assignment All
                                                                  Aboard to Fieldwood
Land           7/1/2016      Assignment and Bill of Sale          by and between Fieldwood Energy Offshore LLC and JOC Venture: ABOS pursuant to JOC
                                                                  Venture withdrawal
Land           8/8/2016      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture Withdrawal

Land           9/13/2016     Agreement for Payment of Insurance   by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Fieldwood agrees to pay
                             Charges                              Monforte's insurance charges
Land           12/14/2016    Surrener of Interest Agreement       by and between Fieldwood Energy LLC and All Aboard Development Corporation: All Aboard
                                                                  Development Corp. surrender of interest
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      ABOS                                 by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result
                                                                  of Withdrawl from Operating Agreement
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017      Withdrawal Agreement                 by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                  Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           3/1/2017      Reinbursement Agreement              by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                  Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                  Shell owned ST 300 Platform
Land           3/1/2017      Reinbursement Agreement              by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                  Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                  Shell owned ST 300 Platform
Land           3/30/2017     Letter of No Objection               Fieldwood agreed to COX request/letter of no objectin to allow cox to produce its EI 64# 9 well.
                                                                  Fieldwood is the operator of SW/4 of EI 53
Land           1/1/2018      Acquisition                          by and between Fieldwood Energy SP LLC and Knight Resources LLC: Acquisition of Knight's
                                                                  interest in the SS 252 #F‐4
Land           1/2/2018      Letter Agreement                     by and between Fieldwood Energy LLC and EXXI GOM, LLC: Governs particpation in WD 73 C‐27
                                                                  McCloud drill well
Land           4/1/2018      Purchase and Sale Agreement          Purchase and Sale agreement by and between Fieldwood Energy LLC and Marathon Oil Company
                                                                  dated 20 June 2018 and effective 1 April 2018
Land           4/11/2018     F40 Cost Memorialization Agreement   by and between Fieldwood Energy LLC and EXXI GOM, LLC: WD 73 C‐27 Well McCloud F‐40
                                                                  Reservoir memorialization of drilling costs, etc.
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Land                      4/11/2018                West Delta 73 C‐27 "MCCLOUD" F‐40         by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: West Delta 73 C‐27
                                                   Sand Reservoir A                          "MCCLOUD" F‐40 Sand Reservoir A ‐ Letter Agreement
Land                      5/21/2018                Consent to Assign                         Consent to Assignment by and Between Fieldwood Energy, Noble Energy and Eni Petroleum 21
                                                                                             May 2018 governing transition from NBL to Fieldwood Ownership of Neptune

Land                      5/22/2018                Consent to Assign                         Consent to Assignment by and Between Fieldwood Energy, Noble Energy andAnadarko
                                                                                             Petroleum Corporation dated 22 May 2018 governing transition from NBL to Fieldwood
                                                                                             Ownership of Neptune
Land                      8/1/2018                 Acquisition                               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech's Interest in
                                                                                             the SS 271 Unit (SS 247,248,249)
Land                      8/1/2018                 Withdrawal Agreement                      by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdraws
                                                                                             from SS 271 Unit
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                                             and Bill of Sale
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                                             and Bill of Sale
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: ABOS pursuant to
                                                                                             Entech Enterprises Withdrawal
Land                      8/1/2018                 Assignment and Bill of Sale               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: ABOS pursuant to
                                                                                             Entech Enterprises Withdrawal
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                                             and settlement
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                                             and settlement
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Enterprises
                                                                                             withdrawal & settlemnet
Land                      8/27/2018                Withdrawal & Settlement Agreement         by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Enterprises
                                                                                             withdrawal & settlemnet
Land                      9/18/2018                Constuction and Operating Agreement for
                                                   the Interconnect Pipeline

Land                      12/5/2018                Escrow Agreement                          Escrow Agreement by and between Anadarko Offshore LLC, Eni Petroleum US LLC and Noble
                                                                                             Energy, Inc dated 5 December 2013 and amended by that first amendment dated 5 Dec 2018

Land                      12/10/2018               Confidentiality Agreement                 Confidentiality Agreement by and between Fielwdood Energy LLC and Exxon Mobil Corporation

Land                      2/8/2019                 Assignment and Bill of Sale               by and between Fieldwood Energy LLC and Richard Schmidt, as Trustee for the Black Elk
                                                                                             Litigation Trust and the Black Elk Liquidating Trust: Pursuant to that certain Stipulation and
                                                                                             Agreed Order including Terra Point Petroleum LLC
Land                      3/19/2019                Confidentiality Agreement                 Confidentiality Agreement by and between Fieldwood Energy LLC and ANKOR
Land                      3/19/2019                Confidentiality Agreement                 Confidentiality Agreement by and between Fieldwood Energy LLC and Sa nare
Land                      4/30/2019                CPHTA Extension Letter Agreement          by and between Fieldwood Energy Offshore LLC, ANKOR E&P Holidng Corporation and Orinoco
                                                                                             Natural Resources LLC :Ankors production from MC 21 processed at SP 60
Land                      6/10/2019                Confidentiality Agreement                 by and between Fieldwood Energy LLC and TRANSCONTINENTAL GAS PIPELINE COMPANY:
                                                                                             Confidentiality Agreement:
Land                      7/1/2019                 Divestiture                               by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: Fieldwood Divestiture of WD
                                                                                             73 Field Interests in the F40 Sands
Land                      7/1/2019                 Farmout Agreement                         By and between W & T Offshore, Inc. and Dynamic Offshore Resources NS, LLC and Peregrine Oil
                                                                                             and Gas II, LLC and GOM Energy Venture I, LLC
Land                      7/1/2019                 Assignment and Bill of Sale               by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: Assignment and Bill of Sale

Land                      7/1/2019                 Assignment and Bill of Sale               by and between Fieldwood Energy LLC and Energy XXI GOM, LLC: Assignment and Bill of Sale

Land                      7/2/2019                 Letter Agreement                          By and between W & T Offshore, Inc. and Dynamic Offshore Resources NS, LLC and Peregrine Oil
                                                                                             and Gas II, LLC and GOM Energy Venture I, LLC
Land                      8/28/2019                CPHTA Extension Letter Agreement          Extension to 04/30/2019 Letter Agreement. Ankors production from MC 21 processed at SP 60

Land                      11/1/2019                Amendment No. 3 to CPHYA, PHA and         by and between Fieldwood Energy Offshore LLC and Fieldwood Energy Offshore LLC as
                                                   Transportation Agreement                  Processor and ANKOR Energy LLC, ANKOR E&P Holdings Coporation, KOA Energy LP and Sanare
                                                                                             Energy Partners, LLC as Producer
Land                      2/13/2020                CPHTA Subsea Tie‐in Deadline Extension    by and between Sanare Energy Partners, Fieldwood Energy LLC, ANKOR E&P Holidngs
                                                   Letter Agreement                          Corporation and KOA Energy LP
Land                      4/23/2020                CPHTA Subsea Tie‐in Deadline Extension    by and between Sanare Energy Partners, Fieldwood Energy LLC, ANKOR E&P Holidngs
                                                   Letter Agreement                          Corporation and KOA Energy LP
Land                      01/01/1994, 04/08/1994   Unit Operating Agreement                  U nit Operating Agreement by and between CNG Producing Company, Columbia Gas
                                                                                             Development Corporation, Total Minatome Corporation, Energy Development Corporation,
                                                                                             Murphy Exploration and Production Company and Anadarko Petroleum Corporation; and Forest
                                                                                             Oil Corporation and Timbuck Company/The Hat Creek Production Company, Limited Partnership
                                                                                             (referred to as “Override Parties”)
PHA SP 60F/MC 21          4/29/2005                CONSTRUCTION, PRODUCTION                  PHA by and between Fieldwood and ANKOR E&P HOLDINGS CORPORATION and ANKOR E&P
                                                   HANDLING AND TRANSPORTATION               HOLDINGS CORPORATION
                                                   AGREEMENT
PHA SM 278/SM 257         1/1/2008                 PRODUCTION HANDLING AGMT                  PHA by and between Fieldwood and HELIS OIL & GAS CO and HELIS OIL & GAS CO
LEASE OF PLATFORM SPACE   10/10/1984               Platform Space Rental Agreement SMI       A‐LOPS‐ SM268A by and between Fieldwood and American Panther, LLC and American Panther,
                                                   268A Platform10/01/2020 ‐ 11/30/2021      LLC

LEASE OF PLATFORM SPACE   10/25/1985               Lease of Platform Space                   ALOPS‐WD86A by and between Fieldwood and Texas Eastern Transmission and Texas Eastern
                                                                                             Transmission
LEASE OF PLATFORM SPACE   9/1/1997                 09/01/2020 ‐ 8/30/2021                    A‐LOPS‐WD79A by and between Fieldwood and PANTHER AS COUNTRACT OPERATOR FOR
                                                                                             VENICE GATHERING SYSTEM and PANTHER AS COUNTRACT OPERATOR FOR VENICE GATHERING
                                                                                             SYSTEM
LEASE OF PLATFORM SPACE   1/1/2011                 LEASE OF PLATFORM SPACE                   BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
LEASE OF PLATFORM SPACE   11/1/2006                LEASE OF PLATFORM SPACE                   ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC

LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐1 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐11 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐17 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐14 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE   8/12/2019                LEASE OF PLATFORM SPACE                   TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
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LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐21 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐27 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     8/12/2019    LEASE OF PLATFORM SPACE          TAM102‐LOPS‐26 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE     9/1/1997     LEASE OF PLATFORM SPACE          VEN104‐LOPS by and between Fieldwood and Panther as Contract Operator for Venice Gathering
                                                                          System and Panther as Contract Operator for Venice Gathering System
LEASE OF PLATFORM SPACE     4/15/1968    LEASE OF PLATFORM SPACE          KIN129‐LOPS by and between Fieldwood and KINETICA DEEPWATER EXPRESS, LLC and KINETICA
                                                                          DEEPWATER EXPRESS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC                and EPL OIL
(JIB)‐2                                                                   & GAS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC                and EPL OIL
(JIB)‐2                                                                   & GAS, LLC
PRODUCTION HANDLING AGMT    1/1/2007     PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and FWE and FWE
(JIB)‐2
PRODUCTION HANDLING AGMT    8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                    and
(JIB)‐4                                                                   MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT    8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC                    and
(JIB)‐4                                                                   MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT    8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and FWE and FWE
(JIB)‐4
PRODUCTION HANDLING AGMT    12/19/2003   PRODUCTION PROCESSING HANDLING   PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
(JIB)‐11                                 AND OPERATING AGMT
PRODUCTION HANDLING AGMT    12/19/2003   PRODUCTION PROCESSING HANDLING   PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
(JIB)‐11                                 AND OPERATING AGMT
PRODUCTION HANDLING AGMT    12/19/2003   PRODUCTION PROCESSING HANDLING   PHA EI342C‐EI342C by and between Fieldwood and TANA EXPLORATION COMPANY LLC
(JIB)‐11                                 AND OPERATING AGMT               and TANA EXPLORATION COMPANY LLC
PRODUCTION HANDLING AGMT    1/31/2005    PRODUCTION HANDLING              VK826NEP by and between Fieldwood and Apache Deepwater LLC and Apache Deepwater LLC
(JIB)                                    AGREEMENT(NEPTUNE)Swordfish
                                         Producers
PRODUCTION HANDLING AGMT    7/18/2002    PRODUCTION HANDLING AGREEMENT    HI A‐582 by and between Fieldwood and Cox Operating, LLC and Cox Operating, LLC
(Non‐Op)
PRODUCTION HANDLING AGMT    11/14/1996   PRODUCTION HANDLING AGREEMENT    EC 349 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT                 PRODUCTION HANDLING AGREEMENT    SS 315A3/ST 314 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT                 PRODUCTION HANDLING AGREEMENT    SS 315A3/ST 314 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT    6/13/1996    PRODUCTION HANDLING AGREEMENT    SS 300 B/SS301 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
(Non‐Op)
PRODUCTION HANDLING AGMT    5/5/2009     PRODUCTION HANDLING AGREEMENT    SS 189 C‐1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
(Non‐Op)                                                                  Corporation
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport   8/1/2005     Gas Gathering Agreement          DIGS Gatheirng Agreement for Swordfish‐Neptune by and between Fieldwood Energy LLC and
                                                                          DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                          Gathering Partners
Marketing Gas ‐ Transport   8/1/2005     Gas Gathering Agreement          DIGS Gatheirng Agreement for Swordfish‐Neptune by and between Fieldwood Energy LLC and
                                                                          DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                          Gathering Partners
Marketing Gas ‐ Transport   8/1/2005     Gas Gathering Agreement          DIGS Gatheirng Agreement for Swordfish‐Neptune by and between Fieldwood Energy LLC and
                                                                          DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                          Gathering Partners
Marketing Gas ‐ Transport   12/1/2013    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas
                                                                          Eastern
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   4/1/2020     IT Gathering                     IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                          Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   2/1/2019     Pool Agreement                   Pool Agreement by and between Fieldwood Energy LLC and Gulf South Pipeline Company, LP and
                                                                          Gulf South Pipeline Company, LP

Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995    IT Transport Contract            IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                          SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
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Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport   11/1/1995                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE
                                                                                                      SYSTEM, llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Gathering   4/1/2020                     IT Gathering                                 IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                                      Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering   4/1/2020                     IT Gathering                                 IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                                      Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport   12/1/2013                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                                                      and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                                                      and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   12/1/2013                    IT Transport Contract                        IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                                                      and Kinetica Energy Express, LLC
Marketing Gas ‐ Transport   8/7/2009                     IT Transport Contract ‐ "IT Discount Life of Stingray ‐ WC 485, WC 507 $.13 discount Life Of Reserve Dedicaiton by and between Fieldwood
                                                         Reserves"                                    Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company
                                                                                                      LLC (MCP Operating)
Marketing Gas ‐ Transport   10/1/2019                    FT ‐2 Transport                              FT ‐2 Transport by and between Fieldwood Energy LLC and Venice Gathering and Venice
                                                                                                      Gathering
Marketing Gas ‐ Transport   12/1/2013                    IT Gathering                                 IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering,
                                                                                                      LLC and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport   4/1/2010                     FT ‐2 Transport                              FT ‐2 Transport by and between Fieldwood Energy Offshore, LLC and Nautilus Pipeline Company
                                                                                                      and Nautilus Pipeline Company
Marketing Gas ‐ Transport   12/12013                     IT Transport Contract                        Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/12013                     IT PR Transport Contract                     Searobin West PTR Transprt, max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde Transport                      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐PTR Transport                             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                                      Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐PTR Transport                             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea
                                                                                                      Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Transport                                 Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde ‐Flash‐Transport               Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde ‐Flash‐Transport               Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   12/1/2013                    IT‐Retrograde ‐Flash‐Transport               Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                                      and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering   8/1/2018                     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                                      Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport   10/1/2011, disoucnt letter   IT‐PTR Transport plus discount letter        Searobin WestIT PTR Contract for Discount SMI 142 and SMI 140 by and between Fieldwood
                            9/16/2011                    letter                                       Energy Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport   10/1/2011                    IT Transport Contract                     Searobin West Pipeline ‐ sandridge /Dynamic IT transport plus Discount letter for SMI 142 and
                                                                                                   SMI 40 by and between Fieldwood Energy Offshore, LLC and Sea Robin Pipeline Company and
                                                                                                   Sea Robin Pipeline Company
Marketing Gas ‐ Transport   10/1/2011                    IT‐Retrograde Transport                   SearobinWest Pipeline ‐ sandridge /Dynamic IT Retrograde by and between Fieldwood Energy
                                                                                                   Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company

Marketing Gas ‐ Transport   8/1/2008                     Gas Gathering Agreement‐Amendment         DIGS Gatheirng Agreement for Swordfish‐Neptune ‐ Amendment adds Burlingtion Resources WI
                                                                                                   by and between Fieldwood Energy LLC and DCP Midstream, Daulphin Island Gathering Partners
                                                                                                   and DCP Midstream, Daulphin Island Gathering Partners
Marketing Gas ‐ Transport   8/1/2008                     Gas Gathering Agreement‐Amendment         DIGS Gatheirng Agreement for Swordfish‐Neptune ‐ Amendment adds Burlingtion Resources WI
                                                                                                   by and between Fieldwood Energy LLC and DCP Midstream, Daulphin Island Gathering Partners
                                                                                                   and DCP Midstream, Daulphin Island Gathering Partners
Marketing Gas ‐ Transport   8/1/2008                     Gas Gathering Agreement‐Amendment         DIGS Gatheirng Agreement for Swordfish‐Neptune ‐ Amendment adds Burlingtion Resources WI
                                                                                                   by and between Fieldwood Energy LLC and DCP Midstream, Daulphin Island Gathering Partners
                                                                                                   and DCP Midstream, Daulphin Island Gathering Partners
Marketing Gas ‐ Transport   8/1/2005                     FT‐2 (MP) Reserve Commitment              DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune by and between Fieldwood Energy LLC and
                                                         Agreement                                 DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                                                   Gathering Partners
Marketing Gas ‐ Transport   8/1/2005                     FT‐2 (MP) Reserve Commitment              DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune by and between Fieldwood Energy LLC and
                                                         Agreement                                 DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                                                   Gathering Partners
Marketing Gas ‐ Transport   8/1/2005                     FT‐2 (MP) Reserve Commitment              DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune by and between Fieldwood Energy LLC and
                                                         Agreement                                 DCP Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island
                                                                                                   Gathering Partners
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Marketing Gas ‐ Transport    8/1/2005                          FT‐2 (MP) Reserve Commitment                 DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune ‐ Amendment Adds Burlington Resourses
                                                               Agreement ‐ Amendment                        WI; plus 2 more amendments Revising MDQ by and between Fieldwood Energy LLC and DCP
                                                                                                            Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island Gathering
                                                                                                            Partners
Marketing Gas ‐ Transport    8/1/2005                          FT‐2 (MP) Reserve Commitment                 DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune ‐ Amendment Adds Burlington Resourses
                                                               Agreement ‐ Amendment                        WI; plus 2 more amendments Revising MDQ by and between Fieldwood Energy LLC and DCP
                                                                                                            Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island Gathering
                                                                                                            Partners
Marketing Gas ‐ Transport    8/1/2005                          FT‐2 (MP) Reserve Commitment                 DIGP ‐ FT2 & Reserve Dedication ‐ Swordfish Neptune ‐ Amendment Adds Burlington Resourses
                                                               Agreement ‐ Amendment                        WI; plus 2 more amendments Revising MDQ by and between Fieldwood Energy LLC and DCP
                                                                                                            Midstream, Daulphin Island Gathering Partners and DCP Midstream, Daulphin Island Gathering
                                                                                                            Partners
Marketing Gas ‐ Transport    8/7/2009                          IT Transport Contract ‐ "IT Discount Life of Stingray ‐ WC 485, WC 507 $.13 discount Life Of Reserve Dedicaiton by and between Fieldwood
                                                               Reserves"                                    Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company
                                                                                                            LLC (MCP Operating)
Marketing Gas‐Transport      12/18/1997                        FT ‐ Transport                               Venice Gatheing Firm Transport with Disount $.05, WD 79 by and between Fieldwood Energy
                                                                                                            LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
Marketing Gas‐Transport      1/1/2001                          FT ‐ Transport                               Venice Gatheing Firm transport Max rate WD 79 by and between Fieldwood Energy LLC and
                                                                                                            Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
Marketing Gas‐Gathering      11/1/2006                         IT Transport                                 Venice Gathering, WD 39 Effective date 11/1/2006 WD 64 Effective 11/1/2010 by and between
                                                                                                            Fieldwood Energy LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.

Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                       Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                       Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating
                                                                                                       Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       Offshore LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther
                                                                                                       Operating Company, LLC (Third Coast Midstream)
Operating and Management     6/1/2015                          Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as
Agreement                                                      Panther Operating Company (Third Coast) the management and administrative functions for the System by and between Fieldwood Energy
                                                                                                       Offshore LLC and Panther Operating Company, LLC (Third Coast Midstream) and Panther
                                                                                                       Operating Company, LLC (Third Coast Midstream)
Operating and Management     1/17/1963                         Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Agreement                                                      Grand Chenier Separation Facilities
                                                               Cameron Parish, Louisiana

Operating and Management     1/17/1963                         Conveyance and Operating Agreement        Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Agreement                                                      Grand Chenier Separation Facilities
                                                               Cameron Parish, Louisiana

Operating and Management     1/17/1963                         Conveyance and Operating Agreement        Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Agreement                                                      Grand Chenier Separation Facilities
                                                               Cameron Parish, Louisiana

Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Operating and Management     1/1/2014 (Amends and            Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
Agreement                    supercedes the Construction and of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and
                             Operations Agreement dated June from the Sea Robin Pipeline               administrative functions for the System. Facility separates condesate from Sea Robin Pi by and
                             1, 1972.                                                                  between Fieldwood Energy LLC and and
Construction and Operation   10/1/1995                       Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
Agreement                                                    the Construction and Operation of the     Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                             Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                             Parish, Louisiana                         and and

Construction and Operation   10/1/1995                         Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
Agreement                                                      the Construction and Operation of the    Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                               Sea Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC
                                                               Parish, Louisiana                        and and

Ownership and Operating      9/26/1982                         Venice Dehydration Station Operations     Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station
Agreement                                                      and Maintenance Agreement                 Owners by and between Fieldwood Energy LLC and and
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Service Agreement             11/1/2015    South Pass Dehydration Service          Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station
                                           Agreement as amended                    on behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services
                                                                                   Company LLC (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)

Ownership and Operating       3/6/1974     Construction and Operating Agreement    Provides for the construction and operation of the onshore separation facility which is connected
Agreement                                  for Onshore Separation Facility         to the facilites of Stingray Pipeline Company and which separates condensate from the natural
                                           Cameron Parish, Louisiana as amended    gas injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                   Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)

Ownership and Operating       3/6/1974     Construction and Operating Agreement    Provides for the construction and operation of the onshore separation facility which is connected
Agreement                                  for Onshore Separation Facility         to the facilites of Stingray Pipeline Company and which separates condensate from the natural
                                           Cameron Parish, Louisiana as amended    gas injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                   Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)

Construction and Management   10/1/1981    Construction and Management             Provides for the construction management of the Facility by and between Fieldwood Energy LLC
Agreement                                  Agreement South Pass West Delta         and N/A and N/A
                                           Gathering System
Construction and Management   10/1/1981    Construction and Management             Provides for the construction management of the Facility by and between Fieldwood Energy LLC
Agreement                                  Agreement South Pass West Delta         and N/A and N/A
                                           Gathering System
Construction and Management   10/1/1981    Construction and Management             Provides for the construction management of the Facility by and between Fieldwood Energy LLC
Agreement                                  Agreement South Pass West Delta         and N/A and N/A
                                           Gathering System
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Owners' Agreement             10/1/1981    Owners' Agreement South Pass West       Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                           Delta Gathering System                  LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
Construction and Operating    10/22/1976   Agreement for the Construction and      Processing of Owners' gas all in accordance with agreements by and between Fieldwood Energy
Agreement                                  Operation of the Blue Water Gas Plant   LLC and EnLink Midstream Operating, LP and EnLink Midstream Operating, LP
                                           Acadia Parish, Louisiana
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Apache Corporation and          Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Apache Corporation and          Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Apache Corporation and          Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Dynamic Offshore Resources,     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           LLC and Enterprise GTM Offshore         sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Operating Company, LLC                  Energy Offshore LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Sandridge Offshore, LLC and     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy Offshore LLC and and
Operating Agreement                        Lateral Line Operating Agreement        Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                           Between Sandridge Offshore, LLC and     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement
                                           Enterprise GTM Offshore Operating       sets forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                           Company, LLC                            Energy Offshore LLC and and
Construction, Ownership and   2/25/2011    Amendment No. 2                         Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment              Eugene Island Block 361 Pipeline        (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
2                                          Construction, Ownership and Operating   was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                           Agreement                               Company and Chevron Pipeline Company
Assignment                                 Eugene Island Block 361 Pipeline        The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                           Construction, Ownership and Operating   II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                           Agreement                               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood
                                                                                   Energy LLC and and
Operating Agreement           5/1/1996     Pipeline Operating Agreement            To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                   Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Operating Agreement           5/1/1996     Pipeline Operating Agreement            To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                   Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Operating Agreement           5/1/1996     Pipeline Operating Agreement            To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                   Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Oil Purchase and Sale         8/1/2018     Oil Purchase and Sale Agreement       Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
Agreement/Transport                        between Fieldwood Energy Offshore LLC Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                           and Poseidon Oil Pipeline Company LLC

Memorandum of Agreement       8/1/2020     Memorandum of Agreement Between         Memorandum of Agreement by and between Fieldwood Energy LLC and Poseidon Oil Pipeline
                                           Fieldwood Energy Offshore LLC and       Company LLC and Poseidon Oil Pipeline Company LLC
                                           Poseidon Oil Pipeline Company LLC

Oil Gathering Agreement       6/1/2003     Oil Gathering Agreement                 Crude Oil Transport. by and between Fieldwood Energy LLC and Manta Ray Gathering Co.,LLC
                                           Between                                 and Manta Ray Gathering Co.,LLC
                                           Westport Resources Corporation
                                           Noble Energy Inc
                                           M
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Oil Purchase and Sale          7/15/2003    Oil Purchase and Sale Agreement           Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
Agreement/Transport                         Between Westport Resources                Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                            Corporation Mariner Energy Inc Noble
                                            Energy Inc and Poseidon Oil Pipeline
                                            Company LLC
Oil Gathering Agreement        7/1/2005     Oil Gathering Agreement                   Crude Oil Transport. by and between Fieldwood Energy LLC and Main Pass Oil Gathering
                                                                                      Company and Main Pass Oil Gathering Company
Oil Gathering Agreement        7/1/2005     Oil Gathering Agreement                   Crude Oil Transport. by and between Fieldwood Energy LLC and Main Pass Oil Gathering
                                                                                      Company and Main Pass Oil Gathering Company
Oil Gathering Agreement        7/1/2005     Oil Gathering Agreement                   Crude Oil Transport. by and between Fieldwood Energy LLC and Main Pass Oil Gathering
                                                                                      Company and Main Pass Oil Gathering Company
Reimbursement Agreement        1/21/2019    Pigging Service Reimbursement             Reimbursement Agreement by and between Fieldwood Energy LLC and Main Pass Oil Gatherind
                                            Agreement                                 LLC and Main Pass Oil Gatherind LLC
Reimbursement Agreement        1/21/2019    Pigging Service Reimbursement             Reimbursement Agreement by and between Fieldwood Energy LLC and Main Pass Oil Gatherind
                                            Agreement                                 LLC and Main Pass Oil Gatherind LLC
Reimbursement Agreement        1/21/2019    Pigging Service Reimbursement             Reimbursement Agreement by and between Fieldwood Energy LLC and Main Pass Oil Gatherind
                                            Agreement                                 LLC and Main Pass Oil Gatherind LLC
Oil Transport                  8/1/2009     High Island Pipeline System Throughput    Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                            Capacity Lease Agreement                  Oil & Gas LLC

Oil Transport                  8/1/2009     High Island Pipeline System Throughput    Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                            Capacity Lease Agreement                  Oil & Gas LLC

Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Oil Transport                  11/30/2018   Crimson Gulf Dedication and               Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                            Transportation Services Agreement
Injected and Retrograde       2/10/2014     Injected and Retrograde Condensate        Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
Condensate Transportation and               Transportation and Btu Reduction Make‐    and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
Btu Reduction Make‐up                       up Agreement                              Transcontinental Gas Pipe Line Company LLC
Agreement
Injected and Retrograde       2/10/2014     Injected and Retrograde Condensate     Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
Condensate Transportation and               Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
Btu Reduction Make‐up                       up Agreement                           Transcontinental Gas Pipe Line Company LLC
Agreement
Agreement For Measurement and 7/1/2001      Central Texas Gathering System (1st)      Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Agreement For Measurement and 7/1/2001      Central Texas Gathering System (1st)      Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Agreement For Measurement and 7/1/2014      Central Texas Gathering System Second     Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Agreement For Measurement and 7/1/2014      Central Texas Gathering System Second     Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
Allocation of Condensate                    Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                            Measurement and Allocation of
                                            Condensate
Liquid Transportation          9/27/1993    Liquid Transportation Nouth High          Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                            Tailgate, Bayou Black & Vermilion
                                            Separation Facility. Contract # 94 0674

Liquid Transportation          9/27/1993    Liquid Transportation Nouth High          Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                            Tailgate, Bayou Black & Vermilion
                                            Separation Facility. Contract # 94 0674

Liquid Transportation          9/27/1993    Liquid Transportation Nouth High          Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                            Tailgate, Bayou Black & Vermilion
                                            Separation Facility. Contract # 94 0674

Amendment Liquid Transportation 11/1/2007   Amendment to Liquid Transportation        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Agreement Between Transcontinental        Corporation and Transcontinental Gas Pipe Line Corporation
                                            Gas Pipe Line Corporatio and Apache
                                            Corp Contract # 94 0674 001

Amendment Liquid Transportation 11/1/2007   Amendment to Liquid Transportation        Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                            Agreement Between Transcontinental        Corporation and Transcontinental Gas Pipe Line Corporation
                                            Gas Pipe Line Corporatio and Apache
                                            Corp Contract # 94 0674 001
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Amendment Liquid Transportation 11/1/2007      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                               Agreement Between Transcontinental       Corporation and Transcontinental Gas Pipe Line Corporation
                                               Gas Pipe Line Corporatio and Apache
                                               Corp Contract # 94 0674 001

Amendment Liquid Transportation 1/22/2013      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                               Agreement Between Transcontinental       Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                               Gas Pipe Line Corporatio and Apache      Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                               Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation 1/22/2013      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                               Agreement Between Transcontinental       Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                               Gas Pipe Line Corporatio and Apache      Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                               Corp Contract # 94 0674 001/1005198

Amendment Liquid Transportation 1/22/2013      Amendment to Liquid Transportation       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                               Agreement Between Transcontinental       Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                               Gas Pipe Line Corporatio and Apache      Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                               Corp Contract # 94 0674 001/1005198

Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup 11/1/2007     Injected and Retrograde Condensate       Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                               Transportation and Btu Reduction Make‐   Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                               up Agreement‐Southeast Lateral (into
                                               Bayou Black) 28 0008 000
Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐      Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Apache Corp.         WFS‐Liquid Company

Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Mariner Energy inc WFS‐Liquid Company

Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Mariner Energy inc WFS‐Liquid Company

Terminalling Agreement            9/1/2009     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                               Liquids Company and Mariner Energy inc WFS‐Liquid Company

Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Terminalling Agreement            2/1/2014     Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                               Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                               Contract BB111
Oil Liquids Transportation        10/22/2009   Liquids Transportation Agreement #51169 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Agreement for Bluewater System                 dated 2/1/2007                          LLC and Kinetica Energy Express, LLC

Oil Liquids Transportation for    9/30/2009    Liquids Transportation Agreement #51169 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Bluewater Pipeline System                      dated 2/1/2007                          LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation for    4/1/2004     Liquids Transportation Agreement #51051 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Bluewater Pipeline System                                                              LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation for    9/30/2009    Liquids Transportation Agreement #51051 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Bluewater Pipeline System                      dated 4/1/2004                          LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation for    2/25/2010    Liquids Transportation Agreement No.    Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                50031                                   LLC and Kinetica Energy Express, LLC
System
Oil Liquids Transportation for    2/25/2010    Liquids Transportation Agreement No.     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                50031                                    LLC and Kinetica Energy Express, LLC
System
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Oil Liquids Transportation for    2/25/2010                       Liquids Transportation Agreement No.     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
Grand Chenier Offshore Pipeline                                   50031                                    LLC and Kinetica Energy Express, LLC
System
Oil Liquids Amendment No. 6       1/1/2007 Original Contract;     Amendment No. 6 to the Liquids           Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                  Amendment Effective 1/1/2007    Transportation Contract                  LLC and Kinetica Energy Express, LLC

Oil Liquids Amendment No. 6       8/1/1992, Amendment Effective   Amendment No. 6 to the Liquids           Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express,
                                  1/1/2007                        Transportation Contract                  LLC and Kinetica Energy Express, LLC
Oil Liquids Transportation        3/3/2011                        Associated Liquids Transportation        Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Deepwater
                                                                  Agreement #117842                        Express, LLC and Kinetica Deepwater Express, LLC
Oil Liquids Transportation        3/3/2011                        Associated Liquids Transportation        Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Deepwater
                                                                  Agreement #117842                        Express, LLC and Kinetica Deepwater Express, LLC
Oil Liquids Transportation      11/1/2012 Amendment Date:         Amendment No. 1                          Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Deepwater
                                8/1/2014                                                                   Express, LLC and Kinetica Deepwater Express, LLC
Oil Amendment transferring from 12/1/2013                         Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Apache to Fieldwood Energy LLC

Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Rate Amendment to Liquid      Amendment effective 1/1/2011    Agreement for the Allocation of Liquid   Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Transportation Agreement                                          Hydrocarbons at the Patterson Terminal
                                                                  effective 7/1/2007
Oil Liquid Handling Agreement     5/1/2008                        Liquid Handling Agreement                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica

Amendment to Oil Liquid Handling 3/1/2011                         Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Agreement
Amendment to Oil Liquid Handling 11/1/2012 amended 12/1/2013      Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Agreement to transfer from
Apache Shelf, Inc. to Fieldwood
Energy LLC
Oil Liquids Agreement transferring 11/2/2010 amended effective    Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
from Apache Shelf, Inc. to         12/1/2014
Fieldwood Energy LLC
Oil Liquids Agreement transferring 11/2/2010 amended effective    Amendment                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
from Apache Shelf, Inc. to         12/1/2014
Fieldwood Energy LLC
Oil Liquids Agreement              11/1/2012                      Associated Liquids Transporation         Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                  Agreement Grand Chenier Terminal
Oil Liquids Agreement             11/1/2012                       Associated Liquids Transporation         Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                  Agreement Grand Chenier Terminal
Oil Liquids Separation and        6/1/2014                        Third Amendment to Liquids Separation     LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and
Stabilization Agreement                                           and Stabilization Agreement               Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                            L.L.C.
Oil Liquids Separation and        1/1/2015                        Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
Stabilization Agreement                                           and Stabilization Agreement               Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                            L.L.C.
Oil Liquids Separation and        1/1/2015                        Fourth Amendment to Liquids Separation LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and
Stabilization Agreement                                           and Stabilization Agreement               Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company,
                                                                                                            L.L.C.
Oil Liquids Transporation         1/1/2015                        Second Amendment to Liquids               LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
Agreement                                                         Transporation Agreement                   Nautilus Pipeline Company, L.L.C.
Oil Liquids Transporation         5/1/2015                        Amendment to Transportation               LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
Agreement                                                         Agreement                                 Pipeline Company, LLC
Oil Liquids Transporation         5/1/2015                        Transportation Agreement for              Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                                                         Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transporation         5/1/2015                        Transportation Agreement for              Amendment No. 2 by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC
Agreement                                                         Interruptible Service Under Rate Schedule and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transporation         5/1/2015                        Transportation Agreement for              Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                                                         Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  ITS Between Sea Robin Pipeline Company,
                                                                  LLC and Fieldwood Energy LLC

Oil Liquids Transport             5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                  for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                                  Schedule ITS between Sea Robin Pipeline
                                                                  Company, LLC and Fieldwood Energy LLC
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Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        5/1/2015                        Exhibit A for Transportation Agreement Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                             for Interruptible Service Under Rate    Company, LLC and Sea Robin Pipeline Company, LLC
                                                             Schedule ITS between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC

Oil Liquids Transport        2/1/2018                        Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                             Separation Agreement dated October 1, Pipeline Company, LLC
                                                             2004 between Trunkline field Services LLC
                                                             and Fieldwood Energy LLC‐Agreement No.
                                                             2430

Oil Liquids Transport        2/1/2018                        Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                             Separation Agreement dated October 1, Pipeline Company, LLC
                                                             2004 between Trunkline field Services LLC
                                                             and Fieldwood Energy LLC‐Agreement No.
                                                             2430

Oil Liquids Hydrocarbon      2/1/2018                        Amendment No. 1 to Liquids Hydrocarbon Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                             Transportation Agreement Dated October Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             1, 2004 between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC‐
                                                             Agreement No. 2431

Oil Liquids Hydrocarbon      2/1/2018                        Amendment No. 1 to Liquids Hydrocarbon Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                             Transportation Agreement Dated October Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             1, 2004 between Sea Robin Pipeline
                                                             Company, LLC and Fieldwood Energy LLC‐
                                                             Agreement No. 2431

Oil Retrograde Condensate    9/1/2012                        Amendment No. 3 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement        Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    9/1/2012                        Amendment No. 3 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement        Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    9/1/2012                        Amendment No. 3 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement        Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    5/1/2001                        Retrograde Condensate Separation       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Agreement                              Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    5/1/2001                        Retrograde Condensate Separation       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Agreement                              Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate    3/1/2018                        Amendment No. 5 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement No.    Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             2393
Oil Retrograde Condensate    3/1/2018                        Amendment No. 5 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement No.    Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             2393
Oil Retrograde Condensate    3/1/2018                        Amendment No. 5 to Retrograde          Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin
Separation Agreement                                         Condensate Separation Agreement No.    Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                             2393
Oil Liquids Transportation   Start date 12/1/2013‐End Date   Rate Schedule ITS Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                    1/1/2200                        Transportation Service                 Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation   Start date 5/1/2014‐End date    Amendment to Interruptible             Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
Agreement                    1/1/2200                        Transportation Agreement               Company, LLC and Sea Robin Pipeline Company, LLC
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/18/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0063                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0064                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0065                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0066                             Trading (US) Company and Shell Trading (US) Company
Crude Sales                  8/19/2020                       STUSCO CONTRACT REF. NO. ‐             STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                             CL69LP0069                             Trading (US) Company and Shell Trading (US) Company
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Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0069                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0071                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0071                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/19/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0071                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/14/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0062                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/14/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0062                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/14/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CL69LP0062                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/13/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003971                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/13/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003971                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           8/11/2020     STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                    CLP0003964                      Trading (US) Company and Shell Trading (US) Company
Crude Sales           1/31/2014     Evergreen Lease Purchase        Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/30/2014     Evergreen Lease Purchase        Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/31/2014     Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales           1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                    LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales           1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                    LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales           1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                    LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales           1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                    LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales           1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                    LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales           1/23/2014                                     ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                                    LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
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Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales                  3/5/2014                                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                                                  Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                                                  LP
Crude Sales/Purchase         6/1/1998     Crude Oil Purchase and Sale Agreement   Producers sell Crude Oil to Questor and Questor purchases Crude Oil from Producers. Producers
                                                                                  buy back a volume of Crude Oil at HIPS Segment III tie‐in equal to their monthly production sold
                                                                                  to Questor at the Platform. by and between Fieldwood Energy LLC and Questor Pipeline Venture
                                                                                  and Questor Pipeline Venture
MARKETING ‐ GAS PROCESSING   10/22/1976   CONSTRUCTION/OPERATING                  Agreement for the Construction and Operation of the Blue Water Gas Plant, Acadia Parish,
                                                                                  Louisiana by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                                  ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   7/1/2019     PROCESSING‐FEE                          between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                  Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC

MARKETING ‐ GAS PROCESSING   7/1/2019     PROCESSING‐FEE                          between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                  Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC

MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   4/1/2020     PROCESSING‐POL‐THEORETICAL              POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK
                                                                                  LIG LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING   8/1/2009     PROCESSING‐Greater of Fee or POL        80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   12/1/2010    1st AMENDMENT                           80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   11/5/2004    LETTER AGREEMENT‐ PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   2/1/2004     LETTER AGREEMENT‐ PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   9/1/2004     1st AMENDMENT PROCESSING‐FEE            PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   8/1/2004     LETTER AGREEMENT‐ PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING   8/1/2005     GAS PROCESSING / CONDITIONING           GPM: <2=80%, 2‐3=82.5%, >3=85% by and between Fieldwood Energy LLC and DCP Midstream,
                                          AGREEMENT                               DCP Mobile Bay Processing, LLC and DCP Midstream, DCP Mobile Bay Processing, LLC

MARKETING ‐ GAS PROCESSING   8/1/2005     GAS PROCESSING / CONDITIONING           GPM: <2=80%, 2‐3=82.5%, >3=85% by and between Fieldwood Energy LLC and DCP Midstream,
                                          AGREEMENT                               DCP Mobile Bay Processing, LLC and DCP Midstream, DCP Mobile Bay Processing, LLC

MARKETING ‐ GAS PROCESSING   1/8/2019     GAS PROCESSING AGREEMENT‐FEE    $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                          Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/8/2019     GAS PROCESSING AGREEMENT‐FEE    $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                          Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   5/1/2009     PROCESSING AGREEMENT‐GREATER of 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                          Fee or POL                      Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   6/29/2010    PROCESSING AGREEMENT AMENDMENT‐ 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                          GREATER of Fee or POL           Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   10/1/2010    PROCESSING AGREEMENT‐GREATER of GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                          Fee or POL                      Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
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                                          Exhibit III-F




MARKETING ‐ GAS PROCESSING   11/1/2010   PROCESSING AGREEMENT‐ 1ST         GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                         AMENDMENT‐GREATER of Fee or POL   Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   7/24/2012   PROCESSING AGREEMENT‐ 2ND         GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                         AMENDMENT‐GREATER of Fee or POL   Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING   7/1/2011    GAS PROCESSING AGREEMENT          92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/1/2012    FIRST AMENDMENT ‐ GAS PROCESSING  92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   7/1/2011    GAS PROCESSING AGREEMENT          92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/19/2012   FIRST AMENDMENT ‐ GAS PROCESSING  92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/19/2012   GAS PROCESSING AGREEMENT‐POL      92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   1/19/2012   GAS PROCESSING AGREEMENT‐POL      92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                           ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   2/17/2014   FIRST AMENDMENT TO GAS PROCESSING 92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   2/17/2014   FIRST AMENDMENT TO GAS PROCESSING 92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                         AGREEMENT                         ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING   11/9/2004   GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/8/2007    FIRST AMENDMENT TO GAS PROCESSING 85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   4/1/2010    GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/12/2011   GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   4/1/2011    GAS PROCESSING AGREEMENT          85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/16/2004   GAS PROCESSING AGREEMENT          87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/16/2004   GAS PROCESSING AGREEMENT          87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                           Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/1/2005    FIRST AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   3/1/2005    FIRST AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/2009    THIRD AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/2009    THIRD AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                         AGREEMENT                         Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/1/1970    CONSTRUCTION/OPERATING (NI)       Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                           Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                           Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/1/1970    CONSTRUCTION/OPERATING (NI)       Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                           Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                           Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/25/2014   RATIFICATION AND ADOPTION OF C&O  Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing
                                         AGREEMENT                         Plant, St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas
                                                                           Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   7/25/2014   RATIFICATION AND ADOPTION OF C&O  Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing
                                         AGREEMENT                         Plant, St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas
                                                                           Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/1/1998    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   1/1/1998    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2010    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2010    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2011    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   5/1/2011    GAS PROCESSING AGREEMENT‐         POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                         AMENDMENT‐ POL                    TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2005    POL ‐GAS PROCESSING AGREEMENT     POL DEPENDENT ON GPm by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                           SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2005    POL ‐GAS PROCESSING AGREEMENT     POL DEPENDENT ON GPm by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                           SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2006    POL ‐GAS PROCESSING AGREEMENT     POL= 85%/15% by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                           TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   9/1/2011    POL ‐GAS PROCESSING AGREEMENT‐    POL DEPENDENT ON GPM PLU FEE ‐ 77%/23% ‐$.12026 by and between Fieldwood Energy LLC
                                         AMENDMENT                         and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING   3/15/2020   GREATER OF FEE OR POL ‐ GAS       GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                         PROCESSING AGREEMENT              Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP

MARKETING ‐ GAS PROCESSING   1/1/2012    FEE GAS PROCESSING AGREEMENT          FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING   1/1/2012    FEE GAS PROCESSING AGREEMENT          FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING   8/1/2009    FEE GAS PROCESSING AGREEMENT          FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   8/1/2009    FEE GAS PROCESSING AGREEMENT          FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   8/1/2009    FEE GAS PROCESSING AGREEMENT          FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
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MARKETING ‐ GAS PROCESSING   8/1/2009     FEE GAS PROCESSING AGREEMENT         FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   8/1/2009     FEE GAS PROCESSING AGREEMENT         FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC
                                                                               and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   1/18/2012    FEE GAS PROCESSING AGREEMENT ‐       FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                          AMENDMENT                            Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/1/2012    POL‐ GAS PROCESSING AGREEMENT        pol 85% 15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING   10/1/2012    Gas processing Raw make purchase     Gas processing Raw make purchase by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
Environmental/Govt           6/24/2019    Master Services Contract             – IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           10/2/2019    Software License Agreement           IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
Environmental/Govt           11/19/2018   Master Service Contract              Regulatory
Environmental/Govt           11/1/2013    Master Services Contract             Platform Audits / BSEE Drawings
Environmental/Govt           10/30/2019   Master Client Agreement              Industry Standards, Analytics, and Research / Subscription Service
Environmental/Govt           11/15/2019   Order Form                           Industry Standards, Analytics, and Research / Subscription Service
Land                         4/1/1981     Unit Agreement No. 14‐08‐001‐20231   Unit Agreement for the C‐6/JS Sand, effective April 1,1981, between. Arco Oil and
                                                                               Gas,Company;,Getty Oil Company, Cities Service Company, Hamilton Brothers Oil Company,
                                                                               Mobil Oil. Exploration &>. Producing S.E. Inc., Gulf Oil Corporation, Hunt Oil Company, Highland
                                                                               Resources, Inc., Hunt; lndustries, and Prosper Energy Corporation.; Unit No. 891020231
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                                   Exhibit III-G

None
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                                                  Exhibit III-H




Cash and other balances to be determined at effective date

Surety Bonds in favor of FWE Survivor:
   DATE    BOND NO.              Amount                 Lease                                      PARTIES                                            SURETY                   BENEFICIARY
 10/17/18 SUR0049418           $631,130            ROW OCS‐G16039   Talos Gulf Coast Oﬀshore LLC; W&TOﬀshore Inc.; Bandon Oil and Gas, LP   Argonaut Insurance Company   Bandon Oil and Gas, LP
 10/17/18 SUR0049419         $3,455,326              OCS‐G 11881    Talos Gulf Coast Oﬀshore LLC; W&TOﬀshore Inc.; Bandon Oil and Gas, LP   Argonaut Insurance Company   Bandon Oil and Gas, LP
  2/13/18 1149839              $500,000              OCS‐G19760                         Northstar Offshore Ventures LLC                      Lexon Insurance Company      Fieldwood Energy LLC
  2/13/18 1149840               $50,000              OCS‐G19761                         Northstar Offshore Ventures LLC                      Lexon Insurance Company      Fieldwood Energy LLC
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                                 Exhibit 5A
                   Attachment to Plan of Merger (Exhibit 5)

                      Certificate of Merger (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                    CERTIFICATE OF MERGER
                              (DOMESTIC ENTITY DIVISIONAL MERGER)
                                              OF
                                    FIELDWOOD ENERGY LLC


                                                  [•], 2021

      Pursuant to Title 1, Chapter 10 and Title 3 of the Texas Business Organizations Code (the
“TBOC”), the undersigned, Fieldwood Energy, LLC, a Texas limited liability company
(“FWE”), submits this certificate of merger for the purpose of dividing itself into a surviving
domestic entity and one new domestic entity, and hereby certifies the following:

       FIRST: The name of the domestic filing entity that is dividing itself is Fieldwood
Energy, LLC.

       SECOND: The principal place of business of FWE is 2000 W Sam Houston Pkwy S
#1200, Houston, TX 77042.

           THIRD: The filing number issued to FWE by the Secretary of State of the State of Texas
is E*]1.

           FOURTH: FWE is organized as a limited liability company.

       FIFTH: FWE shall survive the merger and shall maintain its separate existence and
continue as a filing entity under the name “Fieldwood Energy III LLC” (“FWE III”).

           SIXTH: In lieu of providing the plan of merger, the filing entity certifies that:

           (i) An executed copy of the Agreement and Plan of Merger, dated as of [•], 2021
           (the “Plan of Merger”), of FWE is on file at the principal place of business of each
           surviving and new domestic entity provided in this form.

           (ii) On written request, a copy of the Plan of Merger will be furnished without cost by
           each surviving or new domestic entity to any member of any domestic entity that is a
           party to or created by the Plan of Merger, and any creditor or obligee of the parties to the
           merger at the time of the merger if a liability or obligation is then outstanding.

       SEVENTH: The certificate of formation of FWE shall continue to be the certificate of
formation of FWE following the merger, provided that the certificate of formation of FWE shall
be amended to change the name of such entity to “Fieldwood Energy III, LLC”.

       EIGHTH: The name, jurisdiction of organization, principal place of business address,
and entity description of the entity to be created pursuant to the plan of merger are set forth

1 Note to Draft: to be assigned upon conversion of FWE to a Texas LLC.




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below. The certificate of formation of the new domestic filing entity to be created is being filed
with this certificate of merger.

         Name: Fieldwood Energy I LLC

          Entity Description: limited liability company

          Jurisdiction of Organization: Texas

          Principal place of business: [•].

      NINTH: The Plan of Merger has been approved, adopted, certified, executed and
acknowledged as required by the TBOC and the governing documents of the filing entity.

       TENTH: This document shall be effective when the document is accepted and filed by
the Secretary of State of the State of Texas.

        ELEVENTH: In lieu of providing the tax certificate, FWE III shall continue to be liable
for the payment of all required franchise taxes of FWE III.




                                                          2
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       IN WITNESS WHEREOF, the undersigned has caused this certificate of merger to be
duly executed as of the date first set forth above.



                                                 FIELDWOOD ENERGY, LLC
                                                 a Texas limited liability company


                                                 By:
                                                 Name:
                                                 Title:




                         [SIGNATURE PAGE TO CERTIFICATE OF MERGER]
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                                 Exhibit 5B
                   Attachment to Plan of Merger (Exhibit 5)

           Certificate of Formation (TX) (Fieldwood Energy I LLC)




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                                                                                                          This space reserved for office use.
                  Form 205
                  (Revised 05/11)

                  Submit in duplicate to:
                  Secretary of State
                  P.O. Box 13697                                       Certificate of Formation
                  Austin, TX 78711-3697                                Limited Liability Company
                  512 463-5555
                  FAX: 512 463-5709
                  Filing Fee: $300

                                                                     Article 1 - Entity Name and Type

                  The filing entity being formed is a limited liability company. The name of the entity is:

                 FIELD WOOD ENERGY I LLC
                  The name must contain the words “limited liability company,” “limited company,” or an abbreviation of one of these phrases.

                                                         Article 2 - Registered Agent and Registered Office
                                                           (See instructions. Select and complete either A or B and complete C.)
                  |X| A. The initial registered agent is an organization (cannot be entity named above) by the name of:
                                                                    CAPITOL CORPORATE SERVICES. INC._________________________________________________
                  OR
                  □ B. The initial registered agent is an individual resident of the state whose name is set forth below:

                  First Name                                             M.I.                     Last Name                                         Suffix

                  C. The business address of the registered agent and the registered office address is:
                 206 E, 9TH STREET. SUITE 1300___________ AUSTIN                                                               TX          78701
                  Street Address                          City                                                                 State        Zip Code

                                                                      Article 3—Governing Authority
                                              (Select and complete either A or B and provide the name and address of each governing person.)

                  [X| A. The limited liability company will have managers. The name and address of each initial
                  manager are set forth below.
                  □ B. The limited liability company will not have managers. The company will be governed by its
                  members, and the name and address of each initial member are set forth below.
                  GOVERNING PERSON 1_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                            M.I.          Last Name                                            Suffix
                          OR
                          IF ORGANIZATION



                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                            City                                State       Country   Zip Code

                Form 205                                                                      4


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                  GOVERNING PERSON 2_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                       M.I.            Last Name                        Suffix
                          OR
                          IF ORGANIZATION


                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code

                  GOVERNING PERSON 3_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                       M.I.            Last Name                        Suffix
                          OR
                          IF ORGANIZATION


                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code


                                                                             Article 4 - Purpose

                  The purpose for which the company is formed is for the transaction of any and all lawful purposes for
                  which a limited liability company may be organized under the Texas Business Organizations Code.

                                                               Supplemental Provisions/Information
                  Text Area: [The attached addendum, if any, is incorporated herein by reference.]

                 The entity is fonned pursuant to a plan of merger. The name of the merging entity is Fieldwood Energy LLC.

                 The address of the converting entity is 2000 W. Sam Houston Pkwy. S., Suite 1200, Houston, Texas 77042.

                 The merging entity was fonned on 11/5/2012 under the laws of the State of Delaware, USA.

                 The merging entity was previously a Delaware limited liability company. The merger entity converted to a Texas limited
                 liability company on [ ]/[ ]/2021.




                Form 205                                                                   5

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                                                                        Organizer

                  The name and address of the organizer:


                  Name



                  Street or Mailing Address                                          City                           State   Zip Code


                                                     Effectiveness of Filing (Select either A, B, or C.)

                  A.         This document becomes effective when the document is filed by the secretary of state.
                  B.     This document becomes effective at a later date, which is not more than ninety (90) days from
                  the date of signing. The delayed effective date is:
                  C. |X] This document takes effect upon the occurrence of the future event or fact, other than the
                  passage of time. The 90th day after the date of signing is:
                  The following event or fact will cause the document to take effect in the manner described below:
                 the filing of the certificate of merger of Fieldwood Energy LLC with the Secretary of State of Texas.




                                                                        Execution

                The undersigned affirms that the person designated as registered agent has consented to the
                appointment. The undersigned signs this document subject to the penalties imposed by law for the
                submission of a materially false or fraudulent instrument and certifies under penalty of perjury that the
                undersigned is authorized to execute the filing instrument.

                Date:


                                                                          Signature of organizer


                                                                          Printed or typed name of organizer




                                                                                                                   Print               Reset




                Form 205                                                       6

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                                     Exhibit 6

                    Fieldwood Energy I LLC Agreement




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                     LIMITED LIABILITY COMPANY AGREEMENT

                                         OF
                           FIELDWOOD ENERGY I LLC
                          (a Texas Limited Liability Company)


                                       [•], 2020




THE MEMBERSHIP INTERESTS REFERENCED IN THIS LIMITED LIABILITY
COMPANY AGREEMENT HAVE BEEN ACQUIRED FOR INVESTMENT AND HAVE
NOT BEEN REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS
AMENDED, OR UNDER ANY APPLICABLE STATE SECURITIES LAWS. SUCH
MEMBERSHIP INTERESTS MAY NOT BE SOLD, ASSIGNED, PLEDGED,
HYPOTHECATED OR OTHERWISE DISPOSED OF AT ANY TIME WITHOUT
EFFECTIVE REGISTRATION UNDER SUCH ACT AND LAWS OR EXEMPTION
THEREFROM, AS WELL AS COMPLIANCE WITH THE OTHER SUBSTANTIAL
RESTRICTIONS ON TRANSFERABILITY THAT ARE SET FORTH HEREIN.




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                      LIMITED LIABILITY COMPANY AGREEMENT OF
                               FIELDWOOD ENERGY I LLC

         This Limited Liability Company Agreement of Fieldwood Energy I LLC, a Texas limited
liability company (the “Company”), dated as of [•], 2020 (this “Agreement”), is entered into by
and among the Company, the Initial Member1 executing this Agreement as of the date hereof, and
each other Person who after the date hereof becomes a Member of the Company and becomes a
party to this Agreement by executing a joinder agreement in form and substance acceptable to the
Company. Capitalized terms not defined where used in this Agreement shall have the meanings
assigned to such terms in ARTICLE I of this Agreement.
                                                  RECITALS

       WHEREAS, the Company was formed under the laws of the State of Texas by the filing
of a Certificate of Formation with the Secretary of State of the State of Texas on [•], 2020 (the
“Certificate of Formation”) for the purposes set forth in Section 2.05 of this Agreement;

        WHEREAS, pursuant to and in accordance with the Confirmation Order and the Term
Sheet, respectively, and as a result of a divisive merger pursuant to § 10.008 of the BOC, the
Company will own (i) the Legacy Apache Properties subject to the operational liabilities in
connection therewith, including plugging and abandonment and decommissioning liabilities
relating to the Legacy Apache Properties, and (ii) the equity interests of GOM Shelf;

         WHEREAS, in accordance with the Term Sheet, [•] has been appointed to serve as the
initial Independent Director of the Company in accordance with this Agreement; and

       WHEREAS, the Initial Member wishes to enter into this Agreement to set forth the terms
and conditions governing the operation and management of the Company;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto agree as follows:

                                                 ARTICLE I
                                                DEFINITIONS

       Section 1.01 Definitions. Capitalized terms used herein and not otherwise defined shall
have the meanings set forth in this Section 1.01:

          “Acceptance Notice” has the meaning set forth in Section 7.09.




1 NTD: Please confirm identity of Initial Member and the equity holders of the Initial Member.

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       “Adjusted Capital Account Deficit” means, with respect to any Member, the deficit
balance, if any, in such Member’s Capital Account as of the end of the relevant Fiscal Year, after
giving effect to the following adjustments:

                 (a)      crediting to such Capital Account any amount that such Member is
          obligated to restore or is deemed to be obligated to restore pursuant to Treasury Regulations
          Sections 1.704-1(b)(2)(ii)(c), 1.704-2(g)(1) and 1.704-2(i); and

                 (b)    debiting to such Capital Account the items described in Treasury
          Regulations Section 1.704-1(b)(2)(ii)(d)(4), (5) and (6).

        “Adjusted Taxable Income” of a Member, or if the Member is disregarded for U.S.
federal income tax purposes, the members or beneficiaries of such Member, for a Fiscal Year (or
portion thereof) with respect to the Membership Interest held by such Member means the federal
taxable income allocated by the Company to the Member with respect to its Membership Interest
(as adjusted by any final determination in connection with any tax audit or other proceeding) for
such Fiscal Year (or portion thereof); provided, that such taxable income shall be computed (i)
minus any excess taxable loss of the Company for any prior period allocable to such Member with
respect to its Membership Interest that were not previously taken into account for purposes of
determining such Member’s Adjusted Taxable Income in a prior Fiscal Year to the extent such
loss would be available under the Code to offset income of the Member (or, as appropriate, the
direct or indirect owners of the Member) determined as if the income and loss from the Company
were the only income and loss of the Member (or, as appropriate, the direct or indirect owners of
the Member) in such Fiscal Year and all prior Fiscal Years, and (ii) taking into account any special
basis adjustment with respect to such Member resulting from an election by the Company under
Code Section 754.

        “Affiliate” means, with respect to any Person, any other Person who, directly or indirectly
(including through one or more intermediaries), controls, is controlled by, or is under common
control with, such Person. For purposes of this definition, “control,” when used with respect to
any specified Person, shall mean the power, direct or indirect, to direct or cause the direction of
the management and policies of such Person, whether through ownership of voting securities or
partnership or other ownership interests, by contract or otherwise; and the terms “controlling” and
“controlled” shall have correlative meanings. For the avoidance of doubt, neither Apache nor any
of its Subsidiaries nor Fieldwood II nor any of its Subsidiaries shall constitute an Affiliate of the
Company.

          “Agreement” has the meaning set forth in the Preamble.

        “Apache” means Apache Corporation, a Delaware corporation, and its successors or
assigns.

        “Applicable Law” means all applicable provisions of (a) constitutions, treaties, statutes,
laws (including the common law), rules, regulations, decrees, ordinances, codes, proclamations,
declarations, or orders of any Governmental Authority; (b) any consents or approvals of any
Governmental Authority; and (c) any orders, decisions, advisory or interpretative opinions,
injunctions, judgments, awards, decrees of, or agreements with, any Governmental Authority.
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          “Approved Providers” has the meaning set forth in Section 7.02(a).

       “BOC” means the Texas Business Organizations Code, as amended and in effect at the
time of this Agreement.

         “Book Depreciation” means, with respect to any Company asset for each Fiscal Year, the
Company’s depreciation, amortization, or other cost recovery deductions determined for federal
income tax purposes, except that if the Book Value of an asset differs from its adjusted tax basis
at the beginning of such Fiscal Year, Book Depreciation shall be (a) if such difference is being
eliminated by use of the remedial method under Treasury Regulations Section 1.704-3(d), the
amount of book basis recovered for such period under the rules prescribed by Treasury Regulations
Section 1.704-3(d)(2), or (b) if the remedial method is not used, an amount which bears the same
ratio to such beginning Book Value as the federal income tax depreciation, amortization, or other
cost recovery deduction for such Fiscal Year bears to such beginning adjusted tax basis; provided,
that if the adjusted basis for federal income tax purposes of an asset at the beginning of such Fiscal
Year is zero and the Book Value of the asset is positive, Book Depreciation shall be determined
with reference to such beginning Book Value using any permitted method selected by the Sole
Manager in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g)(3).

        “Book Value” means, with respect to any Company asset, the adjusted basis of such asset
for federal income tax purposes, except as follows:

                 (a)     the initial Book Value of any Company asset contributed by a Member to
          the Company shall be the gross Fair Market Value of such Company asset as of the date of
          such contribution;

                  (b)     immediately before the distribution by the Company of any Company asset
          to a Member, the Book Value of such asset shall be adjusted to its gross Fair Market Value
          as of the date of such distribution;

                 (c)    the Book Value of all Company assets may, in the sole discretion of the Sole
          Manager, be adjusted to equal their respective gross Fair Market Values, as reasonably
          determined by the Sole Manager, as of the following times:

                         (i)    the acquisition of an additional Membership Interest in the
                 Company by a new or existing Member in consideration for more than a de minimis
                 Capital Contribution;

                        (ii)  the distribution by the Company to a Member of more than a
                 de minimis amount of property (other than cash) as consideration for all or a part of
                 such Member’s Membership Interest in the Company; and

                        (iii)  the liquidation of the Company within the meaning of Treasury
                 Regulations Section 1.704-1(b)(2)(ii)(g);

                  (d)   the Book Value of each Company asset shall be increased or decreased, as
          the case may be, to reflect any adjustments to the adjusted tax basis of such Company asset

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          pursuant to Code Section 734(b) or Code Section 743(b), but only to the extent that such
          adjustments are taken into account in determining Capital Account balances pursuant to
          Treasury Regulations Section 1.704-1(b)(2)(iv)(m); provided, that Book Values shall not
          be adjusted pursuant to this paragraph (d) to the extent that an adjustment pursuant to
          paragraph (c) above is made in conjunction with a transaction that would otherwise result
          in an adjustment pursuant to this paragraph (d); and

                  (e)    if the Book Value of a Company asset has been determined pursuant to
          paragraph (a) or adjusted pursuant to paragraphs (c) or (d) above, such Book Value shall
          thereafter be adjusted to reflect the Book Depreciation taken into account with respect to
          such Company asset for purposes of computing Net Income and Net Losses.

     “Business Day” means a day other than a Saturday, Sunday or other day on which
commercial banks in the State of Texas are authorized or required to close.

          “Capital Account” has the meaning set forth in Section 3.03.

       “Capital Contribution” means, for any Member, the total amount of cash and cash
equivalents and the Book Value of any property contributed to the Company by such Member.

          “Certificate of Formation” has the meaning set forth in the Recitals.

        “Certificate of Termination” means a certificate to be filed upon completion of the
winding up and liquidation of the Company as set forth in Section 11.04, which certificate shall
be in the form required by § 11.101 of the BOC.

          “Code” means the Internal Revenue Code of 1986, as amended.

          “Company” has the meaning set forth in the Preamble.

       “Company Minimum Gain” means “partnership minimum gain” as defined in Treasury
Regulations Section 1.704-2(b)(2), substituting the term “Company” for the term “partnership” as
the context requires.

          “Confidential Information” has the meaning set forth in Section 12.03(a).

        “Confirmation Order” means the confirmation order entered in Chapter 11 Case 20­
33948, In re: Fieldwood Energy LLC, etal, in the United States Bankruptcy Court for the Southern
District of Texas, Houston Division, in form and substance reasonably acceptable to Apache.

          “Continuance” has the meaning set forth in Section 11.01.

          “Covered Person” has the meaning set forth in Section 9.01(a).

       “Decommissioning Agreement” means that certain Decommissioning Agreement, dated
as of September 30, 2013, by and among Apache Corporation, Apache Shelf, Inc., Apache
Deepwater LLC, Apache Shelf Exploration LLC, Fieldwood Energy LLC and GOM Shelf LLC,
as amended by (i) the First Amendment thereto dated as of September 30, 2013, (ii) the Second
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Amendment thereto dated as of September 30, 2013, (iii) the Third Amendment thereto dated
effective as of April 25, 2017, (iv) the Fourth Amendment thereto dated effective as of
September 1, 2017, as amended by that certain Letter Agreement dated January 3, 2018, and (v) the
Fifth Amendment thereto dated effective as of April 11, 2018.

       “Decommissioning Security” means the funds available from Trust A, the letters of credit,
and the bonds from time to time outstanding pursuant to the Decommissioning Agreement or
documents or instruments related thereto.

        “Depletable Property” means each separate oil and gas property as defined in Section 614
of the Code.

        “Divisive Merger Documents” means the certificate of division, the plan of division, the
certificate of merger, and other documents filed by or on behalf of Fieldwood with respect to the
Company with the Texas Secretary of State related to the creation of the Company.

        “Electronic Transmission” means any form of communication, including communication
by use of or participation in one or more electronic networks or databases, not directly involving
the physical transmission of paper that creates a record that may be retained, retrieved, and
reviewed by a recipient thereof and that may be directly reproduced in paper form by such a
recipient through an automated process.

        “Equity Securities” means any and all Membership Interests of the Company and any
securities of the Company convertible into, exchangeable for, or exercisable for, such Membership
Interests, and warrants or other rights to acquire such Membership Interests.

        “Estimated Tax Amount” of a Member, or if the Member is disregarded for U.S. federal
income tax purposes, the members or beneficiaries of such Member, for a Fiscal Year means the
Member’s Tax Amount for such Fiscal Year as estimated in good faith from time to time by the
Sole Manager. In making such estimate, the Sole Manager shall take into account amounts shown
on Internal Revenue Service Form 1065 filed by the Company and similar state or local forms filed
by the Company for the preceding taxable year and such other adjustments as the Sole Manager
reasonably determines are necessary or appropriate to reflect the estimated operations of the
Company for the Fiscal Year.

          “Excess Amount” has the meaning set forth in Section 6.02(c).

        “Fair Market Value” of any asset as of any date means the purchase price that a willing
buyer having all relevant knowledge would pay a willing seller for such asset in an arm’s length
transaction, as determined in good faith by the Sole Manager on such factors as the Sole Manager,
in the exercise of his or her reasonable business judgment, considers relevant.

       “Fieldwood” means Fieldwood Energy LLC, a Texas limited liability company, and its
successors and assigns (excluding, for the avoidance of doubt, the Company).




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      “[Fieldwood II” means [Fieldwood Energy II LLC], a [Delaware] limited liability
company]2, and its successors and assigns.

        “Fiscal Year” means the calendar year, unless the Company is required to have a taxable
year other than the calendar year, in which case Fiscal Year shall be the period that conforms to
its taxable year.

        “GAAP” means generally accepted accounting principles in the United States of America
in effect from time to time; provided, that, notwithstanding any term or provision contained in this
Agreement, GAAP will be deemed for all purposes hereof to treat leases that would have not been
considered to be indebtedness in accordance with GAAP as in effect on December 31, 2017
(whether such leases were in effect on such date or are entered into thereafter) in a manner
consistent with the treatment of such leases under GAAP as in effect on December 31, 2017,
notwithstanding any modification or interpretative changes thereto or implementations of any such
modifications or interpretative changes that may have occurred thereafter.

       “GOM Shelf” means GOM Shelf LLC, a Delaware limited liability company, and its
successors and assigns.

          “GOM Shelf Properties” means those assets or properties owned by GOM Shelf.

        “Governmental Authority” means any federal, state, local, or foreign government or
political subdivision thereof, or any agency or instrumentality of such government or political
subdivision, or any self-regulated organization or other non-governmental regulatory authority or
quasi-governmental authority (to the extent that the rules, regulations, or orders of such
organization or authority have the force of law), or any arbitrator, court, or tribunal of competent
jurisdiction.

       “Independent Director” means, initially, [•], or such other Person as may be designated
or become the Independent Director pursuant to the terms of this Agreement. The Independent
Director shall constitute a “manager” (as that term is defined in the BOC) of the Company.

          “Information Notice” has the meaning set forth in Section 7.09.

          “Initial Member” has the meaning set forth in the term Member.

       “Farmout Agreement” means that certain Farmout Agreement of even date herewith by
and between the Company and Fieldwood II.

       “Legacy Apache Properties” means the list of assets set forth on Schedule I to the Plan
of Merger.




2 NTD: Name to be confirmed.
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        “Legacy Apache Properties PSA” means that Purchase and Sale Agreement, dated as of
July 18, 2013, between Apache and certain of its affiliates, Fieldwood and certain of its affiliates,
and GOM Shelf, as such agreement has been amended.

      “Lien” means any mortgage, pledge, security interest, option, right of first offer,
encumbrance, or other restriction or limitation of any nature whatsoever.

          “Liquidator” has the meaning set forth in Section 11.03(a).

          “Losses” has the meaning set forth in Section 9.03(a).

        “Member” means (a) each Person identified on the Members Schedule as of the date hereof
as a Member and who has executed this Agreement or a counterpart thereof (each, an “Initial
Member”); and (b) each Person who is hereafter admitted as a Member in accordance with the
terms of this Agreement and the BOC, in each case so long as such Person is shown on the
Company’s books and records as the owner of Membership Interests. The Members shall
constitute “members” (as that term is defined in the BOC) of the Company.

       “Member Nonrecourse Debt” means “partner nonrecourse debt” as defined in Treasury
Regulations Section 1.704-2(b)(4), substituting the term “Company” for the term “partnership”
and the term “Member” for the term “partner” as the context requires.

       “Member Nonrecourse Debt Minimum Gain” means an amount, with respect to each
Member Nonrecourse Debt, equal to the Company Minimum Gain that would result if the Member
Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance with
Treasury Regulations Section 1.704-2(i)(3).

       “Member Nonrecourse Deduction” means “partner nonrecourse deduction” as defined in
Treasury Regulations Section 1.704-2(i), substituting the term “Member” for the term “partner” as
the context requires.

          “Members Schedule” has the meaning set forth in Section 3.01.

        “Membership Interest” means an interest in the Company owned by a Member, including
such Member’s right (a) to its distributive share of Net Income, Net Losses, and other items of
income, gain, loss, and deduction of the Company; (b) to its distributive share of the assets of the
Company; (c) to vote on, consent to, or otherwise participate in any decision of the Members as
provided in this Agreement; and (d) to any and all other benefits to which such Member may be
entitled as provided in this Agreement or the BOC. The Membership Interest of each Member
shall be expressed as a percentage interest and shall be as set forth on the Members Schedule.

        “Net Income” and “Net Loss” mean, for each Fiscal Year or other period specified in this
Agreement, an amount equal to the Company’s taxable income or taxable loss, or particular items
thereof, determined in accordance with Code Section 703(a) (where, for this purpose, all items of
income, gain, loss, or deduction required to be stated separately pursuant to Code Section 703(a)(1)
shall be included in taxable income or taxable loss), but with the following adjustments:


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                  (f)     any income realized by the Company that is exempt from federal income
          taxation, as described in Code Section 705(a)(1)(B), shall be added to such taxable income
          or taxable loss, notwithstanding that such income is not includable in gross income;

                   (g)   any expenditures of the Company described in Code Section 705(a)(2)(B),
           including any items treated under Treasury Regulations Section 1.704-1(b)(2)(iv)(I) as
           items described in Code Section 705(a)(2)(B), shall be subtracted from such taxable
           income or taxable loss, notwithstanding that such expenditures are not deductible for
           federal income tax purposes;

                  (h)    any gain or loss (including Simulated Gain) resulting from any disposition
          of Company property with respect to which gain or loss is recognized for federal income
          tax purposes shall be computed by reference to the Book Value of the property so disposed,
          notwithstanding that the adjusted tax basis of such property differs from its Book Value;

                  (i)     any items of depreciation, amortization, and other cost recovery deductions
          with respect to Company property having a Book Value that differs from its adjusted tax
          basis shall be computed by reference to the property’s Book Value (as adjusted for Book
          Depreciation) in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g);

                   (j)     if the Book Value of any Company property is adjusted as provided in the
           definition of Book Value, then the amount of such adjustment shall be treated as an item
           of gain or loss and included in the computation of such taxable income or taxable loss;

                   (k)   to the extent an adjustment to the adjusted tax basis of any Company
           property pursuant to Code Sections 732(d), 734(b) or 743(b) is required, pursuant to
           Treasury Regulations Section 1.704 1(b)(2)(iv)(m), to be taken into account in determining
           Capital Accounts, the amount of such adjustment to the Capital Accounts shall be treated
           as an item of gain (if the adjustment increases the basis of the asset) or loss (if the
           adjustment decreases such basis); and

                   (l)     any items which are specially allocated pursuant to Section 5.02 hereof shall
           not be taken into account in computing Net Income or Net Loss. The amounts of the items
           of Company income, gain, loss or deduction available to be specially allocated pursuant to
           Section 5.02 hereof shall be determined by applying rules analogous to those set forth in
           subparagraphs (a) through (f) above.

       “Nonrecourse Deductions” has the meaning set forth in Treasury Regulations Section
1.704-2(b).

           “Nonrecourse Liability” has the meaning set forth in Treasury Regulations Section 1.704-
2(b)(3).

      “Person” means an individual, corporation, partnership, joint venture, limited liability
company, Governmental Authority, unincorporated organization, trust, association, or other entity.



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        “Plan of Merger” means the Agreement and Plan of Merger of Fieldwood Energy LLC
into Fieldwood Energy I LLC and Fieldwood Energy III LLC, dated as of [•], 2021, and adopted
by Fieldwood Energy LLC, a Texas limited liability company.

       “Plan of Reorganization” means the plan of reorganization of Fieldwood that was
included in, and was confirmed by, the Confirmation Order.

          “Qualified Person” has the meaning set forth in Section 7.02(a).

         “Quarterly Estimated Tax Amount” of a Member, or if the Member is disregarded for
U.S. federal income tax purposes, the members or beneficiaries of such Member, for any calendar
quarter of a Fiscal Year means the excess, if any of: (a) the product of (i) a quarter (1/4) in the case
of the first calendar quarter of the Fiscal Year, half (1/2) in the case of the second calendar quarter
of the Fiscal Year, three-quarters (3/4) in the case of the third calendar quarter of the Fiscal Year,
and one (1) in the case of the fourth calendar quarter of the Fiscal Year and (ii) the Member’s
Estimated Tax Amount for such Fiscal Year; over (b) all distributions previously made during such
Fiscal Year to such Member.

       “Recharacterization Mortgages” has the meaning assigned to such term in Section 6.7 of
the Decommissioning Agreement.

          “Regulatory Allocations” has the meaning set forth in Section 5.02(f).

          “Rejection Notice” has the meaning set forth in Section 7.09.

       “Related Party Agreement” means any agreement, arrangement, or understanding
between or among the Company or any of its Affiliates, on the one hand, and the Independent
Director, the Sole Manager or any member or officer of the Company or any of its Affiliates, or
any Affiliate of the Independent Director, the Sole Manager or any member or officer of the
Company or any of its Affiliates; in each case, as such agreement may be amended, modified,
supplemented, or restated in accordance with the terms of this Agreement.

       “Representative” means, with respect to any Person, any and all directors, officers,
employees, consultants, financial advisors or lenders, counsel, accountants, and other agents of
such Person.

       “Restructuring Support Agreement” means the Restructuring Support Agreement, dated
as of August 4, 2020, by and among (i) Fieldwood Energy LLC, a Delaware limited liability
company, and including the Fieldwood PSA Parties (as defined therein); (ii) the Consenting FLTL
Lenders (as defined therein); (iii) the Consenting SLTL Lenders (as defined therein); and
(iv) Apache.

        “Securities Act” means the Securities Act of 1933, as amended, and the rules and
regulations thereunder, which shall be in effect at the time.

          “Service Provider” has the meaning set forth in Section 7.04.


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          “Service Provider Agreement” has the meaning set forth in Section 7.04.

          “Shortfall Amount” has the meaning set forth in Section 6.02(b).

       “Simulated Basis” means, with respect to each Depletable Property, the Book Value of
such property.

       “Simulated Depletion” means, with respect to each Depletable Property, a depletion
allowance computed in accordance with U.S. federal income tax principles (as if the Simulated
Basis of the property were its adjusted tax basis and using simulated cost depletion) and in the
manner specified in Treasury Regulations Section 1.704-1(b)(2)(iv)(k)(2), provided that the
Simulated Depletion with respect to a Depletable Property shall in no event exceed the Simulated
Basis of such Depletable Property.

        “Simulated Gain or Loss” means the simulated gain or loss computed with respect to a
sale or other disposition of any Depletable Property pursuant to Treasury Regulations Section
1.704-1(b)(2)(iv)(k)(2).

          “Sole Manager” has the meaning set forth in Section 7.01.

        “Standby Facility” means a secured line of credit to be provided by Apache to the
Company and GOM Shelf to fund the ongoing plugging and abandonment and decommissioning
of the Legacy Apache Properties and the GOM Shelf Properties, which shall become available to
advance funds to the Company and for use in accordance with the Standby Facility Documentation.
The Standby Facility shall be secured by a first-priority lien on all the assets of the Company
(including all of the equity interests of GOM Shelf) and on all the GOM Shelf Properties, provided
that such lien shall also secure the obligations of the Company to Apache under the
Decommissioning Agreement.

        “Standby Facility Documentation” means the Standby Loan Agreement, dated as of
[•], 2020, by and between the Company and GOM Shelf, as borrowers, and Apache, as lender,
and all of the other agreements, documents and instruments related thereto governing or setting
forth terms and conditions of the Standby Facility or of the loans/borrowings made thereunder.

       “Subsidiary” means, with respect to any Person, any other Person of which a majority of
the outstanding shares or other equity interests having the power to vote for directors or
comparable managers are owned, directly or indirectly, by the first Person.

          “Tax Advance” has the meaning set forth in Section 6.02(a).

        “Tax Amount” of a Member, or if the Member is disregarded for U.S. federal income tax
purposes, the members or beneficiaries of such Member, for a Fiscal Year means the product of
(a) the Tax Rate for such Fiscal Year and (b) the Adjusted Taxable Income of the Member for such
Fiscal Year with respect to its Membership Interest.

          “Tax Matters Representative” has the meaning set forth in Section 10.04(a).


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        “Tax Rate” of a Member, or if the Member is disregarded for U.S. federal income tax
purposes, the members or beneficiaries of such Member, for any period, means the highest
effective marginal combined federal, state, and local tax rate applicable to an individual residing
in Houston, Texas (or, if higher, a corporation doing business in Houston, Texas), taking into
account (a) the character (for example, long-term or short-term capital gain, ordinary, or exempt)
of the applicable income and (b) if applicable, the deduction under IRC Section 199A.

          “Taxing Authority” has the meaning set forth in Section 6.03(b).

        “Term Sheet” means that certain term sheet, dated July 31, 2020, among Fieldwood and
certain of its Affiliates, on the one hand, and Apache and certain of its Affiliates, on the other hand.

        “Transfer” means to, directly or indirectly, sell, transfer, assign, gift, pledge, encumber,
hypothecate, or similarly dispose of, either voluntarily or involuntarily, by operation of law or
otherwise, or to enter into any contract, option, or other arrangement or understanding with respect
to the sale, transfer, assignment, gift, pledge, encumbrance, hypothecation, or similar disposition
of, any Membership Interests owned by a Person or any interest (including a beneficial interest) in
any Membership Interests owned by a Person. “Transfer” when used as a noun shall have a
correlative meaning. “Transferor” and “Transferee” mean a Person who makes or receives a
Transfer, respectively.

       “Transition Services Agreement” means the transition services agreement in form and
substance attached hereto as Exhibit A.

        “Treasury Regulations” means the final or temporary regulations issued by the United
States Department of Treasury pursuant to its authority under the Code, and any successor
regulations.

          “Trust A” means the Fieldwood Decommissioning Trust A, a Delaware statutory trust.

          “Withholding Advances” has the meaning set forth in Section 6.03(b).

       Section 1.02 Interpretation. For purposes of this Agreement: (a) the words “include,”
“includes,” and “including” shall be deemed to be followed by the words “without limitation”; (b)
the word “or” is not exclusive; and (c) the words “herein,” “hereof,” “hereby,” “hereto,” and
“hereunder” refer to this Agreement as a whole.

        The definitions given for any defined terms in this Agreement shall apply equally to both
the singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine, and neuter forms.

        Unless the context otherwise requires, references herein: (x) to Articles, Sections, Exhibits,
and Schedules mean the Articles and Sections of, and Exhibits and Schedules attached to, this
Agreement; (y) to an agreement, instrument, or other document means such agreement, instrument,
or other document as amended, supplemented, and modified from time to time to the extent
permitted by the provisions thereof; and (z) to a statute means such statute as amended from time
to time and includes any successor legislation thereto and any regulations promulgated thereunder.

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        This Agreement shall be construed without regard to any presumption or rule requiring
construction or interpretation against the party drafting an instrument or causing any instrument to
be drafted.

         The Exhibits and Schedules referred to herein shall be construed with, and as an integral
part of, this Agreement to the same extent as if they were set forth verbatim herein.

        The headings in this Agreement are for reference only and shall not affect the interpretation
of this Agreement.

                                           ARTICLE II
                                         ORGANIZATION

          Section 2.01 Formation.

                  (a)     The Company was formed on [•], 2020, pursuant to the provisions of the
          BOC, upon the filing, or constructive filing with the Divisive Merger Documents, of the
          Certificate of Formation with the Secretary of State of the State of Texas.

                  (b)     This Agreement shall constitute the “company agreement” (as that term is
          used in the BOC) of the Company. The rights, powers, duties, obligations, and liabilities
          of the Members, the Sole Manager and the Independent Director shall be determined
          pursuant to the BOC and this Agreement. To the extent that the rights, powers, duties,
          obligations, and liabilities of any Member, the Sole Manager or the Independent Director
          are different by reason of any provision of this Agreement than they would be under the
          BOC in the absence of such provision, this Agreement shall, to the extent permitted by the
          BOC, control.

        Section 2.02 Name. The name of the Company is “Fieldwood Energy I LLC” or such
other name or names as may be designated by the Sole Manager; provided, that the name shall
always contain the words “Limited Liability Company” or “Limited Company” or an abbreviation
of one of those phrases. Amendments to the Certificate of Formation or this Agreement to reflect
any such name change may be made by the Sole Manager without the consent of the Members.
The Sole Manager shall give prompt notice to the Members of any change to the name of the
Company and any related amendment to the Certificate of Formation or this Agreement. The
Company may conduct business under any assumed or fictitious name required by Applicable Law
or otherwise deemed desirable by the Sole Manager.

        Section 2.03 Principal Office. The principal office of the Company is located at [•], or
such other place as may from time to time be determined by the Sole Manager. The Sole Manager
shall give prompt notice of any such change to each of the Members and Apache.

          Section 2.04 Registered Office; Registered Agent.

                  (a)    The registered office of the Company shall be the office of the initial
          registered agent named in the Certificate of Formation or such other office (which need not


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          be a place of business of the Company) as the Sole Manager may designate from time to
          time in the manner provided by the BOC and Applicable Law.

                  (b)    The registered agent for service of process on the Company in the State of
          Texas shall be the initial registered agent named in the Certificate of Formation or such
          other Person or Persons as the Sole Manager may designate from time to time in the manner
          provided by the BOC and Applicable Law.

          Section 2.05 Purposes; Powers.

                 (a)     The purposes of the Company are to engage in the acquisition, disposition,
          ownership, operation, plugging and abandonment, and decommissioning of the Legacy
          Apache Properties and to cause GOM Shelf to engage in the acquisition, disposition,
          ownership, operation, plugging and abandonment, and decommissioning of the GOM Shelf
          Properties, and to engage in any and all activities necessary or incidental to the foregoing
          purposes.

                  (b)     At the date of this Agreement, the Company has no assets other than (i) the
          Legacy Apache Properties, including any accounts receivable associated with the Legacy
          Apache Properties accruing after the effective date of the Plan of Reorganization and any
          cash flow generated from the Legacy Apache Properties after the effective date of the Plan
          of Reorganization (such cash flow shall be reinvested and used to fund operating
          expenditures, to fund plugging and abandonment and decommissioning activities
          associated with the Legacy Apache Properties and the GOM Shelf Properties, to fund
          capital expenditures on the Legacy Apache Properties approved and authorized in
          accordance with this Agreement, and to repay amounts outstanding, if any, under the
          Standby Facility); (ii) 100% of the limited liability company interests or other equity
          interests in GOM Shelf; and (iii) the initial capitalization provided by Fieldwood pursuant
          to the divisive merger in an amount equal to $50 million minus the actual plugging and
          abandonment and decommissioning expenses incurred by Fieldwood between the date of
          its bankruptcy petition filing on August 3, 2020, and the effective date of the Plan of
          Reorganization.

                  (c)      At the date of this Agreement, the Company has no liabilities other than
          (i) operational liabilities accruing after the effective date of the Plan of Reorganization
          (including any accounts payable associated with the Legacy Apache Properties accruing
          after the effective date of the Plan of Reorganization), (ii) plugging and abandonment and
          decommissioning liabilities and obligations (A) relating to the Legacy Apache Properties
          and (B) of GOM Shelf relating to the GOM Shelf Properties, (iii) obligations under the
          Decommissioning Agreement and the Legacy Apache Properties PSA, and (iv) obligations
          under the Standby Facility Documentation.

                  (d)    The Company shall have all the powers necessary or convenient to carry
          out the purposes for which it is formed, including the powers granted by the BOC.



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       Section 2.06 Term. The term of the Company commenced on the date the Certificate of
Formation was filed with the Secretary of State of the State of Texas and shall continue in existence
perpetually until the Company is terminated in accordance with the provisions of this Agreement.

                                      ARTICLE III
                       CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS

        Section 3.01 Initial Capital Contributions. Contemporaneously with the execution of
this Agreement, and pursuant to the Plan of Reorganization and as a result of a divisive merger
pursuant to § 10.008 of the BOC, the Company shall have the property and assets identified in
clauses (i) through (iii) in Section 2.05(b), which shall constitute the aggregate Capital
Contributions made by the Initial Member. The Initial Member shall own Membership Interests
in the amount set forth opposite such Member’s name on Schedule A attached hereto (the
“Members Schedule”). From and after the date of this Agreement, the Sole Manager shall
maintain and update the Members Schedule upon the issuance or Transfer of any Membership
Interests to any new or existing Member in accordance with this Agreement.

        Section 3.02 Additional Capital Contributions. No Member shall be required to make
any additional Capital Contributions to the Company. Any future Capital Contributions made by
any Member shall only be made with the consent of the Sole Manager and, in connection with an
issuance of additional Membership Interests, made in compliance with Section 7.06(e). To the
extent that a Member makes an additional Capital Contribution to the Company, the Sole Manager
shall revise the Members Schedule to reflect an increase in the Membership Interest of the
contributing Member that fairly and equitably reflects the value of its additional Capital
Contribution in relation to the aggregate amount of all Capital Contributions made by the
Members.

       Section 3.03 Maintenance of Capital Accounts. The Company shall establish and
maintain for each Member a separate capital account (a “Capital Account”) on its books and
records in accordance with this Section 3.03. Each Capital Account shall be established and
maintained in accordance with the following provisions:

                 (a)     Each Member’s Capital Account shall be increased by the amount of:

                         (i)    such Member’s Capital Contributions, including such Member’s
                initial Capital Contribution and any additional Capital Contributions;

                     (ii)   any Net Income or other item of income or gain allocated to such
                Member pursuant to ARTICLE V; and

                        (iii)  any liabilities of the Company that are assumed by such Member or
                 secured by any property distributed to such Member.

                 (b)     Each Member’s Capital Account shall be decreased by:

                     (i)    the cash amount or Book Value of any property distributed to such
                Member pursuant to ARTICLE VI and Section 11.03(d);

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                         (ii)   the amount of any Net Loss or other item of loss or deduction
                 allocated to such Member pursuant to ARTICLE V; and

                      (iii)   the amount of any liabilities of such Member assumed by the
                 Company or that are secured by any property contributed by such Member to the
                 Company.

        Section 3.04 Succession Upon Transfer. In the event that any Membership Interests are
Transferred in accordance with the terms of this Agreement, the Transferee shall succeed to the
Capital Account of the Transferor to the extent it relates to the Transferred Membership Interests
and, subject to Section 5.04, shall receive allocations and distributions pursuant to ARTICLE V,
ARTICLE VI, and ARTICLE XI in respect of such Membership Interests.

        Section 3.05 Negative Capital Accounts. In the event that any Member shall have a
deficit balance in its Capital Account, such Member shall have no obligation, during the term of
the Company or upon termination or liquidation thereof, to restore such negative balance or make
any Capital Contributions to the Company by reason thereof, except as may be required by
Applicable Law or in respect of any negative balance resulting from a withdrawal of capital or
termination in contravention of this Agreement.

        Section 3.06 No Withdrawals from Capital Accounts. No Member shall be entitled to
withdraw any part of its Capital Account or to receive any distribution from the Company, except
as otherwise provided in this Agreement. No Member shall receive any interest, salary, or drawing
with respect to its Capital Contributions or its Capital Account, except as otherwise provided in
this Agreement. The Capital Accounts are maintained for the sole purpose of allocating items of
income, gain, loss, and deduction among the Members and shall have no effect on the amount of
any distributions to any Members, in liquidation or otherwise.

       Section 3.07 Treatment of Loans from Members. Loans by any Member to the
Company shall not be considered Capital Contributions and shall not affect the maintenance of
such Member’s Capital Account, other than to the extent provided in Section 3.03(a)(iii), if
applicable.

       Section 3.08 Modifications. The foregoing provisions and the other provisions of this
Agreement relating to the maintenance of Capital Accounts are intended to comply with Treasury
Regulations Section 1.704-1(b) and shall be interpreted and applied in a manner consistent with
such Treasury Regulations. If the Sole Manager determines that it is prudent to modify the manner
in which the Capital Accounts, or any increases or decreases to the Capital Accounts, are computed
in order to comply with such Treasury Regulations, the Sole Manager may authorize such
modifications without the consent of any Member.

                                         ARTICLE IV
                                          MEMBERS

        Section 4.01 No Personal Liability. Except as otherwise provided in the BOC, by
Applicable Law, or expressly in this Agreement, no Member will be obligated personally for any
debt, obligation, or liability of the Company or other Members, whether arising in contract, tort,
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or otherwise, including a debt, obligation, or liability under a judgment, decree, or order of a court,
solely by reason of being a Member.

        Section 4.02 No Withdrawal. So long as a Member continues to hold a Membership
Interest, such Member shall not have the ability to withdraw or resign as a Member prior to the
winding up and termination of the Company and any such withdrawal or resignation or attempted
withdrawal or resignation by a Member prior to the winding up and termination of the Company
shall be null and void. As soon as any Person who is a Member ceases to hold a Membership
Interest, such Person shall no longer be a Member.

         Section 4.03 No Interest in Company Property. No real or personal property of the
Company shall be deemed to be owned by any Member individually, but shall be owned by, and
title shall be vested solely in, the Company. Without limiting the foregoing, each Member hereby
irrevocably waives during the term of the Company any right that such Member may have to
maintain any action for partition with respect to the property of the Company.

          Section 4.04 Certification of Membership Interests.

               (a)     The Sole Manager may, but shall not be required to, issue certificates to the
          Members representing the Membership Interests held by such Member.

                 (b)    In the event that the Sole Manager shall issue certificates representing
          Membership Interests in accordance with Section 4.04(a), then in addition to any other
          legend required by Applicable Law, all certificates representing issued and outstanding
          Membership Interests shall bear a legend substantially in the following form:

                 THE MEMBERSHIP INTEREST REPRESENTED BY THIS
                 CERTIFICATE IS SUBJECT TO A LIMITED LIABILITY COMPANY
                 AGREEMENT AMONG THE COMPANY AND ITS MEMBERS, A
                 COPY OF WHICH IS ON FILE AT THE PRINCIPAL EXECUTIVE
                 OFFICE OF THE COMPANY. NO TRANSFER, SALE, ASSIGNMENT,
                 GIFT, PLEDGE, HYPOTHECATION, ENCUMBRANCE, OR OTHER
                 DISPOSITION OF THE MEMBERSHIP INTEREST REPRESENTED
                 BY THIS CERTIFICATE MAY BE MADE EXCEPT IN ACCORDANCE
                 WITH THE PROVISIONS OF SUCH COMPANY AGREEMENT.

                 THE MEMBERSHIP INTEREST REPRESENTED BY THIS
                 CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
                 SECURITIES ACT OF 1933, AS AMENDED, OR UNDER ANY OTHER
                 APPLICABLE SECURITIES LAWS AND MAY NOT BE
                 TRANSFERRED,    SOLD,     ASSIGNED,  GIFTED,  PLEDGED,
                 HYPOTHECATED,     OR     OTHERWISE   DISPOSED   EXCEPT
                 PURSUANT TO (A) A REGISTRATION STATEMENT EFFECTIVE
                 UNDER SUCH ACT AND LAWS, OR (B) AN EXEMPTION FROM
                 REGISTRATION THEREUNDER.


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          Section 4.05 Meetings of Members.

               (a)     Meetings of the Members may be called by (i) the Sole Manager or (ii) a
          Member or group of Members holding a majority of the Membership Interests.

                 (b)     Written notice stating the place, date, and time of the meeting and, in the
          case of a meeting of the Members not regularly scheduled, describing the purposes for
          which the meeting is called, shall be delivered not fewer than ten days and not more than
          60 days before the date of the meeting to each Member, by or at the direction of the Sole
          Manager or the Member(s) calling the meeting, as the case may be. The Members may
          hold meetings at the Company’s principal office or at such other place, within or outside
          the State of Texas, as the Sole Manager or the Member(s) calling the meeting may
          designate in the notice for such meeting.

                  (c)     Any Member may participate in a meeting of the Members by means of
          conference telephone or other communications equipment by means of which all Persons
          participating in the meeting can talk to and hear each other, and participation in a meeting
          by such means shall constitute presence in person at such meeting.

                  (d)     On any matter that is to be voted on by Members, a Member may vote in
          person or by proxy, and such proxy may be granted in writing, by means of Electronic
          Transmission or as otherwise permitted by Applicable Law. Every proxy shall be
          revocable in the discretion of the Member executing it unless otherwise provided in such
          proxy; provided, that such right to revocation shall not invalidate or otherwise affect
          actions taken under such proxy prior to such revocation. In lieu of a proxy, a Member may
          grant an irrevocable power of attorney to conduct the affairs of such Member with respect
          to matters of the Company, including matters relating to the organization, internal affairs,
          or termination of the Company.

                 (e)     The business to be conducted at such meeting need not be limited to the
          purpose described in the notice and can include business to be conducted by Members;
          provided, that the appropriate Members shall have been notified of the meeting in
          accordance with Section 4.05(b). Attendance of a Member at any meeting shall constitute
          a waiver of notice of such meeting, except where a Member attends a meeting for the
          express purpose of objecting to the transaction of any business on the ground that the
          meeting is not lawfully called or convened.

                  (f)   A quorum of any meeting of the Members shall require the presence,
          whether in person or by proxy, of the Members holding a majority of the Membership
          Interests. Subject to Section 4.06, no action may be taken by the Members unless the
          appropriate quorum is present at a meeting.

                  (g)    Subject to Section 4.06, Section 7.05, Section 7.06 , Section 12.10 or any
          provision of this Agreement or the BOC requiring the vote, consent, or approval of a
          different percentage of the Membership Interests, no action may be taken by the Members
          at any meeting at which a quorum is present without the affirmative vote of the Members
          holding a majority of the outstanding Membership Interests.
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          Section 4.06 Action Without Meeting.

                  (a)   Notwithstanding the provisions of Section 4.05, any matter that is to be
          voted on, consented to, or approved by the Members may be taken without a meeting,
          without prior notice, and without a vote if consented to, in writing or by Electronic
          Transmission, by a Member or Members holding not less than the minimum number of
          votes that would be necessary to authorize or take such action at a meeting at which each
          Member entitled to vote on the action is present and votes. A record shall be maintained
          by the Sole Manager of each such action taken by written consent of a Member or
          Members.

                  (b)    A Member’s consent may not be established by a Member’s failure to object
          to an action in a timely manner or by any other means not explicitly provided for in this
          Agreement.

                   (c)    If any action or decision permitted by this Agreement to be taken or made
          by less than all of the Members is taken or made by a written consent signed by less than
          all of the Members, the Sole Manager shall, within ten calendar days after such action is
          taken or such decision is made, give written notice of the action taken or the decision made
          to the Members who did not sign the written consent.

        Section 4.07 Power of Members. The Members shall have the power to exercise any
and all rights or powers granted to Members pursuant to the express terms of this Agreement and
the BOC. Except as otherwise specifically provided by this Agreement or required by the BOC,
no Member, in its capacity as a Member, shall have the power to act for or on behalf of, or to bind,
the Company, other than to the extent that the Company has granted a power of attorney to such
Member to bind the Company on such actions.

        Section 4.08 Similar or Competitive Activities; Business Opportunities. Nothing
contained in this Agreement shall prevent any Member or any of its Affiliates from engaging in
any other activities or businesses, regardless of whether those activities or businesses are similar
to or competitive with the Company. None of the Members nor any of their Affiliates shall be
obligated to account to the Company or to the other Members for any profits or income earned or
derived from such other activities or businesses. None of the Members nor any of their Affiliates
shall be obligated to inform the Company or the other Members of a business opportunity of any
type or description.

                                           ARTICLE V
                                          ALLOCATIONS

        Section 5.01 Allocation of Net Income and Net Loss. For each Fiscal Year (or portion
thereof), after giving effect to the special allocations set forth in Section 5.02, Net Income and Net
Loss of the Company shall be allocated among the Members pro rata in accordance with their
Membership Interests.

       Section 5.02 Regulatory and Special Allocations. Notwithstanding the provisions of
Section 5.01:
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                  (a)     If there is a net decrease in Company Minimum Gain (determined according
          to Treasury Regulations Section 1.704-2(d)(1)) during any Fiscal Year, each Member shall
          be specially allocated Net Income for such Fiscal Year (and, if necessary, subsequent Fiscal
          Years) in an amount equal to such Member’s share of the net decrease in Company
          Minimum Gain, determined in accordance with Treasury Regulations Section 1.704-2(g).
          The items to be so allocated shall be determined in accordance with Treasury Regulations
          Sections 1.704-2(f)(6) and 1.704-2(j)(2). This Section 5.02(a) is intended to comply with
          the “minimum gain chargeback” requirement in Treasury Regulations Section 1.704-2(f)
          and shall be interpreted consistently therewith.

                  (b)    Member Nonrecourse Deductions shall be allocated in the manner required
          by Treasury Regulations Section 1.704-2(i). Except as otherwise provided in Treasury
          Regulations Section 1.704-2(i)(4), if there is a net decrease in Member Nonrecourse Debt
          Minimum Gain during any Fiscal Year, each Member that has a share of such Member
          Nonrecourse Debt Minimum Gain shall be specially allocated Net Income for such Fiscal
          Year (and, if necessary, subsequent Fiscal Years) in an amount equal to that Member’s
          share of the net decrease in Member Nonrecourse Debt Minimum Gain. Items to be
          allocated pursuant to this paragraph shall be determined in accordance with Treasury
          Regulations Sections 1.704-2(i)(4) and 1.704-2(j)(2). This Section 5.02(b) is intended to
          comply with the “minimum gain chargeback” requirement in Treasury Regulations Section
          1.704-2(i)(4) and shall be interpreted consistently therewith.

                  (c)   Nonrecourse Deductions shall be allocated to the Members in accordance
          with their Membership Interests.

                  (d)     In the event any Member unexpectedly receives any adjustments,
          allocations, or distributions described in Treasury Regulations Section 1.704-
          1(b)(2)(ii)(d)(4), (5) or (6), Net Income shall be specially allocated to such Member in an
          amount and manner sufficient to eliminate the Adjusted Capital Account Deficit created
          by such adjustments, allocations, or distributions as quickly as possible. This Section
          5.02(d) is intended to comply with the “qualified income offset” requirement in Treasury
          Regulations Section 1.704-1(b)(2)(ii)(d) and shall be interpreted consistently therewith.

                  (e)      Simulated Depletion and Simulated Loss with respect to any Depletable
          Property shall be allocated among the Members in proportion to their shares of the
          Simulated Basis in such property. Each Member’s share of the Simulated Basis in each of
          the Company’s Depletable Properties shall be allocated to each Member in accordance with
          such Member’s Membership Interest as of the time such Depletable Property is acquired
          by the Company, and shall be reallocated among the Members in accordance with the
          Members’ Membership Interest as determined immediately following the occurrence of an
          event giving rise to any adjustment to the Book Values of the Company’s oil and gas
          properties pursuant to the terms of this Agreement (or at the time of any material additions
          to the federal income tax basis of such Depletable Property).

                 (f)     The allocations set forth in subsections Section 5.02(a), Section 5.02(b),
          Section 5.02(c), Section 5.02(d) and Section 5.02(e) above (the “Regulatory Allocations”)

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          are intended to comply with certain requirements of the Treasury Regulations under Code
          Section 704. Notwithstanding any other provisions of this ARTICLE V (other than the
          Regulatory Allocations), the Regulatory Allocations shall be taken into account in
          allocating Net Income and Net Losses among Members so that, to the extent possible, the
          net amount of such allocations of Net Income and Net Losses and other items and the
          Regulatory Allocations to each Member shall be equal to the net amount that would have
          been allocated to such Member if the Regulatory Allocations had not occurred.

          Section 5.03 Tax Allocations.

                   (a)    Subject to Section 5.03(b), Section 5.03(c), and Section 5.03(d), all income,
          gains, losses and deductions of the Company shall be allocated, for federal, state, and local
          income tax purposes, among the Members in accordance with the allocation of such
          income, gains, losses, and deductions pursuant to Section 5.01 and Section 5.02, except
          that if any such allocation for tax purposes is not permitted by the Code or other Applicable
          Law, the Company’s subsequent income, gains, losses, and deductions shall be allocated
          among the Members for tax purposes, to the extent permitted by the Code and other
          Applicable Law, so as to reflect as nearly as possible the allocation set forth in Section 5.01
          and Section 5.02.

                 (b)    Items of Company taxable income, gain, loss, and deduction with respect to
          any property contributed to the capital of the Company shall be allocated among the
          Members in accordance with Code Section 704(c) using such reasonable method under
          Treasury Regulations Section 1.704-3 as shall be determined by the Sole Manager, so as
          to take account of any variation between the adjusted basis of such property to the
          Company for federal income tax purposes and its Book Value.

                  (c)     If the Book Value of any Company asset is adjusted pursuant to Treasury
          Regulations Section 1.704-1(b)(2)(iv)(f) as provided in Section 1.01(c) of the definition of
          Book Value, subsequent allocations of items of taxable income, gain, loss, and deduction
          with respect to such asset shall take account of any variation between the adjusted basis of
          such asset for federal income tax purposes and its Book Value using such reasonable
          method under Treasury Regulations Section 1.704-3 as shall be determined by the Sole
          Manager.

                  (d)     Allocations of tax credit, tax credit recapture, and any items related thereto
          shall be allocated to the Members according to their interests in such items as determined
          by the Sole Manager taking into account the principles of Treasury Regulations Section
          1.704-1(b)(4)(ii).

                 (e)     The deduction for depletion with respect to each separate oil and gas
          property (as defined in Section 614 of the Code) shall, in accordance with
          Section 613A(c)(7)(D) of the Code, be computed for federal income tax purposes
          separately by the Members rather than the Company. The proportionate share of the
          adjusted tax basis of each oil and gas property shall be allocated to each Member in
          accordance with such Member’s Membership Interest as of the time such oil and gas

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          property is acquired by the Company (and any additions to such U.S. federal income tax
          basis resulting from expenditures required to be capitalized in such basis shall be allocated
          among the Members in a manner designed to cause the Members’ proportionate shares of
          such adjusted U.S. federal income tax basis to be in accordance with their Membership
          Interests as determined at the time of any such additions), and shall be reallocated among
          the Members in accordance with the Members’ Membership Interests as determined
          immediately following the occurrence of an event giving rise to an adjustment to the Book
          Values of the Company’s oil and gas properties. For purposes of the separate computation
          of gain or loss by each Member on the taxable disposition of each oil and gas property, the
          amount realized from such disposition shall be allocated (i) first, to the Members in an
          amount equal to the Simulated Basis in such oil and gas property in proportion to their
          allocable shares thereof and (ii) second, any remaining amount realized shall be allocated
          consistent with the allocation of Simulated Gain. The allocations described in this Section
          5.03(e) are intended to be applied in accordance with the Members’ “interests in
          partnership capital” under Section 613A(c)(7)(D) or the Code; provided, however, that the
          Members understand and agree that the Sole Manager may authorize special allocations of
          federal income tax basis, income, gain, deduction or loss, as computed for U.S. federal
          income tax purposes, in order to eliminate differences between Simulated Basis and
          adjusted U.S. federal income tax basis with respect to each oil and gas property, in such
          manner as determined consistent with the principles outlined in Sections 5.03(b) and
          5.03(c). The provisions of this Section 5.03(e) and the other provisions of this Agreement
          relating to allocations under Section 613A(c)(7)(D) of the Code are intended to comply
          with Treasury Regulations Section 1.704-1(b)(4)(v) and shall be interpreted and applied in
          a manner consistent with such Treasury Regulations. Each Member, with the assistance of
          the Company, shall separately keep records of its share of the adjusted tax basis in each oil
          and gas property, adjust such share of the adjusted tax basis for any cost or percentage
          depletion allowable with respect to such property and use such adjusted tax basis in the
          computation of its cost depletion or in the computation of its gain or loss on the disposition
          of such property by the Company. Upon the reasonable request of the Company, each
          Member shall advise the Company of its adjusted tax basis in each oil and gas property and
          any depletion computed with respect thereto, both as computed in accordance with the
          provisions of this subsection for purposes of allowing the Company to make adjustments
          to the tax basis of its assets as a result of certain transfers of interests in the Company or
          distributions by the Company. The Company may rely on such information and, if it is not
          provided by the Member, may make such reasonable assumptions as it shall determine with
          respect thereto. When reasonably requested by the Members, the Company shall provide
          all available information needed by such Members to comply with the record keeping
          requirements of this Section 5.03(e) and other applicable tax reporting obligations.

                   (f)     Allocations pursuant to this Section 5.03 are solely for purposes of federal,
          state, and local taxes and shall not affect, or in any way be taken into account in computing,
          any Member’s Capital Account or share of Net Income, Net Losses, distributions, or other
          items pursuant to any provisions of this Agreement.

       Section 5.04 Allocations in Respect of Transferred Membership Interests. In the
event of a Transfer of Membership Interests during any Fiscal Year made in compliance with the

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provisions of ARTICLE VIII, Net Income, Net Losses, and other items of income, gain, loss, and
deduction of the Company attributable to such Membership Interests for such Fiscal Year shall be
determined using the interim closing of the books method.

                                            ARTICLE VI
                                          DISTRIBUTIONS

          Section 6.01 General.

                   (a)    Subject to Section 6.02, distributions of available cash shall be made to the
          Members when and in such amounts as determined by the Sole Manager and only
          following (i) payment of all operating expenses of the Company, including required
          payments under the Transition Services Agreement or the Service Provider Agreement,
          (ii) the repayment in full to Apache of any outstanding principal amounts borrowed by the
          Company under the Standby Facility and the payment of any accrued interest or premium
          thereon, in each case, pursuant to the Standby Facility Documentation, (iii) the
          reimbursement to Apache and its Affiliates for any and all costs and expenses incurred by
          Apache or any of its Affiliates (A) in performing services on behalf of the Company in
          connection with the Legacy Apache Properties or the GOM Shelf Properties pursuant to a
          services contract between Apache or any of its Affiliates and the Company, (B) pursuant
          to the penultimate sentence of Section 12.01 in connection with evaluating any matter
          specified in Section 7.06 for which Apache’s consent is requested or required or any
          proposal for prospective funding of capital expenditures pursuant to Section 7.09, and
          (C) pursuant to or as may be required in connection with the Decommissioning Agreement
          or plugging and abandonment and decommissioning of the Legacy Apache Properties or
          the GOM Shelf Properties, unless otherwise reimbursed in accordance with the
          Decommissioning Agreement, and (iv) the cessation of all production from, and
          completion of all plugging and abandonment and decommissioning activities on, the
          Legacy Apache Properties and the GOM Shelf Properties. After making all distributions
          required for a given Fiscal Year under Section 6.02 and repaying/paying all amounts then
          due and outstanding under the Standby Facility as described in the preceding sentence,
          distributions determined to be made by the Sole Manager pursuant to this Section 6.01(a)
          shall be paid to the Members in accordance with their respective Membership Interests.

                 (b)     Notwithstanding any provision to the contrary contained in this Agreement,
          the Company shall not make any distribution to the Members (i) prior to the cessation of
          all production from, and completion of all plugging and abandonment and
          decommissioning activities on, the Legacy Apache Properties and the GOM Shelf
          Properties, except as provided in Section 6.02, or (ii) if such distribution would violate
          § 101.206 of the BOC or other Applicable Law.

          Section 6.02 Tax Advances.

                   (a)     Subject to (i) any restrictions in the Company’s then applicable debt­
          financing arrangements, including, but not limited to, the Standby Facility Documentation,
          (ii) the prior repayment in full to Apache of any outstanding principal amounts borrowed

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          by the Company under the Standby Facility and the payment of any accrued interest or
          premium thereon, in each case, pursuant to the Standby Facility Documentation, (iii) the
          prior reimbursement to Apache and its Affiliates for any and all costs and expenses
          incurred by Apache or any of its Affiliates (A) in performing services on behalf of the
          Company in connection with the Legacy Apache Properties or the GOM Shelf Properties
          pursuant to a services contract between Apache or any of its Affiliates and the Company,
          (B) pursuant to the penultimate sentence of Section 12.01 in connection with evaluating
          any matter specified in Section 7.06 for which Apache’s consent is requested or required
          or any proposal for prospective funding of capital expenditures pursuant to Section 7.09,
          and (C) pursuant to or as may be required in connection with the Decommissioning
          Agreement or plugging and abandonment and decommissioning of the Legacy Apache
          Properties or the GOM Shelf Properties, unless otherwise reimbursed in accordance with
          the Decommissioning Agreement, (iv) the prior cessation of all production from, and
          completion of all plugging and abandonment and decommissioning activities on, the
          Legacy Apache Properties and the GOM Shelf Properties, and (v) the Sole Manager’s
          determination to retain any other amounts necessary to satisfy the Company’s obligations,
          from and after such time, at least three days before each date prescribed by the Code for a
          calendar-year corporation to pay quarterly installments of estimated tax, the Company shall
          use commercially reasonable efforts to distribute cash to each Member in proportion to and
          to the extent of such Member’s Quarterly Estimated Tax Amount for the applicable
          calendar quarter (each such distribution, a “Tax Advance”).

                  (b)     If, at any time after the final Quarterly Estimated Tax Amount has been
          distributed pursuant to Section 6.02(a) with respect to any Fiscal Year, the aggregate Tax
          Advances to any Member with respect to such Fiscal Year are less than such Member’s
          Tax Amount for such Fiscal Year (a “Shortfall Amount”), the Company shall use
          commercially reasonable efforts to distribute cash in proportion to and to the extent of each
          Member’s Shortfall Amount. The Company shall use commercially reasonable efforts to
          distribute Shortfall Amounts with respect to a Fiscal Year before the 90th day of the next
          succeeding Fiscal Year; provided, that if the Company has made distributions other than
          pursuant to this Section 6.02, the Sole Manager may apply such distributions to reduce any
          Shortfall Amount.

                  (c)    If the aggregate Tax Advances made to any Member pursuant to this Section
          6.02 for any Fiscal Year exceed such Member’s Tax Amount (an “Excess Amount”), such
          Excess Amount shall reduce subsequent Tax Advances that would be made to such
          Member pursuant to this Section 6.02, except to the extent taken into account as an advance
          pursuant to Section 6.02(d).

                 (d)     Any distributions made pursuant to this Section 6.02 shall be treated for
          purposes of this Agreement as advances on distributions pursuant to Section 6.01 and shall
          reduce, dollar-for-dollar, the amount otherwise distributable to such Member pursuant to
          Section 6.01.




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          Section 6.03 Tax Withholding; Withholding Advances.

                 (a)     Tax Withholding. Each Member agrees to furnish the Company with any
          representations and forms as shall be reasonably requested by the Company to assist it in
          determining the extent of, and in fulfilling, any withholding obligations it may have.

                  (b)      Withholding Advances. The Company is hereby authorized at all times to
          make payments (“Withholding Advances”) with respect to each Member in amounts
          required to discharge any obligation of the Company, including any obligation under
          Section 6225 of the Code (as determined by the Tax Matters Representative) based on the
          advice of legal or tax counsel to the Company) to withhold or make payments to any
          federal, state, local or foreign taxing authority (a “Taxing Authority”) with respect to any
          distribution or allocation by the Company of income or gain to such Member and to
          withhold the same from distributions to such Member. Any funds withheld from a
          distribution by reason of this Section 6.03(b) shall nonetheless be deemed distributed to
          the Member in question for all purposes under this Agreement. If the Company makes any
          Withholding Advance in respect of a Member hereunder that is not immediately withheld
          from actual distributions to the Member, then the Member shall promptly reimburse the
          Company for the amount of such payment, plus interest at a rate equal to the prime rate
          published in the Wall Street Journal on the date of payment plus two percent (2.0%) per
          annum, compounded annually, on such amount from the date of such payment until such
          amount is repaid (or deducted from a distribution) by the Member (any such payment shall
          not constitute a Capital Contribution). Each Member’s reimbursement obligation under
          this Section 6.03(b) shall continue after such Member transfers its Membership Interests.

                  (c)     Indemnification. Each Member hereby agrees to indemnify and hold
          harmless the Company and the other Members from and against any liability with respect
          to taxes, interest, or penalties that may be asserted by reason of the Company’s failure to
          deduct and withhold tax on amounts distributable or allocable to such Member. The
          provisions of this Section 6.03(c) and the obligations of a Member pursuant to Section
          6.03(b) shall survive the termination, dissolution, liquidation, and winding up of the
          Company and the withdrawal of such Member from the Company or Transfer of its
          Membership Interests. The Company may pursue and enforce all rights and remedies it
          may have against each Member under this Section 6.03, including bringing a lawsuit to
          collect repayment with interest of any Withholding Advances.

                  (d)    Overwithholding. None of the Company, the Sole Manager or the
          Independent Director shall be liable for any excess taxes withheld in respect of any
          distribution or allocation of income or gain to a Member. In the event of an
          overwithholding, a Member’s sole recourse shall be to apply for a refund from the
          appropriate Taxing Authority.

          Section 6.04 Distributions in Kind.

                 (a)    Subject to Sections 6.01 and 6.02, the Sole Manager is hereby authorized,
          as it may reasonably determine, to make distributions to the Members in the form of

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          securities or other property (but not including any oil and gas properties) held by the
          Company; provided, that Tax Advances shall only be made in cash. In any non-cash
          distribution, the securities or property so distributed will be distributed among the Members
          in the same proportion and priority as cash equal to the Fair Market Value of such securities
          or property would be distributed among the Members pursuant to Section 6.01.

                   (b)     Any distribution of securities shall be subject to such conditions and
          restrictions as the Sole Manager determines are required or advisable to ensure compliance
          with Applicable Law. In furtherance of the foregoing, the Sole Manager may require that
          the Members execute and deliver such documents as the Sole Manager may deem
          necessary or appropriate to ensure compliance with all federal and state securities laws that
          apply to such distribution and any further Transfer of the distributed securities, and may
          appropriately legend the certificates that represent such securities to reflect any restriction
          on Transfer with respect to such laws.

                                            ARTICLE VII
                                           MANAGEMENT

        Section 7.01 Management of the Company. The business and affairs of the Company
shall be managed, operated, and controlled by or under the direction of the Sole Manager (“Sole
Manager”). Subject to the provisions of Section 7.06, the Sole Manager shall have, and is hereby
granted, full and complete power, authority, and discretion for, on behalf of, and in the name of
the Company, to take such actions as it may deem necessary or advisable to carry out any and all
of the objectives and purposes of the Company.

          Section 7.02 Independent Director.

                   (a)     The Independent Director shall (i) be a natural person who is not, nor for
          the prior five years has been, a director, officer, employee, trade creditor or equityholder
          (or spouse, parent, sibling or child of any of the foregoing) of (A) Fieldwood or any
          Affiliate of Fieldwood or (B) any prior or current lender of Fieldwood (a natural person
          satisfying such condition set forth in this clause (i), a “Qualified Person”) and (ii) be
          provided by Citadel SPV, Global Securitization Services, LLC, Corporation Service
          Company, CT Corporation, [Lord Securities Corporation]3, Wilmington Trust Company,
          or, if none of those companies is then in the service of providing professional independent
          directors, another nationally recognized company selected by Fieldwood (or, following the
          divisive merger of Fieldwood pursuant to § 10.008 of the BOC, Fieldwood II) subject to
          Apache’s prior consent, which may be given or withheld in its sole discretion (such
          providers collectively, the “Approved Providers”). [•] is the Qualified Person provided
          by an Approved Provider that, as of the date of this Agreement, has been appointed to serve
          as the initial Independent Director and has also been approved to serve as the initial
          Independent Director for the Company in connection with the Confirmation Order entered




3 NTD: Does this entity still exist?
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          by the Bankruptcy Court for the Southern District of Texas before which the reorganization
          of Fieldwood was being conducted.

                  (b)    The Independent Director may not be removed without Apache’s prior
          written consent, which may be given or withheld in its sole discretion. If the Independent
          Director is removed with Apache’s written consent or the Independent Director resigns or
          otherwise ceases to serve in such capacity, then the Company (acting by majority vote of
          its Members) shall select another Qualified Person from the Approved Providers to serve
          as the Independent Director.

        Section 7.03 Sole Manager. The Company shall not have any officers or employees
other than a Sole Manager. In accordance with the procedure for the selection of the Sole Manager
set forth in the Term Sheet, [•] has been selected and designated to serve as the initial Sole
Manager. The Sole Manager may not be removed without Apache’s prior written consent, which
may be given or withheld in its sole discretion. In the event that the Sole Manager is removed
with Apache’s written consent or the Sole Manager resigns or otherwise ceases to serve in such
capacity, then the Sole Manager shall be selected pursuant to the following procedure: Apache
and the Company (acting through the Independent Director for all purposes under this Section
7.03, who shall solicit input from Fieldwood II for all purposes under this Section 7.03) shall each
provide the other with a list of three natural persons, each having a minimum of five years of
relevant experience in the energy sector; and if one or more names appear on both Apache’s and
the Company’s lists, then the Company will select, and the Member(s) shall cause the Company
to select, the new Sole Manager from those common names; if, however, there are no common
names between Apache’s and the Company’s lists, then Apache and the Company (acting through
the Independent Director, who shall solicit input from Fieldwood II) shall each have the right to
strike two names from the other’s list, and the new Sole Manager shall be selected by the
Independent Director from the remaining two names.

          Section 7.04 Service Provider.

                  (a)     Subject to the Transition Services Agreement described below in Section
          7.04(b), the Sole Manager shall hire one or more third-party service provider(s) (whether
          one or more, collectively, the “Service Provider”) to perform all operations and plugging
          and abandonment and decommissioning activities with respect to the Company’s and GOM
          Shelf’s properties or assets in a manner consistent with the procedures set forth in this
          Section 7.04. The Sole Manager shall solicit and obtain a bid for the work to be performed
          by each Service Provider from not less than three qualified candidates, each of which must
          (i) have a minimum of five years of relevant experience and (ii) not be, as of such date
          when bids are submitted, an Affiliate of Apache; such bids shall detail the scope, terms and
          conditions of the work to be performed, along with the price to be paid for the performance
          of such work. The Company shall share copies of each such bid received with Apache
          promptly following receipt thereof. Following the receipt of such bids, with Apache’s prior
          written consent (which may be given or withheld in its sole discretion), the Sole Manager
          shall select the candidate whose bid contains the lowest price and best terms for the work
          to be performed, in view of their relevant experience (all as determined in good faith by
          the Sole Manager and consented to by Apache), to serve as the Service Provider, and shall

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          cause the Company to enter into an agreement with such Service Provider (such agreement,
          a “Service Provider Agreement”) to provide services contemplated in this Section 7.04;
          provided that, immediately prior to executing such Service Provider Agreement, the Sole
          Manager shall have confirmed that the proposed Service Provider satisfies the candidate
          qualifications detailed in clause (ii) of the immediately prior sentence (as if being
          considered on the date of such Service Provider Agreement rather than the date when bids
          are submitted), and if the proposed Service Provider does not satisfy such candidate
          qualifications, the Sole Manager shall then reconsider the submitted bids and select another
          candidate in accordance with the requirements of this sentence as if the previously selected
          candidate had not submitted a bid. Any Service Provider Agreement shall be in such form
          and contain such terms as the Sole Manager determines in good faith to be appropriate and
          consistent with this Section 7.04. In the event that the Sole Manager elects to remove the
          Service Provider or the Service Provider otherwise ceases to provide its services in such
          capacity, then the Sole Manager shall again bid out the work, and shall select the Person to
          serve as the successor Service Provider, in accordance with the foregoing procedures of
          this Section 7.04.

                  (b)    Upon the effectiveness of the Plan of Reorganization, the Company shall
          enter into the Transition Services Agreement with Fieldwood II pursuant to which
          Fieldwood II shall provide transitional operations for the Company in accordance with the
          terms of the Transition Services Agreement. The Company and Fieldwood II (in its sole
          discretion) may mutually agree that Fieldwood II shall become the Service Provider, at the
          effective time of which the Transition Services Agreement shall terminate, and the Sole
          Manager shall cause the Company to enter into the Service Provider Agreement with
          Fieldwood II. Furthermore, as provided in the Transition Services Agreement, the
          Transition Services Agreement may be terminated by the Company, in its sole discretion,
          in accordance with the terms of the Transition Services Agreement.

       Section 7.05 Actions Requiring Independent Director Consent and Service
Provider. Without the prior consent of the Independent Director (which consent may be given or
withheld in the sole discretion of the Independent Director), and the Company shall not do, or enter
into any commitment to do, and shall not cause or permit GOM Shelf to do, or enter into any
commitment to do, any of the following:

                (a)     amend, modify, supplement or waive the Certificate of Formation, this
          Agreement or any other organizational documents of the Company or its Subsidiaries;

                 (b)     remove or replace the Sole Manager or the Service Provider;

                 (c)      enter into a fundamental business transaction (as such term is defined in the
          BOC), including a merger, consolidation, interest exchange, conversion or sale of all or
          substantially all of the Company’s or GOM Shelf’s properties or assets;

                 (d)     wind-up, dissolve, liquidate or terminate the Company or any of its
          Subsidiaries prior to the occurrence of any event set forth in Section 11.01 or enter into a


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          receivership or initiate a bankruptcy proceeding involving the Company or any of its
          Subsidiaries;

                  (e)    revoke a voluntary decision to wind up the Company or GOM Shelf or
          cancel the required winding up of the Company due to an event specified in § 11.051 of
          the BOC; or

                 (f)     reinstate the Company or GOM Shelf after termination.

       Except as provided in the fourth sentence of Section 9.02(a), in exercising its rights and
performing its duties under this Agreement (including pursuant to this Section 7.05), the
Independent Director shall have fiduciary duties of loyalty and care similar to that of a director of
a business corporation organized under the BOC.

       Section 7.06 Actions Requiring Apache Consent. Without the prior written consent of
Apache (which written consent may be given or withheld in Apache’s sole discretion, unless
expressly indicated otherwise), the Company shall not do, or enter into any commitment to do, and
shall not cause or permit GOM Shelf to do, or enter into any commitment to do, any of the
following:

                  (a)    conduct or be involved in any business or operations other than (i) operating
          or plugging and abandoning and decommissioning the Legacy Apache Properties and
          (ii) causing GOM Shelf to operate or plug and abandon and decommission the GOM Shelf
          Properties;

                  (b)     purchase or farm-in any properties or assets or sell any of the Company’s
          or GOM Shelf’s properties or assets; provided that, following receipt of any such written
          consent from Apache to purchase or farm-in any properties or assets, other than with
          respect to usual and ordinary G&A and operating expenditures required to own and
          maintain such properties or assets, no additional funds of, or available to, the Company or
          GOM Shelf shall be spent with respect to such properties or assets without the prior written
          consent of Apache (which written consent may be given or withheld in Apache’s sole
          discretion), provided further, however, that if any Person makes an unsolicited proposal to
          farm in to any of the Legacy Apache Properties or the GOM Shelf Properties on fair market
          terms and conditions (including fair market rates of return), then the Company shall be
          obligated to market (or cause GOM Shelf to market) such farm-in opportunity and accept
          (or cause GOM Shelf to accept) the highest and best offer for such farm-in opportunity as
          long as the farm-in transaction would be accretive to the Company’s consolidated cash
          flow, and in such instance no consent from Apache will be required if Apache has made or
          bid on such farm-in opportunity;

                  (c)    farm-out any of the Company’s or GOM Shelf’s properties or assets;
          provided, however, if any Person makes an unsolicited proposal to farm in to any of the
          Legacy Apache Properties or the GOM Shelf Properties on fair market terms and
          conditions (including fair market rates of return), then the Company shall be obligated to
          market (or cause GOM Shelf to market) such farm-in opportunity and accept (or cause
          GOM Shelf to accept) the highest and best offer for such farm-in opportunity as long as
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          the farm-in transaction would be accretive to the Company’s consolidated cash flow, and
          in such instance no consent from Apache will be required if Apache has made or bid on
          such farm-in opportunity;

                  (d)    incur indebtedness for borrowed money other than pursuant to the Standby
          Facility, pledge or grant Liens on any properties or assets of the Company or GOM Shelf
          other than those provided pursuant to the Standby Facility Documentation and the
          Recharacterization Mortgages, or guarantee, assume, endorse or otherwise become
          responsible for the obligations of any other Person;

                  (e)    issue additional Membership Interests or any other Equity Securities or
          admit additional Members to the Company, or issue additional equity interests of or admit
          additional members to GOM Shelf;

                   (f)     use its free cash flow (after operating expenses) for any purposes other than
          fulfilling its obligations to Apache under the Decommissioning Agreement and the Standby
          Facility Documentation for so long as the obligations thereunder have yet to be satisfied in
          full (for the avoidance of doubt, Apache’s consent shall be required for any development
          activities proposed by Fieldwood II under the Farmout Agreement);

                 (g)     make any loan, advance, or capital contribution or make any investment in
          any Person;

                 (h)     enter into, amend, waive, or terminate any Related Party Agreement;

                  (i)     amend, modify, supplement, restate, or waive any provision of the
          Certificate of Formation, this Agreement, or any other organizational documents of the
          Company or its Subsidiaries (and any such amendment, modification, supplement, or
          waiver that is attempted without Apache’s prior written consent shall be void ab initio and
          without effect);

                  (j)     engage in any activity or take any action with respect to its properties or
          assets, other than in the ordinary course of business;

                 (k)    select, remove, or replace, or change the work to be performed by, the
          Service Provider;

                (l)     remove, replace, or change the powers, rights, or responsibilities of, the Sole
          Manager or the Independent Director;

                 (m)    establish a Subsidiary or enter into any joint venture or similar business
          arrangement or enter into a transaction covered by Section 7.09;

                 (n)      settle any lawsuit, action, dispute, or other proceeding or otherwise assume
          any liability or agree to the provision of any equitable relief by the Company or GOM
          Shelf;


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                 (o)      enter into a fundamental business transaction (as such term is defined in the
          BOC), including a merger, consolidation, interest exchange, conversion, or sale of all or
          substantially all of the Company’s or GOM Shelf’s properties or assets;

                 (p)    wind-up, dissolve, liquidate, or terminate the Company or any of its
          Subsidiaries or initiate a bankruptcy proceeding involving the Company or any of its
          Subsidiaries;

                  (q)    revoke a voluntary decision to wind up the Company or GOM Shelf or
          cancel the required winding up of the Company due to an event specified in § 11.051 of
          the BOC; or

                 (r)     reinstate the Company or GOM Shelf after termination.

         In addition to the foregoing, if (i)(A) the Company or GOM Shelf defaults on its plugging
and abandonment and decommissioning obligations under the Decommissioning Agreement,
(B) any Governmental Authority or any other Person seeks to cause Apache or its Affiliates to
conduct plugging and abandonment or decommissioning activity that is required in accordance
with Applicable Law or contract in respect of any of the Legacy Apache Properties or the GOM
Shelf Properties, and (C) Apache conducts such plugging and abandonment or decommissioning
activity or activities, or (ii) prior to the cessation of all production from, and completion of all
plugging and abandonment and decommissioning on, the Legacy Apache Properties and the GOM
Shelf Properties, any letter of credit or bond that is part of the Decommissioning Security is not
renewed in a manner consistent in all respects with the existing terms of such letter of credit or
bond, then the Company shall, and the Independent Director and the Sole Manager shall cause the
Company to: (x) if applicable, as promptly as practicable after the Independent Director or the
Sole Manager becomes aware of an event described in clause (ii) immediately above, provide
written notice to Apache of the upcoming expiration of, and inability to renew, such letter of credit
or bond in a manner consistent in all respects with the existing terms of such letter of credit or
bond, and use its best efforts to assist Apache in drawing under the expiring letter of credit or bond
so that drawn funds can be contributed to Trust A; (y) take any action reasonably requested by
Apache to entitle Apache to be reimbursed by the Company or to draw on the cash in Trust A or
the other Decommissioning Security to pay or reimburse Apache for the costs (which costs shall
include, without limitation, costs of compensation and benefits of officers and employees of
Apache and its Affiliates that devote any of their productive time to performing or overseeing any
of the plugging and abandonment and decommissioning activities with respect to the Legacy
Apache Properties or the GOM Shelf Properties in accordance with the provisions on Schedule D
attached hereto applied in a consistent manner as the application of COPAS procedures, which
costs shall be determined in good faith by Apache based on the time spent by such employees in
performing or overseeing such activities) and expenses incurred in conducting such activity or
activities or, if such costs have been paid by Trust A or reimbursed to Apache with funds from
Trust A, then to contribute funds to Trust A; and (z) not take any position in any proceeding
opposed to or that is otherwise inconsistent with Apache’s ability to draw on the cash in Trust A
or the other Decommissioning Security to pay or reimburse Apache for such costs and expenses
incurred in conducting such activity or activities or to contribute funds to Trust A.


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       Furthermore, the Company shall provide written notice to Apache of (i) each request or
proposal the Company or GOM Shelf receives from a Person to farm in to any of the Legacy
Apache Properties or the GOM Shelf Properties and (ii) each prospective joint development under
the Farmout Agreement. In connection with each of the foregoing, the Company shall, and shall
cause GOM Shelf to, provide Apache full and open access to all information that the Company or
GOM Shelf has regarding each such opportunity.

         Section 7.07 Compensation and Reimbursement of the Independent Director, the
Sole Manager, the Service Provider and Fieldwood II. The Independent Director shall be
compensated for the services provided by such individual as the Independent Director of the
Company in the amount as specified in Schedule B attached hereto. The Sole Manager shall be
compensated for the services provided by such individual as the Sole Manager of the Company in
the amount as specified in Schedule C attached hereto. The Company shall reimburse the
Independent Director and the Sole Manager for all ordinary, necessary, and direct third-party
expenses incurred by the Independent Director and the Sole Manager, respectively, on behalf of
the Company in carrying out the Company’s business activities. All reimbursements for expenses
shall be reasonable in amount and shall not exceed $[•] in the aggregate for any Fiscal Year. The
Service Provider shall be compensated for the services provided by the Service Provider and
reimbursed for the out-of-pocket costs and expenses incurred in connection therewith as shall be
set forth in the applicable Service Provider Agreement. Fieldwood II shall be compensated for its
services under the Transition Services Agreement and reimbursed for the out-of-pocket costs and
expenses incurred in connection therewith as set forth in the Transition Services Agreement.

        Section 7.08 No Personal Liability. Except as otherwise provided in the BOC, by
Applicable Law, or expressly in this Agreement, neither the Independent Director nor the Sole
Manager will be obligated personally for any debt, obligation, or liability of the Company, whether
arising in contract, tort, or otherwise, including a debt, obligation, or liability under a judgment,
decree, or order of a court, solely by reason of being or acting as the Independent Director or the
Sole Manager, as applicable.

        Section 7.09 Funding Capital Expenditures. Prior to the cessation of all production
from, and completion of all plugging and abandonment and decommissioning activities on, the
Legacy Apache Properties and the GOM Shelf Properties, if the Company receives a proposal that
the Company engage in any project that is forecast to increase production or cash flow generated
from the Legacy Apache Properties or the GOM Shelf Properties (excluding any proposed
development activities pursuant to the Farmout Agreement), then the Sole Manager shall, through
a written notice, offer to Apache the opportunity to fund the capital expenditures related to such
project on behalf of the Company on terms and subject to conditions to be mutually agreed between
the Company and Apache; provided that the Company acknowledges and agrees that if any such
capital expenditures are funded, in whole or in part, out of funds then available to be borrowed by
the Company under the Standby Facility, any additional properties or assets obtained or that come
into existence as a result of the use of such borrowed amounts under the Standby Facility,
including, without limitation, any increased production or cash amounts generated thereby, shall
be pledged as additional security under the Standby Facility Documentation. Such written notice
provided to Apache shall include all available details about such opportunity, including, but not
limited to, the forecast impact on production and cash flow from the Legacy Apache Properties or

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the GOM Shelf Properties, as appropriate. Apache shall have a reasonable period (not to exceed
20 Business Days) following its receipt of such written notice to provide written notice to the
Company of (a) Apache’s election to fund any such capital expenditures and the terms and
conditions that Apache proposes to apply thereto, including whether it will fund such capital
expenditure, in whole or in part, using amounts then available to be borrowed by the Company
under the Standby Facility (such notice, an “Acceptance Notice”), (b) Apache’s election not to
fund any such capital expenditures (such notice, a “Rejection Notice”), or (c) Apache’s request
for additional information it requires to fully evaluate the proposed project (such notice, an
“Information Notice”). If Apache provides a timely Acceptance Notice, then the Company and
Apache shall endeavor in good faith to negotiate the proposed terms and conditions that will apply
thereto, and if mutually satisfactory terms are agreed to by the Company and Apache, such terms
and conditions shall be documented as promptly as practicable and the closing of such agreement
and funding(s) of such capital expenditures shall occur as so agreed. If (i) Apache timely provides
to the Company a Rejection Notice, (ii) Apache timely provides an Acceptance Notice but the
Company and Apache are unable within 60 Business Days after the Company’s receipt of the
Acceptance Notice to agree upon mutually satisfactory terms and conditions applicable thereto, or
(iii) Apache does not submit a timely response to the offer, then the offer for Apache to fund the
capital expenditures of the Company in the applicable project shall be deemed rejected by Apache
and the Company shall have 180 days within which to obtain third-party funding for such capital
expenditures subject to, and in accordance with, the other terms and conditions of this Agreement
(including, without limitation, Section 7.06); provided, however, if the Company is unable to
obtain such funding subject to, and in accordance with, the other terms and conditions of this
Agreement within such 180-day period, then the Company must again follow the procedures in
this Section 7.09 and offer Apache the opportunity to fund such expenditures. If Apache timely
provides the Company with an Information Notice, then the Company shall endeavor in good faith
to promptly provide the requested information to Apache, and following Apache’s receipt of such
information, Apache shall have the right to accept or reject such offer on the terms set forth in this
Section 7.09.

                                          ARTICLE VIII
                                           TRANSFER

          Section 8.01 General Restrictions on Transfer.

                (a)   No Member shall Transfer all or any portion of its Membership Interest in
          the Company without the prior written approval of:

                         (i)     Apache and the Company prior to (A) the cessation of all production
                 from, and completion of all plugging and abandonment and decommissioning on,
                 the Legacy Apache Properties and the GOM Shelf Properties, (B) the repayment in
                 full of any and all amounts outstanding under the Standby Facility and the
                 satisfaction of all obligations under the Standby Facility Documentation, (C) the
                 payment or reimbursement by the Company or from funds available under the
                 Decommissioning Security of the costs (which costs shall include, without
                 limitation, costs of compensation and benefits of officers and employees of Apache
                 and its Affiliates that devote any of their productive time to performing or

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                 overseeing any of the plugging and abandonment and decommissioning activities
                 with respect to the Legacy Apache Properties or the GOM Shelf Properties in
                 accordance with the provisions on Schedule D attached hereto applied in a
                 consistent manner as the application of COPAS procedures) and expenses incurred
                 by Apache and its Affiliates (1) in performing any plugging and abandonment and
                 decommissioning activities with respect to the Legacy Apache Properties or the
                 GOM Shelf Properties or (2) pursuant to or as may be required in connection with
                 the Decommissioning Agreement, and (D) the reimbursement to Apache and its
                 Affiliates for any and all costs and expenses incurred by Apache or any of its
                 Affiliates pursuant to the penultimate sentence of Section 12.01 in connection with
                 evaluating any matter specified in Section 7.06 for which Apache’s consent is
                 requested or required; and

                         (ii)    thereafter, the Company.

                  (b)     Subject to Section 8.01(a), each Member agrees that it will not Transfer all
          or any portion of its Membership Interest in the Company, and the Company agrees that it
          shall not issue any Membership Interests:

                         (i)     except as permitted under the Securities Act and other applicable
                 federal or state securities or blue sky laws, and then, with respect to a Transfer of
                 Membership Interests, only upon delivery to the Company of an opinion of counsel
                 in form and substance satisfactory to the Company to the effect that such Transfer
                 may be effected without registration under the Securities Act;

                         (ii)   if such Transfer or issuance would cause the Company to be
                 considered a “publicly traded partnership” under Section 7704(b) of the Code
                 within the meaning of Treasury Regulations Section 1.7704-1(h)(1)(ii), including
                 the look-through rule in Treasury Regulations Section 1.7704-1(h)(3);

                         (iii)   if such Transfer or issuance would affect the Company’s existence
                 or qualification as a limited liability company under the BOC;

                         (iv)    if such Transfer or issuance would cause the Company to lose its
                 status as a partnership for federal income tax purposes;

                         (v)     if such Transfer or issuance would cause the Company to be required
                 to register as an investment company under the Investment Company Act of 1940,
                 as amended; or

                         (vi)   if such Transfer or issuance would cause the assets of the Company
                 to be deemed “Plan Assets” as defined under the Employee Retirement Income
                 Security Act of 1974 or its accompanying regulations or result in any “prohibited
                 transaction” thereunder involving the Company.

                  (c)   Any Transfer or attempted Transfer of any Membership Interest in violation
          of this Agreement shall be null and void ab initio, no such Transfer shall be recorded on
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          the Company’s books, and the purported Transferee in any such Transfer shall not be
          treated (and the purported Transferor shall continue to be treated) as the owner of such
          Membership Interest for all purposes of this Agreement.

                  (d)    Subject to Section 7.06(e), no Transfer of any Membership Interest to a
          Person not already a Member of the Company shall be deemed completed until the
          prospective Transferee has executed a joinder agreement in form and substance acceptable
          to the Company.

                  (e)     For the avoidance of doubt, any completed Transfer of a Membership
          Interest permitted by this Agreement shall be deemed a sale, transfer, assignment, or other
          disposal of such Membership Interest in its entirety as intended by the parties to such
          Transfer, and shall not be deemed a sale, transfer, assignment, or other disposal of any less
          than all of the rights and benefits described in the definition of the term “Membership
          Interest.”

                                     ARTICLE IX
                           EXCULPATION AND INDEMNIFICATION

          Section 9.01 Exculpation of Covered Persons.

                  (a)    Covered Persons. As used herein, the term “Covered Person” shall mean
          (i) each current or former Member; (ii) each current or former manager, officer, director
          (including the Independent Director), shareholder, partner, member, Affiliate, employee,
          agent, or Representative of each Member, and each of their Affiliates; and (iii) each
          manager (including the Sole Manager), officer (if any), employee (if any), agent, or
          Representative of the Company.

                 (b)      Standard of Care. Subject to Section 9.02(a) with respect to the
          Independent Director, no Covered Person shall be liable to the Company or any other
          Covered Person for any loss, damage, or claim incurred by reason of any action taken or
          omitted to be taken by such Covered Person in good faith reliance on the provisions of this
          Agreement, so long as such action or omission does not constitute fraud or willful
          misconduct by such Covered Person.

                  (c)      Good Faith Reliance. A Covered Person shall be fully protected in relying
          in good faith upon the records of the Company and upon such information, opinions,
          reports, or statements (including financial statements and information, opinions, reports, or
          statements as to the value or amount of the assets, liabilities, Net Income, or Net Losses of
          the Company or any facts pertinent to the existence and amount of assets from which
          distributions might properly be paid) of the following Persons or groups: (i) another
          Member; (ii) one or more officers or employees of the Company; (iii) any attorney,
          independent accountant, appraiser, or other expert or professional employed or engaged by
          or on behalf of the Company; or (iv) any other Person selected in good faith by or on behalf
          of the Company, in each case as to matters that such relying Person reasonably believes to
          be within such other Person’s professional or expert competence. The preceding sentence

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          shall in no way limit any Person’s right to rely on information to the extent provided in
          § 3.102 or § 3.105 of the BOC.

          Section 9.02 Liabilities and Duties of Covered Persons.

                  (a)     Limitation of Liability. This Agreement, unless otherwise specifically
          stated herein, is not intended to, and does not, create or impose any fiduciary duty on any
          Covered Person. Furthermore, each of the Members and the Company hereby waives any
          and all fiduciary duties that, absent such waiver, may be implied by Applicable Law, and
          in doing so, acknowledges and agrees that the duties and obligations of each Covered
          Person to each other and to the Company are only as expressly set forth in this Agreement.
          The provisions of this Agreement, to the extent that they restrict the duties and liabilities
          of a Covered Person otherwise existing at law or in equity, are agreed by the Members to
          replace such other duties and liabilities of such Covered Person. Notwithstanding anything
          to the contrary in this Article IX, to the fullest extent permitted by Applicable Law, and
          notwithstanding any duty otherwise existing at law or in equity, the Independent Director
          shall consider only the interests of the Company, including its creditors, in acting or
          otherwise consenting to matters requiring the consent of the Independent Director in this
          Agreement. Except for duties to the Company as set forth in the immediately preceding
          sentence (including duties to the Members and the Company’s creditors solely to the extent
          of their respective economic interests in the Company but excluding (i) all other interests
          of the Members, (ii) the interests of other Affiliates of the Company, and (iii) the interests
          of any group of Affiliates of which the Company is a part) and in the last sentence of
          Section 7.05, the Independent Director shall not have any fiduciary duties to the Members
          or any other Person bound by this Agreement; provided, however, the foregoing shall not
          eliminate the implied contractual covenant of good faith and fair dealing. To the fullest
          extent permitted by law, the Independent Director shall not be liable to the Company, the
          Members or any other Person bound by this Agreement for breach of contract or breach of
          duties (including fiduciary duties), unless the Independent Director acted in bad faith or
          engaged in willful misconduct.

                  (b)     Duties. Except as provided in Section 9.02(a) with respect to the
          Independent Director, whenever in this Agreement a Covered Person is permitted or
          required to make a decision (including a decision that is in such Covered Person’s
          “discretion” or under a grant of similar authority or latitude), the Covered Person shall be
          entitled to consider only such interests and factors as such Covered Person desires,
          including its own interests, and shall have no duty or obligation to give any consideration
          to any interest of or factors affecting the Company or any other Person. Whenever in this
          Agreement a Covered Person is permitted or required to make a decision in such Covered
          Person’s “good faith,” the Covered Person shall act under such express standard and shall
          not be subject to any other or different standard imposed by this Agreement or any other
          Applicable Law.




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          Section 9.03 Indemnification.

                   (a)     Indemnification. To the fullest extent permitted by the BOC, as the same
          now exists or may hereafter be amended, substituted or replaced (but, in the case of any
          such amendment, substitution, or replacement, only to the extent that such amendment,
          substitution, or replacement permits the Company to provide broader indemnification
          rights than the BOC permitted the Company to provide prior to such amendment,
          substitution, or replacement), the Company shall indemnify, hold harmless, defend, pay,
          and reimburse any Covered Person against any and all losses, claims, damages, judgments,
          fines, or liabilities, including reasonable legal fees or other expenses incurred in
          investigating or defending against such losses, claims, damages, judgments, fines, or
          liabilities, and any amounts expended in settlement of any claims (collectively, “Losses”)
          to which such Covered Person may become subject by reason of:

                         (i)    any act or omission or alleged act or omission performed or omitted
                 to be performed on behalf of the Company, any Member, or any direct or indirect
                 Subsidiary of the foregoing in connection with the business of the Company; or

                         (ii)    such Covered Person being or acting in connection with the business
                 of the Company as a member, shareholder, Affiliate, manager, director, officer,
                 employee, or agent of the Company, any Member, or any of their respective
                 Affiliates, or that such Covered Person is or was serving at the request of the
                 Company as a member, manager, director, officer, employee, or agent of any
                 Person including the Company;

          provided, that (x) such Covered Person acted in good faith and in a manner believed by
          such Covered Person to be in, or not opposed to, the best interests of the Company and,
          with respect to any criminal proceeding, had no reasonable cause to believe his conduct
          was unlawful, and (y) such Covered Person’s conduct did not constitute fraud or willful
          and intentional misconduct, in either case as determined by a final, nonappealable order of
          a court of competent jurisdiction. In connection with the foregoing, the termination of any
          action, suit, or proceeding by judgment, order, settlement, conviction, or upon a plea of
          nolo contendere or its equivalent, shall not, of itself, create a presumption that the Covered
          Person did not act in good faith or, with respect to any criminal proceeding, had reasonable
          cause to believe that such Covered Person’s conduct was unlawful, or that the Covered
          Person’s conduct constituted fraud or willful misconduct.

                  (b)     Control of Defense. Upon a Covered Person’s discovery of any claim,
          lawsuit, or other proceeding relating to any Losses for which such Covered Person may be
          indemnified pursuant to this Section 9.03, the Covered Person shall give prompt written
          notice to the Company of such claim, lawsuit, or proceeding, provided, that the failure of
          the Covered Person to provide such notice shall not relieve the Company of any
          indemnification obligation under this Section 9.03, unless the Company shall have been
          materially prejudiced thereby. The Company shall be entitled to participate in or assume
          the defense of any such claim, lawsuit, or proceeding at its own expense. After notice from
          the Company to the Covered Person of its election to assume the defense of any such claim,

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          lawsuit, or proceeding, the Company shall not be liable to the Covered Person under this
          Agreement or otherwise for any legal or other expenses subsequently incurred by the
          Covered Person in connection with investigating, preparing to defend, or defending any
          such claim, lawsuit, or other proceeding. If the Company does not elect (or fails to elect)
          to assume the defense of any such claim, lawsuit, or proceeding, the Covered Person shall
          have the right to assume the defense of such claim, lawsuit, or proceeding as it deems
          appropriate, but it shall not settle any such claim, lawsuit, or proceeding without the
          consent of the Company (which consent shall not be unreasonably withheld, conditioned,
          or delayed).

                   (c)     Reimbursement. The Company shall promptly reimburse (and/or advance
          to the extent reasonably required) each Covered Person for reasonable legal or other
          expenses (as incurred) of such Covered Person in connection with investigating, preparing
          to defend, or defending any claim, lawsuit, or other proceeding relating to any Losses for
          which such Covered Person may be indemnified pursuant to this Section 9.03; provided,
          that if it is finally judicially determined that such Covered Person is not entitled to the
          indemnification provided by this Section 9.03, then such Covered Person shall promptly
          reimburse the Company for any reimbursed or advanced expenses.

                  (d)     Entitlement to Indemnity. The indemnification provided by this Section
          9.03 shall not be deemed exclusive of any other rights to indemnification to which those
          seeking indemnification may be entitled under any agreement or otherwise. The provisions
          of this Section 9.03 shall continue to afford protection to each Covered Person regardless
          of whether such Covered Person remains in the position or capacity pursuant to which such
          Covered Person became entitled to indemnification under this Section 9.03 and shall inure
          to the benefit of the executors, administrators, legatees, and distributees of such Covered
          Person.

                  (e)    Insurance. To the extent available on commercially reasonable terms, the
          Company may purchase, at its expense, insurance to cover Losses covered by the foregoing
          indemnification provisions and to otherwise cover Losses for any breach or alleged breach
          by any Covered Person of such Covered Person’s duties in such amount and with such
          deductibles as the Sole Manager may reasonably determine; provided, that the failure to
          obtain such insurance shall not affect the right to indemnification of any Covered Person
          under the indemnification provisions contained herein, including the right to be reimbursed
          or advanced expenses or otherwise indemnified for Losses hereunder. If any Covered
          Person recovers any amounts in respect of any Losses from any insurance coverage, then
          such Covered Person shall, to the extent that such recovery is duplicative, reimburse the
          Company for any amounts previously paid to such Covered Person by the Company in
          respect of such Losses.

                  (f)    Funding of Indemnification Obligation. Notwithstanding anything
          contained herein to the contrary, any indemnity by the Company relating to the matters
          covered in this Section 9.03 shall be provided out of and to the extent of Company assets
          only, and no Member (unless such Member otherwise agrees in writing) shall have personal


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          liability on account thereof or shall be required to make additional Capital Contributions
          to help satisfy such indemnity by the Company.

                  (g)     Savings Clause. If this Section 9.03 or any portion hereof shall be
          invalidated on any ground by any court of competent jurisdiction, then the Company shall
          nevertheless indemnify and hold harmless each Covered Person pursuant to this Section
          9.03 to the fullest extent permitted by any applicable portion of this Section 9.03 that shall
          not have been invalidated and to the fullest extent permitted by Applicable Law.

                  (h)     Amendment. The provisions of this Section 9.03 shall be a contract
          between the Company, on the one hand, and each Covered Person who served in such
          capacity at any time while this Section 9.03 is in effect, on the other hand, pursuant to
          which the Company and each such Covered Person intend to be legally bound. No
          amendment, modification, or repeal of this Section 9.03 that adversely affects the rights of
          a Covered Person to indemnification for Losses incurred or relating to a state of facts
          existing prior to such amendment, modification or repeal shall apply in such a way as to
          eliminate or reduce such Covered Person’s entitlement to indemnification for such Losses
          without the Covered Person’s prior written consent.

        Section 9.04 Survival. The provisions of this ARTICLE IX shall survive the dissolution,
liquidation, winding up, and termination of the Company.

                                       ARTICLE X
                                 ACCOUNTING; TAX MATTERS

        Section 10.01 Financial Statements and Other Information.                 The Company shall
furnish to each Member and Apache the following reports:

                  (a)     Annual Financial Statements. As soon as available, and in any event
          within 105 days after the end of each Fiscal Year, its audited consolidated balance sheet
          and related consolidated statements of operations, Members’ equity and cash flows as of
          the end of and for such year prepared under AICPA auditing standards, setting forth in each
          case in comparative form the figures for the previous Fiscal Year, all reported on by
          independent public accountants acceptable to each Member and Apache (without a “going
          concern” or like qualification, commentary, or exception (except to the extent that any such
          qualification, commentary, or exception expressly indicates that after giving effect to the
          exclusion of asset retirement obligations reflected on the accompanying balance sheet,
          there would be no such qualification, commentary, or exception), and without any
          qualification or exception as to the scope of such audit) to the effect that such consolidated
          financial statements present fairly in all material respects the consolidated financial
          condition and results of operations of the Company and GOM Shelf in accordance with
          GAAP consistently applied;

                  (b)    Quarterly Financial Statements. As soon as available, and in any event
          within 50 days after the end of each quarterly accounting period in each Fiscal Year
          (including the last fiscal quarter of the Fiscal Year), its unaudited consolidated balance
          sheet and related unaudited consolidated statements of operations, Members’ equity and
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          cash flows as of the end of and for such fiscal quarter and the then elapsed portion of the
          current Fiscal Year, setting forth in each case in comparative form the figures for the
          corresponding period or periods of the previous Fiscal Year or as at the end of such period
          or periods, all in reasonable detail and certified by the Company as presenting fairly in all
          material respects the consolidated financial condition and results of operations of the
          Company and GOM Shelf in accordance with GAAP consistently applied, subject to
          normal year-end audit adjustments and the absence of footnotes; and

                  (c)     Monthly Operating Data. As soon as available, but in no event later than
          15 Business Days after the end of each calendar month, a statement in a form reasonably
          satisfactory to each Member and Apache showing all operating data for the Company and
          GOM Shelf, including operating expenses and revenue for each of the Company and GOM
          Shelf, for such calendar month.

                  (d)     Operating Budget. As soon as available, but in any event no later than 60
          days after the end of each Fiscal Year of the Company, a detailed operating budget for the
          Fiscal Year, forecasting revenue, operating costs, and capital expenses for each fiscal
          quarter in form reasonably satisfactory to each Member and Apache.

                  (e)    Additional Information. Promptly following any reasonable request
          therefor, such other information regarding the operations, business affairs and financial
          condition of each of the Company and GOM Shelf, as any Member or Apache may
          reasonably request, including, without limitation, decommissioning cost estimates and
          calculations.

         Section 10.02 Inspection Rights. Upon reasonable notice from a Member or Apache, the
Company shall afford each Member or Apache and their respective Representatives access during
normal business hours to (a) the Company’s properties, offices, plants, and other facilities; (b) the
corporate, financial, and similar records, reports, and documents of the Company, including,
without limitation, all books and records, minutes of proceedings, internal management
documents, reports of operations, reports of adverse developments, copies of any management
letters and communications with Members or the Sole Manager or Independent Director, and to
permit each Member or Apache and their respective Representatives to examine such documents
and make copies thereof; and (c) any officers, senior employees, and public accountants of the
Company, and to afford each Member or Apache and their respective Representatives the
opportunity to discuss and advise on the affairs, finances, and accounts of the Company with such
officers, senior employees, and public accountants (and the Company hereby authorizes said
accountants to discuss with such Member or Apache and their respective Representatives such
affairs, finances, and accounts).

        Section 10.03 Income Tax Status. It is the intent of the Company and the Members that
the Company shall be treated as a partnership or a disregarded entity for U.S., federal, state, and
local income tax purposes. Neither the Company nor any Member shall make an election for the
Company to be classified as other than a partnership or a disregarded entity pursuant to Treasury
Regulations Section 301.7701-3.


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          Section 10.04 Tax Matters Representative.

                  (a)       Appointment. The Members hereby appoint the Sole Manager as
          “partnership representative” as provided in Code Section 6223(a) (the “Tax Matters
          Representative”).        If any state or local tax law provides for a tax matters
          partner/partnership representative or Person having similar rights, powers, authority or
          obligations, the person designated as the Tax Matters Representative shall also serve in
          such capacity. To the extent required by Applicable Law, if the Tax Matters Representative
          is an entity, it shall appoint a “designated individual” to act on its behalf. The Tax Matters
          Representative can be removed at any time by a vote of Members holding a majority of the
          Membership Interests, and shall resign if it is no longer a Member. In the event of the
          resignation or removal of the Tax Matters Representative, Members holding a majority of
          the Membership Interests shall select a replacement Tax Matters Representative.

                  (b)     Tax Examinations and Audits. The Tax Matters Representative is
          authorized and required to represent the Company (at the Company’s expense) in
          connection with all examinations of the Company’s affairs by Taxing Authorities,
          including resulting administrative and judicial proceedings, and to expend Company funds
          for professional services and costs associated therewith. The Tax Matters Representative
          shall promptly notify the Members in writing of the commencement of any tax audit of the
          Company, upon receipt of a tax assessment and upon receipt of a notice of final partnership
          adjustment, and shall keep the Members reasonably informed of the status of any tax audit
          and resulting administrative and judicial proceedings. Without the consent of Members
          holding a majority of the Membership Interests, the Tax Matters Representative shall not
          extend the statute of limitations, file a request for administrative adjustment, file suit
          relating to any Company tax refund or deficiency or enter into any settlement agreement
          relating to items of income, gain, loss or deduction of the Company with any Taxing
          Authority.

                   (c)    US Federal Tax Proceedings. The Members acknowledge that the
          Company may elect the application of Section 6226 of the Code. This acknowledgement
          applies to each Member whether or not the Member owns an interest in the Company in
          both the reviewed year and the year of the tax adjustment. In the event that the Company
          elects the application of Section 6226 of the Code, the Members agree and covenant to take
          into account and report to the Internal Revenue Service (or any other applicable taxing
          authority) any adjustment to their tax items for the reviewed year of which they are notified
          by the Company in a written statement, in the manner provided in Section 6226(b) of the
          Code, whether or not the Member owns any interest in the Company at such time. Any
          Member that fails to report its share of such adjustments on its tax return, agrees to
          indemnify and hold harmless the Company and the Tax Matters Representative from and
          against any and all losses, costs, liabilities and expenses related to taxes (including
          penalties and interest) imposed on the Company as a result of the Member’s inaction. If
          the Company is required to pay the assessment of the imputed underpayment under
          Section 6225(a)(1) of the Code or similar provisions of state law, any taxes, penalties, and
          interest payable by the Company shall be treated as attributable to the Members, and, to
          the extent possible, the Tax Matters Representative shall allocate the burden of any such

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          amounts to those Members to whom such amounts are reasonably attributable taking into
          account the Member’s or former Member’s allocable share of taxable income or loss with
          respect to the Fiscal Year to which such assessment pertains and adjustments that may have
          been made in computing the imputed underpayment. To the extent that any such amount
          is payable by the Company, at the option of the Tax Matters Representative, such amount
          shall be recoverable from such Member as provided in Section 6.03(c). The provisions
          contained in this Section 10.04 shall survive the dissolution, termination or liquidation of
          the Company, the withdrawal of any Member or the transfer of any Member’s interest in
          the Company and apply to unadmitted assignees of a Member Interest who may be
          considered current or former partners of the Company for federal tax purposes.

                  (d)     Tax Returns. Each Member agrees that such Member shall not treat any
          Company item inconsistently on such Member’s federal, state, foreign or other income tax
          return with the treatment of the item on the Company’s return.

                  (e)    Section 754 Election. The Tax Matters Representative will make an
          election under Code Section 754, if the Company is to be taxed as a partnership for federal
          tax purposes.

                 (f)      Indemnification. The Company shall defend, indemnify, and hold
          harmless the Tax Matters Representative against any and all liabilities sustained as a result
          of any act or decision concerning Company tax matters and within the scope of
          responsibilities as Tax Matters Representative, so long as such act or decision was done or
          made in good faith and does not constitute gross negligence or willful misconduct.

        Section 10.05 Tax Returns. At the expense of the Company, the Sole Manager (or any
officer of the Company that it may designate pursuant to this Agreement) shall endeavor to cause
the preparation and timely filing (including extensions) of all tax returns required to be filed by
the Company pursuant to the Code as well as all other required tax returns in each jurisdiction in
which the Company owns property or does business. As soon as reasonably possible after the end
of each Fiscal Year, the Sole Manager or any designated officer of the Company, as applicable,
will cause to be delivered to each Person who was a Member at any time during such Fiscal Year,
IRS Schedule K-1 to Form 1065, if applicable, and such other information with respect to the
Company as may be necessary for the preparation of such Person’s federal, state, and local income
tax returns for such Fiscal Year.

        Section 10.06 Company Funds. All funds of the Company shall be deposited in its name,
or in such name as may be designated by the Sole Manager, in such checking, savings, or other
accounts, or held in its name in the form of such other investments as shall be designated by the
Sole Manager. The funds of the Company shall not be commingled with the funds of any other
Person. All withdrawals of such deposits or liquidations of such investments by the Company
shall be made exclusively upon the signature or signatures of the Sole Manager, or any officer or
officers of the Company that may be designated by the Sole Manager, as applicable, pursuant to
this Agreement.



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                                       ARTICLE XI
                               WINDING UP AND TERMINATION

        Section 11.01 Events Requiring Winding Up. The Company shall begin to wind up its
business and affairs only upon the occurrence of any of the following events (in each case, subject
to the applicable provisions of Section 7.06):

                 (a)     upon the cessation of all production from, and completion of all plugging
          and abandonment and decommissioning on, the Legacy Apache Properties and the GOM
          Shelf Properties;

                  (b)     the occurrence of a nonwaivable event under the terms of the BOC which
          requires the winding up of the Company after its termination unless a Continuance occurs
          in respect of such event; or

                 (c)     the entry of a judicial decree ordering winding up and termination under
          § 11.314 of the BOC in proceedings of which Apache has been given notice and an
          opportunity to participate.

Notwithstanding the occurrence of an event referenced in Section 11.01(b), if the Company is
permitted prior to the termination of its existence in accordance with the BOC to revoke a winding
up upon the occurrence of such event and each of Apache, the Sole Manager, and the Independent
Director provide their prior written consent to such revocation, then, to the extent so permitted
under the BOC and in the manner provided therein, the Company’s existence shall be continued
(the revocation of such a winding up and continuance of the Company, a “Continuance”).

        Section 11.02 Effectiveness of Termination. The Company shall begin to wind up its
business and affairs as soon as reasonably practicable upon the occurrence of an event described
in Section 11.01 (if such event has not been revoked or cancelled), but the Company shall not
terminate until the winding up of the Company has been completed, the assets of the Company
have been distributed as provided in Section 11.03, and the Certificate of Termination shall have
been filed as provided in Section 11.04.

        Section 11.03 Liquidation. If the Company is to be terminated pursuant to Section 11.01
                                                                                            11.01,
the Company shall be liquidated and its business and affairs wound up in accordance with the BOC
and the following provisions:

                  (a)    Liquidator. The Sole Manager shall act as liquidator to wind up the
          Company (the “Liquidator”); provided, however, that if there is then a vacancy in the
          position of the Sole Manager or the Sole Manager is not willing to act as the Liquidator,
          the Members shall appoint a person to act as the Liquidator. The Liquidator shall have full
          power and authority to sell, assign, and encumber any or all of the Company’s assets and
          to wind up and liquidate the affairs of the Company in an orderly and business-like manner.

                 (b)     Accounting. As promptly as possible after the event requiring winding up
          and again after final liquidation, the Liquidator shall cause a proper accounting to be made
          by a recognized firm of certified public accountants of the Company’s assets, liabilities,
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          and operations through the last day of the calendar month in which such event occurs or
          the final liquidation is completed, as applicable.

               (c)     Notice. The Liquidator shall deliver to each known claimant of the
          Company the notice required by § 11.052 of the BOC.

                 (d)    Distribution of Proceeds. The Liquidator shall liquidate the assets of the
          Company and distribute the proceeds of such liquidation in the following order of priority,
          unless otherwise required by mandatory provisions of Applicable Law:

                         (i)     First, to the payment of all of the Company’s debts and liabilities to
                 its creditors (including Members, if applicable) and the expenses of liquidation
                 (including sales commissions incident to any sales of assets of the Company);

                       (ii)    Second, to Trust A until the aggregate funds in Trust A are in an
                 amount equal to 125% of the then Remaining Decommissioning (as defined in the
                 Decommissioning Agreement);

                        (iii)   Third, to the establishment of and additions to other reserves that are
                 determined by the Liquidator to be reasonably necessary for any contingent
                 unforeseen liabilities or obligations of the Company; and

                         (iv)    Fourth, to the Members in accordance with the positive balances in
                 their respective Capital Accounts, as determined after taking into account all
                 Capital Account adjustments for the taxable year of the Company during which the
                 liquidation of the Company occurs.

                  (e)     Discretion of Liquidator. Notwithstanding the provisions of Section
          11.03(d) that require the liquidation of the assets of the Company, but subject to the order
          of priorities set forth in Section 11.03(d), if upon winding up of the Company the
          Liquidator reasonably determines that an immediate sale of part or all of the Company’s
          assets would be impractical or could cause undue loss to the Members, the Liquidator may
          defer the liquidation of any assets except those necessary to satisfy Company liabilities,
          Trust A, and reserves, and may, upon approval of holders of a majority of the outstanding
          Membership Interests, distribute to the Members, in lieu of cash, as tenants in common and
          in accordance with the provisions of Section 11.03(d), undivided interests in such
          Company assets as the Liquidator deems not suitable for liquidation. Any such distribution
          in kind shall be subject to such conditions relating to the disposition and management of
          such properties as the Liquidator deems reasonable and equitable and to any agreements
          governing the operating of such properties at such time. For purposes of any such
          distribution, any property to be distributed will be valued at its Fair Market Value.

         Section 11.04 Certificate of Termination. Upon completion of the distribution of the
assets of the Company as provided in Section 11.03(d) hereof, the Liquidator or other such officer
shall execute and cause to be filed a Certificate of Termination in the State of Texas and shall
cause the cancellation of all qualifications and registrations of the Company as a foreign limited
liability company in jurisdictions other than the State of Texas and shall take such other actions as
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may be necessary to terminate the Company. Upon acceptance of the Certificate of Termination
by the Texas Secretary of State, the Company shall be terminated.

        Section 11.05 Survival of Rights, Duties, and Obligations. Dissolution, liquidation,
winding up, or termination of the Company for any reason shall not release any party from any
Loss that at the time of such dissolution, liquidation, winding up, or termination already had
accrued to any other party or thereafter may accrue in respect of any act or omission prior to such
dissolution, liquidation, winding up, or termination. For the avoidance of doubt, none of the
foregoing shall replace, diminish, or otherwise adversely affect any Member’s right to
indemnification pursuant to Section 9.03.

       Section 11.06 Recourse for Claims. Each Member shall look solely to the assets of the
Company for all distributions with respect to the Company, such Member’s Capital Account, and
such Member’s share of Net Income, Net Loss, and other items of income, gain, loss, and
deduction, and shall have no recourse therefor (upon termination or otherwise) against the
Liquidator, the Independent Director, or any other Member.

                                        ARTICLE XII
                                      MISCELLANEOUS

        Section 12.01 Expenses. Except as otherwise expressly provided herein, in the
Restructuring Support Agreement, or in the Confirmation Order, all costs and expenses, including
fees and disbursements of counsel, financial advisors, and accountants, incurred in connection with
the preparation and execution of this Agreement, or any amendment or waiver hereof, and the
transactions contemplated hereby shall be paid by the party incurring such costs and expenses. In
addition to the immediately preceding sentence and the payment or reimbursement to Apache and
its Affiliates for the costs and expenses of performing any plugging and abandonment and
decommissioning activities with respect to the Legacy Apache Properties or the GOM Shelf
Properties as provided in the final paragraph of Section 7.06, from time to time as Apache evaluates
any matter specified in Section 7.06 for which its consent is requested or required or any proposal
for prospective funding of capital expenditures pursuant to Section 7.09, the Company shall
reimburse Apache for all costs and expenses incurred in connection therewith, with such
reimbursement to be made regardless of whether Apache consents to such matter or provides an
Acceptance Notice, Rejection Notice, or Information Notice to the Company with respect to such
proposal. Apache’s costs shall include, without limitation, third-party costs and the reimbursable
costs of compensation and benefits of employees of Apache and its Affiliates who devote
productive time to evaluating any matter specified in Section 7.06 for which the consent of Apache
is requested or required or any proposal for prospective funding of capital expenditures pursuant
to Section 7.09, which costs shall be determined in good faith by Apache based on the time spent
by such employees in conducting such evaluation. The reimbursement to be made pursuant to the
immediately preceding sentences shall be made within 30 days of the Company’s receipt of a
statement from Apache specifying the costs to be so reimbursed.

        Section 12.02 Further Assurances. In connection with this Agreement and the
transactions contemplated hereby, the Company and each Member hereby agrees, at the request of
the Company or any other Member, to execute and deliver such additional documents, instruments,

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conveyances, and assurances and to take such further actions as may be required to carry out the
provisions hereof and give effect to the transactions contemplated hereby.

          Section 12.03 Confidentiality.

                  (a)     Each Member acknowledges that, during the term of this Agreement, it will
          have access to and become acquainted with trade secrets, proprietary information, and
          confidential information belonging to the Company and its Affiliates that are not generally
          known to the public, including, but not limited to, information concerning business plans,
          financial statements, and other information provided pursuant to this Agreement, operating
          practices and methods, expansion plans, strategic plans, marketing plans, contracts,
          customer lists, or other business documents that the Company treats as confidential, in any
          format whatsoever (including oral, written, electronic, or any other form or medium)
          (collectively, “Confidential Information”). In addition, each Member acknowledges that:
          (i) the Company has invested, and continues to invest, substantial time, expense, and
          specialized knowledge in developing its Confidential Information; (ii) the Confidential
          Information provides the Company with a competitive advantage over others in the
          marketplace; and (iii) the Company would be irreparably harmed if the Confidential
          Information were disclosed to competitors or made available to the public. Without
          limiting the applicability of any other agreement to which any Member is subject, no
          Member shall, directly or indirectly, disclose or use (other than solely for the purposes of
          such Member monitoring and analyzing its investment in the Company) at any time,
          including, without limitation, use for personal, commercial, or proprietary advantage or
          profit, either during its association with the Company or thereafter, any Confidential
          Information of which such Member is or becomes aware. Each Member in possession of
          Confidential Information shall take all appropriate steps to safeguard such information and
          to protect it against disclosure, misuse, espionage, loss, and theft.

                  (b)     Nothing contained in Section 12.03(a) shall prevent any Member from
          disclosing Confidential Information: (i) upon the order of any court or administrative
          agency; (ii) upon the request or demand of any regulatory agency or authority having
          jurisdiction over such Member; (iii) to the extent compelled by legal process or required or
          requested pursuant to subpoena, interrogatories, or other discovery requests; (iv) to the
          extent necessary in connection with the exercise of any remedy hereunder; (v) to the other
          Members; or (vi) to such Member’s Representatives who, in the reasonable judgment of
          such Member, need to know such Confidential Information and agree to be bound by the
          provisions of this Section 12.03 as if a Member; or (vii) to any potential Transferee in
          connection with a proposed Transfer of Membership Interests from such Member, as long
          as such potential Transferee agrees in writing to be bound by the provisions of this Section
          12.03 as if a Member before receiving such Confidential Information; provided, that in the
          case of clause (i), (ii), or (iii), such Member shall notify the Company and other Members
          of the proposed disclosure as far in advance of such disclosure as practicable (but in no
          event make any such disclosure before notifying the Company and other Members) and
          use reasonable efforts to ensure that any Confidential Information so disclosed is accorded
          confidential treatment satisfactory to the Company, when and if available.


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                  (c)    The restrictions of Section 12.03(a) shall not apply to Confidential
          Information that: (i) is or becomes generally available to the public other than as a result
          of a disclosure by a Member in violation of this Agreement; (ii) is or has been
          independently developed or conceived by such Member without use of Confidential
          Information; or (iii) becomes available to such Member or any of its Representatives on a
          non-confidential basis from a source other than the Company, the other Members, or any
          of their respective Representatives, provided, that such source is not known by the
          receiving Member to be bound by a confidentiality agreement regarding the Company.

                  (d)     The obligations of each Member under this Section 12.03 shall survive for
          so long as such Member remains a Member, and for three years following the earlier of (i)
          termination, dissolution, liquidation, and winding up of the Company; (ii) the withdrawal
          of such Member from the Company; or (iii) such Member’s Transfer of its Membership
          Interests; provided that with respect to Confidential Information that constitutes a trade
          secret under Applicable Law, the obligations of each Member under this Section 12.03
          shall survive until, if ever, such Confidential Information loses its trade secret protection
          other than due, directly or indirectly, to an act or omission of the Member.

        Section 12.04 Notices. All notices, requests, consents, claims, demands, waivers, and
other communications hereunder shall be in writing and shall be deemed to have been given:

                 (a)     when delivered by hand (with written confirmation of receipt);

                  (b)    when received by the addressee if sent by a nationally recognized overnight
          courier (receipt requested);or

                  (c)    on the third day after the date mailed, by certified or registered mail, return
          receipt requested, postage prepaid.

        Such communications must be sent to the respective parties at the following addresses (or
at such other address for a party as shall be specified in a notice given in accordance with this
Section 12.04):

 If to the Company:             Fieldwood Energy I LLC
                                [COMPANY ADDRESS]
                                Attention: [TITLE OF OFFICER TO RECEIVE NOTICES]




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 with a copy to:              Hunton Andrews Kurth LLP
                              600 Travis Street
 (which shall not
                              Suite 4200
 constitute notice)           Houston, TX 77002
                              Attention: G. Michael O’Leary



 If to the Independent       [INDEPENDENT DIRECTOR ADDRESS]
 Director:                   Attention: [TITLE OF OFFICER TO RECEIVE NOTICES]



 with a copy to:              Hunton Andrews Kurth LLP
                              600 Travis Street
 (which shall not             Suite 4200
 constitute notice)
                              Houston, TX 77002
                              Attention: G. Michael O’Leary



 If to a Member:              To the Member’s respective mailing address as set forth on the
                              Members Schedule.

        Section 12.05 Headings. The headings in this Agreement are inserted for convenience or
reference only and are in no way intended to describe, interpret, define, or limit the scope, extent,
or intent of this Agreement or any provision of this Agreement.

         Section 12.06 Severability. If any term or provision of this Agreement is held to be
invalid, illegal, or unenforceable under Applicable Law in any jurisdiction, such invalidity,
illegality, or unenforceability shall not affect any other term or provision of this Agreement or
invalidate or render unenforceable such term or provision in any other jurisdiction. Except as
provided in Section 9.03(g), upon such determination that any term or other provision is invalid,
illegal, or unenforceable, this Agreement shall be modified automatically so as to effect the original
intent of the parties as closely as possible in order that the transactions contemplated hereby be
consummated as originally contemplated to the greatest extent possible, legal, and enforceable.

        Section 12.07 Entire Agreement. This Agreement, together with the Certificate of
Formation and all related Exhibits and Schedules, constitutes the sole and entire agreement of the
parties to this Agreement with respect to the subject matter contained herein and therein, and
supersedes all prior and contemporaneous understandings, agreements, representations, and
warranties, both written and oral, with respect to such subject matter.



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        Section 12.08 Successors and Assigns. Subject to the restrictions on Transfers set forth
herein, this Agreement shall be binding upon and shall inure to the benefit of the parties hereto
and their respective heirs, executors, administrators, successors, and assigns.

        Section 12.09 No Third-Party Beneficiaries. Except (a) with respect to certain rights
reserved to Apache as set forth in this Agreement, which shall be for the benefit of and enforceable
by Apache, and (b) as provided in ARTICLE IX, which shall be for the benefit of and enforceable
by Covered Persons as described therein, this Agreement is for the sole benefit of the parties hereto
(and their respective heirs, executors, administrators, successors, and assigns) and nothing herein,
express or implied, is intended to or shall confer upon any other Person, including any creditor of
the Company, any legal or equitable right, benefit, or remedy of any nature whatsoever under or
by reason of this Agreement.

       Section 12.10 Amendment. Subject to Sections 2.02 and 7.06(i), no provision of this
Agreement may be amended or modified except by an instrument in writing executed by the
Company and the Members holding a majority of the Membership Interests. Any such written
amendment or modification will be binding upon the Company and each Member.
Notwithstanding the foregoing, amendments to the Members Schedule following any new
issuance, redemption, repurchase, or Transfer of Membership Interests in accordance with this
Agreement may be made by the Independent Director without the consent of or execution by the
Members.

         Section 12.11 Waiver. No waiver by any party or Apache of any of the provisions hereof
shall be effective unless explicitly set forth in writing and signed by the party so waiving or
Apache, respectively. No waiver by any party or Apache shall operate or be construed as a waiver
in respect of any failure, breach, or default not expressly identified by such written waiver, whether
of a similar or different character, and whether occurring before or after that waiver. No failure to
exercise, or delay in exercising, any right, remedy, power, or privilege arising from this Agreement
shall operate or be construed as a waiver thereof, nor shall any single or partial exercise of any
right, remedy, power, or privilege hereunder preclude any other or further exercise thereof or the
exercise of any other right, remedy, power, or privilege. For the avoidance of doubt, nothing
contained in this Section 12.11 shall diminish any of the explicit and implicit waivers described in
this Agreement.

       Section 12.12 Governing Law. All issues and questions concerning the application,
construction, validity, interpretation, and enforcement of this Agreement shall be governed by and
construed in accordance with the internal laws of the State of Texas, without giving effect to any
choice or conflict of law provision or rule (whether of the State of Texas or any other jurisdiction)
that would cause the application of laws of any jurisdiction other than those of the State of Texas.

        Section 12.13 Submission to Jurisdiction. The parties hereby agree that any suit, action,
or proceeding seeking to enforce any provision of, or based on any matter arising out of or in
connection with, this Agreement or the transactions contemplated hereby, whether in contract, tort,
or otherwise, shall be brought in the federal courts of the United States of America or the courts
of the State of Texas, in each case located in Harris County and in Houston, Texas. Each of the
parties hereby irrevocably consents to the jurisdiction of such courts (and of the appropriate

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appellate courts therefrom) in any such suit, action, or proceeding and irrevocably waives, to the
fullest extent permitted by law, any objection that it may now or hereafter have to the laying of the
venue of any such suit, action, or proceeding in any such court or that any such suit, action, or
proceeding that is brought in any such court has been brought in an inconvenient forum. Service
of process, summons, notice, or other document by registered mail to the address set forth in
Section 12.04 shall be effective service of process for any suit, action, or other proceeding brought
in any such court.

      Section 12.14 Waiver of Jury Trial. EACH PARTY HERETO ACKNOWLEDGES
AND AGREES THAT ANY CONTROVERSY THAT MAY ARISE UNDER THIS
AGREEMENT IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES AND,
THEREFORE, EACH SUCH PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES
ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LEGAL ACTION
ARISING OUT OF RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

        Section 12.15 Equitable Remedies. Each party hereto acknowledges that a breach or
threatened breach by such party of any of its obligations under this Agreement would give rise to
irreparable harm to the other parties or Apache, for which monetary damages would not be an
adequate remedy, and hereby agrees that in the event of a breach or a threatened breach by such
party of any such obligations, each of the other parties hereto and Apache shall, in addition to any
and all other rights and remedies that may be available to them in respect of such breach, be entitled
to equitable relief, including a temporary restraining order, an injunction, specific performance,
and any other relief that may be available from a court of competent jurisdiction (without any
requirement to post bond).

        Section 12.16 Attorney’s Fees. In the event that any party or third-party beneficiary
hereto institutes any legal suit, action, or proceeding, including arbitration, against another party
in respect of a matter arising out of or relating to this Agreement, the prevailing party or third-
party beneficiary in the suit, action, or proceeding shall be entitled to receive, in addition to all
other damages to which it may be entitled, the costs incurred by it in conducting the suit, action,
or proceeding, including reasonable attorneys’ fees and expenses and court costs.

        Section 12.17 Remedies Cumulative. The rights and remedies under this Agreement are
cumulative and are in addition to and not in substitution for any other rights and remedies available
at law or in equity or otherwise, except to the extent expressly provided in Section 9.02 to the
contrary.

        Section 12.18 Counterparts. This Agreement may be executed in counterparts, each of
which shall be deemed an original, but all of which together shall be deemed to be one and the
same agreement. A signed copy of this Agreement delivered by email or other means of Electronic
Transmission shall be deemed to have the same legal effect as delivery of an original signed copy
of this Agreement.

                                   (Signature Page Follows)


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IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of the
date first written above by their respective officers thereunto duly authorized.

                                                   The Company:
                                                   FIELDWOOD ENERGY I LLC,
                                                   a Texas limited liability company


                                                   By:
                                                   [NAME]
                                                   [TITLE]

                                                   The Initial Member:
                                                   []
                                                   a []


                                                   By:
                                                   [NAME]
                                                   [TITLE]




                      Signature Page to Limited Liability Company Agreement of
                                      Fieldwood Energy I LLC

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                                   EXHIBIT A

                     FORM OF TRANSITION SERVICES AGREEMENT




                                    Exh. A-1
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                                 SCHEDULE A

                            MEMBERS SCHEDULE

Member Name, and Address                  Capital          Membership Interest
                                          Contribution

 [                      ]                 $[AMOUNT]        100%
 [ADDRESS]


Total:                                    $[AMOUNT]        100%




                                    Sch. A-1
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                                         SCHEDULE B

                     INDEPENDENT DIRECTOR’S COMPENSATION




[To be the market compensation needed to attract a qualified candidate to accept the position.]




                                            Sch. B-1
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                                         SCHEDULE C

                          SOLE MANAGER’S COMPENSATION



[To be the market compensation needed to attract a qualified candidate to accept the position.]




                                            Sch. C-1
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                                          SCHEDULE D

      ACCOUNTING PROCEDURES FOR APACHE OFFICERS AND EMPLOYEES



I.       DIRECT CHARGES

1.       LABOR

A.    Salaries and wages, including incentive compensation programs as set forth in COPAS
MFI-37 (“Chargeability of Incentive Compensation Programs”), for:

          (1)   Apache’s field employees directly employed on-site in the conduct of plugging and
          abandonment and decommissioning activities with respect to the applicable Legacy
          Apache Property or the GOM Shelf Property, and

          (2)    Apache’s employees providing First Level Supervision.

Charges for Apache’s employees identified in Section I.1.A may be made based on the employee’s
actual salaries and wages, or in lieu thereof, a day rate representing Apache’s average salaries and
wages of the employee’s specific job category.

Charges for personnel chargeable under this Section I.1.A who are foreign nationals shall not
exceed comparable compensation paid to an equivalent U.S. employee pursuant to this Section I.1.

B.     Apache’s cost of holiday, vacation, sickness, and disability benefits, and other customary
allowances paid to employees whose salaries and wages are chargeable under Section I.1.A,
excluding severance payments or other termination allowances. Such costs under this I.1.B may
be charged on a “when and as-paid basis” or by “percentage assessment” on the amount of salaries
and wages chargeable under Section I.1.A. If percentage assessment is used, the rate shall be based
on Apache’s cost experience.

C.      Expenditures or contributions made pursuant to assessments imposed by governmental
authority that are applicable to costs chargeable under Sections I.1.A and B.

D.     Personal expenses of personnel whose salaries and wages are chargeable under Section
I.1.A when the expenses are incurred in connection with directly chargeable activities.

E.      Apache’s cost of established plans for employee benefits, as described in COPAS MFI-27
(“Employee Benefits Chargeable to Joint Operations and Subject to Percentage Limitation”),
applicable to Apache’s labor costs chargeable under Sections I.1.A and B based on Apache’s actual
cost not to exceed 40%.




                                             Sch. D-1
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F.      Award payments to employees, in accordance with COPAS MFI-49 (“Awards to
Employees and Contractors”) for personnel whose salaries and wages are chargeable under Section
I. 1.A.

II. OVERHEAD

As compensation for costs not specifically identified as chargeable pursuant to Section I (Direct
Charges), Apache shall be reimbursed in accordance with this Section II.

Functions included in the overhead rates regardless of whether performed by Apache, Apache’s
Affiliates or third parties and regardless of location, shall include, but not be limited to, costs and
expenses of:

          •       design and drafting
          •       inventory costs
          •       procurement
          •       administration
          •       accounting and auditing
          •       human resources
          •       management
          •       supervision not directly charged under Section I.1 (Labor)
          •       in-house legal services
          •       taxation
          •       preparation and monitoring of permits and certifications; preparing regulatory
          reports; appearances before or meetings with governmental agencies or other authorities
          having jurisdiction over the applicable Legacy Apache Property or GOM Shelf Property,
          other than on-site inspections.

Overhead charges shall include the salaries or wages plus applicable payroll burdens, benefits, and
personal expenses of personnel performing overhead functions, as well as office and other related
expenses of overhead functions.

To compensate Apache for overhead costs incurred in connection with any particular plugging and
abandonment or decommissioning project conducted on any applicable Legacy Apache Property
or GOM Shelf Property, the following overhead rates shall be applied to those costs incurred in
the performance of such plugging, abandonment, and decommissioning activities:

           (1)   5% of total costs if such costs are less than $100,000; plus

          (2)    3% of total costs in excess of $100,000 but less or equal to $1,000,000; plus

          (3)    2% of total costs in excess of $1,000,000.

Total cost shall mean the gross cost of any one project



                                               Sch. D-2
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                                     Exhibit 7

                               ST 308 Bond Form




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                       PERFORMANCE BOND

                                                                                Bond Number:


KNOW ALL MEN BY THESE PRESENTS:

That we, [Fieldwood Energy II LLC, a Texas limited liability company] with its principal office at
[]                                             (hereinafter    called     the      “Principal’”')    and
[] with its principal mailing address at []
(hereinafter called the “Surety””) are held and firmly bound unto Apache Corporation, with its principal
office at 2000 Post Oak Blvd., Suite 100, Houston, TX 77056 (hereinafter called the “Obligee””), in the
penal sum of Thirteen Million Two Hundred Thousand and 00/100 Dollars ($13,200,000.00) (the
“Amount””) lawful money of the United States of America for the payment of which penal sum the
Principal and the Surety bind themselves, their successors and assigns, jointly, severally, and in solido,
firmly by these presents.

WHEREAS, pursuant to the terms of that certain [dated effective                                      by
and between Fieldwood Energy LLC (“Fieldwood”) and Principal (the “Purchase Agreement”)],
Principal acquired from Fieldwood certain interests in the lease described on Exhibit “A” attached
hereto and in the wells, facilities, platforms, structures, pipelines, and associated equipment located
thereon (such interests so acquired collectively, the “Property”); and

WHEREAS, in accordance with the terms of the Purchase Agreement and the documents executed in
connection therewith, Principal (i) assumed the obligations attributable to the Property to perform and
complete the plugging, abandonment, decommissioning, and site clearance for the Properties in
compliance with all applicable law, rules, and regulations (the “P&A Obligations””) (for the avoidance of
doubt, the P&A Obligations do not include any obligations of, or any obligations attributable to the
interests of, Apache Shelf Exploration LLC or any other current co-owner or their successors or assigns
in the Property other than Principal), including but not limited to, the rules and regulations of the Bureau
of Ocean Energy Management (“BOEM”), the Bureau of Safety and Environmental Enforcement
(“BSEE”), and their respective successor agencies and (ii) agreed to deliver to Obligee this Performance
Bond to secure the performance of the P&A Obligations;

NOW THEREFORE, notwithstanding anything contained herein to the contrary, if the P&A
Obligations are satisfied (as evidenced by providing to Obligee evidence reasonably acceptable to
Obligee reflecting that the P&A Obligations have been fully performed, satisfied, and extinguished,
together with an affidavit signed by an officer of Principal attesting to such performance), then this
Bond and the obligations hereunder shall be null and void; otherwise, this Bond shall remain in full
force and effect in the amount hereof; provided that if Principal performs or causes to be performed
operations and activities to satisfy any part of the P&A Obligations, then following BSEE’s approval of
the performance of such operations or activities, the Amount will be automatically reduced to an amount
equal to the lesser of (i) the Amount or (ii) one hundred twenty-five percent (125%) of BSEE’s then
current decommissioning cost estimate for the remaining P&A Obligations.

FURTHERMORE, if as to any Property, a Principal Default, as defined below, occurs and is not cured
and Obligee is required by BOEM, BSEE, or any governmental authority, to perform any of the P&A
Obligations (or a demand is made upon Obligee by a co-obligor of Principal to perform or contribute
toward the costs of performing any of the P&A Obligations following such Principal Default and


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Obligee is required by law or contract to so perform or contribute), then prior to any performance by
Obligee of any such P&A Obligations (or payment of Obligee to such co-obligor of a share of the
estimated costs of performing such P&A Obligations if such demand for such payment is made on
Obligee), Surety agrees to pay to Obligee an amount reasonably estimated by Obligee as necessary or
appropriate to perform such P&A Obligations (or to pay its share of the estimated costs of such P&A
Obligations if such demand is made by such co-obligor following such failure) in an amount up to, but
not exceeding, the Amount. The Amount shall be automatically reduced by any and all amounts paid by
Surety to Obligee.

FURTHERMORE, it is agreed that the Surety shall have no obligation to the Principal, the Obligee, or
any other person or entity for any loss suffered by the Principal, the Obligee, or any other person or
entity by reason of acts or omissions for which Obligee receives payment from the Principal’s general
liability insurance, products liability insurance, or completed operations insurance. In no event shall the
Surety be obligated to incur Surety Costs and/or pay, in the aggregate, for all claims hereunder, an
amount exceeding the Amount.

It is further agreed that the Surety shall not be liable for any hold harmless and/or indemnification
agreements entered into by the Principal in relation to personal injury or property damage or any other
loss sustained by third parties in any way connected to or arising out of the work and/or operations of
any party in forming the P&A Obligations.

If Principal fails to perform any of the P&A Obligations in accordance with the terms of the Purchase
Agreement and/or any applicable laws, rules, regulations, or governmental orders (or to pay its share of
the estimated costs for the P&A Obligations if demand is made by the Principal’s co-obligor which
share is otherwise payable by Obligee upon Principal’s failure to pay) then Principal shall have thirty
(30) days following receipt of notice of default from Obligee in which to fully cure or remedy such
default, provided that the Surety shall have the option to either cure or remedy such default within such
thirty (30) day period by hiring a contractor (subject to Obligee’s prior, reasonable written approval) to
perform such P&A Obligations in accordance with the terms and conditions of the Purchase Agreement
and all applicable laws, rules, regulations, or governmental orders (any such costs incurred by the Surety
to so cure or remedy such default, the “Surety Costs’”) or by making payment to Obligee for such P&A
Obligations in an amount reasonably estimated by Obligee as necessary or appropriate to perform such
P&A Obligations (or to pay its share of the estimated costs for such P&A Obligations if demand is made
by the Principal’s co-obligor in connection with such co-obligor’s performance of such P&A
Obligations) in an amount up to, but not exceeding, the Amount. Obligee agrees to provide Surety with a
copy of each such default notice. If the default covered by such default notice is not cured or remedied
within such thirty (30) day period then upon the expiration of such thirty (30) day period such default
shall constitute a “Principal Default” for purposes of this Bond.

No amendment of or supplement to the terms or provisions of the Purchase Agreement, the agreements
and instruments entered into in association therewith, or the exhibits or schedules attached thereto shall
release the Principal and the Surety or any of them from their liability under this Performance Bond,
notice to the Surety of any such amendment or supplement being hereby waived.

No (i) assignment of the Purchase Agreement, the agreements and instruments entered into in
association therewith, or of the Properties by the Principal, its successors and assigns, (ii) delay, neglect
or failure of the Obligee to proceed promptly to enforce any rights it might have against Principal under
the Purchase Agreement or otherwise or to proceed promptly in the premises in case of any default on
the part of the Principal, (iii) lack of enforceability or other defense or offset right in respect of any


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obligation of Principal or any right to Obligee under the Purchase Agreement or otherwise in respect of
the P&A Obligations, or (iv) the insolvency, bankruptcy, or receivership of Principal, shall in any degree
relieve the Principal and the Surety or any of them of their obligations under this Performance Bond;
and Principal and Surety hereby waive any defense or argument they may in relation to their obligations
under this Performance Bond in connection with any of the foregoing.

HOWEVER, if upon assignment of the Property or any part thereof by the Principal, its successors, or
assigns, the Principal shall cause its assignee (i) to post security with Obligee, in a form and amount
reasonably satisfactory to Obligee and otherwise containing terms and issued by the parties that are
reasonably satisfactory to Obligee (including terms no less favorable in the aggregate to Obligee than
those contained in this Performance Bond and from a surety or other party issuing the applicable
security having a [S&P rating of A- or better or an A.M. Best rating of A- or better and, in either case,
listed on the Federal Register as acceptable to the U.S. Treasury to issue bonds for U.S. government
obligees (T-listed)]) and (ii) to assume (in a written instrument approved by Obligee) all P&A
Obligations, then the Obligee will accept such security in lieu of this Bond and issue an unconditional
release of the Bond within thirty (30) days of Obligee’s acceptance of such other security.

NOTWITHSTANDING ANYTHING HEREIN TO THE CONTRARY, in the event one or more
dual obligee bonds in favor of Obligee and the United States of America acting through and by the
Bureau of Ocean Energy Management (“BOEM”) (i) are delivered to BOEM and Obligee, (ii) contain
terms no less favorable in the aggregate to Obligee than those contained in this Performance Bond, (iii)
are issued by a surety having a [S&P rating of A- or better or an A.M. Best rating of A- or better and, in
either case, listed on the Federal Register as acceptable to the U.S. Treasury to issue bonds for U.S.
government obligees (T-listed)]), (iv) cover all or part of the P&A Obligations, and (v) do not cover any
other obligations (other than the P&A Obligations) such that the penal sum of such bond could be
reduced as a result of the satisfaction or reduction of such other obligations, then the Amount of this
Performance Bond shall automatically be reduced to the positive difference, if any, between the current
Amount and the penal sum of such dual obligee bond(s).

No right or action shall accrue on this Performance Bond to or for the use of any person or corporation
other than the Principal, the Obligee, and their respective heirs, executors, administrators, successors,
and assigns.

This Performance Bond may not be amended, supplemented, or modified except pursuant to a written
instrument duly executed by the Principal, Surety, and Obligee. No course of conduct, dealing, or
performance shall amend, supplement, or modify this Performance Bond unless incorporated into a
written instrument referenced in the preceding sentence.

This Bond shall be governed by and construed in accordance with the laws of the State of Texas,
excluding its conflicts of laws rules and principles. Principal, Surety, and Obligee agree that any dispute
arising out of this Performance Bond shall be brought and heard exclusively in the state or federal courts
sitting in Harris County, Texas, and all of them irrevocably consent to the jurisdiction of said courts and
do hereby waive any objections they may have to the laying of venue in such courts, including
objections based upon grounds that such venue is inconvenient.

The Obligee will issue a release of this Bond within a reasonable time period following the earlier to
occur of (i) its receipt of satisfactory evidence of the full performance, satisfaction, and extinguishment
of the P&A Obligations in accordance with all applicable laws, rules, regulations, and orders, (ii) the full
performance by Surety of its obligations under this Bond and (iii) the incurrence of Surety Costs and/or
the making of payments by the Surety under the Bond of an amount equal to the Amount, in each case,

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no later than thirty (30) days after Obligee’s receipt of evidence reasonably satisfactory to Obligee
reflecting that the P&A Obligations have been fully performed, satisfied, and extinguished in
accordance with all applicable laws, rules, regulations, and orders, which evidence shall include a report
from the proper regulatory authority reflecting such performance, and an affidavit signed by an officer
of the Principal attesting to such performance.

Notwithstanding anything herein to the contrary, Obligee will issue a release of this Bond within a
reasonable time period following the reduction of the Amount to zero.

The Principal and the Surety agree that, notwithstanding any termination of any of the leases or rights of
way that may comprise any part of the Properties, whether pursuant to their terms, by operation of law,
or otherwise, this Performance Bond shall remain in full force and effect until the earlier of to occur of
(i) all P&A Obligations having been truly and faithfully performed, satisfied, and extinguished, (ii) the
full performance by Surety of its obligations under this Bond and (iii) Surety incurring Surety Costs
and/or making payments under this Bond in an amount equal to the Amount.

Surety represents that it (i) is duly authorized by the proper public authorities to transact the business of
indemnity and suretyship in the state where it executed this Performance Bond, and represents that it is
qualified to be surety and guarantor on bonds and undertakings, which certificate has not been revoked;
(ii) has duly executed a power of attorney, appointing the hereinafter named representative as its duly
authorized deputy, as the true and lawful attorney-in-fact of such Surety, upon whom may be served all
lawful process in any action or processing against such Surety in any court or before ay officer, arising
out of or founded upon this Performance Bond or any liability hereunder; and (iii) does hereby agree and
consent that such service, when so made, shall be valid service upon it, and that such appointment shall
continue in force and effect and be irrevocable so long as any liability against it remains outstanding
hereunder.

                           [remainder ofpage blank; signature page follows]




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IN WITNESS WHEREOF, the above bound parties have executed this instrument under their several
seals this [•] day of [•], 2021, the name and corporate seal of each corporate party being hereto affixed
and those presents duly signed by its undersigned representative pursuant to authority of its governing
body.



                                                    I_________________________ 1
                                                    Principal

Attest:

                                                    By:
                                                    Name:
                                                    Title:



                                                    I_________________________ 1
                                                    Surety
Attest:

                                                                                                            By:_
                                                    Name:
                                                    Title:



                                                    Apache Corporation
                                                    Obligee

Attest:

                                                    By:
                                                    Name:
                                                    Title:




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                                            Exhibit “A”

Attached to and made a part of that certain Performance Bond No.dated [•] [•], 2021, by
[                                ], as Principal, [             ], as Surety and Apache
Corporation, as Obligee.



                                         THE PROPERTY

Oil and Gas Lease of Submerged Lands Under the Outer Continental Shelf Lands Act dated effective
June 1, 2000 by and between the United States of America as Lessor and Anadarko Petroleum
Corporation as Lessee, bearing Serial No. OCS-G 21685 and covering all of Block 308, South Timbalier
Area, South Additional, OCS Leasing Map, Louisiana Map No. 6A.

[Oil and Gas Lease of Submerged Lands Under the Outer Continental Shelf Lands Act dated effective
May 1, 2003 by and between the United States of America as Lessor and Magnum Hunter Production,
Inc., as Lessee, bearing Serial No. OCS-G 24987 and covering all of Block 287, South Timbalier Area,
South Additional, OCS Leasing Map, Louisiana Map No. 6A.]


                                        [End of Exhibit “A”]




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                                     Exhibit 8

                           Standby Loan Agreement




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                        STANDBY LOAN AGREEMENT

                                  dated as of

                               __________, 2021

                                   between

                         FIELDWOOD ENERGY I LLC,
                                   and
                              GOM SHELF LLC

                                 as Borrowers,

                                     and

                           APACHE CORPORATION,

                                  as Lender




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                               STANDBY LOAN AGREEMENT

      STANDBY LOAN AGREEMENT dated as of __________, 2021 (as it may be amended,
supplemented or otherwise modified from time to time, this “Agreement”), among
FIELDWOOD ENERGY I LLC, a Texas limited liability company (“Fieldwood”), GOM
SHELF LLC, a Delaware limited liability company (“GOM”, together with Fieldwood, the
“Borrowers”) and APACHE CORPORATION, a Delaware corporation, as Lender.

        The parties hereto agree as follows:

                                           ARTICLE I

                                               Definitions

      Section 1.01 Defined Terms. As used in this Agreement, the following terms have the
meanings specified below:

        “Affiliate” means, with respect to a specified Person, another Person that directly, or
indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the specified Person. For the avoidance of doubt, no Co-Borrower shall constitute
an Affiliate of Lender nor shall Lender constitute an Affiliate of any Co-Borrower.

        “Anti-Corruption Laws” means all state or federal laws, rules, and regulations of any
jurisdiction applicable to the Borrowers from time to time concerning or relating to bribery or
corruption.

        “Apache Bond Rate” means the stated per annum rate of interest charged on the debt
securities most recently issued under an indenture of Apache Corporation or successor thereto as
of the date immediately preceding each Borrowing Request, and if two series of such debt
securities are issued on the same day, the stated per annum rate of interest on the series with a
tenor most comparable to the remaining tenor hereof.

       “Availability Period” means the period from and including the Effective Date to but
excluding the earlier of the Maturity Date and the date of termination of the Commitment.

      “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy”, as
now and hereafter in effect, or any successor statute.

        “BOC” means the Texas Business Organizations Code, as amended and in effect at the
time of this Agreement.

      “Borrower Guarantee” means each certain Guarantee, dated as of the date hereof, by each
Co-Borrower of the other Borrower’s Secured Obligations for the benefit of the Lender, as each
such Guarantee may be amended, restated, supplemented, or otherwise modified from time to
time.




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       “Borrowing Request” means a request by any Co-Borrower for a Loan in accordance
with Section 2.03.

     “Business Day” means any day that is not a Saturday, Sunday or other day on which
commercial banks in Houston, Texas are authorized or required by law to remain closed.

        “Change in Control” means __________1 shall cease to own, free and clear of all Liens
or other encumbrances, 100% of the outstanding voting Equity Interests of Fieldwood and
indirectly through Fieldwood, 100% of the outstanding voting Equity Interests of GOM Shelf, in
each case, on a fully diluted basis.

        “Change in Law” means the occurrence after the date of this Agreement of any of the
following: (a) the adoption or taking effect of any law, rule, regulation or treaty or (b) any
change in any law, rule, regulation or treaty or in the administration, interpretation or application
thereof by any Governmental Authority.

           “Co-Borrower” means any one of the Borrowers.

           “Code” means the Internal Revenue Code of 1986, as amended from time to time.

        “Collateral” means any and all property owned by any Co-Borrower, whether now
existing or hereafter acquired, that may at any time be, become or intended to be, subject to a
security interest or Lien in favor of the Lender, on behalf of the Secured Parties, to secure the
Secured Obligations.

        “Collateral Documents” means, collectively, the Mortgages, the Security Agreement, the
Deposit Account Control Agreement, and any other agreements, instruments, and documents
executed and delivered by the Borrowers in connection with this Agreement that are intended to
create, perfect or evidence Liens to secure the Secured Obligations, including, without limitation,
all other security agreements, pledge agreements, mortgages, deeds of trust, pledges, collateral
assignments, and financing statements, now or hereafter executed by the Borrowers and
delivered to the Lender.

       “Commitment” means the commitment of the Lender to make Loans hereunder in an
aggregate principal amount at any time outstanding up to $200,000,000, as such amount may be
increased pursuant to Section 2.01(b).

           “Compliance Certificate” has the meaning assigned to such term in Section 5.01(c).

        “Confirmation Order” means the confirmation order entered in Chapter 11 Case 20-
33948, In re: Fieldwood Energy LLC, et al, in the United States Bankruptcy Court for the
Southern District of Texas, Houston Division, which, if and to the extent such confirmation order
directly affects the Lender in its capacity as such or pertains to any of the Loan Documents or
other Apache Definitive Documents (as defined in that certain Apache Term Sheet
Implementation Agreement, dated January 1, 2021, by and among Borrowers, Lender, Apache
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    To be completed in a manner mutually agreeable to all parties as a condition to Apache’s execution.




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Shelf, Inc., and Apache Deep Water LLC), shall be in form and substance reasonably acceptable
to the Lender.

         “Consolidated EBITDA” means for the Borrowers, for any period, the sum of
(a) Consolidated Net Income for such period, plus (b) without duplication and to the extent
deducted in determining such Consolidated Net Income (i) interest expense for such period, plus
(ii) income tax expense for such period, plus (iii) consolidated depreciation and amortization for
such period.

        “Consolidated Net Income” means, for any period, the consolidated net income (or loss)
of Fieldwood and its consolidated subsidiaries for such period, as determined in accordance with
GAAP.

       “Contractor” means a Person which is a party in the capacity as prime contractor under
the Decommissioning Contract with any Co-Borrower.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise. “Controlling” and “Controlled” have meanings
correlative thereto.

      “Decommissioning” has the meaning given to such term in the Decommissioning
Agreement.

         “Decommissioning Agreement” means that certain Decommissioning Agreement dated
as of September 30, 2013 by and among Apache Corporation, a Delaware corporation, Apache
Shelf, Inc., a Delaware corporation, and Apache Deepwater LLC, a Delaware limited liability
company, Apache Shelf Exploration LLC, a Delaware limited liability company, Fieldwood
Energy LLC, a Delaware limited liability company, and GOM Shelf LLC, a Delaware limited
liability company, as amended by (i) that certain First Amendment to Decommissioning
Agreement dated as of September 30, 2013, (ii) that certain Second Amendment to
Decommissioning Agreement dated as of September 30, 2013, (iii) that certain Third
Amendment to Decommissioning Agreement dated effective as of April 25, 2017, (iv) that
certain Fourth Amendment to Decommissioning Agreement dated effective as of September 1,
2017 (as such Fourth Amendment to Decommissioning Agreement was amended by that certain
Letter Agreement by and among the Parties dated January 3, 2018), and (v) that certain Fifth
Amendment to Decommissioning Agreement dated effective as of April 11, 2018.

       “Decommissioning Contract” means each services contract in effect from time to time by
and between either or both of the Co-Borrower and any Contractor for all or any portion of the
Decommissioning remaining to be conducted on or after the Effective Date.

       “Decommissioning Plan” has the meaning assigned to such term in Section 4.01(k).

       “Debtor” means Fieldwood Energy LLC.




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      “Default” means any event or condition which constitutes an Event of Default or which
upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

        “Divisive Merger Documents” means the certificate of division, the plan of division, the
certificate of merger and all other documents filed with respect to the Borrowers with the Texas
Secretary of State related to the creation of Fieldwood Energy I LLC and Fieldwood Energy II
LLC.

       “Document” has the meaning assigned to such term in the UCC.

       “dollars” or “$” refers to lawful money of the U.S.

        “Effective Date” means the date on which the conditions specified in Section 4.01 are
satisfied (or waived in accordance with Section 8.02), which shall also be the date on which the
plan of reorganization confirmed by the Confirmation Order becomes effective.

       “Environmental Laws” means all laws, rules, regulations, codes, ordinances, orders,
decrees, judgments, injunctions, notices or binding agreements issued, promulgated or entered
into by any Governmental Authority, relating in any way to the environment, preservation or
reclamation of natural resources, the management, Release or threatened Release of any
Hazardous Material or to health and safety matters.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of any
Co-Borrower, directly or indirectly, resulting from or based upon (a) any violation of any
Environmental Law, (b) the generation, use, handling, transportation, storage, treatment or
disposal of any Hazardous Materials, (c) any exposure to any Hazardous Materials, (d) the
Release or threatened Release of any Hazardous Materials into the environment or (e) any
contract, agreement or other consensual arrangement pursuant to which liability is assumed or
imposed with respect to any of the foregoing.

       “Equipment” has the meaning assigned to such term in the Security Agreement.

        “Equity Interests” means shares of capital stock, partnership interests, membership
interests in a limited liability company, beneficial interests in a trust or other equity ownership
interests in a Person, and any warrants, options or other rights entitling the holder thereof to
purchase or acquire any of the foregoing.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

        “ERISA Affiliate” means any trade or business (whether or not incorporated) that,
together with any Co-Borrower, is treated as a single employer under Section 414(b) or (c) of the
Code or, solely for purposes of Section 302 of ERISA and Section 412 of the Code, is treated as
a single employer under Section 414 of the Code.

       “Event of Default” has the meaning assigned to such term in Article VII.




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        “Excess Cash Flow” means for any fiscal quarter of the Borrowers, the sum, without
duplication, of (a) Consolidated EBITDA for such period, minus (b) voluntary payments on
Indebtedness made by any Co-Borrower minus (c) interest expense paid in cash by any Co-
Borrower during such period, minus (d) the amount of taxes paid in cash by any Co-Borrower
for such period, minus (e) the aggregate amount of interest payments and operating expenditures
estimated for the following three (3) month period, minus (f) the amount of working capital
needed by the Borrowers for the following three (3) months for performance of Borrowers’
obligations under the Decommissioning Agreement, and (g) minus, during 2021 and 2022 only,
the amount (up to an aggregate amount of $80,000,000 during each such year) actually spent by
Borrowers on Decommissioning of the Applicable Properties (as defined in the
Decommissioning Agreement) during each of calendar year 2021 and calendar year 2022.

       “Financial Statements” has the meaning assigned to such term in Section 5.01.

       “Funding Account” has the meaning assigned to such term in Section 4.01(g).

        “GAAP” means generally accepted accounting principles in the U.S in effect from time
to time; provided, that, notwithstanding any term or provision contained in this Agreement or
any other Loan Document, GAAP will be deemed for all purposes hereof to treat leases that
would have not been considered to be Indebtedness in accordance with GAAP as in effect on
December 31, 2017 (whether such leases were in effect on such date or are entered into
thereafter), in a manner consistent with the treatment of such leases under GAAP as in effect on
December 31, 2017, notwithstanding any modification or interpretative changes thereto or
implementations of any such modifications or interpretative changes that may have occurred
thereafter.

     “GOM Shelf Properties” has the meaning given to such term in the Limited Liability
Company Agreement of Fieldwood.

        “Governmental Authority” means the government of the U.S., any other nation or any
political subdivision thereof, whether state or local, and any agency, authority, instrumentality,
regulatory body, court, central bank or other entity exercising executive, legislative, judicial,
taxing, regulatory or administrative powers or functions of or pertaining to government.

        “Guarantee” of or by any Person (the “guarantor”) means any obligation, contingent or
otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other obligation of any other Person (the “primary obligor”) in any manner,
whether directly or indirectly, and including any obligation of the guarantor, direct or indirect,
(a) to purchase or pay (or advance or supply funds for the purchase or payment of) such
Indebtedness or other obligation or to purchase (or to advance or supply funds for the purchase
of) any security for the payment thereof, (b) to purchase or lease property, securities or services
for the purpose of assuring the owner of such Indebtedness or other obligation of the payment
thereof, (c) to maintain working capital, equity capital or any other financial statement condition
or liquidity of the primary obligor so as to enable the primary obligor to pay such Indebtedness
or other obligation or (d) as an account party in respect of any letter of credit or letter of guaranty
issued to support such Indebtedness or obligation; provided that the term Guarantee shall not
include endorsements for collection or deposit in the ordinary course of business.



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        “Hazardous Materials” means: (a) any substance, material, or waste that is included
within the definitions of “hazardous substances,” “hazardous materials,” “hazardous waste,”
“toxic substances,” “toxic materials,” “toxic waste,” or words of similar import in any
Environmental Law; (b) those substances listed as hazardous substances by the United States
Department of Transportation (or any successor agency) (49 C.F.R. 172.101 and amendments
thereto) or by the Environmental Protection Agency (or any successor agency) (40 C.F.R. Part
302 and amendments thereto); and (c) any substance, material, or waste that is petroleum,
petroleum-related, or a petroleum by-product, asbestos or asbestos-containing material,
polychlorinated biphenyls, flammable, explosive, radioactive, freon gas, radon, or a pesticide,
herbicide, or any other agricultural chemical.

        “Indebtedness” of any Person means, without duplication, (a) all obligations of such
Person for borrowed money, (b) all obligations of such Person evidenced by bonds, debentures,
notes or similar instruments, (c) all obligations of such Person upon which interest charges are
customarily paid, (d) all obligations of such Person under conditional sale or other title retention
agreements relating to property acquired by such Person, (e) all obligations of such Person in
respect of the deferred purchase price of property or services (excluding current accounts
payable incurred in the ordinary course of business), (f) all Indebtedness of others secured by (or
for which the holder of such Indebtedness has an existing right, contingent or otherwise, to be
secured by) any Lien on property owned or acquired by such Person, whether or not the
Indebtedness secured thereby has been assumed (to the extent of the value of the property of
such Person securing such Indebtedness), (g) all Guarantees by such Person of Indebtedness of
others, (h) all capital lease obligations of such Person, (i) all obligations, contingent or otherwise,
of such Person as an account party in respect of letters of credit and letters of guaranty, (j) all
obligations, contingent or otherwise, of such Person in respect of bankers’ acceptances and (k)
obligations under any liquidated earn-out.

       “Indemnitee” has the meaning assigned to such term in Section 8.03(b).

       “Inventory” has the meaning assigned to such term in the UCC.

       “JDA” means that certain Joint Development Agreement dated as of the Effective Date
by and among the Borrowers and Fieldwood Energy II LLC.

      “JOA” means each and every Joint Operating Agreement in effect from time to time by
and among the Borrowers, Fieldwood Energy II LLC and third parties, if any.

       “Leases” has the meaning given to such term in the Decommissioning Agreement.

      “LC Drawing Amount” has the meaning given to such term in the Decommissioning
Agreement.

     “Legacy Apache Properties” has the meaning given to such term in the Limited Liability
Company Agreement of Fieldwood.

       “Lender” means Apache Corporation, its successors and permitted assigns.




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      “Letters of Credit” has the meaning given to such term in the Decommissioning
Agreement and includes all letters of credit outstanding from time to time pursuant to the
Decommissioning Agreement.

        “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge,
hypothecation, encumbrance, charge or security interest in, on or of such asset, (b) the interest of
a vendor or a lessor under any conditional sale agreement, capital lease or title retention
agreement (or any financing lease having substantially the same economic effect as any of the
foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
similar right of a third party with respect to such securities.

        “Limited Liability Company Agreement of Fieldwood” or “Fieldwood’s Limited
Liability Company Agreement” means that certain Limited Liability Company Agreement of
Fieldwood dated as of the date hereof, as may be amended, supplemented, or otherwise modified
from time to time with the prior written approval of Lender.

        “Loan Documents” means, collectively, this Agreement, the promissory note issued
pursuant to this Agreement, each Collateral Document, each Borrower Guarantee, and each other
agreement, instrument, document and certificate identified in Section 4.01 executed and
delivered by the Borrowers to, or in favor of, the Lender and including each other pledge, power
of attorney, consent, assignment, contract, notice, and each other agreement, now or hereafter
executed by or on behalf of the Borrowers and delivered to the Lender in connection with this
Agreement. Any reference in this Agreement or any other Loan Document to a Loan Document
shall include all appendices, exhibits or schedules thereto, and all amendments, restatements,
supplements or other modifications thereto, and shall refer to this Agreement or such Loan
Document as the same may be in effect at any and all times such reference becomes operative.

       “Loans” means any loan made pursuant to Section 2.01.

     “Manager” has the meaning given to such term in Fieldwood’s Limited Liability
Company Agreement.

       “Master Facilities Agreement” means the Master Facilities Use, Access, Production
Handling and Transportation Agreement dated as of September 30, 2013 by and among Lender,
Apache Shelf, Inc., Apache Deepwater LLC, Apache Shelf Exploration LLC, Fieldwood Energy
LLC and GOM.

       “Material Adverse Effect” means a circumstance or condition that could, individually or
in the aggregate, materially adversely affect the business, assets, operations, properties, or
condition (financial or otherwise) of the Borrowers and their subsidiaries, taken as a whole.

       “Material Contract” means each of (i) the Decommissioning Agreement, (ii) the
Decommissioning Contract, (iii) the JOA, (iv) the JDA, (v) the Turnkey Removal Contract, (vi)
the Trust A Trust Agreement, (vii) the Trust A NPI Conveyance, (viii) the Trust A-1 NPI
Conveyance (ix) the Letters of Credit, (x) the Permitted Surety Bonds, (xi) the
Recharacterization Mortgages, (xii) the PSA, (xiii) the Master Facilities Agreement and (xiv)
other Transaction Documents, in each case, as in effect from time to time.



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        “Maturity Date” means the earliest to occur of (a) termination of the Decommissioning
Agreement, (b) expiration of the period comprised of the fifth (5th) anniversary of the Effective
Date (the “Initial Period”) and automatic successive 12-month periods thereafter until the tenth
(10th) anniversary of the Effective Date, each expiring on the next anniversary of the Effective
Date (each an “Annual Period”), unless no later than 60 days before expiration of the Initial
Period or the then Annual Period, as applicable, Lender has delivered written notice to
Borrowers that the Maturity Date will occur upon expiration of the Initial Period or the then
Annual Period, respectively (if the same is a Business Day, or if not then the immediately next
succeeding Business Day), and (c) any date on which the Commitment is reduced to zero or
otherwise terminated pursuant to the terms of Article VII.

       “Maximum Rate” means the maximum rate of nonusurious interest permitted from day to
day by applicable law, including Chapter 303 of the Texas Finance Code (the “Finance Code”)
(and as the same may be incorporated by reference in other Texas statutes). To the extent that
Chapter 303 of the Finance Code is relevant to Lender for the purposes of determining the
Maximum Rate, the Lender may elect to determine such applicable legal rate pursuant to the
“weekly ceiling,” from time to time in effect, as referred to and defined in Chapter 303 of the
Code; subject, however, to the limitations on such applicable ceiling referred to and defined in
the Finance Code, and further subject to any right the Lender may have subsequently, under
applicable law, to change the method of determining the Maximum Rate.

      “Mortgages” means, collectively, the mortgages or deed of trust executed by the
Borrowers to the Lender providing a Lien on all Real Property owned or leased by such
Borrowers.

     “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA.

        “Note” means the promissory note executed by the Borrowers payable to the Lender, in
substantially the form of Exhibit A attached hereto, as same may be amended, extended or
modified and all promissory notes executed in renewal, extension, modification or substitution
thereof.

        “Permitted Liens” means, with respect to any Person, (a) pledges or deposits by such
Person under workmen’s compensation laws, unemployment insurance laws or similar
legislation, or good faith deposits in connection with bids, tenders, contracts (other than for the
payment of Indebtedness) or leases to which such Person is a party, or deposits to secure
plugging and abandonment obligations or public or statutory obligations of such Person or
deposits of cash or U.S. government bonds to secure surety or appeal bonds to which such
Person is a party, or deposits as security for contested taxes or import duties or for the payment
of rent, in each case incurred in the ordinary course of business; (b) Liens imposed by law, such
as landlords’, carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s, construction
or other like Liens securing obligations that are not overdue by more than 30 days or that are
being contested in good faith by appropriate proceedings or other Liens arising out of judgments
or awards against such Person with respect to which such Person shall then be proceeding with
an appeal or other proceedings for review; (c) Liens for taxes, assessments or other governmental
charges not yet due or payable or that are being contested in good faith by appropriate



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proceedings and for which adequate reserves in accordance with GAAP shall have been set aside
on its books; (d) Liens pursuant to partnership agreements, oil, gas and/or mineral leases, farm-
out agreements, division orders, contracts for the sale, delivery, purchase, exchange, or
processing of oil, gas and/or other hydrocarbons, unitization and pooling declarations and
agreements, operating agreements, development agreements, area of mutual interest agreements,
forward sales of oil, natural gas and natural gas liquids, and other agreements which are
customary in the oil, gas and other mineral exploration, development and production business
and in the business of processing of gas and gas condensate production for the extraction of
products therefrom; (e) any easements, rights of way, restrictions, defects or other exceptions to
title and other similar encumbrances incurred in the ordinary course of business which, in the
aggregate, are not substantial in amount, are not incurred to secure Indebtedness, and which do
not in any case materially detract from the value of the property subject thereto or interfere with
the ordinary conduct of the businesses of the Borrowers; (f) Liens existing by operation of law
that cannot be abrogated by contract for rights of setoff in a depository relationship with banks
and non-negotiable contractual rights of setoff in customary documentation establishing a
depository account with a bank, in each case, not granted in connection with the issuance of
Indebtedness, and bankers Liens and rights and remedies as to deposit accounts and (g) Liens
created under the Recharacterization Mortgages.

      “Permitted Surety Bonds” has the meaning given to such term in the Decommissioning
Agreement.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

       “Plan” means any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of
ERISA, and in respect of which any Co-Borrower or any ERISA Affiliate is (or, if such plan
were terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as
defined in Section 3(5) of ERISA.

       “Projections” has the meaning assigned to such term in Section 3.09.

       “PSA” has the meaning given to such term in the Decommissioning Agreement.

        “Real Property” means all real property that was, is now, or may hereafter be owned,
occupied, or otherwise controlled by any Co-Borrower pursuant to any contract of sale, lease or
other conveyance of any legal interest in any real property to any Co-Borrower.

     “Recharacterization Mortgages” has the meaning given to such term in the
Decommissioning Agreement.

        “Related Parties” means, with respect to any specified Person, such Person’s Affiliates
and the respective directors, officers, partners, members, trustees, employees, agents,
administrators, managers, representatives and advisors of such Person and such Person’s
Affiliates.




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        “Related Party Agreement” means any agreement, arrangement, or understanding
between or among any Co-Borrower or any of its Affiliates, on the one hand, and the
independent director of Fieldwood, the sole manager of Fieldwood or any member or officer of
any Co-Borrower or any of its Affiliates, or any Affiliate of the independent director of
Fieldwood, the sole manager of Fieldwood or any member or officer of a Co-Borrower or any of
its Affiliates, on the other.

       “Release” means any releasing, spilling, leaking, pumping, pouring, emitting, emptying,
discharging, injecting, escaping, leaching, migrating, disposing, or dumping of any Hazardous
Materials into the environment.

     “Remaining Decommissioning” has the meaning given to such term in the
Decommissioning Agreement.

       “Requirement of Law” means, with respect to any Person, any statute, law (including
common law), treaty, rule, regulation, code, ordinance, order, decree, writ, judgment, injunction
or determination of any arbitrator or court or other Governmental Authority (including
Environmental Laws), in each case applicable to or binding upon such Person or any of its
property or to which such Person or any of its property is subject.

        “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any Equity Interests, or any payment (whether in
cash, securities or other property) including any sinking fund or similar deposit, on account of
the purchase, redemption, retirement, acquisition, cancellation or termination of any such Equity
Interests or any option, warrant or other right to acquire any such Equity Interests.

       “Restructuring Support Agreement” means the Restructuring Support Agreement, dated
as of August 4, 2020, by and among (a) Fieldwood Energy LLC, a Delaware limited liability
company, and including the Fieldwood PSA Parties (as defined therein); (b) the Consenting
FLTL Lenders (as defined therein); (c) the Consenting SLTL Lenders (as defined therein); and
(d) Lender.

         “Sanctioned Country” means, at any time, a country or territory which is the subject or
target of any Sanctions.

        “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related
list of designated Persons maintained by the Office of Foreign Assets Control of the U.S.
Department of the Treasury or the U.S. Department of State, (b) any Person operating, organized
or resident in a Sanctioned Country or (c) any Person controlled by any such Person.

       “Sanctions” means economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by the U.S. government, including those
administered by the Office of Foreign Assets Control of the U.S. Department of the Treasury or
the U.S. Department of State.

       “Secured Obligations” means (a) all unpaid principal of and accrued and unpaid interest
on the Loans, (b) all accrued and unpaid fees and all expenses, reimbursements, indemnities and



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other obligations and indebtedness (including interest and fees accruing during the pendency of
any bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether
allowed or allowable in such proceeding), (c) all costs and expenses, including all attorneys’ fees
and legal expenses, incurred by Lender to preserve and maintain the Collateral, collect the
obligations described herein or described in the other Loan Documents, and enforce this
Agreement, the Security Agreement, the Mortgage or any rights under any other Loan
Documents, (d) the obligation to reimburse any amount that Lender (in its sole and absolute
discretion) elects to pay or advance on behalf of any Co-Borrower following the occurrence of
an Event of Default, (e) obligations and liabilities of the Borrowers to the Lender, any Secured
Party or any indemnified party, individually or collectively, existing on the Effective Date or
arising thereafter, direct or indirect, joint or several, absolute or contingent, matured or
unmatured, liquidated or unliquidated, secured or unsecured, arising by contract, operation of
law or otherwise, in all cases arising or incurred under this Agreement, under any of the other
Loan Documents, under the Decommissioning Agreement or in respect of any of the Loans made
or any reimbursement or other obligations incurred under any of the foregoing, (f) all amounts
owed under any extension, renewal, or modification of any of the foregoing and (g) any of the
foregoing that arises after the filing of a petition by or against any Co-Borrower under the
Bankruptcy Code, even if the obligations due do not accrue because of the automatic stay under
Bankruptcy Code § 362 or otherwise; in each case with respect to clauses (a) through (e) above,
whether or not (i) such Secured Obligations arise or accrue before or after the filing by or against
any Co-Borrower of a petition under the Bankruptcy Code, or any similar filing by or against any
Co-Borrower under the laws of any jurisdiction, or any bankruptcy, insolvency, receivership or
other similar proceeding, (ii) such Secured Obligations are allowable under Section 502(b)(2) of
the Bankruptcy Code or under any other insolvency proceedings, (iii) the right of payment in
respect of such Secured Obligations is reduced to judgment, or (iv) such Secured Obligations are
liquidated, unliquidated, similar, dissimilar, related, unrelated, direct, indirect, fixed, contingent,
primary, secondary, joint, several, or joint and several, matured, disputed, undisputed, legal,
equitable, secured, or unsecured.

      “Secured Parties” means (a) the Lender, (b) Apache Shelf, Inc., Apache Deepwater LLC
and Apache Shelf Exploration LLC, and (c) the successors and assigns of each of the foregoing.

        “Security Agreement” means that certain Security Agreement (including any and all
supplements thereto), dated as of the date hereof, among the Borrowers and the Lender, for the
benefit of the Secured Parties, and any other pledge or security agreement entered into, after the
date of this Agreement by any Co-Borrower (as required by this Agreement or any other Loan
Document) or any other Person for the benefit of the Lender, on behalf of the Secured Parties, as
the same may be amended, restated, supplemented or otherwise modified from time to time.

        “Service Provider” means, collectively, any service provider hired by the sole manager of
Fieldwood pursuant to Section 7.04 of the Limited Liability Company Agreement of Fieldwood
to perform all operations and plugging and abandonment and decommissioning activities with
respect to the Borrowers’ properties or assets.

       “subsidiary” means, with respect to any Person (the “parent”) at any date, any
corporation, limited liability company, partnership, association or other entity of which securities
or other ownership interests representing more than 50% of the equity or more than 50% of the


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ordinary voting power or, in the case of a partnership, more than 50% of the general partnership
interests are, as of such date, owned, controlled or held by the parent or one or more subsidiaries
of the parent or by the parent and one or more subsidiaries of the parent.

      “Suspension Period” has the meaning given to such term in the Decommissioning
Agreement.

       “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, or other charges in the nature of a tax
imposed by any Governmental Authority, including any interest, additions to tax or penalties
applicable thereto.

      “Texas Divided LLC” means any Texas LLC which has been formed upon
consummation of a Texas LLC Division.

        “Texas LLC” means any limited liability company organized or formed under the laws of
the State of Texas.

       “Texas LLC Division” means the statutory division of any Texas LLC into two or more
Texas LLC’s pursuant to the BOC.

      “Transaction Documents” has the meaning given to such term in the Decommissioning
Agreement.

        “Transactions” means the execution, delivery and performance by the Borrowers of this
Agreement and the other Loan Documents, the borrowing of Loans and the use of the proceeds
thereof.

       “Trust A” has the meaning given to such term in the Decommissioning Agreement.

      “Trust A Account” has the meaning given to such term in the Decommissioning
Agreement.

     “Trust A Funding Default” means the Funding Default (as defined in the
Decommissioning Agreement) in respect of January 2021 in the amount of [$50 million].

       “Trust A Funding Default Loan” means a Loan in an amount up to and sufficient to cure
the Trust A Funding Default.

      “Trust A NPI Conveyance” has the meaning given to such term in the Decommissioning
Agreement.

     “Trust A-1 NPI Conveyance” has the meaning given to such term in the
Decommissioning Agreement.

      “Trust A Trust Agreement” has the meaning given to such term in the Decommissioning
Agreement.




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     “Turnkey Removal Contract” has the meaning given to such term in the
Decommissioning Agreement.

        “UCC” means the Uniform Commercial Code as in effect from time to time in the State
of Texas or in any other state, the laws of which are required to be applied in connection with the
issue of perfection of security interests.

       “U.S.” means the United States of America.

        Section 1.02 Terms Generally. The definitions of terms herein shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words
“include”, “includes” and “including” shall be deemed to be followed by the phrase “without
limitation”. The word “law” shall be construed as referring to all statutes, rules, regulations,
codes and other laws (including official rulings and interpretations thereunder having the force of
law or with which affected Persons customarily comply) and all judgments, orders and decrees
of all Governmental Authorities. The word “will” shall be construed to have the same meaning
and effect as the word “shall”. Unless the context requires otherwise (a) any definition of or
reference to any agreement, instrument or other document herein shall be construed as referring
to such agreement, instrument or other document as from time to time amended, restated,
supplemented or otherwise modified (subject to any restrictions on such amendments,
restatements, supplements or modifications set forth herein), (b) any definition of or reference to
any statute, rule or regulation shall be construed as referring thereto as from time to time
amended, supplemented or otherwise modified (including by succession of comparable successor
laws), (c) any reference herein to any Person shall be construed to include such Person’s
successors and assigns (subject to any restrictions on assignments set forth herein) and, in the
case of any Governmental Authority, any other Governmental Authority that shall have
succeeded to any or all functions thereof, (d) the words “herein”, “hereof” and “hereunder”, and
words of similar import, shall be construed to refer to this Agreement in its entirety and not to
any particular provision hereof, (e) all references herein to Articles, Sections, Exhibits and
Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
this Agreement, (f) any reference in any definition to the phrase “at any time” or “for any period”
shall refer to the same time or period for all calculations or determinations within such definition,
and (g) the words “asset” and “property” shall be construed to have the same meaning and effect
and to refer to any and all tangible and intangible assets and properties, including cash,
securities, accounts and contract rights.

        Section 1.03 Accounting Terms; GAAP. Except as otherwise expressly provided
herein, all terms of an accounting or financial nature shall be construed in accordance with
GAAP; provided that, if after the date hereof there occurs any change in GAAP or in the
application thereof on the operation of any provision hereof and the Borrowers notify the Lender
that the Borrowers request an amendment to any provision hereof to eliminate the effect of such
change in GAAP or in the application thereof (or if the Lender notifies the Borrowers that the
Lender requests an amendment to any provision hereof for such purpose), regardless of whether
any such notice is given before or after such change in GAAP or in the application thereof, then
such provision shall be interpreted on the basis of GAAP as in effect and applied immediately
before such change shall have become effective until such notice shall have been withdrawn or


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such provision amended in accordance herewith. Notwithstanding any other provision contained
herein, all terms of an accounting or financial nature used herein shall be construed, and all
computations of amounts and ratios referred to herein shall be made (a) without giving effect to
any election under Financial Accounting Standards Board Accounting Standards Codification
825-10-25 (or any other Accounting Standards Codification or Financial Accounting Standard
having a similar result or effect) to value any Indebtedness or other liabilities of the Borrowers at
“fair value”, as defined therein and (b) without giving effect to any treatment of Indebtedness in
respect of convertible debt instruments under Financial Accounting Standards Board Accounting
Standards Codification 470-20 (or any other Accounting Standards Codification or Financial
Accounting Standard having a similar result or effect) to value any such Indebtedness in a
reduced or bifurcated manner as described therein, and such Indebtedness shall at all times be
valued at the full stated principal amount thereof.

                                           ARTICLE II

                                           The Advances

       Section 2.01 Loans; Commitment Increase.

        (a)     Subject to the terms and conditions set forth herein, the Lender agrees to make
one or more revolving loans to the Borrowers from time to time during the Availability Period in
an aggregate principal amount at any time outstanding up to but not exceeding the Commitment.
The Lender shall have no obligation to make any Loan if a Default or Event of Default has
occurred and is continuing. Within the foregoing limits and subject to the terms and conditions
set forth herein, the Borrowers may borrow, prepay and reborrow hereunder.

        (b)     At any time prior to the Maturity Date, the Borrowers, acting jointly, may request
an increase in the Commitment (the “Commitment Increase”); provided that the Commitment
Increase shall be subject to Lender’s approval and satisfaction of each of the following
conditions, all in Lender’s sole discretion: (i) the Commitment Increase shall not cause the
Commitment to exceed $400,000,000, (ii) at the time of such request and on the effective date of
the Commitment Increase, both before and after giving effect thereto, no Default or Event of
Default shall exist, (iii) the Borrowers shall deliver to Lender a joint written request for the
Commitment Increase at least ten (10) Business Days prior to the desired effective date thereof,
and (iv) together with such request, Borrowers shall deliver (A) a certificate of the Manager of
each Co-Borrower stating that (1) the representations and warranties of such Co-Borrower
contained in the Loan Documents are true and correct as though made on and as of the effective
date of such Commitment Increase (it being understood and agreed that any representation or
warranty which by its terms is made as of a specified date shall be required to be true and correct
only as of such specified date, and (2) on the effective date of the Commitment Increase and after
giving effect thereto, no Default or Event of Default shall have occurred and be continuing, and
(B) resolutions of each Co-Borrower authorizing the Commitment Increase, in form and
substance reasonably satisfactory to Lender. Upon Lender’s approval of the Commitment
Increase in its sole discretion, satisfaction of each of the foregoing conditions in Lender’s sole
discretion, and delivery to Lender of a duly executed amended and restated Revolving Note in
the amount of the Commitment (upon giving effect to the Commitment Increase), the
Commitment Increase shall become effective.


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        Section 2.02 The Note. The obligation of the Borrowers to repay the Loans shall be
evidenced by the Note executed by the Borrowers, payable to the Lender, in the principal amount
of the Commitment.

        Section 2.03 Borrowing Procedures; Requests for Borrowings. To request a Loan, any
Co-Borrower shall notify the Lender of such request in writing (delivered by hand, fax or e-mail)
in the form attached hereto as Exhibit B and signed by such Co-Borrower not later than 10:00
a.m., Houston time, five (5) Business Days before the date of the proposed Loan. Each such
Borrowing Request shall be irrevocable. Each such written Borrowing Request shall specify the
following information:

       (a)     the aggregate amount of the requested Loan, which amount shall be consistent
with the applicable Borrowing Package;

          (b)    the date of such Loan, which shall be a Business Day; and

          (c)    the aggregate principal amount of all Loans then outstanding.

        Section 2.04 Funding of Borrowings. The Lender shall make each Loan to be made by
it hereunder on the proposed date thereof available to the requesting Co-Borrower by wire
transfer to the Funding Account.

          Section 2.05 Repayment of Loans.

       (a)    Borrowers, jointly and severally, hereby unconditionally promises to pay the
Lender the then unpaid principal amount of each Loan on the Maturity Date.

          (b)    Repayments of Loans shall be accompanied by accrued interest on the amounts
repaid.

          Section 2.06 Prepayment of Loans.

      (a)    The Borrowers shall have the right at any time and from time to time to prepay
any Loan in whole or in part, without penalty or premium.

        (b)      Within five (5) Business Days after the quarterly financial statements have been
delivered pursuant to Section 5.01(b), the Borrowers shall prepay the Loans in an amount equal
to 100% of Excess Cash Flow for the immediately preceding fiscal quarter. Each Excess Cash
Flow payment shall be accompanied by a certificate signed by the Manager certifying the
manner in which Excess Cash Flow and the resulting prepayment were calculated, which
certificate shall be in form and substance reasonably satisfactory to Lender.

          Section 2.07 Interest.

      (a)     Each Loan shall bear interest at a rate per annum equal to the applicable Apache
Bond Rate plus 4%. Following receipt of any Borrowing Request, Lender shall promptly notify
Borrowers of the Apache Bond Rate that will be applicable to the requested Loan.




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        (b)    Notwithstanding the foregoing, during the occurrence and continuance of an
Event of Default, the Lender may, at its option, by notice to the Borrowers, declare that all Loans
shall bear interest at a rate per annum equal to 2% plus the rate otherwise applicable to such
Loans as provided in the preceding paragraph of this Section.

        (c)     All accrued unpaid interest on each Loan shall be payable semiannually on
January 31st and July 31st of each year during the term of this Agreement (unless such date is
not a Business Day in which the payment is due on the next succeeding Business Day) and on
the Maturity Date, with the first installment of interest due and payable on the first such date
following the making of the initial Loan hereunder until the principal amount of each such Loan
is paid in full. Notwithstanding the forgoing, interest accrued pursuant to paragraph (b) of this
Section shall be payable on demand and in the event of any repayment or prepayment of any
Loan, accrued interest on the principal amount repaid or prepaid shall be payable on the date of
such repayment or prepayment.

         (d)    All interest hereunder shall be computed on the basis of a year of 365 days (or
366 days in a leap year), and shall be payable for the actual number of days elapsed (including
the first day but excluding the last day).

       Section 2.08 Payments Generally; Allocation of Proceeds.

        (a)     Each Borrower shall make each payment required to be made by it hereunder
(whether of principal, interest, fees, or otherwise) prior to 5:00 p.m., Houston time, on the date
when due, in immediately available funds, without set-off or counterclaim, and each Borrower
shall be jointly and severally liable for all such payment obligations. Any amounts received after
such time on any date may, in the discretion of the Lender, be deemed to have been received on
the next succeeding Business Day for purposes of calculating interest thereon. All such
payments shall be made to the Lender to such account as the Lender shall from time to time
specify in a notice to the Borrowers. If any payment hereunder shall be due on a day that is not a
Business Day, the date for payment shall be extended to the next succeeding Business Day, and,
in the case of any payment accruing interest, interest thereon shall be payable for the period of
such extension. All payments hereunder shall be made in dollars.

        (b)     Any proceeds of Collateral received by the Lender after an Event of Default has
occurred and is continuing and if the Lender so elects, such funds shall be applied ratably first, to
pay any fees, indemnities, or expense reimbursements including amounts then due to the Lender,
in its capacity as such, from the Borrowers, second, to pay interest then due and payable on the
Loans ratably, third, to prepay principal on the Loans, and fourth, to the payment of any other
Secured Obligation due to the Secured Parties from the Borrowers, and finally, to the Borrowers
or otherwise as required by law or court order. The Lender shall have the continuing and
exclusive right to apply and reverse and reapply any and all proceeds and payments received
pursuant to the first sentence of this clause (b) to any portion of the Secured Obligations.

        Section 2.09 Indemnity for Returned Payments. If after receipt of any payment which
is applied to the payment of all or any part of the Secured Obligations (including a payment
effected through exercise of a right of setoff), the Lender is for any reason compelled to
surrender such payment or proceeds to any Person because such payment or application of



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proceeds is invalidated, declared fraudulent, set aside, determined to be void or voidable as a
preference, impermissible setoff, or a diversion of trust funds, or for any other reason (including
pursuant to any settlement entered into by the Lender in its discretion), then the Secured
Obligations or part thereof intended to be satisfied shall be revived and continued and this
Agreement shall continue in full force as if such payment or proceeds had not been received by
the Lender. The provisions of this Section 2.09 shall be and remain effective notwithstanding
any contrary action which may have been taken by the Lender in reliance upon such payment or
application of proceeds. The provisions of this Section 2.09 shall survive the termination of this
Agreement.

                                          ARTICLE III

                                 Representations and Warranties

       To induce Lender to enter into this Agreement, each Co-Borrower represents and
warrants to the Lender that:

        Section 3.01 Organization; Powers. Each Co-Borrower (i) is duly organized, validly
existing and in good standing under the laws of the jurisdiction of its organization, (ii) has all
requisite power and authority to carry on its business as now conducted and is qualified to do
business in, and (iii) is in good standing in every jurisdiction where such qualification is
required.

        Section 3.02 Authorization; Enforceability. The Transactions are within each Co-
Borrower’s organizational powers and have been duly authorized by all necessary organizational
actions and, if required, actions by equity holders. Each Loan Document to which such Co-
Borrower is a party has been duly executed and delivered by such Co-Borrower and constitutes a
legal, valid and binding obligation of such Co-Borrower, enforceable in accordance with its
terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium or other laws
affecting creditors’ rights generally and subject to general principles of equity, regardless of
whether considered in a proceeding in equity or at law.

        Section 3.03 Governmental Approvals; No Conflicts. The Transactions (a) do not
require any consent or approval of, registration or filing with, or any other action by, any
Governmental Authority, except such as have been obtained or made and are in full force and
effect and except for filings necessary to perfect Liens created pursuant to the Loan Documents,
(b) will not violate such Co-Borrower’s organizational documents or any Requirement of Law
applicable to such Co-Borrower, (c) will not violate or result in a default under any indenture,
agreement or other instrument binding upon a Co-Borrower or the assets of such Co-Borrower,
or give rise to a right thereunder to require any payment to be made by such Co-Borrower, and
(d) will not result in the creation or imposition of any Lien on any asset of such Co-Borrower,
except Liens created pursuant to the Loan Documents.

       Section 3.04 Properties.

       (a)    As of the date of this Agreement, Schedule 3.04(a) sets forth the address of each
parcel of Real Property that is owned or leased by any Co-Borrower. Each of the leases and



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subleases listed on Schedule 3.04(a) is valid and enforceable in accordance with its terms and is
in full force and effect, and no default by any party to any such lease or sublease exists. Each
Co-Borrower has good and indefeasible title to, or valid leasehold interests in, all of its real and
personal property.

        (b)     Each Co-Borrower owns, or is licensed to use, all trademarks, tradenames,
copyrights, patents and other intellectual property necessary to its business as currently
conducted, a correct and complete list of which, as of the date of this Agreement, is set forth on
Schedule 3.04(b), and the use thereof by such Co-Borrower does not infringe in any material
respect upon the rights of any other Person, and each Co-Borrower’s rights thereto are not
subject to any licensing agreement or similar arrangement.

       Section 3.05 Litigation and Environmental Matters.

       (a)    Except as disclosed to the Lender in writing, there are no actions, suits or
proceedings by or before any arbitrator or Governmental Authority pending against or to the
knowledge of any Co-Borrower, threatened against or affecting such Co-Borrower or that
involve any Loan Document or the Transactions.

        (b)    Except as disclosed to the Lender in writing, no Co-Borrower (1) has received
notice of any claim with respect to any Environmental Liability or knows of any basis for any
Environmental Liability, and (2) no Co-Borrower (i) has failed to comply with any
Environmental Law or to obtain, maintain or comply with any permit, license or other approval
required under any Environmental Law or (ii) has become subject to any Environmental
Liability, except, in the case of each of (1) and (2)(i) and (ii), as would not reasonably be
expected to have a Material Adverse Effect.

       Section 3.06 Compliance with Laws and Agreements; No Default. Except as disclosed
to the Lender in writing, each Co-Borrower is in compliance in all material respects with all
Requirements of Law applicable to it or its property, except for Decommissioning obligations for
which Lender has received notice of such Co-Borrower’s non-compliance from the applicable
Governmental Authority. No Default has occurred and is continuing.

       Section 3.07 Taxes. Each Co-Borrower has timely filed or caused to be filed all income
and other material Tax returns and reports required to have been filed and has paid or caused to
be paid all income and other material Taxes required to have been paid by it, except Taxes that
are not yet delinquent or that are being contested in good faith by appropriate proceedings and
for which adequate reserves in accordance with GAAP shall have been set aside by such Co-
Borrower on its books. No Tax liens have been filed on the assets of any Co-Borrower, and no
claims are being asserted in writing by any Governmental Authority with respect to any unpaid
Taxes of such Co-Borrower (other than those being contested in good faith by appropriate
proceedings).

       Section 3.08 ERISA. No Co-Borrower nor any ERISA Affiliate maintains or
contributes to, or has any obligation under, any Plan.




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        Section 3.09 Disclosure. The reports, financial statements, certificates and other
information (other than forward-looking information (the “Projections”) or information of a
general economic or industry specific nature) furnished in writing by or on behalf of the
Borrowers to the Lender in connection with the negotiation of this Agreement or any other Loan
Document (as modified or supplemented by other information so furnished), taken as a whole, do
not contain any material misstatement of fact or omit to state any material fact necessary to make
the statements therein, taken as a whole, in the light of the circumstances under which they were
made, not materially misleading; provided that, with respect to Projections, the Borrowers
represent only that such information was prepared in good faith based upon assumptions
believed to be reasonable at the time delivered.

        Section 3.10 Material Contracts. No Co-Borrower is in default in the performance,
observance or fulfillment of any of the obligations, covenants or conditions contained in any
Material Contract (excluding any default resulting from such Co-Borrower’s failure to comply
with the reimbursement obligations in Section 2.7 of the Decommissioning Agreement). Except
as disclosed on Schedule 3.10, no Co-Borrower is obligated by more than (i) $100,000 under any
individual contract, commitment, or other liability or obligation or (ii) $500,000 in the aggregate
under all such contracts, commitments, liabilities, or obligations, and in the case of (i) and (ii),
excluding Material Contracts, this Agreement, and any other contract to which Co-Borrower is a
party or by which it or its properties are bound and which was entered into in the ordinary course
of business, is not material to Co-Borrower, and will not adversely affect its ability to perform its
obligations under the Loan Documents.

        Section 3.11 Insurance. Schedule 3.11 sets forth a description of all insurance
maintained by or on behalf of the Borrowers as of the Effective Date. As of the Effective Date,
all premiums in respect of such insurance have been paid. Each Co-Borrower believes that the
insurance maintained by it is adequate and is customary for companies engaged in the same or
similar businesses operating in the same or similar locations.

        Section 3.12 Security Interest in Collateral. The provisions of this Agreement and the
other Loan Documents create legal and valid Liens on all the Collateral in favor of the Lender
and such Liens constitute (or will constitute upon completion of the filings and other actions
required pursuant to the Loan Documents) perfected and continuing Liens on the Collateral to
the extent required to be perfected pursuant to the Loan Documents, securing the Secured
Obligations, (a) enforceable against the Borrowers and all third parties in accordance with the
terms hereof and thereof, subject only to applicable bankruptcy, insolvency, reorganization,
moratorium or other laws affecting creditors’ rights generally and subject to general principles of
equity, regardless of whether considered in a proceeding in equity or at law, and (b) having
priority over all other Liens (other than Permitted Liens) on the Collateral.

       Section 3.13 Use of Proceeds. The proceeds of the Loans have been used and will be
used, whether directly or indirectly as set forth in Section 5.08.

       Section 3.14 Anti-Corruption Laws and Sanctions. Each Co-Borrower is in compliance
with Anti-Corruption Laws and applicable Sanctions in all material respects. No Borrowing, use
of proceeds, Transaction or other transaction contemplated by this Agreement or the other Loan
Documents will violate Anti-Corruption Laws or applicable Sanctions.



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        Section 3.15 Affiliate Transactions. Other than any transaction permitted pursuant to
Section 6.09, there are no existing or proposed agreements, arrangements, understandings or
transactions between or among any Co-Borrower and any Affiliates of a Co-Borrower, or
between or among any Affiliate of a Co-Borrower or any subsidiary of any Co-Borrower.

       Section 3.16 Solvency. The fair market value of each Co-Borrower’s assets exceeds,
and after giving effect to each Loan will exceed, such Co-Borrower’s total liabilities (including
subordinated, liquidated, unliquidated, disputed, and contingent liabilities and commitments
excepting only asset retirement obligations). The fair saleable value of each Co-Borrower’s
property exceeds, and after giving effect to each Loan will exceed, the amount required to pay its
debts and other liabilities (including subordinated, liquidated, unliquidated, disputed, and
contingent liabilities and commitments excepting only asset retirement obligations) as such debts
and other liabilities mature. Each Co-Borrower is, and after giving effect to each Loan will be,
able to pay its debts and liabilities (including subordinated, liquidated, unliquidated, disputed,
and contingent liabilities and commitments excepting only asset retirement obligations) as such
debts and other liabilities mature. Each Co-Borrower’s assets do not, after giving effect to each
Loan will not, constitute unreasonably small capital to carry out its business as conducted or as
proposed to be conducted, excluding only asset retirement obligations from such determination.
For purposes of this Section, each reference to asset retirement obligations mean those which
would be reflected on a balance sheet conforming with the requirements of Section 5.01 hereof.

                                          ARTICLE IV

                                           Conditions

        Section 4.01 Effective Date. The obligations of the Lender to make Loans hereunder
shall not become effective until the date on which each of the following conditions is satisfied
(or waived in accordance with Section 8.02) and, subject thereto, shall become effective
simultaneously with confirmation of the plan of reorganization pursuant to the Confirmation
Order:

       (a)     Credit Agreement and Loan Documents. The Lender (or its counsel) shall have
received (i) a counterpart of this Agreement signed by the Borrowers and (ii) duly executed
copies of the other Loan Documents in form and substance satisfactory to Lender.

        (b)    Certificates; Certified Certificate of Incorporation; Good Standing Certificates.
The Lender shall have received (i) a certificate of each Co-Borrower, dated the Effective Date
and executed by an authorized Person of such Co-Borrower, which shall (A) certify the
resolutions adopted by written consent of the Manager of such Co-Borrower authorizing the
execution, delivery and performance of the Loan Documents to which it is a party, (B) identify
by name and title and bear the signature of each Person authorized to sign on behalf of such Co-
Borrower the Loan Documents to which it is a party, and (C) contain appropriate attachments,
including the Divisive Merger Documents certified by the Texas Secretary of State and a true
and correct copy of its limited liability company agreement, and (ii) a certificate of fact for of
such Co-Borrower from the Texas Secretary of State.




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       (c)     Manager’s Certificate. The Lender shall have received a certificate, signed by the
Manager or other appropriately authorized Person of each Co-Borrower, dated as of the Effective
Date (i) stating that no Default has occurred and is continuing, and (ii) stating that the
representations and warranties contained in the Loan Documents are true and correct as of such
date.

        (d)    Fees and Expenses. The Lender shall have received all fees required to be paid
and all expenses required to be reimbursed for which invoices have been submitted on or prior to
the Effective Date (including the reasonable fees and expenses of legal counsel).

       (e)     Confirmation Order. The Lender or its counsel shall have received a signed copy
of the Confirmation Order and notice that the effective date of the plan of reorganization
contained therein has occurred.

       (f)    Lien Releases. The Lender shall have received satisfactory evidence that all
Liens granted upon any of the property of the Borrowers constituting Collateral (other than
Permitted Liens) are terminated as of the Effective Date.

       (g)    Funding Account. The Lender shall have received a notice setting forth the
deposit account of each Co-Borrower (each a “Funding Account”, collectively, the “Funding
Accounts”) to which the Lender is authorized by such Co-Borrower to transfer the proceeds of
any Borrowings requested or authorized pursuant to this Agreement.

       (h)    Control Agreements. The Lender shall have received deposit account control
agreements for the Funding Accounts and each operating account of Borrowers required to be
provided pursuant to the Security Agreement.

        (i)     Filings, Registrations and Recordings. Each document (including any Uniform
Commercial Code financing statement) required by the Collateral Documents or under law or
reasonably requested by the Lender to be filed, registered or recorded in order to create in favor
of the Lender, for the benefit of the Secured Parties, a perfected Lien on the Collateral described
therein, prior and superior in right to any other Person (other than with respect to Liens expressly
permitted by Section 6.02), shall be in proper form for filing, registration or recordation.

       (j)     Insurance. The Lender shall have received evidence of insurance coverage in
form, scope, and substance reasonably satisfactory to the Lender and otherwise in compliance
with the terms of Section 5.10 of this Agreement.

       (k)     [Intentionally Blank]

        (l)    Capitalization. Lender shall have received written evidence, in form and
substance satisfactory to Lender, that the capitalization funds received by the Borrowers upon
their formation in the amount of $50,000,000 has been fully utilized under the Decommissioning
Plan during the bankruptcy of the Debtor or any unused amount has been funded to the Funding
Account.

       (m)     Material Contracts. Lender shall have received copies of all Material Contracts.



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        (n)     Financial Information. The Lender shall have received (i) an unaudited
consolidated balance sheet of Borrowers and their subsidiaries as of the Effective Date and (ii)
historical lease operating statements for the assets of each Co-Borrower and its subsidiaries for
each month during the 24-month period immediately preceding the Effective Date, and in the
case of (i) and (ii), in form and substance reasonably satisfactory to Lender and after giving
effect to the divisive merger that is part of the plan of reorganization confirmed by the
Confirmation Order.

       (o)     Other Documents. The Lender shall have received such other documents as the
Lender or its counsel may have reasonably requested, including a customary written opinion or
opinions of the Borrowers’ counsel as to due authorization, execution and delivery, and
enforceability of the Loan Documents and perfection of the security interests granted thereby,
addressed to the Lender, in form and substance satisfactory to the Lender, and rendered by Weil
Gotshal & Manges LLP or a comparable law firm satisfactory to Lender.

The Lender shall notify the Borrowers of the Effective Date, and such notice shall be conclusive
and binding.

        Section 4.02 Each Credit Event. The obligation of the Lender to make (i) each Loan
under Article II hereof (other than a Trust A Funding Default Loan) is subject to the satisfaction
of the following conditions and (ii) the Trust A Funding Default Loan is subject to the
satisfaction of the following conditions except conditions (c), (e), (k), and (l):

        (a)     The representations and warranties of each Co-Borrower set forth in the Loan
Documents shall be true and correct with the same effect as though made on and as of the date of
such Borrowing (it being understood and agreed that any representation or warranty which by its
terms is made as of a specified date shall be required to be true and correct only as of such
specified date.

       (b)    At the time of and immediately after giving effect to such Loan, no Default shall
have occurred and be continuing.

       (c)   All amounts in the Trust A Account, the Letters of Credit, and the Permitted
Surety Bonds have been fully exhausted or are not available to pay or reimburse Lender for
Decommissioning.

       (d)    The Decommissioning Agreement is in full force and effect, has not been
terminated and has become the obligation of the Borrowers under the Confirmation Order and/or
the Divisive Merger Documents.

        (e)    Other than any Co-Borrower’s failure to comply with the reimbursement
obligations in Section 2.7 of the Decommissioning Agreement, there are no uncured events that
constitute or would result in the nonperformance, default, or breach by any Co-Borrower under
the Decommissioning Agreement.

     (f)    Since the Effective Date, none of the events set forth in Article VII of the
Decommissioning Agreement have occurred, nor has any Co-Borrower assigned, conveyed, sold,



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farmed out or otherwise transferred any of the Leases other than with respect to (i) farmout
transactions consummated in accordance with Section 7.06 of the Limited Liability Company
Agreement of Fieldwood and (ii) conveyances or other transfers consummated in accordance
with the JOA or JDA.

      (g)     Since the Effective Date, no Co-Borrowers has received cash from the Trust A
Account, including, but not limited to, pursuant to Section 4.3(b) and Section 4.5 of the
Decommissioning Agreement.

      (h)  Since the Effective Date, no Co-Borrowers has caused a reduction in the LC
Drawing Amount, including, not limited to, pursuant to Section 4.3(b) of the Decommissioning
Agreement.

       (i)     A Suspension Period shall not have commenced and be continuing.

       (j)     Lender has received a copy of the Decommissioning Contract, in form and
substance satisfactory to the Lender, for the Decommissioning to be funded with a borrowing,
together with a schedule showing (i) all subcontracts awarded as of the Borrowing Request,
including names, types of work, subcontract amounts and percentage retainage provided in said
subcontracts, (ii) the amount of general conditions and an estimate of value for each subcontract
not awarded as of such date, and (iii) a total overall schedule of value.

        (k)     Lender shall have received the following in form and substance reasonably
satisfactory to Lender (collectively, a “Borrowing Package”, together with any amendments,
modifications or supplements of the same) at least ten (10) Business Days prior to the date of the
requested Loan (which, for the avoidance of doubt, may be submitted in advance of the
identification of a proposed borrowing date):

               (i)    a certification from Borrowers in favor of Lender that (i) the
       Decommissioning to be made with the proceeds of a proposed Borrowing Request is
       contemplated by the Decommissioning Plan then in effect (both as to amount of such
       requested Loan and as to the timing of such requested Loan), (ii) that the proposed use of
       the proceeds therefrom is for cost and expenses in compliance with the Decommissioning
       Plan then in effect and (iii) Borrowers shall have sufficient funds (on a pro forma basis
       (reasonably projected, on a good faith basis) after giving effect to the Loan requested) to
       pay all accrued interest due under Section 2.07(c) for the following six (6) month period;

               (ii)   a certification from the Contractor in the form acceptable to Lender with
       respect to the requested Loan, detailing the Decommissioning covered or to be covered
       by the Borrowing, itemizing any estimated costs and expenses of such Decommissioning
       and/or including copies of invoices itemizing costs and expenses incurred with respect to
       such Decommissioning, as applicable;

               (iii) partial lien waivers or releases of lien for all lienable work done and
       materials delivered with respect to such Decommissioning covered in the request, to the
       extent applicable (for purposes of clarity, this only applies to work performed prior to the
       date of the Borrowing Package);



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               (iv)    to the extent not previously delivered to Lender, copies of all permits,
       orders, certificates, licenses and approvals required under applicable Requirements of
       Law for the Decommissioning (collectively, the “Required Approvals”) as of the date of
       the requested Loan and copies of all subcontracts; provided, however, with respect to any
       Required Approvals that have not been issued as of the date of submission of a
       Borrowing Package, Co-Borrower shall include with the Borrowing Package Co-
       Borrower’s certification and covenant in form and substance reasonably satisfactory to
       Lender that (i) Co-Borrower has received from the applicable Governmental Authority
       indication that such Required Approvals will be issued to Co-Borrower, specifying the
       expected time of issuance thereof, (ii) Co-Borrower diligently shall pursue such Required
       Approvals, and (iii) Co-Borrower promptly shall deliver to Lender copies of such
       Required Approvals upon receipt thereof; provided further, however, Lender shall have
       discretion to decline any Borrowing Request that is not preceded or accompanied by
       copies of all Required Approvals; and

               (v)    such additional documentation reasonably requested by Lender.

      (l)    Decommissioning Plan. Lender and Borrowers shall have agreed to a
decommissioning plan in form and substance reasonably acceptable to Lender (the
“Decommissioning Plan”).

                                          ARTICLE V

                                     Affirmative Covenants

        Until the Commitment shall have expired or been terminated and the principal of and
interest on each Loan and all fees payable hereunder shall have been paid in full, in each case
without any pending draw, each Co-Borrower covenants and agrees with the Lender that:

       Section 5.01 Financial Statements and Other Information. Fieldwood will furnish to
the Lender:

        (a)    within 105 days after the end of each fiscal year, its audited consolidated balance
sheet and related consolidated statements of operations, members’ equity and cash flows as of
the end of and for such year prepared under AICPA auditing standards, setting forth in each case
in comparative form the figures for the previous fiscal year, all reported on by independent
public accountants acceptable to the Lender (without a “going concern” or like qualification,
commentary, or exception (except to the extent that any such qualification, commentary, or
exception expressly indicates that after giving effect to the exclusion of asset retirement
obligations reflected on the accompanying balance sheet, there would be no such qualification,
commentary, or exception), and without any qualification or exception as to the scope of such
audit) to the effect that such consolidated financial statements present fairly in all material
respects the consolidated financial condition and results of operations of the Borrowers in
accordance with GAAP consistently applied;

       (b)     within 50 days after the end of each of its fiscal quarters (including the fourth
quarter), its consolidated balance sheet and related consolidated statements of operations,



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members’ equity and cash flows as of the end of and for such fiscal quarter and the then elapsed
portion of such fiscal year, setting forth in each case in comparative form the figures for the
corresponding period or periods of (or, in the case of the balance sheet, as of the end of) the
previous fiscal year, all certified by Fieldwood as presenting fairly in all material respects the
consolidated financial condition and results of operations of the Borrowers in accordance with
GAAP consistently applied, subject to normal year-end audit adjustments and the absence of
footnotes;

        (c)      concurrently with any delivery of financial statements under clause (a) or
(b) above (collectively or individually, as the context requires, the “Financial Statements”), a
certificate of the Manager of Fieldwood in substantially the form of Exhibit C (the “Compliance
Certificate”) (i) certifying as to whether a Default has occurred and, if a Default has occurred,
specifying the details thereof and any action taken or proposed to be taken with respect thereto,
and (ii) to the extent any Loan has been advanced hereunder, certifying that Borrowers have
sufficient funds to pay all accrued interest due under Section 2.07(c) for the following six (6)
month period;

        (d)     as soon as available, but in any event no later than 60 days after the end of each
fiscal year, commencing with the fiscal year ending December 31, 2020, a detailed operating
budget for the next fiscal year forecasting revenue, operating costs, and capital expenses for each
fiscal quarter in form reasonably satisfactory to the Lender;

       (e)     as soon as available, but in no event later than 15 Business Days after the end of
each calendar month, a statement in a form reasonably satisfactory to Lender showing all
operating data including operating expenses and revenue for each Co-Borrower for such calendar
month; and

       (f)     promptly following any request therefor, such other information regarding the
operations, business affairs and financial condition of each Co-Borrower, or compliance with the
terms of this Agreement, as the Lender may reasonably request, including, without limitation,
Decommissioning cost estimates and calculations.

      Section 5.02 Notices of Material Events. Each Co-Borrower will furnish to the Lender
prompt (but in any event within five (5) Business Days) after each Co-Borrower obtains
knowledge thereof) written notice of the following:

       (a)     the occurrence of any Default;

          (b)    receipt of any notice of any investigation by a Governmental Authority or any
litigation or proceeding commenced or threatened against any Co-Borrower that (i) seeks
damages in excess of $250,000, (ii) alleges criminal misconduct by any Co-Borrower,
(iii) alleges the violation of, or seeks to impose remedies under any Environmental Law or
related Requirement of Law, or seeks to impose Environmental Liability, or (iv) asserts liability
on the part of any Co-Borrower in excess of $250,000 in respect of any tax, fee, assessment, or
other governmental charge; or




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        (c)     a breach by any Co-Borrower of any covenant under the Decommissioning
Agreement (other than Borrowers’ failure to comply with the reimbursement obligations in
Section 2.7 of the Decommissioning Agreement); provided that, if a written notice of such
breach has been given to Lender in connection with the Decommissioning Agreement, such
notice shall not be required to be provided under this Section 5.02.

Each notice delivered under this Section shall be accompanied by a statement of the applicable
authorized Person of each Co-Borrowers setting forth the details of the event or development
requiring such notice and any action taken or proposed to be taken with respect thereto.

        Section 5.03 Existence; Conduct of Business. Each Co-Borrower will (a) do or cause
to be done all things necessary to preserve, renew and keep in full force and effect its legal
existence and the rights, qualifications, licenses, permits, franchises, governmental
authorizations, intellectual property rights, licenses and permits material to the conduct of its
business, and maintain all requisite authority to conduct its business in each jurisdiction in which
its business is conducted and (b) carry on and conduct its business in substantially the same
manner and in substantially the same fields of enterprise as it is presently conducted.

       Section 5.04 Payment of Obligations. Each Co-Borrower will pay or discharge all
other material liabilities and obligations, including Taxes, before the same shall become
delinquent or in default, except those which are being contested by Borrowers in good faith by
appropriate proceedings and for which adequate reserves in accordance with GAAP shall have
been set aside on its books.

       Section 5.05 Maintenance of Properties. The Borrowers will keep and maintain all
property material to the conduct of its business in good working order and condition, ordinary
wear and tear and performance of its obligations under the Decommissioning Agreement
excepted; provided, however, that nothing in this Agreement shall provided, however, that
nothing in this Agreement shall prevent the Borrowers from relinquishing or allowing any
Leases to expire or terminate, in each case in the ordinary course of the Borrowers’ business.

        Section 5.06 Books and Records; Inspection Rights. Each Co-Borrower will (a) keep
proper books of record and account in which full, true and correct entries are made of all
dealings and transactions in relation to its business and activities and (b) permit any
representatives designated by the Lender (including employees of the Lender or any consultants,
accountants, lawyers, agents and appraisers retained by the Lender), upon reasonable prior
notice, during normal business hours, to visit and inspect its properties, conduct at such Co-
Borrower’s premises field examinations of such Co-Borrower’s assets, liabilities, books and
records, including examining and making extracts from its books and records, and to discuss its
affairs, finances and condition with its officers and independent accountants, all at such
reasonable times, as often as reasonably requested at the Borrowers’ expense.

        Section 5.07 Compliance with Laws and Material Contractual Obligations. Each Co-
Borrower will (a) comply with each Requirement of Law applicable to it or its property
(including, without limitation, Environmental Laws) in all material respects and (b) perform in
all material respects its obligations under material agreements to which it is a party. Each Co-
Borrower will enforce policies and procedures designed to ensure compliance by such Co-



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Borrower, and its directors, officers, employees and agents with Anti-Corruption Laws and
applicable Sanctions.

       Section 5.08 Use of Proceeds.

      (a)     The proceeds of the Loans (except the Trust A Funding Default Loan) will be
used only for payment or reimbursement of costs associated with plugging, facility and well
removal and abandonment, and other actions permitted or required by the Decommissioning
Agreement. The proceeds of the Trust A Funding Default Loan will be used only to fund Trust
A.

        (b)     No Co-Borrower will request or use any Borrowing and shall procure that its
directors, officers, employees and agents shall not use, the proceeds of any Borrowing (i) in
furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Corruption Laws, (ii) for
the purpose of funding, financing or facilitating any activities, business or transaction of or with
any Sanctioned Person, or in any Sanctioned Country or (iii) in any manner that would result in
the violation of any Sanctions applicable to any party hereto.

        Section 5.09 Accuracy of Information. Each Co-Borrower will ensure that, other than
the Projections described below, any information, including financial statements or other
documents, material to the Loan Documents or the transactions contemplated thereby, furnished
in writing to the Lender by the Manager of such Co-Borrower in connection with this Agreement
or any other Loan Document or any amendment or modification hereof or thereof or waiver
hereunder or thereunder contains no material misstatement of fact or omits to state any material
fact, in each case necessary to make the statements therein, in the light of the circumstances
under which they were made and taken as a whole, not misleading; provided that, with respect to
the Projections, each Co-Borrower will cause the Projections to be prepared in good faith based
upon assumptions believed to be reasonable at the time.

        Section 5.10 Insurance. Each Co-Borrower will maintain with financially sound and
reputable carriers having a financial strength rating of at least A- by A.M. Best Company (a)
insurance in such amounts (with no greater risk retention) and against such risks and such other
hazards, as is customarily maintained by companies of established repute engaged in the same or
similar businesses operating in the same or similar locations and (b) all insurance required
pursuant to the Collateral Documents. Each Co-Borrower will furnish to the Lender information
in reasonable detail as to the insurance so maintained.

        Section 5.11 Further Assurances. Each Co-Borrower will execute and deliver such
further instruments as may be reasonably requested by Lender to carry out the provisions and
purposes of this Agreement and the other Loan Documents and to preserve and perfect the Liens
of Lender in the Collateral.




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                                          ARTICLE VI

                                      Negative Covenants

        Until the Commitment shall have expired or been terminated and the principal of and
interest on each Loan and all fees, expenses and other amounts payable under any Loan
Document shall have been paid in full, each Co-Borrower covenants and agrees with the Lender
that:

        Section 6.01 Indebtedness. No Co-Borrower will create, incur, assume or suffer to
exist any Indebtedness, except the Secured Obligations.

       Section 6.02 Liens. No Co-Borrowers will create, incur, assume or permit to exist any
Lien on any property or asset now owned or hereafter acquired by it, or assign or sell any income
or revenues (including Accounts) or rights in respect of any thereof, except for Permitted Liens.

       Section 6.03 Fundamental Changes.

       (a)     No Co-Borrower will enter into a fundamental business transaction (as defined in
the BOC) including a merger, consolidation, interest exchange, conversion or sale of all or
substantially all of such Co-Borrower’s Real Property or other assets (including, in each case,
pursuant to a Texas LLC Division).

      (b)      No Co-Borrower will wind-up, dissolve, liquidate, or terminate or initiate any
bankruptcy, insolvency or similar proceeding.

       (c)    No Co-Borrower will file any motion seeking to amend, modify or alter, in any
way, the Confirmation Order.

       (d)     No Co-Borrower will (i) revoke any voluntary decision to wind-up or cancel the
required winding up of such Co-Borrower due to an event specified in Section 11.051 of the
BOC or (ii) reinstate such Co-Borrower after termination.

        (e)      No Co-Borrower will (i) conduct or be involved in any business or operations
other than operating or plugging and abandoning and decommissioning the Legacy Apache
Properties or the GOM Shelf Properties or (ii) engage in any activity or take any action with
respect to its properties or assets, other than in the ordinary course of business.

        (f)     No Co-Borrower will change its fiscal year or any fiscal quarter from the basis in
effect on the date hereof.

       (g)     No Co-Borrowers will change the accounting basis upon which its financial
statements are prepared.

       Section 6.04 Investments, Loans, Advances, Guarantees and Acquisitions. No Co-
Borrower will form any subsidiary or enter into any joint venture or similar business
arrangement after the date hereof, or purchase, hold or acquire any Equity Interests, evidences of
Indebtedness or other securities (including any option, warrant or other right to acquire any of


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the foregoing) of, make or permit to exist any loans, advances or capital contributions to,
Guarantee (except for the Borrower Guarantees) any obligations of, or make or permit to exist
any investment or any other interest in, any other Person, or purchase, farm-in or otherwise
acquire any assets of any other Person, except:

       (a)     farm-in or farmout transactions consummated in accordance with Section 7.06 of
the Limited Liability Company Agreement of Fieldwood; and

       (b)     conveyances or other transfers consummated in accordance with the JOA or JDA.

       Section 6.05 Asset Sales. No Co-Borrower will sell, transfer (including any disposition
of property to a Texas Divided LLC pursuant to a Texas LLC Division), farmout, lease or
otherwise dispose of any asset, including any Equity Interest owned by it, except:

       (a)     farmout transactions consummated in accordance with Section 7.06 of the
Limited Liability Company Agreement of Fieldwood; and

       (b)     conveyances or other transfers consummated in accordance with the JOA or JDA.

        Section 6.06 Sale and Leaseback Transactions. No Co-Borrower will enter into any
arrangement, directly or indirectly, whereby it shall sell or transfer any property, real or personal,
used or useful in its business, whether now owned or hereafter acquired, and thereafter rent or
lease such property or other property that it intends to use for substantially the same purpose or
purposes as the property sold or transferred.

        Section 6.07 Swap Agreements. No Co-Borrower will enter into any swap agreement
(other than for physical swaps of less than one year in duration) without the Lender’s prior
consent in its sole discretion.

        Section 6.08 Restricted Payments; Certain Payments of Indebtedness. No Co-
Borrower will declare or make, directly or indirectly, any Restricted Payment, or incur any
obligation (contingent or otherwise) to do so.

        Section 6.09 Transactions with Affiliates. No Co-Borrower will (a) enter into, amend,
waive any provision of, or any of its rights under, or terminate any Related Party Agreement or
(b) sell, lease or otherwise transfer any property or assets to, or purchase, lease or otherwise
acquire any property or assets from, or otherwise engage in any other transactions with, any of its
Affiliates, except (i) farmout transactions consummated in accordance with Section 7.06 of the
Limited Liability Company Agreement of Fieldwood, (ii) conveyances or other transfers
consummated in accordance with the JOA or JDA and (iii) the transition services agreement
entered into between any Co-Borrower and Fieldwood Energy II as of even date herewith, as
may be amended or replaced in its entirety.

        Section 6.10 Restrictive Agreements. No Co-Borrower will enter into, incur or permit
to exist any agreement or other arrangement that prohibits, restricts or imposes any condition
upon the ability of such Co-Borrower to create, incur or permit to exist any Lien upon any of its
property or assets securing the Secured Obligations.



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       Section 6.11 Amendment of Organizational Documents; Material Contracts. (a) No
Co-Borrower will (i) amend, modify, supplement or waive any provision of, or any of its rights
under, its certificate of formation or organization, as applicable, its limited liability company
agreement or any other organizational document of such Co-Borrower or (ii) issue additional
Equity Interests or admit additional Persons as members under the limited liability company
agreement of such Co-Borrower.

        (b)      No Co-Borrower will (i) amend, modify, supplement, or waive any provision of,
or any of its rights under, or terminate any Material Contract, or (ii) enter into any joint operating
agreement with respect to the operatorship of the Real Properties or any joint development
agreement relating to the Real Properties except as otherwise permitted in Sections 6.04 or 6.05
hereof.

        Section 6.12 Amendment or Termination of Material Relationships. No Co-Borrower
will (a) remove, replace or materially change the work to be performed by the Service Provider
or (b) remove, replace or materially change the powers, rights or responsibilities of the sole
manager or independent director of Fieldwood.

       Section 6.13 Excess Cash Flow. No Co-Borrower shall use Excess Cash Flow for any
purpose other than fulfilling its Secured Obligations and obligations under the Decommissioning
Agreement.

                                           ARTICLE VII

                                         Events of Default

       If any of the following events (“Events of Default”) shall occur:

        (a)   the Borrowers shall fail to pay (i) any principal of any Loan or (ii) any interest on
any Loan or other amount payable under this Agreement or any other Loan Document when and
as the same shall become due and payable, whether at the due date thereof or at a date fixed for
prepayment thereof or otherwise and, in the case of clause (ii), such failure shall continue for five
(5) Business Days;

        (b)      any representation or warranty made or deemed made by or on behalf of any Co-
Borrower in or in connection with this Agreement or any other Loan Document or any
amendment or modification hereof or thereof or waiver hereunder or thereunder, or in any report,
certificate, financial statement or other document furnished by any Co-Borrower pursuant to or
in connection with this Agreement or any other Loan Document or any amendment or
modification hereof or thereof or waiver hereunder or thereunder, shall prove to have been
materially incorrect when made or deemed made;

      (c)     any Co-Borrower shall fail to observe or perform any covenant, condition or
agreement contained in Sections 5.01, 5.02(a), 5.03, 5.08 or 5.10 or in Article VI;

      (d)    any Co-Borrower shall fail to observe or perform any covenant, condition or
agreement contained in this Agreement or any other Loan Document (other than those specified



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in clause (a) or (c) of this Article), and such failure shall continue unremedied for a period of
thirty (30) days after the earlier of such Co-Borrower’s knowledge of such breach or notice
thereof from the Lender if such breach relates to terms or provisions of any other Section of this
Agreement or of any other Loan Document;

        (e)     an involuntary proceeding shall be commenced or an involuntary petition shall be
filed seeking (i) liquidation, reorganization or other relief in respect of any Co-Borrower or its
debts, or of a substantial part of its assets, under any federal, state or foreign bankruptcy,
insolvency, receivership or similar law now or hereafter in effect or (ii) the appointment of a
receiver, trustee, custodian, sequestrator, conservator or similar official for any Co-Borrower or
for a substantial part of its assets, and, in any such case, such proceeding or petition shall
continue undismissed for sixty (60) days or an order or decree approving or ordering any of the
foregoing shall be entered;

         (f)     any Co-Borrower shall (i) voluntarily commence any proceeding or file any
petition seeking liquidation, reorganization or other relief under any federal, state or foreign
bankruptcy, insolvency, receivership or similar law now or hereafter in effect, (ii) consent to the
institution of, or fail to contest in a timely and appropriate manner, any proceeding or petition
described in clause (e) of this Article, (iii) apply for or consent to the appointment of a receiver,
trustee, custodian, sequestrator, conservator or similar official for any Co-Borrower or for a
substantial part of its assets, (iv) file an answer admitting the material allegations of a petition
filed against it in any such proceeding, (v) make a general assignment for the benefit of creditors
or (vi) take any action for the purpose of effecting any of the foregoing;

       (g)      any Co-Borrower shall become unable, admit in writing its inability, or publicly
declare its intention not to, or fail generally, to pay its debts as they become due;

       (h)    one or more judgments for the payment of money in an aggregate amount in
excess of $250,000 (to the extent not covered by insurance) shall be rendered against any Co-
Borrower and the same shall remain undischarged for a period of thirty (30) consecutive days
during which execution shall not be effectively stayed, or any action shall be legally taken by a
judgment creditor to attach or levy upon any assets of any Co-Borrower to enforce any such
judgment or any Co-Borrower shall fail within thirty (30) days to discharge one or more non-
monetary judgments or orders;

       (i)     a Change in Control shall occur;

        (j)      except as permitted by the terms of any Collateral Document, (i) any Collateral
Document shall for any reason fail to create a valid security interest in any Collateral purported
to be covered thereby, or (ii) any Lien securing any Secured Obligation shall cease to be a
perfected, first priority Lien;

       (k)     any Collateral Document or any Borrower Guarantee shall (other than pursuant to
the terms thereof) fail to remain in full force or effect or any action shall be taken by any Co-
Borrower to discontinue or to assert the invalidity or unenforceability of any Collateral
Document or any Borrower Guarantee;




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        (l)     any material provision of any Loan Document for any reason ceases to be valid,
binding and enforceable in accordance with its terms (or any Co-Borrower shall challenge the
enforceability of any Loan Document or shall assert in writing, or engage in any action or
inaction that evidences its assertion, that any provision of any of the Loan Documents has ceased
to be or otherwise is not valid, binding and enforceable in accordance with its terms);

       (m)    any default (other than a failure to comply with the reimbursement obligations in
Section 2.7 of the Decommissioning Agreement) by any Co-Borrower shall occur under the
Decommissioning Agreement;

      (n)     any default under a Material Contract which could result in the termination of
such Material Contract; and

       (o)     any breach of Article VII (Management) of Fieldwood’s Limited Liability
Company Agreement or any failure to obtain Lender’s prior written consent in accordance with
any provision of Fieldwood’s Limited Liability Company Agreement;

then, and in every such event (other than an event with respect to a Co-Borrower described in
clause (e) or (f) of this Article), and at any time thereafter during the continuance of such event,
the Lender may, by notice to the Borrowers, take either or both of the following actions, at the
same or different times: (i) terminate the Commitment, whereupon the Commitment shall
terminate immediately, and (ii) declare the Loans then outstanding to be due and payable,
together with accrued interest thereon and all fees and other obligations of the Borrowers accrued
hereunder, shall become due and payable immediately, in each case without presentment,
demand, protest or other notice of any kind, all of which are hereby waived by the Borrowers;
and in the case of any event with respect to a Co-Borrower described in clause (e) or (f) of this
Article, the Commitment shall automatically terminate and the principal of the Loans then
outstanding, together with accrued interest thereon and all fees and other obligations of the
Borrowers accrued hereunder, shall automatically become due and payable, in each case without
presentment, demand, protest or other notice of any kind, all of which are hereby waived by the
Borrowers. Upon the occurrence and during the continuance of an Event of Default, the Lender
may increase the rate of interest applicable to the Loans and other Secured Obligations as set
forth in this Agreement and exercise any rights and remedies provided to the Lender under the
Loan Documents or at law or equity, including all remedies provided under the UCC.

                                          ARTICLE VIII

                                          Miscellaneous

       Section 8.01 Notices.

        (a)    Except in the case of notices and other communications expressly permitted to be
given by telephone (and subject to paragraph (b) below), all notices and other communications
provided for herein shall be in writing and shall be delivered by hand or overnight courier
service, mailed by certified or registered mail or sent by fax or electronic communication (to the
extent provided in clause (b) below), as follows:




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               (i)    if to Borrowers at:

                      ______________________________
                      ______________________________
                      ______________________________
                      Attention: _____________________

               (ii)   if to the Lender at:

                      Apache Corporation
                      2000 Post Oak Boulevard, Suite 100
                      Houston, Texas 77056
                      Attention: Treasurer and Nora Dobin
                      e-mails: ben.rodgers@apachecorp.com and nora.dobin@apachecorp.com

All such notices and other communications (i) sent by hand or overnight courier service, or
mailed by certified or registered mail, shall be deemed to have been given when received,
(ii) sent by fax shall be deemed to have been given when sent, provided that if not given during
normal business hours for the recipient, such notice or communication shall be deemed to have
been given at the opening of business on the next Business Day of the recipient, or (iii) delivered
through electronic communication to the extent provided in paragraph (b) below shall be
effective as provided in such paragraph.

        (b)    Notices and other communications to the Lender hereunder may be delivered or
furnished by electronic communications (including e-mail); provided that the foregoing shall not
apply to notices pursuant to Article II unless otherwise agreed by the Lender. Each of the Lender
or the Borrowers may, in its discretion, agree to accept notices and other communications to it
hereunder by electronic communications pursuant to procedures approved by it; provided that
approval of such procedures may be limited to particular notices or communications. All such
notices and other communications sent to an e-mail address shall be deemed received upon the
sender’s receipt of an acknowledgement from the intended recipient (such as by the “return
receipt requested” function, as available, return e-mail or other written acknowledgement),
provided that if not given during the normal business hours of the recipient, such notice or
communication shall be deemed to have been given at the opening of business on the next
Business Day for the recipient.

       (c)    Any party hereto may change its address, facsimile number or e-mail address for
notices and other communications hereunder by notice to the other parties hereto. All notices
and other communications given to any party hereto in accordance with the provisions of this
Agreement shall be deemed to have been given on the date of receipt.

       Section 8.02 Waivers; Amendments.

       (a)     No failure or delay by the Lender in exercising any right or power hereunder or
under any other Loan Document shall operate as a waiver thereof, nor shall any single or partial
exercise of any such right or power, or any abandonment or discontinuance of steps to enforce
such a right or power, preclude any other or further exercise thereof or the exercise of any other



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right or power. The rights and remedies of the Lender hereunder and under any other Loan
Document are cumulative and are not exclusive of any rights or remedies that they would
otherwise have. No waiver of any provision of any Loan Document or consent to any departure
by any Co-Borrower therefrom shall in any event be effective unless the same shall be permitted
by paragraph (b) of this Section, and then such waiver or consent shall be effective only in the
specific instance and for the purpose for which given. Without limiting the generality of the
foregoing, the making of a Loan shall not be construed as a waiver of any Default, regardless of
whether the Lender may have had notice or knowledge of such Default at the time.

        (b)    Neither this Agreement nor any other Loan Document nor any provision hereof or
thereof may be waived, amended or modified except pursuant to an agreement or agreements in
writing entered into by the Borrowers and the Lender.

       Section 8.03 Expenses; Indemnity; Damage Waiver.

        (a)    Borrowers shall pay or reimburse Lender for any and all out-of-pocket expenses
(including attorneys’, auditors’, and accountants’ fees, charges, and disbursements) incurred or
paid by Lender in connection with the preparation, execution, and delivery of the Loan
Documents, subject to the $4,000,000 cap specified in the Restructuring Support Agreement or
the Confirmation Order for fees and expenses of Lender related to the formation of Borrowers
and restructuring of Debtor. Borrowers also shall pay or reimburse Lender for any and all out-
of-pocket expenses and internal charges (including attorneys’, auditors’, and accountants’ fees,
and time charges of attorneys, paralegals, auditors, and accountants who may be employees of
Lender) incurred or paid by Lender in connection with the administration of the Loan Documents
and the enforcement, collection, or protection of its rights in connection with the Loan
Documents, including its rights under this Section, or in connection with the Loans made
hereunder, including all such out-of pocket expenses incurred during any workout, restructuring,
or negotiations in respect of such Loans.

        (b)      The Borrowers, jointly and severally, shall indemnify the Lender, and each
Related Party of the Lender (each such Person being called an “Indemnitee”) against, and hold
each Indemnitee harmless from, any and all losses, claims, damages, penalties, incremental
taxes, liabilities and related expenses, including the fees, charges and disbursements of any
counsel for any Indemnitee, incurred by or asserted against any Indemnitee arising out of, in
connection with, or as a result of (i) the execution or delivery of the Loan Documents or any
agreement or instrument contemplated thereby, the performance by the parties hereto of their
respective obligations thereunder or the consummation of the Transactions or any other
transactions contemplated hereby, (ii) any Loan or the use of the proceeds therefrom, (iii) any
actual or alleged presence or Release of Hazardous Materials on or from any property owned or
operated by any Co-Borrower, or any Environmental Liability related in any way to any Co-
Borrower, or (iv) any actual or prospective claim, litigation, investigation or proceeding relating
to any of the foregoing, whether based on contract, tort or any other theory and regardless of
whether any Indemnitee is a party thereto; provided that such indemnity shall not, as to any
Indemnitee, be available to the extent that such losses, claims, damages, penalties, liabilities or
related expenses are determined by a court of competent jurisdiction by final and nonappealable
judgment to have resulted from the gross negligence or willful misconduct of such Indemnitee.
WITHOUT LIMITATION OF THE FOREGOING, IT IS THE INTENTION OF THE


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BORROWERS AND EACH CO-BORROWER AGREES THAT THE FOREGOING
INDEMNITIES SHALL APPLY TO EACH INDEMNITEE WITH RESPECT TO LOSSES,
CLAIMS, DAMAGES, PENALTIES, LIABILITIES AND RELATED EXPENSES
(INCLUDING, WITHOUT LIMITATION, ALL EXPENSES OF LITIGATION OR
PREPARATION THEREFOR), WHICH IN WHOLE OR IN PART ARE CAUSED BY OR
ARISE OUT OF THE NEGLIGENCE OF SUCH (AND/OR ANY OTHER) INDEMNITEE.

        (c)    To the extent permitted by applicable law, each of the Co-Borrower and the
Lender agrees that it shall not assert, and hereby waives, any claim against the other, (i) for any
damages arising from the use by others of information or other materials obtained through
telecommunications, electronic or other information transmission systems (including the
Internet), or (ii) on any theory of liability, for special, indirect, consequential or punitive
damages (as opposed to direct or actual damages) arising out of, in connection with, or as a result
of, this Agreement, any other Loan Document, or any agreement or instrument contemplated
hereby or thereby, the Transactions, any Loan or the use of the proceeds thereof; provided that,
nothing in this paragraph (c) shall relieve any Co-Borrower of any obligation it may have to
indemnify an Indemnitee against special, indirect, consequential or punitive damages asserted
against such Indemnitee by a third party.

      (d)     All amounts due under this Section shall be payable promptly after written
demand therefor.

       Section 8.04 Successors and Assigns.

        (a)    The provisions of this Agreement shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns permitted hereby, except that no
Co-Borrower may assign or otherwise transfer any of its rights or obligations hereunder without
the prior written consent of the Lender (and any attempted assignment or transfer by any Co-
Borrower without such consent shall be null and void). Nothing in this Agreement, expressed or
implied, shall be construed to confer upon any Person (other than the parties hereto, their
respective successors and assigns permitted hereby) and, to the extent expressly contemplated
hereby, the Related Parties of the Lender) any legal or equitable right, remedy or claim under or
by reason of this Agreement.

        (b)     The Lender may assign to one or more assignees all or a portion of its rights and
obligations under this Agreement (including all or a portion of its Commitment and the Loans at
the time owing to it) with the prior written consent (such consent not to be unreasonably
withheld, conditioned, or delayed) of the Borrowers, provided that the Borrowers shall be
deemed to have consented to any such assignment unless it shall object thereto by written notice
to the Lender within five (5) Business Days after having received notice thereof, and provided
further that no consent of the Borrowers shall be required if an Event of Default has occurred and
is continuing.

       (c)       The Lender may at any time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of the Lender.




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        Section 8.05 Survival. All covenants, agreements, representations, and warranties
made by the Borrowers in the Loan Documents and in the certificates or other instruments
delivered in connection with or pursuant to this Agreement or any other Loan Document shall be
considered to have been relied upon by the other parties hereto and shall survive the execution
and delivery of the Loan Documents and the making of any Loans, regardless of any
investigation made by any such other party or on its behalf and notwithstanding that the Lender
may have had notice or knowledge of any Default or incorrect representation or warranty at the
time any credit is extended hereunder, and shall continue in full force and effect as long as the
principal of or any accrued interest on any Loan or any fee or any other amount payable under
this Agreement is outstanding and so long as the Commitment has not expired or terminated.
The provisions of Section 8.03 shall survive and remain in full force and effect regardless of the
consummation of the transactions contemplated hereby, the repayment of the Loans and the
Commitment or the termination of this Agreement or any other Loan Document or any provision
hereof or thereof.

       Section 8.06 Counterparts; Integration; Effectiveness.

        (a)     This Agreement may be executed in counterparts (and by different parties hereto
on different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. This Agreement and the other Loan Documents
constitute the entire contract among the parties relating to the subject matter hereof and
supersede any and all previous agreements and understandings, oral or written, relating to the
subject matter hereof. Except as provided in Section 4.01, this Agreement shall become
effective when it shall have been executed by the Lender and when the Lender shall have
received counterparts hereof which, when taken together, bear the signatures of each of the other
parties hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto
and their respective successors and assigns.

       (b)    Delivery of an executed counterpart of a signature page of this Agreement by fax,
emailed pdf. or any other electronic means that reproduces an image of the actual executed
signature page shall be effective as delivery of a manually executed counterpart of this
Agreement. THIS WRITTEN AGREEMENT REPRESENTS THE FINAL AGREEMENT
BETWEEN THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE
PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
PARTIES.

        Section 8.07 Severability. Any provision of any Loan Document held to be invalid,
illegal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the
extent of such invalidity, illegality or unenforceability without affecting the validity, legality and
enforceability of the remaining provisions thereof; and the invalidity of a particular provision in
a particular jurisdiction shall not invalidate such provision in any other jurisdiction.

        Section 8.08 Right of Setoff. If an Event of Default shall have occurred and be
continuing, the Lender is hereby authorized at any time and from time to time, to the fullest
extent permitted by law, to set off and apply any and all deposits at any time held and other
obligations at any time owing by the Lender, to or for the credit or the account of any Co-



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Borrower against any of and all the Secured Obligations, irrespective of whether or not the
Lender shall have made any demand under the Loan Documents and although such obligations
may be unmatured. The rights of the Lender under this Section are in addition to other rights and
remedies (including other rights of setoff) which the Lender may have.

       Section 8.09 Governing Law; Jurisdiction; Consent to Service of Process.

       (a)     The Loan Documents (other than those containing a contrary express choice of
law provision) shall be governed by and construed in accordance with the internal laws (and not
the law of conflicts) of the State of Texas, but giving effect to federal laws applicable to national
banks.

        (b)     Each party hereto hereby irrevocably and unconditionally submits, for itself and
its property, to the nonexclusive jurisdiction of any U.S. federal or Texas State court sitting in
Houston, Texas in any action or proceeding arising out of or relating to any Loan Documents, or
for recognition or enforcement of any judgment, and each of the parties hereto hereby
irrevocably and unconditionally agrees that all claims in respect of any such action or proceeding
may be heard and determined in such state court or, to the extent permitted by law, in such
federal court. Each of the parties hereto agrees that a final judgment, non-appealable in any such
action or proceeding may be enforced in other jurisdictions by suit on the judgment or in any
other manner provided by law. Nothing in this Agreement or any other Loan Document shall
affect any right that the Lender may otherwise have to bring any action or proceeding relating to
this Agreement or any other Loan Document against any Co-Borrower or its properties in the
courts of any jurisdiction.

        (c)    Each party hereto hereby irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection which it may now or hereafter have to
the laying of venue of any suit, action or proceeding arising out of or relating to this Agreement
or any other Loan Document in any court referred to in paragraph (b) of this Section. Each of
the parties hereto hereby irrevocably waives, to the fullest extent permitted by law, the defense
of an inconvenient forum to the maintenance of such action or proceeding in any such court.

      (d)     Each party to this Agreement irrevocably consents to service of process in the
manner provided for notices in Section 8.01. Nothing in this Agreement or any other Loan
Document will affect the right of any party to this Agreement to serve process in any other
manner permitted by law.

     Section 8.10 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT
IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY OTHER
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE OR OTHER
AGENT (INCLUDING ANY ATTORNEY) OF ANY OTHER PARTY HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE
EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND



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(B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

       Section 8.11 Headings. Article and Section headings and the Table of Contents used
herein are for convenience of reference only, are not part of this Agreement and shall not affect
the construction of, or be taken into consideration in interpreting, this Agreement.

        Section 8.12 Interest Rate Limitation. No provision of this Agreement or of any other
Loan Documents shall require the payment or the collection of interest in excess of the
Maximum Rate. If any excess of interest in such respect is hereby provided for, or shall be
adjudicated to be so provided, in any other Loan Documents or otherwise in connection with this
Agreement, the provisions of this Section shall govern and prevail and no Co-Borrower or the
sureties, guarantors, successors or assigns of such Co-Borrower shall be obligated to pay the
excess amount of such interest or any other excess sum paid for the use, forbearance or detention
of sums loaned pursuant hereto. In the event Lender ever receives, collects or applies as interest
any such sum, such amount which would be in excess of the maximum amount permitted by
applicable law shall be applied as a payment and reduction of the principal of the indebtedness
evidenced by the Note; and, if the principal of the Note been paid in full, any remaining excess
shall forthwith be paid to Borrowers. In determining whether or not the interest paid or payable
exceeds the Maximum Rate, Borrowers and Lender shall, to the extent permitted by applicable
law, (a) characterize any non-principal payment as an expense, fee or premium rather than as
interest, (b) exclude voluntary prepayments and the effects thereof and (c) amortize, prorate,
allocate and spread in equal or unequal parts the total amount of interest throughout the entire
contemplated term of the indebtedness evidenced by the Note so that interest for the entire term
does not exceed the Maximum Rate

        Section 8.13 No Advisory or Fiduciary Responsibility. In connection with all aspects
of each transaction contemplated hereby (including in connection with any amendment, waiver
or other modification hereof or of any other Loan Document), each Co-Borrower acknowledges
and agrees that: (a) (i) the arranging and other services regarding this Agreement provided by
the Lender are arm’s-length commercial transactions between the Borrowers, on the one hand,
and the Lender, on the other hand, (ii) the Borrowers have consulted their own legal, accounting,
regulatory and tax advisors to the extent it has deemed appropriate, and (iii) the Borrowers are
capable of evaluating, and understands and accepts, the terms, risks and conditions of the
transactions contemplated hereby and by the other Loan Documents; (b) (i) the Lender is and has
been acting solely as a principal and, except as expressly agreed in writing by the relevant
parties, has not been, is not, and will not be acting as an advisor, agent or fiduciary for the
Borrowers, or any other Person and (ii) the Lender has no obligation to the Borrowers with
respect to the transactions contemplated hereby except those obligations expressly set forth
herein and in the other Loan Documents; and (c) the Lender may be engaged in a broad range of
transactions that involve interests that differ from those of the Borrowers, and the Lender has no
obligation to disclose any of such interests to the Borrowers. To the fullest extent permitted by
law, each Co-Borrower hereby waives and releases any claims that it may have against the
Lender with respect to any breach or alleged breach of agency or fiduciary duty in connection
with any aspect of any transaction contemplated hereby.



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       Section 8.14 Joint and Several Liability.

        (a)     Each Co-Borrower acknowledges and agrees that it is the intent of the parties that
each Co-Borrower be primarily liable for the Secured Obligations as a joint and several obligor.
It is the intention of the parties that, with respect to liability of any Co-Borrower hereunder
arising solely by reason of its being jointly and severally liable for Loans and other Secured
Obligations by other Borrower, the obligations of such Co-Borrower shall be absolute,
unconditional, and irrevocable irrespective of:

             (i)   any lack of validity, legality, or enforceability of this Agreement or any
       Loan Document as to any other Co-Borrower;

              (ii)    the failure of the Lender: (A) to enforce any right or remedy against any
       Co-Borrower or any other Person (including any surety) under the provisions of this
       Agreement or otherwise, or (B) to exercise any right or remedy against any surety of, or
       Collateral securing, any obligations;

              (iii) any change in the time, manner, or place of payment of, or in any other
       term of, all or any of the Secured Obligations, or any other extension, compromise, or
       renewal of any Secured Obligations;

              (iv)    any reduction, limitation, impairment, or termination of any Secured
       Obligations with respect to any other Co-Borrower for any reason, including any claim of
       waiver, release, surrender, alteration, or compromise, and shall not be subject to (and
       each Co-Borrower hereby waives any right to or claim of) any defense (other than the
       defense of payment in full of the Secured Obligations) or setoff, counterclaim,
       recoupment, or termination whatsoever by reason of the invalidity, illegality,
       nongenuineness, irregularity, compromise, unenforceability of, or any other event or
       occurrence affecting, any Secured Obligations with respect to any other Co-Borrower;

              (v)     any addition, exchange, release, surrender, or nonperfection of any
       Collateral, or any amendment to, or waiver or release or addition of, or consent to
       departure from, any guaranty held by the Lender securing any of the Secured Obligations;
       or

              (vi)    any other circumstance which might otherwise constitute a defense (other
       than the defense of payment in full of the Secured Obligations) available to, or a legal or
       equitable discharge of, any other Co-Borrower, any surety or any guarantor.

        (b)   Each Co-Borrower agrees that its liability hereunder and its liability under any of
the Loan Documents shall continue to be effective or be reinstated, as the case may be, if at any
time any payment (in whole or in part) of any of the Secured Obligations is rescinded or must be
restored by Lender upon the insolvency, bankruptcy, or reorganization of any Co-Borrower as
though such payment had not been made.

        (c)   Each Co-Borrower hereby expressly waives: (i) notice of the Lender’s acceptance
of this Agreement; (ii) notice of the existence or creation or non-payment of all or any of the



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Secured Obligations other than notices expressly provided for in this Agreement; (iii)
presentment, demand, notice of dishonor, protest, acceleration and the notice of intent to
accelerate, and all other notices whatsoever other than notices expressly provided for in this
Agreement; and (iv) all diligence in collection or protection of, or realization upon, the Secured
Obligations or any part thereof, any obligation hereunder, or any security for or Guarantee of any
of the foregoing, subject, however, in the case of Collateral in the possession of Lender to such
Person’s duty to use reasonable care in the custody and preservation of such Collateral.

      (d)     No delay on the Lender’s part in the exercise of any right or remedy shall operate
as a waiver thereof, and no single or partial exercise by any of the Lenders of any right or
remedy shall preclude other or further exercise thereof or the exercise of any other right or
remedy. No action of Lender permitted hereunder shall in any way affect or impair any such
Lender’s rights or any Co-Borrower’s Secured Obligations under this Agreement or the other
Loan Documents.

     Section 8.15 NOTICE OF FINAL AGREEMENT. THIS AGREEMENT AND THE
OTHER LOAN DOCUMENTS REPRESENT THE FINAL AGREEMENT BETWEEN THE
PARTIES RELATING TO THE SUBJECT MATTER HEREOF AND THEREOF AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR
SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN
ORAL AGREEMENTS BETWEEN THE PARTIES.

                                    [Signature Pages Follow]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective authorized officers as of the day and year first above written.

                                          BORROWERS:

                                          FIELDWOOD ENERGY I LLC,
                                          a Texas limited liability company



                                          By: _______________________________________
                                          Name: ____________________________________
                                          Title: _____________________________________

                                          GOM SHELF LLC,
                                          a Delaware limited liability company



                                          By: _______________________________________
                                          Name: ____________________________________
                                          Title: _____________________________________




                        [Signature Page to Standby Loan Agreement]
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                                  LENDER:

                                  APACHE CORPORATION,
                                  a Delaware corporation, as Lender



                                  By: _______________________________________
                                  Name: ____________________________________
                                  Title: _____________________________________




                  Signature Page to Standby Loan Agreement
